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  Plaintiffs’ Exhibit %
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  Customer ID          Customer first name          Customer last name   State   Account number
11113929361976   FRANCISCO                   VASQUEZ                     CA        90010199293
11121661691263   TWIN                        KELLY                       GA        90014326616
11123739231687   STEVE                       DUNHAM                      KS        90009587392
11131292391569   HILDA                       ARTALEJO                    TX        90007012923
11134984572453   DESMOND                     LIGHTFOOT                   PA        90014779845
11143451261976   MEGAN                       MUNOZ                       CA        90000494512
11143637561958   BENITO                      GONZALES                    CA        90014676375
11165317591569   MAYRA                       REYES                       TX        90011053175
11176744857147   EDUARDO                     CORDERO                     VA        90013777448
11183723661972   OMAR                        CASTANEDA                   CA        90012887236
11185421461976   LILIA                       MOJARO                      CA        90005094214
11185445461937   ROCHELLE                    ARCHIE                      CA        90012874454
11185644533699   REBECCA                     SAWYER                      NC        12033766445
11191438233699   CHRISTOPHER                 SOUNDERS                    NC        90004984382
11195795861976   PETER                       WHEAT                       CA        90002827958
11196868393745   KATHY                       KOON                        OH        90008998683
11198238861972   ISLARDO                     VILLA CARTEZ                CA        46099232388
11213552261958   DAVID                       BROWN                       CA        90013785522
11215141151337   SARAH G                     GEORGE                      OH        66004711411
11223219585876   MUDIT                       BHUSHAN                     CA        90001292195
11224181657147   FIREHIWOT                   LIKA                        VA        90011461816
11243527333699   NASHAYSHIA                  GREGG                       NC        90008815273
11246633561972   AIOTEST1                    DONOTTOUCH                  CA        90015116335
11252628861976   JAMIE                       MILLER                      CA        90014006288
11252639861972   ASHLEY                      WAGHER                      CA        90008786398
11252772191257   TRICIA                      WOODS                       GA        90014487721
11261273891569   GARSA                       AURA                        TX        90010892738
11268912661938   JUAN JOSE                   SALMORAN                    CA        90014169126
11271758161972   JOHNATHAN                   GARCIA                      CA        90011247581
11284118161938   ARACELY                     ENRIQUEZ                    CA        90011601181
11289148191895   JULIAN                      DUQUE                       OK        90013321481
11289667191895   ERICA                       CANNADY                     OK        90013046671
11295637791263   ALVIN                       JENKINS                     GA        90012756377
11297298961972   OMAR                        HERNANDEZ                   CA        46011412989
11313276751337   ROBERT                      HOVER                       OH        90013892767
11323453891263   TIFFANY                     LAMB                        GA        90013874538
11326345433699   ANNETTE                     BROWN                       NC        90008403454
11327671751337   TONY                        TELLO                       OH        90013526717
11343382433699   CARLOS                      MONTENEGRO                  NC        90001303824
11345748357147   WILMER                      CORTEZ                      VA        90013307483
11356786233699   MEGAN                       LITTLE                      NC        90010697862
11358155331687   CHARLES                     CALHOUN                     KS        90013981553
11358538957147   AMANDA                      THOMAS                      VA        90012965389
11368659861976   NATASHA                     STEWART                     CA        90003936598
11376632361958   AIOTEST1                    DONOTTOUCH                  CA        90015116323
11389764461958   GARY                        HOLMES                      CA        90012417644
11391193133623   JACQUELINE                  FONSECA                     NC        90012501931
11391256577539   KARLEE                      GULLSTROM                   NV        90004532565
11416692961938   ANASTASIA                   SCOTT                       CA        90012856929
11422333991569   LUIS                        OROPEZA                     TX        90008923339
11426334693745   ADAM                        CHALMERS                    OH        90014953346
11428489172453   HAROLD                      NEEDHAM                     PA        51041644891
11428779561938   ELIZABETH                   BELTRAN                     CA        46083737795
11434467993745   VICKY                       LEDUC                       OH        90006564679
11444436193745   CARL                        BROWN                       OH        90012854361
11452121591895   SHAMESTA                    HOLLINS                     OK        90001671215
11458624551337   ADAM                        HARMEYER                    OH        90000536245
11461938161976   OSCAR                       GONZALEZ                    CA        90013899381
11465771261938   KELIN                       CASON                       CA        90012817712
11473724691524   YULIANA                     ACOSTA                      TX        90007967246
11486741461972   CEDRIC                      SMITH                       CA        90006857414
11489635361958   LUCINA                      GARCIA                      CA        90012626353
11512684161938   VINCENT                     SAN NICOLAS                 CA        90014186841
11517782661938   MOHAMMED                    SAAID                       CA        90010237826
11522975593745   AMANDA                      GLENN                       OH        90010809755
11525681457147   EDSON                       VEIZAGA                     VA        90014056814
11525965791895   LEIDY                       TORRES                      OK        90009829657
11527116193745   KESHIA                      BLAIR                       OH        90009291161
11533338961976   JUAN                        DE LA ROSA                  CA        90012193389
11536764757147   JOHN                        RAGLAND                     VA        90013217647
11552654257147   TRISH                       GORDON                      VA        90012456542
11553728491964   RUTH                        NOEMI                       NC        90009237284
11556561877539   JAIME                       DIAZ                        NV        43064355618
11559184761938   JOHNA                       MOOREHEAD                   CA        90014721847
11564739961958   D                           PLACE                       CA        90012477399
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11569355891569   ROLAURA          DE ANDA                  TX           90012373558
11572265991895   ANA              RENDON                   OK           21081452659
11575136661976   MARIANO          CURIEL                   CA           90014551366
11587377191569   SERGIO           VASQUEZ                  TX           90013743771
11589363891263   MISTY            MIRAMONTES               GA           90013783638
11591934861976   ANNABEL          CORONA                   CA           90012929348
11593113331687   LAQUISHIA        JOHNSON                  KS           90012011133
11594181833699   JOSE             DEPAZ                    NC           90003571818
11597492761938   JESSICA          FLORES ESTRADAS          CA           90015124927
11611781361938   ANGELA           CAIN                     CA           90010307813
11616676557147   MARITZA          PEREZ                    VA           90012606765
11617692493736   GIULIA           BRABGHIERI               OH           90012616924
11619633361958   AIOTEST1         DONOTTOUCH               CA           90015116333
11623154533699   KERTONIO         FISHER                   NC           90009451545
11624912991263   UNICE            YOUMANS                  GA           90013339129
11627919291569   ENRIUQUE         CARRILLO                 TX           90012639192
11628639861972   BERNICE          MURPHY                   CA           90011256398
11631677751337   ANTTONETTE       WILLIAMS                 OH           90009726777
11634619261958   ALMA             ROCA                     CA           90008926192
11648751893745   KRISTINA         BRUMMITT                 OH           90013637518
11667533833699   ANDRE            MARTIN                   NC           90011165338
11674517961958   ELIZABETH        JARQUIN                  CA           90009405179
11676839661938   LEODAN           HERNANDEZ HERRERA        CA           90011618396
11684648561958   EBONY            BEARD                    CA           90014006485
11698324331635   KAYLA            TORSKE                   KS           22016573243
11717917691569   ESTELA           SAENZ                    TX           90003249176
11722997991569   DANIEL           CAMUNEZ                  TX           90010359979
11725894861938   ALEX             RENEAUM                  CA           90011618948
11733324693745   ELIZABETH        NEALIS                   OH           90008313246
11734648561958   EBONY            BEARD                    CA           90014006485
11741438181629   ALESA            SPENCER                  MO           90012234381
11745165291263   SABRINA          DUNBAR                   GA           90006011652
11752541772453   CASEY            IVERY                    PA           90008445417
11755879561976   LOURDES          LOPEZ                    CA           90004548795
11756637561958   BENITO           GONZALES                 CA           90014676375
11763788193745   JULISSA          RAMIREZ                  OH           90013347881
11768117157147   EFRAIN           PORTILLO                 VA           90007291171
11782544657147   ROSARIO          DAVALOS                  VA           81014545446
11786167361972   NELSON           ORTIZ                    CA           90013891673
11792281433699   JEREMY           WILLIAMS                 NC           90015152814
11798434591569   SERGIO           HUERTA                   TX           90013404345
11814166291569   SERGIO           FLORES                   TX           90010801662
11815617791569   KEVIN            DE LA TORRE              TX           90010346177
11823435972477   KEVIN            LEMLEY                   PA           90009904359
11828311361958   MARTHA           LOPEZ                    CA           90014543113
11834751893745   KRISTINA         BRUMMITT                 OH           90013637518
11835624491569   ELIZABETH        BURCIAGA                 TX           90010986244
11839549991895   KELLY            WALKER                   OK           90013045499
11839648161958   JESUS            MORALES                  CA           90011176481
11845637361976   AIOTEST1         DONOTTOUCH               CA           90015116373
11848633561972   AIOTEST1         DONOTTOUCH               CA           90015116335
11853672561976   CYNTHIA          SANDOVAL                 CA           90013716725
11856731491569   MARIA            MUNOZ                    TX           75020117314
11857494461938   HECTOR           LOPEZ                    CA           46032444944
11857919891895   ANTONIO          CALDREON                 OK           21051159198
11858916561976   ANDREW           CATALETA                 CA           90008689165
11859113331687   LAQUISHIA        JOHNSON                  KS           90012011133
11861128951337   STEPHANIE        EVANS                    OH           66071211289
11862373791895   AMY              MATHIS                   OK           90001563737
11862831691263   ELAINE           BARNWELL                 GA           14594968316
11863659593745   TYLER            HILE                     OH           90011446595
11864342972435   SAMANTHA         TWOMBLY                  PA           90002453429
11867537651337   ERIC             SOLOMON                  OH           90012065376
11882594757147   JOSE             VELANDIA-SANCHEZ         VA           90001085947
11884356661958   JOSHUA           VERHEY                   CA           90013593566
11892588651337   JAMES            CARTER                   OH           90012425886
11911637361976   AIOTEST1         DONOTTOUCH               CA           90015116373
11921354461938   AIRSBEL          RODRIGUEZ                CA           90015113544
11922519661938   ALEXIS           MORALES                  CA           90011455196
11941415757155   NOE              MARTINEZ                 VA           90013844157
11947463461972   SINDI            AMANONCE                 CA           90012234634
11955719461972   NATASHA          KENDRICK                 CA           90012107194
11956637361976   AIOTEST1         DONOTTOUCH               CA           90015116373
11957854191895   CHRISTINE        CURTIS                   OK           90008588541
11958387761972   ANNA             ADRIAN                   CA           90009003877
11959282461938   FABIAN           RAMOS                    CA           90014722824
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11964287861958   SURANG           PUNTHUNA                 CA           90014712878
11964529671982   NATHAN D         MAES                     CO           38006605296
11994632151337   MARCUS           GREER                    OH           90009546321
11998382391895   DAVID            NEIMEWER                 OK           90002623823
12116518861958   JAVIER           JIMENEZ PILLADO          CA           90010865188
12118275357147   REINA            RAMOS                    VA           90011922753
12122269261976   ALEJANDRO        ARCE                     CA           90012852692
12122962272458   ANITRA           JETER                    PA           90000549622
12123117191569   JOSHUA           ESCANDON                 TX           90012581171
12126259161976   SELMA            BENITEZ                  CA           46007292591
12126758593736   ZAID             RUTLEDGE                 OH           90012567585
12129764761972   GERARDO          RUVALCABA                CA           90009407647
12129923861976   KIM              TESORI                   CA           90010639238
12134344391569   JUAN             BOTELLO                  TX           90012273443
12135721891569   ODALTYS          GUZMAN                   TX           90013457218
12136624591895   CECILIO          VILLAVICENCIO            OK           90012306245
12143743861972   JESSICA          MUNOZ                    CA           90012107438
12143953355948   FAUSTINO         LEON SIXTO               CA           90010539533
12144917331456   DIANA            MUJKANOVIC               MO           90011509173
12146361477539   NANCY            REIMEL                   NV           43074053614
12149359733699   ADRIANA          ESTRADA                  NC           90014863597
12149715755948   NATALIA          MARTINEZ                 CA           90014797157
12169787757147   MARIELA          LOPEZ                    VA           90010747877
12173877161938   KACIE            DESMOND                  CA           90015028771
12176298461972   JAMES            WILSON                   CA           90001882984
12178367691895   MICHELLE         CAPPAI                   OK           21052653676
12181581461958   CHRIS            GARBER                   CA           90011155814
12184324261938   GILBERTO         ARZOLA                   CA           90010733242
12184443561958   LOUIS            MOYA                     CA           90015204435
12186153772453   KID              WADE                     PA           90005801537
12192915257147   CRISTOVAL        DIAZ                     VA           90001439152
12193932555948   DORA LEE         ZARCO                    CA           90014939325
12196195547956   MAURICIO         GUZMAN                   AR           90010501955
12222293461958   ANDREA           MAY                      CA           90011482934
12225974255948   SHELIA           ARWOOD                   CA           49018379742
12232938355948   FILIBERTO        PEREZ                    CA           90012859383
12235997281629   ASHLEY           KINSEY                   MO           90001649972
12236654461958   REBECA           NUNEZ                    CA           90012806544
12241127991569   ELIZABETH        SANCHEZ                  TX           90012581279
12245314861936   ALAN             GOMEZ                    CA           90014723148
12247517491895   ALISHA           NORMAN                   OK           90011295174
12248561361972   CARLOS           RAMIREZ                  CA           90011515613
12253376761976   SUDO             SOFIA                    CA           90009713767
12254531761972   LUIS             SANDOVAL                 CA           90013265317
12261529361976   TEDDY            HALL                     CA           90010875293
12263433461958   JUANITA          GARCIA                   CA           90011064334
12264165677539   CONNIE           RAMBEAU                  NV           90011061656
12268617761968   WAYMON           EDDINGTON                CA           90008976177
12269147155976   WILLIAM          ADAMS JR                 CA           49017721471
12275198951337   KENNETH          SATTERWHITE              OH           90013341989
12278323291346   ROBBIE           DUNCAN                   KS           90013843232
12283389391569   ANNA             HERNANDEZ                TX           90012133893
12288572191895   LEEANN           TALIAFERRO               OK           90013325721
12291149461976   YVONNE           MACIAS                   CA           90014321494
12292183691263   DENVER           HOUSTON                  GA           90013811836
12294433461958   JUANITA          GARCIA                   CA           90011064334
12311839557147   NESTOR           MELENDEZ                 VA           90008788395
12314272961958   MERRILL          LOVELACE                 CA           90014002729
12315699355976   KAREN            NOU                      CA           90013456993
12317785661976   EDGAR            URUETA                   CA           90013857856
12321265761972   VICTOR           NUNEZ                    CA           90013852657
12329886791263   ALISSA           KELLY                    GA           90014888867
12334346491263   DALTON           SAXON                    GA           90011303464
12336857361976   LISABETH         GUERARA                  CA           90005308573
12338367261958   TREVOR           HERMANN                  CA           90010853672
12339567231687   TRAVIS           MCGILL                   KS           90013995672
12343469355948   ALFONSO          ZAMORA                   CA           90005144693
12352836947956   TERRI            CRAIG                    AR           90008388369
12353695293745   HOLLI            BOOKER                   OH           64531306952
12355699461968   EDWARD           RAMOS                    CA           90009006994
12359979461976   IVAN             VASQUEZ                  CA           90014769794
12367598861972   RIOS             ISABELL                  CA           90004795988
12368746461976   CARMEN           CASTRO                   CA           46044027464
12375379647956   BRANDON          PRATT                    AR           90014283796
12375445541255   CHRISTINE        SUNGALA                  PA           90001404455
12379735361938   BEATRIZ          SAEZ                     CA           90011417353
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12384387157147   MARIA            ESCOBAR                  VA           90009923871
12414795157147   LEO              GUZMAN                   VA           90012517951
12425633561976   AIOTEST1         DONOTTOUCH               CA           90015116335
12425673361958   JUSTIN           MUSSER                   CA           90012946733
12444772461938   NOBERTA          MORALEZ                  CA           90013017724
12448446355948   VIOLET           GUZMAN                   CA           90014974463
12451565131635   MARTIN           NIETO                    KS           90009195651
12452628261938   ROGELIO          PEREZ                    CA           90004706282
12461878691569   DAVID            MUNOZ                    TX           90010788786
12469237954133   CHERYL           DECKER                   OR           90014282379
12474568191569   ABELARDO         ANTILLON                 TX           90011145681
12479728791547   LESLIE           RODRRIGUEZ               TX           90008737287
12486976755948   ARTHUR           BLAND                    CA           90000629767
12488814393745   DESTINY          FLORES                   OH           90009228143
12491162555948   MARIANA          LLAMAS                   CA           90011411625
12491542533699   TAMEKA           LEWIS                    NC           90013685425
12492955993745   ABLE             EVANS                    OH           90007599559
12494823961972   SHERN            SAMSON                   CA           90010138239
12496531191569   SERGIO           ONTIVEROS                TX           90006315311
12497198491569   ROBERT           LOPEZ                    TX           90013551984
12511512233699   VASHON           WILSON                   NC           90014085122
12512732843588   IDALIA           LARSEN CASIANO           UT           90011797328
12513287557147   LUIS             ABARCA                   VA           90009832875
12519184655948   RENE             VALDIVIA                 CA           90011701846
12521941461972   HEIDI            GOMEZ                    CA           90007809414
12531698193745   SHAWN            FAIR                     OH           64551836981
12532121247956   JANAIA           WRIGHT                   AR           90014701212
12541692461972   BRENDA           RAMIREZ                  CA           90012236924
12546285661958   ROBERTO          IBANEZ VIDAL             CA           90012812856
12549663661972   SARAHI           HERNANDEZ                CA           90010406636
12556379361976   FLINT            FIELD                    CA           90009423793
12557691961976   JOANN            CEDILLO                  CA           90013716919
12558418561938   VALERIE          OSOBAMPO GERARDO         CA           90013794185
12566336361958   SHARON           MONDRAGON                CA           90002863363
12569882657122   MAURICIO         DORIA MEDINA             VA           90011918826
12573969947956   LOUIS            PAXTON                   AR           90007739699
12575252161972   FELIPE           VAZQUEZ                  CA           90011962521
12588219857147   ALEXANDER        ZANCHES                  VA           90014012198
12591156191569   CRYSTAL          MINJAREZ                 TX           75092411561
12591688961958   RYLEE            JOHNSON                  CA           90012946889
12594321993745   DAVID            POTTS                    OH           90012833219
12599735351337   THOMAS           SORRELL                  OH           90011327353
12611514247956   MORENA           MACHADO                  AR           90002065142
12611837431687   KEITH            MCGAUGH                  KS           90011608374
12612481361976   JAZMIN           DE REAL                  CA           90013294813
12616191933699   OBHAJIAJEMEN     EMIOHE                   NC           90004521919
12616297931635   STEFANIE         MAZE                     KS           22050622979
12617195461972   JESSIE           CHIUZ                    CA           90001961954
12617576291569   VERONICA         DE ROMO                  TX           90013545762
12624135255976   CHRIS            FLORES                   CA           90011601352
12624546147956   JOSEPH           ELKINS                   AR           24011265461
12625221457147   ANTONIO          ARGUETA                  VA           90014042214
12628433557147   ATILIO           HERNANDEZ                VA           90012924335
12632466747956   LISA             VANBRUNT                 AR           90014604667
12634227355976   JOHNTEI          BURTON                   CA           90011302273
12636973955976   FLASH FEE        FEE                      CA           90013329739
12639326451337   JERMAYNNE        JACKSON                  OH           90014713264
12639799757147   OSCAR            RIVA                     VA           90011757997
12658871161938   ROBERT           WESLEY PARFITT           CA           90012668711
12661721657147   LORRI            LANE                     VA           81001327216
12665663677539   JOALLEAN         HAWLEY                   NV           90003066636
12667336791547   OSCAR            GARCIA                   TX           90004363367
12672623555948   FAVIAN           AMEZCUA                  CA           90011736235
12675511161958   CLAUDIA          RUELAS                   CA           46038045111
12677577691895   RHONDA           FOSTER                   OK           21001045776
12681871861972   FAITH            LOPEZ                    CA           90012088718
12687541457147   ISABELLA         ARABINAR                 VA           90007115414
12694278184375   BRITTNEY         BUTLER                   SC           90003112781
12694671361958   CHESTER          COPPERPOT                CA           90010546713
12695258351337   GEORGE           DAVIS                    OH           90011032583
12697857633699   KIMBERLY         GRIFFIN                  NC           90014158576
12712499951337   ERIN             TAYLOR                   OH           90013824999
12724598961938   ALEX             GONZALES                 CA           90007945989
12728969991569   JOHNATHAN        NAVA                     TX           90010209699
12729249491569   KIMBERLY         MONTOYA                  TX           90010412494
12747878161938   BERTHA           ALICIA ROMO              CA           46010478781
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12748998261958   GERALD           SMITH                    CA           90012899982
12757727961938   FRANCISCO        LARA                     CA           90011247279
12762874161958   JOLIO            BORQUEZ                  CA           90013698741
12765595154152   JUAN             OSORIO HUESCA            OR           47006675951
12773674861972   CAROL ANN        WOLF                     CA           46067426748
12778125161976   J                C                        CA           90012431251
12783563333699   ASHLEY           MASHBURN                 NC           90013155633
12783693855948   HECTOR           PEREZ                    CA           49082506938
12784812691569   AMANDA           MOTA                     TX           90010698126
12794611833699   GINGER           DIAZ                     NC           90014816118
12797817261976   ANNETTE          GUIDO                    CA           90004898172
12812696591569   JAVIER           GAMEROS                  TX           90014626965
12816696591569   JAVIER           GAMEROS                  TX           90014626965
12818633561976   AIOTEST1         DONOTTOUCH               CA           90015116335
12818682957147   CHARLOTTE        UPRIGHT                  VA           90013806829
12819315251337   MIKE             POWERS                   OH           90010373152
12823261831687   MIRANDA          DOVER                    KS           90014712618
12824746561987   OSCAR            COVARRUBIAS              CA           46038227465
12831327891263   AMANDA           JOBIN                    GA           90010203278
12831391655976   MARIA            MONTEJANO                CA           90012353916
12831977355948   NICOLE           RENDON                   CA           90012889773
12834618661958   MARILYN M.       MCCASKEY                 CA           90007196186
12844749661958   MICHAEL          BRUCE                    CA           90005797496
12851923561958   ESMERALDA        MCCOMBS                  CA           90013529235
12858991231635   VICTORIA         BLISS                    KS           22017049912
12863971193745   TYLER            NASH                     OH           64524729711
12864327891263   AMANDA           JOBIN                    GA           90010203278
12867111847846   TASHA            MCGEE                    GA           90005811118
12869785455976   RICARDO          RUIZ                     CA           90013037854
12872825991263   ASIA             WRIGHT                   GA           90010878259
12877471661976   ASAPH            PIERRE                   CA           90007414716
12882159191895   ROBER            BIGPOND                  OK           90011551591
12884238761937   JOSE             JAIME                    CA           90011552387
12888273791895   ERIC             HARRIS                   OK           90004912737
12892754461972   CARLOS           GALAN                    CA           90008797544
12893293531687   OSTINNER         MCCULLAR                 KS           90014832935
12894793561976   EFREN            RUBIO                    CA           90013927935
12898991457147   ADRIANA          APARICIO                 VA           81054219914
12912716331687   ERIC             MANUEL                   KS           90011457163
12918255455948   ESTELA           LOPEZ                    CA           90011812554
12921248961972   KASSANDRA        MACIAS                   CA           90010342489
12921596233699   KELLY            KNIGHT                   NC           12092285962
12923611661938   FINEST           SAMOAS                   CA           90012926116
12925176457147   JOSE             MAJANO                   VA           90015141764
12931967577539   ANDREA           WALSH                    NV           90003839675
12943667961958   JESSE            WEBB                     CA           90012416679
12956596933699   ELIZABETH        HOLT                     NC           90011405969
12959819491569   REYNALDO         BURCIAGA                 TX           90013328194
12961976793745   GARY             SULLENBERGER             OH           90012649767
12962373731687   NATHAN           BLANCHARD                KS           90014463737
12965511757147   KASSANDRA        RODAS VASQUEZ            VA           90012765117
12965561355948   RAY              MIXON                    CA           90011445613
12966843451337   MELODY           SOLOMON                  OH           90011128434
12968176633699   ELAINE           ANDERSON                 NC           90013281766
12968364155976   DARLENE          ZAPATA                   CA           90011063641
12968679951337   JORGE            BUGUENO                  OH           90013856799
12968967577539   ANDREA           WALSH                    NV           90003839675
12971229861972   ENEDINA          WADLEY                   CA           90012682298
12983699133699   CHRISTOPHER      HAWKS                    NC           90007666991
12987946861938   VICTOR           SALGADO                  CA           90013039468
12991931261958   DENISE           QUARTERS                 CA           90013739312
12992166661958   JENNIFER         MILES                    CA           90012361666
12998489351337   RAE MONIQUE      DAVIS                    OH           90011034893
13121455793724   STEPHANIE        CONNER                   OH           90001544557
13134738155976   SHER             VANG                     CA           90012907381
13137689891895   DIANE            DAVIS                    OK           90008946898
13143418955948   CELSO            GONZALES                 CA           90013954189
13152634861976   AIOTEST1         DONOTTOUCH               CA           90015116348
13153479191569   JESUS            SALAZAR                  TX           90013444791
13163324861976   DEVEN            MCCRAY                   CA           90013153248
13167682961976   GERALD           IZAGUIRRE                CA           90012296829
13179754793725   NYISHA           HOLT                     OH           90008177547
13196728757147   JOSEPH           BROWN                    VA           90013807287
13197133661958   ROBERT           TURNER                   CA           90014551336
13215177161976   OMAR             QUEZADA                  CA           46076991771
13217282791586   REBECCA          CARDONA                  TX           90008442827
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13224434157147   TRANELL          JOHNSON                  DC           90006844341
13225998431967   JILVONE          WATTS                    IA           90014409984
13231415961938   EVA              ESTRADA                  CA           90000134159
13232449455968   RALPH            GRAHAM III               CA           49086324494
13239554461958   VANESSA          LORENZO                  CA           90014655544
13241878861938   DAVID            RODRIGUEZ                CA           90005568788
13242472455976   VIDAL            SANTOS                   CA           90013844724
13248114861938   SERGIO           HERNANDEZ                CA           90013011148
13251345455948   AZALIA           SANTOS                   CA           90014443454
13256116661938   ROSEMARIE        CAROLINO                 CA           90013011166
13259149361958   KENDRA           CARMICHAEL               CA           90013921493
13268115147956   DENISE           THOMPSON                 AR           90014091151
13268615891263   VICTORIA         NAVA                     GA           90010686158
13269293955976   SHELLY           SIMS                     CA           90009662939
13282732661976   GULLERMO         DIAZ                     CA           90013047326
13284644855976   ELIAS            BARAJAS                  CA           90014156448
13311836961938   GENEVA           COLE                     CA           90013068369
13313448161976   JOSUE            BARRADAS                 CA           90013624481
13314246684375   MICHELLE         SPIRES                   SC           90002292466
13322717151337   CHIFFON          RACHEL                   OH           90011607171
13326296191263   DENNIS           LEGG                     GA           90012842961
13326572385823   ARLAN            BARBER                   CA           46090105723
13344542655976   ADAM             RUIZ                     CA           90008645426
13351618555948   YOLANDA          SOLANO                   CA           90005046185
13353762191895   ALEX             JONES                    OK           90004937621
13364934431635   DAMARIA          MURDOCK                  KS           22062059344
13365229851337   ALBERT           JOHSON                   OH           90011002298
13371633791526   MARGIE           LOPEZ                    TX           90011376337
13377115791263   ILSE             ABARCA                   GA           90014631157
13377225491895   LUCAS            DURRANCE                 OK           90014812254
13377693847956   DIAMOND          REDDEN                   AR           90008006938
13391359631635   BETTY            VINSON                   KS           90000913596
13392169291569   DENNISE          ROSALES                  TX           90012131692
13392343947956   STEPHANIE        HEATH                    AR           90011073439
13394169291569   DENNISE          ROSALES                  TX           90012131692
13394991357147   GODWIN           ARKRAH                   VA           90000349913
13397367793737   MALLORY          MITCHELL                 OH           90013053677
13399971491895   NYREE            DAWN                     OK           90011009714
13415412955976   CYNTHIA          GOMEZ                    CA           90003444129
13415834961958   NATHALIE         MUNOZ                    CA           90014958349
13416873355948   ALBERTO          VEGA                     CA           90013388733
13424875461992   GEORGINA         ORTEGA                   CA           90010548754
13425346855948   RUTILIO          ZARAGOZA                 CA           90010313468
13428595155976   ROBERTO          GUZMAN                   CA           90011245951
13434183991263   MARHTA           NEWTON                   GA           14586411839
13443891547956   ALEXANDRIA       FORD                     OK           90012918915
13451824493724   DOMINIQUE        MINEAL                   OH           90008668244
13458476847956   JUSTIN           LIVINGSTON               AR           90013524768
13466837657147   ERICK            MARTINEZ                 VA           90012198376
13468271755948   DAVID            JIMENEZ                  CA           90012232717
13478882991569   VERONICA         CORONA                   TX           90009578829
13484254847956   REVAE            BULLOCK                  AR           24062422548
13485587755933   AMANDA           HUGHES                   CA           90004395877
13486632961938   BRANDELIA        BONILLA                  CA           90013076329
13492294491895   AMBERLISA        TYLER                    OK           90008112944
13497444355948   DAVID            BROOKS                   CA           49065854443
13498455447956   ASHLEY           NICHOLE                  AR           90011454554
13519448247956   JOSE             SALDANA                  AR           90008864482
13525968891895   SHIANNA          BLALOCK                  OK           90013219688
13526256391398   JP               CONSTRUCTION             KS           90010982563
13527634561976   AIOTEST1         DONOTTOUCH               CA           90015116345
13529194791263   CHRISTINA        SANTIAGO                 GA           90011021947
13529659357147   TISHIA           RECTOR                   VA           90010846593
13533455447956   ASHLEY           NICHOLE                  AR           90011454554
13538621455976   JOSE             JIMENEZ                  CA           90012126214
13542644855976   AIOTEST1         DONOTTOUCH               CA           90015116448
13546214991569   FRANK            GOMEZ                    TX           90013332149
13548872755976   LUIS             SALAZAR                  CA           90006028727
13552774561958   AGUSTIN          AVILA                    CA           90013627745
13554128561976   CESAR            VAZCONES                 CA           90012131285
13558726161938   ANTHONY          ALVAREZ                  CA           90013077261
13566433457147   AFAF             MORGAN                   VA           90010264334
13571872155948   TONI             RODRIGUEZ                CA           49001378721
13575525891263   NATHANIEL        WRIGHT                   SC           90011495258
13588417891569   MANDI            MARQUEZ                  TX           90013434178
13588522157147   ONE              KHAMPHILA                VA           90015125221
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13596993161976   SHERRY           BORRAYO                  CA           90014949931
13597595393754   DAN              ALCORN                   OH           90008365953
13598279955948   JORGE            AVALOS                   CA           49050772799
13621524661958   RICARDO          MEJIA                    CA           90010675246
13623925947956   KENNETH          ROBINSON                 AR           90014359259
13629938561958   GARCIA           ANAHI                    CA           90011769385
13631973155976   JOHNNATHAN       MADRIGAL                 CA           90010299731
13633214384347   SEAN             HALLS                    SC           90007582143
13633832361976   JAVIER           VELAZQUEZ                CA           90013358323
13637748431635   MICHAEL          DICKENS                  KS           22028207484
13643473661958   CHASE            HEIDEBUR                 CA           90011884736
13653735461976   FRANCISCO        ROMERO                   CA           90013047354
13655797491263   TKEYAH           HADLEY                   GA           90010947974
13661527791569   GREG             OGAZ                     TX           90013965277
13665778991569   EDGAR            MARTINEZ                 TX           90015097789
13672523255948   JAMES            BURCH                    CA           90010195232
13684944447956   JAMES            CRIPPEN                  AR           90014069444
13689415661976   ERNEWSTINA       STAPLETON                CA           90014614156
13695857261958   LUZ              DIAZ                     CA           46081168572
13698928491263   LYANNETTE        LINDSAY                  GA           90010879284
13713263855948   ROSA             RAMOS                    CA           90013342638
13721671247956   DANIELLE         RELEFORD                 AR           90008766712
13722715461958   ANA              ARDUNA                   CA           90010107154
13744558155976   DAVID            COX                      CA           90011225581
13745812661958   NANCY            RITTENBERG               CA           46008828126
13748877191895   JOSIEL           JOHNATAN                 OK           21009098771
13754457261976   SERGIO           LOPEZ                    CA           90011624572
13771993161976   SHERRY           BORRAYO                  CA           90014949931
13772656951337   YEDNI            MONTES                   OH           90011326569
13779979561976   OCTAVIO          LOAIZA                   CA           90012889795
13781486747956   OFNI             MORALES CANO             AR           90008764867
13791494547956   MATTHEW          LEPHIEW                  AR           90009734945
13792138691263   SHAVELLA         MAXWELL                  GA           90012881386
13798815455948   KEYSHAWN         SHEPARD                  CA           90010048154
13816911855948   MAYRA            CHIA                     CA           49012499118
13827866751337   BOBBIE           BOLEN                    OH           66039718667
13837632357147   JAMAL            WALKER                   DC           90012336323
13843863757147   DENNIS           WHEATON                  VA           90014478637
13845698555976   RIMFA            SENGSIRI                 CA           90012686985
13847126257147   COCHE            THORNTON                 DC           90014811262
13847477651337   LYNN             JENSEN                   OH           66010984776
13861316561976   KARLA            BECERRA                  CA           90013083165
13883191455976   DANIEL           LOPEZ                    CA           90014811914
13892836555948   FREDDY           MONTERO                  CA           90014348365
13895119447956   HALEY            NICHOLS                  AR           90012201194
13895355561976   SALVADOR         PONCE                    CA           90012853555
13922324257549   LINDA            FRITZE                   NM           90006153242
13928524155976   ISHMAEL          GUERRERO                 CA           90008565241
13939542255948   MARIA            RAMIREZ                  CA           90011655422
13941569461976   SERGIO           MARTINEZ                 CA           90013065694
13943662861958   ROBIN            GACUD                    CA           46039966628
13947689161938   MICHELLE         LYNCH                    CA           46000916891
13948445155976   RAMIRO           MARTINEZ                 CA           90012264451
13951862561958   SILVIA           CERVANTEZ                CA           90001818625
13954551361938   ARTURO           VILLEGA                  CA           90007685513
13954896757147   MANUEL           FUENTES                  VA           90013658967
13976225447846   BRIDGETTE        TAYLOR                   GA           90009032254
13982986851337   NIKI             FAYE                     OH           90011069868
13984788655948   EDDIE            RODRIGEZ                 CA           90013067886
13994537461976   ERIKA            VILLARREAL               CA           90014525374
14118291557147   JOSE ABEL        LAINEZ HERNANDEZ         VA           90010982915
14124134791569   NANCY            HAWKINS                  TX           90007581347
14131378161926   SARA             CHRISTENSEN              CA           90013123781
14139467447956   JULIA            WHITEHEAD                AR           90014534674
14146313857147   VY               NGHIEM                   VA           90012063138
14152338347956   JANAN            JONES                    AR           90011003383
14164915691569   SONIA            GUZMAN                   TX           90010649156
14168712755976   SANDRA           MCCULLAR                 CA           49007237127
14169877955976   VICTORIANO       ROJAS-MEZA               CA           90013058779
14183273491895   MONICA           WINSTEAD                 OK           90004952734
14183361491899   JEREMY           HAMILTON                 OK           90013493614
14188291847956   SYRA             BAKER                    AR           90013332918
14193982361958   ORA LEE          HU                       CA           90003539823
14213132251337   DIANE            MINERVINI                OH           90013811322
14218648455976   BRIAN            DSIGGERS                 CA           90013846484
14219512861958   BOBBY            TALBOT                   CA           46009765128
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14226965357147   ANOTHY           HUBBARD                  VA           90012919653
14227733355976   JORGE            ROSALES DE LA CRUZ       CA           90014757333
14248399261938   ALEX             GARCIA                   CA           90014753992
14254358757147   DENNIS           BAUTISTA                 VA           81039983587
14261529293775   ERIKA            PERRIN                   OH           90010665292
14261942857147   DON              MIXON                    VA           90013869428
14262632361938   AIOTEST1         DONOTTOUCH               CA           90015116323
14264585461958   GLORIA YOLANDA   SANDOVAL                 CA           90013375854
14265482761938   LEONARD          C                        CA           90014744827
14266762461938   YOLANDA          MORENO                   CA           90013937624
14267949151337   JANICE           BROWNING                 OH           90009829491
14275796261958   JOEL             RAMOS                    CA           90015127962
14295141491569   JULIETA          PALMA                    TX           90004861414
14298285555976   ANTHONY          BOLTON                   CA           90014702855
14314662191569   ELIZABETH        RAMIREZ                  TX           75084266621
14317578461958   JOVANI           TAPIA                    CA           90003375784
14333496355976   PRINCE           CAPOZZI                  CA           90010754963
14336764791895   ROBERT           HUTCHISON                OK           21069257647
14337627831635   NICOLE           CROW                     KS           90013866278
14341433351337   ERIK JOSUE       AGUILAR HERNANDEZ        OH           90014424333
14342632361938   AIOTEST1         DONOTTOUCH               CA           90015116323
14344334131687   FABIAN           GONZALEZ                 KS           90011033341
14347757391569   NESTOR           GUZMAN                   TX           90011697573
14356589591569   DORA             CONTRERAS                TX           90013965895
14359484961938   CARLISSA         BIVONA                   CA           90011394849
14369937561958   MARY             MONTALVO                 CA           90012939375
14376812357147   JAVIER           VENTURA                  VA           90011108123
14379541261938   ALEJANDRO        LOMAS                    CA           90014745412
14381158355976   ROBERT H         GARCIA                   CA           90012081583
14388978633699   NAKISHA          HILL                     NC           90004159786
14396299391263   NIKIRA           HATCHER                  GA           90012162993
14412894747956   BERNARDO         LUNA                     AR           90003178947
14414514655976   WILMER           RODRIGUEZ                CA           90010755146
14424718691569   NORMA            GIBBONS                  TX           90011947186
14425936891569   GLORIA           BONILLA                  TX           90013939368
14426138891895   LOUIS            WESLER                   OK           90011831388
14438531657147   ELMER            PORTILLO                 VA           90013135316
14442981555976   STEPHANIE        PRETZER                  CA           90014649815
14444742791569   YAARA            LOPEZ                    TX           90013047427
14445452761958   NELILITA         VALLES HILL              CA           90012244527
14447946291569   DELGADO          MARISELA                 TX           90011359462
14453185691993   STEPHANIE        COLEMAN                  NC           90011281856
14454577457147   KIA              ESHTAB                   VA           90010325774
14469518331687   MARQUAJZA        JOHNSON                  KS           90002505183
14474434533699   FERNANDO         RODRIGUEZ                NC           90014664345
14475292991569   BERTHA           FLORES                   TX           90000432929
14478424691895   MELANIE          SPRINGER                 OK           90014614246
14486693361938   KEISHA           JORDAN                   CA           90008396933
14494139831687   RODNEY           CLARK                    KS           22016661398
14494187161958   JAY              KIM                      CA           90011471871
14495612591569   HECTOR           ALCANTAR                 TX           90012716125
14511337433647   AQUANDLYN        WHITTINGTON              NC           90013673374
14519357947956   AARON            PARHAM                   AR           90012723579
14527934757147   LUIS             ROSA                     VA           90012169347
14537314391895   DAVID            ANDERSON                 OK           90013033143
14542283854144   JAMES            ELIZONDO                 OR           90011552838
14543154955938   JOSE             NUNEZ                    CA           90009011549
14544484191895   SHAWN            DUNCANT                  OK           90014604841
14545429555976   STEPHANIE        JONES                    CA           90013004295
14545857891569   MIRNA            MUNIZ                    TX           90011578578
14546676361958   JOSE             ANTONIO                  CA           90011376763
14548484191895   SHAWN            DUNCANT                  OK           90014604841
14554718361958   JACKIE           DAVIS                    CA           46041917183
14561325347956   DONNA            NGUYEN                   AR           90014303253
14562866355976   WANDA            CARRASCO                 CA           90011148663
14564463661958   BLANCA           VASQUEZ                  CA           90014904636
14564679457147   VNS              CONSTRUCTION             VA           90007196794
14572262257147   CARLOS           GANOZA                   VA           81011942622
14585647957147   JOSE             PINEDA                   VA           90014906479
14627517757122   ELIO             GONZALEZ                 VA           90002785177
14657986347956   OSCAR            RECINOS                  AR           90015139863
14663596433699   AMBER            MESSER                   NC           90011025964
14664197133699   KARI             LAGOE                    NC           90011861971
14676454491263   DERRICK          WILLIAMS                 GA           90008804544
14677142955976   LAURA            FERNANDEZ                CA           49045771429
14686569955976   ASHLEY           JOHNSON                  CA           90011325699
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14691374261938   FANNIE          TAYLOR                    CA          90013363742
14697141991569   JACOB           GALLEGOS                  TX          75006311419
14721419791895   BRITNEY         PRICE                     OK          90014624197
14723959791569   VANESSA         ZAMBRANO                  TX          90011359597
14726314555976   ASHLEY          RIVERA                    CA          90014933145
14729258691569   FELIPE          HERNANDEZ                 TX          90009902586
14732524855976   SAUL            GULLEN                    CA          90012015248
14732844357147   ANGEL           LARA                      VA          90013238443
14741835933699   ISAAC           SANCHEZ                   NC          90009878359
14752322355976   JILL            CLARK                     CA          90014063223
14754925991895   ERRIN           BAKER                     OK          90013879259
14763421791569   GERALD          WILLIAMS                  TX          90014814217
14767324991584   SAMMY           AMENZAGA                  TX          90008843249
14773377191895   RUTH            KIM                       OK          90010593771
14777261361938   MARISELA        LOPEZ                     CA          90011412613
14784473891569   TTERESA         MORENO                    TX          90009974738
14811615661938   ERNESTINA       OROZCO                    CA          90012646156
14812291847956   SYRA            BAKER                     AR          90013332918
14815956657147   MARIA           BENITEZ                   VA          90012779566
14817286691895   SCOTT           GUNSELL                   OK          90003942866
14817535471964   ANTHONY         HAWKINS                   CO          90006515354
14821394357147   ANA             GARCIA                    VA          90009433943
14823919986463   MICHELLE        GAMBRELL                  SC          90014489199
14828946771927   VICKIE RON      GREENO                    CO          90009409467
14831433291895   BOBBY           SISNEY                    OK          90012724332
14834826291895   JENNIFER        MINOR                     OK          90014618262
14843874491569   CARLOS JESUS    FERNANDEZ CONDE           TX          90013988744
14855343591569   RAYMOND         DIAZ                      TX          75016303435
14861198131635   SANDRA          HERNANDEZ                 KS          90005011981
14862396891263   MAURICE         PRISTELL                  GA          90013823968
14863865991895   MAURO           ORTIZ                     OK          90014618659
14866669691569   EMILY           BROOKER                   TX          75075976696
14871175961938   TYREE           OULDS                     CA          90012891759
14874544757147   LUIS            CASTANEDA                 VA          90013315447
14875939691569   JAVIER          ROMERO                    TX          75025019396
14881278457125   ANELSY          MONTES                    VA          90010672784
14882522657147   CARLOS          RIVERA                    VA          81093935226
14896392333699   ANTONIO         GARLAND                   NC          90014743923
14896975147956   ROBERT          HUFF                      AR          90011089751
14913216733699   EPHRAIM         GREEN                     NC          90014752167
14923813833699   SHEILA          BURTON                    NC          90014758138
14932278691569   MARIA           PAYAN                     TX          90014802786
14951182991569   OSCAR           CONTRERAS                 TX          90013941829
14957269391827   STEPHANIE       WILLIAMS                  OK          90007682693
14976816391569   CATALINA        RODRIGUEZ                 TX          75006448163
14977925247956   KAMILAH         RELEFORD                  AR          90008429252
14988693591569   ROCIO           LUJAN                     TX          90011416935
14998234951337   MATTHEW         HARRIS                    OH          90013092349
15115776291569   GABRIELA        GOMEZ                     TX          90011957762
15116691361958   MARIA           LOPEZ                     CA          90006906913
15117213833647   THOMAS          MYERS                     NC          90001112138
15118227291263   SHERICE         JACKSON                   GA          90006552272
15119325361938   TERERSA         KNIGHT                    CA          90005353253
15119769891895   PAUL            CALDERON                  OK          90003137698
15126868555976   DULCE           DIAZ                      CA          90010828685
15137364755976   LINDA           SATOYO                    CA          90005773647
15138121861958   RENATO          CAYABYAB                  CA          90011061218
15145426491895   JOSEPH          HEIDENREICH               OK          90009234264
15148258691895   SHELLEY         ATCHLEY                   OK          90011022586
15152863631687   TERESA          SOTELO-RAMIREZ            KS          90014878636
15157892455976   LORENZO         MENDOZA                   CA          90010828924
15163657291263   COOBY           SAUTHERFILLED             GA          90014936572
15165548391569   BREANAD         GONZALES                  TX          90013395483
15167164455976   MICHAEL         COOK                      CA          90010331644
15167211157147   JOSE            ARGETA                    VA          90012732111
15167623291895   TAYLOR          PERRY                     OK          90014096232
15172788491263   MAYFER          HERNANDEZ                 GA          90013967884
15189324855948   RON             MEEKER                    CA          90011333248
15199216561925   ALEJANDRO       ZAVALA                    CA          46019782165
15216447783288   DIMITRI         KOUADIO                   TX          90014124477
15216843331676   MICHELLE        LANE                      KS          22060688433
15219759157147   JAMES           SMITH                     VA          90012787591
15225134591895   SHERRY          MARTIN                    OK          90011051345
15226797691569   FELIX           VILLA                     TX          90006047976
15232888261958   AURORA          HERRERA                   CA          90008278882
15264754891895   SEAN            HATHCOCK                  OK          90000177548
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15269457791895   STEPHAN         JONES                     OK          90013304577
15271679391895   JEFFERY         HARRIS                    OK          90014096793
15281647455948   SANDRA          SARAVIA                   CA          90007076474
15282949391569   ITZEL           GOMEZ                     TX          75086019493
15284394857147   LUIS            BARILLAS                  VA          90012143948
15326691161938   ANDY            YANG                      CA          46086576911
15331453491554   ROSA            URRUTIA                   TX          90003614534
15344692991569   LOURDES         ROJAS                     TX          90014526929
15352532847832   MICHAEL         RICE                      GA          90008545328
15355752857164   JAIME           ORELLANA                  VA          90001007528
15366939161958   JAIRO           SILLAS                    CA          90012619391
15371497991569   NATALIE         GUTIERREZ                 TX          90010984979
15378511891895   TIMOTHY         WHITE                     OK          90010795118
15378584557147   JERFERSON       BATEN                     VA          90009945845
15384915655976   MARIA           CORRENTE                  CA          90013099156
15385277355976   JUSTINA         MARQUEZ                   CA          90013152773
15411393491263   BEVERLY         HIEZELLEMAN               GA          90012843934
15416613391569   LUIS            NUNEZ                     TX          90012016133
15438777157147   ANDREA          SUAREZ                    VA          90010247771
15441158957147   MARVIN          GRIFFIN                   VA          90012881589
15442223661938   RENZZO          RAMIREZ                   CA          90006012236
15451349991836   MELLISE         ZACHARY                   OK          90005533499
15464533561958   LAURA           BOZO                      CA          90012245335
15467155657147   CARMEL          JOHNSON                   VA          90012191556
15469365755976   RAFAEL          ALCASAR                   CA          90010833657
15477797761958   MELISSA         PAYAN                     CA          90010377977
15482664761938   ANNA            COTA                      CA          90000566647
15491934131687   ASHLEY          MEYER                     KS          90009369341
15494759157147   JAMES           SMITH                     VA          90012787591
15494864961958   ARTURO          RAMIREZ                   CA          90012648649
15521756231676   CHANCE          HAINS                     KS          90007487562
15522181791573   ANGELICA        MARTINEZ                  TX          90011841817
15529556947956   JENNIFER M      GARTRELL                  AR          90008495569
15529916191573   IRASEMA         RAMIREZ                   NM          75088619161
15533687661958   WILLIAM         RASMUS                    CA          90012416876
15545854591263   JIM             NOTE                      GA          90010688545
15546188257147   CARLOS          CABRERA                   VA          90012881882
15572594391263   WILLIAM         MILES                     GA          90014945943
15595278531687   CYNTHIA         BARRERA                   KS          90011072785
15614849747956   DANIEL          FREEMAN                   AR          90012978497
15627142157147   PEDRO           VILLATORO                 VA          90010841421
15629237257147   MAYRA           AGUILAR                   VA          90014362372
15655182457147   MEDARDO         ROJAS                     VA          90010841824
15669972691263   CURTIS          ROBINSON                  GA          90013929726
15682152761958   ROLANDO         ALFONSO                   CA          46003811527
15694859491569   KARINA          PERALES                   TX          90011178594
15697682591569   MIGUEL          GONZALEZ                  TX          90014156825
15726864661938   ESTEBAN         ACOSTA                    CA          46005788646
15741348657147   KAMRAN          UDDIN                     VA          90011613486
15744754691569   GERARDO         GUTIERREZ                 NM          75053417546
15745347791263   DAJUAN          BAUL                      GA          90014813477
15778832155976   ERIC            GUTIERREZ                 CA          90012988321
15829934161958   JAMES           HODGES                    CA          90014299341
15833557761986   RAMIRO          LOPEZ                     CA          46001615577
15835496591836   REBECCA A       GONZALEZ                  OK          90000814965
15844797391895   DEVAIRON        GREY                      OK          90012767973
15876392155976   LUIS            VARGAS                    CA          90009013921
15888929571923   GWENDOLYN       VALDEZ                    CO          90010249295
15889956291569   VERONICA        CHAVEZ                    TX          90011949562
15917396861958   EDDIE           RAMIREZ                   CA          90010333968
15928969857147   CASSANDRA       FALLS                     VA          90012799698
15933926191263   WANDA           DUNN                      GA          90014139261
15937177561958   CHRISTIAN       ALVAREZ                   CA          90014441775
15937352191895   BRANDON         BENNETT                   OK          90008573521
15937534491526   VERONICA        CRUZ                      TX          75018045344
15947479555976   JOSE            GONZALEZ                  CA          49016724795
15952534491526   VERONICA        CRUZ                      TX          75018045344
15953832361958   ROSIE           CASTELLANOS               CA          90012568323
15973291461958   LAURA           RODRIGUEZ                 CA          90015062914
15983116155976   ROBERT          THAO                      CA          90013111161
15984933455976   ALVARO          ZAPIEN                    CA          90012979334
15997163257592   FREDERICK       SIMPSON                   NM          90011901632
16116553561976   ISIAH           BUGGS                     CA          90013905535
16118128755976   CHUE HUE        HER                       CA          49076371287
16123674751337   DANNY           MILLER                    OH          90012476747
16124939761976   REIKO           MUNOZ                     CA          90001499397
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16126899231687   JARDI            COMELLAS                 KS          90010238992
16127413961958   RAMON            CAMPOS                   CA          46099204139
16129881161976   SEBASTIAN        SPIKES                   CA          90012668811
16134936157124   JUAN CARLOS      VARGAS                   VA          90005059361
16138836561958   BENJAMIN         SIMS                     CA          90010328365
16141277976925   ZAQUARIA         WILLIAMS                 MS          90014132779
16141531755976   MICHAEL          MABRY                    CA          49033735317
16142667591569   PAULINE          RUELAS                   TX          90010746675
16149919363628   STUART           SPAHN                    MO          90010299193
16151523257147   JOHANTA          INGLES                   VA          90014855232
16152526951337   JOSE             GARCIA ROSAS             OH          90013855269
16152611261938   IBRAHIMA         BA                       CA          90013806112
16153263861938   LAVELL           PAYNE                    CA          46038432638
16157527655976   ELLOA            CRUZ                     CA          90014155276
16157919363628   STUART           SPAHN                    MO          90010299193
16164442591569   KEDRIC           WILLIAMS                 TX          90010264425
16165841761958   YESENIA          BUSTAMANTE               CA          90015188417
16168922155976   JOSE             MARTINEZ                 CA          90012479221
16169757726758   JOLENE           LECK                     PA          90013207577
16171558157147   THAO             VU                       VA          90014675581
16182814461938   JOSE             MARQUEZ SR               CA          90010468144
16186914247956   STACY            WRIGHT                   AR          90006169142
16194872147956   DYLAN            YOUNG                    AR          90002568721
16198739291569   ELISEO           GALVAN                   TX          90014537392
16212193531687   LADASJA          SAUNDERS                 KS          90014771935
16214433157147   ROGER            TAPIA                    VA          90014324331
16221186691895   KRISTINA         GRISMORE                 OK          90001611866
16226446961958   PATRICIA         SAUCEDO                  CA          90005054469
16227878861958   IGNACIO          BELTRAN                  CA          90011128788
16228693291895   TANA             DODD                     OK          90014866932
16244215961925   JESUS            OCAMPO                   CA          90012632159
16244748861938   BETTY            WILSON                   CA          90001537488
16249994391569   JONATHAN         SAMANIEGO                TX          90012719943
16253186261958   DWAYNE           CREWS JR                 CA          46038361862
16254556947956   CHRISTY          MARTINEZ                 AR          90014185569
16254819657147   DEYSI LORENA     LOPEZ                    VA          90012798196
16256853891584   LORENZO          BACA                     TX          75067668538
16259859161958   REX              SHEPHERD                 CA          46067968591
16261353791569   PAULETTE         ZARAGOZA                 TX          90012643537
16262353755974   LUCY             BANUELOS                 CA          90002083537
16266548243588   MARIA            BATRES                   UT          31014405482
16266548961976   VARINIA          HAYNIE                   CA          90009675489
16271451261938   LUCI             SALGADO                  CA          90011764512
16272513861976   LUCIO            GUZMAN                   CA          90014735138
16274517461976   EDGAR            FLORES                   CA          90014735174
16277828955965   JOANN            FLORES                   CA          90010378289
16283315155965   KARINA           IBARRA                   CA          90013893151
16284958561976   JEANETTE         RAMIREZ SMITH            CA          90012839585
16297198657562   KRISTINA         STOLTENBERG              NM          90012631986
16311696855965   EDGAR            MARTINEZ                 CA          48059486968
16318517461976   EDGAR            FLORES                   CA          90014735174
16335526361976   ISMAIL IBRAHIM   AHMED                    CA          90014735263
16338855547956   LESLIE           BIBLE                    AR          90006018555
16341578361976   FRANIA           CERVANTES                CA          90005585783
16349135961976   EMILIANO         HERNANDEZ                CA          90013971359
16349487657147   MAMANI           ROSANA                   VA          90011274876
16354423791569   TIFFANY          CANO                     TX          90014104237
16358131961938   BRENDA           GONZALEZ                 CA          46025961319
16379723261976   GILDARDO         ANDRADE                  CA          90011197232
16388385891569   MARIA            HERRERA                  TX          90004963858
16392843861938   AMALIA           URIBE PADILLA            CA          90011768438
16397925655965   LUIS             HERRERA                  CA          90011869256
16399958561976   JEANETTE         RAMIREZ SMITH            CA          90012839585
16424899791263   GALE             KIDD                     GA          90008498997
16425341347956   JEFFERY          NICHOLS                  AR          90011303413
16427777377567   PAULA            DAVIS                    NV          90006577773
16428639391569   NOEMI            CEBALLOS                 TX          90009646393
16429715691569   ADRIAN           ULLOA                    TX          90011317156
16441191255976   GABRIEL          ENRIQUE                  CA          90013371912
16447445755965   DANIEL           MARTINEZ                 CA          90011004457
16451135661958   JESSICA          MONTEBELLO               CA          90012161356
16456519951337   DANIELLE         LETCHWORTH               OH          90013355199
16459156361938   ANA              GUZMAN                   CA          90012311563
16485649761938   LUPITA           BENITEZ                  CA          90012806497
16487234355976   PATRICIA         CORTEZ                   CA          90014572343
16496879955965   CHRIS            GOMEZ                    CA          48043658799
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16512496661938   NORBERTO        LOPEZ                     CA          90011774966
16517188491263   BRITTANY        KENNEDY                   GA          90011891884
16525799391895   KELLI           MCCALL                    OK          90007917993
16528135661958   JESSICA         MONTEBELLO                CA          90012161356
16531259961965   PAUL            MORALES                   CA          90008602599
16531316561958   ISIS            PENA                      CA          90013983165
16536882961938   SYLVIA          HUGGINS                   CA          90013708829
16543254457147   MIGUEL          MARTINEZ                  VA          90006542544
16543478751337   DARLENE         MILLER                    OH          90014414787
16549136361976   LUIS            FLORES GODOY              CA          90012751363
16553791661976   KEITH           HARRIS                    CA          90012917916
16572162291263   NICOLE          LARRY                     GA          90011271622
16573927191895   JULIO           DE LA CRUZ                OK          90012589271
16578892447956   DONNIE          SANDERS                   AR          90014638924
16583646647956   TAJUAN          JOHNSON                   AR          90015186466
16617361847956   NICOLE          GRAZIER                   AR          90014643618
16617563757147   ALI             SHAHZAD                   VA          90013005637
16618873555976   PEARL           REYES                     CA          90012878735
16625687591569   MARTHA          DOEING                    TX          90013206875
16631532551364   LAWRENCE        WALKER                    OH          90013005325
16641732761976   FERNANDO        CACHO                     CA          90009887327
16648732761976   FERNANDO        CACHO                     CA          90009887327
16653876755976   RENE            MARTINEZ                  CA          90012878767
16656817555976   KAREN           GILL                      CA          90013328175
16679259961976   ZANDRA          WARREN                    CA          90012752599
16679874761994   RAUL            ALFARO                    CA          90011148747
16682688991569   ROMEL           ROSALES                   TX          90013726889
16683343291263   TANIKA          VANNOY                    GA          90013643432
16693289461976   JESUS           PALMA                     CA          90012752894
16697148661958   JIM             BAKER                     CA          90010001486
16725459391263   SHAVITEQUE      HAYWARD                   GA          90011394593
16726353691569   ALEJANDRA       VARELA                    TX          90012903536
16728865557147   AMY             LEHR                      VA          90002588655
16731867661958   IRMA            GUTIERREZ                 CA          90014928676
16734736157557   CHET            CHAY                      NM          90012987361
16745411361938   GONZALO         ANAYA                     CA          90011784113
16745455741225   ALICIA          MCBRIDE                   PA          90008374557
16747532961958   WAYNE           LITTLETON                 CA          46048965329
16749295557147   ANGEL           ROSALES                   VA          90012822955
16755933491895   PATRICK         SCOTT                     OK          90011529334
16756498455976   OLGA            RODRIGUEZ                 CA          90005364984
16756694831687   MAURICE         MITCHELL                  KS          90014806948
16763228857147   KEVIN           MARQUEZ                   VA          90013282288
16764178891263   GREG            YOUNG                     GA          90013121788
16769164257199   MARTIN          MENDIOLA                  VA          90008471642
16773457957133   KRISTINA        POLLACK                   VA          90014784579
16773571847956   EMILY           WILLIAMS                  AR          90014695718
16777238661976   THOMAS          SZOTEK                    CA          90013522386
16778726581665   GLORIA          HESS                      MO          90003797265
16781413255935   CAYETANO        BARBA                     CA          90010084132
16783343891263   WILLIAM         LINSKEY                   GA          90013713438
16783574957147   JOSE ROMEO      SANABRIA                  VA          90010425749
16783686491895   CHERI           GAGOSIAN                  OK          90013266864
16783746631687   ROBIN           BERGER                    KS          90014807466
16785412455965   PEDRO           HERNANDEZ                 CA          90012384124
16787994591895   BENJAMIN        MULVANE                   OK          90013319945
16789538357147   ROSA            ESQUIVEL                  VA          90015175383
16796593355965   JOANNA          ABRICA                    CA          48077225933
16811486261976   SALVADOR        ESCAMILLA                 CA          90014324862
16814767255965   GILBERTO        BANUELOS                  CA          90011387672
16815292261958   MARVIN          LANGINLUR                 CA          90013172922
16821689291569   MANUELA         NEVAREZ                   TX          90011096892
16826555291895   BAYLEE          ALAM                      OK          90013745552
16827817747956   JASON           NEEDHAM                   AR          24063358177
16829647761976   JAMES           STRASBAUGH                CA          90010976477
16832172755965   CHRISTINE       ROSE                      CA          90009131727
16833481291895   CHELSEA         HOFFMAN                   OK          90013284812
16851784331687   APRIL           POWELL                    KS          90005607843
16856935691263   LACHE           BROWN                     GA          90006099356
16857487361976   JOHN            DOUGLAS                   CA          90012754873
16863591391569   DANIEL          GALAVIZ-RUIZ              TX          90013015913
16865188155965   TOMAS           REYES                     CA          90011971881
16872224861938   ROD             KOCH-BURRY                CA          90011212248
16875496761976   FRANCISCO       ORTIZ                     CA          90012754967
16879237147956   MERI            BRADLEY                   AR          24080542371
16882592291263   NATHANIEL       BATES                     GA          90013585922
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16888994291263   DAVID           STRANGE                   GA          90015029942
16912945391884   JUAN            SALDIVAR                  OK          90007669453
16914977391569   JAIME           SIFUENTES                 TX          75045549773
16916355957147   ALVARO          LOPEZ                     VA          90013923559
16917544455976   JAVIER          CRUZ                      CA          90014155444
16922864947956   JESSE           ALVERSON                  AR          90014728649
16924778961976   BEAT            MILLER                    CA          90010137789
16931661761958   LATOYA          SANCHEZ                   CA          90011856617
16931787931687   DELILHA         REYES                     KS          90014817879
16936749961976   GABY            MERCED                    CA          90014737499
16941966391569   MARGARITA       LOPEZ                     TX          75016769663
16948464855965   PERLA           REYES                     CA          90013184648
16953847761958   HECTOR          MORALES                   CA          46073218477
16955968951337   JACOB           FLICK                     OH          90007349689
16966158361938   JUAN            DELGADO                   CA          90011791583
16968979591569   MELISSA         APODACA                   TX          90010529795
16969726747956   MARTY           HAY                       AR          90012557267
16969819347956   MARTY           HAY                       AR          90005228193
16973674155976   JOANNE          ROBLES                    CA          90010396741
16984664391895   ERICA           TURNER                    OK          90009746643
16987269147956   TAMERAH         REEDERS                   AR          90009762691
16996154561976   ANGIE           GARCIA                    CA          90001761545
16996498261958   ASHLEY          STALNAKER                 CA          90006834982
16999514993725   JESSICA         MOORE                     OH          90010635149
17122364661972   DALE            FUGATE                    CA          90012713646
17129158777539   AMANDA          EISAMAN                   NV          90011801587
17133954651599   KAREN           ROBBINSON                 IA          90013809546
17134635561976   AIOTEST1        DONOTTOUCH                CA          90015116355
17146514461958   EDDIE           GRIFFIN                   CA          90015315144
17161876561958   MARIA           RODRIGUEZ                 CA          90012688765
17163294891569   ANDREW          FULLER                    TX          90005302948
17171851391569   MARIA           OROZCO                    TX          90014628513
17172764577539   LUCILA          CORREA                    NV          43001407645
17174426661958   ANGELICA        RAYO                      CA          90011034266
17176939177539   KEVIN           HEAD                      NV          90011809391
17177742955976   CANDIE          VASQUEZ                   CA          90015317429
17185535361976   ANDREA          MATTHEWS                  CA          90013665353
17188139861938   LIZ             PEREZ FIGUEROA            CA          46072761398
17191556391588   CYNTHIA         SEPULVEDA                 TX          90014625563
17192121361976   VICKY           RICE                      CA          90014791213
17199742361976   MARGARITA       PICENO                    CA          90012887423
17221139955976   ANA             REYNOSA                   CA          90010371399
17221182191263   KEVIN           ALEXANDER                 GA          90007961821
17224633231687   LEEAHNA         SMITH                     KS          90013486332
17229635561976   AIOTEST1        DONOTTOUCH                CA          90015116355
17231651157147   REYNA           RIVAS MEJIA               VA          90010136511
17244397261976   ALEXANDER       RODRIGUEZ                 CA          90014873972
17244476961958   LUIS            MARTINEZ                  CA          90012664769
17255138491588   ALEJANDRA       CHAVEZ                    TX          90009981384
17257643591588   EFREN           BUSTAMANTE                TX          90014346435
17257762671976   ROBERT          FRIEND                    CO          90010977626
17259866957147   MARIA           LOPEZ                     VA          90010868669
17265827791569   MARTHA          CASAVANTES                TX          90006398277
17284426291263   LATOYIA         HUMPHRIES                 GA          90011564262
17285248291586   ANGELICA        SILVA                     TX          90008482482
17285635561976   AIOTEST1        DONOTTOUCH                CA          90015116355
17289126277539   JOSE            ZARATE-PIMENTEL           NV          90011821262
17293963491263   SHANESE         PRICE                     GA          90011579634
17295438391547   JUAN            LOPEZ                     TX          90009284383
17315834831687   LISA            MERCIER                   KS          90014888348
17319294631962   BOULAYE         GASSAMA                   IA          90012082946
17321565147895   STEVE           SUTTON                    GA          14004715651
17322662291588   JORDAN          NAVARRETE                 TX          90013706622
17337529757147   ALEX            MAGALHAES                 VA          90012485297
17344383591569   NADIA           TREVIZO                   TX          90014173835
17344455161938   SANDRA          KELLY                     CA          46067484551
17346684291588   MERCY           VELASQUEZ                 TX          90012046842
17348684591569   ELIZABETH       WHYTE                     TX          90015216845
17351566447956   MARLENY         VAQUERANO                 AR          90011145664
17353476991569   JERUSHA         NASH                      TX          90009774769
17354156261958   ERIC            THOMAS                    CA          46043521562
17355797691588   REYNA           ESCOBEDO                  TX          90011517976
17373635561976   AIOTEST1        DONOTTOUCH                CA          90015116355
17374566655976   WENDY           BALANZAR                  CA          90012525666
17382837661976   JAVIER          RIVERA                    CA          90014748376
17388539291588   EDGAR           CHAPARRO                  TX          90009695392
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17393421891895   DAHJ CETRA      PENNY                     OK          90014854218
17395698557147   ELMER           ALVAREZ VIERA             VA          90010846985
17415877857147   MIGUEL          NUNEZ                     VA          90006808778
17415947161938   MARIA           BENITEZ                   CA          90002489471
17426693391263   YOLONDA         WASHINGTON                GA          14570636933
17428628361958   JOSE            PAT-COUOH                 CA          90005146283
17442247957147   JOSEPH          OBENG-BAAH                VA          90007172479
17442431891895   AUNDRIA         COWEN                     OK          90014854318
17443467161993   MIGUEL          RINCON                    CA          90011674671
17449377955976   JOSE            OROZCO                    CA          90010703779
17454414855976   PERLA           ESCAMILLA                 CA          90012224148
17459635561976   AIOTEST1        DONOTTOUCH                CA          90015116355
17465279781629   TANISHA         GLADNEY                   MO          90001262797
17467811291588   ELDA            AGUIRRE                   TX          75033948112
17471258561958   GIOVANNI        LOEZA                     CA          90013662585
17471839261958   CAMILLE         SKIFF                     CA          90015018392
17474875291573   LOUIS           JAMES                     TX          90007808752
17476958855976   SOPHIA          SCOTT                     CA          90011329588
17488933151542   TAYLOR          SAMPLE                    IA          90014579331
17497127193725   JADE            THORNTON                  OH          90007101271
17518735655976   PARIS           WARD                      CA          90013207356
17523368273228   FRANCIS         OSEI                      NJ          90011083682
17531783391588   RODOLFO         PUENTES                   TX          90012627833
17532559591569   EDITH           RODRIGUEZ                 TX          90007925595
17533167855976   JAVIER          DE LA TORRE               CA          90013801678
17534313791588   ISMAEL          FLORES                    TX          90011173137
17537391955976   SOFIA           TORREZ                    CA          90012953919
17544899455976   ROSIE           VERDUZCO                  CA          90014428994
17545166261976   ELIZABETH       SIPAQUE                   CA          90011271662
17551573657147   PAMELA          HITT                      VA          81052935736
17553335955976   RICO            ONELAS                    CA          90010313359
17556966661976   RICARDO         GONZALEZ                  CA          90002529666
17562169891569   CLAUDIA         ARCHULETA                 TX          90012781698
17562376491584   MANUELITA       MIRAMONTES                TX          90013903764
17573392491588   ARTURO          RODRIGUEZ                 TX          90012353924
17583749461958   JESUS           LOMENLI                   CA          90010797494
17584636461976   AIOTEST1        DONOTTOUCH                CA          90015116364
17596914661976   FERNANDO        GOMEZ GUZMAN              CA          90012059146
17598591761958   MANUEL          MORADO                    CA          90015275917
17598693691895   VANESSA         MUKES                     OK          90011736936
17611342655976   ERIKA           SORIA                     CA          90011063426
17623718161948   RUBEN           ALVARADO                  CA          90008517181
17628746747956   DERRICK         LONG                      AR          90010307467
17634493357147   SAUL            GRANADOS                  VA          90013294933
17644644855976   AIOTEST1        DONOTTOUCH                CA          90015116448
17645391457147   BRIAN           PUTT                      VA          90012713914
17646683691588   ESPERANZA       HERNANDEZ                 TX          90006336836
17651438161958   CASEY           FRITZSCHING               CA          46095334381
17663383191956   KIRSTEN         TIPTON                    NC          90001443831
17664486831687   KALI            MCKNIGHT                  KS          90006664868
17666271691588   DARLENE         AGUILAR                   TX          90014572716
17666867891569   HUMBERTO        CANO                      TX          90012098678
17667182791895   AMANDA          RICHARDSON                OK          90011801827
17667555361976   SARAH           CUEVAS                    CA          90010315553
17669624161976   JOSE            BERUMEN                   CA          90011276241
17671774457147   DANIELA         MADRIGAL                  VA          90011307744
17685798693763   DEBORAH         HEISTER                   OH          90003987986
17687656755976   PAYGO           IVR ACTIVATION            CA          90014326567
17693339491263   CANDICE         BRANUM                    GA          90000913394
17694644855976   AIOTEST1        DONOTTOUCH                CA          90015116448
17712157561958   MIGUEL          MARTINEZ                  CA          90010751575
17712653355935   SHEIKH          KAIUUM                    CA          90011656533
17727616491895   STEVE           SIMMONS                   OK          90004586164
17732726861938   OMAR            NAVARRETE                 CA          46016337268
17738684391263   JAMELL          WRIGHT                    SC          90010936843
17739764557147   MARIO           FLORES                    VA          90013307645
17753718291588   LETICIA         GONZALEZ                  TX          90014627182
17755765891569   MARIANA         SANCHEZ                   TX          90012107658
17756967747956   HERBERT E       HARPER JR                 AR          90010169677
17757816185936   SCOTT           BODKIN                    SC          14592208161
17761395861958   ERIKA CARINA    ZUNIGA                    CA          90014093958
17767374361976   CONTANCE        COLE                      CA          90010073743
17773175558535   PRISCA          ALEXANDER                 CO          90012661755
17775626855976   MARDY           VALENTINE                 CA          90014326268
17795933361976   CLAUDIA         BONILLAS                  CA          90008979333
17799632255938   RAYMOND         HERNANDEZ                 CA          90011306322
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17814222955976   CRISTOPHER      FLORES                    CA          90014592229
17823647291588   LORENA          SIANEZ                    TX          90008926472
17842363855976   KRYSTAL         ESPINO                    CA          90012643638
17842814991588   GOXZLES         ELISABBTH                 TX          90003228149
17845437361958   CAROLINA        LOPEZ                     CA          90014034373
17852136761958   LESSLEY         TORRES                    CA          90013511367
17853316991569   LUIS            GONZALEZ                  TX          90013433169
17853397861976   BLAKE           VAN AMERONGEN             CA          90012743978
17863919761976   MARTHA          SEVILLA                   CA          90012769197
17866564491569   ANGELICA        ANGUIANO                  TX          90013695644
17874297761958   JACKIE          ARGUETA                   CA          90013822977
17887641357147   GILBERTO        MARTINEZ                  VA          90011846413
17893174131687   MICHAEL         ERWIN                     KS          90010651741
17899863793783   ASHLY           CLAAR                     OH          90009588637
17916239591895   GLENDY          NAVARRO                   OK          90011812395
17925991491588   MELISSA         VALDEZ                    TX          90012159914
17927934991588   HECTOR          REYES                     TX          90010869349
17936933691569   WALTER          LEON                      TX          75008539336
17937933691569   WALTER          LEON                      TX          75008539336
17938159361958   GONZALO         NAYA                      CA          90013221593
17938317755976   ERICA           DELAVARA                  CA          90015193177
17941383291569   JAMES           LEE                       TX          90013203832
17947732857147   OSMIN           RUIZ                      VA          90007917328
17962128461958   CECILIA         REYNOSO                   CA          90012911284
18117784891569   SEAN            RENTERIA                  TX          90006997848
18118155851337   MARANDA         COOPER                    OH          66015291558
18118524451337   MARANDA         COOPER                    OH          90012705244
18119921761938   MIGUEL ANGEL    PEREZ                     CA          90014729217
18127227291569   MELISSA         CARRANZA                  TX          90010162272
18139358361958   ESTEBAN         ESPINOZA                  CA          90008363583
18151349851337   JENNIFER        WALLAR                    OH          90013873498
18159663391523   LETICIA         CARRILLO                  TX          90009906633
18175499791523   INEZ            RUVALCABA                 TX          90013104997
18177639361958   ELVA            LOZA                      CA          90013456393
18177942491569   CESAR           MARTINEZ                  TX          90008119424
18181885591569   DORA            CARDOZA                   TX          90013468855
18189832255976   ANNALISA        ARCINIEGA                 CA          90010398322
18192648691569   BRYAN           SAENZ                     TX          75040736486
18197197555976   AARON           CARDENAS                  CA          90009011975
18212617691569   ANDRES          NARANJO                   TX          75079386176
18214752561958   TAYLOR          HARVILLE                  CA          90013217525
18226548761976   OSIEL           PONCE                     CA          90006475487
18238383551337   OVETTA          LEARY                     OH          90013263835
18243586661938   ROBERT          HARRISON                  CA          90009485866
18245318391569   RAFAEL          SERRATOS                  TX          90015293183
18248324851359   ESSENCA         WASHINGHEN                OH          90012363248
18248916231687   JENNIFER        SIMERLY                   KS          90012439162
18255856591586   SASHARY         ALKAABI                   TX          90010798565
18266658661938   DION            SIMPSON                   CA          90014856586
18276249391584   HEDI            PLACENCIA                 TX          90010282493
18279861991897   SHALANDRA       RIJO                      OK          90008748619
18288122591578   HILDA           AYALA                     TX          90007711225
18288637181639   MARVIN          HORN                      MO          90013826371
18289491891569   ELVA            MAGDALENO                 NM          75001794918
18292464961938   BRYAN           GARDUNO                   CA          90015124649
18295753381639   AMY             BRYANT                    MO          90010437533
18299688785966   ANTWAUN         MITCHELL                  KY          90014506887
18312473591569   GARY            GONZALEZ                  TX          90009654735
18312884851359   MARVIN          NARED                     OH          90014798848
18314663731687   ANJANETTE       MONTANO                   KS          90007926637
18314944491523   VICTOR          CANALES                   TX          90001569444
18316759881639   TINA            MEYERS                    MO          90013237598
18319558591569   ELSA            ESCOBAR                   TX          75099005585
18325323157147   NOEL            HERNANDEZ                 VA          90012803231
18328571731687   TASHIA          TOWNSLEY                  KS          90009075717
18339593257579   REBECCA         JONES                     NM          90014315932
18345988957147   MICHELLE        WOODSON                   VA          90013229889
18355831355976   CHRISHONDA      SMITH                     CA          90011088313
18357614261938   ALEJANDRA       ESTRADA                   CA          46050786142
18364244285966   SAMANTHA        GRANT                     KY          90013642442
18369614991523   GABRIELA        FERRON                    TX          75004266149
18373858361958   REFUGIA         PRADO MENDOZA             CA          46067748583
18378479655976   MICHAEL         NIJERA                    CA          90014984796
18386253455987   STEPHANY        RARCIA                    CA          90010602534
18387318391569   RAFAEL          SERRATOS                  TX          90015293183
18388331985966   PAYGO           IVR ACTIVATION            KY          90010963319
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18394458891578   JODY            HERRELSON                 TX          90008824588
18398677591569   GLORIA          PARRA                     TX          90008076775
18421757757147   SAMEH A         GHAREEB                   VA          90011807577
18422924151355   DAVID           WILEY                     OH          90005189241
18436341555976   STEPHANIE       MOREYDA                   CA          90013693415
18438581591523   VERONICA        CASTILLEJO                TX          90008395815
18444523791523   OLGA            GARCIA                    TX          90013105237
18448573571932   RAY             TARANGO                   CO          90010475735
18448598371929   STACY           BARNES                    CO          90007765983
18451287191569   VERONICA        ESCOBEDO                  TX          90013352871
18461244285966   SAMANTHA        GRANT                     KY          90013642442
18465195551355   NICK            CONNER                    OH          90012831955
18472291657147   BLANCA          REYES                     VA          90010592916
18473479161938   BRADY           REDWINE                   CA          90013154791
18482351791569   GINNY           NAVAR                     TX          90010413517
18485942791569   SAMUEL          ORTIZ                     TX          90010859427
18486753385966   RANE            SLOAW                     KY          90006507533
18489364991885   SARA            ARZU                      OK          21011363649
18493575461938   VANNA           HIM                       CA          46097565754
18513424261938   MARIA           VAZQUEZ                   CA          90014924242
18521286955976   FAWAZ           ALMARI                    CA          90013612869
18541847391523   ARMANDO         CONTRERAS                 TX          90010158473
18552351191569   ASHLEY          MORALES                   TX          90008963511
18559718761938   ENRIQUE         MIRANDA                   CA          90001997187
18572268661938   ANTONIO         BROWN                     CA          90014802686
18577685831687   SEAN            HESS                      KS          90011876858
18594595931687   WAYNE           KINNEY                    KS          90014675959
18594649961938   ERNESTO         JIMENEZ                   CA          90003556499
18598392257147   SEBASTIAN       ROJAS                     VA          90013143922
18599343161958   NATHAN          CAMPBELL                  CA          90014593431
18611453351359   LETASHA         MCPHERSON                 OH          90011224533
18612136357147   SACARIA         LOPEZ                     VA          81098591363
18612641161938   ARTEMIO         PEREZ                     CA          90012916411
18617649955976   FABIAN          VELASQUEZ                 CA          90007486499
18618411691569   ROSA            CHAVARRIA                 TX          90002984116
18619694555976   ESMERALDA       VILLALOBOS                CA          90011496945
18632155851337   MARANDA         COOPER                    OH          66015291558
18632487157147   TANYA           HARRISON                  VA          90011844871
18632524451337   MARANDA         COOPER                    OH          90012705244
18634833757147   DAMARIS         MENLENDEZ                 VA          90011848337
18645667461958   MELISSA         MARTINEZ                  CA          90014416674
18647866191523   SANDRA          HERNANDEZ                 TX          90010908661
18648181261938   JORDAN          GENTNER                   CA          90010631812
18654674257147   LINDA           CARABEZ                   VA          81009936742
18656234557147   TODD            WILLIAMS                  VA          90013142345
18666815631687   CHRISTINA       GUERRERO                  KS          22010838156
18668818631687   KELLI           BRUBAKER                  KS          90011018186
18675869251355   VERONICA        CASTRO                    OH          90012218692
18712353591569   ANTONIO         MANCINAS                  TX          90013933535
18715756461958   JOHNNY          YUMA                      CA          90013887564
18748845785966   VALERY          WARD                      KY          90011328457
18752548955976   BERNABE         ALCALA                    CA          90001285489
18754445351355   ASHANTI         RIDDLE                    OH          90010704453
18757417461958   ERNEST          DELGADO                   CA          90011054174
18774825791569   PACO            FERNANDEZ                 TX          90014038257
18777455571976   MEGAN           MCCABE                    CO          90011244555
18777538851337   ANTHONY         WILKERSON                 OH          90005505388
18779957591569   YARA            ARMENDARIZ                TX          90011859575
18782939255976   JUAN CARLOS     BAUTISTA VARGAS           CA          90010079392
18785252191523   RUBEN           GUZMAN                    NM          75046862521
18794137857147   LAURA           RAMIREZ                   VA          90013241378
18795137857147   LAURA           RAMIREZ                   VA          90013241378
18796745955976   DENNIS          LAUGHLIN                  CA          90012417459
18812235355976   JEFFERY         CHENVERT                  CA          90014282353
18822641891523   JAMES           BONNER                    TX          90011386418
18822996591569   GRACE           QUEZADA                   TX          90010729965
18825438591523   JEANETTE        MORALES                   TX          90007134385
18848516757125   EVER            ESTRADA                   DC          90000835167
18852154961958   RICHARD         HOSEA                     CA          46031141549
18866534455976   OLIVIA          MARQUEZ                   CA          90014685344
18882916691569   CELSO           BARRON                    TX          90009459166
18885461154173   JULIE           FULLMER                   OR          90013264611
18887224691523   PABLO           OSANTE                    TX          90005322246
18893699491895   JANETTA         GROFF                     OK          21092986994
18898668885966   CORY            SHORT                     KY          90012846688
18914299357147   JOHN            NEWMAN                    VA          90013352993
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18914388191523   VALERIE          PEREZ                    TX          75079943881
18915456481652   JAMES            KING                     MO          29003544564
18921868993723   SAMUEL           JONES                    OH          90008758689
18928747261985   CHARLES          BRAUEL                   CA          90009867472
18929763951343   RONALD           BAUER                    OH          90004337639
18931349661958   EDWARD           PAURAZAS                 CA          90012033496
18934159785966   BRANDY           BARRETT                  KY          90014081597
18951976891523   RICARDO          SALAZAR                  TX          90009929768
18952161891523   ROBERT           VALLADAREZ               TX          90010831618
18954271885966   J SHANE          KAYS                     KY          90012872718
18955746391569   GEORGINA         ROSE                     TX          75046087463
18963158685966   DEAN             HALE                     KY          90014711586
18963675957147   UDELIA           GARCIA                   VA          90008986759
18969459481639   REBECCA          SUMMERFORD               MO          90013154594
18972315761958   MARIO            PINO                     CA          90015243157
18976284361958   VICTORINO        SOMERA                   CA          46089662843
18981711855976   SAMUEL           SALAZAR                  CA          90013037118
18982983555976   FOR              VANG                     CA          90004619835
18993178891523   VERONICA         ECKENROTH                TX          75097571788
19119322261938   MICHELLE         MARQUEZ                  CA          90011393222
19138114891569   ANDREA PAULINA   MACIAS                   TX          90006371148
19147449561958   FRANCISCO        PINA                     CA          90010094495
19157622291263   JOSUE            COBOS                    GA          90014856222
19159867191569   ROBERTO          INTRIAGO                 TX          90005598671
19161111961963   BONNEY           GOTT                     CA          90011181119
19162376491569   RUBEN            RAMIREZ                  TX          75092753764
19162952657147   MIRNA            HERNANDEZ                VA          90009029526
19164496561958   JOHANNA          HERNANDEZ                CA          90010094965
19175231961924   CARLOS           CERVANTES                CA          90014492319
19186667257147   MARIA            REYES                    VA          90008916672
19187125557147   JONATHAN         DIXON                    VA          90013931255
19187168491263   LUCHER           JOHNSON                  GA          90009381684
19199647131444   KELLY            BAKER                    MO          90010696471
19214347191569   MARIA            VELAZQUEZ                TX          90010013471
19219681461938   FERNANDO         OCHOA                    CA          90010526814
19222921585966   MONTANNA         KELLEY                   KY          90014139215
19226125893745   ERIC             CLAY                     OH          90010011258
19228581891569   MARIA            RASCON                   TX          90007695818
19229296293745   JANIE            LAUB                     OH          90013152962
19232875557147   JOEL             GOMEZ                    VA          90012968755
19238717551359   PRECIOUS         PRUITT                   OH          66057157175
19244113757147   MARIA            ORELLANA                 VA          90012741137
19245293551337   CHRIS            HAMEL                    OH          90010762935
19246721957147   RONALD           POLO                     VA          90014167219
19247738691263   LARHONDA         MORONTA                  GA          90013407386
19252486761938   BETTY            STEWART                  CA          90015334867
19253447861963   JEREMY           RIGDON                   CA          90013234478
19255776757147   ROBERTO          MATOS                    VA          90011647767
19258514661963   JOEL             ISSAC                    CA          90013245146
19265339757147   TORI             GREEN                    DC          90013973397
19265441257147   TORI             GREEN                    DC          90011214412
19265448357147   TORI             GREEN                    DC          90011994483
19266432631687   NANCY            MARTINEZ                 KS          90009884326
19272924693727   BEAUTIFUL        STAR                     OH          90008839246
19275224591569   CRYSTAL          BURCIAGA                 TX          90008122245
19275683351337   JAMES            CARTER                   OH          90011856833
19286512451355   NATHANIEL        RIESELMAN                KY          90013055124
19288642761938   JUSTIN           FIGURON                  CA          90013106427
19299232861958   SARA             GARCIA                   CA          46039902328
19326329861938   AHIDA            BAZQUEZ                  CA          90014373298
19329147157147   JAMES            NEGRONI                  VA          90012761471
19331274791263   BRIAN            PAGANO                   GA          90013272747
19333859563654   SARAH            THEOBALD                 MO          90007668595
19333954491838   MARTINEZ         ZULEYMA                  OK          90010129544
19338225357147   KENDALL R        STUIT                    VA          90014922253
19358686691569   CESAR            MARTINEZ                 TX          90011356866
19364268257147   ISAIAS           MEDINA                   VA          90013932682
19375813557147   NOHAWIT          BERMANE                  VA          90007948135
19377651461938   MARTINEK         WHITE                    CA          90010936514
19378144351359   SIYR             HAYGOOD                  OH          90012331443
19378449151337   SYMPHONY         WATTS                    OH          90006964491
19389567393727   ANGELA           MILLER                   OH          90001265673
19391877191569   MARIA            MACIAS                   TX          90005878771
19392421293745   ORONDE           CLARK                    OH          90009374212
19439152451355   CECIL            BOYKINS                  OH          90013701524
19441836933699   RAVYN            LONG                     NC          90007258369
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19443989461938   CAROLINA        MORENO                    CA          90009999894
19454359457147   AGENOR          MENDEZ                    VA          90013383594
19461241661963   DARRYL          SCOTT                     CA          90012002416
19461243461938   CARMEN          VELAZQUEZ                 CA          90009482434
19464467557147   KEVIN ANTONIO   ABARCA                    VA          90010184675
19473646361958   MORALES         PETER                     CA          46034646463
19475112991263   ASHLEY          MILLER                    GA          90008281129
19493512451355   NATHANIEL       RIESELMAN                 KY          90013055124
19495884791263   CINDY           PINCKNEY                  GA          90008118847
19521952951359   STEPHANIE       FARTHING                  OH          90013919529
19532278391569   ARCELIA         HERNANDEZ                 TX          90013822783
19533436661958   ANA             TELLEZ                    CA          90006944366
19543144393767   NOREEN          SHROPSHIRE                OH          90012401443
19547256151355   SUMMER          HOWLETT                   OH          90013192561
19547269257147   AUGUSTINA       AMPEH                     VA          90003562692
19554654391569   AMANDA          DE LA CRUZ                TX          90014156543
19562551761963   ENRIQUE         MENDOZA                   CA          90014415517
19564347993768   BEN             EASY                      OH          90007933479
19573963961958   MARTIN          VILLEGAS                  CA          90010349639
19584265461963   JUSTIN          CORNWELL                  CA          90014672654
19614625151359   AMBER           HILL                      OH          90009856251
19616345793745   KYLE            GRUNKEMEYER               OH          64515983457
19617327757147   HANH            CHAU                      VA          90014253277
19619792731687   LOGAN           KELLEY                    KS          90010897927
19623578661963   YAHAIRA         FERNANDEZ                 CA          90010545786
19624781251359   JOQUINA         BROOKS                    OH          66095967812
19626281557147   DANIEL          ADAMI                     VA          90014922815
19656753861938   ANGELA          CLARK                     CA          90012317538
19666547491524   MARIA           GARDEA                    TX          90012455474
19666625461958   STEVEN          SCHOW                     CA          90010396254
19668568691855   LANCE           VEALES                    OK          90010215686
19675858761963   JUAN            BRASCH                    CA          90013888587
19683741261963   MEGAN           KETTMANN                  CA          90001997412
19683845655938   CHRISTINA       EMERY                     CA          90001508456
19684328161963   ALI             ALKHAFAJI                 CA          90012233281
19685788957147   WILBER          PARIONA                   VA          90003187889
19713673861958   CHRISTINA       DUNNAM                    CA          90010396738
19719163751337   JAMES           GOINS                     OH          66026551637
19743778991569   EDGAR           MARTINEZ                  TX          90015097789
19747118591569   JASON           JAMES                     TX          90004041185
19752318191569   BRENDA          GONZALEZ                  TX          75047093181
19773241791263   KATINA          KING                      GA          90014712417
19778928451355   JUAN            BRITO                     OH          90013509284
19779219151355   HEATHER         ELLERBUSCH                OH          66096582191
19785598361963   ROBERT          GAYS                      CA          90010015983
19788731751337   ANTOINETTA      WILLIAMS                  OH          90015017317
19789627261963   EBONY           HIGGINS                   CA          90014836272
19789738691263   LARHONDA        MORONTA                   GA          90013407386
19796222151359   NATASHA         ASHER                     OH          90010242221
19799657251355   LINDA           WALKER                    OH          90011126572
19828692133699   KIMBERLY        BAKER                     NC          90009916921
19839463651337   HEATHER         DIEFENBACH                OH          90010804636
19842356561938   YOLANDA         ZALDIVAR                  CA          90014083565
19844351791266   TARA            SANKS                     GA          90014713517
19849221351359   EDITH           WILLIAMS                  OH          90013702213
19865895957147   SYED            MUZAFFAR                  VA          90012948959
19872269691569   GABRIELA E      DIAZ AVILA                TX          90010372696
19891387191263   DEANNA          DOUGLAS                   GA          90013773871
19911136991578   ALEJANDRA       FONSECA                   TX          90007661369
19913142551337   ROSA            URENA                     OH          90012181425
19913424357147   NIKOLE          IRAHETA                   VA          90010374243
19922836751337   BRIAN           MERCER                    OH          90012718367
19931576891895   TIFFINI         WAGNER                    OK          90006975768
19937717361938   DANIEL          KARCHER                   CA          90009947173
19938762491997   OSCAR           VAZQUEZ-TREJO             NC          90007517624
19942268451337   TIFFANY T       HEDGES                    OH          90013992684
19962656361963   APRIL           VARGAS                    CA          90009636563
19977673151355   AMBER           GOSSER                    OH          90014276731
19981254357147   RENAN           BASILIO                   VA          90014212543
19983471591569   NUBIA           CERINO                    TX          75043654715
19985271631687   MAURA           ORELLANA                  KS          90013612716
19994231891263   JESSICA         HAMILTON                  GA          90013302318
21116117181637   SAMANTHA        RICHIE                    MO          90010701171
21116912141245   BRANDY          BOROWSKI                  PA          90011239121
21117684581661   ANA             LOPEZ                     MO          90013726845
21121777281638   MICHAEL         WELSH                     MO          90010057772
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21129288291828   CHRISTIAN       THOMPSON                  OK          90005052882
21133543291541   RAYMUNDO        FERNANDEZ                 TX          75043245432
21137576255941   BRANDON         GARCIA                    CA          90012895762
21141561191828   BENJAMIN        RODRIGUEZ                 OK          90010825611
21142239991541   DANNY           GARCIA                    TX          90002872399
21142747691528   ERIC            RAMIREZ                   TX          90003367476
21143891957157   ZIBOL           HUYAMH                    VA          90011898919
21148683141245   PATRICIA        JHONSTON                  PA          90015136831
21151784591528   MACIEL          GUADALUPE                 TX          90011617845
21152499193727   JACKIE          JOHNSON                   OH          90009104991
21163728655923   SAMMY           CUEVAS                    CA          90011507286
21164169291828   RAMSEY          COMBS                     OK          90012151692
21167695984364   VINECIA         BROWN                     SC          90013956959
21168525341245   EDWARD          GRAFT                     PA          90013295253
21169533531453   MARY            KEENAN                    MO          90014815335
21181592591243   MICHAEL         FARLEY                    GA          90000625925
21182523691828   AUSTIN          SHIRLEY                   OK          90013105236
21184853191528   VICTOR          AVILA                     TX          75092418531
21192878355957   VERONICA        GARCIA                    CA          90004978783
21196899591828   LESLIE          PAYNE                     OK          90009958995
21199697241245   JOY             CALTAGIRONE               PA          51052666972
21212422555957   JACOB           SERVIN                    CA          90011514225
21214725481661   DAMITA          JONES                     MO          29005847254
21218376981638   JOSHUA          VINCENT                   MO          90010953769
21219331647952   CRYSTAL         KESSLER                   AR          90013703316
21232115357157   JIMMY           JENNINGS                  VA          90012901153
21232618555941   ALBERT          WILLIS                    CA          90014666185
21244646491528   CALVIN          FOLK                      TX          90003886464
21244778755941   EFRAIN MARTIN   GRACIA                    CA          90012867787
21245876685938   KATIE           OTERO                     KY          90008068766
21248342955957   TYLER           ZIGLER                    CA          90011803429
21252134341245   THOMAS          HOWELL                    PA          90005411343
21252244741245   THOMAS          HOWELL                    PA          90014152447
21265562651369   JAMEEL          NEVINS                    OH          90011425626
21268356155957   JAMES           COLLLINS                  CA          90013713561
21268666481638   JOSE            GARCIA                    MO          90011906664
21269324931453   LATOSHIA        WILLIAMS                  MO          90013683249
21269613331453   ALBERTO         VALLECILLO                MO          90012696133
21286673657157   JUAN            CRUZ                      VA          90012176736
21286933691541   HERNANDEZ       ALEJANDRA                 TX          90010849336
21287467684364   JANAY           HARLEY                    SC          90013114676
21288681977541   MARISSA         MARTINEZ-POTTER           NV          90000716819
21292126551343   TRISTIAN        COMPBELL                  OH          90015211265
21295155241245   BHIM            KADARIYA                  PA          90011581552
21296371991589   VIVIAN          BURGOS                    TX          75097913719
21297266991984   BRENDA          ESCOBAR                   NC          90014992669
21321412141245   REBECCA         ULLRICH                   PA          51048464121
21322998391541   JERRY           ESTRADA                   TX          90004459983
21344163541245   RONNISHA        MASON                     PA          90006281635
21355224591541   ANGEL           ORTIZ                     TX          90014122245
21362972784364   CHARLES         DOVE                      SC          90014179727
21376361885938   JACKIE          RAYBURN                   KY          90013703618
21379337741245   LUCIOUS         ST CLAIR                  PA          90010433377
21379489331453   TYESHA          ROSE                      MO          90014564893
21389326181661   REBEKAH         ALLISON                   MO          90003093261
21399412731453   TIERRA KEITH    STRONG ASKEW              MO          90013484127
21418561984364   NATHALIE        SCHREITEL                 SC          90008285619
21418639991528   JAVIER          MENDOZA                   TX          75068126399
21423935555957   BERNADETTE      PEARCE                    CA          90008729355
21425282557157   BRIAN           EDWARDS                   VA          90014622825
21425314381638   AJONA           BUSHNELL                  MO          90008643143
21426959947952   ERICA           MURPHY                    AR          90011049599
21427523385938   GREGORY         BLACK                     KY          67093025233
21431567491828   JASON           KITE                      OK          21000025674
21431599691984   PHYLLIS         LEAK                      NC          90013335996
21436444585938   STEPHANIE       ALLEN                     KY          90011074445
21443357893773   JESSICA         MAYNARD                   OH          64547693578
21443584131631   REBECKA         GARRISON                  KS          90008045841
21444486291828   CARRIE          CULKINS                   OK          90013764862
21446944681661   RYAN            DUGAN                     MO          90012349446
21451646747952   JONATHAN        TURNER                    AR          90012776467
21455726741245   SEAN            COUSINEAU                 PA          90012927267
21456818291828   JUSTIN          MILLER                    OK          90013928182
21459851733677   REGINOLD        NOLEN                     NC          90007978517
21462652491833   CRYSTAL         LEMMONS                   OK          90005446524
21462953655941   ANA             CHAVEZ                    CA          90000869536
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21465283431631   ADRIANA          BACAHAR                  KS          90012832834
21468126891828   SHANIKA          LURKS                    OK          90011451268
21472466291541   JOSE             BRIONES                  TX          90013344662
21475621851369   TYRONE           TOWNS                    OH          66039686218
21477243331453   DESTINY          CABLES                   MO          90013292433
21478391684364   MICHAEL          MCKELVEY                 SC          90014843916
21482472684353   TANYA            BROWN                    SC          90012394726
21484345881638   MONICA           GARRETT                  MO          29061133458
21493668731453   KAYLA            MOORE                    MO          90001396687
21513856955957   ARMANDO          CEJA                     CA          90010638569
21514584657157   MARY             PRIMOZIC                 VA          90011185846
21517678455941   ALLYCHIA         ALCORN                   CA          90014286784
21519593931453   LASHELLE         EDWARDS                  MO          90011135939
21524247147952   DANIEL           LINTON                   AR          24050012471
21524666481637   BOBBY            BRIGGS                   MO          29001596664
21537154657157   BILY             GUILLLEN                 VA          90009511546
21555851693773   SAMEKA           SCOTT                    OH          90002048516
21558985231453   JUSTIN           JACKSON                  MO          90014879852
21559237484364   JAMES            BARBOUR                  SC          90015172374
21561985991241   JOSE             RIOS                     GA          90009649859
21565287891241   MAYFER           H                        GA          90013962878
21565829391828   SHAWN            COX                      OK          90013818293
21566337947952   LETA             BARNETT                  AR          90014863379
21574917841245   KELLY            BANNON                   PA          90000509178
21575862955941   MAUREEN          WHITE                    CA          49024558629
21577221791541   GRISELDA         RUBIO                    TX          75081372217
21578473891528   TTERESA          MORENO                   TX          90009974738
21582468391828   LATONYA          PATTERSON                OK          90008974683
21589848991984   SERGIO           GARCIA                   NC          90014908489
21591164491541   JACOB            QUINN                    TX          90010041644
21591943755941   LOUIE            ASANDA                   CA          90007989437
21594284241245   KAYLA            STEPANIK                 PA          90009232842
21614366857157   CODY             HUGHES                   VA          90012053668
21623646157157   RAQUEL           KING                     VA          90011126461
21624856291541   MOISES           LANDEROS                 TX          90011328562
21635455831453   ALBERT           KEYS                     MO          27525694558
21643191631453   THOMAS O         MCLAUGHLIN               MO          90001841916
21646313281661   CAMILO           RAMIREZ                  MO          90014983132
21647812885955   ALEJANDRO        GARCIA                   KY          90014658128
21648429791528   PATRICIA         LOPEZ MONTENEGRO         TX          90003384297
21658839841245   KEN              RUST                     PA          90013858398
21659515547952   PAUL             OLIVER                   AR          90013995155
21659739851343   BRITTNEY         BOLDEN                   OH          90011007398
21665284155957   MELISSA          STILLFIELD               CA          48089582841
21668444391525   KEVIN            RAMIREZ                  TX          90008254443
21668788631453   VINCE            CLEMONS                  MO          90011137886
21669737684364   RUBEN            CARDONA                  SC          90014157376
21673829381661   EDDIE            ROBERTS                  MO          90013648293
21674882491241   MATHEW           GREENE                   GA          90010998824
21678372791541   REBECCA          LOPEZ                    TX          90013493727
21684821181661   TODD             VEBER                    MO          90012478211
21693933291541   RUBI             OLVERA                   TX          90010749332
21694271681637   JONI             VARGAS                   MO          90013692716
21696437341245   MARIA            GUY                      PA          51004634373
21713295591833   KANEKCO          GREEN                    OK          90008372955
21713427291323   CYNTHIA          SANTOS                   KS          90012704272
21715177991828   MARY             MCGEE                    OK          90014711779
21718829184364   CEDRIC           GLOVER                   SC          90014158291
21721613881661   ANDREA           SALCEDO                  MO          29032876138
21722623155941   SAN              CRANFORD                 CA          90013656231
21726142693773   SHANIQUA         BROWN                    OH          90008161426
21734698255941   BRITTANY         WASHINGTON               CA          90012946982
21738711531453   RENIECE          REEDER                   MO          90007897115
21742844991541   ANGEL DE JESUS   DUENAS                   TX          90012858449
21749441491241   TRINESHA         SOLOMON                  GA          90013044414
21749494141245   WILLIAM R        HILLEBRECHT              PA          90011244941
21751464581637   TYRONE           LONDON                   MO          90014734645
21753665391241   LEATICE          SEATON                   GA          90014916653
21756282557157   DARRYL           BOWDEN                   VA          90013592825
21758727331453   JEANETTA         JOHNSON                  MO          90015067273
21762151691828   HALELUYA         BROOKENS                 OK          90015211516
21764771533678   AIDA             MARTINEZ                 NC          90012347715
21767128784364   LEO              PEREZ                    SC          90014161287
21768428831631   SAM              SOMERVILLE               KS          90014544288
21768549531453   CHRISTOPHER      EVELAND                  MO          90012625495
21777749491541   ANA              SILVA                    TX          75058227494
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21778626791541   DANIEL          MATA                      TX          90013866267
21781186641245   KEHINDE         AWOSIKA                   PA          51089821866
21787277857157   COLT            DICKERSON                 VA          90002732778
21788344157157   METHIA          CARDERAS                  VA          90013273441
21793391547952   STEPHEN         SIMPSON                   AR          90010783915
21798457191541   JASMIN          SUAREZ                    NM          90013624571
21815494891241   CANDIE          ROBERT                    GA          90014614948
21815853391241   BARBARA         WILSON                    GA          90010948533
21821462631453   FRED            SPEARS                    MO          90014714626
21823632284364   SHUNADA         CURRY                     SC          90010416322
21824519455957   LUZ             SILVA                     CA          90014045194
21824664284364   LAKQUIN         WILLIS                    SC          90014166642
21824963391241   CALEB           BROWN                     GA          90014729633
21829677891241   JASON           CLARK                     GA          90013056778
21831511791984   CIRILO          MARQUEZ                   NC          90015235117
21836346381657   ERIC            BLACK                     MO          90012453463
21841427461999   MARICELA        OROZCO                    CA          90010944274
21841861881661   TIREESE         BROWN                     MO          90002108618
21844918931453   LONNELL         HUNT                      MO          90012079189
21854343955941   LINDSEY         HAYES                     CA          90009083439
21857377191828   ADAM            HAMMONDS                  OK          90011833771
21861128655957   ELIZABETH       SOLORZANO                 CA          90013851286
21868164451369   VICTORIA        GARDENER                  OH          90009051644
21872923161936   ANA ROSARIO     ULIVARRIA                 CA          90011499231
21878236257157   FREDY           CASTILLO                  VA          90013852362
21879162391541   NORMA           CANO                      TX          75078101623
21879676571923   MINA            HA                        CO          90014046765
21884469355941   JESUS           PENA                      CA          90011384693
21884869251343   IVA             WRITEBOL                  OH          90011008692
21894686341245   ROBERT          WELCH                     PA          90012886863
21896438757157   MARLON          ALVAREZ                   VA          90014104387
21896832357157   EDGAR           TERCERO                   VA          90012408323
21899986857157   OLIVIA          DOLLED                    VA          90014599868
21916233755957   RODRIGO         VILLAPANDO-DURAN          CA          90012942337
21923491891828   AUSTIN          BLAYLOCK                  OK          90008564918
21934936951343   TRINA           HEARD                     OH          90011349369
21935159793754   RACHEL          MARTIN                    OH          90013441597
21943565731631   KIM             STRICKLIN                 KS          90013255657
21945165557157   PHILIP          KING                      VA          90012341655
21953518231441   VISNJA          MCCULLAR                  MO          27561175182
21957697457157   ANTHONY         MENNELLA                  VA          90012486974
21958715785938   TIFFANY         HARRIS                    KY          90011357157
21959339247952   ARABELLA        THOMAS                    AR          90005043392
21964244855957   DANIEL          RAMIREZ                   CA          48009192448
21967771991541   ELIZABETH       ALANIZ                    TX          90015017719
21972475947952   BRANT           STILLWELL                 AR          90014284759
21973513381661   ALBERT          WILLIAMS                  MO          90013215133
21975385255941   SALVADOR        ZUNIGA                    CA          90012483852
21976374981661   JACKIE          MCAFEE                    MO          90011023749
21979731451343   EMANUEL         STANBACK                  OH          90005587314
21982596657157   LETISHA         SCOTT                     VA          90011005966
21984164347952   CHAN            SAITANG                   AR          90015171643
22117654691241   EILEEN          BEASLEY                   GA          90014866546
22123623993773   SAMMY           HOZE                      OH          90006336239
22129487591522   GILBERTO        RIVERA                    TX          90012864875
22134361291541   FRANCISCO       ALVARADO                  TX          90010713612
22134825791522   MARIO           VALENCIANA                TX          90007798257
22136299181661   MARY            BLAKE                     MO          90014292991
22141782791828   VANNA           DORSEY                    OK          90013167827
22141798891241   JOCELYN         KNIGHT                    GA          90013007988
22141941231453   KEN             JONES                     MO          90013969412
22145871485938   ASHLEY          HUFNAGLE                  KY          90012888714
22149938591541   AMY             JIMENEZ                   TX          90007769385
22153813791251   WYATT           HUTCHISON                 GA          90012338137
22154798891241   JOCELYN         KNIGHT                    GA          90013007988
22163617955957   GUADALUPE       ESPINOZA                  CA          90014066179
22164969855957   JUAN            QUINTERO                  CA          90004699698
22167967291241   DARNELL         SINGLETON                 GA          90014729672
22177122284364   BRITTANY        MCNEIL                    SC          90010941222
22193455331631   DESEREE         WHITAKER                  KS          90003424553
22194237885938   JOSE            GOMEZ                     KY          90014652378
22197814355957   JUDITH          TORRES                    CA          90001578143
22213699391541   DOMINGUE        DIAN                      TX          90009856993
22216741791522   KARINA          HERNANDEZ                 TX          90011857417
22217765191251   TIJUANA         MINOR                     GA          90011887651
22222546181637   MARY            DANIELS                   MO          90011785461
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22227298131453   STEPHANIE       HALL                      MO          90014712981
22232528491522   MAYRA           RIVERA                    TX          90007855284
22233715691522   JHOANA          FRANCO                    TX          90011477156
22241296941245   BRITNEY         PELMON                    PA          51086932969
22243435691589   MARCO           BAEZA                     TX          90010764356
22247674691541   ELIZABETH       TOSTADO                   TX          90012616746
22282285291522   KERMIT          GARRETT                   TX          90010962852
22284557881661   MONICA          BUSH                      MO          90008525578
22291211447952   SHAMEKA         MITCHELL                  AR          90007602114
22295528431453   EBONY           FINNIE                    MO          90014875284
22296835555957   LEO             BONIFICA                  CA          90012568355
22313195641245   APRIL           FULLER                    PA          51094081956
22324681977523   MARISSA         MARTINEZ-POTTER           NV          90000716819
22334147293721   PETER           ANEI                      OH          90011841472
22335833791541   JOE             SALAZAR                   TX          90014858337
22339571391522   ALEJANDRA       CENICEROS                 TX          90011305713
22348512691251   ANGEL           COLLINS                   GA          90011105126
22354444391522   MARIA           RODARTE                   TX          75016274443
22361233191241   JENNIFER        ESQUIRE                   GA          90013972331
22364455191241   DESMOND         HARVEY                    GA          90013474551
22368697291251   BRAD            FREEMAN                   GA          90013126972
22372397491541   MAYRA           NORIEGA                   TX          90010993974
22373692584364   TAMMY           DOUGLAS                   SC          90010306925
22381563331453   JEAN            REED                      MO          90013415633
22387472947952   EDWARD          GRAHAM                    AR          90014024729
22398592685938   TAMARA          CARTER                    KY          90010715926
22417256891828   NICK            SCANLON                   OK          90004212568
22418986485938   ARIELL          HAYES                     KY          90014719864
22423693885938   TANYAUA         OLIVER                    KY          90009386938
22424881691541   ANA             ROMERO                    TX          90009478816
22437117531453   LADORIS         HARWELL                   MO          90013191175
22437136531453   LADORIS         HARWELL                   MO          90008381365
22437874931453   LADORIS         HARWELL                   MO          90014538749
22444271581638   GILLIAM         CLARK                     MO          90005822715
22448669757144   PETER           VAZQUEZ                   VA          90006056697
22453273355957   CINTIA          GONZALEZ                  CA          90012142733
22458484947952   SIDNEY          GARRETT                   AR          90013114849
22468565191828   GABRIEL         BLAKE                     OK          21091015651
22485782155957   JESUS           VILLASENOR                CA          90012177821
22486142691828   JENNIFER        ALEXANDER                 OK          90012141426
22491622991828   LAURA           GAROUTTE                  OK          90010226229
22492623447952   JESSICA         ARTHUR                    AR          90011276234
22512919891541   EMMANUEL        ALCAZAR                   TX          90006939198
22516624291522   PILY            MOLINAR                   TX          90010976242
22517412291541   MARIA           MARQUEZ                   TX          90010994122
22522412291541   MARIA           MARQUEZ                   TX          90010994122
22525162484364   RACHEL          BOWLES                    SC          90005881624
22525577191522   HERNANDEZ       YANETH                    TX          90011305771
22527581731631   TANISHA         STARR                     KS          90011085817
22535478951338   DAVE            CHASE                     OH          66087434789
22537412291541   MARIA           MARQUEZ                   TX          90010994122
22538158751369   BECKY           MURPHY                    OH          90006901587
22547571455957   VERONICA        MALDONADO                 CA          90009595714
22549893385938   FRANK           CLOUD                     KY          90008798933
22549926491541   BECKY           DIAZ                      TX          90013269264
22553268791828   TALICIA         RAESON                    OK          90009192687
22562589441245   ELIZABETH       CAMERON                   PA          51000445894
22571133991528   MARCO           SOSA                      TX          90006621339
22575174991541   HUMBERTO        AGUIRRE                   TX          90012371749
22585732791541   MIRANDA         ARELLIN                   TX          90008127327
22588751791522   JOVANNA         ARMENDARIZ                TX          90009257517
22589461391522   ANTONIO         SILVAS                    TX          75007474613
22592494385938   STEPHANIE       TRAVIS                    KY          90014744943
22612361191528   MARIA           CHAVEZ                    NM          75093003611
22612394591522   VERONICA        CRUZ                      TX          90010033945
22615964631631   ETHEL           MERCER                    KS          90014639646
22621332381637   BRENDA          HICKS-WIGGINS             MO          90011813323
22622157161921   MARIA           CALDERON                  CA          90010511571
22635891485938   SHANNON         PIERCE                    KY          67034688914
22637538181661   RYAN            TAYLOR                    MO          90014885381
22643211891241   REBA            CARTER                    GA          90013952118
22644513655957   FABIAN          ESTRADA                   CA          90014455136
22645342385938   VIVIAN          TIRABASSI                 KY          90014763423
22645369881661   JOHN            WENDLETON                 MO          90011153698
22651236991251   AHMAD           JACKSON                   GA          90008252369
22655396231453   DEMEKO          BECK                      MO          90009563962
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22656359491528   PATRICIA D      TORRES                    TX          75053033594
22666759761925   ISAIAS          ANGULO                    CA          90001367597
22674438591528   FUENTES         ALEJANDRA                 TX          90007294385
22676869747952   NIKKI           LOPEZ                     AR          90014788697
22676968555957   LIDIA           AYALA                     CA          90012739685
22682927747952   VALENTIN        NAVA                      AR          90013779277
22689458191522   JOSHUA          LEDFORD                   TX          90009034581
22689796347952   CODY            COLLINGSWORTH             AR          90014087963
22693169241245   HEATHER         PETRO                     PA          90011631692
22697843751369   BOBBY           POSTON                    OH          90007838437
22721352555957   MARLANA         BOWERS                    CA          90014463525
22725129841245   DIANA           GARZA                     PA          51066761298
22732535591541   RAUL            DIAZ                      TX          75089375355
22736722491541   ALISIA          VILLARREAL                TX          75012217224
22741377281661   ANDREW          BARKS                     MO          90012873772
22748839881646   RODRIGO         BASURTP                   MO          90012818398
22751796347952   CODY            COLLINGSWORTH             AR          90014087963
22753348841245   MARINA          SOLOMON                   PA          90010533488
22754543784364   VALDIRENE       MARQUES                   SC          19083685437
22754927891541   HECTOR          ARMENDARIZ                TX          90010499278
22755931431453   FATIMA          FISHER                    MO          90005229314
22756674291522   BRENDA          HOLGUIN                   TX          90013836742
22757555784364   RYAN            FELLER                    SC          90011585557
22757799791522   JESSICA         MUELA                     TX          90010667997
22758937531453   JAY             MONEY                     MO          90013419375
22763647355957   MARIA           GAMINO                    CA          48010316473
22772711291251   DESMOND         BROWN                     GA          14570357112
22775291485938   KEITH           STRICKER                  KY          90014792914
22775634791541   HECTOR          MERCADO                   TX          90012136347
22776545991528   CARMEN          PEREZ                     TX          75096585459
22786613291522   MANUEL          VELASQUEZ                 TX          90011036132
22786625891541   DANIEL          LANDEROS                  TX          90015306258
22787373881661   JESSICA         LANE                      MO          29050483738
22788397755957   LINDSAY         STRYD                     CO          90012033977
22793548591522   JUANA           FERNANDEZ                 TX          75049465485
22815263884364   TAVONNA         WILSON                    SC          90010182638
22817516585938   ANGEL           CARTER                    KY          90014795165
22818252191522   RUBEN           GUZMAN                    NM          75046862521
22826786893773   JENIFER         BROWN                     OH          64521107868
22832143381637   DENNIS          ESCAGNE                   MO          90011811433
22851941155957   ROBERT          LAMBERT                   CA          90011309411
22856496757544   ANNA            ALCALA                    NM          90007344967
22858528491541   JOSEPH          MARTINEZ                  TX          90010995284
22859989255957   KENDRA          GEAR                      CA          90015159892
22861543585938   JAMIE           BROCK                     KY          90014805435
22868961947952   BECCA           SANCHEZ                   AR          90006079619
22871957991541   MARIA           HERRERA                   TX          90008129579
22882158281661   LYDIA           WAGNER                    MO          90014711582
22883449291251   LONON           LEON                      GA          90011094492
22897426691522   SALVADOR        GARZA                     TX          75071994266
22918968255957   JUANISHA        JONES                     CA          90013329682
22922585491541   DAISY           BENCOMO                   TX          90013475854
22926485933636   FRANCISCO       CORTES                    NC          90006174859
22933322851333   DANIELLE        CLARK                     OH          90008203228
22937191191522   MAYRA           CANO                      TX          75022301911
22944858655957   LUCINDA         GILBERT                   CA          90013148586
22945878191542   ARMANDO         CARILLO                   TX          90011028781
22949416955957   MIGUEL ANGEL    JUAREZ                    CA          90006884169
22951227481661   CHRISTINA       SAMPEL                    KS          90013602274
22959431155957   EFRAIN          LEDESMA                   CA          48052604311
22962622991828   CHRISTOPHER     LEE                       OK          90009176229
22964596591828   SHELDON         SHATSWELL                 OK          90012305965
22975369181638   MIKE            HARRELL                   MO          29040783691
22983268831453   DANITA          GIBSON                    MO          90007622688
23112444797992   JUANICE         JONES                     TX          71090984447
23116449951369   ANGEL           OLIVER                    OH          90005834499
23126569391541   NOE             SORIA                     TX          90013345693
23127211484364   TRACY           ZOBEL                     SC          90010092114
23127385331453   JOHN            EVANS                     MO          90013743853
23153677855957   GUADALUPE       CASTILLO                  CA          90012726778
23155216891541   BERENICE        NAJERA                    TX          90014912168
23161842691528   IRMA            FLORES                    TX          90010348426
23163466391541   SERGIO          RUIZ                      TX          90014764663
23167289631631   TERESA          GONZALEZ                  KS          90013852896
23182474991541   BETTY           GUERRA                    TX          75028684749
23185924931453   JAREL           WILLIAMS                  MO          90013529249
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23187467591541   VANESSA         BAILON                    TX          90009774675
23188219491828   MARCIA          MASON                     OK          90012582194
23194597831453   LAWRENCE        COLEMAN                   MO          90005835978
23196126272447   LEA             SLUSAR                    PA          90010621262
23196797291541   DONOVAN         JACKSON                   TX          90013007972
23212382791522   MARIA           LUPERCIO                  TX          90009923827
23214487155957   TINO            QUIR                      CA          90009744871
23216553672447   CHERYL          WILLIAMS                  PA          51042655536
23219329881646   SAIMA           NADEEM                    MO          90010593298
23224492997121   FELIPE          ARELLANO                  OR          90011154929
23226915855957   ADRIANA         DURAN                     CA          90010369158
23235739991541   RICHARD         DAVIS                     TX          90013397399
23243419551369   BRITTNAY        STROTHER                  OH          90001264195
23254769941245   JOES            STEVEN                    PA          90014157699
23263758931433   TAMMY           STANLEY                   MO          27588917589
23264831331453   JAMES           MCMULLIN                  MO          90012168313
23266412891828   CIN             TUNG                      OK          90014684128
23277326672447   MISHELLE        PELICONE                  PA          90012463266
23299117355957   MARIA           MENDOZA                   CA          90007251173
23299725641245   SHELBY          DURNELL                   PA          90012567256
23319137785639   GLORIA          RUIZ                      NJ          90012951377
23329568591528   APRIL           REYES                     TX          75002175685
23333719784364   BRITTANY        CARLSON                   SC          19040067197
23335631941245   ASHLEY          PITTS                     PA          90009886319
23348245291541   JESUS           POLANCO                   TX          90009382452
23356914755957   JOSE            RUIZ                      CA          90010649147
23368559285938   LISA            JOHNSON                   KY          67006505592
23373833791541   DEBORAH         ELLIOTT                   TX          90014558337
23378515391541   HECTOR          PROSPERO                  TX          90014745153
23381822341245   JANET           ANDERSON                  PA          90012418223
23383549472447   CHRISTOPHER     SNELLGROVE                PA          90013945494
23385492884364   JHANESS         DIXON                     SC          19023804928
23424228355957   GLORIA          MORENO                    CA          90013922283
23431472491541   ASHLEY          TORRES                    NM          90011524724
23432822341245   JANET           ANDERSON                  PA          90012418223
23436231391522   SAMANTHA        GRAY                      TX          90011872313
23457184691528   MELINDA         RAMIREZ                   TX          75093311846
23464966891241   ASIANNA         GRANT                     GA          90011039668
23476639631433   JODI            WEBER                     MO          27513636396
23477169931433   AQUINDA         SCOTT                     MO          90004241699
23516619272447   ALYSSA          DANCA                     PA          90003936192
23522154141245   DEBRA           STANTON                   PA          90011091541
23529369941245   KATHY           MONTLABANO                PA          90014003699
23541444991541   RUBY            AVILA                     NM          90009944449
23578758931453   BUKATT          FOREVER                   MO          90011337589
23582711755957   JENNY           ROMAN                     CA          90013527117
23585459972447   ANGEL           REYES                     PA          90007784599
23585542591241   KEVIN           GARVIN                    GA          90011305425
23591318991828   TYLER           MASTIN                    OK          90011163189
23595232391522   ANDREA          SANDOVAL                  TX          90011872323
23598974791528   ESPARZA         SOCORRO                   TX          90009599747
23599871191522   MONICA          CARRILLO                  TX          75047028711
23611772655957   JESSICA         AVALOS                    CA          48080237726
23614496285938   RACHEL          CLARK                     KY          67009964962
23614663141245   RENEE           EDGAR                     PA          90004236631
23614863231631   HECTOR          BERUMEN                   KS          90009088632
23622573891541   MARISSELA       RAMOS                     TX          90010025738
23627871331453   MOLLY N         MONA                      MO          90011508713
23636319481644   MARICELLA       PIZANO                    MO          90010093194
23642253355957   LYDIA           DONALDSON                 CA          90009022533
23652441255957   JUAN            HUERTA                    CA          90013624412
23652823393742   TIFFANY         ALI-SHAW                  OH          90011718233
23658284493773   MARIA           LUNA-RASCON               OH          90005842844
23665575191828   VICTOR          ZABALA                    OK          90010745751
23677282791541   ARCELIA         HERNANDEZ                 TX          90007992827
23684646531453   ELIZABETH       COLEMAN                   MO          90010236465
23692147131631   MELLY           RIVAS                     KS          90012671471
23695721431631   RAYMOND         POMPA                     KS          90002117214
23695822231631   ROBIN           HAYS                      KS          90011048222
23719844181661   MICHELLE        NDIAYE                    MO          90011888441
23727662872447   WILLIAM         BAYLOR                    PA          90010026628
23727947247826   MARTIZA         PEARSON                   GA          90011489472
23736939391828   DAVID           ROSE                      OK          21097449393
23737558241245   SHAUNTAY        BERRY                     PA          90012695582
23741321691541   FABIOLA         CASTILLO                  TX          75044873216
23741328991522   MELISSA         HERNANDEZ                 TX          90012653289
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23746828891541   SANDOVAL         LOZOYA                   TX          90014308288
23748438591828   MICHELLE         ADAMS                    OK          90014684385
23748699891522   JESUS            MEDINA                   TX          90000196998
23751254841245   KELLY L          GILES                    PA          90014162548
23754438893727   THOMAS           DONAHUE                  OH          90004534388
23755411255957   MARTHA           SOTO                     CA          90013444112
23763242231631   MICHELLE         REYES                    KS          90014742422
23763763331631   DORAL            GWYN                     KS          90014757633
23764764531453   AMIT             KUMAR                    MO          90010337645
23784626991541   ANTONIO          LUCERO                   TX          90013296269
23785528757144   DINORA           VASQUEZ                  VA          90009255287
23792983455957   MATTHEW          WEBER                    CA          90004539834
23793147591541   LYDIA            GONZALEZ                 TX          75035041475
23823886991522   ALEXA            POMPA                    TX          90007248869
23828877791541   ALONZO           BARAY                    TX          90014318777
23829374541245   JOHAN            DAVIS                    PA          90014163745
23841523491522   GISELA           NAJERA-DELONGORIA        TX          90011965234
23845639131631   AMBER            PALMITIER                KS          90012616391
23848571591541   RAUL             ROMERO                   TX          90012235715
23856421991522   ERICA            SOTO                     TX          90009624219
23861378191828   PAUL             FROST                    OK          90012343781
23867159691541   RIVERA           JESS                     TX          90010971596
23872653691828   PAMELA           COON                     OK          90010166536
23872774791528   YOLANDA          SOSA                     TX          90005977747
23894499431631   JUSTIN           ROURKE                   KS          90001964994
23898815991528   SAMANTHA         TORRES                   TX          90005978159
23917118391828   HEATHER          HACKATHORN               OK          90015111183
23918715572447   EMILY            DRUM                     PA          90002957155
23924346491828   J                WESLEY                   OK          90012253464
23925245391541   ROBERTO          HERNANDEZ                TX          75097802453
23925498491522   BOBBY            MORALES                  TX          90014344984
23928571641245   KATIE            SOBEK                    PA          90014165716
23956118391828   HEATHER          HACKATHORN               OK          90015111183
23958534391828   KENNETH          SMILES                   OK          90014885343
23958785131453   JODIE            WELLNER                  MO          90014847851
23971139891541   BRENDA           CARDENAS                 TX          90010851398
23974262131631   MICHELLE         GIBSON                   KS          90010962621
23977116377534   JOHN             HERRERA                  NV          90010581163
23988611654123   JENNIFER         BELFI                    OR          90011316116
23994848991522   LARRY            DAWSON                   TX          90010638489
24111784691241   ROMELL           MITCHELL                 GA          90013747846
24114774591541   LUIS             MEJORADO                 TX          75088157745
24116942891828   SHANE            CANADY                   OK          90010329428
24118126991241   SERGIO           MORENO                   GA          90010431269
24124331891541   NORA             DURAN                    TX          90012733318
24126319991541   EDGAR            RENTERIA                 TX          90012033199
24128932231453   DURRAND          SMITH                    MO          90014559322
24134881791528   LAURA VICTORIA   SOROA                    TX          90009918817
24138739531631   KOBE             LAWSON-MOSTELLER         KS          90013487395
24142189491828   JOSICA           BROWN                    OK          90013421894
24144639291241   EFFIE            MIDDLETOM                GA          90014706392
24151648591241   BLAKE            KNIGHT                   GA          90014706485
24151675271935   BRITTANY         BUTLER                   CO          90014306752
24152752391541   ARCELA           LOZANO                   TX          75089497523
24156654271935   RICARDO          JASIEL                   CO          90012876542
24169581891522   ANNA             PEREZ                    TX          90014915818
24172198631453   UNTREL           SMILEY                   MO          90010101986
24177123384364   ROBIN            GIBBS                    SC          90013951233
24179778841245   TYRONE           STAPLES                  PA          51088127788
24181819155957   JOSH             DEBRIE                   CA          90008648191
24183697471935   ADAM             TRINIDAD                 CO          90012876974
24185698271935   JASMINE          DUNCAN                   CO          90012876982
24211485384364   SHARAE           SCOTT                    SC          90011414853
24218663771935   NANCY            WOODS                    CO          90012986637
24225757471935   MOSES            GONZALEZ                 CO          90012877574
24229183871935   ALVIE            HENDERSON                CO          90012941838
24231793391241   JUSTIN           QUAID                    GA          90012637933
24233765771935   PATRICK          SNODGRASS                CO          90012877657
24235963531453   BRICE            HAUGHTON                 MO          90014799635
24239417891541   MARIA            BONILLA                  TX          90014094178
24248444891953   GRACE            FALCO                    NC          90006124448
24251192891522   JUAN             CASTRO                   TX          90011411928
24251985371935   NELSON           MONTENEGRO               CO          90008619853
24252933155957   FERMIN           ZAMORA                   CA          90014569331
24253895581644   MANUEL           MERAZ                    MO          90014098955
24263579155923   MARIO            VASQUEZ                  CA          90008725791
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24265956191541   FLORENTINA      ALARCON                   TX          90005019561
24271864791828   SAMANTHA        WHEATON                   OK          90013388647
24292672431631   T NEST          ARECOUN                   KS          90013326724
24294128291953   TIMMY           HOOKER                    NC          90011071282
24299945881644   JESSICA         ONTIVEROS                 MO          90014099458
24315941531453   VERA            BILLINGSLEY               MO          90013839415
24317392281644   ISAIAS          RODRIGUEZ                 MO          90013953922
24325913791541   MAYRA           MEZA                      TX          90014859137
24334953371935   ROBERT          RIDER                     CO          90014909533
24368799857157   JOSE            RUIZ                      VA          90001327998
24372982991356   LORENA          ANGUIANO                  KS          29086789829
24373896731453   SCOTT           DICKENSON                 MO          90013868967
24391558155957   MELISSA         CLAYTON                   CA          90013775581
24414723991541   GABRIELA        TREJO                     TX          90012177239
24421497991953   CHRISTINE       JONES                     NC          90005464979
24427929661982   JUSTIN          MYERS                     CA          90001199296
24431327991953   JOE             POTTS                     NC          90007823279
24449422857133   HASINTO         DE PLAN                   VA          90010124228
24455959781644   JACQUELYN       CHAMBERS                  MO          90014109597
24462174491828   TRISHA          THOMPSON                  OK          21015391744
24463994991241   MORRILLA        SIMONS                    GA          90013789949
24465686631453   CANDICE         FENTON                    MO          90011336866
24466425491953   GUILLERMINA     CEDENO                    NC          90011484254
24467588693767   MARCUS          STOKAS                    OH          90010035886
24473296847952   CASSAUNDRA      ANDREWS                   AR          24005752968
24475432291828   AMANDA          ROGERS                    OK          90013394322
24475824291241   CHARLES         MOBLEY                    GA          90014708242
24482542671935   MATHEW          YOUNG                     CO          90011245426
24484231591522   DOMINGO         NIEVES                    TX          90011522315
24489398391356   DANNY           TORRES                    KS          90011853983
24493819891541   DEBBIE          FLORES                    TX          90009318198
24496824333658   TEE             GOTTI                     NC          90014768243
24497436631433   JERROD          SCOWDEN                   MO          27558704366
24512292491356   DAISY           NOREZ                     KS          90010732924
24514142691953   RAZAN           AHMED                     NC          90011911426
24516629191241   NICKOLAS        BRYANT                    GA          90014366291
24524584284364   KELSEE          SIMPSON                   SC          90011265842
24525728591828   DMARCO          ADAMS                     OK          90011967285
24526127491241   JORGE           ARIAS                     GA          90011931274
24528133191522   DAVID           GRANADOS                  TX          90013801331
24528531591241   VERNON          GIBSON                    GA          90010765315
24544531884364   VERNETTA        SUNKINS                   SC          90011415318
24544978191534   PAZ             QUINTANA                  TX          90010409781
24551934791953   JOSE            AGUILAR                   NC          90008049347
24555213691541   JESSI           HERNANDEZ                 TX          90012702136
24559797531453   MARCUS          BELL                      MO          90015017975
24564998855957   VALERIE         SANTIAGO                  CA          90014749988
24566196671935   YVONNE          BROWN                     CO          90012931966
24569917191953   KATHY           PADILLA                   NC          90010849171
24571196671935   YVONNE          BROWN                     CO          90012931966
24571223791522   JOSE            VELOZ                     TX          90012352237
24571422791541   DANTE           VANCE                     TX          90012564227
24571861471935   YVONNE          BROWN                     CO          90013498614
24575457191522   FRANCISCO       CAZARES                   TX          75014464571
24582958291953   QUANSHAUN       MORGAN                    NC          90013849582
24584595955957   JASON           GUECHO                    CA          90013915959
24591677961932   LADRITA         ROBINSON                  CA          90007766779
24612736671935   AUBREY          TOUNZEN                   CO          90011247366
24622411791522   CODY            GWYN                      TX          90013654117
24634156231453   JOHN            MORTON                    MO          90013081562
24637226491522   VICTORIA        FRAIRE                    TX          90010702264
24637858271935   ANTONIO         MAY                       CO          90014718582
24641538691241   REBECCA         HUTCHENSON                GA          90013365386
24648138155957   JUAN            BARRANCO                  CA          90011041381
24681733591522   MIGUEL          SANCHEZ                   NM          75042927335
24686134891828   CHRIS           LOWE                      OK          90012301348
24687799471935   VANESSA         CARROLL                   CO          90009317994
24695879931631   SHAWNTRICE      BEARD                     KS          90010908799
24719565891522   LEONA           DANIEL                    TX          90012945658
24719816231631   MELVIN          PEARSON                   KS          22036858162
24734697231631   JOSH            KNACKSTEDT                KS          90011306972
24736157581644   ERIK            WADE                      MO          90014161575
24749899291828   ESAU            MARTINEZ                  OK          21074738992
24751169791953   REGINALD        LANGLEY                   NC          90013071697
24753447671935   BARBARA         PALMER                    CO          90012994476
24762558591522   MARTIN          CERECERES                 TX          90013965585
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24771272991522   JUANITA         URIBE                     TX          90013362729
24773761391241   SHANTEL         MCKITHEN                  GA          90014717613
24774514931453   CHARLES         SIMMONS                   MO          27593145149
24779472491541   LYNDON          MAYFIELD                  TX          90010434724
24784194191541   ISMAEL          RENDON                    TX          90010941941
24784369681644   ESMERALDA       CHEDA                     MO          90014163696
24787347731453   LASANDRA        EDWARDS                   MO          90011233477
24796228491541   CARLOS          RIOS                      TX          90013452284
24796428455957   ADRIANA         MONIQUE                   CA          90010754284
24796516891356   LEON            CROCKETT                  KS          90012785168
24814954991356   DAVID           ROCHA                     KS          90012419549
24815666685938   KALISA          THOMPSON                  KY          90012356666
24815723491541   DAISY A         RAMIREZ GONZALEZ          TX          90012697234
24821983191953   EVERARDO        CHIRILO                   NC          17034289831
24824513491953   AMY-MARIA       ALEXANDER                 NC          90007145134
24832953371935   ROBERT          RIDER                     CO          90014909533
24842586557157   C.              SLIGER                    VA          81048345865
24842929891241   BRITTANY        BRANDYBURG                GA          90013459298
24851546255957   LEANDER         STEWART                   CA          90012095462
24852935555957   JOSE            MUNOZ                     CA          90015329355
24852973355957   LEANNA          DELACRUZ                  CA          90010949733
24866763691541   ERIKA           TREVIZO                   TX          90011127636
24868411391356   OLMA            PORTILLO                  KS          90011854113
24881388871935   JESSICA         DUGAN                     CO          90006263888
24886269391522   MARTHA          POSADA                    TX          75044962693
24886782381644   TERRELL         LASKER                    MO          90014987823
24887737555957   LUZ             FUENTES                   CA          90013227375
24888929891953   ALISSA          GONZALEZ                  NC          90012799298
24891222991356   MAI             SALGADO                   KS          29017312229
24891661371935   BRADLY          CONN                      CO          90012966613
24897471291828   NATANAEL        VERA-OLIVARES             OK          21069734712
24922868791828   JUSTIN          ELLIS                     OK          90013418687
24925421581644   LETICIA         CHEDA                     MO          90014164215
24927692591541   KIMBERLY        NEVAREZ                   TX          90010986925
24931135191522   STEPHANIE       MENDOZA                   TX          90013081351
24933273955957   LAURA           SHERWOOD                  CO          90013902739
24935521591828   AUDULIO         NAVARRO                   OK          90014175215
24938151691522   FLORM           ORTIZ TENA                TX          90010501516
24944213671935   EVELIA          ALVAREZ                   CO          32077782136
24947611441245   BRANDY          CISCO                     PA          90010586114
24948486693742   LASHAE          PIPPINS                   OH          90009094866
24957361355957   DULCE           MARQUEZ                   CA          90011883613
24958572791241   ERVIN           TATE                      GA          90012315727
24959644391356   AMADA           BRITO                     KS          90013096443
24961753891356   JESUS           LABRADO                   KS          90013837538
24962525791522   RAUL            DELGADO                   TX          90009385257
24963561191522   JESUS           PALACIOS JR               TX          90012565611
24964475981644   JOE             RODRIGUEZ                 MO          90014164759
24966835991961   SENECA          MCALLISTER                NC          90001288359
24992987843551   CJ              ELLIOTT                   UT          90002919878
25116912291522   LETICIA         VALLES                    TX          90011369122
25134616685698   ELI             MENDOZA                   NJ          84046896166
25135511271925   NATHAN          BELLOT                    CO          90011915112
25138791141245   WALLY           HODGE                     PA          90006347911
25142116572447   KALI            JONES                     PA          90012061165
25153998355957   EDUARDO         HERNANDEZ                 CA          90005369983
25154633281661   JENNIFER        CINCOTTA                  MO          90010696332
25155866157157   ALEJANDRO       SERRANO                   VA          90010768661
25165298671928   RANDY           PRUIETT                   CO          90011122986
25168699493743   DAVID           GLOVER                    OH          90012486994
25171356551328   CHELSEA         FORNSHELL                 OH          90014913565
25171387191522   JUNIOR          URRUTIA                   TX          90014333871
25172585985938   DANTE           WILSON                    KY          90010275859
25172781171928   TIM             STEVENS                   CO          90013697811
25172896193731   YVONNE          GROOMS                    OH          64517898961
25174746271928   CASSIE          RHODES                    CO          90013247462
25176288931433   MULIMA          NAWA-HUNT                 MO          90012382889
25179639257157   CHANTE          MCCLEARY                  VA          90011146392
25179862471928   DAYNE           SAUCEMAN                  CO          90012918624
25184182771928   CHAD            HOBSON                    CO          90014411827
25192917951328   WAYNE           ALLEN                     OH          90012719179
25193788591522   CARMEN L        LOPEZ GRAHAM              TX          90010957885
25196843981633   ASHLIE          STEWART                   MO          90013728439
25196878491522   JULIAN          VEGA                      TX          90010388784
25197167855957   ANGELINA        RAYGOZA                   CA          90013871678
25198387557157   LILIANA         BANEGAS                   VA          90012093875
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25199174884364   CANDICE         RIVERS                    SC          90005301748
25211621951328   NATHAN          TAULBEE                   OH          90012846219
25219731531453   KEANDRA         BEAL                      MO          90011377315
25221394271928   KENNY           RINCON                    CO          90014853942
25225896691828   YENNI           NOPAL LOPEZ               OK          90013528966
25226325447952   RICHARD         CALLAHAN                  AR          90003633254
25231829291828   CHERYL          RITCHIE                   OK          90013928292
25237878291522   PRECILLA        GUERRERO                  TX          75083188782
25237916681661   DANIEL          INFRANCA                  MO          90009039166
25244268131631   DAVID           HOGAN                     KS          22038902681
25251275357157   ALICIA          RODARTE                   VA          90001652753
25259922731453   ERIC            MATTINGLY                 MO          90014829227
25263348391522   JESUS           VALLES                    TX          90013593483
25263516681637   JORGE           RODRIGUEZ                 MO          90013405166
25268957891828   JENNIFER        DECKER                    OK          90014549578
25276441151328   VINCENT         JONES                     OH          90014164411
25277125631453   KATHY           ROUNDCREE                 MO          90013331256
25277644455957   TERESA          ARANDA                    CA          48031236444
25283189131453   KELLY           KEELY                     MO          27579781891
25284737257157   JOSE            DIAZ                      VA          90014327372
25287945881637   MARIE           VAUGHN                    MO          90014449458
25292492372447   CODY            WOODSIDE                  PA          90009014923
25294156871928   MINNIE          RIVERA                    CO          90011921568
25294627531453   DUSTIN          BRABEC                    MO          27508356275
25297449231433   PATRICK         SHELBY                    MO          90011714492
25297687671928   STEPHANIE       BETTS                     CO          90009006876
25313458531453   JAMIE           WALLER                    MO          27511804585
25317974181661   JESSICA         SAGASTUME                 MO          90014179741
25318151157157   SHONDA          WILLIAMS                  VA          90014721511
25319186331631   PEARL           ERXLEBEN                  KS          90002351863
25324227291522   ANNE            TERAN                     TX          75047712272
25326359593731   PAYGO           IVR ACTIVATION            OH          90010353595
25332921193731   KISHA           ALSTORK                   OH          90014649211
25335253333638   SHARIE          OTERO HERNANDEZ           NC          90010822533
25337621791828   AMBER           MURRAY                    OK          90008506217
25342725531453   JAMMIE          MASON                     MO          90014727255
25348117771928   LORA            WILLIAMS                  CO          90014461177
25365775931453   LAURIE          JONES                     MO          90011377759
25366528593731   ANTWANN         MARTIN                    OH          90013415285
25367576757133   RASHEEDA        GREGORY                   VA          90008475767
25369752581633   DOUGLAS         WIGGINS                   MO          29094137525
25376818657157   STEVEN          BURDETTE                  VA          90002778186
25377111951561   SERGIO          PERES                     IA          90015041119
25378496451328   SEAN            REDMON                    OH          90013204964
25379523371943   ATHENA          MEYERS                    CO          90013235233
25381884481637   DONNA           JAMES                     MO          29075058844
25389261791522   VALERIE         TOLEDO                    TX          90009972617
25391872784364   THOMAS          RAINWATER                 SC          90014668727
25397156371928   MICHELLE        SUMMERSON                 CO          32085441563
25397632393731   LINAKA          HURT                      OH          90012656323
25417313225138   THOMAS          JACKSON                   AL          90014023132
25418183851328   CHAD            CHAMBERS                  OH          90014571838
25418888371928   KINGTANA        JESALI                    CO          90009938883
25456579877584   DIANA           RIVERA                    NV          90013955798
25459312472447   REGGIS          JOHNSON                   PA          90010033124
25461414991828   MARIO           VASQUEZ                   OK          90010864149
25461646991828   WAYNE           HOOVER                    OK          90015166469
25461728181661   MONICA          TURNER                    MO          90013157281
25463617957157   GRISELDA        ZABALA                    VA          90003606179
25467286481661   ANTHONY         SEXTON                    MO          90012372864
25468113881633   KYRA            TURNER                    MO          29014871138
25477698455957   ERLINE          JOHNSON                   CA          90014816984
25482735957157   JESSICA         MENTON                    VA          90011347359
25485923291522   ROSA            ADAME                     TX          90010959232
25492233781661   RAYMOND         DELANEY                   MO          90014182337
25494686957157   OMAR            TORRICO                   VA          90005686869
25496937531631   VICTORIA        HILL                      KS          90011049375
25516272991828   TRUMAN          KEPLINGER                 OK          90013762729
25517639755957   ANNISAH         VILLAGRAN                 CA          90011606397
25521524591828   PEDRO           ALBARES                   OK          90013265245
25523751793731   TASHIA          BOSTOCK                   OH          90011257517
25525498581637   WILL            DANIEL                    MO          29089584985
25531549357157   ALYSHA          GREEN                     VA          90010895493
25532244591828   JAMES           PLATT                     OK          90013302445
25535242171928   STEPHANIE       MANZER                    CO          90010902421
25539641981637   JAMES           WITT                      MO          90013616419
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25542995351328   NATHAN          HEATHCOCK                 OH          90014079953
25544832671928   JEREMY          FITZGERALD                CO          32089138326
25548159831433   EBONY           STRONG                    MO          90008511598
25549288584364   GINGER          ARIAS                     SC          19013052885
25561896581661   KAYLA           WINKLER                   MO          90015018965
25561935281637   DONNA           JOHNSON                   MO          90013219352
25568345271928   DANA            MARTINEZ                  CO          90007733452
25584152351328   LESLEY          LINGO                     OH          90010991523
25589142881637   ILIANA          READ PENA                 MO          90014061428
25593331857157   EVA             KIRSCHNER                 VA          90013293318
25594356893731   SHIANNE         NASH                      OH          90011343568
25594369985938   MARCUS          OWENS                     KY          90010533699
25614476281661   M               WILLIAMS                  MO          90010284762
25617116391528   DELEANA         BUENO                     TX          90006751163
25627213531433   IBRAHIM         JUSIC                     MO          90006812135
25632378972447   DRAE            JAMES                     PA          90011073789
25634878491522   JULIAN          VEGA                      TX          90010388784
25634965981633   KYLE            LADING                    MO          90013079659
25634996891885   ESPIDY          GONZALEZ                  OK          90012659968
25637614971943   LUIZ ANTONIO    ORTIZ                     CO          90013716149
25641792171943   TANYA           HAWKINS                   CO          90012847921
25643847881633   OLGA            VASQUEZ                   MO          90006318478
25644534861936   MOISE           DURANDISSE                CA          90010115348
25648763693731   JASON           HORNADAY                  OH          90012517636
25648845691522   SANDRA          PONCE                     TX          90015018456
25649537257157   CARLOS          FLORES                    VA          90011085372
25656823471943   MARIA           RAMIREZ ALMARAZ           CO          90013258234
25663694451328   ANDREA          RITCHIE                   OH          90011586944
25664833581633   DWAIEN          ROBINSON                  MO          29000998335
25669924971943   KRISTINE        GOODMAN                   CO          90011909249
25675224555957   DANETTE         GAYTON                    CA          90009472245
25687465431631   MICHAEL         MAPLES                    KS          90014164654
25692425531453   MICHKELL        AKIMS                     MO          90009634255
25695217557157   ADRIAN          MARTINEZ                  VA          90013722175
25699212781637   TOYA            WHITLEY                   MO          90004452127
25721592272447   DOMINICK        PELINO                    PA          90005765922
25722792972447   THOMAS          TROUTNER                  PA          90011337929
25728541584353   SHAWNTE         HENDERSON                 SC          90004815415
25728564555957   JARED           HAMMOND                   CA          48043845645
25739396291828   LISA            CASTELLANOS               OK          90014923962
25741936141245   MICHAEL         MADDY                     PA          51062739361
25744526291522   ARLENE          MCKINNEY                  TX          90008585262
25744948431453   LANCE           MORRIS                    MO          90011489484
25755753251328   JEREMY          DAYTON                    OH          90011147532
25765241271928   ARTORO          PENALOSA                  CO          90015172412
25769434693731   JEREMY          BRIGHTMAN                 OH          90013074346
25769576991828   LAKESHA         HUNT                      OK          90013835769
25771467981637   KIMBERLY        FERGUSON                  MO          90012824679
25774194472447   EMILY           DURCI                     PA          90009951944
25783133371943   BRUCELEE        RODRIGUEZ                 CO          90011901333
25783461457157   BRANDI          DELLINGER                 VA          90014364614
25784396272447   MICHAEL         ALLEN                     PA          90014103962
25791889381637   YOLANDA         AUGUILAR                  MO          90012128893
25792537771943   JESUS R         RODRIGUEZ                 CO          32003415377
25796749431631   JORDAN          DIAZ                      KS          90014167494
25799229291522   ROSA            ESCOBAR                   TX          75045512292
25827769391522   VANAESSA        VENZOR                    TX          90012977693
25833429251328   STEVEN          MAYNARD                   OH          90008914292
25857416141245   JUSTIN          PUTZLOCKER                PA          51079694161
25859592257157   JUAN            PEREZ                     VA          90012995922
25864922771928   RICHARD         CASTRO                    CO          90012759227
25874899893731   GARRY           CORBIN                    OH          90000418998
25875493184381   JEANNETTE       MARTIN                    SC          14576484931
25875587655957   ANDREA          ARNDT                     CA          90014955876
25876562951328   SELDON          HOWARD                    OH          90014635629
25879138771943   MYRA            KIMBROUGH                 CO          90002641387
25884421355957   SABRINA         REYES                     CA          90003584213
25887235371943   ERIC            LOPEZ                     CO          90013932353
25888151157157   SHONDA          WILLIAMS                  VA          90014721511
25898653871943   BRANDON         WARD                      CO          32006016538
25899885191522   ROSE            HERNANDEZ                 TX          90014848851
25913287481637   MAURICIO        ORTIZ                     MO          90013752874
25918358571928   CARLA           LARA                      CO          90012103585
25919662791522   ANTONIO         RAMOS                     TX          90011426627
25922416631631   CAMILLE         STANDIFER                 KS          90014184166
25923416631631   CAMILLE         STANDIFER                 KS          90014184166
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25925416631631   CAMILLE         STANDIFER                 KS          90014184166
25933358571928   CARLA           LARA                      CO          90012103585
25933793791528   ASTRIA          RODRIGUEZ                 TX          90002317937
25934986571928   KERSTIN         APASTON                   CO          90009619865
25935113131433   DAVID           BURNS                     MO          90012241131
25936721431631   RAYMOND         POMPA                     KS          90002117214
25944171657157   MARGARET        SPANN                     VA          90010901716
25945564231631   JOSH            SCHROEDER                 KS          90000305642
25947554791522   AMARIS          GARCIA                    TX          90009765547
25948432357157   SARA            GORDON                    VA          90010914323
25953242271928   CARL            GIEM                      CO          90010312422
25957217557157   ADRIAN          MARTINEZ                  VA          90013722175
25957264231433   CHARLES         WHITE                     MO          90011872642
25957521371943   MATTHEW         MYERS                     CO          90014385213
25958981591828   SARAH           SNIDER                    OK          90014329815
25962697831433   BEVERLY         SHELBY                    MO          90011746978
25963558693731   MICHAEL         CASEY                     OH          64505925586
25964821271928   JOSHUA          WIGGINS                   CO          90014088212
25965723671943   MARRYANNE       PARRA                     CO          90014407236
25973763141245   HELENA          DOMBROWSKI                PA          51083437631
25974641757121   DANIELLE        RODD                      VA          81010626417
25976979251328   AMY             LAMB                      OH          90013079792
25979346791828   JERIMIAH        SEALS                     OK          90011453467
25983291671943   GERARDO         MARTINEZ                  CO          32080362916
25991848331433   TRAVIS          YOUNG                     MO          90011748483
25994673431453   TASHIKA         THOMPSON                  MO          27578826734
25996225891828   RENEE           JOHNSON                   OK          90014542258
25999759472447   PATRICIA        YOUNG                     PA          90012187594
26113881391953   ESSENCE         ALLEN                     NC          90009778813
26126935884364   ASHLEY          WIGGINS                   SC          90011889358
26128187185938   CARRIE          RODRIGUEZ                 KY          90011091871
26134688391953   JORGE           RAMOS CALIX               NC          90014956883
26135325155957   RONALD          BRIGHTWELL                CA          48088533251
26137256457157   JEROME          AUSTRIE                   VA          90012512564
26137412755977   MELISSA         MARGARITA                 CA          90013984127
26151122454123   ELIZABETH       COLLINGWOOD               OR          90012011224
26152399291953   BRYAN           HARRIS                    NC          90014523992
26178161855957   CARLOS          QUAIR                     CA          90013451618
26184863131453   BEVERLY HI      PHARMACY                  MO          27501088631
26188551991828   CARLOS          PEREZ                     OK          21081145519
26189438291828   BRADLEY         WYRICK                    OK          90012834382
26196326484364   NATERYA         GREENE                    SC          90012463264
26211831755977   ELVA            PEREZ                     CA          48032858317
26221241791828   KRISTOPHER      GROVE                     OK          90014382417
26221334391953   TROY            GARNER                    NC          90013243343
26227865391828   ASHLEY          CORONA                    OK          90012408653
26244431355957   NARCISO         MARQIQUEZ                 CA          90013024313
26251653981677   MICHAEL         LANDRY                    MO          90015006539
26252592155977   JOSE            AVALOS                    CA          90011415921
26264122484364   ROCHELLE        BRADLEY                   SC          90011571224
26267499833686   JACKIE          WATSON                    NC          12005854998
26282586951369   MICAH           MCMULLEN                  OH          90006785869
26297444991241   SHELIA          SCOTT                     GA          90004224449
26298764491967   YESENIA         MENDOZA                   NC          90010747644
26314664791953   KAYLA           SCOTT                     NC          90011176647
26319723155957   MILDRED         RITCHIE                   CA          48070027231
26323778731433   RONNICE         MOTTLEY                   MO          90011767787
26328678491241   JERNICE         MCNEAL                    GA          90010276784
26336221591528   GRICELDA        AMARO                     TX          75051182215
26336764831631   RYAN            NULAN                     KS          90012147648
26337613991522   TONY            SPARKLZ                   TX          90013456139
26337818955977   ELAINE          GAYTAN                    CA          90008528189
26345925591828   AARON           OSTERLOH                  OK          90012099255
26347592457157   RUDY            CASTILLO                  VA          90010275924
26348332891953   WHITFIELD       WASHINGTON                NC          90014553328
26353433731631   PETE            ALCAREZ                   KS          22075144337
26359164591953   CHERREL         THORPE                    NC          90014711645
26369751355957   ALEJANDRO       ENRIQUEZ                  CA          90013987513
26376125691241   FREDDY          BURNSED                   GA          14591081256
26386848157157   SALVADOR        GASCON MEJIA              VA          81097458481
26411611255957   JUANA           RODRIGUEZ                 CA          90010786112
26413293191522   BOBBY           TOWE                      TX          90013432931
26422287791828   TASHA           HARRIS                    OK          90000792877
26443519284364   DELLA           LEACH                     SC          90013835192
26445146391522   MICHELLE        PALACIO                   TX          90013271463
26458751161435   EMMANUEL        FLORES                    OH          90013897511
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26459956691953   SHAREIKA A.     ORTIZ                     NC          90010969566
26463965841245   MARSHA          CHAVIS                    PA          90008699658
26467323157157   MATTHEW         CARROLL                   VA          90012603231
26469746591828   LORI            FOLEY                     OK          90011127465
26471359291522   JILLIAN         ESPARZA                   TX          90012823592
26482767691522   CLAUDIA         CARREON                   TX          90014157676
26483471891953   KEVIN           ZEPEDA                    NC          90012454718
26489116291522   JESSICA         RASCON                    TX          90014761162
26498681491953   ROBBIN          STREET                    NC          90013626814
26511182791522   EULALIO         HERNANDEZ                 TX          90010371827
26515853881668   TAMIKA          MATTIC                    MO          90004188538
26517385591953   SABRINA         WHITE                     NC          90010433855
26517537355957   LINO            LOERA PARTIDA             CA          48053685373
26524864591522   KAREN           HINOJOSA                  TX          90002418645
26525954631433   LADOMINIQU      NELSON                    MO          90004979546
26528836241245   JAMES           PATRICK                   PA          90006458362
26531537355977   LINO            LOERA PARTIDA             CA          48053685373
26548937455977   SONYA           MARQUEZ                   CA          90006729374
26549343855989   DEEANNA         GUTIERREZ                 CA          90011263438
26554863391935   YVETTE          ADAMS                     NC          90013928633
26555247291953   EDWIN           BRAME                     NC          17034762472
26555639355957   SAMUEL          MCMATH                    CA          48012286393
26562442855977   IRMA            CANTILLANO                CA          90013984428
26578771991953   TINA            TRICE                     NC          90011647719
26586129391522   VICTOR          SALAZAR                   TX          90013371293
26588824691522   LEE             MARQUEZ                   TX          90009998246
26595116255977   GUSTAVO         DIAZ                      CA          90002131162
26618862391953   MARIANO         FUENTES                   NC          90003448623
26619481655977   PATRICK         RITTER                    CA          90012524816
26622393391231   TYRON           WRIGHT                    GA          90014683933
26622549257157   PAULA           ARCHIE                    VA          90011045492
26623558491828   NICHOLAS        TASSIN                    OK          90004795584
26634926491828   TIA             RICHARDSON                OK          90014119264
26636733131631   FRED            SLAVIN                    KS          90013807331
26643218241245   MELODY          YANCEY                    PA          90001812182
26647426655947   ALEX            ENRIQUEZ                  CA          90013024266
26648861355957   VIRGINIA        BARRAGAN                  CA          90010898613
26654785755957   HEAVANNA        SHERRILL                  CA          90013967857
26665615191828   LUIS            VASQUEZ                   OK          21053976151
26667774591828   BRENTON         GUINN                     OK          90014727745
26669144455957   OSWALDO         SOLANO                    CA          90010481444
26678628955977   ANNA            RENTERIA                  CA          90011966289
26678681191828   DAMIAN          POWELL                    OK          90014516811
26684342855977   SABINO          MORALES                   CA          90006053428
26713224854136   TIFFANY         MERCHAIN                  OR          90015062248
26728784957157   IRMA            ROMERO                    VA          90012667849
26743383855957   JOSE GIBRAN     PINZON INZUNZA            CA          90012213838
26745139391953   EBONY           JACKSON                   NC          90003001393
26746633484364   VERONICA        FORREST                   SC          90012476334
26757327784364   MARLA           FIELDS                    SC          90011593277
26759459255957   STEPHANIE       CASTILLO                  CA          90012854592
26761647257157   LISSETH         ABARCA                    VA          90012676472
26774739291522   ERICA           MARIN                     TX          90002997392
26792333257157   ANA             PATRICIA                  VA          90009773332
26811857155977   HOLIVER         GODINEZ                   CA          90013368571
26821339191522   MANUELA         TREJO                     TX          75073283391
26833349555977   LUCIA           FERNANDEZ                 CA          90011843495
26844388784364   DAVID           THOMAS                    SC          90011923887
26856583457157   ELIO            OTTIZ                     VA          90007825834
26859418291953   MARTHA          ALVAREZ                   NC          90012714182
26868265457157   WALTER          VALLEJOS                  VA          90012742654
26873122691241   SEAN            KANE                      GA          90011921226
26875353231433   KEITH           TOMPHSON                  MO          27585163532
26881232291828   DESIREE         RANDLE                    OK          90008182322
26891168785844   THOMAS          BAKER                     CA          90001761687
26892253284364   DOMINIQUE       JOHNSON                   SC          90013962532
26914965481661   MICHAEL         SUMBI                     MO          90010519654
26924277284364   ALFREDO         MERAZ                     SC          90011622772
26933344555957   SLIVA           COVARRUBIAS               ID          48083323445
26939754155957   RICARDO         CAMACHO                   CA          90008737541
26942386484364   ANTONIO         HODO                      SC          90013963864
26943261551369   CRAIG           PROPHETT                  OH          90008792615
26947456691953   VELMA           SMITH                     NC          90004674566
26953638157157   LISSY           RODRIGUEZ                 VA          81004576381
26954762491953   JOHN            FISH                      NC          90012987624
26956156957143   HEBER           FLORES RAMIREZ            VA          90010661569
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26979837955931   GABRIELA        MEIJA                     CA          90000578379
26984598855977   KIMBERLY        PHILLIPS                  CA          90013785988
27128871391828   MELONY          PITTS                     OK          90013888713
27136545555957   ALEJANDRO       LARA                      CA          90009945455
27143773891592   JOSE            AVILA                     TX          90007767738
27147539291592   PATRICIA        QUIROGA                   TX          75014195392
27154537255957   DANETTE         GAYTON                    CA          90011645372
27155971581661   DANIEL          JONES                     MO          90012419715
27179766585822   MIGUEL          GONZALEZ MEDINA           CA          90001387665
27191445355957   JOANN           SORONDO                   CA          90013444453
27194521391356   ADRIAN          GUERRA-DUARTE             KS          90013635213
27198358831453   RICHARD         HAGAN                     MO          90011833588
27199253791241   MIKE            GREEN                     GA          90014102537
27214634691356   ANA             MENDOZA                   KS          90010156346
27218715891356   EFRAIN          PLANCARTE                 KS          90010157158
27218773355957   LAURA           RODRIGUEZ                 CA          90010187733
27237871785938   TIFFANY         BAILEY                    KY          90007278717
27247576891592   VALERIE         BARAY                     TX          90013295768
27248151391356   KRISTEN         BILLINGSLEY               KS          90014561513
27248375355957   ALEX            DIAZ                      CA          90005703753
27249362631631   ADRIAN          TORRES                    KS          90013563626
27255946285822   ERIC            BOOTHE                    CA          90011539462
27256477191592   MONROY          ROSA                      TX          90010014771
27266286391356   ALEJANDRO       CRUZ                      KS          90014602863
27267195291356   JALISA          POINTER                   KS          90011521952
27268412855957   RICHARD         RENTERIA                  CA          90003404128
27289542791828   WAYLON          HUDSON                    OK          90013895427
27294731281638   KATHLEEN        HAMLET                    MO          90013007312
27298375591241   PATRICIA        ELLISON                   GA          90014693755
27299494991356   MELWEE          MINOR                     KS          90013984949
27316174181661   SHAWN           BERRY                     MO          90010431741
27325559591241   ANGEL           MACKLIN                   GA          90013375595
27328133241259   FRANK           JHON                      PA          90015331332
27331923581638   MARIAH          THOMAS                    KS          90014799235
27338556355957   JESSICA         LOPEZ                     CA          90014015563
27341268791833   SPENCER         FLETCHER                  OK          90003132687
27342576955957   CONNI E         STONE                     CA          90013655769
27344636185938   ANDRE           FRANKLIN                  KY          67061146361
27344723891828   RACHEAL         DEVILLE                   OK          90014037238
27349455455957   HELEN           VASQUEZ                   CA          48046374554
27354876641245   DEBORAH         HOWZE                     PA          51011628766
27355743181661   THORNE          SPENCER                   MO          29016247431
27358725391528   ERIN            PORTILLLO                 TX          90005847253
27362352391241   FAITH           BENNETT                   GA          90012443523
27362873991828   SHANELL         MAYS                      OK          90011198739
27362963191356   VICTOR          MANSILLA                  MO          90002139631
27368731155957   RICARDO         RODRIGUEZ                 CA          90008747311
27377172785822   JOY             BINN                      CA          90008701727
27383889681638   JOSHUA          NIELSON                   MO          90012468896
27386192931631   ROY             DARNALL                   KS          90000981929
27392487791592   MARLENE         CAMPA                     TX          90014854877
27394861681648   LAURA           CASTILLO                  MO          90012788616
27412298885822   MIRA            WOO                       CA          90010462988
27419436555957   DULCE           MARQUEZ                   CA          90011254365
27421451991592   BENNY           ONTIVEROS                 TX          90011314519
27423416693731   MICHELLE        ALLEN                     OH          90011194166
27429694581648   JERRY           WRICE                     MO          29016146945
27434626385822   ARACELI         SANCHEZ                   CA          90011966263
27441615791356   JOSE            GARCIA                    KS          90011206157
27449613881638   JULIUS          BRADLEY                   MO          90013936138
27461156991592   MARIA           PENA                      TX          75025201569
27466112785822   TRAVIS          STEFFENS                  CA          90010691127
27468552585822   MORGAN          JOHNSON                   CA          90011955525
27476193191241   BILLY           CREWS                     GA          90012811931
27477843981638   ASHLIE          STEWART                   MO          90013728439
27478129555957   MARCOS          MARTINEZ HERNANDEZ        CA          90008771295
27484635185822   AIOTEST1        DONOTTOUCH                CA          90015116351
27485116885822   SARA            TRUJILLO                  CA          90013801168
27486514691356   MAMIE           SPRINGS                   KS          90014345146
27489139855957   VICENTE         BORGES                    CA          90013761398
27496528791528   MICHAEL         GARCIA                    TX          90003285287
27496579481661   ASHLEY          DANIEL                    MO          90010955794
27514618131631   PATRICIA        DANIELS                   KS          90013026181
27515686471924   VALERIE         VALDEZ                    CO          38095646864
27525639641245   JESSICA         BRANDON                   PA          90009996396
27526523255957   JUANITA         MENDOZA                   CA          90015165232
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27534984131631   ROBERT          DANIELS                   KS          90004339841
27536753291528   PALOMA          ULLOA                     TX          90005847532
27538628681638   PRINCESS        NUBIAN                    MO          29075066286
27539169651346   ERICA           SISCO                     OH          90008051696
27561162941248   KEVIN           WESTFALL                  PA          90002301629
27564281685875   BRIAN           LIVESAY                   CA          90010692816
27578671131453   LEIGH           THOMAS                    MO          27560396711
27591848481637   SHARON          MARTIN                    MO          29076118484
27622658593731   JAMAAL          HOLMAN                    OH          90011196585
27622672593731   CRIS            MOSS                      OH          90014606725
27634848593731   APRIL           KOPECKY                   OH          90007968485
27639325691241   FRANKLIN        HENDRIX                   GA          90013653256
27639523555957   CINDY           PINON                     CA          90009775235
27644842955957   CHANTILLEY      LEWIS                     CA          90009278429
27645892491828   FRANCISO        OSORNO                    OK          21033268924
27657688257157   ELIESSER        MURILLO                   VA          90002876882
27663584191592   CESAR           GALVAN                    TX          90013295841
27663657291828   DAMESHA         ROSS                      OK          90010886572
27663726691592   NICK            HERNANDEZ                 TX          90013267266
27689321455957   RICARDO         GUARDAMUZ                 CA          90014753214
27712239555957   EVER            GUZMAN                    CA          90013022395
27713635331631   SOLEDAD         IBARRA                    KS          90013386353
27717984131631   ROBERT          DANIELS                   KS          90004339841
27722291791592   LYDIA           PINON                     NM          90009952917
27739776393731   RAYMOND         FROST                     OH          90005907763
27743113431631   BREANA          CARTER                    KS          90013991134
27746836491241   MARICELA        FARIAS                    GA          90013608364
27763438393731   CAROL           MOORE                     OH          90013654383
27767133691828   RACHEL          HUGHES                    OK          90014391336
27776987693731   JENNIFER        SILVERS                   OH          90014759876
27779337691356   HECTOR          MIRANDA                   KS          90008363376
27783192191844   MARANGELY       PEREZ                     OK          90012411921
27788541991828   JENNIFER        SMITH                     OK          90013905419
27788748491241   CALVIN          WILLIAMS                  GA          90012027484
27791584685938   TYRONDA         MOBERLY                   KY          67048385846
27796755331437   LEAH            HOWARD                    MO          90002087553
27814586661999   ELIEL           DIAZ                      CA          46009535866
27816669493731   SHATARA         CONNER                    OH          90014616694
27821798191589   FRANCISCO       CHAVIRA                   TX          90003907981
27826117291833   MARY            COOK                      OK          90002711172
27828214491356   ERICA           TYSON                     KS          90014172144
27837588771221   ADRIOUN         LARA                      IA          90014665887
27841741455957   ELVIRA          TYLER                     CA          90009777414
27846142881648   TAMMY           MARTENS                   MO          90009571428
27847998891592   ANTONIO         DOMINGUEZ                 TX          75068009988
27848483291356   CESAR           GARZON                    KS          90010374832
27848564585822   JERRELL         YOUNG                     CA          46085045645
27853694891592   JUAN            RODRIGUEZ                 TX          90011526948
27854872631631   MAYA            MITCHELL                  KS          90010478726
27863845755957   ADELA           JACUINDE                  CA          90012588457
27869859791356   JESSICA         ROBERTS                   KS          90015138597
27876459691241   ZAMBIA          GEIGER                    GA          90012834596
27887278585822   ERIK            DOMINGUEZ                 CA          90012332785
27887995593731   JESSICA         MYERS                     OH          64598569955
27893664891828   ADONIAS         LOPEZ                     OK          90012226648
27914227291592   BRENDA          SALAZAR                   TX          90008542272
27915368391828   ANTHONY         HUMPHRIES                 OK          90013253683
27915881555957   KATY            AMEZCUA                   CA          90007328815
27922531991828   DESMAN PAUL     HICKS                     OK          90014835319
27927328591592   MARIA           MURILLO                   TX          90010333285
27928786791241   NICOLE          MACDANIELS                GA          90013837867
27932111557129   JUAN            SERNA                     VA          90006871115
27935483891528   CUITLAHUAC      HERNANDEZ                 TX          75017164838
27937865591241   EMBER           HUNTER                    GA          90012988655
27942674193731   WILLIAM         SMITH                     OH          90010386741
27945149441245   CHRISTOPHER     DONATO                    PA          90004211494
27951861791828   LAURIE          FISHER                    OK          90014338617
27954692331433   BRENT           M                         MO          90010886923
27963971191828   JACINDA         OAKLEY                    OK          90010999711
27971794291828   MARIA           MALDONALDO                OK          21079717942
27971849731631   JESUS           HERNANDEZ                 KS          90013288497
27987973493731   BRENT           MCCLELLAN                 OH          90013379734
27995913591828   ORLANDO         GONZALEZ                  OK          90008619135
27997959691241   DUKE            MITCHELL                  GA          90013999596
28118421731631   ALEJANDRO       RUEDA                     KS          22006894217
28127311891547   CRISTOPHER      CADENA                    TX          90010753118
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28136741381633   SHANEQUEA       ROTHSCHILD                MO          90013717413
28149433491241   EUGENE          WRIGHT                    GA          90014744334
28158987691592   DANIEL          BARRAGAN                  TX          90015319876
28179612591241   ROSALYN         WILSON                    GA          90014746125
28182612591241   ROSALYN         WILSON                    GA          90014746125
28193426291241   LATOYIA         HUMPHRIES                 GA          90011564262
28194156491833   CHRIS           BOND                      OK          90012461564
28194537771933   JESUS R         RODRIGUEZ                 CO          32003415377
28225666291833   KRISTIN         SANCHEZ                   OK          90011306662
28235238457157   GERMAN          CRUZ                      VA          90002542384
28242987691592   DANIEL          BARRAGAN                  TX          90015319876
28254691991356   ROSA            RICO                      KS          90014256919
28263532451328   TONYA           MENDOZA                   OH          90011815324
28264538651328   JOAN            MENDOZA                   OH          90011815386
28289899851328   MAURICE         COKES                     OH          90013588998
28293927691547   KARINA          GUDINA                    TX          75001429276
28294455391592   JESSIE          INFANTE                   TX          90014504553
28318465631453   MIKE            CLAYTON                   MO          90010964656
28327419691241   NIKKI           BARRS                     GA          90014794196
28332323191592   TIMOTHY         CHARBONNEAU               TX          90011463231
28346249391547   CARMEN          DELGADO                   TX          90009022493
28349784491592   JULIO           RAMOS                     TX          90012787844
28351534491833   TOMASA          CARREL                    OK          90012055344
28352596436165   MARISOL         GOMEZ                     TX          90012475964
28357617791592   DIEGO           JIMENEZ                   TX          90011306177
28359732591547   SANDY           CASTILLO                  TX          90011177325
28361641831453   ANTONIA         GOTOW                     MO          90013026418
28362317691592   BERTHA          MUNOZ                     NM          90007483176
28363424631453   JASMINE         MARIE KING                MO          90001144246
28366783657157   IMPERIL         VAN                       VA          90013187836
28379587391528   JANINE          JUAREZ                    TX          90005735873
28382323291356   JOSH            BALDUCCI                  KS          90011423232
28383384291592   ROBERTO         CICERO                    TX          90013013842
28391589391528   LEONOR          AGUIRRE                   TX          90005735893
28392577157157   OSCAR           ARIAS                     VA          90009135771
28395476991828   TAWANIA         LUMPKIN                   OK          90013634769
28414698691356   MARISOL         ALEJO                     KS          90011206986
28433266991592   SERGIO          RUBIO                     TX          90010832669
28444417857157   CLAIRE          FLOWERS                   VA          90010414178
28447333991833   KIRSTEN         LEE                       OK          90011513339
28454189291547   GLORIA          DURAN                     TX          90014771892
28454688291241   JESSE           GAY                       GA          90015046882
28454898691547   SILVIA          FIERRO                    TX          75030488986
28456764291528   JUAN            RIVERA                    TX          90003297642
28458538461995   ALEJANDRO       ROJAS                     CA          90007715384
28459366557157   YOLANDA         JOSEPH                    VA          90011243665
28464724357157   NATALIE         DANIELS                   VA          90012907243
28465241391833   STACY           WILSON                    OK          90013082413
28466748891592   TATIANA         ESTRADA                   TX          90014837488
28474317591356   JEREMY          JOHNSON                   KS          90011403175
28479982777534   ILODIA          BETTINGER                 NV          90008219827
28486395793724   ROB             JOHNES                    OH          90009263957
28496296581633   AS              BARUTI                    MO          90013872965
28497541791828   SUSAN           LASSITER                  OK          90012015417
28498926431453   SOEUM           NAY                       MO          90014699264
28499276457157   NICANOR         ESPINOZA                  VA          90010442764
28499832291833   MARKISHA        MILLER                    OK          90008698322
28513474351351   ANGEL           MATIAS                    OH          90013204743
28514172191547   NATALIA         DURAN                     TX          90014131721
28514639631453   CORY            DANSLER                   MO          90009766396
28521744657157   FRANCINE        COX                       VA          90013117446
28531969157157   YOJANA          COLTEZ                    VA          81053359691
28545192591592   ERIC            MARTINEZ                  TX          75090291925
28548155957157   DAWIT           TEKOLA                    VA          90011251559
28548575131439   TENESE          JEFFRIES                  MO          90000355751
28554644691833   TODD            SHORT                     OK          90010226446
28554742891547   ASIA            FLORES                    TX          90014837428
28557613291356   DARRYL          JOHNSON                   KS          90010146132
28558942991356   ELVIA           BRIZUELA                  MO          29024849429
28566957791592   ANDREA          MUNOZ                     TX          90010889577
28573795131453   SHAMIRA         RICE                      MO          90014707951
28589797191356   BLANCA          PASTRANA                  KS          90008007971
28595767241245   TAMMY           CARROLL                   PA          51002207672
28611859781633   CALEB           COSSAIRT                  MO          90010628597
28617154431453   JAMES           FOXWORTH                  MO          27595681544
28623181891833   ELIZABETH       TATE                      OK          90012381818
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28623876331453   NATE            HILL                      MO          90014708763
28624897731453   TAMIKA          TURNBOW                   MO          90014708977
28635273391547   ELIZABETH       PARGA                     TX          90007202733
28638384291592   ROBERTO         CICERO                    TX          90013013842
28642862185698   GRISELDA        LOPEZ                     NJ          90013028621
28664214691833   CHASE           LABARR                    OK          90011442146
28678264991592   MARIO           RODRIGUEZ                 TX          75084752649
28679417657157   SANDRA          PINEDA                    VA          90011464176
28686744381633   EDWARD          NEWSOME                   MO          90010857443
28688214781633   CHANTAL         MALTBIA                   KS          90014712147
28689585691828   CIERA           HILLIARD                  OK          90014975856
28692495281633   ANNIE           TAYLOR                    MO          90013974952
28696425757157   MIGUEL          COFFER                    VA          90010524257
28712357491356   SPARKLE         GUMANGAN                  KS          90014393574
28715534391547   NANCY           RENTERIA                  TX          90002095343
28733321331453   NAKONA          CLAY                      MO          90014723213
28735887191528   LUIS            TORRES                    TX          75095078871
28737822191241   JACKSON         RICHARD                   GA          14587008221
28743149981633   NICKOLE         GONZALEZ                  MO          90014451499
28745355891547   LIZETH          CHAIREZ                   TX          90012843558
28749291357157   OSCAR           CERON                     VA          90013022913
28752518671933   KELLI           BIROU                     CO          90012135186
28768793731453   VALENCIA        HUMPHREY                  MO          90014727937
28777172181633   RENE            CASTANEDA DE LEON         MO          90013911721
28785853831453   JUANITA         LAWRENCE                  MO          90014238538
28798567391547   JANIS           CARROLL                   TX          75013725673
28813381581633   JUDY            MCCLARIN                  MO          90014583815
28818376591547   KARINA          CHAVEZ                    TX          90013933765
28827232591833   MARIAH          HENEBY                    OK          90013362325
28836212831453   BOB             BARKER                    MO          90011642128
28837432691828   ADALY           LOPEZ                     OK          90013764326
28841282281633   CHRISTINE       RIVERA                    MO          29001082822
28841554981633   TAMMY           ESTIS                     MO          90015185549
28843215385965   DAVID           ROBERTS                   KY          66032592153
28844173191547   MERCEDES        HACKETT                   TX          90014131731
28845464391592   LATONYA         HOUSTON                   TX          90013434643
28849996157157   JOSCELYN D      WARD                      VA          90001599961
28852246131453   TIFFANY         MAXIE                     MO          90010632461
28854336491592   ANETH           RAMIREZ                   TX          90010983364
28863294557157   RONDELL         BRIGGS                    VA          90013992945
28866443291547   ERICKA          GUILLEN                   TX          90012094432
28867899791241   GALE            KIDD                      GA          90008498997
28869969285991   MIKE            BROWN                     KY          90008739692
28876677891356   DAVIS           JERMALE                   KS          90012846778
28881293791833   CHELSE          REAGAN                    OK          90006452937
28883885591547   DORA            CARDOZA                   TX          90013468855
28884762557157   MARIA           RIVAS                     VA          90010577625
28891661657157   REBECCA         SALAZAR                   VA          90011596616
28892617357157   HILARY          TORRES                    VA          90013106173
28899377857157   ROSIBEL         RIVAS GONZALEZ            VA          90013123778
28914174391833   TERRELL         LAGRONE                   OK          90013911743
28918442691592   ANAKAREN        MORENO                    TX          90013854426
28932686347826   QUANTERRIOUS    CALHOUN                   GA          90011346863
28939672541245   CHARNEDZA       ANDREWS                   PA          90009806725
28951799491828   PATRICK         YOUNGBLOOD                OK          90012087994
28958117785991   SCOTT           PAULY                     KY          90007281177
28972567557157   RONALD          JAMES                     VA          90012125675
28977322491833   SHELLY          ROGERS                    OK          90007443224
28979436591241   TONI            WASHINGTON                GA          90013294365
28983467385965   SIDNEY          TAYLOR                    KY          66025954673
28999189491833   DAVID           FRANK                     OK          90009111894
29111896951328   ADRIAN          GREGORY                   OH          90013958969
29112499531453   IMANI           JACKSON                   MO          90012334995
29113411791592   CYNTHIA         SANCHEZ                   TX          90010944117
29123497991522   MARIO           BILBAO                    TX          90012164979
29132295191522   PATRICIA        MAYNEZ                    TX          75002112951
29132676455957   MARIA           DONZE                     CA          90012436764
29156317791953   CHRISTOPHER     STEPHENS                  NC          90013963177
29169972191828   RENE            CHAISSON                  OK          90005789721
29179568391592   LAURA           ALVAREZ                   NM          75086655683
29182963891241   LISA            WATERS                    GA          90011069638
29189462931453   LAMONT          ELLIS                     MO          90015114629
29189845881633   KAREN           NUNEZ                     MO          29080828458
29191183731631   DUSTIN          PERRY                     KS          90013001837
29194859291522   VANESSA         SOLTERO                   TX          90012218592
29212783531631   EDWARD          BRADFORD                  KS          22069497835
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29218256991592   JESUS DAVID         GONZALES              TX          90010812569
29218349251328   STAPHANY            JAMES                 OH          90014803492
29226312781633   EDWARD              HARRIS                MO          90012453127
29232494431453   MEGAN               COBBS                 MO          90001804944
29237369391522   ERICK               BETANCOURT            TX          90012823693
29239468291953   MARSHARELLE         EVANS                 NC          90012234682
29254861191828   OLIVARES            ORAILA                OK          90007738611
29267688651328   DONTE               WHEELER               OH          90014676886
29272656661925   VERONICA            FERRAZ                CA          90002646566
29276216731453   CAROLYN             MCCRAY                MO          90011172167
29287421591592   VIANETTE PATRICIA   CARREON               TX          90013604215
29288657555957   ROBERT              GONZALES              CA          48081686575
29292123151336   RUSHEMA             MADDOX                OH          90013501231
29295315691953   GUADALUPE           PEREZ                 NC          90004943156
29298224731631   PAYGO               IVR ACTIVATION        KS          90013212247
29311229191828   STEPHEN             PFOHL                 OK          90001082291
29313331491953   TYEESE              CHANDLER              NC          90011383314
29325238291828   REINA               HERNANDEZ             OK          90013182382
29328454431453   DORIS               PENDLETON             MO          90012784544
29333129491953   ROSELYN             YAMBA                 NC          90015161294
29339227891522   JUAN                MALDONADO             TX          90008172278
29347723555957   FLAVIO              AGUILAR               CA          48010157235
29359523751336   CANDUS              WILLENBRINK           OH          90013045237
29362449691522   JENNIFER            ELIAS                 TX          90014524496
29371934885822   RON                 KENNEDY               CA          46023329348
29372893931453   JACQUELINE          WILEY                 MO          27560918939
29381997481633   BRANDON             RIVERA                MO          90013789974
29388756691953   DARVIN MAGDIEL      ROBLERO BARTOLON      NC          90012107566
29391125191241   KYLE                CONNERS               GA          14502881251
29391182251336   CHIQUITA            TERRY                 OH          90014001822
29399499291953   JOEL                OMBASA                NC          90000274992
29423797255957   ANGEL               DELGADO               CA          90013937972
29429485955957   JANET               ALAPISCO              CA          90013984859
29429736391592   CECILIA             FRAIRE IBARRA         TX          90013057363
29433151291953   RICKY               SNEAD                 NC          90012951512
29445417631631   RANDY               PAINTER               KS          90013314176
29446221391828   BRENDA              CRUMPTON              OK          90011152213
29447597855957   SUSANA              BARAJAS               CA          48004265978
29466193591522   ALEJANDRO           ARIAS                 TX          90009091935
29471834791522   RODRIGUEZ           JUAN                  TX          90014248347
29474219255957   LIONEL              RODRIGUEZ             CA          48089602192
29496145651328   MARIA               STASSER               OH          90014041456
29499326151328   ROGER               ROETHELI              OH          90002813261
29515477481633   CAROLYN             ISOM                  MO          90014684774
29515988191953   ISIAH               JENKINS               NC          90004159881
29516672755957   DIANA               BARAJAS               CA          48059626727
29528522581633   GWEN                MCGUIRE               MO          90014675225
29528573661977   GABINO              RODRIGUEZ             CA          90002395736
29542799931453   KENEICKA            HARRELL               MO          90011607999
29543657791592   JORGE               HERNANDEZ             TX          90007896577
29544546631631   JOSE                LOYA                  KS          90010135466
29554157585841   PATRICIA            CRUZ                  CA          90008491575
29568597731453   CHRISTOPHER         ROSE                  MO          90012925977
29576379691953   JOHN                JOHNSON               NC          90013193796
29578294891953   JAIRO               ORTEGA                NC          90013432948
29578679251336   SARAH               WILKING               OH          90012436792
29578849391592   MELBA               CHAIREZ               TX          90011108493
29585833855957   CHRISTINA           ANDERSON              CA          90013078338
29586793651336   STEVEN              AMBRUSTER             OH          90011517936
29587547231453   DELISA              THOMAS                MO          90013225472
29587582685822   BOMI                KIM                   CA          90010505826
29589163555957   CINDY               CASTRO                CA          90010771635
29596814491953   REMEDIO             NORITA                NC          90011648144
29599261491953   JAMAAL              KELLY                 NC          90011392614
29611217971923   TRACY               GRAZIOSII             CO          90007502179
29624243831453   ANDREA              BUTLLER               MO          90009402438
29627942785822   MARIAH              RODRIGUEZ             CA          90011229427
29639574791828   BRENDA              RAMIREZ               OK          90013165747
29643988191522   MARTHA              MENDEZ                TX          75002629881
29652122877338   RYAN                MEGALE                MO          90011391228
29653473991592   SANTIAGO            MUNOZ                 TX          90012604739
29656463991528   MANUEL              OROZCO                TX          75095514639
29657943831453   BREAUNA             WILSON                MO          90003429438
29668182251336   CHIQUITA            TERRY                 OH          90014001822
29668574355957   STEPHANIE           ANDRADE               CA          90012785743
29668971491592   VIANEY              MARTINEZ              TX          90014059714
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29682432391522   IVON               RENNDON                TX          90010384323
29686125891592   SALVADOR           HERRERA                TX          90010171258
29688683255957   BLANCA             OSUNA                  CA          48034376832
29713628891241   LINDSAY            HUNT                   GA          90003866288
29717178451328   ROBIN              BOLIN                  OH          90013931784
29721928731631   LESTER             CARRELL                KS          90010319287
29725667691828   ASHLEY             WYNN                   OK          90014916676
29732289991528   SANDRA             MARTINEZ               TX          90010982899
29737419391522   JUAN               HINOJOSA               TX          90008174193
29744699681633   CURTIS             DRAFFEN                MO          90012156996
29755141591953   STEPHANIE          YORK                   NC          90011011415
29756153331631   JESUS              LERMA                  KS          90014621533
29767798791592   CORINA             SANDOVAL               TX          90003707987
29768627681633   RENE               TRITLITT               MO          90009276276
29771449191522   CHRISTOPHER        DIAZ                   TX          90008174491
29773475731631   MEGAN              STEPHEN                KS          90012354757
29776281431453   TIJUANA            SIMPSON                MO          27510822814
29797319991953   VALERIE            REID                   NC          90014843199
29797397591592   RAQUEL             GOMEZ                  TX          90013873975
29798961847826   BENITA             FIMNNEY                GA          90010919618
29814732891953   STEVEN ALEXANDER   ESTRADA                NC          90007687328
29815237891953   SHAMIRA            PRIDGEN                NC          90011012378
29815285691592   JENISSA            LOI                    TX          90014692856
29816238393742   MARKITA            CARTER                 OH          90010622383
29828585151328   JORDAN             FIELDS                 OH          90013495851
29839818791241   SONYYA             BENNETT                GA          90009408187
29847625351328   BILLY              LITTLE                 OH          90014756253
29866279791828   HARVEY             IRON                   OK          90014962797
29868273131433   OLISHA             HARRIS                 MO          90013462731
29868654731631   CAIQUN             DOU                    KS          90013856547
29871221691953   JUDY               SPEIGHT                NC          90002272216
29872298591828   SALVADOR           GARCIA                 OK          90012712985
29873558731433   RECORDIA           THOMAS                 MO          90010215587
29874688991953   JUAN CARLO         SANDOVAL               NC          17026416889
29882953991592   EDNA               GONZALEZ               TX          90013609539
29887991391592   ALMA               HERNANDEZ              TX          90013209913
29889864191828   THELMESHA          EVANS                  OK          90001258641
29891699884343   QUENTIN            CHERRY                 SC          90014556998
29896522231453   COREY              GALCZYNSKI             MO          27559405222
29918487191953   JOHN               MCBRYDE                NC          90011914871
29918878355957   VERONICA           GARCIA                 CA          90004978783
29923688291522   JESICA             GUROLA                 TX          90010916882
29927563851336   EDDIE              MILNER                 KY          90014545638
29929666881633   TAUFAANUU          WARE                   MO          90013936668
29942659981633   BRANDON            AMOS                   MO          90014086599
29947727791528   CONSUELO           AYALA                  TX          75096557277
29954332191522   EVA                VEGA                   TX          90012083321
29957111851336   WINONA             JACKSON                OH          90007631118
29958468951328   HANNAH             KUETHE                 OH          90012154689
29959666791828   MUHAMMAD           ALMMANI                OK          90010536667
29964369781633   DAVID              BANUELAS               MO          90014643697
29966992851336   ASIA               GRAY                   OH          90012979928
29972196551328   TRAVIS             BISHOP                 OH          90012731965
29974694684364   KISHA              BRYAN                  SC          90000946946
29978313291953   RUBEN              HERNANDEZ              NC          90013923132
29983714431631   JOHNTRAIL          JOHNSON                KS          90013917144
29986253651328   CHYRIE             HOWARD                 KY          90015132536
29986326151336   DERRICK            DAVIS                  OH          66080683261
29992231751328   PAGE               TAUCHERT               OH          90007642317
31113439755972   ISMAEL             RIOS                   CA          90010914397
31117812331424   MICHELLE           SMITH                  MO          90005128123
31117964181653   BREE               FORBES                 MO          29000319641
31118494751369   NAKIIMA            REID                   OH          66002574947
31127845384368   ANTON              WATSON                 SC          90014108453
31134443172496   MIKAYLA            HORNER                 PA          90010534431
31134719841258   MAYA               BOYD                   PA          90014067198
31136237155972   ANGELA             BOCANEGRA              CA          48095332371
31137631941277   KAYLA              JAKOVAC                PA          90013796319
31142327891232   LAKEN              CHATMAN                GA          90012573278
31148459772455   GINA               FUSTICH                PA          51069704597
31149293291371   LYNN               EAGLE                  KS          90014102932
31152528477544   RAUL               MELENDEZ               NV          90014865284
31153417551338   JENNIFER           DRAGISIC               OH          90008384175
31158958991831   JEFFERY            HARRIS                 OK          90010169589
31162685454165   JESICA             RAMIREZ                OR          90005626854
31163963777544   JOSEPH             RAMIREZ                NV          90011089637
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31166663291584   ASHLEY          PARRA                     TX          90011246632
31168534991831   MARIA           MORRIS                    OK          21096345349
31168766136143   JACKELY         OLIVARES                  TX          90014707661
31169593491232   HASAMANTA       JOHNSON                   GA          90014855934
31171453191831   TAMARA          DANIEL                    OK          90011494531
31172396791831   JENNIFER        SOUTH                     OK          21052373967
31172663591584   LAURA           JOHNSON                   TX          90011246635
31173969291584   GUILLERMO       FERNANDEZ                 TX          90013819692
31176175131424   VALERIE         MACK                      MO          90011481751
31176254736143   GREGORY         RUEFF                     TX          90007652547
31177426384368   GABRIEL         PAZ                       SC          90014734263
31178648591584   SAMUEL          SANCHEZ                   TX          90013946485
31182181385921   LAURA           WALLACE                   KY          90009861813
31182845991371   ALOISHIA        MARSHALL                  MO          90014648459
31184728241285   CORY            DEVAUGHN                  PA          90011677282
31188923755972   THONG LEE       PHOUNY                    CA          48010689237
31192792555936   DORRINNE        SHARP                     CA          90005887925
31216759284368   CESAR           BARTOLON                  SC          90012917592
31219672391584   MICHAEL         LUONG                     TX          90011246723
31224579654165   WOLFSKILL       TRENTON                   OR          90006845796
31226225751369   CARLA           GOINES                    OH          90008482257
31228674291584   BRYAN           PARRA                     TX          90011246742
31241927736143   GARRETT         BARHAM                    TX          90013009277
31248175877544   ASHLEE          COPE                      NV          90015211758
31251587141277   NICOLE          MCDOODLE                  PA          90009075871
31263647691371   ROBERT          SMITH                     KS          90011156476
31267785691371   TARA            PIMENTAL                  KS          90013407856
31269696654165   JOLENE          DOBBINS                   OR          47083986966
31276535761945   AURIEL          SEARCIE                   CA          90008695357
31279981936143   JOERICK         RODRIGUEZ                 TX          90011009819
31282236136143   STEPHANIE       PENA                      TX          90013982361
31285571255949   DUBLAS IRAEL    BONILLA                   CA          90006895712
31287292936143   JESSIE          CADENA                    TX          90012722929
31289647647931   JEREMIAH        HALE                      AR          90008146476
31292835597126   MYRA            ESQUIVEL                  OR          90014528355
31293113891371   HECTOR          TEJADA                    KS          90014191138
31293524755949   CARMAN          RUBIO                     CA          49089785247
31296695491584   MARIA           BETANCOURT                TX          90013946954
31311287791584   GUADALUPE       MENDEZ                    TX          90008092877
31313562555949   JOSE            FERNANDEZ                 CA          90010455625
31314213636143   MIGUEL          MARTINEZ                  TX          90014152136
31314518884334   VICTOR          PAYED                     SC          90009175188
31325553636143   ALEX            PAZ                       TX          90013795536
31332586772496   EVELYN          HARRIS                    PA          90014835867
31333116291232   GLORIA          HARDEN                    GA          90013671162
31339293541277   DEMETRIUS       DAVIS                     PA          90002832935
31353971641258   WIRELESS        CALLER                    PA          90015239716
31362244255949   ANTONIO         SANDOVAL                  CA          90004792442
31362741172441   TROY            SMITH                     PA          90010747411
31363293891584   NINA            CORDOVA                   TX          75001382938
31364627441258   LINDSAY         NELSON                    PA          90011506274
31364839877544   KRISTINA        COOPER                    NV          90010138398
31372317531424   KYLA            LARDGE                    MO          90008783175
31372869951369   AMBER           FORREST                   OH          90012378699
31374956741277   AKBAR           MAKHKAMBAEV               PA          90012329567
31377912877544   REMI            HANSHEW                   NV          90014549128
31378498991584   THOMAS          GORDON                    TX          90010114989
31383257472496   RICHARD         FLYNN                     PA          90011032574
31384466591232   MEGEAL          JORDAN                    SC          90014584665
31385379131424   KYESHA          HOWARD                    MO          90007813791
31385397755972   LINDSAY         STRYD                     CO          90012033977
31387355851339   AMY             BALLINGER                 OH          90011693558
31388277651369   KELLY           WALKER                    OH          90013702776
31394281351339   ISABEL          RIO                       KY          90014662813
31411964554165   DERRICK         KUPPER                    OR          90007569645
31414994591371   RODOLFO         RAMIREZ                   KS          90005569945
31428919431424   DANIELLE        HEISNER                   MO          90014019194
31429538691232   REBECCA         HUTCHENSON                GA          90013365386
31435588451369   RAYMOND         JONES                     OH          90012235884
31439944255972   INDERJIT        GHOTRA                    CA          90011549442
31444893254165   KIM             HOOGENDOORN               OR          47079858932
31445956751369   DANIEL          HALL                      OH          90006649567
31446472436143   LYDIA           ARAGON                    TX          90014954724
31447376977544   LUCIO           NUNEZ-SANCHEZ             NV          90013173769
31447795391831   CRYSTAL         MERTZ                     OK          90006127953
31449246941277   LATISHA         IRVIN                     PA          90015132469
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31458218341277   SIMOM           AMDABLO                   PA          90011792183
31461115993744   ALEXANDRIA      VAN DYKE                  OH          90002551159
31461285491232   ANDRE           JACKSON                   GA          90015132854
31462459251339   ROBERT          IRVIN                     OH          90012324592
31464773791584   JONATHAN        GARCIA                    TX          90013947737
31466377936143   CHAD            HARDIN                    TX          90010863779
31466489491885   SHEILA          MIZE                      OK          21006874894
31473497772496   MARQUIS         BAILEY                    PA          90013014977
31477474351339   ASHLEY          TAYLOR                    OH          90014544743
31481459741277   JEFF            SMITH                     PA          90015234597
31484256581642   RODRIGO         GARCIA                    MO          90012172565
31485718251339   JARED           PITMAN                    OH          90006497182
31487537231424   SIMA            SMITH                     MO          27508605372
31492173477544   DENNIS          BROWNS                    NV          43027421734
31492191641285   WAYNE           KELLEY                    PA          51089351916
31493788491584   SUMAYO          RAYAS                     NM          90012057884
31499529591831   ZAKIYA          BELL                      OK          90005635295
31511224151369   WILLIAM         STOVALL                   OH          90015072241
31515832555949   CHRISTINA       GILBERTH                  CA          90004688325
31525159355972   WENDY           BRAVO                     CA          90013101593
31527693941277   JOHN            SCHWARTZ                  PA          51065896939
31532349255949   ELEANOR         MARTINEZ                  CA          90007583492
31536837955949   GABRIELA        MEIJA                     CA          90000578379
31544436551339   KASEY           HENSLEY                   OH          90009764365
31544474691371   LATASHA         TRAZIER                   KS          90014724746
31547751131424   COURTNEY        COOK                      MO          27575757511
31559255954165   CHRIS           GREEN                     OR          90010622559
31566877936143   MIRANDA         ZUNIGA                    TX          90012938779
31567297491584   RAYMUNDO        SIMENTAL                  TX          90012962974
31576322751369   NATASHA         VANDERGRIFF               OH          90008483227
31593847491232   MARK            BRANEGAN 2                GA          90014318474
31597742472496   ROBERT          JOHNSTON                  PA          90014487424
31598639741258   ALLAN           MARCELLE                  PA          51076926397
31599622855949   BRANDON         GIBSON                    CA          90009646228
31612316871921   JUDY            CLAY                      CO          90003103168
31615222651339   MICHAEL         SMITH                     OH          90013252226
31621741571923   DURAN           YOUNG                     CO          32008837415
31626182647931   ANDREZ E        MENDEZ                    AR          90014151826
31626274972496   KEN             BRINK                     PA          90010972749
31627912991584   JESSE           TORRES                    TX          90010349129
31628552155972   SAMANTHA        RIOS                      CA          90014855521
31633136736143   MICHEAL         FREEMAN                   TX          90014121367
31633644561925   VERNON          FORBES                    CA          90013476445
31634468541285   SHANITA         CASH-DAVISTON             PA          90013114685
31636523941258   DANIEL          BRADWISCH                 PA          90013395239
31641836141285   ALICIA          DUNMIRE                   PA          51005248361
31645696991371   PATRICK         DIXON                     MO          90011176969
31653776455949   SHALLACE        MOORE                     CA          90012867764
31658795691232   GORGE           ROBINSON                  GA          90011637956
31658874754165   KASIE           SALLENG                   OR          47011558747
31662468541285   SHANITA         CASH-DAVISTON             PA          90013114685
31666583436143   EMMANUEL        MCNICKLES                 TX          90012255834
31667427391232   LATANAYA        GRIFFIN                   GA          90014484273
31671773336143   JOSE            LOPEZ                     TX          90011917733
31674193155972   ELISA           FLORES                    CA          90012321931
31683142636143   CATHY           GARCIA                    TX          90014131426
31688197372496   AMANDA          AUSTIN                    PA          51095571973
31692694341285   JESSICA         ALEXANDER                 PA          90014906943
31697561854165   TRACY           JONK                      OR          90014575618
31698661984368   MONIQUE         COLLINS                   SC          90007186619
31699694791584   CHRISTOPHE      BOLAND                    TX          75075646947
31718765272496   JAMES           CLARK                     PA          90007737652
31726575154165   DANA            MORGAN                    OR          90014875751
31743973291232   G               JENKINS                   GA          90014069732
31747859891831   JOYCE           WILSON                    OK          21009968598
31753297291584   CLAUDIA         MURPHY                    TX          75045082972
31755445931424   JENNIFER        MARCOULIER                MO          90013964459
31756499991266   PAUL            MONTGOMERY                GA          90012534999
31762246655972   BRYAN           ROBINSON                  CA          90011332466
31772875691584   JOVANNE         ESPARZA                   TX          90013948756
31772935355972   MARIBEL         HELO ESQUEDA              CA          90007869353
31773568191232   JOSEPH          REECE II                  GA          14585405681
31774859891831   JOYCE           WILSON                    OK          21009968598
31774878491584   ADRIANNA        QUIZ                      TX          90013948784
31777874151339   MARCIE          JENNINGS                  OH          66006318741
31786645155949   REGINALD        PHILLIPS                  CA          90011036451
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31787155236143   KENNETH         AMAYA                     TX          90011091552
31787467651594   CRYSTAL         ALVAREZ                   IA          90013804676
31788264551594   DAYDAY          RAMIREZ                   IA          90014132645
31791155641285   AWES            MUZHIMU                   PA          90009471556
31799419747931   TREVOR          HUTTON                    AR          90013864197
31812469355949   JESUS           PENA                      CA          90011384693
31813891141285   ASHLEY          HUNTER                    PA          90009168911
31815464455972   DARRIN          MCBRIDE                   CA          90014694644
31816181291232   JOSHUA          MUNNS                     GA          90012151812
31816332354165   TERESA          BEARDEN                   OR          90008363323
31819491985943   DJ              GOMEZ 1                   KY          90011314919
31822564951369   ROBERT          LUNG                      OH          90009555649
31825553491584   DANIEL          BARRAGAN                  TX          90012115534
31825982791584   DANIEL          BARRAGAN                  TX          90009839827
31829612272496   MATTHEW         CIAMPANELLI               PA          51060856122
31843754151339   JAMILAH         WAUGH                     OH          66025407541
31849428436143   MARY            VALDERAMOS                TX          90012644284
31849866291831   WHITNEYY        SORTORE                   OK          90013648662
31857773491584   JORGE           CADENAS                   TX          90012067734
31858127254165   ANTHONY         WALLACE                   OR          90007711272
31858685847931   MANUEL          FRAIRE                    AR          90013756858
31861986191584   CARLOS          VARGAZ                    TX          90012429861
31862119777544   ROY             WRIGHT                    NV          43088031197
31863953291232   RAHEEM          BONDS                     GA          90002389532
31867437191584   ERIKA           ZAVALA                    TX          90010424371
31875677991584   TROY            GAYTAN                    TX          90008626779
31875816155972   ELMER           CONTRERAS                 CA          90012788161
31879878677544   GRASIA          PIZANO                    NV          90011058786
31882769972496   ASHLEY          MAUSER                    PA          90009277699
31885178877544   AMANDA          WHITE                     NV          43088811788
31891781154165   MAXWELL         MORRIS                    OR          47018177811
31895435936143   MARCOS          MUNOZ                     TX          90012714359
31897119436143   TINA            SANCHEZ                   TX          90012781194
31897718221631   TERRELL         JOHNSON                   OH          90011977182
31913346731683   JOHN            SCHARR                    KS          90008473467
31914365291584   JESUS           HERNANDEZ                 TX          90014513652
31915288336143   KIM             PAREDEZ                   TX          90013622883
31916687447931   CHRIS           THARP                     AR          90013196874
31917451354165   AYLA            MCCORD                    OR          90004774513
31919696836143   DANIEL          BELMARES                  TX          73574886968
31921981547931   COURTNEY        STACY                     AR          90013289815
31923433691544   MARIA           BROOKS                    TX          90007724336
31936794172496   SHAWN           ZGELA                     PA          90011007941
31942243541285   ALONZO          GRIFFIN                   PA          51008422435
31946836777544   SHAWN           KADELL                    NV          90012928367
31949365654165   WILLIAM         RHODES                    OR          90007583656
31952992672496   SAMANTHA        STEPANIK                  PA          90013509926
31953246891232   SHADAYIA        RENOLDS                   GA          90014242468
31956688936143   NOEL            CHAPA                     TX          90012816889
31959313851369   YULANDA         HALL                      OH          90010083138
31962952291584   MONIQUE         JOHNSON                   TX          90013949522
31963969691584   MARY            ORTEGA                    TX          90013949696
31964432291371   BEATRIZ         BARTOLON                  KS          29091834322
31965955136143   JESSE           PENA                      TX          90014779551
31968891236143   NICOLE          LISERIO                   TX          90012818912
31969793751347   PHILL           HART                      OH          90005477937
31972164777544   KORY            GARVER                    NV          90010971647
31972969491584   JOSE            CORDOVA                   TX          90013949694
31977686347931   LILLYBETH       ALLENSON                  AR          90009876863
31983237241285   MORGAN          STANSFIELD                PA          90014412372
31984233991584   ELIZABETH       HERRERA                   TX          90012162339
31986184831424   PATRECE         GRIFFIN                   MO          90011081848
31986894754165   TAHNIE          WEST                      OR          90008028947
31994742341258   BIRENDRA        JHA                       PA          90014067423
32111915672496   WILLIAM         FURNIER                   PA          90009409156
32112322891538   AMY             AVILA                     TX          90012003228
32126831531424   CASEY           ALBRECHT                  MO          90011008315
32127968791563   DWAYNE          HILL                      TX          90009599687
32135514654165   GARY            BARTLETT                  OR          90004175146
32137912451339   SHAYLYN         DAVIS                     OH          90013459124
32144427877544   ENRIQUE         AGUILAR                   NV          90010994278
32146253951339   JAMES           HOUNSHELL                 OH          90013362539
32155586955972   CRISTINA        RAMIREZ                   CA          90011605869
32156966972496   CLARE           FARRAR                    PA          51012959669
32157684577544   JEANISE         ARM                       NV          90003956845
32159217891563   LUZ             BORUNDA                   TX          90012572178
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32159892677544   KAYLA           DENBOER                   NV          90014218926
32163199272496   JAMES           CAMPBELL                  PA          90014581992
32163366191563   EBER            ESPINOZA                  TX          90012263661
32174377872496   KRISTY          HIBBARD                   PA          90014793778
32175726951369   JACEY           SCHUNK                    OH          90011147269
32188814641277   JOHN            STEPHENS                  PA          90010118146
32191833291531   ARTURO          SALAS                     TX          90005768332
32222535891893   PAULINE         GOSS                      OK          21083335358
32222574691232   BRENDA          JOHNSON                   GA          90009325746
32228847291531   KENNETH         COOPER                    TX          90012138472
32232892251339   ISRAEL          GOMEZ                     OH          90015308922
32245357591563   KARLA           GARCIA                    TX          90010783575
32246493651339   BRITTNEY        PRATHER                   OH          90013114936
32246533491531   GORGE           LUQUE                     TX          90012425334
32249561991531   MAYRA           ORIBE                     TX          90011195619
32253379691563   PICILLA         SANDOVAL                  TX          90012643796
32256431854165   GARY            MARTINDALE                OR          90013744318
32259253154165   CHRYSTYNA       HENSON                    OR          90014382531
32261119957153   ABU             SAKAR                     VA          90006421199
32263324541258   MAURICE         SAUNDERS                  PA          90010553245
32267635891538   BLANCA          GALINDO                   TX          90010456358
32271813191531   VALENTIN        LOZANO                    TX          90002648131
32282353791831   JOHN            GARCIA                    OK          90009543537
32288135891543   BRANDY          TAYLOR                    TX          90012131358
32297368736143   JOHNNY          CORONA                    TX          90010903687
32311867191563   DIANA           MARQUEZ                   TX          90004918671
32324387736143   HOPE            GOMEZ                     TX          90013183877
32325268691356   MARIO           NINO                      KS          90009672686
32337495577544   ROCIO           VILLAGRANA                NV          43039884955
32337589772496   AMY             CARRIGAN                  PA          51061945897
32337861791831   EPHRAIM         PRESTLEY                  OK          90008608617
32341248377544   ASHELY          MCCAULEY                  NV          90010662483
32342861791831   LAURIE          FISHER                    OK          90014338617
32343977391563   JAIME           SIFUENTES                 TX          75045549773
32349147151339   JAY             WATSON                    OH          90012391471
32349584491356   KIMBERLY        BUSH                      KS          90011175844
32363213336143   DEREK           LUGARO                    TX          90012892133
32363944855951   DIANA           SANDOVAL                  CA          90010649448
32365155977544   CASTULA         LOPEZ                     NV          90014951559
32366137141277   JESSICA ERIN    GRAF                      PA          90010521371
32368472641277   ANTHONY         CHIRICO                   PA          90011344726
32368532851339   REBECCA         CALHOUN                   OH          90013835328
32368537541285   GENNIE          SHELBY                    PA          90000255375
32371561854165   TRACY           JONK                      OR          90014575618
32371821391831   CASEY           MAHONE                    OK          90014768213
32376143851369   TERESA          ROSEBERRY                 OH          66049421438
32381871931424   SHELLY          HOLDER                    MO          27550118719
32382311477544   RAUL            ROJAS                     NV          90011093114
32382522236143   YOLANDA         MARTINEZ                  TX          90014785222
32383619691531   PABLO           PAREDES                   TX          90013796196
32386528972496   AMANDA          FULMER                    PA          90012235289
32393481172496   ANTHONY         BROWN                     PA          90014024811
32411824691543   LEE             MARQUEZ                   TX          90009998246
32418846351369   LEON            SHAVERS                   OH          90012288463
32426325391544   CARLOS          GRAJEDA                   TX          90011333253
32433734451339   MEGAN           ANTHONY                   OH          90013447344
32434826691563   RITA            BENAVIDES                 TX          75040588266
32438349836143   MARIA           HERNANDEZ                 TX          73592173498
32438874151339   MARCIE          JENNINGS                  OH          66006318741
32446718391563   DANIEL          AVALOS                    TX          90011507183
32448648151339   DANIELLE        CALHOUN                   OH          90011386481
32448831177544   TRINA           GALVAN                    NV          90012728311
32453629655972   JOSE            CARDENAS                  CA          48036616296
32464453141285   ALISHA          FELDMAN                   PA          51016644531
32464821431458   FATIMA          FISHER                    MO          90009478214
32469755836143   CINDY           HOWE                      TX          73588857558
32474281584368   MAIKOL          ZARATE                    SC          90011072815
32477521884368   SAPORIAH        SIMS                      SC          90012255218
32482993872496   BLAKE           KNOPSNIDER                PA          90013949938
32484212991356   ANGEL           HIPOLITO                  KS          29075602129
32486684736143   JOHN            OROZCO                    TX          90012786847
32495151951339   JENNIFER        STEELE                    OH          90013541519
32517815847931   DANIEL          COWLES                    AR          90012518158
32538634755972   JOSE            LUPERCIO                  CA          90011956347
32541342251339   TIFFANY         GIBBS                     OH          90009463422
32543783891831   SUSANA          MERCADO                   OK          90008987838
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32547169454165   DAVE            GOLDMAN                   OR          47090111694
32553259955972   ANGEL           ESPINOZA                  CA          90014842599
32554148947931   MARISELA        ALBARRON                  AR          90002971489
32555746991563   NAVARRETE       SYLVIA                    TX          90005817469
32556561854165   TRACY           JONK                      OR          90014575618
32556764351369   GURINDERJIT     SANGHERA                  OH          90013827643
32557195872496   ANGEL           KNOPSNIDER                PA          90013951958
32567591191587   PATRICIA        MARTINEZ                  TX          75083975911
32567631647931   MANUEL          GALLARDO                  AR          90012066316
32574512991563   ISABEL          GAUCIN                    TX          90013815129
32575236336143   SHAY            KREMLING                  TX          90012452363
32584698955972   LAI             SAECHAO                   CA          90010936989
32592225336143   MELVIN          SORIA                     TX          90013662253
32598232455951   ERICA           DEOLGADO                  CA          90005492324
32614782191356   SHAELAH         WALL                      KS          90011087821
32618262584368   BRAYAN          VASQUEZ                   SC          90007592625
32619857541277   MARLANA         HUMPHRIES                 PA          51019878575
32621116855972   BLANCA          CHAVEZ                    CA          90013401168
32632122291356   TIFFANY         COLBERT                   KS          90011071222
32632139131424   CRAIG           SNARZYK                   MO          90013681391
32643939841285   KAI             KAMANO                    PA          51028119398
32652993251341   NIKKI           FITRAKIS                  OH          90008709932
32653181741285   SHANNON         STARR                     PA          90011621817
32657336591356   JESSICA         SUSSE                     KS          90012213365
32657735851339   RYAN            SMITH                     OH          90002997358
32658414791831   HELMIN          LARA                      OK          90012564147
32661289231424   GUAN            HEAD                      MO          90013962892
32661539991563   JOSE            CARRILLO                  TX          90014845399
32664428772496   JOSEPH          JOHNSON                   PA          90012714287
32666627572496   CHARLENE        MAUST                     PA          90010736275
32666739291538   ANDY            DIAZ                      TX          90011257392
32667583947873   DARRELL         SMITH                     GA          90001765839
32669717954165   CORRIE          NORTON                    OR          90013397179
32671217436143   SAMANTHA        GARZA                     TX          90011072174
32673929272496   BOBBY           BROWNFIELD                PA          90013499292
32675483547931   KRISTEN         TUCKER                    AR          90008764835
32679553655962   ADRIAN          RAMOS                     CA          90012635536
32686112636143   RUDOLPH         PADIERNA                  TX          90011971126
32695752141285   JAMES           RUSSELL                   PA          90011207521
32696734151339   ABBY            ZACKER                    OH          90010067341
32696759636143   ANGELA          YBARRA                    TX          90007367596
32711258291531   ROMEL           ROSALES                   TX          90013732582
32711595584368   DELORES         JOHNSON                   SC          90010635955
32714815636143   BRANDON         GIRDY                     TX          90013288156
32716349331625   JODY            INSCHO                    KS          90011173493
32721681747931   KRISTINA        SALGADO                   AR          90013556817
32721713791831   JUSTIN          HOLT                      OK          90013987137
32725117991531   MEDINAJESUS     ALFONSO                   TX          90010181179
32735624291563   TOMAS           RIOS                      TX          90005396242
32743951291831   GENO            TRINIDAD                  OK          21066049512
32745152536143   CHRISTINA       SALAZAR                   TX          90010991525
32747296155972   MARIO           LUEVANOS                  CA          90011802961
32749273772496   DAMON           WALTERS                   PA          90013232737
32753389651369   LATORIA         SMITH                     OH          90014563896
32754756431424   ELIZABETH       WALTERS                   MO          90011447564
32755728691356   TIFFANY         GARRISON                  KS          90011307286
32757676157153   CARLOS          OLMOS                     VA          90003926761
32763954947931   TIMMY           BRONSON                   AR          90013189549
32765129647931   JASON           DEGONIA                   AR          90013421296
32769523754165   JACKIE          VILLARREAL                OR          90012245237
32778183341277   MARIO           LOPEZ                     PA          90011691833
32783488357153   ERICK           RODRIGUEZ                 VA          90006824883
32784417851339   MELISSA         WILSON                    OH          90008644178
32796349636143   LAURA           CANTU                     TX          90010993496
32798999947931   OMAR            LAGUNA                    AR          90012079999
32799946991356   AMANDA          CHRISTIE                  KS          90010929469
32815516251339   FRANKLIN        ADKINS                    OH          90006165162
32819454691531   CARLOS          DELGADO                   TX          90003424546
32827735691356   JENNIFER        RUSK                      KS          90012977356
32836521972496   JOY             HOLCOMB                   PA          90010515219
32836693236143   ROSALINDA       GARCIA                    TX          90014256932
32842683551339   JACOB           SALLIE                    OH          90012506835
32856656855972   CAMERON         JONES                     CA          90015016568
32873593136143   TONEY           AGUILAR                   TX          90010345931
32874498247931   LYNDON          NESBITT                   AR          90013544982
32874675941285   RON             MILLER                    PA          90011206759
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32874983291563   ISABEL          VILLA                     TX          90011489832
32875832941258   DENISE          GATES                     PA          90010568329
32877929791563   SILVIA          VIRAMONTES                TX          90003429297
32883418641285   DAMEON          RAY                       OH          90007334186
32895785755951   PEREZ           MARIA DE JESUS            CA          49057587857
32897525177544   ALBERTO         ALONSO                    NV          43089035251
32911235184368   SAMELYA         AIKEN                     SC          90011102351
32912624791531   GERARDO         PEREZ JR                  TX          90013836247
32916159191563   SANDRA          ACOSTA                    TX          75040311591
32917672351369   THERASHIA       JONES                     OH          90013636723
32921352154165   DANIEL          WALLACE                   OR          90008553521
32921445272496   REBECCA         ELLIOTT                   PA          90014304452
32952546857335   WILLIAM         SINCLAIR                  MO          90013785468
32958728731494   MATTHEW         BEALUE                    MO          90003897287
32965634291356   SARAH           YOUNG                     KS          90011126342
32965693147931   JEBEEL          JABJULAN                  AR          90011116931
32969759284368   CESAR           BARTOLON                  SC          90012917592
32977531591356   MARIA           GONZALES                  KS          29053245315
32984419991831   STAKE           LINWOOD                   OK          90013704199
32989996291831   TED             POOLE                     OK          90010129962
32998495577544   ROCIO           VILLAGRANA                NV          43039884955
32999591251331   NICOLE          MURPHY                    OH          66071425912
33112161191563   GLORIA          DURAN                     TX          75045091611
33113573254165   DANIEL          HART                      OR          90012585732
33117577654165   KIKI            SIBERT                    OR          90007165776
33131998977544   JUAN            VAZQUEZ                   NV          43098109989
33134451641285   ERIK            GENSLER                   PA          90012344516
33136562684378   JOSE            LUIS                      SC          90009125626
33155627151339   DESTINY         PUCKETT                   OH          90011236271
33162717651339   JAMILY          BUSH                      OH          90014497176
33172117751369   SIDNEY          LOVE                      OH          90013121177
33173226651369   MISTY           ROWE                      OH          90010712266
33174153591232   BETTY           BARKER                    GA          90006981535
33174892855978   GABRIEL         HOOKS                     CA          90014248928
33174893641258   KATE            FISCHER                   PA          90008138936
33176829991371   BOOK            FROST                     KS          90008888299
33177441155947   ERICA           FLORES                    CA          90010374411
33178123551369   TALEAH          MITCHELL                  OH          90013121235
33182123551369   TALEAH          MITCHELL                  OH          90013121235
33182386891563   LAURA           RUIZ                      TX          90007563868
33194233881642   THOMAS          SORRENTINO                MO          90002882338
33195528991549   FRANK           KORIBANIC                 TX          90014935289
33199388254165   SHARON          WILSON                    OR          90008473882
33211845651339   KRISTINA        BOOHER                    OH          90011258456
33218655636163   ADRIANNA        LOPEZ                     TX          90013976556
33227325541258   JASMINE         BAILEY                    PA          90011313255
33239424631424   SHAWL           BRIGGS                    MO          27511484246
33241314451369   JOY PAYTON      ROE                       OH          90014193144
33242739691563   RICARDO         SERRANO                   TX          90013457396
33249274736143   JUAN            RAMIREZ                   TX          90011032747
33249731291563   VERONICA G      RAMIREZ                   TX          90005437312
33253345577544   ALBA ROSA       SANCHEZ                   NV          43079593455
33258267941258   VALERIE         EBERHARDT                 PA          51079502679
33263557441285   MATTHEW         PETERS                    PA          90012165574
33267294991831   MEONKA          IRONS                     OK          90014702949
33269327951369   ALEX            KASSOW                    OH          90014713279
33275629955972   JOSE            RAFEAL                    CA          90012736299
33276812547931   MIRIAM          CASTRO MARTINEZ           AR          90013678125
33277834391831   JOSEPH          HALL                      OK          90013848343
33286879291371   TONY            DIFOLCO                   KS          90014158792
33288629155951   FRANCISCO       LUNA                      CA          90007306291
33318911991831   RICHARD         KELLEY                    OK          90009509119
33326993836143   JUANITA         ORTIZ                     TX          73583039938
33334597447931   CORY            TROY                      AR          90010195974
33341123336143   CHRISSY         ALVAREZ                   TX          90010451233
33345672654165   SEAN            DOWNING                   OR          90011706726
33347856951339   BRIAN           TAULDEE                   OH          90011578569
33352558293721   MICHAEL         PENNINGTON                OH          90002535582
33353521291371   SERGIO          NAVARRO                   MO          90013075212
33361719747931   SASA            CVJETKOVIC                AR          90010777197
33361731391831   MIGUEL          FLORES                    OK          90004927313
33367468147931   MEGAN           BYRD                      AR          90012864681
33367852347931   KACHIA          PHILLIPS                  AR          90014508523
33371244236143   CRYSTAL         GARZA                     TX          90011062442
33374719747931   SASA            CVJETKOVIC                AR          90010777197
33375334241258   RAHUL           WILLIAM                   PA          90013473342
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33379721341285   JAWANNA         MILLER                    PA          90013637213
33386383691821   DOUGLES         JONES                     OK          90002533836
33387761251339   ASHLEY          TOMLINSON                 OH          90011597612
33388993891371   STEPHANIE       HALE                      KS          90014159938
33389481257126   ANA             MELGAR                    DC          90001084812
33412731541285   KEVIN           ERNST                     PA          90013787315
33418711784378   MERCED          GOMEZ                     SC          90012697117
33424365351369   RAKESHA         THOMAS                    OH          90010863653
33446284551339   LAURA           GRAY                      OH          90011632845
33446787451594   KYIRON          BROWN                     IA          90013917874
33449577791584   PAULA           POWELL                    TX          90003355777
33449867191831   CHRISTINA       PADDOCK                   OK          21077088671
33452377354165   STAS            WALLACE                   OR          90012053773
33453699654165   JULIO           VELASQUEZ                 OR          90013846996
33468544191831   FLORA           CARLO                     OK          90003665441
33474611184378   MARGARITA       BERDUO                    SC          90013876111
33478617191563   BENITO          MENDOZA                   TX          90014156171
33486986291538   VERNICA         DAVILA                    TX          90010509862
33489597391525   CHRISTIAN       REYES                     TX          75098795973
33521263491831   MICHAEL         OVERACK                   OK          90012952634
33523412554165   MERCEDES        FAHLMAN                   OR          90014654125
33524271391963   RICKY           HUNT                      NC          90009492713
33524751891831   JEREMY          GILBERT                   OK          90001457518
33525139491371   BRITANI         GONZALES                  KS          90005611394
33535229751339   NICHOLAS        MILLER                    OH          90014502297
33542328241277   JAIME           COSTELNIK                 PA          90006873282
33544514341277   SHANGO          WALTERS                   PA          90011235143
33544866941277   WALTERS         SHANGO                    PA          90006458669
33567295284378   JERRY           BACKER                    SC          90013132952
33577291391563   ISMAEL          VILLALOBOS                TX          90008672913
33577384341285   SHAILA          ASHBY                     PA          90013223843
33581628691563   ALEJANDRA       CHAVEZ                    TX          90011026286
33594934751339   DEDRA           MEADOWS                   OH          90010209347
33617634651339   SAMANTHA        POWELL                    OH          90014796346
33618153141285   JAMIKA          JOHNSON                   PA          90010471531
33621364541258   MARK            MICKMAN                   PA          90013963645
33625114341258   RON             POLK                      PA          90008171143
33628195391563   JESSICA         GARCIA                    TX          90012791953
33628622791563   JESSICA         GARCIA                    TX          90014776227
33631147347931   LEONARDO        VILLALOBOS                AR          25021381473
33646484855972   DARCY           PRINE                     CA          90012834848
33646824436143   MARK            COPE                      TX          73505038244
33648771347931   TROY            HOSTLER                   AR          90013817713
33654993891371   STEPHANIE       HALE                      KS          90014159938
33674439584378   ISRAEL          SEGUNDO                   SC          90008034395
33676713191232   SAMATHA         SHEPHERD                  GA          90007707131
33678569391831   TAMMIE          DAVIS                     OK          90008725693
33683574191371   ALEJANDRO       GARCIA                    KS          90013395741
33683954651339   BRADLEY         MULLINS                   OH          90014879546
33688628655972   MARIA           PASION                    CA          90010926286
33692912131464   EDDIE MAE       BROWN                     MO          90004299121
33694784191371   HECTOR          GALLEGOS                  KS          90013387841
33699484855972   DARCY           PRINE                     CA          90012834848
33713772247931   CHRYL           HARDIN                    AR          25054517722
33715781551369   FRANCISCO       RAMOS                     OH          66072177815
33716158541258   JAMES           BROWN                     PA          90013951585
33724666236143   ROBERT          ELLIOTT                   TX          90011116662
33729677454165   DAVENA          NEWELL                    OR          90013696774
33734326931468   JASMICIA        TOMPKINS                  MO          90001503269
33741555931424   JESSICA         SCHNEIDER                 MO          90013465559
33744918955972   CANDICE         SHROYER                   CA          90013189189
33751713291371   NESTOR          SALAZAR                   KS          90013447132
33755945551594   MIHRTI          KOSHI                     IA          90013569455
33762322151369   ELIZABETH       KELLER                    OH          90007813221
33766471391831   CLAUDIA         AVALOS                    OK          90011854713
33784388161925   ANGUS           PORTER                    CA          46039043881
33786685141225   SHATERA         LINNEN                    PA          90010666851
33787947791371   DIGNA           GAMEZ                     KS          90010689477
33794454251369   LINDSAY         MOSES                     OH          90010784542
33818579336143   SUSANA          GARCIA                    TX          90010685793
33818795854165   CAROLINA        ARAYA                     OR          90008077958
33822283151369   VICTOR          ARELLANO                  OH          66056562831
33824596741285   NICHOLE         PIERCE                    PA          90012505967
33828758691563   JORGE           MARTINEZ                  TX          90003367586
33842196591563   YOLANDA         ESTRADA                   NM          90013731965
33854143791584   ROSA MARIA      ALVAREZ                   TX          90010171437
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33857686991371   FRANCISCO       AYALA                     KS          90014516869
33867348241258   NICOLE          PORTERFIELD               PA          90013953482
33878515291563   AMANDA          OLIVAREZ                  TX          90014075152
33879699436143   SHONDA          SITTINGDOWN               TX          73527436994
33884236741258   ASHLEY          HOWELL                    PA          90012242367
33885741555972   JENNIFER        RAYO                      CA          90011167415
33889117273221   SANTOS          GARCIA                    NJ          90014451172
33914544991563   JOSE            HERNANDEZ                 NM          75046955449
33918571831424   SHAIKH          ZAHIR ABBAS               MO          90005665718
33919891751321   KEITH           ISAAC                     OH          90001338917
33929877741258   RHIANNON        MARTIN                    PA          90006898777
33935726536143   ALONDRA         MARQUEZ                   TX          90000767265
33937414247931   JEN             DUNN                      AR          90012304142
33938964341258   CALVIN          PETTY                     PA          90010729643
33944384991831   TIFFANY         PATRICK                   OK          90011123849
33948383793761   RASHAAN         JONES                     OH          90011663837
33952619191831   MANUEL          ORTA                      OK          90011926191
33962683291584   RAFAEL          MARTINEZ                  TX          90007296832
33975143747931   ASHLEY          EAST                      AR          90009271437
33981692155972   DANIEL          ESQUEDA                   CA          90002436921
33981989571921   PARAA           VERONICA                  CO          32061989895
33982285436143   ESPERANZA       PARKER                    TX          90005382854
33984838855928   JUCAB           BURTON                    CA          90014818388
33987268155972   MICHELLE        UZZELL BETTENCOURT        CA          48008412681
33993441691831   BIANCA          VARGAS                    OK          90013784416
33994444541258   MICHAEL         DAMON                     PA          90013954445
34118146491563   ALVARO          RUIZ                      TX          75042381464
34121321541277   ANTHONY         FORD                      PA          51094083215
34126715531497   SUSAN           DIPERT                    MO          27589287155
34129832651339   AMY             JONES                     OH          90003558326
34143145141258   CAITLIN         GILBERT                   PA          90012581451
34148167651339   KENNETH         CHRISTIAN                 OH          66059271676
34157887891563   JAVIER          CHAVARRIA                 TX          90003528878
34159488961963   LAUREL          WETZEL                    CA          90014504889
34164158555972   MELISSA         SALINAS                   CA          90014771585
34175696161963   ADRIEN          SMITH                     CA          90007226961
34182167151339   ASHLEY          TAYLOR                    OH          90008451671
34182365741258   MICHELLE        DAVIS                     PA          90006223657
34215626391563   ANA             MARUFO                    TX          90011146263
34219417241285   LISA            BELFIORE                  PA          90013964172
34223136341258   GARY            PAULL                     PA          51004681363
34243546155972   JUAN            DELGADO                   CA          90013405461
34246837663623   CVTE            LOBER                     MO          90012438376
34251331861963   BRANDON         MACCARTHY                 CA          90003193318
34254219591543   ANABEL          NOYA                      TX          90010132195
34254952641285   MONTAY          KING                      PA          90000239526
34262297131424   SKYLRA          CHRISTON                  MO          90010152971
34269952541258   KATHLEEN        MARSHALL                  PA          90014029525
34278718854165   JOSE            SANCHEZ                   OR          90010397188
34283711155972   DANIEL          COTTA                     CA          48042807111
34291142691831   JENNIFER        ALEXANDER                 OK          90012141426
34297695261963   ALEJANDRO       SANDOVAL                  CA          90009096952
34312589755972   DENISE          CABRERA                   CA          90013185897
34317164997131   MINDY           VANG                      OR          90007871649
34322161541258   ANDREW          PRITCHETT                 PA          90013581615
34327442791563   GONZALE         ANTON                     TX          90012884427
34328873961999   RAQUEL          LOPEZ                     CA          90012388739
34333875261963   JODI            SOTO                      CA          90014838752
34338631793761   CLYDE           THOMASON                  OH          90010986317
34345513855974   MARLYN          GUERRERO                  CA          90009625138
34347621251339   CHANELL         BOYD                      OH          90007996212
34349832847931   RUSTON          PERRY                     AR          25060958328
34361482831424   NIGELL          JONES                     MO          90007954828
34365473751339   TONDA           LAIRSON                   OH          90012094737
34373248454165   AIMEE           MAKI                      OR          47083622484
34374246731424   ANDREA          STEINBRUEGGE              MO          90011642467
34378856461963   MARLENE         BLACK                     CA          90008608564
34394945855972   DONALD          ESLINGER                  CA          48023499458
34415378455972   LUPE            BERNAL                    CA          90012563784
34438619561963   RAGIH           YOSSIF                    CA          46047216195
34443949361963   MARCO ANTONIO   MELGARJERO-PIRITA         CA          90011549493
34447855354165   LUIS            RODRIGUEZ                 OR          47000868553
34455371991587   VIVIAN          BURGOS                    TX          75097913719
34455917255972   MARTIN          RODRIGUEZ                 CA          90011329172
34467964941285   JEREMY          KIM                       PA          90013959649
34475527991563   FRANCISCO       MORALES                   TX          90012095279
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34476244491831   SALONE          CATALAN                   OK          90012442444
34484658141258   JOLYNN          GRUSZEWSKI                PA          90014836581
34485948455921   ANDRE           RAMIREZ                   CA          49006729484
34493135244398   LUIS            BARRA                     MD          82004931352
34511734451339   MEGAN           ANTHONY                   OH          90013447344
34521813291831   DENTON          DANNY                     OK          90012188132
34537964941285   JEREMY          KIM                       PA          90013959649
34542374951339   KENNETH         SPIVEY                    OH          90014173749
34558928861963   FELECIA         CANTU                     CA          46079859288
34561479341285   UMAIR           MALIK                     PA          90013964793
34591241554165   DAPHNE          STEPHENS                  OR          90014292415
34593299491563   JACKIE          ONTIVEROS                 TX          90011852994
34593395355927   JUICY           BABY                      CA          90000383953
34597832151371   DARRELL         DUBOSE                    OH          90010938321
34631334191945   ELIZBETH        MARTINEZ                  NC          90006723341
34632485941285   SHAMARA         WEST                      PA          90013674859
34646912141285   TONYE           HOOPER                    PA          90005229121
34665664361963   SAMANTHA        SALAS                     CA          46013666643
34666318554165   NILESHNI        NARAYAN                   OR          90012513185
34669766491563   MICHELLIE       CUELAR                    TX          90007537664
34675511441285   KRISTAN         CIMINO                    PA          90013965114
34677368151339   BRIAN           CHILDERS                  OH          90004063681
34678261691831   BILLY           HARDY                     OK          90013942616
34681261691831   BILLY           HARDY                     OK          90013942616
34687147791525   CYNTHIA         SCHAFER                   TX          90002221477
34695529441285   TARUNA          G                         PA          90013965294
34698773641285   CARLA           STREET                    PA          51084757736
34699363281667   CASHENA         SOLOMON                   MO          90015063632
34711579141258   ELIZABETH       BRAZELL                   PA          90014815791
34713996331424   JESSICA         INGRAHAM                  MO          90011639963
34722733255972   SABRINA         SEDILLO                   CA          90004427332
34723461554165   DONELLE         RUCKER                    OR          90000544615
34728394791563   APRIL           MORENO                    TX          90011103947
34728482541277   HEATHER         ROCK                      PA          90001274825
34729824455972   YESENIA         ALONZO                    CA          90013738244
34735668951339   EDDIE           PRITCHARD                 OH          90015036689
34736718641285   CHRISTOPHER     ALLEN                     PA          90006067186
34737866151339   RICHARD         REED                      OH          90013408661
34744789191831   ROBERT          DAVIS                     OK          21092067891
34745198451339   RIGOBERTO       SERRANO                   OH          90011851984
34764437954165   ROSA            MUNGUIA                   OR          90009354379
34767557241258   SHAHIASTA       KHAEDAROVA                PA          90012645572
34768478555972   JANINE          SALISBURY                 CA          48044574785
34777645491831   CHARMAINE       MACK                      OK          90012026454
34782385941285   SARA            MEYERS                    PA          90013963859
34783519755972   MARIA           MADRIGAL                  CA          90010425197
34785573291538   MIRIAM          GONZALEZ                  TX          90012635732
34795213291563   DENISEE         VALTIERRA                 TX          90004422132
34811576541285   ANJUM           KHAN                      PA          90013965765
34825192991831   JESSICA         HAMPTON                   OK          90013021929
34826637841258   SHAQUALLAH      BEY                       PA          90014726378
34829629954165   JOHN            MOSCONE                   OR          90013956299
34836437891831   ALVARO          MENDOZA                   OK          90012624378
34837669451339   EDDIE           PRICHARD                  OH          90015036694
34847471841258   SHANNON         COLLINS                   PA          51023364718
34859916191543   ROBERT          PIERCE                    TX          90009999161
34867358691563   KIMMBERLY       ALVAREZ                   TX          90013833586
34872638361963   YOLANDA         MALDONADO                 CA          90005196383
34873358691563   KIMMBERLY       ALVAREZ                   TX          90013833586
34873994161963   JOSE            MEZA                      CA          90002789941
34878981991563   BARRAZA         TERESA                    TX          90007139819
34879723991563   ERIKA           MARTINEZ                  TX          90007137239
34894994541285   JOHN            PIRL                      PA          90014519945
34911357131424   MELIA           ROWE                      MO          90011343571
34924479855972   HORTENCIA       RAMIREZ                   CA          90008954798
34925326641258   KRISTOPHER      KOHAN LANG                PA          90010403266
34928497355972   MONSERRATO      SALAZAR                   CA          90013044973
34932421991563   REBECCA         PALLERES                  TX          75065154219
34935972791563   CORINA          MATA                      TX          90012389727
34942673631424   PATRICIA        TOWNS                     MO          90012846736
34946339755972   ALMA            TORRES                    CA          90001023397
34949746361963   JACOBO          JACOBO                    CA          90013917463
34956498954165   JAIME           SILVA                     OR          90007154989
34966178661963   LEROY           LEWIS                     CA          90012651786
34966523755933   WENDY           SANCHEZ                   CA          90010825237
34977362691563   BELEN           GONZALEZ                  TX          90014153626
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34988267641285   JANE            LAWRENCE                  PA          90013922676
34994474291831   ROBIN           WHITE EAGLE               OK          90013944742
34994546154165   CHRISTINA       CHAPMAN                   OR          90014485461
34998834154165   LAURA           LAVENDER                  OR          90010538341
35113831561963   LINDA           LOPEZ                     CA          90009268315
35122861555972   CHRISTINA       CASTRO                    CA          90013238615
35123363491563   MONICA          CASTANEDA                 TX          90007683634
35124588191891   STACY           AYERS                     OK          90008165881
35125933147931   RACHEL          ATIENZA                   AR          90015229331
35131582954165   FRANCISCO       DIAZ JIMENEZ              OR          90014745829
35132153891563   ADRIAN          AGUIREE                   TX          90010131538
35145637991371   JESSICA         SICKLER                   KS          29058136379
35153298391371   M               WILLIAMS                  KS          90005772983
35156398491563   ELISA           ORTIZ                     TX          90010783984
35163629391584   DAISY           DELGADO                   TX          90010606293
35164933447828   JARVIS          WALKER                    GA          90012749334
35169227855972   ANDRES          GARCIA                    CA          90010292278
35176595655972   NAEE EE         SEE                       CA          90012655956
35179879591371   LISA            MORREIRA                  KS          90010498795
35184522331424   KALA            SHACKELFORD               MO          90014605223
35188319991584   ELIZANDRO       TELLEZ                    TX          90014923199
35196541483289   MELANIE         CLARK                     TX          90014505414
35199448491891   AARON           CRAIGER                   OK          90012844484
35222288891584   OMAR            JUAREZ                    TX          90011652888
35226954361963   JAVIER          CARBAJAL                  CA          90006849543
35232181241258   SHAWN           TOWNSEND                  PA          51007521812
35248597391891   KHALID          ALOTHMAN                  OK          90010625973
35251518354165   DONALD          SNIDER                    OR          90014795183
35256656331424   SHARLENA        STEPHENSON                MO          90014606563
35256881191831   RYSHANA         WEBB                      OK          90007858811
35264698291831   CARDENUS        BOYLES                    OK          90013366982
35265823731424   MIR RAHEEM      ALI                       MO          27570068237
35269765891563   APRIL           PORTILLO                  TX          90013777658
35277126891584   LORENA          OROZCO                    TX          90010061268
35287352261963   RUBY            GONZALEZ                  CA          90011503522
35295516891891   LONNIE          MURPHY                    OK          90014435168
35295814641258   SHINETTA        PETERSON                  PA          90004718146
35296184591831   BRANDI          PESTEL                    OK          90011571845
35311366791371   ELIZABETH       GONZALEZ                  MO          90006083667
35316321191563   VIRGINIA        MARTINEZ                  TX          75095833211
35317646941285   MARISSA         PALERMO                   PA          90014496469
35317788654165   JAMIE           OTWELL                    OR          90014807886
35321742291891   LESLIE          GIBSON                    OK          90012847422
35321819955936   BILL            FOSTER                    CA          49021558199
35338652691371   KIEFER          RENFRO                    KS          90015126526
35369535731424   CHRISTINE       ISAM                      MO          90014615357
35372829155972   MONICA          BARNETT                   CA          90014438291
35376815255936   GIOVANNI        RAMIREZ                   CA          90009768152
35378674555936   JIM             KRUSE                     CA          90010616745
35381121691371   ARON            BARKSDALE                 KS          90014411216
35381884354165   RENEE           STEWART                   OR          90014818843
35388473991371   SAIRA           VILLA-SIMENTAL            KS          90011314739
35394996354165   JOLINDA         CHAMBERS                  OR          90014819963
35396379361963   TANGO           TEVERBAUGH                CA          90010113793
35411664291371   JANET           FONDREN                   KS          90013706642
35412427551339   JOSHUA          BUCHANAN                  OH          66065074275
35414379554151   MCCRARY         PATRICIA                  OR          90002653795
35421578791584   CESAR           CONTRERAS                 TX          90011655787
35425578791584   CESAR           CONTRERAS                 TX          90011655787
35425669991563   ABRAHAM         TARIN                     TX          90015066699
35427998851382   RACHEL          HOLMES                    OH          90006499988
35437648347931   HENRY           MADISON                   AR          90014156483
35439612457554   MELINDA         HERNANDEZ                 NM          90009386124
35448479751321   APRIL           TRUE                      OH          90001114797
35449611191584   ARIEL           CARMONA                   TX          90011656111
35457632891371   MARIA           NAVARRO                   KS          90009406328
35458322791563   GUADALUPE       ESCALANTE                 TX          90010713227
35463416761963   JOSE            DESANTIAGO                CA          90010664167
35468152391563   DIANNA          BRIONES                   TX          90010271523
35479686961962   MICHELLE        NUNO                      CA          90008206869
35486724855936   IRENE           VALDEZ                    CA          49060377248
35489167341258   MICK            DIDOLCE                   PA          90011121673
35494143791371   LUIS            APARICIO                  KS          90014171437
35495117554165   LISA            FRYMAN                    OR          90014881175
35496631855972   STACY           HERNANDEZ                 CA          90001736318
35498677955936   DIANA           CALDERON                  CA          90012746779
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35512498947931   KEONIA          NICKERSON                 AR          90015284989
35514995891584   MARIO           CONTRERAS                 TX          90014669958
35521578555972   VINCENT         MANDRELL                  CA          90015305785
35525197441258   WILLIAM         MANTZ                     PA          90014561974
35532229755972   JOSELUIS        RIVERA                    CA          90000292297
35538919691563   JULISSA         MARDEN                    TX          90010469196
35557738891831   TALESA          FANNIN                    OK          90014837388
35562543255936   NEFTALI         GARCIA                    CA          90009885432
35565459331424   JANICA          LARUE                     MO          90007974593
35566858231424   BRIAN           DIXION                    MO          90014628582
35568815955972   STELLA          GARMON                    CA          90011528159
35569287991584   JOEL            GUTIERREZ                 TX          90006562879
35572584941285   CHARLES         SMITH                     PA          90010295849
35572748691891   CARA            THOMASON                  OK          90013737486
35574343641258   WILLIAM         FORKEY                    PA          90013573436
35578543661945   DENISE          BETTS                     CA          90005285436
35589342755936   VICTORINO       PEREZ                     CA          90013913427
35592154754165   LINDA           BENNETT                   OR          90015021547
35596815991371   CARLI           MCCONNAUGHY               KS          90011238159
35596958731424   T ARA           HURN                      MO          90014919587
35612449761963   PAUL            THOMPSON                  CA          90003034497
35621736354165   RUTH            PHILLIPS                  OR          90015047363
35624379461963   MICHAEL         FRISHKORN                 CA          90010503794
35628738761963   SALGADO         LUIS                      CA          90000537387
35638638155972   DUANE           DEAVER                    CA          90007006381
35641525455939   REYES           CORTEZ                    CA          90001775254
35643268491371   CRICKET         WIRELESS                  KS          90009982684
35645828247931   RANDALL         BLANTON                   AR          90013088282
35646798154165   SHAUNTEL        KRIMBOW                   OR          90013257981
35657878361963   MANUEL          CHICO                     CA          46079318783
35659257491563   DIANA           PADILLA                   TX          90014392574
35666332747931   KENIE           JUROUT                    AR          90010953327
35671717955972   JESSE           HARMON                    CA          90012337179
35688388791371   MEGAN           TREINEN                   KS          90014813887
35691113191584   AGUIRRE         LORENA                    TX          90014671131
35694174254165   ANTHONY         ARAGON                    OR          90015091742
35695113191584   AGUIRRE         LORENA                    TX          90014671131
35695183854165   BRIAN           WEEKS                     OR          90015091838
35697788861963   PEDRO           NAJERA                    CA          90001927888
35699688255936   ALBERTO         RAMIREZ                   CA          90012746882
35731139741285   DAN             LICHTEN                   PA          51019421397
35731615355972   DOLORES         GARCIA                    CA          90005996153
35733818291371   VANESSA         MCGEE                     KS          90000628182
35734153161962   CASIMIRO        GONZALEZ                  CA          90011421531
35744852491584   JOSE            PAYEZ                     TX          90006388524
35781929391563   PRISCILLA       RODRIQUEZ                 TX          90011309293
35786688241258   LINDSAY         VASKO                     PA          90009796882
35792646661963   JOSUE           RAMOS                     CA          90010536466
35795255454165   WILLIAM         GASS                      OR          90015132554
35796141857367   BRIAN           WILLS                     MO          90014731418
35797861547931   JESSICA         MIKIDOU                   AR          90006348615
35812626254165   ANNAH           CLARK                     OR          90011396262
35812918754165   ANNAH           CLARK                     OR          90012579187
35813415147931   KELLY           JENDESKI                  AR          90012814151
35813983391563   DANIEL          RAMIREZ                   TX          90002969833
35815199941285   DONALD          BRANTLEY                  PA          90014601999
35832217647931   MELVIN          JONES                     AR          90013742176
35835966631424   MARANDA         WILLIAMS                  MO          90010899666
35836863547931   IAN             MOTES                     AR          90013588635
35839742555972   JAMES           PENA                      CA          90012437425
35843352191831   YOLANDA         GONZALEZ                  OK          90014693521
35845133191891   CHARLES         CLEM                      OK          90002401331
35853156141277   ERIC            BROOKS                    PA          90006491561
35858555285996   MARIO           PEREZ                     KY          90000265552
35859163491584   BEATRIZ         HOLGUIN                   TX          90013911634
35861272955972   BEATRIZ         LIZAMA                    CA          90010272729
35863948155936   GREGORY         RODRIGUEZ                 CA          49053059481
35864694154165   LYN             NIX                       OR          90004676941
35872972991584   ERICK           EGURE                     TX          90011669729
35874932291584   ANGELICA        PEREZ                     NM          90006449322
35878174891563   BRENDA          AGUILAR                   TX          90010271748
35882236831657   CURTIS          KITCHEN                   KS          90008632368
35888481791891   CASEY           MARTIN                    OK          21005034817
35891678354165   STANLEY         WARREN                    OR          90001816783
35895272431424   FRANSOTA        SWOPES                    MO          90011052724
35895638891891   LORI            WOOD                      OK          90006606388
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35895661731424   FRANSOTA        SWOPES                    MO          90011806617
35912339891891   JENNIFER        BRESHEARS                 OK          90007313398
35925478891371   MARIA           ARAMBULA-CARRILLO         KS          90012914788
35925814991563   YVONNE          AGUILAR                   TX          90013698149
35932596555936   CYNTHIA         GANBAY                    CA          90012095965
35933685255936   SARAH           COLE                      CA          90015216852
35939824731424   KEMAL           NAKICEVIC                 MO          90010968247
35945243841285   CHRIS           HOHMAN                    PA          90014602438
35946252555936   APOILNAR        CRUZ                      CA          49042852525
35949274591587   CHRISTY         SALAZAR                   TX          90011012745
35953647141258   COLBY           WEAVER                    PA          90010286471
35962798855972   AGUILAR         GABRIEL                   CA          90006227988
35968258491584   HERNANDEZ       SYLVIA                    TX          90014672584
35971367191538   JUAN            LOPEZ                     TX          75069843671
35974673754165   LEANNA          HURST                     OR          47060686737
35974764191891   CRAIG           FARNELL                   OK          90014317641
35977258491584   HERNANDEZ       SYLVIA                    TX          90014672584
35983641691891   CHRISTIAN       ALBABRO                   OK          90012036416
35983685255936   SARAH           COLE                      CA          90015216852
35984712455936   MARIANITA       LOPEZ                     CA          90013797124
35988561941258   TRACY           SMITH                     PA          90012865619
35992388655936   REBECCA         RODRIGUEZ                 CA          90011353886
35995192691831   TOMIKA          VERSER                    OK          90014211926
35996964341258   STANLEY         HORVAT                    PA          51084289643
35998367454165   REMEDIOS        MARICHE CORTES            OR          90015163674
35999625941277   ANGIE           LEE                       PA          51064746259
36111376541258   LORI            ANN WERNER                PA          90010343765
36126513531424   BRANDON         MCKNIGHT                  MO          90014745135
36126519155972   ANDY            ANDRADE                   CA          90010505191
36128179991891   BOBBIE          MCDONALD                  OK          90012601799
36138139541258   STEPHANIE       THOMAS                    PA          90014211395
36144754191891   JENNIFER        TAYLOR                    OK          90009787541
36178318361963   RAYMOND         JACQUES                   CA          90011583183
36182791255951   CODY LEE        ALLEN                     CA          90010587912
36183694991232   KISHA           ROYAL                     GA          90010306949
36194724541258   CINDY           CLYMIRE                   PA          90011597245
36211586655972   NENG            THAO                      CA          90011495866
36216737855972   SHAUNTEL        DAVIS                     CA          90005377378
36217151361963   DONGLAS         DILLAY                    CA          90013941513
36221581155972   MARTIN          GUZMAN                    CA          48059885811
36221694691584   SANDRA          GASPAR                    NM          90014746946
36223625391943   JUAN            TECAN                     NC          90008856253
36223643391891   JAMIE D         FREEMAN                   OK          21045706433
36236993855972   JEFFREY         VANHERREWEGHE             CA          90013559938
36239149941285   BUDDHI          MAHAT                     PA          90012291499
36252793251339   TAMMY           BRADEN                    OH          90012247932
36255254861963   PATTY           GUTIERREZ                 CA          90002942548
36259166291561   SERGIO          FLORES                    TX          90010801662
36259185291584   HECTOR          RODRIGUEZ                 TX          90011811852
36265651961963   FRANCISCO       BERNAL                    CA          90014826519
36271456551339   TRAVIS          ALLEN                     OH          90013474565
36272193731424   DEEDEE          IULI                      MO          90014771937
36275831331424   JAMES           MCMULLIN                  MO          90012168313
36277827851339   JOSEPH          REED                      OH          90014918278
36283856951339   BRIAN           TAULDEE                   OH          90011578569
36287232261963   DASHAWN         FOX                       CA          90013942322
36294926455951   TAMMY           FREEMAN                   CA          90011109264
36313131141258   STEPHEN         FRISCO                    PA          51072711311
36314757355951   MAYRA           BARRAGAN                  CA          90011877573
36319197941258   WENDY           DOBRANSKY                 PA          90014301979
36323127351382   KAYLA           TURPIN                    OH          90009411273
36323873951382   BRANDEN         HIBBITTS                  OH          90010968739
36328291655933   JUAN            CEBALLOS                  CA          90011882916
36334654255972   MONIQUE         HANNNAN                   CA          90011496542
36336226955951   RACHEL          ORDONEZ                   CA          90012902269
36343373851339   JAE             RIVERA                    OH          90012943738
36343459591584   SULEMA          BUENO                     TX          90014764595
36344727641258   WILLIAM         ZIMMERMAN                 PA          51001457276
36348766455951   DOGG            DOGG                      CA          90009747664
36348946991584   MARIO           GONZALES                  TX          90014389469
36357418231424   MIA             CONEY                     MO          90014844182
36369358691584   TOMAS           GONZALEZ                  TX          90014583586
36369914431424   CLYDE           HAYES                     MO          90014789144
36379164631424   LATISHA         JOHNSON                   MO          90014781646
36382531336143   EVA             GONE                      TX          73596525313
36382926231424   CRYSTAL         GLASS                     MO          90014789262
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36391374591831   RONNIE          FLICK                     OK          90013023745
36392281731424   NECHELL         ADAIL                     MO          90014782817
36395668736143   BRIANNA         RODRIGUEZ                 TX          90011726687
36398317231424   JOHNNY          DONELSON                  MO          90011123172
36411285763625   KIM             KELLER                    MO          90010022857
36415573591891   DAVID           SWEARINGEN                OK          90012085735
36418645291584   REBECCA         PAEZ                      TX          90011816452
36425125661474   AMONDAUX        DALTON                    OH          90014291256
36426675791584   ADRIAN          LOERA                     TX          90011816757
36427519291232   LUQMAN          EL AMIN                   GA          14578755192
36429535931424   NEKEITA         FULTON                    MO          90013865359
36429672141285   STEVEN          JOHNSON                   PA          90009236721
36433599161963   SYLVIA          GALVEZ                    CA          90014185991
36442959531424   ALISHA          TAYLOR                    MO          27597179595
36443939655972   BRANDON         MONROY                    CA          90013639396
36445289761963   CASEY           LONG                      CA          90013952897
36446891755951   JONATHAN        ESPEJO                    CA          90011078917
36449927861963   JONATHAN        SAN AGUSTIN               CA          90013649278
36455443455972   ANGEL           REDONDO                   CA          90012524434
36457977231424   MORGAN          JOHNSON                   MO          90014789772
36458735491584   MIGUEL          HERNANDEZ                 TX          90011817354
36474913155972   MISAEL          RAMIREZ                   CA          90012629131
36476198491584   JUAN            CARREON                   TX          75036171984
36477398455972   MAURA           CUELLAR                   CA          48060573984
36478371351339   JAMES           KNISLEY                   OH          90014573713
36479168441258   ASHLEY          RUEA                      PA          90009941684
36486877191232   RICARDO         PEREZ III                 GA          14591708771
36489522741285   SUNBEAR         COE                       PA          90010785227
36517911236143   THERESA         GALLEGOS                  TX          90011789112
36518565751382   DIEGO           CEBALLOS                  OH          90006905657
36527749361963   OSCAR           AMADOR                    CA          90014187493
36529746691561   ELSA            SOLIS                     TX          90009907466
36541856951339   BRIAN           TAULDEE                   OH          90011578569
36544298255972   VICTORIA        TORRES                    CA          90013302982
36545517955972   SAMANTHA        HINTZ                     CA          90013035179
36546421151339   ANDREA          LATIMORE                  OH          90002924211
36556585791831   BENJI           ROWE                      OK          90003215857
36561154591584   EDUARDO         ALCANTARA                 TX          90010511545
36562766691891   MAURICE         WHITE                     OK          90011307666
36563195631424   LATARI          HARROLD                   MO          90014791956
36568787461963   ALEX            LOPEZ                     CA          90014187874
36572791661963   ANNA            LOPEZ                     CA          90014187916
36573643751382   MELVIN          JONES                     OH          90002446437
36576986155972   STEFANI         SHELER                    CA          90009679861
36577315655951   MARISELA        GUITERREZ                 CA          90010593156
36578327491584   CESAR           GARCIA                    TX          90014773274
36579165161963   DOMINIC         CARRANZA                  CA          90013161651
36582198741258   VICTORIA        MCGINNIS                  PA          51061971987
36594142931424   DONNA           CHAMBERS                  MO          90011071429
36611229751339   NICHOLAS        MILLER                    OH          90014502297
36612576481557   THOMAS          JONES                     IL          90012855764
36619525191584   VICTOR          FARN                      TX          90014765251
36621558291975   DANIELA         OREA                      NC          90013305582
36622525191584   VICTOR          FARN                      TX          90014765251
36623525191584   VICTOR          FARN                      TX          90014765251
36623993661963   KENIA           CANTELLANO                CA          90013969936
36624455255972   EDITH           GONZALEZ                  CA          90009924552
36624525191584   VICTOR          FARN                      TX          90014765251
36625525191584   VICTOR          FARN                      TX          90014765251
36628952393761   ANITA           HEMMING                   OH          90003559523
36648767961963   JOHN            BAILEY                    CA          90014947679
36668936991891   CRYSTAL         RILEY                     OK          90014369369
36674629161963   JEANETH         ECHON                     CA          90011666291
36678931155972   ANGELA          CHAVEZ                    CA          48087759311
36687497155951   LORY            TORREZ                    CA          90004544971
36699171355957   DANIEL          RODRIGUEZ                 CA          90010741713
36711584251339   STEPHANIE       ADKINS                    OH          90013065842
36711842871996   BONNIE          MOON-WALKER               CO          90013628428
36712843355951   ANTONIO         HERNANDEZ                 CA          90011518433
36715637355951   RICARDO         ESCALERA                  CA          49077306373
36719368991891   LARRY           MOORE                     OK          90013083689
36728526155972   MOISES          ZARAGOZA                  CA          90013565261
36729817341285   RAY             PATTERSON                 PA          90013628173
36754275991584   LILIA           OCHOA                     TX          90011822759
36756782555972   HECTOR          MANZO                     CA          90012887825
36757198155972   JESSE R         GALEANA                   CA          90010691981
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36765523231424   DAVIDSON        MERRIWEATHER              MO          90014865232
36772311991584   NONIE           MENDEZ                    TX          90011823119
36772899961963   JESSICA         MCGRAW                    CA          90011688999
36774346591584   VICTOR          OCHOA                     TX          90010453465
36779566731424   ALENE           MARTIN                    MO          90014865667
36784247441258   MARTIN          HARP                      PA          90014242474
36784828591587   IVAN            PUENTES                   TX          90007318285
36787675591584   ELIZABETH       HERNANDEZ                 TX          90014156755
36793897731424   TAMIKA          TURNBOW                   MO          90014708977
36813139955951   OMAR            VENEGAS                   CA          90003271399
36813395391584   MONICA          BURCIAGA                  TX          90014773953
36813785255962   JENNIFER        GUTIERREZ                 CA          48008837852
36825911991831   RICHARD         KELLEY                    OK          90009509119
36828627391891   JEAN            MARTIN                    OK          90012336273
36828958751339   MICHELLE        ALBERTSON                 OH          90012099587
36829173351382   KRISTIN         THOMAS                    OH          66049831733
36831849351339   SHERRY          FUGATE                    OH          90002288493
36836762155927   ALICE           CANO                      CA          90011907621
36841937651339   ROBERT          WEIMER                    OH          66016009376
36843789238531   CHRISTIAN       YOUNG                     UT          90012317892
36847493191584   JESUS           GURROLA                   TX          90014774931
36848787591584   ANTONIO         ALVAREZ                   TX          90013067875
36854211741258   WAYNE           GORDON                    PA          51007282117
36858426391584   JUSTIN          FIFER                     TX          90014774263
36861987831424   CHRITINA        RODGERS                   MO          90008959878
36875249855972   ISRAEL          CHAVEZ                    CA          90010692498
36881267855927   LIZBET          PADRON                    CA          90010132678
36883692155972   HOPE            URIAS                     CA          90013996921
36887821391891   NELSON          HUNT                      OK          90011008213
36889138691891   CHRISTIAN       CALABAZA                  OK          90011011386
36895257155972   ADELA           DELMASO                   CA          90013482571
36899661591891   JAMES           STIMMEL                   OK          90011036615
36912126855951   KELLIE          PAYNE                     CA          90010501268
36921499391584   VIOLETA         VALDEZ                    TX          90014774993
36922977391584   JAIME           SIFUENTES                 TX          75045549773
36924221741285   FELICIA         DEGREE                    PA          90012832217
36933145241285   ARMANDO         GARCIA                    PA          90012111452
36943681455947   TRECHIA         HOUSER                    CA          90010886814
36947958591584   OSCAR           CHAVEZ                    TX          90011829585
36952216691584   MANUEL          COHETO                    TX          90013912166
36953491861963   SIMON           HUBBLE                    CA          90004424918
36955848231424   EPONY           SNEED                     MO          90001028482
36956321191972   JENNY           PERRY ESTRADA             NC          90012983211
36959747561963   JUDITH          FIEDLER                   CA          90015047475
36963164751339   JAMES           COBY                      OH          90013601647
36964537155972   MELISSA         GUTIERREZ                 CA          48021985371
36965255851339   CARLA           WEBB                      OH          90014642558
36967232491891   ASHLEY          BOYKINS                   OK          90014712324
36972617291891   BRIAN           JOHNSON                   OK          90011136172
36973931831424   ANDREA          POWELL                    MO          90009579318
36974517751339   MARCUS          CASH                      OH          90014575177
36975645261986   GUILLERMO       DOMINGUEZ                 CA          90012166452
36977517491584   FRANCISCO       JARQUIN                   TX          90014775174
36991294151339   BRITTANI        GENTRY                    OH          90004242941
36996163751339   ASHLEY          EVERIDGE                  OH          90014391637
36997328841285   DONTE           WILLIAMSON                PA          90012523288
37112751791831   KEVIN           SERNA                     OK          90012787517
37114212741285   MAXINE          BEATTY                    PA          90011202127
37119375391893   RUSSELL         BARNETT                   OK          90013553753
37121257891584   WHITNEY         RIOS                      TX          90011222578
37126853555972   CHRIS           LOPEZ                     CA          90012928535
37136639455951   AMALIA          GRADY                     CA          90012446394
37136748531424   TIFFANY         WALLER                    MO          90004407485
37136852655972   KHAM            SEECHAN                   CA          90013978526
37138387655972   MARC            MILLS                     CA          90013833876
37154343291584   MARINA          DELGADO                   TX          90011223432
37161117984345   KEVIN           BRANHAM                   SC          90014091179
37175332491232   HASAN           PROCTOR                   GA          90011053324
37182379891584   FIDEL           URIBE                     TX          90011223798
37182461455972   GUADALUPE       ORTEGA                    CA          90011624614
37195866291831   WHITNEYY        SORTORE                   OK          90013648662
37228791992853   MELLANIE        COMBEST                   AZ          90014017919
37231232591584   ROBERTO         CASTILLO                  TX          90004942325
37231639641258   KELLY           DAVIS                     PA          90013316396
37234795231424   BRITTANY        BRECKENRIDGE              MO          90013307952
37239853691584   JASON           PEREZ                     TX          90002918536
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37251484791584   REBBA           LEGE                      TX          90010484847
37255771741285   C WEBB          JACKSON                   PA          90013617717
37264813231424   JOANN           PIZZO                     MO          90013308132
37267834531424   VERNTEZ         JONES                     MO          90011398345
37274768393744   NICOLE          MARTIN                    OH          90012347683
37277284241258   AMOS            JACKSON                   PA          90012882842
37279586491893   CARLA           VILLADA                   OK          90013565864
37311789955972   ANGEL           LARA                      CA          90012907899
37312652255951   KONG            LEE                       CA          90006526522
37313732131424   KESHEARA        ROSS                      MO          90011157321
37313892131424   KESHEARA        ROSS                      MO          90013008921
37324975991584   NOSES           MORALES                   TX          90014849759
37329422191584   KARLA           ESTRADA                   TX          90005704221
37343564741258   SARAH           COYNE                     PA          90008865647
37344929591584   STEPHANIE       TADEO                     TX          90014839295
37346543281686   ADAM            TRINIDAD                  MO          90008835432
37354195241258   MARLESE         KELLY                     PA          90011001952
37359243454191   RHIANNA         GREENWOOD                 OR          90007332434
37361316141258   NICHOLAS        BUZZELLI                  PA          90014013161
37364119991584   MARIANO         CHAIREZ                   TX          90010271199
37372212291831   KACY            BIGGS                     OK          90010992122
37375487791992   DANYA           CENA-RAMOS                NC          90011824877
37376297591893   SHAYA           ZWITZ                     OK          90013572975
37377615491831   ALESHA          WILSON                    OK          90001286154
37386273551594   NURA            KUKU                      IA          90012482735
37386951991831   SARAH           ZUNIGA                    OK          90000859519
37388683891831   MARY            WESTBAY                   OK          90013136838
37393156355951   PEDRO           RAMIREZ                   CA          90011821563
37412481331424   TEREMIAH        ELLISON                   MO          90011194813
37416172331424   PAULETTE        ROEBUCK                   MO          90012321723
37416198555951   EDUARDO         OCHOA                     CA          90011821985
37424255355951   JOHNATHON       FRANCO                    CA          90011822553
37428698991584   PABLO           GARCIA                    TX          90001416989
37437267891831   ROSE            LYNCH                     OK          90003852678
37447132955972   RAUL            SALAS                     CA          90012971329
37458344491831   JAMES           WATSON                    OK          90011003444
37464335491831   ROSA            BAUTISTA                  OK          90011973354
37472537191831   AMY             AMBRIZ                    OK          90014285371
37473666391831   DAVID           CLARY                     OK          90012986663
37476979991831   MARIA           QUIROZ                    OK          90012929799
37488181141285   MIKE            SMITH                     PA          90013301811
37499821125655   DAMION          MACON                     AL          90014588211
37512177541285   DEBORAH         KUNZ                      PA          90010331775
37522774155972   ANGELITA        GONZALEZ                  CA          48086617741
37532558255972   ELIZABETH       LOZA                      CA          48035675582
37534682591831   AMBER           CLARK                     OK          90013996825
37563729855972   JOEY            ALVES                     CA          90013887298
37572589751594   FATUMA          NURI                      IA          90012485897
37574514491584   NORMA           CASTILLO                  NM          75060815144
37621798855951   FRANCISCO       ZUNIGA                    CA          49063167988
37636923755951   ROBERT          RODRIGUEZ                 CA          49086869237
37639744241285   SUSAN           GIVNER                    PA          90013987442
37641567991831   KAYSHA          HESS                      OK          90010925679
37641578555972   MONIQUE         MENDOZA                   CA          90011085785
37664137255928   MATILDE         TORRES                    CA          90011571372
37672977891831   JENNIFER        GIPSON                    OK          90012869778
37681979431424   BRIAN           MURPHY                    MO          90014249794
37682279891893   TIARA           HUNT                      OK          90013592798
37695586738531   JOANA           RODRIGUEZ                 UT          90011195867
37717887191584   LUIS            TORRES                    TX          75095078871
37726426731988   QUENTIN         WILLIAMS                  IA          90013944267
37728779241285   ARDRETTA        SCOTT                     PA          90008087792
37735253291893   JENNIFER        LARSON                    OK          90008392532
37741467141258   DAVID           SOUTHWOOD                 PA          90011544671
37743512155951   ROSEANN         MARTINEZ                  CA          90011835121
37755811991893   KELSEY          YOUNG                     OK          90013598119
37766991355972   KARLA           MARTINEZ                  CA          90011909913
37771536855921   RICARDO         NUNEZ                     CA          90007245368
37772566661993   ANGELICA        GARCIA                    CA          90002915666
37778485291578   ART             GANDARA                   TX          75006374852
37797157661435   MEDUIN          LEMUS                     OH          90013791576
37817869641258   LAMMAR          VALENTINE                 PA          90013588696
37823955855951   ARCADIO         PEREZ                     CA          90011839558
37854625155951   CHOUA           YANG                      CA          90012966251
37855542441258   CHRISTOPHER     LEE                       PA          90013495424
37858783541285   SHOMARI         GERRIFTH                  PA          90014827835
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37865191972451   ERIN            GLANZ                     PA          90014611919
37871378255951   MICHAELA        DEGORTARI                 CA          90013143782
37878629655972   JOSE            CARDENAS                  CA          48036616296
37888249641285   AMY             MONGELLUZZO               PA          90008792496
37888989441258   MIKE            SMITH                     PA          90013509894
37892594455972   GONZALO         VELIZ                     CA          90011855944
37892654855972   JOSE            LANDEROS                  CA          90013926548
37899411891584   DAVID           RAMOS                     TX          75035144118
37911969655972   BROOKE          ROBERTS                   CA          90012929696
37918824155951   CHRIS           FIERRO                    CA          90013598241
37922258451347   DESPEANNE       ANDREWS                   OH          90006372584
37933984255972   ANGIE           FUNEZ                     CA          90012929842
37945733555951   MARIELA         GARCIA                    CA          90011967335
37949894755972   ERIC            HAWKING                   CA          90013938947
37951719755972   MIREYA          SUAREZ                    CA          90008387197
37962187191893   JOSHUALIN       WADE                      OK          90013611871
37967149691584   LUIS            ESCAJEDA                  TX          90014861496
37968149691584   LUIS            ESCAJEDA                  TX          90014861496
37971238191893   TONY            NELSON                    OK          90013612381
37979796491584   EDGAR           RUIZ                      TX          90011227964
37982435455972   ALEX            VELASQUEZ                 CA          90015334354
37984316961956   FRANCISCO       HERNANDEZ                 CA          90005493169
37991626691893   MARIA           MEMBRILLA                 OK          90013616266
38113729136143   BRANDI          CARRERA                   TX          90014707291
38129677993761   JOHN            DAVID                     OH          90012856779
38131556936143   RICKY           RIOJAS                    TX          90013885569
38132178131424   AARON           JONES                     MO          90015031781
38132695536143   TANYA           TREVINO                   TX          90011356955
38137739455972   YAMILLETS       CHAVEZ                    CA          90010757394
38138571831424   LAUREN          COOPER                    MO          90013865718
38141789555972   AMANDA          JORDAN                    CA          48084567895
38163253671996   KRISTINA        LOPEZ                     CO          90003052536
38164539891893   JUDY            BILLINGS                  OK          90009575398
38165991536143   MALLORY         MONROY                    TX          90010199915
38167913391356   ANA             VERGARA                   KS          29014979133
38168748636143   NATHAN          VASQUEZ                   TX          90012067486
38176998191232   JERAMY          ROBERTS                   GA          90004759981
38221553841285   VICTOR          NICHOLS                   PA          90003125538
38222716655972   JUAN            VILLAGOMEZ                CA          90013697166
38223546741258   PAMELA          YASKO                     PA          51012585467
38224359255972   SOR             SEE                       CA          90013453592
38232319944376   MEOSHA          BROWN                     NC          90001333199
38244519691371   ROBERT          LEWIS HICKS               KS          90009165196
38246965136143   EMILIO          BALADEZ                   TX          90014639651
38253423341286   WILLIAM         BRADY                     PA          90012904233
38256441855972   ROSA            GARCIA                    CA          90015174418
38258451791356   TERRY           ZAURATSKY                 KS          90010064517
38258976736143   JEREMIAH        LOPEZ                     TX          90014889767
38259983336143   JOSH            LOPEZ                     TX          90013159833
38268513531424   JUSTIN          WHITE                     MO          90010685135
38275719155972   EDWARD          XAVIER                    CA          90013697191
38281271641251   SHEENA          STENHOUSE                 PA          51003172716
38281728751382   ERIC            MCGUIRE                   OH          90005947287
38283563531586   CAROLYN         GRANT                     VA          53086975635
38287174436143   MICHEAL         ESTRADA                   TX          90014791744
38312883377545   FERANDO         FERNANDO ORTIZ            NV          90012548833
38316411241285   ARNOLFO         GOMEZ                     PA          90012814112
38316645355972   LIZETTE         LARA                      CA          90013646453
38324834431424   FAITH           OLIVER                    MO          90013228344
38332731255972   MICHEAL         BROWN                     CA          48090587312
38341295491371   MACY            SEARS                     KS          90011722954
38353423991243   JOHN            SUMMERVILLE               GA          90005124239
38359758431424   TRAVIS          MCCULLOUGH                MO          90001827584
38369165431424   CAMERON         LAWRENCE                  MO          90013401654
38388234555972   BELEN           CARRANZA                  CA          90011612345
38392627341285   ALEXIS          MC BRYDE                  PA          90003186273
38393195831424   SHARNEICE       HASKIN                    MO          90009351958
38394126141285   ALONZO          SEAY                      PA          90012851261
38412338141285   JASON           KREY                      PA          90010653381
38412676336143   CHRISTIE        TREVINO                   TX          73540066763
38418452836143   SANDY           GONZALEZ                  TX          90010314528
38422119255949   EMMA            PEREZ                     CA          90005581192
38423112331424   THOMAS          PATTON                    MO          27501651123
38424564391356   AMANDA          CADENA                    KS          29067785643
38434972341285   DEONTE          ROBINSON                  PA          90013229723
38447363541258   HALEY           SANFORD                   PA          90012433635
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38447676841258   CAMILLE         JOYCE                     PA          90010486768
38464598991371   LAURA           TERRAZAS                  KS          90013205989
38468689891885   DIANE           DAVIS                     OK          90008946898
38473569791232   MARCIA          PENNIE                    KY          14577025697
38481172655972   DAVID           MEDINA                    CA          90012951726
38494286636143   LOUIS           EDWARDS                   TX          90015052866
38498363536143   JONNATHAN       BLATON                    TX          90011253635
38513154736143   CARLOS          MARTINEZ                  TX          90005731547
38522911251382   LADONN          BOOKER                    OH          90006999112
38524837431424   VANITA          DULANEY                   MO          27592278374
38541282551369   JOSE            SANCHEZ                   OH          90007202825
38541494131424   MARCUS          COLLOR                    MO          90010934941
38542973892853   JENNIFER        MILLS                     AZ          90014139738
38547712791831   DANIEL          MONTOYA                   OK          90012697127
38565721136143   KATIE           FARIAS                    TX          90013957211
38568137591831   KRISTINA        ELKINS                    OK          90014361375
38578363254154   TERRAH          DORRIS                    OR          47037453632
38581763491371   GENIEVA         GARRISON                  MO          29014587634
38583174436143   MICHEAL         ESTRADA                   TX          90014791744
38595862841258   BRENLYNN        SMITH                     PA          90003858628
38598177431424   SAM             EVANS                     MO          90012651774
38612647736143   ALEXANDER       CASTILLO                  TX          90011266477
38615845131424   MAHTESA         FOWLER                    MO          90013188451
38616633451382   QUIANA          BENNETT                   OH          90006506334
38622829636143   JOSE            MENDOZA                   TX          90014038296
38631137151369   HEATHER         GEOPPINGER                OH          90008451371
38714685336143   MONICA          SANCHEZ                   TX          90006646853
38749119331424   RONALD          EASON                     MO          90009471193
38754597241285   VICTORIA        POCIASK                   PA          90012725972
38773859991831   SANDRA          SMITH                     OK          90014358599
38781976755972   DRENDA          YBARRA                    CA          90008979767
38784647736143   ALEXANDER       CASTILLO                  TX          90011266477
38795279131424   VICKYE          ALLEN                     MO          90013702791
38822429936143   KIM             ROSALES                   TX          90003334299
38833716893731   ERNEST          ARNOLD                    OH          90011377168
38836369191356   JORGE           ALBERTO                   KS          29019373691
38836938836143   MARK            NORMAM                    TX          90014729388
38855676936143   CYNTHIA         DURHAM                    TX          90014596769
38857217436143   TYRESE          DURHAM                    TX          90014762174
38861861391232   RICHARD         ADAMS                     GA          90004698613
38862198236143   ROBERT          PARTIDA                   TX          90014791982
38865561331424   RICKSHA         CODY                      MO          90014635613
38874471536143   RENE            JACKSON                   TX          90014794715
38895834441258   SHAWNTAE        STEVENSON                 PA          90012398344
38913231536143   STACY           VERHAGE                   TX          90013332315
38914548991831   ALFREDO         ARIAGA                    OK          90012215489
38919783841258   DWAYNE          EDWARDS                   PA          90011787838
38921597955972   LATOYA          SANCHEZ                   CA          48089285979
38929967755972   MARGARITA       DIAZ                      CA          90011819677
38931389941258   LEELA           DAHAL                     PA          90013093899
38932193941258   JACOB           KEFFER                    PA          90014561939
38932394191356   AMBER           HARTSOOK                  KS          29042493941
38952722991561   ERICK           BEJARANO                  TX          90011227229
38953117791371   MARI            REYES                     KS          29005441177
38981387641258   QUENCY          HEAD                      PA          90013033876
38986161955972   RAYLENE         FLORES                    CA          90012321619
38988626331485   GAIL            BRASFIELD                 MO          90006226263
39115438771962   ARCIELIA        SMITH                     CO          90013094387
39122613391831   VANESSA         PAYNE                     OK          90011056133
39128977531424   MICHELLE        CLAYTON                   MO          90014889775
39129464791371   TODD            LESH                      KS          90010344647
39131411355972   JOSHUA          VAUGHN                    CA          48008364113
39137536141258   MARK            LEPPERD                   PA          90011705361
39137584941285   KRISTINA        NELSON                    PA          90010385849
39137859291371   JOSE            BARAHONA                  KS          90009228592
39144486457569   JANET           RASCON                    NM          90014134864
39161865831424   MORGAN          TOWNSON                   MO          90013758658
39165972641277   JOSH            WEST                      PA          90008089726
39182582955949   JACOB           JEFF                      CA          90012575829
39183579791371   MICAH           WALKER                    MO          90013715797
39187571491371   SAUL            MONREAL                   KS          90006745714
39213485157131   CARLOS          AGUILERA                  VA          90008054851
39216133655972   JOHN            JONES                     CA          90012121336
39218481655949   MARIA           MORENO                    CA          90013934816
39226939155949   WILLIAM         FANE                      CA          90014639391
39248284391831   TARAS           WYNNE                     OK          90014872843
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39249178291831   JAKOBE           YOUNG                    OK          90013271782
39256337855972   ASHLEY           DURAN                    CA          48073613378
39257351451341   TINA             AKERS                    OH          90012733514
39257352841258   AMINI            NERSON                   PA          90012303528
39257936841258   JAVIER           ESPARZA                  PA          90014119368
39258323455972   ANA              HERNANDEZ                CA          90014613234
39264545455972   TANYA            PASILLAS                 CA          90004505454
39272787991831   ALEJANDRO        SOLIS                    OK          21087027879
39278738771924   KATHERYN         TORRES                   CO          90011067387
39281231631424   JANAE            OWENS                    MO          90014612316
39283384191831   ERICA            MAKINS                   OK          90011953841
39285389131424   ALEXANDER        JOHNSON                  MO          90012943891
39316366755949   TERRENCE         SMITH                    CA          90011373667
39325426231424   CHRISTOPHER      DAVIS                    MO          90010224262
39326974491371   EMILY            SQUIRE                   KS          90012429744
39329918491543   MIGUEL           VILLA                    TX          90014879184
39347951631424   BRANDON          STEWART                  MO          90012529516
39349466141258   RAHEEN           ALLEN                    PA          90013784661
39353288555972   MICHELLE         MORENO                   CA          90007672885
39372742971923   LARRY            EDWARDS                  CO          90007087429
39385585931424   CHARLOTTE        RICHIE                   MO          90012765859
39386118255972   PEDRO            MACEDO                   CA          48044681182
39386194655949   LUIS ALBERTO     ROSALES                  CA          90012791946
39389315555972   JOY              BAKER                    CA          90013233155
39416211531424   CHENELLE         CHEFFEN                  MO          90010912115
39418683255972   ALVEARN          HOWARD                   CA          90008336832
39419455191831   REBECA           SALDANA                  OK          90003914551
39424296871955   TIFFANY          TRUJILLO                 CO          90013082968
39427127891831   RACHEL           BOHANAN                  OK          90010891278
39428799941258   LEDDIE           BARNA                    PA          90014847999
39432825355972   YOANA            ESTRADA                  CA          90004298253
39435436941277   MICCHELE         GREEN                    PA          90009154369
39437689641285   ROB              ROSE                     PA          90010386896
39442568831424   ELVIS            SMAJIS                   MO          90013835688
39446271541285   ASIA             MILLENDER                PA          90013432715
39457934341285   TRAYVON          SNOE                     PA          51050609343
39472195891584   ALEJANDRA        DIAZ                     NM          90003891958
39478926541258   JERRELL          HOSTON                   PA          90012179265
39511635491831   JOSE             ZARATE                   OK          90010926354
39512127991831   WINDY            COBBS                    OK          90014811279
39524877341285   SAMSON           LEE                      PA          90013138773
39528443141258   AMY              DAVIS                    PA          90014704431
39539474541285   AMBER            KOPRIVER                 PA          90013314745
39554824855949   FELICIANO        MENDEZ                   CA          49021838248
39556352541285   BRENDAN          HERRON                   PA          90014833525
39557599597126   CLAUDIA LORENA   LOPEZ AGULIAR            OR          90013115995
39559263141258   RYAN             GRIFFITH                 PA          90013742631
39562466755972   OMAR             GUDINO                   CA          90014854667
39565868141285   DAVID            VELAZQUES                PA          90013348681
39568221441258   JAMES            LUNN                     PA          90014402214
39573593731424   KELLEN           BOST                     MO          90010675937
39573594591549   STEPHANIE        ZAVALA                   TX          90004575945
39575146591831   FERNANDO         AGUILAR                  OK          90013971465
39577759741285   RONALD           RUSSELL                  PA          90002577597
39581886191371   CODY             GUMM                     KS          90014968861
39616613277544   TIFFANY          CASINO                   NV          90004246132
39624367577534   KEVIN            PHILLIPS                 NV          90011723675
39635719441258   GARCIA           ZARAGOZA                 PA          90013257194
39637293841285   KRISTIE          NAPLES                   PA          90013982938
39639165255972   JOSE             GONZALEZ                 CA          90011491652
39649211531424   CHENELLE         CHEFFEN                  MO          90010912115
39652623441258   JESSY            JONES                    PA          90014036234
39671971391831   CALLIE           YOUNG                    OK          90013539713
39688542441285   JOHN             SMITH                    PA          90014885424
39692298891371   CHARLES          BALDREE                  KS          90011312988
39712146591831   FERNANDO         AGUILAR                  OK          90013971465
39713921755972   ZEFERINO         BONIFACIO SALVADOR       CA          90012139217
39723491955972   DANIEL           ACEVES                   CA          48073394919
39735949585833   AGATA            EBONA                    CA          90008459495
39751411385833   JOSE             CORTESCRISPIN            CA          90011864113
39751485791371   TAMIE            BUCKLER                  KS          29007534857
39754794322922   ROBERT           JOHNSON                  GA          90014107943
39757448591831   SHELBY           MCADOO                   OK          90011854485
39759177441285   LEKESHA          PURTER                   PA          90011081774
39763452255972   KENNETH          MYATT                    CA          90012874522
39764133755947   JOHNNEY          GUTIERREZ                CA          90015151337
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39764149831424   LEON            MACON                     MO          90012551498
39795197891371   DUANE           BOHNERT                   KS          90011901978
39797173971924   ENOCH           VINING                    CO          90007891739
39822871751578   JASON           MITCHEL                   IA          90013488717
39825379991371   CHEVON          BLANKS                    KS          90010063799
39835589741258   LESLIE          RAINEY                    PA          51074315897
39839828691831   JOSHUA          HOLLON                    OK          90011038286
39841599655972   ALEXANDRA       LEON                      CA          90014875996
39864332371943   LINDA           WATKINS                   CO          90001583323
39872633491371   LISA            KIMBLE                    KS          90012876334
39885519741285   MALIKA          EPPERSON                  PA          90011185197
39916748241258   VINCENTI        RAYMUNDO                  PA          90013687482
39918472555949   PETE            SIERRA                    CA          49007864725
39924558255972   DANN            HARRASSON                 CA          90015135582
39939294455972   JANETH          CHAVEZ                    CA          90011432944
39946445855949   IGNACIO         ROMERO                    CA          49010924458
39946927831424   ALESIA          FEATHERSTONE              MO          90011009278
39955384531424   RENIECE         RANDLE                    MO          90011123845
39966977441258   DEREK           BAUER                     PA          90013649774
39995556591831   JULIE           MURRAY                    OK          90014065565
39998963191371   VICTOR          MANSILLA                  MO          90002139631
41111897491549   MARISA          SANTAMARIA                TX          75097588974
41116195651334   LEE             LUX                       OH          90012701956
41118791641294   DESALLES        ROBBINS                   PA          90000697916
41131356791988   KOURTINI        BRANDON                   NC          90009443567
41132966655939   OSCAR           CARRERA                   CA          90010349666
41138723171934   KENNETH         HARREL                    CO          32092417231
41143529291394   JASMINE         GRANT                     KS          29003965292
41146324747871   JOHNNITRE       PALMORE                   GA          90012113247
41153431891394   ELOY            AGUIRRE                   KS          90014034318
41154831771934   ANGEL           MATTHEWS                  CO          32008238317
41156481691569   PRISCILLA       VARGAS                    TX          90011354816
41161519771999   DONALD          PIKE                      CO          38075775197
41172461891988   CHANIECE        TABORN                    NC          90014574618
41177493141294   JOSE            HERNANDEZ                 PA          90006404931
41191916791988   CHISTINE        MCCLURE                   NC          90000399167
41193883961967   CARLOS          VAZAN                     CA          90012648839
41213928161967   ROBERTO         VARGAS                    CA          90012929281
41216914761967   DAVID           GONZALEZ                  CA          90009699147
41233647591547   ERIC IVAN       GARCIA                    TX          75015346475
41238432691988   ASHLI           GREEN                     NC          90014274326
41244995371999   ROSE            PINO                      CO          90003039953
41253816591394   PATRICIA        TORRES                    KS          90008008165
41265413351334   BRANDY          FLEMING-BROOKS            OH          90001984133
41265985342354   WINSTON         SHAVER                    GA          90008289853
41282825261956   ROBERT          ELLERING                  CA          90006438252
41285133555939   DANIEL          GARCIA                    CA          90013091335
41288816893794   ASHLEY          TURNER                    OH          90012988168
41297793361967   MARIA D         SANCHEZ                   CA          90014067933
41312388461963   MARIA           CERVANTES                 CA          90012413884
41317517461963   DANIEL          ARCE                      CA          90015135174
41318558861967   CODY            MELTON                    CA          90014155588
41325625891988   ALFONSO         REYES                     NC          90014576258
41325983791569   JACKIE          REYES                     TX          90007849837
41332853761963   MANUEL          LUGO                      CA          90013358537
41339398755939   RUBEN           SARAGOZA                  CA          90008963987
41351523355939   CRYSTAL         RAMIREZ                   CA          90010985233
41359762251334   BRITTANY RAYE   DAVIS                     OH          90013167622
41366345841241   LATAIJA         BARRON                    PA          90008853458
41367427581639   DALE            LINDSEY                   MO          90007834275
41371389651334   LATORIA         SMITH                     OH          90014563896
41374143191988   CARLOS          GONZALES                  NC          90013301431
41377142471999   DARYL           WALLACE                   CO          90010811424
41384916191569   RUBEN           DAVILA                    TX          75050779161
41387186871999   ANTHONY         GALINDO                   CO          38052361868
41391142471999   DARYL           WALLACE                   CO          90010811424
41392772161963   JOHN            WIPF                      CA          90014557721
41392969293794   TOM             FORD                      OH          66009009692
41421414991873   WILLIAM         WHITE                     OK          90012924149
41425431593794   KAYLA           WAGNER                    OH          90009974315
41426632961967   RAMIL           BULATOV                   CA          46044486329
41428437193767   KIMRII          PERRY                     OH          90012924371
41438621971999   BRANDON         CORDOVA                   CO          90011316219
41442148993794   ROGER           BURTON                    OH          90014541489
41444998261963   RYAN            JUAREZ                    CA          90015139982
41445226861963   OCTAVIO         VALENZUELA                CA          90005182268
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41445671661967   SHIELA          HOFILENA                  CA          90012716716
41446661891988   SHANETHA        ANDERSON                  NC          90010606618
41461219991988   KIARA           DAVIS                     NC          90011262199
41464717341258   TRICIA          CARTER                    PA          51085747173
41475177891394   SAMIYYAH        EPPS                      KS          90014901778
41475961155939   ROBERT          JORDAN                    CA          90014859611
41476676471999   RAYMOND         CORTEZ                    CO          90012126764
41478211441258   TATILA          BELL                      PA          51009502114
41479528743576   MARIBEL         BRAVO                     UT          31002935287
41486336571934   JOHNATHAN       GRIFFITHS                 CO          90003773365
41495147993794   JANICE          CRAMER                    OH          90012601479
41514669191988   LATOYA          DAVIS                     NC          90014586691
41521332991988   CHRISTINO       HERNANDEZ                 NC          90003273329
41522188654191   SCOTT           WALES                     OR          90002601886
41523899391873   MONNICA         LAWRENCE                  OK          90012148993
41528355291569   CAROLINA        GALINDO                   TX          90013083552
41531919855939   ADALVERTO       ZUNIGA                    CA          90015119198
41532576191873   CLINTON         USSERY                    OK          90009245761
41537417251334   KRISTINA        KOEBBE                    OH          90014564172
41537486491569   JENNY           ALVAREZ                   NM          90011404864
41537897491988   MIRIAN          MENDEZ                    NC          90013798974
41542839385841   MICHAEL         MARASCO                   CA          46009318393
41557714261963   ELENA           SANDOVAL                  CA          90013117142
41567324391873   YHACOODAIL      REZZAQ                    OK          90014403243
41574956791569   ELIZABETH       VILLALBA                  TX          90014759567
41575979272491   FRANK           ADAMS                     PA          90006999792
41581621771999   TRAVIS          ALLEN                     CO          90011366217
41585974761963   ETHAN           RUSSELL                   CA          90014249747
41599635291363   IVRON           ROBINSON                  KS          90011196352
41618112191873   STEVEN          TAYLOR                    OK          90013701121
41632585771999   BARBARA         HIGGS                     CO          38044085857
41636698351334   BRYON           JONES                     OH          66033556983
41636833491873   TRENTON         MORRIS                    OK          90010148334
41643317971999   BELINDA         GALLEGOS                  CO          90010403179
41647949741258   STACEY          SMITH                     PA          90001929497
41648747557148   DELVONNO        BLACK                     VA          81076287475
41654725861963   MANUEL          RAMOS                     CA          90013117258
41657443491394   HORACIO         MARTINEZ                  KS          90014814434
41657642961963   LIZETH          NOGAL                     CA          90011666429
41657896591394   JOSHUA          HUNT                      KS          90012848965
41677186951334   CHRISTOPHER     DEMOSS                    OH          90013461869
41679978491988   PAMELA          LEWIS                     NC          90011289784
41687682293794   ASHLEY          KNOX                      OH          90014856822
41691149254151   JESSE           CLARK                     OR          90012561492
41692429761967   AREATHA         HOLMES                    CA          90012854297
41693568271999   REGINA          KOMORNIC                  CO          90010815682
41717447761963   MELINDO         GALINDO                   CA          90008154477
41724414293794   NORMA           PANKO                     OH          90012534142
41734184861963   SMITH           MARQUIS LAMAR             CA          90011671848
41735181991569   MARIBEL         SANCHEZ                   TX          90000481819
41738665841258   LANCE           LOGAN                     PA          90008616658
41738788191569   ANNETTE         CHAVEZ                    TX          90010277881
41741242661963   SIERRA          GILDON                    CA          90014762426
41746919191569   AUTUMN          SALGADO                   TX          90006029191
41747485761967   MARYCLAIRE      BILUNO                    CA          90012754857
41749282491988   DERRICK         MACK                      NC          90014622824
41752222691864   SAMUEL          FOSTER                    OK          90007272226
41754291291988   JOY             SPENCER                   NC          90014622912
41757752741258   BRUCE           ROMESBURG                 PA          90009847527
41761239591988   LAJUANE         SOUTHERLAND               NC          90014622395
41761862391394   INOCENCIA       DEL CRAMEN RAMIREZ        KS          90012888623
41764598491394   JOSUA           PATTERSON                 MO          90012505984
41776388851334   STEVEN          TEDRICK                   OH          90014623888
41776671261963   GERARDO         MONTANEZ                  CA          46005816712
41779672991569   JASIEL          TOVAR                     TX          90011056729
41781514691873   KENDRICK        JOHNSON                   OK          90013695146
41786373161967   MARCOS          GURULE                    CA          90012553731
41797966891569   NICOLE          HERNANDEZ                 TX          90014759668
41817641393794   ERIC            MOORE                     OH          90012996413
41837538861963   DARLENE A.      WIGLEY                    CA          90013245388
41842292393794   CHRISTA         DUGGINS                   OH          90014572923
41846585755999   KATRINA         MORALES                   CA          90010125857
41846945591569   OMAR            ESCALONA                  TX          90008179455
41851356251334   WESLEY          KRAUS                     OH          90011563562
41871587561963   JULIET          PEREZ                     CA          90011675875
41873974661963   BERTIN          GRANDA                    CA          46018189746
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41875726661963   NEISI           GOMEZ                     CA          90013877266
41888528561963   JAZMIN          FRANCO                    CA          90013405285
41892893993728   BRANDY          WILSON                    OH          90010668939
41894728593794   SANDRA          DELAWDER                  OH          90014777285
41897165161967   FREDI           DANIELS                   CA          46042691651
41916737871999   AMANDA          SELLERS                   CO          90013377378
41919618738541   PATRICIA        HERNANDEZ                 UT          90010356187
41922372451334   DEMICO          TOLLIVER                  OH          90012943724
41928372855939   ANDREA          SWIFT                     CA          49013553728
41938422555939   PEDRO           TREJO                     CA          90013134225
41951432955939   IRIS            VALLEZ                    CA          90013134329
41957557661967   ISRAEL          ORTIZ                     CA          46015655576
41957738991394   DEYANIRA        ANDRADES                  KS          90012337389
41961576551334   WHITTIER        HEARD                     OH          90012525765
41962387955939   ALANA           POWERS                    CA          90010503879
41965895861963   JOSE            BARRAGAN                  CA          90013088958
41967365271999   SYLVIA          GARCIA                    CO          38071643652
41971843291569   MIKE            RIVERA                    TX          90011128432
41972295447954   MELINDA         YEGGY                     AR          90000422954
41975448851334   SAMANTHA        SMITH                     OH          90011114488
41976467161963   JESSICA         CATANEDA                  CA          90013234671
41976613493794   JERRY           WALKER                    OH          90010326134
41976653871934   BRANDON         WARD                      CO          32006016538
41977772771999   FRANSICO        CHISM                     CO          90011947727
41992915393794   SALINA          SELF                      OH          66074869153
41995161581639   NICK            CANON                     MO          29080711615
41998982461967   ERIC            ESTRADA                   CA          90012829824
42118728291248   BROWN           WILLIAMS                  GA          90013447282
42123986891873   SHANON          TYSON                     OK          90013839868
42124193191351   FREDRENIA       WALLACE                   KS          90013931931
42125565751334   CARLA           RICE                      OH          66002515657
42126467661967   MAURA           CARRERA                   CA          90010474676
42132737761967   CHANSE          A                         CA          90013947377
42136226257122   PETER           OCTHERE                   VA          81027212262
42136293571999   PABLO           MOLINA                    CO          90014392935
42137563561967   JACQUES         TJWREATT                  CA          90013235635
42144564951334   ROBERT          LUNG                      OH          90009555649
42152573277349   CARMEN          GUEVARA                   CA          90009935732
42158854171999   AIOTEST1        DONOTTOUCH                CO          90015128541
42165617961963   SAMANTHAN       RINCON                    CA          90012916179
42173429791873   MARY            MCKINNEY                  OK          90002824297
42174728391569   ROBERT          CASARES                   TX          90010727283
42177959671999   ROSEMARY        VEGA                      CO          90011079596
42179567691569   NEFERTITI       OJEDA DE ENRIQUEZ         TX          90015115676
42181619793794   CHAD            CRAYCRAFT                 OH          90014706197
42193577991569   SERGIO          PEREZ                     TX          90012395779
42194778561967   EDGAR           RUIZ                      CA          90013947785
42197828893794   NATHANIEL       PERDUE                    OH          90009398288
42199119333626   JACQUELYN       HERBIN                    NC          90009541193
42212817261967   SILVIA          CORTEZ                    CA          90013948172
42213191893794   AMBER           ROBBINS                   OH          90011231918
42218934993794   JASON           HICKS                     OH          90014779349
42222712561967   JESUS           PANTOJA                   CA          90013067125
42223735691351   JENNIFER        RUSK                      KS          90012977356
42231253361963   BENJAMIN        WEBER                     CA          46011842533
42231395161963   COREY           ALVAREZ                   CA          46088443951
42237332751361   MANNETTE        CRUTCHER                  OH          66075163327
42238812791569   SOL             JURADO                    TX          90007798127
42246412491873   JAMES           WRIGHT                    OK          90011834124
42247479891569   LAURA           LUGO                      TX          90011854798
42253423971999   DANEILLE        QUINTANA                  CO          90006734239
42264558691873   CHRISTOPHER     PHILLIPS                  OK          90009885586
42265362441258   RHONDA          TRUAX                     PA          90001413624
42269632893794   KELLI           MOORE                     OH          90003326328
42274675271999   JAMES           PEABODY                   CO          90013296752
42287213151334   DELIA           RUBIO                     OH          90010342131
42291224761967   DG              MINNER                    CA          90012792247
42291917361963   MICHAEL         AMARO                     CA          46011889173
42323138991569   IRAN            ORTIZ                     TX          75014521389
42335155251334   CHERYL          ILHARDT                   OH          90014831552
42337277491351   KAYLY           CORRELL                   KS          90011112774
42338962551334   ANGEL           PERALES                   OH          90012019625
42354922861967   MARGARET        MILLER                    CA          90012239228
42363381161963   CIPRIANO        CONTRERAS                 CA          90014183811
42367277491351   KAYLY           CORRELL                   KS          90011112774
42369231291569   FRANCISCO       MANRIQUEZ                 TX          90012072312
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42371464651334   NEFTALI         NOLASEO                   OH          90013464646
42372229291873   MISTY LIN       SCHRIMSHER                OK          90014102292
42384836461967   VICENTE         CORTES                    CA          90013058364
42386256471999   GUILLERMO M     MOLINA                    CO          90012972564
42386662891873   SAMUEL          LYTLE                     OK          90013436628
42433453391351   AMANDA          MAHAN                     KS          90013374533
42434229671999   MATTHEW         HAMILTON                  CO          90013962296
42435454361995   JOSE            FLORES                    CA          90008114543
42435457661967   JESUS           ZELEDON                   CA          46088574576
42447663951334   TEKESTE         GHEBREBR                  OH          90012846639
42449138591873   WILLIE          HILL                      OK          21009071385
42449659791527   MARIE           BARRON                    TX          90010896597
42455124981665   MEGHAN          MEADE                     MO          90013231249
42464859293794   MADELINE        ALLEN                     OH          90011828592
42473286171999   CHRIS           STEWART                   CO          90013352861
42482169241258   ROBIN           PHILLIPS                  PA          51037981692
42484589451334   SHERRY          QUEEN                     OH          90010265894
42484968451334   MICHAEL         FRITZ                     OH          90014599684
42488637457549   JOHANA          MAJALCA                   NM          90008856374
42493495151383   DEBRA           MAYS                      OH          66015524951
42511486391569   BLANCA          GRIEGO                    TX          90007834863
42512785461967   JONNIE          BENAVENTE                 CA          90012967854
42514686561956   ANGIE           TORRES                    CA          90013276865
42516624684321   LATOYA          FERONE                    SC          90009016246
42517658171992   CARLOS          CAZARES                   CO          90013026581
42521213161963   ESPERANZA       MORA                      CA          90012162131
42531995971999   RAY             ABEYTA                    CO          38067589959
42535453391351   AMANDA          MAHAN                     KS          90013374533
42536391591569   JESSICA         CORAL                     TX          90012243915
42573857971999   ASHLEY          MALDONADO                 CO          90011188579
42574181855939   SANDY           DAKIN                     CA          90007951818
42587885555939   JANETTE         VASQUEZ                   CA          90010548855
42591885555939   JANETTE         VASQUEZ                   CA          90010548855
42592271761963   GEORGIE         CRUZ                      CA          46082352717
42596214571999   NATHAN          URENDA                    CO          90007872145
42599113991873   EVELYN          WALLACE                   OK          90013841139
42611188461967   ANN             LEE                       CA          90012921884
42612224471999   CAROL           KING                      CO          90012652244
42625384771999   RACHELLA        MARTINEZ                  CO          90011153847
42633866151334   SHANNON         CARPENTER                 OH          90003988661
42643362691569   BELEN           GONZALEZ                  TX          90014153626
42649342251334   TIFFANY         GIBBS                     OH          90009463422
42651953951334   JASON           DUNCANSON                 OH          90011049539
42657714572498   JAMIE           GRAHAM                    PA          90007837145
42661291891569   MARIO           GONZALEZ                  TX          90014392918
42662459891569   MARTHA          SANCHEZ                   TX          90004374598
42666821861924   MICHELE         MAULUCCI                  CA          90003168218
42679437293767   DIOR            ISOME                     OH          66095004372
42688996191569   CESAR           MARTA                     TX          75000019961
42691149171999   DANIEL          DACE                      CO          38082801491
42716182891351   DE ANGELO       THOMPSON                  KS          90013271828
42734137171999   RICHARD         VIGIL                     CO          90013121371
42739234251334   CHRISTEL        LACINAK                   OH          90008722342
42741534861963   ALEX            LEARY                     CA          90013205348
42763637181669   MARVIN          HORN                      MO          90013826371
42767375391351   YOLANDA         MUNOZ                     KS          90012653753
42787465151334   MISTY           LUNSFORD                  OH          90005314651
42796495191351   DEMONTE         HARRIS                    KS          90013224951
42828531171999   LATASHA         CERVANTES                 CO          90012695311
42832497861986   MARIA           GONZALEZ                  CA          90013804978
42832636491569   MAYELA          JASSO                     TX          90012866364
42835647361925   GUILLERMO       TORRES                    CA          90003846473
42835914861967   JOHN            WALKER                    CA          90007979148
42837365161963   ARRU            OELKE                     CA          90009513651
42838292861963   WAIL            ALBAKRI                   CA          90008492928
42847382171999   KRYSTAL         MUSTARD                   CO          90007803821
42862611391351   SHAWN           BOSWELL                   KS          90013216113
42872443291351   JUAN            GOMEZ                     KS          90011134432
42877382171999   KRYSTAL         MUSTARD                   CO          90007803821
42881847391873   MATTHEW         TERRAL                    OK          90013928473
42882831371999   GINA            MEDINA                    CO          90011118313
42883466361963   GELACIO         MORALES                   CA          90013204663
42885528561967   TATIANA         WHIZAR                    CA          90013125285
42893786791569   LUIS            VILLA                     TX          90006037867
42898186571999   DANIEL          HOWELLS                   CO          90012851865
42913132491351   AMBER           BOYLE                     KS          90011151324
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42924677661967   KATHERINE         RODGERS                 CA          90013956776
42929711955939   GLORIA            DELGADO                 CA          90010557119
42953828471999   JAMES             SIERRA                  CO          90014388284
42956286171999   CHRIS             STEWART                 CO          90013352861
42965127161967   JAZMINE           NAVARRO                 CA          90008551271
42973288691569   MARIA             VEGA                    TX          75051182886
42986694655939   CAROLYN           CARRISOSA               CA          90008666946
43113112361963   ALBERTO           ALONSO                  CA          46016631123
43114524691523   BLANCA            HERNANDEZ               TX          75055355246
43114834671999   IRENE             GARCIA                  CO          90011238346
43118918571999   REGINALD          BROADUS                 CO          90012169185
43119396561963   DANIEL            NARVAEZ                 CA          90007133965
43119932291523   ANGELICA          PEREZ                   NM          90006449322
43133912461963   ARIANA            GOMEZ                   CA          90014959124
43138772851334   KEASIA            ROBERSON                OH          90013347728
43145892671999   CRYSTAL           ZUNIGA                  CO          90014788926
43151331971999   BROOKE            VIGIL                   CO          90013243319
43152813372452   DOUGLAS           SLAVIN                  PA          90011038133
43153924877595   JESSICA           PRICE                   NV          43088999248
43161142191569   JESSICA           ARMENDARIZ              TX          90013511421
43161834755939   MAGNOLIA          RAMIREZ                 CA          90012918347
43162119984336   MARCUS            COLEMAN                 SC          90012141199
43172297971934   JODY              VOLK                    CO          32005082979
43174834961963   LUCINA            PERPULY                 CA          90007498349
43175764555939   ASHLEY            MONSON                  CA          90012787645
43175955977595   DESIREE           JACKSON                 NV          90010229559
43184453891394   MIGUEL            ESPARZA                 KS          90009034538
43197435861967   FABIAN            SEGOVIA                 CA          90014994358
43217718371934   RICHA             GRUNDEN                 CO          32069237183
43226258491873   JACKLYN           ALVEREZ                 OK          90010952584
43229233991569   ALFREDO           GONZALES                TX          90009902339
43232346491873   WAYNE             MILES                   OK          90010343464
43234138261967   ANTHONY           MACIAS                  CA          90011181382
43247933151383   KEVIN             NASH                    OH          90014629331
43252873355939   ROBERT            CERVANTES               CA          90011478733
43262493461967   CARINA            CASTRO                  CA          90006054934
43269937751334   JAIRO             FERNANDEZ               OH          90012309377
43275937751334   JAIRO             FERNANDEZ               OH          90012309377
43276457891873   SAMANTHA          RANKINS                 OK          90011524578
43282328261963   BROOKE            HENRY                   CA          46096703282
43282369977595   CHRISTINE         BOYD                    NV          90011243699
43286783755939   LISA              STANTON                 CA          90006367837
43287271691873   JEFFERY           CUMMINGS                OK          90013772716
43287825891569   ALBA              SOSA                    TX          90001228258
43294791551334   DESHAWN           PHILLIPS                OH          90013247915
43311315185931   CARRIE            PRESTON                 KY          90000943151
43326571355939   BRIAN             KIRBY                   CA          90013495713
43328463971999   BRIANNA           HOLDERNESS              CO          90013694639
43352517791569   FRANCISCO         MORALES                 TX          90014665177
43354646791569   ELVA              RUIZ                    TX          75072666467
43358564661963   ENRIQUE ANTONIO   SANDOVAL                CA          90013935646
43375765791569   JONATHON          ARGANDONA               TX          90012757657
43378569391569   NOE               SORIA                   TX          90013345693
43381979391523   MUNOZ             CHRIS                   TX          90010959793
43382125371999   JAMES             CARBAJAL                CO          90014281253
43387643151383   TIMOTHY           CRAWFORD                OH          90011596431
43393419591873   JAMES             SCOTT                   OK          90014384195
43393457891873   SAMANTHA          RANKINS                 OK          90011524578
43413464877595   GUILLERMINA       CASTILLO                NV          90003774648
43413515977595   BRITTNEY          OLEARY                  NV          90014245159
43432593691873   DONZA             SETTLES                 OK          90015185936
43441919661963   JAMES             HUFF                    CA          90014959196
43455394491569   GLORIA            ROMAN                   TX          75074313944
43461459755939   CARLOS            GOLLETTE                CA          90013104597
43462147861975   ILLIANA           AYALA                   CA          90001291478
43493315371999   KATLYN            CASTRO                  CO          90013463153
43494825851383   MONTIJAE          MARTIN                  OH          90011808258
43495136891569   JOVANNA           RODRIGUEZ               TX          90004741368
43523478361963   LUKE              HASTINGS                CA          90013304783
43524999861967   BENJAMIN          VALDEZ                  CA          90011159998
43526981791569   CHRISTOPHER       VASQUEZ                 TX          90011349817
43527445377595   MICHAEL           LABRIE                  NV          90012194453
43535531291569   STEPHANIE         MANRIQUEZ               TX          90013365312
43541179591569   STACEY            LUJAN                   TX          90014021795
43541498193768   PAIGE             SMITH                   OH          90012544981
43546197177595   ROLAND            BROOME                  NV          90009341971
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43554445961941   ROBERTO         GOMEZCABRAL               CA          90010194459
43555251355939   SAULO           HERNANDEZ                 CA          90011212513
43556351955939   AXEL            NINO                      CA          90013983519
43557142861963   AMBER           MARTINEZ                  CA          46060541428
43563233691569   BOGAR           ORTIZ                     TX          90012872336
43569111961963   JESUS           DIAZ                      CA          46098291119
43571291251383   JOHN            MULCAHEY                  OH          90002462912
43572142861963   AMBER           MARTINEZ                  CA          46060541428
43573579691873   CHRISTINA       CLARK                     OK          90013265796
43574997291873   BRIAN           SCHENCKS                  OK          90013719972
43585398877595   BRENDA          MAYNOR                    NV          90006793988
43588215791873   SHELIA          CEARLEY                   OK          21038402157
43588579691873   CHRISTINA       CLARK                     OK          90013265796
43589858891523   EULALIO         GARCIA                    TX          90009048588
43592441461967   CU              VO                        CA          90012444414
43593734377595   LUIS            RODRIGUEZ                 NV          43008177343
43613727371924   HUGH            DOWNEY                    CO          90001417273
43621174751383   TORI            GRANT                     OH          90014641747
43623191361963   ISIS            VERDUGO                   CA          90013081913
43636776655939   JANESSA         MORA                      CA          90014847766
43647818861963   CARL            MELILIO                   CA          90014378188
43649659951334   MARISOL         RIVERA                    OH          90009116599
43652776655939   JANESSA         MORA                      CA          90014847766
43653212755939   JUAN            ATKINSON                  CA          90008432127
43654849655939   AMADOR          VENEGAS                   CA          90013178496
43663426251334   JEREMY          MEADORS                   OH          90012954262
43667142655939   JOSE            HERNANDEZ                 CA          90013321426
43673268851383   EDGAR           GABRIEL                   OH          90014652688
43674941661967   GLENNA          RANKIN                    CA          90004869416
43692461691569   YVETTE          ORDAZ                     TX          90009814616
43697644491873   ARACELI         MORENO                    OK          90006366444
43718356791881   MONICA          PIERCE                    OK          90012563567
43727391355939   SANDRA          MORALES                   CA          49010993913
43734232261963   LAMONT          RUSSELL                   CA          90002012322
43763663655939   JESSE           GALINDO                   CA          90011936636
43767258991569   HEIDI           GUTIERREZ                 TX          90014012589
43769635361967   SMILEY          GUARDEDO                  CA          90014956353
43783247177595   WESLEY          BOHANNON                  NV          90014722471
43792237451383   BARRY           REYNOLDS                  OH          90006512374
43796961551383   EFREM           CHARLES                   OH          90011819615
43811795191569   CESAR           BELTRAN                   TX          90011687951
43834572155939   YER             HER                       CA          90014085721
43841221491394   RICHARD         GONZALEZ                  KS          90009592214
43842238355939   DAVID           CHATWIN                   CA          90010862383
43849547177595   PRINCE          CORDOVA                   NV          90007965471
43852282871999   RAYMOND         MORA                      CO          90015032828
43852936271999   JONATHAN        LOPEZ                     CO          90012539362
43859371371999   ALEXANDER       SERNA                     CO          90009843713
43862837291569   HORTENCIA       LOZANO                    TX          90012508372
43866752577595   JAIME           CAMBELL                   NV          90006177525
43866775777595   JUAN            ACOSTA-ESCOBAR            NV          90014747757
43872699177595   ROBERT          DAWSON                    NV          90007176991
43877559791873   PATTI           CARLSON                   OK          90012395597
43882867577595   CLAY            SMITH                     NV          90014748675
43894654371999   BREANNE         ORTEGA                    CO          90013156543
43895865891569   AIDA            RODRIGUEZ                 TX          90013568658
43911436591834   MICHAEL         COMBS                     OK          90010294365
43913939791873   PATRICIA        LAY                       OK          90013449397
43914177955939   ALEXAUNDRA      GRANDISON                 CA          90014481779
43915989677595   LEONEL          VALDEZ                    NV          90006219896
43922832761963   ENRIQUE         VIZCARRA                  CA          90013128327
43925943361963   JINGXING        WAN                       CA          90009519433
43929264377595   LUIS            LOPEZ SALINAS             NV          90014752643
43932967951334   ASHLEY          TURNER                    OH          90010469679
43934425451383   LATITIA         MOORE                     OH          66027714254
43938797871934   JOHNNIEMAE      HAMPTON                   CO          90012287978
43942438951383   STEPHEN         LAIRSON                   OH          90014644389
43949116461967   MARTHA          ITURRALDE                 CA          90009471164
43954214151336   RASHUNDRA       SMITH                     OH          90004162141
43956531291569   STEPHANIE       MANRIQUEZ                 TX          90013365312
43964997991394   SULMA           HERNANDEZ                 KS          29098609979
43969734377595   LUIS            RODRIGUEZ                 NV          43008177343
43971995371999   ROSE            PINO                      CO          90003039953
44113727191869   KELLI           INMAN                     OK          21096167271
44115533191873   VICKI           CARPENTER                 OK          90011955331
44115871151334   BLAIR           COUCH                     OH          90012838711
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44118244151383   ADAM               MARTIN                 OH          90006802441
44118363761963   JAZMIN MONSERRAT   GARCIA PEREYRA         CA          90014163637
44124688171934   ALBERT             YBANEZ                 CO          32059486881
44127321351334   HERSHEL            WHITE                  OH          90009843213
44139747661963   ENRIQUE            CORONADO               CA          90006747476
44141327172443   WALTER             LEHMAN                 PA          90013443271
44152154891941   LORRAINE           DOUTHIT                NC          90014191548
44153213161967   ABRAHAM            ALATORRE               CA          46089692131
44156957641294   ORREIN             GODFREY                PA          90011789576
44164595931673   WAYNE              KINNEY                 KS          90014675959
44168133743575   CARLOS             MANZIA                 UT          90013081337
44171543291569   MARY ESTHER        GALVAN                 TX          90009535432
44182465651332   MARCEL             WALTON                 OH          90010104656
44183473691351   JEREMIAS           TOLEN                  KS          90011204736
44186194451382   MELLANIE           BEGLEY                 OH          90005611944
44197113755939   MIRIAM             MARTINEZ               CA          90002791137
44197951691873   MEGAN              BOND                   OK          90014069516
44218163647954   JUANCARLOS         LOPEZ                  AR          90008871636
44218175851334   KEVIN              BROWN                  OH          90012271758
44225863891328   SHANTY             JOHNSON                KS          29006538638
44238852672443   LISA               GISHNOCK               PA          90011058526
44242221761963   RUBEN              CORONA                 CA          90009082217
44246469391569   JACQUELINE         VASQUEZ                TX          90008464693
44253918447954   FRANCISCO          SALAZAR                AR          90014659184
44271381761967   PATRICIA           CARTER                 CA          90011803817
44275332947954   JUAN               AYALA                  AR          90012803329
44279147691873   KATHY              SEALS                  OK          90010941476
44281715772443   CHEIS              DELLO                  PA          90013757157
44289291547954   AMANDA             SPILLERS               AR          90014912915
44311215961963   ANTHONY            SMITH                  CA          90012922159
44316358691351   REBEKAH            HOWELL                 KS          90008283586
44316778491527   LEOVARDO           CERDA RIVERA           TX          90006227784
44318389261967   LUIS               LEYVA                  CA          90011803892
44321389361967   JAMES              GROVER                 CA          90011803893
44343423361963   ALBERTO            RUIZ                   CA          90014864233
44348113291351   JAMES              BOWSER                 KS          90010971132
44354614541258   JOHN               FREIBERGER             PA          51078186145
44354756471934   MAKAYLA            EDWAKDS                CO          90009867564
44357762872443   LINDSEY            WEIMER                 PA          90014857628
44359779547954   BRIDGET            PLANCARTE              AR          90004717795
44363568471934   APRIL              ADAMS                  CO          90011685684
44372117141294   THERESA            HINES                  PA          51078811171
44383722951334   ABY                GONZALEZ               OH          66006587229
44389898891569   BRYANT             OKELLY                 TX          75003028988
44396923971934   CHRISTOPHER        OSWALD                 CO          90007319239
44397524191569   JAVI               MORLES                 TX          90000865241
44414599271968   MICHELLE           FREEMAN                CO          90004705992
44419219661963   JENNIFER           BUSTOS                 CA          90012932196
44424819581625   ACE                WHEELER                MO          29014298195
44443621591569   LAURA              LOZANO                 TX          75000666215
44444582471934   ESTEFANITA         ALDAVA                 CO          90010535824
44445413351334   BRANDY             FLEMING-BROOKS         OH          90001984133
44445935661967   AARON              PRIOR                  CA          90011809356
44454435272443   BRENT              NICOLO                 PA          51074444352
44483132751382   ED                 OTEY                   OH          66086411327
44525891161944   AUDREY             DAZZO-REYES            CA          90010178911
44529973751334   THOMAS             RICKETTA               OH          90010859737
44539171571934   RICARDO            GUTIERREZ              CO          90011691715
44561864661963   CARLA              VALENCIA PALOMARES     CA          90013438646
44564319191873   ERIC               DON                    OK          90012703191
44568641251382   PAULA              DAVIS                  OH          66085376412
44585693691351   EDWARDO            MOTA                   KS          90012376936
44586345461967   JOSE               VALDERAMA              CA          90011813454
44586552384386   DEMETRIA           JENKINS                SC          90009405523
44587222691351   DERIUS             HENDRICKS              MO          90014762226
44591264691873   JOY                RISER                  OK          90010362646
44591589772443   AMY                CARRIGAN               PA          51061945897
44598721661967   ERNESTO            SALAZAR                CA          90011817216
44613657791569   JORGE              HERNANDEZ              TX          90007896577
44616155225637   PHILLIP            SHIRLEY                AL          90014921552
44622974947954   BRETT              ALLEN                  AR          25003069749
44624634647954   FRANKIE            RODRIGUEZ              AR          90010146346
44626812361458   JUAREZ             LOPEZ                  OH          90014398123
44635289847954   TIMOTHY            DO                     AR          90010642898
44639692691873   JAMES              CARTER                 OK          90012776926
44648438191873   JOHN               GRUENWALD              OK          21064804381
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44648742471999   TOMIE           RUSSOM                    CO          90011747424
44663182761963   TIMOTHY         BEDFORD                   CA          90013001827
44673571951382   AMBER           TWITTY                    OH          66086535719
44677645861963   HERBERT         ASHLEY                    CA          90009196458
44682233261963   CALHOUN         ERICA                     CA          90009652332
44688589791547   DIANNA          ALANIZ                    TX          90009915897
44691382151382   DANIELLE        SAUJON                    OH          90011713821
44698561855939   JORDON          BREWER                    CA          90014825618
44731222171992   MICHAEL         CORONADO                  CO          90012602221
44733571351334   DAVID           SIMPSON                   OH          90014085713
44745399655939   ANITA           PEREZ                     CA          90008763996
44758157161963   CAROL           HIAN                      CA          46081001571
44759547651334   NAKYA           CURY                      OH          90005185476
44773822371934   JONAE           HESLIP                    CO          90007458223
44773959651334   INFINITY        BEASLEY                   OH          90013689596
44774758372443   TY              PRATT                     PA          90012077583
44775581772443   BRENDA          TEMPLETON                 PA          90014965817
44781998755939   ANGELICA        NOCHOLS                   CA          90012769987
44793862361967   SARAH           HILL                      CA          90011738623
44817371151334   MONTEZ          WARE                      OH          90011863711
44818525361963   JANUS           HIGHSMITH                 CA          90013675253
44821723547954   JUAN CARLOS     SILVA                     AR          90010147235
44837297971934   JODY            VOLK                      CO          32005082979
44838419191569   VELIA           CHAVEZ                    TX          90014854191
44838839855939   JUYULISSA       GOMEZ                     CA          90011868398
44841554161963   JOSE            GUERECA                   CA          90012955541
44847629991569   NOE             DIAZ                      TX          90013786299
44847744461967   ARTEMIO         BASAVE-SALGADO            CA          90011827444
44849759572443   DANIELLE        BOONE                     PA          90012927595
44856118191569   MANUELA         MORENO                    TX          90014071181
44858331872443   TIFFANY         SAWYERS                   PA          90014613318
44865221184321   KRISTOPHER      BROWDER                   SC          90011782211
44879869351334   RICHARD         BALLINGER                 KY          90012238693
44885922955939   KAYLA           HICKS                     CA          90010249229
44891615591892   FRANKLIN        WHITE                     OK          90012116155
44912855591569   LIZETH          RODRIGUEZ                 TX          90012448555
44917287872443   JEFFERY         NICHOLSON                 PA          90013582878
44927422991351   RHIANNON        CARAWAY                   KS          29068424229
44934419533631   KATHERN         SCOTT                     NC          90012164195
44938978461963   FAYE            MALONE                    CA          46056009784
44952869351334   RICHARD         BALLINGER                 KY          90012238693
44956111755939   PEDRO           TRUJILLO                  CA          90002571117
44973196855939   CARLOS          LAZCANO                   CA          90013481968
44988661591873   JEREMY          BAKER                     OK          90010956615
44998115555939   NORA            CURIEL                    CA          49073281155
45116867355939   KATHY           MILLER                    CA          90011148673
45122832171999   JOHN            SANDERS                   CO          90012388321
45123984291523   TERESA          REYES                     TX          90009299842
45125547591938   JOSE            FERNANDEZ                 NC          90014615475
45136585355939   ISMAEL          ZAMBARA                   CA          90013265853
45139557361967   PETER           JURIC                     CA          90011835573
45141743391569   JESUS           MARTINEZ                  TX          90010217433
45149159291988   KASEY           DILLARD                   NC          90008191592
45157838291523   DESTINY         TAPIA                     TX          90011258382
45164546191569   ROMAN           LOUCCYSHYN                TX          90012605461
45174746247954   HEATHER         DOE                       AR          90010907462
45183933491873   PATRICK         SCOTT                     OK          90011529334
45211557151334   DAVID           INGRAM                    OH          90010495571
45211648261965   ROCIO           BUENROSTRO                CA          90008796482
45217258655939   GILBERT         CRUZ                      CA          90012942586
45231665771999   SEAN            MCCAIN                    CO          90012636657
45242821191988   HUGO            ANGULO                    NC          90012218211
45246841961963   BRIANA          MUNOS                     CA          90013048419
45249862671999   BRETT           BOERNER                   CO          90014108626
45251644451334   DARREL          WOODSON                   OH          90012826444
45253177961963   CAMILO          GONZALEZ                  CA          90013111779
45261861571999   EVY             VASQUEZ                   CO          90011848615
45263166491873   JIMMY           HILL                      OK          90013491664
45292657761963   JAYSON          SALUS                     CA          46006406577
45293314791988   BRITTANY        JUDD                      NC          90014153147
45293486947954   JONATHAN        ALVAREZ                   AR          90013804869
45294894391988   VICTOR          FINESSE                   NC          90010368943
45311628955939   DIEGO           RISUENO                   CA          90013066289
45314877891569   ALBERTO         GERARDO                   TX          90013378778
45318537871999   CHRISTOPHER     MICHAEL                   CO          90014935378
45323985291569   ALEJANDRO       VILLANUEVA                TX          90007979852
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45328444271999   DANIEL          MILLER II                 CO          38083784442
45333842555939   TAMMY           ISAM                      CA          90011868425
45335485291873   SHAUNTAYA       MYERS                     OK          21083434852
45338334691873   MONICA          BECERRA                   OK          90010813346
45339363461963   ERIKA           MARQUEZ                   CA          90013443634
45341264571999   MELISSA         WORMINTON                 CO          38004762645
45341925391873   LADONNA         GOEBEL                    OK          90001689253
45356122851325   JARED           FANNING                   OH          90009061228
45362188671999   MARTHA          RODRIGUEZ                 CO          38081631886
45383871491988   RON             REAMS                     NC          90012328714
45391461391988   JEFFREY         VELET                     NC          90014864613
45393237291988   AMBER           PENICK                    NC          90008792372
45396236391988   ERIKA           VANESSA                   NC          90010052363
45449765947954   REBECCA         WATKINS                   AR          90001617659
45459119151334   CRISTY          CRAIG                     OH          90014621191
45466461791873   DAKNELL         LEATHERWOOD               OK          90011304617
45466898355939   JESUS           CASTILLO                  CA          90001578983
45468644991569   ERICA           GOMEZ                     TX          90013266449
45473182191876   MOISES          LOPEZ                     OK          90012971821
45475864891873   ANA             SANCHEZ                   OK          90014158648
45482295655939   GRACIELA        ANDRADE                   CA          90010152956
45488762855939   ADAM            ALZAMZAMI                 CA          90013967628
45494724671999   SAMUEL          RIVERA                    CO          90011417246
45498847191569   ADRIANA         SOLOS MEDINA              TX          90011018471
45511565851334   TIFFANY         MASSEY                    OH          90014275658
45512281147954   JAMIE           ABERNATHY                 AR          90014472811
45528991291569   BRENDA          PASTRAN                   TX          75093159912
45531555491547   SAYEG           IDAHIR                    TX          90007895554
45535968671999   SHEILA          SMITH                     CO          90004689686
45537632591569   MANUEL          SANCHEZ                   TX          90013656325
45548521891873   JHOSELINE       LOPEZ                     OK          90010815218
45558827141258   WOODROE         WILSON                    PA          51015608271
45563392171999   MILLER          RAY                       CO          90012583921
45572892491857   TRACI           HEDRICK                   OK          90009598924
45578119151334   CRISTY          CRAIG                     OH          90014621191
45578779555939   VANESSA         CASTRO                    CA          90011477795
45579934491569   VANESSA         DAVIS                     TX          75087139344
45586644291569   PINON           CHRISTOPHER               TX          75087026442
45588893391988   GEMILYA         WRIGHT                    NC          90010728933
45599718491523   JESUS           ALDERETE                  TX          90007107184
45623864691988   SONIA           AYALA                     NC          90008728646
45624373191873   RONALD          PERRY                     OK          21002973731
45625162991988   HARRY           NICKELSON                 NC          90005911629
45629643291988   EC              HAUT                      NC          90015016432
45632281147954   JAMIE           ABERNATHY                 AR          90014472811
45632858691569   CYNTHIA         JIMENEZ                   TX          90011018586
45659868391569   ALMA            AGUERO                    NM          90009158683
45672858691569   CYNTHIA         JIMENEZ                   TX          90011018586
45673756847954   PERLA           ROMAN                     AR          25077537568
45674899571999   JULIE           EARP                      CO          38051138995
45675932471999   LEONA           BOBIAN                    CO          90009479324
45676379247954   ELIZABETH       HARDY                     AR          90006583792
45678278471999   TINA            GONZALES                  CO          90010992784
45683833691873   TRACY           PUETT                     OK          21093178336
45685585491569   DE LA ROSA      SANDRA                    TX          90008525854
45693888131621   MATTHEW         LOWE                      KS          22096208881
45716941691988   TERRENCE        HORNE                     NC          90012949416
45722293561963   DENIS           CORTEZ                    CA          46095872935
45723358271999   MARK            OSTEEN                    CO          90009533582
45723882984342   CARLOTTA        MCCRAY                    SC          90014208829
45748886181639   SHAUN           MCGEE                     MO          29067068861
45752585355939   KATHY           MARQUEZ                   CA          90011005853
45757923791569   JAIME           PERALES                   TX          90010299237
45761851591988   JOSE            GARCIA                    NC          90012218515
45763985247954   ALESHA          ASKEW                     AR          25063879852
45764458691569   GEORGE          PEDROZA                   TX          90009454586
45765542854121   JACOB           MARINOVICH                OR          90013055428
45768858272423   RONALD          SEVCIK                    PA          90001258582
45779828391523   LUS             MORALEZ                   TX          90009718283
45788436471999   MARY            MELGARES                  CO          90012144364
45793356271999   STEVEN          WILSON                    CO          90011023562
45811893391988   GEMILYA         WRIGHT                    NC          90010728933
45821836855939   EDITH           PENA                      CA          90004818368
45828745391523   JUANA           SALAZAR                   TX          90011587453
45828863671931   YVETTE          WARFIELD                  CO          90010408636
45829969936189   JERRY           HEGGEM                    TX          90001189699
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45835295991569   JORGE           MARQUEZ                   TX          90011982959
45841963671999   SAMANTHA        CERVANTES                 CO          38016319636
45845155851334   JOSEPH          SILER                     OH          90001091558
45845891191988   LATORIA         WILKINS                   NC          90012188911
45853775347954   ANGELA          EBEERHARD                 AR          90007647753
45856114761963   SASHA           LIPPMAN                   CA          90013981147
45865464991523   MONTOYA         MARTHA                    TX          90007154649
45885315771999   KRISTI          MARTINEZ                  CO          90013083157
45887481991873   ALAN            BRANNON                   OK          21003894819
45912377851334   TYLER           ERKINS                    OH          90011883778
45921677647954   DINORA          DOMINGUEZ                 AR          90005406776
45924692491873   PAU             NANG                      OK          90013786924
45926861991328   MARTHA          CARDOZA                   KS          90010368619
45927542655939   MANUEL          LEMUS                     CA          90009345426
45936237255939   YING            YANG                      CA          90015012372
45937375591523   SEASSIEU        GON                       TX          90010113755
45943356271999   STEVEN          WILSON                    CO          90011023562
45948375891569   BRENT           CROCKETT                  TX          90014483758
45954525961963   ANTHONY         ROSE                      CA          90014795259
45987215591988   CHOMPIS         ROJAS                     NC          90012362155
45998198351334   LUNA            PATINO                    OH          90011371983
46129412661967   KALANI          MASON                     CA          90014324126
46135444591523   ARTHUR          IBARRA                    TX          90010574445
46135556293724   JENNIFER        STEINER                   OH          90007585562
46144925257126   JOSE FRANSICO   MARTINEZ                  VA          90010509252
46166445951334   CARMEN          BLACKWELL                 OH          90010974459
46167392671999   DESTINIE        LEFEBRE                   CO          90003563926
46176419271999   DAVID           CHAVEZ                    CO          90012014192
46183726191873   BRANDON         WHALEN                    OK          21043577261
46185856671999   AIOTEST1        DONOTTOUCH                CO          90015128566
46197999971999   ED              GARZA                     CO          90012939999
46213581761963   MARIANA         GOMES                     CA          90004365817
46218553471999   SILVIA          CHAVEZ                    CO          90013045534
46237865351326   ASHLEY          LEWIS                     OH          90001038653
46245568291569   STEPHANI        SOSA                      TX          90003625682
46246882961967   VERNITA         THORNTON                  CA          90014728829
46261367361967   JOSEPH          MANNINA                   CA          90006123673
46262884547954   CRYSTAL         STEFFENS                  AR          90005488845
46272821991569   PIERRE          BLANCHARD                 TX          90010858219
46273612377595   MELISSA         MALAILUA                  NV          43097866123
46273632661963   DARREL          WHEELER                   CA          90013976326
46283361772466   CLINTON         WILLYARD                  PA          51087843617
46284723251334   KENNETH         TUCKER                    OH          66020847232
46293365477595   FRANKYE         GONZALEZ                  NV          90010413654
46293578261967   ISAAC           JOHNSON                   CA          90000415782
46314715961967   EMILIO          MENDOZA                   CA          90013117159
46315476372499   JOSHUA          BAKER                     PA          90011074763
46324519357122   JOSE            DIAZ VARGAS               VA          90013685193
46325268961967   MARCOS          RADIATOR                  CA          90014162689
46326971591284   FELICIA         SCOTT                     GA          90003949715
46327997591569   SOCORRO         VALDEZ                    TX          90010909975
46329312661967   BRENDA          SOTO                      CA          90012873126
46337749391569   DELILIA         ORTIZ                     TX          90013257493
46398367271999   DELIA           PIZARRO                   CO          38044443672
46416136164195   RODNEY G        SKINNER                   IA          90014561361
46417631351334   GARY            STAPLETON                 OH          90003496313
46418531241289   TERRI           DERKAS                    PA          90003925312
46438551861963   JIM             ELLTON                    CA          90007425518
46439827677595   MARIA           MEDINA                    NV          90003848276
46454778981639   CRYSTAL         CROWLEY                   MO          90002817789
46466893461967   ELIZABETH       CONTRERAS                 CA          90014728934
46468918291569   TANIA           SILVA                     TX          90000219182
46469994261963   ALFREDO         CORRAL                    CA          46064139942
46472922461967   DEREK           DUFOUR                    CA          90011019224
46477922661967   WILLIE          HANNAH                    CA          90011019226
46478154191569   ROSARIO         FERNANDEZ                 TX          75026651541
46495452861967   ANA             LOPEZ                     CA          90014334528
46497816951334   CHARLOTTA       COOLER                    OH          90015138169
46523898791569   SELENA          ROMERO                    TX          90010308987
46524917377595   REYNALDO        HERNANDEZ                 NV          43092059173
46526412661963   JEFFREY         HAYES                     CA          90011794126
46529179391569   ANTHONY         GALLEGOS                  TX          90014781793
46533232261967   MARLA           GUTIERREZ                 CA          90013552322
46546821891982   O TENICIA       WALL                      NC          90011518218
46553738355939   JOHNNY          MARROQUIN                 CA          90011457383
46561128561963   JOSE            ROSALES                   CA          90012891285
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46571732451334   SHERRY          CLOUSE                    OH          90011517324
46579583761967   FERNANDO        MARTINEZ                  CA          90012735837
46579684951334   CLOVIS          NDIZEYI                   OH          90015116849
46582358451388   SARAH           BREWER                    KY          66012843584
46588446855939   KAREN           CHANSOMBAT                CA          90010624468
46589144591569   JOELDA          ESTRADA                   TX          75053511445
46593168491569   GUADALUPE       GUERRA                    TX          75067061684
46641461377595   JOSE            DOMINGUEZ-MENA            NV          90011294613
46657943291873   SHAWN           FLANAGAN                  OK          90006239432
46662673457126   JOSE            SANTOS                    VA          90008276734
46666919661963   ANGELICA        LUCAS                     CA          90010669196
46678643491569   JASIEL          TOVAR                     TX          90012056434
46684964977595   MADELL          SARAH                     NV          90003769649
46697665471999   SOMINITA        VALDEZ                    CO          90015126654
46718113391569   ANGELICA        CABRERA                   TX          90011951133
46734942391569   CESAR           RIOS                      TX          90014079423
46755793171999   CATHERINE       MILLER                    CO          90013057931
46755884961967   JOEL            MERAZ                     CA          90013698849
46757254361963   ROGER           NAVARRO                   CA          90012022543
46772168561963   ELISE           COLE                      CA          90007041685
46775588391569   IDALIA P        GONZALEZ SAENZ            TX          90010235883
46777782561967   ADRIANNA        ESPINOZA                  CA          90015027825
46796997471999   CHRIS           WALLACE                   CO          90008829974
46811761585844   ELSA            TOMPKINS                  CA          90006987615
46835578977595   DARYL           HUMPHREYS                 NV          43023265789
46845569561967   SAUSHA          PENN                      CA          90015115695
46845868991523   MARIA           MIRANDA                   TX          90007458689
46851578977595   DARYL           HUMPHREYS                 NV          43023265789
46871339277595   GARY            SMITH                     NV          90011583392
46878825671999   YOVANNE         MENDOZA                   CO          90013048256
46886364471999   RICHARD         MONTELONGO                CO          90012403644
46891141761967   JOHNNY          PHILAVONG                 CA          90012431417
46899423771999   IAN             ANDERSON                  CO          90013734237
46913478277595   IVAN            HERNANDEZ                 NV          90011584782
46915357555939   CAROLINA        TOVAR                     CA          49005583575
46915363191569   BRISA           BRISENO                   TX          90013303631
46946167554121   ELIZABETH       SHERMAN                   OR          90012501675
46956999361967   NOE             GOMEZ                     CA          90011429993
46959746551334   THOMAS          ABNEY                     OH          66099447465
46982433361963   ALMA            VALADEZ                   CA          46065484333
46985766361967   JEREMY          SMITH                     CA          90012207663
46991657457124   NELSON          MOLINA                    VA          90008676574
47115548191569   DANIEL          PUEBLA                    TX          90010385481
47117519891394   RAHA            HOSAINZADA                KS          90009545198
47117795561963   HAROLD          COLLIER                   CA          90010277955
47119659491569   VICKY           SANCHEZ                   TX          75051986594
47125996491569   SAILE           RODRIGUES                 TX          90012919964
47127491191988   MECHELLE        MCKAY                     NC          90003904911
47128597455939   GISELLE         VENEGAS                   CA          49098735974
47137599191569   JUAN            BLANCO                    TX          90013825991
47139863955939   JESSE           OSORNIO                   CA          90014868639
47146914655939   GARY            GONZALEZ                  CA          49047439146
47149494191394   TERRY           LEMUS                     KS          29076314941
47151965361967   KARLA           HAYES                     CA          90012949653
47155396761967   CORAL           SUMMERVILLE               CA          90014113967
47159499361967   JOE             DURAN                     CA          90004264993
47163259351334   TIFFANY         FENTON                    KY          90007422593
47166417761967   ROSARIO         AVINA                     CA          90013004177
47176435661963   TRAVIS          DURBIN                    CA          90012754356
47196273255966   ADELINA         LUNA                      CA          90013622732
47211824771999   BERLINDA        BOBIAN                    CO          90014888247
47214625455966   JOBANY          HERNANDEZ                 CA          90013436254
47216443855966   TALINA          ALVARDO                   CA          90013344438
47221982191394   BOB             REYES                     KS          90008119821
47222478671999   CRYSTAL         WETZ                      CO          38051334786
47224222771999   JEANETTE        ENGLISH                   CO          90008912227
47226958491945   TIFFANY         HARRIS                    NC          90004389584
47229571255966   DUBLAS IRAEL    BONILLA                   CA          90006895712
47241436871999   MONICA          CASTILLO                  CO          90012734368
47244858355997   BRIAN           CARROLL                   CA          49077518583
47244922591873   LANDON          CARDWELL                  OK          21074839225
47254857671999   AIOTEST1        DONOTTOUCH                CO          90015128576
47255857671999   AIOTEST1        DONOTTOUCH                CO          90015128576
47256858371999   AIOTEST1        DONOTTOUCH                CO          90015128583
47257456291569   MARIANA         DURAN                     TX          90013624562
47259427771999   GUILLERMO       JAIMES                    CO          90010054277
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47265867551334   YSIDRO          MEZA-RUIZ                 OH          90015008675
47267922761967   MAUREEN         LANADA                    CA          90013659227
47285923891394   VICROR          PATRICIO                  KS          90013099238
47286143655939   KATHLEEN        HANCOCK                   CA          90012101436
47286622161963   DWAYNE          HOSEY                     CA          90009186221
47289923891394   VICROR          PATRICIO                  KS          90013099238
47298178761963   TYLER           BUSBY                     CA          90012771787
47311838861967   RAFAEL          PLASCENCIA                CA          90013148388
47316476361967   CLAUDIA         DIAZ                      CA          90013974763
47323791384369   JAMILIA         JACKSON                   SC          90010107913
47334833291988   INDIA           MACK                      NC          90005728332
47338447857149   KENNY           ANDRADE                   VA          90011654478
47342858371999   AIOTEST1        DONOTTOUCH                CO          90015128583
47344392755966   PATRICIA        REYES                     CA          90012313927
47344851455939   MARIBEL         CARILLO                   CA          90003988514
47351928155966   VERO            ZAMORA                    CA          90002959281
47355182761967   LEONORILDA      CRUZ                      CA          90008611827
47361979191873   GENARO          SALAS                     OK          90005699791
47368327761967   MELISSA         BORGNER                   CA          46019783277
47376889755939   DIANA           MARTINEZ                  CA          49060228897
47379912871999   PAUL            TRUJILLO                  CO          90012849128
47382741971999   SHANE           EACKER                    CO          90014857419
47389858671999   AIOTEST1        DONOTTOUCH                CO          90015128586
47393355191394   SELENA          MALDONADA                 KS          90013133551
47393478661967   JACQUELIN       DEESE                     CA          90014274786
47393864155939   BETTY           MIDDLETON                 CA          90008198641
47412764955966   MARIA           JIMENEZ                   CA          90008107649
47421126971999   LUCAS           GAMMA                     CO          38084121269
47428427551334   CAROLYN         ANDREWS                   OH          90014724275
47432858671999   AIOTEST1        DONOTTOUCH                CO          90015128586
47433767255966   MICHAEL         CASTANEDA                 CA          90013637672
47445712861963   MARK            STENZEL                   CA          90012687128
47445858971999   AIOTEST1        DONOTTOUCH                CO          90015128589
47454858971999   AIOTEST1        DONOTTOUCH                CO          90015128589
47457784951334   TOLLIVER        MICHAEL                   OH          90013767849
47458166471999   ADONIJAH        VIGIL                     CO          90006601664
47459449355966   LUV             LOPEZ                     CA          90008764493
47462281855966   SHAYLEEN        BRAND                     CA          49006202818
47465672161963   JOSE LUIS       MICHEL                    CA          90013546721
47466859371999   AIOTEST1        DONOTTOUCH                CO          90015128593
47467254891569   JESSICA         BARAJAS                   TX          90012952548
47467447591959   NAJJUWAH        WALDEN                    NC          90001544475
47472924161963   BLANCA          RODRIGUEZ                 CA          90013329241
47473767255966   MICHAEL         CASTANEDA                 CA          90013637672
47478958555966   SUMMER          BROWN                     CA          90013529585
47479643791394   MICHAEL         MAROON                    KS          90010626437
47481392591394   CHARLE          DEAN                      KS          90006613925
47484892255966   DAVID           MAGANA                    CA          90015298922
47486413261967   ERIKA           TAYLOR                    CA          46017374132
47486567891569   ROCIO           GARCIA                    TX          90000235678
47489289561963   MICHAEL         FULGRAM                   CA          90011432895
47492142255966   CECILIA         VELARDE                   CA          90013351422
47495892771999   MALENY          GONZALEZ                  CO          90012948927
47499691361963   ANA ROSA        RAMIREZ DE TAPIA          CA          90013056913
47512152351597   SONORA          SMITH                     IA          90014571523
47523996291569   JOSE            LOYA                      TX          90012139962
47529721955966   RICARDO         GUZMAN                    CA          90013497219
47531311191873   TOMAS           PENA REYES                OK          21050943111
47543768261967   MICHAEL         TARICH                    CA          90014547682
47546859371999   AIOTEST1        DONOTTOUCH                CO          90015128593
47554842731482   SWEETASIA       THOMPSON                  MO          90013818427
47573947161963   IVONNE          LINOS                     CA          46003579471
47587836861933   MIGUEL          RODRIGUEZ                 CA          46061688368
47588671261967   JOSE            TORRES                    CA          90014216712
47618119161967   JUAN            RAMIREZ                   CA          46035921191
47623776291569   PRISCILLA       MICHELLETTI               TX          90012927762
47633552851336   LAMAR           BERRY                     OH          90001135528
47641768261967   MICHAEL         TARICH                    CA          90014547682
47649232771999   STEPHEN         GARCIA                    CO          90005342327
47651415991569   CLAUDIA         MARTINEZ                  TX          90011034159
47655782451334   LEODAN          MARTINEZ                  OH          90005467824
47657948361967   LEZLEY          GREEN                     CA          46086399483
47663539161963   ANTHONY         DIGIOVANNI                CA          90014405391
47664255371999   EGAR            DARDEN JR                 CO          90010942553
47665196391549   TED             STRETMOYER                TX          75089741963
47667468961967   SHANA           JAMCHI                    CA          90015134689
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47677895155966   ALFREDO         GARCIA HERNANDEZ          CA          90012918951
47692216161963   HUSSAIN         HUSSAIN                   CA          90001512161
47695134991394   ADRIENNE        PRICE                     KS          29034491349
47699777255939   KATIE           HERRERA                   CA          90011017772
47712576391988   REBECA          FLORES                    NC          90007695763
47727634951334   CYNTHIA         MCDANIEL                  KY          66095076349
47733636971999   JESSICA         GARCIA                    CO          90014366369
47734396455939   FERNADO         VASQUEZ                   CA          90012353964
47735291961963   ASHLEY          PARTON                    CA          90012412919
47737334855966   GENOBEBA        VALENZUELA                CA          90013073348
47755536861967   LARRY           SMITH                     CA          90015145368
47756114747828   RANDY           LEWIS                     GA          90011091147
47756788747828   RANDY           LEWIS                     GA          90008307887
47758329655966   DAVID           JARAMAILLO                CA          90010753296
47762599571999   JATZIRI         JARACUARO                 CO          90011725995
47766965991569   DANNY           QUINTAN                   TX          75086759659
47767451191569   ANTONIO         MORIEL                    TX          75058434511
47771898461967   LORETO          FRANCISCO                 CA          46021188984
47773546561967   SAMANTHA        LUANGVISETH               CA          46072525465
47775199251336   KAMICA          JOHNSON                   OH          90004561992
47779815991881   JIMMY           MCCASLIN                  OK          90011208159
47784245791569   JOE             LASSICH                   TX          90013702457
47785478661967   JACQUELIN       DEESE                     CA          90014274786
47791978355939   JESUS           TORRES                    CA          90013349783
47794143151334   JACKIE          WHITEHEAD                 OH          90007291431
47814676451334   MARV            BONNER                    OH          90013536764
47842495455966   MARIN           HERNANDEZ                 CA          90010754954
47843521591873   DAVID           PALINSKEE                 OK          90008195215
47844384671999   MERCEDES        MARTINEZ                  CO          90005283846
47852756355939   MELISSA         LOZA                      CA          90000847563
47864864471999   CASSANDRA       LUJAN                     CO          38004678644
47867563155939   STACEY          JACKSON                   CA          90013475631
47872254791569   HILDA           BADILLO                   TX          90012672547
47896551757149   JOSEPH          ASANTE                    VA          90012525517
47899725871999   EMMILE          BUGARIN                   CO          38058957258
47918559761967   STEVEN          PENA                      CA          90012355597
47943451461967   VIRIDIANA       SALGADO                   CA          46069114514
47953213255939   BRITTANY        MENDONCA                  CA          90012622132
47953314961963   JOSEPH          RODRIGUEZ                 CA          90000443149
47953369891394   SHERRON         GREEN                     KS          90000543698
47958567891569   LUIS            LUCERO                    TX          90001685678
47959623171999   JOSE            CORDOVA                   CO          90003816231
47968949491394   ELIZABETH       GETER                     KS          90008869494
47971878191569   JOHN            JACOBS                    TX          90012188781
47974755351334   ALEXANDER       BROWN                     OH          90011677553
47975556691569   JUAN            CARBAJAL                  TX          90000455566
47981152461963   LUZ             CEDILLO                   CA          46055841524
47981319761963   JAMIE           GRADY                     CA          90013173197
47981548491569   VANESSA         TORRES PRIMERO            TX          90011035484
47981713255966   ALEJANDRA       HERNANDEZ                 CA          90014737132
47997716555966   PRISCILLA       CABALLERO                 CA          90014737165
48113856291569   MOISES          LANDEROS                  TX          90011328562
48125493191956   MARIO           KRUME                     NC          90005134931
48128963991569   LAURA           BURKS                     TX          75011289639
48135348191988   RONALD          JOHNSON                   NC          90012483481
48143562471999   TAYLOR          DIONISIO                  CO          90013115624
48154869791569   ERICK           MORALES                   TX          90010698697
48156368391569   BERNABE         REYES                     TX          90014723683
48166396871999   JESUS           ANGELMACIAS               CO          90006233968
48175247261963   DARLENE         HARRIS                    CA          90012662472
48176237191524   RITA            LOPEZ                     TX          90012392371
48224247371999   IAN MICHAEL     RIVERA                    CO          90013132473
48247619191988   SHARNITA        SMITH                     NC          90012526191
48254761351555   SERGIO          RAUL                      IA          90014377613
48254924293767   JAMES           WILLIFORD                 OH          90011739242
48256382451344   ANNA            LOVELY                    OH          90002723824
48263848177595   ANA             MARTINEZ                  NV          43010358481
48279784191988   JOSE            GUADALUPE                 NC          90013787841
48279868271999   ROSALIE         MAESTAS                   CO          90014188682
48281342691569   ALONDRA         PARRA                     TX          90012563426
48287127471999   JOEY            ROLDAN                    CO          90013141274
48287633791988   LUIS            MACARIO                   NC          90013656337
48294694991569   VALERIE         ALVAREZ                   TX          90012236949
48297154291988   DANIELLE        HEADEN                    NC          90010661542
48297166561963   PATRICIA        TEJADA                    CA          90010861665
48299743591394   MISTY           FRANKLIN                  KS          90014807435
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48311555961967   PAMELA          BISHOP                    CA          90015115559
48349417291956   MECO            WHITAKER                  NC          90001264172
48351941251334   SELINA          WRIGHT                    OH          90010619412
48371463871999   MARTINA         FALCON                    CO          90011454638
48392625761967   ALMA            ILDEFONSO                 CA          90013936257
48394896661963   JEREMIAH        WILLIAMS                  CA          90000248966
48413122471999   CRISTINA        MARROQUIN                 CO          90003981224
48419717171999   MICHELLE        PEREZ                     CO          90015057171
48421868191394   MARIA           CALDERA                   KS          29073618681
48423128791569   PABLO           PAREDES                   TX          90012901287
48427743851334   TANEESHA        THOMAS                    OH          90011347438
48439269491988   NICOLE          BAINE                     NC          90012682694
48443939951334   LADONNA         ALLEN                     OH          90009039399
48452653991873   DAKOTA          BEAR                      OK          90006836539
48457452491394   JOSHUA          DAVILA                    KS          90011584524
48457859291394   SHANETTA        MOORE                     KS          90014858592
48459887591988   SAKONYA         TRICE                     NC          90002838875
48474761371999   LORETTA         ESCOBAR                   CO          90012207613
48522899961967   SAMANTHA        MOLINA                    CA          90014238999
48527253891569   PHIL            MARTINEZ III              TX          90011002538
48528386391569   FRANSISCO       CHAVUEZ                   TX          90011173863
48549293571999   PABLO           MOLINA                    CO          90014392935
48549478271999   AMY             MOLINA                    CO          90012054782
48554373791394   ROSI            COLON                     KS          29000543737
48569693491569   PETRA           JUAREZ                    TX          90011996934
48581471491956   JOSE            DIAZ                      NC          90009894714
48592338191569   ABRAHAM         HERNANDEZ                 TX          90008343381
48596844791956   ANGELA          WHITTED                   NC          17021208447
48597153677595   EHAB            ISHAK                     NV          90011081536
48613616271999   AARON           REESE                     CO          90014606162
48614131761967   DOMINIQUE       WHITE                     CA          46072421317
48615616271999   AARON           REESE                     CO          90014606162
48615884961963   IDELMIRA        DIAZ                      CA          90012558849
48633819591988   EULALIO         HERNANDEZ R               NC          90011758195
48635523691988   DEANDRE         CARTER                    NC          90010805236
48643972591569   CRISTAL         RAMIREZ                   TX          90010699725
48644536791394   MIKE            BRADEN                    KS          90007965367
48645569451334   LAWANDA         BANKS                     OH          90010745694
48646534961967   TERESA          AGUILAR                   CA          90013065349
48653318961963   STEVEN          JUSTICE                   CA          46093033189
48655664151334   NOAH            CRAWLEY                   OH          90013186641
48674783271999   SHYENNE         DURAN                     CO          90013317832
48686948391988   JOSE            ROLANDO                   NC          90010819483
48693356491569   MARTHA          LEMUS                     TX          90012813564
48696572791569   SOPHIA          FIERRO                    TX          90012625727
48711834292825   VERONICA        GONZALEZ                  AZ          90014428342
48713186871999   ANTHONY         GALINDO                   CO          38052361868
48714814761963   JUAN            HERNANDEZ                 CA          90012338147
48723964391988   ROLANDO         JERONIMO                  NC          90013779643
48727862791394   AMANDA          AGADO                     KS          90014928627
48728386671999   JACKLYNN        MARTINEZ                  CO          90010983866
48748456961963   JACKSON         EVERETT                   CA          90012924569
48764825361963   JASMINE         STEPHENS                  CA          90013818253
48775764161967   ZACHARY         NATAL                     CA          90011937641
48777959491988   RENAN           VELASQUEZ                 NC          90012619594
48794742751334   PABLO           CASTELLANOS-SANTIZ        OH          90012497427
48849741461967   DARLYNN ANGEL   GONZALEZ                  CA          90002217414
48865356491569   MARTHA          LEMUS                     TX          90012813564
48867712761963   IMANI           FULMER                    CA          90011327127
48881658891988   AQUARIUS        TABOR                     NC          90005816588
48892386391569   FRANSISCO       CHAVUEZ                   TX          90011173863
48895727861963   SARAHY          DARCIA                    CA          90011907278
48927499971999   KRISTINA        GONZALES                  CO          90014654999
48928499971999   KRISTINA        GONZALES                  CO          90014654999
48934754761967   MOHAMMED        ALQURAISHI                CA          90010337547
48945233661967   LATOYA          SCOTT                     CA          90013242336
48947338785944   MANDY           MAXWELL                   KY          90011233387
48971216577595   EDGAR           SIERRA                    NV          90011172165
48974568191569   ANTONIO         VARELA                    TX          90014975681
48978396761963   MIKE            IBRAHIM                   CA          90004873967
48983635391569   GILBERTO        DELGADO                   TX          90000276353
48983883971999   PAULETTE        VIGIL                     CO          90014658839
48987548991394   TRECIE          JONES                     MO          90007095489
48988217391569   CYNTHIA         CRUZ                      TX          75067332173
49111229591523   ERIK            GUTIERREZ                 TX          90013512295
49116654171999   ALICIA          VASQUEZ                   CO          90011946541
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49119991661967   MARIA           RAMOS                     CA          90014619916
49121493271946   ELOY            EDWARDS                   CO          90014754932
49129271791523   JAQUELIN        CARDENAS                  TX          90013512717
49133246157138   JOHN            WISLEY                    DC          90010772461
49134716291959   LORETTA         AYSCUE                    NC          90013697162
49136722636148   LAURA           SHANNON                   TX          90001377226
49142156271947   ANTONIO         CLEMENTS                  CO          90013221562
49144712191569   BLANCA          MONARREZ                  TX          90011417121
49151134261963   MYRA            CRUZ                      CA          90013041342
49153316761967   JOCELYN         HUERTA                    CA          90013753167
49153984291569   ORTIZ           CRYSTAL                   TX          90008739842
49154788871946   REINA           LOPES                     CO          32078337888
49158324151334   MICHELLE        MORRISON                  OH          90007143241
49158712393755   REBECCA         GIBSON                    OH          90012687123
49166141791524   ROGELIO         RODRIGUEZ                 TX          90004871417
49168976991569   JORGE           BAYONA                    TX          90013569769
49169876991583   CAROLINA        VALENZUELA                TX          90011098769
49173556861963   BEN             AMEZCUA                   CA          90011525568
49174892791583   COREY           GONZALEZ                  TX          90007068927
49179747586436   TELISHA         WILLIAMS                  SC          90014657475
49189313171999   CHADWICK        MCCLURE                   CO          90011593131
49198576571999   DAVID           MARTINEZ                  CO          90014565765
49198615591959   TAYLOR          DUNN                      NC          90011136155
49212826251326   KYLE            GERDES                    OH          90013418262
49212826771999   ERIKA           DELACRUZ                  CO          90013948267
49213347271999   ADELINA         SISNEROZ                  CO          90010973472
49226454291873   DEBRA           TOPPAH                    OK          90010374542
49229494571946   MARK            WORTHEN                   CO          90012664945
49237459891569   CECILIA M       VILLAPANDO                TX          90013374598
49237545791569   JAVIER          DELGADO                   TX          90010825457
49238731771946   SUGAR           ROBINSON                  CO          90011787317
49243554171999   ETHAN           GILL                      CO          38014565541
49244648771999   MICHEAL         QUINTANA                  CO          90012936487
49246842691569   NORMA           GALINDO                   TX          75017388426
49247677771999   SARAH           MONTOYA-VIGIL             CO          90013086777
49248677771999   SARAH           MONTOYA-VIGIL             CO          90013086777
49257478951334   HERTH           DARLENE                   OH          66093694789
49257496291959   TANEISHA        THOMAS                    NC          90009924962
49261457791583   WILLIE          HOLGUIN                   TX          90014604577
49262856691873   TAWANA          WILLIAMS                  OK          90010308566
49269226891873   ITALY           HOUSTON                   OK          90014732268
49269627371999   DARIN           RUSSELL                   CO          90012696273
49272939371946   GABRIELLA       SPRAGUE                   CO          90011789393
49281556991569   VALERIA         VELASCO                   TX          90010825569
49289885461967   CARLOS          CRUZ                      CA          90011268854
49293736441222   DEVONNA         JOHNSON                   PA          90005817364
49294257661963   RUSTY           PALMS                     CA          90010922576
49329257661963   RUSTY           PALMS                     CA          90010922576
49331647361963   ANTONIO         MONGUIA                   CA          46051366473
49331882991583   ERICK           MONTANEZ                  TX          90011098829
49343884755928   ALEJANDRA       ONTIVEROS                 CA          90014158847
49348195886443   QUINZELLE       BAKER                     SC          90013941958
49354196471957   RICHARD         HILL                      CO          90014251964
49354528461963   LUZ             URIBE                     CA          46081485284
49356311191873   DUSTIN          PUGH                      OK          90014763111
49359246571999   LATISHA         COX                       CO          90013952465
49361263671999   MANUEL          ZEGARELLI                 CO          90013952636
49366434761967   MAXIMINO        HERNANDEZ                 CA          90008514347
49374354191394   TRISH           FRAZIER                   KS          29007203541
49377627291873   ANTHONY         COX                       OK          90014686272
49379443271946   MATT            DYMOND                    CO          90014784432
49381447771946   VICKRY          KAYSER                    CO          90014784477
49383515291583   VALERIE         ROJAS                     TX          90012785152
49383667171999   ERIC            ROSALES                   CO          90014716671
49394621261967   ANA             VARGAS                    CA          90013156212
49394651671999   IVAN            JOHNSON                   CO          38065596516
49397223761963   ARACELI         GARCIA                    CA          46066372237
49397248971947   ROBIN           GRIFFITH                  CO          90014832489
49412294961967   JOSE            BELLO                     CA          90012762949
49412453261963   JAVIER          DAVALOS                   CA          90012724532
49418997261967   PETER           OLIVARES SANCHEZ          CA          90011269972
49433244571999   JESSICA         CARREIRO                  CO          90012872445
49433615857134   MAHDI           MOHAMED                   VA          90007726158
49436916491583   ANA             RIOS                      TX          90011099164
49439787971946   JANE            FOSTER                    CO          90012817879
49444582391873   MICHAEL         GRAY                      OK          90014735823
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49451237261967   FLYNOIND        DEMERY                    CA          90009372372
49454629991873   DEMARIO         FOWLER                    OK          90014736299
49457335691583   YASMIN          VIVAR                     TX          90013493356
49457919491583   YASMIN          VIVAR                     TX          90011099194
49458113271946   GRACE           SANCHEZ                   CO          90011801132
49463721841222   CATIE           PARRICH                   PA          90007317218
49467316591569   ARMIDA          ZAMORA                    TX          90010343165
49469854991583   JESSICA         URUETA                    TX          90012468549
49472468291394   JEAN            KEITH                     KS          90007184682
49473948571947   SARA            CODDINGTON                CO          32091199485
49479996325637   DANNY           SOTO                      AL          90014139963
49481136691873   RAMSEY          ASHLEY                    OK          90007181366
49483261891959   TRAVIS          HANKINS                   NC          90014832618
49487198371947   TINA            BELL                      CO          90013021983
49489287284371   NAKIDA          GATHERS                   SC          90011232872
49492931461963   ALLEN           TOOMEY                    CA          90011869314
49494114791873   POOH            WILSON                    OK          90006831147
49494921761967   MARIA           HAROS                     CA          90013389217
49521712791873   MARLENA         ROCOLE                    OK          21015057127
49531566661963   JASMIN          MALDONADO                 CA          90011885666
49531666961967   MARTHA          PEREZ                     CA          90008206669
49543383391569   MARGARITA       DAVILA                    TX          90001363833
49545495491959   NABRICA         REAVES                    NC          90011154954
49549842191583   SONIA           AVALOS                    TX          90014588421
49552364991873   SARA            ARZU                      OK          21011363649
49559666961967   MARTHA          PEREZ                     CA          90008206669
49574198371946   TINA            BELL                      CO          90013021983
49578625386478   KENNETH         ADDIS                     SC          90012836253
49581426791873   DOROTHY         BRITTO                    OK          90014744267
49581654771947   RENEE           HENRY                     CO          90012736547
49582218291889   ANGIE           NEWCOMER                  OK          90003832182
49586135371999   JENNIFER        BUTCH                     CO          38072571353
49592594991959   DANIELLE        SMITH                     NC          90015055949
49593772591583   EFFRAIN         CALDERON                  TX          90011567725
49599851671999   DONNY           GARRIS                    CO          90013088516
49615174693724   EUGENE          DERANLEAU                 OH          90014581746
49615855591583   LIZETH          RODRIGUEZ                 TX          90012448555
49618161471999   VICTOR          PEREZ                     CO          90012381614
49621514191583   NANCY           BALDERAS                  TX          75089135141
49629521991959   TIAH            CASTELINE                 NC          90013855219
49643316561967   ESMERALDA       GUZMAN                    CA          90013073165
49643959361963   NORMA           CASTRO                    CA          90006529593
49644871861967   ISRAEL          CASTANEDA                 CA          90012668718
49658384991873   MATTHEW         NITCHALS                  OK          90014763849
49659514491569   APRIL           MACIAS                    TX          75069535144
49659678993756   CHRISTOPHER     BENTON                    OH          90010146789
49667327171947   TAMMIE          CRAIG                     CO          90014693271
49674583491873   LEONOR          HERNANDEZ                 OK          90014745834
49675657271946   HEATHER         GRAHAM                    CO          90014796572
49682666471946   SCOTT           SMITH                     CO          90014796664
49684678471947   JALENE          ARGUELLO                  CO          90011226784
49684957371947   KENIA           THOMAS                    CO          90012579573
49686255471947   MAHNAZ          BROWN                     CO          90012852554
49715274291569   OSCAR           FLORES                    TX          90013742742
49727667261967   SHEENAE         WILLIAMS                  CA          90002626672
49729432991873   AMY             GROSE                     OK          90012154329
49735994191959   TERESA          HANNAH                    NC          90014599941
49739462991597   ELIZABETH       LOPEZ                     TX          90010974629
49739775591881   RUBEN           COLATO                    OK          90011147755
49753472691569   AARON           CARRILLO                  TX          90010944726
49758149461967   JAMES           GARCIA                    CA          90013381494
49761862961967   JOHANNA         SANDERS                   CA          90012428629
49762419491873   KANDICE         CRONE                     OK          90014764194
49765921491959   CESAR ROLANDO   DE LEON GONZALEZ          NC          90013319214
49769695391959   EDUARDO         GARCIA                    NC          90010256953
49771389436189   CATHERINE       GOMEZ                     TX          90012653894
49773665671946   TIMOTHY         THILL                     CO          90014806656
49776253671947   KRISTINA        LOPEZ                     CO          90003052536
49777676471947   JUAN            DIAZ                      CO          90011926764
49783285671947   JAMES           WILSON                    CO          90011232856
49791456671947   GABRIEL         RAKEMEL                   CO          90012794566
49792218161963   MARIBEL         ROMERO                    CA          90009472181
49795366371999   HEATHER         BECKER                    CO          90014123663
49797175391873   CARLOS          JIMENEZ                   OK          90012791753
49811442585968   JOE             BROWN                     KY          90015164425
49815235461967   JESSE           CAMACHO                   CA          90006252354
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49816578461967   JESSICA         ORTIZ                     CA          46093565784
49828455891569   VIRGINIA        VILLANUEVA                TX          90014514558
49845435761963   CHERYL          SMITH                     CA          90012344357
49854665191569   ALAN            RODARTE                   TX          90010826651
49855615791583   MONICA          SEATON                    TX          90005506157
49857197371946   TAYLOR          FULKERSON                 CO          90012791973
49865351891873   CRYSTAL         HENDERSON                 OK          90014773518
49868357671946   THEA            SKINNER                   CO          90014883576
49868857761967   TANYA           FLORES                    CA          90010438577
49877244371999   DUANE           WALLER                    CO          90010442443
49877448291569   JOHANNA         JARAMILLO                 TX          90012494482
49886578791873   MCGEE           JAMAIL                    OK          90011035787
49893272271999   DUANE           WALLER                    CO          90010442722
49897722391959   SIDHARTH        BHATIA                    NC          90011167223
49916165591959   HOMAR           CASTILLO                  NC          90002861655
49919466361967   MARTIN          MORENO                    CA          90014934663
49924367471946   CLAUDIA         GARCIA                    CO          90012743674
49934919161963   NERI            JUAREZ                    CA          46003919191
49946461391873   CELIA           MALDONADO                 OK          90014774613
49946628771999   DONALD          GONZALEZ                  CO          90008496287
49962937191873   CELIA           MARTIN                    OK          90010529371
49968442891583   ELISAMA         RUIZ                      TX          90011114428
49968513491873   LUIS            CUEVAS GARCIA             OK          90014775134
49968844571999   DESTINY         FIMBRES                   CO          90011668445
49972627791873   ISMEAL          KING                      OK          90011036277
49987632671947   COURTNEY        MICHELLE                  CO          90013396326
49993267961963   OBED CASTILLO   DEGRACIA                  CA          90013692679
49993436791583   MIGUEL          MORALES                   TX          75000584367
49994534891873   DORA            SILVERIO                  OK          90014775348
49997437371946   VICTORIA        WALKER                    CO          90009904373
49997571336135   KRISTI          SLAYTER                   TX          90013215713
49999664791959   KAYLA           SCOTT                     NC          90011176647
51114538361973   MAX             HOFSTETTER                CA          90012885383
51118946991576   MARIO           GONZALES                  TX          90014389469
51125885757148   GABRIEL         LIUZZI                    VA          90013948857
51126885757148   GABRIEL         LIUZZI                    VA          90013948857
51128921191895   MARIO           CALIX                     OK          90011979211
51129985757143   DFSD            ASFDSA                    CA          90007319857
51132465433699   STEPHANIE       BINNS                     NC          90012224654
51132974784373   JOSHUA          ROBINSON                  SC          90006569747
51139778591989   FLORENTINO      MARTINEZ                  NC          90014987785
51139862933696   MELISSA         LINEBERRY                 NC          90014008629
51141427984373   LINDA           BREMENOUR                 SC          90013984279
51148495861975   NOEMI           LOPEZ                     CA          90009354958
51187342584357   HERIBERTO       CRUZ                      SC          90014053425
51194772157157   EDWIN           TREJOS                    VA          81050767721
51197167757157   ELIAS           LOPEZ                     VA          90012111677
51214621685862   SHAUNN ZAVIER   NASH                      CA          90015126216
51215422663634   BEVERLY J       JONES                     MO          90010284226
51216538551348   CHRISTIAN       IDWELL                    OH          90013325385
51218155357157   YAMILET         GLEN                      VA          90011611553
51225846251348   CHARLOTTE       GUILFORD                  OH          90013928462
51232259161975   SERGIO          CORONA                    CA          90010732591
51233854561975   AIOTEST1        DONOTTOUCH                CA          90015128545
51254856184373   CHRIS           WATSON                    SC          19098288561
51254875285928   MICHAEL         WESLEY                    KY          67001668752
51261716385862   TAESUCK         SON                       CA          90012137163
51266741861971   THOMAS          RHODES                    CA          90014367418
51268995585862   JAMES           BRYANT                    CA          90013679955
51273863633696   ANGELA          REMORE                    NC          90010908636
51287756433696   ASIA            SADLER                    NC          90002067564
51291952784357   ROGER           KELL                      SC          90012709527
51292169961973   GODOFREDO       PEREZ                     CA          90012541699
51295545684373   DOROTHY         BLACKBURN                 SC          90004865456
51311592761973   JENNIFER        MAGANA                    CA          90013265927
51321491761971   ROBERT          CRANE                     CA          90014164917
51321634561973   AIOTEST1        DONOTTOUCH                CA          90015116345
51325137691989   JOVONDA         REAVES                    NC          90011801376
51327137691989   JOVONDA         REAVES                    NC          90011801376
51331973133696   TYRONE          HARSHAW                   NC          90009369731
51332764884373   BRANDON         BURROUGHS                 SC          19057557648
51337291761971   JUAN            CARLOS                    CA          90003412917
51337646757157   MARIAM          BANGURA                   VA          90002026467
51338849184357   JASMINE         POLITE                    SC          90014018491
51344924157157   PAULINA         MENDEZ                    VA          90012609241
51346881757148   HANNER          HERNANDEZ                 VA          81096398817
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51348355684357   TISHA           ALLAN                     SC          90010853556
51351477291895   STANLEY         WILLIS                    OK          90014814772
51354256957157   RASHID          DUMBUYA                   VA          81001692569
51357427485862   PRAVEEN         DUGYALA                   CA          90014154274
51359921784342   JENNIFER        DOSS                      SC          90011609217
51365683485928   KIARA           JACKSON                   KY          90010886834
51371367551348   KELLY           GAHERTY                   OH          90009513675
51385274861973   JUAN            MORALES                   CA          90014162748
51386288733699   JONAH           GENT                      NC          90011422887
51392235785862   FRANCISCA       LARA LOPEZ                CA          90006102357
51392961484357   COURTNEY        SINGELTON                 SC          90006479614
51425134861975   VIVIAN          RODRIGUEZ                 CA          90010411348
51428425184373   CAMEO           BROWN                     SC          19079554251
51429658742335   JOHN            MOORE                     GA          90014596587
51436242285928   ASHLEY          CORTEZ                    KY          90013432422
51449868857157   JOSE            SANCHEZ                   VA          90014888688
51454378971235   KASIE           HAVEN                     IA          90013123789
51457429133696   KEYASHA         INGRAM                    NC          90013564291
51458815757157   BREYONNA        WILLAMS                   VA          90013478157
51458816161971   SERRANO         MICHAEL                   CA          46082118161
51462286491576   AIDA            ARVELO                    TX          90011262864
51463155457157   TAMEKA          FELTON                    VA          90011001554
51463659785862   SONIA           KAUR                      CA          90013146597
51463894185862   SONIA           KAUR                      CA          90014338941
51465834461971   KAREN           SMITH                     CA          90014038344
51467697985862   BRUCE           COLNESS                   CA          90012526979
51475985984357   CECIL           OBANNER                   SC          90013289859
51476843585928   JESSICA         BURDEN                    KY          90010888435
51483962784852   SHAQWANA        DAVIS                     NJ          90013879627
51487175333696   TARRELL         ROWE                      NC          12099471753
51487271333699   MICHELLE        HUGHES                    NC          90010962713
51491692193724   JENIPHOR        COMPTON                   OH          90012736921
51499868857157   JOSE            SANCHEZ                   VA          90014888688
51512587842335   STEPHEN         BRANDON                   GA          90014585878
51516179151323   TRACEY          FAIRBANKS                 OH          90005551791
51533427484334   CARROLL         SANTOS                    SC          90005464274
51553649857157   LUIS            ALBERTO                   VA          90012056498
51553873231429   TAMARA          LOGAN                     MO          90009538732
51557314331428   JAZZ            BAILEY                    MO          27561533143
51559891251348   MICAELA         STEVENSON                 OH          90012868912
51561637133623   DOMINIQUE       WATKINS                   NC          90001936371
51566249961973   ELVA            KRAMER                    CA          46025102499
51568732791895   RICKEY          ARTHUR                    OK          90012567327
51571986691521   EDGAR           HERNANDEZ                 TX          90012429866
51578133357157   ISAIAS          GOMEZ                     VA          81070021333
51588785861971   GAY             GARRIS                    CA          90001407858
51594193984357   TERRANCE        ADDERLEY                  SC          90009401939
51594635561973   AIOTEST1        DONOTTOUCH                CA          90015116355
51595558557157   PEDRO           MARINERO                  VA          90014235585
51596113591895   KENDRA          CROCKER                   OK          90012361135
51597428933696   SHANNON         PERMAR                    NC          90011314289
51598223261971   LISSETH         LOPEZ                     CA          46074152232
51614116357157   JOSH            LEE                       VA          90011311163
51617386361973   WILLIAM         PORTER                    CA          90002003863
51618488391576   MARTHA          MORALES                   TX          90002734883
51621269791895   CRYSTAL         OLIVER                    OK          90013982697
51622275557153   CLEMENTO        SANTILLAN                 VA          90006182755
51623258233699   TENISHA         PRICE                     NC          90012072582
51626688591521   GLORIA          GARCIA                    TX          90013876885
51629137157157   TIFFANY         BOWEN                     VA          90004651371
51632539991895   MICHAEL         GRAZIANO                  OK          90013775399
51643854561975   AIOTEST1        DONOTTOUCH                CA          90015128545
51645388184373   SHAWONNA        GILLIARD                  SC          90011023881
51645595791576   EVELYN          GUTIERREZ                 TX          75093975957
51658291161971   NICHOLAS        HOWARD                    CA          90013312911
51658564484357   DANIELLE        SIMMONS                   SC          90012945644
51689197533699   CHRISTOPHER     TRUESDALE                 NC          90013011975
51693536391895   TIFFANY         MERRILL                   OK          90015155363
51697511233699   THOMAS          WILLIAMS                  NC          12033875112
51699136561971   MARIA           CASTNEDA                  CA          90003501365
51712221333699   SMITH           JAMES                     NC          12042292213
51724851585862   AIOTEST1        DONOTTOUCH                CA          90015128515
51728584251348   JAMES           ELLINGTON                 OH          66018175842
51733599633696   STELLA          PENUELAS                  NC          90013775996
51743243361975   JACQUELINE      HURTADO                   CA          90013342433
51751223761973   NICOLE          ROSALES                   CA          90002492237
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51774152757157   RONNIE          COLBERT                   VA          90014611527
51778413457157   KENNETH         OWUSU                     VA          90009204134
51781556461971   SAUL            LOPEZ RAZO                CA          90001435564
51783134757157   JACINTO         SANCHEZ                   VA          90010701347
51786443685862   ANELLE          MISKOWISLZ                CA          46037624436
51792549961971   ANTOLIN         NEMECIO                   CA          90005335499
51795183657148   PATRICIA        RIVAS                     VA          90000641836
51796563557157   JOSE            DE LEON                   VA          90008385635
51812278457157   LINWOOD         WILLIAMS                  VA          90014712784
51813851585862   AIOTEST1        DONOTTOUCH                CA          90015128515
51814732791895   RICKEY          ARTHUR                    OK          90012567327
51815875384357   NICKIE          JENKINS                   SC          90001788753
51816511561971   HAKMT           TOMA                      CA          46081715115
51821311461971   ISABEL          ACEVEDO                   CA          90008083114
51821865261971   FERNANDO        CRUZ                      CA          90009888652
51832451451348   SEAN            BURNS                     OH          90008334514
51832549761971   CHARISSE        PORTER                    CA          46052365497
51834699361975   NADIA           MORENO                    CA          90013216993
51837395761973   JAVIER          PALOMARES                 CA          90012373957
51838799251348   ALISHA          HALL                      OH          90010917992
51841855261975   AIOTEST1        DONOTTOUCH                CA          90015128552
51845764351348   BRAD            BROOKS                    OH          90004967643
51853846351348   MICHAEL         ADKINS                    OH          90014298463
51853851585862   AIOTEST1        DONOTTOUCH                CA          90015128515
51858364785862   LEANN           MEDSKER                   CA          90012653647
51868764161973   VICENTE         BUSTOS                    CA          46087187641
51882466242335   JOSEPH          MAYS                      GA          90012964662
51897423233696   LASHANA         WALL                      NC          90005694232
51931827451586   TSEGAY          GEBREKIDAN                IA          90013898274
51931916585928   KELLY           GROVS                     KY          90012409165
51932336261924   ALBERTO         RODRIGUEZ                 CA          90007743362
51951247861971   MARY            PARKER                    CA          90002672478
51951986184373   JOHNNY          TAYLOR                    SC          90008449861
51953549161975   GEORGE          HACKER                    CA          90014845491
51957487931429   HEZEKIAH        WILLIAMS                  MO          90010754879
51981868261971   VICENTE         GARCIA                    CA          90004878682
51983954171964   IRMA            GARCIA                    CO          32098649541
51985511991895   ALONZO          KELLY                     OK          90010705119
51989528361971   MARCELA         ESPINOZA                  CA          90014115283
51991128861971   EDITH           YATES                     CA          90010781288
51999871991895   JUAN            HERNANDEZ                 OK          90008898719
52118154861973   ALEXANDER       GUTIERREZ                 CA          90011631548
52118433861965   DAVID           HERNANDEZ                 CA          46039774338
52118666891587   CHRISTIAN       PATATUCHI                 TX          75042436668
52127631561965   RICARDO         PEREZ                     CA          90007626315
52129469761973   BRAULIO         CRUZ                      CA          90012574697
52135354861975   DANIEL          AVITIA                    CA          90012773548
52136897361971   JUAN            GUTIERREZ                 CA          90013168973
52141431161965   JENNIFER        ELIAS                     CA          90012534311
52141825633699   JOSEFA          PRUDENTE ALBERTO          NC          90013928256
52143492893724   ADAM            ROHRER                    OH          90009804928
52143821261975   FRANCISCA       FLORES                    CA          90012238212
52143961931428   YASHICA         STEWART                   MO          90012009619
52145755133699   MICHELLE        KINSEY                    NC          90014767551
52148634684357   NICOLE          SHARP                     SC          90008886346
52152873161975   VALERIA         BARRERA                   CA          90011308731
52154582255936   PERYNA          WASHINGTON                CA          90012605822
52162464833696   VERTAISHA       WOMACK                    NC          90012034648
52166988971964   COREY           SAUNDERS                  CO          90014109889
52176273791587   PAMELA          NIETO                     TX          75087492737
52193463433699   NEFATERIA       KNIGHT                    NC          90013764634
52214775691587   ARMANDO         APODACA                   TX          90013367756
52216742985928   BIANCA          WATES                     KY          90010297429
52219371133696   LILLIAN         MANNING                   NC          12084873711
52223999481658   STACY           EACRET                    MO          90009759994
52227931491587   BRENDA          HERNANDEZ                 TX          75080469314
52228146977583   CAMERON         PEEK                      NV          90010871469
52228328393724   ROGER           DUDLEY                    OH          90009343283
52229442861971   CARLOS          BAZAN                     CA          90012574428
52238493584357   GAIL            WHITEHEAD                 GA          90010294935
52246489391587   OMAR            RAMIREZ                   TX          90012754893
52249332657157   SILVIO          LOPEZ                     VA          81008203326
52251979661973   ERIC            HILL                      CA          90013009796
52253888833699   FREDDY          GONZALEZ                  NC          90014908888
52256461171964   FERMIN          TORRES                    CO          32071114611
52258434833699   LAMONTE         HAWKINS                   NC          90012964348
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52274125284373   DANIEL                BROWN               SC          90014121252
52276214393724   JEFFREY               AMMON               OH          90009692143
52282761333696   LAKIA                 RHODES              NC          90015077613
52288798861975   SAMUEL                CORONADO            CA          90011437988
52292297661965   MICHAEL               FRISHKORN           CA          90010002976
52293676191895   MICHAEL               HOLT                OK          90014476761
52318468184357   JAKIA                 SINGLETON           SC          90010784681
52322216851348   SUSANA                ARAUJO              OH          90014152168
52338513461965   ANTONIO               TEJEDA              CA          90013405134
52338673633699   RUTH                  CALDWELL            NC          90014806736
52346986361473   ABDI                  DIRIE               OH          90013889863
52349739684373   LATASHA               SMALLS              SC          90015137396
52352469933696   HEATHER               GLENN               NC          90007494699
52361279161973   LAURA                 OROZCO              CA          90008842791
52367561761973   ANA KARINA            ASCENCIO            CA          90011445617
52371557684357   MAURICE               HUNT                SC          90012935576
52373511233696   TIFFANY               FARM                NC          90013275112
52377227233696   ALPHONSO              CHAMBERS            NC          90011932272
52379484661971   CYNTHIA               WILKEY              CA          46009594846
52387538161975   RALPHY                COTA                CA          90012085381
52391179591587   JESUS                 ALPANZA             TX          90013951795
52393291561975   JASMINE               SANTOS              CA          90007742915
52394594761973   DIANA                 TUTTLE              CA          46067555947
52394818391348   ANTRINA               KING                KS          90009538183
52395313691895   ALISSA                GROGAN              OK          90014233136
52396444857157   JERARDO               VALLE               VA          90010904448
52396464333699   BETTY                 WILLIAMS            NC          90011074643
52397339371964   SEAN                  PORTER              CO          90010083393
52418284231429   LASHONDA              THURMAN             MO          90005012842
52419358891587   BRENDA                RINCON              TX          90010393588
52419655142335   SHELBY                HAMILTON            GA          90013596551
52419835257157   TYRONE                STEWART             VA          90012838352
52423368951348   ISHA                  CHAM                OH          90008643689
52428664784373   LAKENYEA              ROYAL               SC          90014036647
52434383951348   GERALDINE             HARRIS              OH          90010983839
52437736357157   CERICK                GRIFFIN             VA          90012847363
52448224293724   MELINDA               WELLS               OH          90010982242
52449613131428   INASS                 ELOUERRASSI         MO          27500586131
52451981771964   DARRON                HOWARD              CO          90006879817
52454494157157   VERONICA              MORENO              VA          90011904941
52458378833699   LATOYEA               FINNEY              NC          90014923788
52462612561973   ROSA                  MUNOZ               CA          90009776125
52463236361975   ALEJANDROO            ESPINOZA            CA          46034042363
52463429731428   EDRAR                 SOSA                MO          90010554297
52476484361975   JAVIER                CARDENAS            CA          90011424843
52478954693724   BRIAN                 TELL                OH          90009179546
52479268961965   LUIS                  QUEVEDO             CA          90011332689
52482685433699   KAREN                 WILLIAMS            NC          90013836854
52485283651326   CHRISTI S             SOLLMANN            OH          90007852836
52489692991521   SIMON                 LOBBAN              TX          90012006929
52489948884373   JOSE                  HERNANDEZ LOPEZ     SC          90014589488
52491673861971   DAISY                 ROJAS               CA          90012886738
52494427493724   ERICA                 TOLIVER             OH          90011174274
52511461133696   DAYNEZ                ORDONEZ             NC          90010984611
52512377371964   SHILOH                LILLEY              CO          90011613773
52512514231428   AISHA                 WILKES              MO          90011185142
52513678661975   CHRISTOPHER           SCHILAWSKI          CA          90011876786
52515583491587   MARTHA                MADRIZ              TX          75007555834
52517223171964   KALEB                 ALLEN               CO          90011312231
52523215591587   NANCY                 MUNGUIA             NM          75042372155
52526646731429   MARCUS                NOLEN               MO          90005866467
52528887193724   JAMES                 VANHOOSE            OH          90011068871
52534667561971   AYLIN                 RIVERA              CA          90013826675
52535442731428   HARRY                 WILLIAMS            MO          27595844427
52536635361965   AIOTEST1 DONOTTOUCH   DONOTTOUCH          CA          90015116353
52546811491895   MARY                  HYNES               OK          90009478114
52548787284373   WILLIAM               TARTER              SC          90011657872
52549223857157   MILTON                TURCIOS             VA          81040872238
52551245791587   ELVIA                 CABRAL              TX          90012722457
52553726361975   RUBY                  ARELLANO            CA          90000127263
52554551371964   STEPHANIE             TRUJILLO            CO          90011615513
52557413884373   ANTON                 SMALL               SC          90014914138
52558582331692   CARLOS                MARROQUIN           KS          90012455823
52563428591587   DEBBIE                ROJAS               TX          90011354285
52564949891587   THEODORE              PERRY               TX          90011959498
52567583491587   MARTHA                MADRIZ              TX          75007555834
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52569742833699   GREGORY               LIPSCOMB             NC         90014127428
52574599461975   IVAN                  MARTINEZ             CA         90010115994
52576237761973   KENYA                 SANCHEZ              CA         90012922377
52584953233696   FREDDIE               CORNELIUS            NC         90001629532
52597982633696   CHERYL                DIAZ-RAMIREZ         NC         90014689826
52599781984357   TRAE                  EVERETT              SC         14594037819
52614729291587   NAYELI                SOLIS                TX         90010977292
52615193585928   PAUL                  HUFF                 KY         90001641935
52623239791587   RAYMUNDO              CARRILLLO            TX         90013952397
52625342891265   ALICIA                BRENNAN              GA         14505503428
52639375893724   JENNIFER              COURTNEY             OH         90007113758
52643576961965   AMBER                 CASTRO               CA         90014985769
52644182654151   MARIAH                RAMSEY               OR         90007951826
52653161885928   RODNEY                LIGHTFOOT            KY         90005501618
52656529757157   JUNIOR                ECHEGARAY            VA         90010355297
52657436657157   ZEESHAN               KHALID               VA         90008204366
52657819361973   DIANA                 CASTRO               CA         90005818193
52665549733699   LATASHA               FINNEY               NC         90014885497
52669866871964   JOSEPH                FISH                 CO         90011618668
52672546291587   LUZ                   VASQUEZ              TX         90014085462
52672991261965   ALICIA                VELLEGE DE SANCHEZ   CA         90010929912
52691548893724   WANETTA               PETERSON             OH         90008355488
52693396493724   BRETT                 WOOLERY              OH         90011933964
52695186391895   SHALEIGH              MCLAIN               OK         90010321863
52696427484357   LATOYA                ROYSTER              SC         90008744274
52711894271964   ROBERT                ROMO                 CO         90012458942
52716948693724   LESLI                 MARTINEZ             OH         90013609486
52717827257157   STELLA                ESQUIVEL             VA         81072068272
52727267657157   JONATHAN              MUNIZ                VA         90002362676
52737153661975   SHAWN                 FULLER               CA         46035381536
52743579251348   JAMES                 LUEHRMAN             OH         90000425792
52743848991895   TERRELL               GERMAN               OK         90011208489
52744625791587   BEATRIZ               RAMIREZ              TX         90002076257
52751857261971   ANTHONY               NATALLEZ             CA         90012198572
52751972733696   JULIE                 JORDAN               NC         90011389727
52754635361965   AIOTEST1 DONOTTOUCH   DONOTTOUCH           CA         90015116353
52758546661975   ELI                   CAVAZOS              CA         90012085466
52761481184373   NATALIE               BONDURANT            SC         90014934811
52761484657157   TERRIE                MULLINS              VA         90000474846
52764188333699   NYKIAAH               CURRY                NC         90004381883
52765795893724   ALYCIA                WELLZ                OH         90003037958
52769769133699   SHELAINE              WHITLOCK             NC         90006887691
52771281171964   DARRYL                ABERNATHY            CO         90011622811
52775355561973   ERICK                 GOODALL              CA         90011963555
52776766533696   FLOYD                 AYDELELLE            NC         90013247665
52782717591587   JESSICA               REYES                TX         90011877175
52783431991587   HECTOR                RAMIREZ              TX         90014864319
52783816161973   LUCIA                 BROWN                CA         90013078161
52789982557157   JHON                  TOMAS                VA         90009859825
52795167951348   ASA                   MC NEIL              OH         90001781679
52798892293724   JASON                 JOHNSON              OH         90012918922
52815562461965   ISABEL                RUBIO                CA         90006015624
52815797297125   SHALONTE              CRAWFORD             OR         90012527972
52818695393724   IVR                   ACTIVATION           OH         90008336953
52818739284357   ZION                  HOLMES               SC         90010407392
52821576493724   JACK                  SIMMS                OH         90012265764
52824991351348   JESSICA               LOWRY                OH         90013689913
52826411461975   JANNET                FERNANDEZ            CA         90011334114
52829696171964   NATHAN                BRESCI               CO         90004036961
52831696171964   NATHAN                BRESCI               CO         90004036961
52835711891587   DYLAN                 BAIRD                TX         90007307118
52841399961965   ANDREW                DENNY                CA         90010663999
52842365391895   AARON                 HUMPHREYS            OK         90014243653
52843483184373   MALIK                 HARDIMAN             SC         90014704831
52844263733696   CRYSTAL               PRICE                NC         90011302637
52845938893724   CIERRA                MALLORY              OH         90014229388
52855977391587   JOSE                  HOLGUIN              TX         90013329773
52858396161965   DEBRA                 ROBINSON             CA         90001873961
52864631861975   GUADALUPE             COLADO               CA         90008576318
52868529531428   LINDA                 STREICHER            MO         90010575295
52868939891587   KARLA                 CARDONA              TX         90011429398
52878399785824   CURTIS                JENNINGS             CA         90008653997
52884213633699   SELAMAWIT             TEKLEMICAEL          NC         90012602136
52888496593724   DOROTHY               BROWN                OH         90011084965
52888631384357   BERNARD               ROBINSON             SC         90012236313
52889336333696   JAMES                 BOND                 NC         90010063363
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52898188293724   TANESIA         HOPSON                    OH          90001181882
52914167451348   LADE            AEYEMI                    OH          90014041674
52914897833699   JENNIFER        HERNANDEZ                 NC          90012938978
52927288733699   JONAH           GENT                      NC          90011422887
52931518791895   JOSEPH          GIBSON                    OK          90011215187
52933745431428   CASS            SHEWBART                  MO          90008757454
52935214884373   CONNETTAR       GREEN                     SC          90013682148
52948948191587   JENNIFER        SAUCEDO                   TX          90011019481
52949963351348   MIKE            WATHEW                    OH          90009139633
52956713455951   LEANNA          CORANDO                   CA          90007007134
52973495133699   DEANDRE         ALLEN                     NC          90009274951
52979159684357   JESSICA         NECESSARY                 SC          90014601596
52987861961975   MAYNARD         LEE                       CA          90010678619
52989924761965   AURIEL          POOLE                     CA          90014859247
52994453393724   ROXANNE         NUTHMAN                   OH          90012364533
52997159684357   JESSICA         NECESSARY                 SC          90014601596
52997353333696   KHALIL          VANCE                     NC          90011143533
53113335971964   JUANA           PALAFOX                   CO          90012763359
53118458131428   SHANNA          HAWKINS                   MO          27547064581
53129365385928   LAURISSA        VARGAS                    KY          67002033653
53129563791834   SHERRONDA       PHILLIPS                  OK          90012465637
53132185471964   DARREN          SALAZAR                   CO          90010441854
53141265757157   TONY            BROOKS                    VA          90013142657
53143239861975   ANTHONY         ALLISON                   CA          90013922398
53144971193782   ASHLEY          FINN                      OH          64506999711
53146526291534   WENDY           MELERO                    TX          90014575262
53146762761973   OMAR            GANDARA                   CA          90012747627
53148298851348   MELVINA         REEVES                    OH          66033992988
53149433657157   MONICA          PETERSON                  VA          90013144336
53154361733696   CHRIS           HOCKADAY                  NC          12010263617
53158995761975   BUNTHA          CHHUON                    CA          46091339957
53163779184357   KATRECE         RIVERS                    SC          90014627791
53163973571964   MICHAEL         SCHLEIKER                 CO          90014589735
53173712133699   SOPHIA          JAMES                     NC          90002237121
53173889351348   MARK            WOODS                     OH          90013448893
53175428533696   ANTON           HARPER                    NC          90014574285
53176636461975   AIOTEST1        DONOTTOUCH                CA          90015116364
53183776285928   TRAVIS          SMITH                     KY          90014637762
53185548633696   CRYSTAL         CHAVIS                    NC          90011155486
53192392933699   BRENDA          ROGERS                    NC          90013003929
53192581133696   OSCAR           TATE                      NC          90014815811
53194167671964   FERMIN          RAMOS                     CO          90012101676
53194872791534   RAMIRO          VARELA                    TX          90009908727
53213555485928   SHAWN           SWICKARD                  KY          90013195554
53218639261973   AIOTEST1        DONOTTOUCH                CA          90015116392
53223191161971   AMANDA          AKIKI                     CA          90012331911
53224911855959   YADIRA          JIMENEZ                   CA          90010959118
53226413551348   NINA            SMITH                     OH          66056054135
53229763191587   ROSA            ESQUEDA                   TX          90013487631
53236922491895   KATHRYN         ALVAREZ                   OK          90007749224
53237239257157   JORDAN          HOGAN                     VA          90013172392
53249242691895   CATHY           SANCHEZ                   OK          90010652426
53249352657157   GUILLERMO       SOLIS                     VA          90013173526
53249639161973   AIOTEST1        DONOTTOUCH                CA          90015116391
53256639161973   AIOTEST1        DONOTTOUCH                CA          90015116391
53263259891587   ESTELA          MORALES                   TX          90012612598
53271639261973   AIOTEST1        DONOTTOUCH                CA          90015116392
53274439455959   MARIA           ISARRARAS                 CA          90012254394
53278567933699   PATRICE         EDWARDS                   NC          12062355679
53284694761975   JOSE            RODRIGUEZ                 CA          90014996947
53292936491895   BARNETT         RUSSELL                   OK          90007749364
53293349785928   ANTHONY         FRAZIER                   KY          90014873497
53298526561973   DONNA           STAMMEN                   CA          90012995265
53298558561975   ARTURO          VALADEZ                   CA          90013165585
53299929484357   CLARENCE        SIMMONS                   SC          90014869294
53311286385928   LOEN            KEERPS                    KY          90012742863
53313175491587   JUAN            LUNA                      TX          90013491754
53319289233699   MILRED          GAFFNEY                   NC          90013572892
53325897833699   JENNIFER        HERNANDEZ                 NC          90012938978
53326483743569   JORIE           NICHOLAS                  UT          90013064837
53349334791587   LUIS ARMANDO    URIBE                     TX          90013493347
53352586191534   BENJAMIN        BUSTAMANTE                TX          90010655861
53353639261973   AIOTEST1        DONOTTOUCH                CA          90015116392
53355165433696   PATRICKA        HOPKINS                   NC          90001531654
53355777155959   ALYSHA          HERNANDEZ                 CA          90014697771
53368927755959   ASHLEY          LOPEZ                     CA          90013049277
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53389636461975   AIOTEST1        DONOTTOUCH                CA          90015116364
53395335291895   ERENDIRA        CARRANZA                  OK          90011863352
53395557233696   DOMINIQUE       AVERETT                   NC          90013605572
53411499871964   NOHEMI          VASQUEZ                   CO          90010024998
53414284391895   IVAN            GARCIA                    OK          90011902843
53416535455959   MARIA           CASAREZ                   CA          90010415354
53417571691587   CLAUDIA         CERENIL                   TX          90013495716
53418584943569   AARON           CLEAPOR                   UT          90009855849
53418713861975   KENNETH         EATON                     CA          90001987138
53418743785928   DEBORAH         KESNER                    KY          90004097437
53425173233699   TALYA           EDMONDS                   NC          90011081732
53431594291587   ROSA            VELAZQUEZ                 TX          90013495942
53432652761973   FLORES          PABLO                     CA          90004496527
53435135591885   PEDRO           ARROYO                    OK          21095171355
53438333391534   YANETT          GONZALES                  TX          90011973333
53441964857157   LARRY           MYRICK                    VA          90013789648
53442135633696   ALEX            STOREY                    NC          90013971356
53443842757157   BERTILA         VASQUEZ                   VA          90013218427
53444815461971   SEAN            ADAMS                     CA          90013708154
53445586293724   AMANDA          MANNING                   OH          90010435862
53451262251348   JIBRI           MCKINNIE                  OH          90014082622
53451316633696   JENNIFER        SMITH                     NC          90010143166
53457282771964   DALILA          CAZARES                   CO          90010472827
53463636461975   AIOTEST1        DONOTTOUCH                CA          90015116364
53463915861973   JULIA           RIVERA                    CA          90014449158
53465571631428   CHARITY         VAUGHN                    MO          90002395716
53471253291895   JENNIFER        LARSON                    OK          90008392532
53471384561975   VIRGINIA        BENITES                   CA          46035523845
53472731991587   DAVID           CRUZ HERNANDEZ            TX          90013497319
53474996785928   LARA            FRALEY                    KY          90013889967
53476763361975   CHRISTINA       PRECIADO                  CA          90012967633
53477315333699   STEPHANI        SUMMERS                   NC          90012793153
53479866761973   JOE             KAZANYA                   CA          90013308667
53479949161973   TRINIDAD        ESPINOZA                  CA          90007579491
53481433933699   FARRAH DAWN     WOLFORD                   NC          90011194339
53483977951348   CHRIS           JONES                     OH          90012969779
53485555491534   SAYEG           IDAHIR                    TX          90007895554
53485983457157   JOSE            JOVEL                     VA          90013219834
53493839785928   MISTY           SWEAT                     KY          90010998397
53496469361971   VLADAMIR        VERA                      CA          90012474693
53512987157157   LUIS            RIVERA                    VA          90007519871
53515694761975   JOSE            RODRIGUEZ                 CA          90014996947
53516789561973   JOSE            URENA                     CA          90014107895
53519427933696   AARON           ALSTON                    NC          90013104279
53524347461973   ABRAHAM         VIZCARRA                  CA          90012493474
53524417833699   SHENIKA         MASHORE                   NC          90014924178
53531276455959   MIRNA1          ALVAREZ                   CA          48046702764
53534249585928   DARLENE         BROWN                     KY          90013482495
53541532661973   VANESSA         GONZALEZ FLORES           CA          90012845326
53542437157157   EDWIN           PINEDA                    VA          90010334371
53548352555959   MARTIN          TORRES                    CA          90013113525
53558428761971   MICHEAL         OWENS                     CA          46072334287
53563947533699   CHYNEICE        CURRY                     NC          90013799475
53573731957157   KEITH           SCOTT                     VA          90013267319
53576666191534   MARTIN          ARRENDONDO                TX          90014076661
53577215791534   ERENDIDA        GALVAN                    TX          90013632157
53584293691534   RYAN            GIANNI                    TX          90008152936
53584418861975   MARIA D         TORRES                    CA          46080614188
53586636461975   AIOTEST1        DONOTTOUCH                CA          90015116364
53589818161973   BELEN           PEREZ                     CA          90010758181
53593198871964   CHRIS           DIPENTINO                 CO          90011651988
53593224251348   AMANDA          MAAS                      OH          90013912242
53599866361973   JESSICA         GONZALEZ                  CA          90012688663
53623734951348   JILLIAN         HOWARD                    OH          90011397349
53639932843569   PAYGO           IVR ACTIVATION            UT          90011759328
53646334984357   ANGEL           SALAZAR                   SC          90010023349
53653774171964   DEVIN           COGDILL                   CO          90014907741
53658187985852   BENJAMIN        PRICE                     CA          90013111879
53659224961975   ROSAURA         ALLUP                     CA          90009602249
53659437157157   EDWIN           PINEDA                    VA          90010334371
53665776733699   DAQUAUN         WAGNER                    NC          90015017767
53673756661975   ROCIO           ESPINDOLA                 CA          90006437566
53676137491895   DASHA           BRADLEY                   OK          90013931374
53678894861971   TIM             LARSON                    CA          90012578948
53679641831428   ANTONIA         GOTOW                     MO          90013026418
53682623471964   GARY            LOVELACE                  CO          90000196234
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53691367557157   CYNTHIA         HERNANDEZ                 VA          90014503675
53692647455959   MARTHA          FRANCISCO                 CA          90008866474
53696217433699   JULIAN          HERNANDES                 NC          90013042174
53696939685983   BRETT           MORENO                    KY          90010309396
53697148561975   BRIAN           SPREWELL                  CA          90013101485
53715164161975   JASMINE         HERNANDEZ                 CA          90013101641
53715846831428   ANGELINA        KENT                      MO          90007888468
53722188261975   FERNANDO        CASTRO                    CA          46025081882
53722917257157   CHUCK           MIRELES                   VA          90014919172
53723171533696   KORMORRIUS      OUSLEY                    NC          90014171715
53729222885928   JAMES           MORROW                    KY          90010392228
53729281161973   MARTHA          VASQUEZ                   CA          46004832811
53732955661975   JESUS           JIMENEZ                   CA          46005739556
53735494655959   LOURDES         LIRA                      CA          90009614946
53736255171964   STEVEN          COLEMAN                   CO          90014732551
53739617561975   PATRICK         KAUWOH                    CA          90013476175
53742338531422   VERONICA        CLARK                     MO          90011583385
53742779157157   SANDRA          MURILLO                   VA          90010707791
53746145751348   LAMISHA         OLIVER                    OH          90012741457
53757697285928   EDWARD          JONES                     KY          90012246972
53761183761971   RICO            GALES                     CA          90013111837
53768329784329   JOSHUA          ROBERTS                   SC          90013033297
53769453233699   JESSICA         SMITH                     NC          90012814532
53771497833699   TINA            GENTRY                    NC          90015094978
53784526493724   MARTY           GISEWITE                  OH          90010965264
53786535833699   HILDA           HERNANDEZ                 NC          12095975358
53794356591895   MARIO           PANIAGUA                  OK          90013933565
53797828261973   LORENA          OSUNA                     CA          90002618282
53813963355959   PEDRO           ZEPEDA                    CA          90001099633
53814653361973   CAMERON         FIELDER                   CA          90011446533
53817216793782   CHRIS           LANNERD                   OH          90014592167
53817222231428   CHRISTOPHER     PAYNE                     MO          90010982222
53823546761971   DAWN            COMO                      CA          46029525467
53824383551348   BOBBY           TRENT                     OH          90012663835
53826616361971   RICARDO         HERNANDEZ                 CA          46037446163
53827218761973   MARIA           ALVARADO                  CA          90012732187
53827263933699   YTANG           KSOR                      NC          90010112639
53829755491534   LUIS            GONZALEZ                  TX          90010717554
53834238433696   SYREETA         SAUNDERS                  NC          90013922384
53843633791895   PAU             KHIA                      OK          90014756337
53843797284357   ANGEL           SALAZAR                   SC          90007677972
53845685461966   REBECCA         BRAMBILA                  CA          90010416854
53848415491895   RODNEY          FUDGE                     OK          90010914154
53849723957157   VICTOR          CONTRERAS                 VA          90011037239
53853965691895   ALLIE           HUDSON                    OK          90012519656
53854391651348   STEFFANIE       POPE                      OH          90013303916
53862486585928   BRANDY          GARCIA                    KY          90012114865
53863781933699   ANDRIL          CHESTNUT                  NC          90011517819
53882611984373   APRYL           WRIGHT                    SC          19089066119
53888437391895   JOSHUA          DAY                       OK          90007204373
53889441771964   GERSON          ALMICAR                   CO          32086864417
53891495757157   MARIE           COOK                      VA          90014094957
53891889261975   ANDRES          RAMIREZ                   CA          90014918892
53892711484357   RANDALL         LEWIS                     SC          90006627114
53893443133696   JERRY           POTEAT                    NC          90011214431
53893621591534   PATRICIA        TORRES                    TX          75001806215
53894698861975   EDITH           CERVANTES                 CA          90014826988
53897212891534   JESSICA         DOMINGUEZ                 TX          75017642128
53911718261973   JOSH            CORNELL                   CA          90012757182
53912132461971   GUSTAVO         GONZALES                  CA          90013581324
53916721371964   ROY             ROSS                      CO          90010077213
53921488233696   JENE            STILES                    NC          90011214882
53923879691895   ANDREW          BROAD                     OK          21009718796
53924754357157   SORIE           KONNEH                    VA          81031057543
53926689757157   LUIS            VALENCIA                  VA          90011116897
53927678261975   LISA            SEXTON                    CA          90015166782
53934731261975   MARCOS          HERNANDEZ                 CA          90013117312
53934815757157   BREYONNA        WILLAMS                   VA          90013478157
53938545671964   CHARLOTTE       WILEY                     CO          90011665456
53946415491895   RODNEY          FUDGE                     OK          90010914154
53947488233696   JENE            STILES                    NC          90011214882
53948286461975   CHRISTENE       TERESA                    CA          90013122864
53954527155959   NANCY           MENDOZA                   CA          90013815271
53961367685928   NATHAN          WILLIAMS                  KY          90015173676
53961695161973   JESSICA         SEGURA                    CA          90013716951
53972414643569   RICHARD         VADNAIS                   UT          90009724146
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53975497485928   MO              BROWN                     KY          90013864974
53975745851348   MALIKAH         COFFEY                    OH          90011957458
53984543333696   MONIQUE         MCQUEEN                   NC          90011215433
53989377933699   ELADIA          GUTIEREZ                  NC          90014483779
53989637761973   ALEX            HEREIDA                   CA          90014916377
53992635763667   DIETRICH        CLEMMONS                  MO          90007266357
53993653385928   ADRIANA         GAYTAN                    KY          90012936533
53999147784357   NATASHA         PRINGLE                   SC          90010211477
54112813631428   IVORY           MOBLEY JR                 MO          27506038136
54119185785928   ASIANNA         FORD                      KY          90014591857
54137828833696   BRANDON         MCNEIL                    NC          90015008288
54141112961973   MARIA           ABARCA                    CA          90010821129
54154684433696   YALONDA         BETHEA                    NC          90011066844
54156858261975   LANETTE         FOSTER                    CA          90007958582
54158475631429   AARON           GILBERT                   MO          90010174756
54165627651348   MELISSA         MOYER                     OH          90015156276
54169743784357   PATRICIA        MULLINS                   SC          90006547437
54194861155959   CINDY           JUAREZ                    CA          90012698611
54195278993782   KELLI           WAGNER                    OH          90008862789
54231628433699   NUBIA           TRINIDAD                  NC          90011156284
54235155531429   ALONZO          ZALLOWAY                  MO          90007101555
54248173693724   GILBERTO        CASTILLO                  OH          90011641736
54252192791895   BRANDON         ALEXANDER                 OK          90013051927
54252595291587   GILBERT         MENDOZA                   TX          90012315952
54262516661975   BRYAN           MALDONADO LOPEZ           CA          90012705166
54274845961973   MARTIN          JUAREZ                    CA          46084698459
54278219661975   ALMA            CHAVEZ                    CA          90007982196
54282894691895   LAKIN           N HAMILTON                OK          90011318946
54298556284373   JENNIFER        LUCAS                     SC          90013095562
54311187961971   JENISE          ROGERS                    CA          90011131879
54325972591587   ANGEL           TELLEZ                    TX          90010259725
54328242755959   MARIA           BARRAGAN                  CA          90007162427
54338728891587   RUBISELL        BARRAZA                   TX          90014417288
54341625893724   KRISTINE        CLAXTON                   OH          90013216258
54342256191895   PAULA           SHARP                     OK          90008192561
54343516155959   SANDRA          VARGAS                    CA          90007695161
54345541785928   EMMMETT         MANLEY                    KY          90012385417
54346224133699   ANDREYA         CHURCHILL                 NC          90007702241
54351623651336   NAKESHA         FRAZIER                   OH          90011196236
54362194193724   CHRISTOPHER     WILLIAMS                  OH          90012591941
54364642791587   RUBY            VARGAS                    TX          90009446427
54371719261975   ESPERANZA       GONZALEZ                  CA          90012427192
54375594561971   BRICE           BARNEY                    CA          90010745945
54377822593724   NICOLE          BERRY                     OH          90014858225
54379146185928   LIONER          BRANNON                   KY          90005911461
54379713185928   STEVEN          SMITH                     KY          90014767131
54392342991587   RAMON           CHAIREZ                   TX          90013083429
54412161355947   KARLA           DELORBE                   CA          90012711613
54415184133696   LEE             GORDON                    NC          90010931841
54419758333696   ANTHONY         JULIUS                    NC          90014877583
54431669791895   SARAH           KUNIHIRA                  OK          21077586697
54433527855959   RUBEN           SANDOVAL                  CA          90012475278
54435763961939   RICARDO         R HERNANDEZ               CA          90012607639
54438677484373   RASHEMA         PAYTON                    SC          90015156774
54441817143569   LISIATE         POMEE                     UT          90008868171
54442933691895   CAROL           SHOULDERS                 OK          90013159336
54445621791895   BENNY           LONGORIA                  OK          90014116217
54445797991587   EDGAR           BAEZ                      TX          75089397979
54461834385928   JEFFERY         HIGGINS                   KY          90003538343
54462256461971   JUSTIN          RIMOLDI                   CA          90012752564
54467687231428   SANTRELL        DUFF                      MO          90011116872
54471731261975   LAURA           ALVAREZ                   CA          90011557312
54471848733696   KATRINA         MORRISON                  NC          90008078487
54472696761971   MICHAEL         BULICK                    CA          90010916967
54487189561975   CHRISTINE       HEARD                     CA          90014181895
54489113143569   RYAN            REDDISH                   UT          31058221131
54492245891895   BRANDON         BUFFINGTON                OK          90003702458
54499615593724   DENISE          PATRICK                   OH          64573146155
54514385693724   ROBIN           PULLIAM                   OH          90000603856
54515756591895   AMY             DARNELL                   OK          21077667565
54517974391587   JANINE          RAMIREZ                   TX          90010259743
54519413191895   FRANCES         ROBERTS                   OK          90013314131
54527525233699   CYDNEY          MARTIN                    NC          12064615252
54529823261975   LOGAN           BUTLER                    CA          90010458232
54531874161973   GABRIELA V      BERMUDEZ                  CA          90012378741
54535213433696   SHELETHA        PARKER                    NC          90013772134
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54536488661975   RAY               VASQUEZ                 CA          90011154886
54536736155959   FRANCISCO         MELENDEZ                CA          48026027361
54542427293782   HEATHER           HILL                    OH          90010524272
54545142261975   EDITH             HERNANDEZ               CA          90010621422
54546687493724   JENA              WILSON                  OH          90013046874
54546841733696   KENNETH           GIBSON                  NC          90011998417
54547481161973   PATRICIA          TRINIDAD                CA          46086664811
54555823893782   CHEYENNE          DAWES                   OH          90001768238
54561433661971   MARLENE           NUNEZ                   CA          90006214336
54569597561971   RODNEY            NETTLES                 CA          90006355975
54569863561975   CHRIS             FRANCO                  CA          90006568635
54571296491895   AMEER             BOWLDS                  OK          90013012964
54581635191895   KURT              MILLER                  OK          21004436351
54585566855959   ANTHONY           GARCIA                  CA          90011465668
54592435961973   WILLIAM           PAYNE                   CA          90013354359
54593875661973   JAIME             ZARATE                  CA          90014188756
54595492293724   PAMELA            BUTTS                   OH          90011804922
54595595291587   ROZXANA           GARCIA                  TX          90012005952
54597741651586   AMANDA            SEGENT                  IA          90015247416
54597855357157   KEVIN             STRONG                  VA          81008348553
54599969161975   ELIAS             GALDAMEZ                CA          90014159691
54629659261973   ELIZABETH         BOWMAN                  CA          90013046592
54637739861975   MARIA GUADALUPE   REYNOSO ESPARSA         CA          90012107398
54648841161973   XOCHILT           GONZALEZ                CA          46073938411
54656375384373   RENEE             SIMMONS                 SC          90011213753
54657386761975   YESENIA           ORTA                    CA          90014853867
54663859255959   MICAELA           IBARRA                  CA          90012868592
54666239884373   AMANDA            POSEY                   SC          90013592398
54674532961973   KARLA             CASTANEDA               CA          90005185329
54674835751348   RICKY             BARNETT                 OH          90013028357
54675481831428   CALVIN            SHAW                    MO          90004344818
54678178493724   DARELL            THOMPSON                OH          90014771784
54678543855959   LINDA             ARCHULETA               CA          90004735438
54684347661975   JORGE             MORALES                 CA          90013643476
54686675491587   JESSICA           MAGALDE                 TX          90010736754
54693275155959   VIANEY            CORTES                  CA          90012042751
54696946161995   ROBERT            LINDAHL                 CA          90012249461
54698124291587   MIKE              MARTINEZ                TX          75048211242
54699322791895   WILLIAM           HIGGINS                 OK          90012013227
54711492185928   JULIO             SANCHEZ                 KY          67024844921
54712426391895   CHRISTY           JACKSON                 OK          90010304263
54715444621631   JUSTIN            WEATHERSPOON            OH          90014354446
54715795233699   LASHELL           ANTHONY                 NC          90012237952
54715889161975   JOSE              VALLES                  CA          90012058891
54723935461973   ISAAC             QUEVEDO                 CA          90015149354
54728683433699   AIDA              MARTINEZ                NC          90014766834
54731776291587   DANIA             MEDRANO                 TX          90014097762
54732725151348   SUSAN             MILLS                   OH          90009647251
54741847961975   AIOTEST1          DONOTTOUCH              CA          90015128479
54753216861971   LUIS              RICO                    CA          90013382168
54755776785928   CAROLYN           WOODS                   KY          90014907767
54756518957131   ELSA              TORRES                  VA          90004245189
54757444361973   JOSE              ARAMBULA                CA          90010224443
54759885661971   DALIA             BALBUENA                CA          90011468856
54761483291587   VALDEZ            MANUELA                 TX          90012404832
54761566433699   OMEGA             BAUTISTA                NC          90015205664
54765666257157   BERNITA           NEAL                    VA          90008986662
54773713391895   LUIS              BURSOS                  OK          90014147133
54778624361973   TERESA            PEREZ                   CA          90012096243
54783375733699   ALICA             BLANCO                  NC          90011523757
54784212931429   STEVEN            LAMAR                   MO          90007282129
54798735291895   LINDSEY           SCHULTZ                 OK          90014147352
54813429461975   JOSEPH            NIETO                   CA          90013334294
54815545485928   TERRY             CARTER                  KY          90012925454
54816525233699   CYDNEY            MARTIN                  NC          12064615252
54823847961975   AIOTEST1          DONOTTOUCH              CA          90015128479
54828868661971   AMMAR             SHAFIK                  CA          90008798686
54831592133696   SHAQUAE           GIBSON                  NC          90013645921
54839146833699   INFINITI          PENN                    NC          90013581468
54849873191895   JAY               CLAPP                   OK          90014538731
54868691251348   BRITTNEY          JOHNSON                 OH          90011506912
54869163985928   MARCHEAL          RUSSELL                 KY          90011021639
54871992591587   ANDREW            GOMEZ                   TX          90014309925
54873696761973   ROBERT            NIEBLAS                 CA          90013006967
54876854385928   EBONY             DAVIS                   KY          90010818543
54878886751367   DAVID             DUBOIS                  OH          90010568867
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54881914751348   ANTHONY         NIEDERHELMAN              OH          90011949147
54886981593724   BLACK           HORSE                     OH          90014629815
54887752385928   PEDRO           RIVA                      KY          90014387523
54889352651348   SANJUANA        SANTOS                    OH          90013923526
54895772933699   CARLA           DANIELS                   NC          90011457729
54913122661971   KESHAWN         WATKINS                   CA          90015181226
54917339991587   LISSETTE        ORTIZ                     TX          90012563399
54924673561973   JUAN            VEGA                      CA          90011796735
54927475185928   RENAY           SAWYERS                   KY          67097164751
54928566791323   JENNIFER        HERNANDEZ                 KS          90006215667
54937168191895   BRANDON         CURCIO                    OK          90010871681
54944454191587   MARIO           TORRES                    TX          90012244541
54948921761971   DIANA           LOPEZ                     CA          90013269217
54949113161975   VICTOR          MORENO                    CA          90011441131
54958585361975   ANDREW          DIFFENBAUGH               CA          90001665853
54961912281631   MATTHEW         SAUCEDO                   MO          90013469122
54961934381631   JUAN            DOE                       MO          90007589343
54962454733699   JOSEPH          HARVEY                    NC          12098164547
54963483955935   SHALON          BESS                      CA          90011644839
54964419461975   GUADALUPE       GARCIA                    CA          90008834194
54965445761971   DEBORAH         HILL                      CA          90014404457
54968914457157   JUAN            DIAZ                      VA          90000129144
54972821991587   SOFIA           ALONSO                    TX          90007888219
54977459391895   ADAM            BUTLER                    OK          90014424593
54987175861975   JOSHUA          KAUWOH                    CA          90013801758
54989686933699   KISHA           DEWITT                    NC          90015206869
54993295791895   JESSICA         AYUB                      OK          90009182957
54994427755959   YARELI          GARCIA                    CA          90011484277
55111764191587   SARA            SHORES                    TX          90013537641
55115394251348   LUIS            CARDENAS                  OH          90012213942
55119377891356   CARMEN          BORJA                     KS          90014703778
55126111561975   ANGELICA        CUEVAS                    CA          90011541115
55141797657541   JOANNA          SEITZ                     NM          90012137976
55143675961971   MICHEAL         RODRIGUEZ                 CA          90012046759
55152537361971   JOANNA          MOJICA                    CA          90015155373
55156685761975   MICHAEL         PACK                      CA          90012556857
55169126291356   JOHN            LIPP                      KS          90015101262
55169127733696   BRYCE           MORGAN                    NC          90011681277
55172743851348   ALISHA          DAVIS                     OH          90014097438
55187821291587   ADRIAN          PRADO                     TX          90014548212
55191319591356   SHALEISHA       PHOX                      MO          29014113195
55191742791895   UNIQUE          MOORE                     OK          90013267427
55193925543569   KOLOMALU        VAIOLETI                  UT          90006629255
55219595361973   KARLA           LEIVA                     CA          90013065953
55227762884357   ALVIN           BLACK                     SC          90009727628
55229889933696   STEPHANINE      ARTIS                     NC          90010728899
55233773833645   REBECCA         BOSIER                    NC          12001727738
55236372655951   DIANA           SOTO                      CA          90010763726
55243484185928   NAJAH           THOMAS                    KY          90009264841
55243534791587   RODOLFO         CHAVEZ                    TX          90011015347
55247782861975   CINTHYA         ATENCO                    CA          90009777828
55253781281265   JOQUINA         BROOKS                    OH          66095967812
55255913161975   JOHANNA         FLORES                    CA          90006989131
55256552561973   MARRIETTA       MOSLEY                    CA          90000645525
55259722881265   TODD            PIPKIN                    OH          90012837228
55269823991587   JACKIE          CASTRO                    TX          90013828239
55273619891895   DEZARAE         BEAVER                    OK          90014756198
55275214391356   CRAIG           LORD                      KS          90008192143
55277987691895   TIFFANY         GENSEL                    OK          90013349876
55293493485928   TABITHA         STAMPER                   KY          90014874934
55311727161975   ADRIAN          OJEDA                     CA          90011287271
55312192633625   PEDRO           SANCHEZ                   NC          90013841926
55313435733696   RAHEINE         REID                      NC          90003664357
55328895451348   NICOLE          ASHER                     OH          90006328954
55334672661971   ESMERALDA       EL CANTERRA               CA          90000636726
55343854857157   JOSE LUIS       CRUZ                      VA          90013948548
55346132557157   CECILIA         OSEI                      VA          90013951325
55347734291356   PAULA           PAVLICH                   KS          90014227342
55349331761971   ALONDRA         MADRIGAL                  CA          90012723317
55357574133696   LOUKISHA        DAWKINS                   NC          90013095741
55371484561973   ERICK           JAIMES                    CA          90011984845
55375634861973   AIOTEST1        DONOTTOUCH                CA          90015116348
55389166885928   ARON            BRYAN                     KY          90013551668
55392548333699   JESSICA         ROBINSON                  NC          90010935483
55394287391895   TANYA           STAUSS                    OK          90012112873
55414288351354   KENNETH         SEALS                     OH          90012592883
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55414798551348   JEFFREY         HOLT                      OH          66023737985
55417346861973   MICHELL         HENRY                     CA          90002013468
55423581551348   JOHSUA          RAIDER                    OH          90013545815
55423833491895   JUSTIN          PHILIPS                   OK          90011328334
55424533991356   K               THE REAL DEAL             KS          90011575339
55425493485928   TABITHA         STAMPER                   KY          90014874934
55435672151348   ODETTE          SAMS                      OH          90005156721
55439119761975   BRANDIE         BURCIAGA                  CA          90009761197
55439396184357   THELMA          BLANDING                  SC          90014163961
55441621584357   HENRY           WRIGHT                    SC          90013486215
55445574133696   LOUKISHA        DAWKINS                   NC          90013095741
55459846384357   CHALESA         MERCER                    SC          90011178463
55463928591356   ASHLEY          HERSKIND                  KS          90014939285
55468536884357   ANDRE           SIMMONS                   SC          90012125368
55469631491895   SAMANTHA        ARMSTRONG                 OK          90015146314
55479439461975   RUDY            BUSTILLOS                 CA          90010484394
55483242377581   OLIVER          GARRISON                  NV          43098532423
55483381761971   KYLEE           ALBRIGHT                  CA          90013733817
55484119761973   ALANA           MAFUD                     CA          90010751197
55485627233699   NICOLE          NIANG                     NC          90014716272
55499288691356   SUSAN           LINDQUIST                 KS          90008742886
55516234491587   HAYDE           GUTIERREZ                 TX          90014652344
55521245361975   ARACELI         RAMIREZ                   CA          90011942453
55522576981265   BRISKA          YCHOKWAN                  KY          90014865769
55525943161975   ADRIANA         GARCIA                    CA          90014779431
55526735861971   TORI            HOLBROOK                  CA          90012837358
55527318733696   SHIRLEY         SADLER                    NC          90012843187
55527925291587   GABRIEL         RODRIGUEZ                 TX          90011539252
55532115985983   OBDULIO         RENOSO                    KY          90009441159
55532515691356   LAHANA          BAILEY-MORRIS             KS          90011615156
55536791451348   MONICA          CRANDALL                  OH          90014097914
55541262891587   GABRIEL         CARDOZA                   TX          90011612628
55544735633696   AMBER           TAYLOR                    NC          90007647356
55545282884357   JAMON           GRAHAM                    SC          90013952828
55556193285928   CHRISTY         RIGGS                     KY          90010721932
55556718461975   BRIAN           THOMAS                    CA          90013167184
55558885761973   CAESAR          ESTRADA                   CA          90013048857
55564788191895   ANGELA          BOOKER                    OK          21015487881
55567184891895   SARAH           STEELE                    OK          90009661848
55567921585928   MORRIS          LAGRONE                   KY          90013959215
55583749851348   KATHY           STUBBERS                  OH          90013637498
55583796557126   RAHEL           WELDEYESUS                VA          90009097965
55586782761975   DENYSSE         VELAZQUEZ                 CA          90012967827
55589245133699   RHONDA          REAVES                    NC          90014732451
55596229861973   ENEDINA         WADLEY                    CA          90012682298
55614524291587   CRUZ            URBINA                    TX          90012565242
55628563961975   JOSE            AYALA                     CA          90008245639
55631391733696   ALVARO          MARTINEZ VILLANUEVA       NC          12088703917
55638996691587   JACQUELINE      CHAGRA                    TX          90007909966
55646355985928   SABRINA         STORIE                    KY          67008163559
55646368261971   CLARA           DELACRUZ                  CA          90012343682
55664427457157   SAHIED          MENSARAY                  VA          81085144274
55674775951348   JAIME           TODT                      OH          90012857759
55694696591356   DOLORES         RIDLEY                    KS          29071486965
55695654491587   JOSUE           CASTILLO                  TX          90011016544
55711763961971   SUSAN           MARS                      CA          90014637639
55717758485928   CURTIS          SEXTON                    KY          90009147584
55724558191895   JONATHAN        PIERCE                    OK          21026555581
55741842891587   LUIS            AGUILAR                   TX          90013028428
55759812261973   ARMANDO         GUERRERO                  CA          90012758122
55782564391587   BAETRIZ         MARTINEZ                  NM          75080865643
55795529261975   CIERRA          MICHAEL                   CA          90013095292
55798719951348   JODI            COBB                      OH          90012447199
55812445191587   EMILIO          MACIAS                    TX          75020344451
55813364291895   ERICA           GULLICK                   OK          90011393642
55813377585928   JASMINE         HARDIN                    KY          90013563775
55814719791587   GILBERT         ZAVALA                    TX          90011867197
55822685791587   CRUZ            MIRANDA                   TX          90011016857
55839733285928   SAVANHA         BERGER                    KY          90013607332
55839993285928   MARCOS          DELGADO                   KY          90011909932
55842334133699   JAMI            MORNING                   NC          90014783341
55854326561971   GREGORY         EDDY                      CA          90012153265
55857724161975   MARIAH          SALAZAR                   CA          90014537241
55858212761971   CRYSTAL         LOPEZ                     CA          90014532127
55864558491895   NICHOLAS        TASSIN                    OK          90004795584
55867384161971   OLIVIA          WHITE                     CA          90014583841
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55876214391356   CRAIG           LORD                      KS          90008192143
55876265961975   CARLA M         ALVARADO                  CA          90010282659
55879179661973   SALVADOR        SANCHEZ                   CA          90013231796
55883474585928   SYLGA           OSSETE                    KY          90012984745
55885634861973   AIOTEST1        DONOTTOUCH                CA          90015116348
55887487491895   JUWON           MATTHEWS                  OK          90014144874
55895894447929   KRYSTAL         KEITH                     AR          90007118944
55898699685928   ASHLEY          RISON                     KY          90001106996
55911613151348   STAR            WAGERS                    OH          66093556131
55921429285928   RAKEEMA         FACEY                     KY          90011124292
55924172233699   KENDRA          FLOYD                     NC          90014791722
55924385591587   JOSHEPH         FUENTES                   NM          75015483855
55934435233699   KIM             KIM                       NC          90014314352
55937778133696   JAMAL           BOWERS                    NC          90013047781
55943244691587   RUDY            OLIVAS                    TX          90015082446
55953894861973   YESSICA         ARGUELLES                 CA          90012928948
55962113285928   ARNITE          SHELTON                   KY          90014681132
55969195361971   LAMEE           MATTI                     CA          90009091953
55979397461971   SIMON           HUBBLE                    CA          90013543974
55979619221685   ASHLEY          REESE                     OH          90014836192
55983562691587   ANAIS           ALVAREZ                   TX          90010215626
55987126891587   ROGELIO         TORRES                    TX          90013801268
55991123861973   JEFFREY         MITCHELL                  CA          90012761238
55991935533699   LASHAE          BASKIN                    NC          90014799355
55995672431429   BRUCE           LENHARDT                  MO          90004236724
55998123991895   ALEXANDER       TIJUANN                   OK          90013861239
56112897355997   RUBEN           HERNANDEZ                 CA          90013498973
56114132691895   SARAH           PLEASANT                  OK          90012871326
56118922357157   CHARLES         EDWARD                    VA          90003549223
56121856155997   VIRGINIA        ADAMS                     CA          90012788561
56125881191895   RYSHANA         WEBB                      OK          90007858811
56128773855997   LUIS            MORENO                    CA          90012947738
56129678172442   ROSCOE          COOPER                    PA          90014716781
56132482257134   ABDELRRIM       ELMOVHIB                  VA          81087104822
56137678172442   ROSCOE          COOPER                    PA          90014716781
56146671955997   GENEVIEVE       SOTO                      CA          90014556719
56152247555997   ERIC            REY                       CA          90012782475
56169686761965   JERRY           JONES                     CA          90013196867
56174488757157   CARMEN          MENDEZ                    VA          90006174887
56223954955939   LUIS            RODRIGUEZ                 CA          90006549549
56224257561971   STEVE           WELCH                     CA          90010572575
56235367891587   ELIDA           MAESE                     TX          90011063678
56236435555939   ROSA            DAZA                      CA          90012794355
56247959231428   ASHLEY          BAILEY                    MO          90006449592
56251633661965   ELIZABETH       CRUZ                      CA          90010876336
56252141491895   SARA            ADAIR                     OK          90013871414
56255829255939   ADAN            GARCIA                    CA          90015188292
56274487655997   BIBIANA         COVARRUBIAS               CA          90013204876
56277339385928   BREEVEL         WHITE                     KY          90014013393
56297421593721   PEGGY           ROUSE                     OH          90010574215
56311551857157   FRANSISCO       CONTRERAS                 VA          90012725518
56315237491587   JOSEFINA        HERNANDEZ                 TX          75013432374
56326836854128   ELIZABETH       HANCOCK                   OR          90013748368
56331649791881   SCOTT           GREEN                     OK          90012016497
56334578755939   JAIME           ZEPADA                    CA          90013295787
56335694391587   GUADALUPE       GLAZEBROOK                TX          75047256943
56352551361971   BENNY           UNTALAN                   CA          90010955513
56357977391895   CANDIDO         SANTACRUZ                 OK          90012109773
56359367361971   JOSEPH          MANNINA                   CA          90006123673
56367992757157   YONI            ALVARES                   VA          90012749927
56368718785941   MORGAN          BARNS                     KY          90008977187
56378419455997   LAURA           MEJIA                     CA          90014634194
56378932461965   STEVEN          MURIEL                    CA          90011399324
56418638651348   TRINA           SCOTT                     OH          90001566386
56419148355939   MARISELA        TORRES                    CA          90010231483
56424758372442   TY              PRATT                     PA          90012077583
56433514755997   EDUARDO BAEZA   BAEZA                     CA          90013065147
56433746555997   FRANCISCO       IBANEZ                    CA          90014737465
56435555491895   CARLOS          AMBRIZ                    OK          90013845554
56453611661965   ROBERT          CHARITY                   CA          90013196116
56467557161971   ARRON SHAWN     PRIDDY                    CA          90013345571
56473894861965   FRANCISCO       MEZA                      CA          90010388948
56475243691523   SALVADOR        OLIVARES                  TX          90011652436
56481924157157   PAULINA         MENDEZ                    VA          90012609241
56482582761971   SUSAN           MARS                      CA          90007525827
56487156561971   BROOKLYN        GEBUR                     CA          90012281565
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56488442757157   HERLINDA        WILSON                    VA          90014204427
56495525855997   MARY            RODRIGUEZ                 CA          90012355258
56513181691587   EMILY           RODRIGUEZ                 TX          90013171816
56513559991587   EDUARDO         FLORES                    TX          90015085599
56514556461965   SAUL            LOPEZ RAZO                CA          90001435564
56515842655997   VERONICA        MARQUEZ                   CA          90014158426
56517739161971   JAMI            PRADFUTE                  CA          90012317391
56524543555939   PABLO           RODRIGUEZ                 CA          90013235435
56536846357157   BRIDGETTE       SPANT                     VA          90014148463
56541178747877   TERRI           SHAW                      GA          90014751787
56543542155997   MARIA           CORTEZ                    CA          90013925421
56544948251348   ANGELA          THOMPSON                  OH          90010959482
56546931455937   ANA             HERNANDEZ                 CA          90009879314
56547135131429   BRYTLYNNE       KEETON                    MO          90005511351
56549459661971   LUIS FELIPE     JAIME                     CA          90011444596
56561415755997   EDGARDO         HERRERA                   CA          90013104157
56574435272442   BRENT           NICOLO                    PA          51074444352
56578134533699   CISNEROS        JANET                     NC          90003811345
56578668257157   LASHONDA        DAY                       VA          90013166682
56582557391587   JAVIER          GONZALEZ                  TX          90007455573
56584582255997   BEATRICE        RAMIREZ                   CA          49023265822
56597816551348   JULIO           GUTI                      KY          90011148165
56612516957157   KENDRA          CHAPMAN                   VA          90014795169
56612651355997   MANUEL          IBARRA                    CA          90014236513
56613596191895   MELISSA         RODRIGUEZ                 OK          90013395961
56635391155939   VIRGINIA        CISNEROS                  CA          90013033911
56645847685928   MICHAEL         BARNES                    KY          90011818476
56646937657157   KENNETH         HALL                      VA          90000859376
56647877661965   SAMANTHA        PEREZ                     CA          90012018776
56648599233699   RICHARD         CLAYTOR                   NC          90008965992
56669995151348   JAMES           BELTRAN                   OH          90013619951
56671589457157   TESSA           ICHITT                    VA          90014815894
56673621861965   EDUARDO         VERONICA                  CA          90002946218
56699581884357   MARK            EDWARDS                   SC          90005195818
56712522591587   ZINNIA          HALL                      TX          90008405225
56716957533645   CEDRO           CHIGO                     NC          90005739575
56717338861965   TAMARA          CRAWFORD                  CA          90014423388
56717861755997   JOAN            LEE                       CA          90013938617
56722211757157   CHRISTINA       SHANLEY                   VA          90010312117
56723417585928   WILLIAM         BUSTER                    KY          90014674175
56726668257157   LASHONDA        DAY                       VA          90013166682
56745535931428   NEKEITA         FULTON                    MO          90013865359
56754944572442   LUTHER          LEE                       PA          51080089445
56766498591587   JOSE            ORNELAS                   TX          90005424985
56786714555939   JOSEPH          CALZADO                   CA          90014727145
56795696891587   BRIANA          DELGADO                   TX          90009506968
56796884685928   STEVEN          WIMSATT                   KY          90015078846
56799254891587   JESSICA         BARAJAS                   TX          90012952548
56822818555997   JOSE            GARCIA                    CA          90013338185
56847469257157   JOSE            VARGAS                    VA          90010024692
56852836361986   PORFIRIO        ELVIRA                    CA          46096668363
56864378851348   SHAE            LINDER                    OH          90010993788
56871331155997   LYNDE           CHARLESTON                CA          49085743311
56885861455939   SABRINA         JIMENEZ                   CA          90010008614
56888538851348   ANTHONY         WILKERSON                 OH          90005505388
56897144385928   SERGEI          SARGAEV                   KY          90014061443
56898641633699   TIA             DALTON                    NC          90011806416
56911663457157   LUKE            ENGELKING                 VA          90008266634
56916915841221   MIK             JHONSON                   PA          90015339158
56924844151348   ROBERT          LEDBETTER                 OH          90005998441
56925949861975   ERICA           RIOS                      CA          90011849498
56926129761965   JACQULYN        GAITER                    CA          90010661297
56929921891895   JAIME           RODRIGUEZ                 OK          21065619218
56931218231428   AYESHA          GORDON                    MO          90009692182
56931822961956   MARIA           RUIZ                      CA          90009448229
56934257957157   GORDON          ANKOMAH                   VA          81067772579
56945695191587   SYLVIA          MARTINEZ                  TX          75078086951
56952782684357   KATIE           BOGARDUS                  SC          90013687826
56959588533699   TECARRA         BYRD                      NC          90007985885
56959875561965   SHERI           SANCHEZ                   CA          90013268755
56984144331665   BRAD            KUMPF                     KS          90014251443
56984678933645   LEROY           COOPER                    NC          90008786789
56985738791587   ROBERTO         VALENZUELA                TX          90014057387
56986428791587   YVETTE          VILCHIS                   TX          90010004287
56991433757157   LISA            TERRANCE                  VA          90006384337
56997147972442   JEROME          DEAN                      PA          90001421479
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56999147972442   JEROME                DEAN                PA          90001421479
57112244755997   JAMIE                 DAVIS               CA          90006392447
57137363461965   D EE                  HUBBLE              CA          90013623634
57159928551348   DOMINICK              FINNELL             OH          90014209285
57175632451348   KIANNA                HILSON              OH          66009886324
57182974191587   MIRIAM                TREJO               TX          90011359741
57192366891587   VALDEZ                JENNIFER            TX          90010003668
57192986957157   JUSTIN                MOWRY               VA          81094329869
57235428961965   CYNTHIA               RENTERIA            CA          46083454289
57238551633699   KARENA                MOBLEY              NC          90010965516
57243658361971   MARIANA               HIGUERA             CA          90013056583
57246541455997   ANGELICA              VITAL               CA          90005835414
57247441254152   NANCY                 STARKS              OR          90011834412
57249976561971   JOEL                  CRISOSTOMO          CA          90005339765
57263552455997   NOE                   CATALAN             CA          90012935524
57274965591895   NICHOLAS              SCHWARTZ            OK          90011149655
57275896555997   ZULEYMA               DAZA                CA          90012688965
57288384791895   CALEB                 HUNT                OK          90013233847
57289938991856   ELOISA                PINA                OK          90011539389
57296761451348   INEQUA                HARRIS              OH          66049427614
57297819591999   TARQUEENIA            WILKERSON           NC          90010918195
57299845391895   GERMAN                VAZQUEZ             OK          90010968453
57299976991587   EDGAR                 CHAVEZ              TX          90011359769
57322758551586   AMANDA                SERGENT             IA          90015247585
57323381931429   BRITTANY              OATS                MO          27529113819
57342575261971   BILL                  CARDINAL            CA          90012255752
57344299855997   MARISA                RODRIGUEZ           CA          90013982998
57344579661965   NAJEEB                ARABO               CA          90011855796
57346572261965   YAREN                 PLAYAS              CA          90014045722
57356793891552   ERIK                  GARCIA              TX          90014427938
57359432261965   TIM                   WADE                CA          90014004322
57359897991587   ROGELIO               TARANGO             TX          90005728979
57371143591587   ERICA                 PUGA                TX          90012301435
57382216961971   NANCY                 HERRERA             CA          90012492169
57398737761971   RAYMON                RAMIREZ             CA          90009937377
57413125261971   TAINA                 ROZIER              CA          90008541252
57418589391587   VICTOR                ALVARADO            TX          90014145893
57444869561956   DANIEL                CONTRERAS           CA          90002888695
57449194691895   KEANDRE               WALTON              OK          90013951946
57468194791895   LATOYA JUANETTE       MCVAY               OK          90013951947
57476638436165   SHANIQUA              WILLIAMS            TX          90013876384
57489866291576   BRENDA                SOLORZANO           TX          90004458662
57517529655997   CANDICE               SCHWARTZ            CA          90004275296
57518849561965   ANDRES                ROSSAINZ            CA          90012858495
57525214151336   JANICE                MITCHELL            OH          90010672141
57553427355997   ALEJANDRA             GIO                 CA          90014894273
57555611951348   NICOLE                MARSHALL            OH          66075286119
57562445161965   KIMBERELY             BRADEEN             CA          90014854451
57566192261965   GRETCHEN              REGENAUER           CA          46070331922
57567357461971   RUSSEL                ALEXANDER           CA          90012743574
57577994151348   STEPHANIE             JANSEN              OH          90010499941
57611383491895   MARGIE                BRAY                OK          21092223834
57611388686443   KIRSTON               EPPS                SC          90014163886
57615588351348   JAMES                 WILLIAMS            OH          90002915883
57632641861971   LITH                  QARYAQOS            CA          90010686418
57639121242335   CHELSEA               ERNST               GA          90010971212
57639597355997   JORGE                 LOPEZ               CA          90014255973
57639879651348   JOELLE                GILBERT             OH          90014938796
57643445161965   KIMBERELY             BRADEEN             CA          90014854451
57645254961965   SARAH                 HENRY               CA          90014392549
57645852661965   NATALIE               WOODS               CA          90012848526
57657899325428   TERESA                JOHNSON             GA          90001988993
57661635361965   AIOTEST1 DONOTTOUCH   DONOTTOUCH          CA          90015116353
57667125591587   SERGIO                RAMOS               TX          75015401255
57673492691587   ALEJANDRA             LOPEZ               TX          90013894926
57691349955997   REGINA                JACKSON             CA          90014513499
57692666691587   LAURA                 BRYANT              TX          90009716666
57694854155997   AHMED                 ALHOMEDI            CA          90013008541
57697238293782   TAMMY                 VAUGHAN             OH          90012382382
57697712291587   CYNTHIA               RAMIREZ             TX          75092957122
57699561161965   EVA                   CHAVEZ              CA          90003955611
57721677191895   JENNIFER              WEARSTLER           OK          90003786771
57721756257157   TESJAYJU              DAQNEW              VA          90006587562
57729522161965   JESUS                 PARRA               CA          90011405221
57738527191587   MARTIN                ROSALES             TX          90013865271
57738635791587   MARTIN                ROSALES             TX          90012166357
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57751266161965   EVELYN          LINDGREN                  CA          90006942661
57751955261971   BRANDON         CONNER                    CA          90013219552
57762346891895   MANUEL          MONTOYA                   OK          90013953468
57775914391895   KEWANNA         THOMPSON                  OK          90012939143
57783883991587   BRIAN           HERRERA                   TX          90011208839
57788246485657   GIL             GARCIA                    NJ          90012662464
57791187161965   DANIEL          GUERRERO                  CA          90007141871
57798174355997   MATTHEW         CORONADO                  CA          90015211743
57847767691895   IRIS            RUIZ                      OK          90012017676
57848732691587   JOSE A.         QUINTANA                  NM          90013927326
57866795151383   ELIZABETH       MUSIC                     OH          90009517951
57867894151348   TODD            NICHOLAS                  OH          90014958941
57868894151348   TODD            NICHOLAS                  OH          90014958941
57872792761971   LAWRENCE        HAPP                      CA          90013447927
57873894151348   TODD            NICHOLAS                  OH          90014958941
57897581461971   CYNTHIA         ESCOBAR                   CA          90000225814
57899856454152   NYDIA           ESCOBAR                   OR          47004938564
57918718557157   EDWIN           GARCIA                    VA          90000827185
57919782455997   ISMAEL          GUZMAN                    CA          90013517824
57923562891895   SHANNON         PERKINS                   OK          90010545628
57934743457157   RUDIDIA         NUNEZ                     VA          90002747434
57947457961965   MEKO            BOWDEN                    CA          90011794579
57948385391587   CRYSTAL         QUINTERNO                 TX          90014823853
57949247555997   ERIC            REY                       CA          90012782475
57956968661971   LUCKY           ANGAYEN                   CA          90013429686
57981438991587   TABETHA         TREME                     TX          90010954389
58119563457541   MACARIO         BITELA                    NM          90012955634
58124256461965   VALENTINA       CAAMANO                   CA          46082042564
58128727884342   TWANGIA         VINSON                    SC          90014417278
58136343933699   KEYIA           WRIGHT                    NC          90013383439
58156774633699   JULIAN          RENTERIA                  NC          90004747746
58172169391895   AOB             ENT                       OK          90007671693
58173511251322   DERRICK         WELTON                    OH          90003705112
58174811561965   CASSANDRA       WHITLEY                   CA          90013788115
58182115991895   SHAMICA         ESCOE                     OK          90011491159
58182845861965   JENNIFER        VEGA                      CA          90014578458
58191917531428   QANI            BUSHO                     MO          90009279175
58215324593721   JOEL            LINO                      OH          90013693245
58218281157541   JENNIFER        MOTE                      NM          90010182811
58226814442363   JENNIFER        BROCK                     GA          90003828144
58231715451348   SHANNON         VEHR                      OH          66010637154
58249138533696   EMILY           CRANE                     NC          90013971385
58254178161971   GLORIA          SARABIA                   CA          90014341781
58255178161971   GLORIA          SARABIA                   CA          90014341781
58262632971922   VERA            SCHERMERHORN              CO          90009986329
58262693771922   TONY            GRICE                     CO          90010606937
58266797657541   JOANNA          SEITZ                     NM          90012137976
58267371331665   CAROL           TIGER                     KS          90009603713
58267655561971   ALEXANDREA      ABERBOM                   CA          90014816555
58271819631429   NATALYA         JOHNSON                   MO          27535728196
58274383851348   JEFF            SHORTH                    OH          90014403838
58278814442363   JENNIFER        BROCK                     GA          90003828144
58283572593747   JEROME          DENMARK                   OH          90001085725
58298791581621   ARTIE           COOPER                    MO          29063707915
58311889733696   TREVAR          ROGERS                    NC          90009658897
58314874361965   ROSS            WILSON                    CA          90013158743
58315183657541   VALARIE         REISNER                   NM          90012411836
58322441733699   LAFONDA C.      SHORE                     NC          90013214417
58324285485877   SHAHROKH        PARVINI                   CA          90003732854
58325914557541   MARY            KEITH                     NM          90013469145
58329563861971   DANIEL          CORTEZ                    CA          90013015638
58346825754152   DANA            BEN                       OR          90007268257
58347916861965   JULIETA         FRANCO                    CA          90014669168
58348767791895   JAMES           WATSON                    OK          90014197677
58358183961965   HANEEN          HAMAD                     CA          90010791839
58363781657541   BENJAMIN        CALDERON                  NM          90013667816
58368781657541   BENJAMIN        CALDERON                  NM          90013667816
58375416361965   DUSTIN          NICHOLAS                  CA          90006384163
58376686451348   SHARONDA        MASTER                    OH          90009876864
58376975231428   MARICRUZ        JARAMILLO                 MO          90011799752
58384745533696   TAMARA          ARTIS                     NC          90015007455
58391874361965   GORDON          PERKINS                   CA          90013768743
58394145991895   ARTURO          SANCHEZ                   OK          90010591459
58399654357126   NELSON          UMANA                     VA          90001026543
58417979261965   LISA            LANE                      CA          90009769792
58427856557541   JOHN            EGBERT                    NM          90010498565
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58442378333696   ZURAMA          BARRERA                   NC          90014113783
58443424131428   DARLENE         MCKINNEY                  MO          90006154241
58447393761965   MARY            CARRIZOSA                 CA          90012853937
58453779261965   FRANCISCO       MILLAN                    CA          90008367792
58454598557541   DOMINIQUE       THOMPSON                  NM          90008365985
58454685861965   LUIS            MORALES                   CA          90014156858
58459881933699   TAMIKA          LINDSAY                   NC          90010428819
58472365791895   ALVARO          GOMEZ                     OK          90010593657
58474199633699   CECILIA         HAYNES-SHORE              NC          90012841996
58481514131428   DANIEL          KURTH                     MO          90006895141
58482694691925   DEANNE          CARDENAS                  NC          90005346946
58495269954152   AARON           NADEAU                    OR          90010702699
58498893861924   ANDY            BEERS                     CA          90006348938
58499495861971   CHRISTINA       SARFF                     CA          46006314958
58525119133699   MONICA          TIMMONS                   NC          12006351191
58525356791895   MONICA          PIERCE                    OK          90012563567
58546767161965   LUIS            MORALES                   CA          90014157671
58551228761971   WES             HOWARD                    CA          46097532287
58553826131428   JERRICA         SLATE                     MO          90009428261
58555941361965   JHON            CASWELL                   CA          90014039413
58555943357541   COURTNEY        SPIKES                    NM          90011009433
58558325277568   LESTER          DUENAS                    NV          90007293252
58567237831429   CHELESEE        COOPER                    MO          90011152378
58567633257541   AUGUSTUS JR     ROBEDEAUX                 NM          90012876332
58576621654152   JESSICA         CHANDLER                  OR          90013956216
58584346957541   DE ANNA         PITT                      NM          35506033469
58589977233699   GWEN            HUNTER                    NC          90012519772
58591644131428   GEORGE          WALKER                    MO          90011806441
58636772351348   JEREMIE         WHEELER                   OH          90000877723
58638716791895   TERI            GRAVES                    OK          21064877167
58646141691895   TRAVIS          YORK                      OK          90013221416
58652159633696   BRITTANY        MILTON                    NC          90013621596
58657584957541   MELISSA         MANCHA                    NM          35557085849
58657774931428   SABINA          SMITH                     MO          90011807749
58663483533696   MICHAEL         GARY II                   NC          90013344835
58663875261965   JODI            SOTO                      CA          90014838752
58682474433696   SHATIERA        GAINYARD                  NC          90014194744
58683275961965   BOBB            MARLEEY                   CA          90007042759
58683465361971   BRIAN           RUNGE                     CA          90013104653
58691976833696   WILLIAM         CARTER                    NC          90014069768
58718175561949   CRISTINA        ROMAN                     CA          90012631755
58726953657541   JOSIE           GURVITZ                   NM          90011979536
58731332961448   ALLENDE         HINOJOSA                  OH          90013793329
58739382633699   SHANIQUE        MARSHALL                  NC          90012983826
58739944861965   JOHNI           AZIZ                      CA          90013599448
58757632993782   GRETCHEN        MILLER                    OH          90012286329
58759294461971   ZACHARY         BERCEGEAH                 CA          90012572944
58773656857541   DORI            HORTON                    NM          90014426568
58794271131428   VONN            ROGERS                    MO          90011812711
58799223491895   ELIZABETH       ROJAS                     OK          90004942234
58821967971956   MELISSA         RIVERA                    CO          90010899679
58832598557541   DOMINIQUE       THOMPSON                  NM          90008365985
58833895621653   JOI             YARBROUGH                 OH          90014048956
58847158457541   JAMES           ROBINSON                  NM          90014471584
58855855591895   ELIZABETH       QUILLMAN                  OK          90009188555
58865612654152   STARK           CODY                      OR          90004106126
58894672157541   JENNIFER        WHEELER                   NM          90011436721
58899993561965   STEFAN          TURNER                    CA          90014039935
58913213351348   LAWERENCE       JONES                     OH          90011122133
58917425833696   KAZIA           HOOKS                     NC          90009614258
58933354957541   IMELDA          FRANCO                    NM          90014593549
58933884461971   ROBERT          VILLEGAS                  CA          90014588844
58936897157541   LUIS            GUZMAN                    NM          90005038971
58938783451348   KEVIN           JESSIE                    OH          90013217834
58955891551383   RODRIGO         CABELLO                   OH          66093228915
58971453761971   APRILL          CADOTE                    CA          90006784537
58973188331429   THOMAS          LOVIS                     MO          90003481883
58981977161971   CHESTON         HAUER                     CA          90014099771
58987125133657   MELISSA         CASTILLO                  NC          90007741251
58992911751354   KRISTY          CHILDERS                  OH          90011239117
58996769151348   RODRIGUEZ       WYATT                     OH          66064617691
59119393891895   ANDRE           POOLE                     OK          90009763938
59128715591587   ALEJANDRO       ARAIZA                    TX          90013467155
59134849557541   SHASTA-MARIE    ANCHONDO                  NM          90014818495
59136913891895   SANDRA          GONZALEZ                  OK          90007639138
59141916391587   ALBERTO         GUZMAN                    TX          90012129163
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59142181491895   SCOTT           STINSON                   OK          90013081814
59153333961971   JENNIFER        SMITH                     CA          90014823339
59175293191587   PATCHINA        MC COY                    TX          75059842931
59177626561965   MARY            MCPHERON                  CA          90014706265
59183863351348   ASHLEY          HUDDLESTON                OH          90013008633
59184745957541   APRIL           STILES                    NM          90014877459
59187353691895   KATHRINE        TYNES                     OK          90010233536
59192318391587   ESTRADA         GENARO                    TX          90010233183
59197419633699   LARRY           ROBERTS                   NC          90011294196
59216658661971   SALA            HANNA                     CA          90013206586
59241219191895   SHANDLE         GOFF                      OK          90014582191
59242863191587   NATALIE         RIOS                      TX          90010978631
59243429993724   CHRIS           GEETING                   OH          90011734299
59243888855971   ALFREDO         SIFUENTES                 CA          90011088888
59243947191587   VANESSA         HERNANDEZ                 TX          90014919471
59244889791895   AUNDREA         DAVIS                     OK          90014788897
59247212951348   DONNA           SIMPSON                   OH          90013402129
59253797741229   EDMUND          OPOKU                     PA          90006627977
59258685857541   JOSE            MENDOZA                   NM          90011756858
59271545561965   CHRISTINA       CROWE                     CA          90012805455
59277688361971   EDGAR           CASTRO                    CA          46023006883
59277815855971   AMYLOIS         WEST                      CA          90007018158
59291838193724   KEVIN           SIMS                      OH          64508798381
59295324161965   ALVIN           HEARD                     CA          90007933241
59295978161965   ALVIN           HEARD                     CA          90012129781
59296493933696   ROBBI           BOWMAN                    NC          12005964939
59298248393724   EZPERANZA       ALVAREZ                   OH          90013742483
59322839157135   TRACY           TEJADA                    VA          90011558391
59326972891587   LORENA          CHAVEZ                    TX          75063929728
59336214761971   JAMES           LOGAN                     CA          90013152147
59337177761965   FERNANDO        HERRERA                   CA          90004061777
59339197133699   YOLANDA         CHAVEZ-GRACIA             NC          90013141971
59345497757157   ROBERTO         MENDOZA                   VA          90004694977
59347187961971   BENJAMIN        PRICE                     CA          90013111879
59347558133699   GLORIA          MENDOZA                   NC          90011565581
59352591693721   SHANTA          CHILTON                   OH          90013855916
59364126851348   JOHN            CHALFANT                  OH          90015301268
59364446561965   JOANNA          RAMOS                     CA          90013384465
59366784561971   RACHELL         HERNDON                   CA          46053777845
59369477661965   ROBERTA         NETTELS                   CA          90012184776
59373228291587   MARGARTITA      OCHOA                     TX          90003442282
59373741633699   CRYSTAL         THOMPSON                  NC          90014597416
59377161551348   NICOLE          ADKINS                    OH          90001691615
59378767693724   MALYNDA         MORONES                   OH          64589967676
59381414331428   DEBRA           COLLIER                   MO          90009384143
59394928155971   VERO            ZAMORA                    CA          90002959281
59455144655971   ASHLEY          KOUKLIS                   CA          90013751446
59455565761965   CHERYL          DUBOIS                    CA          46031195657
59465948961965   KALIB           DOYAL                     CA          90010959489
59466544833696   CAELISA         JONES                     NC          90006925448
59475552191895   LINDA           RUSHING                   OK          90014685521
59477389891587   LUISA           HERNANDEZ                 TX          90014163898
59482554161965   YULIANA         ISLAS                     CA          90011165541
59489865351348   MARCUS          SMITH                     OH          90012938653
59498634461971   AIOTEST1        DONOTTOUCH                CA          90015116344
59512475351348   ALLEN           SPARKS                    OH          90013354753
59525631655951   CRISTIAN        URENA                     CA          90009746316
59529982861965   COREY           HAGUE                     CA          90012859828
59538257451348   ARLAXES         KELSOR                    OH          90012402574
59538336993721   CHELSEA         HODSON                    OH          90008523369
59538722951348   RYNELL          HAMPTON                   OH          90011157229
59547214993724   HEATHER         JARVIS                    OH          90013422149
59551222591895   JOHNATHAN       MORGAN                    OK          90013822225
59556148257591   ELI             CORTEZ DIAZ               NM          35597731482
59557569691979   MARRISSA        MCKOY                     NC          90001705696
59557822261971   ISMAEL          OLANDA                    CA          90007438222
59564268161971   VALENTINA       BOSS                      CA          46054362681
59564313155971   NELLY           PIZARRO                   CA          90013513131
59567816161965   KYLE            MCDANIEL                  CA          90007948161
59587292661965   ELEAZAR         VALENZUELA                CA          90010472926
59592527491587   WILFREDO        GUERRERO                  TX          90006875274
59594777493724   STACIE          GRIDER                    OH          90013987774
59597571691587   JONATHAN        LUTHER                    TX          90014565716
59597892755971   PRISCILLA       RAMOS                     CA          90005988927
59598446561965   JOANNA          RAMOS                     CA          90013384465
59614916251348   CHRISTINA       SMITH                     OH          90011549162
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59616857961965   JAY             LOMBARDI                  CA          90012878579
59618951131429   LESLIC          JEFFERSON                 MO          27510139511
59619458433699   SAMUEL          RAMOS                     NC          90013944584
59621168991587   AJ              TRUJILLO                  TX          75016981689
59624852693724   KELLSIE         BROOKS                    OH          90014088526
59625285193724   TIARRA          BROWN                     OH          90014642851
59625624355971   AMY             FICKLE                    CA          90013946243
59627624355971   AMY             FICKLE                    CA          90013946243
59628246351348   KATIE           BOLTON                    OH          66064252463
59638561933699   EDWIN           PINEDA                    NC          90013945619
59641561933699   EDWIN           PINEDA                    NC          90013945619
59643439161971   AISH MUSA       RIOS                      CA          90014124391
59662591833699   HUGO            LOPEZ HERNANDEZ           NC          90013945918
59662718933699   HUGO            LOPEZ HERNANDEZ           NC          90014937189
59662984581632   DANEKA          PONDS                     KS          90013979845
59665254961965   SARAH           HENRY                     CA          90014392549
59674918561965   BRITTANI        RIVORD                    CA          90012879185
59677963761965   MARY            GLOVER                    CA          90000859637
59677996961965   CARLOS          MENDOZA                   CA          90012889969
59678797691587   REYNA           ESCOBEDO                  TX          90011517976
59687699491561   SYLIVIA         VASQUEZ                   TX          90012736994
59688784461971   GALVEZ          SYLVIA                    CA          90015227844
59692537491895   GABERIAL        JONES                     OK          90011315374
59718768591233   INELL           GADSON                    GA          90013957685
59734234533699   WILLIAMS        TIEF                      NC          12011442345
59736758361971   MANI            QUIDIANI                  CA          90010187583
59759681561965   DANIEL          BRITTAIN                  CA          90013966815
59763929691993   NIKKI           FORGET                    NC          90010219296
59789765793724   STEVEN          CHAMPION                  OH          64517277657
59799315433696   CYNTHIA         AMARO                     NC          90004363154
59826251651348   DENZEL          JOHNSON                   OH          90001692516
59828599851348   JAIRO           VASQUEZ                   OH          90013745998
59834932133699   SHAREINA        MILLER                    NC          90013969321
59837522655971   ERIC            MARTINEZ                  CA          90010115226
59838948433699   BISMAR          MORGA                     NC          90013969484
59839842891561   FRANCIZCO       LOZANO                    TX          90007428428
59852228133699   LAMARETTE       PITTS                     NC          90013972281
59855588591587   GRISELDA        SANTOS                    TX          90009295885
59862896561965   ALEXIA          JOHNSON                   CA          90014238965
59872565761965   CHERRI          BOSSERMAN                 CA          46092415657
59872771333699   SOLEDAD         ESIQUIO                   NC          90011667713
59876811533699   DEREK           GLENN                     NC          90014848115
59879888151348   MAISHA          DENNIS                    OH          90013008881
59915915357591   TAISA           ROSBAUGH                  NM          35511849153
59947216861965   TANYAH          KEWARAKIES                CA          90015142168
59949482591587   YESSENIA        GUADALUPE                 TX          90013634825
59957883991269   BRIELLE         THOMAS                    GA          90001438839
59959935861971   MIKE            OSBORNE                   CA          90011739358
59972433991895   JEREMY          FORD                      OK          90013474339
59984211151348   ASHLEY          MACHUCA CRUZ              OH          90013572111
59986153661971   JOSE            DE SANTIAGO               CA          90014991536
61119637761964   AIOTEST1        DONOTTOUCH                CA          90015116377
61127828731453   MICHAEL         NEWTON                    MO          90012208287
61131375761964   ISABEL          AVALOS                    CA          90012453757
61134637361964   AIOTEST1        DONOTTOUCH                CA          90015116373
61136932891894   LEON            MOODY                     OK          90014769328
61137538263646   DANEIL          BECKARD                   MO          90012475382
61141466157538   KRISTOPHER      HAMMONDS                  NM          90014684661
61142696163646   MARK            PETTIG                    MO          90011026961
61143422557538   RYLEE           WOODS                     NM          90013074225
61156637761964   AIOTEST1        DONOTTOUCH                CA          90015116377
61158721351354   MANUEL          BERROA                    OH          90012627213
61166564941299   MARISSA         SANDERS                   PA          90010025649
61176698655973   FELICIA         ORTIZ                     CA          90012246986
61177963493753   VICTORIA        CHANNELS                  OH          90014289634
61179636231468   NICK            STADLER                   MO          90014796362
61181359191975   LAVETA          JACKSON                   NC          17039453591
61184422557538   RYLEE           WOODS                     NM          90013074225
61186988897125   NATALIE A       CONSTANCE                 OR          90006999888
61191238471921   ELDON           HICKMAN                   CO          90012672384
61195637761964   AIOTEST1        DONOTTOUCH                CA          90015116377
61196385563646   GARY            MUELLER                   MO          90010363855
61217775163646   HENRY           REPROGLE                  MO          90011447751
61219234263646   JESSICA         LECRONE                   MO          90013442342
61226433991894   ARIEL           THOMPSPON                 OK          90014164339
61229489133698   PEDRO           ZAMORA                    NC          90014164891
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61231815891894   LAEAVEN         JACKSON                   OK          90012998158
61232337351354   VICTOR          BREAZELL                  OH          90010633373
61233638261964   AIOTEST1        DONOTTOUCH                CA          90015116382
61253396731453   LADONA          HOPPER                    MO          90010893967
61261147455975   MELISSA         HERNANDEZ                 CA          90014331474
61262292255973   PEDRO           HERNANDEZ                 CA          90013982922
61263661171921   HENRY           HAAG                      CO          90013166611
61274744661936   MIA             STEWART                   CA          90012857446
61282929391894   ANDRES          SANTIAGO                  OK          21015919293
61286633431453   KRYSTAL         REESE                     MO          90008316334
61288638261964   AIOTEST1        DONOTTOUCH                CA          90015116382
61288779461936   RENE            DUBON                     CA          90012857794
61289638261964   AIOTEST1        DONOTTOUCH                CA          90015116382
61294253551354   YJOHNEA         TIPTON                    OH          90014832535
61295722161936   VERONICA        NIEVES                    CA          46083957221
61297139271921   LEROY           MAESTAS                   CO          90009501392
61313558961936   CASSIOUS        HENRY                     CA          90012575589
61316534491975   QUANZANEYSHA    ROBERSON                  NC          90013295344
61321638661964   AIOTEST1        DONOTTOUCH                CA          90015116386
61328638661964   AIOTEST1        DONOTTOUCH                CA          90015116386
61329471891894   NEISHA          DUMAS                     OK          90014604718
61333381457538   SANCHEZ         HELEN                     NM          90000373814
61335963891894   LAZABIAR        MARION                    OK          90014679638
61339841861936   JOANNA          MALDONADO                 CA          90012858418
61339883533698   ANTHONY         SHEPHERD                  NC          90011068835
61341391755973   ALEXIS          AVINA                     CA          90003023917
61365213661964   JAMES           FEKETE                    CA          90011422136
61366316155975   CORINA          MURGUIA                   CA          90003003161
61367149663646   ALVIN           SEGAL                     MO          90014411496
61367174933698   JOSE            REGULES                   NC          90014181749
61372193733698   ALLAQUA         HOWELL                    NC          90014181937
61372455347821   JANEY           MORGAN                    GA          90005544553
61376691157538   JEAN            CAMACHO                   NM          90014566911
61381147455975   MELISSA         HERNANDEZ                 CA          90014331474
61398711991527   STEPHANIE       KITRIDGE                  TX          90012377119
61412111163646   DONALD          ANGLES                    MO          90012021111
61413435571921   CATHIA          BELL                      CO          90012344355
61413923633698   LATOYA          FULLER                    NC          90005799236
61418886961936   FRED            APOCADA                   CA          90012858869
61419886961936   FRED            APOCADA                   CA          90012858869
61424584461936   RAUL            YANEZ                     CA          90013545844
61427656171921   CHRISTIAN       HERMOSA                   CO          90014926561
61432685161936   ALONZO          V ARELLANO                CA          90013616851
61432997991975   SYLVIA B        HEIN                      NC          90015079979
61435355784392   CARLOS          AGUILAR                   SC          90011073557
61437841897125   ANDREW          BEAL                      OR          90007228418
61441972157538   MARYLOU         LASCANO                   NM          35541209721
61446543691894   TYLER           BELL                      OK          90011675436
61452595157538   DAENA           PAISANO                   NM          90011815951
61453947271921   SAM             MERCADO                   CO          90012369472
61455638961964   AIOTEST1        DONOTTOUCH                CA          90015116389
61457192661936   BENJAMIN        HART                      CA          90008161926
61461535991975   CINSEASON       MCNEILL                   NC          90004815359
61464228157538   FATIMA          PEREZ                     NM          90006652281
61465982384392   NORBERTO        GARCIA                    SC          90011699823
61468638961964   AIOTEST1        DONOTTOUCH                CA          90015116389
61496288451354   LLENA           MALTA                     OH          90012052884
61521954561936   DANIEL          PORET                     CA          90012859545
61527136671921   LISA            GUTERRIZ                  CO          90007971366
61529648771976   MICHEAL         QUINTANA                  CO          90012936487
61531495791894   ISAEL           TORRES                    OK          90012724957
61531737251354   MAUUEL          BERROA                    OH          90012627372
61537394457538   ARTURO          CASTILLO                  NM          90011693944
61539321571921   ROBERT          GUTIERREZ                 CO          32040353215
61542327771921   MORAN           ELDAR                     CO          90004323277
61548568771921   TRE             VAUGHN                    CO          90013705687
61559642861936   PERLA           HERNANDEZ                 CA          90012876428
61561754131453   LAVONDA         GRAY                      MO          90011697541
61563569171921   MELINDA         BAEZ                      CO          32070355691
61566869851354   JENNIFER        EVANS                     OH          90011318698
61573212457538   LIZ             HERNANDEZ                 NM          90011702124
61573735357538   LAUREN          SPILSBURY                 NM          90015097353
61586566655973   STEPHANIE       TORRES                    CA          90011425666
61589638961964   AIOTEST1        DONOTTOUCH                CA          90015116389
61593779591522   LETICIA         FUENTES                   TX          90002167795
61595639161964   AIOTEST1        DONOTTOUCH                CA          90015116391
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61615597157538   CAMBREY         JOHNSON                   NM          90013585971
61617754571921   JOE             NIEMAN                    CO          90010967545
61632145757538   LUIS            ROSALES                   NM          90004981457
61635514263646   MELISSA         COWIN                     MO          27564215142
61635799855975   VANESSA         CERVANTES                 CA          90011967998
61637783871921   JOHN            VENEGAS JR                CO          90013457838
61641783393792   JAIME           WATSON                    OH          90011727833
61645719491894   PEMIGIO         PERALTA                   OK          90014167194
61654639161964   AIOTEST1        DONOTTOUCH                CA          90015116391
61666362933698   JAPUAN          HARDIAL                   NC          90014743629
61667298333698   JESSE           MCKINNEY                  NC          90014242983
61667494531453   RANDY           ROBINSON                  MO          90011004945
61669331855973   DANIEL          CEBALLOS                  CA          90012903318
61673836947958   ELIZABETH       GARIBALDI                 AR          25088048369
61682249561964   BERTHA          RAMOS                     CA          90013532495
61686639161964   AIOTEST1        DONOTTOUCH                CA          90015116391
61692299757538   LUISA           MADRID                    NM          35559562997
61693262857538   MELISSA         WALKER                    NM          90013232628
61696135455975   VERONICA        GARCIA                    CA          90010341354
61698929361936   FRANCISCO       VASQUEZ                   CA          90010199293
61731123555975   JOSE            GARCIA                    CA          90008001235
61736837255928   EVA             LUNA                      CA          90005188372
61737776155975   ROSA            ROQUE                     CA          90007607761
61754399255973   DREW            VANDEMARK                 CA          90013543992
61755317633698   ANTWANNIA       ROBERS                    NC          12093453176
61758268147821   GARY            RICHARDSON                GA          90005732681
61763839391942   ROBERT          ARRINGTON                 NC          90013928393
61769914255975   ELOI            MARIN                     CA          90009259142
61772963755993   MIGUEL          MEJIA                     CA          90011659637
61781283571921   ANDREA          LEHL                      CO          32004852835
61786298391527   MIGUEL          GUZMAN                    TX          90010732983
61786926231453   ANTIONETTE      HARRIS                    MO          90004069262
61791793991857   ANGELA          WALD                      OK          90014267939
61792311361936   CAREN           LUKE                      CA          90013703113
61835282855973   LUIS            CONTRERAS                 CA          90009442828
61835639161964   AIOTEST1        DONOTTOUCH                CA          90015116391
61836228455973   ASHLEY          MARTIN                    CA          90014782284
61838494157538   JANET           CAMPBELL                  NM          90013664941
61841534431453   DAVID           LEE                       MO          90015125344
61854296361936   JOEL            CAMACHO                   CA          90009772963
61855665691522   JAVIER          HERNANDEZ                 TX          90005516656
61861318554155   NILESHNI        NARAYAN                   OR          90012513185
61864194257538   MANUEL          VALANDRAN                 NM          90011761942
61869383271921   NICOLE          SANDOVAL                  CO          90012933832
61869868561936   MARCEL          WILLIAMS                  CA          90012728685
61875744161936   ALMA            GUTIERREZ                 CA          46034697441
61885888961936   ROOSEVELT       DELANS                    CA          90012878889
61889561191894   STACEY          GOAD                      OK          21030315611
61891639161964   AIOTEST1        DONOTTOUCH                CA          90015116391
61896335491975   WENDY           HARDIE                    NC          90008063354
61896642861964   MIGUEL          PEREZ                     CA          90010996428
61899474463646   DAWN            WRIGHT                    MO          90011044744
61913737355973   JOEY            MORA                      CA          90011867373
61914999155975   ANDREA          STEELMAN                  CA          90012299991
61919397157538   MARK            MENDOZA                   NM          35526753971
61919748263646   KALEE           SCHELL                    MO          90013197482
61927922361936   ANDRES          CASTANEDA                 CA          90012879223
61932572961964   JUAN JOSE       LEON                      CA          46009155729
61933926961936   SANDRA          RICHMOND                  CA          90012879269
61935248563646   TRACI           STEWART                   MO          90011322485
61936817563646   DANA            THORNBURGH                MO          90013018175
61937824833698   RAKEMA          WILLIAMSON                NC          90013108248
61939293725236   KIMBERLIN       HUMPHREY                  NC          17028742937
61939887357538   GREGORY         DAVIS                     NM          90011768873
61941215751354   WILLIAM         BROCK                     OH          90012602157
61941561157538   JOSE            CHAVEZ                    NM          90013665611
61951559871921   DOMINIQUE       MARSHALL                  CO          90010885598
61956356455973   TEODORO         CAMPOS                    CA          90011453564
61963294355975   MARIA           CRUZ                      CA          90014702943
61966182691894   STANLEY         BUFORD                    OK          90006071826
61969925991894   LARRY           AVEY                      OK          90014179259
61973898571921   DAVID           MARTIN                    CO          90001498985
61974837761964   IRMA            TORRES                    CA          90013638377
61978747284392   SHAWN           GRIMM                     SC          19086557472
61982245555975   LUCILA          GUZMAN                    CA          90013992455
61983796183227   NORMA           VEGA                      VA          81023327961
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61987826957538   VICTOR          PINON                     NM          90011778269
61998954857538   ALBERTO         LINO                      NM          90011779548
62112996455977   RICHARD         BUNTIN                    CA          90014289964
62114121361964   VICKY           RICE                      CA          90014791213
62117347857538   JESUS           GOMEZ                     NM          90005423478
62118588354121   CORY            THODE                     ID          90012815883
62121131697121   TOM             LEMOX                     OR          90005391316
62125833155975   BREANNA         GARICA                    CA          90011328331
62126834263646   WILLIAM         GORDON                    MO          90007358342
62128423354121   ROSEMARY        WHEELER                   OR          90010084233
62131523954121   FERNANDO        VILLAS                    OR          90012365239
62141353697125   MR BRIAN        CEK                       OR          90011343536
62153565554121   VICENTE         SILVA                     OR          90013655655
62153636351361   DAN             HORNSBY                   OH          90013706363
62159638855977   JUSTIN          DOWNS                     CA          90008366388
62163243954121   RAQUEL          GARZA                     OR          90010572439
62167758861936   MARIA           RODRIGUEZ                 CA          90014837588
62168742961936   CUAYHTEMOC      ASCENCIO                  CA          90013317429
62169223263646   SHEILA          SAVISKY                   MO          90013982232
62172614954121   RANDALL         COSTNER                   ID          90011146149
62173484861936   RUTH            TADEO                     CA          46058304848
62174577961936   JACQUELINE      ANAYA                     CA          90011865779
62177154897121   MARIA           RAMIREZ                   OR          90015151548
62178315684327   STANLEY         MACDOUGALL                SC          90008183156
62183414457544   JOSH            HERNANDEZ                 NM          90009084144
62184413154121   LYNN            WROBLEWSKI                OR          90011344131
62187154361936   ROSA            ARROYO                    CA          90002061543
62189611554121   TOMASA          TRINIDAD                  OR          90013966115
62193161755973   DANIEL          JONES                     CA          90013401617
62193275454121   LAUREN          WOOD                      OR          90013132754
62197354797121   SPENCER         WATTS                     OR          90005703547
62198538557544   BARBARA         GONZALES                  NM          35508745385
62211697284392   TYSHEIKA        WRIGHT                    SC          19007296972
62215795855973   CELENA          CUELLAR                   CA          90010637958
62216936754121   MARIBEL         CARBAJAL                  OR          90013199367
62232731561964   FABIOLA         AGUAYO                    CA          90011527315
62232883354121   FRANK           BASHON                    OR          90014178833
62234925433698   JUDY            HALE                      NC          90013629254
62235642381621   LARRY           BURD                      MO          90012676423
62237169961936   GUADALUPE       CHAVARRIA                 CA          90014741699
62237616531476   LORETTA         CARTER                    MO          90000716165
62239445391522   FRANCISCO       CARDENAS                  TX          90013414453
62253582161936   MARIZOL         PALOMINO                  CA          90015115821
62255478354121   WANDA           TALBOT                    OR          90014844783
62258611884392   LEE             HUMPHREY                  SC          90013026118
62259544825236   KATHY           STONER                    NC          90014875448
62264578891522   VALERIE         LOPEZ                     TX          90012875788
62264733397121   TYSON           WALLACE                   OR          90010657333
62267528997125   JULIA           JOHNSON                   OR          90007375289
62268822291522   ALEJANDRA       MATA                      TX          90014518222
62271162555973   ELIZABETH       CASTANEDA                 CA          90012491625
62274476691522   ANDY            HERNANDEZ                 TX          90008164766
62275179251354   JOANNNA         SONDERMAN                 OH          90013931792
62283596961936   ELIZABETH       SANCHEZ                   CA          90010985969
62293753561936   LETICIA         OVIEDO                    CA          46075057535
62298649961964   MARTHA          SALISBURY                 CA          90005546499
62299454961964   ANTONIO         MENDEZ                    CA          90014154549
62312275157538   MICHAEL         ESPANA                    NM          90015052751
62319292663646   DAVID           AHRENS                    MO          27568682926
62322831163646   STANLEY         COLE                      MO          90013278311
62323326555977   STEPHANIE       MCDONALD                  CA          90009783265
62328822125236   CYNDLE          BOWMAN                    NC          90011278221
62333475457538   RALPH           STEINHOFF                 NM          90015054754
62337595531422   TIERRA          WINDSOR                   MO          90010695955
62341187657544   HERMAN          GOERDELLO                 NM          90010981876
62342391361936   DULCE           MARISCAL                  CA          90003203913
62343359255975   GILBER          SANCHEZ                   CA          90013853592
62346226761964   ALBERTO         CARDENAS                  CA          90011532267
62347954557544   ESTHER          OAKLEY                    NM          90012569545
62353455351354   KEONTE          SLOCUM                    OH          90013324553
62356366257544   IRENE           HARRIS                    NM          35592233662
62361214481644   JESSICA         CAIN                      MO          90012962144
62365384633698   LATOYA          FRIESON                   NC          90013543846
62368895355977   CHRISTIAN       SALCEDO                   CA          90011398953
62372641657544   GILBERT         GUILEZ                    NM          90012926416
62373171363646   GREG            BARROW                    MO          27572251713
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62381124157544   KAREN            WOOD                     NM          90012251241
62389753655977   KEITH            JEROME                   CA          90012157536
62393318763646   ELISABETH        PHELPS                   MO          90014923187
62398554261964   ANEL             CORTI                    CA          90010845542
62432485297121   BROWN            STEPHANIE ANNE           OR          90007154852
62439519925236   ARTURO           PERALTA GOMEZ            NC          90010475199
62444668357544   JOSIE            SIDA                     NM          90012306683
62449338785944   MANDY            MAXWELL                  KY          90011233387
62458561261936   XOCHITL          AYALA                    CA          90009895612
62464783833698   RUN              PUIH                     NC          90012377838
62465915897121   ANIKA            ROMERO                   OR          90011859158
62466346161964   MIGUEL           ZAPIEN                   CA          90012773461
62468646357538   MARIA            OLIVAS                   NM          35509906463
62471353455973   ZACH             VISCARRA                 CA          90012323534
62471489391522   HEBER            LUIS                     TX          90014164893
62472966991522   THIAGO           FIALA                    TX          90011599669
62474112257544   JACOB            HOVEY                    NM          90013301122
62481986733698   SHAWN            ALLEN                    NC          90012759867
62484414231453   WD               HARRIS                   MO          90007484142
62485991841259   JOHN             PETRARULO                PA          90012129918
62493615133698   NAKESHA          BECOAT                   NC          90014106151
62496165991522   WEABER           MARIA                    TX          90008851659
62496913855975   ALESSANDRA       PASKWIETZ                CA          90013699138
62498628351354   AMANDA           HILL                     OH          90015166283
62513595233698   CURTISHA MCCOY   YOUNG                    NC          90014445952
62516353561964   KENDALL          JONES                    CA          90010353535
62524312981621   RACHEL           ALLISON                  MO          90007703129
62529761891965   CHARLENE         GRZYBOWSKI               NC          90009997618
62541751297121   CASEY            LAGONI                   OR          90012007512
62545743884392   BRANDON          BROWN                    SC          90013347438
62546323633698   TAMI             STEWART                  NC          90012083236
62555333457544   FERNANDO         PENA                     NM          90013193334
62559944757544   RUBEN            LOZANO                   CO          35572519447
62561599655973   ALEXANDRA        LEON                     CA          90014875996
62565862791321   AMANDA           AGADO                    KS          90014928627
62572981697121   CARRI            AHI                      OR          90012089816
62575582655973   SARA             DEPRADA                  CA          90013075826
62576684231453   WARNER           COLEMAN                  MO          90002236842
62579279997121   JULIETA          RODRIGUEZ                OR          90012122799
62584636561936   DAVID            SIGUENZA                 CA          46017176365
62589915584392   TIMOTHY          DICKENS                  SC          90006599155
62591568957544   J BAR            ENETERPRISES             NM          90012025689
62599847381621   RIGOBERTO        VEGA                     MO          90009088473
62612629363646   JUSTIN           HEMBROCK                 MO          90012606293
62617284261936   VIVIANA          LUNA                     CA          90009982842
62618573384392   RUTH             WHEELER                  SC          19077085733
62623985991522   ROGELIO          VASQUEZ                  TX          90014179859
62626446581644   IVORY            TRIPP                    MO          90011384465
62626669755975   JONATHAN         JARAMILLO                CA          90011576697
62642881355973   NATALIE          URIBE                    CA          90015118813
62645944761964   KIRBAN           KELLER                   CA          90013849447
62653755751354   JASMIN           HERNANDEZ                OH          90012907557
62656634561964   AIOTEST1         DONOTTOUCH               CA          90015116345
62663413755977   ANNA LAURA       JUAREZ SANCHEZ           CA          90015114137
62665992591522   JUAN             URBINA                   TX          90012819925
62666473981644   JESSICA          EVANS                    MO          29097334739
62667499755973   VANESSA          COLLINS                  CA          90000114997
62667844655975   TEODORO          CONEJO                   CA          90004998446
62669889584392   NANCY            ENCARNACION              SC          90012488895
62682561855977   DIANE            HOLL                     CA          90012095618
62683147781671   SYLVIA           PIZANO                   MO          90006151477
62684764757544   JASON            ROCHA                    NM          90012127647
62694839961964   MIGUEL JR        RUIZ                     CA          90011868399
62711462584392   JOSHUA           BRAITHWAITE              SC          90011184625
62712139731453   AUDREY           SCOTT                    MO          90013511397
62727421155973   NICK             SAENZ                    CA          90009594211
62729336955973   ARTURO           FARIAS                   CA          90010733369
62735412351354   DONALD           HARVEY                   OH          90013384123
62742495984392   CHRISTOPHE       GAILLARD                 SC          19003624959
62766287555975   ANTONIO          PASTRANA                 CA          90014822875
62775725663646   DAVE             SMITH                    MO          90011407256
62775946991522   ALEJANDRO        ESTRADA                  TX          90009589469
62786864351354   DESIREE          WALKER                   OH          90014778643
62788591457544   CHRISTOPHER      WOLFE                    NM          90010775914
62789357555973   TERE             AVILA                    CA          48046393575
62791343155973   GONZALO          PADILLA                  CA          48005283431
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62792696184392   ASHFORD         NELSON                    SC          19079076961
62793783561936   VICTOR          GUMERREZ                  CA          90003047835
62816981961936   OLIVIA          MARTINEZ                  CA          46087509819
62819434155975   JESTINA         MARTINEZ                  CA          90013154341
62821436891522   ERIK            DELPALACIO                TX          90014694368
62831162591522   SYLVIA          LECHUGA                   TX          90003101625
62833136991522   RAMONA          FEDERICO                  TX          90014161369
62835521861936   JACKELYNNE      ORTIZ                     CA          90012865218
62847373981644   JOSE            BERRIOS                   MO          90015193739
62847484463646   KRYSTAL         BRODERICK                 MO          90013054844
62848296331473   CHAMPAGNE       BROWN                     MO          90013632963
62849623761964   RODOLFO         GALLARDO                  CA          90012396237
62853185561936   DALVIS          TAQUECHEL                 CA          90014301855
62855327584392   ROBERT          MORRIS                    SC          90013383275
62865646955977   KATHLEEN        QUIROZ                    CA          90012136469
62865697284392   TYSHEIKA        WRIGHT                    SC          19007296972
62866469261964   VERONICA        RUIZ                      CA          90002184692
62871477455975   MARTIN          GOMEZ                     CA          90014184774
62871548981621   TRECIE          JONES                     MO          90007095489
62876327584392   ROBERT          MORRIS                    SC          90013383275
62878637663646   MATTHEW         WINKLEMAN                 MO          90013256376
62881526155977   SYNTHIA         LOPEZ                     CA          49092455261
62884424561936   LAUREN          SPOUNIAS                  CA          90014074245
62893151333698   TARJI           CORNELL                   NC          90011121513
62918738861964   PRISCILLA       MARTINEZ                  CA          90010477388
62918874391522   JESUS           FERRER                    TX          90011618743
62928736555973   ROBERT          CONTRERAS                 CA          90010107365
62935162557544   LUBIA           GWAK                      NM          90014051625
62937285651361   JAMES           PIPER                     KY          66028102856
62938289733698   TRINIDAD        CORTEZ                    NC          90003162897
62939724955977   EDUARDO         MARTINEZ                  CA          49006497249
62944274661964   AARON           SCHMID                    CA          90000102746
62946746955973   NATALIE         MALDONADO                 CA          48055387469
62947323257544   MATTHEW         MIRABAL                   NM          90009813232
62951388161936   ANGUS           PORTER                    CA          46039043881
62955558957544   LARISA          JIMENEZ                   NM          90012185589
62956939261964   PEPE            REYES                     CA          46053889392
62959228751354   LAUREN          CHAMBERS                  OH          90003932287
62961519284392   DELLA           LEACH                     SC          90013835192
62964912481644   VANESSA         VENZOR                    MO          29035429124
62965199384392   MIGUEL          GUZMAN                    SC          90011611993
62974283531651   CHRISTIAN       NELSON                    KS          90002672835
62995434991522   DAVID           DURAN                     TX          90014504349
62997813363646   KARIE           JEWELL                    MO          90009438133
63124484171968   ORAINE          CROOKS                    CO          90012604841
63125885891522   FRANCISCA       HERNANDEZ                 TX          75033438858
63143134561936   PERLA           ORTIZ                     CA          46070551345
63149164791549   JAZMIN          NUTTER                    TX          90013151647
63149512355977   MICHELLE        CALHOUN                   CA          90013385123
63151924451354   KARRIE          DUNN                      OH          90013219244
63154561155973   SABRINA         NACHOR                    CA          90013535611
63155295655977   GRACIELA        ANDRADE                   CA          90010152956
63156923133698   MICHELLE        DOBBS                     NC          90011099231
63165186355977   AMANDA          HENDERSHOT                CA          49074621863
63171427484392   JALISA          SMALLS                    SC          90013204274
63174194261964   CLARISSA        PENA                      CA          90011921942
63182666255973   AMANDA          STEELMAN                  CA          90010126662
63187212791549   GLORIA          ROSALES                   TX          90007742127
63187275163646   JOEY            DONNELLY                  MO          90013362751
63189524961936   NATHAN          DARDEN                    CA          90008005249
63195393384392   SHELVA          ANDERSON                  SC          90009463933
63198297151354   RHONDA          COOK                      OH          90012292971
63198512561964   POWELL          GERALD                    CA          90011385125
63215759555977   BENITO          VACA                      CA          90005197595
63218369361964   SERGIO          PERALTA                   CA          90013853693
63219863555973   NORMA           PEREZ                     CA          90005298635
63221536891549   OFELIA          BANUELOS                  TX          75029945368
63226174351354   ERIKA           WOODS                     OH          90014691743
63238521555973   DEANDRE         MAXWELL                   CA          90007525215
63242346161964   MIGUEL          ZAPIEN                    CA          90012773461
63243618291522   SILVIA          WHITE                     TX          90014966182
63255297871976   TRACI           AARAGON                   CO          38047972978
63262266355973   CARLOS          FALCON                    CA          90014382663
63262819161936   GABRIEL         ORONA                     CA          90010788191
63263578971968   VALERIE         MONTOYA                   CO          32067055789
63265775671976   SHAWN           ARAGON                    CO          90004347756
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63267858751354   KAYLA           ROBERTSON                 OH          90013818587
63269214971968   TINA            TRUJILLO                  CO          90014642149
63275429155973   MELINDA         BERMUDEZ                  CA          90013864291
63281838171968   MATTHEW         BEAVER                    CO          90010668381
63284296861964   SERAFIN         MIRANDA                   CA          90011172968
63286626961936   JULIO           VIELMA                    CA          90010496269
63287979891549   TAMMECHA        JOHNSON                   TX          90010409798
63289688761964   LISA            SNYDER                    CA          46028236887
63312167655973   JAVIER          ALVEREZ                   CA          90012351676
63315411825236   LESLI           LUIS                      NC          90013244118
63318155671976   BRANDY          REITER                    CO          38070801556
63318645661964   MIGUEL          PACHECO                   CA          90012926456
63319723684392   DORETHA         CHAVIS                    SC          90012987236
63321219263646   JESUS           ESCAMILLA GIL             MO          90012612192
63328657855977   ARTURO          CASTRO                    CA          90013286578
63332753591552   GREGORY         WILLIAMS                  TX          75096317535
63333419861936   FRANCES         ESTRADA                   CA          90010734198
63333875391549   ARACELY         SALCIDO                   TX          90010158753
63347621471968   DIANE           WADE                      CO          90010936214
63351443155975   STEPHANIE       LISENBERRY                CA          90013804431
63353654991522   MELISSA         DUNN                      TX          90015116549
63357246471976   RONALD          PACHECO                   CO          90011772464
63359595355973   DENISE          WHITFIELD                 CA          90010045953
63362378161964   BRITTANY        GUEVARA                   CA          90014583781
63367378961936   FRANK           FANUA                     CA          90013743789
63368539961964   JOSE            MIRAMONTES                CA          90010825399
63373498461964   ANTONIO         HUARCAS                   CA          90010454984
63374653455977   GUSTAVO         HERNANDEZ                 CA          90013906534
63375682455977   SOPHEA          MAK                       CA          90010826824
63379327455975   MARINA          GARZA                     CA          90010253274
63382728155977   RHONDA          ABENIDO                   CA          90014577281
63387545761964   PATRICIA        ESCAMILLA                 CA          90012805457
63412484361964   SCOTT           OLIVER                    CA          90011114843
63418742755973   MARINA          BELL                      CA          90008467427
63419543461936   ANA LADY        RESENDIZ                  CA          90013105434
63433319661936   BECKY           GAY                       CA          90013473196
63437373761964   MIGUEL          DAMIAN                    CA          46014333737
63437694771968   GLENN           HARMON                    CO          90009876947
63463921171968   RAY             LANNIGAN                  CO          90012539211
63475741925236   WILLAIM         GARLICK                   NC          90011137419
63479563271968   MARK            BRADLEY                   CO          90009975632
63482248171968   WALTER          BURKHOLDER                CO          90007612481
63485577961964   JAZMIN          GAYTAN                    CA          90011315779
63487498184392   JAMES           CLARK                     SC          90014864981
63493193763646   VICKI           THOMAS                    MO          90011961937
63514288771976   ISRAEL          LOPEZ-ALONSO              CO          90011792887
63517167325236   JANA            ARMSTRONG                 NC          90014551673
63521822961966   MARIA           RUIZ                      CA          90009448229
63528296155973   MARIO           LUEVANOS                  CA          90011802961
63531429251354   STEVEN          MAYNARD                   OH          90008914292
63533939455977   JOSE            ROSALES                   CA          90013329394
63534616733698   NES BITT        LORRAINE                  NC          12004366167
63555728155977   RHONDA          ABENIDO                   CA          90014577281
63558197563646   NANCY           LOUCKS                    MO          90002571975
63572149263646   MARIE           DEES                      MO          90014891492
63574884391522   ABRAHAM         MEDINA                    TX          90000558843
63577641355977   AIOTEST1        DONOTTOUCH                CA          90015116413
63578543461936   ANA LADY        RESENDIZ                  CA          90013105434
63578721451354   JUAN            MONTALVO                  OH          90011577214
63584316263646   KEVIN           DEBRECHT                  MO          90014133162
63584698651354   HAYLEE          COUSINO                   OH          66005966986
63591676855977   RANDELL         HELSEY                    CA          90012896768
63593377691857   GORGIE          MCNAC                     OK          90012363776
63598884171976   JOSEPH          CHAVEZ                    CO          90011808841
63612411661964   JOSE            LUNA                      CA          90014584116
63616651655975   CLEMENTE        DIAZ                      CA          90004836516
63616977561964   VILLAR          JACK                      CA          46030039775
63618817555977   KAREN           GILL                      CA          90013328175
63619928331453   KIERRA          VAUGHN                    MO          90014259283
63627195333698   PORSCHE         JETER                     NC          12010031953
63627524271968   CRYSTAL         JACK                      CO          90002265242
63637784633698   WILLIAM         SMITH                     NC          90011127846
63643797131453   MARGARET        AKINS                     MO          27550787971
63644769391599   MARIA           PALOMINO                  TX          90012177693
63647665863646   CORY            FETSCH                    MO          90011236658
63647848341261   JOSEPH          MILLER                    PA          90015178483
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63652492884392   PATRICK             FLOWERS               SC          90014734928
63653568791522   MELINDA             AHORTALEJO            TX          90010025687
63657315784392   SHERRY              KNIGHT                SC          90014373157
63667242684392   DANIELLE            CHARTRAND             SC          90014892426
63669671691549   EDGAR               SOLEDAD               NM          90014836716
63676719955973   VANESSA             ACOSTA                CA          90014067199
63677874993728   JOE                 KREITZ                OH          90010078749
63683963261422   DARCHAE             BURLEY                OH          90014249632
63688737555977   MIKE                GARZA                 CA          90013907375
63691553171968   PAUL                GILLBERT              CO          90014225531
63714534761936   MARIA               NEVAREZ               CA          90011315347
63714884463646   CHACE               THIES                 MO          90012338844
63715724971968   MIKEL               SHANE                 CO          90013687249
63715873991522   MARTHA              RAYMOND               TX          90008798739
63717124655975   ANGELINA            CHAIDEZ               CA          90011031246
63717443491549   PAMELA              IBARRA                TX          90012294434
63719189161936   RAMON               REYES                 CA          90009911891
63722969291549   ANGELICA            MARQUEZ               TX          90010939692
63723919791549   JOSE                ESPARZA               TX          90012929197
63725315655924   ELIJAH              WILKINS               CA          90012463156
63735642955973   JENNY               RAMIREZ               CA          90010956429
63737433257538   JUAN                PRIETO                NM          90010334332
63741853871968   RAMON               CHAVEZ                CO          32073218538
63744719425236   LETISIA             MUNOZ CANO            NC          90012037194
63746914731453   JUAN                MIJANGOS              MO          90011179147
63747943584392   MARIA               SWEET                 SC          90004999435
63748988831453   LAKEISHA            DAY                   MO          90010939888
63759957255977   ESTHER              RODRIGUEZ             CA          90013869572
63762964155977   ARMANDO             BALBOA                CA          90008009641
63763761757563   DONALD              BROWN                 TX          35513527617
63764121851354   CAMERON             COLEMAN               OH          90014351218
63766173893792   DAVID               HOUSER                OH          90009531738
63766888491549   JOSE                RIETO                 TX          90011188884
63769633951354   DOMINIC             PEDIGO                OH          90005316339
63772294133698   SHAKITA             HAIRSTON              NC          90013152941
63774842361964   YESENIA             CAMACHO               CA          46036708423
63776159684392   SPENCER             SAMUELS               SC          90013821596
63782256331453   SHANIKA             SIMMONS               MO          90000332563
63784898271976   SAMUEL              HAMMOCK               CO          90011838982
63789424861964   OMAR                BARROSO               CA          90012634248
63795614761936   ANTONIA             LARA                  CA          90012616147
63798322591522   DEANNA              STEWART               TX          75014413225
63812527391549   SILVIA              SANDOVAL              TX          75013265273
63815633261964   AIOTEST1            DONOTTOUCH            CA          90015116332
63817633261964   AIOTEST1            DONOTTOUCH            CA          90015116332
63825872855977   ANDREA              CLAY                  CA          90014938728
63826622791549   EDITH               REYES                 TX          90013216227
63833116751327   LYNDSEY             STEPHENS              OH          66004981167
63844939471968   SUNDAY              BRODRICK              CO          90015139394
63847932555975   VICTORIA            LOPEZ                 CA          90014849325
63849289255975   XINOG               VANG                  CA          90003272892
63849627371968   CARLOS              MASCARENAS            CO          90012996273
63849778955977   LILI                MARTINEZ              CA          90010227789
63857475871968   DENISE              ESTERGARD             CO          90013064758
63857613784392   LASHAWNDIA          WAITERS               SC          19041436137
63858825655973   LUCINA              SANTANA               CA          90010228256
63863865591522   TITO                PUENTE                TX          75046948655
63875174284392   SANTANA             TODD                  SC          90012651742
63875722561936   ROBERTO             NAVARRETE             CA          90012887225
63876856831453   TERRIONA            STARKS                MO          90009828568
63877495391522   BERTHA              CARVALLO              TX          90014994953
63882424891522   ANDERA              RAMIREZ               TX          90010314248
63886915633698   DENISHA             GALLOWAY              NC          90012329156
63899653463646   JESSIE              MILLS                 MO          90013076534
63899868757538   ONTIVEROS-HERRERA   LIBIA J               NM          90011068687
63913641355977   AIOTEST1            DONOTTOUCH            CA          90015116413
63916676271968   TAQUIVIA            JOINER                CO          90011396762
63918351784392   NIKITA              MANIGAULT             SC          90014933517
63924614991549   JAMES               HORNER                TX          90013206149
63926164991549   ALBERTO             ESTRADA               TX          90010741649
63927214471976   MELISSA             CASAREZ               CO          90000542144
63935373125236   JAQUEZ              HARGETT               NC          90013343731
63936493955977   ALBERTO             ORTIZ                 CA          90012054939
63947332481644   LATOYA              GOODWIN               MO          90011563324
63948571151354   ELISA               VASQUEZ               OH          90009275711
63955141255973   JOSE                SANTILLAN             CA          48015241412
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63958358386435   LARRY           RANDOLPH                  SC          90014113583
63963596571968   BRENNAN         TRASS                     CO          90014665965
63974813251354   TONY            POWELL                    OH          90011258132
63975624363646   KATHY           STEELE                    MO          90011276243
63985786961936   WILLIAM         COLGATE                   CA          90005097869
63986879381644   TARENCE         MADDOX                    KS          29040868793
63988575255977   EDWARD          GONZALES                  CA          90012455752
63994178851354   MICHAEL         TURNER                    OH          90012751788
63994641355977   AIOTEST1        DONOTTOUCH                CA          90015116413
63997676271968   TAQUIVIA        JOINER                    CO          90011396762
63998641955977   AIOTEST1        DONOTTOUCH                CA          90015116419
64115193257555   JUDITH          CHAVEZ                    NM          90011941932
64115324181675   DREW            BRYAN                     MO          90013863241
64116431155977   MATHEW          DART                      CA          90013384311
64116536691522   JORGE           JUAREZ                    TX          90001575366
64119164455975   ROCIO           CHAVEZ                    CA          90013461644
64121174491562   IVONNE          MENDOZA                   TX          90010781744
64126467755975   ABRAHAM         MARTINEZ                  CA          90014584677
64127967255973   ERICK           QUEZADA                   CA          90010839672
64135479691998   BRITNEY         BROWN                     NC          90012144796
64144385981644   SHERL           LEWIS                     MO          90014713859
64146783184392   TUNISIA         BRYANT                    SC          90013017831
64156525671968   ARIAYANNA       WILSON                    CO          90012945256
64159741261961   NEQUEY          CASTRO                    CA          90009347412
64161454191363   CAROLINA        BERROA-CARRASCO           KS          90011624541
64162467755975   ABRAHAM         MARTINEZ                  CA          90014584677
64168761261961   KHALIDA         KARAAK                    CA          90013007612
64172792485886   NICK            NANNA                     CA          90012857924
64174185155973   MARTIN          AGUILERA                  CA          90004061851
64175115363646   ERIC            STREET                    MO          90010971153
64181173971968   ENOCH           VINING                    CO          90007891739
64182973884392   ENRIQUE         SOLANO-LARIOS             SC          90013139738
64183963361964   IRENE           LOPEZ                     CA          90003909633
64184364855975   EDGAR           GUERRA                    CA          90001033648
64189233763646   DONTE           STEELE                    MO          90012642337
64198215231453   SHARAYE         TERRELL                   MO          27575862152
64213478881675   RYAN            ALLEN                     MO          90011924788
64214938281675   VITA            GRANT                     MO          90010779382
64215489255973   KARINA          FLORES                    CA          90012264892
64215879655975   PATRICIA        SERVANTEZ                 CA          90008468796
64221778381644   DAN             MAJORS                    MO          90014897783
64231941485886   CORINA          CASTILLO                  CA          90010399414
64236218155977   ALEXANDER       JAVIER                    CA          90012302181
64239232555977   AIOTEST1        DONOTTOUCH                CA          90015122325
64239311651337   JANET           SCHNECKER                 OH          90013933116
64241743481644   RENEE           STOVALL                   MO          29039717434
64243149285886   JULIAN          CHAVEZ                    CA          46004521492
64243923191562   LUIS            GARCIA                    TX          90014599231
64244995485886   CESAR           TORRES                    CA          90013009954
64246753855978   MICHELLE        MONTOYA                   CA          90003507538
64248795961961   TABRIZ          RAIMEY                    CA          90006047959
64249982855973   CARLOS          PINTO                     CA          90012429828
64253678871968   PETER           MAISEL                    CO          90014666788
64255365581644   JANAESIA        WRIGHT                    MO          90011083655
64255444857555   RASHAWN         GARCIA                    NM          90010944448
64259872355977   KAM             SRIMALA                   CA          90013768723
64269112485689   PEDRO           CRUZ                      NJ          90011021124
64271179585886   ALMEZ           ROOZBAHAN                 CA          90014181795
64272377385886   ELBER           ZATARAIN                  CA          90014393773
64272757751337   TAVON           BEASLEY                   OH          90013667577
64273247791522   TANIA           FLORES                    TX          90010952477
64273551891998   MICHAEL         PERSON                    NC          90012305518
64283851385886   LEIDY           GONZALEZ                  CA          90012338513
64291457191998   LEKISHAN        BATEMAN                   NC          90012884571
64294767157555   CHARLOTTE       MAYNES                    NM          90008887671
64313879757123   JOSE            AMAYA                     VA          90009218797
64316593291522   NLEMCHUKWU      OSITA                     TX          90002905932
64316832257555   ANGELICA        LEDEZMA                   NM          90011138322
64318544457555   LUCILLE         BENAVIDEZ                 NM          35540365444
64319296355977   PRISCILLA       GARCIA                    CA          90011502963
64321653271968   THOMAS          FITZPATRICK               CO          90015096532
64327251961961   ROBERT          VAZQUEZ                   CA          90011822519
64327797581675   ANTHONY         BOSTIC                    MO          90013187975
64331137971968   THOMAS          COSTANDINE                CO          90013991379
64333831491562   JAQUELINE       SOLIS                     TX          90011858314
64335493985886   ELBER           ZATARAIN                  CA          90012874939
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64341995891998   QUWON           MIAL                     NC           90011989958
64342272761936   GWEN            WEISCHEDEL               CA           90013482727
64353397585886   ANGELICA        OROZCO                   CA           90014733975
64354274833698   LATIA           BROWN                    NC           12065892748
64356359755975   STEPHANIE       CEBALLOS                 CA           90012403597
64356477861936   CHRISTOPHER     RODRIGUEZ                CA           90012264778
64358262761961   HUGUES          BELLEVUE                 CA           90012722627
64362186781675   MARENDA         EASLEY                   MO           29035861867
64362641585689   HEPAFRODITO     CAMPOSECO ABARCA         NJ           90013236415
64363238255977   GACHLEE         THAO                     CA           90011352382
64367687651337   TRACIE          WARMAN                   OH           90011126876
64367968491998   DANIEL          JACOBS                   NC           90011149684
64368946685886   RAUL EFREN      ESPINOZA ORDUNO          CA           46090579466
64373384561961   CESAR           ZAMORA                   CA           90010293845
64375586557555   GUADALUPE       LOPEZ                    NM           90012625865
64377111585886   NAZARIO         GASPAR GARCIA            CA           90013011115
64379345455975   ALNA            SOLIS                    CA           90008573454
64387274685886   KIRK            OSEO                     CA           90006922746
64391391155977   MA DE JESUS     MAGANA CASTANEDA         CA           90013643911
64391647391522   REYNA           APODACA                  NM           90010416473
64393321991522   JUDY            VARGAS                   TX           90005323219
64395591555973   ALEX            SALAZAR                  CA           90011675915
64396673685689   CRYSTAL L.      SIRFI                    NJ           90013186736
64398237484392   JAMES           BARBOUR                  SC           90015172374
64413287185946   ROBERT          KELLY                    KY           90013882871
64414339555975   JOSE            JIMENEZ                  CA           90013673395
64414457684392   RYNELL          GREEN                    SC           90013524576
64416575491998   JALEEL          LILES                    NC           90012025754
64417891855977   PANG            YANG                     CA           90013898918
64422195485689   JHONNY          MENJIVAR                 NJ           90000401954
64423264255977   JASON           SURABIAN                 CA           90011352642
64424321991522   JUDY            VARGAS                   TX           90005323219
64425329851337   JEFF            KOCHERSPERGER            OH           90013933298
64429487263646   MELVA           WOODSON                  MO           90002804872
64435234461936   JUDY            HOLMES                   CA           90011912344
64443911755959   JOSE            CUEVAS                   CA           90013899117
64451667661936   MARIA           SHAKSHINA                CA           90013196676
64455594557555   ROBERTA         MARQUEZ                  NM           90013805945
64456292761961   VERONICA        SANCHEZ                  CA           90010022927
64459388785689   OVIDIO          GOMEZ                    NJ           90003603887
64461985671968   ERIN            SHELBY                   CO           90014769856
64465862955964   YOLANDA         VILLEGAS                 CA           90013858629
64466586791998   SHERRY          NEAL                     NC           90009045867
64475648851337   EMI             PARROTT                  OH           90013596488
64477195685886   ANGELICA        HERRERA                  CA           90011541956
64478665855977   EMA             MANRIQUEZ                CA           90013806658
64478679191562   JESSICA         SORIA                    TX           90011366791
64482797761961   ALBERTO         GARAYZAR                 CA           90010677977
64487888651338   VERALDENE       WITHROW                  OH           90010718886
64488683491562   JUAN            RAMOS                    TX           90010106834
64489298791562   ROBERTO         GARCIA                   TX           90011102987
64489641971968   DANIELLE        SEILEY                   CO           90010496419
64492161891562   LINDA           VILLA                    TX           75040101618
64492215771968   TERRY           JACKSON                  CO           32097982157
64497597761964   ELIZABETH       GONZALEZ                 CA           46054315977
64512688855977   BRANDY          LEE                      CA           90012896888
64515924557555   SARAH           SORIA                    NM           90011009245
64516825581644   LYNDA           PERRY-GRIGSBY            MO           29005508255
64517215591562   NANCY           MUNGUIA                  NM           75042372155
64521336355973   DIANA           BOND                     CA           90012883363
64522819191562   RUBEN           AVILA                    TX           90008598191
64525172685886   MERCEDES        GIESE                    CA           90014861726
64528354555973   PEDRO           OLEA                     CA           90013923545
64528691155975   DONNA           MARTINEZ                 CA           90014626911
64528883261964   SAMUEL          DE LOS RIOS              CA           90013508832
64529198461961   JOSE            GONZALEZ                 CA           90015311984
64531647751337   THOMAS          CANTRELL                 KY           90004956477
64536349657555   SALVADOR        GONZALEZ                 NM           90010823496
64541514381675   TYESHA          OLDEN                    KS           90013375143
64541575361964   OSVALDO         JIMENEZ                  CA           90014455753
64544351755975   DANIELLA        BLUMENTHAL               CA           90012013517
64547927951337   LASHAWN         BUTLER                   OH           90013419279
64548937985689   UBAGO           VELASQUEZ                NJ           90010819379
64554957661964   CARLOS          RODRIGUEZ                CA           90014599576
64558956755973   ANGELICA        YANEZ                    CA           90010079567
64569622384392   ANDREW          SITES                    SC           90013866223
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64569745555975   GERARDO         NAVARRO                  CA           90013357455
64573389751337   MARK            JOHNSON                  OH           90015093897
64575668891998   JOSHUA          SLOOP                    NC           90015156688
64579994493771   CARMEN          BROWN                    OH           90005539944
64584277961964   IRENE           BERNAL                   CA           90012042779
64589762985689   RAMON           AROCHO                   NJ           90014777629
64591687461936   ALVARO          GUZMAN                   CA           90015176874
64592493561964   JORGE           LOPEZ                    CA           90014674935
64598385761936   SAMUEL          FALAISE                  CA           90009753857
64613471255975   BRANDY          REAVES                   CA           90014854712
64622338141261   JEREMIAH        CALANDROS                PA           90000603381
64623491461964   DEVORA          FRYER                    CA           90006104914
64624425291998   SHAINA          BROWN                    NC           90011114252
64624846957555   EMILY           WEAVER                   NM           90010248469
64628726955973   BONITA          DANIELS                  CA           48013007269
64629196751338   ROBERT          KRAFT                    OH           90011171967
64632758581644   JOSE            FUENTES                  MO           90010077585
64635758861936   PRISCILLA       GARCIA                   CA           90014167588
64646892184392   CHARLIE         AIKEN                    SC           19083168921
64647398885689   NESTOR          NEGRON                   NJ           90000903988
64654397631453   RITA            HESSE                    MO           27510253976
64656114291998   MIRIAM          SARMIENTO                NC           17010931142
64657299757555   LUISA           MADRID                   NM           35559562997
64657631661936   JOHANA          LOMELI                   CA           90012716316
64658251261936   MARILYN         CUBILLAS                 CA           90014252512
64664489561961   DANIEL          MARTINEZ                 CA           90014904895
64666387255977   ALEJANDRO       MUNOZ                    CA           90013963872
64671267155975   GEANIE          HOSLER                   CA           90013462671
64673279391522   STEVE           WAGES                    TX           90003162793
64678255263646   KAREN           ASHLEY                   MO           90010222552
64681345351337   MARTELL         WILLIAMS                 OH           90013933453
64684475655975   REBECCA         CAMARENA                 CA           90004524756
64686576571969   MONICA          ROMERO                   CO           90008915765
64688164881644   ANDREW          PAHOPIN                  MO           90013871648
64689134755977   PAYGO           IVR ACTIVATION           CA           90013651347
64689487191522   ALEJANDRA       REYES                    TX           90010984871
64692916657555   DELIA           JIMENEZ                  NM           90014639166
64694635363646   SHARON          MARTIN                   MO           90011056353
64696922161961   YESENIA         LEYVA                    CA           46027499221
64699331531453   BRIAN           CAMPBELL                 MO           90013343315
64699826151338   JENNIFER        JOHNSON                  OH           90014858261
64713227561936   MARIA           ULLOA                    CA           90013032275
64714838471968   JAMES           SPENCER                  CO           90014908384
64719291285689   RAVEN           MARSHALL                 NJ           90001932912
64722564581675   JOSEPH          FUENTES                  MO           90008565645
64724156485689   JOSE            GALINDO                  NJ           90014661564
64726764255975   NATALIE         ROSALES                  CA           90014847642
64727291851337   MICHELLE        FOPPE                    OH           66097252918
64728264355977   RAMIRO          CARVANTES                CA           90014832643
64735256661961   MARIA           OROZCO                   CA           90012082566
64736522884392   SHAWNA          HARRINGTON               SC           90013075228
64738523961964   MATTHEW         LOVETT                   CA           90013165239
64741247791522   CHRISTINA       CHAVEZ                   TX           90010892477
64753394661961   ALESIA          BLACKINGTON              CA           90012703946
64755615551337   CARRIE          HATFIELD                 OH           90013046155
64764973291562   JUAN            ROSALES                  TX           90012399732
64765618461961   RICARDO         MARTINEZ                 CA           90015006184
64771168684392   DENISE          SHAW                     SC           90013351686
64772198385689   ALBERTO         MARTINEZ                 NJ           90008051983
64777891951338   ALISA           NIMMO                    OH           90011178919
64778324555978   LAWRENCE        MARTINEZ                 CA           90011423245
64778754351337   ELLEN           TITVINIDZE               OH           90014647543
64781668291562   RICK            RIVERA                   TX           90008356682
64783282281644   CHRISTINE       RIVERA                   MO           29001082822
64783353284392   ALEXIS          SMALLS                   SC           90009593532
64786746261964   ANGEL           RUBEN CAMPOS             CA           90006227462
64789695261961   ALEJANDRO       SANDOVAL                 CA           90009096952
64789725955977   ALEX            GARCIA                   CA           90012707259
64791526791562   MARISELA        INIGUEZ                  TX           90014885267
64794214591562   JAIME           ORTEGA                   TX           90012362145
64796272571968   KIMBERLY        MYERS                    CO           90009902725
64798689661961   MICHEAL         ANTELO                   CA           90012996896
64799318885689   RAFAEL          OSORIO                   NJ           90012833188
64811897771968   GEORGE          WILLIAMS                 CO           90006628977
64814114661961   CELIA           AVINA                    CA           90012381146
64817972491522   CLADUDIA        GAYTAN                   TX           90009019724
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64818148561964   ROCIO           PADILLA                  CA           90011091485
64818541471968   JIMMIE          REESE                    CO           90013445414
64819223861961   EDWIN           QUIAMBAO                 CA           90014912238
64822791551338   CHRIS           PERKINS                  KY           90013477915
64824381955975   KENDRA          YORBA                    CA           90008693819
64825895455977   ROSALINDA       VARELA                   CA           90013458954
64828129171968   ANNA B          HARRIS                   CO           32001481291
64829269751338   JENNA           THOMAS                   OH           90010052697
64831994657555   LIZETH          MATA                     NM           90013829946
64834353571968   VENETTA         MIRANDASA                CO           90011103535
64834577784392   STEVEN          SMITH                    SC           90013315777
64835464381675   DAMIN           BICKERSTAFF              MO           90012094643
64835779555975   SAULO           JIMENEZ GONZALEZ         CA           90011917795
64835892184392   SAMANTHEIS      CAMPBELL                 SC           90008228921
64841164881644   ANDREW          PAHOPIN                  MO           90013871648
64844747855973   MARITZA         LOPEZ                    CA           90014697478
64858719455977   DAVID           CANSECO                  CA           90010497194
64858859185689   MARCOS          JIMINEZ                  NJ           90014628591
64859372481644   BOBBY           JUDIE                    MO           90006883724
64863836171968   WILLIAM         WARNER                   CO           90014488361
64878167891998   RAVEN           STEVEN                   NC           90014691678
64881612485689   ORLANDO         GERONIMO                 NJ           90015016124
64882814557555   KAREN           ESPINOZA                 NM           90011918145
64883784884392   BRANDON         THOMPSON                 SC           90014487848
64887542651338   JODI            WORTHINGTON              OH           90013435426
64888652155975   SIDNEY          JONES                    CA           90010556521
64897539385689   JACOBO          PEREZ                    NJ           90014375393
64912587955975   CARLOS          ESTRELLA                 CA           90008785879
64912735763646   SHONDA          SHEAR                    MO           90011127357
64915266751352   MICHAELA        DANIELS                  OH           90012732667
64918353263646   DAVID           DAVIS                    MO           90013413532
64918837785886   JASON           DEAL                     CA           90012968377
64923292761961   VERONICA        SANCHEZ                  CA           90010022927
64923417261964   DANIEL          CALDERON                 CA           46049854172
64927126484392   GREGORY         PATRICK                  SC           19025171264
64927176157555   KATHY           TORRES                   NM           90011031761
64927854351337   JENNELL         MERRILL                  OH           90012948543
64928626871968   CHARLOTTE       STAFFORD                 CO           90012966268
64929784357555   DESIREE         MARTINEZ                 NM           90008127843
64939413891522   YASMIN          SEGOVIA                  TX           90011404138
64942571191562   ORALIA          DIVERA                   TX           75009415711
64952363333698   DEMETRA         SEAN                     NC           90005453633
64961839851337   TRACY           HUMPHREY                 OH           66007468398
64962111585886   NAZARIO         GASPAR GARCIA            CA           90013011115
64962731991522   KAREN           ORTEGA                   TX           90009707319
64963813585689   SALVADOR        MARTINEZ                 NJ           90013038135
64968717461961   ADRIAN          COVARRUBIAS              CA           90013197174
64969292185689   CHARLES         HAINES                   NJ           90010412921
64975641281644   EAN             KELLY                    MO           90011876412
64979596181675   WILSON          BROWN                    KS           90015075961
64988619285689   JOSE            GUADALUPE                NJ           90012686192
64992346771968   CLAUDIA         HERNANDEZ                CO           90001613467
64995636191998   MIRIAN          MONTOYA                  NC           90007746361
64995742391998   JAYLAH          BRYANT                   NC           90014757423
64999225381675   HALSHO          AHMED                    MO           90015152253
65113818355973   CINDY           RAMIREZ                  CA           90009828183
65114291255975   NELLY           BARRIENTOS               CA           90006112912
65117357861964   LAKESHIA        MCVAY                    CA           90004293578
65119711155975   HECTOR          ROBLES                   CA           90013397111
65122627691998   STEPHANIE       RANDALL                  NC           90009756276
65124161761961   JOSE ALFREDO    VALENCIA                 CA           90012491617
65141896555975   SHARON          MOYA                     CA           90013258965
65142556155977   ALTA            WADE                     CA           90003695561
65146434963646   DAVID           KENDRICK                 MO           90012614349
65147187284392   BROOKS          JONHSON                  SC           90014801872
65149325584392   ASHLEY          GRAHAM                   SC           90003833255
65162548955977   BERNABE         ALCALA                   CA           90001285489
65162997555973   GABRIEL         SAHAGUN                  CA           90011229975
65163394261961   GILLBER         PALACIOS                 CA           90013833942
65165247451354   ASHLEY          HOLT                     OH           90005642474
65165488484392   JAMES           DRIGGERS                 SC           90014804884
65181246691522   DEBBIE          HERRERA                  TX           90014722466
65182599761936   JOSE            FLORES                   CA           90012685997
65192264791522   STEPHANIE       LEON                     TX           90014722647
65192427191522   JOE             LASSICH                  TX           90011734271
65192796825236   FELICIA         SMITH                    NC           90008377968
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65193642381644   LARRY           BURD                     MO           90012676423
65199112251354   SCHMAIYA        TRAVIS                   OH           90011001122
65199576491549   ARACELI         GONZALEZ                 TX           90004495764
65217175555973   CESAR           TAFOYA                   CA           90012081755
65218839391998   ROBERT          ARRINGTON                NC           90013928393
65219927851354   VICKIE          ADKINS                   OH           90011189278
65232633261964   ANTONIO         MENDEZ                   CA           90014156332
65234987491535   VIRIDIANA       BARAJAS                  NM           90006409874
65237597591522   DARLYN          MORALES                  TX           90011735975
65238693361964   FRANKY          TERZOLI                  CA           90012036933
65239581691549   JR              CERVANTES                TX           90011915816
65241543461961   JUAN            LUQUIN                   CA           90014715434
65244684291998   JAQUALA         SURLES                   NC           90011786842
65248136561964   MARIA           CASTNEDA                 CA           90003501365
65253891381644   ROSETTA         MCFADDEN                 MO           90014658913
65255693825236   ALNEISA         RAY                      NC           90011486938
65263331371976   ANTHONY         MARCELLO                 CO           90011063313
65267779325236   JOSUA           GARICA                   NC           90011937793
65271377463646   GREGORY         OTTINGER                 MO           90010343774
65275234955977   JUANA           QUEZADA                  CA           90007652349
65276218691549   JUAN            LOPEZ                    TX           90014972186
65276388255975   AARON           GILLIT                   CA           90000183882
65276675525236   CHARLES         CAUDLE                   NC           90010716755
65283585771976   BARBARA         HIGGS                    CO           38044085857
65284796651354   ASHLEY          JUSBASIC                 OH           90015117966
65287153491549   ROBERT          IRIGOYEN                 TX           90013801534
65298184425236   JERMECO         LOWERY                   NC           90014391844
65317322561961   ANGELIA         NAVARRO                  CA           46081103225
65319381557142   ANTHONY         JOY                      VA           90009453815
65321939184392   KEVIN           TOBIN                    SC           90014919391
65326995361961   ANGELA          AVILA                    CA           46007869953
65335849663646   SANDRA          HINDERLITER              MO           27591318496
65341419561961   ANABEL          CASTREJON                CA           90015154195
65341685454124   JESICA          RAMIREZ                  OR           90005626854
65355228751354   LAUREN          CHAMBERS                 OH           90003932287
65356633555977   TALIA           VASQUEZ                  CA           90013646335
65372895791522   JESUS           HERNANDEZ                TX           90011738957
65373171161961   KARINA          CARVAHAL                 CA           46022511711
65388372591522   BEATRIZ         CHAVEZ BAQUERA           TX           75024543725
65398545855975   RICHARD         MONTOYA                  CA           90013085458
65398559361964   DEANNA          DOUGLAS                  CA           90013535593
65414982591525   ALICIA          VASQUEZ                  TX           75031169825
65415361561961   VENESSA         GARCIA                   CA           90012873615
65421919891234   HUGO            GONZALEZ                 GA           90008809198
65425768363646   ANDREW          JACKSON                  MO           90011067683
65431622491998   CINDY           SOLA                     NC           90013666224
65441827881644   GARY            BROWN                    MO           90010408278
65442733391549   MARISELA        SALINAS                  TX           90013297333
65449427791522   JESUS           GARAY                    TX           90014734277
65452232933698   KENNETH         CHANDLER JR              NC           90011252329
65454555355973   ADRIANA         VASQUEZ                  CA           48014335553
65463782161961   MARIA           GALINDO                  CA           90013047821
65477215561964   ZACHARY         SKINNER                  CA           90013832155
65477943355977   PETE            SANCHEZ                  CA           90010369433
65481354255977   MELANIE         FISHER                   CA           90015303542
65487228151374   MICHELLE        COOPER                   OH           66093072281
65489678155975   KENNETH         JONES                    CA           90014986781
65492186551354   FARRAH          GATTS                    OH           90009991865
65493141955977   RAYMOND         COLMENERO                CA           49046211419
65494374384392   VICTOR          FLORES                   SC           90011143743
65498154855977   JAMES           WALTON                   CA           90003341548
65514783661961   ANTONIO         RIOS                     CA           46013667836
65518215561964   ZACHARY         SKINNER                  CA           90013832155
65533515391522   FELIPE          PADILLA                  TX           90014735153
65534515391522   FELIPE          PADILLA                  TX           90014735153
65537152233698   EBONIE          COLBERT                  NC           12095421522
65539195291234   KEITH           WILLIAMS                 GA           90009231952
65561331591552   JOSE            SALVATIERRA              TX           90010903315
65563372591522   BEATRIZ         CHAVEZ BAQUERA           TX           75024543725
65566834484392   JONES MICHAEL   JAMES                    SC           90009398344
65578529291549   MARIBEL         CABADA                   TX           90012515292
65586135255977   CRYSTAL         ZAMUDIO                  CA           90010991352
65588475754124   ARNOLD          COLETTE                  OR           90006004757
65589475754124   ARNOLD          COLETTE                  OR           90006004757
65593315591522   CHRISTINA       FIGUEROA                 TX           75016093155
65593475754124   ARNOLD          COLETTE                  OR           90006004757
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65612997591265   ANDREA          BROWN                    GA           90013709975
65615177933698   DECOBE          PETTUS                   NC           90011261779
65616273261964   SERGIO          RODRIGUEZ                CA           46083252732
65622538391998   LYNDA           MORGAN                   NC           90005855383
65624881455975   JESUSL          LOPEZ                    CA           90005018814
65625765391522   MARIA           GUEREQUE                 TX           75060967653
65627213591965   OLGA            ZEFAZ                    NC           90008652135
65636665491522   ANTONIO         MONTANA                  TX           90007046654
65643195191522   WALTER          PELLICANO                TX           90011871951
65643725561964   BALTAZAR        CRUZ                     CA           90011097255
65646243455975   JESSICA         SANCHEZ                  CA           90013842434
65649399291522   LORENZO         CASTILLO                 TX           90013033992
65653815791998   TAMIKA          WILLIAMS                 NC           90010218157
65654698791549   PAULINA         ADELAIDA                 TX           90011526987
65658274584392   NAKITIA         GADSDEN                  SC           90013342745
65662795891998   CAROLYN         GUPTON                   NC           90012947958
65663953361961   CARMEN          LABORDE                  CA           90014689533
65663978355973   CRYSTAL LEN     PYLE                     CA           90014639783
65669631361936   JAIME           ESTRADA                  CA           46016566313
65676682291522   ROOT            METRICS                  TX           90011846822
65684254561964   CRISTINA        HURTADO                  CA           90012612545
65693256281644   K               KUTII                    MO           90011712562
65715387151354   SHAMAR          ALLEN                    OH           90010963871
65725453191549   MICHELLE        OVIEDO                   TX           75032654531
65726565991552   SERGIO          MAGALLANEZ               TX           90009245659
65727242661961   LOURDES         ROMO                     CA           90013842426
65729785761964   DIEGO           GONZALEZ                 CA           46019397857
65743624591549   SANDRA          CARDOZA                  TX           90013746245
65751844725236   ANGELA          WHITTED                  NC           17021208447
65753833225236   GEORGE          FUNDERBURK               NC           90013928332
65756612791525   BERTHA          WARNER                   TX           90008036127
65761168861964   JOHNATHAN       LOPEZ                    CA           90009471688
65761542455973   JOSE            GUERRERO                 CA           90013575424
65762616355973   LYDIA           ECHEVERRIA               CA           90010896163
65763751392844   JULIO           MACEDONIO                AZ           90014367513
65772313291998   MICHELLE        YORK                     NC           90011103132
65774444484392   JOSEPH          DECKER                   SC           90006644444
65779268555973   JASON           GARRETT                  CA           90006262685
65787896951337   LISA            CRISP                    OH           90013418969
65788619455973   ADRIEL          RUELAS                   CA           90011866194
65792392763646   NICHOLAS        JOHNSON                  MO           90010813927
65797563361961   RENE            LERMAN                   CA           90014185633
65797844725236   ANGELA          WHITTED                  NC           17021208447
65817693991549   FRANCISCO       PEREZ                    TX           90012176939
65821625151354   JOY             HOWARD                   OH           66016956251
65836619461961   GIANNI          SIMMS                    CA           90011876194
65837757455969   STAR            DIAZ                     CA           90013077574
65844279981644   GLENN           BOLTON                   MO           90014392799
65849182851354   ERIN            MARTIN                   OH           90014751828
65854897461961   HARRIET         MARTINEZ                 CA           90014168974
65869393855975   MARIA           GONZALEZ                 CA           90012463938
65883722425236   IESHA           ARRINGTON                NC           90001257224
65885767891549   ROBERT          FRESCAS                  TX           90012367678
65888567681628   KELLEY          SCHMITZ                  MO           90010105676
65892528672451   JACOB           CRIPPEN                  PA           90009985286
65894923851354   AMBER           WALLACE                  OH           90011319238
65911451925236   GRISELDA        DELGADO                  NC           90010034519
65925124163646   ANGELA          CARPENTER                MO           90013041241
65926961591998   YAVANDER        MELVIN                   NC           90013229615
65929624155975   GABY            RAZO                     CA           90014896241
65942437255975   NACASIA         SOTO                     CA           90001704372
65944183161936   CYNTHIA         CAMACHO                  CA           90006801831
65944848191549   TERESA          BLAKE                    TX           90013268481
65947758255973   VIANEY          MORENO                   CA           90014177582
65958381284392   TRACY           DICKINSON                SC           19017793812
65961996751354   JAEDIN          DEAN                     OH           90013349967
65963573361961   TAWNA           GRISHAM                  CA           90014715733
65966612655973   VIVIANA         ORTIZ                    CA           48015146126
65966818163646   ANASTACIO       GARCIA                   MO           90014708181
65971446555973   VICTORIA        PEREZ                    CA           90012754465
65971793291522   RAUL            FRANCO                   TX           75014147932
65972282861964   EUGENIO         DUSCUSIN                 CA           90014892828
65972995955975   LUISA           ANDREWS                  CA           90012779959
65976754951323   JOHN            JANSON                   OH           90007547549
65981629955975   RENNE           GIN                      CA           90011896299
65991826591525   GRISELDA        TORRES                   TX           90010548265
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65997699725236   TIA             KNIGHT                   NC           90014616997
66111259161964   SELMA           BENITEZ                  CA           46007292591
66113967491522   HILDA           GUERRERO                 TX           90013159674
66117794191562   APRIL           LOERA                    TX           75011297941
66125665655973   ANA             RAMIREZ                  CA           90012206656
66125729291562   MIKE            RAMOS                    TX           90009937292
66142649361936   EDWARD          ODELL                    CA           90012736493
66143751391998   DWAYNE          JOHNSON                  NC           90014867513
66144213955973   STEPHANIE       TORRES                   CA           90011442139
66146163291998   JOSEPH          BLEDSOE                  NC           90011641632
66146358555975   JUAN            VALDEZ                   CA           90012333585
66146744361936   CINDY           ESPINDOLA                CA           90013037443
66147754855977   DYLAN           NEWBILL                  CA           90009957548
66159436991522   JOHN            RONQUILLO                TX           90010984369
66166241681644   AIKIELA         WILSON                   MO           90013652416
66167148781675   JASON           KEIGHTLEY                MO           29057641487
66176343271964   JUDITH          DAHLBERG                 CO           90013233432
66178732991998   EDWIN           MELENDEZ                 NC           90004147329
66183246155975   ROSALVA         VILLAGOMEZ               CA           90014912461
66191176171964   DERECK          SAUNDERS                 CO           90001151761
66195152491522   NAOMI           BARRAZA                  TX           90010801524
66219395151354   COURTNEY        MOORE                    OH           90014513951
66221629955975   AURORA          COVARRUBIAS              CA           90012976299
66223776255977   JOHN            SAMPLES                  CA           90011337762
66226234391998   CARLOS          HERNANDEZ                NC           90013832343
66239146891592   ERICK           MERCADO                  TX           90015181468
66241578891592   FERNANDO        CHAVEZ                   TX           90010875788
66242478691998   DOMIQUE         MCCULERS                 NC           90015114786
66244712791998   XIOMARA         FELICIANO                NC           90012747127
66246378855975   KRISTINA        PLUMLEE                  CA           90012813788
66246741155975   KRISTINA        PLUMLEE                  CA           90011207411
66251558655973   JAY             MATTIOLI                 CA           90012275586
66257238471964   GREGORY         LEVOS                    CO           32087232384
66257679191998   KATHLEEN        MCDONALD                 NC           90013636791
66261139861964   LIZ             PEREZ FIGUEROA           CA           46072761398
66267532471964   ROSA            VELASCO                  CO           90011865324
66268677455973   JUSTIN          WILSON                   CA           90012556774
66278995155975   JOEL            LARIOS                   CA           90001549951
66279354891522   PATRICIA        MACIAS                   TX           90013123548
66285611455975   MA ERNESTINA    ZAVALA DE MORENO         CA           90013586114
66291499593729   PAUL            MCDANIEL                 OH           90011254995
66313176691592   JOSHUA          MEANEY                   TX           90013961766
66313896791522   DAVID           MORALES                  TX           90011888967
66317446371964   SORAYA          VELEZ-CRUZ               CO           90013234463
66322944691592   BERTHA          LAVRADO                  TX           90010439446
66327671751354   NISHA           JOHNSON                  OH           90009546717
66329679191998   KATHLEEN        MCDONALD                 NC           90013636791
66334441455973   YUBI            CORTEZ                   CA           90013964414
66337293761936   CHRISTIAN       RAGGIO                   CA           90011962937
66346974771964   JOSE            IGNACIO                  CO           90009049747
66353814891998   WILLIAM         MCEACHIN                 NC           17061138148
66354622961936   IVETTE          SANCHEZ                  CA           46062246229
66358411355973   JOSHUA          VAUGHN                   CA           48008364113
66363629291522   ZURIZAMAR       CHAVEZ                   TX           90011766292
66365379561964   LINDA           SHAW                     CA           90003423795
66365569391562   MARK            ESCAJEDA                 TX           90013955693
66366845691592   SANDRA          PONCE                    TX           90015018456
66367268955975   TOMAS           GUTIEREZ                 CA           90011212689
66369449591562   NICKOLAS        QUINONEZ                 TX           90013934495
66378677891522   GERARDO         MARTINEZ                 TX           90014696778
66382629891592   ELIZABETH       SANCHEZ                  TX           90010406298
66395233155977   AIOTEST1        DONOTTOUCH               CA           90015122331
66398292851354   LORIA           CLARK                    OH           90014712928
66412482991562   RICHARD         HART                     TX           90013934829
66417491491562   JANETH          VENEGAS                  TX           90013934914
66423825384392   WILLIAM         TOPPING II               SC           90005148253
66431256791592   SERGIO          MORA                     TX           75042362567
66431473291522   CRISTIAN        TOVAR                    TX           75012824732
66446872691592   MICHAEL         RAMIREZ                  TX           90011088726
66448318491562   GLORIA          BARRAZA                  TX           75097183184
66452178891998   ASHLEY          HART                     NC           90013411788
66453291451354   JUAN            ORTIZ                    OH           90009582914
66453881691998   LORENA          NOYOLA                   NC           90014738816
66458324661964   JULIETA         GOMEZ                    CA           90010423246
66462381591562   LORENA          HERNANDEZ                TX           90004493815
66467813293729   TENISE          ROSE                     OH           90007998132
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66472546881644   CRYSTAL         CHAPPLE                  MO           90013575468
66478637855973   JORGE           MORA                     CA           90005156378
66483177791998   MICHAEL         LEACH                    NC           90011681777
66487188581644   ARIEL           RANEY                    MO           90011251885
66491277891592   SANDRA          TREJO                    TX           90011962778
66492228791592   JORGE           PEREZ                    TX           90012122287
66492758181644   TERRY           RILEY                    MO           90008657581
66498269561964   CHRISTIAN       HERRERA                  CA           46039092695
66511794855973   JEROME          MEDLEY                   CA           48016197948
66513293991998   OHINI           SODJI                    NC           90013412939
66513616993729   COURTNEY        ANSLEY                   OH           90013086169
66526393391592   ALEJANDRA       PULE                     TX           90014353933
66531282361936   DEALFRED        PERKINS                  CA           90012612823
66535769471964   JESSIE          JONES                    CO           90002297694
66538291581644   LEAEISA         GOODWIN                  MO           90011252915
66538778591562   JUAN            CAMPOS                   TX           90013257785
66548347471964   STEVEN          PADDACK                  CO           90013333474
66548655361936   ANGELICA        HERNANDEZ                CA           90011046553
66553514961964   PABLO           RIOS-GRACIANO            CA           90011085149
66554582655977   SANTOS          JARAMILLO                CA           90012755826
66555545755973   TIMOTHY         TAYLOR                   CA           90014835457
66556476871964   AUTUMN          BIGBACK                  CO           90013474768
66558265555977   PETE            TUMOLINE                 CA           90011312655
66559267861936   MARK            VILLAVICENCIO            CA           46044522678
66565722755977   INES            PORRAS                   CA           90002307227
66565884681644   UBIER           SOTO                     MO           90013988846
66567487291552   CESAR           ARMENDARIZ               TX           75007154872
66572548755975   ANTHONY         BRAVO                    CA           90012405487
66573571855975   PATRICIA        MANZO                    CA           90012405718
66575618181631   HEIDI           LECK                     MO           29016516181
66575778551354   OLGA            GUERRERO                 OH           66069777785
66581152155973   NATALIE         MENDIVIL                 CA           90012071521
66585942691522   ROBERTO         RODRIGUEZ                TX           90011769426
66589248991998   OBINNA          FRANK                    NC           90005832489
66589642955973   JENNY           RAMIREZ                  CA           90010956429
66589788371964   JONATHAN        SANTANA                  CO           90007557883
66591655993729   TIA             LORITTS                  OH           90014876559
66592794971964   ANA             GARCIA                   CO           90008797949
66593319191998   SHANAN          COX                      NC           90011693191
66596657955973   YESENIA         YBARRA                   CA           48006956579
66598725655977   ESTELLA         ZAVALA F                 CA           90011437256
66598727991863   LYNDELL         POWELL                   OK           90010407279
66614889433656   LORI            JOHNSON                  NC           90013858894
66617616555975   OMAR            ESTRELLA                 CA           90012406165
66631457691592   ANAHI           CARMONA                  TX           90007384576
66632478893729   GABRIELA        MIRAND                   OH           90012934788
66634469361936   TRAVIS          LONG                     CA           90012654693
66634537871964   PABLO           AYALA                    CO           90010385378
66635773655973   JAMES           GUERRERO                 CA           90004607736
66642249691998   HEATHERY        DUNN                     NC           90013122496
66652599961936   HEATHER         DURAN                    CA           90011035999
66654975381631   ALEXANDRIA      VARGAS                   MO           29047229753
66656377671964   HOWARD          SMITH                    CO           90011133776
66659352855975   TONY            RODRIGUEZ                CA           90013813528
66663393391592   CRYSTAL MARIE   GOMEZ                    TX           90014043933
66666431891562   NICOLE          ARMENDARIZ               TX           90012434318
66668922591998   WENDY           ALEMAN                   NC           17064009225
66669376855977   JOE             GOMEZ                    CA           90011333768
66673424591522   NOE             RODRIGUEZ                TX           90011774245
66678175791998   JAVIER          ROBLERO                  NC           90008651757
66678457731422   DENISE          FLYNN                    MO           90004104577
66683156691998   ANGELA          IMENEZ                   NC           90013131566
66686342461936   ESTHER          PENA                     CA           90013183424
66687691151374   MICHELLE        R.SESTER                 OH           66027946911
66688695451354   ROBERT          GILREATH                 OH           90014756954
66694878861936   DAVID           RODRIGUEZ                CA           90005568788
66712396993729   NATHAN          CANNON                   OH           90013933969
66714774171964   MICHAEL         WADSWORTH                CO           90013047741
66716942861964   JORGE           SECUNDIN                 CA           90013629428
66719591791592   ERICA           JAQUEZ                   TX           90014675917
66722463281644   PETER           LINDSTROM                MO           90014884632
66746139557549   ANDREW          BRAINARD                 NM           90013031395
66756776891522   FERNANDO        HUITRON                  TX           90001727768
66757489691998   SHAWANDA        VALDIVA                  NC           90011714896
66759523371964   ATHENA          MEYERS                   CO           90013235233
66763724191522   ISRAEL          HARDEN                   TX           90014697241
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66772234661936   MARTHA          MACIAS                   CA           90012762346
66778272161964   ARMANDO         MORALES                  CA           90012452721
66782645293729   TYRONE          OODY                     OH           90013096452
66782685161936   ISOJXELA        AICLEAV                  CA           90015206851
66783639355977   SCOTT           CLARK                    CA           90013226393
66786663355975   ROBERT          URBANEK                  CA           90013076633
66791657891522   CRUZ            ACEVEDO                  TX           90011776578
66796642451354   CIAIRAH         MARSHALL                 OH           90011066424
66817718591522   IRMA            ESPINOZA                 TX           90015067185
66821448191562   AYDE            REYES                    TX           90012984481
66821479691522   MARIE           LOPEZ                    TX           90013214796
66822292651354   CHERISH         MARCUM                   OH           90010932926
66822697351354   CHERISH         MARCUM                   OH           90012586973
66837476261936   BLAS            VAQUEZ                   CA           90005174762
66851444881644   CHAUNTAE        HUGHES                   MO           29034554448
66857951791998   DIANA           CORBETT                  NC           90013159517
66859165161964   JULIO           LINARES                  CA           90011201651
66862654391562   LUIS            MONTERO                  TX           90013936543
66864666155975   JAMES           MATHEWS                  CA           48065076661
66867162391592   MARIA           HERRERA                  TX           90012761623
66867912261936   FRANKIE         KELCHNER                 CA           90011649122
66869658291562   LINDA           AGUIRRE                  TX           90013936582
66872459891592   VICTOR          ALMAGUER                 TX           90012754598
66873594971964   ADELICIA        KARAFFA                  CO           32086195949
66873787191562   LISA MARIE      BROWN                    TX           90013937871
66879458191592   RODOLFO         MUNIZ                    TX           90012454581
66881179191522   ELISEO          VELARDE                  TX           90012781791
66881353661964   ROSA            DURAN                    CA           90015143536
66897329891592   TIMOTHY         MALONE                   TX           90013603298
66914414393729   CHRISTY         SMITH                    OH           90013934143
66916166791998   SHIRLEY ANN     LUZZIE                   NC           90006481667
66918178791998   RASHONDIA       YOUNG                    NC           90013421787
66918254591592   SALVADOR        VELASCO                  TX           90010392545
66923153193729   DESTINY         HUFFMAN                  OH           90014231531
66923863391525   CHRISTIAN       CARRASCO                 TX           90009738633
66927462761964   ROSLEEN         LEON                     CA           90010744627
66942233381644   ISIDIO          GARCIA                   MO           90012242333
66944469693729   SHERYL          MANNING                  OH           64575964696
66944581293729   JANINE          THOMAS                   OH           90014615812
66947879391998   SIERRA          WILLIAMS                 NC           90013928793
66953529391592   BOBBY           PADILLA                  TX           90012615293
66954378791522   CARLOS          BALLI                    TX           90003123787
66959637355975   CONSTANZA       TOPETE                   CA           90013016373
66982288871964   MICHELLE        LAUDONE                  CO           90014602888
66991467255977   WILSON          ZUNIGA                   CA           49059924672
66997821355975   ALEXIS          ALEXANDER                CA           90013178213
66998161841271   STEPHANIE       WITTLER                  PA           90013731618
67116737391522   URIEL           OROZCO                   TX           75046177373
67117586351354   TRACY           MCFARLAND                OH           90011865863
67119288651354   KEISHLA         ABREU                    OH           90009242886
67119976785689   FREDDY          LORENZO                  NJ           90011919767
67129195684392   PRISCILLA       DUGGINS                  SC           90013621956
67133256261964   DANIEL          IBARRA                   CA           90013172562
67136559991522   LUZ             MARTINEZ                 TX           75069525599
67141832671921   JANELLE         MIELBECK                 CO           90013768326
67141853691522   JASON           PEREZ                    TX           90002918536
67153634861964   AIOTEST1        DONOTTOUCH               CA           90015116348
67154811555977   XOB             VANG                     CA           90010258115
67157693561964   JOHNNY          RIVERA                   CA           90013256935
67158834491522   JOSE            MARTINEZ                 TX           90011788344
67159817191522   JOSE            CRUZ                     TX           90011788171
67164117561964   LETICIA         REYES                    CA           90013641175
67165435991562   VILLANUEVA      RAMIREZ                  TX           90014654359
67168346661964   NOEMI           CHAVEZ                   CA           90009973466
67169945691998   FELECIA         HARRIS                   NC           17050869456
67171311891562   ZENAIDA         PEREZ                    TX           90010723118
67173526361936   ADAN            GONZALEZ PENA            CA           90012695263
67175529385689   TAMIKA          STOKES                   NJ           90010965293
67182267991562   GLORIA          MENDEZ                   TX           90014772679
67183932971964   JOHN            DAVID                    CO           90011969329
67184523391562   JULIO           LOPEZ                    TX           75040495233
67189885751352   KRYSTAL         LEWIS                    OH           90010838857
67191114691562   BRIAN           PETERMAN                 TX           90011431146
67194374371921   STEVEN          SETOLA                   CO           32050893743
67195577655977   KALEB           WITHERSPOON              CA           90009915776
67195745281675   ALEXISIS        SLATES                   MO           90010937452
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67212874191522   SAUL               JAGUAR                NM           90011788741
67213741991527   LISA               SANCHEZ               TX           75099237419
67214923591998   SYLVIA             PERSON                NC           90010579235
67228191571921   JOSHUA ALLEN       TERRELL               CO           90011341915
67228771591998   ERIIC              WIINSTEAD             NC           90008327715
67232358655973   FAYETH             LIPPS                 CA           48069643586
67232933761954   RICHARD            BENEDICT              CA           90011719337
67233757455973   MARCOS             LEYBA                 CA           90007027574
67237479591562   JAVIER             MARRUFO               TX           75031754795
67238213291522   DENISEE            VALTIERRA             TX           90004422132
67243138591943   NATASHA            WALKER                NC           90011041385
67244979351354   WILBUR             HAMILTON              OH           90011179793
67249986681675   COEN               CARR                  MO           90010889866
67253935691522   MARISELA           DELGADO               TX           90011789356
67258263281644   VICKIE             ANDERSON              MO           90012552632
67259696191522   MARIA DEL CARMEN   FIERRO                TX           90014706961
67261696191522   MARIA DEL CARMEN   FIERRO                TX           90014706961
67263299991562   GERARDO            ACOSTA                TX           90010912999
67271525291562   PERRY              JACQUELIN             TX           90008575252
67277371691998   JAZMIN RENEA       CLEVERSON             NC           90014903716
67289811255973   ALONSO             GONZALEZ              CA           48081968112
67292734591522   MIRIAM             GARCIA                TX           90014707345
67296986161964   ANTHONY            ALVE                  CA           90013049861
67313178161936   JESSICA            LUGO                  CA           90014741781
67316528226758   PAUL D             PRECOPIA              PA           90013035282
67321127355973   MARIA              MADRIGAL              CA           90013211273
67323752655973   EEBOON             SAESEE                CA           90012877526
67324276163646   DAVID              MCCANN                MO           90006512761
67331968591562   VALERIA            DAVILA                TX           90007349685
67336451984392   WHITNEY            WHITE                 SC           90013044519
67341399691998   JASMINE            ALFORD                NC           90013053996
67354772181675   VINCENT            DISTEFANO             MO           90014297721
67355451551354   DEVONTE            CANNON                OH           90012514515
67365978991998   DONTE              ANDERSON              NC           90013149789
67368215461936   KEYANN             MARTINEZ              CA           90009652154
67368666991998   MOHAMMAD           ISLAM                 NC           90012176669
67369978184392   ERNEST             SPEIGHTS              SC           90010209781
67373171361936   GABRIE             PEREZ GONZALES        CA           90000721713
67373622351354   CAROL              WEST                  OH           90013926223
67374582561964   VICKY              TOSCANO               CA           90013965825
67375657955973   YESENIA            YBARRA                CA           48006956579
67375717761964   JULIA              MELENDEZ              CA           90014127177
67385531491522   PATRICIA           ESCOBEDO              TX           75052495314
67389915891998   ASHIYA             FOWER                 NC           90013819158
67394712581644   SHANNAH            TAYLOR                MO           90007547125
67415172985689   SARAI              ROSARIO               NJ           85011211729
67417634171921   AUTUMN             MARQUES               CO           90008326341
67417874193726   MISSY              DANIEL                OH           90012218741
67426421984392   CARLOS             JUNIOR                SC           90010624219
67432319371964   ERIC               BAILEY                CO           90008853193
67434211781675   KINESHA            COLE                  MO           90013812117
67445327481675   AMBER              PRITCHETT             MO           90005403274
67449988385689   ELIZABETH          RODRIGUEZ             NJ           90013019883
67463652355977   VINCENT            APODACA               CA           49085546523
67469528585689   LEWIS              DUTTON                NJ           90013035285
67472635861936   BAGO               RAMIREZ               CA           90015176358
67476762171964   DAVID AND ANNA     DUMPSON               CO           90011877621
67478841581675   AMBER              CALTON                MO           90013678415
67481347661964   JORGE              MORALES               CA           90013643476
67481367591522   CASANDRA JAZMIN    GARCIA JUAREZ         TX           90011793675
67482991381675   LARRY              BASSETT               KS           90014509913
67485394584392   DELESNIE           THROPOLIS             SC           90011203945
67485713355977   LYDIA              MENDOZA               CA           90012607133
67488374491522   MANUEL             CASTILLO              TX           90011793744
67489253184392   MICHELLE           BRUNSON               SC           90014162531
67491338491562   JUAN               IBARRA                TX           90012683384
67493369281644   CHANELLE           HOWARD                MO           90014953692
67512551471921   MATT               POST                  CO           90008045514
67525656191998   DELMY              ALVARADO              NC           90010606561
67527137571921   JOHN               EDWARD                CO           90012741375
67527491691998   KUJAYJI            KABBA                 NC           90011944916
67537558551388   KENYA              DAVIS                 OH           90008095585
67537594284392   WILLIAM            THOMPSON              SC           90014305942
67539435591522   CLAUDIA            ANGUIANO              TX           90011204355
67539855355973   AMY                KUNZE                 CA           90014158553
67553625251354   KELLY              WILSON                OH           90013046252
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67558738751354   MATT            RONE                     OH           90000767387
67558969991522   SELENE          NELSON                   TX           90014709699
67566579371964   ISAIAS          ACOSTA                   CO           32013925793
67576298691998   JESUS           PEREZ                    NC           90011452986
67583624684392   LATOYA          FERONE                   SC           90009016246
67584663581644   TREMAYNE        UMBLES                   MO           90011806635
67592112161964   TIM             BURTON                   CA           46003671121
67594247771921   ROSE            ROSE                     CO           90012142477
67594965191522   GUADALUPE       ONTIVEROS                TX           90014709651
67598561181675   ANGELA          HOWARD                   MO           29044305611
67611333951354   KEN             DAUGHERTY                OH           90014283339
67613157761964   FERNANDEZ       CHAVEZ                   CA           90009951577
67616987855973   DOLORES         MALDONADO                CA           90004139878
67617468271921   ABENI           CLAYBROOKS               CO           90001334682
67626433661936   MARLENE         NUNEZ                    CA           90006214336
67628699361964   DERRIK          HARRELL                  CA           90013256993
67631189281644   TERRY           DRONE                    MO           90008431892
67633391884392   VICTORIA        SANDERS                  SC           90013073918
67634839661936   JUAN            PEREZ                    CA           46008458396
67644143861936   SOCORRO         VAZQUEZ                  CA           90013131438
67645322384392   JASMINE         MANIGAULT                SC           90013553223
67649244891522   SANDRA          AGUIRRE                  TX           75046032448
67651759377538   ERIKA           CONNER                   NV           90013937593
67652236884392   DANGNE          CRUZ                     SC           90008182368
67653197481644   SERGIO          GONZALEZ                 MO           90010271974
67661244561964   ANTHONY         ALLISON                  CA           90013922445
67673819221692   PEGGY           BLACKMAN                 OH           90014708192
67677329591562   BRENDA          NIETO                    TX           90012483295
67677433991522   RACHEL          CONTRERAS                TX           90011924339
67681178161936   JESSICA         LUGO                     CA           90014741781
67692125371964   YVONNE          VIGIL                    CO           90011951253
67692342461964   NICOLASA        RIVERA                   CA           90013283424
67694436361964   MATHEW          WINSLOW                  CA           90010784363
67694978861964   PATRICIA        VALENZUELA               CA           90012749788
67698313581675   JARRAE          WELLS                    MO           90013353135
67712798491562   LORENA          REYES                    TX           75098027984
67714222981675   ERIC            POTTS                    MO           90013432229
67716984261964   GABRIELA        MORALES                  CA           90013839842
67717118685689   JUAN            CARLOS                   NJ           90007871186
67722462391562   PETE            SANCHEZ                  TX           90004354623
67724634561964   AIOTEST1        DONOTTOUCH               CA           90015116345
67732635861936   BAGO            RAMIREZ                  CA           90015176358
67745516171921   ELICK           CORTEZ                   CO           90013665161
67748351784392   ANGELINA        HUGGINS                  SC           90014153517
67762793961936   BETHANY         BEACHAM                  CA           90009857939
67771483355977   JONATHAN        NAJERA                   CA           90010864833
67777631855977   HELEN           JACKSON                  CA           90010976318
67786111491998   ROSELY          BETANCOURT               NC           90013271114
67787262961964   MARTHA          MARTINEZ                 CA           90013532629
67788368881675   LUCIANO         GARCIA                   MO           90009433688
67789435591562   CLAUDIA         ANGUIANO                 TX           90011204355
67791497955973   THOMAS          DENNIS                   CA           90013244979
67791831391522   MICHAEL         FRAUSTO                  TX           90009398313
67795977891522   ELIZANDRO       VENTURA                  TX           90014719778
67824987191522   ROBERT          AVALOS                   TX           90013159871
67825521985689   ASPEN           JONES                    NJ           90011855219
67826332681644   RICHARD         ROBERSON                 MO           90014403326
67826657972439   DEANNA          BUNDY                    PA           90012336579
67828211361936   VICTOR          MORALES                  CA           90010192113
67828876331948   ANA             VILLACORTA               IA           90011168763
67829639155973   JOHN            FOWLKES                  CA           90013676391
67831131785689   JAVIER          FELICANO                 NJ           90012341317
67832266971964   KAILYN          MURPHY                   CO           90005342669
67833179241291   JEFFERY         HODDER                   PA           90008421792
67835798955973   INEZ            VILLALBA                 CA           90012447989
67837444684392   WILLETTE        HAMILTON                 SC           90014624446
67849379885689   LIZMARIE        GARCIA                   NJ           90010923798
67852998551354   KAYLA           JOHNSON                  OH           90010639985
67853734255973   BRENDA          ROJAS                    CA           90013877342
67861985855973   AMANDA          FOLLOWILL                CA           90014319858
67862381871921   MARIA           NEGRETE                  CO           90011463818
67876343581644   SELENE          REY                      MO           90013853435
67879667551354   LISA            WRIGHT                   OH           90011136675
67884852485689   FREDDY          LOPEZ                    NJ           90010838524
67889358691998   CLAY            FAULKNER                 NC           90013643586
67889884585689   SAMUEL          ALVARAZ                  NJ           90010838845
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67893977561936   SASHA           MILITSHA                 CA           90014139775
67896183161964   CYNTHIA         CAMACHO                  CA           90006801831
67912333291998   ASHANTI         THOMAS                   NC           90015013332
67914791381644   ROCKY           BRADLEY                  MO           90013617913
67939888355973   VICTOR          OSORIO                   CA           90014848883
67948184426758   JAMAL           MARKS                    PA           90013101844
67949886255973   JESSICA         KEARNEY                  CA           90007528862
67954445691562   MICHAEL         FEAMSTER                 TX           90014654456
67954684391562   JESUS           JAQUEZ                   TX           90012136843
67957251171964   LORI            GERDIS                   CO           32087672511
67962753761936   SANDRA          AMARO                    CA           90014077537
67965147191522   YVONNE          MOJICA                   TX           90013861471
67966573691562   JUAN            LEYVA                    TX           90012175736
67973851991522   SORIA           MARIA                    TX           90009618519
67975119271964   FABIAN          BACA RAMOS               CO           32069211192
67976547551354   YEHIRI          YANEZ                    OH           66034755475
67983186591998   ANDREY          SUDIRO                   NC           90012071865
67995449651331   MATHEW          BATES                    OH           90013324496
68112792161964   SALVADOR        SANTIAGO                 CA           90010407921
68112895555975   JOSE            FARIAS                   CA           90014458955
68114867571964   COLE            JOHNSON                  CO           90014688675
68117337771964   NALLELY         OROS                     CO           90004503377
68121178261936   EMMANUEL        KINGSAM                  CA           90009641782
68121528271964   DEANDRE         SULLIVAN                 CO           90010215282
68122771561964   JOSE RAMIRO     CASTRO GARCIA            CA           90011127715
68122895555975   JOSE            FARIAS                   CA           90014458955
68123461671964   KAZI SUMS       ZUBAIR                   CO           90013174616
68123464891562   MARIA           HERNANDES                TX           90000604648
68128955491562   AURORA          MEDINA                   TX           75054279554
68142651361964   JAZMIN          GARCIA                   CA           90014456513
68157451371964   KEYRO           SALAZAR                  CO           90013034513
68159528271964   DEANDRE         SULLIVAN                 CO           90010215282
68161989455975   ISAIAH          MARTINEZ                 CA           90011099894
68162388181644   LISA            BOGGS                    MO           90013643881
68163936991522   MICHAEL         COLON                    TX           90011139369
68171342991562   ELIZABETH       AGUIRRE                  TX           90004933429
68174542261964   MARIA           TORRES                   CA           46081985422
68178528271964   DEANDRE         SULLIVAN                 CO           90010215282
68181138471921   VANESSA         LOPEZ                    CO           90011931384
68182289261984   SEAN            SALINAS                  CA           90013072892
68192776886435   AZHAN           GAMBRELL                 SC           90014147768
68213726471921   CECEE           GUTIERREZ                CO           90011917264
68216572561964   EMILIA          RODRIGUEZ                CA           90015135725
68217633455975   JESUS           VILLAGOMEZ               CA           90014796334
68229271755973   DANIEL          HERNANDEZ                CA           90012672717
68233678381644   MORRIS          DAVIS                    MO           90008076783
68247668155973   KHAM            KHAMSOUK                 CA           90014816681
68247694571964   DEREK           JONES                    CO           90011876945
68253876171921   JAMES           HARRELSON                CO           90013478761
68259357881644   MARKEES         JACKSON                  MO           90008993578
68271788961936   TINA            DARROW                   CA           46088217889
68274817171964   MICHAEL         CLARK                    CO           90011008171
68284169555973   MANUAL          ALCARAZ                  CA           90013181695
68288179181474   TREVOR          FRENCH                   PA           90014121791
68293433555975   FRANCISCO       MENDEZ                   CA           90013034335
68294853271964   BARBARA         HENDERSHOT               CO           90013098532
68296257691562   SANDRA          VERDIER                  TX           90009272576
68312919871964   JOHNNY          RALSTON                  CO           32015939198
68313732255975   DOLORES         CORTEZ DE VEGA           CA           90014927322
68313955941258   RAM             HARI                     PA           90010269559
68327219155975   JOSE            VALDAVINO                CA           90011532191
68332891281644   RACHEL          SMITH                    MO           90013518912
68339666155975   JAMES           MATHEWS                  CA           48065076661
68342672557538   TOMAS           CLARK                    NM           90005136725
68348617955973   MARISSA         VALDEZ                   CA           48088736179
68361517355975   ALICIA          GUILLEN                  CA           90014485173
68369519957124   EDWIN           TEJADA                   VA           81015985199
68372885891562   TRACY           STANWICK                 TX           90014208858
68376738857538   MAESTAS         ELIZABETH                NM           90004597388
68378869381644   ARNULFO         GOMEZ                    MO           90003858693
68379837955975   NOEMI           ORTIZ                    CA           90014938379
68386353751354   JAMES           KING                     OH           90014153537
68395727855973   JUAN            GARCIA                   CA           90010457278
68396693571921   ELIZABETH       PERKINS                  CO           90011056935
68399652681644   ASHLEY          BYRED                    MO           90015096526
68413561591562   LORENZO         ARROYO                   TX           75008845615
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68417711471964   MARK            BELL                     CO           90013077114
68424688661936   SHANDA          WILSON                   CA           90013466886
68462533184392   NEYOKO          WHITAKER                 SC           90007975331
68465855771964   GARY            LUCERO                   CO           90013078557
68475698438522   SARA            BARNEY                   UT           90011356984
68475744351354   LAURA           WILLIAMS                 OH           90013627443
68479489981644   CHRISTINA       APPLEGATE                MO           90012644899
68479686161964   SEAN            GORDON                   CA           46030836861
68485937881644   KATELUND        HOUGAS                   MO           29038149378
68518313471921   JESSICA         RAMSEY                   CO           90007843134
68523613991522   JULIAN          VELAQUEZ                 TX           90004256139
68525435255973   ANTHONY         VARGAS                   CA           90012604352
68527724855977   EMELIA          DIEGO                    CA           90004157248
68549341771921   LAHOMA          MOSELEY                  CO           32074673417
68554229155993   CECILIA         LARES                    CA           48010992291
68556758771964   ESTEVAN         CANO                     CO           90014097587
68566539433656   CORY            BYRD                     NC           90013975394
68568458391562   MARIA           GUTIERREZ                TX           90010064583
68571486747825   DAAIYAH         SALEEM                   GA           90012454867
68574374661936   CHRISTOPHER     VALMA                    CA           90006513746
68579647981644   KAREN           BLONG                    MO           90012116479
68585688877568   MICAELA         ZEPEDA                   NV           90012606888
68591839671964   JOSEPH          ABSHIRE                  CO           90013088396
68593421871964   MELISSA         ARMSTEAD                 CO           90009594218
68594524891562   ALMA            HERNANDEZ                TX           75082125248
68595817691527   MELISSA         VELASQUEZ                TX           90009338176
68598458691562   DOMINIQUE       MONTEROS                 TX           90014094586
68615369255973   DAVID           SPIER                    CA           90010313692
68626853271964   BARBARA         HENDERSHOT               CO           90013098532
68638894861964   RON             SMITH                    CA           46074778948
68677653491834   TRISTA          GOULD                    OK           90009896534
68678653381644   DANIEL          LAKE                     MO           90012906533
68711831751354   LISA            PADGET                   OH           90011408317
68719611681644   NICOLE          DONATO                   MO           90014136116
68725192861964   VANCE           HIVORAL                  CA           90012321928
68733695455973   MAIRA           MENDOZA                  CA           90012936954
68734544571921   CRISTIANA       LYNN                     CO           90012305445
68737453655973   LUIS            GARCIA                   CA           90013304536
68738477871921   ELVIS           BOSNIC                   CO           90012874778
68746966691998   CARRIE          SHACKLEFORD              NC           90010609666
68762612171921   JAMES           CARPENTER                CO           32063796121
68762658361964   JASON           YOCHUM                   CA           90014126583
68763146171964   CEASER          PEREZ                    CO           90008291461
68763639471964   GEREMIAS        HERNANDEZ                CO           90012346394
68765867557538   EDDIE           TORREZ                   NM           90012368675
68772971871964   REBECCA         RAY                      CO           90014309718
68777363651354   BRITNEY         HOBBS                    OH           90011163636
68781165171921   DAVID           ABEYTA                   CO           90000241651
68783489491998   BRIDGETTE       WILSON                   NC           90004974894
68816976422925   THOMAS          MATHIS                   GA           90014019764
68819486671964   SELMA           HALLS                    CO           90013104866
68824454671964   LACIANA         HARDING                  CO           90007404546
68831536655975   JOSE            CARDENAS                 CA           90010475366
68834987871964   SONIA           ORTEGA                   CO           90014909878
68837653971964   STEVEN          CAUDILL                  CO           90011196539
68843671171921   JOHN            ARAGON                   CO           32043356711
68844365771964   CRYSTAL         TETIK                    CO           90002153657
68853621581644   JUSTIN          MILLER                   MO           90014926215
68858775391562   DANIEL          LUNA                     TX           75096037753
68864168351354   AYDIN           ELIEYIOGLU               OH           90010761683
68873859471921   RANDALL         KUBIN                    CO           90009548594
68882219351354   STACY           TURNER                   OH           90012042193
68892188191522   JORGE           HERNANDEZ                TX           75000691881
68895991371921   WINFREDO        SILVA                    CO           90013369913
68929417181675   KEVIN           VAUGHN                   MO           90010214171
68931529591522   AMY             TORRES                   TX           90002805295
68933492957595   TOBY            ALLISON                  NM           90014594929
68939422461964   GAILE           TURNER                   CA           90007794224
68962311291572   JOSE            LEOS                     TX           90001273112
68965719255973   MICHAEL         LIMA                     CA           90009547192
68969863691562   SERVANDO        GANDAL                   TX           90011168636
68972332171964   J               BROWN                    CO           90010293321
68976891271964   MARIA           RODRIQUEZ                CO           90005138912
68981968684392   KIP             CARLSON                  SC           90007989686
68983822191562   CARLOS          GAYTAN                   TX           90011108221
68991821455973   SUE             STRICKLAND               CA           90014888214
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68994728951354   JAMES              PRYOR                 OH           90013227289
69114948492824   NATALIA            RESENDES              AZ           90014269484
69137484291525   MARTHA             CASTRO                TX           75043224842
69139498991522   YVETTE             TORRES                TX           90011644989
69152418255966   MICHAEL            MUNIZ                 CA           90010484182
69167118755975   JESUS              GONZALEZ              CA           90015181187
69167379591592   MARISELA           VARGAS                TX           90008103795
69173288961964   YOLANDA            CONTRERAS             CA           90015082889
69174176991522   RIOS               OSCAR                 TX           90003151769
69176611681675   NOLAND ROAD 2903   PHONE BAR             MO           90010026116
69187819961964   ALEJANDRO          CHAVEZ                CA           90007298199
69195818855975   MARGARITA          SANCHEZ               CA           90013088188
69199861855975   BRIANA             COCHRAN               CA           90014038618
69212716771921   AMANDA             JACKSON               CO           90005187167
69221987591572   MANUEL             RAMIREZ               TX           90007779875
69222227657131   FAUSTINA           BLANCO                VA           90003322276
69223452555943   MARIO              VEJAR                 CA           90011534525
69248992561964   TAI                QUACH                 CA           90010829925
69252444381675   GEOFFORY           HALE                  MO           90008674443
69253841991522   CLAUDIA            CAZARES               TX           90011838419
69254526271921   JESSE              RANALS                CO           90014695262
69254629561964   AIOTEST1           DONOTTOUCH            CA           90015116295
69257675191592   MARIA              GARCIA                TX           90014966751
69282412455975   ANDREY             AGUIRRE               CA           90014254124
69289847961964   AIOTEST1           DONOTTOUCH            CA           90015128479
69293834155975   YESINA             RAMOS                 CA           90013078341
69299383855977   SERINA             HERNANDEZ             CA           90012013838
69299723471921   FRANK              WILLIAMS              CO           90014257234
69299914771921   FRANK              WILLIAMS              CO           90013619147
69339238691592   MARGARITA          MARTINEZ              TX           90012372386
69349848561964   AIOTEST1           DONOTTOUCH            CA           90015128485
69363694391522   LUZ                OLAVE                 TX           90001226943
69372581861937   JACOB              APPELL                CA           90012905818
69375131491562   ALMA               RODRIGUEZ             TX           75005781314
69382241261964   CARLOS             COTA                  CA           90014772412
69383632791894   SYLVIA             SCOTT                 OK           21038616327
69384648691522   BRYAN              SAENZ                 TX           75040736486
69388915897121   ANIKA              ROMERO                OR           90011859158
69395446131454   JENNIFER           COLEMAN               MO           27506464461
69399625371921   KEVIN              ARVIZU                CO           90014176253
69417337391592   JESUS              BORREGO               TX           90009443373
69418229961964   ESLIE              BUGARIN               CA           90012162299
69421449761964   JEAN               SMALL                 CA           90014844497
69425159555975   JASMINE            AYON                  CA           90011651595
69435696155975   ARLENE             ALVAREZ               CA           90014966961
69436254293787   BRITTANI           ELLARS                OH           90012792542
69436756591894   AMY                DARNELL               OK           21077667565
69437836191562   LUIS ARMANDO       CADENA                TX           90012408361
69457314263634   PHILLIP            FAIRBRIDGE            MO           90014733142
69459292191522   ENRIQUE            MARTINEZ              NM           75026232921
69461831491562   GUADALUPE          RUELAS                TX           90010938314
69462756561964   CARLOS             VELASCO               CA           90006227565
69471167391522   SANDY              RODRIGUEZ             TX           90011841673
69498465891592   DAVID              MADRID                TX           90010784658
69545934251354   RENEE              MASON                 OH           90008519342
69546268691522   DIEGO              GAMEZ                 TX           90011842686
69553938591562   MARTHA             VONILLA               TX           75015899385
69569214981675   BRIANNA            TOLSTON               KS           90001962149
69569424591562   PERLA              ENRIQUEZ              TX           90009474245
69576294891522   ANDREW             FULLER                TX           90005302948
69579492555948   CLAUDIA            SAGRERO               CA           90008634925
69588363161964   LATIONA D          SIMPSON-JAMES         CA           90010803631
69595999757134   MARISSA            HERNANDEZ             VA           90014859997
69599678455975   TERESA             LOPEZ                 CA           90013176784
69618551855975   JOSEFINA           MUSQUIZ               CA           90011725518
69631727291592   ESTRADA            WENDY                 TX           90013987272
69633629561964   AIOTEST1           DONOTTOUCH            CA           90015116295
69638859991562   ISAAC              CEDILLO               TX           90013628599
69641931691562   RICARDO            BECERRA               TX           90012279316
69654629961964   AIOTEST1           DONOTTOUCH            CA           90015116299
69656919833656   JOSE               VALLEJO               NC           90014159198
69662127285944   PHIL               BLACK                 KY           90009531272
69662888271921   DARCY              BARNES                CO           90010988882
69674992155975   ISMEAL             PEREZ                 CA           90011879921
69675422891592   MARY               HOSENDOVE             TX           90013984228
69682759377533   JUAN CARLOS        ALBA-VALENCIA         NV           90012897593
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69689927761964   NIKITA           HAWKINS                 CA           46075569277
69694475651555   VALERIE          MCPHEE                  IA           90015354756
69711771391562   ANTHONY          SIFUENTES               TX           75007777713
69712516755975   FELICIA          ARIAS                   CA           90007175167
69726688491522   GARCIA           MARIA                   TX           90002166884
69727556581675   CRUZ DE JESUS    MELENDEZ                MO           90002295565
69731919491592   MARIA            CASTRO                  TX           90006959194
69745288961964   YOLANDA          CONTRERAS               CA           90015082889
69766651755975   JULIA            RODRIGUEZ               CA           90012816517
69767735657123   HUGO             GOCHEZ                  VA           90006757356
69769349255975   MIGUEL           MEZA                    CA           90011783492
69769742155973   FELICIA          PINEDA                  CA           90001187421
69773562891562   MARIBEL          AGUILERA                TX           75052355628
69795123555975   JOSE             GARCIA                  CA           90008001235
69812228191562   SERGIO           TREVIZO                 TX           90010422281
69813319261936   RAFAEL           GARCIA                  CA           90010583192
69825476691527   ANDY             HERNANDEZ               TX           90008164766
69832153691562   RICARDO          CONTRERAS               TX           90013611536
69833348891562   JESSICA          ARMENDARIZ              TX           90002723488
69841888271921   DARCY            BARNES                  CO           90010988882
69866899791562   JAVIER           TOVAR                   NM           90013128997
69873187961964   BRENDA           JAIME                   CA           90008241879
69876228991592   ISMAEL           JIMENEZ                 TX           90012812289
69886629961964   AIOTEST1         DONOTTOUCH              CA           90015116299
69889439671921   KAYLUNA          QUILALES                CO           90008954396
69896753591552   GREGORY          WILLIAMS                TX           75096317535
69896776955975   TAHA             HUSSEIN                 CA           90014687769
69914866461964   CARLOS           AVILA                   CA           90010008664
69915617791562   DIEGO            JIMENEZ                 TX           90011306177
69934268955975   EVANGLINA        LUCIA                   CA           90011832689
69935143991562   MARIO            RIVERA                  TX           90014351439
69938414371921   RANDY            AKMENKALNS              CO           90013014143
69941276571921   JOHNNY           ARREOLA                 CO           90013052765
69949254455975   ESPERANZA        HERRERA                 CA           90006802544
69958187461964   JOHN             CLANCY                  CA           90013541874
69958848561964   AIOTEST1         DONOTTOUCH              CA           90015128485
69967198991527   ALMA             DOMINGUEZ               NM           90010691989
69981488961964   VALENTIN         CRUZ                    CA           90013724889
69982696655975   VERONICA         FABELA                  CA           90014736966
69996974561936   CHAVONNA         FRAZIER                 CA           90012869745
69998848191592   SANDRA           PEREZ                   TX           75021068481
71115172185937   KAYLA-ANN        PIROZZI                 KY           90014641721
71118325555931   RAENISHA         JEFFERSON               CA           90009673255
71118957641227   ORREIN           GODFREY                 PA           90011789576
71119441655939   PERSCILLA        CARRANZA                CA           90012624416
71119658981633   JEREMY           STILL                   MO           90013766589
71126683655966   BRIAN            ADNEY                   CA           90014006836
71126721233699   CHERRON          GILMORE                 NC           90010607212
71129127355969   JOSE RICKI       PASEA                   CA           48070971273
71131424255966   MARIA            VILLALVAZO              CA           90008484242
71132892271921   GARY             MCDANIELS               CO           90011408922
71137726357157   MILTON           FUENTES                 VA           81093537263
71142457185937   ERIC             MILLER                  KY           90002154571
71143448433657   SHERIKA NICOLE   HENRY                   NC           90006414484
71153828131433   LISA             LOWE                    MO           90010918281
71154386931433   FELICIA          BUFFINGTON              MO           90007623869
71155727872421   JETT             FULLER                  PA           90004547278
71156862791991   SHERRELLE        CASEY                   NC           90000838627
71159136881643   JENNIFER         KURTZ                   MO           90009401368
71163781955939   CORA             VERA                    CA           90011067819
71163944581643   ANGLA            BAILEY                  MO           90010549445
71167563155966   CARLOS           FERNADEZ LEAL           CA           90011565631
71175373993767   ASHLEY           DOCKERY                 OH           90010713739
71175418991993   AN'JANAE         LANIER                  NC           17048544189
71178493431433   K                DILLOW                  MO           90007814934
71184189891549   ANA              SANCHEZ                 TX           90012161898
71186468972441   MERLE            LOVE                    PA           90011994689
71186918884363   IAN              WALTS                   SC           90012209188
71196892641227   PAIVA            BARACUHY                PA           90010588926
71197232181643   NATASHA          HEDGES                  MO           29042082321
71198823361935   DEENA            MARIERAYNIESHA FORD     CA           90008108233
71211474451349   KEVIN            MCBRIDE                 OH           90012604744
71214196841253   ANGEL            POWELL                  PA           90003651968
71215429631433   JESSICA          SMITH                   MO           90014714296
71218598681633   JORGE            SALAZAR                 MO           90014105986
71221182971921   LARRY            WISMER                  CO           90011511829
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71222697431443   GARDELL         WAYNE                    MO           90003296974
71226886655939   ALUCIANA        VALDOVINOS               CA           90009988866
71227525981633   LISA            HEDGES                   MO           90011085259
71232135141253   ASIA            TYUS                     PA           90012731351
71232565984322   DONOVAN         ANDUAGA                  SC           90013795659
71233788933699   JENNIFER        KELLEY                   NC           90010287889
71234412933699   STEVEN          WELLS                    NC           90009714129
71236499155969   JOANNA          MARTINEZ                 CA           90013854991
71238529155966   MARIA           CAMPOS                   CA           48082345291
71239271531433   DAMIEN          ROSS                     MO           90002382715
71242538193739   LAKIESHA        GREEN                    OH           90009145381
71248971555939   NAIROVY         GUERRERO                 CA           48090059715
71254557433698   DARRIUS         MASSEY                   NC           90009745574
71255672141237   DERWIN          HARTON                   PA           90010906721
71259551581633   PAUL            RICHARDSON               MO           90002175515
71261194755969   HECTOR          SOTO                     CA           90013831947
71272546831443   ROBERDIA        IRVING                   MO           90011885468
71272892641227   PAIVA           BARACUHY                 PA           90010588926
71274594184322   TEARIKKA        PAYNE                    SC           90014075941
71279261661998   JERRYLEE        RAUCH                    CA           90012832616
71289242641253   KIRKE           BRINK                    PA           90013212426
71292253941237   SHEILA          TAYLOR                   PA           90001612539
71292729855966   JOEY            ALVES                    CA           90013887298
71295555431443   CARRIA          WINFREY                  MO           90012155554
71329367631433   ROCHELLE        CUMMINGS                 MO           90011303676
71333893693739   DENISE M        STRINGER                 OH           90010318936
71334318755939   CARLOS          REYES                    CA           90001903187
71338442731482   HARRY           WILLIAMS                 MO           27595844427
71347735457563   STEPAHNIE       MARTINEZ                 NM           90014187354
71352166471921   HONG            KIM                      CO           90008131664
71359691861997   JOHNNY          TRAYNOR                  CA           90007526918
71363643431433   EMANUEL         FREEMAN                  MO           90014446434
71365168755966   RYAN            NIX                      CA           90013391687
71371399672479   REBECCA         ROBERTS                  PA           90003393996
71372524757157   FLOR            QUINTANILLA              VA           90008285247
71373598757157   VICTOR          GUTIERREZ                DC           90012205987
71373966993739   MARY            MCCANDLESS               OH           90005329669
71381258855939   TED             ROBERTS                  CA           90011682588
71383559831433   JANISHA         JOHNSON                  MO           90013945598
71385256372479   VANESSA         JOHNSTON                 PA           90013922563
71389526151323   JOSEPH          BUTLER                   OH           90012425261
71393446193739   TONIE           PACKNET                  OH           90013874461
71412979457157   ANGELIGA        TORRES                   VA           90010179794
71414889572441   JOSHEPH         CHARLES                  PA           90014508895
71415595933699   DONYAL          BARKSDALE                NC           90011105959
71421423991991   ALLISON         MILLER                   NC           17024514239
71421562793739   MATHEW          PHILLIPS                 OH           90011305627
71422413455966   KRISSY          VELASQUEZ                CA           48063174134
71423371171921   ADAM            ROBERTSON                CO           90014523711
71425999393739   DAWNN           CAPORALE                 OH           90012969993
71433747457157   LUQMAN          ABDUL-SALAAM             VA           90000507474
71436944633698   SEQUOIA         PRESTON                  NC           90013839446
71437757257157   JOSE            CARBALLO                 VA           90011637572
71445258341227   MICHAEL         HOFFMAN                  PA           90006742583
71446564341237   GANICE          ALLEN                    PA           90012035643
71459835455966   FRANCISCO       GARCIA                   CA           90014038354
71461168755966   RYAN            NIX                      CA           90013391687
71466147755969   LYNZIE          MIRAMONTEZ               CA           90015141477
71471933472441   JUSTIN          SMITH                    PA           90012539334
71472719331482   KARLA           ANDERSON                 MO           27556607193
71474443455969   ANGEL           REDONDO                  CA           90012524434
71474557493739   GARRY           WATSON                   OH           90010325574
71475848733447   NICHOLAS        BOUTWELL                 AL           90014778487
71483578555969   MONIQUE         MENDOZA                  CA           90011085785
71486792772441   TERRENCE        ELLISON                  PA           90012497927
71488531972441   MATTHEW         JONES                    PA           51094275319
71488793833699   EDGAR           HERNANDEZ                NC           90000407938
71492771457157   ANA             GONZALEZ                 VA           81000777714
71494516171921   ELICK           CORTEZ                   CO           90013665161
71497243172441   GLEN            DAVIS                    PA           90014082431
71511317593739   DANIEL          FRADY                    OH           90014003175
71514296493739   MEGHAN          SHIVELY                  OH           90000232964
71516871531433   JERRY           PORTER                   MO           90012488715
71519669541253   ALLIE           WLIAMSON                 PA           90011926695
71532374161999   ALICIA          HERNANDEZ                CA           90011173741
71535716355966   DAMARY          JIMENEZ                  CA           90011287163
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71538372957157   CEOMARA         ARRERE                   VA           90013673729
71539461831443   ROBERT          MCKINLEY                 MO           90014714618
71544539155939   TERESITA        DE JESUS CALDERON        CA           48046195391
71544796431482   ALYCIA          MCGOWAN                  MO           90014057964
71547412684322   FRANCISCO       JIMENEZ                  SC           90013384126
71553757155966   JOSEPH          BLEZKOSKI                CA           90013427571
71553765855966   ARMANDO         VALENZUELA               CA           90011287658
71565287884322   SHANTELL        FIELDS                   SC           90012412878
71565517381643   JANINA          CHEFFEN                  MO           90010975173
71568415155966   ERICA           OLIVARES                 CA           90013324151
71578461831443   ROBERT          MCKINLEY                 MO           90014714618
71583953633698   KETERINA        ANDREWS                  NC           90009299536
71589848457157   LOUIS           ROLDAN                   VA           81087798484
71592529131433   LAKENYA         DANIELS                  MO           27506525291
71598945231482   KEN             LOCKETT                  MO           27508579452
71613384841237   MELISSA         PORTIS                   PA           90011033848
71617174933698   JORGE           ESTRADA                  NC           90010681749
71617966772421   JONATHAN        LYNN                     PA           90003379667
71638814755966   MARIA           PASILLAS                 CA           90011298147
71638975155969   MARISSA         LEWIS                    CA           90011099751
71642537481633   DAMEON          WATTREE                  MO           90013875374
71643146741227   STEPHANIE       BLAKEMORE                PA           90011481467
71643286131443   DOMNIQUE        WINSTON                  MO           90014692861
71649229155982   CECILIA         LARES                    CA           48010992291
71651198693739   FIDA            SEEH                     OH           90011161986
71655881255969   ANTHONY         RUIZ                     CA           90008558812
71663853455966   ANITA           GARCIA                   CA           90014588534
71668677755939   LUPE            NUNEZ                    CA           90010126777
71673911355966   LOERA           RAMON                    CA           48088179113
71676644455939   SHYENNE         BABB                     CA           90001906444
71682489871921   JERED           KEITH                    CO           90012934898
71685987155966   YAHAIRA         CANO                     CA           90012909871
71688428457157   STEFANIE        ALLEN                    VA           90014844284
71689584633698   KASIV           SALAM                    NC           90013505846
71693961831433   KELVIN          FORD                     MO           90010289618
71694142191993   STACY           FIEDLER                  NC           17078451421
71695869841227   MICHAEL         CERVONE                  PA           90011798698
71695889781633   WILLIAM         THOMPSON                 KS           90013168897
71714566257157   FELICIA         DAVIS                    VA           81000715662
71715529457157   DAVID           CRUZ                     VA           81035385294
71727396655966   CLARA           CASAS                    CA           90012763966
71728448672441   ADAM            GALLETTA                 PA           90012324486
71731988831433   LAKEISHA        DAY                      MO           90010939888
71733732361935   MIGUEL          THOMPSON                 CA           90006537323
71746131772441   CHRIS           ZEDAK                    PA           51038281317
71746523341237   KHIA            REED                     PA           51010755233
71746967772479   ROXANNE         CLEGG                    PA           90008699677
71748336971921   LACEY           LILLEY                   CO           90013303369
71752288733699   JONAH           GENT                     NC           90011422887
71756396655966   CLARA           CASAS                    CA           90012763966
71766671831482   STEPHANIE       ROBINSON                 MO           27508586718
71771357655977   RICHARD         AMARO                    CA           90013073576
71776968684322   CLAUDETTE       WRIGHT                   SC           90011979686
71782715584322   STEVEN          WOODS                    SC           90012997155
71789139631433   JENNIFER        DAVIS                    MO           90013951396
71791383961994   KATIE           RHOTON                   CA           46024703839
71791559233698   CALEB           RAMOS                    NC           90012845592
71798763433699   JASMINE         LOVE                     NC           90011367634
71817672631443   SARA            MALONE                   MO           90001926726
71822981261972   VERONICA        RAMOS                    CA           46060059812
71827343761984   ROQUE           ALFREDO                  CA           90008143437
71832198231443   BAPOLEON        NORWOOD                  MO           90010881982
71852618972479   SHALONDA        COTTON                   PA           90014756189
71856362572441   ERIN            BARDALL                  PA           90010493625
71858213241237   SHEILA          RANKIN                   PA           90014662132
71859666471955   BRIA            MORENO                   CO           90013226664
71877191951327   P               MURPHY                   OH           90004321919
71888562581633   LARRY           ALLNUTT                  MO           90010195625
71892391155939   DIANA           LOPEZ                    CA           90012373911
71895661671921   IVAN            RAMIREZ                  CO           90012446616
71896449655939   GUADALUPE       CRUZ BENICIO             CA           90012874496
71897113931443   JENNIFER        STARNS                   MO           90008601139
71913747331443   JONMALET        BENNETT                  MO           90010097473
71917951581643   KELVIN          TURNER                   MO           29070259515
71918468657157   OMAR            VILLEGAS                 VA           90012804686
71919841241227   MARTIN          NICHOLAS                 PA           90010608412
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71921428155966   JESUS           GALVAN                   CA           90012764281
71923356233699   ALEXCUS         BAILEY                   NC           90014653562
71923598572441   DESHAWNDE       WEST                     PA           90012435985
71942318772441   CRYSTAL         DELOUIS                  PA           90010143187
71947496541227   SUGAR           BROWN                    PA           90007614965
71949321531443   LETTIMA         FIGGERS                  MO           90010653215
71949784555969   ANA             CHACON                   CA           90007477845
71956357171921   TERRELL         TAYLOR                   CO           90009643571
71968569655966   PRISCILLA       LOPEZ                    CA           90014785696
71973786531443   YOLANDA         BUCHANAN                 MO           90004007865
71979689681255   JESSICA         BANTA                    KY           90006856896
71992511531433   WESLEY          WILLIAMS                 MO           90013955115
71993451755939   GERARDO         VASQUEZ                  CA           48077564517
71997436371921   STORM           TAYLOR                   CO           90009984363
72112682955966   GLORIA          MARTINEZ                 CA           90014166829
72128514641265   MELANIE         MOORE                    PA           90010195146
72139984755966   RAFAEL          PEREZ                    CA           90004579847
72144433557157   VENKATRAM       SUNKARA                  VA           90010324335
72145899893739   GARRY           CORBIN                   OH           90000418998
72148769155966   HUGO            FLORES                   CA           90014167691
72153857671921   MICHAEL         WASHINGTON               CO           90010248576
72155386786434   THELMA          JACKSON                  SC           90014733867
72157371755966   MARIA           CHAVEZ-BRAVO             CA           90013113717
72159237572479   NATHAN          ROSENSTEEL               PA           90011452375
72161727784322   MARK            WEAVER                   SC           14563687277
72165675555939   JESSICA         GARCIA                   CA           90010386755
72166772731433   TINA            HENDERSON                MO           90014677727
72173823831433   JESIKA          SOHNREY                  MO           90009468238
72173841355969   LAURA           CELA                     CA           90013548413
72173932457157   JULIO           GONZALES                 VA           81081069324
72182359755966   HAZEL           CORLEY                   CA           90011633597
72182877155966   BRICIA          LOPEZ                    CA           90014168771
72184794271921   EMMETT          LARSEN                   CO           90012027942
72198465657124   JAMIE           HANSON                   VA           90004084656
72214165855939   CHRISTINA       GALANG                   CA           48034161658
72217434672421   JOHN            DNEASTER                 PA           90011104346
72219582771921   SPENCE          MASSEY                   CO           90002465827
72223985366255   BRENDA          FITTS                    MS           90010989853
72225745731443   THOMAS          ANDERSON                 MO           90012027457
72229697557157   ROSEMARY        MONERROSO                VA           90008436975
72231938633698   JAKWA           TURNER                   NC           90014339386
72235389655939   JESUS           REYNOSO                  CA           90010663896
72237926455939   JUAN            MENDEZ                   CA           90013229264
72241398693739   GEOEGINA        LISO                     OH           90006493986
72243679457157   VNS             CONSTRUCTION             VA           90007196794
72244332372441   TAMMY           JOHNSON                  PA           90011193323
72247163355947   DAISY           MENDEZ                   CA           90001241633
72248585355939   ANA             DE LEON                  CA           90012605853
72251429672421   DENNIS          BACKUS                   PA           90012474296
72257611471921   ABRAHAM         BRITO                    CO           32091576114
72264172741237   JOANN           VANARD                   PA           90011861727
72264819381633   IVY             LEE                      MO           90014768193
72269477741237   ANDREA          JOHNSON                  PA           90009214777
72272415772441   WILLIAM         PALMIERI                 PA           90013164157
72276268381633   GARY            JONES                    MO           29004752683
72279769993739   AARON           ROSE                     OH           90014997699
72281385972479   TIFFANY         RIMSEK                   PA           90013373859
72293627761981   JUAN CARLOS     MARQUEZ                  CA           90011626277
72294613293739   CHRISTOPHER     LEIGHTY                  OH           90009016132
72295791533698   BERTHA          THOMAS                   NC           90015187915
72299357972441   BRANDI          ELLIS                    PA           90011223579
72312295491586   EDWARD          ROHRER                   TX           75010842954
72314819872479   GREGORY JAMES   DUNLAP                   PA           90014128198
72318713755969   NORBERTO        CALDERON                 CA           90011227137
72323288772479   CHARLES         HILLEN                   PA           90011002887
72328498684322   YAZMIN          BENITES                  SC           90013464986
72341275833698   MYA             JONES                    NC           90010992758
72345554755947   DIEGO           SANCHEZ                  CA           90011565547
72345663371921   SHANE           MARSHALL                 CO           90012696633
72345693191572   CARLOS          CHAVEZ                   TX           90007366931
72346359831453   BARBARA         BRAXTON                  MO           90011753598
72348895555947   DESIREE         MOLINERO                 CA           90004388955
72349368355966   GUILLERMO       GARCIA                   CA           90014523683
72352296251322   DEREK           SNOW                     OH           66020652962
72353985671921   ERIN            SHELBY                   CO           90014769856
72356981757157   DUSLEY          CALDERON                 VA           90012729817
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72361124972421   BRANDY          COGDELL                  PA           51020971249
72364845855969   NANCY           ALVARADO                 CA           90010978458
72365634357157   DARWIN          SANTOS                   VA           90015086343
72366271755947   CARL            CLAY                     CA           90004582717
72372166855966   ALEJANDRO       FUENTES                  CA           90011651668
72373655671921   NIKKI           GRUBBS                   CO           90013006556
72383562357157   ROGER           GONZALEZ                 VA           90012895623
72383821755969   SANDRA          GARCIA                   CA           90008158217
72384854455969   NANCY           ALVARADO                 CA           90010978544
72385171591991   FREDY           MARTINEZ                 NC           90011551715
72385849257157   ALEJANDRA       ESPINOZA                 VA           90012638492
72388637893756   RONNEE          TINGLE                   OH           90007826378
72393859884322   MARTIN          GERONIMO                 SC           90008638598
72398298855966   RICARDO         TORRES                   CA           90012402988
72398583455939   RAUL            MARTINEZ                 CA           90000855834
72413378372421   RUSSELL         ESHMAN                   PA           90013923783
72413755672479   JOSH            VEDDER                   PA           90012137556
72417344871921   TRACEY          KERCHEVAL                CO           90014083448
72423157133699   PAULA           SMITH                    NC           90013491571
72427567891522   FERNANDO        JAQUEZ JR                TX           90013535678
72428962531433   BRIAN           MILLER                   MO           90012929625
72432744841253   ROBERT SAMUEL   OSHEA                    PA           90009647448
72433625331433   TIFFANIE        WILLIAMS                 MO           90012506253
72435954272479   JOSHUA          BRIDGE                   PA           90011529542
72441385781633   JASON           KNIGHT                   MO           90013963857
72441656291827   MICHELLE        HICKS                    OK           90013856562
72444637841253   OMAR            MATIN                    PA           90010076378
72445822572421   SUZANNE         CHAMBERLAIN              PA           51041298225
72446636133699   WILLIAM         SOLOMON-HYNES            NC           90014926361
72449712757157   EDGAR           ZUASNABAR                VA           81085627127
72449956861935   MANUEL          QUINONEZ DIAZ            CA           90007169568
72451636133699   WILLIAM         SOLOMON-HYNES            NC           90014926361
72456574255947   STEPHANIE       MELENDEZ                 CA           90011115742
72463694671921   CODY            NORTON                   CO           90011086946
72466262184322   AALYAN          JACKSON                  SC           90009642621
72466625293739   ISAIAH          LEWIS                    OH           90009146252
72471756472421   AMBER           PATTON                   PA           51004977564
72489845955947   PENNY INEZ      ARRIOLA                  CA           90009388459
72493837531433   JAIRO           TEMORES-DE ROJAS         MO           90014238375
72496429631433   JESSICA         SMITH                    MO           90014714296
72498841833699   MARISA          GEVARA                   NC           90013878418
72498975931433   KEVIN           RUFUS                    MO           90012979759
72518732655969   MIREYA          MENDOZA                  CA           90011987326
72521639241253   JONATHAN        BALL                     PA           90013196392
72526999231432   SAKIESHA        PHILLI10PS               MO           90009679992
72528639155966   JOSE            ISASI                    CA           90011666391
72529253972421   ANDREW          MELLON                   PA           51018062539
72532216766255   BARBARA         MOORE                    MS           90014862167
72535241457157   ISAIC           ROQUE                    VA           90007592414
72536887441227   MICHAEL         AARON                    PA           90005388874
72539657672479   LONNIE          ASTLE                    PA           90011596576
72545287631433   THOMAS          BROOKS                   MO           90013442876
72547983172441   NATHANIEL       GREEN                    PA           90014729831
72551379472479   BRANDI          HILLEN                   PA           90011003794
72552889633699   MAYRENE         SMITH                    NC           90014818896
72558676133699   MARCUS          DORSEY                   NC           90013536761
72558854955939   VALERIA         CARREON                  CA           90008918549
72563414481633   PAULA           GARCIA                   MO           90014984144
72565316272479   KIMBERLY        DODATO                   PA           90005223162
72566549757144   JOSE            MARTEL                   VA           90009895497
72572716284322   JUAN            CARLOS                   SC           90014037162
72573486393739   JESSICA         JONES                    OH           90010294863
72579692857157   AMBER           CARY                     VA           90014256928
72594817572479   TERI            BRUNDEGE                 PA           90009598175
72595394755969   RICHARD         ST CLAIR                 CA           90011453947
72597444672441   VALERIE         BRISCO                   PA           90010374446
72598344241237   DONALD          MARKS                    PA           90013863442
72598384357157   GLORIA          MILES                    VA           90013073843
72611157241253   ALISHA          FRYE                     PA           90014691572
72612598333698   KRISTIAN        WILLIAMS                 NC           90011485983
72619678241227   AUDRICA         MCKEITHEN                PA           90014346782
72621391981633   SHEKA           NEWSOME                  MO           90002043919
72622667731443   TIFFANY         DAY                      MO           27505986677
72627397331433   ANGELA          PURNELL                  MO           90011423973
72631758655966   MIGUEL          PEREZ                    CA           90014357586
72632848772479   JASON           CHACKO                   PA           90009928487
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72634736684322   SHERRY          BRAHBAN                  SC           90012747366
72638925155969   RITO            HERNANDEZ                CA           90012339251
72641925155969   RITO            HERNANDEZ                CA           90012339251
72644418855939   GRICELDA        MENDEZ                   CA           90011354188
72644847241253   BAILEY          WILSON                   PA           90006348472
72646184233698   ENARI           MITCHELL                 NC           90013921842
72647558372479   TERRI           PAYNE                    PA           51025455583
72647885584322   HERNANDEZ       MANUEL                   SC           90011188855
72648354271921   TAMMY           LOWERY                   CO           32013863542
72649255155966   CODY            RODRIGUEZ                CA           90012932551
72653989784322   JUAN            CANO                     SC           90007829897
72653992431433   BOBBY           WELCH                    MO           90014369924
72663475357157   BRIAN           MARTINEZ                 VA           90014764753
72665615661984   ERNESTINA       OROZCO                   CA           90012646156
72665732561984   ERNESTINA       OROZCO                   CA           90008447325
72671894841253   OWUNAROI        ROEUBEN                  PA           90014268948
72671925155969   RITO            HERNANDEZ                CA           90012339251
72672172533699   DENISE          VASQUEZ                  NC           90013491725
72675552755969   JOSHUA          BRUTLON                  CA           90011335527
72676596261982   JASMINE         TOBA                     CA           90006545962
72698733355969   LUIS            PEREZ                    CA           90013877333
72716168771921   RAMONA          BEGAY                    CO           90013721687
72726124855939   STACIE          SMITH                    CA           90003901248
72727184555969   TERRY           O DANIEL                 CA           90003281845
72732545155966   DAVID           MEDINA                   CA           90012955451
72735622871921   SHAUNA          HECKMAN                  CO           90007946228
72742446881633   ELISA           GILLILAND                MO           90011904468
72745748133698   RICHARD         BOGART                   NC           90010267481
72747576955966   LETICIA         CARRISALEZ               CA           90014245769
72747748555939   YUVANY          CORTEZ                   CA           90012607485
72749468441237   SONYA           SIMPSON                  PA           90011084684
72756442333699   KEYONA          HUNTER                   NC           90012774423
72757315571921   JONATHAN        FLORES                   CO           90012803155
72761475933624   JOHN            HOLT                     NC           90006344759
72763715281633   MICHELLE        ROBINSON                 MO           90013337152
72763832255969   CHARLES         SERRANO                  CA           90009938322
72766324984322   RUTH            CAPONE                   SC           90012483249
72772759636182   ANGELA          YBARRA                   TX           90007367596
72776816155969   SONYA           ALAFA                    CA           90012538161
72781178831433   RODNEY          WILLIAMS                 MO           27503971788
72784847884322   SABRINA         MANOA                    SC           90013618478
72793857431433   MARQUETTA       JENNINGS                 MO           27501468574
72795372833625   JALEA           MARLEY                   NC           90010733728
72798254772479   RAVEN           RANDALL                  PA           90013352547
72799669761991   DIANA           ANDRADE                  CA           90009806697
72811689191522   JUAN MANUEL     ARANDA                   TX           90004816891
72814775941237   ALEXANDRIA      BOWMAN                   PA           90008597759
72821217633447   SHANTENI        WOMACK                   AL           90014582176
72822284555969   EBONI           GONZALES                 CA           90012362845
72827742671921   DEVI            ROGERS                   CO           90014237426
72828316272479   KIMBERLY        DODATO                   PA           90005223162
72834583941227   PAUL            PC                       PA           51092375839
72838627541253   ERIC            MATHEWS                  PA           90006166275
72846792133698   SONYA           DAVIS                    NC           90013377921
72847544833699   ANDREA          MYERS                    NC           90001565448
72854584255969   NADIER          BATSHON                  CA           90004895842
72864865671921   BRITTANY        STEPHENSON               CO           90014488656
72866265755969   MADRID          ERNEST                   CA           90012732657
72866454141227   SALEM           TRAI                     PA           90009954541
72866658872479   SAMANTHA        GRIFFITH                 PA           51010216588
72867629455966   ROSA            YANEZ                    CA           90012956294
72868147641237   WHITNEY         HATCHER                  PA           51040151476
72868788555969   DAUNELLE        OJADA                    CA           90013297885
72869172484322   RASHEEN         DUPONT                   SC           90014011724
72873845481633   IKECHI          HIGH                     MO           90014758454
72883131772441   CHRIS           ZEDAK                    PA           51038281317
72883911341253   CLIFFORD        BAXTER                   PA           90012469113
72885913871921   ALANA AND AKI   BROOKS AND MOSE          CO           90011479138
72899372184322   JABON           WILLIAM                  SC           90014553721
72915659355969   JOSH            TAYLOR                   CA           90010996593
72919286631433   SARAH           LEWIS                    MO           90011732866
72924226533698   MARK            HENDERSON                NC           90008492265
72925261272479   LEONA           DEUELL                   PA           90011112612
72925669255966   VERO            BURGOS                   CA           90012956692
72928263855939   KEVIN           CARDENAS                 CA           90013402638
72932496872421   RAYMOND         POWELL                   PA           51035574968
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72934412331433   AIMEE           MARSH                    MO           90012394123
72935319833699   METOYER         CLAYTON                  NC           90014883198
72937779341227   ILENE           HELMS                    PA           90007977793
72939323171921   RACHEAL         BLUNCK                   CO           90013773231
72944886733698   LATOYA          GREEN                    NC           90015158867
72945391457157   JOSE            ZAUALA                   VA           81019673914
72946362377552   CHARLES         SOUTH                    NV           90001543623
72947383531432   BRANDON         RUCKER                   MO           90010963835
72947614872441   DOMINIC         SAYSON                   PA           90014416148
72956321233699   SHAENICE        TEAL                     NC           90014663212
72962739541237   TERIKA          MEGGETT                  PA           90014647395
72964375993739   HARRY           BAILEY                   OH           90011523759
72967567555939   RITA            BLANCO                   CA           90008175675
72972936455969   SUSIE           RUSSELL                  CA           90002599364
72973987633699   JONATHAN        HIGHFILL                 NC           90013459876
72978863255939   DANILLE         DELACERDA                CA           90013438632
72979436831432   KIMBERLY        MULLEN                   MO           90010964368
72981242172479   SHANE           HARRISON                 PA           90013932421
72985231281633   PHILIP          MURDICK                  MO           90013642312
72986436831432   KIMBERLY        MULLEN                   MO           90010964368
72988544871921   JAMES           PARHAM                   CO           90014835448
72988955831443   SEAN            KELTING                  MO           90009879558
72989329557157   BRANDON         FITZGERALD               VA           90013643295
72989966781633   STACY           BLUNT                    KS           90012959667
72991868457157   JUAN            AGUILAR                  VA           90013218684
72995855857157   NIKITA          MCKENZIE                 VA           90013228558
73111827233698   AMETTE          HARRIS                   NC           12084708272
73112299571947   DARREN          BURNETT                  CO           90012442995
73114925241227   MIKE            JAMES                    PA           90014359252
73115766571921   YANILYN         VARELA DE DIOS           CO           90006297665
73115867831433   LOLA            LUTZ                     MO           90008408678
73116527455939   ADRIANA         SALAZAR                  CA           90014245274
73122774741253   JASON           COLEMAN                  PA           90013957747
73123545655973   VANESSA         LUPIO                    CA           90008425456
73128769372421   KEITH           CONNELLY                 PA           90014437693
73129514755947   DORA PATRICIA   AGUILAR                  CA           90008425147
73148687671947   STEFANIE        WATKINS                  CO           90014056876
73149644633698   HATTIE          HAMMOND                  NC           90011376446
73152131772441   CHRIS           ZEDAK                    PA           51038281317
73152172633699   MIGUEL          CASTILLEJOS              NC           12037381726
73154667155947   RANDY           DANIEL                   CA           90013536671
73159357355966   DAWN M          TWING                    CA           90012253573
73167381871947   MARIA           NEGRETE                  CO           90011463818
73168982655939   CESAR           CORONA                   CA           90013779826
73171114733699   BRIANA          HOLLINGSWORTH            NC           90012451147
73175279555966   GLENDA          UVEGA                    CA           90012772795
73178763541237   APRIL           BROWN                    PA           51054087635
73181385655966   LORENA          MADRIGAL                 CA           90005803856
73187262584322   BRAYAN          VASQUEZ                  SC           90007592625
73197319131432   ERIKEYA         MOORE                    MO           90012373191
73215331533699   CANDICE         LEMON                    NC           90011323315
73215351471921   DANIEL          COUILLARD                CO           90013053514
73215895581255   LUIS ANGEL      CASTRO                   KY           90014448955
73216397241253   GINO            SANTONI                  PA           90013843972
73224451941227   NGOZIE          OBIAKU                   PA           90011844519
73225619671947   MARIA           ABSHIRE                  CO           90010016196
73228487655939   ELIA            PEREZ                    CA           90012424876
73235811955947   SHARRON         ROWLAND                  CA           90013608119
73242273555928   JENNIFER        KRAMER                   CA           90010482735
73249436581255   BRITTANY        WARREN                   KY           90012074365
73251347772421   BRIAN           JOHNSON                  PA           90003623477
73253987384322   JOSE            CERON                    SC           90013229873
73255893455947   LEAH            CORREO                   CA           90011228934
73256733471947   FRANSISCO       CERVIN                   CO           90012787334
73268436757157   MAXWELL         VELLELIZ                 VA           90002074367
73268632955939   MIGUEL          MORENO                   CA           90012446329
73271654833698   JASON           BROWN                    NC           90013276548
73273722371921   ROBERT          RODRIGUEZ                CO           90010257223
73273765155966   OLGA            MARTINEZ                 CA           48066697651
73274643431432   KIMBERLY        KOPF                     MO           27525746434
73279125255966   RICARDO         HERNANDEZ                CA           90012491252
73286239433658   KYM             PERRY                    NC           90006662394
73317572641253   RAYLANE         MITCHELL                 PA           90014975726
73324162931432   LYNNSY          LENARD                   MO           90013781629
73331194191549   TONY            GARCIA                   TX           90011661941
73335519831432   JANELLE         WARNER                   MO           90011055198
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73339668371947   MICHAEL         GARCIA                   CO           90012996683
73365956555939   BLANCA          ROMO                     CA           90009259565
73366743655939   MANUEL          SILVA                    CA           90012017436
73371854851278   ZARIA           LOPEZ                    NE           90014748548
73371959531432   ALISHA          TAYLOR                   MO           27597179595
73373778733699   DESIREE         RENDER                   NC           90013677787
73378832984322   JOSUE           ACOSTA                   SC           90013498329
73378932555947   TERRANCE        HEBRON                   CA           90011229325
73379572771947   ROBERT          TANNER                   CO           90010185727
73382454384322   JANET           AZUARA                   SC           90014994543
73383181633698   JENKINS         DOMINIQUE                NC           90012331816
73396742993739   DELOREAN        DORSEY                   OH           90009917429
73396977684322   ESTEBAN         RAMIREZ                  SC           90011979776
73397877655939   FELICIANO       RODRIGUEZ                CA           90013728776
73438517971947   SIR CHEARLES    WATTERS                  CO           90014845179
73444451755939   GERARDO         VASQUEZ                  CA           48077564517
73444652871921   DENNIS          NOESKE                   CO           90015106528
73444834857147   ALEXANDER       SANDOVAL                 VA           90007228348
73445473171947   MARIAH          COULTRIP                 CO           90015184731
73446491755947   VERONICA        DELGADO                  CA           90001204917
73455175484322   NELLY           HAMMET                   SC           90011701754
73461673793739   CYNTHIA         COLLINS                  OH           90013766737
73465725972441   JOHN            LASKY                    PA           51092807259
73467329857157   MARWIN          MEDRANO                  VA           81077013298
73467961866255   BARBARA         COOL                     MS           90009159618
73473154533698   KERTONIO        FISHER                   NC           90009451545
73474161333698   CHAYANE         MCKINNEY                 NC           90012551613
73476935672441   KAREN           CARR                     PA           90011529356
73482684655939   ERIK            GUZMAN                   CA           90010046846
73483333591863   HOLLY           FAIRCHILD                OK           21045773335
73488645155947   KACIE           BAIS                     CA           90010216451
73489776791969   MARIA           REYNA                    NC           90010807767
73489791671921   JEANNETTE       VALDEZ                   CO           90014437916
73492366371921   SHAUN           GILL                     CO           90013963663
73498241831433   TONY            JORDAN                   MO           90011032418
73523325655939   ALMA            DUENAS                   CA           90011453256
73523882355966   DIANA           GARCIA                   CA           90014588823
73524582133699   SAMUEL          LITTLE                   NC           90014525821
73532337641237   KAYLA           MCCASKEY                 PA           90015133376
73535696531433   STEPHANIE       CRAIG                    MO           90014556965
73539287631433   WENONA          BAKER                    MO           90009242876
73539635855966   JOE L.          TORRES                   CA           90012966358
73543285433699   RASHEKA         TERRY                    NC           90004052854
73554148133698   DOUGLAS         JOHNSON                  NC           90013241481
73556534671947   CHARLES         ADANS                    CO           90009805346
73556539384322   EVAN            SANCHEZ                  SC           90011185393
73558915431433   LAUREN          RABBITT                  MO           90008469154
73561529755939   FERNANDO        QUEVEDO                  CA           90012705297
73562559161971   MARIA           AGUISSE                  CA           46056295591
73564318655966   MICHAEL         MAXWELL                  CA           90008473186
73567833333699   QWAMAINE        LAFORD                   NC           90010068333
73568561333698   TRISHA          SMITH                    NC           90012335613
73576759271921   RAYMOND         GRIEGO                   CO           90014097592
73583522455947   CANDY           DELFIN                   CA           90013055224
73585254331432   BRITANY         HILL                     MO           90014332543
73586726131432   KENNETH         GRIFFITH                 MO           90014237261
73587223531432   BRIAN           HARRIS                   MO           90012292235
73588776355928   BILL            JACKSON                  CA           90012877763
73588887555928   BILL            JACKSON                  CA           90011348875
73589172641253   TAMMY           HESS                     PA           90010351726
73599465657124   JAMIE           HANSON                   VA           90004084656
73619481431443   LUTHER          WATKINS                  MO           90010644814
73631132372479   BELINDA         YAGER                    PA           90006701323
73632656571947   SEAN            ADAMS                    CO           90012176565
73633583471947   DORIS           GALLEGOS                 CO           90004225834
73635241355966   VICTOR          GARCIA                   CA           90014492413
73635313641253   SURENU          FRANK                    PA           90004223136
73636549933699   MIGUEL          NEGRETE                  NC           90012945499
73636635131432   AMANDA          THOMPSON                 MO           27565466351
73639563533698   ANDRE           BOWLES                   NC           90014345635
73642981455947   SHERRY          LONG                     CA           90012399814
73648757331432   NATHAN          SHORT                    MO           90015097573
73651583572441   STACEY          JETER                    PA           90009715835
73653415393739   ROBERT          GARNER                   OH           90010964153
73653639755939   EDUARDO         ALVARADO                 CA           90010436397
73663889372421   PATRICIA        MENZ                     PA           90011408893
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73668321541227   ANTHONY         FORD                     PA           51094083215
73669218272421   DENNIS          OHR                      PA           90012302182
73669641155966   DAISY           GALINDO                  CA           90008396411
73671463155947   MARIA           PIMENTEL                 CA           90013204631
73671644784322   NOELIA          LEIVA                    SC           90013986447
73673397555939   ROLANDO         NUNEZ                    CA           90013663975
73677593984322   TOSHA           MITCHELL                 SC           90013205939
73682636255947   CHIA            VANG                     CA           90011956362
73689683171947   CHARLES         SUDDETH                  CO           90014906831
73692254241229   ERIKA           SCHULTZ                  PA           90008922542
73693191472441   TIANA           GIBSON                   PA           90007791914
73697973484322   DANIEL          HERNANDEZ                SC           90013989734
73699537171921   JENNIFER        AMES                     CO           90011465371
73724492331432   BRANDI          GREEN                    MO           90011004923
73725255593739   LISA            CARLISLE                 OH           90014622555
73736216755947   JOSE            TENIZA                   CA           90014092167
73737838831433   DENISE          VEHAUS                   MO           90014438388
73739217533698   RANDALL         DARROW                   NC           90012802175
73741165331433   THOMAS          DONELSON                 MO           27511461653
73746424693739   JOHN            BREWER                   OH           90015204246
73752796133699   EDSON           GARCIA                   NC           90009707961
73755934271947   JORGE           SAMANIEGO                CO           90010269342
73756175341253   HARI            RIJAL                    PA           90010351753
73777415355947   ROBERT          RAMOS                    CA           49040574153
73779248161972   SANDRA          FERNANDEZ                CA           90008072481
73781447631433   JAMELA          LOVE                     MO           90010384476
73782729572479   STACEY          CAIN                     PA           90008177295
73786639744346   RICKY           FOREMAN                  MD           90012846397
73788687331432   PATRICIA        DAVIS                    MO           90013786873
73789874572421   MARK            SCHAFER                  PA           51049148745
73794797655939   JOSHUA          HUERTA                   CA           90012917976
73797769833699   EVIE            MCAFEE                   NC           90012637698
73813232472479   LETTIE          AXTON                    PA           90009582324
73814159241253   MARIA           ESTRADA                  PA           90011611592
73814662255966   TRUMAN          MCMURTREY                CA           90012816622
73816998184322   MARTIN          CRUZ                     SC           90008759981
73817533472479   BENJAMIN        LIGHTOWLER               PA           51080635334
73822298671921   RANDY           PRUIETT                  CO           90011122986
73823376941237   JO SIA          DAVIS                    PA           51039513769
73829961655966   LOUIE           RAZO                     CA           90014589616
73831447671921   BARBARA         PALMER                   CO           90012994476
73831691941227   DOMINIQUE       MILLSAPP                 PA           90002506919
73832239772479   LAKISHA         DIGGS                    PA           90009592397
73836589733698   KRISTY          MCGEE                    NC           12094065897
73842682955966   JESUS           PACHECO                  CA           90005736829
73843733272479   SARAFINA        PACE                     PA           90006767332
73848193833698   LAMARR          SHEILDS                  NC           90010981938
73859911241237   MONICA          LOWE                     PA           90015189112
73862848772479   JASON           CHACKO                   PA           90009928487
73866719941237   SUSAN           SALMEN                   PA           51011807199
73891446533699   TENISHA         FULLER                   NC           90012434465
73892215771947   ALYCIA          BROOKS                   CO           90002252157
73896571971947   STACIE          ROGERS                   CO           90013655719
73913668255966   GASPAR          AGUILAR                  CA           90011816682
73914222284322   JALEN           TURNER                   SC           90014772222
73914797155966   DAISY           RUIZ                     CA           90014617971
73918447833698   JULIE           JORDAN                   NC           90008314478
73927972172421   DAVID           TARR                     PA           90013929721
73954654771947   ROSA            SERRANO                  CO           90003696547
73955149631433   MICHEAL         DRIVER                   MO           90012501496
73955296771921   TEYONDRE        WILLAMS                  CO           90010702967
73958527784322   JESUS           SILVA                    SC           90014885277
73972119271947   FABIAN          BACA RAMOS               CO           32069211192
73973254331432   BRITANY         HILL                     MO           90014332543
73978264333698   DARRYL          HOOPER                   NC           90013412643
73984484133698   NICOLE          MACK                     NC           90014174841
73986549884322   DUNIA           MARTINEZ                 SC           90013495498
73994381371921   ERIKA           ONTIVEROS                CO           32087313813
74115892872479   WILLIAM         BAISDEN                  PA           90011188928
74116726391566   BRENDA          GUERRERO                 TX           90001707263
74119133572479   AMANDA          WOLFE                    PA           90011571335
74127512193739   JAIME           CARSON                   OH           90010995121
74127544741237   TOYA            PRYOR                    PA           51094635447
74134946741253   CARLA           ROBERTS                  PA           90014289467
74137846431433   TALANYE         KARTER                   MO           90012638464
74138749131443   HENRY           GUILBEAUX                MO           90001397491
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74143966572479   LISA            MEEHAN                   PA           90012739665
74147435733698   RAHEINE         REID                     NC           90003664357
74155776571921   BRIAN           LINN                     CO           90012937765
74158215741227   JENNIFER        SPROWLS                  PA           90012442157
74162121585945   CHABLIS         MURRAY                   KY           67004561215
74164391891522   ALEXANDRA       MUNOZ                    TX           90008783918
74166514993726   JASON           SCHROEDER                OH           90010975149
74168714471921   JERMEY          WILLAIMS                 CO           90013577144
74175169831433   SHAWNA          FRANKLIN                 MO           90007891698
74176544272479   BRANDON         HENDERSON                PA           90010285442
74178966572479   LISA            MEEHAN                   PA           90012739665
74179128693726   KAREN           MILLER                   OH           90014351286
74181988285945   MARIA           DUARTE                   KY           67095179882
74183372455939   JESSIE          VALENCIA                 CA           48030173724
74195559131432   VIVIAN          HOLTS                    MO           27513335591
74197569941227   EDWARD          HICKS                    PA           90007585699
74198617481643   BRANDON         HARRIS                   MO           90008416174
74213155355939   ANTHONY         ALVARADO                 CA           90010671553
74223398372421   JEFFREY         FRASER                   PA           90010283983
74226734993739   CASSANDRA       EVANS                    OH           90013987349
74229897671921   JEOUNG          OH                       CO           90004978976
74238684741237   DAVID           LUPINE                   PA           90004716847
74245282631433   REVA            NELSON                   MO           90014662826
74252168741237   NICK            JONNET                   PA           90010151687
74254831331443   JAMES           MCMULLIN                 MO           90012168313
74256957155939   JAIME           ROQUE                    CA           90013029571
74261213672479   TRAVIS          COTTRELL                 PA           90012842136
74262586831443   OCTAVIA         BARR                     MO           27506045868
74262894593739   BRANDI          WHITE                    OH           90010208945
74263327755939   MIGUEL          SANCHEZ SEGUNDO          CA           90013733277
74269544793726   SEAN            KNIGHT                   OH           90014135447
74273258841253   MARTA           HERNANDEZ CORTEZ         PA           51083772588
74276381191323   LUIS            RIOS                     KS           90010643811
74281522293726   OMAR            HILL                     OH           90007915222
74293695431432   JASMINE         COLEMAN                  MO           90002866954
74296649541253   OMAR            FORBES                   PA           90014416495
74312334833698   WILLIAM         JESSUP                   NC           12026013348
74315775141253   JOCELYN         HUGHES                   PA           90007557751
74316534733698   JOHN            ALLEN                    NC           90013865347
74319722357147   ELSY            CEDILLAS                 VA           90004417223
74323465872479   LARRY           ROSE                     PA           90013914658
74323595571921   MICHELLE        MEAD                     CO           90014135955
74327935733698   EMILY           SMITH                    NC           90010309357
74329197351391   ANDREAH         HILL                     OH           90011811973
74331387793739   JUANA           ESPINO                   OH           64574803877
74336816685945   SAMANTHA        BROWN                    KY           90011288166
74341982593739   CHARLES         JONES                    OH           90013539825
74346388172421   JASON           PHILLABAUM               PA           90011353881
74347354272421   SANDY           BLACK                    PA           90004533542
74364663485945   DAVID           ROSS                     KY           90011786634
74364865171921   LAHELA          TEIXEIRA                 CO           90012988651
74365425672421   JASON           SHERMAN                  PA           90011184256
74367779593726   DUSTIN          FUGATE                   OH           64515397795
74373228341237   KATHLEEN        SULLIVAN                 PA           90004372283
74375942372421   JACOB           SHOEMAKER                PA           90013349423
74376443531432   SHERI           CARTHAN                  MO           90013694435
74386524641253   YVETTE          OLANDO                   PA           90010205246
74388162141237   RYAN            STRANKO                  PA           90014121621
74391891593726   MICHAEL         MOOREFIELD               OH           64574108915
74392617771921   THOMAS          ALLEN                    CO           90006286177
74396855941237   DANIEL          SULLIVAN                 PA           90010748559
74397329231432   AARON           FRANCIS                  MO           90015173292
74398543531432   KENNETH         CONNELLY                 MO           90010735435
74411518471921   DARWIN          RODRIGUEZ                CO           90009705184
74412462933698   LESLEY          RILEY                    NC           90010824629
74413515833698   SHERMENA        INGRAM                   NC           90013045158
74413911657132   NERY            AMAYA                    VA           90007719116
74417888541253   AARON           GIBSON                   PA           90011198885
74419858493726   BRIAN           KEDANIS                  OH           90006978584
74423314633624   LIKAH           MCNEAIR                  NC           90011673146
74424752831432   WILLIAM         FANT                     MO           90014417528
74424874433698   RAMONA          GYEKYEWAH                NC           90012598744
74436976872421   DIANE           BAACKE                   PA           51090459768
74439196993739   ANNIE           ARMSTRONG                OH           90006431969
74448179641237   BRITTNEE        THOMPSON                 PA           90012861796
74464856131432   JASON           DECLUE                   MO           90012948561
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74466956991572   KARLA           RAMIREZ                  TX           90010069569
74467452272479   HEATHER         DEVAULT                  PA           90015094522
74471895461982   MARTIN          OSUNA                    CA           90010748954
74475576631432   GNISHA          BALDWIN                  MO           90010735766
74483126272479   JAMIE           FERRARI                  PA           90011041262
74489277493726   ALAINA          TOTO XALA                OH           90012202774
74494175955939   MARCOS          LEONOR                   CA           90009601759
74511285755939   JULIANA         MENDOZA                  CA           90012722857
74522358331433   JENNIFER        CERUTTI                  MO           90013233583
74538865641253   PAULA           KALB                     PA           90012618656
74542328741237   GAVAN           JOHNS                    PA           90012423287
74542379333698   MARY            LEGETTE                  NC           90012003793
74542944593726   DANIELLE        BREEDEN                  OH           90013379445
74544232772479   DYLAN           PATCH                    PA           90012502327
74548317541237   JEREMIAH        SEGAN                    PA           90010963175
74551615841237   GREGORY         STARKS                   PA           90011506158
74552683871921   NIKKI           NOBLE                    CO           90012696838
74553824172479   KELLEY          SADLER                   PA           90012528241
74558516293726   GENEVA          WEAVER                   OH           90011085162
74558815133698   TOMMIE          MOORE                    NC           90010098151
74565813231433   JOANN           PIZZO                    MO           90013308132
74568316872421   TATILA          BELL                     PA           90014363168
74569674741237   MONTE           WELLS                    PA           90010756747
74585615841237   GREGORY         STARKS                   PA           90011506158
74585916331432   SHANNON         PETTY                    MO           90013929163
74587495141253   GEORGE          COLEMAN III              PA           51000954951
74593914771921   HUGO            GARCIA-NUNEZ             CO           90013239147
74594396872479   RANDY           EARLEY                   PA           90002543968
74611768772479   ANGELEQUE       MCWILLIAMS               PA           90013767687
74621624693739   KAYLAN          POLAND                   OH           90011006246
74622865893739   MICHAEL         GALLOWAY                 OH           64563728658
74622974185945   FERNANDO        LUCAS                    KY           90010579741
74636612785945   DESEAN          HENDERSON                KY           90011296127
74637169572479   DANI            HUMBERT                  PA           51057591695
74641126372421   MATT            HUTCHISON                PA           90013141263
74653541133698   LAFAYETTE       CLARY                    NC           90012245411
74657649831433   LETERICE        SCURLOCK                 MO           90014466498
74689536931433   LYNN            MONDAINE                 MO           90012145369
74689632161951   CYNTHIA         RODRIGUEZ                CA           90011646321
74714278831433   DANIELLE        REGANS                   MO           90010982788
74714947857531   CODY            JEFFRIES                 NM           90014389478
74718928971928   KHALED          ABDELWAHED               CO           90012539289
74719732197126   TIMOTHY         CLAYTON                  OR           44591607321
74722949351325   ANTHONY         MALLORY                  OH           90006289493
74725264241253   JOSEPH          BROWN                    PA           90013012642
74726973941237   KRISTAL         HOLLIS                   PA           90010979739
74732363331433   NIKKI           DAVIS                    MO           90010813633
74732624693739   KAYLAN          POLAND                   OH           90011006246
74734285771921   TASHA           ASHER                    CO           90011132857
74737881855996   FRANCISCO       VERA                     CA           48014478818
74746991555939   PRISCILLA       DUARTEZ                  CA           90002819915
74748345272479   JAMES           LANGFORD                 PA           90013883452
74755417441227   JENNIFER        ZIEFEL                   PA           90007214174
74756158485996   DEWAN           MILLER                   KY           90014561584
74756517633698   SANDRA          WHITENER                 NC           90012285176
74758437433698   RUMONDA         BRIDGES                  NC           90011204374
74762978733698   CARLOS          LEMUS                    NC           90010469787
74765549155939   BALDEMIRO       ORTIZ                    CA           90012545491
74776322855996   FRANCISCO       ESPINOZA                 CA           73054383228
74783375633698   VANESSA         MEZA                     NC           90013623756
74785214793726   MARIO           SOSA                     OH           90010172147
74789517631443   NICOLE          CARTER                   MO           90014715176
74791137325128   JUMA            HARON                    AL           90014371373
74794627741237   ERICKA          BACCUS                   PA           90014876277
74797786493739   KIMBERLY        HELTON                   OH           90012227864
74798559793739   SEAN            SOUDERS                  OH           64592245597
74811935533698   AZINATH         DONALDSON                NC           90015179355
74813212471921   KRYSTALE        SHAW                     CO           90013922124
74813581193726   BRANDON         MUSICK                   OH           90013295811
74815186391963   KIARA           CUMMINGS                 NC           90006791863
74825965431432   OMEGA           MORRIS                   MO           90014819654
74826994931433   MUNA            FARAH                    MO           90010279949
74836455631433   XAVIER          ANDERSON                 MO           90013304556
74838697684359   STANLEY         AUSTIN                   SC           90007776976
74841863841237   SABRINA         MOBLEY                   PA           51073078638
74842699171948   PAVEL           OROS                     CO           90003076991
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74851818593739   LATASHA                 STEVENS           OH          90012708185
74853812471921   CASONDRA                TAVARES           CO          90013138124
74853896831433   TERRION                 WILLIAMS          MO          90015338968
74863651772421   DESIREE                 BOATRIGHT         PA          90006456517
74866981141237   JERMAINE                SMITH             PA          90014389811
74869265931443   MR POLO                 THECEO            MO          90012212659
74878471557147   ERID                    MARTINEZ RIVERA   VA          81031514715
74887686293739   CARA                    SMITH             OH          90011006862
74892722157147   ABU BAKARR SULAIMAN     KABBA             VA          90006137221
74893433593739   KIMBERLY                HALL              OH          90011284335
74895251561465   GASPAR                  TUM               OH          90014062515
74896377472479   PAYGO                   IVR ACTIVATION    PA          90014663774
74896556431432   SABRINA                 SMITH             MO          90014455564
74897963855939   JUAN                    AREVALO           CA          48004359638
74913956831432   LAWRENCE                MCCALL            MO          90011349568
74916685831443   JUSTIN                  CERULO            MO          90013896858
74922882891563   ERNESTO                 GONZALEZ          TX          75043148828
74924129193726   HEIDI                   HUNSBARGER        OH          90014761291
74926356433698   GREGORY                 TATUM             NC          90008783564
74929678533698   MELISSA                 MARSHALL          NC          90011146785
74931975431443   MADISON                 WHITE             MO          90013319754
74933697833698   CIARRA                  TALFORD           NC          90014886978
74945691471921   JOSE                    REYES             CO          90011766914
74948381631433   JOSEPH                  MOORE             MO          90012443816
74953836691572   LUIS                    SANTOS            NM          75004348366
74967376455939   ALFREDO                 MONTOYA           CA          90012083764
74967973955921   HELEN                   CANEL             CA          49093179739
74976871331433   MOLLY N                 MONA              MO          90011508713
74981495155939   MARAGRET                OCHOA             CA          90009404951
74983396293739   CHRISTOPHER             BOWLING           OH          90012093962
75111836633698   JESSIE                  JACKSON           NC          90008698366
75113482291572   ROSA                    SANMIGUEL         TX          75080914822
75123394755939   VERONICA                CERNA             CA          48023253947
75128426155939   JOSE                    RODRIGUEZ         CA          90011454261
75134545861935   REYNA                   CHAMBERS          CA          90008525458
75139648433624   MANNY                   HIDALGO           NC          90012466484
75142814657157   CLARISSA                PRIEST            VA          90009978146
75144522331432   LISA                    LEWIS             MO          90010865223
75144625455939   ERNESTO                 FRANCO            CA          90007626254
75148941931443   JARON                   FISHER            MO          90009879419
75156134151378   MARCO                   DEGANTE           OH          90007751341
75156291657123   A P WINDOWS AND DOORS   INC               VA          90008682916
75157569431433   JOHN                    MELSON            MO          90012475694
75162378233698   EVAINNA                 ROSS              NC          90003843782
75164297555939   SAMANTHA                GALLARDO          CA          90012772975
75165429172479   CHRIS                   PELZER            PA          90011664291
75168948571921   SARA                    CODDINGTON        CO          32091199485
75169238551347   DREW                    MARCUM            OH          90005222385
75176524771921   FRANSISCO               BARCENAS          CO          90007705247
75186247741253   JAMERY                  POLITO            PA          90010412477
75186419231432   VITO                    CASTELL           MO          90010164192
75193554841253   DENAI                   WILLIAMS          PA          90011145548
75194134455939   MONICA                  PEREZ             CA          90011211344
75195172571921   BOX                     CARMEN            CO          90011341725
75211396455947   TANISHA                 BROOKS            CA          90013353964
75212283185945   REBEL                   RALEIGH           KY          90008552831
75219354731433   CYNTHIA                 BIGHAM            MO          90014843547
75225825931433   SHANITA                 BUNETT            MO          90013318259
75243744855947   PACO                    IBARRA            CA          90013157448
75244682881645   TOM                     SMITH             MO          90013876828
75253167455939   LUIS ALBERTO            RODRIGUEZ CANO    CA          90012781674
75253731555939   RICARDO                 VARGAS            CA          90013707315
75254158993739   MICHAEL                 DIXON             OH          90013891589
75263339172479   CARRIE                  GALLAGHER         PA          90014613391
75273896472421   TONYA                   DICKANT           PA          90011788964
75281815872441   FRANCIS                 XAVIER            PA          51066888158
75291765255947   DOLORES                 ROMO              CA          90010637652
75313189721664   MATTHEW                 ONEIL             OH          90014661897
75313733572479   JOSHUA                  DRAGONE           PA          90014627335
75314188333699   NYKIAAH                 CURRY             NC          90004381883
75317926833699   NIKOLE                  FRYER             NC          90009549268
75325949371948   MIGUEL                  CARRERA           CO          90010869493
75327279755939   EMANNUEL                MARTINEZ          CA          90012612797
75328428372479   JOSEPH                  FEELY             PA          90011824283
75333528555947   LUIS                    VASQUEZ           CA          90013605285
75339664255947   SAMANTHA                CARILLO           CA          90012826642
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75344417455939   ESTRELLA        RAMOS                    CA           90008504174
75345297431433   ANTHONY         JOHNS                    MO           90014832974
75348216241227   RACQUEL         REED                     PA           90006872162
75348827272421   DAWN            SOPHER                   PA           90008208272
75354565455947   ROSENDO         SANCHEZ                  CA           90009105654
75358761741253   BRENDA          STAR                     PA           51082247617
75363812172479   ANGELA          BELTRAM                  PA           90014668121
75371468471921   MYECHA          TAYLOR                   CO           90012654684
75373498231433   CHARLES         CROSS                    MO           90013764982
75373792333698   AUNDREA         NEWKIRK                  NC           90011097923
75381358685945   CAROLYN         MASTERS                  KY           90011653586
75388554841253   DENAI           WILLIAMS                 PA           90011145548
75398384433698   CHRISTOPHER     ZACHERY                  NC           90013293844
75414672791979   JOAQUIN         VASQUEZ                  NC           90014986727
75419328655947   MARIA           SILVA                    CA           90014903286
75435215555966   JENNIFER        TORRES                   CA           90005552155
75438732381645   MAY             TAUTU                    MO           90014757323
75441849855939   SAMANTHA        BELL                     CA           90012878498
75443716541253   TONY            NATALE                   PA           51017347165
75445616471921   BRANDIE         MCDANIEL                 CO           90009606164
75451892471921   RAFAEL          FLORES                   CO           32065458924
75452426155939   CLYDDETTE       VALLE                    CA           90006384261
75453867233698   ANTHONY         PINNIX                   NC           90011108672
75456295472479   BROOKLYN        LINNEMAN                 PA           90014742954
75458521553977   CYNTHIA         BAGGETT                  OK           90014455215
75461589281633   JOSE            GONZALEZ                 MO           90009425892
75466524581645   REOLA           HAMLEPP                  MO           90006235245
75481721755939   NICOLAS         DE LA CRUZ               CA           90013897217
75488918131433   KIARA           BROWN                    MO           90013209181
75489278185945   MARTY           PERKINS                  KY           67067762781
75489741531443   SIERRA          BURNS                    MO           90011087415
75492279171921   PATRICK         SMITH                    CO           90012532791
75493561633698   JORGE           ALONSO                   NC           90015175616
75517422172441   LAUREN          DERZIPILSKI              PA           90012914221
75522311981633   HEIDI           TORAN                    MO           29001723119
75523215531432   SHAULAWN        BELL                     MO           90008832155
75553299541253   JESSICA         MURDY                    PA           90013542995
75556989955947   PERLA           GUERRERO                 CA           90012959899
75562527285945   SHARON          ALEXANEER                KY           67011585272
75566534585945   NADIA           TAYLOR                   KY           67011585345
75566872271921   CLOVER          BAKER                    CO           90013458722
75573156741253   SHONA           BATES                    PA           90014841567
75574257341253   LAUREN          GREEN JR                 PA           51074942573
75578899155947   SANDRA          GUZMAN                   CA           90003748991
75594844493739   THOMAS          CREAGER                  OH           90010908444
75598342781645   ISABELLA        SANCHEZ                  MO           90012573427
75611251931433   CHARLENE        DONOHOUE                 MO           90013532519
75613638231443   CANO            MARTIN                   MO           90000246382
75614961471921   CHAROL          COUSETT                  CO           90010299614
75628587193739   GABRIEL         SCANDRICK                OH           90011795871
75628849741237   URBAN           HOUSING                  PA           90011508497
75628952371921   ANTONIO         NERO                     CO           90014389523
75629397672421   JAMES           WAITE                    PA           90003943976
75629647341253   VERONICA        STANTON                  PA           51075906473
75639569731433   KAYLA           CROFT                    MO           90013795697
75641852785945   LAKOXTA         DIVENS                   KY           90009508527
75642431681255   JASHUA          DUNFORD                  KY           90009784316
75646342555939   JUSTIN          ETHERIDGE                CA           90013693425
75653182541253   WILLIAM         CHAPMAN                  PA           90008191825
75653988681645   TIESHA          PIPPEN                   MO           90012689886
75665482855939   MARY JANE       CANALES                  CA           90014694828
75672722481645   KRISTY          HOEGLER                  MO           90013127224
75673952371921   ANTONIO         NERO                     CO           90014389523
75678796393739   KENNETH         SCHOEBE                  OH           90010947963
75685415593739   PENNY           ERWIN                    OH           90011104155
75686573293739   CHRISHANA       WALKER                   OH           90014575732
75693595993739   TAMERA          WALLACE                  OH           90011325959
75695696731433   LAKESHA         MOORE                    MO           90010036967
75698382561982   CONSUELO        MAGANA                   CA           90007753825
75714452141237   SOLOMON         VAN GIESON               PA           51040244521
75718459193739   MINDY           BISHOP                   OH           64526034591
75723389955947   MARVIN          PORTILLO                 CA           90011153899
75724655671921   NIKKI           GRUBBS                   CO           90013006556
75729684355947   JEFFREY         NELMS                    CA           90012146843
75732726257129   DARIO           JIMENEZ CASTRO           VA           90008537262
75733882433698   DONALD          KELLY                    NC           90011128824
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75742941541237   MARLYCE         WERTENBACH               PA           90013379415
75745251931433   CHARLENE        DONOHOUE                 MO           90013532519
75761158255947   BOBBY           MUNIZ                    CA           90012461582
75767277257157   JOSE            VANEGAS                  VA           81048242772
75778626333699   RICARDO         HERNANDEZ                NC           90002276263
75783328531433   CHERYL          NOACK                    MO           90008683285
75792755655947   MIKE            JOHNSON                  CA           90003467556
75793817571921   MEGHANNE        DIAZ                     CO           90014338175
75796567481645   LASHAE          SHAW                     MO           90012775674
75797619255939   MARTIN          RODRIGUEZ                CA           90000666192
75799957831433   JAMI            HINTON                   MO           90013209578
75816246871921   RICKY           WILLIAMS                 CO           90013282468
75819238171921   CATHERINE       ROWLAND                  CO           90012602381
75819718381645   ALEJANDRO       NORIEGA                  MO           90012937183
75825934885945   APRIL           RAGLIN                   KY           67059969348
75829158581633   JENNIFER        GANT                     MO           29003071585
75829175831433   MARK            JHOW                     MO           90012411758
75832358771921   MICHELLE        MEAD                     CO           90013623587
75833968681645   KHALIL          WARE                     MO           90014879686
75842468733698   EMMANUEL        ALVARAZ                  NC           90001174687
75857236133698   RENEE           STATON                   NC           90001942361
75861363541237   CHRISTOPHER     DEPAOLO                  PA           90011103635
75867123685995   BRANDI          COYLE                    KY           90002551236
75868743155947   AIOTEST1        DONOTTOUCH               CA           90015117431
75873346881645   TODD            BEHR                     MO           90012573468
75876757155939   RYKER           RODRIGUEZ                CA           90010397571
75894862755947   BRISEYDA        ENRIQUEZ                 CA           90012278627
75896895355947   JAMES           ROMLEY                   CA           90012418953
75897115441253   GEORGE          BRICE                    PA           90013411154
75897921241253   JOY             JOHNSON                  PA           90014499212
75899435781645   ANTHONY         ROWDEN                   MO           90004414357
75923947731433   JULIA           ALLEN                    MO           90004229477
75925687133698   KRYSTAL         ROSSER                   NC           90014856871
75936834771921   MARIO           VALLEJO                  CO           90013038347
75945569371921   ELOY            CHAVEZ                   CO           90012115693
75951899557474   ISRAEL          LUNA                     IN           20596008995
75963269741237   TIFFANY         GARRETT                  PA           90014852697
75964248785945   ERNST           HALE                     KY           90011712487
75975374281645   HUGO FERNANDO   CASTANEDA DE LEON        MO           90013433742
75985167786433   ELIZABETH       OPLED                    SC           90015091677
75985481433698   DARON           DAVIS                    NC           90012334814
75992197744344   RONALD          EDMONDSON                MD           82087531977
75998118833699   JOSE            GRANADOS                 NC           12086961188
75998397631432   RITA            HESSE                    MO           27510253976
76111213941253   PASCAL          ETRIPLET                 PA           90011982139
76111387971921   LUCITA          TURNER                   CO           90014493879
76111666755966   ANGEL           GOMEZ                    CA           90002906667
76112863772479   JEREMY          THEAKSTON                PA           90014068637
76115494881633   FRANK           MORALES                  MO           90009114948
76115866871921   KEVIN           MCCURLEY                 CO           32027928668
76126254241229   ERIKA           SCHULTZ                  PA           90008922542
76128315355939   ULISES          CORTEZ                   CA           48083253153
76129231355947   MARTHA          LOPEZ                    CA           90011192313
76129541371921   JOSE            CHAVEZ                   CO           90011165413
76145533371921   JOHNATHAN       MCCORD                   CO           90013015333
76153566325144   ANDREW          HARMON JR                AL           90013805663
76155117151355   CHARLES         WYNN                     OH           66095261171
76163955541237   DEVIN           MORRIS                   PA           90014019555
76168665831432   KELTON          JENKINS                  MO           90013006658
76168752541227   VERNON          SALTERS                  PA           90012567525
76172447957144   ISRAEL          VEIZAGA                  VA           90010874479
76181989691266   EMMA            GRAHAM                   GA           14592839896
76185134993739   NOEL            RODRIGUEZ                OH           90014631349
76189639355966   MARIA           CISNEROS                 CA           90014786393
76212144931621   KRYSTAL         SOLORIO                  KS           90006391449
76232873972479   CRIS            MARTIN                   PA           90013718739
76233724755966   ELVIA           VILLARREAL               CA           90014807247
76234468255939   KARINA          CAMPOS                   CA           48026744682
76242957471921   GLORIA          LESSO                    CO           32098299574
76254974141237   ANDREA          KISH                     PA           90012989741
76255517855947   JODYANN         OSBOURNE                 CA           90009355178
76259331351391   MARQUIA         WILSON                   OH           90008413313
76262883455947   EL              BLUE                     CA           90012858834
76264949441253   CHARLES         SPENCER                  PA           90014679494
76265584281633   HAJAH           HAJAH KAMARA             MO           90014155842
76265871651355   SHANNON         VEHR                     OH           90012118716
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76273683333698   SHAWN           HENRY                    NC           90010176833
76279356972479   ROBERT          LAATU                    PA           90014603569
76279893331432   RHONDA          WEBER                    MO           90000578933
76282242451355   MICHELLE        TSCHEINER                OH           90014462424
76286333472479   JOHN            GOOD                     PA           90013583334
76286563141227   DAVID           LESNESKI JR              PA           51014745631
76298491641227   SEAN            JONES                    PA           51055874916
76299491641227   SEAN            JONES                    PA           51055874916
76317672955939   TOMAS           PIZANA                   CA           90006606729
76318425641227   WESLYNN         JONES                    PA           90004334256
76319728255966   CARLOS          ZEPEDA FLORES            CA           90006807282
76323176755947   YESSICA         RODRIGUEZ                CA           90013831767
76323834141227   KARRI           THREETS                  PA           90006378341
76325187655939   YULIANA         GARCIA                   CA           90010711876
76326989291993   CONSWELLA       PLEASANTS                NC           90011129892
76327625855957   APRIL           JAURIQUE                 CA           90007756258
76333897131432   ANJANETTE       SPIKES                   MO           90014648971
76339336571921   LAURA           DUFF                     CO           32076943365
76355183872421   JAMES M         IAPALUCCI                PA           51028191838
76361446241237   ALEXIS          YOUNGER                  PA           90011114462
76364586691993   SHIRLEY         RUTLEDGE                 NC           90009785866
76385632493739   ROSEMARY        WITMARSH                 OH           64549596324
76387724872479   PATRICIA        BURKETTE                 PA           90005247248
76395196931443   JOYCE           SMITH                    MO           27568271969
76395383441237   KEVIN           YOUNG                    PA           90010013834
76396871293739   JAVION          HILL                     OH           90014848712
76417152641227   ELIZABETH       ZMITRAVICH               PA           90002051526
76423689581633   MICHAEL         SMITH                    MO           90010296895
76426292171921   RICHARD         CONNELL                  CO           90012692921
76434255881633   COURTNEY        SIMPSON                  KS           90002042558
76435942641253   AMANDA          BOWLING                  PA           90014609426
76438567131432   TRENIECE        SUTHERLIN                MO           90012725671
76451219641237   DEANNA          GARNER                   PA           51078852196
76458268851355   EDGAR           GABRIEL                  OH           90014652688
76459592433698   ERICA           MATIER                   NC           90011305924
76473967872479   KRISTOPHER      BROWN                    PA           51030359678
76476139931432   RYAN            BLANCHARD                MO           90010381399
76478394172479   LAMONT          CLARK                    PA           90014623941
76484898641253   MATTHEW         PAWLAK                   PA           90012518986
76496675951355   KAREN           BUCIO                    OH           90012466759
76496684871921   REBECCA         VANBUSKIRK               CO           32040916848
76497793991993   CARLOS          CHAVEZ                   NC           90011547939
76512188755947   SONIA           HERRERA                  CA           90010991887
76515484671921   DAVID           AGUILAR                  CO           90014434846
76535977355939   MARISOL         GARCIA                   CA           48056459773
76554294461998   RUBEN           SOLANO                   CA           90010532944
76557646881633   CHRISTINE       GARGIA                   MO           90012246468
76557939871921   JACQUELINE      EVANS                    CO           90012649398
76578142671921   KATHRYN         MCAN                     CO           90015121426
76584346741253   ZECHARIAH       WHITE                    PA           90014453467
76594331655947   LUCINA          HERRERA                  CA           90014823316
76611597655939   CAROLINA        RUIZ                     CA           90012555976
76612556631432   KARNIESHIA      BARRETT                  MO           90007705566
76616943831432   BREAUNA         WILSON                   MO           90003429438
76622738181627   TAJUANE         LISTER                   MO           90000957381
76626333351355   JEROMY          FRY                      OH           90013643333
76627288293739   SAMANTHA        SHILL                    OH           90012872882
76631761793739   MICHAEL         MILLS                    OH           90013937617
76642619251355   MILTON          BROWN                    OH           90008866192
76652213772479   L BYRON         WEST                     PA           90006332137
76659522255947   TERRELL         THOMPSON                 CA           90013785222
76673377655939   MANUEL          VALLE                    CA           90011313776
76677354393739   BRIAN           SMITH                    OH           90011033543
76678856355939   CRISTIAN        ORTIZ                    CA           90003598563
76696418593739   DESTINY         HUBBARD                  OH           90011034185
76697539955947   CARLOS          HUMBERTO                 CA           90013975399
76717646191892   BECKY           PORTER                   OK           90013256461
76717749455947   CYNTHIA         HERNANDEZ                CA           90014757494
76717776993739   THOMAS          ADAMS                    OH           90013937769
76726894155939   FRANCISCO       CORONADO MEDINA          CA           48002608941
76732379555939   VERONICA        RODRIGUEZ                CA           48063383795
76734682881633   TOM             SMITH                    MO           90013876828
76737862281633   JONEA           CHARLES                  MO           90006648622
76741376391993   JOSE            MARTINES                 NC           90007073763
76745471181255   JEFFERY         PARKS                    KY           68077234711
76751537771921   KARL            FRONDA                   CO           32002935377
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76752444672479   AMANDA          LOCY                     PA           90014794446
76757687655996   GLADIZ          DIAZ                     CA           48003216876
76764592491521   EDWARD          RUIZ                     TX           90010735924
76772723547987   JUAN CARLOS     SILVA                    AR           90010147235
76788641181633   ROBERT          JORDAN                   KS           90013776411
76797194631432   CARTER          BLUE                     MO           90009701946
76812276281633   LETITIA         ENGLISH                  MO           90010392762
76812983841237   MICHEAL         SMITH                    PA           90000159838
76819336693739   MAC             WARD                     OH           90010543366
76819389793739   NATURE          ROSS                     OH           90013243897
76823917972479   MARSHA          CHAMBERS                 PA           90002439179
76835549144344   CARLOS          MURILLO                  VA           82038935491
76835818472479   SUSAN           CALDWELL                 PA           90010168184
76841497271921   SANDY           HUGHES                   CO           90010044972
76842396872479   RANDY           EARLEY                   PA           90002543968
76847278633699   SHAKIRA         CAMPBELL                 NC           90005842786
76847719491993   JAQUELINE       MIDENCE                  NC           90011237194
76855212731432   RYAN            KAVANAGH                 MO           90014802127
76857814641237   JOSH            MARLING                  PA           51006068146
76873711155947   TAMEKA          CROCKETTS                CA           90014337111
76874147933643   ARISTIDA        TORREZ                   NC           90011661479
76877529431426   TIMOTHY         NORATH                   MO           90010685294
76877631451355   GIOVANI         SALGADO                  OH           90012946314
76878974255939   MARIA           MADUENA                  CA           90008639742
76883276841253   MICHAEL         VIDNIC                   PA           90011982768
76886169572479   PRESCOTT        PRANKE                   PA           90012231695
76894966451355   LISA            STIDHAM                  KY           90013799664
76919545684329   DOROTHY         BLACKBURN                SC           90004865456
76937487551355   MARY            JORDAN                   OH           90010794875
76949548131432   RAI             MONI                     MO           90012465481
76955516931432   INDIA           HATCHER                  MO           90006935169
76982934155939   EILEEN          CARROSA                  CA           90011489341
76988821191969   HUGO            ANGULO                   NC           90012218211
76995811591993   MONICA          AGUIRRE                  NC           90011248115
76997197372479   AMANDA          AUSTIN                   PA           51095571973
76998345951355   KEYANA          BROWN                    OH           90012863459
76999122855939   YADIRA          RODRIGUEZ                CA           90003601228
77111378131443   BRIANNA         LEE                      MO           90012923781
77111811341253   ISRAEL          HILL                     PA           90011188113
77112954551368   RENY            GRAY                     OH           90004389545
77115833381633   DAVID           WILLETT                  MO           90014538333
77116156931443   AMBER           DANCER                   MO           90011251569
77122357881633   YOLANDA         WALKER                   MO           90013443578
77128978691588   MARIA           RODRIGUEZ                TX           90007889786
77135557755947   HUBER           MEDRANO                  CA           90013875577
77135828731433   CHRISTY         HUNT                     MO           90006968287
77153612193739   WILLIAM         SEAL JR                  OH           64531106121
77162173433698   BARRINGTON      MILLNER                  NC           90013151734
77164942371921   JERRY           JONES                    CO           90010619423
77168317331432   HALL            CARLE                    MO           90009843173
77177476341241   MARY            ANN DEAN                 PA           90012224763
77177477331482   JAMECIA         GILCREASE                MO           90013124773
77196576241237   GERREN          WASHINGTON               PA           90008795762
77211139571921   LUCIA           MALDONADO                CO           32053161395
77218974791588   MANDY           FUENTES                  TX           90004209747
77234264331433   DWAYNE          KENNELL                  MO           90013192643
77239116491588   BEATRIZ         SANCHEZ                  TX           90014321164
77241397655969   TINIDAD         VERONICA MORENO          CA           90013233976
77241512961985   CHRIS           HIGGINBOTTOM             CA           90009595129
77241575941237   CHRISTINA       LEONARD                  PA           90015055759
77246885831432   SANNI           DALIPI                   MO           27512728858
77254677133698   LAQUIS          COBBS                    NC           90012946771
77263558131443   HOLLY           LOEHR                    MO           90013405581
77266583631443   CLAUDIA         HIGGINS                  MO           90013595836
77267452991588   MIGUEL          SEGOVIA                  TX           90010654529
77277117891588   MIRIAM          CASTRUITA                TX           90014321178
77281381693739   DEMARRION       SMITH                    OH           90013063816
77282899741227   TASHA           SPENCER                  PA           51085258997
77285787391588   ZAIRA           SALINAZ                  TX           90010167873
77291283931443   STACCIE         BELL                     MO           27570422839
77291587231432   KEYLA           SMITH                    MO           90008945872
77293512841253   MARIA           LOPEZ RENOJ              PA           51047235128
77297332355969   LUIS            SALCIDO                  CA           90010363323
77297355431443   CROWS           SEVEN                    MO           90008553554
77317122833698   MARIA           DIBUT                    NC           90010431228
77321767241237   GEORGE          KORDISTOS                PA           51036037672
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77326434981633   MARIA           CASTRO                   MO           90015034349
77331324131443   TAIWU           KIM                      MO           90014183241
77332935191588   IVAN            GARDEA                   TX           90004969351
77335395571921   TINA            SPIELMAN                 CO           90009683955
77335417531443   WARDELL         MORGAN                   MO           27505044175
77343763291588   VERONICA        BENAVENTE                TX           75066937632
77348191391966   DESSENA         HILL                     NC           90010451913
77353531233698   SARA            WEEKS                    NC           90013205312
77354213191588   JOSE            CARBAJAL                 TX           90003812131
77364819931433   STEPHANIE       MOORE                    MO           90011098199
77367785971921   YOLANDA         LOPEZ-CHAVEZ             CO           90012127859
77377763931432   ELEA            JONES                    MO           90008997639
77396954861964   SHERRY          SUMMERS                  CA           46053709548
77418195691588   ERIC            PRIETO                   TX           90011321956
77418879291588   VIRGINIA        LUPERCIO                 TX           90011678792
77421856331432   LASHAWNDA       COLEMAN                  MO           90010028563
77428283531443   RYAN            RISK                     MO           27578252835
77431578755947   LUK             SOCHERTRA                CA           90005755787
77437464441237   YVONNE          GARNER                   PA           90000764644
77439435581633   JULIE           SMITH                    MO           29083804355
77443373291588   NANCY           HERNANDEZ                TX           90012583732
77446754241237   TERIANN         FIFE                     PA           90010987542
77447989931433   PATRICIA        A RASPONI                MO           90012509899
77449891131433   DAWN            PYATT                    MO           90000908911
77454346531433   QUINCHAE        ROBERSON                 MO           90013263465
77457263993739   DAVID           EKBERG                   OH           90000492639
77464279631443   ORLANDO         LUCKETT                  MO           27584382796
77464815491933   MICHAEL         JOHNSON                  NC           90006898154
77467756571921   MARION          SCOTT                    CO           90012757565
77469383341253   SHANNON         VISCONTI                 PA           90002923833
77481426855969   MARIA           ESPARZA                  CA           90013234268
77481659241253   KERRY           MARTIN                   PA           90003236592
77491997855969   ANTHONY         SANDERS                  CA           90012849978
77493166181633   ELIAS           GARCIA                   MO           90011891661
77493765831432   CAPRI           GARRETT                  MO           90013817658
77495883541227   CHARLES         LEE                      PA           90007438835
77513417155969   VICTORIA        RAYO                     CA           90013854171
77514771651368   LISA            WEST                     OH           90008497716
77517169431432   LASANDRA        EDWARDS                  MO           90014991694
77519353381633   SYDNEY          PRECHT                   MO           90014623533
77523734372479   MARY            SISLEY                   PA           90014137343
77535633281633   JENNIFER        CINCOTTA                 MO           90010696332
77542486631433   ANTONIO         GREEN                    MO           90011534866
77553842231433   HEATHER         LIVINGSTON               MO           90015308422
77554526155969   BONNIE          MOLINARA                 CA           90009825261
77554974655947   CHRISTOPHER     HAYS                     CA           90012999746
77563733555969   TONY            WILDEY                   CA           90010217335
77579482871921   MARA            TOKALIJA                 CO           90010994828
77581712281633   SARAH           GUETTERMAN               MO           29071197122
77584883855947   DIEGO           TZOC                     CA           90010938838
77585221933699   TONY            DENOFRIO                 NC           90003832219
77587284881633   NATALIE         SEARS                    MO           29005622848
77594462231432   TRENAY          WILLIAMS                 MO           90010974622
77594985993739   ALDO            MEDINA                   OH           90012729859
77595747381633   MANUEL          ALVAREZ                  MO           90014787473
77599638631432   KYLE            HARVEY                   MO           90011896386
77615612893739   DAVID           NORMAN                   OH           90013686128
77616623171921   RWAYNE          THOMAS                   CO           90011066231
77619837433698   ZARED           JONES                    NC           12031908374
77628913541253   MELISSA         GEORGE                   PA           90013399135
77641199941227   EDWARD          HARGROVE                 PA           90011391999
77647754355969   LORENA          ORTIZ                    CA           90010217543
77649278641227   BRENDAN         ATCHISON                 PA           90004892786
77653988131433   DAISY           LATHAM                   MO           90002439881
77662367991588   ILIANA          DAVILA JANETTE           TX           90013683679
77663743641237   MEGAN           QUINN                    PA           90012387436
77664224531435   TERRELL         NICHOLSON                MO           90011592245
77664374991588   JONATHAN        VASQUEZ                  TX           90013303749
77668558372479   TERRI           PAYNE                    PA           51025455583
77674749271921   KEITH           CARTER                   CO           32090757492
77675665231432   HILLARY         CLAMPETT                 MO           27508786652
77678671755969   VANESSA         TORRES                   CA           90010336717
77685758733698   DAVID           ALSTON                   NC           90014897587
77693554181633   TIMOTHY         CARROLL                  MO           90014975541
77712243691588   LAZARO          CASTANEDA                TX           90001372436
77715991555969   MAUREEN         SIFUENTES                CA           90008689915
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77719598371921   STACY           BARNES                   CO           90007765983
77725138191588   IVAN            DEL RIO                  TX           90014321381
77733212581633   KANITA          AVIS                     MO           90015162125
77753455531433   CYNITRA         GARDNER                  MO           90011114555
77763193491588   ARACELI         GALLEGOS                 TX           90014231934
77765287931432   JALISSA         HALKMON                  MO           90013202879
77765368141253   KAYLA           HOYLE                    PA           51082723681
77767537541227   GENNIE          SHELBY                   PA           90000255375
77773733272479   SARAFINA        PACE                     PA           90006767332
77777243631433   JOSHUA          DENNIS                   MO           90009912436
77786238931443   VANESSA         WHITEHEAD                MO           90011262389
77792831761975   STEPHEN         HERNANDEZ                CA           46066068317
77818447931443   PATRICE         HAYMON                   MO           90012524479
77831111655969   GERARDO         RIOS                     CA           90013861116
77834751291588   ALEJANDRO C     P SAENZ                  TX           90009587512
77843871693739   TAMIE           NORMAN                   OH           90000268716
77844226772474   ZACHARY         MYCYK                    PA           51023962267
77846377955947   JAVIER          VEGA                     CA           90012113779
77848139181633   SHEANTE         TAYLOR                   MO           90015301391
77848537951368   ALLISON         SMITH                    OH           90006785379
77856365231433   SHANTA          JOHNSON                  MO           90011193652
77866259791588   ALEX            RODRIGUEZ                TX           90013242597
77871319941253   JEFF            BEERS                    PA           90012473199
77911746493739   DORIAN          NEVINS                   OH           90014507464
77912348855931   GABRIEL         PRINE                    CA           90011813488
77916344871921   SHAWN H         CRAWFORD                 CO           90007233448
77923495455947   DANIELA         RODRIQUEZ                CA           90010024954
77924741231433   LUMPKINS        CHRISTINA NICOLE         MO           90008977412
77924829733698   TYRONE          HAMPTON                  NC           90013918297
77927829733698   TYRONE          HAMPTON                  NC           90013918297
77944634993728   CRYSTAL         LAUGHMAN                 OH           64514476349
77957611333698   WILLIAM         ADAMS                    NC           12045866113
77964612541273   CAROLYN         SLOAN                    PA           90007366125
77975282793739   JACQUELINE      BERRY                    OH           64507592827
77976426591588   LESLEY          GARCIA                   TX           90010344265
77997796655947   MARTHIN         GARCIA                   CA           90013057966
78112491341237   MICHAEL         TURNER                   PA           90011004913
78124362993739   DAVID           CRIDER                   OH           90012753629
78127635891588   LORENA          DURON                    TX           90008586358
78138122951348   BRANDI          GARRETT                  OH           66010191229
78138834661994   ALONSO          LOPEZ                    CA           90010678346
78148388191522   VALERIE         PEREZ                    TX           75079943881
78151768393739   NICOLE          MARTIN                   OH           90012347683
78163421293739   ORONDE          CLARK                    OH           90009374212
78169781171928   TIM             STEVENS                  CO           90013697811
78174177791588   ANTHONY         LOPEZ                    TX           90014601777
78176821593739   AATAYA          MOLETTE                  OH           90011558215
78182872271921   CLOVER          BAKER                    CO           90013458722
78192698651348   HAYLEE          COUSINO                  OH           66005966986
78194462841237   TOM             BISCHOFF                 PA           51014324628
78199279685945   JOYCE           FOSTER                   KY           90005852796
78217227871921   JODY HOPE       SARINAS                  CO           90013992278
78218835871921   SEAN            MORRIS                   CO           90014418358
78225659951348   ANGELA          YOUNG                    OH           90006126599
78227431184322   STEVEN          MCNULTY                  SC           14500944311
78248464251348   JEANN           JORDAN                   OH           90011364642
78251292584384   JAIME           MORALES                  SC           90001422925
78251779571921   SHANNON         HARTT                    CO           90012897795
78258197791588   MARGARITA       SAMORA                   TX           90008621977
78259471591588   SERGIO          LUNA                     TX           90012974715
78261592755969   VANESSA         MADRID                   CA           90013065927
78265689951348   LENA            PIERCE                   OH           90013856899
78267432471921   TREVOR          JACOBSON                 CO           90010984324
78269549731443   KEYONNA         CRAWFORD                 MO           27515915497
78277768855947   NOAH            MUNSEY                   CA           90014077688
78281673384322   MELANIE         HOBLER                   SC           14575996733
78282896855969   FELIX           LOPEZ                    CA           90014958968
78284836731433   STACEY          RAINBOLT                 MO           27581768367
78294427851355   JUANA           BURGOS                   OH           66073894278
78296777441253   MARGARET        CULLIVER                 PA           90012937774
78297941655939   JUANA           ZAVALA                   CA           90008549416
78318383531433   ASHEY           MOORE                    MO           90014853835
78329634433698   RUBEN           ALCOMENDAS               NC           90011746344
78337271385945   TORREY          PHILON                   KY           90011622713
78338858251348   NAOMI           BOEDICKER                OH           90011328582
78342426193739   AMOS            HARRIS                   OH           90009424261
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78343869333658   LETICIA            TSHIPAMBA             NC           90001708693
78345765531433   DANNEN             CLARK                 MO           90014117655
78348874455939   RODRIGO            HERRERA               CA           90012358744
78351922155969   OLIVIA             ARREDONDO             CA           90012999221
78354548651348   STEPHANIE          LATHAM                OH           90010965486
78355233755934   HECTOR             RODRIGUEZ             CA           90010452337
78359494371921   BLAINE             SPRATLEY              CO           90012424943
78359613533698   CRYSTAL            MILES                 NC           12010026135
78373149971921   CAROL ANN          BATES                 CO           90011471499
78374718641237   SHAWN              GROOMES               PA           90000857186
78377964651337   TEKI               FOGGIE                OH           90010599646
78383425893739   KIESHA             EDWARDS               OH           90012734258
78395924955947   STELLA             ZAPATA                CA           90012829249
78399179293739   TEIA               BANKSTON              OH           64567821792
78414524493739   FLICIA             LOGGINS               OH           90014575244
78416796191572   JOAQUIN            LABRADO               TX           90007727961
78419838631433   ARTHUR             JACKSON               MO           90014768386
78428734491588   DANIEL             MARQUEZ               TX           90010137344
78441628841237   LATONYA            WHITE                 PA           90012256288
78443467831432   DANIELLE           WILLIAMS              MO           90014604678
78446477471921   AMY                MARTINEZ              CO           90010654774
78449956971921   DANIEL             TELLEZ                CO           90001489569
78451231451348   JESSICA            BUSSIE                OH           90012022314
78451858655947   KAREN              JAUREGUI              CA           90013168586
78452217391588   CYNTHIA            CRUZ                  TX           75067332173
78455161333624   CHAYANE            MCKINNEY              NC           90012551613
78458689471921   ROBERTA            O'GILVIE              CO           32079356894
78462277841237   DOROTHY            DANCY                 PA           90014622778
78474382651355   BRINA              MEDELLIN              OH           90009533826
78481727331433   JEANETTA           JOHNSON               MO           90015067273
78482278531432   CRYSTAL            GREGORY               MO           90002532785
78483269831432   LAUREN             WRIGHT                MO           90009262698
78484642755947   JESUS              ALVARENGA             CA           90010996427
78485993655939   MICHAEL            MEAVE                 CA           90014509936
78497153551348   STEVE              CHARLES               OH           90013421535
78513181455969   AMY                MESSERLY              CA           90008451814
78514584551586   JESSICA            CASHMAN               IA           90014015845
78522248293739   BRITNEY            ELOFSKEY              OH           90004222482
78526693671921   TRACY              KLOEFKORN             CO           90007276936
78531796251378   SARAH              AKERS                 OH           90013007962
78533262651348   GREG               RILEY                 OH           90010912626
78534734593739   AARON              CRUSHON               OH           90014077345
78539813591588   MARISELA           ESTRADA               TX           90011168135
78543946133699   CESAR              ROSALES GONZALEZ      NC           12002609461
78545285984322   YESENIA            GUZMAN                SC           90006782859
78551517251348   MARSHALL           RUSNAK                OH           90012385172
78556229641237   DARLA              RUSSELL               PA           51075052296
78572995855947   ERICA              CARDENAS              CA           90013049958
78573152571921   PAYGO              IVR ACTIVATION        CO           90012591525
78579863155939   ERASMO             DIAZ                  CA           90010038631
78581777141227   KRISTINA           LAURENCE              PA           51010987771
78583675955947   SHANICE            NGOV                  CA           90005506759
78592784241237   JOSEPH             COOK                  PA           90014887842
78593466555939   JONNY              JIMENEZ               CA           90014884665
78595722655939   KARLA              ARAUJO                CA           90011987226
78598681155969   MAYRA              OLEA                  CA           90012066811
78614493471921   ANNETTE            MCMANUS               CO           90002134934
78617385991588   IVAN               MARTINEZ              TX           90013653859
78626393186451   TAMARA             RICE                  SC           90011163931
78628531531433   BENJAMIN-BARBARA   SLAY                  MO           90014935315
78631271131433   JASONNA            HUNLEY                MO           90011042711
78633369941253   ROBERT             PULSON                PA           90013913699
78634934855947   KELLIE             PAYNE                 CA           90011029348
78646172991939   ISAAC              YORK                  NC           90010561729
78647179391588   SERGIO             VASQUEZ               TX           90013931793
78656612691952   DEDE               JONES                 NC           90014796126
78659169831433   SHAWNA             FRANKLIN              MO           90007891698
78664277841237   DOROTHY            DANCY                 PA           90014622778
78675158493739   JAMES              KYNE                  OH           64560271584
78687868391588   LUIS               BARRAZ                TX           90014438683
78693656155939   DIEGO              BORUNDA               CA           90010226561
78694945641253   NINI               HLAING                PA           90012289456
78696412555969   SHEENA             LUNA                  CA           90008984125
78696468171921   BRENT              DAMRON                CO           90013164681
78698351551348   KELLY              CAUDILL               OH           90007403515
78698844493739   CHRISTINA          LONG                  OH           90008378444
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78714622871921   SHAUNA          HECKMAN                  CO           90007946228
78725865581633   JESSICA         BATTON                   MO           90013768655
78733373391588   RIVERO          ROSENDO                  TX           90012183733
78735452251355   BRAXTON         PRATT                    OH           90014534522
78735789293739   SHALYNNE        ROOKARD-MILLS            OH           90011227892
78735866851355   TERENCE         COLEMAN                  OH           90013208668
78736889671921   RAMON           MONTOYA                  CO           90009788896
78738543231433   CLARA           MCCOMBS                  MO           27505415432
78743575151348   MELANIE         FORNEY                   OH           90010085751
78761184933698   JESUS           ARELLANO                 NC           90005351849
78767812541253   SANDY           REYNOLDS                 PA           90007158125
78771767781633   VONZELL         SWAN                     MO           90015307677
78773428686436   GEORGE          FOY                      SC           90013864286
78775681271921   LEROY           PHILLIPS                 CO           90000606812
78777856141237   MELINDA         ERNY                     PA           51039618561
78777934781679   CONNIE          LAMKIN                   MO           29083109347
78789521851355   SANDRA          GARCIA                   OH           90014385218
78789912871921   CHRYSTAL        SANCHEZ                  CO           90012679128
78792372641237   JAMMIE          CLEMANTE                 PA           90011913726
78794551193739   JUAN            GOMEZ                    OH           90012065511
78816394755947   HEATHER         HUGHES                   CA           90011343947
78824265651348   DAVID           BUNNER                   OH           90014812656
78825112533698   JASMIN          BURRELL                  NC           90012591125
78835352493739   KALI            COLLIER                  OH           90013903524
78835882455969   ANA             HERNANDEZ                CA           90008558824
78837577981633   ANGELA          DALE                     MO           90010945779
78837931231432   DALFRED         TAYLOR                   MO           90010229312
78846844791588   CESAR           PONCE                    TX           90013238447
78851581341265   SUSMITA         GURUNG                   PA           90008945813
78851976555947   FERNANDO        BELTRAN                  CA           90012619765
78852278371921   DAVID           HENDRICKSON              CO           90012482783
78854541491588   STEPHANIE       TORRES                   TX           90013565414
78861463351355   BRANDON         STURGEON                 OH           90011734633
78862797155939   EMMA            HERNANDEZ                CA           48007577971
78864824551368   WANDA           WOODARD                  OH           90008298245
78871717971921   DEZARAY         ZOCARRO                  CO           90014457179
78875635231466   DEBORAH         NORMAN                   MO           27512036352
78884392555947   SOUK            POLSENA                  CA           90014553925
78891656481633   AURIOS          PERZO                    NE           29005986564
78893248481633   KELLY           DILLARD                  MO           90008912484
78894525541253   LAVONNE         JOHNSON                  PA           51043235255
78898812431432   HEATHER         NICOLAS                  MO           90014868124
78911457481633   LESLIE          ELLISON                  MO           29034104574
78914677731432   VICTORIA        RODGERS                  MO           90010376777
78921697651355   TAMARA          SCRATCH                  OH           90012796976
78929275581633   JENNIFER        GAULTER                  MO           90013852755
78931246993739   ROYAL           CURRY                    OH           90010652469
78934844493739   CHRISTINA       LONG                     OH           90008378444
78935128451355   LINA            LGWAL                    OH           90011091284
78937862171921   KAYLA           COX                      CO           90010088621
78938119944346   MALCOM          OWENS                    CO           90011141199
78938227741237   MARC            JACOB                    PA           90013852277
78951977231433   TYLISHA         WILLIAMS                 MO           90014759772
78955169531433   SHIRELL         HENRY                    MO           90013961695
78962786871921   CHRISTOPHER     GRONHAGEN                CO           90013027868
78967542871921   CARLOS          PACHECO                  CO           90010235428
78969399893739   RICHARD         CRON                     OH           90013413998
78972768431433   RICHARD         CONREY                   MO           90003887684
78976399191588   APRIL           GALVAN                   TX           75090323991
78977324571921   TERRY           WOODS                    CO           90014583245
78981466591588   LORENZO         MENA                     TX           90014374665
78984686191588   CHERYL          MARTINEZ                 TX           90011526861
78988723893739   CHRIS           BROWN                    OH           90013927238
78991529541237   SHAUNA          MCKOWN                   PA           90012785295
79114514455969   MARCOS          SOUSA                    CA           90013235144
79125826991952   FERNANDA        NOYOLA HERNANDEZ         NC           17008648269
79133564691588   ANA             NAVARRO                  TX           90010845646
79134227841253   DUSTIN          OLIVIER                  PA           90014702278
79135779241253   ARDRETTA        SCOTT                    PA           90008087792
79148112191969   KEILA           SALINAS                  NC           90013631121
79151527341237   TANAIA          KURKA                    PA           90010075273
79159423233698   LASHANA         WALL                     NC           90005694232
79159655331433   DEANDREAL       HERRON                   MO           90005596553
79162424655939   JOSE            MARIN                    CA           48076784246
79163847233651   ISRAEL          RODRIGUEZ                NC           90013418472
79167336551348   JENNIFER        KAVEN                    OH           90012983365
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79171839377524   ALEXANDREA         WURTHMANN             NV           90001078393
79182574957126   JOSE ROMEO         SANABRIA              VA           90010425749
79186491991969   JASMIN             GOLDSTON              NC           90001594919
79189531933698   JO                 SAWNEY                NC           90011365319
79191477671921   BARBARA            LAINEZ                CO           90012344776
79192337284384   DERRICK            NELSON                SC           90014113372
79199317861967   JESSE              BUSO                  CA           90008453178
79212351191942   ROGELIO            MALDONALO             NC           90011403511
79215732355947   EDDIE              ALVARADO              CA           90012207323
79215759455947   ALICIA             MYCETT                CA           90010427594
79217526241237   STACEY             MILLER                PA           90011395262
79221272633657   MINDY              TUCKER                NC           90012492726
79226396877524   DANA               WOOD                  NV           90002183968
79232317241237   LINDA              ROSS                  PA           90012653172
79232387971921   LAURA              SANCHEZ               CO           90011113879
79233464493767   LEONIA             JONES                 OH           90006194644
79233671271921   JUDY               SLAUGHTER             CO           32085086712
79236173692828   BERNARDINO         FABIAN                AZ           90014431736
79239332555947   OZIEGBE            IDONI                 CA           90012803325
79239922155928   JOSE               MARTINEZ              CA           90012479221
79242638751355   TESS               SHARKEY               OH           90012386387
79243538391588   JENNY              GOMEZ                 TX           90014265383
79243698393739   LAKEISHA           WILSON                OH           90011816983
79258615455969   ANDRES             VALADEZ               CA           90015116154
79264712633698   REYNALDO           ARTEAGA               NC           90000427126
79269155271921   HIPOLITA           PEINADO               CO           90011741552
79278178891588   VERONICA           ECKENROTH             TX           75097571788
79281716455939   MARTHA             ALATORRE              CA           48086727164
79291513151348   LAKESHA            KELLY                 OH           90013775131
79291986693739   REDA               ELIDRISSI             OH           90009979866
79311995891588   ERICK              ZAMBRANO              TX           90013739958
79314895555947   AARON              DELGADO               CA           90013088955
79317467655947   STEPHANIE          MORAN                 CA           90014654676
79321846455939   SUSANA             DIAZ                  CA           90011168464
79322647141237   COLBY              WEAVER                PA           90010286471
79323172891588   MARIA              TARANGO               TX           90013551728
79323358355969   KEITH              WEMMER                CA           90012513583
79323711381633   DONALD             DOLES                 MO           90013817113
79326439971921   AHBREYONNA         STURLAUGSON           CO           90014404399
79326648541253   RICHARD            SIMMONS               PA           90013696485
79334376133698   KERA               BELL                  NC           90013553761
79334447441237   RIKKI              SMALLEY               PA           90002674474
79344686361967   MARIA              LOPEZ VERA            CA           90014886863
79347521891588   TODD               MURPHY                TX           90014115218
79352397755947   FRANKIE            CONTRERAS             CA           90014633977
79357514781633   JULIV              MARTINEZ              MO           90014175147
79359528591588   ASHLEY             GALINDO               TX           90014115285
79362878551368   MALIKAH            HALL                  OH           90000788785
79363346381633   JENNIFER           SHADDOX               MO           90011123463
79366338355947   JESSICA            SALAZAR               CA           90012743383
79371526155947   LUZ                GARCIA                CA           90011515261
79374278571921   JOSE               ARCHULETA             CO           32012872785
79375538193728   TANYA              ROHRBACK              OH           90005015381
79377224593739   BRIDGITTE          GAMBLE                OH           90011822245
79382531655939   CHRISTOPHER        JUAREZ                CA           90014445316
79385283341237   MELISSA            MARTINEZ              PA           90012422833
79411856755939   ELIVETH            MANCILLA              CA           90014698567
79412925371921   ANDREA             JOHNSON               CO           90013319253
79427596441227   THOMAS             PASTORES              PA           90013465964
79431549841237   JESSICA            POLOWSKY              PA           90013205498
79432684771921   TYRONE             NELSON                CO           90013906847
79434513151348   LAKESHA            KELLY                 OH           90013775131
79438619341237   ANGEL              MILLS                 PA           90010326193
79453474641237   WYATT              ROBINSON              PA           90014834746
79454851941253   KIMBERLY           HUGHES                PA           90007958519
79456435233698   KIM                KIM                   NC           90014314352
79456595441253   JAMIL              POSEY                 PA           90008185954
79458882471955   BRANDON            DIAZ                  CO           90011458824
79463293357133   NELSON ALEXANDER   CABEZAS               VA           90007922933
79465589771921   SHAUNA             MATTHEWS              CO           90011525897
79469179641227   JULIE              LUDOVICI              PA           90012441796
79473262571921   ANTHONY            QUINTANA              CO           90009472625
79473558933698   RUBY               MARSHALL              NC           90014795589
79474269593739   LESLIE             BLAKES                OH           64548282695
79475153872431   HAZEL              BOYD                  PA           90005421538
79475957555939   BLANCA             RIVERA                CA           90004789575
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79482385691322   ROBERT          RAMSEY                   KS           29095053856
79483681166143   KHAMPHASONG     DONGDILATH               CA           90014276811
79488754871921   JAMES           HOBDY                    CO           32069747548
79489551961967   JOLENE          FRAKER                   CA           90011755519
79493179371921   GRECIA          DELEON                   CO           90011971793
79493493251355   JACQUELYN       FRIDLEY                  OH           90010644932
79495222681633   DERIUS          HENDRICKS                MO           90014762226
79497925281633   SERGIO          RIOS                     MO           29093809252
79498248392825   ROSE            NELSON                   AZ           90014392483
79522579933698   JERMAINE        JARVIS                   NC           90014805799
79522721151326   MICHELLE        SORRELL                  OH           90010737211
79525954955939   JAIME           HERNANDEZ                CA           48077029549
79527986541253   CHRISTOPHER     IOCCA                    PA           90012609865
79532392891588   ROSALINDO       VELARDE                  TX           90014413928
79536739355939   MARIA           VALDOVINOS               CA           90011527393
79538859993736   DEVANTE         WALTER                   OH           90001048599
79541448491549   CRYSTAL         SPRUCE                   TX           90012584484
79545794955939   ART             GARIBAY                  CA           90012967949
79552156493739   MELODY          JONES                    OH           64518181564
79559973155969   VANESSA         OLIVERA                  CA           90014009731
79562166741237   FRANK           WAGNER                   PA           90013071667
79568177655939   JOEL            MORENO                   CA           90014861776
79571449855939   NOEMI           MENDOZA                  CA           90007554498
79581459655939   ALEJANDRO       PORRES                   CA           90013854596
79581766561967   ANALI           ROMERO                   CA           90011897665
79588944551355   KATRINA         KEARNEY                  OH           90008049445
79589773651355   GENA            SANTILLAN                OH           90014267736
79595811281633   TOY             ROBERTSON                MO           90014878112
79597425971921   VICTORIA        OLMEDO                   CO           90013004259
79599356651348   RANDALL         MARTIN                   OH           90014063566
79616466681633   JADA            BLEIVINS                 MO           29019214666
79621936455957   IGNACIO         BUENROSTRO               CA           90013529364
79628488671921   TUOI            NGUYEN                   CO           90013934886
79631583933447   BRITTANY        HARTZELL                 AL           90012485839
79632882293739   ANGELA          PATTERSON                OH           64514278822
79639638541253   JAMAR           HAMMOND                  PA           90014356385
79641335471921   ALBERTO         ZARATE                   CO           90009553354
79648427341253   JAY             RIVERO                   PA           90015094273
79648524771921   DARRIE          BALLARO                  CO           90013935247
79654996741237   MIKE            THOMAS                   PA           90007049967
79659218155969   LUIS            CISNEROS                 CA           90013322181
79667878855947   RITA            GUERRERO                 CA           90000838788
79676355133698   MELVA           FLORANCE                 NC           12090623551
79676955655947   JESUS           HERNADEZ                 CA           90012829556
79677462555947   DESIREE         VALDEZ                   CA           90014834625
79691345133698   SHAMEKA         HUFF                     NC           90010763451
79694295531443   DEBORAH         SIMMONS                  MO           90013932955
79698518455939   JESUS           PEREZ JR                 CA           90009605184
79716394141237   STEPHANIE       ROCKWELL                 PA           90013193941
79724636255947   JOHNNY          HERNANDEZ                CA           90014646362
79731421655969   JEANNA          HUSS                     CA           90013734216
79732343241253   DEANNE          FERRAGONIO               PA           51024533432
79735571971921   RANDALL         MOSS                     CO           90013935719
79735637255947   EDDIE           MARTINEZ                 CA           90014646372
79738612355969   FRANK           STOVER                   CA           90010826123
79753998655969   ALICIA          ARELLANES                CA           48049829986
79754847491588   ROGER           FONTENETTE               TX           90014758474
79756447291588   VALENTE         ARELLANES                TX           90011304472
79764191261964   DAMIEN          WEICKS                   CA           90010621912
79764997491377   MEGAN           EUBANKS                  MO           90011069974
79766384691588   RICARDO         ESPARZA                  TX           90010743846
79778124741262   COSMO           PAREDES                  PA           90014811247
79778253691863   DARRELL         OLIVER                   OK           90013262536
79781135171921   CURTIS          WILSON                   CO           90008861351
79783172651355   JAMILA          KINEBREW                 OH           66027581726
79783755955947   JUANITA         YBARRA                   CA           90007137559
79784369391588   DANIEL          PINEDA                   TX           90010553693
79784478761967   DELAINE         ROLAND WARREN            CA           90010384787
79797976455969   LYDIA           RESENDEE                 CA           90014239764
79799391461967   ENDORA          FALACE                   CA           90011973914
79832539733624   SHERRELL        FATE                     NC           90013835397
79832892733698   DERICK          ROBINSON                 NC           90014538927
79833489451348   STEPHEN         JETER                    OH           90004384894
79834713561982   ALFRED          ADAMS                    CA           90009407135
79834839655939   RYAN            TAYLOR                   CA           90014868396
79837377251355   CHRIS           GEIER                    OH           90010493772
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79838783631443   CRYSTAL            BUTLER                MO           90010787836
79839879151347   CHARLES            ROSS                  OH           90013098791
79842983181633   DAWON              LACEY                 MO           90011079831
79843455491588   DEMARQUES          JOHNSON               TX           90009744554
79848813671921   MARLEANA           NELSON                CO           90009518136
79852126961967   LINDSEY            WILSON                CA           90011281269
79853428961967   RUTH               JIMENEZ               CA           90014504289
79862518191922   NATE               NORRIS                NC           90001905181
79863969631443   DENNIS             MOORE                 MO           90003729696
79868114355939   CLAUDIA            LOPEZ                 CA           90014551143
79871395955969   VERA               GONZALEZ              CA           90015213959
79872127155947   THY                DUNCAN                CA           90012241271
79872729241237   MONIQUE            WILLIAMS              PA           90015217292
79883391593739   PAMELA             BURKHARDT             OH           90010553915
79883573481633   JANEE              REED                  MO           90011495734
79884373941237   STACEY             DARKOWSKI             PA           90009463739
79888169755969   HECTOR             ARELLANO              CA           90015121697
79888459571921   LUIS               ZARATE                CO           90012214595
79912129855969   DANIEL             SANCHEZ               CA           90010461298
79914772357137   ROQUE              LOPEZ                 VA           81010627723
79928765455969   DAISY              SALGADO               CA           90014417654
79931876571921   CHEYENNE           KELLY                 CO           90013938765
79934567255947   PATRICIA           VASQUEZ               CA           90007945672
79942368661967   JOE LUIS           LOPEZ                 CA           90013923686
79944726531443   DANIELLE           BUTLER                MO           27540467265
79952744361967   CINDY              ESPINDOLA             CA           90013037443
79957216451355   ASHLEY             ALTER                 OH           90012682164
79963712255939   KARINA             GODINEZ               CA           90012067122
79965221281633   ERICA              WELLS                 MO           90011092212
79975354441237   TYRA               PERKINS               PA           90014573544
79975681861967   VEN JAVIER         GUERRERO              CA           90012556818
79984593855969   MERCY              DIAZ                  CA           90006985938
79987649751355   LATASHA            THOMPSON              OH           90005576497
79996818191588   ALEXA              PENA                  TX           90010638181
79999618754133   EMILY              DOWNING               OR           90009176187
81113547441275   AMANDA             DANZIGER              PA           90014575474
81123441741275   AITA               GURUNG                PA           90011484417
81127614747822   CHANELLE           HAMPTOM               GA           90014336147
81129797255945   LINA               CALLISON              CA           90009507972
81131919933698   DEQUISE            MAXWELL               NC           90010179199
81134974851362   MEDINA             LEOPODO               OH           90013129748
81145224441262   MALIKA             EVINS                 PA           90011752244
81157878651362   BRITTNEY           SHORT                 OH           90010338786
81164516397121   YURI               FIGAROA               OR           90014765163
81165428772432   PAUL               MCCLAIN               PA           90011944287
81166898391975   MIKE               WILLS                 NC           90011428983
81168518571977   CARLOS             RIOS                  CO           90010755185
81173924597133   JORGE              CAMPOS                OR           90010579245
81179561761983   CORINNE            PEARSON               CA           90011865617
81183612591525   BERVERLY           MARQUEZ               TX           75028436125
81187536441262   DAMIA              DAWKINS               PA           90014905364
81193556697138   GAUDENCIO          HERNANDEZ RIVEROS     OR           90014425566
81195457547897   KENNARD            ROYAL                 GA           90014864575
81195611591837   JESUS              VALDOVINOS            OK           90010766115
81196172797138   HOPKINS BAUTISTA   MARTINEZ              OR           90012741727
81196498572432   JOANN              KEKKEY                PA           90007864985
81213887685936   ELENA              ROLDAN                KY           90008308876
81215569391979   TEENA              BALLARD               NC           90014155693
81216975441275   IMMANUEL           MURIN                 PA           90008519754
81218719385936   MATTHEW            MCDOWELL              KY           90014777193
81222141971977   DANIEL             ANDERS                CO           90014271419
81223617897133   ROSARIO            SANCHEZ               OR           90009816178
81225335147897   NATHANIEL          SMALL                 GA           90015153351
81226111851357   WINONA             JACKSON               OH           90007631118
81238498697138   DAN                DEWOODY               OR           90012904986
81238754791944   JESSIE             MCDOUGALD             NC           90005607547
81239969397138   DAVID              SLAGLE                OR           90014999693
81243111851357   WINONA             JACKSON               OH           90007631118
81243877747897   JAVARIOUS          KNIGHT                GA           90013218777
81249958685856   TAURI              SEAVER                CA           90013979586
81253969997948   DARWIN             NAVARRO               TX           90013299699
81259817847897   ELISA              ROUTT                 GA           90013658178
81263555385936   DANIEL             FOLEY                 KY           90002985553
81267222677537   GUADALUPE          NORIEGA               NV           90007212226
81273352891525   CONCEPTION         SILLER                TX           90005843528
81277156851382   STEFANIE           BODE                  OH           66080861568
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81286369471977   GABRIELA        BURCIAGA                 CO           90012133694
81289246733698   CHANISHA        BURNEY                   NC           90014602467
81297871591975   KEVIN           HERNADEZ                 NC           90007488715
81314887677537   ALICIA          TAU                      NV           90000188876
81317438297138   MARK            SHOOP                    OR           90009364382
81319159697121   JAMES           KLOCK                    OR           90014731596
81329527897133   PAUL            JOHNSON                  OR           90010205278
81331565991975   KHALEEAH        YOUNG                    NC           90011205659
81336881391975   EDVIN           GOMEZ                    NC           90011068813
81343492661928   DAWN            TAYLOR                   CA           90010004926
81347544191975   NYLLA           HICKS                    NC           90008585441
81348182577537   DAMIEN          LAMBERT                  NV           90014641825
81349117993771   JOHNETTA        BRIGHT                   OH           90013071179
81351348377537   JUAN            ESTRADA                  NV           90015023483
81351366197138   KARI            GRIMES                   OR           44080853661
81353514651332   GRISELDA        GUTIERREZ                OH           90012975146
81354449797138   MARIANA         MOREHEAD                 OR           90012924497
81357266677537   RHONDA          BERREMAN                 NV           43003272666
81361969391979   CHANTE          MCCULLERS                NC           90014689693
81365411333698   MARKUS          CLARK                    NC           90013354113
81366145341275   MARIAH          BULGER                   PA           90006111453
81366518691242   LAQUILLA        JAMES                    GA           90011675186
81369685491525   JASON           MORALES                  TX           75093386854
81372963147822   RANDALL         CLEVELAND                GA           90013479631
81376291393771   TIFFANY         DUNCAN                   OH           90014952913
81379282347897   ANGELICA        BALDWIN                  GA           90014662823
81382811185856   CUPPY           ARNOLD                   CA           46024668111
81384592241262   DOMINICK        PELINO                   PA           90005765922
81386763947897   ASIA            REESE                    GA           90013087639
81392487997133   JOSEPH          SUIRE                    OR           90012834879
81393686597121   AUSTIN          REMILY                   OR           90012816865
81395289791242   SELINA          ALSTON                   GA           90012492897
81395637255945   BEN             LERON                    CA           90012226372
81397885641275   WESLEY          WOODS                    PA           90013938856
81398477191837   DARRLYN         WOODSON                  OK           21086304771
81417381291975   ROSALIO         VARGAS ALDABA            NC           90013103812
81418837991975   CARLO           QUAGLIAROLI              NC           90003928379
81422259833698   HECTOR          CARDONA                  NC           90013402598
81429666471977   BRIA            MORENO                   CO           90013226664
81433457997138   TAVIN           WILLIAMS                 OR           90010974579
81436226891242   EDDIE           BENNIEFIELD              GA           90014182268
81436787397138   ROYCE           MAILOLO                  OR           90010987873
81437956897121   ELIZABETH       ZAMBRANO                 OR           90014839568
81453486555945   JORDAN          LEDGER                   CA           90014934865
81457259481667   TOYA            SINGLETON                MO           90001402594
81459575231433   OG              JOE                      MO           27556075752
81464647484329   JESSICA         MARVIN                   SC           90006396474
81466277391837   MISTIE          HUBER                    OK           21094612773
81466474591242   AUDIEL          PEREZ-VELAZQUEZ          GA           90014184745
81471552133698   CHRISTINE       REID                     NC           90012035521
81473182191242   KEVIN           ALEXANDER                GA           90007961821
81488899461922   ALICIA          JULIAN                   CA           46028768994
81489749672432   JOSE            MOLINA                   PA           90014907496
81496538493771   BRENDA          HOWARD                   OH           64504075384
81528643391837   CALLIE          CHILDRESS                OK           90013216433
81528729693771   GRACE           COLLINS                  OH           90009537296
81539968972432   BRANDON         MCCONNELL                PA           90014159689
81549473433698   WILLIAM         HURLEY                   NC           90013824734
81549718485936   CAMREN          ELDRIGE                  KY           90010497184
81551939591242   SONATIRREA      MARTINEZ                 GA           90012429395
81552565791525   JAIME           SMITH                    TX           90008085657
81561727955945   BALTAZAR        CLEMENTE                 CA           90013427279
81561971897133   HERIBERTO       OLAYA                    OR           90014989718
81562454372432   HENRY           COHEN                    PA           51034674543
81564493143593   MARIA           ROSAS                    UT           90012374931
81578687991975   JASON           POOLE                    NC           90010076879
81579573955945   ERIC            DAVIS                    CA           90014175739
81581282885936   MARCELA         NAJERA                   KY           90013232828
81581894791242   RONALD          WILLIAMS                 GA           90014218947
81582347797121   SOKSAN          KORM                     OR           90013203477
81583366197138   JORGE           ANGULO                   OR           44016243661
81586432597121   STEPHANIE       RANDALL                  OR           90000514325
81587394571977   MICHAEL         DRAPER                   CO           90013493945
81587545285856   RYAN            ROSS                     CA           90013005452
81588243647897   HARRY           WALKER                   GA           90013162436
81589933797133   FRANSISCO       SORIANNO                 OR           90011149337
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81591656797121   JACQUELINE      INGLETT                  OR           90013116567
81594264433698   TYIQUAN         TUCKER                   NC           90013292644
81595321885856   JOSE DE         JESUS OLVERA             CA           90000453218
81596163593771   JOHN            GREGORY                  OH           90001801635
81611761255945   SERENA          CHOM                     CA           90013777612
81615983841262   JODIE           WILSON                   PA           90014629838
81616229891837   RAGAN           BROWN                    OK           90014152298
81623681441275   HANI            ISSA                     PA           90012346814
81623938697133   ASHLEY ANN      DAVIDSON                 OR           90014639386
81624791691837   FAITH           WILLIAMS                 OK           90013947916
81627847285856   AIOTEST1        DONOTTOUCH               CA           90015128472
81628333293771   RACHAEL         CELIA                    OH           90012633332
81629534797121   JOSEPH          HOWE                     OR           90012025347
81629693385856   YURIDIA         HERNANDEZ                CA           90007606933
81631393791242   JASMINE         ROBINSON                 GA           90010203937
81634772751362   MICHELLE        HALBERT                  OH           90008317727
81635861541284   KATHLEEN        OCONNOR                  PA           90009928615
81637586871977   JOHANNA         ARAGON                   CO           38072675868
81639599241262   NIBIANGAGA      KERENI                   PA           90011345992
81641778755945   EFRAIN MARTIN   GRACIA                   CA           90012867787
81641946447822   ARIANNA         DEFRANK                  GA           90010189464
81655681547822   AUTRENITA       MEREDITH                 GA           90014146815
81656212493771   BRUNO           NAVERRO                  OH           90007202124
81657852397121   VICTORIA        CLARK                    OR           90014348523
81658566755945   ERIC            FERGUSON                 CA           90012775667
81664481791979   DEMETRIS        COMACO                   NC           90014184817
81667719885936   SHALAYA         HALE                     KY           90014717198
81668463891979   PERLA           AGUILAR-GONZALEZ         NC           90014184638
81669769391979   BESAI           MORALES                  NC           90005517693
81673646391242   BAYRO           PEREZ                    GA           90012476463
81678153185936   CARRIE          BUCKNER                  KY           67076381531
81687222241275   ANTHONY         NELSON                   PA           90014172222
81691462341262   JAQUAN          WILLIAMS                 PA           90014634623
81692854685936   MILTON          SUNIGA                   KY           90014228546
81693964877537   ERICK           PINEDA                   NV           90012699648
81698864997133   MARICELA        VALLEJO                  OR           90012748649
81711989431434   KALLY           THARP                    MO           90006429894
81712619297133   AMANDA          KINGSBERRY               OR           90004816192
81715957633698   STEPHANIE       PERE                     NC           90010389576
81716532591837   ASHLEY          LOWREY                   OK           90014035325
81723157171977   JAMES           MASON                    CO           90008041571
81728941697121   ANGELIA         GLAFIRA VAZQUEZ          OR           44048409416
81735611841262   ROBERT          SHAFFER                  PA           90011996118
81743838941262   KRYSTAL         SANTIAGO                 PA           90014648389
81751284971977   MANUEL          CASARES                  CO           90003412849
81755851791837   SETH            ZACHARY                  OK           90013948517
81755861197121   JANELLE         WEST                     OR           90014348611
81763195991242   AMBER           WILLIAMS                 GA           90010471959
81764453447822   DANIELLE        PEARSON                  GA           90014604534
81768568991975   CARMEN          RAND                     NC           90013875689
81774756185856   ABRAHAM         ALVAREZ                  CA           90003457561
81779151691242   JAKIA           MITCHELL                 GA           90007391516
81781743997121   KENDRA          OLVERA                   OR           90011867439
81784352793127   DAPHNE          FAISON                   KY           90006263527
81784366293771   ANTHONY         BONES                    OH           90013383662
81784459533698   MONIQ           STEPHENS                 NC           90013434595
81791624691975   ANGELA          PEARS                    NC           90011196246
81799661477537   DEIDRA          QUIMAYOUSIE              NV           90008126614
81813458691975   JONATHAN        EVANS                    NC           90009624586
81819319572497   JENNIFER        GROSSI                   PA           90012283195
81822424797121   MINDY           HENDRIX                  OR           90008294247
81822633433698   SHAWN           HARRIS                   NC           90012786334
81826755133698   YVONNE          WHITE                    NC           12090287551
81834174291975   CATALINA        GONZALEZ                 NC           90012961742
81835888177537   OLGA            IBARRA                   NV           90010658881
81838414997133   LISA            RACHELLE                 OR           90008414149
81838647247822   TRAVIS          ROBERTSON                GA           90011986472
81842952447897   EMMANUEL        BAILEY                   GA           90003629524
81843177991979   DEVORIA         DAVENPORT                NC           90014901779
81848697541275   REGIS           CURTIN                   PA           51028866975
81852341597133   BONNIE          SNIDER                   OR           90014563415
81854258747897   EBONIE          RAZOR                    GA           90013532587
81855446791242   RAY             WILSON                   GA           90014664467
81855616997121   LINDA           DIAZ                     OR           90010566169
81862311797121   STEVEN          NAZAROFF                 OR           90004283117
81863487991242   BRITTANY        STEVENSON                SC           90014664879
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81866634685936   SHAQUANNA       JONES                    KY           90013486346
81866677771977   RUBEN           TRUJILLO                 CO           90014676777
81867159831433   EBONY           STRONG                   MO           90008511598
81875224997138   ROBERT          PADUA                    OR           44005272249
81876258551362   ANEESHA         BANKHEAD                 OH           90011512585
81876379333698   MARY            LEGETTE                  NC           90012003793
81877822391975   ALDRICH         HARRIS                   NC           90005198223
81878545477537   TERESA          BARONE                   NV           90014635454
81886291193771   DELORES         BEATTY                   OH           90012712911
81887135171977   BENJAMIN        MARTINEZ                 CO           90010781351
81887761491979   BARRY           BEAVERS                  NC           90010077614
81888238691525   JUSTIN          STERLING                 TX           90003622386
81892888197121   SARA            ALFREY                   OR           90012088881
81895594847822   CASHANDRA       BASS                     GA           90013525948
81896918391837   WILLIAM         WALD                     OK           90013949183
81913132591837   WALTER          ARCE                     OK           90000471325
81926199551362   AMIR            CARRENANDEZ              OH           90006811995
81929858685936   YAMINI          RAY                      KY           90010508586
81931462897121   ALISHA          ALFARO                   OR           90014994628
81932235741262   KATHLEEN        MDANIEL                  PA           90008522357
81937494755945   PERRY           F. NOVAK                 CA           90012134947
81942981551362   TRACY           LEE                      OH           90013019815
81943541691242   SARAH           FLOYD                    GA           90011705416
81943697155945   SELINA          SALAZAR                  CA           90013986971
81945161385856   JESSYCA         HENMAN                   CA           90012061613
81946557877537   MICHAEL         MCTAW                    NV           90013315578
81954514785856   ROXANNE         INDIONGCO                CA           90013565147
81957177547897   CURRY           ALEXANDRA                GA           90011081775
81957762197133   MRS ROSEMARY    MARTINEZ                 OR           90004507621
81959973197133   LESHA           CLARK                    OR           90011959731
81963494755945   PERRY           F. NOVAK                 CA           90012134947
81963844347822   EVERETT         HARRIS                   GA           90014758443
81965355341275   JOSEPH          HOYLE                    PA           51022633553
81971954385936   CORY            HIGNITE                  KY           90010269543
81973133771977   RACHEL          DAVILA                   CO           90014521337
81976784255945   TORRES          MONDOZA                  CA           90012657842
81977771397121   GARY            TAYLOR                   OR           90012237713
81978771885856   RAUL            HERNANDEZ                CA           90014127718
81982151585936   CHIFFON         ROBINSON                 KY           67007941515
81983161591525   EUGENEIA        MARTINEZ                 TX           75012501615
81988958391837   HECTOR          LUNA                     OK           90013949583
81992171471956   TRACY           MILLS                    CO           90013591714
81995894291963   GREGORY         WEBB                     NC           90009618942
81996598841262   RIOL            LOPEZ                    PA           90007135988
81998281491837   ARMANDO         ALVARES                  OK           90002462814
82113346281677   DARREN          HERSHEY                  MO           90014703462
82118544481677   JACOB           SCHMITT                  MO           29034665444
82118824293771   ADAN            CUETO ANTONIO            OH           90012108242
82119466681627   JADA            BLEIVINS                 MO           29019214666
82119787841275   SAMANTHA        PROBST                   PA           51001637878
82122931241275   KELLY           KLEIN                    PA           51073549312
82127979961928   ANTONIO         LOPEZ                    CA           90014579799
82133776341262   ROBERT          RAY                      PA           90015147763
82134967781677   CHERIECE        REYNOLDS                 MO           90011669677
82137351877537   CARLOS          MEZA                     NV           43059563518
82138835633698   JESSICA         WILLIAMS                 NC           90014758356
82139468671977   SCOTT           GOMEZ                    CO           90013274686
82144517693771   WILLIAM         BURKLOW                  OH           90003475176
82146297371977   DAESHA          ACEVEDO                  CO           90012952973
82154222841275   JAY             ROCCO                    PA           90013852228
82155813485936   SHARON          RICHMOND                 KY           67032558134
82156967491837   JACQUE          ST CLAIR                 OK           90011899674
82158442671977   NICK            LUCERO                   CO           90008514426
82165194851362   KRTISTA         HOLLAND                  OH           90006741948
82174389681677   MANSFIELD       HOLMES                   MO           29003913896
82176352991837   DAKOTA          GOWDY                    OK           90014813529
82176476493771   JASON           LYLE                     OH           90015104764
82185346461928   ELIAS           BERUMEN                  CA           90011293464
82187945961928   JESSICA         MARTINEZ                 CA           46059339459
82196539377537   NATALIE         CONTRERAS                NV           90014865393
82197312331444   STEFANIE        MYLES                    MO           90001113123
82219897991242   DARSHEA         YOUNG                    GA           90011648979
82233348677537   DANIEL          DE JESUS                 NV           90010283486
82235369371977   AMANDA          KOSEK                    CO           90014843693
82243953233698   FREDDIE         CORNELIUS                NC           90001629532
82243975671977   HURLEY          SAMMON 3RD               CO           90009949756
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82248476347822   NICKIE          SIMMONS                  GA           90005944763
82259992851362   CESAR           ZAMORA                   OH           90014179928
82262389672496   JOSEPH          DIMAGGIO                 PA           90013253896
82263175572432   CINDY           HARRISON                 PA           90010931755
82267828447822   MARTINA         SMITH                    GA           90014618284
82276999271977   SHAYLEA         BACHICHA                 CO           90012409992
82278992485936   ADRIAN          SMITH                    KY           67057559924
82279114441262   QUIANA          KEARNEY                  PA           90004811144
82282234381627   JAMES           MCDANIEL                 MO           90014402343
82284697733698   DANIEL          YOUNTS                   NC           90013136977
82286345881627   CATHENIE        THOMPSON                 KS           90011073458
82288748793783   SHANNON         MCNARY                   OH           90010327487
82293849771977   DERRICK         ESQUIBEL                 CO           90009468497
82311318372432   RACHAEL         FOLEY                    PA           90014763183
82313764291242   JOHNETTA        OUCKY                    GA           90009017642
82315669241262   KAREN           VOS                      PA           90000576692
82318191191979   LAKEESHA        CULBRETH                 NC           90010651911
82326131433698   EMEST           FOX                      NC           90000731314
82326185777537   FLOYD           STEWART                  NV           90012281857
82326546361928   IRMA            AGUSTIN                  CA           90012185463
82333155897138   JOHN            BURNS                    OR           90013561558
82339334561928   JUAN            OCHOA                    CA           46084773345
82342863941262   JETTERA         WADE                     PA           51011728639
82346587541262   DONOVAN         ADAMS                    PA           90011815875
82353363191979   ROY             SHEALEY                  NC           90012113631
82357833684325   KIMBERLY        WEST                     SC           90010568336
82358866772432   RANDY W         HAUGHT                   PA           90012528667
82364726591979   CLARENCE        BURNETT                  NC           90010287265
82366661181677   SAMUEL          INMAN                    MO           90007996611
82368112641275   WILLIAM R       HILLEBRECHT              PA           90013631126
82368289191837   CARLA           GABRIEL                  OK           21022522891
82368488193771   DANEIL          FUESTON                  OH           64551284881
82368964547822   CATRINA         EVANS                    GA           90012949645
82373246177537   ERVIN           TAYLOR                   NV           90012372461
82374859272496   SAMANTHA        GOEPFERT                 PA           51063858592
82381483291837   DAVID           WALLIS                   OK           90009334832
82383885641262   CASSANDRA       WALKER                   PA           90011048856
82388142277537   CODY            ROGERS                   NV           90012651422
82388151991547   BETO            REYES                    TX           75040171519
82393615733698   ONEIL           FRANCIS                  NC           90011146157
82396662561928   CHERA           DAVIS                    CA           90011296625
82411135885856   JOHN            DEROVEN                  CA           90012691358
82411512941262   KIMBERLY        HICKS                    PA           90013925129
82412133947822   JAMES           LAWRENCE JR              GA           90014631339
82415858385936   ANN             THROCKMORTON             KY           90013448583
82417332841262   LAWRENCE        JACKSON                  PA           90014373328
82423573481627   KATIE           COONS                    MO           90013205734
82425464947822   LISA            CHAPMAN                  GA           90010354649
82426635551362   BEN             GREEN                    OH           90013156355
82428269433698   KRISTIE         RICE                     NC           90003932694
82429643991979   HUGO            SANCHEZ                  NC           90012706439
82432751981627   AMBAR           LARA                     MO           90007297519
82433635551362   BEN             GREEN                    OH           90013156355
82433648491837   VALERIE         BOWERS                   OK           90010986484
82438413591525   LUCIA           OLIVAS                   TX           75012744135
82443734781677   JEREMY          BARNETT                  MO           90014957347
82445317284325   MELLISSA        CARMICHAEL               SC           90011113172
82447924941241   BILL            SINAGRA                  PA           90001379249
82448829593771   DARRIN          BOSWORTH                 OH           90012208295
82453899177537   VIOLETTA        RABORN                   NV           43071478991
82459381681627   MARIA           TREVINO                  MO           90014843816
82479782291242   PAUL            ARKWRIGHT                GA           90003707822
82486884491523   JOSE            TREVINO                  TX           90011078844
82488334551362   COLLEEN         SWEENEY                  OH           90012803345
82491569641275   PATRIC          HUMMEL                   PA           90009315696
82493136772432   LLOYD           WOODS                    PA           90013591367
82496534647822   ALEXIA          JOHNSON                  GA           90011535346
82512591172432   CARRIE          SHOEMAKER                PA           90012995911
82513663947822   ANGELA          MULVEY                   GA           90011046639
82516429677537   JOSHUA          WILCOX                   NV           90014824296
82517154477537   HERMINIO        ACADEMIA                 NV           90010921544
82519426691979   WILSON          ROMERO                   NC           90001124266
82522248685936   GREG            FLORA                    KY           90009172486
82525265381677   RICHARD         GILBERT                  MO           90007442653
82528329771977   MANDY           LEYBA                    CO           90013503297
82535122671977   BRIAN           JOHNSON                  CO           90012001226
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82536189372496   CHARMAIGNE      TACK                     PA           90011871893
82537972751362   JAY             TRAMMELL                 OH           90014539727
82538984841275   ANTONIO         HIPPS                    PA           90010659848
82549447347822   LADOVIE         BOWER                    GA           90013034473
82549536777537   JONATHON        WIEDERHOLD               NV           90013895367
82552829185936   LEESA           TACKETT                  KY           67021588291
82554359493771   CRAIG           REED                     OH           90012313594
82554793291975   TERWUAN         MOORE                    NC           90010947932
82557368591979   SHAMIA          KING                     NC           90012283685
82565367741262   DWON            HATCHER                  PA           90012913677
82568423371977   IRENE           MARTINEZ URBINA          CO           90013204233
82574628447897   VONDA           REYNOLD                  GA           90001316284
82577291561928   JASMINE         SANTOS                   CA           90007742915
82579764785936   CAITLYN         SHELTON                  KY           90013697647
82583835191837   JASMINE         YOUNGER                  OK           90009078351
82585414472496   ASHLEY          GEORGE                   PA           90008444144
82585543151362   DOLORES         TURNER                   OH           90014185431
82587339281669   DEAUN           HOPKINS                  MO           90014853392
82592175291837   MELINDA         BROWN                    OK           90011381752
82596148391975   JOEL            MORALES                  NC           90013841483
82599635185856   AIOTEST1        DONOTTOUCH               CA           90015116351
82612814881627   CAROL           BRITT                    MO           29032858148
82614982233633   TERRANCE        GAITHER                  NC           90007079822
82636439872432   TY              HANNA                    PA           90015004398
82637552447822   LATREY          JOHNSON                  GA           90014675524
82638817993771   CORNEIL         ATKINS                   OH           90012308179
82648396791837   DOMINIC         CHEEK                    OK           90013963967
82653459891837   ADAM            UNDERWOOD                OK           90014834598
82653888772432   JUSTIN          PHILLIPS                 PA           90000538887
82654462691975   TAYA            HOLDER                   NC           90008464626
82657249541262   KAYLA           WALLACE                  PA           90014692495
82657462691975   TAYA            HOLDER                   NC           90008464626
82658934733698   KEISHA          MILLER                   NC           12052949347
82661448461928   KUMIKO          WARNER                   CA           90009304484
82671973285856   LUIS            HERNANDEZ                CA           90002759732
82675412485856   OYA             GUNAYDIN                 CA           90015024124
82677372951362   SAMANTHA        IRWIN                    OH           90011713729
82678264825151   RANDOLPH        THOMAS                   AL           90015082648
82679276661928   SARATH          MARCUS                   CA           46084592766
82679326333655   OLIVIA          DICKENS                  NC           90009143263
82687645447822   ARIEL           MCCLINTON                GA           90014696454
82688414831471   FUCC NALL       KNO DAT                  MO           90008584148
82688944391242   JUSTIN          SHEFFIELD                GA           90003619443
82691825581677   MIKE            SMITH                    MO           90014688255
82693673693771   SHANNON         WALDRON                  OH           90013936736
82696655693783   BRITTNET        CHAFIN                   OH           90008886556
82696782333698   HEATHER         SMITH                    NC           90009037823
82699922281677   JASON           HOWERY                   MO           90013439222
82711791141275   JUSTIN          EDWARDS                  PA           90013347911
82717989385856   JONATHAN        COOK                     CA           90012699893
82719814177537   CHRISTOPHER     WILLEY                   NV           90014468141
82721698877537   YESENIA         ALVARADO                 NV           90014716988
82722579593771   PAYGO           IVR ACTIVATION           OH           90013145795
82725285741275   SHANNON         YOUNG                    PA           90013872857
82732459797138   DANIEL          PEREZ                    OR           44065854597
82732883947822   JANECIA         MAHONE                   GA           90014708839
82732931371977   LARRY           ROMERO                   CO           90011309313
82739681141275   DANIEL          WALKOWSKI                PA           90013056811
82745799785856   ADEOLA          LAPITE                   CA           46018147997
82753952847822   SHRODUS         GEORGE                   GA           90014719528
82754181391837   JENNIFER        CHASTAIN                 OK           90011341813
82756397585936   JAMES           LANE                     KY           90014853975
82758785191242   ASONTE          HARRISON                 GA           90001897851
82766364886447   DEMETRIUS       JOHNSON                  SC           90014573648
82773858561928   JESUS           CHACON                   CA           90010268585
82774324497138   BRIAN           BENNETT                  OR           90012043244
82774632391242   FELECIA         RICHARDSON               GA           90005896323
82774893441275   MICHAEL         THOMAS                   PA           90011318934
82776996947822   LANASHA         SMITH                    GA           90011069969
82788299761963   HUGO JAVIER     JIMENEZ                  CA           90012042997
82799793791979   EMILY           SLEE                     NC           90010277937
82811993347822   KIMBERLY        DAWSON                   GA           90014729933
82814373833446   TEKELA          WHITTLESEY               AL           90004533738
82816553693771   LAKISHA         MATHEWS                  OH           64577695536
82821245886447   JEFFREY         NORRIS                   SC           90014132458
82822549847897   CHARLES         KNOWLES                  GA           14080075498
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82825387791525   MARIA           VASQUEZ                  TX           75091223877
82831252141275   ALEX            FRITS                    PA           90011392521
82835716471977   DANIEL          BARELA                   CO           90005267164
82838488985856   AIKEN           T                        CA           90012374889
82841384497138   JERED           HENDERSON                OR           90000293844
82841419147822   ALEXIS          JOLLY                    GA           90014734191
82842714491979   DEBRA           KISER                    NC           90010467144
82842756391979   VERNON          DRAKE                    NC           90013647563
82854463761928   MIGUEL          SILVA NIETO              CA           90012744637
82855436847822   NICOLE          BUTLER                   GA           14031914368
82861134385856   JAYMES          DAVIDSON                 CA           90011271343
82866261947822   JEREMY          DAVIS                    GA           90014862619
82866651133698   LARANE          HASKINS                  NC           90013996511
82868622691975   DAVID           ROSE                     NC           90013966226
82869821785936   SHELEIKA        SIMMONS                  KY           90009688217
82871518472496   VICKIE          SNYDER                   PA           51042025184
82872556393771   ALEXANDER       WHITE                    OH           90013315563
82872861291979   MARILIN         MOROY                    NC           17013008612
82875128581677   CARLOS          SAGE                     MO           90006811285
82877374485936   GRISELDA        MONTIEL GALICIA          KY           90013063744
82887252984331   ROBERT          BOYD                     SC           90014342529
82889629285856   RYAN            WATERS                   CA           90014076292
82889748491837   ABIGAIL         ROMERO                   OK           90011327484
82891688151362   JEFFERY         NICHOLS                  OH           90013236881
82893761291979   MUMTAZ          JAMAL                    NC           90013957612
82895132733698   HEATHER         CORRIHER                 NC           90010721327
82911491341275   LISA            RUCKER                   PA           90012984913
82919632651362   STEVE           HAMER                    OH           90002386326
82922664284325   ANDREA          CHANEYFIELD              SC           90009516642
82923389691837   SHAUNDELL       HARVEY                   OK           90009573896
82924538547822   PHOEBE          GRIGGS                   GA           90014745385
82931241441262   ARNISHA         TAYLOR                   PA           51010682414
82937249251362   CASEY           MOLLOY                   OH           66074402492
82938719972432   BENJAMIN        VANCE                    PA           90013207199
82951292585936   STEPHANIE       FATH                     KY           90014882925
82951459851362   ADELA           ESPANA                   OH           90012604598
82953842281677   BRIDGETTE       ATKINSON                 MO           90005888422
82956996261928   DARSELL         CALDWELL                 CA           90012439962
82958183391242   DUKE            MITCHELL                 GA           90010881833
82963336697138   FIDEL           GINEZ                    OR           90013923366
82965882172432   THOMAS          MURRAY                   PA           90013218821
82967556391979   PEDRO           MENDEZ                   NC           17011635563
82968251791979   MYESHIA         LAWSON                   NC           90002662517
82968622461928   ALEJANDRINA     BARAJAS                  CA           90014736224
82974534697138   LINDA           BOGLE                    OR           44031545346
82985882172432   THOMAS          MURRAY                   PA           90013218821
82985959291979   TREMAYNE        HAMPTON                  NC           90010019592
82992241761928   JOSUE           GONZALEZ                 CA           90013632417
82996494441262   TAMIKA          JOHNSON                  PA           90002784944
82997317971977   BELINDA         GALLEGOS                 CO           90010403179
83116262571938   ANTHONY         QUINTANA                 CO           90009472625
83121927551341   TOMEKA          JOHNES                   OH           90009219275
83123155951362   NATHAN          ALSIP                    OH           90014161559
83124275385856   WILLIAM         MUCK                     CA           46062882753
83131763571977   LACHELLE        ARMENTA                  CO           90014457635
83134295547897   INDIA           LESHOURE                 GA           90012112955
83134954291975   LAQUAISHA       LAWSON                   NC           90010949542
83138697497138   CRISPIN         CUATRA CUAHUA            OR           90012736974
83142341161934   SAM             DEABENDERFER             CA           90011403411
83142755347897   BELINDA         FARMS                    GA           90013937553
83143228151336   MICHELLE        COOPER                   OH           66093072281
83145733651336   TORDASHA        WYNN                     OH           90011447336
83146895447822   LASHONDA        WEST                     GA           90014098954
83148345341262   SHELBY          ROST                     PA           90010433453
83148755347897   BELINDA         FARMS                    GA           90013937553
83151264851362   CODY            BOWER                    OH           90013082648
83151353993127   CAROLYN         SMITH                    KY           90005323539
83152142355945   BRITTANY        SIMPSON                  CA           90013271423
83157347491934   MARCUS          WOODS                    NC           90012333474
83157365791975   YRACY           MCGUIRE                  NC           90011423657
83159231791979   SYDNEY          CHANDLER                 NC           90013962317
83159325351362   JAYSON          GRABP                    OH           90012873253
83164772991975   LAURA           OLIVARES                 NC           90012797729
83168336541262   TYLER           LEWIS                    PA           90013933365
83168479693771   LYNN            CATLIN                   OH           90013144796
83168759577537   SHELLIE         EREVIA                   NV           90009077595
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83173742471977   TOMIE              RUSSOM                CO           90011747424
83177113893771   TRACY              GAINS                 OH           90008851138
83182862171977   JUAN M             CASTILLO              CO           90012708621
83183198785856   AGNES              KRATKY                CA           90013221987
83186894991975   KARI               THOMPSON              NC           90011048949
83187378547897   LASHUNNA           BURRAGE               GA           90011093785
83187886241262   MARTIN             PEFFER                PA           90011858862
83188732791979   TAUREAN            FAIRLEY               NC           90010667327
83194314747897   DONALD             WALKER                GA           90012973147
83198694433698   TABITHA            COCHRAN               NC           90005686944
83199348891242   ELNARDO            FERRON                GA           90002123488
83212743971977   JOSHUA             ROSSELOT              CO           90011897439
83214185331449   PRESCILLA          CUMMINS               MO           90012861853
83217261551341   LESTER             WALKER                OH           66062262615
83217458247822   COROVON            COBB                  GA           90014164582
83217823141262   TIMOTHY            DRISCOLL              PA           51066068231
83223557472432   SHAWN              COLEMAN               PA           90011215574
83231325271938   NAJUA              BELL                  CO           90014713252
83236864591979   SHAKIERA           PRINCE                NC           90014768645
83237223851325   LISA               DEVERS                OH           66005392238
83237376133698   KERA               BELL                  NC           90013553761
83241922585856   BRYAN              LUNA                  CA           90013259225
83249261991979   JOCE               SANTOS                NC           90012062619
83251831547822   KIERRA             JONES                 GA           90014168315
83255283891242   ANITRA             BROADIE               GA           90009112838
83255326833698   KEVIN              MINOR                 NC           90012463268
83266325877537   CONNIE             PARTICK               NV           90010723258
83267141571977   ALISIA             ADAME                 CO           90010911415
83273598997138   SARA               WILLIAMS              OR           90013375989
83279989691242   EMMA               GRAHAM                GA           14592839896
83282531747897   KRISTINA           LELLIOTT              GA           90012605317
83283928951362   JERY               SALLER                OH           90014979289
83288317141275   JAMARR             MARTIN                PA           90014863171
83288641355945   AIOTEST1           DONOTTOUCH            CA           90015116413
83289769651362   MONA               OLDEN                 OH           90013137696
83291751791837   ELIZABETH          LOPEZ                 OK           90014497517
83297329651333   MIKE               JHONSON               OH           90012313296
83311253941262   SHEILA             TAYLOR                PA           90001612539
83315123947822   TIMOTHY            KYSER                 GA           90014181239
83323717171938   JOSEPH             BRITO                 CO           32098367171
83336557985856   STACIE LYNNANNE    CRUZ                  CA           90003245579
83338219591975   SHAQUIA VALISA     GLOVER                NC           90013602195
83342544971938   MARIA              SCUDDER               CO           90010245449
83345148597138   SALVADOR           GARIBAY               OR           90013071485
83347596985856   WILEY              JONES                 CA           46057405969
83352639947897   RODNEY             LESTER                GA           90009956399
83353177272432   ASHLEY             WADSWORTH             PA           90014711772
83356438591979   GUSTAVO            MENDOZA               NC           90012804385
83356557651362   ROBERT             CLAYTON               OH           90012615576
83365381477537   FAHAD              RAZZAQ                NV           90010903814
83369288733698   JONAH              GENT                  NC           90011422887
83369416661922   TOMMY              RANDLE                CA           46050124166
83373935751362   AMY                GERWE                 OH           90009819357
83379858547897   JALISA             GREEN                 GA           90012198585
83382882685856   MARIA DEL CARMEN   WHITE                 CA           90013298826
83396899471938   KEVIN              HUMPHREY              CO           90012158994
83411398261928   NALANI ROSE        SCITAR                CA           90013923982
83417886355945   CYNTHIA            MONTES                CA           90014778863
83421626972496   JOSEPH             AGUGLIA               PA           90004266269
83423335441262   BEATRICE           WOODING               PA           51020693354
83427626972496   JOSEPH             AGUGLIA               PA           90004266269
83428458191979   AKIN T             SEZENOL               NC           90010854581
83437191251362   MELISSA            HANKINS               OH           90011611912
83437469747897   NESRIN             ALI                   GA           90015334697
83444352691837   STEFAN             BENALLY               OK           90014573526
83444894677537   FRANCES            BENSINGER             NV           90010738946
83445183551341   ANGELA             CHARLESTON            OH           90012551835
83451838533698   TYMESHIA           CAMPBELL              NC           90014738385
83457254147897   DORTHEA            DENNARD               GA           90009682541
83458194961928   STEPHEN            SHEVLIN               CA           90014641949
83461529341275   JOSHUA             HATHAWAY              PA           90011775293
83464232741262   BERMADETTE         COLLINS               PA           90011042327
83466349771938   SABRINA            ADAMS                 CO           90003363497
83472195672432   KAREN              CUBBAGE               PA           90014311956
83475145133698   ITZEL              JOACHIN-GARCIA        NC           90011151451
83476135155945   MARTIE             ARELLANO              CA           90010701351
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83482227547897   JESSICA         CLARK                    GA           90014142275
83489196391979   SEAMUOS         PADRIAG                  NC           90010521963
83497857161928   BENYAMEEN       BENYAMEEN                CA           90013758571
83511667197138   RODRIGO         ORTIZ                    OR           90009526671
83521726961928   MAYRA           AGUERO                   CA           90011157269
83522574371938   STEVEN          YODER                    CO           32008825743
83523699255945   ESPERANZA       SOLANO                   CA           90012206992
83524828247822   JERRY           BILLUE                   GA           90010898282
83527362577533   MELISSA         RUSSELL                  NV           90012673625
83533517291975   JULIE           TAYLOR                   NC           90012095172
83536672591975   VEENA           GULATI                   NC           90011516725
83538361993771   RONNESHA        JONES                    OH           90011083619
83541129941262   WANDALYN        MIDDLEBROOK              PA           90011121299
83541286141262   DENNIS          CARINI                   PA           90007562861
83549417961928   STEVEN          ARNQUIST                 CA           90010324179
83551517291975   JULIE           TAYLOR                   NC           90012095172
83555462372432   OLANIYAN        SAMBA                    PA           90013934623
83559182533698   CASSANDRA       HILL                     NC           12014781825
83559392691979   JASON           PRETTY                   NC           90012833926
83562466147897   LATHASA         GREENE                   GA           90011114661
83566551191837   DAVID           TEMPLETON                OK           90014575511
83577727355945   ELOY            MORALES                  CA           90013797273
83577771497138   SHANNON         SMITH                    OR           90005247714
83577984847897   ANTOINE         WATLINGTON               GA           90012979848
83579921441262   LAVEE           SLOAN                    PA           90007099214
83582926733698   ASHAIYA         MOODY                    NC           90013939267
83586414997138   PETER           HAVGETT                  OR           90014924149
83589532693766   AMY             WALLACE                  OH           90008575326
83589941941275   REGINALD        FRANKLIN                 PA           90013869419
83593331871938   LAQUAN          MICKENS                  CO           90007573318
83594843177537   JUAN            MEJIA                    NV           43023298431
83596286991975   EBONNE          MARSHALL                 NC           90003482869
83597635441262   FIONNA          BARNES                   PA           90013156354
83598696171938   NATHAN          BRESCI                   CO           90004036961
83613373197138   SHELDON         WILSON                   OR           90014603731
83616177272432   ASHLEY          WADSWORTH                PA           90014711772
83617149271977   CRYSTAL         GONZALES                 CO           90013871492
83618683541262   DANIEL          VOITH                    PA           90013156835
83622347861928   ROSHANDA        PRICE                    CA           90012993478
83625493251362   OLGA            PALAFOX                  OH           90014164932
83626196471938   JORGE           LUNA TRUJILLO            CO           90015181964
83628757897138   GONDINEZ        DANIEL                   OR           90003277578
83632361347822   KESHIA          LESTER                   GA           90014213613
83635752885936   JAMES           BEACH-ASHBY              KY           90002507528
83638229572496   ADAM            HILLIARD                 PA           90004542295
83639968977537   LETICIA         JIMENEZ                  NV           90013259689
83653832297138   MILLIE          YOUNG                    OR           90014948322
83654342372432   LISA            MORGAN                   PA           51080473423
83655722431435   BARRY           SMITH                    MO           90011527224
83657119833698   PEGGYE          BAKER                    NC           90001511198
83658894393771   SHERI           WILLIS                   OH           64534208943
83662223555945   MARCOS          RAYA                     CA           49014952235
83662735633698   AMBER           TAYLOR                   NC           90007647356
83666133951362   DANIEL          FOCKE                    OH           90013111339
83672494171938   PEDRO           CASTRO                   CO           32057934941
83673416571977   IESHA           VARELA                   CO           90002404165
83674181533698   DETAVAIUS       MILLER                   NC           90012951815
83676132651362   CHARMAINE       RAYFORD-DAY              OH           66067761326
83679356297138   DOKOTA          HEUBERGER                OR           90014293562
83682251593771   MELISSA         BURNEKA                  OH           90013952515
83699365841275   JILLIAN         LEWANDOWSKI              PA           90014713658
83713875851362   ASHLEY          ESTRIDGE                 OH           90002498758
83724899771938   EVELYN          UVALLE                   CO           90003598997
83729286361928   MOHAMMED        SHAARAN                  CA           90012822863
83729784241281   JOE             KINGSTON                 PA           90015327842
83736619477537   ANDREW          ALVARADO                 NV           43082196194
83744236633698   RUSSEL          CALNAN                   NC           90014082366
83747329233698   ISAYANA         BORGES                   NC           90013943292
83754992993771   DARNELLE        SHACKLEFORD              OH           90012549929
83755218291837   ANGIENATTA      AYERS                    OK           90012792182
83765571151341   AESHYA          COMBS                    OH           90011125711
83768774661928   VANESSA         ENRIQUE                  CA           90012657746
83769953161928   ABEL            BELLO                    CA           46066559531
83772522771977   RICHARD         OWENS                    CO           38044815227
83774641355945   AIOTEST1        DONOTTOUCH               CA           90015116413
83774789797138   KRISTIAN        MOGSTER                  OR           90014427897
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83779254791837   CHRISTOPHER     FISHER                   OK           90014592547
83793155197138   ICLE            DUNCAN                   OR           44043921551
83794788491934   TONI            GEORGEVICH               NC           90013797884
83794937351341   GABRIELLA       BELMONT                  OH           90010369373
83799444993127   ELIZABETH       DELAGADO                 KY           90005994449
83816854351362   JOHN            SPANYER                  OH           90015048543
83822864685936   CHRIS           FARMER                   KY           67061618646
83825748577537   ANGELIK         PILLIAS                  NV           90013977485
83825828591837   OCEAN           MIZELL                   OK           90011768285
83832796347897   MARCHELL        MAXWELL                  GA           90009067963
83833815847897   SHEKIERA        BATTLE                   GA           90013968158
83838661585856   HALEY           HOBBS                    CA           90008526615
83843746841262   CRISTINA        FORTINO                  PA           90013167468
83846832377537   DEBRA           CLEMENT                  NV           43089498323
83849856271977   BRETT           MYERS                    CO           90010698562
83851856572432   BROOKE          SCHWEITZER               PA           90012198565
83852422255945   NICK            ALVARDAO                 CA           90008864222
83855332971977   MELISSA         ACEQUIA                  CO           90014563329
83855637971977   ISAIAH          VIALPANDO                CO           90013706379
83859923871977   BRIAN           FLORES                   CO           90014319238
83862746341262   ROBERT          WALSH                    PA           90004007463
83864255871938   THOMAS          QUICK                    CO           32007792558
83864726961928   MAYRA           AGUERO                   CA           90011157269
83868769355945   GREGORY         PEREZ                    CA           90011897693
83881394671977   BILLY           DAVIS III                CO           90009163946
83882678661928   IHSAN           SEIFULLA                 CA           90009546786
83884427672432   MICHAEL         RODIA                    PA           90014144276
83884647871977   HUGO            LIZANDRO                 CO           90012116478
83885692451341   GLORIA          SILAS                    OH           66047836924
83886954371977   STEVEN          ARCHULETA                CO           90010719543
83893926791975   SANTOS          HERNANDEZ                NC           90011049267
83896411172432   JAMES           CHANEY                   PA           90008714111
83899513471938   GABRIEL A       CEBALLES                 CO           90014345134
83913831372432   CHRIS           SMITH                    PA           90014148313
83914525847897   STEVE           FED                      GA           90011155258
83914836572432   BOBBY           JONES                    PA           90014148365
83918192447822   KIERRK          OLIVER                   GA           90003741924
83919578697138   VALERIE         YOUNG                    OR           90013805786
83922486172432   KARAC           STIMMEL                  PA           90007234861
83925817391979   KASIB           SALAAM                   NC           90013418173
83933329971938   BRYAN           LOVE                     CO           90009383299
83933342471977   GIO             LAVE                     CO           90014383424
83934934877537   ASHLEY          OLSEN                    NV           90006799348
83939679333698   RYAN            HAGA                     NC           90013096793
83944153641275   STEPHANIE       JOHNSON                  PA           90013511536
83944369171977   ANDREA          HIGGINS                  CO           38066093691
83945943733698   KIMBERLY        SOUTHERLAND              NC           90011069437
83951865991979   BENSON          OLOWOMUKE                NC           90011198659
83958125251341   JAQMES          WOCHER                   OH           90013051252
83958364347822   KEYONNA         LITTLE                   GA           90011043643
83958422455945   BRUCE           LEE                      CA           90014704224
83959422691837   JUAN DE DIOS    HERNANDEZ                OK           90011774226
83961965871977   LUCIO           MEDINA                   CO           90010699658
83962933581691   SANDRA          MANN                     MO           90006449335
83964933581691   SANDRA          MANN                     MO           90006449335
83965921891975   DEREK           WATKINS                  NC           90013679218
83967975497138   KELLI           RODRIGUEZ                OR           90013559754
83974977591975   FAWZIA          SALAHUDDIN               NC           90012239775
83975472241262   NEYJU           RONDON                   PA           90009784722
83982972171977   EMMANUEL        RATHELL                  CO           90012119721
83984888891532   EMMANUEL        MAGANA                   TX           90007568888
83988927851362   VICKIE          ADKINS                   OH           90011189278
83993992271977   APOLONIO        FIERRO                   CO           90002739922
83995138955945   JUAN            SANCHEZ                  CA           90014751389
84112328685936   SATYN           YOUNG                    KY           90011883286
84114585961928   PATRICIA        LESCANO                  CA           90013395859
84116766593771   JEFF            SNIDER                   OH           64528357665
84119738151362   JONTE           JANETTE                  OH           90010517381
84124839991837   ROGER           ANDERSON                 OK           90014138399
84132389293771   BRAD            LEWIS                    OH           90012443892
84132785991975   DARWIN          AMADOR                   NC           90004907859
84132859261934   ROSA            ERDING                   CA           90007488592
84141729991837   ARELIZ          ESPARZA                  OK           90012267299
84141972647897   LAKEITHA        DARTA                    GA           90014849726
84151248985936   YVONNE          JACKSON                  KY           90008612489
84153523197138   REBECCA         EVES                     OR           90011035231
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84155944691979   KHAMORAH        SELBY                    NC           90012369446
84159635461928   FERNANDO        CAZARES                  CA           90011736354
84168429541275   LATASHA         ROILTON                  PA           90013074295
84171814461928   JIM             LUSK                     CA           90013668144
84174233285856   JOSE            CARBAJAL                 CA           46000402332
84179334885936   REGINA          VEGA                     KY           90011103348
84182832991975   CHEYENNE        SCHEETZ                  NC           90011908329
84184973172432   WARREN          MOORHOUSE                PA           51017889731
84187155161928   KAREN           BEDFORD                  CA           46006571551
84196637391979   NERI            LOPEZ                    NC           90001896373
84212893861928   RAUL            MARQUEZ                  CA           90012668938
84214664785856   ROSENDO         LUCERO                   CA           46080566647
84216413941275   JHON            ADKINS                   PA           90013934139
84217349891837   TIMOTHY         WEDEL                    OK           90010053498
84221846857126   AMANDA          CRUZ                     VA           90008128468
84226432771977   BEN             GUERRA                   CO           90008914327
84226973685936   TRAVIS          KELLEY                   KY           90012369736
84228425491975   KATRINA         SMITH                    NC           90003134254
84229161641262   ABRAMM          KELLY                    PA           90010451616
84229732485936   ZAXH            GROUNDS                  KY           90013087324
84237389185856   MEDINA          DANIEL                   CA           46031283891
84238736351362   SEAN            DOWNING                  OH           90006487363
84241512541262   MICHAEL         COLES                    PA           90013305125
84243297661928   NOEL            FULBRIGHT                CA           90013122976
84245255985936   HAVEN           STANFIELD                KY           90013962559
84248442691975   AVERY           GORDON                   NC           90010824426
84256177233698   ANGELA          JACKSON                  NC           90012451772
84257612341262   SHANA           MAXWELL                  PA           90010256123
84262496177537   EDNA            LOPEZ                    NV           90011054961
84263117485856   NICK            HANNA                    CA           90013451174
84263782491979   DR              PEREZ                    NC           90013957824
84264572547897   TAMEKA          KING                     GA           90014535725
84266144993771   CHRIS           SCHERMPECK               OH           90013361449
84266665777537   ANTELMO         SOTO                     NV           90013136657
84269463285962   JIMMY           POPE                     KY           90000944632
84272717897138   JAQUETTA        HARRIS                   OR           90006967178
84275558961934   ABEL            ALEJANDRE                CA           90010595589
84287449641275   DESI            WILLIAMS                 PA           51089174496
84289983771977   JOLIYAH         NEAL                     CO           90013319837
84315964347897   MAURICE         MCBRIDE                  GA           90007569643
84317313251362   MATT            DENNLER                  OH           90010523132
84322692285936   JAMES           CUSHINGBERRY             KY           90013456922
84325438241275   DESIREE         JHONSON                  PA           90013934382
84328717785936   KAMEO           FOSTER                   KY           90014487177
84328965761928   HUMBERTINA      PITA                     CA           90013049657
84333427761934   ERNESTO         TREVINO                  CA           46055064277
84335637941262   MALCOLM         DAVIS                    PA           90014856379
84338838477537   SAMUEL          MORENO                   NV           90000268384
84342489141262   JEAN            WORTHY                   PA           90008834891
84342574372432   GINA            SUTTON                   PA           51025745743
84343886991979   TIFFANY         MARTIN                   NC           90015178869
84362571991837   LINDA           PIENTA                   OK           90004985719
84378666133698   JAYMES          RHODIE                   NC           90003636661
84385511861928   MELISSA         FISHER                   CA           90013035118
84386827677537   STACY           IBARRA                   NV           90005818276
84388777997138   TYLER           WILLIAMS-BELGARDE        OR           90011037779
84416229271977   JESSICA         MONTOYA                  CO           38080172292
84416879241275   FREDDY          KRUGER                   PA           90014918792
84419124691837   ANTONIO         JOHNSON                  OK           90009161246
84419455541275   LORI            MOOREY                   PA           90013934555
84424844193771   MELINDA         LAM                      OH           64591498441
84425538491975   HECTOR          TORRES                   NC           90013095384
84434786497138   FRANCISCO       GAY                      OR           90011037864
84434794441229   JENNA           LEE                      PA           90015317944
84441372171977   ARTURO          PACHECO                  CO           38087113721
84441812841275   DANIELLE        WAGNER                   PA           51089298128
84444319777537   MARCELL         WILKERSON                NV           90010193197
84445943585936   MARCUS          AVERA                    KY           90011069435
84453285471977   DAKOTA          NARANJO                  CO           90012762854
84462278577537   KANIESHA        MOORE                    NV           90010472785
84463997171977   ROBERT          TRUJILLO                 CO           90011309971
84469161485856   RAMIRO          CORTES                   CA           90013101614
84469615985856   KATHERINE       SCOTT                    CA           90014656159
84474434991837   ANN             BONNER                   OK           90010974349
84476152441262   JOSEPH          NICKELSON                PA           90011441524
84477555191242   ZACHARY         SCHOONOVER               GA           90011595551
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84495686751347   TONI            JEFFRIES                 OH           90012576867
84498211841237   CATRICE         COSBY                    PA           90009472118
84513611285936   GERARDO         TREJO                    KY           90007606112
84519926547897   KISA            TINSLEY                  GA           90014139265
84524491891837   JEFF            MCCLAIN                  OK           90010974918
84529617341275   PETER           JACKSON                  PA           90009476173
84532373691837   KATOYA          MACKEY                   OK           90012733736
84533526591837   SHANEE          RICHARD                  OK           90010975265
84544299151362   CHARLES         SMITH                    OH           90014772991
84547712393771   REBECCA         GIBSON                   OH           90012687123
84552497991975   SHERBY          ARCHIBALD                NC           90011004979
84567283791979   CHARLES         JOHNSON                  NC           90012702837
84573691881677   LA SHANU        WALKER                   MO           90010966918
84578213951362   LINDA           BOLIN                    OH           90010532139
84589489691975   MICHAEL         THORNTON                 NC           90014254896
84589856371977   ERNEST          MAES                     CO           90012788563
84591491241275   SHATERIA        COLLIER                  PA           90013934912
84594211451362   MISTY           RICHMOND                 OH           90014762114
84594989961934   MARTI           BATES                    CA           90010609899
84599378191525   VALERIA         ANCHONDO                 TX           90010483781
84615166947897   JACQUELYN       RAINES                   GA           90009871669
84621246441275   DARCELLE        CARTER                   PA           90013122464
84624541391837   KHUP            MUNG                     OK           90012675413
84638448651362   DWAYNE          DURBIN                   KY           90010534486
84647149785936   CAMERON         HOOTEN                   KY           67019691497
84647223385856   CHARLOTTE       MACERA                   CA           90014952233
84651167547897   EILEEE          GREEN                    GA           90010261675
84657734191979   MICHAEL         WILLIAMS                 NC           90012937341
84658613591975   ISAAC           KING                     NC           90011086135
84665684571977   ZEKE            GONZALES                 CO           90012896845
84673664585856   NAZIH           JAMALEDDINE              CA           90013946645
84675542181677   KING BLUE       DE FOO                   MO           90010825421
84678728781677   CELESTINE       ANTU                     MO           90004047287
84711769877537   ALBERT          GUTIERREZ                NV           90011847698
84714359593772   JEREMY          HARDIN                   OH           90011543595
84716431761928   TERESA          ZAMARRON                 CA           90009664317
84721641391242   TONJA           DAVIS                    GA           14522396413
84721837361934   LASHELLE        DENISE                   CA           90009338373
84722538247897   EDGARDO         DELGADO                  GA           90010295382
84734191485856   CEDRIC          WASHINGTON               CA           90013521914
84736585947822   CHRISTINA       WALKER                   GA           90013775859
84741877985856   ANNE            GLASSEY                  CA           90013948779
84742276341262   GINGER          WAUGH                    PA           90014122763
84742417651362   DIERDRA         WRIGHT                   OH           90014764176
84744516241275   LINDSAY         PARRILLA                 PA           90014495162
84745513291975   SHERRY          ONEAL                    NC           90015095132
84745634147822   LANIKKA         ROBERTS                  GA           90009836341
84747298641262   DANA            KING                     PA           90007892986
84747383371977   OLIVIA          GUTIERREZ                CO           90014313833
84747843172432   DAVID           TUROCY                   PA           51035538431
84748523371977   BRANDON         JARAMILLO                CO           90009615233
84757182593763   CAROL           LENHART                  OH           90006311825
84764617761928   WAYMON          EDDINGTON                CA           90008976177
84766599661934   EZEQUIEL        GUERRERO                 CA           90010615996
84772575591979   AHMED           ABDEN                    NC           90011895755
84774434941262   JOSHUA          COVINGTON                PA           90013004349
84778194861928   BETHSABELT      MARTINEZ                 CA           90011591948
84784221691975   JUDY            SPEIGHT                  NC           90002272216
84794194941262   GERRY           VERNTURA                 PA           90001831949
84796235291979   TIFFANY         KING                     NC           90011532352
84815427247897   JORDAN          HAYLES                   GA           90014564272
84819947697138   RYAN            KLOCK                    OR           90009549476
84822213141262   JIM             BRONSON                  PA           90011442131
84822624393771   BRITTANY        POWE                     OH           90013826243
84823526985856   CELIDA          JIMENEZ                  CA           46049985269
84831193585936   PAUL            HUFF                     KY           90001641935
84833449591242   LYANNETTE       LINDSAY                  GA           90010784495
84834457777537   KAREN           HART                     NV           90012054577
84844235871977   CRYSTAL         WEST                     CO           90010622358
84852639485856   YOLANDA         PERALTA                  CA           90013956394
84856663791837   ERIKA           FERGUSON                 OK           90011206637
84858954171977   CHRIS           GILLESPIE                CO           90014879541
84859783797138   MARCELA         PIMENTEL                 OR           44076787837
84861771641262   JAMES           CLOONAN                  PA           90012097716
84862692391837   ASHLEY          WILLIAMS                 OK           90010976923
84868425277537   KAY             OWEN                     NV           90004324252
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84872526985856   CELIDA          JIMENEZ                  CA           46049985269
84875841161934   MARIA           GARCIA                   CA           90008608411
84882855991242   BRIGITTE        WILLIAMS                 GA           90010058559
84884833191837   KIJUAN          NELSON                   OK           90008498331
84885886291837   CODY            SOWERS                   OK           90014738862
84895424491975   LEIDY           MEJIAS                   NC           90013234244
84911542141275   ICESS           WILLIAMS                 PA           90008095421
84913425261934   CHRISTIAN       RAMOS                    CA           90009264252
84917126791975   YOLANDA         BOWMAN                   NC           90014711267
84917917961928   ANDREA          SOLIS                    CA           90000519179
84918888247897   MARIE           GILBERT                  GA           90008098882
84925796197138   JUSTIN          PHILIPPS                 OR           90011357961
84927179951362   TIFFANY         SIMPSON                  OH           90014781799
84931536591979   JULIUS          EXUM                     NC           90012605365
84933787397138   CHRISTINA       BRAVO                    OR           90011357873
84937659571977   ROSALIE         MAESTAS                  CO           38057466595
84939549377537   ULISES          ADAME                    NV           90010345493
84939835877537   YESENIA         RIOS                     NV           90011548358
84941546485856   MARCELINO       GASPAR                   CA           90006595464
84942473761934   ARACELI         GALVAN                   CA           90011684737
84948939191975   GIANNA          VELLETTA                 NC           90014569391
84951165185936   RAHIM           HALL                     KY           90014661651
84952214361928   KARL            FREDELYN                 CA           90008932143
84952388191979   MICHELLE        INGRAM                   NC           90011193881
84954857971977   ASHLEY          MALDONADO                CO           90011188579
84961785291837   JESUS           MIGUEL                   OK           90001787852
84962549861934   ENRIQUE         MAZA                     CA           90011685498
84968154185962   LEKEYSHA        TUCKER                   KY           90009031541
84968877447897   CANDYE          SMITH                    GA           90011498774
84969944391837   NIRE            ZETINA                   OK           21064839443
84995713493771   ALENA           DODSON                   OH           90009577134
85111771991979   SHIQUITA        TAYLOR                   NC           90010967719
85113116741262   GORDON          BRYANT                   PA           90010121167
85113796755945   JORDAN          MARTIN                   CA           90010977967
85114433391324   JAMES           JONES                    KS           90014694333
85118217133698   GEROME          GOMEZ                    NC           90014182171
85119865133698   JOHN            MIDDLE                   NC           90014178651
85126449671977   SARA            PICCO                    CO           90007714496
85128196897138   REBECCA         JONES                    OR           44055921968
85128893133698   KEEONDRA        BARRETT                  NC           90014178931
85129846577537   CARLOS          VASQUEZ                  NV           90014218465
85131315891979   SCOTT           LYNCH                    NC           90011103158
85136118391837   ASHLEY          WHITEHEAD                OK           90014691183
85139611491324   ROSA            HERNANDEZ                KS           90013076114
85141724191837   BRENDA          LONG                     OK           90012747241
85145291397138   KENNETH         HOSKINSON                OR           90011192913
85152841855971   ALMA            HERRERA                  CA           90013668418
85155825361928   ADRIANA         BENITEZ                  CA           90008728253
85156572861928   JOE             NESON                    CA           90013535728
85161258271977   LEONARDO        PALMA                    CO           90010322582
85168396333698   MIRANDA         BROWN                    NC           90011083963
85173121155945   SERVILLE        NEWCHURCH                CA           90013691211
85182364361928   JORDAN          KAUFENBERG               CA           90014763643
85188217355945   HERACLIO        REYES VILLEGAS           CA           90013632173
85196273885946   LIDIA           DOMINGO                  KY           90012502738
85196883355971   ALFONSO         JACME                    CA           90013668833
85211785255971   MADERA          CALI                     CA           90014187852
85217414447897   DAVID           WILLIAMS                 GA           90014154144
85219639391324   MEGAN           FASCHING                 KS           90013556393
85219766357531   RAECHELLE       TERCERO                  NM           90013857663
85224994971977   MARK            ALGIEN                   CO           38055879949
85225441691979   VAULDEMAR       BAUTISTA                 NC           90013724416
85229622555971   ELIZABETH       FLORES                   CA           90014656225
85233583447897   ALEIAS          JOHNSON                  GA           90005085834
85242159477537   DENNIS          PAINTER                  NV           90013361594
85242222147897   MIKE            WEST                     GA           14028992221
85244227971977   JOE             RODRIGUEZ                CO           38010432279
85248363655945   RICK            HERRERA                  CA           90013713636
85249823993771   JOSHUA          JOHNSON                  OH           90012438239
85251417341275   GERALD          TERRY                    PA           90009054173
85253481141275   TIFFANY         ROLLERT                  PA           90010154811
85254765161928   ERIC            WRIGHT                   CA           46005537651
85255112155971   CRUZ            GARCIA                   CA           90011081121
85255323761928   ARLETTE         ALVAREZ                  CA           90013233237
85255426877537   STEPHEN         SHIPMAN                  NV           90013254268
85257398191979   DANLETTE        WAH                      NC           17042713981
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85261424491975   LEIDY           MEJIAS                   NC           90013234244
85261864391837   AMY             JONES                    OK           90010458643
85266312891324   VONACIA         JOHNSON                  MO           90004783128
85273551397138   JOSE            MARCANO                  OR           90013165513
85285729755971   MICHAEL         SUAREZ                   CA           90013297297
85286761193771   ADAM            ALEXANDER                OH           90007467611
85288222533698   SAMUEL          SOX                      NC           90014182225
85295186791837   JOSE            GUERRERO                 OK           90014041867
85295237451362   BARRY           REYNOLDS                 OH           90006512374
85295267755971   RODOLFO         RAMIREZ                  CA           90013052677
85296614191975   BOBBY           JONES                    NC           17096906141
85313449197138   HOLLIS          MCCLURE                  OR           44012204491
85318869941275   CHANELE         IANDIORIO                PA           90014898699
85321613233698   ELIZABETH A     LEE                      NC           90004896132
85322466497138   ALONSO          ALVAREZ                  OR           90014894664
85323481991324   LAJUANDA        WILSON                   KS           90014684819
85326319591979   TIA             DAVIS                    NC           90011103195
85326573441262   STEFON          DIXON                    PA           90012395734
85328262233698   LOLY            FLOLY                    NC           90014182622
85337278133698   ASHLEY          DIAZ                     NC           90014182781
85342587355945   MICAYLA         WESSON                   CA           90014005873
85346259197138   STEPHANIE       NICHOLES                 OR           90012272591
85347959685856   ANNALISA        MACIAS                   CA           90011619596
85348462733698   NATASHA         WALL                     NC           90012974627
85349996297138   JULIETA         LARIOS                   OR           90014399962
85353748291979   WENDY           MARTINEZ                 NC           17089067482
85357528191583   ARTHUR          TURZA                    TX           90011675281
85357948755945   YOLANDA         ANDRADE                  CA           90007179487
85369256641275   JUSTICE         HALL                     PA           90014762566
85373659891975   PETER           RIVERA                   NC           90011056598
85374449261928   JOANN           NORMAN                   CA           90013624492
85376417341275   TODD            CARMAN                   PA           90012474173
85379513461928   ANGELA          THOMAS                   CA           90010705134
85384574791979   JONATHAN        GREENE                   NC           90014955747
85384943133698   STACY           STANFIELD                NC           90005259431
85389528191583   ARTHUR          TURZA                    TX           90011675281
85396243755945   LORRIE          JARRETT                  CA           90014802437
85397214291979   PARIS           LEACH                    NC           90011082142
85411441893771   DAVID           WALKEY                   OH           90011094418
85411691997138   ANTONIO         SANTOS                   OR           90014156919
85413548733698   WANDA           SYKES                    NC           90014185487
85418578197138   KELLY           SUTTON                   OR           90005895781
85419296281677   AZHA            BROWN                    MO           90010882962
85428685671977   ALEXZANDRA      GUTIERREZ                CO           90013066856
85431132441262   RACHEL          DUNBAR                   PA           90013961324
85434332391837   JASON           WILLIAMS                 OK           90010933323
85437695433698   BOLLY           BOLLY                    NC           90014186954
85449378491837   JUAN            DELGADO                  OK           90013263784
85449745491975   EBONY           HINTON                   NC           90005637454
85457176155971   ARTURO          LOPEZ                    CA           90015091761
85457932347897   AZZUKIHRUF      MORRIS                   GA           90013219323
85471171955971   FERNANDO        SALAZAR                  CA           90011141719
85471344541262   TAMARA          PETTY                    PA           90013653445
85471584755945   BONIFACIO       RAMIREZ                  CA           90011045847
85472811791324   PATRICIA        LIKENS                   KS           90014398117
85473425381677   ALPHONSO        VURRIS                   MO           90015114253
85473538847897   MICHAEL         MARTIN                   GA           14038955388
85475561555971   AARON           JIMENEZ                  CA           90012915615
85482286941262   TAEVON          ZINEMON                  PA           90014862869
85485228491837   ANNA            DAVITO                   OK           90014102284
85486839391979   ROBERT          ARRINGTON                NC           90013928393
85488686833698   ELAINE          REYNOLDS                 NC           90013046868
85489896571977   MICHAEL         DURAN                    CO           90014138965
85491492833698   FELIPE          GALVAN MUNOZ             NC           90012964928
85496277691979   QUINTANA        LEE                      NC           90012412776
85511516251362   FRANKLIN        ADKINS                   OH           90006165162
85513536741272   PHILIP          HOOPER                   PA           51048855367
85513574393771   NICOLE          TAYLOR                   OH           90010255743
85515578155945   ZACHERY         MULLINS                  CA           90012805781
85516951641262   KIMBERLY        MAUST                    PA           90014129516
85522367371977   TINITY          DABNEY                   CO           38008053673
85531858681677   DAVID           LANG                     MO           90014928586
85536223247897   TERESA          ROBERTS                  GA           90002662232
85543873777537   HECTOR          OVIDEO                   NV           90013228737
85546674193771   RODGER          PAYNE                    OH           90011586741
85546861291979   KATRINA         TAYLOR                   NC           90010968612
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85547324541262   EMERY           DIXON                    PA           90012083245
85552487755945   RITA            GARCIA                   CA           90012504877
85552599955971   LUIS            ALBETO LUNA              CA           90005785999
85555637171977   CISCO           CORTEZ                   CO           90010066371
85557799385856   ROGER           SHARMA                   CA           90006117993
85566158977537   MARIA           ANDRADE-OROPEZA          NV           90011811589
85566588147897   CHARLES         ADAMS                    GA           90014715881
85566622141275   CORNELIUS       MCDONALD                 PA           90012566221
85567957841275   MARCELLA        WELLS                    PA           51070169578
85569518941275   AMY             CEYROLLES                PA           51022245189
85569546255971   JUANA           BECERRA                  CA           90000705462
85571958891837   JENNIFER        BENNETT                  OK           90010699588
85572145855945   ROSEMARY        PADILLA                  CA           90013681458
85573511381677   JEREMY          LOONEY                   MO           90009975113
85584836144393   GLORY           NWAKANMA                 MD           90000788361
85587284761928   ARENEE          MCLAIN                   CA           90009852847
85587364455945   ANTONIO         HERNANDEZ                CA           90014183644
85587854971977   AIOTEST1        DONOTTOUCH               CO           90015128549
85597587355945   MICAYLA         WESSON                   CA           90014005873
85598311741262   MICHAEL         JAKSON                   PA           90013933117
85611695155971   DIANA           RAMIREZ                  CA           90011406951
85618482571977   LINDA           SMALLS                   CO           90011344825
85637268355971   MIGUEL          MENDOZA                  CA           90012742683
85646424561928   KENNETH         RED                      CA           90012834245
85649837585856   RAMIN A         RAAYA                    CA           90010918375
85654311733698   ANGELA          MCKOY                    NC           90010063117
85656619547897   LAKEETA         BROWNER                  GA           14050206195
85658618555971   YOLANDA         SOLANO                   CA           90005046185
85667235293771   PHILIP          JAMES                    OH           90011662352
85675232755971   LEE ARACELI     MARTINEZ                 CA           90013062327
85675532971977   CRYSTAL         VALDEZ                   CO           90008435329
85678729891975   RODNEY          MARVIL                   NC           90009157298
85678949671977   BRIAN           LORENZO                  CO           90014879496
85684234761466   MIKEL           CALSTON                  OH           90014822347
85689311491837   MICHARL         DUDLEY                   OK           90009863114
85692851433698   CHRISTOPHE      LOCKLEAR                 NC           12035248514
85693682761928   MILLEM          RESENDIZ                 CA           90010426827
85699474291975   BRIAN           BASS                     NC           90012334742
85699663547897   DAMEIN          OLIVER                   GA           90010386635
85715823461928   KATIA           PAPAQUI                  CA           90011998234
85716561493771   RILEY           FREEMAN                  OH           90011095614
85726689291324   MAY             TOE                      KS           90012226892
85726716391975   MONIKE          THOMAS                   NC           90012977163
85727855771977   AIOTEST1        DONOTTOUCH               CO           90015128557
85729756547897   SUMMER          THOMAS                   GA           90009747565
85744754681677   MICHAEL         HILL                     MO           90014627546
85745311991975   MEDARD          IRAKOZE                  NC           90014703119
85746332941262   CHANINGS        BUTLER                   PA           90013933329
85748898333698   NIKA            GARCIA                   NC           90012718983
85752745191837   CHRIS           HARLESS                  OK           90014297451
85753171371977   VICTORIA        ROMERO                   CO           90010311713
85755362455945   FELICIA         MARKHAM                  CA           90006963624
85757667241275   ALICIA          BROWN                    PA           90009306672
85759398441275   KELLY           STARVER                  PA           51049883984
85763824793771   KARRIE          GENTRY                   OH           90014768247
85766287541275   JOHNATHAN       SNOW                     PA           90008032875
85773223455971   YENIFFER        HERRERA                  CA           90014672234
85778193991975   TERRANCE        BRYANT                   NC           90014801939
85782973841262   PATRICA         BLACKWELL                PA           90015159738
85785378191975   CHARLENE        FOSTER                   NC           90008613781
85787758685856   ADOLFO          FILHO                    CA           46095047586
85787981681677   CHRISTINA       SUTHERLIN                MO           90009619816
85796739191324   SPENCER         JOHNSON                  KS           90006447391
85812589681677   JERRI           COOLEY                   MO           29012435896
85815539181677   HUMBERTO        GONZALEZ                 MO           90014155391
85827118391837   ASHLEY          WHITEHEAD                OK           90014691183
85829263161928   KIRSTIE         COUGHLIN                 CA           90014182631
85831661993771   CHRISTOPHER     LEE                      OH           90011096619
85841335691979   SHERRARD        COLON                    NC           90011103356
85841973461928   LAURA           ROJAS                    CA           90011279734
85845172341262   DEONTE          WASHINGTON               PA           90014621723
85845863391975   EDNA            PIERCE                   NC           17088498633
85847128547897   TANYA           PLIEGO                   GA           90011281285
85847258691837   SHELLEY         ATCHLEY                  OK           90011022586
85854458197138   ANA             RAMOS                    OR           90013604581
85862919841262   JORDEN          MICKMAN                  PA           90011949198
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85867313947897   JASMINE         ALLEN                    GA           90013633139
85869465155971   ISAAC           GARCIA                   CA           49065644651
85871338847853   JEFFEREY        HICKS                    GA           90005433388
85875319947897   WILLIE          STEWART                  GA           90015163199
85879922991324   SHIRLY          LOPEZ                    KS           90010539229
85883876561928   JIMMY           PLUMMER                  CA           46006938765
85887876561928   JIMMY           PLUMMER                  CA           46006938765
85889393655945   HUGO            ALONSO SANTIAGO          CA           90015313936
85893346891837   MARIA           ESCOBEDO                 OK           90010613468
85897835981677   ANITA           HARRIS                   MO           90013568359
85915268485856   ANTONIO         SANCHEZ                  CA           90000842684
85919574391979   JOSE            FUENTES                  NC           90012345743
85921514791975   BRANDY          HIGGS                    NC           90010245147
85937357881677   YOLANDA         WALKER                   MO           90013443578
85938951647897   ALISIA          WILLIAMS                 GA           90007139516
85939599991837   JEROME          GRAY                     OK           90011435999
85943129147897   NATHANIEL       SMALL                    GA           90011291291
85943948655971   DOREEN A        LOPEZ                    CA           90006139486
85947872391837   MICHELLE        JOHNSON                  OK           90015188723
85954654161963   IRMA            SANCHEZ                  CA           46092606541
85957584951362   CHARLES         HUGHES                   OH           90008375849
85959241991975   BLANCA          FUNEZ                    NC           90012412419
85961152241262   TINECIA         GARDNER                  PA           90001901522
85963265793771   MEGAN           WILCOX                   OH           90014752657
85963643391979   EZEMA           KALU                     NC           90011506433
85966233391837   MARTIN          SECURITY                 OK           90009752333
85976338191975   KRISTEN         GIBSON                   NC           90003963381
85977877841275   DONNA           GUARINO                  PA           90014868778
85984912455971   NANCY           CERVANTES                CA           90014689124
86111138833698   BRITNEY         MCNEAIR                  NC           90008391388
86114443155945   IRENE           FLORES                   CA           49002144431
86116223155945   VANESSA         GARCIA                   CA           49077472231
86116731781677   ANNA            GARCIA                   MO           90010557317
86118184797138   REGENNITTER     ALICIA                   OR           90011141847
86124229285888   JAMES           WOLF                     CA           90011702292
86129983755945   AGUSTIN         LOPEZ                    CA           90010269837
86134251391975   MARK            LAUTNER                  NC           90010232513
86139915991975   KEVIN           JOHNSON                  NC           90012689159
86139937891979   DETHRISS        BYRD                     NC           90010919378
86142196497138   IGNACIO         TOVAR                    OR           44065671964
86143467393771   BRITTANY        HAYES                    OH           90012164673
86143512491837   BOBBIE          HAZELWOOD                OK           90010025124
86148657791553   JORGE           HERNANDEZ                TX           90007896577
86151429185936   ERICA           MITCHELL                 KY           67034074291
86152535551374   GREGORY         LOWE                     OH           90010885355
86153492533698   JAMES           SADLER                   NC           90010544925
86155575151362   MAZELLE         JONES                    OH           90014175751
86157153971977   AMY             FREEMAN                  CO           90013321539
86161942271977   TIMOTHY         CROSS                    CO           90011319422
86163476472467   JESSIE          EWING                    PA           90010734764
86163919793771   PAUL C          LONG                     OH           90011109197
86164971147897   TOBIJAH         MING                     GA           90012489711
86167974655945   MARY            RAGANS                   CA           49061939746
86169238277537   TYSON           LEATHERWOOD              NV           90011502382
86171633361928   AIOTEST1        DONOTTOUCH               CA           90015116333
86171877551362   HOLLY           BAKER                    OH           90007158775
86177526191975   LA LEY          APP PHONE                NC           90013455261
86178589591975   NELSON          ROSALES                  NC           90011505895
86181594971938   ADELICIA        KARAFFA                  CO           32086195949
86186539877537   YAJAIRA         VIVAR-DONADO             NV           90005725398
86193735897138   BLANCHE         A MCFARLAND              OR           90004387358
86196188961928   ROCIO           BASA                     CA           90009391889
86197844491553   JUAN            FAVELA                   NM           75017208444
86198586471938   DENISE          DEWBERRY                 CO           90013065864
86198867241262   ROBERT          MACSURAK                 PA           90011528672
86212973441275   TANEISHA        HELMS                    PA           90007879734
86213989391837   DERAY           PEARSON                  OK           90012529893
86221447797138   BRITTNEY        JOHNSON                  OR           90013744477
86221844491553   JUAN            FAVELA                   NM           75017208444
86225844491553   JUAN            FAVELA                   NM           75017208444
86226726961928   MAYRA           AGUERO                   CA           90011157269
86228516333698   BETH            MARTINEZ                 NC           90014715163
86231253393771   SULEIMA         ARIAS                    OH           90010682533
86231917286443   KUTERA          BOWENS                   SC           90009599172
86243431661928   JOAQUIN         MORALES                  CA           90008744316
86243686671938   DANIELLE        GONZOLEZ                 CO           90012776866
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86243844491553   JUAN             FAVELA                  NM           75017208444
86244116181677   DONACIANO        GONZALEZ NEVAREZ        MO           90010561161
86244175877537   JULIAN           SALDANA-PACHECO         NV           90011971758
86245975185856   MARK             GRUNDLAND               CA           90011329751
86246347471938   STEVEN           PADDACK                 CO           90013333474
86246831151323   LORETTA          PHILIPS                 OH           90009188311
86249454951362   DONTE            BROOKS                  OH           90009784549
86249464985936   SEAN             GIBSON                  KY           90014464649
86259712297138   SHANE            WILLIAMS                OR           90012727122
86264619561928   MAYRA            MARTINEZ                CA           90010336195
86264724341275   CONNIE           SMITH                   PA           90009997243
86264991633698   ALYSSA           DEARMON                 NC           90011249916
86266663771977   JESUSA           ARGUIJO                 CO           90013036637
86268674477537   GERARDO          SOSA                    NV           90000836744
86268995981677   AMANDA           EVERSON                 MO           29018019959
86269218291863   ANGIE            NEWCOMER                OK           90003832182
86269425777537   EDWIN            MIRANDA                 NV           90009274257
86272869641262   LAMMAR           VALENTINE               PA           90013588696
86277822447897   BELINDA          ELLINGTON               GA           90007718224
86278933561928   AUDREYANNA       CLARK                   CA           90013289335
86284554651362   JOHN             DOE                     OH           90013685546
86289339951362   ROBERT           THEADERMAN              OH           90014623399
86291633361928   AIOTEST1         DONOTTOUCH              CA           90015116333
86292345741262   ALICIA           WILSON                  PA           90001533457
86292476847897   KIMO             BUCKLEY                 GA           90011454768
86294425777537   EDWIN            MIRANDA                 NV           90009274257
86295175877537   JULIAN           SALDANA-PACHECO         NV           90011971758
86295899541262   JUSTIN BRANDON   YOUNG                   PA           90010178995
86299582671938   MARI ANN         ALLEN                   CO           90006145826
86311363691837   KYLE             MAYNARD                 OK           90007473636
86317112285856   FRED             FARAZ                   CA           90003521122
86325281161928   CRISTO           CASILLAS                CA           90011332811
86326486485856   MERIZA           CICOONE                 CA           90012154864
86328415993771   THERESA          UZHCA                   OH           90006494159
86328854185924   TAMINA           VAA                     KY           90004358541
86333232361928   YVETTE           MEDINA                  CA           90004682323
86333548241262   MARKESHIA        HARRIS                  PA           90009875482
86336592591979   LAWYETTE         TERRELL                 NC           90014975925
86347888893771   JASON            BROWN                   OH           90006578888
86348297851363   RAHEEM           ZELLARS                 OH           90007772978
86359848597138   AARON            ECKLUND                 OR           90013248485
86362295147897   VALENCIA         WILLIAMS                GA           90014712951
86373161841262   DENISE           TOMLIN                  PA           90011441618
86373612197138   LIBORIO          URRUTIA TORRES          OR           90009626121
86374822447897   BELINDA          ELLINGTON               GA           90007718224
86378336593771   VICTORIA         DUNLAP                  OH           90013233365
86378894277537   JOSE             DELALUZ                 NV           43098828942
86379586441262   CARISSA          ATKINSON                PA           90013195864
86381243593771   ADRIAN           TAULBEE                 OH           90005772435
86381491771938   NEHOMY           DE LEON                 CO           90013314917
86382692491979   OTHELLA E        OWENS                   NC           90013546924
86383258485888   MARCELA          PEREZ                   CA           90011962584
86391747251362   SAMIAR           MOHAMMED                OH           90012507472
86395627541262   CAMILLE          SMITH                   PA           90012846275
86396147151362   JAY              WATSON                  OH           90012391471
86398161451362   JESSICA          WILLIAMS                OH           90008191614
86399543893771   TIFFANY          DILLARD                 OH           90013655438
86413597961928   EINA             LAKH                    CA           90012125979
86419838371938   LEMETRIUS        MELODY                  CO           90014348383
86423831681677   ERICA            ODENS                   MO           90010568316
86425916861928   JUANA            DOMINGUEZ               CA           90004449168
86432317361928   ALVARO           MERIGO                  CA           46024323173
86436472785888   NICHOLAS         COPPAGE                 CA           90005984727
86437792181677   STACY            SHOCKEY                 MO           29095767921
86438426491979   KRISTIE          HAMMONDS                NC           90014574264
86441451691837   BRITTANY         JACKSON                 OK           90003504516
86442838371938   LEMETRIUS        MELODY                  CO           90014348383
86444616791979   DOUGLAS          TOBAR                   NC           90011376167
86444653471938   AMBER            LEONARD                 CO           90008716534
86444748791979   RAMONA           HILARIO                 NC           90008907487
86453264385888   ALEJANDRA        BARSOOM                 CA           46011502643
86457546381677   ALEXIS           WRIGHT                  MO           90006385463
86457693993771   AMY              RILEY                   OH           64590086939
86468119191837   KIMA             DANCAUSE                OK           90004761191
86472158977537   EMMANUEL         DELEON                  NV           90011131589
86478779451362   CHRISTINE        SKERRETT                OH           90014107794
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86479615855945   HANS            BARSNESS                 CA           49086776158
86481396241275   ADAM            OATS                     PA           90014603962
86481849785856   RAN             SHENHAR                  CA           90012388497
86484331991979   JASON           POOLE                    NC           90010143319
86487397261928   ALEXANDER       RODRIGUEZ                CA           90014873972
86491152372496   TINA            MIRANDA                  PA           90014341523
86493515141275   KWEILYN         ROSS                     PA           90011275151
86494632191975   ARAI            HERNANDEZ                NC           90007666321
86496479541262   JIM             HALPERT                  PA           90012844795
86512989547897   DEXTER          BALDWIN                  GA           90012029895
86519659497138   BOBBY           HILL                     OR           90012326594
86531619961928   SOTERO          MANJARREZ                CA           90010996199
86534426393771   PATRICK         SEIBERT                  OH           90003764263
86536782493771   CORNELIUS       WEST                     OH           90011457824
86537219991837   AMANDA          SEAMANS                  OK           90011842199
86541835977537   DONALD          MARTIN                   NV           90013008359
86545411677537   DANIEL          FUENTEZ                  NV           43055024116
86545893297138   BANI            DE LA CRUZ               OR           90005978932
86551864541275   TERRY           GATTS                    PA           90013188645
86555978955945   DOLORES         AGUILAR                  CA           90006759789
86565782197138   JOSEPH          NEDELEC                  OR           90012737821
86567924533698   JORDAN          MICKEL                   NC           90014809245
86573587777537   CORY            AKERS                    NV           90013405877
86579189391975   CARITA          BONAPARTE                NC           90010971893
86579491561928   ERIN            KELLISON                 CA           90012154915
86581632891979   SANDY           JUDD                     NC           90013016328
86582821161928   JANET           FAJARDO                  CA           46072038211
86583633533698   TERRELL         WILLIAMS                 NC           90009326335
86591619961928   SOTERO          MANJARREZ                CA           90010996199
86596525547897   KAWANDA         JACKSON                  GA           90014105255
86597212541262   JULIE           WALKER                   PA           51097732125
86624148641262   AURELIA         FRATINI                  PA           90011121486
86625931985856   CALEB           RYDER                    CA           90012969319
86627381255945   VICTORIA        URISTA                   CA           49004213812
86628721971938   LATESHA         ROBERTS                  CO           90012427219
86633167291837   BRANDIE         BRUER                    OK           90014371672
86633739461928   ELISA           FERNANDEZ                CA           46088957394
86641528641275   ELIZBATH        WOOLHEATER               PA           90008785286
86643574791979   SEYLA           GARCIA                   NC           90014575747
86644655291837   KEVIN           THOMAS                   OK           90012456552
86647153685856   HERMELINDA      HUYNH                    CA           90014361536
86647374691975   MICHAEL         MOORE                    NC           90014113746
86652433541275   LAWRENCE        ADDISON                  PA           90014174335
86659996977537   KETI            TONGA                    NV           90006879969
86664595555945   LUZ             PENA                     CA           90014485955
86671247291975   KENNY           MULLIS                   NC           90010472472
86671526671938   ESTELA          CHAVEZ                   CO           32093305266
86677841755945   DARLENE         GARCIA                   CA           90014478417
86679357891979   ASHLEY          JOHNSON                  NC           90006013578
86683329651362   MIKE            JHONSON                  OH           90012313296
86692817191837   JESSICA         MCCRARY                  OK           90012728171
86695518751362   SAMARA          ELLIOTT                  OH           90011015187
86714643285856   WAYNE           TAYLOR                   CA           90014096432
86714778491975   HARACIO         VAZQUEZ                  NC           90007677784
86715576293771   AMY             BUTLER                   OH           90009075762
86718347771977   KAREN           HICKS                    CO           90001053477
86721293571977   PABLO           MOLINA                   CO           90014392935
86721415885936   STEVEN          WILLIAMS                 KY           90013894158
86726434677537   EMILY           ROMERO                   NV           90004964346
86728966441262   JUDITH          STREET                   PA           90010949664
86731817661928   JUAN            PENA                     CA           90008918176
86732892247897   JESSIC          BRONNER                  GA           90014848922
86737411671938   JACK            EANS                     CO           90013204116
86737896261928   KATERA          SUGGS                    CA           46094838962
86744792181677   STACY           SHOCKEY                  MO           29095767921
86745747251362   SAMIAR          MOHAMMED                 OH           90012507472
86747295461928   STEPHANIE       BUECHLER                 CA           90000402954
86751783833698   EDWARD          KEENE                    NC           12030357838
86761555171977   RAEANN          ALCON                    CO           90005485551
86763362485856   OMAR            MORENO                   CA           90013813624
86763741885888   VICTOR          CALDERON                 CA           90012447418
86764167797138   KAYTE           RACH                     OR           44084991677
86764632591979   TAWANA          COLEMAN                  NC           90014576325
86764998641262   ORISSA          BEY                      PA           90010639986
86767418533698   APRIL           MCCAIN                   NC           90014224185
86769663151362   JOHN            MORRIS                   OH           90012866631
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86769738536121   LATAMARA        ROBERTS                  TX           90010857385
86771416891979   ANA LILIA       NERI-ISLAS               NC           90007734168
86773317171938   MOISES          TAYLOR                   CO           32013393171
86776868991553   MARIBEL         LIRA                     TX           90003738689
86777497485856   NICOLE          VOGT                     CA           90012934974
86783239133698   MANUEL          GARCIA                   NC           90011262391
86795224197138   CODY            HARRAL                   OR           90014782241
86814145185856   ALVARO          LOPEZ                    CA           46055841451
86816238497138   JEFF            BAKER                    OR           90011242384
86827999571977   NANCY           VALVERDE                 CO           90012839995
86828464561928   CHRISTOPHER     CHAVEZ                   CA           90014674645
86832534161492   JULIE           RIDGE                    OH           90013885341
86837156991979   JOSEPHINE       CHARLES                  NC           90010831569
86838463281677   EDDIE           COLE                     MO           90011484632
86841623277537   ROSALBA         GUERRERO                 NV           90013976232
86854384171977   JUSTIN          RAEL                     CO           90010853841
86855626971938   MICHAEL         CLARK                    CO           90014266269
86859441355945   REBECCA         UPSHAW                   CA           90013174413
86862994591837   MONICA          HOWARD                   OK           90013399945
86865557661928   DELONIA         ANDERSON                 CA           90010735576
86871923477537   EDGAR           PINTO                    NV           90012619234
86877431151362   GENA            SANTILLAN                OH           90014534311
86878669771938   SHAVAI          HARPER                   CO           90011586697
86881744141275   JUSTIN          WARNER                   PA           90010377441
86881973897138   MITCH           MYERS                    OR           90011959738
86884379891553   LUIS            HERNANDEZ                TX           90005253798
86886497985856   MAURICIO        QUINTERO                 CA           90014824979
86886597233698   ANTHONIO        POOLE                    NC           90014755972
86887337991935   MICHAEL         ZEGEYE                   NC           90004543379
86888424571938   JHENER          ROMERO                   CO           90011364245
86889425631445   ERICA           SMITH                    MO           90001244256
86892793891975   SILVIA          VALDEZ                   NC           90012457938
86894285171938   THOMAS          ALLEN                    CO           90010262851
86917199991979   MANDY L         ENTWHISTLE               NC           90004881999
86924737391837   JOHN            OSGOOD                   OK           90014687373
86925277593771   RICHARD         KEELER                   OH           90008482775
86928233355945   KIMBERLY        ZEPEDA                   CA           90012232333
86928934891837   WENDALL         MCNAC                    OK           90010769348
86937441591979   STACY           MONTGOMERY               NC           90011344415
86944445971938   JONATHON        DANIELS                  CO           90014814459
86944474191837   ROSALIND        HENRY                    OK           90011614741
86953118485936   AARON           COLLINS                  KY           90013301184
86953137391553   ALEJANDRA       RAMOS                    TX           90005781373
86963435741275   AMANDA          IRWIN                    PA           51009124357
86964987955945   BRYANT          WARD                     CA           90011309879
86967511447897   LEMUEL          MABRY                    GA           90014965114
86971516385888   GARCIA          GERMAN                   CA           46014065163
86973228477537   SHAWN           WOOD                     NV           90014272284
86981564551362   KEVIN           MCBRIDE                  OH           90014575645
86994441677537   RANDY           ARTERBURN-JOHNSON        NV           90014094416
86994712697138   ROGELIO         CARBAJAL                 OR           90013327126
86996173285856   BLAS            ROMERO                   CA           90013821732
86997682791975   IRIS            ROBLES                   NC           90012536827
86997737347897   TALONDA         ROBERTS                  GA           90010177373
87116756371977   DAWN            TURBYFILL                CO           90013747563
87123146741275   STEPHANIE       BLAKEMORE                PA           90011481467
87126232885962   JOHN            JACOB                    KY           90009342328
87129781391975   JOE             NUNN                     NC           90012037813
87132122891242   NICOLE          PENICK                   GA           14579911228
87132299841275   VINCE           LUPI                     PA           90010382998
87133628593771   KERTINA         CALLOWAY                 OH           90011376285
87135117351341   JENNIFER        GREGORY                  OH           66021841173
87142546691837   KIERRA          PRICE                    OK           90010985466
87148489347897   ANGELA          HEARD                    GA           90014714893
87149363991975   JASMINE         ONEAL                    NC           90014443639
87152734197138   BRANDY          MILLER                   OR           90013677341
87156592991837   SIERA           JASMINE                  OK           90013965929
87165561551341   KATY            HOLTHAUS                 OH           90014715615
87167326691975   KENDALL         GRIRI                    NC           90013043266
87167437841262   BILL            WAGONER                  PA           90013944378
87171565851341   ANDREW          SCOTT                    OH           90014715658
87173898741262   JADE            MARTIN                   PA           90014338987
87174235193771   CIERA           STANLEY                  OH           90011122351
87176652147897   MARIO           PAULDO                   GA           90008276521
87179565851341   ANDREW          SCOTT                    OH           90014715658
87185514591979   MARIA           RUIZ                     NC           90011145145
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87194817777537   SAMANTHA        TOM                      NV           90014618177
87198923477537   EDGAR           PINTO                    NV           90012619234
87211176697138   YOUNG           KELSEY                   OR           90006201766
87214846177537   ISAI            SEGURA                   NV           90014498461
87222523455935   BALDEMAR        REYES                    CA           90009985234
87233233185822   TROY            BURTON                   CA           90001062331
87233254291979   SHARLENE        WAARDENPURG              NC           17041772542
87238653551341   MARILYN         HOWARD                   OH           90014706535
87252561991979   HASSAN          MALICK                   NC           90011915619
87255136977537   RODRIGO         MARTINEZ                 NV           90012681369
87263971491242   LEIBER          SUCHIAPA                 GA           90009389714
87264896547897   NATALIA         ALLEN                    GA           90011198965
87265874697138   MORA            CORTEZ                   OR           90013368746
87277723551341   FREDRICK        THOMAS                   OH           90013057235
87288669233698   JAYR            JOHNSON                  NC           12014956692
87289932391975   ELSA            LINARES RAMOS            NC           90013909323
87294273491979   DAVID           FLEMING                  NC           90010842734
87299385593771   MELVIN          OGLESBY                  OH           90008993855
87319438591979   JESUS           GARCIA                   VA           90015194385
87321376741262   QUINCY          JONES                    PA           90015033767
87334237677537   RUDY            GONZALES                 NV           43094942376
87344626451341   ERNESTINE       BRETZ                    OH           90014716264
87351959291979   TREMAYNE        HAMPTON                  NC           90010019592
87353626547897   OLYMPIA         STEPHENS                 GA           90013686265
87353824191837   INDIRA          VAZQUEZ                  OK           90013968241
87354693791975   UEN             BAM                      NC           90009846937
87355432641275   DNIESHA         CLEVELAND                PA           51005414326
87355446747897   DEXTER          WILLIAMS                 GA           90008664467
87362397261928   MARIO ALFONSO   CALZADA                  CA           90013293972
87371841791837   JUAN CARLOS     HERNANDEZ MARTINEZ       OK           90013968417
87376246891979   TIMO            TEO                      NC           90009402468
87381753161928   TANICESHA       RODGERS                  CA           90013937531
87384343171977   DOMINIC         CAVANAGH                 CO           90004723431
87385382991975   RENEE           ALLEN                    NC           90007823829
87388196333453   DEMICHAEL       STEEL                    AL           90014381963
87393554491837   NOLVI           YOVANY                   OK           90010985544
87399457747897   LASHANDRA       JENKINS                  GA           90015034577
87412371291975   PERSON          SURONI                   NC           90011213712
87418955991837   BILLY           BUTLER                   OK           90011529559
87422822461928   GONZALO         MARTINEZ                 CA           90013228224
87424779171977   STEPHEN         TRUJILLO                 CO           90012597791
87425945451341   KATLYN          CHOMA                    OH           90001199454
87437693591979   BELINDA         ROBERSON                 NC           90013756935
87443416891975   ANA LILIA       NERI-ISLAS               NC           90007734168
87449325191879   JASMINE         SMITH                    OK           90001603251
87455874697138   MORA            CORTEZ                   OR           90013368746
87461285377537   ROBERT          CHURCH                   NV           43098892853
87467732977537   MARIA           FERNANDEZ                NV           90001407329
87472552693771   DYLAN           JUDD                     OH           90012785526
87473986741275   DAWN            KELLER                   PA           90010109867
87478444991975   DONNA           BURKS                    NC           90011214449
87481489461928   IZZY            ORNELAS                  CA           90010624894
87484372891979   JOSEPH          CORBETT                  NC           90012943728
87487296893771   SCOTT           MOORE                    OH           90014402968
87491264671977   MELANIE         HOUSE                    CO           90014792646
87532691941262   PEARLINE        ROBINSON                 PA           90012996919
87535789577537   PENNY           LEUZINGER                NV           90013837895
87543719793771   MISTY           BROOKS                   OH           90007797197
87543876751341   HUGO            LOPEZ                    OH           90008758767
87544928161928   SINAY           CHANCAY                  CA           90008619281
87548922397138   MICHAEL         ROACH                    OR           90013839223
87551458591979   BREANA          MARSHAL                  NC           90013864585
87555891377537   ANA             HERNANDEZ                NV           90011108913
87556356942329   RACHAEL         BLEDSOE                  GA           90012063569
87557324593771   TORI            SNIDER                   OH           90010903245
87564542471977   BENITA          SALAZAR                  CO           90012715424
87564725541262   DOMINIC         ROMETO                   PA           90012997255
87574231961951   CARLOS          CERVANTES                CA           90014492319
87575666561978   JEFF            GUILFORD                 CA           90001646665
87586494771977   EMMA            TAFOYA                   CO           90010844947
87586578841262   JONAS           SLAGER                   PA           90013945788
87591695991837   FRANCISCO       CABANA                   OK           90012636959
87596883991975   REBEKKA         HOLLANDER                NC           90001048839
87624333291837   KEITH           SINCLAIR                 OK           90001623332
87632569961928   JUSTINA MARIE   LOPEZ                    CA           90013055699
87639744641275   ERIN            ALLEN                    PA           90006047446
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87642847151341   MEGAN           HOLSCHER                 OH           90014728471
87644626193771   DOUGLAS         JONES                    OH           90010836261
87645989877537   TREVOR          WILLIAMS                 NV           90013799898
87646858951341   DAVID           UPTON                    OH           90014728589
87656742893771   JASON           TURNER                   OH           90006217428
87656965797138   RONALD          MAY                      OR           90007769657
87661515961928   YVETTE          MEDINA                   CA           90010625159
87664685291979   TY              HARRIS                   NC           90014906852
87665544497138   LATAIR          CHARMAINE RHODES         OR           90012585444
87683632791837   SYLVIA          SCOTT                    OK           21038616327
87684629391979   LONNIE          GASP                     NC           90004846293
87689926591975   TIMOTHY         RUFFIN                   NC           90010099265
87694992471977   REEANN          MARTINEZ                 CO           90012859924
87716257385962   MARIA           ENNIS                    KY           90010102573
87717252891975   ALISA           HEDGEPETH                NC           17045492528
87721449771977   RENEE           LAMBORN                  CO           90013804497
87726474691975   ISAAC           GARCIA                   NC           90013354746
87734383961951   KATIE           RHOTON                   CA           46024703839
87737834451341   JEAN            PIERRE                   OH           90013988344
87746872133658   KENNETH         FENNELL                  NC           90011568721
87748934691979   NERI            LOPEZ                    NC           17075469346
87749214781651   LIONEL          BUFORD                   MO           90005732147
87753553471977   SAJJAD          MAHDI                    CO           90013965534
87757181297138   ALBION          BEAN                     OR           90012091812
87761327877537   CESAR           ADRIAN                   NV           43011183278
87764385293771   BRANDON         SUTTON                   OH           90011893852
87765522161977   GUILLERMO       GONZALEZ                 CA           90005215221
87774672241262   ADREA           SIMPSON                  PA           90013946722
87777516591979   TWANNA          FRANCIS                  NC           90013325165
87781892241262   JERMAINE        SAMPLE                   PA           90007708922
87783779591975   ROY             YANCEY                   NC           90012037795
87785236941262   ASHLEY          COLLINS                  PA           90013012369
87818477961928   JUSTIN          MARLOW                   CA           90012694779
87819142741262   ERICA           KINER                    PA           90010981427
87822964941262   JEREMY          KIM                      PA           90013959649
87833373461928   ASHLEE MARIE    PEREZ                    CA           90013873734
87837734441262   JAYQUAN         CLINTON                  PA           90013947344
87842336991975   GARY            BLOISE                   NC           90014023369
87852347151341   JIMMY           PENNINGTON               OH           90004653471
87861499461928   CODY            MILLS                    CA           90013044994
87861954171977   CHRIS           GILLESPIE                CO           90014879541
87863198171977   RAIANNE         MALBONADR                CO           90007891981
87866478557129   CARMEN          ALICIA                   VA           90011414785
87867561277537   AMY             SEXEY                    NV           90012405612
87878178251341   KELTON          LINDSAY                  OH           90014731782
87878253391975   MICHAEL         PAIGE II                 NC           90011222533
87882384693771   INDIA           SAWERS                   OH           90011713846
87884772197138   BRIT            BROEKE                   OR           90012607721
87885355384347   TERESA          CARRANZA                 SC           90010113553
87888745877537   DANIELLE        CASON                    NV           90012637458
87894458997138   LACEY           HAGAN                    OR           90013984589
87894839241275   CALEB           STOKES                   PA           90010468392
87895711377537   AUNU            ROBINSON                 NV           90011867113
87913456197138   ZOSIMO          SALINAS                  OR           90009484561
87916668841262   SOPHIA          GONZALEZ                 PA           90007126688
87921481151362   NICHOLAS        STITZEL                  OH           90011344811
87921482177537   MARQUISE        DANIELS-HATCHER          NV           43023264821
87922197291837   TASHA           ANDERSON                 OK           90013971972
87924664593771   STEVE           HOWARD                   OH           64509016645
87926226493771   ANTHONY         COIL                     OH           90010912264
87926789541262   MARY            ANDERSON                 PA           90013947895
87927476791979   KAREN           COOPER                   NC           90014544767
87931826497138   NATASHA         WESTMARK                 OR           90006128264
87932717551362   HERTH           DARLENE                  OH           90010107175
87936666341232   LISA            WILLIAMS                 PA           90015086663
87938758193724   BREONNA         PINSON                   OH           90009807581
87945643891837   ERICK           CARVAJAL                 OK           90012416438
87948257951341   LASHAWN         ANDERSON                 OH           90014732579
87949746261928   ANGEL           RUBEN CAMPOS             CA           90006227462
87957252971977   JEREMIAH        PRESTON                  CO           90013272529
87959576477537   ALICIA          CALDWELL                 NV           90007625764
87973495297138   LINDA           EZRA                     OR           90013814952
87978825241262   RAMIREZ         PEDRO                    PA           90013948252
87982261593771   JOSEPH          MIDDLEBROOK              OH           90014712615
87982829441262   RAMMY           LEE                      PA           90013948294
87993512591979   SHONICA         GOSS                     NC           90014635125
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87995454157142   LAURA           HILLARY                  VA           81071614541
87999666341232   LISA            WILLIAMS                 PA           90015086663
88123191851341   JAMES           JOHNSON                  OH           90006921918
88124838141275   KEITH           ZAMBORSKY                PA           90009388381
88127534333471   TERESA          MORRISON                 AL           90014325343
88132392655945   LETICIA         MORALES                  CA           90012543926
88136384433698   TRAY            TERRY                    NC           90012673844
88139978254177   PAYGO           IVR ACTIVATION           OR           90014229782
88147376277537   MANUEL          PEREZ                    NV           90013853762
88148858991979   ZAKEE           JOHNSON                  NC           90014658589
88149514433698   TAMIKA          MONTGOMERY               NC           90012865144
88153315551341   ANTHONY         DITDULL                  OH           90013093155
88159449877537   DONOVAN         GUINN                    NV           90015124498
88164484591893   RENEE           ROMERO                   OK           90006284845
88164781355945   JUSTINA         METH                     CA           90002177813
88168539861928   LEO MAGNO       ORTIZ                    CA           90003135398
88176174391837   KIM             SULLIVAN                 OK           21096471743
88192319561428   FADUMO          ABDALLA                  OH           90013973195
88192575351341   JOSHUA          WRIGHT                   OH           90014545753
88197242984336   FELIPE          HERNANDEZ                SC           90010872429
88212259633698   SELINA          TATE                     NC           12082172596
88214221591837   LATEESE         ROSS                     OK           90010662215
88214463691837   DUSTIN          SANG                     OK           90012994636
88228194851362   JORGE           GASPER                   OH           90011841948
88229867491553   RANDY           WILLIAM                  TX           90009238674
88232646171977   BRUCE           PREWITT                  CO           90013056461
88233522277537   KATRINA         BEARD                    NV           90010065222
88235694541262   OMARTTZ         BROOKS                   PA           90009816945
88236767497138   HUGO            VASQUEZ SALASAR          OR           90010397674
88237974991837   HOLLY           GREEN                    OK           90012669749
88242326977537   KENT            PERTERSON                NV           90010903269
88244278377537   SAUL            MONTOYA                  NV           43093252783
88245274347822   BRANDI          MIMS                     GA           14008212743
88248812951341   KRYSTAL         TAYLOR                   OH           90013618129
88255183751341   LANDON          HUGHES                   OH           90010151837
88255191955956   MARIA           VEGA                     CA           90012291919
88264699891927   TOMEKA          CROWDER                  NC           90001236998
88265238341237   HELEN           MACHICOTE                PA           90011842383
88284741841275   GABRIEL         WILLIS                   PA           90008377418
88285378731621   TIFFANY         DORSEY                   KS           22005483787
88292962733698   CORLISS         MCCOY                    NC           90010499627
88297454851362   MISTY           JONES                    OH           66091444548
88312689555945   ROBERTO         RAMIREZ ZAMBRANO         CA           49003586895
88316916571977   JUSTIN          GINNINGS                 CO           90014059165
88321634571977   DESTINY         GRIEGO                   CO           90012926345
88327845733698   JAHTARA         HIELDS                   NC           90012998457
88332492355945   MARK            ORTEGA                   CA           90013284923
88334217697138   ELTON           RALSTON                  OR           90014882176
88334739491979   LATOYA          GILCHRIST                NC           90010137394
88341649351365   SHERESE         LEWIS                    OH           90011966493
88342637561928   BENITO          GONZALES                 CA           90014676375
88347736771977   RICHARD         BRAVO                    CO           90012917367
88349373891837   LAM             CING                     OK           90014983738
88356374577533   RUBEN           GIRON                    NV           90006593745
88357857293771   RUSSELL         WAGANS                   OH           90009658572
88361375971977   ANTHONY L       GOODE                    CO           38060433759
88364251897138   JOSHUA          MORRIS                   OR           90011092518
88369218451341   TIFFANY         CHAMBERS                 OH           90012832184
88371488861928   CHRISTINA       CORDOVA                  CA           90013664888
88379887791837   AMBER           HETTICK                  OK           90010328877
88393695561928   JOSELO          LEON                     CA           90013486955
88415913661928   ERICK           CARDENAS                 CA           90009079136
88416268697138   GASCA           MARIA ESMERALDA          OR           90002182686
88416724571977   ROBERT          SANATA                   CO           90007087245
88423471181627   LEANNA          GALLION                  MO           29030114711
88427947255945   WALTER          STEPHENSON               CA           90013209472
88435744177537   ANA             CARIAS                   NV           90009807441
88452552593771   ANTONIO         ALEXANDER                OH           90012345525
88458655791837   SHEMIKA         HAMILTON                 OK           90003486557
88461397871977   RUTH            SMITH-VASQUEZ            CO           90012463978
88473254755945   JOAQUIN         GONZALES                 CA           49036492547
88485334777537   JAVIER          TEC VERDE                NV           90013363347
88489934997138   MENSY           JULIO                    OR           90014929349
88492424991979   ALBERTO         SANCHEZ                  NC           90002974249
88495172561928   SANDRA          PRUET                    CA           90013061725
88512636877537   ANNMARIE        BENNY                    NV           90010336368
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88524149261928   MARK             THOPSON                 CA           90013361492
88525139671977   RITISHA          BEGAY                   CO           90013191396
88536135271977   FRANCES          BANDA                   CO           90003001352
88542968171977   JAMES            CARBAJAL                CO           38058879681
88552313161981   DARREN           GERRALD                 CA           46057673131
88561735451341   LANI             WILLIAMS                OH           90008857354
88563764784371   GERALD           FORTNEY                 SC           90001937647
88565287797138   FELICIANO        FLORES DOMINGUEZ        OR           44056112877
88568363191979   MICHAEL          GATLING                 NC           90014703631
88569983561928   MARIA            MENDOZA                 CA           46082579835
88571921133698   MELISSA          SMITH                   NC           90014859211
88574417871956   MICHAEL          DURAN                   CO           90011054178
88585724461928   PATRICIA         PEREZ                   CA           90010427244
88585977747897   DONALD           KELLEY                  GA           90001069777
88586458351341   MAGGIE           STOKIEN                 OH           90014554583
88586529291979   SHANEALL         SATTERWHITE             NC           90014705292
88591599161928   LESLIE           BAILEY                  CA           90010745991
88597575555945   JUANA            MARIN                   CA           90014185755
88611683897138   JUSTIN           ALDRIDGE                OR           44048526838
88612584377537   JOHN             MUSSER                  NV           90011605843
88617367781666   DASHA            HOLLIMAN                KS           90011783677
88618549591242   APRIL            RHODES                  GA           90003175495
88618999861928   CANDIDO          MORALES                 CA           46084229998
88622128897138   NICHOLAS         MUNZ                    OR           90007881288
88629387151341   SHAMAR           ALLEN                   OH           90010963871
88629511661928   FARAH            ADAM                    CA           46039505116
88632445291842   JODY             CATHEY                  OK           90013774452
88675695354122   CHERYL           SWALES CARROLL          OR           47000066953
88684719251341   SHAVARIS         HUBBARD                 OH           90012507192
88685696961928   JOSE             BALLESTEROS             CA           90013646969
88695212833698   MELISSA          WILSON                  NC           90011232128
88695865284371   ADRIAN           WILSON                  SC           90007428652
88715294493771   JAMES            KING                    OH           90013042944
88718254851341   PATRICIA         MATHIS                  OH           66054612548
88725126855945   HERNANDEZ        MONICA                  CA           49075391268
88726771177537   KAVAI            MUAO-HARRIS             NV           90014227711
88727856277537   RIGOBERTO        ROSALES                 NV           90013838562
88728185241263   CAROLYN          BOLTON                  PA           90003771852
88729386991979   MAQUETTA         ROBINSON                NC           90014723869
88732455871977   CODY             PAXSON                  CO           38097844558
88736881684371   CHRISTIAN        SMITH                   SC           90004188816
88741756855945   DERRICK          MAJOR DUPERR JR         CA           90014987568
88741862155945   ROBERTO          LOZANO                  CA           90002338621
88743415457174   OSMIN            VASQUEZ                 VA           90009464154
88756127993771   CHARLES          DOOLIN                  OH           90012361279
88757523391979   ANTONIO          BRIDGES                 NC           90014715233
88758299557126   CARLOS           MENDEZ                  VA           90011582995
88764225977537   WENDY            RODRIGUEZ               NV           90013522259
88774655884371   SANDRA           JONES                   SC           90006886558
88777323891837   RICKEY           BRUNER                  OK           90010883238
88779557133698   FILIMON          FISHAYE                 NC           90012455571
88781134151349   JUDY             HOWZE                   OH           90007521341
88783593791979   DEMILE           TOWNES                  NC           90014715937
88786698971977   LYLE             ROBERTSON               CO           90013176989
88787114371977   DANTE            ARCHULETTA              CO           90011841143
88787575555945   JUANA            MARIN                   CA           90014185755
88797469977537   BENJAMIN         SANCHEZ                 NV           90012814699
88798152241262   JOSEPH WILLIAM   TYLER                   PA           90013181522
88816961661928   JOSE             BRACAMONTES             CA           90011019616
88829255641275   KYLE             LOVE                    PA           90011762556
88829924391837   KATHY            COLE                    OK           90010659243
88836596893755   ASHLEY           NICHOLSON               OH           90011555968
88839736691979   BRIAN            MARSHALL                NC           90014717366
88843252677537   AMY              STEVENS                 NV           90011052526
88846748155945   MICHELLE         BUMPOUS                 CA           49050667481
88853791891979   CRYSTAL          MOORE                   NC           90014717918
88854787791979   MELISSA K        MCNEILL                 NC           90014717877
88857787791979   MELISSA K        MCNEILL                 NC           90014717877
88859124971977   PEDRO            REJO                    CO           90013621249
88865712297138   BRADLEY          MABEN                   OR           44042067122
88865822191979   ZEKE             HARRIS                  NC           90014718221
88868134293771   GINGER           HOFKINS                 OH           90005751342
88868533951341   DECHRISTOPHER    WILSON                  OH           90011455339
88868847791979   DENISE           LONG                    NC           90014718477
88872864991979   CHRISTOPHER      SMITH                   NC           90014718649
88874283785868   JAVIER           ROSALES                 CA           90010802837
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88882138828131   ELIZABETH       LANE                     TX           90011931388
88884623171977   JOSE            CORDOVA                  CO           90003816231
88888877493783   MOHAMMAD        ABDELLATIF               OH           90007418774
88912121991979   RASHAD          COUSIN                   NC           90014721219
88912438177537   JEREMY          DOWNER                   NV           90012094381
88914139391893   SAID            ZINI                     OK           90014311393
88914436241262   JESSIE          BENNING                  PA           90014394362
88917445871977   BROOKE          TRUJILLO                 CO           90008374458
88918381393771   JANE            JOHNSON                  OH           90009633813
88928547191837   LARRY           HUMPHREY                 OK           90008895471
88929223791558   JOSE            MAGALLANES               TX           90004262237
88933399997138   NIKITY          MANAKY                   OR           90015093999
88933889933698   STEPHANINE      ARTIS                    NC           90010728899
88937934891242   MELISSA         HARRIS                   GA           90001209348
88941525261928   CLIFFORD        DELANEY                  CA           90011875252
88949489633698   ELIZABETH       SINCLAIR                 NC           90008544896
88957354155945   LETICIA         ESTRADA                  CA           90012963541
88961688155945   FERNANDO        PEREZ                    CA           90014186881
88962839291837   LORETTA         SHELL                    OK           90001618392
88978184155945   JOE             RODRIGUEZ                CA           90014771841
88978314261928   MARCUS          PHILLIPS                 CA           90012183142
88981367391837   JEFFREY         DEERINWATER              OK           90012583673
88984324771977   NATHANIEL       REBETERANO               CO           90006573247
88984691791979   MERCEDES        DAVIS                    NC           90014726917
88994627455945   JOSE            ARREDONDO                CA           90012816274
88996852541262   ANGEL           SHANKS                   PA           90012578525
88996953677537   TIMOTHY         MAHER                    NV           90012289536
88999993793771   NATHAN          SHARP                    OH           90015209937
89115668941262   LARRY           ROBERT                   PA           90010076689
89123851941262   KIMBERLY        HUGHES                   PA           90007958519
89127976491979   BRITTANY        CADLE                    NC           90013709764
89132742491837   JACK            HARREL                   OK           21059827424
89133294741275   GARY            HENRY                    PA           90014092947
89136591197138   MILDRED         AYALA                    OR           90005965911
89143362684351   LUISMANUEL      BARRAGAN                 SC           19081413626
89145944971977   ILSE            GREENWAY                 CO           90012749449
89153641697138   GERALD          ADAMS                    OR           90013676416
89154518155945   HAMZA           ALMONTSET                CA           90013865181
89163932591933   MARCY           SUTTON                   NC           90014689325
89168229591933   JAMES           SLADE                    NC           90002982295
89168941591933   JAMES           SLADE                    NC           90013389415
89187379591933   FRANK           KOMBOU SILE              NC           90014733795
89195135655945   LATRICE         MILES                    CA           90013721356
89197295491933   JASMINE         MOORE                    NC           90009482954
89212578192838   GODOFREDO       RANGEL                   AZ           90014325781
89214734791979   EMANUEL         VALLADARES               NC           17056697347
89216273191523   RUBEN           RODRIGUEZ                TX           90007592731
89221679484362   ANGELA          WILSON                   SC           90000536794
89221798161977   SHERMAN         GREEN                    CA           90008127981
89224653355945   ELENA           MARQUEZ                  CA           90013896533
89225517241275   CHANELLE        HARRIS                   PA           90007205172
89227328441275   BROOKE          BYTHEWAY                 PA           90013213284
89229773577537   ROMONA          RANKIN                   NV           90004267735
89232527491979   MARK            COOK                     NC           90012925274
89235475133698   IYUANA          WILLIAMS                 NC           12031354751
89235983341275   MEGAN           PRATLEY                  PA           90011319833
89243693593776   CINDY           SCHULTZ                  OH           64510046935
89244916355945   EDGAR           MADRIGAL                 CA           90009119163
89259356497138   HERMINA         JERICHO                  OR           90013143564
89265645491979   LAZARO JESUS    JESUS                    NC           90015216454
89271587655945   CARLOS          RAMOS                    CA           90013665876
89272685541262   RACHEL          CHAMBON                  PA           90013266855
89279584297138   GEORGE          SHAFER                   OR           90011725842
89283415677537   LILY            AMADOR                   NV           90010084156
89295515641222   DEBORAH         LIZARRAGA                PA           90013945156
89312329591933   TRACEY          LANCASTER                NC           90011773295
89318255181658   TIFFANY         HOOD                     MO           90009492551
89319284971977   PAULA           GILLESPIE                CO           90010482849
89319461855945   AGUSTIN         AGUILAR                  CA           90012334618
89324775671977   SHAWN           ARAGON                   CO           90004347756
89339187891979   AKESHA          DICKENS                  NC           90005921878
89339512955945   ARTHUR          CASTILLO                 CA           90012615129
89339572297138   ERIN            WALKER                   OR           90011735722
89339716471977   DANIEL          BARELA                   CO           90005267164
89343382341275   BECKY           MEISTER                  PA           90002823823
89344112291979   OMAR            RABB                     NC           90013601122
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89351414891837   AMBER           LAKEY                    OK           90014974148
89351727993771   CORY            SHEEHAN                  OH           90012497279
89358448441275   LISA            FEDEL                    PA           90010964484
89363121591837   KATRINA         AMADOR                   OK           90014981215
89372987693771   JENNIFER        SILVERS                  OH           90014759876
89375883591979   BRITTNY         STRAYHORN                NC           90010738835
89377976591532   DIEGO           ROJO                     TX           90000799765
89387983297138   DANIELLE        MILLER                   OR           90005399832
89397524891523   ALMA            HERNANDEZ                TX           75082125248
89398738991837   CHERISSH        WILLIAMS                 OK           90014987389
89411678671977   PAUL            MONTOYA                  CO           90012776786
89415348597138   JEFF            PEDERSEN                 OR           90011743485
89423837741275   CAROL           KLEIN                    PA           90013588377
89426235666174   TOM             TUCKER                   CA           90013892356
89433913171977   MICHAEL         MAST                     CO           90009019131
89434794341263   DENNIS          MULDROW                  PA           90010367943
89436157597138   EBONEE          JOHNSON                  OR           90013221575
89438478197138   MARIA           VENTURA                  OR           90006714781
89443839571977   TENNA           PACHECO                  CO           90013168395
89455475591979   JALEN           COHEN                    NC           17084564755
89487456941251   STEVEN          STUART                   PA           90014084569
89487773761951   MIRNA           GONZALES                 CA           90005627737
89492168351336   CHARITY         GUTIERREZ                OH           90001771683
89498624433698   JONNIE          KEARSE                   NC           90014426244
89499498971977   EDWIN           PICENO                   CO           90013724989
89522668941262   LARRY           ROBERT                   PA           90010076689
89532962241262   MICHEAL         MOWRY                    PA           90013269622
89536865997138   DEBBIE          MEITHOF                  OR           90008898659
89539463891933   ANNIKA          HUGGINS                  NC           17063354638
89542464493771   LEONIA          JONES                    OH           90006194644
89543298441275   CHARLES         BACH                     PA           90009372984
89544577697138   AMANDA          MOTT                     OR           90013955776
89551695691979   JASON           GEISLER                  NC           90007466956
89571858891558   DARRELL         GRINNELL                 TX           90008668588
89579539933698   NELSON          BENNETT                  NC           90003895399
89585495197138   JAVIER          FRANCO MARTINEZ          OR           90011764951
89588926971977   TORI            GILFORD                  CO           90013759269
89589413597138   GRISELDA        LOPES                    OR           90011764135
89591778991837   BELINDA         REED                     OK           90014927789
89596939497138   SONIA           PALAFOX MOTA             OR           90012399394
89599362747897   SHARIKA         ROSS                     GA           90011223627
89614766633698   VANIETTE        MCNEIL                   NC           90002957666
89616473471977   ROCHELLE        CUNNINGHAM               CO           90011044734
89617627871942   GEORGE ANTONY   GUZMAN                   CO           90013536278
89632367933698   CHRISTIAN       CABRAL                   NC           90006353679
89638599941241   RONDA           THORNTON                 PA           90001395999
89638784277537   WILL            CHAVEZ                   NV           90009287842
89642925555945   ESTELLA         BARRERA                  CA           90007989255
89651373477537   DONNA           TAYLOR                   NV           43041503734
89654596155945   CANDY           BABSHOFF                 CA           49071195961
89657843671977   DAVID           CUEVAS                   CO           90014908436
89665189561936   RAINIER         REYES                    CA           90003041895
89666764671977   ARVINA          MARTINEZ                 CO           90012777646
89672392661936   WILLIAM         PONCE                    CA           90012823926
89672484491837   MISAEL          AGUILAR                  OK           90005644844
89673484491837   MISAEL          AGUILAR                  OK           90005644844
89677754391979   HARRIET         SPEARS                   NC           90014667543
89686365991933   PABLO           HERNANADEZ               NC           17092163659
89686532591979   MODOU           THOMAS                   NC           90004255325
89687655721628   GINA            KELLY                    OH           90014246557
89692838441262   ROHNDA          COX                      PA           90006018384
89696868271977   MARIA           SCHUDAR                  CO           90010278682
89698694193771   STEPHANIE       WILLIAMSON               OH           64576816941
89712459897138   FLONDRINO       LOPEZ                    OR           90015264598
89718591681683   JAMES           MOORE                    MO           90014015916
89746837397138   JOY             RAYMOND                  OR           90013938373
89757769447897   SHAMEKA         MANGHAM                  GA           90014637694
89783279797138   CHRISTINE       JACKSON                  OR           90013422797
89792142191979   AMINA           UTLEY                    NC           90013961421
89797734197138   BRANDY          MILLER                   OR           90013677341
89799279797138   CHRISTINE       JACKSON                  OR           90013422797
89799811971977   SAHWNA          LOPEZ                    CO           90010248119
89814582151363   RONITA          SMITH                    OH           90006215821
89816218171977   DESIREE         GRISSOM                  CO           90013522181
89816399891979   BRENDA          JONES                    NC           90009723998
89826265525638   NICOLE          OAUDERVILE               AL           90014812655
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89835187871977   DANIEL W        PERALTA                  CO           90000221878
89835242991979   JASMINE         GOODE                    NC           90014802429
89841647771977   EDIE            RODRIQUEZ                CO           90000816477
89853457241262   NORMAN          GREEN JR                 PA           90005414572
89857912197138   CLARIBEL        NUNEZ MARCIEL            OR           90013939121
89874725777537   OSCAR           CASTILLO                 NV           43088637257
89877662655945   JULIANA         YANG                     CA           90005946626
89879666341232   LISA            WILLIAMS                 PA           90015086663
89884215731676   TRACY           HICKS-WALKER             KS           22037902157
89889363957139   MARITZA         HERNANDEZ                VA           90014313639
89889586255945   GUSTAVO         BARRIOS                  CA           90012965862
89891933441275   KELLI           NELSO                    PA           90007719334
89911277793771   HEATHER         HODGE                    OH           90013542777
89921899241275   BRANDON         WADE                     PA           90012768992
89922282755945   JAVIER          PEREZ                    CA           90015132827
89933411551362   CARMEN          RODRIGUEZ                OH           90010144115
89953667171977   CLARISSA        SALAZAR                  CO           90009406671
89955337293771   ERIC            DAVIS                    OH           90012703372
89959748591547   ANNETTE         TEJEDA                   TX           90011157485
89976571855945   THA             YANG                     CA           90012145718
89978467841262   KARL            EDMONDS                  PA           90011154678
89985572491979   EDVIN           GOMEZ                    NC           90013255724
89988194341262   JAMES           HILL                     PA           90013851943
89988331491837   MARY            WALTERS                  OK           90005673314
89993415491979   SHAMYAN         PARKER                   NC           90014684154
89993872291933   JOSE            GUZMAN                   NC           90006208722
91124362593755   PATRICIA        BROOKS                   OH           90013013625
91125336955951   NELIDA          HERNANDEZ                CA           90005923369
91126919991399   JOHN            MUIRURI                  KS           90010719199
91127142741296   ERICA           KINER                    PA           90010981427
91136497891599   BRAULIO         DE SANTIAGO              TX           90010944978
91141473281635   ANDREW          COATES                   MO           90014714732
91141785161979   JESUS           DIAZ                     CA           90010547851
91143161531476   MODESTA         PERALES                  MO           90003291615
91151716891399   RYANN           RAMIREZ                  KS           29006057168
91152227777537   SETH            RADHAWK                  NV           90012702277
91152383393755   MICHAEL         JENKINS                  OH           90013923833
91153811855951   CHRISTINE       CORRALES                 CA           90011238118
91156753691521   SABRINA         SOLIS                    TX           90011107536
91158182933698   TIMOTHY         MANNING                  NC           90011101829
91161367385689   RENE            PEREZ                    NJ           90013123673
91164184781635   OLIVIA          FETZ                     MO           90009451847
91168764191599   EFREN           CHAVEZ                   TX           75028927641
91171689791521   GUSTAVO         MOLINA                   NM           75087566897
91172626991399   SHEENA          FARLLY                   KS           90002716269
91174439461979   TIMOTHY         HAHNKE                   CA           90010754394
91178811151342   JOHN            BAUER                    OH           66032438111
91181646593756   JAMIE           BUSSARD                  OH           90011116465
91182628155951   ANTHONY         AGU                      CA           90013956281
91182896385689   LANDY           ALVARADO MENDEZ          NJ           85053868963
91184342691521   JAVIER          TOVAR                    NM           90014383426
91184894685689   ANGEL           LOPEZ                    NJ           90012678946
91187723785689   OSCAR           VELASQUEZ                NJ           90014667237
91195139793756   DARLA L         HARRIS                   OH           90012081397
91213257793755   BRAD            PHILBECK                 OH           90012612577
91221234191599   DOLORES         CROSBY                   TX           90011422341
91226552157131   OLGA            FAGOADA                  VA           90012685521
91229468285932   DONNA           MCELROY                  KY           90013164682
91232956491599   MARIA           GARCIA                   TX           90012919564
91237945255951   SARAH           MADRID                   CA           90014179452
91241151591944   KIMURRY         GRIFFITH                 NC           90009231515
91243259933698   CLARISSA        HOLLIFIELD               NC           90012812599
91247626991399   SHEENA          FARLLY                   KS           90002716269
91257859133698   LITISHA         BARBER                   NC           90014648591
91262242691944   HAGOS           AREFAINE                 NC           90014152426
91263377361977   JOHANNA         DAVILA                   CA           90013233773
91266375591923   FREDIS          SORIANO                  NC           90005793755
91266932581635   LIANA           ZAPIEN                   MO           90013409325
91269124385689   MOSS            TANISHA                  NJ           90014191243
91272466747924   MAUNEL          TIRADO                   AR           90011014667
91273362991526   KAREN           BARRIENTOS               TX           90009633629
91274992581634   GABY            PERALTA                  MO           90005549925
91277779861977   DORA CAROLINA   AU GALLEGOS              CA           90012227798
91277956785689   MANUEL          CUATE                    NJ           90012139567
91281784277537   LEVI            MOXLEY                   NV           90013217842
91282825891399   BRIDGETT        BURNETT                  KS           29001228258
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91286632393756   RANDY           TERRY                    OH           90012256323
91287259851384   BELINDA         JOHNSON                  OH           90001692598
91287752531459   HENRY           HOLLIS                   MO           90008377525
91288779241296   ARDRETTA        SCOTT                    PA           90008087792
91292211893756   AMBER           BRANDON                  OH           90011882118
91312376861977   SHARON          BROWN                    CA           90000873768
91313634561977   AIOTEST1        DONOTTOUCH               CA           90015116345
91318931433698   BRITTANI        GRACE                    NC           90013189314
91319795691599   SOFIA           MATOS                    TX           90012887956
91329421355951   ABIGAIL         JUAREZ                   CA           90011554213
91331791691882   MICHAEL         THOMAS                   OK           90011867916
91336916461977   VIRGINIA        ZAPATA                   CA           90014639164
91339218791599   CRYSTAL         SPRUCE                   TX           90010852187
91346179891599   EFREN           ZAMORA                   TX           90010371798
91353267391944   KATERINA        OLIVIERI                 NC           90014582673
91353391841296   TONI RAYNELL    HILL                     PA           90010883918
91355153555951   SERGIO          BENITEZ                  CA           90013991535
91355726361977   RUBY            ARELLANO                 CA           90000127263
91363542891579   RAUL            FEDERICO                 TX           90006705428
91365536461979   CHANNI          GONZALEZ                 CA           90010755364
91367824173261   ISMAEL          GARCIA                   NJ           90015348241
91372618255951   BERNARDO        CHAVEZ                   CA           90011376182
91374651285689   NICOLES         STOROZUK IV              NJ           90011176512
91378731151337   JESSICA         GARLAND                  OH           90012467311
91384124191882   JASMINE         STEPHENSON               OK           90014791241
91384198793738   JARVARYS        POWELL                   OH           90013871987
91389896193755   RONALD          WEBB                     OH           90014908961
91392855641296   CARMEN          MITCHELL                 PA           90012298556
91394789951342   MOSSIE          COPE                     OH           90011057899
91396545791599   EUGENIO         RODRIGUEZ                TX           75046075457
91415196361979   MIGUEL          ARZALUZ                  CA           90011611963
91416898155951   MEAGAN          ALONSO                   CA           90005818981
91417377541296   PAMELA          LIGONS                   PA           90012993775
91427354393755   ARTHUR          TAYLOR                   OH           90013653543
91429645733698   FABIAN          VILLALBA                 NC           12093706457
91431932291951   KENNETH         VALENTINE                NC           17089149322
91435738491599   SAMANTHA        VASQUEZ                  TX           90013427384
91437616155951   NOEL            GUTIERREZ                CA           90013676161
91439358281641   FATUMA          MAHAMED                  MO           90013873582
91441738891599   DAVID           OTERO                    TX           75003357388
91441969181634   ROB             RIMP                     MO           90013969691
91442937577537   MARITZA         JIMENEZ OCHOA            NV           90012639375
91453925355951   LORINA          ESQUEDA                  CA           90014629253
91455864685689   VERONICA        MELCHOR                  NJ           90015238646
91456736577537   MIGUEL          AKIU                     NV           90014457365
91461168661977   SHALEISHA       MITCHELL                 CA           46012011686
91461262291399   JOLENA          QUINTANA                 KS           90008422622
91463114985689   ALEJANDRA       RUIZ                     NJ           90012741149
91464723551342   FREDRICK        THOMAS                   OH           90013057235
91467378755951   ALEJANDRO       CORTEZ                   CA           90001723787
91472475661979   ANA             CAMPOS                   CA           90011004756
91472721577537   JAYSON          MCVICKERS                NV           90014727215
91474832755951   LORENA          GUETERRIEZ               CA           90012738327
91474966691944   SAMUEL          WELDEGERGIS              NC           90013959666
91475869277537   ADRIAN          DUMINIE                  NV           43014988692
91476292391399   CHRISTOPHER     BERNARD                  KS           90013122923
91477898585689   KIYA            WELLS                    NJ           90010438985
91483475951342   GREG            HENDERSON                OH           90013284759
91491851761977   MAYRA           CALLEJAS                 CA           90005968517
91493281433698   JEREMY          WILLIAMS                 NC           90015152814
91498265881634   TOMMY           MURILLO                  MO           29074642658
91511597285689   RAHSHEDA        CLEMENTS                 NJ           90012845972
91512376691882   MARKEVIA        WILLIAMS                 OK           90014793766
91519345585969   YASMEEN         HEGAZY                   KY           90010853455
91526423651342   SHARNELLE       STARLING                 OH           90014044236
91531881891951   SHATERRICA      MCMILLAN                 NC           90013958818
91535881785689   HECTOR          GARCIA                   NJ           90010478817
91536875993755   JACK            STACY                    OH           90011408759
91537744355951   SHANNA          MORA                     CA           90008997443
91545127161977   JAZMINE         NAVARRO                  CA           90008551271
91545378781635   TORSHA          POWELL                   MO           90014933787
91548589591951   NELSON          ROSALES                  NC           90011505895
91552734393756   ROCHELLE        WILLIS                   OH           64544257343
91553758181634   KAISHA          GURLEY                   MO           29034417581
91556731391599   DANIELA         BUENO                    TX           90014407313
91561496893769   SHAWNTA         WATERS                   OH           64515984968
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91567168491327   AMBER           DOYAL                    KS           90002511684
91568389493755   DESHONE         WILLIS                   OH           90012633894
91573469777537   DEBORAH         NAVARRO-GARCIA           NV           90011734697
91574459485689   RUBEN           PEREZ                    NJ           90014574594
91574572351342   NATASHA         VILLARREAL               OH           90013295723
91578788155951   VINCENT         WALSH                    CA           90014027881
91581172191951   ANTONIO         MENDOZA                  NC           90014151721
91582372891944   JOSEPH          CORBETT                  NC           90012943728
91584149181635   BRANDON         CARR                     MO           90015131491
91584582385689   MARIA           RIVERA                   NJ           90012785823
91592361481634   CHARLES         GALLOWAY                 MO           90012563614
91593438561977   JASMINE         BADGER                   CA           90013234385
91594523191944   FAIZA           FARAH                    NC           90006745231
91612426293756   TRINITY         ALSPAUGH                 OH           90014174262
91613465433698   JOSEPH          WILLIAMS                 NC           90015094654
91615163285689   KAREN           MCCOY                    NJ           90014171632
91616555891882   KAMARIA         WILLIAMS                 OK           90014795558
91617484881634   STEVEN          VAN                      MO           29054124848
91618729591521   MARICRUZ        MONCAYO                  TX           75040717295
91625277655951   ANTHONY         CHAPARO                  CA           49018012776
91626126881634   JAWANA          WILLIAMS                 MO           90013581268
91628598691882   JAVIER          JARAMILLO                OK           90014795986
91632278791521   KATHIA          CARREON                  TX           90014902787
91632692691951   ISABEL          GOMEZ                    NC           90012726926
91633815581638   MICHAEL         MYA                      MO           29005998155
91636582391521   BALENTINE       ANA C                    TX           90011365823
91636867481635   GABRIELA        MENDOZACASTILLO          MO           90014108674
91637378691599   DANIEL          RAMIREZ                  TX           90011093786
91642862877537   JACK            WANSTREET                NV           90010698628
91648256991521   MARIA           PASTRANA                 TX           90009962569
91649551961979   YAZMIN          CORTEZ                   CA           90010565519
91649664291944   LIZATH          IZAGUIRRE                NC           90010636642
91652576341268   KATLYNN         ARNOLD                   PA           90008705763
91684758591599   LESLY           BARBOA                   TX           75021787585
91687529891599   ISELA           PALMA                    TX           90012255298
91692554181669   CASSANDRA       MARTIN                   MO           90005145541
91695582985689   NOE             MENTADO                  NJ           90013025829
91698866685689   SAMANTA         HERNANDEZ                NJ           90012778666
91712378855951   NORAYMA         LANDEROS                 CA           90011243788
91729165555951   STEPHEN         HOLMES                   CA           49084441655
91731315191882   THOMAS          MAXWELL                  OK           90014803151
91732521777537   JULIE           GAZZIGLI                 NV           90012955217
91733627391399   CHARRON         MCDONALDS                KS           90011506273
91734873661977   TRENE           WILLIS                   CA           90013388736
91739493591599   EFRAIN          CALLEROS                 TX           90012464935
91741979691521   HERRERA         MARIA                    TX           90012369796
91746239885689   NICOLE          MORETTI                  NJ           90012782398
91754367491882   PAUL            MEIER                    OK           90014803674
91754743991521   RACHEL          LOPEZ                    TX           75058967439
91755458561977   JAMES           MICKELSON                CA           90010244585
91756459955951   JAMAAR          CARTER                   CA           90011244599
91758128355951   BEE             LEE                      CA           90013971283
91761518681634   CARLOS          LOPEZ                    MO           90013805186
91762843591951   MEJIA           HERNANDEL                NC           90013928435
91766869691399   LENECIA         NEVELS                   KS           90014878696
91767526155951   ROSALINDA       MORENO                   CA           90011405261
91769268161979   DAVID           STUART                   CA           90010572681
91769592751342   NATHANIEL       COMINSKY                 OH           90011855927
91769954477537   VERONICA        GUERRERO                 NV           90014579544
91771472881634   ASHLEY          WILSON                   MO           90014724728
91771483391599   BRIAN           JOHNSON                  TX           90013254833
91778175591399   MOSIS           JALLOW                   KS           90008071755
91781463791951   JOSE            PEREZ                    NC           90012974637
91783944761977   KIRBAN          KELLER                   CA           90013849447
91787126885689   MADELINE        ALVAREZ                  NJ           90012801268
91789124385689   RUBIO           AGUILAR                  NJ           90012071243
91793389985689   CLAUDIA         MEJIA                    NJ           90012803899
91793988955951   JESUS           VILLGAS                  CA           90008099889
91797744351342   NOUR            ALJAMMAL                 KY           90014757443
91799135991944   DENEAH          JACOBS                   NC           90002091359
91811988733698   ANGELA          VINCENT                  NC           12010819887
91813125785689   FELIX           MATIAS                   NJ           90012641257
91814144655951   ANDRES          COBARUBIAS               CA           90013971446
91818951391994   ANITA           CAMPBELL                 NC           17073349513
91824189893756   MICAH           RUSSELL                  OH           90011931898
91824972361977   ARACELI         CASTELLO                 CA           90014419723
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91826463233698   EVA              VAZQUEZ-QUINTERO        NC           12045294632
91831136193755   BRITTANY         JENKINS                 OH           90012061361
91833431891399   ANGIE            CORRELL                 KS           90014644318
91833681393756   COURTNEY         PARIN                   OH           90011156813
91837216685689   CYNTHIA          CONWAY                  NJ           90012022166
91844713951342   RIGOBERTO        HERNANDEZ               OH           90008637139
91845174593748   CHASTITY         HENDERSON               OH           90007721745
91847182393755   DEBRA            MOORE                   OH           90012351823
91853913351342   KHADIJAH         AKIL                    OH           90003669133
91854115633698   LENESHA          GAINEY                  NC           90013751156
91857189633698   SOLOMON          BEE                     NC           90013611896
91858886155951   JESSE            SILOS                   CA           90014338861
91863332191531   JEANNETTE        ORTIZ                   TX           90011063321
91864732891399   LINDSEY          LUCAS                   KS           90014417328
91867386655951   WENDY            GILES                   CA           90013333866
91867421277537   JESUS            MORENO                  NV           90006914212
91878667985689   JUNIOR           GONZALES                NJ           90014436679
91884918861977   DAVID            TURNER                  CA           90014129188
91886847593755   JUANE            EVANS                   OH           90013208475
91887821891599   SERGIO           ESCAMILLA               TX           90007728218
91889987291944   FLAKA            VELLI                   NC           90013399872
91896646855951   BRANDY           BROWN                   CA           90012206468
91898748555951   FREDERICK        LEE                     CA           90011247485
91899393691327   BRANDY           BAIY                    KS           90001693936
91911296691951   BIANDEL          SHOUSE                  NC           17048062966
91912176155951   DANNY            ANDRARE JR              CA           90013971761
91915721577537   JAYSON           MCVICKERS               NV           90014727215
91917393141296   SHARON           BLACK                   PA           90000953931
91918768151342   EBONY            CAMPBELL                OH           90013327681
91919147393755   MARCUS           JOHNSON                 OH           90012601473
91923184491521   BRISA            CAMPOS                  TX           90013681844
91924177355951   ASHLEY MONIQUE   DE LA GARZA             CA           90013971773
91924819481635   PAUL             WILEY                   MO           90013938194
91924821891599   SERGIO           ESCAMILLA               TX           90007728218
91928346541296   ROBERT           FLANAGAN                PA           51060353465
91936341985689   KIAH             BERMAN                  NJ           90011683419
91941871291944   CANDIS           EDWARDS                 NC           90013278712
91947721361977   TALUAI           LIMAILA                 CA           90013787213
91948294561977   JESUS            VILLALOBOS              CA           90013032945
91949668291882   LUCAS            MCEWEN                  OK           90014816682
91951413357563   MARIBEL          FLORES                  NM           90005784133
91957357261977   VERONICA         CHAVEZ                  CA           90011573572
91963923255951   JUAN             TORRES                  CA           90012879232
91966634861977   AIOTEST1         DONOTTOUCH              CA           90015116348
91969869881634   RYAN             CHAVEZ                  MO           90014858698
91973456361979   VARGAS           IGNACI                  CA           90003194563
91976471461979   TERRI            FISHER                  CA           90010584714
91976592455951   FLORIBERTO       NAVA                    CA           90010235924
91976928391399   BRYAN            LOPEZ                   KS           90013019283
91983599991521   ANGIE            SIMENTAL                NM           90012075999
91985389755951   LUIS             ESTRADA                 CA           90000273897
91988696672485   CHRIS            THOMPSON                PA           51007056966
91989325751342   TIFFANY          ARTIS                   OH           90013243257
92114288781634   DAISY            RAMIREZ                 KS           90014662887
92125992241296   CELINE           GIACCI                  PA           90000169922
92128375991521   DANNA            HERNANDEZ               TX           90009663759
92133993491951   KENDALL          DEAN                    NC           90008539934
92135793855951   ABRAHAM          YANG                    CA           90010747938
92137222885689   SALOMON          VELASCO                 NJ           90011792228
92141477497123   STEVEN           HARMON                  OR           90013424774
92143769755957   ANGEL            OCAMPO                  CA           90011287697
92147927691599   SALVADOR         ROJAS                   TX           75075789276
92158431143584   CASSANDRA        DONOVAN                 UT           31012454311
92158434481634   BRITTANY         COLOMBO                 MO           29072664344
92164298477537   EDITH            LEDEZMA                 NV           90013792984
92164334591951   JOEL             KALOMBO                 NC           90012433345
92165455643584   ANGELA           QUINTANA                UT           90014774556
92166189197123   MIRRANDA         WEITMANN                OR           90013681891
92167189197123   MIRRANDA         WEITMANN                OR           90013681891
92171415785689   AJ               SCOTT                   NJ           90003314157
92171621751331   KASSANDRA        BROWN                   OH           66011986217
92172688593755   DUSTIN           JOHNSON                 OH           90013216885
92173761593756   DAVID            ANDERSON                OH           90006497615
92179645285974   LYLE             MOLANDS                 KY           90011536452
92181617991521   ANA              FLORES                  TX           90013676179
92183389441296   NIKIA            SMITH                   PA           51064263894
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92183816793769   ALEJANDRO       MALAGA SANTOS            OH           64507928167
92186129155951   NATEIGYA        MAYBERRY                 CA           90011091291
92188168541296   KRISTEN         HUCKLE                   PA           51079381685
92188782297123   HAYDEN          YOUNG                    OR           90013537822
92191479251334   GENIE           REESE                    OH           90000954792
92212981351334   ALLA            KONAKOVA                 OH           66016779813
92213449561979   PATRICK         FAISON                   CA           90011764495
92225579155951   CHUE            VUE                      CA           49069625791
92226764991599   JUAN            ALVAREZ                  TX           90013597649
92233898151334   EDDI            JUAREZ                   OH           90013648981
92236511343584   RICK            BRUNSON                  UT           31006965113
92237351943584   TERESA          BUSICO                   UT           31078913519
92242366891599   VALDEZ          JENNIFER                 TX           90010003668
92243328233698   MELISSA         HAVNER                   NC           90011413282
92243675891521   GARZA           PATRICIA                 TX           90010706758
92253198397123   LAURA           CERVANTES                OR           90012931983
92253588997123   TABATHA         SMITH                    OR           90010595889
92258987193769   EDWARD          BAKER                    OH           64563519871
92261111531952   PAUL            SMITH                    IA           90014071115
92261574441296   ANGELO          REYNOLDS                 PA           90013375744
92263351351334   GINA            LAMBRINDINES             OH           90012573513
92268838177537   ABRAHAM         MORALES                  NV           90012988381
92275639861499   GARY            LYONS                    OH           90014736398
92276424491951   AYANNA          WADE                     NC           90010864244
92282627681635   RENE            TRITLITT                 MO           90009276276
92289669191599   ERIC            DELGADO                  TX           90011316691
92289749791521   RICK            MAGALLANEZ               TX           90006517497
92294735233698   CORTNEY         SOLES                    NC           90011977352
92297188691521   OCTAVIO         SALAZAR                  TX           90007741886
92298336661979   MARCO           GAYARDO                  CA           90013033366
92298341791599   JESUS           RINCON                   NM           90011463417
92319646881626   JEDEDIAH        SMITH                    MO           90011466468
92325873951334   BRANDEN         HIBBITTS                 OH           90010968739
92344543461977   LILIA           LOPEZ                    CA           90008465434
92348989861977   HARO            RAMON                    CA           90011859898
92367838955957   LILY            RILEY                    CA           90012938389
92369214891399   CHRIS           OLESON                   KS           90008172148
92375673477537   BLANCAFLOR      ANZURES DEL VALLE        NV           90010556734
92382852443584   CATHERINE       EDWARDS                  UT           90011468524
92386477751334   GORGE           WASHINGTON               OH           90011454777
92388632391521   JESSICA         ACKER                    TX           90013676323
92389641181635   ROBERT          JORDAN                   KS           90013776411
92394158977537   EMMANUEL        DELEON                   NV           90011131589
92395625977537   TIFFANI         HENRY                    NV           90012816259
92396785977537   ANNIE           OMAYE                    NV           90010337859
92396872741275   KENYA           ALLEN                    PA           90010848727
92397167797123   KAYTE           RACH                     OR           44084991677
92412149691951   LATAVIA         ROSE                     NC           90010931496
92415567993755   COLLEEN         WORTHINGTON              OH           90013705679
92417381955951   MARTIN          ESCOBEDO                 CA           90012413819
92418612791521   ZULMA           MEDRANO                  TX           90010326127
92419351351334   GINA            LAMBRINDINES             OH           90012573513
92426566555957   CASSANDRA       RIOS                     CA           90010745665
92427649391951   MICHELLE        MOURNING                 NC           90012576493
92429536741296   PHILIP          HOOPER                   PA           51048855367
92431159293769   JESSICA         SMITH                    OH           90002551592
92434718355957   STEVE           BAZB                     CA           90013967183
92442565697123   DIRK            LOYD                     OR           90014205656
92446744177537   ANA             CARIAS                   NV           90009807441
92446887561977   BRIAN           MORGAN                   CA           90012768875
92451221538531   MARICELA        MATA                     UT           90010072215
92453129297123   HECTOR          ZAVALA CHAVEZ            OR           44006061292
92457327891521   CYNTHIA         JIMENEZ                  TX           90014293278
92461136155957   JOSE            CASTILLO                 CA           90011551361
92472938755951   GARCIELA        RIVERA                   CA           90007239387
92474162543584   GUSTAVO         ROJAS                    UT           90007531625
92477917661979   SONIA           ALFARODELEON             CA           90011779176
92485531961979   FELIPE          RAMIREZ                  CA           90002685319
92489544433698   SARITA          INGRAM                   NC           90009555444
92493223693738   TONTIONIA       CRAVER                   OH           90012412236
92495518685689   GERMAN          HERNANDEZ                NJ           90003625186
92498581797123   BRENDA          SOTO                     OR           90004265817
92499478771936   EDNA            ORTIZ-PAYAN              CO           90012294787
92513457751334   BRIAN           PRICE                    OH           90013864577
92519489833698   CORTNEY         GRAY                     NC           90013004898
92528161591951   NIKEA           MCCRAE                   NC           90014701615
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92532365877537   GEORGENE              ARIZ                NV          90010893658
92542313361979   BLANCA                MEDINA              CA          90011783133
92545453691599   FABIOLA               ACOSTA              TX          90009474536
92546115591951   TINA                  MANGUM              NC          90000401155
92546397393755   CAROLINE              COLLINS             OH          90006943973
92554766377537   OPHELIA               ROSALES             NV          90014587663
92558766191599   JESSE                 CARRALEJO           TX          75043937661
92558797581634   ANTHONY               BOSTIC              MO          90013187975
92559692461977   STACY                 RICO                CA          90007256924
92564154885997   KETARAH               HERRON              KY          90005011548
92564223433698   TIERRA                BROOKS              NC          90012902234
92564438291599   RICARDO               SIMENTAL            TX          90010904382
92569423793755   JESSE                 BROWNING            OH          90014414237
92571696561979   MARIO                 DIAZ                CA          46003586965
92573892843584   AMANDA                KURT                UT          90014638928
92575333755951   DU                    HO                  CA          90013843337
92579566661977   SILVERIO              CORRAL              CA          90012735666
92586672355957   RALPH                 MARTINEZ            CA          90013936723
92586877391521   GUADALUPE             AVILA               TX          90011168773
92587747131624   DESIREE               ROGERS              KS          90012367471
92619322891599   AMY                   AVILA               TX          90012003228
92622571391599   JUAN                  DE AVILA            TX          90013005713
92625785977537   ANNIE                 OMAYE               NV          90010337859
92626692943584   MALISSA               PERRY               UT          90003146929
92629682881635   THERESA               OPATRNY             MO          29063556828
92631458181637   DEVAN                 SYKES               MO          90003564581
92631661791521   PERLA                 MENDOZA             TX          90012816617
92635693491951   PERDO                 FERMIN-ARROYO       NC          90013236934
92636961591521   MONICA                NINO                TX          90010019615
92637976981635   SHAQUDIA              WILSON              MO          90014729769
92653128791951   JATARAH               WHEELER             NC          90013881287
92658477481635   LYNZEE                COOKE               MO          90013584774
92659831955951   JESSIE                RODRIGUEZ           CA          90013178319
92661973693769   NORLENE               ONEAL               OH          90010009736
92666325797123   RACHEL                EARLY               OR          44011173257
92667334241296   RAHUL                 WILLIAM             PA          90013473342
92672951591544   MIRIAM                GUTIERREZ           TX          90009649515
92674426481635   CHRISTINA             LAMB                MO          90012964264
92674641591599   ERSKINE               YESENIA             TX          75093446415
92681964291521   MIRYAM                ESCALANTE           TX          90014059642
92684446661979   SAMUEL                CASTILLO            CA          90011794466
92686145581635   BRITNEY               RUTH                MO          90011091455
92688649477537   TIFFANY               ROWE-CULTEE         NV          90011436494
92689473791521   MARIA                 ESTHER              TX          90004144737
92689883377537   FERANDO               FERNANDO ORTIZ      NV          90012548833
92693144591521   JOELDA                ESTRADA             TX          75053511445
92694417491521   LAW FIRM OF ROBERTO   SANCHEZ             TX          90014154174
92711718541296   DOMINIQUE             SHERELL             PA          90011927185
92713775455951   ALICIA                PETERSON            CA          90012177754
92724579861979   HECTOR                RODRIGUEZ           CA          90009295798
92726157291599   LUIS                  CUELLAR             TX          90013811572
92731781543584   BILLY                 WESCOGAME           UT          90013487815
92735132591599   MOISES                AGUILAR             TX          90013641325
92743948197123   BADINA                BLAND               OR          90010969481
92744485261979   JOHANNA               MARTINEZ            CA          90013024852
92749426971945   JORDAN                KING                CO          90006384269
92749867191964   YOLANDA               CAMPBELL            NC          90011498671
92751677633698   BRITTANY              NEW                 NC          90014566776
92752526361977   JUAN                  GUERENA             CA          90010985263
92752869647924   CANDELARIA            GUARDADO-CABALLOS   AR          90013848696
92753818281634   PAUL                  TOUNZELL            MO          90006958182
92756195755957   EVCYNTHIA             LUNA CARRISALEZ     CA          90011821957
92762155291599   GUILLERMO             CERVANTES           TX          90010411552
92762948443584   ALDO                  HERNANDEZ           UT          90010719484
92764583491599   JONATHAN              LUTHER              TX          90012585834
92766356691882   ROBERTA               RAMIREZ             OK          90000673566
92771486591951   ISMAEL                SANTOS              NC          90009214865
92771655991521   BERTHA                HILL                TX          90010926559
92772656791599   JULIO                 ARANDA              TX          90013576567
92772779141296   DECEMBER              DIXON               PA          90014007791
92777449761979   DAMON                 BYRD                CA          90002724497
92779858291399   ERICA                 SIGALA-SANCHEZ      KS          90011428582
92783955181634   TIFFANY               LILES               MO          90013089551
92784187143584   KIM                   MCKINNON            UT          90013991871
92792413461979   CARLOS                FLORES              CA          90000364134
92814573291951   HECTOR                HERNANDEZ           NC          90014065732
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92822413461979   CARLOS            FLORES                 CA           90000364134
92831185933698   ALVARO            AGUILAR                NC           90007561859
92837657951334   BRITTANY          WARD                   OH           90013016579
92838377191882   VELOIS            GOODLETT               OK           21089643771
92839235543584   JUDY              JASPER                 UT           90008412355
92841992993755   DARNELLE          SHACKLEFORD            OH           90012549929
92858279355957   EUGENIA           REYES                  CA           90008832793
92858353243584   JORGE             RIVEROS                UT           90013903532
92858915981635   MARIA             RAJAS                  MO           90000529159
92859288355951   AMANDA            TARIN                  CA           90005872883
92862855561979   NICOLE            MIRANDA                CA           90012728555
92863934961971   MAGDALENA         COLADO                 CA           90001849349
92865672755925   ESTHER            RICARDO                CA           90011316727
92871564761979   ANGEL             PEREZ                  CA           90013115647
92875823931469   JERMELL           JACKSON                MO           90012428239
92884251961928   ROBERT            VAZQUEZ                CA           90011822519
92886878777537   AARON             BUCKLEY                NV           90009068787
92891672897123   KENNETH           HAGEN                  OR           90002486728
92895328241296   JAIME             COSTELNIK              PA           90006873282
92895791191599   FAVIOLA           MEJIA                  TX           90007467911
92896155251334   JASH              ALATLRGROV             OH           90014331552
92899989661979   JOSE FELIX        GONZALEZ               CA           90011809896
92911719791951   BERNAHD           SINGELTON              NC           90013607197
92915274691399   LORI              HANSFORD               KS           90013302746
92916877591951   SAMUEL            FEWELL                 NC           90012328775
92917881697123   KENNETH           WILSON                 OR           90014748816
92918579791599   JUSTIN            KYLE                   TX           90013005797
92921966581635   STACY AND HERKY   VILLARREAL             MO           90013649665
92934928433698   HOWARD            DUMAS                  NC           90013879284
92937862355951   MARTHA            ORZOCO                 CA           90014838623
92939657755951   JUANA             OIONICIO               CA           90010276577
92947789281635   ANDRES            CHIMAL                 MO           90012047892
92956976281635   MITCH             RUSSELL                MO           90012629762
92958464591599   EL JOE            GARCIA                 TX           90013054645
92959356977537   NANCY             PEDROZA                NV           90011133569
92962823391951   LATASHA           FORD                   NC           90014908233
92964383393755   CHERYL            CLARK                  OH           90011053833
92975723451334   CHRISTINA         KING                   OH           66098817234
92983937291521   SANTIAGO          LOPEZ                  TX           75096349372
92986747497123   AMANDA            CHOATE                 OR           90010987474
92989274897123   FELIPE            JIMENEZ                OR           90014752748
92993385791951   SYLVESTER         LEEBEST                NC           90014003857
92998291691599   ROSA              GARNICA                TX           90009792916
93118534785997   ELEUTERIA         ESPINOSA               KY           90001565347
93124596377537   JARED             CRAIG                  NV           90012465963
93126747391599   YASMINE           ROSALES                TX           90006137473
93128488177537   SAIRA             CAMACHO                NV           90013934881
93131149443584   DILLON            PRESTON                UT           90007611494
93132142277537   CODY              ROGERS                 NV           90012651422
93132576661979   JULIAN            JAUREGUI               CA           90010415766
93133161891521   LINDA             VILLA                  TX           75040101618
93133574391599   VINCENT           GUZMAN                 TX           90013335743
93134371191521   LUIS              BUENO                  TX           90011193711
93136682291521   ROOT              METRICS                TX           90011846822
93141378461979   ESSENCE           WILKINGSON             CA           90013683784
93143177855957   XENG              LOR                    CA           90007881778
93154388155951   ALICIA            MONRREAL               CA           90014803881
93159453493755   TERRANCE          RETTIG                 OH           90013764534
93159458691521   GEORGE            PEDROZA                TX           90009454586
93168129355951   MICHELLE          AMARO                  CA           90001531293
93172992197123   JESSIE            BROUGHTON              OR           90011859921
93173383893755   JORDAN            BOWLIN                 OH           90012023838
93179419477537   AMBER             HITCHCOCK              NV           43007884194
93188996197123   STEPHANIE         KRONE                  OR           44078189961
93189895491599   BRENDA            NIETO                  TX           90014408954
93197853991951   SAMETRICE         CHARLES                NC           90012718539
93199965797123   RONALD            MAY                    OR           90007769657
93216121561979   SONYA             ORTIZ                  CA           90011581215
93216577761977   EDWARD            GONZALEZ               CA           90008305777
93223167391951   JA NAE            MERCER                 NC           90007631673
93224315591951   SHERRIA           MCMILLAN               NC           90010003155
93226921755951   KEVIN             ORMSBEE                CA           90014849217
93229233343584   CRYSTAL           FITZHUGH               UT           90015282333
93232517977537   LORENA            HERNANDEZ-JACINTO      NV           90009705179
93239645761977   ALMA              MERCADO                CA           90007346457
93241446961979   SILVIA            ROSALES                CA           90013924469
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93241553393755   APRIL            SMITH                   OH           90012395533
93243636141296   EVELYN           RHONE                   PA           90013016361
93244731255957   LORRIE           JARRETT                 CA           90011207312
93246781243584   RAQUEL           LOPEZ                   UT           90011937812
93247418261977   GUILLERMO        LOPEZ                   CA           90011184182
93248946255951   STEPHANIE        FAMBROUGH               CA           90014879462
93252646491399   CRISTAL          SALAZAR                 KS           90011496464
93256968155957   CLARISSA         DEL TORO                CA           90014729681
93262931961977   ROBERT           VAZQUEZ                 CA           90010279319
93268719161979   STEPHANY         SWARTS                  CA           90013087191
93271357591951   TANYA            MASON                   NC           90014213575
93273287361979   CLARENCE         JOHNSON                 CA           90007652873
93277642391599   FAVELA           AUGUSTIN ALEXANDRO      TX           90011966423
93278419961979   EDDIE            CASTRO                  CA           90012744199
93279452861979   JOSE LUIS        MONTEJO                 CA           90013124528
93281299877537   JESUS            SANDOVAL RAMOS          NV           90011432998
93283418261977   GUILLERMO        LOPEZ                   CA           90011184182
93285585561979   CESAR            GUIDO                   CA           90014245855
93293593255957   KOUA             XIONG                   CA           90002785932
93294445297123   MIRIAM           MACIAS                  OR           90014384452
93295863897123   KATRINA          VEGA                    OR           90012558638
93311728555957   KIHENDE          AEYODELE                CA           90011007285
93312698861977   EDITH            CERVANTES               CA           90014826988
93312743243584   SHERRY           SMITH                   UT           90011507432
93313259343584   AMANDA           RUSSELL                 UT           90013552593
93313266691521   JUANA            CASRTO                  TX           90014762666
93313875361979   KATLYN           BROWN                   CA           90014808753
93318956897123   JACOB            BYRNE                   OR           90012869568
93319161243584   BRENT            NISSON                  UT           90013921612
93322938261977   REBECKA          KOMEHCHEET              CA           90014889382
93324317977537   ANTONIO          CARDENAS-MENDOZA        NV           90010923179
93328542791521   JENNIFER         STIDHAM                 TX           90008265427
93334244961979   CRYSTAL          ABARCA                  CA           90011872449
93339145497123   NICOLAS          BARRAGAN                OR           90005191454
93345435361979   NORMA            DELACRUZ                CA           90009904353
93348698891399   KEITH            ARENS                   KS           90014106988
93365212955975   FRANCISCO        CANCHOLA                CA           90013352129
93371873297123   MAELETA          COX                     OR           90010918732
93373792591599   MAYRA            HERNANDEZ               TX           90008037925
93373968243584   MICHAEL          PUGMIRE                 UT           90014059682
93375635561978   ALEX             AMESCUA                 CA           90010646355
93381412991599   TERESA           ACOSTA                  TX           90010434129
93384554141296   DEWAN            WATKINS                 PA           90014525541
93385369661979   SONIA            BERNAL                  CA           90011583696
93388171397123   ETHEL            KERN                    OR           44092611713
93391378761979   ALBERTO          NAVARRO                 CA           90011583787
93391658943584   MICHEAL          ROUNDY                  UT           90012176589
93393447961977   JHOANA           OLIVEROS                CA           90013944479
93396522957135   SAUL             GARCIA                  VA           90007815229
93397653161979   ANDREA           AGUILAR                 CA           90013076531
93413354897123   ANN              COKER                   OR           90014923548
93429231891521   PAVON            REYNA                   TX           75028362318
93439885261979   PABLO            SANDOVAL                CA           90011278852
93443335793755   MISTY            WOLFORD                 OH           64594523357
93449553977537   SEFO             ROPATI                  NV           90010975539
93456713461979   SHERYLL          GO                      CA           90012177134
93457687655951   CHRIS            ARREGUIN                CA           90007076876
93468954143584   PAUL             VALERIO                 UT           90014189541
93471161391521   EDDIE            MAGANA                  TX           90014781613
93474373897123   JOSE FRANCISCO   JACOBO                  OR           90014293738
93474474561977   JORGE            CASTILLO OROZCO         CA           90013944745
93478523761979   ANA              REMILLO                 CA           90013935237
93479484691951   NASHALY          MARQUEZ                 NC           90014814846
93483574561977   GUILLERMO        GONZALEZ                CA           90012465745
93483651391599   CYNDI            CHAIREZ                 TX           90010786513
93489778543584   JOHN             FITZHUGH                UT           90010657785
93499547255957   GILDARDO         REYES                   CA           90009565472
93511834555951   ALALA            REED                    CA           90010938345
93513453255951   ARKIM            STOKES                  CA           90012864532
93525759955951   MIGUEL           REGALADO                CA           90011187599
93526612455951   WILLIAM          MAKEL                   CA           49012106124
93526762671965   JEFFREY          NUSS                    CO           90013337626
93527843691521   RENE             PEREZ                   TX           90011428436
93535453191951   KASEY            DILLARD                 NC           90014224531
93537749191399   ROGELIA          LOPEZ-HERRERA           KS           90012227491
93538278461879   PAYGO            IVR ACTIVATION          MO           90011912784
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93542919891521   OKELLEY         JESUS                    TX           90007739198
93545471991951   VICTORIA M      PUPLAMPU                 NC           90013174719
93552851391521   LUIS RAUL       LARES                    TX           90009018513
93553821861977   CATHERINE       VILLA                    CA           90014628218
93559575443584   TINA            CHAVEZ                   UT           90010805754
93559955991399   DIONTE          FULSON                   KS           90013379559
93569597441296   JALINE          CUNNNINGHAM              PA           90014935974
93571121455951   JISSEL          HERRERA                  CA           90005891214
93572461761977   MASARU          KIKUTA                   CA           46079724617
93574139293755   DOROTHY         BROWN                    OH           90006371392
93596947555957   RICHARD         GUZMAN                   CA           90010209475
93597137191882   NICHOLAS        HAWTHORNE                OK           90009731371
93611493443584   LEXI1022        FRYER                    UT           90009584934
93625249961977   ELVA            KRAMER                   CA           46025102499
93632819991882   JOSEFINA        NAVARO                   OK           90006928199
93632947591951   POLO            MARTIN                   NC           90009999475
93645565361977   ALICIA          CRUZ                     CA           90013255653
93648448691599   ROSA            GUZMAN                   NM           75041054486
93648532891951   RANDALL         REDICK                   NC           90014185328
93658137193732   CYNTHIA         HOUSTON                  OH           90010931371
93661939477537   APRIL           AXTEL                    NV           90010279394
93666123361977   SERGIO          SANCHEZ                  CA           90008341233
93674128891599   ALAN            CEBADO                   TX           90012761288
93682371231426   IZORY           WADE                     MO           90010823712
93687227297123   FROYLAN         CHAVEZ                   OR           90013562272
93721491393755   JEANNIE         MITCHELL                 OH           90013514913
93722335685872   TIMOTHY         CUTTER                   CA           90003103356
93722365791399   TREVA           CAMPBELL                 KS           90011493657
93726263691599   ELIZABETH       ALVARADO                 TX           90012182636
93729513661977   ANNA            GIBSON                   CA           90008075136
93732649391521   GERARDO         MENDEZ                   TX           90011196493
93733451191399   RHONNA          BURCH                    KS           90011674511
93733917161979   ASHLEY          VELAZQUEZ                CA           90003359171
93736628691951   JEFFREY         REVELS                   NC           90014246286
93739128455951   PHENG           VANG                     CA           90010721284
93742885697123   ALEJANDRO       BATES                    OR           90015258856
93745871543584   BARBARA         WEBER                    UT           90011068715
93747385891599   IVAN ADRIA      ARAMBULA                 TX           90001663858
93747936591399   ALEX            MENJIVAR                 KS           90010259365
93759232355951   MOHAMED         SAAD                     CA           90013312323
93762764961979   KAREN           SHELTON                  CA           90013077649
93765144391951   SAMUEL          AGHIMIEN                 NC           90012321443
93766496391599   EVA             CALDERON                 TX           90013584963
93767669691521   LUIS            GONZALEZ                 TX           90011196696
93774282355957   ANTONIO         GONZALEZ                 CA           90013372823
93777539643584   TORRIE          SMITH                    UT           90004495396
93785114555951   ROCIO           ESQUIVEL                 CA           90012351145
93788562155951   MANUEL          SANDOVAL                 CA           90012415621
93798159561977   CESAR           AMADOR                   CA           90000711595
93812397177537   LESLIE          ALEXANDER                NV           90013093971
93814421743584   DENISE          EWING                    UT           90004434217
93819137591599   ALMA            CARRASCO                 TX           90012171375
93821592741296   KEVIN           BRIGHT                   PA           90013505927
93823598343584   HEATHER         HARRIS                   UT           90013045983
93823673661977   LUIS            CERVANTEZ                CA           90011886736
93829758893732   JERICA          WEAVER                   OH           90009207588
93832687191521   DANIEL          RAYA                     TX           90011196871
93841111443584   LEVI            WOOD                     UT           90014181114
93846137877537   GABRIEL         VAZQUEZ                  NV           90010901378
93855654273261   ISIDORA         LOPEZ                    NJ           90013936542
93856162791599   CARLOS          HERNANDEZ                TX           90012051627
93856398661979   UBALDO          HERAS                    CA           46016693986
93858215855951   IGNACIO         MORALES                  CA           49087042158
93862413155951   LORRADE         STOOPS                   CA           90014384131
93876163191399   MAFFA           KARAFO                   KS           90012021631
93879654191399   MONIQUE         LARA                     KS           90013986541
93882751955957   KASTIN          RODRIGUEZ                CA           49050957519
93884153343584   ANGELA          QUINTANA                 UT           90010471533
93884745455951   MONICA          RAMIREZ                  CA           90003817454
93884882943584   ANGELA          QUINTANA                 UT           90012838829
93894566755951   ARACELI         LINMON                   CA           90012415667
93896256455951   JORDAN          SEGURA                   CA           90014902564
93899493341296   ERIC            JEFERSON                 PA           90007274933
93916186191599   CHRISTINA       GUZMAN                   TX           75026891861
93916431761979   TERESA          ZAMARRON                 CA           90009664317
93917632743584   WILLIAM         HUMPHREY                 UT           90012636327
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93919675661977   DOMENIC         WATTS                    CA           90011886756
93922694991521   LINDA           DIAZ DE LEON             TX           90011196949
93929289455957   LESLI           MONIQUE SALDANA          CA           90014132894
93936726577537   ROBERT          MCCOLLUM                 NV           90014687265
93939716991399   ARTEASA         KINDALL                  KS           90006057169
93948684343584   GREGORIO        PAREDES                  UT           90009236843
93965378755957   ALEJANDRO       CORTEZ                   CA           90001723787
93968744691521   CARLOS          MUNIZ                    TX           90014187446
93975487291521   JOHN            RIOS                     TX           90002564872
93975558161979   ERICK           MAEVA                    CA           90011595581
93986255591951   ELEANOR         MITCHELL                 NC           90008232555
93987571491521   GINA            GAMEZ                    TX           90012675714
93992185155951   HRIPSIME        KOSTIKYAN                CA           90015091851
94115526691599   JUAN            RIVERA                   TX           90010745266
94123295441296   MARY            ROELL                    PA           51043612954
94126134655963   NORMA           HERNANDEZ                CA           90012101346
94131374593755   DONALD          JACKSON                  OH           90014883745
94132469291599   REBOERT         TUCKER                   TX           90012584692
94134492791951   ABIGAIL         VELASQUEZ                NC           90013304927
94141586355951   RAUL            RAMOS                    CA           90012955863
94145595931625   WAYNE           KINNEY                   KS           90014675959
94146265793736   CHERIE          BUCHANON                 OH           90011082657
94146587741238   ROBERT          WAHLS                    PA           90013965877
94151526651396   TIA             DICKERSON                OH           90014395266
94159376693755   RUFUS           COFFEY                   OH           90009833766
94194272393755   MAUREEN         PURCELL                  OH           90010962723
94225786771945   ELISA           BOSLEY                   CO           90011997867
94227369671945   JUILO           MEDINA                   CO           90015093696
94239142461977   JOHN            SMITH                    CA           90015151424
94243881161977   ANDRES          CHANCOT                  CA           46030468811
94251718171945   DAVID           MARTIN JR                CO           90014807181
94254516371945   JAYSON          TANNER                   CO           90012365163
94255884655963   AURORA          MORENO                   CA           90014928846
94268139755951   VICTORIA        ISLAS                    CA           90010601397
94275142861977   KIMBERLY        ARREOLA                  CA           90007431428
94283266191599   ALEJANDRA       CALDERA                  TX           90011992661
94292496555951   CAROLINA        SANCHEZ                  CA           90012704965
94295915393755   BRENDA          BLACKMON                 OH           90007389153
94299273931429   ALICIA          SINGLETON                MO           90014772739
94311976561977   JOEL            CRISOSTOMO               CA           90005339765
94315964441255   MARISSA         LEPPLA                   PA           90008739644
94317131291969   ANA             TICAS MORENO             NC           90014961312
94335516171945   ELICK           CORTEZ                   CO           90013665161
94347155991951   DESMOND         GREEN                    NC           90011191559
94361681361977   DANIELLE        HENDERSON                CA           90013646813
94363155991951   DESMOND         GREEN                    NC           90011191559
94374979755951   JUAN            DOMINGUEZ                CA           90013779797
94378875661977   GARY            HOLMES                   CA           90010988756
94379397491951   TYNISHA         DIXON                    NC           90013153974
94386218591951   TAMMY           ANDERSON                 NC           90010672185
94396791191599   CESAR           ALVAREZ                  TX           90011027911
94399711677537   ROMAN           VEGA                     NV           90014527116
94425236831646   CASSIE          COOPER                   KS           90013472368
94429218591951   TAMMY           ANDERSON                 NC           90010672185
94429311771945   MORNINSTAR      GONZALES                 CO           90012503117
94429371881634   KIPPY           MORRIS                   MO           29010203718
94434436777537   RAY             FERRO                    NV           90014864367
94436299693755   TERRANCE        DIMITRIUS                OH           90012312996
94443123261977   JAVIER          MARTINEZ JR              CA           90000281232
94449914155951   ASHLEY          CALLISON                 CA           49040769141
94458384177537   JENA            ZIMMERMAN                NV           90014513841
94469235961977   PENNEY          CRAWFORD                 CA           90006942359
94469812955957   ERIC            TENORINO                 CA           90009338129
94473527555963   ERICKA          TAPIA                    CA           90013605275
94477164855951   STEPHANIE       TAYLOR                   CA           49078971648
94479758677537   JOSE DANIEL     TORRES TORRES            NV           90013577586
94482422671945   REGINALD        CARTER                   CO           90013754226
94486358655963   CONSUELO        MORALES                  CA           90012013586
94491472761977   GILBERT         FRANCO                   CA           90014484727
94492251971945   MARK            HARRIS                   CO           90012782519
94494342493755   BRANDON         UNSWORTH                 OH           90012673424
94495316971945   NAZAEL          HERNANDEZ                CO           90010433169
94513329471945   WESLEY          CARRIER                  CO           90012993294
94514345391599   SANDRA          PALACIOS                 TX           75082573453
94522964293755   BONNIE          HUNT                     OH           64588459642
94523128861977   JESSICA         BARREIRO                 CA           90014881288
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94535388177537   CARMEN            COLORADO-RAMOS         NV           43027783881
94537612655957   PRISCILLA         MORALES                CA           90012656126
94538529561977   LORENA L          PEREZ                  CA           90005185295
94553134177537   TIFFANY           FREDERICK              NV           43056481341
94559337771945   NALLELY           OROS                   CO           90004503377
94562781155963   SHIRLENE          GRIFFIS                CA           48050977811
94564617291599   CRYSTAL           MENDEZ                 TX           90002966172
94571843893755   MICHELLE          CHERRY                 OH           90011948438
94575771155957   DAMIEN            MURRAY                 CA           90002637711
94595132493732   MARKEIDA          BROWN                  OH           90003341324
94598397191951   FELICIA           BRUNSON                NC           90010473971
94616184861977   ADRIANNE          NIVENS                 CA           90015151848
94629933555957   JM                JONES                  CA           90009299335
94638798391399   MARCUS            SMITH                  KS           90012927983
94642757771945   LINDA             JACKSON                CO           90012557577
94644932577537   ARIANA            ESTRADA                NV           90010259325
94649132155957   ERICA CHRISTINA   VALLE                  CA           90005461321
94652748971945   JACOLBY           WILLIAMS               CO           90012497489
94652818855963   JOSEPH            MOLINA                 CA           90012628188
94655784555957   CELESTINE         MARTINEZ               CA           90009787845
94656341591951   JEFFREY           REVELS                 NC           90013363415
94661245991599   SAUL              SALOMEE                TX           90010902459
94663111171945   SANDRA            IBARRA                 CO           90009671111
94665854981652   DAVID             NORMAN                 MO           90010748549
94688122391399   RICHARD           WILLS                  KS           90014761223
94695984561977   GARCIA            ANAHI                  CA           90007889845
94696157591599   ERIVES            GIBRAN                 TX           90015181575
94698483231424   ROSHELLE          MOORE                  MO           90013584832
94699473291951   WILLIAM           FULTON                 NC           90013384732
94713263761977   GREGORY           NAVARRO VALADEZ        CA           90013632637
94722126755963   HECTOR            AAYALA                 CA           90014021267
94724714677537   GABRIELA          TORRES                 NV           90011887146
94725711177537   PATIENCE          RALSTON                NV           90012697111
94725929661977   ARACELI           LERMA                  CA           90014319296
94728858955963   MARTIN            GOMEZ                  CA           90007668589
94731585591951   GANIYU            IRANLOVE               NC           90010495855
94732613391399   ADRIANA           SANTOS                 KS           29035756133
94735489391599   ROLANDO           PRICE                  TX           90010954893
94736373477537   DONNA             TAYLOR                 NV           43041503734
94738798177537   GERARDO           MARTINEZ               NV           90012637981
94755995391951   ARGENIS           QUINTANA               NC           90010499953
94756644533698   REBECCA           SAWYER                 NC           12033766445
94757339555957   JESSICA           ENRIQUEZ               CA           90015093395
94766878855951   ALEX              FLORES                 CA           90014958788
94768742461979   HUGO              JAIME                  CA           90003207424
94769168991599   AJ                TRUJILLO               TX           75016981689
94773428593755   CLYDE             CRAVER                 OH           90012824285
94776458377537   NANCY             ZACATZI                NV           90013744583
94783274991599   ERIKA             RUIZ                   TX           90012452749
94784554777537   CHANEL            HOPKINS                NV           43011825547
94784567255951   PATRICIA          VASQUEZ                CA           90007945672
94787899991951   JEU               SANCHEZ                NC           90006648999
94795116961977   EDDIE             ESTRADA                CA           90010801169
94798558993736   AMY               DEGARMO                OH           90011135589
94811683855951   MICHELE           MILER                  CA           90015006838
94812597855963   SUSANA            BARAJAS                CA           48004265978
94823257955957   MARY              BARBER                 CA           49044422579
94831482355951   JORGE             LOZANO                 CA           90012304823
94833357193732   GRACE             PETREMAN               OH           64568683571
94843668171945   ADRIANA           ZELAYA                 CO           90001126681
94853651671945   HOLLY             GILLESPIE              CO           90007936516
94863487561977   ALEJANDRA         QUEVEDO                CA           90011194875
94865896691553   MELISSA           LUGO                   TX           90007448966
94866866251373   O DELL            HOLLIDAY               OH           90013118662
94868628955957   AIOTEST1          DONOTTOUCH             CA           90015116289
94875814277537   LUIS              SOLORIO                NV           90009408142
94875863261977   MENDONZA          JUAN                   CA           90004138632
94884935755963   KIMBERELY         NAJERA                 CA           90014289357
94886791861977   ANGELICA          MUÑOS                  CA           46050907918
94891112193721   LACEY             MOORE                  OH           90009271121
94892365271945   NATASHA           JACOBS                 CO           32082183652
94894968671945   JOHN              HOOPER                 CO           90011149686
94917339555957   JESSICA           ENRIQUEZ               CA           90015093395
94919233941296   CARLOS            DUKES                  PA           90011312339
94923359191399   JOEL              BECH                   KS           90011353591
94923815555957   CHRISTINA         CHENOT                 CA           90014178155
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94944692181652   PAULO           ZAGADA                   MO           29009886921
94946283261979   JAIME           PALACIOS                 CA           90003232832
94946754155963   BRAVLIO         RAYA                     CA           90010027541
94953495747973   LEJUANA         DICKERSON                AR           24014764957
94953986655951   JIMMY           SANDERS                  CA           90012999866
94963669161977   MORRIS          GILCHRIST                CA           90013656691
94964984791599   GUADALUPE       MARTINEZ                 TX           75037359847
94967655541296   FRENK           TINGER                   PA           90014066555
94968532961977   KARLA           CASTANEDA                CA           90005185329
94973517193755   TYLER           BOCOCK                   OH           90012695171
94997932547924   JASMINE         GUARDADO                 AR           90004769325
95115826291599   DANIEL          RODARTE                  TX           90011598262
95119541555951   CARRIE          CASTANEDA                CA           90013055415
95121448761977   ALEJANDRA       MEDINA                   CA           90013134487
95121455441296   DENNIS          DOWNEY                   PA           90010774554
95133963193755   RICHARD         COBB                     OH           90010879631
95134321555957   KATHRYN         DOMINQUEZ                CA           90014253215
95137484285969   ABEL            ARIAS                    KY           90001344842
95141925655951   RITA            HERNANDEZ                CA           90012349256
95142981491951   MAYERLI         LAGUNA                   NC           90013579814
95148335691531   IVETTE          RAMOS                    TX           75074473356
95152782791599   JOSEFINA        QUINONEZ                 TX           90013257827
95154216591951   ALEXANDRA       ALVAREZ                  NC           90012732165
95165523491599   GISELA          NAJERA-DELONGORIA        TX           90011965234
95166269661977   ALISSA          SERRANO                  CA           90013142696
95174622661977   KRISTIN         ANDERSEN                 CA           46001846226
95179212881634   ELMER           AGUILAR                  KS           29021872128
95184241941296   MARLAINA        WALIGORSKI               PA           90012912419
95212656455957   ANTHONY         PRATHER                  CA           90012546564
95224392981658   AMBER           DOUGLAS                  MO           90001293929
95229758891551   JUAN            ZAMORA                   TX           90012787588
95229962693755   KAELI           MORGAN                   OH           90013539626
95244945255957   SARAH           MADRID                   CA           90014179452
95246866291526   JESSICA         FONG                     TX           90014308662
95251443651325   KATHRYN         WILLIAMS                 OH           66073264436
95252336893755   MARY            SCHROYER                 OH           90014483368
95263718941296   MARQUIA         CHARAE                   PA           90009087189
95271791491531   CASTILLO        CHRISTOPHER              TX           90010587914
95273879641271   MAX             SMITH                    PA           90015048796
95274875955951   RAY             VILLA                    CA           90011098759
95293152785969   MARTHA          SCOTT                    KY           90004721527
95295249855951   ANITA           ROMERO                   CA           90013282498
95299633877537   MIGUEL          GONZALEZ                 NV           90012836338
95312535772475   THOMAS          ZENEWICZ JR.             PA           90012335357
95316291291951   JOY             SPENCER                  NC           90014622912
95322593891531   NANCY           GUZMAN                   TX           90005585938
95328995155951   CRICKET         CRICET                   CA           90013419951
95343149861977   ALEXIS          CUBILLA                  CA           90013161498
95352276391951   ANDRICK         HERNANDEZ                NC           90012592763
95353745955957   MARIA           PRECIADO                 CA           90011767459
95363359793755   JIMMY           RHOADES                  OH           90014883597
95365899255951   SUNEMA          PAVLINE                  CA           90011098992
95368463591599   AMERICA         ALMEIDA                  TX           90012414635
95373337391599   FERNANDO        ALVARADO                 TX           90013753373
95373582841296   JASEN           WHITACRE                 PA           90007465828
95373831641296   JASEN           WHITACRE                 PA           90013958316
95376149455951   AMIN            ALGAZALI                 CA           90014151494
95377452291399   JESSE           CLARK                    KS           90001254522
95377661791531   PERLA           MENDOZA                  TX           90012816617
95383711391951   MARCUS          MOORE                    NC           90012917113
95387264755957   DUSTIN          LESAN                    CA           49083272647
95389993491531   JESUS           GARCIA                   TX           90010589934
95392848791526   LINDA           LOPEZ                    TX           90009448487
95398429891399   JAMES E         SMITH                    KS           90011654298
95421553491951   KENDRA          WILSON                   NC           17094255534
95432147855951   OMAR            ALGHAZALI                CA           90014151478
95435112855957   STEFANIE        HANNEMANN                CA           90012521128
95437132877537   BOBBIE          GRIGGS                   NV           90009541328
95441628691599   SONIA           TORREZ                   TX           90013326286
95446118491531   GABRIELA        BLANCO                   TX           90010591184
95448123691531   JOSHUA          GONZALEZ                 TX           90010591236
95453126993755   TRACIA          HERBST                   OH           90004991269
95454349991399   FRANCISCA       PONCE-ACEDO              KS           90014183499
95456899355951   BEATRICE        MOLINA                   CA           90010278993
95473918555951   RICHARD         GARCIA                   CA           90012939185
95481695991599   VALDEZ          DENISE                   TX           75073556959
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95495765161973   YESENIA          ARAGON                  CA           90009287651
95495974861928   JOEL             ROSALES                 CA           90011999748
95497926491531   FERNANDA         CHONG                   TX           90010679264
95517142291599   PRISCILLA        CERVANTES               TX           90012931422
95522863777537   RODOLFO          MORA-JIMENEZ            NV           90011458637
95531355331491   LARRY            CONNOR                  MO           90002523553
95544567941296   SUJATA           CHHETRI                 PA           90011485679
95546955461977   RUBEN            MUNIZ                   CA           90006359554
95547129841296   DIANA            GARZA                   PA           51066761298
95554889955951   ISIAH            THOMAS                  CA           90014858899
95557174791599   SYLVIA           DAVILA                  TX           90012771747
95572898191951   LATASHA          WILKINS                 NC           90013708981
95597791493755   ASHIA            BURNS                   OH           90004037914
95611823261977   GUADALUPE        GAMINO                  CA           90010538232
95621876761977   TIM              HOWARD                  CA           90013438767
95624589191599   ADRIANA          SOTO                    TX           90007925891
95637723677537   JACQUELYN        ROMERO                  NV           90014977236
95642225391599   APRIL            REYNOSO                 TX           90013742253
95642363841955   MANUEL           SALDANA                 OH           90013973638
95673128541296   DAMIKA           MALLOY                  PA           90014711285
95674695451365   DONNA            COTTERELL               OH           90011926954
95683637877537   CYNTHIA          SHULER                  NV           90015156378
95699589191599   ADRIANA          SOTO                    TX           90007925891
95722163391531   ARTURO           ZAMBRANO                TX           90005031633
95722471641296   JAMIKA           SMITH                   PA           51095294716
95733582893732   DAVION           SOWEEN                  OH           90012945828
95737595991531   DAVID            ELIAS                   TX           90010595959
95741592991531   ARMANDO          DE LA LUZ               TX           90010745929
95753744191399   TINA             MARION                  KS           90014387441
95756541181634   FAIWAL           HOFF                    MO           90006315411
95758355861977   NEREYDA          RODRIGUEZ               CA           90010543558
95765163391531   ARTURO           ZAMBRANO                TX           90005031633
95768661591951   JETORY           ANDERSON                NC           90015106615
95775235591399   ERAZO            WILMER                  KS           90003672355
95777393155957   ANGEL            HERNANDEZ               CA           90010643931
95787429193755   LORI             HUTSELL                 OH           90002744291
95789313131459   NAYESHA          COURTNEY                MO           27583043131
95793159155951   LAKESHA          COGHILL                 CA           90013191591
95811171361977   GABRIE           PEREZ GONZALES          CA           90000721713
95828288491554   RAUL             CASTRO                  NM           75013772884
95832487261977   BOB              BARKER                  CA           90010544872
95832683977537   MELISSA          COLEMAN                 NV           90004986839
95837167291951   JOHN             LLANO                   NC           90014751672
95837644355951   MARY             CRUZ-RIGNEY             CA           90012386443
95838772391599   MARGARITA        ESTRADA                 TX           90013787723
95839562177537   JOSE             CALVILLO                NV           43079125621
95842891955957   FABIAN           NUNEZ                   CA           90013448919
95847692291599   RAMIREZ          CINTIA                  TX           90009456922
95855413655951   RALPH            PIERCE                  CA           90007454136
95865157491951   PORSCHE          COPLIND                 NC           90014121574
95866933761977   JULIUS           LIPAYON                 CA           46026909337
95874768491531   FABIOLA          LOPEZ                   TX           90010597684
95876569191399   LAZARO           AMADOR                  KS           90012675691
95877123861977   EDWARD           PERRY                   CA           90009231238
95877564641296   JOHN             MONROE                  PA           90014275646
95883955293755   JOSHUA           MARCUM                  OH           64530829552
95911567441296   ZELLETTIA        BRANTLEY                PA           90014275674
95933377877537   MAYRA            JACOBO                  NV           90013793778
95941179891531   NOEMI            DOMINGUEZ               TX           90008131798
95944398291399   TARESSA          SWYGERT                 KS           90014243982
95945245491399   MANUEL           CHAVEZ                  KS           90012262454
95946536891951   CAROL            STEWART                 NC           90013845368
95954837677537   NICOLAS          GONZALEZ                NV           90012938376
95959753377537   SELENA           MARTINEZ                NV           90014617533
95962442791951   DONTRISE         MALLOY                  NC           90002514427
95962814141296   CHRISTOPHE       MOULTHROP               PA           51084178141
95965374191599   MARY             JOHNSON                 TX           75050903741
95974955191531   VICTOR           QUIROZ                  TX           90004609551
95989189891599   TANIA            DIEGUEZ                 TX           90012771898
95991243191531   MELISSA          MUNOZ                   TX           90010602431
95997877791531   HERREFRA         GUADALUPE               TX           75010468777
96113917491399   JONATHAN         READY                   KS           90010189174
96118759391951   SASLEE           TABORN                  NC           90012157593
96123181891599   ALFREDO ISMAEL   ISMAEL MARCADO          TX           90004401818
96137763493755   AMBER            DEMMIS                  OH           90012837634
96145667391399   PEDRO            VASQUEZ                 KS           90014496673
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96153846991951   JAMES           BOND                     NC           90015228469
96154162891521   DESIREE         MONTANEZ                 TX           90014871628
96155549892825   MIGUEL          AVILA                    AZ           90014185498
96155754397123   RICHARD         APODACA III              OR           90005297543
96159287761933   FADI            QAQO                     CA           90012492877
96165291355951   ABEL            ALONSO                   CA           90010832913
96167488891599   JOSEPH          ARRIAGA                  TX           90012704888
96173517897123   TREVOR          JAEGER                   OR           90011955178
96189855561977   NICOLE          MIRANDA                  CA           90012728555
96216679491521   EZEQUIEL        BARRAZA                  TX           75035026794
96216885877537   CLARK           LUCAS                    NV           43014738858
96217882993755   TAYLOR          PINSON                   OH           90013208829
96225888291521   REBECCA         SOLIS                    TX           90013628882
96232623691599   MARY            CALZADA                  TX           90013626236
96233419991531   MARIA           ARRENDONDO               TX           90001894199
96237871893732   SAAIBA          WASHINGTON               OH           90007038718
96243913761977   ARMANDO         RAMIREZ                  CA           90011159137
96246465891599   ALLISON         SOLIS                    TX           90012154658
96248511391521   JAIME           GUERRA                   TX           90006695113
96252652255957   DANIEL          CAMPOS                   CA           90013096522
96262182991531   FABIOLA         ROBLES                   TX           90011471829
96269223291521   ARMANDO         CALDERON                 TX           90005532232
96271488991599   GABRIELA        AVILA                    TX           90013914889
96274723597123   PERLA           VALERIA                  OR           90013557235
96276342491951   JUDITH          DISNEY                   NC           90010833424
96279631497123   P HAUTH         KURT                     OR           90003066314
96286153591399   ROSALBA         VALENCIA-MENDOZA         KS           90014161535
96286181893732   AMANDA          SHUTTS                   OH           90010871818
96289214991531   ROSA            SALINAS                  TX           75012922149
96291475791531   RAUL            ONTIVEROS                TX           75032114757
96292832377537   DEBRA           CLEMENT                  NV           43089498323
96294224591951   FELIPE          GONZALEZ                 NC           90006202245
96298885655957   ANGELO          GOROS                    CA           90012548856
96311162491399   NORMA           ROBLES                   KS           90014161624
96312162491399   NORMA           ROBLES                   KS           90014161624
96321417997123   CARLOS          GONZALEZ                 OR           90014554179
96333952391399   ELISA           SUAREZ                   KS           90012499523
96337818391521   LAZARA          RODRIGUEZ                TX           90014888183
96355627893755   KENDRA          BASIL                    OH           90011146278
96356581741296   TENEKA          JONES                    PA           90014135817
96363474191531   JANET           RAMIREZ                  TX           90010944741
96367211393755   NOAH            BOYD                     OH           90010682113
96367641955957   AIOTEST1        DONOTTOUCH               CA           90015116419
96368934377537   DEANNA          DURLER                   NV           90008359343
96372583991531   VICTOR          GONZALEZ                 TX           75022715839
96374225151337   KAREN           DAVIS                    OH           90013882251
96379491455951   ERIKA           LIMON                    CA           49090504914
96382549757124   JOSE            MARTEL                   VA           90009895497
96383393797123   KEVIN           WILLIAMS                 OR           90012333937
96393215855951   IGNACIO         MORALES                  CA           49087042158
96414859177537   STEVE           ARAGON                   NV           90014088591
96418983997123   LARRY           RIGGS                    OR           44071729839
96432295355957   DAVID           VALDEZ                   CA           90008962953
96442987991599   CARREON         GUILLERMO                TX           90011609879
96445152793755   STEVEN          BLACK                    OH           90009901527
96449273897123   JAIME           RUIZ RANGEL              OR           90011472738
96452964361977   DOMANIC         JEFFERSON                CA           90009919643
96455331133623   FELECIA         BRADLEY                  NC           90013153311
96458652941296   JASON           SPARTE                   PA           90010196529
96468578777537   CEDRIC          HAMILTON                 NV           90014715787
96475143477537   LEROY           HOLLING                  NV           90011261434
96475923591399   EDDIE           SCOVER                   KS           90010479235
96476891541296   MATTHEW         JAMES                    PA           90010838915
96485163693755   MERCEDES        GLOVER                   OH           90009341636
96487488191399   ALLISON         JONES                    KS           90013154881
96493872955951   UBALDO          RODRIGUEZ                CA           90011158729
96496155391599   FLORENCIO       IBARRA JR                TX           90010831553
96497395677537   DORA            VALENZUELA               NV           90009473956
96499833593755   SHAMEIKA        SEALS                    OH           90014788335
96516475191531   MIRNA           CARAVEO                  TX           90011534751
96522117891521   JOSE            MENDOZA                  TX           90008511178
96527329791521   SOFIA           ROJAS                    TX           90010523297
96528664655957   NICK            PRIAULX                  CA           90013096646
96529711391399   ROBYN           HICKS                    MO           90013357113
96529777891951   ANA             ESPERANZA                NC           90014917778
96533222491521   RUBY            MARTINEZ                 TX           90014882224
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96539133355957   BRYAN            TIERCE                  CA           90012851333
96543953691599   JESUS            CASTORENA               NM           75014809536
96545465441296   MICHELLE         HERDER                  PA           51010024654
96555783961977   ELIZA            EDELMA                  CA           90004187839
96557367493755   TYNEQUA          HOSKINS                 OH           90010653674
96561255597123   DEIDRE           ANDERSON                OR           90012852555
96564423497123   OPTEN            TIMOTHY                 OR           90014744234
96565566293755   STEVEN           LAWRENCE                OH           90008715662
96576529991521   ELIZABETH        HERNANDEZ               TX           90010655299
96587294261977   LINDA MARIE      HENDERSON               CA           90005242942
96595971191599   CLAUDIA          MORALES                 TX           90010709711
96596546961977   AURELIA          WALLER                  CA           90012455469
96612857841296   MELVIN           CROWNE                  PA           90012758578
96614838591951   GABRIEL          MARQUEZ                 NC           90009928385
96618556291521   ROBERT           GARCIA                  TX           90008685562
96621388791951   MARISOL          SALAZAR                 NC           90013953887
96623455341296   MATTHEW          NELSON                  PA           90013434553
96627454891951   ASHLEY           CASE                    NC           90009884548
96638718461977   MARA             NUNEZ                   CA           90011117184
96646943191599   MICHELLE         GARCIA                  TX           75004689431
96656338191521   ELVIA            CARRILLO                TX           75078833381
96661182991521   KRISSY           SHAW                    TX           90001771829
96667855191531   STANLEY          AGUIRRE                 TX           90014938551
96683929791951   TAWANDA          MCMILLAN                NC           90003569297
96689517691399   AMY              LEWIS                   KS           90009565176
96696624291531   CRYSTAL          LOPEZ                   TX           90011356242
96698615691884   JUSTIN           DETAR                   OK           90014686156
96698713161973   ERICA            JAUREGUI                CA           90007587131
96699925293755   PARIS            CULPEPPER               OH           90014759252
96723759161977   ANA              INIGUEZ                 CA           90011117591
96726116393755   STEVEN           CORBITT                 OH           90012321163
96727343493723   HEATHER          MILLER                  OH           90004123434
96729827797123   KEN              EARL                    OR           90011168277
96732695141296   RICHARD          ROCCO                   PA           90010906951
96733476377537   MARIA            NUNO                    NV           90015144763
96733837591599   OSVALDO          PONCE                   TX           90013438375
96734739455951   KENNETH          COLLINS                 CA           90010897394
96739688491521   JENNIFER         GONZALEZ                TX           90010526884
96748817255957   FRANCISCA        HERNADEZ                CA           90000118172
96754955177537   JACQUELINE       SYKES                   NV           43003839551
96754961797123   MAYRA            RANGEL                  OR           90011439617
96764689161982   MOHAMED          MADOW                   CA           46013616891
96777645991399   ANGELICA         DAMIAN                  KS           90013906459
96778211784325   CHRISSY          BRYANT                  SC           90007582117
96783895355951   ROASLYN          MSADOQUES               CA           90001638953
96784577893755   JERMAINE         LEWIS                   OH           90014155778
96787816791599   JOSE             AGUIRRE                 TX           90011188167
96792756991599   BRENDA           TORRES                  TX           75030367569
96799479991951   JUAN CARLOS      GONZALEZ                NC           90011874799
96822877291531   CARMEN           NAVARRETTE              TX           90014968772
96833323291399   ROBBIE           DUNCAN                  KS           90013843232
96834129277537   MICHAEL          SLATE                   NV           90015121292
96848839191951   MARCO            BANEGAS                 NC           90014178391
96849438255957   CONSTANTINO      GARCIA                  CA           90013794382
96855386391579   JOSE             CALDERA                 TX           90010853863
96856358293755   TARRAH           WRIGHT                  OH           90014983582
96858111291521   JAVIER           MARTINEZ                TX           90010631112
96858176293732   JAMES            WRIGHT JR               OH           64519951762
96858937377537   LUIS             ZARAGOZA                NV           90011269373
96874887291399   MARIA DE JESUS   GOMEZ                   KS           90015168872
96877991557183   MUNA             MOHAMMED                VA           81086669915
96883395791531   ANA              BARRAZA                 TX           90008573957
96891518391531   FREDDY           QUINTANA                TX           90011435183
96894613691951   IRHANE           GILAMICHEAL             NC           90014046136
96897282491951   DERRICK          MACK                    NC           90014622824
96912681697123   SASHA            BERG                    OR           44084816816
96913291455951   JAYMES           FAJIHARA                CA           90011572914
96914675991951   ADRAINE          CAPILLA                 NC           17009006759
96916637661977   AMANDA           GAGNON                  CA           90012006376
96919378477537   ANTONIA          ANTONIA                 NV           90010253784
96919813391599   ANTONIO          MONTANA                 TX           90012828133
96931741361977   CARLA            INGLE                   CA           90013967413
96934633491399   LISA             KIMBLE                  KS           90012876334
96934834191531   TANIA            ARELLANO                TX           75080758341
96944323291399   NATASHA          SHELBY                  KS           90015013232
96945348891599   JESSICA          ARMENDARIZ              TX           90002723488
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96945492961977   JEREMY            FLECK                  CA           90010454929
96963278791521   KATHIA            CARREON                TX           90014902787
96969224691599   PABLO             OSANTE                 TX           90005322246
96969825893755   JAMES             PAXTON                 OH           90012478258
96969859661977   DAVID             ARROYO                 CA           90001628596
96986924961977   ALICIA            TORTOLEDO              CA           90011119249
96992889991366   RONALD            MYERS                  KS           90012838899
96993492877537   KENNETH           HEMMER                 NV           90009564928
96993514597123   SYDNEY            SANCHEZ                OR           90014495145
96999886391994   NED               EBO                    NC           90012258863
97115283191399   KRYSTI            HELTON                 KS           90014932831
97115357881635   YOLANDA           WALKER                 MO           90013443578
97115443991951   LESLEY            S BETHEA               NC           90000904439
97115987391599   BRANDON           ROBINSON               TX           90011819873
97117244491951   DORIS             REYES                  NC           90009802444
97117725977537   SCOTT             SUNDERLAND             NV           90014017259
97136496361979   MANUEL            VALENZUELA             CA           90011634963
97137489291599   AURORA            ALVARADO               TX           75086934892
97138867481634   NORVIN            JOHNSON                MO           90015138674
97141118291599   JESSICA           ORTIZ                  TX           75008771182
97151453191599   ALEJANDRA         TORRES                 TX           90012904531
97153585591951   SHAKIR            WAHEED                 NC           90014865855
97162519793732   KHALISHA          MCCOMMONS              OH           90010605197
97168858855957   JUAN              ALONZO                 CA           90012728588
97179335772421   COREY             FAWCETT                PA           51012433357
97185497991599   NATALIE           GUTIERREZ              TX           90010984979
97189534481639   GILBERTO          VELAZQUEZ              MO           90000865344
97193265277537   ARNOLD            EDWARD                 NV           43016402652
97193948791399   DMITRI            BURNS                  KS           90014669487
97197779343584   THOMAS            JUSTIN                 UT           90012467793
97221161197123   KRISTINA          COCHRAN                OR           90014641611
97229618191599   ARTURO            VILLASENOR             NM           90000896181
97232871781634   JOHNAE            SAWYER                 MO           29041108717
97236863872435   MELISSA           EAKLES                 PA           90013928638
97242713593755   KRISTINE          THEOBALD               OH           90013237135
97244387291951   LAQUITA           RICHMOND               NC           90014713872
97246146591399   ENERALDO          GUALES                 KS           90014671465
97251443161979   AIYANA            BELTRAN                CA           90012954431
97251632791951   JOHNNY            RWELL                  NC           90012856327
97251678393755   BRITTNEY          CHAFIN                 OH           90008836783
97255339391599   CAMACHO           ZAIRA                  TX           90011413393
97258193461979   JOSHUA            SWARTZ                 CA           46098641934
97266674481634   CHRISTY           SNOW                   MO           90008816744
97279938397123   YESENIA SKINNER   SKINNER                OR           90005929383
97288165781635   ALFREDO           JUARDO                 KS           90013621657
97297685341296   YVONNE            DENNIS                 PA           90009946853
97311489881635   TAHIRAH           WARNER                 MO           29002014898
97312141193755   NATISHA           JOHNSON                OH           90012971411
97322817961979   ROMEO             LOPEZ                  CA           90014188179
97324298341296   CHRIS             ANTHONEY               PA           90013962983
97332353161979   RUDY              NEGRETE                CA           90013443531
97332451391882   JOEL              MENDEZ                 OK           21015484513
97333416191951   ANDRE             O NEAL                 NC           90010204161
97335883697123   JODEPH            SMITH                  OR           90014628836
97346193691951   IDARA             UTIA                   NC           90006661936
97348962293755   ALEX              MYERS                  OH           90013079622
97349443491599   PAMELA            IBARRA                 TX           90012294434
97353467877537   JULIAN            GARCIA IGLESIAS        NV           43079824678
97353618181639   HEIDI             LECK                   MO           29016516181
97356793691828   TINA              JARVIS                 OK           90003827936
97363466833698   CHINDAREE         GRAVES                 NC           90009584668
97371784541271   JUSTIN            ROSE                   PA           90014717845
97373953141296   PEREZ             FAUSTO                 PA           90012079531
97377538681639   PAYGO             IVR ACTIVATION         MO           90008705386
97382833961979   ANDREW            SHELLY                 CA           90014188339
97385193797123   ROBERT            COCHRAN                OR           90014641937
97396892966186   BREANNA           COONS                  CA           90014118929
97411433941296   ASHELY            GOLD                   PA           90013964339
97416852161979   NANCY             RUBIO                  CA           90014188521
97429231891399   IVAN              MARINEZ                KS           90014512318
97434319333698   BRITTANY          WHITAKER               NC           90009783193
97445688877537   MICAELA           ZEPEDA                 NV           90012606888
97448116893732   OSCAR             VILLALLVA              OH           90006341168
97454798177537   GERARDO           MARTINEZ               NV           90012637981
97455224261979   STEFANIE          SLATER                 CA           90007142242
97462864861979   CRISTINA          GUTIERREZ              CA           90014188648
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97463356281635   MARIA           RODRIGUEZ-RAMIREZ        MO           90007523562
97467629291951   SHARINA         CANNON                   NC           17082246292
97471187691951   AUGUSTUS        BASS                     NC           90010111876
97477868761979   REBECA          GOMEZ                    CA           90014188687
97481225561979   ISABEL          RUIZ                     CA           90014882255
97489819781635   JAQUAN          BRIANT                   KS           90009498197
97493913591889   ABOUE           DOH-EGUELI               OK           90002199135
97511168691399   TYSALA          TYLER                    KS           90001691686
97515827991951   ERIK            PRIDGEN                  NC           90011308279
97532648433698   JAVIER          PEREZ                    NC           90010196484
97533867881634   KYLAN           ALEXANDER                MO           90013428678
97541265391951   JAME            BRON                     NC           90014742653
97544424555932   JERRY           WALLIS                   CA           90006474245
97555281541296   GREGORY F       SCOTT                    PA           90011722815
97563141193755   NATISHA         JOHNSON                  OH           90012971411
97564371391599   GUADALUPE       CRUZ                     TX           90009923713
97568929691399   JENNIFER        LRINE                    KS           90014719296
97572451141955   REYES           MATINEZ                  OH           90013934511
97574431572435   TRICIA          BOYAN                    PA           90006954315
97581653561979   WILLIAM         HOWELL                   CA           90008736535
97586831677537   MONICA P        CORDOVA                  NV           90005388316
97596495981635   EVE             DANIELS                  MO           90011914959
97614614541296   JOHN            FREIBERGER               PA           51078186145
97615435833638   MARCELLUS       WILLIAMS                 NC           90013824358
97615585677537   CATHERINE       VILLA                    NV           90012185856
97619571391399   LUIS            HERRERA RUIZ             KS           90011525713
97627197593755   SAUL            HERNANDEZ                OH           90012741975
97636898133698   MEGAN           BLACK                    NC           90011128981
97637286191399   JESSICA         HINKLE                   KS           90014722861
97649849381634   LADONNA         HENDERSON                MO           90010148493
97652395291951   HELTON          MAGUEYAL                 NC           90013243952
97661233541296   DOMINIC         YEAGER                   PA           90010102335
97675716691399   RYAN            GEAN                     KS           90009627166
97686728691951   ROSEMARY        SANTIAGO                 NC           90013377286
97687542931459   JAMIE           WARD                     MO           27512145429
97692399233698   MARKEEN         HARRISON                 NC           90009893992
97716647172435   NIKKI           SMALLWOOD                PA           51094496471
97717542461979   MILDRED         TORRES                   CA           90008565424
97734378891951   JUSTINE         JACOBS                   NC           90014403788
97735299981639   ORRIN           DOWDEY                   MO           29020192999
97738488481634   ALFREDA         MARTIN                   MO           90014434884
97744995391951   ARGENIS         QUINTANA                 NC           90010499953
97752587981639   LADONNA         QUINTON                  MO           29007185879
97753675291951   KATHY           SNYDER                   NC           90012876752
97756376591599   AMADO           LOPEZ                    TX           90013183765
97765722957174   MAX             GUTIERREZ                VA           90009827229
97765762441243   SAMUEL          SCATENA                  PA           90005837624
97768379691951   DEANGLEO        GOINGS                   NC           90014783796
97777376361979   CESAR           SAAVEDRA                 CA           90011653763
97789463181635   OLGA            TORSELLI                 MO           90013894631
97791122591951   LATAVIA         ROSE                     NC           90014791225
97799522477537   ANTHONY         JONES                    NV           90008625224
97812266891951   AARON           GIVENS                   NC           90014792668
97817968472435   MARGERETTA      CAROCCI                  PA           90013519684
97822152981635   SHANA           WILLIAMS                 MO           90004121529
97822574791531   JAMES           WILLETS                  TX           90001605747
97823229777537   COOKMAN         MICHAEL                  NV           90005342297
97825679691599   APRIL           LUNA                     TX           90013626796
97826591391399   PAULA           HOLGUIN                  KS           90007695913
97831168341296   LINDA           HALL                     PA           90013931683
97835315681635   JAKE            PATTY                    MO           90013083156
97852731361979   RICHARD         MIDDLETON                CA           90008297313
97853859761979   VIRGINA         SANCHEZ                  CA           90013368597
97856663481635   SHEE            WAH                      KS           90013216634
97858245181639   JAMES           HERNANDEZ                MO           90014202451
97859377781634   KERRI           SUTTERFIELD              MO           90007753777
97862427991951   JOSE            MOLINA                   NC           90010194279
97867385897123   KAREN           JOHNSON                  OR           90013453858
97872377777537   THOMAS          JORDAN                   NV           90014973777
97882949997123   KYLEE           SPIER                    OR           90013209499
97893378172435   JEREMY          WATSON                   PA           90012833781
97893423881635   DUSTIN          EDWARDS                  MO           90013344238
97896311141296   NATIELLE        WASHINGTON               PA           90013873111
97933527272435   TERRIKA         SMITH                    PA           90014535272
97934131481635   ASHLEY          UPHAM                    MO           90014471314
97935375681634   MICHAEL         SUMBI                    MO           90012973756
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97945939691599   JAVIER          ROMERO                   TX           75025019396
97951784197123   CHRIS           LUEDTKE                  OR           90013547841
97954152341296   TINA            MIRANDA                  PA           90014341523
97958231281635   PHILIP          MURDICK                  MO           90013642312
97959411397123   BILLIE          SIMARCP                  OR           90006874113
97961849731448   MATHEW          SHERMAN                  MO           27516088497
97968336341296   DAN             SAMMARTINO               PA           90012243363
97968447841296   TAEMON          POSEY                    PA           90013394478
97968947777537   FERNANDO        ROSCOM                   NV           90010359477
97978168377537   KARLA           ESCOBAR                  NV           90011391683
97979215691599   MONICA          AVALOS                   TX           90008942156
97981851393732   SHIRLENA        LANDIS                   OH           90006728513
97987929591951   KAREEN          BAGLEY                   NC           90013009295
97992499641296   ANTONIO         GATLIN                   PA           90010504996
97997318591592   ANICETO         LOPEZ                    TX           90011903185
97999899941296   TERRY           LEIGEBER                 PA           90011728999
98114385791599   JACKIE          DE LA CANAN              TX           90012413857
98122137177537   JAVIER          ROMERO                   NV           90013811371
98125373361977   CHRISTINA       LOWMAN                   CA           90012763733
98137325441296   SHAWN           LOGAN                    PA           90014013254
98139458572435   JASON           HOUGH                    PA           90013184585
98148539277537   CHRISTOPHER A   MIKESELL                 NV           90015025392
98165236461977   OSCAR           HERNANDEZ                CA           90010692364
98168222572435   DONNA           PLAISTED                 PA           51095402225
98176744977537   GLORIA          GARCIA                   NV           90010627449
98193559957563   FRANK           JAFFE                    NM           90014645599
98195634561977   AIOTEST1        DONOTTOUCH               CA           90015116345
98196679981639   PORCHA          PIERCE                   MO           90014716799
98197774555951   TERRI           LEROSA                   CA           90011117745
98198957272435   JOSHUA          KETTERMAN                PA           90013949572
98219832155951   ERIC            GUTIERREZ                CA           90012988321
98221213891951   SHAKIRA         ROLLE                    NC           90011732138
98227498655951   MICHELLE        MARQUEZ                  CA           90014744986
98235634561977   AIOTEST1        DONOTTOUCH               CA           90015116345
98235721955946   ANA             LOPEZ                    CA           90007927219
98238925381634   SILVINA         SAVEDRA                  MO           29020389253
98239497591951   SHERRELL        RILEY                    NC           90011754975
98259548161927   JESSICA         DOMINGUEZ                CA           90001005481
98263285257563   CHRISTINA       ROMAN DOZAL              NM           90009252852
98263715281634   MICHELLE        ROBINSON                 MO           90013337152
98266728933638   WALLACE         CLINTON                  NC           90005207289
98291832181639   MICHAEL         MITH                     MO           90014968321
98292948177537   EMILY           LAWRENCE-PHALAN          NV           43097059481
98294973193755   BRIANA          BALES                    OH           90012219731
98313353691951   JUDITH          PEELE                    NC           90013713536
98337466477537   TRACY           LEIGH                    NV           90014824664
98339241555951   MARGARITO       TERRAZAS                 CA           90011942415
98339498655951   MICHELLE        MARQUEZ                  CA           90014744986
98346223791599   PERLA           ALVARADO                 TX           90011012237
98356441377537   CHARLES         WALKER                   NV           90012684413
98356854984361   WILLONA         KINSEY                   SC           90008288549
98358766755951   EDWIN           BONILLA                  CA           90014157667
98366958155951   HEATHER         BLOOMER                  CA           90009079581
98374112181634   KYLA            DAVIS                    MO           90014691121
98374643177537   NICOLE          WILLIAMS                 NV           90010196431
98385362791399   STEPHANIE       NELSON                   KS           90008733627
98392125151325   LATEFA          HUGHES                   OH           90008381251
98394244556345   CHET            STICKEL                  IA           90014632445
98395191981639   SHANIE          COUNCE                   MO           90014731919
98398158685842   SAMUEL          DUFFY                    CA           90012801586
98398195281634   GREGORY         FRANKLIN                 MO           90013981952
98398513481634   TIFFANY T       FORD                     MO           90011065134
98416216593755   HEATHER         LAWSON                   OH           90014622165
98417641991399   SCOTT           SAMPLE                   KS           90011786419
98423688481634   KASSY           KETTER                   MO           90007546884
98425645891399   VICTORIA        OVANDO                   KS           90010286458
98426835955951   LUIS            MARQUEZ                  CA           90011358359
98447139625128   LAURA           ANDERSON                 AL           90014781396
98461134561927   PERLA           ORTIZ                    CA           46070551345
98463464157563   AMERICA         VASQUEZ                  NM           90014734641
98463595491951   FREDRICKA       PHELPS                   NC           90001005954
98472745377537   JOHN            ANDERSON                 NV           90010877453
98478428472435   KYLEIGH         COX                      PA           90014804284
98482588393755   KATHY           WILLIAMS                 OH           90010495883
98497819581634   ABRAHAM         LANDEROS                 MO           90010658195
98499438661977   YANELLA         MARTINEZ                 CA           90013174386
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98512172861977   HANUMANTHA         YALAMANCHI            CA           90010441728
98519179655963   FRANK              GONZALES              CA           90012801796
98549897955999   JESSE              COTA                  CA           49022108979
98552795991599   JESUS              ALMANSA               TX           90010997959
98557637691934   ANTOINE MICHELLE   LOVE                  NC           90012106376
98559268291599   ARCHIE             BRIDGES               TX           90011012682
98562135191951   CHRISTIAN          PEREZ                 NC           90011801351
98563132555951   JOSE LUIS          HERNANDEZ             CA           90013601325
98563221991399   CEDRIC             JORDAN                KS           90007472219
98569413491951   DARRYL             WILLIAMS              NC           90011804134
98569792491599   ZULMA              MEDRANO               TX           90012697924
98573889193755   DEANNA             BERGHOEFFER           OH           90011508891
98578528381639   SPENCER            PICKENS               MO           90014735283
98582795391599   BENJAMIN           ORTEGA                TX           90013567953
98612919881634   JUSTIN             SCHILLING             MO           90004539198
98627466261977   SANDRA             JENNEY                CA           46039514662
98634551791544   PERLA              MATA                  TX           90012155517
98649441791399   JASON              PETERS                KS           90011944417
98651321491599   PRISCILLA          REYES                 TX           90011013214
98667218841296   TEMYKA             AKERS                 PA           90014502188
98675341677537   GAIL               BOBERG                NV           90002983416
98675491221832   CHARLESETTA        BLAH                  MN           90010394912
98675889555951   CATHLEEN           LANDERS               CA           90012418895
98678473557563   DAVID              GARCIA                NM           90014784735
98684488391599   MAYRA              APODACA               TX           90012654883
98685766655951   GLADYS             MATA                  CA           90008047666
98699613657563   ELISA              VILLESCAS             NM           90014786136
98713112891599   ISAMAR             HUERTA                TX           75015611128
98717986561977   ENRIQUE            LOPEZ                 CA           90012839865
98724938861977   JEFFREY            VASQUEZ               CA           90014869388
98731755791599   JUAN               DOMINGUEZ             TX           90014157557
98735683781635   GENEVA             MATAMOROS             MO           90006746837
98743724455951   JESSIE             KEAR                  CA           90008377244
98745549677537   RAUL               MELENDEZ              NV           43054575496
98745867793755   SHAINA             BRINKIEL              OH           90006468677
98746825581639   DAVIA              HOWELL                MO           90014748255
98749388457563   JUAN               BENAVENTE             NM           90008293884
98753127257563   ANA                ESCOBEDO              NM           35556671272
98753259591951   SAMALIA            JACKSON               NC           90011842595
98755145241296   OMECCA             OAKLFORD              PA           90014181452
98762674857563   JOSE               SANCHEZ               NM           90014806748
98774932533638   LARONICA           VANCE                 NC           90000869325
98776539557563   ROSEMARY           ZAPATA                NM           35523295395
98777644755951   MERCEDES           HER                   CA           90011376447
98785685857563   DANELL             JONES                 NM           90014836858
98787829861977   NICOLAS            LEAL                  CA           46098558298
98789992991599   CARLOS             VARELA                TX           90011429929
98798114581634   PATRICK            TOLBERT               MO           90010911145
98818913741296   BREANNE            REYNOLDS              PA           90013979137
98819563491599   ROSA               ALVIDERZ              TX           90006235634
98822931381688   MELISSA            NESTLERODE            MO           90005799313
98823645357563   LIVINGSTON         VICTORIA              NM           90007106453
98824646357563   MARIA              OLIVAS                NM           35509906463
98825561755951   ENRIQUE            GONZALEZ              CA           90013055617
98827982757563   EDUARDO            ZAMORA                NM           90014889827
98833457857563   ELIZABETH          AGUALLO               NM           90009474578
98836851781639   ROBERT             CRAWFORD              MO           90010258517
98853913355963   STEVEN             MIGUEL                CA           90014939133
98857188191599   DALIA              MESA                  TX           75075441881
98857863172435   KENNETH            BLAIRE                PA           90004898631
98858189281639   SHALONDA           THOMAS                MO           90011371892
98861565541296   FRANKLYN           HIGGS                 PA           90011065655
98869313941296   CHRISTIE           HAMMONDS              PA           90012133139
98872987191599   PAUL               GUZMAN                TX           90014069871
98877432991599   CIELO              SALAS                 TX           90011014329
98891399981635   S JANE             WHEELER               MO           90009563999
98892539557563   ROSEMARY           ZAPATA                NM           35523295395
98897251993755   AMANDA             ATKINSON              OH           90013462519
98914145691532   DIANA              MUNOZ                 TX           90009201456
98915666991599   YARATZED           GONZALEZ              TX           75010356669
98918816291828   AYANNA             CARNEY                OK           90013048162
98926797991399   EDGAR              RAMIREZ               KS           90012217979
98933742157563   MARIA              MOLINA                NM           90010517421
98933819857563   PATRICIA           LAKE                  NM           90014918198
98934931371928   LARRY              ROMERO                CO           90011309313
98935931381688   MELISSA            NESTLERODE            MO           90005799313
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98939927855951   CORINA          HERRERA                  CA           90014849278
98943198357563   LOUIE           VALENCIANO               NM           90007261983
98949167941955   MANUEL          SALDANA                  OH           90015331679
98973457191399   MONICA          GARDEA                   KS           90007484571
98978585561977   ELENISON        RAMIREZ                  CA           90002485855
98979488257563   MARK            LANDOWSKI                NM           90010814882
98989127177537   DEANNA          SCHMIDL                  NV           90013311271
98991395781634   RIKKI           OROURKE                  MO           90008893957
98992592861977   CHANEL          KUBRICKY                 CA           90007485928
98993951391599   CRISTIAN        SANCHEZ                  TX           90012919513
98995349693755   MIY             MONEY                    OH           90014023496
98997683891399   NICK            JORDAN                   KS           90011826838
99127519981634   WENDY           MARTIN                   MO           29004525199
99147389793755   EMILEE          PILLER                   OH           90010733897
99159459297123   SHANWTAY        ZARAGOZA                 OR           90000944592
99171512255951   JESSICA         QUINONES                 CA           90012315122
99174848491951   MASTER          WIRELESS COSTUMER        NC           90013968484
99183554671936   KIRK            LUBBERS                  CO           90012915546
99185477877537   ABRAHAM         BARAJAS                  NV           90013404778
99185483841296   EDDIE           EUBANKS                  PA           90011454838
99186468291951   JOSE            MARTINEZ                 NC           90014454682
99186928251533   CHRIS           BROWN                    IA           90014569282
99189235193755   MELISSA         FRAZEE                   OH           90009212351
99195448293736   JOCELYN         POWELL                   OH           90007844482
99212252541296   REBECCA         HILLEGAS                 PA           90014192525
99213842341296   BILL            PRESLY                   PA           90013958423
99217521581635   BILLIE          SOVAN                    MO           90013755215
99222897391951   NATAEVIA        ETTSON                   NC           90012028973
99225428761971   ANDY            DE VRIES                 CA           90012744287
99227326693755   DONTAE          MURPHY                   OH           90011873266
99228486291951   ALISHA          LILES                    NC           17051914862
99238487484829   ANTONIO         MORALEZ                  NJ           90014104874
99246687891599   CRISTAL         MONARREZ                 TX           90014886878
99248821391599   FERNE           PINALES                  TX           75087738213
99249248355951   JAMIE           REYNOLDS                 CA           90012322483
99251169977537   SAMANTHA        CABALLERO                NV           90012711699
99266847391951   JAQUAN          HARRIS                   NC           90014538473
99267831777537   ROBERT          DELAROSA                 NV           90015118317
99269838333642   JEREMY          MCMILLIAN                NC           90013998383
99271588391951   AMANUEAL        TEWOLDE                  NC           90013755883
99272886893755   TANYA           LOPER                    OH           90012498868
99274115477537   RONALD          LYNCH                    NV           90011511154
99287689555951   ROBERTO         RAMIREZ ZAMBRANO         CA           49003586895
99288984561971   ADRIAN          LOPEZ                    CA           90013389845
99317315722938   MORRIS          MCCRARY                  GA           90014513157
99324497793755   PAUL            PHILBECK                 OH           90011874977
99335587191951   KATHY           BUNCH                    NC           90008555871
99339283551331   BRANDY          MATHIS                   OH           90008012835
99343885891599   FRANCISCA       HERNANDEZ                TX           75033438858
99361123491951   LATONYA         REEP                     NC           90013261234
99362191891599   CRISTINA        MONTERO                  TX           75097081918
99369313981635   STEPHAN         EADS                     MO           90000183139
99373272291544   JOSE            MORALES                  TX           75096262722
99375218561971   ADOR            MAGNO                    CA           90013172185
99399536491526   JOSE            ACEVEDO                  TX           90009345364
99412352891599   CONCEPTION      SILLER                   TX           90005843528
99421564577537   BRIAN           CASILLAS                 NV           90012655645
99425314955951   MELLISSA        NUNES                    CA           90015173149
99431172861971   JUANA           PEREZ                    CA           90015141728
99462176691951   CARINTO         VAREENE                  NC           90013931766
99463668893755   TERESA          VIETS                    OH           90012866688
99463986393755   TERESA          VIETS                    OH           90012089863
99473184891951   YOMARA          VASQUEZ                  NC           90013931848
99473645291599   JESSICA         CHAVIRA                  NM           90008886452
99473963493755   GAGE            STEPHENS                 OH           90009369634
99485718281634   MARLA           MCFARLANE                MO           90007547182
99486163477537   MICHAEL         ROBBINS                  NV           90014371634
99488363791889   AMELIA          BELLE                    OK           90011023637
99489753191526   JOSE            ALMARAZ                  TX           90001607531
99495955793755   BIANCA          ROBINSON                 OH           90008979557
99516789281634   HEATHER         YANNAYON                 MO           90012647892
99536886581635   DAVID           GUM                      MO           90013128865
99539627455951   JESSE S JR      GUTIERREZ                CA           90010156274
99544798281635   ROBERT          EDEN                     MO           29004657982
99561156555951   STEPHANIE       RAZO                     CA           90002991565
99563428261971   JOHN            HERNANDEZ                CA           90013294282
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99571219251334   CASANDRA        DALLAS                   OH           66073742192
99574828291599   JAZMIN          GUILLEN                  TX           90010778282
99578268791599   BEATRICE        BARRIENTOS               TX           75081122687
99588655741296   LISA            BLAKE                    PA           90008556557
99593761341296   TOMLIN          VALENTIN                 PA           90012747613
99613647391599   JESUS           HERRERA                  TX           90012896473
99613831391599   CHRISTIAN       ARGUELLES                TX           90001518313
99645963451386   ELAINE          EVERSOLE                 OH           90012519634
99658689581635   CRIS            NOEL                     MO           90014066895
99686124981635   MEGHAN          MEADE                    MO           90013231249
99686662991951   BONIFACIO       ORTEGA                   NC           90014146629
99719414591951   KAYONNA         FLOYD                    NC           90011174145
99723412881635   MAIA            BENTON                   MO           90015214128
99724722261971   ABBOTT          HASTINGS                 CA           46029967222
99725435797122   SCOTT           CARADY                   OR           90008984357
99727676261971   MANAA           TAKOUDA                  CA           90009266762
99743823755951   LUIS            GARCIA                   CA           90012178237
99762812591599   JOSE            REYES                    TX           90011518125
99767325693755   JESSICA         UNTERBERGER              OH           90009133256
99787196791951   MARCUS          SHEERF                   NC           90010181967
99788842297122   GERALD          WILLIAMS                 OR           90006908422
99794346493755   ABRAHAM         RIVEROLL                 OH           64504223464
99797928191951   RASHEEN         MOORES                   NC           90012469281
99813193693755   JETT            COLE                     OH           90012841936
99814124491951   JENNIFER        DURANDISSE               NC           90010981244
99816727991599   MENDOZA         RUT                      TX           90004127279
99822474877537   RENITA          LEFLER                   NV           90010864748
99822489593755   HARRY           WRIGHT                   OH           90004984895
99828522755951   MARCIE          VERDUZCO                 CA           90013665227
99829848177537   RANDY           VALDEZ                   NV           90013538481
99832254477537   LOUISA          KERN                     NV           90005342544
99832923391889   CODY            BRUER                    OK           90011539233
99833964691964   VITA            FRANKLIN                 NC           90010519646
99843279691951   ANGELA          SMOKE                    NC           90014132796
99843627591951   JOSE            ACOSTA                   NC           90015136275
99856771597122   RACHEL          NOLEN                    OR           90010547715
99861777481634   STEPHEN         FENNEL                   MO           90013297774
99863266397122   LETISHA         RAMIREZ                  OR           44514182663
99864834593755   KIRSTEN         BROWN                    OH           90012028345
99865483361971   ARMONDO REY     ORTEGA COMPOS            CA           90012854833
99868489981635   CHRISTINA       APPLEGATE                MO           90012644899
99871584281635   HAJAH           HAJAH KAMARA             MO           90014155842
99873914493755   SHAMEEKIA       ARNOLD                   OH           90009069144
99879125861971   KEVIN           BARAJAS                  CA           90013121258
99879287791951   ERIC            EATMON                   NC           90013592877
99891643981634   MATTHEW         MACON                    MO           90013086439
99896597281635   BRANDO          RIVERA                   MO           90012105972
99922117481635   RAYMAND         BROWN                    MO           90009331174
99936113741233   TELA            PERRIN                   PA           90012661137
99939897761971   LUIS            ALBERTO RAMIREZ          CA           90001238977
99943514841296   DAUDI           ABDIALLA                 PA           90011465148
99971882593755   KARLA           MCKINNEY                 OH           90005178825
99971992681634   HEATHER         SIMPSON                  MO           90003429926
99986623781635   JENNIFER        NICHOLS                  MO           90010696237
1111141115715B   JOSE            COTO                     VA           90014064111
1111274A576B68   JAZMIN          JARAMILLO                CA           46075537405
1112194755B343   PAUL            WATTERS                  OR           90009439475
1112377485B526   DANIELLE        SNIDER                   NM           90013067748
1112495755B526   KELCEE          JONES                    NM           90014789575
11125767576B68   JORGE           BALTAZAR                 CA           90013427675
1112638559154B   JOSHEPH         FUENTES                  NM           75015483855
1112797A172453   BETH            GAITO                    PA           90014719701
1113197A172453   BETH            GAITO                    PA           90014719701
1113396614B588   MARCIA          PENA                     OK           90010739661
1113446999154B   ESMERALDA       GARCIA                   TX           90003214699
1113772593B368   WENDI           GRABLE-COLLEY            CO           90006127259
111386A8661972   CRISTIAN        LOPEZ                    CA           90010296086
11145863676B68   BEATRICE        JIMENEZ                  CA           90011848636
111493A385B343   ISAFOU          JALLOW                   OR           90012753038
1115161694B26B   ROBERT          SPOHN                    NE           90015066169
11153A4784B588   ALCIA           ANDERSON                 OK           90009940478
11156686772B28   ADAM            GOMEZ                    CO           90007116867
11156A86661958   ELIZABETH       ZUFRI                    CA           90013750866
1115B163872453   JARRAD          WISE                     PA           90014801638
1115B434291263   SIRRON          GRIFFIN                  GA           90014234342
11165336576B68   DANIELLE        WEST                     CA           90012033365
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11166835A2B966   MARIA          ARZATE                   CA           90014178350
1116783A161938   CHARLES        ALLENBY                  CA           90014168301
1116882154B555   MELODY         NUGENT                   OK           90014658215
1116931545B154   JERMAIN        WILLIAMS                 AR           90013943154
1116977A876B68   NORA           REYES                    CA           90013427708
1116981387B489   GREGORY        ARMSTRONG                NC           11011628138
1116B54178B193   JEAN           PIERRE                   UT           90000345417
11171A2392B966   MIKE           PEREZ                    CA           90012800239
111769A287B43B   RONALD         MCGILL                   NC           11067929028
111781A6576B68   NESTOR         DE LA CRUZ               CA           90010761065
11181A2257B489   ANA            ROGAS                    NC           90009470225
1118272742B966   CHERYL         DRAKE                    CA           90012887274
11184967476B68   GUSTAVO        GARCIA RIVERA            CA           90014169674
11185538976B68   RYAN           KLIPPEL                  CA           90013635389
111877A3547956   MAEGAN         CHITWOOD                 AR           24074977035
1119178247B489   KEVLIN         HAGERTY                  NC           90013047824
1119342912B966   SALMAN         DANKHA                   CA           90013334291
111952AA193745   KARI           HITTLE                   OH           90012862001
11198528A72B62   JONNA          GOLDTRAP                 CO           90002655280
1119887468B193   BEVERLY        SKILLICORN               UT           31017618746
111B167A391569   JUDY           MARTINEZ                 TX           90015086703
111B1A21133699   ERICA          BETHEA                   NC           90015000211
111B28A637B489   ROBERTO        RAMIREZ                  SC           90012488063
111B2A88651337   TROY           EASTIN                   OH           90014650886
111B397919154B   JEANETTE       MENDOZA                  TX           90012639791
111B4791157147   WILLIAM        CAMPOS                   VA           90004697911
111B557A15B154   YVONNA         ALEXANDER                AR           90010245701
111B69A5993745   KENNY          GRAHAM                   OH           90013079059
111B729779154B   DAVID          ACOSTA                   TX           90012762977
111B7917433699   JOSE           VASQUEZ                  NC           90012299174
111B7AA344B555   AMY            ANDERSON                 OK           90013550034
111B896475B526   IRENE          PADILLA                  NM           90013749647
111BB611351337   CHRISTOPHER    PADGETT                  OH           90014986113
111BB936947832   KEVIN          GOMES                    GA           90008449369
11211668A9373B   CLIFTON        RICHARDSON               OH           90008116680
112142A4957147   JANEY          CARBALLO-RENDEROS        VA           90012322049
1121999899154B   RICHARD        CAMARGO                  TX           90013109989
112299A4591895   DANIEL         FROST                    OK           90011949045
1122BA29661938   ANTHONY        VELARDE                  CA           90011600296
112324A9672B62   VICTORIA       SANTISTEVAN              CO           90011404096
1123277288B863   TAYLOR         ANAMA                    HI           90013977728
1124654255B526   JUAN           CERECERES                NM           90014615425
1124686279154B   JUAN           MORALES                  TX           90014418627
11247476A61972   JOSE           DIAZ                     CA           90011484760
11251A2AA57147   JOSE           SOTO                     VA           81015850200
11257A9787B489   LEONEL         ESPINAL                  NC           90013860978
1125B1A8551337   ASHLEY         LILLY                    OH           90008361085
1125B67565B526   NIVEE          DELAWARE                 NM           90010386756
1126257585715B   BRYANT         RODRIGUEZ                VA           90013205758
1126271235B343   RAYMOND        GRAGG                    OR           90014877123
112649A5993745   KENNY          GRAHAM                   OH           90013079059
11264A9934B588   CHARLES        MARSHALL                 OK           21579060993
112663A7972B62   ASIA           MENDOZA                  CO           90010803079
11267AA8572B55   JESUS          GUTIREZ                  CO           90003420085
1126877577B489   JUAN CARLOS    SOTO                     NC           90014137757
1126935895B526   DAVID          ARAGON                   NM           35069103589
1126978247B489   KEVLIN         HAGERTY                  NC           90013047824
11269A81861958   VERONICA       CONTRERAS                CA           46040890818
112721A6A31687   DAVID          ROBB                     KS           90010971060
1127288A176B68   BALTAZAR       LUNA                     CA           90014168801
11272A98A9154B   OSWALDO        HERNANDEZ                TX           90013780980
1127416778B166   RICHARD        VICARDS                  UT           90009481677
11274658A61958   LUIS           QUEZADA                  CA           90013076580
1127585A64B555   BRANDON        CHANEY                   OK           90014668506
1127686AA4B555   DATRESE        LEWIS                    OK           90014668600
11278A6A591263   ROBIN          LEWIS                    GA           90013050605
1127943414B588   SHAMIKA        HENDERSON                OK           90010924341
1127944544B588   TAMARA         JOLLEY                   OK           90012554454
1127BAA6461958   CARLOS         SILVA                    CA           90011460064
1128545859154B   JESSICA        PROVENCIO                TX           90010034585
1128625692B966   MICHAEL        ROMANI                   CA           90011662569
11287A3575B343   CHRISTOPHER    GORDON                   OR           90014150357
11289811472B62   MATTHEW        ROSS                     CO           90013208114
1129328A291899   JASON          VINCENT                  OK           21039222802
11294213872B97   JUANITA        VILLEGAS                 CO           90000622138
1129565A751337   CHARLES        NIEMANN                  OH           90014506507
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1129749154B26B   DUSTIN         BREWER                   NE           90008174915
11299584172B84   LYNNE          PHILLIPS                 CO           33088325841
112B5123354144   ELIENA         RODRIGUEZ                OR           90014281233
112B5384661958   ANGELICA       SANTIAGO                 CA           46008043846
112B596575B154   CARNELL        JOHNSON                  AR           90014949657
112B6655451337   PAMELA         DARDEN                   OH           90013436554
112B7634A2B966   SARAH          ORTIZ                    CA           90004176340
112B766A84B588   TERRY          BEALS                    OK           90013056608
112B8298147956   IVAN           PEREZ                    AR           90011832981
112B8928661976   OSCAR          LEON                     CA           90011229286
112B9347557147   FRANCISCO      OLIVARES                 VA           90002763475
112B964152B966   JOEL           GARCIA REYES             CA           90014696415
1131292455B35B   GREGORY        GIELER                   OR           90010029245
11316978476B68   TRAVIS         HOLMBERG                 CA           90014169784
113172AA161938   EDWARD         WASHINGTON               CA           90011602001
11318385A2B966   ELEA           MIGUEL                   CA           90012573850
1131976134B588   ANASTASIA      ESPINOSA                 OK           90012937613
1131986819154B   KARLA          SALAZAR                  TX           90014178681
1131B91974B555   DENISE         CLIMER                   OK           90011999197
11324792572B62   MONICA         CARRILLO                 CO           90012827925
1132774A79154B   BEATRIZ        HERNANDEZ                TX           90011237407
11332A98957147   JOSE           BELTETON                 VA           81017200989
113345A3892826   DAVID          DAVIS                    AZ           90014435038
113346A975715B   WILLIAM        ROMERO                   VA           90013046097
1133874A79154B   BEATRIZ        HERNANDEZ                TX           90011237407
1133922685B526   LORENA         RAMIREZ                  NM           90010982268
1133BAA9351337   DWAYNE         CUPP                     OH           66049570093
11343555972B55   YAO ARMEL      ONGOUNDJA                CO           90010195559
1134361965715B   ANTULIO        LOPEZ                    VA           81010526196
11346A2695B526   LUIS           VALENZUELA               NM           35050160269
1134756235B37B   TRICIA         SCOTT                    OR           90001725623
11348971972B62   BRENT          MCCONNELL                CO           90012769719
11348A8845B154   CASSANDRA      WADE                     AR           23041080884
1134BA6A25B35B   CHRSTIAN       CAMPOS                   OR           90010030602
113529A789154B   MIGUEL         JAUREGUI                 TX           90008649078
113549A154B26B   JAMIE          PROKOP                   NE           26083819015
113564A6576B68   JACOB          PITTMAN                  CA           90010294065
1135727A272B55   MARISA         MOLINA                   CO           90004332702
11357A78193745   NICOLE         MOWERY                   OH           90011020781
1135874875B343   ELIZABETH      VILLEGAS                 OR           90010227487
1135BA6987B489   MICHAEL        RIFFLE                   NC           90012030698
1136183A25B35B   BETTY          MORRIS                   OR           90005838302
1136234432B966   GARY M         COSTA                    CA           90010663443
113653A324B588   DAVID          RIMER                    OK           90011303032
1137288975B526   MISTY LEE      HARRISON                 NM           90013448897
1137429917B489   LUIS           JUAREZ                   NC           90014192991
1137678247B489   KEVLIN         HAGERTY                  NC           90013047824
1138296599154B   ABRAHAM        FRANCO                   TX           75024619659
1138358342B966   ALEJANDRO      MECIAS                   CA           90013115834
1138433184B54B   IRENE          BLANCO                   OK           90011123318
11386777A5B526   JASON          MILLER                   NM           90010697770
1138759219154B   EVELYN         ALVARADO                 TX           90011455921
11387995172B62   JEREMY         PEOPLES                  CO           90006629951
11393317A9154B   BRENDA         LIAL                     TX           90013353170
11394A1A95715B   JOE            SIMTH                    VA           90013080109
1139687A95715B   BEATRIZ        CONTRERAS                VA           90011908709
113B1243131456   BRIAN          KEYS                     MO           90001452431
113B1469747956   JEREMY         CLAYTON                  AR           90012774697
113B1741347956   JEREMY         CLAYTON                  AR           90008977413
113B371979154B   CYNTHIA        GRANADOS                 TX           90011237197
113B3942691569   ROBERTO        RODRIGUEZ                TX           90011769426
113B4312457147   LUIS           CABRERA                  VA           90013663124
113B47A455715B   BERONICA       PEREZ                    VA           90007467045
113B4AA7624B7B   RODERICK       WALKER                   DC           90006070076
113B5A59A61972   LUIS           PATLAN                   CA           46087820590
113B6A27372B62   RENATA         GALVAN                   CO           90011500273
113B898187B489   BRITTANY       MOSS                     NC           90009409818
113B9955761938   FRANK          MIRAMONTES               CA           90014169557
113BB323157147   NOEL           HERNANDEZ                VA           90012803231
113BB65A261976   BARBARA        HUITRON                  CA           90012026502
113BBA2392B966   MIKE           PEREZ                    CA           90012800239
1141114A55B35B   TELLIS         MCCLYDE                  OR           90010041405
1141239134B588   BRANDE         KISER                    OK           90012963913
114134A884B26B   SHANNON        GARCIA                   NE           26037184088
1141356A261938   JAMES          HENDERSON                CA           90014185602
11414A4678B683   MARGARITO      MENDOZA                  TX           90013940467
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1141724612B966   FELISHA        SANCHEZ                  CA           90007142461
11417664576B68   FLORO          VENTURA                  CA           90013036645
114217A3272435   RAYMOND        ZIER                     PA           51025757032
11425465576B68   FLORENCIA      CRUZ                     CA           90013604655
1142852194B588   JOSHUA         BRIDAL                   OK           90013335219
1142991A44B26B   TIM            TAYLOR                   NE           90013929104
1142B48174B588   VICTORIA       HALL                     OK           90006934817
1142B616276B68   GREGORIO       BOCANEGRA                CA           90014386162
1142B72245715B   LUIS           ARANIBAR                 VA           81076277224
1143213845B526   NANCY          CABRERA                  NM           90000461384
1143243312B966   JOVANNI        CERVANTES                CA           90013894331
114326AA793745   DONIELLE       KIRKLAND                 OH           90015066007
1143657862B966   DAVID          GOMEZ                    CA           90012725786
11436A61557579   ALBINO         GARCIA                   NM           90013940615
114393A265B526   LESLIE         WOOLLARD                 NM           90012473026
1143B28745B343   CLIFTON        ALLEN                    OR           90014302874
1143B352927B36   ROJAS VERTIZ   ZIPF                     KY           90013973529
1143B663A76B68   GIBRAN         LEYVA                    CA           46095126630
1143B677693745   TASHA          CAVANAUGH                OH           90003646776
11441526A72B62   ARAM           PENA-REYES               CO           33096235260
11441761A47956   JESSICA        SMILEY                   AR           24011857610
1144327A57B489   BRANDON        BISSOON                  NC           90012662705
1144441617B489   HEATHER        STEVENS                  NC           11051244161
11445935872B62   SHERRY         SWAIN                    CO           33066609358
1144878A276B68   JOSE           DIAZ                     CA           90003597802
1144B444991532   TOMASA         ALFARO                   TX           90006404449
1144B48A87B489   STEVENSON      CRAWFORD                 NC           90013334808
1144B682561958   JESSE          LARA                     CA           90011256825
1144B72A172B62   AURORA         MORENO                   CO           90007487201
11457792876B68   HECTOR         SANCHEZ                  CA           90006697928
11458A9A18B193   RICK JAMES     RYDALCH                  UT           31008450901
11459597972B62   VANESSA        MARTINEZ                 CO           90010515979
1145B22A891263   NICOLE         CARTER                   GA           90014732208
1145B834561976   SARA           GOMEZ                    CA           90012778345
1145B85332B966   NATHALIE       ALMANZA                  CA           90012978533
114628A6A9377B   FRANCIS        WHITE                    OH           90007678060
11464548176B68   LETICIA        NAVARRO                  CA           46043605481
1146655187B489   CRYSTAL        LEWIS                    NC           90010305518
11467A5674B26B   DAWN           HOING                    NE           90013670567
1146831855B343   ADRIAN         VASQUEZ                  OR           44566723185
1146929975B343   CATHERINE      SHERIDAN                 OR           90011592997
11469A89172B62   IRMA           LEYVA                    CO           90013420891
1146B74548164B   DOUGLAS        PECK                     MO           90012127454
11476372676B68   MATT           FIMBRES                  CA           46091253726
1147B35674B26B   LEONARD        DAVIS                    NE           90009363567
1148129257B489   DAVID          CRAIS                    NC           90012182925
114872A7991263   JAMES          COLLINS                  GA           90014412079
1148784594B555   BRANDON        BAYNE                    OK           90014688459
1149281735715B   FRANK          COVINGTON                VA           90013768173
11492971972B62   BRENT          MCCONNELL                CO           90012769719
1149399545B526   MANUEL         MONTOYA                  NM           90013409954
1149468AA61976   LAURA          LARA                     CA           90012256800
1149492422B966   RACIEL         PARRA                    CA           90011279242
1149697175B154   JONAS          SMITH                    AR           90013949717
11496A6A876B68   RAUL           VASQUEZ                  CA           90014170608
11496A85A91263   ADRAIN         HASSEL                   GA           90012250850
11497891976B68   ROSA           MARIA                    CA           90008998919
1149854355B526   BLANCA         BUGARIN                  NM           90011385435
11499119A4B265   SHARON         BARTZ                    NE           90005071190
1149B44824B548   ROBERT         BEDFORD                  OK           90009994482
1149B46A451337   RAELIN         SMITH                    OH           90011504604
1149B721761976   FRANK          SOSA                     CA           90015157217
1149BAA664B588   TARA           BATTISE                  OK           21557400066
114B339855B35B   MICHAEL        SMITH                    OR           44537863985
114B697289154B   SERGIO         OLIVAS                   TX           75014819728
114B9341A91895   ADAM           PEARSON                  OK           90012193410
114BB352593745   TANYA          ALBRIGHT                 OH           90014713525
114BB726691569   ALAN           REYES                    TX           90012877266
1151414739154B   PABLO          DE LA O                  TX           90013781473
1151431324B588   GREGORY        LEE                      OK           21551433132
1151531324B588   GREGORY        LEE                      OK           21551433132
1151599172B966   YESENIA        GONZALES                 CA           90014819917
11515A69747956   LAURIE         LOLLIS                   AR           24036360697
115198A6431687   DEBRA          CAMPOS                   KS           90012458064
1151B229691895   BENITO         PEREZ                    OK           90013242296
1152143A854B62   DEREK          SHINER                   VA           90001284308
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1152289358B863   BERNADETTE      VEA                      HI           90014178935
11528513972B62   DONNA           SIGOURNEY                CO           90007225139
1152857115715B   PATRICIA        AGUILAR                  VA           90012245711
115287A3761938   MARIA ISABEL    VEGA MARTINEZ            CA           90014187037
1153167555B35B   JASON           APONTE                   OR           44511586755
1153581184B588   PAUL            ELLIS                    OK           90009858118
1153887A272435   KIMBER          LLEFFER                  PA           90008598702
1153B712161976   MIGUEL          NARVAEZ                  CA           46010897121
1154193554B259   ALAS            CARRERO                  NE           90006419355
1154219525B35B   NICOLE          MULHAIR                  OR           90010081952
11542A79A76B68   JESSICA         PANTOJA                  CA           90014170790
1154446A37B489   SHAKITA         BLAKENEY                 NC           90013064603
1154532A631687   TIFFANY         CARTER                   KS           90014033206
115461A2461958   RUTH            AYALA                    CA           90012321024
11551A55676B68   GAMALIEL        OLIVEROS                 CA           90012240556
11553797A76B68   DOMINIQUE       FARD                     CA           46046217970
1155512647B489   AVELINO         LOPEZ                    NC           90013841264
11557AA122B264   ELISE           HILL                     VA           90011570012
1156139A99154B   MARY ANN        FRANCO                   TX           90009523909
1156624A451337   TROY            ELMORE                   OH           90012102404
11566411672B62   JACOB           PHORSON                  CO           90012444116
1156799782B966   GONZALO         CERVERA                  CA           90010779978
1156988869154B   ETI VELE        JR                       TX           90011238886
1156B64A736157   ERNEST          ROBLES                   TX           90014016407
11573212A51337   ALISHA          VASQUES                  OH           90011462120
11573359272B62   MARTIN          MENDEZ                   CO           90013073592
1157359115B154   FRENANDO        GRANADOS                 AR           90012135911
1157515895715B   MAMANI ROSANA   ZULMA                    VA           90013581589
1157551375B35B   LORA            GARRETT                  OR           44573135137
1157785A75715B   ROGER           HERNRIQUEZ               VA           90011138507
1157855A84B588   AMMY            EDDY                     OK           90006745508
11579298476B68   CARINA          BERNARDINO               CA           90006302984
1157B7A7461938   MICHAEL         HARDESTY                 CA           90012957074
1157B85742B966   GABRIELA        TORRES                   CA           90011358574
1158147559154B   YVONNE          PARRA                    TX           90013764755
1158515445B154   TAYLOR          DOLES                    AR           90013951544
11585A49861938   CECILIA         VASQUEZ                  CA           90010230498
11585A95A72B29   BRAULIO         MARIN                    CO           33034840950
1158668794B588   BIANCA          JONES                    OK           21562816879
1158845A743584   LEONEL          VAZQUEZ                  UT           90001644507
1158975367B489   BRIEANNA        STONEBRAKER              NC           90013197536
11589A89961976   ANGEL           CASTRO                   CA           90008720899
115951A4461958   FRANCISCO       VELASQUEZ                CA           90015111044
11595A7355715B   CHRISTIAN       CALDERON                 VA           90011140735
1159621485B35B   AE SAT          DOE                      OR           90011572148
11597A56491263   JESSICA         FULWOOD                  GA           90011340564
1159941514B588   DONOVAN         CHAPMAN                  OK           90013844151
1159972415715B   JUAN            ALVARADO                 VA           90012267241
11599A7355715B   CHRISTIAN       CALDERON                 VA           90011140735
1159B32935B343   AMBROSIA        SILVIS                   OR           90006913293
115B1828357147   KEVIN           GALVEZ                   VA           90011138283
115B2637561958   BENITO          GONZALES                 CA           90014676375
115B2A4867B489   MILLICA         JEFFRIES                 NC           90013520486
115B3A55376B68   MARIA           MUNOZ                    CA           90014170553
115B641154B26B   SHANE           SHAFER                   NE           26048864115
115B678755B154   MARCUS          CHRISTOPHER              AR           90010717875
115B7677161938   HENRIETTA       ROBLEDO                  CA           90014186771
115BB158157147   MARCO TULIO     ALVARENGA                VA           90011341581
116121A5793745   AMANDA          DOTSON                   OH           90012551057
116136A5461958   MAKAYLA         SCOTT                    CA           90012776054
1161491675B343   SARAH           LAKE                     OR           90008449167
1161684175B35B   LOZANO          ZEPEDA                   OR           90003808417
116169A822B966   PAUL            STALLARD                 CA           90014619082
11617A7355715B   CHRISTIAN       CALDERON                 VA           90011140735
1161973124B555   RUFUS           JONES                    OK           90014697312
11621A58993727   MAXIMUS         JONES                    OH           90012210589
11621AAA451337   MICHAEL         BOLSER                   OH           90011310004
116229A1761972   JORGE           ARGIL                    CA           90011419017
116258A6976B68   PABLO           ESPARZA                  CA           90013368069
1162756628B167   JONNY           CHRISTENSEN              UT           31041505662
1162983274B588   APRIL           ATWELL                   OK           90015108327
1162B32887B489   JEREMIAH        TIMS                     NC           90011273288
11635A83376B68   KIMBERLY        SILVA                    CA           90013690833
1163923485B343   BLANCA          PINEDA                   OR           44593502348
1163BA97991569   BEATRIZ         GARCIA                   TX           90002930979
11641353472B62   ANTHONY         VALDEZ                   CO           90013413534
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11641A6169154B   LUIS            ALVAREZ                  TX           90008590616
11643A38A91569   WARREN          VASQUEZ                  TX           90013940380
11643A96691569   WARREN          VASQUEZ                  TX           90004640966
11646781A4B555   AMELIA          GRASS                    OK           90014697810
11646A2872B966   KARISSA         AGUILA                   CA           90014310287
1164B96475B526   IRENE           PADILLA                  NM           90013749647
1165215264B588   LILIAN          CONCEPCION               OK           90012681526
116527A9557147   AQUIB           MUNEER                   VA           90011367095
116528A715715B   ROSALINA        MIRANDA                  VA           90014528071
1165513695B154   YVONNE          ALEXANDER                AR           90014061369
1165563639154B   TANIA           APODACA                  TX           90014696363
11656437A57147   LINETH          TULULA                   VA           90013964370
1165B4A8593745   ASHLEY          PITTMAN                  OH           90011104085
116619A3161976   MICHAEL         LEWIS                    CA           90014179031
11662358872B62   CHRISTINA       PAYAN                    CO           90013743588
1166415A82B966   ASHLEY          GONZALEZ                 CA           90005021508
1166595972B966   TRISTA          WERNER                   CA           90012539597
1166671662B966   GABRIEL         CALDERON                 CA           90013117166
11668348676B68   ELIOT           BRAUN                    CA           90013433486
1166862742B966   MARIA           GONZALES                 CA           90013906274
1167426224B26B   MARCELINO       MUNOZ MARQUEZ            NE           90013332622
1167627755B526   DANIEL          SAUCEDO                  NM           35024772775
1167677857B489   BORJAS          RICCY                    NC           90013197785
1167795169154B   N               CASTANEDA                TX           90011239516
11677A2885B154   FLORINDA        HALL                     AR           90014610288
1167936597B489   YONATAN         MONDRAGON                NC           90013493659
1167984A34B588   XAVIER          JUDY                     OK           90015108403
1168156A591895   ROSA            MANDUJANO                OK           90009145605
11682292A2B966   ESMERALDA       DELAGADO                 CA           90011092920
11684286676B68   JOSE            MARTINEZ                 CA           90003792866
116853AA661958   STEVE           JONES                    CA           90014133006
1168665372B966   JOE             BREWER                   CA           90010816537
11687374A7B489   TUANDRA         GURLEY                   NC           90011273740
116874A6961976   JONATHAN        TOPETE                   CA           90013624069
1168975838B193   DANYEL          SANCHEZ                  UT           31057167583
116899A2A5715B   HALEMA          SESAY                    VA           90000459020
1168B196361958   THERESA         DEVINE                   CA           46002331963
1168B637491263   KENNETH         SCOTT                    GA           90014446374
11693A91561958   ANTHONY         BENJAMIN                 CA           90012060915
1169832895B154   SHAVONDA        TIPPITT                  AR           90002823289
1169929AA91569   ALEJANDRA       SALIDO                   TX           90012802900
116B2657291584   ROSA            DAVILA                   TX           90011306572
116B3A23891895   ALECIA          BAKER                    OK           90012960238
116B455A731687   SHANE           EAST                     KS           90013905507
116B64A3291895   DEANZA          MIMS                     OK           90010694032
116B7887561938   OMAR            CABRERA                  CA           90013058875
116B866A361958   ANA             CHRISTINA                CA           90014526603
116BB4A1531687   VANNESSA        RODARTE                  KS           90001794015
1171467394B555   JAYSON          TUCKER                   OK           90014716739
1171773A55B343   AMANDA          VELASQUEZ                OR           90010527305
1171B876461938   ROSA            FLORES                   CA           90011618764
11721558724B7B   LATIA           JOHNSON                  DC           90013455587
117239A4A61938   RUBEN           CORNEJO                  CA           90013059040
1172512135715B   MUARA           RODRIGUEZ                VA           90001111213
11728AA7691263   JESSE           HAMILTON                 GA           90012880076
1172966695715B   SEBASTIAN       GOMEZ                    VA           90013666669
1172999A172B62   DANA            MULBERRY                 CO           33086269901
1172B249A61938   MICHELLE        GARCIA                   CA           90012892490
117314A299154B   MARCOS          PINEDA                   TX           90013044029
1173399138B193   ALEJANDRO       RAMOS                    UT           90006289913
11737A5515715B   ABAD            FERRUFINO                VA           90010790551
1174122745B526   BARBARA         GONZALEZ                 NM           90009032274
1174439A55715B   JOSE            AMAYA                    VA           90012613905
11744A99672B62   CASEY           MCBURNERY                CO           90012850996
1174875A74B555   JIMMY           BUCKMASTER               OK           90014707507
1174B874261958   BERTHA          RECARD                   CA           46036288742
11752A67961958   EELAN           ENGLISH                  CA           90011260679
1175515417B489   SAMIA           GODETT                   NC           90013841541
1175862947B442   JOSE            CHEQUE                   NC           90006606294
11759116A76B68   LOUIS           POWELL                   CA           90012751160
1175932524B259   ELLIOT          WAGNER                   NE           90005753252
1175B561991569   BRAHIAM         GIRALDOGUTIERREZ         TX           90012755619
117614A1372435   RICHARD         SIMMONS                  PA           90013634013
1176467275B154   ANDREA          PARKER                   AR           90008926727
1176532657B489   EDSON           RODRIGUEZ                NC           90013853265
1176885578B193   AMBER           BURNETT                  UT           31006038557
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11773587A9154B   CELINA         LOZANO                   TX           90012325870
11774A1739154B   ALEJANDRO      GALLARDO                 TX           90011240173
11776346A9154B   ARGENTINA      CARREON                  TX           90013353460
1177734278B194   MONICA         MARTINEZ                 UT           90014393427
1177788789154B   INFANTE        OCTAVIO                  TX           75015368878
1177978584B259   EUSTAQUIO      ZARZA CEJUDO             NE           27089857858
11781A71161972   FERNANDO       BERNACHE                 CA           90012080711
1178262245715B   CHRISTOPHER    ORELLANA                 VA           90013126224
11783512376B68   MICHAEL        SAUMURE                  CA           90012485123
117837A5A4B555   MARIE          CHARLES                  OK           90014717050
1178729865B154   LAURA          BROWN                    AR           90012792986
1178858A54B588   SIDNEY         TAYLOR                   OK           90010155805
1179111175B35B   PETER          BASCUTI                  OR           44590181117
117918A1251337   AARON          MATCHEN                  OH           90014568012
1179593364B555   PHYLLIS        BURK                     OK           90014709336
11796A2864B26B   KIMBERLY       GILDEA                   NE           90014390286
11796A7A176B68   DAVINDER       KUR                      CA           90013790701
1179929547B489   LATEIFA        ANDERSON                 NC           90002692954
1179948655715B   JENIFER        MOLINA                   VA           90013004865
1179B21178B183   STEVEN         DOYLE                    UT           90008522117
117B3644272B62   CARRIE         LEONARD                  CO           90013836442
117B641514B588   DONOVAN        CHAPMAN                  OK           90013844151
117B686AA76B68   JAVIER         PEREZ                    CA           90012148600
117B7732691569   KAREN          ESPINO                   TX           90012877326
117B785535715B   EBENEZER       SMITH                    VA           90013978553
117B81A4376B68   HILARINO       MACIEL                   CA           90014951043
1181157A95715B   HUMBERTO       CAMPOS                   VA           90009175709
1181466A691569   ROCIO          CARMONA                  TX           90011026606
1181525425715B   CHEOU          TIDJANI                  VA           90008702542
11815A79761938   MARC           SANCHEZ                  CA           90012030797
11816345476B68   DANE           DIEMER                   CA           90013103454
1181825264B588   DAVID          JUAREZ                   OK           90011422526
1181B242261938   SOURIYAN       SOUPHAKHET               CA           90014722422
1181B939561938   TYSON          NICHOLS                  CA           90011619395
1182493114B555   SARAH          CHANCE                   OK           90002829311
11826144572B62   JOANNA         PENA                     CO           90008591445
11826AA4161938   ENRIQUE        VELASQUEZ                CA           90012840041
11828442A4B555   SARAH          CHANCE                   OK           90002834420
11828A94261938   CAROLYN        FIELDER                  CA           46054350942
1182B899872453   REGINA         MCCARTY                  PA           90009618998
1183128A793745   LAUREN         SMITH                    OH           90014922807
11833243A2B966   FRANCISCO      AGUILAR                  CA           90007182430
1183646824B555   JESSICA        WILLIAMS-KOWALCIK        OK           90014714682
1183792A24B555   DERRICK        WILLAMS                  OK           90014719202
1183885495715B   MARVIN         SANCHEZ                  VA           90007668549
1183B94565B526   FATIMA         ARENIVAR                 NM           90012149456
1183B992291263   CESAR          LUZ-GARCIA               SC           90012269922
118426A4991569   EDWARD         MARTINEZ                 TX           75080046049
118429A485B154   MITCH          BRYANT                   AR           90012069048
11844949A4B26B   PAYGO          IVR ACTIVATION           NE           90013359490
11847639172B56   ESTEBAN        QUINTANA                 CO           33018836391
1184795A672B62   MARTHA         ROSALES                  CO           33088869506
1184814759154B   LYDIA          GONZALEZ                 TX           75035041475
118483A465B343   SARAH          CARL HANER               OR           90011203046
1184864344B588   RAYLENE        STEVENS                  OK           90010386434
1184B23695B343   MIGUEL         LOPEZ ORTIZ              OR           44519822369
11855857A5B526   DARRELL        JARAMILLO                NM           90014158570
11855952A76B68   MIGUEL         OZORNIO                  CA           90009869520
1185599AA4B26B   DIANA          WORICK                   NE           90013959900
11867684A93745   ASHLEY         CROWELL                  OH           90013136840
118689A6672453   DARNELL        HUDSON                   PA           90005669066
1186B424A4B555   RALPH          STEWART                  OK           90014724240
1186B797157147   MARISOL        MOLINA                   VA           90013567971
1187142754B555   CHRISTOPHER    TIGER                    OK           90014714275
1187293395B35B   GEIDIS         FIGUEREDO                OR           90011079339
1187296845B154   NATHANIEL      MOORE                    AR           90013289684
11873717A5598B   FRANCISCO      ESCOBAR                  CA           90008167170
11874A44961938   FRANCISCA      SIMONI                   CA           46090490449
1187732A672435   LEVI           RICE                     PA           90001613206
1187835A55715B   EVA            RYCHTARIKOVA             VA           90015163505
11879A4894B555   TIMOTHY        WOODS                    OK           90014720489
11885629A91895   JAY            BENSON                   OK           90010646290
11887189876B68   YESENIA        SANCHEZ                  CA           90012131898
1188994A961972   MIKE           FILSON                   CA           90001799409
1189354584B555   ASHLEY         NERO                     OK           90014715458
1189871415B526   GEORGE         CARRILLO                 NM           90010197141
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1189B816A4B555   MARISA          KEYES                    OK           90006548160
118B2A6279154B   KEREM           TERRAZAS                 TX           90011240627
118B3921A61938   GREGORIO        GOMEZ                    CA           90012159210
118B534179154B   BLANCA          MELENDEZ                 TX           90011003417
118B5636661976   AIOTEST1        DONOTTOUCH               CA           90015116366
118B6773A76B68   REYMUNDA        GUTIERREZ                CA           90013447730
118B7636661976   AIOTEST1        DONOTTOUCH               CA           90015116366
118B775515B343   MARIO           SALDAÑA                  OR           44513747551
118B8234733699   JOHNNY          SMITH                    NC           90012382347
118B8799233699   RAQUEL          BOOKER                   NC           90010947992
118BB756661976   ROCIO           ESPINDOLA                CA           90006437566
1191115494B555   EMILY           KRISTINE                 OK           90014721549
119123A4672B33   EDUARDO         DOMINGUEZ                CO           90000663046
11915515A5B343   LORI            MILLE                    OR           90014925150
11916937A33699   GRACE           ANDERSON                 NC           90012069370
1191793585B343   DAVID           CASTRO                   OR           90012639358
11918164A4B555   LATOYA          KING                     OK           90014721640
119182A4357147   CARLOS          CARRANZA                 VA           90013122043
11919164A4B555   LATOYA          KING                     OK           90014721640
11919A9675B526   NICOLAS         MANNING                  NM           90011990967
1191B164A4B555   LATOYA          KING                     OK           90014721640
1191B541661938   NOEMI           MORENO                   CA           90015155416
1191B553676B68   JOSE            MENOZA                   CA           90008965536
1192495277B489   CARLOS          GARCIA ROSADO            NC           90003069527
1192672187B489   JOE             MILLER                   NC           90004147218
1192697A791263   BRAULIO         ALTAMIRA                 SC           90012039707
1192B935561938   SANDRA          VANDIVER                 CA           90012339355
1192BA43761938   RAYMOND         GONZALES                 CA           90012470437
11931515A7B489   CUNG            NAWN                     NC           90011275150
1193355792B966   MARIA           RODRIGUEZ                CA           90011755579
11935328124B7B   CELIA           PEREZ ALVARADO           DC           90012203281
1193748655715B   JENIFER         MOLINA                   VA           90013004865
11941392676B68   JOSE            ALVARADO                 CA           90014183926
119455A132B966   ISMAEL          FIORES                   CA           90010845013
1194847492B966   PAULINE         SPENCER                  CA           90012754749
11951265476B68   LAURA           MENDOZA                  CA           90011432654
1195391667B489   SCOTT           CANNON                   NC           90012769166
1195412A872B33   CRYSTAL         TRUJILLO                 CO           90013211208
1195522583B388   WILLIAM         STEPHENS                 CO           33081372258
1195656244B588   SAMANTHA        COGGINS                  OK           90014865624
11959388176B68   ALDO            CUELLAR                  CA           90010863881
119595A164B555   DWANE           WILLIAMS                 OK           90014725016
1196196A924B7B   FLOR            MENJIVAR-BRUNO           DC           90005149609
11962616524B7B   WAYNE           LANTION                  VA           90001066165
1196411295B343   CESAR           HERNANDEZ                OR           90014251129
1196657A14B555   SAMANTHA        WEST                     OK           90014725701
1196714649154B   VERONICA        MARES                    TX           90011241464
1196794824B26B   ROSETTA         SCHIEL                   NE           26080089482
1196B26A793745   JAMES           BOGGS                    OH           90007352607
1197259A34B555   DESIRE          WHITE                    OK           90014725903
1197358412B966   GUADALUPE       GODINEZ                  CA           90001665841
11974244376B68   ALESCIS         GITIERRET                CA           90012212443
11974A6A891569   PATRICIA        ACOSTA                   TX           90009720608
1197698445B343   IGNACIO         GALLARDO                 OR           90012029844
1197913158B193   ASHLEY          LENABURG                 UT           90010241315
1198184845B154   SHAKENTE        JOHNSON                  AR           90015118484
11984482776B68   CHRISTY         SMITH                    CA           90013194827
1198691A461976   MONICA          BUSTILLOS                CA           90008329104
1199163265B343   ANGELA          OCHOA                    OR           44551336326
11994842A5715B   ALFREDO LEON    MENDEZ                   VA           90010318420
1199671494B555   SAUDIA          GREEN                    OK           90014727149
1199772A22B966   MARIO           ALTO                     CA           90011497202
1199775825B526   AMOS            BEN                      NM           90013377582
1199B35389154B   JENNIFER        MEDINA                   TX           90013353538
119B118434B588   BOBBY           HUNT                     OK           90011411843
119B329185599B   MICHEAL         GARCIA                   CA           90012602918
119B334A95715B   LAUREN          WATTS                    VA           90009843409
119B3861A2B966   JESUS           MENDOZA                  CA           90010808610
119B648AA93745   ZACK            CHAPPIE                  OH           64575914800
119B658258B193   DANIELA         HIDALGO                  UT           90008665825
119B751689154B   RAUL            CORONEL                  TX           90014725168
119B8817572B62   TSEAN           GRAY                     CO           90012588175
11B11594161972   DEBORAH         MARTINEZ                 CA           90011655941
11B1259135B343   CANDIDO         LARA                     OR           90011425913
11B12673891895   PAMELA          BROWN                    OK           90015136738
11B131A8147956   MAEGAN          CLUTE                    AR           90001691081
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11B1411A393745   WHITHNEY            OBRINGER            OH           90002531103
11B16364131687   DAWN                PALMER              KS           90009713641
11B177A142B966   JERRY               PABST               CA           90007427014
11B1819964B588   ALICIA              CARTER              OK           90014421996
11B21252555974   PHILLIP             EDWARDS             CA           49077712525
11B2144A45B526   NICHOLAS            OLEARY              NM           90012904404
11B23374372B3B   STOHL               MICHAEL             CO           90011373743
11B236A7961958   SHARITA             SMITH               CA           46077636079
11B24397A97B23   THOMAS              CASE                CO           90012663970
11B2484A361972   STEVEN              SOUSER              CA           90008668403
11B262AA54B588   MARIA JUANA         VELARDE             OK           90010422005
11B2639A67B489   RUTHIE              CAMPBELL            NC           11025383906
11B2649475B387   TOBIAS              BROWN               OR           90012474947
11B2788289154B   ERNESTO             GONZALEZ            TX           75043148828
11B31155961976   JESUS               SEGUNDO             CA           90013111559
11B36689191586   ROBERT              BARRIGHER           TX           90010876891
11B38257591895   VERA                LECLAIR             OK           90013072575
11B3863122B966   GUILLERMO           VARGAS              CA           90012986312
11B39495633699   RAMON               MORRIS              NC           90009314956
11B397AAA72B62   KT                  SPECIALIST          CO           90010407000
11B4397174B26B   DELMER              DORMER              NE           90011049717
11B4916AA5B343   MARIA DEL SOCORRO   GOMEZ NAVA          OR           90010801600
11B4B118233699   JANAE               INGRAM              NC           90010851182
11B4B84777B489   ALFONSO             MOYA                NC           90011268477
11B517A5A57147   MANUEL              VAZQUEZ             VA           90013297050
11B52623133699   WILLIAM             GADDY               NC           90008506231
11B5331264B555   WENDI               ROOKS               OK           21549443126
11B541A345B154   KENNETH             LEWIS               AR           90004221034
11B55A8835B154   PETER               GARVEY              AR           90013940883
11B57411772453   DONNA               GREENE              PA           90014654117
11B58A3598B193   DAVID               NECHAM              UT           90005040359
11B5929729154B   JOSE                MACIAS              TX           90012762972
11B59A95672B62   JESUS               SOLIS               CO           90003190956
11B5B47267B489   CORDERRA            JOHNSON             NC           90014714726
11B6131A461958   NAIDA               GASTELUM            CA           46007933104
11B63A29561938   HUMBERTO            GRIJALVA            CA           90013050295
11B65779861976   DORA CAROLINA       AU GALLEGOS         CA           90012227798
11B6655A961972   MARIA               SAUCEDO             CA           90012295509
11B68A4659154B   DIANA               MUNOZ               TX           90014870465
11B69427976B68   ABDIEL              LOPEZ               CA           90008874279
11B6B32344B26B   ELYSE               HOYT                NE           90012573234
11B7131832B966   LLUVIA              BAROCIO             CA           90011413183
11B7212844B588   REBECCA             CARTER              OK           90006371284
11B72255461958   DEANNA              STRICKELL           CA           90005122554
11B7233AA61976   KIRSTEN             WABSIS              CA           90012353300
11B72574731687   TYLER               COOPER              KS           90012035747
11B7848832B966   CASS                MONAY               CA           90010864883
11B7849184B555   TRINH               DYE                 OK           90014654918
11B7992715B154   SHERRY              ALEXANDER           AR           90008759271
11B82723361972   SANTIAGO            OSUNA               CA           90014397233
11B85387972453   ALICIA              EDWARDS             PA           90014343879
11B85611351337   CHRISTOPHER         PADGETT             OH           90014986113
11B85A3AA51337   MARK                PETREY              OH           90000260300
11B8649A861976   CELIA               FAUSTO              CA           90013284908
11B8962195B389   WILLIAM             PACKARD             OR           90007926219
11B89A3AA51337   MARK                PETREY              OH           90000260300
11B89AA342B966   GEORGE              MARTINS             CA           90006880034
11B8B15A761972   MIRNA               VALDIVIA            CA           90012621507
11B91456A61958   LUWANA              MESA                CA           90014884560
11B91874951337   SAKINAH             WILLIAMS            OH           90010258749
11B92A4792B966   JOSE                RAMIREZ             CA           90013840479
11B94411772453   DONNA               GREENE              PA           90014654117
11B9568355B526   JOSE                RAEL                NM           90013026835
11B96641A91263   PATRICIA A          JOHNSON             GA           90014246410
11B9761824B555   MARILYN             MOUSER              OK           90002746182
11B98816A91569   IRVING              LOYA                TX           75077198160
11B98839A61938   IRENE               ALVAREZ             CA           90011598390
11B993A7972B62   ASIA                MENDOZA             CO           90010803079
11B9B573191569   RAUL                HERNANDEZ           TX           75040425731
11BB1536177539   JEANETTE            BRADFORD            NV           43063185361
11BB2182933699   TIMOTHY             MANNING             NC           90011101829
11BB3579161958   JULIO               LUCIANO             CA           90012885791
11BB4957461958   JOSE                PEREZ               CA           90013629574
11BB9558976B68   MARGARITA           MENDIOLA            CA           90015185589
11BB9691961958   JAVIER              QUINONES            CA           90009776919
11BB9755351337   ALEXIS              CALDWELL            OH           90012397553
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11BBB9A789154B   PHILLIP         GONZALEZ                TX           90014959078
11BBBA4385B154   MUVEEMP         MELISSA BURAGE          AR           90003950438
121136A4272B62   LAMAR           THOMPSON                CO           90000176042
12122AAA755976   JEREL           MITCHEM                 CA           90013910007
121239A3261976   NISE            BAHENA                  CA           90012939032
12125A86A4B588   CLIFFORD        ROGERS                  OK           90013060860
12129A46747956   MARTHA          VAQUEZ                  AR           90011880467
1212BA6A95715B   MICHAEL         ERMEL                   VA           90010420609
12134A7124B588   GENEISKA        BUTLER                  OK           90013270712
121352A7372B62   ALYSSA          SANCHEZ                 CO           33053692073
12138A72291895   FAITH           QUALLS                  OK           90011290722
12141399A61976   REYNA MARIBEL   HERNANDEZ               CA           90010863990
12141735A93745   KAYLA           RICK                    OH           90009847350
1214189624B588   CELIA           LOPEZ                   OK           90012488962
121419A6676B68   JASMINE         CABRERA                 CA           90013019066
121473A645715B   KELLY           ESCOVAR                 VA           90010983064
1214B165961976   JULIO           MAGANA                  CA           90013451659
12151A82793745   ARTIS           LOVE                    OH           90010940827
12152388272B55   ZALMA           DIAZ                    CO           90003443882
12153388272B55   ZALMA           DIAZ                    CO           90003443882
12154A63161972   MIGUEL          DE LEON                 CA           90008660631
1215729A576B68   JULIE           JOHNSON                 CA           90011212905
121592AA55B526   DANIELA         SILVA                   NM           90010452005
1215B35297B489   ALBERT          MOSELY                  NC           90014893529
1215B85727B489   ALBERT          MOSELY                  NC           90014018572
12162935A55948   JOSE            MACIEL                  CA           90012859350
12165367876B68   ANDRES          GALLEGOS                CA           90012853678
1216813139154B   AMBER           ORTIZ                   TX           90009811313
1216B597857147   ALEXIS          SANTOS                  VA           90010785978
121745A9757B59   ELIHZABETH      CASTELLANOS             PA           90013955097
1217751A557147   YOVANI          ARDON                   VA           90008125105
1217B363347956   MARLENE         CABRERA                 AR           90011113633
1217B97474B922   CHYSTAL         HORN                    TX           90011089747
1218294A65715B   QUASSIN         KAVIL                   VA           90009009406
12182A7469154B   ANGEL           HINOJOS                 TX           90011030746
121851A2561972   ASCENCIO        PADILLA                 CA           90007561025
12185813A5715B   JOSE            LOPEZ                   VA           90011868130
121858A6176B68   SANTIAGO        VEGA                    CA           90014608061
12189181172B62   EVA D.          GEMME                   CO           33050501811
1218B48954B23B   SHAUNESSY       HENDERSON               NE           90008174895
1218B491272B62   MARCELA         SAUCEDO                 CO           90013894912
1218B923757B59   CANDIDO         PACHECO-PEREZ           PA           90013939237
1219738825715B   CORATON         TESALUNA                VA           90010403882
1219B735791263   GARY            FLOYD                   GA           90009057357
121B738494B588   CARLIS          SCRUGGS                 OK           90005513849
121B7614A5B154   DENNIS          ADAMS                   AR           90007946140
122122A657B47B   DEMARIO         HUNTLEY                 NC           90014702065
122139A1661972   CRISTIAN        RUIZ                    CA           90010279016
12213A55291569   OSCAR           ORTIZ                   TX           90014510552
12215847A72B34   TERESA          JAVADI                  CO           90012468470
12215A76331687   RAQUEL          MARTINEZ                KS           90013230763
122161A149154B   JESUS           MCDOWELL                TX           90011031014
1221625425B385   JORGE           CALZADA-MARTINEZ        OR           44014662542
1223111539154B   NORMA           DE LOERA                TX           90012471153
1223154879154B   CASSANDRA       GUTIERREZ               TX           90014705487
12231728A91569   DAVID           REYES                   TX           75090917280
12233258A57147   NORMA           BONILLA                 VA           90004722580
122389A2391263   AYESHA          DANIELS                 GA           90000609023
1223911449154B   GILBERT URIAN   ARELLANO                TX           90011971144
1223949A657147   SYLVIA          QUINTANILLA             VA           90010134906
1223B711372B62   RACHEL          TRUJILLO                CO           33061907113
1224613354B588   DAVID           WILLIAMS                OK           90011371335
12247A46333699   CHRISTOPHER     EVERETT                 NC           90013130463
1224B671461938   HAZEL           MUSES                   CA           90014046714
1224BA11191263   ALTHEA          BROWN                   GA           90013750111
1224BA9695B522   ELOY            BAEZA                   NM           90009150969
122519A444B26B   ARTURO          DELACERDA               NE           90012109044
12253A69561938   MANUEL          GARCIA                  CA           90010230695
12256513772B62   TIARE           CANON                   CO           33043645137
1225882315715B   GARY            HAMMOND                 VA           90011508231
1225961429154B   IRENE           GOMEZ                   TX           90014576142
122666A2A7B489   MICHAEL         TAPIA                   NC           90013176020
1226759A64B922   CAMAY           MAGGINNIS               TX           76518395906
12271A47951337   TERRANCE        HALL                    OH           66027800479
1227443199154B   KRIS            REYNOSO                 TX           90013954319
1227517125715B   NICOLE          ANDREWS                 VA           90000541712
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1227B836447956   JASON             WORKMAN                AR           90014358364
12282A25841384   BRIAN             STANARD                MA           90014030258
12283A48991547   IVONNE            LUCERO                 TX           90008700489
1228425444B922   MELISSA           HEARTFEILD             TX           90011032544
122844A295B526   MARTIN            BAUTISTA               NM           90012434029
1228497877B489   MONTANA           SMITH                  NC           90013299787
1228B5A4561972   ERIC              BERNARD                CA           46017605045
122917A4A4B588   CATRINA           JACKSON                OK           90008327040
1229251A476B68   MARIA             ROBLES                 CA           90010205104
1229264722B239   ELIZAH            HUNTER                 DC           90004316472
12294649672B55   DAN               MYRICK                 CO           90003446496
12299632A5715B   ELMER             OROZCO                 VA           90007126320
122B2971261938   DURAJELL          OMEGA                  CA           90014139712
122B351A557147   YOVANI            ARDON                  VA           90008125105
122B627974B588   TONYA             LONGO                  OK           90011002797
122B78A4476B68   JOSEMANUEL        ABARCA                 CA           90010088044
122B8627961958   MIGUEL            GOMEZ                  CA           46047496279
122B938164B26B   ADRIA             SHELDON                NE           26065573816
122B9697361972   NATALIA           HERNANDEZ ROMERO       CA           90011506973
1231142934B23B   MARY              ETA                    NE           90006774293
1231269217B489   JAMES             MARTINEZ               NC           90014866921
12319A9A35B526   FRANCES           SISNEROS               NM           90008210903
1232418714B588   DARIN             MACK                   OK           90013871871
1232477697B489   DONNA             COLE                   NC           90008807769
12324AA2572B55   BRAD              SWANCOAT               CO           90003450025
1232655689154B   SILVIA            AGUIRRE                TX           90010805568
123278A4476B68   JOSEMANUEL        ABARCA                 CA           90010088044
12329356A91263   PEDRO             VIEZCA TOMAZIN         GA           90012933560
1233158755B526   PEDRO             COMPEAN                NM           90014175875
12332551676B68   LISETT            LUIS                   CA           90013235516
1233397935715B   MIRNA             MANSILLA               VA           90008639793
1233458A691569   CLAUDIA           RAMIREZ                TX           90001815806
12338135372B62   JUSTIN            KOSHAK                 CO           90014741353
12338542A72B62   DANIEL            DELONEY                CO           90012775420
123392A2A76B68   ELIZABETH         GARCIA                 CA           90003362020
12339A33751337   DALONDA           HOLLOWAY               OH           90011030337
1233B143372B62   LEOPOLDO          ELOY PADILLA           CO           90009391433
1233B434961958   JAVIER            BAUTISTA               CA           90011064349
1234627A161976   LUCIO             MARTINEZ               CA           90012292701
12349A9835715B   SANTOS EVARISTO   LOPEZ ANDINO           VA           90010150983
1234B97474B922   CHYSTAL           HORN                   TX           90011089747
12352AA1A61958   WILLIS            TAYLOR                 CA           90012350010
12356132172B62   CHAKA             WATKINS                CO           90010711321
12356748876B68   JOSE              TORRES                 CA           90005827488
12357325A91573   BETTY             LOZANO                 TX           90009533250
12357A4A272B62   JESSIE            MC KAY DUNN            CO           90003640402
1235B55697B489   BRANDI            JOHNSON                NC           90015045569
1236289585715B   ERLIN             NUNEZ                  VA           90002448958
1236383719154B   LAQUITA           MCGREW                 TX           90014158371
12364A35A91263   VERNON            WASHINGTON             GA           90013960350
1236822A177539   FRANCISCO         CARDENAS-CRUZ          NV           90005892201
12374464176B68   MELITON           ALVA                   CA           90013604641
1237587319154B   LILIA             ALARCON                TX           90004168731
1237615769154B   NIDIA             CHAVEZ                 TX           90011031576
1237B942991895   RAUL              CHAVEZ                 OK           90004489429
12381A3179154B   RAUL              GARCIA                 TX           90013220317
12386685876B68   DANIEL            RODRIGUEZ              CA           90013116858
1238861925B385   SAMANTHA          STAINBROOK             OR           90002786192
1238B813247846   SHAKENDRA         PAULDING               GA           90013118132
1239142494B588   HEATHER           BATES                  OK           90012934249
1239311334B922   STORMY            STANLEY                TX           90011131133
1239347A472B62   WATERBURY         DONALD                 CO           90004884704
1239448499154B   MARIA             DAVILA                 TX           90013954849
123959A4333699   JEREMY            KNIGHT                 NC           90013959043
12396A96357147   EDWIN             DE LEON                VA           81027820963
1239887195B526   MELODY            JONES                  NM           35057128719
123B5769291263   BARBARA           STEPHENS               GA           90014647692
123B5952257147   MITRA             KAKROUDI               VA           90008309522
123B61A935B285   ANGEL             RODRIGUEZ              KY           90010571093
12414979A9154B   VICTOR            LOYA                   TX           75066129790
1241B567A55948   LUIS              YEPEZ                  CA           49005245670
1241B92224B588   SANDRA            NIBS                   OK           90012659222
1242656575715B   WINDSOR           ESCALERA               VA           81013915657
12427338272B62   SALENA            SMITH                  CO           90003843382
12428718A93732   TIM               ADAMSON                OH           90010017180
1242B737661938   FERNANDO          CIGALA                 CA           90011417376
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1242B7A5861976   NAYELI          MEDINA                   CA           90014407058
124322AA272B62   LUIS            LOPEZ                    CO           90014232002
12433A2A34B588   CHRISTOPHER     WELCH                    OK           90013070203
1243566964B26B   YALANDA         WALKER                   NE           26097456696
12435A25747956   KENNETH         MULLINAX                 AR           90014260257
1243926737B489   JESENIA         WHITE                    NC           90011072673
1243BA6A691895   KRISTEN         LACEY                    OK           90011300606
12444326224B7B   SAMEAUL         SMITH                    DC           90010643262
1244818779154B   CASANDRA        ESQUEDA                  TX           90011031877
1244B474957124   MARIA           FIGARO                   VA           90009854749
1245445719154B   SANDRA          NAVA                     TX           75081394571
1245615464B26B   JOESPH          COPELAND                 NE           26007221546
12459587A61938   JESSICA         KALBAUGH                 CA           46062745870
12459A8894B588   FRANCISCO       VILLEGAS                 OK           90011970889
1246619A49154B   CLAUDIA         HERNANDEZ                TX           90011031904
1247341A591895   DUSTIN KARL     STEPHENS                 OK           90014944105
124787A255B526   LINDA           ARMIJO                   NM           90013387025
124793A5961972   ARIANA          PEREZ                    CA           90013823059
1247B335433699   TRACY           SCOGGINS                 NC           90011023354
124819A9271923   MICHAEL         CLOSE                    CO           90008609092
12482384A47956   KATHY           BILLY                    AR           90011153840
1248243814B588   CARL            WELLS                    OK           90014524381
1248258934B588   ROBERT          LOCKMILLER               OK           90012245893
1248312135715B   MUARA           RODRIGUEZ                VA           90001111213
124831A7261938   CARMEN          PARTIDA                  CA           90014981072
12483224172B62   MARIA           C GRIJALVA VARGAS        CO           90013842241
1248475716612B   JENNY           ESPERICUETA              CA           90014797571
12485A4A333699   CANDACE         FAULKNER                 NC           90015030403
1248819414B588   KATHRYN         BLOODWORTH               OK           90001111941
1248B251A61972   DULCE           TORRES                   CA           90012782510
1248B353331687   COURTNEY        BUCHANAN                 KS           22067113533
1248B532233699   TAKOJAH         MAJORE                   NC           90012415322
12491558A61972   DOUGLAS         HARRIS                   CA           90006405580
1249267A772B62   FIDEL           ARAUJO                   CO           90010916707
1249299655B526   ALPHONSO        MARTIN                   NM           90012299965
12496519897B3B   KORIN           MASHEK                   CO           90011445198
12496725A5B526   ISAAC           CISNEROS                 NM           90007217250
124988A7976B68   MARTIN          HOWARD                   CA           90013538079
1249B289231635   OMAR            PEREZ                    KS           22056682892
124B1281855948   SHAYLEEN        BRAND                    CA           49006202818
124B1382276B68   PATRICIA        ACHERLEY                 CA           90012743822
124B1766361938   MARIA           MEDINA                   CA           90013057663
124B484314B588   SARAH           DIAZ                     OK           90011148431
124B5283731687   JARVIS          KIRK                     KS           90014702837
1251331154B922   SHANNON         LEVI                     TX           90009623115
1251353A276B68   VINH            HUYNH                    CA           90010335302
12514A3855B282   NAKEISHA        JACKSON                  KY           90008960385
1251531375B526   ADRIANA         GARCIA                   NM           90008053137
1251763A777574   TAMMARA         BOARDMAN                 NH           90007606307
1251796144B23B   MONTINIQUE      DAVIS                    NE           27024539614
1251955817B489   CHARLES         CLARK                    NC           90015045581
1251B21579154B   SAM             MARTINEZ                 TX           90011032157
12522A37261972   ANTHONY         BOWDEN                   CA           90013840372
12523755272B62   MARY            ROBERTS                  CO           33077857552
1252544A855968   YOLANDA         SEGURA                   CA           90007864408
12532827876B68   MANUEL          DE LA CRUZ PASTOR        CA           90011248278
12539434A4B588   JANIN           PETERSON                 OK           90009584340
12539A49A9154B   OSCAR           TORRES                   TX           90013220490
1253B972447956   VANESEA         MALONE                   AR           90003679724
12544414A9154B   ELOISA          CARBAJAL                 TX           90010574140
1255215A776B68   GIANNA          GIANCOLA                 CA           90012781507
1255623757B43B   PIA             BLACKMON                 NC           90010862375
1255649929154B   EDUARDO         RIVERA                   TX           90013954992
1255945374B26B   ANTONIO         BUCKNER                  NE           90011034537
1255B269147956   TAMERAH         REEDERS                  AR           90009762691
1255B378191549   VALERIA         ANCHONDO                 TX           90010483781
12565937176B68   CHRISS          LOPEZ                    CA           46016019371
12565978472B62   JOSE            MARTINEZ                 CO           90015199784
1256847879154B   MELLLISA        MENDOZA                  TX           90011374787
125685AA69154B   SUSANA          GARCIA                   TX           90013955006
1256978A977539   KAYSI           GREENE                   NV           90001577809
1256B49989154B   MARIA           ALVIDREZ                 TX           90013954998
1257242A857147   MIKE            VIRGINA                  VA           90014174208
1257421177B373   CHRISTINA       SHANLEY                  VA           90010312117
12577A2A561976   ROXANA          MONTES                   CA           90001390205
1257B697A93745   JAMES           KNIPP                    OH           64574286970
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1257B851872B62   BLANCA         TENORIO                  CO           33067078518
1258241759154B   PRISCILLA      ESCOBAR                  TX           90009984175
1258335A37B489   ASHLYN         BERRY                    NC           90011073503
12583A39872B62   ANJELICA       JUAREZ                   CO           90014850398
1258427955715B   DUBLAS         CENTES                   VA           90009612795
1258687569154B   LISA           CABALLERO                TX           75011618756
12588211497B39   ALEX           PINEDA                   CO           90011962114
12596411874B82   LISA           WALKER                   OH           90014604118
12599533172B62   BRENT          BISE                     CO           90012945331
125B1866676B68   MARGARITA      GUZMAN                   CA           90008748666
125B2761461972   MARIO          NAVARRO                  CA           90012477614
125B5128861972   JESSICA        BARREIRO                 CA           90014881288
125B526864B26B   DENNIS         ZAGER                    NE           90013002686
125B9412772B62   NATHAN         ELLIS                    CO           33020554127
125BB398576B68   HUGO           CARILLO                  CA           90009943985
1261131849154B   VERONICA       HERNANDEZ                TX           90004953184
12612513372B62   FRANSISCO      GUERRERO                 CO           90014715133
1261312A657147   JOSE           RUBIO                    VA           90013831206
12617245A55948   ERICKA         DUARTE                   CA           90011862450
1261BA38872453   KIMBERLY       CROUSE                   PA           51067510388
126214A7755976   STEPHANI       BOHANNA                  CA           90015014077
12622A6284B922   DANDREUSS      BROOKS-GENTRY            TX           90011740628
126235A349154B   CARLOS         PUGA                     TX           90013955034
12623A21A4B588   REGINA         BEDELL                   OK           90013070210
1262452825B526   JESSICA        DURAN                    NM           90013865282
1262B27A891263   MICHELLE       MENDOZA                  GA           90010772708
1262B284755976   CHARLIE        PALACIOS                 CA           90013372847
1262B362493745   THOMAS         GIBBONS                  OH           90012883624
1263641574B588   JESSICA        STATTON                  OK           90010794157
1263655A391263   DAYVON         ENGLISH                  GA           90006695503
126376AA761938   SEAN           JONES                    CA           90013286007
1263B321A93745   DESBELE        TEFERI                   OH           90012723210
1263B787172B62   LEE            ABEYTA                   CO           90015147871
1264355AA21B78   CORDELL        PEREZ                    TX           90014365500
12645684A61972   ERIC           MORANDARTE               CA           90013106840
12646A3227B489   SHANNEN J      VOGEL                    NC           90014900322
12647A1959154B   CASANDRA       SANCHEZ                  NM           75087390195
1265313A431687   DEVIN          YOUNG                    KS           90005381304
1265512A655976   CESAR          MENDOZA                  CA           90012161206
12666A36157147   KYLE           TKACIK                   VA           90013310361
12669849272B55   EDITH          ROMERO                   CO           33049728492
12671987476B68   MONICA         AVILA                    CA           90014109874
126735A4961972   JOSEFINO       SALIBA                   CA           90014745049
1267381614B26B   RICHARD        PERGANDE                 NE           90014308161
126752A4276B68   LIZETTE        LUCERO                   CA           90011262042
1267566A861976   CLAUDIA        MONTES                   CA           90011366608
12679985527B88   LATISHA        MAXIE                    KY           90014669855
12681176A4B922   ANDREA         WATES                    TX           90007241760
126833AA161972   GONZALES       SALGADO                  CA           90014133001
1268698219373B   GLORIA         NICHOLS                  OH           90007129821
12691443A7B489   DEANDRE        JENNINGS                 NC           90011074430
126953A2961972   ARACELI        JIMENEZ                  CA           90014133029
1269647212B926   NANCY          PEREZ                    CA           90011564721
126978A2291254   JEWERL         MABERY                   SC           90000958022
1269934A972B62   LUPE           RODRIGUEZ                CO           90013823409
126996A7A4B26B   MORGAN         REED                     NE           26066136070
126B2683155976   SUSIE          MAYO                     CA           90008306831
126B479749154B   ROSALVE        JAURIETTA                TX           90011207974
126B68A655B526   DOUGLAS        EISELE                   NM           90013198065
126B7549391925   MARCEL         WEBSTER                  NC           17062975493
1271199422B263   SHAWNEKEQUE    HUGGANS                  DC           90013849942
127145A3176B68   BRENDA         TOVAR                    CA           90014735031
1271663A55B526   JOSE           CHACON-PORTILLO          NM           90009796305
1271B526255976   MONIQUE        GLAZE                    CA           49005795262
127239A8272B62   ROBERT         BARRERA                  CO           90006649082
12725AA472B966   SANDRA         LARIOS                   CA           90010080047
1273682634B26B   JASMINE        BRITO                    NE           90012358263
1273795425B526   MONICA         ALANIS                   NM           35095429542
1273B122A5715B   JAMES          MOON                     VA           90004521220
127439A9261958   BEATRIZ        GARCIA                   CA           90012749092
12743AA6861444   KENISHA        HENDERSON                OH           90010890068
12756721372B62   VICTORIA       GONZALES                 CO           33092817213
12759631A33699   JAMES          MOORE                    NC           90014306310
1275B36A476B68   JULIO          VENEGAS                  CA           46027013604
1276364425B526   AMANDA         QUINTANA                 NM           90011626442
1276812498B165   ELLEN          WATTS                    UT           90007061249
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12768332A7B489   SABRINA            NEWBERRY             NC           90003333320
1276862849154B   MARITZA            SERRANO              TX           90012416284
1276B13A151337   DOMINIQUE          MILLER               OH           90013291301
1277228749154B   JOE                ENRIQUEZ             TX           90014762874
12772971527B88   EBONY              LYLE                 KY           90012759715
12778822372B62   BRANDON            HEGLAND              CO           90009348223
1277917134B588   ARACELY            PAXTOR               OK           90013491713
12779A7549154B   JAIME              MARQUEZ              TX           90013380754
1277B38A891895   MARCUS             GIRTY                OK           90014653808
1278351549154B   AURELIO            IBARRA               TX           75066045154
1278641349154B   JOSE               RAMIREZ              TX           90013654134
1279747A633699   VICTORIA           CARRILLO             NC           90007904706
1279841454B588   SHANNON            HOPPER               OK           90013694145
1279B6AA855948   ALEJANDRO          MENDEZ               CA           49055666008
1279B8A1A4B588   JULIANA            BINGHAM              OK           90005128010
127B196814B588   CHRISTOPHER        TOLLE                OK           90012239681
127B2483847956   LOGAN              MOORE                AR           90011194838
127B3711361938   ANTHONY            COLON                CA           90012167113
127B51A1261938   ISABEL             LIZARRAGA            CA           46021191012
127B5745361972   ANGELA             CARRILLO-ACOSTA      CA           90011527453
127B62A1361938   KNIAJA             POSEY                CA           90014212013
127B729989154B   SEBASTIAN          PARRA                TX           90014202998
127B93A9276B68   JOSEPH             ROGERS               CA           90012893092
128123A2691569   JOSE               MONAREZ              TX           90007163026
1281557439154B   DAVID              RODRIGUEZ            TX           90013955743
12824417572B62   JORDIN             MOTA                 CO           90013664175
12836A2239154B   JAVIER ALEJANDRO   TORRES               TX           90012480223
1284116424B23B   BRANDY             KERMOADE             IA           90010191642
128421A789154B   MARCOS             CASTILLO             TX           90007021078
12842A54A93745   KAYLA              CALVERT              OH           90015190540
128457A559154B   CARLOS D           RAMIREZ              TX           90013957055
1284912375B526   DAIVD              MIERA                NM           90000361237
12849164976B68   BERNIE             DALIT                CA           90012781649
1284984644B26B   S                  WILLIAMS             NE           90015138464
1285236569196B   MARGARET           MASAI                NC           90010403656
1285236A357147   EMILY              FLORES               VA           90014773603
12852A74197122   ROBERT             WILLAIMS             OR           90005860741
12852A78561972   DANNY              CHRISTENSEN          CA           90010930785
128534A8491263   EDNA               DAVIS                GA           90013164084
1285359A524B7B   REGINA             HUNTER               DC           90010805905
1285439884B588   KACY               BARR                 OK           90013393988
12854A8944B588   TYRONE             WILLIAMS             OK           90010830894
1285539194B588   MELISSA            MORRISON             OK           90010963919
128561A2661972   FERNANDO           RASCON               CA           90014921026
1286171A661958   MARCUS             FOREMAN              CA           90014407106
1286297345B526   CLARE              JACOBS               NM           90012319734
1286451A99154B   LIZBETH            GRACIA               TX           90011375109
1286553A857147   DOUGLAS            HYDS                 VA           90011585308
12869A26257147   WILLAIM            GRESHAM              VA           90012880262
1286BA95576B68   MACEDONIA          FLORES               CA           90014110955
1287B477857147   JOHN               SOTO                 VA           90014794778
1287B757A4B26B   TIMOTHY            GILBERT              NE           90013427570
1287B877257147   LUIS               GOMEZ                VA           90012878772
12882239876B68   KATHERINE          LOPEZ                CA           90012282398
12886A1334B588   AALIYAH            LEWIS                OK           90013110133
1288785A35715B   CHRIS              MOSSMAN              VA           90011328503
128887A2976B68   JUANA              SANCHEZ              CA           90013117029
128935A4661976   CLARISSA           LUNA                 CA           90003875046
12896295A24B7B   ANTOINE            PARKER               DC           90010882950
1289646935B526   JENNIFER           WALTERS              NM           90011124693
12897A65961958   FAVIOLA            BRAVO                CA           90013690659
128B2537A91569   KATRINA            SANDOVAL             TX           90012885370
128B4638276B68   YESENIA            TORREZ               CA           46047896382
128B6961947956   BECCA              SANCHEZ              AR           90006079619
128B8227193767   DEWBERRY           ESHELLE              OH           90004362271
128B978895B526   ANALICIA           ALDERETE             NM           90008577889
12913388A57147   CONSUELO           PACHECO              DC           90007603880
1291619A861938   PEDRO              HERNANDEZ            CA           46057371908
1291731229154B   JUAN               ESCOBEDO             TX           90010283122
1292165A84B588   KEVIN              JOHNSTON             OK           90014106508
12923764A91263   RONNIE             ROBINSON             GA           90013347640
1292528577B489   RAVEN              GOLDWIRE             NC           90014222857
129252A5361976   RENZZO             RAMIREZ              CA           90010282053
12925A91393745   ALYSHA             COX                  OH           90010640913
1292729AA61985   BOBBIE MARIE       HIPPERT              CA           90009412900
1292983875715B   JENNY              DELCID               VA           90000858387
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1292B14A461958   CHRISTINA      MONTOYA                  CA           90014331404
12931535976B68   ANGIE          HERNANDEZ                CA           90011845359
1293185154B26B   TROY           WILHITE                  NE           90012398515
129353A964B588   APRIL          HERRIN                   OK           90010253096
12935A63A91263   JASMINN        HUNT                     GA           90009280630
1293652964B53B   JESSICA        WARREN                   OK           90013595296
129369AA347956   DENISE         MYERS                    AR           24098209003
1293854879154B   CASSANDRA      GUTIERREZ                TX           90014705487
1293869A761976   BROWNING       JAY                      CA           90014846907
12938A69261938   JUAN           RODRIGUEZ                CA           90008210692
1294359369154B   ILSE MARIEL    LOPEZ                    TX           90013955936
129481A724B26B   ASHLEY         HOFMANN                  NE           90006241072
12951A75991895   RICARDO        PAYTON                   OK           90013710759
1295371AA47956   HEATHER        MCCOWAN                  AR           90013227100
129547AA63365B   JONAH          POTTS                    NC           90007827006
12956442A55976   VICKIE         MARTINEZ                 CA           90012884420
1295775AA55976   JOSE           MARCIAL                  CA           90000277500
12963914172B62   MIKE           VESSAR                   CO           90013159141
12964A59833699   EVERSLY        JOHNSON                  NC           90013280598
12966191572B62   MOHAMED        MEDIANI                  CO           90010711915
12966251876B68   HARRY          WILLIAMS                 CA           90013032518
1296692AA61972   FABIAN         DIAZ                     CA           90009609200
12966A12951337   ERIC           MADDEN                   OH           90009510129
1296B633A9154B   HECTOR         ALVARADO                 TX           90013366330
1297435365B526   HECTOR         VILLA                    NM           90007543536
12974633A9154B   HECTOR         ALVARADO                 TX           90013366330
1297841844B26B   SHREE          PUGALIA                  NE           90012424184
1297B37217B489   ELWOOD         COLLINS                  NC           90014693721
1298119A861938   JESUS          CASTRO                   CA           46022181908
12982759A47956   AMBER          PRICE                    AR           90014597590
1298389A94B23B   MICHEAL        CHANTRY                  NE           90003928909
1298732A19154B   SARAH          HERNANDEZ                TX           90011033201
1298832A19154B   SARAH          HERNANDEZ                TX           90011033201
12989A26261972   HECTOR         RODRIGUEZ                CA           90013990262
1298B854847956   JULI           LITTLETON                AR           90013408548
12991758576B68   TRAVIS         CUZICK                   CA           90014167585
129925A1261958   RIA            BOLT                     CA           90003445012
1299393A593736   TANA           STEWART                  OH           90007349305
12999868172B62   MARIA          MORALES                  CO           90012518681
1299B558184375   DANIELLE       SEABROOK                 SC           90005645581
1299BA69276B68   CECILIA        RANGEL                   CA           90011290692
129B1856184375   CHRIS          WATSON                   SC           19098288561
129B197199154B   RODOLFO        PUENTES                  TX           90014409719
129B2919491569   YASMIN         VIVAR                    TX           90011099194
129B2A62461972   ANA KAREN      HERNANDEZ                CA           90008950624
129B3121591569   F.X            AMAYA                    TX           75058861215
129B3866A57147   GAUTAM         ACHLIYA                  VA           90012418660
129B3A76A57147   ROXNI          ESPINAL                  VA           90012390760
129B685334B588   JENNIFER       NUNEZ                    OK           21550518533
129B8598361976   DAVID          TIRADO                   CA           90013935983
129B985A24B588   PATRICIO       ROSALES                  OK           90013898502
129BBA3A29154B   PAULINA        RODRIGUEZ                TX           90012480302
12B11591361968   INDIA          LEWIS                    CA           46022005913
12B13449372B62   CORY           SANDOVAL                 CO           90013074493
12B1535949154B   JUAN           BARRON                   TX           90013953594
12B16795657147   NELLY          HERNANDEZ                VA           90001757956
12B18994857147   BLANCA         CRUZ                     VA           90013859948
12B1967945B526   JESSICA        VILLARREAL               NM           90012596794
12B22756157147   VINCENT        MAI                      VA           90011187561
12B23576455948   LUZ MARIA      VALLE                    CA           90014765764
12B24137551337   JASON          JOHNSON                  OH           90012101375
12B2458A631687   JUAN           ANTUNA                   KS           90013635806
12B255A5791952   JAIRO          PANIAGUA                 NC           90007865057
12B28677A9154B   JACLYN         KOVACH                   TX           75034476770
12B33312261972   JOSHUA         HENDRA                   CA           90013833122
12B36465293745   DEEANNA        SCHUMACHER               OH           90014194652
12B4178145715B   TSISE          LIBEN                    VA           81076047814
12B434A5833699   JACQUELINE     GORDON                   NC           90014574058
12B43566961972   THERESA        TAMAYO                   CA           90007855669
12B4373A991569   MELANIE        RAMIREZ                  TX           90010837309
12B44948947956   RAFAEL         DOTSON                   AR           90005669489
12B4513445B526   SHAWN          WILLIAM                  NM           90012071344
12B462A2A55976   HELEN          MATA                     CA           90013112020
12B46923955948   LETY           MACIAL                   CA           90012859239
12B5112935B526   JORGE          OROZCO                   NM           35073541293
12B52A7A24B26B   RACHAEL        MORRELL                  NE           90005970702
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12B566A2155976   SERAFINO         WESSON                 CA           90007586021
12B57478A72B62   HAN              JORGENSON              CO           90013374780
12B5921A561938   ALMA             DOLORES                CA           90009852105
12B5B296A91895   MARCELA          PERALES                OK           90001452960
12B5B32A772B62   ANA              EZPARZA                CO           90012513207
12B5B8A3655976   VALERIE          LEAL                   CA           90012168036
12B61533572B62   EZRA             RIVERS                 CO           90010065335
12B65283731687   JARVIS           KIRK                   KS           90014702837
12B65698291263   PAMELA           KAPPELER               GA           90004536982
12B68852191895   LEA ANN          LIVINGSTON             OK           21066208521
12B6B28A155948   FRANCINE         GUERRERA               CA           90014772801
12B6B756251337   KELLY            NOEL                   OH           66010877562
12B74594457147   JEOBANY          MARQUEZ                VA           90012155944
12B74775991263   KEISHA           JONES                  GA           90011877759
12B75776661976   TERESA           CORRALES               CA           90002177766
12B76242491895   CHRISTOPHER      MILLER                 OK           90013892424
12B7854884B588   JUSTIN           CULIFER                OK           90011615488
12B7BA19493724   NICOLE           GUINES                 OH           90011870194
12B7BA33861958   LUIS             SALAZAR                CA           90014880338
12B8257A576B68   OMAR             PEREZ                  CA           90012275705
12B83116791895   TARA             MERRILL                OK           90011291167
12B84535661972   JOSE             GODOY                  CA           90014505356
12B8538289154B   JASMINE          BADILLO                TX           90013953828
12B91488976B68   EVELYN           RUBIDOUX               CA           90014734889
12B92613176B68   JAMES            POGUE                  CA           46046286131
12B93112A61972   LAURA            SWANSON                CA           46032751120
12B934A8A4B26B   AMANDA           CLAYTON                NE           90013964080
12B93776191569   VANESSA          AMADOR                 TX           75005767761
12B96944572B62   MIKE             PERALTA                CO           90014759445
12B97189A72B62   SONIA            DELORES MUNIZ          CO           90011111890
12BB116269154B   JESSIE           YEPEZ                  TX           90012591626
12BB1A56633699   DIANA            HESTER                 NC           90014610566
12BB36A3891569   ERNESTO          ALANIZ                 TX           90012826038
12BB557487B489   CHERYL           JONES                  NC           90011515748
12BB6392591895   BOBBY            SANDERS                OK           90013683925
12BB6773557147   NANCY            ESCARCEGA              CO           90001917735
12BB7722172453   SELENA           BERNER                 PA           90008007221
12BB784895B526   BRANDON          ESPARSEN               NM           90010428489
12BB839169154B   VICTOR           TERRAZAS               TX           90015263916
12BBB56119154B   ALBERTO          MARTINEZ               TX           90013415611
13111A4794B588   HARMONY          HAWKINS                OK           90003490479
13114A3975715B   JOCELYN          BRUNS                  VA           90012460397
13122795476B68   JR               EDWARDS                CA           90001727954
13122A7A161938   DAVID SALVADOR   AVINA                  CA           90013010701
1312467A524B7B   JUAN             AMAYA                  VA           90012106705
1312861267B489   MANDALE          HUNTLEY                NC           90012706126
1312937814B26B   TIFFANY          ANDREWS                NE           26028893781
1313151984B555   CLARISSA         SCHMITZ                OK           90014745198
1313253724B555   ASHELY           ALLEN                  OK           90014745372
13132A5A447956   LAURIE           LOLLIS                 AR           24007970504
13133353872B62   MARWAH           TAYA                   CO           90010993538
13134A84451337   BERNA            BRANT                  OH           90014570844
1313788A931687   BETTY            GARZA                  KS           90007038809
1314175A991569   FRANK            DURAN                  TX           75088727509
131449A7561958   CARDINA          MITO                   CA           90014849075
1315383364B588   ERVINA           MAYTUBBY               OK           90013638336
1315BA1A155948   JOHN             RICH                   CA           90012940101
1316147514B588   JERAME           THINBODEAX             OK           90010994751
1316396A372B62   RON              VIGOA                  CO           90010459603
1316435417B489   MICHELE          DICKSON                NC           90006993541
1316B536957147   MIRNA            OLIVARES               VA           90014885369
1317466235B526   FATIMA           TORRESSOTELO           NM           90008836623
131758A3191569   CARLA            BERNICE                TX           90011868031
1318396A472B95   JAIME            GOMEZ                  CO           33026639604
13185627A47956   ADAM             PRESTON                AR           90010866270
13185A1A261958   DIANNA           CARRILLO               CA           90008040102
1319396577B489   BRIONNA          RODDEY                 NC           90013799657
1319423877B489   JACKLIN          ROLLE                  NC           90010352387
1319496A661958   FRANCISCO        MEJIA                  CA           90012769606
13194A3224B588   VANESSA          DAY                    OK           90002640322
131959A2776B68   SCOTT            RILEY                  CA           90011769027
131988A7861938   JULIAN           HENDRIX                CA           90014658078
131B139964B555   JESSICA          POWERS                 OK           90014743996
131B239964B555   JESSICA          POWERS                 OK           90014743996
131B2892461976   VANESSA          RUIZ                   CA           90010348924
131B4948847956   GABRIELLE        SIVAGE                 AR           90012959488
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131B5423291549   DOLORES        HUANTE                   TX           90012984232
131B54A924B555   LYNETTA        PIPPEN                   OK           90014744092
131BB95A472B62   ANDY           GARCIA                   CO           90006769504
13214277724B7B   JOSE           REYES                    VA           90012362777
1321463827B489   TABATHA        ASBURY                   NC           90013056382
132163A684B588   DE ONAJAH      HILL                     OK           90013553068
1321841964B555   ROBERT         SULLIVAN                 OK           90014354196
13221A4754B26B   LEOPOLDO       JUAREZ                   NE           90013960475
1322237849377B   KAY            MOUNTS                   OH           90008763784
13222792A55976   JOSE           HERNANDEZ                CA           90013367920
1322353A14B588   SHUNTAY        EDWARDS                  OK           90010995301
132246A5891263   THERESA        GRIFFIN                  GA           90014986058
132294A9224B7B   TYERRA         VEREEA                   DC           90005224092
1322B25517B489   ADRIANNA       PENDERGRASS              NC           90009092551
1323173767B489   DAMIEN         ANTHONY                  NC           90010807376
13232AA944B588   JOANNA         HILL                     OK           90011440094
1323421A161938   DIANA          ROJAS                    CA           46091732101
1323856912B27B   DARNELL        GOLDSMITH                DC           90012595691
1323BA14461958   JOSE MARIA     GERVACIO                 CA           90008170144
13252773372B62   YAO            ONGOUNDJA                CO           90013247733
1325677675715B   JHON           CESPEDES                 VA           90013957767
132588A8161958   RICARDO        ESCOBAR                  CA           46042708081
1325B431455976   ROBERTO        AVENDANO                 CA           90014864314
1325B825633649   RYAN           MELTON                   NC           90003688256
132633A6251337   DOMINIQUE      SKINKLE                  OH           90014583062
1326382465B154   CARLA          BANNER                   AR           90010388246
1326421A35B526   SHAREE         ROMERO                   NM           90013892103
13265831476B68   EDUARDO        BONILLA                  CA           90013068314
1326658694B588   CHARLES        MCCOY                    OK           90013865869
1326771435B154   LAMONT         HOLMES                   AR           90014807143
1326857A95B154   DESTANEE       ANDERSON                 AR           90011065709
1326895864B555   THERESA        MERLIN                   OK           90014749586
1327214944B555   EVONY          WELLS                    OK           90014761494
1327239777B489   ADRIAN         SORIANO                  NC           90010233977
13272928124B7B   JAKIYA         WILLIAMS                 DC           90012839281
1327B372761976   JAY            SHAWN                    CA           90013393727
13281857276B68   MARICELA       FLORES                   CA           46057858572
1328541A272B62   CHARLES        GARCIA                   CO           90014564102
1328786574B588   RAMONA         DELGADO                  OK           90014918657
1329147875B526   RUBY           CLEVELAND                NM           90008884787
1329442A65B526   RICARDO        RUIZ                     NM           90014214206
132958A2357147   JOSE           CHRIS                    VA           90014908023
13297A9974B576   TWYILA         ROBINS                   OK           90009920997
132982A3951337   BRIANNA        HENDERSON                OH           90010942039
13299843A76B68   CUIRIZ         ARACELI                  CA           46036228430
1329B758791263   TIMOTHY        HILL                     GA           90014997587
132B2771891895   GER            LAO                      OK           90014107718
132B7169557147   TERRENCE       TAYLOR                   VA           90013251695
132B7733857147   ROBERT         GRIFFIN                  VA           90009017338
132B8694761958   CAMELIA        DIAZ                     CA           90011316947
132B9A4525715B   VONDA          BYRD                     VA           90013700452
133123AAA4B26B   ROMEO          BIVENS                   NE           90011653000
1331315315B526   JOSE           VILLA                    NM           90015121531
13318A78261958   ASHLEY         GARCIA                   CA           90009680782
1331B2A3951337   BRIANNA        HENDERSON                OH           90010942039
133221A8276B68   JOSE           XENOL                    CA           46016021082
1332271114B588   MELISSA        DAVID                    OK           90012517111
13322A3779377B   SAMANTHA       KAMMER                   OH           90012030377
13327756672B62   SYLVIA         MEDINA                   CO           90012857566
1332B839361938   STEPHANIE      PEREZ                    CA           90013068393
1333177395715B   DANIEL         ORTIZ                    VA           90010247739
13332796372B62   JESSE          BERNAL                   CO           90013807963
1333466577B489   CRISCO         WILLIAM                  NC           90014276657
13337624A61976   BLANCA         OLIVARRIA-GOMEZ          CA           90011616240
1334258A557147   BRANDON        TIBBS                    VA           90013605805
13345A47176B68   ALEJANDRO      GARCIA                   CA           90011810471
13346A27955948   JUAN           VASQUEZ                  CA           90012480279
13349417572B62   MARIA          RODRIGUEZ                CO           90013934175
13351554472B62   CHARLES        MOFIELD                  CO           90013085544
1335817855715B   SANDRA         CONTRERAS                VA           90007241785
13358515A51337   DEIDRE         ANDERSON                 OH           90014525150
1335B395255948   RONNIE         ROBERTS                  CA           90006253952
13364A52492827   FRANK          PARKER                   AZ           90014160524
13366178A61976   ERIKA          JAQUISH                  CA           90008201780
1336857484B588   MARY           COCHRAN                  OK           90012905748
1337484234B588   KANDON         KELLY                    OK           90006288423
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1337522625B526   CYNTHIA         ESCUDERO                 NM           90004192262
1337717534B555   SHADAVIA        RAINGE                   OK           90014771753
1337736915715B   JOSE            GUZMAN                   VA           81095153691
133791A1A61958   RONALD          WILBURN                  CA           90012751010
133798A5677535   JOURDAN         DIQUARTO                 NV           90005508056
13379A1125715B   LEANDRO         PORTILLO                 VA           90014500112
1337B355857147   MARIA           DELCID                   VA           90014223558
1337B852461976   GLADIZ          CHAVEZ GRANADOS          CA           90013548524
1338259274B555   HATTIE          LUPTON                   OK           90014765927
13382978A91569   ANDRES          RAMIREZ                  TX           90013629780
1339318464B555   CHRIS           COZENS                   OK           90014771846
1339779385B526   MARILYN         BENHAM                   NM           90011127938
1339898674B588   GLENDA          LONG                     OK           21573729867
133B1372791398   WILLIAM         MELTON                   KS           90004523727
133B342574B555   ROBERT          KEEFE                    OK           90007224257
133B433444B26B   RUDY            REQUEJO-YBARRA           NE           90015113344
133B4694261938   JUAN            PEREZ                    CA           90013076942
133B8237893754   LAURIE          THORPE                   OH           90000322378
133B82A3257147   CARLOS          MIRANDA                  VA           90009332032
133B948396B95B   NIKKI           HANN                     NJ           90002334839
1341244A761976   RANDY           ROWLAND                  CA           90004374407
1341325724B555   TENILLE         FRANKLIN                 OK           90014772572
1341537374B588   AMBROSIO        ARGUETA                  OK           90012723737
13418772972B62   LUZ             GANDARA                  CO           90013047729
13421954272B62   CAZZIE          LOGGINS                  CO           90011479542
1342396277B489   TONY            JOHNSON                  NC           90008959627
1342686737B489   JASON           DEBERRY                  NC           90012718673
134293A674B555   AMY             OCHOA                    OK           90013803067
13431294A61938   VERNON          BRINKLEY                 CA           90007772940
134355A1855976   ARKIM           STOKES                   CA           90014505018
13435A95572B62   ENRIQUE         CABRERA                  CO           90002720955
1343835475B526   KATYA           LUCERO                   NM           90011343547
1343B7A6872B62   MARQUES         MITCHELL                 CO           90008317068
134415A1931635   NANCY           MASTERS                  KS           90005645019
1344447563363B   WILLIAM         RANKINS                  NC           90012914756
1344524946192B   LORRAINE        COCHRUN                  CA           90003422494
1344655A15B599   MARIO           LOPRINZI                 NM           35016965501
13446A19876B68   LEONICE         VENTURA                  CA           90011850198
13449154A55948   CARMEN          JIMENEZ                  CA           90013991540
134525A4255976   HUGO            SANCHEZ                  CA           90014505042
13452833A55976   RATHA           NANG                     CA           90011188330
13456674A43444   LYNNEA          RAYNOR                   VA           90014256740
13459842A8584B   CHARLES         SPRUCK                   CA           46012848420
1346246654B555   VERONICA        BEARBOW                  OK           90014774665
134661A7391263   CURTIS          DAVIS                    GA           90013311073
1346636375715B   GENNET          TIKU                     VA           90008063637
13468A54255976   MARIA           MARIN                    CA           49012230542
1346B127A61976   CARLOS          ROMO                     CA           90011961270
134727A554B26B   STEPHANIE       NEWMAN                   NE           90013797055
134758A564B588   YONMAN          GARCIA                   OK           90012048056
13476839257B59   MELISSA         WHITED                   PA           90014238392
13476855A61938   CYNTHIA         LOZA                     CA           90013068550
13478855A61938   CYNTHIA         LOZA                     CA           90013068550
1348154275715B   DINO            SAWYER JR                VA           90013595427
13483A83491263   KWAME           FLOYD                    GA           90014710834
134931A784B588   ONESHA          DOUGLAS                  OK           90013871078
1349518545B526   RICARDO         RUIZ                     NM           90011511854
134985A194B588   SAVANNAH        BETANCUR                 OK           90012305019
13498A57961938   ROSALINDA       DUNN                     CA           90014660579
134B1258361958   GRACIELA        AGUAYO                   CA           90014782583
134B322854B555   FELICIA         SALDIVAR                 OK           90014772285
134B3716891263   NATHANIEL       JONES                    GA           90004407168
134B3921261958   DARROLD         ADAMS                    CA           90012889212
134B422854B555   FELICIA         SALDIVAR                 OK           90014772285
134B447964B588   UNDRAY          MOORE                    OK           90011304796
134BB487561938   ALEJANDRA       QUEVEDO                  CA           90011194875
134BB491572B62   FERNANDA        BUSTAMANTE               CO           90005194915
134BB85A261938   ARACELI         BELTRAN PEREZ            CA           90013068502
1351461A35715B   ROBERT          PETERSON                 VA           90012756103
135146A476B933   EILEEN          BAUTISTA                 NJ           90012776047
13523124A61976   WALTER          MARTINEZ                 CA           90012131240
135247A9155948   EVA             VASQUEZ                  CA           90008047091
135251A8131687   MCKENNA         UNRUH                    KS           90002501081
13525724A5B154   TIFFANY         HARRIS                   AR           90009857240
1352757765B526   MARICELLA       VARGAS                   NM           35002875776
1352BA5365712B   TEWE            DROS                     VA           90011410536
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1353132AA55976   OSCAR           MENDEZ                   CA           90011223200
1353336A531635   HELLEN          DRAKE                    KS           22017393605
13536A1135B154   LEESTER         WILSON                   AR           23073340113
1353836165B154   LAROBIN         TOREENCE                 AR           90013303616
135391A6576B68   NESTOR          DE LA CRUZ               CA           90010761065
1353972635B154   BRANDY          TRIBIO                   AR           90015147263
13541124A61976   WALTER          MARTINEZ                 CA           90012131240
13545978A7B489   AMY             FURR                     NC           90001029780
1354676257B489   NATASHA         DAVIS                    NC           90010807625
13549A44757147   CARMEN          BARRIOS                  VA           90012880447
1355146465B154   SIARRA          BOLTON                   AR           90014724646
1355289142B232   DENITA          PERRY                    DC           90008128914
1355326165715B   RODOLFO         VENAVIDES                VA           90013012616
13555A5638B164   JEREMIAH        NOSACK                   UT           90010460563
1355B19A961958   OREO            CERVANTES                CA           90006241909
1356133635B384   JOHN            JONES                    OR           90007683363
1356298325B526   THERESA         CORDOVA                  NM           35025989832
13567A9315B154   ERIKA           CERVANTES                AR           90009820931
1356B832361976   JAVIER          VELAZQUEZ                CA           90013358323
1356B8AA491949   BARBEE          FITZPATRICK              NC           17058438004
135734A694B555   AURORA          SOLIS                    OK           90014784069
13573A1624B254   RYAN            HILLYER                  NE           90013580162
1357539698B837   MYLES           GACH                     HI           90014003969
1357557335B154   TIFFANEY        H                        AR           90014215733
13576447A85999   MICHEAL         COUCH                    KY           90014724470
1357649815715B   IRVIN           RIVAS                    VA           90000674981
1357945A176B68   ROY             DAILEY                   CA           46082344501
1357B648391895   BRANDON         CURCIO                   OK           90014726483
1357B92A861976   DAVID           LEON                     CA           90008499208
13583A6A371965   DAVINA          LABATO                   CO           90007920603
1358494685715B   DAMIKA          THOMAS                   VA           90014569468
1358735475B526   KATYA           LUCERO                   NM           90011343547
1358B152A61985   GUADALUPE       VAZQUEZ                  CA           46031961520
1359B37587B489   IRIS            PADILLA                  NC           90008733758
1359B793557147   MARIA           ARGUETA                  VA           81093327935
135B3A12191569   MAYRA           VILLA                    TX           75072250121
135B3A57961938   ROSALINDA       DUNN                     CA           90014660579
135B4915A5715B   KADIETU         BARRIE                   VA           81019959150
135B6373461938   ASHLEE MARIE    PEREZ                    CA           90013873734
135B7292A61958   ESMERALDA       GUZMAN                   CA           90014762920
1361482A372B62   AARON           MORALES                  CO           90013308203
1361632964B588   DANIELLA        RAMIREZ                  OK           90009263296
13621795A4B555   BRIANNA         BRAY                     OK           90006587950
1362259874B555   JACINDIA        GRAY                     OK           90014785987
1362397414B26B   REBECCA         STEVENSON                NE           26080399741
13625423472B62   CHRISTIE        MCKAY                    CO           90010994234
1362812534B588   DAVONNA S       WHITE                    OK           90011381253
13629528372B62   AUSTIN          BURNEY                   CO           90004495283
1362B83264B555   GREGORY         DOROTY                   OK           90014798326
136331A5755948   OSCAR           OCAMPO                   CA           90012921057
13635A5785715B   ABU             KALLON                   VA           90014400578
13636A78A61976   VIVIAN          ARZOLA                   CA           90014970780
136396A334B555   JOVANY          JARAMILLO                OK           90014786033
1363B228555948   MOISES          PORTALES                 CA           90013562285
1364117427B489   KENIA           HERNANDEZ                NC           90012661742
1364175177B489   KENIA           HERNANDEZ                NC           90010857517
1364242225B526   LINDA           GARCIA                   NM           35005524222
13643A4934B555   OLEN            WEEDN                    OK           90014790493
136519A3647873   CAROL           FOSTER                   GA           14056129036
1365242A455976   DEBI            STEELE                   CA           90011224204
1365344715B526   JARRED          OVERBY                   NM           90013274471
1365435385B526   ARELLANO        RUBEN                    NM           90004923538
1365757A961938   ROBERT          ORDONEZ                  CA           90005525709
13657A42357147   ROSA            ZAVALA                   VA           81055340423
1365868A24B555   DELIA           DIAZ                     OK           90014786802
136649A745715B   ANA             ERAZO                    VA           81015189074
136655A2972B37   LORAINE         IRONS                    CO           90003185029
1366638844B26B   ADAM            ANDREWS                  NE           26001393884
13668A12661938   GUSTAVO         BARRAZA                  CA           90013090126
1367758255715B   JIMENES         MARVIN                   VA           90005835825
1367B982591569   ALICIA          VASQUEZ                  TX           75031169825
1368399194B588   SHAMORRO        MCCAIN                   OK           90008849919
1368791344B588   TIFFANY         KING                     OK           90011009134
1369233275715B   FATIMA          VARGAS                   VA           90014343327
1369373A761976   MARK            ARAGONA                  CA           90012067307
136947A5361938   MALACHI         HERNANDEZ                CA           46078877053
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13695A9194B555   SHEREE          KING                     OK           90014790919
1369B42115715B   HAMZA           BASSA                    VA           90013224211
136B1516A4B555   SHANEQUA        LONG                     OK           90014785160
136B159574B588   AARON           HANNA                    OK           90012665957
136B2455961938   ANGEL           SOLIS                    CA           90001734559
136B914464B26B   C               G                        NE           90012161446
1371132355B526   HEATHER         BURKE                    NM           90011043235
1371141695B154   JOSHUA          CORLIS                   AR           23086024169
1371575575B526   BRANDEN         BONNELL                  NM           90010827557
1371775A54B588   KATHERINE       MCGOWEN                  OK           90012857505
13718324557B59   DEBORAH         FORNASZEWSKI             PA           90014393245
13719761272B62   ELVIRA          MEDINA                   CO           90012617612
1371996684B588   MARIA           QUIROS                   OK           90011009668
1371B734961976   RAUL            SANTILLAN                CA           90010337349
13722A9612B966   ELIZABETH       KONECHNEY                CA           90012580961
13723A93851337   CARLA           ASHER                    OH           90010070938
137246A865B526   KA-DEJIA        WASHINGTON               NM           90014076086
1373119A54B588   ROMAN           GONZALEZ                 OK           90002681905
1373362A861958   KENIA           BARON                    CA           90013416208
1373782A37B489   MIGUEL          HURTADO                  NC           90000218203
1373B314451337   JODI            JOHNSON                  OH           66001143144
1374277A151337   ANTTONETTE      WILLIAMS                 OH           90014597701
1374327A391569   SELENE          NELSON                   TX           90011342703
1374359A691569   NEFTALI         GALVAN                   TX           90014255906
1374434A391263   KATRINA         SAVAGE                   GA           14586313403
1374441AA61976   THOMAS W        BISHOP                   CA           90011624100
13744767A55976   JOAN            MARQUEZ                  CA           90015187670
1374B37A847956   SATARA          WILSON                   AR           90014693708
1374B4A5A57147   CLAUDIA         CHAVEZ                   VA           90012924050
1374B815461976   HARRY           CHILTON                  CA           46024998154
1376138A14B26B   KARI            OLSEN                    NE           90013493801
137645A2661958   ANTONIO         VALENCIA                 CA           90010345026
13765324A93783   KENDALL         BACCUS                   OH           90011243240
1377276197B489   FAYONNA         BRISCOE                  NC           90012827619
13776A88761938   CHARLES         MEEK                     CA           90013270887
13786A94472B62   SPARKLES        DENVER                   CO           90012170944
1378744945B154   MARCUS          BERNON                   AR           90015164494
1378B39134B555   BRANDE          KISER                    OK           90012963913
1379156A376B68   HOLLY           POELSTRA                 CA           46096145603
1379544524B555   KEVIN           MOBLEY                   OK           90014794452
1379619355B154   TIMOTHY         SUMMONS                  AR           90002041935
1379857235B154   STEPHANIE       FRANKLIN                 AR           90012655723
137B1466655948   SAMANTHA        PINEDA                   CA           90011634666
137B157117B489   PAUL            COOPER                   NC           11004985711
137B221917B489   SHAWN           MC MILLER                NC           90008622191
137B235315715B   SHAWN           BRANDANI                 VA           90011363531
137B24A387B489   WILLETTE        JAMES                    NC           90010234038
137B271434B588   PRESTON         JONES                    OK           90012317143
137B3511255976   MICHELLE        LOWE                     CA           90013005112
137B434A357147   MAJOR           SINGHBHOGAL              VA           90014143403
137B5547662334   MARIA           COVARRUBIAS              KY           90014395476
137B74A8591263   ROSA            GARCIA                   GA           90013494085
137B7A6455B154   TRISHA          BLAIR                    AR           90014290645
137B811334B555   WENDY           MARLAR                   OK           90014791133
13811492A4B588   TRACY           WHITTHORNE               OK           90010224920
138127A224B588   KEILA           HENDERSON                OK           90012937022
1382389385B526   PAULA           BOGACZ                   NM           35063238938
13823964172B62   MICHELLE        MATHEWS                  CO           33026719641
1382525255715B   TAMSYN          O'FLYNN                  VA           90011022525
1382856A34B588   EMERSON         CIFUENTES                OK           90010615603
1382927992B239   ERIC            SMITH                    DC           90003572799
1383265A555976   MARIBI          NUNEZ                    CA           90011226505
138445A935B526   JASON           ZERN                     NM           90014565093
13846A43461976   JESUS           ORTIZ                    CA           46002620434
1384853A451337   JOSHUA          STEPHENS                 OH           90011915304
1385299155136B   EDDY            MOTA REYES               OH           90012979915
13858627A4B555   HEATHER         DAVENPORT                OK           90014796270
1385985155715B   EVER            GARCIA                   VA           90007398515
13861119772B62   VALENTINA       VALDEZ                   CO           90009811197
1386239174B26B   CARLOS          SANCHEZ                  NE           90014093917
13862422772B62   NICHOLAS        HILEMAN                  CO           90015034227
13864A48A61958   SONIA           HERNANDEZ                CA           46066370480
13866151A51337   JACK            CONSTABLE                OH           90012261510
1386742A172B62   MARYURIS        UYAPA                    CO           90013674201
13869117A47956   MELISSA         LADEROS                  AR           90014681170
1386B325791263   BRITTANY        SMITH                    GA           90013003257
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1387518AA5715B   SYLVESTER      JONES                    VA           90010031800
1387814994B588   TAI            JONES                    OK           90015291499
1387B64744B555   ROBERT         HARRIS                   OK           90009856474
1388165844B555   CANDY          BARNETT                  OK           90014796584
1388182A372B62   AARON          MORALES                  CO           90013308203
1388775A75B154   BAMON          HUNTER                   AR           90015067507
1388917A591569   MIGUEL         GOMEZ                    TX           75016531705
13895A69391569   MONIQUE        HERNANDEZ                TX           90013290693
13898A7695715B   ALVARO         DEL CID                  VA           90011390769
1389B255772B62   ANGELA         LEWIS                    CO           33095482557
1389B431361976   RAMON          HERNANDEZ                CA           90012414313
138B172324B26B   MICHELLE       SVOBODA                  NE           90005007232
138B3379131687   JEANNETTE      WHERRELL                 KS           22082803791
138B3725155948   DANIEL         PEREZ                    CA           90013087251
138B5115155976   AZUCENA        HERNANDEZ                CA           90010761151
138B8168176B68   ARMANDO        BATISTA                  CA           90012621681
1391129AA61985   BOBBIE MARIE   HIPPERT                  CA           90009412900
13911859772B37   JOSE           EMILIO                   CO           90009318597
1391633635715B   NEYSON         ARANCIVIA                VA           90012133363
139178A5124B7B   DANDRIA        HILL-BURNO               DC           90009688051
13919A1A561938   MARICELA       ALVAREZ                  CA           90012600105
1391B177255948   JUAN           RODRIGUEZ                CA           90014531772
1392375A54B588   KATHERINE      MCGOWEN                  OK           90012857505
1392512575715B   JAQUELINE      FUENTES                  VA           90011941257
13927861A4B555   ROBERT         SMITH                    OK           90001358610
1392873994B929   AARON          WELLER                   TX           90007087399
139327AA97B489   OCTAVIO        VARILLAS                 NC           90013807009
13933AA384B555   CURTIS         DANNY                    OK           90014800038
13936953A4B555   JAMEA          HOOKS                    OK           90014799530
1393B863391569   ELIZADRO       TELLEZ                   TX           90006558633
1394499155136B   EDDY           MOTA REYES               OH           90012979915
13947A2984B555   NANCETTA       BAKER                    OK           90014800298
1395139A151337   SIYOMDA        SAMPLES                  OH           66076993901
13951A3A491569   ANITA          RODARTE                  TX           90009480304
13956A38791895   RICHARD        CAMPANO                  OK           90012770387
1395BA33961968   FERNANDO       PEREZ                    CA           90003520339
1396176995B154   JIMMIE         BOWMAN                   AR           90014597699
1396845444B588   WYATT          ALLEN                    OK           90014574544
13968A36961958   PEDRO          FERRAN                   CA           90010140369
139698A3172B62   DEONNA         COMBS                    CO           90014158031
139699A9791569   CHRISTIAN      SALAZAR                  TX           90014459097
1396B398372B62   CYNTHIA        ACEVEDO                  CO           90001813983
13972A8218B165   MIGUEL         DIAZ                     UT           90014140821
139736A5191569   NATALIA        SIAS                     TX           90008506051
1397399225B526   GURROLA        CLAUDIO                  NM           35034259922
13974A11855976   HEATHER        TRABER                   CA           90000970118
13979685A61938   SHAWN          ALFARARO                 CA           90013096850
1397B226A72B62   ERIK           ABARCA                   CO           90012952260
1397B61194B555   CAROLINA       MONTANO                  OK           90013746119
1398139A857147   MARGARITO      PEREYRA PEREZ            VA           90010233908
1398515824B555   JUAN           RAMIREZ                  OK           90014801582
13985A43891263   SHARMANE       DANIELS                  GA           90014410438
139874A8855948   MARIA          LEYVA                    CA           49009804088
13987558A4B588   ASHLEY         JOHNSON                  OK           90011015580
1398885435B526   COREY          DEOJAY                   NM           90013788543
13988917872B62   LORETTA        LOVATO                   CO           90000149178
139972A774B555   BELVA          BURRIS                   OK           90014802077
1399819265B154   JOANNE         WEAVER                   AR           90012561926
1399821A64B555   JEFFREY        GAMBLE                   OK           90014802106
13999273A4B588   LUCERO         FLORES                   OK           90013672730
139B168354B26B   AMANDA         REGAN                    NE           90010196835
139B2361455976   DELANA         CUNNINGHAM               CA           90012113614
139B2573157125   JORGE          CRUZ                     VA           90000465731
139B526674B588   KEARRA         GREENE                   OK           90011012667
139B713585B526   LUIS           GONZALEZ                 NM           90010201358
139B7643772B62   RACHEL         VALDEZ                   CO           90010196437
139B771735715B   IASHA          KANWAL                   VA           90010277173
139B945855B526   TRAVIS         KEYONNIE                 NM           90011444585
139BBA9294B26B   NESHA          POTTS                    NE           90014840929
13B134A4855948   VERENICE       RENTERIA                 CA           49007474048
13B14822951337   NICK           STITZEL                  OH           90014868229
13B16641297B3B   TAUSHA         AUSMUS                   CO           90013686412
13B17285191569   JOSE           CORONA                   TX           75047202851
13B1B4A247B489   ARTURO         ZAZUELTA                 NC           90013884024
13B23216155948   DIANA          CORTEZ                   CA           90012112161
13B24484457147   JOSE           AYALA                    VA           90014874844
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13B26A31576B68   MOISES         ORTIZ                    CA           90009960315
13B28A66776B68   ALBERTO        VASQUEZ                  CA           46056740667
13B31483372B62   BELZAZAR       MADRID                   CO           33006794833
13B31484457147   JOSE           AYALA                    VA           90014874844
13B33674A55948   JEANETTE       RAMIREZ                  CA           90012856740
13B33A93576B68   ANGELICA       TRUJILLO                 CA           46094680935
13B34783572B42   JEFFERSON      NALLEY                   CO           90010187835
13B3547574B555   TONIESHA       MCCRARY                  OK           90014734757
13B35569261976   ANTHONY        MCOLGAN                  CA           90012675692
13B36914771935   STEPHEN        SPEER                    CO           90009469147
13B397A4351337   KAREN          AMISON                   OH           90013207043
13B41967261976   AUREA          RODRIGUEZ                CA           90011599672
13B43169284332   NICOLE         SIMMONS                  SC           90006271692
13B45128161976   ROBERT         CAMPBELL                 CA           90012841281
13B4664A561958   DAVID          GREEN                    CA           90013696405
13B48656872B62   ESI            VALDEZ                   CO           33086076568
13B4938284B555   CAMRON         CARLOIN                  OK           90014753828
13B49851291569   RICARDO        MONTELONGO               TX           90010018512
13B49866751337   BOBBIE         BOLEN                    OH           66039718667
13B4B571391263   JOHN           CARRIER                  GA           90012985713
13B4BA3633B394   OLYA           ROZENDORF                CO           90006650363
13B57343947956   STEPHANIE      HEATH                    AR           90011073439
13B586A6461958   WENDY          GONZALEZ                 CA           46058976064
13B58719124B7B   LYNN           MOORE                    DC           90007307191
13B6121374B588   KAREN          SURLOUGH                 OK           21576042137
13B63A74691996   GLORIA         DE LEON                  NC           90010210746
13B67195691895   MICHAEL        LANDIS                   OK           90012951956
13B67A38672B62   ISABEL         VAYONA                   CO           90010410386
13B68689A91895   INEZ           HERNANDEZ                OK           90011006890
13B6958464B26B   JOHN           MONTIN                   NE           90012745846
13B69634861976   AIOTEST1       DONOTTOUCH               CA           90015116348
13B6B655A24B7B   LASHAWNA       HILL                     DC           90010536550
13B71A7A24B588   ANTHONY        WAGNER                   OK           90014770702
13B7266564B555   CARLOS         DUARTE                   OK           90014736656
13B73644961938   LOURDES        RAMIREZ                  CA           90014646449
13B74568231635   SACRAMENTO     RUIZ                     KS           90006435682
13B75622155976   CARLOS         SEGURA                   CA           90014356221
13B75689A91895   INEZ           HERNANDEZ                OK           90011006890
13B77785461938   JONNIE         BENAVENTE                CA           90012967854
13B78A23751337   CRYSTAL        SMITH                    OH           90010940237
13B81A64991263   FORTINO        PACHECO                  GA           90013850649
13B8244934B555   LETERRANCE     DESHOUN                  OK           90014744493
13B84167961938   VIKLENA        QUESADA                  CA           90011191679
13B8537A576B68   CARLA J        ESCOBAR                  CA           90007153705
13B85523255948   JAMES          BURCH                    CA           90010195232
13B85646131635   JAMIE          MCCALLA                  KS           90005516461
13B85A96291263   DEE            RODRIGUEZ                GA           90010350962
13B86228355948   BEZAEL         RAMOS                    CA           90012972283
13B86646131635   JAMIE          MCCALLA                  KS           90005516461
13B8672925B154   AMANDA         STROUD                   AR           90011407292
13B86785461938   JONNIE         BENAVENTE                CA           90012967854
13B88884255976   AMBER          SALINAS                  CA           90001578842
13B8953269377B   ANDRE          ESTER                    OH           90008595326
13B91594161976   DEBORAH        MARTINEZ                 CA           90011655941
13B94476961938   LINDSAY        FULKERSON                CA           90010814769
13B9492285B526   ALYSSA         BARNES                   NM           90014639228
13B96328561958   DULCE          ARRIAGA                  CA           90015223285
13B9636354B555   ROSA           NEVAREZ                  OK           90014743635
13B99287161938   LOURDES        CASTILLO                 CA           46091552871
13B994A424B555   DIEGO          ORTIZ                    OK           90014744042
13B9B55655B39B   KASIN          MBERWA                   OR           90005725565
13BB1954947956   CORNELIUS      JILES                    AR           90014369549
13BB2785155948   MARISOL        CORTES                   CA           90013007851
13BB363A791895   ALEXANDER      DAWN                     OK           90011006307
13BB4A82561979   EDWARD         ZAYZAY                   CA           90007890825
14112832576B68   JAVIER         CAMPOS                   CA           46014968325
141132A5772B27   RACHEL         SOLANO                   CO           90015142057
14113A9997B489   TRENIKIA       MITCHELL                 NC           90011010999
1411479A95B154   MARCUS         ALLEN                    AR           90012497909
14116658176B33   ALEXANDER      WILLIAMS                 CA           90005386581
1411727478B837   LAUREN         THOMAS                   HI           90014442747
14117A41272B27   TABITHA        WHITE                    CO           90013090412
1412155535715B   DANIEL         FERRUFINO                VA           90013675553
14126A71691569   ADRIANA        SANCHEZ                  TX           90004860716
14127A43472B27   JUAN           PALACIO                  CO           90013090434
141285A4461938   MIGUEL         ARROYA                   CA           90014185044
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14128676A5B526   ROSE              GRIEGO                NM           90013626760
1412BA77A91569   JONATHAN          PACHECO               TX           90010810770
141315A8476B68   SOPHIA            SHEIKH                CA           90009625084
14132128676B68   SHARON            FRANK                 CA           90013141286
1413436265715B   EDVIN             DUARTE                VA           90010143626
14136128676B68   SHARON            FRANK                 CA           90013141286
1413655654124B   LASONNE           SINGLETARY            PA           90014725565
1413B9AAA5B59B   PATRICIA          GABALDON              NM           90012889000
14141176276B68   ELI               GORDON                CA           90013141762
1414196865B526   JEANETTE          TRUJILLO              NM           90012309686
14146377876B68   JEREMY            CRECELIUS             CA           90013143778
1414811427B489   BRANAY            GRAY                  NC           90011011142
14148A6757B489   MARQUISE          BROWN                 NC           90013670675
141499A1672B27   ROEMELLO          LILGEROS              CO           90014459016
14153733672B29   EVELYN            GALINDO               CO           90009867336
141618A4476B68   AZRAEL            VILLA                 CA           90014188044
14163199372B62   GABINO            VILLA                 CO           90012121993
1416534835715B   TYRON             CLARK                 VA           90004043483
1416735885B399   JOSEPH            COX                   OR           90001773588
1416B36AA4B588   WENDY             STURDIVANT            OK           90012103600
1417119265715B   LUIS              MILINA                VA           90013071926
1417142434B26B   ANTONIO           FLORES-VARGAS         NE           90013384243
14176A63472B27   AZUCENA           VEGA                  CO           90013090634
1417921535B59B   KRISTAL           CHAVEZ                NM           36037082153
1417932282B236   AIESHA            NICKENS               DC           90006703228
14181167A4B588   ALEXANDRIA        WOODMANSEE            OK           21510661670
1418335885B399   JOSEPH            COX                   OR           90001773588
1418475265B154   JUANITA           SINCLAIR              AR           90014627526
14187958572B27   MARGARITA         GALARZA               CO           33079489585
14189937576B33   JENELLE           WATCHMAN              CA           46056629375
1418B244347956   JOSHUA            STEPHENS              AR           90009382443
141919AAA5B59B   PATRICIA          GABALDON              NM           90012889000
14192847776B68   JASON             VERGARA               CA           90014748477
1419397174B26B   DELMER            DORMER                NE           90011049717
1419672475B59B   CARLOS            COY                   NM           90012627247
14199A75172B27   ROSELEE           VIALPANDO             CO           90013090751
141B1536861958   NORMA             TOVAR                 CA           90005845368
141B1AA3261938   ARIES             MENDEZ                CA           90003900032
141B3414591263   PAUL              LEWIS                 GA           90008374145
141B5117476B68   JHONATAN          CRISOSTMO             CA           90010961174
141B57A2A55976   DONNA             DOMINGUEZ             CA           90010217020
141B5952247956   CHARLES           HERNANDEZ             AR           90013239522
141B623A555976   AIOTEST1          DONOTTOUCH            CA           90015122305
141B74A7261938   MOISES LEONARDO   GARCIA PEREYRA        CA           90014164072
141B8A4A572B27   JORGE             ROSALES               CO           90013090405
14212A4715715B   EUGENIO           CRUZ                  VA           90013940471
142172A8772B62   SERGIO EMMANUEL   AHUAMDA MURO          CO           90012202087
142172AA557133   ROXANA            RIVAS                 VA           81087212005
1422722665715B   ROSEMUND          DOTOO                 VA           90013992266
1422B642961958   ANTONIO           CARRILLO              CA           46065676429
1422B86A976B68   FABIOLA           DOUG                  CA           90014188609
1423554985715B   OSWALDO           RAMIREZ               VA           90007745498
142358A8591899   DAVID             SANDOVAL              OK           90008058085
14237A92347956   KYLE              CROSSNO               AR           90012790923
1423BA4975715B   MARVIN            BETANCO               VA           90012430497
1424125A24B588   MIGUEL            ANGEL                 OK           90010832502
1424758A74B26B   KAYLA             ANDRETTI              NE           90010295807
1424B634476B33   ELIZABETH         ORTIZ                 CA           90013246344
14253542A91569   KRISTEN           HANFORD               TX           90007865420
14257567576B68   AUDRY             EMON                  CA           46084025675
14261928876B33   JUDY              AQUINO                CA           90013059288
1426981655B154   DONNA             BRIGGS                AR           23001488165
1426B36A991569   GARCIA            JAMES                 TX           90013173609
1426B39375B154   RAMSEY            PARKER                AR           90014083937
1427294195715B   ARMANDO           MAYA                  VA           90011969419
142735A8461938   ERNESTO           PADILLA               CA           46056585084
142746AA276B33   JOSE              LUIS BETANCOURT       CA           46095146002
1427492874B588   KAYLA             MURPHY                OK           90010929287
1427BA17555976   JUAN MANUEL       SANTANA ESQUIVEL      CA           90003710175
14281192624B55   KADESHA           SIMMS                 DC           90011281926
14281AA4291899   JIMMIE            MCGLOTHLIN            OK           90009850042
14283793476B33   ANA               BELTRAN               CA           90008617934
1428467435B154   JOE               JONES                 AR           90013836743
1428733A276B33   CODY              RICHENBACK            CA           90012763302
142877A345715B   EMMANUEL          NEUFVILLE             VA           90012017034
14291A3914B26B   HEATHER           HOWE                  NE           26000570391
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14292918176B68   ALAN            MCGILL                   CA           90012539181
14293552972B62   AARON           CORDOVA                  CO           90011085529
1429636255B526   ABE             GARCIA                   NM           90007373625
14299AA3533699   LAURA           CHESTNUT                 NC           90014600035
142B115765B32B   JACQUE          VALENTINE                OR           44593511576
142B3343247956   RICARDO         BLAIR                    AR           90010993432
142B397777B489   SADARIUS        WELDON                   NC           90013229777
142B4528986454   BETTY           MILLER                   SC           90014085289
142B5389276B33   GUADALUPE       HERNANDEZ                CA           90012383892
142B5826376B68   JOSE            MENDEZ                   CA           90014188263
142B8127A72B27   STEFANIE        ALARID                   CO           90011131270
142B884955B59B   MARIO           THOMAS                   NM           90012048495
1431298A45B154   KRISTIE         WRIGHT                   AR           90013999804
14314756372B27   MIGUEL          GARCIA                   CO           33098497563
1431537644B26B   JOHN            ARMSTRONG                NE           90013543764
1431B27A655976   CHRISTIAN       AGUILAR                  CA           90014612706
14323373872B62   JASON           TRAVIS                   CO           90012083738
14323A37576B68   OSCAR           SALAZAR                  CA           90014960375
14328497772B27   SONIA           VALDEZ                   CO           90008074977
1433316587B489   FREDDY          QURIUS                   NC           90013581658
14335A3315715B   SHAMEQUA        SMITH                    VA           90010930331
14336299576B68   GLORIA          TOMAS                    CA           90011392995
1433894637B489   ANTHONY         PHILLIPS                 NC           90013749463
1434298365B154   MAYA            JAMES                    AR           90010799836
143441A7972B27   LUCILA          RAMIREZ                  CO           90013091079
1434486414B588   CHARLES         INGRAM                   OK           21576198641
14349676572B62   CHRISTOPHER     RODRIGUEZ                CO           90013496765
1435149A647956   GERARDO         GONZALEZ                 AR           24002984906
1435216765B526   FEDERICO        REYES                    NM           90005691676
1435322195B154   CHARLES         CHERRY                   AR           23012462219
14355895972B27   CARLOS          GUSTAMANTE               CO           90003528959
1435661A176B68   VERONICA        RAYO                     CA           90004386101
14356A18631687   ANNETTE         RAINS                    KS           22060890186
1435BA2215715B   MARIA           TORRES CORADO            VA           81020740221
14363A6845B154   ANGELA          COBURN                   AR           90008070684
1436441A876B68   ERIKA           RODRIGUEZ                CA           90011014108
14364AAA961938   GENARO          ESCOBOSA                 CA           90011100009
1436547664B26B   MARK            RAUDABAUGH               NE           90013824766
1436678A691895   LASAWNA         FISHER                   OK           90005227806
14368817472B62   MARTHA          RAINEY                   CO           33042518174
14369116772B27   KAYLEE          SANCHEZ                  CO           90013091167
1436B58535B526   CHARLES         DODGE                    NM           90006955853
1437155377B489   TRAVIS          OSTER                    NC           11006375537
14375A39661938   SHARON          CLARK                    CA           90012940396
1437626A291263   JOAQUIN         GARCIA                   GA           90015012602
143773AA54B588   IRMA            HERNANDEZ                OK           90009183005
1437B39264B26B   LETIA           BAILEY                   NE           90014523926
14382756A61958   JUAN            ORTIZ                    CA           90011487560
14382993672B62   DANIEL          MEDINA                   CO           90012769936
14385853376B33   THOMAS          HARTMAN                  CA           90013008533
14391111972B27   JOCELYN         PALMA                    CO           90013781119
14394A12472B27   CHRISTOPHER     RANDAL                   CO           90013340124
14399966176B33   LETICIA         AYALA                    CA           90010129661
143B151A961938   BEATRIZ         HERNANDEZ                CA           90014185109
143B2431333699   FRANCHESTA      LIVINGSTON               NC           90011024313
143B2A45251337   TODD            MANSER                   OH           90015280452
143B3A68691569   VERONICA        CONTRERAS                TX           90014030686
143B4548576B33   EGIL            GRONSTAD                 CA           90013515485
143B5692391895   TIFFANY         SIMPSON                  OK           90011826923
143B617445715B   ZELEKASH        GEBREYESS                VA           90013941744
143B7645391569   XOCHITL         CUEVAS                   TX           90013306453
143B769724B26B   EDWARDS         WILKERSON                NE           90001616972
143B8386361938   JILBERTO        SANTOS                   CA           90015233863
143B8886391569   ESTEBAN         NAVARRETE                TX           90010808863
143BB696357147   VALERIA         ARZANI                   VA           90012386963
1441117A555976   BRITTANY        BEECHER                  CA           90013061705
14411686972B29   AGUOMARO        GUERRERO                 CO           90012176869
14412A23333699   CRYSTAL         NICHOLS                  NC           90011010233
1441382585B154   TEQUILA         HEARD                    AR           90014848258
1441763285715B   REYNALDO        VALDE                    VA           90009696328
14417A42161958   RAFAEL          ORTIZ                    CA           90013400421
14418943A91569   KIMBERLY        CHRISMAN                 TX           90013939430
14419745972B62   RON             SHORT                    CO           90012907459
1442332185B526   NICOLE          GUTIERREZ                NM           90010683218
144234A8255976   AGUILLA         BAILEY                   CA           90013924082
1442825A34B26B   LORENA          MORENO                   NE           90014422503
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1442B551976B68   PREONNA        PERKINS                  CA           90011015519
14431A91551337   LINDSEY        STEWART                  OH           90014580915
1443778765715B   HERBERTH       CLAROS                   VA           90012947876
14439368476B68   VERNE          HOLMES                   CA           90005153684
1443B396755936   FABIOLA        FUENTES                  CA           48017073967
1443BAA7555976   ROBERT         HONSINGER                CA           90012900075
14444844572B37   KATHLEEN       VANDOM                   CO           90010268445
1444588457B489   MARCEL         BRIGGS                   NC           90011828845
1444699982B968   MONSERAT       ALEMAN                   CA           90011499998
144516A8861938   SERGE          OSORNO                   CA           90014746088
144526A9961938   LENIKA         LEVANT                   CA           90014746099
1445665A691263   FREDDY         MADDEN                   GA           90012196506
14457136933B95   DAWNSHA        WILLIAMS                 OH           90014201369
1446796415B526   DEAN           COPE                     NM           90010629641
1446B65A684326   JASMINE        MYERS                    SC           90013006506
1447112887328B   SANTOS         GARCIA                   NJ           90014451288
14472819576B33   ERIKA          DURAN                    CA           46061188195
1447B3A635B526   KAREN          GERVAIS                  NM           90012813063
1447B766776B33   GRISELDA       RODRIGUEZ                CA           46019647667
1447B7AA772B27   JOHANNA        FIGUEROA                 CO           33053897007
14482983372B27   GABRIEL        GARCIA                   CO           90010539833
14483442672B62   FRANCISO       MARINELARENA             CO           90012484426
14488974A55976   JESUS          QUINONEZ                 CA           90013199740
1449241A231687   CHARLES        SPILLER                  KS           90006524102
1449364925B526   STEPHANIE      ARAGON                   NM           90013176492
1449837915715B   MARIA          VARGAS                   VA           90013193791
144B36A5151337   CARLOS         RAMIREZ                  OH           90012176051
144B5698476B33   KYLE           SPRAGUE                  CA           90010996984
144B6474572B27   DAYANA         CISNEROS                 CO           33070984745
144B671AA47956   HEATHER        MCCOWAN                  AR           90013227100
144B7A84491895   NKECHI         OHAKWE                   OK           90011830844
144BB371957147   MARIA EMMA     ERICK GONZALEZ           VA           90012613719
14511358572B62   MICHELLE       DVURAK                   CO           90014753585
1451183245715B   ROLANDO        CONTRERAS                VA           90012628324
1451226955715B   EVIS           SALGADO                  VA           90014142695
14513324672B27   STEPHANIE      PIERRE                   CO           90003493246
145193A3131687   NATOSHA        JOENS                    KS           90008383031
14526217376B33   JAVIER         VILLANUEVA               CA           90012772173
1452977284B26B   SARAH          PATTERSON                NE           26002307728
14533999376B33   DANIEL         RETIZ                    CA           90012949993
14534A67972B62   ARLENE         PEREDA                   CO           90012500679
1453B857472B27   NANCY          PEREZ                    CO           90013098574
14541A1365715B   JEFF           BAINES                   VA           90012450136
14543235572B27   SALLIE         HILL                     CO           90012312355
1454912645715B   LEONEL         ALVARADO                 VA           90009871264
1455872525B568   ADAM           TRUJILLO                 NM           90011037252
1455938A94B26B   JAMIE          FOSTER                   NE           90008123809
14561339A57147   HELVIN         MEJIA                    DC           90012373390
145653A2776B68   ANA            TORRES                   CA           90009693027
1456549785715B   IRMA           RUIZ                     VA           90013944978
145666A755B154   PORCHA         HUNTER                   AR           90011126075
14566A36361938   CESAR          INIGUEZ                  CA           90013610363
145695AA35B526   HENRY          MCKINLEY                 NM           90014855003
14571239824B7B   SHIRLEY ANN    JEFFERSON                DC           90011022398
1457344415B526   RAEANN         KIRO                     NM           90008434441
1457425874B26B   WILLY          HERNANDEZ                NE           90014772587
1457556255B154   AVIVA          STIGALL                  AR           90014725625
14575A79761938   MARC           SANCHEZ                  CA           90012030797
145792A8891895   KATELYNN       JONES                    OK           21086672088
1457B233661938   MICHAEL        MILES PICKENS            CA           90013222336
1458225874B26B   WILLY          HERNANDEZ                NE           90014772587
1458327254B588   SADE           DOTSON                   OK           90012772725
1458962555715B   NELSON         GUTIERREZ                VA           90013946255
1458B233691569   JOSE           SANDOVAL                 TX           90012892336
1458B529291569   JOSE           SANDOVAL                 TX           90014785292
1459147725B154   FRANK          BUIRSE                   AR           90011394772
145B173A491524   RENE           GARCIA                   TX           75052287304
145B4729A5B154   RAMON          RAMON                    AR           23057017290
145B5537247956   GLADYS M       GREEN                    AR           90007365372
145B637A77B489   ANA            SIGARAN                  NC           90012283707
145B797A591569   STEPHANIE      HERNANDEZ                TX           90013939705
1461763184B26B   BRIAN          BRADFORD                 NE           90011956318
1461961A272B27   STEPHANIE      ELISE CHAVEZ             CO           33044756102
14622572672B62   JUAN           MORENO                   CO           90013055726
14623495476B33   SILVIA         LORES                    CA           90013924954
14626667576B33   BRYAN          DEVORE                   CA           90014336675
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14626894172B27   KWANE GRUBB        SMITH                CO           90013098941
14631A97676B68   ERICA              LOPEZ                CA           90011360976
1463568A85715B   MARCELO            GUZMAN               VA           90013126808
146363A2991569   MOISES             FRANCO               TX           90010353029
1463839687B489   RUCHELLE           GRIFFIN              NC           90011013968
14642A5874B26B   ANA                MONTEZ               NE           90009830587
14647988476B33   HAFIDA             WILSON               CA           90014409884
1464B384572B62   AJAREY             HAMMAND              CO           90013093845
14652761476B68   JAVIER             REYES                CA           46092137614
1465354A661958   PAMELA             ARROYO               CA           90014815406
1465794657B489   TANGY              REID                 NC           90009429465
14659A59333647   ROBERT             WALKER               NC           90008530593
1465B984144356   KEREN              DANIELS              DC           90003629841
1466134985715B   ROBERT             ROSS                 DC           90013963498
14664A97155976   CRAIG              BYAS                 CA           49051630971
1466529645B59B   JULIE              HERNANDEZ            NM           90004362964
14665297376B33   ANTONIO            HERNANDEZ            CA           90013462973
1466B422291899   KEN                THEIS                OK           21000674222
1466B481A72B62   NATISHA            PRIETO               CO           90010374810
1466B599161958   ALEX               TOILOLO              CA           90011875991
1467181935715B   DANIEL             MEDRANO              VA           90013948193
1467468434B588   NAKOLE             GUERRERO             OK           90010556843
14682155272B62   LILIANA            GONZALEZ             CO           90011201552
1468286A991895   RODNEY             LEWIS                OK           21008548609
1468292575715B   BALDEMAR           PEREZ                VA           90012279257
1468566A676B33   CATHY              BOWMAN               CA           46007966606
14691727872B62   MANUEL             HERRERA              CO           90013007278
1469227A391569   ELIZABETH          SANCHEZ              TX           90004992703
1469229994B26B   WILLIAM            SCHLAIS              NE           90012962999
14695495276B68   NICK               DAGGETT              CA           90015144952
1469B436161958   CYLIA              CONTRERAS            CA           90012294361
146B468A35715B   REFAEL             RIVERA               VA           90013946803
146B584654B588   LATOYYA            PENNON               OK           90010798465
146B5A14231687   DESTINEY           BEAM                 KS           90004940142
146B6877757147   JOSUE              RODRIGUEZ            VA           90011108777
146B921814B26B   THOMAS             PAVLIK               NE           90014382181
146BB45425715B   ELIZABETH          CORODA               VA           90013194542
146BB52185715B   ELVIN              IZANA                VA           90013165218
14715997324B35   GERBERTH           CAMPOS               DC           90004959973
14719824A76B52   OCTAVIO            MORELOS              CA           46080768240
1471B2A9524B7B   DIAMOND            GORDON               DC           90011362095
14723425272B62   HARRY              CROYLE               CO           90012734252
1472465315715B   JANIQUE DANIELLE   BLACKBIRD            VA           90012776531
1472613484B588   BRYAN              CEASAR               OK           90010721348
1472735284B588   DANIEL             POST                 OK           90010583528
14729974576B68   ELIA               MELENDEZ             CA           90000749745
14734A92476B68   MALORIE            CAMPUZANO            TX           46029750924
14735A34872B27   EVIS               MARTINEZ             CO           33009180348
14736A4675B154   BRODERICK          WICKER               AR           90010160467
14737551A2B375   JOSE               DEIDA                CT           90013195510
1473799A991899   MALENA             STEWART              OK           90011299909
1473859634B26B   FRANCISCO          RAMIREZ              NE           90013545963
14738A27A76B33   CAROLINA           DIAZ                 CA           90013940270
1473B363876B68   DANIEL             OBESO                CA           90009693638
1473BA3195715B   MARTHA             BAJARAS              VA           90012850319
1474115745B154   BRITTNEY           LOCKHART             AR           90010821574
14741287472B62   BIANEY             CHAVEZ               CO           90015082874
1474172A972B42   AUDREW             SMITH                CO           90006247209
14742A18A76B33   STEVEN             TEO JR               CA           90011100180
1474452814B26B   CHUMANI            FAULKNER             NE           90015195281
14746724772B62   YESENIA            RODRIGUEZ            CO           90013397247
14749A75851337   TORY               JOHNSON              OH           90013580758
1475425875B526   TONY               EDWINS               NM           90011382587
14755554A61947   ABYSSINIA          BELAY                CA           90012085540
147561A2791569   MARCO              DELGADO              TX           90013941027
147581A6376B33   AMERICA            ESPINO               CA           90013941063
14758984A47956   MAXIE              COLLIER              AR           90010479840
1475965935715B   YOUNG HI           CHOE APT 609         VA           90012976593
147612A4A5715B   BALTAZAR           CRUZ                 VA           90011912040
1476252745B526   JOHN               JARAMILLO            NM           90014855274
1476764315715B   ALBERT             CHILDS JR            VA           81016636431
14773359876B33   EDUARDO            JIMENEZ              CA           90013943598
14776544A76B33   ADRIANA            MARTINEZ             CA           90009775440
14776946A72B27   MIGUEL             RUIZ                 CO           90013099460
1477718374B588   TYRIKA             MCFADDEN             OK           90007191837
1477B473876B68   MARCOS             SOLANO               CA           90010224738
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1477B588424B55   AKIL            SLADE                    DC           90011785884
14783A48991569   MANUEL          CARBAJAL                 TX           90014560489
14784546A76B33   LUIS FERNANDO   ALVARADO                 CA           90013945460
1478731994B588   BRANDON         KETCHUM                  OK           21509473199
1478793775715B   CHARRIESS       MCCUTCHEON               VA           90008969377
1478B359876B33   EDUARDO         JIMENEZ                  CA           90013943598
1478B685476B33   TONY            GUZMAN                   CA           90014826854
1479428997B489   JUAN            RANGEL                   NC           90013902899
14796356376B68   ADRIANA         SANCHEZ                  CA           46005233563
14796A1455B154   ADRIENNE        ALLEN                    AR           90008090145
147B112735B154   PRESTON         HARPER                   AR           90014791273
147B3952272B27   SEAN            RILEY                    CO           90010709522
147B495A491569   JAIME           CUARON                   TX           75000919504
147B7227A33699   LEE             BENNITT                  NC           90014702270
148126A6976B68   LUCI            LEON                     CA           90008156069
148146A2751337   GERALD          JOHNSTON                 OH           90002616027
14815458691B43   ASHLEY          HOOPER                   NC           90014454586
14817964172B27   LUIS            VENZOR                   CO           90013099641
14819172476B33   JOEL            RICE                     CA           90011881724
1481971594B588   CATRICE         THOMAS                   OK           90011107159
14821A81955976   ISRAEL          VARGAS                   CA           90011940819
1482245745B59B   IRIS            DURAN                    NM           90010944574
1482444425B59B   IRIS            DURAN                    NM           90010944442
14836588872B62   MISTY           CASILLAS                 CO           90010565888
14837958876B33   ELENA           GONZALEZ                 CA           90014579588
14843314A76B33   JOSE LUIS       AGUILAR                  CA           90012793140
1484393A391584   CARLOS          MARINEZ                  TX           90010459303
1484558227B489   BRANDI          BOURNE                   NC           90008415822
1484719A776B33   ANGELA          LOPEZ                    CA           46012881907
14847985872B27   JAYSETH         NEAL                     CO           90013099858
148527A374B588   DESHUN          JONES                    OK           21552937037
148539A4291263   NICOLE          ROBINSON                 GA           90010779042
14853A11631687   MAHOGANY        SAUNDERS                 KS           90009380116
14854782672B62   OSVALDO         MEDINA                   CO           90010247826
1485813A233B58   ERIKA           PARKER                   OH           90014131302
1485877185B154   SHARIA          HILLARD                  AR           90012717718
14859312772B62   KYLENE          VENABLE                  CO           90014803127
14862433A61938   ANA             PEREZ                    CA           90013794330
1487211745B526   BEATRICE        GONZALES                 NM           90009441174
1487433614B26B   DAVE            ELLIS                    NE           26084313361
148761AA55B154   APRIL           WHITE                    AR           90011201005
148796A474B26B   KIM             BORGAL                   NE           90006936047
1487B773176B68   JOSE            GACIA                    CA           46080087731
14885913972B27   AYECHEW         AMSALU                   CO           90014459139
1488B876261938   DAWN            LEWIS                    CA           46068028762
1488B96944B588   ROGER           EDMOND                   OK           90012269694
1489154779377B   JASON           CUNDIFF                  OH           90010325477
14893A69576B68   MARIBEL         LABRA                    CA           90002360695
148942A7A51337   NINA            BROWN                    OH           90012902070
14895A5155B526   JAMES           HARVEY                   NM           90014270515
14898398A76B33   JESUS           GARZON                   CA           90013173980
14899A65A72B62   CARLOS          BALDERAS                 CO           90012580650
148B377A77B489   LONNIE          LEAK                     NC           90013467707
148B6314A76B33   JOSE LUIS       AGUILAR                  CA           90012793140
148B7621372B27   ANA             RODRIGUEZ                CO           90011186213
148B9848455976   NOE ANTONIO     CHICAS                   CA           90008918484
1491586854B588   TRAIKEL         CHRYSTAL                 OK           90014758685
149182A8255976   ANNA            ALVAREZ                  CA           49001392082
14918498A5715B   MARIA           URREA                    VA           90012894980
14923492A4B588   TRACY           WHITTHORNE               OK           90010224920
1492564A67B489   JASMINE         ALEXANDER                NC           90011016406
14927233424B55   WALTER          GONZALEZ                 VA           90014252334
14927428172B62   JEOVANI         GONZALEZ                 CO           90010334281
1492757A176B33   JUAN DANIEL     PACHECO RAMIREZ          CA           90013955701
149291A7461938   PRISCILLA       BRIGHT                   CA           90014761074
1493265A67B489   JAVIER          FUERTE                   NC           90013796506
149435A5351337   DERRICK         FARELL                   OH           90011955053
1494774757B489   KAITAH          GBARBEA                  NC           90013017475
14948611876B33   DANIEL          ARREOLA                  CA           90012096118
14949897876B33   FRANCISCO       RAMOS                    CA           90000558978
1494B298424B7B   LINUS           TIBUI                    VA           90003932984
14951236A5B59B   DANIEL          PADILLA                  NM           90012372360
1495619435B526   HOLGA           LOPEZ                    NM           90012041943
1495B976424B55   THOMAS          SUMOWALT                 VA           81016819764
14963427676B33   JULIETA         SIORDIA                  CA           90007334276
14963A3A172B27   DENISE          RUIZ HERNANDEZ           CO           90013100301
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14964852172B62   PEDRO              CORTES               CO           90004888521
1496644594B588   MARY               HARPER               OK           90014664459
1496957224B26B   MATTHEW            ETHRIDGE             NE           90013155722
14969958876B33   ELENA              GONZALEZ             CA           90014579588
1497469655715B   FRANCIS            AGYAPONG             VA           90014056965
14981996876B68   IVETTE             CORONA               CA           90011379968
14981A77485932   CAROL              CLEMENS              KY           90007770774
1498946635715B   BAMBI B            COATES               VA           90013314663
1498B628955976   AIOTEST1           DONOTTOUCH           CA           90015116289
149921A7A9192B   SHANIECE           INMAN                NC           90001471070
1499546A672B27   ALISSA             ROUNDTREE            CO           90011094606
149954A6A8B832   SHANENA-MICHELLE   LINO                 HI           90014654060
149B1A51761958   CLAUDIA            ALEJANDRA            CA           90009790517
149B2625691549   MARIA              SOLORZANO            TX           90003936256
149B276495715B   MARIA              RIVERAS              VA           90010357649
149B4741576B68   JAMIE              DEBOLD               CA           46018147415
149B618834B26B   ANNISSA            KNIESTEADT           NE           90013581883
149B8757161958   CASTILLO           SANCHEZ              CA           90013197571
149BB529141384   COURTNEY           BENHAM               MA           90014245291
149BB79A376B68   JESSE              RAMIREZ              CA           90011117903
14B13A21572B27   BRANDON            GASAWAY              CO           90013090215
14B14A8954B588   AMBER              GLASS                OK           90014730895
14B153A654B588   AUSTIN             LARRY                OK           90011203065
14B1725155B154   SHARON             CORNICE              AR           90011902515
14B18615533699   ELIZABETH          THOMAS               NC           90014166155
14B18876755976   CESAR              MARQUEZ              CA           49080918767
14B18A5587B489   APOLINAR           SOSA                 NC           90012220558
14B18A6A676B33   LUIS               RAMIREZ              CA           90014870606
14B18A72461958   MELISSA            AVERELL              CA           90013450724
14B19479A7B489   JASMINE            PRICE                NC           90001874790
14B2118A757147   CHRISTIAN          KOUER                VA           90013001807
14B2275445B154   KARA               PARSLEY              AR           90011107544
14B2375695B59B   CRYSTAL            CATANO               NM           90013077569
14B2569475B526   GREGORIO           RANGEL               NM           90015206947
14B2595692B85B   WHITNEY            LEAVITT              ID           90014899569
14B266A8684399   MONIQUE            EDWARDS              SC           90014286086
14B26829433B95   MYA                IRIZARRY             OH           90014178294
14B28A1577B489   BRIAN              THOMAS               NC           90015020157
14B2B54945B59B   FREDDY             ROMERO               NM           90014555494
14B3126985B59B   ARCHIE             TRUJILLO             NM           90008922698
14B31947A7B489   SANTINA            SANDERS              NC           90012979470
14B3456895B59B   DANIEL             DUARTE               NM           90012185689
14B34764372B27   DANTE              MARTINEZ             CO           33093437643
14B35466276B33   MARIA              JIMENEZ              CA           90013094662
14B3586285B59B   CHRISTOPHER        LAW                  NM           90010558628
14B39169761938   SAUL               CANELA               CA           90010361697
14B39391776B33   JUAN CARLOS        ROMERO               CA           90013233917
14B39643576B68   JOSELINE           ZAMORA               CA           90010946435
14B42186A9379B   ERIC               ZIMMERMAN            OH           90005691860
14B42193691569   MARIA              TORRES               TX           90011891936
14B42312824B7B   JOHN               WILSON               DC           90010373128
14B4683445B59B   KAYLA              LUCERO               NM           90013328344
14B47115272B29   RAFAEL             SANDOVAL             CO           90012991152
14B47225A72B62   DAN                MEZA                 CO           33049012250
14B47516651337   LASHAUNDA          DENNY                OH           90011475166
14B47A73833699   SHANNON            TUTTLE               NC           90014050738
14B48358572B62   MICHELLE           DVURAK               CO           90014753585
14B49195A61958   RAUL               MEDINA               CA           90009061950
14B493A8791899   RANDY              GRAVES               OK           90013483087
14B49485376B33   FELIPE             ORTEGA               CA           90003774853
14B52111461938   ELIJAH             VIGIL                CA           90013961114
14B52A81976B33   MARTIN             WILLIAM MORALES      CA           90010960819
14B52A98172B27   CLAUDIA            MIRAMONTES           CO           33085620981
14B575A245B154   FIDENCIO           MAYA                 AR           90013555024
14B58267361958   MEREYA             ARELLANO             CA           46065552673
14B5855135B154   MELODY             BRANCH               AR           90014725513
14B59678A5B526   MICHEAL            HERRERA              NM           90002796780
14B6125A333699   FLORA              CLARK                NC           90014862503
14B61A38672B27   OMAR               GONZALES PADILLA     CO           90013090386
14B62812161938   PATRICK            MURPHY               CA           90013448121
14B629A2372B27   LENA               RAIBON               CO           33058219023
14B64398A55976   SURJEET            SEINGH               CA           90013593980
14B66131476B68   STEVEN             SHARP                CA           90013091314
14B66544776B68   CAROLINA           NAVA                 CA           90013155447
14B67A57155976   LEO                FLORES               CA           49076620571
14B6833887B489   STEPHEN            DOLNIAK              NC           90012623388
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14B68415261938   ANDREW         LOPEZ                    CA           90013034152
14B6881235715B   DONALDO        BUESO                    VA           90013938123
14B6896557B489   STEPHEN        DOLNIAK                  NC           90013359655
14B69379591263   LARENZO        WILLIAMS                 GA           90013823795
14B69A87457147   ISTMENIA       MORALES                  VA           90012880874
14B6B51165715B   YESSENIA       CARDOSO                  VA           90014135116
14B71575491569   DAVID          RODRIGUEZ                NM           90013965754
14B763A585B59B   RICO           LOPEZ                    NM           90011393058
14B776A145B526   ASHLEY         AYALA                    NM           90005536014
14B7955745B526   ERIC           CONTRERAS-RETANA         NM           90012475574
14B8627965B526   BONNIE         SPECTER                  NM           90010262796
14B87666957147   EDDY           TAMES                    VA           81039036669
14B8B939576B33   NANCY          MARTINEZ                 CA           90012999395
14B91135376B68   ERIKA          FLORES                   CA           90013091353
14B92576947956   KEITH          ANDERSON                 AR           90010975769
14B94618847956   DENNIS         COUGHRAN                 AR           90010976188
14B95556933699   JILL           FALLS                    NC           90014715569
14B9594837B489   SHARON         GRISSON                  NC           11082269483
14B96A86272B62   MICHAEAL       CHAPMAN                  CO           33008300862
14B98489433699   SHANNON        TUTTLE                   NC           90014184894
14B9992975B526   KENNETH        CHAVEZ                   NM           90008149297
14B9B999471967   AMANDA         RICHARDSON               CO           38043539994
14BB3747576B68   KAREN          HERNANDEZ                CA           90009507475
14BB3A83255976   RIGOBERTO      RODRIGUEZ                CA           90013660832
14BB462284B588   WILLIAM        PALMER                   OK           90010196228
14BB54A5176B68   CIRILA         RIOS                     CA           90010334051
14BB775AA5715B   YESENIA        GRANDE                   VA           90012337500
14BB77A3261958   TYLECIA        JACQUESS                 CA           90012497032
14BB9346397B69   AMY            DAVIES                   CO           39003823463
15113858A55976   GUADALUPE      CEDENO                   CA           90010828580
151163A4672B62   MONICA         MENDEZ                   CO           90008653046
1511816294B26B   DAVID          URCINO                   NE           90012201629
1511B754772B62   BETH           GAGNIER                  CO           90014087547
1511BA9245B154   CASIE          MORRISON                 AR           90009260924
1512119835B526   ROBERTO        MARTINEZ                 NM           90013531983
15122596A9373B   CRISSY         BAKER                    OH           90013495960
1512543AA72B62   JUAN           PEREZ                    CO           33044874300
151283A485B154   CEDRIC         GAITHER                  AR           90012783048
1513323964B26B   JAMES          WOHLGEMUTH               NE           90011392396
1513478349373B   LLAINE         ARIAS                    OH           90013487834
1513B336991895   ANDREW         ROCK                     OK           90014683369
1514B234591569   MARISELA       RIVAS                    TX           90013612345
1515198685715B   JULIO          ZABALA                   VA           90010749868
151595A9891569   ROBERT         DURAN                    TX           90014855098
1515B772155976   DARIO          CHAVEZ                   CA           90013007721
15163654272B62   SAM            SOUTHWORTH               CO           90014566542
151649A719373B   JERRY          HAYDEN                   OH           64507319071
151687A9991263   JEREMY         WILLIAMS                 GA           90013207099
151696A4891578   GILBERT        GARCIA                   TX           90002466048
1516B59647B489   TIFFANY        TEAGUE                   NC           11081485964
1517B823291569   DAVID          ESPARZA                  TX           75065638232
1518323A691569   EDUARDO        IBARRA                   TX           90012952306
1518377485B526   JERILYNN       WATRIN                   NM           90011197748
1518519437B489   BRENDA         LENOIR                   NC           90013981943
1518729997B489   LARRY          SPRINGS                  NC           90011132999
1518845677192B   KENDRA         DRIETH                   CO           32068644567
151969A274B26B   DEREK          NOTARO                   NE           26010129027
15197A54391573   RUBY           RAMIREZ                  TX           90012050543
1519B31217B277   PIA            COLEMAN                  NV           90015073121
151B1698A72B62   JOEL           GONZALEZ                 CO           90010666980
151B5858A55976   GUADALUPE      CEDENO                   CA           90010828580
151B6251791263   FATIMAH        ELLIS                    GA           90013552517
151B84A8791569   CRISTINA       MARTINEZ                 TX           90012184087
151B871335B526   ADAM           GURULE                   NM           90012787133
151B9A86972B62   RAUL           BARRON                   CO           90013210869
15211A82A7B489   RYAN           LEOPARD                  NC           90013290820
15212AA2936B52   BEN            COATNEY                  OR           90011180029
1521415235B338   PATRICIA A     CARMONA                  OR           90007201523
1521617985715B   ANA            SALGADO                  VA           81046411798
152161A354B588   CASSANDRA      FLENOY                   OK           90009061035
1521714755B526   MARISSA        PADILLA                  NM           90012381475
1521756199373B   PATRICIA       SULLIVAN                 OH           90010885619
1521977625B154   SHALANDA       REED                     AR           90002157762
1521B3AA95B526   BARBARA        PEREZ                    NM           35042493009
152231A955715B   TERRENCE       TAYLOR                   VA           90011021095
1522531955B526   ANNAMARIA      WILSON                   NM           90014953195
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1522B151491964   EDGAR          BLACKWELL                NC           90005441514
1522B883855976   CARA           STEARNS                  CA           90013058838
1523133945715B   CRISTIAN       ALVAREZ                  VA           90013423394
15232A2647B489   JERMAINE       GARRETT                  NC           90011620264
1523349A461958   GLADYS         OSUNA                    CA           90001764904
15233855272B62   ANTONIO        ALVARADO                 CO           33066528552
1523636294B588   TURISCH        HARRIS                   OK           90012843629
1523B734A5715B   RONALD         ESTRADA                  VA           90007427340
15246366A5715B   JOSE           GONZALEZ                 VA           90013423660
15256A35172B62   ALEXIS         SANCHEZ                  CO           90013770351
152576A575B154   TIFFANEY       THOMAS                   AR           90001056057
1525B842191263   AIREAL         SIMMONS                  GA           90012818421
1526291585B526   BERNARDO       LEMUZ-CEBALLOS           NM           90012129158
1526362664B26B   PRICILLA       SANCHEZ                  NE           90014436266
1527292A65715B   TAMIKA         QUANDER                  VA           81098449206
1527477535B154   ALDEN          PHILLIPS                 AR           90013527753
1528292357B274   ILDERONSO L.   RUBIO                    AZ           90014479235
1528485334B588   CHRISTIAN      GOMEZ                    OK           90012538533
1528662164B26B   LAURA          MCARTHUR                 NE           90009576216
15286885A61938   TYIESHA        JACQUETT                 CA           90011688850
15288929A91895   CARLTON        DAVIS                    OK           90014449290
1529191464B588   DONTAY         FRANKLIN                 OK           90014079146
1529599334B935   LISA           RANDOLPH                 TX           90012719933
1529834A44B26B   DIANE          GRANDEL                  NE           90012053404
1529BA2895B166   ESMERALDA      URCELAY                  AR           90006500289
152B1337691895   KENNETH        JONES                    OK           90014143376
152B2529755976   CHARMAINE      FRANKLIN                 CA           90011355297
152B455294B588   LETRICE        DAVIS                    OK           90003315529
152B882A472B62   MARYLU         CASTANERA                CO           33069718204
152B9417491569   YENNY          GARCIA                   TX           90013154174
1531142229377B   DAVID          SMITH                    OH           90009074222
153122A9957557   MANUEL         ERIVES                   NM           90006912099
15315421A4B26B   MELISSA        ENGLE                    NE           26029844210
1531961955B154   VILLANUEVA     GONZALEZ                 AR           90014046195
1531B12675B154   LESLAY         BERRY                    AR           23053771267
153216A754B26B   SADE           COPE                     NE           90011146075
1532551A55B154   KEISHA         VALENTINE                AR           90011035105
1532B389A57147   XIOMARA        CASTRO                   VA           90012943890
15332A21372B62   DAVID          BELL                     CO           90010600213
15334933A57147   LENDI          VALLEJO                  VA           90010949330
1533493534B555   MARCUS         REMPE                    OK           90011769353
1533493A15B154   KEISHA         DONMORE                  AR           23034719301
153351AA79373B   JASON          CARROZZA                 OH           90013711007
15336251872B62   MARCOS         LOPEZ                    CO           90002082518
1533B262A91569   MIGUEL         FLORES                   TX           90013142620
15352677A72B4B   MITA           MORALES                  CO           90009236770
15359A9385715B   LUIS           HERNANDEZ                VA           90010520938
1536114882B239   MICHEAL        SIMPSON                  DC           90001421488
1536149A897B69   RYAN           BULLINGER                CO           90001274908
15365A7314B26B   SAVANNAH       SMITH                    NE           26076660731
153667AA791885   SHASTA         SALYER                   OK           90005927007
15371A9AA91569   CINDY          DOMINGUEZ                TX           90012910900
1537271375B154   JOE            WALKER                   AR           90014867137
1537657A491569   LILIAN         VEGA                     TX           75059025704
1537793A761958   SOCORRO        ALEMAN                   CA           90014769307
1538121465715B   MEYLIN         TURCIOS                  VA           90010522146
1538518354B588   CECILIO        ESCARENO                 OK           90013611835
153856A7791569   HERNESTO       GONZALEZ                 TX           90014466077
1538B69435B154   TONY           DAWSON                   AR           90011036943
1539164474B588   TAJA           JONES                    OK           90003786447
1539267A44B588   LORETTA        THOMPSON                 OK           90010396704
1539313A461926   JESSICA        MARTINEZ                 CA           90007211304
1539486927B398   JOSE           DIAZ                     VA           90012618692
153B33A7761958   DONALD         HALL                     CA           90013703077
153B5141891263   GWANA          TORY                     GA           14507691418
153B6336461938   ANTHONY        DAVIS                    CA           90001553364
153BB31278B179   CAMI           SITTON                   UT           90001223127
1541355597B489   NATASHA        VIEUX                    NC           90014395559
1541421A491263   CHARLENE       SIMMONS                  GA           90014712104
15419A87457147   ISTMENIA       MORALES                  VA           90012880874
1541B4A3A72B4B   JUAN           GUERRERO                 CO           90011944030
1542397975B526   DESTINY        ROMERO                   NM           90008329797
15424A3A85B154   ATHENA         SIMON                    AR           90011610308
15425A37172B62   KRYSTLE        BADGETT                  CO           90013210371
15431A22672B62   DOUGLAS        QUACH                    CO           90012130226
1543597725B154   CANDACE        GIBSON                   AR           90014229772
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154379A554B588   JOSEPH         BROOKS                   OK           90014979055
1543917424B588   GEORGE         WILAON                   OK           90013051742
154396AA47B489   MARCUS         HALL                     NC           90013436004
1543987A557147   NICOLASA       MARQUEZ                  VA           81040598705
1544B42677B489   JAIR           DEVEREAUX                NC           90011134267
1545748AA57147   DANA           PERKINS                  VA           90010504800
1546788424B588   COURTNEY       PRIEST                   OK           21511988842
1546827115B526   AARON          PEREA                    NM           35088322711
15487A39157147   ADAM           TORRES                   VA           90007690391
1548874895715B   TINA           MWANAKITATA              VA           81091907489
1549876A65B154   SHAWN          ADAMS                    AR           90014287606
15499A51572B62   ANTONIO        PADILLA                  CO           90012060515
154B27A525B154   BRAD           ROTENBERRY               AR           90011037052
154B5732461958   JAHAIRA        RODRIGUEZ                CA           90013877324
154B5A98357147   JOSE           MARQUEZ                  VA           90010800983
15514A9347B465   TONI           STITT                    NC           90009590934
15518A9177B489   SHARIKA        ROBINSON                 SC           90013370917
1551B81355B154   ISABELE        RAMOS                    AR           90013528135
1552125454B555   BARBARA        WATKINS                  OK           90013222545
1552247787B489   SHARKARA       PETERS                   NC           90011134778
15532A3977B489   BRANDON        HALL                     NC           90014010397
155364A7A5715B   MIGUEL         NUEVA                    DC           90007524070
155365AA87B489   CHRISTOPHER    WALKER                   NC           90011135008
155394A7A5715B   MIGUEL         NUEVA                    DC           90007524070
155588A417B489   SHAVONDA       HARRIS                   NC           90015338041
1555944784B26B   MOZELL         RICHARDSON               NE           90013784478
15559955A91895   LORRAINE       ARZOLA                   OK           90008139550
1556362672B876   CHRISTOPHER    HALL                     ID           90007906267
15568348224B7B   WILBERTO       MENDEZ                   VA           90011783482
1556B629491569   ANTHONY        CRUZ                     TX           90010616294
1557218514B588   MOSES          RIVERA                   OK           90012541851
15572233624B4B   JONATHAN       CARTLEDGE                DC           90010682336
1557918594B588   PEGGY          LANDRUS                  OK           90012541859
1557B6A6A55976   ELIAS          CALIFORNIA               CA           49073326060
1558454775B526   GUSTAVO        PRECIADO                 NM           90007015477
15586628872B62   ANTWON         SPIRES                   CO           90007776288
155866A759373B   KENYOTTA       WILLIAM                  OH           90013496075
15587148A5B526   MARIAN         GONZALES                 NM           90014401480
1558B57177B489   DON            AGUILAR                  NC           90011075717
155912A424B588   ANTONIO        SANDOVAL                 OK           90012542042
1559236435B154   DANIELLE       PETERSON                 AR           23007113643
1559695494B588   MARIO          LOPEZ                    OK           90014249549
155B1176977529   CATRIONA       LANDAVAZO                NV           90003951769
155B257A861958   ALBERT         CASTRO                   CA           90010865708
155B2A48371982   MARTIN         LEDBETTER                CO           90011450483
155B36A944B588   JANEESHA       LEE                      OK           90014786094
155B525292B236   SAMUEL         URIOSO                   DC           81015922529
155B9323157147   NOEL           HERNANDEZ                VA           90012803231
155B9746391263   JOSHUA         FRIZZELL                 GA           90012567463
1561961394B588   MARY           FIELDS                   OK           90010416139
1561B74515B154   CORINA         PACHECO                  AR           90011957451
15624221A55976   RICHARD        GONZALEZ                 CA           90012502210
15628A93A7B489   FERNANDEZ      HUNTER                   NC           90012750930
1562941899373B   LASHANNA       MURRAY                   OH           90002354189
1562B61394B588   MARY           FIELDS                   OK           90010416139
1563B856731637   NATASIA        JOHNSON                  KS           90010968567
156425A8791569   ADRIAN         SARINANA                 TX           90013305087
1565135724B26B   RICHARRD       CROUSE                   NE           90014533572
1565272A79373B   MICHAEL        GALENTINE                OH           90008707207
15655946A9373B   DESMAND        HILL                     OH           90014779460
156588A585B155   PASCHA         WILLAMS                  AR           90011598058
156669A4A91895   DERICK         FOWLER                   OK           90014099040
1566B412672B62   YANELLY        CASTERON                 CO           90013734126
1566BA5AA9373B   BRIAN          POBST                    OH           90006510500
15672358944B23   KAYLEE         LANESE                   OH           90014173589
15674175A91569   LINDA          ARROYOS                  TX           90010131750
1567484955715B   ORDONEZ        ORDONEZ                  VA           90001568495
15678A2375B154   SHAREE         JEFFERSON                AR           90002470237
1567B99A45B154   ROBYN          GALBERT                  AR           90012029904
156811A5155976   CESAR          CHAVEZ                   CA           90013111051
1568293A44B588   RUBEN          FUENTES                  OK           90011499304
1568439489373B   TAMMY          TAGUACTA                 OH           90013353948
1568563337B489   ONDRE          STEVENS                  NC           90011136333
15685A58391964   EMILIO         SOLIANO                  NC           90010920583
15691A88655976   WENDELL        HUBBERT                  CA           90013700886
156922A217B489   MARKEISHA      TAYLOR                   NC           90009582021
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1569367744B588   DIANA          MORENO                   OK           90011486774
1569955654B588   GOERGE         MILLER                   OK           90013145565
1569B954772B62   BRITTANY       BARELA                   CO           90003109547
156B3175A9373B   SHERRICKA      COLEMAN                  OH           90013881750
156B443A561958   JOCELYN        JIMENEZ GANDARILLA       CA           90013494305
156B4475761958   YESICA         CHAVEZ                   CA           90011424757
156B5746161938   KELLY          HALL                     CA           46029017461
156B6552472B62   JAVIER         FRAUSTO                  CO           90010915524
156B9935491569   OSCAR          CHAPARRO                 TX           90008119354
15715797672B62   CARMEN         VASQUEZ                  CO           90005887976
1571642137B489   BRADLEY        ANDERSON                 NC           90014954213
1571693765B526   TYRONE         BILAGODY                 NM           90014569376
1571965AA91263   MICHEAL        WEST                     GA           90014946500
15723A4A791263   JJ             JJJ                      GA           90010590407
1572858685715B   JUAN           PABLO CARCAMO            VA           90006825868
15732194897B3B   CAMILO         ARELLANO                 CO           90001951948
15743A2977192B   MARCO          GRANADOS                 CO           90011160297
15752A21955976   VERICK         PHEANG                   CA           90011860219
1575541A991263   MARK           RICHT                    GA           90010594109
15756A84A5B154   DEBORAH        BASS                     AR           90011060840
1575939995B526   NORA           HERNANDEZ                NM           90009913999
1575B199A61958   GABRIEL        ALTAMIRANO               CA           46087481990
15767A8A661958   THERESA        BILLS                    CA           46009220806
157758A429373B   ANGEL          LOUGH                    OH           90014638042
1577B539A72B62   ANGEL          PEREZ                    CO           90015115390
15786369624B7B   VERONICA       MARTINEZ                 DC           90008373696
1578B19835B526   ROBERTO        MARTINEZ                 NM           90013531983
1579129949373B   DERICK         LOWE                     OH           90011372994
1579288A75B154   ELVIS          CLARKS                   AR           90011068807
157B5A5277B489   BRYAN          SHAW                     NC           90014580527
157B715877B435   KIARA          MURPHY                   NC           90011431587
157BB34997B489   LATOYA         JENNINGS                 NC           90014643499
158111A1731687   ALEJANDRA      ARELLANO                 KS           90011141017
15816A2754B53B   DERICK         SCOTT                    OK           90008700275
1581813536B262   RENAE          TAWNEY                   AZ           90011851353
1581B9A3355976   PAULA          HILL                     CA           49017899033
15822482272B58   MARCO          JIMENEZ                  CO           90012374822
1582716434B588   ALBERT         JACK                     OK           90015161643
15829461A5B154   MARIO          TREJO-VIZUETH            AR           90014324610
1582B254891569   JESSICA        BARAJAS                  TX           90012952548
1583346A25B154   ARTHUR         BURHAM                   AR           90006424602
1584724549373B   SHON           BROWN                    OH           90010012454
1585B282591569   NAVIL PALOMA   FLORES VAZQUEZ           NM           90014542825
1586919917B489   MAYRA          MARTINEZ                 NC           90013301991
15873A3844B26B   KAYLA          STORM                    NE           90011260384
1587729328B472   GWENNITTA      BANKS                    VA           90015142932
1587B59AA72B62   MICHELLE       CHACON                   CO           90012815900
15885A72261958   ALETHEA        KELSO                    CA           90014830722
1588862475B154   TIFFANY        WATSON                   AR           90012856247
1589321455B154   LADEIDRA       MOORE                    AR           90013622145
15894765324B7B   SUREE          BROWN                    DC           90012847653
158B11A1847956   DANE           KHILLING                 AR           90006781018
158B764989373B   DORIANE        DAWSON                   OH           90010746498
1591567334B26B   MELISSA        LEUTY                    NE           90010916733
1591847899373B   ANTOINETTE     TORY                     OH           90013344789
15919A5655B154   MARCUS         JONES                    AR           90014560565
1591B314357147   CARLOS         GUAMUCHE                 VA           90010053143
15921692472B62   OLIVIA         TIEH                     CO           90013046924
15922A53991895   ERIC           MASON                    OK           90012630539
159473A694B26B   RENEE          DONOHUE                  NE           90014083069
1595128279373B   MALCOM         KEITH                    OH           64540362827
1595256245B154   ANDRE          WALKER                   AR           90011085624
15952A4235B154   TASHA          AMOS                     AR           90013830423
159536A355B526   DIONNNE        DELVANN                  NM           90002296035
159539A484B588   TEMPEST        POWELL                   OK           90010629048
15957A4A391569   ERIC           DE ANDA                  TX           90010340403
1595984A64B26B   RAYANDA        DUBAS                    NE           90013108406
1595B122457147   MELISSA        DIAZ                     VA           90013551224
15967546272B62   SUSAN          BOUCHER                  CO           90015005462
1596B162957147   JOSE           UMANZOR                  VA           90000781629
1596B279891569   JOSE           CALVO                    TX           90013612798
1596B441155976   CHUE           YENG LEE                 CA           90011164411
1596B77132B236   HELEN          TSEHAY                   DC           90009757713
1597479464B588   ROBERT         POOL                     OK           90003967946
15974A4249373B   ROSETTA        MEBANE                   OH           90009840424
1597759385B154   ARIHANNA       STARKS                   AR           90013355938
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159B4632A57147   GILMAR          PEREZ                   VA           90012036320
159B8279891569   JOSE            CALVO                   TX           90013612798
15B13265357147   JOSHUA          KING                    VA           90011382653
15B2184544B555   SHUNRONTA       GRAVES                  OK           90003688454
15B22255272B62   DALTON          LONDON                  CO           90009752552
15B22653491263   CHIQUITA        STEWART                 GA           90014926534
15B2B22534B588   YESSICA         MARTINEZ                OK           90010082253
15B3335464B588   ERIC            MCKEE                   OK           90012933546
15B373A297B489   DERICK          GRANDBERRY              NC           90006203029
15B37517257147   JAIRO           PLATAS                  VA           90008435172
15B41396191569   MIRNA           GALAVIS                 NM           75013753961
15B42821A9373B   KHUONG          PHAM                    OH           90009718210
15B46A7897B426   MARTIN          YEPEZ                   NC           90012380789
15B48166791569   BRENDA          RODRIGUEZ               TX           90013121667
15B48A7679373B   ANDRE           EVANS                   OH           90013710767
15B48A77331687   AMBER           JACKSON                 KS           90014860773
15B4B22A35B59B   SALVADOR        CORONA-CHAVEZ           NM           90013942203
15B51175991263   MARLA           COX                     GA           90009951759
15B545AA791569   ARMANDO         JURADO                  TX           90011005007
15B5464787B489   DOROTHY         GRAY                    NC           90013096478
15B5518289373B   RICKY           HAWTHORNE               OH           90013641828
15B5664787B489   DOROTHY         GRAY                    NC           90013096478
15B5B49455B526   JULIA           RAMIREZ                 NM           90009464945
15B6317A791895   SCOTT           HOWELL                  OK           90001781707
15B66A39991895   MARC            BENNETT                 OK           90012630399
15B66A5A391569   MARTIN          LUEVANO                 TX           90013690503
15B69574491263   DEMETRESE       MULLIGAN                SC           90013925744
15B6B29574B26B   STEPHANIE       SNOOK                   NE           90013182957
15B6B47199373B   ALFRED          LEWIS                   OH           90014364719
15B72161961958   RUBY            DEVINE                  CA           90007571619
15B7235464B588   ERIC            MCKEE                   OK           90012933546
15B745A995B59B   LYDIA           LOPEZ                   NM           90014185099
15B795A434B26B   JUSTIN          SHANDERA                NE           26085415043
15B81A51371929   DANA            STARR                   CO           90012980513
15B82216124B7B   IKEA            DARMO                   VA           90014702161
15B824AA69373B   GREGG           JESSEN                  OH           90012384006
15B82A83491263   SHAQUAZ         COOK                    GA           90010530834
15B83134891895   KRISTEN MARIE   WILLIAMS                OK           90005541348
15B83255261958   MARA            REAVES                  CA           90002982552
15B84368A61958   TESEMA          MELKETO                 CA           90013533680
15B8439455B154   JAMES           HUNTER                  AR           90013483945
15B86614991263   SHAQUAZ         COOK                    GA           90011306149
15B8847127B373   HERMITA         PORTILLO                VA           90001704712
15B8B895691569   ADRIAN          MUNOZ                   TX           90012718956
15B9358127B489   CHEROKEE        PICKERING               NC           90006125812
15B9988659373B   JAN             SINGLETON               OH           90007158865
15BB9437491263   ALIAH           GREEN                   GA           90014694374
1612153A351337   CINDI           MYERS                   OH           90013045303
161243A9A55965   LIDIA           VERDUGO                 CA           90013963090
16125141A61976   NUBRINA         ESTEBAN                 CA           46056231410
16125557872B62   STEPHANIE       STEPHENS                CO           33076425578
1612585284B588   MESHELLE        FOWLER                  OK           90010948528
16125A4185B526   ANDREA          HOLMAN                  NM           90008700418
161275A319152B   MARI            GARDEA                  TX           90011775031
1613166A55715B   URANCHIMEG      ODGEREL                 VA           90009576605
1613331AA9373B   SHIAFA          DUGGER                  OH           90010993100
1613348559373B   SHIAFA          DUGGER                  OH           90012114855
161384A9531687   ELIJAH          CRABTREE                KS           90014764095
1614272175715B   JOSE NORBERTO   MACHADO                 VA           90006267217
1614349394B588   NORA            ANAYA                   OK           90010214939
1614B46A68B169   PETRA           PEREZ                   UT           90005684606
1614B621351542   KATRINA         COZAD                   IA           90014436213
16151852A4B588   JESSICA         PHEA                    OK           90007678520
1615351795B526   MARIBEL         ULIBARRI                NM           90011315179
161551A479373B   OHAIR           ROSCOE H                OH           90004561047
1615663A986463   SAMUEL          KNIGHT                  SC           90011316309
1615989565715B   RAUL            MOLINA                  VA           90011508956
161634A7191895   BRYAN           THURMAN                 OK           90011144071
16163AA3A61938   BRIANNA         ALONSO                  CA           46020210030
1616437689373B   KARA            FARMER                  OH           64594053768
1616847A955965   DEBORAH         QUALLS                  CA           90014324709
1616852635B526   REGINA          CHAVEZ                  NM           90009395263
1617697995B526   LORENZO         HERNANDEZ               NM           90011459799
16177459472B62   CLIFF           CHO                     CO           90013164594
16181A45172B26   RUFUS           NAGEL                   CO           33091990451
16184267A61958   JUAN            MUNGUIA                 CA           90009122670
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161867A515715B   SANDRA          BLUE                     VA           90008347051
1618767A64B588   ROBINSON        ADRIEN                   OK           90012866706
1618855955B255   KEVIN           DELK                     KY           90000145595
1619212795B526   ANTONIO         DELGADILLO-LOERA         NM           90014441279
1619252744B26B   KELLY           REA                      NE           90007985274
1619492A957147   PAULO           RAMIREZ                  VA           90012109209
1619551968438B   LASHAUN         MOORER                   SC           90009625196
161B2698761976   DANIELA         HERNANDEZ                CA           90013726987
161B3786355965   CRAIG           REGIS                    CA           90013567863
161B78A5191895   MARTCHELLO      FILEDS                   OK           90013348051
16214273A4B26B   TONIA           MURRAY-JACKSON           NE           90004782730
16215A71757147   MIRNA           ESCOBAR                  VA           90006330717
1621635414B588   BRANDY          LIVINGSTON               OK           90014333541
16216A47772B62   JUSTIN          LAWSON                   CO           90011150477
1621888365715B   DELMI           FUNES                    VA           90004838836
1622551535B526   MIGUEL          TOVAR-MALDONADO          NM           90013615153
1622555365B129   TABITHA         HOLLISTER                AR           90007815536
1622B19355B154   TIMOTHY         SUMMONS                  AR           90002041935
16232859A55976   ELVIRA          JIMENEZ                  CA           90012878590
1623925915B526   DANIEL          DORADO                   NM           90013982591
16239478A72B62   STACI           BLISS                    CO           90012904780
1623BA3115B154   EDMOND          DUKES                    AR           90012660311
162441A2224B55   PALESTINE       CROSWELL                 DC           90015211022
162465A9661938   NOHRA           VALENCIA                 CA           90010765096
16246A7887B445   TERRY           BLACKMON                 NC           90011170788
162515AA957147   SANTANA         VIGIL                    VA           90013655009
16257361624B55   TERRANCE        BLAND                    DC           90012993616
1626116364B588   HEATHER         REDWINE                  OK           90012041636
1626278945715B   THEA            PAILMA                   VA           90011397894
16266A91557147   AYANNA          MITCHELLE                VA           90007240915
1627217645715B   ASTER           NEGUSE                   VA           90013261764
1627488275B526   DONNA           SALAS                    NM           90013998827
162773AA455965   VIRGIL          MOORE                    CA           90013333004
1627792139373B   BRANDON         FINKS                    OH           90008809213
1627B37984B588   CHERRYL         HURD                     OK           90011023798
1628356815715B   LIYUWORK        TEGEGN                   VA           90012605681
16287129424B7B   MARIA           ESPINOZA                 VA           90010641294
1628737A933B32   GUSTAVO         FLORES                   OH           90014693709
1628B283551337   CHRISTOPHER     JONES                    OH           90011232835
1628B53514B588   RACHAEL         CAMBRON                  OK           21537965351
1628B857261938   LUZ             DIAZ                     CA           46081168572
1629341347B323   VANESSA         FLORES                   VA           81049394134
162B1266A9373B   SUNIL           AGGARWAL                 OH           90011952660
162B2196161958   RENEE           RAMIREZ                  CA           90015071961
162B6112391895   LEE             BAO                      OK           90010911123
162B7314861976   ALAN            GOMEZ                    CA           90014723148
162B796A25B526   JORDAN          CLAUSS                   NM           90011849602
162B81A2261987   JOSE            MOSQUERA                 CA           46077661022
162B9848991263   ERIN            RICE                     GA           90013028489
162B9915A47956   MARISSA         GILCREASE                AR           90014179150
16312A58191569   LEYVA           LUPE                     TX           90010320581
1631BA82372B62   ROGERS          RACHAELLE                CO           90011330823
1632178A59379B   CHRISTALINE     GLENN                    OH           90009097805
16325A85A4B588   LATISHA         GARCIA                   OK           90011170850
1633255265715B   RICHARD L       LYELL                    VA           90014115526
1633835824B588   OLAF            PINEDA                   OK           90014473582
1633933729373B   HOPE            ESKEW                    OH           90008633372
1634127A272B62   JUDY            POLANCO                  CO           90012352702
1634326A457147   TERRI           SMITH                    VA           81001302604
1634653A351337   CINDI           MYERS                    OH           90013045303
16347435172B62   DERRICK         OGMAN                    CO           90012634351
163486A8161938   JAVIER          GAZTELOM                 CA           90007226081
1634B18135715B   SHERRY          GRUENDL                  VA           90013841813
16359861672B84   RENATO          BALDERAS                 CO           90001528616
1636628415B154   MERCEDEZ        HENDERSON                AR           90005982841
1637413964B588   TODD            DICK                     OK           21580721396
1637972315B129   RAY             LEWIS                    AR           90008677231
1638291295715B   LEXTINA         COATES                   VA           90011919129
1638367535B154   NICHELLE        TAYLOR                   AR           90011406753
1639289859373B   DEBRA           MOORE                    OH           90013628985
1639366984B588   JOSE            MARTINEZ                 OK           90012426698
1639636144B565   CHRISTOPHER     DEBERRY                  OK           90011203614
163B1498755965   FRANCIS         SALAS                    CA           90012374987
163B567297B388   LORENA          BAUTISTA                 VA           81051676729
163B5976772B62   JOSE            LUGARDO JORGE            CO           33010439767
163B5997261938   ERIC            MIZRAHI                  CA           90013139972
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163B6776791263   HECTOR          GONZALEZ                 GA           90012647767
163B7663691263   CHRISTOPHER     GRAVES                   SC           90013156636
163BB19125B154   JAMARE          BENNETT                  AR           23041231912
164131A7791895   KYLE            FOSTER                   OK           90012431077
16415A14972B62   ERASMO          RAMOS                    CO           90010740149
16419A65891263   DRU             HARVILLE                 GA           90014430658
164229A7657147   PAULO           PAZ CHAVEZ               VA           90003879076
164265A4391263   LAVOCIA         PERRY                    GA           90011355043
1642974234B588   CHRISTINE       WEBBER                   OK           90001297423
1643313754B588   ROBERT          NICHOLSON                OK           90013541375
16434934A61976   JESUS           CARREON                  CA           90007319340
1643647275B268   REBECCA         CHEEKS                   KY           68047354727
16441341A91895   ADAM            PEARSON                  OK           90012193410
1644449884B26B   KATHERINE       MCDANNOLD                NE           90009244988
164479A8585876   ANNETTE         JACOBS                   CA           90003649085
1644933685B526   LUCIANO         REYES                    NM           35028093368
1644B117355965   JUSTIN          LASALDE DODSON           CA           90014231173
1644B236231687   LYNTIECE        MURRAY                   KS           90014792362
1645164A561958   ROGELIO         VAZQUEZ                  CA           90013356405
164611A9861976   ANTHONY         GOODWIN                  CA           90011381098
1646363174B588   CORA            BOYKINS                  OK           90010826317
1646568615136B   THOMAS          NOBLE                    OH           90011426861
164696A4A91895   KATHY           HAAS                     OK           90009766040
164735A114B588   SHILOH          HOLT                     OK           90014855011
16477419A54122   JOSEFINA        BOCANEGRA                OR           90012184190
1648184385715B   JOSE            MEJIA                    VA           90010778438
1648676824B588   VERONICA        RIOS                     OK           90012337682
1648691275B154   DENISE          GRAYDON                  AR           90014509127
164869A3391569   KENETH          QUINONES                 TX           90011169033
1648B26814B588   TERESA          SELLERS                  OK           21589322681
16493A23555976   CRISTIAN        LOPEZ                    CA           90012920235
164972A4357147   CARLOS          CARRANZA                 VA           90013122043
164B134995B154   RENETTA         SMITH                    AR           23090113499
164B3578957147   OCTAVIO         GOMEZ                    VA           90009025789
164B66A795715B   DANIEL          GARCIA BATRES            VA           90014736079
1651284A191569   JACQUELINE      ALONSO                   TX           90013638401
16513977A91263   ROBERT          WILLIAMS                 GA           90012849770
165225A4191569   LETICIA         NAVARRO                  TX           75007035041
1652365375715B   BOBBY           SINGH                    VA           90012916537
16527829A51337   ALFRETTA        PEAK                     OH           90013738290
1652946A161976   JOSE            SANTOS                   CA           90012744601
165367A6761958   JAMES           DAVIES                   CA           90013337067
1654596119373B   JARIA           GRAY                     OH           90013719611
1654646184B26B   KEVIN           DELKA                    NE           90011884618
16548A41461934   JORGE           DEL PRADO                CA           90012590414
1655129AA5715B   WILMER          MORENO                   VA           90012192900
1655284695B154   LATOYA          JORDAN                   AR           90014318469
1655318194B565   MELVIN          SWAN                     OK           90011211819
1655336A85715B   ROGER           ORTIZ                    VA           90013923608
16557664A91895   AMY             RIETHER                  OK           90014526640
16558AA235B129   MONTA           ROBERTS                  AR           90004740023
1655B924291569   JOSE ANDRES     ROSALES                  TX           90012319242
1656396685715B   REBECCA         KINY                     VA           90011049668
1656582312B863   BRENT           RUSKA                    ID           90011258231
1656B55837B45B   LATITIA         ADDISON                  NC           90009755583
1656BA33861938   HERIBERTO       ABARCA                   CA           90013010338
16572188A57147   EMFEMIO         PINEDA                   VA           90011101880
165726A7161938   MICHELLE        JOHNSON                  CA           46097136071
16579331933B95   SOPHIA          HENDRIX                  OH           90014393319
1657B86575B526   EFRAIN          FLORES                   NM           90010668657
16582AA5255965   JOANNA          SALCEDO                  CA           48040190052
1658757329373B   CHRISTINA       SNYDER                   OH           64535585732
1659119339373B   ASHLEY          JOHNS                    OH           90008371933
1659124715B154   ANTHONETTE      BARRON                   AR           90008012471
16595A6A661976   ANGEL           LOPEZ ROBLEZ             CA           90014850606
165974A3551337   DEBORA          SMITH                    OH           90014714035
1659B794857569   MAEGAN          GARCIA                   NM           90014627948
165B1A83591895   SHANEL          BOWMAN                   OK           90010270835
165B292215B526   CHRISTINA       MAESTAS                  NM           90012369221
165B68A365715B   MELISSA         VELASQUEZ                VA           90014708036
165B8947561958   ANGEL           CUADRA                   CA           90012359475
165BB578857147   ANA             CAMPO                    VA           81064735788
165BB918261958   BLANCA          GALLARDO                 CA           90011149182
16612A6A661976   ANGEL           LOPEZ ROBLEZ             CA           90014850606
16613A12155965   RANDY           CUNNINGHAM               CA           90014180121
166147A6957147   HUGO            SEGOVIA                  VA           90012747069
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1661B551247956   THERESA         HAYNES                   AR           90010625512
16622AA8161976   BLANCA          BALLESTEROS              CA           46012130081
1662611A157147   HAIDER          ALSHUJIRI                VA           90012081101
166277AA94B588   KIMBERLY        FRANKLIN                 OK           90010297009
16631A7215B526   ROBERT          DANDY                    NM           90013860721
1663259155715B   NATALY          OSORIO                   VA           90014815915
1663489859373B   DEBRA           MOORE                    OH           90013628985
16637A88331962   PEDRO           GEMARTINO                IA           90014430883
1663B717561938   ROSY            GARCIA                   CA           90010347175
166419A4461938   JOSE            GONZALES                 CA           90011779044
1664582A657147   MANUEL          PALACIOS                 VA           90010028206
166517A7A4B588   PATRICE         APPLEWHITE               OK           90013677070
16652A7575B154   JAMAL           BAKER                    AR           90005990757
166583A265B526   CELSO           SALAS                    NM           90011003026
16661815A72B62   JAMIE           HENRY                    CO           90014668150
166649A5155965   SHERYL          JONES                    CA           90003949051
1666942984B582   JUSTO           GRAMAJO                  OK           21583374298
1666B235861976   JUAN            TOPETE                   CA           90013522358
1667122974B576   MACK            THOMAS                   OK           90008592297
1667278444B588   ROBERT          GREENE                   OK           90010967844
1667417929373B   TEIA            BANKSTON                 OH           64567821792
1667419165715B   TOMAS           PABLO                    VA           90015111916
16674814A61938   LUIS            CRUZ                     CA           46017898140
1668126425B154   JAVON           BROWN                    AR           90013492642
16682537A31687   MICHELLE        OPDYKE                   KS           90014805370
16683568A2B242   CHRISTINE       SANDERS                  DC           90012285680
16684A1A95715B   JOE             SIMTH                    VA           90013080109
16685971A72B62   HUMBERTO        VAZQUEZ                  CO           90012679710
1668655855715B   ALBERTO         SOSA                     VA           90013495585
1669152442B89B   ANNE            WILSON                   ID           90005995244
1669179434B588   CARLA           JONES                    OK           90010967943
16693AA6847956   SHANIKQUA       RELEFORD                 AR           90008790068
166B2772A47956   ROSA            CASTELLON DE MENJIVAR    AR           90011957720
166B3348957147   TIRUFAT         ADANE                    VA           90013483489
166B3654591569   DIEGO           MILLER                   TX           90012826545
166B4628755965   KAMILLA         ORTIZ                    CA           48079446287
166B7726847956   BRANDON         OLDHAM                   AR           90012347268
166B7773161938   JOANNE          SANCHEZ                  CA           90011907731
166B92A2161938   REBECCA         GAINES                   CA           90006042021
16711548A57147   CARMELO         CHAVARRIA                VA           90006485480
16723A1A95715B   JOE             SIMTH                    VA           90013080109
16724272A5715B   AHMED           JAMA                     VA           81025232720
16725337A57199   DION            HOGAN                    VA           90008413370
1672643845B154   MICHELLE        COTTRELL                 AR           90014664384
16727181A57147   MARVIN          SANTAMARIA               VA           90012591810
1673384195B526   DEMIATRIS       JONES                    NM           90009968419
1673834475B154   ARIC            TURNER                   AR           90013433447
167385A3591569   LUCIA           CERVANTES                NM           75044205035
1673B338861938   JAIME           MONCADA                  CA           90011783388
16745191386B96   CHARLIE         BURGER                   CT           90014101913
1674831235B154   NATASHA         BLACKMON                 AR           90014083123
16751363424B7B   JEREMIAS        HERRERA                  DC           90012503634
1675938969373B   JOSHUA          HART                     OH           90011003896
1675BA8695B526   CAROLINA        GUTIERREZ                NM           90014520869
16761A19555965   DIANA           VERA                     CA           90011850195
1676268825B229   ABDEL           PEREZ                    KY           90012456882
16764344A91569   MARIO           GONZALEZ                 TX           75044203440
1676466315715B   JUAN            NAVARRETE                VA           90012446631
1676976747B489   ELVIRA          VILLAREAL                NC           90013197674
167728A244B536   JATONA          CHESTER                  OK           90008508024
1677563615715B   JOSE            LOVO                     VA           90007546361
1677661A855976   DANIEL          BAILEY                   CA           90011276108
1677729454B588   DADRIN          BAILON                   OK           90015172945
16777A3839373B   RAYVAUGHN       EDWARDS                  OH           90014370383
1678338864B588   DANIEL          COURTNEY                 OK           90014103886
1678475A69373B   RACHEL          YOUNGER                  OH           90013817506
1678617982B89B   EZEQUIEL        HERNANDEZ                ID           90005861798
167894A4561958   JUSTIN          GIRARD                   CA           90013024045
1678971155715B   PAOLA           ESTREMERA                VA           90009527115
1679924534B588   JOSEPH          ASHRY                    OK           90014702453
1679B554291569   IVAN            MUNOZ                    TX           90009725542
167B255855715B   ALBERTO         SOSA                     VA           90013495585
167B35A5191569   ANGELICA        LOPEZ                    TX           90007675051
16811A93961976   SALVADOR        ESCAMILLA                CA           90010200939
16811A96A51337   DAMEKA          KESLER                   OH           90007240960
168122A2191895   COZELL          DONALD                   OK           90009472021
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1681835A261958   MICHAEL        PUMPHREY                 CA           90013083502
168229AA555965   BEATRIZ        LIZAMA                   CA           90010369005
16822A7294B588   ARACELI        WRIGHT                   OK           90007340729
16825767A61958   KENNETH        LEWIS                    CA           90000627670
16829541A85999   CONNIE         STOLZ                    KY           90000445410
1683223865B526   PATSY          ARMIJO                   NM           90012442386
1683518314B588   LATECIA        HILTERBEAN               OK           90010881831
168357A1647956   DANIELLE       SHERRIL                  AR           90014717016
1683766619373B   LOIS           MORRIS                   OH           90013666661
168387A1647956   DANIELLE       SHERRIL                  AR           90014717016
1684246AA55976   DANIEL         TELA                     CA           90014174600
16843274A61976   MARCO          TAPIA                    CA           90011442740
1684349915B526   DONALD         POINTS                   NM           90013004991
16846719A57147   JULIA          RODRIGUES                VA           90014687190
1684737A75715B   JULIO GOMEZ    JUAREZ                   VA           90013853707
16852675A72B62   RICKEY         BENSON                   CO           90014566750
16855A47461938   RUTH           CHAVEZ                   CA           90012810474
16856476A91263   CARRIE         SIMMONS                  GA           90014024760
16861A36755999   VERONICA       LEMUS                    CA           90010790367
1686251555B526   EVONNY         MONGE                    NM           90013615155
16865827A57147   CASSAUNDRA     JOHNSON                  VA           90001638270
1687316A15B154   TERRI          GAINES                   AR           90013701601
1687361217B423   AMANDA         FISH                     NC           90010766121
1687699614B588   CHYNA          LUCAS                    OK           90014719961
16877A22A72B62   BERNIE         MIMS                     CO           90003910220
16878114972B62   AMBER          LADEHOFF                 CO           90010891149
16878557272B62   NIK            LACOSTE                  CO           90012825572
16879417A91569   DEIDRE         PORTILLO                 TX           90011484170
1687B26A85715B   MARIO          MARCOS                   VA           90006352608
16883AA888B574   NORA           MANRIQUEZ                CA           90014170088
168867A5861958   NAYELI         MEDINA                   CA           90014407058
16887AA948B574   GUADALUPE      HUERTA                   CA           90014170094
1688B259A55965   ISAAC          DAMON                    CA           90013062590
1688B324691263   LEONARDO       TRUJILLO                 GA           90013933246
1688B64229373B   CINDERALLA     LOWE                     OH           90008916422
1689299958B574   GUADALUPE      HUERTA                   CA           90014169995
1689816735715B   JOSE           ESTEBAN                  VA           90013511673
1689B25487B489   NAP            PUIH                     NC           90007482548
1689BAA845715B   OLGA           FUNES                    VA           90011920084
168B4299591263   DARMAN         TANKSLEY                 GA           90014582995
168B6688747956   TELESHA        MCKINNEY                 AR           90013996887
168B7935961938   ALEJANDRO      AYALA                    CA           90012299359
168B982A147956   LORI           THOMAS                   AR           90014708201
168BB455861976   LORERNA        CORONA                   CA           90012754558
168BB597872B62   JANET          SALAS                    CO           90013105978
168BB75A69373B   RACHEL         YOUNGER                  OH           90013817506
168BB863951337   TONYA          BAILEY                   OH           90011568639
1691247714B588   CHAVONNE       DIXON                    OK           90009824771
1691254595B526   LUZ            MORA                     NM           35001315459
169125A8547956   ELIZABETH      SMITH                    AR           90013675085
169139A6455976   ADRIANA        SILVA                    CA           90013219064
169185A8547956   ELIZABETH      SMITH                    AR           90013675085
169266A4A5B154   SANDY          WILLIAMS                 AR           90012196040
16928A73872B62   MANI           POWERS                   CO           90007100738
1692B731291895   HORALIA        GARCIA                   OK           90012997312
1692B837847956   ADAM           ROBINSON                 AR           90014728378
1693155A791569   CECILIA        HAMMONDS                 TX           90008595507
169373A4155976   CARLY          BANKS                    CA           49081343041
169386A975715B   WILLIAM        ROMERO                   VA           90013046097
16938A67372B62   PATIRCIA       ADAME                    CO           90010670673
1693B49215B154   DEMETRICE      BREWSTER                 AR           23086164921
169418AA62B89B   CHRIS          FRAGA                    ID           42078898006
16941A7594B543   MICHAEL        JACKSON                  OK           90010600759
1694354472B89B   ERIKA          CEDILLO                  ID           90005975447
16943774172B62   LINDA          MENDOZA                  CO           33072107741
1694883839152B   EDGAR          ROBINSON                 TX           90011328383
1695233A75B154   ANDREA         LEWIS                    AR           90013333307
1695243255B385   GLORIA         SOTO                     OR           90010544325
16952669624B35   NELSON         MEJIA                    VA           90004256696
1695289A755976   ALEJANDRO      CORTES-NUNEZ             CA           90012878907
1695487A161976   EDGER          GILBERT                  CA           90013608701
16963A19857147   LAWSON         LAWSON                   VA           90007750198
169683A7761976   LOURDES        LARA                     CA           90013183077
16969575A91895   RACHEL         HERRERA                  OK           21082695750
16971464A91885   WENDY          ZIMMERMAN                OK           90007854640
1697461195715B   LUIS           AYALA                    VA           90014746119
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1699353A355976   SIA            XIONG                    CA           49054305303
169943A2291895   SHONA          SAMUELS                  OK           21026313022
16994579A91263   SAMANTHA       JOHNSON                  GA           90014855790
1699516215715B   AXEL           RIVERA                   VA           90013861621
169B3194761938   JUVENTINO      TEPEXPA                  CA           90012921947
169B397975B526   DESTINY        ROMERO                   NM           90008329797
169B4184655965   BIANCA         ALLES                    CA           90009501846
169B4697751337   SONJI          CARRADINE                OH           90012566977
169B6583A91895   ELIZABETH      CHAIREZ                  OK           90013355830
169B9614891895   ROBIN          CORMIER                  OK           90000576148
169B9615491263   NATHANIEL      ATES                     GA           90013586154
169BB41255715B   JOSE           JIMENEZ                  VA           90014124125
16B11478957147   ARACELY        GUZMAN                   VA           90010334789
16B12924A61938   TOBIAS         MICHEL                   CA           90013059240
16B1319842B282   LASHONTA       WARD                     DC           90014701984
16B14575231687   ADAM           CURTIS                   KS           90014745752
16B1673923196B   DABRIELLE      DIXON                    IA           90013197392
16B23363A72B62   SARA           SHIRLEY                  CO           90013013630
16B23A92572B62   RICHARD        HILTON                   CO           90010740925
16B24325A5715B   ANNETTE        KUPRENAS                 VA           90012463250
16B2672AA3B368   TARRY          CLEVELOND                CO           33023707200
16B26A8545B154   TAERONYE       SMITH                    AR           90012490854
16B27791A47956   AMBER          DAVIS                    AR           90014107910
16B29A83361976   CHRISTIAN      MURILLO                  CA           90010370833
16B3121135B154   ERIN           VICKERS                  AR           90010472113
16B32213161958   WILFREDO       QUEZADA                  CA           90013862131
16B32791A47956   AMBER          DAVIS                    AR           90014107910
16B35663551337   LORI           UTLEY                    OH           90011986635
16B37593472B62   OFELIO         CATARINO                 CO           90011865934
16B37A1375715B   CLAUDIA        PICADO                   VA           90011490137
16B42A86791263   KRYSTALL       GRUBBS                   GA           90013350867
16B43832661976   PAULA          DIAS                     CA           90001978326
16B4558A391263   MURRAY         TROUP                    GA           90010485803
16B4665375715B   BOBBY          SINGH                    VA           90012916537
16B46A73872B62   GLORIA         AMOAKO                   CO           90011330738
16B54449172B62   MICHAEL        BEAVERS                  CO           33045684491
16B5638265715B   VILMA          VENIS                    VA           90012213826
16B56845461976   JAMIE          CAMPANELLI               CA           90012668454
16B5832649373B   JEFFERSON      LATOYA                   OH           90010953264
16B65279757147   DANIELE        SALDEIRA                 VA           90014442797
16B6537A391263   LASHAWNA       PALMER                   SC           90011423703
16B6538A861958   MARCELLO       HUBBARD                  CA           90014063808
16B7131A272B62   BRITTANY       CHANEY                   CO           90011203102
16B72424855965   JORGE          VALENCIA                 CA           90007884248
16B75744361998   JASMINE        RAMOS                    CA           90011137443
16B76A79991895   EVERARDO       LOPEZ                    OK           90010750799
16B79892155965   ADRIAN         SIFUENTES                CA           90014158921
16B82618872B62   ALBERT         JEFF                     CO           33080946188
16B829A3A91895   ANA            SAUCEDO                  OK           90015089030
16B84A36157147   PAULINO        ECHEVERRIA               VA           81073090361
16B88A69761976   MYEISHA        BESS                     CA           46004110697
16B89299957147   TAMMY          MEKONNEN                 VA           90011252999
16B94484357147   DOMITILA       OSEGUERA                 VA           90000344843
16B96964272B62   DANA           MAY                      CO           90014129642
16B977A5491569   MARINA         AGUILAR                  TX           90011317054
16B97A6515715B   OSCAR          GONZALEZ                 VA           90012680651
16B98684991895   RICHARD        MAXEY                    OK           21039076849
16B98A94155976   AURORA         HERNANADEZ               CA           90011270941
16B9B88867B489   KATIE          BROOME                   NC           11083298886
16BB3275157147   LARRY          COON                     DC           90012902751
16BB435825B526   FRANKIE        ZAMORA                   NM           35005533582
16BB57A8191895   RON            FORESMAN                 OK           90014527081
16BB614355B154   WHITE          DARRYLRISHA              AR           23012281435
16BB6937347956   MARIA G        DEL RIO                  AR           90010449373
16BB957915715B   AMINATA        KARGBO                   VA           81033235791
17111A12961976   TROY           TART                     CA           90009960129
17123281272B62   JEANNETTE      GOMEZ                    CO           90011502812
17124A79777539   GUSTAVO        CARRILLO                 NV           90011800797
1713332655B526   TRICIA         SALAZAR                  NM           90007453265
1713679184B26B   LUCAS          LEET                     NE           90014727918
1713745875B526   TODD           BONE                     NM           90013834587
17139795472B23   ARSENIA        HERNANDEZ                CO           90012637954
1713B277691588   ROBERT         WILSON                   TX           90006632776
17142242A72B62   JOSE           CATALAN-CARDENA          CO           90011912420
1714512314B26B   DEUNTER        JOHNSON                  NE           90013831231
171475A6861986   JEANETTE       ELIAS                    CA           46067665068
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1714813949373B   JACQUELYN      FINLEY                   OH           90013391394
1714B31A591588   LUIS           MORALES                  TX           75061213105
171558A7161976   MARIA          CAMPOS                   CA           90012678071
1716286684B588   LISA           PETERSON                 OK           90012968668
17162A55357147   ADRIAN         AVALOS                   VA           90012670553
1716631A84B26B   CLARICE        WEILER                   NE           90010113108
1716668614B588   WYLEAH         CUBIT                    OK           90010076861
17167279A91263   ANTONIO        SCOTT                    GA           90006782790
1716847524B588   KIMBERLY       HUGGINS                  OK           90011444752
1716B311491588   SHANNON        HULS                     TX           90013983114
1717B245855976   PAYING         MOUA                     CA           90011072458
1718156955715B   FAHIM          FAQIRI                   VA           90012925695
17187A6455B154   TRISHA         BLAIR                    AR           90014290645
1718943A64B588   EMMA           TIGER                    OK           90015194306
1719184374B26B   TERESITA       NAVA                     NE           90013038437
17195354A47956   VANH           INTHAVONGSA              AR           90014853540
1719652154B26B   CURTIS         BUSH                     NE           90010495215
17197A75991895   RICARDO        PAYTON                   OK           90013710759
171B589735715B   ERIC           KNEECE                   VA           90013018973
171B628A84B588   REBECCA        GILL                     OK           90010952808
171B6A94591569   AMANDA         ROJAS                    TX           90009410945
171B7682291588   ROSA           ROBLES                   TX           90011996822
171B8862361958   YVONNE         MONTAÑO                  CA           46016728623
171BB1A9861976   HILDA          GARCIA                   CA           90012841098
17214A5458438B   VERNON         TRAPPER                  SC           90009180545
1721633274B26B   ANDREW         WATSON                   NE           90015233327
1721BA69747956   LAURIE         LOLLIS                   AR           24036360697
1722237915B154   CURTIS         RIDEOUT                  AR           90014623791
1722557774B26B   NICOLE         SCHROEDER                NE           26017745777
1722558985B154   SHIMEKA        HAIR                     AR           90001425898
1722928119373B   LETA           GALLOWAY                 OH           90010882811
1722B7A5A72B43   JESUS          MACIAS                   CO           90009197050
1723523535715B   RENARDO        PATRICK                  VA           90014542353
172354A745B526   KRYSTAL        CASTILLO                 NM           35072024074
1723974539373B   BRIAN          ALLEN                    OH           90013187453
17241911472B62   VERONICA       SCHIWART                 CO           90013819114
1724297954B26B   THOMAS         JOHNSON                  NE           90014629795
1724383815B154   KENDRICK       CHRISTOPHER              AR           90015158381
172465AA191588   EDGAR          LICON                    TX           75089885001
1724868285715B   CLEFE          UREONA                   VA           90002106828
1724B671A55976   JUAN           BARAJAS                  CA           90011366710
17251357A5715B   MILLION        BERHANE                  VA           90015123570
17253A92447956   RACHEL         OCHOA                    AR           90014860924
17257A96461976   MOISES         RAMOS                    CA           90012240964
17259368A55938   DAVID          CABRERA                  CA           90013373680
1725BA5172B234   RAMOS          RIGOBERTO                DC           81019910517
1726324197B489   RICKY          JACKSON                  NC           11041742419
17268833924B48   ASHLEY         WISEMAN                  DC           90008438339
17277262A5B526   JACOB          FENDER                   NM           90007762620
172779A4A9373B   ANTHONY        HARRISON                 OH           90013719040
17278A1565715B   OSCAR          ALVAREZ                  VA           90014160156
1727985434B26B   NAOMI          BROCK                    NE           90006158543
17282666572B62   ELVA           HINOJOS                  CO           90011256665
17282A65191569   ELIZABETH      ONTIVEROS                TX           90011380651
1728323155B526   BARRYN         WARD                     NM           90012542315
17285437A4B26B   BRENDA         SEEFELD                  NE           90011354370
17285717A91895   JUVENAL        TORRES                   OK           90006137170
17291781A61976   LESLIE         CEBALLOS                 CA           90004197810
17294A7589373B   TANK           SEEGE                    OH           90010280758
1729B59185715B   WALTER         HERNANDEZ                VA           90012925918
172B282345715B   JAYSON         OSOREO                   VA           90010318234
172B431634B588   ROLIN          PAZ                      OK           90013523163
172B5596447956   KELLI          PALMER                   AR           90014885964
172B6114291569   HIJINIA        OLIVAS                   TX           75055551142
172B6894861976   YESSICA        ARGUELLES                CA           90012928948
172B698655715B   DAPREENA       STEPHENS                 VA           90001779865
172B7387961958   LARRY          GAYLE                    CA           90010863879
1731328524B26B   FABLIN         OMAR                     NE           90014632852
1731622A991569   CARISSA        RODRIGUEZ                TX           90014052209
1731B3A3931687   MARGEAUX       HEARLD                   KS           90000243039
1731BA2734B588   MAE            HUE                      OK           90007370273
17331947A91588   ZANDRA         LUNA                     TX           90001399470
1733612A361958   ANAKAREN       GOMEZ                    CA           90014861203
1734368574B588   MARIO          PINA                     OK           90014566857
1734427729373B   KIM            HAMEL                    OH           90010262772
1735119355B154   TIMOTHY        SUMMONS                  AR           90002041935
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17357174A61958   ARMANDO                AGUILAR            CA         90007271740
1735933434B26B   CHRISTINA              STROUT             NE         90002173343
1735B148691895   SILVIA                 BAUTISTA           OK         90011941486
17367A2185B526   FRANCISCO              TREJO              NM         90012080218
1737421485715B   JUDD                   ROBERTSON          VA         90012842148
1737584444B26B   LUCAS                  LEET               NE         90014728444
1737683624B588   ASHLEY                 SMITH              OK         90013648362
1738286964B588   BRITNNEY               LOVE               OK         90009258696
17383112A5715B   ONORATA                TORRESQUISPE       VA         90011391120
1738B18158438B   DAVID                  RISHER             SC         90007191815
1738B245947956   MAURICIO               HERNANDEZ          AR         90010812459
1738B755161976   ROBERT                 HARRIS             CA         90013157551
1739648585B526   ODWELL                 GREEN              NM         90012474858
1739B943191895   SHAQUNA                COLLINS            OK         90014309431
173B3226491569   CECI                   SALAZAR            TX         90014542264
173B43AA491895   TERESA                 ESCOMILLA          OK         90002783004
173B6976291588   LIZBETH                ESPINOZA           TX         90010709762
173B8726447956   LAU                    BRANDON            AR         90010087264
173B8784857147   RAFAEL                 SOSA               VA         90013607848
173BB994972B62   CRISTIAN               LOMELI             CO         90002289949
1741142A561976   LORRAINE               CABADA             CA         90009994205
1741273A672484   AMANDA                 FOLEY              PA         90004757306
17417941A55976   FLORIANA               FLORES             CA         90006359410
17421694872B62   NOEL                   MARQUEZ            CO         90011986948
1742289575715B   JOSE                   MARQUEZ            VA         90015118957
17424597A57147   FRORENCIO              CRUZ               VA         81068315970
1742541154B26B   SHANE                  SHAFER             NE         26048864115
1742823A62B232   LEATRICE               FULLER             DC         90007542306
1742B345755987   JACKI                  JOSLIN             CA         90009823457
1742B948431687   TRENISE                BOSTON             KS         90014029484
1743291625B154   ROSALIND               BOOTH              AR         90014599162
17434A6535B526   KENNETH                LARSEN             NM         90007860653
1743627A75B526   CHARLENE               ROMERO             NM         35005462707
17436A7974B588   JUAN LUIS              GRACIA             OK         90014580797
1743B655561976   AIDE                   ORANTES ESQUIVEL   CA         90011456555
1744364979373B   SARA                   SMITH              OH         90014636497
17453A74561976   MEAGAN                 RYAN               CA         90009080745
174556A5A9373B   DAVID                  BAXIN              OH         90000466050
1745B69195B154   LASHAY                 ELMORE             AR         90012096919
174613A914B588   JESSICA                VAZQUEZ            OK         90010823091
17461A5935715B   ANDRES                 RAYMUNDO           VA         90013580593
1746356834B588   VERONICA               MENDOZA            OK         90011905683
1746572954B26B   KARAH                  KENDALL            NE         90012147295
17465A7667B373   JUBENAL                CRECENCIANO        VA         90013600766
17469381372B62   GEORGE                 MARION             CO         90007493813
1746978A847956   YOLANDA                DEWHART            AR         90000957808
1746B754651599   TASHA                  ALLEN              IA         90014597546
1747153569373B   META ROSE              JOHNSON            OH         90012885356
17474A8244B588   RICK                   POPE               OK         90010550824
1748123A857199   JASSICA                HENDERSON          VA         90008332308
174827A2391569   SAUL                   RUBIO              TX         90013767023
174894A2361976   MICHELLE               BANUET             CA         90014974023
1749168A933697   SHANTISE               JONES              NC         90003686809
1749238A991895   JOSE                   FONCECA            OK         90011793809
174999A284B588   YOLANDA                RAMOS              OK         90007919028
174B193A65715B   MIGUEL                 MENDOZA            VA         90004289306
174B5997161976   MARLENE                DUKE               CA         90015019971
174B844424B26B   LETICIA                ROSAS              NE         90013354442
174B8448355976   ESTAFANI               CASTELLON          CA         90012834483
174BB57A972B62   ELVIRA                 ADAME              CO         33008985709
1751486464B26B   BRAD                   WERTS              NE         26080158646
175149A434B588   MAURICE                PITTMAN            OK         90013119043
1751576515B526   ALBERTO                DIAZ RENTERIA      NM         90012847651
1751859464B26B   JIMMY                  CONLEY             NE         90014685946
1751B24715B154   JOHNNY                 SIMPSON            AR         90012862471
1752477455B154   JUAN                   OCTAVIO            AR         90010647745
1752947929373B   JACE                   THOMAS             OH         90013824792
175298A7661976   JOSE                   ALFARO             CA         90009338076
1752B323872B62   NIGHTWALKER LYNN J N   JEREMY             CO         90011503238
17532A3685B154   GUSSIE                 SMITH              AR         90015040368
1754167385B154   ELISHA                 DAVIS              AR         90011066738
175457A4891569   CESAR                  SANDINO            TX         90015217048
1754612474B588   LANCE                  DOUGLAS            OK         90007151247
17548AA4491524   HORTENCIA              RODRIGUEZ          TX         75013410044
1754B549761976   LISETTE                GUEVARA            CA         90010315497
17556518872B62   LAUREN                 DAVEY              CO         90013525188
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1756133579373B   MICHAEL        CALDWELL                 OH           90011403357
17563A47386455   JASON          BORNE                    SC           90013830473
17565A26A4B588   LOC            LE                       OK           90015080260
1756B574272B62   DAVID          MORALES                  CO           90014595742
1756B6AA54B26B   SARAH          LINDLEY                  NE           90013486005
1757278275B154   WAYNE          RODERS                   AR           90011497827
17573525A55976   ANNA           MENDEZ                   CA           90011435250
1757B64817B424   JULIAN         ALVAREZ                  NC           90009326481
1758115474B588   LASHELE        JOHNSON                  OK           90012881547
1758286932B243   CHARLES        JACOBS                   DC           90009358693
1758398915B526   NOEMI          ACOSTA                   NM           90011459891
17588A25872B62   STEPHANIE      VIGIL                    CO           33038940258
1758931973B388   BRUCE          HECHT                    CO           33032533197
175894A6847956   TERENCE        POWELL                   AR           90008084068
1759186455715B   MOHAMMAD       USMAN                    VA           90007378645
17592A33991895   MARGIE         HAMMONS                  OK           90014340339
1759772485715B   YVONNE         VENEY                    VA           90014927248
175B3841761976   KARINA         VIDALES                  CA           90012138417
175B5788A72B62   NANCY          RODRIGUEZ                CO           33017247880
175B6364355976   VICTORIA       GONZALEZ                 CA           90009783643
175B7A6125B526   AMRUJO         P                        NM           35005510612
175B944424B26B   LETICIA        ROSAS                    NE           90013354442
17613A38472B62   GREG           ORTIZ                    CO           90011410384
1761439895B129   TAMARA         JOHNSON                  AR           23036913989
17615686A5715B   3900 YANETH    BELTRAN                  VA           90012756860
17615924A7B428   MARIA          BADILLO                  NC           90010779240
176159A9757147   ROBERTO        ZALDIVAR                 VA           90005239097
176164A2361976   MICHELLE       BANUET                   CA           90014974023
17619238A61958   RICHARD        SHIRK                    CA           90002822380
1761936A83B393   KELLY          MENDEZ                   CO           90005073608
1761B738391263   ROBERT         WHITE                    GA           14580057383
1762634947328B   NAYELI         ESCAMILLA                NJ           90014553494
17629751572B62   JOSE           DE LEON                  CO           90013007515
1762B12135715B   MUARA          RODRIGUEZ                VA           90001111213
1763344314B588   SHANICE        HOLMES                   OK           90009274431
17635355474B97   YURI           ALFARO                   OH           90012573554
1764446A455976   FRANCISCO      LARA                     CA           90012634604
1764769255715B   RENE           ALVAREZ                  VA           90011636925
176491A3672B62   CHANTAL        MARIA                    CO           90013311036
17649646A91569   PRICILLA       VILLA                    TX           90014066460
1765194A29373B   MYRNA          STEVENS                  OH           64532849402
1765636A557147   EDWIN          REYES                    VA           90014763605
17659A5935B154   STEPHANIE      WASHINGTON               AR           90010750593
176659A8661976   CARLOS         MEJIA                    CA           90012769086
17665A2125715B   HAMEED         SHAHUL                   DC           90009890212
176671A878B166   IRVING         YORKS                    UT           90013241087
1766768574B26B   MEGGAN         MCGUIR                   NE           90012236857
17667A33991895   MARGIE         HAMMONS                  OK           90014340339
17674378A57147   WANDA          MASTERSON                VA           90013013780
1767484444B26B   LUCAS          LEET                     NE           90014728444
1767981464B588   INHELICA       GOMEZ                    OK           90007278146
1768565474B588   LARRY          BRIGHTWELL               OK           90012106547
1768866815B526   LOURDES        PRECIADO                 NM           90000346681
17695429472B62   VALERIE        RODRIGUEZ                CO           90008284294
176957A984B588   FELICIA        SMITH                    OK           90014767098
1769B26874B26B   MITCHELL       WANDER                   NE           90003742687
176B369549373B   ERIC           HOLSTON                  OH           90014676954
176B4948657147   BRISELDA       CHAVEZ                   VA           90010419486
176B799439373B   KATHLEEN       YEAGER                   OH           64565249943
176B814258438B   DAMON          SANDERS                  SC           90007281425
176B84A1A4B26B   ROSENDO        PUENTES                  NE           90013754010
177112A7591588   JESSICA        GONZALEZ                 TX           75032892075
177143A549373B   QUANITTA       WORKS                    OH           90011353054
17714788A9373B   ASHLEY         BROWN                    OH           90012287880
1771572825715B   EMELY          HERNANDEZ                VA           90007717282
17718A27A91588   CORINA         MUNOZ                    TX           90013170270
1771B488A41225   LESA           HODGES                   PA           90014564880
1772751475B154   TIKMA          SIMPKINS                 AR           90013325147
17733969176B42   THOMAZ         ARAGO                    CA           90011229691
1773558655715B   JOSE LUIS      PAREDES GARAY            VA           90014415865
1773725629373B   GUILLERMO      BUSTAMANTE               OH           64592222562
1773861A491895   JOYLE          DEERING                  OK           90011806104
1773B251372B62   MORALES        GABRIELA                 CO           90012902513
1774399859373B   DEANA          MORRIS                   OH           64515969985
177448A3991569   ERIKA          GARCIA                   TX           90010988039
177453A685B154   NATASHIA       JACKSON                  AR           90013353068
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177486A7144353   IRMA                LEMUS               MD           90013316071
17748984A61976   ROBERTO             RODRIGUEZ           CA           90005319840
1775244A555938   CECILIA             MORA                CA           90005844405
17763AA4957147   ANTHONY             HIGGINBOTHAM        VA           90009950049
1776B495791588   JHONNY              WHITING             TX           90013274957
17771A2754B588   DERICK              SCOTT               OK           90008700275
17772131A91588   LINDA               SULLIVAN            TX           90012871310
1777969739373B   ANDREA              BENNETT             OH           90002866973
1778586A757147   BARBARA             BROWN               VA           90012638607
177B8931955976   GUADALUPE           SERRANO             CA           90011849319
177B9227847956   XAVIER              WILLIAMS            AR           24002942278
1781158385715B   JOSE                BENITEZ             VA           81039045838
178136A5361958   JOHN                PRESSLER            CA           90008556053
17813917A5B526   LEANDRA             WOMACK              NM           35035499170
17813A1494B26B   DARYLLE             MADISON             NE           90013600149
1781863694B588   SHELINA             JONES               OK           90011026369
17821879A91588   JOHN                NOEL                TX           90006718790
1782241994B26B   JOSE                RAMIREZ             NE           90011384199
17825486172B62   KASSANDRA           FRASHER             CO           90012134861
17825A7645715B   HILDA               PINEDA              VA           90012550764
1783B732891588   ANA                 BURCIAGA            TX           75010077328
17849584772B62   ROGELIO             AGUILAR             CO           90012045847
1785931265715B   TRACY               RUSSELL             VA           90011053126
1786344387B494   FRANCIELE           LISBOA              NC           90012204438
1786885354B26B   LISA                ROTHWELL            NE           90010998535
17869598872B62   DANIEL              HERMAN              CO           90012855988
1786B65214B26B   MANUEL              GARCIA              NE           26023186521
1787B687A92894   CRISTOPHER          LAYMAN              AZ           90013936870
178845A1A5B526   MARIE               SEDILLO             NM           90012885010
1789119485715B   WILSON JAVIER       CABRERA LARA        VA           90010651948
17897A1A95715B   JOE                 SIMTH               VA           90013080109
1789B826A61958   ESTER               FRYKLIND            CA           90014048260
178B362855715B   DANIEL              MONDRAGON           VA           90014606285
1791859235B526   DEBBIE              LUCERO              NM           35074815923
1791888924B26B   COURTNEY            THOMPSON            NE           90008188892
1791951219373B   MS                  MORGAN              OH           64522355121
17931918172B62   DAVID               BERLIN              CO           90012829181
1793525652B232   KEITH               SYLVESTER           DC           90007402565
1793791715B154   JACQUELINE          JACKSON             AR           90011349171
1793979114B26B   SUHEY               TORRES              NE           90014727911
1794261365B526   NICOLE              ORTIZ               NM           90010406136
1794938864B588   DANIEL              COURTNEY            OK           90014103886
17957A55561976   ENRIQUE             NAVARRO             CA           90012290555
1796B436791895   ALEXANDRA           HOLLAND             OK           90009284367
1796B739361958   GABRIEL             SALAS               CA           90009967393
17971A67A5B154   YOLANDA             OLLISON             AR           90001790670
17971A86261976   BLANCA              LOPEZ               CA           90013990862
1797227234B588   LAURA               BEGLEY              OK           90014102723
179732A7655976   OLIVER              ULLOA               CA           90013782076
17989229276B52   ESTRELLA            RICO                CA           90006172292
179892A3157147   JENNIFER            COMB                VA           90014062031
1799783545B154   LINDA               ROBINSON            AR           90014538354
179B3681A4B588   JAMES               ROSS                OK           90010886810
179B7223491895   ELIZABETH           ROJAS               OK           90004942234
179B7669961958   PERLA               ALVAREZ             CA           90015306699
179B859135715B   WALLA               OMAR                VA           90007515913
179B871778438B   JAMES               JAMES               SC           90007457177
179B9691391569   JONATHAN            GONZALEZ            TX           90013166913
179BB21414B26B   LUIS                HERNANDEZ           NE           90005592141
179BB69A85715B   DANIA               RESQUIN             VA           90002636908
17B15329655976   TASHA               LYDAY               CA           90012323296
17B16964961958   RAMON               CERVANTES           CA           90012939649
17B17381147956   ANTOINE             GOOLSBY             AR           24084363811
17B1B78A777539   MARIA               NUNO                NV           90011787807
17B22A18477539   FATTAHIL            ZUBAIR              NV           90002070184
17B2436A491588   FRANCISCA           RODRIGUEZ           TX           90012133604
17B24635561976   AIOTEST1            DONOTTOUCH          CA           90015116355
17B25299431468   SHARMEL             SHARMEL             MO           90001862994
17B2649199373B   JAMES               ROWN                OH           90011504919
17B29A72A61958   RENE                MARQUEZ             CA           90014850720
17B33183291569   GLORIA              URQUIDI             TX           90011131832
17B3415A65715B   IVETH               GARCIA              VA           90010431506
17B34876657147   GLORITA             ADOM                VA           81069018766
17B36A39A5B526   NAYELLY             MARTINEZ            NM           90010590390
17B38719861976   MARIA DEL ROSARIO   MORENO              CA           90002307198
17B4244684B26B   KHULOUD             ALWAELY             NE           90013164468
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17B43117A72B43   NATHAN            HAINES                CO           90012381170
17B45593291569   WALESKA           LOPEZ                 TX           90012385932
17B45981672B84   CHRIS             HANSEN                CO           90010989816
17B46244347956   JOSHUA            STEPHENS              AR           90009382443
17B4B284177539   CHANTILY          SMILEY                NV           90011742841
17B51953A61972   VERONICA MARIA    CHAVEZ GARCIA         CA           90009649530
17B5213665B526   MANUEL            RASCON                NM           35094671366
17B5296794B588   LAKESHA           HARRIS                OK           90009199679
17B55313791569   ALBERTO           ORTIZ                 TX           90014803137
17B62358A47956   BRITTNEY          KANUL                 AR           90014803580
17B6414469373B   CHARLES           LORIMER               OH           90011411446
17B64548861938   LUIS              GONZALEZ              CA           46063975488
17B724A5455976   ROSARIO           ROQUE                 CA           90014014054
17B72AAAA9373B   CHAD              HALL                  OH           90011050000
17B744A135B154   CHRISSY           TURNER                AR           90008664013
17B78735861958   JIMMY             ROMERO                CA           90010797358
17B81474477539   TONNA             MCNALLY               NV           90011794744
17B84A1A555976   CHRISTOPHER       ZAHARIADES            CA           90011060105
17B8B785647956   JONATHAN          CHRISTIE              AR           90014807856
17B9211524B588   IVAN              REYES                 OK           90012671152
17B9239A85B154   KRYSTAL           JAMES                 AR           90007993908
17B92627831687   NICOLE            CROW                  KS           90013866278
17B94333957147   MARIA             PARADA                VA           90012423339
17B95434872B4B   DAVIS             GADISON III           CO           90012754348
17B96814261958   CAMPOS            TAMARA                CA           90001848142
17B98124472B62   ALEJANDRO         AGUILAR               CO           90012631244
17B9972A54B588   GILL              PEREZ                 OK           90001857205
17B9B594291569   CESAR             CABRERA               TX           90008375942
17B9B669872B62   MICHAEL           BOYCE                 CO           90013696698
17B9B811A5B526   MARIAH            BROWN                 NM           90014888110
17BB1474747956   LAKENA            CLARDY                AR           90014814747
17BB1779561976   FRANCISCO         PEREZ                 CA           90014737795
17BB6239455976   MIGUEL            FIGUEROA              CA           90014832394
17BB66A7555976   ALICIA            TRISTAN               CA           90012626075
17BB8928961976   JONATHAN          GERALDO               CA           90013779289
17BB95A4961976   JOSEFINO          SALIBA                CA           90014745049
1811495759373B   SHAWN             KEIRNS                OH           90014669575
18117623172B23   ADOLPHUS          UGEH                  CO           33005856231
1811887575B285   RANODRIA          RUTLEDGE              KY           90013508757
1811995A55715B   JAVON AND HANNE   GASKINS PARAISO       VA           90013379505
18126413A51359   MELIA             SHABAZZ               OH           90014924130
1812862289373B   AMRIMIA           WILLIAMS              OH           90011266228
18128AA8351337   MARTINA           SMITH                 OH           90014300083
1812B93A261958   CARLOS HUMBERTO   CALOA                 CA           90004729302
1813579A15B526   GENE              GRAYSON               NM           90010897901
18139537A51359   MICHAEL S         TAYLOR                OH           90013575370
18139A91961938   NATALY            MARTINEZ              CA           90004970919
1813B82795715B   WILMER            BONILLA               VA           90013968279
1814358A472B62   JERICENA          BUNDY                 CO           33017195804
18147538A61958   LUWANA            MESA                  CA           90014885380
1814954214124B   CHRIS             HELMAN                PA           90005615421
1814B615191523   SERGIO            SALAZAR               TX           90004936151
18155478A61958   ABBIE             GISSENDANNER          CA           90010614780
1815562865715B   FRANKLIN          BRANCAMONTES          VA           90011266286
1815573369373B   MITCHELL          COWAN                 OH           90011267336
1815666915B154   AMANDA            GROSS                 AR           23005216691
181649A7755976   NESHA             JENNINGS              CA           49096079077
18166673A9373B   RICHARD           GRIGSBY               OH           90014686730
18166A35361938   ARASELY           L MIRELESS            CA           90011400353
1816896444B588   LOUIS             DEWAYNE               OK           90006579644
181694A4751337   JTRICE            JORDAN                OH           90003504047
1816B81854B26B   JUNIATA           PATRICK               NE           90007028185
181714A7491523   FEDERICO          MARQUEZ               NM           90013934074
1817186AA51355   CHRIS             COLLINS               OH           90014358600
18173A38972B62   DANIEL            DELGADO               CO           90013210389
18173A8795B526   SERGIO            MALDONADO             NM           90013950879
1817445275B526   MARIA             CERVANTES             NM           35071814527
1817635625715B   RAUL A            MENJIVAL              VA           90013093562
181787A9391523   JUAN              PARADA                TX           90007197093
1817B494A61938   MICHAEL           MURPHY                CA           46098054940
1818279A657147   MUHAMMAD          IMRAN                 VA           90010507906
1818B95164782B   ALISIA            WILLIAMS              GA           90007139516
1819868AA4782B   DIANE             CLEMONS               GA           90011636800
181B21A1561938   HECTOR            FARERRA               CA           90011361015
181B4517761958   JENNY             MENDOZA               CA           46082035177
181B5292231687   ALLYSA            JOHNSON               KS           90013332922
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181B67A1A57147   NELLY          REVILLA                  VA           90014187010
181B6985161938   DERRICK        JACKSON                  CA           46066469851
181B849824B26B   MONIQUE        GREEN                    NE           26043094982
1821252924B26B   GANES          KUFUTA                   NE           90010215292
1821486939373B   MELISSA        BROWN                    OH           64508418693
18215237A57124   OSCAR          GOMEZ                    VA           90003162370
182228A6557147   PHILLIP        WARNER                   VA           81010268065
182232A468438B   HEATHER        ABLE                     SC           19051892046
18225643927B36   BRICIO         ALAMILLO                 KY           90015346439
1822775435B526   RAQUEL         CARBAJAL                 NM           90011127543
1822872744B588   DAVID          DELANA                   OK           90008917274
18233891A8B863   ESMERALDA      VALENZUELA               HI           90015298910
18234745A5715B   NINETH         HERNANDEZ                VA           90011267450
18237A15591523   MANUEL         GUERRERO                 TX           90013090155
18237A63355976   BRADLY         JENKINS                  CA           90009680633
18241A8465B154   EDWARD         HUTCHINGSON              AR           90013340846
1824334719373B   CHARLES        MARTINDALE               OH           64597963471
18248A84261997   GEORGE         SHAFFER                  CA           46073470842
1824991934B588   HERIBERTO      SOTELO                   OK           90012839193
1824B9A784B588   RANDALL        HAIRSTON                 OK           90013289078
1824BA47751337   JANICE         BARNETT                  OH           90013960477
1825566A591569   OZZY           HERRERA                  TX           90014956605
1825582338438B   RONALD         DRAYTON                  SC           90010958233
1825773455715B   MELAKU         ASSEFAW                  VA           90014167345
18257A3975715B   MICHAEL        LITTEN                   VA           90011540397
1826211A661938   MYLA           GONZALES                 CA           90011361106
1826314915B526   ERIC           MAULDIN                  NM           90003961491
1826331925B154   JAMES          USSERY                   AR           90015173192
182688A9757147   TYISHA         DAYE                     VA           90013058097
1827253295715B   ISIS           YOLA CRUZ                VA           90012645329
18277742272B62   SHANDA         TERRY                    CO           90013557422
1827966264B588   BRENNA         EASLON                   OK           90015136626
1827992544B588   BRICE          WINE                     OK           90013279254
1827B12474B588   TAIRA          GREEN                    OK           90014411247
1827B959455976   RASHIDAH K     ALI-JACKSON              CA           49088299594
1828233199373B   JASON          MAHAFFY                  OH           90006603319
18283595372B62   MARIA          VILLASENOR               CO           90011015953
1828462875715B   INGRID         LOPEZ                    VA           90009896287
1828852735B526   ROY            THUNDERCLOUD             NM           90010295273
1828B313551359   CHAD           COOPER                   OH           90012413135
1829269255B526   ARIEL          TRANCOSA                 NM           90013156925
182998A2151337   RANDALL        TURNER                   OH           66088408021
182B19AAA4B588   KATHRYN        WILLIAMS                 OK           90014389000
182B4451593727   GRACARRIE      HEATH                    OH           90004074515
182B4951855976   MUTHANA        KASSEM                   CA           90006399518
182B5A41885966   GLORIA         SANTIAGO                 KY           90013580418
182B6A1399373B   ANTONIO        ARNOLD                   OH           90011270139
182B718315B154   ASHTON         DAVERNA                  AR           90013621831
182B8A4A14B26B   RAE            MILLER                   NE           26093900401
18315A51791523   MARIBEL        HERNANDEZ                TX           90013090517
1831839844B22B   GERARDO        FRANCO-GOMEZ             NE           27047703984
1831944469373B   LARON          ISREAL                   OH           90011274446
1831B147781639   CODY           MIKE                     MO           29039891477
1832338A891569   DANNY          GOMEZ                    TX           90014573808
1832445159373B   MATT           FRAZIER                  OH           90011274515
18326A78251337   RYAN           CAMPBELL                 OH           66015110782
18333762A97122   EUGENE         LEPAGE                   OR           90010257620
1833453A25B154   TROY           PARKER                   AR           90013835302
18334642436B72   VIDAL          FUENTES                  OR           90012056424
18335A9478438B   EDNA           RHODES                   SC           90006490947
1833B34245715B   VICTOR         SCARINO                  VA           90010653424
183422A244B26B   AMBER          DAVIS                    NE           90010702024
1834971349373B   LYNNSY         MORROW                   OH           90014707134
1834B354791523   LOURDES        ROBLES                   TX           75087493547
183546A6791523   LUIS           SMITH                    TX           90013526067
1835B92A35715B   JOSE           AGUILAR                  VA           90009959203
1835B932255976   NACY           BUCKHEISTER              CA           90012839322
1836341655715B   JOSE           CASTILLO                 VA           90011544165
18364942172B62   PACHECO        DALE                     CO           33017939421
18368374A72B62   DANIEL         HERNANDEZ                CO           90009123740
1836857AA51337   CARRIE         NEFF                     OH           90013835700
1836B492661958   DAWN           TAYLOR                   CA           90010004926
1837111622B839   MOUSSA         FANGAMOU                 ID           90010961162
1837192775B526   ANTHONY        MARTINEZ                 NM           35067709277
18373A63781639   CHRISTINE      MIRANDA                  MO           90013490637
1837459738438B   BRITTANY       MCDOWELL                 SC           90010175973
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18377985A85966   PHILLIP         CUERTIS                  KY           90014029850
18378268A55976   SANTIAGO        PICHARDO                 CA           90013062680
1837B668861938   DONNIE          FULTS                    CA           90011916688
1837B7A2151599   PATRICK         AKRONG                   IA           90014777021
1838488395715B   ANGELA          WILLIS                   VA           81056428839
18384AA1551355   HAROLD          WHITE                    OH           90015210015
1838529665715B   FROILAN         SEJAS                    VA           90014182966
1838583959373B   JEFF            KERR                     OH           90014708395
1838778824B26B   KELLEY          BOWER                    NE           26091467882
183879A388438B   LATONYA         WOODBERRY                SC           90003689038
1839951AA51355   PHILLIP         BAILEY                   OH           90012945100
1839B97279377B   ELEINA          BROWN                    OH           90009879727
183B2A87961958   NIKKI           GERLITS                  CA           90012420879
183B8392257147   ALFREDO         RONQUILLO                VA           90011783922
183B938A331687   SHERA           KIRKLAND                 KS           90011013803
183B9663851359   LATOYA          TURNER                   OH           90012516638
183B9A6145B526   PAUL            BACA                     NM           90005990614
1841B58235B387   STEPHANIE       ZAPATA                   OR           90010815823
1841B6A8924B55   DEVALE          AVERY                    DC           90013946089
18422A87981639   MARIA           BELTRAN LIMONES          MO           90013450879
1842568315B526   LORRIE          MARTINDALE               NM           35004926831
1842615714B588   RUBEN           ESPINOZA                 OK           90004761571
1842622465B526   ESMERALDA       ANCHONDO                 NM           90013952246
18426557872B62   ROSALYN         DAVIS                    CO           90014585578
1843164A531687   DUSTIN          NEAL                     KS           90012826405
18432A5A65715B   JOSE            ORLANDO ALVAREZ          VA           90012770506
1843364834B26B   CHADD           COFFIN                   NE           90009946483
1843814965B526   ALISHA          LAY                      NM           90014021496
1843816A457147   CATHY           DRIVER                   VA           90011811604
18439179672B62   MARK            ESPO                     CO           33062971796
1844121755B154   CARNELL         MORRIS                   AR           90013602175
18444259A5715B   MARCUS          LAWRENCE                 VA           90006902590
184447A375B526   MARIE           SHAKRA                   NM           90011057037
18445387A61958   NININAHAZWE     AIMABLE                  CA           90014413870
1844598917B443   TIANA           OCASEIE                  NC           90010869891
184459A1A91523   DAVID           ROBLES                   TX           90013099010
18446A55831962   PAYGO           IVR ACTIVATION           IA           90012800558
184474A5871964   CARMEN          MARQUEZ                  CO           90001324058
18449294A91263   LESLIE          LOWMAN                   GA           90006672940
1844963249373B   DESSURAE        MADISON                  OH           90014716324
1844985A14B26B   ASHLEY          BEARCE                   NE           90009128501
18451A6477B634   KRISTEN         MCBRIDE                  GA           90011120647
18453745772B62   GRIGGS          MARIAH                   CO           90009997457
18454A37172B62   KRYSTLE         BADGETT                  CO           90013210371
18455A92581639   CONOR           MCGADEY                  MO           90011530925
18456648A64135   THAR            WAH                      IA           90014576480
18456A81151337   ETA             PANDITA                  OH           66016230811
1847292A151359   MARIAH          SULLIVAN                 OH           90011889201
1847374459373B   SMITH           ANGEL                    OH           90011307445
1847612754B588   APRIL           MOORE                    OK           90010981275
18477662A61958   RITA            MUNOZ                    CA           90010016620
18479979A61938   MARIA           WAZIR                    CA           90014929790
184859A6891895   LATOSHIA        KELLEY                   OK           90002869068
1848868114B26B   ANDREW          BOSWELL                  NE           90013686811
18488A92481639   BOB             BOB                      MO           90013290924
18489AA4361976   SAMANTHA        ESTRADA                  CA           90006510043
1848B22AA81639   JAMES           SCOTT                    MO           90012772200
18496557972B64   LORI            MILLS                    CO           33012355579
1849956224782B   JARICA          STUBBS                   GA           14098415622
184B122989373B   DAWANN          HARRIS                   OH           90009712298
184B5416277343   LOURDES         CARRILLO                 KY           90009744162
184B718245715B   CARLOS          GUZMAN                   VA           90007481824
184B9999372B62   LETITIA         COLLINS                  CO           90010619993
184BB314581639   DONAVAN         DAUKEI                   MO           90012853145
1851419379373B   RIGO            BENEURA                  OH           90011481937
185181A9651359   SOLOMON         FANTAYE                  OH           90006231096
185198A7791263   LETIZIA         MCCOY                    GA           90014018077
1852537517B459   AHMED           ALY                      NC           90012213751
1852B277161958   GLORIA          NAVA                     CA           46018962771
1852B32A451355   CHRISTOPHER     TODD                     OH           90012343204
1852B7A2964135   BRANDON         BECKER                   IA           90009257029
1853122AA81639   JAMES           SCOTT                    MO           90012772200
1853129685B526   ANTONIO         TOVAR CORONADO           NM           90013952968
1853272654B588   JOSEPH          BEVEL                    OK           90005437265
1853479975715B   JUAN            YARLEQUE                 VA           90013857997
18534A1365715B   JUAN            YARLEQUE                 VA           90012780136
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185352A4A72B62   MONICA         CLINTON                  CO           90010112040
1853995164782B   ALISIA         WILLIAMS                 GA           90007139516
1854332915B526   JOSE           PADILLA                  NM           90009623291
1855228324B588   DANIEL         JOB                      OK           90011082832
18554A8795B526   EDGAR          TREJO-GUEVARA            NM           35001780879
18555374972B26   JACQUELINE     AVALOS                   CO           90013133749
1855687225715B   ANA            ALVAREZ                  DC           90005298722
18558A88651359   TROY           EASTIN                   OH           90014650886
1855BA34481639   OMAR           NAZHAT                   MO           29025510344
1856431A472B62   DAN            MILLER                   CO           90005303104
185643A8381639   DEMONICA       PEARSON                  MO           90009303083
185723A8851337   REBECCA        NICHOLS                  OH           90010903088
18572719A5715B   CARLOS         ERCILLA                  VA           90014187190
1857426224782B   MARQUIS        SIMMOMS                  GA           90011272622
1857688924B26B   COURTNEY       THOMPSON                 NE           90008188892
1857791875715B   YEANETTE E     MANZANARES               VA           90009169187
1858114A572B62   BERTHA         ARELLANO                 CO           90014321405
1858143A891523   SULEMA         BUENO                    TX           90015184308
18581A41272B62   MARIA          GONZALES                 CO           90012920412
1858571824B588   DARLISHA       WARE                     OK           90011517182
18586A29357147   EDILBERTO      MORENO                   VA           90007900293
18586A42355942   JULIO          CARVAJAL                 CA           90008940423
185881A2A5715B   SILVIA         RODAS GALINDO            VA           90012941020
18588497A4B588   ANTONIO        TZAJ                     OK           90010144970
1858954265B129   LADARA         WILLAMS                  AR           90011085426
1858B624A61958   ANDY           PADILLA                  CA           90012146240
1859158A14782B   AARON          WRAY                     GA           14005975801
185922A4751337   CHARLES        MARSHALL                 OH           90008942047
1859394294B588   ELISHA         FINCH                    OK           90011849429
185963A145B288   VICTOR         KUSTES                   KY           90012473014
18596778A55976   JEANETTE       BEDWELL                  CA           90010277780
18597592A91569   VICTORIA       MARTINEZ                 TX           90007795920
185B1611361976   MOHAMMED       BASHIER                  CA           90006526113
185B26A2281639   CRYSTAL        CLARK                    MO           90011266022
185B271A855976   TIMOTHY        WALKER                   CA           90013037108
185B364659373B   JAMIE          BUSSARD                  OH           90011116465
185B565A74B26B   JOSHUA         LUNDE                    NE           90014036507
185B6466291523   JOSE           BRIONES                  TX           90013344662
1861542465B129   ISAIAH         WALKER                   AR           90005474246
186162A1433634   ERIC           CHANDLER                 NC           90012732014
1861664A848475   KATE           SULLIVAN                 PA           90012466408
186166A8A5715B   DANNIEL        BROAD                    DC           90010126080
1861693972B259   MARY           MEASE                    DC           90010899397
1861822AA81639   JAMES          SCOTT                    MO           90012772200
1861B525385966   DANNY          MARCUM                   KY           90011615253
186236A4161958   SUZE           LALANNE                  CA           90012706041
1862431939373B   MARC           YANCEY                   OH           64591283193
18626A9735B154   CASSANDRA      BOOKER                   AR           90007380973
1862972924782B   ZACCHEUS       HOLSTON                  GA           90003257292
1863255A772B89   CRYSTAL        WALKER                   CO           90013325507
186349A2191569   BEATRICE       CARILLO                  TX           75008529021
18635A49A91523   LAURA          VELA                     TX           90013100490
18637521172B62   ROBERTO        NIEVES                   CO           33037555211
1863816A681639   JASON          ROHR                     MO           90014901606
1863BA32251359   MICHAEL        SMITH                    OH           90014690322
1864159495715B   KELLY          MAGUIRE                  VA           90014245949
1864335A385966   ASHLEY         BOGGES                   KY           90011463503
186454A3381639   SYLVIA         HOWARD                   MO           29041134033
1864684738438B   KENNETH        DOUGAS                   SC           90011318473
18659733A91895   JOAN           BRANTLEY                 OK           90007267330
1865B691651337   SARA           MILLER                   OH           90009806916
1866147774B26B   BEATRICE       HARRIS                   NE           90014764777
1866257295B154   KIMBERLY       MOORE                    AR           90015205729
1866343A972B77   PATRICIA       ROMERO                   CO           90013964309
18665474A51337   LISA           MCBRIDE                  OH           90012774740
1866796685B154   WYSE           SHELBY                   AR           90013849668
1867116765B526   FEDERICO       REYES                    NM           90005691676
1867145989373B   NICKI          LAND                     OH           90011284598
186714A9691569   ALEXIS         CORONADO                 TX           90013674096
18672354A9373B   BONNIE JEAN    BLAS                     OH           90014143540
18673679472B62   HEATHER        LAIRD                    CO           90011016794
1867412AA55976   SHERRYL        EVERITT                  CA           90006221200
18681679472B62   HEATHER        LAIRD                    CO           90011016794
186825A1191569   MONICA         GARCIA                   TX           90009815011
186836AAA61938   THIFANNY       ARCE                     CA           90014716000
186896A9972B62   JONATHAN       GARCIA                   CO           90012366099
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1869168548438B   RICTASHA          NELSON                SC           90009126854
18693A2384B588   JACK              WHITMORE              OK           90014000238
1869B6A4161938   SUZE              LALANNE               CA           90012706041
186B195A94B26B   ABEL              SANDOVAL              NE           90014039509
186B4481A57147   ALEXANDER         TORRES                VA           90013724810
186B7741657147   EMERITA ISABEL    ARRIAGA               VA           90011837416
186B9748351359   AMBER             HILL                  OH           90012337483
186BB996951359   MARIA             HALL                  OH           90010839969
186BB999561958   ANNA              GONZALES              CA           90011999995
1871141355B395   GRISELDA          LOPES                 OR           90011764135
1871827165B526   RUTH              SHORTER               NM           90014452716
1871B818861938   JUAN CARLOS       DE LEON               CA           90011898188
1872118854B588   JOSE              LARES                 OK           90003621885
18721A53472B62   NANETTE           ABELLE                CO           33003220534
1872B545791895   STEPHAN           BLOTZER               OK           21087825457
187311A3891523   CYNTHIA           JUAREZ                TX           90013101038
1873B82725B526   MARIAH            GARCIA                NM           35058288272
1873BA98391523   JUAN              PEREZ                 TX           90013100983
1874254935B129   SHAMARI           CLEMENTS              AR           90012315493
1874283A68B123   QUINTIN           SEVERNAK              UT           90013238306
1875122985B526   BOBBY             JACQUEZ               NM           90012312298
1875221354B588   MALAYSIA          GLOVER                OK           90012222135
18753293372B62   BRANDON           ABBEY                 CO           90011962933
187565AA761938   PIERRE            PORCENAT              CA           90014655007
187568A5572B84   LAURA             LANG                  CO           90008648055
1875B93A891569   ANTONIA           SHULTZ                NM           90013769308
1876451A461938   STACEY            COGSWELL              CA           90006005104
1876623335B526   HELEN             HERNANDEZ             NM           90014432333
18767A8465715B   BATGEREL          BATBAYAR              VA           90012950846
1876B3A754B26B   ALBERTO           HERNANDEZ-PORCAYO     NE           90011583075
1877788995B154   TRAVIS            GRAY                  AR           90008838899
1877819788B167   GREGORY           TRUSLOW               UT           90012981978
1877857698B167   GREGORY           TRUSLOW               UT           90013095769
1877887388B167   GREGORY           TRUSLOW               UT           90009788738
1878642A561958   MELANIE           GRAY                  CA           90008614205
1878662645B526   YASMIN            MIRELES               NM           90013116264
1879463115B526   IRENE             BENITO                NM           90013696311
1879517615B129   KAREN             PATILLO               AR           23000831761
1879633935715B   MAHLET            ADENEW                VA           90010403393
1879988397B489   MARIA             BOSQUES               NC           90007408839
1879B792751359   FREDY             MAZARIEGOS            OH           90011537927
187B1246581639   DAVID             CASTRO                MO           90011532465
187B4152724B6B   SHEKITA           MCCALLISTER           DC           90012551527
187B44A554B588   OLIVIA            ROJO                  OK           90012644055
187B8287951359   DARLENE           KONATEH               OH           66071392879
187BBA85351337   DARNESHA          CHANDLER              OH           90014090853
18812A25372B62   CHRISTOPHER       SOLORIO               CO           90014850253
18813991472B62   JASON             MENDENHALL            CO           33067429914
1881938A191523   ASHLEY            HERNDON               TX           90010473801
18819A7A44B588   TOBY              CHAPMAN               OK           90013270704
1882884795B129   MECHELLE          COOPER                AR           90010618479
1882B557357147   KRYSTAL           STANLEY               VA           90012045573
18832667572B62   SANDRA            ONORATO               CO           90012366675
1883433859373B   JACOB             EBER                  OH           90014103385
18841642A85966   CAROLYN           JENNINGS              KY           90010036420
18842177972B62   JUAN              CASTANEDA             CO           90012031779
1884263A961976   EMA               DOMINGUEZ             CA           90006626309
1884274A25B526   JOSEPH            SEDILLO               NM           90007927402
18842A59A5715B   ROBERTO           ZEPEDA                VA           90012780590
18846927A4B588   RODERICK          TRUITT                OK           90007739270
1884884224B588   LATEISHA          MURRAY                OK           90013878422
1884B326985966   JENNY             GANNON                KY           90014813269
1884B96784B588   LINDA             GUPTILL               OK           90012959678
188519A8771929   GHARIAN           GREEN                 CO           90011629087
1885332789373B   SHANNON           BROOKINS              OH           90011293278
1885388A555976   WHITNEY           BLACK                 CA           90013978805
188563A8255976   VANA              LITTLEJOHN            CA           90013703082
1886598525B154   TERIDELL          HARDIN                AR           90015319852
188661A1661938   ROSELLA           SMITH                 CA           90009611016
18868631A91523   OMAR              FLORES                TX           90013106310
1886B81319373B   COURTNEY          EISEN                 OH           90013128131
18872555A4782B   JOHN              HUGHES                GA           90011715550
1887267194782B   KESHIA            MCGRUDER              GA           90011986719
18875A1285715B   HECTOR            AYALA                 VA           90013020128
18876A22491573   LUDDYN            ZAVALA                NM           90009810224
1887B374772B62   CASTILLO SAIENZ   MARIBEL               CO           90010853747
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1887B737861958   JOSE           SANCHEZ                  CA           46081087378
1888466659373B   MERISSA        ACKLEY                   OH           90014736665
1888489174B588   BRANDY         BURTON                   OK           90012038917
1888937734B26B   JONATHAN       GORDON                   NE           90011023773
188969A5A5B526   BRITTANY       ESPINOSA                 NM           90012079050
1889768515B526   BLANCA         VALLES                   NM           90004776851
1889B719551337   ADIT           HUGHES                   OH           90014077195
1889B819A61958   SUNIL          VASWANI                  CA           90010078190
188B146834782B   ANTOINETTE     ANAYA                    GA           90012114683
188B4347857147   EDUARDO        BERRIOS                  VA           90013243478
188B798675B154   LATONYA        REED                     AR           90015019867
188BB56834B588   EVELYN         JOHANNING                OK           90015025683
188BB87544B588   EVELYN         JOHANNING                OK           90010268754
1891511315715B   LETICIA        VEGA                     VA           90006911131
1891533514B26B   MICHELLE       HARRIS                   NE           90014793351
1891634794B26B   KYLE           TRIPLETT                 NE           90014793479
189177A435B526   KENNETH        MARTINEZ                 NM           90013967043
1891B555A4782B   JOHN           HUGHES                   GA           90011715550
1891B75AA9373B   KENNA          HOUCHINS                 OH           64535447500
1892469A172B62   AARON          PROCTOR                  CO           90012026901
18925115472B62   JAVIER         ESPINOSA                 CO           90013771154
18925524A5B526   PAULA          LOVATO                   NM           90013955240
1892873A424B55   DELMY          DIAZ                     VA           81084797304
1893155475B129   SHARON         HESTER                   AR           23015725547
18937418A91569   BRIANNA        ESCOBAR                  TX           90013194180
1894131A476224   DAVID          PEREZ PEREZ              GA           90012073104
1894244244B26B   ANGIE          KROFTA                   NE           90006264424
1894492213B396   DIANA          GLIDDEN                  CO           90012229221
1894B67145B526   EFREN          ARVISO                   NM           90012046714
189522AA185966   ADAM           REED                     KY           90012872001
1895418755715B   EDDY           POZO SARMIENTO           VA           90012271875
18955A8944B588   MEGAN          ROGERS                   OK           90012120894
18955AA229373B   NICHOLE        MARKEL                   OH           90014740022
189561A6A61958   MARLENE        RAMIREZ                  CA           90012421060
1895712A15715B   SHIFERAW       MOTEMA                   VA           90014751201
1895B765781639   BETHANY        MATHIS                   MO           90006057657
1896112735B526   ANDREW         VIGIL                    NM           90012931273
1896582185B129   JENNETTE       DENISE                   AR           90005498218
1896B357551359   FRANCES        LACEFIELD                OH           90013353575
1896B41A271967   TERRY          LARESE                   CO           90013634102
1896B917851355   LAWRENCE       BELL                     OH           66010299178
1897151455B526   CATHERINE      URTIEGA                  NM           90008095145
1897272654B588   JOSEPH         BEVEL                    OK           90005437265
18972AA993B324   APRIL          KEEFE                    CO           33098310099
1897433338438B   AMBER          KNISLEY                  SC           90011303333
18975667572B62   SANDRA         ONORATO                  CO           90012366675
1897645965715B   DANIEL         RUIZ                     VA           90007844596
1897B726776224   KERIANNE       WILLIAMS                 GA           90005907267
189838A955B526   RENAE          SMITH                    NM           35018108095
18984816697B58   JOHN           BURAK                    CO           90001728166
189848AAA5B526   DANIEL         JONY                     NM           35086468000
1898686A58438B   TANEYA         CHAMPMAN                 SC           90011008605
1898833455715B   MARVIN         RAMOS                    VA           90008423345
189954A3785966   SARAH          CRAWFORD                 KY           90013884037
189954A5772B62   JEREE          FIELDS                   CO           90010374057
1899B48965B129   CASSANDRA      MCGEE                    AR           90008744896
189B2792955928   SHA            XIONG                    CA           49044317929
189B7668885966   CORY           SHORT                    KY           90012846688
189B87A8561938   ANTONIO        AGUIRRE                  CA           90010377085
18B1166635715B   CHRISTEN       ROBERTS                  VA           90012466663
18B1211A791569   YENIA          CONTRERAS                TX           90012191107
18B12234691569   JAIME          PEREZ                    TX           90001052346
18B12AA5785966   JANEY          WHALEN                   KY           67091590057
18B19857672B62   GEORGE         MENDOZA                  CO           90012808576
18B1BA66457147   STEPHEN        BUNDA                    VA           90011750664
18B21512627B8B   THOMAS         FALE                     KY           90014045126
18B23269291569   PERLA          ESPARZA                  TX           90007522692
18B23311461938   ISABEL         ACEVEDO                  CA           90008083114
18B237A7A5B526   KENIA          NEGRETE LEYVA            NM           90012227070
18B24752361972   FERNANDO       FLORES                   CA           90012307523
18B2B43695B526   ROBERT         MORENO                   NM           90004734369
18B31381991523   CECILIA        ALVARADO                 TX           90012193819
18B31A5885715B   JAVIER         GUZMAN                   VA           90013410588
18B32A13857147   PAUL           TREMONT                  VA           90014960138
18B3339125B154   CHERYL         HARNESS                  AR           90008783912
18B34736A33645   MISTY          BIGELOW                  NC           90001057360
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18B37866553B32   DAVID          WESTON                   CA           90013748665
18B39853372B62   LAURA          DURAN                    CO           90014538533
18B4115877B489   MARDOQUEO      HAU POOT                 NC           90001891587
18B44539155976   JOHN           OLIVAS                   CA           49001835391
18B44A55972B62   JONI           TRUJILLO                 CO           90012800559
18B48728661976   CEAIRRA        LIZARDO                  CA           90006407286
18B4B351A4B26B   TAMMY          GEHLE                    NE           90013943510
18B4B917191523   DAVID          ARRATIA                  TX           90013089171
18B52661861958   ALEJANDRA      GONZALEZ                 CA           90010726618
18B55764461938   ALI            ISMAEL                   CA           90010697644
18B56988164135   BAWI           SANG                     IA           90013899881
18B57351A4B26B   TAMMY          GEHLE                    NE           90013943510
18B5B33945B154   MARQUEISHA     WHITE                    AR           90012053394
18B61356176B68   NOHEMI         LOPEZ                    CA           90008533561
18B62688785966   ANTWAUN        MITCHELL                 KY           90014506887
18B6367945715B   VNS            CONSTRUCTION             VA           90007196794
18B65577985966   DUSTIN         SHEPPARD                 KY           90013135779
18B66172351359   MIYAH          HIBSHER                  OH           66091031723
18B6626A951364   DOMINIQUE      RICHARDSON               OH           66092012609
18B6BA3695B526   EDGAR          GURROLA-MATA             NM           90013950369
18B72239955976   JOSE           PACHECO                  CA           90013612399
18B72A34891569   ALYSSA         ESQUIVEL                 TX           90012940348
18B73416561938   ALEJANDRO      COPLEY                   CA           90015114165
18B7381A157147   ABDUL          SESAY                    VA           90009718101
18B75242291895   JOHN           RITCHIE                  OK           21007732422
18B78248572B62   GRACIELA       FIGUEROA                 CO           90002272485
18B7889584B588   JUAN           ROJAS                    OK           90014828958
18B83264551337   SHAWANA        CARTER                   OH           90011192645
18B86656272B62   PRAIRIE        STANDINGBEAR             CO           90013966562
18B87A39871964   WHITNEY        STEWART                  CO           32058070398
18B89717991263   TAUSHA         JONES                    GA           90011547179
18B94315891263   RAQUEL         PETTY                    GA           90011193158
18B9532935715B   ANIBAL         RAMIREZ                  VA           81038513293
18B95983161938   JACOB          GOLDSTIEN                CA           90013399831
18B9626298438B   ARTHUR         WALLACE                  SC           90013082629
18B96AA2357147   BRENDA         EUCEDA                   VA           90010480023
18B97356176B27   NOHEMI         LOPEZ                    CA           90008533561
18B9741A35B154   ELIZABETH      PANIAGUA                 AR           90006814103
18B98931A9373B   KAYLA          HARTMAN                  OH           90012539310
18B9993A391569   DE LA ROSA     VICTORIA                 TX           90008709303
18BB1338A91569   ALEJANDRO      CABALLERO                TX           90013673380
18BB3A5489373B   MARY           PLOSKI                   OH           90011260548
18BB442229373B   DAVID          SMITH                    OH           90009074222
18BB4774A91523   INOCENTE       JAVALERA                 TX           90013967740
18BB5686661958   RAUL           AVENDANO                 CA           46021476866
18BB611124B588   PHILIP         JACKSON                  OK           90012871112
18BB76A9A4782B   FREDDIE        BLEDSOE                  GA           90007246090
18BB9832957147   TONY           ALVES                    VA           90012968329
1911512AA97B47   TERESA         AGUIRRE                  CO           90009961200
191176A6A91263   JOSEPH         GAINES                   GA           90013786060
191177A188438B   EBONY          ANCRUM                   SC           90005297018
1912653245B526   KENNY          TYYVELL                  NM           90014925324
1912B4A1151359   JOSHUA         STEPHENS                 OH           66037204011
1912BA45651355   IVAN           RUFINO                   OH           66015550456
19134347A72B62   JEAN           PAGETTE                  CO           90014333470
19136545A91569   DAVID          GARCIA                   TX           90013195450
191399AA691569   SOFIA          CARREON                  TX           90007369006
19143624A2B865   JENNIFER       PYKONEN                  ID           90012906240
19144353A91895   DIANA          MENDIAS                  OK           90006863530
19146533A61963   THOMAS         HITCHCOCK                CA           90014405330
1914837A772B62   PANCHO         VILLA                    CO           90012803707
19149312436B72   RUBEN          RENTERIA                 OR           90010453124
191495A8136B72   RUBEN          RENTERIA                 OR           90012735081
1915318A791263   CARL           BULLARD                  GA           90014691807
19154547A93745   JOSH           BARNTHOUSE               OH           90014245470
1915B151A61963   GIL            RODRIGUEZ                CA           90012771510
1915B654591569   DIEGO          MILLER                   TX           90012826545
1915B98585715B   LAZARO         VENTURA                  VA           81094489858
191663A2185966   JAMES          COFFEY                   KY           90013973021
1916742228B863   MALIK          RILEY                    HI           90014754222
1916B92665715B   DYLAN          CHAVEZ                   VA           90013929266
19172784A91569   LILIA          FLORES                   TX           75035197840
1917382999373B   NICOLE         WEIKERT                  OH           90008958299
19173AA464B259   FABIOLA        LECHUGA                  NE           90011050046
1917B525151359   ERICA          MOORE                    OH           90012165251
1918121834B588   JIMMY          WILLIAMS                 OK           90010992183
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19186A9384B259   GERI           KYLES                    NE           90015190938
1918787495715B   EVA            JUAREZ                   VA           90010478749
1919381684B588   SHANE          GEORGE                   OK           90013238168
191963A5851355   MARCOS         JIMENEZ RODRIGUEZ        OH           90014993058
19198A2A161958   HILDA          CRUZ                     CA           46050270201
1919954A131444   KELLY          BAKER                    MO           90014565401
1919BA91A24B42   PATRICK        WARD                     DC           90003590910
191B4387A4B588   VICTOR         FOWLER                   OK           90013043870
191B7291591569   MICHAEL        ESCAJEDA                 TX           90009432915
191BB47139373B   LAQUATA        JACKSON                  OH           90014764713
191BB739791263   RAFAEL         ROSALES                  SC           90008667397
1921318755B343   CHAERLES       ROCHA                    OR           90014971875
1921391698B472   EDWARDO        DIAZ                     VA           90014319169
1921443119373B   JOY            RAEJEAN                  OH           90014774311
192174A5A93745   KAREN          LAWSON                   OH           90010194050
1921B2A615B343   ANGELINA       PLAQUE                   OR           90008932061
19228557872B62   ROSALYN        DAVIS                    CO           90014585578
1922B2A419373B   JESSE          BARKER                   OH           90011002041
1922B3A2661938   MARCO          SANTIAGO                 CA           90009363026
19234675A57147   RONALD         POLO                     VA           90014166750
19235635A91569   EDUARDO        FLORES                   TX           90011526350
192394A5A93745   KAREN          LAWSON                   OH           90010194050
1923B625371976   ROGER          MILLER                   CO           32068396253
1924622688B337   FRANCIS        AGUIRRE                  SC           90005342268
1924976285B343   KAREN          KNORR                    OR           90010267628
1924B241791263   KATINA         KING                     GA           90014712417
192515A864B588   REBECCA        SOTO                     OK           90009805086
1925836A785966   DEQUENTIN      ANDERSON                 KY           90014733607
19264375A57147   MARIA          JOHNSON                  VA           90012673750
19266A38431687   STARR          WESTRA                   KS           90006700384
192681A259373B   ISAIAH         CLARK                    OH           90014781025
19271887272B62   LINDSEY        TORRES                   CO           90012808872
1927615285B526   JEREMY         PETERS                   NM           90010631528
19276635A91569   EDUARDO        FLORES                   TX           90011526350
1927B548A61938   ITZEL          ROQUE                    CA           90005825480
19282428872B62   JASMINE        MANRIQUEZ                CO           90012804288
1928328894B259   KATIE          BARRO                    NE           90014482889
1928349524B588   SALVADOR       TORRES                   OK           90012934952
19284186397B3B   DESTINY        ARCHIBEQUE               CO           90010101863
19286463297B58   JANICE         BAILEY                   CO           90001034632
1928713299373B   OSCAR          ALEJANDRO                OH           64509311329
1928B58165B343   JAMES          SANDERS                  OR           90012315816
19291865A5598B   CRISTINA       QUIROZ DE RODRIGUEZ      CA           90011818650
19293A88651355   DAVID          LEACH                    OH           90013550886
192B149817B489   ERICA          BLAIR                    NC           90009244981
192B483AA72B62   FREDA          MAC                      CO           90006838300
192B7241791263   KATINA         KING                     GA           90014712417
192B9392185966   REGINA         PARKS                    KY           90010533921
192B984645715B   FATIMA         ESPINOZA                 VA           90013228464
1931191545715B   ROSARIO        LICONA                   VA           90010259154
1931616435B526   STEPHANIE      GONZALES                 NM           90010501643
1931824A231687   MARINO         MEJIA                    KS           90013962402
19321697A5715B   ROSA           TORRES                   DC           90011856970
19321A2A731687   SEBASTIAN      SMITH                    KS           90013220207
19337A46891569   MARISOLQ       PEREZ                    TX           90014170468
193424AA48438B   CHARMAL        HILL                     SC           90003354004
19348227A5715B   CARLOS         GALDAME                  VA           90008632270
1934859255B526   SANDRA         CHAVEZ                   NM           90013975925
19349A36224B7B   ALDA           ROMERO                   DC           90011150362
1935529295715B   EFRAT          MOSES                    VA           90013042929
1935583795715B   JOSE           HERNANDEZ                VA           90014438379
19355AA135B526   MELISSA        CORDOVA                  NM           90014850013
1935B177157147   RENE           ARGUETA                  VA           90012761771
1935B224A85966   TAJUAN         MARSHALL                 KY           90005092240
1936152915133B   RAVEN          MARTIN                   OH           90008745291
1936B657351359   ELLIOTT        RICE                     OH           90008976573
1936B763891263   WELEY          WEST                     GA           90013507638
19371462A33699   ANTHONY        STRICKLAND               NC           12010884620
1937336AA91263   BRIAN          MERRETT                  GA           90011213600
1937567925B343   SANDRA         GOMEZ                    OR           90013936792
19376354A5B154   SHARITTIA      ASKEW                    AR           90005333540
19376AAA951359   CHAD           GRAY                     OH           90010700009
193772A6361938   MARIBEL        MARTINEZ                 CA           90014002063
19378AA7591895   BRAD           GLOVER                   OK           90010810075
1937B949193745   ELLA           DAMERON                  OH           90014799491
193826AA75B343   KANDICE        DUKE                     OR           90013366007
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19384A8785715B   YANIRA           ORTIZ                  VA           90011240878
19388A4325715B   ANGEL            DOMINGUEZ              VA           81066110432
1939222844B259   LAURA            RYAN                   IA           90013262284
19392A1765715B   NIKITA DENISSE   MCKENZIE               VA           90013230176
1939539729373B   RACHAEL          AYERS                  OH           64584153972
1939651814B26B   JENNA            NELSON                 NE           26013825181
1939B724991884   ELIZABETH        SALLAS                 OK           90010787249
193B1154A4B588   LAUREN           JOLLY                  OK           90013651540
193B1896757147   MANUEL           FUENTES                VA           90013658967
193B263A461938   AIOTEST1         DONOTTOUCH             CA           90015116304
193B4979A72B62   BRYANT           SIMS                   CO           90011239790
193B6219391586   MARTHA           SANCHEZ DE ANZALDUA    TX           90010672193
193B798A772B62   MISTY            ROGERS                 CO           90011239807
193B8196A9373B   LATORE           WHITE                  OH           90014781960
193B823145598B   NELLIE           DE LOS SANTOS          CA           49046682314
193B9484661963   FALAH            BAHO                   CA           90012104846
193BB174291263   JASON            FERRELL                GA           90015101742
193BB317951337   ELEASE           FULGHAM                OH           66038613179
193BB333A51355   JENNIFER         LENOS                  OH           90014033330
193BB44745B343   ANTHONY          BEERBOHM               OR           90009044474
194163A5351355   MARIA            CAMINERO               OH           90012443053
1941B75A972B62   FABIAN           AGUILAR                CO           90013887509
19422A4215715B   MELISSA          A VAILLANCOURT         VA           90015110421
1942521A25B343   JASON            DARNELL                OR           90012982102
1942548A861938   LAURA            LOPEZ                  CA           90013604808
19428929A61938   ISAIAH           HAWKINS                CA           90012779290
1942939585715B   CARLOS           VALDEZ                 VA           90009963958
19429A83261958   ALRIC            KING                   CA           46077990832
1943333285B343   JUAN             CHAVEZ DE VERA         OR           90013883328
19435A8474B588   MARGUERTITE      POLLOCK                OK           90012400847
19437547A61963   BRENDA           ACOSTA                 CA           90008275470
1944256694B588   CASSANDRA        WILLIAMS               OK           90010695669
1944428255715B   MELVIN           RAMOS                  VA           90011242825
1944523645715B   MICAELA          ROSALES                VA           90011242364
19445922A72B62   DAISHA           FERNANDEZ              CO           90007909220
194465A165715B   BOSOM            MADUAKOR               VA           90012925016
1945194349373B   TERRIE           VEAL                   OH           64540119434
1945393A651355   CHERRELL         KILGORE                OH           90004759306
1945557715B129   JOHN             THROWER                AR           23010695771
1946127A761963   DARRYL           SCOTT                  CA           90009732707
1946198289373B   YOLANDA          CARTER                 OH           90000889828
1946288A35715B   PAUL             MALLARD                VA           81091128803
1946411764B26B   JAMIE            SNIDER                 NE           90006721176
1946429818B337   CARMEN           PICKETT                SC           11098392981
19464A99972B62   ARLINDA          CONTRERAS              CO           33018120999
1946745124B259   HEIDY            LOPEZ                  NE           90013124512
19468493A5715B   LETICIA          ESTRADA                VA           90011244930
19468A35251337   BRITTNY          DAVIS                  OH           90012970352
1947149224B26B   CLAUDIA          BARRENTOS              NE           90011764922
1947333314B588   ANTHONY          HARTFIELD              OK           90009863331
1947523354B26B   DEISY            PUENTES                NE           26013382335
1947559A991569   JOE              VALLES                 TX           90006255909
1947585AA4B588   AUTUMN           THLOCCO                OK           90009078500
1947691714B259   AMY              LUVISI                 NE           27030549171
194785A515B526   ALICIA           DILLARD                NM           35061325051
1947978425715B   MARIA            BONILLA                VA           90008597842
1948194662B892   SARAH            PRINCE                 ID           90012369466
19483A5269373B   JOSE             YORVI                  OH           90014790526
1948733484B588   SHARLENE         STARR                  OK           90010203348
194886A5451337   CHARLES          MASUR                  OH           90010966054
1948B4A9891263   KENDIL           SAMUELS                GA           90014834098
194913AA772B62   LISA             KING                   CO           90013843007
19494866272B62   MARIA            GONZALES               CO           33088788662
19496A55A72B62   SHARNAE          OSBORNE                CO           90010470550
1949723152B857   RICHARD          BROWN                  ID           90004072315
1949B2AA55B524   RACHEL           GARCIA                 NM           90012822005
194B148A861938   LAURA            LOPEZ                  CA           90013604808
194B4657957147   MARCO            OLIVA                  VA           90013886579
194B474485715B   JEROME           HARRIS                 VA           90014587448
194B56A254B259   MELANEY          MCFARLAND              NE           90014496025
194B8487261938   MILFORD          WILSON                 CA           46007024872
194B9391893745   DAVID            TAYLOR                 OH           90014833918
194B99AA65B343   DANA             MANIVONG               OR           90012059006
194B9A47472B62   SERGIO           LENDOS                 CO           33013370474
1951176A44B26B   JASON            GILMORE                NE           90002447604
1951184295715B   GEMECHU          AGA                    VA           90013958429
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1951548544B588   JOHN             STURGIS                OK           90014674854
1951718414B259   CHRISTIAN        JIMENEZ                NE           90013951841
1951774815B526   LETICIA-RE       COLE                   NM           35051577481
195213A1A57147   WALTER           TREJO                  VA           90010973010
1952817A35B343   GARY             LABRANCHE              OR           90006211703
1952B289891263   TIKIMA           BOWERS                 SC           90013252898
195321A4A33B27   JACOB            SMITH                  OH           90013361040
1953772935B129   TAS HONDA        GOFORTH                AR           90002677293
19539A35451359   ALEX             TURNER                 OH           90012550354
1953B34635B338   LEONARD          WATSON                 OR           44505013463
1954128479373B   MICHAEL          TERRY                  OH           64501712847
19548418A57147   MARVIN           PEREZ                  VA           90011054180
1955151965B526   ISSAC            UCERO                  NM           90010935196
195516A375B343   BRANDON          SCHIEBEL               OR           90013546037
195516AA35715B   ANGELA           CRESPO                 VA           90011246003
1955781635133B   ERIC             PERKINS                OH           90011128163
195598AA291569   MANUEL           ARANDA                 TX           90000388002
1955996764B588   DANIEL           CARREON                OK           90012619676
1956331964B259   AKINYEMI         ADEGBAYI               NE           90010323196
1956443875B343   DAVID            KING                   OR           44502544387
19564958A61958   BRITTANY         SWEDO                  CA           90010349580
1956745314B259   LONG HAIR        DONT CARE              NE           90014504531
1956B64535B154   VENTHENE         HINTON                 AR           23066106453
19572A82455934   ROBERTO          AVILEZ                 CA           90005900824
195756A6557147   AFSHAN           ZULFIQAR               VA           90013456065
195764AA831687   BROCK            FRAZIER                KS           90010214008
19576A83131687   JEREMY           GAYE                   KS           90013910831
1957922497B323   SANTOS           MOLINA                 VA           90008702249
19579264A9373B   JESSICA          SEALS                  OH           90014802640
19586349872B62   KEII             SMALLWOOD              CO           33002253498
1958699495B393   MICHAEL          SOURJOHN               OR           90007379949
1958851434B259   PATRICK          JONES                  NE           90013955143
19591151A61963   GIL              RODRIGUEZ              CA           90012771510
1959184995B154   LERONDA          ASHLEY-PAIGE           AR           23071338499
19596A1765715B   NIKITA DENISSE   MCKENZIE               VA           90013230176
19597787172B27   GLORIA           COLMENERO              CO           90003347871
1959B18394B26B   TAMMY            TITCHEN                NE           90013531839
1959B3A8A9373B   SHAWN            GLASS                  OH           90014793080
195B2A6665715B   CARLOS           CASTRO                 VA           90012570666
195B4A25272B62   VINCE            SIMPSON                CO           33076520252
195B71A184B588   JACONA           THLOCCO                OK           90007931018
195B7219731687   ANGELA           KERNS                  KS           90014092197
195B7467351337   JASON            RADEMACHER             OH           90015284673
195B8579491895   PHILLIP          HUTCHISON              OK           21082955794
195B9986157147   MERLO            GONZALEZ               VA           90004679861
195BB1A2891263   ROBERT           STEPHENS               GA           90014931028
19611676A2B837   SKIELAH          STEINEBACH             ID           90005326760
19617A72151337   BARBARA          LAWSON                 OH           66001100721
196227A5361938   WILMA            DURBIN                 CA           90011007053
19624652A4B259   ROMEO            RIVERA                 NE           90013316520
1962BA6924B259   JAMIE            NUNEZ                  NE           90013970692
1963315584B588   FELICIANO        LIBRADO                OK           90011631558
1963B126A31687   VANESSA          GARCIA                 KS           90013321260
1963B6A2661963   ALEJANDRA        BAILEY                 CA           90008186026
1964466274B588   ASHLEY           GUYER                  OK           90005666627
19651A2A871949   MANUEL           ROMERO                 CO           90009710208
19652839A5B343   KYL              FORDHAM                OR           90013538390
19658A1515715B   MARIA            BROOKS                 VA           90012420151
196592A6491263   TARIQ            JACKSON                GA           90013332064
1965B632361938   AIOTEST1         DONOTTOUCH             CA           90015116323
1966396219373B   MIKEAYLA         HAYES                  OH           90005949621
19668269A61963   ANITA            BANEGAS                CA           90014162690
19668A1887B398   BRANDON          HIGHSMITH              VA           90011570188
1966B443233623   SHARON           BARRAN                 NC           90009784432
1967217795715B   JAIRO            CASTELLANOS            VA           90013821779
1967649A431687   OSCAR            GOMEZ                  KS           90014514904
196778A785B343   A LEE            MANER                  OR           90012788078
196837A9861963   VINCENT          SAUDERS                CA           90012467098
196B122A65715B   YONATAN          CASTRO                 VA           90015152206
196B6A6585B343   KARELINE         MONTEJANO              OR           90014160658
196B746294B26B   TAYLOR           KOLARICK               NE           90011424629
196B773965715B   MARVIN           RIVAS                  VA           90009087396
1971347525715B   SHAQUANA         TALBERT                VA           90014814752
19713A42271967   RAEGENE          OLIVAS                 CO           90011050422
1971491974B588   TALISA           JACKSON                OK           90011599197
1971613245B526   MICHAEL          ARMIJO                 NM           35014071324
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1971B5AA261938   NICOL            YARVRAGH                CA           90010815002
197259A3657147   SUYAPA           BUSTILLO                VA           90013559036
19727A51461938   ESTHER           FRYKLIND                CA           90014740514
1972B37754B259   ASHLEY           GOFF                    NE           27034533775
1972B828831687   CHRISTINA        REYES                   KS           90010898288
197313A4691263   NATASHA          LANG                    GA           14504163046
1973366862B52B   JOHN             FISHER                  AL           90014016686
19742AA118B136   RICARDO          MARTINEZ GUTIERREZ      UT           90015170011
1974678819373B   ELLEN            ROBBINS                 OH           90014797881
1975174AA4B259   BOBBY            MOONE                   NE           90011237400
19758A19372B62   MARGARET         MARTINEZ                CO           33032540193
1976293574B588   MIKAYLA          COVALT                  OK           90013809357
19767A31851355   CURTIS           WARD                    OH           90014570318
1976985315B526   GINO             CHAVEZ                  NM           90014878531
1976B597191263   RAPHEAL          JOHNSON                 GA           90010825971
1977912825B343   GLADYS MARIBEL   GARRIDO                 OR           90013211282
1978137955B343   TERRY            HOWARD                  OR           90011033795
197818A6161958   ISRAEL           COPADO                  CA           90010398061
1978244375715B   CRYSTAL          HOGEN                   VA           90011254437
1978599A557147   HERNAN           MEJIA                   VA           90012929905
19786592A2B234   ERICA            MURPHY                  DC           90004425920
1978B37439373B   TIMOTHY          MURPHY                  OH           90013543743
1979485A64B588   AAMER            SHAH                    OK           90013328506
19796A2179373B   DAVID            BRUSH                   OH           64552130217
1979B566391569   RICARDO          LUJAN                   TX           90006835663
1979B87A451359   TYLER            HARRISON                OH           90012798704
197B52A1A61938   DAVID            CHAVEZ                  CA           90013622010
197B761365B343   ANILKUMAR        BANDARI                 OR           90010246136
197B9673861958   CHRISTINA        DUNNAM                  CA           90010396738
1981279846614B   LORRI            MEAD                    CA           90013837984
19814351872B62   KRISTINA         MARTINEZ                CO           33037733518
1981629545715B   ROBERTO CARLOS   RIVAS IRAHETA           VA           90013052954
1981648A561963   GREG             HOLMES                  CA           90012564805
19816A4815B343   LEE              JILL                    OR           90010590481
1981B629333B28   NATALIE          KAST                    OH           90012736293
1982822225715B   BYRON            TONIC                   VA           81091332222
1982B491431687   SOTHEARA         CHAU                    KS           90002294914
19831567772B62   DELILIAH         MARTINEZ                CO           90012805677
1983218934B588   SERGIO           MALDONADO               OK           90013791893
19834627472B62   JEREMY           CURRY                   CO           90013366274
1983475947B489   OMAR             HERNANDEZ               NC           90006817594
19836753A4B259   KURT             DADO                    NE           90005577530
1983B564591263   KENNETH          HOLMES                  GA           90012935645
19844A3855B526   AUTUMN           BROWN                   NM           90011050385
19847A4394B588   SHANTELL         CHEADLE                 OK           90002690439
198483A6291263   ASHLEY           ALTMAN                  GA           90012933062
1984B224831687   JAMAISA          DAVIS                   KS           90014972248
19852969372B23   NAZARIA          RANCHITO                CO           90001729693
198531A7691569   ROSA             DE SANTIAGO             NM           90007161076
1985386774B588   JOSELYN          PASILLAS                OK           90009648677
19864577672B62   JAMES            JOHANNSEN               CO           90012805776
19865A7685715B   STACEY           TIBBS                   VA           90001420768
198662A9A61938   JESSICA          PERDOMO                 CA           90006622090
1986948929373B   TRAVON           RAMAR                   OH           90014804892
1986B248551359   SIMON            MEKELA                  OH           90010242485
1986B899972B62   JOSE             CABRERA                 CO           90012808999
1986B993891569   DANIEL           GALVEZ                  NM           75016049938
1987221139373B   NOAH             BOYD                    OH           90010682113
19879577972B62   MANUEL           VALENZUELA              CO           90012805779
1987B6A895B343   ANTHONY          BOKMEJ                  OR           90014036089
1987B98235715B   EFI              PONCE                   VA           90012529823
198818A1793745   JACK             SKUN                    OH           90009998017
1988911324B588   DEVIN            HALL                    OK           90013111132
198911A789373B   KATHERINA        DAVIS                   OH           90013901078
198934A1172B62   OMAR             CASTRO                  CO           90014474011
19893579972B62   TYLER            THOMPSON                CO           90012805799
19898512A4B259   BRANDY           MYERS                   NE           90014505120
198B216334B259   ZOTSI            EDEM                    NE           90005561633
198B3AA2561938   RUBEN            ARTEAGA                 CA           90008130025
198B874A97B476   BETTY            ALLISON                 NC           90005197409
1991475394B588   PAYGO            IVR ACTIVATION          OK           90009167539
199181AA631687   CHAMBERS         TINA                    KS           22027711006
1991982A291263   JAMAYA           FRAZIER                 GA           90013918202
1991B38844B259   FERNANDO         RAMIREZ-CRUZ            NE           90015133884
199243A954B588   CRISTIAN         LIBRADO                 OK           90011363095
1992B594257147   ANGELA           PAVON                   VA           81016165942
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199332A6757147   ALEX           GOMEZ                    VA           90007932067
199352A2A7B489   JUSTIN         CARTER                   NC           90010562020
19935519A4B588   CHRISTOPHER    TATE                     OK           90014415190
19935837A51355   JULIA          BUTLER                   OH           66087608370
1993996574B259   THOMAS         ROSS                     IA           90013349657
1994232364B588   ABEL           DE LOERA                 OK           90013543236
1994681AA4B588   JENNIFER       CASTANEDA                OK           90013928100
19948A41751337   PATRICK        CAMPBELL                 OH           90012460417
1994B467351337   JASON          RADEMACHER               OH           90015284673
1995113644B259   ANTHONY        CALVIN                   NE           90013991364
1995821614B259   SAGGA          TOURE                    NE           90013992161
1996145654B259   JORGE          ARENIVAS                 NE           90011754565
19967458772B62   DIANE          TRUJILLO                 CO           90014384587
1996B118833B58   SILVER         CULBERTSON               OH           90013231188
1997425A791573   AARON          BEN                      TX           90012412507
1997789755B526   LEODIES        WARREN                   NM           90012778975
1997928718B13B   BRITANY        RYDALCH                  UT           90010622871
19981632172B85   KATHY          KIRK                     CO           33091106321
1998268454B588   JENNFER        SHEAR                    OK           90001596845
19985135A5B526   VINCENT        MONTANO                  NM           35058191350
1998558255B54B   DOMINIC        LOPEZ                    NM           90001085825
19989275A4B259   THOMAS         GILL                     NE           27097202750
1998B39584B588   DEMARCUS       GRANGER                  OK           90013293958
199945A4A31687   ASHLEY         SAXON                    KS           90014515040
199959A8661963   ASHLEY         STRANGFELD               CA           90013299086
19997512133B92   JAMES          PREM                     OH           90014025121
1999891625B526   JOSHUA         CANTU                    NM           90014819162
199B635945715B   -EVA           MONTERROZA               VA           90011603594
199B664184B26B   JODI           BLATH                    NE           26047686418
199B7556333699   CARLA          STINE                    NC           12013245563
199B95A7793745   JENNY          ELLIOTT                  OH           64516795077
199BB97154B259   MIKE           NEWTON                   NE           90011239715
19B1139524B588   SONRISA        NOWICKI                  OK           90012383952
19B1258329373B   DANIELLE       GEETING                  OH           64508585832
19B12731551359   WILLIAM        BIRD                     OH           90013237315
19B18224661958   CHRISTIAN      JIMENEZ                  CA           90002922246
19B21A7645B343   KEVIN          HOTAILING                OR           90011060764
19B2337A59373B   STEPHANIE      HAMILTON                 OH           90014763705
19B33269184347   CHRISTOPHE     MORRIS                   SC           90001192691
19B336AA957147   RONALD         POLO                     VA           90014166009
19B3458AA91569   LISA           REY                      TX           90003535800
19B35914257147   GIDO           HERNANDEZ                VA           81001029142
19B36761772B62   STEFANY        CRUZ                     CO           90011547617
19B369A5661938   ADOLFO         ORTEGA                   CA           90013269056
19B3736464B588   SCOTT          SHARP                    OK           90011483646
19B3892875B343   RON            HOUSE                    OR           90013799287
19B42334661963   SHARON         PRICE                    CA           46086963346
19B43468A5B526   JOHNNY         VALERDE                  NM           90010704680
19B4548645B526   RAFAELITO      BELINDA                  NM           35072794864
19B45891991569   CARMEN         RIVERA                   NM           90014038919
19B48617457147   RONALD         POLO                     VA           90014166174
19B51832585966   BRIANNA        FOWLER                   KY           90013328325
19B536A4A72B62   ROGER          SMITH                    CO           33066736040
19B53742551355   MYCHAL         SMITH-WADLEY             OH           90014137425
19B5389665715B   CALEB          DAVENPORT                VA           90013588966
19B5686868B197   KEITH          KENDALL                  UT           90010028686
19B589A7251359   JUSTIN         MARKS                    OH           90013719072
19B59126891569   APRIL          BENITEZ                  TX           90015121268
19B5946AA85966   GWEN           JONES                    KY           90009764600
19B5B41254B259   SANTIAGO       TORRES                   NE           90014414125
19B62882757133   GLENDA         FUENTES                  VA           81096658827
19B67587872B62   CHRISTEN       HERNANDEZ                CO           90014655878
19B74433461938   GUILLERMO      OSIANG                   CA           90013964334
19B7812224B259   JESUS          PALMA                    NE           90013021222
19B7856A757147   VIRGINIA       SALMERON                 VA           90002205607
19B79A34A61963   GUADALUPE      JUAREZ                   CA           90011010340
19B7B547551359   YEHIRI         YANEZ                    OH           66034755475
19B8158927B489   KATHY-ANN      THOMAS                   NC           11043695892
19B8182A161958   EDITH          AVINA                    CA           90004068201
19B82627172B62   ANTONIETTE     TYLER                    CO           90013366271
19B8322A55B526   DEBRA          MONTOYA                  NM           90006102205
19B83237291569   ERIC           MENDOZA                  TX           90011112372
19B845A4451359   MENG           MUON                     OH           90012785044
19B8BA61461963   MELISSA        FRIESE                   CA           90014250614
19B9261124B259   JACOB          CANTERBURY               NE           90011226112
19B95321891895   SHERRISE       HARRISON                 OK           90009803218
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19B95549185966   RACHEL         TOWNSEND                 KY           67008595491
19B9747139373B   LAQUATA        JACKSON                  OH           90014764713
19B9829274B588   ALBERTO        CASTILLO                 OK           90012042927
19B9947139373B   LAQUATA        JACKSON                  OH           90014764713
19B9B145261963   CARMEN         ROBLES                   CA           90005271452
19BB3343351337   JASON          CURRELL                  OH           90014043433
19BB5122791895   SONDRA         ARMSTRONG                OK           90013631227
19BB5593391263   LEON           PLUMMER                  GA           90014875933
19BB7299593745   NICOLE         BIRD                     OH           90011562995
19BB8325772B62   BERNICE        MARTINEZ SHRADER         CO           90012803257
19BB889934B26B   CASEY          WHEAT                    NE           90003338993
19BB9326572B62   PSI DAL        LA                       CO           90012803265
19BBB437A57147   LINETH         TULULA                   VA           90013964370
19BBB97767B476   DANTE          FRIERSON                 NC           90000589776
1B11132975B343   URBANO         MUZOZ                    OR           90011683297
1B111852572453   DANIEL         HOUGH                    PA           90008638525
1B11331677B358   MARIA          OMERO                    VA           90003693167
1B11361895B154   AMANDA         DRIVER                   AR           90012726189
1B11926AA43529   LINDA          SMART                    UT           90013912600
1B119A11857147   HUGO           AGUILAR                  VA           90007950118
1B119A62A72B62   STACY          VERGESS                  CO           90011940620
1B11B52819154B   FABIAN         VALENZUELA               TX           75088085281
1B122121593759   STEPHANIE      BABB                     OH           90014161215
1B12398414B259   ALICIA         ROWE                     NE           90009039841
1B125325276B68   ESMERALDA      RAMIREZ                  CA           90013033252
1B126468A5715B   JOSE           LOPEZ                    VA           90010614680
1B12739195B343   JULIO          MAGANA                   OR           90012383919
1B128AA2655948   EDILBERTA      VASQUEZ                  CA           90008030026
1B12B991591569   MARCOS         LOZANO                   TX           90006299915
1B13122A74B588   RENEE          COLLINS                  OK           21589342207
1B132754A4B22B   PEARL          ARMELL                   NE           90010177540
1B133973131687   KRISTY         MADDOX                   KS           22003369731
1B13417357B489   OMAR           FAULK                    NC           90010881735
1B1374A7191895   JEORSHELL      MILES                    OK           90014654071
1B137628291569   JAQUELINE      MOLINA                   TX           75044766282
1B13815848B178   LARRY ARTHUR   RUBEN                    UT           90012611584
1B138234147956   ELIZABETH      RUGE                     AR           90003342341
1B1386A988B178   LARRY ARTHUR   RUBEN                    UT           90004726098
1B13953A372B55   MARICELA       PIZARRO                  CO           33006785303
1B139924A93773   JAMES          HENRY                    OH           90010239240
1B141A27193745   CHARLES        NOEL                     OH           90012950271
1B142736372B62   APRIL          ARMIJO                   CO           90010977363
1B1447A1861936   LANNY          CLINE                    CA           90011827018
1B145512461958   JUAN           HERNANDEZ                CA           90011225124
1B1456A9A5715B   VERONICA       GARCIA                   VA           90010646090
1B14655545B154   EDUARDO        PINEDA                   AR           23066325554
1B147422693766   TERRI          HUNTER                   OH           90007684226
1B149489A4B22B   MICHAEL        EISELE                   NE           27058084890
1B151345661976   BRENDA         FUENTES                  CA           90010253456
1B15189A355948   JUDITH         SANDOVAL                 CA           90014038903
1B15335A672B55   BRENDA         MONTOUR                  CO           90003383506
1B154625947956   MARGARETT      WATSON                   AR           90012566259
1B154A8A52B966   MADELINE       MCNEILLY                 CA           90013590805
1B156139261958   CHARLIE        SANCHEZ                  CA           46017711392
1B156736961972   ROSIE          ERVIN                    CA           90013017369
1B157477361976   CLAUDIA        RAMIREZ                  CA           90002404773
1B158816377577   GERARD         BAYON                    NV           90002618163
1B159192A91263   SHAWN          MCCURRY                  GA           90014591920
1B16195544B22B   DANIQUA        JOHNSON                  NE           90014629554
1B162253291523   BRENDA         ACOSTA                   TX           90010702532
1B162344243563   KATHALEEN      STOKES                   UT           90013183442
1B163555991569   BEATRICE       CASAREZ                  NM           90013635559
1B164469243563   ARIEL          MARQUEZ                  UT           90012164692
1B16591744B22B   YANET          GARCIA                   NE           90015039174
1B167127872B62   NADIA          CENICEROS                CO           90009521278
1B167867243563   KATHY          ROWLAND                  UT           31020658672
1B167983591895   SCOTTY         NEWMAN                   OK           90014629835
1B168A35361976   JOEANNA        GIVENS                   CA           90009090353
1B169265893759   SERENA         MCSPADDEN                OH           90015002658
1B169516691895   ADRIONA        KIEL                     OK           90013895166
1B16991744B22B   YANET          GARCIA                   NE           90015039174
1B16B516691895   ADRIONA        KIEL                     OK           90013895166
1B16B8AA872B55   MONIQUE        VALDEZ                   CO           33093648008
1B17112165B154   TARRELL        RICE                     AR           23077881216
1B171191A8438B   ANGELA         BUCK                     SC           90009401910
1B172516691895   ADRIONA        KIEL                     OK           90013895166
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1B17333517B489   JAMES E        CLOUD JR                 NC           90010463351
1B174379872453   TINA           LOUGHMAN                 PA           90011033798
1B174885555968   DAVID          NOBLE                    CA           49098638855
1B176A9A85B342   SERAFIN        CABELLO                  OR           90004520908
1B17B4A4757147   RAYMUNDO       ACEVEDO                  VA           90011644047
1B181183333699   ANISSA         BYRD                     NC           90012301833
1B1815A494B588   JAY            ZIGLER                   OK           90010825049
1B18162685715B   MICHAEL        SOUZA                    VA           90013326268
1B18163178438B   JAQUAN         DURANT                   SC           90009756317
1B18565315B35B   NATASHA        EDWARDS                  OR           90009876531
1B185A2922B966   MARISSA        RAMIREZ ESPINOZA         CA           90013600292
1B186648693773   TIFFANY        LATHAM                   OH           90014276486
1B18672AA93766   TIM            BODLEY                   OH           90011447200
1B187379872453   TINA           LOUGHMAN                 PA           90011033798
1B18876A976B68   JUAN           VALDEZ                   CA           90011287609
1B18922A98B199   PATRICK        MIANGALA                 UT           90011672209
1B191161876B68   NAYELLY        RODRIQUEZ                CA           90010531618
1B192872772453   R BARRY        SPRIGGS                  PA           90015198727
1B19438452B966   JASON          DOWNS                    CA           90013603845
1B19567A95B35B   DRAKE          STEVENS TUPPER           OR           90013796709
1B19B48614782B   SHANIKA        BARNES                   GA           14095284861
1B19B745261958   JORGE          SAENZ                    CA           90012017452
1B19B842776B68   NATHANIAL      CARPENTER                CA           90014918427
1B19BA9A776B69   JASON          GOEBEL                   CA           90008860907
1B1B2A24457142   MAXIMO         COR                      VA           90002240244
1B1B2A28661972   LAVON          SHIELDS                  CA           90013680286
1B1B4558993759   DAKOTAH        FELL                     OH           90013085589
1B1B5491761958   RANDY          RIVERA                   CA           90011224917
1B1B5897293773   WILLIAM        FRANCIS                  OH           90014518972
1B1B6183561972   YAJAIRA        ROSAS                    CA           90010051835
1B1B6251655948   GABRIELA       MORAN                    CA           90011152516
1B1B65A888B199   DEXTER         PLATTER                  UT           90006435088
1B1B6974477522   WALTER         JOLON                    NV           90007849744
1B1B6A34461938   FERNANDO       SANCHEZ                  CA           90006050344
1B1B83A4133699   C              J                        NC           90013883041
1B1B977984B22B   JO             HUDSON                   NE           90015007798
1B211592343563   ALBERT         TSOSIE                   UT           90007595923
1B212378493745   REBECCA        COLLETT                  OH           90012973784
1B212697393759   DEBORAH        ROBINSON                 OH           90014166973
1B214169A93766   JASON          HUBBS                    OH           90013921690
1B21419157B489   COREY          MERCER                   NC           90013751915
1B21524445B343   HUGO           SUNIGA                   OR           90014912444
1B216AA7655948   MARTHA         GONZALEZ                 CA           90015150076
1B217487861972   YVETTE         CARDONA                  CA           90010354878
1B217668433699   ERICA          CAVINESS                 NC           90012366684
1B2193A2861958   ALYSSI         BERTCHIE                 CA           90010213028
1B21982A391895   JOHNNIE        PARRISH                  OK           21079898203
1B219982957147   JOHN           LOPEZ                    VA           90012629829
1B21B454491569   RUBY           HERNANDEZ                TX           90011284544
1B21B467193759   JUSTIN         FOWLER                   OH           90014574671
1B21B65835715B   EDWIN          UMANA                    VA           90014906583
1B2229AA647956   SAMANTHA       ANDERWS                  AE           90009749006
1B222A43891895   JOSEPH         HAARRY                   OK           90014630438
1B22598265B35B   ISRAEL         TECHALOTZI               OR           90011819826
1B226A54791895   LACI           TURNER                   OK           90014630547
1B229215961976   MARELY         PEREZ                    CA           90012302159
1B229391633699   AUDRIANA       SMITH                    NC           90011223916
1B229535A5B343   GARY           SIMMONS                  OR           90014525350
1B22971685B343   GARY           SIMMONS                  OR           90012027168
1B22B149357147   MARIA          VILLEGAS                 VA           90010211493
1B22B338491569   BRIANA         CARDENAS                 TX           90012663384
1B22B94A693766   DAN            LAKE                     OH           90012039406
1B231215491523   MARIELA        MARTINEZ                 TX           90010342154
1B23123522B966   AL             JONES                    CA           90013612352
1B231846393759   ANTHONY        SMALL                    OH           90013008463
1B232429276B68   HEATHER        YANEZ                    CA           90013034292
1B232A8975B343   ELENA          VEGA-CASTILLO            OR           90011210897
1B233131A43563   HENRI          CARRILLO                 UT           90013361310
1B234259791898   ALYSA          MCKINNEY                 OK           90012182597
1B23432854B26B   MARY           KELLY                    NE           90009783285
1B23462253B722   KAREN          KILJANDER                WY           90014146225
1B234722161938   VERONICA       NIEVES                   CA           46083957221
1B235712391523   BEATRIZ        PICHARDO                 TX           90013017123
1B235868476B68   MARIA          MANRIQUEZ                CA           90010558684
1B23735845715B   JOHN           JARA                     VA           90011023584
1B237525743563   MICHELLE       ROBERTSON                UT           90002725257
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1B23828515B35B   MARISSA        JOHNSON                  OR           90013172851
1B238322691523   GEORGE         AVALOS                   TX           90009673226
1B23B183372453   LOWE           HAWKINS                  PA           90011351833
1B242129272453   BRANDON        PHILLIPS                 PA           90012121292
1B24294A791895   THOMAS         RUTHERFORD               OK           90014639407
1B243636661976   AIOTEST1       DONOTTOUCH               CA           90015116366
1B245473376B68   VIVIANA        VENEGAS                  CA           90013294733
1B2456A2891895   LATANYA        GREEN                    OK           90012696028
1B245823561938   JUAN C         NIX                      CA           90011078235
1B245A95961936   JUANA          OSUNA                    CA           90011830959
1B24772796147B   THEADORA       SMITH                    OH           90014497279
1B24B673A91569   ANDY           GUERRERO                 TX           90004516730
1B2525A8651337   HARDEN         REESE                    OH           90007945086
1B252664533699   SYDNEY         MITCHELL                 NC           90013756645
1B252847A91899   PATNO          MARILEN                  OK           21078638470
1B25286382B966   EDUARDO        LOPEZ                    CA           90004358638
1B256169A55948   JETZABET       DAZA                     CA           90013801690
1B256A99A5B123   SIOBHAN        TRAYLOR                  AR           90013360990
1B25968794B588   BIANCA         JONES                    OK           21562816879
1B25B11165B35B   VERONICA       DIAZ                     OR           90012351116
1B25B37A561976   ENRIQUE        CHAVEZ PEREZ             CA           90012903705
1B263657961972   GAU            VERGARA                  CA           90012156579
1B264179493745   NICOLE         BIRD                     OH           90014851794
1B2641A1593747   TINA           FARLEY                   OH           90012211015
1B269138347956   TIFFINEY       TABOR                    AR           90012551383
1B27115275B343   SETH           STAPLES                  OR           90012261527
1B27167215B343   SETH           STAPLES                  OR           90014586721
1B272641691569   JULIAN         ARANGO                   TX           90008486416
1B27387A261938   MARIA          HORSCO                   CA           90004148702
1B275144855948   JULIO          ELOTLAN                  CA           90013101448
1B275A96361936   SELENA         MUNGUIA                  CA           90010800963
1B276779961958   TRACY          MAYWELL                  CA           90007357799
1B281618861976   LYANNE         CAMACHO                  CA           90013586188
1B281674A55948   JEANETTE       RAMIREZ                  CA           90012856740
1B281892561972   JOSEPHINE      ARVISO                   CA           90010208925
1B282368A91895   PATRICK        PREIBE                   OK           90010413680
1B28445344B22B   DESIRE         VALENTINE                NE           90008944534
1B285856893759   KRISTA         PEREZ                    OH           90011208568
1B28657A88438B   SUSAN          CANNON                   SC           90000205708
1B288883993745   AMY            GRAHAM                   OH           90001538839
1B288995193773   KEVIN          SORNEY                   OH           90006829951
1B29185528B193   ALEJANDRA      HERNANDEZ                UT           90013788552
1B292848893766   LANCE          HAMILTON                 OH           90014878488
1B292A71291569   JOSE           DUENAS                   TX           90001160712
1B2937A3861972   DONNA          MOORE                    CA           90007367038
1B294387547956   TIFFANY        HOWARD                   AR           90007533875
1B294598A51337   RANDALL        GLARDON                  OH           90012225980
1B295363561936   ETHAN          CAVAZOS                  CA           90011833635
1B296A6727B489   SAVANNAH       HURST                    NC           90014540672
1B2998A4476B68   JOSEMANUEL     ABARCA                   CA           90010088044
1B29B698461976   FRANK          TUCKER                   CA           90002966984
1B2B15A5493773   LAURA          MORROW                   OH           90012015054
1B2B2152591263   RICKY          WILLIS                   GA           14518481525
1B2B333475B154   PARIS          HAMMONDS                 AR           90014673347
1B2B446928164B   EDITH          HUSKIN                   MO           90008154692
1B2B5444561938   DANIEL         CARVER                   CA           90014754445
1B2B634275B154   DEVRA          BRISBY                   AR           90014673427
1B2B794A791895   THOMAS         RUTHERFORD               OK           90014639407
1B2B8147493766   WILLIE         JENNINGS                 OH           66080871474
1B2B894A876B68   ANGEL          GODINEZ                  CA           90011539408
1B311667561976   NANCY          GARZON                   CA           90010496675
1B312358793773   TIFFANY        STEWART                  OH           66062603587
1B317A66A91895   TIERRA         DUCKETT                  OK           90014710660
1B318465361958   ABEL           OREGEL                   CA           90004264653
1B31876438438B   JOEL           PALOMA                   SC           90001197643
1B321855772B55   ELENA          VIGIL                    CO           90001258557
1B321A8545B35B   JOSH           LORENZEN                 OR           44561830854
1B32335655B35B   ASHLEY         FRASER                   OR           90013193565
1B32362625715B   ADA            GUEVARA                  VA           81014286262
1B324942861972   JORGE          SECUNDIN                 CA           90013629428
1B3259A5655948   EDELIA         CORTES RUIZ              CA           90011009056
1B326773291569   JESUS          ALVARADO                 TX           90013777732
1B32761425B154   BRITTNEY       SMITH                    AR           90014716142
1B327A35461972   KARLA          MIRAMONTES               CA           90010720354
1B32B16187B489   SHANEIKA       MORRIS                   NC           90013001618
1B32B41918B193   BINJAMIN       PINON                    UT           31044864191
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1B33313415B343   DEEANN          JENTZSCH                OR           90014851341
1B336151961972   VIONORA         ROQUE                   CA           90011131519
1B33653985B154   CLARETTA        DANIELS                 AR           90014705398
1B336897876B68   JESSICA         WILLIAMS                CA           90012668978
1B337381355948   ROBERTO         TIJERO                  CA           90010223813
1B339984861976   ED              ALONZO                  CA           90012869848
1B33B469691569   ISELA           DE LA ROSA              TX           90004304696
1B341576376B68   RUBEN           DIAZ                    CA           90012355763
1B3415A365B343   JANICCY         BARAJAS                 OR           90013235036
1B341A4474B23B   ELEAZAR         LINARES                 NE           90011700447
1B346967657147   RONALD          RONALD STONE            VA           90014249676
1B346A5778438B   LATANYA         BROOKS                  SC           90001660577
1B34861A943563   ARMANDO         VENEGAS                 UT           90009686109
1B34878678B199   CASEY           JOOS                    UT           90012557867
1B354231261958   JOSE            GUZMAN                  CA           90011902312
1B356233743563   MARIA           PRECIADO                UT           90014612337
1B359242243563   MARIA           MIONTES                 UT           90006512422
1B35925235B343   SATAH           HARRISON                OR           90009252523
1B361427891586   DORIS           RIOS                    TX           90010014278
1B361962961958   ERIC            ZAPATA                  CA           90011609629
1B362A83833699   JAMES           JOHNSON                 NC           90013930838
1B36333134B26B   DOUGLAS         DONAHOO                 NE           90013113313
1B36454768B199   ROBIN           STRINGER                UT           31067785476
1B365897261976   RITA            CORONADO                CA           90013038972
1B36716944B22B   RUTH            NASH                    NE           90010311694
1B36716A572B62   TYLER           SITZMAN                 CO           90011191605
1B368221A76B68   ANTONIO         MANRIQUES               CA           90011852210
1B37271145B55B   CLAUDIA         ALVAREZ                 NM           90010397114
1B372A26391523   EDITH           URENO                   NM           90013070263
1B37332795715B   SAID            HIRAD                   VA           90014883279
1B37497A193766   PAUL            REDD                    OH           90014689701
1B381496493773   KRISTA          HOOK                    OH           90011224964
1B384973591569   JESUS           ESPINOZA                TX           90012989735
1B38522944B22B   DONOVAN         LOVE                    NE           90002992294
1B387193A43563   GOMEZ           VALERIO                 UT           90013961930
1B38772189154B   KAREN           DEL RIO                 TX           75033827218
1B388742272453   LORRAINE        SOUTH                   PA           90011377422
1B389154991569   JUANITA         GALLARZO                TX           90005361549
1B39172A85B343   MAGGIE          LORENZ-TODD             OR           90013487208
1B392844861958   YUNUEN          MEJIA                   CA           90013368448
1B39452915B35B   CYNTHIA         KELLEY                  OR           90011185291
1B394A57A31456   LAVITA          STICKLAND               MO           27586380570
1B395767661976   MICHAEL         BUBLE                   CA           90014017676
1B395973861938   KHALED          ALGOHNY                 CA           90011489738
1B396529561936   MARIA           RODRIGUEZ               CA           90009505295
1B397839555948   DARLENE         ALVAREZ                 CA           90002538395
1B3978A9193773   JEFFEREY        SCHLUETER               OH           90014378091
1B3992A195B154   BALINDA         PATTERSON               AR           90011742019
1B39971A755948   VICENTE         CRUZ                    CA           90012887107
1B39B25254B26B   REBECCA         HASTINGS                NE           90011462525
1B39B464391523   LATONYA         HOUSTON                 TX           90013434643
1B39B831691523   OMAR            RODRIGUEZ               TX           90009708316
1B39BA5245B343   JONATHAN        BOHON                   OR           90015140524
1B3B1467291895   ALEXANDRA       WILSON                  OK           90010414672
1B3B2332A8B199   LONNY           JOHNSON                 UT           90014053320
1B3B3A92791569   RAELENE         PEREA                   TX           75005170927
1B3B573175B35B   TERSINA         LOUIS                   OR           90011127317
1B3B5989661958   SABRINA         ROMERO                  CA           90010939896
1B3B9141943563   MARK            EARL                    UT           90015191419
1B3BB25A45B35B   DAMARIS         MAXIE                   OR           90011212504
1B411923A7B489   JESSICA         ROPER                   NC           90013619230
1B412448257147   MAWULE          SESSON                  VA           90009024482
1B412739291523   ANDY            DIAZ                    TX           90011257392
1B4152A7891569   ROSA            RAMIREZ                 TX           90009032078
1B415AA675B155   AUDRA           WILLIAMS                AR           90013340067
1B416217972453   AUSTIN          MARTIN                  PA           90012272179
1B419228651337   EDGAR           GOMEZ                   OH           90012152286
1B41B41A691569   NADIA           RIVAS                   TX           90012074106
1B422493161938   DIANA           MARTINEZ                CA           46042704931
1B424178193759   JOSHUA          CULP                    OH           90010591781
1B426713831687   ALBENTIA        FLORES                  KS           90008747138
1B42921835B526   MARIDELCARMEN   MARTINEZ                NM           90014422183
1B429644433699   DARION          BREEDEN                 NC           90014856444
1B42977455715B   JOSH            HARRIS                  VA           90013247745
1B42B352A93773   LADEESIA        CLAYBURN                OH           90014633520
1B431636661976   AIOTEST1        DONOTTOUCH              CA           90015116366
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1B43169195B526   TANYA          BELONE                   NM           90009906919
1B432153A33699   LAMAR          WILSON                   NC           90011281530
1B434173161958   KENT           LIBBY                    CA           90013681731
1B435388561976   JOSE           CASTRO                   CA           90011173885
1B43693445B154   SEAN           WILLITS                  AR           90014719344
1B436A1819373B   DEIGHT         HARDY                    OH           90011530181
1B4384A7593773   DAVID          LOUGHRIDGE               OH           90014684075
1B439236661958   NORMA          VEJAR                    CA           90014172366
1B43973935B526   TERESA         WRIGHT                   NM           90010157393
1B43987267B489   NICOLE         DINGLE                   NC           90010148726
1B442551A5B526   LOURDES        RERNANDEZ                NM           90002305510
1B442852576B68   ANDREW         SHRADER                  CA           90011548525
1B443413943563   BROOKE         HEMSATH                  UT           90014334139
1B443954393759   STEPHEN        JACKSON                  OH           90005209543
1B444A3A891523   CECILIA        FLORES                   TX           75076680308
1B44543764B23B   TRACY          BLAKEMORE                NE           90013274376
1B44565835715B   EDWIN          UMANA                    VA           90014906583
1B445A51672B2B   DARCY          DECOTEAU                 CO           90012440516
1B449232431456   DANIELLE       LEWIS                    MO           27504082324
1B454182593745   CAROL          LENHART                  OH           90006311825
1B455787161972   CESAR          RAMIREZ                  CA           90013527871
1B45587915B343   BRAD           RUDOLPH                  CA           44556628791
1B45938814B259   REY            ALVARADO                 NE           90011903881
1B45B189393745   ALYSE          SAINE                    OH           90010651893
1B45B4A654B537   ALDEE          SALLASKA                 OK           90010014065
1B461663172435   RENEE          EDGAR                    PA           90004236631
1B462222572483   DONNA          PLAISTED                 PA           51095402225
1B4627A1243563   KATHALEEN      STOKES                   UT           90013347012
1B463128224B7B   NAFATALI       BENITEZ                  DC           90012021282
1B465A94591569   CHRISTOPHER    LOPEZ                    TX           90012980945
1B46B763393759   AUDREY         REED                     OH           90003267633
1B46BA95661972   CESAR          CORRAL                   CA           90006440956
1B47226A943563   JESUS          CHAVEZ                   UT           90012282609
1B473312691569   NATALIA        REYES                    TX           90008863126
1B47484685B154   CRYSTALYN      SAVAGE                   AR           90014318468
1B475415A5B343   PABLO          PENA                     OR           90015054150
1B47555A533699   VALENTIA       QUICK                    NC           90011295505
1B475799172453   FRANNELL       BARBARA                  PA           90007097991
1B475817661938   JUAN           PENA                     CA           90008918176
1B476A7565B154   ERICA          JACKSON                  AR           90014720756
1B47BA82161936   ANGEL          ANGULO                   CA           90009510821
1B48228A793745   LAUREN         SMITH                    OH           90014922807
1B482A73676B68   AARON          LAUFER                   CA           90000680736
1B483629943563   LUCHA          VILLA                    UT           31013186299
1B48399384B266   STEPHANIE      CAMPBELL                 NE           27087829938
1B484196157147   MARIA          AMAYA                    VA           90011681961
1B484457161976   GENESIS        ACEBES                   CA           90003484571
1B486295172453   PAMELA         MOORE                    PA           90000182951
1B489117A55948   ALMA           GONZALEZ                 CA           49079201170
1B489147276B68   JOEL           TORRES                   CA           90013011472
1B48942634B537   ZAJAC          MARIE                    OK           90011174263
1B48B14879154B   MARIA          TREJO                    TX           90001061487
1B494859961958   ANN CHERYL     LITZINGER                CA           90011228599
1B49594A693766   DAN            LAKE                     OH           90012039406
1B49793A44B259   ADAM           LORENZ                   NE           90010509304
1B498655761938   STEPHANIE      CAVALLERO                CA           46016156557
1B49B167657147   ABDUL          ANWAR                    VA           90012771676
1B49B484876B68   JAMES          HUFFMAN                  CA           90011554848
1B4B1675791569   ADRIAN         LOERA                    TX           90011816757
1B4B25A8976B68   ALMA           COLMENARES               CA           90013035089
1B4B3384476B68   VICTOR         TORRES                   CA           90010603844
1B4B346319196B   RONAL          ACOSTA RODRIGUEZ         NC           90006494631
1B4B363929154B   JUAN           MADRID                   TX           90001836392
1B4B4931493766   LUTHER         MALOTT                   OH           90013229314
1B4B61AA361972   SANDRA         RAMIREZ                  CA           90014331003
1B4B6248891263   GARY           PHILPOT                  GA           90014892488
1B4B7331972B62   KIMBERLY       KIEBEL                   CO           33004613319
1B4BB6A1855948   JORGE          GARCIA                   CA           90013966018
1B511326A8B199   MARK           MARTINES                 UT           90013433260
1B5114A5A91569   JESSE          PINEDA                   TX           90013544050
1B5118A7372B62   RAY            CARVER                   CO           90010978073
1B515343433699   TENESHIA       ROBBINS                  NC           90011603434
1B518161A5715B   EVER           REYES                    VA           90006001610
1B5215A544B26B   JESSICA        YELM                     NE           90005595054
1B52365358B199   BRAD           JONES                    UT           90014716535
1B523A68191569   SILVIA         GALLEGOS                 TX           90010750681
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1B524A38A7B489   ALISON           NOVINC                 NC           90013270380
1B525342461938   GABRIELA         SOLTERO                CA           46056203424
1B52594294B22B   TRICIA           LINTO                  NE           27090679429
1B529225491895   KYNES            MCCULLEY               OK           90014642254
1B529849761972   VANESSA          GARCIA                 CA           90007428497
1B52B339761958   TINA             REMLEY                 CA           90010393397
1B531527133699   GABRUM           BAKER                  NC           90012665271
1B5317A8857147   ALEXIS           SAMANIEGO              VA           90013147088
1B53472994B23B   WALLACE          BROWN                  NE           27048997299
1B535111691263   KIZZIE           DOCKERY                GA           90011601116
1B535171993745   RICHARD          BURTON                 OH           90010981719
1B53576597B489   SANDY            SULLIVAN               NC           90013427659
1B535918391569   MIKE             RAMIREZ                TX           90006649183
1B535A5533B35B   LUIS             ENRIQUE GARCIA         CO           33098440553
1B5364A7691569   ORALIA           NUNEZ                  TX           90002404076
1B53B571331687   ANDREA           DICKSON                KS           90011005713
1B53BA3475715B   TERSA            FERRIE                 VA           90011320347
1B5415A695B35B   LUCIOUS          HICKS                  OR           90000425069
1B542877193759   LEROY            MAYE                   OH           90011238771
1B543554993773   SARAH            SHAVER                 OH           90004065549
1B54359A35B35B   JOHN & MUTSUMI   ODEGAARD               OR           90012365903
1B544816761958   ERNEST           FULLER                 CA           90014838167
1B54659A35B35B   JOHN & MUTSUMI   ODEGAARD               OR           90012365903
1B546884493759   JENNIFER         MOORE                  OH           90011238844
1B546A34891569   LINDA            DWYER                  TX           90014060348
1B5479AA893766   GRACE            AGULLANA               OH           90003169008
1B548669743563   JAMI S           CIRONE                 UT           90012176697
1B54B23A561938   MARISSA          LUGO                   CA           90010152305
1B54BA76872B62   KULIANA          FIFITA                 CO           90013630768
1B5523A9991569   RUBY             PEREZ                  TX           90011203099
1B55319657B489   LASONDA          HUDSON                 NC           90013421965
1B553287491895   LACEY            VANDOLAH               OK           90014642874
1B55332897B489   ALEJANDRO        REYES                  NC           90015143289
1B553638261938   APRIL            RODABAUGH              CA           90014796382
1B55444884B22B   ROBERTO          SOTELO                 NE           27070284488
1B554688957147   STEVE            PATHAMMAVONG           VA           81040676889
1B55583427B489   NOBERTO          REAL                   NC           90013928342
1B5566A525B526   RICK             QUINTANA               NM           90012776052
1B558513391569   ARMANDO          GUAJARDO               TX           90006195133
1B558653691569   ALMA             HERNANDEZ              TX           90014926536
1B559722876B68   JUAN MANUEL      QUINONES MARTINEZ      CA           90014077228
1B55B18A78B199   JESS             STEWART                UT           90008571807
1B55B522957147   DANIELA          SORIANO                VA           90008105229
1B55B787391263   ELANEY           BYNES                  GA           90013517873
1B561545191569   MARIO            MUNETONES              TX           90008925451
1B563878A91523   GERARDO          ACOSTA                 TX           90014768780
1B5655A6791569   DANIEL           GRANDADOS              TX           90007655067
1B565965793766   KATHERINE        GARRISON               OH           90005839657
1B56768735B35B   SARAH            ROARK                  OR           44525086873
1B567811A5B526   MARIAH           BROWN                  NM           90014888110
1B567925961938   JAALIYAH         POLITE                 CA           90012889259
1B56BA8694B259   DELMI            HERNANDEZ              NE           27022170869
1B573A34331687   SCOTT            GROTLE                 KS           90013100343
1B575176772B62   RON              PARSONS                CO           90013221767
1B57614475B343   ITZURY           MARTINEZ               OR           90013471447
1B57615834B259   MIKE             PIATT                  NE           90002721583
1B576777272B23   JEFFREY          PAUSCH                 CO           90010167772
1B5778A754B23B   RONNETTE         MAYS                   NE           90010228075
1B577A7A291569   KIMBERLY         ASH                    TX           90010300702
1B579296991569   FELIPE           HILL                   TX           75004062969
1B57B848376B68   ANTHONY          DEMILLE                CA           90013428483
1B582638561976   JESUS            ESTRELLA               CA           90012186385
1B583368291895   ELIJAH           MASON                  OK           90014643682
1B58452918B199   CONSTANCE        MAGINNIS               UT           31064995291
1B584546591569   JOSE LUIS        RODRIGUEZ              TX           90012245465
1B58642A361958   JESSE            TORRES                 CA           90012744203
1B588633561976   KENNTH           SCHMIDT                CA           90011406335
1B58B79945B526   ROSA DIAZ        DE VALDEZ              NM           35048917994
1B591A96672B55   JACOB            KNAPP                  CO           90012770966
1B59221599154B   RUBY             PALMA                  TX           75014472159
1B59593A75B35B   ARMANDO          HERNANDEZ              OR           90011749307
1B59634965B154   ERICA            SANDERSON              AR           90014733496
1B5966A6291895   KARL             HENNINGS               OK           90010486062
1B59688A95B343   FRANCISCO        DELGADO VARONA         OR           90006318809
1B59734965B154   ERICA            SANDERSON              AR           90014733496
1B597718A93759   JANIE            WISE                   OH           90013157180
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1B598718A93759   JANIE          WISE                     OH           90013157180
1B5B2479A61938   JOSEFA         ANGEL                    CA           90013724790
1B5B348815B35B   SMUEL          VALENIA                  OR           90006374881
1B5B715785B343   TERESA         TRIARICO                 OR           44585121578
1B5B795895B154   THOMAS         WILSON                   AR           90014729589
1B5B7AA4676B68   RAYMOND        CASTILLO                 CA           90014710046
1B5B81A5951337   JON            SEIPELT                  OH           90014271059
1B5BB889493745   MICHAEL        JACKSON                  OH           90013418894
1B5BB911393759   JAMIE          MENDENHALL               OH           90013149113
1B611998191569   JESUS          DELGADO                  TX           90009129981
1B6125A3547956   ASHLEY         WYTOVAK                  AR           90015195035
1B61264295B154   DECANDRIA      BUTLER                   AR           90014746429
1B61361478438B   JARELLE        GOVAN                    SC           90010886147
1B6138A7891547   BLANCA         GARCIA                   TX           90009548078
1B614583361976   JAMES          LISING                   CA           90007665833
1B615387193759   CHRISTENA      WALKER                   OH           90011253871
1B616875591569   TEDY           VASQUEZ                  TX           90012858755
1B617413233699   LEE            RICH                     NC           90013114132
1B61787754B588   ALEJANDRA      AMEZQUITA                OK           90004578775
1B6186AA561976   CHOIRONYA      WAGH                     CA           46010866005
1B619278972453   SAM            SMITH                    PA           90013962789
1B62214265B343   ERIK           ERIKSEN                  OR           90012271426
1B622393431456   JAVIER         MARTINEZ                 MO           90011333934
1B623589455948   LEONELA        AGUILAR                  CA           90011525894
1B625956976B68   JESUS          DELGADO                  CA           46012359569
1B627633561972   AIOTEST1       DONOTTOUCH               CA           90015116335
1B62846865B35B   INES           BRAVO                    OR           90003234686
1B631543361976   JOSE           GARCIA                   CA           90008905433
1B6319A4393766   DERRICK        DALZELL                  OH           90005469043
1B632636661976   AIOTEST1       DONOTTOUCH               CA           90015116366
1B633351A91569   HERNANDEZ      LARA                     TX           90006513510
1B634368533647   SONIA          MILLS                    NC           90010013685
1B63577215B526   BRENDA         PINON                    NM           90010157721
1B635A4475B35B   BRYAN          BRUCKER                  OR           90013200447
1B636177272B62   BREYUAN        RILEY                    CO           90013221772
1B638911972B62   VERONICA       VILCHIS                  CO           90009769119
1B63952575B35B   ES             AMILE                    OR           90015125257
1B639995276B68   GLENN          VINSON                   CA           90013919952
1B64328834B22B   KENETA         BROWNE                   NE           27009842883
1B644335761938   JAKE           STINGLE                  CA           90009703357
1B644372857147   ADELAH         VENTURA                  VA           90013183728
1B645877891523   FEDERICO       GARCIA                   TX           90010308778
1B646263A51337   MIRANDA O M    GABBARD                  OH           90005502630
1B64B96125715B   RICARDO        MARIANO                  VA           90012659612
1B653581176B68   MARTIN         SANCHEZ                  CA           46025085811
1B65359945B35B   ERIC L.        WINTERS                  OR           90012365994
1B654724772B62   ELIZABETH      PAVON CHACON             CO           90012607247
1B655A1A961958   JOSE ANTONIO   RODRIGUEZ                CA           90014210109
1B65614784B588   JUNIOR         HERNANDEZ                OK           90006441478
1B65772265B343   JASMINE        BLACKMAN                 OR           90012727226
1B658292891569   JUAREZ         STEPHEN                  TX           90012962928
1B658386461972   SERGIO         MARQUEZ                  CA           90013343864
1B659574733699   PAKAS          CUANAS                   NC           90013935747
1B65967855B74B   ADDIE          JAMES                    MN           90014306785
1B65B63A77B489   LOANY          HERNANDEZ                NC           90012476307
1B66274455B154   DESTINY        HUNT                     AR           90014737445
1B663312593745   DANIELLE       MITCHELL                 OH           90013053125
1B66341A491523   LUZ            LUNA                     TX           90011874104
1B6652A8961976   STEVEN         JOHNSON                  CA           90013752089
1B665392755948   PATRICIA       REYES                    CA           90012313927
1B667279791263   PAUL           MCKELVEY                 GA           90014342797
1B6674A7533699   JESSICA        WATTS                    NC           90013944075
1B6675A625B343   HECTOR         CHACON                   OR           90000825062
1B667782151337   RICARDO        TINGLE                   OH           90013287821
1B66818615715B   SIRIWAN        JAROENPIRASATIAN         VA           90003441861
1B6683A7457147   ROSA           VALLADARES               VA           90012623074
1B66876A291523   MARIO          MENA                     TX           90013817602
1B66986565B526   ERVIN          BRADFORD                 NM           90011208656
1B67442315B526   WINONA         YOUNG                    NM           90012084231
1B675658A43563   JESUS          BANDERAS                 UT           31015516580
1B67755A561938   ETHEL          WEEKLY                   CA           46085045505
1B67931175B35B   JACKIE         BULLOCK                  OR           90014543117
1B679A12272B62   EARL           LAMPLEY                  CO           90011840122
1B67B851791573   IISHA          JAMES                    TX           90007808517
1B681845961938   MARIO          NAZA                     CA           46077848459
1B682914333699   EBONEE         GARRISON                 NC           90013939143
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1B682A58472B62   MAIKUDI        SHOAGA                   CO           90012980584
1B68362315B35B   JUNIOR         DE LA CRUZ               OR           90014546231
1B68394527B489   JUAN           POZOS-FRANCO             NC           90010499452
1B68458A45715B   OSCAR          BERDUO                   VA           81069435804
1B685A32691523   RODOLFO        MORA                     TX           90015130326
1B687996551337   EDWARD         NICHOL                   OH           90009979965
1B689161976B68   RUBY           DEVINE                   CA           90007571619
1B692AA7733699   JON            WALKER                   NC           90013940077
1B69495535B35B   LANCE          BISHOP                   OR           90014769553
1B69499969154B   FREDERICK      VOGLEWEDE                TX           90008019996
1B694AA6961958   KIARA          KAGSLDALE                CA           90014850069
1B695364672453   NICOLE         ZAPPI                    PA           90011463646
1B69551A272B62   MARSHALL       HOPPER                   CO           90011325102
1B696182443563   ANDREW         THEW                     UT           90004311824
1B69626327B489   DEMETRIO       HERARA                   NC           90012412632
1B696385747956   PHILENA        ROBINSON                 OK           90007053857
1B697317391523   STACEY         SHERRILL                 NM           75046943173
1B698A86272B34   ERIC           LOWERY                   CO           90010170862
1B699A16193759   DANTRE         DICKERSON                OH           90014750161
1B6B212945B388   JASMINE        THOMAS                   OR           90010921294
1B6B3473293766   JENNIFER       BIRON                    OH           90002794732
1B6B3516447956   MISTY          HOUCHIN                  AR           90005435164
1B6B414A576B68   ELIZABETH      MARTINEZ                 CA           90011581405
1B6B436448B199   EDITH          MONTANO                  UT           90013193644
1B6B5234293759   CHANTE         WINDERS                  OH           90010182342
1B6B72A3172B62   SERGIO         CASTILLO                 CO           33088242031
1B6B8568A8B152   HENRY          HUISH                    UT           31005225680
1B6B8613A8438B   PAUL           GULLQUIST                SC           19065936130
1B6B919A391569   DIANA          FLORES                   TX           90013361903
1B6B939115B343   BRANDI         LEWIS                    OR           90007753911
1B6B9867471965   CASSANDRA      GARCIA                   CO           90013668674
1B6B9A11447956   EDDIE          ENGLISH                  AR           90013720114
1B6BB524593766   KEVIN          COLVILLE                 OH           90010285245
1B711689633699   TOSHA          ABDELWALTEZ              NC           90011996896
1B713655161936   ADRIAN         MARTINEZ                 CA           90009536551
1B715723772B62   SERGIO         COLUNGA                  CO           90010287237
1B7162A234B259   RAFAEL         CANALES                  NE           90011602023
1B718287172B62   MEAGAN         PEREA                    CO           90012762871
1B71981175B35B   ANSON          GARCIA                   OR           90012678117
1B721AA595B343   VICTORIA       WEST                     OR           90015230059
1B722294A8B199   FREDRICK       FEHLMAN                  UT           90014002940
1B72283545B343   HEATHER        MCNAMEE                  OR           44572708354
1B723355561958   AURA           MAR                      CA           90013683555
1B725148576B68   MARCELO        MORA                     CA           90011771485
1B72662822B863   MARK           BESSETTE                 ID           42014126282
1B731745851337   KENNY          EVANS                    OH           90005787458
1B732822761936   GABRIELA       MURILLO                  CA           90009538227
1B73313684B259   CISSILY        GOMEZ                    NE           90010071368
1B734A3337B489   JOE            MEDDOR                   NC           90012900333
1B735197691523   MARIE          ROACHO                   TX           90005821976
1B73575745B154   FRANSICO       PRIESTER                 AR           90011887574
1B736941761976   MARIA          MIJANGOS                 CA           90013039417
1B736A7988B199   SCOTT          DAVIS                    UT           31083110798
1B739228257147   LUISA          MARTINEZ                 VA           90014732282
1B739615A8B199   GEOFFREY       BURR                     UT           90014666150
1B73B227193745   KELLY          SUTTON                   OH           64503852271
1B73B565261972   JIM            TROAST                   CA           90008405652
1B73B745993759   JACOB          KING                     OH           90010737459
1B742347747846   OCTAVIOUS      CORNELIOUS               GA           90013293477
1B742681991895   JOSHUA         HENRY                    OK           90014646819
1B743625764183   EDWARD         MOORE                    IA           90014076257
1B74373A291523   CARLOS         VILLARREAL               TX           90015337302
1B7453A235B154   DEANNA         LEVER                    AR           90014773023
1B746489A61938   RODNEY         SANDERS                  CA           90010494890
1B74782A861958   BRENDA         GARCIA                   CA           90014188208
1B748A61843563   EDVERT         CERRON                   UT           90006780618
1B749314957147   JOSE           GOMEZ                    VA           81014483149
1B7563A955B343   KAMEKA         THOMPSON                 OR           44578153095
1B75739145715B   ALMA           URQUILLA                 VA           90013653914
1B7592A975715B   TILAHUN        WOLDE                    VA           90008722097
1B75949AA61938   PHILLIP        CHRISTMAS                CA           90013064900
1B75963764B23B   JASON          HUBBARD                  NE           90012036376
1B75B233891263   ROSA           ADKINS                   GA           90012342338
1B7615A942B889   MALCOLM        MOSSES                   ID           90010475094
1B761625555948   TINA           ROSEL                    CA           90009276255
1B762A55672B62   CARLOS         PACHECO                  CO           90013030556
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1B763633491895   MARIA          GALEANA                  OK           21048976334
1B76367568438B   GERALD         WEATHERFORD              SC           19038576756
1B764572761958   JANET          GUTIERREZ                CA           90008335727
1B76696A75B154   DON            MCELROY                  AR           90014749607
1B76839A25715B   MEIBY          ROMERO                   VA           90010793902
1B768462561972   GUADALUPE      GONZALEZ                 CA           90011204625
1B76B98125B35B   ROBERT         KELLY                    OR           90009579812
1B76BA73791263   ERVIN          TATE                     GA           90013040737
1B772A75357147   LUIS           SEQUEIRA                 VA           90013500753
1B7746A3991569   ANDREW         FLORES                   TX           90011916039
1B7748A6361938   VANESSA        CARDENAS                 CA           90014108063
1B7769A5572B28   SARA           WARWICK                  CO           33024659055
1B77838954B26B   JULIE          GIBSON                   NE           90011273895
1B778925976B68   DAVID          OLIVARRIA                CA           90013089259
1B779A4A75B35B   SERGEY         PUKAY                    OR           90012510407
1B78249835B154   KENDRA         SIMS                     AR           90010784983
1B783644361938   FERNANDO       CARVALHO                 CA           90013056443
1B78571114B26B   RAMONA         E LUNA                   NE           90013357111
1B786429155948   LESLI          CASTELLON                CA           90009104291
1B787188661936   DIANA          GOMEZ                    CA           90009541886
1B789284257199   LISA           RUIZ                     VA           81012732842
1B789982357147   JOSE           DIAZ                     VA           81013829823
1B78B728A51337   JUSTIN         JONES                    OH           90000727280
1B78B93A18B199   MICHAEL        WHITESELL                UT           90010519301
1B791262261976   CHRISTOPHER    NAVARRO                  CA           90010692622
1B79245948B193   REBBA          MARTINEZ                 UT           90010724594
1B792488233699   BENJAMIN       MERRIMAN                 NC           90013964882
1B793172761938   ADRIANA        SANCHEZ                  CA           46076931727
1B795425361958   ARMANDO        RAMOS LLAGAS             CA           90011234253
1B795584661972   MONIQUE        LOPEZ                    CA           90009385846
1B795698193745   SHAWN          FAIR                     OH           64551836981
1B798859876B68   PEDRO          HERNANDEZ GONZALEZ       CA           46043668598
1B7B2795A76B68   JOSE           SILVA                    CA           90013357950
1B7B2928A61938   DORA           TELLEZ                   CA           46056159280
1B7B3855347956   MICHAEL        TUCKER                   AR           90010818553
1B7B5999776B68   ROSARIO        DIAZ                     CA           90013039997
1B7B725A833699   DAMIAN         RUIZ                     NC           90013942508
1B7B8333A8B199   JOHN           HERRIN                   UT           90009443330
1B7B9216497B38   DEBBIE         GOMEZ                    CO           90006852164
1B7BB862872453   CHRISTI        PATTERSON                PA           90014798628
1B811896793766   REGINA         HATCH                    OH           90005618967
1B812618872B55   ANDREW         AHRENDTS                 CO           90003406188
1B81271AA91263   ASHLIEGH       WYNN                     GA           90006367100
1B814876A4B543   TANIA          RUBIO                    OK           90005938760
1B816246891569   JORGE          GODINEZ                  TX           90013932468
1B81655864B22B   DEVIN          HERNANDEZ                NE           90011285586
1B816624251337   CHESLIE        BOLDEN                   OH           90010006242
1B817428761958   ANDY           DE VRIES                 CA           90012744287
1B81754257B489   QUADARRIUS     HOLT                     NC           90012825425
1B817992761972   RAMOS          RIGOBERTO                CA           90013239927
1B818625161976   MAYRA          SALINAS                  CA           90008306251
1B819486631687   DALANDO        HENDERSON                KS           90008794866
1B819769133699   CARLOS         RAMOS                    NC           90013967691
1B81982385B154   CHRISTY        TAPP                     AR           90015108238
1B822279461972   KENDRA         MACIAS                   CA           90010342794
1B82241285B35B   REBEKAH        HODGES                   OR           90013834128
1B824745776B68   CINTHIA        HERRERA                  CA           90007937457
1B825637393763   CHRISTOPHER    CHOBOT                   OH           90010326373
1B826338391569   LUIS           RAMOS                    TX           90013293383
1B828871591569   VIANEY         VILLA                    TX           90010838715
1B82B82385B154   CHRISTY        TAPP                     AR           90015108238
1B83216AA93766   TREY           PALERMO                  OH           90005671600
1B832873897B69   TEODOSO        GAMBOA MIRANDA           CO           90015178738
1B833A3625B343   IRMA           JIMENES                  OR           90014920362
1B837783461972   CESAR          CASTILLO                 CA           90012937834
1B839139A93745   SUEANN         ENGLAND                  OH           90010651390
1B839436447956   DUSTIN         MCCLELLAN                AR           90010384364
1B839571957147   DANIEL         GONZALEZ                 VA           90010435719
1B839975155948   MIRIAM         ALVARADO                 CA           90014419751
1B841197533699   ASHLEY         CRIGGER                  NC           90011741975
1B843223561938   ALEJANDRO      ANTUNEZ                  CA           90008092235
1B844432A91523   ARACELI        DIAZ                     TX           90014154320
1B84542285B154   ISIC           MCFEE                    AR           90014784228
1B846484791263   CHRISTIAN      THOMPSON                 GA           90012934847
1B848A53976B68   JOSE           AVILES                   CA           90013530539
1B849326957147   JOSE H         ARREOLA G                VA           90012603269
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1B849725161976   MARICELA       SALDANA                  CA           90000167251
1B84B462893759   ANESHA         ROBINSON                 OH           90014624628
1B85431375B526   ADRIANA        GARCIA                   NM           90008053137
1B854343A91569   MARTIN         NAJERA                   TX           90012753430
1B854432976B68   STEVE          MCCLUSKEY                CA           90014294329
1B855521661972   JOSHUA         BROADNAX                 CA           90013185216
1B8559AA261957   CESAR          CARIBAY                  CA           90012329002
1B85647367B489   JUAN           RUBIO                    NC           90003374736
1B85712445B35B   KYLIE          MCGINNIS                 OR           90011931244
1B85759945B35B   ERIC L.        WINTERS                  OR           90012365994
1B85811899154B   ELSA           APODACA                  TX           90013751189
1B858A51191569   VERONICA       SILVA                    TX           75009640511
1B859439451337   STANDER        CHANDRA                  OH           90006194394
1B85B371957147   MARIA EMMA     ERICK GONZALEZ           VA           90012613719
1B85B571A31456   FREDRICK       COLLINS                  MO           27503615710
1B85B823933699   STACY          STRICKLIN                NC           90011888239
1B862636661976   AIOTEST1       DONOTTOUCH               CA           90015116366
1B866A26957122   SIFREDO        FRANCO                   VA           81027520269
1B868829193745   CHARLES        NOEL                     OH           90010948291
1B869543A5B526   AHILY          ORTIZ                    NM           90010255430
1B872333657122   GLORIBETH      RAMOS                    VA           81029703336
1B873742761976   DIANA          GRIGSBY                  CA           90013227427
1B873994657142   MIGUEL         CAPELA                   VA           90005939946
1B874415491523   JUAN           MONTES                   TX           90013664154
1B8765A255B154   DERRICK        WHITE                    AR           90014785025
1B87845965715B   DANIEL         RUIZ                     VA           90007844596
1B8784A8893759   RONALD         CROWE                    OH           90014644088
1B878791633668   TAWANNA        WILSON                   NC           90009187916
1B8789A248B199   CHRISTINA      WINBERG                  UT           90008009024
1B8791A665B343   FRANK          RIZZO                    OR           90013381066
1B87996885B35B   MARLA          HEGWOOD                  OR           44540189688
1B87B636661976   AIOTEST1       DONOTTOUCH               CA           90015116366
1B882149761976   TIANA          BELL                     CA           90014181497
1B882581272B62   CHRIS          SMITH                    CO           90011975812
1B884194A61938   WASHINGTON     KOPENSKI                 CA           90013831940
1B884A1335715B   PEDRO          ENROQUES                 VA           90008670133
1B887486631687   DALANDO        HENDERSON                KS           90008794866
1B88929887B489   CLARA          RODGRIGUEZ               NC           90011302988
1B892A64851337   CARLO          MONT                     OH           90012610648
1B894521661972   JOSHUA         BROADNAX                 CA           90013185216
1B895671557147   LINSEY         STEPHENS                 VA           90014746715
1B897736393745   HOLLY          CHARLES                  OH           90001287363
1B898787A33667   SATERIA        WILSON                   NC           12081727870
1B899436447956   DUSTIN         MCCLELLAN                AR           90010384364
1B899A87447956   MARISOL        ESCOBAR                  AR           90010750874
1B8B237515715B   ALEXIS         QUIÑONEZ                 VA           81012423751
1B8B3129661972   ANDREA         VALADEZ                  CA           90013811296
1B8B3AA8261958   SUSANNA        GONZALEZ                 CA           90014850082
1B8B4A89722929   SHEREE         HARRISON                 GA           90013900897
1B8B6976493759   NEYHA          SMOOT                    OH           90004959764
1B8B742385715B   LESTER         CHACON                   VA           90013654238
1B8B74A7161958   NORA           BECERRIL                 CA           90013684071
1B8B8848861958   ANTONIO        SIMPSON                  CA           46005978488
1B911AA575B526   SARAH          RODGER                   NM           90010340057
1B91269A69154B   SANDRA         MARTINEZ                 TX           90004286906
1B912948161976   MICHAEL        OCHOA                    CA           46040949481
1B913755455948   MATEO          MENDOZA                  CA           90013277554
1B915142593759   BRITTANY       PHILLIPS                 OH           90014661425
1B916A8125B526   PEDRO          GRANILLO                 NM           90013320812
1B917174493745   HOLLY          PENNY                    OH           64586951744
1B919941572453   DAVID          MEDLIN                   PA           90001769415
1B922961947956   BECCA          SANCHEZ                  AR           90006079619
1B9233A9A93759   TYLER          PHARES                   OH           90014633090
1B923484191895   SHAWN          DUNCANT                  OK           90014604841
1B924433855948   ROBERTO        DE LA MORA               CA           90012534338
1B9249A7971933   GREGORY        FARRAR                   CO           90011679079
1B92676A591895   NATASHUA       CORY                     OK           90014657605
1B926824372453   ARTHUR         MULL                     PA           90014058243
1B9282A5A33699   EVELYN         KENNER                   NC           12096622050
1B9289A1276B68   JOSE LUIS      GONZALEZ                 CA           46083429012
1B92B77A561958   JESSICA        PEREZ                    CA           90014467705
1B932187376B68   SALVADOR       MEJIA                    CA           90013221873
1B932A7465B343   ANDREA         MARTINEZ                 OR           90013340746
1B93386947B398   SHAFALI        NAGPAL                   VA           90013968694
1B93412A491569   CLAUDIA        VASQUEZ                  TX           75014701204
1B934628361972   JORGE          HERRERA ORTIZ            CA           90004886283
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1B9352A2161938   MARIA          MUNOZ                    CA           90012982021
1B935663361972   ARIEL          IRIBE                    CA           90011896633
1B936397A86445   GAIL           WANG                     SC           90014683970
1B93749295B35B   ROMEO          SANTOS                   OR           90014474929
1B938317347956   TIFFANY        PARKS                    AR           90012253173
1B93845965715B   DANIEL         RUIZ                     VA           90007844596
1B939298293745   ADAM           CHALMERS                 OH           90014952982
1B93B695997B39   RICHARD        WHITNEY                  CO           90008946959
1B93B865661958   IVETH          ANGON                    CA           90013038656
1B941756491263   DEBRALEE       HOWELL                   GA           90013457564
1B9424A4931687   BOB            BROWN                    KS           90010434049
1B942543761976   LAURA          PICHARDO                 CA           90013005437
1B942698657147   FELIX          KISIEDU                  VA           90014256986
1B946636461976   AIOTEST1       DONOTTOUCH               CA           90015116364
1B947878676B68   ANA            TORRES                   CA           90011688786
1B948824655948   ANESSA         LEYDIG                   CA           90000568246
1B94946A84B259   TJ             TELLEZ                   NE           90012544608
1B94B63534B23B   JENNIFER       MILIAN                   NE           90013806353
1B952996A5715B   ADEFRIS        KABTHYMER                VA           90012379960
1B954285172B62   REBECCA        KENNEDY                  CO           90013502851
1B957A3A372B62   MARIE          SANCHEZ                  CO           33087260303
1B958395A5715B   HICHAM         HAYDADI                  VA           90010793950
1B958767861938   PATRICIA       RIVAS                    CA           46052697678
1B96135715B343   MARIA          IRAHETA                  OR           44577923571
1B96265445B526   BLAINE         GABALDON                 NM           90013016544
1B964572357147   RHONALD        POLO                     VA           90014165723
1B964665A51337   VICTOR         GARCIA                   OH           90003516650
1B96512645715B   JOUSE          LOPEZ                    VA           90012411264
1B965394355948   LUIS           GONZALEZ                 CA           90008633943
1B965AA355B343   DEVIN          BRAY                     OR           90013160035
1B96784327B489   PAMELA         WHITE                    NC           90001968432
1B968A7617246B   ELCORA         WALLACE                  PA           90012670761
1B968AA1851337   PRISCILLA      ALLRED                   OH           90014560018
1B971617A72B62   FRANCES        BOURCY                   CO           33064196170
1B973636461976   AIOTEST1       DONOTTOUCH               CA           90015116364
1B974213461972   LUIS           GARZA                    CA           90013282134
1B975391547956   STEPHEN        SIMPSON                  AR           90010783915
1B97723945B154   JASMINE        JENNINGS                 AR           90010252394
1B977793172435   JAMIE          MARSH                    PA           51060207931
1B978769391523   OLIVO          EDUARDO                  TX           90009627693
1B978A17A5715B   LUIS           LEON                     VA           90012740170
1B97922775B35B   LEONARD        BROWN                    OR           90013302277
1B981682A91895   MICHEAL        HELTON                   OK           90010516820
1B9819A6157142   ROBERTO        PARADA                   VA           81028559061
1B983158476B68   DAVON          HUDSON                   CA           90011701584
1B983397531456   STACY          TIJERINA                 MO           27542773975
1B98384348B199   WENDY          BOOG                     UT           31069228434
1B98385897B489   STACEY         DOTSON                   NC           90006008589
1B984421391569   EDUARDO        GUERRERO                 TX           90011124213
1B9845A4961976   JOSEFINO       SALIBA                   CA           90014745049
1B98486175715B   JOEL           ALAS                     VA           90010308617
1B985765561958   JOANNA         ROMERO                   CA           90011787655
1B98697225B526   ADRIANNA       JACKSON                  NM           90007979722
1B987316861976   ANA            MARIA                    CA           46065063168
1B98817667B489   TONISHA        POLK                     NC           90011461766
1B988726157147   JACQUELINE     PRUDENCIO                VA           90010397261
1B98B1A8491569   CYNTHIA        CHAVEZ                   TX           90013031084
1B99321425B532   ROSA           CASTILLO                 NM           90012292142
1B993421261976   CARLOS         ARREDONDO                CA           90015014212
1B99614AA5715B   JOSE           CRUZ-ALVAREZ             VA           90014531400
1B996A6625B343   EUTIMIO        AYALA                    OR           90009640662
1B997171176B68   LAURA          LOPEZ                    CA           46028891711
1B997599391569   MARIBEL        CHAVIRA                  TX           90011435993
1B9B1449561972   PATRICK        FAISON                   CA           90011764495
1B9B167AA33699   MARQUEISHA     HAMILTON                 NC           90014296700
1B9B1A17A5715B   LUIS           LEON                     VA           90012740170
1B9B3344391967   SHAWN          WILLIAMSON               NC           90007683443
1B9B3733A61972   SANDY          AMARO                    CA           90011317330
1B9B3927693759   TERRY          HARRIS                   OH           90014629276
1B9B39A7761958   DORTHY         DICKMAN                  CA           90014889077
1B9B5643372B62   BRANDY         FELDE                    CO           90006816433
1B9B735A472453   CORI           HENDERSON                PA           90011123504
1B9B7374291263   MARCO          AL                       GA           90014723742
1B9B8656491523   MARCUS         PACHECO                  TX           90011166564
1B9B9557376B68   NICOLE         DAVIS                    CA           90012855573
1B9BBA53976B68   JOSE           AVILES                   CA           90013530539
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1BB13583393773   KIMBERLY       BROWN                    OH           90011105833
1BB13A48543529   LINDA          SMART                    UT           90014130485
1BB1448345B343   EVELYN         PONCE                    OR           90013414834
1BB1531864B26B   ADRIANA        CUSATIS                  NE           90011443186
1BB16117861972   SANDRA         CHAVEZ                   CA           90015091178
1BB16515991523   JAVIER         MONTANES                 TX           90007315159
1BB1865295B154   VALANDRA       JACKSON                  AR           90005366529
1BB19554993773   SARAH          SHAVER                   OH           90004065549
1BB1B812257142   MELVIN         MENDOZA                  VA           90006748122
1BB2116395B526   JOSEPH         TAFOYA                   NM           90013171639
1BB22491791569   ASHLEY         SIMENTAL                 TX           90013374917
1BB225A8872426   MORRIS         HEMINGER                 PA           51079955088
1BB2388A891523   MICHAEL        RODARTE                  TX           90009538808
1BB2412315715B   MARGARITO      LUIS                     VA           90013631231
1BB25653776B68   RAUL           CERVANTES                CA           90008696537
1BB26138261976   JERRY          ELLIOTT                  CA           90013861382
1BB28A8295B35B   PABLO          GUTIERREZ                OR           90010740829
1BB31252433699   DANIELLE       GRIFFIN                  NC           90012132524
1BB32586791569   LETICIA        FRENCO                   TX           90004955867
1BB33383331687   SASHA          BEARD                    KS           90012333833
1BB34655461972   ISMAEL         ESPARZA                  CA           90015176554
1BB34A6A17B489   MILDRED        LAZO                     NC           90009980601
1BB35423172B62   VERONICA       CARMEN FERRER            CO           90010784231
1BB36155191263   THERESA        WALKER                   GA           90010251551
1BB36447957142   CHAD           ANDERSON                 VA           90007204479
1BB37132461972   SERGIO         DE LA CRUZ               CA           90011341324
1BB3723A957147   MITCHEL        SMITH                    VA           81076722309
1BB37686161976   YOLANDA        GUTIERREZ                CA           90015126861
1BB37785691263   ALAN           CANTERBURY               GA           90012977856
1BB38366943529   DAVID          GONZALES                 UT           90012303669
1BB4116A15B343   DAGOVERTO      FUENTES                  OR           90013751601
1BB41716351337   LAJUAN         TUCKER                   OH           90013177163
1BB41989131687   JUSTIN         PARRENT                  KS           90008739891
1BB4282A55B526   CHARLOTTE      CORDOVA                  NM           90014888205
1BB44861972435   MARKLEYLA      MILLER                   PA           51007558619
1BB47646493759   WILLIAM        VANMETER                 OH           90014176464
1BB48A3A761936   IVORY          BALLARD                  CA           90011820307
1BB49522847956   LARRY          TURNER                   AR           90011025228
1BB5274A343529   LACY L         GARDNER                  UT           90008807403
1BB53277443563   TRAVAS         BARTLETT                 UT           90014882774
1BB5553278B199   JOSHUA         ROBERTSON                UT           90013375327
1BB58219461976   SALVADOR       SANCHEZ                  CA           90013072194
1BB58429272435   LORI           TWEED                    PA           51025324292
1BB58A74161938   OLIVIA         GEORGE                   CA           90011360741
1BB59413461972   MARTIN         COFFEY                   CA           90011384134
1BB6179125B343   GABRIEL        MARTINEZ                 OR           90011617912
1BB64758855948   GUADALUPE C    FABELA                   CA           90012817588
1BB663A568B193   SHAWN          HARMAN                   UT           90012323056
1BB66465293745   DEEANNA        SCHUMACHER               OH           90014194652
1BB6657A87B489   JARMORRIS      SIMS                     NC           90010205708
1BB67363357142   DANIEL         ORELLANA                 VA           90005863633
1BB68472851337   FLORENCIO      AGUILAR                  OH           90014874728
1BB68622357147   MARIEL         LOPEZ                    VA           90013076223
1BB6891A755948   VICTORIA       GRANADO                  CA           90014519107
1BB72444561938   DANIEL         CARVER                   CA           90014754445
1BB73849191523   VANESSA        WREN                     TX           90012408491
1BB7412A555948   GURINDER       SINGH                    CA           90011461205
1BB74155191263   THERESA        WALKER                   GA           90010251551
1BB766AA457147   DARIAN         SHAW                     VA           90012196004
1BB76919A91895   CHANNELLE      SAMUELS                  OK           90014629190
1BB77185551337   STEPHANIE      BELL                     OH           90009711855
1BB78A7832B963   RICK           REGUR                    CA           90005890783
1BB7934925B343   JUAN           CARLOS                   OR           90011813492
1BB7953985B154   CLARETTA       DANIELS                  AR           90014705398
1BB79A41955948   JEREMY         SMITH                    CA           90013250419
1BB7B377761972   SALILA         GALLEGOS                 CA           90003213777
1BB7B55A731687   SHANE          EAST                     KS           90013905507
1BB81458A5B35B   CINDY          MENDOZA                  OR           90004714580
1BB82A9AA93759   DEBORAH        ROBINSON                 OH           90014160900
1BB83425997B63   MARK           LOVE                     CO           90006964259
1BB8424A62B966   NATASHA        VARGAS                   CA           90013282406
1BB84486193759   MINDY          SCOTT                    OH           90012814861
1BB84694A43563   DOUGLAS        GOALEN                   UT           90014966940
1BB8476A791263   MARION         THOMAS                   GA           90014597607
1BB85A36831687   KAYTELYNN      GERBITZ                  KS           90008830368
1BB8829A961972   RODELIO        SOSA                     CA           90014512909
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1BB882A2461958   MARIA            ALADID SANTANA         CA           90012232024
1BB8882A661976   ERENDIRA         SANDOVAL               CA           90012898206
1BB88917643563   JOHN             MERRILL                UT           90013989176
1BB91924355948   JESSICA          LUNA                   CA           90006759243
1BB924A317B489   LAERICKA         CALDWELL               NC           11097884031
1BB933A5531456   TEMPEST          FELTON                 MO           90012133055
1BB93523831456   TEMPEST          FELTON                 MO           90004275238
1BB9388134B259   NAMUAT           BACK                   NE           90011298813
1BB9418795B526   LAWRENCE         GONZALES               NM           90013351879
1BB9694A791895   KARAN            TAYLOR                 OK           90014629407
1BB97A9AA93759   DEBORAH          ROBINSON               OH           90014160900
1BB9B348891569   JESSICA          ARMENDARIZ             TX           90002723488
1BB9B452861976   AIDA             THAMES                 CA           90008624528
1BBB225144B26B   KHADIJAH         RAUSHEED               NE           90011442514
1BBB329375B343   ROBERT           SUMERLIN               OR           90013172937
1BBB386758B139   JORGE            JIMENEZ                UT           90012998675
1BBB5A89576B68   ANGELITA         HERNANDEZ              CA           90013130895
1BBB6A4147B489   SHABRIE          WHITE                  NC           90011020414
1BBB9151893766   IVAMA            HUDFON                 OH           90014621518
21112786A31453   BYUNGHEE         PARK                   MO           90007687860
2111326A54B261   EARLENA          HUDSON                 NE           90014822605
21114A2A341245   MICHELANDE       ST CYR                 PA           90008150203
21115282A91541   CHRISTIAN        GARCIA                 TX           90010732820
21116A4377B699   TERELL           TOLBERT                GA           90007790437
2111734119189B   OSMA             ALVARADO               OK           21065203411
21117A7119136B   PATRICK          HARRIS                 KS           90015020711
2111812937B699   BYRON            JONES                  GA           90014711293
2111985222B232   GAIL             BICKERSON              DC           90009178522
2112447287B699   JAVIS            BLACKMON               AL           90005814728
21125A91A9136B   JUAN             ORTIZ                  KS           90015020910
2112616419794B   VERNON           ROWE                   TX           74049041641
2112618AA72B88   TANISHA          LINTZ                  CO           33011031800
2112684949155B   BRENDA           ROSALES                TX           90011228494
21127937887B59   TIGER            ANDREWS                AR           23089659378
2112939872B27B   KIANNA           WHITE                  DC           90012873987
21131938172B88   NIEVES           SAUCEDO                CO           33093099381
21132673772B42   GIANA            BONILLA                CO           90014636737
2113327988B17B   MICHELLE         MITCHELL               UT           90011722798
2113339549155B   ALISSA           ORTEGA                 TX           90012503954
21138A22791528   RUBEN            SAPIEN                 TX           90011460227
2113923797B471   GREGORY          TORRENCE               NC           90014542379
211414A282B232   JOSEPH           NWANCHA                DC           90015054028
2114192885B271   DANIELLE         PAYNE                  KY           90014639288
21141A49572B98   ESTABAN          DELEON                 CO           90013970495
21145785A2B232   ARELI            LEON                   DC           90010937850
2114642A42B232   AALIMAH          STEWART                DC           90013954204
2114652595B936   JENILEE          SCHMIDT                ID           90010915259
2114B364572B98   JOSEPH ANTHONY   BARNES                 CO           90008803645
211519AA655941   TOUHOUA          XIONG                  CA           90010059006
2115316865B167   MARY             DANIELS                AR           90013451686
2115394A47B449   ASHLEY           DUZAN                  NC           90014469404
21155243A9155B   BERENICE         BUSTAMANTE             TX           90013942430
2115B517191984   CHRISTOPHER      BARNES                 NC           90013725171
2115BA6665B571   MALLORY          DEVARGAS               NM           90011510666
21161114A72B98   ANGELA           TWITO                  CO           90014871140
2116388139155B   JOANNA           CONTRERAS              TX           90011218813
2116484754B541   TIMOTHY          SAATHOFF               OK           90005448475
2116798915B271   JAMES            HEADDEN                KY           90014639891
2116838817B449   ULYSSES          BARNES                 NC           90014883881
2116B275357157   ALICIA           RODARTE                VA           90001652753
21172133A57157   ADRIANA          MACHADO                VA           90012831330
2117826912B232   ALISHA           HESTER                 DC           90012872691
21178A38A72B98   ROBERT           KROLL                  CO           90011760380
2117B1A1887B21   MISTY            DRENNEN                AR           90008041018
2118239A991984   LEE              STORM                  NC           90013153909
2118625849189B   JACKLYN          ALVEREZ                OK           90010952584
2119146462B27B   FELICIA          PRICE                  DC           90012874646
21191A29A72B42   JAMES            WANCHIK                CO           90011000290
2119619279189B   BRANDON          ALEXANDER              OK           90013051927
21198A4759155B   FABIAN           RAMIREZ                TX           90010490475
211999A4981638   TASHA            LAWSON                 MO           90011109049
2119B67197B471   VICTORIA         DAVIS                  NC           90013126719
211B119A95B167   LATOYA           MOORE                  AR           90014661909
211B1A87257157   GUY              DUBOIS JR              VA           90014490872
211B3976357157   ROBERT           DEAL                   VA           90012079763
211B4191531453   CANDICE          FLEMING                MO           90014711915
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211B458A772B98   DAVID          ABEGG                    CO           90013955807
211B4652831453   CANDICE        FLEMING                  MO           90011616528
211B467444B245   SHAWN          JOHNSON                  NE           27084226744
211B5237972B98   HEATHER        ALBANESE                 CO           33014272379
211B839295B571   JENNIFER       GREGG                    NM           90010473929
211B884727B471   MORRIO         MCILWAIN                 NC           90012088472
211B89A9891528   LIZBETH        ACOSTA                   TX           90009579098
211B9156687B87   VERONICA       HOLLY                    AR           90010821566
211B9186A55957   JUAN           MEDINA                   CA           48095581860
211BB238572B42   KEVIN          ROWLEY                   CO           90011372385
21211919497B69   GUSTAVO        CAMPOS                   CO           90014699194
21212739A4B588   STEFAN         FOSTER                   OK           90014727390
21215A46631453   KIMBERLY       POWERS                   MO           90010330466
21215AA2441245   KELLY          JONCAS                   PA           90010000024
212176AA891541   JACKIE         BENECK                   TX           90011176008
21219421172B42   BERENCE        VARELA                   CO           90013084211
2121B847A5B167   REANNA         MARSHALL                 AR           90014788470
2122162A185938   DONNA          GREEN                    KY           67062186201
21222A26972B98   FRANK          UNDERHILL                CO           90013970269
21222A6785B167   JIMIANNE       BARNES                   AR           90011310678
212272A924B588   MICHAEL        WARREN                   OK           90010622092
2122845754B281   ANGELO         BECERRA                  NE           27003204575
2122B15852B232   WUBSHT         KIFLE                    DC           90013971585
2122B18415B271   DENNIS         HERRON JR                KY           90013881841
2122B476651343   LARKIN         DEVIN                    OH           90011004766
2123176A17B699   TIFFANY        LANE                     GA           15010037601
21232697372B88   TIFFANI        WHITEBREAD               CO           90011286973
212351A3A72B98   WENDY          LOPEZ                    CO           90011761030
21237235A72B88   DELORES        MASON                    CO           90012792350
21239848A31453   CHARISTAL      HAYNES                   MO           90013588480
2123B127672B88   JOHNETTA       SANDOVAL                 CO           90012951276
2123B417987B87   MELBA          LEE                      AR           90013544179
2123BA9A947952   CRYSTAL        WOODHAM                  AR           24095050909
21244AA8384364   MISHIMA        BRADLEY                  SC           90014730083
21245239872B88   ESPERANZA      SANTILLANO               CO           90012792398
2124874849794B   MARY           GONZALES                 TX           74042417484
21248A6A891541   PATRICIA       ACOSTA                   TX           90009720608
2124B39587B699   ELIGIA         TURPIN                   GA           90014453958
21252718A93727   BRANDY         TAYLOR                   OH           90012967180
2125422419189B   CAMERON A      JARRETT                  OK           90010732241
2125442444795B   KIMBERLY       DAVIS                    AR           90002514244
21255724A51343   VIANCA         JARRELL                  OH           90007467240
2125612175B161   LUDICHA        MOORE                    AR           90013751217
2125871139184B   JOSE           ROMERO                   OK           90009547113
2125946517B471   JUANITA        JOHNSON                  NC           11061224651
21261A2865B54B   ARIEL          HOMER                    NM           90014880286
2126487829184B   JUDI           QUIROZ                   OK           90013858782
2126955332B27B   FLOYD          LITTLE                   DC           90012875533
2126B28865B571   ANA            RIVERA                   NM           35097122886
2126B53797B471   LARRY          ADAMS                    NC           90010925379
2126B811584364   BRIANNA        LINGARG                  SC           90014788115
2127263999136B   ERIC           GANT                     KS           90008386399
21272688A5B271   GISELA         SAENZ                    KY           90011056880
212739A259155B   JOSE           DIAZ                     TX           90014909025
2127456762B27B   JULIUS         MCNEELY                  DC           90012875676
2127655A74B588   NATALIE        REED                     OK           90008475507
2127848635B571   DANIEL         GARCIA                   NM           90010474863
2127896915B161   STACEY         MORAGNE                  AR           90013119691
2127BA72851343   RONALD         BLACK                    OH           66012010728
2128139A991984   LEE            STORM                    NC           90013153909
21281866372B42   LINDA          URIBES                   CO           90013458663
2128519965B161   DANIEL         PRUNTY                   AR           90015171996
21287168A7B449   CRYSTAL        WEBB                     NC           90011101680
2128989AA81637   CARMEN         PEREZ                    MO           90012578900
21295891972B88   SHEEVA         OLMSTEAD                 CO           90009988919
212962A492B232   BRANDON        SMITH                    DC           90013992049
21298259587B87   BONITA         IVERSON                  AR           90003942595
2129882A25B531   JORGE          SALAZAR                  NM           90013548202
212992A3851343   ROBERT         KENNEDY                  OH           90013242038
2129B76757B699   WHO            ME                       GA           90013867675
212B131472B27B   JULIAN         BUCKNER                  VA           81095983147
212B239525B531   REUBEN         VIGIL                    NM           90013543952
212B3524591984   ZELENAH        BLYDEN                   NC           90010695245
212B3559991541   FRANCISCO      RODRIGUEZ                TX           90012095599
212B3A3748B17B   ALYSE          SNYDER                   UT           90009180374
212B4A6A35B271   WILLIAM        CAREY                    KY           90012410603
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212B619355B161   TIMOTHY        SUMMONS                  AR           90002041935
212B72A337B699   OCTAVIA        PERRY                    GA           90013352033
212B7494147952   ALISHA         CHRISTENBERRY            AR           90011354941
212B849257B471   ANGELICA       NAVA                     NC           90003044925
212B8861A4B588   ROBERT         SMITH                    OK           90001358610
2131223155B167   ROBERT         CLAY                     AR           90013582315
2131223592B27B   SABIS          ADAIMS                   DC           90013502359
2131522139189B   CHARLSIE       NORTON                   OK           90012832213
2131661122B27B   DARLENE        EDDY                     DC           90014566112
2131662155B161   KAREN          YOUNG                    AR           90011066215
2131788652B232   CHRISTINE      PURVIS                   DC           90009828865
21317A4745715B   FREDDY         CHICAS                   VA           90008420474
2131889862B27B   CLEOTILDE      BLAS RAMOS               DC           90004098986
21319A8679189B   WILLIAM        CHANCE                   OK           21095470867
2131B92512B232   TRICIA         RICHARDSON               DC           90012069251
2132141134B245   CANDI          ALLEN                    NE           90013014113
213218A725B167   JONI           BAKER                    AR           90013828072
2132248369155B   GUADALUPE      GUZMAN                   TX           90013064836
21322A7574B245   BRYANT         DEAKINS                  IA           90013050757
2132525A247952   MYDA           LUNA                     AR           90007902502
21328949972B88   HUGO           TYSON                    CO           33009749499
2132B48337B449   SHAKIA         LOVE                     NC           90010484833
2132B693381638   JESSICA        KINNARD                  MO           90010336933
2132B788472B98   MAYRA          GONZALEZ                 CO           33091017884
21335278372B88   RANDR          LITTLE                   CO           90011972783
21335A1952B232   KEVIN          HAWKINS                  DC           90008080195
2133698A772B88   SOPHIA         LOERA                    CO           90011549807
213378A122B232   DAVID          CONTEE                   DC           90012838012
2133B79A97B699   TERELL         GLOVER                   GA           90014247909
2134131318B17B   MARK           SANCHEZ                  UT           90011663131
2134196745B161   JUSTIN         DICKERSON                AR           90015119674
21342579A72B98   MARTAIN        PALMA                    CO           33027995790
21345383A41245   SHEENAE        SCOTT                    PA           90013553830
2134654737B699   BARBARA        THROWER                  GA           90012235473
2134685159136B   BRIANA         HOLMAN                   KS           90005308515
2134798734B281   SARAH          INCANDELA                NE           27093209873
21348786A9155B   SABRINA        PINEDA                   TX           90014427860
21351424787B59   PAYGO          IVR ACTIVATION           AR           90013444247
21351521572B42   ALEXANDRA      DEWITT                   CO           90003915215
2135373335B161   ERIC           KNIGHT                   AR           90012027333
2135395269155B   LUIS           ROJANO                   TX           90011229526
2135412329155B   FLORM          LOPEZ                    TX           90010501232
2135493979184B   PATRICIA       LAY                      OK           90013449397
21355797A5B167   CATHY          BILLINGSLEY              AR           90010307970
21355AA1A91984   ANDERSON       JONES                    NC           90014050010
21356555872B88   LINDSAY        LOVATO                   CO           90010485558
2135879369184B   LARRY          LYONS                    OK           90013697936
21359A8A255941   MARSHELLE A.   EVANS                    CA           90012850802
2135B585881637   ANGELIQUE      WEST                     MO           90013835858
2135B678772B88   ALMA           MARQUEZ                  CO           90012746787
21362383687B59   BRITTNEY       HUTCHINSON               AR           90011053836
21363A77185938   JESSICA        WHITE                    KY           90010710771
213643A1A72B88   ARIES          GONZALEZ                 CO           33080733010
21364A42381638   APLRIL         LAGRONE                  MO           90011190423
2136752957B699   CARLANDER      SHUMPERT                 GA           90011155295
2136768865B167   ZACHARIAH      MCCOY                    AR           90010776886
21369728672B42   NICOLE         DICKEY                   CO           90013027286
2136B343A5B161   DANIEL         MARROQUIN DEL VALLE      AR           90013363430
2136B379291241   SONDRA         NEWTON                   GA           90013383792
2136B78584B588   JOHNNIE        JOHNSON                  OK           21514607858
2137123969189B   MARY           CANNON                   OK           90001112396
21373223A72B98   KRISTINA       ALCON                    CO           33018522230
2137357A891828   TERANCE        WILLIAMS                 OK           90014675708
21375AAA57B699   DONTRES        MAYES                    GA           90013610005
2137979985B144   LANITIA        THOMAS                   AR           90012167998
2137B82314B281   MARCI          OWENS                    IA           90014018231
2138231339155B   ALEJANDRO      RUIZ                     TX           90013943133
21382668187B87   JORDAN         COCKERM                  AR           90014846681
2138533669184B   JIMMY          ELLISON                  OK           90012153366
2138841165B571   DORINA         ORTIZ                    NM           35004584116
213884A474B261   JORGE          ESTRADA                  NE           90010234047
21388A99872B42   EDWARD         BLEA                     CO           90011960998
2138B37627B471   MARTIN         SANCHEZ                  NC           90012823762
21392525A4B261   DENISHA        OGLESBY                  NE           90007835250
213936A4791984   JOSE           GARCIA                   NC           90012426047
21394732772B88   JACQUELINE     OLIVAS                   CO           90011287327
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21394A18743545   CANDACE         ROGERS                   UT           31008870187
213956A895B531   JACOB           SALAS                    NM           90013556089
2139743255B271   SHAUN           ASH                      KY           90014644325
2139773685B167   JERRICA         MASON                    AR           90011017368
213B2473993773   JERMAINE        GRIFFIN                  OH           90002044739
213B579435B161   TONY            HARRISON                 AR           90013187943
213B629519794B   JUAN            BAUSTISTA                TX           74074672951
213B963112B27B   INETHIA         WILLIAMS                 DC           90012876311
213BB747584364   JAMES           DAVIS                    SC           90011677475
214131A964B588   CHERITOPHER     WELCH                    OK           90007771096
214156AA25B271   WANDA           MACK                     KY           90012246002
21416858A7B699   SHANTICE        CLOWERS                  GA           90014968580
21417177587B59   FREDDIE         HICKMAN                  AR           90010881775
2141921A684364   JANICE          MCPHERSON                SC           19054882106
2141977324B281   DEVONA          PARNELL                  NE           90000857732
2141B68A657157   NICHOLE         DAVIS                    VA           90012086806
2141B735291828   LOWELL          LEWIS                    OK           90011107352
2142247A44B261   RACHEL          MOYERS                   NE           27016274704
2142441A391984   LAKEITA         WILEY                    NC           90014604103
21427A5119155B   VERONICA        SILVA                    TX           75009640511
2142839934B245   ANGELICA        MARCOS                   NE           27061313993
2143138A641245   TAI             JONES                    PA           90010533806
2143426A291833   JERRY           RITTENGER                OK           90008522602
2143442557B699   SHERRICK        AMBROSE                  GA           90013664255
2143553974B541   CHLOE           ROGERS                   OK           90009215397
214369A3591541   ANA             RASCON                   TX           90000299035
2143766222B232   KEVIN           SPANN                    DC           90004006622
2143775169155B   JAVIER          ARREDONO                 TX           90014877516
21437915872B88   KATHLEEN        MATZ                     CO           33091489158
2144453485B271   TABBITHA        ZINNINGER                KY           90014665348
2144553785B271   ANGELA          SULZER                   KY           90014665378
214469A979189B   CHRISTIAN       RIVERA                   OK           90010209097
21447137A57157   GERBER          ROBLES                   VA           90014811370
2144734152B27B   NICK            GROSS                    DC           81004523415
21449556472B98   BLANCA          MOZQUEDA                 CO           33096735564
21453227487B59   AALIYAH         BENNETT                  AR           90011102274
214537A2891984   BRITTANY        DAVIS                    NC           90014147028
21454234572B88   GABRIELA        SILK                     CO           90014592345
21454361272B88   HOLIDAY         NITOKRIS DIAMOND         CO           33093963612
21454393A9136B   NICOLE          BRIGGS                   KS           90015133930
2145446579184B   GRISELDA        ALONSO                   OK           90011124657
2145528AA51343   JEFF            ROBINSON                 OH           90014342800
214589A8372B98   REBECCA         HERNANDEZ                CO           90003899083
2145976635B271   KEOSHA          JACKSON                  KY           90010747663
2145B21A34B281   MICHAEL         DEAN BYVERLY             NE           90013592103
2145B78968B17B   ROSALINA        GARCIA                   UT           90010397896
214633A8391528   MEGAN           KEICH                    TX           90003633083
2146355745B167   DEJUN           GRIFFIN                  AR           23095745574
21465586A87B87   FRANK           WILLIAMS                 AR           90013645860
21466566733B96   KALIMAH         JOHNSON-MUHAMMAD         OH           90013795667
2146672265B531   RACHAEL         JASSO                    NM           90013557226
2146961715B167   L               JORDAN                   AR           23008256171
2146B3A7191541   RIGOBERTO       GONZALEZ                 TX           90009083071
2147276882B27B   MARVIN          PARKER                   DC           90012887688
21473A56981661   VALERIA         TREJO                    MO           90013870569
2147449A985938   GRANVILLE       LEWIS                    KY           90011074909
21477AA557B699   RICARDO         MARTINEZ                 GA           90012780055
214785AA931453   DIANA           WORD                     MO           90013995009
2148374489189B   FRANCISCO       RUVALCABA                OK           90012797448
2148552614795B   JOSE            GERTRUDIS                AR           25088445261
2148624759794B   LUIS            OROZCO                   TX           90011712475
21487725672B88   NATIVIDAD       SALAZAR                  CO           90010347256
21487A3217B449   KENNETH         WRIGHT                   NC           90013180321
2148869699184B   MEGAN           NIDER                    OK           90013216969
2148B3A8581638   PATRICK         CASEY                    MO           29074203085
2149175718B17B   MICHELLE        WESTON                   UT           31004627571
21491798687B87   ROBERT          TYSON                    AR           90014267986
21491961A55957   IQNACIO         MURGUIA                  CA           48069989610
2149568379184B   GERARDO         SERNA                    OK           90011876837
2149774A45B167   JOSEPH          COOK                     AR           90012487404
2149786637B449   JOHNNY          BEATTY                   NC           90013648663
2149887572B232   DAISIAA         ROBINSON                 DC           90011508757
21498A1114B245   ROSHELLE        CARTER                   NE           90009170111
2149956A585938   PEDRO           MONDRAGON                KY           90011075605
2149B358397B69   RICHARD         NAVARRO                  CO           90012453583
214B1333A4B245   NOE             QUIROS                   NE           90000443330
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214B2712572B98   RENEE               COTHRAN             CO           90013747125
214B396384B281   ADRIAN              CORTEZ              NE           90013149638
214B479389155B   ERIK                GARCIA              TX           90014427938
214B6337355957   SILVIA              VAZQUEZ             CA           90011473373
214B6498391241   RASHAN              DAUGHTRY            GA           90011424983
214B6896481661   KEY                 JOHNSON             MO           29018208964
214B7417191828   RAMON               ORTIZ               OK           90013624171
214BB197851343   WILLIAM             BELL                OH           90010151978
214BBA3144B588   JUAN RUBIO          CHAVEZ              OK           90010120314
2151127399155B   ISAAC               ORTIZ               TX           90009272739
215128A642B27B   TABITHA             BROWN               VA           90012888064
2151472A281638   SCHELL              PERALES             MO           90008627202
21515918A55941   SUSANA              LAZARIT             CA           90013639180
21516A63431453   NYREE               BRABLEY             MO           90011910634
21518383972B98   DANA                LEAKS               CO           90014323839
2151B158355957   JASON               HOBBS               CA           90015161583
2151B576991984   JOHN                MOORE               NC           90000455769
2151B93A72B94B   KRISTINE            DAROSA              CA           90013099307
21524291A2B232   SEBRINA             LEVETTE             DC           90010702910
2152454965B167   BRANDY              EVANS               AR           90014675496
215247A2391541   CHRISTY             DUBITSLY            TX           90014687023
21527315A55957   JOHN                CASTANEDA           CA           90011943150
2152749249155B   ABIGAIL             PONCE               TX           90011114924
2152B45762B27B   DEENA               CURETON             DC           90005604576
2153189892B27B   JUAN GABRIEL        SANCHEZ             DC           90011398989
21533651787B87   SHARON              JACOBS              AR           90014286517
2153431969155B   MICHAEL             LINDER              TX           90011233196
21535AA262B232   FELEKE              HAILE               DC           90006520026
21536475A3B352   ERICH               HAURT JR            CO           90007994750
2153821674B588   EDUARDO             RAMIREZ             OK           90009602167
2153879332B232   ISMAEL              SOSA                DC           90003717933
2153926526B931   NAOMI               GARCIA              NJ           90015122652
2153936537B699   SHANNON             WHITE               GA           90014853653
2153937329155B   JULIETA             DIAZ                TX           90013943732
2153B31789155B   MARIA               TORRES              TX           90002593178
215436A289189B   LATANYA             GREEN               OK           90012696028
2154446137B471   ROSA                FUENTES             NC           90014424613
21546A37791241   RON                 JONES               GA           90013280377
2154B766A8B151   JENNIFER            FREDRICKSON         UT           90013097660
21551A39555941   ANTONIO             MORALES             CA           90010680395
215542A2591541   ESTEFANIA           PEREZ               TX           75073152025
215557A6A9155B   BRITTANEY           DURON               TX           90015177060
215579A8887B59   BRITTANY            WALKER              AR           90013819088
2156117989155B   CRISTIAN FERNANDO   VEGA                TX           90012931798
2156175169155B   JAVIER              ARREDONO            TX           90014877516
2156435237B699   CONNIE              STARKS              GA           15002993523
21565544A7B699   KELLY               JACKSON             GA           90015045440
2156566A44B245   TINA                INGRAM              NE           90003796604
2156952415B531   JAIME               VILLANUEVA-MAYO     NM           90013565241
2157127A55B571   GUERRA              EDGAR               NM           35077502705
2157161A35B167   DWAYNE              ROBINSON            AR           90012506103
2157215664B261   JUSTIN              COLLINSON           IA           90010901566
2157269239155B   MARK                RAMIREZ             TX           90013096923
21574675A47952   LAMAR               DICKERSON           AR           90009586750
21576556A72B42   DAIONNA             KENNEDY             CO           90012515560
2157664A77B471   EVANSON             MICHEL              NC           90009616407
21576948A4B261   CHRISTINE           LAVERA              NE           90011279480
21578A5A79184B   JOSE                HERNANDEZ           OK           90013030507
2158182A684364   MIRNA               CADENAS             SC           90014108206
2158266736B134   TANDRA              JARROW              MS           90014926673
215827A2131631   ROSAURA             MARTINEZ            KS           90010547021
2158349488B17B   REID                NELSON              UT           31068624948
2158459A95B167   NAKISHA             BARBEE              AR           90013835909
2158518597B449   JERMOND             WILLIAMS            NC           90014021859
2158552532B232   JOHN                SANTERO             DC           90014345253
2158775169155B   JAVIER              ARREDONO            TX           90014877516
21588392872B88   JOSIE               SEDILLO             CO           33005693928
2158884A97B449   GLORIA              SOSBEE              NC           90013688409
2158933A87B471   LATRICE             DOBY                NC           90009143308
2158B82A684364   MIRNA               CADENAS             SC           90014108206
2159148337B449   ARTHUR              BURKE               NC           11004114833
2159175397B471   DUGGLAS             ZAMORA              NC           90014727539
21593797A87B87   ZLANDRIA            BOYCE               AR           90011027970
2159393129155B   ARICHELL            ORTEGA              TX           90013869312
2159778A187B87   TAMELA              LUCKETT             AR           90014857801
2159821A29184B   ANTHONY             MOSLE               OK           90010952102
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21598341772B88   KAREN          BUNTING                  CO           90012793417
215994A917B699   SHANA          ANDREWS                  GA           90013114091
2159991A655957   ANGELIQUE      DURAN                    CA           90009389106
2159B617155957   KIM            LEE                      CA           90013966171
2159BA64A72B42   DOUGLES        HOPKINS                  CO           90010210640
215B3566581637   CODY           SOPER                    MO           90014525665
215B379A981638   LYNZEE         COOKE                    MO           90010057909
215B42A7241245   BARINDER       SINGH                    PA           90000502072
215B45A1A72B42   CLIFF          THOMAS                   CO           33050635010
215B618A151343   TRACY          JONES                    OH           66088791801
215B673AA4B261   CARMEN         BOSTON                   NE           27043347300
215B8355287B87   MARY           BURNETT                  AR           23092483552
215B8769555957   MARTHA         AGUAYO                   CA           90015317695
215B99AA79136B   ELVIA          BURRIAGA                 KS           90003549007
2161198349155B   JOSUE          ORTEGA                   TX           90008739834
2161227532B27B   EBONY          MAGRUDER                 DC           90013442753
21612A89872B98   MARIA L        RAMIREZ                  CO           90005120898
21613586A87B87   FRANK          WILLIAMS                 AR           90013645860
216144A9A9155B   DAVID          FLORES                   TX           90013944090
2161621244B588   WILLIAM        EQUELS                   OK           21589632124
21617943772B88   CRISTIAN       PINTO MARTINEZ           CO           33085199437
2161841159155B   DOLORES        CERVANTES                TX           90013944115
2161B74A487B21   DAVIDA         HUFFSTUTLER              AR           28065317404
2161B959672B42   MARIA          TORIJA                   CO           90011089596
21622847A91241   ROBET          JOHNSON                  GA           90013618470
21625387A47952   DONALD         WURTZ                    AR           24081803870
21625712572B98   RENEE          COTHRAN                  CO           90013747125
21625836A57149   SANTO          SORTO                    VA           90014248360
2162633525B167   AMBER          PRICE                    AR           90000823352
2162811332B27B   WILLIAM        PIERCE                   DC           81091911133
2162884669794B   VANENA         CASAS                    TX           90011798466
21629642A7B699   CHRISTINA      LEWIS                    GA           90013886420
2163141494B588   BRIAN          FRICKS                   OK           90012984149
21632348572B88   LEE            CURRY                    CO           90012793485
2163352A44B588   JESSIE         ARELLANO                 OK           90007505204
2163593644B281   MIKE           HANGMAN                  NE           90014729364
2163833AA91541   MANUEL         VILLADO                  NM           90004823300
2163863A691547   RIGOBERTO      CORDERO                  TX           90010996306
2163933339189B   GWENDOLYN      CHIBITTY                 OK           90010733333
2163B496587B59   CAME           CARTER                   AR           90010794965
2163B63857B699   WHITNEY        BLAND                    GA           90007736385
2164137529155B   GEORGINA       GUERRERO                 TX           90011233752
2164243A69155B   ZACHARY        ESQUIBEL                 TX           90013944306
2164333749189B   FLOYD          BROWN                    OK           90014493374
2164449724B261   KEVIN          STRONG                   NE           90015074972
21644766A8B188   JENNIFER       FREDRICKSON              UT           90013097660
21644A69251338   TONYA          MOHN                     OH           90000830692
21645132572B42   MEOLDER        MIA                      CO           90008081325
21647666A47952   FELISHA        MITCHELL                 AR           90013736660
2164795A187B59   KIMBERLY       THOMAS                   AR           90012509501
21648826A5B167   BIANCA         HIGGINS                  AR           90013238260
2164999444B588   JASMINE        MORROW                   OK           90013299944
21649AA4587B87   WILLE          WILLIRUCKER              AR           90014300045
2164B14A457157   JIMMY          ROGERS                   VA           90011341404
2165232415B167   ALESIA         WILSON                   AR           90003163241
2165235949155B   JUSTINO        LOPEZ                    TX           90001123594
21652A94755957   NOAMI          GAMEZ                    CA           90012930947
21654362272B88   JAIDEN         GONZALEZ                 CO           90012793622
2165439345B161   MARTHA         REYES                    AR           90013933934
2165573314B245   REBECCA        RILEY                    NE           90001267331
21655A8337B699   BRENDA         DANIELS                  AL           90012940833
21656294A4B245   TAMMY          SALAS                    NE           90011592940
21656577272B42   ROSA           PEREZ                    CO           90013055772
21656841272B88   WILLIAM        JONES                    CO           90013238412
2166569558B179   JORGE          CARRANZA                 UT           90011496955
2166698417B471   BRIDGETTE      BELL                     NC           90013929841
2166878275715B   ABDIEL         GARCIA-VELEZ             VA           81029757827
21669A86A47952   ASHLEY         GREEN                    AR           90010940860
2167238A25B161   CROMER         SHULER                   AR           23060913802
21672476587B87   CHRISTOPHER    VALLUN                   AR           90013554765
2167297685B531   ANTHONY        BARELA                   NM           90013569768
21674A26847952   CRISTAN        ORRELL                   AR           90015080268
2167514375715B   IVORY          SHIELDS                  VA           81063531437
2167538754B245   TALEIGHA       BROWN                    IA           90011753875
21676A54431631   APRIL          CALFY                    KS           90010970544
2167858A39189B   VICTORIA       TIERRABLANCA             OK           90014085803
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2167B419655941   JENNY          LOPEZ                    CA           90013854196
2168123775B167   JOSE           MONDRAGON-LARA           AR           90014172377
2168373975B271   CHRISTOPHER    SMOLIK                   KY           90014657397
21683A48A91828   KANYELL        HUNTER                   OK           90015130480
21683AA2A7B471   GERRARD        WEST                     NC           90002910020
2168462317B699   JESSICA        TUTOR                    GA           15064976231
2168466315B531   PHILIP         BACA                     NM           90012846631
2168663725B161   SHAMIA         WASHINGTON               AR           23009336372
2168758AA91241   IMANI          WASHINGTON               GA           90014045800
2168925734B281   MIRANDA        BARELA                   NE           90007892573
2168B789272B88   MARLYN         SIFUENTES                CO           90011117892
21691A52191241   RAFAEL         RIOS                     GA           90013890521
21693266387B87   ROBIN          COLEMAN                  AR           90014612663
2169391617B699   DANIEL         WIGGINS                  GA           90012529161
21695496887B59   SANDRA         WEEKLEY                  AR           90010984968
2169582A55B271   ROBYN          WISER                    KY           90014658205
21695888872B98   FRANCISCO      IBARRA                   CO           90014478888
21696817A47952   YOLANDA        FAJARDO                  AR           90009318170
216B1486141245   TYRONE         WATSON                   PA           90014584861
216B1A49A55941   JOHN           SMITH                    CA           90010680490
216B27A189155B   JULIO          ESPINOZA                 TX           90013877018
216B35A794B245   VICTORIA       BREWER                   NE           27000085079
216B3769755957   ORLANDO        DELAPAZ                  CA           90014897697
216B526A472B42   CALDERON       SAMUEL                   CO           90008402604
216B5417191828   JENNIFER       SEGOVIA                  OK           90011194171
216B66A9641245   SHANE          HENKEL                   PA           90013866096
216BB676287B87   SHERRY         BANISTER                 AR           23041716762
21711882A31453   TERRY          SCHNELTING               MO           27505248820
2171472A62B242   VERONICA       HOWARD                   DC           90011977206
217164A9472B42   ESMERALDA      ZELAYA                   CO           33087564094
217188A725B167   JONI           BAKER                    AR           90013828072
2171895242B27B   TERRY          WILLIAM                  DC           90014859524
21718A36591241   JOSE           TAPIA                    GA           90012960365
21718A37272B98   OSCAR          SANCHEZ                  CO           90012750372
21718AA112B27B   KIZZIE         HOLMES                   DC           90012890011
2172121639136B   NORMA          GONZALEZ                 KS           90015252163
2172142655B531   JOSHUA         MENTZER                  NM           90013574265
21723984A41245   GEORGETTE      SWISHER                  PA           51062279840
21723A75555957   SELENE         MORENO                   CA           90014390755
21723A8865B271   ERICA          SATTERLY                 KY           90014660886
21724772387B87   MARK           STALE                    AR           90011217723
21729A1742B27B   ASHIN          THAMI                    DC           90012890174
2173176A851343   ANTWOIN        JEFFRIES                 OH           90011007608
217333A787B449   EBONY          BITTLE                   NC           90011373078
217359A694B261   DAWN           ZELENY                   NE           90001629069
2173632449155B   JUDITH         ALANIZ                   TX           90002093244
21736AA365B571   JOHN           MARES                    NM           90013280036
21739175672B42   JENIFER        FREELONG                 CO           90009851756
2173B661A4B588   LUCAS          NEWTON                   OK           90013596610
217428A2172B42   JORGE          PERELES                  CO           90013588021
21743389172B88   SERGIO         FLORES                   CO           90012793891
21744918772B88   ADRIAN         GARCIA                   CO           90006889187
2174897362B27B   REVAH          WILLIAMS                 DC           90014859736
21749778687B21   WHITNEE        PALMER                   AR           28011047786
21749986187B87   WILLIE         WILSON                   AR           90015039861
2174B128841245   LILA           KAFLEY                   PA           90010021288
2174B8A959155B   CRYSTAL        FERNANDEZ                TX           90000108095
21752226A55957   DALE           WHITEHEAD                CA           90002862260
2175568885B271   MELINDA        ALCORN                   KY           90014666888
2175575A772B98   JAMES          DAVIS                    CO           90013077507
21756278A85938   GUADALUPE      GARCIA                   KY           67018282780
2175677399184B   SARAH          LUNCEFORD                OK           90009057739
2175739355B271   CAROL          WEIS                     KY           90011393935
2175877259189B   RONALD         LOVELESS                 OK           21073287725
2175948317B449   SHAWN          ROBERTS                  NC           90006844831
2175B276A9184B   GEORGE         CARTWRIGHT               OK           90007722760
21761AA1947952   JOSHUA         STEPHENS                 AR           90013220019
2176646AA9189B   DAVID          SERNA                    OK           90012774600
2176657849184B   GRACIELA       AMADO                    OK           90013635784
21766911297B4B   ELIZABETH      WORRELL                  CO           39079779112
21769628887B59   MARKISHA       ROGERS                   AR           90014816288
2176B299A91828   BARBARA        WILSON                   OK           90013092990
2176B62935B161   KELEXIS        BROWN                    AR           90013936293
2177234AA2B27B   DAION          LANCASTER                DC           90013743400
21774114272B98   CLAUDIA        ORTIZ-MATA               CO           90013021142
2177438A551343   JOHNNIESHA     ROODGERS                 OH           90014853805
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21775A93281637   ISAC           GRAVES                   MO           90015040932
217772A6455957   EROY           MARTINEZ                 CA           90012592064
2177747464B588   KAILEY         CHILDERS                 OK           90014074746
2177767A491984   LORENZO        ABOYTES                  NC           90014446704
2177837A593773   AVA            VICKREY                  OH           90001703705
21779942487B59   ANGELA         IVERSON                  AR           90014979424
2177B66934B588   ANITA          FLORES                   OK           21582096693
2178126457B449   CARL           PRITCHETT                NC           90011512645
2178151845B352   SALVADOR       ORTIZ                    OR           90009615184
2178288A89155B   ALEJANDRA      OROZCO                   TX           90013858808
217838A235B161   STEVEN         MARSHALL                 AR           90013138023
21785549272B88   MARGARETE      CORDOVA                  CO           90004375492
21786499772B42   RAYMOND        BELCHER                  CO           33048994997
21787A99993742   JAMES          VINCENT                  OH           90010520999
2178B51117B449   ALEXANDER      FONVILLE                 NC           90012535111
2179176135B531   ANNETTE        MUNOZ                    NM           90013577613
2179338A455941   JOSE           ZAVALA                   CA           90014783804
217935A1455957   DELORES        PEREZ                    CA           90012965014
2179511894B588   CAMILO         VILLEDA                  OK           90013761189
2179557497B471   LAPHONTRIC     MCCRAY                   NC           90008355749
2179559582B232   TROY           WATSON                   DC           90009475958
2179617A15B167   VANESSA        PADILLA                  AR           90012041701
2179631599155B   GABRIEL        PONCE                    TX           90013113159
2179684875715B   MARTA          FLORES-DIAZ              VA           90006308487
21796A21A55941   AVENA          FIELDS                   CA           49031820210
2179886314B588   KEVIN          WILLIAMS                 OK           90002698631
217B145729155B   CLAUDIA        NUNEZ                    TX           90013944572
217B234887B449   NUVIA          FUNES                    NC           90009673488
217B2854772B88   KESHAWN        RAY                      CO           90013728547
217B324467B449   CHARITY        HOOD                     NC           90012792446
217B3597481637   KERRI          WISNIEWSKI               MO           29050625974
217B3615641245   DOMINIQUE      JOHNS                    PA           90013256156
217B377632B232   KZEE           LEWIS                    DC           90012787763
217B417439189B   KIM            SULLIVAN                 OK           21096471743
217B728567B449   JOSE           GOMEZ                    NC           90012542856
217B743538B17B   CHELSEA        ANDRUS                   UT           90008084353
217B75AA29155B   RICHARD        BALDOZA                  TX           90014465002
217B7889772B98   RICARDO        MORALES                  CO           90014478897
217B8A9468B17B   JENNIFER       GONZALEZ                 UT           90011670946
217B9263455941   REFUGIO        SANDOVAL                 CA           90008422634
217B9338372B98   MICHAEL        GILLOTTE                 CO           90015163383
21811A7954B281   DARRELL        STUEDEMANN               NE           90013990795
2181242224B588   YVETTE         FROST                    OK           90009354222
2181331579189B   JOSE           FUENTES                  OK           90012423157
2181473515B531   MARCIA J       SCHICK                   NM           90013587351
2181477895B161   JASMINE        WASHINGTON               AR           90013937789
2181648522B232   ASHLEY         LOWE                     DC           90012044852
21817A44391241   WARREN         PATTERSON                GA           90013640443
21818881A5B161   EVELYN         MADANIEL                 AR           23081548810
218196A4884364   LYONS          KARI                     SC           90014166048
2181B172391541   KIMBERLY       CHRISMAN                 TX           90010721723
2181B2A8381638   LUCY           MONTOYA                  MO           90005652083
2181B4A897B449   SUNNY          RATHIE                   NC           90010234089
2182179A285938   RONNIE         SMITH                    KY           90011547902
218218A854B261   GUADALUPE      ELTON                    NE           90003608085
21823228187B56   SHAMARA        RUSS                     AR           90014622281
21827856772B88   INDALECIO      AGULERA                  CO           90013728567
2182948129155B   SEFANIE        ALVIDREZ                 TX           90013354812
2182948625B161   ANDRE          KING                     AR           90002174862
2182BA7954B281   DARRELL        STUEDEMANN               NE           90013990795
21831732487B59   TIFFANY        SWINEY                   AR           23078687324
2183334877B449   MONTE          JENKINS                  NC           90009383487
2183398279189B   CASSANDRA      GIFFORD                  OK           90014059827
2183566A64B281   DANIEL         KOMOR                    NE           90013276606
21839722A7B471   MELANIN        GETES                    NC           90010897220
21839982372B88   KIM            MADERA                   CO           33072509823
2184123974B588   RACHEL         HASSMANN                 OK           21586122397
218432A8A72B88   GEORGE         SAUER                    CO           90014742080
218444A8631631   DONNA          BLACK                    KS           90004444086
218452A814795B   VALENTIN       DIAZ                     AR           90006532081
2184737924B588   PATRICE        JONES                    OK           90013693792
2184784989155B   DIANA          MURILLO                  TX           90009588498
21849211A7B449   STEVEN         WEST                     NC           90011152110
2184B149893773   TERRY          NEWTON                   OH           90003201498
2185175177B382   WILSON         LOPEZ                    VA           90001177517
2185185582B232   NED            GREEN                    VA           90013088558
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2185261792B232   MARVIN         QUICK                    DC           90010856179
2185327644B261   SHAKORA        BOBO                     NE           90011302764
218566A5655957   ARACELY        PEREZ                    CA           90011866056
2185924437B449   EBONY          GRAY                     NC           90008372443
2185988218B17B   VILIAMI        MAFI                     UT           90009178821
21859A5A691241   CAROLYNE       EDWARDS                  SC           90015190506
2185B1A1991541   CLAUDIA        VAZQUEZ                  TX           75087171019
2186487A991241   DESTINY        AVILES                   GA           90013078709
218669A3981637   PAYGO          IVR ACTIVATION           MO           90014849039
2186757284B261   EBEN           RICHMOND                 IA           90015155728
21868619A4B588   DYLAN          PRAY                     OK           90013396190
218694A6572B88   MANUEL         HERNANDEZ                CO           90012794065
2186B6A862B27B   TAJA           RANDLE                   DC           90012896086
218717A9891541   DIANA          ESPINOZA                 TX           75098267098
218722A1972B98   MIRANDA        SOLANO                   CO           90011732019
2187425749155B   DAVID          MARTINEZ                 TX           90010082574
21874747A72B98   JOANN          TYNES                    CO           90014827470
21874981572B42   RICHARD        MARIE                    CO           90013029815
21874A26191589   ANA            LEOS                     TX           75089310261
21878917372B98   ISAIAS         CONTRERAS                CO           90014719173
21879A55391541   OMAR           PINON                    TX           90012470553
2187B532972B88   LEONARD        SENA                     CO           90013005329
21882943387B59   CHRISTINA      BARBER                   AR           90015199433
21884AA5472B88   NATASHA        OSORIO                   CO           90011290054
21888191A4B582   LINDA          TIPTON                   OK           21561881910
21891A75572B98   VICTOR         BARRAZA                  CO           90011860755
21892413A91541   NICHOLAS       FRANCO                   TX           90013604130
218939A8172B88   RUBEN          RODRIGUEZ                CO           90014849081
21894A55391541   BRENDA         URANGA                   TX           90015160553
218957AA787B59   JERMEIKA       STOKES                   AR           90014127007
218958A7372B98   RONALD         BREWER                   CO           90012818073
21896782A87B59   TAQUANNA       JOHNSON                  AR           90013817820
21897167372B98   ANGELICA       BUZO                     CO           90014161673
2189B434541245   THOMAS         BROOKS                   PA           90013054345
2189BA86431453   LISA           JOHNSON                  MO           90001440864
218B1468387B87   LAKRESHIA      MCCOMB                   AR           90013714683
218B156469155B   JUANA          GARCES                   TX           75050555646
218B1767681637   GABRIEL        CASTELLANOS              MO           90014207676
218B38A855B571   JERMIE         DANTE                    NM           90009988085
218B3A1A372B88   FRANK          BUSTOS                   CO           33079810103
218B4267551343   ANGELA         STEWART                  OH           90012212675
218B5954457157   KOREY          OLEKSY                   VA           90013229544
218B927818B17B   CERRISA        MADDERA                  UT           90011672781
218B992397B449   JOSE           DIAZ                     NC           90013739239
2191233A27B471   KWAME          BARBER                   NC           90014693302
21912362A87B87   ROBIN          ROBERTS                  AR           90010243620
2191337864B588   BRITTANY       SHINGLETON               OK           90013203786
2191376297B471   SHATARA        WILLIAMS                 NC           90010897629
2191629644B588   MARISSA        RODRIGUEZ                OK           90007552964
2191651958B17B   CHRIS          LAVATAI                  UT           90011675195
21919961A55957   IQNACIO        MURGUIA                  CA           48069989610
2192365A34B245   JOYCE          WELLS                    IA           90006576503
2192B22714B261   SHANEE         STRONG                   NE           90015172271
21932832A91833   CHELSEA        CRABTREE                 OK           90007088320
2193453294B933   JESSICA        ROBINSON                 TX           90013785329
2193468145B161   ALICIA         LEE                      AR           90014896814
219347A5172B88   CRYSTAL        ROGERS                   CO           90015087051
219357A8391241   JEFFREY        HARMON                   GA           90011957083
219359AA281638   SHANTI         MORGAN                   MO           90010959002
21938A91A81637   CHRISTY        BAILEY                   MO           90013890910
21939625724B55   JASMINE        CLARK                    DC           81053626257
2193B42767B699   DUANTA         CARROLL                  GA           15051494276
2194194882B27B   DANIEL         FOXWORTH                 DC           90013339488
21942252A72B98   CANDANCE       DENNIS                   CO           90005522520
2194235519189B   BRYAN          DALTON                   OK           90002133551
2194247635B271   LENORD         SMITH                    KY           90014674763
2194333A791241   BRIAN          MCDERMITT                GA           90010963307
219448A7372B98   RONALD         BREWER                   CO           90012818073
2194514534B588   MEGAN          SEALE                    OK           90013581453
2194525157B449   JUAN           SOMMERVILLE              NC           11004392515
2194534A231453   VANESSA        MILLER                   MO           90014383402
219463A687B449   GWENDOLYN      FAVOURS                  NC           90013993068
2194657469155B   JESSICA        ALVARADO                 TX           90013945746
219474A7591828   ANTONIA        ARELLANO                 OK           21008834075
2194856778B17B   ANTONIO        ALFARO                   UT           90011675677
219496A4957157   GERARDO        GALLEGOS                 VA           90013256049
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21952A1295B33B   KARRA          DRUERY                   OR           90012200129
2195586315B167   JUAN           OLVERACASTRO             AR           90010968631
21955AAA25B531   VICTORIA       VASQUEZ                  NM           90013590002
219563A155B167   DAMIEN         MITCHELL                 AR           90012903015
21956868A72B98   MAGALI         RODRIGUEZ                CO           90011768680
2195776547B449   JOSE           SAVEDRA                  NC           90009047654
21958279A85938   YESENIA        REYES                    KY           90011562790
21958A63A72B88   MARCY          LUJAN                    CO           33093630630
2195B63779189B   JORDAN         HENNY                    OK           90010036377
2195B659A91984   JUVENTINO      NOLASCO                  NC           90013936590
2195B74215B271   TAIWAN         JOHNSON                  KY           90011087421
2196127A72B232   VICTOR         EGBEFO                   DC           90011952707
2196243684B281   JOSEPH         GREEN                    NE           90012184368
2196386A82B27B   KIERA          PROCTOR                  DC           90012898608
21964427972B88   TYSHANNA       WILSON                   CO           90012794279
219652A939189B   BRITTNEY       LITTAU                   OK           90010982093
21965772A87B59   AALIYAH        MARTINEZ                 AR           90014197720
2196642A172B88   BERNARD        MESTAS                   CO           90011984201
2196848755B167   CHRIS          POLK                     AR           90014704875
21972A85741245   WILLIAMS       RYONS                    PA           90001840857
2197345532B232   MELISSA        VENABLE                  DC           90008204553
21975711387B59   PAYGO          IVR ACTIVATION           AR           90014267113
2197626287B449   CARRIE         TAYLOR                   NC           90011092628
219769A8791984   KYLIE          PARKE                    NC           90010539087
21976A8A651369   JILL           BAKER                    OH           90005440806
2197724AA5B161   LINDA          CANADA                   AR           90013942400
2197766562B232   OCTAVIA        COATES                   DC           90013006656
21979632872B98   TRAVIS         YOST                     CO           90013446328
21982A3794B588   SHANDALON      TAYLOR                   OK           90010640379
21986514672B42   SHANNON        GONZALES                 CO           90012585146
21986578472B42   ANGELA         MAESTAS                  CO           90007545784
2198764435B167   MICHELE        LIGHT                    AR           90014606443
2198825177B699   AYANNA         HELLER                   GA           90012412517
2198B276881661   GEORGE         FRANCK                   MO           29092012768
2198B348A9184B   ANGELICA       OJEDA-BELLO              OK           90009033480
21993213172B42   RACHEL MARIE   BLEA                     CO           90012332131
2199375917B449   ANTWON         PATRICK                  NC           90010407591
2199819329155B   VICTOR         TORRES                   TX           90010491932
219999A3585865   PABLO          SALDANA                  CA           46052499035
219B3417984364   JODY           LIVINGSTON               SC           90014184179
219B439677B449   ADRIAN         ABREU                    NC           90014223967
219B446937B382   TIN TIN        TUN                      VA           81017374693
219B4746591828   LORI           FOLEY                    OK           90011127465
219B5118591528   JASON          JAMES                    TX           90004041185
219B5415572B88   BRENDA         CHAVIRA                  CO           90012794155
219B6812591984   CALANDRA       MCLEAN                   NC           90013978125
219B764149155B   EVA            DURAN                    TX           90014516414
219B7A5435B167   JAIME          SMITH                    AR           90013780543
219B867425715B   LINDA          CARABEZ                  VA           81009936742
219B9331424B55   DANBER         KAMI                     DC           90012633314
219B9A5435B167   JAIME          SMITH                    AR           90013780543
219BB643881637   JOHNNY         MCCURRY                  MO           90013506438
21B1119927B699   RACHEL         DAUN                     GA           90006841992
21B11A8759184B   BOBBY          MARTIN                   OK           90008980875
21B1416262B232   ASHLEY         HAYNES                   DC           90012751626
21B1458A49184B   TRAVIS         PEARSON                  OK           90003055804
21B14856791541   JAVIER         ZEPEDA                   TX           90012588567
21B182A3247952   ARETHA         SHERILL                  AR           90014832032
21B184A6A31453   AMBERR         ROBINSON                 MO           90014564060
21B18719687B59   RODRIA         OBRYANT                  AR           90011637196
21B1872437B275   SUSAN          MCGRANE                  AZ           90008817243
21B19686187B59   KIMBERLY       SCARVER                  AR           90014806861
21B1B926491541   ANNETTE        ZAMUDIO                  TX           75034809264
21B2323A672B88   ISABEL         HERNANDEZ                CO           90012782306
21B23827672B42   DARRYL         MARSHALL                 CO           90011378276
21B2422A74B588   LAKIESHA       HALL                     OK           90009582207
21B2432139155B   ROBERTO        ARELLANO                 TX           90012513213
21B24537772B88   MELISSA        MORENO                   CO           90003415377
21B2748A941B7B   DAWN           BRADLEY                  NC           90009754809
21B27699191984   ADALINDA       FLORES                   NC           90012746991
21B27699277576   MARICARMEN     ROSIL- AGUIRRE           NV           90011056992
21B2896284B541   TRYSTIN        ROGERS                   OK           90009179628
21B29173A72B98   LAUREN         TREJO                    CO           90014671730
21B29713161877   EXPEDIT        ELOI YEYE EKWEY          MO           90012777131
21B2B762991241   IMARI          SUNKINS                  GA           90014587629
21B371AA82B232   TAMMY          TERREL                   DC           90014801008
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21B37447451369   DANIEL              STURGILL            KY           90001244474
21B38114591528   ROSA                ATIYA               TX           75068201145
21B38A98885636   GABRIEL             BARRIENTOS          NJ           90012730988
21B3928AA51343   JEFF                ROBINSON            OH           90014342800
21B39488887B59   YVONNA              ALEXANDER           AR           90011094888
21B41A33972B42   EDWARD              CANPOS              CO           90013820339
21B42857771945   ARNOLDDO            ALVAREZ             CO           90011168577
21B4377252B232   DIAMOND             WILSON              DC           90010847725
21B47235672B88   JEANNIE             BROWN               CO           90012782356
21B4723839136B   ELVIS               SANDOVAL            MO           90014712383
21B492A8157157   HERBERTH            AMAYA               VA           90001972081
21B4B37469136B   MARIBEL             WILLIAMS            KS           90008343746
21B4B971A84364   MANESA              BLACKMON            SC           90011499710
21B51142A57157   EDGAR               CASTRO              VA           90013821420
21B5117152B232   LESLIE              ABBOTT              DC           90013951715
21B512A7884364   AMBER               FERGUSON            SC           90011112078
21B536AA92B27B   CECILIA             CREW                DC           90014306009
21B53AA2141245   MONIQUE             STEPHENS            PA           90014730021
21B54172691528   SARAH               MEDINA              TX           90011051726
21B56572355957   NOLA                COLLINS             CA           48088475723
21B579A675B176   WENDIE              NOWOTNEY            AR           90011499067
21B5B829285938   RICO                MARKS               KY           90005518292
21B61314887B87   BRIANA              NEWBORN             AR           90013113148
21B65838191541   GEORGIA             ACOSTA              TX           90012478381
21B66365A87B21   ASHLEY              BASS                AR           90011233650
21B66571272B98   SABINO              REYES               CO           90013955712
21B671A1A84364   BERNARD             BURGESS             SC           19050411010
21B69994655957   JUSTIN              HARVILL             CA           90012319946
21B7125449189B   ANTONIO             MACHADO             OK           90013672544
21B73A77191541   JESUS               GARCIA              TX           90011070771
21B74A1514B281   ANTHONY             NOAH                IA           90011070151
21B7931472B27B   JULIAN              BUCKNER             VA           81095983147
21B79842241245   JUSTIN              DAWSON              PA           90012508422
21B79859291541   ANTONIA             OCHOA               TX           75054978592
21B79918431645   MEGAN               MURRY               KS           90013119184
21B79A22491984   MARIE               REAVES              NC           90013350224
21B7B239172B88   ASAHEL              AGUAS               CO           90012782391
21B7B31712B27B   RUTH                MANGUM              DC           90012873171
21B82155491541   MARIO               LOPEZ               NM           90011521554
21B82891541245   SHAQUILLE LAMONTE   SMITH               PA           90011238915
21B83238255941   AMANDA              MANESS              CA           90013732382
21B83A1854B245   DARRELL             PERDUE              IA           90011740185
21B84314431631   ULISES              DOMINGUES           KS           90010943144
21B8433372B27B   JOHN                SPEARS              VA           90012873337
21B84751981637   AMBAR               LARA                MO           90007297519
21B84943541245   GLENNIE             MARTIN              PA           90012189435
21B88399972B88   BRIAN               ATCHISON            CO           90014563999
21B89149191528   LUIS                GARCIA              TX           90004241491
21B8977219155B   ALEXIS              ESCARCEGA           TX           90013967721
21B898A8A9155B   MINERVA             ALVAREZ             TX           90013048080
21B91729527B45   PAYGO               IVR ACTIVATION      KY           90013907295
21B92412731453   TIERRA KEITH        STRONG ASKEW        MO           90013484127
21B93437491541   SANDRA              ESCOBEDO            TX           90010814374
21B9421377B449   ANTHONY             WATSON              NC           90013922137
21B94228731453   DEJA                SHELBY              MO           90012182287
21B94841191541   APRIL               DELGADO             TX           90011328411
21B9578A74B281   GATKUOTH            AGANOS              NE           90011177807
21B974A424B58B   SYLVIA              MEADOWS             OK           90008744042
21B9914557B699   ADDILEE             JACKSON             GA           90008941455
21B99228787B59   JASMINE             JONES               AR           90013622287
21B99413A5B167   ANTONE              JONES               AR           90005694130
21B99975641245   NICOLE              MUSHINSKY           PA           90013639756
21B9B51133B185   REGINA              FORD                VA           90008165113
21BB2312881637   JORJE               OLGUIN              MO           90012183128
21BB468815B167   THOMAS              WILLIAMS            AR           90010466881
21BB4776347952   LEO                 HUNT                AR           90013387763
21BB495895B161   TELA                OWENS-GREEN         AR           90009889589
21BB6821831453   TENNILE             SANDERS             MO           90001688218
21BB764587B471   BENJAMIN            DRAFFIN             NC           90010346458
21BB884417B699   NICOLAS             TORRES              GA           90002398441
21BB8A98541245   ZACHARY             GRIFFIN             PA           90014230985
21BBB224993752   LILLIANA            UGALDE              OH           90012272249
22114159272B88   NOELLE              RENOVA              CO           90011211592
2211474915B232   SAMNTHA             REEDER              KY           90011187491
2211557355715B   WILSON              MORDRAGON           VA           90012075735
22115899887B87   SERINTHIA           FRANKLIN            AR           90014018998
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22117193A8B168   MIKE             MAGINNIS                UT           31090511930
22117571172B42   CAMERON          LEVIN                   CO           90012545711
2211955845B571   JOHN             MONTANO                 NM           90014085584
2212696A191541   CECILIA          OLIVAS                  TX           90007979601
2212935839794B   ESAU             MEDRANO                 TX           90012803583
2212B348591522   MARIA            GALINDO                 TX           90008173485
2212B473187B59   MARQUITA         CURRY                   AR           90014184731
2212B859431453   SHASTA           GRAY                    MO           90013968594
221313A5472B88   ISIS             TEHUTI                  CO           90014673054
221385A275B571   KARLA            MELINI                  NM           90014615027
22139551A7B471   ISORA            RODRIGUEZ               NC           90011225510
22139744887B87   DEMETRIC         WALKER                  AR           90012997448
221441A529189B   MARCUS           MARLIY                  OK           90008861052
22144621172B84   ALEX             SCHEETER                CO           90011246211
22144A5184B588   DELIA            GRAMAJO                 OK           90012650518
2214567139189B   DORA             ESTRADA                 OK           90011496713
2214627715715B   MICHAEL          ALEXANDER               VA           90008912771
2214631267B471   TRINA            WHITE                   NC           11000943126
22147A4882B27B   ANISHA           BLAND                   DC           90014520488
22148556A7B471   SAANY            AVILA                   NC           90011225560
22149A9179189B   JOSHUA           WILLIAMS                OK           90010870917
2214B935831453   ISIAH            POE                     MO           90013969358
2214BA38487B59   KENNETH          PAYNE                   AR           90010980384
22152478A5B161   KEISHA           LIGHTFOOT               AR           90014854780
2215571984B57B   HOLLAND          VANDENNIEUWENHOF        OK           90008387198
22159248272B84   TREVOR           FREEL                   CO           90013742482
22159AA145B271   JOSE             QUINTANILLA             KY           90010690014
2215B525A5B271   ASHLEY           RICHARDSON              KY           90011885250
22164A2A384364   DAYAMI           MCCANTS                 SC           90010750203
2216569A391522   KATIE AND COLE   FORD                    TX           90013746903
2216676A99184B   SIERRA           MUNSON                  OK           21010497609
2216688865B232   CAMILLE          DERAMUS                 KY           90009188886
22166984272B88   ATIN             GARG                    CO           90010299842
2216747249155B   ALEJANDRA        SANCHEZ                 TX           90012294724
22175853A72B84   ROBERT           JACOBSON                CO           90014518530
22177457372B88   MARIO            CHAVEZ                  CO           90001274573
2217767465B161   DONALD           FLOYD                   AR           23011236746
2217B779372B88   DERRIN           WILLIAMS                CO           90013067793
22182213A31631   REBECCA          BIDWELL                 KS           22054122130
22183962872B88   MOLLY            TRUJILLO                CO           90013119628
2218538489184B   ROVON            ALEXANDER               OK           90005193848
221867A5891541   ALEJANDRA        ACOSTA                  TX           90013357058
22188151A85938   PERRY            JORDAN                  KY           90014651510
22191397A4B251   GABRIELLE        MILLER                  IA           90004633970
22192A49631453   ALEXACE          HARDEN                  MO           90013970496
22192A77547952   JIMMY            HENRY                   AR           90013720775
2219346475715B   MARIATU          FONTI                   VA           90012404647
221934A385B161   ALYSSIA          JACKSON                 AR           90013314038
221936A752B27B   GREG             SNIPE                   DC           90015016075
2219529834B588   SHANTELLE        JAKE                    OK           90014352983
22195A49631453   ALEXACE          HARDEN                  MO           90013970496
2219665645B161   SHARECA          TYSON                   AR           90014046564
22196A9527249B   TIFFANY          MCKEAN                  PA           90011100952
2219793A781661   JAMES            MILLER                  MO           90013119307
2219847992B27B   EBONY            GODDARD                 DC           90011354799
22198727272B84   TIFFANY          DURAN                   CO           33003617272
2219B676772B98   MARIA            SOTO                    CO           33072336767
221B2A3535B161   CHASITY          WILLIAMSON              AR           90013760353
221B325119155B   MICHELLE         AMAYA                   TX           90014642511
221B4A4359794B   EDDIE            MARTINEZ                TX           90011150435
221B589359184B   LAWRENCE         HARRIS                  OK           90007128935
221B6338141245   AMY              ELY                     PA           51010133381
221B6594291522   PATRICIA         GONZALES                TX           75078445942
221B9877372B88   ERIC             RYAN                    CO           33014108773
221BB838491541   MAYRA            RAMOS                   TX           90009748384
222132AA49794B   NADIA            GALVAN                  TX           90014972004
2221756299794B   LUCIA            TUMAX                   TX           74016535629
2221838359794B   ABIGAIL          VASQUEZ                 TX           90012473835
2221921247B43B   CARLOS           REYES                   NC           90001572124
22219478A5B161   KEISHA           LIGHTFOOT               AR           90014854780
22221A7799184B   IRMA             RAMIREZ                 OK           90015230779
2222359787B471   YAMILETH         MAYA                    NC           90011225978
2222436349189B   KAYLYN           ONHAIL                  OK           90010333634
22226734A31453   MICHAEL          BROWN                   MO           90014037340
22226A71672B88   CESAR            PEREZ                   CO           90011560716
22228531A91522   CAROLINA         GONZALEZ                TX           90006415310
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222289A1191241   TARSHA         EDWARDS                  GA           14502789011
2223168A591828   VANESSA        STEVENSON                OK           90013526805
2223361385B571   CHRISTOPHER    BARELA                   NM           90011236138
2223364199136B   MICHAEL        KIRKHAM                  KS           90013216419
2223425A85B271   TERESA         BALENGER                 KY           90014842508
2223463689794B   EDEN           HERNANDEZ                TX           90013836368
2223635A491541   CINDY          AVILA                    TX           90010993504
2223751635B232   RHONDA         JACAVINO                 KY           90014425163
222378A9831453   RICHARD        UNDERWOOD                MO           90008838098
2223853A185938   JESSICA        JUSTICE                  KY           90014655301
2223B76A187B59   MARANDA        ALFORD                   AR           90008717601
2224295779155B   JACQUELIN      TORRES                   TX           90011709577
2224376684B588   JORGE          FUENTES                  OK           90008707668
22243794A91522   ZUIKA          ROSSELT                  TX           90010667940
2224496539155B   HARLEY         COTY                     TX           90011709653
2224774AA47952   MARQUISIANA    JONES                    AR           90013087400
22248376387B87   LAWANDA        MCCOY                    AR           90011943763
22248823A91528   JORGE          HERNANDEZ                TX           75092858230
2224B6A737B471   ANTINETTE      CALDWELL                 NC           90011226073
2225197595B271   JOHN           DRAKE                    KY           90014359759
22254829572B88   MARIA          NOLASCO                  CO           33071578295
22256262472B88   KYLE           LOPATOWSKI               CO           90013082624
22258482A81661   JUAN           MENDEZ                   MO           90008524820
22259454A5B271   ASHLEY         FORD                     KY           90013974540
22262A49647952   WADE           CHRONISTER               AR           90012410496
2226937A14B588   TRACY          ABELL                    OK           21576553701
2226BA17A74B54   SYDNEY         DANNER                   OH           90014230170
2227191325B271   ASHLEY         WAGNER                   KY           90014779132
2227284545715B   ROSSY          GARCIA                   VA           90011068454
22273389572B84   LAWRENCE       BUENO                    CO           90012873895
22274AA1A85938   TONYA          WILLHOITE                KY           90014660010
2227767262B27B   IKIA           MARCE                    DC           90010896726
22277674872B84   FELIPE         AGUINAGA QUIONES         CO           90011246748
222788A5972B44   PAULA          OTTO                     CO           90010488059
22278A45387B87   ELVIS          HERNANDEZ                AR           23044560453
2227B364585938   ANAHI          NAVARRETE                KY           90010743645
2227B822555957   ESTEFANI       FRIAS                    CA           90013078225
22281A97172B42   PHILL          SIMON                    CO           90003730971
2228269174B588   MATTHEW        TREASTER                 OK           21556006917
2228622474795B   MAGNA          ESCALANTE                AR           25024722247
2228856979794B   JERIMIE        PINTER                   TX           90014945697
22288811672B88   SELENA         GURULE                   CO           90013068116
22289542387B21   DAVIDA         HUFFSTUTLER              AR           90014695423
2228974A487B21   DAVIDA         HUFFSTUTLER              AR           28065317404
2228B428391541   MICHAEL        MAVES                    TX           90015154283
2228BA34291251   NERY           PEREZ-NAJERA             GA           90007900342
22291821872B84   NOEL           LIBBY                    CO           90012648218
2229311294B261   JOSEP          HOPPER                   IA           90015001129
222934A224B251   DONNA          NEIL-LIPSCOMB            NE           27077554022
222944A689136B   THERESA        MCGEE                    KS           90015164068
2229453189189B   SAMMIE         YOUNG                    OK           90013015318
2229558275B232   KENNETH        SQUIRES                  KY           90012935827
2229617994B581   GUADALUPE      PINON                    OK           90009691799
2229637465B226   PAULA          MITCHELL                 KY           68042513746
22296917687B59   BETTY          SYKES                    AR           90008599176
2229731539155B   RAUL           ESTRADA                  TX           90012983153
22299626A5B232   JAMES          CANADA                   KY           90014506260
222B16A5691251   TINA           CUCURELLA                GA           90010716056
222B2294372B84   MARIO          HERNANDEZ                CO           90012272943
222B2546581661   AMANDA         VICK                     MO           90014315465
222B437429794B   SALVADOR       GONZALEZ                 TX           90014463742
222B56A519155B   RUTH           RUIZ                     TX           90012316051
222B5A78991251   YEIZA          CARRASQUILLO             GA           90011320789
222B6A3885B571   MELANIE        CHAVEZ                   NM           35081240388
222B971AA91241   ASHLIEGH       WYNN                     GA           90006367100
2231178825B271   JOHN           KASEY                    KY           90010007882
2231212475715B   ODILIA         REYES                    VA           90005031247
2231375582B27B   ELECTRA        DYAS                     DC           90014597558
2231561239794B   VERIN          POS                      TX           90011766123
2231957275B167   JUANITA        CRUZ                     AR           90001125727
223199A5491541   RICARDO        HERNANDEZ                TX           90008409054
2231B48855B571   PEDRO          CHAY-COHUO               NM           90001764885
2231B664331453   NICOLE         SCANIO                   MO           90012266643
22321669A72B42   BRYANT         JACKSON                  CO           90011396690
2232228492B27B   BIJON          DAVIS                    DC           90015172849
2232368A591828   VANESSA        STEVENSON                OK           90013526805
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2232428819136B   BRANDON         RAMOS-CAMPOS             KS           90012582881
2232437679189B   SAMATHA         CORBET                   OK           90011073767
2232562554B261   JOYLYNN         LESCH                    NE           90014546255
2232688829136B   KENNETH         POWELL                   KS           90002708882
2232689529184B   HEATHER         DOBBS                    OK           90014638952
2232695219155B   DIANA           MOJICA                   TX           75097059521
2232696A25B161   JERRYME         DAVIS                    AR           90009629602
2232837A42B27B   MS              CEE                      DC           90001833704
22328813972B88   JENNIE          METCALF                  CO           90013068139
2232B26A693721   STEVE           RIDGLEY                  OH           90009862606
2232B67385B571   CARMINA         VARGAS                   NM           90011236738
223352A885B271   DANIELLE        TELLES                   KY           90004802088
2233876385B167   MATTHEW         ALDRIDGE                 AR           23030877638
2233949A24795B   MARIA           CASTANEDA                AR           90007474902
2233B29115B271   JOSE            QUIJADA                  KY           90011082911
2234298517B471   ANTHONY         JUST                     NC           90014969851
2234B679A9794B   KIMBERLY        WORTHY                   TX           90010186790
22356324572B88   JORGE           MORAN                    CO           90014673245
22357A44581661   KYAUNNA         ROBINSON                 MO           90013740445
2235925139155B   MARIA           TERRAZAS                 TX           90002742513
223613A692B27B   JANAE           THOMAS                   DC           90012843069
2236286895B232   APRIL           CARTER                   KY           68080668689
22364735787B59   PRECIOUS        SANDERS                  AR           90010207357
2236478984B588   SANTOS          AUSENCIO                 OK           90010367898
2236531489794B   JACQUELINE      BIRCHER                  TX           90008033148
2236591679184B   KRISTI          MCCOY                    OK           90005889167
2236686A631453   MARKEITTA       JORDAN                   MO           27523228606
2236B731272B84   FELIX           SAENZ                    CO           90012317312
223732A7891522   MICHAEL E       FERNANDEZ                TX           90005182078
22373623A9184B   TOM             DATEMAN                  OK           90013426230
223736A2791522   GUADALUPE       ROSALES                  TX           90009936027
223737AA39794B   MANUEL          XOCHOLEJ                 TX           90012757003
22373888172B42   YULHENNY        CORTEZ                   CO           33071378881
2237641A641245   TRACEY          BURKE                    PA           90003294106
22377279A91828   SAMANTHA        ESPINOZA                 OK           90003622790
22377834572B88   MANUEL          MARTINEZ                 CO           90013068345
2238193189189B   MEGAN           HARTMAN                  OK           21070689318
2238355777B449   THELMA          MITCHELL                 NC           90013305577
2238526147B449   MAURICIO        LUZ                      NC           90009592614
2238672485B571   JOSEPH J        ANDRADE                  NM           90011237248
223888A5581661   KATRINA         MORRIS                   MO           90012928055
22388922672B42   THOMAS          FORD                     NM           33051409226
22388A97A91541   ESPARZA         ELIAS                    TX           90005070970
2238963739794B   JENNIFER        SHANNON                  TX           74024616373
22389A63661996   SUSANA          DE LA TOBA               CA           90003650636
2239324A391522   VERONICA        QUINONEZ                 TX           75011352403
2239845655B571   CANDICE         GRANT                    NM           90008964565
22399589672B84   LADAYSHIA       ALARID                   CO           90013245896
2239B84239136B   SALLY           COKER                    KS           29075268423
2239B95A291241   SHAKETA         DAVIS                    GA           90002969502
223B2141255977   TWYLA           MUSKRAT                  CA           90014611412
223B2A16972B88   ASHLEY          HERNANDEZ                CO           90012120169
223B574315715B   ONAN            PEREZ                    VA           90003607431
223B5769347952   MATTHEW         HUBBARD                  OK           90013947693
223B5A58291251   GAMALIEL        MENDEZ                   GA           90012800582
223B5A68791528   MIREYA          GODINEZ                  TX           75020620687
223B6718691522   NORMA           GIBBONS                  TX           90011947186
223B9193791251   CHRISTOPHER     HAWKINS                  GA           90014681937
2241317197B471   ZENOBI          SCOTT                    NC           90014461719
22413691472B84   SHANTE          SIMPSON                  CO           90011246914
2241531825B161   ROOSEVELT       WILSON                   AR           90011093182
224192A1791251   MARLA           CREWS                    GA           14508982017
2242231319155B   JUAN            JURADO                   TX           90014943131
22423A86147952   CAYSEY NICOLE   DUTTON                   AR           90014240861
22424328A72B88   MALENA          HERNANDEZ                CO           90014673280
22424479372B84   ALYSHA          ADAMS                    CO           90010414793
22425A62585938   KENDRA          EDMONDS                  KY           90014720625
2242867165715B   ERVIN           FIGUEROA                 VA           90013766716
22428A62585938   KENDRA          EDMONDS                  KY           90014720625
22429A62585938   KENDRA          EDMONDS                  KY           90014720625
2242B93A772B84   REINIER         MEZQUIA                  CO           90011439307
22431718987B87   CARMELETTA      LONG                     AR           90014117189
2243261895B571   ROBERT          WILLIS                   NM           90007526189
2243454314B281   MARY            DIVIS                    NE           27038175431
22434741687B87   MATTHEW         REED                     AR           90002597416
22434895172B42   JENNIFER        DUTTON                   CO           33013608951
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22436589672B84   LADAYSHIA      ALARID                   CO           90013245896
22436A12587B59   BRITTANY       JACKSON                  AR           90010280125
2244114119152B   GUADALUPE      AGUILAR                  TX           90007821411
22442391A87B87   ALTHEIA        WILEY                    AR           90009793910
22442697972B84   ROBERT         HARGROVE                 CO           90011246979
22444619A93727   DAJUAN         DELOACH                  OH           90007596190
2244698514B281   LUCIA          NAVAREZ                  NE           27008539851
224493A2A9794B   ALEJANDRA      GUAJARDO                 TX           90014823020
2244B47559189B   TAYLER         SHELLY                   OK           90010334755
22451317A2B27B   DEWAYNE        HARVEY                   DC           90008153170
2245251789155B   RUBEN          LARA                     TX           90014645178
2245428A64795B   MISTY          HANCE                    AR           90013332806
2245546799155B   LIZ            VILLALOBOS               TX           90011714679
22456266972B88   CHRISTOPHER    BEAULIEU                 CO           90004582669
224578A422B27B   SHANDY         LYLES                    DC           90012548042
22457A8615B271   CORNELIUS      HENRY                    KY           90014620861
2245824465B232   SEAN           SMALLWOOD                KY           90013702446
22463398A5715B   THOMAS         VARDAMAN                 VA           90012983980
2246423328B17B   ELIZABETH      RODRIGUEZ                UT           90005702332
2246646844795B   NICOLE         JUDA                     AR           90011904684
2246913489189B   RAUL           HERNANDEZ                OK           90011831348
2246B3A1191828   CRYSTAL        STARR                    OK           90010933011
2246B51939155B   CASEY          KNIGHTON                 TX           90014645193
2246B52975B571   BRIANA         ALDERETE                 NM           90013415297
2246BA3164B588   MIGUEL         VAZQUEZ                  OK           90010340316
2247352779155B   LARRY          RODRIGUEZ                TX           90014645277
224745A9355957   MAGALY         PALACIOS                 CA           90012745093
22475349672B88   YESSENIA       VARGAS                   CO           90013603496
2247574149794B   RYAN           MCWHORTER                TX           90009407414
224766A9191541   CRISTINA       OROZCO                   TX           90011926091
22478A2AA24B6B   JOSE           SOTO                     VA           81015850200
2247964937B471   BENITA         FLOWERS                  NC           90013386493
22479A72672B84   NATHAN         LUCERO                   CO           90012790726
22481796A5B232   YANEISY        CARDENAS                 KY           90008987960
2248372A14795B   KARINA         WORTMAN                  AR           90010717201
2248449114B588   KYLE           BARNES                   OK           90013754911
2248458715715B   MARIA          IGLESIA                  VA           90013025871
224863A575B571   RICARDO        ORONA                    NM           90012613057
2248766477B449   JORGE          ALBERTO                  NC           90014526647
2248782415B161   TAYLA          HOSEY                    AR           90011308241
2248786969136B   DEBRA          MORRIS                   MO           90011968696
2248791915B232   TERRISHA       FRANKLIN                 KY           90014059191
22489755987B87   JAMES          HAMPTON                  AR           90009077559
2248B41177B449   ANDREW         GODDINS                  NC           90010734117
2248BA7495715B   EDGAR          GARCIA                   VA           90010220749
224926A2891541   AMBER          BLYSTONE                 TX           90013306028
2249767165715B   ERVIN          FIGUEROA                 VA           90013766716
2249821858B17B   LUIS           PENNA                    UT           90004572185
224983A3151369   KAYLA          CARPENTER                OH           90006723031
2249956964795B   KASKO          LOEAK                    AR           90013515696
2249985675B232   ANDREW         HARP                     KY           90009638567
224999A849136B   CHRISTOPHER    KIRBY                    KS           90011949084
2249B836272B88   JOSE           ZAMARRIPA                CO           90013068362
224B2171147883   MICHELLE       CUTHBERT                 GA           90010481711
224B2795691522   GARY           JOBE                     TX           90013027956
224B45A9691241   TAMEKA         HOOKER                   GA           90013085096
224B4A9385B271   DANNY          BRIDWELL                 KY           90013900938
2251123117B471   KIMBERLY       PROCTOR                  NC           11084262311
2251258515B232   TRACY          STARR                    KY           90012145851
2251348A53B391   JAY            JOHNSON                  CO           90010944805
2251697817B449   DONNA          PORTER                   NC           90012759781
225176A949155B   ROBERT         HANLON                   TX           90013416094
2251784385715B   JOSE           MEJIA                    VA           90010778438
22517953287B87   GENE           GIVENS                   AR           90013539532
2251952A74B588   PRECILLA       ACOSTA                   OK           90011085207
2251964724B588   GUMAYO         LUBANO                   OK           90010806472
22524A55887B59   TASIA          JONES                    AR           90014630558
2252563A791241   DESIREE        JENKINS                  GA           90011156307
225262A924B588   CHRISTI        NELON                    OK           21513942092
2252634965B232   KRISTOPHER     MUELLER                  KY           90013013496
2252921355B271   NATALIE        BAIN                     KY           90011102135
2252BA21172B88   JANETTE        PADILLA                  CO           90010300211
2252BA8597B471   ALEJANDRA      CABRAL                   NC           90012620859
22531412A72B98   ISELA          HERRADA                  CO           33086434120
2253148857B471   WANDA          KIRK                     NC           90013714885
225314A525B232   SANDRA         BRUNER                   KY           90012324052
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22532286387B87   KYLA           LANKFORD                 AR           90013212863
2253251835B167   CYNTHIA        BOYKINS                  AR           23091625183
2253351789155B   TAMMARA        COBLE                    TX           75026995178
22534A11281648   GREGORY        MIDDAUGH                 MO           90010360112
2253568117B449   YESSENIA       LINO                     NC           90013226811
22536855172B88   MOHART         GONSALEZ                 CO           90013068551
22536A8615B271   CORNELIUS      HENRY                    KY           90014620861
22537AA1A72B88   THOMAS         BYERS                    CO           90014100010
2253967244795B   CHRISTOPHER    VAUGHN                   AR           90013496724
2253B412291541   MARIA          MARQUEZ                  TX           90010994122
2254137655B342   KATIE          ROSSELL                  OR           90012583765
2254441595715B   JUAN           ZACARIAS                 VA           90007224159
22547917787B87   CONSTANCE      LOCKHEART                AR           90011149177
22549455A61921   LOUIS          GOLETTO                  CA           90007754550
22549A59A47952   CORNELIUS      JILES                    AR           90011590590
2254B13369136B   KRISTINA       GIORDANO                 KS           90011941336
2254B644747952   RENEE          BURKETT                  AR           90012686447
2255155A85B531   JOSEPH         VALDEZ                   NM           35090465508
2255162535715B   ELLIOTT        LYLES                    VA           90012356253
2255224494B588   NANCY          AINESWORTH               OK           90012012449
2255334375B232   CHRIS          SMITH                    KY           68025193437
225535A9355957   STEPHANIE      MENIX                    CA           90014155093
22553743987B87   QUINTAL        WOODS                    AR           90011437439
2255583819184B   BRIAN          GABLE                    OK           90011308381
22556AA9172B88   JACOB          LOOMIS                   CO           90012380091
225576A2991889   SHIMIKO        BELL                     OK           90011076029
22557A97355957   MARC           SUMMERS                  CA           90009090973
22557AA887B449   QUANTIS        ANTHONY                  SC           90010810088
2255B436891522   WALBERTO       GONZALEZ                 TX           90008464368
2255BA16555957   RICARDO        ARMENTA                  CA           90011910165
225614A3A5B161   TAPPETHA       SIMPSON                  AR           23082954030
2256438A22B27B   REGINA         WHITAKER                 DC           90014853802
22566198A72B88   FAY            LACEY                    CO           33014611980
22566A17A91522   LILIA          BRANDHAM                 TX           90012110170
2256764729184B   D ANDRA        WOOD                     OK           90005116472
22568795472B42   ALAN           GEISLER II               CO           90012177954
2256BA4535715B   VICKI          HARROD                   VA           90012750453
2257269739136B   JOSE           ABDIAS                   MO           90012446973
22573A16985938   AMBER          WALLS                    KY           90014770169
2257868A291522   CARLOS         DELGADO                  TX           90004876802
22579269A9136B   TYRONE         LEWIS                    KS           29087872690
2257928687B449   MONTRICE       MCGILL                   NC           90013872868
2258122684B261   CATHY          WELCH                    NE           90014682268
2258212675B161   BRIAN          ROBINSON                 AR           90014511267
225827A4A2B232   DWAYNA         LEACH                    DC           81072677040
2258394599155B   DAVID          REYES                    TX           90013159459
22583A8269184B   STEPHEN        SMITH                    OK           90010000826
22584837287B87   JONATHON       HOLLIDAY                 AR           90011988372
2258636824B551   HOTSHOT        IDLETT                   OK           90001603682
2259264125715B   PEDRO          ROMERO                   VA           90009696412
2259583327B471   MARCO          FLORES                   NC           90010438332
2259664195B571   ANNAMARIE E.   GARCIA                   NM           90015176419
225983AA672B84   DALE           MAUS                     CO           90011453006
2259841434B588   CHRISTINA      JENSON                   OK           90013564143
225B4993A5B161   CRISTEN        DAVIS                    AR           90009119930
225B818679189B   ASHLEY         WISE                     OK           90009381867
225B885899184B   TROY           VAN HOLTEN               OK           90011518589
225BB67589155B   LAURA          ZAYAS                    TX           90012816758
226117AA25B271   ARYETTA        MCDONALD                 KY           90011147002
2261517325715B   JOSE           LOPEZ                    VA           90012111732
2261617755B571   KAREN          LUJAN                    NM           90012041775
2261715679184B   RICHARD        ROBERTS                  OK           90002121567
226186A4772B88   SANDER         KLEIN                    CO           90013076047
2261995835715B   NORMA          ZAVALA                   VA           90010669583
2261B232381661   ELIZABETH      CRUZ                     MO           90008532323
2262393A547952   AARON          NEDLEY                   AR           90013139305
2262655465B531   STEPHANIE      CAMARENA                 NM           90008695546
22627A9A72B27B   CELESTE        TURNER-HOLMES            DC           81040550907
2262957114B281   NINA           DELANEY                  NE           90010025711
2262BA5169794B   JOSE           GARCIA                   TX           90012630516
22632727472B84   LYNETTE        FRIESON                  CO           90011247274
22633439587B59   BELINDA        ADAMS                    AR           90010804395
22636617772B88   CARLOS         RAYFIELD                 CO           90013076177
226366A645B232   DANIEL         LOPEZ                    KY           90012146064
22636A5227B471   OSCAR          CONTRERAS                NC           90012580522
2263771315B271   KENNIETH       DMCGILL                  KY           90010957131
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2263898842B27B   CLIFFORD       FOWLER                   DC           90014479884
2264117514795B   ROSALVA        VARGAS                   AR           90011121751
226441A3A7B449   MICHELLE       LYLES                    NC           90012181030
226455A6272B84   STANLEY        BENTLEY                  CO           90009035062
2264715A37B449   BRITNEY        WHITE                    NC           11087061503
2265158429155B   NEIRA          JUDITH                   TX           90014645842
22655A2842B27B   LENOARD        PHILLS                   DC           90014090284
22656555287B87   JOHN           CROW                     AR           23093345552
226596A539155B   CLIFTON        MORGAN                   TX           90014646053
2266117887B471   JESUS          ARCEO GONZALEZ           NC           90014371788
2266127979794B   CYNTHIA        ZAMORA                   TX           74089372797
2266156585B271   TOBY           HERKINS                  KY           90013685658
22662A2A34B588   MICHELLE       BOBELU                   OK           90007760203
2266625384795B   MIGUEL         SERRANO                  AR           90013272538
2266B258991522   DESTINY        MARTINEZ                 TX           90014812589
2266B527391528   SILVIA         SANDOVAL                 TX           75013265273
2266BA3A287B87   SHANNA         SANDERS                  AR           90014030302
22672192A87B87   DIANA          OGLESBY                  AR           90012841920
22672617772B88   CARLOS         RAYFIELD                 CO           90013076177
2267277A84795B   SAMATHA        HOLSCHER                 AR           90013507708
2267291735B571   MONICA         ROYBAL                   NM           90011239173
2267332875B271   LINDA          SMITH                    KY           90008013287
2267367244795B   CHRISTOPHER    VAUGHN                   AR           90013496724
2267399384B281   HECTOR         CASTILLO                 NE           90001139938
226741AA85715B   ERICK          MEIJA                    VA           90014951008
22675519587B59   DARIUS         BAKER                    AR           90014705195
2267716267B471   SHUNEKIA       HUDSON                   NC           90011231626
2267826394B261   SARA           CHRISTIANSEN             NE           90011462639
2267832179155B   ANGIE          LOPEZ                    TX           90011583217
2267871A791828   KISHA          WALKER                   OK           90013527107
2267B197372B47   JOSE           BONILLA                  CO           90002411973
22684341672B84   LACEY          STRELEC                  CO           90012193416
2268742A87B449   JERRY          STRANGE                  NC           90012814208
226888A864B261   SHELLEY        WHITLEY                  NE           27092048086
2268966A547952   JASON          DAVIS                    AR           90014936605
2269139519155B   JESUS          LIMON                    TX           90011853951
226919A7872B42   VICTOR         NORIEGA                  CO           90013149078
22692645772B88   JESSE          PETERSEN                 CO           90013076457
2269317384B588   MANUEL         GUILLERMO                OK           90007531738
22694423972B42   LYDIA          MARTIN                   CO           90014504239
2269472894B588   BRYANNA        SHAW                     OK           90014827289
2269613159794B   FERNANDEZ      EDILBERTO                TX           90011911315
226985A1A91828   JOSH           GIBBONS                  OK           90009325010
22699978A7B471   AGUEDA         PEREZ                    NC           90012169780
226B3838A4795B   ANDRE          LUDOVIC                  AR           90009758380
226B428625B232   JERMAINE       CAMERON                  KY           90013382862
226B4453972B84   SARAH          KEYS                     CO           90008174539
226B616349189B   DESTINY        MOTZ                     OK           90015131634
226B6717691541   JULIE          CORONADO                 TX           90009987176
226B67A425B571   NORMA          CARRANZA                 NM           90008277042
226B749735B271   ANGELA         MARSHALL                 KY           68017114973
226B74A235B232   JAMES          YEOUZE                   KY           90014104023
226BB363691541   LINDA          REYES                    TX           75005363636
226BB42469794B   WILLIAM        SACALOXT                 TX           90014734246
22711324A9794B   RAYMOND        HALLFORD                 TX           90009063240
2271163554B588   ALICIA         DE ANDA                  OK           90013266355
2271175389136B   JESUS          LABRADO                  KS           90013837538
22711951972B84   MERCEDES       WALTERS                  CO           90014149519
227133A855B271   GARY           KINDER                   KY           90012303085
2271437315715B   DORA           BUSTILLO                 VA           90001473731
2271847442B27B   MARCHELLE      GRAHAM                   DC           90010124744
227188A949189B   TREVOR         BENDURE                  OK           90012408094
2271971299155B   JOCELYN        ABASCAL                  TX           90009457129
2271B148591541   VERONICA       CORREA                   TX           90008501485
22721939152B31   DENNY          HUNSAKER                 CO           34094789391
2272483695B232   CODY           AIKINS                   KY           90012298369
227271A489136B   CRISTINA       PAEZ                     KS           90012231048
2272767919155B   JORGE          RAMIREZ                  TX           90014646791
2272831739184B   WILLIAM        BARRERA                  OK           21023723173
22728664A9189B   THOMAS         BURKE                    OK           90011086640
2272B164431453   ANITRA         WILSON                   MO           90013441644
2273128A64795B   MISTY          HANCE                    AR           90013332806
22731664172B88   JOSEPH         BERNAL                   CO           90013076641
22732154572B61   CARLA          MARTINEZ                 CO           90007741545
22732317672B61   CARLA          MARTINEZ                 CO           90011993176
2273284415B271   ALLEN          HISER                    KY           90010958441
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2273289319155B   FABIAN                 PARRA            TX           90011868931
22733A26791241   BRITTENY               BROWN            GA           90014730267
22733A69691251   MATTHEW                HUFF             GA           90008460696
22734751A91541   ISAAC                  SALAS            NM           90013627510
22734A5A687B59   NATASHA                HENRY            AR           90011600506
22735A8784795B   MARJORY                MONDRAGON        AR           90009530878
2273746A472B42   BALLATEROS             MARIE            CO           90012254604
2273869A972B88   MINDEE                 SAMORA           CO           90010426909
22739166A85938   SAVANNAH               COVINGTON        KY           90014781660
22739686387B87   LAVONYA RENA           REEVES           AR           90014776863
2273B694591828   GUADALUPE              ALVARADO         OK           90009906945
227428A6472B88   LUIS                   BATISTA          CO           90009058064
227478A1A2B27B   JOY                    BRITT            DC           90013958010
2274861314B261   ADAM                   DAEGES           NE           90009256131
2274883924B588   DEZIRAE                WIEGERT          OK           90013258392
22751596972B84   JENNIFER               JAIMES           CO           90013245969
227518A545B167   CHERRY                 SANDERS          AR           90006108054
2275462999152B   CARLOS                 VELASQUEZ        TX           90013906299
227549A395B161   MICHELLE               CANCHOLA         AR           90014539039
2275571567B471   RONNIE                 MCGREE           NC           90013467156
227582A1791251   MARLA                  CREWS            GA           14508982017
22762724A9155B   ISRAEL                 GALINDO          TX           90014657240
2276278119136B   GERAMY                 DEMONBRUN        KS           90012337811
22767442787B59   TERRELL                WALKER           AR           23097194427
22769A4984B588   SHAWN                  MARTIN           OK           90013230498
22771357187B59   LYNETTE                MAYWEATHER       AR           90014733571
2277397474B261   KATHRYN                BARTLETT         NE           90012389747
2277716385B232   JIMMY                  JACKSON          KY           90012711638
2277968815B161   CHERYL                 CARMICHAEL       AR           23098396881
2277B23679136B   RODNEY                 MORREIRA         KS           90010312367
2277B644A72B98   ROSIO                  ARMENDARIZ       CO           90009496440
22781597572B84   ANDREA                 TORRES           CO           90013245975
227817A644B281   MARIBEL                LOPEZ            NE           90005767064
22781A44572B88   JULIA                  DIAZ             CO           90010300445
2278341519155B   LUIS                   PEREZ            TX           90015124151
22783611274B79   LYNNDALE               PRIMER           PA           90006336112
2278871662B27B   KELVIN                 STEELE           VA           90013607166
22789255372B42   BRIANDA                BANUELOS         CO           90009342553
2279267472B232   CAIN                   HAWKINS          DC           90009726747
2279553344B588   DANIEL                 GONZALEZ         OK           90011045334
2279989424B588   SHAWN                  PITCHFORD        OK           21555818942
2279BA29591541   ALAN                   LARA             TX           90013130295
227B3264291522   MIRNA                  RAMIREZ          TX           90013542642
227B628665B161   MAURICE                SPENCER          AR           90013182866
227B728845B571   DANGELA                MARTINEZ         NM           90009552884
227B9488531453   JASMINE                RODRIQUEZ        MO           90014704885
227BB13165B271   KURTISHA               SMITH            KY           90010651316
22813A31491241   JEANINE                COLLIAR          GA           90009860314
2281529899184B   ROBERT JAMES           MILLLER          OK           90005472989
228164AA24B588   JAMES                  RAY              OK           90014854002
22816AA419189B   JOHNATHAN              DEARMAN          OK           90014760041
2281973855715B   FREDRICK               PECK             VA           90012797385
2281B181172B42   MARIA                  MIRAMONTES       CO           90008931811
2281B8AA69794B   LAUREN                 ARELLANO         TX           90011418006
2281BAA759794B   WILLIAM                BALANGA          TX           90012310075
2282333249155B   GONZALO                PEREZ            TX           90011723324
22823A9435715B   JOHANA                 GARCIA           VA           90013260943
2282445169184B   MICHAEL                HOLT             OK           90010784516
2282493435715B   EDWIN                  AYALA            VA           90010669343
2282614595715B   JENNY                  RIVERA           VA           90013041459
2282828864B588   ANDRE                  MITCHELL         OK           90015142886
228288A8487B59   SHERONDA               BURTON           AR           90014748084
228298A8487B59   SHERONDA               BURTON           AR           90014748084
22829A67972B88   RICHARD                TWEED            CO           90013770679
2282B911372B88   MARTIN                 PANTOJA          CO           90009429113
2283159799136B   LATRICSHA              MONDAINE         MO           29086395979
22832498687B87   MARIANTE               BUTLER           AR           90011224986
2283262469136B   RACHAEL                MONTCOMERY       KS           90007496246
2283392A272B88   AMANDA                 KELLER           CO           90009259202
2283646985B271   HOLLY                  FUQUA            KY           90008014698
22836699672B88   ROBERTO                CERVANTES JR     CO           90013076996
22839475A5B161   MARTIN                 RAMIREZ          AR           90014864750
22839A17391528   ALINE                  ZAMORA           TX           90010650173
22844A2625B161   TIFFANI                NASH             OK           90009640262
228457A7872B42   MARY                   SOLIS            CO           90011127078
22848367A2B27B   MARIA DE LOS ANGELES   RAMIREZ          DC           90013043670
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2284B368585938   CLAUDINE         CONRAD                  KY           90014803685
22851274687B87   AUTUMN           NELSON                  AR           90008192746
22851931772B42   COREY            DAVIS                   CO           90012089317
2285325945B271   MIA              JUDKINS                 KY           90007002594
2285349757B449   MICA             STURDIVANT              NC           90012074975
228559A4472B88   WILLIAM          SHEDD                   CO           90010499044
2285657119189B   CAROL            SMITH                   OK           90013345711
22856A38A91541   ELIZABETH        FERNANDEZ               TX           90002110380
2286123125715B   GREG             GARTENMAYER             VA           90013162312
2286163929155B   RICHARD          NINO                    TX           90013416392
2286241214B588   ANTHONY          TOCCI                   OK           90014854121
22862A93691828   RAVEN            DYER                    OK           90014810936
2286536334795B   CHRISTOPHER      MCPHERSON               AR           90009673633
2286855194795B   SHREKA           CHESTNUT                AR           90006975519
228735A5831453   SHEKINAH         HOLEMON                 MO           27572635058
2287639474795B   BENJAMIN         PHIPPS                  AR           90014083947
22878514672B84   RICARDO          LEZAMA-CRUZ             CO           90013415146
2287912157B425   RICARDO          TORRES                  NC           11018081215
2287951748B17B   JEFFREY          PARKIN                  UT           31001195174
22879A7A37B449   DEON             SELBY                   NC           90014740703
2287B29A247952   ASHLEY           ROGERS                  AR           90014652902
2287B558243551   ANTHONY          ANDERSON                UT           90007535582
2288157AA81661   SINCERE          WHALES                  MO           90013005700
2288177A84795B   SAMATHA          HOLSCHER                AR           90013507708
2288199435137B   LUIS             FUENTES                 OH           90004819943
2288373165B167   ISABEL           MAHONE                  AR           90004987316
2288531715B232   LATOYA           SPRATT                  KY           90013803171
2288551359794B   JOHN             DUKE                    TX           90014435135
2288678247B471   KEVLIN           HAGERTY                 NC           90013047824
22889399772B84   BILLIE           MCQUEEN                 CO           90013923997
2288999A785938   RANDY            SLONE                   KY           90014809907
2288B11684B588   TRACI            TREVINO                 OK           90007221168
2288B96999189B   STEPHEN          CONNER                  OK           90002699699
2289137655B161   LEONARDO         HUESCA                  AR           90011933765
2289683399155B   JOHN             ADAME                   TX           90014658339
22897A4814B588   JENNIFER         SWANSON                 OK           90009220481
22897A89191541   JALYIN           GONZALEZ                TX           90013930891
2289B42369794B   BRANDON          WATSON                  TX           90013964236
228B1962591241   JONATHAN KIZZY   MEWBORN                 GA           90011209625
228B371749189B   GLADYS           GASTELUM                OK           21061217174
228B7334687B87   JYLIA            SPENCER                 AR           90010303346
228B878425715B   KAREN            MCKEON                  VA           90010727842
228B88A1685938   JAROD            BRADEN                  KY           90013618016
228B8962591241   JONATHAN KIZZY   MEWBORN                 GA           90011209625
228BB32198B168   GRISEL           LOPEZ                   UT           90004073219
2291237422B27B   BENNEILLA        WILLIS                  DC           90012163742
22914423172B84   FRANK            TREVINO                 CO           90013114231
229161A854B281   ALLEN            WALTER                  NE           90000851085
2291649354795B   CHANTHA          PHORIMAVONG             AR           90011174935
2291B3A8487B87   PAYGO            IVR ACTIVATION          AR           90013143084
229216A415B571   KRYSTAL          YANEZ                   NM           90012876041
22922592987B87   LATONYA          JENKINS                 AR           90009465929
22922A39A31631   RYAN             LANDWEHR                KS           90014650390
2292585784795B   ALMA             SOLTERO                 AR           90012378578
229269A6872B88   TIM              JACOBS                  CO           90005339068
22927711872B84   JESSE            LAUVER                  CO           90012067118
229278A499155B   KELLY            GALINDO                 TX           90012818049
22927A91772B42   JOSEPH           BADER                   CO           90013750917
2292B9A2391541   LIZA             MITCHELL                NM           90011359023
2293134275715B   CELIA            RIVERA                  VA           90012663427
2293167994795B   FRANCISCO        PACHECO                 AR           90010716799
2293324385B232   JEREMY           KEEN                    KY           90009242438
2293613A281661   KAT              ALEMAN                  MO           90011411302
22939A48947952   RICHARD          MARTING                 AR           90011740489
2293B823A47952   ALLEN            GOSS                    AR           90011738230
2293BA87747952   VANESEA          MALONE                  AR           90013230877
2294366259155B   ROBERT           SMITH                   TX           90013416625
2294469A45715B   ELISA            GOMEZ                   VA           90013626904
2294528665B161   MAURICE          SPENCER                 AR           90013182866
2294575582B27B   JOEL             BERNARD                 DC           81027877558
2294642139794B   JAVIER           GARCIA                  TX           90014994213
22947183A4B588   JOSE             AVILA                   OK           90012951830
22947813A5715B   DRINA            LOPEZ                   VA           90013868130
2294978247B471   KEVLIN           HAGERTY                 NC           90013047824
2294B68759794B   TOBIA            WASHINGTON              TX           90010396875
2295183395715B   ARACELYS         FUENTES                 VA           90013618339
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22953A8829189B   MICHEAL        GRAY                     OK           90010270882
22956568A91828   CHELSEA        WARD                     OK           21017995680
2295881484B551   ISRAEL         VARGAS                   OK           90011658148
2295942665B161   KAELA          AVALOS                   AR           90013324266
229619A2831631   SARAH          BOHNERT                  KS           90011449028
22965213672B88   HELEN          TORRES                   CO           90012902136
2296728867B449   ROSA           MADRID                   NC           90013622886
2296837479184B   TAMARA         HORNE                    OK           21039613747
22971A1879189B   SHANON         STRAIN                   OK           21004090187
22974262172B84   RON            HILL                     CO           90000402621
22976A22425138   SHERMIKA       STALLWORTH               AL           90014680224
2297869489184B   LAUREN         CLAIRMONT                OK           90013816948
22979366272B98   JUSTIN         TAFOYA                   CO           90005713662
2297942285715B   GLADIS         HERNANDEZ                VA           90012414228
22979628672B98   JUSTIN         TAFOYA                   CO           90012706286
229799A7155957   JENNIFER       BARRIOS                  CA           90012039071
22979A5655B531   AUDREE         HUNT                     NM           90006670565
2297B657555957   ROBERT         GONZALES                 CA           48081686575
22984123272B88   MARIA C.       FERNANDEZ                CO           33056091232
2298555A55B271   SHAWNNA        MARTIN                   KY           90012245505
2298584634B261   ANTONIO        CONEJO                   NE           90012418463
2298593189794B   KIMBERLY       MAY                      TX           90013179318
22985958A72B42   AMBER          BURNETT                  CO           33090529580
2298617534B588   THOMAS         WILLIAMS                 OK           90009601753
22986284972B88   VERONICA       ESTRELLA                 CO           90013752849
2298686619196B   MOUSTAPHA      NIANG                    NC           90000278661
2298748179794B   YASMAINE       THOMAS                   TX           90011334817
2298818A29794B   ALBERTO        RIOS                     TX           90010801802
2298B144A5715B   LILIAN         SAMAI                    VA           90002561440
2298B1A6272B88   BLANCA         JURADO                   CO           90000761062
2298B733872B88   SHARON         SOLOMON                  CO           90013077338
2298BA5665B271   DORATHY        NOE                      KY           90011350566
22991223A87B59   LARISA         JEFFERSON                AR           90014802230
2299145865B232   BIJAY          GURUNG                   KY           90013984586
22991531972B84   KIMBERLY       GUERRA                   CO           90012715319
2299684954B261   TAYLOR         LYNN                     NE           90007788495
22997449487B59   ARTHUR         HUGGINS                  AR           90014804494
2299845A65B232   KOLD           BLAKK                    KY           90008604506
2299B421485938   FRANCIE        CLAY                     KY           90014784214
229B1421485938   FRANCIE        CLAY                     KY           90014784214
229B2328487B59   LAGRICE        JACKSON                  AR           90012903284
229B6157136146   ELVA           YBARRA                   TX           73599061571
229B772374B281   THOMAS         BENKIS                   NE           90007387237
229B972A187B59   STEVIE         TURNER                   AR           23066907201
229BB796772B84   REBECCA        ARELLANO                 CO           90011247967
229BBA77385938   BRENDA         BONDS                    KY           90013290773
22B1188475B232   KIRKWOOD       ELDRIDGE                 KY           90013858847
22B1468685B161   POTONDRA       CARRUTH                  AR           90013186868
22B15A2375B161   TAMICA         BUTLER                   AR           90014780237
22B18245587B59   MOESHA         FREEMAN                  AR           90014862455
22B186A3691251   JIM            SIMMONS                  GA           90012426036
22B1884614B281   LILLIE         THOMPKINS                NE           90003168461
22B19158747952   CATRINA        DOWDY-NICHOLS            AR           90011241587
22B1925877B471   SHARMINE       BARNETTE                 NC           90005022587
22B19773385938   KAITLYN        BECKHAM                  KY           90014617733
22B1B77A17B449   LATASHIA       CARSWELL                 NC           90014757701
22B2362279189B   JEROD          VANN                     OK           90013866227
22B2362859794B   YUKI           ITO                      TX           90014336285
22B2758395B571   JAMES          LEE                      NM           90014645839
22B2815365B161   SHARHONDA      ELLIS                    AR           90014511536
22B28996785938   BILLY          JOHNSON                  KY           90014619967
22B29A96181661   CRYSTAL        GUTHRIE                  MO           90014690961
22B2B784A5B161   STACY          ARMOND                   AR           90005207840
22B31572A5B571   SONIA          VALDEZ                   NM           35089705720
22B31729491522   LARRY          HUERTA                   TX           90012547294
22B33158747952   CATRINA        DOWDY-NICHOLS            AR           90011241587
22B3421355B271   NATALIE        BAIN                     KY           90011102135
22B34859A55957   JUAN           GOMEZ                    CA           90014638590
22B36491684364   DANIELA        PINTO                    SC           90009644916
22B37527781637   LEBRTE         HALWAY                   MO           90011775277
22B38382131631   JACOB          HILL                     KS           90014213821
22B38814A91828   KAYLEY         WILLIAMS                 OK           90011448140
22B4118219184B   MOISES         LOPEZ                    OK           90012971821
22B4121119136B   BRET           JOHNSON                  KS           90014372111
22B41842955957   CHANTILLEY     LEWIS                    CA           90009278429
22B4281335B167   MARY           CARTER                   AR           90015108133
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22B43656191528   LETICIA        ROMO                     TX           75028976561
22B438A815B271   TIARA          AUSTIN                   KY           90014508081
22B43A43485938   REBECCA        MCLAWHORN                KY           90013440434
22B4425985B271   FIFTY          CENT                     KY           90013182598
22B45472391241   LORENZO        GADSON                   GA           90013944723
22B4624824B588   TONYA          LONGO                    OK           90011002482
22B466A6A91251   JOSEPH         GAINES                   GA           90013786060
22B4942654795B   SAMANTHA       HANKS                    AR           90010964265
22B4987695B161   MAKKAH         MITCHELL                 AR           23001158769
22B4B74284B261   MEGAN          COLLINS                  IA           90012517428
22B511A624B261   LAURA          TIMBERLAKE               NE           90009811062
22B512AA631453   ARTHUR         JACKSON                  MO           90011122006
22B5175867249B   DAVID          COOK                     PA           90010577586
22B5918934B588   SERGIO         MALDONADO                OK           90013791893
22B59772191522   DENISSE        CASA                     TX           90012567721
22B5B624191251   JOZAIRA        WYATT                    GA           90014106241
22B62362331453   CHRIS          IVY                      MO           90011403623
22B63363285938   SEBASTIAN      MORALES                  KY           90012903632
22B6436657B471   ALDRIAN        WILLIAMS                 NC           90013363665
22B6443A45715B   TYWANNA        BURKE                    VA           90006994304
22B6691664B281   KATRINA        HELM                     NE           90007499166
22B66943172B88   THOMAS         ANDERSON                 CO           90013919431
22B68572887B87   FREDDIE        WILLIAMS                 AR           90012265728
22B68A9179136B   GABRIELA       REYES                    MO           29006410917
22B71A2A191541   EDUARDO        DIAZ                     TX           90012770201
22B723A5472B88   ISIS           TEHUTI                   CO           90014673054
22B7323289136B   DERION         BROOKS                   KS           90013962328
22B73451A91251   BIANCA         TAYLOR-BELL              GA           90013164510
22B73A1939794B   JOHNNY         MARTINEZ                 TX           90014950193
22B76794987B59   KENNETH        CUNNINGHAM               AR           90010657949
22B7744857249B   MICHAEL        BERK                     PA           90012224485
22B77743381661   MARK           KINCADE                  MO           90012647433
22B77778231453   IESHA          PRICE                    MO           90010967782
22B78144231631   DAVID          ALCORN                   KS           90004121442
22B7B619372B84   BRANDY         VIGIL                    CO           90013716193
22B8145142B27B   THIERRY        SILEU KAMENI             DC           90009724514
22B817A367249B   JAMES L        DAVIDSON                 PA           90012577036
22B82286191522   ELIZABETH      GONZALEZ                 TX           75098082861
22B8264235715B   ROLANDO        OLIVERA                  VA           90014176423
22B8429A791251   KEYANNA        COOK                     GA           90014882907
22B85635A91828   RAMONDICA      BRYANT                   OK           90013826350
22B8597827B471   FARAH          ULYSSE                   NC           90000579782
22B91AA177B423   CEDRIC         ARCHIE                   NC           90013020017
22B9283659136B   SASHANA        MALARVE                  KS           90014788365
22B9647835715B   WILFREDO       MIRANDA                  VA           90011864783
22B9757922B931   SHAMIRAN       BENNER                   CA           90001865792
22B97694763621   JENNIFER       O MALLEY                 MO           90007736947
22B992A7672B42   JAMES          FAMBER JR                CO           90010872076
22B9942A887B59   SURENA         CROOM                    AR           90014094208
22BB2257691541   SANDRA         VERDIER                  TX           90009272576
22BB23A2791522   JOSEFINA       CONTRERAS                TX           75088473027
22BB248225B271   JENNIFER       WINDELL                  KY           90013264822
22BB2965755957   MARISSA        MARCYES                  CA           90010979657
22BB369525715B   KELLY          PETERSON                 VA           90014666952
22BB381149155B   VALERIE        LOPEZ                    TX           90011698114
22BB396225B167   MARY ANN       FISCHER                  AR           90013829622
22BB6528291241   SANDRA         LIPSEY                   GA           14594095282
22BB745449189B   DONNETTE       BATES                    OK           90011464544
22BBB66A29184B   CRISTOBAL      PEREZ                    OK           90007596602
2311182159794B   ANEBRINIEY     THOMAS                   TX           90012458215
2311247925B167   DEBORAH        RILEY                    AR           90007954792
23114A3825B161   ADRINA         ROSEBY                   AR           90013880382
2311633855B531   CAROL          BENCOMO                  NM           90009293385
23122313A4B261   JUAN           MATIAS                   NE           90013593130
23122435A55957   ALEJANDRA      ACOSTA                   CA           90011524350
23125A55672B32   TOMAS          AMADOR                   CO           33036800556
231291A489136B   CRISTINA       PAEZ                     KS           90012231048
23129794A87B59   TIMOTHY        MIXON                    AR           23015967940
2312B15A791828   LEONARDO       MARTINEZ                 OK           90000991507
2313624949189B   TERESO         ESPARAZA-DURAN           OK           90013722494
2313776254B588   HEATHER        EVANS                    OK           90010327625
2313827975B232   NORRIS         HALEY .SR                KY           68042762797
231392A454B261   SARAH          SALADO                   NE           90011032045
2313989989794B   ANTHONY        CASTRO                   TX           90015218998
2313B657372B88   AURORA         BAEZA                    CO           90013106573
2313B82A67B449   REE            PURRIS                   NC           90011078206
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23141162172B88   SHAWN          SHELLS                   CO           90005201621
2314376A547952   FRANCES        LONDON                   AR           90012357605
23143A23391528   SYLVIA         RESENDEZ                 TX           90006760233
23144421772B88   VAI            MARTINEZ                 CO           90012874217
2314811562B27B   KATRINA        GHEE                     DC           90009771156
23151713A4B52B   DESIREE        REYNOLDS                 OK           21532187130
23154A7A231631   JOHN           WILLIAMS                 KS           90010670702
231579A2741245   DARYL          HAYDEN                   PA           90014159027
2315885664B261   JOSE           LEDESMA                  NE           90007828566
23165372372B88   JOSE           SALAZAR                  CO           33067613723
2316571824B588   DARLISHA       WARE                     OK           90011517182
2316992835B232   HECTOR         GARCIA                   KY           90005169283
2316B36288594B   TOMMY          HAMM                     KY           90000443628
2317322A155935   MIGUEL         GARCIA                   CA           90010462201
23173427272B42   ROBERT         PEALS                    CO           90012584272
2317496839136B   SANJUANITA     GARCIA-DE RIOS           KS           90012749683
23174A7A65B161   JAMES          ROBINSON                 AR           90013720706
2317672A691541   DIANA          VELASQUEZ                TX           90009727206
2317863615B531   RUSKIN         IPTISAM                  NM           35090416361
2317B24A69184B   DEBORAH        GIST                     OK           90013592406
2318273219184B   PAUL           MEIER                    OK           90012757321
23182A8139184B   DEANJLO        DOYLE                    OK           90010330813
2318431759184B   SAMANTHA       HINKLE                   OK           90014653175
23187854272B32   BRANDON        DUNN                     CO           90011118542
23187A71391241   ELLIOT         MIMS                     GA           90011020713
2318B48662B232   SEAN           BENTON                   DC           81057854866
2319185194B588   COLYN          CADE                     OK           90015098519
2319428279794B   CARMEN         IBARRA                   TX           90012272827
2319725527B471   NAKEISHA       MILLER                   NC           90011082552
23197716772B42   ERIC           KNUTSON                  CO           90013457167
231B14A1372447   RICHARD        SIMMONS                  PA           90013634013
231B1A3A672B88   LISA           ROMERO                   CO           90012780306
231B442119794B   GUSTAVO        RIVERA                   TX           90015324211
231B527454B588   ARMANDO        GONZALAS                 OK           90011862745
231B65AA44B281   MARIBEL        OCANA MORALES            NE           90008385004
231B813359794B   CHRISTAL       TOLIVER                  TX           90005501335
231B832A855957   CARRIE         BARRIOS                  CA           90014283208
231B9516891541   RAUL           CORONEL                  TX           90014725168
231B9662191528   ELOISA         HOLGUIN                  TX           75093196621
231BB25A88594B   NATASHA        CUNNINGHAM               KY           90004402508
231BBA5915B161   LEWIS          PARNELL                  AR           90015320591
23211956A5B232   RICHARD        BOTHWELL                 KY           90014179560
2321595845B232   CHRIS          BARROW                   KY           90014179584
2321668532B931   GERARDO        ORTIZ                    CA           90013396853
2321977555B571   COLLEEN        HEAD                     NM           90011077755
23221778A9794B   EDUARDO        TOJ                      TX           90010827780
23221AA252B931   CLAUDIA        RODRIGUEZ                CA           90014340025
2322433144B588   DANIEL         WHARTON                  OK           90014453314
23226A5139136B   JESSICA        SIEVERIN                 KS           90011010513
2322911772B27B   KAREN          ROBINSON                 DC           90011501177
2322B6A2972447   NIKITA         KEMP                     PA           90010706029
2323411AA9155B   ALEXIS         GONZALEZ                 TX           90010211100
232345A689189B   ANA            GARCIA                   OK           90014245068
23235A7687B471   TAJA           CARTER                   NC           90014180768
2323878A55B571   JULIE          MITCHELL                 NM           90008487805
2323889179794B   MICHAEL        TREVINO                  TX           90013928917
2323B39A35B167   BETTY          JOHNSON                  AR           90007743903
2323B726147952   SHAUNA         BROOKS                   AR           24090347261
2324192415B161   MARQUIS        TATUM                    AR           90010039241
2324227727B449   DEBORAH        RIVERA                   NC           90012582772
23244782A36165   KRISTEN        HERRING                  TX           90011077820
2324519755B147   EMILY          EDWARDS                  AR           90013301975
2324BA1555B232   KIMBERLY       SMALLS                   KY           68043400155
2324BA1637B449   MICHAEL        BANKS                    NC           90012960163
2325144A131631   MAGAN          GALLEHER                 KS           90011864401
23252287672B88   DAVID          CABRAL                   CO           33057252876
23254597A91541   MICHAEL        ARIAS                    TX           90012255970
2325463795B161   ELLIS          JACKSON                  AR           90011166379
2325468999794B   ANNA           PEREZ                    TX           90001896899
2325581AA4B588   BECKY          DEMERS                   OK           90013558100
23256AA449136B   CHARLY         MORENO                   KS           90011440044
2325764267B449   ANGEL          HOWARD                   NC           90009066426
2325781AA4B588   BECKY          DEMERS                   OK           90013558100
2325998549189B   DEJAYN         BROWN                    OK           90011309854
23263782A76B4B   ABEL           GONZALEZ                 CA           90004147820
23263A1575B232   AMANDA         ELLENBURG                KY           90014180157
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2326762575B271   CHRISTINA      HUTCHINSON               KY           90012896257
2326B224255957   ERICA          LOPEZ                    CA           90006092242
2326B937191241   JOSEPH         PRINCE                   GA           90011219371
2327135919184B   MICHAEL        CREWS                    OK           21083423591
232716A9372B88   RAFAEL         LAMADRID                 CO           90011806093
2327327A672447   DANIEL         ALCORN                   PA           90010622706
23281A6A972B32   CRISELDA       ESCALANTE VARELA         CO           33067240609
2328278989184B   KENDALL        ROSS                     OK           90015217898
2328336825715B   JORGE          SANCHEZ                  VA           81072273682
2328377539794B   NICOLE         ANDERSON                 TX           90013057753
2328886227B449   WHITNEY        GILLIAM                  NC           90014928622
2328B43649155B   GONZALES       THOMAS                   TX           90010734364
2328B83184B261   HENRY          ALVAREZ                  NE           90012628318
23295AAA54795B   JENNIFER       MOORE                    AR           25006420005
2329691644B588   ALBERTA        KENDRICKS                OK           90013379164
23299857572B32   JOSTIN         HALL                     CO           90013298575
232B349289184B   SUNNY          SCHONHOLTZ               OK           90014534928
232B37A429189B   ANGELA         MOON                     OK           90010197042
232B4118472B88   ANDREA         SANDOVAL                 CO           90014791184
232B464A941245   BRITTANY       DEMBOWSKI                PA           90011066409
232B615A455989   MARQUEETA      SHELTON                  CA           90008391504
232B655324795B   JERIONG        LUTHA                    AR           90008855532
232B681124795B   JERIONG        LUTHA                    AR           90014058112
232B687954B588   ELVIRA         VALERO                   OK           90014138795
232B844A64B261   SHELBY         YOUNG                    NE           27075514406
232B935379794B   ANTHONY        TURNER                   TX           90009303537
232BBA5464B261   TONY           TOWLES                   NE           27069810546
232BBA9A572B88   MORGAN         HEFTY                    CO           33054530905
2331211A27B449   JOSHUA         BELLAMY                  NC           90013741102
2331281869184B   DUSTIN         FARRIS                   OK           21092008186
2331357479189B   HENRY          SPEARS                   OK           21004255747
23314A5756B931   JASON          MORRIS                   NJ           90013980575
233172A179189B   MELANIE        WEST                     OK           90012032017
2331743A472B32   ANDREW         KELMIOFF                 CO           90011514304
2331933645B161   MONTA          ROBERTS                  AR           90014173364
2331996172B931   MIKE           HINRICHS                 CA           90014859617
2332254662B931   LOIS           RODRIGUEZ                CA           90014505466
23322A6944B261   RAFAEL         RUIZ                     NE           90013370694
2332326A491522   ANTHONY        ROJAS                    TX           90009122604
2332579A64B281   MISTY          PHILLIPS                 NE           90008387906
2332B64365B232   CATHERINE      BELLER                   KY           90011616436
2333237989136B   CARLOS         GUERRERA                 KS           90014853798
2333294A87B449   NELSON         OMAR                     NC           90011129408
2333342469155B   GUILLERMIN     ORTEGA                   TX           75023834246
2333788A831453   ROBIN          LESUEUR                  MO           90013838808
2333886969794B   CHRISTIAN      GARCIA                   TX           90012838696
2333916589794B   BONNESHIA      JACKSON                  TX           90011351658
2333B19454795B   BENITA         ANDERSON                 AR           90009361945
2334115874B588   MATTHEW        EMMERT                   OK           90014631587
23341326972B42   SUSAN          MONTEMAYOR               CO           90013743269
23341A62A72B42   SUSAN          MONTEMAYOR               CO           33090500620
2334587655B232   ANTHONY        JEWELL                   KY           90010788765
23347178197B69   RICHARD        BUSH                     CO           90002271781
2334785957B449   QUIANA         RICHIE                   NC           90010308595
2334865669189B   PRINCE         MEGGS                    OK           90012036566
2334917159155B   FRANK          DE LA CRUZ               TX           90011571715
2334B93A89184B   CHRISTIAN      PAZ                      OK           90012679308
2334B9A557B471   JOHN           WERENY                   NC           90010999055
233519AAA55957   VICTOR         LOPEZ                    CA           90014619000
2335473A79189B   LINDA          WARLEDO                  OK           90006617307
2335575859184B   ARIANA         MARINA                   OK           90011027585
2335B472791541   JUAN MARTIN    GONZALEZ                 TX           90013114727
2335B629231453   EDWARD         SPRATT                   MO           90012906292
2335B888972B88   SANDY          IXCHOP                   CO           90010028889
2335BA38172447   SAMANTHA       HOOVER                   PA           51083110381
2337133427B449   GREGORIO       NUNES JR                 NC           90011093342
2337312664B588   BRITNEY        SMITH                    OK           90013601266
23376A4369794B   NATASIA        AUSTON                   TX           90014640436
2337739659136B   BRANDON        CALVERT                  KS           90011013965
2337812717B449   DAMEKA         JOHNSON                  NC           90009171271
2338225885B271   JANET          POWELL                   KY           90013872588
23383718872B42   LAURA          GONZALEZ                 CO           90005227188
2338548799155B   CHRIS          SUBIA                    TX           75045874879
2338563299189B   SHAINA         JONES                    OK           90006226329
233899AA991541   JEREMY         WEBB                     TX           90002359009
2338B951831631   ANNE           CHANDLER                 KS           22092069518
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2339177954B588   KENNETH        GABLE                    OK           90012667795
2339182435B161   JAMES          THOMPSON                 AR           90014738243
2339354325715B   RONAL          PEREZ                    VA           81080435432
23393569A41245   REBECCA        HYSONG                   PA           90011695690
2339487985B232   GREGORY        GRAHAM                   KY           90013708798
233967A7793773   NICOLE         MCINTOSH                 OH           64593167077
2339945627B449   LV             HINES                    NC           90014354562
233B1359A51343   GRACIE         DUNCAN                   OH           90004313590
233B179319155B   CRISTINA       CORONADO                 TX           90009877931
233B2531A7B449   JOSE VICTOR    GUZMAN MARTINEZ          NC           90012155310
233B359664B281   ERICKA         RUBIALES                 NE           90013945966
233B437779136B   RUBEN          ORELLANO                 MO           90012193777
233B459475B167   TERRIKA        EDWARDS                  AR           90005775947
233B496712B931   JOSE           CORNEJO                  CA           90014419671
233B5736255957   CORINA         MARTINEZ                 CA           90009337362
233B5925691522   JOSEPH         VELAZQUEZ                TX           90007789256
233B959794B281   DIANE          NUNEZ                    NE           90013945979
233B977249794B   DULCE          ROBLEDO                  TX           90007707724
233BBA8614B281   JEAN BAPTI     MAWAWA                   NE           90014170861
2341144384B281   BECKY          MERCHEN                  NE           90015134438
2341198564B588   JEREMY         JOHNSON                  OK           90013009856
234123AAA4B588   DANESHA        PONDER                   OK           90013613000
2341334749184B   MARTIN         SOMERVILLE               OK           21033313474
2341845627B449   LV             HINES                    NC           90014354562
23419A4A39794B   VICTOR         TOJ                      TX           90013670403
2341B38A74B588   MAURA          CLARKE                   OK           21589563807
2342118624B588   RODRIGO        GILES                    OK           90013601862
234214A634B261   LATASHA        OLIVER                   NE           27007054063
2342187699794B   NICOLE         LASTER                   TX           90015168769
2342262754B281   NELSON         MEJIA ORELLANA           NE           90013946275
23426357472B88   JOEL           CORCHADO JIMENEZ         CO           90011663574
2342789944B281   CHEYENNE       HARPESTER                NE           90003758994
2343259155B271   DESHAWN        TOOGOOD                  KY           90010975915
23436134A72447   JAIME          SMITH                    PA           90012651340
23445A2584B588   PETRA          LOZANO                   OK           90013780258
23448588772B42   KENNETH        TAYLOR                   CO           90013065887
2344B92229155B   EDUARDO        GARCIA                   TX           90001929222
2345158495B271   GAYNELL        HARRIS                   KY           90014135849
2345676614B281   JEAN           NORDSTROM                NE           90013987661
2345727129794B   SANDY          IRVINE                   TX           90013502712
23458899A51369   JAMES          JONES II                 OH           66011298990
234629A339189B   JOYCE          CHARTIN                  OK           90012269033
2346572A94B281   MINERVA        GARCIA                   NE           90013947209
2346578712B931   KARA           MALDONADO                CA           90009867871
234677A1441245   RAYMONDA       SWELL                    PA           90014167014
23469245A5B161   LASHAWNA       WILSON                   AR           90010762450
2346934749184B   MARTIN         SOMERVILLE               OK           21033313474
2346962735B161   JAMES          PRITCHETT                AR           90013856273
23469A13172B42   ALEXANDER      KOEHLER JR               CO           90010770131
2346B4A8172B88   MELISSA        GIEBENRATH               CO           90013934081
2346B53665B571   ARIADNE        MONTIEL                  NM           90009025366
2346B85199184B   JORGE          PEREZ                    OK           90008718519
2347135545B571   CHRISTOPHER    BECK                     NM           90010413554
23474A6944B281   RAFAEL         RUIZ                     NE           90013370694
23476A1479155B   MARIBEL        GUERRERO                 TX           90001080147
23479322572B42   CHET           NULES                    CO           90010183225
234827A8A57172   HECTOR         FLORES                   VA           90009917080
2348281679794B   JOSE           ARRIAGA MERCED           TX           90011358167
23484726672B32   MICHAEL        JACKSON                  CO           90009937266
23485772572B32   ASDRIEL        BAUTISTA                 CO           33087087725
2348818669189B   KRISTINA       GRISMORE                 OK           90001611866
2348849272B931   PAULINA        AYALA                    CA           90009814927
2348B581872B88   MARY           WALKER                   CO           90011395818
2348B72965B271   SHAWN          ZOLECKI                  KY           90012947296
2348B746172B42   TYRONE         SABALA                   CO           90010917461
23492A25541245   MARSHA         OSBORNE                  PA           90014160255
23494644A72B42   MENGESHA       TIRUNEH                  CO           90013046440
2349478619136B   SANDRA         KNIGHT                   KS           90012287861
2349495A74795B   DANA           HINKLE                   AR           90011059507
23497633272B42   JOSHUA         FLETCHER                 CO           90010376332
2349926A39794B   MICAH          PULLEN                   TX           90010502603
2349BA45A7B471   JOAQUIN        BONILLA                  NC           90010820450
234B132254B588   JOLAN          AUSTIN                   OK           90011743225
234B1A9557B449   TIMARKUS       CORNWELL                 NC           90013060955
234B341475B167   KOBA           HIKMAT                   AR           90007964147
234B359A755957   VERA           MEDINA REYNA             CA           48043795907
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234B5489A4B281   MICHAEL         EISELE                   NE           27058084890
234B756615B531   CARLOS          GARZA                    NM           35041055661
234B834957B449   PANCHO          ROSAS                    NC           90015013495
234B8965A41245   TATUM           TATUM                    PA           90012329650
234B953255B571   YVONNE          JARAMILLO                NM           35079315325
234B99AA691522   SOFIA           CARREON                  TX           90007369006
2351321569794B   CHRISLEITH      DEROUEN                  TX           90012612156
2351425282B931   DALIA           YOUASH                   CA           45074762528
2351526154B281   LEOPOLDO        ROSALES CAZARES          NE           90012562615
2351565734B281   VANESSA         MILLER                   NE           90008676573
2351B422881661   TASHA           SMITH                    MO           90010964228
23521A8295B232   MARQUITA        TOBIN                    KY           68004280829
23523458372B88   LORETTA         DE HERK                  CO           90007444583
23524142A5B232   RYAN            MANNING                  KY           68038411420
2352497A65B271   COURNEY         CHAPMAN                  KY           90014609706
2352842655B232   CLYDE           FEREBEE                  KY           90009464265
2352852584B588   STEPHANIE       MARTIN                   OK           90007605258
2352885199794B   ANTONIO         GUACHIAC                 TX           90014248519
2352B867255957   LOUIS           RAMIREZ                  CA           48064728672
235311A1372447   LORI            WELTY                    PA           90013041013
2353284675B571   JUAN            CHAVEZ                   NM           35018598467
2353341435B232   ROBERT          BROOKS                   KY           90014184143
2353464A95B271   MICHAEL         PARKS                    KY           90001786409
2353681825B271   BRIAN           POWERS                   KY           90012718182
235372A659155B   NANCY           RIVERA                   TX           90011572065
23537A18431453   MAGGIE          DELTON                   MO           90010850184
23539A5A72B931   ANGEL           FRISCH                   CA           90014550507
2353B246A55957   LATOYA          MAXWELL                  CA           90013882460
235411A9241245   CODY            LIGGETT                  PA           90014161092
2354344579155B   ANGELA          VILLEGAS                 TX           90011094457
23544A18A72B42   VALERIE         MEASTAS                  CO           33082230180
2354789A29136B   BILLIE          TORRES                   KS           29067918902
2354924789184B   STEPHANIE       DUCKETT                  OK           90013412478
23551A1589794B   AMINTA          RODRIGUEZ                TX           74035990158
23552238A4B588   JESUS           HERNANDIZ                OK           90011752380
2355415259794B   JONATHAN        WEBB                     TX           90015041525
2355537365B271   VICKIE          WATSON                   KY           90007113736
2355748795B271   CARMEN          TAYLOE                   KY           90010984879
2355828544795B   CHRISTIAN       HUMPHREY                 AR           90010512854
23558A9AA91522   ESMERALDA       MARTINEZ                 TX           90003660900
235597A852B27B   JOSE            SAAVEDRA                 DC           90010277085
2355B145291541   JOSE            LOZANO                   TX           75051981452
23562A4245B161   GREGORY         BUTLER                   AR           90014680424
2356377647B449   KEVIN           LINDON                   NC           90014197764
2356482585B167   JENNIFER        SANCHEZ                  AR           90002738258
2356484824B588   FELIX           WILLIX                   OK           90013928482
23565A8145B244   IVORIE          POINTER                  KY           90004490814
2356666A35B271   ALLEN           KENNEY                   KY           90012986603
2356718397B449   DESIRE          DANAN                    NC           90006261839
235696A8784341   MICHAEL         CUNNINGHAM               SC           90012866087
23569A1524B281   CRYSTAL         WISE                     NE           90007320152
23573183672B32   SHERI           NELSON                   CO           90011521836
2357937A872447   NICHOLAS        CLARK                    PA           90013673708
2357972284B281   ROBERT          MEYERS                   IA           90012637228
2357B37797B449   MIKE            GOPAL                    NC           90014003779
2357B79A34B261   BEN             BANDANZA                 NE           27060907903
2358348879794B   CHRISTINA       RODRIGUEZ                TX           90004364887
235835A6A5B232   CHARITY         DONAHUE                  KY           90014185060
23584417972B88   CORREY          LONGSINE                 CO           90011664179
2358897659155B   YURY            TRUJILLO                 TX           90004259765
2358B99A15B232   BRETT           ADKINS                   KY           90010789901
23591567A91528   MARIA           ALVARADO                 TX           90005955670
23591A3377B449   ALEJANDRA       RODRIGUEZ                NC           90011740337
2359371379794B   RAUL            PINEDA                   TX           90011367137
2359493A891541   JESSICA         GUEVARA                  TX           90010899308
2359831619155B   OLGA            KING                     TX           90015223161
2359832982B542   LAMIA           REEDY                    AL           90014873298
2359BA6A297173   MARISELA        MORALES                  OR           90012240602
235B2769A41245   MICHAEL         KNIGHT                   PA           90012047690
235B293839155B   ROSA            MONTEJANO                TX           90004259383
235B6163691542   ROBERT          MURPY                    TX           90004511636
235B6711A55957   OWSMEL          DELEON                   CA           90013217110
235B681869189B   DAVID           KING                     OK           90006868186
235B8A53741245   JOHN            PORTOGALLO               PA           90014160537
235B8A7A591522   ISAAC           VILLARREAL               TX           90003660705
235B9636291541   DIANA           MONTES                   TX           90014176362
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235B9847272B32   DOUGLAS          THOMAS                 CO           90013918472
235BB872572447   BETTY            ALLEN                  PA           51032358725
235BBA78433126   KARLA            HERNANDEZ              MO           90012520784
2361133476B931   ALEXANDRIA       MORANO                 NJ           90014203347
23614188172B32   JUAN             RODRIGUEZ              CO           90001891881
2361643494B588   FRANCISCO        VARELA                 OK           90011754349
2361716175B271   JUWANA           JONES                  KY           90009171617
2362169155B232   LAJEWELL         GUEST                  KY           90014186915
2362266A487B59   BRITTANY         ROMES                  AR           23095386604
2362397819155B   VICTOR           PEREZ                  TX           90004259781
2362442849184B   HEATHER          MARTIN                 OK           90009574284
23626A37772B32   JUSTIN           SANDERS                CO           90005180377
2362944129189B   TED              MANORE                 OK           90009834412
2362B25735B531   JUDY             MARTINEZ               NM           90005292573
2363144535B232   KENDRA           HAMPTON                KY           90010954453
23632A2AA5715B   PARRISH          WILLIAM                VA           90005180200
236358A6772B88   AMANDA           STICKLEY               CO           90009268067
23636124A91528   NOEMI            LOPEZ                  TX           90002191240
2363B371372B88   MARIA            NEVAREZ                CO           90013683713
2364588559794B   ESTHER           AGUILAR                TX           90014198855
23646A7AA5B271   SHAWN            ABEL                   KY           90004160700
2364936945B167   DENISE           SIMPSON                AR           23034723694
2364998A14B261   MARISSA          MURRY                  NE           90013739801
2365465529189B   EMILY            LANFORD                OK           90014126552
2365495255B571   OLIVIA           THOMPSON               NM           90011079525
23656A71372B88   STEVE            GRIMES                 CO           90014660713
23659A54581661   RAYMOND          RANSBURG               MO           90004260545
23662A59341245   GABRIELLA        KIPANGA                PA           90012080593
23663945772B42   DANIEL           HOLMES                 CO           90004289457
2366423652B27B   JERRY            JORDAN                 DC           90012442365
2366455565B232   JANIE            MARTIN                 KY           90008845556
2366677869794B   TANYA            ALBRECHT               TX           90011217786
2366883344B588   JASON            BLEVINS                OK           21556268334
236693A4151369   KRISTEN          WARREN                 OH           90003233041
2367266A94B261   ARACELI          LAGUNAS                NE           90005126609
23672963172B42   JACKIE           MARTINEZ               CO           90011399631
23672A99772447   GABRIEL          WILSON                 PA           90010020997
2367391897B449   DONNELL          GARDNER                NC           11007619189
23674735472B32   JOSE             SIERRA BARRON          CO           33019207354
2367647345B536   LUIS             MOREJON                NM           90012144734
23679A9959189B   JOSE             MARTINEZ               OK           90013860995
2367B45435715B   ELSA             ESTRADA                VA           90007114543
2367B669691541   ESTELA           GARCIA                 TX           90011626696
2367BA84187B59   SHENNETTA        MILLER                 AR           23088030841
2368189A17B471   RENEA            BECKWORTH              NC           90014788901
23682373372B88   FELIPE           LOPEZ                  CO           90013683733
23682589A5B161   ARTHUR           WAITS                  AR           90013555890
23682798A4B281   ADAM             KELLY                  NE           90013947980
23688A7825715B   ABIKAR           BASHIR                 VA           90003690782
236948A9291241   JAMES            PAYNE                  GA           90007618092
2369877627B471   DASIA            SOWELL                 NC           90007337762
2369B827263669   KELLY            LEWIS                  MO           90009448272
236B1373772447   SCOTT            COFFMAN                PA           90013313737
236B173947B449   WAYNETTA         JOHNSON                NC           90007877394
236B256695B167   NATISA           BAKER                  AR           90002635669
236B398463B351   JOSH             PATRICK                CO           90012449846
236B663485B531   ABIGAIL          RODRIGEZ               NM           90011946348
236B754415715B   JOSE             BRAVO                  VA           81086945441
236B89A9247952   DERA             MCGLUGRITCH            AR           24018369092
236B9496285938   RACHEL           CLARK                  KY           67009964962
236B99A389794B   CYNTHIA          SANCHEZ                TX           90010259038
236BB39119136B   AIDE             BUSTILLOS              KS           90015193911
23712881472B88   MARCOS           ARTEAGA                CO           90012138814
23713911772B31   LOLA             POSTON                 CO           33046759117
2371926147B449   JERMAINE         BOWMAN                 NC           90010402614
2371998584B281   PABLO            TOBAR VERA             NE           90012159858
23721A5A25B271   HALEY            WILLETT                KY           90014780502
2372312399189B   ALEXANDER        TIJUANN                OK           90013861239
23723366872B88   JOSEPH URIOSTE   RACHEL ULIBARRI        CO           90012413668
23723A48155957   AMBER            JONES                  CA           48010050481
2372B1AA572B32   BRANDI           TRIGG                  CO           90014161005
2372B67A54B281   WALTER           MARAVILLA              NE           90008396705
2372BA47872B88   KATHY            SAYLER                 CO           90013590478
2373145849794B   JUAN             RUIZ                   TX           90013764584
2373294A491541   ALAN             CARRILLO               TX           90014629404
2373297545B571   COREY            BINGHAM                NM           90011079754
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2373558189155B   VICENTE        P MURILLO                TX           75008475818
237368A739794B   ESTUARDO       FUENTES                  TX           90011148073
2373885645B161   CHRISTOPHER    SMITH                    AR           90014208564
2373B42359794B   CARLA          SALAZAR                  TX           90009994235
2373B65895B167   LYNN           CORLEY                   AR           23062176589
2373B78119184B   JESSICA        TURNER                   OK           90014227811
23747469972B42   BRIAN          GARCIA                   CO           90010224699
23748368A71924   L              DEAN                     CO           90006843680
2374922277B471   DONALD         WELCOME                  NC           90000522227
23749656A5B161   JAMIE          BEAM                     AR           90011066560
2374B149472B42   RICHARDSON     TORY                     CO           90010831494
23751113172B88   SHONTAI        YEMANE                   CO           90012791131
2375227484B261   KELLY          BEINS                    NE           27083392748
23752953672B32   JOHN           MORRIS                   CO           90011119536
2375476877B471   LISA           IVEY                     NC           90009437687
237557A2685999   TRACY          VASTINE                  KY           66063287026
2376323A772B32   MARIA          RAMIREZ                  CO           90012382307
2376451944B261   ALDO           HERNANDEZ                NE           90011815194
2376658895B271   GREG           MILLER                   KY           90015155889
23766A83872B32   PAUL           PADILLA                  CO           90013780838
237673A9A41245   AARON          JOHNSON                  PA           90014163090
23773A7679136B   EUGENE         HOLLINSHED               KS           90008900767
23777743972B32   DOUG           DIRK                     CO           90004417439
2377B292A4B588   MAURIYA        MAXWELL                  OK           90011462920
2377B36845B161   KATHERINE      VELASCO                  AR           90009893684
2377B647672B32   SEAN           LUGENBEEL                CO           90012226476
2378215A572447   TRENT          OWEN                     PA           90012691505
2378668619136B   DEVAN          WALTERS                  KS           90013506861
2378683314B588   AUTUMN         DAY                      OK           90011428331
23789AA1491828   HAYDEN         ARIZOLA                  OK           90008090014
2378B723391541   GILBETO        MONASTERIO               TX           90014897233
2379147524B281   DUSTIN         COGLEY                   NE           90011634752
2379399769184B   RENA           ROSE                     OK           90008549976
23797A4919189B   OCTAVIO        SERNA                    OK           90008560491
2379B512491828   BOBBIE         HAZELWOOD                OK           90010025124
2379B898472447   JAMES          ODONNELL                 PA           90012578984
237B1911472B88   PERRY          LEDERBRAND               CO           90008779114
237B2147A91541   SHANNON        HARTFIELD                TX           90013221470
237B286277B449   FORREST        KIKER                    NC           90012328627
237B63A199189B   MONICA         MARTINEZ                 OK           90012183019
237B8526491541   SHARON         CHITTUM                  TX           90013655264
237BB66772B27B   JOSEPH         SMITH                    DC           81088036677
2381414329189B   SHAWNA         POE                      OK           90012441432
2381594672B27B   LATISHA        WILIAMS                  DC           90008449467
2381619779184B   JESSICA        TURNER                   OK           90013881977
23817A3A291541   GUADALUPE      ACOSTA                   TX           90011430302
2381969A172B32   AARON          PROCTOR                  CO           90012026901
23823444172B88   KARELY         DELAROSA                 CO           90011784441
23823868487B87   DEMETRIC       WALKER                   AR           90010908684
23824691A91528   SAVANNAH       GONZALEZ                 TX           90005976910
2382555874B588   AARON          HAMILTON                 OK           90011765587
23827794672B42   CECAR          GARCIA                   CO           90012907946
2382957765B531   JAMES          BOWEN                    NM           90006895776
23839146A9189B   MARIA          ORTIZ                    OK           90013861460
23839377A7B471   MATEC          GRAHAM                   NC           90008343770
2383947195B232   SAMANTHA       CRAVENS                  KY           90013754719
23839723872B42   DAVID          AVITIA                   CO           90011387238
2383B57765B531   JAMES          BOWEN                    NM           90006895776
23841383172B42   DANIEL         PARR                     CO           90012253831
2384143264B588   JOSE           REVELES                  OK           90013664326
23842A6859184B   MICHAEL        GAMAGE                   OK           90014940685
2384335365B271   LISA           BLANDFORD                KY           90014223536
2384343644B588   GYANNAH        FLORES                   OK           90013664364
2384462995B531   ERIC           RADOSEVICH               NM           90011696299
2384598643B352   ROBERT         KURVINK                  CO           90007809864
238494A6691828   MARY           BAXLEY                   OK           90011904066
23849984172B32   MARIBEL        GARZA                    CO           90011119841
2384B14184B588   JORGE          MATINEZ                  OK           90014071418
2384B339781661   ALEXANDRA      MARTINEZ                 MO           90004643397
2385188714B281   JAY            COLWELL                  IA           90013388871
23852333A55957   KYLE           APPLEGATE                CA           90014393330
2385528799794B   XOCHITL        DE LA TORRE              TX           90001502879
2385746762B249   PHYLLIS        WOODS                    DC           90009414676
2385966247B471   DAPHENE        MCINTOSH                 NC           90004596624
2386193739794B   ARAZELY        SALAZAR                  TX           90011029373
238645A1A72447   JILLIAN        BRIGGS                   PA           90000365010
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2386646145B531   GUADALUPE       SELMAN                   NM           90011694614
2386811369189B   SARAH           VU                       OK           90013241136
23874AA489155B   REBECA          FRANCO                   TX           90010810048
238777A724B588   TAMILLYA        JOHNSON                  OK           90011767072
2387B361655957   DOMINGO         PENA                     CA           90009553616
2388119879155B   NORA            MOTA                     TX           90009351987
2388148244B281   DALILA          CORDOBA                  NE           90015134824
2388172929136B   ERIN            MAHAN                    KS           90011077292
23881898772B32   SAWSEN          TAHA                     CO           90013018987
2388272314B261   JUAN            URIBE-PENA               NE           27004037231
238833A825B271   MARY            TAYLOR                   KY           90010123082
2388957684B281   TAYLER          LEHN                     NE           90008565768
2389111265B232   ANTONIO         WEAVER                   KY           68066461126
2389349434B588   STEPHANIE       HORTON                   OK           90013814943
2389451A99794B   SHEA LYN        BLOCKER                  TX           74079765109
23894813A91522   DAVID           MORALES                  TX           90013148130
2389534335B271   KORREE          BENNETT                  KY           90012473433
23895A95A91522   IRMA            MORALES                  TX           90015130950
23898A2419794B   ALEJANDRO       VASQUEZ                  TX           90013930241
238B25A385136B   SABRINA         DEATON                   OH           90013775038
238B588769189B   DELILAH         FOUNTAIN                 OK           21065438876
238B613414B588   GLENETTA        RELERFORD                OK           90013781341
238B6599831453   CHENISE         MOORE                    MO           90012945998
238B6865391541   PAULA           LOPEZ                    TX           90013048653
238B88A879189B   RICHARD         KEYS                     OK           90013208087
238B9392791828   ARNULFO         ESPARZA                  OK           90012753927
238BB542691541   ARTURO          RAMOS                    TX           90013095426
23911796A85938   RICHELLE        CLAY                     KY           90003057960
2391464299794B   LARRY           SOSNIK                   TX           90013306429
2391878619136B   SANDRA          KNIGHT                   KS           90012287861
2391973679794B   ROGELIO         GARCIA                   TX           90004147367
23923787172B42   DEBORAH         HICKS-HANCHECK           CO           90012907871
239238AA89136B   TRACY           GOOD                     KS           29015958008
2392598112B235   ETHEL           ROBINSON                 DC           81009749811
2392919787B449   ANDERSON        JORDAN                   NC           90009731978
2392999649136B   MARIA           FLORES                   KS           90012359964
23937A93255957   MARIA           STANLEY                  CA           48013480932
239381A8697121   SYPHANTA        VONGSOURY                OR           44500041086
2393864567B449   TUNISHIA        SHAW                     NC           90000876456
2393B119A9184B   RANDALL         MILLS                    OK           21055441190
239429A8A91542   NANCY           LOPEZ                    TX           90008009080
239453A118594B   ALONZO          BURNS                    KY           67046123011
23947A99331453   NGUYEN          THUY                     MO           90013270993
2395335842B931   OLIVIA          LIME                     CA           90014793584
2395716615B232   DONALD          THRONE                   KY           68040101661
239571A199184B   MATTHEW         WORSLEY                  OK           90012321019
23958547A72B42   JESSICA         ALLEN                    CO           90008645470
2396861825715B   JOSE            SANTOS                   VA           90000466182
2396919614B281   MARY            BROWN                    NE           90014881961
23969224972B88   NATASHA         KOCH                     CO           90003722249
239712A434B588   KANDICE         DURAN                    OK           90011772043
2397136865B161   CHRISTIAN       MCFADDEN                 AR           90012983686
2397185385B161   DANYELLA        WHITE                    AR           90014738538
23973348A55957   JOSE            GONZALEZ                 CA           48086013480
23975A2A191881   SHAKAYE         RELEFORD                 OK           90001210201
23976367A41245   ANDY            TARAUELLA                PA           51088403670
2398118784B588   RICKEY          WHEELER                  OK           90014971878
2398143225B271   ELIZABETH       FINLEY                   KY           68095754322
2398165792B931   ANTHONY         GONZALES                 CA           90014796579
23981A24841245   JASON           COOKSEY                  PA           90014730248
2398397214B588   UVADA           HEATH                    OK           90012919721
2398573672B931   FRED            SCHMITZ                  CA           90014797367
2398642364B543   GEORGE          HEICHELHEIM              OK           90004354236
2398673672B931   FRED            SCHMITZ                  CA           90014797367
23986A91285938   CHRIS           VASQUEZ                  KY           67009990912
23988A9549136B   ISAIAS          HERNANDEZ                KS           90011900954
2398941672B27B   MARTIR          VELASQUEZ                VA           90011194167
23989455787B87   TYWANNA         MACKEY                   AR           90005534557
23991172287B87   NECOLE          TAYLOR                   AR           90003531722
2399236229184B   ANTHONY         MIMS                     OK           90004453622
2399263432B931   AMBER           LARA                     CA           90014806343
2399544555B271   DANIEL          MADDEN                   KY           90013384455
2399813374B261   GUALIP          OSMAN                    NE           90014711337
239B2851733677   REGINOLD        NOLEN                    NC           90007978517
239B296774B281   PATRICIA        MOSS                     NE           90008289677
239B2997972B42   MAHPIYA         WHITECAOS                CO           90013879979
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239B34A6441245   TAMERON        JONES                    PA           90014164064
239B4641A41245   TANYA          REDDIX                   PA           51090426410
239B71A849184B   LAMAR          ISHIMAN                  OK           90014331084
239B82A715B271   DONNA          MARTIN                   KY           90011082071
23B16127191522   EFRAIM         GAYTON                   TX           75012971271
23B1666914B281   JARED          ANDERSON                 NE           27098916691
23B18A75155957   FREDDA         SORIA                    CA           48036370751
23B18AA6891522   MARIA          RAMIREZ                  TX           90013580068
23B1B54662B931   LOIS           RODRIGUEZ                CA           90014505466
23B1B845A7B449   BASMAL         YALDO                    NC           90014858450
23B1BA5534B281   NOREEN         HEBDA                    NE           90011620553
23B2159A431453   SAMATHA        BATTLE                   MO           90013215904
23B2263635B571   CLARK          BLAINE                   NM           90011076363
23B22822472B32   VERA           VENEGAS                  CO           90011118224
23B2529142B931   RICARDO        ARGONA                   CA           90013952914
23B25A21972B32   LORRAINE       ALVA                     CO           90013140219
23B26585772447   JENNICA        SUKUSTIS                 PA           90013525857
23B2861A99794B   AHEDILSON      BARRIOS                  TX           90014456109
23B2962925B232   SCOTT          BURTON                   KY           90014166292
23B2B912631453   TRAVIS         WADE                     MO           90013779126
23B2BA6A984364   GRALIN         DUNN                     SC           90010090609
23B31455455957   HELEN          VASQUEZ                  CA           48046374554
23B3163125B232   KEVIN          SHANNON                  KY           90014166312
23B3183AA5B571   DCHON          POWDELL                  NM           90011578300
23B32538493724   BRENDA         HOWARD                   OH           64504075384
23B34326391828   BRYANT         WHITTAKER                OK           90014233263
23B34714872B42   JUAN           PALACIOS                 CO           90011847148
23B362A825B271   ERIK           BLEDSOE                  KY           90010222082
23B379A4255957   MIGUEL         FLORES                   CA           48075079042
23B3965955B232   MATTHEW        KNUCKLES                 KY           90014166595
23B4152214B543   SHARMEAL       WOODS                    OK           90010985221
23B42296872B88   FRANCES        TAFOYA                   CO           90006762968
23B42399A33639   STEPHANIE      GILES                    NC           90011293990
23B44318972B42   DARIAN         MOORE                    CO           90012613189
23B45535391828   ARSENIO        ROMERO                   OK           21092475353
23B4617245B232   BATISTA        RAFAEL                   KY           90010091724
23B4664168594B   JESSICA        JONES-FULLER             KY           67056316416
23B46936581661   OSCAR          COOPER                   MO           29010039365
23B4778565B232   SHELIA         TETRICK                  KY           68038957856
23B48143A72B32   ELSIA          RUIZ                     CO           90007931430
23B48239872B32   ELSIA          RUIZ                     CO           90013062398
23B48519331453   MARKIA         ALL                      MO           90014615193
23B4883A991541   ANTONIO        GOMEZ                    TX           90011058309
23B51714191828   CARLOS         LOPEZ                    OK           90012287141
23B52458591522   JESSICA        PROVENCIO                TX           90010034585
23B5582779136B   FRANCISCO      HERNANDEZ                KS           90011008277
23B56A29647952   CONSUELO       CRUZ                     AR           24078470296
23B59113A9794B   MICHAEL        PRITULSKY                TX           90012191130
23B5B4AA791241   TY             LUSK                     GA           90010474007
23B5B89125B232   JAMESON        WILLIAM                  KY           90011588912
23B625A1A72B88   RIGOBERTO      ZAPATA                   CO           90013425010
23B6288377B471   EVELYN         HERNANDEZ                NC           90014948837
23B64186691828   JEREMY         LODGE                    OK           90014811866
23B65A58472447   DEBRA          DEABENDERFER             PA           90010640584
23B6636A87B449   PORTIA         FULWILEY                 NC           90014583608
23B67AA724B261   LETICIA        BARAJAS                  NE           90012430072
23B7391328B17B   HERMILIO       JEREZANO                 UT           31064159132
23B74168281661   JAMES          OWENS                    KS           29046141682
23B7567245B167   NEDRA          RIVERS                   AR           23088346724
23B7591949189B   NOEMI          RAMIREZ                  OK           90014649194
23B76338391241   JANETT         JOHNSON                  GA           90011143383
23B78752A7B449   HELEN          CONNOR                   NC           90011077520
23B82A36331631   NATALIE        SWITZER-HAULE            KS           90004200363
23B8391375B232   REGINALD       PETTY                    KY           90014169137
23B86371891828   MICHAEL        OLMOS                    OK           90012223718
23B86448884364   LEONARD        FINLEY                   SC           19052314488
23B86A4629155B   ERIQUE         VARGAS                   TX           90010360462
23B88254491828   PAUL           HARRIS                   OK           21063982544
23B88487972447   SHARONDA       ROBINSON                 PA           90011464879
23B8858994B588   PHILLIP        DAVIS                    OK           90013555899
23B88663972447   DANIEL         CARUSONE                 PA           90013236639
23B93212984364   TWYLAN         RENEE                    SC           90000302129
23B9329A155957   FREDERICK      JONES                    CA           90002062901
23B9336364B281   COBY           POINTS                   IA           90013943636
23B9421974B281   KATHLEEN       KELLOGG                  NE           90013852197
23B95364291522   VERONICA       LOPEZ                    TX           75026673642
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23B9599A472B42   CRISTAL        LEYVA                    CO           90013629904
23B9629115B571   ASTRIL         ORLAGUA                  NM           35093872911
23B9681184B588   CHRISTOPHER    ROBINSON                 OK           90012588118
23B97974487B59   FOLANDA        WILLIAMS                 AR           90005699744
23B98447872447   DONTE          LEWIS                    PA           90011064478
23B9888417B449   JAVIER         CRUZ                     NC           11065088841
23B9994668B188   RONALD         CLARK                    UT           90010349466
23B9B276591828   MICHELLE       WARREN                   OK           90013362765
23BB199129155B   MARGARITA      PEREZ                    TX           75083659912
23BB2352191828   BRANDON        BENNETT                  OK           90008573521
23BB268925B571   JOSE           LOPEZ-AMPARA             NM           90011196892
23BB311212B931   BREANN         SALAS                    CA           90012471121
23BB32A9372B88   EDGAR          TISCARENO                CO           90011662093
23BB3683131433   DANNETTA       CLAIBORNE                MO           90004236831
23BB8AA4872B88   JORGE          MANUEL                   CO           90012240048
2411436362B27B   LORENZO        ESCOBAR                  VA           90005173636
24126377A72B88   DOMONIC        BARRIOS                  CO           90011593770
2412683479155B   BRIAN          BERGER                   TX           90010308347
24127633A5B271   NOE            GARCIA GARCIA            KY           90009706330
2412B76734B281   WILLIAM        DICKEY                   NE           27046867673
24133522A4B588   CHRISTO        SHARP                    OK           90014635220
2413375697B471   CHANEL         WORTHLEY                 NC           90014687569
24134668724B43   VALERIA        PERSON                   DC           90013946687
2413677867B471   JASON          ARGUETA                  NC           90014687786
24137662A72B42   DAN            GOULET                   CO           90013886620
24138939A91828   HEAVEN         CAUDLE                   OK           90013659390
24139739A5B161   NIKIYAH        WATKINS                  AR           90014667390
2414197252B931   LUIS           VAZQUEZ                  CA           45093249725
24142249572B42   JORDAN         REDMOND                  CO           90006652495
2414751A691541   KING           MONTIEL                  TX           90012585106
24147782872B32   VENASSA        ALBA                     CO           90002127828
24147AA257B449   TONYA          MONIQUE NEWTON           NC           90014790025
2414823335B271   JULIUS         KENNEDY                  KY           90011352333
2414B221255957   JOEL           GARCIA                   CA           90007172212
24151246A55957   LATOYA         MAXWELL                  CA           90013882460
2415764A491522   ALBERTO        AGUILAR                  TX           90009336404
241579A3572B88   JANINA         SANDERS                  CO           90013139035
241613A554B588   DUSTIN         BAKER                    OK           90012453055
24163AA5891356   JOSE           RODRIGUEZ                KS           90014830058
241669A3187B87   ANGELA         BILLINGS                 AR           23025839031
24167A5532B27B   SHONTEL        ALEXANDER                DC           90014680553
2416BA52A91356   GERAMY         DEMONBRUN                KS           29028540520
241749A1687B87   CHIQUITA       EVANS                    AR           23033319016
24174A8884B588   YESENIA        CABRERA                  OK           90012620888
24177A6373B355   JANETH         HENRY                    CO           90011480637
241792A939189B   BRITTNEY       LITTAU                   OK           90010982093
2417963194B281   ALISHA         DUNLAP                   IA           90006096319
2418174199189B   SAMANTHA       SHAIREZ                  OK           21081797419
241871A244B588   DOMINQUE       LAMEY                    OK           90010121024
2418B67A172B88   SOLOMON        LOPEZ                    CO           90013416701
2418B69A77B449   SHAKAEDA       BYERS                    NC           90012436907
2419182747B423   SUMATRA        SMITH                    NC           90005948274
2419185944B261   GEOVANY        AGUILAR                  NE           90012358594
24192711572B88   SAIRA          NEVILLE                  CO           90004917115
24192782872B42   VENASSA        ALBA                     CO           90002127828
24193597A2B27B   MARQUITA       WRIGHT                   DC           90012835970
241939A8A91541   NANCY          LOPEZ                    TX           90008009080
2419643322B27B   AHMAD          ABDALLAH                 DC           90012684332
241977A2572B32   HERON          ESTRADA                  CO           90014477025
24197A32791953   ALONZA         HUNTER                   NC           90010950327
2419B68A94B588   MARCO          BUGG                     OK           90008916809
241B164945B271   REBEKAH        TIDBALL                  KY           68095746494
241B4143691356   KAREN          MCNAMARA                 KS           90014551436
241B4824A2B27B   OMAR           AMURRIO                  VA           90012278240
241B4945781644   SKYE           TAUILIILI                MO           90013949457
241B531517B358   FADI JA        ALARAMIN                 VA           90011543151
241B5A37A31453   CHYRESE        TROTTER                  MO           90014690370
241B717A79189B   SCOTT          HOWELL                   OK           90001781707
241B7975791522   TELEZ          LORENZ                   TX           90010329757
241B8A17291541   ROBERTO        ARTIAGA                  TX           90012840172
241BB48319189B   TERAI          LEAIS                    OK           90014894831
24214663A5B271   SAMANTHA       GAITHER                  KY           90014636630
2421714374B588   TEDDY          TESKE                    OK           90012721437
2421B12895B161   HUBERTA        NEWBY                    AR           90014511289
2421B9A1172B88   ESTRELLA       TALAMANTES               CO           90013489011
2422283644B588   MILTON         CHAVEZ                   OK           90010318364
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2422359885B54B   WILLIAMS          PADILLA               NM           90015145988
2422763322B232   LILLIAN           MACFARLAND            VA           90010466332
24231A29291541   ELIZABETH         LOPEZ                 TX           90012170292
2423281215B271   MATTHEW           MOHR                  KY           68098258121
24234A9467B471   JOAQUIN           NATAREN               NC           90010730946
24235944572B88   MIKE              PERALTA               CO           90014759445
2423644245B161   SONYA             DAVIS                 AR           90007264424
2423922937B449   MONTAYA           DANIELS               NC           90012082293
2423951429152B   ALBERTO           MENDOZA               TX           90009595142
2424124615B271   CLIFFORD          WEBB                  KY           68002912461
24242151A72B32   JUAN ANTONIO      PARRA MARQUEZ         CO           90015141510
24244294A9155B   GABRIELA          MARISCAL              TX           90011242940
2424517654795B   AMY               BENDICK               AR           90010551765
2424589A17B449   LATASHA           HARDEN                NC           90006068901
24245A3299155B   CRYSTAL ANNETTE   LOPEZ                 TX           90008410329
24247582A72B42   MARANDA           KILLEN                CO           90013295820
2424831687B449   ERICA             MITCHELL              NC           90013743168
2424B362272B42   MICHAEL           GEORGE                CO           90013083622
2424B623572B42   ORIANA            JHONSON               CO           90014726235
2425197949189B   MARTIN            BITTLE                OK           90011049794
24255A82254123   ANDREA            MATLOCK               OR           90007120822
2425619A384364   KRYSTLE           REESE                 SC           90013601903
2425822427B471   TEAZHA            WADE                  NC           90011712242
24258258A84364   ANGEL             BAILEY                SC           90010372580
2425926424B588   LYDIA             PANTHER               OK           90009172642
2425B53A131453   VINCENT           BREYFOGLE             MO           90011215301
2425B85269189B   PAUL              MOURA                 OK           90013198526
2426179335B571   SHANNON           WEINBERGER            NM           90009707933
2426195A291541   AMANDA            TAPIA                 TX           90010749502
24262A3579184B   JERRY             WHARTON               OK           90013720357
24265394572B32   ABRAHAM           MUNOZ                 CO           90012403945
2426997A72B27B   JEFFERY           FORD                  DC           90011579707
24273435A84364   MONICA            QUIROZ                SC           90009964350
2427472714B588   LIZANDRO          SIFUENTES             OK           21503437271
242773A9A91828   KENNETH           KARNS                 OK           90009373090
24277914A71935   GLENDA            ESPINOZA              CO           90003029140
24281149672B32   OMAR              ARGUETA               CO           90012431496
2428297A891522   JOSUE             HERNADEZ              TX           90011129708
24285A85785938   CHANEL            SMITH                 KY           90007650857
24291A2925B161   RYNESHIA          SANDERS               AR           90014780292
2429289A691522   MICHAEL           MARQUEZ               TX           90008348906
242934A9272B32   SHAW              KIM                   CO           90009354092
24295967772B88   JAMIE             VENEGAS               CO           90013779677
24296A13631453   ALFRED            DANIEL                MO           90004410136
24297A17272B88   KENNETH           DURAN                 CO           90008030172
2429868A62B27B   DEBORAH           HICKSON               DC           90013186806
24298A77272B88   SEAN              RILEY                 CO           90012640772
2429B189647952   TINA              NGUYEN                AR           90008471896
242B2576981644   PIERA             ROSS                  MO           90011395769
242B3166355957   ERIC              BREAUD                CA           90014351663
242B51A515B571   ANTONETTE         ORTIZ                 NM           35094221051
242B6297791356   SABRINA           MCGOWAN               KS           90014852977
242B6489724B55   ELIZA             CORADO                VA           90013884897
242B664917B449   JERRY             REID                  NC           90015116491
242B826739155B   DANIEL            CORREA                TX           90011242673
242B8A72431453   MICHAEL           BRADSHAW              MO           90001350724
242B9381372B88   JACQUELINE        B COMMINELLO          CO           33041243813
242BB258A9189B   ERIC              SAMPLE                OK           90014082580
2431511795715B   KENDRA            VILLANUEVA            VA           90004101179
2431B29274B261   GEORGE            BECKWITH              NE           90002072927
2431B443931631   MARIE             MCDONALD              KS           90007354439
2431B66762B27B   SHIRLEY           BROWN                 DC           90005936676
2432257764B588   BRAHAYAN          COTA                  OK           90014125776
2432434284B588   BRYAN             ALVERADO              OK           90013803428
243254A517B358   MAURICIO          GONZALEZ              VA           90005044051
24325A46A91522   SALVADOR          ORTIZ-RIOS            TX           90004960460
2432749274B261   JOSHUA            VILLEGAS              NE           90014234927
24332914187B87   EDNA              DUNN                  AR           23088799141
2433565175B271   TREMIKA           MITCHELL              KY           90012166517
24337689A72B88   CECILIA           LOPEZ                 CO           90014816890
2433796417B471   QUINTIK           BERRY                 NC           90014729641
24337A8294B588   EVA               ROUBERT               OK           21558260829
2434221879794B   CHRISTOPHE        MARTIN                TX           74004632187
243423A3991953   IVAN              SINDORF               NC           90015123039
24345A53155957   MICHAEL           TAYLOR                CA           48090640531
243494AA39155B   DOMINGUEZ         DAVID                 TX           90011244003
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2434982A15B271   CARMEN          BORDES INFANTE           KY           90013238201
2435128439184B   KOURTNEY        STONE                    OK           90009862843
24351465972B42   JORGE           VIZARRO                  CO           90011944659
2435272A691828   SHANE           REED                     OK           90014757206
24354882172B25   NICOLE          PALMA                    CO           33098338821
243553A357B449   NAHOMY          BELEN                    NC           90013423035
2435713A94B261   KEVIN           WIMES                    NE           90014281309
243597A6172B42   JANIE           IALPANDO                 CO           90012917061
2436737A491953   VU THOI         NGUYEN                   NC           90013533704
2436759262B27B   SHAWN           BUTTS                    DC           90008265926
24367975872B88   ANTHONY         JIMENEZ                  CO           90012909758
2436B417972B32   DAVIEN          GARCIA                   CO           90013194179
2437265AA31479   MONIQUE         SLEETS                   MO           90013136500
243734A5184364   CRUZ            BERRIO                   SC           90013654051
2437447837B471   REBECCA         DAVIS                    NC           90011104783
24374523A91522   ABIGAIL         MENDOZA                  NM           90010415230
24375123872B88   ANTHONY         CHAVEZ                   CO           90012791238
2437631A791541   KARLA           MONTES                   TX           90012573107
24376548A57133   CARMELO         CHAVARRIA                VA           90006485480
2437713A32B27B   WALTER          TRIPPLETT                DC           90011501303
24377179A2B27B   WALTER          TRIPPLETT                DC           90014761790
2437738684B588   LUIS            MOLINA                   OK           90007323868
24379566172B32   RAYMOND         BURCH                    CO           90014495661
2437B41A191356   ARELY           DOMINGUEZ                KS           90008744101
2437B454155957   ALBERT          COTA III                 CA           48069024541
24382412872B88   KAREN           SANDOVAL                 CO           90011594128
2438435655B271   BRAD            JEFFERY                  KY           90010493565
2438594379155B   CARLOS DIN      DE LEON                  TX           90010439437
2438731595B271   CRISTIANE       SANTOS                   KY           68009043159
24387793A91828   TREY            STEVENS                  OK           90010797930
2438893977B471   JOSEPHINE       STARR                    NC           90014699397
24392A9119189B   ANEL            ALVAREZ                  OK           90010250911
24394495676B4B   ASHLEY          ABELL                    CA           90012414956
2439478727B449   KIRK            DAVIS                    NC           11061487872
24394879272B32   BARRETT         JEREMY                   CO           90007278792
2439895577B449   PAYGO           IVR ACTIVATION           NC           90013669557
24398A25472B88   JESSICA         SANCHEZ                  CO           90011490254
24399761A9189B   KARRA           SULLIVAN                 OK           90009317610
243B143A49184B   JAMES           NOWLIN                   OK           90011544304
243B2357191356   JAIME           HERNANDEZ                KS           90007793571
243B2416371935   CHRISTOPHER     MCCULLOCH                CO           90015134163
243B2737A91828   CHRISTY         HAMILTON                 OK           90010247370
243B3952991522   JORGE           GONZALEZ                 TX           90005499529
243B7194897122   MONICA          RUIZ                     OR           90009731948
243B9118481644   SOLOMON         ABEBE                    MO           90009341184
243B9483184364   SYRAN           AUSTIN                   SC           90008854831
243B9882171935   JASON           STANLEY                  CO           90012878821
243BB976861937   FABIAN          BERNSTEIN                CA           90014009768
2441259945B271   MARK            PIERCE                   KY           90013025994
2441774495B571   MARIA           ARREDONDO                NM           90009957449
24418218672B32   EFREN           GARCIA                   CO           90000802186
2441885289184B   CAMERINO        JIMENEZ                  OK           90009928528
24419649A7B471   TIANA           GORDON                   NC           90014706490
2441B188191953   CARMEN          AGUILAR                  NC           90014991881
244217A2271935   AMBER           GABELMAN                 CO           90012987022
24421A1199189B   STACY           LOPEZ                    OK           90013540119
24422AA927B449   REGINA          SMITH                    NC           90009850092
2442B136A71935   ROBERT          BOWLES                   CO           90012911360
2442B455571935   MEGAN           MCCABE                   CO           90011244555
2443494294B261   MEAGEN          JOHNSON                  NE           90014799429
24435A47285938   ADRIANNE        RAGLIN                   KY           90005220472
2443836573B144   JAMES           ROY                      DC           90002443657
24439A6A49189B   KIM             MICHAEL                  OK           90010050604
2443B27997B471   JASMINE         ROBINSON                 NC           90010432799
2443B795772B42   SHAWN           ELLIOTT                  CO           90012747957
2444184255B161   RUBUN           NIMS                     AR           90013828425
24442682572B88   MARCELO         FLORES                   CO           33041236825
24443173872B88   LENNON          BARNICA                  CO           90014451738
24446345A9794B   ALEJANDRO       GONSALEZ                 TX           90006713450
2444748A585938   JOSE            GUTIARREZ                KY           90002304805
2444988844B588   ATTALLAH        BIRDSONG                 OK           90011068884
2444B781255957   JULIO           DIAZ                     CA           90013317812
2445196387B449   ANTOINETTE      ROGERS                   NC           90013219638
2445719347B449   J               ROCK                     NC           90008811934
2445873717B471   REGINA          HILL                     NC           90007777371
244636A6391522   SERGIO          CORDAVA                  TX           90012996063
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2446384A74B588   OLAN             JOHNSON                OK           90012038407
244658A3651369   MARK             BRADFORD               OH           90012368036
2446699767B449   TASHA            LEAKE                  NC           90014789976
24469412A55957   JUAN             ORTIZ                  CA           90013624120
244735A529189B   BETTY            VILLA                  OK           90010555052
24476565372B32   PAULINE          PERKO                  CO           90013065653
244813A634B261   DEMO             WHISPERING RIDGE       NE           90010013063
24482A65472B42   AJ               ALLEMANT               CO           33010210654
24484621772B88   MANUEL           GONZALES               CO           90004106217
24484A3839184B   HALEY            SLAYBAUGH              OK           90012680383
2448B77547B471   TAMARA           OATES                  NC           90014717754
2449184622B27B   PATIENCE         OPARA                  DC           90002248462
2449441A89155B   AURELIO          HERNANDEZ              TX           90011244108
2449467517B471   JAVIER           LOPEZ                  NC           90008026751
24495518724B55   EBONY            SHELLEY                DC           90014815187
2449659557B449   ERICK            WADE                   NC           90011255955
24499492A5B257   CHRISTOPHER      MARTIN                 KY           90011914920
2449949619189B   RUTH             LEWIS                  OK           90012184961
244B384849184B   ABBEY            GREGORY                OK           90003768484
244B497217B471   BOBBY            CURRIE                 NC           90014699721
244B6319272B32   MARLENE          ZAHN                   CO           33041233192
244B6A21131631   JACLYN           LINARES                KS           22084570211
244B6A67272B42   JASON            SMITH                  CO           33000090672
244B83A357B449   NAHOMY           BELEN                  NC           90013423035
244B8A6A99184B   MISHA            SHAFFER                OK           90015170609
244B927135B271   JENNA            PARRIS                 KY           90015122713
244BB936931453   ANTHONY          SIMINO                 MO           90014879369
244BBA59372B88   JEFFREY          LANGFORD               CO           33092640593
24511572472B32   TONY             MARTINEZ               CO           90014595724
24513347A91953   DARLENA          HOOD-WRIGHT            NC           90012183470
2451389449189B   DUSTIN           CULVER                 OK           90012258944
2451697994B261   ROCHELLE         BELGRAVE               NE           27085249799
24517894572B88   TERESA           LOTTIE EARLE           CO           90008438945
2451B593184364   MARQUES          BROWN                  SC           19020895931
24521A47A8B159   COLTON           BENSON                 UT           90009590470
2452213A281644   KAT              ALEMAN                 MO           90011411302
2452293958B15B   MELANIE          LLOYD                  UT           90008729395
24526A5A785938   JOEL             DIAZ                   KY           90003040507
2452BA4AA7B449   KRISTNE          GLADDEN                NC           90010360400
24533684672B32   JORGE            VALDOVINOS             CO           33082456846
2453485549189B   MAADOLFINA       MONDRAGON              OK           90012638554
24537A1A691356   CYNTHIA          PULIDO                 KS           90014430106
24544958A72B32   JOSE             BUSO                   CO           90011769580
24544A4512B232   TRACY            FORD                   DC           81015090451
24545682972B21   MARGARITA        AGUIRRE                CO           90002976829
24548251A91356   BRINA            GEELZUNAS              KS           90011002510
24552659172B32   KEVIN            DIAZ                   CO           90011466591
24554A26387B87   RODNEY           SIMMONS                AR           23012050263
2455B12435B161   JAMES            LOVE                   AR           90014511243
2455B99154B281   JESSICA          ASHCRAFT               NE           90010479915
2456185269189B   PAUL             MOURA                  OK           90013198526
245633A2272B88   ELIZEBETH        BAKER                  CO           90013073022
24563829572B88   ELIZEBETH        BAKER                  CO           90011148295
2456439679184B   JENNIFER         SOUTH                  OK           21052373967
2456547A684364   JESSE            HENDERSON              SC           90014034706
2456B949791541   MARIA            HERNANDEZ              TX           75015819497
2457413A955957   CHRISTINA        CONTREAS               CA           48055371309
2457494894B588   CHAD             RUIMVELD               OK           90009629489
2457519115B571   IRIS             OROZCO-SOTO            NM           35011461911
2457B767491541   LORENA           GAMBERT                TX           90011127674
2458234A39155B   PETRA            BARRERA                TX           75098053403
2458262A791356   ANGELA           KIESLING               KS           90013606207
2458746A451338   KEVIN            BOGAN                  OH           66007654604
2459263767B449   NURIS            MOREIRA                NC           90011256376
245958A4191828   JAVIER           GUTIERREZ              OK           90009428041
24596AA4791541   SANDRA MARCELA   PEREZ                  TX           90013460047
245975A5872B88   JUAN             DELA CUERDAS           CO           90012095058
2459912449189B   SAHIRA           GASPAR                 OK           90013241244
245B176682B232   GILMAR           ARIAS                  DC           81005157668
245B2551A71935   ASHLEY           GALPIN                 CO           90011245510
245B498629189B   ADRIAN           ESPINOZA               OK           90012889862
245B541154B588   CHRISTOPHER      BLANCHARD              OK           90012524115
245B613A281644   KAT              ALEMAN                 MO           90011411302
245B685595B571   GABRIRLA         MUNOZ-LEYVA            NM           90011618559
245B7133891241   KIMBERLY         MCDONALD               GA           90012961338
245B9156871935   MINNIE           RIVERA                 CO           90011921568
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245B9AA2155957   DAILENE         CALDERON                 CA           90012800021
2461177312B232   YVETTE          MILES                    VA           90010707731
2461849195B161   CARL            GARNER                   AR           90012384919
2461889A181644   RAFAEL          GUTIEREZ                 MO           90014158901
2461963257B449   ROCHELLE        CARTES                   NC           90014406325
2461B296391541   ANGELICA        SANCHEZ                  TX           90014602963
24621A48851329   TYLER           HAYS                     OH           90012620488
2462288124B588   JENNIFER        WARRIOR                  OK           90006518812
2462316219155B   MIGUEL          FLORES                   TX           90010481621
24625384872B32   RUBEN           RODRIGUEZ                CO           90001263848
24627195372B42   JESUS           BUSTILLOS                CO           90012151953
24631867372B42   MARISOL         QUIROZ                   CO           33017358673
2463349422B931   ALEXANDER       ULLOA                    CA           90013744942
2463438649184B   PARSCHE         BARNETT                  OK           90013933864
24634A4122B27B   JAY             WILLIAMS                 VA           90012180412
2463B28544B588   BECOY           HAWKS                    OK           90013272854
2463B39815B271   CANDELARIA      TIU                      KY           90008573981
2463B441A71935   MATTHEW         HEADLEY                  CO           90011324410
2463B625A72B42   VICTOR          BAILEY                   CO           90009496250
24645528672B42   KENYA           MARCUS                   CO           90013065286
246455A1984364   REGINALD        COULTER                  SC           90014495019
24645896872B88   TRINA           MINEAULT                 CO           90013048968
2464786877B494   DAN             DEMPSEY                  NC           90008568687
24647AA7172B88   DORA            ARGUETA                  CO           90013530071
24654524372B32   ANTONO          ALVARES                  CO           90007165243
246547A9631631   MATTHEW         MAUPIN                   KS           90009557096
2465599A781644   JESSICA         TAPIA                    KS           90014159907
2465674544B261   ROSA            NOLASCO                  IA           90013137454
2465827119794B   RAY             JR                       TX           90008472711
246596A3571925   GLADY           VASQUEZ                  CO           90009546035
24662AA2591828   JERMEL          HURST                    OK           90008230025
24665643772B88   WAYNE           NELSON                   CO           33054326437
2466672744B588   DAVID           DELANA                   OK           90008917274
2466B178631453   TIA             MONIQUE                  MO           90011231786
2466B61635B271   BRITTANY        SLEMMONS                 KY           90012906163
2467146959184B   RUSSELL         THORNGREN                OK           90013764695
2467199564B261   RYLEAH          BROWN                    NE           90012179956
2467541612B27B   KEON            BROWN                    DC           90012834161
2467571255B271   YAEMI           CABRERA                  KY           90011917125
2467683A631453   DONOVAN         SUGGS JR                 MO           90012388306
2467872AA72B32   SERGIO          AGUILAR                  CO           90001577200
2467B991391522   DENISSE         MOLINAR                  TX           90013119913
246814A9991356   KARLOS          TAYLOR                   KS           90005034099
24684386A7B471   NICOLE          MOORE                    NC           90013003860
246851A2A57133   SILVIA          RODAS GALINDO            VA           90012941020
246882AA991541   BILMA           GONZALES                 NM           90000662009
24688488A2B27B   MILTON          GENOVEZ                  VA           90014154880
2469114495B571   KEVIN           YEAGER                   NM           90008511449
24692228A7B449   SINDY           GUCEDA                   NC           90012962280
24695637A71935   MANUEL          HERNANDEZ                CO           90012956370
246B1916155957   BEATRIZ         EVELAND                  CA           90015099161
246B42A8891522   RICK            DURAN                    TX           90013462088
246B823267B471   LAWRITA         MINTON                   NC           90014142326
246B9351672B88   CARLOS          ARELLANO                 CO           90012663516
246B9541176B53   SABINO          VARGAS                   CA           90012355411
2471213A391241   SHEWANDA        MCCARR                   GA           90014081303
2471317659155B   JOSEPH          QUARTERMANE              TX           90008771765
247137A8155957   JOEL            SANDOVAL                 CA           90012867081
2471454552B27B   JHONE           SHASHURA                 DC           90013135455
24715A6277B449   LUIS            LOPEZ                    NC           90012230627
2471636325137B   FRANK           MALONE                   OH           90012783632
2471B441731453   JANEE           BOLDEN                   MO           90014144417
247221A3372B32   GENEVIEVE       MACIAS                   CO           90005211033
2472243644B588   JUSTIN          HURLEY                   OK           90011454364
2472662534B588   NIKITA          MOSLEY                   OK           90012826253
2472933369184B   CLAUDIA         COMPOS                   OK           90009943336
2473183977B471   LATIA           LANDY                    NC           90014738397
2473718867B471   SANTARIEO       ROSEBORO                 NC           90014731886
247379AA591522   ZARKY           BENJAMIN                 TX           90014389005
2473874855B161   QUENTIN         DANIELS                  AR           90014457485
2474428544B588   BECOY           HAWKS                    OK           90013272854
24748A25972B42   BRANDON         BROCKINGTON              CO           90012660259
2475525842B27B   JOSHUA          LEE BROWN                DC           90012462584
2475692924B588   SAICEULL        DRAKE                    OK           90009129292
24761748A5B161   CHRISTON        SHACKLEFORD              AR           90014557480
2476239169184B   ESTHELA         ARIAS                    OK           90013853916
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24763A2664B588   JEFFREY        WILSON                   OK           90010190266
24764823A91953   ALISHA         HORTON                   NC           90013288230
247685A4172B32   CODY           CARSON                   CO           33002055041
2476B499155957   MARCIAL        CORNELIO                 CA           90013744991
2477137AA7B471   JONATHAN       GAINES                   NC           90011573700
24777A68272B88   RYAN           RAMSTETTER               CO           90013210682
24779A6267B449   BRITTANY       COLLINS                  NC           90010360626
2477B768A91953   CINDY          DIAZ                     NC           90013237680
2478428824B588   JAMES          DICKERSON                OK           90013102882
2478629724B588   TASHONDA       RUSSELL                  OK           90015172972
247882A7571935   FELIX          CERVANTES                CO           90011252075
2478931A131453   MARKITA        MEEKINS                  MO           27511943101
24789654472B42   SANTOS         GOMEZ                    CO           90013976544
24791A51861986   JOE            ALFRED                   CA           90012640518
2479332122B27B   KARLOS         MCDOWELL                 DC           81039313212
24793838A72B42   JAVIER         ROJAS                    CO           33042578380
247984A9431453   MISCHA         SHELTON                  MO           90015194094
2479B271391356   ELENA          MARTINEZ                 KS           90011122713
247B747389184B   NEISHA         SUTTON                   OK           90014064738
247B7A4A391828   COREY          FIRSHER                  OK           90012910403
247B96A138B151   DANIELLE       PRESHA                   UT           90013316013
247BB631891541   PMAR           MORENO                   TX           90012776318
2481114375B271   ROGER          DAVIS                    KY           90012081437
2481246452B931   BRANDY         TAVARES                  CA           45084504645
2481512629189B   LYDEANA        HELDSTAB                 OK           90012081262
24816AA9931453   MARANDA        RUSH                     MO           90014190099
2481763174B551   CORA           BOYKINS                  OK           90010826317
2481861525B161   DAVID          MILNER                   AR           90012376152
24819554A7B484   KITA           ADAMS                    NC           90010495540
2481B256891356   KAREN          OCHOA                    KS           90010272568
2482289248B182   ROMELL         PETERSON                 UT           90008988924
248332A8A91828   LENITA         PARRY                    OK           21003002080
2483373A791241   STACY          JONES                    GA           90013297307
24837588A98B32   KALIFA         CARTER                   NC           90011335880
2483B2A937B45B   KIRSTEN        MARTIN                   NC           11036142093
2484287982B27B   GEANE          DUPITAS                  DC           90012138798
24847252972B88   RAEANNION      HITT                     CO           90014132529
2484945A44B261   ERIC           WIIG                     NE           90009574504
2484992A39189B   ELISHA         JONES                    OK           90011389203
2484BA46181644   LEANNE         JACOBSON                 MO           90010270461
2485199912B27B   CLIFTON        CRUMP                    DC           90011589991
2485433222B931   JOAQUIN        GARCIA                   CA           90005263322
24855739A91356   ZAFERINA       SAENZAPARDO-RODRIGUEZ    KS           90014697390
2485788549184B   TAMEKA         HARDY                    OK           90012708854
2485B339A8B151   ROBERT         HUERTA                   UT           90003943390
24864546A31453   ANYAI          JOHNSON                  MO           90013345460
24864935A72B88   MIGUEL         AYALA                    CO           90012479350
2486567487B141   NYAJAL         CHAKIN                   ND           90014996748
2486BA78672B32   PORTIA         JOHNSON                  CO           90000800786
2487182857B276   CRYSTAL        HITON                    NV           90012228285
24873791A91241   JALISSA        GREEN                    GA           90008307910
24875123972B32   EDDIE          GONZALEZ                 CO           90013451239
2487B17A972B32   OSHIA          WALKER                   CO           90001431709
24883A88291356   LYNNA          PACE                     KS           90006120882
2488658459184B   JERRY          LANDRUM                  OK           90008505845
2488955845B271   AMANDA         COOPER                   KY           68092705584
2489329934B588   CHELSEA        MOAD                     OK           90014712993
2489771A791541   ROSA           AGUILAR                  TX           90013437107
2489834262B27B   TAJUDEEN       OLANIYAN                 DC           90014983426
24898A86185938   MANUEL         GARCIA                   KY           67005660861
2489B661371935   BRADLY         CONN                     CO           90012966613
2489BAAAA4B588   JEANA          NICHOLS                  OK           21557680000
248B115157B471   COREY          FLOYD                    NC           90012541515
248B2A85531453   PAVIELLE       JONES                    MO           90014410855
248B3697872B42   TERELLE        FIELDS                   CO           90012866978
248B4542791953   EMANUEL        CRUZ MOORE               NC           90010785427
248B4926891953   ROSALIO        LOPEZ                    NC           90012799268
248B4947171935   HARNEK         SAHOTA                   CO           32039109471
248B8252991582   ISABEL         RODRIGUEZ                TX           90001682529
248B8727972B32   MICHAEL        VIALPONDO                CO           90014657279
2491235A471935   FELIPE         GARCIA                   CO           32010983504
249145A8855957   AMELIA         AVALOS                   CA           90008535088
249146A4641245   NATASHA        SIDDIQI                  PA           90010586046
2491527647B449   MARIBEL        CASTILLO                 NC           90014152764
2491584814B281   ARTURO         MIRANDA                  NE           27065658481
24915973A72B88   CALEB          THOMAS                   CO           90012989730
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249175A4331453   LATONYA        GRAY                     MO           90011235043
2492339319189B   KYLE           BLAIR                    OK           90013653931
24923817A4B588   SHEMIKA        CRYER                    OK           90008428170
24931A4249155B   CORAL          CORTES                   TX           90009360424
24933631A72B32   CESAR          DE LA ROSA               CO           90014466310
2493451A531453   AINYE          GREENE                   MO           90011235105
24936A32691541   MARIO          MORENO                   TX           90012170326
24938454872B32   JANIS          ARAGON                   CO           33098714548
2493B11A755957   DANIEL         POTEETE                  CA           90011681107
24945893A97122   MICHAEL        EGLI                     OR           90011458930
2494623924B588   AURORA         MALDONADO                OK           90010832392
249462A625B271   PATRICIA       BORDERS                  KY           90014162062
24948793A4B588   DAVID          DAVIS                    OK           90013187930
2494B326572B32   CRISTIAN       PEREZ                    CO           90013463265
2495236A772B42   DANIEL         FORBIS                   CO           90013503607
24952422972B42   SABRINA        MALDONADO                CO           90002464229
24953659A7B471   JAMAL          HOLMES                   NC           90014736590
24953A47291241   JOSHUA         MCLENDON                 GA           90013930472
2495555582B27B   JERMAINE       JACKSON                  DC           90012555558
24956937872B88   MICHAEL        WORKMAN                  CO           90012479378
24956A9524B588   LAWRENCE       WILSON                   OK           90014640952
249581A3731453   KEDA           MCROBERTS                MO           90005601037
249616AA37B471   JAMARION       ROSEBORO                 NC           90007726003
249665A5691986   MIGUEL         ADAME                    NC           90012115056
24967762872B32   JONATHAN       KEEGHAN                  CO           90014307628
2496B417172B32   SAM            SNAKES                   CO           90014944171
2497161A272B88   CARLOS         VALLES                   CO           90009826102
249736A3971935   SHAWNNA        EMILIO                   CO           32011736039
249756A4881644   DARON          WILLY                    MO           90003616048
24976985872B32   ZANTEL         ABAD                     CO           90012589858
2497B344972B32   WELTON         TUCKER                   CO           90011063449
249826A1831453   CHRISTOPHER    CALLAWAY                 MO           90011236018
2498477875B271   MALIK          PHILLIPS                 KY           90014297787
24986186A91541   MARIA          GALLEGOS                 TX           90013721860
2498788457B471   CRISTEN        ALEXANDER                NC           90014738845
2498954369155B   RAFAEL         ZUNIGA                   TX           90009535436
24989A16891356   BELLA          ROE                      KS           90010010168
24991586972B42   JAMES          ANDERSON                 CO           90013295869
249929A2677576   DIRK           JACOBSEN                 NV           90006799026
2499333A24B261   OLIVIA         BAKER                    NE           90013273302
2499412157B449   PABLO JUNIOR   MORA                     NC           90012211215
2499474255B571   SABRINA        MARTINEZ                 NM           35055427425
249974AA933B96   CHRISTINA      ERVIN                    OH           90012814009
2499856A37B449   ELADIO         LOPEZ                    NC           90013675603
249B124365B271   TAMMIE         ORTIZ                    KY           90013092436
249B4374681644   ARLOWA         ADAMS                    MO           90014163746
249B4A8A691541   ROSA           MALDONADO                TX           90010900806
249B869295B271   DIANA          RICHARDSON               KY           90012136929
249BB63532B32B   JEAN           POLICAT                  CT           90013486353
249BB678471935   CARRIE         RAYOR                    CO           90012966784
24B15268655957   TOSHIA         LEE                      CA           90010572686
24B17121372B88   CURTIS         HESTER                   CO           90008991213
24B17241755957   LOUIS          MERCADO                  CA           48002392417
24B17251A4B588   MAREALE        GARRETT                  OK           90010912510
24B18717A72B32   JERMAN         JAVIER                   CO           90014657170
24B2168889184B   DAWAN          STIGGER                  OK           90014836888
24B25662672B32   BRISSA         MANRIQUEZ                CO           90013966626
24B27189391828   SERGEI         ZAGORODNY                OK           90006011893
24B2833547B471   TAMIKA         GAMBLE                   NC           90010953354
24B2874869155B   FERNANDO       VAZQUEZ                  TX           90010777486
24B2B28717B449   JAVEL          EVANS                    NC           90012622871
24B2B761871935   OTIS           TRAMMELL                 CO           90000827618
24B32663931453   LACEY          HENDRIX                  MO           90010306639
24B33865591241   EMBER          HUNTER                   GA           90012988655
24B36925481644   ERIC           JONES                    MO           90009939254
24B38559584364   JOSE           PUGA                     SC           90013105595
24B39726572B42   EDGAR          ROMERO                   CO           90012097265
24B4228739794B   LAKIESHA       MINOR                    TX           90002622873
24B4685645B161   CHRISTOPHER    SMITH                    AR           90014208564
24B4785A591953   TRAY           WILSON                   NC           90015078505
24B48589231453   MICHELLE       BAIK                     MO           90010405892
24B48898A7B423   HENRIETTA      SMITH                    NC           90008428980
24B4B286391828   HAZEL          MILLER                   OK           90012662863
24B5233AA5B571   JUAN           ALVAREZ                  NM           90010503300
24B57488872B42   AMANDA         NEWTON                   CO           90013054888
24B58698272B88   LAURA          BUSBY                    CO           90004916982
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24B5B893A91541   GUADALUPE       APODACA                 TX           90000148930
24B6126864B28B   DENNIS          ZAGER                   NE           90013002686
24B61A3A191541   LEO             MELENDEZ                TX           90012850301
24B63438391541   JUAN            LOPEZ                   TX           90009284383
24B64A98855957   SHILA           HARRIS                  CA           90012840988
24B6754262B27B   SHERTI          HENDRIX                 DC           90011615426
24B6779735B271   RHANDI          THOMPSON                KY           90013847973
24B71211472B32   MIGUEL          FLORES                  CO           90011062114
24B7242495715B   JOSE            ARANA                   VA           90005344249
24B73245A91522   RAUL            BAUTISTA                TX           90011942450
24B74622572B88   TONY            MAUBACH                 CO           90014386225
24B7499A291541   JUAN            SERRANO                 TX           90014729902
24B78493691241   JONATHAN        PERAZ                   GA           90011904936
24B7864A972B88   FRANCISCO       GARCIA                  CO           90013066409
24B81358772B42   JACKIE          TORRES                  CO           33006813587
24B8152359184B   KENAN           FRIDAY                  OK           90012845235
24B81678771935   KEOKI           SMYTHE                  CO           90014266787
24B81A72491541   VICTOR          CORTEZ                  TX           90013410724
24B8234A32B27B   CHRIS           EDWARDS                 DC           90013813403
24B88362391541   ISABEL          PINEDA                  TX           90010853623
24B9295A75B271   BRIAMA          GROVES                  KY           90011689507
24B95378891828   GREGORY         KIRBY                   OK           90013283788
24B9657185B571   DENISE          GERSBECK                NM           90001485718
24B97147791541   CYNTHIA         SCHAFER                 TX           90002221477
24B98333291522   ALEX            G.                      TX           75083113332
24B9B51517B449   SADRIGA         GIBSON                  NC           90009315151
24BB3A33961999   FELICIANO       ARREARAN                CA           90012570339
24BB5A65972B73   ANNETTE         JACOBS                  CO           90009170659
24BB636397B435   DAILLA          PETERSON                NC           90010883639
24BB9599391522   MARIBEL         CHAVIRA                 TX           90011435993
25111957A3B388   AUGUSTINE       MADERA                  CO           90012219570
2511243624B281   JUSTIN          CHERRY                  NE           27044654362
25112A7A757157   DOUGLAS         ROSS                    VA           90010290707
2511453879794B   MICHAEL         CAPPS                   TX           90014875387
2511614827B471   SGASGS          GFGHSDF                 NC           90008241482
25116A1289136B   ABEGAY          VARGAS                  KS           90013940128
2511868544B588   ENRIQUE         RESENDIZ-CHAVEZ         OK           90012786854
2511934282B27B   JUSTIN          SHROUT                  VA           90012373428
2511973689794B   KENNETH         THORNTON                TX           90013547368
2512345165B271   EARNIST         GAITHER                 KY           90008594516
251237A3841245   JAKE            GRAY                    PA           90005837038
251239A5471943   ROSE            NELSON                  CO           90014229054
251241A479155B   DANTE           MONDRAGON               TX           90013001047
2512564444B588   LAKELL          FRANKLIN                OK           90011476444
2512656164B588   DIONNE          FORSHEE                 OK           90011425616
2512772595B571   JOHN            CHICK                   NM           90011727259
25128176A2B232   SHIRLEY         BENTON                  DC           90006541760
2513267819184B   MICHELLE        WILLIAMS                OK           90012346781
25136479A41245   CAREY           TWIGGER                 PA           90011824790
2513874A92B839   CLARENCE        KONERTZ                 ID           90006927409
2513B22177B449   JAMAL           DERR                    NC           90001822217
25142633772B32   DENISE          ALANIS                  CO           90011036337
251438A769189B   JESUS           HARO                    OK           90014348076
251441A897B471   DYLAN           LOPEZ                   NC           90011261089
2514553265B161   EDGAR           TEC                     AR           90013255326
2514832649794B   OBISPO          TAX                     TX           90013013264
2514931129155B   JOSE            LEOS                    TX           90001273112
2515672547B477   ANDREA          TOLBERT                 NC           11009687254
2515953859794B   REYES           RENDON                  TX           90002455385
2515B24A171928   CHARELS         WILSON                  CO           90013612401
2515B578255957   ANA             NEGRETE                 CA           90009445782
2516183AA84364   STOKES          LAKYSHA                 SC           19088518300
2516261724B261   MARY            MULDER                  NE           90014156172
25164A6675B271   JOSEPH          WILLIAMS                KY           90011250667
251661A3172B32   VANESSA         TOWNER                  CO           90012471031
2516644414B261   CRAIG           ROBERTS                 NE           90012534441
25167A38372B88   ARMANDO         FRANCIA                 CO           90002400383
2517176A991522   ROMERO MATIAS   MATIAS                  NM           90010957609
25172155A33B96   PATRICIA        LOMBARDO                OH           90014041550
2517352629794B   EDUARDO         TOC                     TX           90014915262
25174794A31631   AMANDA          COX                     KS           90014567940
25175AA8281661   HEATHER         TARBOX                  MO           90010990082
25177154172B32   KENT            MARTIN                  CO           90015181541
25177A66872447   ELAN K          THOMPSON                PA           90010730668
25185315A9136B   EDWIN           MEJIA                   KS           90012873150
2518958A45715B   OSCAR           BERDUO                  VA           81069435804
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251911A379136B   STEPHANIE       MURILLO                  KS           90013941037
2519174655715B   WILMER          BNILLA                   VA           90012877465
2519291837B471   TRIMECHIA       COE                      NC           90010459183
2519323339189B   RICHARD         TODD                     OK           90013712333
2519831317B477   MELVIN          HERRING                  NC           90011363131
25198A1A172B88   ADAM            KNAPP                    CO           90013800101
2519951A55715B   YOVANI          ARDON                    VA           90008125105
251B156382B27B   PATINA          WILLIAMS                 DC           90010235638
251B455425B571   JEREMIAH        WEIL                     NM           90011625542
251B734282B27B   JUSTIN          SHROUT                   VA           90012373428
251B784354B588   CECILIA         CAMPBELL                 OK           90010728435
251B7AA2941251   JONATHON        ECKERT                   PA           90012670029
251B8818655957   JOSEPH          TURNER                   CA           90011868186
251B942255715B   WILLIAM         SALGADO                  VA           90011634225
251B9565393731   MARIA           MORGAN                   OH           90013245653
2521133A572B88   SALVADOR        GUTIERREZ                CO           90011573305
2521361242B839   JUAN            HURTADO                  ID           90013716124
2521423399136B   KAREN           LINAREZ                  KS           90013942339
2521457393B388   STEVEN          MOORE                    CO           90001095739
25215643A4B588   JASON           CHASTEEN                 OK           90013716430
25217518A71928   JAMES           MCHENRY                  CO           90014675180
25219121272B32   MARIO           ORONA                    CO           90013221212
25223391A85938   JESSICA         JNES                     KY           90004233910
25225295372B32   LANEY           BECKER                   CO           90010752953
2522895A89136B   ASHLI           FLETCHER                 KS           90010939508
252297A517B477   SHAMIKA         CONTTON                  NC           90010807051
2522B17925B271   ALISHA          CARGILL                  KY           68039521792
2522BA98891525   CARLA           MORENO                   TX           90008770988
2523499382B839   ELIZABETH       CERDA                    ID           90014719938
2523728255715B   EULOGIO         VALDERAMA                VA           81004282825
2523827885B571   PATRICK         ANAYA                    NM           90014622788
25239479472B32   JANELLE         BACA                     CO           90010604794
2523999A19136B   MONICA          CHAVEZ                   KS           90013139901
2524274949189B   ROBIN           DEACON                   OK           90009067494
25243A3237B471   NADJA           FORD                     NC           11020860323
2524424917B471   MARTEEN         WOOD                     NC           90011262491
252442A879184B   FRANK           BOWMAN                   OK           90011872087
2524B44349136B   HORACIO         MARTINEZ                 KS           90014814434
2524B884151325   ERIC            DARPEL                   OH           90010898841
25251116A2B841   JOEL            LOPEZ                    ID           90009591160
2525299932B839   ELVIA           SANCHEZ                  ID           90003609993
25254119A71943   SADE            JOHN                     CO           90005351190
2525532544B588   PRISCILLA       JOHNSON                  OK           90014623254
25255984272B88   MICHAEL         BLAKE                    CO           90014249842
252592A734B588   LINDA           GREEN                    OK           90001642073
2526469532B839   LINDSAY         SALINAS                  ID           90012866953
2526553514B588   RACHAEL         CAMBRON                  OK           21537965351
252686A5272447   PAUL            ACKLES                   PA           51055576052
2527377578594B   STACI           FERRELL                  KY           90001047757
2527461549155B   MIRIAM          CHAVEZ                   TX           90007906154
25275992A4B588   DON             DANIELS                  OK           90011959920
2527681812B839   ERIC            DE LA CRUZ               OR           90013968181
2527821592B839   HOLLY           FRANK                    ID           90010802159
2527821719155B   CAROLINA        SERRATO                  TX           90012382171
2527831775B271   ROSA            GLENN                    KY           90013933177
2527B46272B839   GEORGE          SNIDER                   ID           90014564627
2527B8A3471928   JOSUE           MCGEE                    CO           90014088034
2528227169136B   SERGIO          GALINDO                  KS           90013852716
2528374A272B32   JOSE            OCON                     CO           90013497402
252855A342B232   NICOLE          ROBINSON                 DC           90005315034
2528764595B571   LUISA           MARTINEZ                 NM           90014726459
25287A48851329   TYLER           HAYS                     OH           90012620488
25287A65481637   JOSE            GUZMAN                   MO           90012490654
2528851745B271   HAROLD          LIDDELL                  KY           90014685174
2529212219794B   TATYANA         MITCHELL                 TX           90014641221
2529427885B571   PATRICK         ANAYA                    NM           90014622788
2529446315715B   JOSE            MOLINA                   VA           90012884631
2529649859155B   JOSE            ORNELAS                  TX           90005424985
2529719A69136B   ORIDANIA        ORTIZ                    MO           90011531906
2529769425753B   DANIEL          HIGGINS                  NM           90014826942
2529857219155B   WILLIAM         GUTIERREZ                TX           90014605721
2529857295B161   KIMBERLY        MOORE                    AR           90015205729
252B157479184B   CRISTOPHER      MORALES                  OK           90013925747
252B2441497B4B   ALFREDO         NUNEZ                    CO           90006064414
252B4367A4B588   LATASHA         MISHION                  OK           90010543670
252B681865B571   ANGEL           GONZALES                 NM           90014588186
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252B691719189B   STACY          VILLAPANDO               OK           90013929171
252B756385B571   JESUS          SANCHEZ                  NM           35010355638
252B8246831433   BRIDGETTE      WATSON                   MO           90011712468
252B9486881661   EDITH          CARREON                  MO           90014914868
252BB22577B471   DA             DA                       NC           90014172257
2531375286196B   RATHANA        NAM                      CA           90012607528
2531827A391522   ELIZABETH      SANCHEZ                  TX           90004992703
2532179665715B   SANDRA         CENTENO                  VA           90008437966
2532514179136B   SCOTT          MCINTYRE                 KS           90010221417
2532517759155B   SAMANTHA       HUNNICUTT                NM           90012851775
2532739769155B   GENOVEVA       MILAN                    TX           90013353976
2532748579136B   THIRD          BOYD                     MO           90007354857
2532B1A7555957   ARTHURO        GONZALEZ                 CA           90006551075
253331A329155B   MARIBEL        OLIVERA                  NM           90009231032
2533369392B27B   EDDIE          PALEMR JR                DC           90005546939
25335268272B88   RYAN           REYNOLDS                 CO           90013002682
25337A9A59794B   PAULINO        THEODORO                 TX           74068900905
253384A5191522   CARLOS         BUSTAMANTE               TX           90009954051
2533894744B592   TIFFINE        JOHNSON                  OK           90012339474
2533951A99794B   SHEA LYN       BLOCKER                  TX           74079765109
2533B421754123   SANDRA         PARKER                   OR           90008634217
2533B87749136B   VICENTE        RODRIGUEZ                KS           90011988774
253416A479189B   RITA           JACKSON                  OK           90008706047
25341A1559184B   BETTY          VISOR                    OK           21087310155
25341A87481661   JENNIFER       ORTEGA                   MO           90012270874
253421A2755957   LORENZO        GUTIERREZ                CA           90013271027
2534257A44B588   RODRIGO        JAUREGUI                 OK           90013365704
25342A15791522   JOSE           TORRES                   TX           90012040157
2534549555715B   LUIS FELIPE    MIRA                     VA           90009944955
2534582779189B   CASEY          PETRUNAK                 OK           90009508277
2534672939155B   SAMUEL         MARTINEZ                 TX           75083197293
2534743817B471   WALTER         ROSA DE PAZ              NC           90012314381
25347A2A171928   HAROLD         BRIDGERS                 CO           90012210201
25348A69757157   CANDICE        BIBBS                    VA           90010970697
2535464359184B   BRITTANI       CANDIOTO                 OK           90013226435
25361638272B88   JOSUE          SANCHEZ-SOLIS            CO           90012716382
2536226989136B   LATREECE       ESTES                    KS           90014712698
2536333849155B   ARMANDO        ESCOBAR                  TX           90008693384
253647A165B571   MERCIE         APODACA                  NM           90012667016
25365423A91522   CLAUDIA        SILVA                    TX           90012904230
2536947977B423   DARICK         JONES                    NC           90011964797
25369547A7B449   ARTURO         TEPOZ                    NC           90001035470
2536B586971943   QUOC           HUONG                    CO           90010305869
2536B62819155B   SILVANA        BECERRA                  TX           75007066281
2537183A75B271   STEVE          RIOS                     KY           90009568307
25371957972B42   CHRIS          HAMMERBERG               CO           90013109579
2537369195B571   TANYA          BELONE                   NM           90009906919
25375652A4B261   MARCI          OWENS                    IA           90010956520
25375814A91522   CARMEN         HENRIQUEZ                TX           90014858140
2537698844B261   CALETA         SMITH                    NE           90010959884
2537724A14B281   DAVON          WYNNE                    NE           90014852401
253799A764B588   DENISE         TOLSON                   OK           90008889076
2537B318881637   DERRAE         DAVIS                    MO           90012943188
2538327887B471   CAROLE         BROWN                    NC           90014852788
2538385369136B   TERRY          HAMILTON                 KS           29050728536
25385928472B32   EDUARDO        OCHOA                    CO           90015189284
2538612A772447   EBONY          JACKSON                  PA           90013981207
25388944A5B161   MARILIN        MORALES                  AR           90014119440
2538B254A2B27B   TYRONE         BENNINGS                 DC           90010992540
2538B338651328   BENNY          ADKINS                   OH           66072073386
2538B74875B161   HEATHER        BRIGGF                   AR           90014647487
25393144172B88   TITUS          BLOSSER                  CO           90009321441
25393585A9136B   LASHELL        WILLIAMS                 KS           90014855850
2539375499189B   DAVID          VALDEZ                   OK           90011627549
25394378572B88   MICHELLE       NAVA                     CO           90011573785
2539461A48432B   YURI           TOLEDO                   SC           90011216104
253985A169184B   SERGIO         GARCIA                   OK           90010685016
2539B983872B32   NICOL          SYVERTSON                CO           90013159838
253B276254B281   AUTUM          ATHAY                    IA           90013947625
253B381689794B   PATTY          NAVARRO                  TX           90008738168
253B397739155B   JOSE           HOLGUIN                  TX           90013329773
253B4381472B88   LOUISE         BAILEY                   CO           33033163814
253B447414B588   JUDITH         AGUIRRE                  OK           90014544741
253B5833931631   ALFRED         ANGEL                    KS           90010488339
253B6336372B88   DERON          JOHNSON                  CO           90009693363
253B731177B471   ROBERT         BRAWLEY                  NC           90013363117
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253B7773357157   JEROME         CARTER                   VA           90006237733
253B9127776B4B   ALI            ESLAMI                   CA           90000541277
2541135779155B   VIRGINIA       LUDWIG                   TX           90009813577
2541295179136B   SATRINA        DOYAL                    KS           90001269517
25414167A4B588   ALEXANDRIA     WOODMANSEE               OK           21510661670
2541462745B271   BARBIE         PARKER                   KY           90007196274
254158A289155B   MARTIN         BETANCOURT               TX           90012668028
254165AAA4B588   TAYLOR         WOODS                    OK           90013645000
2541725125B161   RODNEY         WARREN                   AR           90010832512
25417A4339155B   CRYSTAL        CASTREJON                TX           90010210433
25421743A5B271   ASHLEY         JENNINGS                 KY           90008717430
25421A81971928   CHANTRY        CAMPBELL                 CO           90012740819
2542235379184B   LANA           TURNER                   OK           90014353537
25424784A91522   LILIA          FLORES                   TX           75035197840
2542642A771943   MARISOL        SALGADO                  CO           90008274207
25427AAA951328   MARY           KELLEY                   OH           90010160009
2542849677B477   ALEXUS         LEE                      NC           90011154967
2542921547B477   TIMOTHY        GUINN                    NC           90011892154
25429A7277B477   TIMOTHY        GUINN                    NC           90011480727
2542B12A981661   SANDRA         MELGAR                   MO           90014181209
2543377774B261   MODESTA        LEDESMA                  NE           90014237777
2543727365715B   NORMA          NOLASCO                  VA           81012932736
25437A46591828   DESIREE        GRAFF                    OK           90012230465
25439686A5B161   TIM            VAUGHAN                  AR           23092886860
2544556425715B   OBED ISAI      ARQUETA                  VA           90013085642
2544621349184B   TOMIKA         VERSER                   OK           90011242134
2544957222B27B   WILLIE         GLOVER                   DC           90014715722
2544B644757157   JENNIFER       RAWSON                   VA           90013486447
2544B7A1572447   DANIELLE       REDMAN                   PA           51041827015
25451197A81637   REBECCA        VOORHEES                 MO           90008001970
25455A13531453   MARIE          BECNEL                   MO           90010430135
254568A722B27B   LEONARD        SMITH                    DC           90011968072
2545781882B839   ASHLEY         ROBINSON                 ID           90013938188
25459422572B88   MARIA          MARTINEZ                 CO           90011574225
2545986899184B   CHARLES        WALKER                   OK           90013868689
2545B396793731   SIA            ROBINSON                 OH           90012953967
2546227525B161   SHAMIKA        BOXLEY                   AR           90014822752
2546371252B839   JUDY           GERHLS                   ID           90015237125
25467643972B88   MELINA         MARTINEZ                 CO           90011576439
2546866934B588   ANITA          FLORES                   OK           21582096693
2546947799136B   ROSA           GARCIA                   KS           90014564779
2546B31514B261   ABRAHAM        GARANG                   NE           90012793151
2547615855B271   CHRIS          SOTO                     KY           90010101585
2547B627A51328   MICHAEL        STEGEMOLLER              OH           90009586270
2547B88359155B   ANGEL          HERRERA                  TX           90013008835
2547B9A1431433   JOEI           LANGCASTER               MO           27567599014
2548111279794B   VERONICA       DIAZ                     TX           90013681127
25482257372B88   LOURDES        MONARREZ                 CO           90002072573
254838A3471928   JOSUE          MCGEE                    CO           90014088034
2548716A181637   NINA           ANDERSON                 MO           29002011601
254875A3241245   JACQUELINE     DOUTHETT                 PA           90010545032
2548B73335B161   TIFFANY        COULTER                  AR           90014957333
25491161872B88   JESENIA        BERNAL                   CO           90012921618
254916A5257157   CHARLIE        COLATO                   VA           90010606052
25493492572B88   VALENCIA       LOPEZ                    CO           90002834925
25494275A81661   IVAN           PACHECO SANDOVAL         MO           90014182750
254942A5281633   JERMAINE       BROWN                    MO           90014902052
254948A384B588   TIMOTHY        BRADFORD                 OK           90010558038
254965A7371943   CODY           NORTON                   CO           90014115073
2549779A381661   JADERAH        ROBINSON                 MO           90008987903
2549933215B571   ELSPERANZA     LAURENCE                 NM           90010093321
254B3954481637   JUAN           ARAGON                   KS           90013859544
254B519599155B   ELIZABETH      CAMACHO                  TX           90011541959
254B5569391828   TAMMIE         DAVIS                    OK           90008725693
254B594447B471   PABLO          MARTINEZ                 NC           90010459444
254BB31595B271   JOHN           CAPPS                    KY           90003693159
25516833172B42   RICKY          BIASAIDO                 CO           90010208331
25518A6A681637   SHANE          WOOD                     MO           90014460606
2551B452A9794B   ADELINA        CARADANAS                TX           90000284520
2552135893B364   SURAFEL        MOHAMED                  CO           90011623589
2552235893B364   SURAFEL        MOHAMED                  CO           90011623589
255227A3372B88   BRANDON        CHAVEZ                   CO           33034757033
2552339959794B   LAUNITA        LLANAS                   TX           90008733995
2552434699794B   ANTONIO        SALAZAR                  TX           90013933469
2552639289794B   ERICK          MIRANDA                  TX           90013933928
2552765727B477   MAURICE        YOUNG                    NC           90011446572
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25529452A9794B   ADELINA        CARADANAS                TX           90000284520
2552B24434B261   DAWN           KELLER                   NE           90009852443
2552B886A72447   MICHAEL        BECKOWITZ                PA           90013478860
2553244A157157   EMIL           ALVAREZ                  VA           90012674401
2553368759794B   TOBIA          WASHINGTON               TX           90010396875
2553B767593731   MITCHELLE      DIXON                    OH           90004307675
25541363A9136B   CARLOS         YUMAN                    KS           90013953630
25541828472B88   ISAIAH         GARCIA                   CO           90012858284
2554468759794B   TOBIA          WASHINGTON               TX           90010396875
2554477159184B   TARA           GRAY                     OK           90010557715
255466A5457157   OSCAR          RIVERA                   VA           90010896054
2554686875B271   JOSH           EDWARDS                  KY           90011468687
25551A5365715B   JONAH          BRYANT                   VA           90010380536
255542A7881633   CHRISTOPHER    MORGAN                   MO           90014412078
2555547A17B477   ASHTON         JACKSON                  NC           11089534701
2555646625B571   ANSELMO        CHAVEZ                   NM           90011634662
25557682672B32   CECILIA        TRUJILLO                 CO           90012826826
2555947429794B   BILLIE FAYE    WORKMAN                  TX           90013954742
2555999885715B   EDEN           COLINDRES                VA           90009529988
2555B367957157   HECTOR         VASQUEZ                  VA           90013383679
2556122984B261   JAKOB          DAVIS                    NE           27017832298
255634A7672B42   MAVIS          LEVY                     CO           90012844076
2556776A65B571   EVANGELINE     BACA                     NM           90009807606
2556831879198B   LOUIS          ORJI                     NC           17065103187
2556944949184B   ARONICA        PAYNE                    OK           90014704494
2556B54A12B839   VINCENT        ANDREW                   ID           90012955401
2557148774B588   TYLER          MARCHESE                 OK           90012574877
255739AA12B394   JULIA          RODRIGUEZ                CT           90014449001
2557476824B588   VERONICA       RIOS                     OK           90012337682
2557573685B161   JERRICA        MASON                    AR           90011017368
25575A3A99184B   TYLER          GATTIS                   OK           90013830309
2557656789184B   SHELBY         KEITH                    OK           90015285678
2558328A35B271   JESSICA        DAVIS                    KY           90013582803
2558496535B271   REYCHELLE      ADAMS                    KY           90014129653
2559168A781661   PATRICK        GERRING                  MO           90014186807
2559528445715B   ELDA           CAZANGA                  VA           90013642844
25595738672B32   EDGAR          ANGULO                   CO           90009137386
25596147A72B98   MARIA          BANUELOS                 CO           33014601470
255962A2A81633   ANGELA         MACDONALD                MO           90010622020
2559827929155B   CLAUDIA        GARCIA                   TX           90013682792
2559B18472B27B   MOE            PARKER                   DC           90014581847
2559BA7324B588   REVIS          HALEY                    OK           90014830732
255B146A15B161   JOSHUA         RHODES                   AR           90012884601
255B153A457157   WILMER         ORTEZ                    VA           90009005304
255B2467171928   JUANA          LANZAS                   CO           90012994671
255B2616771928   ALLEN          MATOXEN                  CO           90013016167
255B2669A7B471   THEODORE       KENNEDY                  NC           90013226690
255B2832157157   JENNIFER       HERCULES                 VA           81004718321
255B382244B588   CHRIS          BRANSCUM                 OK           90003148224
255B4158172B32   JACLYN         TRIZIO                   CO           33044891581
255B483959155B   MOE            BROWN                    TX           90014578395
255B591699189B   CRYSTAL        HOLMAN                   OK           90007289169
255B6222177541   JESUS          MORA CARRILLO            NV           90002612221
255B6593571943   ED             WILLARD                  CO           90010255935
255B6816257157   DAYNA          GILLIS                   VA           81061988162
255B6988A9794B   MODESTO        RODRIGUEZ                TX           90011929880
255B737A59189B   GERARDO        HERRERA                  OK           90011633705
255B8436771943   JEANETTE       POWELL                   CO           90003724367
255B858794B281   WILLIAM        HAYNES                   NE           90013695879
255B8972457157   ELIZABETH      CARLUS                   VA           90015339724
255B972579136B   DAN            PETERSON                 KS           90011167257
25611A83691828   FELIPE         VAZQUEZ                  OK           90008510836
25612351A9136B   MILAGROS       GUZMAN                   KS           90007543510
25612AA724B588   JESSY          BROWN                    OK           90011960072
25614894872B32   CIJI           RAMIREZ                  CO           90013258948
25614A8224B588   CHRISTIAN      RHODES                   OK           90014810822
256163A1A9794B   YAJAHIRA       GOMEZ                    TX           90007793010
2561646A15B571   ROSE           SNOW                     NM           90013154601
2561974695B161   EBONY          GETER                    AR           23060497469
2561BA86A7B477   LANYIA         MCCOLLOUGH               NC           90011190860
2562143A35B571   BLANCA         VALLES                   NM           90014604303
25621953872B32   DAWN           BARTOLONE                CO           90014059538
2562457819184B   APRIL          WILLIS                   OK           90013925781
2562498352B27B   DON            JACKSON                  DC           90014909835
2562695124B588   BRANDON        SMITH                    OK           90014569512
2562972A231453   ASHLEY         WILKERSON                MO           90012227202
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2562976839136B   MELISSA        BRIONES                  KS           90009077683
2562B495A81661   MISHEL         RODAS                    KS           90009204950
2562B742631466   LISA           OWENS                    MO           90013437426
25632499672B88   JOSE           GONZALEZ                 CO           90013874996
25634A89731631   DAVID          FLEMING                  KS           90009660897
2563558255715B   ALEJANDRO      NGEL                     VA           90013165825
25636484A7B362   NARGIS         DANISHMANDI              VA           81017654840
2563B27522B27B   ANIBAR         MARTINEZ                 DC           90012882752
2563B885A72B32   DESEAN         MBROWN                   CO           90013008850
25641AA6991828   MARISOL        RAMIREZ                  OK           90012430069
2564225987B477   MICHAEL        TURNER                   NC           90013052598
2564284139136B   RAYMOND        GOSLING                  KS           90013968413
2564344349136B   HORACIO        MARTINEZ                 KS           90014814434
25643973A57157   LATRICE        JONES                    VA           90014509730
25645785472B88   MARIBEL        PRADO                    CO           90015127854
2564746694B588   TOMMY          WOODS                    OK           90010564669
256525A399184B   LUISA          SUAREZ                   OK           90009575039
2565484139136B   RAYMOND        GOSLING                  KS           90013968413
2565684139136B   RAYMOND        GOSLING                  KS           90013968413
2565B566655931   VICKY          BECERRA                  CA           90009385666
2566273A15B571   AMBER          SPIERS                   NM           90002037301
2566349779794B   JOSE           SILLNAS                  TX           74001704977
256636A2672B42   JASON          FIMPLE                   CO           90009726026
2566644785715B   KENNY          ANDRADE                  VA           90011654478
25667121272B32   MARIO          ORONA                    CO           90013221212
2566964A49136B   ESTRELLA       GONZALEZ                 KS           90014876404
2567111634B553   JENNIFER       MIX                      OK           90011331163
2567172647B471   BRAULIO        ALBAREZ                  NC           11077687264
25672121272B32   MARIO          ORONA                    CO           90013221212
25672A96A9794B   LESLIE         CHAVEZ                   TX           90014610960
2567382934B261   JUAN           GARCIA                   NE           90008158293
2567387464B588   STEVEN         HAYS                     OK           90014038746
25673A4579155B   OLIVAREZ       MARIA ANA                TX           75031130457
2567428755B161   JONATHAN       ASSADI                   AR           90010982875
2567566462B27B   OIHKLHL        FGJHFKUYK                DC           90009986646
2567795977B471   AMIKAR         ESCALANTE                NC           90012989597
256795A279189B   CHANDRA        HARRISON                 OK           90014705027
2567B487471943   DANIEL         CARTAJENA                CO           90011054874
2567B514691828   DAVID          SMITH                    OK           90003655146
2567B67369794B   ANA            TZUNUN                   TX           74018056736
25681683A5B33B   KENNETH        LIEBL                    OR           90011626830
25682255972B32   VICTORIA       CABALLERO                CO           90012952559
25682477A72447   KEITH          WHITNER                  PA           90010324770
256845A669794B   PAUL           PRADO                    TX           90014615066
2568486419155B   JESUS          PALACIOS                 TX           90014578641
25686298A2B27B   ASLEY          SPENCER                  DC           90012122980
2568B585655957   BRENDA         GUZMAN                   CA           90013635856
2568BA11A5715B   GENESIS        CASTILLO                 VA           90013760110
2569186419155B   JESUS          PALACIOS                 TX           90014578641
2569448837B471   CESAR          ZALAZAR                  NC           90011854883
2569467854B261   JULIO          ROSAS                    NE           90013556785
25695727272B32   DAMARA         HERNANDEZ                CO           90013307272
256999A469184B   ROBERT         BENNETT                  OK           90015189046
256B144755B571   ARMENDARIZ     THOMAS                   NM           90008184475
256B1591831453   DONMINCK       LEWIS                    MO           90014235918
256B266299794B   SALVADOR       CORREA                   TX           90014176629
256B366585B936   DAVID          GESELLCHEN               ID           90013866658
256B429442B232   DEVIN          STOKES                   DC           90005352944
256B4651A93731   JOANNE         COSPY                    OH           90013466510
256B5348797132   KENDALL        BANKS                    OR           90007733487
256B56A524B281   DAVID          DURHAM                   NE           90005436052
256B6783A71928   SARAH          CASDEN                   CO           90011307830
256B755319136B   TOMAS          ROJAS                    KS           90013955531
256B762269184B   JAVIER         TORRES                   OK           90013806226
256B863944B281   RENAE          KECK                     NE           90010156394
2571137965715B   ANA            MENDOZA                  VA           90011383796
2571322695B271   TANCE          MILLER                   KY           90008412269
257177A8671928   PAUL           ANDERSON                 CO           90013767086
2571799519155B   DANIEL         RODRIGUEZ                TX           90011139951
257187A8255957   CLAUDIA        FREDRICK                 CA           90012907082
257192A7872B32   CALVIN         BONNELL                  CO           90013042078
2572264324795B   JACOB          SKELTON                  AR           90012086432
2572322869184B   EDUARDO        SALGERO                  OK           21077842286
257253A224B588   RUBEN          BERMUDEZ                 OK           90013753022
2572541259794B   LAVETTE        ARNOLD                   TX           90014644125
257254A217B477   BONNIE         WHITLEY                  NC           90011214021
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257264A217B477   BONNIE          WHITLEY                 NC           90011214021
25726A8199136B   ALBERTO         VASQUEZ                 MO           90015180819
2572719954B261   ANGELA          WILLIAMS                NE           90013901995
2572726759155B   YVETTE          CARRASCO                TX           75079012675
2572773A15B571   AMBER           SPIERS                  NM           90002037301
2572845A372B42   LASHAY          ADAMS                   CO           90011304503
2572957549155B   MARIA           CHAVEZ                  TX           90011545754
2573185629155B   MOISES          LANDEROS                TX           90011328562
25734441572B53   MICHELLE        NOLL                    CO           90001564415
2573483459155B   EVELIN VARGAS   GAEZ                    TX           90004618345
2573494575B161   RAVEN           HAWKINS                 AR           90014809457
25736941172B42   BALLAR          CHRISTOPHER             CO           33075369411
2573889512B839   KEVIN           MCCLOUD                 ID           90011208951
25738A5295B161   MICHELLE        BARNETTE                AR           90011050529
25739779A31453   GERALDINE       JEFFREY                 MO           90009687790
2573B1A8172B42   MARLON          MONZON                  CO           33031541081
25744AA399155B   DEBRA           LOPEZ                   TX           90010710039
2574628219155B   ADRIAN          RIVAS                   TX           90011992821
257463AAA71928   LEANN           DERK                    CO           90006813000
25746436A2B27B   BOLANLE         OLUFISOYE               DC           90014284360
257466A944795B   SAUNDRA         TAYLOR                  AR           25035816094
2574693447B471   GINNY           SAEFONG                 NC           90014369344
25746A78151328   KYLE            BISHOP                  OH           90012850781
25748615A4B261   JERMEY          THOMAS                  IA           90014956150
25748A68481633   SUMMER          DIXON                   MO           90005330684
257494A5271928   MELISSA         ABBPTT                  CO           90012904052
2574B293772B42   GUADALUPE       MUNOZ                   CO           33002322937
2574B66649794B   MICHEAL         HOWELL                  TX           90004766664
257512A7A5B271   ASHLEE          CORNELL                 KY           90013032070
2575BA95172B42   TEAGUE          HARRISON                CO           90013080951
25765A5732B27B   QUANITA         SINGLETARY              DC           90010250573
2576656385715B   JUAN            LEMUS                   VA           81043455638
25767197A7B471   MI              RAHLAN                  NC           90013921970
2576856169136B   JANNETH         ASTORGA                 KS           90012665616
2576959845B161   TRACY           HEARD                   AR           90014915984
2576B753251328   JEREMY          DAYTON                  OH           90011147532
25772153872B32   ZENA            BARRERA                 CO           90013621538
2577259735B571   JACQUELINE      MARCOTT                 NM           90014605973
2577728624B261   LQUAITA         RUSSELL                 NE           90011092862
2577836864B261   JESSICA         HANSON                  NE           27082943686
25781974572B32   PACZOSA         MELISSA                 CO           33024929745
257833A2172B32   DEBRA           COHEN                   CO           90014803021
257862A7372B32   JOSHUA          MCCULLEY                CO           90013122073
2578896289155B   ADAN            MONTANEZ                TX           90014409628
25789A56431453   JEANETTE        EDWARDS                 MO           90013910564
2578B449872B32   JOSHUA          SEARS                   CO           90014464498
25791854472B32   JOSHUA          MARTINEZ                CO           90012858544
257923A4991522   KRISTOPHER      GERMANY                 TX           90010293049
2579359179189B   MICKEY          FRENCH                  OK           90014465917
2579912392B232   JAMES           NICKENS                 DC           90009141239
2579B19814B588   TAYONTE         BAGEY                   OK           90005481981
2579B479581633   LANA            TAYLOR                  MO           90009954795
257B1321171943   BRANDY          LINO                    CO           90013883211
257B4196991828   SCOTTI          QUIROZ                  OK           90008511969
257B461454795B   LAZARO          LOPEZ                   AR           25014456145
257B6977161935   MARTHA          AVILA                   CA           90012449771
257B7173771928   KIM             WICHERT                 CO           90012681737
257B771298B15B   FRANKLIN        RUIZ                    UT           90005407129
257B8554781633   PATSY           CHOWNING                MO           90001845547
257B8954731453   HANNAH          RUBIN                   MO           90013959547
257BB557271928   MONICA          RASCON                  CO           90014225572
257BB99AA9155B   JAIME           HOLGUIN                 TX           90011139900
2581167779136B   CAMERON         CRISP                   KS           90014746777
258128A542B27B   ANDREW          SEEGERS                 DC           90013448054
25812AA9971943   DIANA           ROMERO                  CO           32020730099
2581366954B588   MICHAEL         WELCH                   OK           90013046695
258144A6A93731   NOEL            CORTES                  OH           90012264060
2581474445715B   CARLOS          TORRES                  VA           90001877444
258163A5672B88   CLAUDIA         ORTEGA                  CO           90012763056
2581858452B27B   CATALINO        ASCENSIO                DC           90009835845
2581954152B839   KIRSTINA        TAYLOR                  ID           90008765415
2582232474B588   MANUELITO       VALLEY                  OK           90010573247
2582411365B571   VANESSA         MONTOYA                 NM           90007251136
2582411825B271   EDWARD          SAND                    KY           90012211182
258261A3A93731   LATASHA         KNIGHT                  OH           90004241030
2582738169794B   JAIME           MOSLEY                  TX           90014743816
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25828A5A12B839   MARIA          GONZALES                 ID           90013940501
25829832672B32   MICHELLE       COLLEEN                  CO           90012648326
25829A8847B471   WILFRED        CLEMENTE                 NC           90011770884
25829AA379155B   ALFREDO        SOTELO                   TX           90011140037
2582B855A9155B   DANIEL         ALCALA                   TX           90013298550
2583416889189B   JAMES          MILLER                   OK           90011651688
25834961772B88   LONNY          MONTOYA                  CO           90014399617
2583548179794B   ERIC           GARCIA                   TX           90007364817
2583549764B281   KANTRELL       HARRIGTON                NE           90013774976
258355A164B588   LEVI           PORTEN                   OK           90012445016
2583733275715B   BLANCA         VILLANUEVA               VA           90002323327
258385A2857157   ROBERT         ROTCHFORD                VA           90010845028
2583B27687B471   KAROL          RIVERA                   NC           90012752768
2583BAA439155B   RENE           PALMA                    TX           90011140043
258415A2857157   ROBERT         ROTCHFORD                VA           90010845028
25841A45171928   REGINA         RING                     CO           90012850451
2584241179189B   KAREEM         BROWN                    OK           90011924117
2584245895B571   KENNETH        MESSLER                  NM           90014594589
25842631A91889   LISA           COLEMAN                  OK           90004226310
258432AA972B32   ALDO           BONILLA                  CO           90013232009
2584578852B839   STEPHEN        KING                     ID           90011637885
2584671A49155B   MICHELLE       RODRIGUEZ                TX           90013057104
2584848AA91522   GUILLERMO      PRIETO                   TX           90012424800
2584874A85B271   ORQUIDEA       DIAZ-RODRIGUEZ           KY           90009307408
2584881267B422   ALFONSO        NARANJO GARCIA           NC           90012928126
2584896577B471   BRIONNA        RODDEY                   NC           90013799657
2584967692B839   ANTHONY        OHARE                    ID           90010226769
258521A8885951   JOSH           BOWMAN                   KY           66017501088
2585341A681633   SUSAN          SADDLER                  MO           90013554106
2585448954B261   SHAUNESSY      HENDERSON                NE           90008174895
25857412772B42   MEREDITH       ROZDILSKY                CO           33041134127
25862985972B32   REGINA         ARCHIBEQUE               CO           90013159859
25867786A72B32   KIMBERLY       TOVAR                    CO           90011037860
25868A3962B27B   PAMELA         PHILLIPS                 DC           90008050396
25868A45171928   REGINA         RING                     CO           90012850451
2587115937B471   CLAUDIA        MARTINEZ                 SC           90012801593
258713A2957157   JOSE           MENDEZ                   VA           90009963029
2587158A791522   VERONICA       SALAS                    NM           75044935807
25871A81881633   BRIAN          HOUSE                    MO           90012020818
258721A228B184   LORRAINE       ANDERSON                 UT           90007871022
2587737435715B   REINERIA       CASTRO LOPEZ             VA           81030373743
2587B382155957   JESUS          LARIOS                   CA           90012363821
2587B5A1872447   SUMMER         SAGER                    PA           90010265018
25882197172B32   JENNIFER       CUNNIGHAM                CO           33089011971
2588814912B27B   TAVON          BROWN                    DC           90014581491
2589142779155B   ARTURO         FERNANDEZ                TX           90009264277
2589238A772447   MINDY          PRAYER                   PA           90011183807
25892723A93731   ASHLEY         JOHNSON                  OH           90014447230
2589321399136B   ASHLEY         HUMERICKHOUSE            KS           90012002139
2589384972B27B   LEYON          ARNOLD                   DC           90009098497
258949A729189B   GARY           BRUMLEY                  OK           21088589072
25895468672B42   VINCENT        VIGIL                    CO           90011304686
25896845398B42   TYWON          CHAPMAN                  NC           90012528453
2589733212B27B   MACHELL        KORNEBAY                 DC           90011563321
2589867787B477   SHANNON        WILSON                   NC           90012446778
2589895945B342   JOSEPH         RANKINS                  OR           90015139594
2589918885B271   SHERRY         LINDSEY                  KY           90013671888
2589B362A4B553   CHRIS          WELCH                    OK           90010873620
258B111754B261   KARMINA        ORTIZ                    NE           90010961175
258B12A7272B32   PERICKS        ATAMBLUE                 CO           90013932072
258B1591A9794B   ROBERT         TREVINO                  TX           90011545910
258B24A275B571   LUIS           VALENZUELA               NM           90004244027
258B3443471928   DUSTEN         KENNEDY                  CO           90009374434
258B5A69757157   CANDICE        BIBBS                    VA           90010970697
258B6117771928   LORA           WILLIAMS                 CO           90014461177
258B656169136B   JANNETH        ASTORGA                  KS           90012665616
258B6AA3657157   YENI           GARCIA                   VA           90007790036
258B8536731432   REANE          SMITH                    MO           90010805367
258B8864172B32   JAIR           NUBE                     CO           90012898641
258B8A34A72B88   MITCHELL       MUMMA                    CO           90013020340
259121A942B839   KATHLENE       SPRADLIN                 ID           42087341094
259124A6A81633   ARMAND         BAKER                    MO           90014174060
25914698672B88   ANGEL          FERNANDEZ                CO           90013786986
2591522A39794B   DAVID          MITCHELL                 TX           90014802203
2591894514B281   NICOLE         TIMMERMANS               NE           90011209451
25919A17981633   ROXANA         ROMERO                   KS           90011900179
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2591B713471928   ROSEMARY       PRICE                    CO           90010917134
2592255529184B   RAVEN          CRABTREE                 OK           21073285552
259239A799155B   BRITTANY       BUTLER                   TX           90006749079
2592454975715B   JOSE           MARTEL                   VA           90009895497
2592536847B477   LASHAN         MANN                     NC           11014623684
25925577A91522   EDGAR          GARCIA                   TX           75082475770
259261A125715B   EVELISSE       SANTIAGO                 VA           90014161012
25928A77641245   JOANA          MORALES                  PA           90008680776
259329A5791828   ELSO           JUAREZ                   OK           21088829057
2593386575715B   DANIEL         HERNANDEZ                VA           90012228657
2593542629189B   MIRIAM         JONES                    OK           90011654262
2593B861141245   MARCUS         FRITZ                    PA           90011838611
25941239972B53   RICHARD        TERRY                    CO           90005672399
2594218674B549   TERRY          PARKER                   OK           90010051867
25943375972B42   JOHN           MYERS                    CO           33001593759
2594377485B571   DANIELLE       SNIDER                   NM           90013067748
259444A1785925   JOHNATHON      HENSLER                  KY           67083544017
259444A3772B88   GUSTAVO        CASTNEDA                 CO           90012874037
2594657AA4B261   ROBYN          CHRISTOFFERSEN           NE           90015025700
2594948A331453   MARCUS         HAYES                    MO           90013374803
25949811A72B42   EDDIE          SONS                     CO           90010358110
2594B324881661   JENIFER        MENCIA                   MO           90011373248
25954A95693731   CATRINA        ELY                      OH           64526330956
25955A5947B471   JACOB          GONZALEZ                 NC           90014440594
259564A1372447   RICHARD        SIMMONS                  PA           90013634013
2595848419155B   JOSE           RIVERA                   TX           90012964841
2595B6A979136B   HUSS           KEY                      KS           90012666097
2595B994571943   DARRYL         WILLIAMS                 CO           90015129945
2595B99AA9155B   JAIME          HOLGUIN                  TX           90011139900
25963468A9155B   ADRIAN         GALINDO                  TX           90014754680
25964458A93731   BRIAN          GARBER                   OH           90012854580
2596743369184B   ASHLEY         WILLIS                   OK           90014684336
259683A7281661   OSCAR          RODRIGUEZ                KS           90012023072
25971A5832B839   SHAWN          BAKER                    ID           90013420583
25971A83A51365   DENSON         CONN                     OH           90002290830
25973239A9189B   HORACE         RAY                      OK           90014572390
259744A3781637   RICK           TESCHKE                  MO           90003454037
25974882672B42   JOHN           ADAMS                    CO           90012298826
259778A215715B   JORGE          RENTAS                   VA           90012878021
25977A45A72B32   LORA           LAGUARDIA                CO           33040140450
2597B589631631   ZACHARY        CARNAHAN                 KS           90010925896
2598537385B161   KELLEN         SUMMONS                  AR           90007663738
25985918772B42   ASHLEY         SANCHEZ                  CO           90013659187
2599153A85715B   MORENA         PINEDA                   VA           81087805308
2599182779136B   JONATHAN       PAINE                    KS           90010958277
2599331A99155B   ARIANA         VILLARREAL               TX           90013683109
25993A32455957   YOLANDA        PACHECO                  CA           90012340324
25996634872B88   MATTHEW        CRUZ                     CO           33056386348
2599693A87B471   CHRISTOPHER    FLETCHER                 NC           90014119308
2599843952B27B   TIANA          SMITH                    DC           90012904395
2599967A681661   PAMELA         CASTEEL                  MO           90003036706
2599B87A351328   CHRISTINA      PAULEY                   OH           90014728703
259B3A64555957   GARY           JONES                    CA           90012560645
259B425A157157   NANCY          IZAGUIRRE                VA           90008402501
259B437224B582   EDIN           MALDONADO                OK           90005363722
259B4A8897B471   KINDAL         PERRY                    NC           90008260889
259B526424B588   LYDIA          PANTHER                  OK           90009172642
259B7711A85938   RAUL           CORTEZ                   KY           67069657110
259B8636291522   MICHELLE       GALLARDO                 TX           90011196362
259B991989155B   VINCENT        VILLARREAL               TX           90013009198
259BB263831453   TEIRA          HOWARD                   MO           90014562638
259BB282691528   MARISSA        ANCHONDO                 TX           90006532826
25B11234855957   MANUEL         MGANA                    CA           90010692348
25B11414571932   RUBEN          GARCIA                   CO           90011274145
25B1416A99189B   JOSE           MARTINEZ                 OK           90011601609
25B1451919713B   MARTIN         AVILA                    OR           90012495191
25B1497564B588   RAMON          RASADO                   OK           90014129756
25B15A7A19794B   MATEO          HUINAC                   TX           90010270701
25B17173393731   DAVID          RODGERS                  OH           90013591733
25B17A3849184B   ZAR            WIN                      OK           90012260384
25B18245681637   LEONARDO       HERNANDEZ                MO           90012862456
25B19132881637   KENNETH        SHEPHERD                 MO           90014711328
25B1B891581661   VITA           GRANT                    MO           90010978915
25B1B9A999794B   TEXAS DEPT     CRIMINAL JUSTICE         TX           90015009099
25B22318491522   VERONICA       HERNANDEZ                TX           90004953184
25B2246229136B   KELLY          SIMS                     KS           90012484622
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25B22748981661   ADAN            NAVARRETE               KS           29067667489
25B23537672B32   ROCKY           FEDERICO                CO           90009505376
25B2443559189B   MIREYA          RISSER                  OK           90012504355
25B24892281633   JILLIAN         HENDRIX                 MO           90008818922
25B2734A872B42   BRITTANY        BENDZ                   CO           90012483408
25B2957959189B   TRACI           HENDRICK                OK           90014465795
25B2B88829136B   KENNETH         POWELL                  KS           90002708882
25B3466AA93731   DAVID           JONES                   OH           90010376600
25B3669672B27B   JOSE            ORELLANA                DC           90010766967
25B36938551328   LOUIS           ROOK                    OH           66016799385
25B3BA43A4B588   MONEEK HOWELL   MICHAEL ROGINS          OK           90013230430
25B42419557157   MARVIN          RODRIGUEZ               VA           90014064195
25B42736472B32   SIMONE          HERRERA                 CO           90014457364
25B43869A71943   BRITTANY        YANCEY                  CO           90013748690
25B45429781661   TROY            JONES                   MO           90009974297
25B45A43A4B588   MONEEK HOWELL   MICHAEL ROGINS          OK           90013230430
25B4794535B161   SARA            HAMMER                  AR           90002549453
25B4835712B839   BETTY           CROCKER                 ID           90012533571
25B4981395B571   DEMARIUS        HARRIS                  NM           90014518139
25B49845655936   CHRISTINA       EMERY                   CA           90001508456
25B49A2239794B   WILMER          OROZCO                  TX           90012470223
25B52256A72B88   MIKE            MESFIN MEKONEN          CO           90013612560
25B53645855957   ALBA            CASTRO                  CA           90010626458
25B53772A9136B   TIFFANY         SIPPLE                  KS           90013937720
25B5567222B27B   KAMECIA         MALLORY                 DC           90011826722
25B58124941245   SEAN            MCPHERSON               PA           90011821249
25B58565172B42   JERRY           SCHELL                  CO           90009045651
25B58966431631   DEVIN           WERD                    KS           90013969664
25B5944214B588   JOSE            HERNANDEZ               OK           90015144421
25B5959152B27B   THERESA         DIXON                   DC           90013865915
25B61549991B35   MAYRA           DELGADO                 NC           90013845499
25B61A4129794B   CHRISTIAN       PAZ                     TX           90013310412
25B6272649794B   ARTURO          DURAN                   TX           90011847264
25B62A87691522   VERONICA        RAMOS                   TX           75068020876
25B64892593743   ELANIA          SPAMM                   OH           90008958925
25B65562131631   PHILLIP         HAINES                  KS           90010485621
25B68195A9155B   SUSAN           LOPEZ                   TX           90012771950
25B6924824B588   JAMES           PRATT                   OK           90012852482
25B7142799794B   SHAMEKA         OAKS                    TX           90012874279
25B72462891828   CHASIDY         EDENS                   OK           90013274628
25B7257A481661   KHIYANDRE       BELL                    MO           90009785704
25B72A3258B16B   JOSHUA          THOMPSON                UT           90008090325
25B7324A35B271   JANET           STAFFORD                KY           68011732403
25B7384775B571   ERICCIA         DAVIDGE                 NM           90014518477
25B7398135B161   YAMESSA         BOHANNON                AR           90007809813
25B7443682B27B   ANNELL          BUGGS                   DC           90011124368
25B758A5381633   DONALD          NOBLE                   MO           90012328053
25B76975A7B471   HINNA           JOHNSON                 NC           90014159750
25B77333A9184B   KRYSTAL         IRVING                  OK           90013743330
25B79341931453   NIKO            DRAKE                   MO           90014143419
25B82424593731   TAMRA           WIKOFF                  OH           90011254245
25B85755A51328   THOMAS          SORRELL                 OH           90011327550
25B85A76457157   ALFREDO         HERNANDEZ               VA           90012960764
25B8674A92B839   CLARENCE        KONERTZ                 ID           90006927409
25B87799731433   MICHELLE        SANFORD                 MO           90010587997
25B8B5A685B571   JOSE            BENCOMO-CHAVIRA         NM           90011625068
25B92329A91522   MARTHA          JORDAN                  TX           90005613290
25B93745272B42   KATHRYN         PARENT                  CO           90011947452
25B93A3675715B   KIERSTA         WOOLFREY                VA           81065790367
25B95383472B32   JENNIFER        RODARTE                 CO           90012753834
25B9613889184B   MICHAEL         LAMB                    OK           90012851388
25B9659385B161   ARIHANNA        STARKS                  AR           90013355938
25B97189181637   RANDY           HALL                    MO           90012731891
25B9732175715B   ONELIO          VILLATORO               VA           90011633217
25B987A425B571   MAYTE           URBINA                  NM           90014587042
25B9944892B27B   MASUMA          CHOWDHURY               VA           90012714489
25B9975562B27B   NATALIE         THOMPSON                DC           90011327556
25B9B1A5A4B588   CASSANDRA       WELLMAKER               OK           90013231050
25B9B873A81687   MICHAEL         MAY                     MO           90002058730
25BB129785715B   SORAYA          DEL VALLE               VA           90012162978
25BB131A772B88   LEELEE          PEREZ                   CO           90013853107
25BB5964771943   JESUS           BUSTAMANTE              CO           32083429647
25BB7A17976B22   PAOLA           ORTIZ                   CA           90014210179
25BBBA6359155B   JESSE           YANEZ                   NM           90014140635
26111383A91953   TYSHELL         PERRY                   NC           90014613830
2611278689189B   JESSICA         HOLAHTA                 OK           90014867868
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2611459482B232   DONNA          PERKINS                  DC           90005825948
26118638172B32   FRANCISCA      STEVENS                  CO           90013506381
2612365469712B   QUAYSHAUN      SANDERS                  OR           90010556546
2612BA59555977   EDITH          CELIS                    CA           90012340595
2613113592B232   VICTORIA       BRANCH                   DC           90001971359
26133548372B29   ARIEL          BROUILLET                CO           90014355483
261361A2572B32   ANDREW         MONTOYA                  CO           90014071025
26136A51457157   ANTHONY        THOMAS                   VA           90012030514
2613B479191522   ELIJAH         TAYLOR                   TX           90010274791
2614437437B449   DWAYNE         WORTHINGTON              NC           90000613743
261454A4684364   JAMES          BROTHERS                 SC           90012874046
2614854279155B   EZEQUIEL       APARICIO                 TX           90010065427
2614886315B54B   MANUEL         HURTADO                  NM           90014638631
26149214A72B42   ANNMARIE       PRESTON                  CO           90014542140
261499A4A72B29   GEORGE         PALM                     CO           90012799040
2614B249355977   BENJAMIN       LIRA                     CA           90009792493
2614B57A991828   CANDACE        LOGAN                    OK           90010125709
2614BA8A44B261   NICOLE         DUFFIELD                 NE           90011010804
2615237165714B   MARVIN         MARQUEZ                  VA           90007493716
2615568A891522   GONZALE Z      AMANDA                   TX           90002546808
26155A8564795B   VELDA          ALANIS                   AR           90010330856
2615911949184B   ALLEN          HUBBARD                  OK           90013831194
2616146512B27B   TAQUISHA       BRANCH                   DC           90012324651
26164814572B32   CRISTHIAN      CARRASCO                 CO           90003358145
26167214A72B42   ANNMARIE       PRESTON                  CO           90014542140
26167476872B88   BRANDON        LOPEZ                    CO           90012794768
26168313572B32   JOSE           NUNEZ                    CO           90012503135
2617349529155B   ERIKA          TORRES                   TX           75096884952
26175991172B29   JUAN           MARTINEZ                 CO           33002119911
26176A84972B32   BERTHA         MORALES                  CO           33023420849
2617829324B592   SANTOS         HERNANDEZ                OK           90012732932
2617B793172B32   JUSTIN         TROUDT                   CO           90001457931
2618377465B161   SHOPIELYNN     LAISEN                   AR           90011087746
2618658914B261   ERNESTO        RIVERA                   NE           90012115891
26186738A4B588   CHASITY        WHITE                    OK           90013367380
26189829172B32   BRANDY         JONES                    CO           90011038291
26192131772B29   JEREMIAH       CHILDS                   CO           90008811317
26193AA4255977   ORLANDO        MENDOZA                  CA           90007990042
26194A4227B471   CLEOFE         REYES                    NC           90004260422
261B1354591522   TONY           PONCE                    TX           90013203545
261B443422B27B   ERIKA          ARNOLD                   DC           90013204342
261B6435172B88   DERRICK        OGMAN                    CO           90012634351
261B6445155977   EVA            ARENIVAS                 CA           90012574451
261B656A94B261   GRACE          MONTES                   NE           90013225609
261B85A9A84364   CHRESS         JACKSON                  SC           90015175090
261B8625391522   KAYLA          WILSON                   TX           90013566253
261B9297A5715B   JAUNTO         DE LEON                  VA           81015722970
261B9938857157   ROBERT         GOFFREDO                 VA           81025869388
261B9A81972B32   STACI          VIGIL                    CO           90011950819
26213482272B29   MARCO          JIMENEZ                  CO           90012374822
26213A6595715B   CLADI          GARCIA                   VA           90006330659
2621468A59184B   RICARDO        SALINAS                  OK           90001986805
26214A3719189B   MICHAEL        HEATH                    OK           90014870371
26215A64191522   BRANDY         LIPAROTO                 TX           90003890641
26219927A4B281   AMANDA         TAYLOR                   NE           90010299270
2621B39924B588   MYCHAELA       DAVIS                    OK           90010863992
26221733472B32   MARIA          GONZALES                 CO           90011597334
26221847372B88   ANA            MARTINEZ                 CO           90013028473
262263A1A7B477   ASHLEY         SANDERS                  NC           90011623010
262274A665B571   JOLEANA        PARMENTIER_LUJAN         NM           35088584066
2622B66697B477   AMAIIA         JIMENEZ                  NC           90012676669
2622B95338B182   JEREMY         PAINTER                  UT           90007809533
2622BA6A59189B   JEFF           DAVID                    OK           90014870605
2623317289184B   SUE            DUNCAN                   OK           90013831728
26234446772B29   NOE            OSORNIO                  CO           90014444467
2623486495B161   MICHEAL        HILL                     AR           90012878649
26239571A57157   LASHANDA       BAKER                    VA           90010285710
2624339575B571   ANTHONY        MARTINEZ                 NM           35092893957
26247978272B32   BOBBIE         ROLLINS                  CO           90014579782
26249338172B42   CAROLINE       PASILLAS                 CO           90010233381
2625573A14B588   SAYLOR         HANNA                    OK           90014027301
2625619584B261   TRISHA         CHLEBINSKI               NE           90002741958
26258587172B29   ANGEL          RAMIREZ                  CO           90013055871
2626286465B271   ANGELA         RANEY                    KY           90000318646
2626316A431445   JOHN           SHARKEY                  MO           90013331604
2626423785137B   KASEY          VAUGHN                   OH           90011222378
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2626469892B27B   PHILLIP         PUGH                     DC           90013686989
2626954657B471   SHAWN           COLLINS                  NC           90008145465
262722A1957157   RUBEN           ROMERO                   VA           90006282019
2627435A284364   SHAWN           BROWN                    SC           90011293502
2627659914B261   MICHEAL         KNOLL                    NE           90013555991
262777A2791953   SARAH           DUNN                     NC           90013137027
2627B116291522   JESSICA         RASCON                   TX           90014761162
2627B91175B161   DEMETRIUS       SPENCER                  AR           90011089117
2628361A455977   ANAYA           PATRICK                  CA           90008396104
26283751672B42   JENNIFER        ARELLANO                 CO           90011307516
262839A7872B32   THOMAS          MOREY                    CO           90012459078
2628534357B477   HEATHER         CARTER                   NC           90011633435
2628B38A172B32   OFELIA          BENITES                  CO           90013273801
26295A85A9136B   LORETTA         WALLER                   KS           90007910850
262B3789831631   OSORNIO         VICENT                   KS           90012067898
262B67A175B161   ERICA           LEMONS                   AR           90014567017
262B88A529184B   TAD             SAMPSEL                  OK           90009398052
262B8939A55957   CLAUDIA         MARR                     CA           90012549390
262BB32989189B   DONALD          DEBOSE                   OK           90013293298
262BBA92857157   YORLENI         PALACIOS                 VA           90013050928
2631313294B521   MARILYN         MOORE                    OK           21517361329
26322887772B32   ANGELICA        GARCIA                   CO           90014868877
26327471A55957   JOSE            AGUAIO                   CA           90000904710
26329AAA831631   TIKEYAA         EDWARDS                  KS           90007100008
2633213A984364   PARIS           COAXUM                   SC           90014901309
26334496972B88   JOLENE          MANZANARES               CO           90012794969
26335144872B42   CHAS            RICHARDSON               CO           90013821448
26336245472B88   JASON           TOUCHSTONE               CO           90012852454
2633751822B27B   HASHIM          BONEY                    DC           90005575182
2634451234B588   TAMMY           CUTLER                   OK           90008035123
2634859524B588   ROSXCOE         HAWKINS                  OK           90014455952
26355489172B29   KARLA N         RODRIGUEZ                CO           90012374891
2635837842B27B   JADA            PARKER                   DC           90013843784
2635B31377B449   MORGAN          HUNTER                   NC           90001983137
26361717672B98   OLIVIA          MANZANO                  CO           90008647176
2636171944B261   JOHN            BEAMAN                   IA           90014417194
2636223494B588   AHNDREA         BOYIDDLE                 OK           90008762349
2636358552B27B   RENEE           FLOURNOY                 DC           90010215855
2636361849184B   JENNIFER        MAXEY                    OK           90010656184
263675A8691528   LLUVIA          PALACIOS                 TX           90001945086
26368A7195B161   TERESA          BUNCHE                   AR           23073710719
2637197154B281   MELINDA         DOMINGUEZ                NE           27015159715
26373763A72B32   JAMES           MONTOYA                  CO           90007427630
263739A3572B88   JUSTINE         TRUJILLO                 CO           90013989035
2637861294B588   CHELLE          JONES                    OK           90010136129
2637867624B261   RAFAEL          GONZALEZ                 NE           90012466762
2637874AA91522   MARTHA          ESTRADA                  TX           90012017400
2638139414B588   CRUZ            ROMAN                    OK           90010983941
26382A8569189B   PAMELA          ZUIDEMA                  OK           90014880856
2638415295B161   JEREMY          MILAM                    AR           90011091529
263856A274B261   AUSTIN          SULLIVAN                 IA           90009176027
2638737692B395   LUT             MUHAMMAD                 CT           90014173769
2638852584B588   STEPHANIE       MARTIN                   OK           90007605258
263888A2855957   YLSSA           ARIAS                    CA           90013608028
2639526814B588   TERESA          SELLERS                  OK           21589322681
2639667627B471   CASSANDRA       SMITH                    NC           90002266762
2639715295B161   JEREMY          MILAM                    AR           90011091529
2639766425B161   MARTISHA        WRIGHT                   AR           90013296642
26399475172B29   COSME           DUARTE                   CO           90011234751
2639B125691241   FREDDY          BURNSED                  GA           14591081256
263B4556A72B29   ADAM            HUERTA                   CO           90007405560
263B4751657157   EDWIN           PORTILLO                 VA           90012527516
263B6271531631   ANYELICA        CASTENEDA                KS           90011202715
2641626694B281   SATARA          SLOAN                    NE           27001522669
26424394372B29   GOTWALD         MISHA                    CO           90011353943
2642746562B27B   DULCE           RUBI                     VA           90012444656
26429261672B42   SHAWN           GOSSELIN                 CO           90013912616
2642B125791522   MAGDALENA       DE LARA                  TX           75064001257
264316AA631631   STEDMAN         DUMAS                    KS           90014226006
26432585A4B588   DOMINIC         SMITH                    OK           90007605850
2643281A772B32   IRIS            MARTINEZ                 CO           90010348107
26435A44A81661   RICKY           SIGMON                   MO           29034600440
264365A7372B88   ERIC            HOLMES                   CO           90010095073
26437976272B29   JANET           AGIURRE                  CO           90011859762
26441A61931631   LOYD            BRODY                    KS           22012450619
2644229A372B29   ROSANELL        WILHAM                   CO           90009122903
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2644647A657157   JAY            HERNANDEZ                VA           90010764706
26448A69455957   JOSEPH         TORRES                   CA           90013890694
26449976672B42   DAVID          ATZ                      CO           90008069766
2644B978572B42   MARIA          RODRIGUEZ                CO           33030029785
2645295432B27B   RAVEN          THOMAS                   DC           90011189543
26456478672B29   LUCIA          CALZADA                  CO           90011234786
2645675445B161   KARA           PARSLEY                  AR           90011107544
26457393A55957   JESUS          SALAZAR                  CA           90013423930
2646585649189B   MATHEW         CAMPBELL                 OK           90014888564
26466383972B32   IRMA           HOLGUIN                  CO           33079503839
26467114372B42   ESPERANZA      DENA                     CO           90002641143
2646B697355957   LORENZO        MAYORGA                  CA           90014066973
26473649372B32   GABRIELA       GONZALES                 CO           33019436493
26476518972B88   RENAY          HOFFSCHNEIDER            CO           90012795189
2647B44897B449   SYMPHANY       HOLMES                   NC           90014144489
2647B472372B32   APRIL          TRIMBLE                  CO           33005224723
2648157367B477   TINA           BURRIS                   NC           90010175736
26483A12655977   TRALAINE       KEEL                     CA           90011540126
26484689A57157   SHEKU          KONNEH                   VA           90012686890
2648637164B588   KASEY          SUTTON                   OK           90010873716
2648762958B159   CHRISTOPHER    ELLIOT                   UT           90004286295
264876A6291953   WELINTON       PEREZ                    NC           90011376062
26488367572B88   ANGELA         MARTIN                   CO           90013343675
2648B2A7A72B88   RAYMOND        RUIZ                     CO           90012802070
264B4659993727   SHALONDA       EGLER                    OH           90012886599
264B517A391953   JOSEPH         SPOKES                   NC           90008361703
2651112899155B   LACHUNDRIA     AGUIRRE                  TX           75089851289
2651155294B588   LASHAND        BUFORD                   OK           90010495529
26514551A84364   BECKY          WHITE                    SC           90007185510
26514A2437B477   MARIA          PENA                     NC           90011690243
26518A4A372B32   CATHY          PREST0N                  CO           90009690403
26518A92857157   YORLENI        PALACIOS                 VA           90013050928
2651988A87B471   SHAQUNA        FAUNTLEROY               NC           90007358808
2652321A89136B   JAMIE          REDIC                    KS           29035302108
265235A484B261   JORDAN         MCGUIRE                  IA           90011015048
26524499172B32   HEATHER        MCLEOD                   CO           90002574991
26525442972B88   ORALIA         VEGA                     CO           90007244429
26528548372B29   ARIEL          BROUILLET                CO           90014355483
2653157725B161   KESHON         CLAY                     AR           90014585772
2653211572B27B   FREDDIE        WARE                     DC           90012381157
26533386A4B521   TAMMY          TIGER                    OK           21582433860
26535295272B32   TAMRA          SANCHEZ                  CO           90010472952
26535A2859189B   RODNEY         BELK                     OK           90014890285
2653725617B449   SANDRA         CORBERA                  NC           90012412561
2653769979189B   JANA           TATE                     OK           21075156997
2653862195753B   STEPHANIE      BRASEL                   NM           90014186219
265427A4872B29   VICTOR         DELGADO                  CO           90010267048
2655434545715B   ZAHRAA         ALDULAIMI                VA           90002943454
26556A9654B261   GREGORY        WHITE                    NE           27061650965
265635A4691953   CATHY          BOVE                     NC           90012215046
2656B17142B27B   DENISE         HINNANT                  DC           90013161714
2656B59A391522   MARIO          SIFUENTES                TX           90010915903
2656B8A2972B29   ALAN           KIMPEL                   CO           33000648029
26573A2417B449   MERISSA        MORROW                   NC           90003000241
2657411A67B449   PABLO          SALAZAR                  NC           90013911106
2657B961591542   ANA            QUEZADA                  TX           90012689615
2658179475B161   TERRELL        MORRIS                   AR           90014587947
26582A87691953   MIGUEL         DUTRA                    NC           90013730876
26584532972B88   MIGUEL         PALACIOS                 CO           90012795329
2658481155B161   GLORIA         HILL                     AR           90014588115
26588216672B42   JOSE           LOPEZ                    CO           90014542166
26595445A72B41   ANDREW         HURTADO                  CO           90012474450
2659BA61472B88   JOSE           JAUREGUI                 CO           90012840614
265B367AA2B27B   CAMERON        DIXON                    DC           90010226700
265B586574B588   RAMONA         DELGADO                  OK           90014918657
265B712325B571   RHONDA         SEDILLO                  NM           35034221232
265B9619A41245   MATT           MOCKABEE                 PA           90000526190
26613955472B32   JORGE          LOPEZ                    CO           90012459554
2661458535B571   CHARLES        DODGE                    NM           90006955853
266226A887B449   LISA           HOLDEN                   NC           11046576088
26623851A51369   GARY           BUNGER                   OH           90006798510
26625413A7B449   DENNIS         BOYD                     NC           90011324130
2662812A291522   DAVID          RAMIREZ                  TX           90001841202
266339A7424B48   ANA            ERAZO                    VA           81015189074
26638A53A3B391   NICK           ROBERTSON                CO           90003450530
26639A58A91589   CERVANTES      BRAULIO                  TX           90001480580
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2663B148272B88   JUAN MANUEL    ALVARADO                 CO           90012001482
2664838815B161   SHIQUITA       JOHNSON                  AR           90011523881
2664BA6A691953   ROBERTO        ZUNIGA                   NC           90004310606
266515A172B27B   DANIEL         BELTON                   DC           90003005017
2665177A52B27B   MARKETA        WRIGHT                   DC           90014617705
26652894A55957   TAUNYA         PATTERSON                CA           90014308940
2665451345B161   SHENITA        TUCKER                   AR           90011095134
26656718572B29   ADAM           SALAZAR                  CO           90014697185
266572A5655957   ANGEL          QUINTERO                 CA           90009592056
26657A9299155B   ESTHER         CASTRO                   TX           75000280929
266582A6872B32   MARCO          A LOPEZ                  CO           90012872068
26658768672B42   ARELY          ZELAYA                   CO           90013237686
2665899A241259   JUSTIN         ZORA                     PA           90007119902
26661291172B42   JAY            MCMULLEN                 CO           33081252911
26662425472B32   JUAN MANUEL    COYOTE                   CO           90011444254
266639A4881661   CAROYLN        SPAIR                    MO           90011579048
26664AA1657157   ISABEL         HERNANDEZ                VA           90013940016
26665597272B29   JANETH         TREVIZO                  CO           90013475972
266695A7831631   AMEE           MOON                     KS           90013545078
2666B93A784364   PAT            MEDLOCK                  SC           90010519307
2667181AA55977   FABIOLA        LOPEZ                    CA           90014728100
2667261AA57157   MARLETTE       QUIN-PARKER              VA           90011306100
26674437172B32   JERRY          SHANNON                  CO           90012854371
26675117272B32   AMANDA         VARGAS                   CO           90012631172
26677262372B32   YURI           MORENO                   CO           90012062623
266791A955B161   JERRY          CHAMBERS                 AR           90014591095
26679883A72B88   BRIAN          SCHWALEN                 CO           90013108830
2667B983531631   QUANEISHA      YATES                    KS           90008949835
266851A955B161   JERRY          CHAMBERS                 AR           90014591095
26687A4949189B   ANDREW         HEMINGER                 OK           90003410494
266897AA684364   VANESSA        MITCHELL                 SC           90012137006
2669146969184B   DIANA          FLOYD                    OK           90007734696
2669251A14B261   NOHELY         PEREZ                    NE           90012095101
2669295499184B   DON            GOTCHER                  OK           90013109549
2669311A772B32   JOSE           ESCOVAR                  CO           90013581107
2669434485B161   TAJIAH         ROBERTS                  AR           90012673448
2669569A372B32   REED JR        ROBERT                   CO           90010976903
2669773529184B   JOSEPH         PIRO                     OK           90010017352
266B1761655957   CLARA          GLASPIE                  CA           90012867616
266B2328391241   KERRI          LEWIS                    GA           90002903283
266B44A6591522   KRISTIAN       FUENTES                  TX           90012304065
266B4AA5384364   KENNETH        JOHNSON                  SC           90011590053
266B5353A72B29   JUDITH         MORENO                   CO           33025083530
266B538A34795B   JUTON          LOCKHEART                AR           25043773803
266B585394B588   TAYNA          KEENEY                   OK           90012388539
266B676715B571   MIREYA         GUERRERO                 NM           35029417671
266B8546457157   JESUS          MARINERO                 VA           90009555464
266B983AA84364   STOKES         LAKYSHA                  SC           19088518300
266B9915291953   MAYRA          RODRIGUEZ                NC           90012029152
266B9A16572B88   MATTHEW        MORRIS                   CO           90007430165
266BB421A7B477   MARKISKIA      HENDERSON                NC           90012244210
26712441272B29   JOSHUA         TRUJILLO                 CO           90012864412
2671448887B477   BEVERLY        GRIM                     NC           11016964888
2671798469189B   ANA LAURA      NUNEZ                    OK           90014919846
267199A6485998   HARRY          IVEY                     OH           90008399064
26721374A51369   HELEN          ROBERTS                  OH           66030853740
26723A9734B261   DEBBIE         BASS                     NE           90013840973
2672442787B449   PROSPERO       SESMOS RIVERA            NC           90013064278
26724725672B32   MANUEL         SOTELO                   CO           90012907256
267265A489155B   VARGAS         BEATRIZ                  TX           75011175048
26727A2999189B   JEREMY         ULLRICH                  OK           90014920299
26728753872B32   ROGOBERTO      VIVEROS-BACA             CO           90012617538
2672899569184B   CHRIS          KING                     OK           90000279956
267313AA891953   TYEESHA        COOPER                   NC           90010013008
2673144875715B   MELISSA        LOPEZ                    VA           81016484487
26732248572B29   MATTHEW        MEDINA                   CO           90012562485
26733178672B88   IMARI          SMITH                    CO           90013081786
26734991624B46   ASHA           SCOTT                    DC           90007249916
267373A619189B   JOSE           SANCHEZ                  OK           21074313061
267419A8472B88   OSCAR          MONTEAL                  CO           90012809084
26751A66372B32   JASON          SMALL                    CO           90012470663
267539A669155B   MARIA          GARCIA                   TX           75074819066
26754A2A384364   DAYAMI         MCCANTS                  SC           90010750203
2675885A35B326   GABRIELA       MORALES                  OR           90005738503
2675B992657157   LEONARDO       BERMUDEZ                 VA           90010739926
26766268872B42   THEODORE       SALAZAR                  CO           33011932688
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26768A43257157   MONRIQUE         SARCENO SALGUERO       VA           90012690432
2677387555B161   CRISTINA         KAIN                   AR           23008028755
26776156472B29   JOSE             HERNANDEZ              CO           90011581564
26777539272B88   DORA             ZUNGIA                 CO           90011275392
26779AA1351369   DELORES          HALL                   OH           66015090013
2677B2AAA7B471   TRIASSA          DUBOR                  NC           90002962000
2677B33787B471   TRIASSA          DUBOSE                 NC           90014003378
2677B6A4155977   ALYSHA           SUMAYA                 CA           90012006041
2678243465B161   LAURA            MELENDEZ               AR           90014704346
2678245A172B42   ALCALA MANUEL    HURTADO                CO           90012024501
26782998A36165   ROBERT           RAMIREZ                TX           90012969980
26785A38472B42   RICHARD          GARCIA                 CO           90012830384
26787A54991986   DARIUS           OSBORNE                NC           90013300549
2679645524B588   TRISTA           GILBERT                OK           90003004552
267997A1891953   FRANCIS          WHEELER                NC           90013627018
267B136A572B32   MAHIPIYA         WHITE CALF             CO           90011073605
267B6481291522   GEORGINA         ANTILLON               TX           90008774812
267B7632357157   JAMAL            WALKER                 DC           90012336323
267B79A1472B29   MARIO            VARGAS                 CO           33087209014
267B9363A4B588   EBONY            JARRET                 OK           90012453630
268127A4331453   JERMANIE         BRYANT                 MO           27564667043
26815A1122B27B   WILLIAM          FRIDAY                 DC           90012240112
26815A21691953   ANGELA           CHAMBERS               NC           90011350216
26815A6A761977   MIGUEL RICARDO   SOTO RICO              CA           90012680607
268165A689184B   ANA              GARCIA                 OK           90014245068
26817236A91522   MARIA            ALVAREZ                TX           90013642360
26818931272B32   JESUS            TALAMANTES             CO           90011179312
268195A7941245   HAYLEY           KING                   PA           90002355079
2681963565B161   HAGLER           MYESHA                 AR           90011096356
2682179424B261   SERGIO           AGUSTIN                NE           90011017942
268268A1781661   SANTOS           HERNANDEZ              MO           29002178017
26827735672B88   NATLEY           WOODS                  CO           90008977356
26827974372B42   JANNIELLE        FLORES                 CO           90012119743
26827A84672B42   JENNIFER         RODRIGUEZ              CO           90013070846
2682B597272B29   CARLOS H         ROLDAN                 CO           90011235972
2683439427B477   SHAUNTA          MOORE                  NC           90004223942
26834A37672B88   KELLY            HAMILTON               CO           90013770376
2683659137B449   DANISHA          PATTERSON              SC           90010965913
2683B22A155977   ARTURO           GONZALEZ               CA           90013602201
26841777472B42   EVELIN           MELENDEZ               CO           90010887774
2684265775B161   RANEL            LOWE                   AR           90011096577
2684292619184B   LANEISHA         HUGHES                 OK           90010869261
2684449792B232   DOMINICK         STOVER                 DC           90005894979
268457A985B161   CAROLE           WILSON                 AR           90009097098
2684697329184B   LAURA            OWEN                   OK           90012029732
2684B13214B261   ROSLAND          HENDERSON              IA           90012421321
2684BA95331631   SHERI            GONZALEZ               KS           90014750953
2685173A99184B   FERNANDO         PALESTINA              OK           90011407309
26852173672B32   ROBERT           ESQUIBEL               CO           90011061736
26853779872B42   JUAN             IBANEZ                 CO           90014037798
2685679954B261   JESSICA          MILLER                 NE           90011017995
2685774544B281   JOSE             BERNARDINO             NE           90006457454
2685834614B281   JOHN             STONE                  NE           27012513461
2686234492B27B   DIANE            LAMBRIGHT              DC           90010393449
26864714372B42   OSCAR            BUENO                  CO           90010927143
268661AA731631   JOSE LUIS        JACQUEZ                KS           90013601007
2686882859136B   SARA             DIAZ                   MO           90003358285
2687383A99184B   BREANA           BROWN                  OK           90009398309
26878711772B29   ANITA            GARCIA LEON            CO           90002737117
2687978824B281   ZAMZAM           JIMALE                 NE           90011647882
268797A6372B88   ALEZANDRA        GALVAN                 CO           90010527063
2687992392B232   DION             MCCLURE                DC           90005899239
26883575272B88   SARA             REDLER                 CO           90011275752
2688366362B27B   MARK             JOHNSON                DC           90001036636
2688522A82B27B   DON              WALKER                 DC           90010412208
2688B992791241   WILLIE           LEWIS                  GA           90011419927
26891575172B32   MARIA            GUILLEN                CO           33045125751
2689492397B449   VANESSA          SPRING                 NC           90012869239
26896239172B88   ERICK            MARTINEZ               CO           90012802391
2689631774B588   TABITHA          KING                   OK           90014093177
2689666924B588   MALEA            BARNETT                OK           90011126692
268982A979152B   BRYAN            VALLE                  TX           90001502097
26898981297B41   IDRIS            AHMAD                  CO           90006139812
268B375A172B29   JASON            LEBSOCK                CO           33025307501
268B5176384364   JASON            FLEMING                SC           90001261763
268B985289136B   CLAUDIA          MORA                   KS           29055328528
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26918A2A172B32   STACY RENNE     PASSAFIUME              CO           90013780201
2691B191A91241   WINDLAE         ANDREWS                 GA           90011771910
2692368582B27B   ANNIE           YALEGUE                 DC           81016346858
26925A53272B42   COURTNEY        ANDERSON                CO           90014200532
26926421372B29   ROSA            RIBAS                   CO           33015704213
2692B923291522   ADRIAN          FLORES                  TX           90012889232
2693285394B588   TAYNA           KEENEY                  OK           90012388539
26935292A81661   SANDRA          ROBINS                  MO           29097932920
269381A1772B32   RENATA          GALVAN                  CO           90011931017
26938A25985938   LUISA           RAMOS                   KY           90012320259
2693B579157157   SAYQUAN         CARTER                  VA           90012745791
2694113A49189B   JOSEPH          IANNAZI                 OK           90014931304
26943173672B32   ROBERT          ESQUIBEL                CO           90011061736
26943254172B88   JASMINE         CORRAL                  CO           90012802541
2694B195A55957   MARGARET        VILLEGAS                CA           48014941950
26951A34A72B29   KACEY           AUMILLER                CO           33040700340
26955A4882B27B   ANISHA          BLAND                   DC           90014520488
269566A877B449   WILLIAM         COOK                    NC           90013616087
2695854519152B   ELICEO          VENGAS                  TX           90008165451
2695B411257157   BETTY           WRIGHT                  VA           90012844112
2696639152B27B   CHRISTAIN       GRAY                    DC           90010893915
26966513A61935   MARTHA          VASQUEZ                 CA           90010005130
2696893497B449   YOLANDA         FEE                     NC           90009829349
26969595A57157   ELSA            CRUZ                    VA           90011045950
26975A4A691522   ANTONIO         PAIZ III                TX           90011090406
2697B516172B29   ADRIAN          PASILLAS                CO           90011405161
2698385394B588   TAYNA           KEENEY                  OK           90012388539
269857A2791953   IVAN            SANTOS                  NC           90011417027
26985A84672B42   JAVIER          MORENO                  CO           90010670846
26987A82A41245   MELISSA         KRAFT                   PA           51060950820
2698B229472B27   STACY           VALDEZ                  CO           90008362294
2699625716B247   ROBIN           GUTIERREZ               AZ           90014132571
2699643267B449   HARRY           NUNEZ                   NC           11094394326
2699721293366B   ALRITA          WILLIAMS                NC           90002782129
2699B72392B232   DOMONIC         GARRETT                 DC           90005727239
2699B724972B88   ANDREW          GORMAN                  CO           90010527249
269B2739291522   ERICA           MARIN                   TX           90002997392
269B3683255957   BLANCA          OSUNA                   CA           48034376832
269B4194272B88   CHRISTINA       MA                      CO           90012851942
269B4439272B42   ANN             CADWELL                 CO           90013924392
269B724374B588   KAYAN           BRISTOL                 OK           90010592437
269B738834B588   MYKEL           SHERRILL                OK           90014013883
26B11221691953   JUDY            SPEIGHT                 NC           90002272216
26B13326884364   ERLINDA         ORTIZ                   SC           90013683268
26B1434194B521   MEDINO          SERGIO                  OK           90006983419
26B146A8351369   CHRISTINA       SHARP                   OH           90006996083
26B21A3A272B42   SULMA           GONZALEZ                CO           33040270302
26B22419991953   KRISTOPHER      HARRIS                  NC           90012364199
26B2288352B27B   STACEY          WILLIAMS                DC           81050608835
26B2318194B588   ASHLEY          MOSELEY                 OK           90015101819
26B2624925B161   FALLON          ARMSTRONG               AR           23020312492
26B27346A4B261   WILLIAM         LEWTON                  NE           27045603460
26B2823145B271   GARRY           JENNETTE                KY           90009662314
26B29741972B53   KRISTINA        STOLL                   CO           33097437419
26B312A8A84364   IVAN            WILSON                  SC           90013472080
26B3447717B477   JEFFREY SCOTT   RAMSEY                  NC           90011294771
26B3658582B27B   ANDRE           CUMMINGS                DC           90012785858
26B38774591828   BRENTON         GUINN                   OK           90014727745
26B3916A79184B   LOGAN           MACMILLAN               OK           90014421607
26B398A9A57157   FRANCIA         GONZALEZ                VA           90007348090
26B4134699189B   FABILA          LOERA                   OK           21012023469
26B4265882B27B   EMILIO          MATOS                   DC           90012996588
26B43726784364   DELANEY         SMALLS                  SC           90014747267
26B439A779189B   RUSHONTI        LEWIS                   OK           90014819077
26B43A7484B588   MARY            SPAULDING               OK           90014130748
26B4684124B261   TYLER           TIETSORT                IA           90014158412
26B47A87691953   MIGUEL          DUTRA                   NC           90013730876
26B4829294B281   IRESHA          GUNTER                  NE           90002602929
26B4B379172B88   JUAN CARLOS     CORONA JARAMILLO        CO           90013043791
26B53388A4B521   CHARLES         HUMPHREY                OK           90004593880
26B55786591828   HOPE            JINDRA                  OK           90005937865
26B58463272B42   LINDA           KRUMHOLT                CO           90013524632
26B58468772B42   LINDA           KRUMHOLT                CO           90013294687
26B58583372B42   LINDA           KRUMHOLT                CO           90004955833
26B58A56172B42   LINDA           KRUMHOLT                CO           90013590561
26B58A84672B32   NIKOLAOS        KOUTROULOS              CO           90011650846
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26B5943242B27B   ERICK           CELESTINO               DC           90012204324
26B5969399184B   SARAH           RAGSDALE                OK           21068216939
26B635A532B27B   TAMARA          PUGH                    DC           90010845053
26B6375217B477   YOLANDA         BYERS                   NC           11015817521
26B649A6272B42   CESAR           ARREOLA CHAVEZ          CO           90010679062
26B6B344684364   KEOSHE          SIMMONS                 SC           90013863446
26B74978184364   ERNEST          SPEIGHTS                SC           90010209781
26B7593689184B   VIRGINIA        WHITE                   OK           90014649368
26B77952855977   IVONNE          CASTILLO                CA           90012989528
26B792A288B15B   LADJANE         CARVALHO                UT           90012712028
26B79411355977   AYRON           HENSHAW                 CA           90002484113
26B8244365B161   JERRELL ISAAC   THOMAS                  AR           90002944436
26B83661955957   JESSICA         HERNANDEZ               CA           90012306619
26B84276391953   DANITRA         JOHNSON                 NC           90013482763
26B85933984364   JALISA          SMALLS                  SC           90015139339
26B85A4A351333   CHRISTOPHER     GRIFFIN                 OH           90008550403
26B91A6359189B   MISTY           DAWN                    OK           90014860635
26BB2358991953   FENTON          JOLLY                   NC           17048373589
26BB35A2272B29   MICHELLE        PADULI                  CO           90012835022
26BB632657B477   ANGELA          AQUINO                  NC           90011283265
26BB7433855957   DAVID           MIRANDA                 CA           90013054338
26BB961339136B   ADRIANA         SANTOS                  KS           29035756133
2711139817B449   NYASIA          CARR                    NC           90014743981
2711388619136B   BRITTANY        RIEVES                  KS           90009408861
271157A1972B29   REBECCA         ZIDERMAN                CO           90014167019
2711B55379136B   RODNEY          CALLOWAY                MO           90013265537
27121249876B69   SANTIAGO        MARTINEZ                CA           90004792498
2712416414B281   SANDRA          ABRAMS                  IA           90007471641
27125344398B32   CEDRIC          MILLER                  NC           90007973443
2712664599155B   JOSE            DIAZ                    TX           90005346459
2712941884B521   JENNIFER        RIGGLES                 OK           90007344188
27132844372B42   DUSTYN          PLATT                   CO           90011768443
27138139372B88   ADAM            LUJAN                   CO           90007511393
27138166872B29   LISA            BLUFORD                 CO           33023221668
2713B227491356   DANIEL          MARTINEZ                KS           90014762274
2713B42239155B   MICHAEL         JONES                   TX           90010264223
27142A3884B261   MARIA           PINEDA                  NE           90011110388
2714B873972B88   JUAN            MONTOYA                 CO           33014068739
27151A81972B29   PATRICIA        RAMIREZ                 CO           90012930819
27151A83881638   REVA            BUTTERS                 MO           90014650838
2715415AA31631   KATINA          SUTTER                  KS           90012661500
27157884A85938   JOSH            DOFOUR                  KY           90011828840
27158869376B69   CARL            WORTHINGTON             CA           90006718693
2715954849184B   MANDALYN        BECKER                  OK           90015255484
271613A3491828   ARNOLD          RODRIGUEZ               OK           21011963034
271626A8955957   ALEXA           ESPINO                  CA           90012296089
2716359365B271   ELISE           STEVENSON               KY           90012005936
2716695349155B   DAVID           BAYLON                  TX           90014619534
27167AA539189B   DALE            DENNIS                  OK           90011180053
2716B224191592   YAMEL           GONZALEZ                TX           75094932241
2716B575851369   CYNTHIA         DAVIS                   OH           90009485758
271716A579155B   APRIL           TARIN                   TX           90011676057
271727A832B27B   RODERICK        NEAL                    DC           90013157083
27174235A93731   MATT            BLAKE                   OH           90007472350
271765A2831631   APRIL           REED                    KS           90012125028
27177A22A9189B   LASHAWNDA       TAYLOR                  OK           90013170220
27178124372B29   KEONDRA         TURNER                  CO           90011831243
2717857657B424   DELFINA         SALAZAR SALAZAR         NC           90011255765
2718121984B588   CHAVON          CRAIGS                  OK           90014632198
2718693583B333   PABLO           IBARRA                  CO           90008269358
2718873259189B   STEVEN          SHAW                    OK           90012257325
27188747472B42   ROSA            CHAVEZ                  CO           90011897474
27188931676B82   DELFINA         HERNANDEZ               CA           90007169316
2718948A59155B   AMBER           GONZALES                TX           90013424805
2718958A29136B   DEREK           WATTS                   KS           90013525802
2719358415B271   CORNELL         WILLIS                  KY           90014865841
27194486983B87   RYAN            PEREZ-GARCIA            TX           90013344869
2719492A44B521   KHEELIN         MARTIN                  OK           90012799204
2719593579155B   JOSEFINA        MURILLO                 TX           75007279357
2719871619136B   JESSICA         STANLEY                 KS           90014847161
2719B374657172   JESUS           AMAYA                   VA           90006743746
271B6818681637   KIARA           WATTS                   MO           90007208186
271B86A3531453   KOSTA           LONGMIRE                MO           90011556035
271B9382991241   TYKIBA          SMITH                   GA           90013263829
27212792776B53   IZAMAR          TORRES                  CA           90011877927
27212A7869155B   GUADALUPE       ESPARZA                 TX           90011680786
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27216731672B29   ROBERT          STEWART                  CO           90014167316
2721746184B261   TYSA            HURLBUT                  NE           90014694618
27218599172B42   JEFFREY         NOLL                     CO           90012975991
2721934972B27B   MELVIN          DEAN                     DC           90013923497
2722197239184B   NICOLE          PERIDORE                 OK           21046019723
27225932A7B449   JAMAL           KEITH                    NC           90011349320
2722655995B271   DARNISHIA       BURNS                    KY           68089015599
27229A7687B449   TAJA            CARTER                   NC           90014180768
2723139784B588   MICHAEL         HOLT                     OK           90010233978
2723319819136B   LETICIA         LINARES                  KS           90015261981
27234A95672B31   JESUS           SOLIS                    CO           90003190956
2723983A272B88   ARSENIA         HANSEN                   CO           90014168302
2723B472593731   EARL            BUSH                     OH           90010224725
2724361A34B521   QUINDALE        ALLENSWORTH              OK           90005356103
2724412232B27B   MICHAEL         SCOTT                    DC           90014791223
2724913A12B27B   ELVERA          SNOW                     DC           90014791301
2724927584B588   KAROLINA        MENDEZ                   OK           90014822758
2724BA6319184B   AARON           DOWNS                    OK           90010050631
27252858498B52   GUADALUPE       RICARDO                  NC           90009618584
27253A8853146B   TAMIKA          SMITH                    MO           90009070885
272593A829155B   DANIEL          ALATORRE                 TX           90012793082
2725B742572B29   DEANDRA         RUYBAL                   CO           90014167425
2725B969281648   JIM             PERRY                    MO           29026949692
2726115449794B   ROSALYN         WILLIAMS                 TX           90002451544
2726196589155B   ROBERT          AVALOS                   TX           90014619658
27263676472B42   SHAWN           SIKORSKI                 CO           90013226764
2726439A17B449   OSCAR           LOPEZ                    NC           90014763901
27266758772B29   JOSEPH          CORDOVA                  CO           90014167587
27267759972B29   TAYLOR          CISNEROS                 CO           90014167599
2726781592B27B   CHARISMA        DIONNE                   DC           81011948159
2726829144B588   JAVIER          MCGEE                    OK           90013622914
27274379572B88   SANDRA          SUAREZ                   CO           90004383795
2727553A19155B   LUISA           LUNA                     TX           75083335301
272755A6851369   MERK            JOHNSON                  OH           90007295068
2727776599136B   ELIZABETH       SANTILLO                 KS           90011567659
2727B14469189B   JOEL            MARTINEZ                 OK           90010721446
272819AA355957   DARNELL         JOSEY                    CA           90012779003
27282438572B42   JESUS           GARCIA                   CO           90004384385
27284A17872B88   IVAN            HERRERA                  CO           90010210178
2728588817B449   CLARA           ELLERBEE                 NC           90003978881
27287A48184344   LUIS            CANSIGNO                 SC           90013460481
2728B58A77B471   SHIRLEY         GAINEY                   NC           90001945807
2728B69929189B   ANDRA           SAMUEL                   OK           90013916992
27291A99A85822   GUILLERMO       FIGUEROA                 CA           90012660990
272922A2381637   WANDA           CRAWFORD                 MO           29003672023
2729286849136B   LAWRENCE        MATTHEWS                 KS           90010608684
2729318137B484   CHERYL          BARNHILL                 NC           90007101813
2729459584B588   ESSENCE         ROBERTS                  OK           90013435958
27297A16191356   JAMES           KINYON                   KS           90010290161
27299363A93731   JASMINE         CRANFORD                 OH           90011193630
27299A93331453   JAZZIAH         JOHNSON                  MO           27560480933
2729B751355957   ANGIE           MAYA                     CA           90012057513
272B18A6381638   CODE            CALVEN                   MO           90012168063
272B4727672B29   SANTIAGO        SANCHEZ                  CO           90014167276
272B4968785822   FABIAN          LOPEZ                    CA           90015329687
272B5729A72B29   NAYELLI         ROJAS                    CO           90014167290
272B9639191356   ASHLEY          JACOBS                   KS           90010766391
272B9661A5B271   JOSEPH          BENNETT                  KY           90010966610
272BB31989794B   ROSARIO         ROMERO                   TX           90002563198
2731128A872B29   ELIZABETH       ILLA                     CO           33016442808
273142A2391241   ALEX            BROOKES                  GA           90010172023
27317163972B88   MARISELA        HERNANDEZ                CO           90001951639
2731869889189B   TERRENCE        LAMONT                   OK           90012346988
273195A2585822   BRENDA          CASTELLANOS              CA           90005105025
2731B82398B56B   VERO            SILVA                    CA           90013788239
2732329679184B   JAMES           SHELTON                  OK           90012482967
27328557872B42   ROMO            FEBE                     CO           90010405578
2733117679794B   CONSUELO        REYNA                    TX           74006121767
2733139A161939   CLIFFORD        BIGWOOD                  CA           90014983901
2733255A572B42   ERNESTO         GUERRERO                 CO           90013535505
27335A5189155B   RACHEL          CULBERTSON               TX           90014630518
2733695729189B   TONYA           THOMAS                   OK           90009609572
2733BAA9481648   TODDISHA        FRAISER                  MO           90009510094
2734146198B17B   JENNIFER L      MECHAM                   UT           90012304619
2734387875B271   TRACY           WALKER                   KY           90012538787
27344812A4B588   LEE ANNE        COOKSEY                  OK           21586158120
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27346692A91592   LUIS           DEL MERCADO              NM           75039876920
27349A83881638   REVA           BUTTERS                  MO           90014650838
2734B951355957   VICTOR         HERNANDEZ                CA           90006669513
2735133849184B   CHRISTOPHER    SHANE                    OK           90013903384
27353648472B88   MIKIELLA       LOBATO                   CO           90014966484
273564A9272B88   EUGENIO        ZAPATA                   CO           90013684092
2735672749794B   LANDON         LEWIS                    TX           90005117274
2735818934B588   KYLE           FISHER                   OK           90013251893
27359684A5B271   JENISHA        BAKER                    KY           90011996840
2735972749794B   LANDON         LEWIS                    TX           90005117274
2736193A44B588   RUBEN          FUENTES                  OK           90011499304
27365328672B42   SHELTON        MPHAHLELE                CO           90012493286
2736619779136B   PATRICK        GARNER                   KS           90013651977
27366877A7B449   YANET          MOREL                    NC           11091818770
27366A5274B261   SHIRLEY        RICHEY                   IA           90011710527
27366AA5955957   ROSA           HERNANDEZ                CA           90013760059
2736814A19136B   CHARLENE       BRIDGEFORD               KS           90004731401
273681AA59189B   MARSHA         HENNESSEY                OK           90014811005
2736941569189B   TICHELLE       TIGER                    OK           21011784156
27369A91793731   BETTY          KLINE                    OH           90008940917
27372266A72B88   STEFANIE       HERERRA                  CO           90005502660
27372411A4B588   ARIEL          REEVES                   OK           90007274110
2737479A572B88   LIZETH         ESPINOZA                 CO           90012817905
2737641A49155B   ASHLEY         QUIROZ                   TX           90011684104
273798A889155B   MARIA          TERRAZAS                 TX           90014638088
2737B269655957   ROXANNE        STODDARD                 CA           90006952696
2737B271593731   JOSHUA         ANDERSON                 OH           90014172715
27384A7AA4B261   SHARON         WALLACE                  NE           90005880700
27384AA1681661   LETICIA        SANCHEZ A                MO           90010320016
2738628229184B   JESSICA        HINES                    OK           90009222822
2738658535B271   WAYNE          KALLIN                   KY           90012655853
2738666417B449   JAKORI         PLESS                    NC           90014766641
273866A2381638   JONATHAN       DOUGLAS                  MO           90014196023
2738758964B588   SUSAN          HERNANDEZ                OK           90013535896
2738782449155B   ORTEGA         JAIME                    TX           90011858244
27393311672B29   MARIO          ROBLES                   CO           90011833116
2739342389189B   JEREMY         FLANIGAN                 OK           90013274238
2739345195B161   SHEKIA         CARLOCK                  AR           90007744519
2739473755B571   FROILAN        RAMIREZ                  NM           35015917375
27394A92961982   NICOLE         WOOLFOLK                 CA           90009470929
27395A12891833   ANGELICA       MAXWELL                  OK           90007570128
27397466A91241   TAWONA         ANDERWS                  GA           90014134660
2739917985715B   ANA            SALGADO                  VA           81046411798
2739948874B221   TALISA         JENKINGS                 NE           90009314887
27399839572B88   MICHAEL        KEMP                     CO           90011458395
27399A91672467   JULIA          WILLIAMS                 PA           90011340916
2739B35212B27B   MYESHA         HILL                     DC           90013133521
2739B772285822   ERIC           G ENCINARES              CA           90012617722
273B371982B934   LISBETH        GALAN                    CA           90012067198
273B679AA4B588   MICHELLE       WILLAMS                  OK           90013917900
273B724645B271   LARREE         COOMER                   KY           90009922464
273B8342455957   NADIA          LOPEZ                    CA           90011243424
273B935469189B   ELFIDIO        CORONADO                 OK           90005903546
273BB46479184B   CARMETHIA      CLEMONS                  OK           90013784647
273BB993391833   DANYELLE       SANDERS                  OK           90008579933
27411558176B69   LEONARDO       VALENCIA MENDEZ          CA           90006375581
274161A9876B69   EFIGENIA       CRUZ                     CA           90006841098
2742138347B449   TORI           IVEY                     NC           90014773834
2742437139155B   GUADALUPE      CRUZ                     TX           90009923713
274248A7272B29   ELOY           GUTIERREZ                CO           90014168072
2742772AA51369   DEZARE         JORDAN                   OH           90010497200
27428862972B88   EMANUEL        RENDON-DIAZ              CO           90014688629
2742B632991592   CHARLES        GRANTZ                   TX           75044176329
274316A1191528   LORENZA        VASQUEZ                  TX           75078726011
2743258814B521   NICOLE         PAISLEY                  OK           90010845881
2743346369189B   DUSTIN         SANG                     OK           90012994636
27433568672B29   ESPERANZA      MARTINEZ                 CO           90004505686
2743513A29155B   ROSA           TEPEZANO                 TX           90014631302
2743979932B27B   KAWARA         TIMOTHY                  VA           90009657993
274415AA193731   AUBRIE         HOPKINS                  OH           90014605001
2744813164B261   THOMAS         FREED                    NE           90014141316
2744831585B571   JAZMIN         CASTRO                   NM           90010543158
2744B538672B42   SOMMER         KRUSKAMP                 CO           33006505386
27451381A91528   SOLEDAD        MARTINEZ                 TX           75093873810
274517A6691592   DAVID          MONAREZ                  TX           90012857066
27452742572B29   DEANDRA        RUYBAL                   CO           90014167425
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27452758A7B449   ISRAEL         ALVAREZ                  NC           90013497580
27453421372B88   VANESSA        VELASQUEZ                CO           90012264213
2745654359155B   ANGEL          RIVERA                   TX           90011685435
27456A3577B471   JOSEPH         WATSON                   NC           90012000357
2746157542B27B   CARLOS         PAYNE                    DC           90014795754
2746296535B36B   EULALIO        CONTRERAS                OR           90003029653
2746314159198B   STEPHANIE      YORK                     NC           90011011415
2746399814B281   CINDY          KROULEK                  NE           27024389981
2746531585B571   JAZMIN         CASTRO                   NM           90010543158
2746619479136B   ROBERTO        COLIN                    KS           90010611947
2746894215B571   VANESSA        SALGADO                  NM           90009029421
27478541972B88   REINA          VELASQUEZ                CO           90013125419
2747921237B449   CHAREE         CAMPBELL                 NC           90014782123
27483827A9136B   OLOPEZA        SILVINO                  KS           90010948270
2748544579155B   CARLOS         GUZMAN                   TX           90013224457
27486375A93731   JUSTIN         VAMOS                    OH           90009053750
274874A5691592   FERNANDO       GONZALEZ                 TX           90014384056
274893A235B571   SAMANTHA       SIMON                    NM           35088503023
2748B24767B449   LAURA          GRASSO                   NC           90014782476
2748B24A981638   ANDY           HARDEN                   MO           90013062409
2749227765B545   JARED          POWELL                   NM           90003512776
2749282557B471   LILLIAN        BARRETT                  NC           90011058255
274928A259189B   ABRIL          ARTEAGA                  OK           90011968025
2749359179155B   PRISCILLA      REYES                    TX           90011685917
27494845172B88   ASHLEY         STOCKMYER                CO           33035158451
2749B98A391241   NASHARA        JOHNSON                  GA           90014089803
274B226655B571   JOSEPH         GARCIA                   NM           90010542665
274B27A492B27B   MONEA          SMITH                    DC           81010627049
274B4163472B29   KENNETH        TENNYSON                 CO           90012151634
274B613474B588   TE             MANG                     OK           90013311347
274B6322272B42   ALEJANDRA      ZAMBRANO                 CO           90005193222
274B673448B137   SIDNEY         SMITH                    UT           90013307344
274B6A72791241   KADIJAH        PENDERGRAPH              GA           90014610727
274B733A272B29   ISMAEL         LOPEZ                    CO           90011833302
274B8825972B29   PATRICIA       TIBBETTS                 CO           33005268259
274B8A7735B161   KATHY          BLACKSHER                AR           90009910773
274B9421872B88   KERI           HAYNES                   CO           90010474218
2751482227B471   MONICA         TORAIN                   NC           90008858222
27517873472B88   SERGIO         MARTINEZ                 CO           90012858734
275183A8691592   EUNICE         GONZALEZ                 TX           90010423086
2751938AA4B588   WENDY          WELLS                    OK           90014553800
2751B55A991592   SHAY           DUCKETT                  TX           90014625509
2752235269794B   FREDDY         AMOSIE                   TX           90011193526
2752498A591356   BRUCE          OGDEN                    KS           90015119805
275249A8585822   THOMAS         MCBRIDE                  CA           90012999085
2752752475B271   MARK           BUSH                     KY           90015315247
27527A5A59189B   GLENDA         DINORA                   OK           90014540505
2753384A75B538   LONNIE         DEHERRERA                NM           90001448407
2753488784B588   CAMERON        SMOTHERMAN               OK           90009738878
2753795922B27B   DONNELL        BROADWAY                 DC           90010749592
2754465699189B   LUIS           PRESA                    OK           90012016569
2754638634B588   KAQUEESE       WILLIAMS                 OK           90011383863
2754965484B521   CHRISTOPHER    HARKLEROAD               OK           90002506548
2754967579155B   ELIZABETH      GONZALEZ                 TX           90011686757
27549A9635B28B   ERIN           MOTT                     KY           68013620963
2755294A45B161   CHEQUINE       HILLERY                  AR           90004819404
27554684A9155B   VERONICA       DESERAY                  TX           90011686840
2755581215B571   MARCOS         POQUE                    NM           90011298121
2755928AA5B271   YUNIKKA        REESE                    KY           90001992800
27564397A7B449   KENNETH        MILLER                   NC           11094183970
2756537679136B   TINA M         HUBBARD                  KS           90014703767
275658A8A91592   MINERVA        ALVAREZ                  TX           90013048080
2756636844B588   REBECCA        BLAIR                    OK           90008973684
27567362A85822   MELISSA        MELCHIONE                CA           90013243620
275688A4472B29   EVANGELINA     AMAYA                    CO           90011838044
2756B314A4B588   JOSH           BOWLES                   OK           21532783140
27572164672B29   JULIO          OVANDO                   CO           33081451646
2757242934B588   MARK           BUCHANAN                 OK           90005534293
2757265918B56B   HEATHER        HEART                    CA           90013956591
27573857672B29   ENRIQUE        MORALES                  CO           90014178576
27574A7354B261   ASHLEY         GINTZ                    NE           90013980735
2757548A772B29   KARINA         PUENTE                   CO           90011834807
2758254957B449   K              JEL                      NC           90014785495
2758396469189B   JUDY           BILLINGS                 OK           90012689646
27584648472B88   MIKIELLA       LOBATO                   CO           90014966484
2758561665B271   ALVINA         WALKER                   KY           90014836166
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275858A7672B88   DAWN           ROE                      CO           90011988076
2758766822B27B   ERICA          MOBLEY                   DC           90012586682
2758934759189B   TISHA          GABLE                    OK           90015023475
2759147847B471   LYDIA          REYES                    NC           90012184784
2759225869155B   VALARIE        SAENZ                    TX           90014632586
2759429465B571   DAVID          MARQUEZ                  NM           35025822946
2759563935B161   RACHEL         FLOWERS                  AR           90002196393
2759795479152B   MAYRA          MUNIZ                    TX           90011509547
2759983A585822   AMNER          GARCIA                   CA           90012268305
2759B231891356   IVAN           MARINEZ                  KS           90014512318
275B1A1399189B   ADRIANA        TORRES                   OK           21004040139
275B344A293731   MIKE           WARE                     OH           90012424402
275B4653185822   DEBORAH        PRIOR                    CA           90013046531
275B46AA99155B   MIGUEL         RIVERA LOPEZ             TX           90011686009
275B51A485B271   JENNIFER       ABERNATHY                KY           90014931048
275B6274772B73   ROSA           CORTEZ                   CO           33095892747
275B65A4991828   KAYLA          DOSS                     OK           90014485049
275B667417B471   JUAN           TAPIA                    NC           90005186741
275B6749133636   MALICIA        GLOVER                   NC           12008727491
275B725999189B   TYDEREIA       PATTERSON                OK           90014562599
275B735539155B   JOSE ANGEL     RAMIREZ                  TX           90014863553
275B76A5A9155B   PRISCILLA      PERKINS                  TX           90011686050
275B837214B261   WILLIAM        VAUGHN                   NE           90012283721
275B8417885822   ANDREW         NUNEZ                    CA           90013834178
275BBA91981638   RUDIS          FRANCO                   MO           29066310919
27613866272B88   ROSALBA        ESCOVEDA                 CO           90014578662
2761425734B588   MORRISON       DEWAYNE                  OK           90011322573
2761446183B127   TEARA          BEALLE                   DC           90001514618
27614873172B29   GENOVEVA       VEALASCO                 CO           90014168731
27618913A55957   JUAN CARLOS    PEREZ                    CA           90013549130
276214A342B27B   JUSHELLE       POWELL                   DC           90013144034
2762234435B571   GLORIA         LUJAN                    NM           90004723443
27624159272B29   ANTONIO        CALDERA                  CO           90011821592
27627159272B29   ANTONIO        CALDERA                  CO           90011821592
27629524A72B29   ZULIEMA        ALVARDO                  CO           90011835240
2762B412A91241   LEO            LEE                      GA           90014564120
2763125134B261   JOHN           MYERS                    IA           90013492513
276318A7693743   NICOL          ELZEY                    OH           90008788076
27632549472B29   DEANNA         COTTER                   CO           90011955494
276338AA32B27B   MILTON         ZACARIAS                 DC           90013158003
2763732964B261   MIGUEL         ANTONIO                  NE           90012163296
276383A9A31433   ANDRE          COVINGTON                MO           90001393090
2763B69A84B588   JONATHAN       RICE                     OK           90010906908
2763B786972B29   ERICA          TORRES                   CO           90012677869
2763B952555957   ASIA           TAFOLLA                  CA           90014779525
2764134244B588   DEBORAH        DUNN                     OK           90012133424
27643367A9184B   SHAUN          COLLINS                  OK           90013803670
27643874A5B571   JORDAN         RAEL                     NM           90011298740
2764446A75B571   EMILIO         LOPEZ                    NM           90001664607
2764656289155B   MARIBEL        AGUILERA                 TX           75052355628
2764821984B588   CHAVON         CRAIGS                   OK           90014632198
2764B612291592   ISAAC          RODRIGUEZ                TX           90012526122
2764B641591592   MARIA ELENA    ROMERO                   TX           90007526415
276513A6791828   MIRANDA        EMSLEY                   OK           90014583067
2765149199155B   MARCO          LUNA                     TX           90003974919
2765369869136B   MARISOL        ALEJO                    KS           90011206986
2765413799189B   JOSEPH         WITWER                   OK           90009871379
2765418835B271   EDWIN          BRODLEY                  KY           90014571883
27655894A93731   RACHEL         THOMPSON                 OH           90006328940
2765634849136B   BRANDIE        PHINNEY                  KS           29002673484
2765886257B449   QUENYA         PETTIS                   NC           90009618625
2765B2A2655957   ANDREW         MARTINEZ                 CA           90014182026
2766122895715B   DAVID          AGUILAR                  VA           81019112289
2766125329155B   ANTONIO        MESTA                    TX           90012012532
2766315A955935   ARMANDO        OROZCO                   CA           90008261509
2766375629155B   CHRISTIAN      SALAS                    TX           90005617562
27664329672B29   ROSA           LOPEZ                    CO           90002343296
27671568672B42   GERARDO        VILLAR                   CO           33072695686
2767B49624B588   JESSICA        NICHOLE                  OK           90008784962
2768191A22B27B   TYRONE         SMITH                    DC           90013969102
2768577A791592   OSCAR          LOPEZ                    TX           90012167707
2768591A781661   JONES          NICOLES                  MO           90013539107
2768671A49136B   KEITH          BRENTLINGER              KS           90014347104
27692777772B88   HOLLIE         GELLINGER                CO           90011117777
2769475A52B27B   KERRY          DAVIS                    DC           90003267505
27695687A93731   HOLLIE         BLYTHE                   OH           90014606870
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2769887765B271   SANDRA         CASTRO                   KY           90014738776
2769B84284B281   TISHA          POINTER                  NE           90008588428
2769B852455957   CRISTAL        MARTINEZ                 CA           90014518524
276B131119184B   FELEISHIA      MCKINZIE                 OK           90014713111
276B2683355957   CHRISTINA      GARCIA                   CA           90015076833
276B5242272B42   ESMAIL         MOMANDI                  CO           90011772422
276B6563672B29   JOLENE         MARTINEZ                 CO           90014155636
276B762724B261   KRISTI         HADDEN                   IA           27026756272
276B936A591592   JAYSON         CONROY                   TX           90001433605
276BB926691356   MIRANDA        OLEY                     KS           90012359266
27713794A5B161   TIMOTHY        MIXON                    AR           23015967940
2771615272B27B   PHILLIP        FORD                     VA           90013231527
2771692169189B   VALARI         MCCONNELL                OK           21078169216
27716A43872B88   TRAVIS         FINAZZO                  CO           90014860438
27716A98372B88   AOCHI          APUNGU                   CO           90013940983
2771717917B373   BRANDON        BARBER                   VA           81017041791
2771B3A389155B   PATRCIA        REYES                    TX           90014633038
277212A499136B   JESSICA        VAZQUEZ                  KS           90011282049
2772132217B449   FREDDIE        BROWNLEE                 NC           90014793221
27723A82185822   BARBARA        DURAZO                   CA           90011180821
2772527825B571   DARCY          BULAND-DEVALLEJOS        NM           90013492782
2772B945755957   SERENA         DIASO                    CA           90012779457
27731191372B29   V ALARIE       STEGALL                  CO           90015121913
27731555572B25   AMAIDA         TRUJILLO                 CO           33003615555
2773483664B521   LYNDON         HAWKINS                  OK           90013488366
2773537537B449   LETASIA        LEWIS                    NC           90014793753
27735A1679184B   ALLAN          CANTRELL                 OK           90012110167
277369A4A72B29   DANIEL         VERAZ                    CO           90014169040
2773848579136B   TAMIE          BUCKLER                  KS           29007534857
2773848599184B   JASHON         FUSHON                   OK           90013784859
27741683572B42   NICHOLAS       DAVIS                    CO           90013796835
2774391AA72B29   SHERRI         LANDRUM                  CO           90014169100
2774527662B27B   URSULA         DAVIS                    DC           90013232766
277458A6772B42   CHARLES        SHANKS                   CO           90012918067
2774628242B27B   MALIK          SHELTON                  DC           90013232824
27746662A91356   RONALD         CARRUTHERS               KS           90013536620
2775182399189B   SHANTEL        DIXON                    OK           90009708239
27754949172B88   BIANCA         ANEMA                    CO           90012349491
2775731869155B   EFREN          MAESE                    TX           90014633186
2775737A472B42   MARLAND        RUSH                     CO           90013093704
2776186295B161   RENARDA        PENN                     AR           90006588629
2776329115B271   VANESSA        ELLIS                    KY           68039932911
27763794A76B69   JOSE ARMANDO   HERNANDEZ ROJAS          CA           90007117940
2776421722B27B   RACQUEL        KELLEY                   DC           90015052172
2776849A681638   SAM            PARK                     MO           90009704906
2777166A185938   CODY           MATHIS                   KY           67088046601
277723A432B27B   RENEE          JONES                    DC           90014803043
2777293114B261   ROBERT         JONES                    NE           90010339311
27773789272B88   MARLYN         SIFUENTES                CO           90011117892
2777B32129155B   PERLA          TORRES                   TX           90014633212
2778534292B27B   ANTONIO        TAYLOR                   DC           90013233429
2778B224791356   RHONDA         JONES                    KS           90013932247
2778B4A415715B   JUAN           OLIVERA                  VA           90004754041
2779332129155B   PERLA          TORRES                   TX           90014633212
2779348219155B   CHARYTIN       BALTAZAR                 TX           90011694821
27794194A91528   JOELLIE        VALENCIA                 TX           90004031940
277942A3991592   CRYSTAL        VILLA                    TX           90013122039
27797A1389136B   DANA           SMITH                    KS           90014980138
27798A45491592   GUADALUPE      BARRON                   TX           90012980454
27799A9119136B   MAGALY         SOLIS                    KS           29035080911
277B421729184B   CHRISTOPHER    AGUIRRE JR               OK           90012912172
277B522A291356   ISMAEL         MARTINEZ                 KS           90014692202
277B783119184B   NAOMI          MORRIS                   OK           90010948311
277BB274531631   VON            ENSEGIN                  KS           90013862745
277BB6A1A81648   SHENOWA        ROBINSON                 MO           90010186010
27814714A72B29   RONNIE         GUTIERREZ                CO           90013087140
2781766A681661   RENADA         LOPEZ                    MO           90007816606
27818156372B42   DARNELL        ANDRUS                   CO           90007791563
2781B195155935   JOSE           ESPINO                   CA           90010131951
2781B198272B88   TIM            PICKETT                  CO           90006781982
2781B433A72B42   ALVARO         ARROYO LOPEZ             CO           90008934330
27824A17672B88   GARCIA         REGINA                   CO           90010950176
2782B857872B29   JOSEPH         HEALY                    CO           90014178578
2783311A491592   JOSE           LOPEZ                    TX           90013211104
27833333A55957   KYLE           APPLEGATE                CA           90014393330
2783636779155B   DARLENE        LARA                     TX           90014633677
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27839A6175B271   SUSAN          MCARTHUR                 KY           90015110617
2784437814B588   DESMON         FRAZIER                  OK           90013013781
27844955A85822   APRIL          SANCHEZ                  CA           90011109550
2784499515B161   MERCEDES       FENNELL                  AR           90010569951
2784B85A84B261   CECILO         AGUILERA                 NE           90012038508
27852A97972B88   MARIE          MARTINEZ                 CO           90014850979
27855138672B42   JENNIFER       REYNOLDS                 CO           90014381386
27856957972B29   MANUEL         TORRES                   CO           90014169579
2785743655B257   LATASHA        CLYBURN                  KY           90011824365
2786314227B471   APRIL          EASON                    NC           90006781422
2786396A272B29   MANUEL         ZARATE                   CO           90014169602
2786788445B271   DANIEL         TUBERVILLE               KY           90015158844
2786795659189B   JAMI           CARTER                   OK           90009449565
27867A35391356   RENE           SANTIAGO PEREZ           KS           29015480353
27868616172B42   MARTHA         ROBITZ                   CO           90012826161
2786B1A745B161   KOKI           CROUCH                   AR           90010571074
2787223429136B   FRANK          IBRAHIMOVICH             KS           90011572342
2787438942B27B   LATONYA        EDMONDS                  DC           90014803894
2787865699155B   PATRICIA       MEDINA                   TX           90011696569
2787926439155B   MARISSA        ORTIZ                    TX           75001912643
2787956955B571   RAYMOND        NEVAREZ                  NM           90013085695
2787B777772B88   HOLLIE         GELLINGER                CO           90011117777
2787B967757157   MONTREZ        GREER                    VA           90002919677
2788181964B588   ARIEL          PIERCE                   OK           90011408196
2788457769189B   ALYSCIA        WINNETT                  OK           90012705776
27884AA8991592   CRISTAL        LOPEZ                    TX           90013450089
2788B6A6191356   DOMINIC        DAVIS                    MO           90012766061
278916A8272B88   RODOLFO        RUIZ                     CO           90000446082
27892925672B88   CARLOS         RIOS                     CO           90007919256
27896392872B29   NICOLE         MONRAGON                 CO           90014763928
2789693133B38B   JOHN           BLANCHARD                CO           90012319313
27898282572B88   ASHLEY         FRIZZELL                 CO           90014062825
27899AA937B449   MARTIN         HERNANDEZ                NC           90003210093
278B2A7A67B666   TEROONIA       EVERETT                  GA           90010870706
278B3789272B88   MARLYN         SIFUENTES                CO           90011117892
278B6235755957   CRYSTAL        QUAIR                    CA           90012872357
278B7117672B88   RICARDO        SILVA                    CO           90013941176
278B7669493731   SHATARA        CONNER                   OH           90014616694
278B7AA7284364   LASHANDA       ABRAHAM                  SC           19089390072
278B8287781638   CHRIS          BLACK                    MO           90014712877
278B891359184B   ORLANDO        GONZALEZ                 OK           90008619135
278B93A6791828   MIRANDA        EMSLEY                   OK           90014583067
278BB138591833   WILLIE         HILL                     OK           21009071385
278BB529881661   DEETTA         LASSITER                 MO           90015305298
2791139939155B   JULIETA        GONZALEZ                 TX           90014633993
279124A854B588   SAMUEL         RECINOS                  OK           90001244085
279128AA241245   JOSEPH         MUBANGA                  PA           90002708002
27913132772B88   ESTELA         IBARRA                   CO           33002171327
27916A2964B588   SIMONE         KNIGHT                   OK           90012510296
27919239272B42   RICARDO        VANENZUELA               CO           90014092392
2791966429136B   JESUS          GONZALEZ                 KS           90011576642
27919A77131631   WESLEY         SUTTE                    KS           90013730771
2792125759184B   VERA           LECLAIR                  OK           90013072575
279212A225B271   JACOB          SZARAZ                   KY           90012702022
2792213A89136B   CORY           SLAUGHTER                KS           90013631308
279239A2881638   VIRGINIA       MELENDEZ                 MO           90014139028
27924217772B88   SHATERICA      SADE TRYELS              CO           90013942177
2792B479872B29   HILARY         HINDS                    CO           90011594798
27942AA4355957   DOUGLAS        SMITH                    CA           90002020043
27945A4225B271   AUSTIN         DUFF                     KY           90013490422
279473A7872B29   JEFFERSON      MEDINA                   CO           90015243078
2795437A955957   ANGEL          SILVIA                   CA           90013033709
27958455572B29   MIREYA         QUEZADA                  CO           90012754555
27959A1679184B   ALLAN          CANTRELL                 OK           90012110167
2795B193376B69   DONGKYUN       YU                       CA           90011831933
2795B1A569189B   GUSTAVO        SALAZAR                  OK           90014371056
2795B69414B588   BRENDA         GUZMAN                   OK           90010286941
27961486976B69   ANTONIO        GARCIA                   CA           90011834869
27961A2A831631   KEVIN          FLEURY                   KS           90014500208
2796272695B271   SUSAN          BRILEY                   KY           90007877269
27968A87655957   JOSE           SOLORIO                  CA           90005800876
2796915A172B88   DENNIS         WILLIAMS                 CO           90013941501
27972717A5B571   ROSALINDA      DELGADO                  NM           35062837170
2797472859189B   DMARCO         ADAMS                    OK           90011967285
27977A7445B271   MICHAEL        STALLINGS                KY           90012290744
27982A5664B281   KHORI          MCFADDEN                 NE           27074460566
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27983625844B62   STEVE          LANESE                   OH           90014156258
27984326376B69   MARIA          RICARDEZ                 CA           90007243263
2798628739794B   LAKIESHA       MINOR                    TX           90002622873
2799122554B588   LATOSHIA       HUETT                    OK           90012642255
2799124239184B   SAM            HUNTER                   OK           90008072423
2799492525B255   BLAINE         KNOOP                    KY           90008979252
2799667A49184B   JACOB          DURANT                   OK           90011086704
2799798327B449   LATOYA         LINDESAY                 NC           90014799832
279B1874981638   DIANA          SEHORN                   MO           90014318749
279B224774B261   SAMUEL         BLANCO                   NE           90010012477
279B3757872B88   SHERRY         MARTINEZ                 CO           90010377578
279B56A2491828   SHENA          HAYES                    OK           90013986024
279B5724A91833   ANADALE        KAHRIMAN                 OK           90005297240
279B628242B27B   JACQULINE      PETWAY                   DC           90013242824
279B628A891828   VILMA          AMBROSIO                 OK           90013072808
279B631994B521   BRANDON        KETCHUM                  OK           21509473199
279B818569189B   ASHLEY         HOPWOOD                  OK           90014681856
279BB685871221   DAVID          FUENTES                  IA           90014696858
27B12436591833   FOWLER         DENESHA                  OK           90002464365
27B1358195715B   HECTOR         ROMERO                   VA           90000235819
27B1415A35B271   EDWIN          SMITH                    KY           90013341503
27B143A9857157   JAMAL          LACY                     VA           90012923098
27B1B652693731   SHERYL         MANN                     OH           64547366526
27B21635185822   AIOTEST1       DONOTTOUCH               CA           90015116351
27B23621785822   HERNAN         BARRETO                  CA           90011516217
27B246A9491356   ANAYELI        SEREAVIO                 KS           90010766094
27B2476597B449   KENNITH        HURR                     NC           90011517659
27B26352857157   MARIO          HERNANDEZ                VA           90004893528
27B2753939155B   VICTOR         GARAY                    TX           90012955393
27B28614285822   BENJAMIN       DUNN                     CA           90011756142
27B2998424B281   MEIA           WINDHAM                  NE           90012189842
27B2B87644B261   TRISHA         DOWNEY                   NE           90011348764
27B3125319155B   CHRISTOPHE     GARCIA                   TX           75050772531
27B3296999136B   BRIANNE        HUBBART                  MO           90010329699
27B34421572B42   VANCE          WALKER                   CO           90010824215
27B34737772B88   OSCAR          HERNANDEZ                CO           33059437377
27B34A91991828   LEEANN         DAY                      OK           90014600919
27B35753285822   LEONILO        CASTILLO                 CA           90014477532
27B38484272B42   DELMAR         MARTINEZ                 CO           90012584842
27B38524631631   NITASHA        RODRIGUEZ                KS           90014195246
27B3866A791592   DAMIEN         MCKENNA                  TX           90010946607
27B3B263281637   MARISIA        MURILLO                  MO           90008622632
27B41A8A781638   TIFFANY        TYLER                    MO           90012710807
27B42475291592   FRNKIE         LERMA                    NM           90012154752
27B44187691592   JAMES          BROWN                    TX           90009621876
27B45179A72B42   JACOBI         TURNER                   CO           90013511790
27B4531455B161   YVONNA         ALEXANDER                AR           90010873145
27B45999391592   JAZMIN         VEGA                     TX           75061619993
27B45A99A81638   ALIYA          LOGAN                    MO           90013320990
27B4B12592B27B   TIRU           BITUL                    DC           90010861259
27B4B528A9184B   AMBER          ASHTON                   OK           21009435280
27B53666572B29   MARIA          RODRIGUEZ                CO           90004916665
27B5371A824B43   ROLLINS        BEY                      DC           90011137108
27B53A45191356   AMY            CRUTCHFIELD              KS           90013860451
27B53A55672B29   PATRICIA       ROSA                     CO           90004470556
27B5542759136B   CHARLES        COTE                     KS           90010954275
27B56818591356   STACEY         COSTON                   KS           90004668185
27B6197A39184B   LIAN           THANG LAM                OK           90014569703
27B62781991356   LATASHA        WILSON                   KS           90011337819
27B6444689155B   THOMAS         GREGORY                  TX           90011674468
27B64812776B67   JAMES          BAYER                    CA           90000548127
27B67595572B88   JERALYN        STANDING                 CO           90009945955
27B67742591241   HANNAH         BROWN                    GA           90014067425
27B68A19372B88   JAYDEN         THOMAS                   CO           90013940193
27B713A9193731   LAMARK         FISHER                   OH           90005693091
27B72263A4B521   MINDY          HOOPER                   OK           90010732630
27B73475A55957   MARGARITA      PENA                     CA           90009504750
27B7594624B281   JESSICA        HAJEK                    NE           27024689462
27B77A44991833   LESLEI         HOUSTON                  OK           90001720449
27B78925672B88   ANAHI          MIRANDA                  CO           90010299256
27B79562441245   MELANIE        SMITH                    PA           90007505624
27B79865791241   ANTONIO        HAMILTON                 GA           90013598657
27B7B165893731   DASHAWN        RICE                     OH           90011191658
27B8177987B449   LYNERA         INGRAM                   NC           11052497798
27B82A7384B261   GUILLERMO      DOMINGUEZ                NE           90012220738
27B83444481638   TARA           WEBB                     MO           90010994444
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27B835A6376B69   JEANNIE        DULAY                    CA           90010565063
27B8369729794B   CANDIDO        CANGAS                   TX           90010406972
27B84A82A72B29   RICARDO        TAPIA                    CO           33010220820
27B8631139794B   KRISTAO        JOHNSON                  TX           90002563113
27B87274785822   SADAF          NEROMAND                 CA           90014752747
27B87763391592   ZAMORA         TRANSPORT INC            TX           90003377633
27B89395591592   JANET          TOVAR                    NM           90013693955
27B915A2672B29   FEY            LAWSON                   CO           90014295026
27B92116872B88   FREDDY         SANCHEZ                  CO           90011211168
27B92687772B29   ROSHONDA       GERTIE                   CO           90014166877
27B92A9794B588   LINDSEY        MORRIS                   OK           90013040979
27B9388885B571   FAITH          PLATERO                  NM           90002668888
27B9489474B261   JENNIFER       HERSKIND                 NE           90011348947
27B94993391828   DANYELLE       SANDERS                  OK           90008579933
27B9537347B449   RAYDOMA        STCKEY                   NC           90014743734
27B95692972B29   LESLIE         SALDANA                  CO           90014166929
27B97117781638   GLORIA         HOOKER                   MO           29070201177
27B99537255957   DANETTE        GAYTON                   CA           90011645372
27BB4191391241   ALVIN          HOFFMAN                  GA           90012811913
27BB8918185938   PEGGY          WADKINS                  KY           90013119181
27BB9287A7B449   NATASHA        STUCKEY                  NC           90014742870
27BBB395455957   RICARDO        CRUZ                     CA           90006603954
2811551A47B449   KEYLA          RUBY                     NC           90009055104
28115A39431631   VICTOR         TRILLO                   KS           22096130394
28116511672B88   AURELIO        GARCIA                   CO           90013405116
28116556172B88   NAHUN          CANDIA                   CO           90011355561
2811963A472B29   JAVIER         HERRERA                  CO           90011276304
2812263A572B88   ELIZABETH      MARIN                    CO           90013926305
28126935A5B271   BEVERLY        JOHNSON                  KY           90006329350
2812799454B988   WOODROW        GLAUDE                   TX           90012079945
2812B29942B27B   BENJAMIN       BUSH                     DC           90014362994
2812B83615B571   ROY            THUNDERCLOUD             NM           90011708361
28131759472B42   PEDRO          CHAVEZ                   CO           90011877594
28131A32881691   ERIN           ASHBRROK                 MO           90010430328
28132A42757157   MARIA          ESPINOZA                 VA           90013380427
28133253A72B29   VANESSA        GALLEGOS                 CO           90015042530
281358A274B588   MIRANDA        ROSAS                    OK           90001258027
2813682537B449   TAMIKA         GAMBLE                   NC           90014048253
2813B78755B271   KAT            DADDY                    KY           90012347875
2814236A131453   MARIE          THEODORE                 MO           27513333601
2814245137B435   JAMAL          HUNTLEY                  NC           90013814513
2814265145B271   JOHNNIE        BONNER                   KY           90012366514
28146716372B29   NASTASSJA      TODD                     CO           33094577163
2814673A491241   SHIRON         WILLIAMS                 GA           90012817304
28146A4145B571   ANTHONY        SOTO                     NM           90008710414
2814778694B521   DANA           BOLDING                  OK           90007357869
281482A564B281   OCTAVIEA       MCGHEE                   NE           90007582056
2814B577972B41   JANEY          GRENZ                    CO           90014045779
2814B89784B988   ASHLEY         ROWRY                    TX           90013308978
28152636772B29   MARIA          VILCHIS                  CO           33085566367
28155A2A991356   EDGAR          ERAZO                    KS           90013080209
28155A8695B571   KATHLEEN       HAINES                   NM           90003440869
2815617522B27B   MARY           LINDSAY                  DC           81004971752
2815B28A184382   DARLENE        LEDFORD                  SC           90009372801
2815B864231453   CHARLES        COGSHELL                 MO           90010718642
28161967576B69   MARY           POCKRANDT                CA           90011779675
2816438A72B27B   VALENCIA       ADAMS                    DC           90011523807
2816458827B449   JAMES          HARRIS                   NC           90014095882
28166626872B29   MARTHA         RAMIREZ                  CO           90008826268
28167739672B29   LINDSEY        WYATT                    CO           90009577396
2816B518A2B27B   JENNIFER       GARCIA                   DC           90011405180
28172249A72B88   CYNTHIA        SCOTT                    CO           90011692490
2817573829184B   JAMIE          WOOD                     OK           90012827382
2817718985592B   AUGUSTINE      GARCIA                   CA           90008151898
28179491872B88   SAUL           CASTANEDA                CO           90013934918
2818248A92B27B   JASMINE        JOHNSON                  VA           90009954809
2818362239794B   PAMELA         MCMILLEN                 CO           74003446223
2818463A572B88   ELIZABETH      MARIN                    CO           90013926305
2818578889189B   TAMI           HARRIS                   OK           21009037888
2818617932B27B   KESHAUNA       MUHAMMAS                 DC           90010401793
281888A8191592   MELISSA        MONZON                   TX           90010738081
28193A41A57157   HIRAM          RIVERA                   VA           90009920410
281957A4481633   SAMUEL         GUTIERREZ                MO           90015127044
281994A754B988   TAMMY          ROCKA                    TX           90010954075
2819B111691547   CHRISTOPHER    CASTILLO                 TX           90011151116
2819B119431453   PRISCILLA      PATTERSON                MO           90011071194
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2819B249A72B88   CYNTHIA           SCOTT                 CO           90011692490
2819B52245B571   JULIETTE          BALDONADO             NM           35089285224
2819B734272B88   AMANDA            VAUGHN                CO           90012667342
281B142A45B271   SHIRLEY           WILLIAM               KY           90010144204
281B253A357157   OSCAR             MAJANO                VA           90010315303
281B3595143551   JOSE              GARZA                 UT           90009155951
281B3856691241   NATHANIEL         BRACK                 GA           90014788566
281B918547B259   MELA              BORREGO               NM           40517261854
281BB795291833   BRANDY            TIDWELL               OK           90014877952
2821143AA2B27B   VONNIE            GREEN                 DC           90014614300
28216284272B29   ERIC              ARELLANO-DOMINGUEZ    CO           90015042842
28217198A81633   FELICIA           LOPEZ                 MO           90011311980
282177A8431453   TYRONE            LESLIE                MO           90010247084
282196AA157157   EUGENIO           HERNANDEZ             VA           90002316001
28221494272B88   MIGUEL            RAMIREZ               CO           90013934942
2822252122B27B   BETHLHAM          ARGAW                 DC           90012475212
2822923165B271   SHANNON           HURT                  KY           90009272316
2822B85795B271   JAZMINE           TRICE                 KY           90013778579
2823289397B449   TERENA            DUMAS                 NC           90014088939
282349A455B271   LAWANDA           FOSTER                KY           90012849045
2823927329189B   SHELBY            THOMIS                OK           90009342732
2823B1A914B988   RONNIE            BANKS                 TX           90011391091
2823B637693727   MARIAH            WILSON                OH           90011376376
28242286772B88   ZANE              SCHAFFER              CO           90011692867
282423A8257157   MARNIE            LARY                  VA           90002383082
2824437A876B69   DAVID             NICHOLS               CA           90008633708
2824729A45B271   RON               SPADIE                KY           90013932904
2824933819189B   TOBY              SOLOMON               OK           90015113381
28249761572B88   MARIA GUADALUPE   MUNOZ                 CO           90013297615
28249A39431631   VICTOR            TRILLO                KS           22096130394
2824B236857157   MINUETTE          BROCK                 VA           90010392368
2824B637272B88   LUIS              MURO                  CO           90013926372
2824B688391828   CRYSTAL           ROBOL                 OK           90014756883
2825168959199B   ASHLEY            STANLEY               NC           90001096895
2825366A772B88   ANGELA            FLORES                CO           33055576607
282542A1851322   JAMES             HELTON                OH           90009892018
28254A35972481   WILLIAM           NICHOLSON             PA           90011690359
2825666453B356   LYNN              HILL                  CO           33085516645
282584A3791241   ALFRED            PERRY                 GA           90014784037
28258658172B29   GILBERT           VALENZUELA            CO           90005676581
2825953A34B588   JOHN              GRAHAM                OK           90014885303
2826233594B588   BRIANNA           ROBERTS               OK           90013783359
2826632365B161   TABITHA           COFFER                AR           90010843236
282699A8231453   MYRA              TAYLER                MO           27585989082
2826B82339189B   MARIANA           SANTOS                OK           90012828233
28272349272B29   ISAAC             SMITH                 CO           90000363492
2827396A281633   RONJALO           DIXON                 MO           90014159602
28276293872B88   RUBY              VALDEZ                CO           90010972938
2827737882B23B   BROOKE            PLEAS                 DC           90008063788
2827B63755B271   JOESPH            HART                  KY           90014036375
2827B668891828   KEJUAN            HUGHES                OK           90010286688
282814A125B571   BEN               SANDOVAL              NM           90011714012
2828265637B471   ALEXANDER         PORTER                NC           11083146563
282852A6591547   DIANA             GUERRA                TX           90011522065
2828784799374B   AMY               LEWIS                 OH           90008178479
2828911957B449   SAMERRA           CLOTTER               NC           90014931195
28289425A57157   PRINCESS          KABBA                 VA           90000594250
2829148139189B   BRYAN             GIBSON                OK           90014014813
2829262982B27B   CARL              DADE                  DC           90012736298
2829517AA31453   JOHN              TERRY                 MO           90007011700
2829527274B261   CURRY             DAVIS                 NE           90012152727
2829555AA91592   SEBASTIAN         GONZALEZ              TX           90007325500
2829975824B588   DEREK             FORSHEE               OK           90013587582
282B1312851328   RICKY             SIMMONS               OH           90010973128
282B146714B988   JORDAN            BERNARD               TX           90013144671
282B2838276B69   RUTH              NAVARRO               CA           90008838382
282B3442157157   LISA              SMITH                 VA           90009284421
282B3AA975B161   BRANDI            NALLEY                AR           90011550097
282B7139772481   KARLTON           DENNIS                PA           51017361397
282B974239794B   JUAN              HERNANDEZ             TX           74073227423
282BB843591241   AMIRA             BACON                 GA           90014748435
2831157277B449   DANIA             MCCRAY                NC           90011085727
2831266484B988   YIMIN             HE                    TX           90012346648
2831847765B571   BEATRIZ           CHAVEZ                NM           90010244776
2831963335B271   SHAWNA            HAUDENSHILD           KY           68037846333
283197A1672B29   MYRA              B                     CO           90011277016
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2831B24155B161   SAM            CARROLL                  AR           23060802415
2831B49AA4B988   DAVID          DUVAL                    TX           90009134900
28322829A91592   OYUKY          HENRIQUEZ                TX           90010738290
2832334897B422   NOEL           EWING                    NC           90013793489
28324998172B29   JOHN           ALMAGUER                 CO           90008729981
2832896655B161   LATASHA        BEST                     AR           90004819665
28329321372B29   ASHLEY         CORONADO                 CO           90015043213
28331126672B42   ANDRINA        LEAHY                    CO           90012111266
2833169944B281   CONNIE         COCO                     NE           27012906994
28333321572B42   GRANT          NICHOLSAN                CO           90012903215
2833554865B177   AMBER          HARRIS                   AR           90010935486
2833867814B588   EDWINE         TISDALE                  OK           90013006781
2833B832172B29   BRYAN          DECKER                   CO           33000208321
2834546824B588   JESSICA        WILLIAMS-KOWALCIK        OK           90014714682
28345719472B29   ANA            VELASQUEZ                CO           90011277194
2834636429184B   ERICA          GULLICK                  OK           90011393642
28347888A91592   CAROLINA       OBLICK                   TX           90007668880
2834B39A944B75   ISABELLE       FERRER                   OH           90013943909
2835549559189B   VICTOR         RAMIREZ                  OK           90014174955
2835921892B27B   SHERWOOD       HARDY                    VA           90012802189
2835BA2775B571   DANA           WASHEE                   NM           90014620277
2836156114B588   ANDREW         HOLT                     OK           90010245611
2836269114B281   BARBARA        GERMANY                  NE           27091546911
28365879472B88   MARK           BECHLER                  CO           90002838794
2836589814B281   KELLIE         MCCOY                    NE           90014778981
28365AA3581633   WENDY          ORELLANA                 MO           90012480035
283672A1672B42   DEVIN          ALLINGHAM                CO           90012042016
28371193A91547   ROBERTO        FLORES                   TX           90010371930
2837654AA51328   MEGAN          NICHOLS                  OH           90014995400
283835A189184B   ROGER          MIKLES                   OK           90013015018
28383A99A9184B   ROGER          MIKLES                   OK           90013840990
28387A31991833   WILLIAM        WORKMAN                  OK           90012780319
2838B477731453   NEKETIA        FULTON                   MO           90014694777
2838B654457157   MATTHEW        THOMAS                   VA           90013226544
2838B987357157   LISA           MCCORMICK                VA           90014619873
2839154124B596   TASHARA        WRIGHT                   OK           90012655412
2839316357B449   MARY           LOPEZ                    NC           90014131635
28393A13681633   ASGHAR         JAVADI                   MO           90012480136
2839846969189B   BARBARA        HERNADEZ                 OK           90010034696
283B4991A51328   ANGELA         HARRIS                   OH           90004089910
283B523552B27B   RILDER         TERRERO                  DC           90013662355
283B6939472B88   ARTURO         LOPEZ BENITEZ            CO           90014049394
283B8641572B88   LUIS           MURO                     CO           90013926415
283B9138991833   SHAYA          ZWIRTC                   OK           90014921389
283BB567791528   GEORGINA       RUIZ                     TX           90005715677
2841334474B588   YOLANDA        CASAS                    OK           90011363447
28415523572B88   AARON          VALDERAS                 CO           90014735235
28417523572B88   AARON          VALDERAS                 CO           90014735235
2841824369189B   PAYGO          IVR ACTIVATION           OK           90014362436
28418348572B88   ISIDRO         PEREZ                    CO           90012033485
28418A51931453   BRENDA         HARVEY                   MO           90011500519
284215AAA9189B   KENNETH        HIBBS                    OK           90014175000
2842189239184B   HEILEY         DEFFLER                  OK           90011068923
2842198227B449   KENTERLL       LITTIE                   NC           90014519822
2842312529184B   JESSICA        HANNAFORD                OK           90012731252
284242A8491833   CAROLYN        OWENS                    OK           90006672084
2842562712B27B   GARY           LOVE                     DC           90013976271
28426A7A65B571   JASON          BROOMFIELD               NM           90011720706
284285A1785991   KRISTIN        MONACO                   KY           90006705017
28428A2753B333   ELIZABETH      OJEDA                    CO           90011070275
2842933A291592   RAYMOND        SANCHEZ                  TX           90013313302
2842998272B27B   ROBERT         JONES                    DC           90007969827
2842B524672B88   ROXANN         PADILLA                  CO           90014735246
2842B56985B271   JOSE           JIMENEZ                  KY           90013055698
2843858832B27B   NIGEL          BELMAN                   DC           90014725883
2843BA25931453   TIAUNA         HUNTER                   MO           90014050259
28442135572B29   CONNER         GRIFFIN                  CO           90006771355
28443161A5B571   ELEAZAR        IXMATLAHUA               NM           90011721610
2844354A35B271   JASON          HAYDEN                   KY           90012525403
284445A6585965   JULIE          WRIGHT                   KY           66060835065
2844787524B588   SHANNON        BRACKETT                 OK           90005328752
28455766A72B29   PABLO          GALVAN                   CO           90011277660
2845886112B27B   DEMARCO        HASKINS                  DC           90012808611
2845B9A7731453   CRYSTAL        RICHARDSON               MO           90007509077
28465787172B88   ANTHONY        GONZALEZ                 CO           90008507871
2846681954B988   JAMI           MCLAUGHLIN               TX           90002868195
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28469328872B42   RACHELLE       CAMACHO                  CO           33097473288
28473A4969155B   VIRGINIA       RODRIGUEZ                TX           90011960496
2847479814B261   PATRICK        MARION                   NE           90010447981
2847613A191547   MIGUEL         VELA                     TX           90012521301
28484AA2981633   CARLEDA        SANCHEZ                  MO           90013860029
28486312672B88   JORGE          RODRIGUEZ                CO           90012763126
2848691552B27B   GJHB           TDYFRXT                  DC           90012809155
2848991675B271   AMBER          THOMAS                   KY           90010519167
2848BA3AA76B69   JUANA          MUNOZ                    CA           90012440300
2849425A972B29   DEANNA         BARAJAS                  CO           90008342509
28494A52181638   ANDRE          ROBINSON                 MO           90001010521
2849542A87B449   JERRY          STRANGE                  NC           90012814208
28499A92776B56   GLORIA         LIMA                     CA           90014290927
2849BA3774B588   EMILY          RITTGERS                 OK           90013540377
284B312769184B   VICTORIA       SHAFFER                  OK           90012721276
284B5268791241   ROBIN K        MCCALLAR                 GA           90010162687
284BB79235B571   JOSE LUIS      LOPEZ                    NM           90011717923
2851547369189B   LATOSHIA       KELLEY                   OK           90014694736
2851824949184B   TERESO         ESPARAZA-DURAN           OK           90013722494
28518362A4B988   CYNTHIA        ABRAM                    TX           90012293620
2851876644B988   STEPHEN        ALLEN                    TX           90013887664
28518921672B61   SIGFREDO       QUIJADA                  CO           90008289216
2851B794685991   DERRICK        SMITH                    KY           90006797946
28522A52881633   TONISHA        COUSER                   KS           29066310528
2852412885B271   TYREE          TOLLEY                   KY           90013271288
2852436665B271   TYREE          TOLLEY                   KY           90011373666
2852469189184B   WILLIE         MYERS                    OK           90011516918
285254A5191833   SIR            JOHNSON                  OK           90010504051
285265A922B27B   QUINCY         BAIRD                    DC           81038865092
2852763264B281   GELISA         MILLER                   NE           90013266326
285288AA39189B   JACOB          PALMER                   OK           90010748003
28529A48257157   MAURICIO       ALVAREZ                  VA           90011250482
2852B97582B27B   JOSE           SALVADOR                 DC           90012809758
2853696729155B   ROMERO         YADIRA                   TX           90006709672
28537375A91828   JENIFER        BARRETT                  OK           90012783750
2853759672B27B   BRADERICK      FARMER                   DC           90014725967
2853961724B281   MARY           MULDER                   NE           90014156172
2854196729155B   ROMERO         YADIRA                   TX           90006709672
285439AA25B333   REGINO         MALDONADO                OR           90011419002
2854717359189B   DEBORAH        NELSON                   OK           90011431735
2854B63972B27B   LASHAWN        NOBLES                   DC           90013186397
2855171989189B   TJ             COVINGTON                OK           90009987198
28551A53457157   JAMES          GUNN                     VA           90010490534
2855297614B588   LUKE           EDWARDS                  OK           90003449761
2855393A691592   MARIA          AVILA                    TX           90013149306
2855571A631453   CHRISTOPHER    SHINALL                  MO           90014707106
2855662A99794B   SHAWN          JENKINS                  TX           74086866209
28558A98191356   VALERIE        RUIZ                     KS           90013640981
2855B143691547   JULISSA        AYALA                    TX           90012521436
2855B84194B988   CHAD           JACKSON                  TX           90014698419
2856177949184B   JAMES          SIMMS                    OK           90009477794
28567AA514B988   KENNETH        MAYFIELD                 TX           90007650051
28568454672B29   STEVEN         SHELTON                  CO           90010644546
2856B2A514B988   AGUSTIN        BELISTA                  TX           90014492051
2856B763231453   RASHEID        BROWN                    MO           90014707632
2857359545B571   PATSY          HOLMES                   NM           90013075954
28573A65657157   FREDYS         SIGARAN                  VA           90012920656
285756A5891592   JONATHAN       FLORES                   TX           90009956058
285761A3681637   EDIN           GARCIA                   MO           90009151036
28576672A2B27B   JASON          RICHARDSON               DC           90008376720
28577882A31453   TERRY          SCHNELTING               MO           27505248820
28578388772B29   PALMER         DAN                      CO           90009543887
28581975A4B988   ARES           ETEMADI                  TX           90010359750
2858316364B588   HEATHER        REDWINE                  OK           90012041636
28583851A81638   JOWANA R       JOHNSTON                 MO           90007228510
2859326724B588   LAPERCIOUS     MOORE                    OK           21510142672
28593723444B75   PATRICK E      FLANAGAN                 OH           90014007234
28596A7934B988   ALBERTO        ENRIQUE                  TX           90013940793
285B5587285835   IRVING         PINEDA                   CA           90003585872
285B6142991547   UNI            HAN                      TX           90012521429
285B7716591592   EDGAR          CHAVEZ                   TX           90014927165
285B7A49791547   CHRISTIAN      MARQUEZ                  TX           90011090497
285B9641691534   ADRIAN         GONZALEZ                 TX           90010916416
28614441A7B449   NAILAH         CAREW                    NC           90013164410
28617A6167B449   DEMAROUS       NASH                     NC           90011000616
286199A137B449   TERRONDA       BUMPASS                  NC           90014109013
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2861B5A9691592   VICTORIA            STEWART             TX           90014485096
28622AA2481638   DANIEL              MELO                MO           29061770024
2862421344B28B   CHRISTOPHER         JONES               NE           90009552134
2862422444B281   ALVAREZ RODRIGUEZ   IVAN                NE           90013832244
2862643A52B27B   LINDA               THORPE-HODGES       DC           90012814305
2862B39175B571   MARTHA              RODRIGUEZ           NM           35003533917
286315A6585965   JULIE               WRIGHT              KY           66060835065
2863165629184B   CLAUDIA             CALDERON            OK           90004906562
28631682A57157   JACOB               AYALA               VA           90012966820
286324A699184B   MARIETTA            WILLIAMSON          OK           90012244069
28634192372B29   RAQUEL              GUTIERREZ           CO           90011451923
286356A755B161   PORCHA              HUNTER              AR           90011126075
2863937117B449   STEPHANIE           ROBINSON            NC           90010373711
2863B26539184B   SHAYLA              PERKINS             OK           90010472653
286437A5257157   JENNIFER            RILEY               VA           90012967052
2864474532B249   JUANITA             DOWDY               DC           90002487453
2864549629189B   JAMES               OFFICER             OK           21006224962
2864565795592B   CIRENIO             GUTIERREZ           CA           90010786579
2864572485B161   VERNON              MORGAN              AR           90000727248
2865347369189B   LATOSHIA            KELLEY              OK           90014694736
2865494945B271   LESLIE              PERKINS             KY           90012949494
28655219872B29   SHANNON             GIARRUSSOM          CO           33090492198
28655A5A69155B   JAVIER              CARRILLO            TX           90008750506
2865793A64B988   JOE                 GARRICK             TX           90014179306
28658695A91833   TIFFANY             HALL                OK           90008386950
28658A88631453   KEYONNA             BELK                MO           90014720886
2865BA41631453   RAYSHAWN            STEEPLES            MO           90014720416
2866399395B271   CARMEN              FRYE                KY           90011419939
2866816A69184B   ANDRE               BARR                OK           90013891606
2866B518A91592   MANUEL              CUEVAS              TX           90014485180
2867275685B161   MARSHUNDA           THOMAS              AR           23084097568
28672885A31453   TONY                HENDERSON           MO           90014308850
286763A954B588   TANNER              POLK                OK           90012373095
2867736664B521   RHONDA              MILIA               OK           90005533666
2867854812B27B   WESLEY              PINKNEY             DC           90015295481
28679A4324B988   MICHAEL             DOUCET              TX           90010730432
28684217172B88   VIC                 BARBOSA             CO           90012752171
2868614758B15B   DELO                LIU                 UT           31088461475
2868B446491592   RAMON               CASTILLO            TX           75081904464
28693218172B88   SANCHO              SANDOVAL            CO           90013052181
28693AA949189B   ANTHONY             COX                 OK           90014050094
28694126872B88   DAVID               PENA                CO           90013991268
286974A7544B75   PAUL                GRIMM               OH           90014014075
28697551472B88   CHRISTOPHER         BARRETT             CO           90014735514
2869993712B27B   COURTNEY            MERCER              DC           90010869371
2869B3A265B571   BRITTANY            GUTIERREZ           NM           90014643026
286B375A27B449   FATIMA              PORTILLO            NC           90009877502
286B3A17536B77   RACHELL             GONZALEZ            OR           90007850175
286B53AAA4B988   LEONARDO            CABRAL              TX           90014703000
286B7233881637   SHARDAE             JONES               MO           29003222338
286B8318972B29   VALERIE             VIGIL               CO           90011533189
286B9192591592   ERIC                MARTINEZ            TX           75090291925
286B978728B166   CAROLINA            MARQUEZ             UT           90004877872
28711716976B22   IVAN                BALLIN              CA           90014357169
28715A9192B232   NETA                VAUGHT              DC           90008890919
287161A225B571   JOSE                HERRERA             NM           35059751022
28717849372B29   JONATHAN            MAX                 CO           90011278493
287184A1191828   ENNI                AGUSTINE            OK           90012784011
28718A37891547   NANCY               LOPEZ               TX           75030470378
2871BA4495B271   MARQUITA            CHAPMAN             KY           90014730449
28724477A91547   ARMANDO             RUIZ                TX           75000924770
2872B119A91828   ARCILA              VILLALPANDO         OK           90011431190
28732861772B29   JOSE                VILLAGRAN           CO           90011278617
28734415972B88   DARYL               EASON               CO           90011624159
28737427A9189B   LEON                ALEMAN              OK           21093584270
2873B494772B29   ANGELIA             ALKINS              CO           90002464947
287425A6331453   TIM                 LOWE                MO           90010305063
2874343679189B   ALEXANDRA           HOLLAND             OK           90009284367
287448A1991356   LUIS                APARICIO            KS           90014158019
2874498A791833   CORNELL             ROLLAND             OK           90014979807
287451A614B988   JOSH                JOHNSON             TX           90014141061
2874698424B281   TENISHA             VAWSER              IA           90012219842
28747127272B88   KURT                ALTHOFF             CO           90013991272
28747A3A457564   AMANDA              HALLADAY            NM           35586010304
2874B4A1957157   BANDITSEREN         OTGONBAYAR          VA           90010534019
28757A83931631   AMY                 CUTSHALL            KS           22096620839
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2875829A672B42   ROSALINDA       DE ROBLES               CO           90013642906
2875B99465B271   LAKISHA         OLIVER                  KY           90010529946
287646A3431453   DAWN            TUCKER                  MO           90014636034
2876673729184B   JOSE            FERNANDO RODRIGUEZ      OK           90010767372
2876981A931453   LARHONDA        HOLMES                  MO           90014728109
2877117A891528   JOSE            RAMIREZ                 TX           90003301708
2877343335B571   ANTONIO         MONTOYA                 NM           90012034333
2877413315B161   PAULA           MILLS                   AR           90009941331
28775132772B88   GRACIELA        MARTINEZ                CO           90005621327
2877957A19184B   KAREN           DUNN                    OK           90002675701
28779A1639376B   TIMOTHY         VANHOOSE                OH           90001050163
28781397A71923   JANA            HAYES                   CO           90013243970
2878225754B988   COREY           JOYNER                  TX           90012192575
2878473772B27B   LAKIVA          MCGHEE                  DC           90012817377
2878631737B449   ALICIA          HERNANDEZ               NC           90014153173
287865A769189B   TORI            ALEXANDER               OK           90011005076
2878887A893724   LAWRENCE        NWOYEOCHA               OH           90011808708
28788A5A272B88   STEPHEN         DEYERLE                 CO           90011950502
2878965742B27B   JASMINE         DAVIS                   DC           90014526574
2878BA2A72B27B   DELFINA         RAYMUNDO-GUDIEL         DC           90008800207
2879477762B27B   DONNA           CHRISTIAN               DC           90012817776
2879749A857157   LAUREN          WATTS                   VA           90014154908
2879939385B571   MICHAEL         ROGERS                  NM           90014913938
2879B444372B29   GABRIELA        CATRO                   CO           33061854443
287B2342872B29   NICK            ACOSTA                  CO           90004503428
287B3862857157   MANUEL          ALVARENGA               VA           90010528628
287B3972891547   LISA            SKELTON                 TX           90002179728
287B3A8A331453   DANIEL          REBERT                  MO           90007510803
287B3A9519794B   SANDRA          DARLING                 TX           74011870951
287B4858671943   ALEXANDRA       PHILLIPS                CO           90006608586
287B5539157157   DANNIEL         TENEZ                   VA           90013815391
287B6327A91547   CARDOZA         JORGE                   TX           90014373270
287B66A1A2B27B   JOHNNY          BRATTON                 DC           90012816010
287B6885191833   JULIE           THORNBRUGH              OK           90003888851
287B844659189B   PATRICIA        ALFARO                  OK           90011854465
287B871A15B571   ANGIE           FIGUEROA                NM           35041357101
287B8767957157   JASON           BERMUDEZ                VA           90014887679
287B9358A4B261   IGNACIO         DEMUNER                 NE           90012913580
28811875672B88   DEZMEN          SANCHEZ                 CO           90005138756
28817573372B88   MIGUEL          DEGOLLADO               CO           90014735733
2881997994B588   MISTY           THOMPSON                OK           90010759799
2881B1A3291528   FELIX           ARROYO                  TX           90005741032
2881B36872B27B   DAJHAN          SETTLES                 DC           90014843687
2882154459184B   ELISA           PUENTE                  OK           90009015445
28823A8194B261   JOAL            NISTL                   NE           90008300819
2882878665B271   AIMEE           PAWLEY                  KY           90009747866
2884332A272B29   ANDREA          JACKSON                 CO           90005493202
28843A5A536B77   ANIVAL          CALDERON                OR           44520130505
28845315272B29   ADAM            ROMERO                  CO           33040043152
28845566A57157   MELISSA         WASHINGTON              VA           90011965660
288472A3857157   MONSTER         SCAPES                  VA           90010572038
2884749A872B42   GENA            BARLEY                  CO           33076194908
2884757524B988   C HAD           HUMPHERY                TX           90010345752
2884B35584B281   DWIGHT          HOWARD                  NE           90014603558
2885567694B588   STACY           HESS                    OK           90012346769
28857341A91828   ADAM            PEARSON                 OK           90012193410
2885768892B27B   RENEE           SILVERS                 DC           90010196889
2885B532597B41   SALVADOR        RODRIGUEZ               CO           90006415325
2885B791A91592   CHRIS           YTUARTE                 TX           90012057910
2886181AA81633   SHAVONNA        BROWN                   MO           90003298100
2886287A172B29   LORENA          GUTIERREZ               CO           90001178701
2886824874B281   VICTOR ALONSO   JIMENEZ                 NE           90012392487
28872266972B88   JAIME           GUTIERREZ               CO           90010522669
28872A9684B281   NICHOLS         BRYCE                   NE           90012110968
2887348237B449   DAFNE           CANTU                   NC           90014154823
2887564475B571   MICHAEL         GRIEGO                  NM           90008436447
2887564479189B   KATRINA         TOLES                   OK           90012076447
2887632999184B   TYLER           ELLIS                   OK           90013043299
2887731717B471   ASHLEY          ANDERSON                NC           90001563171
28878813172B88   ERRICK          RODRIGUEZ               CO           90013048131
2888231294B281   MICHAEL         CONNELLY                NE           90013933129
2888295474B281   DAVID           GONZALEZ-GARCIA         NE           90012229547
28883493A91592   SANDRA          WATSON                  TX           90012204930
28889852A57157   STEFFANY        JOHNSON                 VA           90005698520
28891343472B29   JADE            HERRERA                 CO           90011533434
28891A68272B42   BRENDA          BARRON                  CO           90013560682
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288B234257B449   JHANEE          BLOUNT                   NC           90014153425
288B2A38472B29   MICHELLE        PETTIFORD                CO           90009820384
288B334887B449   EDGAR           JARAMILLO                NC           90014153488
288B472839184B   MIRIAM          MUNOZ                    OK           90010127283
288B6115A9189B   WILLIAM         HUFFMAN                  OK           90014061150
288B7A2539184B   AUDRA           LEWIS                    OK           90010130253
288B864A35B571   LIZY            SALVIDREZ                NM           90011416403
288B9566A31433   THERESA         BARTON                   MO           90008615660
288B9793491828   DAVID           RODRIGUEZ                OK           90013777934
288B98A6472B42   LUIS            BATISTA                  CO           90009058064
2891157A125144   FELICIA         ROBINSON                 AL           90014575701
2891971674B281   ANTUNASHEAKA    MIDDLEBROOKS             NE           90011707167
2891B217491547   CANDELARIA      MORALES                  TX           90011372174
2892137A531453   ROSHANDA        BALENTINE                MO           90014733705
28921864A4B541   ANNIE           BROWN                    OK           90013048640
2892297914B988   JOHN            SOLIS                    TX           90012289791
2892456A27B449   VICTOR          CANTU                    NC           90014155602
28926A82691547   AURORA          FRANCO                   TX           90000910826
28927893572B29   JOHN            RODRIQUEZ                CO           33072788935
28929743A91833   KAYSHA          JAMERSON                 OK           90008507430
2892B656591356   ERIC            MIMS                     KS           90014416565
28931637972B42   HERNANDEZ       ADAN                     CO           33000866379
28934567A7B644   LEAH            UNWIN                    GA           90002785670
289364AA49184B   MIRNA           CIFUENTES                OK           90012834004
28937AA7431432   YVONNE          TAYLOR                   MO           90001800074
2893BA41791592   PONSE           OLGA                     TX           90011200417
28943567A85865   SACHIYO         TAKASAWA                 CA           90011655670
2894727897B422   JOHN            MATHEWS                  NC           90012702789
2895125774B988   JOSEPH          SCOTT                    TX           76586282577
28951A57A91547   CHRISTOPHER     KRAUSE                   TX           90013920570
289526A988B188   LIZ             GREUEL                   UT           90012636098
28954A62191547   FRANCISCO       ACOSTA                   TX           90013920621
2895562AA57157   MELISSA         MONROE                   VA           90010016200
2895563775B571   MARELLA         DALGAI                   NM           90014646377
28955A8614B988   DICKIE          SPICKARD                 TX           90009500861
2895662147B449   JEL             K                        NC           90014156214
2895B57A772B42   ARTHUR          EVANS                    CO           90013445707
2896145139184B   SONJA           ALDRIDGE                 OK           90010434513
2896722669189B   RONALD          OBRIEN                   OK           90014062266
28968658472B29   VICTORIA        HINOJOS                  CO           90010656584
2897233239184B   JASON           WILLIAMS                 OK           90010933323
28973A85A5B161   MARCUS          BROWN                    AR           90004220850
2897578A181638   JENNISE         TURKS                    MO           29032897801
28976A5834B521   AMBER           HERRIN                   OK           90000990583
2898394195B271   THOMAS          TAYLOR                   KY           68016069419
2898887A884382   MICHAEL         HARKNESS                 SC           90005228708
2898B454281633   JULIO           AROYO                    MO           90011164542
289935A3926759   NADJY           TYLER                    PA           90013005039
28993796A85965   KATHERYN        LARISON                  KY           90010797960
2899854179184B   CHRISTINE       GURROLA                  OK           90014915417
2899945814B588   CHANTA          CARILLO                  OK           90010754581
2899B35322B27B   DANIEL          VELAZQUEZ MATIAS         DC           90010423532
2899B759957531   DAMBRA          DABNEY                   NM           90009727599
2899B95644B281   DIEGO           BARRERA                  NE           90012129564
289B1962257157   NICKOLE         CROMARTIE                VA           90014159622
289B484197B471   BILL            DOLLAR                   NC           11069688419
289B543497B471   EYOSIAS         ARGAW                    SC           90007464349
289B6352191547   MARIA           ANDAVAZO                 TX           90011063521
289B773879189B   ANTONIO         CARBAJAL-HERNANDEZ       OK           90012347387
289B858395B571   JAMES           LEE                      NM           90014645839
289B9695172B88   SAMUEL          HIMES                    CO           90010746951
289B9766872B29   BRENDA          DORN                     CO           90009847668
28B12135591828   PEDRO           ARROYO                   OK           21095171355
28B16711A91592   ZAIRA           SALINAS                  TX           90013627110
28B17439372B42   TERENCE         BRADSHAW                 CO           90013104393
28B17846731631   TINA            COSTER                   KS           90013608467
28B18A76452B58   WHITLOCK        CINDY                    CA           90000820764
28B1966264B588   ARACELI         OJEDA                    OK           90012516626
28B2123485B571   MICHAEL         GIBSON                   NM           90011702348
28B21585472B88   ANGEL           ARINAGA                  CO           90013235854
28B23728181633   MONICA          TURNER                   MO           90013157281
28B24294972B42   CHRIS           MEIKLEJOHN               CO           90010212949
28B27389981633   LUPEE           AGUILAR                  MO           90014893899
28B2764897B449   MICHELA         CORNETT                  NC           90014046489
28B2837419189B   BRIDGETT        MCNEILL                  OK           90010373741
28B28499A91592   MARCO           RODRIGUEZ                TX           90004014990
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28B31951691592   CRISTIAN       TELLEZ                   TX           90014179516
28B32239257157   JORDAN         HOGAN                    VA           90013172392
28B33428A4B588   STEPHANIE      DOTSON                   OK           90011024280
28B36363976B69   BEATRIZ        AMBRIZ                   CA           90008493639
28B3764679189B   TEVIN          BURKS                    OK           90012436467
28B3838A55B161   KAURON         MAYO                     AR           90013313805
28B4186A29189B   CHARLES        JERKINS                  OK           90009308602
28B4419285B271   LORENZO        BARRERA                  KY           90012031928
28B4741194B281   NICOLE         LAFOE                    NE           90011814119
28B48297991241   SHANTE         FREEMAN                  GA           90014722979
28B48A32281633   CHRIS          MAGUIRE                  MO           90013190322
28B5167219184B   MARLENE        LOZANO                   OK           21093556721
28B52783557157   MAXIMO         MACIAS                   VA           90014497835
28B5884124B261   TYLER          TIETSORT                 IA           90014158412
28B5955988B147   CORY           GREEN                    UT           90012075598
28B5971914B281   DONSHA         MAYFIELD                 NE           90014717191
28B62869891828   JUAN           ESCOBAR                  OK           90014598698
28B65356A9184B   JESSICA        HERNANDEZ                OK           90014683560
28B65624581633   JEFFREY        GALINDO                  MO           90011186245
28B65636291828   RENEE          KELLER                   OK           90014536362
28B67534451328   JORDAN         POWELL                   OH           90010575344
28B6826854B261   DEBRA          SCHABER                  NE           90010782685
28B69311172B88   CASSANDRA      GIBNEY                   CO           90012763111
28B6931619184B   APRIL          TRUE                     OK           90014663161
28B69412591241   LYNNE          BRACKINS                 GA           90010774125
28B71228472B29   PATRICK        QUINN                    CO           90015042284
28B71761391542   RAMON          MEDRANO                  TX           90005827613
28B72141691833   STEFAN         BRYANT                   OK           90011521416
28B7235124B261   MABEL          SANCHEZ                  NE           27050863512
28B72534A31453   WILLIAM        NEIL                     MO           90011145340
28B74633491241   FRANCISCO      GASPER                   GA           90010226334
28B75634472B29   ALBERTA        GARCIA                   CO           90006006344
28B75895181633   JAMEELAH       WASHINGTON               KS           90011998951
28B7757754B281   CACHE          STURDEVANT               NE           90014775775
28B7771435B161   LAMONT         HOLMES                   AR           90014807143
28B77962957157   DESARAY        LEWIS                    VA           90011189629
28B788A552B27B   MARCUS         SPANN                    DC           90013118055
28B7921522B27B   GETAHUN        BEKELE                   DC           90014702152
28B82A43591833   JUDITH         MIZE                     OK           21013050435
28B8742655B271   JESSICA        MOHR                     KY           90014484265
28B87451857157   NATHALIE       AGUIRRE                  VA           81046984518
28B88A6A32B27B   DEMETRIA       MURPHY                   DC           90011190603
28B89982372B29   NICOLE         HALL                     CO           90012719823
28B925A2272B88   SAM            MEILS                    CO           33026435022
28B96245991241   LINBURG        ELLISON                  GA           90014732459
28B97A3544B281   MANUEL         SANCHEZ                  NE           90013920354
28B9838194B281   CHARLES        NEWSON                   NE           90013903819
28BB316792B27B   REGGIE         B                        DC           90012791679
28BB8341136B77   HAZEL          BIRCH                    OR           44590053411
28BB9666A5B271   DONALD         LAMBERT                  KY           90008086660
28BB9846691241   CHAKA          HYMON                    GA           90014718466
28BBB38A891547   LAURA          GONZALEZ                 TX           90010943808
28BBB993172B42   RICHARD        WOERNER                  CO           90013119931
2911245349155B   NANCY          FEDERICO                 TX           90007904534
2911B872A4B261   DANIEL         KING                     NE           90009998720
2912516799184B   JOSEPH         CLOUD                    OK           90013411679
29134A4145B571   ANTHONY        SOTO                     NM           90008710414
29135381A5B571   VANESSA        SALAZAR                  NM           90014763810
29135675287B87   VICTORIA       WADE                     AR           90010896752
29135A3625B571   MARIA          ROBLEDO                  NM           90012790362
2913642A84B261   JUAN           OCHOA                    NE           90013414208
291366A997B449   MIKE           SMITH                    NC           90010526099
291394A9931453   SYLVIA         BECKS                    MO           90007984099
2913987429184B   LATRICE        PANNELL                  OK           90011078742
2914564A591953   JANE           SMITH                    NC           90003906405
29145985A55997   RAFAEL         AGUILAR                  CA           90011469850
2914BA6733366B   JAKEETA        WILEY                    NC           90012570673
2915122327B449   MARIA          ALVAREZ                  NC           90010682232
29153881A9155B   ANA            VALDEZ                   TX           90012858810
2915561299155B   MANUEL         HERNANDEZ                TX           90004946129
291586AAA55957   ALISHA         CASTRO                   CA           90014266000
2916242377B449   SANDRA         GARCIA                   NC           90012814237
29162592572B84   CHRIS          LYNCH                    CO           90011715925
29162594572B21   SARAH          FREDERICK                CO           90007075945
29164AA1A9155B   GENOVEVA       MARIN                    TX           90014250010
2916998418B16B   KIMBERLY       ROCKWOOD                 UT           90002119841
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2917514825B271   TRACY          BYERS                    KY           90011171482
2917611479155B   MARISOL        OROZZO                   TX           90009631147
2918143347B449   MICHAEL        HOGLEN                   NC           90010524334
2918291229189B   KETWAINETT     DREW                     OK           21050609122
29182A1A391522   JORGE          ROBLES                   TX           90010360103
2918426189155B   STEVEN         MARTINEZ                 TX           90010482618
2918B6A7981633   KIARA          GILLESPIE                MO           90014536079
2919119955B571   JARED ALAN     SHARP                    NM           90014601995
2919284315B244   JOHN           KOZUMPLIK                KY           68056218431
29194472A91953   STEVEN         FAULKNER                 NC           90014014720
2919555144B588   TONY           LAREDO                   OK           90015345514
2919639125B161   JEREMY         FRANKLIN                 AR           90014803912
29196473287B87   CANDIDA        BRIAN                    AR           90014614732
291B4935691522   YASMIN         VARGAS                   TX           90011179356
291B87A364B588   REGINA         FEDERICO                 OK           90009297036
29214A3834B588   MAVY           RIOS                     OK           90013790383
29215A3264B588   DAVID          WRIGHT                   OK           90009300326
2921743A49189B   JAMES          NOWLIN                   OK           90011544304
292179A545B571   AMANDA         QUINTANA-FLORES          NM           90009959054
29219312387B87   SYLVESTER      PARKER                   AR           90013363123
2921B88A461995   LINDA          HENSELL                  CA           90011788804
2921BA31A91953   SOAKI          KEBI                     NC           90011330310
292222A6931453   ALEX           BUTLER                   MO           90009902069
292253A454B588   KATHERINE      LAKEEY                   OK           90002033045
2922741749184B   AARON          HITWCHCOCK               OK           21011714174
2922B7A289184B   CHRISTEN       JONES                    OK           90013007028
2923149515135B   DEBRA          MAYS                     OH           66015524951
29233958A87B87   SLYVESTER      PARKER                   AR           90010019580
2923869667B449   KAREN          NUNEZ                    NC           90004096966
29242A5414B245   NOE            RESENDIZ                 NE           27075620541
2924335959184B   YURDIA         URQUIZA                  OK           90011303595
2924635A672B42   DAVID          MARES                    CO           90011483506
29251758A91953   MANUEL         DAVID                    NC           90009797580
29254338A9184B   LAURA          BRICKER                  OK           90011093380
2925555724B588   SHANIQUA       LOGAN                    OK           90011285572
2925756249184B   JOHN           PADGETT                  OK           90012875624
29257A88372B29   MARIBEL        LUJAN                    CO           90009830883
29258133772B29   ELIZABETH      ANDRADEAGUIRRE           CO           90006751337
2925B42465B161   DANIELLE       MORGAN                   AR           90014814246
2926141439184B   DESTINEE       MITCHELL                 OK           90012954143
2926696239184B   FRANSICO       ZUNUN                    OK           90012339623
2926993257B449   SHAQUASIA      ANDERSON                 NC           90014559325
2926B159251336   TROY           AYERS                    OH           90011171592
2927126599155B   ENRIQUE        PIZANA                   TX           90010482659
29276265972B42   CLAUDIA        LOZOYA                   CO           90012272659
2927626599155B   ENRIQUE        PIZANA                   TX           90010482659
29279A9729155B   PATRICIA       VELASQUEZ                TX           90014250972
2927B47774B261   MEAGEN         WEISS                    NE           90011064777
292835A3455957   SARA           OVERSEN                  CA           90011795034
29285145587B87   FREDRICK       BEE                      AR           90013031455
2928713A985822   ANTONIO        MARTINEZ                 CA           90005651309
2928723479184B   CARLOS         AVLES                    OK           21014812347
2929184585B571   ZACKERY        MCCULLOUGH               NM           90005658458
2929299919189B   NATHAN         BREWER                   OK           90009669991
2929332497B449   STEVEN         JACKSON                  NC           90000363249
2929451315B571   FELICIA        CALDWELL                 NM           90011645131
29295375272B42   LINDSEY        FANDEL                   CO           90011933752
2929838A291592   ARLENE         SALIDO                   TX           90011053802
292986A8922439   JESSIE         GONG                     NE           90010546089
2929B618351336   JUSTIN         FOSTER                   OH           90011556183
2929B953472B84   ANGELA         FREY-REYNOLDS            CO           33099259534
292B119345B571   DESIREE        TRUJILLO                 NM           90010361934
292B173AA4B261   CARMEN         BOSTON                   NE           27043347300
292B2729A91592   HERRERA        LAURA                    TX           90009907290
292B3575291528   CUSTOMER       WIRELESS                 NM           90000385752
292B4163651336   LATASHA C      HILL                     OH           90007421636
292B551525B571   BETTY          LANGLEY                  NM           90011725152
292B7185191528   KRISTINE       GREER                    TX           75012151851
292B881455B271   TIFFANY        VISSERS                  KY           90014598145
292B9334231631   JOYCELYN       BAKER                    KS           90014173342
292B9557A4B261   ANTONIO        CASARAS                  NE           90013965570
292BB39585136B   HEATHER        SMITH                    OH           90011683958
292BB496131631   DAVID          LOMBARD                  KS           90014974961
2931113469184B   KHIREE         THOMPSON                 OK           90014451346
2931599837B449   PANSY          SMITH                    NC           90008549983
29318AAA931453   MARSHA         NORMAN                   MO           90014580009
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2931B92A49189B   KWUAN          SANDERS                  OK           90015109204
29322186A55957   JUAN           MEDINA                   CA           48095581860
29332397A71923   JANA           HAYES                    CO           90013243970
2933569295B161   JESSICA        LEE                      AR           90014816929
2933973964B588   HUNTER         VAUGHN                   OK           90011027396
2933B131A7B449   COURTNEY       WALLACE                  NC           90011401310
2934126669189B   MCBRAYER       LADONNA                  OK           90006482666
29344975787B87   SHANNON        WILLIAMS                 AR           90014889757
2935497644B588   SHERRIL        PERRY                    OK           90013329764
29355329372B42   FEDERICO       LOPEZ                    CO           90012303293
29356596587B87   MARCUS         GIVENS                   AR           90005385965
2935755285B571   CHRISTINE      VILLALOVOS               NM           90011755528
2935956994B588   MISTY          KEOUGH                   OK           90012625699
2935B483291828   CHRISTINEA     KEARSE                   OK           90013644832
2937B2A6472B84   LISA           MAESTAS                  CO           90010972064
2937B846A91522   GRISELDA       MORALES                  NM           75096008460
2938143A372B84   DALIA          MINJARES                 CO           90003564303
2938726A987B87   PAYGO          IVR ACTIVATION           AR           90011612609
2938877679184B   QUINTEN        HARPER                   OK           90011097767
2939181AA2B27B   DARLENE        EDDY                     DC           81021708100
293944A4A5B271   PHILLIP        RONNIGER                 KY           90007224040
2939585467B471   ANGELES        NAVA                     NC           90004358546
2939917645B271   JILL           CHERRY                   KY           90011011764
293B3919798B42   OSCAR          MEJIA                    NC           90007879197
293B487769155B   ANTONIO        MARTINEZ                 TX           90014638776
293B5694555935   JOSE           JUAREZ                   CA           90008476945
293B579774B281   ALEXIS         COOPER                   NE           27054127977
293B6969991592   JULIO          RAYGOZA                  TX           90013209699
29416266372B42   JEFFERY        HILL                     CO           90004972663
2941B732131453   JEREMY         MELTON                   MO           90010877321
2941B78A451328   TIMOTHY S      CHAPMAN                  OH           90011317804
2942286684B588   LISA           PETERSON                 OK           90012968668
29422957372B29   JOSE           CARRILLO                 CO           33016679573
2942591A39184B   CHRISTEN       BURKHEAD                 OK           90011099103
294295A5491953   FREDERICK      REAVES                   NC           90010995054
2942B18854B588   MICHELLE       METCALF                  OK           90012651885
294316A964B245   SAVON          CARABALLO                NE           90011766096
29433869A47826   BRAYLON        ANDREWS                  GA           90012498690
294341A765B571   TERRENCE       ALLEN-WILLIAMS           NM           90014321076
294356A964B245   SAVON          CARABALLO                NE           90011766096
2943681897B278   LUIS           RUIZ ZUNO                AZ           90011238189
29438A54372B84   RICHARD        WRIGHT                   CO           33038980543
2943983847B449   KIMBERLY       SWAIM                    NC           90000308384
2943B598A55957   DELIA          CRUZ                     CA           90013335980
2944265812B27B   NIKIA          GOOLSBY                  DC           90001986581
29447524A4B588   MARIA          GONZALEZ                 OK           90009785240
29449659787B87   ANTHONY        WASHINGTON               AR           90015316597
29451855272B42   ROSALBA        GARCIA                   CO           90008658552
2945392675B161   KENTON         SKARDA                   AR           90014879267
29455979A5B161   LATOYA         RUMPH                    AR           90014879790
2945748329155B   LORENA         GONZALEZ                 TX           90012614832
2945B625351328   BILLY          LITTLE                   OH           90014756253
2946647564B588   HOLLY          PATTERSON                OK           90008874756
29468A27772B42   HECTOR         BARON                    CO           90012600277
2946996375B161   TOREAL         JONES                    AR           90014879637
2946B287491592   NATALY         MORENO                   TX           75029742874
2947571679184B   APRIL          WRIGHTEN                 OK           90007187167
2947756625B571   CYSTAL         ARAGON                   NM           35032845662
29477852A81633   TANYA          TAYLOR                   MO           29059268520
294778A825B161   RHONDA         BARNES                   AR           90013188082
2947969514B261   DEBORAH A      LEMR                     NE           27039666951
2948331815B571   LYDIA          LUCERO                   NM           90014513181
2948391359155B   CATHERINE      JONES                    TX           90010079135
294886A9991542   MARTHA         VELARDE DE RAMIREZ       TX           90013066099
2948995275B271   SHANIECE       WILLIAMS                 KY           90015159527
2948B773A9189B   SHARKEYA       FREEMAN                  OK           90015127730
2949545267B449   LOUIS          BARAJIS                  NC           90014274526
29499A98472B42   ELOY           RODRIGUEZ                CO           90015140984
2949B259731631   BLAINE         REEDER                   KS           90013802597
294B151994B588   TINA           LEE                      OK           90012425199
294B254A34B281   JOSHUA         GARDNER                  NE           90010725403
294B316739155B   MARTIN         JUNIO                    TX           90014251673
294B564637B449   EVANY          WILLIAMS                 NC           90010536463
294B717584B588   KATHERINE      ASHTON                   OK           90015161758
294B7A72151336   BARBARA        LAWSON                   OH           66001100721
294B8978791592   EDDIE          OCHOA                    TX           90013149787
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294B9799891241   VERA           BROWN                    GA           90009277998
294B982A79184B   MAGGIE         HARPER                   OK           90011098207
2951138189184B   VICTOR         ROMERO                   OK           90014203818
2951231164B543   MICHELE        VOLPE                    OK           90009113116
2951413624123B   MARCOS         SACHIS                   PA           90012641362
295193A864B588   MARCO          ZAMORA                   OK           90004293086
2952793579184B   SHANE          ROBERTSON                OK           90012349357
2952B511291828   CRHISTIAN      PEDROZA                  OK           90012995112
2953216489184B   GUILLERMO      RAMIREZ                  OK           90011111648
2953936897B449   JUAN           ROQUE                    NC           90013923689
2953958395B571   JAMES          LEE                      NM           90014645839
2953B1A1A91828   KATHERINE      TUITE                    NE           27014591010
2954159A251328   VINOTHKUMAR    BALAKRISHNAN             OH           90010305902
2954167694B261   JOSE           RAMOS                    NE           90013386769
2954174725B271   ROBBINS        FAMILY                   KY           90010907472
2954293399155B   ALEJANDRA      MENDEZ                   TX           90011219339
29546AA4897B4B   ROSA           NUNEZ                    CO           90010840048
2954852697B449   TERESA         NORMAN                   NC           90005865269
295521A7655957   CARLOS         FRANCO                   CA           90011451076
2955282755B571   MARIA          CHAVEZ                   NM           90009918275
29556754672B42   RON            BARELA                   CO           90014637546
29563A19A31631   NICK           CROSS                    KS           90010660190
29566882787B87   MECHELLE       HAMPTON                  AR           90008628827
2956726359155B   ELSA           TAYLOR                   TX           75002392635
2956996149155B   ELIZABETH      ESCOBAR                  TX           90010499614
2956B298691953   JESUS          PEREZ                    NC           90011452986
2956B448491889   JALEAN         RUBLE                    OK           90010544484
2956B715281633   ARLANDO        BURNS                    MO           90010897152
2957652175B569   MIGUEL         GAVAN                    NM           90011755217
2957B135231631   DEBBIE         BRIBIESCA                KS           90010981352
2958482AA7B449   STEVEN         GAITEN                   NC           90011958200
295851A6891522   LUIS           JURADO                   TX           90012731068
2958627A454162   JOSHUA         ALVAREZ                  OR           90014032704
29586A1317B449   DENICE         FRANCO                   NC           90013930131
2959153498B188   JACOB          NEILSEN                  UT           90003765349
295927A8491522   VICTORIA       ANAYA                    TX           90011577084
29594766872B42   MELISSA        GUZAINO                  CO           90012837668
2959562115B571   YVONNE         CORDOVA                  NM           35067856211
29599A4969155B   VINOD          VASON                    TX           90014770496
295B136A987B87   CANDRA         LITZSEY                  AR           90013933609
295B1384691828   JODI           SALLIS                   OK           90014563846
295B2435991828   HEATHER        TERRELL                  OK           90010524359
295BB44865B271   AUBREY         HELLER                   KY           90014404486
295BB664991592   MIGUEL         BERMUDEZ                 TX           90010916649
2961571685B571   TIFF           MCNIGHT                  NM           90012877168
2961612A65B161   SCHANNA        BANKS                    AR           23005761206
29618599A91953   JORGE          MORALES                  NC           90015105990
296191A494B588   VIVRE          VARGAS                   OK           90012861049
2961B841651351   TONI           DIFIORE                  OH           90011278416
2962337724B261   MARIA          LOPEZ PEREZ              IA           90013153772
29623A1467B449   VIANEY         PRADO                    NC           90011940146
2962492289155B   DANIEL         GUILLEN                  TX           90003529228
2962539A451331   CARL           HENNEMAN                 OH           90010683904
2962542877B462   AGUSTIN        HERNANDEZ                NC           11019564287
2962737785B571   CARLA          ORDONEZ                  NM           90014373778
2962738617B449   GUILLERMO      MOLINA                   NC           90013923861
29629458887B87   RUTHIE         MADDEN                   AR           90014154588
29631A5874B588   SHERICKA       MCCOY                    OK           90010890587
2963512174B245   KATHRYN        RECKINGER                NE           27032471217
296368A929155B   MELISSA BILL   VILLAREAL                TX           90004278092
296411A5391522   LUANA          RUEDAS                   TX           90013351053
2964381352B229   JERENA         HALLMON                  DC           90001688135
2964863A47B449   GILBERTO       FLORES                   NC           90010676304
29651A48387B87   TRESSA         ROBINSON                 AR           90010280483
296536A5587B87   D'ANDREA       KINDALL                  AR           90013926055
2965478A94B261   ROBERT         SMITH                    NE           90013937809
2965684297B449   DERISHA        BALDWIN                  NC           90010538429
296575AA19184B   TRACY          HOPKINS                  OK           90011115001
2965954149155B   STEPHANIE      TORRES                   TX           90013565414
2965B98959155B   ANGIE          LUCERO                   TX           90011219895
2966285369184B   JENNIFER       HAUGHN                   OK           90014638536
2966352985B271   CHRISTOPHER    GARDNER                  KY           90014855298
29665684A55957   LUPE           CARDENAS                 CA           90011886840
2966967927B449   DANIEL         FORTHMAN                 NC           90012816792
29669943A4B588   DAVID          JONES                    OK           90011959430
2966B21339155B   DANIEL         FRANCO                   TX           90012092133
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2967366699155B   YARATZED        GONZALEZ                  TX         75010356669
29674822A7B449   TOUDD           BROWEN                    NC         90013228220
2967648589155B   EDUARDO         DE LEON                   TX         90012214858
29681671172B84   ED              SISK                      CO         33057616711
2968229444B596   THERESA         COX                       OK         90013982944
29691A87691828   ERMELINDA       THOMAS                    OK         21043400876
29692914A5B571   JAIME           GOMEZ                     NM         90002889140
2969336595B571   CARLOS          BERMUDEZ                  NM         90009793659
2969956519184B   GABRIEL         BLAKE                     OK         21091015651
2969964845B161   ALDEN           PHILLIPS                  AR         90011696484
296B2A5A351328   DANIEL          SANTOS                    OH         90013930503
296B6A23591592   CHRISTINE       AGUILERA                  TX         90010390235
296B7529651328   STEVEN          SLADEK                    OH         90013015296
296B8252691828   HAILEY          MARTIN                    OK         90013752526
296B976235B271   ELENA           BALLESTEROS               KY         90013347623
296B9955581646   WENDY           ORELLANA                  MO         90007839555
2971195124B588   APRIL           ROBINSON                  OK         90014469512
2971592A64B261   JANICE L        AHERNS                    IA         27050989206
29719239A91522   VIANEY          ORTIZ                     TX         90012642390
2971964AA91522   VIANEY          ORTIZ                     TX         90008556400
2972731A191828   CHRISHANNDA     AYERS                     OK         90013963101
297278A9591522   ROBERT          SORIANO                   TX         90010358095
297298A4A31453   TORY            MITCHELL                  MO         90013188040
2973549339189B   SHALONDA        LUNSFORD                  OK         21097494933
297438A3685822   AARON           LAMOT                     CA         90002728036
2974685719184B   JACKIE          WILSON                    OK         90000988571
29748A2119155B   DAVID           ALVARADO                  TX         90011220211
2975655274B588   RACOYA          THOMAS                    OK         90007435527
2975846A84B588   JESSE           HARMON                    OK         90010734608
2975911735B271   BADD            ASZ                       KY         90012331173
29761A96472481   ASHLEY          JOHNSON                   PA         90001410964
2976733A555957   IVETTE          CHAIDEZ                   CA         90011333305
29767682572B84   LANA CORIE      MEDINA                    CO         90002016825
29768582A4B588   BRIAN           WALKER                    OK         90005665820
29768829687B69   RICHARD         BRIGGS                    AR         90013768296
2976935365B271   JEFF            GILBERT                   KY         90012933536
2976BA96472481   ASHLEY          JOHNSON                   PA         90001410964
2977143A85B571   CYNTHIA         CLEMENTS                  NM         90003274308
29771816976B4B   SERGIO          RODRIGUEZ                 CA         90011778169
2977424887B449   HEDDY           ALVES GARCIA              NC         90010542488
29777A7345B271   DARNELL         TAYLOR                    KY         90014700734
297811AA255957   YAZMIN          SANCHEZ                   CA         90009641002
2978323A87B449   CRYSTAL         SMITH                     NC         90013172308
29783A5784B588   KAREN           CARDONA                   OK         90011380578
297855A134B281   NIM             TAMANG                    NE         90010555013
2978748899155B   ANDY            GALLARDO                  NM         90012494889
2978864355B571   ALEXIS          BAROS                     NM         90014936435
29789A25991592   ENRIQUE         CASTILLO                  TX         90014770259
297918A575B571   MICHELLE        DEWEY                     NM         90003148057
29797A68591828   MYESHA          WINSTON                   OK         90004190685
297B175785B161   AXLEXIS         ALVAREZ                   AR         90011697578
297B1A95A87B87   MUVEDEMO        ID UR MOBILE CONNECTION   AR         90003110950
297B5297481633   DAVON           DAVIS                     MO         90012702974
297B65A4281633   ADAM            WARD                      MO         90013405042
297B6839431631   TERANCE         WHITE                     KS         90011988394
297B7993291953   TYESHA          DAY                       NC         90013709932
297B8633891522   ADILENE         SALAS                     TX         90013766338
29818A4569155B   JANET           ACOSTA                    TX         90011220456
298214A3151336   AARON           MIZELL                    OH         90007644031
29821778A72B4B   MICHELLE        FORSYTHE                  CO         90008797780
2982254334B261   TYLER           ALLARD                    IA         90013775433
2982378429189B   BRENDA          TORRES                    OK         21045937842
2982642767B449   ANDRES          CONTRERAS                 NC         90013924276
2982645297B449   LERON           PRECEND                   NC         90014854529
2982974534B281   RENAZYA         TORRES                    IA         90007977453
29835A4A27B449   MIRIA           GUEVERA                   NC         90013930402
29837554987B87   BARBARA         ADROW                     AR         90014575549
2983B83A233642   WESLEY          SCOTT                     NC         90009758302
2984375135B571   JOE             BACA                      NM         90009287513
2984469399155B   MARIA ANTONIA   SALAZAR                   TX         90012026939
29844A31A91592   CARLOS          LEYVA                     TX         90011950310
2984B85315B271   JAMIE           RANES                     KY         90014358531
29854A56131453   SAUDIA          PIERCE                    MO         90010730561
2985785764B261   ETHEL           HODGES                    NE         90013938576
2985846A472B42   RIGOBERTO       VALDEZ                    CO         90012484604
2985926469155B   CHARLES         TURNER                    TX         90000372646
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2985B32949189B   OQUELY         GONZALEZ                 OK           90015223294
2985B427591592   OSCAR          CEIJAS                   TX           90001174275
2985B64599184B   CLAUDIA        GOMEZ                    OK           90012446459
2986139694B588   JUSTIN         JONES                    OK           90012743969
298696AA49189B   TIKCHA         JOHNSON                  OK           90015236004
2986992664B245   KELSIE         FLATT                    NE           90008709266
2986B48697B449   CATALINA       HERNADEZ ALMARAS         NC           90010544869
2987253145B161   HERMAN         STEVENSON                AR           23029045314
2987541A99184B   AMY            SCHAEFER                 OK           90013414109
29878441A81633   BRANDON        RIVERA                   MO           90013414410
2987B777891592   OSCAR          MATA                     TX           90010887778
29882A9315B571   CLAUDIA        PARRA                    NM           90010560931
2988359139184B   KATIE          SPENCER                  OK           90015045913
2988586AA91592   GUADALUPE      NIETO                    TX           90013328600
29892A53755957   VICTORIA       SANCHEZ                  CA           90013130537
298951A4172B42   SARAH          TITUS                    CO           90014681041
2989527155B271   RAYMOND        JEFFRIES                 KY           90013212715
2989528627B449   AUSTIN         LONG                     NC           90010742862
2989947A591592   RED            HUDSON                   TX           90010814705
298B14A3A5B571   BIENVENIDO     OTERO-ORDONEZ            NM           90013074030
298B151A591522   ABRAHAM        NEVAREZ                  TX           90008685105
298B214595B571   JANET          SAIZ                     NM           90008621459
298B591999155B   DAVID          UENO                     TX           90004279199
298B6123591953   ADAM           WHITE                    NC           90012251235
298B67A8372B42   MELISSA        RIVERA                   CO           33042617083
298B8743451328   MARIA          IRVIN                    OH           66087527434
298B891924B588   JOSE           GONZALEZ                 OK           90013009192
298B9A2975B161   CLARA          JENKINS                  AR           23002640297
298BB685191592   ABRAHAM        ORTEGA                   TX           90009566851
298BBA9219184B   BERNARDO       GARCIA                   OK           90014230921
2991372279155B   DITZZ          GERALD                   TX           90010377227
2991432789184B   CARLOS         CONTRERAS                OK           90012513278
29914892A4B261   AMILCA         VASQUEZ                  NE           90013938920
2991731AA9155B   MOISES         DIAZ                     TX           90014683100
29918231672B42   PAUL           COUTURE                  CO           33009072316
2992461719184B   FRANCISCO      GARCIA                   OK           21004856171
299256A2251328   TARA           TELINDA                  OH           90013956022
2992629638B172   RAMIRO         MARROQUIN                UT           31085562963
29932A2197B449   SUGELY         DELCID BANEGAS           NC           90013930219
2993512A591828   DEVIN          TYLER                    OK           90014241205
299375A4355957   NATASHA        GONZALEZ                 CA           90013775043
2993B59A751328   KEVIN          STEINBRUGGE              OH           90002245907
29942226272B42   GERMAN         SALGADO MALDONADO        CO           90012332262
2994412AA4B281   TRACY          HUERTA                   NE           90010401200
29944A84A72B25   THERRIN        JONES                    CO           90012510840
299493A8A87B87   PAYGO          IVR ACTIVATION           AR           90012893080
2994B316A51336   JOHN           MANUEL                   OH           90012913160
2994B578791522   SAUL           ESPARZA                  TX           90009955787
2994BA69431448   MERCEDES       HODGES                   MO           90011720694
29953A89431631   JOHN           SIMMS                    KS           90011980894
29961A65891953   RENE           GAMEZ                    NC           90011830658
29965451472B29   KAYLEN         HOLLIS                   CO           90002814514
29965482698B42   RUDY           ARANA                    NC           90010334826
29967A52291592   SAMUEL         MUNOZ                    TX           75071830522
2996824637B449   FILIBERTO      ESTRADA                  NC           90013602463
29969183A91528   FRANCISCO      ALVIDREZ                 TX           75087091830
299693A2372B84   BEVOLIN        ROBINSON                 CO           90010533023
2996992289136B   ASHLEY         OLDFIELD                 KS           90002279228
2996B136291522   RAUL           ADDEMAN JR               TX           90013151362
2996B576755957   BRITTNEY       THOMPSON                 CA           90007405767
2997434464B245   KEYSHA         CORTES                   NE           90013773446
299827A649184B   CHRISTOPHER    DAVIS                    OK           90011137064
2998B27617B386   JENNIFER       GREENFELD                VA           81035792761
299947A494B588   SKYLER         HENDERSON                OK           90012387049
29994A2375B271   LATRECE        WARE                     KY           90013980237
29995137A72B38   LAURA          LAMB                     CO           90006161370
299992A9191522   ANITA          ALVARADO                 TX           90007372091
2999B892655957   PAULINE        RISENHOOVER              CA           90007738926
299B28A715B271   KIM            YONS                     KY           90011088071
299B2A26255957   MALAYKHAM      VONGMANY                 CA           48088020262
299B51A7151336   JACINTO        CHAVEZ                   OH           90012211071
299B5997281633   JULIO          MARTINEZ                 MO           90005119972
299B7674731631   LEONARD        BAILEY JR                KS           90012796747
299B844357B449   DAGOBERIO      BANEGAS                  NC           90013924435
299B949124B588   JOHN           YOUNG                    OK           90005104912
29B11868772B42   HANNAH         SUH                      CO           90012848687
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29B128A245B161   KIARA          MARSHAEL                 AR           90001088024
29B13651491953   WAN            PUIH                     NC           17014626514
29B15492A72B42   JOSE           NUNEZ                    CO           90012904920
29B1565774B261   VEVE           ADANILENTE               NE           27059396577
29B169A5555957   MATT           JOHNSON                  CA           90012289055
29B17139A7B449   DORA           PINA                     NC           90013961390
29B1771A991828   VICTOR         TORRES                   OK           90010507109
29B2157315B161   KAMILANA       GAITHER                  AR           90012785731
29B22168691953   STEPHEN        BELL                     NC           90012051686
29B22776991592   ERNESTO        CHAVIRA                  TX           90011577769
29B22A1454B588   XAVIER         GRAVES                   OK           90013790145
29B22A3947B449   ERICA          BURDINES                 NC           90014300394
29B23826291522   RUDY           M                        TX           90009528262
29B2557315B161   KAMILANA       GAITHER                  AR           90012785731
29B2673395B571   RICKY          JIMENEZ                  NM           90010207339
29B26AA9A7B449   HLAT           ROMAH                    NC           90011940090
29B27948781633   BALTAZAR       CALDERON                 MO           90010389487
29B2B46565B161   MARLON         RAGLIN                   AR           90014794656
29B2B676672B42   EMMA           LIMAS                    CO           33015656766
29B3235A431453   ROBERT         WEBB                     MO           90014443504
29B34317387B87   CANDICE        HENDERSON                AR           90015113173
29B34362151351   JENNIFER       RUTH                     OH           90006453621
29B36682572B84   LANA CORIE     MEDINA                   CO           90002016825
29B3844855B271   HATTIE         SMITH                    KY           90014134485
29B41189731453   TAHWANA        PITTMAN                  MO           90009811897
29B4215734B261   MARIO          MORENO                   NE           90010911573
29B42887691522   ANGEL          RIVERA                   TX           90013548876
29B43749631277   BOYE           JEFF                     CA           20569137496
29B44A88481633   CHERYL         LUCKENBAUGH              MO           90010880884
29B4553514B281   TIMOTEO        FIGUEROA LUCAS           NE           90008075351
29B455A179184B   JOSE           MARTINEZ                 OK           90011075017
29B469AA14B261   RUBEN          PALOS                    NE           90012999001
29B48199572B84   FERNANDO       FLORES                   CO           90007121995
29B51A6AA85822   GREG           LARSON                   CA           90001120600
29B52891191953   FIDEL          RUIZ-SILVIA              NC           90012628911
29B53229A72B42   ESPERANZA      SANTILLON                CO           90011202290
29B535A6A72B84   JULIO          DE LA ROSA               CO           90011715060
29B55A1A35B271   TIM            CLARK                    KY           90010350103
29B56523751336   CANDUS         WILLENBRINK              OH           90013045237
29B5666279155B   ALFREDO        REYES                    TX           90012726627
29B57485955957   JANET          ALAPISCO                 CA           90013984859
29B59542455957   BRENDA         MORALES                  CA           48071495424
29B5B262A7B449   NIKIA          THAMES                   NC           11096442620
29B5B846781633   SHANTALLE      STEELE                   MO           90007558467
29B6297A555957   JESUS          ACOSTA                   CA           90002639705
29B6441385B271   WILLIE         MCKINNION                KY           90003744138
29B67334585822   MIKERU         TSUNODA                  CA           90008343345
29B6B674472B42   LEANNE         CARRENDER                CO           33051176744
29B72285931453   CRYSTAL        BROOKS                   MO           90012402859
29B7384835B571   GYPSY          PURCELLA                 NM           90014718483
29B74826791522   JUAN           PEREZ                    NM           75093838267
29B8192444B261   LISA           HALL                     NE           90004029244
29B8343615B271   SHANNON        RAMSEY                   KY           90014234361
29B83A87A51328   ALI            SHAH                     OH           90015290870
29B851A729184B   JAMES          EDWARDS                  OK           90006551072
29B8614325B161   DENOTRA        SPEED                    AR           90008111432
29B86539191592   VICTOR         LUNA                     TX           90013365391
29B867A5A9155B   BRYAN          ANDRADE                  TX           90011217050
29B868A877B699   JASMINE        TAYLOR                   GA           90008788087
29B8831A39184B   DAMEYAN        LYONS                    OK           90012793103
29B9195AA5B375   ROBERT         FENNELL                  OR           90008749500
29B9276865B271   JOE            WELLS                    KY           90011087686
29B93445681633   GINA           HULSEY                   MO           90011944456
29B9444755B571   ARMENDARIZ     THOMAS                   NM           90008184475
29B95829291522   NOE            MENDOZA                  TX           75001898292
29B9749457B449   ALTAVIA        BLAKENEY                 NC           11015114945
29B9B48A251336   STEVE          SMITH                    OH           90012174802
29BB5782955957   MIGUEL         AVILA                    CA           90012307829
29BB7572872B42   ANGELINA       FRAIRE                   CO           33092325728
29BB879775B271   JENNIFER       REEVES                   KY           90015307977
2B11199A655957   HARLEY         DAVIDSONS                CA           90009519906
2B111A98251343   MONET          BANKS                    OH           90011260982
2B112471A91592   JONATHAN       FLORES                   TX           90012474710
2B11247812B892   DEBI           RUHE                     ID           90010004781
2B114236781637   DEVIN          HAWKER                   MO           90013542367
2B116359885965   JOHN           DOE                      OH           90003623598
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2B11637A58B334   KEITH               TAYLOR              NC           90013213705
2B118672287B21   AMBER               NUNN                AR           90014226722
2B11989274B28B   KERRY               GARTNER             NE           90010718927
2B11B485257157   PEDRO               ALVAREZ             VA           81021734852
2B12148225B271   JENNIFER            WINDELL             KY           90013264822
2B121549191522   STEPHANIE           REYES               TX           90010635491
2B121957455957   PRISCILA            BUITIMEA            CA           90012419574
2B12224852B839   KERRY               RENARD              ID           90013942485
2B12395567B449   REYNO               LEOCADIO            NC           11013719556
2B126464272B98   DONALD              HARVEY              CO           33039934642
2B12671782B839   CATHERINE           KENT                ID           90014627178
2B127694951343   JULIAN              ROBINSON            OH           90013306949
2B12B863155957   ISSAC               KLOSTER             CA           90012278631
2B13248695B167   ALEX                ARNOVICH            AR           90013354869
2B132A89891541   ALEXIS              CASTEAL             TX           90013760898
2B13324714B281   YOLANDA             YATES               NE           90012522471
2B133A2A38B17B   TYLER               TRUJILLO            UT           90011760203
2B134895857157   TAESHON             AGEE                VA           90014718958
2B135222A4B281   BRAD                WRIGHT              NE           90015142220
2B135477A91592   ARMANDO             RUIZ                TX           75000924770
2B13629A551343   MICHAEL             LINDSLEY            OH           90013652905
2B137689491541   ISHA                LOPEZ               TX           90013656894
2B138263185938   RODRIGO             HERNANDEZ           KY           90010912631
2B138284581661   NANCY               MORRIS              MO           29067372845
2B14171A99189B   VICTOR              TORRES              OK           90010507109
2B141988572421   JUSTIN              BARTLETT            PA           90013049885
2B14223A241365   TIFFANY             WINTERS             MA           90015352302
2B14226368B17B   LEVI                COLLINS             UT           90007292636
2B142713884364   CHARLES             AHERN               SC           90014897138
2B14368314B281   MIRIAM              GALIZ               NE           90014166831
2B14544142B264   DAMARIS             WARREN              DC           90011134414
2B14664435B167   MICHELE             LIGHT               AR           90014606443
2B147423872B42   REBEKAH             CARPENTER           CO           90008694238
2B147A49685965   RUSSELL             VANCE               KY           90013660496
2B14982514B245   COLLEEN M           HUG                 NE           27030138251
2B14B451A57157   JOSE                SORTO               VA           90010454510
2B14B787555957   RAUL                GONZALES            CA           90014787875
2B152143A5715B   MARYAN-RUNN AHMED   SHARIF-GURE         VA           90013751430
2B15286765B571   JOSE                LOZANO              NM           90007168676
2B153821157157   TORI                SHAW                VA           90010818211
2B155696187B21   TAMMIE              KEELING             AR           90014016961
2B155AA1A41245   JOANNA              MOORE               PA           90012720010
2B158A2279794B   CEFERINO            AGUILAR             TX           74006020227
2B159187581661   LANETTE             JACKSON             MO           90011191875
2B15971799189B   LATRYCE             BRUNSON             OK           90014667179
2B15B26444B261   COLTON              BENSON              IA           90013832644
2B16217659189B   GABRIELA            RODRIGUEZ           OK           90011221765
2B163816A5B167   PAYGO               IVR ACTIVATION      AR           90012678160
2B163958187B87   RICHARD             WILLIAMS            AR           23088519581
2B1646AAA91528   SABINO              SALAS               TX           75003916000
2B16488367B471   LESHAUNDRA          SHERROD             NC           90013098836
2B164974272B98   JEREMIAH            VAN HORN            CO           90012699742
2B16518355B161   KRISHONDA           ROSS                AR           90002791835
2B16618355B161   KRISHONDA           ROSS                AR           90002791835
2B167463587B59   LESTER              YOUNG               AR           90010934635
2B169188531453   CHRISTOPHER         CONLEE              MO           90013191885
2B1697A5371948   JERRY               HARRIS              CO           90011547053
2B16B89A731453   CIARA               BASKIN              MO           90008498907
2B1733A2374B79   ROBBY               DOERR               PA           90013653023
2B175958787B59   DELLA               DAVIS               AR           23056999587
2B175A52991592   CLAUDIA             GARCIA              TX           90013660529
2B178386A87B21   DERRY               TEARSON             AR           90013993860
2B17952517B449   LAISHAH             GLOVER              NC           11070855251
2B179789A85938   RAUDALL             PERRY               KY           90012487890
2B17B848384364   VERA                NELSON              SC           90013848483
2B18174627B449   KAVON               GREEN               NC           90014807462
2B182318A84364   TENITA              FLOYD               SC           90011383180
2B182337931453   BRADLEY             WORSHAM             MO           90012703379
2B183934372B42   CARLOS              OROZCO              CO           90012639343
2B183A12241245   DENISE              LYNCH               PA           51054000122
2B185329A91592   SYLVIA              SAENZ               TX           90010233290
2B185339891541   ZAARETH JU          SALVADOR-SOLANO     TX           75032083398
2B185351371948   CHRISTOPHER         STEPHEN             CO           90011383513
2B186276157157   TWUMMAA             OFEI                VA           90011402761
2B186858685938   YAMINI              RAY                 KY           90010508586
2B18798AA51343   AUBRE               WEATHERSBY          OH           90008859800
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2B18B27A791397   JUANA          GARCIA                   KS           90006482707
2B18B581191397   MONTSERRAT     PEREA                    KS           90013115811
2B191642972421   STEVE          BRZEZINSKI               PA           90008106429
2B19445779189B   GUANEKA        WILLIAMS                 OK           21089944577
2B194565274B79   SAMANTHA       ASBURY                   PA           90013065652
2B195654A85988   CURTIS         WILLKERSON               KY           90011926540
2B195A2292B839   CLEMENTINE     CYIRAMAHORO              ID           90011150229
2B19641262B892   RANDI          COWAN-DALTON             ID           90013034126
2B197A66585938   MATTHEW W      BROCK                    KY           90003900665
2B198925391241   SYLVIA         TAYLOR                   GA           90011219253
2B198A42681661   ARTASHA        LOONEY                   MO           90014880426
2B1B25A6A4B588   NACOLBY        BEARD                    OK           90013455060
2B1B269844B245   WILLIE         AUSTIN                   NE           90010546984
2B1B3159691522   ROBERTO        LOPEZ                    TX           90005881596
2B1B33AA191592   MAGDALENA      CASSIO                   TX           90008453001
2B1B7722591541   RACHEL         SANCHES                  TX           90010847225
2B1B848A74B588   AJULINA        ADENYA                   OK           90011494807
2B1B953539189B   BRENT          CATO                     OK           90006155353
2B1B9A44455957   REYNA          SANCHEZ                  CA           90014440444
2B1BB59A25B271   DEBBY          BRINSON                  KY           90013225902
2B1BB639791541   HERIBERTO      OLIVAS                   TX           90004406397
2B2121A215715B   ABUBAKAR       KAMARA                   VA           81005771021
2B21341A35B161   ELIZABETH      PANIAGUA                 AR           90006814103
2B214231655941   BALERIA        ORITZ                    CA           90005102316
2B217A17291828   JUDY           CARTEE                   OK           90013650172
2B21858482B839   VERONICA       LONGDEN                  ID           90014825848
2B219842872B42   CAMILLE        CORDOVA                  CO           33012538428
2B21B25346147B   HAILEY         PYLES                    OH           90014232534
2B221516447952   MIKAYLA        ENGLISH                  AR           90008495164
2B2217A362B27B   DARETTE        ORAHAM                   DC           90010587036
2B222454931631   SYLVESTER      ADIMEKWE                 KS           90009324549
2B2225A4355957   NATASHA        GONZALEZ                 CA           90013775043
2B222A42351336   TANESHIA       BROWN                    OH           90013490423
2B223545572B42   RAFAEL         RUIZ                     CO           90012465455
2B22546768B17B   NICOLE         CRESPIN                  UT           90004364676
2B2258AA69189B   APRIL          PHILLIPS                 OK           90014688006
2B226221A5B167   MARVEL         MCMASTER                 AR           23031222210
2B226398384364   KIMBERLY       ZADONIA                  SC           90003433983
2B226971491251   GILBERTO       VENTURA                  GA           14516799714
2B22733A39189B   JAQUILA        MEEKS                    OK           90011223303
2B227577672421   GREGORY        RUSSELL                  PA           90003365776
2B227678291241   VICKI          WELLS                    GA           90008406782
2B2281A8191828   JASMINE        CERVANTES                OK           90012881081
2B231997751336   ALEXIS         WHEELER                  OH           66017199977
2B232194451336   JUANISHA       GIBSON                   OH           90002771944
2B233721555941   YVETTE         ROJAS                    CA           90012517215
2B234999655941   ELVIS          MENDOZA                  CA           49008399996
2B23499A251336   MENEBERE       TANIGUCHI                KY           90012499902
2B23591875B167   JANA           MCDOUGAL                 AR           90011089187
2B236386A85988   CHASITY        INGRAM                   KY           90012163860
2B23777A251336   LEOPOLDINA     GARCIA                   OH           90010257702
2B237A18971948   AUTUMN         JAMES                    CO           90012870189
2B238167A84364   SHAKEETE       RIVERS                   SC           90014811670
2B23847387B449   CAROL          MCFARLEY                 NC           11088124738
2B23858827B471   JAMES          HARRIS                   NC           90014095882
2B241686187B59   KIMBERLY       SCARVER                  AR           90014806861
2B24184414B588   ERICKA         DURHAM                   OK           90012308441
2B24248565715B   MARIAPIA       ORDONEZ                  VA           90011824856
2B24465645715B   JOSE           ARGUETA                  VA           90011066564
2B245276151336   WILLIE         MOORE                    OH           90013012761
2B24577A281446   ASHLEY         HIGBY                    PA           90013827702
2B24724A485988   SHARON         CORMAN                   KY           90008972404
2B24826349794B   EMILIANO       TIRADO                   TX           90014502634
2B248A4374B261   CHRISTOPHER    OSBORNE                  NE           90014630437
2B248A53991251   JENNIFER       JONES                    GA           90001630539
2B249A55387B87   ANTONIO        BUCHANAN                 AR           90011750553
2B251612A55957   SUSANA         VALDININOS               CA           90013706120
2B252187172B42   JOSE           VERA                     CO           90012411871
2B25332239794B   ELOUISA        SANCHEZ                  TX           90014583223
2B25339959794B   LAUNITA        LLANAS                   TX           90008733995
2B25345A797B4B   MARIANA        TRUJILLO                 CO           90008344507
2B25356877B449   MEKA           BLACKMON                 NC           90011515687
2B255377391541   CASSANDRA      SAENZ                    TX           90014153773
2B25642667B699   KRISTINA       GENTLE                   GA           90004464266
2B25653789794B   MARCUS         FLOWERS                  TX           90011305378
2B257239651343   JAMES          BAKER                    KY           90013952396
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2B257A6492B839   GARY           MARSHALL                 ID           90009030649
2B259239651343   JAMES          BAKER                    KY           90013952396
2B25B714372B98   JIMMY          BURKEN                   CO           90013087143
2B262399351336   SHARIAH        PRICE                    OH           90011603993
2B262427685965   LINDSEY        PENDLETON                KY           90014174276
2B262887452B3B   AMANDA         DAVALOS                  AZ           90014748874
2B26322312B892   LAURA          LUNA                     ID           90013612231
2B26322552B892   REYES          BARAJAS                  ID           90013592255
2B263841171948   RANDY          RODRIGUEZ                CO           90007328411
2B2644A165715B   SOMPRATHAY     THAMMAWNG                VA           90009204016
2B264624491522   JORGE          GARCIA                   TX           90011876244
2B264A85974B79   RONNIE         DICKEY                   OH           90014580859
2B26594289189B   DANIELLE       BRUNER                   OK           90014669428
2B266675781637   SHONNESHA      MORGAN                   MO           90007596757
2B2683A832B892   LUIS           GONZALEZ                 ID           90007523083
2B2685A9872B98   MICHEAL        HAYS                     CO           90014185098
2B2693A319794B   QUEENA         LINGJUN                  TX           90010783031
2B26B567A51343   QUINCY         ROBISON JR               OH           90013085670
2B27194377B358   HERBER         HERRERA                  VA           90002779437
2B272598687B87   TIFFANY        MAYS                     AR           23090805986
2B27323989794B   JOSE ANGEL     MENDEZ                   TX           90013042398
2B274596257157   CLAUDIA        MENDOZA                  VA           90012465962
2B2745A5A9794B   CARLOS         PEREZ                    TX           90013085050
2B275695A91541   KARINA         FRASER                   TX           75077256950
2B276336191241   TERRENACE      GRANT                    GA           90014833361
2B276897397B58   JASON          WATT                     CO           90014738973
2B276998785938   MELISSA        DIALLO                   KY           90011319987
2B277511872B98   DAVID          COLIN                    CO           90014185118
2B2787A8447952   JACOB          JOHNSON                  OK           90015127084
2B278846571948   LINDA          PRESSLEY                 CO           90011118465
2B27989452B892   NICOLE         BORES                    ID           90009678945
2B27B7A2591522   RENEE          GOMEZ                    TX           90009957025
2B27BA5122B892   AMANDA         BLAIR                    ID           90000300512
2B2825A5872B42   JORGE          MADERA                   CO           90010035058
2B282A2A791522   PAOLA          ALONZO                   TX           90013340207
2B283645891592   PRISCILLA      LEMUS                    TX           90012866458
2B283824893753   ABSALOM        HULL                     OH           90001298248
2B28511722B232   IRIS           GARCIA                   DC           90005701172
2B2867A532B892   TANIA          CARRENO                  ID           90013067053
2B287475351343   ALLEN          SPARKS                   OH           90013354753
2B2878A495B161   DARWIN         TORREZ                   AR           23063128049
2B28889A431453   MICHELE        THOMPSON                 MO           90012998904
2B28B35A384364   TONY           WARD JR                  SC           19016563503
2B291754291522   JESUS          GUERRERO                 TX           90013967542
2B292417172B42   MONIQUE        GONZALES                 CO           90012584171
2B292788155941   VINCENT        WALSH                    CA           90014027881
2B292964855957   LEANN          STEVENS                  CA           90013279648
2B293A8614B281   JEAN BAPTI     MAWAWA                   NE           90014170861
2B295379291592   CHRISTOPHER    KVINTUS                  TX           90011203792
2B29542359794B   CARLA          SALAZAR                  TX           90009994235
2B29596225B167   MARY ANN       FISCHER                  AR           90013829622
2B295A21A5715B   PABLO          FLORES                   VA           90012200210
2B295A53151336   JEFFREY        RILEY                    OH           90010880531
2B299156191582   CEJA           KARLOS                   TX           90001541561
2B299256A72B42   MIRANDA        STEWART                  CO           90010772560
2B2997A9784364   BRITTANY       COULSTON                 SC           90008137097
2B299894557157   MOVIN          MINOR                    VA           90011048945
2B29B19865B167   MARY E         WILLIAMS                 AR           90014851986
2B29BA9A272B42   ANGELA         CORDOVAL                 CO           33043940902
2B2B121A38B334   NIESHA         TOMAS                    NC           90009282103
2B2B3394674B79   JASON          MONIGOLD                 OH           90013973946
2B2B341262B892   RANDI          COWAN-DALTON             ID           90013034126
2B2B3646191828   CORY           CRENSHAW                 OK           90008376461
2B2B3678572B98   JORGE          HERNANDEZ                CO           90011866785
2B2B387665B167   LUCY           RIOS                     AR           90008908766
2B2B46A4987B21   ADAM           JOHNSTON                 AR           90013926049
2B2B483715B271   JOANN          STOBER                   KY           68089668371
2B2B4973685938   BRITTANY       RAMIREZ                  KY           90015019736
2B2B524AA87B87   JAMESE         SWYGERT                  AR           90014582400
2B2B5658751343   FEDERICO       TORRES                   OH           90009896587
2B2B5781376B56   MAYRA          BRAVO                    CA           90014067813
2B2B771A85715B   VINCENT        MILLER                   VA           90013047108
2B2B7832681661   TANISHA        HENDRICKS-BELL           MO           90009998326
2B2B9994647952   MISTY          WALTERS                  AR           24089179946
2B312143291522   ALBERTO        HERNANDEZ                TX           90013261432
2B31249312B892   DONNA          TELDESCHI                ID           42002144931
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2B3132AA38B334   DANIEL         VILLALVAZO               NC           90013932003
2B313934A4B245   ROLANDO        HERNANDEZ                NE           27004609340
2B31419685715B   CARLOS         ESCOBAR                  VA           90011691968
2B315297291241   TASHERA        ROBINSON                 SC           90014752972
2B315441A4B588   MISAEL         CRUZ                     OK           90013794410
2B31546115B167   MARIA          PLANT                    AR           90014564611
2B31576812B892   ALLISON        CONLEY                   ID           90013067681
2B3158AA69189B   APRIL          PHILLIPS                 OK           90014688006
2B31779475B167   CAMERON        MCGEE                    AR           90013797947
2B317A8A184364   TAJAVIOUS      WILLSON                  SC           90011090801
2B31934555B167   TABITHA        MCCAULEY                 AR           90013833455
2B319913272B98   JACOBO         VAZQUEZ                  CO           90014349132
2B31B124881661   LEONARD        CRUCES                   MO           90013831248
2B31B84285B167   WHILLIAM       HENDERSON                AR           90014288428
2B31B84A272421   HEATHER        LOUGHLIN                 PA           90013828402
2B31B89477B471   PAUL           MAY                      NC           11097058947
2B31B9A6A91528   MARTINEZ       JOANN                    TX           90010299060
2B32178618B334   JESSICA        HALL                     SC           90000527861
2B32225A45715B   ALFREDO        MENDOZA                  VA           90011692504
2B323551A7B471   RONALD         WILLIAMS                 NC           90013875510
2B32428A351336   MICHEAL        MCMILLEN                 OH           90013802803
2B325489A7B449   ANGELICA       DOVENMUEHLE              NC           90013914890
2B32577917B449   ANGELICA       DOVENMUEHLE              NC           90011127791
2B325921297B58   JULIETTE       WATT                     CO           90014739212
2B326765557157   JULIO          CAMACHO                  VA           90013047655
2B326972471948   DORI           BROWN                    CO           32045979724
2B326A47281637   MARIA          PEREZ                    MO           90009600472
2B328437974B79   ELIZABETH      HIGHLAND                 PA           90011574379
2B328439284364   KEYONDRA       LEE                      SC           90009684392
2B329435A57157   HEREMIAS       BARRIOS                  VA           90014884350
2B329978657157   DE ANA         COX                      VA           90007559786
2B32B152A81446   DAKOTA         LINDSTROM                PA           90014081520
2B331A9569189B   SABRINA        SPENCER                  OK           90013580956
2B332918681668   MATTHEW        RAMIREZ                  MO           90012509186
2B335131A84364   SHAVON         HEYWARD                  SC           90011091310
2B33636972B839   ROBERTO        ARAIZA                   ID           90013943697
2B33662A82B27B   OCTAVIUS       BOLER                    DC           90014756208
2B33771A72B892   JORDAN         REYES                    ID           90011827107
2B337A81591541   RICARDO        RUIZ                     TX           90013800815
2B33834552B839   SKY            COSTEN                   ID           90014773455
2B33844A191592   STEPHANIE      DELGADO                  TX           90010274401
2B339281651343   MICHAEL        WALLACE                  OH           90004932816
2B33B3A8A9794B   GRACIELA       RODRIGUEZ                TX           90012853080
2B341992581637   JULIE          ELLISON                  MO           90014189925
2B343A41657157   ALHAJL         CONTEH                   VA           90014360416
2B34455528B334   NOEOMI         MORRISON                 NC           90002505552
2B34512A64B261   WILLIAM        HENDERSON                NE           27015841206
2B347131A84364   SHAVON         HEYWARD                  SC           90011091310
2B347141585938   MICHAEL        CARTER                   KY           90011321415
2B3476A1491541   JOANNE         MUNOZ                    TX           90000146014
2B34812AA5B167   EDNA           PEEL                     AR           90007221200
2B348982A47952   DAVID          ARENA                    AR           90013839820
2B34916262B931   DENNIS         LOVEALL                  CA           90006451626
2B349232285988   APRIL          EXUM                     KY           90013242322
2B349736971948   ALEXANDER      TENNISON                 CO           90014167369
2B351121185965   OLIVIA         DONEGAN CRROK            KY           90011091211
2B351152772B98   SUT            E                        CO           90012791527
2B3512A649794B   ALEJANDRO      MEDRANO                  TX           90014172064
2B352159A91828   ERICA          DEMPSEY                  OK           90010241590
2B353266191241   CHARLES        ROBERTS                  GA           90012912661
2B354851A4B281   JOSEPH         CONDE                    NE           90014188510
2B355A83172B25   DEMETRIUS      STRONG                   CO           90010100831
2B356376197B58   ANTHONY        LEYBA                    CO           90014843761
2B3582A264B261   MICHAEL        NOUN                     NE           90008182026
2B358A23191828   KIMBERLY       HOPE                     OK           90012050231
2B359A64985938   CALEB          GRIMES                   KY           90013190649
2B36133A572B42   HEATHER        BANEULOS                 CO           90014623305
2B361486751343   EDGAR          ORTIS                    OH           90013954867
2B362197172B42   KACY           MCMILLIN                 CO           90014841971
2B36226857B471   PEARLINE       HARRIS                   NC           90011702685
2B362647591592   JUAN           CASTILLO                 TX           90012866475
2B36369525715B   AURELIO        ARIM                     VA           90012046952
2B36616262B931   DENNIS         LOVEALL                  CA           90006451626
2B366296A4B261   RICHARD        PHILLIPS                 NE           90011032960
2B36646649184B   LUIS           SOLIS                    OK           90009964664
2B36885687B449   MARTAYZA       BARNES                   NC           90006168568
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2B36B732491541   TANYA          KENNEBREW                TX           90009887324
2B371A21593773   ZACHERY        KILBY                    OH           90009070215
2B372462271948   CHERIE         CLARK                    CO           90006794622
2B37449A891522   HAGCO          REYES                    TX           90004954908
2B374984587B21   HEATHER        THOMPSOM                 AR           28006079845
2B374989785988   RIGOBERTO      LOPEZ                    KY           90005579897
2B37499862B839   NEVA           NOE                      ID           90012409986
2B374A35A2B839   NEVA           NOE                      ID           90014000350
2B37559298B17B   STEFFEN        SOLLER                   UT           90010415929
2B375A86885988   JENNIFER       ISAACS                   KY           67032310868
2B376144181661   ASHLEY         INGELS                   MO           90002641441
2B3766AA35B161   ASHLEY         HARRIS                   AR           90011816003
2B378198255957   GABRIEL        AYALA                    CA           90007611982
2B378727355957   GABRIEL        AYALA                    CA           90012157273
2B37875865715B   OMAR           CANALES                  VA           90012797586
2B3793A7291522   JORGE          COBIAN                   TX           75017853072
2B38116284B588   LEEMARCUS      GROVE                    OK           90012721628
2B381388191592   LUIS           DIAZ                     TX           90012833881
2B38151317195B   ANTHONY        WARFIELD                 CO           90010265131
2B383264381661   CHRISTOPHER    YOUNG                    MO           90012092643
2B386766931453   KAREN          MCKINNEY                 MO           90014957669
2B387A18191592   ELIZABETH      GUTIERREZ                NM           90014650181
2B3882A6872421   ROBERT         HOLT                     PA           90006832068
2B389576571925   MONICA         ROMERO                   CO           90008915765
2B389A31491522   DAVID          ACEVEDO                  TX           90012650314
2B3917AA72B827   ANTONIO        MENDOZA                  ID           90011117007
2B393157A72421   MICHAEL        MILLS                    PA           90014181570
2B393736551343   JORDAN         BALDRICK                 OH           90013307365
2B39461965715B   ANTULIO        LOPEZ                    VA           81010526196
2B39525A381637   RICHARD        BETTS                    MO           90011322503
2B395AA685715B   VENUS          BATTLES                  VA           90012320068
2B397726685938   CESSIE         COFFEY                   KY           90003327266
2B3989A959794B   ERAIZA         ROJAS                    TX           90015179095
2B399295755941   MARVIN         DAVIS                    CA           90011982957
2B3B234555B167   TABITHA        MCCAULEY                 AR           90013833455
2B3B2962172B98   ROSA           GUARDADO                 CO           90012859621
2B3B315884B588   VICENTE        IBARRA                   OK           21502061588
2B3B363126147B   JOSEPH         MILLER                   OH           90014236312
2B3B5539184364   ANDREW         JOSEPH                   SC           90008335391
2B3B5A7195715B   PATRICIA       LOPEZ                    VA           81011390719
2B3B6237655941   FEDERICO       RODRIGUEZ                CA           90014262376
2B3B7142971948   SANDRA         CAULEY                   CO           32037811429
2B3BB983251336   KAYLA          FLETCHER                 OH           90011389832
2B41134565B271   IZAIAH         MASK                     KY           90009193456
2B4116A387B429   TAMMY          MEDLIN                   NC           90011376038
2B412878355957   GILBERT        RAMIREZ                  CA           90010138783
2B412954787B59   ERICA          LEMONS                   AR           90014569547
2B412A21491828   SHANNON        MACE                     OK           90013540214
2B41344A372B98   CHRISTIANA     BUTLER                   CO           90010484403
2B414539455941   CORINA         VERCHER                  CA           90004545394
2B41453974B281   ROXANA         MARITZA                  NE           90011645397
2B414A3954B281   CRISTIAN       DE LA CRUZ               NE           90014180395
2B41671435B167   JENNIFER       ROBIN-SETTLE             AR           90010807143
2B416728851343   LASHAUNA       CONYERS                  OH           90013097288
2B41719154B261   WILLIAM        RAMSEY                   NE           27075041915
2B417764872B42   ANTONIO        HILL                     CO           90014757648
2B41949A647952   GERARDO        GONZALEZ                 AR           24002984906
2B41B794287B87   ERIC           PATTON                   AR           90011837942
2B421821271925   NATALIE        LUJAN                    CO           90007398212
2B42194A54B588   JEREMY         BUTLER                   OK           90015139405
2B422634752B27   KYRA           NIETO                    AZ           90012716347
2B42275329794B   NADIA          GALVAN                   TX           90014957532
2B423228985938   SHAVANNA       FAULKNER                 KY           90014562289
2B425373487B21   CHALEA         TINER                    AR           28050973734
2B42644A991592   JUANA          MARTINEZ                 TX           90012424409
2B427A1AA5B271   EDITH          NDIAYE                   KY           90013710100
2B428151157157   SHONDA         WILLIAMS                 VA           90014721511
2B428497491592   CHRISTOPHER    MEZA                     TX           90015304974
2B429154A2B839   JERRY          COOKSON                  ID           90004831540
2B429462771221   DANIELLE       BLISS                    IA           90013954627
2B42B161531453   MODESTA        PERALES                  MO           90003291615
2B42B1A7972B98   CELESTE        BALDERRAMA               CO           90014231079
2B42B27959189B   ERIKA          HERNANDEZ                OK           90014882795
2B42B79895B167   FRANCINE       BILLINGS                 AR           90008307989
2B43494A74B588   MARIA          SANROMAN                 OK           90015139407
2B43578892B892   JOSHUA         KILLEBREW                ID           90013077889
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2B43615425B167   TINA           TOWNSEND                 AR           90014961542
2B43658827B471   JAMES          HARRIS                   NC           90014095882
2B43697392B931   LYNN           TAYLOR                   CA           45031119739
2B437771831453   LESLIE         WHITE                    MO           90009157718
2B43785238B17B   KASIA          COLUNGA                  UT           90010028523
2B43B515291541   AMANDA         OLIVAREZ                 TX           90014075152
2B441517257157   JUAN CARLOS    DE LEON                  VA           90013265172
2B44163317B449   LAURA          SALGADO                  NC           11032246331
2B444A31791592   RAUL           GARCIA                   TX           90013220317
2B44564978B334   ALISHA         WEATHERS                 SC           90013376497
2B445952257157   JOSE           TORRES                   VA           90011049522
2B445A2112B892   JAMES          HIXON                    ID           90013090211
2B445A2957B393   PEDRO          LINARES                  VA           90008870295
2B447256472B42   MELANIE        HICKMAN                  CO           90010012564
2B447925671948   CHRIS          MANN                     CO           90012419256
2B449136A2B839   CHARLES        WILSON                   ID           90011661360
2B44937914B281   RICHARD        MCGEORGE                 IA           27093363791
2B44976547B449   JOSE           SAVEDRA                  NC           90009047654
2B44B39A657157   ANA            DIAZ                     VA           90003163906
2B44B8A4591592   ELIZABETH      ROMERO                   TX           90010748045
2B4529A818B334   ATENOGENES     LEON                     SC           90012799081
2B452A97987B87   BREONNNA       JOHNSON                  AR           90012570979
2B4532A134B588   LARRY          BOXFORD                  OK           90013812013
2B45382747B33B   MIGUEL         GUEVARA                  VA           90011578274
2B455284231453   LASHONDA       THURMAN                  MO           90005012842
2B456258484364   JALEESA        YOUNG                    SC           90010212584
2B45746925B167   DEANNA         NUNLEY                   AR           90013074692
2B45775738B17B   DELFINA        LOPEZ                    UT           90009237573
2B45972359794B   DIANE          DAVIS                    TX           90000107235
2B461219A5B167   CHRISTOLYN     BROWN                    AR           90007822190
2B461518A9189B   TAMMY          REATHER                  OK           90014715180
2B463382781661   BROOKE         ROSS                     MO           90011513827
2B46425962B839   JASON          LOPEZ                    ID           90011612596
2B46656149189B   APRIL          SNELL                    OK           21059415614
2B4679A5385988   TARA           BEATTY                   KY           90010899053
2B469A72255957   GINA           RAMOS                    CA           90014790722
2B4717A675715B   MIRIAM         HODGKINS                 VA           90012807067
2B472259247952   STEPHANIE      HUGHES                   AR           90012702592
2B473635791522   MARTIN         ROSALES                  TX           90012166357
2B47549685B271   KRYSTA         HARPER                   KY           90014044968
2B47B391A85988   JESSICA        JNES                     KY           90004233910
2B47B624397B3B   JULIE          DERAAD                   CO           90005776243
2B47B677591541   HERIBERTO      SANTOYO                  TX           90010666775
2B48212A271933   JUAN           CASTRO                   CO           90012431202
2B482A71685988   FRED           BOGGS                    KY           90012030716
2B48326599794B   BATTISTA       JONES                    TX           74033642659
2B483814981661   ANTHOTNY       ROBERTSON                MO           90014628149
2B486115A74B79   VANESSA        ROSE                     OH           51014161150
2B488984A85938   CHRISTOPHER    GRIFFIN                  KY           90011199840
2B48933939184B   LINDA          WYNNE                    OK           90009873393
2B48BA62272B42   JORGE          RUEDA                    CO           90012210622
2B49178247B471   PAYGO          IVR ACTIVATION           NC           90009527824
2B4924AA672B42   ROBERT         PEASLEY                  CO           90007404006
2B49366274B231   MATTHEW        MCKEE                    NE           90010046627
2B49373839184B   RANDY          MORAN                    OK           90013877383
2B4953A335B271   LA BOBBIE      BARLOW                   KY           90006223033
2B49625A684364   CARLOS         MOURA                    SC           90011172506
2B497279172B42   EDWARD         KIEFER                   CO           90011352791
2B49734899189B   LACONIA        DANIELS                  OK           90011233489
2B497564631453   MARILYN        LINDSEY                  MO           90011205646
2B497777551343   BRIAN          BLALOCK                  OH           90014147775
2B497834531631   PHONSAY        VILAYCHITH               KS           90013428345
2B499584385965   SAMANTHA       HOLLINGSWORTH            KY           90011095843
2B4B1382291528   MOISES         GUERRERO                 TX           90004463822
2B4B163892B892   CODY           LEE                      ID           90006336389
2B4B271312B839   KATHY          SEGURA                   ID           42031247131
2B4B3181581661   CHRISTAL       HARISS                   MO           90011401815
2B4B37AA993773   ARLENE         CRAIN                    OH           64512267009
2B4B4674285965   MARK           BAUDENDISTEL             KY           90014626742
2B4B4979951343   RUBEN          ALONZO                   OH           90014109799
2B4B531515715B   JORGE          VASQUEZ                  VA           81012833151
2B4B5684A5B271   LORETTA        CASON                    KY           90012166840
2B4B5883991541   EDGAR          VALDIVIA                 TX           90012948839
2B4B672A92B931   TENNILLE       LANE                     CA           45066717209
2B4B6A72687B59   JEREEL         JONES                    AR           90001120726
2B4BB397457157   MONIQUE        STOKES                   VA           90013053974
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2B4BB76125715B   RAQUEL         BARBER                   DC           90012837612
2B511767A5715B   LY             LONG                     VA           90009587670
2B51349344B281   JONH           GRANT                    NE           90013114934
2B51374194B588   MONTRELL       SMITH                    OK           90012867419
2B51376872B839   ALISHA         CAWAGDAN                 ID           90009387687
2B5175A5A51336   LINDA J        MILLER                   OH           90010285050
2B517A55347952   VICTORIA       TURNER                   AR           90013290553
2B51B996287B87   JASMINE        NATION                   AR           23004199962
2B52235879794B   MICHELLE       FOX                      TX           90011383587
2B52299762B27B   DEANTHRA       STANLEY                  DC           90005159976
2B5244A3691541   SERGIO         CABRAL                   NM           75034424036
2B52475479189B   MEGAN          BROOKS                   OK           90003957547
2B524A14481637   KIMBERLY       NICHOLS                  MO           90010010144
2B525996284364   JUSTIN         HOTCHKISS                SC           90012969962
2B52621675B167   TIMOTHY        PAULMQUIST               AR           90013282167
2B5284A3291828   DEANZA         MIMS                     OK           90010694032
2B528576557157   CEDRIC         SMITH                    VA           90012965765
2B528716A2B892   RINA           RAI                      ID           90005947160
2B529447455941   STEPHANIE      LUERA                    CA           90013084474
2B529636872B42   MARIA          DE JESUS SANDOVAL        CO           90012856368
2B529A9A891522   DANIELA        VAZQUEZ                  TX           90014510908
2B52B593784364   FIMONE         HINES                    SC           90005465937
2B52B811755941   WENDY          VALDEZ                   CA           90011328117
2B52BA6A74B281   HENRY          STEVENS                  IA           90001180607
2B533542871948   KELLY          MURPHY                   CO           90007985428
2B534A78131453   NATALIE        FAIR                     MO           90009860781
2B53566A47B471   MALIK          ATKINSON                 NC           90014176604
2B5363A4891541   ADAM           BRANTNER                 TX           90011883048
2B536688272B98   DONALD         MARTIN JR.               CO           90011866882
2B538199191592   CHRISTINA      PENA                     TX           90015081991
2B53B153771948   JR             WRIGHT                   CO           32066991537
2B53B43A44B261   EDILIN         RODRIGUEZ                NE           27077474304
2B53B542771948   JR             WRIGHT                   CO           90014115427
2B5421A755B271   LISA           MICHELLE                 KY           90011051075
2B542344455941   MATEO ANDRES   URIBES                   CA           90014463444
2B5437A955715B   CLAUDIA        SORTO MENBRENO           VA           90010987095
2B54464738B334   MICHELLE       WATERS                   SC           90014766473
2B546154991522   JUANITA        GALLARZO                 TX           90005361549
2B549966472421   RACHEL         RAVETTO                  PA           90012019664
2B5517A8585965   RAYMOND        GRAHAM                   KY           90014307085
2B551945791828   JUAN           HERNANDEZ                OK           90005839457
2B552121391592   DANIEL         ACOSTA                   TX           90014511213
2B552519591522   JEANETTE       OFILI                    TX           90002745195
2B553858941245   AGATHA         REED                     PA           51067308589
2B554441972421   CHERYL         JOHNSON                  PA           90011824419
2B554522824B6B   AN THONY       HARRIS                   DC           90004315228
2B554546772421   JOSHUA         MOSLEY                   PA           90014625467
2B55518399189B   ANTONIO        ESPARZA                  OK           21018601839
2B55579218B17B   JOHN           LANGI                    UT           90012947921
2B557464A8B17B   ERIC           ANDRADE                  UT           90006894640
2B55786452B839   MORGAN         HILEMAN                  ID           90012338645
2B55866A844B62   MICHELLE       LANSE                    OH           90014156608
2B559262A91541   CLAUDIA        CHAVEZ                   TX           90006732620
2B55B41A651336   LAREAN         HEDGES                   OH           90007134106
2B56225572B839   JESSICA        HERRERA                  ID           90009582557
2B563419257157   SAVILEE        BLACKMON                 VA           81072314192
2B56822352B892   YVONNE         ZAVALA CASTELLANOS       ID           90011392235
2B5685A7585938   MAGALI         QUIROZ                   KY           90012835075
2B56957AA87B59   PATRIC         DAVIS                    AR           90012995700
2B571878291592   PRECILLA       GUERRERO                 TX           75083188782
2B573148172421   CHRISTINA      WOLBERT                  PA           90014641481
2B573473287B59   DAQUARON       DALE                     AR           90014084732
2B5736A3272B98   ANGELICA       MILERO                   CO           90014186032
2B574712A91241   SHANIECE       RIELY                    GA           90011237120
2B57627984B261   KELSEY         SCOVILL                  NE           90014632798
2B577282384364   TONY           BROWN                    SC           90015152823
2B578633A71948   ARACELY        GUILLEN                  CO           90012646330
2B57935389184B   BLANCHE        SCYFFORE                 OK           21033293538
2B57B467387B59   SHEILA         CURRY                    AR           90014084673
2B581A54547952   SHAWN          PALMER                   AR           90011310545
2B582512255941   JESSICA        QUINONES                 CA           90012315122
2B583179384364   JAMARIA        MYERS                    SC           90011171793
2B585136787B21   MISTY          DRENNEN                  AR           90013601367
2B58651A391241   ROBBIN         MERVIN                   GA           90008755103
2B586597A9189B   CHRISTOPHER    CRADDOCK                 OK           90011235970
2B58711612B839   TRACEY         WERNER                   ID           90013391161
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2B58713614B261   CARLA S        EVANS JR                 NE           90011261361
2B58769234B281   RANDY          NORTHHORN                NE           90011406923
2B587A86791251   DAVID          ALLEN                    GA           90003790867
2B588419381661   EDDIE          CHRISTIAN                MO           90010424193
2B592929685938   ROMAN          BHUJEL                   KY           90007529296
2B593157A9794B   RAUL           HERNANDEZ                TX           90014821570
2B593491A72B42   WILLIS         ALEXANDER BLAND          CO           90010134910
2B597189155941   BARBARA        ARANDA                   CA           90010571891
2B597212A81661   JAMES          SANTIAGO                 MO           29060422120
2B5974A7991251   SABRINA        DELOACH                  GA           14551474079
2B599799871948   KEVIN          URRUTIA                  CO           90014637998
2B5B1488372B98   DAVID          SCHLOTE                  CO           90012874883
2B5B461799189B   HEATHER        RICHARDSON               OK           90014696179
2B5B5897455957   MATTEW         DELGADO                  CA           90013828974
2B5B734277B449   LADY           FOSTER                   NC           90007653427
2B5B7581872B98   ABRAHAM        MARTINEZ                 CO           90014185818
2B5B758292B839   THOMAS         NEWELL                   ID           90001785829
2B5B8756357157   JOSE           GARCIA                   VA           90010657563
2B5B8A69181661   ZACHARY        RICHARDSON               MO           90013780691
2B5BB68A95715B   JORGE          MARTINEZ                 VA           90009696809
2B6111A235B271   CHRYSTAL       LYMES                    KY           90013351023
2B611A9222B242   GILBERTO       PEREZ LOPEZ              DC           90001600922
2B612584657157   BESSY          VILLALOBOS               VA           90011425846
2B6125AA172421   DEVON          CARTER                   PA           90014715001
2B61285555B161   ALMA           GAYTAN-PINA              AR           90011838555
2B614275784364   LYNETTE        NELSON                   SC           19026712757
2B61692379794B   KESHIA         CHAMBERS                 TX           90010719237
2B619541587B21   GABBY          HYDE                     AR           90014585415
2B621917872421   TINA           REITER                   PA           90013079178
2B62379749189B   SYDNEY         LEWIS                    OK           90014697974
2B62442A57B471   GEORGE         MATHIS                   NC           90013124205
2B625314671948   JAZMINE        ROWE                     CO           90009253146
2B6268A639189B   GINA           GREEN                    OK           90014698063
2B627957991589   DANIEL         GARDEA                   TX           90009519579
2B62B1A7187B21   BRITTNEY       HALFMAN                  AR           90014591071
2B631433191828   JOHN           BRADLEY                  OK           90010794331
2B63143932B892   JAMES          DAVIS                    ID           90009824393
2B63162A285938   CARLA          ALCORN                   KY           67042346202
2B63191A371923   DAWN           WIESNER                  CO           90007799103
2B634496647952   SHELLY         BAILY                    AR           90006984966
2B634A98372421   TIMOTHY        POWELL                   PA           90014780983
2B63556968B334   CHESICA        SINCLAIR                 NC           90001045696
2B636212555957   ROSIO          ALDACO                   CA           90006262125
2B63692825715B   PAYGO          IVR ACTIVATION           VA           90011709282
2B63916769794B   LEONADRO       ZARATE                   TX           90013131676
2B642749A9184B   PAYGO          IVR ACTIVATION           OK           90013107490
2B642886684364   ERIN           MOTHERSHED               SC           90012678866
2B64297282B839   SANJA          BABIC                    ID           90012339728
2B64324344B261   SHANNA         SELPH                    NE           27085812434
2B64477A84B281   DONTAVIS       JOHNSON                  NE           90013017708
2B645343A31453   ALEXIS         JOHNSON                  MO           90013723430
2B64639A89184B   ROSA           PINON                    OK           90007593908
2B646744751336   JASON          WILKINS                  OH           66034947447
2B64854965B167   JESSIKA        VINCIL                   AR           90014205496
2B64899A991592   BRIAN          BORGES                   TX           90012409909
2B64955132B892   MIKE           LISBY                    ID           90007975513
2B64B552247952   KELSEY         CLAYTON                  AR           24048545522
2B65245964B245   RUSHEENA       KIRK                     NE           90005194596
2B652A11291241   MICHEAL        JOHNSON                  GA           90011240112
2B653247255957   JESUS          BUSTAMANTE               CA           90011262472
2B653328172B42   JANET MARIE    VALERO                   CO           90013343281
2B6546A925B271   EDUARDO        LOPEZ                    KY           90012636092
2B65587372B839   GENARO         RODRIGUEZ                ID           90013948737
2B657516184364   WILLIAM        GRAHAM                   SC           90005665161
2B658229655957   ALEXANDRIA     PETERSON                 CA           90008302296
2B65832417B471   CHRIS          BROWN                    NC           11086443241
2B65886559189B   SAMANTHA       RIDDLE                   OK           90014698655
2B65B524457157   JOHN           ROSS                     VA           90014425244
2B661174671948   MARTINA        BENITEZ                  CO           90014201746
2B662468791528   NORMA          DIAZ JIMENEZ             TX           90003354687
2B662A3A491828   ALEJANDRO      REYES                    OK           90012070304
2B66324454795B   MARIA          HERNANDEZ                AR           90013092445
2B663273584364   JOHNNIE        HOLMES                   SC           90009172735
2B66378184795B   MARIA          HERNANDEZ                AR           90008187818
2B665173681637   ADRIANA        HERNANDEZ                MO           90011201736
2B665797855941   MARIA          HERNANDEZ                CA           90010917978
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2B665A68847952   MARIE          NONNEMACHER              AR           90007940688
2B666379591522   MARISELA       VARGAS                   TX           90008103795
2B667448861999   SAMUEL         STEWART                  CA           90010384488
2B66833552B839   MCDOWELL       RICH                     ID           90010283355
2B6686A8831453   JAMES          SCHRAMM                  MO           90013836088
2B668841191592   KRISTEN        CORDOVA                  TX           75039938411
2B668A31491828   MIGUEL         GUERRERO                 OK           90007670314
2B66B3A767B471   JENNIFR        NELSON                   NC           90008673076
2B66B48882B839   MAYRA          LEON                     ID           90012444888
2B671A21771948   JULIAN         JIMENEZ                  CO           90011270217
2B676648851343   EMI            PARROTT                  OH           90013596488
2B678359597992   DANNY          OWENS                    TX           90014683595
2B679A21771948   JULIAN         JIMENEZ                  CO           90011270217
2B67B839431631   TERANCE        WHITE                    KS           90011988394
2B682421385965   ANGEA          TAYLOR                   KY           66024004213
2B684251A9189B   ANNIE          CAITLIN                  OK           21044802510
2B685644A72B98   SANDRA         CHAVEZ                   CO           90014186440
2B686469785965   DORIS          OOTEN                    KY           90012054697
2B687485A55941   SANDY          SISAKDA                  CA           90014184850
2B687825572B42   JULIAN         NAVARRO                  CO           90003588255
2B68786868B17B   KEITH          KENDALL                  UT           90010028686
2B688937391241   JOHN           WILLIAM                  GA           90011899373
2B68919339794B   MARIA          LOPEZ                    TX           90013731933
2B68B418541261   MELISSA        BRADLEY                  PA           90004944185
2B69131A691541   BELINDA        MORENO                   TX           90003403106
2B692531185938   NICOLE         BRADLEY                  KY           90011185311
2B69352194B588   CHRISTIAN      DASHUN                   OK           90015245219
2B694179587B21   JAMES          HOOLEY                   AR           90014871795
2B69533AA57157   DONALD         RICHMOND                 VA           90012753300
2B696456585938   TEREKA         GUIN                     KY           90011164565
2B69722355B167   ARLESHIA       MORGAN                   AR           90004062235
2B697663981637   NIKOLAS        DJIKO                    KS           90013666639
2B698589891522   AMBER          LARA                     TX           75065895898
2B699648672B98   JAMES          THOMAS                   CO           90014186486
2B69B92384B261   JON            SUTTON                   NE           90011569238
2B6B2285A72421   LAUREN         RUPERT                   PA           90013942850
2B6B2A5434B281   ELIZABETH      BRITO                    NE           90012040543
2B6B3126155957   JUDITH         ALVIRA                   CA           90014331261
2B6B45AA172421   DEVON          CARTER                   PA           90014715001
2B6B576A19189B   TINA           OBERST                   OK           90014697601
2B6B6312981661   RACHEL         ALLISON                  MO           90007703129
2B6B676465715B   REYNALDO       CHAVEZ                   VA           90011867646
2B6B78A252B839   ERICK          JIMENEZ                  ID           90013948025
2B6B78A325715B   JOSE           GUEVARA GARCIA           VA           81057828032
2B6B7A59591522   JOHNY          SAPIEN                   TX           75010730595
2B6B913A291522   OSCAR          ESTRADA                  TX           90014931302
2B6B9665331453   JULIE          RIDGELL                  MO           90015126653
2B6B9668687B59   SHEILA         CURRY                    AR           90014086686
2B6BB274991828   LEMONT         JACKSON                  OK           90015322749
2B6BB648A81637   KRYSTAL        NASHONDRA                KS           90011736480
2B71216927B471   MARIA          CERECEDA                 NC           90013131692
2B71322939794B   SHACQUELINE    REED                     TX           90008952293
2B71374A287B59   TIERRE         HAWKINS                  AR           90014247402
2B715A31551343   BRANDON        BACK                     OH           90014520315
2B71718934B261   KATIE          KELLY                    IA           90015161893
2B71898772B27B   FOLASADE       OGUNWUMIJU               DC           90010569877
2B719422557157   JUAREZ         FAUSTO                   VA           81067694225
2B719A47785938   ANA            ROSALES                  KY           90012120477
2B721486A7B471   MARINA         PEREZ RAMIREZ            NC           90013634860
2B721615191592   IVONNE         RAYGOZA                  TX           75096196151
2B721994772B98   LEEANNA        OVIEDO                   CO           90011729947
2B722486A9794B   JENNIFER       LORDEN                   TX           90009774860
2B722615191592   IVONNE         RAYGOZA                  TX           75096196151
2B723549257157   PAULA          ARCHIE                   VA           90011045492
2B723A53571948   HERMEN         FAUSON                   CO           90014330535
2B7241A775715B   YURIDIA        BENITE                   VA           90013521077
2B724966587B59   DESTINY        PARKS                    AR           90012729665
2B725A34791547   GUSTAVO        VASQUEZ                  TX           90012640347
2B726755691541   DAVID          JIMENEZ                  TX           90015127556
2B727A8635B167   JARROD         WARE                     AR           90014240863
2B72842112B892   CHRIS          TAYLOR                   ID           90010654211
2B728488A81661   CHRISTINA      HEDBERG                  MO           90010344880
2B73145A647952   KIZZIE         LEWIS                    AR           90010884506
2B7318A3A9189B   ANTHONY        STODDARD                 OK           90014708030
2B7323A162B27B   TIJUANA        SILVERS                  DC           90008103016
2B73256A87B449   TARQUITA       BARNETTE                 NC           90011055608
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2B73281325B167   LISETTA         DUKE                    AR           23078538132
2B73425A685988   CHESTER         MILLER                  KY           90006402506
2B735836181637   KENITH          MOZEE                   MO           90012928361
2B735A5344B588   TAKEYLA         ELLISON                 OK           90007370534
2B73625684B261   CHRIS           ARMBRUST                IA           90009042568
2B738616A2B839   ANGELA          DITTIMUS                ID           90011896160
2B73B17872B839   LARISSA         SLAGEL                  ID           42070301787
2B73B53329189B   BRITTANY        ASHWOOD                 OK           90014715332
2B741142581637   ANTHONY         ADAM                    MO           90014811425
2B74144829794B   PAYGO           IVR ACTIVATION          TX           90014054482
2B74238175B167   CHRISTOPHER     WHITFIELD               AR           90014253817
2B742A5829794B   JAIME           GOMEZ CONTRERAS         TX           90012930582
2B743541647952   JESSICA         FLEMONS                 AR           90012255416
2B74672175715B   JOSE NORBERTO   MACHADO                 VA           90006267217
2B7468A5491828   VINA            MOORE                   OK           90013988054
2B746A1A79794B   ELIZABETH       MCFALL                  TX           90012470107
2B74792457B42B   GODEY           MOREIDA                 NC           90012429245
2B747A29185965   KELLI           MARTIN                  KY           90013650291
2B748825155957   SIRENE          CERVANTES               CA           48079588251
2B74B292384364   ALEXIS          SHELTRAW                SC           90013492923
2B74B691547952   JAMES           JONES                   AR           90007606915
2B75648582B839   TOM             DEARDEN                 ID           90014464858
2B757238457157   GERMAN          CRUZ                    VA           90002542384
2B759A45672B98   PETRA           MUNOZ                   CO           90008760456
2B75B535791592   ADAN            FAVELA                  TX           90014095357
2B761861671948   HASTIN          MOORE                   CO           90010908616
2B76594365715B   MARIO           CASTRO                  VA           90012209436
2B76778652B892   ANGELA          REED                    ID           42016277865
2B76785684B543   JOSE            RAMIEREZ                OK           90010868568
2B767A56781661   SHANIES         NEAL                    MO           90014630567
2B76B214485965   TIM             MCCULLOUTH              KY           90012762144
2B76B652191828   NANCY           LOPEZ                   OK           90011066521
2B77149695B271   KEYTHEN         GANT                    KY           90011384969
2B772A85351336   DARNESHA        CHANDLER                OH           90014090853
2B773677A55941   FABIAN          SAMANIEGO               CA           90010436770
2B77B61438B17B   IVAN            RIVERA                  UT           90011696143
2B781148451336   ANGELA          GLANCY                  OH           90011201484
2B781597285938   KAREN           TREJO                   KY           90011065972
2B781642191541   CORINA          VASQUEZ                 TX           90012166421
2B78216865B167   MARY            DANIELS                 AR           90013451686
2B782329631453   TEREATHA        WILLIAMS                MO           90010773296
2B783249587B21   MARGARITA       BRYANT                  AR           90011052495
2B7832A162B839   MARIYA          BAY                     ID           90014492016
2B7837A862B892   RODNEY          BURKHEAD                ID           90014497086
2B784335755957   LUIS            GONZALES                CA           90011853357
2B784386357157   ADARA           SULUESTER               VA           90013583863
2B78444584B261   ROBERT          GALVAN                  IA           90001914458
2B784911A31453   CRYSTAL         YOUNG                   MO           90010939110
2B7851A1791522   SAHID           HOLGUIN                 TX           90014471017
2B785365385938   LAURISSA        VARGAS                  KY           67002033653
2B787924781661   LARRY           LEEK                    MO           90014109247
2B78817748B17B   CHARLES         SHEPARD                 UT           90006951774
2B7896A9981661   MICHAEL         ROBERTSON               MO           90013276099
2B78B194451343   MELLANIE        BEGLEY                  OH           90005611944
2B78B251451336   ERIC            MADDEN                  OH           90012272514
2B78B621491541   RAMON           VALLES                  TX           90014886214
2B791A25341245   RONALD          THOMPSON                PA           51061600253
2B792A13351346   DEMETRIUS       FIAMAWLE                OH           90006780133
2B79327875715B   CLAUDUIA        GONZALEZ                VA           90012352787
2B79339934B281   DEE             DAVIS                   NE           90014763993
2B793A49184364   TERRELL         OWENS                   SC           90014540491
2B796696985938   RON             FOSNAUGHT               KY           90011846969
2B797669272B98   JOHN            MCAFEE                  CO           90014186692
2B79794988B17B   STEVEN          WILDE                   UT           90012699498
2B79882175B531   ROBERTO         DUVERGER                NM           35083368217
2B798A9A59794B   PAULINO         THEODORO                TX           74068900905
2B79941A257157   DAVID           CASTILLO                VA           90009004102
2B7B144613B324   EDDER           HERNANDEZ               CO           90010314461
2B7B1864391828   ADAM            THOMAS                  OK           90015308643
2B7B2639A87B59   MICKEEL         WILLIAMS                AR           90015146390
2B7B276515B161   THERESA         JOHNSON                 AR           90001437651
2B7B389467B449   KAJAUN          ARCHER                  NC           90014888946
2B7B6A44957157   JOHNSON         BROWN                   VA           90013360449
2B7B7661131453   YVONNE          CLAMOT                  MO           90007336611
2B7B8246791828   DANIEL          SHERIDAN                OK           90014962467
2B7B93A974B588   ADRIANA         NEVAREZ                 OK           90011053097
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 330 of 1007


2B7B944968B17B   DON            MITCHELL                 UT           31029644496
2B7BB396291592   ISAAC          OTERO                    TX           90005033962
2B7BB56A271948   ASHLEY         GREENE                   CO           90013345602
2B7BBA21771948   JULIAN         JIMENEZ                  CO           90011270217
2B81283439184B   ELLIA          DE LA ROSA               OK           90014478343
2B81364435B167   MICHELE        LIGHT                    AR           90014606443
2B814177972B42   JUAN           CASTANEDA                CO           90012031779
2B81421545B271   MELODIE        DURHAM                   KY           90011392154
2B81478652B892   ANGELA         REED                     ID           42016277865
2B8147A7A51336   FRANCES        GARR                     OH           90008177070
2B817437687B21   JESSICA        SIMMONS                  AR           28047514376
2B819A69181661   APRIL          VANZANDT                 MO           90014880691
2B81B64257B471   ALVIN          MERRTT                   NC           90015026425
2B81B93155B271   MARIA          GONSALES                 KY           90013919315
2B81B995891828   SARA           LYLE                     OK           90011199958
2B8213A194B588   JANAY          LONG                     OK           90009173019
2B82241A15B167   DESMOND        MAULDIN                  AR           90009654101
2B825298191541   SANDRA         ROSALES                  TX           75055702981
2B825624772B42   ANGELA         BROWN                    CO           90012476247
2B8257A2355941   CASELENA       YANG                     CA           90011487023
2B825915851336   TOMARKUS       JONES                    OH           90012959158
2B826535531453   ERIKA          MARTINEZ                 MO           90013675355
2B826943A55941   AMIRTPAL       SRAN                     CA           90014039430
2B82712458B133   TARA           INGRAM                   UT           90008401245
2B82713189184B   ALEXIS         SCOTT                    OK           90014801318
2B827388991933   SHELBY         WALKK                    NC           90001933889
2B8273A4372B42   MORGAN         MCBRIDE                  CO           90011093043
2B82B66885715B   JESUS          CARDOZO                  VA           90010016688
2B833419691522   JAMES          MUNOZ                    TX           90004204196
2B833913193773   BRENDA         WILSON                   OH           90012439131
2B8343A717B449   PATRICIA       ROBINSON                 NC           90014903071
2B834674372B98   PEYTON         MANNING                  CO           90014186743
2B83524665715B   SAUL           CORTEZ                   VA           81013572466
2B83562A355941   AURIEL         RAMIREZ                  CA           90011416203
2B836358A2B892   BRIAN          THORELL                  ID           90002253580
2B839448591592   JOSE           HINOJOSA                 TX           90014154485
2B83B349555957   LUCIA          FERNANDEZ                CA           90011843495
2B83B383A7B449   DAVID          LUNA RIOS                NC           90012073830
2B83B43339794B   ASHLYNN        ROBERTS                  TX           90013084333
2B83BA83187B59   ZAIRE          CARPENTER                AR           90010380831
2B84344992B839   JENNIFER       GRAY                     ID           90011284499
2B84526515B271   MISHA          MOSS                     KY           90012842651
2B84547542B892   NATALIE        THOMAS                   ID           90012934754
2B845A41A91241   CHARLES        MCCOY                    GA           90014930410
2B84638A672421   JUDITH         JONES                    PA           90015243806
2B8467A6731453   JAMES          SWYERS                   MO           90015127067
2B846A3865B271   OMAR           CRUZ REYES               KY           90008670386
2B8473A534B261   ALICIA         ESPARZA                  NE           90013833053
2B84813A871948   LORI           WARNER                   CO           90011551308
2B848848457157   FLOR           DIAZ                     VA           90012448484
2B849973A5B271   BRANDON        WRIGHT                   KY           90014879730
2B849A45A71948   HEIDIE         LOPEZ                    CO           90015240450
2B84BA69181661   APRIL          VANZANDT                 MO           90014880691
2B851436151336   RYAN           BRUNER                   OH           90011504361
2B855644491592   GUILLERMO      GOMEZ                    TX           90013776444
2B862A68193773   NICHOLAS       STRINGER                 OH           90014580681
2B86316114B588   AMBER          BRAWDY                   OK           90010711611
2B864955287B21   JOHN           BARNES                   AR           28011109552
2B8649A425B167   DANIEL         FETTERMAN                AR           90014699042
2B865A69A85965   JOHN           AUTON                    KY           90015090690
2B867633531453   LONNIESE       PERKINS                  MO           90013446335
2B867A8197B471   MICHAEL        HULME                    NC           90013290819
2B86843673B329   BARBARA        TRUJILLO                 CO           90008084367
2B868642947952   SANDRA         DUNCAN                   AR           24079556429
2B86972AA55941   RICHARD        JUAREZ                   CA           90010797200
2B872196372B98   NICOLE         HENDRICKS                CO           90014601963
2B872491585965   ALLEN          THORPE                   KY           90012474915
2B87425734B588   MELISSA        NAVE                     OK           90007862573
2B87481265B271   SHERMAN        WILSON                   KY           90012628126
2B87512964B261   SAMANTHA       MARTINEZ                 NE           90012181296
2B876489385938   STEVEN         WALKINS                  KY           90010884893
2B87656A261939   MARIA          MONTOYA                  CA           90007735602
2B877A87671948   THOMPSON       MICHAEL                  CO           32038370876
2B878A84231453   OMARR          JONES                    MO           90013800842
2B879593671948   WILLIAM        ALGREEN                  CO           32007825936
2B87B129791251   BOBBIE         DENNIS                   GA           90012331297
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 331 of 1007


2B87B272A91933   LATOYA         BETHEA                   NC           90010332720
2B881648341245   FOSTER         JOHNSON                  PA           90006266483
2B881858793773   MICKEY         BERAN                    OH           64515798587
2B88326764B245   CORA           BEERY                    NE           90005582676
2B883439787B59   KANDIS         BRIGGS                   AR           23036744397
2B884515681637   JESSICA        BOUDROW                  MO           90013835156
2B88536374B261   ISLIA          SALLES                   NE           90012353637
2B8884A7251343   DAVID          HILLARD                  OH           90011534072
2B888773631631   MARIA          GOCHENOUR                KS           90010137736
2B888912751343   DAVID          HILLARD                  OH           90012179127
2B891577887B59   WILLIE         JACKSON                  AR           90014065778
2B896222491522   CELIA          ORTIZ                    TX           90012332224
2B897162281637   MIMI           DAVIS                    MO           90013821622
2B897196372B98   NICOLE         HENDRICKS                CO           90014601963
2B89832865B531   JASON          HOWELL                   NM           90005973286
2B89879A157157   EUGENE         MARTIN                   VA           90014777901
2B89961917B471   MANUEL         ZUNIGA                   NC           90013606191
2B89B332A91522   JOSHUA         COLLINS                  TX           90011023320
2B89B781691241   BRENDA         RODRIGUEZ                GA           90013477816
2B8B1457784364   ARIAL          MURRAY                   SC           90008474577
2B8B2336484364   COURTNEY       KING                     SC           90003243364
2B8B2867347952   JOESPH         HIGGINS                  AR           90014748673
2B8B4731391828   CODY           BARCLAY                  OK           90010327313
2B8B6162791541   CARLOS         HERNANDEZ                TX           90012051627
2B8B616422B232   BILLY          JOHNSON                  DC           90006331642
2B8B667A472B98   DEENA          LEWIS                    CO           90007476704
2B8B7364147952   ROBERT         HENRIQUEZ                AR           90010953641
2B8B828242B839   CHELSEA        JOHNSON                  ID           42087842824
2B8B8619972B42   SERGIY         ZHURBA                   CO           90012516199
2B8BB9A9785938   GREGORY        CONN                     KY           90011149097
2B91255242B892   MICHAEL        DE VAUL                  ID           90010595524
2B913178971948   JESSICA        WILMOT                   CO           32091471789
2B916265791528   MILAGROS       RAMIREZ                  TX           75057692657
2B916A87281637   KARI           STANBERRY                KS           90014540872
2B918366651343   RICK           FRANKENFIELD             OH           90013413666
2B91B272455957   LINK           ROBINSON                 CA           48084132724
2B91B8A487B471   TRACY          MCCLURE                  SC           90013138048
2B9218A2847952   BLAKE          WRIGHT                   AR           90014048028
2B921A93841245   DEBORAH        CALDWELL                 PA           90005290938
2B922567A85965   DEBBIE         COMBS                    KY           90004865670
2B922573781661   SHANTA         MURRELL                  MO           90010925737
2B922957691541   GUSTAVO        MEZA                     TX           90014569576
2B923595231456   JAMES          TOWNS                    MO           90008795952
2B92549A34B261   LARRY          NICHOLSON                NE           90013394903
2B925673447952   JOY            ALLARD                   AR           90011856734
2B927744A4B588   DIANA          BASTANI                  OK           90012497440
2B928AAA585988   CARL           COLES                    KY           90006260005
2B92B466531631   DAVID          GARCIA                   KS           90014874665
2B92BA19887B59   VICTOR         BRISENO                  AR           90014120198
2B93321778B17B   LAURIE         LEE                      UT           31089762177
2B933A72A7B471   ERVIN          GONZALEZ                 NC           90011130720
2B936373691592   PAUL           GUZMAN                   TX           90014983736
2B936621A93773   WILLIE         LINDSEY                  OH           90011746210
2B93696232B839   ALEX           HINOJOSA                 ID           90011569623
2B93779689189B   TYRONE         THOMAS                   OK           90014717968
2B937861331631   JACOB          SHOCKLEY                 KS           90013648613
2B93876A551336   CHRISTY        CLANCY                   OH           90009477605
2B93994934B245   LINDA          NEWKIRK                  IA           90002229493
2B93B478931453   MARY           STONE                    MO           90005114789
2B93B696972B98   PETER          SMITH                    CO           90014186969
2B94183524B245   ASHLLEY        DUARTE                   NE           90007918352
2B941AA4351343   DARRIS         BATES                    OH           90014160043
2B942537A7B471   ISAI           JUAREZ                   NC           90001135370
2B9427A532B892   TANIA          CARRENO                  ID           90013067053
2B943435A9189B   BILL           DAVIS                    OK           21054394350
2B9434A4971948   CHESTER        KENDRICK                 CO           90014184049
2B946A4355B167   LINDA          DEAN                     AR           90012310435
2B94B18572B839   SEAN           GIAMBO                   ID           90013951857
2B94B74814B281   TINA           CREIGHTON                NE           90013857481
2B95187A755957   MARY           AGUIRRE                  CA           90013628707
2B95237A355957   RODNEY         IRVEN                    CA           48034083703
2B953269787B59   JORDAN         TILLMON                  AR           90014132697
2B9538A1357157   JOSUE          MUNDO                    VA           90006628013
2B958684785938   JULIO          HERRERA                  KY           90013796847
2B95926169184B   WHEATINA       BONNER                   OK           90013882616
2B961545871948   MIGUEL         HERNANDEZ                CO           90012315458
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 332 of 1007


2B963435951343   KELLY          WILSON                   OH           90013114359
2B96666957B449   ELISA          MATA                     NC           90014906695
2B96669A25715B   FITSUM         FASIL                    VA           81013876902
2B967184781637   MIGUEL         LESTAPIER                MO           90005691847
2B967729951336   SARAH          HOUSTON                  OH           90008177299
2B96779734B588   DEAUNTRE       GAINES                   OK           90014117973
2B968799355941   PATRICIA       MURILLO                  CA           90010847993
2B969728891828   MONICA         VELA                     OK           21052707288
2B969966351336   MONICA         SLAUGHTER                OH           90012079663
2B9713AA587B87   GARY           NEAL                     AR           23002143005
2B97256662B839   GREGORY        JOHNSON                  ID           90011895666
2B9726A2171948   ERIKA          MARSHALL                 CO           90012696021
2B97343824B245   CARLOS         VASQUEZ                  NE           90008964382
2B974439572B42   JERRY          BURTON                   CO           90003634395
2B97624815B167   CHARDELL       COOPER                   AR           23007802481
2B97824662B892   JOY            BURNIGHT                 ID           90010812466
2B978968A9794B   JOSE ANGEL     GAMEZ                    TX           90012429680
2B979117357157   JOSE           SANCHEZ                  VA           90015041173
2B97B72245715B   CRISTIAN       ESCOBAR                  VA           90011927224
2B98286679189B   CHARLES        BLACKWELL                OK           90014718667
2B98334A872B98   YESICA         CHAVEZ                   CO           90004263408
2B9839A3391541   NORMA          SAUCEDO                  TX           90006409033
2B98445875B271   HALEY          NEWTON                   KY           90002134587
2B98526594B588   KIMBERLY       LAM                      OK           90012672659
2B9853A4791589   MIRIAM         HERNANDEZ                TX           75019563047
2B98586A75B167   NORA           SOTO                     AR           23054048607
2B985A2864B245   KIYANA         PERRY                    NE           90008540286
2B98658352B892   MARIA          JIMENEZ                  ID           90015035835
2B987A13A51343   SARA           FUHRMAN                  OH           90014160130
2B98838754B281   OSCAR          CUADRA                   NE           90013403875
2B9895A465715B   XID            FAGGIONI                 VA           90011875046
2B98B99A157157   DONNA          GRANADOS                 VA           90006019901
2B991719385938   BRITTANY       COOPER                   KY           90012947193
2B991771A91251   SOPHIA         EARLY                    GA           14509907710
2B992141291592   LUBIA          VALDEZ                   TX           90009831412
2B99241A77B471   MERCEDEZ       CROCKETT                 NC           90014374107
2B99294A391241   MIKE           THOMPSON                 GA           90004259403
2B99379537B471   DAVID          HAWTHORNE                NC           90011167953
2B994998A91241   JOHN           GREEN                    GA           90011199980
2B996728872B98   MARIO          CASTRO                   CO           90014187288
2B996AAA59189B   GENIENE        HERNDON                  OK           90011250005
2B9971A374B588   BRIDGET        PRESTON                  OK           90011851037
2B997488871948   JENNIFER       TURNER                   CO           90014184888
2B9993A952B839   EDGAR          VARGAS                   ID           90013953095
2B99B4A5433678   PABLO          DELGADO JR               NC           90009954054
2B99B871355941   MISAEL         CHOLULA                  CA           90010758713
2B9B3326791541   ESTELA         VASQUEZ                  TX           90013753267
2B9B3362391522   KIMBERLY       LAWLESS                  TX           90013933623
2B9B3447787B59   KATRENA        ALEXANDER                AR           90014834477
2B9B51A4572B98   DION           COWDEN                   CO           90002841045
2B9B555344B245   REBECCA        JACKSON                  NE           90007835534
2B9B6953951343   IWANA          SMITH                    OH           90014159539
2B9B7398384364   CHRISTINA      MCABEE                   SC           90013093983
2B9B7427291241   RACHEL         BRANNEN                  GA           90015084272
2B9B7719A84364   ARTURO         MENDONES                 SC           90011647190
2B9B868A52B892   JEFF           HOLMS                    ID           90013296805
2B9B9293A55957   ADRIANA        GONZALES                 CA           48065232930
2B9B956189189B   ERIKA          BANDA                    OK           90011245618
2B9B9714187B59   MIGUEL         GARCIA-DE LOS            AR           90014597141
2B9BB11612B839   TRACEY         WERNER                   ID           90013391161
2BB12257A72B42   MICAH          YOUNG                    CO           90014822570
2BB1275225B271   GEORGE         HILL                     KY           68006917522
2BB144A3672B98   RENE           GUTIEREZ                 CO           90014184036
2BB15439681637   JAABRON        BALL                     MO           90011864396
2BB16537247952   GLADYS M       GREEN                    AR           90007365372
2BB17195355941   PETE           REYNOSA                  CA           90010071953
2BB17236284364   ANDREA         GATHERS                  SC           90007972362
2BB17287491522   IVE            MUNOZ                    TX           90011322874
2BB17994736165   VERONICA       TUDOR                    TX           90009849947
2BB19936572421   TAMIKA         HUGHLEY                  PA           90011109365
2BB1B37987B449   CHARIST        BAKER                    NC           90008453798
2BB1B698881661   PAYGO          IVR ACTIVATION           MO           90010276988
2BB22424197121   SACANNA        RUSH                     OR           90004214241
2BB23651651336   DARREN         FRIDLEY                  OH           90010636516
2BB23681485938   DARREN         RUSIN                    KY           90014406814
2BB2432A15753B   DILLON         WHITAKER                 NM           90014113201
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 333 of 1007


2BB2437679184B   SAMATHA        CORBET                   OK           90011073767
2BB24576555941   ENRIQUE        PACHECO                  CA           90012065765
2BB24918687B59   JALISA         GARNER                   AR           90014569186
2BB25367891241   ADAM           WEBB                     GA           90010383678
2BB28228A55941   JOHNATHAN      DOMINGUEZ                CA           90013972280
2BB29184691592   GEORGE         ORDONEZ                  TX           90015081846
2BB2B1AA42B839   JOHN           GUNTER                   ID           90013941004
2BB31143772B98   JULIANNE       VAROS                    CO           90010921437
2BB311A1831631   DAN            MICHAELS                 KS           90012071018
2BB31561287B59   CLEASHONDRA    OWENS                    AR           90013615612
2BB31942231453   ANNIE          BASSETT                  MO           27561769422
2BB3196A17B471   NANCY          CARTER                   NC           90014139601
2BB32A87691828   ERMELINDA      THOMAS                   OK           21043400876
2BB3341A272B98   TASHEYLA       PARHAM                   CO           90014184102
2BB33A6687B471   LYNZEE         ROBINSON                 NC           90008190668
2BB33A86285988   CHRIS          KEVER                    KY           90013900862
2BB34543433691   TAMAR          COFER                    NC           90007945434
2BB348A7133686   GREGORY        HORNE                    NC           90011328071
2BB35143691592   SANDRA         GARCIA                   NM           90012901436
2BB35171255957   VICTOR         SRENES                   CA           90013361712
2BB35359172B98   DARLENE        VALDEZ                   CO           90015133591
2BB35861184364   ERVIN          BROWN                    SC           19069708611
2BB39593587B59   MELODY         CRAIE                    AR           90013955935
2BB39694951343   JULIAN         ROBINSON                 OH           90013306949
2BB39814431631   OYNAELA        PAYNE                    KS           90007578144
2BB3BA17391592   RAYMUNDO       JACOBO                   TX           90012110173
2BB4112A48B17B   SKYLER         THOMAS                   UT           90011681204
2BB4175355B271   LESLIE         EDWARDS                  KY           90006757535
2BB41868A91251   ROSELLA        THOMAS                   GA           90011648680
2BB4193919189B   SANDRA         MORRIS                   OK           90011219391
2BB4198415B167   TONIA          BURRUS                   AR           90012659841
2BB43449585988   MEGAN          ARREGUN                  KY           90011964495
2BB4345692B892   CARLOS         SIGMOND                  ID           90011944569
2BB4523A755941   YAZMIN         BELTRAN                  CA           90013972307
2BB47882691522   BRIANNA        RONQUILLO                TX           90015048826
2BB47981674B79   TOM            SOBOTA                   OH           90012319816
2BB47A7A191522   MARIA          MORALES                  TX           90012270701
2BB4854A141245   AMBER          JONES                    PA           90002505401
2BB48868631631   NIKKI          LOVE                     KS           90010798686
2BB4969542B892   DALE           SLAGEL                   ID           90014356954
2BB4B28799794B   XOCHITL        DE LA TORRE              TX           90001502879
2BB4B6AA247952   GABRIELA       REYES                    AR           90011396002
2BB51935371948   CHRISTIAN      MARIN                    CO           90012469353
2BB53A26671948   TEMESGEN       BAYABLE                  CO           32012130266
2BB5464189184B   EDEN           ANDRADES                 OK           90009586418
2BB54A8972B839   MARLENA        RANGEL                   ID           90002180897
2BB57143155957   KYLE           HORN                     CA           90013731431
2BB5746447B449   BREEAHNAH      WILLIAMS                 NC           90014804644
2BB5986AA31453   KEVIN          JONES                    MO           90010818600
2BB5B141855957   JEREMY         KOELEWYN                 CA           90013091418
2BB5B33999184B   JASON          MACGILLIVRAY             OK           90009563399
2BB5B97229189B   ROBIN          WILLIAMS                 OK           90014659722
2BB6113A491828   DUSTIN         HAMILTON                 OK           90011121304
2BB61373791592   DAVID          HARVIN                   TX           90012133737
2BB62814591522   BLANCA         OLAGUE                   TX           90012568145
2BB63A34391241   ELIXIS         HARRIS                   GA           90014560343
2BB64167755957   CHARLIE        MACOMB                   CA           90013331677
2BB64883391541   ISABEL         LIRA                     TX           90008938833
2BB6593919189B   SANDRA         MORRIS                   OK           90011219391
2BB6793A651336   JONATHAN       SUGGS                    OH           90009949306
2BB6796815715B   ANA            MONJARAS                 VA           90013309681
2BB6799864B281   ROBERTO        GUTIERREZ                NE           90001139986
2BB69615131453   ROBERT         BROWN                    MO           90014056151
2BB6B754681661   MICHAEL        HILL                     MO           90014627546
2BB6B77599794B   WILLIAM        OLYSLAGER                TX           90014377759
2BB7195622B839   MARK           KING                     ID           90012909562
2BB72A92874B79   DAVID          MONIGOLD                 OH           90014620928
2BB73185547952   BRANDON        CABE                     AR           90013911855
2BB73417A8B849   SHIKERA        WILHELM                  HI           90013674170
2BB7444245B171   SONYA          DAVIS                    AR           90007264424
2BB7493A17B449   KEISHA         HUTCHINSON               NC           90014859301
2BB75188971948   JUAN           LOPEZ                    CO           90010301889
2BB76A2527B471   LANITIA        WESTBROOK                NC           90011160252
2BB7732312B892   AMPARO         DIAZ                     ID           90013173231
2BB77427685988   JACOB          CANTRELL                 KY           90013974276
2BB7953567B449   JAMES          WALTON                   NC           90014805356
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 334 of 1007


2BB79812157157   CARLA          JOHNSON                  VA           90013848121
2BB8123837B278   MARIA A        TANNER                   NV           90014282383
2BB82145581661   JESSICA        BEARS                    MO           90011991455
2BB8347A631433   TERRIE         PARCHMON                 MO           27572074706
2BB84218185938   FRAN           ROBLIN                   KY           67065542181
2BB85493391828   QUATRILLA      BARNETT                  OK           90013224933
2BB85A39471948   KAREN          HOFFMAN                  CO           90001990394
2BB86941155957   ROBERT         LAMBERT                  CA           90011309411
2BB87528785938   CHRIS          RAVEN                    KY           90014715287
2BB88478272B98   OSIRIS         SANDOVAL                 CO           90011724782
2BB8B595A74B79   LAWAN          LIVINGSTON               OH           90012565950
2BB8B63794B281   KARLA          MEJIA                    NE           90014166379
2BB91114A91522   AMELIA         RODRIGUEZ                TX           90008531140
2BB922A7A74B79   ASHLEY         HIGHLEY                  PA           51067272070
2BB9837429794B   SALVADOR       GONZALEZ                 TX           90014463742
2BB9998665B271   MARIA          SOLIS                    KY           90008669866
2BBB262729184B   ANTHONY        COX                      OK           90014686272
2BBB317A85715B   NORBEL         MENDEZ                   VA           81076091708
2BBB43A155B167   DAMIEN         MITCHELL                 AR           90012903015
2BBB583284795B   RUSTON         PERRY                    AR           25060958328
2BBB5843287B59   ROSETTA        GIDDENS                  AR           90013238432
2BBB6286384364   AUSHAULAY      SMITH                    SC           90013102863
2BBB824722B229   TERRI LYNE     BRISCOE                  DC           90013252472
2BBB8346955941   JOSE           PENA                     CA           90013263469
2BBB8965572B42   JAMES          CONTRERAS                CO           90013439655
3111448555B393   TYLER          PORTNOY                  OR           90010684855
31115A1844B943   SERGIO         CABELO                   TX           90014870184
3111694555B393   EILEEN         LIHPAI                   OR           90014169455
3112153227753B   JUSTIN         HEMPHILL                 NV           90013885322
3112622328B162   KELIEANN       VAN LEUVEN               UT           90009002232
31126746A91584   GLORIA         CARRILLO                 TX           90011227460
31127111A41285   MONAE          BARNETT                  PA           51048491110
3113177724124B   GENEVIEVE      FREEMAN                  PA           90011737772
3113183A785943   TERRY          SNOW                     KY           90012368307
31131A34355949   JESUS          AGUILAR                  CA           49081670343
3113212A151369   LAWANDRA       NEWELL                   OH           90006471201
31132747A8B16B   CANDY          FREDRICKSON              UT           90014167470
31136911A2B835   BA             TUN                      ID           90012519110
3113988416B981   FRANCISCO      BAUTISTA                 NJ           90012678841
31139A23255949   AURELIO        GUNZALES                 CA           90011520232
3113BA2112B871   JACQUELINE     MINIZ                    ID           90010240211
3114519A851369   POPLO          SANSHEZ                  OH           90004201908
3114734282B87B   AUSTIN         TILLER                   ID           90014843428
31148374A36143   PAUL           GARCIA                   TX           90014143740
3114856285598B   SUSAN          ARCHER                   CA           90014325628
311485A277B639   JACKQUELINE    WIMBERLY                 GA           90011945027
3115117915B281   DEBBIE         WEIDAUER                 KY           90009391791
3115183167753B   MONICA P       CORDOVA                  NV           90005388316
3115247915598B   MIGEL          FARIAS                   CA           90006904791
3115369727B639   TRAYVOND       ROBERTS                  GA           90014216972
311537A5555949   STEVIE         PETERS                   CA           90014517055
3115544392B87B   DONALD         LEITERMAN                ID           90013964439
3115713545598B   MANUEL         MARAVILLA                CA           90012681354
3115779AA36143   JOSE           RAMIREZ                  TX           90012697900
3116488A22B87B   CASSANDRA      OGDEN                    ID           90014718802
3116B818291371   VANESSA        MCGEE                    KS           90000628182
3116BA8514B943   GASPER         HERRERA                  TX           90014920851
3117542637B492   LAPORCHE       BROWN                    NC           90014714263
3117548652B559   ANNIE MAE      PRIDE                    AL           90015064865
3117663412B835   LYDIA          OLVERA                   ID           42034546341
3117721135B58B   BARABARA       SIERRA                   NM           90009412113
311776A2397B44   KATRINA        DIEHL                    CO           39015556023
3118323995B52B   ELIZABETH      ROMERO                   NM           90002722399
3118452585B393   MERITIDE       BONAMI                   OR           90008585258
311866A2397B44   KATRINA        DIEHL                    CO           39015556023
3118872945598B   JACKILINE      FEQUEROA                 CA           90012887294
31189A4757B471   TATTIANA       JACKSON                  NC           90014580475
3118B519691371   SARA           LAXTON                   KS           90011155196
3119135847753B   RICARDO        COLMENARES               NV           90013893584
31191761A77544   ASHLEY         PARKERSON                NV           43009297610
3119245A62B93B   TOM            HONG                     CA           90014984506
3119269774B281   PATRICIA       ADAMS                    NE           90008416977
3119725A451339   MELISSA        COOK                     OH           90011362504
3119746A991371   KYLE           WRIAHTSMAN               KS           90012824609
31197A24491232   RAY            HARRIS                   GA           90011600244
3119842987B639   TIFFANY        PARKER                   GA           90011644298
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31198A77947931   JAMIE          BOWEN                    AR           90011000779
311B2AA642B87B   KURTIS         KNIGHT                   ID           42048080064
311B33A417B471   TANDRALA       HOOD                     NC           90011033041
311B3493372496   TARA           BROWN                    PA           90014834933
311B517A861925   IRENE          CASTRO                   CA           90006521708
311B558695B393   JOE            LUKER                    OR           90014035869
311B83A4685951   PAUL           RHODES                   KY           90012903046
311B878262B93B   CRESCENCIO     TORREZ                   CA           90009267826
311B885352B87B   KACY           REYNOLDS                 ID           42084788535
3121373A772496   ROBERT         MILLER                   PA           90013697307
312146A3155921   ROBERT         LOPEZ                    CA           90002686031
3121497114124B   ASHLEY         MESSINA                  PA           90011839711
31217462636B77   ASHLEY         BEDDOE                   OR           90006774626
3121B2A584B943   LANCE          GANS                     TX           90013032058
3121B38515B393   RICHARD        MINNICK                  OR           90011503851
3122146917B492   TIA            JONES                    NC           11043564691
31232731848B55   NIKKI          SMITH                    AZ           90014017318
3123354457B492   LINDA          WHITEMAN                 NC           90014455445
3123356632B87B   ISRAEL         REYES                    ID           90015105663
31235677A2B93B   NICHOLAS       ENERO                    CA           45088956770
3123641794B281   LAXMAN         DAHAL                    NE           90008644179
3123764A95598B   AIOTEST1       DONOTTOUCH               CA           90015116409
3123841635598B   CRYSTAL        GOMEZ                    CA           90012954163
3123864A95598B   AIOTEST1       DONOTTOUCH               CA           90015116409
312386A1641277   MANDY          SAVAGE                   PA           90007586016
31242A4455B593   RENEE          SHERFY                   NM           90001010445
31243A8997B639   TRAKETA        MOSES                    GA           90014240899
31245A35636143   JOE            TIJERINA                 TX           90014650356
31245A81291584   ESMERALDA      LOZANO                   TX           90012400812
31245A81654165   CAITLIN        CANTER                   OR           90014070816
3124698247B492   WILLIAM        BREST                    NC           90013859824
31247893A91232   NICOLE         SHARP                    SC           90003968930
312489A2A91959   BEATRICE       BOWMAN                   NC           18005139020
3124B17A641277   JHON           ROCK                     PA           90014131706
3125199978B16B   ROBERTO        CASANOVA                 UT           90014179997
3125565592B87B   JAZMINE        HOWARD                   ID           90011186559
31256449A7B449   JOAQUIN        ORTEGA-CANELA            NC           90012874490
3125649538B16B   SUNNY          TLVAR                    UT           90014414953
3126169717B449   SHANNON        YOUNG                    NC           90013836971
3126239377B449   JANINE         MERAZ                    NC           90014173937
3126359124B943   ALEXIA         NED                      TX           90011775912
3126542952B835   KODET          SIBEIYANDE               ID           90006924295
312656A8877544   ELDA           DELAPUENTE               NV           43080996088
31268449A7B449   JOAQUIN        ORTEGA-CANELA            NC           90012874490
3126945845B393   RAEMI          CARTER                   OR           90013544584
3126B941691371   JULIO          OLGAZA                   KS           90013579416
31271A8557B639   ERICA          JOHNSON                  GA           90011660855
3127225572B835   NATE           MARTIN                   ID           90014012557
3127538764124B   JULIUS         BURCH                    PA           51072543876
3127556367B471   LUIS           VASQUEZ                  NC           90012475636
3127789A755972   CARLOS         GONZALEZ                 CA           90014998907
3127915377B492   KALA           PATTON                   NC           90013551537
3127941945B393   ALICIA         MORALES                  OR           44591494194
3127B19387B492   ABERLARDO      PENALOZA                 NC           90006631938
31281715A7B471   MARA           MARTINEZ                 NC           90013577150
31283494957B79   MARIA          SCRUGGS                  PA           90014974949
312834AA82B835   CARL           BAILEY                   ID           90012914008
3128766684124B   AMENAH         MOSES                    PA           90004966668
3128BAA5A4B281   ANGEL          GARCIA VARGAS            NE           90012760050
3129124917B449   CASANDRA       SMITH                    NC           90013172491
3129164335B52B   MICHAEL        GONZALES                 NM           90013466433
31297824A2B871   MCURDY         COLIN                    ID           90008938240
3129792722B835   CORTNEY        ANDREWS                  ID           90013579272
3129797838B16B   SHALLE         SIMMONS                  UT           90013119783
31298A6952B835   MELODY         LANE                     ID           90012490695
3129B449372B63   DEBRA          MENDOZA                  CO           90001144493
312B1947431424   LINETH         ARAUZ                    MO           90005229474
312B1A6475598B   CHERICE        ASHMORE                  CA           90013110647
312B236117B449   PHYLLIS        BRADLEY                  NC           11036223611
312B259A131424   JOHN           NEELY                    MO           90012775901
312B327A498B25   STARLA         SPRY                     NC           90012442704
312B81AA65598B   MACLOVIO       BONILLA                  CA           90013311006
312B8671691584   ALEJANDRA      MACHUCA                  TX           90011246716
312B9317257B79   RACHEL         HESS                     PA           90014593172
312B974637B639   TONY           GRIFFIN                  GA           90011647463
312B9761741285   BRENDA         STAR                     PA           51082247617
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3131194825B393   DAVID          JAMES                    OR           90013939482
3131224922B87B   PAYGO          IVR ACTIVATION           ID           90012592492
3131329515598B   JAY            BLAKE                    CA           49022262951
313144AA67B471   EMILY          DIXOM                    NC           90011034006
3131453347B492   MARANDA        THOMPSON                 NC           90014975334
3131614677B639   KARRIS         FRAZIER                  GA           90008731467
31316A39591584   LEO            MANRIQUEZ                TX           90011540395
3131823632B87B   ENRIQUE        ZARATE                   ID           90012152363
3131B65935598B   JERRY          MARTIN                   CA           90013966593
3132165A991831   CRISTINA       GUFFEY                   OK           21079486509
31321AA5A51369   CINDERALLA     TOLEDO                   OH           90013210050
31328A4422B281   SIERRA         CUNNINGHAM               DC           90008290442
3133275747B639   NANCY          SANKS                    GA           90014307574
31341A98636143   ALEXANDRA      HALL                     TX           90013880986
3134699A385944   PATRICK        BESSLER                  OH           66042279903
3134761577753B   OZZIE          VERNON                   NV           90012556157
31347A84351339   ANDREINA       ARIAS                    OH           90012390843
31349AA2254165   TAWSHA         MCKINNEY                 OR           47052530022
313528A447B639   ANNETTE        THOMAS                   GA           90014308044
3135342672B281   CORNELIUS      WORLEY                   DC           90010554267
3135818185B393   IRON           JONES                    OR           90007691818
3135874A754165   ANTHONY        CIOTTI                   OR           90011427407
3135879842B93B   JAMAL          FORD                     CA           90013447984
313593A2A91584   ISELA          INIGUEZ                  TX           75020983020
3135B97974124B   WALTER         RAMOS                    PA           90009789797
3136513A14B943   LUIS           GARNICA                  TX           90011831301
313661A367B639   LATASHA        QUARTERMAN               GA           90014311036
3136857417753B   MARCELA        DE LA TORRE              NV           90014005741
3136932557B639   TRINNEY        FLAKES                   GA           90014613255
3136B394541285   ERICK          CHISOM                   PA           90011923945
3136B872A91371   MARIBEL        RODRIGUEZ                KS           90001768720
3137171122B87B   MOLLIE         ANTONNACCHI              ID           42064777112
3137397745B52B   KARLA          TALAMANTES MARTINEZ      NM           90013319774
31373A86941285   SELENA         EANNETTE                 PA           90012140869
3137425682B835   MIGUEL         LUNA                     ID           90012182568
3137B279754165   LISA           SOSA                     OR           47004532797
3137B2A7577544   JUAN           LOPEZ                    NV           90010442075
3138182615B546   RICHARD        POUNDERS                 NM           90004308261
3138247A82B835   ZOILA          LUNA                     ID           90012934708
31384997A7B449   KING           DOOM                     NC           90013639970
3138827495598B   VERONICA       V GARCIA                 CA           49091252749
3139339932B835   TAMMY          ROBISON                  ID           90007843993
31394A9972B871   JOHN P         AGUIRRE                  ID           90010870997
313951A5454165   AMIE           PATTISON                 OR           90012271054
31398274A51339   JAMES          BLACKFORD                OH           90007522740
313989A525598B   ROSELY         ARREOLA                  CA           90001229052
313992A7854165   DAVID          FLEHARTY                 OR           90014832078
313992A9A5B52B   ANNE           STEPANOVIC               NM           90012882090
3139B82A136143   RANDALL        WARD                     TX           90013698201
313B1453A2B93B   SAL            TAMKAL                   CA           90003414530
313B2343684368   ERNESTINA      REYES                    SC           90004503436
313B397127B449   TRANSITO       SAVALA                   NC           90011909712
313B6698791584   GERARDO        CHAVEZ                   TX           90013946987
313B681222B871   THOMAS         FREINWALD                ID           90014738122
313B7879291584   SASHA ANN      ANSELMAN                 TX           90015018792
313B972A88B16B   SHARRON B      FOWLER                   UT           31008317208
313BB198A5B393   ANDRES         GOMEZ                    OR           44501031980
313BB297891881   NESTORE        LOPEZ                    OK           90011472978
313BB486136143   DEIDRA         WILLIAMS                 TX           90008794861
31411A7745598B   ISAAC          YBARRA                   CA           90013030774
314147A555598B   ANDREA         RICH                     CA           90011437055
3141514277B449   TWYLLA         MCHAIR                   NC           90010871427
31415323A31424   MICHAEL        WELCH                    MO           90014843230
3141BA63A7B471   TAROD          RATLIFF                  NC           90014750630
31423613A7B639   JESUS          RUIZ                     GA           90002466130
3142483852B871   PU             AH                       ID           90011928385
3142571762B835   JORGE          RUIZ                     ID           90014707176
3142623315598B   AIOTEST1       DONOTTOUCH               CA           90015122331
31427456A41258   JESSICA        MORRIS                   PA           90011414560
3142899455B393   MARGARET       COOK                     OR           90013939945
3142B467677544   MIGUEL         CHAVEZ                   NV           90013854676
314333A427B492   BRANDY         WORLEY                   NC           90010333042
3143446997B449   MARCELLA       STEELE                   NC           90012874699
31435883A51339   AARON          WILDER                   OH           90013278830
31435928172B76   TOMI           WRIGHT                   CO           90002879281
31435A8A45B281   LAURA          RIKER                    KY           90010250804
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314362A875598B   JORGE           MORENO                   CA           90009692087
3143754327B471   VINCENT         JONES                    NC           90011535432
3143815755B52B   JOLIE           SIMMONS                  NM           90014531575
3143BA52A72496   JENNIFER        COBIN                    PA           90011390520
31441A92941277   TIFFANI         MILLER                   PA           90010430929
3144242627753B   VICTORIA        GARY                     NV           43082814262
3144343697B471   SHAGAREAN       BAKER                    NC           90011204369
31447A33455972   ENANG           SEE                      CA           90012580334
3144912655B52B   BERNADETTE      ZAMORA                   NM           90004991265
3144989A651339   KRISTY          MARCUM                   OH           90014768906
3144B68A87B471   FERDINAND       JOHNSON                  NC           90001096808
3145184A67B639   LACEY           JOHNSON                  GA           90014618406
3145211882B93B   RACHEL          MAZZARIELLO              CA           90013671188
3145271137753B   AUNU            ROBINSON                 NV           90011867113
31453478A7B492   NAHUM           URIBE                    NC           90011494780
31454649A2B87B   CLOYD           KASPER                   ID           42011576490
314579A5151339   WILLIAM         SILVA                    OH           90013559051
3146328292B93B   CYNTHIA         WILLIAMS                 CA           90013282829
31464856A2B93B   TOMMY           LANTZ                    CA           90015118560
31465A1917B449   TOMMY           HEAVNER                  NC           90013750191
31465A39691831   JUILIA          ACHMETOV                 OK           90008640396
3146669A38598B   JAMES           RISTER                   KY           90013236903
3146694485B52B   DEVIN           ROGAN                    NM           90012659448
3146733515598B   ADRINA          VARGAS                   CA           90013023351
3146855938B16B   EDDIE           MARTINEZ                 UT           90014375593
3146B23315598B   AIOTEST1        DONOTTOUCH               CA           90015122331
3146B612272496   MATTHEW         CIAMPANELLI              PA           51060856122
3146B697651369   TAMARA          SCRATCH                  OH           90012796976
3147274637B639   TONY            GRIFFIN                  GA           90011647463
3147476447B449   TONY            WALKER                   NC           90013207644
31476A23991584   GONZALEZ        VALERIA                  TX           90011680239
31477A62491584   NORMA           CONTRERAS                TX           90011540624
31477A85541277   BRITTNEY        CHRISTIAN                PA           90013390855
3148186687753B   BIANCA          MARTINEZ                 NV           90011388668
3148323A98B16B   SANDRA          BARRAZA                  UT           90010382309
314866A9A41285   DENNIS          CARINI                   PA           90014756090
3148776A391831   WILISA          STOKES                   OK           90011137603
31487A8572B835   AMANDA          MARTINEZ                 ID           90003150857
31488A78961962   ALMA            MONTES                   CA           90008340789
3148B775491584   MANNY           RUBIO                    TX           90013947754
31491323A31424   MICHAEL         WELCH                    MO           90014843230
31491469A36143   BRANDON         PEEL                     TX           90013124690
3149331622B835   DANIEL          GONZALES                 ID           90011403162
314957A5191363   SARAY           OSORIO                   KS           90008777051
314959A417B449   KENNETH         JONES                    NC           90012889041
3149815A42B87B   JUAQUIN         CHAVEZ                   ID           90013431504
3149993A45B281   MARY            RIOS                     KY           68050769304
314B144887B471   PANSY           SMITH                    NC           90014064488
314B147127B471   BRITHNEY        BROOKS                   NC           90011034712
314B1A43891831   ELIZABETH       ROJAS                    OK           90014120438
314B5368691371   LESLIE          SOTO                     KS           90003703686
314B651615B52B   DAYNA           BACA                     NM           90012585161
314B665138B16B   ADDISON T       REES                     UT           90012296513
314B6919151369   ALBERTO         ENIESTA                  OH           90012869191
314B7865241277   JOHN            THOMA                    PA           90013958652
31515A75577544   MARIA R         PADILLA                  NV           90010770755
31516231A8B494   LORETTA         SCOTT                    NC           90011852310
3151824657B639   ANGELICA        SMITH                    GA           90007222465
315187AA236B77   MARCO           MARIN                    OR           90010457002
315199A4572496   WARREN          SISCO                    PA           90009759045
31519A68541277   ASHLEY          STOKES                   PA           51069910685
3152117424B943   KEASHUN         WALKER                   TX           90002551742
31521A7272B835   THOMAS          FREINWALD                ID           90014710727
3152294344124B   MATTHEW         MEERDO                   PA           90010999434
3152311452B93B   WILLIAM         PAIONI                   CA           90012561145
3152532819379B   SHANNA          GILLIAM                  OH           90003673281
3152628447B639   MELANIE         BROWN                    GA           90005482844
3152699997B492   TONY            SMITH                    NC           90002529999
3152733165598B   MARIE           MACIAS                   CA           90006783316
3152748185B393   ROSAMARIA       ESPINO ABURTO            OR           90012264818
3153188694123B   DIANE           LUNIESKI                 PA           90013938869
3153357975B281   DONNA           BONDS                    KY           90009685797
315357AA891584   REECE           CRUSOE                   TX           90013967008
3153748314B281   MARIEA          MEIER                    NE           90012294831
3154179314B943   SARAH           FURTAW                   TX           76509207931
3154188668B16B   GUSTAVO         REGUS                    UT           90014778866
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 338 of 1007


3154523572B93B   STEPHEN        MANDLER                  CA           90013752357
3154678917B471   LOUVENIA       BRANT                    NC           90013237891
31548651A55949   ANDREA         FERNANDEZ                CA           90009176510
3154865624B281   BRYAN          RUIZ                     NE           90012716562
3155224335598B   HANBERTO       BERDUGO                  CA           90014242433
3155289A65B393   CARLA          VAIDA                    OR           90011958906
31559447A41277   CODIE          ELKIS                    PA           90014234470
3155B97564124B   KRIS           MYDEN                    PA           90010029756
3155BA99631424   DOMANAQUE      WALKER                   MO           90010780996
315648A3855972   JUNIE          RIVAS                    CA           90012938038
31565469A5B393   CORY           SCHOFIELD                OR           90013554690
315663AA331432   ASHELY         BARSH                    MO           90006983003
3156967755B393   JESSICA        GUFFEE                   OR           90011906775
3156B297491584   RAYMUNDO       SIMENTAL                 TX           90012962974
3157261138B162   TINA           THOMAS                   UT           90012916113
315741A8791831   RESHONDA       DAY                      OK           90014411087
315746AA65B393   AMY            STROM                    OR           90002566006
31578869A4B943   CAROL          LEEN                     TX           76527808690
3158414737753B   JOHN           JOHNSON                  NV           90009321473
3158441A136B77   NICOLE         MC BRIDE                 OR           90010904101
3158541A136B77   NICOLE         MC BRIDE                 OR           90010904101
3158749A12B93B   RYAN           SAWYER                   CA           90012464901
3158812535B393   TINO           FARNUM                   OR           90014831253
315916A5791584   ROSA           GURRA                    TX           75091126057
315922A879125B   GRACE          ROBINSON                 GA           90004242087
3159284248B16B   SOFIA          CAMPOS                   UT           90012638424
3159438572B93B   NELSON         GUTIERREZ                CA           90012833857
3159446712B93B   NELSON         GUTIERREZ                CA           90013264671
315944A6951339   ELIZABETH      FRANZ                    OH           90008184069
3159464232B93B   NELSON         GUTIERREZ                CA           90013476423
31594A2332B93B   NELSON         GUTIERREZ                CA           90010390233
3159879A391584   ERICA          HERNANDEZ                TX           90014847903
3159B93577B639   LAVON          PRIDGETT                 GA           90014639357
315B2229A72496   DEONTA         DAVIS                    PA           90003592290
315B3146755949   ALI            SALEH                    CA           90014151467
315B64AA291232   LACY           COLLINS                  GA           90013544002
315B7317751369   CHRISTIAN      WRIGHT                   OH           90013283177
315B8629A91831   JAY            BENSON                   OK           90010646290
315B8694A8B16B   ROBERT         MOWBRAY                  UT           90013606940
315B959A37B449   RONALD         MOORE                    NC           90011085903
315BB131741258   STACY          KELLY                    PA           90012611317
315BB616955935   DANIELLE       ZAPATA                   CA           90011656169
315BB773236143   HERLINDA       AGUIRRE                  TX           90012977732
3161397555B393   LAURA          RITCHIE                  OR           90014769755
3161595488B16B   TROY           BRADFORD                 UT           90010479548
31616897A2B93B   KEVIN          NUNEZ                    CA           90013058970
3161954886B981   ANN            SCHNEIDER                NJ           90014555488
3161B936431424   DEMETRIUS      BIGGS                    MO           90012079364
3162378375B398   JOSE           BARAJAS-CRUZ-            OR           90004107837
3162519A57B432   ALEJANDRO      HERNANDEZ                NC           90001951905
31625916572B76   SHLEY          MARTINEZ                 CO           90013229165
3162664787753B   COREY          CORREA                   NV           90010336478
316272A875598B   JORGE          MORENO                   CA           90009692087
3162758915B52B   CARMEN         LOZANO                   NM           90013695891
3162863A491584   AMANDA         ARENIVAR                 TX           90014356304
31629627A4B281   SH-SHAWNA      GILL                     NE           90012566270
3162B536191232   JEFFREY        HILL                     GA           90014475361
3163338A731424   DYARA          WILLIAMS                 MO           90014983807
316337A6341277   HUNTER         SPARKS                   PA           90014917063
3163547397B449   CHANICE        SMITH                    NC           90014974739
316364A8891831   CARL           FISHER                   OK           90013524088
31637261A61931   CYNTHIA        MARTINEZ                 CA           90010602610
316426A547B492   CORNELIA       GORDON                   NC           90014826054
31644A7A391584   FELICIA        BALDERRAMA               TX           90011540703
31645191A2B871   LOURDES        CARBALLADO               ID           90013261910
3164B86972B93B   ALFRED         VALDEZ                   CA           45088198697
316511A655B393   JOSE           CARRETO                  OR           90013941065
3165143A551369   KRAIG          MILLER                   OH           90009854305
31652634A91831   CHELSEY        MARSHALL                 OK           90013626340
3165416AA7B639   LEON           DAVID                    GA           90014651600
316573A5A77544   LORENA         PRADO                    NV           90000173050
31657A13491232   LOUVISA        LOVEWINE                 GA           90009110134
31659614A36143   BREANNA        GARCIA                   TX           90014756140
3165B46527B492   MELODY         REINHARDT                NC           90012394652
31662A5957753B   HELEN          WONG                     NV           90006470595
31663628A72496   EARNEST        BURNSWORTH               PA           90010526280
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3166433365598B   CHRIS           JAMES                   CA           49042983336
31669A6742B93B   LINDA           SALGADO                 CA           90012080674
3167133A77B639   TONISHA         ARCHIBALD               GA           90014653307
31672229A72496   DEONTA          DAVIS                   PA           90003592290
3167612474B281   CHIRSTPHER      COPELAND                IA           90011111247
3167B78712B93B   KARA            MALDONADO               CA           90009867871
3167B91152B87B   STEVEN          RAWLINS                 ID           90008599115
316826A792B835   HILLIARY        MILLER                  ID           90013516079
3168273542B559   LATOSHIA        BRAZILL                 AL           90014147354
3168547A141258   NIKINA          KIEFER                  PA           90013044701
31686A2465B393   ANGELIC         WATERMAN                OR           90006970246
3168754855B393   MATTHEW         DAVID                   OR           44553375485
3168923177753B   AMIR            HOWARD                  NV           90013542317
3168956467B471   SHIRTOIA        HUNTER                  NC           11001855646
3168979A391584   ERICA           HERNANDEZ               TX           90014847903
3168B38652B871   SAVANAH         BROWN                   ID           90011103865
3168B415A54165   KAY             VIRGILIO                OR           47092184150
3168B447172496   BONNIE          UPTONGAYE               PA           90010984471
3169341317753B   FRANCISCO       GOMEZ                   NV           43016714131
3169381552B871   MOIRA           KELLY                   ID           42085108155
3169669472B871   CARRIE          RODRIGUEZ               ID           42073426947
31696A1122B871   CARRIE          RODRIGUEZ               ID           90011150112
31696A38791371   MICHAEL         SMITH                   KS           90014730387
3169B253741277   JAMELLE         DUNCAN                  PA           90014712537
3169B59A131683   RICHARD         WOODWARD                KS           90003655901
3169B882577544   KEVIN           DALESSANDRO             NV           90012758825
316B129292B87B   LISA            LEWIS                   ID           90010252929
316B1371651339   MICHAEL         EBNER                   OH           90010933716
316B1619955949   ZACHARY         MARSHALL                CA           90011046199
316B1A5838B16B   DANA            CARTWRIGHT              UT           90009650583
316B21A7491531   HAROLD MELVIN   LILLEBO                 TX           90011721074
316B317587B639   SHAWNTHA        DUNLAP                  GA           90014601758
316B533337B449   AUCAS           DAVIS                   NC           90011643333
316B596345598B   KAMI            SHORT                   CA           90004749634
316B6126155972   OSCAR           HERNANDEZ               CA           90012301261
316B71A3577544   KELLY           BERGSTROM               NV           90013221035
316B8A8615598B   SHAO            LIN                     CA           90011940861
316B9476641277   JASON           BELL                    PA           90009534766
316B986897B445   GOVELLA         TOWNSEND                NC           90001678689
316BB458191952   AKIN T          SEZENOL                 NC           90010854581
316BB95872B93B   LANCE           PECK                    CA           90010929587
31711323A31424   MICHAEL         WELCH                   MO           90014843230
3171194627B492   ANNA            BESS                    NC           90012179462
3171227A57B471   BRANDON         BISSOON                 NC           90012662705
317123A3855949   ISIDRO          BAEZ                    CA           90011483038
31713418A8B162   DANIEL          PERRY                   UT           90007864180
3171367937B492   JOGE            PEREZ                   NC           90012506793
317142A7854165   DAVID           FLEHARTY                OR           90014832078
3171545232B835   KAILEA          GOFF                    ID           90007594523
3171563537B449   REGGIE          HENDERSON               NC           90002116353
3171652A67753B   BRETT           NELSON                  NV           90005945206
3171B446836143   JASMINE         BELMARES                TX           90014714468
3171B817551339   CURTIS          NEAL                    OH           90010218175
3172193455B281   ROBYN           SANDERS                 KY           90011659345
3172321378B16B   MARIA           HINOJO                  UT           90014162137
3172377982B93B   BAUDELIA        MACIAS                  CA           90011917798
3172821888B162   NISHA           PARMLEY                 UT           90014062188
3172945785B52B   LACHELLE        FARIAS                  NM           90013444578
3173218A25B385   ALMA            ADAME                   OR           90011661802
3173241425B156   KIM             COX                     AR           23069564142
3173539A67B492   ERICA           BURRIS                  NC           11093673906
3173687752B871   TAYLOR          DAVIS                   ID           90011308775
31736A68736143   STARR           SAVOY                   TX           90014010687
3173976A191831   JOSE            RAMOS                   OK           90002437601
3173B51568B16B   DUSTY           PORTER                  UT           31042605156
3173B813591584   RENE            QUINONEZ                TX           90011248135
3174159717B639   DIANNE          FORD                    AL           90014665971
31742A96141258   JOHN            MITCHELL                PA           90012370961
3174792478B162   TRENT           OSWALD                  UT           90011969247
3174B59717B639   DIANNE          FORD                    AL           90014665971
3175781242B871   THOMAS          FREINWALD               ID           90014738124
3175942382B871   SHELBY          YORK                    ID           90013514238
3176446932B835   NATHAN          HOBBS                   ID           90011914693
3176458867753B   JORGE           VARGAS-NAVA             NV           90011925886
31769991A7753B   JAIRO           AREVALO                 NV           90012619910
3176B67922B835   JUAN            DELAGADO                ID           90013866792
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3176B78787B639   TATIANA         THOMAS                  GA           90011337878
3177122944124B   EDWARD          JONES                   PA           90012702294
3177142862B835   ROBERT          JOHNSON                 ID           90014264286
3177293487B449   ALVARO          RAMIREZ                 NC           90007329348
3177577932B835   ANTHONY         CASTLE                  ID           90014067793
31776232A51339   LINDSEY         JENKINS                 OH           90013552320
3177763987753B   YUMA            MCGINTY                 NV           90008256398
31777A35A91584   MARTINEZ        CHRISTIAN               TX           90011970350
3177891877B471   ISRAEL          SHANKLE                 NC           90011249187
31779A2148B162   CHRISTIAN       LOZA                    UT           90012190214
317838A3131424   LAKESHA         JOHNSON                 MO           90010808031
3178661132B871   GERRY           LOWE                    ID           90008286113
31786A33331424   BOBBY           WASHINGTON              MO           90009910333
3178874188B162   LESLEY          LAFFERTY                UT           90003107418
3179178917B471   LOUVENIA        BRANT                   NC           90013237891
3179323315598B   AIOTEST1        DONOTTOUCH              CA           90015122331
3179355432B93B   JUSTIN          JEWETT                  CA           90009995543
317935A4855972   JASON           PETTY                   CA           48090485048
3179746315598B   MARIA           PIMENTEL                CA           90013204631
3179777257B639   ALFREDO         AYALA                   GA           90011777725
3179B75885B52B   JOSE            LUCERO VALENZUELA       NM           90009247588
317B3A3884B281   MARIA           PINEDA                  NE           90011110388
317B5A7A651339   DENNIS          DUNBAR                  OH           90010840706
317B853764124B   BRAD            WRIGHT                  PA           90008855376
317B874183147B   MARK            HOUSTON                 MO           90012947418
317BB31998B16B   TULIO           GONZALEZ                UT           90013793199
318126A937B639   ERIKA           BELL                    GA           90014676093
31814A3652B835   ASHLEY          FINCH                   ID           90013540365
31815416A91584   ARMANDO         ROGELIO MANZO           TX           90009234160
3181555A12B835   JESSE           STARKEY                 ID           42086185501
318187A987753B   JAVIER          MARTINEZ                NV           90015177098
3181972284B281   ROBERT          MEYERS                  IA           90012637228
3181B58667B639   MURAISHA        HILL                    GA           90014675866
3182479262B93B   NIKKI           MICHENER                CA           90011947926
31826A37757B79   MARK            TOMCHAK                 PA           90013870377
3182B661331424   JAYLA           JOHNSON                 MO           90013466613
3183135958433B   CYNTHIA         SAMUEL                  SC           90004113595
31833151A36B77   BLAYNE          EDWARDS                 OR           90014451510
31833159A55972   VALERIE         SANCHEZ                 CA           90003991590
3183668252B871   ALEIA           RIVERA                  ID           90013296825
318368A2672496   SHANE           BURKHOLDER              PA           90013508026
3183B559991371   PETRINA         EDWARDS                 NE           90014705599
3184123284B943   STACEY          GUIDRY                  TX           90006352328
3184238367B639   SHELLEY         MILLS                   GA           90014913836
31842429A7753B   DAVID           BARAJAS                 NV           90010914290
31848A31971923   MARIO ANTONIO   CRUZ                    CO           90002130319
3184999917B653   KIMBERLY        WALDEN                  GA           90014319991
3184B369336143   JOSE            GUTIERREZ               TX           90014333693
3184B662951369   RANJIT          PILLAI                  OH           90013926629
31854242A55949   ANDRE           BLEDSAW                 CA           90009432420
3185656662B93B   JAMES           GARNER                  CA           90013065666
3185864377B639   JOHNATHAN       EVANS                   GA           90014686437
31858643A7B639   COLBY           PEEBLES                 GA           90011796430
318618A7A4B281   JEFF            GIBLER                  IA           90013488070
3186242194B542   JAMES           MAXEY                   OK           90014384219
318638AA95B281   APRIL           GRIGSBY                 KY           90002898009
3186444517B639   GREGORIO        CORRILLO                GA           90011924451
318667A3841258   JAKE            GRAY                    PA           90005837038
3186958242B835   THOMAS          FREINWALD               ID           90014765824
3186B942436143   RAFAEL          CORDOVA                 TX           90014149424
318731A6936143   YESENIA         CRUCES                  TX           90014801069
3187361122B835   CHRISTOPHER     GOODIN                  ID           90010036112
3187452712B93B   REYNA           LUCERO                  CA           90015115271
31875A98A36143   DEONTA          CHITTY                  TX           90015170980
3187B13572B87B   MEGAN           AGNEW                   ID           90013411357
3187B2A2A91232   ROBYN           JONES                   GA           90013942020
3187B574451369   EVETTA          COLEMAN                 OH           66050335744
318823A427B492   PAUL            ROKICKI                 NC           90014663042
3188256175B52B   JANE            SEELE                   NM           35049785617
3188346768B162   STEPHEN         WING                    UT           31066574676
31883A5277B471   BRYAN           SHAW                    NC           90014580527
318897A742B93B   RAFAEL          CRUZ                    CA           90009207074
3188B57AA7B492   VERONICA        CANEAL                  NC           90010665700
3189568A22B93B   MAIS            YOUSIF                  CA           90013376802
3189718337B639   PATRYCE         LIGON                   GA           90014691833
3189976614124B   MARTHA          LAWRENCE                PA           90010437661
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3189B764A7B492   JOVAN          SEWELL                   NC           90004917640
318B1131291932   ANA            TICAS MORENO             NC           90014961312
318B1261851339   VICTOR         THOMASE                  OH           90015322618
318B4179891831   JUAN           LEAL                     OK           21050171798
318B449495B253   SHEREKA        FIRMAN                   KY           90011534949
318B627755B52B   VERONICA       SOLANO                   NM           90014812775
318B813215B393   OLIVA          CUEVAS                   OR           44598901321
318B9537941258   JOSEPH         MAZZA                    PA           90013395379
31912152A51369   PAMELA         TEKULVE                  OH           90012601520
319121A3A51339   TIAH           ADAMS                    OH           90014621030
3191335557B639   ROSA           JONES                    GA           90011813555
3191436A451323   RON            DENICOLA                 OH           90004993604
3191813612B835   HUNTER         JOHNSON                  ID           90012751361
3191836567B639   STEPANIE       MCDOWELL                 GA           90014693656
3191B714636143   ROBERT         HERNANDEZ                TX           90012537146
3192121328B16B   HAZEL          GUMBS                    UT           90014232132
31921391672B83   ROBERT         HERNE                    CO           33065913916
3192356A551339   JUSTIN         MCGLOSSON                OH           90013025605
319285A667B449   CRYSTAL        WEEKLY                   NC           90012875066
3192B747A8B16B   CANDY          FREDRICKSON              UT           90014167470
3193559747B639   CATHERINE      POWELL                   GA           90014695974
3193662372B93B   MICHELLE       BRATTON                  CA           90008206237
3193B6A2772496   JAMIE          GRAHAM                   PA           90014956027
3194294342B871   STEPHANIE      WARNER                   ID           90011309434
319458A552B93B   GABRIEL        URBINA                   CA           90011618055
3194789A47B492   ANSORN         TUTTANON                 NC           90011788904
3194887475B281   DEBORAH        BOSTON                   KY           68098598747
3195116A891232   ANTONIO        KELLY                    GA           14594031608
3195169154B281   MICHAEL        CURPHEY                  NE           90013976915
3195292482B871   ROGER          FAULL                    ID           90004719248
3195323337753B   LYDIA          DOWDY                    NV           90014992333
3195531587753B   IRA            KIMBALL                  NV           90006133158
319555A9655949   NORMA          MACIAS                   CA           90012905096
319567AA751337   T              THOMAS                   OH           90009557007
319575A795B393   MEGAN          BROWN                    OR           90011895079
3195783377B639   FREDRICK       BOWSER                   GA           90014698337
31957A72891584   GABRIELA       LUNA                     TX           90013000728
31961A92891952   CANDACE        SUTTLES                  NC           90002660928
3196378785B393   CULVER         KRISTI                   OR           90011807878
3196428622B871   MARIA          GUTIRREZ                 ID           90001452862
3196443845B52B   EMILIO         ACOSTA                   NM           90002294384
3196776A977544   BREANNA        SAMANIEGO                NV           90010467609
319682A6547931   BILLY          DAVIS                    AR           90014812065
3196848925B393   FLOR OLVERA    MIRIAM SANCHEZ           OR           90013274892
3196895122B871   MICHAEL        CAWRSE                   ID           90000909512
31968AA548B179   CHRISTA        BAILEY                   UT           90014530054
3196943867B639   CORENTHIA      FERGUSON                 GA           90014914386
3196986342B93B   REBECCA        ESPHRZA                  CA           90014878634
3197321737B639   HOLLY          GUTJRIE                  GA           90014702173
31976A34A47931   THOMAS         STEVENS                  AR           90012140340
3197724A27B492   DANA           LITSCOMB                 NC           90010562402
3197839315B393   DWAYNE         NASH                     OR           90011123931
3197B11212B93B   BREANN         SALAS                    CA           90012471121
3198489597B449   ALVARO         HERRERA                  NC           90013818959
319848A5155972   DENA           GONZALEZ                 CA           48024378051
3198538324B531   MICHELLE ANN   RIDENOUR                 OK           90009993832
319862A227B471   JONIKA         TIMS                     NC           11006902022
3198644427B639   ZACHARY        ECKELMANN                GA           90014704442
3198753618B162   MANUEL         SANTILLAN                UT           90005305361
3198956877B492   PATTY          BRADSHAW                 NC           90014455687
3198B84618B162   MICHAEL        R MILLEN                 UT           31034628461
3198B86628B162   IVONNE         HERNANDEZ                UT           90014108662
319918A5A2B93B   JAMES          RUIZ                     CA           90012808050
3199288247B639   SHANIQUA       ALDRIDGE                 GA           90014668824
31993586A77544   STEVEN         HOLTEN                   NV           90013815860
3199453A87B639   SHAQWONA       SIMMONS                  GA           90014705308
3199491758B162   MANUEL         SIBRIAN                  UT           90014109175
3199654357B639   SHARON         WESTBERRY                GA           90014705435
31996AAA251339   ELLERED        WILLIAMS                 OH           90014830002
3199793632B93B   PEDRO          MARTINEZ                 CA           90013909363
3199854987B639   DRENTA         JONES                    GA           90014705498
3199B86985B281   BRANDON        TRAVIS                   KY           90010488698
3199BA59691584   DANIEL         RAMIREZ                  TX           90006510596
319B121277B639   JASMINE        ANDERSON                 GA           90014692127
319B2511151369   KAITLIN        BUTTERY                  OH           90014885111
319B3823591584   BLANCA         ORTIZ                    TX           90000448235
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319B389A791537   ADAN           SIERRA                   TX           90013148907
319B3A88491537   ADAN           SIERRA                   TX           90008820884
319B5AAA251339   ELLERED        WILLIAMS                 OH           90014830002
319B625197B639   RONGELA        DANIEL                   GA           90014692519
319B65A538B162   MICHELLE       PALMENO                  UT           90006195053
319B69A822B93B   PAUL           STALLARD                 CA           90014619082
319B7134854165   MICHAEL        SPEAKLANDER              OR           90013801348
319B782AA7B471   RAY            DINH                     NC           90005638200
319B8186736143   JAMES          SALAZAR                  TX           90014461867
319B849687753B   ANA            NUNO                     NV           90013104968
319B918287B43B   REGINA         CROSSON                  NC           11015011828
319B986967B492   IMAREE         BURRIS                   NC           90011318696
31B1123368B162   ASHTON         WHEELER                  UT           90007752336
31B1132A64B943   CHARLES        PICKERING                TX           90011693206
31B12155554165   AUSTIN         MOST                     OR           90014221555
31B1279285598B   LUZ            CHAVARIN                 CA           90012617928
31B15899191232   JAMES          BULLOCH                  GA           14570888991
31B1783475B393   LISA MARIE     HSU                      OR           90013938347
31B18998491584   CESAR          GONZALEZ                 TX           90011679984
31B19A16184378   IVAN           ALTAMIRA                 SC           90005820161
31B1B712651339   STEPHEN        KISER                    OH           90009367126
31B1B759536143   AMANDA         PONCE                    TX           90011397595
31B2167A685866   MARK           WASHINGTON               CA           90010726706
31B21785384368   BRETT          MCCOMAS                  SC           90013947853
31B22456991232   MICHELE        ERVIN                    GA           90011284569
31B23512A36143   KIMBERLE       GAITAN                   TX           90011925120
31B2365165598B   LUIS           JIMENEZ                  CA           90012876516
31B2417315B393   JOSH           DAVIS                    OR           90010071731
31B25784655949   SONYA          MCCRANE                  CA           90012697846
31B26A6797B43B   AMANDA         GIBBS                    NC           90013180679
31B292A1451369   TAMARA         JOHNSON                  OH           90012092014
31B29396691584   DEYANIRA       HERNANDEZ                TX           90011283966
31B2B859936143   NICOLE         RODRIGUEZ                TX           90012788599
31B2B97218B16B   JENNIFER       MONTOYA                  UT           90010769721
31B3142A541285   AMANDA         WESTON                   PA           90011654205
31B33A3A12B93B   JAMIE          WARREN                   CA           90012980301
31B368A4677544   CRISTIAN       GONZALEZ                 NV           90013338046
31B382AA941285   TINA           GLOBIS                   PA           90001692009
31B3872A18B162   CHRISTINE      SPARR                    UT           31090257201
31B3986817B639   IKEA           CARTER                   GA           90014208681
31B39972951369   SHARNELL       HIGGINS                  OH           90013929729
31B4351195B393   TANISHA        MARTIN                   OR           90001455119
31B43585247931   CARMEN         SANABRIA                 AR           90014665852
31B4442248B162   BROOKE         HEMSATH                  UT           90013954224
31B47313791584   ALBERTO        ORTIZ                    TX           90014803137
31B47525A7753B   MARTIN         GRACIANO                 NV           90013885250
31B4885328B162   KAMIE          YOUNG                    UT           90012268532
31B4942198B162   ROBERT         FAIRCLOTH                UT           90010544219
31B4B723A2B87B   RAMON          HERNANDEZ                ID           90002057230
31B5196932B835   PILY           JAIMES-MARIN             ID           90012629693
31B55664941285   THOMAS         SORICE                   PA           90014316649
31B5581897B449   KENNETH        FULLER                   NC           90013478189
31B5616784B943   LAQUINTA       HALL                     TX           90014781678
31B59131731424   TRACY          GORDON                   MO           90013081317
31B59724792853   TOM            SCHMIDT                  AZ           90014477247
31B59A71A47931   HECTOR         MARQUEZ                  AR           90008620710
31B6129A177544   VALARIE        WINTERS                  NV           90010252901
31B61892891831   ANNA           MONTOYA                  OK           90011408928
31B61A96891584   MARY           ALEMAN                   TX           75035170968
31B6444392B835   DONALD         LEITERMAN                ID           90013964439
31B64497872B2B   CHRISTINA      BAXMAN                   CO           90010814978
31B66526731424   ELIZABETH      REINERS                  MO           27526425267
31B69338551369   CHRISTINA      PROST                    OH           90013403385
31B7177A55598B   TIFFANY        DELANCEY                 CA           90011317705
31B71976472B76   ISAIAH         NANCE                    CO           90000579764
31B7316452B835   RAYMOND        WONG                     ID           90010161645
31B786A688B162   GARY           MORGAN                   UT           90014456068
31B7B23382B87B   JESSICA        FUNKE                    NV           90006962338
31B8152174B943   KEANA          GIRON                    TX           90014795217
31B8167A25B391   TENESHA        REESE                    OR           90014626702
31B82484A4B281   MITCHELL       TYLER                    NE           90000124840
31B8279462B87B   ERICA          KOGER                    ID           42079887946
31B8314137B492   SHATIMA        SHARPE                   NC           90005981413
31B83824A2B871   MCURDY         COLIN                    ID           90008938240
31B8773317B449   LINDA          SIMMONS                  NC           90002097331
31B8848588B162   ROB            GOGONI                   UT           90010264858
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31B88845631424   SHELDON        BROCKELBANK              MO           90012228456
31B8B39842B93B   JESSICA        KNIGHT                   CA           45016673984
31B9339135B393   RUDY           M LEAN                   OR           90012593913
31B9462927753B   LORRIANE       RUSCELLI                 NV           90013726292
31B95641A7B471   PAMELA         PHILLIPS                 NC           90009366410
31B95A76474B97   JOSE           MARTINEZ                 OH           90014050764
31B97A6A851339   RUBY           JOHNSON                  OH           66009470608
31B99342991371   NEISA          HERNANDEZ                KS           90012623429
31B9B174681642   CARLA          SANDERS                  MO           29001871746
31BB1452855949   JIMMY          ESQUEDA                  CA           90014404528
31BB42AA355949   JASUS          RUIZ                     CA           49069852003
31BB5671931849   TAMERA         FLETCHER                 LA           90014576719
31BB8213377544   TEXEIRA        KELLY                    NV           90010752133
31BB88A5631424   AMY            CANNON                   MO           90006428056
31BBB52562B29B   DARIUS         JENNINGS                 DC           90013595256
3211117528B162   SHERYL         WEATHERFORD              UT           31091891752
3211343A98B166   DALTON         POIKE                    UT           90010394309
3211591A55598B   TINA           LOPEZ                    CA           49064709105
3211996A291831   SHERRY         PAYTON                   OK           90008549602
32119A6154124B   CHEMERS        STANLEY                  PA           90012650615
3211B78512B871   VINCE          LEFFLER                  ID           90013157851
3211B817176B61   ABEL           GONZALEZ                 CA           90004148171
3212161332B871   DIANNA         DUGGER                   ID           90014726133
321231A6147931   ISMAEL         MARTINEZ                 AR           25001401061
32123A9935B156   ROSALBA        MONTOYA-TORRES           AR           90012490993
32127A8617B43B   CALANDRA       ROWLAND                  NC           11012520861
3212863887B471   MEIDY          HERNANDEZ                NC           90010646388
3212982A172B76   ANTONIA        PEREZ                    CO           90002948201
3212B26AA51369   AMY            OWENS                    OH           90012062600
3213377844B943   JK             GRIFFIN                  TX           90013237784
3213577427B639   ORLANDO        HARVILEY                 GA           90010857742
3213587828B16B   COURTNEY N     BUXTON                   UT           90010658782
3213674A291563   KROP           JESSICA                  TX           75045897402
3213695335598B   JOSE           CINTORA                  CA           90003269533
3213698247B449   DANIEL         MASSEY                   NC           90011199824
321389A9977544   GREGORY        LARA                     NV           90010989099
3213959357B492   MONTREAD       MANNING                  NC           90013975935
3213962A891831   JOSE           SORIANO                  OK           21092066208
3214248A791563   GLADYS         BUSTAMANTE               TX           75095804807
321436AA32B93B   RENEE          FRAZIER                  CA           90013236003
3214521A141258   JENNIFER       MIHELCIC                 PA           90010552101
321454A4836143   JEREMIAH       FOX                      TX           90014624048
321473A685B156   JERMEY         MURRAY                   AR           90013893068
3214B386772B76   AARON          ESCOBEDO                 CO           90005713867
32151A7184124B   TIMIKA         NOEL                     PA           90011280718
32151AA582B871   CRYSTAL        POWERS                   ID           42079960058
3215516742B87B   CHELSEA        MCKEOWN                  ID           90011521674
3215589435B393   PAVEL          NICKOLAYCHUK             OR           90013498943
3215684845B52B   DAVID          GLOVER                   NM           90013958484
3215951494124B   BRIAN          ORDEAN                   PA           90011565149
3215992628B162   SCOTT          ROBINSON                 UT           90007549262
3215B69325B156   CLARICE        GRIFFIN                  AR           23078086932
3215B993351369   MARCUS         LEE                      OH           90011339933
32162931372B76   RIGOBERTO      PONCE                    CO           90008949313
321631A4991531   MARCO          GONZALEZ                 TX           90012131049
3216388342B87B   MARVIN         CASTANEDA                ID           90013038834
32166726272B76   DESIREE        ROMERO                   CO           90001207262
3216866757B425   JOHNNY         ARGTA                    NC           90013296675
3216983628B16B   BEATRIZ E      HARO                     UT           31006188362
3216B13522B871   MARIBEL        CORTEZ                   ID           90013521352
32171789A5B52B   GEORGE         DARBY                    NM           35016547890
32173A42191563   SAUL           MARTINEZ                 TX           90013250421
32176927A7B425   LISA           HADLEY                   NC           90009639270
3217746347B449   IESHA          VAZQUEZ                  NC           90013974634
3217878957B449   TRINA          HOLLIS                   NC           90009677895
3217B527341258   CHRISTINE      JACKSON                  PA           90007905273
321814A572B835   WILLIAM        SLAWSON                  ID           90008624057
32182A4238B162   RUBEN          CABALLERO                UT           90013340423
3218346115B393   DANIEL         JOHNSON                  OR           90008484611
32186981A4B943   JAMES          HOWARTH                  TX           90014659810
32187918A31424   NATASHA        NEWBURN                  MO           90011009180
3218841A391356   TOMAS          MOTA                     KS           90011874103
32189166A91531   LORI           JOHNSON                  TX           90013591660
321922A4184368   YESSICA        ANHALT                   SC           90011532041
32194512A4124B   REBECCA        THOMPSON                 PA           90013315120
32195A7632B835   MARY           SPEARWALKER              ID           42091520763
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3219614134124B   NATHIA           CAMARGO                PA           51016651413
3219694565598B   FELIPE           YERENA                 CA           90012639456
32196A2544B943   MAXIMINO         AVILA                  TX           90010300254
3219848758B16B   ALFREDO          VELAZQUEZ              UT           90012174875
3219938787B429   JORGE            NATIVI                 NC           90010813878
321998A818B162   VALENTE          HUERAMO                UT           90006958081
321B273442B871   THOMAS           AUSTIN                 ID           90013537344
321B447745B52B   SHERI            HARKINS                NM           90011134774
321B6172291831   MINDY            ELLIS                  OK           90000471722
321B6A6964B943   AMY AND IBANEZ   ABDIEL                 TX           90010070696
321B81A667B425   ERIK             RUIZ SILVA             NC           90013141066
321B8A6964B943   AMY AND IBANEZ   ABDIEL                 TX           90010070696
321BB31775598B   NELLIE           RODRIGUAZ              CA           90009183177
3221126217B639   ALEXANDRO        VELAZQUEZ              GA           90004262621
32211A77951369   MAGHAN           CREECH                 OH           90004910779
3221377527B639   INEZ             THETFORD               GA           90014757752
322223A387B471   ERIC             JONES                  NC           90011893038
32225A3888B162   EARL             ROOT                   UT           90011290388
3222742A17B449   RENEE            CARTER                 NC           90000144201
3222B343591531   MONICA           RODRIGUEZ              TX           90011553435
3222B546355972   STEVEN           GOMEZ                  CA           90007815463
3223144817B492   CHRISTOPHER      BURCH                  NC           90014154481
3223159374B281   SHEENA           SNYDER                 NE           90013765937
3223177535598B   ALFONZO          REGINO                 CA           90012587753
32234A2622B871   CHRISTINA        FAGUNDES               ID           90013690262
3223666554B943   CALVIN           HARRISON               TX           90014426655
3223752954B281   CHRISTOPHER      BROWN                  NE           90014865295
3224259688B16B   MAILE            KYNASTON               UT           90013675968
32242A8352B93B   MARIA            GUERRERO               CA           90011830835
3224327A52B835   EBOR             BRUNO                  ID           90004792705
3224499375B156   JOSE             ANCA-CHAN              AR           90014799937
32244A6415B393   MARY             RAAB                   OR           90010770641
3224658184B281   RAYFORD          HAYNES                 NE           90012395818
3224896242B87B   ATHENA           SANDERS                ID           42096539624
32253856372B37   MARIA            LUZ MENDOZA            CO           90011578563
3225423A172B76   ROBERT           MATTHEWS               CO           33062552301
32254432A2B93B   SANDRA           ARAMBULA               CA           90011834320
3225B5A4557367   LISA             MEYERS                 MO           90014185045
3226184332B835   JULIUS           ROMERO                 ID           90012038433
3226351652B835   MILLER           TINA                   ID           90004735165
3226867A961925   MIKE             MURPHY                 CA           90010916709
3226878287B639   SHAI             WILLIAMS               GA           90010907828
3226B79424B281   SERGIO           AGUSTIN                NE           90011017942
32271A56591563   RODRIGUEZ        BLANCA                 TX           90008760565
3227312A277544   DANIEL           DAVIDSON               NV           90014921202
3227321174124B   CAROLINE         SCHMIDT                PA           51005002117
3227423462B871   HECTOR           CORVERA                ID           90013402346
3227469795598B   BRENDA           MALDONADO              CA           90012816979
3227517942B871   BRANDEE          SLAGEL                 ID           42079001794
3227542617B471   GABRIEL          MERCADO                NC           90008894261
322756A514B943   RODOLFO          TINOCO                 TX           90011136051
3227652A97B422   KEISHA           FAGGART                NC           90009325209
3227836A28B16B   PATRICIA         MENDOZA                UT           90013053602
3227957595B52B   JESUS            CARRERA                NM           90011135759
3227994562B87B   KEITH            WINDER                 ID           90001519456
3228151467B449   MISTY            SHINE                  NC           90005925146
3228214782B835   EDDIE            BOSWELL                ID           90014711478
3228283A791531   MAYRA            CAMPOS                 TX           90012908307
322828A955598B   ISABEL           NUNEZ                  CA           90003628095
3228B619872496   RICHARD          BAER                   PA           90013196198
3229255A291531   CAROLINA         CHAVEZ                 TX           90006305502
322934A6741277   JUSTIN           CHARMO                 PA           90014024067
32296A65876B7B   JESUS            GUILLERMO              CA           46005330658
32297A89654165   THOMAS           PETERSON               OR           90014240896
3229839888B147   ELSI             BOBADILLA              UT           90009303988
32299288A2B871   KYLE             GUSTAFSON              ID           90011152880
322B142532B93B   JOHN             DOE                    CA           90014554253
322B279417B492   GYAGUS           WALLACE                NC           90012747941
322B33A582B93B   BIANCA           GONZALEZ               CA           90013123058
322B419AA5B156   BRANDI           BROADWAY               AR           90014621900
322B715727B639   CHRISTOPHER      HULING                 GA           90014901572
322B7751477544   AMBER            LUCAS                  NV           90011137514
322B78AA341277   NAIM             NURIDDIN               PA           90013848003
322B8559A7B43B   SHEMEKA          SCALES                 NC           90009525590
322B996A231424   CORY             BRASFIELD              MO           90011009602
32312A8514124B   NATHAN           YOCKEY                 PA           90014470851
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3231439182B87B   MARIYA         PESINA                   ID           90014923918
3231684332B871   JULIUS         ROMERO                   ID           90012038433
3231B373197939   LATRICIA       NELMS                    TX           74029453731
3231B6A992B871   ANDREW         PIPER                    ID           90012166099
3232149218B166   JEFF           NORMINE                  UT           90002054921
32326A24172496   KISA           CROPP                    PA           90013940241
32326AA145B546   GEORGETTE      PADILLA                  NM           90005850014
323271A765598B   KELLY          UNGARO                   CA           90014311076
32328A2535598B   ROBERT         GONZALEZ                 CA           90005970253
3232B557A5598B   ROSALINDA      GOMEZ                    CA           90013385570
3232B55A647931   STEVEN         HENSLEY                  AR           25072935506
323312A732B93B   MARILISA       GARCIA                   CA           90013712073
323318A8555972   ANITA          GARCIA                   CA           90014588085
3233438887B492   JACQUEI        GREENE                   NC           90014353888
32337636A4124B   SARAH          BURROWS                  PA           90012626360
3233887714124B   TARA           VINCENT                  PA           51031868771
32339412372B76   JIMMY          DOUANGPHACHANH           CO           90005714123
3233995A37B639   TREY           JETT                     GA           90013019503
3233997A75B156   CRYSTAL        WILLIAMS                 AR           90014709707
3233B142691563   HAYDE          ARANA                    TX           90010291426
3234223135B156   WILLIE         STARR                    AR           90014142313
3234237232B87B   JOEY           HANSEN                   ID           90013283723
3234237317B492   MISTY          BRYSON                   NC           90010633731
3234481672B871   JAYME          SACKETT                  ID           90013828167
3234944567B471   TORIANO        GRAYBILL                 NC           90007744456
3234997A277544   AMALIA         VEGA DE NIEBLA           NV           90012469702
3234B16AA4B281   JEFF           HUFF                     IA           90013961600
3234B48537B639   MARTHA         COLBERT                  AL           90011924853
3234BA53551369   JASMINE        JETER                    OH           66015510535
3235132A647931   RUDY           YONAMINE                 AR           90011243206
3235211A75B156   ERICA          LILIANA-JUAREZ           AR           90012491107
3235219515B52B   ADRIAN         MARTINEZFIERRO           NM           90010371951
3235391865B253   MELLISSA       COBLE                    KY           90008099186
3235417617B449   NATASHA        SPRINGS                  NC           90010981761
323576A5891831   JEREMIAH       WARD                     OK           90014176058
3235831662B93B   SALVADOR       AVILA                    CA           90013653166
3235893657B471   JENNIFER       GRIFFIN                  SC           90003729365
3235B3AA991356   EMILIANO       BARGAS                   MO           90009873009
32362A33231424   CHRIS          PRETZ                    MO           90013990332
3236337518B16B   SHELLEY        COX                      UT           90013803751
3236424885B52B   MARCOS         MARES                    NM           90013872488
3236529964B943   THOMAS         DUNCAN                   TX           90014812996
3236B86934B943   NAZIRA         MEJA                     TX           90014618693
3237657A92B835   MCKENZIE       PERRIN                   ID           90005185709
3238346135B393   FRANCISCO      BOTTELLO                 OR           90010424613
323873A322B93B   SAUEL          RUBEN                    CA           90013153032
3238742474B281   JOSE LUIS      GUERRERO                 NE           90010464247
3239231532B93B   BIANCA         GONZALEZ                 CA           90013123153
32392833A77544   JONATHAN       RAMIREZ                  NV           90013088330
3239448675598B   ARMANDO        LOPEZ                    CA           49064344867
32394AA394B943   IRIS           OLIVA                    TX           90013770039
32396AA1351369   KATHERINA      COX                      OH           90013460013
3239743212B87B   CLAUDIA        PEREZ                    ID           90013584321
32397A96336143   KEVIN          WILLIAMS                 TX           90014620963
3239846A641285   CASIE          WOODS                    PA           90002584606
3239916A15B156   TERRI          GAINES                   AR           90013701601
323B12A4291531   ALFREDO        RAMIREZ                  TX           90013592042
323B182888165B   IRENE          GARCIA                   MO           90012288288
323B4374691356   MARIBEL        WILLIAMS                 KS           90008343746
323B4417851339   MELISSA        WILSON                   OH           90008644178
323B5561391531   MICHELLE       HOLGUIN                  TX           90014435613
323B618697B471   MICHAEL        LASSITER                 NC           90013921869
323B6243A36143   MARAVILLA      GARCIA                   TX           90003722430
323B881254B943   FAYA           WILLIAMS                 TX           90013318125
323BB36637B449   MARIA          ROJAS                    NC           90015173663
323BB625A36143   MARK           TORRES                   TX           90014176250
323BB868A8B166   JASON          GROVER                   UT           90002608680
3241114AA31424   BROOKE         STRODE                   MO           90011011400
32411A2215B156   GIDEON         TRIF                     AR           90013930221
3241241224B943   KAYLON         FIELD                    TX           90012754122
3241253812B87B   MARIA          HERNANDEZ                ID           90013705381
3241879577B492   CRYSTAL        WEATHERS                 NC           90011307957
3242347782B87B   JENNIFER       HILLHOUSE                ID           90014694778
32423A76936143   ALISON         MIDKIFF                  TX           90010940769
32425964A55972   CAMISHA        CHATMAN                  CA           90011439640
32427897936B77   DANIEL         MORFIN                   OR           90013058979
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3242811527166B   KEVIN          JOHNSON                  GA           90010071152
324288A6A91831   JONATHON       ARCHAMBEAU               OK           90000868060
3242925462B93B   DAVID          ORTEZ                    CA           90014532546
32429498A51369   DIAMOND        G                        OH           90013964980
3242982985B393   JIMIS          ALEXANDER BETANCO        OR           90014808298
3242B32415B393   BRIAN          GRUSKIN                  OR           90011273241
3242B93A82B87B   ALEXYS         YOUNG                    ID           90003599308
32432151A47931   BETTY          HARRY                    AR           90011231510
32434349A2B255   INDIA          CARTER                   DC           90000943490
3243488575B156   AERIAL         SCOTT                    AR           90010948857
324353A4451369   JUSTINE        BURNS                    OH           90010993044
32436A3778B16B   AMBER          NEWELL                   UT           90008960377
3244138235598B   ROBERTO        PIZAN                    CA           90012483823
324427A6151339   JARED          COLLINS                  OH           90013627061
32442859A55972   DANIEL         ALAMILLA                 CA           90014158590
32442A1292B835   RACHEL         COOK                     ID           42083570129
3244481A557128   VICTOR         VASQUEZ                  VA           90002338105
3244544362B93B   SACHINJEE      SIMUGH                   CA           90013664436
3244967832B835   JOSE           OLMUS                    ID           90014546783
32453A64941285   JASON          NEWMAN                   PA           90008830649
3245783955B393   JESSE          MILLER                   OR           90014808395
32464177A2B835   SHANNON        STONE                    ID           90014501770
3246483AA51339   LUIS           SEGURA                   OH           90014958300
3246552472B835   KAREN          FORREY                   ID           90010455247
32465A63591563   JOSE           MIRANDARIVERA            TX           75098750635
3246739AA7B471   TYQUANE        CHANDLER                 NC           90014533900
3246777732B87B   BRODY          VOLKERS                  ID           90013197773
32469AA574B943   HEIDI          TORRES                   TX           90013570057
3247619A73B399   GONZALEZ       GABRIEL                  CO           90011151907
3247B1A1991883   ELIZABETH      GARLAND                  OK           90012731019
3248215275B156   MACEO          KING                     AR           90014981527
32482A98A31424   JUSTIN         CRUTCHER                 MO           90013020980
3248472A457153   ABEL           CARRNAZA                 VA           90006497204
3248474375598B   TIFFANY        RODRIGUEZ                CA           90012897437
3248474854B943   CARROLL        ARNOLD                   TX           90008457485
32485A42131424   OREAIL         MCWILLIAMS               MO           90002270421
32489177A2B835   SHANNON        STONE                    ID           90014501770
3249227A75B156   ACE            COLINS                   AR           90013202707
3249281A97B639   RATHALNAL      DANIELS                  GA           90012748109
3249284757B639   TAMEKA         MORALES                  GA           90014518475
3249479545B156   JOHN           ROBINSON                 AR           90013287954
3249481192B835   JANA           GOODWIN                  ID           42016918119
3249868334124B   JOYCE          JACKSON                  PA           90006766833
3249926674B943   MONIQUE        GALLIGOS                 TX           76509212667
324B2742A91563   MARIA          OJEDA                    TX           90011397420
324B31A657B449   MCKENZIE       WARD                     NC           90014191065
324B5A71A2B835   DANIELLE       MITCHELL                 ID           90010170710
324B6779891563   YVETTE         SANCHEZ                  TX           90010967798
324B719527B639   KENYATTA       AUSTIN                   AL           90010471952
324B731634B943   DERRICK        GREEN                    TX           90012753163
324B914264B943   MONIQUE        MAYSIELD                 TX           90002411426
324BB159755951   VANESSA        REYES                    CA           90003641597
32512659A91952   YADIRA         PENALOZA                 NC           90012156590
3251339144B52B   ANGELA         JOHNSTON                 OK           90011693914
32517225472B76   FRANCISCA      MAJALCA                  CO           33061742254
3251792A22B871   STEVE          LEAVITT                  ID           42076849202
3251897955B393   NANCY          ROSAS                    OR           90014819795
325193AA951339   MICHELLE       GEISLER                  OH           90012823009
3251BA1344B24B   LUIS           PLASENCIA                NE           27007790134
3252164724B281   ALEJANDRO      GARCIA                   NE           90012546472
3252254355B52B   BLANCA         BUGARIN                  NM           90011385435
3252363352B93B   JEREMY         TIDWELL                  CA           90012876335
3252461652B93B   AMEL           ARCHULETA                CA           90001446165
32526A4932B835   MARVIN         LAWRENCE                 ID           90011490493
325274AA17B492   TANSEY         HENDERSON                NC           90010634001
32527AA8A4124B   JHON           JOHNSON                  PA           90011870080
3252847A655951   KHUNTHY        RUN                      CA           90013194706
325296A5936143   ALAX           SALAS                    TX           90010966059
325297A422B835   MARLIN         LANDERS                  ID           90012607042
3252B59332B93B   HORTENSIA      VILLA                    CA           90012875933
3252B689354165   JOHN           BRUEHL                   OR           90014466893
32531481136B77   SABIN          AHMIC                    OR           90012204811
3253363615598B   AIOTEST1       DONOTTOUCH               CA           90015116361
3253581424124B   MALIK          HATCHIN                  PA           90013958142
32536A8A42B93B   GAYLA          MCLAIN                   CA           90005340804
32539953A36143   NINA           GOMEZ                    TX           90008709530
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3254199895B393   NICOLE          KRANER                  OR           90014819989
3254363692B835   DIMBIL          MUGOLO                  ID           90009376369
3254677A747931   ROLLA           WONNE                   AR           90015137707
3254845682B835   JOSIAH          REYES                   ID           90014374568
3254B86112B93B   LUIS            ALFARO                  CA           90012878611
3255154398B183   CORI A          BAKER                   UT           90010005439
3255417142B93B   MARIBEL         RIO                     CA           90012891714
3255447744B943   ALICE           ADAMS                   TX           76511114774
32556A45436143   MARIA           MENDOZA                 TX           90012300454
32556A68241258   MANI            BHATTARAI               PA           90011370682
32559437A36143   LEO             ALANIZ                  TX           90010494370
3255B14898B16B   CARRIE LYNN     KISEL                   UT           90011601489
3256363132B87B   CHRISTY         PAYNE                   ID           90012696313
32564A73436B55   BRET            MCCARTY                 OR           90011750734
3256663715598B   AIOTEST1        DONOTTOUCH              CA           90015116371
3256865677B639   DRASHAWN        DENSON                  GA           90006596567
3257447772B835   SHEILA          BEDARD                  ID           90010884777
3257682678B16B   KEONI           P RUNNELS               UT           90010358267
325775A282B93B   ALEJANDRO       TAPIA                   CA           90013745028
32577921A5B393   JAMES           NEIL                    OR           90011509210
3257813668B16B   PEEL            BRADY                   UT           90009451366
3257B822484368   MIGUEL          CRUZ ROSALES            SC           90011958224
3258251475598B   DORA PATRICIA   AGUILAR                 CA           90008425147
32583871A41285   SHAKIRA         ONEIL                   PA           90011528710
32585A17284368   MARIE           DAWKINS                 SC           90007470172
325871AA24B534   AISHA           SAWYER                  OK           90008011002
3258721144124B   MICHAEL         MCCUNE                  PA           90013922114
3258855232B395   NECO            PARMLEE                 CT           90014145523
3258946235B156   BERNADETTE      HUMBERT                 AR           90007984623
3259258382B395   NECO            PARMLEE                 CT           90014145838
3259276975598B   ANGELA          JUAREZ PEREZ            CA           90015047697
3259939855B52B   GORDON          LAWERENCE               NM           90013723985
3259B16954B943   ADRIENE         BERNARD                 TX           90012661695
325B4729A8B162   CLINTON         COLLINS                 UT           90014277290
325B5228584368   KENT            WATKINS                 SC           90012912285
325B5881351339   WILLIE          HUNTER                  OH           90004638813
325B649127B449   LA              LARICETT                NC           90012124912
325B694758B162   DAYSHA          DAVIS                   UT           90011229475
325B86A484B943   DEANNA          BRICKEY                 TX           90014566048
325BB46972B93B   JENA            HIGGINS                 CA           90012794697
32611A2947B639   CONNIE          PETERSON                GA           90013710294
32613A11957153   ANTONIO         MUDGE                   VA           90006510119
3261594134B943   DERRICK         BOUTTE                  TX           90012629413
32616A52791831   SHERYL          WATTS                   OK           90014740527
32619438A51369   ALEX            MITCHELL                OH           90012314380
3261B17444B943   KEVIN           ORTIZ                   TX           90008391744
326239A427B449   TWEE            TWEE                    NC           90009969042
326334A7A5598B   GLORIA          GUTIERREZ               CA           90014164070
3263443772B87B   TERRY           SHIPTON                 ID           90011074377
32635344A7B449   MARKISHIA       HENDERSON               NC           90012993440
3263B168547931   RALPH           CASSIDY                 AR           90012451685
3263B326284368   LAKIASHA        WHITE                   GA           90013433262
326477A422B835   MARLIN          LANDERS                 ID           90012607042
3264833333B351   PAUL            LIPSCOMB                CO           90006683333
32648A6265B52B   JOSHUA          TERRONES                NM           90010080626
32649AAA772496   AMANDA          KEEFER                  PA           90014600007
3265191627B492   MARTE           EDWARDS                 NC           90013879162
3265264122B93B   EDGAR           OCHOA                   CA           90012966412
32654A2155B156   KEITH           JONES                   AR           90010640215
3265545A47B639   WILLIE          CHANEY                  GA           90013714504
3265669342B87B   JASON           HUTCHINSON              ID           90012886934
3265677672B93B   KENNY           LLOYD                   CA           90012967767
3265755787B639   TACEY           THOMPSON                GA           90014635578
3265849738B162   GARRETT         ROWLAND                 UT           90013304973
326594A4291531   LAURA           ACOSTA                  TX           90011414042
3266236454B943   SIERRA          LAMBERT                 TX           90011953645
326629A6141258   LAUREN          LIKOVICH                PA           90010949061
32662A41877544   JAMIE           DALE                    NV           90013260418
32662A4444124B   RONALD          GILL                    PA           90013080444
3266439545B156   BRANDY          LOPEZ                   AR           90015143954
3266611A991356   DEBORAH         WILMOTH                 MO           90004241109
32667786272B76   DEANDRA         JAUREQUI                CO           90009367862
3266789387B449   SHARON          HALLEY                  NC           90015118938
3266954728B166   RICHAR          ANGELES                 UT           90007165472
32671741136B77   JAMES           LAMAR                   OR           90012007411
3267215897B471   HISELA          DUNLAP                  NC           90014051589
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3267261AA36143   YURI           SANCHEZ                  TX           90010376100
3267497125B557   ELISA          MARTINEZ                 NM           90006369712
3267889352B87B   AMANDA         ROBERTS                  ID           42056938935
32678AA2484368   MIGUEL         HERNANDEZ                SC           90011580024
3268766227B639   DANIELLE       COMBS                    GA           90011396622
3268871552B835   LEONEL         GARCIA                   ID           90013537155
3268925A655972   STEWAR         DWAYNE                   CA           90013052506
3268953A954165   JAMES          WAGNER                   OR           90013205309
3268982AA5598B   ABRAN          HERNANDEZ                CA           90013598200
3268B2A325B393   TRINA          MCCURTY                  OR           90014882032
3268B91655B52B   CARLOS         MARQUEZ                  NM           35096029165
3268BA4367B471   MELVIN         JONES                    NC           90010720436
3269366712B93B   NICHOLAS       GALLEGOS                 CA           90012146671
3269427A55B23B   DAVID          HUFFMAN                  KY           90012352705
3269622A42B93B   GARRY          MONTANO                  CA           90013022204
3269641737B471   JAIRO          PEREZ                    NC           90010044173
3269763735B52B   ANGIE          ROMERO                   NM           90014336373
3269B169555972   ESTER          REYES                    CA           90009301695
3269B592136143   LACEY          GARCIA                   TX           90014885921
3269B837A2B87B   ALICIA         JONES                    ID           90014458370
326B4294A91563   DANIEL         LOPEZ                    TX           90009042940
326B4413431424   JONATHAN       COPPAGE                  MO           90014154134
326B526A991356   ANGELICA       ESPARZA                  KS           90014392609
326B854577B492   SIERRA         MUCKELVENE               NC           90014805457
326B888A55B52B   ABRAHAM        RUIZ                     NM           90013188805
326BB934972496   CHANTEL        ISBELL                   PA           90013519349
3271883A791531   MAYRA          CAMPOS                   TX           90012908307
32719491A2B93B   GEORGE         RAMOS                    CA           90013024910
3272942767B639   DUANTA         CARROLL                  GA           15051494276
3272B24925598B   GERARDO        GARCIA                   CA           90012802492
3272B41495132B   DANIELL        GATEWOOD                 OH           90007724149
3272B871A24B54   JAMES          JONES                    DC           90006178710
3273454937B639   COURTNEY       TARVER                   AL           90006725493
327353A1347931   MORNAN         BEZ                      AR           90014163013
3273559447B492   CHRISTINA      PRYOR                    NC           90014805944
32737A2A12B93B   ALFREDO        MARTINEZ                 CA           90013090201
3273862662B871   IGNACIO        LIMON                    ID           90014076266
3273961542B87B   AMANDA         DIAZBRARRIGA             ID           90011236154
32739785336B77   JOSE           GUTIERREZ                OR           90009287853
3274184312B87B   LAURI          THURSTON                 ID           42030038431
32746676A91831   JOSE-LUIS      RAMIREZ                  OK           90004316760
32748281A72496   JESSICA        SEISAY                   PA           90013622810
3274B691591531   KARLA          MORALES                  TX           90007666915
3274BAA728B162   JORGE          ALVAREZ                  UT           90002780072
3275494998165B   JOANNA         MARTIN                   MO           29075639499
3275628927B492   ANNESSHA       BROWN                    NC           90012202892
3275659297B33B   JUAN           CLAROS                   VA           81018175929
3275714A736143   MCDADE         ZHANE                    TX           90012721407
32757352A91531   PEDRO          BUENTELLO                TX           90012273520
3275956862B871   JESSICA        PARTON                   ID           90014605686
3275B543736143   RIETTA         VASQUEZ                  TX           90014925437
3276123A74B281   JOSE           RODRIGUEZ                NE           90013292307
327621A8741258   BRANDY         GARY                     PA           90009601087
32762A8865598B   MICHELLE       BENGE                    CA           90002020886
3276542197B639   DOMINGO        PUCKETT                  GA           90010804219
32766AA4A91531   LORENA         TORRES                   TX           75016290040
327678A2A5B156   COREY          FORD                     AR           90009408020
327687AA354165   JUSTIN         SPELLMAN                 OR           90013877003
3276B273191531   DORA           GALLARDO                 TX           90011312731
3277233854B281   WHITNEY        WADE                     NE           90014813385
3277588715B156   LATESHIA       COOPER                   AR           90010998871
3277755927B471   SHANE          WHEELER                  NC           90014675592
3277953867B492   JEFF           MANNING                  NC           90007735386
3278292915598B   ELVIRA         CISNEROS                 CA           90013789291
3278478958B162   JARED          NELSON                   UT           31091887895
3278499AA8165B   TIMOTHY        DEFOOR                   MO           90010569900
3278531A84B562   JEROME         RAPLEY                   OK           90014783108
3278749385598B   MIRIAM         MENDOZA                  CA           90013234938
3278B969491356   RODRIGO        PEREZ                    KS           90002839694
32793A75A4B281   MARIO          GRADY                    NE           90012830750
3279446228B162   MALENA         MANCHEGO                 UT           90011874622
3279493287B492   BREANNA        ELLIS                    NC           90014419328
3279754A836143   YVONNE         CARDENAS                 TX           73517055408
3279855A84B943   BETTIANA       CHARLOT                  TX           90013115508
3279B17925B393   KORYEON        JENKINS                  OR           90014891792
3279B1A4784368   JESSICA        GARCIA                   SC           90011091047
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327B25A5136B77   PRESTON        SCHLEICHARDT             OR           90011885051
327B3455854165   GODINEZ        APOLINAR                 OR           90011594558
327B3A4444124B   RONALD         GILL                     PA           90013080444
327B456285B393   WALID          SALLOUT                  OR           90008965628
327B4AA594B943   DULCE          ARELLANO                 TX           90012850059
327B6572651339   PAMELA         SHORT                    OH           66068475726
327B6885941277   MELVA          MCKNIGHT                 PA           90013958859
327B7455391356   JACKIE         HOYLE                    KS           90015084553
327B9382791563   MARIA          LUPERCIO                 TX           90009923827
327B994A95B52B   CHRISTOPHER    GRIEGO                   NM           90013819409
327BB837451369   MARCOS         ESPINOZA                 OH           90014318374
3281213A85B156   REBEKAH        WILLIAMS                 AR           90014691308
328152A7236143   JOSE           CANO                     TX           90010312072
328165A175B52B   ENRIQUE        BAYLON-HERNANDEZ         NM           90012645017
3281858745B393   ROBERTO        SALAS                    OR           90014895874
32818A3A936143   ALEJANDRO      SANCHEZ                  TX           90015090309
3282151785598B   JODYANN        OSBOURNE                 CA           90009355178
32822458A54165   NICOLE         REINWALD                 OR           47016704580
3282278652B835   AMBER          STANLEY                  ID           90014637865
3282346894124B   ELEANORE       DAVIS                    PA           90011954689
3282656792B93B   YVETTE         MORD                     CA           90011605679
32826A82855972   JAMES          ROWLEY                   CA           90013030828
3282811472B871   JOHN           ORELUS                   ID           90012491147
328319A3A5B52B   CHRISTINE      VELARDE                  NM           90011139030
3283356992B871   MATTEW         MILLER                   ID           90012065699
3283396284B943   ASHLEY         WALDON                   TX           90012479628
328341A342B93B   JULIO          HERNANDEZ                CA           90013141034
3283728587B449   ANTOINETTE     BARNETT                  NC           90012842858
328374AA391831   DUSTIN         GADDY                    OK           90014104003
328413A322B93B   SAUEL          RUBEN                    CA           90013153032
3284638955B385   PATRICK        BENNETTE                 OR           90013733895
32846658124B6B   MISAELOMAR     ALFRARO LAINEZ           DC           90001066581
328467A1941285   TAMMY          DIETRICH                 PA           90009087019
3284B228947931   EMMA           RIOSDEGARCIA             AR           90014992289
32851883A8B16B   MARCUS         KING                     UT           90013328830
3285642364B943   MARIO          CEJA                     TX           90009374236
32858357A2B93B   SANDRA         BLAIR                    CA           90006983570
3285B785655972   HUGO           TORRES                   CA           90012127856
32862328A91356   DEBRA          CORDERO                  KS           90013983280
32863A64191563   FERNANDO       CABRERA                  TX           90014440641
3286465777B471   MARIO          CONDE                    NC           90012936577
32865513A4124B   SERENA         COPENACE                 PA           90011695130
32865A3A936143   ALEJANDRO      SANCHEZ                  TX           90015090309
32869792A7B449   ADONIS         LOPEZ                    NC           90004697920
3287626498B166   NICOLE         WEBB                     UT           90010292649
328842A1551339   KRISTA         FUESTON                  OH           90014612015
328846A7772B24   GLORIA         ESSIG                    CO           90008156077
3288523717B639   LEAKESHA       MILLER                   AL           15014162371
3288623135598B   AIOTEST1       DONOTTOUCH               CA           90015122313
32887AA915B393   JESSICA        OHALLORAN                OR           90014900091
3289243144B943   GUILLERMO      ROCHA                    TX           90011644314
3289298527B492   SHAQIA         SIMSON                   NC           90010999852
3289368A691563   DEMITRI        MARTINEZ                 TX           90006136806
3289382264124B   CANDICE        IARRUSSO                 PA           90013428226
3289443144B943   GUILLERMO      ROCHA                    TX           90011644314
32895438A5B52B   MICHELLE       CARO                     NM           90009604380
3289656789375B   JOSH           MILLER                   OH           90010645678
3289788A75B156   CONNIE         DUCKETT                  AR           90000218807
32898979A91563   ALEJANDRA      DE LA PENA               TX           90007509790
3289911868165B   CHRIS          ELLIOTT                  MO           29023281186
3289924A42B871   CECILIO        FERNANDEZ                ID           90013542404
328B1139A5598B   ANTHONY        CURRILLO                 CA           90013171390
328B14AA391831   DUSTIN         GADDY                    OK           90014104003
328B1A5A136143   LORENA         ZUNIGA                   TX           90012740501
328B217925B393   KORYEON        JENKINS                  OR           90014891792
328B2667791232   CHARLES        MOBLEY                   GA           14523206677
328B27A664B943   DASHARI        OWENS                    TX           90013877066
328B54A9436143   CADEJA         DEMBO                    TX           90010994094
328B693895598B   ROXI           MONJE                    CA           90012039389
328B6A8592B93B   LUIS           GARCIA                   CA           90013090859
328B752655B555   TERRI          TORRES                   NM           90010815265
328B9396536143   PEDRO          MARTINEZ                 TX           90014553965
328B9631631424   PANDORA        SHEPARD                  MO           90011376316
328BB474991531   OSCAR JR       CORPUS                   TX           90012654749
328BB523751369   MELISSA        LYONS                    OH           66055205237
328BB952951339   JESSICA        ROWLAND                  OH           90014539529
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328BB9A2A91356   VICTOR            CHAVEZ                KS           90012909020
32911A3543B39B   ROBERT            ARNOLD                CO           33075370354
3291269332B871   CHAZ              VARGASON              ID           90014906933
329128AA35B177   BOBBY             CARTER                AR           90011988003
3291569378B16B   ROBERT            CONLON                UT           90014626937
3291732387B492   LUIS              MINIER                NC           90013103238
3291B28262B87B   JASON             ALEXSANDER            ID           90013482826
329215A8A91831   CHRISTOPHER       BUTTS                 OK           90011885080
3292198A472496   CYNDI             ONELL                 PA           90009759804
32927894472B76   LUIS              GOMEZ                 CO           33031798944
3292813192B93B   PATRICK           HANNA                 CA           90012511319
3292B19248B16B   CHAD              ANDERSON              UT           31077351924
3292B611172B76   JOSE              LARA                  CO           33096096111
3292B91664B281   BRANDON           ORNAT                 NE           90014369166
32932A44A8B162   RYAN              ROTELA                UT           90012570440
32932A85A5B393   PAUL              WARDE                 OR           90014900850
3293355782B835   EMILY             MCKNIGHT              ID           90013155578
32933A85A5B393   PAUL              WARDE                 OR           90014900850
32934A7924B943   DONALD            RENFROW               TX           90013080792
32935373A91356   JESUS             GUILLEN               KS           90012303730
3293573744B943   VANESSA           MUNGUIA               TX           90015097374
3293662A336143   ANGELA            REMIREZ               TX           90011006203
32936A88984368   TINA              LOPEZ                 SC           90006370889
3293722515B393   KATIA             PROPHETE              OR           90011992251
329395A548165B   FRED              MOORE                 MO           29053535054
3293B515526759   JAMAL             ELLIS                 VA           90007925155
329424A977B639   SHICOLA           HAND                  GA           90002654097
32945A53A8B16B   BRENT             BLANCH                UT           31011920530
3294872465B52B   CECILIA YOLANDA   RIVERA ROBLES         NM           90013507246
3294B989136143   ROSEMARY          CABALLERO             TX           90011999891
3295321898B16B   ROUECHE           NOEL                  UT           90013232189
3295356744124B   ZELLETTIA         BRANTLEY              PA           90014275674
3295697185B52B   JENNIFER          MARTINEZ              NM           90011139718
3296111495B156   DERRICK           WRIGHT                AR           90013061149
32961A88772496   DANIEL            MILLER                PA           90010560887
3296249438B162   SHANNON           SEARLE                UT           90005644943
3296345642B871   ALEX              GILES                 ID           90011454564
32969476A31424   MARIANE           FORTENBERRY           MO           27573204760
3296B838847931   MARIA             HERNANDEZ             AR           90004958388
3297182815B52B   JOSAL             OVIDA                 NM           90009658281
3297197697B449   TOYA              DAMON                 NC           90012179769
3297269115B393   BRISA             ORTEGA                OR           90010106911
329735AA32B871   NATALIA           VASQUEZ               ID           90010345003
3297383575598B   AREO              BERMEJO               CA           90014778357
32975A3137B639   ALEXIS            MOORE                 GA           90014980313
3297693632B87B   NICK              DAVIS                 ID           90014349363
32978492A8B162   PATRICIA          KEELE                 UT           31083314920
329793AA45B52B   RUBEN             CASTILLO              NM           90007803004
32979461A5598B   YESENIA           RUIZ                  CA           90014164610
329831A2991563   CARMEN            ORTEGA                TX           90006011029
3298446762B835   AMANDA            HEADY                 ID           90002164676
3298468A42B871   JASON             LOPEZ                 ID           90014886804
32985A77891356   SANDRA            ARROYO                KS           90001460778
329885A5391356   LYTIA             ERNST                 KS           90007745053
3298B3AA45B52B   RUBEN             CASTILLO              NM           90007803004
3299457365B156   SALLY             HINKLE                AR           90013925736
3299546492B87B   WILLIAM           ALTON                 ID           90012954649
3299744A655972   ERIKA             GONZALEZ              CA           90009084406
3299825A65B156   CHRISTOPHER       GREENWOOD             AR           90013712506
329B2439677544   VICTOR            HURTADO               NV           90000334396
329B4382551369   MARK              ECKSTEIN              OH           90013053825
329B4792A5598B   JOSE              HERNANDEZ             CA           90013367920
329B4796377523   JERALD            GILLEM                NV           90002997963
329B498665598B   ALICIA            URBIETA               CA           90012089866
329B498867B492   CHRISTI           SENTER                NC           90009859886
329B6656A5B156   JAMIE             BEAM                  AR           90011066560
329B7823A2B871   KRISTINA          MARION                ID           90013778230
329B8456251369   ALEJANDRO         SANCHEZ               OH           90010304562
329B8513954165   MALIKKHIA         MCRITCHIE             OR           90009405139
32B1243428B162   ESITA             KINIKINI              UT           90013324342
32B1292435598B   ISAAC             ALFARO                CA           90011159243
32B1339153B324   CHRISTINA         MULLINS               CO           90010113915
32B1427867B23B   DAVID P           PONZI                 CO           33065442786
32B15A7817B449   EUGENE            GREEN                 NC           90014840781
32B1667124124B   MARK              PATTERSON             OH           90000226712
32B18467A7B639   RAYSHAWNDA        HICKS                 GA           90013494670
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32B23575941277   DANIELLE        MANKER                  PA           90013825759
32B2515837B639   RONNIS          TOLBERT                 GA           90014621583
32B255A647B425   SHARI           WOUD                    NC           90011145064
32B2644452B93B   MONICA          TALAMANTE               CA           45085854445
32B2748AA2B93B   COLTON          HUMPHREY                CA           90011774800
32B27724955951   EDUARDO         MARTINEZ                CA           49006497249
32B28561854165   TRACY           JONK                    OR           90014575618
32B2B34817B449   JOHN            SWEENEY                 NC           90013053481
32B3536832B87B   LANCE           BARG                    ID           90002213683
32B3556665B393   HOLLIE          KUNZ                    OR           90014785666
32B3591A336143   JOSE            LOPEZ                   TX           90014819103
32B3626217B639   ALEXANDRO       VELAZQUEZ               GA           90004262621
32B37722A5B156   CHARLES         THOMAS                  AR           90013297220
32B3863132B871   CHRISTY         PAYNE                   ID           90012696313
32B3971457B471   CHARLOTTE       KNOTTS                  NC           90014767145
32B3B94552B87B   YOLANDA         CUEVAS                  ID           90011909455
32B41863951339   MIKE            COLLINS                 OH           90013228639
32B4287877B471   LATONYA         TYSON                   NC           11013898787
32B4338914B943   TARA            MAY                     TX           90010853891
32B44558897939   NICHOLE         WILSON                  TX           74013275588
32B455A772B87B   BRANDEE         BRIGGS                  ID           42093795077
32B46173163663   ANTHONY         GEILER                  MO           27507971731
32B4829632B835   MONICA          MAGANA                  ID           90014092963
32B491A144B943   LAZARO          RODRIGUEZ ESCALONA      TX           90012061014
32B4924A47B471   TSHILANDA       KABEYA                  NC           11051102404
32B49344547931   SHELLY          MAYFIELD                AR           25073993445
32B4969552B93B   ADRIEANA        LOZANO                  CA           90014816955
32B51373157153   JOSE            ALVAREZ                 VA           90011373731
32B5243A75B393   ROBERTH         MORRIS                  OR           90000584307
32B53477672496   DESIREE         MCKINNEY                PA           90013384776
32B5457498B16B   QUETZALLI       BALLESTEROS             UT           90009565749
32B5482877B425   SHAMIKA         PARKS                   NC           90015088287
32B5556642B961   JUAN            GUERRERO                CA           90012715664
32B5B526691531   JOHNATHAN       JASSO                   TX           90010255266
32B62531336143   EVA             GONE                    TX           73596525313
32B6277A35598B   ABELARDO        HERRERA                 CA           90013037703
32B6288465B255   CHRISTA         LAWS                    KY           90009668846
32B6343A82B93B   MARIA           QUINTERO                CA           90011784308
32B64672472B76   SAID            ZOUITINE                CO           33016156724
32B6484464B943   LIZABETH        PAREDES                 TX           90001458446
32B65678154165   NICHOLAS        JOHNSON                 OR           90012826781
32B65A73851339   CODY            MILLER                  OH           90011010738
32B6713798B16B   DIANA           ROBLES                  UT           31058661379
32B67234141277   KENNY           REDD                    PA           90009092341
32B6823442B871   ROSE MARIE      BRAVEHEART              ID           90013512344
32B68753591831   RAFAEL          ROSALES                 OK           90010457535
32B69153157123   LUIS            CENTENO                 VA           90013061531
32B69931691356   JORGE           SANCHEZ                 KS           90011599316
32B72225136143   TOM             BROWN                   TX           90010892251
32B7495857B425   JAMES           CROON                   NC           90013099585
32B7553795B141   BRENDA          STRONG                  AR           90014015379
32B75A5A85B141   BRENDA          STRONG                  AR           90014260508
32B7685AA91531   JESICCA         GALINDO                 TX           90013468500
32B77881591531   MARITZA         MUNOZ                   TX           90006378815
32B7793852B93B   DAISY           AGUILAR                 CA           90011789385
32B78193891356   SANTOS          LINO                    KS           90013341938
32B79A5515B52B   FRED            PADILLA                 NM           35044080551
32B7B16122B835   ARNOLDO         ROSAS                   ID           90011121612
32B81229191893   STEPHEN         PFOHL                   OK           90001082291
32B813A7891831   CHAD            FRISK                   OK           90014583078
32B826A817B639   ERIN            POINDEXTER              GA           90014106081
32B827A942B835   LARRY           SEVERNS                 ID           90013047094
32B8296A62B871   SERGIO          BLANCO                  ID           90014739606
32B83496991563   MICHEAL         BARRER                  TX           90006004969
32B85A97355972   DON             LAXSON                  CA           90012840973
32B8668828B162   DAVID           ANDERSON                UT           90003396882
32B8712A17B639   CORNELIUS       FORTSON                 GA           90014581201
32B87287351369   KAYLA           MEYER                   OH           90008942873
32B9274665598B   TAMARAH         JONES                   CA           90013457466
32B92889291563   REBECA          MARTINEZ                TX           90014258892
32B93844A51369   MIRANDA         JUNG                    OH           66024048440
32B94461A2B87B   MICHAEL         MCBRIDE                 ID           90012054610
32B944A744B281   MISSTEY MARIE   ALBERT                  IA           90009854074
32B9485987B425   DAVID           LEE                     NC           90013678598
32B9539AA2B93B   PIRSCILLA       LOPEZ                   CO           90011793900
32B9563A25B156   DIAMOND         WRIGHT                  AR           90013536302
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32B95A6594124B   THOMAS         MCCALLISTER              PA           51002250659
32B9644447B449   CIRELY         MICHARY                  NC           90012914444
32B98114A9152B   AMELIA         RODRIGUEZ                TX           90008531140
32B98268254165   ANGELA         LISKEY                   OR           90009502682
32B98584651339   HEATHER        KERBY                    OH           66086655846
32B99A1595B156   PHILLIP        BANKSTON                 AR           90013750159
32BB1344691537   DAHINE         OLAGUIVEL                TX           90011783446
32BB1464A77534   LYNN           KUKUK                    NV           90009924640
32BB191A87B425   JEROME         ELLIS                    NC           90014789108
32BB246994B954   ALLEN          ROSEMORE                 TX           90012244699
32BB3368654165   SAMUEL         LINVILLE                 OR           90010263686
32BB3A7487B425   JABAR          DAYE                     NC           90013640748
32BB4211A91356   LINDA          ISRAEL                   KS           90012852110
32BB4791231424   SIMONE         BROWN                    MO           90012727912
32BB5268491356   CRICKET        WIRELESS                 KS           90009982684
32BB6A97355972   DON            LAXSON                   CA           90012840973
32BBB531241277   TERRI          DERKAS                   PA           90003925312
3311157435598B   JENNA          URENA                    CA           90013915743
33112A57291831   RICKY          WILLIAMS                 OK           21046340572
3311612247B639   KELSIE         FAINE                    GA           90011351224
3311617767B492   ANTHONY        LATHAN                   NC           90015111776
33116415A4B943   LINDA          HAILEY                   TX           76553604150
33117A36451369   ALICE          DESTEFANO                OH           90013120364
3312722144B943   DEBBIE         GARZA                    TX           90012862214
3312846568B16B   JUAN PABLO     ORTEGA                   UT           90011854656
33131A1294B943   YURI           CARDENAS                 TX           90008980129
3313224288B16B   CURTIS         KISH                     UT           90013982428
3313259755B393   PHOEBE         JANIS                    OR           90014445975
3313756335B52B   MATTHEW        JIMERSON                 NM           90004205633
33139176A7B449   WENDY          VANEGAS                  NC           90011671760
3313B17A55B52B   JUDY           MARCUS                   NM           90012271705
3313B19814B943   EVA            TORRES                   TX           90012341981
3314122A741258   KHRISTOPHER    HARDY                    PA           90012962207
3314552115B156   CAREVIA        FLOWERS                  AR           23030455211
331483A1936143   MARY           GUERRA                   TX           90008193019
3314866628B16B   RYAN           VEGA                     UT           90013836662
331531A444124B   BRIANNA        GRAHAM                   PA           90014781044
33153599A4124B   NALYNN         HOWARD                   PA           90013425990
33158A43536143   JUSTIN         CLIFFORD                 TX           90010010435
3315996725B52B   JOEL           TREJO                    NM           90013829672
3315B81988B16B   MASON          MILLER                   UT           90012058198
3316488428B16B   MIKE           ZUPAN                    UT           90006018842
3316551942B835   DANIEL         SPORTIIELLO              ID           90013695194
3316B15848B16B   LARRY ARTHUR   RUBEN                    UT           90012611584
3316B3AA841258   MARK           JHON                     PA           90013963008
3316B548551339   TEDDI          VEATCH                   OH           90014575485
3316B599A4124B   NALYNN         HOWARD                   PA           90013425990
331721AA655972   ILIANNA        CARRASCO                 CA           90012751006
3317B644891893   SILVIA         ROMANO                   OK           90013206448
3317B914347931   JACQUILINE     LEWIS                    AR           90013479143
33181136A7B34B   LEON           TWYMAN                   VA           90011021360
3318181848B16B   JOSHUA         BOYD                     UT           90010698184
33181911A5B52B   ANGEL          MONTOYA                  NM           90013699110
3318353285B52B   MATTHEW        ORNELAS                  NM           35009575328
3318425322B871   RACHEL         RODRIGUEZ                ID           90012872532
3318687614B943   CHALSEY        JOSEPH                   TX           90009088761
3318B6A2A91371   YULIANA        PAEZ                     MO           90010966020
3318BA58491371   SHAWN          WILLAIMS                 MO           90011460584
3319162752B835   RIGOBERTO      BAUTISTA                 ID           90014176275
3319462844124B   JOSHUA         PHILIPS                  PA           90014176284
3319529922B559   ROBBIE         RANSOM                   AL           90014172992
331B33A982B835   CALVIN         FRATES                   ID           90014343098
331B3445251339   JAREL          TILLIS                   OH           90006334452
331B438255B156   ROCHELLE       ROCKINS                  AR           90010783825
331B462348B162   DEBORAH        STEED                    UT           90010346234
331B481988B16B   MASON          MILLER                   UT           90012058198
331B5517351339   JAMES          SHUMAKER                 OH           90012985173
331B577218B162   ABRAHAM        LARA                     UT           90015097721
331B591257B492   JAVA           KRAY                     NC           90014259125
331B7A67472B38   ERIC           FLING                    CO           90007910674
331B848565B156   YOLANDA        RADCLIFF                 AR           90014414856
331B92A9251369   SOLETHA        BERRY                    OH           90003982092
331B957A32B87B   TRISHA         BARNETT                  ID           90011985703
331BB684A2B871   TODD           ALAN                     ID           42051376840
33213784A4124B   ALLYSON        KLEIN                    PA           90013857840
33213913633B57   JOANN          JACOBSON                 OH           90014019136
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3321519675B156   LAFE           JOHNSON                  AR           90008551967
33217A6164B943   VIRGINIA       IZQUIERDO                TX           90014740616
33219242A5598B   ADAN           AYALA                    CA           90010852420
3321B1A1141258   SHELDON        CLARK                    PA           90013081011
3321B462A51369   CESAR          OPEZ                     OH           90014464620
3321B514A5B52B   DAVE           BERMAN                   NM           90009875140
3322315384124B   SUSAN          CASE                     PA           90014311538
3322467782B871   LUCUS          PERSONS                  ID           90008486778
332299A278B16B   MARTIN         JAMES                    UT           90010699027
3323278465B156   DAIGAN         CROSBY                   AR           90011437846
3323285155B393   HENRY          JONES                    OR           44506018515
3323341435598B   ARTHUR         LOZANO                   CA           90012964143
33234423A55972   LUISANA A      PERAZA                   CA           90012984230
3323665A35B156   QUINCY         HOLLISTER                AR           90009156503
33236A95647931   CHRISTIAN      ALVARENGA                AR           25080520956
3323715115598B   ALEJANDRA      SAHAGUN                  CA           90012711511
3323724562B871   DONNY          TORRES                   ID           90008372456
3323816867B639   BRIDGET        DOWNS                    GA           90011091686
3323946762B871   AMANDA         HEADY                    ID           90002164676
3324539444B943   TYLER          JOHNSON                  TX           90012683944
3324584658B162   TUG            TODD                     UT           90012428465
3324595562B871   REBECCA        JONES                    ID           90012999556
3324693962B835   IZABEL         GARZA                    ID           90014339396
3324B3A6A2B835   DAWN           SHANK                    ID           90013983060
332519A3551369   DIANA          TARLEY                   OH           90014849035
3325424618B162   LUIS           CERRITENO                UT           90011152461
33257639A4124B   DEANDA         LOKELANI                 PA           90014176390
33269918A51339   TOYA           CALHOUN                  OH           66014169180
33269A2215B156   GIDEON         TRIF                     AR           90013930221
3327452324B943   TONIA          SCOTT                    TX           90003565232
3327754274124B   LEASER         SLOAN                    PA           90010245427
3327793757B492   AMANDA         ATKINS                   NC           90013659375
33277A2227B492   KEITH          SEIGLE                   NC           90011320222
3327936864B534   STEPHANIE      DRENNAN                  OK           90008843686
3327962A95598B   JOSE           CASILLAS                 CA           90010316209
3328332938B162   ANTONIO        AGUILAR                  UT           90014213293
33284A86551369   JOSEPH         FANNING                  OH           90013130865
3328899315598B   FABIAN         AVILA                    CA           90006289931
3328981717B492   PARIS          ADAMS                    NC           90011108171
332924A342B871   DAVID          KIRBY                    ID           90011874034
33293661297B67   CHARLES        GROSS                    CO           90002796612
3329444928B16B   ANTONIO        AGULIAR                  UT           90013044492
3329769A72B835   BEMA           NOWELL                   ID           90013826907
33299AA962B87B   CORBIN         BROWN                    ID           90013650096
3329B63615598B   AIOTEST1       DONOTTOUCH               CA           90015116361
332B12A825B156   BONNIE         POTTS                    AR           90010982082
332B153377B639   WILLIE         PIETT                    GA           90010935337
332B2365291563   LILIEL         RIOS                     TX           75058153652
332B355425B593   JEREMIAH       WEIL                     NM           90011625542
332B3968151339   GEORGE         MIKE                     OH           90004589681
332B4356191371   LAQUINTA       COLLINS                  KS           90013093561
332B5265254165   CHARLES        BURKE                    OR           90010102652
332B63A6136143   RICHARD        ALLEN                    TX           73513163061
332B7925491371   ALONSO         MORALES PEREZ            KS           90013469254
332B9523751369   CANDUS         WILLENBRINK              OH           90013045237
332B952975598B   JIMMY          AVILA                    CA           49007085297
332B9578354165   WILL           MORAN                    OR           90012365783
332B9A72291831   KEVIN          SPIVEY                   OK           90012730722
333167A5471937   SONYA          NAYLLI                   CO           90010637054
3331B31255B156   LATORA         BURNETT                  AR           90011523125
3331B62662B871   EMILY JANE     DANIEL                   ID           90004446266
3331B731291563   VERONICA G     RAMIREZ                  TX           90005437312
33322221A7B43B   YVONNE         DAVIS                    NC           11009792210
3332271A65B393   WILBERTH       PINTO VAZQUEZ            OR           90000637106
3332465377B492   STEVEN         WEST                     NC           90011186537
3332725537B639   GEORGETTE      JONES                    GA           90011352553
33327A95347931   SUSAN          TYREE                    AR           90013140953
33329A19591831   JAVID          FALCON                   OK           90012970195
3333316A554165   ANGEL          ARAMBULA LARA            OR           90001761605
3333746524B943   MONICE         THOMAS                   TX           90012634652
3333886537B492   LONNIE         HILDERBRAND              NC           90004288653
3334671155598B   SEILA          AYALA                    CA           49081157115
3334718A55B393   ANNA           SHAPIRO                  OR           44582421805
3334895847B449   JOSE           GONZALEZ                 NC           90011899584
3334B64232B87B   LANCE          FESLER                   ID           42024406423
3334B8A3A5598B   EDUARDO        GODINEZ                  CA           90014688030
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3335822817B43B   MARCELINA      HERNANDEZ                NC           11027362281
333594A1891584   AMBER          FUENTES                  TX           90011174018
333636A7251369   ELLAINE        BROWN                    OH           66039356072
3336442A22B871   ANDREW         DAVIS                    ID           90012114202
33366613472B47   EMIL           TAHERI                   CO           90004896134
3336774A841258   STEVE          ALI                      PA           90014417408
3337142375B393   ANAHI          SANDOVAL                 OR           90013724237
33374847472B47   CONNIE         COBB                     CO           90011418474
3337579164124B   RAM            SHAH                     PA           90014177916
3337763615598B   AIOTEST1       DONOTTOUCH               CA           90015116361
3337764472B835   ABEL           GARCIA                   ID           90013796447
3337812444124B   ERIC           PERDUE                   PA           51064311244
333871A9255972   JEREMY         KECHLOIN                 CA           90010911092
3338929234124B   JACKIE         JONES                    PA           90009682923
3338B44382B835   ALEJANDRO      CORTAZAR                 ID           90014954438
3339239587B492   LAKEISHA       MORRIS                   NC           90013843958
3339B76122B87B   JULIE          STARKEY                  ID           90010307612
333B277444B943   OSMIN          CRESPO                   TX           90012187744
333B291A951369   TAMMI          KELLY                    OH           90009769109
333B3456955927   STEPHANIE      FLORES                   CA           90013884569
333B3A86451369   NAKEBA         BARNES-PORTER            OH           66098510864
333B696A35B52B   LUIS           VILLA                    NM           90011949603
333B781254B943   FAYA           WILLIAMS                 TX           90013318125
333B821978B162   MARQEL         LINO                     UT           90012872197
333B9A7A591371   DEBORAH        WILLIS                   KS           90014540705
333BB13185B393   MARIA INELDA   SALAZAR HERRERA          OR           90012471318
3341511557B639   LATASHIA       FITZPATRICK              GA           15082821155
3341921765B156   RAYMUNDO       TAPIA                    AR           90014412176
3341B48545B52B   ELFIDO         RIO-CASTILLO             NM           90013814854
3342419525B52B   JOSEPH         LANE                     NM           90010651952
3342792387B471   BRANDON        COLLINS                  NC           90011169238
33428857A5598B   ANA            BERBER                   CA           49014558570
3342BA65A4B281   KYLEIGH        WALKER                   IA           90014790650
33431A4172B87B   SABRINA        CARVER                   ID           90013540417
33434377A41258   JOSHUA         JOHNSON                  PA           90010963770
3343649782B93B   CAPONE         GIRONDA                  CA           90003994978
334365A1851339   PAM            FIELDS                   OH           90014625018
3344142937B471   BRANDY         SMITH                    NC           90009534293
33443A18A91371   MARYJANE       SAALE                    KS           90014770180
3344467548B162   DAVID          ANDERSON                 UT           90013496754
33456A32551339   TIFFANY        SWAN                     OH           90014630325
33457154972B23   BRAD           EATON                    CO           33088551549
334593A352B87B   WILLIAM        SCHANZ                   ID           90006443035
3345996264124B   JON            HANSON                   PA           90014179626
33459A56251339   AJHEA          PRUDEN                   OH           90011600562
3345B487547931   MARY           MARRIOTT                 AR           90012814875
3345BA17A41258   NATE           THOMAS                   PA           90013950170
33461A1167B449   MILTON         JACKSON                  NC           90011780116
33463A76136143   ROXANNA        GAMBOA                   TX           90010910761
334641A2991584   NATALIE        MYERS                    TX           90007211029
33464AA1151369   PAUL           HALL                     OH           90010900011
3346598265B52B   GEORGE         GALLEGOS                 NM           90013769826
3347577522B871   IZAMARY        OLIVAS                   ID           90013097752
3347685975B52B   JOHN           MONTANO                  NM           90014828597
3347936838B16B   CONNER         VON ALMEN                UT           90007513683
3347B673641285   QUINCY         LOAN                     PA           90012916736
334812A4851369   JOHNY          JACKSON                  OH           90014752048
3348242722B871   JONELLE        BLACKER                  ID           90011534272
334835A645598B   HECTOR         URIAS                    CA           90014855064
3348639944B281   STEVEN         GARCIA                   NE           90014793994
33486587A51339   CATHY          WALTES                   OH           90014665870
3349257352B871   RON            ZECHMANN                 ID           42011665735
3349585942B87B   SABRINA        STAMPER                  ID           90013998594
33495A91A71939   TRUMAN         VAN AUKEN                CO           90012420910
3349864894124B   TYLER          DOLANCH                  PA           90004986489
334B6516351339   BRANDI         CRIHFIELD                OH           90014605163
334B6614336143   AUDREY         GARZA                    TX           90010276143
334BB71264B531   SPANISH        COVE LTZ LLC             OK           90006127126
33513451824B46   MICHELLE       BAILEY                   DC           90006414518
3351455252B871   MELISSA        COON                     ID           90006075525
33514A22541258   JUSTIN         MEYERS                   PA           90013950225
3351846935598B   JESUS          PENA                     CA           90011384693
3351847425B393   MARIE          RAMBUL                   OR           90011904742
3351B44944B943   JACOB          RICHARD                  TX           90002034494
3352142A391831   MICHAEL        OVERACK                  OK           90002964203
3352541897B492   BADER          ALRFOOH                  NC           90008064189
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33527A3664B943   GUSTAVO        VAZQUEZ                  TX           90012890366
335292A3351339   JESSICA        COMBS                    OH           90014672033
3352B5A3291831   JAMAEL         RICHARD                  OK           90008725032
3352B781291537   JUAN           FRANCO                   TX           90008997812
3353173268B162   MANUEL         TERRONES                 UT           90008067326
3353221978B162   MARQEL         LINO                     UT           90012872197
3353246284B281   AARON          TRAYNHAM                 NE           90014794628
3353649782B93B   CAPONE         GIRONDA                  CA           90003994978
3353892454B943   TAMIKA         LOCKWOOD                 TX           90009809245
3353B229751339   NICHOLAS       MILLER                   OH           90014502297
3354349352B871   ABIGAIL        LEACHMAN                 ID           90010814935
3354365882B835   ADEN           ALI APT E103             ID           90015066588
3354383695B52B   GABRIEL        SANCHEZ                  NM           90012878369
3354475189125B   BRIAN          PRIESTER                 GA           90000427518
3354612264124B   JAMES          BOTHA                    PA           90014181226
3354825134124B   MARTINA        PRICE                    PA           90011082513
3354B44125598B   DAVID          AGUIRRE                  CA           90010904412
3356373448B162   JEFFRIN        SANCHEZ                  UT           90010827344
335644A498B162   STEPHEN        SPARKS                   UT           90005424049
335662A724124B   BARINDER       SINGH                    PA           90000502072
3356B51268B162   SAMANTHA       BREITMEYER               UT           90008085126
33572179A4124B   SOYOUNG        CHOW                     PA           90014181790
33572331272B25   PATRICIA       SCURLES                  CO           90000943312
3357919A74124B   TYQUAN         DAVIS                    PA           90014181907
3357961697B471   JERCLL         ROBINSON                 NC           90011156169
3358461334B943   MARTIN         LOPEZ                    TX           90003596133
3358976715B393   SHAVONA        WILLIAMS                 OR           90013527671
3358B58A92B87B   RON            HOOKER                   ID           42074525809
3359573968B162   SHELEM         COLA                     UT           90012707396
3359821A94124B   ADAM           PHILIPS                  PA           90014182109
335B15A7455972   ALBERTO        BARRAZA                  CA           90010235074
335B259315B52B   NARCISO        NEVAREZ                  NM           90014545931
335B486735598B   DIAMOND        DIAMOND                  CA           90012668673
335B6A52A4124B   MONICA         GRIFFIN                  PA           90014180520
335B7A8235B393   JARED          BIRCHFIELD               OR           90007430823
3361221254124B   JAMES          BAZZANO                  PA           90014182125
33614924A54165   ANNA           MURRAY                   OR           90013319240
3361659595598B   MARIA          DOMINGUEZ                CA           90013885959
336172A3491831   RUSSELL        BLAN                     OK           90011892034
3362161895B52B   ROBERT         WILLIS                   NM           90007526189
3362286A851339   JENNY          SANDLIN                  OH           90013408608
3362451692B87B   SERGIO         ESPINOZA                 ID           90010625169
3362689815598B   MEAGAN         ALONSO                   CA           90005818981
3362766725598B   JEVON          WALDROP                  CA           90011326672
3362BA91391371   DANIEL         ALVARADO                 KS           29014430913
336382AAA8B16B   JOHSUA         NERIA                    UT           90010912000
336415A9241285   JEFF           HAZEL                    PA           90013885092
3364543388B16B   JOSEY          ABBOTT                   UT           90012934338
33645578A47931   LINDA          ALMARD                   AR           90014445780
33651A47791563   TANYA          BACA                     TX           75087970477
3366864682B87B   ALI            FATHI                    ID           90014346468
3367272A641285   NIKEYA         EACKLES                  PA           90013987206
33673A57291831   RICKY          WILLIAMS                 OK           21046340572
3367549395598B   ALBERTO        ORTIZ                    CA           90012054939
336771AA85598B   JOHN           PARKER                   CA           90012431008
33677A73991563   MARIO          NUNEZ                    TX           90011540739
3367854888B162   DAVENPORT      DAVID                    UT           90009775488
3367B117A91563   CHRISTINE      AGUILAR                  TX           90013311170
3368318858B16B   LELAND         LLOYD                    UT           90013881885
3368345152B871   ISABEL         LOPEZ                    ID           90011874515
3368425344B943   JAKAYLA        HOLLOWAY                 TX           90012652534
3368996A741285   KATTIE         SUMLER                   PA           90013279607
336965A8991831   KIARA          MACK                     OK           90014835089
3369732415B253   BORIS          MONTALVO-SOCARRAS        KY           90010733241
3369939945598B   BEVERLY        CUNNINGHAM               CA           90009173994
3369B631284378   RAMEL          HUNTER                   SC           90010996312
3369B72877B492   CHELSEA        CHILDERS                 NC           90009677287
336B1659491584   VICKY          SANCHEZ                  TX           75051986594
336B2625A8B162   BRENTA         EHL                      UT           90013776250
336B4836491563   MARTHA         BARRON                   TX           90012948364
336B9485391371   LETHEL         DAVIS                    KS           90008404853
336B959932B87B   MIKE           WOODWORD                 ID           90011145993
3371142532B87B   RACHEL         LUNA                     ID           90013124253
3371746617B449   RACHEL         ROBINSON                 NC           11097174661
3371947135B156   ROBERT         CROOS                    AR           90014104713
33721A4352B835   HARRY          KISTER                   ID           90009830435
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33725375A91831   JENIFER        BARRETT                  OK           90012783750
33728422A4124B   HENRY          CAVIL                    PA           90014184220
33728A4A791584   SANDRA         ARTALEJO                 TX           90007280407
33728A55791563   JOSE           HERRERA                  TX           90012640557
3373261A62B835   FLOYD          LAY                      ID           90013326106
3373652A44124B   GALE           ZILKO                    PA           90014185204
33737267A41285   RYAN           LIVINGSTON               PA           90010392670
3373B45884124B   STEVEN         GONSAR                   PA           90014184588
3374135A63B352   MICHAEL        CONKLIN                  CO           90004963506
33744443A2B87B   PU             AH                       ID           90012074430
33746225A33634   MELODY         ATKINS                   NC           90011552250
337534A445598B   NAOMI          ALVARADO                 CA           90013674044
3375436277B492   MARKEVIOUS     DURHAM                   NC           90011323627
33755952A47931   VIENGMANY      POUNTHAHEANGSY           AR           90013479520
3375867A841285   SHARON         BROWN                    PA           90012746708
3375985A52B871   ROBIN          SALINAS                  ID           90009978505
3375B96212B835   ZULEICA        ALCANTAR                 ID           90011349621
3376126A391831   VICTOR         POWERS                   OK           21029952603
3376565924124B   JOHN           CONKLIN                  PA           90014186592
3376566362B835   RON            ZECHMANN                 ID           90001996636
3376642235598B   ALICIA         CARBAJAL                 CA           90009184223
33766A8A455972   GINA           MUNOZ                    CA           90009390804
3376973578B162   GUADALUPE      ALCANTAR                 UT           90012737357
3376BA29741258   LASHAY         GALMER                   PA           90013400297
33772A14491831   SAMANTHA       REMICK                   OK           21063030144
3377789955598B   DANIEL         RODRIGUEZ                CA           90011038995
3377976932B835   CHALET         PRIETO                   ID           90005237693
33779A6545B393   ELISABETH      MARTIN                   OR           90010660654
3377B84A45598B   SHERRI         HESTER                   CA           90010188404
33781A18A51369   JASON          HUGHES                   OH           90009860180
3378419942B871   KENNETH        MUDD                     ID           90010291994
337851A7941285   NICK           CARPENTER                PA           90011021079
3378754A784378   EARNEST        BOZEMAN                  SC           90009735407
33788951A5B156   CARMELLA       CHAMBERS                 AR           90011949510
3379116645B52B   LORENZO        MORALES HERNANDEZ        NM           90012231664
33793666A5B52B   VALERIE        MONTOYA                  NM           90014036660
33796A78541258   JACQUELYNN     SMITH                    PA           90012000785
3379865684B943   JAVIER         BALDOMERO                TX           90011526568
33799256A47931   JONATHAN       HERNANDEZ                AR           90013282560
3379B41A72B87B   ERICA          FRONTERAS                ID           90007314107
3379B88154B281   MATTHEW        SCHULZE                  NE           90014808815
337B2245436143   VALENTINE      GARCIA                   TX           90011452454
337B78A5291831   TAD            SAMPSEL                  OK           90009398052
337BB377A91371   NAYELI         CARRILLO                 KS           90011253770
337BB39165B156   MICHELLE       PEARSON                  AR           90010963916
3381129767B492   LATOSHA        HANEY                    NC           90011952976
3381738877B449   JOSEPH V       ZOLTAK                   NC           90011793887
33818A2527B471   LANITIA        WESTBROOK                NC           90011160252
3381B516391371   ASHLEY         PECINA                   KS           90011265163
3382244262B835   DANIELLE       RASMUSSEN                ID           90012444426
33822897A2B871   LININGER       ROSE                     ID           90007568970
3382464877B449   CARA           KENNEY                   NC           11095026487
33826924A4B281   LAFAYETTE      NELSON                   NE           90011559240
33828291A8B16B   APRIL          APPLEBY                  UT           90013072910
33828619A8B16B   MARIA          VELAZQUEZ                UT           90011326190
3382B96558B162   CHRISTINE      MILLER                   UT           90007619655
33832455A4B943   PAOLA          RODRIGUEZ                TX           90010854550
33833377A91371   NAYELI         CARRILLO                 KS           90011253770
33833485A5598B   VERONICA       CASTRO                   CA           90010904850
33837A7665B156   MARQUIS        DAVIS                    AR           90014890766
3383B357991584   JULIAN         CORRAL                   TX           90007283579
338431A675B156   DEVANTE        WARE                     AR           90012191067
3384442728B162   MARTHA         LEMUS                    UT           90004364272
3384469978B162   HYRUM          RAWLINSON                UT           90014106997
33847131A41258   DANYELL        MOORE                    PA           90012641310
33848214A51339   COLLETTA       DAY                      OH           66060562140
3384827AA41258   SAM            SMITH                    PA           90013952700
3384B215A51369   DELORES        DICKEY                   OH           90013142150
3384B4A2855972   DAVID          RODRIGUEZ                CA           90010984028
3385462874124B   CRISEENA       JOHNSON                  PA           51096266287
3385926117B471   LUIS           MEJIA                    NC           90008682611
3385B949A5B393   LARRY          TOOLEY                   OR           90010709490
3386385A67B449   KENDALL        MAYS                     NC           90011018506
3386467338B16B   TREVER         WHITE                    UT           90015196733
338662A265B59B   AUDRIA         BILLER                   NM           35091212026
33869454A7B492   JAMES          EUBANKS                  NC           90009584540
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3386B46312B871   MOHAMMAD       MOHAMMADI                ID           42081444631
33872422A2B835   DUSTIN         HOOPER                   ID           90015094220
3387289878B16B   CHRISTOPHER    GALVIN                   UT           90011068987
3387519787B492   ANDERSON       JORDAN                   NC           90009731978
33877855A54165   MARY           MILLER                   OR           47021258550
338785AA75598B   ROSALINDA      PEREZ                    CA           90010905007
33884524A91543   MIREILLE       GUITERREZ                TX           90014615240
3389318384B943   TANYA          LEWIS                    TX           76596951838
33897479872B36   QUINCY         WILKINS III              CO           90007824798
3389949188B162   MARK           STIMSON                  UT           31081944918
338B999855598B   SABAS          GARCIA                   CA           49049129985
338BB79924B943   FRANCISCO      GUTIERREZ                TX           90014207992
33913A8673B132   JAVON          GILBERT                  DC           90011960867
3391552382B87B   TABITHA        JOHNSON                  ID           90014095238
3391968568B162   NAOMI          ORTEGA                   UT           90014606856
33919A48A5598B   LOU            VANG                     CA           49018120480
3392471128B16B   TYREN          BROWN                    UT           90013697112
3392748A641258   RONALD         LOCKWICH                 PA           51024594806
3392849A82B87B   WENDY          WEST                     ID           90014404908
3392B227A2B87B   STEPHEN        SMITH                    ID           90013132270
3392B25A85598B   ROSIE          GARCIA                   CA           90012742508
3392BA5252B87B   STEPHEN        SMITH                    ID           90013980525
339324A2A41258   NICOLE         PORTERFIELD              PA           90013954020
3393926A45598B   OLIVER         GODINEZ                  CA           49008572604
3393B59997B43B   TIMOTHY        NEAL                     NC           90009655999
3394686A251369   SHILO          BURCH                    OH           90009868602
3394715348B162   MARIA          VICENTE                  UT           90008581534
33957A4125B393   CASEY          BLACK                    OR           90011310412
3395926755598B   DANITA         GEARY                    CA           90011152675
3395965112B871   JUAN ALBERTO   CASTILLO                 ID           90012546511
3396113257B492   ERICA          NUNEZ                    NC           90011011325
339632A924B943   CHAKEERA       BROOKS                   TX           90011052092
3396334AA7B492   ISAM           HAJIBANA                 NC           90000683400
33964237A8B16B   KRISTA         BRYCE                    UT           90010172370
3396633172B87B   RODNEY         PENDLETON                ID           90014823317
3396864217B471   BRITTANY       NASH                     NC           90014156421
3397332193B161   JENNIFER       BURNEY                   DC           90001633219
3397655947B471   EDWIN          CHINCILLA                NC           90006855594
3398138357B639   AYANA          THREATT                  GA           90011133835
3398292345B536   LUIS           GUTIERREZ                NM           90011299234
3398446994B943   ALLEN          ROSEMORE                 TX           90012244699
339853A3755951   JESUS          ESCALERA                 CA           90009123037
33985735A55951   JOANA          BERNARDINO               CA           90012447350
339876A4691371   ADRIANA        DOMINGUEZ                KS           29086966046
33988A1815598B   ARTHURO        REYES                    CA           90013840181
3398911525B52B   ERIC           TELLES                   NM           90014071152
3398972292B87B   OLIVIA         FERGUSON                 ID           90010037229
3398B17278B16B   TRICIA         MAYO                     UT           90010971727
3399217534124B   OYBEK          BAVAJANOV                PA           90010881753
33992A25441285   JAY            BELL                     PA           90014360254
3399322965B393   JENNIFER       HARP                     OR           90014282296
33993AA118B162   RICARDO        MARTINEZ GUTIERREZ       UT           90015170011
3399688257B492   SHAMIA         BUSH                     NC           90009728825
3399718965B156   SARAH          GRULKE                   AR           90011101896
3399887474B943   DESTINY        TAYLOR                   TX           90014408747
339B166652B871   AMANDA         OLSEN                    ID           90007236665
339B3797991371   EDGAR          RAMIREZ                  KS           90012217979
339B962155598B   JAMES          JOHNSON                  CA           90012156215
339B987895598B   CATOLINA       VELASQUEZ                CA           90002588789
33B12784354165   KURTIS         DANIEL                   OR           90012187843
33B12A68491563   JERRY          DOMINGUEZ                TX           90012720684
33B1832544B281   DEON           FISHER                   NE           90014773254
33B18462891831   CHASIDY        EDENS                    OK           90013274628
33B19318A51339   SONYA          MCCULLER                 OH           90010613180
33B2425379125B   MIKE           GREEN                    GA           90014102537
33B27284751339   GARY           GILPIN                   OH           90011132847
33B2862744B943   JEMMIAH        MCGREW                   TX           90014406274
33B314A7841285   MARQUISE       MONTGOMERY               PA           90013884078
33B33517751339   MARCUS         CASH                     OH           90014575177
33B3428964B943   KASANDRA       GARZA                    TX           90012612896
33B3982597B471   FELICE         MCGRILL                  NC           90009028259
33B3B12818B16B   VALEERO        ENRIGUE                  UT           90001441281
33B3B61842B87B   JESSICA        CORNING                  ID           90003416184
33B3B81797B492   RANDI          BRIDGES                  NC           90005468179
33B41918655972   VERONICA       ACOSTA                   CA           90011099186
33B43648991563   OMAR           HERNANDEZ                TX           90013286489
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33B4519A644B26   MICHALE            MARASCH              OH           90014551906
33B45878491525   JULIAN             VEGA                 TX           90010388784
33B4772445B393   MITCHELL           MILLER               OR           44592517244
33B47933251369   JESSICA            WELLS                OH           66099039332
33B48262291371   DENNIS             PARKER               KS           90012752622
33B4B32415B156   ERNEST             PORTER               AR           90011483241
33B4B44A955972   DANIEL             CABRAL               CA           48091974409
33B4B77727B492   CHARLENE           COSTNER              NC           90011317772
33B5435734B281   TAMAR              KNIGHT               NE           90014773573
33B5558524B943   NICOLE             GUILBEAU             TX           90010365852
33B587A3A91563   ASHLEY             RODRIGUEZ            TX           90011307030
33B5978A472441   CAROL              COLLINS              PA           90010747804
33B6154585B536   AURELIO            CORRAL               NM           90005335458
33B62829231444   TEANNA             SMITH                MO           90004098292
33B64349491831   DAUNTREL           MOORE                OK           90012843494
33B64682441285   ERIK               HARGRAVES            PA           90011406824
33B65171855972   JACQUELINE         MAGOON               CA           90004891718
33B67193641285   ALAINA             DEMUS                PA           90010261936
33B68A5544B943   CHRISTIE           APLON                TX           90012710554
33B692A632B835   CATIE              SUTHERLAND           ID           42073222063
33B6998785B52B   ROBERT             LEIJA                NM           90011049878
33B6B599255972   ANA                ESTRADA              CA           90013095992
33B74544355972   ANA                SANCHEZ              CA           90010685443
33B74974461921   CLAY               PHILPS               CA           46000519744
33B7614417B449   ENRIQUE            GONZALEZ             NC           90011861441
33B78AA8161993   MICHAEL            COLON                CA           90001990081
33B7B22144B943   DEBBIE             GARZA                TX           90012862214
33B7B53784B943   RAMONA             WILSON               TX           90013995378
33B7B79715B52B   MAYA               MADERA               NM           35026817971
33B8121335598B   ERIC               MARTINEZ             CA           90014452133
33B87717651339   JAMILY             BUSH                 OH           90014497176
33B8857AA7B492   MIRANDA            BLACK                NC           90007995700
33B8B823151369   LIONEL             BROWN                OH           90013938231
33B9211647B384   ELVIS              DIAZ                 VA           90002921164
33B93246191831   ELAINE             WILLIAMS             OK           21088862461
33B944A562B87B   AMY                MARSHALL             ID           90011954056
33B95173A4124B   ELECTA             RAWLS                PA           90002781730
33B9574A18B16B   AMBER              STODDARD             UT           31042427401
33B9748384B281   JAMAR              BLACKBURN            NE           90014774838
33B97854951369   BEJAMIN            HAMBRICK             KY           90013938549
33B9975517B639   SHAMOAN            TOOMBS               GA           90011087551
33B9991725B52B   RUFINO             VARELA               NM           90009159172
33B9B2A4554165   ANDREW             PERTON               OR           90013932045
33BB2858984378   MARIA              JUAN                 SC           90009688589
33BB4182A8B16B   CURTIS             KISH                 UT           90013981820
33BB53A112B871   JARED              BLICKENSTAFF         ID           90014773011
33BB5532655972   RICHARD            PICANSO              CA           90014435326
33BB6516391371   GABRIELA DANIELA   MARTINEZ             KS           90012405163
33BB6A7515B52B   TANYA              SEDILLO              NM           90010770751
33BB8911891893   HEATHER            WARD                 OK           90010659118
33BB89A1954165   JENA               MOORE                OR           90012519019
33BBB32654B943   MONDAI             RUBIN                TX           90012843265
3411583425B393   CHRISTINA          KNATT                OR           90009738342
3411772325598B   MICHAEL            FITZPATRICK          CA           49068677232
3411843555B156   KARISSA            VEASEY               AR           90013894355
34118A53A8B16B   BRENT              BLANCH               UT           31011920530
3411957664B547   KHALID             ALOTHMAN             OK           90010685766
3411974A64B542   JOEY               KHALIQ               OK           90014577406
3411B49347B639   MARLA              MITCHELL             GA           90010484934
34122A4654124B   JASON              BELL                 PA           90012720465
34122A5664B281   MARIA              SEBASTIAN            NE           90012580566
34122A67931424   PETER              ANDERSON             MO           27587450679
34123311272B76   MIGUEL             CERON                CO           90000373112
34124A89455972   JESSICA            GOAD                 CA           90013890894
341256AAA41285   KATIE              SMERECKY             PA           90012866000
3412665574B943   KENNETH            BARLOW               TX           90009736557
3412717778B16B   LAURA              ROE                  UT           90013991777
3412862757B639   EDGAR              GOMEZ                GA           90012236275
34129114A91563   AMELIA             RODRIGUEZ            TX           90008531140
3412B633391563   BENJAMIN           GALVEZ               TX           90009696333
341311A832B835   BRENT              MASSEY               ID           90012211083
34131749A91831   SHANE              KENNEDY              OK           90007977490
34131A92491831   SHANE              KENNEDY              OK           90015220924
3413265187B492   DANIEL             MORENO SILVA         NC           90011466518
34133773A54165   ROBERT             PERRY                OR           90014687730
34133A75761963   TOMAS              SILVA                CA           90011300757
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3413548877B639   DEMETRICA        JAMES                  GA           90013114887
3413569485598B   GINA             SOLIS                  CA           49064396948
3413579454B281   SCOTT            KLEMMENSEN             NE           27098507945
34135A26454165   TANEESHA         GRAHAM                 OR           90011750264
341394A6554165   BRITNEY          SEIDERS                OR           90013644065
3413982212B835   THOMAS           FREINWALD              ID           90014738221
34139A4697B492   MONSHKA          BOYD                   NC           90011000469
3414244AA41258   MICHAEL          WASHINGTON             PA           90013044400
3414837737B449   NINA             LESLIE                 NC           90005563773
3414843128B16B   WILLIAM          CARTER                 UT           90015094312
3414851222B835   MARIBEL          VARGAS                 ID           90012445122
3414B946691563   MARISOL          ZAMUDIO                TX           90011929466
3415462545B393   DEANDRE          MENDOZA                OR           90013476254
3415877332B87B   JORDAN           SMITH                  ID           90013437733
3415B55557B639   GEORGE           GUICHET                GA           90008585555
341615A535B52B   JASON            BOHANNON               NM           90014155053
34162A24A41258   TEMIYA           PARKER                 PA           90009080240
34165517672B76   TIMOTHY          SULLIVAN               CO           33080015176
3416633172B87B   RODNEY           PENDLETON              ID           90014823317
3417116144B281   NIJAH            TYLER                  NE           90011071614
3417162692B835   CRYSTAL          INGERSON               ID           90010186269
34175582A4B989   ELLA             HILL                   TX           76513455820
3417931995B52B   ERIKA            WINNIEKOFF             NM           90002023199
3418922622B835   TAMMY            WELLS                  ID           90000822262
3418979432B93B   DEEP             SOUTH                  CA           90013697943
3418B81724B54B   MIRACLE          SIMMONS                OK           90012448172
3419134572B871   STEVE            BURTON                 ID           90008793457
3419882947B639   CRYSTAL          BUTLER                 GA           90013968294
3419913325598B   KRISTOL          RAMOS                  CA           90011491332
341B42A8855972   LUIS             LARIOS                 CA           90013812088
341B986482B835   YVETTE           NORMAN                 ID           90014038648
341BBA2347B471   MICHAEL          EARLY                  AL           11028660234
3421167652B93B   ESMERALDA        ALBERTO                CA           90012866765
3421188A95598B   ELENA            REYES                  CA           90012788809
3421684515598B   JESSICA          LOPEZ                  CA           90005678451
3421816847B639   XAVIER           BILLINGSLEY            GA           90011011684
3421859A65598B   ALFONSO          SERVINZAMUDIO          CA           90011445906
3421987177B639   AJOULONDAY       MATHIS                 GA           90010068717
3421B12A44124B   RASHAUN          HUMPHREY               PA           90013901204
3421BA61655972   MICAELA          ALLES                  CA           90009670616
3422114494B281   FREDY            RAMOS                  NE           90010321449
3422311447B639   LEONIE           MORGAN                 AL           90011011144
342236A1531424   STACIA           HUGHLEY                MO           90010206015
34223A59761963   CHRIS            OBERT                  CA           46065710597
34223AA1136B77   KRISSY           DUBOIS                 OR           44571510011
34225522A72468   ROBERT           NETTING                PA           90008735220
3422767584B281   THOMAS PATRICK   GOONAN                 NE           90005706758
34231A1342B93B   CHRISTY          PROCTOR                CA           90010900134
342324A537B449   BRANDON          TAYLOR                 NC           90013284053
3423484814B281   BRENDA           LOPEZ                  NE           27051928481
34234A5612B93B   MARIA            TOVAR                  CA           90014540561
3423723564B281   BRITTNEY         DAVIS                  IA           90012702356
3423841824B281   PAUL             HAWS                   NE           27052824182
3423968485B52B   CARLOS           DURAN                  NM           90014946848
3423B275231424   WILLIE           PARTRIDGE-WALSH        MO           90011122752
342431A714124B   JEFF             LOGAN                  PA           51039691071
34249169A5B393   MICHAEL          BAIRD                  OR           90006691690
3425196148B16B   ANGELO           ESCOBEDO               UT           90013949614
3425284945B156   CHALUKANA        JONES                  AR           90003238494
3425415252B93B   EVERETT          JOHNSTON               CA           90012241525
34255173A5598B   MICHAEL          PEREDA                 CA           90013461730
3425625995B52B   SUSAN            DARLING                NM           90012552599
3425765195B156   SHERIKA          LAMB                   AR           90013756519
342581AAA51339   CHAD             WILLIAMS               OH           90005191000
34259A3A64B281   BRIAN            CHMURA                 NE           90012160306
3425B29425598B   ALICIA           LOPEZ                  CA           90014822942
3425B9A394124B   MICHELLEL        JOHNSON                PA           90013889039
342621A952B871   JOSUE            ORTEGA                 ID           90005151095
34264727A5B52B   MAX              MULLEN                 NM           90014097270
34268233A41258   SHARLANAE        COOK                   PA           90014622330
3426957245B393   MIKE             GRITMAN                OR           90012695724
3426957637B492   JOSHUA           MILLER                 NC           90010735763
34271341A72455   RENEE            EILER                  PA           51007603410
34271981A2B87B   IRENE            LAGUNAS                ID           90011359810
34273945436B77   STEVEN           SCHMITT                OR           90013659454
3428139887B639   RUBY             CALHOUN                GA           90014873988
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3428236A455972   SELMA             LOPEZ                 CA           90010183604
3428366635598B   ELIZABETH         PROVOST               CA           90004526663
3428662975598B   EMILY             ALVAREZ               CA           90012186297
342867A4861963   ROBERTO           NAVARRO               CA           90012157048
3428733395B52B   CORINA            ROSALES               NM           35017903339
3428774422B87B   JESSICA           HOWINGTON             ID           90013157442
3428837534124B   SEAN              NESBITT               PA           90010163753
3428985644B943   ISAIAS            MORN                  TX           90003708564
3429175877B639   BRUCE             KEITH                 GA           90008857587
34293A7382B87B   PATRICK           HEINTZ                ID           90012790738
3429581744124B   KORRIN            ALFORD                PA           90008538174
342B2813447931   SHANNON           GOBER                 AR           25014998134
342B294A385688   THOMAS            BECHTEL               NJ           90008199403
342B572755132B   SAMUEL            CAMPBELL              OH           90005327275
342B8517172B76   ROGER             BACA                  CO           90002905171
342B856948B16B   MICHAEL           HARBAUGH              UT           31052525694
342B87A8A91563   CYNTHIA           HERNANDEZ             TX           90009467080
342B9258851339   MARY              WATSON                OH           90013922588
342BB944A84381   TANIKA            THOMPSON              SC           90010869440
3431279247B639   ANDREA            MARTIN                AL           90012237924
3431332517B639   JACQUELINE        POSEY                 GA           90011013251
3431447255598B   MARIE             BERNAL                CA           90010634725
343172A7991831   TAMIKA            JONES                 OK           90008892079
34324459A61924   TRACY             BENNETT               CA           90013944590
3432964518B16B   CINDY             JENSEN                UT           31094616451
3432B132855972   LORRI             REQUEJO               CA           90014321328
3433225697B492   DONZELL           WILLIAMS              NC           90013012569
3433228387B639   GREG              JACKSON               GA           90011122838
343335A5A41285   GLENN             WEATHERS              PA           51031215050
3433429732B87B   VICTORIA          GARCIA                ID           90014032973
343373AA847976   PHILIP            WITCHER               AR           90011563008
3434186594124B   MARQUISE          SHEPHERD              PA           90013958659
3434B79845B156   ANTWON            STATON                AR           90012507984
3434B835A55972   EVA               LICON                 CA           90013138350
3435218797B639   DONALD            HUNTER                GA           90014031879
3435389A25598B   FRANCISCO         BENTALPUK             CA           90012488902
3435418795B393   BOB               MARTIN                OR           90013501879
3436435382B93B   TRISTAN           AVIS                  CA           90012883538
343685A168B16B   STEPHANIE         WADE                  UT           90011105016
3436952A17B639   BRITTANY          SALAZAR               GA           15001695201
3436B627A2B87B   FERNANDO          ALVAREZ               ID           90002526270
3436B835741258   DMONEY            EXIT                  PA           90012378357
343714A695B156   LOUISE            GARRETT               AR           90010994069
3437161335598B   JUSTIN            ROBINSON              CA           90011456133
3437267174124B   JUSTIN            GRIFFIN               PA           90010276717
343741A145B156   SESLIE            JONES                 AR           90012071014
3437524142B835   TRACE             MARTIN                ID           90010632414
3437538192B871   JOSE              RODRIGUEZ             ID           90014753819
34378137A7B449   CHIRIS            HOUSTON               NC           90013041370
3437925697B492   BRIAN             DAVIS                 NC           90012252569
3438183992B93B   JOSE              MADRIGAL              CA           90012268399
3438249318B16B   MARIA             ROSAS                 UT           90012374931
3438573762B87B   DELIA             LERI                  ID           90015117376
34386A9735B52B   JASON ALEJANDRO   RODRIGUEZ             NM           90010280973
3438B73287B449   SEVERIANO         NAVARRO               NC           90014137328
3438B83142B835   HOLLY             KIMBRELL              ID           90012138314
3439471327B449   VIVIAN            LOVE                  NC           90011577132
3439582588B16B   JANICA            MCCLOUD               UT           90010348258
3439B6A5151339   JENNIFER          COOK                  OH           90011016051
3439B919155972   HOANG VAN THI     TRAN                  CA           90012369191
343B535A654165   RICHARD           ROEBUCK               OR           90011763506
343B6685755972   JOSE              FLORES                CA           90013936857
343B72AAA61945   CEDRIC            MC GOWIN              CA           90001842000
3441341A541285   MITZI             HAMPE-BROOKS          PA           51087984105
3441946AA2B87B   ERIC              BROCKBANK             ID           90013274600
3442135A47B43B   SHAWNTEL          HOBSON                NC           11014903504
34427717A4124B   RONALD            PRICE                 PA           90015117170
3442839A44B943   VANESSA           SWAN                  TX           90004493904
3442923A55B393   MICKI             KING                  OR           44570422305
3442B63327B492   SHANTINEYA        HOWELL                NC           90015126332
3442B77487B639   RUSSELL           PEARCE                GA           15012017748
3443142A87B639   BRANDI            COPENNY               AL           90011144208
3443155492B871   SALLY             JOHNSON               ID           90003845549
34432124A31424   SHUNICE           MITCHELL              MO           90006901240
3443377295B393   RUBIE             RODRIGUEZ             OR           90012837729
3444155355B52B   SERGIO            CIGARROA              NM           90011925535
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3444271327B449   VIVIAN           LOVE                    NC           90011577132
3445145565B545   RENEE            OLAVE                   NM           90011524556
3445377285B52B   TIFFANY          BURTE                   NM           90014327728
3445882945598B   DAYJANIQUE       BROWN                   CA           90011858294
3445981832B871   RICARDO          SANCHEZ                 ID           90008598183
3445B36155598B   SERGIO           ALVAREZ                 CA           90013983615
3445B61A661963   DENISE           GARRETT                 CA           46077136106
344634A644124B   JOHN             RAY                     PA           90014144064
3446983587B639   LORY             CAMPBELL                GA           90010118358
3446B43A87B639   CHINIKACHATMAN   CHATMAN                 GA           90011034308
3447428922B93B   MICHALE          YATES                   CA           90012532892
3447775727B449   MARIO            ELLIOT                  NC           90013767572
34479514A91563   LETY             GARCIA                  TX           90012135140
3447B28928B16B   TRACY            STANISLAWSKI            UT           90008622892
3448243335B156   BRITTNEY         SEBASTIAN               AR           90013524333
3448376884B563   PAMELA           CASTLE                  OK           90001067688
34491A8873B152   MAYA             WARREN                  DC           90008100887
3449291A62B87B   NICHOLAS         NELSON                  ID           90011429106
3449B39847B449   CHRIS            SCOTT                   NC           90001393984
344B116967B639   NAOMI            DAVENPORT               GA           90012581696
344B134A361963   PAULINE          MARTINEZ                CA           46053343403
344B13A7661963   TAYLOR           NEAO                    CA           90014543076
344B441165B52B   ROSA             ANCHONDO                NM           90012174116
344B4A8278B273   ANGELA           DARLING                 VT           90014220827
344B5986141277   SHIRLEY          EDWELL                  PA           90014199861
344B6712554165   DAKOTA           SKYE                    OR           90013847125
344BB23617B492   RACHEL           TORRES                  NC           90004022361
34511817A2B834   THOMAS           CURL                    ID           42019718170
3451185867B449   LINDA            SALAZAR                 NC           90013458586
34511A65261963   ALAN             FIELD                   CA           90013000652
3451341552B835   TERESA           CENISEROS               ID           90013544155
3451373177B639   NINA             COPPER                  AL           90014727317
34517411A7B449   TASHIA           WILSON                  NC           90011104110
345193A5255972   ARLENE           MATNEY                  CA           48015873052
345238A4891831   DALE             WERTS                   OK           90011168048
345246A118B16B   GUTIERREZ        JENNIFER                UT           90000676011
3452B595991837   CHARLES          ZIPP                    OK           90011085959
3453B163A7B639   ELKI             VAZQOEZ                 GA           90012411630
3453B394755972   RICHARD          ST CLAIR                CA           90011453947
3454255547B639   PORTIA           MAYE                    GA           90012505554
34543AA9441285   JASON            HANN                    PA           90012680094
345445A882B871   TONY             RITCHIE                 ID           42096835088
3454588A585943   ANTWON           LEWIS                   KY           90011938805
345513A9841277   STEPHANIE        WESTFALL                PA           90005413098
3455155A62B871   MIGUEL ANGEL     AGUIRRE                 ID           90011825506
34554A67291563   MARIA            VILLALOBOS              TX           75089500672
3455595154B943   PAULA            DAIGLE                  TX           90008379515
3455864919125B   MARCUS           LUCKY                   GA           90001456491
34561AA8941258   HOPE             FLETHER                 PA           90012230089
3456247785598B   GISSEL           CALDERON                CA           90012934778
3456386A87B492   ERIC             HANG                    NC           90010748608
3456518525B52B   SHAVON           WILLSON                 NM           35090841852
3456755312B93B   DANIEL           COBB                    CA           90009375531
34567786A31424   BYUNGHEE         PARK                    MO           90007687860
34578A8854124B   DARREN           MOORE                   PA           51014300885
3457B233491563   NICOLAS          PLACENCIA               TX           75081672334
3458234587B43B   MARCIA           CALDERN                 NC           90003443458
3458458452B93B   MELISSA          RUIZ                    CA           90010975845
3458727532B93B   CAROLINA         SALGADO                 CA           90012102753
345885A884B281   KATTY            ARIAS                   NE           90007095088
3458983247B639   TIFFANY          KIMBROUGH               GA           15041148324
3458B188691831   NICHOLAS         CORLEY                  OK           90010981886
3459376A531424   MARK             SEYMORE                 MO           90010857605
34594522A55939   NOE              FRAUSTO                 CA           90006085220
3459489327B639   JOSE             MATEO                   GA           90010508932
34596775898B26   MIASHA           MCDOWELL                NC           90010807758
3459835687B492   JERRY            ADAMS                   NC           90013903568
345B11A252B871   MEAGAN           HAYES                   ID           90013381025
345B247645B393   SEAN             ISON                    OR           90014834764
345B647425B393   KAREN            LOWE                    OR           90012074742
345B6874655972   PEDA             SANCHEZ                 CA           90011928746
345B711A461963   CHAD             ALVAREZ                 CA           90004761104
345B942112B871   HOWARD           MCDANIEL                ID           42062384211
345B993365B393   CHRISTINA        HENRY                   OR           90013799336
345BB771955951   JOANNA           LOMELI                  CA           90005627719
3461225297B639   MARCIA           WILLIAMS                GA           90014122529
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3461925297B639   MARCIA         WILLIAMS                 GA           90014122529
3461997542B93B   MICHELLE       YEAGER                   CA           90010919754
3461B25297B639   MARCIA         WILLIAMS                 GA           90014122529
3462333A37B449   IVAN           SANCHEZ TORRES           NC           90012923303
3462645A67B449   TIEASH         DANTZLER                 NC           90014574506
3462789947B43B   FELICIA        COLEMAN                  NC           11016098994
346321A767B492   ARSENIO        HAMILTON                 NC           90011001076
34633A66191563   RICARDO        MENDEZ                   NM           75082340661
3463846795B156   RONNIE         JOHNSON                  AR           90014864679
3464126527B639   TIMOTHY        PATTON                   GA           15086822652
346419A485598B   DAVID          MARTINEZ                 CA           90012769048
34645A74255972   DAVID          GONZALEZ                 CA           90015240742
3464612922B871   ALEX           GOLDSTON                 ID           90009501292
34646181A7B639   ZANDRA         JACKSON                  GA           90012001810
346475A1141285   KRISTEN        DELO                     PA           90013675011
3464768397753B   MELISSA        COLEMAN                  NV           90004986839
3465411762B87B   VINCENT        LAYTON                   ID           90013821176
3465474278B16B   JOSEPH         OLIVE                    UT           90014627427
34654A2A14124B   SAMANTHA       GRIMM                    PA           90012710201
3465B19735B253   TUNYA          WILLIAMSON               KY           68041501973
3466734552B87B   JAMES          ZIES                     ID           90005723455
3466781A955972   ANTONIO        CARDENAS-CHAVEZ          CA           90012628109
3466861965B156   ANGEL          BARNOM                   AR           90011006196
34671A5538B16B   ANDREW         MYERS                    UT           90012520553
34671A6277B492   ROBERT         MAYER                    NC           90012030627
3467492665B393   JESSICA        SUMANO                   OR           90006419266
34675936A5B52B   MONIQUE        SALAS                    NM           90012619360
3467665388B16B   CAROLINA       BARRIOS                  UT           90009276538
3467821815B393   SHAWNTAE       JOHNSON                  OR           44510662181
3468182475B156   CASSANDRA      SMITH                    AR           23093578247
346824A547B639   LATOSHA        MUFF                     GA           90011054054
34683A19291831   JOEL           SEWELL                   OK           90007990192
34684434A5598B   BOUALAY        INTHAVONG                CA           90013014340
34688982A7B359   OCDULIO        CASTANEDA                VA           90009139820
3468944838B16B   STEVEN         MORITZ                   UT           90010884483
3468967827B449   SHIVON         JOLLY                    NC           90014846782
3468B142961963   HUMBERTO       ZEPEDA                   CA           90012991429
3469186252B87B   KRISTINA       DELAGARZA                ID           90013588625
3469615264B281   LATRINA        ABERNATHY                NE           90008711526
3469824A62B93B   NATASHA        VARGAS                   CA           90013282406
3469952198B16B   VALERIE        LARKINS                  UT           90014765219
3469B84515598B   JESSICA        LOPEZ                    CA           90005678451
346B1A59291831   JONATHAN       SMITH                    OK           90004730592
346B256858B16B   IRVING         GARNICA                  UT           90014965685
346B388668B16B   GUSTAVO        REGUS                    UT           90014778866
346B439462B93B   STEVEN         MENDEZ                   CA           90011713946
346B8AA1A7B449   JUAN           VELASQUEZ                NC           90015090010
3471379955B52B   KEVIN          CAHALO                   NM           90014097995
3471734524B562   KEEGAN         EISENHARDT               OK           90011603452
34719AA9831424   TRACEY         THINGPEN                 MO           90008550098
3472111135B393   CHERYL         CLARK                    OR           90011181113
3472634554B281   TAMMIE         ARMSTRONG                IA           27042593455
3473131537B639   DONALD         TOLBERT                  GA           90014153153
3473342A74124B   WALTER         STEVENS                  PA           51074944207
3473813827B492   TIA            SIHABOT                  NC           90013541382
3473B82678B16B   KEONI          P RUNNELS                UT           90010358267
3474475A155972   ABEE           ALVAREZ                  CA           90012997501
3474868757B639   JAMAL          GREER                    AL           90014156875
3474898787B449   DAVID          RATLIFF JR               NC           90013819878
3474B18977B449   MARCELLUS      JONES                    NC           90007861897
3475549674124B   NICOLE         WOODON                   PA           90011134967
3475561A461963   MICHAEL        FORDHAND                 CA           90011946104
3475564415B37B   LISA           HUBBARD                  OR           90008196441
3475742414B943   RAY            BRICKEY                  TX           90006234241
34758254A2B835   ROCKY          YORK                     ID           90008592540
347615A575598B   ADRIANA        SEPULVEDA                CA           90003875057
34762A5635B156   BENJAMIN       HILL                     AR           90015120563
3476493162B871   CHARLES        KIRKPATRICK              ID           90012259316
3476521985598B   MARCELINO      GONZALEZ                 CA           90010512198
34765881A91563   AILEEN         AGUILAR                  TX           90009678810
3476625742B93B   OWAYSHA        BROWN                    CA           90014542574
34766275772B76   ROSSI          GOMEZ                    CO           33080622757
3476753A42B87B   STEPHANE       GONZALEZ                 ID           90012145304
3476911762B87B   VINCENT        LAYTON                   ID           90013821176
3476B62545B253   JOHN           WINFIELD                 KY           68005016254
3477482A131424   ARNEL          ALLEN                    MO           90010588201
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3477572495598B   EDUARDO        MARTINEZ                 CA           49006497249
3477725232B93B   DORA           TAFOYA                   CA           45097742523
347798AA52B93B   GUILLERMO      GARCIA                   CA           90011138005
3477B74135598B   LEOBARDO       SANTIAGO                 CA           90001897413
3478396114B281   CHRISTOPHER    BROWN                    IA           90014969611
3478494754B281   MYLA           SHEPPARD                 NE           90013599475
34785A6217B43B   CHAQUISE       SIMELTON                 NC           90012750621
3478642A62B871   ANA            REYES                    ID           90011764206
3478863715598B   AIOTEST1       DONOTTOUCH               CA           90015116371
347893A3755951   JESUS          ESCALERA                 CA           90009123037
3479135222B835   SAVANNAH       PETERSEN                 ID           90013623522
3479327445B393   WINTER         ROSE                     OR           90012212744
34793A9549152B   JOSE           LUNA RESENDIZ            TX           90010770954
3479533642B835   ABEL           CASTILLO                 ID           90010673364
3479569987B639   ANDY           BROWN                    GA           90014386998
3479641555B52B   CHRISTINE      GARZA                    NM           35013414155
3479744675598B   MARCO          GARCIA                   CA           90010524467
3479797215B52B   JOEL           PEREZ                    NM           90014099721
34797A1A891831   OLINDA         SALDIVAR                 OK           90011980108
347B177A354165   RONALD         KOPE                     OR           90012627703
347B418495598B   LEWIS          LARRY                    CA           90010511849
3481137584B281   ANTHONY        WARE                     NE           90010983758
3481257862B93B   DAVID          GOMEZ                    CA           90012725786
3481451A37B449   DIMAS          SALDIVA                  NC           90013405103
3481B81A77B492   GLENN          BREWER                   NC           90012828107
3482134A24B281   JENNIFER       MINSHALL                 NE           90010513402
348311A6161963   RICHARD        HEDGPETH                 CA           90014451061
34831458A7B639   DELMAR         PEREZ                    GA           90014164580
3483298AA4B281   ERIC           WASHINGTON-MCKINNEY      NE           90003089800
348338A9161963   RICHARD        HEATH                    CA           90014078091
34833A69836B77   DALE           RENTZ                    OR           90012230698
3483652277B449   DWIGHT         GERALD                   NC           90012915227
3483663875598B   AIOTEST1       DONOTTOUCH               CA           90015116387
3484286482B835   YVETTE         NORMAN                   ID           90014038648
3484518777B492   FEDERICO       ROJAS                    NC           90002871877
34845A55241258   DERRICK        ESTES                    PA           90014460552
3484663437B449   TIARA          MOBLEY                   NC           90014686343
3485263875598B   AIOTEST1       DONOTTOUCH               CA           90015116387
3485366845598B   PIAYENE        MOUA                     CA           90011456684
3485848295B393   BRYAN          DOWLING                  OR           90009594829
34862A3238B16B   KRISTA         WHITELEY                 UT           31037240323
34865A5A77B449   LONNIE         BROWN                    NC           90011980507
34866228974B7B   MICHELLE       PRICE                    OH           90014872289
3486897A82B871   ROSY           GONSALEZ                 ID           90013329708
3486B257941258   BETHANY        DERBY                    PA           90012182579
3487237167B492   EVELENE        BROWN                    NC           90010893716
3487459385B156   JENNIFER       OBARR                    AR           90012915938
3487492413B365   SUSAN          CORBIN                   CO           33050689241
34875693A9125B   VERNARD        JONES                    GA           90002726930
3487888A35B393   JAMES          PARKER                   OR           90003128803
3487B12662B871   TAMMY          SNOW                     ID           90012361266
3487B237A5B52B   NATHANIEL      HOEFER                   NM           90013072370
3488549857B492   NARENI         SILVD                    NC           90007334985
34886639A41258   LARAI          JOYNER                   PA           90013596390
3488689252B93B   DAVID          MOORE                    CA           90007408925
3488B36AA91563   JUAN           VERDUGO                  TX           90013833600
3489221455B156   LADEIDRA       MOORE                    AR           90013622145
34893A35951339   BRIDGETTE      ADAMS                    OH           90007760359
3489691A441258   MIKE           VITOVICH                 PA           90004849104
3489B162941285   LENORA         CORNICK                  PA           90013961629
3489B316255972   AMY            JUAREZ                   CA           48094023162
348B1386A4B281   HILARIO        SMITH                    NE           90013223860
348B1443491538   STEPHANIE      ARMENDARIZ               TX           90013154434
348B184A491885   LORRAINE       PEREZ                    OK           90001378404
348B359A92B93B   JAMIL          TALIB                    CA           90012615909
348B4544631424   DONNELLA       BUFORD-LOVE              MO           90010435446
348B577745B52B   KIMBERLY       CASTILLO                 NM           90012977774
348B5888455972   KAYCEE         SMITH                    CA           90013158884
348B59A5361963   MIKE           HAWK                     CA           90012239053
348B5A92A4B281   RAFAELA        CRUZ                     NE           90009570920
348B9115A7B639   YVETTE         DANIELS                  GA           90007501150
348B94AA85B393   LACY           TURLEY                   OR           90012734008
348BB95A472B32   TREIVA-MARIA   JOHNSON                  CO           90004919504
34911683A8B16B   ANDREW         ADAMS                    UT           90014736830
3491351A191232   VERONICA       FIELDS                   GA           90009645101
3491412A98B16B   PARKER         AMY                      UT           90009011209
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3491551755B393   PATRICIA       CRUZ MOLINA              OR           90015125175
3491663875598B   AIOTEST1       DONOTTOUCH               CA           90015116387
34918A57891563   ANGELICA       GURROLA                  TX           90010100578
3492438832B93B   BILLY          PEREZ                    CA           90012743883
349294AA97B449   MODESTO        NAVARRO MARTINEZ         NC           90013194009
3493372795598B   GUADALUPE      GAMEZ                    CA           90012337279
3493412737B639   SHANTAVIA      HERBERT                  GA           90012121273
34935892A91831   DENISE         MEADOWS                  OK           90012718920
349448A597B449   JOSE           CHAVEZ                   NC           90009928059
3494851682B835   SHAUNA         BUTTARS                  ID           90011085168
3494971A95B156   ELIZABETH      MAGSSY                   AR           90013757109
3495167692B871   KIMBERLY       FREEMAN                  ID           90003396769
3495271664B542   TAMICCA        JONES                    OK           90014727166
3495689A961963   TRINIDAD       JACINTO                  CA           90011578909
34956A3775B393   ROSMERI        GUSMAN                   OR           90006850377
3496559199125B   MONIKA         POLITE                   GA           90001115919
34965A53991563   KASSANDRA      LUCERO                   TX           90003610539
3496651A141258   SAVANNAH       KEIBLER                  PA           90013615101
3496674812B835   THOMAS         BROWN                    ID           90011067481
3496697542B93B   MICHELLE       YEAGER                   CA           90010919754
34966A39741258   WAYNE          HEGERTY                  PA           51050050397
349671A578B179   JASON          WRIGHT                   UT           90013321057
3496785898B179   JASON          WRIGHT                   UT           90011138589
349679A512B835   DIANA          GAMMEL                   ID           90013209051
3496B68A491831   MELISSA        BOESE                    OK           21050966804
349729A452B93B   JENNY          SANDOVAL                 CA           90011259045
3497535987B449   LARRY          HUNTLEY                  NC           90014653598
3497812625B393   IGNACIO        RUIZ                     OR           90002821262
3497B6A3991831   CHELSEA        DUNCAN                   OK           90012596039
349816A634B562   JAMIE          PALERINO                 OK           90006246063
349922A558B124   LISA           SCOTT                    UT           90001182055
3499442A85B393   SAMUEL         ORTIZ                    OR           90013054208
3499473742B835   MAKENNA        SCHULER                  ID           90013967374
3499486584B597   MATTHEW        BELLAH                   OK           90010718658
34996457A5598B   NORMA          TORRECILLAS              CA           90000934570
3499684427B639   LAMAR          SLAUGHTER                GA           90014768442
3499944322B93B   ANDREA         COLLINS                  CA           90011264432
3499B25322B87B   JOHNNY         TOVAR                    ID           90014912532
3499BA88A91563   ALEJANDRA      ARMENDARIZ               TX           90010620880
349B264834124B   DEBRA          BAILEY                   PA           90012786483
349B318725B156   ERIC           COLEMAN                  AR           90015181872
349B369255598B   CASEY          GREGGIANS                CA           49025636925
349B566417B639   CHRISTINA      TORRES                   GA           90010516641
349B5A8444124B   ALEXANDER      LEEHR                    PA           90013940844
349B759635598B   RACHEL         SEAGRAVE                 CA           90010515963
349B9395691831   JUAN PABLO     LUNA                     OK           90010863956
34B11528861963   WILLIAM        MCCASTLE                 CA           90012065288
34B1192245B52B   NANETTE        LOPEZ                    NM           90014729224
34B1239835B393   YESENIA        AGUILERA                 OR           90005753983
34B13125531424   JEWEL          HUNTER                   MO           90011001255
34B1567652B93B   ESMERALDA      ALBERTO                  CA           90012866765
34B1682A351339   KELSEY         STOCKUM                  OH           90013658203
34B1686537B639   MICHAEL        WOODLAND                 GA           90014078653
34B1864858B16B   BREANN         CHAPPEL                  UT           90013646485
34B1B61167B639   DANICA         SAXTON                   GA           90014726116
34B22172161963   JUAN           CARBAJAL                 CA           46016071721
34B25314954165   NICHOLE        COSNER                   OR           90009453149
34B2662152B871   JENNIFER       HOLFORD                  ID           42016626215
34B2694295B156   ANESHA         GONER                    AR           90013349429
34B26A2455598B   LUIS           JOHNSON CORTEZ           CA           90011310245
34B2919258B16B   BRITTANY       PEATS                    UT           90010721925
34B29A4274124B   STEPHON        COOPER                   PA           90011130427
34B359A424124B   CAITLIN        CULLEN                   PA           51075329042
34B3677152B87B   STEVE          COKER                    ID           90013467715
34B37895291831   DAULTON        DAY                      OK           90013778952
34B39398454165   ORIVA          LUNA                     OR           90015263984
34B3942512B93B   KIMBERLEE      BLOYED                   CA           90006864251
34B3B815A7B639   BRITTNI        SEARCY                   GA           90014888150
34B42691391563   DENISE         FRIAS                    TX           90013196913
34B43877A4124B   JOSHUA         RIVERA                   PA           90014018770
34B4893A741258   CHARLES        KANNERLY                 PA           90007069307
34B49242A5B393   ERIC           RAMEY                    OR           90010942420
34B4B15165B393   MAURICIO       ORTIZ                    OR           90011211516
34B4B619A7B449   SHONTELLE      WILSON                   NC           90014686190
34B52A39791831   HAROLD         EARL                     OK           90013940397
34B6285722B87B   FRANCO         MEDINA                   ID           90010768572
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34B65875455972   ISARAEL        ACERO                    CA           90004988754
34B67274554165   OSCAR          CALDERON                 OR           47019602745
34B68558A7B639   TANISHA        BOSWELL                  GA           90011005580
34B7135812B835   ALISON         CROW                     ID           90001763581
34B71435A8B16B   HARDEN         BURGIN                   UT           90008604350
34B71469241285   TONY           LITTLE                   PA           90014024692
34B7228244124B   DAEQUALE       PLOWDEN                  PA           90015122824
34B74864A91563   CESAR          CORDERO                  TX           90003008640
34B7759328B16B   LUTHER         ROWELL                   UT           90012415932
34B78858655972   MARLENE        CORONA                   CA           90013038586
34B84334587B64   ROBERT         GREENE                   AR           90013483345
34B8481A37B639   MYCREATISHA    DAVIS                    GA           90013088103
34B851A817B449   URSULA         THOMPSON                 NC           90010501081
34B8843285B156   TANYA          BROWN                    AR           90013874328
34B8B21377B492   ANTHONY        WATSON                   NC           90013922137
34B91375591563   DOZAL          RAUL                     TX           90012423755
34B9145527B639   TIARA          HARDNETT                 GA           90013944552
34B92797954165   ASHLEY         SANCHES-MORALES          OR           90014137979
34B9352447B639   DAVID          SMITH                    GA           90013965244
34B97546155972   JUAN           DELGADO                  CA           90013405461
34B9B678A7B471   ABEL           RAMIREZ                  NC           90014216780
34BB3439655972   RICK           SORRIA                   CA           90013344396
34BB424567B639   ALYSIS         MOSES                    GA           90013202456
34BB7A11A31424   LOUISE         STUART                   MO           90004940110
34BBB455761437   FREDERICK      LAMARR                   OH           90013944557
3511166952B871   SHEILAH        SARMIENTO                ID           90014586695
35112A44572B76   ADAN           CARDOZA                  CO           33088330445
35115A4924B281   EDWIN          OLIVEROS                 NE           90012160492
3511628922B87B   CAROLYN        RUBY                     ID           42060112892
351189A3991371   MIKE           AUTEN                    KS           90011029039
3511B74754B275   HEIDY          HERNANDEZ                NE           90010667475
3512528335B52B   RAMONA         CRUZ                     NM           90009712833
3512655655B52B   LELA           DIMAS                    NM           35060495565
35126A11847931   MARSHA         WALKER                   AR           90013630118
3512B2A1641258   SIMONE         CALDWELL                 PA           90013282016
3513591428B16B   NICOLE         STREBEL                  UT           90011479142
3513748874B275   JENNIE         SELLERS                  NE           90014724887
3513B372A7B425   PRISCILLA      BOWMAN                   NC           90011163720
3514459A591563   JOHN           BOWLER                   TX           90013845905
3514484262B835   NATHAN         TOVAR                    ID           90013438426
3514748A641277   CANDACE        FOSTER                   PA           90009394806
3514827295598B   BEATRIZ        LIZAMA                   CA           90010272729
3514B495891831   KEENA          THOMPSON                 OK           90009804958
35152A66155972   ROCHA          ALEJANDRA                CA           48014540661
3515398355B52B   EDITH          CHAIDEZ                  NM           90010319835
3515883364124B   KIMIAO         SAKAI                    PA           90010848336
35159A71A41285   ROBERT         BLACKWELL                PA           90011250710
3515B696731424   LAKESHA        MOORE                    MO           90010036967
3515B72185B344   ALVARO         FLORES                   OR           90008697218
3516256812B871   MARK           BAIRD                    ID           90010255681
3516599A141258   JESSCIA        NAGEL                    PA           90007079901
351686A3261963   DAVID          CORCOLES                 CA           90010476032
351692AA74B542   TARA           TOMISKA                  OK           90014772007
3516B163491584   BEATRIZ        HOLGUIN                  TX           90013911634
3517119335598B   VICTOR         MENDEZ                   CA           90008541933
3517187625B52B   RICHARD        DEAGUERO                 NM           90011438762
3517235527B639   JEFFERY        WHITE                    GA           90014863552
351748A237B639   BRANDON        JONES                    GA           90008078023
3517514A25B393   WILFREDO       BRUNES                   OR           90013111402
3517627755B393   SARA           REEVES                   OR           90012492775
3517632282B835   FORREST        RAWLS                    ID           90010243228
351783A288B166   CRYSTA         STANFIELD                UT           31061043028
3517B67235598B   NIKI           NGONKHAMBY               CA           90008586723
3518249A57B425   PAULA          MAINE                    NC           90014074905
3518433415B393   MAZIN          DAWOOD                   OR           44591473341
35185AA4891563   DESSARAY       GONZALES                 TX           90013850048
3518882627B492   AMANDA         FORD                     NC           90011898262
3518B83214124B   ASIA           KNIGHT                   PA           90013448321
35193434A2B835   LEDY           MUNOZ                    ID           42028414340
35198A71A41285   ROBERT         BLACKWELL                PA           90011250710
3519B166A2B871   JOSEPH         GALLEGOS                 ID           90013271660
3519B17A355972   XOCHITLE       ZAVALETA                 CA           90013171703
351B3948A7B492   YONHY          ARRIAGA                  NC           90011689480
351B4712191232   MARIA          CHATMAN                  GA           14584417121
351B4874555972   OMAR           ARELLANO                 CA           90012858745
351B4A2112B87B   ASHTON         TURNER                   ID           90013800211
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351B5919555972   GONZALO        CHAVEZ                   CA           90011089195
351B5A64241285   DOREEN         LEWKOWICZ                PA           90014250642
351B713498B179   SHEENU         BURTIS                   UT           90012101349
351B836132B87B   DUSTIN         HOWELL                   ID           90011203613
351B8393661957   HEATHER        MACK                     CA           90010003936
351B9439191563   JENNIFER       WILLIAMS                 TX           75097364391
351B9A1997B425   GEORGE         SANTIAGO                 NC           90012070199
3521111A77B471   BRYAN          LIRA                     NC           90010071107
3521121115B52B   CANDY          CASTRO                   NM           35013102111
3521149454B275   EDWARD         CONDON                   NE           90010014945
35211AA8231424   SCHANEL        MILTON                   MO           90011110082
35217242272B32   ESMAIL         MOMANDI                  CO           90011772422
3521971A32B871   LAURA          KELSO                    ID           42033687103
35219A2964B52B   DEZMON         PARKER                   OK           90010970296
3521B22144124B   JAMES          LUNN                     PA           90014402214
35225578A91972   SALBADOR       AMADO                    NC           90006585780
3523375A45598B   CHRISTOPHER    SMITH                    CA           90015127504
3523664567B492   SHANIKA        BURRIS                   NC           90011056456
35238A41791371   KAYFRANCES     JONES                    KS           90011120417
3523B64567B492   SHANIKA        BURRIS                   NC           90011056456
3524119A841258   WILLIAM        YOUNG                    PA           90013541908
3524159564B281   MARIA          MOLINA                   NE           27056695956
35243A11847931   MARSHA         WALKER                   AR           90013630118
35243A7458B273   LESLIE         AIKEN                    VT           90014300745
3524551834124B   VICTOR         HANKINSON                PA           90010045183
3524664422B87B   THOMAS         VILLANUEVA               ID           90013966442
3524844612B871   NICOLE         BENNETT                  ID           42022174461
35248AA2741277   RICH           FETTE                    PA           90014480027
352514A514124B   BRANDON        KEIFFER                  PA           51084294051
3525166995B52B   ANTONIO        TORRES                   NM           90011426699
3525351254124B   ERICA          THORNTON                 PA           90013555125
352544A8291584   MICHAEL        ESPARZA                  TX           75082624082
3525539A48B16B   JULIE          MONTGOMERY               UT           31086123904
3525545795B344   JULIA          GALAZ                    OR           90009704579
35258AA177B425   VICTOR HUGO    BERMUDEZ                 NC           90012570017
35259129A55972   DARREN         DAVIS                    CA           90003691290
3525954262B835   JOHN           WAGNON                   ID           90014495426
3525996232B835   JOHN           WAGNON                   ID           90013719623
3525B358291584   ANTONIO        WONG-ROMERO              TX           90011653582
3526449A57B425   PAULA          MAINE                    NC           90014074905
3526483A691371   DANIELA        HERNANDEZ                KS           90007108306
3526589575B344   MEAGAN         JUDKINS                  OR           44566758957
3526821145598B   JHON           PEYTON                   CA           49092912114
3526943A82B835   RAY            CAMPADONIA               ID           42010914308
3526B379691584   MARIA          CHANEZ                   TX           90011653796
3526B548891584   MARIA          CHANEZ                   TX           90012635488
3527437377B639   APRIL          SCHADERS                 GA           90014863737
3527494595B393   ELIZABETH      HIRATA                   OR           90002189459
35274A26A76B45   ADELA          VENEGAS                  CA           90010680260
3527569412B87B   BRENDA         SISCO                    ID           90012236941
3527591845B393   ABDIFATAH      MAILEH                   OR           90011579184
352762A4A5B156   STRAWBERRY     ADAMS                    AR           23002872040
352781A9191563   LEROY          HYDER                    TX           90010731091
3527B96458B163   BRIAN          WILLIAMS                 UT           90010079645
3528288415B52B   ELISHA         MAES                     NM           90009748841
35283563A5B393   MOHAMED        BESHIR                   OR           90011965630
3528444335B344   JESUS          RICO SILVA               OR           90014814433
3528451A34124B   DANIEL         BILBY                    PA           90011425103
35285A7473B35B   BARBARA        READY                    CO           90004600747
3528751544124B   DANIAL         KELLER                   PA           90006345154
3528755A391543   ISREAL         HERNANDEZ                TX           90005065503
352896A2A5B52B   ROBERT         NICHOLS                  NM           35061136020
3529235A691831   PATRICK        THOMPSON                 OK           21069463506
3529262762B87B   BRADLEY        WOODS                    ID           90006316276
3529514645598B   ABOBAKER       ALAMRANI                 CA           90014151464
3529578175B344   ROBERT         WHITFIELD                OR           44581847817
3529641942B871   SCOTT          SELBY                    ID           90013324194
35298A89291584   JOSE           FLORES                   TX           90014660892
3529B671357B79   SHAKEENA       WHITMORE                 PA           90013816713
352B122982B835   VICTOR         CURETON                  ID           90005842298
352B21A9541285   JOHN           LEGRANDE                 PA           90011251095
352B718587B639   CRYSTAL        MOSS                     AL           90011101858
352B734682B835   JOAQUIN        ESQUIVAEL-VARGAS         ID           42013233468
352B8489A7B425   TIM            GRAHAM                   NC           90013964890
352B981A77B492   GLENN          BREWER                   NC           90012828107
35315817A54165   SONDRA         VARGAS                   OR           47012298170
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353174A8A91371   SHAWN          YARBERY                  KS           90012894080
35318A9537B639   STEPHANIE      FEGGINS                  GA           90013330953
3531951A141277   RANDI          ROMINE                   PA           51063195101
3531B11848B16B   CARILYN        BUNPAI                   UT           31065551184
3531B95975B393   GHUFRAN        AMER HAMMOOD             OR           90010259597
3532125A191584   VANESSA        VELEZ                    TX           90008942501
3532656542B871   CESAR          RODRIGUEZ                ID           42097145654
3532945374124B   MICHAEL        HIPKISS                  PA           90014684537
3533527385598B   SAMUEL         SALAZAR                  CA           90014102738
353373A5A91371   BELLA          ROE                      KS           90009993050
3533842845B344   CESAR          GARCIA                   OR           90013124284
3533857442B835   SHAYLA         HUFMAN                   ID           90005675744
35343A9A541258   STEPHANOS      MAVROIDES                PA           90003250905
3534873217B639   MARISSA        KNOWLES                  AL           90015107321
35348778A5598B   MARGARITO      RIVAS                    CA           90015127780
3534B958341258   MICHAEL        COYLE                    PA           90010689583
353516A8291891   HEATH          HALL                     OK           90012726082
3535174364B275   JEANETTE       FENNER                   NE           90004777436
353534A5461963   CARMEN         RAMIREZ                  CA           90009254054
35357194883B74   MICHAEL        WOODS                    NM           90012781948
3535833615B393   GONZALO        CRUZ-GUTIERREZ           OR           44562453361
3535925695B344   HUQUI          ALVARADO                 OR           44500182569
3535B96722B87B   FRANCES        JOINER                   ID           90010679672
3535BA41A2B871   CINDY          FORRESTER                ID           90013290410
3536172A47B449   ISIDOR         OLEA-MOCTEZUMA           NC           90011697204
353618A8841258   THOMAS         MATELA                   PA           90013098088
353747A1991831   JUNE           RIVERA                   OK           90008857019
35375697A47931   NERA           JIBAS                    AR           90014866970
3537576457B639   QADEVA         FRYE                     GA           15050587645
35375A8178B16B   TIFFANY        QUIBELL                  UT           90013290817
35376296A55972   ANTHONY        TRUJILLO                 CA           90010992960
353767A7631424   ROMEO          MONTEZ                   MO           90014627076
3537711175B344   TONY           RIVERA                   OR           90005601117
3537B33972B835   CHARLES        FERDIG                   ID           90012253397
3537B78425599B   TORRES         MONDOZA                  CA           90012657842
35381325672B76   MERILYNN       WALDMAN                  CO           90002983256
3538293A35B344   MUSTAFA        HASSAN                   OR           44590939303
3538331A44B569   NAILA          GARCIA                   OK           90010663104
35383A3824124B   SHARIECE       SCOTT                    PA           90011980382
353851A2491891   JESSICA        BENEFIEL                 OK           90007051024
3538815655B52B   CRISTINA       MISKOWIZZ                NM           90010461565
353897A2491831   RICKY          BLEDSAW                  OK           90011577024
3538B63725B393   JAMES          JACKSON                  OR           90012486372
35391599A91563   YAZHID         MONTEJANO                TX           90013175990
3539214655598B   OMAR           ALGHAZALI                CA           90014151465
3539621378B16B   MARIA          HINOJO                   UT           90014162137
353B1161151594   PANCHO         PANTORA                  IA           90015121611
353B1682591563   CLARIZA        JIMENEZ GARCIA           TX           90013236825
353B275687B492   MARCO          AGUILERA                 NC           90013187568
353B342697B449   BEATRIZ        RAMOS                    NC           90011694269
353B468817B492   SATORIA        GARCIA                   NC           90001216881
353B483944124B   LISA           CLARK                    PA           90010888394
353B754915B344   LAURA          MULLER                   OR           90013115491
353B94A4361963   SAMANTHA       PEREZ                    CA           90011994043
353B964765B344   AMBER          BRANCH                   OR           90013336476
3541115884B275   JESSE          SMITH                    NE           90010331588
354145A3233649   CHRISTIAN      GARVIN                   NC           90014705032
3541491848B16B   CODY           CHRISTIANSON             UT           90012359184
3541823717B639   LATASHA        MCCRAY                   GA           90010352371
3541946A55B344   KEISHANNA      BRICKLEY                 OR           90007634605
3541991662B87B   SARA           SERRATO                  ID           90001809166
35422A31291584   EDWARD         ANTUNEZ                  TX           90013010312
3542343128B16B   WILLIAM        CARTER                   UT           90015094312
3542392397B639   BRIANA         WILLIAMS                 GA           90014919239
3542522315598B   WENDY          LEMUS                    CA           90009082231
3542567232B87B   NICK           SEFEROS                  ID           90010966723
35426939A91831   LAKESHA        HUNT                     OK           90014759390
35428A2295B344   NASIRDUDDIN    SHAIK                    OR           90012590229
3543126527B639   TIMOTHY        PATTON                   GA           15086822652
35432541A7B639   ERICA          BELL                     GA           90014715410
35436A4484B592   CRYSTAL        FOWLER                   OK           21513940448
354397A828B16B   RICARDO        RIOS                     UT           90015117082
3544144A95598B   ALEX           SALMERON                 CA           90007304409
3544321227B492   JAMES          DAVIS                    NC           90014852122
3544591812B835   SALVADOR       MAURICIO RAMIREZ         ID           90012159181
354525A955B344   EMMANUEL       GARCIA BARAJAS           OR           90010855095
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3545298926B264   JOHN L         EADIE                    AZ           90014039892
35457662A61963   RAQUEL         PEREZ                    CA           90010486620
35459A1565B344   JOSE           NAVA                     OR           90013690156
3545B611191584   ARIEL          CARMONA                  TX           90011656111
3546173625B393   SEAN           KEARNEY                  OR           44530257362
354644AA37B492   ANGELA         NEESE                    NC           90014584003
354697A1961963   MUSTAFA        AHAMADAZET               CA           90010487019
3546B77398B16B   ISAAC          TIRADO                   UT           90012587739
35471A44A5598B   GRISELDA       CERVANTES                CA           90011520440
3547441547B449   BRANDY         CATES                    NC           90010474154
35475547A5B344   SAMANTHA       GAFFKE                   OR           90009485470
3547615517B395   HILDA          MENSAH SABLA             VA           90000181551
3547778A161972   MICHAEL        ROCCO                    CA           90005037801
3547928595B344   MELODY         HERLOFSON                OR           90013672859
3547B455691371   KEVIN          MOORE                    KS           90014814556
3547B85134B281   IRMA           NUNEZ                    NE           27013078513
3548414525598B   LUIS           BARRIEL                  CA           90004331452
354871A595B393   FNAN           FASSIL                   OR           90010081059
3548769315B52B   ABRAHAM        ORTIZ                    NM           35082206931
35491689A8B16B   DEDE           FLORES                   UT           90004066890
3549448658B166   JAMAL          GOODE                    UT           90004194865
3549465A791563   ADAM           REYES                    TX           90012286507
354954A425598B   RAUL           ORTEGA                   CA           90013094042
354956A2854165   DANIEL         HANSON                   OR           90010686028
3549593277B492   KATHRYN        KIRKLAND                 NC           90012129327
3549862954124B   JAMES          BROWN                    PA           90013916295
354B229549155B   MIGUEL         ARELLANO                 TX           90006562954
354B53A5154165   SAM            WOODRUFF                 OR           90012363051
354B55A8754165   CHRISTINA A    CLARK                    OR           90010785087
354B8814A2B87B   THOMAS         FREINWALD                ID           90014738140
354B967148B16B   ESTHER         ROBERTSON                UT           90014496714
3551269384B275   JANET          GARCIA                   NE           90012316938
355154A884B275   LEKISHIA       WILLIAMS                 NE           27059874088
3551594482B87B   CHRISTOPHER    KREMER                   ID           90014409448
35515A4848B16B   NICOLE         ROBERTS                  UT           90000120484
35517A9117B425   DOUGLAS        SILER                    NC           90013170911
3552239824B275   SAMUEL         GUTIERREZ                NE           90012723982
355267A7631424   ROMEO          MONTEZ                   MO           90014627076
35527994A47931   ERICA          MURPHY                   AR           25003099940
35535A8425B344   SEMISI         FONUA                    OR           90006160842
3553742977B639   LESLIE         WALKER                   GA           90013974297
355377A9247931   ELMBER         MAGANA                   AR           90008987092
3553893388B16B   LEON           SHUMWAY                  UT           90012309338
3553B411247931   RICHARD        SIMON                    AR           90014074112
3553B6A9631424   RACHELLE       LEONARD                  MO           90004446096
3554177A52B87B   MARIAH         CASTRO                   ID           90013457705
35541A9A83B343   ROBERT         DREILING                 CO           33040420908
3554411622B87B   MOUSSA         FANGAMOU                 ID           90010961162
3554B72632B835   WAYNE          WALLIS                   ID           90014177263
35553135A8565B   ANGELICA       MERCADO                  NJ           90011161350
35554A5944B275   ROBYN          GILLIGAN                 NE           90012130594
3555683567B639   PATSY          MORRIS                   GA           90005178356
3555883817B639   SANDRA         HICKS                    GA           15041988381
355624A2491563   JOANNA         SILVA                    TX           75048954024
3556319AA91831   JAMES          RYON                     OK           90011581900
355632A117B492   LATOYA         ORMSBY                   NC           90014932011
35565453A4B281   JOSE           SOLORIO                  IA           90014824530
3556776687B639   JASON          ZEIGLER                  GA           90013507668
3556782474124B   DANA           MAY                      PA           90000588247
3556789967B471   CARLOS         ESTRADA                  NC           90010118996
35568AA752B835   CYRUS          CASE                     ID           90008430075
3557425184124B   KAYLA          SMITH                    PA           90012112518
3557472275B344   ROY            CALDWELL                 OR           90011567227
3557568857B639   KATRINA        LEWIS                    GA           90011216885
35575A6182B871   ARON           HOLM                     ID           90009500618
355794A394124B   MARCELLUS      HAMPTON                  PA           90014324039
3558138AA4124B   WILLIAM        MOORE                    PA           90002633800
355832A1854165   BONNIE         GOLLIHER                 OR           47021482018
3558435864124B   EDWARD         GRAHAM                   PA           90014833586
355862A7591891   NICHOLAS       HOBBS                    OK           90010552075
3558686A52B87B   RAQUEL         OLDERA                   ID           90014558605
35586A45347931   ALAN           MORALES                  AR           90012850453
3558724617B639   CODY           HARDING                  GA           90009992461
3558915A354165   LINDA          BENNETT                  OR           90015021503
3558B22A591831   CHRISHANA      LOTTIE                   OK           90011582205
3559476175598B   REYANN         JIMENEZ                  CA           90012017617
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35594A73391563   RICK           CUELLAR                  TX           90010210733
3559616527B639   OKEVIA         MCKELVEY                 GA           90013311652
3559737265B393   REGINA         KINAS                    OR           90006113726
35599433A41258   RICHARD        CASH                     PA           51096024330
3559BA6A87B449   DONTARIOUS     BAKER                    NC           90014160608
355B2AA877B425   DANNY          RIVERA                   NC           90012770087
355B551194B275   JUAN           MERCADO                  NE           90011955119
355B578955B52B   DAVID          SUTTON III               NM           90013617895
355B6124455936   SOFIA          HERNADEZ                 CA           49008301244
355B959954B559   JOHN           PASCHAL                  OK           90008555995
35612A59191584   AMBER          MCJUNKIN                 TX           90014670591
35613A7AA4B275   JOSE           TORRES                   NE           90014620700
356158A682B871   PHILIP         RODRIGUEZ                ID           90010828068
3561837464B281   STEFANI        SAMUELS                  NE           90012173746
3561B465891831   BENJAMIN       PAREDES                  OK           90014184658
3562212578B16B   OYUKI          HERNADEZ                 UT           90002711257
3562288984B281   ASYRIA         REECE                    NE           90014078898
356252A5291584   MICHELLE       CARDONA                  TX           90011662052
3562577365B344   JONATHAN       ROWELL                   OR           90014607736
3562596AA2B871   KEITH          HARNEY                   ID           90014509600
3562678865598B   ROBERT         WEATHERS                 CA           49076097886
356278A2755972   PAUL           NEVAREZ                  CA           90011168027
35628585A91371   TRISTA         KENNEDY                  KS           90014535850
3562987515598B   DENNIS         RABENA                   CA           90011468751
3562B49925B52B   MIGUEL         ORDONEZ                  NM           90010184992
3563147862B871   ANDREA         COX                      ID           90013374786
3563184745B344   MARIA ROSA     RAMIREZ                  OR           90013388474
3563347585B52B   MISSEY         DURAN                    NM           90013374758
3563385722B29B   ERLINDA        MARQUINA                 DC           90008698572
35634977A5598B   HERIBERTO      VASQUEZ                  CA           90012419770
3563573547B449   PABLO          SALAZAR                  NC           90012347354
3563B488555972   J              MURRILLO                 CA           90010714885
3564355A25B344   RICARDO        LOPEZ                    OR           90013125502
3564545912B871   RODERICK       SHEIRBON                 ID           90014464591
3564691312B87B   TONY           CONNER JASON             ID           90003809131
356484A915B52B   JOSHUA         SANCHEZ                  NM           90014354091
3565133455598B   SANTOS         HERNADEZ                 CA           90005443345
35651A3977B492   STEPHANIE      STEFFES                  NC           90008230397
35652A71691831   CONETHA        GERMANY                  OK           90012770716
3565513457B639   RALFAUEL       CRENSAW                  GA           90011001345
3565B77587B639   TREMELL        JACKSON                  GA           90011997758
3566179425B344   JOSHUA         JOHNSON                  OR           90014577942
3566188698B16B   JUSTINA        AGIULAR                  UT           90014578869
35663A86191891   CALVIN         MCALLISTER               OK           90013050861
35663A8AA7B449   MARIBEL        AVILA                    NC           90011850800
3566759A591563   JOHN           BOWLER                   TX           90013845905
35668161A91563   KRYSTEN        CARDENAS                 TX           90010271610
35668585A91371   TRISTA         KENNEDY                  KS           90014535850
3566917A591584   MICHAEL        ORTEGA                   TX           90004531705
3566B52632B871   MAKAYLA        CAREY                    ID           90005665263
3566B52915B393   CYNTHIA        KELLEY                   OR           90011185291
3567365164124B   JENNIFER       KARADEEMA                PA           90014236516
3567477178B16B   GINO           ARELLANO                 UT           90013757717
35675884872B76   SERGIO         GARCIA                   CO           33063698848
3567761515B393   CORY           THOMPSON                 OR           90011686151
3567B1A3455972   VANESSA        MEDEL                    CA           90014061034
35681A8794B281   JENNIFER       DELGER                   NE           90013240879
3568481415B52B   LUIS           PAREDES                  NM           35093908141
3568725335598B   ERICA          CRUZ                     CA           90011312533
3568873592B835   GLENN          MILLER                   ID           90010807359
356932A3A4B275   GLENNETT       GRANT                    NE           27060882030
35693A65591563   SHAIMA         AZABY                    TX           90010690655
35696A31555972   NOVA           KRSTIC                   CA           48033860315
3569729168B16B   JAXSON         FARR                     UT           90012452916
3569784567B639   LEONOR         MORALES                  GA           90010758456
35697A85891891   MARLON         YOUNGER                  OK           90008920858
356B1332841285   DESSIE         FERGUSON                 PA           90011253328
356B3383241285   ANDRES         PEREZ-SDEEN              PA           90014573832
356B342995598B   STEPHEN        JOHNSON                  CA           90010724299
356B5585A91371   TRISTA         KENNEDY                  KS           90014535850
3571157A841285   TERESA         MINOR                    PA           90014585708
3571197935B344   ALEJANDRO      MANCERA                  OR           90010259793
35711A9A754165   SIERRA         PETERS                   OR           90000330907
3571264A24124B   ROBERT         MORTON                   PA           90014096402
3571297585B52B   AMANDA         CHAVEZ                   NM           90011879758
3571343365598B   MARCCELA       MARTINEZ                 CA           90013604336
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35714337A5B393   JENNIFER        DIETL                    OR           90007863370
3571648198B16B   PATRICK         SPENCER                  UT           90012434819
3571692588B16B   PATRICK         SPENCER                  UT           90013869258
3571796537B471   HAZEL           ESPINOZA                 NC           90010039653
357213A644B281   ASHLEY          BUSH                     NE           90013963064
3572635247B639   CARLOS          GOMES                    GA           90012813524
35726A31191543   GERARDO         RODRIGUEZ                TX           75085250311
3572843797B449   SHONTANICA      HOWARD                   NC           11085304379
3572899115B269   YVONNE          HARROD                   KY           90006199911
35733A33741285   SHAMARYA        BURTON                   PA           90010640337
3573452344124B   ADAM            RYAN                     PA           51018025234
35736A9837B449   GYAN            BISWA                    NC           90011850983
3573B446355936   VIOLET          GUZMAN                   CA           90014974463
3573B66547B425   TYLOR           PERRY                    NC           90014546654
3573B6A477B471   TIERNEY         WILKES                   NC           11042386047
3574457935598B   ERICA           GONSALEZ                 CA           90011125793
35744A4556B264   STEPHEN         TORRES                   AZ           90014040455
3574811954B281   KRISTIN         LICHTENBERG              NE           90012331195
3574B19115B52B   DEVON           JOJOLA                   NM           90013491911
3575248572B835   JAMI            MURILLO                  ID           90009724857
3575294A491371   PHIL            BOLLINGER                KS           90014579404
35758A4556B264   STEPHEN         TORRES                   AZ           90014040455
3575B47842B87B   MITCHELL        JIMENEZ                  ID           90013574784
3576381845598B   LUIS            VERA                     CA           90006948184
35768A37A31424   DEADRINNE       BANKS                    MO           90014640370
357724A4241258   JOHN            MCCLENDON                PA           90013494042
3577295AA7B449   GENEVIEVE       ROBERTS                  NC           90012509500
3577465AA31424   DECARLOS        MOORE                    MO           90011506500
3577563515B393   STEPHANIE       POEHLER                  OR           90002016351
3577B865A2B257   TANYA           HARRIS                   DC           90001318650
3578514238B16B   JULIO           BARRAGAN                 UT           90014591423
3578746895B52B   ESMERALDA       GARCIA                   NM           90010154689
35789535A55972   FGSFG           FGSFGS                   CA           90015095350
3578B235961963   PENNEY          CRAWFORD                 CA           90006942359
3579211337B492   GENEVA          DAVIS                    NC           90009171133
3579337978B16B   CASSANDRA       CRESPIN                  UT           90014623797
3579349444124B   TAMIKA          JOHNSON                  PA           90002784944
3579537857B425   SAMANTHA        WILLIAMS                 NC           90002593785
3579694685B393   STEVIE          HOGGANS                  OR           90001769468
3579732157B639   ANDREA          GRANT                    GA           90001903215
3579772A44124B   ROBERT          GRAY                     PA           90005207204
35799923176B45   ZORAYDA         VALENTIN                 CA           90010349231
357B128735B52B   TASHA           SOUZA                    NM           90010912873
357B456945B52B   NOEL            GUZMAN-FAUDA             NM           90011465694
357B51AA661963   VERENICE        VELAZQUEZ                CA           46037461006
357B763718B166   ARNOLD          HEMPHILL                 UT           90012436371
357B7751555972   NOVIA           ROMO                     CA           90012927515
357B8572691371   LEANNE          GRAY                     KS           29096505726
357B883888B16B   TIMOTHY         NEAL                     UT           90010778388
357B8A69354165   ANDREW          DELORME                  OR           90000840693
357B919345598B   YESSENIA        SOTO                     CA           90013871934
3581599215B344   SCOTT           RICE                     OR           90013739921
3581652542B835   AGUSTIN         GARCIA                   ID           90001285254
3581727225B393   JULIA           FLORES TORRES            OR           90011902722
3581782364B275   OMAR            VALDIVIA                 NE           90013838236
3582336454124B   MARK            MICKMAN                  PA           90013963645
3582594A49375B   KAMMEY          WALKER                   OH           90010629404
35829746A7B425   GELLE           ROBINSON                 NC           90009257460
35829A66547931   VELDA           ALANIS                   AR           90010330665
358316A285B393   CECILIA         PINEDA                   OR           44563306028
3583523587B449   IVAN            RODRIGUEZ                NC           90011712358
3583974147B492   WILLIAMS        CREWS                    NC           90014347414
35841A1465B344   NOE             NONOAL                   OR           90010200146
35842661A91831   CORY            ERNST                    OK           90014186610
35846A86141258   JAMES           DALEY                    PA           90010650861
3584816415B52B   ERIK            PIZARRO                  NM           90010871641
3584841525B344   DANELLE         XICARA                   OR           90013184152
3584B239955972   JOE             ENGLE                    CA           48086662399
3584B589791584   KEITH           JORDAN                   TX           90011665897
3585167635B359   DEREK           JACKSON                  OR           90002476763
3585346A25B52B   DESIREE         SOSA                     NM           90013184602
358542A5991584   JANETH          ANGUIANO                 TX           90014672059
3585667635B359   DEREK           JACKSON                  OR           90002476763
3585846522B835   ALLEN           BAUER                    ID           42058514652
3586381234124B   DESSENSE        JOSEY                    PA           90012848123
3586525122B586   ASIA            KING                     AL           90014132512
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358682AAA8B16B   ESCOBEDO       RITA                     UT           90012842000
3586931AA5B393   THEO GERARD    SWEETING                 OR           90015113100
3586B69A755972   NOEMI          MOTA                     CA           90014496907
358731A394B281   CHRISTIAN      CAMPOS                   NE           90013241039
3587325144124B   DANTE          WILLIAMS                 PA           90010952514
3588139238B166   KELLEY         SHAUNE                   UT           90006803923
35883645A41285   JAMAL          JACKSON                  PA           90014586450
35886A1A88B16B   JUSTIN         COTY                     UT           90010780108
3588B236831657   CURTIS         KITCHEN                  KS           90008632368
3588B515A91891   STEPHANIE      BAUGHMAN                 OK           90008435150
3588B76924124B   QUINTIN        HOOPER                   PA           90011427692
3589314772B87B   RODOLFO        NUNEZ                    ID           90006401477
3589658412B87B   THOMAS         FREINWALD                ID           90014765841
3589986737B425   JALESSA        REDMOND                  NC           90007978673
3589B6A655B52B   CAROLYN        ROMERO                   NM           90003536065
3589BAA9791584   ANN            DOUMA                    TX           90011670097
358B273592B835   GLENN          MILLER                   ID           90010807359
358B33A2A54165   CRISTOPHER     WILLUWEIT                OR           90015133020
358B677837B449   ARIANNA        MOULTRY                  NC           90010647783
358B84A6741258   KIA            BROWN                    PA           90013474067
358B879452B871   RAI            RAI                      ID           90007987945
358BB55985B52B   JESUS          MONCLOVA                 NM           90013455598
3591171864124B   JENNIFER       CASTOR                   PA           90013917186
3591263592B835   JOSE           RICO                     ID           90010016359
3591466557B639   TRAMAINE       DAVISON                  GA           90015086655
3591761965B52B   ELVIA          OCHOA-RAMIREZ            NM           90011136196
3591983627B425   RAVEN          WHITE                    NC           90012548362
3591B143755936   LUPITA         HERNANDEZ                CA           49017791437
3591B712941285   TAMICA         SMITH                    PA           90014587129
35922A1A15B393   MADLEEN        REYES                    OR           90013850101
3592534515B344   LILIAN         ESTRADA                  OR           90013133451
3592B47875B344   BECKY          ANN                      OR           90007674787
3593447389379B   RENEE          MILLER                   OH           90008734738
3593527785B52B   VINCENT        ALDERSON                 NM           90010662778
359355A3291584   CYNDIL MARIE   APODACA                  TX           90011815032
35936A2487B639   KIANA          RAMOS                    GA           90014610248
35937A4694B281   LEDENE         PEARSON                  NE           90013740469
35939AA9447931   KATHERINE      SMITH                    AR           90010990094
3593B85635B393   ALEX           DAVIS                    OR           90011688563
3594254594B281   BRIAN          ALLEN                    NE           27032785459
3594759A391563   PETER          NERIA                    TX           90010885903
35947A87991584   MARIA          ALVIDREZ                 TX           90011670879
3594868192B87B   ZACHARIAS      HERNANDEZ                ID           90004786819
35949451A72441   RONALD         CAMPBELL                 PA           90001564510
3594BA97591584   WILLIAM        ALEMAN                   TX           90011670975
359518A558B16B   ROBERTO        VILLARREAL               UT           90004648055
359554AA64B281   CHRISTINA      FOOTE                    IA           27091914006
359559A1391891   AMANDA         CAMPBELL                 OK           90012029013
35955A3877B425   PAYGO          IVR ACTIVATION           NC           90010190387
35957899A5598B   JOSEPH         LANEY                    CA           90014848990
3595846958B16B   RANDY          RUPE                     UT           90003464695
35961369A5B393   EDWARD         MITCHELL                 OR           90014333690
3596363812B871   YURI           FRENEITES                ID           90007816381
359652A9A7B639   ELKI           VAZQOEZ                  GA           90012412090
35966A36291584   FRANCISCA      DURAN                    TX           90013010362
3596792828B166   TAMI           HOLLY                    UT           31057459282
3596846195B52B   JOE            PACHECO                  NM           90014414619
35968471A31424   WENONA         BAKER                    MO           90014654710
3596894642B87B   JOHN           WAGNON                   ID           90012079464
3596B77397B425   ROKESHA        DANIELS                  NC           90013087739
3597832125B52B   WESLEY         WINKLEPLECK              NM           35068133212
3597859495B344   SEVERO         BRANO                    OR           90013295949
3597B413A93761   DETASHA        LOWE                     OH           90012204130
35982A98541258   DAVE           WOOD                     PA           90013900985
3598377A22B871   CHARI          SMITH                    ID           90011977702
3598418173B352   KATHRYN        MARES                    CO           90008241817
3598715182B835   DANIEL         EVANS                    ID           90014781518
3598825665B141   ELIZABETH      GRAVES                   AR           90013702566
35992A23855972   DENNIS         KINCAID                  CA           90007990238
3599434722B835   BROOKE         RAST                     ID           90012133472
35997A76691831   TEVIN          ROBERSON                 OK           90011600766
359B8554355972   CRYSTAL        QUINTANA                 CA           90003985543
359B8A5A82B835   JEFF           PALAGI                   ID           90003010508
359B9862172B25   VERONICA       HART-TAYLOR              CO           90012748621
35B1124347B425   RODNEY         LIVINGSTON               NC           11093152434
35B13746291584   ATELIANA       SELESITINA               TX           90011787462
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35B13878651382   JORGE           DOMINGUEZ               OH           66046138786
35B14772791891   WILLIAM         DIDWAY                  OK           90013287727
35B14A87A7B471   TAMMY           PETTYJOHN               NC           90004230870
35B1539767B449   ANGEL           DOMINGUEZ               NC           90012413976
35B1623115B344   ALLEN           COONS                   OR           44591072311
35B1637464B281   STEFANI         SAMUELS                 NE           90012173746
35B16617191584   KATIA           GARDEA                  TX           90011646171
35B17175291891   JERRY           SMITH                   OK           90013551752
35B1735AA61925   MELVA           CASTRO                  CA           90012193500
35B18613891563   BELEN           LOPEZ                   TX           90011086138
35B1883535B52B   DOLORES         VASQUEZ                 NM           90011808353
35B21197731424   RYAN            BLANCHARD               MO           90010381977
35B2256862B835   JESSICA         PARTON                  ID           90014605686
35B27653651339   BRET            LAND                    OH           90006896536
35B31966991584   THIAGO          FIALA                   TX           90011599669
35B35A2354B281   KELVIN          CULLINS                 NE           27085440235
35B3622795B393   ATLANTIDA       LANE HOWE               OR           90013932279
35B3837A555972   ADA             COTA                    CA           90009743705
35B4195454B281   FREDDY          ALCORN                  NE           27059589545
35B42285261963   KEVIN           GALLAGHER               CA           90000612852
35B4614A761963   HECTOR          HERNANDEZ               CA           90009721407
35B47A79584351   CAROLINE        BROWN                   SC           90001610795
35B4815857B449   CARMEN          MALDONADO               NC           11025391585
35B48458931424   TIMOTHY         LOEHR                   MO           90007994589
35B52384A91371   WILLIAM         BROWN                   MO           90014873840
35B52398961963   MICHELLE        MCDONALD                CA           90011263989
35B5285365B52B   AMANDA          CORDERO                 NM           35082908536
35B5565494B275   ZACHARY         HADDEN                  NE           90012266549
35B5612985B156   JANEA           THOMAS                  AR           90014661298
35B569A8491891   ZACH            STEVENS                 OK           90010319084
35B5876335B393   PHILLIP         SIMS                    OR           90004987633
35B58A95755936   MARIBEL         GARCIA                  CA           90012800957
35B61116A5B393   ROBERTO         LOPEZ                   OR           44550351160
35B6165115B344   EIZER ENRIQUE   CHAVARREA CHIM          OR           90015126511
35B6291A555972   RICHARD         HAMILTON                CA           90010919105
35B67447857B79   THOMAS          HOGAN                   PA           90014874478
35B7194A12B835   ALEX            PERCOLLA                ID           90009969401
35B74681691525   TABATHA         VALDES                  TX           90010346816
35B75A9A833682   BRIANNA         BRASWELL                NC           90001620908
35B77327A4124B   JAMES           FRANKLIN                PA           90013473270
35B7828A561963   FILIMON         BUSTOS                  CA           90011502805
35B78694855936   GINA            SOLIS                   CA           49064396948
35B78A53941285   BRITNEY         BARNES                  PA           90014250539
35B7B16818B147   MARCO           ALMONTE                 UT           31082911681
35B7B656591831   CHELSEA         ALLRED                  OK           90013366565
35B883A917B471   SURAJ           BHUJEL                  NC           90011563091
35B91985981667   BRANDON         REED                    MO           90014689859
35B9259A65B344   LANDY           PINON-GONZALEZ          OR           44559775906
35B93A64241285   DOREEN          LEWKOWICZ               PA           90014250642
35B94656591831   CHELSEA         ALLRED                  OK           90013366565
35B9539A891831   KIMBERLIE       PENDERGRASS             OK           90014813908
35B96A46891584   JESSICA         HERNANDEZ               TX           90011650468
35B97286191563   JONATHAN        RIOS                    TX           90013532861
35BB12A384124B   RANDY           JOHNSON                 PA           90014122038
35BB162198B16B   VALENTINE       DOMIGUEZ                UT           90014486219
35BB395A691563   CONCEPCION      CARDONA                 TX           90010479506
35BB4663A47931   JAMES ALLEN     FISHER                  AR           90010836630
35BB4844747931   JAMES ALLEN     FISHER                  AR           90008428447
35BB7493547931   CHANTHA         PHORIMAVONG             AR           90011174935
35BB756797B639   TYP             PATTERSON               GA           90014005679
35BB786985B344   JACOB           JUDKINS                 OR           44566758698
35BB87A7631424   ROMEO           MONTEZ                  MO           90014627076
36117A6914124B   BRENDEL         BRUSKAL                 PA           90014540691
361197A9361963   JACOB           ROZANSKI                CA           90013077093
3611B16212B87B   NOEL            LEYVA                   ID           90013661621
3611B72632B835   WAYNE           WALLIS                  ID           90014177263
3611B858776B89   YOLANDA         OROPEZA                 CA           90013728587
3611BA99241258   DANIEL          EGER                    PA           90003730992
3612224795B52B   MICHAEL         P GILKISON              NM           35071612479
36123766776B89   GRISELDA        RODRIGUEZ               CA           46019647667
3612378A79125B   DANIEL          BARBOT                  GA           90009467807
3612887134124B   JANELLE         HINES                   PA           51076048713
3612933714B576   ABIGAIL         MALLONEE                OK           90010393371
36133495476B61   SILVIA          LORES                   CA           90013924954
3613437772B93B   MINDA           SAXTON                  CA           90014523777
3613439887B639   RUBY            CALHOUN                 GA           90014873988
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3613519748B16B   HOLLIE         DAYTON                   UT           90002231974
3613692838B124   UBALDO         PINEDO                   UT           90013739283
36139683A2B87B   TONYA          SANTENS                  ID           90011916830
3613BAA295B161   CALVIN         WHITE                    AR           90008630029
3613BAA782B871   CESAR          AYLLON                   ID           90012800078
36144736A91942   DAVID          ROADMAN                  NC           90009807360
3614B614936143   CLAIRESSA      MENDOZA                  TX           90008896149
361523A7231424   BRANDI         GAY                      MO           90010073072
3615426245593B   DEREK          BROWN                    CA           90009912624
3615512819156B   ERIKA          HERNANDEZ                TX           90011011281
3615B25642B871   TIFFANY        JOHNSON                  ID           90010942564
3616163835B52B   RANDY          NELSON                   NM           35058026383
3616312A161963   MARCIA         VAZQUEZ-GUILLEN          CA           90011881201
361686A1431424   JOHNNY         MITCHELL                 MO           90014746014
3616BAA4391891   JOHN           HARE                     OK           90013190043
36174421876B89   MATHEW         MCDONNA                  CA           90014844218
3617578965B52B   JOEL           MARTINEZ                 NM           35019777896
3617712A52B835   CRYSTAL        MCQUISTON                ID           90014521205
3617889A651339   KRISTY         MARCUM                   OH           90014768906
36178A11651339   JOSEPH         DOWNEY                   OH           90013860116
36179823A2B835   KRISTINA       MARION                   ID           90013778230
36182162A8B273   VICTOR         PEREZ                    VT           90013931620
36182A11591584   EDGAR          RUIZ                     TX           90011810115
36185A6612B871   CHRISTI        HILL                     ID           90013380661
3618739364124B   MIKE           RITTLE                   PA           90002333936
3618744A12B93B   ARTURO         TAPIA                    CA           90013874401
3618B554181621   CASSANDRA      MARTIN                   MO           90005145541
3618B732361963   MARIA          GONZALEZ                 CA           90004197323
3619294A891831   ELMER          MANTZ                    OK           90006219408
36192A37136B95   ROSA           SANCHEZ                  OR           90006850371
3619566452B871   LIVIA          FRY                      ID           90006436645
36195687A7B639   MICHAEL        JACKSON                  GA           90013376870
3619732A32B835   JACOB          FRYE                     ID           90009073203
3619B96158B16B   DARREL         MARTINEZ                 UT           90012719615
361B125642B871   TIFFANY        JOHNSON                  ID           90010942564
361B297557B639   TERRY          WILLIAMS                 CO           90010599755
361B4157576B89   DARELYN        CESAR                    CA           90011091575
361BB716455972   MARTHA         ALATORRE                 CA           48086727164
36213A78791584   JERON          ALMEIDA                  TX           90011810787
362147A347B639   TRINKA         WELLS                    GA           90010917034
3621869A761963   LIAM           FITZGERALD               CA           90011716907
3622153157B471   DORIS          MALDONADO                NC           90005365315
36225A43736143   JOE            GARCIA                   TX           90001090437
362276A812B93B   CRISTINA       MORFIN                   CA           90014076081
3623679A24B943   DAVID          VELEZ                    TX           90003947902
362373AA541258   KEARA          SMITH                    PA           90014213005
3623824382B93B   CHOUA          VUE                      CA           90011192438
36239447776B89   LUIS           GONZALEZ                 CA           90013074477
3623B3A7676B45   PEDRO          URIBE                    CA           90009853076
36241A51555921   JEFF           MALSKI                   CA           90012680515
3624243312B828   GLENN          MCPHAIL                  ID           90004574331
3624359637B639   YOLANDA        MALAVE                   GA           90013505963
36243A2A661963   KYLE           HUGHES                   CA           90013090206
36246A15576B89   NORBERTO       AGUILAR                  CA           90014920155
36249AA4391538   RENE           PALMA                    TX           90011140043
362525A857B639   TINISHA        DOWELL                   GA           90010985085
3625637787B639   CHANCES        GOMEN                    GA           90014723778
362566A4841285   MELISSA        DALE                     PA           90012026048
3626727277B639   LAMIKA         SHONTEA                  GA           90012832727
36267619A91891   BILLY          CLAUNTS                  OK           90008956190
3627111667B639   RETA           MURPHY                   GA           90014091166
3627799487B492   HENRY          CURRY                    NC           90012009948
362797A114124B   THERESA        SPEZZANO                 PA           90008457011
3627B651961963   FRANCISCO      BERNAL                   CA           90014826519
362922A1155972   MARIBEL        ARCHER                   CA           90010912011
3629256797B492   TESSICA        BYERS                    NC           11086265679
3629315447B639   AARON          BELL                     GA           90014501544
36294323876B89   JASON          ARBIZU                   CA           90003323238
3629679A23B388   JESUS          GONZALEZ                 CO           90011387902
362968A7291891   LEWIS          LEE                      OK           90013408072
3629698454B281   ANTON          GOODWIN                  NE           90012719845
3629799542B871   SCOTT          SUDOL                    ID           90001339954
3629B13252B93B   CARMEN         SOTO                     CA           90012731325
3629B976161963   MIGUEL         MORENO                   CA           90003299761
362B3772891584   ALEJANDRA      GARCIA                   TX           90009377728
362B3A83491831   BRYAN          PLAMER                   OK           21013050834
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362B655442B871   HEATHER          WINSTON                ID           90012875544
3631345865B393   CAAMAL           GUMERCINDO             OR           90009124586
3631856778B16B   KATIE            GALLEGOS               UT           90010985677
3631877A87B492   DRANDON          LUNA                   NC           90015117708
3631996865B393   ROBERT           STEELE                 OR           90006679686
36323793872B63   CHRISTINA        ESPINOZA               CO           90011437938
36325A8644124B   KEVIN            MIKULAN                PA           90014540864
363269A5355951   MARIA            OROZCO                 CA           90011079053
36332A8932B871   JARREA           TYNEZ                  ID           90009330893
3633731982B835   CINDY            PALOMARES              ID           90012553198
3633735532B87B   BRANDON          HARRINGTON             ID           90012203553
3633B4A6541258   CHRISTOPHER      KATCHUR                PA           90014214065
36341A41A51382   ALEX             SAYAS                  OH           90009670410
36343A1944B943   DARRELL          ORTEGO                 TX           76588840194
3634434A87B492   SHANNON          HILL                   NC           90010343408
3634618765B52B   MICAELA          CARDOZA                NM           35016891876
3634722467B639   BUDDY            KIDD                   GA           90013762246
3635961477B492   HELM             MARY                   NC           11094646147
3636287195B546   ROSEANN          GUTIERREZ              NM           90013148719
3636522257B436   ANGEL ANGELES    AGUILAR                NC           90009492225
3636857364B281   LEVI             WIELER                 NE           90012905736
36368636676B89   MYRNA EDITH      CALCANEO               CA           90014876366
3636978897B639   KELLI            WASHINGTON             GA           90013707889
36372953A61963   VERONICA MARIA   CHAVEZ GARCIA          CA           90009649530
36375543A61963   CAROLYN          REGO                   CA           90005895430
36382673372B76   JOHN             GOOD                   CO           33046216733
36382A18A51382   CAMILLE          NORTON                 OH           90009120180
3638378644B281   TINA             SCHOVILLE              NE           90010947864
3638925642B871   TIFFANY          JOHNSON                ID           90010942564
36389AA7431424   YVONNE           TAYLOR                 MO           90001800074
3638B49767B471   TERESA           FARMER                 NC           11049524976
3639483644B281   KARLA            SKOW                   IA           90012898364
3639632332B871   TAWNI            WENDLAND               ID           90007203233
36396AA782B87B   CESAR            AYLLON                 ID           90012800078
363B1129391584   VERONICA         SANCHEZ                TX           90000281293
363B293734124B   TIFFANI          COUSAR                 PA           90011589373
363B4264A61963   KATIE            GARCIA                 CA           90013942640
363B456778B16B   KATIE            GALLEGOS               UT           90010985677
363B599A591891   KIMBERLY         GLASS                  OK           90010719905
363B9297341285   ROD              SANDERS                PA           90014752973
3641115797B492   CANDI            USSERY                 NC           90008641579
3641126192B835   IAN              ARMSTRONG              ID           42024612619
364136A7A7B492   JOCOBUS          VERMEULEN              NC           90011336070
3641458885B52B   JEANNIE          AUSTIN                 NM           90010535888
36414A77761963   LEONDRA          WHITAKER               CA           90014770777
3641618447B639   KEVIN            MOSEY                  GA           90007461844
36417793A76B89   GUADALUPE        DOMINGUEZ              CA           46017157930
3641991537B492   LINDA            HARRIS                 NC           90011199153
3641B117331424   VINCENT          BREYFOGLE              MO           90010441173
3642361917B639   JULIE            BLEDSOE                GA           15001966191
3642533282B87B   SASHA            HOUGHTALING            ID           90010873328
3642598965B52B   BLANCA           GRANILLO               NM           90006259896
36425A7537B639   TYRONE           CODY                   GA           90014470753
36427399376B89   LUIS EDUARDO     MEDINA                 CA           90013923993
364278A1355972   CALEB            OWENS                  CA           90003488013
3642BA28761963   RAYMOND          SHARP                  CA           90006520287
36436A31A41285   ANGELA           PEARSON                PA           90014890310
3643754A68B268   TANYA            LAPORTE                VT           90014965406
3643755127B639   VICTORIA         URPANO                 GA           90012595512
3643B86845B393   JONATHAN         VINZANT                OR           90014718684
3644691A94B554   KIELA            HOWARD                 OK           90004709109
36447349A36143   EDGAR            TINAJERO               TX           73556903490
3644851767B639   RENARDO          PAGGETT                GA           90012925176
3645244592B835   MISTY            WARNER                 ID           90008164459
3645293A64124B   LUANA            LILLO                  PA           90011979306
3645312537B639   THADDEUS         WILLIAMS               GA           90013231253
3645332947B492   TELA             SIMS                   NC           11090373294
364594A7261963   WALEED           ISSA                   CA           90011634072
3645B849741251   URBAN            HOUSING                PA           90011508497
3646617A691831   YADIRA           ROMERO                 OK           90006681706
36468777176B89   MARTHA           RODRIGUEZ              CA           90011197771
3646BA97651339   BEVERLY          SUDDUTH                OH           66048070976
36472A1494124B   JONATHAN         BARCLAY                PA           90014060149
36475175772B76   TERESA           WISSEH                 CO           90014631757
36475178A72B76   TERESA           WISSEH                 CO           90009561780
3647915A591537   ANGELICA         CAZARES                TX           90012411505
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3647B4A797B639   AMBER          GOODSON                  GA           90004644079
36482A23391891   MELINDA        WOLTERS                  OK           90014610233
3648312537B639   THADDEUS       WILLIAMS                 GA           90013231253
3648638834B281   CHARLES        NEWSON                   NE           90012813883
3648776248B16B   ERICA          LOPEZ                    UT           90010987624
3648B117A7B639   JEREMIAH       NIXON                    GA           90013261170
3649499A34124B   JYNIENE        HUNT                     PA           90004989903
36498538776B89   FREDI          NUNEZ                    CA           90014625387
36498A4554124B   PAUL           MCCARTAN                 PA           90013930455
3649951A991232   NIKIA          HOLCOMBE                 GA           14578755109
3649B4A972B871   GEORGE         SNIDER                   ID           90013344097
364B5377491831   JOSE           BENITO-VAZQUEZ           OK           90013023774
364B5531A7B639   JOHN           WAYNE                    GA           90013605310
364B723398B16B   MELISSA        REYES                    UT           90010372339
364B7285763625   KIM            KELLER                   MO           90010022857
364BB494276B89   HILDA          MENCIAS                  CA           90014714942
364BB98415B52B   CHRIS          RODRIGUZ                 NM           35088939841
365237A8861963   SOLEMIA        DANTONI                  CA           90014797088
3652651917B639   APRIL          LEWIS-HARRIS             GA           90013565191
3652B823A2B835   THOMAS         FREINWALD                ID           90014738230
365362A874B281   NOE            HERNANDEZ                NE           90000292087
36537991787B41   ARIANNA        WHITAKER                 AR           90013339917
3654112537B639   THADDEUS       WILLIAMS                 GA           90013231253
365416A992B835   ANDREW         PIPER                    ID           90012166099
3654326157B639   ASHLEY         HARRISON                 GA           90010972615
36544483A91584   LAURA          FLORES                   TX           90014764830
3654454715B393   VALENTIN       PONCE                    OR           44574365471
365456A7141285   JAQUON         JENNINGS                 PA           90013766071
3654637244B563   ROSARIO        MARIN                    OK           90012273724
365464A1391525   CORDOVA        MARIA                    TX           90005584013
36546822A55951   JESSE          XIONG                    CA           90009288220
365473A568B16B   JUSTIN         HALSTED                  UT           90011983056
3655512537B639   THADDEUS       WILLIAMS                 GA           90013231253
36556793276B89   PATRICIA       GUTIERREZ                CA           90007647932
3655B96194124B   SHAWN          BOYD                     PA           90013599619
3656597924124B   ALLEN          METZ                     PA           90013689792
3656936455B393   LISA           ASCURA                   OR           90010313645
36573A6334B281   OMAYRA         RIVERA                   NE           90003610633
3657462294124B   ANGALIQUE      VISCINTI                 PA           90001696229
3657B616761963   FERNANDO       ROCHA                    CA           90013956167
3657B71317B449   CORY           WESTBROOK                NC           11039837131
3658146952B871   ELENA          MARTINEZ-RODRIGEZ        ID           90001364695
3658477495B393   MARIA          NEWELL                   OR           44573847749
3658791717B639   TIFFANY        HUNT                     GA           90011319171
3658B6AA37B492   PAYGO          IVR ACTIVATION           NC           90009156003
3659247132B871   JUAN           MORALES                  ID           90014634713
36594A4834124B   ANN            SMITH                    PA           90004760483
365B1698731424   DARRYL         HARRIS                   MO           27534886987
365B2935355951   SHIDAY         JORDAN                   CA           90011079353
365B5612351339   KATY           HOLTHAUS                 OH           90014676123
365B664594B943   MEKA           MORRIS                   TX           90005476459
365B6916291584   THANIA         SIERRA                   TX           90014749162
365B943A64B521   HILDA          OLVERA                   OK           90010784306
36611882676B89   CHRISTINE      MICHAEL                  CA           90014528826
36612182A55972   EVANGELINA     LOPEZ                    CA           48008061820
3661642442B871   MARIA          SALAZAR                  ID           90010954244
366176A755B181   DARNETTA       SLAUGHTER                AR           23089396075
36623415A61963   RAYAN          OZBIRN                   CA           90014904150
3662915447B639   AARON          BELL                     GA           90014501544
3662925572B871   JESSICA        HERRERA                  ID           90009582557
3662934157B471   EDWING         LOPEZ                    NC           11009013415
3662B838631424   ARTHUR         JACKSON                  MO           90014768386
3663478692B871   PAUL           JOHNSON                  ID           42030827869
3663724882B871   FERNANDO       PERALTA                  ID           90000462488
3664414A855972   BRANDON        MONROY                   CA           90010691408
3664577898B16B   ANTONIO        BRAMBILA                 UT           90013487789
3664727824B281   ADAM           PENRY                    NE           27097162782
3664B4A1A7B639   KENYADA        CRAWFORD                 GA           90010974010
3664B57555B52B   WILL           TABET                    NM           90011955755
3665571894124B   MARQUIA        CHARAE                   PA           90009087189
36656947A51339   KATIE          CROY                     OH           90013349470
36656A3775B393   ADRIANNA       BAUTISTA                 OR           90010870377
3665987A851382   DOROTHY        THOMAS                   OH           90011288708
3665B83587B639   LORY           CAMPBELL                 GA           90010118358
3666374757B492   GREG           COXUM                    NC           90014157475
3667211955B393   LESLIE         TORRES                   OR           90009101195
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36672294576B89   ELI            MIRANDA                  CA           90013832945
366734A1355972   MARK           SANCHEZ                  CA           90012664013
3667592885B52B   STEPHANIE      LUERAS                   NM           90011439288
3667775A427B96   ROMEO          ORTIZ                    KY           90013967504
3667787372B835   MARY           STOCKTON                 ID           90006288737
3667825297B359   EMILIO         AGUILERA                 VA           90010142529
36678596A76B89   STEVEN         RUOPOLI                  CA           90014835960
3667BAA7A51382   COURTNEY       VAUGHN                   OH           90011280070
36682244976B89   CRYSTAL        GARCIA                   CA           90012282449
36685194A4B943   TONI           EVANS                    TX           90009571940
3669371124B281   ERICA          HEARD                    NE           27088677112
366B1A6534124B   CHARLES        WILSON                   PA           90010110653
366B399727B471   TIAH           HUBBARD                  NC           90003159972
366B4644655972   GUS            ARISTA                   CA           90013016446
366B785112B871   JAIME          CASTRO                   ID           90007848511
36711A12951382   CHRIS          GRAHAM                   OH           90011280129
36715A28A61963   MARIA          CARRILLO                 CA           90014820280
36718473A41258   DEEPAK KUMAR   PASUPULA                 PA           90011214730
3671923917B639   JOSEPH         PORTER                   GA           90010502391
3671B2A4631493   RICHELLE       STILES                   MO           90013252046
3671B84754B597   TIMOTHY        SAATHOFF                 OK           90005448475
3672352AA61927   JORGE          LOPEZ                    CA           90012375200
367243A487B471   CORTNEY        JENKINS                  NC           11093663048
3672585292B871   CYNTHIA        STEWART                  ID           90014168529
36725A45861963   BRYAN          MANUEL                   CA           90014820458
3672719112B87B   AMANDA         TEMPLETON                ID           90010971911
3672864198B16B   CHERYL         CASEBOLT                 UT           90013716419
3672881637B449   NARAYAN        DHAURALI                 NC           90004638163
36729934A2B871   PAT            CLARY                    ID           90008199340
3673695845B393   JON            BOLICH                   OR           44584919584
3673B384455951   RENE           BETANCOUA                CA           90005903844
3673B81542B835   LINDA          GARZA                    ID           90014178154
3674375572B93B   ADELINA        DURAN                    CA           90013027557
3674529447B492   JESSICA        HILDERBRAND              NC           90005192944
367456A2541258   ANGEL          CASTAPHENY               PA           51036556025
3674815685B156   MONICA         WILLIAMS                 AR           90006621568
3674876957B492   BROOKLYN       ROBERTS                  NC           90012117695
3674BA2A551339   MICHAELA       PEEBLES                  OH           90010480205
36752A7134124B   CHRISTOPHER    HILL                     PA           90010110713
3675781A12B93B   DANIEL         CISNEROS                 CA           90011418101
36759674787B41   YELENA         PETROUKHINA              AR           23094526747
3675B3A137B639   MARQUITA       WEST                     GA           90008353013
367636A5391584   ELVIA          RIOS                     TX           90014766053
36764464A41285   ADAM           LONG                     PA           51024384640
3676567415B393   HEIDI          EATON                    OR           90012616741
36769218476B89   VERONICA       MARTINEZ                 CA           90012192184
3676971952B87B   BRANDA         WILTON                   ID           90013547195
3677817747B492   CARLOS         BECTON                   NC           90014621774
3677B94447B639   CAMEISH        MARTIN                   GA           90012309444
36781972A7B639   THERESA        BROWN                    GA           90012679720
3678359874B522   KIMBERLY       GABEL                    OK           90012645987
36784862A55972   JEFFERY        MEGRARGEE                CA           90014158620
3678B85244B281   STACI          MILLER                   IA           90012218524
367917A317B492   KIMBERLY       LAWHON                   NC           11046737031
36795416A31424   DOROTHY        OWENS                    MO           90011074160
36797347272B76   KARLA          GUZMAN                   CO           33009043472
36797A2982B835   ALEC           WRAY                     ID           90008080298
367B3567691584   DELFINA        MARTINEZ                 TX           90014765676
367B3712376B89   JACKIE         ESCOBAR                  CA           90013087123
367B441944124B   JOSEPH         BROWN                    PA           90011294194
367B5636231424   NICK           STADLER                  MO           90014796362
367B6378351382   JAMIE          TAYLOR                   OH           90008663783
367B752687B639   KAWANNA        THOMAS                   GA           15081285268
367B7717651594   TARA           MAGAR                    IA           90013787176
367B8352731424   JESSICA        BAILEY                   MO           90011073527
367B859274124B   KENNEDY        PARRISH                  PA           90012525927
367B9383884755   WILBER         MENA                     VA           90000173838
36811994A51382   ROGER          BREWER                   OH           90009499940
368149A8855951   JACKIE         OLIVAREZ                 CA           90011479088
3681593712B871   AMY            ROBINSON                 ID           90012139371
3681B22832B93B   YURIPSE        CUEVAS                   CA           90008092283
3682175127B639   CHARNISE       ELIAS                    GA           90013377512
3682261692B835   SHANNON        NARTE                    ID           90006876169
36822A62A55972   JOSE           SALTOS                   CA           90010040620
36826A2A96B241   GEORGE         WICK                     AZ           90013170209
36829863576B89   ARLIN          VERDUZCO                 CA           46092098635
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 377 of 1007


3682B81A57B639   UNKNOWN        CALLER                   GA           90011518105
3683324445B393   JAZMINE        PEREZ                    OR           90013632444
3683494424124B   PARRISH        CAMPBELL                 PA           90014299442
368389AA34124B   DANIELLE       CZAJKOWSKI               PA           90013219003
3683B61322B93B   KATHY          CRAWFORD                 CA           90010576132
36843898476B89   BENJAMIN       MONTEZ CRUZ              CA           90014658984
36843A4192B871   ABIGAIL        EURESTE                  ID           90013220419
3684418262B871   ESMERALDO      VIVERO                   ID           90013781826
3684442442B871   MARIA          SALAZAR                  ID           90010954244
3684477552B87B   YVONNE         ZAVALA                   ID           90014687755
36845461A5B52B   EDUARDO        ALEMAN                   NM           90012154610
3684745295B393   ROBERT         ARELLANO                 OR           90014694529
3684BA4674124B   MARTIN         ALI                      PA           90014060467
36852A45991891   BETH           LAWSON                   OK           90005530459
36853213A41258   KIMBERLY       BRANCH                   PA           90003132130
3685861852B871   JAMIE          MICHEAL                  ID           90013936185
3685B416891584   JOVANNA        REY                      TX           90014774168
3686719687B639   BRENDAN        DENUEH                   GA           15008741968
3686B328681628   DIANE          HAYES                    MO           90011253286
3686B94817B492   TINA           PATTON                   NC           11065549481
368723AA791831   STEPHANIE      L SHEPHERD               OK           90014473007
368756A898B16B   WOOLSEY        GRANT                    UT           90011426089
3687845447B639   TRENEYZA       KING                     AL           90014714544
3687B7A7A2B93B   ELISIA         MUZQUIZ                  CA           90013717070
36881A63741258   MALORI         SATARIANO                PA           90004760637
3688368664124B   MELINDA        GICONI                   PA           90014926866
36885337A7B639   MARTHA         DIXON                    GA           90011123370
3688666342B871   ROSITA         GOMEZ                    ID           42087206634
36886A3137B495   JAMES          CARTER                   NC           90011590313
3688B11347B639   KENESHA        GRIFFIN                  GA           90014561134
3688B827391584   DESSERAY       GONZALEZ                 TX           90014778273
36892876A31639   MICHELLE       RICKLEFS                 KS           90013138760
3689623A14B55B   ANGELINA       GOMEZ                    OK           90001282301
3689936237B639   KEFRIN         FEARSON                  GA           90009743623
368B126449125B   MONICK         SMITH                    GA           90007642644
368B215125B52B   ALEX           CASTILLO                 NM           90009911512
368B478232B93B   JAMAIL         ABUZIADA                 CA           90014187823
368B787A54B544   BROOKE         GRIFFITH                 OK           90010858705
368BB76A355972   JESUS          TURNER                   CA           90014467603
369149A9A7B32B   IRMA           CABRERA HERNANDEZ        VA           90002909090
3691651655B557   ALBERT         MADRID                   NM           90002205165
3691687557B639   GERENY         FORD                     GA           90014418755
3691B123351382   KIMBERLY       KAZEE                    OH           90009501233
369226A5531424   LISA           STAPLETON                MO           90011076055
3692B583555972   LILIANA        BANUELOS                 CA           90013965835
3692B83164B531   AMY            BRADSHAW                 OK           90008978316
36931556A7B449   RAVEN          JANT                     NC           11024705560
3693194182B93B   SHELLY         ANDRE                    CA           45098019418
36936A84991584   JERRY          MENOZA                   TX           90010920849
3693748A361963   DANIEL         OCONNER                  CA           90011724803
3693937967B492   ASHLEY         FLOYD                    NC           11080993796
3694966882B93B   KARLA          VALENCIA                 CA           90012226688
369521A277B639   PATRICIA       KEEFOVER-FLEMING         GA           90008791027
3695669AA51339   MELISSA        JANDLE                   OH           90014046900
3696568877B449   FRED           PATTERSON                NC           90002636887
36968AA4991891   EMILY          FRIX                     OK           90014160049
3696926648B16B   SHAY           CHAVEZE                  UT           90011522664
3697412384B576   SHAYNA         PALMER                   OK           90010851238
3697483784B281   PETER          YIECH                    NE           90009158378
36974AA612B93B   DULCE          MARIA                    CA           90010460061
3697855312B835   TEDDY          BOSTICK                  ID           90009725531
3697B19147B639   TIFFANI        WHITE                    GA           90010991914
3697B8A9855951   ALEJANDRO      ESTRADA                  CA           90012498098
36984A3457B639   COURTNEY       HARRIS                   GA           90011610345
3698779622B835   EDU            LOZANO                   ID           90012807962
3698B177A2B93B   JERONIMO       DELGADO                  CA           90012971770
3698B985851339   ROBIN          THAXTON                  OH           90012389858
3699252775B393   JUSTIN         KUNTZ                    OR           90014915277
369948AA22B87B   JAMES          COLLINS                  ID           42077458002
36995849A55972   JOSEPH         HERNANDEZ                CA           90012988490
3699786812B559   LAMETRIA       HENDERSON                AL           90014658681
369B124A87B639   RONY           PEREZ CIFUENTES          GA           15085702408
369B2468A91584   LETICIA        VARELA                   TX           90014774680
369B3A6135B131   WILLIE         GILMORE                  AR           90011070613
369B749217B639   TOMAS          VALDEZ                   GA           90014254921
369B9A7A361963   ALBERTO        ROMERO                   CA           90012400703
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36B13347A7B639   JILLIAN           PRICE                 GA           90013703470
36B1524A341285   DAVID             JEFFERIES             PA           90012642403
36B15711641258   EUGENA            ALEXANDER             PA           90011207116
36B16157876B89   CHARLES           YARBROUGH             CA           90012171578
36B1665162B87B   JAREIDI           LOPEZ                 ID           90010596516
36B17451491891   DESTINY           POTTER                OK           90013914514
36B17776941285   AMONDAI           ALEXANDER             PA           90006227769
36B1B368676B89   NICOLE            OTTONALLBEE           CA           90013873686
36B1B48567B384   JEFFREY           TRUAX                 VA           90013324856
36B1B796851339   KAREN             COLDIRON              OH           90013107968
36B1B99217B384   JEFFREY           TRUAX                 VA           90012289921
36B2174137B471   LOUISE            BARRINO               NC           90010947413
36B2455917B639   ELLIS             HOLLINHEAD            GA           90015075591
36B28499461963   RUBEN             MARTINEZ              CA           90013034994
36B2BA6252B93B   BRANDY            BRYANT                CA           90013190625
36B3133792B93B   LASHANTI          MOLLETT               CA           90012083379
36B32335A4B929   MISAEL            FLORES                TX           90010873350
36B33156576B89   ROQUE             GALAN                 CA           90012191565
36B3442848B16B   FELICIA           NOVOA                 UT           90010814284
36B3529618B16B   FRANCISCO         AVALOS                UT           90009082961
36B355A827B639   ROBYNN            FIELDS                GA           15041365082
36B36442876B89   CLEMENTE          MENDOZA               CA           90003984428
36B3679A955972   JESUS             ALBERTO               CA           90011317909
36B36A8642B87B   DERRICK           DOTY                  ID           42045690864
36B39723391584   GILBETO           MONASTERIO            TX           90014897233
36B39744291831   ACE               WEST                  OK           90013067442
36B4122A841285   LINDA             ELLIS                 PA           51039092208
36B41441651382   ERICA             DUMAS                 OH           90014994416
36B4311667B639   RETA              MURPHY                GA           90014091166
36B4414512B835   CLAUDIA           SAENZ                 ID           90012121451
36B4449914B281   BRYANNA           ALLEN                 NE           90006564991
36B4455497B449   TERESA            WATKINS               NC           11050415549
36B46713191587   MARTHA            SANCHEZ               TX           90004567131
36B4766798B16B   ANGELA            ANDERSON              UT           90012566679
36B4824824B281   REINA             GIRON                 NE           27035612482
36B4B8A5936B95   ALFREDO           MARTINEZ GUERERRO     OR           90005978059
36B54344871963   SHAWN H           CRAWFORD              CO           90007233448
36B57467472B76   BRANDON           COLE                  CO           90005954674
36B5B71412B871   CANDY             GENTRY                ID           90011347141
36B61823A2B835   KRISTINA          MARION                ID           90013778230
36B61AA6991831   JAVIER            CRUZ                  OK           90011700069
36B64235791979   EVRIN             FLETCHER              NC           11085462357
36B64479391891   CYNTHIA           HERNANDEZ             OK           90012874793
36B66459561963   ALLAN             VASQUEZ               CA           90013024595
36B67472131424   SHONTAE           DOWLEN                MO           90008614721
36B67721655951   MICHAEL           RANGEL                CA           90011077216
36B6847212B93B   MARIA OR SANDRA   LOPEZ                 CA           90014414721
36B69A3592B871   DIANE             HANSEN                ID           90011310359
36B69A53191831   DAISY             ACOSTA NUNEZ          OK           90011700531
36B6B51AA5B52B   CHANTAL           TORRES                NM           90012425100
36B7171947B639   RAYMOND           MATTEO                GA           90008847194
36B7493922B87B   ANDREA            FRANCE                ID           90010949392
36B75533A55972   JOSE              RIOS                  CA           90010995330
36B7639875B393   DAVID             BARNS                 OR           90010983987
36B76999A76B89   BRIANDA           PADILLA               CA           90002879990
36B78488691891   FAWN              CLAUNTS               OK           90011534886
36B81886255972   JESSICA           KEARNEY               CA           90007528862
36B8392915B393   MESHA             CAUSEY                OR           44545639291
36B849A2372B76   LENA              RAIBON                CO           33058219023
36B8584222B871   DANEL             BREWER                ID           90013968422
36B86282761963   BARBARA           HOLT                  CA           90003292827
36B8634238B16B   FAWN              BRADSHAW              UT           90007653423
36B8716387B449   GRADIE            RAY                   NC           90011841638
36B87271A51776   ELAZARAL          PADRON                OH           90014052710
36B87411A2B87B   DAVID             OLSON                 ID           42057404110
36B8771364B943   ASHLEY            COLLINS               TX           90004277136
36B8B35862B871   CASSIE            ROBERTS               ID           42027833586
36B8B98695B393   CHRISTINE         CANNON                OR           90015119869
36B91A34741258   DARON             ROBINSON              PA           90014210347
36B9243985B52B   NICHOLAS          MANCHA-MILLER         NM           90012074398
36B93863255951   OLGA              CHAIDEZ               CA           49037818632
36B94333A7B639   AARON             JONES                 GA           15006953330
36B96827A5B52B   ANNA              GUTIERREZ             NM           90012828270
36B98297951382   MANOLO            VENTURA               OH           90015012979
36B9974477B492   JADA              MCKINNEY              NC           11032767447
36B9BA58376B89   MIRIAM            RODRIGUEZ             CA           90000290583
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36BB137922B93B   MARINA         JUAREZ                   CA           45058043792
36BB337137B639   JESSICA        BURTIN                   GA           90011313713
36BB54A732B835   BRETT          RICE                     ID           90012954073
36BB578262B835   WILLIAM        BRETT                    ID           90010147826
36BB715242B87B   IVETTE         VIERNES                  ID           90004261524
36BB8937641285   FRANCIS        MASON                    PA           90007519376
3711B83315132B   JC             DALHOVER                 OH           90009068331
371211A652B835   MICHAEL        CROSSLEY                 ID           90014241065
3712233757B639   DOMINIQUE      FLAGG                    GA           90014873375
3712234624B275   SUSAN          MYRES                    NE           90007043462
3712697A82B871   CHRISTINA      ADAMS                    ID           90011009708
3712766135B52B   GEORGE         GALLEGOS                 NM           90012286613
3712B46377B639   PENNY          WILSON                   GA           90008924637
37132169A91831   TRISHA         RAMIREZ                  OK           90010991690
3713328735B52B   TASHA          SOUZA                    NM           90010912873
3713589595B52B   SETH           SANTOS                   NM           90014338959
3713852327B492   CRISTINA       CARO                     NC           90012255232
3713B3A175598B   MICHAEL        ALTAMIRANO               CA           90012653017
371424A278B16B   JOSE           MARTINEZ                 UT           90006134027
37144268A41258   AMIE           HUGHES                   PA           90012882680
3714B49A67B639   GERALD         BENSON                   GA           90001804906
3714B81862B835   THOMAS         FREINWALD                ID           90014708186
37156218257B79   JAKE           SCHAFFER                 PA           90014112182
3715879462B871   ERICA          KOGER                    ID           42079887946
3716378A48B16B   DANIEL         BAGFORD                  UT           90007317804
3716474617B492   CANDICE        EARLY                    NC           90014097461
37171766A5B393   TAMI           SHANNON                  OR           90013467660
37174A8425598B   LARRY          KELLEY                   CA           90013970842
3717655654B944   JUAN           MOTA MARTINEZ            NC           90009465565
3717844352B871   ALBERT         HINOJOSA                 ID           90013624435
37183A89191831   PIERCE         GREGORY                  OK           90008370891
3718526574124B   LEONA          CABBAGESTALK             PA           90010932657
3718641952B835   RANDI          BUEHRING                 ID           42020704195
37186823A4B281   THIDARAT       HEMSATH                  NE           90010278230
3718B121A2B87B   ANDREW         PALOWMERA                ID           42033441210
371911A585B393   AARON          WELCH                    OR           90011211058
3719185A64B275   DARIN          SIEVERS                  NE           90002748506
3719771A691831   JOSE           MURILLO                  OK           90010257106
3719B422472B76   ADAM           GRIFFITH                 CO           90014424224
371B237444B221   MICHAELA       MININNI                  NE           27040763744
371B285572B87B   ROBERT         MEDLEY                   ID           90007658557
371B3176157B79   RITA           SHULESKI                 PA           90015081761
371B3452791893   OFELIA         ENRIQUEZ                 OK           90007794527
371B465715B52B   ELONA          UNALE                    NM           90009956571
371B54A547B639   CANDACE        BRYANT                   GA           15086884054
371B8864A7B492   KRISTEN        ORR                      NC           90014668640
3721224864124B   DALLAS         STINE                    PA           90011342486
372173A3141285   TIA            BAKER                    PA           51012053031
37219A16291831   JESSICA        HUDSON                   OK           90006290162
3722191577B639   MIKITA         GRIFFIN                  GA           90001019157
3722452222B871   RACHEL         URE                      ID           90014075222
3722786215598B   VANTAZA        DENNIS                   CA           90014638621
3723254A57B639   LICHELLE       BROOKE                   GA           90012225405
3723562612B835   ALEJANDRA      PEREZ                    ID           90010786261
3723635835B393   REYES          BONILLA                  OR           90015123583
3724236A191893   JOSHUA         DEARING                  OK           90013563601
3724456677B639   JEROME         LIVAS                    GA           90014665667
37246669A4B281   MARITTA        COLEY                    NE           90014916690
3724895444B275   CHRISTOPHER    BURBACH                  NE           90010599544
3724896212B871   VICTOR         ORTIZ                    ID           42052489621
372513A7A91831   CESAR          CRUZ                     OK           90013963070
3725251874124B   VEERAN         MAKAIL                   PA           90014405187
37253435A91893   BRITTANY       DARNELL                  OK           90013564350
37253A81491831   ROBERT         POHL                     OK           90013830814
3725576137B639   JUANILDA       DIOLOSA                  GA           90004017613
3725585925B393   EUGENE         RYAN                     OR           90013988592
37259959A4B559   JIMMY          KLAUS                    OK           90010919590
3726488875B52B   AZIA           MARTIN                   NM           90012438887
372665A2541258   DEE DEE        GRETT                    PA           90011955025
372668A9A91893   TANVIR         KHAN                     OK           90006108090
3726729372B835   JESSE          STARKEY                  ID           90012712937
372686A995B52B   CIDNEY         CHRISTIANSEN             NM           90010166099
3727114A65598B   JAVIER         AGUADO                   CA           90014241406
3727155787B639   TACEY          THOMPSON                 GA           90014635578
3728343219156B   MELVIN         LERMA                    TX           90014454321
3728589895B393   JESSICA        BOGGS                    OR           90010768989
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372899A5491584   RICARDO        MARQUEZ                  TX           90014839054
3729245682B871   JOSIAH         REYES                    ID           90014374568
37296A5952B835   STEVEN         AUCK                     ID           90013600595
3729B58484124B   KIMBERLY       ANNE                     PA           90014425848
3729B899691584   JUAN           SANDATE                  TX           75034978996
372B1377191893   ZENIAAH        NANAETO                  OK           21080683771
372B2196341258   DIANE          JORDAN                   PA           90005261963
372B3166A4B281   TYLER          PEARSON                  NE           90014801660
372B3638955951   PA             LEE                      CA           90011816389
372B37AA833681   JOSE MANUEL    BAUTISTA                 NC           90013747008
372B4A88997126   BOBBIE         HERNANDEZ                OR           90008680889
372B733497B639   ARTAVIOUS      WHITE                    GA           90013443349
372B756962B835   MICHAEL        REZA                     ID           42062925696
372B9198741258   LINDA          POWELL                   PA           90012901987
3731588197B492   JONATHAN       WILSON                   NC           90015128819
3731666984B281   TANYA          JAIME                    NE           90014656698
3731696212B87B   VICTOR         ORTIZ                    ID           42052489621
3731896377B492   KIMBERLY       JACKSON                  NC           90014179637
373198A712B87B   THOMAS         FREINWALD                ID           90014758071
3731B51747B492   KENNETH        MCLENDUN                 NC           90014705174
3732145895B52B   KENNETH        MESSLER                  NM           90014594589
37325394A7B639   MARTHA         DIXTON                   GA           90014593940
3732731A62B835   KIENNETH       TRAN                     ID           90011183106
37328717A31424   AMARIS         SUMPTER                  MO           90012557170
37328A29841258   LATONNA        GENTRY                   PA           90010480298
3732943A172B76   GENETTE        TURNER                   CO           33006664301
3733817734B929   ALEXANDRE      ANDERSON                 TX           90013221773
37342933A91232   ANTIONETTE     ROBERSON                 GA           90010999330
3734556972B835   RAYMOND        SANCHEZ                  ID           42009745697
3734712672B835   NOE            HERRERA                  ID           90011061267
37347614A57537   MANUEL         DOMINGUEZ                NM           90004506140
3734B9A545B393   JOHNNY         WALKER                   OR           90010679054
3735349247B639   MARQUELL       BOYD                     GA           15083224924
37357AA5755951   FILMON         ALTA                     CA           90011820057
3735813485598B   ALICE          BARRETO                  CA           90006541348
3735955562B871   MIKE           MCBETH                   ID           90013395556
3736974955B393   SUZI           WORDEN                   OR           44564327495
373725A5A4124B   KIMBERLY       LOWE                     PA           90009715050
3737451552B87B   JUSTIN         JONES                    ID           90012865155
3737779132B871   THOMAS         FREINWALD                ID           90014757913
37379184A91831   MARIA          GUTIERREZ                OK           90010641840
3737BA5994B281   JEFF           LAKEY                    NE           90011690599
3738256614B281   DANELLE        SUNDQUIST                IA           90013845661
37385768A5B393   TIFFANY        MONTGOMERY               OR           90013517680
37386A2565137B   CASSANDRA      MORGAN                   OH           90007970256
3738B5A3491584   ALMA           GARCIA                   TX           90011405034
373918A965598B   ALEX           FRENCH                   CA           90013058096
3739418774124B   KEVIN          MYLES                    PA           90014501877
37395318A4B281   CHRIS          PATTERSON                NE           27065713180
3739665635B52B   RAQUEL         GARNAND                  NM           90014526563
37397A2877B639   JOSEPH         PITTS                    GA           90013700287
3739817285B38B   LADELL         S HANSON                 OR           90005901728
373B2196755972   TINA           SYKES                    CA           90011081967
373B261192B87B   ASHLEY         BUHLER                   ID           90009136119
373B379665598B   MARTHIN        GARCIA                   CA           90013057966
373B3918691584   JESSE          VELASCO                  NM           90014839186
373B526544B275   DANIELLE       BRINSON                  NE           90011552654
373B6347A7B639   JILLIAN        PRICE                    GA           90013703470
373B6651391584   JOHANNA        LEAL                     TX           90007486513
373B844592B871   MISTY          WARNER                   ID           90008164459
373B992465B393   CARMEN         MEDINA                   OR           90007549246
373BB849172B23   JOSEPH         SATURINO                 CO           90010328491
3742667342B871   GIOVANI        CRUZ                     ID           90011906734
3743392855B52B   DANIEL         CANO                     NM           35021549285
3743525A62B835   BRAD           DAVIS                    ID           90002572506
37436286A91584   ART            SALDANA                  TX           90009582860
374413A845B52B   AARRON         SHORTY                   NM           90014143084
3744387187B492   MONTANA        SMITH                    NC           90011048718
3744643A231441   REBECCA        TESSMES                  MO           90009894302
3744755AA2B87B   BRENDAN        GREENE                   ID           90013635500
37449A19391584   ALAM           PEREZ                    TX           75035040193
3745641317B639   DESHAUN        MILLER                   GA           90014834131
3745962252B871   LA NAE         CHERRY                   ID           90014876225
3746483765B52B   PATRICK        LOGAN                    NM           90006258376
3746813492B87B   TARA           WILSON                   ID           90012381349
3746B251741258   STEPHANIE      MCCOY                    PA           51002592517
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37472A9772B871   STEVE          SMITH                    ID           90011800977
3747344149156B   MARICRUZ       HOLGUIN                  TX           90009684414
3747811717B639   JAIMSHA        RIGGINS                  GA           90004761171
3747B75A731424   FELICIA        SMITH                    MO           90014827507
37483997A5598B   SHAWN          KNIGHT                   CA           49016609970
3748637437B639   LORRANE        FISH                     GA           90014873743
3748953357B492   BRENNA         AMBER                    NC           90011355335
3748B11927B492   DAVEN          DURHAM                   NC           90002041192
37492A16791584   GUSTAVO        VALENZUELA               TX           90014850167
3749312532B871   JOSAFAT        VALDEZ                   ID           90011211253
3749468362B87B   UODONE         KINGMIXAY                ID           90010666836
3749489924124B   ROBIN          FISHER                   PA           90014188992
37498A21A91584   BRIAN          LOPRZ                    TX           90014850210
3749943A961432   TYLER          RUTHERFORD               OH           90014064309
3749994294B281   MARISSA        OLGUIN                   NE           90006909429
374B1389A2B255   SALVADOR       AGUILAR                  DC           90010933890
374B3579A91584   JAVIER         SALINAS                  TX           90010485790
374B3641791831   ADRIAN         DEVILLE                  OK           90010126417
374B398178B16B   PHILLIP        OUELLETTE                UT           90007319817
374B75AA32B87B   NATALIA        VASQUEZ                  ID           90010345003
374B8A1352B835   TIM            GREEN                    ID           42087980135
374B9449871955   RODNEY         WELDON                   CO           38045194498
374B9978A4B281   JEANNE         HOUNMENOU                NE           90010899780
3751955822B871   JANA           HATTON                   ID           90011015582
37519686A5B52B   DAVID          ROMERO                   NM           90012706860
3752199222B835   JUAN PABLO     RUIZ                     ID           90012109922
3752299845598B   DESAREE        SALAS                    CA           90011379984
3752791842B87B   KERRIE         MOORHEAD                 ID           90005769184
3752831194B275   TASHA          LEWIS                    IA           90005013119
3752893815598B   JACQUELINE     BAEZ                     CA           90013039381
37529A8A741285   THERION        NELSON                   PA           90013720807
3753369472B835   SYLVIA         DENNIS                   ID           90013256947
3753541117B639   CATHERINE      DIXON                    GA           90014594111
3753815837B639   RONNIS         TOLBERT                  GA           90014621583
3754142A591831   QRELL          JOHNSON                  OK           90013184205
3754749217B639   TOMAS          VALDEZ                   GA           90014254921
37549A43541285   DREON          MOULTRIE                 PA           51096100435
3755169A491584   ISABEL         ALDERETE                 TX           90015106904
3755369342B835   JASON          HUTCHINSON               ID           90012886934
375584A7155972   MICHAEL        ESPINOZA                 CA           90012334071
37563725A4B281   BRIAUNA        MUHAIMIN                 NE           90014627250
37563A44891584   MARIA          RUVALCABA                TX           90014850448
3756521667B639   SHANICE        PARKER                   GA           90010362166
37565586A2B835   JUAN           ESPINOSA-MONTANO         ID           42012315860
3756658358598B   PAMELA         JUDGE                    KY           90012445835
3756884467B492   JAMIE          CRAWFORD                 NC           90009298446
37569563A91232   JOSEPH         SHEAHAN                  GA           90007635630
3757793542B835   ANGELA         BEAN                     ID           42026349354
3758267885B52B   JORGE          CASTRELLON               NM           90012346788
37583147A25123   CHAD           CAYLOR                   AL           90014751470
3758473417B639   JALEN          THOMAS                   GA           90009397341
3758549642B871   ELIZABETH      GREEN                    ID           90011524964
375969AA44124B   WILLIAM        TIMBERS                  PA           51053599004
375B46A287B449   CARINE         JOLINE                   NC           90002596028
375B484245B52B   ANTONIA        DELEIN                   NM           90013048424
375B727337B492   WENDY          BROADWAY                 NC           90014232733
375B769854124B   MATTHEW        HUBERT                   PA           51090136985
375B782515B393   DARTGNAN       GEORGIADES               OR           44513978251
3762522952B871   PEDRO          VILLARREAL               ID           90011922295
37627A28491584   CYNTHIA        CARRILLO                 TX           90011130284
3762962837B639   JABRIA         THOMAS                   GA           90014866283
3762984965B545   JOHNNY         BACA                     NM           90010388496
3762B31297B492   APRIL          HARMAN                   NC           90013223129
37632A8684B281   CORY           CARLENTINE               NE           90012500868
37633A75861945   CAROLINA       GONZALEZ                 CA           90001530758
3763473795B393   MAGGIE         LORENZ                   OR           90011287379
3763511534B281   JOSHUAD        CAUDILL                  NE           90013201153
3763652164124B   CHRISTOPHER    STOCKLEY                 PA           90014715216
3764164325598B   AIOTEST1       DONOTTOUCH               CA           90015116432
3764268444124B   EMERALD        JONES                    PA           90014706844
37643AA8191584   JESUS          SANCHEZ                  TX           90007490081
3764793115598B   ALIBRA         CARTER                   CA           90011589311
3764B35A37B492   COOK           DENISE                   NC           90012583503
3765597522B87B   SCOTT          RIGGS                    ID           90011929752
3765655617B639   VANGREEKA      HUNTER                   GA           90010295561
37659328448B59   JIMMIE         BAKER                    AZ           90013963284
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3766479A97B639   TERELL         GLOVER                   GA           90014247909
3766596127B639   SAYDA          XILOJ                    GA           90012039612
3766797815B393   JULIO          BAEZ                     OR           90011979781
37669725A4124B   SHARITA        WYATT                    PA           90014707250
3767124A691893   DEBORAH        GIST                     OK           90013592406
3767224A691893   DEBORAH        GIST                     OK           90013592406
376724A112B87B   RANDAL         HALLENBERGER             ID           42094604011
3767468235B52B   YOLANDA        PARKER                   NM           90009046823
37676286472B76   ANDREW         CANNON                   CO           90008832864
3768367422B871   ERIC           MARTINEZ                 ID           42016106742
3768938A65598B   MARTIN         MATA                     CA           90012243806
3768964325598B   AIOTEST1       DONOTTOUCH               CA           90015116432
3768B4A1833634   RONNIE         STATON JR                NC           90009174018
3769466357B639   TOYEE          BRITTON                  GA           90014866635
3769615A35598B   VICTORIA       BENNETT                  CA           90011581503
3769714485B52B   GUADALUPE      MOLINAR                  NM           90013631448
3769779AA7B639   JASMINE        THOMAS                   GA           90014717900
3769962712B835   SONNY          REGES                    ID           90010836271
3769B381843521   ROSS           MATHEWS                  UT           31004163818
376B243362B871   AURELIO        FRAUSTO                  ID           90014604336
376B243A45B156   CARL           BROCK                    AR           23091914304
376B299A92B87B   SONYA          SANKEY                   ID           42044869909
376B545865B156   LEATHA         CREDIT                   AR           23020354586
376B894954123B   JAMIE          BINGHAM                  PA           90012519495
37716A21591584   MARIA D        SANDOVAL-MARRUFO         TX           90014860215
37723699A7B639   ALEX           WILLIAMS                 GA           90013406990
3772374364B275   JEANETTE       FENNER                   NE           90004777436
3772548685B52B   RICARDO        SALCIDE RIVERA           NM           35014524868
37725496A2B87B   CONDOLA        KELLY                    ID           90010184960
3772863615B52B   PATRICIA       GURROLA                  NM           35002886361
3772B51872B871   AMY            SNYDER                   ID           42093235187
3773281197B639   RISHA          STEPNEY                  GA           90014718119
3773515825B52B   SHAQUILLE      MEADE                    NM           90001971582
377355A9255951   MANUEL         OCHOA                    CA           90011835092
3773919842B271   LASHONTA       WARD                     DC           90014701984
37739A52A91831   VICTORIA       GARCIA                   OK           90011870520
3773B73742B871   DAVID          VARIE                    ID           90011017374
3774158954124B   MICHEAL        SMITH                    PA           90014715895
377417A825B393   BRENNAN        BALDWIN                  OR           90010457082
3774365815B393   GLENNA E       RABADON                  OR           90015256581
3774384A691232   WILLIAM        JOHNSON                  GA           90007638406
37744A44591525   VIRGILIO       DOMINGUEZ                TX           90003860445
3774585287B471   ANTONIO        SANDERS                  NC           90004268528
37746398A91831   ANGELA         PLUMMER                  OK           21093853980
3775B7A945B52B   JENNIFER       DUNN                     NM           90010967094
3776231987B639   QUENTIN        CANTIDATE                AL           90012163198
3776433442B87B   ESCOBAR        RAMIREZ                  ID           90010243344
37764A2A941258   DENICE         GRAY                     PA           51055590209
3776977164B281   RYAN           STUTZMAN                 NE           90014337716
3777B4A732B871   PAUL           STAMP                    ID           90006194073
3778243A65B52B   DIANNA         MACLELLAN                NM           90013254306
3778361A191584   VERONICA       MORENO                   TX           75036046101
37784A73998B61   RUTH           LAKE                     NC           90010080739
377865A575598B   ADRIANA        SEPULVEDA                CA           90003875057
3778772932B87B   CONNER         HOY                      ID           90010067293
377888A992B871   MELISSA        SEARLE                   ID           90002448099
3778949294B281   SHIRLEY        THOMAS-BASS              NE           90002934929
3778B133A5B393   VIVIAN         MORAN                    OR           90013161330
3779153834B275   AARON          YECK                     NE           90008385383
37795149944B45   LAURIE         MUNTEAN                  OH           90014311499
3779853834B275   AARON          YECK                     NE           90008385383
3779935AA4B281   HESTER         EUGENE                   IA           90014963500
3779B68324124B   EBONY          POINDEXTER               PA           90014716832
377B18A412B835   ADAM           SISNEROZ                 ID           90010058041
377B379AA7B639   JASMINE        THOMAS                   GA           90014717900
377B5625732573   CHRISTOPHER    BARNES                   TX           90013956257
377B7624355972   YOALI          RAMIREZ                  CA           90013896243
37816786372B76   JOSH           DAVIS                    CO           33065657863
37817A23291232   LAKISHA        HOLMES                   GA           90001240232
3781913AA41285   AMY            DAVIS                    PA           90010051300
378215A162B835   LIZZETH        SERRAN                   ID           90002535016
3782173784124B   YAKESIA        GREEN                    PA           90014717378
378283A235B52B   AMBER          COGDILL                  NM           90011883023
37833AAA555951   JULIO          JIMENEZ                  CA           90011840005
3783449AA2B871   REGINA         GALLION                  ID           90011074900
378354A8472B76   ATHENA         RAGAN                    CO           90005654084
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37836692597B31   ROBERTO        FLORES                   CO           90010936925
37837A89591584   MICHELLER      MEDINA                   TX           90014860895
37845A82491584   SONNY          MENDOZA                  TX           90005710824
3784921675598B   JOSEPHINE      HINOJOSA                 CA           90011592167
3784B41855B52B   JOHN           THOMPSON                 NM           35073284185
3785165112B871   BEN            MADSEN                   ID           90010486511
37854123A91584   JOSE           CASTRO                   TX           75071161230
37855746A91584   GLORIA         CARRILLO                 TX           90011227460
3785852442B871   ANNE           WILSON                   ID           90005995244
3785919A75B37B   DOUG           OLINGER                  OR           44586311907
3786191112B835   SHAWN          JONES                    ID           90014639111
3786563985B393   YOJAINER       OLANO                    OR           90015296398
37869863A5B393   ZAKKARY        FIELDS                   OR           90013698630
3787B85512B87B   GREISY         COTA                     ID           90011168551
3787BA2275B52B   STEVE          MILLER                   NM           90012400227
3788695A15598B   EUGENIA        DIAZ                     CA           90013039501
37887A95541285   BETTY          MURPHY                   PA           90010970955
3789921675598B   JOSEPHINE      HINOJOSA                 CA           90011592167
37899A7872B87B   PURNA          ADHIKARI                 ID           90013620787
378B117392B87B   MATTHEW        BOMAN                    ID           90013521739
378B733972B871   HORACIO        FIERROS                  ID           90013663397
378B737837B384   NELSON         CASTELLON                VA           90001703783
378B8488A5B393   MICHAEL        RYAN                     OR           90013854880
378B937252B835   DEVIN          FLETCHER                 ID           90012913725
3791156555598B   AMBER          RETANA                   CA           90012955655
3791156A141285   KHALIL         VENNIE                   PA           90013455601
379147A6655972   JAKE           PARNELL                  CA           90013957066
3791679555598B   LUIS           TOPETE-LANDIN            CA           90013217955
3791B92444124B   BETTY          QUINN                    PA           90014719244
37925437A5598B   ENRIQUETTA     MILCHOR                  CA           90013024370
37928723972B76   DEATRA         DUKES                    CO           90004337239
3792913367B492   MARSHELL       WILLIAMS                 NC           90014761336
3792B45895B52B   KENNETH        MESSLER                  NM           90014594589
3792B4A3891831   DALTON         SIRMON                   OK           90014704038
37933471A2B87B   GILBERTO       ROMAN                    ID           42069544710
3793B237155972   ANGELA         BOCANEGRA                CA           48095332371
3793BA66241258   WILLIAM        SEATON                   PA           90007820662
3794441725B52B   ANTHONY        MCCAUSE                  NM           90010434172
3794452842B835   IAN            RHODES                   ID           90012235284
379449A874B275   JACKI          SPRINGER                 NE           27021429087
3794738827B639   DAVINA         JAMES                    GA           15066053882
3795769332B835   CHAZ           VARGASON                 ID           90014906933
3796564395598B   AIOTEST1       DONOTTOUCH               CA           90015116439
3796687A34B281   LEATRICE       BROWN                    NE           90012278703
3796966A655951   YOLANDA        GUZMAN                   CA           90012966606
3796B7AA291232   PAMELA         KARABATSOS               GA           90010227002
37973596A7B639   YOULANDA       SHORT                    GA           90013865960
37974A55555972   PATRICIA       DE LA CRUZ               CA           90011410555
379786A9A5B393   PAMELA         SUE-MAXON                OR           90012026090
37979A92841285   SACH           MO                       PA           90013960928
3797B149691584   LUIS           ESCAJEDA                 TX           90014861496
379816AA531424   LASHONDA       JONES                    MO           90014286005
3799131A251347   JOHN           NIANG                    OH           90008203102
3799214A47B639   SALISHA        HOWE                     GA           90005121404
379956AAA2B835   NZABONIMPA     STANISLAS                ID           90006146000
379B167315B393   NICOLE         LUTHER                   OR           90007866731
379B188545B52B   DIANNA         KALISCH                  NM           90008208854
379B2434A57B79   JAVI           COLORINA                 PA           90014864340
379B4537991831   AMANDA         RASH                     OK           90012645379
379B543A37B639   PANDORA        WHITE                    GA           90008274303
379B5929191525   NANCY          NELUMS                   TX           90012389291
379BB94884B275   TRISHAJOY      STADT                    NE           90001619488
37B1255228B16B   SABRINA        CANTU                    UT           90003105522
37B12A81953B95   BIANCA         WILLIAMS                 CA           90013780819
37B1556A24124B   STORM          COMLY                    PA           90014655602
37B2119434124B   EDDIE          PIELIN                   PA           90013421943
37B2391957B492   EVET           ALLEN                    NC           90013949195
37B2444294B275   JONATHAN       WHITE                    NE           90005764429
37B2542777B492   KIMBERLY       SMITH                    NC           90013424277
37B27717255972   MIGUEL         DUARTE                   CA           90014577172
37B34756991893   ANGELA         GEORGE                   OK           90013547569
37B3477775598B   MARISELA       CASILLAS                 CA           90013747777
37B34937791584   MARIA          ENRIQUEZ                 TX           90014819377
37B3671525137B   JURELL         SMITH                    OH           90014227152
37B37195291584   ARMANDO        CORONA                   TX           90011221952
37B3BA36331424   ANGELA         KELLY                    MO           90013160363
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37B41169841455   GLORIA         MORENO                   WI           90013191698
37B47436155972   SHAUN          STEPHENSON               CA           90010494361
37B517A6A7B639   RAJAEE         DUNCAN                   GA           90014977060
37B5214782B871   EDDIE          BOSWELL                  ID           90014711478
37B53796941258   SEAN           BECCKWITH                PA           90014407969
37B552A7A41258   BRANDON        OGG                      PA           90013292070
37B56A9633B127   EDWIN          DE LEON                  VA           81027820963
37B5768915B52B   KIMBERLY       MULLEN                   NM           90012886891
37B58861541285   FLOYD          GARDNER LUCAS            PA           90010948615
37B6154332B835   KRISTINE       BANEY                    ID           90010375433
37B6276935B52B   MORGAN         PEREA                    NM           35091757693
37B6437797B492   HOLLY          JENKINS                  NC           90013953779
37B64491191831   BRANDY         CHAPLIN                  OK           90011164911
37B6836352B87B   MARIAH         HARDING                  ID           90011443635
37B6B349655951   CAITLIN        HOOD                     CA           49072333496
37B7318125B393   CAROL          DEMARIS                  OR           44523901812
37B7463625B52B   RNAY           VALDEZ                   NM           90014686362
37B76556431424   JAMIE          GORDORN                  MO           90012075564
37B78985655951   ALVARO         PALAFOX                  CA           90011809856
37B7B79984B281   JENNIFER       MICHELL                  NE           90010287998
37B8114452B871   KENNETH        NUNES                    ID           90008291445
37B91772191584   IGNACIO        GIRARD                   TX           90009947721
37B9291842B87B   KERRIE         MOORHEAD                 ID           90005769184
37B92A17955951   JONATHAN       CERVANTES                CA           90011810179
37B95975391831   MATTHEW        ENNIS                    OK           90014769753
37B96192591893   VIRIDIANA      IBARRA                   OK           90013551925
37B97AA524B281   TUAN           NGUYEN                   NE           90010320052
37B9887A691584   THRASHER       HEATHER                  TX           90009688706
37B999A835598B   DEREK          VINCENT                  CA           90011359083
37BB194467B492   LUIS           VASQUEZ                  NC           90015029446
37BB687164B281   LAURA          MONEN                    NE           90010208716
37BB9369591831   SHAKERA        SIMMONS                  OK           90002453695
3811115A933B91   JENNIFER       AYERS                    OH           90014801509
3811419A67B639   TALITHA        SUMRALL                  AL           90012841906
3811626842B871   NATE           MALLOY                   ID           90007962684
3812269675B393   YAZMIN         RAMOS                    OR           90013526967
3812328415B156   SHARLAN        ELLIS                    AR           23087182841
3812393187B471   ANDREA         EMANUAL                  NC           90009489318
38124A7257B639   DEWAMMACA      FRAZIER                  GA           90007330725
3812544335B393   HEIDI          PIERCY                   OR           90008914433
3812677375B52B   ABRAN          BARELA                   NM           90012237737
3812789588B16B   MYNOR          ROBINSON                 UT           90011758958
3812B3A227B639   ELSHARANI      ELHAG                    GA           15004733022
3812B59A291356   JOY            GREENHALGH               KS           29001525902
3813346A833681   CHUQUITA       LEGRANDE                 NC           90011694608
3813948127B471   KENNETH        AMOAKO                   NC           11004014812
3813985A94B281   MARLYN         MARTINEZ                 NE           90003998509
3815146574124B   LEE            MICHAEL                  PA           90011464657
3815382697B639   JAMES          WILLIAMS                 GA           90014918269
3815B196355972   VICTOR         SANCHEZ                  CA           90013961963
3816678185598B   JOSE           APOLINAR                 CA           90012877818
38172764A5B393   JOSE           JUAN-JOSE                OR           90013487640
381753A1A36143   GUNNER         SUMMERVILLE              TX           90011213010
3817861A936143   JUAN           MALDONADO                TX           90003776109
3817864528B16B   HOWARD         TYLENDA                  UT           90011766452
3818B27872B87B   JAKE           VANMETER                 ID           90012292787
3819318AA55972   ANDREW         KELLERHALS               CA           90003131800
3819561715B344   MARCELLINO     CEDILLO                  OR           90000246171
3819951318B16B   DANIEL         DIAZ                     UT           90007255131
3819B6A575B52B   EDWIN          PEREZ                    NM           90013376057
3819B9AA136143   DESIREE        MARTINEZ                 TX           90014159001
381B1532251369   DERRIANA       JAMES                    OH           90003955322
381B2719741258   WILLIAM        VETTER JR                PA           51088227197
381B2729136143   BRANDI         CARRERA                  TX           90014707291
381B3233131424   ANTHONY        GARAVIGLIA               MO           90010422331
381B3982536143   JESUS          ZAVALA                   TX           90014099825
381B648AA7B449   MARTIN         RAMOS LIBORO             NC           90001804800
381B8433531424   RICHARD        CODY                     MO           27577524335
38212218A2B871   KATHERINE      BROWNING                 ID           90010172180
3821792195B557   JOSE           SOT MEZA                 NM           90009989219
3821B424836143   GERALD         FRANKLIN                 TX           90014614248
3821B773931424   JAMES          DECLUE                   MO           90007867739
3821BA9795598B   TOMAS          ROMERO                   CA           90008270979
3822276862B835   JESUS          JIMENEZ-HERRERA          ID           90010777686
3822732772B87B   JENNIFER       HAMMOND                  ID           90013863277
3822B46617B639   DOSHELL        JOHNSON                  GA           90014574661
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3823158585598B   JESUS          ANGUIANO                 CA           90005895858
3823B56232B87B   NELLY          RODRIGUEZ                ID           90012365623
3823B931A2B559   BRITTANY       BROWN                    AL           90014709310
3824168554124B   IAN            PAREDES                  PA           90010326855
382433A2636143   RUBEN          TREVINO                  TX           90009943026
38243A47176B45   ANA            HERRERA                  CA           90008160471
3824414775B393   ANN            BAILEY                   OR           90014181477
3824544685B52B   ALEX           TORREZ ACOSTA            NM           90004674468
38246A79536143   GEORGE         PRENTICE                 TX           90013100795
38251A85555972   SARA           ANDERSON                 CA           48019960855
382569AAA5B296   ARIANNE        PEAK                     KY           90010719000
38257591497B37   JONATHAN       HIESTAND                 CO           90002585914
3825922168B16B   KAYLIE         GUTHRIE                  UT           90011002216
3825B94174B281   CHUDIER        GUIN                     NE           90012979417
3826158797B639   BRIANNE        JONES                    GA           90014575879
382633A152B871   MIGUEL         LOPEZ                    ID           90013293015
3826B444851382   MARION         SIZEMORE                 OH           66006414448
3827521AA2B87B   CLARK          ROBERT                   ID           90012802100
382791A8A36143   ELIZABETH      MIRELES                  TX           90014061080
3827B691784381   LEROY          GODFREY                  SC           90012436917
38282454A55972   SCOTT          WHITE                    CA           90005774540
3828252685B344   KRYSTINA       DAWN                     OR           90008805268
3828934554124B   TAMIA          WEST                     PA           90010963455
3828B374531424   JESSICA        WELCH                    MO           90010103745
3828B668A2B87B   GLEN           WAGONER                  ID           42082926680
3828B7A6351382   AMBER          BRYANT                   OH           90005947063
3829186294B281   IVETH          GARCIA                   IA           90011458629
3829231A25B52B   RUTH           CARDENAS                 NM           90014513102
3829462167B639   ROSHANDA       DORSEY                   GA           90014576216
3829899A536143   EDGAR          DUENEZ                   TX           90014889905
3829948997B639   ROSLYNN        MCKOY                    GA           90010284899
382B146936B242   LISA           CARROLL                  AZ           90012564693
382B26A3133638   JAYCEE         CLAPP                    NC           90000246031
382B6815191356   PHILLIP        HYATTE                   KS           90013748151
382B846295B393   LEAH           KIGHTLINGER              OR           90008514629
382B955A14124B   BRIAN          JUSTICE                  PA           90010365501
382B9A67241258   SHAUN          SMITH                    PA           51092310672
382BB336533625   HEATHER        DENSON                   NC           90010753365
38312131A31424   ALANNA         HARDWICK                 MO           90014681310
3831667692B871   KIMBERLY       FREEMAN                  ID           90003396769
3832266815B52B   JEANNETH       TORRES-GUITIERREZ        NM           90013386681
3832434554124B   TAMIA          WEST                     PA           90010963455
3832435682B87B   MATTHEW        SHAW                     ID           90012083568
38324368A31424   FAITH          OLIVER                   MO           90010103680
38325A81931424   KESHA          HOFF                     MO           90008970819
3832878854124B   KRISTIN        KENNEDY                  PA           51082167885
3832B23692B87B   JAKE           TALLY                    ID           90014712369
3832B36755598B   KENNETH        BRABBIN                  CA           90012703675
3833143152B835   ELIJAH         MEYER                    ID           90013514315
383337A694124B   JAMES          FRIERSON                 PA           51086137069
38334494A5B393   CONTRINA       MILLER                   OR           90008604940
3834483274B281   YESENIA        VALDEZ                   NE           90014958327
38345231A5B344   ABBIGAYLE      JONES                    OR           90004032310
3834891682B835   NATHAN         PELTON                   ID           90011409168
38356232A6192B   WILLIAM        PINCKNEY                 CA           90011842320
3835997312B87B   SPENCER        BROWN                    ID           90011949731
38359A7392B835   CHELSEY        LAY                      ID           90013150739
3836898135598B   VICTORIO       EAM                      CA           90013169813
3836B823273269   JAMES          ZELLER                   NJ           90014208232
3837583147B639   DAMIONIYAN     FRANKLIN                 GA           90014128314
38375AA615B393   GERTRUDES      MYERS                    OR           90014170061
3837687A855972   ROSIE R        PANDO                    CA           90005238708
3837878722B87B   GARRET         DAVIS                    ID           90012827872
383793A9541285   SAMANTHA       J PATTEN                 PA           90011093095
3837BA2195598B   VERICK         PHEANG                   CA           90011860219
3838124337B639   OTIS           MCCLENDON                GA           90010882433
3838255AA5B344   MARVIN         KREPS                    OR           90010025500
383828A5691831   MURRIEL        CARTWRIGHT               OK           90009938056
383847A9344B5B   DENISE         FULLER                   OH           90014177093
38388886787B41   MARY           BREWER                   AR           90014448867
3839312614B281   JULIO          RODRIGUEZ                NE           90011291261
3839444A257135   WILLIAM        GOMEZ                    VA           90008304402
38395436A72424   KRISTINA       CALDWELL                 PA           51015264360
38396A3135B52B   AMANDA         STILLWELL                NM           90001960313
3839B937731424   TABITHA        DAVIS                    MO           90005239377
383B3317897B33   LUIS           SALAZAR                  CO           33009643178
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383B751327B639   CANDICE        RENEE                    GA           90011525132
383B9A88271955   MARCO          ALANIZ                   CO           38065820882
383BB289231424   GUAN           HEAD                     MO           90013962892
383BB537155972   ALFONSO        VELAZQUEZ                CA           90014175371
3841372677B471   EMILIA         ROBLES                   NC           11078227267
3842253715B393   CRYSTAL        MOORE                    OR           90014395371
384252AAA2B871   BAILEY         REYNODS                  ID           42080082000
3842885474124B   ASHLEY         PASINSKI                 PA           90009398547
3842893687B397   JOSE           AYALA                    VA           90008119368
3842B195591232   PAYGO          IVR ACTIVATION           GA           90009271955
38433477A36143   ELIZABETH      RAMOS                    TX           90010314770
3843916967B639   QUANTAZA       GAY                      GA           90012271696
38439735A4B281   JOSE LUIS      SOLORIO LEDESMA          IA           90013097350
3843B245191831   ANABELI        MARTINEZ                 OK           90009812451
3843B9A1855972   MYRONEE        DIAZ                     CA           90013689018
3844358A85B52B   GABRIELLE      TORRES                   NM           90013495808
384435A4936143   FELIX          HERNANDEZ                TX           90013665049
38445A6215B393   VICTORIA       BROWN                    OR           90000710621
3844775277B449   CHRIS          MAHONE                   NC           90012077527
38448286A2B871   JONATHAN       TELLO                    ID           90000212860
38448A66655931   BEN            LOPEZ LUCERO             CA           90010790666
3845144675B393   PHILIP         COMER                    OR           90010234467
3845166537B639   LATOYA         CLARK                    GA           90009936653
3845178A47B449   ASHLEY         WALLACE                  NC           90010477804
3845431A331424   JACKIE         THOMAS                   MO           90008733103
3845446394124B   SHERICE        MORANT                   PA           90010414639
3845665325B344   KALLA          NICHOLAS                 OR           90005486532
3845693352B87B   DALE           HOUST                    ID           90006579335
38458A31936143   CYNTHIA        SANCHEZ                  TX           90006680319
38461862A91831   JOSEPH         EDWARDS                  OK           90012348620
38464AA1191371   LAURA          TERRAZAS                 KS           29059310011
3846669317B422   BECKY          BLANKENSHIP              NC           90010276931
3847117175598B   JUAN           REYES                    CA           90010741717
3847284A755972   PETE           HERNANDEZ                CA           90008028407
384773A9741285   JOI            TEASLEY                  PA           90014923097
3847B689891885   DIANE          DAVIS                    OK           90008946898
3848225952B87B   BRENNA         STRYKER                  ID           90012082595
3848493614B281   CHERELLE       QUARLES                  NE           27073169361
384889A442B87B   JAY            WESTFALL                 ID           90004719044
38493118A36143   ESTER          CORTEZ                   TX           90013941180
3849367415B393   HEIDI          EATON                    OR           90012616741
384982A1436143   CARMELITA      MARTINEZ                 TX           90013942014
3849861392B87B   JUSTIN         LOCKWOOD                 ID           90012886139
384B6655472B33   SHANEAH        DULIN                    CO           90006886554
384B83A8636143   FANTASIA       BALLI                    TX           90013833086
384BB91327B639   BARBARA        JOHNSON                  GA           90000759132
384BBA2965B393   SUNNIE         PETERSON                 OR           90014170296
38515A5558B16B   NIKI           BOYD                     UT           90007320555
38516499576B64   BRISET         CASTRO                   CA           90011514995
3851655235B344   CORAL          ASHLOCK                  OR           44539785523
38518A77757135   JUAN           DE LAS CUEVAS            VA           81009120777
38519446A57139   STEPFANY       GOMEZ                    VA           90006674460
38524627A2B835   FERNANDO       ALVAREZ                  ID           90002526270
3852B518257B79   CADE           ELSWORTH                 PA           90014005182
38532A5377B639   CHRIS          LAWRENCE                 GA           90013740537
3853331477B639   LARRY          COOPER                   AL           90014203147
3853338A651369   REGINALD       BELL JR.                 OH           90001573806
38534498A41258   MAGGIE         PHILLIPS                 PA           90014874980
38537A99636143   HENRY          MARTINEZ                 TX           90013950996
3853854652B835   HONEY          HUNTER                   ID           90010985465
3853962782B87B   VIOLETA        GAONA                    ID           90005766278
3854251144B281   JAMIE          SCOTT                    NE           90013065114
3854411277B471   LAKEISHA       OFAIR                    NC           90000761127
3854444A95416B   MISTY          DUBORD                   OR           90009364409
385482A222B87B   ELISHIA        RICKY                    ID           42093692022
3855139612B871   RICARDO        BENAVIDES                ID           90012083961
3855558328B16B   RYAN           DUNHAM                   UT           31049525832
3855B57424B281   SALVINO        NAMBO-FULGENCIO          NE           90012005742
3856253992B871   CINDY          OJEDA                    ID           90015125399
3856395815B393   SAMANTHA       REVIERE                  OR           44534609581
38564152A2B93B   JOEY           CAPUTI                   CA           90012071520
3856933118B16B   PLEDGER        WILLIAM                  UT           90004193311
3857258264B281   GRACIELA       RIVAS                    NE           90013355826
3857538437B449   GARFIELD       DYER                     NC           11096583843
3857B84175B393   LOZANO         ZEPEDA                   OR           90003808417
385814A8336143   DEBBIE         HERRERA                  TX           90014014083
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3858155658B16B   JEFFREY        SPEER                    UT           90012185565
38587832A57599   ALEXANDRA      MENDIVIL                 NM           90004158320
3859384182B835   MICHAEL        SNOW                     ID           90014758418
3859574315598B   AIOTEST1       DONOTTOUCH               CA           90015117431
3859B318255972   ANGEL          PUGA                     CA           90009273182
385B1228491831   WAYLON         SMITH                    OK           90009702284
385B265145B393   MARWIN         HEBDON                   OR           90001376514
385B3529772471   RYAN           TUMPA                    PA           90012555297
385B4323436143   NORMA          PENA                     TX           90013943234
385B5762755972   VIRGINIA       WALKER                   CA           90014057627
3861442432B26B   ERIK           WRIGHT                   DC           90012614243
3861445A755939   ALICE          DIAZ                     CA           49003034507
3861B41685B393   JIMMY          HOFFA                    OR           90014184168
3861B53262B835   MALLORY        SAVANNAH                 ID           90011915326
3862534992B871   PO             LO                       ID           90012733499
3862851528B16B   MARCELA        E ALICEA                 UT           90006275152
3862B297391831   APRIL          LEWIS                    OK           90013542973
38633122A2B835   JOHN           KENNEDY                  ID           90012071220
386334A7A5598B   MARIE          FRITZLER                 CA           90014434070
3864254518B16B   BRYAN          STEPHENSEN               UT           90012605451
3864765A391831   TEARA          RUSHING                  OK           90011016503
38648726A91831   JOSEPH         FELTON                   OK           90009817260
386487A194124B   MELISSA        CINKAN                   PA           90010537019
38648A2444124B   MELISSA        CINKAN                   PA           90013270244
3865281162B835   KELLY          WOODARD                  ID           90012748116
3865339962B87B   DANIEL         OULE                     ID           90013923996
38654A2315B393   ZACH           NEEPER                   OR           90013530231
38655991A41258   THOMAS         BENCHO                   PA           90013759910
38656A6935598B   MARTIN         JIMENEZ                  CA           90009800693
3865984227B639   LUIS           OSARIO                   GA           90012478422
3866592525B52B   JUAN           MONTALVO                 NM           90014919252
3866748642B87B   MICHAEL        SCHAFFER                 ID           90013654864
3866938117B639   LAKRISSA       VAUGHN                   AL           90012943811
3866999217B639   DARLENE        JOHNSON                  GA           90015189921
3866B14457B471   MARIA          ANDERSON                 NC           90014901445
3867684862B87B   SONIA          MARISCAL                 ID           90010568486
3867B183A4B281   JUANA          ANDRES                   NE           90012261830
3867B813191356   GLENDA         RANDOLPH                 KS           29001258131
3868957A64B281   FELICIA        SMITH                    NE           90011295706
3868B43167B639   MIESHA         STEWART                  GA           90013694316
3868B79282B835   ALIZE          MAES                     ID           90014317928
3868B83285598B   SCOTT          CASEY                    CA           90013018328
3868B95354B532   VICKY          ENDSLEY                  OK           90001009535
3869344A25B379   JENNIFER       MCINVAILLE               OR           44516134402
38697AAA37B639   ASHLEY         HUDGINS                  GA           90013730003
3869826A836143   SUSANA         A                        TX           90014202608
3869B221841258   MICHAEL        SUEHR                    PA           51006992218
386B3947271955   RACHAEL        MAESTAL                  CO           90007749472
386B414824B281   THOMAS         FELIPE                   NE           90011501482
386B496282B871   SANDRA         MARTINEZ                 ID           90011159628
386B8647736143   ALEXANDER      CASTILLO                 TX           90011266477
386B914767B639   KIANA          ADAMS                    GA           90015001476
3871138236B198   BEAYOUNCA      HILL                     MS           90014593823
3871255255B393   TATYANA        LETOV                    OR           90014185525
3871858145B52B   AMANDA         ATENCIO                  NM           90010575814
3872227682B871   BLATAZAR       CASTILLO CONTRERAS       ID           90012362768
38727596A5B393   ESMERALDA      CUEVAS                   OR           90014185960
38731A74941285   JACQUELINE     GALLIMORE                PA           51009480749
387335A4851369   JUANITA        BULLOCK                  OH           90001125048
38733A2A541285   DANIEL         STREETE                  PA           90013480205
3873639895B344   MICAH          SIMMONS                  OR           90007243989
3873784945B393   PAUL           LARSON                   OR           90010458494
3873795987B471   STEVEN         SPARKS                   NC           90006779598
387384AA355972   MARY           LEBUS                    CA           48075084003
3873994A15598B   JESSE          LOPEZ                    CA           90014049401
3873B47135B393   MICTHEL        THOMPSON                 OR           90011014713
38741AA422B835   SHARI          WIDAMAN                  ID           90008000042
38742A44236143   VALERIE        ELIZARDO                 TX           90001970442
3874481922B87B   MICHAEL        CHRISTENSEN              ID           90013808192
38746686A91371   DASHNE         SAEED                    KS           90000606860
3874861625B393   SANTOS         ORTIZ                    OR           90014186162
3875239A941258   JAMIE          TAYLOR                   PA           90013883909
3875365424B281   NHIEM          TRAN                     NE           90012426542
3875731A155972   D&M            REYNOSO APPLIANCES       CA           48083453101
387592A777B639   SADE           WHITEHEAD                GA           90014172077
3876362624B281   JONATHAN       EBERLY                   NE           90013356262
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3876386675B537   MARIO             TRUJILLO              NM           90013298667
3876469455598B   MELINDA           FRIAS                 CA           49006756945
38765442A2B87B   SARAH             PRESTON               ID           90007924420
38767555A5598B   LORINZO           ACEEES                CA           90014375550
3876773398B273   JOHN              SMITH                 VT           90014247339
38768672A2B87B   TYLER             GILBERTSON            ID           90012676720
3876B23345B52B   HENRY             ROMERO                NM           90006212334
3877477735598B   JESSICA           MACIAS                CA           90013697773
387855A322B87B   JOEL              BOLDGRIEN             ID           90010945032
3878673752B835   ARIEL             LAW                   ID           90012087375
387876A872B87B   AH                PUH                   ID           90012156087
3878B958336143   BRENTON           GIRDY                 TX           90014669583
3879132677B639   MALENA            JOHNSON               GA           90014873267
3879325237B449   NILA              EUSEBIO               NC           90009402523
3879339344124B   DAWNETTE          BARLOW                PA           51073653934
3879977985B393   THOMAS            WILLIS                OR           90009937798
387B553542B87B   DANIELLE          GUINN                 ID           90013655354
387B587357B449   TAWANNA           JACKSON               NC           90012158735
387B6647736143   ALEXANDER         CASTILLO              TX           90011266477
387B989A67B639   SHEMETA           MOSES                 GA           90014588906
387BB2A195598B   JEFFERY           HOOD                  CA           90010742019
387BB92222B871   JAYLENE           PATIT                 ID           90011219222
388132A395598B   ALEJANDRO         LOPEZ                 CA           90011542039
3881467625B52B   JUAN              VALDEZ                NM           90014126762
38814778A91356   EDWIN             HARRIS                KS           90002397780
3882134A92B835   KYLEA             DARRAH                ID           42043603409
3882399657B639   SIRETHA           MOODY                 GA           90013059965
3882952A47B639   WILLIAM           SEABROOK              GA           90010805204
3883382795598B   DAVID             SMOTHERS              CA           90014688279
3883495794B281   ARMANDO           MUNOS                 NE           90011549579
3883654A431424   NIESHA            PITTMAN               MO           90014135404
38836668A5B393   MARQUITA          JEFFERSON             OR           90006786680
3884142AA31424   LAWONDA           HENDERSON             MO           90010864200
38843AAA641285   SHEENAL           BELO                  PA           90013640006
3884481697B639   DEVONTE           MCRAE                 GA           90013748169
3884491762B835   SAUL              TACZA                 ID           90014129176
3884715374124B   KID               WADE                  PA           90005801537
3884854A25598B   ARMEN             MKHITARYAN            CA           90004885402
3884B511141285   CULLEN            FROST                 PA           90011225111
3885268162B87B   AARON             THOMAS                ID           90009216816
3885619A15598B   HEIDI             HERRERA               CA           90014641901
3886419957B386   ELMER             ESCAMILLA             VA           90011661995
38866A84991525   ROSIE             MADRID                TX           90003330849
38867855272B23   ROSALBA           GARCIA                CO           90008658552
3887B38A95B52B   WALLACE           NEZ                   NM           90010353809
3887B939655972   BRANDON           MONROY                CA           90013639396
3888734AA4B281   BEATRICE          DAVIS                 NE           90002913400
3888779247B639   MERCEDES          JAMES                 AL           90014777924
388877A264124B   KEONA             SUPPLES               PA           90013187026
3888B71685B393   DOROTHY           SHERECK               OR           90014237168
38894A91141285   ALAN              WEIBLINGER            PA           90011520911
388B281697B639   DEVONTE           MCRAE                 GA           90013748169
388B3837191831   BRANDY            PETTIE                OK           90011018371
388B8672A2B87B   TYLER             GILBERTSON            ID           90012676720
388B871755B393   JAWAN             MULLEN                OR           44598557175
3891356554124B   FRANKLYN          HIGGS                 PA           90011065655
3891429717B639   DONALD            TOLBERT               GA           90014152971
3891984284B281   TISHA             POINTER               NE           90008588428
3891B7A2591356   WILLIE            GARNER                KS           29088457025
38923A8912B871   JOSE              MORONES               ID           90014970891
3892625417B639   ANGELA            SELLERS               GA           90014602541
38933A3684B281   PABLO             CHACON                NE           90009150368
3893562364B597   QUAYSEAN          WILLIAMS              OK           90009976236
389392A222B871   ELISHIA           RICKY                 ID           42093692022
38939AA654124B   RACHAEL           DUNN                  PA           90012500065
3894265164124B   JENNIFER          KARADEEMA             PA           90014236516
3894444352B871   ALBERT            HINOJOSA              ID           90013624435
3894483678B16B   JAYSON            HUFFMAN               UT           90001008367
38946249A7B639   LAVONDRA          THOMPKINS             GA           15082792490
3894654155B287   KANDLYN BOWLING   COREY BOHANNON        KY           90014685415
3894789A77B449   ANTRON            BOYER                 NC           90011758907
3894978394B522   SHAQUESTA         FIELDS                OK           90009737839
3894B82AA41285   TONY              SIEGWORTH             PA           90008008200
38957AA7A7B639   OMESHIA           GRAY                  GA           90012490070
3895832615B156   CAROLYN           BINNS-HOOVER          AR           90004943261
38958AAA891831   IVON              DURAN                 OK           90011030008
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 389 of 1007


3895977235B393   CASSIDY        TOMI                     OR           90012007723
3896215485B52B   DENNIS         ROYBAL                   NM           90014031548
3896BA5162B835   MISTY          SYKES                    ID           90014390516
3897234392B87B   KYLE           LEYDEN                   ID           90013743439
3897262932B87B   KYLE           LEYDEN                   ID           90013656293
3897291262B87B   KYLE           LEYDEN                   ID           90013789126
38981A94991831   SILVA          CASTILLO                 OK           90010300949
3898663812B87B   YURI           FRENEITES                ID           90007816381
3898B45977B639   TYP            PATTERSON                GA           90011754597
3899217442B835   PEGGY          COLLINGS                 ID           90010361744
3899584945B393   JOSE           SILVA                    OR           90012058494
38996A8524124B   RANDOLPH       MCKENNA                  PA           90005000852
3899862355B131   RODNEY         BEASLEY                  AR           90013456235
389B5782641285   TOM            JOSAPAK                  PA           90007057826
389B758855B52B   SANDRA         GURROLA                  NM           90003035885
38B1174592B835   ASHA           MWAJABU                  ID           90014887459
38B1247954124B   JIM            HALPERT                  PA           90012844795
38B16843455972   NICHOLE        MARTINEZ                 CA           90009878434
38B1891A831424   DARRYL         WHITTED                  MO           90014119108
38B1989977B471   ANDREA         EMANUAL                  NC           90007678997
38B1995A92B871   MEMORI         LUJAN                    ID           90011139509
38B2167564B281   MARIA          DIEGO HERNANDEZ          NE           90014526756
38B2284142B871   ERENDITA       GONZALES                 ID           90006528414
38B24A9292B871   ALEX           STILES                   ID           90013750929
38B26291936143   ASHLEY         BROWN                    TX           90011152919
38B28636151382   MARGARET       VARIN                    OH           66042426361
38B28A1875598B   GEORGIA        HARNEY                   CA           90012320187
38B2913925598B   ROSANNA        DIAZ                     CA           90010211392
38B29152155972   NATALIE        MENDIVIL                 CA           90012071521
38B2959332B87B   RICO           DAVILA                   ID           42076315933
38B3192135598B   ANGELICA       VASQUEZ                  CA           90007429213
38B32543872B25   ESMERALDA      RUVALCABA                CO           90010745438
38B32912831424   OPHELIA        BOONE                    MO           27506779128
38B37571A55972   MIKE           ALCANTAR                 CA           90014265710
38B4433744B281   KIM            THOMSON                  NE           90008613374
38B4674442B835   DAMIAN         SANCHEZ                  ID           90014337444
38B4677155B393   RAH-HEIM       NED                      OR           90014167715
38B47A7635B52B   ILIANNA        GOMEZ                    NM           35087260763
38B4923975B393   CHRISTOPHER    LEAR                     OR           90014262397
38B49796A8B16B   MEGAN          WALLACE                  UT           90010917960
38B52227433B57   JORDAN         HUSK                     OH           90012292274
38B5529734B563   FERNANDO       CASTELAN                 OK           90008582973
38B55933A7B449   SHEILA         CALDWELL                 NC           90012299330
38B56963241285   TINA           RUSSO                    PA           90014599632
38B5969358B16B   VICKY          SANCHEZ                  UT           90013466935
38B5989414B281   GIOVANI        CORBINO                  NE           90011288941
38B5B91A831424   DARRYL         WHITTED                  MO           90014119108
38B65573431424   TIANNA         CRAFT                    MO           90009955734
38B696A944B291   ADELA          ARCOS PEREZ              NE           90007966094
38B6B35512B87B   MEGHAN         BISSET                   ID           42051693551
38B6B83742B87B   JOEY           HALL                     ID           90013138374
38B74AA782B871   CESAR          AYLLON                   ID           90012800078
38B77A47691831   TAUREAN        HUNTER                   OK           90012030476
38B7934932B87B   EDWARD         KILDOW                   UT           90010903493
38B79489476B64   BRISNET        CASTRO                   CA           90011514894
38B83185A41258   KIMBERLY       MALLOY                   PA           51008431850
38B86261191934   REGINALD       BUTLER                   NC           90008282611
38B8683587B639   LORY           CAMPBELL                 GA           90010118358
38B8737115598B   FRANK          SANCHEZ                  CA           90011183711
38B89A1765B52B   MELISSA        CARROLL                  NM           90014600176
38B9216A72B835   LOVETTA        CARR                     ID           90012011607
38B93412341285   GUY LARUNT     JEAN NOEL                PA           90012184123
38B936A3631424   TIMA           ALIHOEZIC                MO           90013626036
38B9426252B871   ADINA          THOMPSON                 ID           90014442625
38B9677427B639   ORLANDO        HARVILEY                 GA           90010857742
38B9758749379B   JACK           VINCENT                  OH           90010815874
38B97817A55972   JOSE           VICENCIO                 CA           48026448170
38B97A21436143   SONIA          SANCHEZ                  TX           90011370214
38B98119247829   AMY            LANCASTER                GA           90008361192
38BB113257B639   TRYSHEEMA      WILLIAMS                 GA           90010121325
38BB1274741258   LORI           GUSTETIC                 PA           90012372747
38BB2A3592B835   DIANE          HANSEN                   ID           90011310359
38BB822658B179   MISTE          VANIEPEREN               UT           90005952265
39112A46576B89   ERICA          LARSON                   CA           90014100465
391147A6991584   JAFET          URIBE                    TX           90013457069
3911656A85B52B   ERICA          VIVAS                    NM           90005285608
       Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 390 of 1007


39117131776B89   IRIDIAN         TEJADA                   CA           90012891317
39118133A41277   DAVID           CUKRZYNSKI               PA           51008491330
3911827252B87B   BERNTSEN        GLORIA                   ID           90007932725
3911843797B492   ALICE           CHAMBERS                 NC           90013874379
3911B662A7B492   JOCOBUS         VERMEULEN                NC           90014296620
39121A3995B344   JOSHUA          GUERRA                   OR           90011790399
3912236A676B89   PERLA           MENDEZ                   CA           90011843606
391241A7A91371   VICTOR          TORRES-MURRILLO          KS           90012391070
39125A33355972   ARIANA          GARIRO                   CA           90012590333
3912611435B393   ANGEL           LEE                      OR           90013341143
391282A2191831   COZELL          DONALD                   OK           90009472021
391323A4591371   LINDSEY         SILVEY                   MO           29035203045
39135947A7B492   SANTINA         SANDERS                  NC           90012979470
391396A7291371   MEGAN           MCMBRIDE                 KS           90011966072
3913B47998B162   BOGDANSKI       MONA                     UT           90010114799
391453A4155949   MARTIN          SANCHEZ                  CA           90012093041
391458A124B281   MARIA           RAMIREZ                  NE           90014388012
391472A3931424   JAMIE           LUMPKIN                  MO           90014622039
3914964394124B   ADDY            KOROTKO                  PA           90013966439
391521A3376B89   DANIEL          PRINZEN                  CA           90012071033
3915243A191584   AMANDA          BURCIAGA                 TX           75036444301
3915295157B449   EUGENE          STOWE                    NC           11038239515
3915426584B281   MONIQUE         TATE                     NE           90002802658
3915617275B52B   DONALD          THOMAS                   NM           90015251727
3915698372B835   CURTIS          LINDSEY                  ID           90013339837
3916181117B492   FERNANDO        SANCHES                  NC           90003718111
3916463238B162   BRANDON         PETERSON                 UT           90006206323
39165A16441258   MONE            PARKER                   PA           51074080164
3917381817753B   JOHN            WHITTAKER                NV           90014108181
391752A8731424   COBIE           SHINAULD                 MO           90010662087
3917615A55B52B   ALURA           MONTANO SAIZ             NM           90010561505
391774A6576B89   KAREN           VURIK                    CA           90010164065
3917751115B393   BRYCE           WASHINGTON               OR           90014345111
39178378476B89   OSCAR           MAURICIO                 CA           90010943784
3917923A12B87B   JESSENIA        PADILLA                  ID           90009012301
3917B634A2B835   DANA            CARTER                   ID           90010606340
39181A1787B492   SWIMMY          JOHNSON                  NC           90014520178
391837A3933B2B   GERALD          HOWLEY                   OH           90014247039
3919151987B492   MARY            BYERS                    NC           90013875198
3919455717B492   TAMIA           HAYES                    NC           90014135571
391B26A125598B   OMAR            HERRERA                  CA           90012526012
391B3443576B89   LUIS            RINCON                   CA           90012114435
3921165984124B   PATRICIA        LAUGHLIN                 PA           90013966598
392165A497B492   KIMBERLY        LLOYD                    NC           90013965049
39219A19685965   JAPHTER         TETTEH                   KY           90011960196
3922123135598B   AIOTEST1        DONOTTOUCH               CA           90015122313
39221877A5B393   AHMED           ABU                      OR           90013688770
3922544A741258   EMMANUEL        MENDOZA                  PA           90007474407
39226335A55972   APOLINAR        PACHECO                  CA           90010703350
39229295476B89   MARY            PEREZ                    CA           90011962954
39231462A4124B   EDWARD          COLLINS                  PA           51086004620
3923324215B344   SARAH           PETERS                   OR           90011802421
3923568115B393   ALAMA           HERNANDEZ                OR           90005626811
3923816348B16B   CLYDE           RHODES                   UT           31079051634
3923B29777B492   AMY             LOFGREN                  NC           90014012977
3923B623855949   CAMILA          VERDUZCO                 CA           90011146238
39243224A55949   MOISES          MAGALLANES               CA           90013172240
3924367235598B   RALPH           MARTINEZ                 CA           90013936723
39243A8895B358   NICHOLAS        STONE                    OR           90014820889
3924667344124B   TIMOTHY         KOERBEL                  PA           90013966734
39253369776B89   RAUL            BERMUDEZ                 CA           90010703697
3925693A791525   GILBERT         TAPIA                    TX           90002449307
3925757485B344   JASON           JOHNSON                  OR           44510055748
3925833752B87B   EVELYN          ADAMS                    ID           90001343375
3925B531155949   NEREIDA         ALVARADO                 CA           90007845311
3926258AA7B639   BRETON          JONES                    GA           90005385800
3926319647753B   GERARDO         GAVILAN                  NV           90010061964
3927275AA71924   CAROLYN         OUTLAW                   CO           90010587500
3927288937B449   BRANDON         SUNDEEN                  NC           11096968893
3927558332B87B   SHANARRA        VALLETTE                 ID           90013075833
3927972662B87B   ALFREDO         LOPEZ                    ID           42006327266
39283938A7753B   RACHEL          MILLS                    NV           43020389380
3928428AA91831   JACQUELYNE      WILLIAMS                 OK           90013702800
3928593125598B   MAI             YANG                     CA           49010549312
3928667512B87B   ISAAC           FERGUSON                 ID           90012466751
392868A4941277   BRITTANY        LYNNSMITH                PA           90007248049
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39286A43897198   STEPHEN         ESTRADA                  OR           90014180438
39287A43897198   STEPHEN         ESTRADA                  OR           90014180438
3929338932B87B   PAULA           GAXIOLA                  ID           90007553893
3929963965598B   AIOTEST1        DONOTTOUCH               CA           90015116396
392B3247991584   RUTH            GOMEZ                    TX           90013132479
392B7416976B89   MIKE            ROBBLES                  CA           90013834169
392B7976997126   ROGER           DRENNEN                  OR           90005159769
392B8825672B33   IRMA            ENRIQUEZ                 CO           90006368256
392B8A51855949   PATRICK         HERNANDEZ                CA           49081880518
392B9927876B89   VICTOR          OROZCO                   CA           90012899278
39312A49A7B471   HEATHER         MASSEY                   NC           90011970490
3931336A95132B   LATISSHA        HOLLOWAY                 OH           90004643609
3931B348441258   CHANEL          SEATON                   PA           90013813484
3931B99614B281   DESTINY         LINCOLN                  NE           90010969961
3932289645B358   JUANA           GOMEZ                    OR           90014718964
3932692692B871   PAUL            MARTINEZ                 ID           42023889269
3932815242B968   HEATHER         HUNT                     CA           90011521524
3932823135598B   AIOTEST1        DONOTTOUCH               CA           90015122313
3933668254124B   JULIAN          SHAW                     PA           90013966825
3933717392B87B   MATTHEW         BOMAN                    ID           90013521739
3933941724124B   LISA            BELFIORE                 PA           90013964172
3933B977855949   JOSE            ESPINOZA                 CA           90013099778
3934525757B471   RANDO           WALES                    NC           90014172575
3934B511172B34   STEVE           VULLO                    CO           90000195111
3935173894B281   CAMERON         COX                      NE           90014937389
393524A857753B   MONICA          MARQUEZ                  NV           90013694085
39356886A85833   ROBERTO         GONSALEZ                 CA           90011788860
3936424955598B   CATHERINE       GONZALES                 CA           90011482495
3936527A25B358   RONALD          COOLIDGE                 OR           90014792702
3937163632B871   ANGELA          HERNANDEZ                ID           90007386363
3937655772B87B   LEWIS           FLOWER                   ID           90011055577
3937656965598B   MANUEL          MARTINEZ                 CA           90011065696
393769A888B162   SOFIA           HERNANDEZ                UT           31095819088
3937876AA5B393   DANIEL          GONZALES                 OR           90007897600
3937B75894B281   D ANDRE         MURRAY                   NE           90014937589
3938634925B344   JUAN            CARLOS                   OR           90011813492
39387836A55972   FLOV            COAES                    CA           90012928360
39394A4A961474   CANDACE         JOHNSON                  OH           90014090409
39397A3995B156   CHRISTIE        COLE                     AR           90013640399
3939B36A131424   VIVIAN          BECKER                   MO           90012023601
393B151244124B   SONYA           SMITH                    PA           90013485124
393B1A12A91371   DANELL          DANIELS                  KS           90013590120
393B2335371921   JUAN            SANTOYO                  CO           90005363353
393B246745B358   ELISE           FERNANDEZ                OR           90014704674
393B26A3531424   KOSTA           LONGMIRE                 MO           90011556035
393B446745B358   ELISE           FERNANDEZ                OR           90014704674
393B6A36A91831   ELIZA           CASTO                    OK           90013020360
393B8547477544   MARIE           SAXON                    NV           43083355474
39411912A5B393   RICKEY          CAMPBELL                 OR           90007369120
3941267182B87B   MICKEY          NUWCOMB                  ID           90015176718
39416A8A355949   DAVID           ALCORN                   CA           90011400803
3941724344B521   SANDRA          CRUZ                     OK           90005802434
3941832614B281   JOSE            RIVERA                   NE           90009793261
3941B61737753B   ABNER ALBERTO   LUCERO-ALARCON           NV           90007836173
3942159A97753B   CODY            PURDUM                   NV           90010225909
3942218795B393   BOB             MARTIN                   OR           90013501879
39422396A41258   TENESHA         GILLESPIE                PA           90013273960
39429A9555B358   ANDORENI        LUNA HERNANDEZ           OR           90015020955
3942B65244124B   KIMBERLY        JONES                    PA           90013966524
3942B745231683   AAMER           SHAH                     OK           90003737452
39436A82831424   ANGELA          PURNELL                  MO           90014690828
3943B4A5A31424   LA'QUITA        TENNER                   MO           27503384050
3943B5A2555949   CRYSTAL         BARRERA                  CA           90015065025
3944419387B471   ALEXANDER       SANCHEZ                  NC           90013731938
39444A1927753B   DANA            HARING                   NV           90012210192
3944681985B344   PEDAR           BERG                     OR           44514808198
394554A947B471   ERIC            POWELL                   NC           90014174094
3945775885598B   MELISA          VIIAREAL                 CA           90003467588
39459A9575B393   KATHLEEN        BORDEAUX                 OR           90013690957
3945B2A525B393   RUKIYA          TYLER                    OR           90009142052
39463157576B89   DARELYN         CESAR                    CA           90011091575
3946545A131424   DARWIN          GRAY                     MO           90014154501
3946594342B87B   LEONARDO        FLORES                   ID           90012639434
39469A61455949   LINDA           GAYTAN                   CA           90014650614
3946B67187753B   ENRIQUE         ARELLANO                 NV           90013526718
394717A4391584   MONICA          GARCIA                   TX           75077607043
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39478194476B89   KAM            FOO                      CA           90013841944
3948241295598B   CYNTHIA        GOMEZ                    CA           90003444129
3948318117B492   RUBY           PEREZ                    NC           90009061811
3948387A17B492   RUBY           PEREZ                    NC           90012688701
39487A94791831   MICHAEL        BEHRENS                  OK           90011450947
3948848AA91371   MICHAEL        BRANTLEY                 MO           29013764800
3948927A42B87B   DERRICK        CHAVEZ                   ID           90013022704
3948963965598B   AIOTEST1       DONOTTOUCH               CA           90015116396
3949387938B162   TERESA         WHITLOCK                 UT           90010418793
3949B57AA5598B   EDWARD         SANCHEZ                  CA           90012515700
394B126614124B   DIANE          KINCAID                  PA           90013032661
394B1334A5B344   GILBERTO       ALCARAZ CAMPOS           OR           90005923340
394B1429431424   SHONDA         FIELDS                   MO           90011994294
394B3461591371   GEORGIA        CALE                     KS           90004644615
394B3469961962   ANGEL          JAREGUI                  CA           90011714699
394B3A4182B835   ALIA           KISIMBA                  ID           90011710418
394B4253441258   DOMINICK       EDWARDS                  PA           51080072534
394BB87A57753B   SAUL           BECERRA                  NV           90013328705
3951576512B87B   FELECIA        FOX                      ID           90014437651
39517368776B89   RONALD         DENENEA                  CA           90011573687
39517717A4124B   JIM            NASH                     PA           90013967170
395251A3231424   FRANK          TIEFENBRUCH              MO           90013541032
3952559289156B   JODYE          MORALES                  TX           90007795928
3952838734124B   LISA           GRAM                     PA           90013963873
3952B95285B393   JAIME          MARTINEZ                 OR           90014349528
3952B9A734124B   LARDE          BILLUPS                  PA           90014509073
3953273314124B   RACHEL         JOSE                     PA           90013967331
39533829572B37   RICHARD        GALLEGOS                 CO           33049888295
3954345897B492   ROBBIE         DALTON                   NC           90002624589
3954376844124B   JESSE          AUSTON                   PA           90012027684
3954415612B87B   TINA           BELL                     ID           90009671561
3954856457B471   DELMITRI       JONES                    NC           90010045645
395516A7455972   PEDRO          ZUNIGA                   CA           90008836074
39553893A91538   LIZETTE        LUNA                     TX           90011058930
395563A262B87B   CHRIS          HUGON                    ID           42091793026
3955849947B492   DESRICE        ADAMS                    NC           90009684994
395661AA531424   ROOSEVELT      HOLLINS                  MO           90014301005
395716A3591584   JOHN           LOPEZ                    TX           90011756035
3957174744124B   JACK           SMITH                    PA           90013967474
3957375234124B   JOSH           MATHEWS                  PA           90013967523
395753A9231444   MARIE          HARRIS                   MO           90004563092
3957B12947753B   PAYGO          IVR ACTIVATION           NV           90009801294
3958117378B162   WILLIAM        BAUMER                   UT           90010491737
39583634376B89   LISETTE        SUMANO                   CA           90013716343
3958367818B16B   ROGER          MADSEN                   UT           31094056781
3958643394124B   ASHELY         GOLD                     PA           90013964339
39592A52355949   DOMINGO        OLIVERA                  CA           90007030523
39592A5A591371   BELINDA        PLEDGER                  KS           90014620505
39598A36591232   FREDDIE        COLLINS                  GA           14517080365
3959B27227B471   GREG           HUMPHRIES                NC           90002052722
3959B942755972   GRACIELA       LOPEZ                    CA           90015099427
395B173965B344   SHAE           BENNETT                  OR           90005927396
395B2144355949   HECTOR         LAINEZ                   CA           90012421443
395B3327741258   TYLIA          JONES                    PA           90013963277
395B42A7441258   CRYSTAL        GRICUS                   PA           90013282074
395B4666776B89   FORTINO        REYES                    CA           90014746667
395B4A48591371   CLAUDIA        CRUZ                     KS           90008600485
395B89A1455972   MELANIE        ELLIS                    CA           90010739014
395B9199391584   LORENA         ESTUPINAN                TX           75075801993
395B978677B492   SHANITA        WILLIAMS                 NC           90010917867
395BB47172B26B   TENEA          HARRIS                   DC           90011944717
3961332565B52B   TANIA          POLM                     NM           35067563256
39614629A41277   JABIR          GREEN                    PA           90010486290
3962153975B52B   BETTY          RODRIGUEZ                NM           90007035397
3962264667753B   DANIEL         ROEHL                    NV           90011236466
3962471134B929   BLANCA         RAMIREZ                  TX           90011207113
396313A2431424   CHAD           VENABLE                  MO           90014593024
39633AA487B471   ANGEL          LITTLE                   NC           90014000048
3963436175598B   JOANNE         NOWLAN                   CA           90010673617
396357A2755972   SEAN           KIRBY                    CA           90012307027
3963636AA2B871   EVELYN         WISE                     ID           90003813600
3963739165B344   SAMUEL         SMITH                    OR           44546403916
3963B294A7B471   STEVE          GADDY                    NC           90010572940
3963B47655B393   REIGN          SCHUSTER                 OR           90013254765
39642261A91587   BRENDA         AGUIRRE                  TX           75015662610
39644533A7B492   VERLIVIA       AQUINO                   NC           90014235330
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396445A1A7B471   KANISHA         LAWRENCE                NC           90015005010
3964518812B87B   VALERIE         GUTIERREZ               ID           90012391881
3964583587753B   YESENIA         RIOS                    NV           90011548358
3964638924124B   NATHON          TAYLOR                  PA           90011863892
3964665244124B   KIMBERLY        JONES                   PA           90013966524
3964886A441285   CHAZ            WHITE                   PA           90012008604
3964922A561973   JAMES           AGUAYO                  CA           90010512205
3965837427753B   JAKE            LECHLER                 NV           43071763742
3965B35177753B   DIANE           LAWRENCE                NV           90012573517
3965B46227753B   DIANE           LAWRENCE                NV           43006174622
396659A5A7753B   LES             TENINTY                 NV           90006449050
3966754367753B   DEANDRE         YARBROUGH               NV           90007545436
3967163965598B   AIOTEST1        DONOTTOUCH              CA           90015116396
3967469827B495   BRELINDA        LOCKE                   NC           90012526982
3967B5A477B492   DEIDRE          GRAY                    NC           90013925047
39683A2147753B   JOSE            SEPULVEDA               NV           90013880214
3968688372B871   JAKE            WALKER                  ID           90014848837
39686A17855949   DARREN          LANEY                   CA           90013010178
3968716294124B   LENORA          CORNICK                 PA           90013961629
396883AAA91831   JOSE MANUEL     CASTRO                  OK           90012833000
39691282776B89   JOHNNY ERNEST   LEAL                    CA           90013842827
3969171A477544   KAITLYN         VERA                    NV           90005597104
39692A27291538   ALEJANDRO       RODRIGUEZ               TX           90012500272
396954A9522922   RICKY           NELOMS                  GA           90014184095
39697A87385833   BAO             NGUYEN                  CA           90011840873
3969861A536B77   SERGIO          ROJAS                   OR           90014766105
3969987459372B   TWILA           SMITH                   OH           90009248745
39699A52A91584   DEVON           VELAZQUEZ               TX           90003240520
396B1165391584   PABLO           HOLGUIN                 TX           90002111653
396B193A631424   TERESA          EDWARDS                 MO           90014559306
396B234225B394   WILLEBALDO      LOPEZ CHAVEZ            OR           90001033422
396B314977B471   IKEA            ROBINSON                NC           90010571497
396B7831141258   MARCUS          MOORE                   PA           90013748311
396BB877685833   JOSE            CORDOVA                 CA           90011038776
39711723276B89   JOHN            PLIEGO                  CA           90013617232
3971284675B52B   JUAN            CHAVEZ                  NM           35018598467
39713A37355972   ZEFERINO        BONIFACIO SALVADOR      CA           90014160373
3971479594124B   BABY            BABY                    PA           90013967959
397214A188B16B   RICK JAMES      RYDALCH                 UT           90012654018
397219A1885833   STEVEN          GARCIA                  CA           90011849018
39722168236B77   MARTIN          GONZALEZ                OR           90008451682
397221A555B135   GLENDA          EDWARDS                 AR           90006491055
3972563985598B   AIOTEST1        DONOTTOUCH              CA           90015116398
3973225289198B   ANDREW          PEARCE                  NC           90012502528
39732A1517B471   TRAVIS          EDMISTON                NC           90005810151
3973821677753B   VICTORINO       AGUILAR                 NV           90013312167
397398A164124B   ANTHONEY        MONTGOMERY              PA           90013968016
3973B15627B492   GERY            HERNANDEZ               NC           90013931562
3973B182141258   DIANE           DINNING                 PA           51002371821
3973B26764124B   JANE            LAWRENCE                PA           90013922676
3974167A45598B   AMINA           ABOULISAYEN             CA           90012346704
3974498247B492   WILLIAM         BREST                   NC           90013859824
3974927984B281   KHURSHED        MARAYIMOV               NE           90014922798
39751873276B89   CRISTIAN        MARTINEZ                CA           90014748732
39751972176B89   DANIEL          ARDEN                   CA           90013169721
3975432A391831   KARINA          GASPAR                  OK           90009463203
3975511875B52B   AUDREE          HUNT                    NM           90012811187
39757362236B77   SANTOS          UZ DZUL                 OR           90003093622
39759236A41285   BRENDA          1204RICHMOND            PA           90014082360
3975B873276B89   CRISTIAN        MARTINEZ                CA           90014748732
39761A2175B156   SHAWNICE        JOYNER                  AR           23008170217
3976323135598B   AIOTEST1        DONOTTOUCH              CA           90015122313
39771AA9153B95   LINDA           SCHAMBERGER             CA           90013680091
3977498922B835   MEGAN           EVANS                   ID           90010709892
3977836997753B   CHRISTINE       BOYD                    NV           90011243699
3978479594124B   BABY            BABY                    PA           90013967959
39785A29155949   LAURA           SOZA                    CA           49088850291
3978B498A91371   GENE            CARTER                  KS           90013554980
3978B89962B87B   RUSSELL         PEUGH                   ID           90007388996
39792355A55949   ANESSA          LEYDIG                  CA           49079303550
39794A48591371   CLAUDIA         CRUZ                    KS           90008600485
397B1251A76B89   MARIO           GARCIA                  CA           90010322510
397B732A67B471   LIND            HOVEER                  NC           90010583206
397B8952191371   LATROYA         MCKINLEY                KS           90001559521
397B91A9491371   DERRICK         RUCKER                  KS           90015061094
397BB21762B87B   SADEJA          VALENZUELA              ID           90013882176
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3981586225B344   DAVID          SMITH                    OR           44512538622
3981811444B281   DOUGLAS        SULLIVAN                 NE           90007891144
3981876497B471   DONNA          GUARDADO                 NC           90012867649
3981B124641285   JEROME         MCGUINESS                PA           90013821246
3981B6A6341258   LACHICA        STEVENSON                PA           90013066063
3981B85154124B   JOHN           DOE                      PA           90013968515
39826247A85833   OMID           JOHANNIGMANN             CA           90011922470
3982927A25B156   BRENDA         DAUGHERTY                AR           23043102702
3982B65817753B   GERARDO        ALVARADO                 NV           90011916581
3983574345598B   AUTUMN         AUTRY                    CA           90010197434
3983B146255972   MANUEL         CASTENADA                CA           90010781462
3983BA72761962   BRONCE         MAXWELL                  CA           90004080727
39843226576B89   GRISELL        LEON                     CA           90012982265
39846162976B89   VERONICA       RAMIREZ                  CA           90014951629
39848167276B89   EDGAR          MEJIA                    CA           90014951672
3984892AA41258   JOEY           GARNET                   PA           90013859200
3984926787B471   JASMINE        MCMANVS                  NC           90014172678
3984B942576B89   ANDREW         BARTON                   CA           90014749425
39851A43461925   ARGELIA        MARTINEZ                 CA           46002070434
3985529777B492   AMY            LOFGREN                  NC           90014012977
398624A395B393   SERGIO E       ARCHUNDIA                OR           90012444039
398694A745B393   STEPHANIE      SANDHAGEN                OR           90014734074
3986B94652B871   HELENA         MARTINEZ                 ID           90011799465
3987441A191371   ARELY          DOMINGUEZ                KS           90008744101
39878A1395B344   MARGARITO      MARTINEZ                 OR           44588080139
3988632792B871   JAVIER         PATLAN                   ID           90013263279
3988659128B16B   REBECCA        MADISON                  UT           31011775912
39887A79931424   MARVIN         POWELL                   MO           90013480799
39888323A31424   MICHAEL        WELCH                    MO           90014843230
39891243876B89   VICTOR         PEREZ                    CA           90010802438
3989324378B162   CHEYENNE       HANSEN                   UT           90013482437
398938A7331424   CANDICE        WARD                     MO           90013708073
39895288876B89   BEN            CLEVELAND                CA           90013052888
3989796525B393   MAGDIEL        MARTINEZ                 OR           90001289652
39897A9772B871   STEVE          SMITH                    ID           90011800977
3989826A25B56B   SANDRA         MONTOYA                  NM           90012502602
39899157876B89   CHARLES        YARBROUGH                CA           90012171578
398B588332B835   SARAH          PEREZ                    ID           90011738833
398B657A72B87B   CHARLETTE      CHLARSON                 ID           90003095707
398BB538A76B89   EDITH          VAZQUEZ                  CA           90010215380
398BB82724124B   KENNETH        ROBINSON                 PA           90013968272
3991518812B87B   VALERIE        GUTIERREZ                ID           90012391881
3991753524124B   F              O                        PA           90014155352
39918149A7B471   CHELSIE        CHAMBERS                 NC           90014621490
3992369A891584   DELFINA        CARRASCO                 TX           75017486908
3992419815598B   MARVIN         HARRIS                   CA           90014511981
3992591645B344   DANIELLE       BURNETT                  OR           44568069164
39926355176B89   RAFAEL         BARAHONA                 CA           90013683551
3992979A77753B   CASILDO        RUIZ                     NV           90013607907
3992984887B386   MILTON         HERNANDEZ                VA           90002608488
3993319135B393   LATAEVON       SPENCER                  OR           44584321913
3993553934124B   ALAYNA         TOLBERT                  PA           90014155393
3993654744124B   TAKIYAH        BULLOCK                  PA           90014155474
3993699627B471   JONATAN        CASTRO                   NC           90013369962
3994171155B393   MICHELE        ELLIS                    OR           90015127115
3994274335B555   MARIA          VALENZUELA               NM           90000467433
3994742A755964   RAUL           LOPEZ                    CA           90009164207
3995666127753B   ROBERT         OWENS                    NV           90003676612
39964722A4B541   MARIA          RODRIGUEZ                OK           90010777220
39966AA5576B89   PEREZ          JAVIER                   CA           90003150055
39972682A76B89   OLIVER         NICDAS                   CA           90013056820
39975287372B37   TRISHA         RAUPP                    CO           90009512873
399813A245B281   JOSHUA         CUTLIP                   KY           68022533024
3998386898B16B   RONNIE         THOMAS                   UT           90010368689
3998858163B356   CHRISTINE      PFEIFER                  CO           90011755816
399899A627B471   ZYONNA         WILLIAMS                 NC           90014669062
3998BAA1931424   ALISA          LOVAN                    MO           90014430019
3999691695B156   SHANNON        NELSON                   AR           23089409169
39996A3118B162   DAVID          RAY                      UT           31030060311
3999921327753B   SALVADOR       BARAJAS                  NV           90011912132
3999B528141258   WILLIAM        BRONSON                  PA           90014665281
399B271475B393   ANJERIE        POWERS                   OR           90005587147
399B475414B281   LEA            JONES                    NE           27095187541
399B835452B87B   CAMBRON C      CABRERA                  ID           90009163545
399BB243876B89   VICTOR         PEREZ                    CA           90010802438
39B1177245B344   OMAR           RUIZ                     OR           90011777724
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39B11AA282B87B   LIBEE          ROD-HENSON               ID           90013100028
39B1556447753B   ESMERALDA      PARTIDA                  NV           43054345644
39B16192931657   ROY            DARNALL                  KS           90000981929
39B1723275B358   YEMATEEMAS     OSBORNE                  OR           90015062327
39B1B48775B52B   KELLY          TENORIO                  NM           90015064877
39B21A78361962   ARIDAY         NIETO                    CA           90007240783
39B21A97941285   JAMES          MATT                     PA           90013960979
39B2454278B16B   TANNER         JAMES                    UT           90003255427
39B3126A491371   JAMES          NELSON                   MO           90014092604
39B31856431424   BREANNA        COLE                     MO           90013188564
39B3212A37B639   TAMARAH        BENFORD                  GA           90011011203
39B3244954124B   DANIELLE       CZAJKOWSKI               PA           90011404495
39B33466757569   JANET          RASCON                   NM           90014134667
39B35AAAA41285   BRIAN          MCGRUBER                 PA           90013960000
39B3672835B344   AMMAR          MAHDI                    OR           44501177283
39B36A54991371   RANDY          DOTY                     KS           90012660549
39B39419685833   KIMANI         FELTON                   CA           90012154196
39B3B39355B344   JOSE           MARTINEZ                 OR           44573303935
39B4171114124B   COLLEEN        CURLEY                   PA           51033687111
39B4221917B492   SHAWN          MC MILLER                NC           90008622191
39B4445155598B   WILLIAM        GARCIA                   CA           90011974515
39B45989657122   NATASHA        MOSLEY                   VA           90008269896
39B46477A5B358   CATALINA       LOPEZ                    OR           90002854770
39B478A6355949   ROSALINDA      MENDOZA                  CA           90009578063
39B47919A76B89   NICK           RIOS                     CA           90012879190
39B4B61A298B83   LUIS           MARTINEZ                 NC           90003476102
39B51396176B89   ADRIANA        GONZALEZ                 CA           90003493961
39B52237241258   MARQUITTA      WHARTON                  PA           90001492372
39B52417A41285   DAVID          CHRISTMAN                PA           90011824170
39B6256894124B   LEIGH          HILL                     PA           90008635689
39B6663965598B   AIOTEST1       DONOTTOUCH               CA           90015116396
39B66977691371   JAZZ           BROWN                    KS           29037869776
39B67469777544   DEBORAH        NAVARRO-GARCIA           NV           90011734697
39B67822A76B89   LAURA          VASQUEZ                  CA           90014168220
39B6896915B344   LORENZO        LECHUGA CRUZ             OR           44565229691
39B693A757B471   ANGEL          LITTLE                   NC           90013763075
39B69A77A5B344   DOLORES        RAYMUNDO GUTIERREZ       OR           90003270770
39B6B32227B492   NICHELLE       KELLY                    NC           11010203222
39B7246195B52B   JUAN           ATAYDE                   NM           90000194619
39B7265845B281   TANA           HILLMAN                  KY           68007376584
39B75AA695B393   AUDUM          BELL                     OR           90001800069
39B78634585833   ERIC           HARDWICK                 CA           90009106345
39B7863965598B   AIOTEST1       DONOTTOUCH               CA           90015116396
39B796A9576B89   REGINA         TAYLOR                   CA           90010566095
39B7B97167B471   JERRY          HERRON                   NC           90013459716
39B8259A47B471   ALEXANDRA      VELEZ                    NC           90010715904
39B83849431424   ANDREA         JONES                    MO           90014958494
39B83873393753   JASON          CHASTEEN                 OH           90003048733
39B8536A131424   VIVIAN         BECKER                   MO           90012023601
39B85A8282B87B   ROSA           FELIX                    ID           90010790828
39B86638A91371   CHONG          WALKER                   KS           90003576380
39B86973231424   MORRIS         RASBERRY                 MO           90010869732
39B8799824124B   JAMES          FORSYTHE                 PA           90014789982
39B91516A5B52B   DESIREE        GONZALES                 NM           90010255160
39B92641377544   VANESSA        LITTRELL                 NV           90011756413
39B97568191371   JESSICA        HTKANSON                 KS           90006045681
39B97815355949   JAVIER         ZENDEJAS                 CA           90010668153
39B99647361962   GUILLERMO      TORRES                   CA           90003846473
39B9996595B393   JACK           BECKWITH                 OR           90007809659
39B9B7A6331424   DEWANDA        HIGHTOWERS               MO           90009907063
39B9BA74625655   ANDRIA         GUYTON                   AL           90014140746
39BB144972B871   HUGH           GEORGE                   ID           90011744497
39BB479A855949   ADRIANA        LOPEZ                    CA           90012907908
39BB698568B162   ESTEBAN        FLORES                   UT           90010739856
39BB739282B87B   AMBER          SMITH                    ID           90012503928
39BB7572631424   APRIL          HOLLINS                  MO           90009405726
39BB8886471932   JOSEPH         BERNARDONI               CO           90002598864
39BB932315B281   AMBER          CRUSE                    KY           90006983231
39BBB47A172B28   JOHN           KINNEY                   CO           90004644701
39BBBA2A485688   CARMELO        DIAZ                     NJ           85016460204
3B111358151339   GEORGE         MOONEY                   OH           90010193581
3B114358151339   CHINA          PHILLIPS                 OH           66085103581
3B11472632B93B   BRANDY         CLAUSSEN                 CA           90008947263
3B1159A695B344   TERENCE        BAILEY                   OR           90014929069
3B11626868B162   LYLE           KINIKINI                 UT           90006622686
3B1178A2155951   JOLENE         ESTRADA                  CA           90014748021
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3B118126555949   GOILLERMINA       LOPEZ                 CA           90006591265
3B11813612B93B   RICHARD           GUDINO                CA           90010661361
3B11883872B87B   THOMAS            FREINWALD             ID           90014738387
3B119381372496   WENDY             GUZIK                 PA           90011963813
3B119523851369   SHEMIKA           REESE                 OH           90014705238
3B121891A77539   GERARDO           ECHEVESTE             NV           90014178910
3B122346261963   RICK              JAMES                 CA           90000873462
3B12237898B166   AARON             BROWN                 UT           90015223789
3B1225A275B52B   ARIEL             ROMERO                NM           90012775027
3B12363245B344   MICHELLE          SMITH                 OR           90012486324
3B124526493768   AMANDA            HAMBLIN               OH           90013215264
3B127799791584   ELIZABETH         BERNAL                TX           90010977997
3B12786715B156   CAROLYN           JARRET                AR           90013348671
3B128688761963   MATTHEW           DAVIS                 CA           90003246887
3B12961539713B   JOSE              RAMIREZ               OR           90013556153
3B129633A7B639   APRIL             SAVAGE                GA           90013226330
3B12B868291831   JAMES             MOORE                 OK           90007518682
3B12BA7414B943   ALEXUS            RUFFIN                TX           90014020741
3B13121332B93B   RYAN              LAL                   CA           90010662133
3B131259641277   MICHAEL           SMART                 PA           90014832596
3B1314AA836B77   TAMYRA            HOOPE                 UT           90013884008
3B132395255972   RAYMOND           ZAYAS                 CA           90013073952
3B132517372496   JENNIFER          CARRIGAN              PA           90013685173
3B13466732B835   SERGIO            LOPEZ                 ID           90012596673
3B135968155972   DOMNIC            HARRIS                CA           48004729681
3B135A67931424   PETER             ANDERSON              MO           27587450679
3B13666629713B   ASHLEY            SMITH                 OR           90013556662
3B13757AA4B943   THOMAS            FUTCH                 TX           90012475700
3B138862454165   HEIDI             BALL                  OR           47086528624
3B13B31668B166   GUSTAVO           CONTRERAS RIVAS       UT           90010253166
3B141267291232   DAMION            MATADIN               GA           90010102672
3B14148334124B   KELLY             HOLMES                PA           90013064833
3B14148A355972   LUPE              ESTRADA               CA           90011794803
3B143455461963   PABLO             RUBALCABA             CA           90013084554
3B14355A391584   ISREAL            HERNANDEZ             TX           90005065503
3B14486A231424   MARLEN            JACKSON               MO           90013118602
3B144A81A5B281   LETICIA           MARTINEZ              KY           90012710810
3B14912492B93B   KARLA             ARDINES               CA           90012421249
3B14917538B162   ARTURO            OCHOA SOTO            UT           90014161753
3B1495A574B943   RACHEL            DAY                   TX           90012875057
3B149878973269   DAVID             WITT                  NJ           90014318789
3B14993A94B943   JUAN              OSEGUERA              TX           90011969309
3B151846141258   KAYLA             BASSETT               PA           90013328461
3B152355376B89   DOMINIC           DURAN                 CA           46090603553
3B152A51741277   CYNTHIA           WOLFEE                PA           51048370517
3B15318165598B   GLORIA            ORTIZ                 CA           49052981816
3B154684972B76   JUAN              URIOSTEGUI            CO           33066426849
3B1553A8461963   STEPHANIE         POTTS                 CA           90008643084
3B155615A41285   THOMAS            SCHEIRER              PA           90011496150
3B155AA9391831   MISTY             MARTIN                OK           90007970093
3B15748A755951   ANA               JERICOFF              CA           90011594807
3B15846412B87B   SAUL              PONCE                 ID           90012734641
3B16395977753B   JAMIE             LAMBDIN               NV           90012579597
3B16429793B352   CRYSTALLE         OVERSTREET            CO           90011552979
3B16522A984368   JOSE LIUS         MARTINEZ              SC           90014122209
3B16594543B388   RITA              WILLIAMS              CO           33081539454
3B167143655957   LETICIA           ESPINDOLLA            CA           90009431436
3B16753112B93B   ADOLFO            SENA                  CA           90012705311
3B1677A8791356   ROSA              ROSAS                 KS           29056197087
3B16831185B359   FERN              WALKER                OR           90007533118
3B169147454165   ROBERT            WRIGHT                OR           90012331474
3B169554241277   KATE              WILLOUGHBY            PA           90010325542
3B169818672B24   JUAN              FLORES                CO           90008608186
3B16B279951339   ERIN              MELTON                OH           90013782799
3B16B498736B77   JIM               KERNS                 OR           90008604987
3B171385772B23   CRYSTAL           HASS                  CO           33030073857
3B17234782B271   CATHERINE         JONES                 DC           90014363478
3B173A27A84368   JOSE              ARIAS                 SC           90012720270
3B174313851339   ALEX              WATERS                OH           90003113138
3B17453538B16B   MALISA            HANEY                 UT           90013385353
3B17475885B281   CHARLES           ENSMINGER             KY           90012427588
3B176822276B89   VANESSA           GARCIA                CA           90014158222
3B179976441258   TAMMY             PAYNE                 PA           90013939764
3B17B8A5491831   VINA              MOORE                 OK           90013988054
3B18172752B28B   DIONNE            LEWIS                 DC           90011737275
3B181853A55951   BRITTANY CHAPLE   CHATMON               CA           90014748530
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3B184537984368   SALVADOR       JUAREZ SANCHEZ           SC           90009195379
3B184623741285   LEON           LINDA                    PA           90014036237
3B1848A755598B   LYDIA          CASTILLO                 CA           90013338075
3B18513327B639   MICHELLLE      BREWSTER                 AL           90009511332
3B18556972B871   RAYMOND        SANCHEZ                  ID           42009745697
3B18983A68B16B   TIMOTHY        BIRCH                    UT           90010228306
3B191884491831   DUSTIN         MCANALLY                 OK           90008128844
3B19225237B471   NILA           EUSEBIO                  NC           90009402523
3B19243734B562   CHRISTOPHER    COZENS                   OK           90012574373
3B1926A4955951   MIGUEL         NUNEZ                    CA           90006876049
3B19397432B28B   LARON          EBERHARDT                DC           90011749743
3B194162A5598B   ANA            CORTEZ                   CA           49094361620
3B194752353B92   JANIS          RUGGIERO                 CA           90014247523
3B195212955951   PIEDAD         MALDONADO                CA           90012892129
3B196432A55972   CHRISTIAN      MARTINEZ                 CA           90008764320
3B1971A239713B   VICTOR         COLLI                    OR           90013561023
3B197213355921   ULYSSES        SEPULVEDA                CA           90010132133
3B197615777539   SALVADOR       JIMENEZ-HERNANDEZ        NV           90012956157
3B198229A5598B   JESUS          MESINAS                  CA           90012592290
3B199589761963   NAZARET        MARTINEZ                 CA           90014165897
3B19965832B835   CYNTHIA        STEWART                  ID           42009976583
3B19B353841277   SARAYA         TURNER                   PA           90005543538
3B19B749761963   JEFFREY        COOK                     CA           90012317497
3B1B183992B93B   JOSE           MADRIGAL                 CA           90012268399
3B1B3552872B76   ARTURO         VALDEZ                   CO           33013385528
3B1B49A3777539   ERIC-ALBERTO   CASTRO                   NV           90013949037
3B1B6818447931   MELISSA        OCHOA                    AR           90013598184
3B1B686757B449   IVAN           HERNANDEZ                NC           90010498675
3B1B7A6AA5598B   DANA MARIE     HENSON                   CA           90014290600
3B1B8724777523   JOSE           VEJAR-BUSTOS             NV           90008127247
3B21125315B393   ROQUE          VAZQUEZ                  OR           90013902531
3B21279444B943   TIMOTHY        BUTTS                    TX           76584137944
3B213A33641285   DEVON          POELLNITZ                PA           90014780336
3B213A9415B281   AMANDA         STARR                    KY           68074830941
3B215A2A28B166   TERESA         ESQUIVEL                 UT           90008330202
3B216841191584   MARICELA       MARROQUIN                TX           90007118411
3B21713A272496   COLBY          WATSON                   PA           90014711302
3B21739778B16B   WILLIAM        SIMPSON                  UT           90010813977
3B2188AA88B16B   STEVEN         MORITZ                   UT           90013588008
3B218934625632   PAYGO          IVR ACTIVATION           AL           90013999346
3B218972377544   JASON          FULLER                   NV           90002829723
3B218981855972   KRISTINA       MARRUFFO                 CA           90005049818
3B21948354124B   BASSAM         ALAAMARAH                PA           90013364835
3B219679955951   STACY          WARD                     CA           49074216799
3B221238A2B93B   SHAWN          SEHMALTZ                 CA           90013272380
3B221A25351369   SHAWN          KNOTTS                   OH           90013230253
3B22275125B281   VICTORIA       COLE                     KY           90014007512
3B222794A5B156   TIMOTHY        MIXON                    AR           23015967940
3B22288475598B   NATALIE        VARGAS                   CA           90014208847
3B222A19991232   JOSEPH         PINKNEY                  GA           14584860199
3B2235A535B344   SARAH          REARDON                  OR           90011225053
3B223749255972   MIGUEL         HERNANDEZ                CA           90013077492
3B224343572496   DIANE          PLETCHER                 PA           90012923435
3B224789984368   DELFINO        CHAVEZ                   SC           90007627899
3B22514957B471   SHANITA        WILLIAMS                 NC           90008101495
3B22567344B943   FAY            HINES                    TX           90012876734
3B226197555949   STANLEY        LOPES                    CA           49083451975
3B22818192B93B   JAMIE          HANKERSON                CA           90014141819
3B22885155B393   VICTOR         EAGLE                    OR           90011098515
3B22B674154165   ANNETTE        COLLINS                  OR           90009746741
3B233986531424   ANDREA         KAISER                   MO           90013119865
3B236461455972   MIGUEL         MORENO                   CA           90013414614
3B23825852B87B   CLINT          WALBURN                  ID           90012962585
3B239399747931   MICHELLE       LOPEZ                    AR           90012113997
3B23955725598B   FRANCISCO      VENEGAS                  CA           90012745572
3B239A43591584   PRNNA          ROSA                     TX           90009880435
3B23B93595B281   DRESEAN        JOHNSON                  KY           90013929359
3B241A67891356   LAURI          SPURLOCK                 MO           90012670678
3B24213445B52B   RUBEN          CDEBACA                  NM           90012251344
3B242147A55972   GRACIELA       GARZA                    CA           90011471470
3B242638231424   CANO           MARTIN                   MO           90000246382
3B242715A4B943   MARIA          RAMIREZ                  TX           90012877150
3B24283A78B16B   TOSHIA         NICCOLLE                 UT           90011148307
3B243AAA44B943   TIMOTHY        PEAKE                    TX           76505920004
3B244A5149155B   SABINA         ESPARZA                  TX           90013780514
3B24535139713B   BRIE           MOORE                    OR           90013043513
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 398 of 1007


3B245457755949   OMAR                LOPEZ               CA           90012824577
3B248961561963   MARIA               ESPINOZA            CA           90009869615
3B24B31355B344   KITANA              HAWKINS             OR           90012113135
3B24B55114B943   TAMEKA              HOOD                TX           90011495511
3B252AA6947931   LORI                COLLINS             AR           90014800069
3B25442255B156   MONICA              ANDREWS             AR           90005984225
3B254982872496   THEODORE L          FARRIER JR          PA           90010679828
3B256339A5B344   LISA                LARGENT             OR           90010993390
3B256556741285   DONALD              CINKAN              PA           90013395567
3B257189955972   MARIA               PINEDA              CA           90009541899
3B25881137B449   LATARA              BOLDEN              NC           11063538113
3B25991167B471   SINDIA              ORTIZ               NC           90007379116
3B261698192859   PAIGE               REA                 AZ           90013786981
3B26169877B639   TYNESHA             ZIMON               GA           90011436987
3B261951555951   JANELY              GONZALEZ            CA           90010929515
3B26248778B16B   CANDACE             MORALES             UT           90011074877
3B26314672B28B   NIYA                ROGERS              DC           90004751467
3B26357698B166   CHRISTOPHER         MENGE               UT           90012875769
3B263788A4B281   SHYNIRA             BELL                NE           90013837880
3B263931455951   TATIANA             MOISEYCHIK          CA           90013049314
3B263A45147931   JUSTIN              LANGE               AR           25010870451
3B263A8A74124B   AIMEE               HERNANDEZ           PA           90014260807
3B26526232B871   JASON               KENNETH             ID           90013262623
3B26623227B639   KENYETTA            HODGES              AL           90011372322
3B2668AAA5B156   TAMARA              NATION              AR           90014548000
3B26742795B52B   JANETH              BAEZA AVILA         NM           90013004279
3B268251155957   RICHARD             AGUIRRE             CA           49003762511
3B27174445B281   TRACY               COTTLE              KY           90011877444
3B27334524B943   ADRIAN              CHARLOT             TX           90014413452
3B274A65955972   ESTEVAN             GOMEZ               CA           90015220659
3B275424A61963   SILVIA              FIGUEROA            CA           90009894240
3B27556935B393   BILL                DARBY               OR           90011115693
3B2776A217B471   SHAUNA              COPELAND            NC           90014756021
3B278899A2B93B   RAYMOND             HOLGUIN             CA           90008438990
3B27944394B943   ASJAH               BOYD                TX           90013034439
3B279722A8B166   JOHN                MEZA                UT           90010307220
3B279A83A55972   YADIRA              MEDINA              CA           90012940830
3B27B26AA5B393   JUSTA DEL ROSARIO   MEJA LOPEZ          OR           90013312600
3B27B559972B76   KAILA               DYE                 CO           33015965599
3B27B72558B166   BROOKE              ELDER               UT           90010917255
3B28169352B87B   JAMIE               GASSETT             ID           90012696935
3B28259AA5B52B   ALEXANDRIA          CHAVEZ              NM           90011315900
3B28285238B162   CARLOS              URESTI              UT           90014168523
3B28373A755972   JEFF                RABE                CA           90014827307
3B284184355957   ALVARO              MARTINEZ            CA           90009431843
3B284265255951   DELORES             GUZMAN              CA           90010042652
3B284374A9713B   MEGAN               MURPHY              OR           90009433740
3B28492445B281   DOMINIQUE           CASARES             KY           90012719244
3B284947672B24   SHEMEKIA            JONES               CO           90007269476
3B2854A2A61963   MITCHELL            FLORES              CA           90011184020
3B286899351339   CHARLES             MARTIN              OH           90014738993
3B28753217B449   SHANOIQUE           MCCORMICK           NC           90011355321
3B288593736B77   VERA                MINKO               OR           90008555937
3B289627641285   NIWAS               KATEL               PA           90012696276
3B28B1A1A91356   TAMIKA              AKINS               KS           90010971010
3B28B3A952B871   EDGAR               VARGAS              ID           90013953095
3B28B78438B162   PAUL                CEDENO              UT           90014167843
3B28B81447753B   CRUZ                CISNEROS            NV           90013428144
3B291969251369   TIARA               JACKSON             OH           90011289692
3B293181654165   FLOCK               MICHAEL             OR           90008151816
3B293564355951   MARTIN              GONZALEZ            CA           90011595643
3B29539A441285   JACOB               ELLISOR             PA           90014613904
3B29546128B16B   SUSANNE             SCOTT               UT           90012254612
3B295A47677539   JOHN                WEST                NV           90013950476
3B29848778B16B   CANDACE             MORALES             UT           90011074877
3B298645976B89   CLARE               ORTEGA              CA           90010256459
3B29B37174B281   JESSE               RICKARD             NE           90014713717
3B2B1335247931   JOBY                MATAUTO             AR           90011053352
3B2B1994261963   ALFREDO             CORRAL              CA           46064139942
3B2B226495B281   ALBERTO             MAZALLEGOS          KY           90006912649
3B2B318868B166   ALEJANDRO           BRITO               UT           90007491886
3B2B3214591356   EVANS               JAMEL               KS           90012552145
3B2B34A4372B76   JUANPABLO           MUNOZ               CO           33073284043
3B2B466A177539   JULIANNE            MCBRIDE             NV           43076146601
3B2B4689772B34   JESSICA             SCHROEDER           CO           90008026897
3B2B5A51977544   PENNY               FULLER              NV           90005070519
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3B2B611565B393   CARMEN         YOUNG                    OR           90001061156
3B2B6255777544   MA ANGELIC     VARGAS MURILLO           NV           43089772557
3B2B6684A5B344   DANIELLE       MATTHEWS                 OR           90014886840
3B2B796747753B   FABIOLA        ARREOLA                  NV           90013279674
3B2B7973A5598B   MIGUEL         CARDENAS                 CA           49067939730
3B2B8563793633   MARVIN         YATES                    TX           71093795637
3B2B867555B52B   BERNADETTE     VIGIL                    NM           90012406755
3B2B86A9772496   MEGAN          HIXSON                   PA           90014466097
3B2B9117655972   ARTURO         GOMEZ                    CA           48003601176
3B2B923247B639   TAMIKA         DRAKE                    GA           90013002324
3B2B9324991584   DANIEL         FLORES                   TX           75083453249
3B2BB27A52B87B   JACOBI         POOR                     ID           90013932705
3B2BB65AA4B943   MYUNIQUE       COLLINS                  TX           90012876500
3B2BB845A77544   JONATHAN       PADILLA-SAUCEDO          NV           90013938450
3B31196315B156   JORDAN         HARRIS                   AR           90012019631
3B312AA8241277   RONALD         BERRY                    PA           90013080082
3B313328191356   ROGER          WILCOXEN                 KS           90008833281
3B316354155949   LETICIA        ESTRADA                  CA           90012963541
3B316A6154124B   CHLOE          TRENT                    PA           90013220615
3B3172A5777539   FELIX          SOTO                     NV           90012892057
3B31862A42B93B   RAMIRO         PEREZ                    CA           90013216204
3B31B14A891356   BRIAN          SCHULTZ                  KS           29002161408
3B32186975B52B   ERIC           MEYER                    NM           90012048697
3B322423591584   SALOMON        HIDALGO                  TX           90010504235
3B32247664B281   ALAINA         VASQUEZ                  IA           90014424766
3B323239691584   ANGELICA       ORTIZ                    TX           90011472396
3B32531A55598B   SANDRA         GOPAR                    CA           90013873105
3B325773755972   AMBER          MERRIOTT                 CA           90005297737
3B328537154165   VANESSA        RAMBECK                  OR           47088085371
3B32869263B325   JUAN           AREVALO                  CO           33017676926
3B32896265B393   JOE            LASSLEY                  OR           90008589626
3B3318A925B393   THERESE        SCHMIDT                  OR           44537708092
3B331A66547931   TEILOR         LYBRAND                  AR           90014800665
3B334549955972   JASINTA        PACE                     CA           90007895499
3B33524922B871   DENVER         HENDRIX                  ID           90013062492
3B33536354B281   PAMELA         HEREDIA                  NE           90006363635
3B335A4839713B   YOAN           FERNANDEZ                OR           90013570483
3B336595777539   LISA MARIE     WYNNE                    NV           90001665957
3B336617291356   MARSELO        SIFUENTES                KS           90015296172
3B336667555949   DESIREE        VARELA                   CA           90012046675
3B336A18791831   NEVILLE        RAMIREZ                  OK           90010240187
3B33754848B16B   JOSE MANUEL    GARCIA RENDON            UT           90013355484
3B337972A7B639   DAMINESHA      MARSHALL                 GA           90012509720
3B338792741285   T              R                        PA           90014147927
3B339226341285   JUSTIN         MAY                      PA           90009412263
3B339A2A75B13B   DALLAS         ROBERTSON                AR           90009780207
3B339A86391356   MARTHA         CALDERON                 KS           90013710863
3B33B69565B281   JAMES          HUGHES                   KY           90015116956
3B33BA1837B471   KIMBERLY       ALEXANDER                NC           90012560183
3B3411A897B471   KARLA          CHAVEZ                   NC           90014421089
3B342222531424   FATIMA         BALDWIN                  MO           90013932225
3B3434A7A5B156   FARRAH         HENSLEY                  AR           90013964070
3B343822893768   REBECCA        BEZICH                   OH           64501228228
3B34549518B16B   BENSON         CONKLE                   UT           90014464951
3B34738277B639   VICTOR         SANTIAGO                 GA           90009103827
3B349467455931   RAY            WALLER                   CA           90010484674
3B351489155949   MIRNA          OCAMPO                   CA           90010424891
3B35153435598B   ROSA           CRUZ                     CA           90007175343
3B35228627753B   MARIA          LOPEZ                    NV           90013362862
3B35238835B393   ALYSSA         JOHNSON                  OR           90014613883
3B352498A55957   MIGULE         DELGADILLO               CA           90009434980
3B35295485598B   MARCIAL        LOPEZ                    CA           90010649548
3B35321262B828   ALEXANDRIA     BARKER                   ID           90008392126
3B3533A2693768   BOBBIE         SMITH                    OH           90012873026
3B353A48A72499   MICHAEL        LESNESKI                 PA           90010800480
3B354A3685B393   WAYNE          SABALA                   OR           90011370368
3B356576561963   PRICILLA       SMITH                    CA           90013415765
3B357128355951   ALEJANDRO      PEREZ                    CA           90012991283
3B35731327B639   KARLA          ADDALLAH                 GA           90014893132
3B357638461963   YARELI         MARTINEZ                 CA           90013116384
3B35B296484368   JENNIFER       SMART                    SC           90014702964
3B35B36962B93B   JUAN           IRAHETA                  CA           90013753696
3B35B53538B16B   MALISA         HANEY                    UT           90013385353
3B361237377539   MARCELO        TANZI                    NV           90012892373
3B361777972455   ANN            BEERHALTER               PA           90011477779
3B362881A8B162   TROY           SULLENBERGER             UT           90010968810
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3B363285972B24   MICHELLE        VERSEMANN               CO           33016002859
3B36413377B471   NICOLE          YOUNG                   NC           90015141337
3B364948A41285   GEORGE          BAILEY                  PA           90014139480
3B366435755972   BRIAN           GONZALEZ                CA           90013974357
3B36721337B471   MARY            AVIS                    NC           90008782133
3B367465851339   DANIELLE        CALHOUN                 OH           90012694658
3B3676A389155B   LAURA           HERNANDEZ               TX           90011276038
3B367917955951   RAUL            VALDEZ                  CA           90011599179
3B36B738891584   CARLOS          LOPEZ                   TX           75031997388
3B37285547B639   JASMINE         HORNE                   GA           90002638554
3B37331AA5B393   PAM             BROWN                   OR           44598163100
3B373964593768   MIMA            WALTERS                 OH           90010539645
3B376552A5B344   SHADOW JORDAN   LIZ                     OR           90014205520
3B376A48351594   MANUEL          RAMIREZ                 IA           90013950483
3B378221872496   WALTER          LITTLE                  PA           90011102218
3B378263447931   BRITTENY        FREEMAN                 AR           90011002634
3B37993A455951   JOSEPHINA       SANCHEZ                 CA           90011599304
3B382337177544   MARTA           SICAN                   NV           90009983371
3B382477955949   ROBINETTER      MORALES                 CA           90013134779
3B38388AA55972   IMELDA          OLIVARES                CA           90014438800
3B38587A58B16B   DANIEL          ZAMORA                  UT           90012458705
3B3866A2184368   KEVIN           FROST                   SC           90014916021
3B3866A655593B   JOSE            PEREZ                   CA           90005116065
3B38794527B449   JUAN            POZOS-FRANCO            NC           90010499452
3B38B6A9341277   KELLEE          GRAY                    PA           90002296093
3B38B96A341285   ROME            HILTON                  PA           90014139603
3B3914A7631424   SHARRON         JONES                   MO           90009864076
3B39151987753B   RICKEY          FULTZ                   NV           90014155198
3B39253A976B89   SAMMUEL         GOODWIN                 CA           90011315309
3B393411551369   VERNIE          MASSEY                  KY           90013644115
3B39494AA84368   FILIBERTO       HERNADEZ                SC           90013919400
3B395497261963   RICHARD         SOLIS                   CA           90014734972
3B397988A51347   VERNISA         WINBUSH                 OH           90008109880
3B39936AA61963   JARED           EDRADA                  CA           90009413600
3B39B25764B943   ERIC            IZAVIERDO               TX           90013612576
3B39BA4595B344   EDGAR           LOPEZ                   OR           90014370459
3B3B1122377539   CINDI           CHAVARRIA               NV           90011701223
3B3B188159156B   ERIC            WEITMAN                 TX           90013378815
3B3B3418661963   CECILIA         SALAS                   CA           90011184186
3B3B39A645B393   CHELSEA         HALE                    OR           90014909064
3B3B564954B943   SAKINAH         THOMAS                  TX           90009546495
3B3B634759125B   JOHNAE          COLLINS                 GA           90014163475
3B3B6543454165   MALCOLM         SWAYNE                  OR           90009815434
3B3B664612B93B   BILL            KELLEY                  CA           90007766461
3B3B8544377544   ROY             RAMIREZ                 NV           90012655443
3B3B8664361963   SAMANTHA        SALAS                   CA           46013666643
3B3BB495661963   CARLOS          NAJERA                  CA           90012264956
3B3BB5A3454165   MIKE            FORBES                  OR           90013015034
3B3BB633161963   CARLOS          NAJERA                  CA           90010816331
3B412995255949   RAYMOND         AGUILAR                 CA           90010329952
3B413154531424   JASON           EYER                    MO           90011301545
3B4132A1A5B281   DEBORAH         RAISOR                  KY           90008412010
3B413535591525   ANA             ALVIDREZ                TX           90008875355
3B413666877539   RICHARD         REWIS                   NV           90012956668
3B41416794124B   JHON            MICKMAN                 PA           90014131679
3B414472551339   DON             BECKLEY                 OH           90014154725
3B415226A8B162   AGUSTINA        NARCISO                 UT           90014182260
3B417A4477B449   NHON            SIU                     NC           90010500447
3B41817938B162   SAIRA           CORDOVA                 UT           90012091793
3B419286893768   EARLENE         SIDIBE                  OH           90011912868
3B419539577544   AMALIA          VEGA DE NIEBLA          NV           90014445395
3B41B276691543   BRIANNA         AGUILAR                 TX           90010342766
3B42151425B281   JENNIFER        WRIGHT                  KY           90009045142
3B422688676B89   CONNIE          YBARRA                  CA           90014946886
3B42271615B545   JASON           FOWLER                  NM           90012617161
3B42492615598B   RAUL            HERNANDEZ               CA           90012569261
3B42532426B198   ARMIN           JIMINEZ                 MS           90013833242
3B42955175B281   DAVID           GREGORIO                KY           90012775517
3B431328672499   FELICIA         HADDIX                  PA           90012833286
3B43462342B871   ZULEYKA         ALCANTAR                ID           90012056234
3B43524964124B   MATTHEW         PARKER                  PA           90008482496
3B43555942B835   ALEXIS          TOVAR                   ID           90013675594
3B435A8955B281   YOLANDA         ARROYO                  KY           90012080895
3B437114876B89   FRANCISCO       SILVA                   CA           90013311148
3B43917447B449   ORENE           DICXSON                 NC           90014171744
3B43B69535B52B   JOE             VIGIL                   NM           90013466953
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3B43BA3995B344   MIGUEL          ZARATE                  OR           90001050399
3B442464341258   JONATHAN        KAURIC                  PA           90014174643
3B442A85991584   CORINA          MARTINEZ                TX           90010990859
3B443241A4B532   ANDREA          STAMPUL                 OK           90007672410
3B44335778B162   RICARDO         VERA                    UT           90014183577
3B445161876B89   HUGO            REYES                   CA           90009541618
3B44562137B639   JENKINS         HENRY                   GA           90014506213
3B446428A51339   KILEY           SHAW                    OH           90014414280
3B44866392B871   BRYAN           SAYLES                  ID           90013686639
3B449112447931   ANN             GUY                     AR           25014611124
3B449248631424   GARY            GRAY                    MO           90013932486
3B449267A2B93B   AMAIRANI        TOLEDO                  CA           90013272670
3B451352A4B281   KRYSTAL         WHITE                   NE           90014153520
3B451559141277   DUNCAN          ERVENA                  PA           90010705591
3B45223784B943   ALEXIA          COLE                    TX           76589272378
3B453557151339   DAVID           INGRAM                  OH           90010495571
3B45415485598B   BERENICE        ZUNO                    CA           90012971548
3B454155591831   JUSTIN          JOHNSON                 OK           90010671555
3B45542235B52B   BRANDON         STONE                   NM           90010994223
3B456669891584   MYRNA           MEDRANO                 TX           75023486698
3B45883678B16B   JAYSON          HUFFMAN                 UT           90001008367
3B45899475B393   TYLER           MYROW                   OR           90011099947
3B459376A2B835   RUSSELL         HUFFMAN                 ID           42070443760
3B45974A354165   JUAN            OSORIO                  OR           90012567403
3B45B529872496   AMELIA          COSTELLA                PA           90008195298
3B45B58115B156   KNOX            TONDELIA                AR           90010965811
3B45B87397B639   DAVID           BOND                    AL           90014898739
3B461113955972   JOSAFAT         DIAS                    CA           90010291139
3B461947641285   MORALIS         SOLOMAN                 PA           90008369476
3B462545255949   BRIAN           ROADENBAUGH             CA           90012785452
3B462914355951   ROXANNE         AVILA                   CA           90013159143
3B462A28961963   AIDEE           MANCILLAS               CA           90013530289
3B464861276B61   JORDEN          BERGER                  CA           90011718612
3B465212854165   MICHAEL         BRADLEY                 OR           90009762128
3B465872591831   SHAWN           DUNCANT                 OK           90013518725
3B466522A51369   KRISTINA        JACKSON                 OH           90012305220
3B467156A8B16B   DAN             COATES                  UT           90014211560
3B467377A51339   MIKE            HENCY                   OH           66060133770
3B467852A51369   RONDA           TUGGLE                  OH           66052998520
3B468442977539   JOSE IGANICIO   LEON                    NV           90013684429
3B468A79941258   SAMANTHA        EASTGATE                PA           90014580799
3B46913485B281   DANIEL          HILL                    KY           90006781348
3B469214277539   SAELEE          PANON                   NV           90003052142
3B46922955B393   ALBERTO         SALAZARES               OR           90010022295
3B46935A461963   RAHEEL          DAKOO                   CA           90012393504
3B469554455949   SANDRO          ROLON                   CA           90009795544
3B47171554124B   EMILY           THIRY                   PA           90012437155
3B472AA9561963   KARINA          ACOSTA                  CA           46041260095
3B473A64377539   TRISHA          MOCK                    NV           43048320643
3B47438832B93B   BILLY           PEREZ                   CA           90012743883
3B474A3595B393   MATTHEW         COLLINS                 OR           90006350359
3B47655495598B   YUVIMA          ROMO                    CA           90004025549
3B477717754165   LUCAS           TANNER                  OR           90015147177
3B47828994B943   VALENTIN        BRISENO                 TX           90014662899
3B47859877B471   TIFFANY         HOUSTON                 NC           90013735987
3B47863175B321   AMY             HILL                    OR           90010946317
3B478938855951   AREF            QASJIM                  CA           90013049388
3B479983738522   NANCY           SPENCER                 UT           90014059837
3B47B129941285   TERRY           DUNNING                 PA           90004301299
3B48226977B639   AMY             THOMPSON                GA           90013962697
3B48338A27B471   MISAEL          ROBLES                  NC           11098243802
3B4855A958B162   KAREN           MOSCOSO                 UT           90014185095
3B48933162B871   JOEY            BERNAL                  ID           90013513316
3B489549977544   CHARLIN         EWEN                    NV           90009075499
3B49153A28B162   ANA             RODRIGUEZ               UT           90014185302
3B492592341277   GARY            STEIMER                 PA           51012535923
3B492862141277   GARY            STEIMER                 PA           90010718621
3B49341585B393   DECEMBER        WATSON                  OR           90013674158
3B49341765B344   IRMA            VALENCIA                OR           90009894176
3B4944A4236B77   HECTOR          GONGORA                 OR           90013954042
3B49611847B639   JOSH            WILLINGHAM              GA           90014421184
3B496473491584   RAUL            CHAVIRA                 TX           90004414734
3B4978A8941285   MICHAEL         YANKEE                  PA           90012188089
3B4981A7751339   NICK            JACKSON                 OH           90012211077
3B49839712B871   ASHLEY          MENDEZ                  ID           90014873971
3B498A92255972   AMANDA          LUTRICK                 CA           90010130922
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3B499583272496   MICHAEL         TEETS                   PA           90013325832
3B4B1159772B24   PHILLIP         HUNTINGTON              CO           90011501597
3B4B155528B16B   YURI            LOZANO                  UT           90013355552
3B4B2167736B77   DESTINY         ORTIZ                   OR           90012521677
3B4B2195151369   ERORIDALMA      JUARES                  OH           90012291951
3B4B22A6191232   LEKICHA         REED                    GA           90014682061
3B4B2497261963   RICHARD         SOLIS                   CA           90014734972
3B4B266465B156   ROQYA           ALALSHAIKH              AR           90012566646
3B4B2A8364B943   CANDICE         PLAMER                  TX           90013090836
3B4B397734B281   LLONDEL         RICHARD                 NE           90014089773
3B4B435859713B   LAVIOLET        BROWN                   OR           90013463585
3B4B47A9841285   TROY            WAZNY                   PA           90011737098
3B4B5379731424   DAVIDSON        MERRIWEATHER            MO           90013123797
3B4B7341951339   CARMELA         DELIA                   OH           90014943419
3B4B9347A7B639   JILLIAN         PRICE                   GA           90013703470
3B4B956338B16B   MICHELLE        OLSEN                   UT           90001875633
3B511AA368B166   MIGUEL ANGEL    PEREZ SERRANO           UT           90008720036
3B5123A282B835   ATANASIO        ORTIZ                   ID           90008573028
3B51321722B835   ROSE            PETERSON                ID           90010692172
3B5142A5441285   JEVONNE         SCOTT                   PA           90013942054
3B51478555B344   MYLA            RECHIREI                OR           90003177855
3B515A72861963   ERIC            RIVERA SALAZAR          CA           90011460728
3B51628A451369   TERRANCE        POWELL                  OH           90014612804
3B51686885B281   LAUREN          BAKER                   KY           90007348688
3B5171AA97B639   SYLVESTER       PATTON                  GA           90012031009
3B51937762B28B   RONDELL         SILVERS                 DC           90010313776
3B51B18358B162   VICTORHUGO      CORDERO                 UT           90008241835
3B51B279A76B89   DAYSY           TOLEDO                  CA           90010702790
3B51B55148B162   LUIS            MOSCOSO                 UT           90014185514
3B52333294B943   DEAN            LEWIS                   TX           90013693329
3B523623455949   ALVARO          DAVALOS                 CA           49001016234
3B52573114124B   KELLIE          POLLITT                 PA           90013867311
3B528A79955949   TROY            MCCRAW                  CA           90014100799
3B52971867B639   OTAVIA          THOMAS                  GA           90013697186
3B53157492B835   SHEILA          REYNOSO                 ID           90008105749
3B532776555951   RODULFO         DONATE                  CA           90011617765
3B533921954165   STEVEN          SZIBER                  OR           90010799219
3B53512969713B   NICK            WITTER                  OR           90013591296
3B535684355972   MARTIN          RODRIGUEZ               CA           90009686843
3B536626972B24   AMIN MOHAMMAD   ALTWIL                  CO           90004626269
3B536755731424   MICHAEL         LANG                    MO           90013967557
3B537144A77539   SHAWNA          JONES                   NV           90012801440
3B53756435B156   JOSE            LOPEZ                   AR           90011885643
3B53888752B93B   SURESH          DIYAL                   CA           90012898875
3B541435491584   HALL            ARLIS                   TX           75061814354
3B5414A254B943   LASHONDA        BROWN                   TX           90011994025
3B54157675B52B   MIRINDA         GERBER                  NM           90001775767
3B54185617753B   RAY             FORD                    NV           43037428561
3B543A2552B93B   CARLOS          IBARRA                  CA           90012870255
3B54427AA5B156   SHALEE          KIMES                   AR           90011002700
3B548383A7B471   DAVID           LUNA RIOS               NC           90012073830
3B5485A597B473   RASHIDA         REDIC                   SC           90001915059
3B54917625B344   RACHELLE        FLINT                   OR           44593621762
3B54B11665B156   WALTER          MACK                    AR           90014711166
3B54B986476B89   KATHRYN         ROCHAMBEAU              CA           90012879864
3B55115A94B954   LAKEISHA        BUSH-PRICE              TX           90008431509
3B553423891356   MISTY           STEWARD                 KS           90011854238
3B554A5A557153   ELVIS           JOYA                    VA           90007210505
3B555548141258   SHAWNCIE        HENDERSON               PA           90013255481
3B556328677544   ZAKIA           KNIGHT                  NV           90012823286
3B557232455951   ALIANA          COVARRUBIAS             CA           90011602324
3B557888197137   FERNANDO        HERNANDEZ               OR           90012668881
3B558281254165   ERIC            RAMEY                   OR           90015172812
3B5615AA755972   KORINA          GALAVIZ                 CA           90013125007
3B568838677539   ALEXANDER       MOORE                   NV           43008588386
3B568A22141277   MARVIN          HERREN                  PA           90009410221
3B56929964B943   THOMAS          DUNCAN                  TX           90014812996
3B569338351339   ARYN            SHEPHERD                OH           90013773383
3B56959574B943   AVIS            LAMOTTE                 TX           90013715957
3B56B21718B162   SHANE           SAMANIEGO               UT           90006662171
3B572957872B24   ARACELY         ANCHONDO                CO           33016009578
3B573A8A961963   TERRANCE        CROW                    CA           90014860809
3B574693A2B835   VICTORIA        MEDRANO                 ID           90012656930
3B57B394951339   ASHLEIGH        FORBES                  OH           90014563949
3B581662691831   KYLE            WILLIAMS                OK           90014956626
3B583145A47931   LARRY           CLAY                    AR           90011071450
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3B583623255972   ROBERT         VASQUEZ                  CA           90010066232
3B586558277544   MARIA          MENDEZ                   NV           90010595582
3B58671867B639   OTAVIA         THOMAS                   GA           90013697186
3B587169741277   ROGER          MILLER                   PA           90014511697
3B5872A662B87B   DERECK         PERRY                    ID           90009972066
3B58746372B93B   KARIN          MENDOZA                  CA           90013204637
3B58912162B87B   ESPERANZA      MARTINEZ                 ID           90010821216
3B5896A6255951   ASAEL          AGUILAR                  CA           90014766062
3B58B79898B162   YACQUELIN      PASCUAL                  UT           90014187989
3B58B936273221   JAVIER         KIROS                    NJ           90014379362
3B59149928B16B   MICHAEL        FERGUSON                 UT           90014254992
3B59285988B162   NANCY          MINER                    UT           90014188598
3B59293A472496   ELIZABETH      SWOPE                    PA           51014609304
3B593661351369   KASEY          DROTAR                   OH           90003016613
3B594597191356   JOHN           BLACKETT                 KS           29001325971
3B594616155949   ALEJANDRO      LOPEZ                    CA           90010036161
3B59479465598B   LAKRISHA       DARKS                    CA           90013787946
3B595697355972   ROCIO          DURAN                    CA           90007696973
3B59653A42B93B   MIKE           HOBART                   CA           90008565304
3B59721A741285   CHRISTOPHE     DAVIS                    PA           90001282107
3B59755585B393   DANIELLE       LANEY                    OR           90003095558
3B597A88772B24   ARLYN          GONZALEZ                 CO           33033810887
3B599235447931   SERGIO         PEREZ                    AR           90015042354
3B59978857B639   DARRIAN        WRIGHT                   GA           90010657885
3B59B4AA351339   IZERIA         MCCULLER                 OH           90014714003
3B5B345345B52B   NATASHA        STEPHENS                 NM           90012824534
3B5B433A861963   AREK           TAYLOR                   CA           90011413308
3B5B46A489713B   MARISSA        TETER                    OR           90013586048
3B5B5586251369   NICKI          BROWNING                 OH           90014175862
3B5B5788A7B471   MINDY          MACON                    NC           90012427880
3B5B6328677544   ZAKIA          KNIGHT                   NV           90012823286
3B5B715955B393   LUISA          MARTINEZ                 OR           90003121595
3B6112A544124B   JEVONNE        SCOTT                    PA           90013942054
3B61195717753B   COLE           RICHARDSON               NV           43085849571
3B612692155972   HOPE           URIAS                    CA           90013996921
3B61297AA7753B   STEVEN         CURIEL                   NV           43042689700
3B613397A2B93B   SUSANA         CONTRERAS                CA           90014783970
3B613439A54165   STEVEN         AMSA                     OR           47024614390
3B61517337B639   JOSEPH         RISER                    GA           90012051733
3B616197A76B89   HERMES         GARCIA RAMIREZ           CA           90010421970
3B617224531424   NAKESHIA       EDWARDS                  MO           90008972245
3B61759347B639   ALISA          TARVER                   GA           90011175934
3B618A92841258   IKUMA          OJOK                     PA           90006860928
3B62195425B156   KRISTAL        COLLINS                  AR           90010889542
3B62294732B835   JACKI          CARLSON                  ID           90013529473
3B623185977539   JUSTIN         WILLIAMS                 NV           43082151859
3B62552322B87B   VILLAFANA      RODRIGUEZ                ID           90001785232
3B62589255B281   MICAHEL        HARDY                    KY           90013288925
3B62627947B639   KEMIRA         WILSON                   GA           90013962794
3B627635155951   CHHIEANG       SAM                      CA           90014766351
3B62796A547931   MARTHA         GRANADOS-ZUNIGA          AR           25041019605
3B62878362B87B   PATRICK        SMITH                    ID           90010797836
3B6313A8941285   KRYSTAL        SILK                     PA           90014843089
3B631A7392B87B   CHELSEY        LAY                      ID           90013150739
3B634A82677539   DAPHNIE        CHANDLER                 NV           90008740826
3B635845A77544   JONATHAN       PADILLA-SAUCEDO          NV           90013938450
3B6359A715B591   MARIAH         MIERA                    NM           90010889071
3B638A68977539   VANESSA        GARCIA                   NV           43069400689
3B63975675B281   MIKE           WISON                    KY           90011437567
3B63B158A91584   JULIA          PONCE                    TX           90010991580
3B6421A744B922   MARIE          GUSTAFSON                TX           90013511074
3B644246531424   KWAME          THOMAS                   MO           90013132465
3B644434151339   BARRY          LOYD                     OH           90012894341
3B644879A5B393   JOANNE         HEADRICK                 OR           90013258790
3B645519155951   SONYA          MORALES                  CA           90008575191
3B64563762B835   EDUARDO        NUNEZ SANCHEZ            ID           90011086376
3B64611482B87B   SHANE          LAMBERT                  ID           42091261148
3B6482A768B16B   LUIS           GAXIOLA                  UT           90013132076
3B648434777539   MATTHEW        LEAVITT                  NV           90013854347
3B6484AA57753B   VIVIAN         CAMACHO                  NV           90009634005
3B649225761963   ARCY           ALCANTARA                CA           90010212257
3B64949928B16B   MICHAEL        FERGUSON                 UT           90014254992
3B65279268B162   JESSIE         QUINTERO                 UT           90008447926
3B65313264B943   CAROLYN        WILSON                   TX           76580011326
3B654975161963   NANCY          PINTOR                   CA           90009099751
3B655221155951   TYLER          PRYOR                    CA           90012892211
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3B65729385B393   STEVE          BLACK                    OR           90014832938
3B659218371937   JUANITA        MEIROSE                  CO           90010842183
3B662342A77539   ROBERT         GODFREY                  NV           90012553420
3B66273767753B   JAMES          LAMISON                  NV           90012947376
3B663888255972   CAROLYN        LONG                     CA           90009848882
3B66544842B87B   IRENE          ACEVES                   ID           90011304484
3B665517A7753B   ERNEST         OTTOWA                   NV           90014985170
3B666956891543   GRACIELA       SANCHEZ                  TX           90011679568
3B667878955951   CATOLINA       VELASQUEZ                CA           90002588789
3B668574451339   DANIEL         BOWENS                   OH           90014365744
3B669122A2B871   KAYLEIGH       WESCHE                   ID           90014791220
3B669531161963   DANNY          STERLING                 CA           90014745311
3B66B352455951   ADRIANA        CRUZ                     CA           90011603524
3B66B555691584   BRIANA         RAMOS                    TX           90010505556
3B673115255951   LAURA          LEON                     CA           90014821152
3B673161231424   CARL           BROWN                    MO           90008501612
3B673685455949   LETICIA        SHAMMA                   CA           90013006854
3B673823855951   CRISTIAN       ARREDONDO                CA           90012818238
3B674483451339   ANDREW         AUGSPURGER               OH           90010784834
3B676386161963   DENISE         RIVERA                   CA           46014943861
3B67755A531632   DONNA          GILLESPIE                KS           90006265505
3B677A4815B156   KINA           MALONE                   AR           90010890481
3B678738585681   JUAN           MENDEZ                   NJ           90001887385
3B678744477544   HILDA          MIRELES                  NV           90011727444
3B679647A5B393   OLYVIA         BATSON                   OR           90012276470
3B679695777544   ROSALBA        CUADRA                   NV           90013846957
3B67B24624B943   JAVIN          WALKER                   TX           90008962462
3B68118142B93B   BRANDI         COSTA                    CA           90011661814
3B68178919713B   WILLIAM        KRAMER                   OR           90013607891
3B68185762B255   KEDDITH        BELL                     DC           90007798576
3B683228351339   WALDSEE        WEBBER                   OH           90010932283
3B683856151339   CHRIS          BAILEY                   OH           90012868561
3B68477772B87B   KRISTINE       BANEY                    ID           90014257777
3B685551155951   REYNA          GARCIA                   CA           90008575511
3B686975984368   MOISES         MORALES                  SC           90012799759
3B6883AA136B77   RICARDO        ALONSO                   OR           44570023001
3B69125A851369   DENISE         HUNTER                   OH           90004742508
3B691521151369   KADISHA        MEIDNA                   OH           90014705211
3B6923A3277544   BRUCE          WALTZ                    NV           90014483032
3B692858A9713B   ANGELA         WITTER                   OR           90013608580
3B692A19651369   JORDAN         PFLUEGER                 OH           90014160196
3B693113A51369   AMANDA         JONES                    OH           90013231130
3B693668333625   ANITA          THORPE                   NC           90007116683
3B69378625B393   SHILOH         HOISINGTON               OR           44562547862
3B69425A851369   DENISE         HUNTER                   OH           90004742508
3B694561755949   VERONICA       RAMIREZ                  CA           90003525617
3B69479A561963   JOHN           JOHNSON                  CA           90011217905
3B69686989713B   TINA           PILLIAS                  OR           90013608698
3B696A1265598B   LEILAIN        BURTON                   CA           49077220126
3B697916A51339   DAVID          SALYER                   OH           66039999160
3B698A93991232   LAKISTA        TUKES                    GA           90012190939
3B699483751321   RAY            MARTIN                   OH           90010984837
3B699698361963   CHRISTINA      LEMIRE                   CA           90003476983
3B699A69972496   JOAL           BARTHOLOW                PA           90005720699
3B6B1269172B47   RAUL           BALTIERRA                CO           90014912691
3B6B17AA52B87B   WILLIAM        RUESSLL                  ID           90012677005
3B6B8493791356   JEREMY         BLUMBERG                 KS           90010934937
3B6B9A4444B281   DEJA           LEVERING                 NE           90014070444
3B6B9A6422B93B   DAVID          VILLARIAL                CA           90012680642
3B6BB129755949   RAY            QUAID                    CA           90008141297
3B6BB81672B871   JACKSON        BROWER                   ID           90007508167
3B71159A141277   ALISHA         WALKER                   PA           90000155901
3B712A2177B449   DAVID          JACKSON                  NC           90008740217
3B7139A785B393   MYRENE         MWANGIN                  OR           90010299078
3B71418495B393   CARLOS         PONCE SOTO               OR           90014191849
3B714491854165   VANESSA        REED                     OR           90010174918
3B71473A477539   CAREN          MALDONADO                NV           90013957304
3B715132272496   DEBBIE         HIXSON                   PA           90013471322
3B716428A51339   KILEY          SHAW                     OH           90014414280
3B717255A5B156   ROSA           HERNANDEZ                AR           90013242550
3B717763636B77   JESUS          LOPEZ                    OR           90012447636
3B717A3595B393   MATTHEW        COLLINS                  OR           90006350359
3B718882991584   VERONICA       CORONA                   TX           90009578829
3B719A25877539   MONICA         CORDOVA                  NV           90014180258
3B71B4A9541285   DAQUAY         SNOW                     PA           90012854095
3B721585772B24   JOSE           IBARRA                   CO           33095135857
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3B722244461963   JOHN           WELCH                    CA           90010472444
3B725728791963   GLORIA         MARTINEZ                 NC           90008907287
3B727323651339   NIKO           SCOTT                    OH           90010963236
3B731859384368   RYAN           MALEY                    SC           90008688593
3B73254A82B93B   SPENCER        SMITH                    CA           90008195408
3B7326A3631424   GAINELL        ROBINSON                 MO           90014956036
3B732A15876B89   THOMAS         WEBER                    CA           90012850158
3B73355917753B   DAWN           JOHANSEN                 NV           90010385591
3B734175555949   JENNIFER       CARLIN                   CA           90006921755
3B73432947B471   RODRICK        ROBERTSON                NC           11072553294
3B734471A4124B   RAVINDER       SINGH                    PA           90013084710
3B734936993761   YONIKA         PEOPLES                  OH           90011659369
3B735321A44333   SHAUNICE       CRAMPTON                 DC           90003403210
3B736265241285   LAMAR          CLARK                    PA           90013942652
3B739226255951   RAYMOND        SONORA                   CA           90012892262
3B739691655972   VANESSA        LOPEZ                    CA           90013696916
3B74128A155949   FRANCINE       GUERRERA                 CA           90014772801
3B741935355951   SHIDAY         JORDAN                   CA           90011079353
3B742116491831   MICHAEL        CLARK                    OK           90007621164
3B74594847B471   LE ANDERA      WILSON                   NC           90011199484
3B746395951339   ANDREW         KING                     OH           90012653959
3B74643347B639   MILTON         PINEDA                   GA           90010774334
3B7468A837B639   GORDON         DAVENPORT                AL           90013938083
3B747668791232   LAQUAN         POLITE                   GA           90013516687
3B751592291543   MAYCA          JIMENEZ                  TX           90010015922
3B752568555951   ANGELA         CHAVEZ                   CA           90014775685
3B755354131424   NESHA          JONES                    MO           90013933541
3B7557A7691831   DUAN           SMITH                    OK           90005377076
3B75657A52B835   CLIFTON        BAYLEY                   ID           90015275705
3B7572A255B281   SHAY           POWELL                   KY           90014712025
3B758289A71937   SHERYL         MCGEARY                  CO           90012222890
3B75849214B943   FELIPE         ESTRADA                  TX           90014114921
3B758A3745B38B   SAMANTHA       KRAGERUD                 OR           90013970374
3B75B9A1276B89   KELVIN         EKEKEUGBOR               CA           90013729012
3B76128825B52B   JOSEPH         RIVERA                   NM           90011892882
3B7618A495B281   ARIEL          MARSHALL                 KY           90010918049
3B762559176B89   JIM            PETERS                   CA           90011525591
3B76265145B344   KATHRYN        SMITH                    OR           90011156514
3B76456A154165   JUAN           RODRIGUEZ                OR           90013015601
3B766988451369   BENJAMIN       SHEPHERD                 OH           90014229884
3B76977332B835   ANGELA         SEYMOUR                  ID           90014717733
3B76B67494B943   GEORGE         MONTALVO                 TX           90012836749
3B771135172B76   ARACELI        GONZALEZ                 CO           33064401351
3B772641891831   EDEN           ANDRADES                 OK           90009586418
3B7733A982B835   CALVIN         FRATES                   ID           90014343098
3B77652242B871   MICHAEL        YOUNG                    ID           90012695224
3B77685512B871   GREISY         COTA                     ID           90011168551
3B777321131424   JANAY          PARKS                    MO           90011953211
3B777517784368   DENNIS         RAMIREZ                  SC           90011345177
3B777A78624B89   TYJUAN         GOULD                    DC           90000880786
3B778876751339   THOMAS         SANTOS                   OH           90013468767
3B779446461963   MICHELLE       EAVES                    CA           90013424464
3B77B248741277   JUSTINE        BELL                     PA           90012722487
3B781528A4124B   DANIELE        JONES                    PA           90014915280
3B783146855951   JULIA          DUDLEY                   CA           90011841468
3B787231351369   SHANDA         MODESTIN                 OH           90011382313
3B787444A55951   CHRIS          POWELL                   CA           90010184440
3B7879A472B835   SHANE          LATHAM                   ID           90012959047
3B789A2442B87B   TINA           HARRIS                   ID           42010610244
3B78B11779125B   DOROTHY        LEE                      GA           90002651177
3B78B19667B639   TATIANA        STONE                    GA           90010881966
3B78B552A41285   AARON          WEBB                     PA           90015205520
3B791A5297B639   JASMINE        LEE                      GA           90013350529
3B792596A41277   CURTIS         CHEBEN                   PA           90010285960
3B79271134B943   BLANCA         RAMIREZ                  TX           90011207113
3B79275317B33B   MIMI           HAILU                    VA           81033347531
3B79368417B639   JOJO           SAMPSON                  GA           90013936841
3B7936AA69713B   CODY           DAMEN                    OR           90013616006
3B794A8292B871   FRANCISCA      HERRERA                  ID           42092900829
3B79512A84B943   AQUILLA        CIBRIAN                  TX           90014181208
3B795652176B89   JACK           MCKRAO                   CA           90010496521
3B795654876B89   AUBREY         HARRIS                   CA           90013176548
3B796977651339   DENNIS         WORKMAN                  OH           90013739776
3B79712A84B943   AQUILLA        CIBRIAN                  TX           90014181208
3B797AA582B835   CRYSTAL        POWERS                   ID           42079960058
3B799281641285   SOLOMON        JOHNSON                  PA           90013942816
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 406 of 1007


3B79B127355972   ALYSSA           LEDESMA                CA           90013421273
3B79B89975598B   MARIA            KING                   CA           90005188997
3B7B137374124B   LONNIE           RUSSELL                PA           90008983737
3B7B19A2141258   JEAN CARLOS      REYES                  PA           90014109021
3B7B21A385B393   ROBERT           OGDEN                  OR           90012751038
3B7B264612B93B   BILL             KELLEY                 CA           90007766461
3B7B31AA42B28B   KERRY            LEWIS                  DC           90006801004
3B7B4646172B76   MIKELL           DURAN                  CO           90010216461
3B7B4679972B76   MIKELL           DURAN                  CO           90013776799
3B7B533667B471   ANNA             BUESO                  NC           90012633366
3B7B5888891356   NINA             ANGELO                 KS           29091608888
3B7B6232A51339   LINDSEY          JENKINS                OH           90013552320
3B7B6322A2B835   TAKIA            POORE                  ID           90013933220
3B7B668744B943   JULIA            JONES                  TX           90014026874
3B7B76AA85B281   ASHLEY           WILSON                 KY           90013946008
3B811285A41285   LAUREN           RUPERT                 PA           90013942850
3B813638A2B28B   CLEVELAND        PADGETT                DC           90012736380
3B814318955949   MIRWAIS          RAHMANI                CA           90010613189
3B81522994B281   JESSICA          PETERSON               NE           27013402299
3B816793184368   ALEX             SANCHEZ                SC           90015117931
3B8172A545B344   VICTOR           GUTIERREZ              OR           90014202054
3B817373391356   CARL             POULSON                KS           90011463733
3B817467861963   GARRETT          BOWEN                  CA           90009084678
3B819378855972   CARLOS           CASTRO                 CA           90011093788
3B8199A5751339   RONALD           CHURCH                 OH           90012099057
3B81B28994B281   ALFONSO          MONTOYA                NE           90012182899
3B81B655141285   AMBER            NOCK                   PA           90012906551
3B821937155949   MERCEDES         REYES                  CA           90010269371
3B82363245B393   BRIANNA          TAYLOR                 OR           90013576324
3B824669241285   KAREN            VOS                    PA           90000576692
3B8272A2491356   MARVIN           THOMAS                 KS           29010872024
3B82757642B28B   TASHIA           HARRIS                 DC           90011765764
3B8281AA85B52B   JUDE             GARCIA                 NM           90013111008
3B82859965B393   MARYELL          MARTINEZ               OR           90013065996
3B82938917753B   CESAR            CASTILLO               NV           90011333891
3B829715272496   JOHN             MARKS                  PA           90014827152
3B831873772496   DONNA            KRULL                  PA           90013288737
3B83514175598B   HAN              SWIGGS                 CA           90013381417
3B83517A631424   TRINITY          MATHIAS                MO           90013141706
3B83591285B156   LAFARRAH         STRICKLIN              AR           90011149128
3B835A68641258   KERVIN           MADRID                 PA           90014140686
3B8378A342B93B   SHANNON          MC CLANAHAN            CA           90012518034
3B8382A3977539   MIRANDA          BIRDSONG               NV           90011492039
3B839688A7B639   R                WOODS                  GA           90013936880
3B839822191831   DONNIXON         ELEAM                  OK           90010798221
3B84353112B835   JERONIMO         OLVERA                 ID           42089415311
3B844647A91831   GILMER           LOPEZ                  OK           90012136470
3B844668876B89   PABLO            MEJIA                  CA           90000686688
3B84669A48B14B   YOSHIKO          SMITH                  UT           90009166904
3B849285877539   DEVIN            FOSTER                 NV           90014542858
3B849864954165   ALLISON          WEYAND                 OR           90014518649
3B84B154255951   MARIO            OSORNIO                CA           90010111542
3B84B18572B93B   JEROME           BROOKS                 CA           90015171857
3B851335A4B943   MISAEL           FLORES                 TX           90010873350
3B851A19577539   LEONARDO         ALCANTARA              NV           90014170195
3B85286954124B   TOMLIN           VALENTINE              PA           90013938695
3B85338A15B281   MS               MORRIS                 KY           90009733801
3B85352A876B89   HILLARIO GORGE   GUTIERREZ JR           CA           90012865208
3B853A26661963   ROSE             HERNANDEZ              CA           90013100266
3B85533A14B943   JOSEPH           LAVERGNE               TX           90011323301
3B856474384368   CARMEN           WASHINGTON             SC           90007734743
3B857429391831   JAVIER           TREJO                  OK           90014274293
3B858361891831   REA              BAKER                  OK           90012883618
3B862688A7B639   R                WOODS                  GA           90013936880
3B866641991356   SCOTT            SAMPLE                 KS           90011786419
3B86755A441285   RONNISHA         MASON                  PA           90012855504
3B86B363231424   ARDELL           COOPER                 MO           90009463632
3B86B74812B871   THOMAS           BROWN                  ID           90011067481
3B872772431424   MYA              DAVIS                  MO           90014237724
3B873391876B89   MARCOS           PEREZ RIVERA           CA           90006333918
3B8741A2541258   BENJIMAN         GENTILE                PA           90013941025
3B874769955936   TINA             SHARP                  CA           90005887699
3B87481337753B   ENRIQUETA        ALVAREZ                NV           90012218133
3B87545A776B89   NEYDA B          POSADAS                CA           46083384507
3B87594484B281   ANTHONY          PERALES                IA           90010039448
3B876758141277   DAVID            BICE                   PA           90012767581
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3B87697225B393   ENRRI          GONZALEZ                 OR           90010299722
3B87824775B281   ERICA          COOLEY                   KY           90013692477
3B878A5427B639   OLIVER         CARRILLO                 GA           90011890542
3B87996178B162   KERI           BROWN                    UT           31069959617
3B87B19A35B156   TIFFANY        SIMPSON                  AR           90013151903
3B87B2A777B639   SADE           WHITEHEAD                GA           90014172077
3B87B69536194B   PHILLIP        HAYES                    CA           90009186953
3B87B86954124B   TOMLIN         VALENTINE                PA           90013938695
3B87BA6225598B   KATRINA        OCHOA                    CA           90008560622
3B882886177544   BRANDON        FEDINIC                  NV           90014518861
3B88291338B166   TANYA          STENSLAND                UT           90008059133
3B883A8918B166   LATANYA        STEPHENS                 UT           90012120891
3B88437138B162   JASLEE         HORE                     UT           90007263713
3B88442A87B639   PRISCILLA      MORGAN                   GA           90003694208
3B88466628B16B   RYAN           VEGA                     UT           90013836662
3B88618694B943   MINDY          WALTERS                  TX           90010941869
3B887383131424   MARCO          BATTA                    MO           90002983831
3B88861285B52B   CHANIN         KELLY                    NM           35095536128
3B88863928B16B   DANIEL         PETSCHE                  UT           90011856392
3B891872155949   TRUE           XIONG                    CA           90004638721
3B892974251339   NATHAN         FARQUER                  OH           90006329742
3B89424A455972   JIMMY          SLATE                    CA           90012712404
3B895757254165   JUSTIN         BAYLESS                  OR           90012357572
3B8961A3A55972   ALMA           SANCHEZ                  CA           90010741030
3B89B641991356   SCOTT          SAMPLE                   KS           90011786419
3B8B211848B16B   CARILYN        BUNPAI                   UT           31065551184
3B8B292785598B   CORINA         HERRERA                  CA           90014849278
3B8B358A291356   DEREK          WATTS                    KS           90013525802
3B8B451565B156   MELANIE        SEMISTON                 AR           90005005156
3B8B532A44B943   KHAMYREE       ALPOUGH                  TX           90014183204
3B8B6393255972   JUNIOR         ALVARADO                 CA           90007703932
3B8B6618677539   MOHONNED       JOHNSON                  NV           90009746186
3B8B75A542B835   GUSTAVO        ESQUIVEL                 ID           90001765054
3B8B8128561925   YULIED         MORALES                  CA           90008681285
3B8B9861455951   MIGUEL         VIDALES                  CA           49001228614
3B911A12372496   SUSAN          PRITTS                   PA           90011130123
3B916378776B89   MICHAEL        MORALES                  CA           90012333787
3B91648999375B   JENNIFER       HAMMAN                   OH           90011044899
3B916839872496   HIPOLITO       TOJIL SANCHEZ            PA           90011488398
3B916A44A31424   TIFFANY        CAMPBELL                 MO           90001510440
3B917A2815B52B   PATRICIA       MARTINEZ                 NM           90013370281
3B919624755951   MICHEAL        MCG                      CA           90009176247
3B91999625598B   THIAGO         NOVIS                    CA           90013249962
3B91BA5388B166   PHILLIP        WEST                     UT           90001670538
3B92118AA77544   TODD           SMITH                    NV           43029211800
3B921542A2B87B   GATURUTURU     SHAKONDO                 ID           90000425420
3B92313745B344   JOSHUA         HUNTER                   OR           44524911374
3B92321A45B344   MONICA         BODLE                    OR           90013562104
3B92432575B281   TIMOTHY        JONES                    KY           90012643257
3B924885855951   GAABRIEL       MORALEZ                  CA           90012668858
3B925181A5B344   DAVID          CAGLE                    OR           90005121810
3B926A3118B162   DAVID          RAY                      UT           31030060311
3B9281A8641285   LORETTA        MENOSKY                  PA           90014451086
3B92985A52B87B   MARIO          MORA                     ID           90010798505
3B92B49A931424   KEVIN          KIRKPATRICK              MO           90011674909
3B93129267B639   DENISE         KIRKLAND                 GA           90014382926
3B931834741258   AURELIA        FRATINI                  PA           90014238347
3B93233A25B156   GREGORY        LONG                     AR           90013553302
3B9323A754B559   CODY           THOMAS                   OK           90009993075
3B932835755951   AREO           BERMEJO                  CA           90014778357
3B934336472B76   GEOVANY        JIMENEZ                  CO           90005033364
3B934851591584   MARTIN         ROSALES                  TX           90010508515
3B93485A52B87B   ROBIN          SALINAS                  ID           90009978505
3B93516565B281   ROSA           FRENANDEZ                KY           90004501656
3B936A18891232   QUADRIAH       HICK                     SC           14500280188
3B937467784345   AARON          KIRVEN                   SC           90014834677
3B937535676B44   JAMES          TOWNE                    CA           46008055356
3B937867151339   MONIQUE        HAWLEY                   OH           90014568671
3B938284124B35   DELFINO        CHAVEZ                   DC           90013052841
3B941183161963   JAMILA         HADI                     CA           90009901831
3B944342976B89   ANGELICA       MILLAN BAHUMAN           CA           90012883429
3B9456A532B28B   DONNELL        BROAD                    DC           90010606053
3B94687A65B344   TERUSA         BILLY                    OR           44509428706
3B946A43251339   MARANDA        ROMAN                    OH           90012770432
3B94714A872496   ROBERT         STEWART JR               PA           90014841408
3B9487A6271485   ARANCA         FERARITA                 CA           90014007062
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3B9491A9355951   KASARA            VELA                  CA           90014781093
3B94B19255B156   S                 ERVIN                 AR           23083261925
3B94B798777539   VICTORIA          CORNEJO-PENA          NV           90014667987
3B94B8A9976B89   DOLORES           DOMINGUEZ             CA           90009608099
3B953724661963   IISHA             GRIFFIS               CA           90011227246
3B95399237B43B   OLIVIA            GOMEZ                 NC           90007039923
3B95521658B162   LIER              SHERARD               UT           90010452165
3B955A9835B344   DONNA ELIZABETH   POSTEHER              OR           90010710983
3B956591436B77   CECILIA           CAMACHO               OR           90011565914
3B956598672B76   ALEXIS            BUSTAMANTE            CO           33000685986
3B9579A4285974   ADAM              MOEVES                KY           90003389042
3B958488476B89   DAVID             HARVEY                CA           90010674884
3B95B528A4124B   DANIELE           JONES                 PA           90014915280
3B961891177544   MARIA             VARGAS-MURILLO        NV           43012418911
3B962457551369   CHARLETTA         SCOTT                 OH           90013964575
3B963646491356   CRISTAL           SALAZAR               KS           90011496464
3B9689AA14B281   ANGELIQUE         GRAY                  NE           27017209001
3B968A2538B16B   BRYCE             LABELLE               UT           90010090253
3B969A31A91831   CHRISTINA         DACZEWITZ             OK           21025670310
3B969A41551369   RODNEY            MOORE                 OH           66087450415
3B96B489777539   MARTINA           MARTINEZ              NV           90014184897
3B96B758155951   KEVIN             ORMSBEE               CA           90014787581
3B97115525598B   CECILIA           GONAZLES              CA           49039221552
3B97252474B943   CORDELL           PEREZ                 TX           90010385247
3B973775241277   MICHAEL           ESASKY                PA           51048897752
3B97457184B943   MIKEKORY          SIMON                 TX           90015185718
3B9747AA72B87B   RICHARD           SISSON                ID           90007647007
3B974895691584   CORINA            DIAZ                  TX           90010508956
3B97562857B639   LATOYA            WORTHEY               GA           90010026285
3B97577515598B   COURTNEY          HAZELTON              CA           90013067751
3B975915172496   DONNA             KRULL                 PA           90013289151
3B975A4334B943   WALTER            HOLMAN                TX           90005860433
3B97653244B281   IRENE             ALBERT                NE           90010935324
3B977313691584   JEANNETTE         CORTEZ                TX           90001963136
3B978587A33638   NYEASHA           PATRICK               NC           90008435870
3B979611A5B393   NICHOLAS          PERGOLA               OR           90014276110
3B97B84722B871   TRUDY             GLOSTER               ID           90014398472
3B982A4665B52B   CELIA             RODRIGUEZ             NM           90010620466
3B98474A748B55   VICTORIA          VILLICANA             AZ           90011837407
3B984A25361963   ZACHARY           BERG                  CA           90013010253
3B984AA3141285   THOMAS            HANNAN                PA           51030490031
3B98534925B156   EVELYN            HOOF                  AR           90003183492
3B985A7875598B   ASHLEY            ROMO                  CA           49001310787
3B98677835B344   LORI              FACKLER               OR           44513697783
3B987145A4B943   HILLARY           SAMUELS               TX           90014361450
3B987288872B24   LARRISSA          MARTIN                CO           90001922888
3B987755776B89   JACOB             BARR                  CA           90014867557
3B98967617B639   LANEQUA           BORDERS               GA           90008656761
3B989719931424   BRENDA            PEGG                  MO           90012097199
3B98983647B471   VICTORA SIMONA    KNOTTS                NC           90012498364
3B98989954B943   SHERRY            SEPULVEDA             TX           90009928995
3B991116A5598B   ALFONSO           REYNOSO VIEYRA        CA           90013691160
3B99191112B871   LANA              MARTINEZ              ID           42029209111
3B994127161963   JAZMINE           NAVARRO               CA           90008551271
3B995957455951   ESTEBAN           AYALA                 CA           90011909574
3B997121A5598B   ALBERT            ALDANA                CA           49064261210
3B997451577544   DOMINGA           GALLARDO              NV           90001974515
3B997751955972   LUZ               ROQUE                 CA           90013077519
3B998585377539   CAROL             DISALVO               NV           90014185853
3B998845A77544   JONATHAN          PADILLA-SAUCEDO       NV           90013938450
3B999254291356   THOMAS            SENTERS               KS           90013272542
3B99B88515B156   BRITTANY          DAVIS                 AR           90011218851
3B9B155325B281   PAYGO             IVR ACTIVATION        KY           90008975532
3B9B1AA9155951   BENIGNO           OROZCO                CA           90013200091
3B9B4328677544   ZAKIA             KNIGHT                NV           90012823286
3B9B544162B87B   CARL              COOKSON               ID           90010654416
3B9B578298B16B   ANGELO            CHAVEZ                UT           90013447829
3B9B648A681685   ALBERTO           ZARAGOZA              MO           90000464806
3B9B7795455949   THOMA             ROCHA                 CA           90011997954
3B9B81A5691831   CHARLES           FARMER                OK           90014481056
3BB1146748B166   MARVIN            DEWEY                 UT           90007984674
3BB1151455B344   TODD              MAXSON                OR           44594815145
3BB1274524B943   CHASE             BRAQUET               TX           90013807452
3BB12A9189713B   NATHAN            CIOBANU               OR           90009410918
3BB1455AA72455   ALEX              HERNANDEZ             PA           90013985500
3BB1626322B93B   JOHN              MILHALIC              CA           90011702632
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3BB16517372496   JENNIFER       CARRIGAN                 PA           90013685173
3BB16696677544   SEHELENE       HERNANDEZ                NV           90014366966
3BB16925357126   CRSITIAN       TORRES                   VA           90008309253
3BB17463547931   MARIA          RIOS                     AR           90002784635
3BB17653841277   HILLARY        SIEL                     PA           90012236538
3BB17673541277   JOSEPH         VIDNIC                   PA           90013126735
3BB1813445B52B   RUBEN          CDEBACA                  NM           90012251344
3BB1879864B943   CHRISTINE      PATXOT                   TX           90014447986
3BB19744491831   BRENDA         STERLING                 OK           90013827444
3BB1B911161963   JORGE          LOPEZ                    CA           90013309111
3BB2195977753B   JAMIE          LAMBDIN                  NV           90012579597
3BB2258255B156   JESSICA        MURDOCK                  AR           90013135825
3BB2279667B449   SANTARIO       GUERRIER                 NC           90005717966
3BB2296684B943   JUSTICE        VELL                     TX           90014179668
3BB2362834B943   KEIANA         BONHAM                   TX           90012856283
3BB2371828B16B   JOY            STARKS                   UT           90001327182
3BB241A877753B   JOSE DANIEL    TORRES TORRES            NV           90013401087
3BB2646198B18B   JENNIFER L     MECHAM                   UT           90012304619
3BB2743A184368   JORGE          DOMINGUEZ                SC           14593344301
3BB27A68151339   JENNIFER       WALKER                   OH           90012000681
3BB2859398B16B   LISA           BARNES                   UT           90013445939
3BB28A4877B471   ERNESTO        NUNEZ                    NC           90013730487
3BB2927167B471   JAQUESE        SIMS                     NC           90011122716
3BB2B13435598B   AMY            KAZERIAN                 CA           90011071343
3BB2B627455951   DIANA          LOPEZ                    CA           90014746274
3BB3675314B532   JUWAN          TAYLOR                   OK           90008967531
3BB3741634B281   AMBER          SINGLETON                NE           90013924163
3BB37795641258   MUKESHA        JHA                      PA           90014147956
3BB3916478B166   WEIL           BLAZE MONTGOMERY         UT           90003421647
3BB3B12815B393   DELICIA        NORMAN                   OR           44521521281
3BB4319A98B166   AUBREY         CALL                     UT           90011961909
3BB43286984368   MARIA          CONSEPTION               SC           90011022869
3BB4415574B943   TIRANIE        DIXON                    TX           90014711557
3BB44656293768   ANTHONY        ALLEN                    OH           90012196562
3BB46A7152B835   THOMAS         FREINWALD                ID           90014710715
3BB47912255951   CLIFFORD       EITZEN                   CA           90012519122
3BB4791A79713B   TAMARA         OATES                    OR           90013549107
3BB47977354195   BRADLEY        HICKS                    OR           90006269773
3BB4B758872455   TARA           BROWN                    PA           90013347588
3BB51815861963   DANIEL         WIEBER                   CA           90013808158
3BB51998977544   JUAN           VAZQUEZ                  NV           43098109989
3BB51A44741246   BRENDEL        LEON                     PA           90012540447
3BB5287A88B16B   DONNA          GARCIA                   UT           90014858708
3BB53493855951   MIRIAM         MENDOZA                  CA           90013234938
3BB537A755B393   VICTOR         MARTINEZ                 OR           90014277075
3BB53A4332B871   DAWNNETTE      AMES                     ID           90000960433
3BB5647137B471   JOSHUA         PENNIGTON                NC           90010794713
3BB5827AA91831   TESSA          ADAIR                    OK           90012722700
3BB58846777539   CHRISTINA      NESS                     NV           90013948467
3BB591A232B93B   MIRAM          MARTINEZ                 CA           90012671023
3BB59AA5855949   AMANDA         SMITH                    CA           90014080058
3BB61116355957   ANDREA         PEREZ                    CA           90011821163
3BB61433451369   DOUGLASS       STEPHENSON               OH           90014604334
3BB619A557B449   PHILLIS        WILSON                   NC           90009599055
3BB61A26A91356   LINDA          MARTINEZ                 MO           90010790260
3BB6281437B639   IDELL          BELL                     GA           90010728143
3BB6316949713B   KARRI          MILLER                   OR           90013551694
3BB63A26697127   DANNY          SARSS                    OR           90007200266
3BB6554A141277   DEBBRE         PAIGE                    PA           90012835401
3BB6683544B943   ALMA           MALATY                   TX           90014248354
3BB68748151369   TRINA          HEARD                    OH           90011287481
3BB6955665B344   NICK           SWARTSFAGER              OR           90012855566
3BB6BA6127B639   SOCORRC        GORDILLO                 GA           90012620612
3BB7134664B943   ESPERANZA      GUTIERREZ                TX           90014773466
3BB71535855972   BEJERMIN       TORRES                   CA           90014685358
3BB726A3357153   CINDY          JEREZ                    VA           90006926033
3BB7329235B52B   ISMAEL         MONTAYACENTENO           NM           90012242923
3BB74351647931   HEATHER        SMITH                    AR           90013423516
3BB74468531424   GEORGE         MORGAN                   MO           90012274685
3BB7448A48B166   MANUEL         GONZALEZ                 UT           90010184804
3BB7523A284368   JOSE           ESCALANTE                SC           90000122302
3BB7642182B22B   DAVID          WASHINGTON               DC           90011454218
3BB7714115B156   LORRAINE       ACKERSON                 AR           90011621411
3BB778A935B52B   RICHARD        FONDY                    NM           90013798093
3BB793AA82B93B   DORA           TRAPP                    CA           90007873008
3BB7B24A431424   ANGIE          TAYLOR                   MO           90008582404
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3BB81247891584   ALEXIA         ESCAJEDA                 TX           90010082478
3BB81472151339   BRIAN          COMPTON                  OH           90012254721
3BB81646A41277   JUDITH         HAMAR                    PA           90009496460
3BB8272735598B   JOHNNY         JACKSON                  CA           90014527273
3BB82736972B35   LANA           LILEY                    CO           33029177369
3BB83882972B24   TASIA          VITELA                   CO           90005648829
3BB86351647931   HEATHER        SMITH                    AR           90013423516
3BB8698752B871   LINDA          HUCHES                   ID           90014509875
3BB893A9331424   RACHELLE       HILLENBRAND              MO           90010293093
3BB8984A461963   JOSE           PANELA                   CA           90013808404
3BB8B73137B639   CHANEA         VAUGHN                   GA           90014887313
3BB91983891543   GERARDO        GALVEC                   TX           90005509838
3BB92411397137   COREY          SMITH                    OR           90012584113
3BB9358A993768   JUAN PABLO     CACIQUE                  OH           90009455809
3BB95975A2B87B   NED            VALDEZ                   ID           90012429750
3BB9711635B393   DAMON          FLENNAUGH                OR           90011081163
3BB97365555972   TAMI           ARAGON                   CA           90008823655
3BB9848555B52B   SHYLA          MCEWAN                   NM           90013164855
3BB9859824124B   CRYSTAL        MABIN                    PA           90001805982
3BB985A9193782   DIANNA         BARNHILL                 OH           90011705091
3BB99328172496   AMBER          LEHMAN                   PA           90007323281
3BBB1699672496   DORA           KEFFER                   PA           90011706996
3BBB3122191356   ERICA          STEELE                   KS           90004951221
3BBB3A29755972   ESTEBAN        VARGAS                   CA           48095860297
3BBB5764461963   WAEL           AHAD                     CA           90015127644
3BBB7836151339   DAVE           MCKINNEY                 OH           90014778361
3BBB839245B344   GISELDA        SHUREIH                  OR           90002813924
3BBB9441472455   MARY ANN       MULKERRINS               PA           90014154414
3BBB9639A76B89   EUNHEE         KIM                      CA           90014086390
3BBB9848241258   JENNIFER       REILLY                   PA           90011468482
41113A95861967   ESTNEFANY      VELASQUEZ                CA           90009680958
41115389872B23   TARA           EDWARDS                  CO           90010723898
4111551295B271   RONIESHA       JACKSON                  KY           90012845129
4111556945B271   TERRY          JONES                    KY           90010515694
4111616995B53B   ASHLEY         PACHECO                  NM           35050821699
41117271A5B271   EUGENE         SHANKS                   KY           90012602710
4111779442B87B   LISA           BROADSWORD               ID           90010077944
41117A86241294   ANTHONY        BELLAND                  PA           90003140862
4112669242B27B   JENNY          CORDONO                  DC           90008976924
41126A57A55939   SAMUEL         GONZALEZ                 CA           90013090570
4112B26814B271   JESSICA        AUTERA                   IA           27092262681
4112B313461963   JOSE           RAMIREZ                  CA           46057203134
4113244315597B   CAROL          PENDERGRASS              CA           90010954431
41134A4835B271   KRISTIN        LONGAKER                 KY           90012330483
4113849A961963   DARLENE        RAMIREZ                  CA           90010734909
4113969337B475   TIFFANY        BELL                     NC           90008966933
4113B71218B165   ZACK           PACHECO                  UT           90011067121
41143A8A755939   SALVADOR       RIVAS                    CA           90013090807
4114578319196B   RITA           OKUNSOKAN                NC           90006517831
4114632987B475   BRITTANY       PITTMAN                  NC           90013773298
411476A295B58B   JACK           PINO                     NM           90014186029
4114BA73255939   TIFFANY        NASH                     CA           90013090732
4115614A55B174   KALONDRA       NELSON                   AR           90012921405
4115671218B165   ZACK           PACHECO                  UT           90011067121
41158A21A5B58B   MATHEW         VARGAS                   NM           90006810210
4115B77495B174   JASMINE        WILLIAMS                 AR           90012007749
4116241685B52B   KARINA         SAUCEDO                  NM           90013004168
411645A935B58B   JESUS          GAMBOA                   NM           90014265093
4116513634B271   BRANDY         RICHARDS                 NE           90013491363
41166873672B47   MARIA          SIERRA BUSTAMANTE        CO           90008128736
4116971A95B222   DONALD         HALE                     KY           90014767109
4116B916161967   CARLOS         YEPEZ                    CA           90013599161
4117149125B265   DANNY          NAPPER                   KY           90011344912
4117161125B174   ANTOINE        PENNIGTON                AR           90014926112
4117241A14B271   ROSALIE        ANVARI                   NE           27043354101
41177A3415B174   CHARVAI        GRAHAM                   AR           90013410341
4117988835B222   RANDY S        FORD                     KY           90010658883
41187859453B31   HUGO           PEREZ                    CA           90014188594
4118845568B16B   LIBAN          AHMED                    UT           90013474556
41188548772B36   LAURA          BECKETT                  CO           33039605487
41189446A91873   JENNIFER       BRANNON                  OK           21056884460
4119166965B58B   JONATHAN       PASCO                    NM           90012416696
411979A932B27B   ANTOINETTE     WASHINGTON               DC           90010939093
411B195685B58B   LUCAS          HOWARD                   NM           90010659568
411B2473A91873   FELICIA        BUCHANAN                 OK           90009894730
411B4A68671999   STEVEN         PARKER                   CO           38096850686
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411B519778B16B   BRANDON        ALVORD                   UT           90005561977
411B538A29155B   ADELA          RICO                     TX           75015003802
411B547575B53B   QUOILA         ROFF                     NM           90001084757
411B58A4561963   JERRY          GOURDINE                 CA           90005208045
411B7625272B4B   ELVA           KEMP                     CO           90013016252
411B76A719313B   JOHONNA        HOSKIN                   KY           90006876071
411B833748B16B   JOSE           GONZALEZ                 UT           90014063374
411B8411A93794   KEAUNA         STRICKLAND               OH           90000534110
411B95A5491988   ANTHONY        MASON                    NC           90011255054
411BB17A25B271   JUANITA        FALLER                   KY           90011021702
411BB214761967   CELIA          MUMPER                   CA           90011902147
41212A61A91988   SHANIQUA       COLE                     NC           90010570610
4121377222B828   JOSHUA         YOUNG                    ID           90004227722
4121543219185B   JOHN           STAFFORD                 OK           90014274321
4121588685B271   JAMES          HIGDON                   KY           90012868868
4121B57384B271   JUSTIN         UHL                      NE           90014635738
4121B924741258   MARGARET       ENGLERT                  PA           90010999247
4122391875B271   THOMAS         DODSON                   KY           90013239187
4122564825B271   ALI            KHAN                     KY           90010246482
4122594A591569   GEORGE         VILLALVA                 TX           90010029405
4122795875B53B   ANGELIC        SOTO                     NM           90005999587
41232A7A955939   TRACY          MENDOZA                  CA           90008610709
4123547342B27B   DOMINIQUE      FLOYD                    DC           90008554734
4123672622B896   DAVID          TORRES                   ID           41089317262
412371A9A55928   LUIS           JOHNSON CORTEZ           CA           90007741090
41238489A91527   JENNY          SANCHEZ                  TX           90013314890
4123B28A32B27B   YAHYA          GUVEN                    DC           90011662803
4124295825B53B   GREG           ARCHIBEQUE               NM           90011029582
4124372192B27B   RAINNA         PARKS                    DC           90012787219
4124861915B58B   SERGIO         LOERA                    NM           90014186191
4124B441991988   ANTHONY        NELSON                   NC           90014274419
412536A4555939   CLEO           STACY                    CA           90005146045
4125563665B58B   SONIA          MONROY                   NM           90014186366
4125664A95B58B   MARIO          VALDIVIA                 NM           90014186409
4125983725B53B   EDELSIO        MOJENA GARCIA            NM           90013048372
4125B76412B583   DEONTAE        SMOOT                    AL           90013827641
4125B99715597B   LATASHA        ALLEN                    CA           90012859971
4126124555B53B   MARCUS         TRUJEQUE                 NM           90007582455
41261688A72B36   EPIFANIO       BUSTOS SANCHEZ           CO           90012946880
4126736365B58B   HUMBERTO       VALENCIA                 NM           90014933636
41267966272B43   BEVERLY        SANDERS                  CO           90012449662
41268492872B4B   MARIA          MERCEDES CAMACHO         CO           90012434928
41268787A5B388   HUMBERTO       LUQUENO                  OR           90013797870
4126883A993794   DANIELLE       HOLLON                   OH           90014068309
41273196672B43   MIGUEL-ANG     VILLAGRAN-PEREZ          CO           90001821966
4127363A461967   AIOTEST1       DONOTTOUCH               CA           90015116304
41276A2445B271   JOHN           PARSLEY                  KY           90013020244
4127B55A891569   GRACIELA       MARTINEZ                 TX           90009945508
4127B79A241258   CHARLES        ARGYLE                   PA           51002987902
4127BA54872B4B   LUZ            PALMA                    CO           33017950548
4128134292B87B   DIANNA         ADAMS                    ID           90010503429
41284519A91394   OLLIE          M CHEATOM                KS           29044965190
4128771385B222   MEKIA          PALMER                   KY           90014767138
412894A247B475   WILSON         HERNANDEZ                NC           90012474024
412913A5A61963   JANIE          SENG                     CA           90014233050
4129282A591569   SAUL           MENDOZA                  TX           75091828205
4129B142255939   LETICIA        RODRIGUEZ                CA           90013091422
412B3921372B43   DWIGHT         ODEN                     CO           90002089213
412B463888B16B   ROSA           LEYVA                    UT           90011196388
412B594784B271   REX            YOUNKIN                  NE           90013289478
412B947872566B   CHARITY        WHITTED                  AL           90011344787
412B982558B165   CECI           CASTILLO                 UT           90009858255
412BB8A3241258   JAMIE          BIZZAK                   PA           90012468032
4131347652B87B   BOBBIE         MICKELSON                ID           90004304765
4131587825597B   ANDREW         GONZALEZ                 CA           90001898782
4131B236A51334   ERIKA          WARD                     OH           90011532360
4132135815B52B   VALERIE        ALVARADO                 NM           90011183581
4132229162B27B   DONALD         DRAFFIN                  DC           90012812916
4132323132B87B   DEBBIE         WIGEN                    ID           90014242313
4132574585B58B   AUDRIANA       MASCARENAS               NM           90009457458
4132B6A182B27B   VALERIE        WILLIAMS                 DC           90008306018
4133566795B58B   DEZMAND        LOWERY                   NM           90014186679
41343A4345B52B   ERICK          TATAJ-LOPEZ              NM           36068000434
41345614A61967   ROSA           MONDRAGON                CA           90014156140
41347341572B4B   DORELY         HERRERA                  CO           90012883415
41349A57861967   PATRICIA       ELIAS                    CA           90012990578
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4134B675191569   NOEMI              GONZALEZ             TX           75009656751
4135171432B27B   MONE               HERNDON              DC           90012837143
41352293872B4B   WILLIAM            NELSON               CO           90011012938
4135282325B58B   MARCOS             ORNELAS              NM           90010878232
41352968A91569   RICARDO            GOMEZ                TX           90010359680
41355435772B43   ERIN               FLOYD                CO           33028484357
4135647127B475   AJ                 TYLER                NC           11007154712
4135653365B222   MIRELES            LOPEZ                KY           90012425336
41358614172B36   MICHAEL            HOLDEN               CO           90013596141
413586A3761963   BRADISON           JONES                CA           90011656037
41362291172B4B   STEVEN             PELLETIER            CO           90012122911
41364A9A855939   TONY               LOPEZ                CA           90013760908
4136656638B16B   JENNIFER           SANFORD              UT           90011345663
4137466134B271   CANDIE AND FRANK   SARMIENTO-JIMENEZ    NE           90013046613
41376317172B36   MARIA              MAGDALENA            CO           33002843171
4137727364B271   DOMINGO            PERCERO              NE           90006822736
41379A9268B16B   SERGIO             LOPEZ                UT           90013990926
4138245768B16B   MARIA              ESCALANTE            UT           31039014576
4138261A191569   LUIS               ALBERTO              TX           90002366101
413833AA62B27B   CHARLISA           MARTIN               DC           90014703006
41385A34755997   RICHARD            SCOTTI               CA           49056310347
4138631785B53B   JOSE               JAQUEZ               NM           90013093178
4138676A72B27B   VERONICA           DIAZ PEREZ           DC           90011667607
4138769815B222   VAKEISHA           KNIGHT               KY           90013986981
41387969572B36   CHRISTINA          NOYCE                CO           90012269695
4138B769991394   ZACHARY            HARTKOPP             KS           90012747699
41393A22A2B267   SHALONDA           FREEMAN              DC           90010500220
4139534A32B27B   CHRIS              EDWARDS              DC           90013813403
4139686885B222   MICHAEL            EALY                 KY           90013688688
413B13A985B174   PRINCESS           JACKSON              AR           90014213098
413B314425B271   JACK               LEWIS                KY           90012791442
413B3AA3991569   DEBRA              LOPEZ                TX           90010710039
413B5122961967   JOE                DIRT                 CA           90010791229
413B514195B222   JAMES              MORRIS               KY           90014171419
413B6813A8B165   CECI               CASTILLO             UT           90009858130
413B9256191394   EDITH              GODINEZ              KS           90013882561
413B926788B16B   ERIC               ANDERSON             UT           90009862678
413B988515B52B   GABRIELA           LOPEZ                NM           36050618851
413B9A57971999   JOE                GARCIA               CO           90014740579
413BB89A572B4B   RONALD             MILLER               CO           90012868905
41411535472B36   CHRISTOPHER        WORRALL              CO           90012925354
4141331812B27B   TRACIONNA          MARABLE              DC           90011233181
4141675975597B   ALVARO             MARAVILLA            CA           49005587597
4141858595B52B   MARILYN            MONROE               NM           90014705859
41425A16351334   AMBER              GORDON               OH           90011110163
414263A7272B36   LORRAINE           PERSINGER            CO           90001853072
4142749A661963   DEBORAH            GARCIA               CA           90012454906
4142B843555939   PRISCO             DIAZ                 CA           90010488435
414368A234B271   CHAZ               HARLAN               NE           90013778023
41437725172B36   BALTAZAR           LEDEZMA              CO           90002697251
414392A7491988   JAMES              WEST                 NC           90011262074
4144572682B27B   EVER ERNESTO       PALMA ORDONEZ        DC           90012837268
4145273345B58B   JANELLE            LEEWAY               NM           90012477334
41453884772B43   VANESSA            HERNANDEZ            CO           90012378847
41455A6545B271   LINDA              SHARP                KY           90015160654
4145828445B52B   BRIAN              RYDER                NM           90012712844
4145917736B275   SAAD               FAHIYE               CO           90011501773
4145B714261963   ELENA              SANDOVAL             CA           90013117142
414757A665597B   ROGELIO            FERNANDEZ            CA           49046487066
41477443672B43   AMBER              WARMUS               CO           90010624436
4147899172B87B   MONICA             SCOTT                ID           41079749917
4147922828B165   PETER              SMITH                UT           31052072282
4147B694284332   NATHANIAL          WASHINGTON           SC           90012036942
4147B73542B27B   MARKISHA           MOORE                DC           90012837354
41483A71791988   DIEGO              MARQUEZ              NC           90011770717
41484AA8155939   MICHELLE           CRIBBS               CA           49059900081
41485A48591394   CLAUDIA            CRUZ                 KS           90008600485
414861A8161967   SAL                RAMIREZ              CA           90012421081
414868A5191873   MARTCHELLO         FILEDS               OK           90013348051
41486A29A93794   DENISH             TERRY                OH           90013980290
4148733868B14B   MARTIN             THOMPSON             UT           90001993386
4148742615B53B   ZAYRA              FLORES               NM           90007294261
4148752295B242   ROGER              MURPHY               KY           90011365229
4148782A941261   SAMANTHA           BRANDON              PA           90010278209
414912A365B52B   LISA               CASTELLANO           NM           90005442036
41492A35255939   ANDREA             RUSBOLDT             CA           90012370352
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414944A3655939   MARISA          AVINA                   CA           90013124036
4149482465B52B   ELIAS           VALENCIA                NM           36020608246
41496868472B4B   BRADLEY         MCKINLEY                CO           90011908684
41498A23372B36   DARREN          GUSS                    CO           33068140233
41498A6518B16B   CHRISTINE       JONES                   UT           90013830651
414B1736591988   LATESHA         STRUDWICK               NC           17008767365
414B19A5A5B53B   JAVIER          VALDEZ                  NM           90005659050
414B3437651334   AUSTIN          ENGLER                  OH           90012684376
414B43AAA91988   JANEE           GONSALVES               NC           90011623000
414B462867B475   EDWIN           BOMBO                   NC           90008936286
414B5625761967   CHRISTOPHER     DIAZ DE LEON            CA           90010476257
414B615855B222   CHRIS           SOTO                    KY           90010101585
414B6854891873   SHELBY          SMITH                   OK           90013158548
414B7446991988   KRISTINA        MULAY                   NC           17080164469
414B7A9795B174   DEBBIE          DANIELS                 AR           23021320979
414B935A771999   TANYA           CARRERO                 CO           90003543507
4151217112B27B   ANA             RAMIREZ                 DC           90007531711
41512A47672B4B   MONICA          MENDEZ                  CO           90012820476
41514767972B4B   SERGIO          COSTA                   CO           90004337679
4151555295B53B   ALYSHA          FAULKNER                NM           90012985529
4151618285B271   RENDAL          DARDEN                  KY           90003341828
41521A68181639   ALVA            BEASLEY                 KS           29037550681
4152443AA91873   JESSICA         DUFFY                   OK           90012134300
4152876A82B87B   SEAN            CHRISTIANSEN            ID           90015187608
4153513665B52B   WENDY           SAMBRANO                NM           90012731366
41541255A8B165   JAVIER          GARCIA                  UT           90012352550
4154135995B271   ERIC            HILLIRECH               KY           90010333599
41542731A51334   JIMMY           REAGAN                  OH           90013967310
4154563A961963   JODIE           DEERE                   CA           90011806309
4154764165597B   KARLA           ZEPEDA                  CA           90011206416
4154B174461967   GRETCHEN        PEREYDA                 CA           90011071744
4154BA84791873   KRISTI          DAY                     OK           90009360847
41551473A2B27B   DERYCKA         HAZIEL                  DC           90012464730
4155182485597B   NALY            YANG                    CA           90012748248
4155219328B895   MERCEDES        PAGADUAN                HI           90014401932
4155361324B271   JOSHUA          ALFONSO                 NE           90010036132
4155445267B475   ROSALYN         BURRIS                  NC           11076144526
4155532A381639   MANUEL          ACOSTA                  MO           90004423203
4155635357B475   ZACH            ROGERS                  NC           90014703535
4156113A25B53B   YESENIA         RUBIO                   NM           90013461302
41562A2775B271   JERAMY          BARNETT                 KY           90013020277
4156323765B271   VICTORIA        DRAKE                   KY           90005812376
4156754435B53B   BRUNO           KREKLAU                 NM           90011195443
4156882855B271   CLAYTON         SELLER                  KY           90014868285
41569344372B36   MEPHISTOPELES   FOETUSGRUBBER           CO           90014703443
4157113265597B   AUGUSTINE       ALVAREZ JR              CA           90015121326
41571576924B7B   JOSUE           DANIEL CASTRO           VA           90006665769
41571A36491881   LEZLIE          CHATMAN                 OK           90001870364
415736A395B52B   PHILIP          HERRERA                 NM           90006656039
41576115974B97   STEVEN          MULLINS                 OH           90014471159
41582741272B4B   ELIJAH          APODACA                 CO           90012547412
4158676248B16B   JOHNATHAN       JAKE                    UT           90010787624
41586AA3991569   PATRICIA        RAMIREZ                 TX           90014900039
4158979225B271   HINES           DEMITRIES               KY           90010017922
4158B827272B43   CASSIE          TATE                    CO           90007268272
41595849A93794   CHRISTINA       DARNELL                 OH           90009198490
4159634925B58B   JOSH            SALAS                   NM           90004993492
41596471A55939   ANIBAL          REYES MELGAREJO         CA           90007944710
4159743537B475   PEGGY           HUDSON                  NC           90006964353
4159B44722B87B   DANIEL          WILLIAMS                ID           41095494472
415B1A84461967   ANA             ANGEL                   CA           90014740844
415B39A5A5B53B   JAVIER          VALDEZ                  NM           90005659050
415B5298761967   MARCIAL         KARINA                  CA           90006962987
415B572A671946   SONJA           GARCIA                  CO           90006177206
415B5A8228B165   CRAIG           STEBBINS                UT           31061820822
415B6799591394   ELENA           HERNANDEZ               KS           90013567995
415B6A65A51334   MICHAEL         FRITZ                   OH           90014600650
415B74A6693794   JESSICA         DOYLE                   OH           90001924066
415B8773872B4B   TAE             BROCK                   CO           90009657738
415B88A1651336   QUINTON         CLAY                    OH           90010848016
415B995418B165   LILIA           VIALLARREAL             UT           90010899541
415B9982A5B174   PEARL           GRIFFIN                 AR           90011329820
415BB81475B271   ANGELA          BRYANT                  KY           90014868147
415BBA28161963   DINO            NEWINT                  CA           90007830281
4161121755B174   FELISHA         MOORE                   AR           90010112175
416175A485B222   MAIRA           JIMENEZ MOLINA          KY           90013365048
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4161B489A4B271   MICHAEL        EISELE                   NE           27058084890
4162352A672B36   JULIAN         PUENTE                   CO           90013225206
4162831215B271   TERANISHA      PERDUE                   KY           90012583121
41629A72851383   CARLA          BENSHOOF                 OH           90005640728
4163845435B58B   DEANNA         JUAREZ                   NM           90000604543
4163B927191988   JEMAR          BEULAH                   NC           90011279271
416422A2672B4B   LINO           MORA                     CO           90014102026
41642A58531457   SHANN          WILLIAMS                 MO           90000220585
41645981A71999   MELINDA        BANUELOS                 CO           38086239810
41646A52A5B271   AMANDA         HADLEY                   KY           90013590520
4164981A47B475   JOSHUA         REID                     NC           90009218104
41654A11971999   SARAH          CONWAY                   CO           90012530119
4165692375597B   LAQUISHA       FREEMAN                  CA           90014839237
4165819655B174   EDDIE          GILLIAM                  AR           90014241965
4165B196391549   TED            STRETMOYER               TX           75089741963
4165B224672B4B   MARIA          BLEA                     CO           90009782246
4165B38595B222   CREOLA         WASHINGTON               KY           68094653859
416624A425B271   VONTASIA       WOODS                    KY           90009074042
41668A9268B16B   SERGIO         LOPEZ                    UT           90013990926
4166B2A155B174   BRANDY         ROBINSON                 AR           90014242015
416716A1591569   GERARDO        CADENA                   TX           90014716015
4167365862B27B   FRANKLIN       ZELAYA                   VA           81038406586
41679728172B4B   NACY           HERNADEZ                 CO           90011847281
4167B12338B165   UTAHNA         WYASKATTE                UT           90012751233
416822A8761967   LUCIA          MONTANO                  CA           46094872087
4168462744B271   DORIS          FOSTER                   IA           90010206274
4168546152B87B   NICK           CLEVELAND                ID           90009324615
4168564555B271   SARA           SANDOBAL                 KY           90011296455
4168943A18B165   VELAINA        SHERWIN                  UT           31070874301
4168B539757549   ALEJANDRA      NUNEZ                    NM           90012135397
4168B73345B58B   JANELLE        LEEWAY                   NM           90012477334
4169181A47B475   JOSHUA         REID                     NC           90009218104
41696A2124B271   RICARDO        LESSLEY                  NE           90007380212
41698A2198B16B   VALDOMERO      TORRES`                  UT           31053130219
416B153A261963   ADRIAN         AMERSON                  CA           90015135302
416B19A8572B43   JASMINE        GUTIERREZ                CO           90013419085
416B348A791988   JERMY          GRENON                   NC           90011274807
416B554825B222   CORA           FORD                     KY           90011335482
416B623355597B   ELIZABETH      PENA                     CA           90013602335
416B7AA447B475   TEVIN          REID                     NC           90012250044
416B851975B174   RONNIE         SUMMERVILLE              AR           90010915197
41711183772B36   ALFREDO        FLOREZ                   CO           90002331837
41714489A91873   ARIEL          DESMOND                  OK           90014634890
41717556A72B43   KEVINIA        PICKFORD                 CO           90014875560
4171873682B27B   CARLETHA       CHEEKS                   DC           90012837368
417194A115B52B   MARIA          MERCADO                  NM           90012574011
4171B227561967   MARIA          ULLOA                    CA           90013032275
4171B339591873   VELAZQUEZ      SOLO                     OK           90009473395
4171BA5395B222   VICKIE         BRYANT                   KY           90011170539
417218A3A2B27B   ARICK          FOSTER                   DC           90012518030
4172467518B16B   GARY           MARCOTTE                 UT           90012066751
417249A472B87B   BRANDI         VANCLEAVE                ID           90002279047
4172641965B271   KEITH          SAVAGE                   KY           90011604196
4172B133A72B4B   SABRINA        RIVALI                   CO           90010621330
4173727825B271   LINDA          FAULKNER                 KY           90012052782
4173789295B174   CARLA          YOUNG                    AR           90014188929
4174374592B27B   CORTISHA       MOORE                    DC           90012837459
4174558498B16B   ISIDRA         MARTINEZ                 UT           90012155849
4174771878B165   BRITTANY       BAKER                    UT           90009427187
4174911662B27B   DREW           SHUMANN                  VA           90012141166
4174B63A461967   AIOTEST1       DONOTTOUCH               CA           90015116304
4175118AA61967   JUAN           HERNANDEZ                CA           46063611800
4175154365B222   SHERIAL        WHITE                    KY           90011365436
4175349915B222   COREY          CONLEY                   KY           90009994991
4175477114B546   RACHEL         MANLEY                   OK           90011187711
417555A4241258   SHARON         CRAWFORD                 PA           90011825042
4175698A354151   NANELL         CLARK                    OR           90012479803
4175728A391988   RUDY           CASTRO                   NC           90013232803
41757481472B4B   ALEX           GARCIA                   CO           90010744814
4175758915B271   VERONNIE       GRAVEL                   KY           90013265891
41758132772B43   APRIL          ANDERSON                 CO           90004001327
41759A3454B271   LATASHA        JACKSON                  NE           27098570345
4175B36235B53B   ANAHI          MUNOZ                    NM           90010723623
4176126A85B222   BLUE           DEVIL                    KY           90014872608
417719A5572B43   LUIS           CRUZ                     CO           90013419055
4177637265B52B   CAITLAN        SANCHEZ                  NM           90012743726
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4177775125B222   VICTORIA       COLE                     KY           90014007512
4177B95165B53B   ROY            PADILLA                  NM           90011489516
41782223272B43   JOSE           BERNARDO CORCHADO        CO           90010542232
417844A6693794   JESSICA        DOYLE                    OH           90001924066
4178B64582B87B   JOSEPH         HOLLAND                  ID           90011916458
4179142A65B58B   RICARDO        RUIZ                     NM           90014214206
41792375276B59   DIEGO          LUNA                     CA           46005953752
4179263394B271   OSHNAH         HARRIS                   NE           90010176339
41793559972B4B   MARIA          CARRILLO                 CO           90013185599
4179359785B58B   JAMIE          MATTHEWS                 NM           90009595978
4179492912B27B   AKEELA         JONHSON                  DC           90014719291
41795195A55939   DEVIN          CHERRY                   CA           90013131950
4179678695B58B   RAUL           CORTES                   NM           90005537869
4179878655B174   ZANQUISHA      FOLEY                    AR           90014887865
41798A5347B475   KATHERINE      CHRISTY                  NC           90010980534
417B2A46461963   GUADALUPE      MARTINEZ                 CA           90011670464
417B459114B271   CECIL          WORKMAN                  NE           90013865911
417B7577691569   CHRISTIAN      CAZARES                  TX           90013685776
417B8525A93794   ZACH           HANSFORD                 OH           90013165250
417B986792B27B   URSULA         EDMONDS                  DC           90007058679
417BB44135597B   ERIKA          TORRES                   CA           90013094413
4181116A45B174   ABEL           MORALES                  AR           90013121604
41812281572B4B   BRANDON        CROPPER                  CO           90012482815
4181412457B475   LOTTIE         CUNNINGHAM               NC           90008251245
41814598372B36   MCKAULY        MALONE                   CO           90011995983
41816A13272B36   JOHN           ANDERSON                 CO           90015010132
41823A14461963   MIGUEL         HEREDIA                  CA           90013260144
4182612425B222   ANGELA         CARR                     KY           90013851242
4182838222B27B   BATBAATAR      TEGSHJOJOD               VA           90012723822
418314A975B271   KENNEITHIA     MILES                    KY           90012664097
4183173854B271   PAVLINA        CARRILOO                 NE           90009327385
4183234648B165   RACHEL         NIEVES                   UT           90014743464
418338A2591569   GABRIEL        HORTA                    TX           90014868025
4183393595597B   TY             ANDERSON                 CA           90014839359
41835235772B36   MAURICE        JORDAN                   CO           90012212357
4184186922B27B   VANESSA        WILSON                   DC           90009318692
41841A74572B43   JOSE           JUAREZ                   CO           90013410745
41842621A91569   VIANEY         SAMANIEGO                TX           90013646210
41842696972B4B   JOE            ENGELBRECHT              CO           33035496969
4184363A461967   AIOTEST1       DONOTTOUCH               CA           90015116304
4184661387B475   ALICIA         CASELLI                  NC           90014736138
41847362A51334   MICHELLE       SHAW                     OH           90011413620
418491A3671999   GUSTAVO        MARES                    CO           90012781036
4184984A55B271   MATTHEW        CAMPBELL                 KY           90011298405
4184B566271934   ABEL           DURAN                    CO           90004925662
4184B84A38B165   NEUPANE        GANGA                    UT           90012088403
41851A47571999   BELDON         TINNEY                   CO           90012310475
41852214472B36   LUCKE          DRISCLL                  CO           90012362144
4185236284B271   ARIANA         SEALS                    NE           90011443628
41855448A61963   ROSALINA       RODRIGUEZ                CA           90012744480
41861113872B4B   MANUEL         TORRES                   CO           90012241138
41861984772B36   JUSTIN         BOM                      CO           90014769847
41866295472B36   MICHAEL        PLASENCIA                CO           90012202954
4186783548B165   ANA            ROBLES                   UT           90011768354
4186969885B52B   OSCAR          RUIZ CASAS               NM           90013546988
41869786472B39   ANABEL         LARA                     CO           90009707864
41869A3868B16B   CRISTINA       SANTOS                   UT           90011500386
4186B596A4B271   MICHELLE       MOORE                    NE           90005075960
41871A1175B58B   SHIRLEY        HIELO                    NM           35005970117
4187343897B694   THOMAS         NICOLSON                 GA           90010574389
4187888655597B   FRANCISCO      MORENO                   CA           90000298865
4187932865B271   LEQUITA        RODRIQUEZ                KY           68059523286
41879656172B4B   SOFIA          CASTILLO                 CO           33036986561
4187B542791988   KAYRA          COOPER                   NC           90014655427
4188331155B271   DAVID          PARKER                   KY           90013853115
4188688234B547   LUELLA         JOHNSON                  OK           90008988823
41888629472B4B   YOLANDA        BARRIENTOS               CO           90012266294
4188863265B174   DANIELLE M     CARRINGTON               AR           90010356326
4188B5A925B52B   JULIAN         MEDRANO                  NM           90013395092
4188B891255939   ROSA           GUZAM                    CA           90014618912
41893536572B43   HAYLEY         FIGUEROA                 CO           90012145365
418B127965B52B   ANDREA         ARCHULETA                NM           90010712796
418B6515291569   AMANDA         OLIVAREZ                 TX           90014075152
418B754AA72B43   DEBORAH        ROJAS                    CO           90006385400
418B7823791569   ADRIAN         CONTRERAS                TX           75086648237
418B796657B399   DIANA          KOYAMA                   VA           90000289665
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418BB259291988   RICARDO ANTONIO   ARGUETA               NC           90012492592
4191213945597B   JESSICA           GOMEZ                 CA           90011951394
419124A5A72B4B   CASEY             JABLONSKI             CO           33011874050
41914438772B36   PEDRO             CASTANEDA             CO           90010714387
419161A838B849   JASMINE           NAU                   HI           90014401083
41923911A91988   ANDREW            JONES                 NC           90014659110
4192824725B174   ALEXANDRIA        COVINGTON             AR           90014252472
4192B75778B849   PABLO             AZEVEDO               HI           90014437577
4193571525597B   JESSE             HERNANDEZ             CA           90011877152
41937791A5B222   NEISHA            CARDINE               KY           90012527910
4194319A991988   JAMAAL            SYMMONETT             NC           90011681909
4194515A491988   CRYSTAL           POE                   NC           90014661504
4194729885B174   JOYCE             BROWN                 AR           90014252988
4194829885B174   JOYCE             BROWN                 AR           90014252988
41948864872B43   CIPRIANA          LOUNNIVONGSA          CO           90011848648
4194B82538B165   CHRIS             ALLEN                 UT           90010968253
4195162575B53B   DANIEL LUJAN      TINA LUJAN            NM           90012166257
4195371818B165   ONNA              FAITHA                UT           90014867181
4195737795597B   JOSE              OROZCO                CA           90010703779
41958651A71999   DEBBIE            CRESPO                CO           38048996510
41959798A91569   MARIANNE          RODRIGUEZ             TX           90012597980
4196126AA5B271   ELENA             WILLIAMS              KY           90014602600
4196445255597B   DANIELLE          GOODMON               CA           90012824525
4196788435597B   JAVIER            ESTRADA               CA           49007518843
41967A37A63663   IRUM              YAQUB                 MO           27569030370
4197543252B87B   RAYLENE           VANCE                 ID           90013024325
4197728568B165   JAIME             RANDALL               UT           90014702856
4197837942B27B   DEBORAH           HICKSON               DC           90009363794
4197B4A555B58B   LUZ               PARRA                 NM           35094014055
419831A582B27B   PHILLIP           HUMPHREY              DC           90011681058
41986364572B4B   SOLANGE           RIZIKI                CO           90012663645
4198745A191873   KATHRYN           NORRIS                OK           90015204501
4198815485B271   LYNNITA           KESSLER               KY           90011301548
41988878A91549   LUIS              LOPEZ                 TX           90007728780
4198B77562B87B   DENNIS            WARD                  ID           41072287756
419914A6791556   HAROLD            KUTZ                  TX           90000994067
41991986272B4B   JOSHUA            ROSS                  CO           90014529862
4199238248B16B   SANTA             SOLIS                 UT           31005153824
419923A4747954   ANN               JORDAN                AR           25089473047
419B1632991569   YANEL             RODRIGUEZ             TX           90010816329
419B3696891988   NIQUNETTE         JOHNSON               NC           90014656968
419B4672A5597B   LEE               YANG                  CA           90014826720
419B4682293794   ASHLEY            KNOX                  OH           90014856822
419B5539971999   KRISTINE          BOULIER               CO           90013065399
419B7A5888B165   WETNEY            ZOBLL                 UT           90014740588
419B8514A7B475   CHRISTOPHER       DENNISON              NC           90009135140
419B9912A2B27B   OSCAR             ANDRADE               DC           90011679120
419B9A5A38B16B   GENEVIEVE         DURAN                 UT           90010130503
41B11782372B36   TIMOTHY           THIBAULT              CO           90011977823
41B11852655939   CATRINA           CARILLO               CA           90013068526
41B13111372B36   SOPHIA            MIETZ                 CO           90012371113
41B1437485B174   IDA               HARDIN                AR           90010963748
41B17758661963   AARON             WILLIAMS              CA           90013067586
41B1858565B52B   LIZBETH           VILLA                 NM           90013695856
41B1B265191569   URIEL             GARCIA                TX           75018072651
41B1B74234B29B   JODI              JACKSON               NE           90011427423
41B216A1161967   CHASTIDY          CLAAR                 CA           90010496011
41B2427745B58B   MACIAS            CRYSTAL               NM           90010992774
41B25811A8B16B   MARISOL           ARIAS                 UT           90010698110
41B26A2A35B222   RICARDA           HERNANDEZ             KY           90011820203
41B271A7591873   MARIA             ROJO                  OK           90013651075
41B28A62891394   JAHNON            CLARK                 KS           90013470628
41B2B179572B4B   PRISCILLA         OSBOURNE              CO           90013531795
41B2BA19A5B266   MICKEY            PARKS                 KY           90001620190
41B3137A572B36   ERIK              BAKER                 CO           90013093705
41B323A738B16B   DIANA             OSORIO                UT           90011553073
41B34A53884368   MARJONE           RENTERIA              SC           90010520538
41B3566967122B   PAYGO             IVR ACTIVATION        IA           90011916696
41B3735765B53B   AMERICO           GONZALES              NM           90013653576
41B38A4565B53B   JESUS             MALDONADO             NM           90006870456
41B3B58972B27B   FELICIA           THURSTON              DC           81007605897
41B3B68A755999   ADAN              POLANCO               CA           90007916807
41B4137517B475   AHMED             ALY                   NC           90012213751
41B43584772B43   ESPERANZA         CRUZ                  CO           90014855847
41B4398678B165   MAKITAH           SUNDELL               UT           90010439867
41B4417797B475   DESHAWN           MOYE                  NC           90010851779
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41B45AA2761963   FRANK            STONE                  CA           90011820027
41B47895761963   ANNA             MUNOZ                  CA           90013088957
41B48284791988   JUSTIN           WILLIAMS               NC           90014782847
41B48739772B36   RICHARD          REYES                  CO           90011407397
41B48A2A191988   LULA             JEFFERS                NC           90013220201
41B49266691873   MCBRAYER         LADONNA                OK           90006482666
41B51384955939   KEN              WILKEROSON             CA           49067973849
41B6559A691873   JOCELYN          HOLMES                 OK           90010695906
41B6614398B165   ASHLEY           MCVAY                  UT           90013931439
41B6649A57B475   JANEX            YOUNG                  NC           90002194905
41B67189693794   KELSEY           PAINTER                OH           90010731896
41B67792491569   ISIDRO           PEREZ                  TX           90011967924
41B6791154B23B   JEREMIAH         EUBANKS                NE           90012139115
41B6853485B52B   RYAN             LUJAN                  NM           90009615348
41B7124345B52B   LEONARD          COPELAND               NM           90012622434
41B731A5271999   RONNIE           JAQUEZ                 CO           90013911052
41B7434235B52B   LUIS             GUARDADO               NM           36039503423
41B76932771934   DOMINIQUE        BASTIN                 CO           90007429327
41B77268A55939   OFIE             ARTEAGA                CA           90010442680
41B79785361963   LIZBETH          HERNANDEZ              CA           90012347853
41B8147324B271   JOSE             GONZALES               NE           90014174732
41B8439A35B271   MICHAEL          WILLIAMS               KY           90014933903
41B84874A24B35   SORAYA           DEL VALLE              DC           81005148740
41B87963872B36   HASHEEM          JACKSON                CO           33057469638
41B8B356891988   KEIONTA          WHITAKER               NC           90001963568
41B9121867B475   SHIRTOIA         HUNTER                 NC           90013932186
41B91226591569   ANAHI            IBARRA                 TX           75085102265
41B9331954B523   SALVADOR         MINJARES               OK           90011093195
41B93344991873   LEYDIANA         GARCIA                 OK           90009923449
41B9438815B58B   SARAH            DADEY                  NM           90015153881
41B94417691394   IGNACIO          FRENANDEZ              KS           90013924176
41B9441A691873   TARA             HEARN                  OK           90014674106
41B94455972B4B   EXTREME ACTIVE   VENTURES               CO           90009244559
41B95624A7B475   MIA              STACKTON               NC           90012706240
41B9646A48B16B   CARLOS           RODRIGUEZ              UT           90012204604
41BB1789961967   JULISSA          CORTEZ                 CA           90013357899
41BB273848B165   JARRETT          CHRISTENSEN            UT           90013827384
41BB2879461963   YAZMINE          BENITEZ                CA           90013088794
41BB37A8A2B27B   JAY              SWEETZ                 DC           90012197080
41BB392A274B97   AARON            FORD                   OH           90014999202
41BB59A1272B4B   EDUARDO          LOPEZ                  CO           90012209012
41BB653735B222   LAURA            EDWARDS                KY           90009735373
41BB736855B222   MERLIN           FUENTES ZELAYANDIA     KY           90003463685
4211243685B222   JASMINE          RHODES                 KY           90012064368
4211323555B527   DENISE           MALDONADO              NM           90006872355
4211381795597B   GUSTAVO          RODRIGUEZ              CA           90013088179
42113997A5597B   YTZEL            ESQUIVEL               CA           90014999970
4211945898B836   WESTLEY          SLACK                  HI           90013174589
42119816A93794   DALE             SLAUGHTER              OH           90014638160
4211B14285B271   EMILY            BOTTS                  KY           90009031428
42122226A5B53B   MARTINA          GONZALES               NM           35091792260
42125974972B4B   SEAN             FLORES                 CO           90013519749
42127555872B36   MARIA            GARCIA                 CO           90012185558
4212B195A5B174   RUDOLPH          EAGLE                  AR           90013271950
42137684A71999   MERCEDES         MAES                   CO           90005026840
4215239565597B   CLARA            MC DOWELL              CA           49007933956
4215355A88B165   TASHA            HAWS                   UT           90011025508
4215435A15B222   DAVID            POINDEXTER             KY           90009013501
4215562575B58B   DANIEL LUJAN     TINA LUJAN             NM           90012166257
4215719A35B174   TIFFANY          SIMPSON                AR           90013151903
4215918A95597B   PERCILLA         MILLER                 CA           90012921809
4215936862B27B   CHARLENE         MONROE                 DC           90012843686
4215B369191873   SARAH            SOTELO                 OK           90014953691
4215B595191873   JESUS            GONZALEZ               OK           90013025951
42163A67691569   DANIEL           VEGA                   TX           90015140676
42165A3685B52B   STIEVERAE        BACA                   NM           90004840368
4216743685B58B   MAXIMINO         AYALA                  NM           90013494368
421686A5171999   DOLORES          HERNANDEZ              CO           90010056051
4216B445A5B53B   FRANCISCO        GUTIERREZ              NM           90013944450
4216B672191351   IVAN             CRUZ                   KS           90010516721
4217145465B53B   DOMINIQUE        GURULE                 NM           90013944546
4217154974B551   PAYGO            IVR ACTIVATION         OK           90012355497
4217199635B523   VERONICA         SOLIS                  NM           90005969963
421728A935B52B   VALERIE          ULIBARRI               NM           90013588093
42178723A62B31   KENDRA           BRAUXSARD              KS           90013607230
42181489A61963   RODNEY           SANDERS                CA           90010494890
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 418 of 1007


421897A255B58B   SYMONE         TSOSIE                   NM           90009677025
4218B328971999   JESUS          DIZA                     CO           90012963289
42195394372B4B   GOTWALD        MISHA                    CO           90011353943
4219627365B271   TROY           BREWER                   KY           90012702736
4219678265B174   ANTHONY        SPENCER                  AR           90014327826
4219728664B566   MARIA          FRAIRE                   OK           90008602866
4219747AA5B222   MARCELLUS      LORRICK                  KY           90010064700
4219B188361963   FREDDIE        P                        CA           46006801883
421B2A74661967   ROMAN          AVILA                    CA           90006840746
421B472475B52B   CARLOS         COY                      NM           90012627247
421B7474851334   FREDRICK       BALLARD                  OH           90014614748
42217AA7772B4B   ALEXANDRA      FINK                     CO           90003550077
4221911432B27B   ANTOINETTE     COLEY                    DC           90013871143
422192A555B222   DIANE          HICKMAN                  KY           90013292055
4221B521661967   CORRINE        JONES                    CA           90013035216
4222367A75B52B   ANTHONY        TAPIA                    NM           90013096707
4222499458B16B   KELLY          ZUECH                    UT           90014389945
4222951232B27B   CARSON         ROBERTSON                DC           90013505123
422299A772B27B   CARSON         ROBERTSON                DC           90009369077
4222B497A5B53B   JEANETTE       TORRES                   NM           90013944970
4223146835597B   ALEX           SANDOVAL                 CA           49056894683
42232A41271999   LINDA RAE      STAMPS                   CO           90011080412
422363AA793794   TRACY          HUSTON                   OH           90003003007
4223849A561963   BRITTANY       WELLS                    CA           90012614905
42239A51A91873   VRIGINIA       CRAWFORD                 OK           90010170510
4223B399993794   ERIN           BACK                     OH           90014803999
4224139385B58B   EDUARDO        ALVARADO                 NM           90012923938
422426A9A72B35   DELIA          MARQUEZ                  CO           33063296090
42245AA2791569   TERESA         JIMENEZ                  TX           90006350027
4224732995B523   FELIPE         AMADO                    NM           35017313299
42256264772B36   JOSE           GARCIA                   CO           33013592647
4225652AA91351   GABRIELA       RODRIGUEZ                KS           90011355200
4225815655B271   KENNETH        SQUIRES                  KY           90012711565
4225B287951334   ANTHONY        BROOKS                   OH           66032112879
42261A5675597B   ANDRES         MADRA                    CA           90014450567
4226258415597B   SIDNEY         MEDINA                   CA           90014615841
422652A555B222   DIANE          HICKMAN                  KY           90013292055
42266A8335597B   ELIJAH         WILKINS                  CA           90005310833
4227196216B275   ANTHONY        CAUCCI                   AZ           90011849621
422735AA95B53B   ALEXIS         THOMPSON                 NM           90013945009
422755A6662B31   BRITTANY       SELF                     KS           90013875066
42277A1745B271   MICHEAL        JACKSON                  KY           90014460174
4227972A261967   MARIA          FLORES                   CA           90012017202
4227B25A972B25   ROGELIO        BLANCO                   CO           90013932509
4227B996A5B271   SHANNON        WEATHERS                 KY           90011169960
4228668795B271   PAYGO          IVR ACTIVATION           KY           90009966879
42287223A5B52B   DESTINY        CHACON                   NM           90013372230
4228B823391873   HECTOR         GONZALEZ                 OK           21094198233
4229151655B53B   MICAELA        MARTINEZ                 NM           90013945165
42293837A5B174   TIFFANY        SHERRER                  AR           90010718370
422962A555B222   DIANE          HICKMAN                  KY           90013292055
4229B92262B27B   BARBARA        ROBINSON                 DC           90012959226
4229BA1935B52B   ANNETTE        MEDINA                   NM           90008190193
422B5883271999   ROSALIE        JIMINEZ                  CO           38045068832
422B5954391569   MANUEL         AMAYA                    TX           90010409543
422B76A745B271   EDWARD         MORRISON                 KY           90011106074
4231157338B165   ADAM           GAMAR                    UT           90007955733
42315548A55939   MADELYN        REYES                    CA           90011305480
423159A824B271   LATESE         THOMPSON                 NE           90001409082
423191A275B523   GABE           GUTTMANN                 NM           35057901027
4231B718A5B52B   ALICE          SENNOTT                  NM           90010687180
423217A7971999   LUPE           VALDEZ                   CO           90012087079
42322435872B43   QUEENIE        JOHNSON                  CO           90012884358
42328A89672B43   WILLIAM        CANADA                   CO           90013080896
4232B146A5B271   PAOLA          HERNANDEZ                KY           90012661460
4233242175B53B   GEORGE         SALAS                    NM           90009094217
423343A465597B   FERNANDO       CORONADO                 CA           90010803046
423371A1172B43   MELISSA        GARCIA                   CO           33038491011
4233B119472B36   MICHEAL        CARRILLO                 CO           90011181194
42346151124B7B   DARELL         BANKS                    DC           90012851511
4234625AA5B271   CHARLES        WHEATLEY                 KY           68032512500
42346843A91351   DAUNTE         BENJAMIN                 KS           90011098430
4234992579152B   MANUEL         HERNANDEZ                TX           90010299257
4234B763161967   ALEX           TELESFORD                CA           90010217631
4234B95735B222   CHRIS          SUMMERS                  KY           90013929573
4235698A78B16B   RICH           WANNER                   UT           90013969807
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4235B381561986   GILBERTO         GARCIA                 CA           90013043815
4235B836761967   OSEAS            SOTO VALENZUELA        CA           90010698367
42365425A62B31   BRANDON          HUDSON                 KS           90013874250
42367181662B31   WILLIAM          SPIRES                 KS           90014731816
42368671A72B43   RENE             LOVATO                 CO           90010016710
4236978535B271   ELIZABETH        SCHULTZ                KY           90000227853
423716A845B271   FERRELL          CASH                   KY           90012956084
42372A86A91569   GUSTAVO          REY                    TX           90013270860
423745AA761963   JOSE             GUERRERO               CA           46095495007
4237883135B174   KEENAN           LYONS                  AR           90013988313
4237B74A45597B   AARON            VALLEJO                CA           90004657404
4238591515597B   GUMERCINDO       CORDOVA                CA           90011639151
423935A6662B31   BRITTANY         SELF                   KS           90013875066
4239479552B27B   DAMIEN           DEMUS                  DC           90015087955
423989AA761963   ROBERT           LINDGREN               CA           46034379007
423B243335B222   LEE              PHOMMINH               KY           90010354333
423B248635B271   SEQUOIA          BROWN                  KY           90012904863
423B5A51862B31   MANUEL           ALVAREZ                KS           90012370518
423B6873262B31   HECTOR           FLORES                 KS           90005338732
423B7235872B43   LAUREN DARLENE   CORDOVA                CO           90013352358
42413527924B7B   KEITH            MANNING                DC           90013675279
42416A9A95B222   VICTORIA         DILLY                  KY           90008480909
4241B376A8B165   MUSHTARI         NOORI                  UT           90009483760
4241B955791351   KISHORKUMAR      GOHIL                  KS           90011099557
4241B99385B58B   ORLANDO          ROYAL                  NM           35012699938
42422667272B4B   JACOB            YOUNG                  CO           90012056672
42422951572B36   DOMINICK         FLORES                 CO           90006049515
4242354422B27B   LATRICE          MOORE                  DC           90012555442
4242685A691351   RACQUEL          GONZALES               KS           90006568506
4242689125B174   MARIO            EVANS                  AR           90014758912
42428297172B43   JAVIER           TORRES                 CO           90010322971
4242886A461963   JORGE            LOPEZ                  CA           90010398604
4243239234B23B   TRISHA           KOCK                   NE           90009193923
42432421872B36   MARIO            DEBONO                 CO           90013434218
424351A575597B   JONATHAN         ORTIGOZA               CA           90012941057
4243591865B52B   JENNIE           TORRES                 NM           90009639186
4243711265B174   ALICIA           PONCE                  AR           23078671126
4243899945B52B   DEANA            ORTIZ                  NM           90013139994
42439A3A151383   COURTNEY         LONG                   OH           66078140301
4243B335761963   AARON            RICO                   CA           90013333357
4243B774172B4B   AURORA           CAMPOS                 CO           33004587741
42445319272B4B   MARLENE          ZAHN                   CO           33041233192
42448492A2B87B   GARY             NEFF                   ID           90014504920
42452285A91569   JOSE             SAUCEDO                TX           90008492850
424524A7781627   DENISE           NEWMAN                 MO           90007924077
42453786472B47   MANUEL           TORRES                 CO           90008777864
4245378955B271   KATHERINE        RUIZ                   KY           90011107895
4245731A951334   SANNIKA          WHITMIRE               OH           90013523109
42457616672B36   JON              LACEY                  CO           90005216166
42461243A61967   MARTA            RODRIGUEZ              CA           46055802430
4246338475B53B   APOLINAR         RUEDA                  NM           90010023847
42463394A5B222   JESSICA          ROACH                  KY           90005763940
4246396628B16B   CRUZ             REYES VALLE            UT           90013969662
42464659362B31   ZACHARY          DECKER                 KS           90012586593
42468421272B43   LAURA            BANUELO                CO           90013924212
4246B59525B53B   ROSEMARY         ORTEGA                 NM           90014875952
4247238475B53B   APOLINAR         RUEDA                  NM           90010023847
424753A2151334   DESIREE          EDMONDS                OH           90010263021
4247696835B53B   BIANCA           CHAUNCEY               NM           90012469683
42476AAA972B43   JEREMY           BERG                   CO           90010950009
4247878475B271   NOELBIS          RUIZ RAMIREZ           KY           68018507847
4247948118B16B   JUSTIN           WHETSTONE              UT           90014154811
4247997A561967   ISAMAR           AYALA                  CA           90014839705
4247B95795B52B   KARA             REESE                  NM           90012319579
42482726672B36   COLTON           CAPPS                  CO           90013507266
4248391158B16B   DAVID            HATCH                  UT           90004519115
42486A53A71999   BRANDY           MCNAMARA               CO           90014370530
42486AA248B16B   COREY            STAM                   UT           31091860024
4248946385B53B   LARRY            LUCERO                 NM           90012534638
4248B497472B43   JAVIER           JUAREZ                 CO           90012574974
424918A248B185   ANGELA           RICHMOND               UT           90003298024
4249346A45B52B   MARY             CASAUS                 NM           90011894604
42493619772B4B   DONNA            WOODWARD               CO           90009846197
424968A5372B43   ADRIENNE         BARTLEY                CO           90012278053
4249917212B27B   GREGORY          TERRY                  DC           90010491721
424B2984A91569   MARAIANA         VASQUEZ                TX           90013339840
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424B466A472B33   RANDY          CASTILLO                 CO           90012856604
424B517715B271   MELISSA        FRAZIER                  KY           90013051771
424B7698A61963   MANUEL         GARCIA                   CA           90014096980
424B8442861963   JOSHUA         LUNA                     CA           90014754428
424BB37964B271   JEFFREY        WILLIAMS                 NE           90014723796
424BB512791569   TIMOTHY        BRAGG                    TX           90010275127
425135A9A72B36   CHRISTINA      HILTON                   CO           90010105090
4251483A38B165   DISTAD         STEVEN                   UT           31004788303
4251751A68B16B   DAVID          LOPEZ                    UT           31003895106
4252167635B222   PRINCE         GAYE                     KY           90013696763
4252342145B53B   RACHEAL        GONZALES                 NM           90012634214
42526587472B4B   RANDY          GOMEZ                    CO           33089995874
4252817195B53B   CORNELIA       NORTEY                   NM           90010191719
4252B747872B43   TIM            DANIELS                  CO           90003047478
42534111A24B64   JUNE           GOODWYN                  DC           90013451110
4253B98225599B   SUZANNA        MARTINEZ                 CA           90005009822
4254168A72B27B   CYNTHIA        ATCHISON                 DC           90012566807
4254487922B87B   ADAM           WESTRUM                  ID           90000678792
4254524AA91569   JAVIER         IPOLITO                  TX           90010712400
4255658A672B4B   STEVEN         IMHOF                    CO           90013015806
4255791812B27B   TEONNA         LOCKHART                 DC           90000459181
4256578145B58B   MARCOS         HERRERA                  NM           90012067814
4256728112B27B   BERNARD        JACKSON                  DC           90005242811
42567A66172B35   CHRISTOPHER    VALENCIA                 CO           90004100661
42569562972B43   DAMIAN         CLARK                    CO           90004085629
4256998187B362   JOSE           HERNANDEZ                VA           90010779818
42569A3269152B   JOSE           TORRES                   TX           75058680326
4257211765B52B   HUMBERTO       MORENO                   NM           90013381176
4257455A88B16B   COREY          CHIDO                    UT           90013245508
4257458A361963   DAMIAN         VELASCO                  CA           90015195803
4258167265B58B   TARASINA       WALLOWINGBULL            NM           35050616726
4258174176B275   DEBRA          ERICSON                  AZ           90014187417
4258416AA5B222   LUZ ESTELA     GONZALEZ                 KY           90007351600
4258649145B53B   DAYL           LARSEN                   NM           90011524914
4258915A872B36   RACHEL         STUTT                    CO           33090291508
4258968A72B27B   CYNTHIA        ATCHISON                 DC           90012566807
42589A9138B185   LANCE          WININGER                 UT           90005930913
4258B31635B58B   JOSEPH         BACA                     NM           90013533163
425919A2841258   KIMBERLY       MANGANARO                PA           51047059028
42592626672B43   OTHONIER       GOMEZ                    CO           90004926266
42592A8A18B165   CURTIES        ADY                      UT           31075210801
4259848A171999   NICICOL        SOTO                     CO           90013044801
42599762472B36   CAMELIA        DEEZ                     CO           90010157624
425B1148161967   DAVE           DELANEY                  CA           90013951481
42611583A91873   EDILZAR        CORONADO                 OK           90011995830
426183A415B58B   DENNIS         GARCIA                   NM           90010873041
4261871158B165   CORY           MACKEY                   UT           90013167115
42619533A61967   THOMAS         HITCHCOCK                CA           90014405330
4261B624251334   JAMES          MAIDEN                   OH           66042416242
4261B647771999   EDIE           RODRIQUEZ                CO           90000816477
4262265495597B   CESAR          RAMIREZ                  CA           90004366549
42625894A72B43   SIERRA         ALCALA                   CO           90012868940
4262647268B16B   KEVIN          MCARDLE                  UT           90011834726
426267A9572B43   CIRE           BROWN                    CO           90009347095
426296A3A61963   ANN            WHITTINGTON              CA           90008286030
426319A165B271   DENIEL         SHOW                     KY           90010319016
42635993372B36   ERIKA          MAGDALENO-TORRES         CO           90012969933
4264238A261967   LISA           MOORE                    CA           90013953802
4264511448B16B   DONNA          ELLIOTT                  UT           90013971144
4264882365597B   ADRIAN         ORTIZ-ESCOBAR            CA           90012218236
4264911448B16B   DONNA          ELLIOTT                  UT           90013971144
4264B1A5A8B16B   MARIA          OLVERA                   UT           90013971050
4265334668B165   CAROL ANN      LUNDEEN                  UT           90013003466
426656A5851334   SANDRA         LONG                     OH           90012916058
42668432A61967   ARENDA         WILSON                   CA           90007904320
4267165A35B52B   JESSICA H      HORTON                   NM           90014876503
42673432A61967   ARENDA         WILSON                   CA           90007904320
42678A55461967   FERNANDO       CASTRO                   CA           90014000554
42678A5555B271   LAMAR          BRUNSON                  KY           90013930555
4267982A75B53B   ADRIANA        REANO                    NM           90013948207
4267B45795B52B   SILVIA         DIAZ                     NM           90010434579
4267B98A25B174   ANTHONY        FARISA                   AR           90013539802
42683192A91873   ADOLFO         DAVILA                   OK           90015001920
42687852772B43   ELI            AGUAYO                   CO           90007808527
4268851A28B185   JUSTIN         ABBOTT                   UT           31046005102
42691763972B36   THOMAS         CLARK                    CO           33006707639
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4269226935597B   DARRIN         THOMPSON                 CA           90011642693
42692A65272B4B   VICTORIA       QUINTAVALLE              CO           90012240652
4269391A951334   TAMMI          KELLY                    OH           90009769109
4269511725B53B   PAUL           MALTOS                   NM           90013381172
426956A518B165   LOVELY         TUAKALAU                 UT           90014726051
42696A78A5B174   KEISHA         NEELY                    AR           90010980780
426B321585B222   D              FIELDS                   KY           90015192158
42712A9885597B   CHERIE         CRUZ                     CA           90003920988
4271364A951354   KENDRA         JONES                    OH           90010666409
4271437252B87B   AYRIANNA       STAR                     ID           90014743725
4272121395B174   DNESHA         ELLIS                    AR           90012722139
42723A19361967   LONELL         BUTLER                   CA           90013970193
42727491272B43   MARQUS         DANDRIDGE                CO           90012334912
4272841765B52B   KELLY          BYNON                    NM           90011454176
42728A3685B52B   STIEVERAE      BACA                     NM           90004840368
4272B466272B33   JOSE           CASILLAS                 CO           33004494662
4272B8A158B185   JAIRO          JUAREZ                   UT           90012238015
4273B567691569   NEFERTITI      OJEDA DE ENRIQUEZ        TX           90015115676
427426A4A4B271   ELIZABETH      MARTINEZ                 NE           90013456040
4274286255B52B   EDISON         BLANCO                   NM           36084508625
4274356A38B16B   ALEX           TAYLOR                   UT           90013065603
427438A5A5B53B   STEPHEN        SLUDER                   NM           90013988050
42744241A4B583   ANDREA         STAMPUL                  OK           90007672410
4274458A15B597   EVELYN         VENTURA                  NM           90005735801
42745647A97124   RACHELLE       HOWARD                   OR           90005796470
4274B51A461967   ERIKA          MURILLO                  CA           90013955104
4274B659661976   ALICIA         BLACKMAN                 CA           46015046596
4275267788B165   REEDER         KIMBERLY JO              UT           90007416778
4275343598B16B   MACKAY         JOHN                     UT           90008574359
42753A54991569   MELISSA        RODRIGUEZ                TX           90007840549
42754773A93768   BRYAN          MCCOWANE                 OH           90012527730
4275559375B53B   KIMBERLEY      TODD                     NM           90012545937
4275577825B523   LINA           JAMES                    NM           35085497782
42755A2658B185   RILEY          BIGELOW                  UT           31016140265
4275636148B16B   APRIL          RYNOLDS                  UT           90012893614
4275695432B27B   RAVEN          THOMAS                   DC           90011189543
4275B87535B53B   HILARY         BACA                     NM           90013948753
4276224A58B16B   HECTOR         HERNANDEZ                UT           90013972405
42762815A72B36   JAMIE          HENRY                    CO           90014668150
4277277A65B271   MEGAN          WILLIAMS                 KY           90014117706
42774793A91569   ROBERTO        ORTEGA                   TX           90012357930
4277572655B52B   DAVID          TAPIA                    NM           36088797265
42776884472B47   ANTHONY        SAMPLE                   CO           90010508844
4277985758B165   DIANA          MELO                     UT           90014428575
42781958A72B4B   SHARAE         HOBLEY                   CO           90011999580
42782289872B36   BRIANN         BANDIERA                 CO           90009762898
4278444A65B222   CHRISTINA      JOHNSON                  KY           90014224406
4278716995597B   AUDREY         ROSALES                  CA           90013311699
4278798248B165   TONY           AMIJO                    UT           90007609824
42788AA5761967   TODD           FAIRRLEIGH               CA           90012910057
42789893372B43   BETHANY        MUNOZ                    CO           90007998933
4278B694751334   KEVIN          MASON                    OH           90014906947
427927A845B52B   AZUBITH        VILA                     NM           90012177084
4279715928B16B   WHITTNEY       SMITH                    UT           90006681592
427988AA891569   SALVADOR       CEDENO                   TX           90012108008
4279933785B174   KHELLI         GAINES                   AR           90010963378
4279B63645B271   MARIV          CALIMANO                 KY           90011386364
427B1114961967   KEVIN          ESTRADA                  CA           90011811149
427B3455172B36   FRANCISCO      PEDROZA                  CO           90013624551
427B782A75B53B   ADRIANA        REANO                    NM           90013948207
427BB454255939   TATIYANNA      VIDRIO                   CA           49017594542
427BB612251359   CRAIG          RUDD                     OH           66021916122
4281126142B27B   JANAY          WRIGHT                   DC           90010712614
42812688172B36   GLORIA         RAMIREZ                  CO           90012916881
4281619A75B222   MICHELLE       BROWN                    KY           90012151907
42819624A5B52B   SONIA          PEREZ-LOPEZ              NM           90012626240
42819A2495597B   JENNIFER       SINOHUI                  CA           90011500249
42819A53271999   KENDRA         SOSA                     CO           90012570532
42824157A61963   EDDIE          KIM                      CA           46082231570
42825A84872B36   CEPHUS         BEAU                     CO           90012230848
4282675515B274   ADRIAN         LANIER                   KY           90010707551
4282B66A772B36   KAREN          DELLINGER                CO           33034556607
4283144755B53B   ARMENDARIZ     THOMAS                   NM           90008184475
4283185962B27B   RONALD         KNIGHT                   DC           90014798596
4283B238A5B271   ELOY           ALFARO                   KY           68070412380
4283B38972B27B   ALEXANDER      SHONTAY                  DC           90012843897
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4284168344B271   BILLY              CATES                IA           90013456834
4284549685B52B   MARY               CASAUS               NM           90011894968
4284639995B222   JOSEPH             CRAIN                KY           90012673999
4284987368B16B   ADAM               KUNZ                 UT           31017688736
4284B99518B16B   KATHLEEN           REESOR               UT           90012439951
4285192A172B4B   JOE                VIRGIL               CO           33035999201
428524A355597B   REY                BRISENO              CA           90014824035
4285633468B654   TERESA             DEAL                 TX           90014683346
42856A6935597B   JOHNNY             RENTERIA             CA           90012410693
4285833A75B53B   DAVID              CORNELL              NM           90010633307
4285952848B16B   LINO               GRACE                UT           90008575284
4285986298B165   JERRY              GARCIA               UT           90014428629
4286185898B16B   CHRISTOPHER        QUIRK                UT           90012838589
42863797172B4B   CESAR              VASQUEZ              CO           90012557971
4286547435597B   CHRS               AVILES               CA           90014364743
4286576987122B   OSWALDO            VALENZUELA           IA           90012777698
4286795743B359   HEIDI              WATEURS              CO           90012919574
428736AA672B36   TIMOTHY            BRANIGAN             CO           90013016006
4287383A871999   CODY               MARTINEZ             CO           90011118308
4287457A761963   ERICA              HERNANDEZ            CA           90012675707
4287821885B52B   ANDRES             LUJAN                NM           90011072188
4287B875393794   JUSTIN             BAKER                OH           90008178753
4288216915B58B   DANIEL             GUEREQUE             NM           90014931691
4288357A28B16B   ORLINDA            MANN                 UT           90004115702
4288916A461967   ESTRELLA           CHACON               CA           90004181604
4288B52122B27B   BETHLHAM           ARGAW                DC           90012475212
42891A98861967   DANIEL             MARTINEZ             CA           90013000988
4289414985B271   LOUIS              ABAPO                KY           90013041498
42895A4968B165   RADAMES            JAIMES               UT           90012960496
4289676428B165   JUAN               BAUTISTA             UT           90009617642
428B6169371999   BARBARA            DAVIS                CO           90014031693
428BBA33391569   BOBBY              BONE                 TX           90013070333
4291296384B271   ADRIAN             CORTEZ               NE           90013149638
42917582472B43   CHRISTINA          HILL                 CO           90007815824
4292295455B271   MS                 SLAUGHTER            KY           90003769545
42923569A71999   NICHOLAS           GARCIA               CO           90011925690
42923A6AA8B16B   LATISHA            MONTOYA              UT           90008090600
4292749A891351   JUAN               NEVAREZ              KS           90014094908
4292B19282B87B   ZACHARY            BLACK                ID           90010071928
4292B23A48B16B   CANDICE            DIXON-GOMEZ          UT           90009592304
4292B519791351   ALYSHIA            SMITH                MO           90013645197
4292B95855B53B   JUAN DIEGO         LOPEZ                NM           90013949585
4293267555B271   AMANDA             DONOHOO              KY           90007266755
42934197172B4B   JENNIFER           CUNNIGHAM            CO           33089011971
4293491957B497   EVET               ALLEN                NC           90013949195
42939759A5B58B   HENRY              LUNA                 NM           90000737590
42943A1A85B52B   DAWN               JOHNSON              NM           90003440108
4294492875B53B   TIMOTHY            GNERICH              NM           90014119287
4294625145B174   CIAWONNA           GAYLE                AR           90014462514
4294686725B174   DANIEL             VARGAS               AR           90006868672
429491A375B53B   ANGEL              ORTEGA               NM           90012131037
4294B76145B53B   BELSON             CHARLEY              NM           90015297614
429583A955B174   MELODY             FUENTES              AR           90013093095
42958A93A8B16B   DALE               BRIDGEFROTH          UT           90014610930
4295953298B16B   LUIS               ZAMUDIO              UT           90014005329
4295959565B58B   MONTANO            ASHLEY               NM           90012595956
4296331955B52B   ERMER              LOYA-DOMINGUEZ       NM           90014833195
4296496122B27B   JOSE               VENTURA              DC           90007409612
42969533772B36   JOHN               CORRY                CO           90011195337
4296BA5687B262   KENDRA             CREAGER              ID           90014890568
4297299345B52B   VITALIA            GARCIA               NM           90013829934
4297327582B27B   ARMANDO            MENJIVAR-GALVEZ      DC           90010252758
4297662535B53B   SERGIO             PENA                 NM           90012546253
42977129772B43   SUSAN              HESTER               CO           90000961297
4298444475B53B   XOCHITL            VALDEZ               NM           90014154447
4298675278B594   JANIS              JACKSON              CA           90014747527
42986A41772B36   JOHN               SILVER               CO           90003370417
4298859585597B   DANNY              MAESTRE              CA           90011645958
4298989678B165   NATHAN KINGSBURY   ALYSSA KINGSBURY     UT           90014548967
42992157A51383   DAVID              MARQUEZ              OH           90012021570
4299311765B52B   HUMBERTO           MORENO               NM           90013381176
4299319A961963   JUAN               PANTOJA              CA           90009261909
4299566A572B43   AVIANA             SPARKS               CO           90013566605
4299591775B174   CANDACE            BURKHALTER           AR           90014739177
42996A7A78B165   NORMA              OROZCO               UT           90011500707
4299921718B16B   GILBERTO           LOPEZ                UT           31012192171
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4299B37A95B271   EDWARD          WILLIAMS                KY           68072673709
429B128295B523   APOLONIO        MARENTES                NM           35081042829
429B1A9415B271   JAZMEN          PRINCE                  KY           90014810941
429B6745372B43   ELENA           VEGA                    CO           33034637453
429B8898671999   TENISHA         SEGURA                  CO           90011118986
429B946A761963   SERGINA         HERNANDEZ               CA           90012454607
42B1194A272B36   ALEJANDRO       SALAZAR                 CO           90013419402
42B124A535B53B   RYAN            HIL                     NM           90013944053
42B13155251334   CHERYL          ILHARDT                 OH           90014831552
42B1329AA51334   CAMILLA         BUSH                    OH           90010882900
42B14A6835B271   CHRISTY         MEADWAY                 KY           90009820683
42B1528625B271   JERMAINE        CAMERON                 KY           90013382862
42B16414272B4B   ALYCE L         CLARK                   CO           90013784142
42B17449261963   REYNA           RUIZ                    CA           90000244492
42B18A77361967   DIANA           MENDEZ                  CA           90006820773
42B21339455939   TERRI           LINDER                  CA           90010543394
42B2143245B52B   AGUSTIN         VIGIL                   NM           90012904324
42B26A9964B271   CORINN          COOK                    NE           90013490996
42B27526461963   LOURDES         HERNANDEZ               CA           90012425264
42B27667371999   DOROTHY         HEPTIG                  CO           90013656673
42B28A21361967   ERICA           RAMOS                   CA           90014540213
42B31649171999   RACHEL          DEHERRERA               CO           90010886491
42B3463448B16B   CINDERELLA      KATOA                   UT           90013956344
42B3745465B53B   DOMINIQUE       GURULE                  NM           90013944546
42B4137465B52B   LYNETTE         RIVERA                  NM           90014443746
42B43415972B36   DARYL           EASON                   CO           90011624159
42B4386565597B   CECILIA         GARCIA                  CA           90013898656
42B46955672B36   JOSHUA          STRATTON                CO           90009849556
42B47664672B43   MAJA            WILLIAMS                CO           90012926646
42B4821882B27B   PAULA           SWALES                  DC           90015152188
42B4973892B27B   DEREK           KITTRELL                DC           90012787389
42B55655172B43   TAMMY           GOETZFRIED              CO           90014556551
42B566A1462B31   STEPHEN         MOORE                   KS           90012346014
42B57795172B43   RANDY           MARKLOWITZ              CO           90012047951
42B62255691873   JOSE            TRINIDAD                OK           90011902556
42B64491161963   CHLOE           GOODRUM                 CA           90014754911
42B6459715B271   YOLANDA         WILKERSON               KY           90011095971
42B67213972B43   JOAQUINA        APARICIO                CO           90007452139
42B6842884B271   YOLANDA         JOHNSON                 NE           90011104288
42B7276AA51334   MARIA           MARMO                   OH           66053047600
42B72A78751334   MARIA           MARMO                   OH           90013910787
42B73512872B4B   MELISSA         SAUL                    CO           90014525128
42B7354468B16B   LANIE           OLSE                    UT           90008535446
42B7458415597B   ESLY            OLVERA                  CA           49017175841
42B74A3815B58B   RODOLFO         AVILA                   NM           90014800381
42B78584693794   JOEY            MITCHELL                OH           90011575846
42B7873792B264   JUSTIN          SCOTT                   DC           90008757379
42B7B61A972B43   ANTWON          WRIGHT                  CO           90012896109
42B8259785B271   NICOLASA        MUS                     KY           90011095978
42B83142872B4B   FELIX           CASTRO                  CO           90010321428
42B84334653B43   MARCO ANTONIO   SOTO                    CA           90013793346
42B85281471999   BARNEY          ROMERO                  CO           90010472814
42B8633955B271   KIMBERLY        TYLER                   KY           90012703395
42B87415155939   JESUS           TORRES                  CA           90005174151
42B9191838B16B   TERESA          BAUTISTA                UT           90012349183
42B92292371999   LARRY           GRADE                   CO           90012602923
42B9396855B222   GHIA            PORTER                  KY           90014499685
42B94441341258   CADIADRA        KENDRICK                PA           51043844413
42B9736A42B27B   JASPER          KENJI                   DC           90014923604
42B97591991569   JUAN            CARBAJAL                TX           90012285919
42B979A542B27B   SHOLANDA        PETTAWAY                DC           90010879054
42BB1597461967   SELENE          SOSA                    CA           90011975974
42BB61AA591569   EMILIO          JIMENEZ                 TX           90011881005
42BB6A1715B222   GLENDON         ALCORN                  KY           90010880171
42BB836675B222   LORETTA         BRITT                   KY           90012163667
42BB969A961963   JEFF            PACE                    CA           90005006909
4311135255B53B   PAYGO           IVR ACTIVATION          NM           90013693525
4311162765B271   JOHNNY          HAYNES                  KY           90014096276
431128A725B58B   SONIA           GARCIA MARTINEZ         NM           90012428072
4311339938B165   ELIZABETH       BAEZA                   UT           90013123993
431136A722B87B   JENNY           MCLEOD                  ID           90010276072
4311777A15B541   CASSANDRA       GARCIA                  NM           90008557701
4311979A45B222   SHAUN           HAZELRIG                KY           90012787904
4311B44A461963   JENNIFER        DURAN                   CA           46004004404
431211A212B27B   KENNETH         ADAMS                   DC           90012861021
43122638A91873   KRISTA          HANTCOCK                OK           90011026380
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43123179872B4B   MELAINE C      COTTON                   CO           90012671798
43124A15393741   MONICA         BLAKE                    OH           90013550153
43126159872B43   CHISTOPHER     BACA                     CO           90011871598
4312642199199B   FRANK          SAXTON                   NC           90012734219
43127A87571934   JOSE           RUIZ                     CO           90005590875
4312893A672B43   ELISS          LINDSEY                  CO           90010109306
4312B8A312B27B   MORRIS         RAY                      DC           81030368031
4312B941572B54   JANINE         PURDY                    CO           90007159415
4313271428B181   WADE           SCHOFIELD                UT           90010577142
4313473322B27B   REBECCA        POUGET                   DC           90011867332
4313531235B222   TAB            D                        KY           90012503123
43139814A61967   JULIAN         RUIZ                     CA           90014678140
4313B252A5B53B   ISAIAM         CHAVEZ                   NM           90012142520
43141654676B64   HUGO           GUZMAN                   CA           90009546546
4314179225B222   MARGARITA      CASTILLO                 KY           90012217922
4314256745B174   TELICA         JONES                    AR           90011175674
43144273A61967   MARCO          MENDOZA                  CA           90010702730
4314436345B222   MICHELLE       LUCAS                    KY           90013053634
4314485165B597   NADINE         MARTINEZ                 NM           90014168516
4314615392B87B   RUSSLE         TAFT                     ID           90015031539
4314924A171934   JAMELA         WESTFIELD                CO           90000332401
4314B634855939   HENIETTA       MALDONADO                CA           90009816348
43152828A91569   CYNTHIA        ROJAS                    TX           90011418280
4315344365B222   CHELSY         WILKERSON                KY           90013644436
431555AA28B16B   SYLVIA         OSORNIO                  UT           90012655002
43155834A5B58B   ROSALYN        GARCIA                   NM           90012908340
4315718855597B   VANNARA        KEO                      CA           90005731885
43158833A5B597   GOYO           FLORES                   NM           90012668330
43159921672B43   PRESTON        SINGLETARY               CO           90010989216
431617A465597B   ANDREA         MCCLELLAN                CA           90014567046
431617A638B16B   TYLER          STEWART                  UT           90013737063
4316257519155B   ROSLY          GARCIA                   TX           75009575751
43166A32872B4B   MICHAEL        HARRIS JR                CO           33015030328
43168813A71999   CHRISTINA      CONTRERAS                CO           90013258130
4316B4A8391569   SONIA          ESCOVEDO                 TX           90011614083
4317323185B222   VINCENT        MEANS                    KY           90011362318
4317593245B597   DANIEL         ALMANZAR                 NM           90011869324
431778A9A5B52B   RUTH           DEHERRERA                NM           90014098090
43178523572B36   PAULETTA       MASCARENAZ               CO           33017525235
4317B69822B87B   CRYSTAL        MCCAFFREY                ID           90012906982
4318167AA55939   VALENTINA      REYES                    CA           90011846700
4318187915B58B   GERALD         MITCHELL                 NM           90013468791
4318429A761967   MARIALENA      FLORES                   CA           46042562907
43184987A72B4B   TIMOTHY        KRAMER                   CO           90010209870
4318689A18B165   JACQUELYNN     BEASON                   UT           31076968901
43187319A72B4B   JAMES          DECLUE                   CO           90012863190
4318774A14B271   CHRIS          MARSHALL                 NE           90012597401
4318B87455B597   JOHN           HICKS                    NM           90014168745
4319434265B222   PAYGO          IVR ACTIVATION           KY           90009583426
431962A8172B43   VICKIE         SANTISTEVAN              CO           33004582081
4319764195597B   GRACE          SALINAS                  CA           90013076419
431998A665B174   APRIL          GILLIAM                  AR           23006598066
43199A32671999   CHRISTINE      GALLEGOS                 CO           90008230326
4319B52185B58B   MELISSA        RASCON                   NM           90011895218
4319B821572452   DOUGLAS        SLAVIN                   PA           90011038215
431B3186272B4B   MARTINEZ       TROY                     CO           90013351862
431B486165B52B   DORA           TRETO                    NM           90015268616
431B5389772452   GAIL           GREENE                   PA           51000013897
431B572A691394   ISAI           MARTINEZ                 KS           90008767206
431B8296391569   RUBY           DE LA CERDA              TX           90014002963
431BB313871999   JACQUELINE     PADILLA                  CO           38044983138
431BB461377595   DAVID          DADEY                    NV           90014704613
431BB74A68B16B   ALEX           TAYLOR                   UT           90014617406
4321341A12B87B   CHAD           HOFFMAN                  ID           90014624101
432177A9772452   CASSIDY        PIERCE                   PA           90011257097
43218A3255B53B   SURENDRA       SUBEDI                   NM           90012570325
4321B39355B58B   JOSHUA         CANTU                    NM           90011193935
43221634972B36   LILY           ORTEGA                   CO           90012296349
4322455A68B16B   JERYY          CARTER                   UT           90013075506
43225416272B4B   ROYBAL         LOURIE                   CO           33082204162
4322882865B174   DANIELLE       ADAMS                    AR           90013218286
4322894745B174   DEANDRA        WOODARD                  AR           90011439474
4323188712B87B   JAMES          RIVERA                   ID           90009178871
432327A632B27B   ALICIA         MCCOLLUM                 DC           90001477063
432338AA674B31   KAYLA          FESS                     PA           90005338006
4323513835B223   ANGELA         JONES                    KY           90002581383
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4323742155597B   TAMMY            JONES                  CA           90012834215
4323827585B271   AMANDA           BLAIR                  KY           90014782758
4323B332871999   LIANE            PENA                   CO           90009593328
432421A615B222   LIA              BISHOP                 KY           90010401061
4324264145B523   ERLINDA          GONZALEZ               NM           90006986414
43244983A2B87B   ROBERTA          CHAFFINS               ID           90013819830
4324676955B222   STEPHANIE        EVERTS                 KY           90010077695
4324788485B223   JOHN             HARROD                 KY           90007018848
43248A55A74B31   HILDA            THOMAS                 PA           90005340550
4324BA82291569   GEORGINA         CORDOVA                TX           90013740822
4325562AA72B43   DAVID            MARTIN                 CO           90012346200
4325833215B53B   ELSPERANZA       LAURENCE               NM           90010093321
4325B41A772B93   ISMAEL           VILLALOBOS             CO           90001164107
4326586655B58B   LATONIA          MELCHOR                NM           90005098665
43266A3645B222   KELLIE           TURNER                 KY           90010170364
4327217835B53B   SARAYA           CASTILLO               NM           90011321783
43273635772B36   SHARIKA          LEAKS                  CO           90013396357
4327517675B597   BERNADINE        KINCHEN                NM           90013021767
4327798575B597   JONAS            RAY                    NM           90014169857
4327917675B597   BERNADINE        KINCHEN                NM           90013021767
4327B347991523   NOHEMI           NORATO                 TX           90011203479
4328199478B165   WILLIAM          ARGYLE                 UT           31055979947
4328199555B597   SHAWNDA          BALL                   NM           90014169955
43282A7915B52B   ISMAEL           AVILA- CORRAL          NM           90014180791
4328382A55B597   CHARLOTTE        CORDOVA                NM           90014888205
4328477838B165   TRAVIS           BLOOD                  UT           90013747783
43285AA6A61963   JAVIER           NAVARRETE              CA           90012870060
43286669272B43   JOHN             DOCHTERMAN             CO           90013826692
4329227985B52B   RUTH MARGARITA   LOPEZ                  NM           90014182798
43292724A2B27B   GERSON           LEMUS                  DC           90000337240
432946A125B597   BECKY            GAFFNEY                NM           90013356012
432946A274B271   AUSTIN           SULLIVAN               IA           90009176027
43294A25191873   NATHAN           HARRIS                 OK           90013280251
43297124172B43   TERRANCE         SHAW                   CO           90012731241
4329B69155B58B   ASTRID           CAHUEX                 NM           90011116915
432B1AA925B597   DELILAH          SCHOBEY                NM           90012350092
432B592295B53B   BRADFORD         BURKHOLDER             NM           90014339229
432B6128191873   AMBER            LANDA                  OK           90011071281
432B6653577595   JEREMY           JOHNSON                NV           90015116535
432B7227893747   JOHN             DERHAM                 OH           90011262278
432BB94675B174   COREY            SUMMINS                AR           90014859467
4331B117561967   RENEE            GARZA                  CA           90013451175
4331B52338168B   LAURIE           BODEN                  MO           90012765233
4332233294B945   DEAN             LEWIS                  TX           90013693329
4332B559A91569   RANDY            RAULSTON               TX           75017785590
4333362457B824   BRANDON          JONES                  CA           90013616245
4333511A661963   DERRICK          HOWARD                 CA           90012361106
43338A33A5B52B   IRENE            MOX                    NM           90013930330
43339131972B4B   ARTURO           HERRERA                CO           90010731319
4334174375B597   SABINO           MARTINEZ               NM           90015127437
4334654342B27B   JUDY             ANDERSON               DC           90011125434
43346783572B39   JEFFERSON        NALLEY                 CO           90010187835
4334858A54B568   CODY             WESTPHAL               OK           90013265805
433491A4A77595   JUAN ANGEL       RAMIREZ                NV           90013141040
4334942755B174   PORSHIA          WILLIAMS               AR           90014704275
43352221272B36   JAKE             PHILLIPS               CO           90002142212
4335269A45B52B   CARMEN           PENA GONZALES          NM           36027766904
433535A7A91569   JESSICA          ARREDONDO              TX           90010895070
43357A7935597B   MARTHA           LEGUIZAMO              CA           90004000793
4335B734471999   SHANE            VARGAS                 CO           90009177344
4335B91178B16B   BRITNEY          MANATAU                UT           90013269117
4336196425597B   RUBY             YANEZ                  CA           90014579642
43365155A51334   MALIK            KIRKSEY                OH           90012971550
4336827A45B52B   MANDY            SANCHEZ                NM           90000592704
4336913144B271   YENIS            CARCAMOS-RAMOS         NE           90013271314
43375A27A5B597   HEATHER          FLORES-ANTILLON        NM           35055920270
43377392572B4B   LEO              VILLELA                CO           90013213925
4337969822B87B   CRYSTAL          MCCAFFREY              ID           90012906982
43381A81491569   ADRIANA          TORRES                 TX           90012230814
43386728272B36   ROBERT           JEFFERS                CO           90001447282
43386A1278B165   JEQUALA          LASHA                  UT           90013710127
4338818635B58B   CHRIS            LAVATO                 NM           35095941863
4338992968B165   DUSTIN           NEELEY                 UT           90010439296
4338B47A377595   ROSENDO          TALANCON-URIBE         NV           90014244703
4339363885B53B   SHAUNTENAY       CAMPBELL               NM           90010356388
43394A93831437   TED              COOKSEY                MO           90004180938
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4339722925B53B   ARNOLDO        DOMINQUEZ                NM           90014382292
4339B179A5597B   ADAM           ROBINSON                 CA           90014621790
4339B71192B27B   MONIQUE        BLACK                    DC           90011147119
433B22A8361963   ANA            RODRIGUEZ                CA           90014532083
433B419335B523   DOMINIC        RIVERA                   NM           35017431933
433B4255A5B597   JENNIFER       ARAGON                   NM           90014572550
433B42A842B27B   BRITTANY       SCOTT                    DC           90014922084
433B4653661967   DANIEL         CARDENAS                 CA           46005086536
433B466562B27B   SMOOCH         JOHNSON                  DC           90010676656
433B5565255939   REGINA         LARA                     CA           90010545652
433B947665B53B   MICHAEL        SANCHEZ                  NM           90014714766
433BB817A8B165   ISRAEL         RODRIGUEZ                UT           90001988170
433BB89237B49B   TERESA         CROWDER                  NC           11078708923
434121A142B27B   CHRIS          EASTWOOD                 DC           90013311014
4341253A35B55B   ELIZABETH      GAMBOA                   NM           90004215303
4341638348B16B   MICHELLE       DYE                      UT           90005303834
434176A7272B36   DANA           LEAKS                    CO           90010386072
4341B4A3A72B36   ANSHENEA       DICKERSON                CO           90013694030
43421389172B43   VANESSA        VELASQUEZ                CO           33089963891
4342266915B53B   KARREN         JIRON                    NM           90007866691
434232A495B597   DUSTY          SMITH                    NM           35056522049
4342351A95B58B   GEORG          YZQUIERDO                NM           90002325109
434246A978B165   JOHNNY         MAEN                     UT           90014706097
4342722285B222   SHAKEENAH      HUDSON                   KY           90013032228
434281A8191394   TRULI          MARION                   KS           90007161081
434282A865B52B   EDGAR          CASTRO                   NM           90010662086
4342B17152B921   ROBERTO        SANTILLAN                CA           90009321715
4343428778B16B   BUDDY          PHILLIPS                 UT           90013352877
4343648425B174   KAREN          COUNTS                   AR           23000524842
4344844755B58B   ARMENDARIZ     THOMAS                   NM           90008184475
4344929247B698   BRADFORD       MOORE                    GA           15010172924
4345237A372B36   MICHON         MELLENBERNDT             CO           90012783703
4345295184B271   GABRIELA       MATA SANCHEZ             NE           90013929518
4345352345B53B   BRETT          BEAUCHAMP                NM           90011425234
434552A9A5B58B   RICHARD        SISNEROS                 NM           90011062090
4345775925B174   LAKEISHA       GIRLEY                   AR           90012867592
4345795225B271   SHARON         YENO                     KY           90011709522
43457A13961967   RENFERY        MARTINEZ BERUMEN         CA           90013120139
4346139684B271   DEMETRUIS      SPRIGHT                  NE           90014743968
4346269932B27B   SHANEKA        HARRIS                   VA           90008306993
43464452372B36   SANTOS         HERNANDEZ                CO           90009224523
4346534814B569   GAVIN          WEIMER                   OK           90010353481
4346833845B271   MARY           MADDOX                   KY           90015073384
4346876815597B   JESENIA        BERNAL                   CA           49040737681
4346931A15B53B   CHARLES        JAMES                    NM           90010013101
4346968115B53B   CAROLINE       VALDEZ                   NM           90014716811
4346B79695B53B   ALDO           RODRIGUEZ                NM           90010837969
4347229815B53B   LEROY          ULIBARRI                 NM           90014442981
4347441A12B87B   CHAD           HOFFMAN                  ID           90014624101
43475A58455939   JUAN           MARTINEZ                 CA           90007610584
4347641A671934   ROBERT         MCKEE                    CO           90010394106
43476A8165B52B   ARMAS          MEDINA                   NM           90014730816
43479A27661967   JOSE           GARCIA                   CA           90010060276
43483285A5B52B   TOMMY          RAEL                     NM           90014732850
434856A7391569   JUAN           RODRIGUEZ JR             TX           90013216073
4348575195597B   KASTIN         RODRIGUEZ                CA           49050957519
4348833232B27B   DEMETRIUS      AGNEW                    DC           90014133323
4349183A961967   LETICIA        ALVAREZ                  CA           90012178309
43492279A9189B   SAMANTHA       ESPINOZA                 OK           90003622790
434923A3171999   JAVIER         MENDOZA                  CO           90013463031
4349311534B271   JOSHUAD        CAUDILL                  NE           90013201153
4349358418B16B   JESSICA        ESCARCEGA                UT           31082075841
4349361A85B597   AMY            PENA                     NM           90004426108
4349537388B16B   TUAI           MISIMA                   UT           90008793738
4349651195B52B   JESUS          MORALES                  NM           90014735119
4349675925B174   LAKEISHA       GIRLEY                   AR           90012867592
43496912A61967   BLANCA         VAZQUEZ                  CA           90013309120
4349696135597B   ABBY ASHLEY    PACHECO                  CA           90014589613
4349767248B16B   CAMEROM        COOPER                   UT           90010876724
4349889A861963   JAMES          PHYFIHER                 CA           90012808908
434B1442691523   JORGE          BENAVIDES                TX           75055754426
434B2255371999   JEAN           WILLIAMS                 CO           90013122553
434B4A5A151383   YAKEERA        ISRAEL                   OH           90011800501
434B691418B59B   RANDALL        BAKER                    CA           90014279141
434B766A94B271   DUSTY          MERRILL                  NE           90012846609
434B7771371934   SAMANTHA       LOPEZ                    CO           90008107713
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434B7977277595   SHEM             FLOUREY                NV           90011079772
434BB42975B597   SANDRA           ARAGON                 NM           90013124297
434BB461A55939   DUSHAWN          JOHNSON                CA           90014304610
434BB78325B271   CLIFFORD         EATON                  KY           90010207832
4351148245B222   DAMON            FISHER                 KY           90012644824
435128A1161967   DAVID            NEWNAM                 CA           90013838011
4351472845B271   GALE             LOGSDON                KY           90014937284
435182A668B16B   SHERRY           DRAPER                 UT           90012022066
4351B558A5B58B   SYLVIA           PEREA                  NM           90013885580
4351B768A55939   VANESSA          JUAREZ                 CA           90004387680
4351B925191394   KEVIN            FORD                   KS           90014739251
4352315225B597   ELIZABETH        RAMIREZ                NM           90014181522
4352476635597B   ANDRES           GUITIRREZ              CA           90012137663
43524A4AA61967   LEE              MAGAN                  CA           90010710400
43528491572B36   JON              COX                    CO           90009724915
4352B635772B36   SHARIKA          LEAKS                  CO           90013396357
4352B823361967   KATHLEEN         MONTGOMERY             CA           90011898233
4353161AA91569   MICHAEL          SEIFERT                TX           90013916100
4353769894B271   CURTIS           DE VOOGHT              IA           90013236989
4353851575B58B   CLAUDIA          DOMINGUEZ              NM           90014685157
4354146932B87B   DRAKE            SHUE                   ID           90014694693
435417A5671999   DESTINIE         PEREZ                  CO           90013757056
4354454745B527   ELISHA           CLEAVER                NM           90012415474
4354916345B271   DALE             WATSON                 KY           90014171634
4354B262177595   NICHOLAS         HARDEN                 NV           43017842621
4355133685B597   LUCIANO          REYES                  NM           35028093368
43552722A55939   TRINETTA IRENE   JACKSON                CA           90012817220
43554526A61967   DEMETRIO         SUAREZ                 CA           90010955260
435586A3855939   BRYAN            BURT                   CA           90014606038
4355967988B16B   CARMEN           ROSA MENDOZA           UT           90010076798
4356179764B575   ALLIA            WASHINGTON             OK           90011277976
43562442276B64   CHERYL           DOE                    CA           90000144422
4356479782B87B   JACQUELINE       KLOMP                  ID           41009497978
43565196233B63   SHAWN            GUTHRIE                OH           90014281962
43566639672B4B   MICHAEL          CHAVEZ                 CO           90013386396
4356681A98B165   JENIFER          FIGUEROA               UT           90013988109
4356935715B58B   MANUEL           DELGADILLO             NM           90012013571
4356B2A2591569   LOUIE            MORALES                TX           90011152025
4356B59188B165   IAN              BILLINGS               UT           90015005918
435731A6A61967   REYNA            MIRANDA                CA           46020301060
435734A7272B43   AU               MAL                    CO           90011404072
435776AA371999   JACQUELINE       ANGEL                  CO           90012416003
43577AA428B165   CARLOS           IRRA                   UT           90014790042
4357B95A672B43   DEBORAH          ALLEN                  CO           90004269506
435817AA35B52B   DEBRA            VALLEJOS               NM           90014747003
4358239594B543   VICTORIA         ACOSTA                 OK           90010343959
43585A73251334   QUELINE          COLETTE                OH           90014700732
4359165178B165   JOHNNY           HERNANDEZ              UT           90012746517
4359274865B52B   JIM              PATTERSON              NM           90014747486
4359392474B271   KRISMAS          GATDET                 NE           90014999247
4359482662B27B   RENEE            WILLIAMS               DC           90014018266
435984A645B174   KARA             BENNETTE               AR           90014704064
435B126A28B16B   ROBERT           JORGENSON              UT           90014042602
435B262AA72B43   DAVID            MARTIN                 CO           90012346200
435B3442A5B597   LISA             SELLERS                NM           90012004420
435B37A3791569   KRISTINE         BIBY                   TX           75088507037
435B51A9391569   YVONNE           HERNANDEZ              TX           90014771093
435B775A472B43   ARMANDO          HERNANDEZ              CO           90001367504
435BB99595B174   TEDRICK          CONWAY                 AR           90011429959
43612228872B43   HEATHER          MCINTOSH               CO           90013042288
4361225394B547   FRANCISCO        ELIAS                  OK           90008192539
4361381A571934   SOLOMON          MONTOYA                CO           32046068105
43614271676B5B   ALONSO           DOMINGO ESTEBAN        CA           90009192716
43619A4928B16B   DEVIN            GILLEN                 UT           90013090492
4361B14945B52B   MARTHA           CALDERON               NM           90014771494
4361B19A261963   MIRLA            VILLA                  CA           90015181902
43622246372B4B   QUINTANA         JOEL                   CO           90011122463
43623A14372B4B   TRINITY          BRIM                   CO           90014390143
43625824672B36   FIMBRES          ELMER                  CO           90007678246
436293A8551383   NICOLE           VINCIGUERRA            OH           90011813085
4362977755B271   ASHLEY           WHITE                  KY           90014157775
4362B831172B36   SEAN             BURROWS                CO           33098308311
436312A2761963   IVAN             RAMIREZ                CA           90009792027
4363411575B271   MELINDA          STAFFORD               KY           90008391157
4363B291255939   EFRAIN           CARDENAS               CA           90011442912
4364142735B174   WENDY            HERNANDEZ              AR           90015194273
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4364216614B271   GABRIEL             LEFLORE             NE           90012641661
4364519AA51383   AMIEE               TAYLOR              OH           90014641900
43646413374B31   GARY                LEECH               PA           90008684133
4364641634B271   AMBER               SINGLETON           NE           90013924163
43646755572B4B   DIEGO               HERNANDEZ           CO           33066397555
4364994175B58B   MARIA DEL ROSARIO   CURIEL              NM           90014159417
4365619AA51383   AMIEE               TAYLOR              OH           90014641900
4365899A251383   LAUREN              SMIDDY              OH           90012789902
4365B737A55939   HEATHER             GERMAN              CA           49063027370
4366221752B27B   JAMILA              BROWN               DC           90014192175
4366686A65B271   JONATHON            DUDECK              KY           90014158606
43667AA4591569   HUMBERTO            DEBORA              TX           90009650045
43669149972B4B   GUADALUPE           BAUTISTA            CO           33035461499
436692A4A5B174   LUIS                RARALTA             AR           90012362040
4367518948B16B   ELIDA               MADRIGAL            UT           90013171894
4367894638B16B   TANNY               JOHNSON             UT           90010519463
4368311615B597   MARTIN              GUTIERREZ           NM           90005201161
4368333A472B43   RAYO                CORONEL             CO           90011053304
4368368465B222   KRIS                DEPP                KY           90012386846
4368386795B271   AARON               WALKER              KY           90010698679
43684765372B43   ROBIN               POE                 CO           90011107653
4368517235B174   RYAN                DENMON              AR           90013201723
4368517A577595   LEILANI             AKIU                NV           90005641705
4368852954B539   FLORA               HATCHER             OK           90011195295
436897A2471999   DERRICK             SANCHEZ             CO           90014867024
4368993465B271   STEPHEN             WILSON              KY           90014159346
436947AA85B53B   LETICIA             GARCIA              NM           35092607008
4369874732B87B   ROBERT              STEBBINS            ID           90013707473
4369B147172B36   WHITNEY             JONES               CO           90015071471
436B2282772B36   TREY                MITCHELL            CO           90013812827
436B3291872B43   RAYMUNDO            AVITIA              CO           90010722918
436B6637872B36   JASON               FREEDMAN            CO           90013396378
436B7743A5B271   DEVRON              WILLIAMS            KY           90014157430
436B8386A2B27B   DOMINIQUE           GRAY                DC           90009883860
436B9622591569   PERLA               LUNA                TX           90011346225
436B9959772B36   AMANDA              REIL                CO           90013719597
436B9A11A5B597   CHEYENNE            FURRU               NM           90012300110
43713291872B43   RAYMUNDO            AVITIA              CO           90010722918
437198A6972B36   BROOKE              KASPER              CO           90000718069
4371997A95B174   AISHA               BRADFORD            AR           90011439709
43719A35977595   DANIEL              ODNEAL              NV           90011100359
4371B12514B543   ANDRE               COLBERT             OK           90010011251
4372479222B27B   GEORGE              BRANCH              DC           90015177922
4372531635597B   ERIKA               OCHOA               CA           90013023163
43727A35977595   DANIEL              ODNEAL              NV           90011100359
4372896A672B36   JOHN                HIBBS               CO           90013719606
4372B127651334   LORRAINE            BUTLER              OH           90007601276
43731854A8B16B   TRINIDAD            ROMERO              UT           90012428540
4373581968B165   RYAN                COOK                UT           90015108196
4373629A171934   YOHANA              PINTO               CO           32020782901
4373B356751383   COLBI               ERVIN               OH           66045183567
4374288515597B   JONATHAN            CALVO               CA           90012618851
4374865668B16B   SHAWN               THOMPSON            UT           31084126566
43748A5A45B271   JAMEY               STINSON             KY           90014160504
4375121938B165   BALFRE              ROMAN               UT           90014912193
43752947A5B597   MICHELLE            TORREZ              NM           90013389470
43752A6175B271   DELNISHA            PORTER              KY           90014160617
43759592A55939   CINDY               OLIVA               CA           90011945920
4375B23495593B   JUANA               QUEZADA             CA           90007652349
4375B72425B52B   MICHAEL             NIETO               NM           90009287242
43763976A5B52B   YVONNE              ENCINIAS            NM           90014919760
43764758372B36   ALEXIA              DURON               CO           90001447583
43768985172B36   DAMARYS             MORALES             CO           33017529851
43769579272B4B   SALOME              FLORES              CO           90005565792
4376B994551383   JENNIFER            MARTIN              OH           90012789945
4377329A371996   NICHOLAS            SMITH               CO           90009142903
4377432935B597   VERONICA            CAMARENA            NM           90010583293
43774A37451334   TYJUAN              CANTRELL            OH           90010430374
43777A59A51334   TERRI               WILLIAMS            OH           90006080590
4378145842B87B   NESHA               GREEN               ID           90014454584
43781939876B29   MARIO               BORJA               CA           90005979398
437836A6171934   JOHN                THOMPSON            CO           90003346061
43784112472B43   FRANCISCO           MAESTAS             CO           90013481124
43785282A72B4B   ROMAN               ACOSTA              CO           90015002820
4378737815B53B   AMBER               BENAVIDEZ           NM           90014043781
43787A9975B222   CHRISTY             CONATSER            KY           90013510997
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4378B247177595   WESLEY         BOHANNON                 NV           90014722471
4378B9A1561963   DAVID          CORPUS                   CA           90012149015
4379328A851383   ISAAC          BRANDON                  OH           90014652808
4379416272B27B   BRIAN          HASKINS                  DC           90013041627
4379438845B52B   ARTHUR         PACHECO                  NM           36045163884
43795683772B36   LUCIA          ZUNIGA                   CO           90012296837
4379723A45B174   MICHAEL        REDUS                    AR           90013792304
4379B31298B165   DANYELLE       REYA                     UT           90013303129
4379B784855939   LAURA          ORROSTIET                CA           90002967848
437B123495B52B   GUADALUPE      CASTILLO                 NM           90014792349
437B3857961963   ANGELINA       MARTINEZ                 CA           90010978579
437B4714171999   SANDRA         PADILLA                  CO           38016217141
437B628135B52B   DORIAN         MENDOZA                  NM           90014912813
437B636875B52B   DORIAN         LOPEZ                    NM           90014793687
437B7547271999   JUNE           JACOBS                   CO           90014695472
437B964AA72B36   JOSE           MORALES                  CO           90012506400
437BB671977595   DEREK          OWENS                    NV           90011116719
437BB71885B222   ZACHARY        FITZ                     KY           90014597188
43815726372B4B   KENNETH        MORSE                    CO           90014357263
43817982A55939   MARIA          FLORES                   CA           90012589820
4381823765B271   FRANCISCO      RUIZ                     KY           90014162376
43818A61171934   NICOLE         LUIS                     CO           90007230611
4381B854533625   MARK           MORRIS                   NC           90014978545
43825445372B43   JESSICA        FITZI                    CO           90014104453
438282AA372B4B   MELVIN         PESQUERA                 CO           33094752003
43828417572B43   LYNNETTE       SWAFFORD                 CO           90012824175
4383129795B53B   MARIA          PORTILLO                 NM           90011882979
43834A29991569   ADRIEL         MANRIQUEZ                TX           90012420299
43835283772B4B   MONICA         MENDEZ                   CO           90013262837
4383B163477595   MICHAEL        ROBBINS                  NV           90014371634
4384163332B27B   JOE            SIMTH                    VA           90012756333
4384316862B27B   JOSHUA         BROWN                    DC           90008641686
438431A1772B4B   FRITZ          HOTRODZZ                 CO           90006701017
43843431A91873   JAIME          RAMIREZ                  OK           90004194310
438457A5972B36   NICOLED        SPENCER                  CO           33011767059
4385266A64B271   DANIEL         KOMOR                    NE           90013276606
4385591178163B   TAMIKA         BRADLEY                  MO           90014089117
438566AAA61967   SCOTT          CARLSON                  CA           46013836000
43859731172B98   GEORGINA       BARBA                    CO           33066807311
438651A5972B4B   OLIVIA         GONZALEZ                 CO           90013671059
4386947665B58B   KALEEN         KALAMA                   NM           90013964766
4386BA2695B597   LUIS           VALENZUELA               NM           35050160269
4387238338B165   WILLY          B STOWELL                UT           90011153833
438729A6361963   EBELIO         LOPEZ                    CA           90001639063
438753A312B87B   LEANNE         FRALEY                   ID           90004653031
43875AAA372B36   SEAN           KRULL                    CO           90012600003
43876249A5597B   MARIA          DE DIOS                  CA           90011332490
4387823845B597   JONAH          LITTLEHOOP               NM           90007222384
438783A215B174   LUIS           COCA                     AR           23061943021
4388229852B27B   PATRICIA       GAMBLE                   DC           90012562985
4388251A271999   ANTHONY        SOTO                     CO           90013085102
4388296158B165   GIOVANNI       SANCHEZ                  UT           31003219615
4388556488B16B   MICHELLE       BORG                     UT           90009115648
43885783972B36   TRUJILLO       APRIL                    CO           90010687839
4388699498B165   PENOA          LILOMAIAVA               UT           90012959949
4388B87178B16B   NANETTE        GONZALEZ                 UT           90012248717
4389539785B271   TIMA           ELMORE                   KY           90014163978
43895A36291873   LAUREN         TOSH                     OK           90014780362
438979A4477595   RICARDO        AVINA                    NV           90010249044
43898A48872B4B   AUBREYL        LAGUARDIA                CO           90011050488
438B288A461967   NANCY          ANGUIANO                 CA           90013038804
438B63A545B597   NICOLE         FEGER                    NM           90005083054
438B6A9AA91924   MARIO LOPEZ    ALBERTO                  NC           90008390900
438B986215B174   LA CRESHA      HARRIS                   AR           90002268621
438BB285161967   FRANCISCO      GONZALEZ                 CA           90011352851
4391146765597B   LUE            YANG                     CA           90013394676
4391587895B53B   JACQUALINE     CONNER                   NM           90012358789
439174AA25B52B   ARMANDO        MARIN                    NM           90010194002
4391793385B222   GREG           MITCHELL                 KY           68038339338
4391845435B271   JOSE           MARTINEZ                 KY           90011614543
43922A65861967   MIGUEL         QUINTERO                 CA           46018030658
4392393985B264   QUIESHA        CARTER                   KY           90005029398
4393128755B52B   ROSA           SARCENO                  NM           90015012875
4393591925B174   CHERYL         WILKINS                  AR           90012919192
4393711A98B16B   MATTHEW        STONE                    UT           90013641109
4393B271177595   DESTINY        HOLMBERG                 NV           90014752711
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439472A3191549   CINDY          MORALES                  TX           90006542031
4394919888B165   JENNIE         TAULA                    UT           90013711988
439585AA65B597   REYANN         MENDOZA                  NM           90013125006
4396256AA61967   ANTHONY        BROWN                    CA           90014915600
43962A2515B53B   FULISHA        ARMSTRONG                NM           90010310251
4396583AA2B27B   CASSANDRA      RUE                      DC           90013958300
43967272972B43   MARISOL        RIVAS                    CO           90002832729
4396815615B52B   SHANTELLE      TRUJILLO                 NM           36063051561
4397321395597B   ERICKA         GOODWIN                  CA           49034632139
439732A5491394   VERONICA       BERROA-CARRASCO          KS           90011502054
43974A3745B58B   MARSHA         BROWN                    NM           35068670374
4397725558B16B   BELKA          SERVICES                 UT           90005812555
4397952165B271   BILLY          SEARS                    KY           90014165216
43979598A51334   RANDALL        GLARDON                  OH           90012225980
4398158538B163   KEVIN          WORTHINGTON              UT           90012345853
439842A5591873   AMUNIQUE       COZART                   OK           90012562055
4398BA6125B52B   ANTONIO        DOMINGUEZ 3RD            NM           90009540612
43991A8115B174   ORETHA         BROWN                    AR           90014120811
439979A475B271   TINA           BRATCHER                 KY           90009569047
4399855965B271   KATHY          ONEAL                    KY           90014165596
4399949195B222   AUSTIN         MCCLAINE                 KY           90012154919
4399B258491873   JACKLYN        ALVEREZ                  OK           90010952584
4399B398A5B222   TRANG          LE                       KY           90013823980
439B5453672B43   AMY            VANDERKOOY               CO           33000164536
439B7162472B36   MARIA          BUSTAMANTE               CO           90009531624
439BB252861963   MIKE           C                        CA           90009152528
43B1218928B16B   EDWIN          SIMS                     UT           90012411892
43B12312791873   ADIL           MARTINEZ                 OK           90012253127
43B1329595B223   SHERRY         CARANTO                  KY           90000912959
43B13332A3162B   ASHLEY         HUDLIN                   KS           90010733320
43B142A265B523   JIMMY          MATA                     NM           90006772026
43B14A7945B222   ROY            MANSFIELD                KY           90007660794
43B175A785B174   KENDALL        SEWARD                   AR           90012515078
43B18166661967   RAY            BROWN                    CA           90009951666
43B1B51625597B   RAMON          HERNANDEZ                CA           90011985162
43B246AA155939   HAITHM         SHAALAN                  CA           90008966001
43B24831677595   MONICA P       CORDOVA                  NV           90005388316
43B2581865B52B   BRIAN          HERRERA                  NM           90013578186
43B2678A351383   KATRINA        HENRY                    OH           90014007803
43B2682915B174   RONALD         JAMES                    AR           90012038291
43B27A75171934   JAN            MONTOYA                  CO           32067560751
43B31915A91873   SHANICE        WILSON                   OK           90014789150
43B35444733673   MONIQUE        HAIRSTON                 NC           90013354447
43B354A268B165   GLADYSS        NUNEZ                    UT           90012694026
43B36426A9127B   KENDERICK      ROLLINS                  GA           90012334260
43B37923A55939   BRYANT         DEANE                    CA           90013029230
43B3947915B52B   AMBRIEL        JARAMILLO                NM           90005324791
43B4162A95597B   JONATHAN       ORTIZ                    CA           90008326209
43B4178328B16B   JACOB          ARMFIELD                 UT           90012327832
43B4315338B165   ALJEJANDRO     MOORE                    UT           90014881533
43B44227777595   SETH           RADHAWK                  NV           90012702277
43B44668855939   JANETTE        ETHERIDGE                CA           90010596688
43B46A13951383   DAN            GRIGGS                   OH           90014420139
43B492A165B53B   JOHN           REYES                    NM           35067972016
43B49399A55939   ROBERT         PEREZ                    CA           49094543990
43B496A495B58B   JONATHON       TOFOYA                   NM           90011176049
43B49921191569   ARTURO         ALDERETE                 TX           75087119211
43B4B48515597B   CANDY          ROSSE                    CA           90001694851
43B521A2272452   PAUL           SLUSAR                   PA           51004541022
43B5226A88B16B   BRYCE          GARDNER                  UT           90009922608
43B52697761967   JORGE          CABRIERA                 CA           90012136977
43B5425415597B   COURTNEY       LYNN BESS                CA           90006512541
43B56364872B36   LAURA          CASTILLO                 CO           90010243648
43B59451A5B597   NATHAN         PECO                     NM           90011654510
43B59A89672B36   JOSEPH         GEORGE                   CO           90011990896
43B61A17472B4B   RODOLFO        HERNANDEZ                CO           90009020174
43B65511172452   BOBBY          STEWART                  PA           90014605111
43B66359471999   SARAH          JOHNSON                  CO           90012733594
43B66436791873   ALEXANDRA      HOLLAND                  OK           90009284367
43B6678582B27B   SHARDE         ALLEN                    DC           81070657858
43B6915948B165   MICHAEL R      HEINER                   UT           90012181594
43B6B82A391873   JOHN           JORDAN                   OK           90014838203
43B7351A591873   DEVANTE        ZORSHEE                  OK           90014515105
43B74455472452   ROGER          FRANTZ                   PA           90013844554
43B77371572B4B   ANDRE          MAURICE LYONS            CO           90008513715
43B81134455939   KHAMSING       LOKEOMANIVONG            CA           90012051344
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43B8219585597B   AMANDA          RUTHERFORD              CA           90012901958
43B85725154151   SHERREE         GALLION                 OR           90005597251
43B87451491569   ROGELIO         VERDUGA                 TX           90006194514
43B8765565B58B   JOSEPH          LANE                    NM           90014416556
43B8985915B222   LINDSAY         BEAUMONT                KY           90010278591
43B8B39815597B   CHRISTOPHER     TAPIA                   CA           90011373981
43B8B523572B36   PAULETTA        MASCARENAZ              CO           33017525235
43B9279135B52B   LETTI           GARCIA                  NM           90012797913
43B9569385B52B   ZANDRA KESLER   EDWARD JACOBE           NM           90013966938
43B9655985B174   ANRAY           SCOTT                   AR           23006595598
43B98997972462   LINDSEY         ESCARENO                PA           90010879979
43B98998772452   LAURA           CARNEY                  PA           90011979987
43BB196465B52B   JESUS           MARTINEZ                NM           90010279646
43BB267455B523   ROSE            SNOW                    NM           90008876745
43BB2AA8272B25   IRMA            NUNEZ                   CO           33097540082
43BB3848772452   LACY            MORRELL                 PA           90008578487
43BB5A2328B16B   HUMBERTO        TORRES                  UT           90013870232
43BB733975B55B   EVADINE         TENEQUER                NM           90002423397
43BB818535B222   BALDEMAR        BAHENA                  KY           90010861853
43BB8389591569   DEMIAN          RIVERA                  TX           90012203895
43BB9119672B36   JOSE            PAVON                   CO           90011471196
4411542A32B87B   LEIF            ERICKSON                ID           90013644203
44118A1325B174   LEWIS           PETTUS                  AR           90015030132
44123A93A5B58B   MARK            EISENBEIS               NM           90010250930
44124263A55939   ARIANA          CLAYTON                 CA           90011262630
44124A5795B52B   LONNIE          VALDEZ                  NM           90012690579
44127443172B43   JOHNNY          GOMEZ                   CO           90010794431
4413467565B174   BREHANA         NOID                    AR           90014856756
44134A3165597B   ROBERTO         MONTIEL                 CA           90014190316
44137A53291569   DESTINEE        LEGARDA                 TX           90012040532
44139A3248B16B   JASON           HOWARD                  UT           90008500324
4413B74482B27B   DOROTHY         TUCKER                  DC           90001087448
4414184A272B4B   MARIA           CASILLAS MENDAREZ       CO           90003378402
4414465295B174   VALANDRA        JACKSON                 AR           90005366529
4414763265597B   CHRISTINE       MAZA                    CA           90009866326
44148A11193765   ED              ALKHATEEB               OH           64527940111
4415285235B52B   DINAH           TURRIETTA               NM           90006378523
44156A8735B271   CHRISTOPHER     NYBERG                  KY           90014770873
44157866A5597B   TREVOR          MOSS                    CA           90014068660
441582A938B16B   SOLEMA          SAUILONE                UT           90011132093
441586A765597B   BENITO          GRACIDO                 CA           90013716076
44159A74961963   VIRGINIA        RICOY                   CA           90013240749
44159AAA555939   ALFREDO         AMESCUA                 CA           90009280005
4415BA45172B36   PATRICIA        WRIGHT                  CO           33075480451
4416168A22B87B   AMBER           MYERS                   ID           90010806802
4416239588B166   MANDY           RAYMOND                 UT           90010733958
44162A3715B222   GUSTAVO         REYES                   KY           90010980371
4416649855B222   BETH            WRIGHTDOWD              KY           90014514985
441664A3947954   JASON           MEA                     AR           90014704039
4416755685B271   STEPHANIE       BRANDON                 KY           90012735568
4417496262B27B   WILLIE          JACKSON                 DC           90008739626
44176319A61967   GARY            LANE                    CA           46084843190
4417681425B53B   ELIZABETH       GANDARA                 NM           35065728142
44178291A71934   KRISTINA        CHAVARIA                CO           90011842910
4417995545B271   MITSUI          LOPEZ ESAU              KY           90008739554
44183146A5B52B   IRENE           MEDINA                  NM           90013011460
44184A44291351   ALEX            ENRIQUEZ                KS           90000910442
4418765495B53B   VERONICA        CASTLEBERRY             NM           35002336549
441879A3891569   JESUS           CARREON                 TX           90014079038
4418885589152B   MAY             BOLDEN                  TX           90006258558
4418933625B271   JULIA           LEVESQUE                KY           90011593362
4418B978691523   RAYMOND         HOLGUIN                 TX           90011579786
4419143255B597   JESUS           AMERNDIARIZ             NM           35094294325
4419595A872443   WILLIAM         NICKLO                  PA           90014649508
4419953295B58B   MARIA           VALDEZ                  NM           90011605329
441B1781A8B16B   KENDRA          ESCH                    UT           90008777810
441B198285597B   ANGELINA        SOTO                    CA           49018699828
441B24A5A5B52B   PAYGO           IVR ACTIVATION          NM           90011474050
441B3469661963   HARVEY          NIXON                   CA           90013744696
441B6276991873   JIM             SIMMONS                 OK           90009252769
441B7712851334   JOSHUA          GRACE                   OH           90013517128
441B782165B597   PABLOJR         CHAVIRA                 NM           90011818216
441B859A471921   JONATHAN        KREIDER                 CO           90012185904
44216962172B36   ERIKA           CARRILLO                CO           90011549621
4422211644B271   SAUL            VALLE                   NE           90012601164
4422244428B163   MIKEHALL        ANNIEHALL               UT           90012964442
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4422533A38B16B   GAVIN          JONES                    UT           90013833303
4422541785B52B   CAROL          VALENCIA                 NM           90010974178
44226942372B4B   STEVEN         HERNANDEZ                CO           90011369423
4422B992161967   HEIDI          MIRELES                  CA           46066099921
44233913A5B52B   EDWARD         BRITT                    NM           90012819130
4423632225B58B   DEBRA          WALKER                   NM           90015123222
4423789182B87B   JORDAN         KRUPP                    ID           90001408918
44238257A5B53B   KENNETH        MARTINEZ                 NM           90010942570
44238A71372B23   SHAQUATTA      LEWIS                    CO           90012580713
442391A5761967   DEMETRIO       EUGENIO NAVA             CA           90011801057
4423987345B222   REYNERIO       FROMETA                  KY           90012508734
4423B122861963   TYLER          OLUPITAN                 CA           90013181228
4423BA44172B36   CODY           OCHIUZZO                 CO           90012170441
44241A13891873   JOHNA          FLETCHER                 OK           90014380138
44244A4595B597   ROSALVA        BUSTILLOS                NM           90002280459
4424648545B174   HOPE           ASO                      AR           90010204854
44246AA292B87B   SHARON         MURRAY                   ID           90013140029
4424771A572B4B   CODY           COX                      CO           90013717105
4424B455791523   RAFA           RODRIGUEZ                TX           90008874557
44252933872B4B   ISAIAH         CARTER                   CO           90012139338
44258A59171934   DANIEL         BRUNOW                   CO           90011690591
4425926298B16B   JARED          HOOD                     UT           90014062629
4425936975597B   SARAH          PHILLIPS                 CA           90010973697
4425B831584332   ALEXIS         FISH                     CO           90008328315
4426245495597B   MYTH LEEAN     MABRY                    CA           90001724549
4426317915B271   LINDA          ORTIZ                    KY           68046001791
4426986445B58B   GREGORY        BECK                     NM           90014908644
4426B684591569   BENJAMIN       JOHNSON                  TX           90012826845
4426B899471999   THOMAS         HAVENS                   CO           90005418994
4427153115B271   CARRIE         RANDALL                  KY           90014155311
44274895772B36   EVER           ANALIS                   CO           90010498957
4427492794B271   CRYSTAL        CHAVEZ                   NE           90012389279
4427567A447954   JUAN           AYALA                    AR           90010746704
44275A87961967   SAMIR          CRUSH                    CA           90013010879
44278431A2B87B   JACQUELINE     MORIMOTO                 ID           90013264310
44278977472B43   ANDREW         MUSGRAVE                 CO           33056579774
4427981535B222   GABRIELLE      BROWN WEIGER             KY           90014328153
4427B25AA61967   JULIAN         ALMANZA                  CA           90011802500
4427BA64347954   NOELY          MORALES                  AR           90012790643
44286278372B36   RICK           ENGLE                    CO           90009522783
44286A2555B174   LAKESHA        ROBINSON                 AR           90012390255
4428B33855597B   STEPHANIE      BROWN                    CA           90002273385
4429296955B58B   MARIA          RESENDIZ                 NM           90010599695
44292A66891873   RAMZAN         DAWOOD                   OK           90014270668
4429B166991569   JOSE           GOMEZ                    TX           90010671669
442B245212B87B   AMY            MULVANEY                 ID           41065824521
442B2636272B36   ABIGAIL        ALVARES                  CO           90014666362
442B415539152B   LILIANA        MELENDEZ                 TX           75099401553
442B469929152B   LILIANA        MELENDEZ                 TX           90012736992
442B484995B174   SUSAN          CROSSEN                  AR           23001648499
442B676285B53B   DEEDRIC        LUECKE                   NM           90014717628
442B8232391569   MIGUEL         PEREZ                    TX           90011332323
4431174745B52B   TAMERA         VALDEZ                   NM           90012937474
4431235A98B16B   PAGE           JOHNSON                  UT           90013833509
44314A23391569   SYLVIA         RESENDEZ                 TX           90006760233
44316799A2B27B   CARLOS         FUNTES                   DC           90013897990
443172AA571934   DARIN          HARPER                   CO           90008452005
4431B353891873   RACHEAL        PALMER                   OK           90006453538
4432262935597B   CECILIA        TORRECIAS                CA           90012926293
4432285954B271   BRITTANY       WATTS                    NE           90010678595
443234A8461967   CLARISSA       CIUFI                    CA           90010434084
4432652745597B   DEMETRIUS      HERSINGER                CA           90014895274
4432868565597B   VICTOR         CARRERA                  CA           90001946856
44328962572B36   JEFF           WHITE                    CO           90013469625
44331373A8B165   DALLAS         LYMAN                    UT           90009083730
44336A22191523   MONICA         MEZA                     TX           90006950221
44337A9255B58B   ANDY           TORRES                   NM           90010660925
4434712A924B7B   HUGO           MUNOZ CORNELIO           DC           81098521209
44348A69A5B58B   ESPERANZA      TONANTZIN                NM           90009830690
44349652972B43   CONNAN ELIOT   MOCK                     CO           90013206529
4435142814B566   JOSHUA         STEADMAN                 OK           90008604281
443546AA272B4B   DANIEL         ABUNDIO                  CO           90012276002
4435889172B27B   CHRIS          MOLINA                   VA           90011198917
4435B39195B58B   ROBERT         BEGAY                    NM           90012263919
4435B78565B597   CAROL          ROBERTS                  NM           90011827856
4436352288B16B   LIGIA          MORALES                  UT           90013295228
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443642A765597B   OLIVER         ULLOA                    CA           90013782076
44365353A72B43   ANDREA         BRAVO                    CO           33056813530
4436566A761963   STEPHANIE      FIELDS                   CA           90014216607
44365A38247954   REBECCA        BALOS                    AR           90008250382
44367244872B43   ALBERTO        VASQUEZ                  CO           90010882448
443683AA351382   BRYAN          LEWIS                    OH           90011833003
4436878A947954   MARIA          SALAS                    AR           25073267809
44369498A72443   BILL           EVANS                    PA           90013294980
4437126965597B   SHAWN          THAO                     CA           90009122696
4437225822B27B   MIKE           JONES                    DC           90001672582
44376826972B4B   CATIAH         LEE                      CO           90001308269
4437813A47325B   RICHARD        APPLEGATE                NJ           90014091304
4437938938B16B   JAMES          WADLEY                   UT           31003793893
443819A8491351   CHRISTOPHER    KIRBY                    KS           90011949084
4438417883B359   LAMBORGHINI    BORREGO                  CO           90012741788
443848AA52B87B   TIM            ARSENAULT                ID           90011918005
44385278824B7B   RIGOBERTO      TOJIN                    VA           90011832788
4438697A491873   EDITH          SMITH                    OK           90012629704
44393693772B4B   OMAR           CONTRERAS                CO           90013386937
4439532479126B   GARNETT        SCARVER                  GA           90011133247
44399164372B36   MARCOS         ROSAS                    CO           90012881643
4439B56A92B27B   DENINE         PRAILOW                  DC           90012855609
443B1287672B36   TRAVIS         SEARLES                  CO           90003452876
443B1612172443   KENNETH        NICKLOW                  PA           51013786121
443B318A572B36   SUSAN          VASQUEZ                  CO           90001161805
443B868792B27B   ROXANNE        LLOYD                    DC           90012786879
44415665172B43   EDWIN          MEDINA' RODRIGUEZ        CO           33003676651
4441B477155939   DANIELLE       TUCKET                   CA           90012834771
4441B54118B16B   DOUG           STANFILL                 UT           90009815411
4441B797491873   DUSTIN         LIVINGSTON               OK           90009097974
44421A3455B174   EDWARD         NORWOOD                  AR           90013700345
44423216691B55   ANDREW J       GONEMAN                  NC           90012692166
4442361354B271   EBEN           RICHMOND                 IA           90015156135
44426864A72B4B   ROGER          SANDRES                  CO           90010618640
44427189472B36   WILLARD        GALUSHA                  CO           33087251894
44427483A72443   KAMESHIA       FORD                     PA           51096654830
44428377A5B53B   REBECCA        SMITH                    NM           35081173770
444289A575B222   TYESIA         THORNTON                 KY           90014899057
4443122168B16B   DANCEL         AHQUIN                   UT           90014652216
4443214435B58B   GEORGE         GALLEGOS                 NM           90010431443
44433511572B43   ANNETTE        HERMAN                   CO           90013735115
4443422612B87B   JAMES          ARCHER                   ID           90013292261
4443457448B16B   JENNFIER       JAVIER                   UT           90008975744
4443847A44B271   RACHEL         MOYERS                   NE           27016274704
444398A595B53B   ESPERANZA      REYES                    NM           90011388059
4444245AA5597B   KATHRYN        CERONSKY                 CA           49063834500
4444332A48B16B   MIKE           FRANDSEN                 UT           31012443204
4444418177B426   ROXANA         BENDEZU                  NC           90004641817
44446498472B4B   JOANN          DAVILA                   CO           33078384984
44447774A61963   ROXANA         CANELA                   CA           90010527740
44449176372B36   TAMI           HUNT                     CO           33006501763
4444B75385B222   MARIA          SANCHEZ                  KY           90014977538
4445156948B163   KEVIN          PAREJA                   UT           90014075694
4445219565B597   JOSE           GONZALEZ                 NM           90011831956
4445B96425B53B   MICHAEL        BAROS                    NM           90015239642
4446552985B53B   VERONICA       PORTILLO                 NM           90010955298
44468516A5B58B   DESIREE        GONZALES                 NM           90010255160
4446891A191569   KENNIA         LARA                     TX           90010479101
44468A34851382   DAVID          TIMMONS                  OH           90006330348
4446926318B165   STEPHANIE      ROBBINS                  UT           90005972631
4447226595B597   RAQUEL         HERNANDEZ                NM           90011832659
444731AAA2B27B   BRUCE          BITNOFF                  DC           90012981000
44474276972B36   RONALD         LAX                      CO           90013042769
444749A2461963   JUAN CARLOS    HORTA                    CA           90011479024
4447562A355939   MARGARET       MEDINA                   CA           90011356203
44477A79691873   MICHAEL        MEGEATH                  OK           21067860796
44479177472B36   KEVIN          BELL                     CO           90012491774
4447B21A661967   MERCEDES       MONDRAGON                CA           90012782106
44482247A72B36   STEPHAN        COX                      CO           90003682470
44483A88591523   ROZZY          GODINEZ                  TX           90011580885
4448419175B58B   SHAWN          SCHNERCH                 NM           90011891917
44484359A55939   VERONICA       GALLARDO                 CA           90009573590
4448739A891569   CELENE         CERVANTES                TX           90014713908
44492984A72B43   SYLVIA         MARQUEZ                  CO           90011179840
444B182385B597   ERIK           CABRERA                  NM           90006838238
444B234AA91351   HENRY          MIRANDA                  KS           90013273400
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444B323A761963   JUAN           VALENCIA                 CA           90008172307
444B588485B222   SAUL           MIRANDA                  KY           90012678848
444B642A45B222   SHIRLEY        WILLIAM                  KY           90010144204
4451164A961963   MORGAN         CORDNER                  CA           90006216409
44512884A91569   JESUS          AGUILERA                 TX           90011448840
44518621472B43   CARLOS         ROBLES                   CO           90009686214
44518762172B36   ARTURO         DOMINGUEZ                CO           33032297621
4452131AA2B27B   ELISHA         KING                     DC           90013273100
44521338472B4B   KEMARI         STEELE                   CO           90011423384
44521811A72B98   GUSTAVO        VELA                     CO           33068568110
445223A4172443   TASHA          EVANS                    PA           51092933041
4452839718B16B   DANA           ALDER                    UT           31033313971
4453169A651334   CANDACE        ANDERSON                 OH           90014716906
4453193A35B398   MUSTAFA        HASSAN                   OR           44590939303
4453276182B27B   NELSON         ARIAS                    DC           90013097618
44532A1552B87B   ROBERT         DAHMS                    ID           90014850155
44533A4332B87B   BRANDON        HUGHES                   ID           90011890433
4453579725597B   KAROL          CAMPBELL                 CA           90014137972
44536A5835597B   REYMUNDO       SIVA                     CA           90012620583
44538A71291569   JESUS          PORTILLO                 TX           90007940712
44539A5482B27B   JOCELYN        SMITH                    DC           90014390548
4453B55164B271   ADRIAN         DIAZ                     NE           90012235516
4453B966661963   MICHAEL        DE LA CERVA              CA           90013779666
4453B998372B98   CONA           COMM                     CO           90012349983
44543A38472B43   GREG           ORTIZ                    CO           90011410384
445444A6372B43   FRANCISCO      MENDEZ                   CO           90012784063
4454823188B16B   STEPHANIE      ARCHULETA                UT           90008062318
4454934135B388   LEYDI          GONZALEZ                 OR           90012503413
4454B184276B27   DOMINGO        JUAN                     CA           90010701842
4454B41168B16B   SEBRINA        PEREZ                    UT           90011854116
44551A63191873   CALVIN         TURNER                   OK           21033080631
4455429A861967   JAIRO          HERNANDEZ                CA           90012772908
44556535A72B4B   KATHERINE      RICHIE                   CO           90010385350
44556738A91523   GRANT          WILLIAM                  TX           90006987380
44559796872B4B   MARK           RODRIGUEZ                CO           90012637968
4456282265597B   CLAUDIA        LOZANO BERMUDEZ          CA           90012158226
44564399A5597B   ROBERT         PEREZ                    CA           49094543990
44566A55A72443   HILDA          THOMAS                   PA           90005340550
4457636955B174   KEVIN          GOLDEN                   AR           90013483695
44577321A2B879   DAVE           ANDERSON                 ID           90007013210
44578A22851334   PATRICIO       CHAVEZ                   OH           90012280228
4457999744B547   DARLENE        TESKE                    OK           90012119974
4457B169A5597B   LENITA         AGUILERA                 CA           90006591690
4458485565B555   MICHELLE       PETTUS                   NM           90014248556
4458B4A3933443   STEPHANIE      WALDEN                   AL           90014634039
44591944A72B4B   JOSEPH         DANIEL                   CO           90010249440
445943A1461963   DANNY          VARGAS                   CA           90014133014
4459718A22B27B   TEESHAUN       SAMUELS                  DC           81014001802
4459829242B27B   DEBORAH        TIMMS                    DC           90012372924
4459989555B271   VALARIE        BLAND                    KY           90011878955
4459B74495B52B   JARED          LOVATO                   NM           36005097449
4459BAA6261963   HILDA          IBARRA                   CA           46092250062
445B528535B52B   ALONDRA        ORNELAS                  NM           90010072853
445B5773572B36   DANIELA        HERNANDEZ                CO           90013327735
445B649925B52B   ALICIA         PEREZ                    NM           90011514992
445B6592A72B36   MOSES          MICHAEL                  CO           90012185920
445B692835B52B   ANITA          MONTOYA                  NM           90012999283
445B716645B58B   MARIO          OTERO                    NM           35083841664
445B9665661963   JADA           JACKSON                  CA           90006576656
445BB31815B53B   JENEVA         ESPINO                   NM           90008913181
445BB712491351   BUBBS          BECERA                   KS           90004047124
445BB762872443   LINDSEY        WEIMER                   PA           90014857628
4461276524B271   TRACY          YOUNG                    NE           90006067652
446128A1472B36   SANDRA         CRAFT                    CO           90004708014
4461372542B27B   SHEARICE       HOLTON                   DC           90014287254
44614924A51326   JAMES          HENRY                    OH           90010239240
44616532A5B174   CHRISTINA      CHAPPLE                  AR           90014745320
4461B966661963   MICHAEL        DE LA CERVA              CA           90013779666
44621A36855939   JESUS          SANTOS                   CA           90012480368
44622413572B4B   BRIAN          STELMASZEK               CO           90014614135
44624462A51334   EFREN          MERINO                   OH           90014864620
4462B43172B27B   JONATHAN       HARGRAVES                DC           90011494317
4463392195B53B   VIRGINIA       GARCIA                   NM           35051059219
4463644A891873   MICHELLE       MARTINEZ                 OK           21063454408
446368A2A31959   ROY            GORVIN                   IA           90014428020
44636A59A5B597   SCOTT          REID                     NM           90011840590
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446388AA672B43   LARRY          WILSON                   CO           90004248006
44638A59A5B597   SCOTT          REID                     NM           90011840590
4463985AA2B27B   METRO          TEEN AIDS                DC           90010268500
44641968A71949   JENNIFER       KUTHE                    CO           90010839680
4464963A15B52B   KIMBERLY       HOLYFIELD                NM           36074066301
4464B16318B16B   JOSE           COREA                    UT           90012451631
4465173465B52B   GRACIELA       RIVERA                   NM           90015197346
44651AA7272B4B   STACY          VALDEZ                   CO           90014740072
4465333795B597   GIOVANNI       GARCIA                   NM           35037613379
4465393585B52B   CECILIA        ORTEGA                   NM           90007509358
44656414A61967   JOEL           GRIMALDO                 CA           46016434140
4465671915B53B   PATRICK        PENNINGTON               NM           90001537191
446568A3271934   AMY            DUTCHER                  CO           90009318032
446619A248B16B   SARAH          MATHIAS                  UT           90005699024
44664937A5B271   JAMI           ALCOCER                  KY           90013069370
4466661724B271   ISSIS          TOME                     NE           90013256172
44668275372B36   ISABEL         SARABIA                  CO           90011282753
44668794A91873   JAMES          JORDAN                   OK           90010347940
4467446275B222   ILAIS          MENENDEZ                 KY           90008914627
4467722158B16B   WYATT          PETERSON                 UT           90015132215
4467845334B271   TRINIDAD       BARAJAS                  NE           90001534533
44683766A2B87B   MARCUS         HEIDENREICH              ID           90011217660
4468495625B52B   WYNONNA        ENDITO                   NM           36015529562
44685752A5B597   ERIKA          FUENTES                  NM           90000987520
4468642A472443   AMBER          PAULSEN                  PA           90013574204
4468775215B58B   KASSANDRA      HERNANDEZ                NM           90012647521
44688A21772B4B   RIGOBERTO      GONZALES                 CO           33020470217
446936A575597B   JASON          WILLIAMS                 CA           90013536057
44693735A2B87B   JENNIFER       COOK                     ID           90015157350
44696246272B36   JOSHUA         CARRERAS                 CO           90005692462
446976A125B271   SUSAN          DINGES                   KY           90012456012
4469846518B16B   JOHN           JOHNSON                  UT           90009234651
4469B15392B87B   PAULA          KING                     ID           41087741539
4469B628372B36   JOSE           CABRERA                  CO           90014836283
4469B749972B36   VIOLA          CORDOVA                  CO           90013927499
446B147755B174   GABRIEL        NEWTON                   AR           90014524775
446B1A67191569   CRYSTAL        MARQUEZ                  TX           90013190671
446B34A875B597   IVANNA         MAESTAS                  NM           90006484087
446B375494B271   SOCORO         LUNA                     IA           90012627549
446B4A65871934   BECKY          DURHAM                   CO           90009790658
446B518A75B58B   GEORGE         YZQUIERDO                NM           90007051807
446B773672B27B   JOHANNA        AGUIRRE                  VA           90012927367
446B7971A2B87B   SCOTT          CHARLES                  ID           90010809710
44711962572B36   JEFF           WHITE                    CO           90013469625
4471218465B271   JIMMY          JACKSON                  KY           90012501846
447193A425B174   MAURICE        MCELROY                  AR           90013623042
4471B73342B27B   RASHAWN        ALEXANDER                DC           90014117334
4472112815B52B   FELICIA        MONTANO                  NM           36080161281
447222A9572B43   STEPHANIE      ARGUELLO                 CO           90005432095
44726A39A61963   CHRISTNA       KIMBER                   CA           90013110390
4472746A772B4B   LUPITA         MARTINEZ                 CO           33083284607
4472752565B271   THOMAS         BRANCH                   KY           68093805256
4472B717672B4B   JOSEPH         WOLF                     CO           90014307176
4473483914B271   ROBERTO        RIVERA                   NE           90007308391
44738A24771934   FABIOLA        ALCALA                   CO           90002620247
4473912462B87B   RICHARD        WILLOUGHBY               ID           90014731246
44739A85172B36   ALVIN          AYERS                    CO           33064750851
4474284425B597   CHRISTINE      ALMARAZ                  NM           35034618442
447484A135597B   JOVANY         GORDO                    CA           90014744013
4475466A15B222   NISHA          DAVIS                    KY           68000266601
44755A18A72B4B   TIYANA         LOPEZ                    CO           90008300180
4475B2A715B271   ANTOLIN        MARTINES                 KY           90012752071
4476344A172B4B   JAMES          LANG JR                  CO           90014114401
4476983695B52B   ADRIANA        MONTOYA                  NM           36010978369
44775A3645B174   LAJOY          WHITE                    AR           90000810364
4477746445597B   YENG           YANG                     CA           90004044644
44779A31633443   TAWANNA        BEDGOOD                  AL           90014860316
4477B141891351   MOSES          TODD                     KS           90014121418
4477B562655997   ELVIA          QUINTANILLA              CA           90001475626
44781A38433443   TAWANNA        BEDGOOD                  AL           90014860384
4478369A291351   MYNOR          DIAZ                     KS           90005206902
44786A8A791569   SANTIAGO       GUTIERREZ                NM           90012410807
44789471972B36   ALEXIS         FILIPPI                  CO           33097594719
44792436A61963   VICTOR         MEJIA                    CA           90014824360
447931A8971934   ROSA           FRANKO                   CO           90010431089
4479375195B58B   MARTHA         MUNOZ                    NM           90013487519
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44795A5597B426   ALEXANDER        MACHADO                NC           90007530559
4479B274A5B58B   DESTYNI          PADILLA                NM           90012072740
447B4378A8B16B   MARTINEZ         ANGELA                 UT           31016423780
447B4A1175B53B   SHIRLEY          HIELO                  NM           35005970117
447B64A8491523   JESSICA          GALLARDO               TX           90008714084
447B6514361967   DEBRA            MILLER                 CA           46006655143
447B6692691873   JAMES            CARTER                 OK           90012776926
447B8178251383   JEREMY           WILDER                 OH           90000981782
447B8779791351   SHAKIVA          SMITH                  KS           90014727797
447B985915B271   CHARLENE         PATTERSON              KY           68000838591
447BB164A2B259   MARIA            MARROQUIN              DC           90011691640
44815555872B4B   JUAN             PEREZ                  CO           90011965558
4482778375B174   VICTORIA         GREENLEE               AR           90008417837
4483499A92B27B   ADRIA            VARGAS                 VA           90012229909
4483878365B52B   JOSE             RODRIGUEZ              NM           90005677836
4484279962B27B   JANSEN           VERA                   DC           90010267996
4484B942191873   JAMES            LEE                    OK           90012139421
44851A63472B43   ANA              MARTINEZ               CO           90014770634
448521A9561963   ELFEGO           BECERRA                CA           90013621095
4485B165647954   RUBONIA          MCKIBBEN               AR           25078831656
448612A242B27B   TIFFANY          COWSER                 DC           90011102024
44861816A91351   CAL              ANDERSON               KS           90011948160
4486385752B27B   STORM            KILPATRICK             VA           90013618575
44865569A61963   VANESSA          CASTILLO               CA           90012955690
4486631AA55939   EUGENE           BLUE                   CA           90014723100
4486744728B16B   STEVEN           PRICE                  UT           90009044472
4486852245B222   JEREMIAH         KIMBALL                KY           90011185224
448687A1A91523   RICHARD          FRANCO                 TX           90011257010
4486B67145B58B   EFREN            ARVISO                 NM           90012046714
448717A898B165   JACOB            NEILSON                UT           90006697089
44871A1568B16B   STEVEN           CONNER                 UT           90011310156
4487355395B53B   VICTORIA         BUSTAMANTE             NM           90012525539
44873A92A5B222   NIKITA           FREEMAN                KY           90011170920
44874376A71934   DEANNE           BEATTIE                CO           90007853760
4487527965B52B   ANDREA           ARCHULETA              NM           90010712796
44877974A91569   RUBY             CEDILLOS               TX           90000889740
4487B59815B222   BRYAN            LUTTRELL               KY           90014875981
4488143564B592   KAKAWANA         GARRETT                OK           90009674356
44882158A8B157   CASSANDRA        NAVARRO                UT           90012631580
4488295784B271   YOUNAS           HERAVI                 NE           90010349578
448847A1A71934   NILDA            GONZALEZ               CO           90012927010
4488642525597B   MARY             ISRAEL                 CA           90013044252
4488751225B58B   BENJAMIN         CAMBRIDGE              NM           90011865122
448883A5961967   MONYETTE RENAY   JOHNSON                CA           90012773059
44888862672B4B   AMBER            SIMPSON                CO           33010668626
4488972A52B27B   ANNETTE          HAGENS                 DC           90012787205
4488B21988B165   JOSIE            HERRERA                UT           31074332198
4488B84717B422   SAMANTHA         LOCKLEAAR              NC           90011818471
448932A645597B   ANA              MARTINEZ               CA           90008632064
448932A912B27B   ANNETTE          SPENCER                DC           90002342091
44894335672B4B   MONICA           FLORES                 CO           90012403356
4489473618B16B   WESTLEY          YEE                    UT           90012907361
44895A94A5B222   JAMES            WILBERT                KY           90011170940
448983A9672B4B   SEVERIANA        CHAVARIN               CO           90010903096
448B17A5271934   ESTEBAN          SOLANO                 CO           90009487052
448B7517561963   MIRTA            NORIEGA                CA           90012955175
448B7528491569   MAYRA            RIVERA                 TX           90007855284
448B8835247954   KELLY            HANNERS                AR           90009738352
448B96A625B174   KIMBERLY         MUSGROVE               AR           90009256062
448B9A72271934   ANDREW           CORRION                CO           90011700722
449255A4672443   TARA             KIMMEL                 PA           90010205046
44931A51791523   TERESA           VASQUEZ                TX           90007020517
44935A13372B36   MATIN            CROCKER                CO           90014780133
449385A5191569   LUCY             MENDOZA                TX           75077755051
4493929A72B87B   DONALD           PETERSON               ID           90009822907
4493B439951334   MICHAEL          WILLIAMS               OH           66014564399
44949A86A91569   LUCCERO          COTRRRAS               TX           90012040860
4494B243591569   IVAN             JURADO                 TX           90008892435
4495488895B52B   GERMAN           ALDERETE-ESPINOZA      NM           90013158889
4495588825B58B   KIMBERLEE        ROGERS                 NM           90000608882
44955A54772443   WILLIAM          NICHOLSON              PA           90013930547
44957722172B4B   JESSIE           CARROL                 CO           90014307221
4495827175B58B   YOLANDA          ESPINOSA               NM           90011352717
4495915452B87B   JUSTINA          WAY                    ID           90014181545
4496185595B52B   ALEJANDRO        GUILBE                 NM           90013178559
449637A9631655   JAMES            BRUCE                  KS           90005087096
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4496442515B58B   PAT            MITCHEL                  NM           35092874251
44964749972B36   VIOLA          CORDOVA                  CO           90013927499
4496727495B271   PEGGY          WILSON                   KY           68032332749
4497198242B27B   MARCUS         MCKNIGHT                 DC           90010039824
44973A4367B495   MELVIN         JONES                    NC           90010720436
44978285A72B85   ROHEL          LEAH THOMPSON            CO           33094802850
4497871A65597B   CRISTINA       CRUZ                     CA           90013847106
449792A9531621   LIMBER         REYES                    KS           22014222095
4497999795B53B   SALVADOR       CONTRERAS                NM           90014849979
4497B812755939   BLANCA         REYES                    CA           90011388127
4498148465B53B   RUDY           ARAGON                   NM           90013494846
4498438785B271   JOSHUA         BURTON                   KY           90011623878
4498491782B87B   SHELDON        NELSON                   ID           90015089178
44986215772B36   STEVEN         UNEBERG                  CO           33003172157
4498758595B53B   ROSA           ARCE                     NM           90011855859
44987775172B4B   JEREMIAH       WHEELER                  CO           33017967751
4498B135861967   DEYNA          VILLAR                   CA           90008531358
44995836872B4B   JOSEE          VASQUEZ                  CO           90013568368
44997A99572B43   SARA           VALDEZ                   CO           90011200995
4499943392B87B   STEPHANIE      FORIM                    ID           90007384339
4499B17115B222   BRIAN          LOGAN                    KY           90010101711
449B223245B174   JASMINE        WILLIAMS                 AR           90011972324
449B2925461967   DEMARI         FOSTER                   CA           90011829254
449B321165B271   SUSIE          BERTRAM                  KY           90011082116
449B47A242B27B   KADIJA A       WHITE                    DC           90013227024
449B5A9A48B16B   SHARON         GOODIN                   UT           31085400904
449B938678B16B   DALLAS         CHIDESTER                UT           90012873867
449B98AA75B271   TREVIA         SPALDING                 KY           90011938007
44B13881A2B27B   KENDRA         JOHNSON                  DC           90013818810
44B143A865597B   ISRAEL         ARCEO                    CA           90013893086
44B15627372B43   SARA           OLIVER                   CO           33023546273
44B1661792B27B   RAMONA         HARRELL                  DC           90010096179
44B16A88461967   MITCHELL       MUNGNIA                  CA           90012740884
44B16A91A71934   SASHA          FINAN                    CO           32067830910
44B17656361967   MARIA          HERNANDEZ                CA           90014136563
44B17AA665B222   PERCELL        PETTY                    KY           90015080066
44B2253A241269   CHRISTINA      BERRY                    PA           90012825302
44B23338A91873   JAMES          HILL                     OK           90014063380
44B24362791569   JAIME          TREJO                    TX           90013273627
44B26771891569   JENNIFFER      HOLGUIN                  TX           90010327718
44B27732891351   LINDSEY        LUCAS                    KS           90014417328
44B31918472B4B   AURORA         RAMIREZ                  CO           90014599184
44B31986191569   LUZ            SANDATE                  TX           75040819861
44B32994372443   CHARLES        NUTT                     PA           90009499943
44B34632755939   DENICE         LOZANO                   CA           49080576327
44B35431151382   JAMIE          WHITAKER                 OH           66012794311
44B39431671999   SAM            REYES                    CO           38019624316
44B3943615B53B   MELODY         HERNANDEZ                NM           35083184361
44B3B746272B36   MARIA          MARIN AVILA              CO           90014617462
44B3B835247954   KELLY          HANNERS                  AR           90009738352
44B51943261967   NERY           GONZALEZ                 CA           90013059432
44B53466172B43   MARIA ISABEL   MARQUEZ                  CO           90007854661
44B5377455B52B   ALI            SHAIK                    NM           90004957745
44B54755372B36   KUMAR          PINKNEY                  CO           90012527553
44B5B815661963   DANIEL         MORALES                  CA           90014088156
44B64345155939   AMY            MOLINA                   CA           90011253451
44B6434735B52B   JOHNNY         GARZA                    NM           90012323473
44B66446A8B165   SHAWNDELL      SMITH                    UT           90003894460
44B6785392B27B   PHYLLIS        HARRIS                   DC           90012048539
44B68472784375   SHAWN          KAMINSKI                 SC           90008644727
44B6985965B52B   DESSIREY       CORDOVA                  NM           90012668596
44B6B234561963   PATRICK        FALLON                   CA           90013852345
44B71382181656   PHILL          ANCONA                   MO           29052953821
44B7159A55B526   CLAUDIA        TRUJILLO                 NM           90011285905
44B71984691569   MAGDALENA      MARRUFO                  TX           90008049846
44B7217AA2B27B   ZAHIRUDDIN     ASAD                     DC           81073701700
44B72417372B4B   SANTIAGO       BONILLA                  CO           90013434173
44B7263775B53B   SHAWN          HICKS                    NM           90011916377
44B74158471231   MICHAEL        COULSTON                 IA           90006881584
44B74395672B43   JESUS          RIVERA NAVA              CO           90008613956
44B7534782B87B   ASHLEY         DAILY                    ID           90009783478
44B76356791523   GILBERT        MENDOZA                  TX           75025873567
44B7736385B375   LESLIE         ROBBINS                  OR           90007653638
44B7B24115B597   DOLORES        VAZQUEZ                  NM           90013812411
44B7B83535B597   DOLORES        VASQUEZ                  NM           90011808353
44B85A76861963   JOCELYN        RIVERA                   CA           90012910768
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44B86267691523   LORRIE           ZEPEDA                 TX           75055802676
44B86413851334   SOTHY            PRIM                   OH           90000614138
44B8655612B87B   ROD              ROBINS                 ID           41052265561
44B87588872B43   MISTY            CASILLAS               CO           90010565888
44B88762A7B453   ISMAEL           GUATEMALTECA           NC           90011237620
44B9128952B27B   ABBY             RICHARDSON             DC           90012372895
44B9318A272443   CARL             SELINGER               PA           51006011802
44B93869761963   AMANDA           SOKIMI                 CA           90013968697
44B95539972443   SHAWN            WALSKEY                PA           90008925399
44B95712491351   BUBBS            BECERA                 KS           90004047124
44B96248961963   MARIO            RAMIREZ                CA           90014872489
44B9786865B174   LEOPOLDO         VAZQUEZ                AR           23002038686
44B99755A2B87B   CASSANDRA        MONROE                 ID           90011087550
44B9B783491523   ALEJANDRO        VASQUEZ                TX           90007887834
44BB1143672B47   SANDRA           VARGAS                 CO           90012721436
44BB3762191523   MIA              BARRERA                TX           90009707621
44BB47A242B27B   KADIJA A         WHITE                  DC           90013227024
44BB4A78751336   LEANNE           MOORE                  OH           90011050787
44BB9867593747   KEVIN            KEMPER                 OH           90009728675
4511326934B271   REBECCA          KUHN                   NE           90009492693
4511429985B222   DOUGIE           HIBBS                  KY           90014842998
45115589672B36   JUAN             GONZALES               CO           33004455896
4511691AA5597B   TARELL           JACKSON                CA           90012489100
451194A5772B36   THOMAS           GORDON                 CO           90008764057
45122139872B4B   MARIE            LANG                   CO           90012901398
45126164772B3B   SHANICE          DAVIS                  CO           90013281647
45127A27491569   GARY             PEARSON                TX           90013800274
451281A9791569   DELIA            DUARTE                 TX           90015121097
4513313865597B   LILIANA          NAVARRO                CA           90012911386
4513453A855939   BERENICE         ESPARZA                CA           90010865308
451352A475597B   MADISON          MANGRUM                CA           90012782047
4513599182B27B   BRIAN            HOLMES                 DC           90013979918
4513846277122B   DANIELLE         BLISS                  IA           90013954627
45143132972B24   JOSIE            VONDRA SMITH           CO           90010641329
45143387772B3B   BRYAN            WILLIAMS               CO           90013023877
4514598715B53B   JOSE             HERNANDEZ              NM           90010809871
4514626277B262   ALEXUS           LAY                    NV           90012482627
451468A5372B25   ADRIENNE         BARTLEY                CO           90012278053
4514738625B222   DODDA            DON                    KY           90012633862
45149A84483B48   RICHARD          LAUGHLIN               TX           90011860844
4514B255772B36   BRITTANY MARIE   PACHECO                CO           90013312557
45151557A5B222   GARY             NALL                   KY           90014425570
45151A2825B222   GARY             NALL                   KY           90011980282
4516491185B58B   JOHN             SANDOVAL               NM           90011309118
45169442472B36   BOBBY            BONNER                 CO           90013064424
4516B158572B3B   CHRISTOPHER      BUSTOS                 CO           90013031585
45172537A72B36   ROBERTO          RODRIQUEZ              CO           90010245370
45173964A91569   ANTIONE          SMITH                  TX           90013819640
4517425568B16B   ROBERT           ANDERSON               UT           31086152556
4517615455B174   DONQUETTA        SUTTON                 AR           90010971545
451764A835597B   LINDA            MORALES                CA           90013724083
451784A578B355   JONEISHA         BARBER                 SC           90012934057
4518842A38B355   JELISHA          HYATT                  SC           90010274203
451884A9161963   IVAN             ZARATE                 CA           90005554091
4519277855597B   MIREYA           REYES                  CA           90013277785
4519B99478B165   WALTER           SAGUACHI               UT           90006279947
451B2A43791873   BRETTAN          HOULDIN                OK           90011610437
451B4738991569   CESAR            GONZALEZ               TX           90010217389
451B4821672B4B   ANTHONY          MAGANA                 CO           90011188216
451B5A66477543   HANNAH           SITZE                  NV           90001320664
451B6684A5B174   ANGELA           MORENO                 AR           90013006840
451B691185B58B   JOHN             SANDOVAL               NM           90011309118
451B9382A72B3B   JENNIFER         ZUBIA                  CO           90013023820
451B9468872B3B   AMANDA           MENDOZA                CO           90013934688
451B9927691569   STEPHANIE        RAMOS                  TX           90002369276
451BB374372B3B   NELDA            AGUIRRE                CO           90013023743
451BB74774B271   RAFAEL           GARCIA                 NE           90013567477
452131A1991569   CLAUDIA          VAZQUEZ                TX           75087171019
45215A8965597B   MARY             JASSO                  CA           90014850896
4521981278B16B   TRINA            WILLIAMS               UT           90012148127
45219A58991988   JAMIE            SPRUILL                NC           90014930589
4521B364991873   SARA             ARZU                   OK           21011363649
452216A895597B   DOLORES          SOLIS                  CA           49084026089
4522765349155B   HUNTER           QUARTERMANE            TX           90012056534
45227A53A72B43   ARON             STRODE                 CO           90011090530
4522854265B174   LADARA           WILLAMS                AR           90011085426
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 439 of 1007


4522893325B174   ROCHELLE       WHITLEY                  AR           90014619332
4523449568B355   CHRISTIAN      PORTER                   SC           90013334956
45238A41972B36   JON            BANNISTER                CO           90013610419
45245A16391569   CHRISTINA      VILLEGAS                 TX           90014910163
45246285A61967   JORGE          LOPEZ                    CA           90011842850
45246568972B3B   JUAN           CARLOS                   CO           33053795689
45249395A4B271   JOHANN         JOHNSON                  NE           90013693950
4525736329376B   ROBYN          PAULIN                   OH           90005383632
45258468A5B52B   SHANTEL        VALDEZ                   NM           90012434680
45263255A5B174   ROSA           HERNANDEZ                AR           90013242550
45265A25891569   HECTOR         CARRANZA                 TX           90014330258
452673A7872B4B   JENNIFER       ROSE                     CO           90012043078
4526825875B222   BIANCA         NORRIS                   KY           90012012587
4526884235B58B   JOSE           LARA-ESPINOZA            NM           90002138423
4526B996A5B222   TEJ            RAI                      KY           90015009960
45273761A61963   LORENA         SIGALA                   CA           90011347610
4527728832B27B   STEPHANIE      JAMISON                  DC           90012022883
45279918A2B27B   JOSE           HERNANDEZ                DC           90012269180
45282A26155939   RHAE           CRAVINS                  CA           90008940261
45283574A5B52B   CRYSTAL        ROMERO                   NM           36072835740
452836A2171999   KRISTIN        LUJAN                    CO           90010976021
452856A2171999   KRISTIN        LUJAN                    CO           90010976021
4528639755B58B   ERIC           ROJANO                   NM           90014763975
4528831A372B3B   KRISTI         BISHOP                   CO           33022813103
45291957972B4B   RAMIRO         DE LA TORRE              CO           90011979579
45294948272B3B   CHERRE         JOHNSON                  CO           90008609482
45299A27491569   GARY           PEARSON                  TX           90013800274
452B21A755B53B   GABE           PEREA                    NM           90013431075
452B2739361963   JASMINE        JOHNSON                  CA           90013957393
452B423A55597B   AIOTEST1       DONOTTOUCH               CA           90015122305
452B4827655939   DESIREE        GONZALES                 CA           90013808276
452B6822891873   PATRICIA       BARTHOLOMEW              OK           90011568228
452B8262571999   MICHAEL        BEURMAN                  CO           90014822625
452B831555B53B   DAVID          GIRON                    NM           35009903155
452B9838A8B16B   SHEILA         ARRATS                   UT           90007578380
452BB572472B43   SANTOS         FORTANEL                 CO           90014675724
4531148562B27B   REGINALD       LOFTUS                   DC           90012994856
4531185A171999   NATHANIEL      MONTEZ                   CO           90012388501
4531219585B222   CHANNEL        CALDWELL                 KY           90013991958
453121A1251334   CHARLES        MCGINNIS                 KY           90013191012
4531258125B53B   VIANEY         DOMINGUEZ                NM           35066925812
45313711272B36   OSCAR          MOLINA YANEZ             CO           90010597112
45317416A72B3B   ISRAEL         FUNEZ                    CO           90013024160
45317536772B36   LUIS           ROBLES                   CO           90004175367
45317A1A951334   KYLE           WEIDNER                  OH           90011370109
4531B14485B222   JOSHUA         KUSTES                   KY           90009981448
45323A9228B16B   REBECCA        VERT                     UT           31086800922
4532576A361967   MARIA          ROMERO                   CA           90004757603
4532876A85B58B   CHRISTINA      CDEBACA                  NM           90009707608
4532989435B58B   DANIEL         THILBURG                 NM           90013348943
45331443A5B58B   MIGUEL         PACHECO                  NM           90011894430
4533149982B27B   DAMARCO        MORGAN                   DC           90012994998
4533242948B165   AMALIA         GONZALEZ                 UT           31077674294
45333416372B3B   CYNTHIA        BLAKEY                   CO           90013024163
4533562282B87B   MORGUNN        CALL                     ID           90014716228
4533835A18B355   IVAN           GARZA                    SC           11000783501
45338421172B3B   JOHN           HAY                      CO           90013024211
4533911AA91569   JACKIE         ACHONDO                  TX           90010461100
4533B942291988   JASMINE        WRIGHT                   NC           90012579422
4533BA11291988   LORLAINA       J FUNDERBURK             NC           90007000112
45344A25A72B4B   TALIA          HALE                     CO           90010660250
45346A26671999   CHRISTINA      FIERRO                   CO           90014650266
45346A63271999   BRIAN          ROMERO                   CO           90012420632
4534723167B334   MOHAMMADD      SAHAKIL                  VA           90013552316
4534872374B271   THOMAS         BENKIS                   NE           90007387237
4534B286171999   CHRIS          STEWART                  CO           90013352861
4534B925391873   LADONNA        GOEBEL                   OK           90001689253
45352165972B3B   JOSE           SOTO                     CO           90013031659
453535A4972B36   LUZ ADRIANA    LARA                     CO           90013985049
45354426A72B3B   BRANDON        BROOKS                   CO           90013024260
453545A3591988   CAPRISE        CHAMBERS                 NC           90011865035
4535879642B27B   BOBBY          SINGH                    VA           90013147964
4535982A35B222   JOSHUA         DUNFORD                  KY           90008328203
45362255A8B16B   MANGALEY       RAI                      UT           90013272550
45362339472B36   SHARON         SUNDERLAND               CO           90010183394
4536484A28B16B   YAJAIRA        SAMANIEGO                UT           90013968402
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4536553A45B222   WILLIAM          HARDY                  KY           90010365304
4536593578B165   LOIS             LEAVITT                UT           90002629357
4536631A75597B   ALVARO           RODAS                  CA           90012773107
4537134175B52B   ELIAS            GARCIA                 NM           90007413417
45372767A5B53B   VIRGINIA         MONTOYA                NM           90008667670
4537771715597B   AIOTEST1         DONOTTOUCH             CA           90015117171
45384895A5B58B   JOHN             BRUMMETT               NM           90013178950
4538588175B222   BRITTNEY         THOMAS                 KY           90012798817
45388274A72B3B   KHADIJA          RATCLIFF               CO           90013832740
4538B533881639   ANGELA           HICKS                  MO           90008825338
4538B5A492B27B   DERRIKA          TIBBS                  DC           90012995049
4538B878272B3B   WRIGHT           ANTWON                 CO           90014838782
45391432972B3B   TIMOTEO          SENA                   CO           90013024329
4539383A35B174   MELISSA          GARNER                 AR           90009788303
4539425722B27B   LACHELLE         WALKER                 DC           90010782572
45398196972B36   MARCARIA         JUAREZ-GONZALEZ        CO           33029051969
45399247A91873   MICHAEL          MALONE                 OK           90013082470
4539B497371999   CONNIE           SHENEFELT              CO           90006174973
453B357188B355   JEFF             WILLMORE               SC           90013335718
453B396298B16B   FINAU            HEATHER MAREE          UT           90006549629
453B7854472B43   CHRIS            TORRES                 CO           90006058544
453B827A95B222   COURTNIE         LOVE                   KY           90008562709
453BB42435B222   JAMES            WILBERT                KY           90015244243
454141A6693751   JATAE            TISDALE                OH           90005411066
4541472A491569   ALEX             MAESE                  TX           90011897204
45415221772B43   SANDRA           LOPEZ                  CO           33050562217
4541757188B355   JEFF             WILLMORE               SC           90013335718
4541B217A5B53B   JULIAN           CHAVEZ                 NM           90003442170
45423A13A61963   LISA             LUNSFORD               CA           90007390130
4542874232B27B   THOMAS           CONLEY                 DC           90014727423
45429A5617B421   MANDY            QUEVEDO                NC           90013030561
4542B27725B52B   HEAVEN           NATSEWAY               NM           90010112772
4543136AA5B52B   GABY             LOZOYA                 NM           90005493600
45431598A72B3B   MANUEL           MARTINEZ               CO           90007795980
45432443772B3B   JOSE HERIBERTO   LECHUGA                CO           90013024437
4543344765B52B   JOANNA           RODRIGUEZ              NM           36066244476
4543421342B87B   JEFFREY          HOWELL                 ID           90013232134
45435377272B3B   JENNIFER         PRAEGER                CO           90013093772
4543618A891569   JACOBO           SIERRA                 TX           90013411808
4543929198B355   MARCO            GARCIA                 SC           90008992919
4544258135B174   TIFFANY          ROLAND                 AR           90014875813
4544796252B27B   JAMES            WOODARD                DC           90012919625
45452448572B3B   JUANITA          HERREARA               CO           90013024485
4545372615597B   ANTHONY          STEWART                CA           90001997261
45453A14791523   JESUS            DIAZ                   TX           90011260147
45453A87691873   ERMELINDA        THOMAS                 OK           21043400876
4546167145B58B   EDWIN            DUARTE ROJAS           NM           90012446714
454616A7451334   URSLA            SIMMONS                OH           90006786074
4546337A171999   DUSTIN           DAVISON                CO           90012583701
45463A9728B355   WILLIAM          BROOM                  SC           90007560972
45468455672B3B   ANOTONIO         LINARES                CO           90013024556
4546921A58B16B   JAMES            SATUALA                UT           90013352105
4546B365972B36   JOSE             NAVA                   CO           90004293659
4547156A572B43   JILL             GUERRERO               CO           33086305605
454729A6872B36   MARIA            ESCAJEDA               CO           90010799068
4547814A847954   CHARLES          GILLUM SR              AR           25067691408
4547B15745597B   SOPHIA           TELLO                  CA           90014891574
4547B32455B53B   KENNETH          DRASHNER               NM           90012593245
45483A8744B271   CAPRICE          GREY                   NE           90012660874
4548751A147954   TRACY            STACY                  AR           90012775101
45488A8285B174   DESTINY          GARRISON               AR           90014480828
4548926665B53B   GARRETT          PEAK                   NM           90013962666
4548B423991523   VERONICA         AVILA                  TX           90007104239
45495466A72B3B   ERNEST           SANTIAGO               CO           90013224660
45497275A5B53B   TANYA            VAISA                  NM           90010582750
4549B687851334   WILLY            CASTANEDA FRANCISCO    OH           90012176878
454B239375B53B   JOSE             CARRILLO-BARRAZA       NM           35039063937
454B3395972B3B   GIOVANNI         GARCIA                 CO           90010983959
454B3578561963   CAROLINA         TORRES-GOMEZ           CA           90012715785
454B3623161963   OSCAR            RODRIGUEZ              CA           90014266231
454B61A9791569   DELIA            DUARTE                 TX           90015121097
454B869A571999   ASHLEY           FRANCES                CO           90010986905
45513133172B3B   JAZZMEN          CASIAS                 CO           90014161331
45514865472B4B   DARCEY           MALOID                 CO           90014768654
45517342A91873   CINDY            TERRY                  OK           90004953420
4551923335B53B   HELEN            HERNANDEZ              NM           90014432333
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455237A2A8B16B   LUIS              LARA                  UT           90014907020
4552736144B52B   SHARON            WINSTAD               OK           90008683614
45528737772B36   TIFFANY           NORRIS                CO           33053587377
45529A61A61963   NORISA ANNE       ZAMORA                CA           90011960610
4553768735B53B   ROBERTO           ROIG                  NM           90014546873
4553B122591873   NORMA             CUETO                 OK           90006661225
4553B895A91873   TREYLOR           DREADFULWATER         OK           90014158950
45547578272B36   NATASHA FRANCIS   DOWDEN                CO           90014365782
4554B17A85B174   HUBERT            SALLIE                AR           90014511708
4555279895B174   FRANCINE          BILLINGS              AR           90008307989
45552A34271999   JOE               ZAVALA                CO           90010990342
45553552872B36   ARTURO            VALDEZ                CO           33013385528
455556A9485941   SULA              COOK                  KY           90006106094
455557A9355939   PEDRO             LLANGA                CA           90010337093
45555A34271999   JOE               ZAVALA                CO           90010990342
45556127172B4B   PATRICIA          BRAVO                 CO           33080291271
4555735465B222   JOSEPH            BROWN                 KY           90014263546
4555857764B271   PHILLIP           JEMISON               NE           90013755776
4555892675B53B   KENT              MCKNIGHT              NM           90010839267
45559A45791988   JENNIFER          OWENS                 NC           90015130457
4555B86635B53B   CHRIS             TABOR                 NM           90014118663
45561232A55939   ANTONIO           SANCHEZ               CA           90013232320
45563A89391569   THOMAS            HUBBARD               TX           90007980893
4556731A172B4B   WENDY             MACHO                 CO           90002863101
4556863A891569   MIRIAM            CROSBY                TX           90004186308
45568A6642B253   ROSILYN           BRATCHER              DC           90001460664
4556B5A1773264   CHRISTINA         DARLING               NJ           90014505017
4556B671361967   CHESTER           COPPERPOT             CA           90010546713
4556B799691988   RAYMOND           ROBINSON              NC           90010127996
4556B937991523   ALMA              TENA                  TX           90009709379
4557457472B27B   TEMESGHEN         GHEBREMARIAM          DC           90012775747
45577A4262B87B   ELI               MCCORMACK             ID           90011810426
4558238515B222   ROBIN             YAEGER                KY           68096203851
4558268775B222   ROBIN             YAEGER                KY           90014086877
4558899355B52B   IRENE             MEDINA                NM           90008189935
4559147A55B222   BRANDON           MCALPINE              KY           90012974705
4559B26742B87B   CHARLYEANN        WRIGHT                ID           90011012674
455B472AA72B25   SERGIO            AGUILAR               CO           90001577200
455B66A2691523   JOSE              SALAZAR               TX           90008726026
455B6888772B3B   BETO              TORRES                CO           90013968887
455B776995597B   WENDIE            GARCIA                CA           49083367699
455B9A61172B36   MR                TONKA                 CO           90010130611
455BB41AA72B36   DALLAS            BURKE                 CO           90009164100
455BB7A1472B47   AKUA              AMOAKO                CO           90008567014
45612969172B4B   FATIMA            MERCADO               CO           90014959691
45615A65A72B47   COURTNEY          STODDARD              CO           90013320650
45621478672B3B   TASHARRA          HENDERSON             CO           90010544786
4562349525B53B   FRANKLIN          CHACON                NM           90012864952
4562352215B53B   FRANKLIN          CHACON                NM           90013755221
45624165372B4B   DAMON             BOLTON                CO           90012651653
4562551395597B   LATASHA           WILLIAMS              CA           90010035139
4562695668B16B   BRITTANY          ATWOOD                UT           90011309566
4562861622B27B   LISA              THOMAS                DC           90014866162
45631818A8B16B   KIMBERLY          PROKOPIS              UT           90002938180
4563573275B52B   AMANDA            MAES                  NM           90010967327
45637AA588B165   SENETI            KATOA                 UT           90012920058
4563BAA974B271   MATTHEW           SNYDER                NE           90014510097
4564B83654B531   PHILLIP           BAKER                 OK           90008488365
45651744A51334   JENNY             DEES                  OH           90011967440
45653486272B3B   CECILIA           LOPEZ                 CO           90010544862
4565367925B58B   VINCENT           MEDURE                NM           90010926792
45653A98671999   MARY              MARTINEZ              CO           90014430986
45655948A4B271   CHRISTINE         LAVERA                NE           90011279480
45663256A47954   JONATHAN          HERNANDEZ             AR           90013282560
4566532A47B46B   WILLIAM           MASON                 NC           90002043204
456716A395B52B   PHILIP            HERRERA               NM           90006656039
45672856272B3B   CHIRLEY           MCMANAMAN             CO           90013038562
4567356135B222   FREEDA            NADDOX                KY           90014385613
4567927A447954   RONALD            PRYOR                 AR           90012702704
456794A9772B4B   BILLY             SMITH                 CO           90011084097
4567B357361963   WALEED            ISHAQ                 CA           90009903573
4567B816372B43   JULIO             ESTRADA               CO           90010748163
45683AA888B355   QUANTIS           ANTHONY               SC           90010810088
45686A92191523   PATY              HERNANDEZ             TX           90011260921
45688A65272B3B   JULIE             WARNER                CO           90011180652
45689181A7B461   ASHLEY            STRONG                NC           90012531810
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45691513A72B36   STEPHANIE      TACINAS                  CO           33057545130
456958A6672B43   CORI           BROWN                    CO           90012038066
456B123A18B186   TIMARIE        BAXTER                   UT           31076232301
456B461555B58B   LEANORD        ARAGON                   NM           90010026155
456B468A172B36   GABRIEL        GONZALEZ                 CO           33012376801
456B5968881639   MARISA         MAN                      MO           29042569688
456B6539A93767   JAMICA         RUSSELL                  OH           64549695390
456BB65618B355   ERICA          THOMPSON                 SC           90014996561
456BB9A1A8B355   TERRANCE       DAWKINS                  NC           90011919010
4571149995B52B   DEBBIE         DURAN                    NM           90001484999
4571B641972B36   MELISSA        AVILA                    CO           33081456419
4572354125B52B   MICHELLE       MORALES                  NM           90011175412
4572426616197B   RUBEN          LUNA FLORES              CA           46024572661
4572496262B27B   SHAMIKA        GUNN                     DC           90013379626
457271A9491988   TIFFANY        SMITH                    NC           90013841094
45728575172B43   SAMANTHA       JOHNSON                  CO           90012105751
4572B871891569   DANNY          CHAVEZ                   TX           90010538718
45731381272B4B   MICHAEL        BERNAL                   CO           90012793812
4574442855B53B   PALMIRA        GUTIERREZ                NM           90004294285
4574696272B27B   JUSTIN         CADLE                    DC           90014009627
457483A6881639   SHAUN          MCGHEE                   MO           90014073068
45749282272B43   CRISTIAN       PENA MORALES             CO           90014362822
45749654A5597B   MANUEL         ROQUE                    CA           90003116540
4574B79642B27B   BOBBY          SINGH                    VA           90013147964
4575461885B222   DAVID          ROSENBERG                KY           90015146188
45755891872B4B   DAMIEN         MICHAEL-LAVALEE          CO           33004148918
4575592282B87B   JONATHAN       MARBLE                   ID           90013949228
457562A9A72B43   JUAN           ANDRADE                  CO           90011152090
45758A68191873   LEONEL         SOTO                     OK           90014160681
4575927258B16B   BERTHA         OCAMPO                   UT           90011082725
4575B56845B53B   JONATHAN       ORTIZ                    NM           90014435684
4575B939291988   JOSE LUIS      CASTILLO                 NC           90013919392
4575B9A7155939   LARRY          DONNELL                  CA           90012909071
45763266572B3B   WILMER         CRUZ                     CO           90015182665
4576364A45B222   ZAKEE          AJENE                    KY           90013746404
45763767472B3B   MIRANDA        SUMNER                   CO           90004997674
4576383272B87B   REINA          SCHOCH                   ID           90014158327
4576431A672B36   LOUIS          GONZALES                 CO           90011453106
45764A64772B43   KAYLA N        KROLL                    CO           90013310647
4576579642B27B   BOBBY          SINGH                    VA           90013147964
4576627754B271   DARNELL        DAVIS                    NE           90013572775
4576717AA72B3B   MIKE           SAMPAIA                  CO           90013361700
4577376A95597B   JAUN RAMON     RIOS                     CA           90011767609
45774846A72B43   DENISSE        LOPEZ VEGA               CO           90012128460
45774A71372B3B   JESSICA        CHAVEZ                   CO           90014670713
4577578345597B   NISA           DE LA GARZA              CA           90011767834
457791A255597B   VIRGINIA       HALL                     CA           90014921025
4577B639691569   ISELA          GILLAM                   TX           90015126396
4578649525B58B   LORENZO        ELWOOD                   NM           90010104952
4578665198B16B   GLADYS         MAGELE                   UT           90010936519
4578B467593724   STACIE         VANBEBER                 OH           90009264675
4578BA45791988   JENNIFER       OWENS                    NC           90015130457
4579153625B53B   PATRICK        CHAVEZ                   NM           90015155362
45791A52391241   GREGORY        PEED                     GA           90009940523
457925A3191569   ERIKA          DE LEON                  TX           90011155031
4579328A851334   AMANDA         MERRITT                  OH           90013852808
4579751195B58B   MATTHEW        HOLTZCLAW                NM           90012925119
4579875665B58B   ANGELA         SALCIDO                  NM           90010697566
4579B752A47954   KIRK           BAFFLER                  AR           90012307520
4579B984A2B27B   AROLDO         VILLACINDA               DC           90013749840
457B179285B174   SHANEIKA       GILL                     AR           90011337928
457B3415372B36   DANIELLA       MISSEY                   CO           90014634153
457B4589472B47   CRYSTAL        KETTELER                 CO           90008295894
457B6615372B4B   CHRISTY        GARRETT                  CO           90001586153
457B721315138B   MICHAEL        DUNN                     OH           90009942131
457B8325472B4B   CHAMBRI        LOVAN                    CO           90014983254
457B872972B27B   JOSE           HERANDEZ                 DC           90013307297
457B92A4461967   ESTHER         GRAJEDA                  CA           90002872044
4581455999155B   FRANCISCO      RODRIGUEZ                TX           90012095599
4581667745597B   MISS XIA       VANG                     CA           49028566774
4581B54125B58B   BARBARA        KEYS                     NM           90013315412
4582184745138B   DEBBIE         CAMPBELL                 OH           90011048474
45822748A8B16B   WILLIAM        EATON                    UT           90013457480
4582553562B87B   VICTORIA       MCLEAN                   ID           90005645356
45825A28151348   KHALILAH       TITSWORTH                OH           90007980281
4582786A261963   ANITA          ADIBOYE                  CA           46016958602
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4582B221172B3B   JOSE           BARRASA                  CO           90013032211
458342AA85B174   BRIANA         HIGGS                    AR           90011412008
4583986A171999   STEVEN         WEIDNER                  CO           90013988601
45841224672B3B   SERGAO         MARTINEZ                 CO           90013032246
45847132A61945   MIGUEL         GARCIA                   CA           46049471320
458481A9372B4B   ANTHONY        GALLEGOS                 CO           90014511093
4584B735451334   LANI           WILLIAMS                 OH           90008857354
45851229572B3B   LEONARD        CASADOS                  CO           90013032295
4585449912B27B   JASMINE        HALL                     DC           90011994991
4585891665597B   OLIVIA         CONTRERAS                CA           90014929166
4586138115597B   MAURICIO       GARCIA                   CA           90009393811
4586429925B222   SHANE          SMITH                    KY           90013112992
4586915A691523   GUILLERMO      SAENZ                    TX           90011261506
45871A65855939   JENNIFER       ISLAS                    CA           90009480658
4587524A85B174   AUDRIONA       ROY                      AR           90014902408
4587568725B222   MARIA          VITTITOW                 KY           90011146872
4587631914B569   SHANE          LAMBERT                  OK           90014623191
4588115765B58B   VELISHIA       STEVENS                  NM           90014541576
45882915672B4B   PETRA          HARRIS                   CO           90013349156
4588363895B53B   GREG           MOLINAR                  NM           35065546389
45884892A61963   MARIA          ARAMBURO                 CA           90007618920
45888636A72B4B   DAWN           JACKSON                  CO           33089306360
4588869122B27B   CHANDANE       MUHYEE                   DC           90000806912
45892645A5B222   TERRI          CURTSINGER               KY           90004186450
4589613525B174   RAVEN          HAWKINS                  AR           90012251352
458967A7171999   ROBERT         WONNELL                  CO           90010297071
45897A38371999   ANTHONY        SOTO                     CO           90014970383
4589B868791569   ALEJANDRA      AVILA                    TX           90012148687
458B4561A5B52B   MIRNA          RODRIGUEZ                NM           90007855610
458B4A9A791523   KRISTY         DOMINGUEZ                TX           75084020907
458B7864891873   JARAN          HALEY                    OK           90011148648
458B8133361967   SANDRA         ROLDAN                   CA           46071721333
458B934185B222   MISS           SCOTT                    KY           90002993418
458BB41334B271   KENNY          ORELLANO                 NE           90015124133
45914A67291523   MARIA          VILLALOBOS               TX           75089500672
4591698892B87B   MICHAEL        VANLEEUWEN               ID           90014389889
4591997265597B   AMBER NICOLE   SCHREINER                CA           90014929726
4591B485191873   KARLESIA       CRAWFORD                 OK           90014174851
4592244265B174   JAIDE          VIDRINE                  AR           90013924426
459232A4A91873   AMARILIS       TORRES                   OK           90014162040
4593154645B222   JOSHUA         THOMAS                   KY           90013145464
45933399272B3B   ANDRES         QUINONES                 CO           33013953992
45933A2822B27B   LAFAYETT       DAVIS                    DC           90011690282
45934384272B36   JUAN           GUERRERO                 CO           90013923842
4593485585B222   DARON          POWELL                   KY           90010858558
45934A22472B36   TANYA          DURAN                    CO           90009120224
459366A392B27B   MICHELLE       ROBINSON                 DC           90012546039
45936A3575138B   ELAINE         ISOM                     OH           90006190357
4593B27425B58B   VALERIE        MARTINEZ                 NM           90012102742
4593B364647954   JOSE           PINA                     AR           90011353646
45941974572B3B   PACZOSA        MELISSA                  CO           33024929745
45945A48791569   JOSEFINA       GARCIA                   TX           75069750487
459473AAA41289   HOLLY          AUGUSTINOWICZ            PA           90015213000
459544A7255939   DANIEL         ANGELES                  CA           90011354072
4595486A65B222   ANTWAN         BELL                     KY           90013878606
45954915A91569   URIEL          VIRRUETA                 TX           90008219150
45955629272B3B   ABRAHAM        MAYNEZ                   CO           90009686292
4595761915B58B   ROBERT         MARTIN                   NM           90013166191
45959321372B43   CASSANDRA      DUSENBURY                CO           90007703213
45961517A91988   SHEILA         MCCAULEY                 NC           90011455170
45962137572B3B   ROBERTO        RAMIREZ                  CO           90012561375
45963A86472B3B   MELQUIADES     CABALLERO                CO           90014150864
45968312972B4B   ESMERALDA      ROBLES                   CO           90005273129
4596B517A91988   SHEILA         MCCAULEY                 NC           90011455170
4597144158B355   WENDY          LOVIN                    SC           90007844415
4597264428B355   DERRICK        POLK                     SC           90008646442
45975867972B4B   REGINA         MENDOZA                  CO           90007248679
4597B292791569   DELIA          RODRIGUEZ                TX           90013472927
4598221584B271   THERESA        WRIGHT                   NE           90013792158
4598229A42B27B   ANTONIO        EIKERENKOETTER           VA           90015132904
459872A5991523   MAYTE          ROSALES                  TX           90011262059
4598948A18B165   MIKE           HUNT                     UT           90006754801
4598B57985B222   BRANDI         ESTES                    KY           90012935798
4598B87565B58B   JOLENE         MEHRING                  NM           90007618756
4599376718433B   ERNEST         WILLIAMS                 SC           14596387671
4599425615597B   ANGEL          MENDOZA                  CA           90012972561
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45995A74172B36   JAZMINE        ROMERO                   CO           90011110741
45997A24671946   NATHANIEL      SMITH                    CO           90010750246
4599B637155939   ALICIA         GUAJARDO                 CA           49035866371
459B2969291524   JESUS          SERVIN                   TX           90012799692
459B34AA65B174   KISHA          STEWART                  AR           90007364006
459B368365B222   IVY            SILLIMAN                 KY           90012576836
459B4566791523   JUSTIN         SOLIS                    TX           90007155667
459B476832B87B   JEREMY         YOUNG                    ID           90012587683
459B479915B53B   DAVID          GOMEZ                    NM           90006307991
459B8448791873   TOREY          BOLES                    OK           90009054487
459B93A5361963   KATHLEEN       MONTGOMARY               CA           90014333053
459B9758781639   LAUNDRY        REED                     MO           90008207587
45B11873571999   JAY            HERNANDEZ                CO           90009938735
45B14283291523   CODY           TORLA                    TX           90011582832
45B171A9155939   TRICHELLE      ELLIS                    CA           90001391091
45B1937225597B   VERONICA       VACA                     CA           90012763722
45B21998A71999   ILYSIA         CHAVEZ                   CO           90012599980
45B25272391523   YAMEL          VASQUEZ                  TX           75057772723
45B254A1872B4B   SHARALYN       ERICKSON                 CO           33052354018
45B2657615597B   KIMBERLY       ADAMS                    CA           49071205761
45B2843AA2B27B   VONNIE         GREEN                    DC           90014614300
45B3233725B53B   BRENDA         SAENZ                    NM           90011333372
45B3418975597B   PHYLICIA       HILL                     CA           90012981897
45B3441938B16B   ANABEL         CRUZ                     UT           90005534193
45B36872991988   TELISHA        NICKERSON                NC           90007158729
45B39359472B3B   HECTOR         SOTO                     CO           90013023594
45B3941665B174   ALANNA         LEE                      AR           90012454166
45B39559291988   BELKI          DEL CID                  NC           90002885592
45B43A56991569   ALICIA         REYES                    TX           90006100569
45B44297591523   DONNA          MENDOZA                  TX           90000312975
45B4474762B27B   DONNA          DOWERY                   DC           90012377476
45B46211761963   MARIA          AGUILAR                  CA           46022682117
45B4644348B16B   ANGELA         STREHLOW                 UT           90014154434
45B46581372B3B   DON            GALLEGOS                 CO           90012035813
45B4817A28B355   RUBEN          FIARCIA                  SC           90010431702
45B48454491873   DONNETTE       BATES                    OK           90011464544
45B48A2A85B174   TAMARA         NATION                   AR           90008860208
45B571A5A91988   JASMINE        SCOTT                    NC           90012031050
45B57AA348145B   SHANNAON       SPIEGEL                  PA           90014470034
45B6538774B271   DAISY          MACIAS                   NE           90013363877
45B66513147954   AMBER          BRANDSON                 AR           90012985131
45B68769991873   RASHONNA       ANDERSON                 OK           90014767699
45B75696972B36   DANIEL         MAGALLANES               CO           90011876969
45B76499661967   GUILLERMO      ACOSTA                   CA           90011834996
45B76751361963   FERNANDO       SALAZAR                  CA           90013137513
45B7719A472B4B   ARACELI        MONTES                   CO           90011981904
45B7761755B222   TRAE           BATSON                   KY           90010046175
45B77828272B4B   ARACELI        MONTES                   CO           90009438282
45B78991171946   GEORGE         GUZMAN                   CO           90013259911
45B7919955B174   ANTEL          CARTER                   AR           90013661995
45B84267991569   SLYVIA         SAENZ                    TX           90013082679
45B84A7828B141   HUGO           RUIZ                     UT           31088210782
45B8551AA61967   NOEL           BARRON                   CA           90011835100
45B8986558B165   KELLY          ST ONGE                  UT           90011068655
45B9391865B52B   JENNIE         TORRES                   NM           90009639186
45B9496742B87B   BLAKE          DALE                     ID           90014869674
45B95218155939   MICHAEL        CHAVEZ                   CA           90011402181
45B9657925B264   JANICE         MILES                    KY           90007695792
45B96985491873   ERIC           SUAREZ                   OK           90012129854
45B98428991873   DINORAH        MELENDEZ                 OK           90014174289
45B98676172B3B   LEONOR         LABATOS                  CO           33009166761
45B98715172B36   VERNON         HARRIS                   CO           33056887151
45B98851291569   NATALIA        GONZALEZ                 TX           90007098512
45B99A47171999   DERIKA         FORRESTER                CO           90013330471
45B9B17A391873   KATINNA        RASCOE                   OK           90007561703
45B9B368A61963   TESEMA         MELKETO                  CA           90013533680
45BB3773A8B16B   JOSHUA         BRUNSON                  UT           90013887730
45BB4876772B43   MARIAH         FERGUSON                 CO           90013128767
45BB95A1272B36   IRINA          HANSAR                   CO           90014865012
45BB9652491569   IVONNE         RUEDA                    NM           90008446524
45BB9826955939   JOSE           CORREAS                  CA           90003688269
45BBB31695597B   TY             MEAS                     CA           90013033169
46111A6458B16B   SHERI          PANAS                    UT           90013940645
4611312697194B   ELIZABETH      BOBIAN                   CO           90014721269
4611658498B16B   ISIDRA         MARTINEZ                 UT           90012155849
4611897342B87B   DAISY          OTTO                     ID           90014339734
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46123461A51334   HENRY          BRIGHT                   OH           66067344610
4612B53A35B58B   KEVIN          LUNA                     NM           90014105303
4613115737194B   RICHARD        GALLEGOS                 CO           90014731573
4613266215B174   SEQOIYAH       TAYLOR                   AR           90014946621
461368A415B222   DONALD         HAGGARD                  KY           90014788041
46137384A54151   TAMMY          LAWRENCE                 OR           90003463840
46138286872B22   MICHAEL        OSAGE                    CO           90013082868
4613941188B16B   JOHN           MICHAEL                  UT           90013344118
4613948688B16B   JOHN           MICHAEL                  UT           90009034868
4613951275B53B   MELISSA        STEIN                    NM           90011405127
46141818672B4B   RICHARD        SHUMWAY                  CO           33015758186
46141A3865B222   APRYLL         BUEGE                    KY           90013800386
4614733A38B16B   JARED          SORENSEN                 UT           90010123303
461515A5A91953   BASHIRA A      SEAWRIGHT                NC           90007245050
4615345267B431   ROSALYN        BURRIS                   NC           11076144526
4615798A961967   NICOLAS        MALDONADO                CA           90000989809
46157A8737B457   ROBERTO        CORREA                   NC           90012500873
4615822415B174   TIMOTHY        CURRY                    AR           90011252241
4615B319A61967   BEATRIZ        ROMO                     CA           90010463190
4615B865347954   MELISSA        WASHBURN                 AR           90006718653
4616254877B431   ANITA          RICE                     NC           90014125487
4616756AA5B53B   AMANDA         LOPEZ                    NM           90010945600
4616757865B222   BRAD           MCINTIRE                 KY           90014545786
4616B677A47954   SHELLY         ADKINS                   AR           25031496770
4616BAA778B165   SHANNON        MILLER                   UT           90009300077
46172A1844B271   KENDRA         WILLIAM                  NE           27044660184
4617543AA5B222   TAKIA          HARRIS                   KY           90011964300
46177436372B43   SERGIO         RODARTE                  CO           90012214363
4617787765B53B   ANGELICA       HERNANDEZ                NM           35007608776
46178529A72498   AMY            PENNICH                  PA           90012165290
4617B92A15B174   CARZIE         BRENETTE                 AR           90015019201
4618224665B53B   EDWARD         THOMAS                   NM           90003112466
4618815A291394   CHESTER        RIDGE                    KS           90013911502
4618894A691394   CHESTER        RIDGE                    KS           90012709406
46189A83A7194B   TAMMY          CISNEROS                 CO           38046710830
4618BA41A51334   ALEX           SAYAS                    OH           90009670410
4619731177B431   MARCUS         COOK                     NC           90011023117
4619811328B16B   ROBERTO        RIOS                     UT           90013941132
4619816955B53B   CATHY          FRESQUEZ                 NM           90014721695
461981A715B53B   MARTHA         WINTER                   NM           90011491071
4619916955B53B   CATHY          FRESQUEZ                 NM           90014721695
461B2A7682B87B   JOSHUA         MARVES                   ID           90010370768
461B3A5628B16B   FILEMON        GIL                      UT           90013940562
461B414575B58B   CLOVIS         CORDOVA                  NM           90012411457
461B8A6647194B   BRIANNA        VALENCIA                 CO           90014720664
461B9128572B36   PAUL           JOY                      CO           90011341285
461B9787261967   LEOBANY        OLMENDO                  CA           90011017872
461B9A6647194B   BRIANNA        VALENCIA                 CO           90014720664
4621179646192B   ARIANNE        ALFARO                   CA           90005417964
4621244625B174   FRANCISA       ONUBAH                   AR           90011214462
462124A5585825   GLEN           CARDINAL                 CA           46086664055
4621296A761967   LANCE          ZAMORA                   CA           46005949607
46221A5867B431   VERNICE        ROBERTS                  NC           90008850586
46221A9877194B   JOSE           CASAS                    CO           90015190987
462256A915597B   ASHLEY         FRANC                    CA           90008396091
46226131A84336   SHAVON         HEYWARD                  SC           90011091310
4623619AA5B395   NICOLE         BLUE                     OR           90008651900
4623669767194B   JUANITA        RAEL                     CO           90000636976
4623743524B271   COLT           TAYLOR                   NE           90014044352
4625249AA7B431   JOSETTE        BADLEY                   NC           90014944900
462547A158B16B   MAYRA          MENDOZA                  UT           90014077015
4625646442B87B   CANDICE        DIAL                     ID           90012264644
46257A8565597B   ALFONSO        GUZMAN                   CA           90013370856
4625846442B87B   CANDICE        DIAL                     ID           90012264644
462586A1651334   JOSEPH         FRIESINGER               OH           90012916016
4626373932B27B   ROSA           PAZ                      DC           90012187393
4626594184B543   LERON          SABBATH                  OK           90011089418
462695A8A93752   REBECCA        FAUL                     OH           90005405080
4627268A88B16B   TALENA         TORRES                   UT           90012876808
4627296837B422   ERIC           DEATORY                  NC           90012209683
4627314A15597B   JOHNY          MUNOS                    CA           90012741401
462761A378B16B   BIG            O                        UT           90014181037
4628311654B543   JONNY          GUTIERREZ                OK           90011121165
4628376487B431   SANDRA         MURRAY                   NC           90012627648
462842A8A4B543   MARIELVA       GUTIERREZ                OK           90011122080
4628666367194B   LAURA          ROBLES                   CO           90010546636
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4628731665B174   PHARANETTE       COLLINS                AR           90011073166
4629181295B174   ERICA            RUSSELL                AR           90011218129
4629BAAAA51334   ELLIOT           THOMPSON               OH           90013440000
462B1654861925   PATTY            ITARO                  CA           90010406548
462B287392B27B   ARMANI           ROBINSON               DC           90014558739
462B3714672B43   ELIZABETH        MICHAELS               CO           90007387146
462B428484B271   AVENDANO LOPEZ   RIGOBERTO              NE           90012682848
462B5291A77595   BRIAN            RAMIL                  NV           90010072910
462B5355672B43   ROBERT           HEINZMAN               CO           90009223556
462B6579277595   JACOB            BURCHETTE              NV           90006375792
462B8336251328   MARSHALL         BUSNAK                 OH           90006743362
462B8492651334   DENNIS           PARTIN                 OH           90011204926
46316381672B36   HAROLD           PORTER                 CO           90010223816
4631713977194B   JOHN             GRAVES                 CO           38091661397
463195A8971999   ANN              GONSALEZ               CO           90007795089
4631B15725B53B   LUIS             HERRERA                NM           90014731572
4631B23937194B   TEPAC            WAUQUA                 CO           90014782393
4632118952B27B   SHAKIA           BONDS                  DC           90010551895
4632589A62B27B   TONYA            GIPSON                 DC           81018718906
4632619335B53B   AMANDA           PEREA                  NM           90014731933
4632924175B372   CARLOS           PEREZ                  OR           90001162417
4633426917B48B   PAMELA           SCOGINS                NC           90007402691
46334A47471999   MICHAEL          MICHELLI               CO           90013790474
46336193A5597B   JACQUELINE       CORDOVA                CA           90014451930
4633B51112B27B   BERNARD          MUNDAY                 DC           90013085111
4633BA46A5597B   ESTABAN          TREJO                  CA           90014890460
4634382A95B58B   VINCENT          VAISA                  NM           90014868209
463449A395B222   KARA             RHEA                   KY           90014949039
4634682495B53B   JENNIFER         BATEMAN                NM           90014798249
46347341972B43   JO               NAT                    CO           90013053419
4634745A171999   BILLY            OSBORN                 CO           38097834501
46352349A72B36   SAMANTHA         GRAHAM                 CO           90002613490
4635247127B431   AJ               TYLER                  NC           11007154712
4635255477194B   TARA             MCEACHERN              CO           90014785547
46354355272B4B   ERIK             JOHNSON                CO           90013403552
46356AA7A4B271   LUCIA            TURCO                  NE           90013600070
4635948858B165   COSENTINO        TONY                   UT           90007834885
4635B26674B271   MICHAEL          WILKINS                NE           90006602667
4635BA3267194B   PATRICIA         SHIELDS                CO           90010910326
4636163687194B   CHARLES          GONZALES               CO           90014786368
4636169768B16B   GERARDO          SORIANO                UT           90014426976
46366358A7194B   LETICIA          ORTEGA                 CO           38026213580
4636886482B27B   MENJIVAR         BLANCA                 DC           90014738648
4636975655597B   MAIYANG          THAO                   CA           90012727565
46369AA4161967   ENRIQUE          VELASQUEZ              CA           90012840041
4636BA58671999   SAMUEL           MALDONADO              CO           90011290586
46377A56755939   CHUCK            RECLUS                 CA           49092920567
4637B737377595   LUISA            CHAVARIN-CARMONA       NV           90009677373
4638543317B431   APRIL            LOMAX                  NC           90012324331
4638569465B174   KENEISHIA        JEFFERSON              AR           90014696946
46385A11761967   YOLANDA          MORALEZ                CA           90012950117
46386612572B4B   MYRICK           MYRICK                 CO           90012026125
4638929492B27B   JULIO            HERRARTE               DC           90009242949
4638B818A91523   VERONICA         CHAVEZ                 TX           90007368180
46393956672B4B   JUSTIN           BREINIG                CO           90012829566
463954A3A7194B   LARRY            WOOLSEY                CO           90014804030
4639815315B222   CAPRICE          COTTON                 KY           90014191531
4639B33825B53B   JESUS            RAMOS                  NM           90014733382
4639B8AA361967   KRYSTAL          MONTERROSA             CA           46012608003
463B169365B174   WYNESE           GANTT                  AR           90012426936
463B274324B543   GRISELDA         GOMEZ                  OK           90011147432
463B3532351334   KELLYE           COATES                 OH           90010975323
463B483984B543   SABRINA          WEANER                 OK           90011148398
463BB46442B87B   CANDICE          DIAL                   ID           90012264644
463BB86855B531   MADINA           NOURESTANI             NM           90007658685
4641291815B58B   JENNIFER         MARQUEZ                NM           35010109181
4641693885B174   ADRIAN           HUDSON                 AR           90014139388
4641834975B222   ADARIUS          PEGUES                 KY           68013873497
46421A17561963   HECTOR           RODRIGUEZ              CA           90014160175
46422388A8B16B   AMBER            SKINNER                UT           90013243880
4642284377B431   BURTON           LAVANA                 NC           90014568437
46422A2412B87B   MICHELLE         THOME                  ID           90012200241
4642369A691569   MICHAEL          MALDONADO              TX           90012056906
46423A8115B174   ORETHA           BROWN                  AR           90014120811
464254A155B174   PATRICK          REED                   AR           90011384015
46426265A4B551   MARIA            VANDERSCHANS           OK           90005382650
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464273A524B271   BRANDIE        SMITH                         NE      90010123052
4642793885B174   ADRIAN         HUDSON                        AR      90014139388
4642B427772B4B   JAMISON        STEPHENS                      CO      90008564277
4642B88375B58B   VERONICA       PORTILLO                      NM      90014298837
4643541478B16B   BRETT          OLSEN                         UT      90010504147
4643694287B457   JOSE           PENA PAREDES                  NC      90013219428
46436A7667B431   JENNIFER       COX                           NC      90012340766
4643B96765597B   LIZBETH        MELCHOR                       CA      90014839676
4644135A691569   GHISLAINE      HERNANDEZ                     TX      90012343506
46442AA272B92B   BANEEBAL       WILLAM                        CA      90007290027
4645652238B16B   CHRISTIAN      DOWSETT                       UT      90010695223
4645664296197B   SCOTT          ZOPF                          CA      46068216429
4645736515B174   MALIA          COLLIER                       AR      90013393651
46459A15393769   MONICA         BLAKE                         OH      90013550153
4645B43462B87B   DEVIN          DURBIN                        ID      90014744346
46471384A5B58B   STEPHANIE      TREJO                         NM      90014703840
46474388A8B16B   AMBER          SKINNER                       UT      90013243880
46474553772B43   JOSHUA         SOPRIS                        CO      90013015537
4647917198B16B   ANGEL          ALVAREZ                       UT      90013321719
4647B931571999   ANESSA         CORDOVA                       CO      90010109315
46481A97872B43   ROCIO          MEDOZA                        CO      90007520978
46482593A61967   JEANNE         MONDRUS ACCT PROD 8095        CA      90014855930
4648361147B431   JONATHAN       EDWARD                        NC      90000616114
4648639785B174   LAQUISHA       KENDLE                        AR      90014593978
46486A4235B174   LAQUISHA       KENDLE                        AR      90009230423
464877A4461963   MIGUEL         NUNOZ                         CA      90013847044
4648887A58B16B   CALSIE         DEMERY                        UT      31097838705
4648BA3142B27B   DAVID          MITCHELL                      DC      90014750314
4649265695597B   JEFF           BARLOW                        CA      90010036569
4649271665597B   LORENA         URRUTIA                       CA      90013677166
4649368695597B   DANIEL         RAMIREZ                       CA      90012936869
4649828915B174   RAYMOND        CLAIR                         AR      90011302891
4649856212B27B   ARTEMIO        RIOS                          DC      90011965621
4649943537B431   PEGGY          HUDSON                        NC      90006964353
4649B856671999   AIOTEST1       DONOTTOUCH                    CO      90015128566
464B377655B53B   JONATHAN       HALL                          NM      90010887765
464B4773372B4B   JANEL          GALLEGOS                      CO      90012617733
4651133915B58B   MARIA          GUADALUPE MARTNIEZ-CARDENAS   NM      90012413391
4651357A591922   KWMATNE        TODD                          NC      90013295705
4651426178B16B   PEDRO          COTRINA                       UT      90013942617
4651658755B222   BRITNEY        SMITH                         KY      90009395875
4651986A561967   JESUS          EVANGELISTA                   CA      90014428605
46522AA2261963   ED             BALDWIN                       CA      90014300022
465273A417B431   TEVIN          REID                          NC      90010513041
4652838A861967   LUIS           GOMEZ                         CA      90010473808
4653297914B271   CODY           WEBBER                        NE      27093959791
4653355297194B   FEDELINA       SANTAMARIA                    CO      90011545529
46533A7A561967   MARLA          GUTIERREZ                     CA      90012930705
46537412A4B271   FREADOM        MILLER                        IA      90014154120
4654176832B87B   JEREMY         YOUNG                         ID      90012587683
46544317872B43   EDGAR          HERNANDEZ                     CO      33087983178
4654742182B27B   DAVID          WASHINGTON                    DC      90011454218
4654882215B222   DONNIE         SMITH                         KY      90012768221
4655554915B388   ROBERT         SHORKEY                       OR      90014435491
4655B677971999   ANGELICA       MUNOZ                         CO      90011296779
4656655A65B174   ALLEN          ANDERSON                      AR      90012885506
465688A665B299   MYAYARA        HAYNES                        KY      90010558066
4657654297B431   LETICIA        WATSON                        NC      90011115429
4657B7A1951334   AMANDA         ARTMEIER                      OH      90010987019
4658295337194B   MICHAEL        CHANEZ                        CO      90014869533
4658321644B271   JAVIER         MENDOZA                       NE      90012352164
4658462772566B   KOWON          LITTLE                        AL      90014236277
46584795372B36   MARK           STONE                         CO      90010137953
46584883372B43   MARIO          CAMPOS                        CO      90012148833
4658513128B186   AMY            CORPRON                       UT      31004241312
4658541375B174   TIMOTHY        SLATES                        AR      90011234137
4658626A17B431   ERNEST         ADDAIR                        NC      11003522601
4658679172B87B   JENNIFER       SCHULTZ                       ID      90014517917
4659336A161967   MARIA          RUIZ                          CA      90011903601
46599755972B36   NICOLE         RUIZ                          CO      90009657559
465B2915651334   EDDIE          BLESSING                      OH      90012109156
465B7927171999   TANYA          PRIEN                         CO      38054499271
4661214265B174   ANGELA         WARREN                        AR      90014811426
4661532A177595   MICHEAL        FIELDS                        NV      90011293201
4661666975B174   JOANN          HUNTER                        AR      90011236697
46618143A7B472   BLANCA         GUZMAN                        NC      90010901430
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46618398233B55   JR             DOWDLE                   OH           90013363982
46619742972B62   ANA            MORENO                   CO           90013877429
4662161515B53B   ANNA           MONTES                   NM           90014736151
46622A18872B36   MICHAEL        BROADWAY                 CO           90013080188
4662338192B27B   ROGER          JOHSON                   VA           90011953819
46625A3958B16B   REYNALDO       FUENTES                  UT           90014900395
4662995235B222   LANCE          HENRY                    KY           90010339523
466358A9493769   JUSTIN         HART                     OH           90008548094
46636846572B43   IVAN           HERNANDEZ                CO           90012158465
4663763A891569   MARIAL         MALDONADO                TX           75003176308
466382A454B271   TONNESHA       QUALLS                   NE           90009702045
4663B541A72B4B   VANESSA        GARCIA                   CO           90004375410
4663B878371999   BENITO         MEDINA                   CO           90011298783
46642156A5597B   ZALI           MACK                     CA           90012131560
4664299685B58B   TU ANH         CHUONG                   NM           90013969968
4664449758B16B   GILDA          MCBRIDE                  UT           31049064975
4664466918B165   TUO            JI                       UT           31099276691
4664763145B53B   MELINDA        SHIPLEY                  NM           90014736314
4664851112B27B   BERNARD        MUNDAY                   DC           90013085111
4665144A87B431   WAYNETTE       DENNIS                   NC           90014134408
4665246435B53B   CHRIS          SANCHEZ                  NM           90014744643
46653A66A7B431   MARIA          JAIME                    NC           90014110660
4665BAAA772B43   WILBERT        SIEMSEN                  CO           90011150007
4666145745B174   DEAUNNA        NELSON                   AR           90010004574
46661584672B4B   ALEXANDRIA     TAYLOR                   CO           33095185846
46662963472B4B   ZACHARIAH      STERNER                  CO           90015279634
46667682472B4B   MARTHA         RINCON                   CO           90014126824
4667262A772B4B   THOMAS         MONTONO                  CO           90013276207
4667466495B53B   EBONY          DOPORTO                  NM           90014736649
4667559445B53B   ELIZABETH      SOTO                     NM           90000835944
4667644225B53B   RAUL           BARRON                   NM           90012134422
4667853195B222   JOSH           WADDELL                  KY           90014635319
4668229A251334   TAMMY          LONG                     OH           90013212902
466849A472B27B   ANGELA         DAWSON                   DC           90009319047
4668551695B174   FATIHA         ISLAM                    AR           90014515169
4668618A18B16B   VILLALOBOS     ESTELLA RUBY             UT           90012091801
46689A69671999   JACOB          SALINAS                  CO           90011300696
4669667A32B27B   JUSTIN         MCKNIGHT                 DC           90012996703
4669688712B87B   JAMES          RIVERA                   ID           90009178871
4669771595B174   DANIEL         LEE                      AR           90011447159
4669867545B58B   CONNIE         FRANCIS                  NM           35035196754
4669B75892B27B   ANNYONA        NAMEICO                  DC           90013987589
466B2142951334   DAVID          MEIER                    OH           90014711429
466B2A97A47954   ALEJANDRA      MARTINEZ                 AR           90009260970
466B416335B222   NANCY          MORRISON                 KY           90012671633
466B433895B53B   CHERYL         CHARLEY                  NM           90009173389
466B454A272B4B   MICHAEL        GREEN                    CO           90011475402
466B574617194B   JESSICA        ILES                     CO           90003577461
466BB89115B174   ARON           MORA                     AR           23073858911
4671243A372B43   BRENDA         MIRANDA-SURA             CO           90005484303
4671419927B431   CHAVON         JACKSON                  NC           90003991992
4671568A15B53B   LARRY          SITLER                   NM           90003686801
4671953A67194B   LINDA          VIGIL                    CO           90014895306
4671B9A8991569   EDGAR          PEREZ                    TX           90008639089
4672267A677595   FABIOLA        ARREOLA-RICO             NV           90012116706
4672495A255939   ANGEL          RODRIGUEZ                CA           90010539502
4672648915B53B   DARRICK        JOHNSON                  NM           90014744891
4672815315B222   CAPRICE        COTTON                   KY           90014191531
46729A8AA5597B   MARIA          SANCHEZ                  CA           90008610800
4672B454991523   RITA           CASTRO                   TX           90008454549
46731A5717B431   ANIYAH         JOHNSON                  NC           90011240571
467328A318B16B   SLYVIA         JOHNSON                  UT           31074798031
4673382A372B4B   CHRISTINA      OCAN                     CO           90012158203
46734441572B43   HOLLY          HOLT                     CO           90014114415
4673525832B27B   KENNETH        AUSTEN                   DC           90015092583
4673648AA77595   JUAN           RAMIREZ                  NV           90009664800
4673733562B27B   SHAWN          STEWART                  DC           90012833356
46744A4A872B36   MARIELA        BOCANEGRA                CO           90008670408
46747A8165B174   JAYLA          MILLIGAN                 AR           90015260816
46747A84651334   BOBBIE         MUHAMMAD                 OH           66006180846
4675468A82B87B   GARY           SHAW                     ID           90014696808
4675691152B87B   DANIEL         DRIVER                   ID           90013269115
4675797AA77595   STEVEN         CURIEL                   NV           43042689700
46762A1635B53B   JULIA          MARQUEZ                  NM           90014730163
4676436494B271   ANGELA         DUIAND                   NE           27017643649
46771129272B36   ANGEL          MORALES                  CO           33088761292
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4677126142B87B   ROXANN         COLEMAN                  ID           41080932614
4677624A77194B   CHRISTINA      BIK                      CO           90014912407
46778A94261963   CAROLYN        FIELDER                  CA           46054350942
4678112732B87B   ASHTON         KIELE                    ID           90008351273
4678148915B53B   DARRICK        JOHNSON                  NM           90014744891
4678396572B87B   MARY           MOLYNEAUX                ID           90011279657
46785959A72B4B   ERIK           MONTIEL                  CO           33058939590
4679123787B431   ANTHONY        BELL                     NC           90011282378
46791A48A61963   ROMEO          GELIN                    CA           90013830480
4679237387B431   SAMANTHA       PROFFITT                 NC           90011283738
4679698635B53B   CTRYSTAL       CHAVEZ                   NM           90009119863
4679815774B271   LORENA         RIVERA                   NE           90009661577
46799A92272B36   CHRISTOPHER    MARTINEZ                 CO           90012530922
4679BA2198B16B   ISIAH          MCARDLE                  UT           90015080219
467B14A295B174   CAROLYN        SAIN                     AR           90014124029
467B161365597B   SARA           TORRES                   CA           90013376136
467B549A62B87B   DON            GEARHART                 ID           90012204906
467B5726677595   SAMANTHA       CONKLIN                  NV           90006437266
467B9A78A4B259   STACY          THOMAS                   NE           90009570780
467BB752177595   CHARLES        LANDERS                  NV           90011297521
4681114A377595   OMAR           ARRIAGA                  NV           90008361403
46811AAA871999   NATASHA        YAZZIE                   CO           90014420008
4681335984B531   WILLIAM        CALLINS                  OK           90012053598
46813A4645B174   VICTORIA       GREENLEE                 AR           23008760464
46814878372B39   BENJAMIN       SCHLIMM                  CO           33087368783
4681656965B58B   MAGGIE         VILLA                    NM           90009815696
46816A68671999   STEVEN         PARKER                   CO           38096850686
46818798472B36   JON            MAEZ                     CO           33040457984
46819A86A5597B   VICTORIA       ACEVEDO                  CA           90011360860
4681B8A8A71999   MARCEL         BAILEY                   CO           90013058080
468226A5772473   CASSANDRA      KARSNAK                  PA           90013936057
46826A3935B222   SHAQUEISHA     DAVIS                    KY           90014070393
4683189A95597B   SCOTTINA       JOHNSON                  CA           90014578909
4683261215B174   LEE            JOHNSON                  AR           90015026121
4683279245B58B   CATALINA       CASTILLO                 NM           90013017924
4683353A28B16B   CASE           QUINTON                  UT           90001995302
4683473925B53B   RAMONA         PEREA                    NM           90014717392
4683553677194B   MATT           ALVARADO                 CO           90010595367
46836692572B36   LUCAS          SCHOLZ                   CO           90015136925
46837789772B36   EDGAR          RODRIGUEZ                CO           90012547897
4683B74852B87B   CHRIS          DUNLAP                   ID           90012207485
4683B793572B43   PACICIA        MASTINEC                 CO           90009197935
4684162238B16B   KRYSTAL        FATAOULI                 UT           90013946223
468466A597194B   RICHIE         FLORES                   CO           90010596059
4684699195B58B   JESUS          PINELA                   NM           90003539919
46849354372B36   KENLYN         NORMAND                  CO           90013003543
4685172265B174   MICHEAL        JACKSON                  AR           90013157226
4685216815B174   DEANGELA       ADAMS                    AR           90011251681
4685877355597B   MAGNOLIA       SANTILLAN                CA           90012617735
4686372255B222   ANTONIO        MORRIS                   KY           90015087225
468669AAA5B222   PAU            SAANG                    KY           90014569000
4687B422261963   EDWIN          CHILDS                   CA           90011314222
4687B817771999   JANICE         TRUJILLO                 CO           90013048177
4688286775B174   MICHAEL        INGALLS                  AR           90014728677
4688651112B27B   BERNARD        MUNDAY                   DC           90013085111
46888658572B4B   ANDREA         ONTIVEROS                CO           90013006585
4688B15795B53B   ALVINA         BENALLY                  NM           90008701579
4689442612B275   RONDNEKA       PRESTON                  DC           90005914261
4689823A98B351   LEDARIUS       BOSTICK                  SC           90014652309
468983A995B58B   MARIA          VAZQUEZ                  NM           90002963099
46899849672B4B   ROBERT         EDWARD                   CO           90012688496
4689B158677595   DARREN         ROBINSON                 NV           90007251586
468B466772B87B   JESSICA        GUENTHER                 ID           90012206677
468B4A5985597B   CATALINA       ROGRIGUEZ                CA           90010230598
468B51A6971999   TREVOR         MILLER                   CO           38098391069
468B8413161963   YENITZETH      HARO                     CA           90012854131
4691179685B594   SUSAN          GRAVES                   NM           35007537968
469119A6A5B174   TAMEKIA        MOLDEN                   AR           90013419060
46913834A5B58B   KATHLEEN       BARTLING                 NM           35092408340
469153A558B16B   DERRICK        MILBURN                  UT           90009953055
4692266735B555   JOANNA         GARCIA                   NM           90010666673
4692269515B58B   ELIJAH         CHAVEZ                   NM           90014076951
4692368695B174   KATIE          STOUT                    AR           90011256869
4692766518B16B   ALFREDO        GARCIA                   UT           90013946651
4692B776A61963   AFRICA         PEREZ                    CA           90012047760
4693176895B174   MIRIAM         WINDER                   AR           90011257689
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46934458A4B271   MICHELLE       KUHN                     IA           90010624580
4693623AA55939   YESENIA        BETANCOURT               CA           49076582300
4694125623B356   YENI           GUEVARA                  CO           90005742562
4694B5AAA5597B   CHRISTIN       SEVILLA                  CA           49037035000
46955238472B43   SHEILA         DURAN                    CO           90013312384
46959892A5B53B   YILENS         CAMEJO-LOPEZ             NM           90003188920
4696238433B332   DHEMAN         ABDI                     CO           90013143843
4696322375B53B   GINGER         PENNELL                  NM           90009442237
4696791A15B58B   PATRICIA       KIBI                     NM           90011919101
4696823547B497   KARLA          VANEGAS                  NC           90002262354
4697138585B58B   MIGUEL         ESCOBAR                  NM           35020113858
4697139795B174   JARVIS         DANIELS                  AR           90003433979
4697186997B431   KYLE           BOYD                     NC           90007088699
4697189637194B   RANDY          STURTEVANT               CO           90011838963
4697372528B16B   MARY           LAWS                     UT           90010637252
46981729272B4B   MAHAMUD        MAHAMUD                  CO           90012907292
4698189417194B   IAN            NDOLO                    CO           90014948941
46984395172B36   PARDIP         KAUR                     CO           90006613951
46984865372B43   VIRGINIA       HERSON                   CO           90012678653
46984A6462B27B   GABRIEL        ALFARO                   DC           90011370646
4699372475597B   STEVEN         YOUNG                    CA           90014357247
4699577588B16B   TANGIKINA      KATOA                    UT           90010637758
46996A8635B531   VIVIAN         SENA                     NM           35092000863
4699B49A191569   SERGIO         ESCAMILLA                TX           90012934901
4699B551851334   FALOU          DIAKHOUMPA               OH           90008545518
4699B5A867B431   AMY            PREZ                     NC           90013435086
469B153787194B   CHRISTOPHER    MICHAEL                  CO           90014935378
469B162132B27B   KEVIN          LEWIS                    DC           90000656213
469B211A491569   CHRISTOPHER    HENDRICH                 TX           90011311104
469B2A45861967   PATRINA        JOHNSON                  CA           90012890458
469B846895B53B   ELIPIO         CORTES                   NM           90011354689
46B116AA771999   ANGELYN        DANIELS                  CO           90013896007
46B12764981669   ANTHONY        OLAH                     MO           90012187649
46B1383A68B16B   QUINTIN        SEVERNAK                 UT           90013238306
46B16A76572B4B   PAULETTE       BRUTON                   CO           33063670765
46B17394791569   APRIL          MORENO                   TX           90011103947
46B1869465B174   KENEISHIA      JEFFERSON                AR           90014696946
46B1974265B222   TARA           GEARY                    KY           90009147426
46B19A55672B43   JESSICA        SUTHERLAND               CO           90008620556
46B2513A55B174   KIMBERLY       VASQUEZ                  AR           90011191305
46B2528A15597B   FRANCINE       GUERRERA                 CA           90014772801
46B27855771999   AIOTEST1       DONOTTOUCH               CO           90015128557
46B2B244651334   WALTER         KRIMMER                  OH           90014472446
46B2B358A7194B   LETICIA        ORTEGA                   CO           38026213580
46B2B39544B271   JOHN           KELLEY                   NE           90014273954
46B31242791523   LUCIA          GONZALEZ                 TX           90001952427
46B3185A28B165   EDUARDO        RODRIGUEZ                UT           90008108502
46B34114A2B27B   DARRYL         JOHNSON                  DC           90012651140
46B3762A22B264   TIARA          HUNTER                   DC           90009326202
46B37A92A4B259   CORINA         CALLOWAY                 NE           90005910920
46B397A795597B   JAIME          HERRERA                  CA           90013847079
46B3B8AA372B4B   MICHELLE       GARCIA                   CO           90013758003
46B41626A5B555   SUSET          WALKER                   NM           90006116260
46B4316335B222   NANCY          MORRISON                 KY           90012671633
46B43793991569   SANDRA         GURROLA                  TX           90009477939
46B47844272B43   KIMBERLY       DANILES                  CO           90012578442
46B4796875B53B   MISTY          KOBERNA                  NM           90014709687
46B483AA44B259   ABRAHAM        MILLER                   NE           90003373004
46B5121138B16B   TIMOTHY        HARDCASTLE               UT           90013532113
46B51A97161963   CHRISTIAN      ESPARZA                  CA           90012890971
46B5595627194B   PATRICK        SAIZ                     CO           90014709562
46B568A397193B   DESTINY        WINGERT                  CO           90010048039
46B58585972B4B   DEXTER         JACKSON                  CO           33015325859
46B59784572B36   BRITTANY       PROSSER                  CO           90010387845
46B62115551354   NATHAN         MENDEZ                   OH           90008651155
46B62819572B36   BRIAN          CLARK                    CO           33028588195
46B7289458B16B   SCOTT          PRICHARD                 UT           90014278945
46B76A1145B174   SEDRICK        AUSTIN                   AR           90013290114
46B7846825597B   KARLA          DIAZ                     CA           90008394682
46B791A528B16B   TALISHIA       WILLIAMS                 UT           90011471052
46B7B139671999   TANYA          MD                       CO           90011281396
46B8691A461967   GABRIEL        NUNO                     CA           90012639104
46B9643727B431   TIFFANY        SIMPSON                  NC           90010034372
46B9658472B87B   BRITTANY       TEUPEL                   ID           90014185847
46B9742547B431   JACKQUELINE    HOWARD                   NC           90013724254
46B97A64A71999   RAINA          CHACON                   CO           90012890640
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46B9927275B174   LANETTIA       GILOIAM                  AR           90014232727
46B9B325591569   ADAN           VENZOR                   TX           90013193255
46BB14A8991922   VICKIE LYNN    CROMARTIE                NC           90004344089
46BB1612891828   KARYN          DARAIS                   OK           90007706128
46BB192935B53B   MELANIE        DEAN                     NM           90014709293
46BB355815B222   ANTOINETTE     HINES                    KY           68072635581
46BB3781851334   DARIEN         COUSINS                  OH           90014767818
46BB46A5672B98   MONICA         PEREZ                    CO           90011696056
46BB7288991569   GABRIELA       ZAVALA                   TX           90012202889
46BB8713755939   KRYSTAL        MORENO                   CA           90002547137
46BB9233A4B271   ROXANNE        KOTSCHWAR                NE           90003052330
4711113658B355   RUBEN          GARCIA                   SC           90006381365
4711239255B222   AUSTIN         HUGHES                   KY           90011053925
4711299325597B   EMNAI          ZENO                     CA           90013949932
4711631385B58B   JOSEPH         MAYO                     NM           90002143138
47117A8172B27B   JORGE          ORTEGA                   DC           81007100817
4712811388B355   VADA           SULLIVAN                 SC           90013061138
4712B652771999   JESSICA        JONES                    CO           90013046527
4713115325B58B   GONZALO        VILLEGAS                 NM           35000021532
47131294A55939   JEFFUN         ANDERSON                 CA           90012852940
47131A2525597B   JOHN           MADUENO ALVAREZ          CA           90013950252
47132152A32586   MATTHEW        STOKES                   TX           90014161520
47134461372B43   BREYANA        HICKS                    CO           90012984613
471352AA491988   ERIC           PRINCE                   NC           17030492004
4713763325B222   MAURICE        WILLIAMS                 KY           90011596332
4713962638162B   LUKE           RHEAUME                  MO           90012066263
4713B679491569   MARCOS         GUILLEN                  TX           90009586794
4714B552461963   GABRIEL        SUAREZ                   CA           90013305524
47152A3655B222   JEFF           KELIEN                   KY           90011880365
47153A3765597B   KARIN          HOWELL                   CA           90013950376
47156285372B43   STEPHEN        CARSTENSON               CO           90012082853
47158162872B36   CHRIS          SANDOVAL                 CO           90011761628
47162A5744B271   LUCINDA        PITTS                    NE           90012930574
4716623A88B16B   MARIA          QUINTERO                 UT           90007842308
4716654975B222   WILLIAM        GILBAR                   KY           90013995497
47168A3A52B27B   YOLANDA        WASHINGTON               DC           90012580305
4716961232B828   CASSIE         BREWSTER                 ID           90010526123
4716B915A74B7B   AMANDA         STURGILL                 OH           90014289150
4717571A74B523   MARK           HOLDCRAFT                OK           90006127107
4717B83995B58B   VERONICA       JURADO                   NM           35013548399
47187A66455966   JUSTYN         BRIDGES                  CA           90012510664
4719295318B355   MICHAEL        BAYRON                   SC           90006269531
4719B414471999   ERICA          SISNROY                  CO           90013994144
471B1434961967   JAVIER         BAUTISTA                 CA           90011064349
471B214545597B   TRISHA         CHAPPEL                  CA           90003461454
471B743512B27B   ANITRA         DEVAUGHN                 DC           90000814351
471B9444655966   SANTOS         CASTANEDA                CA           90010884446
4721164714B271   JOSEPH         WAGMAN                   NE           90013096471
4721546988B16B   DARLA          ALLEN                    UT           90010194698
47217A3438B355   RICHARD        BROOKS                   SC           90014660343
4721B54595597B   TAMMIE         NICKLES                  CA           90014535459
4722388124B259   REBECCA        TAYLOR                   NE           90010478812
47227426A3B125   JUAKEAN        DAVIS                    VA           81018074260
4722816A22B27B   RANDY          BARNES                   DC           90011311602
4722B216961967   ESMERALDA      ZUNIGA                   CA           90012042169
4723146215B222   LEXUS          JONES                    KY           90011304621
47232578472B43   VICTORIA       BAILON                   CO           33030345784
4723417345B222   LATISHA        FRAZIER                  KY           90011071734
47234A5A471999   MAYANNA        TERRONES                 CO           90013320504
472366A4772B43   ELISHA         ARELLANO                 CO           90009246047
4723731472B543   VICTOR         HERNANDEZ                AL           90014003147
47237341A2B27B   RENICE         SUTTON                   DC           90012983410
4723877855B58B   JOANNA         ALTAMIRANO               NM           90014857785
4723B6A837B431   LOSHAWN        PARKS                    NC           90005816083
47245A64261967   SERGIO         ALVES                    CA           90011100642
4724916854B271   NATALYA        BROWN                    NE           90014911685
47256523972B36   JASON          ROYBAL                   CO           90012685239
47257563672B43   ELIAS          BUENROSTRO               CO           33087805636
4725B111872B36   WILBER         RIVAS                    CO           90012311118
4725B17125B58B   CHAVEZ         JESSIKA                  NM           90003891712
47262895A55966   JAVIER         ESTRADA                  CA           90011308950
47267131872B4B   SYLVIA         WILLIAMS                 CO           90013411318
47267A2A35597B   BRITTANY       RAMOS                    CA           90014850203
47268269372B43   JOSE           ACUNA                    CO           90012832693
4726B469961963   REGINALD       BROOKS                   CA           90014354699
4726B486724B55   SHELDIN        SANDY                    DC           90014734867
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47272436A5B58B   JANIFER          BACA                   NM           90011244360
47274121872B36   POLINA PETROVA   AGOVA                  CO           90013061218
4727B22595B53B   ALCARIO          ANAYA                  NM           90013532259
4728178885B53B   MELODY           MARTIN                 NM           90012477888
47281A63871999   TRACI            HOLTGREWE              CO           90014490638
4728366815597B   DAVID            QUIROZ                 CA           49004816681
47285A94372B36   JAQUELINE        CHRISTOPHER            CO           90007250943
47288429472B4B   MARIA            LOPEZ                  CO           33015714294
47289A7745597B   JANETH           FERNANDEZ              CA           90012040774
4729615A172B43   MANUEL           CAMUNEZ                CO           90007981501
472B1488A8B355   JALISSA          FORT                   SC           90005854880
472B297355B53B   JAZMIN           ORDUNO                 NM           90007769735
472B377345597B   CASSANDRA        SANTISTEVAN            CA           90008067734
472B457A655939   LERON            BELL                   CA           90014485706
472B51A145B174   SESLIE           JONES                  AR           90012071014
472B5296672B4B   HARVEY           LAFLECHE               CO           90012582966
472B944675B53B   DANNY            LUGO                   NM           90013724467
472B9815A5B58B   ROBERT           MONTOYA                NM           90012148150
4731429335B174   MICHELLE         SCHEIBNER              AR           90014532933
47314A84541222   AYNEE            POOLE                  PA           90002980845
47321662572B43   PAPA             LOUM                   CO           90010806625
47322967124B55   RALPH            BENNETT                VA           90013569671
4732B972361967   VIRGINIA         VILLARREAL             CA           46060939723
47331A1AA72B36   VIRGINIA         EDITONE                CO           90013590100
4733275455B222   ALICIA           BOGGS                  KY           90013347545
47334A68951334   KOURY            JOHNSON                OH           90012900689
47338853A51334   ANDREW           BISHOP                 OH           90012318530
4734332122B27B   KARLOS           MCDOWELL               DC           81039313212
4734389575B222   CHARLES          WILLIAMS               KY           90013338957
4734B257455939   DAVID            ROSALES                CA           90013372574
4735998115B53B   DARRIN           TERRAZAS               NM           90013739811
473616A7A91363   LAWRENCE         SMITH                  KS           90011816070
4736827455B222   JOSE             CASTANEDA              KY           90009292745
47369A5178B355   JOHNTAVIAS       FOOTE                  SC           90012790517
47373625A61967   FERNANDO         VON RENTERIA           CA           90012766250
47376345372B36   SHAQUANA         WOODS                  CO           33028933453
47378448472B43   JENSEN           BEAU                   CO           90012894484
4737892647B431   CORINNA          MCGEE                  NC           90007369264
4737954312B27B   JUSTIN           BOYKIN                 DC           90013135431
4737B157491394   EFRAIN           ARAGON                 KS           90013131574
47381445572B36   JEFF             REYNOLDS               CO           90014854455
47383461A61967   ERICK            VEGA                   CA           90009314610
47383678472B4B   ISMAEL           GONZALAZ               CO           90008076784
47384369A91569   MARIA            HERNANDEZ              TX           90011033690
47385AA8772B36   FAVIANA          MARTINEZ               CO           90013310087
4738613468B16B   CAMERON          SHEWMAKE               UT           90008501346
47387A93991569   DIANA            GOMEZ                  NM           90013400939
47388953924B55   TOYE             DORSEY                 DC           90006229539
473894A3A5B53B   NORMA            RODRIGUEZ              NM           35072754030
4739319A15B174   MARTIN           HUGHES                 AR           90004351901
4739538984B271   MARGARITA        DELEON                 NE           90011543898
4739558415B58B   MARISOL          MORALES                NM           90014155841
47397722272B36   NADIA            TAYLOR                 CO           90012387222
473B1349961967   MARISOL          GUTIERREZ              CA           46088023499
473B217A95B58B   ARTURO           VAZQUEZ ORTIZ          NM           90008251709
473B4183391394   NICOLE           HANEY                  KS           29009741833
473B7896955966   DINA             RODRIGUEZ              CA           90013028969
4741673685B174   RICHARD          CONRAD                 AR           90012367368
474167A7172B36   DAVID            BENGE                  CO           90010467071
474188A9572B4B   CHARLESTON       BLUE                   CO           90013928095
4741B8A234B52B   WEST             JONES                  OK           90010898023
474261A9161967   OSCAR            GOMEZ                  CA           46008911091
47426A58971999   MELISSA          RUIZ                   CO           90010060589
47427745A55966   ANDRES           SANCHEZ                CA           90012917450
47429257A5597B   GILLERMO         PARRA                  CA           90013952570
47433A13555939   STEPHANIE        RODRIGUEZ              CA           90012980135
47436542A5B58B   CINDY            WELCH                  NM           35029665420
474415A885B222   MARIO            PALMA                  KY           90013845088
474499A8772B36   TODD             SMITH                  CO           90012259087
4744B137972B43   KATY             ROBINSON               CO           90015091379
4744B317261963   RACHEL           WILLIAMS               CA           46044183172
4745159235B58B   FELICIA          SOTO                   NM           90013095923
474528A4A5B56B   SARALD           VALAQUEZ               NM           90006838040
4745335A161967   COOPER           MARIAN                 CA           46084523501
4745497A191394   KAREN            RENTERIA               KS           90010959701
4745545368B355   TENISHA          MIDDLETON              SC           90010184536
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4745B452255966   NESTOR         URBINA                   CA           90001684522
47463247672B43   LISA           NIEBOLTE                 CO           33094782476
47464736A55939   JOSE           VARA                     CA           90013807360
4746577654B251   ANDREW         KROGMEIER                NE           90008337765
47468514372B4B   JOHN           DORCHAK                  CO           33039295143
4746B923955939   MERCEDES       GONZALEZ                 CA           90014459239
4746B97A191394   KAREN          RENTERIA                 KS           90010959701
4747121A15B222   JUANA          PEREZ                    KY           90013962101
474724A262B27B   EMERITA        MERCADO                  DC           90011434026
4747521375B395   AUSENCIO       MATA                     OR           90008202137
4747721435B222   TINA           SEGO                     KY           90006972143
47477352372B43   JOSE           CARRANZA                 CO           90014853523
47478AA5A72B4B   AARON          RANDLE                   CO           90010350050
4747B52635B555   NINA           ROWELL                   NM           90013475263
47483327A5B174   ANTHONY        REED                     AR           90015313270
4748711638B16B   ARYANNA        GOALEN                   UT           90011581163
47489A7A291569   ELISHA         SERCKPOR                 TX           90013290702
4748B511A91569   TOMAS          ARMENDARIZ               TX           90009775110
4749164795B354   PATRICK        CULLOP                   OR           90007796479
474953A4672B36   MONICA         MENDEZ                   CO           90008653046
47496841A5B174   RUSSELL        RECOMETA                 AR           23091138410
4749695315597B   MIRANDA        LOGAN                    CA           90011379531
4749772365B58B   MATTHEW        SHUSTER                  NM           90015147236
474985A3155939   JOSE           SANCHEZ                  CA           90012615031
47499196772B4B   CHRISTINE      CREASON                  CO           90013921967
474B1489724B55   ELIZA          CORADO                   VA           90013884897
474B2698591394   TAMMY          OJEDA                    KS           90014866985
474B428992B27B   NY'JAH         WARREN                   DC           90012842899
474B693872B27B   TAMMY          JONES                    DC           81095649387
474B892268B165   SALESI         KATO                     UT           31030759226
474B944355B53B   LISA           GARCIA                   NM           90008814435
474B992845B348   VLADY          OZNAY                    OR           90009219284
474B9A83961963   RICHARD        MARTINEZ                 CA           90011210839
474BB15554B293   BRYON          GARDNER                  NE           90002111555
4751493562B27B   VIVIAN         KENDALL                  DC           90014359356
47521A22251334   APRIL          BANTA                    OH           66085800222
4752377312B27B   RONALD         RAJAH                    DC           90010857731
475254A5A8B355   MARILYN        MOORE                    SC           90010224050
4752814885B222   WILLIAM        ALLEN                    KY           68052861488
47531267972B43   RUFORD         CHAVEZ                   CO           90011942679
4753619115B53B   DEVON          JOJOLA                   NM           90013491911
4753619675B174   MARCO          CHAIDEZ                  AR           90007551967
47536435A72B36   IAN RAY        CHRESTMAN                CO           90013444350
47537A27755939   ASHLEIGH       HADDAD                   CA           90012980277
475396A345B53B   CRYSTAL        GARCIA                   NM           90014536034
4753B7A2255955   VERONICA       CUEVAS                   CA           90012637022
4754145595597B   RAUL           LOPEZ                    CA           90010124559
4755427334B271   ISIDORO        MENDEZ RIVAS             NE           90000632733
47554325A5597B   SUSANA         DUARTE                   CA           90011793250
47558151772B4B   CARMEN         NUÑEZ                    CO           90012831517
475659AA374B8B   PAYGO          IVR ACTIVATION           OH           90013829003
4756631915597B   ARASELI        RIOS                     CA           90013953191
4756B755755966   AMANDA         FRAUSTO                  CA           90012937557
4757637A44B271   MATISE         PAYTON                   NE           90011623704
4757B388255933   KENNETH        WARD                     CA           90005803882
4757B3A745B58B   MARIA          HERNANDEZ-IBARRA         NM           90012033074
47582356372B43   LORENA         GONZALES                 CO           90014853563
4758289A361967   WALTER         GIBBS                    CA           90014758903
4758326392B27B   SAUL           MEJIA VASQUEZ            VA           90010352639
47584A41A55966   GREGORIO       VASQUEZ                  CA           90013310410
4758562A18B355   JOHN THOMAS    ECCLES                   SC           90013136201
4758579345B53B   MIGUEL         SEDILLO                  NM           35039987934
4758922145B58B   LEEANNE        PANKEY                   NM           90009272214
4758B881A5B53B   DIANE          PEREZ                    NM           90012588810
4759127315B174   MARTELL        JOHNSON                  AR           90015212731
475983A3461963   MELVIN         WINSLOW                  CA           90014583034
475B115215597B   SHELLEY        POTTER                   CA           90014151521
475B2153761967   MARITZA        ALARCON                  CA           90008631537
475B3197961963   ROSE           RIGOL                    CA           90004181979
475B3867651334   TITO           DILLHAUNT                OH           90010118676
475B3A78991569   PABLO          MONCAYO                  TX           90008420789
475B599275B375   DAN            WOLF                     OR           90007199927
475BB23622B395   MARIA          ROJAS                    CT           90014822362
475BB35A261963   TOMASA         VALENZUELA               CA           90013933502
4761279715B58B   MAYA           MADERA                   NM           35026817971
4761937A991569   KENDRA         VIGIL                    TX           90011623709
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47619653A71999   BERNADETTE      SALAZAR                  CO           38006596530
47619672772B4B   CHERYL          SANCHEZ                  CO           33087486727
4762794365B53B   QUINTON         ARCHANGEL                NM           90010329436
4762991217B431   VIVIAN          SMITH                    NC           11058499121
4763179455B58B   CRUZ            GONZALES                 NM           90012917945
476321AA84B271   JOHN            LUTH                     IA           90014561008
4763429132B27B   MARQUISE        MCCALL                   DC           90014862913
47634A43555939   KA              VANG                     CA           90011330435
4763637A171999   DUSTIN          DAVISON                  CO           90012583701
4763B498971999   ISAAC           LUNA                     CO           90013404989
4763B812155966   SIDNEY          THEARD                   CA           90014178121
4763BA97971999   ADOLPH          GARCIA                   CO           38079380979
4764436515597B   LUIS            CASTRO                   CA           90013953651
4764635848B355   CHRIS           LANDFORT                 SC           90013303584
4764888395B58B   BRUCE           GURULE                   NM           90013218839
476491A295B222   DANISHA         GIRTON                   KY           90014711029
47649298898B25   CLARA           RODGRIGUEZ               NC           90011302988
4764B49874B271   KERLYN          GIVENS                   NE           90013064987
4764BA11471999   CARI            ANAYA                    CO           90001440114
4765115858B594   SHAWN           LAFOUNTAIN               CA           90014561585
476539A297B457   DARIUS          FLOWE                    NC           90008489029
4765848954B271   SHAUNESSY       HENDERSON                NE           90008174895
4765937285B174   QUASHONNA       EAST                     AR           90010493728
47659596A5B58B   MISTY           STEVENS                  NM           90013095960
4765B391361963   DULCE           MARISCAL                 CA           90003203913
47661A7A291569   ELISHA          SERCKPOR                 TX           90013290702
47667273472B36   JOSE            SAENZ                    CO           90008632734
47667AA8772B36   FAVIANA         MARTINEZ                 CO           90013310087
47669A47661963   SILVIA          RODRIGUEZ                CA           90008490476
4767393264B271   CRISTINA        PARAISO                  NE           90010979326
4767B53912B27B   CHARLIE         WEGMAN                   DC           90014535391
47697797972B43   BRIAN           PHELPS                   CO           33018167979
4769799A44237B   DONNA           BIBLE                    GA           90008379904
476B1685172B4B   RAQUEL          ROSALES                  CO           33065806851
476B19A735B222   FAUSTINO        GONZALE                  KY           90012379073
476B3322961967   JESUS           ARIAS                    CA           90013253229
476B5A38A55939   GILBERTO        SANDOVAL                 CA           90000900380
476B7164961963   NOEMI           MARTINEZ                 CA           46050161649
477114A3372B36   JULIA           CHIHUAHUA                CO           90012834033
47714432A72B43   MONIQUE         BELEARDE                 CO           90013814320
4772383A38B355   HILARY          CANTY                    SC           11038728303
47723A21A93767   SHALAMAR        HENSLEY                  OH           90014650210
4772638568B355   ANIESHA         HEATH                    SC           90014183856
4772B99448B16B   APRIL           RAINEY                   UT           90003649944
4773252635B555   NINA            ROWELL                   NM           90013475263
47732755172B43   RAPHEAL         JOHNSON                  CO           33076587551
47733A8263B343   SHAN            GAMBLE                   CO           90012110826
4773517612B87B   HEZEKIAH        WHITE                    ID           90012961761
4773795355597B   ESPERANZA       FERNANDEZ                CA           90014859535
4773B977955966   LEEAN           GORDILLO                 CA           90014789779
4774236385B53B   JOELE           REEVES                   NM           90014093638
4774446825B388   HAROLD          CRAWFORD                 OR           90011804682
4774597962B27B   NIKITA          THOMAS                   DC           90010009796
4774948A551334   JOHN            MCPHERSON                OH           90010284805
4775173475B58B   MICHELLE        GLENN                    NM           90014877347
47751A69391569   LAURA           JARA                     TX           90011980693
477525A5491569   BERTHA          VARELA                   TX           90015205054
4775317A291394   BRENDA          MENDOZA                  KS           90005971702
477586A255B222   TERESA          TALL                     KY           68098886025
4775B772955966   ASHLEY          HURDLOW                  CA           90014037729
47764573772B43   CHRIS           ALEXANDER                CO           33070075737
4776479A155966   JUAN            MALAGON                  CA           90011417901
477687AA791873   LEVI            GOMEZ                    OK           90005827007
47768864457B97   MARK            WILLIAMS                 PA           90014418644
4777266A64B271   CHRISTOPHER     GLYNN                    NE           90013056606
47773A95771999   TIM             HAWAKINS                 CO           90003810957
4777848675B53B   ANDREW          MARTINEZ                 NM           90014964867
47781267A72B43   FELICIA         CHAVEZ                   CO           90007582670
477826A415597B   JIMMY           CRUZ                     CA           49032716041
4778479815B174   MANUEL          TERRASAS                 AR           90012767981
4778872265B53B   FELIX III       PACHECO                  NM           90010827226
477897AA28B355   DENIS           NAVARRO                  SC           11051887002
47798A95771999   TIM             HAWAKINS                 CO           90003810957
4779998912B27B   ERIC            BORTEY                   VA           90013699891
4779B126284336   ADAM            VAN HORN                 SC           90009971262
477B124665B58B   KARLA           ROJO                     NM           90004002466
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477B1728755939   JUSTINE        REYES                    CA           90012457287
477B34A185597B   MIGUEL         MARTINEZ                 CA           90013954018
477B43A1851361   CRYSTAL        JONES                    OH           90005853018
477B6995472B4B   SARAH          TRUJILLO                 CO           33006039954
477B6A79872B4B   SARAH          TRUJILLO                 CO           90012400798
478151A388B355   ALEXIS         HEMPHIL                  SC           90010331038
47818266172B43   JON            SCHAEFER                 CO           33003592661
4781B448761925   JASON          RAMOS                    CA           90007104487
4781BA5598B16B   JONI           CASE                     UT           90011870559
47823A8A45B174   CARLTON        HENDERSON                AR           90013430804
4782513995597B   ANA            REYNOSA                  CA           90010371399
4782987342B27B   WILLIE         WILLIAMS                 DC           90008958734
478341AA761967   ADAM           LABLANCE                 CA           90012261007
4783436935B174   TAMATRICA      BONTON                   AR           23061653693
47834A1738B59B   GABRIEL        GARAY                    CA           90014100173
4783557468B355   SARENA         CUNNINGHAM               SC           90001955746
4783769635B58B   LYNNAE         ATKINS                   NM           90002876963
47844A1865B58B   EVA            MUNOZ DE GARCIA          NM           90006840186
4784528A791569   JACOB          GOMEZ                    TX           90011502807
47845A53991988   JESSICA        OCHOA                    NC           17017520539
47853A22872B4B   EDWARD         DUANE                    CO           90011330228
47855A5775B222   CHRIS          MAGUIRE                  KY           90012020577
47856818272B36   LINDA          MORRIS                   CO           33036148182
4785B65164B271   ALEJANDRA      PULIDO                   NE           90013966516
4785B735451334   LANI           WILLIAMS                 OH           90008857354
47874984372B43   MARISOL        JUAREZ                   CO           90003779843
4787573382B27B   DANDRIA        HILL-BURNO               DC           90009747338
47885519972B36   JAMES          DUNCAN                   CO           90012865199
4788586145B53B   LINDSEY        MARTIN                   NM           90012908614
4788616575B222   GARNISHA       SANFORD                  KY           90006021657
47887455A8B165   MELANIA        MARCIAL                  UT           90005324550
4788B88264B271   ACHIRO         CHRISTINE                NE           90011128826
4789149AA5597B   JENNIE         LOPEZ PULIDO             CA           90013954900
47893A2832B27B   DAISY          DAVIDSON                 DC           90008740283
478946A685B551   NANCY          GONZALEZ                 NM           90012256068
4789598925597B   ZACHARY        CALKINS                  CA           90012109892
4789658252B27B   SHERINE        ROBINSON                 DC           81087465825
47896A4218B355   ASIA           BURKETT                  SC           90010210421
47898853672B36   ANA            AMAYA                    CO           90002948536
4789889185B174   TRAVIS         OLIVER                   AR           90013928918
4789B84465B222   CHRISTIANE     YOPP                     KY           68083968446
478B1642A55966   HERLINDA       DADO                     CA           90014736420
478B587824B271   JOLENE         JARILLO                  IA           90013798782
478B886A971999   JOSEPH         KAUTZ                    CO           90008938609
478B938875B58B   KEVIN          FOTI                     NM           90014923887
478BB55744B52B   SALVADOR       BOLANDIOS                OK           90010925574
4791716A72B948   MATTHEW        BROWN                    CA           90014241607
4791743578B59B   JOSE           HERNANDEZ                CA           90013794357
4791829315B53B   JAZMIN         JARAMILLO                NM           35060842931
4791B4A568B355   NATANYA        WALLACE                  SC           90006174056
47921474A72B36   SHAWN          MCGETTIGAN               CO           90015194740
4792161665B222   BARBARA        BARNHISEL                KY           90012936166
4792351A75597B   LAURA          REYES                    CA           90009135107
4792387352B27B   EDITH          MENJIUAR                 DC           90012628735
4792484565B174   G              STACKS                   AR           90013968456
4792BA22161967   NICOLE         GRACIA                   CA           90012290221
4793389138B355   JALISA         MASSEY                   SC           90005328913
4793466AA5B222   PRECIOUS       HEREFORD                 KY           90014136600
4794293822B27B   SABRINA        DANDIRDGE                DC           90009279382
479435A5A91394   BRETT          WILSON                   KS           29024865050
47944198872B36   MAXIMILLIAN    FRESQUEZ                 CO           90012041988
479443A782B27B   PAUL           LEWIS                    DC           90013763078
479486AAA61963   SCOTT          CARLSON                  CA           46013836000
4794912995B58B   NANCY          VILLEGAS                 NM           90011251299
4794B826355966   LUPE           FOX                      CA           90013178263
4795117A991569   ORALIA         RIOS                     TX           90011471709
4795199A15B222   BRETT          ADKINS                   KY           90010789901
4795737765B222   PHILLIP        SULLIVAN                 KY           90013773776
47965A5A85B58B   RENEE          LAJEUENESSE              NM           35013850508
47966A9845B53B   ALMA           TERRAZAS                 NM           90006690984
4797231852B27B   DONTE          POE                      DC           90014713185
4797771854B271   MICHELLE       LOVELACE                 NE           27000487185
4797B38528B165   EBENEZER       AUTO REPAIR              UT           90004093852
4798381355B53B   JORGE          ESCOBEDO-ALONSO          NM           90013518135
4798383AA5B222   DIAHANNE       WOODFORD                 KY           90013988300
4798715162B27B   LEOPAULDO      PARKER                   DC           90012861516
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4798B518572B43   NOE            MEDRANO                  CO           90005195185
4799229395597B   JOSH           WESTON                   CA           49001872939
4799451425B58B   JUAN           SANDOVAL                 NM           90014805142
4799478745B222   SAMANTHA       BALLENGER                KY           90006067874
4799663115597B   PORFIERO       MOJICA                   CA           90010046311
479B11A1891394   KAN            CHANCE                   KS           90008721018
479B3466991394   WILFREDO       PERDOMO                  KS           90013494669
479B6245861963   TIFFANY        RAE                      CA           90012222458
47B14685372B43   MISTY          MUNIZ                    CO           33057766853
47B16431261967   MONICA         GONZALEZ                 CA           90007514312
47B1793625597B   DIEGO          MACHUCA                  CA           90011379362
47B17A12761963   PATRICK        WILLS                    CA           90009590127
47B1899752B27B   PAYGO          IVR ACTIVATION           DC           90010639975
47B2324275B58B   TRISTIN        ROGERS                   NM           35073432427
47B23556755966   MARIBEL        BON                      CA           49008285567
47B23696931449   GOITOM         TESFAMICHAEL             MO           90011156969
47B24616772B4B   MICHEAL        WALKER                   CO           90014116167
47B25538572B36   M.REZA         KHIABANI                 CO           33085415385
47B2748635B53B   ANNETE         APODACA                  NM           90011194863
47B2B459A72B36   JESSE          THOMAS                   CO           90013784590
47B33451A72B43   BRITTANY       MONTOYA                  CO           90012274510
47B3B57975B174   TAYLOR         PARCHEL                  AR           90010685797
47B42322261963   ALFREDO        MARTINEZ                 CA           46088913222
47B4273195B222   SANDRA L.      DENNEN                   KY           90013987319
47B44455655939   JOEY           AZUGI                    CA           90014634556
47B45159591394   JUAN           GONZALEZ                 KS           90015291595
47B45928271999   TYLER          CROSS                    CO           90013259282
47B51738871999   TOMMY          MCCLEAR                  CO           90012067388
47B5B96365597B   RUDY           VALDEZ                   CA           90013949636
47B6145735B174   SHERRICH       HAMPTON                  AR           90014394573
47B6726A161967   ISAAC          LIRA                     CA           90008842601
47B69583672B4B   ICE            BABY                     CO           90008615836
47B6B624451334   MOISES         MENDOZA                  OH           90013536244
47B6B873872B36   WENDY          CHEEVER                  CO           90012408738
47B71442155966   CATALINA       MATEO                    CA           90012414421
47B77479571999   CAROL          SIMPSON                  CO           90010404795
47B82189391569   EMMANUEL       VALENZUELA               TX           75021481893
47B83AA335B222   CATRINA        FISHER                   KY           90012050033
47B84957172B36   TAMARA         HAGEY                    CO           90010659571
47B8676A561963   SHERRY         REGAN                    CA           90013827605
47B87793461967   JESUS          GARCIA                   CA           90012157934
47B88882391394   MELISA         MCDANIEL                 KS           29069358823
47B8B415161967   ARMIDA         ALDANA                   CA           90013004151
47B9169AA54132   RAUL           LEON                     OR           90015216900
47B92A93991569   DIANA          GOMEZ                    NM           90013400939
47B9689545B53B   MEAGAN         MAXEY                    NM           90014788954
47B9B621461967   ROCIO          FLORES                   CA           90001306214
47BB393415597B   JOSHUA         MCCONNELL                CA           90013949341
47BB5371871999   SHEA           HOFFMANN                 CO           90010623718
47BB876325B58B   JONATHAN       SANCHEZ                  NM           90013927632
47BB911A871999   MICHAEL        ARAGON                   CO           90012741108
48113173872B36   SHANE          BLACKBURN                CO           33081181738
48113357472B43   SHAKAYLA       HOWARD                   CO           90012483574
481149A7272B35   RICARDO        BLANCO                   CO           90011729072
4811522568B16B   JESSICA        ANGELL                   UT           90008852256
4811585498B16B   RICHARD        CALL                     UT           90014578549
481164A853B385   WILLIAM        TRIMBLE                  CO           90013064085
481174AA25B53B   CARLOS         IMPERIAL                 NM           90012474002
481177A7671999   AMBER          DESHON                   CO           90008377076
4812384392B27B   JULIUS         WILLIAMS                 DC           90014158439
4812387A551334   DAIMON         AIKMON                   OH           90011498705
4812685A371999   EXCALIBUR      NOLOER                   CO           90015038503
4812818228B167   GONZALO        PEREZ                    UT           90008551822
4812933A75B174   ANDREA         LEWIS                    AR           90013333307
481314A4771999   ANASTAHSIA     KELLY                    CO           90015264047
4813291A191988   IESHIA         BULLOCK                  NC           90010129101
481335A9671999   JAIME          GONZALES                 CO           90013115096
4813482252B27B   EMERITA        MERCADO                  DC           90004528225
4814387365B53B   LEO            DURAN                    NM           90014808736
4814612928B16B   DAMIAN         ADAMS                    UT           90011971292
4814B45A85B55B   AARON          NYSWONGER                NM           90013654508
4815191A191569   MARTIN         JUNIO                    TX           90010859101
4815779A391956   JOSE           PEREZ                    NC           90007037903
48158232272B36   MIKE           BANUELOS                 CO           33075042322
4815B83485B58B   JOHN           WAGNER                   NM           90014158348
48163724272B43   JOE            NUZ                      CO           90014167242
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48165376A91394   JESUS          RODRIGUEZ                KS           90014793760
48165384A54151   TAMMY          LAWRENCE                 OR           90003463840
48167419A72B4B   YASSER         ABOUAISH                 CO           90004134190
4817274724B259   TROY           OLES                     IA           27083837472
48177A41572B43   WILMER         VENTURA                  CO           90001120415
48178285A5597B   NICOLE         GREEN                    CA           90012872850
4817B12A191988   WILLIE         GODBOLT                  NC           90012001201
4817B944361967   PAUL           SIGNOR                   CA           90012789443
48181A6A45B174   LARRY          TURNER                   AR           90013810604
48183811A72B4B   CALEB          PLYTER                   CO           90013378110
4818554A761963   GENARO         TERRAZAZ                 CA           90010005407
4818772115597B   DEITRA         SULLIVAN                 CA           49041157211
481894A4771999   ANASTAHSIA     KELLY                    CO           90015264047
48191858572B4B   MARIA          GONZALEZ                 CO           90013248585
48192A54672B36   WENDALL        PRIDE                    CO           90012630546
4819665AA31959   RAHEEM         COLEMAN                  IA           90014236500
481997A335B58B   KATHERINE      LUCERO                   NM           90010157033
4819B356672B43   CIERA          SPIRES                   CO           90012463566
4819B533672B43   GABRIELA       PEREZ                    CO           90011815336
481B146578B186   MARIO          LOPEZ                    UT           90002074657
481B1719872B43   LINDA          ALVARADO                 CO           33074587198
481B258395B53B   JAMES          LEE                      NM           90014645839
481B2937171999   TRACI          HOLTGREWE                CO           90014479371
481B338318B165   CHRISTOPHE     GARCIA                   UT           31061733831
481B745825B395   LAWRENCE       NUNES                    OR           44546994582
481B9845671999   CARLA          ALCON                    CO           38076278456
481BB167372B4B   DAVID          JOHNSON                  CO           33012851673
482121A3351334   HARVEY         EVANS                    OH           90014941033
48212889A2B87B   IZAIAH         DOLEZAL                  ID           90006338890
4821784355B58B   ALEX           THOMPSON                 NM           90013888435
4821863887B445   MEIDY          HERNANDEZ                NC           90010646388
48222479672B4B   SILVESTRE      BRAVO                    CO           90003914796
4822664A85B395   JON            HERKENRATH               OR           44560046408
4822B2A668B16B   ARMANDO        GOMEZ                    UT           90014492066
4823724A25B53B   MISAEL         PENA                     NM           90011402402
4823781335597B   TOOT           WALTON                   CA           90013458133
48239137472B4B   KIMBERLY       BURKHART                 CO           90012311374
4823B631691394   CHRISTINA      BATY                     KS           90001316316
48245379772B43   ALFREDO        ALCALA                   CO           33001383797
48245A5415597B   AARON          LARA                     CA           90014760541
48246973372B36   KHADIJAH       GULLEY                   CO           33038689733
4824B182651361   LANGSTON       WARD                     OH           90000911826
4824B41A58B165   KARLA          DULFO                    UT           90004704105
4825413435B395   PABLO          REYES                    OR           90006221343
4825455465B395   PABLO          REYES                    OR           90009355546
4825928775597B   JOHNATHAN      CRIDER                   CA           90012872877
4825B884561963   DERRICK        WHITE                    CA           90011398845
4826681A172B43   JOSE           ROMERO ESTRELLA          CO           90005098101
482687AA95B222   AERIAL         THOMAS                   KY           90014837009
4827448A291988   SHERRI         WALKER                   NC           90014834802
48275113772B36   MINZIM         RIVERA                   CO           90010921137
48275651172B43   DEBORAH        DOOLEY                   CO           33023886511
4827569A88B16B   KERYN          SORIA                    UT           90015036908
4828168465B222   KRIS           DEPP                     KY           90012386846
48282A6385B222   JOHN           MUDD                     KY           90014350638
48286266972B36   CHRISTOPHER    BEAULIEU                 CO           90004582669
48287A24872B43   MALIA          KANOA                    CO           90012740248
4829341A372B43   KENYA          WILLIAMS                 CO           90013024103
4829352185B174   LINDA          STOFERD                  AR           90013285218
4829B16758B156   STEVEN         MORITZ                   UT           90014691675
482B244955597B   CARLOS         ALVAREZ-GUDINO           CA           49034474495
482B3462A2B27B   WILLIAM        SANDS JR                 DC           90013914620
482B3613672B4B   ROBERT         ROBINSON                 CO           90012786136
482B4155372B36   DELMY          ESPERANZA                CO           90012131553
482B4A11277595   JUAN           RODRIGUEZ                NV           90013170112
482B6615661945   JOSE           LUEVANO                  CA           90012436156
482B7824A2B27B   JOSE           SANTOS                   DC           90013858240
482B887555597B   STEPHANIE      RODRIGUEZ                CA           90012928755
482BB4A112B92B   ESTAFANY       REYNA                    CA           90011444011
482BB742A3B359   TATIANA        STARKS                   CO           90014077420
482BB76765B58B   LIZ            FLORES                   NM           90010987676
4831194315B53B   VICTORIA       HERNANDEZ                NM           90014039431
4831369857B457   TOM            FININ                    NC           90008556985
4831651382B27B   GINGER         ROYSTER                  DC           81086225138
48318574972B43   VICTORIA       MARIE QUINTANA           CO           90011805749
48321331A8B16B   DONNIE         ROBERTS                  UT           31085333310
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4832326455B53B   CHRISTOPHER         DAVIS               NM           90010652645
483265A555B395   PAT                 MYERS               OR           90007085055
483328A948B16B   SHELLEY KAY         O BRIEN             UT           90013518094
4833328AA71999   CHARELLE            JARAMILLO           CO           90009252800
48335A15591569   CRISPIN             ARMANDO             TX           90011050155
48337187762B66   JOHN                CAPPEL              KS           90010171877
4833B613272B43   TERESA              FEKANY              CO           90011896132
483448A7191988   BERRY               SUITES              NC           90013478071
4834694325B53B   ALEX                RIVERA              NM           90014839432
4834749532B27B   SHARYN              PRYOR               DC           90012554953
48349784A72B36   CHARLES             PATTERSON           CO           90000227840
48349A34351334   CARLA               MATHIS              OH           90012610343
48349A9345B58B   GABRIELA            LOPEZ               NM           90010010934
483513A645B174   ADRIENNE            HOWARD              AR           90011023064
4835525765B222   TAMIKA              BURNS               KY           90011082576
4835774A271999   SEAN                STORIE              CO           90009727402
4835912414B259   DONNA               SANDERS             NE           90003751241
4836148A172B4B   CHARLES NOCHOLAS    MCVAY               CO           90014184801
48365A37471999   TRINITY             HERRERA-TAFOYA      CO           90010620374
4836796318B16B   TERESA              GUIDO               UT           90014619631
4836B445591988   JESSICA             PLATT               NC           90011864455
48373821972B36   RIGOBERTO           ANDRES              CO           33091768219
483746A8A72B4B   CHANNA              HAMILTON            CO           33035276080
48375253A5B222   DOVIE               SMITH               KY           90010782530
48382AA435B174   JENNIFER            WASHINGTON          AR           90013960043
48386916A91956   XIOMARA             GONZALEZ            NC           90001829160
48391289A91569   GEORGE              ESSENBERG           TX           90010102890
4839152885598B   LUIS                GONZALEZ            CA           90007925288
4839294755597B   BEE                 XIONG               CA           90013469475
4839637675B222   HARRY               BROWNING            KY           90015173767
4839674725B58B   TIM                 MOTTRAM             NM           90014817472
4839711555597B   NORA                CURIEL              CA           49073281155
483B887398B16B   ASHIE               LENIDRIK            UT           90014588739
48414384172B4B   WENDY               CALAMIA             CO           33053763841
4841788335597B   CHRIS               JAMES               CA           90012128833
4841B17515B53B   ROBERT              GARCIA              NM           35047171751
4841B6A5961963   KRISTIN             WICK                CA           90014546059
4842112168B16B   LAURA               GARCIA              UT           90014591216
484264A9784353   KEYONA              WILLIAMS            SC           90001384097
4842B868191394   MARIA               CALDERA             KS           29073618681
4843179A791988   CHANTI              COUCH               NC           90001027907
4843312A64B271   WILLIAM             HENDERSON           NE           27015841206
4843699465B222   LAKISHA             OLIVER              KY           90010529946
48438A8322B27B   ELBA                CABRERA             DC           90012740832
48441297272B43   JANALDO             MIMS                CO           90014112972
48441A6145B53B   WILLIAM             FLOOK               NM           90014860614
4844358448B165   SIONE               TAUNAUTA            UT           90003855844
4844441962B27B   DONNELL             HOOKS               DC           90011044196
4844498868B16B   LETRELLE            MCCELLON            UT           90014619886
4844565978B16B   MARK                COMBEST             UT           90013016597
484488A518B155   DARIN               CAMOMILE            UT           90008728051
4845435778B165   LUCIANA CONCEICAO   SIMOES              UT           90003983577
4845774325B222   KEVIN               MCDOWELL            KY           90011647432
4846287565B58B   ELIAS               GONZALES            NM           90014878756
48462965A91394   MARCOS              PEREZ               MO           90014859650
484635A4457122   ERLINDA             VILCA               VA           90006175044
4846534123B321   JESSICA             CRUZ                CO           90011413412
48465937A3B321   JESSICA             CRUZ                CO           90011629370
48467237A5B58B   NATHANIEL           HOEFER              NM           90013072370
48468832572B43   DANNY               CHAVEZ              CO           33068408325
48468919172B4B   EVA                 STROUS              CO           90013149191
4846B8A3161967   EBONY               BARKER              CA           90007888031
4847419762B27B   DOMINIQUE           WILLIAMS            DC           90013041976
48479856A61967   JAVAN               WOODSON             CA           90013218560
4848343995B395   KOOLGAIL            KUNE                OR           90011524399
4848561895B53B   ROBERT              WILLIS              NM           90007526189
48487A74891956   TIMOTHY             WILSON              NC           90001830748
4848862355B174   RODNEY              BEASLEY             AR           90013456235
48492856172B4B   MICHAEL             SELL                CO           90012798561
48499923672B4B   HENRY               WEBB                CO           90011919236
484B2A3965597B   LUIS                HERNANDEZ           CA           90010760396
484B3165451321   CHRIS               SMITHSON            KY           90008121654
484B9382451344   ANNA                LOVELY              OH           90002723824
484BB28512B27B   RANIKA              SLIMS               DC           90014842851
48512262372B43   YURI                MORENO              CO           90012062623
4852141465B222   JUAN                CHAVEZ              KY           90006264146
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4852221A55B174   CRYSTAL          THOMAS                 AR           90011052105
48522999A91394   CARMEN           DESALAZAR-BALDERAS     KS           90014879990
48523188A2B27B   TERRANCE         MURRAY                 DC           90014801880
4852427395B395   ROSA             MEJIA                  OR           90010282739
485285A344B259   CHARLES          FISHER                 NE           90001485034
4852961285B222   CARAMEL          SUNDAY                 KY           90010836128
48538437A72B36   ROBERT           MARLOW                 CO           90009944370
4853B63328B186   RANDY            NELSON                 UT           31095436332
4854382228B182   GERMAN           CASA                   UT           90011628222
48544A7222B87B   AMANDA           ASBURN                 ID           90013800722
485499A8A91569   NANCY            LOPEZ                  TX           90008009080
4854B332372B36   AMY              KERSTIENS              CO           90001183323
4855165334B52B   DANNY            PRICE                  OK           90008836533
4855741A84237B   SHANE            SMITH                  GA           90010294108
485585A4651334   STEPHANIA        CAMPBELL               OH           66048695046
48558633A5B222   KEITH            HATHAWAY               KY           90015206330
4855912915B174   EUGENE           BOSTON                 AR           23074791291
4855B47455B58B   JAMEY            CROCKETT               NM           90010944745
4855B7A245B222   SHIRELLE         WOODRIDGE              KY           90005817024
4855B84815B58B   MANUEL           ROBLES                 NM           90012728481
4856344277B445   PORSHA           NANCE                  NC           90011034427
485654A7191873   NICOLE           ARMS                   OK           21033514071
4856728645597B   MAYRA            GORDILLO               CA           90011032864
4856995625B174   CHRISTY          THORNTON               AR           90013579562
4856BA96761963   DANIEL           CORONA                 CA           90013360967
48574159872B36   DAVID            HEIFEL                 CO           90014631598
48576A3912B27B   SILVER           RUFFIN                 DC           90011470391
48577394172B4B   ANTONIO          PEREZ                  CO           33005303941
485845A545B395   ROBYN            JACKSON                OR           90008635054
48591965772B36   JENNIFFER        GARCIA                 CO           90010929657
48597538A91569   TANIA            HART                   TX           90013875380
4859797935B53B   ROCIO            ULLOA                  NM           90014869793
4859934A34B543   MAX              BERT                   OK           90010013403
485B365A15B222   RICK             DIVENPORT              KY           90013606501
485B3A97391394   DENISE           NAJAR                  KS           90014870973
485B5547472B43   DOMITILA         MENDOZA                CO           90013785474
485B5687251361   TERRANCE         MILFORD                OH           90005126872
485B8A47A72B36   TIMOTHY          HARVEY                 CO           90015140470
4861229125597B   MIRIAM           SANCHEZ-MORALES        CA           90012002912
4861341695B174   JOSHUA           CORLIS                 AR           23086024169
4861B624471999   TIFFANY          NELSON                 CO           90014616244
486223A918B16B   ELIZABETH        TAYLOR                 UT           90014633091
48627A9A872B43   GREGORY          THATCHER               CO           90012490908
48632A7595B174   MILTON           RIMEREZ                AR           90008550759
4863724912B27B   JAVON            DABNEY                 DC           81021032491
4863B582972B4B   ALEJANDRO        MENDEZ                 CO           90012525829
4863B73555B58B   NIURVE           LEONPRIETO             NM           90011187355
48643A8895B53B   SAMANTHA         CHAVEZ                 NM           90014870889
4864416435B222   NEISHA           NICOLE                 KY           90013271643
48645175A8B16B   DARTAGNAN        JOHNSTUN               UT           90014701750
4864733155B58B   JUAQUIN          OLAGUE                 NM           90015303315
4864735238B165   JOSE             LOVATO                 UT           31096543523
48647A26172B36   RHEANNA          VELASQUEZ              CO           90013240261
48649323372B36   NOEMI            MARQUEZ                CO           33089733233
486524A1791988   RICKY            MENDEZ                 NC           90014724017
486536A2661967   ANTONIO          DORADO                 CA           90005626026
486541A235B53B   MERLINDA         FLORES                 NM           90014871023
48654613272B4B   PHILIACIA        LADEAUX                CO           90013046132
4866122375B222   FRANCES          CRAWFORD               KY           90013542237
4866429348B165   COREY            BARRRETT               UT           90003232934
486653A115B222   ANGELA           YANES                  KY           90012073011
48666A25691547   COREY            ONTIVEROS              TX           90012590256
4866B492272B43   HEIDI YUASELIN   NUNEZ                  CO           90012634922
4867122385B174   KATESA           WASHINGTON             AR           90013542238
4867339235598B   BLANCA           ROMO                   CA           90014753923
4867599AA5B53B   LYDIA            NUNEZ                  NM           90008059900
48677292A91569   JAMES            KELL                   TX           90006742920
48678447172B43   LORI             KING                   CO           90012824471
486787A9772B4B   SAMANTHA         ORNELAS                CO           90010597097
4867B63515B222   SUJIT            SUBBA                  KY           90009096351
48688812A85939   JOSH             CROUCH                 KY           90009258120
4868B781191873   KYLE             FRIEND                 OK           90007177811
4869163265B174   DONNA            WINNE                  AR           90007626326
4869518545597B   MIGUEL           CASTILLO               CA           90007211854
486964A1251334   DUSTYN           WILLIAM                OH           90007564012
48697A4A751334   CENI             ORELLANA               OH           90012620407
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486B2768177595   JULIO             CARDENAS CRUZ         NV           90010567681
486B3694181669   KYLE              RAY                   MO           90010736941
486B5568A61963   MARISOL           JIMENEZ               CA           90014275680
486B5928292825   RUFINO            LOPEZ                 AZ           90014109282
486B6A48572B36   MIACHAEL          HEALING               CO           90014320485
48712489772B43   MARGIE            MACBRIDE              CO           33030314897
4871368525597B   MARIA             GOMEZ                 CA           90011136852
4871493492B27B   SANDRA            RODRIGUEZ-DIAZ        DC           90003239349
48716116572B36   DALE              PETERSON              CO           90010921165
4871613365B222   ALLEN             CARBY                 KY           90012741336
4871725245B53B   ABRAHAM           ROBLEDO               NM           90011402524
4871747715B53B   FELIPE            MENDOZA               NM           90012174771
48719317A71999   LOU ANN           ARAGON                CO           90001413170
48719618A72B36   BLAKE DEJONECHE   SWAIN                 CO           90010826180
4871B34265B395   NICOLE            STREETER              OR           90008993426
4873172188162B   SAMIR             GUSEYNOV              MO           90005817218
4873939612B23B   AISHA             LAUGHTON              DC           90008163961
4874261948B16B   ROBERT            LAWSON                UT           90003836194
4874562775B299   MARIO             RECINOS               KY           90010376277
48748477272B4B   ADAM              FEINBERG              CO           33087204772
48749A61991988   JENNIFER          PERKINS               NC           90014210619
4875173585B395   SAMUEL            BILTON                OR           90010517358
48752185672B23   BLANCA            DIAZ                  CO           33008971856
48752543A61963   VICENTE           RUIZ                  CA           90007655430
48755A9552B87B   LATINA            WATSON                ID           90009330955
4875946955597B   GIL               LAY                   CA           90000344695
4876158495B222   GAYNELL           HARRIS                KY           90014135849
48764A89985941   BRADLEY           LAWLESS               KY           90011280899
48766625A61963   MARIA             LARA                  CA           46044456250
4876968915B58B   MIRIAM            RAMIREZ               NM           35076366891
48773882A2B27B   NICOLE            ADAMS                 DC           90001258820
4877526582B87B   DENNIS            HANKINS               ID           90009662658
4877539A671999   CONNIE            MARMOLEJO             CO           90011793906
48778699372B43   ANGELO            BUSTAMANTE            CO           90011206993
4877B835792825   WILLIAM           PLETCH                AZ           90014578357
487812A6472B98   JOHN              TILTON                CO           90003122064
48784161372B36   JOSEPH            LUCERO                CO           90010391613
487852A315597B   KENNETH           DOLAND                CA           90014132031
487861A3891988   ARIELA            TAVERA                NC           90006431038
4878B76355B279   TANIKA            BETTS                 KY           90009087635
4879128655B174   RICHARD           SUITT                 AR           90013152865
4879391142B27B   TORRENCE          ADAMS                 DC           90008569114
487967A3691394   ERIKA             ARREDONDO-ALEMAN      KS           90014937036
487973A1A4B271   CODY              EGGLESTON             NE           90002343010
487B2942A61966   JORGE             MARTINEZ              CA           90013049420
487B4637761967   KAREN J           FLEISHER              CA           90011406377
487BB946491394   JOSE              SOLIS                 KS           90007559464
48811745472B36   JENNIFER          MALLORY               CO           90012317454
48817448A2B27B   OCTAVIUS          GRANT                 DC           90012714480
488198A3791394   RAMIRO            LINARES               KS           90014938037
488232AA15B58B   MICHAEL           MASON                 NM           90012192001
4882342445B58B   MARCOS            MARES                 NM           90013874244
488247A477B386   LUIS              FILTRIN               VA           90001517047
48829853372B36   LAURA             DURAN                 CO           90014538533
48833934A92825   NATASCHA          WATHOGOMA             AZ           90014699340
4883B649A5B58B   RAY JR            VIALPANDO             NM           35024436490
4884498574B259   MARY              CASE                  NE           90007179857
48854A67691569   REBECCA           CHAVIRA               TX           90006560676
4885613128B594   KASSIE            GLADDEN               CA           90011361312
4885B23617B445   LATROYA           MCILLWAINE            NC           90011102361
4885B685691394   KAREN             LEAPER                KS           90010646856
4886387644B259   IVAN              ALBAREZ               NE           90007888764
48863A24391988   BARBARA           CHALMERS              NC           90010380243
4886418154B271   MARK              WAGLE                 IA           90010631815
488663A415B222   TANAJIA           REED                  KY           90012353041
4886784365138B   JUNIOR            HICKS                 OH           66081358436
4886B79724B271   ALEJANDRO         GONZALEZ              NE           27007307972
48879972A72B36   RAFAEL            ESCOBEDO              CO           90012929720
48881376372B43   ANDRES            AGUILERA              CO           90012643763
4888298755B53B   VICTORIA          TAFOYA                NM           90005679875
4888637888B16B   VINCENT           SADLER                UT           90010363788
48888A9615597B   IRMA              TORRES                CA           90013750961
4888B57225B174   DANIEL            GOVAN                 AR           90014925722
4888B777A5597B   MARVIN            PORTILLO              CA           90015147770
488955A8491394   FELICIA           QUALLS                KS           90014945084
4889916375597B   CLIFFORD          WEBB                  CA           49097541637
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488992A373B393   MTRENZ             GRANT                CO           90013632037
4889952595B53B   EUGNE              KYLE                 NM           90014885259
4889B91178B16B   BRITNEY            MANATAU              UT           90013269117
488B1125651334   BILLY              MCGEE                OH           90009281256
488B8883391988   LUIS               MAZO                 NC           90013788833
4891459152B27B   THERESA            DIXON                DC           90013865915
48914682472B4B   UHRANN             SMITH                CO           33034696824
4891469A32B27B   FREDDY             CARDONA              DC           81082446903
4891722532B27B   BRYANT             CLARK                DC           90013062253
4891756555B53B   OFELIA             ESCOBEDO             NM           90014885655
4891823987B472   MARQUITA           MASSEY               NC           90010942398
4891B758691569   MARIA              TRAVIZO              TX           75052987586
4891B92A872B4B   COLLEEN            COLLINS              CO           33009359208
48921A65651321   DIANA              MOON                 OH           90013270656
48926A93791988   KYMBERLE           REDDISH              NC           90012660937
48927A2295B55B   MARIA              STANDLEE             NM           90000970229
4893191A45B395   ROBERT             MCDANIELS            OR           90011279104
4893244A261963   ALYJAH             KENNEDY              CA           90014704402
4893354555B174   LAMETRIA           JACKSON              AR           90013805455
4893547618B16B   MARIA              RODRIGUEZ            UT           90014644761
4893858755B53B   KATALINA           GONZALES             NM           90003465875
4893B53954B259   ANTHONY            BAXTER               NE           90000335395
4893B63384B259   ANTHONY            BAXTER               NE           90013416338
48942A25272B36   LUPE               BANUELOS-HERRERA     CO           90003810252
48943428972B4B   GERMAIN            ROMERO               CO           33097684289
4894442885B222   WHITNEY            BELL                 KY           90006334288
48944954172B43   CRYSTIA            TATE                 CO           90013289541
489462A482B84B   GEBREHIWOT         GEBRESILASSIE        ID           90011852048
4894763125B174   CONNIE             SYKES                AR           90014876312
48947A21A2B27B   TROY               LIPSCOMP             DC           90011110210
4894984179373B   JUSTIN             LOGGINS              OH           90012958417
4894B174951334   LINDA              COLLINS              OH           90012601749
4894B49A971999   JACOB              CASACK               CO           90014644909
48952762A5B174   REID               DOUGLAS              AR           90015177620
4895337375B53B   STAN               BENAVIDEZ            NM           90012073737
48953A93291569   IVAN               BURCIAGA             TX           90005550932
4895741748B16B   RICKIE             EMERSON              UT           90011014174
489578A2391988   RICARDO            PADRON               NC           90010668023
4895B156851326   STEFANIE           BODE                 OH           66080861568
48965A7318B16B   MARIA              HERNANDEZ            UT           90006280731
48967543772B4B   IONA               LONG SOLDIER         CO           33072615437
48967A3A65B395   KENDRA             JONES                OR           90008410306
48969A85571999   RENEE              MARTINEZ             CO           90010000855
4896B49635597B   ASHLEY             DAY                  CA           90013044963
4897141872B27B   DELONTE            SHERROD              DC           90012864187
4897936A651334   JOHN               SMITH                OH           90012633606
4898225185B58B   BRITTNEY           FREY                 NM           90011512518
48985779A91988   DANIEL             JENKINS              NC           90013797790
4899B83415B174   ANITAL             MEADOWS              AR           90013218341
489B247462B27B   DEVON              ALLEN                DC           90012974746
489B3588391873   CANDACE            FITZER               OK           21082295883
489B4571891394   LUCINDA            STRONG               KS           29003735718
489B5A97A5B174   LOURHONDA          STEWART              AR           90014570970
489B9414972B4B   RAMONA             AVILA                CO           90012824149
489B995165B395   RACHEL CASSANDRA   YARBOUR              OR           90002649516
489BB29AA51334   CAMILLA            BUSH                 OH           90010882900
489BB56475B395   JUSTIN             BERNEL               OR           90009515647
48B14448572B4B   JOSEPH             STARBUCK             CO           90013534485
48B18515654121   GENNI              DEMARIS              OR           90012555156
48B1915515B58B   LORENA             LECHUGA-ANAYA        NM           35021961551
48B1B137361967   MARIA              OROZCO               CA           90001101373
48B2312334B271   ANGELIQA           LOPEZ                NE           90011371233
48B2429978B16B   YENORY             GOMEZ                UT           90012752997
48B25153272B36   KIANA              GABBERT              CO           90008311532
48B2549A12B27B   ROSE               SHADE                DC           90013364901
48B28193A77522   FILIMON            RUIZ-PEREZ           NV           90003261930
48B28A78771999   KRISTY             POOLE                CO           90013090787
48B2B854171999   AIOTEST1           DONOTTOUCH           CO           90015128541
48B368A525B222   CHRIS              HESLER               KY           90012408052
48B385AA991988   BRANDI             DUBOSE               NC           90010765009
48B3966228B16B   MICHAEL            LAMBROSE             UT           90014566622
48B39AA4772B43   KATRINA            GARCIA               CO           33060340047
48B41563751367   MELISSA            GILLIAM              OH           90008095637
48B4252645B174   CHRISTON           SHACKELFORD          AR           90012375264
48B426A1A91569   ROBERT             VOGEL                TX           75014156010
48B43269471999   JOLENE             ORTEGA               CO           90010082694
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48B449A4A4B259   CARLOS         ALFARO                   NE           90006609040
48B4811A15B174   SHAMEKA        TURNER                   AR           90006481101
48B4869A85597B   ROBERT         MC NAMARA                CA           90009806908
48B487A1591988   DIJON          WRIGHT                   NC           90011087015
48B48885A61967   DOMINGO        MORALES                  CA           90004978850
48B5211675597B   FELIX          LOPEZ                    CA           90003181167
48B54227A5B53B   PAUL           SARTIN                   NM           90005122270
48B5653622B27B   KIMBERLY       WRIGHT                   DC           90014425362
48B57133977595   LIZBET         SEGURA                   NV           90010661339
48B589A9491988   SHEARL         MARSHALL                 NC           90008599094
48B5971A554121   EVA            LINDER                   OR           90012457105
48B6629745B395   JEREMY         SMITH                    OR           90011262974
48B66764891394   JOHN           LIVINGSTON               MO           90011747648
48B67643291569   DIANA          VALVERDE                 TX           90007796432
48B68555131491   TERRISA        HILLARD                  MO           90011045551
48B73216361963   ARCELIA        CUELLAR                  CA           90012732163
48B74893791956   LATASHA        SAUNDERS                 NC           90002558937
48B7547385B174   MARLENE        TRUJILLO                 AR           90013254738
48B7664825B58B   MARTIA         ALPHONSO                 NM           90008196482
48B77216491569   MICHELLE       GARCIA                   TX           90013932164
48B78184961963   ROBERTO        ROBLES                   CA           90010041849
48B78826433653   ROBERT         ISLEY                    NC           90009788264
48B7916325597B   NOEL           HERNANDEZ                CA           90012001632
48B79826433653   ROBERT         ISLEY                    NC           90009788264
48B7B539251326   JAMES          WALKER                   OH           90001905392
48B7B855972B43   JOSH           CHOTINER                 CO           90000618559
48B7BA8782B87B   DAVID          FUSON                    ID           90006850878
48B81941871921   GEORGE         KANATAS                  CO           90007869418
48B8232355B555   HEATHER        BURKE                    NM           90011043235
48B85868291956   SHAKIA         MOSS                     NC           90009148682
48B85918561967   JUSTIN         BLAIR                    CA           90014529185
48B86545972B4B   CHONG          STUDIO                   CO           33095485459
48B87982A91569   LOURDES        IBARRA                   TX           75012749820
48B89847761963   HECTOR         MORALES                  CA           46073218477
48B9267975B174   CARL           CARTHAN                  AR           90015176797
48B9594922B27B   ALEXIS         TORRES                   DC           90012719492
48B9787387B467   PAMELA         MAYER                    NC           90013838738
48B9843A98B16B   JAKE           ARRINGTON                UT           90012374309
48B992A2272B4B   SANDRA         GRISHAM                  CO           90000182022
48BB256795B222   JANE           SMITH                    KY           90001495679
48BB449162B27B   TIMTHY         GOODWYN                  DC           90014064916
48BB7A53271999   STEPHANIE      CARDENAS                 CO           90013090532
48BB9817251334   DARIUS         HAMILGTON                OH           90005198172
48BBBA21271999   MOSE           MARTINEZ                 CO           90013090212
48BBBAA8972B36   LLUVIA         AGUIRRE                  CO           90009260089
4911543835597B   SELINA         HUERTA                   CA           90010894383
4911554A591569   JUAN           MARROQUIN                TX           90007485405
4911742738B885   JEREMY         PAYNE                    HI           90014004273
49117A3A75B53B   JAMES          LUCKETT                  NM           90010490307
49117A7512B27B   SANDRO         MARTINEZ                 DC           90008070751
491182A2971947   MICHAEL        REEDER                   CO           90003202029
49128281197B62   ZACHARY        MECLELLAND               CO           90013512811
491323AAA61967   KATRINA        KENNEDY                  CA           90008493000
49132481A4B271   ASHLIE         CONGDON                  NE           90004434810
49135735A5B53B   ESTRELLA       SANCHEZ                  NM           90012157350
4913745615597B   JUAN           MARTINEZ                 CA           90014434561
49139514172B36   GENESE         MEJIA                    CO           90007675141
4913971855B174   MANUEL         PEREZ                    AR           90011267185
49139742172B43   JERRY          GARCIA                   CO           33063247421
4914359775597B   MAX            RODELA                   CA           90012525977
49145117797B53   FRANCISCO      LUCERO                   CO           33068731177
4914929335597B   JEFF           TURNMIRE                 CA           90005902933
4914BA9A85B375   SERAFIN        CABELLO                  OR           90004520908
49151A91391959   BANAY          CAPRI FIELDS             NC           90009150913
49153532372B4B   RUBY           ROSS                     CO           33027555323
491557A815B58B   CHRISTINE      HERNANDEZ                NM           35032157081
4915652295B174   TONIA          HOLLOWAY                 AR           90002965229
4915B583A91959   CHARLES        LETTERMAN                NC           90013545830
4916142347B453   GABRIEL        AMAYA                    NC           90012434234
4916159A472B36   SIMON          VATH                     CO           90012705904
49161A93272B4B   BEATRIZ        KEMMERER                 CO           90010130932
4916446755597B   EVA            RAUMAKER                 CA           49034844675
4916528732B27B   SEAN           BURGESS                  DC           90012882873
49166138A5B53B   JAMES          MESQUITA                 NM           90011071380
49166347272B36   CARRIE         WILBORN                  CO           33078583472
49173A99591394   REBECCA        RILEY                    KS           29085840995
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49177236297B62   CHEYENNE       MARIE DU CHENE           CO           90014542362
49181447872B43   JONATHAN       MARMOLEJO                CO           33061744478
4918451728B165   BRIGITTE       FAVRO                    UT           31062375172
4918464145B395   VICKIE         COYOTL                   OR           90007416414
4918786655B53B   DARLERE        MAESTAS                  NM           90010768665
4918938442B87B   BRYON          HAVILAND                 ID           90007633844
491945A9A2B27B   JESE           SANTOS                   DC           90013085090
4919484296B275   CHARLES        SIMS                     AZ           90013978429
49196397A61967   JENNIFER       MIRANDA                  CA           90005803970
4919813645B53B   ALEXANDRIA     PACHECO                  NM           90007751364
491981A3891873   ELISSA         HAMSARD                  OK           90014731038
4919854775B174   CINDRA         ELLIS                    AR           90010895477
491985A445B58B   SHARON         GARCIA                   NM           90015005044
49199271572B36   MONICA         FERNANDEZ                CO           90012322715
4919B488172B54   JUANMANUEL     HERNANDEZ-IVARRA         CO           33068524881
491B1848591583   JESUS          HOLGUIN                  TX           90011098485
491B368A171947   BRITTANY       CROFFUT                  CO           90013846801
491B3787171999   SEBASTIAN      ESTRADA                  CO           90012817871
491B5187233B55   PAULA          PARKER                   OH           90014621872
491B582662B27B   RENEE          WILLIAMS                 DC           90014018266
491B5A32781698   KAREN          COLE                     MO           90008990327
491B7842491922   DOMINIQUE      STANLEY                  NC           90010798424
491B7AA1471999   RHIANNON       MARTINEZ                 CO           90009990014
491B8229636189   JOHN           LECON                    TX           90004282296
491B874615597B   JOAQUIN        MONTEZ                   CA           90014887461
491B9954497B62   CELINA         ENDOZA                   CO           90013009544
491B997885B523   JESSICA        VENZOR-VENEGAS           NM           90005599788
49211A87191583   FERNANDO       MEDINA                   TX           90010480871
49212241172B36   ISAAC          OLMOS                    CO           90011942411
4921397A561963   ROCKY          PEREZ                    CA           90009879705
4921448722B27B   LAMBERTTA      DOVER                    DC           90014744872
492147AA391523   BERNARD        DEFOREST                 TX           90013517003
492195A3771946   JASON          ELLIOTT                  CO           90014765037
4921B726472B36   BRITTANY       AVRA                     CO           33095027264
4921B74652B87B   YVONNE         HOUSE                    ID           90005617465
49229885A5B58B   JARROD         MENDOZA                  NM           90015168850
49231986172B54   DIASIA         CURRIE                   CO           90011539861
4923232932B395   MARGARET       GARDNER                  CT           90013983293
49232858A71999   ADRIANA        HURD                     CO           90009448580
492361A6261967   VIELAHNI       LEOMITI                  CA           90014631062
49237517A5597B   GLORIA         QUINONES                 CA           49067855170
49237A65A61967   JULYATHINAH    PHRAKOUSONH              CA           90010230650
49238A78772B43   ANGELA         YSLAS                    CO           90011800787
492468A3A41222   DEBRA          WALKER                   PA           90011788030
4924849775597B   RUTH           MURILLO                  CA           90012604977
4925758745B53B   MARIA          DOMINGUEZ                NM           90013765874
49258A26291583   MARIA          ROCKWELL                 TX           75087160262
49259A7328B163   ANTHONY        MAESTAS                  UT           90008700732
49261942A91959   OLVYN          MEZA ALMENDARES          NC           90013869420
49262536872B4B   ESTEBAN        RAMIREZ                  CO           90010745368
49262615397B62   GUADALUPE      SERRANO                  CO           90007066153
49265189672B43   CHRISTINA      PALACIOS                 CO           90011811896
492655A165B58B   JOSE           MOTA                     NM           90012165016
49266984A5B53B   JOHNMICHAE     SENA                     NM           90009439840
4926846565597B   MAI            KALIA                    CA           90010864656
49275468A91583   ADRIAN         GALINDO                  TX           90014754680
4927585AA71947   SEAN           PACK                     CO           90011218500
4927B968561967   FERNANDO       VALDEZ                   CA           90007519685
4928243495B174   GREG           RALLY                    AR           90011284349
49282A76372B54   SARAH          WILLIAMS                 CO           90001890763
4928367135B395   MACKENZIE      HORNYCH                  OR           90010816713
4928425925B53B   CHAYANNE       GALLARDO                 NM           90014192592
492861A445B53B   DEMI           ELIZALDE                 NM           35059321044
49287AA9971999   JOSH           DAVIS                    CO           90011600099
49288239A5B53B   XAVIER         GOMEZ                    NM           90011502390
4928B694872B36   GUADALUPE      CAMPOS                   CO           90009536948
49292A4A591569   PAOLA          RODRIGUEZ                TX           90006380405
49294A98171999   JOE            BACCA                    CO           90014100981
49296166272B4B   GABRIEL        VALADEZ                  CO           90013821662
492966A9472B4B   GABRIEL        VALADEZ                  CO           90007416094
492B118977B463   SHANA          WILLIAMS                 NC           90006791897
492B1315997B62   DESIREE        SEPEDA                   CO           90013513159
492B1318961963   NICK           ALVAREZ                  CA           46012813189
492B2152472B43   EDWARD         BURKE                    CO           90011811524
492B2642691583   MIREYO         COSTILLO                 TX           90011566426
492B5837997B62   THOMAS         SHANKLE                  CO           90009048379
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492B62AA191959   CHANEL         ROBERTSON                NC           90014162001
492B7336A71946   FRANK          QUIALES                  CO           90006403360
492B7498772B4B   SUE            HOWE                     CO           90012894987
492B8626557B97   GABRIELLE      GAMBRAH                  PA           90013896265
492B871A536189   ROSALBA        BARTON                   TX           90005637105
492BB393A61967   ASHLEY         FRANKLIN                 CA           46017933930
492BBA1955B53B   BRUCE          GARCIA                   NM           90013220195
4931976895B58B   ALEJANDRO      GAMBOA                   NM           90010987689
4932115A993741   ASHLEY         WILCOX                   OH           90013271509
49321262374B3B   ERIC           ASH                      OH           90015292623
4932366615B53B   EDUARDO        ARCINIEGA                NM           90003346661
4932589715597B   FRANCISCO      LAUREANO                 CA           90014228971
4932713264B271   SEBASTIAN      TINO                     NE           90004531326
4933154682B27B   ERCENCIO       SANTOS                   DC           90012725468
49333812397B62   JESSI          FLOREZ                   CO           90011118123
4933643865B395   HECTOR         SAN JUAN GARCIA          OR           90004654386
49337A29871947   ZACH           DILLINGHAM               CO           90013860298
49338383972B54   JOSE           LARA                     CO           90007703839
4933869935B53B   DAVID          VELASQUEZ                NM           90010856993
49338848A61963   JESSY          LOPEZ                    CA           90009888480
49342546572B36   YOLANDA        LOPEZ                    CO           90013555465
49343833797B62   JENNI          ESCH                     CO           90011378337
4934B274791583   REYES          RICARDO ESTEEBAN         TX           90008992747
4934B63838B16B   KATIE          GIBSON                   UT           90006216383
4935143858B885   LES            GOODMAN                  HI           90014004385
49367246872B62   WILLIAM        MAES                     CO           90011202468
4937123272B253   DENA           BROWN                    DC           90000452327
49371425572B54   SUSANA         ESPITEA                  CO           90010024255
49379528A71946   BARBARA        BABKA                    CO           90012665280
4937B398491569   FLORES         ALEJANDRO                TX           90010313984
4938253652B27B   AYANNA         BLUE                     DC           90002455365
49384A91897B62   VIANEY         AGUIRRE                  CO           90013170918
4938726615B58B   LETICIA        LUCERO                   NM           90014392661
49387A74161967   W              BUCKLEY                  CA           90013210741
49389221472B4B   TROY           GRAY                     CO           90013922214
4938B829A71947   CASSANDRA      THOMPSON                 CO           90014288290
4938B8A8A91583   MINERVA        ALVAREZ                  TX           90013048080
4938BA5685B58B   RICARDO        SANCHEZ                  NM           90013750568
4939812A85597B   LINDA          PEREZ                    CA           90010951208
493B1197791583   MARGARITA      SAMORA                   TX           90008621977
493B1291872473   ERIC           DEMUS                    PA           90014642918
493B8677671947   DAYO           EDWARDS                  CO           90009076776
493B895715B58B   SALAZAR        SANTOS                   NM           90010469571
493B9254472B4B   DESISLAVA      ANCHEVA                  CO           90013502544
493B934A88B162   JAKE           MARKER                   UT           90001363408
493BB73692B27B   JORGELINA      GASTELUM LOPEZ           DC           90013227369
49411A9475597B   FELICIA        RIVERA                   CA           49053140947
49416277672B38   GUADALUPE      CORONA                   CO           33031132776
4941775655B53B   DALILHA        LEE                      NM           35045487565
49417885A5B58B   JEROME         ABEITA                   NM           90012378850
49419271572B4B   VANESSA        ALVARADO                 CO           90014112715
494193A625B581   JOSHUA         RODRIGUEZ                NM           90011523062
49419528A91583   ISABEL         PEREZ                    TX           90013425280
4942136755B174   BECKY          BULLARD                  AR           90011293675
494214A5691583   ANA            TAVAREZ                  TX           90011114056
4942315887B463   KRISTI         BURNETTE                 NC           90006081588
4942445445597B   ERINEO         ZAMBRANO                 CA           90008904544
4942793585B523   MICHELLE       AGUILAR                  NM           90006559358
4942B528A91583   ISABEL         PEREZ                    TX           90013425280
494326A8171946   CHRISTEL       FERGUSON                 CO           90008656081
49432855472B54   GILBERTO       RODRIGUEZ                CO           90011228554
49435215272B36   ELIZABETH      QUINONES                 CO           90010902152
494354A1971947   MONIKA         SONNENBERG               CO           90014044019
49435741A4B271   JEREMY         FRITCHER                 IA           90008517410
49435A52997B62   RALPH          RUTLEDGE                 CO           39079360529
49439A82A2B27B   BENNIE         ROBINSON                 VA           90001100820
4943B621472B36   ALEJANDRA      CALDERON                 CO           90012896214
4943B622591569   ABEL           IBARRA                   TX           90012906225
4943B64692B27B   KIYON          ROBLES                   DC           90014746469
4944621855B174   AMY            POE                      AR           90012612185
49446A82233443   MARYANN        FLOWERS                  AL           90014270822
4944794A391394   JOSE           GALDAMEZ                 KS           90006409403
4944997585B58B   JESSICA        ACOSTA                   NM           35052089758
49451352197B62   JAIME          MARTINEZ                 CO           90006723521
4945354515B174   ASHLEY         MURILLO                  AR           90011295451
4945857992B27B   MARTINO        GARCIA                   DC           90013905799
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494589A1A97B62   COURTNEY       WILLMOTT                 CO           39017519010
4945B594971947   ADELICIA       KARAFFA                  CO           32086195949
4945B741672B4B   CHRISTINA      FABRIZIO                 CO           90010707416
4946386A772B54   ANDREA         GERMAIN                  CO           90011228607
49464981A71999   MELINDA        BANUELOS                 CO           38086239810
49465144A71946   LAVERN         SPRINGFIELD              CO           90014791440
49465291372B43   MYRA           ESCOBAR                  CO           90011812913
4946864895B523   KIMBERLY       SANCHEZ                  NM           35084016489
4947791875B58B   TERESA         BAER-DAVIS               NM           90012409187
4947B946172B4B   WILLIAM        BANKENSTEIN              CO           90012679461
494813A215B55B   CHRISTINE      PEREA                    NM           90012293021
494814A5872B4B   LUCERO         RODRIGUEZ                CO           33090104058
49484384A5B174   GINA           ATKINS                   AR           90013403840
49484A41261963   MELISSA        CASTLEMAN                CA           90010180412
49486A8465597B   KALVIN         CHA                      CA           90013520846
49489AAA791569   CHELSEA        HICKS                    TX           90013570007
4948B927A91569   KENNY          WILSON                   TX           75081029270
49493764797B62   NATHAN         KEMPER                   CO           90006147647
494961A8761967   DARRETT        WHITFIELD                CA           90013381087
4949738A671946   JORGE          GONZALEZ-DOMINGUEZ       CO           90011803806
494B1453261963   JAVIER         DAVALOS                  CA           90012724532
494B2362471999   JEFFREY        JOHNSON                  CO           38091003624
494B3361161963   JOSHUA         COLEMAN                  CA           90005343611
494B5249371947   BROOKE         SAILOR                   CO           90011232493
494B7817771999   JANICE         TRUJILLO                 CO           90013048177
494B827A15B56B   NAKETTA        WILEY                    NM           35003942701
494B878515B395   ERICA          NEUBAUER                 OR           90013377851
494B9692272B36   RAMONA         GARCIA                   CO           90012916922
494B9732572B4B   GABRIELA       BARRIO                   CO           90013027325
494B991235B53B   LOLA           ELIBARRI                 NM           35027279123
495122A9571946   JEFFERY        WARE                     CO           90014792095
495126A9691583   LUZ            CARDONA                  TX           90012936096
49516A5627122B   TEANNA         GOODMAN                  IA           90014790562
49519894A5B53B   CARL           PADILLA                  NM           35056468940
4951997265B53B   DOMINIC        PADILLA                  NM           90013769726
4952454312B27B   PETROS         ASGEDOM                  VA           81021915431
49525482472B4B   SIMON          ROMERO                   CO           90013704824
4952B462371946   NIBIGIRA       MELANIE                  CO           90011804623
4953168A85597B   DANIEL         LOPEZ                    CA           90012846808
49533541A57123   MAURO          PEREZ                    VA           90013795410
49534421A91328   JAMES          DODDS                    KS           29002694210
49536A11897B62   VIGIL          ANTONIO R                CO           90012030118
4953796A193741   SHANNEN        MILLER                   OH           90010549601
49541748372B36   JOSHUA         MARTINEZ                 CO           90007017483
4954862122B27B   TONYA          WHITE                    DC           90014086212
495523A414B271   OCTAVIO        DIAZ                     IA           90001183041
4955285A141222   SAMANTHA       SCHMITT                  PA           51049868501
495533A826192B   MICHAEL        CORREIA                  CA           90005213082
49553798272B4B   EUGENE         MARTINEZ                 CO           90012387982
4955571635597B   MARIA          MC COOK                  CA           90012057163
4955739A171946   TREVOR         CARLISLE                 CO           90014793901
4955764395597B   AIOTEST1       DONOTTOUCH               CA           90015116439
4955868A42B27B   ANTHONY        HARRIS                   DC           90013276804
49558A92A91922   ROBIN          GODOY                    NC           90013110920
49565A22633443   TAWANNA        BEDGOOD                  AL           90014860226
49568A16972B54   ASHLEY         HERNANDEZ                CO           90012120169
4957251652B27B   CARLOS         CASTILLO                 DC           90003635165
49574A3AA71947   SHANNA         DIXON                    CO           90009470300
495836AA691873   TRACY          TURNER                   OK           90014746006
49583783A2B27B   MELISSA        SWINSON                  DC           90014237830
49584AA8A8B167   RYAN           WORKMAN                  UT           90008640080
4958568125B174   GERALD         GOODRUM                  AR           90011926812
4958596275B395   ARMANDO        MARTINEZ CANCHOLA        OR           90010989627
49586476257B97   JAKE           FRY                      PA           90014574762
4958727A261963   GUADALUPE      GAMINO CASTRO            CA           90013182702
49588479897B62   ANNA           GONZALES                 CO           90011004798
4958965A99189B   CRISTINA       GUFFEY                   OK           21079486509
4958B11394B221   SHARI          MORRIS                   NE           90010011139
4959163742B27B   MAX            OKOROJI                  DC           90014086374
49592A47A4B551   ANNIE          MITCHELL                 OK           90001450470
49595351997B62   CARLOS         ESCARCEGA                CO           90014813519
4959758355B58B   JOANNA         GALLEGO                  NM           90011015835
49597A8525B297   PAUL           CORYLE                   KY           90007530852
49598242172B36   MORAIMA        GONZALES                 CO           90010942421
4959928A872B4B   RICARDO        TABULLO                  CO           90012882808
49599881697B62   CHRIS          KAPITY                   CO           39095518816
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495B1A83266186   LINDA          GUTIERREZ                CA           90014450832
495B461A491959   CANDICE        JEFFREYS                 NC           90013536104
495B631975597B   ROSALIO        TORRES                   CA           90014113197
495B7489272B4B   ADAM           JOHNS                    CO           90014274892
495B823315597B   AIOTEST1       DONOTTOUCH               CA           90015122331
495B8366271999   MONICA         SALCIDO                  CO           90010413662
495B992575B395   JOHN           CONNALLY                 OR           90001659257
4961389A271999   NOAH           ESPINOZA                 CO           90009868902
49624622372B36   MOHAMMED       ARBAB                    CO           90012896223
4962482695B174   KRISTY         WHITEHEAD                AR           90013158269
49625581A5B395   BILL           WERREMEYER               OR           44573645810
4962B976471946   NIKAIA         GUERRA                   CO           90010539764
49633A8855B395   JORDAN         DEES                     OR           90014880885
49635933872B36   RYAN           AMES                     CO           90007839338
49637274397B62   JOSE           HERRERA                  CO           90014842743
4963B1A835B58B   EMILIO         HERNANDEZ                NM           90013451083
4963BA64471946   NICHOLAS       ELLIOTT                  CO           90013130644
4964264395597B   AIOTEST1       DONOTTOUCH               CA           90015116439
49643113A91583   FRANSISCO      ALONSO                   TX           75048601130
4964542745597B   JOE            ORTEGA                   CA           90004564274
4964658295B395   SHARI          AMADO                    OR           90011975829
4965164455597B   AIOTEST1       DONOTTOUCH               CA           90015116445
496549A5371946   MICHELE        SPIELMAN                 CO           32086229053
49657A79841222   JOHN           LEWIS                    PA           90015040798
4965879A371946   MARVISLEE      ABENES                   CO           32012267903
4965B84464B271   ACHOL          BOL                      NE           90004578446
4965BA9955B174   DONNA          GILLIAM                  AR           23069650995
4966172715B58B   NADINA         ROSS                     NM           90013967271
49661919972B4B   KIMBERLY       GARCIA                   CO           90000179199
4966382742B229   TYMESIA        FITZ                     DC           90007448274
4966564455597B   AIOTEST1       DONOTTOUCH               CA           90015116445
4966754115B55B   MELISSA        MONTES                   NM           35082975411
49668449972B36   LARONNA        BRIGHT                   CO           90011194499
4966B49785B395   TYLER          JONES                    OR           90004134978
4967416725597B   SAMANTHA       BRADY                    CA           90007751672
4967755A55B126   DEANNA         WATSON                   AR           90005075505
496776A2541222   JOYCE          DETTLINGER               PA           51085556025
4967856A591959   TERESA         BELL                     NC           90013475605
4967973525B395   NAH            SINVIENG                 OR           90013877352
4967B58195597B   JOCELYN        DIXON                    CA           90005255819
4967B582891873   JASMINE        SMITH                    OK           90014745828
4968555A55B126   DEANNA         WATSON                   AR           90005075505
49689147972B4B   BETH           BRUMER                   CO           90014781479
4968B1A835B395   SA             DA                       OR           90012771083
4968B444897B62   JUAN           ESCOBEDO                 CO           90010334448
4969145A55B174   KISSICK        LOWERY                   AR           90014484505
49692179472B36   VICTOR         GARCIA                   CO           90006381794
49696447772B54   JULIE          BLISS                    CO           33088594477
4969856695B395   KATRINA D      SCHWENK                  OR           90010865669
496B2338791583   ALEJANDRO      WOOTTEN                  TX           90011383387
496B2425161967   JENNIFER       LUEDTKE                  CA           46063604251
496B2785A9152B   ENRIQUE        DIAZ                     TX           90001897850
496B3684391872   TODDS          SCHELL                   OK           90012786843
496B3911472B4B   ZEENA          L CANDELARIA             CO           90010089114
496B4939A91583   JANETTE        GRAJEDA                  TX           90012909390
496B531592B27B   JEAN           JOHNSON                  DC           90004643159
4971289AA71999   KAREN          FRESQUEZ                 CO           90008938900
4971394195B58B   AMY            HERNANDEZ                NM           90012829419
49716235472B4B   WILLIAM        SNODGRASS                CO           90010702354
4971B816936189   ANNETTE        VALLE                    TX           73567298169
4972617675597B   YESSICA        RODRIGUEZ                CA           90013831767
4972964455597B   AIOTEST1       DONOTTOUCH               CA           90015116445
49732349397B62   KRISTIN        MOSHER                   CO           90004623493
4973324465B53B   JESUS          HUERTA                   NM           35054752446
49736A87691959   MIGUEL         DUTRA                    NC           90013730876
4973839385B174   JAMES          WADE                     AR           90014273938
4973B41532B27B   JAMAL          JEFFERSON                DC           90012734153
4974139252B27B   NATHANIEL      CEBBOLD                  VA           90010143925
49741517672B36   ROSA NELY      MARQUEZ                  CO           90013985176
4974157745B58B   LETICIA        RUIZ                     NM           90014635774
4974416775B395   DESTINY        ORTIZ                    OR           90012521677
49746167A31497   WENDY          EHRIM                    MO           90002911670
4974746892B27B   PRESTON        HOLLAND                  DC           90011094689
4974B221572B85   JOSH           BILLINGSLEA              CO           90011802215
4975B74875B53B   JEANNE         REED                     NM           90010067487
49762353A61986   CARLOS         ESPINOSA                 CA           90008093530
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497625A9271999   PATRICIA       HICKS                    CO           90004505092
49768136772B4B   CINDY          SORIA                    CO           90002371367
4976977742B27B   FRANCISCO      SANCHEZ                  DC           90013757774
4976B334271947   SI             HUNTER                   CO           90008843342
4977168242B27B   JOHANNA        CHAMBERLAIN              DC           90014806824
49771921172B54   JAMES          EVANS                    CO           90011229211
49773A91771999   DOMINIC        CRESPIN                  CO           90009300917
497766A1241222   SANDRA         STONE                    PA           51066496012
49777AA4A7B398   GLENIA         VASQUEZ                  VA           90007490040
4977848335597B   JONATHAN       NAJERA                   CA           90010864833
49779971997B62   JORDAN         SLAVER                   CO           90013029719
4977B43665597B   JUAN           GONZALEZ                 CA           90012614366
4977B66A72B27B   WILSON         CLINTON                  DC           90014086607
49782619697B62   EUSBARDO       PONCE-CASTILLO           CO           90014416196
49786385572B36   CHRISTOPHER    LEE                      CO           90013783855
49786543A97B62   JASHELL        ANDERSON                 CO           90013495430
4978954835B53B   TANESHA        MORGAN                   NM           90012445483
4978B176291959   SHERITA        EATON                    NC           90013151762
4978B397461963   TIFANI         MOUA                     CA           90012083974
4978B937291959   DENISE         PALM                     NC           90012159372
497921A5761967   EDMUNDO        MOUET                    CA           90008531057
49792658172B36   HERIBERTO      MARTINEZ QUIROZ          CO           90013336581
497B6214691873   ABEL           TRINIDAD                 OK           90007232146
497B7138A91873   KAREN          HERRERA                  OK           90013651380
497B7812471946   LEE            WOMACKS                  CO           90011818124
497B8438591583   ANA            SALAS                    TX           90011114385
497BB71393B343   CASHMAN        JODI                     CO           33036997139
49815313597B62   SUNISA         MARCY                    CO           39013063135
4981611292B27B   LISA S         BOYCE                    DC           90014881129
4981623345B58B   YVONNE         GRINNELL                 NM           90013822334
49817AA8691959   PRECIOUS       LARETHA                  NC           90011190086
49819156A5B395   OSMAN          CASTENEDA                OR           90007741560
49819195A71947   NELSON         COON                     CO           90001121950
49822274A2B27B   CHRISTOPHER    BREW                     DC           90011892740
49823AA5171946   HUBERTO        NNUNEZ-PENA              CO           90014820051
498255A155B55B   CARRILLO       ERICA                    NM           90008365015
49826575397B62   SHAMBREYA      JOHNSON                  CO           90012815753
49827A5A471946   CHET           KELLER                   CO           90014820504
498284A3881692   MAURICE        HAYES                    MO           90008704038
4982886265B52B   ADRIANA        GRIJALVA                 NM           36090678626
4983353A45B174   VANISHA        FULLER                   AR           90014275304
49834656372B43   RUBEN          FIERRO                   CO           33024606563
49834A71972B54   KELLEY         HATT                     CO           90011230719
49835352472B54   JENNIFER       IRISH                    CO           33024003524
49836788272B43   KATAZHA        MCCORMICK                CO           90005927882
4983836575597B   MARCELO        MARMOLEJO                CA           90012863657
498392A7191959   PAULINA        AYALA                    NC           90012652071
4983B342891569   MARINA         MARQUEZ                  TX           75043603428
4983B9A2971946   MARIA          CERA                     CO           90012779029
49846A2A991583   JORGE          ORTEGA                   TX           90014590209
49849A2A991583   JORGE          ORTEGA                   TX           90014590209
4984BA46171947   BREK           GRIPON                   CO           90012940461
49853A8345B53B   MAGDALENA      BELTRAN                  NM           90014920834
4985723774B547   ROLANDO        CARRILLO                 OK           90013312377
49858A22A5B395   DANETTE        RARDIN                   OR           90014890220
4985B85A55B53B   MANUEL         JACKSON                  NM           35008548505
4986396643B394   MARK W         CHANECKI                 CO           90003109664
49863A62841222   LEONARD        BILSKI                   PA           90006210628
49866A3A891569   CECILIA        FLORES                   TX           75076680308
49868A3855B58B   SHELBY         LEE                      NM           90012560385
4986B45945B55B   GOMEZ          MARIPOSA                 NM           90008364594
49876668A91569   ESMERALDA      VACIO                    TX           90010826680
49876A82871947   STEVE          BROWN                    CO           90011450828
498773AAA61963   KATRINA        KENNEDY                  CA           90008493000
49878A51A91597   ANGEL          SOTO                     TX           90010920510
4987B336166186   SIRENA         SALAZAR                  CA           90013463361
4987B81895B53B   RICHARD        HERNANDEZ                NM           90014178189
4987B939691569   YOLANDA        LUGO                     TX           90011029396
49883888972B4B   VALERIE        ZARETKI                  CO           90010808889
49889A33591583   JUAN           MORENO                   TX           90014590335
4988B723861967   ELIAS          AISPURO                  CA           90008377238
4989154119372B   JIFF           WITHE                    OH           90014635411
49891623297B62   MARIA          MENDEZ                   CO           90009636232
4989295A755924   BEVERLEY       COLVILLE                 CA           90012859507
4989355585B523   MARGARITA      MARTINEZ                 NM           90005675558
4989437A65B279   SIDALG         WIEVE                    KY           90001093706
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49894466597B62   MARIA           ESTRELLA                CO           90014934665
4989767355B58B   SUSANA          CARRILLO                NM           90009886735
4989776AA61967   ALFONSO         MOYA                    CA           90013937600
4989873245597B   RODGER          RAMIREZ                 CA           90013717324
498B1284361963   VICTORINO       SOMERA                  CA           46089662843
498B341825B174   VENUS           WILLIAMS                AR           23097044182
498B417195B55B   CORNELIA        NORTEY                  NM           90010191719
498B4988591583   CHAVEZ          FERNANDO                TX           90014589885
498B617215B53B   TERRENCE        BLACKBURN               NM           90013881721
498B716A891583   YESENIA         QUEZADA                 TX           90008671608
498B8A6AA93769   TRISTAN         HALL                    OH           90011070600
498B9583771946   MARK            WHITTEN                 CO           90000845837
498B9733191523   JESUS           GARCIA                  TX           75063297331
4991116A797B62   GLEN            SUNADA                  CO           39038151607
4991278A471947   MARTHA          RODRIGUEZ               CO           90011377804
4991688115B174   ESTRADA         JEFFREY                 AR           23033728811
4991852418B16B   RIMA            GUSTAFSON               UT           31033945241
49923627A61963   MARCO           MARTINEZ                CA           90013826270
49923862A71946   JAMES           JASON                   CO           90011838620
49926735972B43   SHEIKHNOOR      ADAN                    CO           90002947359
4992679A95597B   ARTURO          MONTEJANO               CA           90013027909
4992748184B271   JILLIAN         BENNEDICT               IA           90003574818
4993516772B27B   HABTE           OKBAMICHAEL             DC           90014481677
49937655572B43   VINCE           DIANNI                  CO           90011816555
499411AA771947   JOEY            MILLER                  CO           90015121007
4994348A891394   CHRISTOPHER     RAISBECK                KS           90005324808
49945236597B62   JOSE            HERNANDEZ               CO           90014242365
49948152497B62   SHARIANN        BENNET                  CO           90011011524
499481A8472B54   RENE            SPENCER                 CO           90003211084
49953874A97B62   JUAN            SENA                    CO           90013208740
49954A2915B523   MARI            CRUZ SANDOVAL           NM           90009460291
4995679147B276   OCTAVOUS        LITTLEJOHN              NV           90012857914
49956A1A171946   THOMAS          WARREN                  CO           90004500101
4996178698B16B   LANDON          MILLS                   UT           90010417869
49963A7385597B   JESUS           SANTIAGO-MONTERO        CA           49097870738
4996B92A427B45   TERRI           HOWARD                  KY           90013999204
49975541397B62   TARYN           DAVIS                   CO           90008195413
49975A38861967   MIKHAIL         VRUGGINK                CA           90012930388
49975A77191583   JESUS           NERVA                   TX           90014590771
49976A16271999   DESIREE         RAMIREZ                 CO           90013000162
49976A18171999   JUSTIN          SALAZAR                 CO           90008480181
4997B4A5791583   LETTY           GARCIA                  TX           90011134057
4997B53892B27B   VENUS           PINNER                  NC           90014815389
49982125497B62   ALEJANDRO       MANZO                   CO           90015081254
49983A98197B62   ANASTASIA       BUSYGINA                CO           90013130981
4998655659152B   ALEJANDRA       MONREAL                 TX           90011855565
49986874A97B62   JUAN            SENA                    CO           90013208740
49986A78691583   LORENA          MUNOZ                   TX           90014590786
4998925342B27B   ANTONIO         WYNN                    DC           90009002534
4998B189371947   THAMARA         CASTANEDA               CO           90014481893
499917A725B58B   CHRISTOPHER     LUJAN                   NM           90011017072
499917AA827B45   ERIN            BROCE                   KY           90014637008
4999186885B53B   GERMAN          RUELAS-CABRAL           NM           90006118688
49991A84391583   FRANCINE        MORRISON                TX           90014590843
4999385488B16B   TRAVIS          MAY                     UT           31091868548
49994783A5B395   KEVIN           ROBERSON                OR           44509387830
499951A6472B4B   JAMIE           VALENCIA                CO           90012241064
499959A7271999   ROCIO           MERAZ                   CO           90014169072
499B16A4261967   SEBERA TERESA   GUZMAN ALONSO           CA           90012966042
499B1A74A72B54   RAAD AWAD AL    KHAFAJI                 CO           90009410740
499B2152871999   DANIELLE        ROYBAL                  CO           90014161528
499B246969373B   JAYMEE          BALL                    OH           90010644696
499B255615B174   LATASHA         HILL                    AR           90014565561
499B2936172B4B   JAMES           WALTER SIMPSON          CO           90012259361
499B3394871947   CHRISTINA       MCCONNELL               CO           32032963948
499B6898161967   BOBBY           SATTERWHITE             CA           90012888981
499B699A271946   JULIE           TRENTTEEGARDIN          CO           90014839902
499B759485597B   STEVEN          DELEON                  CA           90005255948
499B7A84A61963   RAQUEL          SILVA                   CA           90012310840
499B816695B395   JORGE           SANCHEZ                 OR           90014861669
499B8A35A3B359   THERESA         ROGERS                  CO           90001660350
499B9467171947   THOMS           DOWNING                 CO           90011194671
499BB122671946   CHRISTY         PRICE                   CO           90011001226
499BB81695B395   COURTNEY        PETERSEN                OR           90000468169
499BBA94171999   ROBERT          TAFOYA                  CO           38050590941
49B1173695B174   SHEILA          CROSS                   AR           90014697369
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49B12211671947   DESIRE           SPLITTER               CO           90011142116
49B1391525B174   DANYA            UTLEY                  AR           90009359152
49B13945A61967   ASHLEY           HABET                  CA           90005279450
49B15219472B54   SHAWN            GNAGY                  CO           90001422194
49B1715485B58B   RUTH             MEDINA                 NM           90011011548
49B18962891583   ADAN             MONTANEZ               TX           90014409628
49B1BA93191873   PAM              SHAFFER                OK           90010510931
49B23974A61953   JEFF C           WEIGHTMAN              CA           90000489740
49B25891861967   CHRIS            WOODS                  CA           90013198918
49B26637971999   JAYME            ESQUIBEL               CO           90009286379
49B31978391873   LARRY            LOGAN                  OK           90014719783
49B32295971947   RAUL             CAMPOS                 CO           90012742959
49B32348891394   LORRE            CARR                   KS           90004053488
49B3269412B29B   SHAVONDA         THOMAS                 DC           90012576941
49B3274615B53B   THOMAS           PEREZ                  NM           90010737461
49B32796655928   ROSANNA          MARTINEZ               CA           90000127966
49B36416272B38   ROYBAL           LOURIE                 CO           33082204162
49B3921178B16B   SUSAN            GARDNER                UT           90004912117
49B39458171947   SHANNON          GONZALES               CO           32059454581
49B42158372B4B   JENNIFER         PETRI                  CO           90012041583
49B42467772B54   ALONZO           ALCON                  CO           90010004677
49B43986791873   ASHLEY           MITCHELL               OK           90014719867
49B44775A71946   AMBER            ELIZONDO               CO           90014747750
49B457A615B53B   DANIELLE         TRUJILLO               NM           90010377061
49B465A8972B36   DIANA            RAMIREZ-CERVANTES      CO           90011075089
49B46775A71946   AMBER            ELIZONDO               CO           90014747750
49B46962891583   ADAN             MONTANEZ               TX           90014409628
49B482A9397B62   JESUS            FELIPE GOMEZ           CO           90014472093
49B48529691873   ANTONIO          SMITH                  OK           90010105296
49B49462A91569   MANNY            RIVERA                 TX           90011984620
49B519A235B58B   JAIME            DELGADO                NM           90010229023
49B54517391959   MICHELLE         SCOTT                  NC           90014305173
49B5755195597B   BERTHA           RUVIRA                 CA           90012935519
49B5864455B53B   RUBEN            ESCOBEDO               NM           35090586445
49B5B11665B58B   ISRAEL           ESCOBEDO--DELRIO       NM           35018381166
49B5B229572B36   THADDEUS JAMES   VAIL                   CO           90014642295
49B5B942291569   EDGARDO          MENDOZA                TX           90011009422
49B61142991569   BRENDA           ESPARZA                TX           90009421429
49B6137925B395   ADAM             CHARTRAND              OR           90002383792
49B62129172B4B   JONATHAN         GARCIA                 CO           90010471291
49B62777A91583   MARIA            GALLEGOS               TX           90002957770
49B6363245B395   BRIANNA          TAYLOR                 OR           90013576324
49B63839571947   GRETA            BRUAN                  CO           90009918395
49B658A7971946   JUSTICE          GARNIER                CO           90014748079
49B66A36391523   PAULA            MENDOZA                TX           90013510363
49B6835115B526   CAROLYN          GORDON                 NM           35084143511
49B68469161963   MEDINA           JENESIS                CA           90006084691
49B6B97165B395   AUNDREA          SPIRES                 OR           90013629716
49B71559971999   DYLAN            FROST                  CO           90014005599
49B71793A72B54   KATHRYN          SCHREINER              CO           90011227930
49B72A55491873   DARREN           WALLACE                OK           90014720554
49B74449171946   PATRICK          SMITH                  CO           90014264491
49B7649927B467   JOSE             GONZALEZ               NC           90001934992
49B78916391583   GERARDO          MEDINA                 TX           90014579163
49B81168571999   MARIO            FLORES                 CO           38095111685
49B81484291241   STANLEY          WILLIAMS               GA           90012524842
49B8153998B546   BRADFORD         PRIEST                 CA           90014515399
49B81A85A6198B   MIKE             MARTONE                CA           90013920850
49B8327A22B27B   ISAC             HERNANDEZ              DC           90011062702
49B89766171999   JACK             AGUILAR                CO           90010397661
49B8976A22B27B   BERNITA          PAIGE                  DC           81088837602
49B8B916791583   MARITZA          CANGAS                 TX           90014579167
49B9223845B58B   HOPE             GARCIA                 NM           90011012384
49B92775361967   MARY             CUELLAR-HARTMAN        CA           46036597753
49B9446525597B   GUSTAVO          FIGUEROA               CA           90006054652
49B9698495597B   JOSEPH           VILLICANO              CA           90014699849
49BB273695B174   SHEILA           CROSS                  AR           90014697369
49BB2A24297B62   BEATRIZ          VENTURA                CO           39040360242
49BB59A7391569   MANUEL           OBREGON                TX           90010439073
4B11161475B395   MATTHEW          HARVEY                 OR           90010726147
4B113722872B43   ASHLEE           ABOTT                  CO           90015157228
4B11436415B271   JOHN             WALLACE                KY           90013633641
4B11467593B491   PAYOR            KYMARA                 PA           90006796759
4B118513147954   AMBER            BRANDSON               AR           90012985131
4B119239847954   ALMEN            CHINGLONG              AR           90013472398
4B119911155939   JAMES            FRANTZ                 CA           90013969111
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4B12338A95B52B   KATHRYN        TAYLOR                   NM           90011383809
4B125A65A47954   JOSHUA T       EVERETT                  AR           90011010650
4B12629123B491   RODNOEA        LONG                     PA           90014512912
4B128A65A47954   JOSHUA T       EVERETT                  AR           90011010650
4B12B925891569   YAHIR          DAVILA                   TX           90013969258
4B13128A651382   RASHEH         TILLEM                   OH           90008682806
4B13182A891394   JAMES          MCKENZIE                 MO           90002938208
4B132378361967   ALANNAH        DE BARRA                 CA           46089183783
4B133843491569   DONNA          DALY                     TX           90012888434
4B13398255B271   COURTNEY       LUCKETT                  KY           90010659825
4B134694A51382   MARK           THOMAS                   OH           90014656940
4B13487188B185   CARLOS         CEPEDA                   UT           31042978718
4B135563647954   NATHANIEL      MCCOY                    MO           27558845636
4B135977A5B357   FELIPE         JIMENEZ                  OR           90007179770
4B138216491873   MARISA         WATSON                   OK           90014002164
4B13B13AA47954   JOHNNY         GRUNDY                   AR           90005911300
4B13B31A95B223   DOUG           CRASE                    KY           90010963109
4B14378925B271   EBONY          WILLIAMS                 KY           90003267892
4B14518483B491   CHAD           NUTTER                   PA           90013001848
4B14917435B223   RONNIE         CRABB                    KY           90005691743
4B151396672B43   JANELLE        GARCIA                   CO           90013273966
4B156738757124   EDWIN          MARTINEZ                 VA           90009517387
4B156A99884368   KEVIN          JENNINGS                 SC           90012830998
4B157188661963   NYEKUICH       BOTH                     CA           90014881886
4B157529A55939   ROOSEVELT      LEWIS                    CA           90014825290
4B161254A71934   MELISSA        GHEITH                   CO           90009832540
4B162562A72B36   GLORIA         MELENDEZ                 CO           90013435620
4B164674561963   DENISE         SANTANA                  CA           46031586745
4B16676414B271   CHERI          MCGHEE                   NE           27031377641
4B16694913168B   DAVID          ORSAK                    KS           90014749491
4B1678A6471999   R EBECCA       SWIFT                    CO           90011388064
4B17147578B355   CAPRIVA        BRANDON                  NC           90010794757
4B171536761967   CINDY          MARTINEZ                 CA           90011515367
4B171A79374B24   KAYELYNN       EDLER                    OH           90014650793
4B17423AA91569   REBBECA        PADILLA                  TX           90010952300
4B177172947954   MARIA          GARCIA                   AR           90003231729
4B178843472B36   JOSEPH         CUELLAR                  CO           90012998434
4B17913585B395   OLIVIA         TRUMP HOLMES             OR           90005601358
4B17968A972B36   FEDERICO       VALERIO                  CO           90013006809
4B17985832B27B   NICOLAS        CRUZ                     DC           81015208583
4B18374953B491   SARAH          MAZE                     PA           51077837495
4B18772475B52B   CARLOS         COY                      NM           90012627247
4B18776595B58B   LEONEL         TASKER                   NM           90014577659
4B188A9477122B   TONY           BALLARD                  IA           90014230947
4B189281571934   CORDY          DURAN                    CO           90011502815
4B189545151334   SASHA          WATKINS                  OH           90011085451
4B19268A82B87B   GARY           SHAW                     ID           90014696808
4B195196261963   ISMAEL         MEZA                     CA           90014881962
4B198199A91988   ERIC           ELLIOT                   NC           90014701990
4B19862552B87B   ROBERT         CLOUTIER                 ID           90013936255
4B199936393794   MICHELLE       TAYLOR                   OH           66087069363
4B1B84A248B16B   JUSTIN         MCOMIE                   UT           90013054024
4B1BB25A25B53B   BLANCA         FEHR                     NM           90011372502
4B1BB336661968   MARCO          GAYARDO                  CA           90013033366
4B213588991351   MANUEL         TORRES                   KS           90012305889
4B213918A5B222   DEASIA         LIPSEY                   KY           68055469180
4B21481255B223   STEVE          TERRELL                  KY           90011998125
4B21759825B53B   ANTHONY        DUNCAN                   NM           90014815982
4B217A83793794   LORA           WIEDENHEFT               OH           66006710837
4B21B6A3272B43   NICOLAS        HENANDEZ                 CO           90012996032
4B21B962355939   OSCAR          GARCIA                   CA           90013939623
4B22225895B223   STEVYEAUANA    SLEETS                   KY           90007992589
4B2238A7972B43   ARMANDO        GUERRERRO                CO           90012638079
4B224844971999   LASHAWN        JOHNSON                  CO           38032968449
4B225449391569   DAVID          CHAVEZ                   TX           90012874493
4B225A5435B174   DAMARCUS       THROWER                  AR           90009400543
4B226215A61963   JESSICA        QUINTANA                 CA           90014882150
4B22633637B694   LAURA          GROOVER                  GA           90001553363
4B2269A9584336   THOMAS         COVELL                   SC           90011879095
4B22823325B357   CODY           KOEHN                    OR           90007332332
4B228571972B43   ERIKA          RODARTE                  CO           33008035719
4B22916358B355   KATIE          WILKINS                  SC           90013541635
4B22999325B271   TYLESHIA       BELL                     KY           90015119932
4B232211551383   AMANDA         ASHER                    OH           90014802115
4B23374285B52B   MONICA         WILSON                   NM           90014707428
4B23499A391873   THERESSA       SMITH-RELF               OK           90007349903
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4B234A5A971999   WILLIAM              CANO               CO           90013350509
4B239A52A72B47   AGNALDO              PEREIRA            CO           90012970520
4B241126555939   TALINA               COTA               CA           90009351265
4B2421A1393782   ANTHONY              ROEBUCK            OH           90013341013
4B242A75172B45   DIANA                MENDOZA            CO           90011720751
4B244526155939   SYNTHIA              LOPEZ              CA           49092455261
4B24556118B16B   MARK                 MARROQUIN          UT           90014705611
4B25366175B222   LINDSEY              STROOP             KY           90010456617
4B253853271999   AIOTEST1             DONOTTOUCH         CO           90015128532
4B25464545B223   LATIYA               KING               KY           90008726454
4B255785A8B355   CHARLES              GRIFFIN            SC           90014007850
4B25799432B87B   JESSE                JACKSON            ID           90008559943
4B258423A71999   BERTRAM              DAVIS              CO           90013164230
4B259195451334   ANTHONY              MURPHY             OH           90012851954
4B25923415B223   GABRIEL              ANTONIO            KY           90006232341
4B25BA36651383   YUMEKIA              BRUTON             OH           90014790366
4B262A2A351383   VICTORIA             SWEENEY            OH           90011240203
4B2659A1672B36   DANIELLA             GONZA              CO           33039829016
4B266535747954   BREANNA              BROOKS             AR           90013935357
4B26697535597B   LUKE                 LICHTENWALNER      CA           49085149753
4B2689A153B491   JOHN                 DOE                PA           90011289015
4B2725A4261967   JOSEPH               GARCIA             CA           90010595042
4B27492625B271   MARLENA              KNIGHT             KY           90013559262
4B275A37451383   DAWANTA              GREEN              OH           90008340374
4B277925972B36   ANNA                 BUENO              CO           90010949259
4B278261791988   ALBERTO              GALVES             NC           90002982617
4B28382782B27B   DELMIS               CHACON             DC           81062248278
4B287733151382   SHAVONNE             WHEELER            OH           90003977331
4B28788415B52B   ANGELIQUE            SMITHE             NM           90012688841
4B28877435B395   CECAR                MARTIN             OR           90010747743
4B2916A945597B   ALMA                 AGAYO              CA           90008726094
4B292522771999   RICHARD              OWENS              CO           38044815227
4B293156872B36   CARLOS               AMBROSIO           CO           33029451568
4B293561361967   VONTIQUE             RUSSELL            CA           90010215613
4B294149551383   DUSTIN               VEABER             OH           90014791495
4B29464952B87B   VERONICA             SLAYTON            ID           90013366495
4B29577787B694   KELLY                FOX                GA           90015107778
4B29661AA71934   SONNYLEE             ROMERO             CO           90011286100
4B298151A51383   WILLIAM              CARTER             OH           90014791510
4B299613551382   DAWN                 DUETT              OH           66005706135
4B2B352A461968   CLINTON              BURTON             CA           90011855204
4B2B4489172B25   BEN                  PAGE               CO           90009044891
4B2B8A41491569   JOSE                 REYES              TX           90012760414
4B2B9699472B4B   ANTHONY              ESPINOZA           CO           90008466994
4B2BBA93876924   LATICA               PRESTON            MS           90013620938
4B31222235B52B   ELVIS                OLVERA             NM           36068972223
4B313396672B43   JANELLE              GARCIA             CO           90013273966
4B31342314B271   LEESHA               FRASCH             NE           90014094231
4B313845571946   BALINDA              MONTANEZ           CO           90002048455
4B31483388B355   MAURIA               SANDIFER           SC           90008888338
4B31557AA72B36   DARJEE               RENAE              CO           90008245700
4B316727761967   HECTOR               BUSTAMANTES        CA           90010597277
4B316A39791988   ABELARDO             LOPEZ              NC           90013100397
4B3182A393168B   MEGAN                SCHAFNITZ          KS           90011312039
4B31843815B52B   SUSANA               MARQUEZ            NM           90010304381
4B31B87345B357   JUAN                 REGINO             OR           90007468734
4B31BA58291988   CHRISTOPHER          MALONE             NC           90013300582
4B32258718B355   NIKIA                GREEN              SC           90009245871
4B322741561967   VICTOR               OROZCO             CA           90010597415
4B32275AA91351   ASHLEY               MCCUNE             KS           90010857500
4B324275155939   BICTORIA             BARAJAS            CA           49083472751
4B326924393794   JASON                HAZELBAKER         OH           90013079243
4B32791245B58B   MONICA               MOSQUEDA           NM           90013149124
4B32835A191351   KLARISSA             KIMBROUGH          KS           90012713501
4B328814461968   MARTIN               HERNANDEZ          CA           90012108144
4B329999972B43   SAUCEDO SAUCEDO JR   LOUIS              CO           90011149999
4B32B278A51383   GARRY                EDWARDS            OH           90011262780
4B32B626351382   CHRISTINE            WOLF               OH           90014666263
4B32B64A33168B   OLIVIA               CARDENAS           KS           90009646403
4B32BA5A72B27B   KIYANNA              JOHNSON            VA           90013300507
4B33252A672B43   MONIQUE              SEALS              CO           90008275206
4B33271915B53B   KALIN                BRANDON            NM           90014317191
4B332746572B43   MONIQUE              SEALS              CO           90013457465
4B33362325B53B   ANDREW               DANKO              NM           90014686232
4B333968872B36   KANAN                ARKAWAZY           CO           90011909688
4B3348A9861956   MARIA                PANDURO            CA           46095678098
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4B33564425B271   CIARA          SIMCOE                   KY           90014126442
4B3366A5791569   ROSA           GURRA                    TX           75091126057
4B337A6959373B   ERYHATT        JOHNSON                  OH           90007550695
4B33864425B271   CIARA          SIMCOE                   KY           90014126442
4B338788555939   NICOLE         RENDON                   CA           90004097885
4B34173865B52B   ULISES         RAMIREZ                  NM           90010677386
4B34321998B185   NORMA          GONZALEZ                 UT           90003362199
4B344943155939   CARLOS         MORALES                  CA           90005379431
4B344962891569   ANGEL          RIVERA                   TX           90011109628
4B3449A1A72B43   VINCENT        MARTINEZ                 CO           90010289010
4B344A5AA24B7B   RUDY           TAY                      VA           90014910500
4B34739475B271   TIM            TURNER                   KY           90010963947
4B34759425B58B   CHRISTOPHE     WIGGINS                  NM           35043695942
4B3489AA724B3B   JOSE ROBERTO   RODRIGUEZ                DC           90005969007
4B34B28678B355   JERRY          ELLISON                  SC           90006932867
4B34B54A761967   HILARIO        HERNANDEZ                CA           90011515407
4B3512A525B52B   NATISHA        UROSTE                   NM           90008252052
4B35251655B53B   ALBERT         MADRID                   NM           90002205165
4B352846291351   JUAN ANTONIO   CARRIO                   KS           90013458462
4B352891161968   CLAUDIA        RAMIREZ                  CA           90010448911
4B35483A25B52B   KRYSTAL        WRIGHT                   NM           90006118302
4B355216593794   JARED          SMYER                    OH           66029062165
4B3556A6161963   MARIA          ROSALES                  CA           90009376061
4B356136661963   VICTORIA       BASNATT                  CA           90007241366
4B356381772B43   GINO           ORTIZ                    CO           90013803817
4B35725A25B53B   BLANCA         FEHR                     NM           90011372502
4B35765787B694   STACEY         TODD                     GA           90010996578
4B357A1A48B355   CRYSTAL        WHETSTONE                SC           90009530104
4B35846315B395   CHERYL         CLARK                    OR           44573104631
4B358879121669   MICHAEL        GARVIN                   OH           90013628791
4B361242984368   FELIPE         HERNANDEZ                SC           90010872429
4B3622A7191394   LINDA          SPRATT                   KS           29093402071
4B36347A972B43   HILDA          CACHO                    CO           90014404709
4B3644A4891569   RAYLETTE       TORAIN                   TX           90010314048
4B36515A871999   MARYANNE       ELKINS                   CO           90014231508
4B365389793794   TAYLOR         WATSON                   OH           90010273897
4B365A4175B174   JHORDAN        O'NEIL                   AR           90010610417
4B36831A95B222   JADE           WOOSLEY                  KY           90011763109
4B3689A7651325   DONALD         SPICER                   OH           90001299076
4B368A13161968   JOHN           SIEGFRIED                CA           90014740131
4B36942318B187   JOSE           SALAZAR                  UT           31011334231
4B3699A1991876   NATALIE        JEFFERS                  OK           90012839019
4B371199A5B52B   MANUEL         CASAS                    NM           90014461990
4B372684991569   TIJHA          PERRY                    TX           90013926849
4B37361555597B   JOSE           PIEREZ                   CA           90010916155
4B373787355951   RAUL           GALAVIZ                  CA           49004687873
4B373911751336   KRISTY         CHILDERS                 OH           90011239117
4B376643A8B16B   ALLAN          SALAZAR                  UT           90010146430
4B37B42728B185   MARTHA         LEMUS                    UT           90004364272
4B37B761572B36   HENRY          PINTO                    CO           33015457615
4B38152578B16B   MICHELLE       ROBERTSON                UT           90002725257
4B38223148B16B   BRIANA         SAUNDERS                 UT           90008112314
4B38276A75B58B   FRANCISCO      SANCHEZ                  NM           90012897607
4B382825191569   JUAN           DIAZ                     TX           90012068251
4B386694191394   SYLVIA         CASARES                  KS           29014536941
4B389677861968   DALE           CARPENTAR                CA           90012666778
4B389A3A15B174   MONIC          SMITH                    AR           23005310301
4B392485393794   RUSTY          STANSBERY                OH           90007434853
4B39249414B271   TAMRA          LEEPER                   NE           90002404941
4B39316219373B   ERICKA         TAYLOR                   OH           90009971621
4B3942A275B58B   PABLO          MURILLO                  NM           35028862027
4B394A3238B185   CHRIS          WILLIAMS                 UT           90010310323
4B39547528B16B   ELIZABETH      GARCIA                   UT           90003544752
4B395519991872   ADRIAN         LAMAR                    OK           90012675199
4B39699765B271   MICHAEL        WESLEY                   KY           90014229976
4B397334851383   KAYLA          COVETT                   OH           90014793348
4B39747995B52B   LONNIE         VLADEZ                   NM           90010214799
4B397A5A72B27B   KIYANNA        JOHNSON                  VA           90013300507
4B39B71985B395   MARCUS         WOOD                     OR           90003817198
4B3B249195B53B   BRIGINA        VALENCIA                 NM           90013654919
4B3B3567A91569   JUAN DE DIOS   RAMIREZ                  TX           90014545670
4B3B4146871999   MARIA          LUCERO                   CO           38049501468
4B3B7979491569   ARISBETH       CONTRERAS                TX           75077639794
4B3B821332B27B   DARYL          PAYNE                    DC           90012172133
4B411859A51383   ANDREW         SIMPSON                  OH           66059718590
4B41274975B222   ANGELA         TUCKER                   KY           90012167497
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4B414943155939   ELVA            GONZALEZ                CA           90012429431
4B415955155939   ROBERTO         RAMIREZ                 CA           90013119551
4B41633245B58B   JOELEEN         BACA                    NM           90012793324
4B41B14493168B   KRYSTAL         SOLORIO                 KS           90006391449
4B41B638651382   TRINA           SCOTT                   OH           90001566386
4B41BA7678B849   KALEONANI       ALIDON-MAHI             HI           90014130767
4B421445472B36   ALBERTO         FRAISO                  CO           90011854454
4B42279365B58B   MELISSA         GARCIA                  NM           90010307936
4B426929861968   MARYLOU         VENTURA                 CA           90011169298
4B429487A61963   ROBERT          JOHNSON                 CA           90004714870
4B42B677471999   VERONICA        HERRERA                 CO           90013986774
4B42B784193794   RODNEY          GOINGS                  OH           90006627841
4B431313641258   SURENU          FRANK                   PA           90004223136
4B431763271934   ERASMO          HERRERA                 CO           32032287632
4B4325A828B355   ALAN            BEASTLEY                NC           90012765082
4B4349AA33168B   KATHERINE       MENG                    KS           90009639003
4B436624747954   TONYA           CHANEY                  AR           90011126247
4B43B2A2693794   SHERRY          MILLS                   OH           90002712026
4B441328871999   KIM             GROVES                  CO           38046973288
4B44627112B27B   CARLA           GARLAND                 DC           90014152711
4B447A8A85B174   SHALICIA        HOLLISTER               AR           90011110808
4B44814325B174   DENOTRA         SPEED                   AR           90008111432
4B44841A351383   KENYA           CHENAULT                OH           90014794103
4B44953573B33B   WENDY           BRAMLET                 CO           90001455357
4B44B72153168B   MISTY           STEVENS                 KS           90014627215
4B45264975B53B   AMANDA          VANOSTRAND              NM           90009656497
4B453213972B51   JOAQUINA        APARICIO                CO           90007452139
4B453511961967   ROBERT          CHIPLEY                 CA           90002055119
4B455322561963   DANIELLE        HENDERSON               CA           90013143225
4B456346191569   GILBERT         SALCIDO                 TX           90007653461
4B4563A715B222   ANDY            PARRISH                 KY           90014983071
4B457169551383   BRIAN           CASTILLO                OH           90011241695
4B46115755B174   KAYLA           GREER                   AR           90011111575
4B461322561963   DANIELLE        HENDERSON               CA           90013143225
4B466237861967   MARGARITA       ARECHIGA                CA           90010602378
4B46755295B52B   GABRIEL         VARGAS                  NM           90014715529
4B4685A7791351   BAWI            KUNG                    KS           90014065077
4B469174A91569   GUADALUPE       KENDRICK                TX           75086591740
4B469276961968   AMADO           BARRERA                 CA           90013312769
4B47179428B355   SGARNECIA       REAVES                  SC           90013347942
4B473777255939   CHRISTINA       FRAGUEIRO               CA           90012827772
4B475445551383   CARLOS          GARCIA                  OH           90014794455
4B475714472B4B   STEPHANIE       PEREZ                   CO           90011137144
4B475962993794   RODNEY          FOOCE                   OH           90010119629
4B479785372B4B   DYLAN           DAVEY                   CO           90013297853
4B47B33683168B   MALLORY         WEDEL                   KS           90013983368
4B47B369551382   TAMEKA          CHRISTIAN               OH           90009523695
4B481415471999   BENNY           VALDEZ                  CO           90013604154
4B482853973298   ANDREW          STANOWSKI               NJ           90013788539
4B484139471934   ZACHARY         STOVER                  CO           90011291394
4B48467175B53B   ALFREDO         QUINONES                NM           90006556717
4B484726691569   RODOLFO         RAMIREZ                 TX           75068517266
4B48517825B58B   JIMMY           HERNANDEZ               NM           35043521782
4B48745A151383   AMANDA          CIONE                   OH           90014794501
4B487858972B43   JOSHUA          GARDUNO                 CO           90012928589
4B48845295B53B   PATRICIA        BARTLEY                 NM           90010124529
4B48B767A6B275   JOE             SIMS                    AZ           90014017670
4B492344191523   LORENA          VENEGAS                 TX           75054933441
4B493351393794   HEATHER         ROSENWIRTH              OH           90011083513
4B497465472B32   STEVE           WITUCKI                 CO           90012604654
4B49791115B523   JEROME          MEDINA                  NM           90010739111
4B499474691873   EBONY           LYNCH                   OK           90014004746
4B4999A895B271   MELISSA         SMITH                   KY           90010429089
4B49B887261968   LAWRENCE MARK   PUSEY                   CA           90012848872
4B4B2456A61963   REBECCA         DECORSE                 CA           90010904560
4B4B259315B53B   YAMIRA          JIMENEZ                 NM           90009195931
4B4B29A6571946   TRIPP           DANIEL                  CO           32000279065
4B4B475A472B25   KELLY           MILES                   CO           90009487504
4B4B526A83168B   MARTIN          NEUFELD                 KS           90012602608
4B4B6565751383   JUDY            GILLIG                  OH           90013075657
4B4B7A9578B355   JOSEPH          RIVERA                  SC           90011870957
4B4B866877B694   STACEY          TODD                    GA           90010996687
4B4B8A55171934   MARY            ENGLISH                 CO           90011530551
4B4B9A9635B52B   CHRISTOPHER     LUCERO                  NM           90011520963
4B4BB931291569   ARICHELL        ORTEGA                  TX           90013869312
4B5131A2977336   NATALIE         MYERS                   TX           90007211029
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4B513554171999   ETHAN           GILL                    CO           38014565541
4B514482793751   BRANDI          REYNOLDS                OH           90009964827
4B51526A25B52B   SANDRA          MONTOYA                 NM           90012502602
4B516AA6961963   AUDIE           ROESELER                CA           90014930069
4B517A75191569   CARLOS          PEREZ                   TX           75048430751
4B51828768B16B   ANCHULEE        SOUKNARY                UT           90014092876
4B51883A991569   MANUEL          ACEVEDO                 TX           90012068309
4B51943698B185   COLBY           CROWTHER                UT           90001434369
4B519478161968   MONA            ROJAS                   CA           90013304781
4B519A1A25B53B   MIKE            RAMOS                   NM           90013030102
4B519A47991569   CLAUDIA         SAENZ                   TX           75020280479
4B52255185B223   JASON           DOWNEY                  KY           90005405518
4B52274465B271   CHAUNCEY        JONES                   KY           90009847446
4B52319A972B43   MICHELLE        MONDRAGON               CO           90012191909
4B523739591569   NORA            ALONZO                  TX           90010857395
4B52625A491394   TYCHELLE        COLEMAN                 KS           90010762504
4B52677A96B275   JOE             SIMS                    AZ           90014017709
4B527122661967   FABIAN          GONZALEZ                CA           90010781226
4B52815715B395   SETH            GREEN                   OR           90010871571
4B528535347954   VINCENT         BULLOCK                 AR           90012585353
4B528712691569   ANDRES          HERMOSILLO              TX           90013877126
4B52B549391988   KEVIN           HENRY                   NC           90013145493
4B52B869155939   JUAQUIN         GONZALEZ                CA           49087408691
4B531721A71934   RAINBOW         RILEY                   CO           90010487210
4B532732472B4B   NICKOLAS        FLORES                  CO           90012907324
4B53385775B222   MICHAEL         MILES                   KY           90012478577
4B534637355939   VICTOR          MENDES                  CA           90010926373
4B53585519155B   MICHELLE        SAENZ                   TX           90004688551
4B536727972B4B   SIWESTI VIOLA   GILLEY                  CO           90011137279
4B536A3A18B16B   LEDNAC          AGUILERA                UT           90011620301
4B5393A8651383   REGINA          SOHMERS                 OH           90014773086
4B539467172B4B   JUAN            ALTAMIRA                CO           33015904671
4B542164661967   VERONICA        CHAVEZ                  CA           90010111646
4B54262665B174   STANLEY         TURNER JR               AR           90010256266
4B542981171999   CARRIE          CREAPO                  CO           38080869811
4B543648A8B16B   BREANNA         CONWAY                  UT           90014716480
4B5447AAA55939   RECHEAL         BROWN                   CA           49095767000
4B544A37571946   CYNTHIA         PARTIN                  CO           90003150375
4B544A82991988   JONATHAN        CHINA                   NC           90014770829
4B545828872B36   GEORGE          REEZES                  CO           90010408288
4B5459A425B58B   URSULA          BEGAY                   NM           90014279042
4B549557161967   FETULI          AGAU                    CA           46094815571
4B55122265B223   OLIVERIO        RODRIGUEZ               KY           68015542226
4B551235871999   CRYSTAL         WEST                    CO           90010622358
4B551589751334   MARCUS          SHIFFLETT               OH           90014585897
4B551724A5B52B   EDGAR           AVILA PEDROZA           NM           90011057240
4B558411271999   ESPERANZA       SENA                    CO           90014874112
4B559A3245B58B   JULIE           MOSHTER                 NM           90012800324
4B563147772B43   DEMON           BYRD                    CO           90014771477
4B568235871999   CRYSTAL         WEST                    CO           90010622358
4B568418991394   LISA            MARTIN                  KS           90007544189
4B56B534361963   BRIGITTE        ELFMAN                  CA           90009535343
4B571832272B4B   MILICIA         GARCIA                  CO           90008288322
4B571997871999   ZACK            MAYO                    CO           90013419978
4B57463472B87B   THOMAS          ACKLEY                  ID           90013636347
4B57474A55B53B   MICHALE         LAWING                  NM           90013207405
4B57564455B58B   LUCAS           NELSON                  NM           90008906445
4B577796372B43   SHAWNA L        CDEBACA                 CO           90009907963
4B577A26747954   AMANDA          GEORGE                  AR           90014510267
4B57894929133B   MARILYN         THOMAS                  MO           90014309492
4B58399795B523   ANASTACIA       MEDINA                  NM           35045019979
4B585343351383   SAMANTHA        SEXSON                  OH           90014803433
4B585471972B43   ESTAFFANI       RUANO                   CO           90010724719
4B5854A498B185   STEPHEN         SPARKS                  UT           90005424049
4B586276961968   AMADO           BARRERA                 CA           90013312769
4B587554A5597B   REVECA          ABAS                    CA           90004185540
4B588343351383   SAMANTHA        SEXSON                  OH           90014803433
4B588712961963   ARCELIA         CUELLAR                 CA           90008887129
4B58932A85B58B   CLARRISSA       SANCHEZ                 NM           90014033208
4B589739655939   SAMANTHA        RAE                     CA           90011527396
4B5982A2771934   MONICA          TINJERO                 CO           32071852027
4B5B1979A61963   MARIA           WAZIR                   CA           90014929790
4B5B2167A5B223   JENNIFE         LINDSEY                 KY           68013041670
4B5B4319293755   JEAN            NDAYISHMIYA             OH           64530043192
4B5B469A272B43   JOCELYN         ARREDONDO               CO           90007106902
4B5B551498B355   JAIME           RIDLON                  SC           90010075149
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4B5B576112B27B   IRMA           ESTELA                   DC           81089757611
4B5B956548B16B   MODESTO        TAPIA                    UT           90014855654
4B5B9725572B36   CRISTINA       RODRIGUEZ                CO           33026677255
4B611A3A191988   RODNEY         BURNETT                  NC           90014340301
4B615928591351   ERICA          HOLLINGSWORTH            KS           29025479285
4B617A2544B271   SONJA          CAUDELL                  NE           27093380254
4B61875214B539   SHEANNE        THOMAS                   OK           90010457521
4B61951248B16B   RACIEL         MONTOYA                  UT           90012835124
4B61BA84A61963   JESSICA        ESMERALDA                CA           90000210840
4B62112285B271   DINIECIA       BRECKENRIDGE             KY           90011231228
4B622425172B4B   YVETTE         RODRIGUEZ                CO           33013214251
4B622533361963   MEISHA         BOOTH                    CA           90010955333
4B62277665B271   JAMIKA         MALONE                   KY           68009487766
4B622932391988   ROBERTA A      BENJAMIN                 NC           90001069323
4B623567A71999   PETRA          KLOTH                    CO           90011475670
4B62365A824B7B   FABIAN         ESPINOZA PUENTES         VA           90013666508
4B626363171946   VICKI          GREENLEE                 CO           32033613631
4B62662A493762   KELLY          MANN                     OH           90008496204
4B626813847954   CECILIA        CRUZ                     AR           90011438138
4B62686925B58B   LORRIANE       PONCE                    NM           90009068692
4B62747645B53B   CRYSTAL        ARMIJO                   NM           90006354764
4B628117572B43   JOE            TAFOYA                   CO           33067221175
4B62829A371946   GUADALUPE      PEREZ                    CO           32018482903
4B63284175B52B   RICARDO        CHAVEZ                   NM           90014408417
4B6338A9A91873   TANVIR         KHAN                     OK           90006108090
4B635A37571946   CYNTHIA        PARTIN                   CO           90003150375
4B643853271999   AIOTEST1       DONOTTOUCH               CO           90015128532
4B64596235B53B   YANTSE         RAMIREZ                  NM           90013769623
4B645AA9591569   JULIAN         QUINONES                 TX           75054200095
4B646777591569   RENE           LESTER                   TX           90013877775
4B64813625B52B   ALEJANDRA      LEDESMA                  NM           90010851362
4B648972A61963   CATHERINE      DOMINGUEZ                CA           90014939720
4B64B2A2272B36   LONNIE         TURNER                   CO           90013362022
4B64B439451383   ANTHONY        DAVIS                    OH           90014804394
4B64B577391988   PEACHES        DARDEN                   NC           90014855773
4B651481224B7B   JOSE           ROMERO                   DC           90012254812
4B65237AA72B43   JERRY          OAKES                    CO           90006093700
4B656653151334   SHELLE         PACE                     OH           66043126531
4B65728835B271   BRAIN          WOOLDRIDGE               KY           90014242883
4B658A99561968   ANGEL          RIOS                     CA           90013170995
4B6629A7572B36   PATRICIA       CASTILLO                 CO           33065419075
4B663A5445B53B   MARIA          GONZALES                 NM           90010700544
4B666678555939   JAIME          HERNANDEZ                CA           90014816785
4B66682628B355   CRYSTAL        HEMPHILL                 SC           90010478262
4B66921892B27B   CARMEN         GUZMAN                   DC           90011422189
4B669835147954   GERARDO        HURTADO                  AR           90012528351
4B66989A561968   SARA           GREEN                    CA           90011178905
4B67272198B16B   ASHLEY         VAN BEUGE                UT           90006757219
4B67312469187B   ANTONIO        JOHNSON                  OK           90009161246
4B673353572B4B   ANNA           GARCIACANO               CO           90010423535
4B674A96472445   ASHLEY         JOHNSON                  PA           90001410964
4B675114391873   SHAYLA         MCLAUREIN                OK           90014711143
4B676535747954   BREANNA        BROOKS                   AR           90013935357
4B67831698B164   KARLA          REMO                     UT           90008623169
4B6797A988B16B   ROBERT         AUSTIN                   UT           90012997098
4B67B129172B4B   JONATHAN       GARCIA                   CO           90010471291
4B6837A934B271   MARKUS         WAYNE-KIMBLE             NE           90012017093
4B6839A595B271   DONICA         TURNER                   KY           90013269059
4B684525371999   MANUEL         SALAZAR                  CO           90012745253
4B686445871999   BROOKE         TRUJILLO                 CO           90008374458
4B6892A4771934   KRISTINA       KIZER                    CO           90000632047
4B68983955B58B   MARIA          ARAIZA                   NM           35009048395
4B68985322B27B   CAROLYN        DAVIS                    DC           90000618532
4B68B13515597B   MARTIE         ARELLANO                 CA           90010701351
4B691194272B43   CHRISTINA      MA                       CO           90012851942
4B6911A8293751   KEVIN          EDWARDS                  OH           90002761082
4B692759491351   ALYSON         ROWLAND                  KS           90005027594
4B6942A6A4B271   ASHLEY         MCDOWALL                 NE           90004182060
4B697264761968   DENISE         VAN                      CA           90008442647
4B697733A55939   GREGG          OLIVAS                   CA           90006617330
4B697865561963   JOSE           MARTINEZ                 CA           90011668655
4B69814244B271   THOMAS         DUCKSWORTH               NE           90014801424
4B69B44663168B   AMY            DUBIEL                   KS           90010514466
4B6B329288B355   MARIO          ZERON                    SC           90010452928
4B6B433A571934   DENNIS         LUJAN                    CO           32003373305
4B6B546825B523   SHEENA         SUAZO                    NM           90006004682
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4B6B556833168B   EDUARDO        PACHECO                  KS           22011545683
4B6B6977947954   BRIANA         BROOKS                   AR           90013009779
4B6B719A261963   ALFONSO        LUCCA                    CA           90008421902
4B6B9582861968   DANIEL         ROBLES                   CA           90014225828
4B711A4472B87B   LINDSAY        HALLER                   ID           90004770447
4B712357147954   THOMAS         JODOIN                   AR           90011203571
4B713268971934   CHARLES        RUSH                     CO           90015222689
4B713332A61963   TYLER          ONEILY                   CA           90015053320
4B713347A8B185   TYLER          ROWLEY                   UT           90012263470
4B713914A24B7B   JOSE           DIAZ                     DC           90013889140
4B7161A3451382   AMY            ARMSTRONG                OH           90005291034
4B71661792B87B   JUSTIN         FRENCH                   ID           90012976179
4B717693251382   LAMONTE        COOK                     OH           90008166932
4B71B894651383   ROBERT         ELLISON                  OH           66007148946
4B722948A61967   GUILLERMO      JIMENEZ                  CA           90010589480
4B72341425B271   BRAENA         BILLE                    KY           90008334142
4B72368575B53B   TINA           SANTILLANES              NM           90013296857
4B7236A2A55939   LISA           AVINA                    CA           90012836020
4B72423A391569   RAUL           MONTOYA                  TX           90010952303
4B72444A391351   ISSAC          WEBB                     KS           90010854403
4B724638651383   ABDELLAHI      NDIAYE                   OH           90014806386
4B72494618B156   ARMANDO        TRUJILLO                 UT           90008089461
4B725191A91569   LAYLA          GEORGE                   TX           90007871910
4B72547A971999   VIRGINIA       QUICK                    CO           90011104709
4B7261A9293724   SAMANTHA       SHARPE                   OH           90008671092
4B728556461967   ANTONIO        DIAZ                     CA           90011515564
4B733A95891351   FRANKLIND      PITTS                    KS           90013480958
4B734A72593794   STEVEN         BRUNK                    OH           90013490725
4B7363A6591873   JENNIFER       BARNES                   OK           90009023065
4B73859918B895   CODY           RODRIGUES                HI           90014565991
4B742428791988   JESSICA        CULBRETH                 NC           90014874287
4B74291955B52B   HEATHER        ATSYE                    NM           90010169195
4B745A97A8B355   YONNELL        OSORIO                   SC           90011480970
4B74818A493794   TONYA          PRINGLE                  OH           90013341804
4B74917995B53B   STAR           BARRERAS                 NM           90012871799
4B74B214872B36   ABIGAIL        RETANA                   CO           33041182148
4B751889691873   SCOTT          ANDERSON                 OK           90005688896
4B752935A5B271   BEVERLY        JOHNSON                  KY           90006329350
4B753AA6191394   GLORIA         HERNANDEZ                KS           90008660061
4B754587891351   LEE            GUERRO                   KS           90013785878
4B75477678B165   SIMMONS        BRENT                    UT           90009047767
4B755489293794   SCOTT          SKAGGS                   OH           90012374892
4B75566114B271   ROXANNE        PARFITT                  NE           27049266611
4B7587A2772B36   HEATHER        PIONTEK                  CO           90010277027
4B75B28655B222   TILA           DULAL                    KY           90011782865
4B761785824B7B   DEANDRE        WORKCUFF                 DC           90014677858
4B761829372B4B   SANDRA         RICHARDSON               CO           90014178293
4B7618A142B253   ERIC           CLIFTON                  DC           90007638014
4B763154951325   CHARLES        SOWDER                   OH           90012441549
4B76366998B16B   GUSTAVO        GUTIERREZ                UT           90013156699
4B76367265B222   EUGENIA        WALKER                   KY           68013666726
4B7652A548B355   MELISSA        MARTINES                 SC           90013922054
4B76557978B165   DIANA          ESPINOZA                 UT           90010675797
4B76648A251339   KIM            HOWARD                   OH           90011424802
4B766581155939   MARIA          SANCHEZ                  CA           90012775811
4B76725947B276   CLARISSA B     NICASSIO                 AZ           40538342594
4B76783473168B   CAROLINA       HERNANDEZ                KS           90013738347
4B76856515B174   CANDICE        JOHNSON                  AR           90011135651
4B76B25565B223   SYLVIA         GARMANY                  KY           90008952556
4B771784755939   PANCHO         VILLA                    CA           90012827847
4B771943741258   KENNETH        JONES                    PA           90007289437
4B772A36691569   OLIVVAS        SARAI                    TX           90004540366
4B772A59391351   EFRAIN         GRAILLET                 KS           90011330593
4B77327A653966   CHRISTOPHER    MILLER                   OK           90010812706
4B77346425597B   ALVINA         ORTEGA                   CA           90009484642
4B775626672B36   ROBERTO        HERNANDEZ                CO           90013906266
4B777585A91351   TRISTA         KENNEDY                  KS           90014535850
4B778653691873   SUQUANA        FOX                      OK           90010096536
4B779437493751   MICHAEL        ETTER                    OH           90001734374
4B77B56515B174   CANDICE        JOHNSON                  AR           90011135651
4B781A3645597B   EMANUEL        FERRER                   CA           90011360364
4B785779547954   LEON           ABBOT                    AR           90014857795
4B785A1962B87B   CASSANDRA      WILLIAMS                 ID           90009030196
4B788686161963   RAYMOND        BENTZ                    CA           90012566861
4B78881772B27B   ASHLEIGH       MITCHELL                 DC           90014898177
4B78B29665B52B   DIANA          OLIVERA-SOSA             NM           90013432966
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 477 of 1007


4B79157115B52B   FRANCISCO      FONSECA                  NM           90011595711
4B792221372B43   LUIS           BENITES                  CO           90011422213
4B79267482B87B   ZACHARIAH      NUTTALL                  ID           90007546748
4B794481861967   MARIBEL        VILLA                    CA           90010614818
4B79476852B87B   KELSEY         HUBIAK                   ID           90014477685
4B79512885B53B   JAMES          HORN                     NM           90013151288
4B795339491873   DARLESHA       BELLAMY                  OK           90011173394
4B795344771934   CARIE          SERGREN                  CO           90015253447
4B7954A8A8B185   AMBERLY        GIPE                     UT           90004394080
4B795819A5B271   DONALD         MILLER                   KY           90010948190
4B796A16955939   MONICA         HERANDEZ                 CA           90014660169
4B79779A58B16B   JAQUELENE      MARTINEZ                 UT           90010517905
4B798471391988   MICHAEL        BERNARD                  NC           90014914713
4B79866A55597B   MICHELLE       QUINTERO                 CA           90010776605
4B798A9A35B58B   MIKE           BOLDEN                   NM           90011210903
4B7B165276232B   PAULA          RAMIREZ                  AZ           90013956527
4B7B24AA693794   DELISA         CHENAULT                 OH           90007724006
4B7B2524272B36   DONALD         THOMAS                   CO           90012635242
4B7B33A3A6192B   THOMAS         MATTHEWS                 CA           90007883030
4B7B3754791569   LUIS           RAMOS                    TX           90014107547
4B7B4185371999   DAVID          SANDIDGE                 CO           90013911853
4B7B65A5547954   STEPHANIE      NORWICKI                 AR           90011235055
4B7B694175B58B   ANDRES         SALAZAR                  NM           90013209417
4B7BB72552B27B   MORGAN         SMITH                    DC           81001687255
4B7BB79755B58B   CONSTANCE      OLGUIN                   NM           90014577975
4B81149565B53B   TIM            GUERRO                   NM           90014694956
4B811646661963   GENTRYY        STANELY                  CA           46052306466
4B81557A391351   RANDY          GILLIS                   KS           90012605703
4B81624288B355   MARVIN         ONEAL                    SC           90013052428
4B816648151334   DANIELLE       CALHOUN                  OH           90011386481
4B819A11A5B271   J SANTOS       PADRON-LOPEZ             KY           90015090110
4B82127665B53B   MARIA          ARMENDARIZ               NM           90015112766
4B82228678B355   JERRY          ELLISON                  SC           90006932867
4B8226A3147954   BRIAN          GARCIA                   AR           90010066031
4B823328A5B222   SALVADOR       MUNOZ                    KY           90001363280
4B823A63791351   PEDRO          SANCHEZ                  MO           90006010637
4B824214171934   MICHAEL        JENNINSON                CO           90011532141
4B824559261967   PRISILA        OROZCO                   CA           90010615592
4B82651635B53B   CUNNINGHAM     MARTIN                   NM           90014875163
4B831963371934   GARY           MCDANIEL                 CO           32055879633
4B83283A271999   DAVINA         MEDINA                   CO           90012238302
4B83478228B165   CHANCE         RICHMON                  UT           90010017822
4B838412662322   ANGELA         KELLS                    AZ           90013924126
4B838A73A72B43   JESUS          GARCIA                   CO           90013650730
4B83979355B271   JOHN           PAYNE                    KY           68079707935
4B843824A5B58B   ARELY          ROMERO                   NM           90003698240
4B844A42591959   NICOLE         BARRERA                  NC           90012620425
4B84562522B87B   AMBER          TOWLES                   ID           90012976252
4B847681A8B355   JOSE           RAMOS                    SC           90008506810
4B84842853168B   DONOVAN        MOSLEY                   KS           90013964285
4B848541551382   KHEO           NGUYEN                   OH           90014865415
4B849297284368   TASHERA        ROBINSON                 SC           90014752972
4B849443361967   JUAN SIMONES   FOJO                     CA           90010764433
4B8498A1761968   MIGUEL         ROQUE                    CA           46081278017
4B857578191988   JANICE         JOHNSON                  NC           90011305781
4B85BA93472B39   ELSA           RAMIREZ                  CO           90014870934
4B861225591569   LETICIA        RAMOS                    TX           75071112255
4B86341338B16B   ELIZET         DIAZ                     UT           90011264133
4B8647A6471934   DEANA          VANZANDT                 CO           90009647064
4B865331A8B16B   DONNIE         ROBERTS                  UT           31085333310
4B865927871946   LEONEL         HERNANDEZ                CO           32055019278
4B866A9645B52B   GRACIELA       RIVERA                   NM           90015200964
4B868424491569   ROCIO          MARQUEZ                  TX           90011534244
4B86B95483168B   ENRIQUE        MARTINEZ                 KS           90014039548
4B86B96A191988   LANDORIS       WATSON                   NC           90010879601
4B871AA965B52B   SAMUEL         KOVAC                    NM           90005060096
4B872712661963   LIONEL         PRADO                    CA           90011077126
4B874287491988   ANTHONY        ROPER                    NC           90007722874
4B87522755B174   KIM            LANGFORD                 AR           90011142275
4B876A8554B271   DWANETTE       YOUNGBLOOD               NE           90011450855
4B878271291873   KELLY          BRYCE                    OK           90011122712
4B87987A491523   MARIA          RAMIREZ                  TX           75055038704
4B881129784368   ERICA          BAILEY                   SC           90006211297
4B881426461968   LUCIA          ABRUSSEZZE               CA           90011974264
4B881785972B4B   VICTOR         MARQUEZ GUERRERO         CO           90011137859
4B88277325B58B   ERIC NUNEZ     OLIVIA PENROSE           NM           90012947732
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4B883125891527   MARIA          PORTILLO                 TX           90001021258
4B8856A715B52B   JENNIFER       MARTINEZ                 NM           90010636071
4B88863A24B271   ALFONSO        SOLORIO SOLORIO          IA           90013096302
4B88891632B27B   HILTON         BANGURA                  DC           90008429163
4B88967865B174   JAMAL          MOSBY                    AR           90014056786
4B88BA6968B16B   LEWIS          YENNA                    UT           90011900696
4B89426A48B355   DAVID          HOFFMAN                  SC           11048932604
4B894434A72B43   TYSON          RAY RICHARDS             CO           90013664340
4B89533775B222   YULIBER        DUCAS                    KY           90012313377
4B898721191569   KAREN          REALYVAZQUEZ             TX           90013887211
4B899819A5B271   DONALD         MILLER                   KY           90010948190
4B8B1A1962B87B   CASSANDRA      WILLIAMS                 ID           90009030196
4B8B46A7251383   AMBER          LAKES                    OH           90014836072
4B8B4A3A772B36   DONNA          DEACON                   CO           90009040307
4B8B67A2791569   VIDNEY         ALONZO                   TX           90013887027
4B8B6976947954   ALONZO         TORRES                   AR           90014559769
4B8B959255B174   CAROLYN        BROADWAY                 AR           90013325925
4B8BB286391873   HAZEL          MILLER                   OK           90012662863
4B911886472B4B   ROBERT         MILLS                    CO           90013268864
4B912287791873   BRIAN M        KIRK                     OK           21096592877
4B912653A2B87B   BRANDON        MCDONALD                 ID           90011106530
4B912A42171934   ALAN           OLAIS                    CO           90010490421
4B91387A35B271   TERESA         HERNANDEZ                KY           90007878703
4B914415A51382   CETH           DIGGS                    OH           90014724150
4B91466828B165   MICHAEL        WOOD                     UT           90003066682
4B91557218B849   JOSE           MAGANA                   HI           90014245721
4B917793172B4B   JUSTIN         TROUDT                   CO           90001457931
4B918764341261   JENNIFER       SEVICK                   PA           90001257643
4B918A24861968   ANJANETTE      PRICE                    CA           90013750248
4B91973988B16B   NATHAN         ROE                      UT           90012777398
4B921213151382   LINDSEY        LANDA                    OH           90010602131
4B92317A98B16B   KEVIN          HERNANDEZ                UT           90015111709
4B924536551382   RENE           CAMBA                    OH           90014695365
4B925949172B43   DAVID          GRIFFITHS                CO           90015099491
4B92662417B347   CARLOS         HUAJARDO                 VA           90002146241
4B928981991569   BARRAZA        TERESA                   TX           90007139819
4B92B917471999   DARIO          GUTIREZ                  CO           90003499174
4B93393445B222   SHERA          FISHER                   KY           90011789344
4B935732391873   KAREN          HOPKINS                  OK           90000627323
4B937732361968   MARIA          GONZALEZ                 CA           90004197323
4B937747761967   STEPHANIE      STEPHANIE                CA           46075637477
4B93776852B87B   KELSEY         HUBIAK                   ID           90014477685
4B93B857172B4B   JEREMIAH       LESPERANCE               CO           90013488571
4B94169274237B   MEL            BRYANT                   GA           90011446927
4B944268491351   CRICKET        WIRELESS                 KS           90009982684
4B944372751334   ANTHONY        GORRASI                  OH           90008663727
4B94458A38B16B   TRAVIS         JENSEN                   UT           90013315803
4B945552251334   OTIS           MIXON                    OH           90014515522
4B945842455939   JAZBEL         JIMENEZ                  CA           90012548424
4B95175372B258   WILLIAM        WARING                   DC           90007827537
4B95419A593782   SHANEICE       JOHNSON                  OH           90011191905
4B954369897957   KENNETH        REINHART                 TX           90013793698
4B954393461976   LORENZO        SALINAS                  CA           90011583934
4B95471834B271   PRECIOUS       PHILIP                   NE           90008427183
4B95525764237B   MORRIS         FORSTER                  GA           90012842576
4B95757215B395   DOMINGO        PEDRO                    OR           44534715721
4B95757A24B271   LUIS           BECCRIL                  NE           90013265702
4B958129451382   CATHERINE      TIERNEY                  OH           66090331294
4B958613A61963   ANTWON         HILL                     CA           90008906130
4B95B63318B165   HILDA          ANAYA                    UT           31047776331
4B961A5445B58B   CHELSIE        M MENDEZ                 NM           35054170544
4B9622A175B53B   SUINA          KADISHA                  NM           90011902017
4B962586855939   ELVA           MARTINEZ                 CA           49009405868
4B96261485B271   JOEL           MOREL                    KY           90014256148
4B96371245B52B   TIFFANY        VALDEZ                   NM           90013517124
4B964819591988   EULALIO        HERNANDEZ R              NC           90011758195
4B968312471999   TINA           LUCERO                   CO           90007083124
4B96851382B27B   GINGER         ROYSTER                  DC           81086225138
4B968A37572B36   KODY           NESMITH                  CO           90013350375
4B969994591394   RODOLFO        RAMIREZ                  KS           90005569945
4B96B78682B87B   DAVID          WILLIAMS                 ID           90008947868
4B972115761968   CYNTHIA        NGUYEN                   CA           90013641157
4B973A47872B36   HONORIO        RESENDIZ                 CO           90012150478
4B974526A4237B   JERRI          HOOPER                   GA           90015015260
4B975319893765   ALYSSA         BRYAN                    OH           90012303198
4B978292472B43   EMILIO         LOPEZ                    CO           90013852924
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 479 of 1007


4B979192891351   CATHY          TALBERT-BEY              KS           90007731928
4B982A3888B355   SISSY          GREGORY                  SC           90005180388
4B984858591569   CHRIS          FONTES                   TX           90010458585
4B987929461967   JAVIER         MATA                     CA           90010649294
4B988477791988   SIRILA         MORALES                  NC           90011914777
4B98886845597B   RODRIGO        CERVANTES                CA           90011008684
4B989666991569   YARATZED       GONZALEZ                 TX           75010356669
4B989843751334   FATOU          KONE                     OH           66065398437
4B98B33A451383   ROBERT         WOMBLE                   OH           90013363304
4B991854891351   ERIN           PATILLO                  KS           90013798548
4B99227A191351   TYRONE         RODRIGUEZ                KS           90010502701
4B99327A29718B   RONALD         COOLIDGE                 OR           90014792702
4B99365192B87B   ZACH           ZANDHUISEN               ID           90013296519
4B993A7422B87B   ZACH           ZANDHUISEN               ID           90009500742
4B99445135B52B   ANGELA         MARTINEZ                 NM           90009524513
4B995982991351   LORENA         ANGUIANO                 KS           29086789829
4B996211891569   RUTHIE         WADE                     TX           75086702118
4B997653661967   MIRIAM         SOTO                     CA           46060016536
4B99927532B87B   DANIELLE       KLAGES                   ID           90015132753
4B9B113A48B165   RUNA           TUIMASEVE                UT           90000331304
4B9B2392555939   MONUQUE        AVINA                    CA           90014613925
4B9B284615B53B   SAMUEL         JACKSON                  NM           90013598461
4B9B3372A91351   ARACELI        BUSTAMANTE               KS           90014173720
4B9BB627A93794   TAMMY          STEVENS                  OH           90012646270
4B9BB79A671999   SAMANTHA       GONZALES                 CO           90013377906
4B9BB88428B165   REINA          VALENZUELA               UT           90005768842
4B9BB913862B31   JAIME          TORRES                   KS           90013859138
4B9BBA44A72B4B   RAHSHAAD       MATHIS                   CO           90009990440
4BB131A7484368   NYASHA         HEYWARD                  SC           90012701074
4BB13587A47954   JOSHUA         LOMONACO                 AR           90013215870
4BB14274A5B53B   DEAN           GROSS                    NM           90015112740
4BB1585245B53B   ANGELA         HERNANDEZ                NM           90014178524
4BB15877571946   MELISSA        CUMMINGS                 CO           32064858775
4BB16355A55951   ANESSA         LEYDIG                   CA           49079303550
4BB16858791351   ANGELICA       CATHERO                  KS           90010168587
4BB16A5993B491   JOHN           GREEN                    PA           90013810599
4BB18296555939   DAVID          KING                     CA           90014562965
4BB1973445B222   VICTORY        REYNOLDS                 KY           90014807344
4BB19A7298B16B   CHRISTOFFER    HARRIS                   UT           90008480729
4BB21286547954   DYLAN          PANGLE                   AR           90013582865
4BB2224313B491   ALEXI          LOPEZ                    PA           90013502431
4BB225A818B355   KENDALL        FOSTER                   SC           90013835081
4BB2317378B355   MARIA          MEDINA                   SC           90013791737
4BB2319275B58B   RICHARD        ESQUIBEL                 NM           90011181927
4BB23248493794   BRANDON        BURKHART                 OH           90011462484
4BB23A26272B36   DARRELL        BORST                    CO           90013170262
4BB2557535B395   RHONDA         BOYD                     OR           90001715753
4BB2598A291241   TAMARIS        BAEZ                     GA           90006749802
4BB2662325B53B   ANDREW         DANKO                    NM           90014686232
4BB2693595B222   SHARON         ROBLERO                  KY           90011749359
4BB27414161963   JULIA          RODRIGUEZ                CA           90013134141
4BB27A52993794   AMBER          GEORGE                   OH           90014530529
4BB2975785B222   CHARLENE       MITCHELL                 KY           90014807578
4BB31391572B36   FELIPE         AGUILERA                 CO           90012643915
4BB3213335B271   ALICE          COWHERD                  KY           90014211333
4BB33429755939   MARIA ELENA    PERALES HERNADEZ         CA           90013794297
4BB3351552B828   JUSTIN         JONES                    ID           90012865155
4BB338A458B165   BRETT          WATERS                   UT           90008888045
4BB36463793794   LORI           TROVILLO                 OH           90010014637
4BB36622772B4B   FREDDY         OLIVAS                   CO           90011136227
4BB39269893794   JASON          HORSFALL                 OH           90011302698
4BB4124A491527   ANLEJANDRA     GONZALEZ                 TX           90004122404
4BB41325A2B87B   SATIRA         MCGLATHERY               ID           90011173250
4BB4212783B491   NICHOLAS       MORANELLI                PA           90010311278
4BB43177693794   KIMBRELL       SHEA                     OH           90011751776
4BB45161161968   ANGIE          DUEARTE                  CA           90014531611
4BB45498272B36   SERGIO         MEDINA                   CO           90013094982
4BB4655188B187   CLIFFORD       PRATHER                  UT           90005965518
4BB4667593B491   PAYOR          KYMARA                   PA           90006796759
4BB47274961968   DAVID          RIVERA                   CA           90010832749
4BB4788A75B174   CONNIE         DUCKETT                  AR           90000218807
4BB49369791988   KYLE           EVERETT                  NC           90012943697
4BB4976485B357   DYLAN          PERRY                    OR           90007107648
4BB4B989193794   JACK           DENT                     OH           90007759891
4BB5183A993794   DANIELLE       HOLLON                   OH           90014068309
4BB5274495B52B   BILLY          MITCHELLE                NM           90009507449
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4BB53743855939   JESSICA        CLARK                    CA           90012847438
4BB55414661967   RUDY           PIMENTEL                 CA           46094254146
4BB55AA145B53B   LINDA          CASTILLO                 NM           35063540014
4BB5627688B16B   MARCOS         MALDONADO                UT           31007862768
4BB5664884B271   TAMIKO         COTTON ROSS              NE           90014046488
4BB57431961963   MELISSA        RUIZ                     CA           90013134319
4BB58289172B98   SONIA          BERNARD                  CO           33004202891
4BB59547193794   CAROL          HUFFMAN                  OH           66084355471
4BB5974284B271   JOSE           ROMERO                   NE           90005047428
4BB5B31A12B87B   JEREMY         TURRELL                  ID           41054583101
4BB633A825B58B   MELISSA        MARTINEZ                 NM           35030893082
4BB67225572B48   CIERRA         HUMAN                    CO           90013822255
4BB7225A172B36   MILTON         CLEMENTS                 CO           90009272501
4BB7349532B27B   DONTA          HUMES                    DC           90009154953
4BB74512471934   MICAELA        BOLTON                   CO           90015065124
4BB74537993794   MOM            LOLLAR                   OH           90015285379
4BB7487A355939   PHILLIP        DURAN                    CA           90013938703
4BB75943A55951   JOHN           ORTA                     CA           90011559430
4BB76991591569   RYLEY          MOWRER                   TX           90010689915
4BB7715845B222   HECTOR         SERANO                   KY           90011751584
4BB7724964B271   DONESHA        MATTHEWS                 NE           90013552496
4BB77391272B4B   JOSEPHINE      MCGEE                    CO           33098853912
4BB79535747954   BREANNA        BROOKS                   AR           90013935357
4BB7B441755939   JOSE           GOMEZ                    CA           90012504417
4BB8238885B52B   JOSE           TRUJILLO                 NM           36080293888
4BB8281717B694   KIERSTON       WALKER                   GA           90012718171
4BB82887355939   NAYELY         RUMBO                    CA           90011118873
4BB87129993769   PATTY          YALER                    OH           90011071299
4BB87235791873   ADRIAN         OGANS                    OK           90003462357
4BB8839558B165   SASHA          PINEGAR                  UT           90008703955
4BB88947791569   LIDIA          CEBALLOS                 TX           75038049477
4BB89798161968   JESUS          REYES                    CA           90014237981
4BB91117451334   LINDA          JONES                    OH           90012951174
4BB9152735B53B   CARLA          ARCHULETA                NM           90015275273
4BB9155145B53B   CURTIS         HOLMES                   NM           90013475514
4BB92262793767   TIFFANY        CURRY                    OH           90011842627
4BB9335995B271   TODD           HORRELL                  KY           90006743599
4BB936A9A71934   JASMINE        SHELTON                  CO           90010176090
4BB9424113B491   RONALD         LARKINS                  PA           90010452411
4BB94563647954   NATHANIEL      MCCOY                    MO           27558845636
4BB95751661968   HECTOR         CASTANON                 CA           90009507516
4BB96344693794   ARLIE          FRALEY                   OH           90013443446
4BB96499A51382   DIANE          LUCKEY                   OH           90014664990
4BB97113861967   SANTIAGO       SALAS                    CA           90010591138
4BB993A232B27B   NADI           SALH                     DC           90011173023
4BB9944A772B36   JOSHUA         HARRIS                   CO           90013164407
4BBB1792871999   CHRISTOPHER    ALCON                    CO           90013177928
4BBB1937747954   CRYSTAL        CAIN                     AR           90010979377
4BBB3537672B36   CHRIS          SIERRA                   CO           90012335376
4BBB546688B16B   SELENA         BALDERAS                 UT           90013324668
4BBB557915B271   DRU            COCHRAN                  KY           90013485791
4BBB837655B526   LOPPEZ         IGNACIO                  NM           35093803765
4BBB899885B357   KENNETH        FOREMAN                  OR           90014839988
4BBB9931241258   KELLY          KLEIN                    PA           51073549312
4BBBB113841235   MOLLY          BANKS                    PA           90008631138
511123A612B27B   MELODY         MOORE                    DC           90013163061
5111279875715B   GIM            CHUL WOONG               VA           81004477987
511127A5A5B531   ANTHONY        PANTELAKIS               NM           90014107050
51112942898B2B   JENNILER       R NANCE                  NC           11009269428
5111441912B27B   ROLANDA        NICHOLSON                DC           90014934191
5111514975B543   MARTHA         QUEZADA                  NM           35048081497
5111567345B387   BERNARDINA     CASTRO                   OR           44558346734
5111793895B531   YESENIA        RUBIO                    NM           90012229389
5111852473B394   ALONDARA       RUIZ                     CO           90013355247
5111B146557122   NABIAH         GNAOUI                   VA           90007131465
5111B38584B588   MEGHANE        WILSON                   OK           90013073858
5111B877731429   EDNA           WILLINS                  MO           90005648777
511226A978B169   MARK           HENDRIKSEN               UT           90012786097
511276A8A97B77   BROCK          SAINT AORO               CO           90009286080
51131476A91895   RAYMOND        MALLETT                  OK           90015124760
51132656172B36   FLORAYMA       HERNANDEZ                CO           33074596561
51133276A72B43   ANA            GARCIA                   CO           33077662760
51137657372B27   DANEANE        HOEL                     CO           90012926573
5113815834B588   TREMAYNE       BENNETT                  OK           90012801583
5113931415B543   SCOHY          PASCAL                   NM           35056393141
5113BA9939373B   RHONDA         MADDIGAN                 OH           90008720993
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51142755972B43   ERNESTO        HERNANDEZ                CO           33050027559
5114387A691989   CAITLIN        HICKS                    NC           90015048706
51144A36661973   ELVIA          MARTINEZ                 CA           90012340366
5114652755758B   GRIESELDA      GARCIA                   NM           90011385275
511469A7733696   NANCY          SPINKS                   NC           90009359077
5114BA1892B27B   SELENA         HERNANDEZ                VA           90000610189
511513AA82B27B   BRIAN          MARSHALL                 VA           90011483008
5115145444B588   WYATT          ALLEN                    OK           90014574544
51152959172B36   ROMUALD        SHNURAI                  CO           90012339591
51153757A72B36   CARLA          ROMERO                   CO           33005027570
51154A6878B169   AMANDA         HAZLEWOOD                UT           90006600687
5115514652B393   JONATHAN       LEBRON                   CT           90014411465
51155254A72B27   DANIEL         SAAVEDRA                 CO           90000692540
5115684985B387   CASEY          LEOPARD                  OR           90013528498
51156A61961975   IVAN           TOPETE                   CA           90012930619
5115875A872B43   DAVID          SEDILLO                  CO           90012507508
5116112A297B54   NALLELY        PALMA                    CO           39017121202
51162519476B68   JAVIER         GONZALEZ                 CA           46039455194
51162966572B43   AMBER          PHILLIPS                 CO           90013279665
51164278A61975   LILIANA        SANCHEZ                  CA           90012742780
511674A475B531   ROBERT         VOSS                     NM           90009054047
5116863A261975   AIOTEST1       DONOTTOUCH               CA           90015116302
51168A3A685862   NANCY          SARAGOZA                 CA           90010130306
5116911A572B36   EDDER          HERNANDEZ                CO           90012681105
5117256654B588   RICARDO        ALVARADO                 OK           90013655665
511729A1472B49   KARENA         JONES                    CO           90008819014
51173432372B36   LORINA         GOMEZ                    CO           33054864323
51173A64691934   DANIEL         COLES                    NC           90010520646
51184272772B58   CECIL          SHARP                    CO           90012872727
5118663A633696   PATRICIA       BLEVINS                  NC           12051826306
5118761235B387   RUBY           BURKETT                  OR           90010436123
5118934185B543   MARIA          MAYORGA                  NM           90005693418
5118B475391576   PAUL           PEREZ                    NM           90013184753
51191AAAA72B43   KIMBERLY       LOYA                     CO           90012240000
51192878572B49   FELICIANO      MENDOZA PIMENTEL         CO           90012958785
51192A98861973   KEYLEEN        REYES                    CA           90012350988
5119496964B588   JACOB          UGARTE                   OK           90012989696
51194AAA972B77   MARIA          CASTILLO                 CO           33047880009
51196144A7242B   HELEN          BORDONARO                PA           90015201440
511B171342162B   RONALD         WALKER                   OH           90014157134
511B2125557148   JONATHAN       DIXON                    VA           90013931255
511B2A46991989   DEXTER         DOUGLAS                  NC           90014860469
511B411865B531   VIDAL          BACA                     NM           90014991186
511B679564B28B   DAVID          MURPHY                   NE           90011087956
511B6A56A61971   LEBARBARA      JOHNSON                  CA           90007340560
511B7598557157   JHONY          RAMOS                    VA           90010745985
511B8147633696   RAFAEL         ROSARIO                  NC           90013461476
511B9236861971   ALLARD         TYNEIL                   CA           46070882368
5121277A684357   DONNA          MIDDLETON                SC           90009157706
51212982A4B588   JAVIER         DE LA ROSA               OK           90013599820
51213169672B49   DESIREE        SINCHEIMER               CO           33049361696
51213983198B2B   WILLIAM        LOBS                     NC           90003249831
51214A1397B46B   TAMICA         LAWRENCE                 NC           90011450139
51215299A72B27   LOWAN          THOMAS                   CO           33027322990
51215861A91576   RITA           COBOS                    TX           90006908610
5121834984B588   LAURA          HIGUERA                  OK           90013513498
5121886435758B   MARIA          DELAROSA                 NM           90012408643
5121B46395758B   DAVID O        GARCIA                   NM           90002704639
5121B68A172B36   ERNEST         HIGGS                    CO           90005776801
5121B72624B588   DAVID          FELZ                     OK           90012877262
51221AA175B531   KRYSTINE       ANGEL                    NM           35036320017
5122212732B862   JEREMY         BROWN                    ID           41085541273
5122296744B588   APRIL          LABARBERA                OK           90014139674
51226A34398B2B   SHANETRA       CAUTHEN                  NC           90003250343
5122B957457157   DEANDRA        CARPER                   VA           90002189574
5123559574B588   AARON          HANNA                    OK           90012665957
5123644658B169   MARBELLA       ARROYO                   UT           90010844465
5123865244B588   BRANDON        DIEHL                    OK           90014866524
5123871688B169   DARIUS         BEARD                    UT           90004167168
5123927755715B   JOSE           LAZO ROMERO              VA           90012762775
51239A43961973   ALBERTO        ALTAMIRANO               CA           90012340439
51239AA2872B43   ILEANA         GALLEGOS                 CO           90009130028
5124219A75715B   BYRON          GALLOWAY                 VA           90012771907
5124279657B46B   RODOLFO        PARDO                    NC           90014957965
51245516A8B169   BLANCA         ZALDIVAR                 UT           31098165160
512456AA65B387   AMY            STROM                    OR           90002566006
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512458A965B393   GEORGE         DANIELS                  OR           90014658096
51247652972B58   KAM            RAWLINS                  CO           90011276529
5124852A861971   SHAWN          NORTON                   CA           46044905208
51254124572B77   SANDRA         VASQUEZ                  CO           90006861245
51254512972B88   JAMES          PHILLIPS                 CO           90005145129
51254983872B27   KIMBERANN      ROMERO                   CO           90007769838
5125539855B393   LAZARO         SACAYON                  OR           90012543985
5125552567B46B   SANDY          CARTER                   NC           90007065256
5125625A597B54   TROY           STOLTS                   CO           39056832505
5125B969861975   CLAUDIA        COTA                     CA           90009609698
5126113695758B   MONICA         CASTRO                   NM           90014691369
51261358A8B169   RAFAEL         OLIVERA                  UT           90013033580
51263433872B43   BRADLEY        WATKINS                  CO           90014864338
512695A544B28B   JESSICA        YELM                     NE           90005595054
5126978462B95B   ALFRED         RIOS                     CA           45047117846
5126B81A961975   LUCIO          UHILA                    CA           46068558109
5126B961A57157   MITCH          ACE                      VA           90011719610
5127448455B162   DANA           RUSSELL                  AR           23006984845
5127572624B588   DAVID          FELZ                     OK           90012877262
512775A4461975   MIRIAM         RODRIGUEZ                CA           90001155044
5127863785B399   WILLIAM        SHEPPARD                 OR           90011306378
51278869472B49   SAMUEL         MADRID                   CO           90012358694
5128625AA83266   NATAYVIA       TATE                     CO           90013812500
5128814928B169   CHARMAINE      SMITH                    UT           90014571492
5128838995B387   JEFFREY        ADAMS                    OR           44529493899
5128BA6A772B43   BRIANA         GARCIA                   CO           90013550607
5128BAA9172B27   LINDA          ALCANTOR                 CO           90002320091
5129538554B588   ELAINA         MARTINEZ                 OK           90010503855
5129738554B588   ELAINA         MARTINEZ                 OK           90010503855
5129872412B272   MARCUS         BELL                     DC           90008557241
51298A5365715B   JONAH          BRYANT                   VA           90010380536
5129959A75B531   KENDRA         GONZALES                 NM           90009585907
512B391745758B   GILBERT        DOMINGUEZ                NM           90012189174
512B3AA4172B43   VICTORIA       FENDELANDER-POILE        CO           33004460041
512B4991A5715B   LAUREN         MOODY                    VA           90010339910
512B516A161971   GLEN           SHULTS                   CA           90004411601
512B6A17A72B36   VERONICA       PILLADO                  CO           90011130170
512B8391A57157   KIRSTEN        HOOVEN                   VA           90014163910
512B9955172B77   ABUNDIO        VALDEZ PEREZ             CO           33003199551
512BB3AAA91576   ANDREA         AMADOR                   TX           90014643000
5131197235B393   MICHAEL        SLADE                    OR           90014659723
51311A81561973   WES            RHOTEN                   CA           90012340815
51314169824B7B   MATTHEW        LUMAS                    DC           90011041698
5131638584B588   MEGHANE        WILSON                   OK           90013073858
513189A837B46B   KENIA          ARAGON                   NC           90013319083
513191A495B393   JAMES          HOGAN                    OR           44519921049
5132299934B588   RANGEL         SANCHEZ                  OK           90015199993
5132387465715B   MARITZA        ORTIZ                    VA           90011958746
51324345672B36   LUIS           CUPERTINO                CO           90005043456
51324717A97B77   ILARIO         CAMACHO VILLAGRAN        CO           39035477170
5132841912B27B   ROLANDA        NICHOLSON                DC           90014934191
5133313274B521   LATOYA         ADAMSON                  OK           90009921327
5133362A133699   TIFFANY        TONEY                    NC           90014506201
5133421355B399   EDGAR          LEONEL                   OR           90008292135
51335542497B77   SANTOS         VELASQUEZ                CO           90008625424
513361A224B588   HALEY          INCARNATO                OK           90008601022
5133659842B959   JOSH           SMITH                    CA           90008805984
5133736A25B387   KELLI          WHITE                    OR           90004713602
513378AAA5B393   HEATHER        FOUST                    OR           90011198000
5133842615B387   SIMONE         CROTHERS                 OR           90013984261
513384AA25758B   JOHN           TORREZ                   NM           90004704002
51338727472B36   JESSIE         BOTELLO                  CO           90012767274
5133B616585862   AMELIA         HINTON                   CA           90004976165
5134135625B531   KAYE           WILLIAMS                 NM           90013723562
513416A2161973   KEVIN          HUSSIE                   CA           90013266021
51341A29961973   KEVIN          HUSSIE                   CA           90014170299
5134425625B399   DAVETTA        LOCKETT                  OR           90005102562
51346A85733696   VIKKI          WILLIAMS                 NC           12039780857
5134793455758B   JASON          ROCHA                    NM           90013649345
513521A944B588   FEDERICK       TAYLOR                   OK           90007651094
5135942A25B387   ALONZO         GARNER                   OR           90013714202
5135B125284357   RONALD         KLOPP                    SC           90009841252
5135B323461971   JEFFREY        GRAY                     CA           90010893234
5135B975871964   JESSICA        ARMENTROUT               CO           32090509758
5136393888B169   VINCENT        SILVA                    UT           90013919388
5136575815B387   KANDY          RAIFORD                  OR           90012237581
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513663A614B28B   ROBERT            CLEMENS               NE           90006673061
51366597572B27   DEVIN             JOHNSON               CO           90013695975
51368814A51348   ABIGAL            FABIAN                OH           66009138140
513695A2261971   RALPH             ELWOOD                CA           90013495022
5136B11938B169   TAMRA             HENDRICKSON           UT           90010221193
5136B58432B27B   UZOAMAKA          ONYEKWELIBE           DC           90013925843
5136B75562B27B   NATALIE           THOMPSON              DC           90011327556
5137185177B46B   ALTAGRACIA        TEJEDA                NC           90012148517
51371A6A251332   PHYLLIS           BLACKMAN              OH           90000960602
513723A144B588   MARIO             CANDANOSA             OK           90003193014
51372A18997B77   VERONICA          WOODYARD              CO           90009610189
5137332532B27B   HERBERT           MUNGO                 DC           90009683253
5137368615715B   PIA               JAMES                 VA           90011396861
5137556735B393   CARMEN            OROSCO                OR           90001995673
51376A27791576   YVONNE            DIAZ DE LEON          TX           90013840277
51376A74861971   SHAHAD            ISSA                  CA           90010770748
5137872175715B   JOSE NORBERTO     MACHADO               VA           90006267217
5137B346984357   ANTWAN            SMALLS                SC           90011363469
51382177972B36   JUAN              CASTANEDA             CO           90012031779
51384371A61973   DOMINIC           ANDRADE               CA           90014183710
5138715335B387   WILLIAM           SPENCER               OR           90014151533
5138B479797B77   JOSE              JUAREZ                CO           90011834797
5139144536199B   JASONN            NICHOLS               CA           90010854453
5139889A14B521   KRYSTAL           DOSS                  OK           21574798901
5139936A461973   ANGEL             REMIGIO               CA           90013923604
5139944536199B   JASONN            NICHOLS               CA           90010854453
5139B365A72B88   WALTER            HAMILTON              CO           33001223650
5139B63525B283   IRMA              RAMIRE                KY           90006926352
513B2195461975   EDGARDO           BELTRAN               CA           90011211954
513B253615B399   JOHN              HESTER                OR           90003445361
513B432254B588   BALTAZAR          PANDO                 OK           90013063225
513B526965B543   CODYLEE           HAMILTON              NM           90005712696
513B898897242B   AMBER             MINARCHIN             PA           90010999889
513B9865198B2B   KARL              TRAPP                 NC           11001708651
513BB71585B531   PAUL              WRIGHT                NM           35090917158
51411A82961973   DULCE             PACHECO               CA           90008580829
5141332475B387   PRISCILA          BARRIOS               OR           90011203247
5141526A451348   KATIE             ISAAC                 OH           90008762604
5141557174B28B   CHRISTINE         COOK                  NE           26055865717
5141671852B27B   TONY              HARRIS                DC           90015127185
514191A5497B77   ADALENY           GARCIA                CO           90009301054
514236A1285862   JONGHUN           PARK                  CA           90012696012
51427A6788B169   JASMINE           DUVALL                UT           90014900678
5142815335B387   WILLIAM           SPENCER               OR           90014151533
5142943318B167   GARRET            VALLAVE               UT           90012994331
51429A2595B387   BRENDA            REYES                 OR           90003270259
51431A8385758B   DARRYL            CANNON                NM           90014910838
5143221A85B393   PRECIOUS-JEWELL   STEVENS               OR           90013242108
51433A45333696   ANGEL             LAWTON                NC           90011120453
5143556817242B   JAMES             WOLFE                 PA           51017135681
51435A4462B27B   AZZAYA            NYAM                  VA           90010330446
51436432A5B387   JEREMIAH          GARCIA-LEE            OR           90012484320
51437851A2B241   HILDA             AYALA                 DC           90002778510
51438148572B36   PATRICK           STEEN                 CO           90013991485
51438341472B43   FABIOLA           GILES                 CO           90010073414
5144437725B399   REBECA            ESTUDILLO             OR           90010603772
5144514A933699   ELI               PHELPS                NC           90012861409
514483A2A98B2B   JAERRA            SAYLES                NC           90003473020
5144858454B28B   MICHAEL           HOOD                  NE           90001105845
51448867A2B27B   RIKEA             RICHARDSON            DC           90009758670
51452415872B27   JAMES             KISER                 CO           90012124158
5145244484B28B   NICKOLE           THOMPSON              NE           26016684448
51453A29791576   BLANCA            SAMANIEGO             TX           90014050297
5145587185B531   ANGEL             RAEL                  NM           90012288718
51455A84564145   OSCAR             KAYEE                 IA           90013890845
51458335A61975   TIFFANY           BAXTER                CA           90005673350
5145873572B27B   SHEILA            JONES                 DC           90007807357
5145937325715B   ANDONY            MARTINEZ              VA           90013223732
5145B984885928   DEISY             DIEGO                 KY           90009589848
5146163A261975   AIOTEST1          DONOTTOUCH            CA           90015116302
5146222A94B28B   KELLY             THOMAS                NE           90014312209
5146343945B543   FLORENTINA        MEDINA                NM           90005824394
5146541497B46B   CHRISTINA         ROSS                  NC           90013014149
5146B821672B49   JASON             VOGLER                CO           90001268216
5146B83A485928   KIM               BURT                  KY           90010888304
5146BA6788B169   JASMINE           DUVALL                UT           90014900678
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5147258A572B36   ALDO           DURAN                    CO           90013015805
5147338627B46B   KEBRICK        BARNES                   NC           90012903862
5147393A85715B   DAVID          NUNEZ                    VA           90005799308
5147579598B169   CHIS           CORDOVA                  UT           90004357959
51475AAA951348   CHAD           GRAY                     OH           90010700009
5148724AA4B536   LAUREN         HUGHES                   OK           90009812400
5148727794B588   MYKEL          SHERRILL                 OK           90014542779
5148858235715B   DAYVI JOEL     AYALA LOPEZ              VA           90012895823
51489683676B81   MARGARITO      GOMEZ                    CA           46073666836
5148B25984B588   CAROLYN        RIGGS                    OK           90011582598
5148B479785862   CHANCY         MAGOON                   CA           90011284797
5148B93A972B49   RICKY          ZARATE                   CO           90011049309
5149139357242B   NATALIE        WILLIAMS                 PA           90013263935
51491685472B88   KEVIN          SWOPE                    CO           33065996854
51491699272B88   KEVIN          SWOPE                    CO           90014376992
5149787482B27B   CHRISTOPHER    JACKSON                  DC           90012718748
51497A99751367   CHARLES        MACKEY                   OH           90010010997
514986A585B393   MASON          BOWLES                   OR           44553486058
5149B261A72B36   GABRIEL        ESTRADA                  CO           90013752610
5149B826572B27   SELLENA        NICHOLS                  CO           90014158265
5149B913361975   JESSICA        MENDOZA                  CA           90011439133
5149B995491576   ROSE           NUNEZ                    TX           90011669954
514B46A258B169   ANDREW         GALLEGOS                 UT           90009116025
514B5568872B27   MARIA          COLL                     CO           90012975688
514B899248B169   BEN            JOHNSON                  UT           31058269924
514B9259172B49   BONNIE         SHAW                     CO           33001152591
514B9373131428   MONICA         ROBINSON                 MO           27538743731
514B956797242B   JACK           THOMAS                   PA           90013825679
514BB49358B169   JODY           GREENHALGH               UT           90011854935
514BB94382B27B   LATARSHA       KELLY                    DC           90010389438
5151185A233696   JORDAN         GARNER                   NC           90015008502
5151622927B46B   DARRYL         SUGGS                    NC           90012342292
51517993572B35   LILAH          FREELON                  CO           90009929935
5151917A18B169   JEFFREY        CAVALLI                  UT           90014831701
5152154934B29B   CHANH          SISAVANH                 NE           27089185493
5152735A585862   ROSEANNA       NECOCHEA                 CA           90012803505
51527398572B43   JULIA          BERG                     CO           90009973985
515273AA15B393   RICARDO        ALONSO                   OR           44570023001
51528A5355715B   JOSE           DELCID                   VA           90015040535
51528A5657B46B   MARLON         ROLIN                    NC           90011150565
5152B7A5333696   LATASHA        THORNTON                 NC           12051867053
5152B94545B387   STEVEN         SCHMITT                  OR           90013659454
51532568A84373   ANGELA         MENJIVAR                 SC           19056675680
51535452172B49   TYLER          BECK                     CO           90012464521
515383A612B27B   KASSAHUN       MENGESHA                 DC           90013053061
51539925997B77   TARYN          JOKEL                    CO           90004549259
5153B53A233699   MARY           KING                     NC           90011065302
5153B76834B588   BARRY          BECK                     OK           90007817683
5154316154B521   ROXANNE        PENA                     OK           90001841615
5154424822B27B   MARQUIS        ALLEN                    DC           90011182482
51544796772B36   DOMINIC        LUCERO                   CO           90011597967
5154544A78B169   LISA           ESCOVEDO                 UT           90013764407
5154569928B169   LISA           ESCOVEDO                 UT           90009536992
51545A78157157   NOEMI          MEJIN                    VA           90012450781
5154867514B588   IKEVA          LOWMAN                   OK           90013546751
515489A425B387   ANGELA         ALBECK                   OR           90007849042
51549AA717242B   ANTHONY        RAMOS                    PA           90010990071
5154B563972B43   ARACELY        SILVA                    CO           90012175639
51551712372B27   BLAKE          BROWN                    CO           90013027123
5155181964B588   ARIEL          PIERCE                   OK           90011408196
51554691672B67   MAYARI         ESCOBAR                  CO           90007316916
515555A245715B   JUAN           SALAZAR                  VA           90013175024
5155628617242B   TRACY          CAMPBELL                 PA           51040642861
51557A1625B393   TALON          HIIBSCHMAN               OR           90010650162
5156597AA61975   KRYSTAL        JONES                    CA           90013009700
515697A714B28B   EBONI          ELLIOTT                  NE           26059827071
5156B39875B531   LICHELLE       BEAULIEU                 NM           90014863987
5157139A772B49   JENNIFER       CUSTY                    CO           33074913907
51574A39A84357   VICTORIA       JOHNSON                  SC           90013290390
515782A865B387   JOESEPH        PATRAW                   OR           90006432086
51578A8574B521   BLANCA         CONTRERAS                OK           90005510857
515792A114B588   NICOLE         MATHIS                   OK           21554282011
5157B35158B169   LINDZIE        ANDERSON                 UT           90012633515
515848AA872B43   VILMA          GUZMAN                   CO           90011088008
5158637224B28B   JOHN           FAIR                     NE           90011953722
51587A2375758B   YESENIA        CHAVEZ                   NM           35501900237
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51591645A72B27   DAVID          HERNANDEZ                CO           90010636450
5159781268B169   JANETH         CALDERON                 UT           90014108126
5159B24355758B   CRYSTAL        BANEGAS                  NM           90011002435
5159B49A357157   PRECIOUS       MABUNU                   VA           90010304903
5159B85AA85862   AIOTEST1       DONOTTOUCH               CA           90015128500
515B282888B169   HAYDEN         BENNETT                  UT           90012168288
515B345815B531   ERIC           GARCIA-RODRIGUEZ         NM           90010354581
515B3686172B49   MARTHA         BRINLOW                  CO           33081936861
515B4A1817B46B   ZOILA          FERRAL                   NC           90013190181
515B5932772B36   ERNESTO        GAMA                     CO           33095589327
515B5A3555B387   MARSHALL       JOHNSON                  OR           90011460355
515B6854561975   AIOTEST1       DONOTTOUCH               CA           90015128545
515B7726891534   ANDRES         DOMINGUEZ                TX           90009867268
515B9114557122   JOSE           FRANCO                   VA           90011401145
515B9135861975   DEYNA          VILLAR                   CA           90008531358
515B9424357563   BURGUNDY       CAMPOS                   NM           90012344243
515B9634861973   AIOTEST1       DONOTTOUCH               CA           90015116348
515BB431554B84   BRUCE          GETTY                    VA           90013934315
516118A7961971   EVA            LOPEZ                    CA           90014448079
51614117772B67   MEGAN          HUNT                     CO           33082211177
5161869A531429   DANIEL         MILLER                   MO           90005706905
5161B819572B67   SAMUELITA      GOODE                    CO           33057048195
5162218A185862   RICHIE         CVELLAR                  CA           90014891801
51624952572B27   JOSH           WISHAR                   CO           90012799525
51629A26585862   MATTHEW        HARBOR                   CA           90014850265
5163157A272B77   ERIK           TRUJILLO                 CO           33048165702
5163187955758B   ANTONIO        HERNANDEZ                NM           35516488795
51632736A33699   EVERETT        WILLIAMS                 NC           90014647360
516334A6A5B531   VICTOR         SOTO                     NM           90012094060
5163427645B531   PAYGO          IVR ACTIVATION           NM           90014062764
5163757A67B46B   SHEREE         SIMPSON                  NC           90011465706
5163938A672B43   PAUL           SMITH                    CO           90009683806
5163B845797B54   SAMANTHA       CLARK                    CO           90003688457
5163BA3A272B36   PATRICE        VONHOLDT EVELYN          CO           33081390302
5164288925715B   ROSA           ARIAS                    VA           90012888892
51646A7664B588   BENITO         SILVESTRE                OK           90012890766
51648AA184B28B   ANGEL          PEON                     NE           90010800018
51649375A5B387   RACHELLE       ZUPAN                    OR           90013133750
5165186615B387   JEWELL         STEVENS                  OR           90015088661
5165287175758B   CRYSTAL        GARCIA                   NM           90009238717
51656A9A433696   GARY           PETERSON                 NC           90013910904
5165788A457157   FELICIA        TWAM                     VA           90010098804
5165793425758B   MONA           VALENZUELA               NM           90012439342
5165961544B588   BRANDON        WAGNER                   OK           90013926154
5166186A398B2B   ROBERT         WYATT                    NC           11057648603
5166399115B393   KATHLEEN       LE CLAIR                 OR           44509129911
516641A4497B4B   SANDY          RAMEY                    CO           90012071044
51664628472B49   ROBERT         ROSSETA                  CO           90014406284
51664A96493782   TASHA          LAWERENCE                OH           90010270964
5166551915B387   ALLISON        BELSKI-ULVEN             OR           90012815191
51667A3517B46B   TINA           MULLIS                   NC           90014580351
51669AA8261971   LINDA          GUZMAN                   CA           90011150082
5166BA68672B43   LAURA          ADDUCCI                  CO           90008410686
5167129158B169   GARY           BARNES                   UT           90001832915
51672229272B49   JERRY          WAYNE                    CO           90009292292
5167546A185862   GILBERT        MARCIAL MENDOZA          CA           46098504601
5167568198163B   JACKIE         MCINTOSH                 MO           90008566819
5167655925715B   CLAUDIO        RAMOS                    VA           90013025592
51676955272B27   JOSE           CRUZ                     CO           33054389552
51676A8334B28B   BRELL          MOUYEKE                  NE           90013930833
5167726835B387   SARA           TINDELL                  OR           90005992683
5167778465758B   RAYMUNDO       ESPANA                   NM           90012987846
5167891495B393   JUAN           MORENO                   OR           44534039149
516842A214B588   TAMMY          HORNE                    OK           90014562021
5168534395715B   DEBRA          JACKSON                  VA           90007973439
51687254972B77   SABRINA        ROBLES                   CO           33015412549
5168765984B588   MEGHAN         BRYCE                    OK           90012166598
5168926352B27B   VIRLETIA       HOLLAND                  DC           90004222635
5168B6A3881698   REAGAN         BYERS                    MO           90013026038
5168BA2A733699   CRAIG          COAD                     NC           90011210207
516914A348B169   WILLIAM        AVIS                     UT           90010284034
5169197695B393   MAHABUB        MAHAMED                  OR           90014699769
51693669672B49   RAFAEL         LUNA                     CO           90013426696
51693952572B27   JOSH           WISHAR                   CO           90012799525
51699376372B43   FRANSECA       MARTINEZ                 CO           90011483763
5169985AA85862   AIOTEST1       DONOTTOUCH               CA           90015128500
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5169B159172B88   LYNETTE         MARQUARDT               CO           33059691591
516B112524B588   DEMONTRE        HEARD                   OK           90011391252
516B3511A84373   DAMON           SANDERS                 SC           90014295110
516B5531385862   JESUS ALBERTO   NAVARRO ROSAS           CA           90015175313
516B713294B28B   DOMAKNEAK       KRAMER                  NE           90013641329
516B7789691576   RAMON           GUITERREZ               TX           90010017896
516B8AA9772B27   CLAUDIA         QUIROZ                  CO           90014060097
516BB449491895   ARONICA         PAYNE                   OK           90014704494
5171188265715B   FRANCIS         AGYAPONG                VA           90011348826
51712694872B27   KRYSTAL         WOOD                    CO           90004086948
517134A7A4B553   TESSKAA         MEADOWS                 OK           90009194070
5171562964B28B   TAMMY           HAMILTON                NE           90011946296
5171617177B46B   EDWIN           HENRIQUEZ               NC           90013051717
5171781125758B   ZINNIA          GRANILLO                NM           90005868112
517212A9472B49   SHELLY          TALBOT                  CO           90011892094
517233A8633696   ARKISHA         SILER                   NC           90013293086
51724A18761975   BRENDA          MENDOZA                 CA           90007340187
5172587A45B399   KATRINA         EVANS                   OR           90011018704
51725A37872B36   SENDER          OCHOA                   CO           90012340378
517294A527242B   BRANDON         JONES                   PA           51090794052
5172964535758B   LIVINGSTON      VICTORIA                NM           90007106453
5172995A87242B   WILLIAM         NICKLO                  PA           90014649508
5172B61A872B27   RAMIRO          SOLIS                   CO           90009216108
5173115275758B   MATTHEW         PALACIOS                NM           90014801527
5173458228B837   THOMAS          LOPES                   HI           90013965822
5173488214B28B   WILLIAM         PHILLIPS                NE           90007738821
517417A332B574   AUSTIN          WALLER                  AL           90014317033
5174194148B169   JEFF            WHALEY                  UT           90012119414
5174248A17242B   RYAN            LINT                    PA           90012994801
5174263A261975   AIOTEST1        DONOTTOUCH              CA           90015116302
5174983855B387   JAMES           WILSON                  OR           44539968385
5175339534B28B   TEAWNA          STETSON                 NE           90014663953
5175B322384357   KIMBERLYN       BALLARD                 SC           90011093223
5175B65244B588   BRANDON         DIEHL                   OK           90014866524
51761A52272B43   AMANDA          PLACIDO                 CO           90014510522
5176218188B169   CHRISTOPHER     KIMBER                  UT           90014481818
517649AA457157   JOSE            ANTONIO                 VA           90011949004
51767513572B43   DEBORAH         TUCKER                  CO           90011165135
51769936A84373   NETFA           GAILLARD                SC           90010169360
5176B57975715B   REBECCA         NOLASCO                 VA           90007725797
5176B631461973   NOEMI           CUEVAS                  CA           90012366314
5177212675B271   ASHLEY          SEARCEY                 KY           90009531267
5177241755758B   MISTY           ALVAREZ                 NM           90011294175
51773A7195758B   JOSE            MARQUEZ                 NM           90013210719
5177863A261975   AIOTEST1        DONOTTOUCH              CA           90015116302
5177B55694B28B   NATHAN          CHAPMAN                 NE           90011345569
51787A92764145   OSCAR           KAYEE                   IA           90013890927
5178919394B588   LOURDES         MARTINEZ                OK           90008681939
51791A8495B387   CARLOS          LOPEZ                   OR           90013520849
51797A99372B88   BERNARDO        CHACON                  CO           90005100993
5179894757B46B   RODNEY          AUTRY                   NC           11000909475
5179929347B46B   MICHAEL         WESTBROOK               NC           90011352934
517B167532B245   WAYNE           SAVOY                   DC           90011866753
517B236467B46B   NELSON          RAMIREZ                 NC           90013353646
517B27AA14B588   MARIO           RODRIGUEZ               OK           90012617001
517B4412772B43   NEHEIMIAH       THMS                    CO           90009814127
517B684834B29B   KENNETH         WILLIAM                 NE           27028278483
517B745A957157   ENRIQUE         GONZALEZ                VA           90014184509
517B791285B393   TANYA           HOLDER                  OR           90014709128
517B7A86472B49   MELQUIADES      CABALLERO               CO           90014150864
517B8A51672B43   DELORES         BANKS                   CO           33094330516
517B9196924B7B   FURAHA          BECHA                   DC           81016611969
517B981175B393   ANSON           GARCIA                  OR           90012678117
517B988115B283   CHRISTINE       FIELDS                  KY           68048258811
517BB85AA85862   AIOTEST1        DONOTTOUCH              CA           90015128500
51812541672B43   JACK            GONZALES                CO           90006015416
51812A52A4B588   LARBRAIRE       EDMUNDSON               OK           90011150520
5181495155B387   DESARAY         PLEDGER                 OR           90013739515
51814A71885862   MARCOS          GIL                     CA           90014550718
5182484324B29B   TIROME          COLE                    NE           27001078432
5182577145B387   MENGISTU        MENBERU                 OR           90012237714
51826386972B36   ALFREDO         LOPEZ ARENALDE          CO           33021793869
518263A927B46B   LOGAN           PITKIN                  NC           90013223092
518277A6857157   ALFRED          SHAW                    VA           90013227068
51829154A61973   JONATHAN        CHAVEZ                  CA           46079931540
5182B626972B27   EDDY            MORENO                  CO           90012826269
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51831A5558B169   NIKI             BOYD                   UT           90007320555
5183251467B46B   FERREN           GILL                   NC           90013805146
5183452A861971   SHAWN            NORTON                 CA           46044905208
5183B82A491895   MARISOL          MERIDA                 OK           90007508204
5184231515715B   JUAN SEBASTIAN   PEREZ                  VA           90012913151
5184262964B28B   TAMMY            HAMILTON               NE           90011946296
51842A79484357   SAVANNAH         PINKNEY                SC           90012550794
5184425675B393   JON              MEYER                  OR           90008622567
51844513A33696   JALEN            PATE -BROWN            NC           90014165130
5184735484B28B   STEPHANIE        AYERS                  NE           90009293548
5184881567B632   DAVID            ROMERO                 GA           90009848156
5184986945B227   LARRY            DAVIS                  KY           90014258694
5184998244B588   JOSE             VELEZ                  OK           90013789824
51851822A5B531   ERNESTINE        PIRO                   NM           90010888220
5185295425B531   CHRISTIAN        CHARELS                NM           90009329542
5185741A533696   ANGELA           THORPE                 NC           90013864105
5185767A772B36   JUAN             FLORS                  CO           90013286707
51858AA3185862   LUCIA            ANAYA                  CA           90010770031
5185B57735B531   ASHTYN           CHAVEZ                 NM           35006935773
5185B614698B2B   NICOLE           PETERSON               NC           90007166146
51862A95161971   KESHA            BUCKLEY                CA           90009300951
51865AA427B46B   GLORIA           CASTELAN               NC           90014120042
5186748214B28B   AARON            RAY                    NE           90010034821
5186B93A27B46B   JAMIE            MAILMAN                NC           90009659302
5187182767B46B   DONYE            RICHARDS               NC           90013248276
518738A8A7242B   MICHAEL          FRYE                   PA           51097948080
5187625A75715B   MERCEDES         VELIZ                  VA           90012902507
518797A9672B27   JENNIFER         JOHNSON                CO           90012947096
5187B976684373   CHRISTOPHER      WILMAN                 SC           90010169766
5188314164B28B   DUANE            HOLMSTEDT              NE           90014841416
5188478423B379   BARRY            WHEELER                CO           90007457842
518861A345758B   ISABELLE         TERAN                  NM           35592731034
5188BA1AA57157   MESFIN           WOUDNEH                VA           90012460100
51891457772B36   EVA              MORA                   CO           33008804577
5189573285B531   JOANNA           PAMINTUAN              NM           90010477328
51896436A5715B   JENNFER          TRIJALVA               VA           90012904360
5189839A772B67   PEDRO            DIAZ                   CO           33064313907
5189843164B588   SHILOH           DAVIS                  OK           90014704316
51899661A61975   JUAN             LEYVA                  CA           90010646610
51899A88772B49   RYAN             ONEAL                  CO           90011000887
5189B496972B49   ANGEL            LEON                   CO           90007834969
5189B92A351348   MIGUEL           REYMUNDO ORTIZ         OH           90004149203
518B13A6155936   TOBAR            RAE                    CA           90011743061
518B1684A7B46B   VICENTE          MALDONADO              NC           90010226840
518B23A4733696   YOUNGER          HUNT                   NC           12005013047
518B385A24B588   REEVA            WOOTERS                OK           90009418502
518B622295B387   BONNIE           CATLIN                 OR           90000122229
518B648648B169   MICHAEL          MORISON                UT           90008624864
518B6932A72B49   CARLO            TWOFEATHERS            CO           90012629320
518B7732791895   RICKEY           ARTHUR                 OK           90012567327
518B7874951348   BRIAN            WRIGHT                 OH           90013658749
518BB47255758B   LUZ MARIA        VALENZUELA             NM           90011864725
5191236AA5715B   JHONATTAN        ALCAZAR                VA           90012913600
5191376685B393   FIDEL            ALVIZVRES              OR           90011197668
5191552835B387   ANITA MARIE      PEREZ                  OR           90003465283
51918161772B49   SHAUNA           CONLEY                 CO           90012391617
51922681872B43   JOSE             CARRILLO               CO           90008916818
5192324A533699   TRENICE          MCFADDEN               NC           90015112405
5192665865715B   MUCHE            NABTAMUU               VA           90012906586
5192B1A5897B77   RICARDO          OROZCO                 CO           90012601058
51932241672B43   MARIO O          MUNOZ                  CO           90006692416
519324A277B46B   MONICA           ONEAL                  NC           90013274027
5193497AA61975   KRYSTAL          JONES                  CA           90013009700
5193779A15715B   ANDRES           ROJAS                  VA           90012907901
5193819618B323   CHARLES          BRUNSON                SC           90004191961
5194186A75B387   ELYSE            BROWN                  OR           90010938607
51947935172B43   FRANSISCO        TOLEDO                 CO           90010929351
5194987975715B   JOSE             AMAYA                  VA           90009218797
51951614A5B393   MICHELLE         POINDEXTER             OR           90009366140
519534A5272B27   CHRISTPHER       HOLBEN                 CO           90011384052
5195435437B46B   KYLIA            HODGE                  NC           90010493543
519567A944B588   MICEALA          ROBERTS                OK           90008937094
51959529372B27   SABRINA O        ROY                    CO           90004815293
5195B33825715B   NUTRIC           PRO LLC                VA           90013783382
5195B91A491895   GERALD           FALLS                  OK           90014849104
5196272945715B   JONATHAN         ZALAUYA                VA           90008667294
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519669A675B399   LARISSA         KAMA                    OR           44503279067
51969A19484373   TIFFANY         MCCLAIN                 SC           90013300194
5196B12A661975   LUIS            MENDOZA                 CA           90014271206
5196B371661973   MIRIAM          TORRES                  CA           90015003716
51979547372B36   DONISHA         PIERSON                 CO           33030215473
5197998A18B169   EUGENIO         PELCASTRE               UT           90014179801
51982A7925715B   SAMUEL          VASQUEZ                 VA           90009210792
51983A67672B27   VICTOR          VALDEZ-FLORES           CO           90012680676
5198455165B393   VICTOR          CRUZ                    OR           90010435516
5198515795B283   ALISON          LAWSON                  KY           90004541579
5198547A12B95B   MAYRA           MONTOYA                 CA           90011514701
51985A99172B36   ELAINA          CUSACK                  CO           33081740991
51986417A7B46B   JACQUELINE      VASQUEZ                 NC           90012384170
51987555A47836   JOHN            HUGHES                  GA           90011715550
5198B22925B393   STEPHEN         SMITH                   OR           90010492292
51993541172B88   DULCE           RODRIGUEZ-ROMAN         CO           90006965411
5199448925715B   MARKEICE        KNIGHT                  VA           90015134892
51994839397B77   PASCHA          BRAZZEL                 CO           90006678393
5199497A75715B   DANIEL          GARCIA                  VA           90012909707
5199549524B588   DEBRA           WREN                    OK           90010214952
519955A6471964   SEAN            GRAHAM                  CO           90002385064
5199739A461971   KRISTEN         GEIER                   CA           90006993904
5199763385B387   BRENDA          LARA                    OR           44570156338
5199B2A7661975   MONICA          SLOVATIZKI              CA           90013172076
519B181212B27B   RONTAEUS        GILMORE-WATSON          DC           90014248121
519B1AAA85B393   AARON           MCGEE                   OR           90014710008
519B3732791895   RICKEY          ARTHUR                  OK           90012567327
519B589234B29B   JOHN            DEANG                   NE           27017368923
519B593764B588   CONNE           JORDAN                  OK           90010529376
519B6961933696   CURTIS          PIERCE                  NC           90013509619
51B126A514B588   JASON           HUXLEY                  OK           90010486051
51B129A915715B   ALEJANDRO       LOPEZ                   DC           90014979091
51B12A45A5715B   JOSE            RODRIGUEZ               VA           90012690450
51B12A7435B387   TRAIAN          VERNYIKA                OR           90012750743
51B1383784B588   DONALD          CLEMENTS                OK           90012518378
51B13966161973   RICARDO         ESCAMILLA               CA           90012339661
51B1529394B521   SALVADOR        ACOSTA                  OK           90007282939
51B1562AA57157   MELISSA         MONROE                  VA           90010016200
51B18318691989   YENINA          HECK                    NC           90014743186
51B193A3A84373   CHEYENNE        COLWELL                 SC           90012873030
51B1B171284357   BARBARA         WHITE                   SC           90005411712
51B1B849172B49   JOSEPH          SATURINO                CO           90010328491
51B212A5861975   RENZZO          RAMIREZ                 CA           90010662058
51B22391591989   JIMMY           KAMARA                  NC           90009853915
51B2277465B531   LEONA           MALDONADO               NM           35015727746
51B228A9672B67   AJAI            FRANKLIN                CO           90004038096
51B2294334B28B   VANESSA         SONNENFELD              NE           90013619433
51B237AA44B588   MICHAEL         WALLACE                 OK           90010487004
51B23A12733696   STACIE          SPEASE                  NC           90010980127
51B265A7672B88   MANUELA         RUBIO                   CO           90008965076
51B2B34497242B   MICHAEL         DERBY                   PA           90012553449
51B2B72A77B46B   ANGELA          FOED                    NC           90013447207
51B34243572B43   ANITA           BENAVIDES               CO           90009052435
51B36762957148   JOHN            LAIRD                   VA           90013807629
51B36A37597B77   LEEVI           ALVAREZ                 CO           90010070375
51B37291185928   LEA             CYPHERS                 KY           90009432911
51B37347384357   LASHAWN         REYNOLDS                SC           90011603473
51B39264761975   CAMELIA         RODRIGUEZ               CA           90009122647
51B39993A85928   IDDI            KAUMBA                  KY           90014919930
51B3B181A2B27B   CECE            ELIZEBATH               DC           90012881810
51B41324585862   DHEERAJ KUMAR   PASUPULA                CA           90011473245
51B4198A65B393   JOSE            SOTO                    OR           90010649806
51B4395A576B53   CANDIDO         SORIA                   CA           90011229505
51B4396A14B588   ZANDRIA         WHITFIELD               OK           90001189601
51B444A9731428   ANGIE           DURHAN                  MO           90006364097
51B44979857157   LUIS            REYES                   VA           90010789798
51B4762687B46B   PATRICA         MCMURRAY                NC           90013036268
51B476AA25B538   MICHAEL         KUYKENDALL              NM           90007656002
51B4B226691989   CARRIE          JOHNSON-DOBBS           NC           90010412266
51B4BA45361973   DESIREE         ARREOLA                 CA           46080580453
51B5318AA33699   TAMMY           WALLACE                 NC           90013491800
51B5334238B169   FAWN            BRADSHAW                UT           90007653423
51B538A4124B7B   VICTORIA        LEWIS                   DC           90011028041
51B5425585B387   SUSAN           DELVIN                  OR           90012032558
51B5429992B967   SALVADOR        SILVA                   CA           90006762999
51B55937772B36   ASHLEY          GARCIA                  CO           90010619377
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51B55A3444B588   AIDE                BARRITA             OK           21512110344
51B55A89691576   ALVARO              SALAZAR             TX           75095600896
51B57A11491989   JEREMY              BLACK               NC           90014230114
51B58655331429   HOLLY               PETTY               MO           90008646553
51B5B279461973   ISIDRO              FLORES              CA           46006112794
51B5B518472B49   CHRISTINA           MARTINEZ            CO           33023465184
51B61549185957   RACHEL              TOWNSEND            KY           67008595491
51B64718261971   JOSH                CORNELL             CA           90012757182
51B65935272B49   ANDREW              RODRIGUEZ           CO           33077789352
51B67435472B49   CONAN               CABRIALEZ           CO           90014354354
51B6781765715B   MELVIN              BENITEZ             VA           90012698176
51B67A12461973   SHEILA              ZAMORA              CA           90012870124
51B68218672B43   NIKOLAOS            KOUTROULOS          CO           90010692186
51B6B29315B531   MARGARITA           PARGAS              NM           90009382931
51B6B59845B531   TERRI               RODRIGUEZ           NM           90014495984
51B72964784373   LATERRA             HUTCHINS            SC           90015059647
51B72A7A75B531   LORRAINE            CHASE               NM           35084780707
51B73627372B43   TYLER               WILLS               CO           90008886273
51B73967533696   Y SUOM              NIE                 NC           90010799675
51B75128372B43   JOSEPH              KING                CO           90012731283
51B75358261973   ALEX                LEYUN               CA           90003303582
51B76618572B49   SYLVIA              MBUGUA              CO           90012776185
51B7665444B521   MICHELLE            RAMSEY              OK           90009366544
51B7747A698B2B   LISA                JORDAN              NC           11034034706
51B78515685862   BRION               CAMPBELL            CA           90014915156
51B78957572B27   DANA                BLACKMON            CO           90013399575
51B78A2268B169   VELMA               CARTER              UT           90007450226
51B79A95272B43   TINA                HUDSON              CO           90012190952
51B7B848785862   AIOTEST1            DONOTTOUCH          CA           90015128487
51B7B9A2384373   RAVEN               ROBINSON            SC           90015149023
51B83889757157   QUATEASE            TANN                VA           90011018897
51B8774125B531   JOSHUA              GAMBOA              NM           90011117412
51B88AA8661973   ANGELINA            HOANG               CA           46059750086
51B89617691895   LUIS                MONTES              OK           90011456176
51B8999147B46B   JULLIAN             ERVIN               NC           90014119914
51B8B31A44B588   NAILA               GARCIA              OK           90010663104
51B8B66615715B   MIGUEL              MEDRANO             VA           90011496661
51B9173A472B49   RENNE               SANDOVAL            CO           90013237304
51B928A6361973   VANESSA             CARDENAS            CA           90014108063
51B95A63A5758B   CRISTAL             MISQUEZ             NM           90013980630
51B97735357148   ORLANDO             MCKETHAN            VA           90013937353
51B984A3A91576   CRISTYNA            BUJANDA             TX           75091054030
51B9B463433699   ROBIN               WILLIAMS            NC           90012224634
51BB126A64B588   JOSE                CRUZ GUARDADO       OK           90013242606
51BB2187272B27   KESHIA              LOCKHART            CO           90011531872
51BB2359157157   BRANDON             MILLER              VA           90006693591
51BB6759761973   GLORIA              GAXIOLA             CA           46084357597
51BBB625851348   CRYSTAL             MALICOAT-THOMAS     OH           90012636258
52113914472B36   JOHN                LEE                 CO           90013989144
52114552497B54   MEGAN               PESINA              CO           39080445524
5211844285B531   DORTHOY             BACA                NM           35037204428
5211B99668B169   PARIS               FRANCO              UT           90010029966
5212336225B387   SANTOS              UZ DZUL             OR           90003093622
52126134997B54   HENRY               AGUILAR             CO           90013361349
5212683965715B   MARVIN              SANDOVAL            VA           90011828396
52128A74591895   CHRISTOPHER         MILLER              OK           90013100745
5212984575B399   BRIAN               LEMING              OR           90013258457
5212B11A691535   IMELDA              MARTINEZ            NM           90009311106
5213359A791895   MARLON              CRUZ                OK           90011235907
52136147597B54   EDITH               RAMIREZ             CO           90002401475
5213845698B169   MICHELLE            BERRETT             UT           31088474569
5213989874B521   THURMAN             COLBERT             OK           90014168987
5214193A44B521   NICOLE              WINSTIN             OK           90014169304
5214693274B588   ADRIAN              REDBIRD             OK           90012919327
5214969722B27B   JOHNATHAN           WALLACE             DC           90012756972
5214B215A61975   GINA                ALONZO              CA           46017232150
52155A3725B543   GIOVANNA            MARTINEZ            NM           90005420372
5215983A68B169   TIMOTHY             BIRCH               UT           90010228306
5215B137991895   MANUEL VIDALES JR   RANGEL              OK           90011151379
5215B573791895   MANUEL VIDALES JR   RANGEL              OK           90014695737
5216322555B387   JOSE MANUEL         SERRANO             OR           90011492255
52164178A4B521   RAYMONND            BRUESTER            OK           90014181780
52165937A72B36   NINA                SHARP               CO           33022079370
5216837465758B   LEANN               CONTRERAS           NM           90005733746
5216926485B393   CARRIE              SOEFKER             OR           90014392648
5216B58855754B   RAQUEL              RODRIGUEZ           NM           90006885885
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521726A2391587   ELIZABETH      BERNAL                   TX           90010976023
5217284245715B   SANDRA         MEJIA                    VA           81041068424
5217683A472B67   AMY            DULIK                    CO           90005988304
52177A4318B183   GERALD         YOWELL                   UT           90009710431
5218184695B393   THOMAS         TUERNER                  OR           90006388469
52184795624B7B   JOHN           WILLSON                  DC           90010167956
52185894972B49   FELIX          HERRERIAS                CO           90012798949
52185A2615B393   BRITTENY       FIORENTINO               OR           90009280261
52187A58961965   PEDRO          CADENA                   CA           90014950589
5218853A197B54   BOBBIE         GONZALES                 CO           90008575301
52188958797B54   BOBBIE         GONZALES                 CO           90014379587
5219229114B588   ADA            WALKER                   OK           90009172911
521927A632B246   CHARMEL        HAMIEL                   DC           90007377063
52194714972B27   GRACIE         TILLMAN                  CO           90012947149
52194898372B36   ORALIA         CASTRO                   CO           90013988983
52199267772B49   ANDY           POJOY                    CO           90013042677
5219935A872B36   HAILEY         KENNEDY                  CO           90012713508
5219B62A44B521   JONATHAN       WATKINS                  OK           90011076204
521B3187272B27   SHANYN         DAVIS                    CO           90001551872
521B3A48772B77   OSCAR          RODRIGUEZ                CO           33048880487
521B4568276B7B   JULIO          CASTILLO                 CA           90008655682
521B531565758B   STEVE          HERNANDEZ                NM           90013693156
521B6423361975   JOSEPH         MACHINIST                CA           90012434233
521B6861561965   DAVID          PAYNE                    CA           90002508615
521B6933761965   HAIDAR         SALAH                    CA           90012169337
521B6A81791895   KELSEY         CAMPBELL                 OK           90011140817
521B884725B531   GENEVA         CISNEROS                 NM           35094708472
521B894A591587   RICARDO        MEDINA                   TX           90011439405
521B9255784373   MELISSA        HAMILTON                 SC           90014572557
521B93A122B27B   LATASHA        WILLIAM                  DC           90007843012
521B9688A61965   BERNARDO       FIGUEROA                 CA           90015136880
52211332A4B521   TRACEY         CARTER                   OK           90014183320
52214795724B7B   JERRY          PARMANAND                DC           81084317957
5221669A661975   FELIPE         HEREDIA                  CA           46045846906
522182A1971964   OROSCO         PADILLA                  CO           90010862019
52218382672B49   JUSTIN         BLACKSHEAR               CO           90010903826
5221B63637B46B   COLA           COLA                     NC           90012746363
5221B6A2391587   ELIZABETH      BERNAL                   TX           90010976023
5222369355B399   ABIGAIL        JOHNSON                  OR           44550906935
52225224972B27   JUAN           CONTRERAS ARROYO         CO           90003762249
52225336972B36   ROBERTA        ROMERO                   CO           33093023369
5222937374B521   COREY          KALIB                    OK           90014183737
5222BA47433699   LARETHA        GLADDEN                  NC           90011390474
52231922798B2B   ANQUAN         BURRELL                  NC           90005389227
52232745A5B399   LUIS           HUMALA                   OR           90008807450
52235295A61971   BRANDON        ADAMS                    CA           90013292950
5223988A891587   ALEJANDRA      OROZCO                   TX           90013858808
5223B516457157   EMMANUEL       MINTAH                   VA           81083395164
5224112375715B   VICTORIA       QUINONEZ                 VA           81093781237
52247268A5B531   ERVIN          BRADFORD                 NM           90013852680
52251875272B67   ANGELINA       ENRIQUEZ                 CO           33034328752
5225629992B967   SALVADOR       SILVA                    CA           90006762999
5225654575758B   LUIS           GUTIERREZ                NM           90001175457
5225793A657157   MIGUEL         MENDOZA                  VA           90004289306
5225842574B521   MARCELA        GARCIA                   OK           90014184257
52258574A61971   GUADALUPE      MARTINEZ                 CA           90010015740
5226118965715B   ABELINO        CAMPOS                   VA           90011841896
52261252472B27   RAYMOND        LAWSON                   CO           90012712524
52261312772B43   KYLENE         VENABLE                  CO           90014803127
52263241572B27   JULIE          HOLMES                   CO           33033302415
52264937A57157   JUAN           MONTALVO RODAS           VA           90012819370
52269866A4B28B   KATHY          AMES                     NE           90012718660
52271A64151388   NINA           LUCAS                    OH           66002940641
5227338765758B   GEORGE R       CICOTTE                  NM           90012783876
52274944572B27   AMANDA         WHEATHERINGTON           CO           90013619445
5227532A433696   JASMINE        TORRENCE                 NC           90003823204
5227B344572B27   TRACY          JONES                    CO           90011523445
5227BA86457157   ASHELY         BROWN                    VA           90013060864
52281924197B54   MIGUEL         SANIC                    CO           39066909241
52282A1A561973   CARL           BAKER                    CA           90007330105
52283748772B27   MONIQUE        HYCHE                    CO           33056227487
52284265A72B88   KIMBERLY       ESPINOLA                 CO           33017042650
5228577244B588   IDALEDRIA      STEPHENS                 OK           21586647724
5228B718193724   JAWON          HOWARD                   OH           90012687181
5228BA84672B49   KIM            HUGHES                   CO           90014570846
52293AAA75B531   NICOLE         SANFORD                  NM           90013450007
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52297927A5715B   MIKE             SCOTT                  VA           90006329270
5229942345712B   MABEL            RAMOS                  VA           90002024234
5229B2A4A72B36   KRYSTAL          ROMERO                 CO           90011132040
522B2632A5758B   ORTIZ            CONNIE C               NM           90007816320
522B3178971964   JESSICA          WILMOT                 CO           32091471789
522B3642791587   ANDRES           HERNANDEZ              TX           90012446427
522B41A7357157   MARIA            LYLES                  VA           90012291073
522B4858151348   KUDDEIDRA        SMITH                  OH           90011638581
522B536214B521   MARISSA          PIENDA                 OK           90014183621
522B6A65884373   TREASIA          KING                   SC           90012930658
522B7523472B36   ELENA            DUBON                  CO           90010995234
522B9669272B43   RAMIRO           AGUILAR                CO           90007896692
522BB273584373   CHRISTINA        PETERSON               SC           90013932735
5231295AA61975   JAN              BINKELE                CA           90014619500
5231318264B28B   STACY            LAMPHEAR               NE           90014361826
52313A62661965   LATOYA           CANTU                  CA           90012590626
5231458A94B521   JOHN             PARK                   OK           90014185809
52315A42551348   ELSA             REYMUNDO               OH           90012230425
5231658154B521   HEATHER          EDWARDS                OK           90014185815
5231B166861965   ODAISIS          MENDOZA                CA           90007691668
523216A5257157   CHARLIE          COLATO                 VA           90010606052
5232272962B245   JASON            SERGUSON               DC           81096587296
5232275222B27B   PATRICIA         LAKE                   DC           90003547522
5232358954B521   PAULINE          CHEN                   OK           90014185895
52323A7317B46B   DEVON            HAWAY                  NC           90014620731
5232547A757157   TORIAN           HARRIS                 VA           81091154707
5232548165B393   JORGE            CHAVEZ                 OR           90009284816
5232659A44B521   GERALD           MUNOZ                  OK           90014185904
523266A3961973   RUBY             GONZALEZ               CA           90009986039
5232699A67B46B   JILL             HATLEY                 NC           90015319906
5232725668B169   CODY             ORTEGA                 UT           90004792566
5233199AA91587   JAIME            HOLGUIN                TX           90011139900
52336157472B49   KRISTA           HARKNESS               CO           90012261574
52336443A72B43   MICHAEL DANIEL   MARTINEZ               CO           90011404430
52336A19A8B169   JEENA            MINER                  UT           90012710190
5233739415B387   ALLINE           LOPEZ                  OR           90012813941
52338A94133696   JAMIE            WILSON                 NC           90011060941
5233963125B543   ELISIANA         MONTOYA                NM           35083496312
5234161314B521   MARISELA         MARTINEZ               OK           90014186131
5234215368B169   SPENCER          DWIGHT                 UT           90012461536
5234386517B46B   KARL             TRAPP                  NC           11001708651
52347487A61965   ROBERT           JOHNSON                CA           90004714870
5234752387B896   DENISE           JOHNSON                IL           90014635238
5234885615758B   CHRIS            NUNEZ                  NM           90014478561
52349A3A37B46B   JAMES            BARBER                 NC           90010990303
5235163A161975   AIOTEST1         DONOTTOUCH             CA           90015116301
52352174144B91   DAN              OBRIEN                 OH           90014261741
5235229A361973   NANCY            DIAZ                   CA           90011222903
5235566A74B521   JOSE             VALLES                 OK           90014186607
52356422272B36   SARSWOTI         RAI                    CO           90012614222
5235829AA61971   JUAN             ALBERTO                CA           90012742900
52358761A84357   DONTAE           ENGLISH                SC           90013977610
52358A3344B28B   CHAD             GREENWALT              NE           90004290334
5235937275715B   MULATU           WOLDAMARIAM            VA           81083603727
5236439A472B49   KATHLEEN         STIEBLER               CO           90012813904
5236922655B399   ERIC             MANNING                OR           44598172265
5236B49A271964   JAMES            YOUNGER                CO           90008934902
52374948A33696   CYNTHIA          SIDDLE                 NC           12021389480
52374A2117B46B   ANTRELL          NEAL                   NC           11019170211
523757AA45B393   CHRISTINA        CUNNINGHAM             OR           90001247004
52376467998B2B   JANIQUIA         HOWARD                 NC           11063764679
52376728872B49   TODD             RICHEY                 CO           33039557288
5237673A24B588   JESSE            HALEY                  OK           90013227302
5237693772B27B   GARNISHA         VALENTINE              DC           90014809377
5237869AA61965   ROXANA           TORRES                 CA           90012606900
52379747797B54   BRIANNA          MORALES                CO           90013167477
5237987427B46B   MICAH            COX                    NC           90012048742
52379A85591587   DALIA            ALVAREZ                TX           90012380855
52381AA2784357   YVETTE           BROWN                  SC           14535480027
5238271555B531   LUIS             CANALES                NM           90013267155
523833A6991895   CHELSEA          GROGAN                 OK           90014233069
52384A84672B49   KIM              HUGHES                 CO           90014570846
523855A6561971   CLAUDIO          LOPEZ                  CA           46005465065
52388481A33699   SANDRA           GUNNING                NC           90014884810
52388A9425B399   WYATT            VREELAND               OR           90012960942
5238B17324B28B   JULIANNA         CAMPOLITO              NE           90013761732
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5239328584B521   ADELINE           DAVENPROT             OK           90014432858
5239393724B521   ADELINE           DAVENPROT             OK           90010299372
52394484324B7B   JOSE ANTONIO      ARGUETA               VA           90006494843
5239458A291348   ARTRINA           KING                  KS           90011105802
5239481A961965   MIRNA             AMADOR                CA           90014658109
52397444497B54   JON               SAMSON                CO           90012884444
52398775A72B43   MARK              ALLEN                 CO           90014987750
523B24A5A8B169   MORRESI           LOUSIS                UT           90008474050
523B4194191895   MICHELLE          GREGG                 OK           90014231941
523B4644124B7B   JOSE              GARCIA                DC           90012626441
523B557244B521   ROBERT            KERNS                 OK           90014185724
523B8263972B88   IMCS              LLC                   CO           90003232639
523BB554261973   CARMEN VICTORIA   PACHECO               CA           90011445542
5241544A997B54   JESSICA           ROBINSON              CO           39083084409
5241623964B28B   LEANN             HYATT                 NE           90011322396
52416338224B45   RAINEY            CHANDLER              DC           90007923382
52421363397B54   RICARDO           MORENO                CO           90013213633
5242138917B46B   JERITA            JONES                 NC           90014723891
52421A58961965   PEDRO             CADENA                CA           90014950589
5242489A15758B   SUMMER            PROVENCIO             NM           90012358901
5242536A871964   JENAE             MIXER                 CO           90011603608
52429A83433696   BRENDA            VASQUEZ               NC           90012780834
5243288664B28B   BETHANY           TOLLIVER              NE           90014798866
524331A147B46B   TENEAL            SHANNON               NC           90009951014
524332A5561975   VANESSA           GONZALEZ FLORES       CA           90013702055
52435481A33699   SANDRA            GUNNING               NC           90014884810
524358A6A91895   DALIQUA           FOWLKES               OK           90011158060
5243B429972B49   JESUS             BUSTAMANTES           CO           90000944299
5243B9A7A33699   TONYA             WILLIAMS              NC           90005239070
5244212A672B77   GABRIEL           GURULE                CO           33048611206
5244336497B46B   GLENN             HOPKINS               NC           90002003649
52448A4975758B   TANIA             LOPEZ                 NM           90008940497
52449283172B77   WENDY             WILSON                CO           33048612831
52451A5694B556   CONNIE            THOMPSON              OK           90009730569
5245243A633699   ASHLEY            BALLEW                NC           90005604306
524562A1784373   TERESA            BEUKEMA               SC           90008362017
5245686415B387   JESSICA           JACKSON               OR           44521838641
5245723255B399   ANGELA            LOPEZ                 OR           90014782325
52457264A93724   LUU               JAMA                  OH           90010122640
5245988588584B   FLOYD             YOUNG                 CA           90009048858
5245B412461975   JON               BAGGERLY              CA           90006104124
5245BA7435758B   DAVID             VALENZUELA            NM           90009940743
524637A4733699   JENNIFER          CAUDLE                NC           90011077047
5246471385B264   APRIL             ALFORD                KY           90005227138
52464A63261965   JALISSA           SNOWTEN               CA           90014510632
52468961972B49   THYIAF            BROWN                 CO           90010469619
5247219A85758B   MANUELA           CORRAL                NM           90014651908
5247638A791587   ADRIANA           BALTAZAR              TX           90010393807
52477A87972B43   RHIANNA           VETTER                CO           90010240879
5247898755B387   MIRNA             SANTOS                OR           90009029875
52479117972B27   ANA               VELAZQUEZ             CO           90002311179
52479A52372B67   GUILLERMO         TRUJILLO              CO           90006950523
5247B255472B88   MICHELLE          LONG                  CO           90007022554
5247B67865B399   ANDERW            SCHWAB                OR           44565766786
5247B69495758B   CASSANDRA         HERNANDEZ             NM           90007236949
5248136145B387   ERIC              HENDRICKSEN           OR           90010253614
5248163194B28B   GERALDINE         SCOTT                 NE           90006466319
5248352744B28B   KELLY             REA                   NE           90007985274
5248514984B28B   CAMI              BURCHETT              NE           90007951498
5248984964B588   ANTEALA           DAVIS                 OK           90014438496
5248B66165758B   ELIA              DELAISLA              NM           90012456616
5248B77532B866   TINA              BUSBY                 ID           41049947753
52491174A42335   STEVEN            GIBSON                GA           90010981740
5249127355B543   NIDIA             HERNANDEZ SEHUE       NM           90001862735
52492356272B77   BRITNEE           BELL                  CO           33082143562
52493117A61975   JOHN              VALENZUELA            CA           90012541170
52493871424B7B   TRIXIE            ARGUETA               VA           90012498714
524B1527A2B27B   MARCUS            ROBERTSON             DC           90013175270
524B174278B169   JOSEPH            OLIVE                 UT           90014627427
524B351335B399   TRINA             CHAPPELLE             OR           90011605133
524B7659261936   ISSAC             JUAREZ                CA           90008886592
524BB31565758B   STEVE             HERNANDEZ             NM           90013693156
52514422372B35   DANNY ANTOINE     AGUIRRE               CO           90010504223
5251822185B531   LEANDRO           BELTRAN               NM           90006592218
52521896472B43   BRIANNA           CISNEROS              CO           90010928964
5252252A851348   MARSHAL           MCGHEE                OH           90015155208
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52523956572B43   JUSTIN         COOPER                   CO           90008969565
5252474694B588   SANUCIA        LEE                      OK           90013227469
5252B47894B588   FELIPE         SANCHEZ                  OK           90015104789
5253296935715B   CARLOS         ESCAMILLA                VA           81041309693
5253352A38B169   JENNIFER       MCTAGGART                UT           90011355203
5253455124B28B   NICHOLE        TROUBA                   NE           90013015512
52535141672B43   KLAUD          BANKS                    CO           33017921416
5253918325758B   RAFAEL         AMARO                    NM           90009421832
52539728A84357   LAVONNA        BRYSON                   SC           90012507280
5254225174B588   AALIYAH        HARJO                    OK           90013362517
525439A9A5B531   JESSICA        GARZA                    NM           90013779090
5254533665B393   VERONIA        HERNANDEZ                OR           90011983366
52545A5A461975   ALEJANDRO      LOMAS                    CA           90014780504
52547555697B54   BRIAN          REED                     CO           90006915556
52554492A7B46B   JACINTA        SANDERS                  NC           90010284920
5255587494B521   YOLANDA        CHAVEZ                   OK           90015118749
525559A814B28B   JONI           OLBERDING                NE           90010019081
525563A535B387   RAFAEL         DELOSSANTOS              OR           90011063053
5255728334B521   GARY           HALL                     OK           90009182833
52559713497B54   EDWARD         RODMAN                   CO           90013737134
5256198A84B28B   MICHELLE       REA                      NE           26084469808
5256544655758B   VICTOR         PAYAN                    NM           90010724465
525655A954B588   JOSEPH         ARMENTA                  OK           90010895095
5256788A772B36   JEANNE         MONDRUS                  CO           90014918807
52567986A4B28B   BRITTANEY      CULVER                   NE           90010059860
5256883622B27B   CARL           COURTNEY                 DC           90014738362
5256899135B387   AMANDA         STALLINGS                OR           90011659913
5256BA53461971   MICHAEL        PALMIOTTO                CA           90013980534
5256BAA1A72B36   OTONIEL        RODRIGUEZ MUNOZ          CO           90014390010
525727A474B28B   GREG           SCHUBERT SR.             NE           26071047047
52573792172B36   ANGELO         VIGIL                    CO           90014697921
525765A8772B88   KYLE           KOLANDER                 CO           90005825087
52577519172B43   CHRIS          HOSKIE                   CO           90001445191
5257913294B588   JOSHUA         FOO                      OK           90014541329
5257B98465B531   DUDA           YANES                    NM           90010809846
5257BA8982B27B   YACUB          SANDIATU                 DC           90014840898
5258438664B588   VERONICA       RODRIGUEZ                OK           90008033866
5258547585B399   MICHAEL        GALLINAT                 OR           90013484758
52586167A7B46B   AUDREY         BELL                     NC           90013461670
5258749675B399   TIFANI         TUCKER                   OR           90010624967
52587823972B43   FRANSISCO      MARTINEZ                 CO           90013018239
52587988397B54   ALAN           LEE                      CO           39097549883
5258873915B531   ADRIAN         CHAVEZ                   NM           90012327391
52589831672B36   ANA            MARTINEZ                 CO           90011538316
5259516A791587   CRISTINA       MARTINEZ                 TX           90010041607
5259637884B521   DOMINIQUE      BROWN                    OK           90013953788
52598A7554B521   SARICA         RUSSELL                  OK           90009300755
52599A96261965   ROSEMARY       PETERS                   CA           46015480962
525B125585B387   SUSAN          DELVIN                   OR           90012032558
525B2554791587   LUIS EDUARDO   SANDOVAL                 TX           90014155547
525B27A9933699   SONYA          WAGSTAFF                 NC           90011447099
525B4924184373   CESAR URIEL    VAZQUEZ TORRES           SC           90011969241
525B4A65391895   D              LEE                      OK           90015220653
525B5321657157   BLANCA         AYALA                    VA           81030233216
525B565A761965   SANDRA         RUZ                      CA           90011546507
525B7824884373   NICHOLAS       LEEPER                   SC           90013768248
52611644A71964   FERNANDO       BERMUDEZ                 CO           32091886440
5261363784B588   LYNN           DAVIS                    OK           90014836378
5261899454B28B   JONI           OLBERDING                NE           90010019945
526214A9172B36   STEVEN         GREGORY                  CO           90010184091
5262177325758B   KAREN A        ALVIDREZ                 NM           90000167732
5262177498B169   NAOMI          JIMENEZ                  UT           90010367749
526241A8A72B43   JACQULYN       GARCIA                   CO           90009471080
52628236572B36   ALINE          BENCOMO                  CO           90011182365
526285AAA61973   GABRIEL        TIRADO                   CA           90012355000
526323A295758B   IRENE          ROMAN                    NM           90012013029
5263326234B521   TAKIASHA       HORN                     OK           90014392623
526344A397B46B   KARMEON        WHITE                    NC           90011544039
52634AA715B387   CARVIN         GLOVER                   OR           44573150071
526386A865758B   MIRRIAM        TORRES                   NM           90014886086
526389A884B28B   STEVEN         ROGERS                   NE           90010989088
526392A3557157   JESSICA        LONG                     VA           90013062035
5264251534B588   TRACY          RUPERT                   OK           90012325153
52643388672B36   ROSA           LINARES                  CO           90013933886
526437AA54B588   JAMES          LEWIS                    OK           90000267005
5264621584B28B   NATASHA        MUNDEN                   NE           90014572158
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526474A185B399   JOSH           STANSBURY                OR           90012724018
5264B158572B49   TONY           VELAQUEZ                 CO           90012451585
5264B599591587   ANTHONY        DUARTE                   TX           90011075995
52655716272B36   JOSE           ZUNIGA                   OR           90013397162
5265845A75B387   DANIEL         LEE                      OR           90012414507
5266125322B27B   KEVIN          KEMP                     DC           90014952532
52661A71761971   MARICIO        HUERTAS                  CA           90014790717
52666185397B68   HEATHER        HIMMLER                  CO           90012101853
5266762667B46B   AUTUMN         FERBY                    NC           90010866266
5266774985B399   MATTHEW        BUTE                     OR           90008167498
5266912A591895   DEVIN          TYLER                    OK           90014241205
5266B573A84373   TAMIKA         DINKINS                  SC           90010405730
5267519A872B88   MARIE          GALINDO                  CO           90003511908
52677792272B49   BRITTNEY       EVANS                    CO           90007987922
526777A8272B36   MICHAELEIN     GARCIA                   CO           90012997082
52679285A33642   LABEAM         MOORE                    NC           90005602850
5267B69245758B   MICHELE        DAVILA                   NM           90011506924
5267B912A5B387   JEOFF          PICKETT                  OR           90006709120
5268223345B399   JENNIFER       JONES                    OR           90012532334
52682A8387B46B   SYLVESTER      BARRON                   NC           90010250838
52688A5A94B588   ALEXANDER      WAND                     OK           90014600509
52694151A5B399   S              JONES                    OR           90013881510
52694A87155951   CRYSTAL        SANTOYO                  CA           90006530871
52695684A93724   BETTY          HULL                     OH           90010286840
5269617215715B   ZULMA          CASTRO                   VA           81091421721
52696AA3A97B54   ROBERTO        MARQUEZ                  CO           90009710030
52698778197B54   VERONICA       VAZQUEZ                  CO           39011587781
5269976877B631   VANESSA        MOSS                     GA           90012077687
5269B971472B36   JOHN           BAKER                    CO           90014849714
5269B9A3697B54   REJEANA        MARTIN                   CO           39044909036
526B127565B399   RANCHER        CHEIPOT                  OR           44595252756
526B253494B521   ARGENIO        JIMENEZ                  OK           90006895349
526B3484A57157   FELICIA        ABEL                     VA           90010994840
526B3A62A91587   ROMAN          SANDOVAL                 TX           75089680620
526B5354661973   JERMIAH        STANLEY                  CA           90011223546
526B642535B399   LEO            MEADE                    OR           90012024253
526B7689A5B531   RACHEAL        STORR                    NM           90014726890
526B8334857157   ERIKA          ALVARADO                 VA           90010763348
526B992844B521   MICHAEL        BAILEY                   OK           90011559284
526BB74A161965   BINCENT        CASTRO                   CA           90013987401
5271337265758B   TAHNEE         LEE                      NM           90013783726
5271397577B49B   LATOYA         JETER                    NC           90011589757
5271644A472B27   AARON          MORALES                  CO           90014234404
52716799572B27   AARON          MORALES                  CO           90002197995
5271924375758B   ANGEL          GONZALEZ                 NM           90011892437
5272468945B387   JULIAN         FRANCO                   OR           90010876894
52725153472B43   JAIME          MENDOZA                  CO           90000691534
52725613497B54   JOSEPH         ROGERS                   CO           90008406134
52725A94461965   TANIA          WILLIAMS                 CA           90004910944
52725A9A633699   CEDRIC         WILLIAMS                 NC           90002780906
5272818A55B393   ANNA           SHAPIRO                  OR           44582421805
52728583A72B36   JACK           VINCENT                  CO           90010995830
5273441A761971   TERRA          MEIER                    CA           90011794107
52735583972B36   KENNETH        THOMPSON                 CO           90010995839
5273B92232B27B   DANIEL         FLEMING                  DC           90014559223
52753949297B54   ISRAEL         SONTAY                   CO           90013639492
52756672A5B399   ROBBYN         BRADFORD                 OR           90012906720
52757267797B54   CORYE          DUKES                    CO           90010782677
52757385572B77   ANNA           BROOKS                   CO           33050463855
52758A52261971   ANDREW         CHRISTOPHER              CA           90012120522
5275926A761973   ROBERT         HARRIS                   CA           90012742607
5275B2A3557157   JESSICA        LONG                     VA           90013062035
5275B3A2191587   DESKENDRAY     BLAKE                    TX           90013953021
5275B6A338B341   WHITE          SHANTAYE                 SC           11009826033
52761299A5B531   KENNEDY        DERRICK                  NM           90010942990
5276136564B588   MARCOS         BELETZUY                 OK           90010473656
5276623214B521   BRANDI         CAMPO                    OK           90011092321
5276743194B588   CHRISTOPHER    LALLY                    OK           90012164319
5276B178997B54   JOSE           RODRIGUEZ                CO           90013201789
52773336472B43   JAIME          GARCIA                   CO           90014423364
5277437A257157   PETER          BOISSON                  VA           90012883702
5277491A35B399   GUADALUPE      PEREZ                    OR           90007029103
52776132A61965   KARYLIN        HEDGE                    CA           90012691320
52777578972B43   JAMIE          MORALES                  CO           33038685789
5277B374951348   ANGELA         MORRISSEY                OH           90014483749
52783398672B43   JARED          YOUNG                    CO           90012133986
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52784A5654B521   ALMA           GALINDO                  OK           90007480565
52785267A33699   APACHA         TETREAULT                NC           90013902670
52786996472B27   CHRISTINE      HARWELL                  CO           90013509964
52786A8AA72B43   JOSÉ           PÉREZ                    CO           90013170800
52787A1A78B167   JANNETT        COOK                     UT           90012840107
527895A212B27B   DONNELL        BROADWAY                 DC           90010785021
527912A4241296   EDWARD         FREIBERGER               PA           51078182042
5279726864B521   TONY           LITTLETON                OK           90015102686
5279B555931462   ROENITA        HAMILTON                 MO           90013785559
527B119414B521   KATHRYN        BLOODWORTH               OK           90001111941
527B1276891587   LUIS ANGEL     CARLOS MENDIETA          TX           90013952768
527B1461872B27   MARIA          CABALLERO                CO           90013274618
527B4473A5B387   ISAYAS         BAHTA                    OR           44597144730
527B4768972B27   NICOLE         ALARCON                  CO           90013207689
527B486224B521   NELLISSIA      LAWRENCE                 OK           90009918622
527B5276891587   LUIS ANGEL     CARLOS MENDIETA          TX           90013952768
527B5351A61973   AUDELIA        DE AVILA                 CA           90011963510
527B7548172B49   DEAN           SMITH                    CO           90008855481
527B8657772B43   KATERINA       MARTINEZ                 CO           90011746577
5281155535B283   RANDY          FISHER                   KY           68039035553
5281198624B588   ANDY           DO                       OK           90010199862
52811A79A8B169   JORGE          ESTRADA                  UT           90012610790
52812537A33696   RADOVAN        BANOVIC                  NC           90014535370
52812728772B49   TIMOTHY        FENNER                   CO           90013137287
52812A57133696   MICHELLE       BRACEY                   NC           90005200571
5281362A485928   VIRGINIA       MCMAINE                  KY           67081996204
52813A7314B28B   SAVANNAH       SMITH                    NE           26076660731
528165A548B173   TILLMAN        BEGAY                    UT           90013785054
5281BA44891895   TYRONE         WILLIAMS                 OK           90011210448
528236A562B27B   VICTORIA       WALTON                   DC           90001956056
5282491974B521   DENISE         CLIMER                   OK           90011999197
52827131A61965   REX            KOPP                     CA           90014881310
52827712472B49   RAUKEEN        HORTON                   CO           90005767124
528278A2A76B45   LOUIS          MEDINA                   CA           90014858020
5282934895B387   STEPHEN        BRADSHAW                 OR           90014803489
5282B384471964   MAURO          GARCIA                   CO           90011623844
52832A33A4B588   PEDRO          AMADOR                   OK           90013340330
528336A6391895   BRITTANY       NORMAN                   OK           90012516063
52833A88491895   BRITTANY       NORMAN                   OK           90011210884
5283615A693724   TEQUILA        DANSBY                   OH           90013891506
5283859A972B27   HERNANDO       BANUELOS                 CO           90010625909
5284131675B283   ELLA           JONES                    KY           90010333167
5284173985758B   ANNA           CASTRO                   NM           90013307398
52842668324B3B   KENDRA         NOVA                     DC           90011616683
52844765872B49   KENDRA         CITRANO                  CO           90014787658
52845662872B49   BRENDA         GONZOLEZ                 CO           90011316628
5284733115B399   DAWN           BLACKSHEAR               OR           44521903311
5284945A572B77   ABIE           SULCIMAN                 CO           90005484505
5284954435B387   ANGELLE        SMITH                    OR           90010375443
5285612A972B43   TAMMY          MARTINEZ                 CO           90010671209
52856252A4B579   LYNNETTE       ABRAHAM                  OK           90010892520
5285627A25B393   CAROLYN        LAMAR                    OR           90012072702
528575A9572B67   ERIKA          SUAZO                    CO           33058215095
5285B15884B521   VICENTE        IBARRA                   OK           21502061588
52861434472B36   ADRIANNA       BOYD                     CO           90013344344
5286156A65758B   MIRIAM         OLIVAS-DELGADO           NM           90014665606
528625A212B27B   DONNELL        BROADWAY                 DC           90010785021
52862724A61971   CRAIG          ADOLPHI                  CA           90010267240
52863321A93724   DEBRA          KINS                     OH           90013783210
52863A21561973   MARINA         MARTINEZ                 CA           90012130215
5286B14238B169   MARIA          TUBBS                    UT           90009401423
5286B55424B28B   CARLOS         RODRIGUEZ                NE           90012255542
52872A3115B387   ANDREA         GROB                     OR           90002270311
5287421628B169   VERONIKA       GALLEGOS                 UT           90004002162
5287452618B169   VERONICA       GALLEGOS                 UT           90014025261
528754A5961973   AHLYNNA        BUENROSTRO               CA           90000294059
5287761935758B   MONICA         SALAZAR                  NM           90010336193
52878981872B88   PAUL           SORENSEN                 CO           90003239818
52878982772B36   BLANCA         MOJITA                   CO           90005389827
5288526224B28B   MARCELINO      MUNOZ MARQUEZ            NE           90013332622
5288853244B28B   JUSTIN         STOTTS                   NE           90013145324
5289698392B27B   KIMBERLY       YOUNG                    DC           90013439839
528B249A561975   BRENDA         COVARRUBIAS              CA           90013964905
528B3627A33699   AARON          PHILLIPS                 NC           90015076270
528B4337A5B399   JENNIFER       DIETL                    OR           90007863370
528B6365861965   TED            WILSON                   CA           90015293658
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528B6793672B43   ANTHONY        HODSON                   CO           90007507936
528B737A257157   PETER          BOISSON                  VA           90012883702
528B7A43591895   MAI            VUE                      OK           90011210435
528B966338B169   TONY           MARCHESE                 UT           90014566633
528B9992A4B588   CHRISTINA      NELSON                   OK           90010389920
529118AA184357   ANNE MARIE     WILSON                   SC           90013868001
52912724772B27   ELIAS          BAUTISA LOPEZ            CO           90012837247
52922A77A72B77   JONATHAN       MARTINEZ                 CO           33056300770
5292434527B46B   ANA            LOPEZ                    NC           90004783452
52925429A72B36   DIEGO          BEDOLLA                  CO           90007904290
5292652A47B46B   TONY           WILLIAMS                 NC           90013215204
52926695172B43   GRISELDA       VILLALPANDO              CO           90010896951
5292B799791587   ELIZABETH      BERNAL                   TX           90010977997
5292BA9545B561   ANNA           CANDELARIA               NM           90012480954
52938628A72B36   FERNANDO       SALMARON                 CO           90013486280
529386A397B46B   SHAMIRA        PERKINS                  NC           11013266039
529419A2297B54   SAMANTHA       WEST                     CO           90007809022
5294227A95758B   JESUS          CHAVIRA                  NM           90013952709
52942A66161965   AYMEN          KIRKUKI                  CA           90010270661
529449AA884357   SAVONDA        SMALLS                   SC           90010519008
529459A485B531   NICOLE         SOLIS                    NM           90010889048
52952A74361965   ALEN           KHOSHABA                 CA           90010270743
52954218972B43   ARMANDO        LINARES                  CO           90005492189
529546A3791587   CARLOS         PRIETO                   TX           90014726037
5295824895B531   TANYA          KENNEY                   NM           90001722489
5295982195758B   ELIZABETH      ROMERO                   NM           90011848219
52961649872B49   GABBY          PEREZ                    CO           90012426498
5296553A55B387   ELAINE         CASON                    OR           90011525305
5296664A593724   LEE            SERVICE                  OH           90010846405
52966A29861965   ASHLIE         PITTMAN                  CA           90010870298
52967A4794B588   HARMONY        HAWKINS                  OK           90003490479
52971A49933696   DAYTONA        LEAK                     NC           90013280499
5298276515758B   MIGUEL         CASTILLO                 NM           90013757651
5298548235B531   RYAN           COLEMAN                  NM           90011174823
5298981A261965   JESUS          GONZALEZ                 CA           90013988102
5298B63A161975   AIOTEST1       DONOTTOUCH               CA           90015116301
5298B89434B521   ROSA           HERNANDEZ                OK           90015168943
52993921572B36   TRACEE         BRISENO                  CO           90012299215
5299494A761975   KENNETH        GRAY                     CA           46064109407
52995AA915758B   RANDY          CALKINS                  NM           90014020091
52996659A5758B   SYLVIA         GONZALEZ                 NM           90004306590
5299782A591587   CARLOS         CARDOZA-VALENZUELA       TX           90010978205
5299883255B531   DENISE         BACA                     NM           90014778325
5299B61915754B   ROSEMARY       PEREZ                    NM           90006426191
529B1855A93724   ANTHONY        CLEMONS                  OH           90010808550
529B3545891587   GABBY          HINOJOSA                 TX           90014155458
529B4213672B49   HELEN          TORRES                   CO           90012902136
529B6534472B36   JAY            DAVID                    CO           90014555344
529B6797A93724   RAMIZ          SHIRINOV                 OH           90013207970
529B768925B399   ZACHARY        LOOP                     OR           90013266892
529B77A9A93724   DSHARA         FARRELL                  OH           90012937090
529B8115984852   CANSECO        FIGUEROA                 NJ           90013931159
52B1127A598B2B   HORETHA        SINGS                    NC           90005792705
52B11357877943   AUGUSTIN       BAUTISTA                 KS           90011803578
52B12789A8B169   FAY            MALDONADO                UT           90011627890
52B13482172B36   MIRIAM         RODRIGUEZ                CO           90010994821
52B15185961973   ROBERTO        HERNANDEZ                CA           90012231859
52B16147A5B283   ROBERT         PORTER                   KY           68073111470
52B1738965B399   GEO            SCHUFFLER                OR           90012023896
52B18974461973   CLAUDIA        MARQUEZ                  CA           90009679744
52B18A3A68B169   ADELMO         BACA                     UT           90014800306
52B19482172B36   MIRIAM         RODRIGUEZ                CO           90010994821
52B19536591587   ALEJANDRO      OLAGUE LLACA             TX           90010975365
52B1B788561975   JESUS          CORTEZ                   CA           90012377885
52B2121535B531   JOHNATHAN      GONZALES                 NM           90013352153
52B2313684B521   MARIA          ORTIZ                    OK           90011551368
52B23483633699   TONYA          NAILS                    NC           90008744836
52B24817691895   ROGER          WALKER                   OK           21026068176
52B25728651348   SANTOS         TORES                    OH           90011127286
52B28497351348   NATASHA        PEOPLES                  OH           90008504973
52B29988431428   SHARAY         SLAUGHTER                MO           90009009884
52B3174A48B169   REYNA          MORALES                  UT           90008107404
52B31A9834B521   FAITH          WELCH                    OK           90008070983
52B3291195B399   FAVORITA       ANDON                    OR           90013899119
52B33168A33696   KEISHA         DAVIS                    NC           90012251680
52B33A7A28B164   PAULA          TAGER                    UT           31083290702
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52B3466A881669   ISABEL         HERNANDEZ                MO           90009606608
52B3512167B46B   AQUARIUS       GARLINS                  NC           90013581216
52B35A19891587   LINDA          ROCHA                    TX           90013950198
52B36631361965   ARTISHA        NORNS                    CA           90006616313
52B36884161975   FRANK          DURON                    CA           90009698841
52B3813675B393   EDGAR          CHEL PUC                 OR           90007031367
52B39451391587   ANDREW         BROWN                    TX           90009084513
52B3949184B521   TRINH          DYE                      OK           90014654918
52B3BA5A58B169   CESAR          MEJIA                    UT           90002670505
52B3BA9235B399   OLIVIA         ALEXANDER                OR           90011890923
52B42869772B27   CARLA          WOODS                    CO           33013728697
52B432A744B521   SKYLER         BOWEN                    OK           90006802074
52B44218691587   VERONICA       CASTRO                   TX           75042732186
52B4586578B169   CODY           RODICIO                  UT           90014408657
52B4662A461971   AMBER          KUNAVICH                 CA           90012666204
52B47559191587   RUDY           HERNANDEZ                TX           90010975591
52B47882791587   BRANDON        PANGILINAN               TX           90012178827
52B4821135B399   SHELLY         HOGDON                   OR           44528182113
52B48356461965   JOVANI         AGUILAR                  CA           90010323564
52B4852975B393   DONOVAN        HINKLE                   OR           90015055297
52B4873465715B   MEDARDO        RIVERA-LOPEZ             VA           90011817346
52B49986872B88   DAISY          RIVERA                   CO           90003229868
52B4B31592B27B   DIANE          LOGAN                    DC           90010193159
52B51113A5B387   ROCKO          FRAZIER                  OR           90006061130
52B54176361971   DRUCILLA       RUOCCO                   CA           46095641763
52B58191372B43   V ALARIE       STEGALL                  CO           90015121913
52B587A6472B36   KIMBERLY       MORALES                  CO           90012157064
52B5B49244B521   ERICA          ZELAYA                   OK           90011074924
52B61252361973   DANNY          MUNOZ                    CA           90011952523
52B6326A857157   NICOLE         PALMER                   VA           90012992608
52B63458161971   WINTER ROSE    HERRERA                  CA           90010084581
52B64346A5B399   BRUCE          BRINES                   OR           90002873460
52B64896961975   BRIAN          PERIN                    CA           90014618969
52B65327A61975   MOHAMMED       SAAID                    CA           46017783270
52B65944572B43   ELISA          RAMIREZ                  CO           33076839445
52B662A912B27B   ANNETTE        SPENCER                  DC           90002342091
52B66555997B54   CELIA          MORADO                   CO           90013185559
52B67698861949   ZAGROS         DAWOUDI                  CA           46055706988
52B69188284373   CARMEN         LAZCANO                  SC           90011771882
52B6BA27591587   DIANA          MUNIZ                    TX           90013950275
52B71A1AA33699   ROXANA         ARELLANES                NC           90010310100
52B7267245B387   JESSE          GAMBREL                  OR           90014696724
52B72A21771964   JULIAN         JIMENEZ                  CO           90011270217
52B73751461975   JESUS          IBARRA                   CA           90014897514
52B7596A191895   ROY            HAWS                     OK           90011139601
52B7688985B531   JANICE         SIMS                     NM           90008728898
52B7827245B387   VALERIE        PIERCE                   OR           44588792724
52B7B527793724   MEGAN          MOORE                    OH           90013065277
52B7B96A924B7B   FLOR           MENJIVAR-BRUNO           DC           90005149609
52B7B998561973   ANTHONY        BERMUDEZ                 CA           90015169985
52B825A1384357   AMANDA         CHAMBERS                 SC           90010345013
52B84A53A8B169   BRENT          BLANCH                   UT           31011920530
52B84A7A95B531   JIANYING       LIU                      NM           90010800709
52B85252961965   MELODY         LEE                      CA           90012542529
52B85424351348   ANDREW         MCQUEEN                  OH           90013364243
52B85958433696   ELGAN          FARRAR                   NC           90014089584
52B86539893724   MARESA         SCOTT                    OH           90008615398
52B8795A893724   REED           VELLAMY                  OH           90014229508
52B8863188B169   AMANDA         TOWSEND                  UT           90010716318
52B88944991895   MENEA          ALFRED                   OK           90008489449
52B92981572B49   BRIANA         MALDONADO                CO           90011889815
52B93453161973   ROGELIO        GALLEGOS                 CA           90012244531
52B94833333699   QWAMAINE       LAFORD                   NC           90010068333
52B9747A87B632   ANGELA         WILSON                   GA           90000764708
52B989A9384357   WILLIAM        VELIZ                    SC           90010909093
52B99225493724   GEORGETTE      BATES                    OH           90012212254
52B9948345715B   AMBER          PRUITT                   VA           90006564834
52BB1672471964   MARCELINO      MARTINEZ                 CO           32091206724
52BB3148124B7B   MAMO           KUMILACHEW               VA           90012721481
52BB369184B521   AMBER          ESTRADA                  OK           90014166918
52BB3A65A72B88   ANGELICA       CANDIA                   CO           33013200650
52BB4349A61965   ANDREW         VEGA                     CA           90014743490
52BB456824B28B   MARK           KAWAMURA                 NE           26015125682
52BB46A6293724   ELIZABETH      CHRISTMAN                OH           90006036062
52BB6718471964   SARAH          YOUNG                    CO           90002387184
52BB6A5294B28B   APRIL          BARTON                   NE           90005200529
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52BB86A225B399   HEATHER             RANGEL              OR           44566496022
5311333AA91587   VICTOR              TAPIA               TX           90013483300
53114966172B36   SHANE               GRASSER             CO           90011369661
5311937A45B399   SHAWN               WILSON              OR           90004183704
5311B43655B271   CEDRICK             GRIFFIN             KY           90004394365
531219AAA71964   ALEX                GROSS               CO           90012859000
53122797372B36   ALEX                MARTINEZ            CO           90012697973
5312314692B27B   DARIYAH             GREEN               VA           90012591469
5312363844B588   WILSON              MORALES             OK           90014996384
53123796A8B169   MEGAN               WALLACE             UT           90010917960
5312451A68B169   JOSE                ANTONIO             UT           90012885106
53125AA2676B75   COBI                ESPINO              CA           90012910026
53127A77733699   JOHN-MORRO          SMITH               NC           90012310777
53129584176B75   ALONDRA             NAVARRETE           CA           90012435841
5312B351433696   DESMEION            KENNEDY             NC           90010733514
5313336667B46B   RONALD              PAZ                 NC           90013053666
531358A5833696   DUSTIN              MAYNARD             NC           90013348058
5313742827242B   SCOTT               SCHULTZ             PA           90012824282
5313755395B399   AMBER               CENTZ               OR           90014145539
531375A587B46B   WILLIAM             BAKER               NC           90010425058
5314299A385928   CHANDA              HARWELL             KY           90012079903
5314853A143569   JAMIE               PEDEN               UT           31060025301
5314947635B531   PAUL                BALLOU              NM           90010654763
5314B2A7A5758B   LIAN                PU                  NM           90011052070
5314B463291587   JESSICA             HERRERA             TX           90013384632
5314B668661971   CHRISTINA           CRUZ                CA           90011566686
5315198A572B77   JAVIER              VARGAS              CO           33075449805
53151A45833696   ERIKA               ELDRIDGE            NC           12008930458
53151AA4472B36   RENEE               MITCHEM             CO           33052070044
5315762127B46B   RODERICK            FISHER              NC           90009536212
5315889A47B46B   DAVONN              PIERRE ROSE         NC           90014068904
5315B433657157   MONICA              PETERSON            VA           90013144336
53161969A5B393   EVELIA              CORTES              OR           44509119690
5316277918B169   CHRISTEPHER SHAWN   LINN                UT           90014167791
53164A62471964   MICHAEL             AMIOTT              CO           90002180624
5316826998B169   MICHAEL             LEDESMA             UT           90012732699
5316878425715B   KAREN               MCKEON              VA           90010727842
53168948A5B271   WENDY               ROBERSON            KY           90002169480
5316B16A371964   SEAN                HAWLEY              CO           90012101603
53171814572B49   BRENDA              IBARRA              CO           90013998145
53171A22855959   ADRIAN              LARA                CA           90012540228
53172A58261975   ALAN                NEELEY              CA           90014890582
5317648A35715B   SERENA              REYNOLDS            VA           90011314803
53178A23A84357   SHELBY              MAKUCH              SC           90014720230
53184842A4B28B   LAMONICA            YBARRA              NE           90001518420
5318534944B588   MARIA               PEREZ               OK           90015043494
53185972476B75   VICTOR              SOLIS               CA           46029149724
5318634944B588   MARIA               PEREZ               OK           90015043494
5318734944B588   MARIA               PEREZ               OK           90015043494
53187652672B43   AMBER               MONDRAGON           CO           90008736526
5318B955A5758B   PEDRO               ZEPEDA              NM           90013829550
5318BA23A84357   SHELBY              MAKUCH              SC           90014720230
531931A8357157   VICTOR              TORRES              VA           90014651083
531959A6985928   WEATHERS            MELODIE             KY           90010609069
5319853645B393   BRANDON             DELKER              OR           90013975364
531B1653172B49   JUAN                REYES               CO           33078266531
531B1A77833696   TISHA               MARSHALL            NC           12043580778
531B28A3A72B49   NORMA               VARELA              CO           90011488030
531B3523572B36   DAWN                DUNN                CO           90010325235
531B3688655959   YULIANA             CORTES              CA           90007226886
531B529248B169   ANTONIO             LORENZO             UT           90013592924
531B532217242B   SHANE               SWOPE               PA           90013813221
531B624294B28B   JOEY                NOISE               NE           90011292429
531BB291791587   MONICA              SOSA                TX           90013482917
531BB357A72B49   BRAIN               LOVE                CO           90009713570
53212299272B49   JAMES               HERRING             CO           90007582992
5321343115758B   JOSEFINA            ESTRADA             NM           90012054311
5321781897B46B   MICHEL              GANTT               NC           90011088189
5322212A58B169   RANDY               TINGEY              UT           90014181205
5322259A391895   GLENNA              PARKMAN             OK           90010605903
5322417915B393   STEPHANIN           SCOTT               OR           90012911791
5322423777B46B   SY DELOY            DELOY               NC           90011202377
5322535575B531   DANIEL              BOLEY               NM           90007383557
532257A557B46B   ERICA               SWINNEY             NC           90011947055
5322633977B46B   LATARSHA            TILLMAN             NC           11058093397
532272A1271964   LISA                GONZALES            CO           90009822012
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5322824922B27B   SHAKIA         TRACY                    DC           90011422492
53228A68691534   JAIME          ARREDONDO                TX           90013360686
5322B75A291587   ALONZO         ORTIZ                    TX           90013487502
5322B824A5758B   ASHLEY         ALBILLAR                 NM           90006318240
532319A8261966   JONI           BARKER                   CA           90005919082
5323264A761971   AIOTEST1       DONOTTOUCH               CA           90015116407
5323612A58B169   RANDY          TINGEY                   UT           90014181205
5323638875B531   RICHARD        GALLEGOS                 NM           90011873887
5323886A15B543   JOSEPH         MONTOYA                  NM           90005138601
5324B328993724   DENISE         HAYES                    OH           90011243289
53251156A98B2B   NORA           ESCOBAR                  NC           90005821560
532516A2871964   RANDI          DUNHAM                   CO           32092666028
532528A6561973   STEPHANIE      MURGUIA                  CA           90012638065
53252A3625B399   SISMAI         GUERRA                   OR           90013740362
53253425A61971   SHARON         WASHINGTON               CA           90012634250
53253AAAA5758B   PERCILA        REYES                    NM           90010010000
5325534737B46B   JAQUETTA       FUNDERBURK               NC           90014563473
53256363A55959   EMANUEL        MORENO                   CA           90012543630
5325671A55B338   AMBER          SHAW                     OR           90007957105
5325689224B28B   MICHELE        LIEBERG                  NE           90013018922
53257569A61973   GERARDO        TORRES                   CA           90013475690
5325B52885758B   CRISTINA       LOYA                     NM           90014175288
53261422972B43   MANUEL         ARAGON                   CO           33085114229
5326264A74B521   LORI           DAVIS                    OK           90007046407
5326472824B28B   SASHA          DORWART                  NE           90005127282
53264A78776B75   BLANCA         GONZALEZ                 CA           90008100787
5326544455758B   ERICA          RAMIREZ                  NM           90011954445
5326885134B28B   CLARK          WEAVER                   NE           90004868513
5326B877A55959   CARLOS         HERRERA                  CA           90013988770
5327413498B164   DANNY          MCCOLLUM                 UT           90007381349
53276348372B27   SOPHIA         FONSECA                  CO           90009083483
53276A24355959   CRYSTAL        MENDOZA                  CA           90010960243
53276AA655B399   FILIBERTO      RODRIGUEZ                OR           44535380065
5327727A55B399   STACEY         HETRICK                  OR           44590982705
5327828A984357   SHARMELA       ORR                      SC           90014802809
53278929572B88   BEN            AUST                     CO           90006529295
5328434737B46B   JAQUETTA       FUNDERBURK               NC           90014563473
5328496A857157   JULIO          SERRANO                  VA           90011789608
53285229272B35   JERRY          WAYNE                    CO           90009292292
5328568595B399   STEPHEN        WEBB                     OR           90005196859
53286443172B43   AMBER          VIGIL                    CO           90013104431
53288985A72B67   TODD           LAFOUNTAIN               CO           90007319850
5328961854B28B   LACEY          HAMIK                    NE           90004696185
5329515A991587   LORENZO        HERNANDEZ                TX           90013491509
5329734887B46B   HOWARD         JOHNSON                  NC           90014563488
5329784A44B525   TROY           MCVAY                    OK           90009628404
5329B574372B27   TAMAIGO        WILLIAMS                 CO           90011995743
532B1161371964   RANDY          HILL                     CO           90010481613
532B138164B28B   ADRIA          SHELDON                  NE           26065573816
532B2A24572B27   MAYRA          OLIVAS                   CO           90000650245
532B2A54257157   TRACY          LOMMEL                   VA           81043460542
532B474947242B   JUSTIN         PRISTAS                  PA           90013507494
532B5654361971   EDUARDO        DEVINO                   CA           90009836543
532B6429A91895   LINDZE         ARRINGTON                OK           90011674290
532B663A676B75   AIOTEST1       DONOTTOUCH               CA           90015116306
532B799935B399   ASHLEY         BREILAND                 OR           90001879993
532B8A24A9136B   STEPHAINE      BRUCE                    KS           90007650240
5331142AA85928   AUDA           LEWIS                    KY           90014154200
5331278642B27B   LEROYA         KEARSE                   DC           90012717864
5331924835B399   ELVIS          SMITH                    OR           90013362483
5331B613976B75   JACQUELINE     MENDEZ                   CA           90011026139
5332319667B46B   EBONY          GOODE                    NC           90013081966
5332327755B271   HANNAH         DAVIS                    KY           90004152775
53326A5465B531   BRANDIE        SAAVEDRA                 NM           35097720546
53328AA1361975   GERARDO        RAMOS                    CA           90011990013
5332999875B399   GONZALO        FLORES                   OR           90003199987
5332B259472B67   JOSE           AYALA- JUAREZ            CO           33081302594
53331A31433699   MARIE          CAMARA                   NC           90013340314
53336758A43569   COURTNEY       KEMP                     UT           90013737580
533379A6985928   WEATHERS       MELODIE                  KY           90010609069
5333B72745B399   EDGAR          BELTRAN                  OR           90009687274
5334447185B393   ROQUE          DIAZ-LOPEZ               OR           90013954718
5334521A62B27B   SABRINA        KEITT                    DC           90011022106
53346A54733699   ANAELLY        ELIAS                    NC           90013340547
53347A14291534   RAYMOND        VALLE                    TX           90013020142
53349654772B49   DAVID          CALDERON                 CO           33033736547
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5334B363A72B49   SARA            SHIRLEY                  CO           90013013630
5334B852A61973   SHANTAL         MONTANO                  CA           90010658520
5335191895B543   GONZALEZ        JUAN                     NM           90005139189
53352275A57157   SHANICE         DICKENS                  VA           90013202750
53353241272B43   FRANK           PENA                     CO           90012492412
53354653A61973   SALVADOR        FLORES                   CA           46006746530
53354922A71964   JOSE            MENDEZ                   CO           90011649220
53354A7A291587   ELISHA          SERCKPOR                 TX           90013290702
5336317625715B   OMAR            MONTES                   VA           90011941762
53368266472B49   DERRON          SMITH                    CO           90013062664
5337124397B46B   SHARDAY         JONES                    NC           11050512439
53371AA3891895   LINDSAY         SALISBURY                OK           90013930038
53375AA3891895   LINDSAY         SALISBURY                OK           90013930038
5337671555758B   SHAWN           PACK                     NM           90012157155
5337B643272B36   TERESA          FULLTON                  CO           33077966432
53384642A5593B   MARK            ROMERO                   CA           90014766420
53388525772B49   ASHLEY          LEWIS                    CO           90014935257
53392777172B43   MELISSA         MUNSHOWER                CO           90010457771
53392A71571964   MARCIA          BURCHETT                 CO           90012810715
5339337935B531   TIFFANY         BOYER                    NM           90013193793
53393A15893724   LINDA           WILLINGHAM               OH           90010710158
53393A36872B27   JASON           NASHOLP                  CO           90008010368
533941A7457157   MICHAEL         HALL                     VA           90013631074
5339625337242B   DANIELLE        MALIK                    PA           90015102533
533985A9776B75   KIANA           STRICKLAND               CA           90013525097
5339882538B169   CHRIS           ALLEN                    UT           90010968253
5339946367B46B   HONORIA         RAMIREZ                  NC           90014954636
5339977815B531   SANDRA          VALLEZ                   NM           90014527781
53399A42555959   CHRISTINE       GONZALEZ                 CA           90013050425
5339B453761971   APRILL          CADOTE                   CA           90006784537
533B264835B399   JAMES           PETERSON                 OR           90012256483
533B3214A57157   ANA             APARICIO                 VA           90010942140
533B7366961975   JUANITA         GODINA                   CA           90010293669
533B7584591885   MARISOL         AREAS                    OK           90011255845
533B7835943569   ALLISON         WILKOF                   UT           90014048359
533B7863661971   DON             LONG                     CA           90012068636
533B7971643569   ALLISON         WILKOF                   UT           90014059716
533B9554691895   FELIX           LAGOS                    OK           90012535546
533B9576A61975   DIANA           AMAYA                    CA           90012955760
533B994A572B36   RAQUEL          CAMPOS                   CO           90007709405
533BB783557157   ISABEL          SOSA VENTURA             VA           90014227835
53412A8A291534   MARTHA          VILCHIS                  TX           90011050802
53414776A2B27B   TUCKER          ANN                      VA           90005377760
53415A37572B36   ABRAHAM         MALDONADO                CO           90013030375
53419725372B27   CLIFFORD        PUPPE                    CO           90007847253
5342515815B399   ROCKY           PAULSON                  OR           44545021581
53425586472B49   CANDACE         HENDRIX                  CO           90013615864
53426A72A76B75   JENNEIRA        NARANJO                  CA           90010200720
53429718872B43   LAURA           GONZALEZ                 CO           90005227188
5342B34177B46B   JAIH            OSZZEPINSKIA             NC           90013093417
5343378425715B   KAREN           MCKEON                   VA           90010727842
53436699272B27   CHRISTIAN       VALDEZ                   CO           90014156992
5343715384B28B   JAMES           BRIGGS                   NE           90012031538
534378A2691534   BRENDA          MARTINEZ                 NM           90009538026
5344224112B27B   JOSE            MACHADO                  DC           81093012411
53444A54A76B75   PATTY           RAMOS                    CA           90014620540
5344523692B27B   JOSEPH          BROWN                    DC           90013462369
5344624735B393   ANGELA          WITTER                   OR           90014452473
534465A2A76B75   MATILDE         LINARES                  CA           46043325020
5344948552B27B   DEMARIS         PALMER                   DC           90010394855
5345375717242B   PAYGO           IVR ACTIVATION           PA           90014297571
5345667A861973   KORINA          BARRAZA                  CA           90008556708
5345B655491587   IVETTE          MEJIA                    TX           90013496554
5345BA58261975   ALAN            NEELEY                   CA           90014890582
53461675644B3B   BETTE           ORIENT                   OH           90014136756
5346257165B393   JUSTIN          ALVIS                    OR           90010315716
5346336255B393   ELIZABETH       MCCORMICK                OR           90014243625
53463A1168B169   DOUCET          ANTHONY JOHN             UT           90010240116
5346597674B28B   RYAN            LUNBERRY                 NE           90013019767
5346748A491534   AARON           BLANCO                   TX           75021274804
5346B7A9955959   JUVENAL         ALCANTAR                 CA           90013967099
5347186965715B   WANTHIP         PANGILINAN               VA           90010678696
5347377457B46B   COLBY           ENGERT                   NC           90012877745
5347581A75B531   JOSE            ACEVES                   NM           90012948107
53477433A2B27B   AMMAR           ALSHI5                   DC           90010984330
5347887995B399   COCOA           CHANELL                  OR           90014068799
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5347B931591534   MONICA           MORENO                 TX           90009309315
534834A7A72B36   INGRID           AJANEL                 CO           33095594070
53487A75133696   KIRSHAWN         BOWE                   NC           12077630751
53488535576B75   HUMBERTO         ORTEGA                 CA           90014005355
5348874A571964   LEONA            JACKSON                CO           90014697405
53489645A5758B   IRENE            MEDINA                 NM           90011316450
5348B968691895   KARI             LAUFFER                OK           90010129686
53492395172B88   DEBRA            ROMERO                 CO           33030213951
5349278392B27B   ELIZABETH        YOUN                   DC           90010917839
53493319772B49   GEORGE           HENDRICKS              CO           33085873197
53493652176B75   NICENTE          OCAMPO                 CA           90013066521
53494413976B75   ROGELIO          ZEPEDA                 CA           90013734139
5349523745758B   LEONARDO         OSTENDORF              NM           90014452374
53497232372B27   JOSELUIS         MARTINEZ               CO           90013922323
53497656498B2B   YEMERSON         REYES                  NC           90005846564
5349865AA71964   GREGORY          BONTON                 CO           90011646500
534B1954257157   CARLOS           CASTRO                 VA           90013209542
534B1989857157   MICHAEL          COMPTON                VA           90006519898
534B1A6265B393   RAMON ERNESTO    RAMIREZ ROMAN          OR           90011460626
534B2189A71964   CHARLES          WHEELER                CO           90012871890
534B312825B399   GLADYS MARIBEL   GARRIDO                OR           90013211282
534B487765B387   LAURA            THOME                  OR           44514058776
534B5A13733699   TAWANA           ROMNEY                 NC           90013860137
534B5AA5743569   TEA              JESSE                  UT           90005740057
534B89A2971964   XENG S           VANG                   CO           90011869029
534B968A55B531   MARIA            GUZMAN                 NM           35029366805
535145A5961973   MARIANA          CHON                   CA           90013005059
53515A45743569   LATROI           NEWBINS                UT           90013660457
53516545472B36   ALVARO           GUTIERREZ              CO           33017815454
5351757975715B   REBECCA          NOLASCO                VA           90007725797
53518436A55959   CARLOS           ESPARSA                CA           90010094360
535185A3261973   ANGELINA         MARTINEZ               CA           90012845032
5351944987B46B   JUAN             BETANCURT              NC           90014364498
5352625855715B   SAYED            ALI                    VA           90009262585
53527335972B49   RODRIGO          FLORES                 CO           90014353359
5352735AA71964   ADAM             STEPHENSON             CO           32014673500
5352917A45B531   LONNIE           MOODY                  NM           90003661704
53529A6515713B   ROSA             VICENTE                VA           90010760651
5352B37695B399   ALEJANDRA        MORFIN                 OR           90013303769
5352B658433699   LUIS             MALAVE DIAZ            NC           90014766584
53531A43972B67   ISAAC            MALDONADO              CO           90006750439
53531A54733699   ANAELLY          ELIAS                  NC           90013340547
5353529927B46B   MARCUS           ALSORD                 NC           90011402992
53539244172B49   AIOTEST1         DONOTTOUCH             CO           90015122441
53542545972B43   MARTINEZ         JOSE GUADALUPE         CO           90003695459
535455A3991895   LUISA            SUAREZ                 OK           90009575039
535499A8571964   BILL             BANKUS                 CO           90014699085
5354B785533696   DINAH            GRAHAM                 NC           12049587855
5354B848157157   SALVADOR         GASCON MEJIA           VA           81097458481
5355361415B531   JEANINE          CENA                   NM           90014366141
5355448855B283   LAMAR            ALLEN                  KY           68022584885
53554A65272B36   KRYSTAL          WILLIAMS               CO           90008180652
5355813492B245   MARIA            VAUGHAN                DC           81012711349
53558194A61971   CAROL            SPINOSA                CA           90014941940
53558A47651348   DANETTE          HILL                   OH           90010210476
5355967775715B   OSCAR            NOVILLO                VA           81043186777
5355B63372162B   DAVON            JOHNSON                OH           90014186337
5356284972B27B   ANNETT           MCCRAY                 DC           90014898497
5356287325B393   KATHERINE        BONNER                 OR           90014428732
53563697972B27   HECTOR           ORTIZ                  CO           33067966979
535636A7576B75   ANDREA           ROBLES                 CA           90011856075
53563A6A57242B   DANTE            WILEY                  PA           90008010605
535648A4961966   KRISTEN          GUTIERREZ              CA           90008828049
5356635165B387   TERUSA           BILLY                  OR           90014653516
53568AA537B46B   VERONICA         RAYFORD                NC           90013270053
53571A92891895   JUAN             LOPEZ                  OK           90013930928
5357266257B34B   ANDREW           FARMS                  VA           81053156625
535738A945B399   DAVID            KNOPF                  OR           90012888094
5357424A185928   SIXTO            NAVARRO                KY           90010812401
5357494824B28B   ROSETTA          SCHIEL                 NE           26080089482
53576933676B75   LUTHER           GARNER                 CA           90012849336
5357861AA85928   ALFONSO          BROWN                  KY           90012256100
53578962A5B393   JOSHUA           SNYDER                 OR           90000719620
5357987178B169   BRANDY           DAVES                  UT           90008498717
53579885972B27   ROBERT           AVERY                  CO           33058638859
5357B81237B46B   TANIA ARACELY    ZAMBRANO               NC           90009668123
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53581A6225B399   REEM           MAQDAS                   OR           90014920622
5358255998B169   SHUMAN         TIFFANY                  UT           90009745599
5358321355B393   EDGAR          LEONEL                   OR           90008292135
53585729A5B399   ROGELIO        OLIVA                    OR           44550247290
53587442A5715B   ANNIE          OVALLE                   VA           90005434420
5358886A771964   CHRIS          NOLL                     CO           90014128607
5358925575758B   MAEGAN         FRANCO                   NM           90013202557
535893A7474B97   LAURI          STEVENS                  OH           90013893074
5358982A261971   EDWARD         WALKER                   CA           46065058202
5358B385661973   DULCE          SOLIS                    CA           46055133856
53591A57661971   JENNIFER       NELSON                   CA           90002260576
5359234685758B   BLANCA         RUEDA                    NM           90012103468
535925A8951348   JORGE          MARROGUIN                KY           90009455089
53592646372B49   EUGENE         SANDOVAL                 CO           90008466463
5359338475758B   CARMEN         JAIME                    NM           90003403847
5359442147242B   LISA           KIERNAN                  PA           90010994214
5359469A95758B   JULIO          RAMIREZ                  NM           90011556909
53594A53471964   DAVID          CASIAS                   CO           90014370534
535962A855B561   CERAS          LONGORIA                 NM           90013422085
53598AA837B46B   MARVIN         ALDANA                   NC           90002310083
535B3318785928   ADAM           SLONE                    KY           90013703187
535B529A571964   ALEXIS         SALAS                    CO           90015172905
535B969937B46B   ALEXIS         GALMON                   NC           90015136993
535BB12172B27B   AYALA          JURADO                   DC           90012551217
53612AA8361971   JUSTIN         LAKU                     CA           90015260083
5361341A372B43   ISAIAH         NELSON                   CO           90009974103
536146A2591895   CHAZ           WHEELER                  OK           21011196025
536146A4A61973   JUAN           VILLEGAS                 CA           90004296040
53617A58261975   ALAN           NEELEY                   CA           90014890582
53619A57347836   CALLISTA       JONES                    GA           90009180573
5361B455991881   JAMAL          MCDANIEL                 OK           90011194559
53622727576B75   AMBER          BURD                     CA           46094547275
53622A46A33699   SAUNDRA        LORRAINE                 NC           90015110460
5362527285B393   TERENCE        PRESTON                  OR           90010892728
5362542147242B   LISA           KIERNAN                  PA           90010994214
5362655392B27B   CATHY          REDMOND                  DC           90013685539
53627368A2B27B   TERRISA        BRYANT                   DC           90013343680
5362863A676B75   AIOTEST1       DONOTTOUCH               CA           90015116306
5362939767B46B   ASHLEY         HERNDON                  NC           90010973976
5362B57A45B393   JOSHUA         KINGSBURY                OR           90010865704
5363322A84B28B   LINETTE        NEAL                     NE           26080522208
536353A254B588   TERESA         KIFER                    OK           90015263025
536368A4772B43   GRACIE         TILLMAN                  CO           90014328047
536379A417B46B   KENNETH        JONES                    NC           90012889041
53638384A5B531   DANIEL         CHAVEZ                   NM           90013193840
5364127157B46B   AYANA          DANIEL                   NC           11090402715
5364491A371964   DESHAWN        FINNEY                   CO           90014719103
5364513345B531   ESTHER         GOMEZ                    NM           90011511334
5364866A172B88   DAWN           FURR                     CO           33031216601
5364B58A885928   HANNAH         CLOUSE                   KY           90010715808
5364B969172B49   NORBE          GONZALES                 CO           90004139691
5365325745B393   ELIZABETH      GRIFFIN                  OR           44597122574
53656661272B27   IRMA           MORENO                   CO           90014856612
53657AA2791534   TERESA         JIMENEZ                  TX           90006350027
5365858145B387   NATASHA        STILES                   OR           90014435814
5365867A561973   SAMUEL         BRAVO                    CA           90012416705
536595A5455959   PIMP           IM THE                   CA           90010315054
53661A5165715B   OBDULIO        MILTON                   DC           81043310516
5366231A861973   GABRIELA       NUNO                     CA           90012293108
5366295465B387   MATTHEW        CRANE                    OR           90014779546
53664A24155959   JESUS          TORRES                   CA           90015160241
53665A69585928   SHANIBBIAH     JACKSON                  KY           90012850695
5366635A333699   KENNETH        K CROCKETT               NC           90003633503
536675AA472B88   ADAM           WALLACE                  CO           33016895004
53669AAA655959   MARGARITA      LEON                     CA           90013990006
5366B86715B393   DAVID          PFEIFER                  OR           90013438671
5366BA61355959   ELMER          SANCHEZ                  CA           90011380613
53672148872B49   CHARLES        EZELL                    CO           90014691488
53672355A7242B   JASON          REGULA                   PA           90005203550
536743A2472B43   SAMUEL         HERNANDEZ                CO           90010753024
5367496545B531   VICTORIA       GAVALDON                 NM           90015129654
53674A34191895   PAMELA         MCCARTY                  OK           21087090341
5367B13A691895   JOSLYN         HARRING                  OK           90013931306
5367B577876B75   M IVETTE       VALDOVINOS               CA           90009705778
536816AA25B387   RICHARD        FERRI                    OR           90009406002
53682152872B36   ELISHA         DEAL                     CO           90012081528
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5368234742B27B   ANN            STOCKMEYER               DC           81073513474
5368238875B531   RICHARD        GALLEGOS                 NM           90011873887
5368343A172B88   YOLANDA        ESTRADA                  CO           33072784301
536872A9A72B43   DANNY          AGUIRRE                  CO           33015992090
53694546A71964   JUDY           OLHAVA                   CO           90013075460
53695324A93724   BILL           HEDGES                   OH           64548023240
5369722845B399   HEATHER        JEALOUS                  OR           90010132284
53697588872B43   LUIS           FLORES                   CO           90013265888
53698A94A61973   RYAN           FORD                     CA           90013240940
5369926A461836   NICOLE         HAUSMAN                  MO           90009012604
536B3523961975   BERNICE        GOFF                     CA           90013035239
536B498442B27B   JORGE          ARGUETA                  DC           90001269844
536B5A52757157   ESPERANZA      RODRIGUEZ                VA           90002650527
536B6267733696   ANGEL          MURRAY                   NC           90011192677
536B635637B46B   MAYRA          AMAYA                    NC           90013563563
536B635654B28B   MARSHAUNE      NIMOX                    NE           90006633565
536B7716855959   EUGENIO        HUERTA                   CA           90013117168
536B883A95758B   ELIZABETH      ALVAREZ                  NM           90008818309
536BB12582B27B   SHEMIKA        YOUNG                    DC           90012551258
5371835815B387   DANIEL         SORLIEN                  OR           90013683581
5371991645B283   CLAUDIA        RODRIGUEZ                KY           68069879164
5371B78224B28B   AMBER          OLBERDING                NE           90012337822
5372127685758B   HANNA          APODACA                  NM           90014382768
5372264198B169   JENNIFER       MILLER-TRUJILLO          UT           90004536419
537236A5961975   GREG           LEONARD                  CA           90013976059
537236AA15B393   MANDY          OLSEN                    OR           44561006001
53724433A5758B   ERNEST         LUCERO                   NM           90014884330
5372874935B399   STEVEN         MCCUTCHEN                OR           90011347493
53729676372B49   JOSEPH         RODRIQUEZ                CO           90011356763
5372B552891534   BRENDA         GOODE                    TX           90009925528
537317A6276B75   MARIA          HERRERA                  CA           90013007062
53732497A57157   ELIZABETH      ROBERTS                  VA           90011164970
53733746672B88   MICHAEL        KHAN                     CO           90003817466
537342A847B46B   TAY            SUMPTER                  NC           90013202084
537344A9593724   JESSICA        RICHMOND                 OH           90010214095
5373541765758B   JESSICA        ARROYO                   NM           90014854176
5373773975B399   MAHADHI        MAHADHI                  OR           90010247397
53738949A2B27B   NADIA          STEVENS                  DC           90010919490
5373926585B393   MICHEL         PEREZ                    OR           90013182658
53739283772B49   BENJAMIN       GRAY                     CO           90014772837
5374241813B387   SARAH          SNEAD                    CO           33034404181
5374292347242B   JEROMY         PEGG                     PA           51006789234
537436A615B399   MONICA         HEUSEL                   OR           90013906061
53747458A72B36   THERESA        VALENCIA                 CO           90008034580
5374826955758B   RAYMUNDO       VENEGAS                  NM           90013542695
5374978425715B   KAREN          MCKEON                   VA           90010727842
5374B1A1461975   JACKY          WILLSON                  CA           90010041014
5374B9A4972B49   CHAD           SOLSRUD                  CO           90013629049
5375176A172B27   SYLVIA         TRIJUILLO                CO           90011267601
5375359415B531   ENJOLI         SENA                     NM           90010245941
537544A3633699   DANIEL         HAIRSTON                 NC           90010394036
53754732898B2B   CHENELL        MASSICOT                 NC           11088857328
5375856A991895   EAVAN          CRAVEN                   OK           90012685609
53761339A72B49   JAMES          HUETER                   CO           33000833390
5376382A561975   SAUL           ONTIVEROS                CA           90010048205
53764A8977242B   EDWARD         CAMPBELL                 PA           90011340897
5376582518B169   WAYNE          FAWBUSH                  UT           90014698251
537682A4333699   NICOLASA       FRANCISCO                NC           90013362043
5376B388872B77   TY             GALES                    CO           90011253888
5376B687457157   SYLVIE         ATSAMA                   VA           90011026874
53772A62461975   ALAN           RODRIGUEZ                CA           90010650624
53773A82A7242B   JOHN           PERKEY                   PA           90013960820
53777388272B49   ADRIENNE       DANIELSON                CO           90004373882
537791A5A61973   ADAM           NUNO                     CA           90001201050
53779621A72B27   NICOLE         ARAGON                   CO           90013696210
5377977298B169   KATIE          STANGER                  UT           31040127729
5377B99535B531   DAVID          BRYANT                   NM           90012119953
5378162535715B   SENI           JIMENEZ                  VA           90010256253
537823A5857157   STEVE          LANHAM                   VA           90014403058
5378454A172B88   MARC           CABRAL-DECEUS            CO           90005845401
53787A6A984357   BYRON          CUENCA                   SC           90002830609
5378848A27B46B   CHRISTINE      STEWORT                  NC           90010974802
5378B2AA485928   DUSTIN         HANNAH                   KY           90013422004
537926AA357157   CARLOS         PACKWOOD                 VA           90011036003
53793A42757157   MARIA          ESPINOZA                 VA           90013380427
53795A65461473   DYSTENI        QUINTANILLA              OH           90015050654
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53797A6885B271   TAWANDA             MACHIRI              KY           90007340688
5379813228B169   LJ                  SMITH                UT           90012941322
53798828672B43   BEAU                PEPLOW               CO           33012068286
537988A6A91534   JASON               JORDAN               TX           90013148060
5379B749191552   ALICE               BELLAH               TX           75065457491
537B275A88B169   ROBERT              MOLLER               UT           31084887508
537B2889757157   QUATEASE            TANN                 VA           90011018897
537B6756261973   CRYSTAL             DIAZ                 CA           90013717562
537B775885B399   PAYGO               IVR ACTIVATION       OR           90013457588
537B81A5A61973   ADAM                NUNO                 CA           90001201050
537B915AA91895   JODY                MONTEILH             OK           90013931500
538122A6671964   CARLOS AND MARTHA   AGUILAR              CO           90014722066
5381317397242B   SANDRA              BRENTZEL             PA           90011651739
53813252872B77   LISA                PEREZ                CA           33080072528
53813853A72B43   JOSHUA              PARKS                CO           90010768530
53813A19A91988   BYANCA              ARAUJO               NC           90004270190
538142A6671964   CARLOS AND MARTHA   AGUILAR              CO           90014722066
538152A6671964   CARLOS AND MARTHA   AGUILAR              CO           90014722066
5381577495715B   DAMIAN LESTER       BRATHWAITE           VA           90011367749
53817431824B42   EDWIN               LOPEZ                DC           90013054318
53817725224B42   EDWIN               LOPEZ                DC           90010577252
5381779552B27B   DAMIEN              DEMUS                DC           90015087955
5381815435B543   ARAUZ               JUAN                 NM           90013651543
5381B165161975   CRISTINA            ZARAGOZA             CA           90013091651
5382134A82B27B   DOMINIQUE           MOTEN                DC           90002793408
53827257672B27   NANCY               GUARDADO             CO           90004182576
53828242772B43   LUIS                CASILLAS             CO           90014052427
538296A2761973   CARLO               ZAVALA               CA           90012946027
5382B379A77574   SIFREDO ANTONIO     POLANCO              NV           90009763790
5383138925B387   KAYLA               CRAIG                OR           90013683892
538339A7A8B169   CHERISH             DURAN                UT           90014709070
53835843272B49   ESMERALDA           ZUBIA                CO           90004258432
53838AA5A61973   JESUS               NAVARRO              CA           46001220050
5383B243771964   MELISSA             HARRIS               CO           90014722437
5383B7A8876221   LOLA                WILLIAM              GA           90014177088
538422A785758B   ARACELI             RAMIREZ              NM           90013182078
5384235A133696   TRACI               SIMMS                NC           90013813501
5384395758B169   JENNIFER            CUNNINGHAM           UT           90014709575
5384728545715B   JOSSELIN            LEON                 VA           90011392854
538477A4557157   SAUTEKIA            SAAHIC               VA           90011037045
5384B183386443   NELY                ELIZONDO             SC           90012661833
5384B4AA657157   WILLIAM             VIPRAIO              VA           90013404006
5385127235B543   ERIC                DEVORE               NM           35073202723
53851A76133696   BRYANT              GORDON               NC           12071800761
53853959572B36   SONIA               PEREZ                CO           90008599595
53854592576B75   ANTONIO             ROSAS                CA           90011305925
53856295A84357   YASHIKA             BROWN                SC           90011202950
5385B675172B36   DANIEL              MORRIS               CO           90012336751
53862584A61971   COLIN               GUNN                 CA           46082285840
5386291815B393   KHADIJO             SUFI                 OR           90014459181
538631A6391895   ELIZABETH           SINGLEY              OK           90011351063
53864319272B49   MATILDA             MARQUEZ              CO           90015313192
53864921A5B393   ALEXANDER           GIANA                OR           90014459210
53865422872B43   ALEXANDRO           CESENA               CO           33077104228
53865A24761975   CESAR               PICAZO               CA           90007930247
53867967572B43   DANIEL              A. SOSA              CO           33006399675
5386864632B27B   SADE                COOPER               DC           90001436463
538693A754B28B   ALBERTO             HERNANDEZ-PORCAYO    NE           90011583075
5386B2AA233696   JENNIFER            DUNCAN               NC           90012042002
5386B918133699   DARREN              BROWN                NC           90010999181
5387258A776221   JOHNNY              GAY                  GA           90014595807
53876795A91895   KAYLONI             COVINGTON            OK           90008427950
53877A3815B387   LUCINO              PEREZ                OR           44515130381
53879AA3161971   TRAVIS              BARRER               CA           90015180031
5387B171833696   ANDREA              TOWNSEND             NC           90014171718
53882647A5715B   JACQUELINE          SHELTON              VA           81010926470
538835A3661973   MELISSA             RUIZ                 CA           90013115036
5388484A972B49   AMANDA              ANDERSON             CO           90013438409
5388697178B169   BRIAN               ELLSWORTH            UT           90014709717
53886A56572B88   KAITLYN             LAST                 CO           90003190565
53888486476B75   OLGA                CANO                 CA           46068244864
5388B2A8771964   JOHANNA             POMPA                CO           90007192087
53891545A2B27B   VICTOR              JONES                VA           90013145450
5389268255758B   OBDULIO             PEREZ                NM           90007126825
5389294374B28B   BRENDON             SMITH                NE           90010609437
53892A66961975   PEARL               AYON                 CA           90007930669
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538995A2791895   RACHEL            SCOOPER               OK           90012855027
5389B672661971   ESMERALDA         EL CANTERRA           CA           90000636726
5389B998261975   RAFAEL            ORTIZ                 CA           90013119982
538B1831661975   ANDRES            VASQUEZ               CA           90014748316
538B2258461971   RAY               RICHMOND              CA           46006832584
538B22AA491895   MARIA GUADALUPE   FLORES                OK           90013932004
538B2791A76B75   MENDOZA           JUAN MANUEL           CA           90002767910
538B3169161975   JORGE             LOAIZA                CA           46062841691
538B5987991B79   CECIL             JOYE                  NC           90009689879
538B5A18743569   CANDACE           ROGERS                UT           31008870187
538B6216533696   LASHAI            AUSTIN                NC           90014942165
538B699A872B49   CATRINA           WINTERS               CO           90004029908
538B6A24633699   SANTOS            MAURICIO MOLINA       NC           90003870246
538B829895758B   DELILA            MELENDREZ             NM           90010882989
538BB37A272B43   MICHELLE          REYES                 CO           90012863702
5391136A357157   VERONICA          LEMUS                 VA           90011113603
5391148314B28B   ANGELA            COLEMAN               NE           90008334831
53912A5934B588   DEBBIE            CRESPO                OK           21516420593
53914231272B88   PHILLIP           KOCER                 CO           90010542312
5391473117242B   LORI              VENTURELLA            PA           51082367311
5391928955B399   FREDY             PALOMO                OR           90007952895
53919753772B49   FREDDY            ALVAREZ               CO           90012757537
53919A3384B28B   STACIA            FLURY                 NE           90011320338
5391B328372B27   ROBERT            GARDNER               CO           90012733283
5391B416771964   CHELSEA           MANNING               CO           90007194167
53922386872B36   ANGEL             MADDEN                CO           90003933868
539223A748B169   JUDITH            GONGORA               UT           90014713074
539241A4372B77   EMMANUEL          NSHIMIYIMANA          CO           33063211043
539243A748B169   JUDITH            GONGORA               UT           90014713074
53924689A57157   SHEKU             KONNEH                VA           90012686890
53927A3154B28B   SHANNON           JANIKE                NE           90011680315
5392B554A72B36   MATTHEW           ALLEY                 CO           33006545540
5393173A372B49   AHJAHNAE LEHSAE   MARTINEZ              CO           90012387303
5393456A461973   VAU               SILIGA                CA           90004715604
5393712885B393   AMY               BRISTOW               OR           90008381288
53939727172B43   JAIME             ANCHONDO              CO           90006797271
53948496A33696   MUSA              SAVAGE                NC           90011214960
5394861287242B   MICHELE           JONES                 PA           90007996128
5395761748B169   NATALIE           SMITH                 UT           90014716174
53957725172B36   MICHAEL           LEWIS                 CO           90013787251
5395B42345715B   MABEL             RAMOS                 VA           90002024234
5395B61748B169   NATALIE           SMITH                 UT           90014716174
53962A39A62322   HUMBERTO          TORRES                AZ           90014050390
53968724172B27   AMANDA            WATERS                CO           90007367241
5396B71785758B   GEORGE            CARDENAS              NM           90012597178
5397252325B393   GILBERTO          CANCHE CASTILLO       OR           90013955232
5397436A972B27   BALDOMERO         VILLANUEVA            CO           33081293609
5397563332B27B   JOE               SIMTH                 VA           90012756333
53976289972B67   DOLORES           MENNING               CO           33035562899
53984898572B36   FORREST           GARRISON              CO           90012988985
539868A5472B36   BRENDON           JOHNSON               CO           90012348054
5398977295B531   HEATHER           GLASSCOCK             NM           90014967729
5398B3A5771964   PEDRO             VALLE                 CO           90013023057
5399233437242B   ALBERT            CARALLI               PA           90009533343
53992442A57157   ANNIE             OVALLE                VA           90005434420
53994834A71964   ALEXIS            SANTIAGO              CO           90008808340
5399947712B27B   MARIA             LOPEZ                 VA           81062194771
539B1446533696   KALLISHA          GIBSON                NC           90011214465
539B369A25B531   CARLOS            GALVAN                NM           90015336902
539B44A855715B   WILFREDO          ESTRADA               VA           90009264085
539B458845B393   MICHAEL           SAMAOTA               OR           90004315884
539B5823584357   DON               MERCER                SC           90010068235
539B9511561973   ANTHONY           LAMONT                CA           90013745115
539BB97997B46B   KELLY             LENNON                NC           90011069799
53B1116815758B   GABRIELA          VALARDE               NM           90013961681
53B129A7461973   FABIOLA           JORDAN                CA           90005049074
53B1321917B46B   MARCUS            STEELE                NC           11076012191
53B17159684357   JESSICA           NECESSARY             SC           90014601596
53B176A435715B   ZAYDA             FUENTES               VA           81047346043
53B1B253172B43   SARAHI            SALCIDO               CO           90010752531
53B1B599461973   IVAN              MARTINEZ              CA           90010115994
53B1B74844B52B   LACRESHA          COUNTS                OK           90011257484
53B21111193782   MELINDA           DUNCAN                OH           90008191111
53B21AA5743569   TEA               JESSE                 UT           90005740057
53B2265A433696   RONNIE            FARROW                NC           90011136504
53B22811955959   MICHAEL           NANEZ                 CA           90010028119
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 506 of 1007


53B243A345B393   AILEN                    ABASEAL        OR           90003553034
53B24A99972B27   ARLINDA                  CONTRERAS      CO           33018120999
53B25383A61497   ASANTE                   AIDOO          OH           90014673830
53B25931471964   TABITHA                  WRIGHT         CO           90010439314
53B26844561975   DOROTHY                  PINAULA        CA           90014128445
53B26985171964   INTERNATIONAL BOARDING   AND PET        CO           90008989851
53B27332A2B242   SHARELLE                 THIGPEN        DC           90008613320
53B27876461973   LYNETTE                  GALVAN         CA           90010308764
53B28734672B67   JOHN                     BRADSHAW       CO           33035847346
53B28815A84357   BRANDI                   PRINCE         SC           90014608150
53B33369A5B531   TIANA                    RODRIGUEZ      NM           90013203690
53B34918972B36   ANN                      PORCELLY       CO           90015149189
53B357A587B46B   ONUQUA                   CHISOLM        NC           90003747058
53B36441743569   NICK                     SHARP          UT           90001884417
53B3873175758B   TANIA                    GOLDEN         NM           90009687317
53B38771291534   ROCIO                    DOMINGUEZ      TX           90014067712
53B3889887B46B   KEMANI                   WALKER         NC           90014308988
53B4143655B271   CEDRICK                  GRIFFIN        KY           90004394365
53B41695481664   TERESA                   WEAVER         MO           90008746954
53B422A4685928   ASHLEY                   SHACKELFORD    KY           90014622046
53B4364A761971   AIOTEST1                 DONOTTOUCH     CA           90015116407
53B47254561973   MIGUEL                   MUNOZ          CA           90013892545
53B4B17795758B   JOSE                     MALDONADO      NM           90012361779
53B4B48715B387   DWAYNE                   JUDGE          OR           44575464871
53B51457271964   BETH                     GELLERMAN      CO           90009714572
53B5249AA2B27B   ABRAHAM                  GONZALEZ       DC           90014254900
53B5332975B393   SOFIA                    SALINAS        OR           90013953297
53B5493242B27B   ALMA                     HERNANDEZ      DC           90006369324
53B5815855758B   GRADALUPE                DURAN          NM           90009401585
53B58799A33696   BRYAN                    SLIVER         NC           90010737990
53B58A25461971   KIRBY                    WALLER         CA           90009820254
53B5BA39461973   ANGEL                    GONZALEZ       CA           90014830394
53B61514172B36   RAQUEL                   VILLAPANDO     CO           90013315141
53B63293491534   CAROL                    DIAZ           TX           90009422934
53B6357652B27B   LARRY                    DRAKEFORD      DC           90012845765
53B645A2961973   AMBER                    RAMIREZ        CA           90012375029
53B67412661973   ESTEFANY                 CARBAJAL       CA           90007574126
53B67647991895   DYLLAN                   MANESS         OK           90013926479
53B6824A824B7B   ERICK                    GARCIA         DC           90012842408
53B68A6A65B393   MANO                     SMITH          OR           90014100606
53B69477633699   KENDRA                   BUTLER         NC           12095404776
53B6B165691587   FERNANDO                 FERNANDEZ      TX           90013481656
53B6B753433699   SEYMORE                  BUTTS          NC           90012257534
53B6B768961971   MATHEW                   RISSE          CA           46074807689
53B6B821433699   IVAN                     FLORES         NC           90014318214
53B74A6162B245   ZONEIL                   WILLIAMS       DC           90007250616
53B7633858B169   COREY                    WALKER         UT           90015193385
53B7739135758B   LUZ                      MORALEZ        NM           90013003913
53B77988161975   KEVIN                    COLLINS        CA           90013619881
53B7947148B169   PEARL                    TOPANOTES      UT           90011294714
53B79538155959   ANABEL                   VENEGAS        CA           90011015381
53B7B197491587   ISABEL                   CHAVIRA        TX           90013481974
53B8221A384357   YOLANDA                  SNELL          SC           90010202103
53B84342993724   ROZ                      SMITH          OH           64561483429
53B85297461971   CHRIS                    PLUMLEE        CA           90009302974
53B8637817242B   JEREMY                   WATSON         PA           90012833781
53B873A4572B43   EDGAR                    CORONA         CO           90003943045
53B8B45375B393   ABIMAEL                  MENDOZA        OR           90012794537
53B9182965B531   LOUIE                    GONZALES       NM           90012188296
53B92113172B49   DAVID                    JONES          CO           90000211131
53B9453387B46B   KEYA                     ALLEN          NC           90011505338
53B9656A44B588   JODY                     HILL           OK           90014995604
53B9665A491895   KEACHA                   WILSON         OK           90013926504
53B97776A5B399   MATTHEW                  CALVIN         OR           90015337760
53B9894825B387   GAYLORD                  DREW           OR           90006009482
53B99373372B27   PATRICK                  ZABRANO        CO           90007853733
53B9B759591534   GLORIA                   WILLIAMS       TX           90006267595
53B9BA8788B169   JOHN ROBERT              TURGEON        UT           90014180878
53BB17A9198B2B   CASEEM                   CORNELIUS      NC           90005737091
53BB2763472B27   SALVADOR                 RODRIGUEZ      CO           33012867634
53BB52A5376B75   CHRIS                    DAY            CA           46051602053
53BB599A15B387   KAMLA                    DEVI           OR           90013819901
53BB91A585B393   AARON                    WELCH          OR           90011211058
53BBB6A6833699   PETER                    RAMOS          NC           90010856068
54111237872B43   AARON                    BARELA         CO           90014932378
5411143335758B   MIGUEL                   CASTRO         NM           90010394333
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54113288A72B43   JOSE PABLO     LORENZO                  CO           90007532880
5411B8A5331428   JENELLA        NORMAN                   MO           90005388053
54122A4A672B38   SHAWNTAY       CORDOVA                  CO           90014790406
54123614272B38   LYDIA          ADAMS                    CO           90010336142
5412466127B46B   ROBERTO        RAMIREZ                  SC           90010326612
5412537425B387   CRUZ           RAMIRAZ                  OR           90014833742
54126834A5758B   DANNY D        VALDEZ                   NM           90008118340
5412686A493724   CHRISTINA      DAY                      OH           90013948604
54127A29333699   DERRICK        PARSONS                  NC           90011890293
54127A3A124B7B   INDIA          DEAN                     DC           90012740301
5412913715715B   JEROME         COONEY                   VA           90012881371
5412B261A5B399   JACOB          COON                     OR           90012092610
541317A987B46B   KRYSTA         KEY                      NC           90009477098
5413184585715B   EBENEZER       SMITH                    VA           90013978458
54131A35872B49   ESTEVAN        VALVERDE                 CO           90013560358
541328A7391895   KEVIN          SHANDY                   OK           90009468073
5413398344B588   EDUARDO        MAYA                     OK           90013539834
54135992772B43   NICHOLAS       CARSON                   CO           90004219927
5413B493A43569   JUSTIN         ODENTHAL                 UT           90006994930
54143459698B2B   TRACIE         SAUTHERLAND              NC           90009174596
54143A66672B36   NICOLAS        EASTLAND                 CO           90010360666
54145433A5715B   DAVID          JAMES                    VA           90015094330
54145A7625715B   DAVID          JAMES                    VA           90004560762
54147343272B67   WILLIAM        MILLER                   CO           90007843432
5414B58A361973   KHALID         ZAALAN                   CA           90011515803
5415136A85715B   DAVID          LLLOYD                   VA           90011203608
54157A6985758B   MICHAEL        MARTIN                   NM           90013930698
5415983365B531   JOHN           CARVER                   NM           90005878336
5416144482B27B   WILLIAM        ASHBY                    DC           90009144448
54161528598B2B   ALEJANDRO      HERNANDEZ                NC           90008795285
5416212384B588   SHAYNA         PALMER                   OK           90010851238
54163479A72B49   BHARANI        JAYARAMAN                CO           90007844790
5416993115B531   JOSEPH         HELGESON                 NM           90010579311
54171498A5715B   MARIA          URREA                    VA           90012894980
541715A675B399   ALONZO         GARNER                   OR           90012785067
54171866272B38   ROSALBA        ESCOVEDA                 CO           90014578662
5417313337B46B   IISRAEL        VASQUEZ                  NC           90010651333
5417418A55B399   JACOB          HELZER                   OR           90015201805
54174911472B49   VERONICA       SCHIWART                 CO           90013819114
5417982A177574   ROBERT         ORTEGA                   NV           43088158201
5417B43275715B   STACY          PRICE                    VA           90014324327
54181218972B67   MOREL          DE JESUS                 CO           90001852189
5418199215B399   STACY          FREY                     OR           90006309921
54182676A91587   MANNY          AGUIRRE                  TX           90009216760
5418369A793724   TAYLOR         GAYHART                  OH           90012446907
5418566A85B393   PATRICK        BUCK                     OR           90002936608
5418571877B46B   JUSTIN         WALTERS                  NC           90013757187
5418614325715B   NICHOLAS       CANTOW                   VA           90010701432
5418694845B531   JUCILIA        SANTOS                   NM           90013819484
5418716A276B75   JOSE AMGEL     MEJIA MENDOZA            CA           90008541602
5418884174B588   MIGUEL         VELAZQUEZ                OK           90012828417
5418886567B46B   JOHNY          TAYLOR                   NC           90013628656
54189456457B81   CARLOS         VALCAZAL                 PA           90014114564
54189515A72B67   AHMED          ELHAG                    CO           33006675150
5419131845758B   ROBERT         LOFGREN                  NM           90012753184
5419483645715B   DENVER         BATES                    VA           90012868364
5419576632B27B   NILE           WEAVER                   DC           90014007663
5419B317A5715B   ABEL           SALAMANCA                VA           90013783170
541B1529A93724   SHENAE         CAMPBELL                 OH           90011455290
541B19A817B35B   JAQUELINE      MALDONADO                VA           90002889081
541B6574533699   ASHLEY         CANTY                    NC           12086105745
541BB8A537B46B   KIMYETTE       WHITFIELD                NC           90013748053
54211195A55959   PEDRO          NUNEZ                    CA           90012111950
54212635776B75   AIOTEST1       DONOTTOUCH               CA           90015116357
54212AA464B565   ARTURO         CASTRO                   OK           90010920046
54216499224B7B   RICHARD        SMITH                    DC           90009044992
5421742584B588   JUNIOR         LOPEZ                    OK           90010034258
54218239872B43   RAYMOND        SMITH                    CO           90014932398
542213AA74B588   JESUS          MOSQUEDA-RUIZ            OK           90007303007
54224469698B2B   CERELA         MEBIO                    NC           90011294696
54224784A61973   LUKE           COLE                     CA           90012927840
5422697567B46B   KHADENDRA      DARJEE                   NC           90010339756
542273A295B543   DOMINIC        VALLES                   NM           90014293029
54229A51151348   RENEE          MANASE                   OH           90013070511
5423218694B524   SOLOMON        WASHINGTON               OK           90011451869
54233142772B49   MARY           CASTRO                   CO           90003511427
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5423947A35B531   AMY            TURNER                   NM           90009734703
542416A473B399   WAKENDA        BREWSTER                 CO           33098226047
54242834A33696   CASSIUS        HALL                     NC           90012788340
54243539A72B36   ANGEL          PEREZ                    CO           90015115390
542469A7133696   LUIS           BARRERA MUNOZ            NC           90011329071
5424974844B588   DAVID          HERNANDEZ                OK           90012747484
5424B312761973   RIVERA         CORTEZ                   CA           90010633127
5425116814B521   CHARLES        SHUMAR                   OK           21595831681
5425218A55B399   JACOB          HELZER                   OR           90015201805
54252971272B38   JAVIER         ARVISO                   CO           90013019712
54252A71985928   ADAM           COWAN                    KY           90009070719
54256988272B27   MARCO          VARGAS LOZA              CO           90013529882
5426456A372B38   BRANDI         NICHOLE                  CO           90012435603
5426479515758B   SABRINA        LOZOYA                   NM           90010697951
5426622317B46B   SHARDISA       BENJAMIN                 NC           90012872231
5426673853B399   KARLA          OLIVEROS                 CO           90001597385
54269683572B24   PETTER         TUPPS                    CO           90010586835
5426972A533699   ERIKA          LIVINGSTON               NC           90003907205
54269A3A493724   JOETTA         JACKSON                  OH           64515420304
5426BA64272B43   ROBERTO        QUINTANA                 CO           33081730642
54272131172B38   MELISSA        NEWBURY                  CO           90004101311
542757A6276B75   SILENIA        MENDOZA                  CA           90006007062
5427753A693724   DENISE         BOSWORTH                 OH           90013085306
5428169934B536   KARINA         MOLINA                   OK           90012566993
5428263184B565   LA KIESHA      WHITFIELD                OK           90008826318
54283531998B2B   EBONY          HICKS-COSBY              NC           90011295319
5428649A325424   LISA           CZKALLA                  TX           90012874903
54288426672B27   ALEXIS         MARTINEZ                 CO           90012724266
5428979AA76B75   SHAWN          MATTSON                  CA           90014567900
5428B14725758B   SHANIECE       MELENDREZ                NM           90010181472
5428B53A693724   DENISE         BOSWORTH                 OH           90013085306
5429164937B46B   ALEX           VELASQUEZ                NC           90014446493
54291A9785715B   YAJAIRA        PORTILLO                 VA           81067830978
54292AA9391895   MISTY          MARTIN                   OK           90007970093
5429329A772B36   SEBASTIAN      RAMOS                    CO           90004852907
5429664323B387   CASSIE         CAMPBELL                 CO           90009446432
5429666A15715B   EDILBERTO      ANDREA                   VA           90010246601
5429751965758B   FLOR           RYAN                     NM           90014875196
54297A38A2B27B   ANTON          REID                     DC           90011050380
54298A79A61973   MARIA          WADLER                   CA           90012850790
5429B897333696   NKENGE         CARTER                   NC           90013138973
542B14A5233696   KELLEN         MCDONOUGH                NC           90013194052
542B524A25715B   CALVIN         BOXLEY                   VA           90012402402
542B6A37957157   CRYSTAL        ARRINGTON                VA           81093190379
542BB2A6961975   SANTIAGO       ZARATE                   CA           90013472069
542BB59185B283   TAMMY          MINGUS                   KY           68084975918
542BB989772B36   STEVE          SONNER                   CO           90013689897
542BBA9595715B   IRIS           LARA                     VA           90012700959
5431245544B563   CORY           HANCOCK                  OK           90013804554
54315696124B85   ENID           KUISSU                   DC           81010766961
543163A8155959   JESUS          VILLANEVA                CA           90007713081
543165A4672B49   WALTER         GUTIERREZ                CO           90005885046
543197AA785928   NAEL           LOPEZ                    KY           90013317007
54322112372B38   JESUS          PINEDA                   CO           90012991123
5432278235B399   KRISTINE       WAYER                    OR           90005837823
5432281A372B38   MELISSA        JONES                    CO           33067578103
5432357735B399   PATRICK        SCHAAN                   OR           90007175773
54325598A51348   RANDALL        GLARDON                  OH           90012225980
5432583172B27B   NICHOLE        HICKSON                  DC           90007548317
543272A4472B43   HANNA          NANNOLE                  CO           90014012044
5432835415B283   JAMES          KESSINGER                KY           90012203541
5432954915B531   PATRICA        GUERECA                  NM           35030435491
5432B138372B38   SHANNON        BAKER                    CO           90003221383
54333A58376B75   DIANA          GUEVARA                  CA           90003650583
5433465795715B   AGUSTA         ACHULLE                  VA           90010986579
543354A942B27B   TAMETRIS       MORRIS                   DC           90015074094
54336512A55959   LANBERTO       MENDRANO                 CA           90011465120
54342178872B27   LAMBORGHINI    BORREGO                  CO           90012741788
54342377276B75   ESMERALDA      PRETTY                   CA           90013833772
54343A75272B38   JAYDEEN        JACOBO                   CO           90011570752
5434687982B27B   MIRENA         HEIGH                    DC           90012428798
543492A915B399   KYLE           MASON                    OR           90015232091
543494A942B27B   TAMETRIS       MORRIS                   DC           90015074094
543498A735B399   KYLE           MASON                    OR           90014858073
54351964676B75   DEREK          BELLAMY                  CA           46031129646
54352117372B38   HERLINDA       DETORALES                CO           90012991173
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5435279A684357   PAYGO              IVR ACTIVATION       SC           90006617906
5435387175715B   MARISOL            MONTEROSO            VA           90013428717
5435631165758B   QUADALUPE          ONTIVEROS            NM           90013083116
5436383377B46B   WENDY              MERALY               NC           90013928337
5436924635B399   PATRICK            HUMPHRIES            OR           90014462463
5436B857172B67   SHANE              SUMSTAD              CO           90006398571
5437533AA5B531   JAMAL              MITCHELL             NM           90013453300
54376225A51348   EDGAR              PELCASTRE            OH           90010562250
5437718A972B27   GILBERTO           CALDERON             CO           90007601809
5437756A733696   MICHEAL            HALL                 NC           90003605607
5437964865B387   KACIE              WILCOX               OR           90013956486
5437B684233696   TRON               BLACKWELL            NC           90015056842
5438143A32B27B   TRACY              RAINES               DC           90012314303
5438778515758B   JAQUELINEE         GUTIERREZ            NM           90010707851
5438853154B588   TEHRI              OLIVER               OK           90013095315
5438865687B46B   MATTHEW            HEMDERSON            NC           90012506568
5438872867B46B   CARMEN             MUMFORD              NC           90014757286
5439112487B46B   AUDILIO            FUENTES              NC           90004441248
5439192564B588   BARBARA            FULTZ                OK           21516209256
5439519164B521   JOSHUA             WELCH                OK           21509301916
5439534915758B   RUTH               GUTIERREZ            NM           90006793491
54397A83472B38   TANYA              HINOJOSA             CO           90010300834
543B1235891587   NOEMI              MUNIZ                TX           90009332358
543B177765715B   MELVIN             FOSTER               VA           90014727776
543B499A361973   MICHAEL            ACOSTA               CA           90009299903
543B49A315B531   JESSE              MOLINA               NM           35081559031
543B5796272B36   RACHELLE           TAPLIN               CO           90011387962
543B7846A91587   NAPOLEON           MAYORGA              TX           90014848460
543BB541191587   STEPHEN            WILLIAMS             TX           90013805411
5441224995B176   TERRY              WATSON               AR           90003452499
5441325212B851   ANTHONY            ISOLATO              ID           90008312521
5441358645B247   SHARON             STAHL                KY           90012815864
5441531367B46B   DANIEL             MORRIS               NC           90010633136
54416598A98B2B   ANTHONY            WILLIAMS             NC           90011295980
54417178872B43   BENITO             PARAS                CO           90004871788
54417644472B49   NATASHA            AUSTIN               CO           90012246444
5442273A951348   LINDA              ROBERTSON            OH           90010697309
54424693A61973   EDWIN              QUIAMBAO             CA           90012886930
54424A2914B588   MELISSA            RESENDIZ             OK           90013810291
54425156872B27   ALEJANDRO          TALAMANTES           CO           90012741568
544269A1155959   JOVANY             PEREZ                CA           90009869011
5442B641861973   JORGE              CANO                 CA           90013046418
5442B79197B358   SAKHON             HAM                  VA           90000947919
5442B98985758B   DORIS              SULLIVAN             NM           90013859898
5443257155715B   MARIO              LAINEZ               VA           90013975715
54432698A91895   CODY               GANT                 OK           90014226980
5443462145B399   CLAYTON            KLEIN                OR           90007086214
54435597A55959   CARLOS             CANO                 CA           90014735970
5443578695B531   NORMAN             SANTIAGO             NM           90010357869
5443647765B531   BEATRIZ            CHAVEZ               NM           90010244776
54438A17633699   ALVIN              ALLEN                NC           90011360176
54439111572B38   MARIA DEL CARMEN   ESTRADA-TOLENTINO    CO           90011571115
54444375972B27   ALBERT             RAMOS                CO           90011093759
54445268772B49   ELIZABETH          JACQUEZ              CO           90009602687
5444848145B425   GREGORY            KENNELL              AL           90013834814
5444B355161973   HUGO ENRIQUE       TAPIA AVILA          CA           90006793551
54451988872B49   SOURACHATH         ROJANAPHONG          CO           90012679888
54458957A5715B   YOL                PETER                VA           90010459570
5445B4A942B27B   TAMETRIS           MORRIS               DC           90015074094
5446442A947959   NICOLE             BARRON               AR           90004384209
5446471375715B   MAURICIO           DIAZ                 VA           81096307137
5446485544B588   ANTHONY            JACKSON              OK           90012418554
5446716932B27B   MYRON              ATKINS               DC           90014661693
54467768576B75   PAMELA             RAMIREZ              CA           90012747685
54467A5237B46B   MAURISE            CLARK                NC           90010160523
5446897785B543   CRISTIAN           MARNTES              NM           90011299778
54468A6115B387   JOSH               BENZINGER            OR           90013970611
54469417672B49   RACHEL             GALLEGOS             CO           90012784176
544715AA155959   JOSE               ARCIGA               CA           90013405001
54473569A5758B   SAMANTHA           BURNSIDE             NM           90014045690
5447476A551348   GINA               PARTIN               OH           66089717605
5447594985B387   DESTINY            WAJDIK               OR           90011619498
5447715134B588   ESTEBAN            SERNAN               OK           90012271513
5447847595715B   JULISA             FUENTES              VA           90007854759
5447B321393724   MIKE               ROWE                 OH           90013953213
5447B415972B88   MERCEDES           CHAVEZ               CO           90006964159
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5448324A25715B   CALVIN         BOXLEY                   VA           90012402402
5448456542B851   CESAR          RODRIGUEZ                ID           42097145654
5448487A733699   OKEYMA         LEWIS                    NC           90012958707
54485436372B67   CLAIRE         CLARK                    CO           90002274363
5448637215B387   TEKA           CLEVIDENCE               OR           44507053721
5448B97A52B27B   CURTIS         ANDERSON                 DC           90014979705
544911A3461975   DIXANDERS      REYES                    CA           46004191034
54491224772B38   BOBBIE         VIGIL                    CO           90009822247
544917A5872B88   ANDREW         HENSON                   CO           90003247058
54492A29285928   GILBERTO       GUERRA                   KY           67015710292
5449431965598B   YRIS           PUMARINO                 CA           90011293196
5449431A181625   SARAH          DESCHEPPER               MO           90001203101
5449622134B588   SHERMAN        GRIFFIS                  OK           90014712213
5449976A65758B   ED             TSYITEE                  NM           90009767606
544B18A7972B27   MARIE          JESSICA                  CO           90007808079
544B2131398B2B   KAITLYN        CALDWELL                 NC           90010441313
544B399835715B   SANTOS         GRANADOS                 VA           90014069983
544B42A3661975   ALBERTO        SANTOS                   CA           90013292036
544B8395772B77   JOHN           ROBERT NEWELL            CO           90011013957
544B8632472B36   CINDY          MCCORMICK                CO           90013846324
5451111A155959   ADALBERTO      QUIRINO                  CA           90014951101
5451242A12B27B   MARK           LOPES                    DC           90012784201
5451349A172B36   ELIZABETH      GRAYS                    CO           90012904901
5451411955B387   LESLIE         TORRES                   OR           90009101195
54516278876B75   MERCED         FLORES                   CA           90003302788
54518148372B38   JOSE           VELAZQUEZ ALDAY          CO           90012991483
5451968757B434   SOILA          MONCADA                  NC           11029726875
5451B79725B393   PEGGY          HESS                     OR           44522447972
5452449A55B531   ABBAS          AL-SAKINI                NM           90012024905
5452591845B387   ABDIFATAH      MAILEH                   OR           90011579184
54526226772B49   WADE           HARRIS                   CO           33008092267
54526A35557157   CLAUDIA        ASTUDILLO PENA           VA           90011720355
54528A7245B387   DAN            MCNATT                   OR           90013970724
54532419472B27   ADRIANA        CAMPOS                   CO           90012714194
5453598345758B   JESUS          HERRERA                  NM           90010899834
5453687625715B   SILVIA         VEIZAGA                  VA           90011928762
54538731A72B36   TIFFANY        REEDOM                   CO           90012177310
5453BA4355B543   EDGAR          ROBLES                   NM           35040140435
54543512172B38   JOSE           PEREYA                   CO           90013665121
54543A41533696   CATHERINE      CRAIG                    NC           90004880415
545464A8A61975   DINA           GARATE                   CA           90010734080
5454656195B283   TIERRA         MOORMAN                  KY           90004235619
545482A2385928   GINGER         MULLINS                  KY           90010612023
54549529372B36   MAURICIO       FABIAN                   CO           90011865293
54551135A85928   JENNIFER       RESCH                    KY           90014711350
54552655976B75   DON            MOLLETT                  CA           90013896559
545558A1198B2B   ABONY          BRIDGES                  NC           90011298011
545612A1372B63   MARTIN         MARTINEZ                 CO           90010122013
54561628572B38   GARCIA         ALEJANDRO                CO           90010316285
5456186345B283   CHRIS          CURTIS                   KY           68028088634
54563555972B36   MINERVA        RAMIREZ                  CO           90011375559
54563917A72B43   ASHLEY         MARTINEZ                 CO           90012959170
5456424494B588   SCOTT          WINNER                   OK           90013532449
54566AAA785928   CHRIS          ELDRIDGE                 KY           90003790007
545693A3751322   CHRIS          DELRIDGE                 OH           90008013037
54571714798B2B   SHANTAVIA      SIMPSON                  NC           90012467147
5457625665B399   STEVEN         MCDOWELL                 OR           90008142566
5457682887B46B   DALLAS         LOWERY                   NC           90012368288
54579238A61975   MIGUEL         VALDEZ                   CA           90012872380
54579A32A4B588   LESLIE         SPERRY                   OK           90014680320
5457B416A5B387   MARCELLA       ANDERSON                 OR           90012314160
5457B422991587   QUETZAL        DEVINE                   TX           90009944229
5457B916761971   ANA LILIA      GEAIRN                   CA           90013509167
54581475972B38   MARIA          RIVERA                   CO           90014774759
54581A84972B36   BERTHA         MORALES                  CO           33023420849
54584977A4B588   JENNIFER       BIGBEE                   OK           90010149770
5458641322B27B   RENEKA         SPEARS                   DC           90012934132
545883AA461973   ANGELO         VECCHIONE                CA           90012453004
54588924176B75   JUAN           JIMENEZ                  CA           90013529241
5458B344555959   GONZALO        ALCARAZ                  CA           90013473445
5458B921872B77   HORTON         THOMAS                   CO           90006799218
545937A7A72B43   NGOZI          HARPER                   CO           90012957070
54593A75991895   TAMECIA        MILLER                   OK           90014740759
5459581A751348   CHRISTOPHER    DERKINS                  OH           90014138107
54598168776B75   RYAN           JANSEN                   CA           46086171687
54598642372B36   JORGE LUIS     SOTO                     CO           90013016423
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545B21A775B399   JOSH           FLEENOR                  OR           90012131077
545B2281991587   LISA           FACIO                    TX           90011052819
545B2853384373   KERRY          WASHINGTON               SC           90011908533
545B4752351348   HEATHER        SMITH                    OH           90014877523
545B7415557157   CRUZ           GONZALEZ                 VA           90001784155
545B7746A38522   RANDY          CARTER                   UT           90013087460
545B7972691895   AMBER          HARPER                   OK           21088229726
545B9629A61975   AIOTEST1       DONOTTOUCH               CA           90015116290
5461278455B387   DURGAM         AL TOFIYLY               OR           90013067845
54615991498B2B   ANTHONY        LAVEAU                   NC           90011639914
54615A8275715B   ORLANDO        RAMIREZ SORTO            VA           90000170827
5461776A82B244   TARIQ          KHAN                     VA           90009837608
54623492272B43   HOPE           LUCERO                   CO           33089404922
5462375272B851   AMANDA         THOMPSON                 ID           90005917527
5462427AA72B36   ALVARO         MENA                     CO           90008452700
5462452A131428   PATRICE        DICKERSON                MO           90005425201
54626466872B43   ALEXANDRA      CARRILLO                 CO           90010314668
5462912425B387   KATHLEEN       WAGNER                   OR           90013971242
5463494145B393   BYRON          WEISS                    OR           90011679414
5463515175B387   YAW            HAN                      OR           90004361517
5463764115B387   HIGINIO        LOPEZ                    OR           90010216411
5463B84284B588   JAMES          HYMON                    OK           90012828428
54643AA1361971   ANDREW         ALDANA                   CA           90013520013
5464624A95B399   VICTORIA       MCCOLLISTER              OR           90004702409
5464879286B257   ASHTEN         PETERS                   AZ           90013927928
5464886A161973   DELBERT        ADAMS                    CA           90002488601
5464924582B27B   TERRIE         HICKERSON                DC           90015092458
5464B96745B387   RODOLFO        GALINDO SANTOS           OR           90002139674
54654A54961973   BELEN          VASQUEZ                  CA           90013660549
5465745A176B75   JUAN           RIZO                     CA           90005154501
5465818475B399   KARA           KIRKPATRICK              OR           90014351847
54658A15472B38   JAQUELINE      LOPEZ                    CO           90013000154
54658A24A72B49   PATRICIA       RAMIREZ                  CO           33061660240
5465B639472B43   DAISY          ALVARADO                 CO           90014876394
5466141924B588   ELIZABETH      RAMIREZ-FRAIRE           OK           90010954192
54661648A61973   TYRONE         LEWIS                    CA           90011236480
5466299A361971   ANTONIO        NOLBERTO                 CA           90014899903
5466515275715B   SHIHAB         NOUH                     VA           90010721527
54666214972B49   MIGUEL         CARBAJAL                 CO           90012832149
54667A21161971   SHANEL         BERTUSSI                 CA           90013510211
54668983A31428   PATRICIA       GRELLE                   MO           27515529830
5466984284B588   JAMES          HYMON                    OK           90012828428
54674858A72B43   STEPHANIE      CHASE                    CO           90008738580
5467521464B521   MICHELLE       GATES                    OK           21558132146
54675443172B27   CRISTINA       RAMIRES                  CO           90015314431
5467921A593724   MARTIN         PULLEY                   OH           90011662105
5467B428572B49   FRANCISCO      TORRES                   CO           90007764285
5468144A984373   JOSEPH         MARLOWE JR               SC           90012474409
5468198A572B43   SISNNEROS      EMILIO                   CO           90010239805
54683556672B36   OSCAR          LOPEZ                    CO           33071525566
5468736A94B59B   TYCHA          PULLEN                   OK           90009533609
54691791972B43   BRIGITTE       SALDANA                  CO           33079257919
5469584737B46B   KALLARITI      SIU                      NC           90012888473
546988AA691587   ARANTXA        ZARATE                   TX           90013138006
5469B236384373   LETICIA        NAVARRO-HERNANDEZ        SC           90014992363
546B1A27376B75   JAMES          BALDWIN                  CA           90006040273
546B43A8651348   KRISTINA       KOEBBE                   OH           90014353086
546B5A55A5B399   RUBIA          LOPEZ                    OR           90013950550
546B6263877522   IVAN           FOX                      NV           90008852638
546B6321A84852   DAVID          BROWN                    NJ           90014413210
546B776927B43B   DENZEL         TERRILL                  NC           90011327692
546B843665715B   KING           PARTHENIA                VA           90002724366
546B942275758B   GILA           ARZOLA                   NM           90013304227
5471666A661971   DONTE          BETTON                   CA           90010946606
5471683A861975   LUCIO          ROJAS                    CA           46070908308
5471B671772B38   OLIVIA         AVALOS                   CO           33067016717
5471B76735758B   DAWN           MIRANDA                  NM           35510267673
5471B978543569   LAVE           WILLIS                   UT           90003199785
54723335A61921   JOSE           AVILA                    CA           90011813350
54724A28A85928   HOLLIE         BARGER                   KY           90010330280
54727372A72B49   LUCIANO        CASTRO                   CO           90012913720
5472BA54276B75   KIANA          BRABANT                  CA           90013080542
5473122945132B   JACINDA        ASHER                    OH           90010872294
54731AA852B27B   MICHAEL        MASON                    DC           90010830085
5473389A584373   JEFFREY        BERNS                    SC           90013928905
54733A28261975   MARCOS         OROZCO                   CA           90010270282
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547359A6985928   WEATHERS       MELODIE                  KY           90010609069
54735A11655959   PHILLIP        FLORES                   CA           90013830116
547364A5285928   BREAUNA        GLASS                    KY           90014224052
54737138772B36   DANNY          LUEVANO                  CO           90011191387
5473926615758B   MIRANDA        LEONEL                   NM           90011472661
547428A4A72B49   FRANKIE        GOMEZ                    CO           90013108040
54744229372B27   YVETTE         WILLIAM                  CO           33062472293
5474B257A5B543   SHIRLEY        QUINTANA                 NM           90003452570
5474B79A32B27B   JOSE           REYES                    DC           90013897903
5475144154B588   DANIS ALONSO   FLORES                   OK           90015184415
54755157472B67   ASHELY         VALDEZ                   CO           90009401574
5475626225B399   AMY            MARTIN                   OR           90006832622
54757644672B49   MARIO IVAN     SOTO                     CO           90013136446
5475B878972B27   TANNER         DELAGE                   CO           90009928789
5476163A651348   THOMAS         PERRY                    OH           90013226306
54761A77176B44   JESUS          LOZANO                   CA           90001710771
5476237325758B   ALEJANDRO      YEVERINO                 NM           90011153732
54766651872B27   QUENTIN        NEILL                    CO           90013826518
5476752A44B588   JESSIE         ARELLANO                 OK           90007505204
54769269472B49   RICKY          PENNINGTON               CO           90012332694
5476936445B393   JOSHUA         KREGER                   OR           90011503644
54769714172B49   LEROY          ROBINSON                 CO           90013517141
5476B4A2585928   NOELLE         BARNETT                  KY           90013374025
5476B948661975   ANTONIO        ORTA                     CA           90014949486
547712A842B27B   BRITTANY       SCOTT                    DC           90014922084
5477437987B46B   CHARIST        BAKER                    NC           90008453798
5477447385758B   AIMEE          ESCANDERO                NM           90011904738
54775A28172B38   DONAVAN        HAVILAND                 CO           90010990281
54777822376B75   MARLENE        GARCIA                   CA           90012798223
5477B59475B543   ROBERT         SANCHEZ                  NM           90004175947
54781A89572B38   DELORES        LUCERO                   CO           90010300895
54782236572B38   LAURA          GOMEZ                    CO           90008932365
54783A97955959   FABBY          DURAN                    CA           48076180979
5478455A991587   JOSE           PEREZ                    TX           90013805509
54785191372B43   XOCHITL        FRANCO                   CO           33030171913
5478522A572B27   WILLIAM        CARRUTH                  CO           90007682205
5478629A255959   MICHAEL        COVARRUBIAS              CA           90010462902
5478687425B393   CORENNA        FRANCK                   OR           90003978742
5479169555B531   SUGAR          MARIE                    NM           90012256955
547921A3533699   KOKETTA        WILLIAMS                 NC           90013621035
54793528272B38   MICKEY         MEDINA                   CO           90011045282
5479435975B399   FRANKLIN       CARSNER                  OR           90014993597
54795712572B43   ALEX IVAN      GUERRA                   CO           90010107125
5479689A584373   JEFFREY        BERNS                    SC           90013928905
54799672A51348   JOSHUA         ROTHWEILER               OH           90015126720
5479B677361973   KENNETH        MCCLELLAN                CA           90013006773
547B1A88476B75   ISAIAH         FISHER                   CA           90013780884
547B352265B399   MARY           JOHNSON                  OR           90014765226
547B4453361975   MELVIN         HARRIS                   CA           90013404533
547B6426233699   DETICIA        RUCKER                   NC           90014674262
547B8127791895   CHRISTY        GARDNER                  OK           90011001277
54811477A5715B   BABIKER        OBAID                    VA           90012624770
5481238297B46B   MICHAEL        DEVEN                    NC           90013703829
54813771A4B588   RICO           CASTILLO                 OK           90000447710
54814AAA272B36   ROSALBA        RAMOS                    CO           90010780002
5481523335B387   LASHONYA       MORRIS                   OR           90014802333
548188A9984373   DESIDERIO      SUT                      SC           90008638099
5481986A391587   MIGUEL         MALDONADO                TX           90014138603
54819A59261973   ULYSSES        RODRIGUEZ                CA           90013660592
54819A76484373   JOSE           GARCIA                   SC           90014000764
5481B272A61973   SANDRA         ALVAREZ                  CA           90015192720
54822A36691587   CECY           NAVARRETE                TX           90010780366
54822AA7461971   MARWAN         AZABO                    CA           90013130074
54825977A72B27   MARIA          MORA                     CO           33063769770
54826829572B49   JULIAN         LUCERO                   CO           90011328295
5482894528B181   VERNEY         QUIROZ                   UT           90008469452
548313A627B461   JUSTO          MENCIA                   NC           90001703062
548313AA991587   JOSE           PINA                     TX           90009303009
5483142635758B   ANTONIO        LUNA                     NM           90007564263
5483146555715B   BRENDA         SOLORZANO                VA           81012104655
54832A78561975   DANNY          CHRISTENSEN              CA           90010930785
5483474A361971   GENIVIVE       FOSTER                   CA           90000257403
5483B699691895   JEFFREY        WOODS                    OK           21068396996
5484135155B393   SHARON         NICHOLS                  OR           44503513515
548417A384B521   STEVEN         IRVIN                    OK           21577657038
54842171872B43   MAKAYLA        HONEYCUTT                CO           90008421718
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5484463875758B   GUADALUPE      DELHIERRO                NM           90013166387
548451A954B588   ALICIA         GARZA                    OK           90009991095
5484B27797B497   MICHELLE       ANDERSON                 NC           90014742779
5484B42795B393   BRIANNE        FUENTES                  OR           90010894279
5485178975758B   MELISSA        TSYTTEE                  NM           90009767897
5485348155758B   AARON          PEDRAZA                  NM           90011974815
548553A1385928   GLORIA         GARCIA                   KY           67081873013
5485B194843569   MICHAEL        OWEN                     UT           90008051948
5485B93A491895   JAMES          MAYFIELD                 OK           90013079304
54865A8645B387   DAVID          FORQUER                  OR           90014430864
5486745427B46B   WEDNA          DE SOUZA                 NC           90011464542
5486B25515B393   DIANA          HUGHES                   OR           44556082551
5486B954372B27   JASON          ADAMSON                  CO           90009459543
548726AA65B399   KELSEY         HAWS                     OR           90015106006
5487368AA85928   JOHN           REYON                    KY           90012266800
54875999A5758B   HOPE           CABRALES                 NM           90009469990
548773A695B387   ANNA           BENZ                     OR           90009013069
54877A43372B49   MARK           HELFMAN                  CO           33088800433
54878573272B27   BRENDA         MACIAS                   CO           90013645732
5488715947B46B   ANTRON         PEGUES                   NC           90000271594
54887A8735758B   DOUGLASS       UPSHAW                   NM           90007970873
5488966677B46B   KEVIN          BLACK                    NC           90008166667
5489132A15758B   LUZ            REYES                    NM           90014033201
54893652772B49   LORA           JORALIN                  CO           90013006527
548936A3855959   JONATHAN       GAYTAN                   CA           90005306038
54895118A5B543   ANDREA         BACA                     NM           90014011180
54896A17961973   JAMES          SIMMONS                  CA           90013810179
54897162672B36   MICHELE        RODRIGUEZ                CO           90012391626
548B2955157554   IRMA           APODACA                  NM           90008749551
548B2A34472B38   LAGEORGE       HADNOTT                  CO           90013000344
548B5271276B75   ALYSSA         STEIWERT                 CA           90012822712
548B54AA45B399   GLADICELLA     CRUZ                     OR           90009374004
548B5991791587   MELISSA        ROBLES                   TX           90014309917
548B68A4972B77   ALLYSON        KULINSKI                 CO           33032168049
548B854A657554   ALICE          SHANNON                  NM           90010345406
548B868975758B   CHARLOTTE      STOEHNER                 NM           90012146897
548B9826261975   JAMES          HYNUM                    CA           90007828262
548BB975772B27   JESSICA        MEDINA                   CO           90010139757
548BBA51151348   RENEE          MANASE                   OH           90013070511
54911952A3B352   GLEN           FISHMAN                  CO           90000219520
5491439A472B43   LAURA          HERNANDEZ                CO           90014823904
5491641895B531   FLORA          SERRANO                  NM           90009104189
5491798655B387   MELISSA        SEAMON                   OR           90009709865
5491BA62772B38   TROY           CHATTERLY                CO           90013000627
549222A982B27B   TIFFANI        TAYLOR                   DC           90013922098
5492437345B399   EMMANUEL       RODRIGUEZ                OR           90012343734
54924492972B27   JEFF           HELTON                   CO           90012084929
54924984A72B43   ERICA          GALINDO                  CO           33094999840
5492524A933696   TAWNNISHA      CHRISP                   NC           90014822409
5492658492B851   CARLOS         JIMENEZ                  ID           90010375849
549286A5891267   PATRICK        DONALDSON                GA           90012456058
549341A2A61975   JEFFREY        TODD                     CA           90014801020
54934A36291587   FATIMA         TINOCO                   TX           90010860362
54934A5A372B38   DIANA          PROO                     CO           90013000503
5493839475758B   JAVIER         FIELDER                  NM           90014043947
54938756A21631   AIREZ          EBERHARDT                OH           90013377560
54938A6215758B   JAVIER         FIELDER                  NM           90014060621
54942A7A751351   WILLIAM        DARIA                    OH           66016910707
54945249A76B75   EDGAR          ROJAS                    CA           90011002490
54951A95872B27   KATHERINE      LEATHERBURY              CO           90010450958
54957AA9476B75   RUFINA         IXCOY                    CA           90011850094
5495825A62B27B   TAKEISHA       GLOVER                   DC           90012882506
549594A6291587   RICARDO        BOCANEGRA                TX           90014694062
5495B416255959   RACHEL         CERVANTES                CA           90013524162
5495B574A91587   ISAAC          GARCIA                   TX           90013905740
54961912772B38   JAMES          GORDON                   CO           90013009127
54963368872B27   RALPH          ALLMAN                   CO           33028283688
5496521445B531   VALERIANO      LOPEZ                    NM           90005662144
5496547683B387   ABEL           RODRIGUEZ                CO           90013044768
54965665A5B387   GARY           PROCTOR                  OR           90014176650
54965912972B27   EMILIO         MUNIZ                    CO           90013379129
54968AA125B387   KINDA          SWEETLAND                OR           44551540012
5496B793691587   ALEJANDRA      CORONEL                  TX           90011717936
54973731A76B75   YESENIA        CRUZ                     CA           90011897310
5497436695B531   ANTONIO        TARIN                    NM           35085833669
549761A3676B75   JOSE           OLIDIO                   CA           46072191036
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549793A8276B75   JONATHAN        B NICKELS IV            CA           90012363082
5497B339633696   VICKIE          HARRIS                  NC           90015093396
5498396A12B27B   CLINTON         CARROLL                 DC           90010419601
54984935A55959   FRANCISCO       PARRA                   CA           90012789350
54988343A5B393   CHRISTINE       CREAMER                 OR           90004973430
54988593872B38   JAVIER          GUTIERREZ               CO           33043375938
54993998972B27   BRENDA          WHITMIRE                CO           90008079989
54994488172B67   JUANMANUEL      HERNANDEZ-IVARRA        CO           33068524881
549B2316961971   DENISE          AUSTIN                  CA           90011503169
549B4825A72B43   CLISTY          MEDIOLA                 CO           90001258250
549B5984872B49   GALE            BOULWARE                CO           33035689848
549B6377472B67   GINAMARIE       MICHIELLI               CO           90012383774
549B8877772B43   CHRIS           MCCUNE                  CO           33098708777
549B8A28572B49   ALEXA LOUISE    ELLIS                   CO           90013560285
549B916A951348   DEVIN           HALL                    OH           90013961609
54B11697551348   WILLIAM         BENNETT                 OH           90010326975
54B12552233699   KEVIN           HASKINS                 NC           90009075522
54B12641A41221   ASIA            CAMP                    PA           90014956410
54B13775976B75   PRINCESS        GUZMAN                  CA           90011387759
54B17A69672B38   MIKE            LUCERO                  CO           90010300696
54B1BA2495B387   JOSE            TORRES BARRAGAN         OR           90011880249
54B2185225B393   DAHN            ANDERSON                OR           90003978522
54B219A7772B38   BRANDON         HAYES                   CO           90014109077
54B24433184373   STEVEN          NELSON                  SC           90012934331
54B262A3661975   ALBERTO         SANTOS                  CA           90013292036
54B283A7261973   JORGE           GONZALEZ                CA           90014563072
54B2874692B851   SUSANA          ADAME                   ID           90012357469
54B2B183972B38   LILIANA         ARELLENO                CO           90013451839
54B2BA8A22B851   JORDAN          NEILSON                 ID           90003690802
54B3132517B46B   BENI            LUTALADIO               NC           90001823251
54B31934484373   JULIUS          FIELDS                  SC           90015019344
54B32516472B38   ABRAHAM         PASCUAL                 CO           90009865164
54B3864368B597   ISRAEL          VAZQUEZ                 CA           90013826436
54B38773733696   DOMINIQUE       BREEDEN                 NC           90014647737
54B3B71725B399   DONALD          BREAZEALE               OR           90014547172
54B3B7A1A72B43   SOANI           LOPEZ                   CO           90014727010
54B42159572B27   JAKE            DINCOLA                 CO           90012491595
54B42169A61971   CAPRICE         SMITH                   CA           90013171690
54B42332672B38   ALBERTO         FRAISO                  CO           90013243326
54B42895461975   MARTIN          OSUNA                   CA           90010748954
54B4332314B588   TIQUILLA        FRIDAY                  OK           90003163231
54B43A9242B27B   TYRICE          STANTON                 VA           90009510924
54B44A5745715B   ROBERTO         ALFARO                  VA           90013560574
54B46961384373   BASEM           SHALASH                 SC           19038539613
54B4899142B27B   RICK            SHULTZ                  DC           90008599914
54B4994695B399   KAYLENE         SONGER                  CA           44559769469
54B4B464A5715B   JOSE            MARTINEZ                VA           90014004640
54B4B9A3372B67   MUOISES         GARCIA                  CO           33057119033
54B52411651348   DENISE          ALLEN                   OH           90007234116
54B528AAA55959   DANIEL          CABALLERO               CA           90012248000
54B5416A27195B   JOHN            GARCIA                  CO           90012501602
54B56264985928   ANDREW          BECRAFT                 KY           90008452649
54B57354676B75   REYNA           AYALA                   CA           90009593546
54B5773282B27B   APRIL           JOHNSON                 DC           90010107328
54B5788635B387   JAY             RICHEY                  OR           90014288863
54B58466131429   LINDDSEY        OWNENS                  MO           90008794661
54B5856A95B387   EDUARDO         MARTINEZ                OR           90013955609
54B595A6891895   JOSE BERNALDO   GONZALEZ                OK           90009435068
54B5962955B243   DONNA           SOWARD                  KY           68024266295
54B5B12114B588   SHEILA          OWENS                   OK           90014511211
54B5B951661975   ALICIA          MACHADO                 CA           90014159516
54B5B973255959   CHRISTIAN       VALENCIA                CA           90012849732
54B62663293724   TAYLOR          MOORE                   OH           90014036632
54B62846857124   AMANDA          CRUZ                    VA           90008128468
54B6968A361971   DAN             BARLEY                  CA           46000156803
54B69969772B88   ADRIAN          TAKAHASHI               CO           90013599697
54B7192295715B   PABLO           MOLINA                  VA           90010699229
54B71A8A461973   ANTONIO         ELIZARRARAZ             CA           90004850804
54B72194472B27   DANIELA         BONILLA                 CO           90011941944
54B723A1691895   MICHELLE        FRANCE                  OK           90010203016
54B73591A55959   JESSICA         PEREZ                   CA           90013555910
54B77453484373   ROBERT          BUMGARNER               SC           90010484534
54B778A8591895   DAVID           SANDOVAL                OK           90008058085
54B77948661975   ANTONIO         ORTA                    CA           90014949486
54B78428272B49   JOHN            VO                      CO           90014174282
54B7963AA61971   ZINAH           DAWOD                   CA           90012066300
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54B86298333699   JIM            MANKINS                  NC           90011022983
54B88785851348   TRESA          VOGT                     OH           90014637858
54B887A4172B38   RENE           MARCO                    CO           90013047041
54B8976255B387   EDDIE          BLACC                    OR           90000197625
54B8B79AA42335   ALISHA         BARBER                   GA           90011797900
54B9147A35B531   AMY            TURNER                   NM           90009734703
54B91589472B49   SARA           BANOUN                   CO           90012425894
54B92323A93724   PAMELA         ANDREJCIO                OH           90011633230
54B92422A2B851   ALEXA          MARTINEZ                 ID           90011534220
54B95371772B38   ADAM           GRATEDA                  CO           90009663717
54B96179585928   ANGEL          HIGUERA                  KY           67068391795
54B96269861973   CAMELIA        RODRIGUEZ                CA           90012182698
54B9756275B387   JIMMY          RODRIGUEZ                OR           90013955627
54B9922974B588   LUZ            ALEJOS                   OK           90013532297
54B9B14A87B46B   TAHASHI        WILLIAMS                 NC           90013641408
54BB1A18472B38   ERIK           ZAVALA                   CO           90012990184
54BB253645B387   ADAM           WOHLTMAN                 OR           90013955364
54BB315285B399   JUSTIN         FISSEL                   OR           90012471528
54BB354595B387   LILA           BAUDEL                   OR           90012745459
54BB5527591587   MONICA         PALACIOS                 TX           90014005275
54BB5858393724   EDDY           RIVERA                   OH           64587908583
54BB666515715B   JAVIER         ORTA                     VA           90011906651
5511217844B28B   RONTRAL        BLUFORD                  NE           26066401784
5511282425758B   RIVAS          JUANA                    NM           90009958242
55114A59191587   ROBERTO        MUNOZ                    TX           90011060591
5511737882B27B   ERIKA          BUCHANAN                 DC           90014583788
55117A3175B338   SARAH          SMALLING                 OR           90010390317
5511926264B521   MEGAN          BREWINGTON               OK           90006902626
5512112432B851   CHRISTINA      SOTEROPOULOS             ID           42090191243
5512576122B27B   JOHN           SIMTH                    VA           90013147612
5512589995B399   MALCOM         RICHARDSON               OR           90014348999
5512679A172B36   BIANCA         ORQUIZ                   CO           90009467901
55127A47185928   FERRANDO       PEREZ                    KY           90008860471
5512966947B46B   ALEX           MART                     NC           90014166694
5512B162672B27   BRENDA         BORREGO                  CO           90008751626
5513177845B399   NOE            CAMARGO                  OR           90007727784
55131A3112B27B   KRAIG          BROWN                    DC           90012670311
55132339172B49   SEMAJ          OLGUIN                   CO           90010973391
55132927272B49   JOSE           AGUILAR MARMOLEJO        CO           90011359272
55135614372B49   ELSA           MARTONEZ                 CO           90010226143
55136651672B49   JESSI          TROCHEZ                  CO           90011656516
5513846814B588   MARIA          ZAVALA                   OK           90009964681
55139113A5715B   JAMES          WILLIAMS                 VA           90013331130
55139A4592B851   ZACHARY        FLORES                   ID           90005420459
5513B654891587   LUDWIKA        SOLIS                    TX           90013456548
55143292A72B43   JAMES          SANCHEZ                  CO           90010292920
551435A124B588   MARIE          ERVIN                    OK           90009405012
55144A73591895   LUIS           CHINCHILLA               OK           90014690735
5514786375B399   SEAN           LINDEN                   OR           90005218637
55148A6A55758B   POLLY          WILSON                   NM           90012400605
5514985135B387   ILON           INONA                    OR           90012398513
55149935A91356   SYLVIA         TOWNLY                   KS           90014759350
5515212515B543   ANTONIO        ARAGON                   NM           90005321251
5515445375715B   SALMAN         KHAN                     VA           90013034537
5515553384B588   ROBERT         REDFORD                  OK           90009855338
5515638852B27B   DANIELLE       WORRELL                  DC           90014583885
5515657A855935   JOSE           RAMIREZ                  CA           90007935708
55157A6A55758B   POLLY          WILSON                   NM           90012400605
55161769972B49   BEATRIZ        BATRES                   CO           90010377699
5516227A685928   HEATHER        MANSELL                  KY           90005982706
5516229152B851   ANDREW         MONAHAN                  ID           90010412915
551637A324B588   EDUARDO        MADBULL                  OK           90006367032
551673A164B588   DIANA          HARLAN                   OK           90014803016
551682A8491587   GUSTAVO        IBARRA                   TX           90011132084
551686A9A91895   JESSICA        RANSBOTTOM               OK           90013546090
55169522572B38   JUAN           GUTIERREZ                CO           90013065225
5516B299A2B27B   EXTASIS        CACERES                  DC           90010872990
5516B464191356   HEATHER        HARRIS                   KS           29093674641
551716A5472B38   ROSA           ZARAGOZA GONZALEZ        CO           90012876054
551729A6A4B521   JORGE          UVALDE                   OK           90001429060
55176338772B49   BRIAN          MORACE                   CO           90010293387
5517896845758B   VICKEY         ARREY                    NM           90012639684
55181A89372B27   JULIO          MADERA                   CO           90011930893
55182931272B38   JESUS          TALAMANTES               CO           90011179312
55186A2717B46B   MARIA          JONZALEZ                 NC           11004430271
55187333A51348   JENNIFER       LENOS                    OH           90014033330
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5518742845B399   FERNANDEZ      BECERRA                  OR           90012174284
55188639A33696   DAWNIELLE      MCGEE                    NC           90009346390
55189558A5758B   ERIC           CHAVEZ                   NM           90012025580
5518B3A995B531   ANA MARIA      RAMIREZ                  NM           35042633099
5518B5A6872B38   JON PAUL       COOPER                   CO           90011455068
5518B916A5B531   ANA MARIA      RAMIREZ                  NM           90012079160
55191A5282B27B   EDWIN          ROMERO                   DC           90007980528
551B2928772B38   KRIS           DEANDA                   CO           90011099287
551B451755B531   IMELDA         OLIVARRIA GAMBOA         NM           90010345175
551B557315758B   TODD           GANTZLER                 NM           90008185731
551B5784A57157   MOHAMMAD       IQBAL                    VA           90006387840
551B5A12791587   NICOLE         LUSHER                   TX           90013960127
551B865A22B27B   FELICIA        BRANHAM                  DC           90013486502
551B876A861971   AARON          ARMSTRONG                CA           46088967608
55212719A9B121   ANTHONY        THOMAS                   AR           90010297190
55217935A5B283   BEVERLY        JOHNSON                  KY           90006329350
5521972675B387   ARESLY         LOUIS                    OR           90011857267
55219A3685B283   SHELLARA       GRIFFIN                  KY           90009590368
5521B742133696   SHAMEKA        COLEMAN                  NC           90010967421
55224536A72B49   NICK           TRIMBLE                  CO           90010055360
55228943972B38   SILVIA         PRIETO TOLEDO            CO           90003609439
5522919525598B   JOSE           ROMERO                   CA           90007981952
5523154725598B   YOLANDA        VASQUEZ                  CA           90006275472
5523288A661973   APRIL          BERRY                    CA           90014538806
55236233972B85   JAIDYN         CORDOVA                  CO           90014252339
5523634254B588   SERGIO         SALAZAR                  OK           90014713425
5523636A261973   ELMER          ARRIGUNI                 CA           90003073602
55236569272B38   APRIL          REED                     CO           90015025692
5523796584B588   BRADLEY        WALDMAN                  OK           90008739658
55239736772B85   SILVIA         MEDINA-RODRIGUEZ         CO           90014257367
5524257194B588   TATYWONE       ANGLIN                   OK           90014265719
55242A6665758B   ANGELA         SEGURA                   NM           90009500666
5524359964B28B   COURTNEY       DAVIS                    NE           26048005996
5524597753143B   MICHELLE       CLAYTON                  MO           90014889775
5524619AA5715B   MARIA          HART                     VA           90011431900
552469A8361973   JOSELUIS       ARRIAGA                  CA           90011179083
55248494372B43   PATRICK        CARNES                   CO           90010124943
55248664172B36   LANCE          WINTERS                  CO           33071706641
5524889A772B43   PATRICK        CARNES                   CO           90011428907
55252237472B85   FLORENCE       PRZYBYS                  CO           90014252374
5525441674B28B   CYNTHIA        WEEKS                    NE           26039424167
55255872A72B27   JENNIFER       SERRANO                  CO           90014288720
55256247A61975   THOMAS         MEJIA                    CA           90013042470
5525793A172B85   ANTONIO        MORENO                   CO           90006689301
552585A1261971   MARISOL        GALEANA-ALONSO           CA           90009455012
5525864A872B38   VAILE          PRICE                    CO           90012876408
5525883864B588   JUAN           RODRIGUEZ                OK           90001358386
5526125575B531   SIGIFREDO      JIMENEZ                  NM           90012142557
55262867591B79   BERNARD        SIMPSON                  NC           90013938675
552674AA185928   DAKOTA         WOOD                     KY           90011904001
55267578272B36   SARA           RIVERA                   CO           90013095782
5526B77784B536   SHANE          MINSON                   OK           90013647778
5526BA8153B387   ITZEO          ORTIZ                    CO           90012530815
5527297924B588   LATERIA        DAY                      OK           90010899792
55275482272B43   JILL           SOLET                    CO           90015104822
552771A3A55951   TIMOTHY        TROTTER                  CA           90006751030
55279413324B7B   JORGE          VARGAS                   VA           90013544133
552835A7985941   MEGAN          CEHRS                    KY           90007775079
55284A2A672B49   CHRISTOPHE     VASQUEZ                  CO           33075040206
5528533852B27B   SHARRON        LIVERPOOL                DC           90012843385
55287A9675715B   NICKIE         STERLING                 VA           90013120967
5528914A584357   THELMA         STOKES                   SC           90013931405
5528B56975B531   DIANA          GALLEGOS                 NM           90003465697
552925A822B27B   DAMAR          MILLER                   DC           90014955082
55293988472B43   MICHELLE       CARTER                   CO           90003999884
55295238A5B271   ELOY           ALFARO                   KY           68070412380
5529568935715B   R              PINNA                    VA           90008656893
55296A9A72B27B   LISSETH        RODRIGUEZ                DC           90009500907
5529B743851348   ALISHA         DAVIS                    OH           90014097438
552B1549561973   HECTOR         MALDONADO                CA           90014855495
552B18A6333693   NATHANIEL      ROBINSON                 NC           90012988063
552B2355572B67   JONATHAN       SLINAS                   CO           33041703555
552B3A71891587   CARLOS         RENTERIA                 TX           90010410718
552B4743851348   ALISHA         DAVIS                    OH           90014097438
552B591344B588   REGINALD       DOTSON                   OK           90009649134
552B6314A5715B   VICTOR         BRANCH                   VA           90013113140
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552B7AA632B851   CAMI             JOHNSTON               ID           90006400063
552B9623272B38   MYAH             CONDON-LORICK          CO           90012876232
552BB649372B85   GABRIELA         GONZALES               CO           33019436493
552BB9A265B283   HEATHER          THOMAS                 KY           90002559026
5531215875B387   CHASE            CASTLE                 OR           90014791587
55316334A72B36   JUAREZ           DANIEL                 CO           90010373340
55317A46A61971   CANDICE LOUISE   RICKER                 CA           90011570460
5532199674B588   BREANNA          HOWE                   OK           90010899967
5532314755B399   ERIKA            HOLHOS                 OR           90011941475
553238A784B588   DOMINIQUE        GOTCHER                OK           90012428078
5532453525715B   CLAUDIA          FAJARIDO               VA           90010395352
55326112372B43   AMY              HESSE                  CO           90015001123
5532826A82B27B   MICHAEL          DEVANCE                DC           90014892608
55328513872B49   RYAN             JONES                  CO           90011195138
5532993875598B   LUCIA            JAREGUI                CA           48011869387
5532BA64651348   KEYONTAE         JOHNSON                OH           90010100646
553341A7A5B579   MONICA           TAPIA                  NM           90001261070
5533535292B27B   JOSE             MARTINEZ               VA           81054623529
55339284572B38   KEVIN            ANGELINI               CO           90014722845
5533B556A61973   MICHAEL          MUNOZ                  CA           90014575560
5534172525B531   KATERI           MONTOYA                NM           90011017252
55346752372B67   ROSE             SEGOVIA                CO           90001257523
553469A885758B   APRIL            HOLGUIN                NM           90014459088
5534838A943569   LIZETTE          RIOS                   UT           90007453809
5534943AA72B36   JUSTIN           ZIEMBO                 CO           90014444300
55351798172B88   RAUL             AYALA                  CO           90006507981
55354857972B49   SARAH            PEREZ                  CO           90007108579
553551A2991524   DOLORES          VEGA                   TX           90008521029
5535672255758B   PATRICIA         RAMIREZ                NM           90013797225
5535774537B46B   SHANAE           WITHERSPOON            NC           90013037453
55358218424B7B   RESHEN           MCCOMB                 DC           90001422184
55358577A72B36   PRISCILLA        LANG                   CO           90015045770
55358A3245758B   JULIE            MOSHTER                NM           90012800324
5535979A35758B   LUIS             DEL RIO                NM           90012617903
5535B15714B28B   JOSE RUBEN       FELIZ ACOSTA           NE           90001411571
5535B279155951   MARIA            GONZALEZ               CA           90009012791
5535BA9464B28B   MARGARITA        GONZALEZ               NE           90011350946
55363915A61975   LIONEL           PRADO                  CA           90013869150
5536468825B399   PABLO            LOPEZ TZUNUX           OR           44549656882
5536512314B588   PAYGO            IVR ACTIVATION         OK           90013381231
5536515385B399   CINDY            RIOS                   OR           90011511538
55368A29561973   JIMMY            ABIGANDO               CA           90012380295
5536B39227B46B   EMILY            ALBRIGHT               NC           90014763922
5536B773A61975   KRISTY           PATTERSON              CA           90011287730
55372385772B49   CRYSTAL          HASS                   CO           33030073857
55374431A91587   JARRED           JUAREZ                 TX           90013154310
55379A76633699   TIFFANY          INGRAM                 NC           12005580766
5538253A861975   ALEX             ZARIPOV                CA           90008865308
55382563A61975   BURGANDY         COLLINSWORTH           CA           90014495630
5538347797B46B   DEMETRIA         BROWN                  NC           90014984779
55386944672B27   NAYELI           AGUILAR                CO           90011499446
5538766A65758B   OLIVAS           GUADALUPE              NM           90011186606
55389A4635B399   SYLVIA           EVANS                  OR           90014450463
5539153152B27B   ROSIBEL          FLORES                 DC           90011975315
5539233565B271   ERIN             BORROWS                KY           90011043356
553928AA64B588   LAQUITA          MCCRAY                 OK           90012138006
5539527245B387   VALERIE          PIERCE                 OR           44588792724
55395A6715758B   JASMIN           TARIN                  NM           90015120671
553999A4233674   LEIGH ANNE       DODSON                 NC           90013749042
55399A77257B81   THOMAS           MILLER                 PA           90014570772
5539B639751348   DOMINIC          MILLER                 OH           90013936397
5539B784A5715B   MALENA           VILLARROEL             VA           90013127840
553B319217B46B   CEASAR           SYKES                  NC           90015191921
553B322A991587   CARISSA          RODRIGUEZ              TX           90014052209
553B5AA1657157   ISABEL           HERNANDEZ              VA           90013940016
553B783175B399   SAMPSON          JOHNSON                OR           90015278317
553B9194372B88   CLARK            GENTRY                 CO           33060331943
553BB43442B851   MARGARITO        RIOS                   ID           90010414344
55411576A91587   VIRGINIA         DE LA PENA             TX           90011015760
5541162A772B43   OSVALDO          MENDEZ                 CO           90012976207
5541256342B27B   JAMAAL           CHANDLER               DC           90014075634
55412AA975715B   WAIDEMAR         MARROQUIN              VA           90002330097
55413254172B36   JOSEPH           FISHER                 CO           90003142541
55414816372B49   AMBER            MERCADO                CO           90011068163
55415288372B38   DOMINIQUE        TAYLOR                 CO           90014722883
55417558972B93   BYRON            LOPEZ                  AZ           90014205589
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55417A7235758B   CARLOS          RAMIREZ                 NM           35501420723
55418215272B38   PABLO           GOZALEZ                 CO           33077652152
55418967272B38   ERCILIA         GARCIA                  CO           90009419672
5541B563391895   RAYMOND         VALENTIN                OK           90013655633
5542253925B283   TERRANCE        ANDREW                  KY           90010795392
55423453172B85   EARL            LOWE JR                 CO           33014764531
554237A7972B27   JACOB           REEVES                  CO           90009497079
55424A66261971   SHATHA          RAHIM                   CA           90001030662
554272A7833699   QUENITA         YOUNG                   NC           90014712078
55427A53772B27   FATIMA          WILLIAMS                CO           90012780537
5542BA94A61975   GLORIA          MURILLO                 CA           90011290940
554312A7833699   QUENITA         YOUNG                   NC           90014712078
5543325A485928   ALEXANDER       HUESTON                 KY           67030682504
55433987772B38   ANNE MARIE      MARTINEZ                CO           90011099877
55435337172B27   SARAH           MORAVETZ                CO           90014853371
55436169472B49   BELEN           TORRES                  CO           90014741694
5543619A95B531   MICHAEL         ROURKE                  NM           90011081909
55436333572B43   ALIA            KANAAN                  CO           90004713335
554364A7584357   KAIKA           LAWTON                  SC           90014424075
55439839472B35   MICHELLE        BOOKER                  CO           90013448394
5543B44445715B   ADAM G          PAREZO                  VA           90008734444
5543B626972B85   ANDREW          HALTERMAN               CO           90004826269
5543B62AA5758B   DIONNA          RIVAS                   NM           90013186200
5544136AA4B588   JENNIFER        CUCCARO                 OK           90012203600
554427A6A91587   BRITTANEY       DURON                   TX           90015177060
5544381148B12B   SERGIO          CORRANZA                UT           90005048114
554485A6891895   KEYON           JOHNSON                 OK           21049065068
55449278772B27   VENNINA         QUEZADA                 CO           90010702787
55455618372B38   CHRISTOPHER     RIVENS                  CO           90013936183
554587A7372B38   MARIELA         GUTIERREZ               CO           33011067073
5545981A74B28B   DEJUAN          LUMPKIN                 NE           90012928107
5545B397261971   ANA             BRESSNUTTI              CA           90012883972
5545B69A75B531   KIMBERLY        CANMARTER               NM           90013986907
5545B817972B36   IVAN            GARCIA                  CO           90006558179
5545BA8AA72B49   ANTONIO         MENDOZA                 CO           90007710800
5546227A557157   DANA            MARSHAL                 VA           81044342705
5546286A761973   JUAN            SMITH                   CA           90014728607
5546561A461971   RODRIGUEZ       GUSTAVO                 CA           90012146104
55468A63357157   JUSTO           ZEPEDA                  DC           81061430633
5546984997B46B   SHAKERA         GREEN                   NC           90007998499
5547144AA91356   ORLANDO         CHACON                  MO           90015034400
5547157314B28B   MICHAEL         SAMEK                   NE           90009775731
55472791372B67   MICHEAL         GUY                     CO           90011007913
55473818A61973   ANA             DE LA ROSA              CA           90013048180
5547833315B52B   CHRISTINA       HARO                    NM           90002853331
554784A8272B85   JOHNSON         WAREN                   CO           90001594082
5547855574B588   JACQUELINE      TAYLOR                  OK           90012585557
55479326272B85   SCOTT           UHRICH                  CO           33016613262
55479A1195B531   MATTHEW         SHUSTER                 NM           90012320119
5547B748931428   BARBARA         SHIELDS                 MO           90005337489
5548111742B851   NAOMI           MOLINA                  ID           42086181174
55483729A61971   JESSICA LEANN   REYES                   CA           90011417290
5548561325B271   TONYA           CARNES                  KY           90004276132
55486A6254B28B   ROXANNE         HAMILTON                NE           90009790625
55487682572B49   MARCELO         FLORES                  CO           33041236825
55489855A24B7B   LATOYA          WILLIAMS                DC           90013318550
5548994842B27B   TRACYE          REDD                    DC           90013689484
5549242515715B   JONAS           HERNADEZ                VA           81044744251
5549246137B46B   JOSE            ESPINOSA                NC           90012304613
5549373545758B   IGNACIO         NUNEZ                   NM           90009217354
55493A85172B38   ALVIN           AYERS                   CO           33064750851
55496291A72B36   JOSE            BAUTISTA                CO           90010802910
5549953385B387   MARK            BANKS                   OR           90014795338
554B115364B28B   JOSEPH          HOOPER                  NE           26079151536
554B244477B46B   NE              H                       NC           90014704447
554B376845B387   SKYLAR          WYLIE                   OR           90013827684
554B496345715B   RAQUEL          CHAVEZ                  VA           90013929634
554B535855758B   LUPE            GLOVER                  NM           90006813585
554B8A95872B49   CLARENCE        BERRYMAN                CO           90010220958
554B9255184357   EMMARYN         BARRETT                 SC           90013432551
554B98A4861973   MOISES          ORGUNA                  CA           90006268048
554BB227661971   JUAN            MENDOZA                 CA           46050942276
554BB659772B97   FAITH           BRADY                   CO           90012896597
55513948972B27   RAFAEL          QUINTANILLA             CO           33084079489
55514845772B36   KIMBERLY        OWENS                   CO           90013208457
55516A66172B27   CHRISTOPHER     VALENCIA                CO           90004100661
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55517931272B36   STEPHANIE              MANN             CO           90010129312
5551B29685715B   MAURICIO               LOPEZ            VA           90013132968
5551BA9A85715B   SANDRA                 COREAS           VA           90015030908
55523782672B27   JESUS                  ESTRADA          CO           90000187826
5552387384B588   BETTY                  HALL             OK           21573598738
55524A35433696   ANGELA                 LAMB             NC           12003640354
55526A4745715B   FREDDY                 CHICAS           VA           90008420474
5553686964B588   ERNESTO                ACOSTA           OK           90010898696
55538517A85928   MARCUS                 MARTINDALE       KY           90013015170
5553B87384B588   BETTY                  HALL             OK           21573598738
55541824776B7B   JULIE                  RALPH            CA           90011358247
5554244735B399   JAMES                  REYNOLDS         OR           90012744473
5554436A761973   TANYA                  ZEPEDA           CA           90006353607
5554629A272B53   SHARON                 LOCKE            CO           33095422902
5554636A85715B   ROGER                  ORTIZ            VA           90013923608
5554674145758B   ASTRID                 LUNA             NM           90012657414
5554775812B27B   WILLIAM                QUEZADA          DC           90013447581
55547A67651348   NANCY                  TARANTINO        OH           90000570676
55547AA5372B36   CHRISTINA              ALLEN            CO           90003150053
5554B72225B399   PAUL                   HERRY            OR           90014847222
55553A22533696   STEPHANIE              MOSHER           NC           90011980225
5555748A833699   KARVIN                 MENDEZ           NC           90013924808
5555778712B27B   SONIA                  JOYNER           VA           81000467871
5556135882B27B   DARNICE                JOHNSON          DC           90011423588
55568A2417B46B   LETICIA                RESENDIZ         NC           90008920241
5556B251961973   ROBERT                 VAZQUEZ          CA           90011822519
5556B55555B387   BRITTANI               DAVIS            OR           90012145555
555711AA933699   KENNETH                COLE             NC           90014731009
5557194445B283   ANDRE                  RIICHARDSS       KY           90009409444
55575A76672B36   JAIME                  JIMENEZ          CO           90014170766
5557734795B399   MICHELLE               SHOWALTER        OR           90008503479
55577919A61975   RICK                   RIVERA           CA           90007819190
55579473372B38   SEAN                   VIGIL            CO           90013154733
5557964345B283   AMANDA                 MOORE            KY           90008496434
5558412284B588   MATTHEW                HARVEY           OK           90010901228
5558521122B27B   LAKISHA                LORENA           DC           90012862112
5558696515B387   DANIELLE               WHITE            OR           44589179651
55588628A4B28B   FRANCISCO              PANZI-ADAME      NE           90006856280
55595A55972B36   EDWARD                 STEVENSON        CO           90009230559
55598533872B38   DEMAJE                 RATCLIFF         CO           90013275338
55599A12872B38   TAMIKA                 WILLIAMS         CO           90011100128
55599A43284357   AGAMSHARAN             PATEL            SC           90013520432
555B255352B27B   REGINALD               COX              DC           90014235535
555B314994B588   AMY                    BLACKBURN        OK           90011071499
555B4124531462   BRANDEE                WYATT            MO           90011191245
555B6224572B49   ELMER                  MORAN            CO           90011942245
555B766A85B399   PATRICK                BUCK             OR           90002936608
555BB136461973   JAIME                  PORRAS           CA           46017961364
556112A685B543   ABIGAIL                GARCIA           NM           90003252068
5561144A572B36   ANGELICA               GONZALES         CO           90008994405
5561195725B531   PATRICK                SANTISTEVAN      NM           90002499572
55613321757B81   RYAN                   PURDY            PA           90014543217
55615A5AA72B58   TYLER                  MOORE            CO           90012570500
5562259495B531   JOHNATHAN              TERRY            NM           90013325949
55624653A33699   REGINA                 STRICKLAND       NC           90001936530
556248A7A5B283   ASHLEY                 WEATHERS         KY           90008368070
55625714672B43   ELIZABETH              MICHAELS         CO           90007387146
5562613225B531   ROGER                  KONGNE           NM           90010731322
5562618882B899   SUSAN                  GOEPFERT         ID           90012571888
5562734A75715B   NELSON                 RAMOS            VA           90013143407
5562894475B283   CRISTIN                DURHAM           KY           68073249447
5562B451772B36   JACK                   STEEL            CO           33095484517
5562B714172B38   JESUS                  BARRAZA          CO           90012877141
556321A6791587   MARIA                  CONDE-PEREZ      TX           90010781067
55635A14885928   PETER                  MCKENNA          KY           90012040148
5563687545B399   MARIA DE LOS ANGELES   OCANA ROJAS      OR           90014478754
55638451372B49   ALEJANDRA              GUTIERREZ        CO           33079094513
55639227272B85   JACQUELINE             COSSIO           CO           90011012272
55639914572B43   MATTHEW                SILCOTT          CO           33090909145
5563B84184B588   TYLER                  SCOTT            OK           90004938418
55643A28591356   TERRIE                 MATHIS           KS           90010590285
5564541685B399   FREDERICK              WARTHEN          OR           90015124168
55645A83172B43   MARIA                  REYNOSO          CO           90004830831
55648A44461975   CELIA                  ROCK             CA           90013990444
55648A75357157   TONY                   MCILWAIN         VA           90007190753
5565173782B851   MONICA                 HERNANDEZ        ID           42050537378
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55652AA7772B38   MAURICIO         CRUZ                   CO           90014100077
5565458A472B36   ADRIANA          ELIOTT                 CO           90004755804
5565545A55715B   TISA             HOGAN                  VA           90005024505
55657495A91587   CRISTINA         HERNANDEZ              TX           90013214950
5565756765B399   ESSENCE          RAMIREZ                OR           90013775676
5565864A172B85   JANE             PACHECO                CO           33061906401
5565951576B246   ANGELA           BASS                   KS           90001425157
5566147795B399   JARED            JOHNSON                OR           90004984779
55661538924B7B   OCTAVIA          WALKER                 DC           90014715389
5566173947B46B   CURTIS           HESSIWS                NC           90014927394
55664A85272B27   JORGE            GALVEZ                 CO           90012160852
55665394472B43   JAMAICA          HINES                  CO           90014133944
55669311472B38   SCOTT            WILLSON                CO           90013623114
5566969242B851   RUSSELL          ROCHELL                ID           90010416924
55671753772B88   LEXIS            AGUILAR                CO           33016437537
55676A8A77B46B   BOBBIE           KIRKPATRICK            NC           90013530807
5567928874B521   TASHEENA         AGU                    OK           21501162887
5568315275B399   SHAWANA          GAINES                 OR           90011141527
5568B51724B588   RAYMUNDO         SOLACHE                OK           90012485172
5568B592861973   EDREESE          POPAL                  CA           90014935928
5568B98555715B   MARLENE          POMEROY                VA           90013929855
556911A675B283   SABRINA          DORSEY                 KY           90010281067
55695858A4B521   KEVIN            GILBERT                OK           90009858580
55695887372B27   JESSE            CALHOON                CO           90011478873
55699A54761975   ALEXYZ           CARILLO                CA           90013990547
5569B42A472B49   EARLENE          NEWTON                 CO           90010424204
556B1682472B67   DARLENE          GONZALEZ               CO           33000096824
556B3746333699   PRINCESS         FLOYD                  NC           90010557463
556B524A791895   PAULA            MARQUEZ                OK           90008032407
556B74A8571935   MELISSA          BLOCK                  CO           90012064085
556B784855B271   MAIA             SAZEKELY               KY           90003828485
556BBA8645B129   SHERRY           WILLIAMS               AR           90003390864
55711A33961975   DERON            HACKLER                CA           90012830339
5571474A372B36   MICHAEL          FOX                    CO           90011307403
5571646365B271   EBONEE           HACKETT                KY           90007164636
55716751472B43   ROBERT           LOVATO                 CO           90013137514
557174A3333696   MARLEANEA        CARMICHAEL             NC           90014514033
557214A3333696   MARLEANEA        CARMICHAEL             NC           90014514033
55722A8974B588   DRAULIO          ESCAMILLA              OK           90012230897
557241A164B588   RONALD           HULL                   OK           90011201016
55724942A33696   OLIVIA           NEAL                   NC           90014549420
55725372672B43   VANESSA          EVANS                  CO           90014843726
557271A6272B77   BLANCA           JURADO                 CO           90000761062
55728424872B36   YARELI           CASAS                  CO           90013294248
55728543472B85   ELIZABETH        REITENBAUGH            CO           33066075434
5573195A485928   MATIN            SHERROW                KY           90014439504
55735535A91587   RITA GUADALUPE   GONZALEZ               TX           90010215350
55736519A4B28B   CUAUHTEMOC       ALVAREZ-MERAZ          NE           90011815190
557377A9A5B283   ABDULLAH         JABAR                  KY           90010387090
5573938454B536   TARA             PLATT                  OK           90008843845
55742471A33699   JASLYNE          LEGETTE                NC           90012004710
5574636862B27B   MARCIA           MORRIS                 DC           90012683686
55747876472B36   ROYALTY          CHILDREN               CO           33004368764
5574B595285928   CINDY            JONES                  KY           90013215952
5574B9A5891587   SERGIO           RUBIO                  TX           75067419058
5575197A272B85   HEATHER          JOHNSON                CO           90014719702
5575232142B851   SAMI             STONE                  ID           90004193214
5575357415B387   CHRISTOPHER      CAMPOS                 OR           90013845741
55755131572B49   DUSTIE           WIESNER                CO           33014421315
55756849272B27   EDITH            ROMERO                 CO           33049728492
5575746615B271   ROSE             MITCHELL               KY           68015104661
5575B23975715B   JASON            SMITH                  VA           90013812397
5575B836A5B387   BRITTANY         LOWELL                 OR           90011398360
5576168A751348   SAMANTHA         RUSSO                  OH           90013936807
55761A4A572B85   JOSE             JUAREZ                 CO           90008110405
55762167A33696   TAYDRA           NEWTON                 NC           90007831670
5576448957B46B   SULAMITA         BATA                   NC           90012634895
5576534625B531   LEON             REAL                   NM           90010863462
5576711882B851   TATE             LANCE                  ID           90008651188
5576722612B27B   FILIBERCO        SANCHEZ                DC           90013552261
5576821945B387   MARIA            SANCHES                OR           44573182194
5576B946984329   JAVIER           LARA                   SC           90013659469
5576B9A294B588   MANUEL           TIGUILA                OK           90009099029
55772167772B27   KELLIE           MARSHALL               CO           90014931677
5577519235B399   ANTONIO          OROZCO                 OR           90011051923
55776263172B85   REBEKAH          DUDLEY                 CO           90011012631
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55776425A61975   KASANDRA       RAMIREZ                  CA           90011294250
5577B243561973   JAVIER         RUELAS                   CA           90010222435
5577B788184357   BRITTANY       MIDDLETON                SC           90014137881
55785263872B85   JEANETTE       ALVAREZ                  CO           90011012638
5578B12A84B588   RASHAUD        WILLIAMS                 OK           90013811208
557922A5891895   TIFFANIE       MARKS                    OK           90009552058
5579286875B387   ALICIA         CLEARY                   OR           90015208687
5579B163A61973   JOSE           OROSCO                   CA           90009121630
5579B757872B38   MARIA          GONSALEZ                 CO           90012877578
557B1214A4B28B   SHANNAN        CARLMARK                 NE           90011802140
557B21A3A8B356   CAROLYN        GREEN                    SC           90014721030
557B37AA95715B   GIANNINA       PEREZ                    VA           90013157009
557B384385715B   JUAN           GARCIA                   VA           90014888438
557B4568791587   MELINDA        AHORTALEJO               TX           90010025687
557B474724B588   JOANNA         LEISTNER                 OK           90008667472
557B5221772B85   SANDRA         LOPEZ                    CO           33050562217
557B5363833696   JESSICCI       TARLEY                   NC           90014513638
557B821A64B588   NICK           BRASEL                   OK           90013242106
557B885355B399   RODRIGUEZ      AMILCAR                  OR           90013248535
557B9644484357   MONICA         BURRISON                 SC           90013966444
557B99A7372B85   MATT           METZLER                  CO           33064789073
557BB267798B2B   JENNIFAR       STEELE                   NC           90005702677
5581168A45758B   GEOVANI        RAMOS                    NM           90013966804
55812A2544B588   BOBBY          ROBISON                  OK           90011160254
55813861672B38   ESTEFANY       PEREZ                    CO           90011418616
5581426335B531   CODY           WILMON                   NM           90008002633
55814264572B43   JONATHAN       TORRES                   CO           90002972645
558166A985B387   BRETT          ESPELAND                 OR           90004356098
5581726435B247   JENNIFER       THOMPSON                 KY           90001252643
55817577572B49   DEMECRIUS      PARHAM                   CO           90010965775
55819994772B27   FRANCISCO      TOLEDO                   CO           33014489947
558223A2772B88   JOANN          BROOKS                   CO           90005953027
5582249742B27B   CRYSTAL        DAVIS                    DC           81098814974
5582282885B531   JASMIN         GALLEGOS                 NM           90013168288
558234AAA8166B   MEELANDRA      ADKINS                   MO           90010664000
5582423255758B   ALEX           SANCHEZ                  NM           90012852325
5582532384B588   LAMONT         LEE                      OK           90012323238
55825451A84357   AMBER          KNOX                     SC           90011394510
5582759A391587   ANGELA         DIAZ                     TX           75029635903
55827695172B49   SAMUEL         HIMES                    CO           90010746951
55827A1685715B   ANTONIO        RAMOS                    VA           90013170168
5582832252B27B   STACIE         DURANT                   DC           90014943225
5583134625B531   LEON           REAL                     NM           90010863462
55831561172B36   ARNULFO        CALDERON                 CO           90011425611
55831618672B43   YADIRA         ORTIZ                    CO           90014976186
55834368772B38   MARIA          ROBLES                   CO           90014993687
5583565A37247B   CHRISTINA      SANCHEZ                  PA           90011766503
55835AA3A93782   HEATHER        SCOTT                    OH           90012130030
558383A7533699   TAMARA         BULLOCK                  NC           90014783075
5583843A47B424   SAHRROM        MCKINSTRY                NC           90011084304
55838489A7B46B   LIZETH         SANTANA                  NC           90012304890
55844128172B49   ASHLEY         HOULIHAN                 CO           90011521281
5584535394B588   TINA           ANDUSEN                  OK           90015283539
5584597A15B283   JOANNA         MURRELL                  KY           90011719701
5584B8A624B55B   CARLOS         LOVEST                   OK           90012568062
558525A162B851   TONIA          PACHECO                  ID           90011695016
5585376122B27B   JOHN           SIMTH                    VA           90013147612
5585461964B588   ANGELA         MARTINEZ                 OK           90013256196
5585469A385965   JAMES          RISTER                   KY           90013236903
5585619755715B   ALVARO         URIONA                   VA           90013171975
55856618572B27   LEE            GANT                     CO           90007626185
558582A8172B38   VICKIE         SANTISTEVAN              CO           33004582081
5585839AA61975   TERRY          RAHN                     CA           90013383900
5585B21237B46B   ELVIN          ESQUIVEL                 NC           90014802123
55861777772B38   JONATHAN       RIVERA                   CO           90012877777
55862165A4B588   TREK           WHITE                    OK           90014521650
5586295A472B43   MAIRA          MAGALLANES               CO           90007839504
55865A63791356   EDWARDO        HERNANDEZ                KS           29039770637
5586981777B46B   HATTIONA       TEYNOLDS                 NC           90007458177
5587228497B46B   ANA            MONTOYA                  NC           90006882849
55872471972B27   EVERARDO       GUZMAN                   CO           90003774719
55878812572B38   VALERIE        CARRILLO                 CO           90013388125
5587B424A72B27   GABRIEL        HINIJOSA                 CO           90013094240
5587BA4945B543   ABEITA         MAERCEDES                NM           90007230494
558825A385758B   VICTORIA       DE LA CRUZ               NM           35521865038
5588321A661973   MARIO          FRANCO                   CA           90010022106
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55883561872B49   AGUIRRE          JANET                  CO           90009825618
5588381894B588   GREGORY          ANDERSON               OK           90010138189
55884A59872B36   ANGELICA         ESPINOSA               CO           33091380598
5588828775715B   DWAYNE           COLDS                  VA           90011042877
558887AAA72B36   JEREMY           GRIFFITH               CO           90009987000
5589178868B531   CORAYAMA         VALSQUEZ               CA           90013977886
5589347235715B   KATHY            LOZANO                 VA           90014894723
5589499325135B   ERIC             SIMS                   OH           90001999932
5589535442B27B   BRANDON          POINTER                DC           90014363544
55896299172B38   MELISSA          ROMERO                 CO           33097362991
55896553472B36   HOLLY            GARRETT                CO           33007745534
5589689495B531   MARIA            QUINTANA               NM           90010168949
55897A6295758B   ABIGAIL          SALGADO                NM           90014550629
5589811425758B   ALBERTO          SANDOVAL               NM           90011491142
55898512A5715B   MARSHALL         HARRISON               VA           90014895120
55898A13161973   STEVE            HENDERSON              CA           90011860131
558999A865B387   MICHAEL          HALE                   OR           90012069086
5589B3A8433696   MARQUIKITA       HAYES                  NC           90013033084
5589B437372B38   MERCEDES         SANDERS                CO           90004564373
558B1964651348   TEKI             FOGGIE                 OH           90010599646
558B1AA3A93782   HEATHER          SCOTT                  OH           90012130030
558B2448A72B98   LUZ              CLAUDIO                CO           90014644480
558B26AA451348   SONIA            GARCIA                 OH           90010356004
558B341A772B43   MARISSA          BARELA                 CO           90011104107
558B3A46A61971   CANDICE LOUISE   RICKER                 CA           90011570460
558B9641A5715B   EDWIN            ARGUETA                VA           90011376410
558BB6A6891587   VERONICA         QUINTANILLA            TX           75051866068
558BB758372B38   ROBERT           RUCKER                 CO           90012877583
55918723772B38   VERONICA         GALLARDO               CO           90013007237
5591956985B543   JUSTIN           ASHLOCK                NM           90008375698
5591994A931428   JESSE            HARRIS                 MO           90005349409
5591B652A7B46B   ELIOTT           MICHEAEL               NC           90005436520
5591BA15472B85   GIDGET           MAES                   CO           90008630154
5592136A972B85   BALDOMERO        VILLANUEVA             CO           33081293609
5592691A54B588   DESEAN           HANKINS                OK           90011129105
55927758972B49   KYRA             CONNER                 CO           90013147589
55928399472B38   RANDALL          RIPPLINGER             CO           90011153994
5592844847B46B   ADELA            CRUZ                   NC           90012074484
5592B24775B543   THOMAS           LINEBAUGH              NM           90006312477
5593136A472B88   JOSE             SIERRA                 CO           33073863604
5593653A333699   MARTHA           TOMAS                  NC           90014435303
559368A665B399   RIGOBERTO        SANCHEZ                OR           90006418066
5593883472B948   PHILLIP          PHARR                  CA           90010518347
5593884A333699   CRYSTAL          JESSUP                 NC           90012618403
55938A26A5715B   MARTA            ORTIZ                  VA           90014900260
5593B1A9672B36   LUCAS            HERNANDEZ              CO           33092811096
5593B27938B181   JAMIE            CARLSON                UT           31015762793
55941792772B38   SENIA            HERNANDEZ              CO           90011117927
5594364A491587   VICTORIA         SNOWDEN                TX           90013226404
5594371A161971   LEA DAWN         HEBERT                 CA           90008787101
55946438572B27   DOMINIC          MCGEE                  CO           90011344385
55948A8A74B588   GERALD           STEWART                OK           90001400807
5594B3A6184357   EDUARDO          RAMOS                  SC           14551853061
5594B4A7A4B588   AMANDA           LOVE                   OK           90010904070
55954479A57157   CEDRIC           MAKELA                 VA           90005374790
55955293872B85   WILLIAM          NELSON                 CO           90011012938
55957A88272B25   KELLIE           HERNANDEZ              CO           90009930882
5596313A85B387   CASSIUS          DASILVA                OR           90012931308
559639A345B399   JOSE             VENTURA                OR           90011849034
55966AA2872B49   ILEANA           GALLEGOS               CO           90009130028
55967279672B36   LINDSEY          SISNEROS               CO           33019792796
559694A952B27B   KAREEN           PALMER                 DC           90010054095
5596B737433696   LASHANNON        WOMACK                 NC           90014117374
5597296415B399   CHRIS            NOLTEN                 OR           90012389641
55977992172B36   GIOVANNI         FLORES                 CO           90011299921
5597925544B588   CHRISTOPHER      ECHOLS                 OK           90009272554
5598297795715B   JOSE             ARIAS                  VA           90010499779
5598379245B387   JASON            LATUALA                OR           44513597924
5598385735B52B   CARISSA          BERRY                  NM           90011098573
5598432A24B588   MICHAEL          YOUNGS                 OK           90012183202
55986622772B85   EICKA            RODRIGUEZ              CO           90004216227
55987128672B85   TIFFANY          ALCANTAR               CO           90014721286
55987658572B49   JESSIE           JONES                  CO           90014876585
55987762172B38   LEWIS            GLEN                   CO           33041117621
55988522472B88   CRISTINA         VAZQUEZ                CO           33073865224
55988812724B5B   WENDY            WILLIAMS               DC           90001018127
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 523 of 1007


5599296787B46B   ANGELICA       CAREON                   NC           90010669678
5599879992B27B   CHARLES        CARPENTER                DC           81046047999
5599946545715B   SIMIE          ABEBE                    VA           90008154654
559B276447B46B   CRAIG          SANDERS                  NC           90013997644
559B4668172B38   TIFFANY        KICKLIGHTER              CO           90014436681
559B5A43A33699   DANA           LITTLE                   NC           90011120430
559B67A9772B49   SAMANTHA       ORNELAS                  CO           90010597097
559B7927685928   BRENDA         SALAS                    KY           90015009276
559B895812B27B   CABRERAS       HERNANDEZ                DC           81046099581
55B11726184357   WALTER         PINCKNEY                 SC           90012187261
55B13474861975   ROSANGEL       ACOSTA                   CA           90013094748
55B1353622B27B   DAVID          CAVANAUGH                DC           90010165362
55B1451925B387   ZACH           WILLIAMS                 OR           90007715192
55B14721184357   GARY           MOELLENHOFF              SC           90015187211
55B148A412B27B   MONTY          JACKSON                  DC           90013898041
55B155A2251348   JENNIFER       STANDLEY                 OH           90002815022
55B17294791587   TIANA          ACOSTA                   TX           90012262947
55B18259172B27   NICHOLAS       VIGIL                    CO           90007252591
55B18743291356   CARMEN         SANTOS-RIVERA            KS           90009767432
55B1B239985928   CRUZ           BAEZ                     KY           90009262399
55B21274361973   PATRICIA       GAYTAN                   CA           90007982743
55B21A87372B38   ALNGELICA      BURCIAGA                 CO           90012820873
55B25A3655B387   JAYME          MCFADDEN                 OR           90013790365
55B2691195B387   CHRISTOPHER    PONTE                    OR           90014689119
55B26A3AA5758B   ANDREW         HERNANDEZ                NM           35522590300
55B271A6961975   JAVIER         ESPINOZA                 CA           90010111069
55B28294791587   TIANA          ACOSTA                   TX           90012262947
55B286A8233699   PLEASANT       HUNTER                   NC           90009666082
55B2959135715B   MARIATU        KAMARA                   VA           90010335913
55B33A6A32B27B   DEMETRIA       MURPHY                   DC           90011190603
55B35952191356   SONNY          BANKS                    KS           90013089521
55B38237472B67   RUDI           LOPEZ                    CO           33015862374
55B395A6261973   KARLA          GOMEZ                    CA           90009095062
55B39785A84357   TAIWAN         GIBBS                    SC           90010967850
55B43471785928   JESSE          HISEL                    KY           90010714717
55B44658361975   ONEIDA         ARIAS                    CA           90010476583
55B455A2561973   BRENDA         CASTELLANOS              CA           90005105025
55B4614A82B27B   BRADIE         LOTT                     DC           90012081408
55B47851A43569   ALICA          PERO                     UT           31031598510
55B4941335758B   REMY           SIGALA                   NM           90015174133
55B55262A72B43   MILLER         CURT                     CO           90001182620
55B56858A7B46B   HUGO           GONZALES                 NC           90012358580
55B56A9185B283   LAQUANDA       BRUTON                   KY           90009080918
55B589A8872B38   MATILDA        MARQUEZ                  CO           90015089088
55B59493857157   BOBBY          POOLE                    VA           90013674938
55B5954915B387   MISAEL         PACHECO                  OR           44540635491
55B61547672B36   EDWARD         CURTRIGHT                CO           90008675476
55B61751861973   DANIEL         GARCIA                   CA           90012307518
55B6238A34B28B   JENIFER        GONZALEZ                 NE           90001903803
55B63983433696   CATHRICE       WHITSETT                 NC           90014289834
55B6726415B399   BRANDON        EDDY                     OR           90011892641
55B68544543569   CAMERON        BRANTLEY                 UT           90006835445
55B6B993461971   WYLIE          WILLIAMSON               CA           46048599934
55B72819291895   PASCUAL        VILLA                    OK           90014598192
55B73842A91895   AMANDA         ROBINSON                 OK           90013528420
55B747A317B46B   DEQUARIUS      CHASTAIN                 NC           90013407031
55B75297872B43   ALFREDO        MATA                     CO           90012352978
55B75464291895   DYLAN          LACRONE                  OK           90012824642
55B7584145B399   DANIEL         CAREY-WISE               OR           90015058414
55B7611A74B588   PARIS          RICHARDSON               OK           90013651107
55B76799A5B531   CHARLES        COOKE                    NM           35077717990
55B76A9685715B   LEE            PETTIGREW                VA           90009800968
55B79336233696   RHONDA         BYRD                     NC           90001943362
55B7995725B531   PATRICK        SANTISTEVAN              NM           90002499572
55B82A69461975   CHRISTIAN      REYNOSO                  CA           90013460694
55B8453152B851   MONICA         MORENO                   ID           90011665315
55B85241972B38   KJ             VIGIL                    CO           90014722419
55B8576122B27B   JOHN           SIMTH                    VA           90013147612
55B8586964B588   ERNESTO        ACOSTA                   OK           90010898696
55B85AA6161973   PATRICIA       CARRINGTON               CA           90001500061
55B87393151348   ANDREW         SCOTT                    OH           90014503931
55B9216885715B   JOSE ABELI     LOPEZ                    VA           90005561688
55B94424991932   ALBERTO        SANCHEZ                  NC           90002974249
55B9889945715B   HILDA          ORE                      VA           90002398994
55B993A7772B38   ADAM           ARAGON                   CO           90011113077
55BB222762B27B   ALISHA         CARRINGTON               DC           90014092276
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55BB2A33533696   TRAVIS         ALSTON                   NC           90014830335
55BB4288872B49   TAYLOR         RAY                      CO           90012912888
55BB4795372B43   MARK           STONE                    CO           90010137953
55BB557145B399   BRENT          TUMBLESON                OR           90011595714
56112233472B32   MARIA          DEAN                     CO           90010452334
561127A6A4B52B   KARY           CROOKS                   OK           90013337060
5611293725B236   ZAIRE          WOODS                    KY           90007959372
56114A53955939   ANDRE L        ROBERTS                  CA           90010350539
5611711A45715B   JORDAN         ESPINOSA                 VA           90010581104
5611732452B27B   MONICA         TAYLOR                   DC           90015063245
56121A58961965   PEDRO          CADENA                   CA           90014950589
56125643272B67   TERESA         FULLTON                  CO           33077966432
56127AAA772442   AMANDA         KEEFER                   PA           90014600007
5612892675B387   JOSHUA         GANN                     OR           90002529267
5613182845B531   ROSA           TORRES                   NM           90012758284
56133641172B38   TIFFANY        MARTINEZ                 CO           90003656411
56135277572B88   STEFANIE       CAIRNS                   CO           90005682775
561358AA785928   ANDREW         BECRAFT                  KY           90014568007
56136543472B49   JOHN           MAHU                     CO           33038425434
56136615A2B27B   TYDAYJHA       TALLHM                   DC           90012846150
56141823A72442   ANTHONY        HUNTER                   PA           90014718230
5614365375758B   ADAM           LOVATO                   NM           90013986537
5614519AA33645   ASHLIE         SHEFF                    NC           90005481900
56145A26572B49   BETTIE         FURRU                    CO           90014460265
5614612612B27B   LORENZO        JOHNSON                  DC           90010251261
5614844945715B   SARA           MORALES                  VA           90012714494
5614B129A57541   MICHAEL        MILLS                    NM           90012391290
5615545314B588   CECILIA        MORALES                  OK           90012964531
5615598665758B   ENRIQUE        MARQUEZ                  NM           90013169866
5615754615715B   SERGIO         POLANCO                  VA           90011755461
561578A794B588   COREY          HOWARD                   OK           90013228079
56157A39591587   YENIA          CONTRERAS                TX           90010330395
5615B291951348   KATHY          HARRIS                   OH           90008642919
561616A2255997   AARON          OREA                     CA           90012216022
56161A75447877   ESTHER         HOWARD                   GA           90012550754
56164169772B88   BRYAN          WEAVER                   CO           90003201697
5616451A45B387   CRYSTAL        WILLIAMS                 OR           90011005104
561657A534B28B   TYLER          TRUDELL                  NE           90007197053
5616651315B387   KARIN          WILLIAMS                 OR           90010645131
5616673845715B   MEGEL          PENELOPE                 VA           90013047384
5616678845B236   DZENET         KERELHA                  KY           90011237884
56167576472B49   KIMBERLY       VAZQUEZ                  CO           90012645764
5616947635B236   MARCO          CHAVEZ                   KY           90009534763
5616B6A855B236   HEATHER        POYNTZ                   KY           90011216085
5617114575758B   SOCORO         VILLEGAS                 NM           90010171457
5617326122162B   CHRISTINE      CHRISTOPHER              OH           90014372612
56175768972B49   JUSTIN         WILLIAMS                 CO           90012387689
56181226772B67   JEFFERY        WOELFLE                  WY           33015712267
56182593A55997   MARIA          GALLARDO                 CA           90011375930
56182719972B36   JON            ROYBAL                   CO           33078287199
5618412462B27B   PRECIOUS       FORD                     DC           90012841246
5618422A351586   JUAN           GARCIA                   IA           90014382203
56185518872B36   CECILIA        GOLDSCHMIDT              CO           90011615188
56185A3785758B   JAMIE          LEE                      NM           90011140378
561873A7672B88   PAULA          CASIAS                   CO           90005683076
5618818167B46B   ROGER          BROWN                    NC           90012881816
5618BA6A172B67   HERLINDA       RODRIGUEZ                CO           90011140601
56193623A2B27B   THELMA         SILVERS                  DC           90012846230
5619471724B588   CHRISTOPHER    MANCHESTER               OK           90014817172
56196A25372B36   JESSE          WALLACE                  CO           90012440253
5619789215715B   MARIA          VILLANUEVA               VA           81053728921
56198739A4B588   MELVA          GULD                     OK           90011017390
5619B61812B27B   EDWINA         SINCLAIR                 DC           90012846181
561B412A35B531   YURI           VALLES                   NM           90014401203
561B444777B46B   HENRY          SMYTH                    NC           11095484477
561B4794272B43   BECKY          MARTINEZ                 CO           90013377942
561B5227661965   JUAN           MENDOZA                  CA           46050942276
561B5A5885715B   JERSON         GONZALEZ                 VA           90013610588
561B6589A55997   ARMANDO        VILLAGOMEZ               CA           90013655890
561B691452B27B   JAMELLE        HARRIS                   DC           90012839145
561BB77575715B   SANDRA         RAMIREZ HERRERA          VA           90012277757
56211898472B67   KYLE           CHAMBERS                 CO           33093878984
5621214575758B   SOCORO         VILLEGAS                 NM           90010171457
56216A9A672B67   RONALD         MOLLICK                  CO           90010600906
562182A6A55939   LILIA          GARCIA                   CA           90013222060
56218A65284357   HELEN          SAMUEL                   SC           90011810652
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562239A7A61971   DIANE           BANFIELD                 CA           90006209070
56225134A5715B   TONY            SAMPLER                  VA           90008711340
5622616245758B   JAYRINA         PENA                     NM           90013321624
56227A33272442   DANDRA          CASSONS                  PA           90014770332
56228183A7B491   CHRISTOPHER     MILLHONE                 NC           90011531830
56228694576B41   RAFAEL          LOPEZ                    CA           90012546945
5622874AA61965   LAVONNE         HENDERSON                CA           90010217400
56229494A4B588   CARI            HORNIBROOK               OK           90009364940
5622977A17B46B   LEONEL          ESPINAL                  NC           90011477701
562299A6961965   DARIO           CASTANON                 CA           90003949069
5622B34515B387   JOSEPH CLAUDE   HART                     OR           90011123451
5622B551772B27   SYNDEE          HUFNAGEL                 CO           33007395517
56234621A61965   LABONNIE        TAYLOR                   CA           46041646210
5623648A157157   MICHAEL         BURGER                   DC           90011684801
5623766242B27B   MARK            JOHNSON                  DC           90012846624
56237A74A61965   BRIANNA         JOHNSON                  CA           90013160740
56238651A72B43   CARLA           VAZQUEZ                  CO           90012546510
5624312877B491   RAFEAL          DIAZ                     NC           90011831287
562436A6172B49   VICTOR          IBARRA RAMIREZ           CO           33050166061
56245141A5B399   SHELBY          HAMILTON                 OR           90010831410
562451A8672B43   SOCORRO         VARGAS                   CO           90012081086
5624654724B588   MARIA           PAREDES                  OK           90014875472
5624676634B588   IVETTE          GUEVARA                  OK           90011017663
5624697837B46B   JESSICA         BROOKBANK                NC           90010379783
56246A7235758B   CARLOS          RAMIREZ                  NM           35501420723
56247291A72442   SHELBYLYNN      ROSENSTEEL               PA           90014792910
5624B626561965   JOHN MIKAEL     BOWERMAN                 CA           90014936265
5624B632A5758B   ORTIZ           CONNIE C                 NM           90007816320
5624B83545B399   HEATHER         MCNAMEE                  OR           44572708354
56253182A57157   ABDOU           NJOYA                    VA           90011691820
5625332A161965   JOSE            CAMILNGA                 CA           46096123201
5625412A65758B   DAVID           ANAYA                    NM           90012471206
56258933576B4B   KEVIN           PATE                     CA           90011509335
5626129625B531   JONATHAN        FIGUEROA                 NM           90012642962
5626285295758B   HARBEY          LOPEZ                    NM           90013188529
5626775254B588   MYRESHA         PATTERSON                OK           90011457525
5626777184B588   JOYLICIA        HILL                     OK           90011017718
5626822464B588   CECILIO         VILLAFANA                OK           90013502246
5626835528B53B   ELSY            CISNEROS                 CA           90014013552
5626B93944B28B   ANGELA          PRINDLE                  NE           90007319394
5626B96355B543   YAZMIN          CHAVEZ                   NM           35030939635
5627154855758B   JORGE           GONZALEZ                 NM           90013065485
5627166345B399   WHITNEY         RODRIGUEZ                OR           90014536634
5627476197B46B   MARQUIS         CLARK                    NC           11065497619
5627515975B399   AHMIRO          WILLONGBY                OR           90012111597
562752A355B399   AHMIRO          WILLONGBY                OR           90014192035
5628138645758B   DAN             HERRERA                  NM           35521013864
5628383A472B38   CASANDRA        RODRIGUEZ                CO           90012168304
5628439975B538   OLIVIA          DOMINGUEZ                NM           90009643997
56291794272B43   BECKY           MARTINEZ                 CO           90013377942
56293782A4B588   ROBERTO         TORRES                   OK           90011457820
56294174172B43   HUGO RENE       ARANA-SANDOVAL           CO           90013501741
5629468472B27B   NADEAN          TALLEY                   DC           90012846847
5629576825758B   GLADYS          RODRIGUEZ-VILLA          NM           35597787682
562B3419655997   SERGIO          MOJICA                   CA           90013794196
562B4154685928   LENCOLA         GROVES                   KY           90014171546
562B4182972B36   JOHNNY          MUNSON                   CO           90012521829
56311397A61971   INGRID          GARCIA                   CA           90013753970
56311478A5B399   EVA             AVINA                    OR           90014874780
5631383865B399   TRAVIS          BUNCH                    OR           90009348386
56316A38985928   NIKKI           CAUDILL                  KY           90013920389
56317912644B85   JANICE          DYER                     OH           90011059126
56317A4195715B   WILLIE          FELIX                    VA           90014020419
56318AA3A55997   ROSA            MERINO                   CA           90013100030
56324A18972B36   JUDY            KONRAD                   CO           90012690189
5632579775758B   CHEYENNE        GALE                     NM           90010017977
5632623AA33699   CHRISTAN        ROBINSON                 NC           90010202300
56326471572B49   ALEXIS          POTTER                   CO           90011504715
5632669A52B27B   SHAUNTAE        MILLER                   DC           90012846905
563348AA55B531   SHAQUILLE       MARTINE                  NM           90011008005
5633576852B27B   ADRIENNE        LANE                     DC           90014757685
56335843A55997   GABRIEL         GONZALEZ                 CA           90012548430
5633679A472B38   BRITTANY        HORTON                   CO           90012917904
5633695185B236   DANIELLE        GRYDEN                   KY           90011239518
56337A93961971   ALFREDO         SEPULVEDA                CA           90013650939
5633B511331428   TEERA           JACOBS                   MO           90008355113
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563415A7491587   BIANCA         SANCHEZ                  TX           90013125074
5634872334B536   MICHAEL        CLINE                    OK           90009647233
563515A4A55939   LEON           BREAZELL                 CA           90013235040
56351867472B36   LUEVANO        RUDY                     CO           90011158674
56352526472B49   KEITH          PERRY                    CO           90012345264
563556A7972B43   LACI           BARCLAY                  CO           90014726079
563561AA857128   ERICK          MEIJA                    VA           90014951008
5635983412B27B   AZIZ           WHEALTON                 DC           90012848341
5635B42A161971   DEREK          WILLIAMS                 CA           90010944201
5635BA65555997   KEVIN          HILLARD                  CA           90012790655
5636318282B27B   AJANAI         SHENITA                  DC           90013741828
563658A5972B38   ARELI          VELASCO                  CO           90013548059
56365A1374B588   TIMOTHY        BOHN                     OK           90013460137
56365A1A772B27   SELETA         HILL                     CO           90015240107
56368A64491587   RICARDO        ESQUIVEL REYES           TX           90011940644
5636919367B46B   REBECCA        VASQUEZ                  NC           90010291936
5636935A62B27B   SEAN           WEST                     DC           81036883506
5636B117972B67   JASON          ISENHART                 CO           90011141179
56372854472B67   CHANNING       WILLIAMS                 CO           90008608544
5637311747B491   EUNICE         BROOKS                   NC           11029431174
5637374865B271   JANELLE        GULLEY                   KY           90002317486
5637455614B588   SHAWN          ROBBINS                  OK           90012875561
56375974472B36   MARTHA         FERNANDEZ                CO           90012589744
5637628644B588   SHANTAY        LITTLESUN                OK           90014092864
5637684A151348   JAMES          SMITH                    OH           90011108401
563786A9A72B38   ESAU           GARCIA                   CO           90004456090
5637B718785941   MORGAN         BARNS                    KY           90008977187
5638376115B283   RIGOBERTO      LORENZO                  KY           90001147611
563862A193B352   CARLOS         ZASUETA                  CO           90003582019
56389A32857157   JORGE          FLORERO                  VA           90013020328
5638B34A94B28B   TERRANCE       WRIGHT                   NE           90011883409
5638B5A4161965   STEPHEN        LOPEZ                    CA           90014835041
5638B616831428   JAYALAKSHMI    ARIVANANDAN              MO           90010506168
5638B618857157   FORDAY         MABAILEY                 VA           90006176188
5639147992B27B   EBONY          GODDARD                  DC           90011354799
563938A1A4B588   SHERRY         KOVACH                   OK           90011458010
56394445572B38   ROMAN          ORTIZ                    CO           90009404455
56394A49485928   ESSANCE        COLLINS                  KY           90012280494
56395998A85928   STEPHANE       MOKOBAN                  KY           90013699980
5639679135B531   ERICK          HERRERA                  NM           90005927913
563968A1272B88   DAVID          RAZEY                    CO           90009998012
5639957A372B36   CARLOS         LOPEZ                    CO           90012415703
563B3668438522   JESSICA        PEHRSON                  UT           90011866684
563BB5A3372B36   KATHY          LOCKRIDGE                CO           33046155033
563BB872991587   TANIA          GUTIERREZ                TX           90011348729
56411812A7B477   ARTAVIA        DCIYE                    NC           90008838120
56417458472B38   NYSSAMARIE     MENDOZA                  CO           90004104584
56421654472B27   JOSEPH         ELIUD                    CO           90013626544
564224A6755997   CHARLES        MCDOWELL                 CA           90013414067
564227A9191895   MYESHA         POPE                     OK           90009057091
56423A1335715B   PEDRO          ENROQUES                 VA           90008670133
5642723752B27B   TAPHNE         HITCHCOCK                DC           90009402375
56429137A97123   DENISE         SPURGEON                 OR           90004541370
5642B51A25758B   BELINDA        CORBIN                   NM           90008855102
56433572472B36   GEANESIA       HINTON                   CO           90014105724
56435859A91895   LAROY          DICKSON                  OK           90014728590
5643742A872B38   LAURA          GONZALES                 CO           90007444208
5643988935758B   MARLON         FRIAS                    NM           90008388893
56439A88451348   CARLO          MONTARVO                 OH           90012610884
56443145772B43   JASON          SIMMONS                  CO           90012491457
56443582A72B98   MARTIN         SMITH                    CO           33088555820
56443724A55939   ANA            COMPRERAS                CA           90010767240
5644376572B27B   KINA           KERRY                    DC           90012847657
5644481125758B   ZINNIA         GRANILLO                 NM           90005868112
5644551392B27B   DEON           BROWN                    DC           90014275139
5644846A35B387   KERRY          WESTLING                 OR           90011484603
5644B9A444B588   ALMA           SIERRA                   OK           90012169044
56453348A72B27   SAMUEL         PARRA                    CO           33095463480
56453877772B38   STELLA         HERNANADEZ               CO           90012788777
56453A2822B27B   LAFAYETT       DAVIS                    DC           90011690282
56456452A61965   LORENA         PADILLA                  CA           90010724520
5646162625758B   PATRICK        MOLINA                   NM           90009626262
56461983172B38   ERASMO         LOEZA                    CO           33024519831
56462212972B49   GUMARO         GUERRERO                 CO           90013582129
56464783A2B27B   JAMES          JOHNSON                  DC           90012847830
5646692745715B   SURINDER       KAUR                     VA           81083819274
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 527 of 1007


564674AA857157   NICK              HARRITY               VA           90013154008
56468344272B49   NARAD             SANYASI               CO           90011803442
564683A2785928   KATHLEEN          VERITY                KY           67027103027
5646B45685715B   JOSE              QUINTEROS             VA           90011774568
5646B583772B49   DOMINIQUE         HILL                  CO           90005515837
5647217592B27B   RUT               FLORES                VA           90007481759
5647288A15B129   ANDREW            NEMETH                AR           23012888801
56475227A2B27B   CARLA             DREW                  DC           90007732270
5647525275B531   FELICIA           ANAYA                 NM           90012192527
56477478672B36   DSASDASD          SINGH                 CO           90015014786
5647B45A372B49   TAIRA             HALL                  CO           90013294503
564817A845715B   LINDA             POWELL                VA           90013297084
564824A665B543   JOLEANA           PARMENTIER_LUJAN      NM           35088584066
564839A2572B36   KASANDRA          LO                    CO           90011159025
56484452298B47   RUBY              ANTONER               NC           90013874522
5648458A95758B   IRENE             MALDONADO             NM           90013935809
56486113472B67   CARL              GARCIA                CO           90011141134
5648752635758B   NELLIE            GONZALES              NM           90014385263
5648755825758B   AMY               SALAZAR               NM           90011145582
56487A6AA72B88   SAMUEL            CHAPMAN               CO           33073190600
56488382472B88   FRANK             LUCERO                CO           33078113824
564899AA385928   JAMIE             STAMPER               KY           90013939003
5648B64243B145   CRYSTAL           ANDERSON              DC           90006926424
5649184A385928   NATALIE           WELLS                 KY           90011798403
5649458AA72B36   TIFFANY           HARDER                CO           90013405800
5649519435758B   JUAN              RUIZ                  NM           90012971943
5649822858B142   TIERRA            CHESTINE              UT           90012222285
564986A9A61971   MICHAEL           BAILEY                CA           90013286090
5649B29A45B531   JENNIFER          GALLEGOS              NM           90011072904
564B4894461971   PATRICIA          MEZA                  CA           90013798944
564B53A6891587   EDUARDO           PEDRAZA               TX           90012803068
564B5A75261971   RONALD            SCHIEBERL             CA           90014180752
564B7447872B38   LICEA             MENDOSA               CO           90013934478
564B8516198B22   CHARLES           NORWOOD               NC           90010875161
564B884545B236   RHONDA            MORTON                KY           68024368454
564B9212972B49   GUMARO            GUERRERO              CO           90013582129
564B9534385928   STEPHANIE         DODSON                KY           90013935343
564B988515758B   JESSICA           GALVAN                NM           90013518851
564BB825891895   ANGEL             AMBRIZE               OK           90008638258
564BB967372B49   VIANKA            VARGAS                CO           90013039673
5651115725B399   RAVELL            STERLING              OR           90013771572
5651134815715B   TIANA             SHAIA                 VA           90012703481
56511A71157157   JOSHUA            SCHAEFFER             VA           90002080711
565158A882B27B   CHRISTOPHER       GRAYSON               DC           90012848088
5651754255B531   ESTEBAN           HERNANDEZ             NM           90013645425
5651962A472B38   ROBERT            KETTERMAN             CO           90010296204
5651B253372B49   MARIE             BROWN                 CO           33006892533
5652127445715B   HOWARD            BATISTE               DC           90002072744
5652151A87B491   NUSRAT            AHMAD                 NC           90012335108
5652568463B372   BERTHA            ALCARAZ               CO           33029256846
56527A47172B49   JOHN              LUOMA                 CO           90014090471
5652B784655997   NATALIA           MARTINEZ              CA           90012777846
56531193772B49   TINA              NOVOTNY               CO           90013221937
5653157695415B   RHONDA            LOVE                  OR           90007845769
565321A895715B   ANA               GONZALES              VA           90014771089
5653272875B236   CHAYLA            CARR                  KY           90008267287
5653346A35B387   KERRY             WESTLING              OR           90011484603
5653398A661971   IRIS              GARCIA                CA           90013389806
56535113872B67   NINA              AVILA                 CO           90011141138
5653783484B588   RENEE             CHAPLINE              OK           90011028348
5653B7AA82B27B   VENNESA           BAKER                 DC           81027377008
5654153757B46B   JOYCE             MACK                  NC           90010365375
56545396A4B588   MARIE             DRISKELL              OK           21567103960
5654738285B399   PATRICK           BROGDON               OR           90015133828
56547434972B43   BRANDEN MICHAEL   SUMMER HINSHAW        CO           90015054349
5654766995B399   MARSHA            HAYES                 OR           90013986699
565476A5257157   CHARLIE           COLATO                VA           90010606052
56547749A61965   WILLIAM           WILLS                 CA           90014177490
5654B188A61965   ANTHONY           HARRIS                CA           90006291880
5654B765972B38   JORGE             GARCIA                CO           90012607659
56555385272B38   RIBKA             RIBKA                 CO           90011223852
5655785894B588   CLARENCE          SCROGGINS             OK           90013228589
56558123972B67   DESTINY           MULLOWNEY             CO           90011141239
56558898172B27   YOLANDA           RIVERA                CO           33081468981
5655B853631428   KEISHA            HAMILTON              MO           90010458536
56561125472B38   ARIEL             CORDOVA               CO           90012541254
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 528 of 1007


5656517145B531   NANCY                 GILPIN            NM           90009231714
56567432972B36   BARBARA               PORTILLO          CO           90014024329
56567453172B36   MARIA                 RAMIREZ           CO           90002574531
56577172372B38   JESSICA               HAMILTON          CO           90010691723
56578355272B27   JOSHUA                HEBERT            CO           90012883552
56578A1574B525   LIZA                  WOLF              OK           90010570157
5657912415B387   TRACY                 KAIN              OR           44514601241
5657964345758B   GABRIEL               PACHECO           NM           90007236434
5657B598A72B67   SHAWN                 BEARD             CO           90014715980
5657B62365715B   ELSI                  GARCIA            VA           90013306236
5657B879661965   ABDULLAH              JUMAH             CA           90013368796
5658166965758B   CRUZ                  RENE              NM           90004186696
56582A77331428   VERONICA              ORTIZ             MO           90010510773
56583918772B49   ADRIAN                GARCIA            CO           90006889187
56586317472B49   JOHN                  TUCKER            CO           90014593174
56586328A85928   JEREMY                HUNTER            KY           90014853280
56588796424B7B   NAKIA                 GANT              DC           90014157964
56589328A31429   JEREMY                PATTERSON         MO           90005513280
565893A3185928   EMILY                 SCHILDERS         KY           90013943031
5658991A631429   JEREMY                PATTERSON         MO           90012649106
5658B387755997   ADRIAN                LOPEZ             CA           90012903877
5658B69AA72B38   MICHELLE              COREY             CO           90013216900
56592932A61971   THONG                 VU                CA           90010749320
56592A14257157   ELVIA                 VALLADARES        VA           90011700142
5659355465B399   DAVID MARCUS          WILLIAMS          OR           90013195546
5659552384B588   MINISHA               FRANKLIN          OK           90005815238
565B221725B399   KATHLEEN              RICH              OR           90011032172
565B49AA385928   JAMIE                 STAMPER           KY           90013939003
565B581115B399   DARCIE                SHUPP             OR           44538328111
565B78A916B257   ANTONIO               SEGURA            CO           37017068091
565B819394B588   LOURDES               MARTINEZ          OK           90008681939
565B8766491895   OSCAR                 LOPEZ             OK           90011147664
565B933925B387   ROBERTO               ROSALES           OR           90014903392
565B966AA33645   LESLIE                EGEONU            NC           90013126600
56611728572B36   CECELIA               MILLER            CO           90008157285
5661483692B27B   NAMES                 THOMPSON          DC           81066848369
56614989472B88   KATHERINE             GOTWALD           CO           33088269894
566176A7491895   CLAUDIA               CALDERON          OK           90007866074
5662174A942363   MARANDA               KELLY             GA           90008577409
56629589A55997   ALEJANDRA             MALDONADO         CA           90005645890
5662B2A8A5758B   KATHLEEN              MONTOYA           NM           90009562080
5662BA6A851348   RUBY                  JOHNSON           OH           66009470608
5663199715B399   JESSE                 EICHSTAT          OR           90012699971
56632185824B7B   TREVON                DEAN              DC           90004231858
5663279355B387   ANGELAH               HILL              OR           44587027935
56633172672B38   HONEY                 MONEY             CO           90009691726
56633A45A61971   DANIEL                PENNISON          CA           90012840450
56634265772B36   JURIEL                FLORES            CO           90011982657
5663636575B531   MALLORY               DEVARGAS          NM           90014003657
5663928975B387   JENNIFER              MILLER            OR           44555952897
5663934535B399   ROSA                  MENDOZA           OR           90014893453
5663973545758B   IGNACIO               NUNEZ             NM           90009217354
5663B167772B36   CORY                  BRUCE             CO           90008721677
5663B697272B49   MICHAEL               GARCIA            CO           90013156972
5663BA9874B588   ZACHARY               TUNISON           OK           90013580987
5664342635758B   ANTONIO               LUNA              NM           90007564263
5664859645715B   LUIS Y MARIA GARCIA   ORELLANA          VA           90014315964
5664882835B531   KARINA                MORA              NM           90012178283
5665123A772B88   LORENA                CORTEZ            CO           90005922307
566523AA572B36   DEIDRA                VALDEZ            CO           90015213005
5665571625715B   IRMA                  SANDOVAL          VA           90013307162
5665741737B46B   SILVIA                PEREZ             NC           90014884173
5665767992B27B   FRANCESCO             KELLY             DC           90013966799
56657AA3155939   NADINE                APOLONYA          CA           90011100031
56659534A61965   TIMOTHY               ADONA             CA           90012495340
5665974295B543   DIANA                 LAGUNAS-MINGURA   NM           90003277429
5665B62A831429   ROBERT                CARTWRIGHT        MO           90005516208
5666115215715B   KHALED                DJAHRA            VA           90012561521
56661367572B38   KAYANA                LITTLE            CO           90003013675
56668A5145B543   JASON                 JOHNS             NM           90001590514
5666B46745B399   KATHLEEN              KOHLER            OR           90003004674
56674494A4B588   CARI                  HORNIBROOK        OK           90009364940
56678534A85928   CHARLES               GARRETT           KY           90012025340
56679AA1351348   CAITLYNN              BAKER             OH           90014780013
566823A8185928   DOUG                  GOLDEN            KY           90000543081
56687213A72B49   BUCK                  FISHER            CO           90013582130
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56687968572B67   VARGAS               ASALIA             CO           90006779685
56689971672B67   ISABEL               GONZALEZ           CO           90002279716
5668B4A5491587   LISA                 ARREOLA            TX           90004254054
566911A342B27B   HATERIA TAMIKA       PEARSON            DC           90011981034
5669959484B588   JOSHUA               WELCH              OK           90013505948
566B2A96261965   ANTONIO              TEJEDE             CA           90008620962
566B4516957157   KENDRA               CHAPMAN            VA           90014795169
566B499965B399   LYLES                DICKERSON          OR           90013779996
566B541885758B   SABRINA              DELATORRE          NM           90012194188
566B5864685928   CHRIS                FARMER             KY           67061618646
566B899715B399   JESSE                EICHSTAT           OR           90012699971
566B9473155939   ANGEL                COLE               CA           90014694731
56711A47185928   FERNANDO             VAZQUEZ            KY           90013950471
567144A3991587   DENNIS               YBARRA             TX           90014844039
56716A94161971   ROSALBA              HELWA              CA           90013780941
56717A81757157   ELIAS                APARICIO           VA           90011270817
56719A81885928   OBDULIO              RAMIREZ LOPEZ      KY           90013950818
5672232254B588   JAMIE                DAWN               OK           90013043225
5672332734B588   KAYLEE               LEDFORD            OK           90012793273
5672364164B29B   CONNIE               GRANT              NE           27068316416
567251A8785928   JOSUEL               ECHEVERRIA         KY           90013951087
56729961A61971   LILIANA              VALDEZ             CA           90007369610
5673159637B46B   STEPHEN              BRYDEN             NC           90008065963
56734375672B49   JAIME                KENNEDY            CO           90013363756
5673B143785928   GABRIEL              MORALES            KY           90013951437
5674232734B588   KAYLEE               LEDFORD            OK           90012793273
56742718872B36   AKILAH ESHE LILLIE   MITCHELL           CO           90012617188
56744218172B36   YULIANA              CORONADO           CO           90013782181
56745214672B38   GEORGE               LANG               CO           90013042146
5674724525B387   LISA                 DOGGETT            OR           90001112452
5674971A62B27B   TAMEKA               ROBINSON           DC           90014247106
5674978672B27B   OSCAR                ALVAREZ            DC           90011127867
5674B1A342B27B   HATERIA TAMIKA       PEARSON            DC           90011981034
567522AA32B27B   ASHLEY               CRESTWELL          DC           90009322003
5675399173B332   SHAWN                ELLIS              CO           90010289917
56753A68557157   HALEY                FRANK              VA           90009090685
56758799172B88   SANDRA               MOLINA             CO           33011407991
5675941885715B   BRAIN                MASIN              VA           90011924188
56759993A5758B   SHARON               BARTLEY            NM           90012559930
56759A3195B543   TYRESHIA             CHESTNUT           NM           90003280319
56763339372B38   ROBERT               WILLIAMS           CO           90013753393
5676439A731429   ROBERT               JOHNSON            MO           90010483907
567653A9191587   RITA                 ONTIVEROS          NM           90012803091
56765A3584B588   NATASHA              KENNEDY            OK           90013170358
56768711372B98   VIRGINIA             AMBRIZ             CO           90009617113
5676B67115758B   SARAH                CLOSSON            NM           90000806711
56772726472B49   SL                   MORALEZ            CO           33008437264
56772A9967B46B   SUGEY                MANZANARES         NC           90011910996
5677439272B27B   LAKEYVETTE           SEARS              DC           90014323927
5677675A561971   MICHAEL              ROSE               CA           90013057505
56778297A4B588   ASHLEE               GARDNER            OK           21589442970
56781A58961965   PEDRO                CADENA             CA           90014950589
5678226287B46B   RAUL                 OCHOA              NC           90012622628
5678247235B271   JERMAINE             BERNARD            KY           90004404723
56783641A51348   MELISSA              BURNS              OH           90007926410
56783721372B67   VICTORIA             GONZALES           CO           33092817213
5678414A372B67   HELEN                MARTINEZ           CO           90011141403
56784834A33682   DAVID                ROBERTSON          NC           90013878340
56785421372B27   JOHN                 CIMAFRANCA         CO           90009034213
5678559484B588   JOSHUA               WELCH              OK           90013505948
56785995A72B38   MALCOLM              COULTMAN           CO           90014559950
5678631195B399   KIMBELY              KANTO              OR           90011323119
56788711172B67   CHATAYA              LOLLIS             CO           90000817111
56789426A55939   JOHN                 LUNA               CA           49006134260
5678B139872B67   JAMIE                CRAWFORD           CO           90011141398
56794572472B36   GEANESIA             HINTON             CO           90014105724
56797829572B49   TERESA               LIGHTHALL          CO           33096938295
5679853557B46B   KEIASHA              BUTLER             NC           90013835355
5679962A472B38   ROBERT               KETTERMAN          CO           90010296204
5679B51255B387   PEDRO                MARCELINO          OR           90006555125
567B2586772B43   OLIVIA               TIEH               CO           90013175867
567B523195B399   NORMAN               CORTES COKER       OR           90014812319
567B5557172B67   CHARLIE              GARZA              CO           90011155571
567B759A955939   ALEXANDER            VASQUEZ            CA           90013245909
567BB46935B399   DENNIS               DIXON              OR           90010734693
567BB629161971   GAVINO               PINEL              CA           90011236291
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567BB989A61971   EDWARD         WHITESIDE                CA           90013049890
5681212725758B   GERMAN         ROMARO                   NM           90004071272
56812482A55939   JUAN           ORTIZ                    CA           90012164820
56812A2882B27B   DESTINY        MACK                     DC           90012850288
5681376A291988   JESUS          ARROYO BENITEZ           NC           90011177602
56813847472B38   MARTIN         QUINTANILLA              CO           90012808474
56817993672B38   DELRENA        CHAVEZ                   CO           90012699936
5681BA6165758B   GUSTAVO        MEJIA                    NM           90013840616
5682512A191587   ESTEVAN        PINON                    TX           90013661201
5682B265291893   CHRISTIE       WATSON                   OK           90009942652
5682B776A72B49   YONNICE        JOHNSON                  CO           90011997760
5683181A472B38   NATALIE        GRIFFIN                  CO           90006308104
5683849532B27B   SHARYN         PRYOR                    DC           90012554953
5683B43922B27B   JAYVEL         WATERS                   DC           90014874392
5683B717372442   REGINA         METRO                    PA           90001127173
5683BA3A54B588   JOSH           BLEDSOE                  OK           90013370305
56841492A72B38   LUZ MARIA      RODRIGUEZ                CO           90013924920
5684255435715B   ANDRES         POCASANGRE               VA           90009195543
56842A9A672B49   CRYSTAL        ALDERETE                 CO           90012310906
5684659A155997   ISAIAH         LORENZO                  CA           90012355901
5684794A572B27   RAQUEL         CAMPOS                   CO           90007709405
568514A8372B27   JOHN           BUGARINS                 CO           90013604083
5685193A991895   AMANDA         BECERRA                  OK           90013789309
56853879272B38   BARRETT        JEREMY                   CO           90007278792
5685435365B387   MR BRIAN       CEK                      OR           90011343536
56855762972B88   MARISOL        MARTINEZ                 CO           90003207629
5685939235715B   ALFRED G       THULLAH                  VA           90014073923
5685B426A5B387   STEPHANIE      SANCHEZ DEL RIO          OR           90015124260
5686528825758B   MARIA          HERNANDEZ                NM           90013682882
56866A18172B38   MARIA          MARRUFO                  CO           90004030181
5686B349785928   ANTHONY        FRAZIER                  KY           90014873497
5686B787755997   SYLVIA         TORRES                   CA           90009337877
56873593672B49   JESUS          LUNA RODRIGUEZ           CO           90013335936
5687431AA5B399   PAM            BROWN                    OR           44598163100
5687624272B27B   TRANESHIA      STAFFORD                 DC           90012992427
56878349A55939   PRECIOUS       BARRIOS                  CA           90014833490
5687961245B387   ANNA           WRIGHT                   OR           90011426124
568835A5861965   DAVID          SEAVELLO III             CA           90013115058
56884157772B38   KATIE          FERNANDEZ                CO           90013061577
5688784A34B588   VALERIE        FOY                      OK           90014268403
56888A4A885928   AUTUMN         HADDIX                   KY           90014060408
5688972287B46B   KENNIETH       BOONE                    NC           90008067228
5689371A471946   ANNA           KARIEGE                  CO           90011967104
5689514472B27B   SAMUEL         WARREN                   DC           90012851447
56898637A55939   CYNTHIA        SANCHEZ                  CA           90000436370
568988A325715B   HINA           AHZAZ                    VA           90011798032
56898A8574B588   SHAQUETTA      MACK                     OK           90013250857
568B27A795758B   CUNG           NGUYEN                   NM           90010697079
568B2977161971   CHESTON        HAUER                    CA           90014099771
568B4458255997   ELISEO         GALLEGOS                 CA           90013074582
568B451115B387   BRYCE          WASHINGTON               OR           90014345111
568B8189672B49   MARCUS         MATHEWS                  CO           90013311896
569121A8872B67   JOSH           ANDRESON                 CO           33008101088
56916A34333699   ALBERTO        MALDONADO                NC           90011810343
569196A644B588   NANCY          AVILA                    OK           90014686064
5691B677933699   ROBERT         WRIGHT                   NC           90002276779
5692257442B27B   MARKETA        WILLS                    DC           90001295744
56925A9A95758B   ENRIQUETA      CARRERAS                 NM           90012030909
5692738755B283   MR JAMES       WEATHERS                 KY           90005543875
5692B2A8172B49   RUFINA         LAGUNAS                  CO           90011072081
5693151A955939   JESSICA        VENTURA                  CA           90011405109
56932A66572B67   RAN HAE        KIM                      CO           90010600665
5693462AA7B359   MELISSA        MONROE                   VA           90010016200
569357A9633696   IMARI          WATKINS                  NC           90001807096
5693613A35B387   TRISHA         BROWN                    OR           90013581303
56936696172B67   VICTORIA       ANTONIO                  CO           33047096961
5694221A85B236   DAVID          YATES                    KY           68092202108
5694396A161965   AMY            CANNON                   CA           90002849601
56946473A51348   LUCINO         PATINO LUNO              OH           90013804730
56952248A57157   ZOILA          REYES                    VA           90010022480
56952A17833645   MING           CHIEN                    NC           12021390178
5695375175B387   LAVINA         NEWTON                   OR           90013987517
56957A1AA5715B   CRISTINA       GALINDO                  VA           90012040100
5695B787785928   HEATHER        LANE                     KY           90014917877
569629A1391587   SUSANA         TORRES                   TX           90013609013
5696424685715B   TIJAHUN        TESFAYA                  VA           90011802468
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5696529835715B   EVIN           TORRES                   VA           90014112983
5696B58A95B399   TONY           DAVIS                    OR           90010245809
5696B64745B399   JOHNATHAN      SHAW                     OR           90014186474
56971112A2B27B   EDRICK         THIMES                   DC           90012861120
5697422574B588   BRITNEY        SHELBY                   OK           90014742257
56976899A72B36   MARY           COLECCHI                 CO           90014248990
5698513537B46B   STACY          BEATTY                   NC           90013331353
56985322172B49   VITTORRANIO    MIERA                    CO           90014843221
56985921172B43   BRYCE          MICKELSON                CO           90010699211
5698621A64B588   JEFFREY        GAMBLE                   OK           90014802106
5698678495758B   KELLY          PEACOCK                  NM           90008597849
56987173972B38   NAKARRI        JONES                    CO           90013051739
5698782385B531   JESUS          FLORES LOPEZ             NM           90007708238
569882AA477581   ELIZABETH      BAUTISTA                 NV           90011482004
5698854A185928   CHELSIE        CAMPBELL                 KY           90014935401
5698958A25758B   DEREK          CHAVEZ                   NM           90014255802
5699143412B27B   FAYE           JOYNER                   DC           90014134341
56992175A72B67   JOHN           MCCOVY                   CO           90008871750
56994842672B43   MELISSA        CHAVEZ                   CO           90009978426
5699488647B46B   BRITTANY       ALLISON                  NC           90012158864
56994A8A761971   GARCIA         UGOT                     CA           90014450807
5699941225758B   AMANDA         GOMEZ                    NM           90012184122
56999961272B98   THOMAS         ROBINSON                 CO           90008769612
5699B72A561971   GIUZEL         QUINTERO                 CA           90010767205
569B186A855939   KATRINA        HENDRIX                  CA           90013798608
569B255732B27B   JUSTINA        PETTWAY                  DC           90014885573
569B3A2468B837   KETSY          SOS                      HI           90013750246
569B8518857157   BERIDA         CARDONA                  VA           90008505188
569B881A75715B   JIMMY          MARTINEZ                 VA           90013048107
569BB85155B399   HENRY          JONES                    OR           44506018515
56B1344173B35B   OSCAR          RIOS                     CO           90011664417
56B13554772B49   ALEXANDER      GIBSON                   CO           90011345547
56B15154272442   TARYN          NICHOLSON                PA           90014631542
56B15673951348   JOHN           ENDRESS                  OH           90009276739
56B16628381666   AMY            GAPPA                    MO           90001256283
56B17152161965   THOMAS J       SALGADO                  CA           90012391521
56B18466A72B38   BRENDA         FAULKNER                 CO           90014814660
56B1941414B588   STEVEN         LAFFOON                  OK           90012364141
56B1BA2535715B   BLANCO         OSCAR                    VA           90011900253
56B21A35172B67   PAUL           PORTILLO                 CO           33019110351
56B2662167B491   KAWAN          BILAL                    NC           11009376216
56B31616555997   JORGE          PEREZ                    CA           90012786165
56B3316A572B38   ALONSO         FLORES                   CO           90010111605
56B3333A972442   KELLI          JOHNSON                  PA           90005333309
56B34857555939   JOSE           SALCIDO                  CA           90015148575
56B35942861971   LUCERO         ESPINOZA                 CA           90009489428
56B3613455B387   GEOVANNY       SANCHEZ-GONZALEZ         OR           90002251345
56B378A637B46B   RODNEY         BAZLEY                   NC           90014468063
56B38495A55939   JUAN           PABLO                    CA           90014524950
56B3B6A2261965   WILLIE         COLEMAN                  CA           90000476022
56B41398572B49   FELIPE         PINTO                    CO           90013843985
56B41485A4B521   IRENE          MARTINEZ                 OK           90003424850
56B4315A933699   SAMIA          RASHWAN                  NC           12041441509
56B4388755715B   NAHUM          REYES                    VA           90007138875
56B44A9744B588   TORI           LONG                     OK           90013120974
56B4542145758B   TODD           FULTON                   NM           35593604214
56B45427155997   JESUS          HIPOLITO                 CA           90013934271
56B45A15372B67   PAUL           JORDAN                   CO           90010140153
56B4628427B491   TATIANA        MONSALVE                 NC           11043912842
56B4816267B491   RYAN           HANEY                    NC           90012031626
56B48A4877B46B   ERNESTO        NUNEZ                    NC           90013730487
56B49427272B88   JOYCE          GREGORY                  CO           90001074272
56B5188554B587   ISRAEL         ISRAEL                   OK           90011138855
56B52277185928   JORGE          VEGA                     KY           90011722771
56B546A3172B67   MIKE           TRUJILLO                 CO           90012406031
56B54A41472B67   MIKE           TRUJILLO                 CO           90011140414
56B5524182B27B   DAVID          WILLIAMS                 DC           90012992418
56B554A8A5B129   JESSICA        YORK                     AR           90005294080
56B55A55172B88   ERICH          MITTELSTAEDT             CO           33073130551
56B56912776B97   MARIBE         MAYA                     CA           90003209127
56B5727A972B43   OSCAR          MENDO                    CO           33053072709
56B5798A65B399   VICTORIA       HASSEL                   OR           90012419806
56B5B34585B387   RYAN           KUMM                     OR           90013333458
56B5B895855997   BRIAN          GARCIA                   CA           90012768958
56B61A36831428   BEAUTIFUL      LOVE                     MO           90006500368
56B635AA25B387   ARTEMISA       BEDOY                    OR           90010235002
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56B63832361965   KARISSA        BAILEY                   CA           90013578323
56B63936472B49   JIMMY          TRAVIS                   CO           90012999364
56B64649A2B27B   THIERRY        MANGA                    DC           90012966490
56B6788595B236   LAURA          DAVIDSON                 KY           90009168859
56B67989957128   DAVID          MENDEGILA                VA           81072399899
56B6951765715B   GUEVARA        ALEXIS                   VA           90012035176
56B6964642B27B   CHRIS          JOHNSON                  DC           90014726464
56B69748A51348   RICHARD        CARPENTER                OH           90012797480
56B6983A372B43   RALF           MORONES                  CO           90013858303
56B6998935715B   GUEVARA        ALEXIS                   VA           90014159893
56B71265A61971   JADE           HOWARD                   CA           90012742650
56B71567772442   JEANIE         BUTTS                    PA           90009315677
56B77312872B36   JERRY          JIMENEZ                  CO           90013333128
56B79333A33699   OGLACIA        PATTELSAN                NC           90009643330
56B81A4985715B   SOLEYMA        MORALES                  VA           90013610498
56B82398672B49   DAVE           MANCINILLI               CO           33090313986
56B83595A5715B   BRENDA         ARCE                     VA           90013065950
56B84928925154   LUTHER         BREWER                   AL           90011149289
56B8B63259373B   LATOYA         RENNEE STEWART           OH           90006846325
56B91A85161965   OLGA           FREGOZO                  CA           46055210851
56B93A2A991587   JOSE           AMBRIZ-RUIZ              TX           90011030209
56B9438A372442   RONALD         HOWAED                   PA           90014693803
56B9463595B236   SYDNEY         BRUNDIDGE                KY           90009066359
56B95211361971   MAYKALA        MENDOZA                  CA           90010742113
56B9719725B531   ROWENA         SANTOS                   NM           90010431972
56B98537772442   ALICIA         LEE                      PA           90014705377
56B98A7A32B92B   JEANETTE       NUNEZ                    CA           90011560703
56B9989257B46B   MIYORI         BAKER                    NC           90013398925
56B9B98A15758B   PEDRO          HERRERA                  NM           35514109801
56B9BA93372B38   JOSUE          CARRERA                  CO           33097130933
56BB4648651348   ANTONIO        DOZIER                   OH           90009276486
56BB4A46A61971   ANGELICA       VALDEZ                   CA           90014180460
56BB65A114B28B   THOMAS         MIRACLE                  NE           26096445011
56BB9346A5715B   WALTER         RIVAS                    VA           90005203460
56BB958844B588   JEANMARIE      FORGA                    OK           90011015884
56BB95AA655997   ALICIA         HARNER                   CA           90014175006
56BBB192472B36   TANIKCA        REAVES                   CO           90013781924
5711628195758B   MARIA          NUNEZ                    NM           90013612819
5711634A354152   COLE           TUTTLE                   OR           90011253403
571179A687B46B   JAMES          CINEQUEGRANO             NC           90010969068
571194A3A5B236   AUTUMN         DANIELS                  KY           90012314030
5711B726361965   RUBY           ARELLANO                 CA           90000127263
571241A9576B31   LUISA          CARMONA                  CA           90011161095
5712735925715B   KENIA          CALLX                    VA           90012163592
571295A8272B43   CESAR          MENDOZA                  CO           33027815082
571345A4A54152   JEANETTE       RIDDLE                   OR           47041765040
57135374172B38   ZACH           SNYDER                   CO           90004143741
5713584215715B   KUDZAI         KURAPA                   VA           90013988421
571383A155715B   GARDNER        VILLAGOMEZ               VA           90006493015
5713968164B588   AMBER          RICHARDS                 OK           21592776816
571396A115B399   SARA           HURSEY                   OR           90014996011
5714363722B27B   LENITA         WHEELER                  DC           81014166372
571444A555715B   CARLOS         CEDILLO                  VA           90014584055
5714452A672B27   CASANDRA       GALLEGOS                 CO           90014815206
57144628A72B27   DESTINY        BARTLETT                 CO           90013446280
5714558A65B387   TIFFANY        ELLIOTT                  OR           90013245806
5714865122B27B   MANUEL         MEDRANO                  DC           81012756512
5714916945B393   CHRIS          GARCIA                   OR           90011341694
5715118435B387   AGUSTIN        CASTANEDA                OR           90014381843
5715632335B387   ROBERT         HARMES                   OR           90011063233
5715764164B588   CELO           KEITH                    OK           90009826416
57158449772B43   FRANKI         REVELLO                  CO           90012014497
57159172172B43   ROMAN          VIGIL                    CO           90013741721
57164158A55997   ALEJANDRO      VILLA                    CA           90010731580
5716468242B27B   JOHANNA        CHAMBERLAIN              DC           90014806824
571668A4191524   NATHAN         BRYANT                   TX           90007638041
57169A1A55B393   ARCHIE         MOORE                    OR           90013030105
5716B18945B283   HEATHER        SHEALY                   KY           90009071894
57172438472B38   CARMELO        VALDEZ                   CO           90013814384
5717364625B387   CECILIA        LOPEZ                    OR           44586446462
5717481A461965   SANTIAGO       HERNANDEZ                CA           90012988104
571758A9357541   CASSANDRA      FOREMAN                  NM           90011588093
57176339672B88   DANIEL         PEREZ                    CO           90003273396
5717679213B338   ELIZABETH      BLUMETTI                 CO           90007027921
5717737A972B27   JACK           ROLAND                   CO           90014503709
5717932864B588   SCARBOROUGH    KRYSTAL                  OK           90009263286
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571794A185758B   SONIA          CASTILLO                 NM           90007294018
57182875872B36   SHANTEL        VIALPANDOGARCIA          CO           33005108758
57184596A5B531   MISTY          STEVENS                  NM           90013095960
5718496345B283   PATRICIA       HALL                     KY           90008979634
5718531855B387   CIN            KIM                      OR           90012243185
57192A95655997   ZEFERINA       DOMINGUEZ                CA           90009620956
5719B72A45B399   ROSA           EPENROSA                 OR           90014947204
571B1615891587   YOLANDA        LOPEZ DE FLORES          TX           90013566158
571B181735599B   FANI           GOMEZ                    CA           90013808173
571B2712A5B283   STACEY         CALDWELL                 KY           90011947120
571B3983355997   ANTONIO        GARCIA                   CA           90014779833
571B441235B236   BRYAN KELLY    BROWN                    KY           90014854123
572169A1833696   SHANLYN        STEVENSON                NC           12008159018
57217553472B43   ERIK           JIMENEZ                  CO           90014045534
5722217247B491   DOUGLAS        HARRIS                   NC           90008931724
5722873175758B   TANIA          GOLDEN                   NM           90009687317
5722938AA5B387   MIA            MCCORMICK                OR           90001703800
5722B26975715B   JOEL           HENRIQUEZ                VA           90013022697
5722B8AAA72B38   RACHEL         VIGIL                    CO           90012858000
5723197A272B38   DONNA          FREDERICO                CO           90012909702
572383A9391587   JOSHUA         SALINAS                  TX           90011133093
5723887622B27B   MIKE           SMITH                    DC           90013918762
57241A69455997   DAVID          ORTIZ                    CA           90013190694
5724239535758B   CARLOS         HERNANDEZ                NM           90003823953
57243977A33699   DONTE          FRANCE                   NC           90010079770
57244A86591895   RICARDO        JONES                    OK           90013950865
5724884765715B   JOSE           RIVAS                    VA           81042008476
57249164672B27   JULIO          OVANDO                   CO           33081451646
5725515915758B   DAVID          GOMEZ                    NM           90011971591
5726228425B387   VENANCIA       ROMERO                   OR           90011182842
57264947872B43   CRISTINA       ACEVEDO-CALLEJA          CO           90012159478
5726554334B588   CAROLE         START                    OK           21551905433
57265588872B38   GARY           ALBERTS                  CO           33037475888
57267A89572B38   DANIEL         MACHADO                  CO           90011950895
57268122172B34   CRUZ           BURCIAGA                 CO           33015461221
5726874992B27B   TAMESHIA       FOWLER                   DC           90014807499
5726885865B531   ALISANDRA      GRIEGO                   NM           90013218586
5727248A52B231   LATASHA        CLIPPER                  DC           90007704805
57273488672B43   ESTEVAN        ROSA                     CO           90008464886
572734A2A7B46B   TRACEY         HAYDEN                   NC           90011354020
5727854334B588   CAROLE         START                    OK           21551905433
5727B352433696   LASHUNDA       RUDD                     NC           90002913524
572838A3972B38   GEORGIA        ALLEN                    CO           90011688039
5728684515715B   BLANCA         CORTEZ                   VA           81076518451
57287577572B36   LUCIO          RUIZ-VALENCIA            CO           90013285775
5728B479A72B49   ANNA M         ROMERO                   CO           33088584790
57295A5735B531   MARCOS         GONZALEZ                 NM           90013800573
57295A9845B236   MICHAEL        SUTTON                   KY           90013930984
57296249A72B27   MICAELA        MARTINEZ                 CO           90011892490
57297617A72B49   JOAN           ELAINE FRISCH            CO           90011346170
5729977452B27B   RONIQUKA       HAMMOND                  DC           90014807745
572B1525751348   SARAH          CALLINAN                 OH           90014705257
572B1596972B27   DALILA         CARBAJAL                 CO           90013375969
572B26A855B236   HEATHER        POYNTZ                   KY           90011216085
572B479A45B236   CHRISTY        SMITH                    KY           90013167904
572B8728655997   SAMMY          CUEVAS                   CA           90011507286
572BB83615B283   RAYSHAWN       BELL                     KY           90003728361
572BBA58472B43   MAIKUDI        SHOAGA                   CO           90012980584
573161A344B588   LIZZETH        HERNANDEZ                OK           90009791034
573256A595B393   SELENE         CORTEZ-PEREZ             OR           90013046059
5732895815B393   JON            MEYER                    OR           90012859581
57329819672B43   RENEE          OCHIUZZO                 CO           33091198196
5732B325A72B27   JIMMY          MEDRANO                  CO           90014603250
5732B668A51348   JOSEPH         ANNEKEN                  OH           90010486680
5733161685758B   SCHIEK         GAIL                     NM           90006936168
5733223384B588   CODY           RIBBLE                   OK           90013002338
5733625175B236   DAVID          HARRIS                   KY           90013302517
5733916592B27B   ALLEIA         WRIGHT                   DC           90010451659
5733B971672B49   NOREEN         HUNT                     CO           90013409716
573439A8A5B271   KAREN          WRIGHT                   KY           90002389080
57345971272B38   CHRISTOPHER    MCDANIEL                 CO           90012589712
5734B914A72B36   BRENDA         LOPEZ                    CO           90006829140
57353582772B27   TYLER          WILLIAMS                 CO           90013185827
5735397325B387   PEDRO          RICO PIEDRA              OR           90013869732
5735458A477533   JOHN           GURTON                   NV           90008385804
57356692372B43   MONICA         BACHICHA                 CO           90011416923
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5736359815758B   REBECCA                   TORRES                NM    90011245981
573637A585B236   STEPHEN                   YOUNT                 KY    90007747058
57363A45161971   JULIA                     WISE                  CA    90013950451
5736779275B531   JOANNA                    GONZALEZ              NM    90014667927
5736812152B27B   ERICK                     MONTOYA               DC    81061451215
5736B67937B46B   ANITRA                    PHIFER                NC    90011176793
57373919A72B21   MELBORNE                  TALLMAN               CO    90006579190
5737542944B588   LASHONN                   THREATT               OK    90012444294
5737587765B393   LAURA                     THOME                 OR    44514058776
57378522A5B387   JESSICA                   BARBER                OR    90002835220
57381A9715B387   MICHELLE                  TYRRELL               OR    90013000971
5738282845B393   GLEN                      SANTA                 OR    90014758284
57383326A72B49   CHAD                      BASNETT               CO    90013263260
57384311472B27   YVONNE                    JOHNSON               CO    33062413114
573847A945B531   JENNIFER                  DUNN                  NM    90010967094
57385792372B49   SWAYSEN                   TRUJILLO              CO    90012867923
57386213872B49   CHEZ                      BURDICK               CO    90011152138
5738945895715B   TONYA                     HAGAN                 VA    90011594589
5739237715715B   MASSOUD                   SARWARI               VA    90012453771
5739385837B46B   KEBEBUSH                  TOLENO                NC    90014988583
5739928195758B   MARIA                     NUNEZ                 NM    90013612819
5739B16585B387   JONATHAN                  PILGREEN              OR    90014601658
573B1151972B27   NORBERTO                  RODRIGUEZ             CO    33079741519
573B178A15B399   LISA                      YATES                 OR    44588127801
573B594744B588   TIFFINE                   JOHNSON               OK    90012339474
573BB29574B588   SAMANTHA                  MYERS                 OK    90008562957
573BB864191895   GUADALUPE                 NOHEMY                OK    90012768641
5741287465B271   JESSICA                   HALL                  KY    90003538746
5741457797B46B   ESPERANZA                 SANTOS                NC    90014995779
57417A9935715B   JULIO                     MARTINEZ              VA    90012520993
5741B6A1691587   LUIS                      MATA                  TX    90005216016
574215A846194B   ERNESTO                   PADILLA               CA    46056585084
5742287A454152   JULIE                     SMITH                 OR    47062288704
5742289847B46B   MARIA                     MONTALVO              NC    90011428984
5742317755B399   JEREMY                    ELLIOTT               OR    44560371775
5742763217B46B   MOISES                    VILLALVA              NC    90014996321
57428163672B27   ALEXIA                    MARQUEZ               CO    33035501636
5742895A533699   KEVIN                     WILSON                NC    90008489505
57429273372B43   MARIA                     HERNANDEZ             CO    90012042733
57429AA5672B88   MARCELO                   ARAUJO                CO    33072690056
57432A5487B491   TAMMY                     STROUD                NC    11008420548
5743343474B588   CHRISTINA                 MCNEES                OK    90012374347
574357A875715B   MOHAMAD                   ASLAM                 VA    90014817087
57438325A61971   LANASHA                   HERRIOTT              CA    90010363250
57438785672B43   KYRAH                     TATUM                 CO    33076977856
5743885A572B38   KHRYSTALE                 ALVARADO              CO    90011688505
574421A6891587   LUIS                      JURADO                TX    90012731068
57442AA6672B36   SHANYKA                   TINNER                CO    90011080066
57444AA834B588   MIGUEL                    ESQUIVEL              OK    90003900083
5744532255715B   JENNIFER                  PATTERSON             VA    90007923225
5744737295758B   MARIA                     DURAN DE BUSTAMANTE   NM    90011513729
5744761892B27B   ANTHONY                   HORTON                DC    90014406189
57452A59455997   LISA                      CARDIEL               CA    90004180594
57453857872B38   ARIELLE                   PARRISH               CO    90011688578
5745536A261965   EUGENA                    LARKINS               CA    90011033602
5745569565715B   STEVE                     GONZALAS              VA    90011936956
5745941192B27B   ANTANEICE                 DUNCAN                DC    90012844119
5745946A457591   ANGELA                    BIGELOW               NM    90002404604
5746239895758B   SOFIA                     AYALA                 NM    90014583989
57464349A61971   ANDREW                    VEGA                  CA    90014743490
5746746995B236   KENNETHA                  SHILLITO              KY    90014304699
5746757295B399   TERESA                    BERGSTROM             OR    44577615729
5746825994B588   JONATHAN                  MELILLO               OK    90004822599
5746BA7995B236   JAMES                     ROBY                  KY    90013370799
574732A1A55997   JOSE                      ESTRADA               CA    90011162010
5747488865B236   MARTINA                   BETHEL                KY    90010478886
57475A57657157   SANTOS                    GERMAN                VA    90010920576
5747714395715B   WENDIE                    GEBEYEHU              VA    90013961439
57478117A55997   ROBERTO                   HERNANDEZ             CA    90010971170
57479824A5B283   BRYAN                     BROWN                 KY    90010058240
5747B4A4731429   MARY                      STRICKLAND            MO    90004334047
57481A58A5B551   JUAN OR RHONDA QUINTANA   TORRES                NM    90012270580
57482A54672B88   RINABEL                   WALKER                CO    90010580546
57485A1254B588   TABITHA                   DEAL                  OK    90007880125
5748679125758B   EDLIN                     REZA                  NM    90014307912
57486A11955997   NICKLAS                   TRANCHANT             CA    90013910119
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57488381672B27   BRANDY                HUNT              CO           90010193816
5748B925972B38   TONY                  LEWIS             CO           90008949259
57492716572B38   JOSUE                 GALINDO           CO           90010047165
5749639145B399   FLIMON                REZENE            OR           90014973914
5749648395B393   ARNALDO               PARDO             OR           90008644839
57497A6395715B   CAITLIN VICTORIA      AGUILAR           VA           90013990639
5749821725B387   STEVEN                PROVORSE          OR           90013322172
574B218A14B588   JUANA                 ORIADO            OK           90014611801
574B28A412B27B   LUMEL                 ROBINSON          DC           90014888041
574B34A945B283   DARREL                RICHARDSON        KY           90009864094
574B451A55715B   YOVANI                ARDON             VA           90008125105
574B619915B543   HENRY                 VIDAL             NM           35029191991
574B86A1372B27   DENISE                LORENZEN          CO           33086796013
5751139895758B   SOFIA                 AYALA             NM           90014583989
5751293A772B38   PAMELA                BEAR              CO           33086709307
5751376624B588   SCOTT                 PRESLEY           OK           90013837662
575142A4691895   LOURDES               LOPEZ             OK           90013952046
5751488865B399   EDUARDO               DELEOR            OR           90011158886
57515925372B36   KARLA                 LOYA              CO           90011929253
57515A36955997   VERONICA              CRUZ              CA           90012850369
575177A8572B38   WHITNEY               THRASHER          CO           90004107085
57521982A2B27B   CURT                  DORN              DC           90009009820
5752298762B27B   CHRISTOPHE            WOODLAND          DC           81052929876
5752381A85758B   ALEJANDRO             PEREZ             NM           90015058108
57523AA2661971   STEVE                 MILLER            CA           90011600026
5752638AA4B588   CHERYL                KILPATRICK        OK           90012943800
5752661615B393   TONY                  MIKAELL           OR           90013056161
57526A42791587   YVIANNA               CANDIA            TX           75046210427
5752716A94B521   ALICIA                VUILLIER          OK           90006211609
5752764A761971   AIOTEST1              DONOTTOUCH        CA           90015116407
57527845372B34   KATIE                 GWINN             CO           33011528453
5752849355715B   FELIPE                MENDEZ            VA           90003684935
57528A3755B236   S                     B                 KY           90012760375
57531467572B43   TARA                  GREEN             CO           90000844675
5753335945715B   -EVA                  MONTERROZA        VA           90011603594
5753631265715B   HERMIS                MORENO            VA           90013933126
57537AA875715B   HERBERT               RAMSEY            VA           90013650087
5753844A291587   AGUSTIN               FAVELA            TX           90008994402
5753B635361965   AIOTEST1 DONOTTOUCH   DONOTTOUCH        CA           90015116353
57541946A4B588   JAMES                 JACKSON           OK           90000719460
5754229165758B   ELIZABETH             LEE               NM           90012742916
57546A2715758B   CARLA                 OCON              NM           90013290271
57548648A72B35   SHELIA                MARSHALL          CO           90013616480
57549615572B32   ERNESTO               UNGUIA            CO           90012946155
57553A6175B399   AUSTIN                PECKHAM           OR           90014980617
5755B575672B38   ANDREA                GRIMES            CO           90005355756
5756494A461965   WALIS                 SANTANA           CA           46014459404
5756649335B283   KENNETH               PRICE             KY           90008104933
575699AA95B531   BIBIANA               PENA              NM           90000629009
5757B24365B236   TAMMIE                ORTIZ             KY           90013092436
5757B29447B491   JESSICA               HILDERBRAND       NC           90005192944
5757B51112B27B   BERNARD               MUNDAY            DC           90013085111
5757B925272B38   T                     KSCOTT            CO           90006929252
57583443472B27   GLORIA                ARROYO            CO           33095224434
57583967324B85   LUIS                  REYES             DC           90012279673
5758429665B531   RIGOBERTO             MONTANO           NM           90013332966
5758497964B588   LOTOYA                JOHNSON           OK           90011209796
575865A1A7B46B   KWAME                 WITHDROW          NC           90011995010
575893A695B393   LESLIE                MAYA              OR           44529773069
5758B493391587   MARIA                 DE VILLARREAL     TX           90011014933
5758B91753B191   REINA                 TICONA            VA           90002359175
5759328937192B   JASON                 BLOMQUIST         CO           90014132893
57597757A33699   LATRIKA               PAYNE DRAKE       NC           90013617570
575B278615B393   JUSTIN                WATERS            OR           90014857861
575B6862372B43   JAMES                 ABAD              CO           90009858623
575B78A6972B88   BROOKE                KASPER            CO           90000718069
5761124995B236   ROBERT                HUSTON            KY           68041262499
5761349235758B   DIANA                 SANCHEZ           NM           90010404923
576155A5972B88   ROSARIO               HILDALDO          CO           90003825059
576177A6372B38   ERIK ALEXANDER        ROJAS             CO           90013677063
5761875745715B   DAREN                 MCEWAN            VA           90013197574
5762228712B27B   ANTONIO               MARTINEZ          DC           90011162871
57625144A5B387   EVA MARIE             COULOMBE          OR           90012031440
57625194772B43   BERNARDINO            GARCIA            CO           90013931947
57625724A2B27B   GERSON                LEMUS             DC           90000337240
5762588335B531   JESUS                 SOTO              NM           90010738833
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 536 of 1007


5762661383B399   THOMAS         ESPOSITO                 CO           90013866138
5762731674B521   DAVID          GARY                     OK           21578963167
5763251175B236   JEREMY         FROST                    KY           90011905117
57635286372B43   KIMBERLY       FXFORD                   CO           90010822863
5763B976972B38   ANTONIO        LOPEZ JR                 CO           90013389769
5764126445B387   ELVIRA         ALVEZ SALINAS            OR           44537642644
5764224A35B387   ALICIA         GAMER                    OR           90014732403
5764242754B521   RICKY          ORTON                    OK           90008904275
57642523A51348   RIGOBERTO      GARCIA                   OH           90000715230
5764282164B29B   TROY           LANGAL                   NE           27098178216
57642979172B38   KEITH          PERRY                    CO           33008409791
5764316615715B   FLORES         JUAN                     VA           90014041661
57645897572B38   AUTUMN         REED                     CO           90012638975
5764738165758B   SALVADOR       SANTILLAN                NM           90008013816
57649141A5758B   SOLEDAD        LOPEZ                    NM           90011741410
5764965885715B   RAHIMA         MOHAMMADULLAH            VA           90011616588
5765482164B29B   TROY           LANGAL                   NE           27098178216
5765946555B283   RICKY          KENNEDY                  KY           90007404655
5766219195B387   SIQI           KANG                     OR           90012421919
5766784715B543   BIANCA         RIVAS                    NM           35076538471
576692A185758B   ARACELI        RAMIREZ                  NM           90014182018
5766992635B399   LISA           MYERS                    OR           90008339263
57679333A91895   STEVEN         SHIPP                    OK           90013953330
57684539772B36   LILIANA        SAHAVEDRA                CO           33035905397
576846A334B588   LINA           RATTLIFF                 OK           90014936033
5768BA1A45B393   STEVEN         TUIRENR                  OR           90010000104
5769324185B236   ALCOVISE       BURCH                    KY           90014922418
5769334885758B   ARRI           CHAVEZ                   NM           90014853488
576943A725B393   FELIPE         ARRIAGA                  OR           90014553072
5769886A85B236   BULLITT        TROY                     KY           90012138608
57698A78A72B28   TRACY          LYNCH                    CO           90011580780
576B2557472B27   DOUGLAS        SARINOPOULOS             CO           90006505574
576B351112B27B   BERNARD        MUNDAY                   DC           90013085111
576B3729991895   ARELIZ         ESPARZA                  OK           90012267299
576B5A8575B387   LACEY          KISER                    OR           90010670857
576B646812B389   SHARON         WYNTER                   CT           90004904681
576B6553472B49   SUZANA         QUINTERO                 CO           33082995534
576B7549661965   JOSHUA         WINTERS                  CA           90013965496
576B864425B538   MONAE          BEGELTON                 NM           90014286442
576B865515B543   HOLLY          BAECHER                  NM           35002526551
576B92A525B531   PATRICK        AYALA                    NM           90004562052
576B936254B521   LEANN          WHEELWRIGHT              OK           21578953625
576B96A415B531   KRYSTAL        YANEZ                    NM           90012876041
5771285712B27B   ANTHONY        MCNEILL                  DC           90014648571
577166A4991587   EDWARD         MARTINEZ                 TX           75080046049
57716916972B49   EDWIN          VALERIANO                CO           90014909169
5771719835B393   JESSICA        PRATHER                  OR           90013071983
577197A1591895   NATASHA        MURRAY                   OK           90013527015
5772393585715B   FLOR           GIRON                    VA           90013089358
5772415865B236   SHANEQUA       ROEBUCK                  KY           90011221586
57725651A72B27   CINTHIA        CANO                     CO           90012076510
5772671A75B531   ALBERT         ESPINOZA                 NM           90012757107
577271A6461971   KANOE          MITCHELL                 CA           90012071064
577286A6131429   STEVEN         GADDY                    MO           27514266061
57729891A5B283   ADRIANE        GLENN                    KY           90008398910
5773119A361971   ROBERT         WENEDT                   CA           90011251903
5773418525B531   TERRELL        BOESKE                   NM           90013861852
5773989595B393   CHRIS          BOCHSLER                 OR           90011708959
577434A122B922   GUADALUPE      BENITEZ                  CA           90012444012
577447A555B531   WILLIAM        CHISHOLM                 NM           90009727055
5774573A65B531   LORENA         MLMANZAR                 NM           90007817306
5774717285715B   MOULEIN        ROGER                    VA           90012071728
57747737672B36   ANTONIO        MARTINEZ-SAENZ           CO           90010247376
5775281965B399   TERRIE         ARANGO                   OR           90013428196
5775385A34B588   PATRICIA       ALEXANDER                OK           90010888503
5775514455758B   BORIS          BENIGNA                  NM           90012491445
57758A8145B236   TIFFANY        TERRY                    KY           90015120814
57761362472B36   MARICELA       MEDRANO                  CO           33083553624
57762343A91587   GRACIELA       GONZALEZ                 TX           90013193430
577639A885B399   BRADLEY        LOWE                     OR           90008489088
5776591A17B46B   NANCY          HERCULES                 NC           90010239101
577682A8372B36   AUDRA          GEDNALSKE                CO           90003342083
5776966A72B27B   VAUGHN         HOWARD                   DC           90009026607
5777231A65758B   ESPERANZA      GRIEGO                   NM           90014333106
5778121A672B34   BARBARA        HANSON                   CO           90008692106
5778144645B531   VIRGIA         CHAVEZ                   NM           35047664464
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5778174A561965   CARLOS         MENDEZ                   CA           90014847405
5778278445758B   JENNIFER       GONZALES                 NM           35577247844
57789123572B38   TAYLOR         BERTRAM                  CO           90011691235
5779293325B393   BRIAN          RUSSO                    OR           90011709332
57792A38461971   JOSHUA         MCMUMIN                  CA           90013790384
577943AA672B43   DALE           MAUS                     CO           90011453006
5779512795758B   FELICIA        CASANOVA                 NM           90008501279
577965A785715B   CHRISTIAN      CHAVEZ                   VA           90013935078
5779997875B283   EVE CELESTE    GRIFFITH                 KY           90011639787
577B5428591587   JESSICA        WENDORFF                 TX           90004214285
57814529597B44   JAYNE          LENNAN                   CO           90011285295
57816717A5758B   KEISHA         HERNANDEZ                NM           90010327170
578196A392B27B   MICHELLE       ROBINSON                 DC           90012546039
57821A21A5B531   MATHEW         VARGAS                   NM           90006810210
57823538372B27   KIEL           LARSON                   CO           33048045383
5782428492B27B   TREVA          CALHOUN                  DC           90011312849
5782545825B236   CLIFFORD       VANCE                    KY           90013804582
57827232A55997   ARACELI        RODRIGUEZ                CA           90014652320
57831293A72B43   LORAN          LOFTON                   CO           90011892930
57832499372B43   STEVEN         MCDONALDS                CO           90011974993
5783341545758B   BERTRAM        FORNI                    NM           90012204154
57835718A5715B   FRANKLIN       HERRERA                  VA           90012477180
578371A2A5715B   SILVIA         RODAS GALINDO            VA           90012941020
5783911945B338   MARIA          MEZA-PEREZ               OR           90000371194
57839771A72B49   JONATHON       RUIZ                     CO           90012097710
5783B265372B49   MIGUEL         DE JESUS MENDOZA         CO           90012382653
5784B545572B27   CHARLES        PRICE                    CO           33084325455
5785222315715B   FROYLAN        OLVERA                   VA           90008982231
57854187572B88   DAVID          LOVATTI                  CO           90003941875
57854A32355997   JOCELYN        RODRIGUEZ                CA           90013790323
5785933235B236   CHARLETTA      PARKER                   KY           90004123323
578625A455B236   CHRISTOPHER    SMITH                    KY           90012725045
5786277264B588   CODY           YOUNG                    OK           90013147726
5786448A25715B   ROBERTO        GUZMAN                   VA           90014624802
57865A58772B36   CHRISSY        FOX                      CO           33043790587
57866A4282B27B   ANTHONY        EDAKO                    DC           90012200428
5786725825B236   CRYSRAL        MILLER                   KY           90007072582
5786856A87B46B   TARQUITA       BARNETTE                 NC           90011055608
5786BA2485B393   ROBERT         ANDREW                   OR           90014690248
57872779A91895   VIRGINIA       SEXTON                   OK           90014767790
5787458555715B   LEONARD        JOHNSON                  VA           90006295855
578756A9A33699   SHAYE          PLOWDEN                  NC           90010916090
57877973672B38   KARLA          HARRIS                   CO           90014659736
5788765515715B   DAYSI          AGUILAR                  VA           90011626551
5788816595B393   TIM            BAGLEY                   OR           90008771659
5789247322B245   ERNESTINE      LEWIS                    DC           90001574732
57894315872B43   DOMNINQUE      LINNEY                   CO           90015123158
5789443694B588   MIKE           OLSZANSKI                OK           90006444369
5789559975B399   JESSICA        COLLINS                  OR           44588285997
57898A92472B36   JULIAN         OLGUIN                   CO           90012960924
578B287515B399   NATHALIE       ANGULO                   OR           90010248751
578B464A272B36   JOANNE         GALVAN                   CO           90012276402
578B82A6A72B27   FLAVIO         DIAZ                     CO           90014562060
57911374472B27   VANESSA        OSEI                     CO           90012903744
5791335155B236   DEBRA          BALL                     KY           90009493515
5791545315758B   BRENDA         ZARAZUA                  NM           90013724531
57915A4A972B38   LUIS           LIMON                    CO           90012790409
57918689472B36   CHRISTOPHER    MAZEROLLE                CO           90011096894
57918893572B36   CHRISTOPHER    MAZEROLLE                CO           90013368935
5791B56745B387   JACOB          SCHARBROUGH              OR           90004725674
5791B98355B351   JOSE           GASTELUM                 OR           90008139835
57922AA9755997   ROSALBA        OZORNIO                  CA           90013530097
57923334A61975   ELEAZAR        CUBA                     CA           90005013340
5792476A44B588   KIMBERLY       LYNCH                    OK           90010737604
57925888872B49   TORI           CUCUMBER                 CO           90012318888
5792997964B588   LOTOYA         JOHNSON                  OK           90011209796
579311A685B236   DREW           BLASKE                   KY           90013411068
57931973272B49   PAUL           GUTIERREZ                CO           90013409732
5793252A772B49   NADIA          AGUILAR                  CO           90012905207
5793335515B223   SANDRA         BONDS                    KY           68024163551
5793391475B393   JOE            MARUGG                   OR           90012929147
5793446265B387   ASHLEY         BEDDOE                   OR           90006774626
57934674372B43   JUSTIN         CREDABLE                 CO           90013806743
5793628935B393   TIM            YOUNG                    OR           90014252893
5793917A861971   RICHARD        DELGADO                  CA           90008141708
5794119285B551   STEPHANIE      SOTO                     NM           90000811928
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5794218535B531   LINDA           CANDELARIA              NM           90012461853
5794224112B27B   TAMKIA          BRANCH                  DC           90006022411
57944137572B38   INOCENCIO       MALDONADO               CO           90001261375
5794B57235B236   JAMES           TOLLE                   KY           90013045723
5794BA8392B27B   KIMBERLY        JAMISON                 DC           90003290839
5795129115B236   WILLIAM         ELLIFRITS JR            KY           90011222911
5795219435758B   JUAN            RUIZ                    NM           90012971943
5795227587B491   GLORIA          PEREZ                   NC           90005032758
5795944A15B543   JOSE A          SALGADO-                NM           35035674401
57961683A5B531   SALLY           LUCHETTI                NM           90013676830
57963658972B36   PATRICK         MURRELL                 CO           90013616589
5796439922B228   KAREN           BORUM                   VA           90012443992
57965492A5758B   IRENE           JANOS                   NM           35584394920
5796597A455997   RIGOBERTO       RAMIREZ                 CA           90014059704
57968683A5B531   SALLY           LUCHETTI                NM           90013676830
5796882295715B   ROBERT          NAGEM                   VA           81059558229
5797246242B27B   JESSICA         WARREN                  DC           81029664624
5797255895715B   JUAN            MAXIMO                  VA           90012315589
5797337115758B   CARLA           ESCOBEDO                NM           90013003711
57974678172B58   MERCEDES        POKORNY                 CO           90007806781
5797526965B283   MIRANDA         ZETKO                   KY           90011362696
57976398372B27   BENJAMIN        LUCERO                  CO           90010193983
57976AA355B236   KEVIN           KLUCZINSKE              KY           90011610035
5797952335B393   TYLER           SEARLS                  OR           90013395233
5798872A55715B   JUAN ELEODORO   CORTEZ                  VA           90007957205
5798B235555997   ANTELMO         CONTRERAS               CA           90012772355
5798B534161473   JULIE           RIDGE                   OH           90013885341
57991921272B49   MARIANA         HERNANDEZ               CO           90011939212
579934A9A5B531   ALFRED          ANZURES                 NM           90013584090
5799883845758B   ASHLEY          BARRIENTOS              NM           90009028384
5799B82858B191   JUERGEN         DE LEON                 UT           90010758285
579B1316691895   JASON           SORRELS                 OK           90009063166
579B2995766186   DONNA           HALL                    CA           90014849957
579B3251655997   GABRIELA        MORAN                   CA           90011152516
579B5583A72B43   JOSE            GUADALUPE               CO           90012575830
579B7724A5715B   GARAD           MOHAMUD                 VA           90013097240
579B962A85B531   SHARI           ALBILLAR                NM           90013986208
579B9971372B27   AARON           BOUDREAU                CO           90010239713
579BB219172B36   ALBERT          LOPEZ                   CO           90013592191
57B11772391587   LAURA           GUTIERREZ               TX           90013137723
57B11A31172B36   ARTURO          ENRIQUEZ                CO           90013850311
57B12621A72B38   ALBERTO         RAMIREZ                 CO           90013246210
57B12755257157   HERBERT         GUEVARA                 VA           81093877552
57B13539572B43   RANAE           COLERICK-NOLAN          CO           33016245395
57B1458314B521   EDMUNDO         MENDOZA                 OK           90005735831
57B14919155997   CONNIE          GLENN                   CA           90005009191
57B14987551348   KENT            FRIEDLANDER             OH           90014879875
57B18897551348   BALAJI          REDDYGUNTA              OH           90010438975
57B192A7572B43   RUBY            TRUJILLO                CO           90012042075
57B21189861971   SALWAN          KARYKOS                 CA           46095921898
57B21399872B49   JAMEY           BARTLEY                 CO           90007643998
57B21522161965   REESE           BEECHER                 CA           90004725221
57B229A335B283   JANE            MEFFORD                 KY           90009679033
57B2311845B393   PAUL            KALIMA                  OR           90013371184
57B2457212B27B   JON             DOWE                    VA           90014805721
57B25596991895   RICKY           TYLER JR                OK           90012835969
57B26418A72B43   LUIS            ALVAREZ                 CO           33042024180
57B272A6172B49   MIGUEL          SIMENTAL                CO           90012142061
57B27A2585B387   DUSTIN          GREEN                   OR           90013260258
57B34543472B36   DESIREE         TRONES                  CO           90001635434
57B3738AA5B393   LANE            MARTIN                  OR           90015163800
57B3845865B387   CAAMAL          GUMERCINDO              OR           90009124586
57B3948364B588   MIGUEL          BARRIOS                 OK           90010734836
57B39657891587   OLIVER          ARROYOS                 NM           90010156578
57B4484485B561   EAST            JEFFERY                 NM           90010758448
57B44A4465715B   CARLOS          MENDOZA                 VA           90012600446
57B453A445B531   JOHN            LIAL                    NM           35039493044
57B45872891895   RENE            MARTINEZ                OK           21061868728
57B482A3A5B393   KIMBERLY        CEDILLO                 OR           90012752030
57B4851115B399   BRYCE           WASHINGTON              OR           90014345111
57B49732261965   PETER           CROSS                   CA           90009777322
57B51827391587   ROBERTO         MORALES                 TX           90012978273
57B51A43933699   MARIA           HICKMAN                 NC           90010380439
57B5283A272B36   NKEONYE         EGBUNE                  CO           90007038302
57B5312115715B   ANEYDA          VASQUEZ                 VA           90012601211
57B5396615B283   NIKI            LOHDEN                  KY           68007649661
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57B548A434B588   TAMARA         NORRIS                   OK           90015278043
57B55948431429   BRANDIE        CONNER                   MO           90002489484
57B5818865B393   EDIER          DOMINGUEZ                OR           90014521886
57B59277972B49   VICTOR         ORTIZ                    CO           90002302779
57B59991A91587   VIRIDIANA      RAMIREZ                  TX           90011429910
57B5B1A6672B49   KEVIN          NIEMI                    CO           90014641066
57B5B7A2891895   KYLIE          EVITT                    OK           90012787028
57B6154915B283   ANTOINETTE     MC FARLAND               KY           90008725491
57B64229691895   BENITO         PEREZ                    OK           90013242296
57B6777A131429   SHAUNTE        WHITE                    MO           27505947701
57B69389561971   ROSA ILIANA    CISNEROS                 CA           90014993895
57B71179151383   SANDRA         ANDAVERDE                OH           90005481791
57B7484945B399   RICHIE         JONES                    OR           90002118494
57B76552A7B46B   TAVIS          VAUGHN                   NC           90008095520
57B7796875715B   LESLI          ULLOA MALDONADO          VA           81058389687
57B7B621A72B38   ALBERTO        RAMIREZ                  CO           90013246210
57B8188295B236   INDIA          WHITE                    KY           90013018829
57B81995472B38   JAMIE          FRESQUEZ                 CO           33073409954
57B8435A331429   LAYLAY         JONES                    MO           90001223503
57B84538172B49   LEONARDO       BARRIOS                  CO           90012475381
57B8658765B531   BOBBY          TERAN                    NM           90013255876
57B86593654152   DAGMAR         ARBOGAST                 OR           90010725936
57B875A8191895   EDSON          BELLEFLEUR               OK           90011525081
57B89682A5B393   RACHEL         JOHNSON                  OR           90011926820
57B8B161A72B36   SARAH JEAN     LIESS                    CO           90012451610
57B93233A5715B   JOSE           REYES                    VA           90012752330
57B946A8736165   JEANETTE       GAMEZ                    TX           90006356087
57B9861A42B27B   HEVYN          PAYNE                    DC           90002876104
57BB1935872B49   SHERRY         SWAIN                    CO           33066609358
57BB2173A55997   MONICA         OCHOA                    CA           90009101730
57BB348152B27B   SANDRA         AVENT                    DC           90011394815
57BB45A8772B36   JUAN           LOPEZ                    CO           90009285087
57BB483575B393   TASHA          KRIEG                    OR           90014188357
57BB5651355997   MANUEL         IBARRA                   CA           90014236513
57BB7989854152   JACKIE         GUSTAFSON                OR           90009549898
57BB7A98672B36   RODRIGO        SANTOS                   CO           90013810986
57BBB296397B54   VICTORIA       LINEHAN                  CO           90001942963
5811151215758B   DANIEL         BLUE                     NM           90013235121
58117785572B49   MARIA          SALAZAR                  CO           90015187855
5811973965B239   CAROLYN        MCCLURE                  KY           90014977396
58128173A72B36   NORMA          RAMOS                    CO           90008761730
5812863A676B75   AIOTEST1       DONOTTOUCH               CA           90015116306
58131754476B75   DAVID          TREJO                    CA           90015137544
58131799876B75   DAVID          TREJO                    CA           90012837998
58132414272B88   CHRIS          MAYFIELD                 CO           90007244142
5813417795758B   JOSE           MALDONADO                NM           90012361779
5813468A561971   ANDERSON       LISA                     CA           46010906805
5813713595B387   JON            MEYER                    OR           90009551359
58137586A61971   BRIDGET        CUNDIEFF                 CA           90013785860
58138514324B43   ALEXIS         MARQUEZ                  DC           90004905143
5813856A56B243   MATTHEW        ESBROOK                  AZ           90014095605
581394AA357541   ANA            OLIVAS                   NM           90013094003
5813973672B27B   TIANNA         DAWKINS                  DC           90013007367
5813B797533696   HASOAI         KSA                      NC           90011277975
581411A375758B   RHIANA         DELAO                    NM           90010961037
58145239372B36   GEORGE         CLEMENT                  CO           90014562393
581459A9876B75   JARED          HALGREEN                 CA           90014179098
5815467315B399   NICOLE         LUTHER                   OR           90007866731
5815682478B191   MIKE           BEAM                     UT           90013138247
58156A2A557541   ANGEL          JORDAN                   NM           90014130205
58159A54433696   KATINA         POTTS                    NC           90012460544
5815B336691895   GABRIELLE      MARTIN                   OK           90007103366
5815BA77A91988   GUILLERMO      ESCOBAR LOPEZ            NC           90012030770
5816176A672B43   MARK           ARAGON                   CO           33060097606
58164266472B27   DERRON         SMITH                    CO           90013062664
5816442A233696   LYVONNE        HARRELSON                NC           90012064202
581658A752B27B   ROBIN          TURNER                   DC           90013008075
5816939595758B   HIRAN          HERNANDEZ-GONZALEZ       NM           90014013959
5817146315B239   KIM            WAINSCOTT                KY           90011364631
58172357272B36   LORALI         LOREDO                   CO           90000223572
58174A42261965   CASSANDRA      WHITLEY                  CA           46071860422
5817537915B399   GREGORY        WHITEAKER                OR           90013883791
58177587572B43   ANDE           JONES                    CO           90012885875
5818151215758B   JANEL          LAZANO                   NM           90011305121
5818275785758B   DORA           CARO                     NM           90007267578
5818578935B399   TIFFANY        SALUDARES                OR           90013977893
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 540 of 1007


581857A1976B75   JULIA           RIVERA                  CA           90013917019
58186896776B75   JESUS           RENTERIA                CA           90011858967
58196665372B36   AZHANAE         WOODARD                 CO           90009186653
581B1452376B75   SAMUEL          EZPARZA                 CA           90001964523
581B1915991895   KASSANDRA       JACKSON                 OK           90012429159
581B273A333696   LATOYA          BROWN                   NC           90011277303
581B355A261965   BEATRIZ         WIMS                    CA           46093965502
581B8A1525758B   FRANCISCO       TRUJILLO                NM           35540440152
582114A9572B36   EMMA            HARRIS                  CO           90012544095
58212779772B43   MARIA           VILLASENOR              CO           90014907797
5821326812B276   SEAN            JONES                   DC           90014622681
5821338545B239   STEVE           DYER                    KY           90009933854
5821489735B387   KATHRYN         BAILEY                  OR           90000178973
5821862395B239   MARK            MURPHY                  KY           90013626239
58219886372B38   ZAYLA MAUREEN   ZAK                     CO           90012858863
582257A3872B43   TARA            MONTOYA                 CO           33014867038
58226194A51348   CONTRINA        HARRIS                  OH           90009811940
582294A9131428   ANDREW          GAMMON                  MO           90011794091
5822B28785758B   LISA            RIVERA                  NM           90013142878
5822B45A84B588   SHENIKA         WALLS                   OK           90012804508
582321A1372B49   DAISY           BARRAGAN                CO           90010391013
582329A127B46B   FRANK           LATTIMORE               NC           11096009012
5823652644B588   MELANY          DAMAS                   OK           90011245264
5823947627B358   FREDY           GRANADOS                VA           90013424762
5823B186276B75   PROVIDENCIA     GUERRERO                CA           90013331862
5823B25895B239   STEVYEAUANA     SLEETS                  KY           90007992589
58242127972B38   ELIZABETH       OCEAN                   CO           90011651279
5824853127B46B   KELLY           CHAMPION                NC           90014035312
5824B4A915B239   JENNY           SLONE                   KY           90010464091
5824BA57533696   SIMON           PEPPERNICK              NC           90013970575
58252A2715758B   VICTOR          PEREZ                   NM           90014080271
5825594A561971   ROSHELLE        EVANS                   CA           90012599405
5825B996761965   MARIA           GONZALEZ CECENA         CA           90010239967
5826436528B164   KELLIE E        DURBIN                  UT           90011393652
58267165A4B588   CHRIS           ESKER                   OK           90011451650
5826B862A2B27B   YAQUILIN        GUITERREZ               DC           90013018620
58272163176B75   JOSH            BLACKBURN               CA           46015681631
5827615A85715B   GLENDA          FUENTES                 VA           90011411508
5827643A25B239   BETTY           CURTIS                  KY           90010884302
5827688275715B   GLENDA          FUENTES                 VA           81096658827
5827786382B922   EDUARDO         LOPEZ                   CA           90004358638
5828173815B239   VICTOR          DUKE                    KY           90012147381
5828329835B399   JAMES           ADKINS                  OR           90012312983
5828375317B46B   JAIRO           RAMIREZ                 NC           90013667531
582847A6961971   HART            STRUCK                  CA           90011317069
58287A88A61971   ANGEL           VELARDE                 CA           90011510880
58288933272B36   BELL            SHAWNA                  CO           90011499332
5828B358333696   LAKEISHA        HOOKS                   NC           90011283583
58292944772B43   HUMBERTO        ARROIOS                 CO           90012769447
5829336535B283   STEPHANIE       BOBZIEN                 KY           90003323653
582933A845B283   STEPHANIE       BOBZIEN                 KY           90012813084
5829387A172B36   LORENA          GUTIERREZ               CO           90001178701
58294915472B36   JORDEN          GALLEGOS                CO           90010069154
5829533265758B   ANDREW          CAFFEY                  NM           90013953326
5829769395B239   JESSI           WILLIAMS                KY           90010366939
58299484A61965   HERIBETO        QUQUEZ                  CA           90013074840
5829B946631428   MICHAEL         SPRAGGIAS               MO           90010519466
582B376724B29B   CHAD            PHILLIPS                NE           27024027672
582B44A555B239   BRANDY          MAY                     KY           90005764055
582B5914561971   OLIVER          HERNANDEZ               CA           90010839145
582B5923361971   MIGUEL          AMEZOLA                 CA           90014239233
582B6277791895   KIM             BATEMAN                 OK           90011672777
582B995965B239   KAELIN          LAWSON                  KY           90003219596
582BB53275B283   MARTIN          GUZMAN                  KY           90011725327
58311A99733696   TREVAR          ROGERS                  NC           90013640997
58312484876B75   ISABEL          CARRILLO                CA           90013244848
583131A5957541   BILLEY          OTERO                   NM           90008091059
58315358772B49   DAVID           CLARKSON                CO           90014993587
5831677727B46B   GUILLERMO       MARA                    NC           90012887772
583185A5A76B75   JESSICA         VALENCIA                CA           90010845050
58319335A33696   ERICA           GREEN                   NC           90007673350
5832244A372B27   CHRISTIANA      BUTLER                  CO           90010484403
583299A8851323   TRESSA          SHERROD                 OH           90012509088
5832B547361971   LEANA           DARIELLE                CA           90014825473
58334A8595B399   MATHEW          POST                    OR           90014880859
5833513A45758B   PERLA           RASCON                  NM           90014801304
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58335799672B27   RODNEY            SIMPSON               CO           90010937996
5833737A272B24   ASHLEY            SANCHEZ               CO           90006953702
583384A492B27B   ANGELINA          BACHILLER             DC           81033354049
5833969915B399   CHELSEY           HALSTAD               OR           44549846991
58341735A5B543   CORINA            ORTIZ                 NM           90005487350
5834596655B283   JASMINE           MURPHY                KY           90010489665
58347323776B75   DELIS             HERNANDEZ             CA           90003653237
58347479A2B27B   BENETHEA          WOODSON               DC           90001214790
583514A2131436   GLORIA            COLE-THOMAS           MO           27593074021
5835222114B588   ASHLEIGH          SMEDLEY               OK           90012262211
58353232372B27   PEDRO             OROSCO                CO           90014142323
58354369624B43   VERONICA          MARTINEZ              DC           90008373696
5835473965B239   CAROLYN           MCCLURE               KY           90014977396
58354A14A5B271   JESSICA           WORKMAN               KY           68040150140
5835711A572B38   MARCO             ESPINO                CO           90012911105
5835794AA5B399   JASMINE           STANDIFER             OR           90013089400
583624A915B239   JENNY             SLONE                 KY           90010464091
58364534372B49   LAURA             GALLARDO              CO           90011005343
583698AA54B553   EMILY             HARTWELL              OK           90011278005
5836B864257541   AQUINO            WALLACE               NM           90010248642
583762A4933696   COURTNEY          SAMUELS               NC           90001302049
58377513672B88   NOE               GUEVARA               CO           90009615136
5837763884B521   ROCKY             WILLIAMS              OK           21511366388
58377741276B75   R                 SHAKESPEARE           CA           90010437412
58379645A33699   DARIEN            WILLIAMSON            NC           90011346450
5837B42AA31428   LAWONDA           HENDERSON             MO           90010864200
58381537172B38   ANDREW            DUKE                  CO           33056395371
58382769272B43   ANGELA            CRUZ                  CO           90014137692
58383674676B75   DAVID             VORIC                 CA           90009546746
5838734955758B   DAVID             MARQUEZ               NM           90010543495
5838839912B27B   HARIS             HARTONO               DC           81034643991
58388554A7B46B   KURTIS            MONSON                NC           90013295540
583886A2961971   WILLIAM           SANDERS               CA           90015396029
58389679A72B38   JOSE              PAVON                 CO           90011796790
58389697372B27   CAMERON           SMITH                 CO           90013026973
58389924476B75   ANGELIKA          HERNANDEZ             CA           46012659244
58389A2A251348   DAPHNE            CAMERON               OH           90009830202
5838B997672B36   MATTHEW           AAGAARD               CO           33069659976
5839442A57B46B   GEORGE            MATHIS                NC           90013124205
5839B979672B49   DENNIS            NORRIS                CO           90009399796
583B2618A5B399   MONIKA            HUBBARD               OR           90013906180
583B4AA2572B38   PHILLIP           GOLD                  CO           90010020025
583B574155B283   LAWRENCE          MCKINLEY              KY           90011727415
583B791865B239   ROBERT            LEWIS                 KY           90013889186
58412278876B75   MERCED            FLORES                CA           90003302788
5841243A876B75   MARCOS            RECIO                 CA           90013684308
5841441245B399   PATRICK           NEWBERRY              OR           90010954124
5841465145B236   GLENN             ORR                   KY           90000516514
5841482255B154   MARKIE            HUNT                  AR           90007048225
58418A76672B27   ALI               ABDULLANI             CO           90014120766
58419458172B27   NATASHIA          BALL                  CO           90012424581
5841952695B399   AMANDA            FRENCH                OR           90010315269
58423A1885B531   FREDDIE           GARDUNO               NM           90014440188
5842521282B922   IRMA              CARDENAS-CHAVEZ       CA           90012782128
5842899354B29B   CARLOS            HURTADO               NE           90004629935
58429746172B38   ANTHONY           REDDING               CO           90008457461
5842B39164B588   PATRICIA          KELLY                 OK           90015073916
5842B9A765758B   MALORIE           LOPEZ                 NM           90013969076
58432136172B38   BRADLEY           JENSEN                CO           33097151361
584356AA72B27B   RUBY              THOMAS                DC           90013886007
584371A857B46B   ANTOINE           WILSON                NC           90013931085
58437917A72B43   ASHLEY            MARTINEZ              CO           90012959170
58439948772B43   ART               HERNANDEZ             CO           90012769487
5843B42877B46B   AGUSTIN           HERNANDEZ             NC           11019564287
58443131172B36   EDUARDO           CHIHUAHUA             CO           90013321311
5844431449712B   KRYSTALL          CRUZ                  OR           90008893144
58445932872B38   MERCEDES          CARDENAS              CO           90011059328
5844613A691895   LESLIE            TAYLOR                OK           90012261306
5845783435B387   JEFFERY MICHAEL   MCMILLAN              OR           90012568343
58457A24872B49   ALFREDO           MOLINA RAMOS          CO           90013720248
5846181165B531   AYDEE             LUJAN                 NM           90011968116
58462528572B38   SHARON            MEEK                  CO           33094375285
58464776276B75   LETICIA           MARTINEZ              CA           90006697762
58465117676B75   JUNIOR            ALONZO                CA           90010961176
5846817A82B27B   CONNIE            FLEMMINGS             DC           90010551708
58468A48591895   JAVIER            LOZONO                OK           90012130485
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58469117676B75   JUNIOR         ALONZO                   CA           90010961176
5846B78132B27B   CHE CHERISE    MERRITT                  DC           90008547813
5846B826733696   MICHEAL        SHARPE                   NC           90010498267
5847117835B531   SARAYA         CASTILLO                 NM           90011321783
58473631372B38   JOSHUA         ELDERT                   CO           90003146313
58474A14A72B36   ERNESTO        SANCHEZ                  CO           90007400140
5847768A261939   EDITH          REY                      CA           90009726802
584779A5361965   KRISTYN        PENA                     CA           46050589053
5848521A877568   JOSE           CARBAJAL                 NV           90001272108
58485A11572B43   AHMAD          MOHAMUD                  CO           90014120115
58486574A61965   GUADALUPE      MARTINEZ                 CA           90010015740
58489A66572B27   DESIREE        TAFOYA                   CO           33085880665
5848B366257541   IRENE          HARRIS                   NM           35592233662
5848B499A33696   LILLIETH       MOBLEY                   NC           90014734990
5849321A272B24   DANIELLE       CALL                     CO           90000602102
5849695834B588   KENNETH        CAMPBELL                 OK           90013039583
5849755A35B239   AMY            SMITH                    KY           90006215503
58497A1A966156   ERIC           BAILEY                   CA           90014080109
58498897276B75   JOSE           DOMINGUEZ                CA           90008778972
5849B287972B38   KHOEUN         NGETH                    CO           90004382879
5849B9A115B239   JENIFER        PEREZ                    KY           90015179011
584B316925B35B   JUANA          CORTES LOPEZ             OR           90011061692
584B387A177531   EDUARDO        GARCIA VILLANUEVA        NV           90009108701
584B5848557541   MICHAEL        BIGMONTH                 NM           90012798485
584B6433272B36   ASHLEY         GARCIA                   CO           90009974332
584B851914B29B   TARUS          HAYES                    IA           27024045191
584B91A5A81664   CINDY          MELON                    MO           90012551050
584B9459981664   CINDY          MELON                    MO           90002624599
584BB84245B239   JASON          ALMOND                   KY           90013008424
585151A335B543   PAUL           LOVATO                   NM           90005491033
585169A115B239   JENIFER        PEREZ                    KY           90015179011
585181A335B543   PAUL           LOVATO                   NM           90005491033
5851858A361971   SONIA          MADRIGAL                 CA           90013325803
58519821872B36   CEASAR         ESCOBAR                  CO           90014188218
5852136345B239   JESSICA        CLAY                     KY           90013933634
5852813A85B399   CASSIUS        DASILVA                  OR           90012931308
5852947325B239   DEVON          MANION                   KY           90014394732
5853314895B239   JANESSA        GRAHAM                   KY           90013031489
5853534162B27B   CESI           REYES                    VA           90008343416
58535449472B27   STEPHEN        GRANIERI                 CO           90013844494
5853BA31957541   ROSA           DURAN                    NM           90013020319
58542583A5758B   JESSICA        SYKES                    NM           90014095830
58543583A5758B   JESSICA        SYKES                    NM           90014095830
58548264572B27   TYLER          MILLER                   CO           90007252645
585483AAA4B588   JESSICA        ARAUZ                    OK           90010793000
58549881172B38   GEORGE         HERRERA                  CO           33012158811
58551711272B49   FRANK          BERNAL                   CO           90010957112
58551817A91895   MARKEISHA      JEMISON                  OK           90014538170
5855317A772B36   JEANAI         LEGG                     CO           90002411707
5855B796772B38   CHASSON        LEYBA                    CO           90010207967
5856836535B239   CHRISTINA      DEWS                     KY           90012993653
5856B963A5B387   VICTORIA       HORNE                    OR           90009809630
5857228662B95B   ROBERT         REEVES                   CA           90011072866
5857625A254152   JESSICA        CHANDLER                 OR           47060132502
58577232372B27   PEDRO          OROSCO                   CO           90014142323
58577272A5B399   BRITTANY       MARTIN                   OR           90009222720
5857B85347B46B   MARCUS         HOOVER                   NC           11046428534
5857B93725758B   STEPHANY       NUNES                    NM           90010579372
58581977872B49   AESHAA         DORADO                   CO           90010969778
585893A8A7B46B   TRACY          CORRELL                  NC           90012593080
58591583872B49   FELIPE         RODRIGUEZ                CO           90001445838
58593292A4B588   MAURIYA        MAXWELL                  OK           90011462920
58595275472B49   JEANELL        MASCARENAS               CO           90013482754
5859778434B29B   MELISSA        THOMPSON                 NE           27004167843
585995A135715B   HIPO           GUTIEREZ                 VA           81005215013
5859B463572B38   JUSTIN         WALSH                    CO           90007754635
585B3299651348   JOEL           MARTINEZ                 OH           90003972996
585B478A44B588   VERNETIA       SMITH                    OK           90006167804
585B68A3491895   BARBARA        ELLIS                    OK           90007638034
58612A2935758B   CEASAR         SOTO                     NM           90014110293
586135AA45B399   COURTNEY       BERNARD                  OR           90011315004
58618776772B38   CHRISTINE      LOCKARD                  CO           90003957767
58618849A33699   JEFFERY        GREEN                    NC           90013658490
58623967A72B27   LAMAR          LATHAN                   CO           90013289670
58626177A4B29B   DEVIDA         SCOTT                    NE           90003591770
5862824822B27B   CLAYTON        PAYVAY                   DC           90010892482
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58628584A72B27   ARMIDA                TARIN             CO           90012225840
58639752372B24   ROSE                  SEGOVIA           CO           90001257523
5864267A561965   TONI                  CHASE             CA           90013536705
586448A632B27B   WILLY                 RIVAS             DC           90011818063
58649517576B75   BRITTANY              GILBERT           CA           90014615175
5864B143A33699   DANOVI                ARIAS             NC           90006971430
5864B44122B973   FRED                  VAN DYKEN         CA           90014204412
58651361972B49   DAVID                 FOX               CO           90014553619
5865275815B399   RONALD                VERHAALEN III     OR           90014457581
5865983355B399   BJ                    DAVID             OR           90013268335
5865B367372B24   DJON                  PLANT             CO           33045593673
5866233744B588   REBECCA               CHAVEZ            OK           90011263374
58665174472B27   LINDARINE             TORREZ            CO           90013571744
5866971A92B27B   DAVID                 PAUL              DC           90013067109
58672348376B75   VIRVES                PASQUAL           CA           46058593483
5867449114B588   DESIREE               NASH              OK           90013874911
5867546725B531   ROBBIE                TYLER             NM           90007884672
58677551572B36   TARANKA               HARRISON          CO           90011325515
58679617172B38   ROBERT                HOUSTON           CO           90014386171
58679A6A64B588   LALO                  GARCIA            OK           90005930606
5867B211833696   JULIA                 LITTLE            NC           90012792118
5868141A972B38   MARCO                 ORTEGA            CO           33094654109
586844A5833696   DAWN                  RORIE             NC           90008464058
58689474972B38   VICENTE               DE LA CRUZ        CO           90007754749
586898A3754152   SHELLIE MARIE RENEE   MILLER            OR           90003348037
5869172AA72B43   TARRY                 CLEVELOND         CO           33023707200
586921A515758B   KATRINA               ESPARZA           NM           90010601051
586932A8991895   SABTI ABDULLAH        ALGHAMDI          OK           90010602089
5869422A172B38   OSCAR                 MADRID            CO           90014452201
58696425472B43   SILVIO                VALENTIN          CO           90013924254
58696971A54152   DANIEL                CIEPLINSKI        OR           47086309710
5869B635161971   MAURICIO              LOPEZ             CA           90009926351
586B1283772B38   MADELINE              LOPEZ             CO           90011992837
586B3A76997B44   ALEJANDRO             LOPEZ             CO           90014450769
586B835AA5B239   HAROLD                HOCKENSMITH       KY           90010743500
586BB244151348   ADAM                  MARTIN            OH           90006802441
5871267875758B   ANTOINETTE            HERRERA           NM           90011016787
5871282315758B   EUSEBIO               MORENO            NM           90014168231
5871686A65758B   CHRISTOPHER           BLESSING          NM           90014168606
5871713625B239   AMANDA                MAY               KY           90012341362
5871866644B588   EDGAR                 RAMOS             OK           90011266664
58722677A4B29B   CODY                  HETTINGER         NE           90010536770
5872976547B46B   MARCO                 MATA              NC           90010657654
5872B49235758B   ELVA                  MURPHY            NM           90010684923
58733579A72B24   DONNA                 DUNCAN            CO           90007005790
5873443572B27B   SHIRLEY               FRAZIER           DC           90013074357
58735798172B88   RAUL                  AYALA             CO           90006507981
5873818945B283   HEATHER               SHEALY            KY           90009071894
5873B284591923   ROBERTO               MORALES           NC           90011562845
58744493472B36   JUAN                  FUENZ             CO           90013094934
5874579335B531   SHANNON               WEINBERGER        NM           90009707933
5875175A857541   FRANK                 YOUNG             NM           90014407508
58753176224B43   VICTORIA              JENKINS           DC           90010391762
5875335924B29B   RENEE                 FLEMMING          NE           90012703592
58753448A33696   TUQUISE               TURNER            NC           90010574480
5875628785B399   PURUSTTAM             MISRA             OR           90012372878
587563A8572B38   CLIFFORD              SANCHEZ           CO           90013613085
58758A21A5B387   JAIME                 HERRERA           OR           44534370210
5875B96A15B239   APRIL                 POLSTON           KY           90005629601
5876378434B588   KHEELAN               NICHOLS           OK           90011267843
58764A8544B588   OLGA                  RAMIREZ           OK           90010010854
58765447972B36   JARID                 GALLEGOS          CO           90007714479
5876552A55758B   FELIX                 LOPEZ PEREZ       NM           90014185205
5876571A561965   JUAN                  LIQUIN            CA           90013297105
58765A5A272B88   JORGE                 DOMINGUEZ         CO           33045210502
587665A5151348   MARTA                 MENDOZA           OH           90013555051
58766744372B49   RALPH                 HEATLY            CO           90010957443
5876713443B352   MICHAEL               RAMIREZ           CO           90001811344
58768432A72B36   ANDREW                HURTADO           CO           90013934320
58769322676B75   MARIBEL               GAMEZ             CA           90014683226
58772139872B43   JENNIFER              VEITH             CO           90000161398
58772A53A72B27   JAQUELINE             RODRIGUEZ         CO           90013480530
58773295872B38   SAYLI                 RENDON            CO           90011992958
5877B36967B46B   EQUILLA               RODAS             NC           90014513696
5878339335B387   JERMANE               PETTYJOHN-BLUE    OR           90008093933
587876AA84B539   TRAVIS                STREETER          OK           90012676008
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5878772822B27B   JAMES             COULTER                DC           90011217282
58789162172B38   JEANETTE          ARKADIE                CO           33004071621
5878964A972B38   FRANCISCO         GARCIA                 CO           90013066409
5878B325533699   YASHICA           HULING                 NC           90014483255
58794312A72B38   WINKA             TOE                    CO           90013613120
5879955A191895   VICTOR            ELIZONDO               OK           90013925501
58799634A2B27B   TENCHI            RYOUKO                 DC           81052566340
5879B68614B588   AARON             THORNBURG              OK           90011476861
5879B6A5551348   JOSH              WILLIAMS               OH           90010266055
587B247725B239   ASHAUNTIA         BLAIR                  KY           90014614772
587B3994A57541   MELISSA           WILLIAMS               NM           90011079940
587B47A9572B38   VICTORIA          DAHER-LOPEZ            CO           90015027095
587B666475B283   LONAIE            PRUITT                 KY           90010506647
587B6687261965   SOURCE            ZTE                    CA           90013536872
587B728275B387   CLEMENTE          TESCAHUA AGUIRRE       OR           44529642827
587B7883533699   ANTHONY           SHEPHERD               NC           90011068835
587BB758A57541   SHEREE            MANTANOMNA             NM           90011077580
5881116315B283   QUOVODIS          MARTIN                 KY           90009281631
58815512872B36   NOE               HERNANDEZ              CO           90010945128
58818354972B43   WILLIAM           SAUCEDA                CO           90012303549
5882382122B27B   REDD              JOHNSON                VA           90011218212
5882455724B588   JUWAN             YOUNG                  OK           90013385572
58824997A4B588   AUSTIN            GUEST                  OK           90011269970
5882656A64B588   ENRIQUE           ELIAS                  OK           90013885606
5882663695758B   CASSANDRA         BUSTILLOS              NM           90011036369
5882763695758B   CASSANDRA         BUSTILLOS              NM           90011036369
5883384878599B   TONYA             MOUNTS                 KY           90006558487
5883444395B399   DONALD            HARRIS                 OR           90013474439
58834459A54152   EUGENE            WHITEHALL              OR           90004104590
5883562A22B27B   TIFFANY           BROOKS                 DC           90013076202
5883959255B531   ANGELICA          SILVA                  NM           90014335925
58839A34272B38   JOSE              BARRAZA                CO           90008170342
5884189975B239   DARRYL            CURRY                  KY           90013518997
58845A29772B49   JOSEPH            DURAL                  CO           90014560297
5884754757B46B   BRIANNA           BIDGOOD                NC           90011025475
5884B358A61971   DARREL            CORY                   CA           90009573580
5884B432A72B36   DANA              WHALEN                 CO           90009174320
58851247772B88   JANIE             ORRANTIA               CO           33022172477
5885176524B588   BRENDA J          ESPINOZA               OK           90004807652
5885276A95B236   MAURICE           BAILEY                 KY           90007847609
5885457535B399   JUSTINO           ARROYO MURGA           OR           44504615753
58861A69272B43   BRIAN             MORALES                CO           90014430692
5886234565B531   MELINDA           CARRILLO               NM           90014863456
5886642725B531   DAVID             DILTS                  NM           90015094272
5886755615B239   BOBBIE            ENGLER                 KY           90011055561
588691A5A57541   GLORIA            RODRIGUEZ              NM           35502701050
5886BA28761965   RAYMOND           SHARP                  CA           90006520287
58871445324B43   NOELIA MILAGROS   SANCHEZ                DC           90010694453
58871753824B43   BOO               HUBBARD                DC           90013237538
5887334A14B588   DUSTIN            FARLEY                 OK           90011273401
5887363495758B   MANUEL            CABAZOS                NM           90008826349
5887453A37B46B   DANITA            ARCENEAUX              NC           90006165303
5887562A55B239   SUZANNA           CASTANEDA              KY           90013326205
58876353572B35   ANNA              GARCIACANO             CO           90010423535
5888372715B239   PATRICIA          WILBURN                KY           90000797271
5888426985715B   TAMERAT           GIRSHA                 VA           90003722698
58885A2625B239   KEILA             OCHAO                  KY           90000330262
5888696125B387   PATRICIA          GARNER                 OR           44592759612
58894662A5B399   RENE              MARQUEZ PORCAYO        OR           90007106620
5889644984B588   TRANETTE          UNDERWOOD              OK           90011274498
5889786525B399   JAKE              DATO                   OR           90005438652
5889981517B424   NAOMI             MAXWELL                NC           90007178151
5889B59795B399   FELICIA           MULKEY-BARTZ           OR           90011315979
588B144225B543   RAUL              BARRON                 NM           90012134422
588B218A22B242   ANTOINETTE        GLASCOE                DC           90010641802
588B2232241221   VERONICA          SPATARO                PA           90009982322
588B9972576B81   SHAWN             ADAMAS                 CA           90012929725
58912219A76B75   MANUELA           FELIX                  CA           90013862190
589123A7A5B543   EDWARD            SALAZAR                NM           35064843070
5891373435758B   CASSIDY           BUSTILLOS              NM           90013487343
58914356576B75   ELIZABETH         LOPEZ                  CA           46084753565
58915A3577B46B   JARA              XINIA                  NC           11075140357
5892178795758B   ERICA             SILVA                  NM           90011077879
5892686364B588   RONALD            MARSHALL               OK           90014198636
5892B54614B588   KELLEY            RUSSELL                OK           90011275461
58931737A5B239   REBECCA           GAINES                 KY           90008507370
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58932A6265B399   MALCOM          HUDSON                   OR           90011220626
5893544214B28B   STEVE           SWARTZ                   NE           26017384421
58937212776B75   CALVIN          CASHER                   CA           90013112127
589388AA54B588   EMILY           HARTWELL                 OK           90011278005
58941A22833699   ERIC            MCINTYRE                 NC           90012650228
589432A2961965   REBECCA         LACHANCE                 CA           90013842029
5894736487B46B   SAQUATHIA       THOMPSON                 NC           90011493648
58949398972B36   LINDSEY         BULSTERBAUM              CO           90014443989
58955547672B49   EDWARD          CURTRIGHT                CO           90008675476
5895B751372B43   BERNARDO        SOTO                     CO           90004977513
5896199865758B   EMANUEL         SANTILLANES              NM           90014239986
5896268A161965   GREG            ZAHAS                    CA           90011426801
58965261872B27   JUAREZ          ORQUIDIA                 CO           90005502618
58969211572B27   BRIANNA         LOPEZ                    CO           90009742115
58972638872B36   JORDAN          TATE                     CO           90013286388
589753A2272B38   LUIS            VILLAFANA                CO           90011993022
58978985172B27   JAMES           SANCHEZ                  CO           90010869851
5897917915B239   WILL            TIDWELL                  KY           90014731791
5897937115758B   CARLA           ESCOBEDO                 NM           90013003711
5898243865B239   DEKONNA         VAUGHN                   KY           90011214386
589828A5276B75   IRMA            HERNANDEZ                CA           90014858052
58983A65A61965   FERNANDO        VELAZQUEZ-CACERES        CA           90008160650
58987559672B36   DOMINICK        WHITE                    CO           90012655596
58987A36A72B43   SOPHIA          SMITH                    CO           90011150360
58989397297B51   VERONICA        RODRIGUEZ                CO           90009093972
5898B112572B38   GABRIELA        VALLES                   CO           90013141125
5898B22184B252   JOSEPH          BYLER                    NE           90012712218
5898B256977568   WAYNE           STOVAL                   NV           90013372569
5898B646A61473   JONATHAN        LEACH                    OH           90013836460
5898B83584B588   KAY             JONES                    OK           90011278358
5899331A15B399   ROBERT          TYLER                    OR           44562953101
5899374632B27B   ASHLEY          JOHNSON                  DC           90012847463
589958A8872B49   KEVIN           HEDLUND                  CO           33046148088
5899597655B283   JOSHUA          WAUGH                    KY           90010509765
58998184A72B88   ARRON           TORRES                   CO           90002921840
589B1287133696   SALIJE          IMERI                    NC           12002872871
589B142445B531   SHAINE          SHERRILL                 NM           90012234244
589B4A84691895   TKEYONA         WEINS                    OK           90013240846
589B6239472B49   LAMAR           MILLS                    CO           90014582394
589B9167224B43   LEONARD         HAYES III                VA           90013241672
589B9796761971   MARIA           PEREZ                    CA           90013167967
58B11193A33696   HELENA          ESKINDER                 NC           90013951930
58B12682133696   DANIELA         LOPEZ                    NC           90010986821
58B14239676B75   DARON           ZIVKOVICH                CA           90013072396
58B1444255B239   SOFIA           KINNADE                  KY           90014144425
58B16839133625   TASHARA         MORTON                   NC           90004518391
58B1843755B387   SAMUEL          KIAHD                    OR           90011044375
58B1863A961939   LUZ             HARO                     CA           90010786309
58B213A535B399   JEFFREY         MEEK                     OR           44587413053
58B2276175B239   CHRISTINA       VIRGIN                   KY           90008757617
58B2295325B561   CRRILLO         REYNALDO                 NM           90010709532
58B2356557B46B   IVEXY           GONZAILEZ                NC           90011495655
58B25373A33696   TASHA           WOODARD                  NC           90011273730
58B25A47661965   JASON           BRANCH                   CA           90013210476
58B2826A772B43   KELLY           SHELDON                  CO           90012032607
58B29615361965   CARLA           ARREDONDO                CA           90012676153
58B2B573976B75   MARIANO         GARCIA                   CA           90013815739
58B31549972B38   DIEGO           NARVAIZ                  CO           90013245499
58B32169557541   THOMAS          SPIKES                   NM           90010711695
58B32484A5B399   ARESLY          NOUIS                    OR           90012874840
58B33813872B24   MIGUEL ANGEL    ARAGON MARTINEZ          CO           90006908138
58B34164551348   SAM             SUNG                     OH           90012401645
58B35591557541   WILLARD         HOFFMAN                  NM           90010735915
58B35962872B43   CLAUDIA         GUTIERREZ                CO           90009079628
58B3642A433669   DAVID           MILLER                   NC           90012484204
58B36537231429   LOOKMAN         AFOLAYAN                 MO           90005245372
58B3692625B283   KEITH           CARTER                   KY           90006619262
58B3784165B239   GWEN            HADLEY                   KY           90010998416
58B37A64251348   JMINA           LUNPKEIN                 OH           90011050642
58B38458361971   JUAN            REYES                    CA           90013104583
58B38622872B49   DECEMBER        MURILLO                  CO           90010946228
58B3B234157541   GUILLERMO       ACOSTA                   NM           90013022341
58B42326772B36   ANTONI          MEJIA                    CO           33035783267
58B4563A676B75   AIOTEST1        DONOTTOUCH               CA           90015116306
58B47223761965   LEGRAND         LEWIS                    CA           90011542237
58B4773A876B75   JOSE            ARMANDA                  CA           90010437308
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58B48517151348   ELANA          MCCOY                    OH           90010165171
58B53426533696   JAMES          BOND                     NC           90013954265
58B56A61472B38   PAULINO        SANCHEZ                  CO           90011650614
58B5982A972B38   MAURILIO       GONZALEZ GUERRERO        CO           90013558209
58B5995A34B588   NAKIA          WALKER                   OK           90007239503
58B5B922361971   YVONNE         PRADD                    CA           46068109223
58B6191635B387   BO-MANDELA     CORDETA                  OR           90014279163
58B66812733696   BRAVLIO        COYOY                    NC           90013968127
58B67194351348   AARON          LEWIS                    OH           90013821943
58B68122624B43   HELEN          CHASE                    DC           90013021226
58B68155957541   TIM            ANDERSON                 NM           90010021559
58B6975AA72B38   MARLENE        REYES                    CO           90005187500
58B6986924B588   EFREN          ACOSTA GARCIA            OK           90013058692
58B72A38191895   JEREMY         ROBERTS                  OK           90012240381
58B7348395B387   CRYSTAL        YOUNGE                   OR           44570974839
58B7394754B588   ALEJANDRO      MORAN                    OK           90011239475
58B74635955935   JOSE           ZUNIGA                   CA           90007706359
58B755A1A95196   WESLEY         BARNES                   CA           90014825010
58B769A295758B   FRANCISCO      SOLIS                    NM           90004929029
58B7749127B46B   BUDHA BIR      SUBBA                    NC           90013924912
58B7B822433696   JANE           DOE                      NC           90013968224
58B7B91545758B   LOIS           SIFUENTES                NM           90004989154
58B825A225B239   LUKE           THE GREAT                KY           90012635022
58B8361425758B   KRYSTAL        VENZOR                   NM           90013426142
58B8639274B588   BRAD           BELLER                   OK           90002733927
58B8892934B588   RHONDA         AMBROSE                  OK           90013059293
58B89516133696   SILAS          KBUOR                    NC           90010555161
58B91868133696   MIKE           MILLER                   NC           90013968681
58B91A42572B38   KARLA          LOPEZ                    CO           90004550425
58B9287A733696   WHITNEY        BUTLER                   NC           90013968707
58B94284851348   KORDELL        ALLISON                  OH           90012842848
58B962A7572B49   RUBY           TRUJILLO                 CO           90012042075
58B9697615B399   IRENE          CANO                     OR           90013989761
58B96A47851348   JASMIN         WRIGHT                   OH           90013960478
58B9845464B521   JERMAINE       BROOKS                   OK           21501734546
58B988A8172B38   AMANDA         RODRIGUEZ                CO           33016608081
58B9B22597B49B   KYLUNTA        MASON                    NC           90010822259
58B9B7AAA5132B   KNYOKA         WILLIAMS                 OH           90014627000
58BB147462B27B   RONNIE         GRAY                     DC           81033164746
58BB25A214B588   NASREEN        BEGUM                    OK           90014915021
58BB434987B46B   ELTON          HOWIE                    NC           90014083498
58BB499235758B   SALLY          GONZALES                 NM           90013089923
58BB6742161965   EDWARD         SOMMERS                  CA           90012767421
58BB72A135B387   JOSE           AVALOS                   OR           90011582013
5911144355B531   LETICIA        GONZALEZ                 NM           90014764435
5911162A22B27B   TIFFANY        BROOKS                   DC           90013076202
59112987572B43   EMERSON        SANTACRUZ                CO           90013719875
59114521172B27   ROBERTO        NIEVES                   CO           33037555211
5911663AA55971   AIOTEST1       DONOTTOUCH               CA           90015116300
59116A27772B38   TYLER          DORY                     CO           90010250277
59117833A2B27B   VANTASA        WASHINGTON               DC           90011338330
59118665872B36   CHRISTOPHER    BARMANN                  CO           90014426658
5912135244B561   CLARENCE       LEWIS                    OK           90011133524
5912174855758B   ARMIDA         BARBA                    NM           35526677485
59121A1915715B   GRANT          MILES                    VA           90012440191
5912214352B245   ANGELA         OLIVER                   DC           90014701435
59125337A5758B   PHILLP         URBINA                   NM           90013343370
59126728372B27   ROBERT         DENNY                    CO           90012837283
5912723424B588   TRAVIS         ELLISON                  OK           90014422342
5912B5A752B245   RAMOS          WILLIAMS                 DC           90013875075
5913184542B245   MARTA          LEWANDOWSKA              DC           90007028454
5913197832B27B   CODY           OSWALDO                  VA           90011939783
591344A857B46B   SHEREAKA       PARKS                    NC           90005404085
5913641915758B   ADRIANA        LIRA                     NM           90011044191
5913B57A62B245   KEITH          ALLEN                    DC           90011635706
59147923A2B27B   CRYSTAL        HAMILTON                 DC           90010969230
59147A5262B27B   DEBRA          WATKINS                  DC           90014020526
5914883475758B   FELIPE         MARTINEZ                 NM           90007778347
59149648A61971   JIHYUN         YANG                     CA           90014006480
59149A2645758B   DEBORAH        BARELA                   NM           90004490264
5915122545758B   BRANDON        DUNN                     NM           90007902254
59153A13957541   JOSEPHINE      PRENGER                  NM           90011680139
5915441912B245   ERIKA          BLUE                     DC           90011994191
5916233A75B283   MELISSA        COLE                     KY           90007283307
5916358975715B   MIR            MONSOR                   VA           90012825897
59163A9715758B   ROSE           YBARRA                   NM           90014520971
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5916679385715B   ERLANGGA D      GRANT                   VA           90006097938
59166A13157541   BLESS           WAHLER                  NM           90014850131
5917219A97B46B   JAZMIRE         BENNETT                 NC           90013931909
5917523572B27B   DARIN           HARPER                  DC           90014152357
59176173372B36   NICOLE          GAMBOA                  CO           90010971733
5917666A52B27B   TIFFANY         BROOKS                  DC           90011136605
5917827162B245   JAKE            ROACH                   DC           81062112716
5917976A155971   MARIA           SOSA                    CA           49087717601
59187AA3572B93   LEONA           TRUJILLO                CO           90001150035
59188249472B36   ROBERT          MONTOYA                 CO           90014232494
5918B1A4955971   MAYRA           LUVIANO                 CA           90012561049
5918B39295715B   VICTOR MANUEL   LOPEZ ENRIQUEZ          DC           90013723929
5918B656172B38   SOFIA           CASTILLO                CO           33036986561
5918B663A97B54   JOSE            DOZAL                   CO           39041686630
59194593372B43   MIRAM           GONZALEZ                CO           90012605933
591963A822B27B   MARNIE          LARY                    VA           90002383082
5919838365758B   DESIREE         JAUREGUI                NM           90014843836
59198A74891587   JENNIFER        BRIONES                 TX           90012060748
5919B82858B12B   ANTONIO         SALINAS                 UT           90007958285
591B1169861965   GLENDA          GREEN                   CA           90011571698
591B393885758B   MAIAH           SOTELO                  NM           90013739388
591B4413157541   MARGIE          MORENO-RIVERA           NM           35500574131
591B4A28733699   MIRANDA         GENTRY                  NC           90013930287
591B639295715B   VICTOR MANUEL   LOPEZ ENRIQUEZ          DC           90013723929
591B717985B531   GERARDO         MESTA                   NM           90001841798
59212AA845B271   LATAVIA         HENDERSON               KY           90002510084
59215664A72B49   TODD            STEEGE                  CO           90001026640
59215A18633699   RUTH            BRINKLEY                NC           90013610186
5921694A791587   WOODY           HELM                    TX           90010909407
5921945A351348   MIRACLE         ALVARADO                OH           90011154503
5921B741633699   FRANKIE         EVORA                   NC           90002357416
5922612665B271   TERRY           HUFFMAN                 KY           90010891266
59226215672B36   MARYANGEL       CISNEROS                CO           90014282156
5922825A27B46B   SANDRA          MILLER                  NC           90013682502
5922898484B588   MARIO           SINGLETON               OK           90015089848
5922B79175715B   MISHA           SAMUELS                 VA           90011387917
59233634272B49   MARILYN         MENROE                  CO           90014336342
59233A6535B387   JOSHUA          ROTH                    OR           90012940653
5923719845758B   CINDY           TORRES                  NM           90004261984
59238871172B49   AMBER           CRAIGG                  CO           90011788711
59239936272B36   SHAWNTEL        WILSON                  CO           90013029362
5923B86A161965   MARIA           TORRES                  CA           90006318601
59242352172B38   PRISCILLA       RAMIREZ                 CO           90013163521
5924465A191895   CARLOS          VALDEZ                  OK           90012236501
59248A85861965   MARIO           RESENDIZ                CA           90013770858
5924B6A3591587   ANGEL           RICO                    TX           90014916035
5925127A24B588   CODY            LASITER                 OK           90013002702
592527A525758B   STEVEN          MALDONADO               NM           90013867052
59253418A33699   ROMEO           HALL                    NC           90014964180
59258156572B27   EDNA YADIRA     DIMAS MEDINA            CO           90009831565
5925831244B588   DYLAN           CAREL                   OK           90011623124
59259517672B49   CARMONA         ADRIANNA                CO           33030205176
59262A17672B38   SAMANTHA        DAVID                   CO           90014050176
59264286A5B531   LORENA          APODACA                 NM           90010812860
5926792A272B27   ARAYELY         SOLORIO                 CO           90011879202
59268448172B43   MINASE          SHABAIT                 CO           90014084481
59268876576B67   CARLOS          JIMENEZ                 CA           90014658765
5926B85434B28B   NAOMI           BROCK                   NE           90006158543
5927514A772B43   DANIELLE        TRUJILLO                CO           90007881407
59283372A5758B   FONSECA         BRITTANY                NM           90008153720
59283825A5B531   ROBERT          BOYER                   NM           35094558250
59285A6546192B   JAVIER          PASTRANA                CA           90004050654
5928829295B531   ESMERALDA       RODRIGUEZ               NM           90010812929
592892A914B544   JAMES           HOOKER                  OK           90014002091
5929144A355938   SHERMAN         JAMES                   CA           90006544403
5929331A52B27B   EMMANUEL        MANGRUM                 DC           90014943105
59293619472B24   VIRIDIANA       LOYA-MOLINA             CO           90008516194
59295759472B36   DEVIN           TRUJILLO                CO           90013007594
5929645394B588   LUIS            RANGEL                  OK           90002134539
5929B641372B24   JANAY           EILAND                  CO           90010836413
592B1478A91587   MARIA           LUNA                    TX           90013634780
592B3567755971   SYLVIA          LAKALAKA                CA           49015015677
592B4A26A72B36   SHANNON         KICHLER                 CO           33073850260
592B7765172B43   JUSTIN          PACHECO                 CO           90004817651
59321A6A772B38   VANG            SONIA                   CO           33044010607
5932379237B461   CLAUDIA         HERNANDEZ               NC           90007977923
       Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 548 of 1007


5932563235B531   CONRAD          BOCHOVE                  NM           90014776323
5932641674B28B   CYNTHIA         WEEKS                    NE           26039424167
5932784392B27B   JOHN            MENDIETA                 DC           90012698439
59327A58361965   MARY            JONES                    CA           90013690583
5932864645758B   DASY            COOKE                    NM           90013026464
5932B36A172B43   SAMANTHA        MARTINEZ                 CO           33046413601
5932B69425B387   WENDY           VASELANEY                OR           90010916942
5932B95622B245   DEHAB           MOHAMMED                 DC           90012629562
593351A5172B36   THOMAS          BAKER                    CO           33075081051
5933584913B388   JOETTE          CRUM                     CO           33096188491
59335997872B27   KAY             RAE                      CO           90010939978
5933944265B387   ALMA            CONTRERAS                OR           90014124426
5933989352B27B   LAANGELLO       YOUNG                    DC           90013658935
5933B991857157   CHRITOPHER      VAOULI                   VA           90005939918
59341614A61965   DANIEL          JOHNSON                  CA           90007426140
5934221215B387   VIRGINIA        JOHNSON                  OR           90011602121
5934349A95715B   VILMA           MEDINA                   VA           90000774909
5934363364B588   LASGELLE        RAMSEY                   OK           90014866336
59343861A2B354   KUSA            DERASSU                  CT           90013828610
593487A874B588   HARVEY          SMART                    OK           90013467087
5934B4AA851383   HELEN           LITTIKEN                 OH           66082404008
5934BA7952B544   DESTINY         MILLS                    AL           90014370795
59354156444B91   ADAM            MAYNARD                  OH           90014301564
5935452395B531   CRYSTAL         TRUJILLO                 NM           90005275239
59354921A3B399   ISABELLA        ASAMOAH                  CO           90007429210
59355693657B23   ROBBERT         JOHN                     PA           90014036936
5935578232B29B   ANTWAN          GREEN                    DC           90008107823
5935915662B27B   ROGER           BURKE                    DC           90011151566
5936688357B46B   EDWARD          NAGY                     NC           90011278835
5936733547B46B   TAMARA          BROWN                    NC           90013933354
59368417472B38   MATTHEW         PRINCE                   CO           90010314174
59368857772B36   JUNIOR          JR                       CO           33055628577
5936B174672B36   CALVIN          PAGEL                    CO           90010971746
5936B88357B46B   EDWARD          NAGY                     NC           90011278835
593713A855B531   ALEXA           ORTEGA                   NM           90010813085
59377667A61965   LUIS            MORALES                  CA           90014156670
5937789537B46B   TEANNA          HALL                     NC           90011278953
5938538537B46B   ISMELDA         OCHOA                    NC           90013933853
5938572157242B   PENNY           MCBETH                   PA           90004097215
593863A3472B36   NATALI          MARTINEZ                 CO           90012193034
59387145872B36   STEPHANIE       VANN                     CO           90013231458
59387921672B36   PRESTON         SINGLETARY               CO           90010989216
59388229372B38   VANESA          ARMIJO                   CO           90013132293
59389491A72B27   OSHJANE         WILEY                    CO           90014294910
5938961135758B   ROSEMARY        ROSALES                  NM           90014626113
5938B4A7372B43   DAVID           GRAM                     CO           90013054073
5938B6A8991895   FERNANDO        MORENO                   OK           90012386089
5938B889172B38   SHAUN           RANK                     CO           33000128891
59392267A33699   APACHA          TETREAULT                NC           90013902670
59392663872B36   SHADA           WILLIAM                  CO           90014176638
5939422A393724   DANNY           MURNAHAN                 OH           64589972203
593B3998672B38   SALVADOR        CHAVEZ                   CO           90010259986
593B41A885B387   GREEN           COMMUNICATIONS           OR           90014181088
593B427725B387   CHRISTIAN       LOPEZ                    OR           90015202772
593B4647972B43   BEVERLY         LOYD                     CO           90008856479
593B782495B531   JENNIFER        BATEMAN                  NM           90014798249
593B7975272B43   ANGELICA        SERNA                    CO           90011259752
593B8495472B38   MARCUS          MARTINEZ                 CO           90011284954
593B8575A4B588   BOBBY           MONTEZ                   OK           90011125750
593B8923133699   HENRIETTA       VER0NICA ARMSTR0NG       NC           12040599231
5941172815B387   COREY           JENKINS                  OR           90012037281
59413882172B49   JULIE           HUFF                     CO           33034448821
59417A77572482   JACOB           STEWART                  PA           90011810775
59418A7252B27B   SHONTAY         ALAXDER                  DC           90014570725
5942118995758B   SAMUEL          BARRAZA                  NM           35506011899
59423513372B38   BRANDON         CASTANDA                 CO           90011285133
594235A6561971   CLAUDIO         LOPEZ                    CA           46005465065
59424517372B38   TIM             GRAUMANN                 CO           90011555173
59424655572B36   RONNIE          TAFOYA                   CO           90011856555
59426693272B36   MARCELLA        PALOMO                   CO           90014846932
5942837345758B   OXIRIS          VALERIO-GUZMAN           NM           90014703734
5942B23684B28B   ALBERT          PORTER                   NE           90005992368
59433A94A91587   CECILIA         JIMENEZ                  TX           90009030940
5943546A172B43   MICHAEL         EMERSON                  CO           90010304601
59435787272B49   OSCAR           ROJAS                    CO           90011977872
59438A1A27242B   JUNE            BERLIN                   PA           51006940102
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 549 of 1007


59439A39544B3B   DIANE              PLEVNY               OH           90014590395
5944143465715B   NICOLE             KENNEDY              VA           90012984346
59446497A5B531   JESSICA            FLENNOY              NM           90014784970
5944B577972B49   ELIZENDA           ALVARADO             CO           90013315779
5944B82238B837   VICTOR             KURESA               HI           90014128223
5945156575758B   VICTOR             ESQUIVEL             NM           35592455657
5945341A15758B   ALEXANDRIA         CHAVEZ               NM           90010194101
59453497A5B531   JESSICA            FLENNOY              NM           90014784970
59453A1A27242B   JUNE               BERLIN               PA           51006940102
5945571752B245   ARTAVIA            PRICE-BAY            DC           90013737175
59465283A33699   SAM                SMALL                NC           90011582830
59468965772B43   MICHEAL            STODDARD             CO           90014429657
5946B124233699   TRINS              BALDWIN              NC           90011101242
59472274272B38   JASON              SEADER               CO           90013132742
59474824672B43   MATTHEW            LAVAKE               CO           90012718246
59475588A61971   MATTHEW            SANCHEZ              CA           90011415880
5948111477B46B   TASHION            SINGLETON            NC           90008351147
594812A9A91895   MELVIN             WALKER               OK           90013822090
5948145212B27B   DERRICK            FERGUSON             DC           90014874521
5948742A55B387   JUNE               VANDOLAH             OR           90015264205
59487728A5758B   JOSE               LOZANO               NM           90015157280
59487A13733699   TAWANA             ROMNEY               NC           90013860137
59487A98872B27   ELVIA              FLORES               CO           90013900988
5948873565715B   HUGO               GOCHEZ               VA           90006757356
5949114625715B   ROSA               SEGOVIA              VA           90000401462
5949182587B46B   PORSCHE            STRICKLAND           NC           90011818258
59494186672B24   CRISTIAN           ALONZO               CO           90008521866
59497285172B38   ROBERT             SIMS                 CO           90013132851
59498A5365B531   LETICIA            AVITIA               NM           35056230536
59498A97461931   LAKE               DAVIS                CA           90012060974
5949963875715B   GREGORIO           HERNANDEZ            VA           81032236387
594B114712B27B   SHEENA             SAWYER               DC           90013681471
594B237625715B   JAMES              EPPLEY               VA           90009753762
594B241315715B   JAMES              EPPLEY               VA           90012304131
594B2821457157   SHIVAUGHN          MARTIN               VA           90005818214
594B3178993724   GERALD             WHITEHEAD            OH           90014771789
594B4257572B38   ANTONIO            OREPZA               CO           90013422575
594B8344293724   SHAWN              SMITH                OH           64571363442
594BB439133699   OYESOR             OZAKA                NC           90013934391
59513A96172B36   LISA               LICON                CO           90011350961
5951495814B28B   CRYSTAL            HULSMAN              NE           90006709581
5951685285758B   FRANSISCO          BATISTA              NM           90006918528
5951792864B588   SAVION             DAVIS                OK           90013079286
5951915765758B   ELIGIO             AGUAYO               NM           90012001576
5951B361472B49   MELISSA            KINCON               CO           90011053614
5951B556472B38   JAY                RODRIGUEZ            CO           90011035564
59528A9915758B   FRANCISCO          JIMENEZ              NM           90014730991
5952B851A72B36   MARYCRUZ           ANIVAL               CO           90005818510
595318A8A2B27B   RONELL             WHITE                DC           90012098080
5953281A591895   AUDREY             MEADOWS              OK           90015078105
5953BA23472B38   MITCHELL           BLESSINGER           CO           90009500234
59542165572B43   COHEN              BRANDON              CO           90012081655
595461A885B387   GREEN              COMMUNICATIONS       OR           90014181088
5954B374961965   LARRY              ZIKO                 CA           90012873749
5955423972B245   MYEISHA            BRISCOE              DC           90008382397
5955545892B869   DAVID              DE DIOS              ID           90008124589
59556371172B49   QUINN              JEBE                 CO           90013023711
59556529A7242B   AMY                PENNICH              PA           90012165290
5955686373B387   JEFFREY & SHEILA   GEDDES               CO           90003228637
59557A6814B588   PAYGO              IVR ACTIVATION       OK           90011190681
5956154842B245   MONICA             HARDY                DC           90006945484
5956661A361965   CRYSTAL            BROWN                CA           90012876103
5956762225B531   EVAMARIE           ROMERO               NM           90014786222
5956B43394B588   MONTIE             BRANNON              OK           90009354339
5956B5A9472B43   TIANA              SINNETT              CO           90012845094
59571495572B43   GREISY             AGUILAR              CO           90014324955
59573145172B43   JAMEY              KOENIG               CO           33061061451
59574323A7B46B   LILIA              MORALES              NC           90000483230
59574593372B43   MIRAM              GONZALEZ             CO           90012605933
59577558A72B27   CHELSEA            ARAGON               CO           90007645580
5957855A272B38   LEEANN             MONTOUR              CO           90011285502
5957858445758B   LEAH               MAESTAS              NM           90009925844
5957BA5A65B271   PAULINE            DISNEY               KY           90005340506
5958452332B27B   SPARKLE            RANDO                DC           90014885233
59584861272B36   ROBERT             ROYBAL               CO           90010738612
595858A855B531   JOVAN              SALAZAR              NM           90010298085
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5958929265B387   CARLOS         DE LA HOZ                OR           44562122926
5958958354B524   OSCAR          HERNANDEZ                OK           90010525835
5958973A157591   DANIEL         PENA                     NM           90003227301
5958B983472B27   BENNY          CHAVEZ                   CO           90012749834
59591479972B38   ERIKA          NAVARRO                  CO           90009484799
59594A5262B27B   GREGORY        MASON                    DC           90013950526
59597365A33699   PATRICK        BLACKWELL                NC           90013943650
5959991A361971   RICHARD        SIQUEIROS                CA           90015319103
5959B212A2B27B   KA             FOUR                     DC           90014092120
5959B777493724   STACIE         GRIDER                   OH           90013987774
595B236862B245   CHARLENE       MONROE                   DC           90012843686
595B255145B531   FRANCISO       CORDOVA                  NM           90014785514
595B314615B387   MARRISA        LARCOM                   OR           90014371461
595B32A6A5715B   GARY           CUNNINGHAM               VA           90014082060
595B5862272B38   KEILA          YANEZ                    CO           90013618622
595B7A11A7242B   LEWIS          MARTINI                  PA           51001220110
595B842225715B   DORA           VIERA GUTIERREZ          VA           90012494222
595B8853372B36   JUAN           DE ARCOS- ORTIZ          CO           90012908533
595B9A58251348   JUANA          AGUSTIN                  OH           66008800582
595BB112A4B588   OSHINA         BORDERS                  OK           90014901120
595BB53A24B588   MICHAEL        LOTT                     OK           90012075302
5961183955758B   PETER          VIA                      NM           90012758395
5961735555758B   ORLANDO        GONZALEZ                 NM           90013853555
59617A53972B36   DAVE           WALKER                   CO           33024120539
59618218572B27   MARIO          JONES                    CO           90009422185
59618A5274B588   JESSICA        RODRIGUEZ                OK           90003560527
5961926A85B531   JORDAN         BONDESON                 NM           90003172608
59619541A5715B   EVA            FLORES                   VA           90012925410
59624781572B38   NOEL           ORNELAS-RIVERA           CO           33042087815
59626352772B49   LISA           FLINT                    CO           33026013527
5962B648A61971   JIHYUN         YANG                     CA           90014006480
5963174A47B46B   GERTUDIS       BENITEZ                  NC           90013937404
5963869885B387   FERNANDO       VELAZQUEZ                OR           44511996988
5963991145B52B   SHELLY L       WEIDAUER                 NM           90008709114
59639AA1772B27   SAMERAH        MCGHEE                   CO           90011450017
5963B239261971   VERONICA       GARCIA                   CA           90014452392
5963B924591587   ARMANDO        RODRIGUEZ                TX           90010529245
59644886A61965   JAY            LOMBARDI                 CA           90012878860
5964532435715B   PEDRO          GUEVARA                  VA           90012563243
59647617472B38   ROSALVA        PACHECO                  CO           90011286174
5964B75357B46B   KARINA         ALEMAN                   NC           90013937535
5964B917472B38   JOSE           MARTINEZ                 CO           90008459174
59651172A61965   WILLIAM        MCKENNA                  CA           90012951720
59653483672B27   JOSE           TORRES C                 CO           33007444836
596542A4172B49   MARTINA        CRUZ                     CO           90012902041
5965627714B588   RENE           MANZANO                  OK           90010972771
5965682647B46B   SONIA          COREAS                   NC           90013938264
5965811315B387   RUBEN          LOZOYA                   OR           90010131131
5965BA22561971   IVAN           LOPEZ                    CA           90012850225
59661283372B43   SHAYLA         MANNING                  CO           90013642833
5966573917B46B   WHITNEY        JONES                    NC           90012337391
5966835132B245   DOUGLAS        STANCIL                  DC           90009823513
5966B72815B387   COREY          JENKINS                  OR           90012037281
59671365A91587   JESSICA        SOMMERFELD               TX           90014093650
59671472272B43   MARIO          TORRES                   CO           90007634722
5967287812B245   KIZZEE         HOWARD                   DC           90004668781
59672881672B27   CRAIG          KOPPEL                   CO           33029408816
59675343472B27   MARTHA         MAGANA                   CO           90013083434
5967598A591587   MONICA A       DELGADO                  TX           90007539805
59678668572B36   DESTINY        VALDEZ                   CO           90013766685
5967B467733699   ESMERALDA      NUNEZ                    NC           90013994677
5968133247B46B   TONY           GRIFFIN                  NC           90012383324
59682536A72B43   GREGORY LEE    ORTEGA                   CO           90009525360
5968473A261971   ANTWINE        BROUSSARD                CA           90011867302
5968742745758B   GARRY          PIGG                     NM           90013784274
5968B665433699   MISAEL         LAZARO                   NC           90013946654
59692372A5758B   FONSECA        BRITTANY                 NM           90008153720
59698A33861965   FAHAD          ALROBIAN                 CA           90010350338
5969B426761965   CORBY          MCLARNEY                 CA           90010974267
5969B52777242B   RICHARD        RUSSELL II               PA           51068055277
596B72A2472B24   PETRA          PUEBLA                   CO           90012222024
596B7A6137B46B   JERSON         MENCIA HERNANDEZ         NC           90010600613
596B8864A51348   ASHLEY         PERILLO                  KY           90011158640
596B88A4761965   MARTIN         GONZALEZ                 CA           90012878047
596BB95675715B   JAIRO          ARREAGA                  VA           90010419567
597133A4251348   JOHN           PARKER                   OH           90002703042
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59713A37172B49   IMELDA          PEREZ                    CO           90013930371
59714587272B43   JEANETT         MEDINA                   CO           90001505872
59719117772B36   ROBBIE          JOHNSON                  CO           90007001177
5971956942B245   MARCELL         GOREE                    DC           90014715694
5971968345B387   RACHEL          HERNANDEZ                OR           90014826834
5971B21475758B   ALEJANDRO       OROZCO                   NM           90012472147
5971B359833699   JUAN            SANTACRUZ                NC           90011643598
59722A71351348   DALE            BRUNNER                  OH           90015170713
5972431287B46B   RENAE           BANKS                    NC           90009913128
5972611545758B   PAUL            GARCIA                   NM           90013741154
597284A6961971   RICARDO         FARIAS                   CA           90014054069
5972938515B283   SARAH           HOGUE                    KY           90004613851
5973328A65B387   SAMUEL          LANGFORD                 OR           90011892806
5973341185715B   AMAR            SINGH                    VA           90010264118
59734269472B49   ANDRES          GARCIA                   CO           90012342694
59734961372B43   ANNA            MARTINEZ                 CO           90008069613
59736541172B27   LUIS            LOPEZ                    CO           90013555411
59738377227B99   SUSIE           DUDLEY                   KY           90015073772
5973856A86B247   DALICIA         HOLMES                   AZ           90013955608
59738583944B85   CARLOS          MARQUEZ                  OH           90014555839
5973B1A885B387   GREEN           COMMUNICATIONS           OR           90014181088
5974287584235B   WILLIAM         HOUSTON                  GA           90008938758
59743712372B36   MARIA           CAVALA                   CO           90014527123
59743A64572B36   PAM             MURDOCK                  CO           33072550645
59744531A5715B   MARIA           SALINAS                  VA           90010735310
59744995872B38   OSCAR           FELIX                    CO           90008309958
597461A3661971   JAMES           ZIMMERMANN               CA           90012951036
5974698232B245   BIANCA          JACKSON                  DC           90013369823
5974981477B46B   BRIDGETTE       BENTON                   NC           90011588147
59752379197B4B   CARA            CAVEENDER                CO           90011003791
59756329172B38   NICKOLAS        JENKIN                   CO           90010463291
59756A56472B38   NICKOLAS        JENKIN                   CO           90012770564
59759A8474B588   MARGUERTITE     POLLOCK                  OK           90012400847
5975B31A272B49   JUAN            GUTIERREZ                CO           90011663102
5976138675B531   RUBEN           CRUZ                     NM           90014793867
5976538675B531   RUBEN           CRUZ                     NM           90014793867
59765754872B49   FABIAN          ESPARZA                  CO           90014757548
59766424272B49   DONY            JOHNSON                  CO           90013764242
59766A1677B46B   MARK            GRIER                    NC           90013940167
5976745985758B   LEOBARDO        CARNERO                  NM           35545664598
597676A584B588   MARCUS          JACKSON                  OK           90010816058
5976855615B387   QUANDRAE        GENTLE                   OR           90002835561
59769A27333699   ANGELA          MAYES                    NC           90013950273
5977122827B46B   MARK            MADAY                    SC           90013852282
5977165A55B387   NICOLE          LIPP                     OR           90013396505
5977183367B46B   SHANTE          KINARD                   NC           90011048336
59772A33593724   TYRONE          BROWN                    OH           90012780335
5977385297B46B   PEDRO           NETO                     NC           90013958529
5977579895B142   FRANCINE        BILLINGS                 AR           90008307989
597758A8851348   LAMONT          WOMACK                   OH           90005958088
5977734A491587   ELIDA           HERRERA                  TX           90001693404
59777453172B49   DEBBIE          RAMOS                    CO           90013004531
59777898872B27   EFRAIN          MORALES                  CO           90013028988
597796A6972B38   XOCHITL         LOPEZ                    CO           90011286069
5978154114B588   CANDICE         JONES                    OK           90010915411
59785A52861965   DAVID           SANTALO                  CA           90001830528
59787214872B38   JULIAN          QUINONEZ                 CO           90014722148
59787955872B49   JANESSA         VILLYARD                 CO           90013869558
59791232772B38   FELICIA         SEVERNS                  CO           90014722327
59791A8482B27B   LEON            YOUNG                    DC           90013670848
5979375597B46B   CARMEN          SANCHEZ                  NC           90012337559
597954A1472B38   MAURICE         SHELTON                  CO           90013134014
59795753A57B23   MIOSOTI         MARTINEZ                 PA           90014417530
59795A9A433699   ANIBAL          PETATAN                  NC           90013950904
59796226172B49   GABRIELA        TRUJILLO                 CO           33090602261
5979B849172B38   CHAD            ZISKAL                   CO           33028888491
597B11A885B387   GREEN           COMMUNICATIONS           OR           90014181088
597B2366172B38   ASHLEY          GONZALES                 CO           90013133661
597B6239172B36   OLGA            PALMA-LOYA               CO           90012762391
597B8796357591   GLORIA          MARTINEZ                 NM           35506207963
597B884377B46B   KINDAL          PERRY                    NC           90013958437
59811678A2B245   TIFFANY         HAIRSTON                 DC           90001366780
5981465775B387   KEVIN           BARRANCO                 OR           90004396577
5981757A62B245   KEITH           ALLEN                    DC           90011635706
59818113A7B46B   CHEYNNE         SKIPPER                  NC           90013941130
5981B798791587   JOANNE          HERNANDEZ                TX           90011507987
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59823288372B49   LINDA          EDWARDS                  CO           90013182883
5982938A35715B   JAMES          EPPLEY                   VA           90009753803
5982941735715B   JAMES          EPPLEY                   VA           90012304173
59831269924B43   DERREL         CLINTON                  DC           90009802699
5983176A272B36   JOSH           MILLES                   CO           33009537602
5983431365B283   ALISHA         MARON                    KY           68017773136
5983489A32B27B   SHAQUANNA      WILSON                   DC           90012698903
5983552185715B   NOE            TRUGIO                   VA           90010305218
59836977272B24   SIERRA         DEVITA                   CO           90008529772
59838883572B43   MARISELA       PEREZ                    CO           33054358835
5983995144B588   DONNIE         GROGAN                   OK           90014029514
5983BA84872B38   MARGARET       ADAMS                    CO           33093970848
598451A7533699   EMILY          GORGE                    NC           90013971075
59845595A72B36   ALICIA         LATLOW                   CO           90014565950
5984665915B387   LACEY          PANKO                    OR           90013366591
5984B954733699   BIANCA         NORRIS                   NC           90013969547
59851274272B38   IRMA           CASTILLO                 CO           33020732742
5985218237B46B   MARIA          VILLEGAS                 NC           11071091823
5985687525B387   GRISELDA       BOLANOS ROCHA            OR           90010688752
5986B11227B46B   RYAN           WILLS                    NC           90002931122
5987514775B387   ANN            BAILEY                   OR           90014181477
59878A9A572B36   EDWARD         HUNT                     CO           90013860905
5988141965715B   LISA           BLACK                    VA           90013974196
5988155A52B245   MICHAEL        HOSTON                   DC           81086945505
5988329774B588   MICHAEL        JOHNSON                  OK           90006082977
59883381A47836   BLANCHE        DEAN                     GA           90012303810
59883A83891587   ANTONIO        LOPEZ                    TX           90001950838
59885A1375715B   CLAUDIA        PICADO                   VA           90011490137
5988614A172B38   SONIA          CARREON                  CO           90014131401
59886277172B38   GIA            BROOKS                   CO           90013122771
5988761347B46B   NAKEISHA       MILLER                   NC           90013016134
59888429372B38   JOHN           SMITH                    CO           90013134293
5988B18212B27B   DAWARREN       ABNEY                    DC           90013401821
5988B47117B46B   JEREMIAH       SMITH                    NC           90012114711
5989158675758B   NICHOLAS       TRUJILLO                 NM           90012465867
5989214775B387   ANN            BAILEY                   OR           90014181477
59893612472B43   SARA           POHL                     CO           90012946124
5989385257B46B   JOHN           NORWOOD                  NC           90013978525
5989555577B46B   LETTICIA       BEACHEM                  NC           90009345557
59898583972B38   LUIS           CASTRO                   CO           90013135839
598B1677A5B387   PAYTTON        MCKENZIE                 OR           90013356770
598B317A65715B   VILMER         ORTEGA                   VA           90011961706
598B3769891895   PAUL           CALDERON                 OK           90003137698
598B3785531428   JESSICA        WAXMAN                   MO           27597807855
598B511455715B   JOSE           FRANCO                   VA           90011401145
598B7481972B49   ALFEDO         CALAVERA                 CO           90011164819
598B9881133699   JESSICA        SHELTON                  NC           90011658811
59912368A72B49   HERIBERTO      GOMEZ                    CO           90011053680
599135AA161971   JENNIFER       HEPP                     CA           90004935001
5991395144B588   DONNIE         GROGAN                   OK           90014029514
5991525A88B189   ELIZABETH      GARCIA                   UT           90013172508
5991574624B588   ROSA           MEDELLIN                 OK           90013977462
59917258A4B588   RONALD         JUSTICE                  OK           90014992580
5991B387A5758B   JOEL           MARQUEZ                  NM           90011333870
599232AA57B46B   ARTAVIS        SAMPKINS                 NC           11098512005
59926298372B49   DANIEL         BLEDSO                   CO           90004882983
59927436372B38   ERICK          VELAS                    CO           90013134363
599295A855B387   MARLA          GIBSON                   OR           90007255085
5992997445715B   LEANDRO        PORTILLO                 VA           90014499744
5992B54282B252   VANESSA        JONES-THOMAS             DC           90011505428
599315A852B245   YOSIMARA       JONES                    DC           90011655085
59935439172B38   ROSA           SALINAS                  CO           90013134391
599427A636B166   PATRICK        ROBINETTE                MS           90015097063
599429A7791895   JENNIFER       LANGHAM                  OK           90013829077
5994414775B387   ANN            BAILEY                   OR           90014181477
5994626122B27B   TIAQUANA       CHANDLER                 DC           90002202612
5994751672B245   CARLOS         YOUNG                    DC           90008625167
5995189A55758B   RICARDO        JIMENEZ                  NM           90013498905
5995389452B245   DARNELL        WATSON                   DC           90013928945
5995663345B387   DONNA          DRAKE                    OR           90004016334
59959118772B36   JESSICA        HERNANDEZ                CO           90012921187
59963456872B38   GEORGE         PRUSAK                   CO           90013134568
5996438A46199B   RICK           COSGROVE                 CA           90013413804
59965A3674B588   JEANNIE        GONZALES                 OK           90014910367
5996819512B953   MICHELLE       SMILE                    CA           90012331951
5996887A344B85   MICHAEL        THOMPSON                 OH           90014578703
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59971A5A891895   KIMBERLY            FREEMAN             OK           90012960508
599753A317B372   ALBERTO             GARCIA              VA           90010943031
5997634524B588   CRYSTAL             WOOD                OK           90014403452
5997825155715B   RUDY                ARIAS               VA           90012582515
5997B917A61971   SEAN                GAMBOA              CA           90010399170
5998214925B531   OLIVIA              ESPINOZA            NM           90010991492
59987459872B38   JULIANA             CALDERON            CO           90013134598
59987585A93724   SAMUEL              PRICE               OH           90011895850
5998B66A15758B   ANDREW              VOGANN              NM           90010916601
5999198482B27B   MARVIN              CANEL               VA           90012699848
5999665375715B   BOBBY               SINGH               VA           90012916537
5999769A633696   MONIQUE             JARRIS              NC           90004096906
599984A935758B   ABIGAIL             SANTOS              NM           90009564093
59998A21861971   JO ANNE             MONTANO             CA           46024660218
5999B553561971   WILLIAM             MASTER              CA           90012345535
5999B633161965   DAVID               REYES               CA           90012956331
599B2635933699   WILLETTE            CROCKETT            NC           90014036359
599B3792972B38   ELDER NAVA          MIRANDA             CO           90008107929
599B692885758B   EUNICE              DELGADO-PALMA       NM           90010779288
599BB29932B241   SEREMA              COTTOMS             DC           90010252993
59B1116A17B46B   JAMIE               PERRY               NC           90013931601
59B13473755971   JEREMIAH            SEPEDA              CA           90008344737
59B15511561965   HAKMT               TOMA                CA           46081715115
59B15921191895   JAKOB               SWIFT               OK           90010659211
59B1716835B271   SHARON              ROBINSON            KY           90010531683
59B17559531429   JOSHUA              GRAETTINGER         MO           90012685595
59B18229891895   LLOYD CHRISTIAN     WOODS               OK           90014562298
59B2323A957127   MITCHEL             SMITH               VA           81076722309
59B2586314B588   KEVIN               WILLIAMS            OK           90002698631
59B26127561971   TRACY               BOSELLI             CA           90004821275
59B2884835B531   RANDY               CRUZ                NM           90014748483
59B29743972B49   OMAR                BACA                CO           33088827439
59B2B44855593B   LUIS                RAMOS               CA           90011384485
59B2BA86731429   WILLIAM             CLAYTON             MO           90004990867
59B32194155971   SHELLIE             WOOD                CA           90013961941
59B33A53A31428   MOHAMED             TAMBADOU            MO           90006090530
59B36358A72B36   ANTINETTE           PAYNE               CO           90012103580
59B36681357541   JULIAN              GARCIA              NM           90011896813
59B369A3472B49   CHARLES             RAIFSNIDER          CO           90012169034
59B39A67251348   JOHN                CARNEY              OH           90011190672
59B3B8A3572B36   CARL                KING                CO           90010958035
59B41583472B36   SANTIAGO DE JUSUS   RUIZ-MEJIA          CO           90014565834
59B47A3622B27B   ALDA                ROMERO              DC           90011150362
59B48735A5B387   ROSA                CONLON              OR           90012087350
59B5164762B27B   WILLIE              CROOK               VA           90012786476
59B5248655B387   OSCAR               TAFOYA              OR           90011594865
59B54117272B27   JOHN                ARCHULETA           CO           90013721172
59B55363157122   CHERYL              REYNOLDS            VA           90012823631
59B56287261971   CRISTINA            GUTIERREZ           CA           90010662872
59B59247A72B38   JANICE J            COOPER              CO           90011502470
59B59485433699   SHANE               REID                NC           90013924854
59B5965485B531   MARIA               ALCALA              NM           90010696548
59B5B538272B38   BEN                 LOPEZ               CO           90013125382
59B62688A2B245   NORMA               NAVARRO             DC           90013926880
59B6413A157541   NICHOLE             NEDLER              NM           90011301301
59B6458114793B   JENNA               JACKSON             AR           25070755811
59B6484624B588   BRYCE               EASLEY              OK           90012858462
59B65772872B43   NYDIA               LOPEZ               CO           90011187728
59B66967893724   LEAH                JACKSON             OH           90014049678
59B67791A2B245   TONY                BOYD                DC           90012217910
59B6831375715B   LUIS                SALAZAR             VA           90012363137
59B6B115191895   LAURA               SOSA QUIROZ         OK           90012191151
59B711A784B588   ONESHA              DOUGLAS             OK           90013871078
59B7532294B28B   DAVID               WELCH               NE           26026473229
59B76427433625   ANTOINETTE          MATTHEWS            NC           90007644274
59B76878A72B43   ENRIQUE             SANCHEZ             CO           90013978780
59B7691275B387   CRYSTAL             STUDINARZ           OR           44598229127
59B7B33AA51348   MARIAH              WATSON              OH           90011153300
59B81556172B38   DALIA               MARMOLEJOS          CO           90013125561
59B82372931428   ASHLEY              BROWN               MO           27508293729
59B84AA4424B43   JUAN CARLOS         GARCIA              VA           90014100044
59B85273572B49   SALVADOR            ANGELES             CO           90012832735
59B86681291587   EDGAR               VALENZUELA          TX           90009156812
59B87A85791587   JESUS               GALLARDO            TX           90010320857
59B91728372B27   ROBERT              DENNY               CO           90012837283
59B9173A32B369   BRUCE               MODEEN              CT           90013947303
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59B93A18A24B43   SARA           MENDOZA                  DC           90008140180
59B9418A65715B   JIMMY          GOMEZ                    VA           90011631806
59B95625172B24   JORDAN         VARGAS                   CO           33018746251
59B96191897B54   CONNIE         BELL                     CO           39070901918
59B9994684B588   ASHLEY         CROOK                    OK           90014789468
59B9B411A91587   NATHAN         AGUIRRE                  TX           90012974110
59B9B646A55971   ALEJANDRO      SANCHEZ                  CA           90013166460
59BB456874B588   ZEIRY          MADERA                   OK           90015045687
59BB48A932B27B   SHAQUISE       SHEFFEY                  DC           90011338093
59BB491976192B   ARTURO         MAGALLON                 CA           90007189197
59BB544242B27B   ASHLEIGH       MITCHELL                 DC           90012844424
59BB695A791895   KAYLA          COOPER                   OK           90013709507
59BB846775B387   OSCAR          TAFOYA                   OR           90011594677
59BB9A35361971   JOEANNA        GIVENS                   CA           90009090353
5B111772597B77   JENNILYNN      STAPLES                  CO           90011557725
5B111866891895   JOSH           MCCAW                    OK           90010868668
5B111913261971   CRISTINA       MARQUEZ                  CA           90008149132
5B111A9455B236   AMANDA         FOSTER                   KY           90013450945
5B11223A361971   MICHAEL        HOLLIN                   CA           90013112303
5B112376791895   SAMATHA        CORBET                   OK           90011073767
5B11251135B393   DONTA          MCDONALD                 OR           90000325113
5B112975972B27   JOY            RHODES                   CO           90013079759
5B112A79281693   SHENELLE       PARKER                   MO           29005040792
5B114262772B67   COREY          SENF                     CO           33032472627
5B116992361971   RACHEL         LUDWIG                   CA           90012999923
5B116A63797B77   ROSA           ESCOBAR                  CO           39012900637
5B117A8879712B   MARIA          CHAVEZ                   OR           90011150887
5B11822129712B   JAMES          YAVARI                   OR           90009572212
5B119296197B77   EMILY          RUSSELL                  CO           90012952961
5B119551A85821   ALDO           GARSIA                   CA           90010685510
5B11B216391271   JOEY           HARVEY                   GA           90014592163
5B12159327242B   ALICIA         LEWANDOWSKI              PA           90012855932
5B121915597B77   MARISOL        GOMEZ                    CO           90013159155
5B12214535B399   RYAN           PAGANO                   OR           90012771453
5B122649191895   PAUL           HAVENS                   OK           90010076491
5B12344328164B   MARLA          MOORE                    MO           90004264432
5B12379A857157   RHONIKA        CALLAWAY                 VA           90011297908
5B123A36897B77   LAURA          GRIMALDO                 CO           90014890368
5B125179361975   CARLOS         CRUZ                     CA           90010691793
5B125179672B27   TACHER         BROWN                    CO           90013041796
5B12547297242B   JUANITA        SALYTON                  PA           90013934729
5B127412291895   KHPAID         REVELS                   OK           90013934122
5B127A36897B77   LAURA          GRIMALDO                 CO           90014890368
5B12965215B393   JUAN MANUEL    LUCERO ROJAS             OR           90011906521
5B12BA36897B77   LAURA          GRIMALDO                 CO           90014890368
5B133A3292B851   DYLAN          CADOTTE                  ID           42037120329
5B133A36897B77   LAURA          GRIMALDO                 CO           90014890368
5B13417817195B   TAUTUNU        LAGO                     CO           90013541781
5B134213472B49   MARIA          LONELI                   CO           90013982134
5B13437A15B236   SAMUEL         CRUZ                     KY           90011343701
5B13533775B236   YULIBER        DUCAS                    KY           90012313377
5B1359A8172B77   GABRIEL        NEVARES JR               CO           90010759081
5B136351631433   ERIC           CONDER                   MO           90008843516
5B136A36897B77   LAURA          GRIMALDO                 CO           90014890368
5B13756555B162   KATHY          LANCASTER                AR           90013935655
5B137749972B27   VIOLA          CORDOVA                  CO           90013927499
5B139563A85821   WILLIAM        ANDERSON                 CA           90012345630
5B139817672B43   LETICIA        SANCHEZ                  CO           90008528176
5B139826991895   TREVOR         BENDURE                  OK           90012408269
5B139A5A197B77   ESTAPHANITA    GRIMALDO                 CO           90014890501
5B141A83A7195B   KRISTI         ROEVER                   CO           90012650830
5B142934197B77   NORMA          CERVANTES-DEL VILLAR     CO           90013159341
5B143781638598   NATHAN         BLANEY                   UT           90012997816
5B144151491356   LAVARO         VEGA                     KS           90014581514
5B14642682B862   JACOB          KNITTEL                  ID           90013084268
5B14718445758B   IGNAC          GARCIA                   NM           90001841844
5B148257757157   MARIA          PEREZ                    VA           90008372577
5B148451751348   JAMES          RILEY                    OH           90011944517
5B14881995B236   RONNIE         GRIMES                   KY           90012828199
5B148975997B77   NATHAN         ZAVALA                   CO           90013159759
5B14B377891356   CARMEN         BORJA                    KS           90014703778
5B14B39119712B   BENNY          SMITH                    OR           90014453911
5B14B76A88B189   MARIA          DEALMEIDA                UT           90013497608
5B1518AA88B189   GERARDO        ORTIZ                    UT           90013498008
5B151999A97B77   DESTINI        PENA                     CO           90013159990
5B152429857157   STEFONI        MACK                     VA           90005834298
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5B15311857B46B   BRENETTA       COLEMAN                  NC           90010411185
5B15329142B851   CHRISTINA      GARZA                    ID           90001202914
5B153755533699   GENE           BUTLER                   NC           90003017555
5B15416378B169   LANNING        JENNY                    UT           90005661637
5B154369572B36   KAYTI          POHLMAN                  CO           33073253695
5B154A39772B36   NAPOLEON       BOLDEN                   CO           90011380397
5B1559A4972B77   GUSTAVO        MEZE                     CO           90001939049
5B155A91257591   ERNEST         ALVAREZ                  NM           90008470912
5B156523384357   ANDRE          SIMMONS                  SC           90012125233
5B156616584357   ANDRE          SIMMONS                  SC           90013856165
5B1573A758B169   JASMINE        POWERS                   UT           90012313075
5B15B4A772B27B   JACQUETTA      DAY                      DC           90009834077
5B15B85689712B   SIVINO         PEREZ                    OR           90009578568
5B161323757591   CHRISTINA      HERNANDEZ                NM           90010073237
5B161A2748B169   CODY           VINING                   UT           90009750274
5B161A2965B393   LINDA          ROUSKE                   OR           90015130296
5B162838572B88   FRANCES        JACKSON                  CO           90006798385
5B162AAA671935   DANIEL         ATENCIO                  CO           90010270006
5B16432895758B   BLANCA         VALENZUELA               NM           90005263289
5B16486A855951   ROBERT         LARA                     CA           90013268608
5B165852355941   MIGUEL         HERNANDEZ                CA           90012018523
5B16812947B46B   JAMIE          HOLBROOKS                NC           90011181294
5B169A76572B27   PAULETTE       BRUTON                   CO           33063670765
5B16B635572B27   FRANCISCO      JAVIER                   CO           90014376355
5B171744976B75   MICHAEL        CHARLTON                 CA           90009097449
5B17255A86B243   BELINDA        GORDEN                   CA           37049555508
5B173369A97B77   DANIEL         GARCIA                   CO           90007253690
5B1733A212B862   DELAYNE        DYE                      ID           90011643021
5B17395754B588   KANERON        OLIVER                   OK           90011879575
5B1749AA838598   JEFFREY        SYDDALL                  UT           90013009008
5B174AA8197B77   ASUNCION       PEREZ-DE JESUS           CO           90009520081
5B177785161975   NICOLAS        LORA                     CA           90009767851
5B179576397B54   SELENA         LIMONES                  CO           90004385763
5B17B62275B531   JOSHUA         JORDAN                   NM           90009236227
5B17BAA1A72B27   BRANDON        JACOBS                   CO           90013750010
5B181799172B49   VIET           NGUYEN                   CO           90014907991
5B18273A548B24   KRISTY         TRAN                     AZ           90014037305
5B183265155941   NANCY          NAVARRO                  CA           90014472651
5B183429191895   CLIFFORD       CLARK                    OK           90013934291
5B1844A4672B49   PHILIP         STEWART                  CO           90011004046
5B18478115758B   MELISSA        VEGA                     NM           90007847811
5B18543462B862   DEVIN          DURBIN                   ID           90014744346
5B185696A76B75   CRAIG          SHAPMAN                  CA           90012076960
5B1859AA971935   ERIC           CASTRO                   CO           90013039009
5B187348197B4B   JUAN MANUEL    RODRIGUEZ CANO           CO           90013023481
5B187372A27B48   BIE MA         DAU                      KY           90014463720
5B188196A71935   MATT           GUNTER                   CO           90013941960
5B18B73A548B24   KRISTY         TRAN                     AZ           90014037305
5B1919A747B372   ANA            ERAZO                    VA           81015189074
5B19271234B271   CAROLE         APOVO                    NE           90007807123
5B193995372B43   KRISTIE        WILLIAMS                 CO           90001059953
5B19486155B399   ROBERTO        OZUNA                    OR           90010378615
5B195438197B77   NOELIA         DAVLIA                   CO           90014944381
5B19626725715B   LINETH         PEREZ                    VA           90013962672
5B196463833699   MICHAEL        QUATTKEBAUM              NC           90014724638
5B197466A72B43   EDMOND         MCLEAIN                  CO           90014834660
5B198438197B77   NOELIA         DAVLIA                   CO           90014944381
5B19848455B162   DANA           RUSSELL                  AR           23006984845
5B19973A548B24   KRISTY         TRAN                     AZ           90014037305
5B19979942B27B   LEONARD        ROSS                     DC           90011947994
5B199858361971   CATALINA       ZAMORA                   CA           46078388583
5B199A36738598   PAUL           HANSEN                   UT           90013020367
5B19B564951348   LUIS           GARCIA                   OH           90009845649
5B19B843271935   ANTHONY        MAZYCK                   CO           90012858432
5B1B1768172B49   RACHEL         SULZBACH                 CO           90010807681
5B1B2378A5B236   EVELYCA        NELSON                   KY           90011223780
5B1B2828284373   ISABELLE       BAMBARA                  SC           90014238282
5B1B3169472B36   SERGEY         FOUKS                    CO           90012361694
5B1B357A572B49   JOSE           PEREZ                    CO           90012635705
5B1B6647A33696   JESHUAN        DELGADO                  NC           90013236470
5B1B722976B943   TANYA          GREEN                    CO           90000922297
5B1B7889172B67   SHAUN          RANK                     CO           33000128891
5B1B79AA59712B   JOHANNA        CAMARGO                  OR           90011149005
5B1B823335B393   LASHONYA       MORRIS                   OR           90014802333
5B1B868A357157   JEFFREY G      SWEARMAN                 VA           90010446803
5B1B958178B189   HERACLIO       MARTINEZ                 UT           90013495817
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5B1B971255B247   MARK            BLACK                   KY           90012337125
5B212619484357   COURTNEY        BEE                     SC           90010266194
5B21299695B162   RICKY           CONNLEY                 AR           90013749969
5B21565635B236   ABELL           SARAH                   KY           90009476563
5B216493291895   CAROLYN         RICHARD                 OK           21080764932
5B218588457B81   ALTON           SWINGLE                 PA           90014375884
5B21897927242B   FRANK           ADAMS                   PA           90006999792
5B219614255941   RUSSUEL         DAVIS                   CA           90013356142
5B221141651348   ONEILL          COSME                   OH           90012151416
5B221586572B27   FLOR            IBARRA                  CO           90014195865
5B22163677195B   OLLICE          BURKE                   CO           90010086367
5B22265A37242B   AMANDA          KUHNS                   PA           90015026503
5B223293372B36   KATRINA         JOHNSON                 CO           33083232933
5B22546917195B   PAUL            KENDALL                 CO           32096134691
5B22687245758B   HEATHER         TORRES                  NM           90010668724
5B226943A5B236   LORIE           VAUGHN                  KY           90014489430
5B22724875B162   MANUEL          SANDOVAL                AR           23017972487
5B22857342B27B   ESTELA          ESTRELLA                DC           81092985734
5B22B82445B531   VALENTE         ACOSTA                  NM           90014638244
5B22B858A61971   BRADEY          LARA                    CA           90011478580
5B23161977242B   ANDREA          JONES                   PA           90013066197
5B23169375B399   CRAIG           EVANS                   OR           44591736937
5B23475362B27B   FAITH           BELLAMY                 DC           90009667536
5B234866733696   RUFUS           VARRON                  NC           90006808667
5B23847365B236   JAMAR           ELLIOTT                 KY           90011224736
5B23B228657157   MARIA           GUEVARA                 VA           90009392286
5B23B758361971   MANI            QUIDIANI                CA           90010187583
5B24136684B588   ALEXANDER       CARMONA                 OK           90013963668
5B241913333696   ROBERT          CAMERON                 NC           90012959133
5B24258A45B236   AMY             CAIN                    KY           90008805804
5B2425A224B28B   ERENDIRA        SOLORIO                 NE           26095585022
5B242852A5758B   ANGELA          FERNANDEZ               NM           90012188520
5B2433A7897B77   JOSE            SANTOYO                 CO           90010803078
5B243A76376B75   AMADOR          MONREAL                 CA           90001480763
5B246898742363   TYLER           PELHAM                  GA           90013928987
5B247552391895   DAVID           RODRIGUEZ               OK           90007765523
5B24844AA2B27B   KIARA           CHILDS                  DC           90012994400
5B24898314B561   SHERRY          HOMES                   OK           90011659831
5B2496A9251348   NATASHA         JOHNSON                 OH           90006386092
5B249823757591   ROGER           CISNEROS                NM           90012148237
5B24B887357591   COLBERT         VALDEZ                  NM           90013488873
5B25238527195B   DAMIAN          JOHNSTON                CO           90013563852
5B25283667195B   DAMIAN          JOHNSTON                CO           90014588366
5B25286A433696   PATRICIA        MURPHY                  NC           90008598604
5B253849972B43   LANDON          STECKLEIN               CO           90006358499
5B253A4364B28B   PHYLLIS         REINWALD                NE           90010380436
5B254826676B75   ENRIQUE         RUIZ                    CA           90013818266
5B25482A89712B   CHELSEA         REEDER                  OR           90012728208
5B25552A972B27   TERRELL         JOHNSON                 CO           90009725209
5B25711A285821   ADRIANA         LOPEZ                   CA           90014191102
5B25782174B28B   ASHLEY          GREEN                   NE           90006478217
5B261784531429   ALICIA          MILLER                  MO           27513797845
5B26237454B28B   HOLLY           DONDLINGER              NE           90011053745
5B263999872B36   PATRICK AARON   COLLIER                 CO           90012749998
5B26428217B46B   EVER            MELENDEZ                NC           90008512821
5B264894376B75   JON             REED                    CA           90013748943
5B2648A224B271   ROSA            VASQUEZ                 NE           27004328022
5B265135561975   ANN             SMITH                   CA           90008601355
5B2693A7457157   ROSA            VALLADARES              VA           90012623074
5B26B594197B77   NOE             MEDINA                  CO           90008435941
5B273AA3184373   CHAD            WESSINGER               SC           90014630031
5B274A9162B862   STEVEN          FRANK                   ID           90005060916
5B275461772B46   JOSEPH          POTTER                  CO           90008794617
5B276213761971   MARIA           BANDERAS                CA           90010912137
5B276268351348   LARREN          MARTIN                  OH           90014612683
5B276912755941   ABIGAIL         PENA                    CA           90001249127
5B279691991895   JOY             WRIGHT                  OK           90012166919
5B2797A8238598   GINA            CAMPBELL                UT           90006027082
5B27983A672B49   MARISOL         VALLES                  CO           33045378306
5B27B565772B67   ALMA            SAENZ                   CO           33079255657
5B27B75355B236   LESLIE          EDWARDS                 KY           90006757535
5B281167472B43   J SANTOS        ESQUIVEL                CO           90011371674
5B281656372B27   ALVINO          WATKINS                 CO           90014106563
5B2817A985B399   CHARLES         CAMPBELL                OR           90014027098
5B282482185821   MARIA YASMIN    BAZAN                   CA           90013644821
5B28355174B588   JESSICA         ALVAREZ                 OK           90013925517
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5B28382262B851   CHRISTINA         GOMEZ                 ID           90006268226
5B28394454B28B   MERCEDES          LAME                  NE           90012809445
5B285629A5B162   MARY              WILLIS                AR           90000196290
5B286135157157   MARGARITA         GONZALEZ              VA           81084651351
5B28655A25B162   DIANE             CANFORD               AR           90010525502
5B28825895715B   NEFTALI           MARROQUIN             VA           90014892589
5B28953594B28B   JOSH              BELL                  NE           90013915359
5B28B8A925B387   THERESE           SCHMIDT               OR           44537708092
5B28B995955941   VICTORIA          SANCHEZ               CA           90007029959
5B291A12861971   ALICIA            IBARRA                CA           90010410128
5B292123691895   MARISSA           WILLIAMS              OK           21009271236
5B294154597B54   JOSE              LEGARDA               CO           90012231545
5B295385772B27   CHANDRA           MORENO                CO           90011103857
5B295745771935   MARCUS            MARTINEZ              CO           90013007457
5B29B128485821   NESTOR            ALONSO                CA           90001761284
5B29B68927242B   ASHLEY            SEBEK                 PA           90005836892
5B2B2539485821   DAVID             FRUTOS                CA           90003745394
5B2B2631731429   RHONDA            ALEXANDER             MO           90003206317
5B2B274685B399   NELPHER           LEMUEL JR             OR           90013967468
5B2B299828B189   HEATHER           MEMMOTT               UT           90007979982
5B2B5A1A372B49   SHAWN             LEE JEWELL            CO           90000240103
5B2B7175161975   BLANCA            LOPEZ                 CA           90013991751
5B2B736295715B   JAVIER            PAREDES               VA           90013793629
5B2B866165715B   STEWART           FEDERICK              VA           90013986616
5B2BB271672B31   ANGEL             HUDSON                CO           90010472716
5B31133847242B   DAWN              THOMAS                PA           90003933384
5B31331AA61975   ECTOR             VAUGH                 CA           90013853100
5B3145A585B162   GRANT             WARD                  AR           90005185058
5B31467155B531   DENICE            MOORE                 NM           90013926715
5B314974851348   JAYDE             REID                  OH           90012499748
5B31525375758B   DANNY             BAKER                 NM           90013982537
5B316141485821   JOSE              RAMIREZ               CA           90011051414
5B316242572B27   AIOTEST1          DONOTTOUCH            CO           90015122425
5B31641A55B531   CHARLENE          TORRES                NM           90004874105
5B31719A385821   DONALD            DUPONT                CA           90012541903
5B3172A2A91356   CHRISTINA         COOPER                KS           90013882020
5B31842675B531   FREDERICK         MCDANIEL              NM           90008834267
5B319959891895   JEREMY            JENNEY                OK           90012089598
5B31B237838598   BEN               MONTOUR               UT           90013062378
5B31B29A95B399   NATASHA           NAKAGAWA              OR           90002502909
5B32232143B352   DALE              FLANDERS              CO           90010883214
5B32323467B46B   JUAN              CRUZ                  NC           90007022346
5B323815133696   TOMMIE            MOORE                 NC           90010098151
5B323899957157   PEDRO             MARCUS                VA           90007868999
5B324283733699   TAMIKA            MCMOORE               NC           90011192837
5B324388557B23   ERIN              EGAN                  PA           90013973885
5B32445285B393   CAREY             GOSS                  OR           90015124528
5B326763A61971   JAVIER            VASQUEZ               CA           90013927630
5B327265951348   JUAN              HERNANDEZ             OH           90012342659
5B32758275B162   TAYLOR            HICKS                 AR           90014615827
5B32855174B588   JESSICA           ALVAREZ               OK           90013925517
5B329294933699   GUADALUPE         LOPEZ                 NC           90011192949
5B32B519A33696   RADOVAN           BANOVIC               NC           90015185190
5B32B524176B8B   FRESVINDO         G RODRIGUEZ           CA           90005365241
5B331931655941   FIDEL             PEREZ                 CA           90010979316
5B33222539712B   REYES             BARRAGAN              OR           90013612253
5B333125784373   FREDRICK          HUNTER                SC           90014651257
5B333268884373   NATHAN            MACDONALD             SC           90010732688
5B333814476B75   AARON             DAVID                 CA           90014848144
5B33459645715B   SIDIQUA           ROUHOLLAH             VA           90000245964
5B33553195B162   ISRAEL            MORENO                AR           90012415319
5B33721349712B   CHRYSTEL          ROTHAUG               OR           90011202134
5B337356876B75   DAVID BARRAMEDA   VILLAMIL              CA           90013963568
5B3374AA572B27   RACHEAL           VIGIL                 CO           33085494005
5B337949251348   STEPHAN           HAHN                  OH           90002269492
5B341644591356   JONATHON          JOHNSTON              KS           90014116445
5B342664785821   ROSENDO           LUCERO                CA           46080566647
5B343991285821   JUAN              HERNANDEZ             CA           90010649912
5B3451A2533699   ISMAEL            GARY                  NC           90014711025
5B34642A241229   CHELSEY           KERSHNER              PA           51076134202
5B34B259757157   JULIO             SEDANO                VA           90014962597
5B34B828771935   MATTHEW           SALAZAR               CO           90011718287
5B351141672B27   KLAUD             BANKS                 CO           33017921416
5B354989757157   CINDI             CORDOVA               VA           90008649897
5B356574838598   ZACHERY           FREDERICK             UT           90013075748
5B35658284B28B   MERIDEL           FUNK                  NE           90012355828
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5B358518176B75   BELI           LOPEZ                    CA           90009185181
5B35898A39712B   ISAIA          RODRIGEZ                 OR           90015169803
5B3596A2384357   ANTHONY        MAYS                     SC           90014006023
5B35B46A75B236   DONALD         LANE                     KY           90014484607
5B362429933696   BRENDA         HEDRICK                  NC           12007954299
5B363611338598   TINA           THOMAS                   UT           90012916113
5B36428A14B28B   JOE            SIMS                     NE           26075162801
5B36566165715B   STEWART        FEDERICK                 VA           90013986616
5B367326384357   JULIA          DELOACH                  SC           90014173263
5B36BA73672B49   MARCO          FRANUA                   CO           90014780736
5B371215A4B28B   STEPHANIE      VASQUEZ                  NE           90014442150
5B371622872B49   TRAVIS         DILLON                   CO           90012176228
5B3716A9A72B36   MARTHA         VASQUEZ                  CO           90012276090
5B372481333696   JILL           AARON                    NC           90013764813
5B37251922B862   CHRISTINA      AMBER                    ID           90015115192
5B37255A571935   KAREN          MENDOZA                  CO           90010615505
5B37465374B28B   DANIELLE       HERGENRADER              NE           90013656537
5B375241A72B49   JOSEFINA       TORRES                   CO           33043672410
5B37623527B46B   MONTRAQ        HOUSTTON                 NC           90011312352
5B37754867195B   EDWARD         MARTINEZ                 CO           90010555486
5B37B53325715B   SUK            RO                       VA           90010305332
5B382342655941   ANNETTE        BRUCE                    CA           90014243426
5B382617371935   JUWAN          MACK                     CO           90011986173
5B38334865B162   JEFFERY        HALL                     AR           90012303486
5B38376718B169   JULIE          MARTIN                   UT           31024987671
5B389641A7B46B   MAI            LEE                      NC           90012886410
5B38968568B169   RUSSELL        BROWN                    UT           31083786856
5B392A99776B75   RUFINA         TAYLOR                   CA           90013880997
5B3934A722B241   FEREHIOT       MULAT                    DC           90000194072
5B394462997B54   RANDALL        WESTPHAL                 CO           39072424629
5B394758941229   GLADYS         ROWSER                   PA           90010727589
5B395618A55951   YAZMIN         HOLGUIN                  CA           90005826180
5B395851A76B75   SOTERO         MICHEL                   CA           90012848510
5B397256157591   MARIA          GARCIA                   NM           90014652561
5B39854925B162   NAKIA          CHEATUM                  AR           90010955492
5B39898A77195B   JESSENIA       ROACHO                   CO           90013569807
5B3B2436561975   JASON          WRIGHT                   CA           46056294365
5B3B297A49712B   LEANA          JIMENEZ - FFR - 11531    OR           90007829704
5B3B3A43461971   SALLY          PHOENIX                  CA           90013960434
5B3B491127242B   SAMANTHA       DULL                     PA           90011289112
5B3B55A2991356   SHEIRRA        SIMMS                    KS           90014395029
5B3B6445A85821   JULIA          ZHOU                     CA           90012144450
5B3B783975B162   LUIS           CARRENO                  AR           90014448397
5B3B822A857591   RAMON          JACKSON                  NM           90014162208
5B3B9211438598   JESUS          CISNEROS                 UT           90013062114
5B3B9568491895   JALEN          JACKSON                  OK           90010925684
5B3B969A261971   EMMA           BON                      CA           90008696902
5B3B96A647B661   IVA            JOHNSON                  GA           90011536064
5B3BB18A571935   ADRIAN         BUNYON                   CO           90013361805
5B3BB87495758B   STEVEN         SETTLES                  NM           90007578749
5B41362975B236   IVAN           BENNETT                  KY           90012256297
5B413845791895   SCOTT          SHARPE                   OK           90012408457
5B413A86384357   TREVOR         PERRY                    SC           90014710863
5B414276172B36   ZOE            PETERSON                 CO           90013112761
5B416431A8B169   ROSS           KAREN                    UT           31083794310
5B419A65924B7B   EDWIN          CASTRO                   DC           90013540659
5B421717A5B531   ARIEAL         JOHNS                    NM           35010637170
5B422163A5715B   JOSE           GALICIA ARRIAZA          VA           90012971630
5B422477651348   LYNN           JENSEN                   OH           66010984776
5B42356627B362   FELICIA        DAVIS                    VA           81000715662
5B423651761975   ALEJANDRINO    GAMEZ                    CA           90007056517
5B42479545B543   REAGINA        ROJAS                    NM           90004227954
5B426391776B75   JUANA          GONZALEZ                 CA           90013393917
5B426A1349712B   BLOCKSTORE     LLC                      OR           90011910134
5B427353A61975   PABLO          LEMUS                    CA           90011503530
5B4284A7776B75   JUANITIA       WILLIAMS                 CA           90013594077
5B428956338598   NACEY          PELAGIO                  UT           90013099563
5B428A3724B588   JOSE           HERNANDEZ                OK           90012200372
5B429448572B36   JASON          WEYANDT                  CO           90013634485
5B42947A431665   SAMANTHA       MILLS                    KS           90005154704
5B42B21A285821   ERIC           NESA                     CA           90011872102
5B42B622572B49   MARISOOL       MARTINEZ                 CO           90012626225
5B4316A325B399   JESUS          LOPEZ                    OR           90014946032
5B43185A298B2B   CLAUDIA        GARCIA                   NC           11061108502
5B432997438598   AUSTIN         CRAWFORD                 UT           90013099974
5B433997438598   AUSTIN         CRAWFORD                 UT           90013099974
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5B435375297B77   WENDY          HURTADO                  CO           90002433752
5B435696761975   ROBERT         NIEBLAS                  CA           90013006967
5B43644A42B862   MATTHEW        SMITH                    ID           90006594404
5B436A7262B851   MELISSA        HODGES                   ID           90001260726
5B437895191895   KIMBERLY       SEGOVIA                  OK           21001118951
5B43977A885821   JUSTIN         CHAVEZ                   CA           90013917708
5B43B364251348   VAUGHN         BUSH                     OH           90012983642
5B43B6A3842363   CARL           THOMAS                   GA           90011576038
5B43B924661971   JOEL           OSTOSH                   CA           90013249246
5B442569891895   TEANNA         BROWN                    OK           90014915698
5B443248941229   ELIZABETH      NEUMEYER                 PA           51016912489
5B44424977B434   MILAGRO        CUZMAN                   NC           90011352497
5B44595175B162   MACKENZYE      PARKER                   AR           90013339517
5B44678784B28B   BRAD           WALTON                   NE           90013027878
5B446A91972B43   ADRIAN         MEDINA                   CO           90011900919
5B44728795715B   ANA MARIA      MORENO BLANCAS           VA           90014082879
5B44899814B28B   MARIA          FLORES                   NE           90001509981
5B449643355941   MERCEDES       WHITE                    CA           90012656433
5B449693257157   VAUDILIO       VICENTE                  VA           90010046932
5B449946A84334   MELISSA        BRYANT                   SC           90001379460
5B449A1678B169   BECKY          SOLIS                    UT           90003380167
5B44B16645B29B   JEREMY         JONES                    KY           90011121664
5B44B6A8584373   MARKESE        WALKER                   SC           90014656085
5B451286351348   TRAVIS         PELCHA                   OH           90014662863
5B451856738598   MARK           HYMAS                    UT           90013108567
5B453744976B75   MERCEDES       FLORES                   CA           90014177449
5B45667365715B   KAREN          ADAMS                    VA           90014156736
5B456796891895   GILL           VELASQUEZ                OK           90000637968
5B459247372B36   ARTHUR         MEDINA                   CO           33083202473
5B459518291535   MATIAS         LOPEZ                    TX           90010575182
5B462A5215B393   LUCY           JORDAN                   OR           44514620521
5B464379684357   LISA           CKLE                     SC           90013813796
5B46633164B28B   MARTIN         MENDOZA                  NE           90013923316
5B466444433699   KENDRA         ANTHONY                  NC           90001854444
5B46651525B236   STEPHANIE      WELLS                    KY           90010615152
5B467437351348   GREGORY        JONES                    OH           90011914373
5B4688A4331428   CAINE          BRUCE                    MO           90006588043
5B468966555941   LARRY          WILSON                   CA           90012239665
5B468A4895B531   ANTHONY        LUNA                     NM           90013330489
5B46B32835B531   MARIAH         HANWAY                   NM           90008173283
5B46B34817B46B   EBONY          LOGAN                    NC           90011193481
5B46B394584373   DELESNIE       THROPOLIS                SC           90011203945
5B46B556491895   BEATRIZ        GOMEZ                    OK           90013935564
5B47186612B27B   MICHAEL        GREENE                   DC           90014388661
5B473626855941   ROBERT         RODRIGUEZ                CA           90014556268
5B474653872B36   JESSICA        WADDELL                  CO           90013396538
5B4751A5691895   WILLIAM        HILL                     OK           90013081056
5B478184761975   YARITZA        REYES                    CA           90010801847
5B47935715B162   ERIC           LOMACK                   AR           90014703571
5B47947A431665   SAMANTHA       MILLS                    KS           90005154704
5B479834633699   CIEDA          DOBSON                   NC           90011398346
5B47B756A84373   ANGEL          SPAIN                    SC           90006117560
5B47B768941229   NICHOLAS       CONLEY                   PA           51077447689
5B481576876B75   DOROTHY        AMES                     CA           90005095768
5B481592271935   ASHLEY         DENTON                   CO           90012575922
5B484911557591   EVA            MATA                     NM           90012539115
5B485395284357   SHARON         SINGLETON                SC           90014073952
5B48624532B869   KARA           HENRY                    ID           90000982453
5B48685A271935   BRANDON        COFFENBERRY              CO           90013948502
5B487267A4B28B   MIKE           BURNER                   NE           90007282670
5B489452757591   MOHAMMED       ALDHEFEERY               NM           90012104527
5B48B467477568   GILBERTO       GOTCHEZ                  NV           90012064674
5B4911A534B588   THOMAS         RIOS                     OK           90010841053
5B493751155937   EVELYN         SALINAS                  CA           90008727511
5B494468872B36   ALMA IDALIA    ESCARCEGA-QUINTANA       CO           90008564688
5B4948A5471935   FAUSTINO       SOLANO                   CO           90011728054
5B49498745B162   DARRIN         FRANKLIN                 AR           90010339874
5B49713665B236   RYAN           TERRY                    KY           90012331366
5B497817776B75   ISAURA         LOPEZ                    CA           90010398177
5B49844875B236   JESSICA        BAUM                     KY           90014364487
5B498778455951   AMANDA         DE LA CRUZ               CA           49069917784
5B49964744B28B   MICA           NIMOX                    NE           90014976474
5B499A98333657   SHARON         MCCARRELL                NC           90011320983
5B4B1254772B36   TIFFANY        JOHNSON                  CO           90007992547
5B4B1997738598   STEPHANIE      HEIN                     UT           90013089977
5B4B23A3531456   SHANTA         SMITH                    MO           90008863035
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5B4B262247B46B   SHANIYAH       GOODMAN                  NC           90010406224
5B4B378685758B   JEREMY         JURGENS                  NM           90013007868
5B4B4357438598   JAVIER         VARGAS                   UT           90013093574
5B4B7346684357   JORDAN         MOON                     SC           90013083466
5B4B812579712B   NAKAYI         MICHAEL                  OR           90015191257
5B4B8261672B27   JOHNATHAN      CANCINO                  CO           90010282616
5B4B8262672B27   MARTIN         BELTRAN                  CO           90013102626
5B4B91A475B393   RICHARD        MORALES                  OR           90011941047
5B4B9233972B43   JOSH           THOMAS                   CO           90014042339
5B4B9763384357   SHIRLEY        FIELDS                   SC           90014777633
5B51132495B531   KYLE           VANCE                    NM           90013513249
5B5131A3A4B28B   AFAK           MOHAMMED RIDA            NE           90012651030
5B5138A755B399   LORENA         MENDOZA                  OR           90013388075
5B51453A272B36   VALERIA        ANDRADE                  CO           90013845302
5B515396257591   ALYCE          BALES                    NM           35586153962
5B51662365B531   TOMAS          GARCIA                   NM           90012766236
5B51672824B28B   SASHA          DORWART                  NE           90005127282
5B51721652B851   MARGUERITE     PRISKE                   ID           42068642165
5B519195838598   SHELBY         TRIPP                    UT           90013131958
5B51965A14B28B   JOSE           MIRANDA                  NE           26012046501
5B51B12515B531   LANCE          BREAUX                   NM           90012471251
5B523354884357   TOQUASHA       BLUE                     SC           90014793548
5B524A43284357   AGAMSHARAN     PATEL                    SC           90013520432
5B525385585821   ADEOLA         LAPITE                   CA           90010803855
5B52635825715B   JOSE 1         GRIJALVA                 VA           90011913582
5B52693A19712B   D              MACHO                    OR           90012049301
5B528895297B77   STEPHANIE      GARZA                    CO           39010438952
5B52928495B236   JOHN           GRIFFITH                 KY           90006842849
5B529866272B36   KIMBERLY       MOSS                     CO           90013228662
5B5299A6572B67   MANUEL         SERRATOS                 CO           33015789065
5B52B4A3533699   HEATHER        MATTHEWS                 NC           90011354035
5B53253195758B   GABRIELA       ORTIZ                    NM           90011195319
5B53397265715B   JUAN           AMADOR                   VA           90013369726
5B53429954B28B   ZEWAR          BIBI                     NE           90012502995
5B535588647836   TENISHA        FRALEY                   GA           90012505886
5B537258457591   LISA           LOPEZ                    NM           35564562584
5B538821138598   RUSSELL        TAYLOR                   UT           90013138211
5B539134838598   ASHLEY         MINER                    UT           90012331348
5B53948995715B   JACQUELINE S   LOUIS                    VA           90012684899
5B53B455572B43   PATRICK        MONTANO                  CO           90007874555
5B543A72538598   ERIN           HENDERSON                UT           90013140725
5B543A87857591   ROBERTO        RODRIGUEZ                NM           90014130878
5B54469724B588   VANESSA        SERRANO                  OK           90011186972
5B54535A25B162   PAUL           CONSTANCIO               AR           90013193502
5B5459A2284357   ALVARO         LOPEZ                    SC           90012109022
5B547467455941   EILEEN         NAVARRO                  CA           90005354674
5B54842364B588   CASSAUNDRA     JACKSON                  OK           90008834236
5B548614A33696   PORSHA         NOELL                    NC           90009666140
5B54922825B531   LYNN           YARBROUGH                NM           90004892282
5B54926A938598   DAVID          ALAND                    UT           90013142609
5B552693184357   MATTHEW        CLINTON                  SC           90008846931
5B553117283278   JUAN           VIGHIL                   CO           90007611172
5B555465A41222   ERIC           THOMAS                   PA           90012464650
5B5565A314B588   ALVIN          WOODEL                   OK           90010725031
5B558366772B36   ROBYN          FERNANDEZ                CO           90003563667
5B561396191895   ALEXANDER      ORTIZ                    OK           90013013961
5B562973238598   ABBIE          MITCHEL                  UT           90013149732
5B562994772B27   MARY           GROSS                    CO           90009039947
5B563647A72B36   TIFFANY        THOMAS                   CO           90013396470
5B563918355951   PRECIOUS       MCGRAW                   CA           49088879183
5B56416782B851   MARK           KITTLESON                ID           90005701678
5B564518472B49   RAYMOND        LAWSON                   CO           90014715184
5B566516672B36   BAUMBACH       BRADLEY                  CO           90010725166
5B568962857591   JOHN           VALDEZ                   NM           35598089628
5B56B8A7557157   ANTON          WHITE                    VA           90014128075
5B571225633699   TAJA           LITTLEJOHN               NC           90013582256
5B572786555941   JULIE          SAYLES                   CA           90014287865
5B574235751348   LESLIE         HOLCOMBE                 OH           90012242357
5B575889A9712B   DEBORAH        GALBREATH                OR           90011478890
5B576742338598   JESUS          LOPEZ                    UT           90013157423
5B57675A38B169   JOSH           COLVELL                  UT           90008727503
5B5768A535B393   JESSE          HOFFMEISTER              OR           90014238053
5B577785372B49   KENNETH        ROBINSON                 CO           90011087853
5B578662A5B393   IAN            JACOVER                  OR           90013646620
5B57944A35B399   SHANNON        SCHIEDLER                OR           90007354403
5B58257522B27B   LAUREN         HENON                    DC           90013225752
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5B58379A972B27   YESENIA          ENRIQUEZ               CO           90012847909
5B58532234B588   ANTHONEY         CAHILL                 OK           90014553223
5B585542284357   RICHARD          BROCK                  SC           90014275422
5B585A5438B169   KELCIE           GWYNN                  UT           90013960543
5B587378784373   TAMARA           NATHANS                SC           90015073787
5B588472391939   RAFAEL           RUBIO                  NC           90002694723
5B58886975B236   PORTAS           KACHOKA                KY           90012768697
5B589422361971   DARRELL          HAUER                  CA           90013544223
5B5898A3561971   DARRELL          HAUER                  CA           90013788035
5B58B431791267   MAMIE            WRIGHT                 GA           90010344317
5B58B61465758B   FERNANDO         GUZMAN                 NM           90013166146
5B592415472B88   MERCELO          HERNANDEZ              CO           33080914154
5B592A8644B588   CLARK            DREW                   OK           90012130864
5B593946372B36   JAMIE            ELLIOT                 CO           90013529463
5B598882557157   EDWIN            QUINTEROS              VA           90012228825
5B598912476B75   EVELYN           AGUILAR                CA           90010399124
5B599385872B36   KATRINA          HORTON                 CO           90003593858
5B59972774B28B   ROBERT           PHILLIPS               NE           90007447277
5B5B1413172B49   VICTORIA         HAAG                   CO           90013974131
5B5B3825261975   MARGARITA        DIAZ                   CA           90012058252
5B5B417A872B49   CARLA            PEREZ                  CO           33052711708
5B5B474655B387   ANGELA           LAMPKIN                OR           90009747465
5B5B5988972B36   MICHELLE         YAMAGUCHI              CO           90011439889
5B5B6296497B77   ANTHONY          GAUDET                 CO           39011282964
5B5B9786584373   SHAMEEKA         GRAHAM                 SC           90014667865
5B5B996524B588   ALICIA           RUIZ                   OK           90003219652
5B5BB43615B236   MICHAEL          GALLAMORE              KY           90010204361
5B611762171935   DAVID AND ANNA   DUMPSON                CO           90011877621
5B614351661975   DAMARA           TYSVER                 CA           90009913516
5B618394A5B162   JOSHUA           CURRY                  AR           23084523940
5B618948A5B162   CARLIE           HOLT                   AR           90011069480
5B61B38379712B   MICHAEL          EASTERLY               OR           90013983837
5B621A81384373   EUGENIA          JACKSON                SC           90000110813
5B62338335758B   GABRIEL          MOYA                   NM           90012723833
5B62354145B387   EWARD            WILSON                 OR           90005285414
5B623793672B49   ANTHONY          HODSON                 CO           90007507936
5B62384777242B   RYAN             TRESATTI               PA           90013108477
5B62615592B27B   SOLOMON          M ZIKARGE              DC           90010221559
5B627977672B88   ROBERTA          RINGQUIST              CO           90008989776
5B628689276B75   JOHN             CAMACHO                CA           90010656892
5B628A5A576B75   JOSEPH           BRANDON                CA           90013450505
5B62978A35B399   ARACELI          VALERA                 OR           90013097803
5B62B22555758B   VALERIE          QUINTANA               NM           90010952255
5B62B411891356   CASSANDRA        CHANEY                 KS           90014834118
5B62B998685821   AMADAIT          AVILES                 CA           90012969986
5B63172A684373   SHELBY           CLARK                  SC           90014707206
5B632745984373   TAMEKA           ODOM                   SC           90014707459
5B63317315B283   TINA             MATTHEWS               KY           90001941731
5B63428137242B   NATE             JOHNSTON               PA           90014182813
5B6348A7676B75   ZURI             REYES RAMIREZ          CA           90013548076
5B634913472B77   LUISA            VALENCIA               CO           90001939134
5B635398A55941   JULIAN           FRAIRE                 CA           90011013980
5B635584791356   CHARLENE         HENSHAW                KS           90010165847
5B636571333696   LINDA            HARRIS                 NC           90011395713
5B63798765B399   STEVEN           HAGEN                  OR           90013209876
5B63893515B162   SAMMY            NELSON                 AR           90014139351
5B638A85457157   LISA             CANNON                 VA           90013030854
5B641136957591   MONICA           CASTRO                 NM           90014691369
5B641917576B75   KARINA           TORRES                 CA           90013039175
5B642614197B77   GUADALUPE        CHAVIRA-COTA           CO           39068226141
5B644525233699   CYDNEY           MARTIN                 NC           12064615252
5B646976691356   SAMUEL           MELSON                 KS           29086499766
5B649AA5141229   CARL             DOSS                   PA           51013910051
5B64B1A2A85821   JUAN             PEREZ                  CA           90015341020
5B6526A5A72B77   ROBERT           HOUK                   CO           90008206050
5B652989961975   MARIA M          ARAMBURO               CA           90013209899
5B653167A5B399   TINA             HERNANDEZ              OR           90012301670
5B65334412B27B   ROBIN            ROBERSON               DC           90011073441
5B65365525B399   RYAN             KUMM                   OR           90009136552
5B656755161971   SONIA            SHAMAN                 CA           90011127551
5B65727375B543   MARY             SOZA                   NM           90001272737
5B659833338598   AMY              SHERMAN                UT           90013198333
5B65B757472B36   MORGAN           WOODS                  CO           33062777574
5B65B89795715B   DANIELLE         RATHBUN                VA           90010968979
5B661519584373   NATHANIEL        CRISWELL               SC           90014715195
5B66226AA57591   MARCO            PEREZ                  NM           90011882600
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5B662532A5B393   JAVIER            GARIBAY               OR           90013325320
5B663589597B77   RHONDA            LITTLE                CO           90010055895
5B664153961971   ROMULA            RUIZ                  CA           90008351539
5B664328571935   WILLIAM           PRYGON                CO           90012143285
5B664833338598   AMY               SHERMAN               UT           90013198333
5B664A41984357   KIANNA            BRITTON               SC           90004770419
5B665746672B27   JUAN              MARQUEZ               CO           90012797466
5B666677A72B36   LETICIA           RAMIREZ               CO           90013536770
5B66855A62B27B   DEWAIN            JACKSON               DC           90012225506
5B66957A84B588   JORDAN            NIX                   OK           90010745708
5B66B42285758B   PETER             TAUER                 NM           90012054228
5B67128185B162   JAMES             MCKA                  AR           90014642818
5B672679884373   STEVEN            BROOKS                SC           90014716798
5B673829291895   COURTNEY          ALSIP                 OK           90010658292
5B674344A57B81   WILLIAM           CHRISTINE             PA           90013833440
5B676936461975   ROBERT            ROMERO                CA           90012249364
5B67759955B236   ASIA              FOWLER                KY           90011365995
5B67785AA57591   DAVID             STALWORTH             NM           90013558500
5B67828185B162   JAMES             MCKA                  AR           90014642818
5B679132961975   SARAH             LWIS                  CA           46010141329
5B67918282B851   JOSHUA            DANIEL                ID           90010591828
5B67BA86972B27   PAOLA             MONTANAS              CO           90010390869
5B6812A8172B49   PHILLIP           MEDINA                CO           90010242081
5B682245257157   LAUREN            ROUCKA                VA           90013002452
5B68266272162B   CHISA             JAMES                 OH           90014156627
5B683A18391356   JESSICA           DEARINGER             KS           90010820183
5B6865A135B393   DAVID             WHITE                 OR           90010185013
5B686629733696   JOHN              JOHNSON               NC           90011616297
5B686999291356   ANTHONY           EDWARDS               KS           90013279992
5B68739385758B   JESSICA           THOUVENELL            NM           90007573938
5B687A6929712B   TIM               SANDVIG               OR           90013960692
5B69345499712B   CARLOS            PINA                  OR           90010764549
5B69358255715B   ALEJANDRO         NGEL                  VA           90013165825
5B694961161975   VIRGINIA          QUINTERO              CA           90012999611
5B69552677B46B   JONATHAN          DAVIS                 NC           90011195267
5B69627222B27B   KENYA             THORTON               DC           90014282722
5B69652517B46B   YOHANA            CIBRIAN               NC           11014035251
5B69666712B27B   KENYA             THORTON               DC           90014516671
5B698511284373   SAMATHA ELEANOR   JOHNSON               SC           90010725112
5B699541438598   BRANDEN           OLSEN                 UT           90013245414
5B69B4A945B236   DARREL            RICHARDSON            KY           90009864094
5B6B1755938598   PAUL              RUBIO                 UT           90013167559
5B6B1862A9712B   STEVEN            HEBERT                OR           90009688620
5B6B1A45A31434   TERRICK           WILSON                MO           90014560450
5B6B2A96685821   BRITNEY           GOMEZ                 CA           90012940966
5B6B4634861975   GABRIEL           GUERRERO              CA           90014426348
5B6B652285B236   DONTA             SMITH                 KY           90014155228
5B6B6711955941   JOSE              SANTS                 CA           90013717119
5B71166535B393   RYAN              GANNON                OR           90013646653
5B712121838598   TESS              GIBB                  UT           90013221218
5B7126A812B252   LISA              PETERS                VA           81013506081
5B7127A275B387   DANYA             BRIEN                 OR           44517347027
5B713744257157   CHERICE           JOYNER                VA           90013227442
5B71418A571935   MARGRET           ROMERO                CO           90013321805
5B7171AA233696   MICHAEL           CARROLL               NC           90010561002
5B71897A84B588   CARLA             SAARET                OK           90014369708
5B719831784373   KYLONA            GARRETT               SC           90014728317
5B71B387697B77   JOSE              DE JESUS              CO           90010543876
5B7238A4461971   ALISHA            CASTEEL               CA           46006968044
5B725126A9712B   KAREN             BERGER                OR           90013721260
5B725462584357   MYRON             MILLER                SC           90011304625
5B72629484B28B   DELYNN            SLEDGE                NE           90014602948
5B7262A867242B   ERIC              WILSON                PA           90013262086
5B7287A255B531   LINDA             ARMIJO                NM           90013387025
5B72B111684373   SHAWNTY           DOUGLAS               SC           90010401116
5B72B447176B75   MICHAEL           ALFANO                CA           90008624471
5B731658361971   JASON             YOCHUM                CA           90014126583
5B731688591521   GLORIA            GARCIA                TX           90013876885
5B732355161975   HUGO ENRIQUE      TAPIA AVILA           CA           90006793551
5B732487438598   MORELIA           GUTIERREZ             UT           90010224874
5B73282334B588   CALVIN            LEE                   OK           90013148233
5B73444875B236   JESSICA           BAUM                  KY           90014364487
5B73495A48B169   ALEX              WEBB                  UT           90012239504
5B73633A972B49   ANTREVIA          DONALSON              CO           90014263309
5B73682345B271   MONTEZ            SMITH                 KY           90011068234
5B73911A95B393   DAVID             GRIMMETT              OR           90008181109
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5B73993284B588   RAVEN            WILSON                 OK           90014059328
5B73B545671935   NATALIE          STERLING               CO           90014205456
5B741243572B27   SHAY             ESTESQ                 CO           90003912435
5B74226215B399   RASHID           KAMBAROV               OR           90013112621
5B742267138598   OSCAR            RAMIREZ                UT           90013232671
5B742A2A171935   TERRANCE         HANES                  CO           90011750201
5B74341A651348   LAREAN           HEDGES                 OH           90007134106
5B743A5652B27B   LEONIDAS         UMANZOR                DC           81022580565
5B744657698B2B   ANDREA           ALESE REID             NC           90001696576
5B745574657591   EDWARD           CLARK                  NM           90010955746
5B747A68872B46   SCOTTYS REPAIR   SHOP                   CO           90008550688
5B748266851348   LAVERNE          YARBROUGH              OH           90005852668
5B748835491895   BRITTANY         MORROW                 OK           90010658354
5B74B353172B27   KENYETTA         WILSON                 CO           90011423531
5B74B41595B162   PAMELA           FOX                    AR           90012684159
5B74B884484373   KYLONA           GARRETT                SC           90014728844
5B751196576B75   DANIEL           MARRON                 CA           90012741965
5B751363561971   PATRICK          FERMOILE               CA           90012293635
5B751718A93765   BRANDY           FIELDS                 OH           90010977180
5B752532A5758B   ALBERTO E        CUEN                   NM           90010425320
5B752927791895   MARCIE           GONZALEZ               OK           90008549277
5B752A43284357   AGAMSHARAN       PATEL                  SC           90013520432
5B753262572B67   JOHN             MURPHEY                CO           90005952625
5B756A5A65136B   MARSHAE          MUNDY                  OH           90013270506
5B758354861998   NANCY            JAIME                  CA           90006533548
5B75937635B162   ANDREA           CADE                   AR           90003973763
5B7593A3A72B43   HECTOR           RAMOS                  CO           90013903030
5B75B58255715B   ALEJANDRO        NGEL                   VA           90013165825
5B761295A5715B   HELENA           FIGUEROA               VA           81003312950
5B76388212B27B   SHAWN            BOUKNIQHT              DC           90006628821
5B766475491895   DARLENE          NEWSOME                OK           90014874754
5B768872457591   FRANSISCO        SERRATO                NM           90014418724
5B76B119757157   SARITA           HARGIS                 VA           90014771197
5B772913176B75   CARMEN           GARCIA                 CA           90012459131
5B772A18333699   KENYA            MILLS                  NC           90008550183
5B773967A72B36   JEAN             WHITEHURST             CO           33067719670
5B774A95791347   LLYYD            COX                    KS           90008640957
5B774AA8384373   MISHIMA          BRADLEY                SC           90014730083
5B776199733696   ASHLEY           LEAVY                  NC           90008701997
5B77748684B588   LIONEL           LOPEZ                  OK           90007124868
5B779899491895   ROSA             SERRANO                OK           90010128994
5B779A56355941   CANDICE          MARTINEZ               CA           90010170563
5B77B3A9757591   ROSA             OLIVAS DE GARCIA       NM           90015323097
5B77B64315B531   ADAM             GREEN                  NM           35076876431
5B77B94745715B   CHALACHEW        DABI                   VA           90014069474
5B7813A524B588   MICHAEL          NELSON                 OK           90009273052
5B78167475B531   RAY              GARCIA                 NM           90013206747
5B7821A395B531   QUINCY           SMITH                  NM           90014651039
5B78254772B27B   LENISHA          WILLIAMS               DC           90014715477
5B784741291895   MICHELLE         HAINES                 OK           90008767412
5B7855A3172B36   JENNIFER         WYATT                  CO           33093475031
5B78767A79712B   TEQUILA          LEDAY                  OR           90013756707
5B78832A372B36   BRIAN            FRASHER                CO           90012113203
5B788AA6351348   VICTOR           PEREZ                  OH           90010480063
5B78B3A2871935   LAURA            ERIVES                 CO           90014443028
5B78B69A95B399   ELIZABAETH       HENSON                 OR           44510996909
5B79229745758B   JOEL             SOLIS                  NM           90012312974
5B7929A2971935   MARIA            CERA                   CO           90012779029
5B7933AA461971   JEFFERY          HOUSTON                CA           90012643004
5B793618472B43   ZULEMA           VASQUEZ                CO           90015026184
5B79515592B27B   SOLOMON          M ZIKARGE              DC           90010221559
5B79539285B543   ELOISA           SANCHEZ                NM           35078763928
5B79619197B48B   JOSHUA           FED                    NC           90013701919
5B796388357157   CATALINO         SANTOS                 VA           90012323883
5B797519372B49   BRIDGET          SHOEMAKER              CO           90014835193
5B79843A34B28B   MEGAN            CANBY                  NE           90011144303
5B79954285B162   ERICCA           KOMULA                 AR           90014715428
5B79B524585821   MARY             PARWANA                CA           90005185245
5B7B48A3272B36   CRISTAL          GREEN                  CO           90011608032
5B7B494174B588   VENUS            TAFT                   OK           90007669417
5B7B532595B162   GACARIAH         BROWN                  AR           23063653259
5B7B6211671935   ALEX             STEWARD                CO           90001292116
5B7B724895B393   LARRY            MCFADDEN               OR           90013332489
5B7B761465758B   FERNANDO         GUZMAN                 NM           90013166146
5B7B7889957591   TERESA           VASQUEZ                NM           35579028899
5B7B881A761975   ERNESTO          MARTINEZ               CA           90013868107
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5B817116672B49   JOVANNY         SALAS                   CO           90015321166
5B817434333699   CHARITY         FALLIN                  NC           90011224343
5B817672357591   SAVINA          DOMINGUEZ               NM           90014436723
5B81827A655951   DORA            HERNANDEZ               CA           49012102706
5B818476A5B543   NAOMI           MONTOYA                 NM           90000454760
5B81888A485821   JOSEPH ADRIAN   LUCCA                   CA           90002428804
5B81919A551348   MAHAMOUD        BERTHE                  OH           90005881905
5B81963775715B   MARY            GONZALEZ                VA           90012426377
5B81B433838598   TREVOR          PYNE                    UT           90013264338
5B822581433696   ADRIENNE        EASTERLY                NC           90011395814
5B823867638598   TYLER           JONES                   UT           90013268676
5B82472427242B   JAMES           FARABAUGH               PA           90014627242
5B825519372B49   BRIDGET         SHOEMAKER               CO           90014835193
5B826313738598   ROBERT          MISKELL                 UT           90013273137
5B826466872B36   MELISSA         STUMPF                  CO           90010064668
5B827417957591   JEREMY          LAWSON                  NM           90009684179
5B828438772B36   YOLANDA         CERVANTES               CO           90012574387
5B829579571935   SAMANTHA        WILLEY                  CO           90014135795
5B829598497B54   EVA             GOMEZ                   CO           39035935984
5B83118235758B   DONETTA         DEMIRJIAN               NM           35565321823
5B831387A33699   CURTIS          MCLAURIN                NC           90013073870
5B831455661975   ALBERTO         RODRIGUEZ               CA           90000274556
5B832A34A91356   EVA             BANKS                   KS           29062190340
5B833393661956   HEATHER         MACK                    CA           90010003936
5B83439184B588   STEVEN          SPAAN                   OK           21504243918
5B83452532B27B   WILBER          AMAYA                   DC           90014675253
5B83494735B162   ALMA            CRISANTO                AR           90015149473
5B835377157591   BERENICE        MORALES                 NM           90011403771
5B83546354B28B   WILLIAM         PHILLIPS                NE           90014604635
5B83621415758B   ANEL            GONZALEZ                NM           35579612141
5B8396A8733699   TIFFANY         BROWN                   NC           90013326087
5B83B26428B169   DAWN            MARTIN                  UT           90000942642
5B83B599384357   JESSE           BROWN                   SC           90012905993
5B8415A345B236   TIMOTHY         BREEDING                KY           90014575034
5B841618361975   DESIREE         MCALLISTER              CA           90012276183
5B84458335B236   JANET           JACKSON                 KY           90013875833
5B848226538598   BRAIDEE         SHAW                    UT           90009032265
5B849185A51348   CHERYL          STEGALL                 OH           90008361850
5B84B84775B387   KERRIE          ONEAL                   OR           90003158477
5B851221461971   VANESSA         REBELEZ                 CA           90012582214
5B85227775B543   ELISHA          SAAVEDRA                NM           90008152777
5B85339922B25B   DANIEL          JR                      VA           90010313992
5B8538A6A72B27   NOEMI           DIAZ                    CO           90010468060
5B857863633696   MYESHA          CONAWAY                 NC           90010338636
5B8579A2971935   JAZMYN          JONES                   CO           90014009029
5B859838A72B88   ARRON           WILLIAMS                CO           33016328380
5B85B24145715B   ISAIC           ROQUE                   VA           90007592414
5B85B24275715B   ISAIC           ROQUE                   VA           90014372427
5B85B797757591   CHEYENNE        GALE                    NM           90010017977
5B85BA2A69712B   ALLAN           KEMPTON                 OR           90009730206
5B8611A8355941   MINDY           MARTINEZ                CA           90009731083
5B861546172B27   VINCENT         PETERS                  CO           90012895461
5B86174265B393   GILBERTO        RUBIO                   OR           90009167426
5B861959A71935   RALPH           IRSIK JR                CO           32088009590
5B862676233696   CONSUELA        SULLIVAN                NC           90011466762
5B86527415B162   LATOYA          ALEXANDER               AR           90011112741
5B86541575B399   HILARIO         LOPEZ                   OR           44592754157
5B86599744B588   DARLENE         TESKE                   OK           90012119974
5B866145484373   SEISHA          LORA MORALES            SC           90011781454
5B86641815758B   JESSE           DOMINGUEZ               NM           90003944181
5B866656A72B46   CRAIN           JAIME                   CO           90010956560
5B86937219712B   ISIDRO          DOMINGEUZ               OR           90012173721
5B86B195131468   YVONNE          BURRAGE                 MO           90010701951
5B871357961975   BEATRIZE        RAMIREZ                 CA           90013273579
5B87189188B169   MATTHEW         RICARHD                 UT           90002898918
5B872543857591   ENRIQUE         PEREZ                   NM           90011055438
5B872632372B93   NALIZA          GOMEZ                   CO           90011496323
5B87282217242B   APRIL           NICOLO                  PA           90014628221
5B872A42584357   THELMA          STOKES                  SC           90013930425
5B873628591895   TIFFANY         GENSEL                  OK           90010806285
5B873A29372B49   DELIA           PACHECO                 CO           90008330293
5B876719872B43   LUKE            REED                    CO           90010017198
5B87761285B531   DANIEL          AGUILAR                 NM           90011196128
5B878123972B43   DOROTEO         DIAZ                    CO           90013111239
5B878871785821   ANDREA          CHASE                   CA           90012108717
5B87B42A58B169   MISTY           MALONE                  UT           90013714205
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 565 of 1007


5B881183761975   BRIANA           QUIRINO                CA           90012851837
5B8835A345B236   TIMOTHY          BREEDING               KY           90014575034
5B884736576B75   JUAN             PABLO                  CA           46004447365
5B885263A61973   REGINALD         HAILEY                 CA           90012742630
5B8865A9557157   DOMINIQUE        FRYE                   VA           90014275095
5B88713A784373   MARKETTA         HAYNES                 SC           90011031307
5B888335371935   MARCUS           VALDEZ                 CO           90012273353
5B88931819712B   ROBIN            GROSSER                OR           90012833181
5B88933558B189   KEITH            HUNTINGTON             UT           31077623355
5B88B391472B27   KIMBALA          CONRAD                 CO           90012623914
5B88BA69A61975   DAYRA            SANCHEZ                CA           90011980690
5B891272A72B43   JAYRO            ESPINO                 CO           90005092720
5B8927A6671935   NASIM            KHAN                   CO           90012657066
5B8929A8455941   HARMONY          GARCIA                 CA           90011019084
5B893167271935   ISAMAR           GURROLA                CO           90013951672
5B89784464B588   TAQUANNA         GATES                  OK           90009248446
5B8986A2855951   ANDRE            FLANIGAN               CA           49005276028
5B89998447B46B   SHANIKA          GRAHAM                 NC           11086819844
5B8B16A1572B36   MICHAEL          STOCKTON               CO           90012816015
5B8B187215758B   RENEE            HINOJOSA               NM           90015138721
5B8B2158461975   ARMANDO          BAUTISTA ENRIQUEZ      CA           90005941584
5B8B2417161971   LUIS             MARTINEZ               CA           46081994171
5B8B2A2A272B27   SERGIO           BARBA                  CO           90000660202
5B8B4957861975   EDNA             VERDUZCO               CA           90011659578
5B8B5298891895   DESARAY          ARNEECHER              OK           90012622988
5B8B5315372B43   MANUEL           MARTINEZ               CO           90004253153
5B8B788525B387   MONALISA         BROWN                  OR           44564978852
5B912198361971   RUPERT           GALLEGOS               CA           90012271983
5B912665A98B34   SHANIKA          HINES                  NC           90011286650
5B913179171935   VICTOR           GUILLEN                CO           90013081791
5B914A9775715B   CARLOS           MENDIA                 VA           90014840977
5B91655A29712B   HUENGJIN         PARK                   OR           90012255502
5B91677795758B   VIRGINIA         ARMENDAREZ             NM           90010347779
5B9188A5141229   JENNIFER         AZZARETTO              PA           90006878051
5B9191A162B851   AMBER            DAVIS                  ID           42026281016
5B919A9A555941   ROSA             CANCHOLA               CA           90012790905
5B91B534884373   ENIKA            WHICKER                SC           19057325348
5B922633471935   JESSICA          VAN NESS               CO           90000826334
5B922687985821   SHARON           WHITE                  CA           90009996879
5B923511891895   TIMOTHY          WHITE                  OK           90010795118
5B925175385821   EDUARDO          SEANZ                  CA           90011141753
5B928268284373   MONASHIA         DAWKINS                SC           90014742682
5B929268284373   MONASHIA         DAWKINS                SC           90014742682
5B92945365715B   BIANCA           HURTADO                VA           90011504536
5B92B342657157   ANN MARIE        DIXON                  VA           81036573426
5B92B594A5715B   FATIMA           SAMANTAR               VA           90014755940
5B932425841242   DHAN             TIMSINA                PA           90005044258
5B932473157591   ARNULFO          MUNOZ                  NM           90014964731
5B932A8148B169   ANDRES           CASTNEDA               UT           90011300814
5B93352742B27B   THOMAS           NORRIS                 DC           90014975274
5B93386625758B   HECTOR           GONZALEZ               NM           35586598662
5B93451615B531   DAYNA            BACA                   NM           90012585161
5B934568341229   JAY              MATTIE                 PA           90013745683
5B934653657591   GABRIEL          ORTIZ                  NM           90014536536
5B934A86557157   LORENA           RAMOS                  VA           90013610865
5B93548548B169   MELISSA          LEAL                   UT           90005864854
5B935597572B27   LINDA            CHANDLER               CO           33063685975
5B935AA7861975   PABLO            GAMEZ                  CA           90012750078
5B936533357591   DIVENA           COVINGTON              NM           90013085333
5B93792669712B   JESSICA          SUMANO                 OR           90006419266
5B937A57457157   CANDELARIO       HERRERA                VA           90012670574
5B938158A51348   MARIUS           KOUASSI                OH           66002861580
5B938511672B49   MAYRA            GUETIERREZ             CO           33060005116
5B9389A684B588   ANTHONY          HANSFORD               OK           90012949068
5B93967148B169   ROBERT           REDD                   UT           90013786714
5B9417A3372B43   LAKISHA SHANEE   PHILLIPS               CO           90013827033
5B943146261971   WILLIAM          RUSSELL                CA           46014781462
5B94323A751348   BRIDGET          BROWN                  OH           90011562307
5B945536884357   ANDRE            SIMMONS                SC           90012125368
5B94612A591895   REBECCA          GRIFFITH               OK           90002311205
5B94656215715B   LUIS             BALTAZAR               VA           90006475621
5B94894765715B   OTONIEL          BATEN                  VA           90011039476
5B94926675715B   PHILLIP          NY                     VA           90014422667
5B94941A931429   KHAIRON          DUNLAP                 MO           27511544109
5B95111757242B   RANA             SEMANCIK               PA           90014161175
5B953121333699   MAGDALENO        SILVA                  NC           90012441213
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5B9533A617242B   LORETTA            GRIMM                PA           90014743061
5B954382661975   LAURIE             JOHNSON              CA           90012043826
5B954488185821   ANGELA             JONES                CA           90014154881
5B955221191521   JACQUELINE         OPDYKE               TX           90010182211
5B956218672B49   EFREN              GARCIA               CO           90000802186
5B958448A61971   KANDACE            SWIECH               CA           90009164480
5B95B862925154   MICHAEL            GAMBLE               AL           90014508629
5B95B93465B162   EXZONDA            ROSS                 AR           90011149346
5B961522655941   L                  FERNANDEZ            CA           90011905226
5B9618A1872B49   HEATHER MICHELLE   PATOCKA              CO           90013038018
5B962129176B75   MICHELLE           INMAN                CA           90013891291
5B963227672B43   TINO               RICE                 CO           90015112276
5B963936285821   PHOUVIENG          CHANTHAVONG          CA           90010289362
5B964195557591   JOHN               MONTOYA              NM           90003681955
5B96453668B169   SHANNON            REES                 UT           90012165366
5B96688778B169   RAMON              SANCHEZ              UT           90004538877
5B9674A9591895   PAYGO              IVR ACTIVATION       OK           90009004095
5B968376157157   VERONICA           LEMUS                VA           90013253761
5B968696361975   MARCOS             GARCIAAS             CA           90010106963
5B96941325B29B   KORI               KILGORE              KY           90013964132
5B973721A5B399   JOSE               MENDEZ LOPEZ         OR           90010337210
5B97383265758B   DESTINEE           BORUNDA              NM           90011018326
5B975698A4B588   ZENOBIA            FRAZIER              OK           90011996980
5B97629234B588   JESSICA            BLUFORD              OK           90013192923
5B976517133B26   NAQUIA             EVANS                OH           90011295171
5B979672A84373   DESIREE            MOULTRIE             SC           90014756720
5B979832772B27   JANELLE            JENLINS              CO           90002758327
5B97BA64472B43   OSCAR              PALOS                CO           90010670644
5B98363555B236   RACHAEL            FITCH                KY           90012736355
5B98484772B27B   CARLOS             GALVEZ               DC           90013878477
5B984A5437B461   VERONICA           HARRIS               NC           90013180543
5B984A9734B28B   KEVIN              DELKA                NE           90011880973
5B985182654151   MARIAH             RAMSEY               OR           90007951826
5B985318A7242B   TYLER              JOHNSTON             PA           90014183180
5B98577215B236   MARTIN             SEELYE               KY           90011447721
5B9862A4391356   MAECELA            ROCHA                KS           90007442043
5B9865A8272B62   GARY               RODRIGUEZ            CO           90009215082
5B987923291945   FRANSHORN          LEACH                NC           90002769232
5B98826A172B36   EDGAR              GARCIA               CO           90013932601
5B98B559555951   MELISSA            MARAVILLA            CA           90012575595
5B99115852B261   KENNETH            HUGHES               DC           90008431585
5B991929472B46   JASMINE            SHANICE              CO           90010299294
5B992313A5B399   LAMAR              KENNEDY              OR           90009853130
5B992A13872B36   LUPITA             GARCIA               CO           90004510138
5B992A7545758B   ARTURO             PORTILLO             NM           90012920754
5B993189A97B54   ANGELA             MESA                 CO           90011211890
5B993339657157   BLANCA             SOSA                 VA           90011663396
5B99463A551348   ANEISHA            ASHLEY               OH           90012656305
5B995127A97B77   EUFRACIO           DE SANTIAGO          CO           90001551270
5B99621A776B75   LETICIA            ALVAREZ              CA           90012742107
5B9B1891972B27   NICOLE             MUNOZ                CO           90014748919
5B9B2236385821   ADVIN              HERNANDEZ            CA           90013312363
5B9B239945B393   ASHLEY             DELOACH              OR           90014423994
5B9B267665B393   ASHLEY             DELOACH              OR           90013646766
5B9B5193971935   CAMERON            MASON                CO           90013951939
5B9B562525758B   FREE               KRESS                NM           90011136252
5B9B57A684B588   RAMIRO             GUTIERREZ            OK           90013167068
5B9B5844876B75   EDITH              ESTRADA              CA           90014468448
5B9B64A7455941   AIDA               RAMIREZ              CA           90013924074
5B9B831242B27B   DEVAUGHN           GRIER                DC           90012843124
5B9B9688371935   GARY               HOSKINS              CO           90014876883
5B9BB47A12B95B   MAYRA              MONTOYA              CA           90011514701
5BB113A7376B75   JOEL               ACOSTA               CA           90013203073
5BB12463A72B49   BONIFACIO FELIX    TIVORCIO             CO           90013784630
5BB12853771935   MARIA              RENZ                 CO           90014008537
5BB13481651348   SANDRA             OSTERBERGER          OH           90010494816
5BB16285147928   JESUS              LUNA                 AR           90006142851
5BB1663514B588   SOIE               CRUM                 OK           90009616351
5BB16697581622   LAURA              WILSON               MO           90001516975
5BB16752933696   CHARLES            JONES                NC           90010967529
5BB167AAA85821   JESUS              ALVINES              CA           90012687000
5BB1737318B169   TIFFANY            BILLS                UT           90012313731
5BB1894132B862   DAVID              LARSEN               ID           90013029413
5BB18967261975   MARIA M            ARAMBURO             CA           90013209672
5BB1949835B162   KENDRA             SIMS                 AR           90010784983
5BB19A43284357   AGAMSHARAN         PATEL                SC           90013520432
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5BB1B45875B393   JOHN             CONDRON                OR           44586524587
5BB1B93928B169   AMANDA           R WOODS                UT           90010779392
5BB2389884B588   JAMES            MEENH                  OK           90013278988
5BB23A14757591   ESLIN            ESCOBEDO               NM           90011980147
5BB24522A7242B   MICHAEL          GRANT                  PA           51027125220
5BB25A99A57B23   FAITH            DEMARCO                PA           90014600990
5BB27336342363   TABAHTA          WILEY                  GA           90013473363
5BB2755998B189   YANETH           TRINIDAD               UT           90012365599
5BB2855464B553   RONALD           DAHLEM                 OK           90009705546
5BB312A3A8B169   MICHAEL          ORR                    UT           90013512030
5BB3194132B862   DAVID            LARSEN                 ID           90013029413
5BB3344A533696   RODNEY           CATES                  NC           90004584405
5BB33586A5B283   EMIN             PATKOVIC               KY           90004045860
5BB34724A5B399   EDWIN            DEHOYOS                OR           90014427240
5BB35667672B67   MIRIAM           QUINTEROS              CO           33043616676
5BB35885461975   ROCIO            PERAZA                 CA           90009628854
5BB3638A472B36   STEVEN MICHAEL   DENTON                 CO           90012603804
5BB37434671935   KAYLA            RIVERA                 CO           90010104346
5BB3748335B236   CHARLES          LATIMER                KY           90005814833
5BB38116772B36   SELENA           MEDINA                 CO           90012421167
5BB38456138598   KIMBERLI         BEARDALL               UT           90012954561
5BB41626855941   JUAN             CRUZ                   CA           90014566268
5BB4262255B283   CORA             SIMMONS                KY           90005776225
5BB44167551348   JEREMIAH         DUGAR                  OH           66094631675
5BB45977333696   WILLIAM          PURDIE                 NC           90013649773
5BB46199161975   ISEULT           ROMO                   CA           90012111991
5BB467A9176B75   KEIARA           REESE                  CA           90010497091
5BB472A1397B77   DELIA            HERRERA                CO           90014882013
5BB4731744B588   LATISHA          MORGAN                 OK           90010723174
5BB475A3155941   RUDY             ARREDONDO              CA           90013535031
5BB47882861975   JUAN ALEJANDRO   RIOS                   CA           90012878828
5BB5117895B399   NICOLLE          BEST                   OR           90014721789
5BB511A1171935   AIDEN            BENDELE                CO           32052871011
5BB5189A85758B   CARMEN           JAIME                  NM           90012368908
5BB52287497B77   GEMA             ISABEL                 CO           90013672874
5BB5245434B28B   GARRETT          BLYTHE                 NE           90012834543
5BB52856272B36   JOHN             RAYBURN                CO           90012778562
5BB53111371935   RACHEL           FOX                    CO           90015041113
5BB58915985821   JOSE             MONTOYA                CA           90012719159
5BB5972A35758B   ALBA             PIZANA                 NM           90012467203
5BB5B75835B531   LEO              FRECHETTE              NM           35086537583
5BB61988A9712B   CHELSEA          HYLAND                 OR           90007239880
5BB6328585B393   BRITTANY         BRANCHLEY              OR           90015112858
5BB6448585B162   TERESA           HUNTER                 AR           90013964858
5BB64777361986   MICHAEL          CASTLEBERRY            CA           90012557773
5BB67AA7972B36   MACIAR           BELLER                 CO           90013030079
5BB68896371935   GEORGE           LOPEZ                  CO           90014008963
5BB6938698B169   KARA             BURKE                  UT           90014733869
5BB6966735B393   ERIKA            SCHNIDRIG              OR           90009826673
5BB6B972357157   KEISHA           WASHINGTON             VA           90011879723
5BB7244A897B54   BECKY            GONZALEZ               CO           90009464408
5BB73747991271   HENRRIETTA       DEMPS                  GA           90013527479
5BB73972897B54   MIGUEL           ANGEL RAMOS            CO           39054169728
5BB76862972B36   SIERRA           ARENAS                 CO           90010748629
5BB76989A5B247   MARTINA          BETHEL                 KY           90011669890
5BB77474261975   EUGENIO          LOPEZ                  CA           90014114742
5BB7892358B12B   MASON            HARDMAN                UT           90012529235
5BB79172484357   TAWANA           KOZLOWSKI              SC           90006651724
5BB7938835B162   STEPHANIE        SMETHERS               AR           90009153883
5BB79826585821   ELIAS            MARTINEZ               CA           46029168265
5BB82364984357   FRANK            CUMMINGS               SC           90013803649
5BB829AA871935   MARK             ANGELO                 CO           90014009008
5BB82A39172B27   DANIELA          NUNEZ                  CO           90007800391
5BB8446225B236   VIDIE            JACKSON                KY           90008484622
5BB84685857157   BRAYAN           RAMOS                  VA           90011636858
5BB8475547B467   GLORIA           DISOMMA                NC           90013057554
5BB84864A72B36   VICTOR           PUENTES                CO           90012228640
5BB8575547B467   GLORIA           DISOMMA                NC           90013057554
5BB86A83161971   RENE             RAMOS                  CA           90012600831
5BB87581A5B162   BOBBIE           SEBREN                 AR           90009155810
5BB87A32257591   ROBERTO          CARLOS                 NM           35552990322
5BB87A5864B588   KIMBERLY         BOYDSTUN               OK           90013060586
5BB88152A91271   JEFFEREY         MCQUILLEN              GA           90013141520
5BB8994275715B   LUZ              HERNANDEZ              VA           90010669427
5BB8B31968B189   STEPHANIE        GARCIA                 UT           90013493196
5BB8B526771935   ERIN             HURKA                  CO           90010385267
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5BB92345757591   LORENZO        MURILLO                  NM           90009073457
5BB92768172B49   RACHEL         SULZBACH                 CO           90010807681
5BB95985272B36   SHAQWEILA      PHILLIPS                 CO           33097089852
5BB95A7A172B43   TAYLOR         MANDEEN                  CO           90013240701
5BB9787685B236   WHIPP          FORIEN                   KY           90014868768
5BBB3477555941   EDWARD         MILLER                   CA           90010994775
5BBB39A574B553   GABRIELLE      HOBBS                    OK           90008169057
5BBB484835B236   HEAVEN         DUPIN                    KY           90014978483
5BBB5361997B77   NICOLE         SHEPPARD                 CO           90013133619
5BBB558484B29B   ELIZABETH      HIKMATOV                 NE           90009285848
5BBB5A7739712B   DANIEL         GARCIA                   OR           90011860773
5BBB62A2733696   ANTONIO F      SPINKS                   NC           90014442027
5BBB6852A5758B   ANGELA         FERNANDEZ                NM           90012188520
5BBB7594897B77   TERRY          EGAN                     CO           90010955948
5BBB8386491895   PARSCHE        BARNETT                  OK           90013933864
5BBB888A472B27   ALEJANDRO      VALENZUELA               CO           33008858804
5BBB99A5471935   CHRISTOPHER    GOODMAN                  CO           90013939054
5BBBB986197B77   KEN            JANECEK                  CO           90008619861
6111545578166B   ROJELIO        PONCE                    MO           90014094557
6111671A651354   ALFREDA        JONES                    OH           90008097106
6111673822B543   LATRECIA       MCABOY                   AL           90014217382
6111B868384392   AMBER          ROWE                     SC           19094478683
61121418A2B27B   RICARDO        MOZIE                    DC           90011374180
6112185618B168   GLADYS         ANDREI                   UT           90014988561
611221A7A5B235   SUMITRA        RAI                      KY           90010951070
6112367A561936   DANIEL         ESTRADA                  CA           90011526705
611245A1333698   ALEXIS         COOK                     NC           90014155013
6112559A272B29   MICHAEL        PENA                     CO           90013295902
611255A7771921   TAMERA         SENBART                  CO           90013315077
611263A6861964   KARLOZKRIZ     HERNANDEZ                CA           46081753068
611278AAA5B392   HEATHER        FOUST                    OR           90011198000
61127A6595B235   TAMIKA         SLOSS                    KY           68097820659
611289A525B392   JOSEPH         PIO                      OR           90012479052
6112B71A572B36   KRYSTAL        COPELAND                 CO           33004257105
6113185A891894   JOE            ELLIS                    OK           90014788508
61132552872B27   KYTIA          GREENE                   CO           90011965528
61134A51361936   MANUELA        RIOS AVALOS              CA           90012820513
611376A6351354   AMBER          JONES                    OH           90012176063
6113773994B27B   JACOB          PLUMB                    NE           90013227399
611382A7772B43   CHRIS          OGG                      CO           90010782077
61139A68161936   RAY            VALDEZ                   CA           90012820681
6113B5AA171921   TINA           FRANCESHI                CO           32088365001
611419A747B46B   CARESSIA       ELLISON                  NC           90014769074
61142AA255B392   CASSANDRA      MORRIS                   OR           44590590025
6114664347B46B   CAMELO         YEPEZ                    NC           90010786434
61149233A72B43   LEONELA        RODRIGUEZ                CO           90012452330
61149385A54128   MASON          DREWS                    OR           90012303850
6114968355416B   PAYGO          CRICKET                  OR           90014266835
6114B31A94B27B   TREXIN         WITCHER                  NE           90014323109
6114B637361964   AIOTEST1       DONOTTOUCH               CA           90015116373
6114BA48947927   RICHARD        MARTING                  AR           90011740489
61151A2255B235   KRISTI         CLARK                    KY           90008880225
6115281894B588   GREGORY        ANDERSON                 OK           90010138189
61152A24557538   GUSTAVO        RAMOS                    NM           90012770245
6115722A387B31   TRE A          SEMPER                   AR           90001862203
6115738267194B   MICHELLE       RODRIGUEZ                CO           90010873826
6115819665416B   PHILLIP        FONSECA                  OR           90010561966
6115828995416B   DEYSI          MORENO                   OR           90008442899
61158A7258166B   MARIO          JIMENEZ                  MO           90011480725
6115943483168B   TAMIKA         DEMPSEY                  KS           90010314348
61159A78861936   CIERA          HARRIS                   CA           90010680788
6115B8A372B543   LATRECIA       MCABOY                   AL           90014218037
61164872772B27   KERISHA        CROWDER                  CO           90013208727
61164A7A761936   RAMIRO         TLATEHUI                 CA           90012820707
6116524855416B   BRANDI         FARISH                   OR           90000302485
6116751425B392   BONNIE         PAGE                     OR           90013215142
6116B76484B27B   JANINE         PENNEY                   NE           90010207648
61172266772B27   ROGELIO        ARTEAGA                  CO           90012902667
6117243295416B   JILLIAN        FIELDS                   OR           47052734329
61173826A71921   PATRICIA       ONFRE                    CO           90005048260
6117751414B27B   MICHELLE       PHALEN                   NE           90014005141
611778A3172B36   DEONNA         COMBS                    CO           90014158031
6117869A491522   LEOVARDO       MONTERO                  TX           75010966904
61181161A71921   CHEYEANNE      GUINN                    CO           90013051610
61182414572B36   SHAQUEDA       DAVIS                    CO           90012694145
61182992787B31   GREGORY        HYDE                     AR           90014219927
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6118316814B588   CHARLES            SHUMAR               OK           21595831681
6118537132B381   JOSE               QUISPE               CT           90014323713
6118568252B27B   RONDOH             SIDHARY              DC           90014166825
61189A8864B588   JEREMY             HENSLEY              OK           90013280886
6119167574B588   LUIS               MARTINEZ             OK           90013566757
61195A92261936   ROY                LOZANO               CA           46077020922
611B1421A72B29   NINFA              MAURICIO             CO           90014674210
611B149834B588   ALISA              DE YOE               OK           90015174983
611B234A35416B   COLE               TUTTLE               OR           90011253403
611B2728872B27   TIFFANY            THOMAS               CO           90011397288
611B5637361964   AIOTEST1           DONOTTOUCH           CA           90015116373
611B6895772B43   MARCUS             TOLANDER             CO           90013378957
611BB984761945   CHAVELA            HOSS                 CA           46014479847
61211925A61964   JOSIE              CARDENAS             CA           90014879250
6121317265B235   CHARLES            BALLARD              KY           90006551726
6121383A84B268   RONALD             FERDINAND            NE           90013878308
61214A99157538   FRANCISCO          JIMENEZ              NM           90014730991
6121641668166B   DOROTHEA DUSHAWN   DAVIS                MO           90012834166
6121BA88363646   MIKE               MARION               MO           90014030883
612223A827B46B   ANTHONY            CAMPBELL             NC           90014163082
61222463A33698   JUANA              BANOS ROJAS          NC           90014164630
6122425515B392   ROBIN              REYNOLDS             OR           90006032551
6122876834B27B   PABLO              NAVARETTE            IA           27058137683
6122948A731453   JEFFREY            BOLTON               MO           90011684807
6123249A133698   ALVARO             AVILA                NC           90014164901
6123398A891894   EDDIE              ROBINSON             OK           90014499808
6123427895B271   JOHNETTA           MAYEA                KY           90010162789
61235468376B57   GAVRIEL            GONSALEZ             CA           90011404683
612386A243168B   SHARON             SCOTT                KS           90014696024
6123B397A33698   LA SHAINA          PERSON               NC           90008623970
61241A46A87B31   ANTHONY            ANDERSON             AR           90012720460
6124358924B588   SHANOTTA           MOORE                OK           90010655892
6124837367B46B   FELICITAS          CALLEJA              NC           90014163736
6124B638261964   AIOTEST1           DONOTTOUCH           CA           90015116382
6125177AA84392   CELIA              JETT                 SC           90010127700
61253713A51354   JOSE               BARRA                OH           90013517130
61253997272B36   MICHAEL            MCLAUGHLIN           CO           90013929972
6125441743168B   SHELLY             PHILLIP              KS           90012774174
612573A3172B36   DAWN               JENNINGS             CO           33006303031
612583A952B893   EDGAR              VARGAS               ID           90013953095
6125883A772B29   ALEXANDER          HOOSZ                CO           90011398307
6126541987B46B   CRISTIAN           ROLDAN               NC           90014164198
61266744A4B27B   WILLIAM            FLESHMAN             NE           27020707440
61267417472B29   JEFF               NUNYA                CO           90001824174
6126976165B392   ANDREW             MANTIA               OR           90012207616
612714A415B531   JAZMINE            BENAVIDEZ            NM           90011444041
6127933288166B   DAVID              PENO                 MO           29072473328
612816A8571921   REBECCA            ALSUP                CO           90008376085
612817A517B46B   MARTIN             CRUZ                 NC           90010297051
61284462272B43   TAI                SANDERS              CO           90013194622
6128556AA61936   TINA               ELLIOTT              CA           46017905600
6128643AA7B46B   JASMIN             ERVIN                NC           90014164300
612864A225B392   TALISA             WILSON               OR           90013944022
61287736A57538   JENNIFER           LOPEZ                NM           90010377360
6129734114B588   PATRICK            YOUNG                OK           21584533411
61298448A7B46B   MATIAS             ROLDAN               NC           90014164480
6129B528587B31   SALVADOR           CARRANZA             AR           28028375285
6129B638661964   AIOTEST1           DONOTTOUCH           CA           90015116386
612B1234263646   JESSICA            LECRONE              MO           90013442342
612B155892B27B   GREGORY            THOMPSON             DC           90010035589
612B3216961964   YVONNE             AGUILAR              CA           90009632169
612B3796355973   DAISY              TRUJILLO             CA           90012777963
612B442685B392   LEESA              UYESHNALL            OR           90013474268
612B4754A5B392   LEE ANN            KRISTOPH             OR           90004757540
612B773288B138   TRACEY             GARRETT              UT           90011097328
612B8374161936   XOCHIQUETZ         RIVERA               CA           46086883741
612B8638261964   AIOTEST1           DONOTTOUCH           CA           90015116382
612B881722B248   TAWANA             THOMAS               DC           90002458172
612BB684871921   MONSERTTO          ALIVERIA             CO           90013176848
6131125295B392   JENNIFER           CHAINEY              OR           90011212529
613117A3255973   ADRIAN             ZEPEDA               CA           90010827032
61312932572B29   ANDREA             MYERS                CO           33064039325
6131295888B169   BENJAMIN           COOK                 UT           31056289588
6131388168B169   MARLEY             BOB                  UT           90002358816
6131486868B168   CAROL              WORKMAN              UT           90012918686
61315293987B31   JENNIFER           MOON                 AR           90009342939
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613157A978166B   FRANKIE        ASHLEY                   MO           90014167097
6131633AA71921   MASON          MCCRACKEN                CO           90013303300
61317756372B29   JOHN           JR                       CO           90010857563
6131825295B392   JENNIFER       CHAINEY                  OR           90011212529
61318636172B27   BRITT          LIEBMAN                  CO           90013296361
613214A668166B   SARAH          YAZEL                    KS           90000924066
61322AA7171921   JOSUE          MENDOZA                  CO           32055770071
6132378683168B   HUYNH          NGUYEN                   KS           90014697868
6132677538B563   PABLO          FLOR                     CA           90014217753
6132777134B27B   MAYRA          JACOBO                   NE           90013137713
6132982A561936   CYNTHIA        ACOSTA                   CA           90012858205
6132B66715B235   WENDY          CAREY                    KY           90000806671
6133564A572B43   DANIEL         HIGHT                    CO           33015876405
613358A6355975   JUAN           GONZALEZ                 CA           90015128063
613359A8831453   DARLENE        WADE                     MO           90014569088
6133695234B588   SHANQUILA      CARTER                   OK           90014789523
6133839144B588   VANESSEA       GARCIA                   OK           90012603914
6134294188168B   STEVEN         TURNER                   MO           29017279418
61342A7834B555   EMMANUEL       CRUZ                     OK           90009300783
61343121772B27   JOEL           DE LA CRUZ               CO           90001951217
6134595662B27B   BROCKINGTON    WESLEY                   DC           90007939566
613477A4461964   VALERIA        ACEVES                   CA           46001077044
6134959AA72B36   ALEJANDRO      GAMBOA                   CO           90013795900
61351334572B27   EMETERIO       CORPUS                   CO           90012533345
6135222963168B   BRIANNA        KEE                      KS           90006272296
6135261715B531   ALENJANDRA     ORTIZ                    NM           90012906171
613549AA38B169   AMY            BORGHOLTHAUS             UT           90010739003
613573AA75B235   LAKENYA        EDWARDS                  KY           90003033007
61357A3842B27B   LATOYA         YOUNG                    DC           90014180384
61358A95572B29   ENRIQUE        CABRERA                  CO           90002720955
6135B23648166B   JEFFREY        TOLEFREE                 MO           90013062364
6135B385771921   DALE           REVELLO JR               CO           90011483857
6136214492B27B   DILICIA        BANQUEDANO               DC           81030591449
6136341792B27B   BRAYANT        BUTLER                   DC           90011724179
6136546555B392   KIETH          SMITH                    OR           90013344655
61365A76472B36   LINDA          COX                      CO           33095200764
613679A4363646   ALVIN          SEGAL                    MO           90011819043
61367AAA572B36   JANET          ALCAZAR                  CO           90012600005
6136837A261964   CHRIS          HAWKINS                  CA           46059793702
613692A2461964   LEA            RODRIGUEZ                CA           90012612024
613762A478166B   ROBERT         LANE                     MO           90010942047
61379A27155973   JUANA          BONILLA                  CA           90013230271
6138184498166B   LUIS           CRUZ                     MO           90012188449
6138211852B27B   TASHAWN        MCMILLIAN                DC           90014181185
6138713AA47996   JOHNNY         GRUNDY                   AR           90005911300
613875A5191894   ERIC           MASON                    OK           90014165051
61388694187B31   TIMOTHY        COLEMAN                  AR           90008316941
6138968635416B   TRUMANN        DUCKER                   OR           47008836863
6138B144772B27   JENNIFER       RODRIGUEZ                CO           90008061447
6138B184872B43   MARIA          GUZMAN GURROLA           CO           90013791848
6138B1A652B27B   LEROY          DAWAYNE                  DC           90014181065
6138B56377B46B   WALTER         GUTIERREZ                NC           90014165637
6139123664B588   KARL           DOAKES                   OK           90014682366
6139178A172B29   TRACY          JOKELA                   CO           90011367801
6139277495416B   LUIS           SANCHEZ                  OR           90014137749
6139559943168B   MARK           APPIER                   KS           22004825994
6139561945B235   CHARMAIGNE     FUGATE                   KY           90010806194
6139923A898B22   ALICIA         COLE                     NC           90014652308
6139943914B268   CHERISH        BENNETT                  NE           90005444391
613996A417B46B   GABRIELA       GUTIERREZ                NC           90014166041
613B1538257538   RENALDO        DIXON                    NM           90001545382
613B1545631424   DANAY          GUNN                     MO           90001535456
613B3767491527   MELISSA        SANCHEZ                  TX           90012477674
613B37A4571921   JAY            COYLE                    CO           32001837045
613B425295B392   JENNIFER       CHAINEY                  OR           90011212529
613B555414B268   TAVIN          MILLER                   NE           27057655541
613B5A5838B168   DANA           CARTWRIGHT               UT           90009650583
613B727924B588   BRIAN          CARR                     OK           90013252792
613B753845B531   BELINDA        AVILA                    NM           90014405384
613B7872755973   MELISSA        ELLSWORTH                CA           90012778727
613B793A291894   MARIA          BOYD                     OK           90010789302
613B9A4695B235   WOODY          MOORE                    KY           90012700469
613BB825A2B27B   JAMES          AYERS                    DC           90014178250
61418739672B43   LINDSEY        WYATT                    CO           90009577396
6141878435416B   KURTIS         DANIEL                   OR           90012187843
61418AA1272B27   GREGORY        MCGRAW                   CO           90013380012
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61422187A57538   NANCY          MORA                     NM           90013521870
6142261947B46B   ROSER          FREEMAN                  NC           90014166194
61424362372B43   RULEZ          RODRIGUEZ                CO           90015143623
61425834A71921   ALEXIS         SANTIAGO                 CO           90008808340
6142631392B27B   CHIFAWN        WATTS                    DC           90014183139
6142756315B271   TIMOTHY        THOMAS                   KY           90002025631
6142B29752B27B   LONDON         JOHNSON                  DC           90014182975
6142B48578B169   MICHAEL        VALLEE                   UT           90006474857
6142B6A7A8B168   CODY           RODICIO                  UT           90012856070
614373AA331453   ASHELY         BARSH                    MO           90006983003
6143878283168B   JUSTIN         BROOKS                   KS           90009897828
6143954955416B   LOLA           BATEMAN                  OR           90010715495
6143B71865B235   AUSTIN         BELL                     KY           90014447186
614419A5A4B27B   WILLIAM        CURRAN                   NE           90012409050
61445442698B22   JASMINE        MOORER                   NC           90007254426
6144714638B168   KRISTINA       RODRIGUEZ                UT           90013851463
6144897385B235   DANIELLE       BASS                     KY           90001689738
61449243472B29   SHANNA         WEST                     CO           90006862434
61449A4A87B462   SABTIS         AVELAR                   NC           90005850408
6144B638261964   AIOTEST1       DONOTTOUCH               CA           90015116382
614512A165B235   ANTHONY        SENIOR                   KY           90013702016
61451338A91525   RAMON          CANO                     TX           75094883380
6145187178B168   BRANDY         DAVES                    UT           90008498717
6145252122B27B   TORTISHA       HOLLAND                  DC           90014175212
6145429347B46B   RITCHIE        CUTHBERTSON              NC           90010992934
61456548472B29   MICAH          KNOX ELAZIER             CO           90013865484
61456796A84392   SHANITA        VERDEJO                  SC           90002607960
6145B77545B235   CLINT          SETTLES                  KY           90006147754
6146168A485939   AMY            HILL                     KY           90002916804
61462A5694B588   BRENDEN        MCCNANA                  OK           90015120569
6146398627B338   ASHLEY         ISAAC                    VA           90008009862
6146598A357538   ANGEL          GARCIA                   NM           90014009803
61466432172B36   TASHEENA       EVANS                    CO           90012864321
614671A7855975   ERICA          PEREZ                    CA           90013671078
61468A43A91894   RAVEN          CLARK                    OK           90014270430
61468A8637B46B   CURTIS         SMITH                    NC           90008370863
6147291A85B271   MONTA          SIMS                     KY           68089599108
6147352815B392   ISTAR          ABU                      OR           90013045281
6147565A761936   FRANCES        LOPEZ                    CA           90011366507
6147649AA3B125   BOBBY          HERBERT                  DC           90008854900
61479177572B43   ELLA           PACE                     CO           90012651775
6148153845B531   BELINDA        AVILA                    NM           90014405384
6148283A233698   WESLEY         SCOTT                    NC           90009758302
61482A81A4B544   NICOLE         JONES                    OK           90008090810
6148436795B392   ANDERBERHAN    TEKLEHAIMANOT            OR           90002963679
6148646722B27B   LORRIE         SILVER                   DC           90014184672
61492431A5B235   LATOSHIA       D                        KY           90012994310
6149485315416B   LORRAINE       REICH                    OR           47020958531
6149597A891975   VINCENT        DOMINGUEZ                NC           90008879708
61495AA1851354   TEENYA         HUFFMAN                  OH           90009010018
61497678372B36   SHERINA        DETREVILLE               CO           90012226783
614983A625B531   SALLY          ROJAS                    NM           36009363062
6149856365416B   BEN            OLSON                    OR           47073885636
6149912328B168   ROBERT         BRIGHT                   UT           90004551232
61499334987B31   CHRIS          MAYS                     AR           90013263349
6149939165416B   CHANTEL        MATTIN                   OR           90009643916
614B1AAA972B43   JEREMY         BERG                     CO           90010950009
614B2276957538   LEO            GONZALES                 NM           35556822769
614B34A2572B29   ALYSSA         BURKHART                 CO           90013774025
614B486A45B392   DESMOND        WASHINGTON               OR           90014838604
614B5293172B29   HAROLD         ORTIZ                    CO           90010772931
614B617A88166B   ERIK           WADE                     MO           90013121708
614B8A96A71921   NANCY          FLORES                   CO           90013610960
614B92A3951322   EBONY          WATKINS                  OH           90001702039
614BB638261964   AIOTEST1       DONOTTOUCH               CA           90015116382
615166A2891894   AMY            TRUAX                    OK           90014166028
6151BA6863168B   KEVIN          JONES                    KS           90014730686
6152477447B46B   MAILA          LOPEZ                    NC           90014177744
6152488A58166B   ROBERTA        LOPEZ                    MO           90012208805
615258A754B293   MICHAEL        SCARPINO                 NE           27010738075
615294A6772B43   HALEY          CHESTNUT                 CO           90013084067
615298A183168B   SENAIDA        RETANA                   KS           90014718018
6153147495B235   TERESA         CRAWFORD                 KY           90010554749
6153313A95B392   DAVID          RODRIGUEZ                OR           90013191309
6153363A491894   HAYLEY         BOLTON                   OK           90014166304
6153596A861936   FRANCHESCO     SALGADO                  CA           90012859608
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615433A8791894   RANDY          GRAVES                   OK           90013483087
6154583695B392   CHAD           RUSSELL                  OR           90014158369
6154817A184392   KIESHA         WITTRELL                 SC           90011151701
6155253185B235   JAMAR          LOWERY                   KY           90012895318
61553532672B29   SANTINO        SANTOVENA                CO           90006645326
6155787A731453   BOB            YOUNG                    MO           90012518707
6155B27A75B531   HENRY          ESCOBAR                  NM           90012382707
6156232668B17B   RAMON          MARTINEZ                 UT           31001423266
6156298528B17B   GRISELDA       LOPEZ                    UT           90013619852
6156374725B235   ROBBINS        FAMILY                   KY           90010907472
61563891598B22   DIANE          CROWE                    NC           90007278915
61563A15597125   DAVID          CURTIS                   OR           90009550155
6156533A45B235   AMANDA         BASHAM                   KY           90013023304
61565A61333698   GARRETT        SHEPARD                  NC           12086470613
61566152287B31   ERIC ALAN      BARNES                   AR           90014621522
615686A447B46B   RACHEL         BYERS                    NC           90013746044
6156B828755973   AGUSTINE       ESPINO                   CA           90012778287
61573533972B36   SELINA         MUBILI                   CO           90007375339
6157398775B235   CHARLES        SCOTT                    KY           90014569877
6157562783168B   NICOLE         CROW                     KS           90013866278
6157935645B235   KIMBERLY       HERDT                    KY           90004223564
6157997522B248   KENNETH        HOLMES                   DC           90012759752
6158315645B531   MONICA         TARANGO                  NM           90014261564
6158828188B168   STACEY         CANNON                   UT           90008082818
61588A17261936   ALEXANDER      MATUSAK                  CA           90012860172
6159185455B392   CESAR          RANGEL                   OR           90011218545
6159263514B588   ANDREA         BURKLEY                  OK           90014846351
61594885A57538   FEDERICO       VACIO                    NM           90011708850
61598573A63646   JEREMY         RODRIGUEZ                MO           27513525730
6159B949798B22   ALBERTO        PABON                    NC           90007179497
615B365AA72B43   LAURA          IBARRA                   CO           90010246500
615B389974B588   MARSHANE       REED                     OK           90008078997
615B46A244B588   ROBERT         HARRSTON                 OK           90012866024
615B48A6871921   ELICIA         SALAZAR                  CO           90011848068
615B586995416B   MEGAN          MARTIN                   OR           47005038699
615B8284A51354   MARA           GARCIA                   KY           90010782840
615BB235374B7B   ALAN           CRAIG                    OH           90013822353
616115A242B27B   DASHAWN        RUSSELL                  DC           90010305024
6161163894B57B   CHRYSTAL       JUSTICE                  OK           90007686389
616143A2A61936   JADE           VIVIANA                  CA           90007243020
6161532385416B   CASSANDRA      MILLER                   OR           90013053238
6161568315416B   CASSANDRA      MILLER                   OR           47015616831
6162316A163646   TRAVIS         WILKINS                  MO           90010191601
6162318328B168   ADAMS          HASTINGS                 UT           90011091832
6162358645B392   TROY           HAKALA                   OR           90012605864
6162775675B235   MIKE           WISON                    KY           90011437567
61629219472B29   ROMEL          GREER                    CO           90013872194
6162B658A76B57   ANTONIO        APARICIO                 CA           46016556580
6162B855672B36   HUBERT         RAYBAL                   CO           33038298556
616313A8A71921   NATEKA         CONNORS                  CO           32025223080
6163169225416B   KRYSTAL        RUIALL                   OR           90008516922
6163341325B235   DANDREA        HARRIS                   KY           68015714132
61635632472B43   ERIK           GONZALEZ                 CO           90007566324
6163651295B392   EDDY           VIENGKHAMVILAY           OR           90008885129
61638478672B29   NICHOLAS       MANGO                    CO           90012884786
6164295154B268   ANDREA         HEARTER                  NE           90010529515
61642A53A3168B   JOSHUA         BROWN                    KS           90013840530
61644A1115B531   RAFAEL         ESCAMILLA MADRID         NM           36059650111
6164755A25B531   DANIEL         ROMERO                   NM           90012725502
6164B157755975   LUISA          ANDREWS                  CA           90012781577
6165187677B46B   FELICIA        MAXWELL                  NC           11066938767
6165289A161964   AURORA         MEJIA                    CA           90011398901
61658494772B36   ANGELIA        ALKINS                   CO           90002464947
6165BA7994B268   CINDY          COFFEY                   NE           90002610799
61662315572B36   IRMA           NAGEL                    CO           33006303155
6166322A15B531   JOSE           GAMES GONZALEZ           NM           90004192201
61664A31871921   TAMMY          PEREA                    CO           90012770318
61668143672B36   CASSANDRA      ZAMORA                   CO           90008651436
6166935848B168   CHRISTMAS      BOLES                    UT           90012463584
616736A264B588   ISIAH          HERNANDEZ                OK           90012986026
6167663948B168   JACK           RAY                      UT           90011096394
61679758A87B31   JERRY          BROWN                    AR           90013947580
6168286385B235   CHAYLA         CARTER                   KY           90011088638
616844A1151354   JOSHUA         STEPHENS                 OH           66037204011
61687757672B29   CARREL         CORTEZ                   CO           90014157576
61688559572B43   MARIA          MARTINEZ                 CO           90010275595
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6168963948B168   JACK             RAY                    UT           90011096394
6168B885991975   LORENZO          FOX                    NC           90007378859
6169186A776B21   ALBERTO          RODRIGUEZ              CA           90010548607
61692322172B36   MATT             MCMULLEN               CO           90014923221
6169736795B392   IMMER            GUTIERREZ MARTINEZ     OR           90013623679
616B1183776B69   VICTORIA         LAIE                   CA           90011321837
616B1447861936   SILVIA           GARCIA                 CA           90008574478
616B236848166B   KIM              ALEXANDER              MO           90004403684
616B284174B588   JENNIFER         SMITH                  OK           90010138417
616B3245363646   SHERRY L         LEBEAU                 MO           90004732453
616B3A51772B29   CELIA            FRAUSTO                CO           90014000517
616B5388257538   ALFREDO          LAZARIN                NM           35576123882
616B8733991975   CARAMORE         COMMUNITY              NC           17090057339
616B8AA538B168   NICK             MARTIN                 UT           90012690053
616BB86945B531   CHRYSTAL         ESPINOZA               CO           90004998694
6171252A272B43   KENNETH          LIGHTFOOT              CO           90012995202
6171367255B392   RYAN             SMITH                  OR           90012226725
6171BA72157538   THOMAS           MELENDEZ               NM           90013630721
6172296455B235   HEATHER          COCHRAN                KY           68053779645
61725244472B29   MARY             MARTINEZ               CO           90008502444
6172773442B23B   CELESTE          BASON                  DC           81037137344
61729A12771921   VERONICA         BALL                   CO           90013860127
61734A4135B392   TONY             LESNER                 OR           90010260413
6173652715B392   KRISTINE         MATHEWS                OR           90008115271
61738965187B31   ANTONIO          SAENZ                  AR           28080559651
61739A19572B29   LISA             KIEBERT                CO           90013110195
6173B28214B588   CONNIE           FRANCES                OK           90012722821
6173B48AA91522   POMAPA RAMIREZ   ELOISA                 TX           90005514800
61741A63461964   WILLIAM          AGUIRRE                CA           90011850634
61741A8355B531   ANNA             GONZALES               NM           36078310835
6174313257B46B   KEISHA           PHIFER                 NC           90012091325
61744648A55973   REBECCA          CASTILLO               CA           90011286480
6174833674B559   PATRICIA         JUDD                   OK           21582403367
6174862517B475   COREY            TURNER                 NC           11093466251
6174983A461964   JULIE            MORALES                CA           46008718304
61751669A4B27B   MIKE             OHLE                   NE           90008426690
61752569A72B43   JESSICA          TAFOYA                 CO           90007095690
6175278465B531   LYDIA            SALGADO                NM           90010987846
6175817A472B27   RUBEN            ALCANTAR               CO           90005091704
61759A6764B588   TERESA           HALL                   OK           90009980676
6175B814461936   JOHN             BROWN                  CA           90012878144
61762A23755975   NANCY            JIMINEZ                CA           90011740237
6176419488B168   BREANNA          BACHMAN                UT           90013581948
61764A8195416B   KELLY            WILSON                 OR           90014740819
6176671828B168   JOY              STARKS                 UT           90001327182
6176713255B392   CYNTHIA          DAME                   OR           90005771325
61769153A55973   AMBER            FLORES                 CA           90000251530
6176983A998B22   SHAY             HAMPTON                NC           90007308309
6177242393168B   ADAM             FREIHAGE               KS           22071994239
61774541572B27   LAWRENCE         HUGHS                  CO           33017345415
6177522A15B392   QUINCY           HARRIS                 OR           44556232201
6177741395B392   LIBORIO          OLIVARES               OR           90015144139
61778A1195B531   GLORIA           PADILLA                NM           90008660119
6177B66A15B235   CARRIE           MEISNER                KY           90011306601
6177B73545B392   STACY            GIESBRCHT              OR           44572517354
6178719A593777   SHANEICE         JOHNSON                OH           90011191905
6178749688166B   OLIVIA           WALLACE                MO           90012994968
6179181354B27B   MARK             ASHBY                  NE           90009728135
61795641987B31   JIM              MOORE                  AR           90012506419
6179567364B27B   VINCENT          MAGEE                  NE           90012686736
6179591275B392   CRYSTAL          STUDINARZ              OR           44598229127
61795A61255975   BERENICE         GONSALEZ               CA           90007610612
6179851733167B   CHRIS            WEAVER                 KS           22098375173
617B2377941949   RACHEL           TIMMONS                OH           90013883779
617B267165B531   LUIS A           ANGUIANO               NM           36058576716
617B3838961964   RASHEL           MCDONALD               CA           90012388389
617B4356755975   IRMA             GUTIERREZ              CA           90011483567
617B446A272B29   TAMARA           SMITH                  CO           90012244602
617B557575416B   MONIQUE          GRILLO                 OR           90013495757
617B7A25655975   AIMEE            JOHNSON                CA           90001890256
617B845362B941   TRINIDAD         TARANCON               CA           90013954536
617B939127B46B   LESWIN           ESCALANTE              NC           11009913912
617B941155416B   MARNIE           ATKINS                 OR           90010924115
617B9A27157538   PEDRO            RUIZ                   NM           35528460271
617BB684672B29   JAVAY            LINDSAY                CO           90010086846
6181151815416B   MALYNDA          SPIERS                 OR           90010255181
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61812498A3168B   ANTWONE        WILLIAMS                 KS           90014734980
618141A463168B   DALTON         WARD                     KS           90010871046
6181623665B531   ADRIANA        ESCAMILLA                NM           90012762366
6181655435416B   ELIJAH         LAIS                     OR           90014925543
61816A8A27B46B   AVONDA         MORRISON DICKEY          NC           90011090802
61819757A61964   LUCI           DUENAS                   CA           90005187570
6181B243861936   ROBERTO        ROCHE                    CA           90012882438
61825278A57538   FELIPE         JUAREZ                   NM           90011752780
6182543415B531   VICTOR         AVILA SOTELO             NM           90008014341
618255A3A2B238   JASMINE        ANDREWS                  DC           90010765030
61827993572B66   LILAH          FREELON                  CO           90009929935
6182B917887B31   WHITNEY        LEWIS                    AR           90014889178
618313AAA4B54B   QUAYLON        BARR                     OK           90012463000
6183169234B27B   RANDY          NORTHHORN                NE           90011406923
6183272884B27B   SHAQUAN        RUSSEL                   NE           90013827288
61832A87857538   ROBERTO        RODRIGUEZ                NM           90014130878
6183492A24B588   TODD           GENTRY                   OK           90011399202
618359A9461936   JOSE           RAMIREZ                  CA           90001899094
6183663A233698   ROSALYN        SHELTON                  NC           90000556302
61837997272B36   MICHAEL        MCLAUGHLIN               CO           90013929972
6183B333172B29   MANUEL         ESCOBEDO                 CO           90000473331
6183B618187B31   ZENETA         AUSTIN                   AR           90012066181
6183B8A3931453   DAWN           PIECHOINSKI              MO           90008058039
618414A188B168   RICK JAMES     RYDALCH                  UT           90012654018
61842589A57538   RICHARD        PORTILLO                 NM           90011755890
61843937A5B55B   JASMINE        CANDELARIA               NM           90008649370
6184479785B392   ANDRE          SOLOMON                  OR           44513987978
6184594A15B531   PETER          MOORE-LAMPHERE           NM           90014819401
6184B585972B43   SAUL           MELVIN                   CO           90013615859
6184B793887B31   BRYON          MADDEN                   AR           90014897938
6185612635B531   SERGIO         ORTIZ                    NM           90013771263
6185658147B46B   LUIS           SOSA MATA                NC           90000355814
6185836887B46B   PATRICIA       ELEAZER                  NC           11094883688
61858A3554B588   CURTIS         HEATH                    OK           90010670355
6185B85A787B31   BENITA         HARRELL                  AR           90005878507
61861A5588166B   RICHARD        CARTER                   MO           29031020558
6186263648166B   RYAN           MAYCOCK                  MO           90013166364
6186425A62B27B   ROBIN          WILLIAMS                 DC           90005632506
6186561995B392   MICHAEL        SMITH                    OR           90003816199
61865624A55975   GRACIE         BEATY                    CA           90006586240
6186826347B46B   FRANK          LUCAS                    NC           90014182634
61869335772B29   ANTONIA        BRAVO                    CO           90008003357
6186B52A92B27B   KISHI          WASHINGTON               DC           90001675209
61871A69772B36   PATRICIA       HOLMES                   CO           90013070697
6187495647B46B   DAPLINE        REID                     NC           90010479564
61875A38A4B588   KRISTINA       ALVARADO                 OK           90014070380
6187747624B268   SALVADOR       HERNANDEZ                NE           90009774762
6187763155416B   ROBERT         KELLY JR                 OR           90006956315
61879379A24B47   YONG           SAULEN                   DC           90003653790
6187978A955973   LIONEL         MURRIETA                 CA           90011437809
6187B68835B235   THOMAS         DAVIS                    KY           90012666883
61883137A8B168   KATHY          STANSELL                 UT           90014521370
6188898A85B531   GUADALUPE      MIRAMONTES               NM           90012509808
6188B417A8166B   JEFFERY        MANIS                    MO           29027244170
61891586487B31   SHEILA         BROWN                    AR           90009325864
6189334827B46B   ALEN           KORDAN                   NC           90014183482
61894326572B36   FRAN           BOYD                     CO           90010263265
618943A4857538   AMANDA         VILLEGAS                 NM           90013883048
618945A728B169   CAMILLE        LUCE                     UT           31027265072
6189727755B392   MICHELLE       ALLEN                    OR           90015132775
6189918A68B356   MICHAEL        DARWIN                   SC           90013931806
6189BA4665B392   MABEL          NTIAMOAH                 OR           90010230466
618B3A24671921   NATHANIEL      SMITH                    CO           90010750246
618B424855B531   RAUL           MONTEJANO                NM           90013682485
618B52A4A72B27   CARLOS         BLANCO                   CO           90011412040
618B59A535B531   KAY            LOWANCE                  NM           90015089053
618B5A28671921   JOSEPH         MENOKEN                  CO           90010750286
618B6264272B27   DIANA          QUINTETERO               CO           90014172642
618B7A25661954   G SUSAN        RODRIGUEZ                CA           46083610256
618B873883168B   JADEN          VULGAMORE                KS           90010297388
618BB5A528166B   JERREN         PEBBLES                  MO           90009485052
618BB923591975   SHANDA         NEWSOME                  NC           17066659235
61912A57561964   MAYRA          RIVERA                   CA           90012820575
619139A3761936   PRISCILLA      ACOSTA                   CA           90012879037
61916932987B31   CASSANDRA      WILLIAMS                 AR           28093799329
6191693854B27B   CHRISTINE      STECHENFINGER            NE           90003629385
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61917A45872B27   STEVEN         INZURRIAGA               CO           90013250458
6191B116A61964   NATASHA        CAMARILLO                CA           90010191160
6192212AA55975   JUAN           MARTINEZ                 CA           90012941200
6192491AA2B27B   MELANY         GARCIA                   VA           90014209100
6192522558B168   JAMES          LANIER                   UT           31085802255
61925A21793762   CINDY          SMITH                    OH           90009540217
6192632874B588   MAURICE        DANIELS                  OK           90012713287
619272A935416B   MITCHELL       SPARGO                   OR           90011942093
6192921A15B392   MORGAN         BISSELL                  OR           90011222101
6192B218161936   MARIBEL        ROMERO                   CA           90009472181
619333A1A8B168   RAYMOND        BACA                     UT           90014623010
6193463514B588   ANDREA         BURKLEY                  OK           90014846351
6193991838166B   MARK           LEE                      MO           90014789183
61939A3634B544   JORGE          MDREGAL                  OK           90010960363
61941125A31453   BRITTNEY       DRORTCH                  MO           90013931250
6194633A83168B   DAMON          WILLIAMS                 KS           22085893308
619476A7572B43   FERNANDO       BATISTA                  CO           90013206075
6194B487161964   ROGELIO        MARIQUEZ                 CA           90011954871
6194B4A277B46B   CLARA          HILARIO                  NC           90014184027
6194B575A97125   ASHLEY         OLSON                    OR           44598885750
61952212A8166B   DEMONTE        FOREMEN                  MO           29012452120
61953861472B36   CHARLIE        SARGENT                  CO           90015258614
61956394887B31   BRIAN          MEREDITH                 AR           90010733948
61957249572B27   ROCIO          VALDIVIA                 CO           90014612495
6196128A34B588   OCTAVIA        ROBINSON                 OK           90014622803
6196195185B392   KRISTINE       ANGELOFF                 OR           90014319518
6196898A85B531   GUADALUPE      MIRAMONTES               NM           90012509808
6196938798B168   PAYGO          IVR ACTIVATION           UT           90014063879
619736A9472B36   GABRIEL        VALADEZ                  CO           90007416094
619739A6A61936   GABRIEL        CRUZ                     CA           90015139060
6197489385B392   ISAKA          SHAMSUD-DIN              OR           90014158938
6197723934B268   ADAM           BRUNICK                  NE           90011842393
6197855995B235   JOSEPH         GAMBLE                   KY           90013785599
6197972654B27B   DARREN         KETCHERSIDE              IA           90010697265
6197B614955973   FERNANDO       GOMEZ                    CA           48043486149
6198461592B27B   ROBERTO        ARGANDONA                VA           90010276159
61985512287B31   JALISA         CAMBELL                  AR           90011455122
61987321972B43   EDITH          MARTINEZ                 CO           90008433219
6198747637B46B   JOSE           CRUZ                     NC           90014184763
619884A4461936   JASON          STERN                    CA           90012884044
6198898228B168   JAMES          BROOKS                   UT           90013779822
6199144968166B   JANNIE         HOPKINS                  MO           90011434496
6199258395B221   HEAVEN         POWELL                   KY           90014265839
6199516463168B   SHAWN          LEROY                    KS           90014741646
619B1625155975   JUSTINA        MACIAS                   CA           48009296251
619B1678772B36   ALMA           MARQUEZ                  CO           90012746787
619B2251261494   JOSE           FLORES                   OH           90013932512
619B4253784392   AVENLEA        CASELLA                  SC           90002622537
619B5831733698   SYDNEY         DESHAZO                  NC           90011208317
619B653252B558   BRITTANY       REED                     AL           90013835325
619B787325B392   LARRY EARL     BROWN                    OR           90014838732
619BB589687B31   STEPHANIE      SMITH                    AR           90001105896
61B1133448166B   DAYNA          TURNER                   MO           90008373344
61B11554431453   MATT           BOLTAS                   MO           90012665544
61B1222617B46B   LARRY          BLACK                    NC           90011612261
61B12786557538   ANDRADE        MANUEL                   NM           90004097865
61B146A7A91975   SAMANTHA       THOMPKINS                NC           90013076070
61B14937147996   TANYA          ACUFF                    AR           25009849371
61B18637361964   AIOTEST1       DONOTTOUCH               CA           90015116373
61B19AA7397B56   NORMA          GAYTAN                   CO           90011350073
61B1B613131453   INASS          ELOUERRASSI              MO           27500586131
61B22914931445   SERITA         STOKES                   MO           90002459149
61B25992897125   ALBERTO        ZUNIGA                   OR           90006969928
61B27595A5B392   KASEY          KENT                     OR           90005445950
61B2935A633698   ISHAUN         FAIR                     NC           90014993506
61B3767684B588   LORRAINE       BRZEZENSKI               OK           90007166768
61B3898767B46B   MARIO          PINENTERO                NC           90014159876
61B38A88772B27   DIANA          VARGAS-COLMENERO         CO           90013740887
61B3991424B27B   ROBERT         MASON JR                 NE           27090989142
61B4167694B268   CASEY          WILSON                   NE           90006966769
61B41A31163646   TAMARA         REEVES                   MO           27510300311
61B43212161964   ELOISA         ANGEL                    CA           90007342121
61B4336144B588   SHARON         WINSTAD                  OK           90008683614
61B43885324B7B   MARVIN         GOMEZ                    DC           90006338853
61B4629748B168   CRYSTAL        THOMAS                   UT           90009462974
61B474A9872B27   JEROME         WATREN                   CO           90009184098
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61B4796599715B   JACK           BECKWITH                 OR           90007809659
61B51256691975   MIRACLE        MADDOX                   NC           90014382566
61B51894472B36   SHAWN          BROTHERTON               CO           33095228944
61B5223A351354   BEAU           KELLY                    OH           90007052303
61B5448927B46B   TIJUANA        MARTIN                   NC           90015044892
61B54A4A27B46B   TIJUANA        MARTIN                   NC           90014160402
61B62471361936   MARISOL        TAGLE                    CA           90003204713
61B63111463646   JAY            WEST                     MO           90012651114
61B6421317B329   BLANCA         CALERO                   VA           90012172131
61B6431552B27B   TASHA          NORRIS                   DC           90014163155
61B65513187B31   COURTNEY       TROOST                   AR           90005005131
61B65633531453   MARIAH         MARTIN                   MO           90013846335
61B6633AA91894   JAVIER         RUIZ                     OK           90014163300
61B6777755B392   NOCHOLAS       BAKER                    OR           90011197775
61B69827761936   ABEL           MENDEZ                   CA           90014698277
61B6B29472B27B   LUVINIA        CARTER                   NC           90014162947
61B7118498166B   CHELSEA        MCGEE                    MO           90010921849
61B7251142B27B   JUAN           VELASQUEZ-TUCUX          DC           81046525114
61B73523991975   FERN           CAMPBELL                 NC           90012135239
61B74346631453   SHANTAJA       GRAHAM                   MO           90005133466
61B7479A94B588   MARIA          DE LARA HERNANDEZ        OK           90006317909
61B74A85491894   ALISIA         LUETHJE                  OK           90011660854
61B76843A72B36   EDDIE          MASCARENAS JR            CO           33089298430
61B784A975B176   CHRISTINA      CANALES                  AR           90013544097
61B79567955975   HEIDI          LARA                     CA           90010275679
61B7B363A71921   MAURICE        KENTISH                  CO           32046293630
61B81149A8166B   HOWARD         KIMBLE                   MO           29011691490
61B8132A255975   VILLA          GERARDO                  CA           90007763202
61B81878291894   JENNIFER       MINOR                    OK           90013128782
61B81A7712B352   MAYRA          ROMAN                    CT           90014040771
61B84A42891975   KEVIN          LEE                      NC           90013880428
61B87732963646   PERRY          MONTESI                  MO           27566287329
61B9129A12B841   DEBBIE         MCCARTY                  ID           90001412901
61B91811855975   JOSIE          CRUZ                     CA           90010348118
61B94765361936   MARK           PEDERSON                 CA           90008787653
61B9874A18166B   TRIVA          JACKSON                  MO           29072417401
61BB163374B588   ROBERT         FIELDER                  OK           90007096337
61BB331A255973   RAY            PERKINS                  CA           90012773102
61BB4915857538   KRYSTAL        NANEZ                    NM           90013099158
61BB5153757538   LIZBETH        ORTEGA                   NM           90013021537
61BB5925655973   BIANCA         BRAVO                    CA           48074729256
61BB668717B46B   MAILA          LOPEZ NAVARRO            NC           90014176871
61BB8851157B78   JAMES          LEWIS                    PA           90013928511
61BB9172457B76   MATTHEW        KINHE                    PA           90014111724
62113788A55977   KA             LEE                      CA           90011897880
6211426675416B   NORA           ESTRADA                  OR           90010942667
6211534A14B588   MICHAEL        LORING                   OK           90008553401
62119238272B43   ALEJANDRO      SANDOVAL                 CO           90012232382
6212242A372B27   ELBA           RODRIGUEZ                CO           90009404203
62122468A57538   SOCORRO        HIDALGO                  NM           90011804680
6212415A781644   MARCELA        CORONA                   MO           90012341507
62124A15991522   LLANES         SANDRA                   TX           90011590159
6212637282B949   JORGE          HERNANDEZ                CA           90009533728
6212755455B241   MICHELLE       PIERCY                   KY           90001735545
6212887575B235   MICHELLE       BARGO                    KY           90010898757
6212BA7167194B   JESSICA        SMITH                    CO           90012280716
62133336372B29   JOSEPH         CHAVEZ                   CO           90012183363
6213442394B588   FAITH          SALLASKA                 OK           90008744239
6213467254B27B   SOL            COLON                    NE           90002846725
62135285A5416B   PHILLIP        SCHREPEL                 OR           47061702850
621371A2355975   ANGELA         ROBERTS                  CA           90007261023
6213768492B27B   SHAMIKA        HARRIS                   VA           90014886849
62139A72984392   HUNTER         HUBBS                    SC           90012720729
621412A5861936   MARY LOU       PELAYO                   CA           90010832058
62141988A51354   DUSTIN         DILLON                   OH           90013289880
6214215767B46B   ROD            SMITH                    NC           90003901576
62143829672B29   OFELIA         ESPARSA                  CO           90013988296
62143A89757544   MARY           LIGHT                    NM           90004540897
621455A5572B27   DEONDRAE       LASHUN GIBBS             CO           90010075055
62146588A8B168   SYDNY          GONZALEZ                 UT           90008795880
6214716168B163   REYES          MEDINA                   UT           90000731616
6214813532B27B   PAYGO          IVR ACTIVATION           VA           90009461353
62149A77555977   NICOLE         WILLIAMS                 CA           90010830775
6215122A561964   WENDY          SANDOVAL                 CA           90012432205
6215264377B46B   JESSICA        GREEN                    NC           90009056437
6215964A12B949   CHERIKA        BLODGETT                 CA           90010356401
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 577 of 1007


621614A1357544   LINDA          JUAREZ                   NM           90009654013
6216612884B588   ROBERT         PORTERFIELD              OK           21525731288
621675A5261936   MARIA          RODRIGUEZ                CA           90011465052
6216899A33168B   TERESA         TRACY                    KS           90012549903
6216B54212B27B   JOSE           MALDONADO                VA           81083445421
6217136195B531   JAMES          MEDINA                   NM           90011653619
6217339133168B   RHIANNA        MCBROOM                  KS           22098563913
621741A6A7B46B   DALRON         JOPLIN                   NC           11096271060
6217448933168B   STACY          BORDEAUX                 KS           90010934893
62177A21957544   WILLIAM        SWAIN                    NM           90010120219
62181253A5416B   DENNIS         HAGANS                   OR           90005412530
621851A3672B36   ZENA           BARRERA                  CO           90003171036
621859AA18B168   CHRIS          LUTZ                     UT           31082989001
62185A73A3168B   LEAH           SUTTON                   KS           22055020730
6218614375416B   DAVID          GINGERY                  OR           90011101437
6218765395B531   KAYLEIGH       DURAN                    NM           90013646539
62188614372B43   GINA           BOSSMAN                  CO           90003736143
6218931914B588   SHANE          LAMBERT                  OK           90014623191
6218B187A51354   DANIEL         RUIZ MARTINEZ            OH           90003991870
62195235672B35   JORGE          JAIME                    CO           90008492356
6219534533168B   KENETH         WILKINS                  KS           90013733453
6219715A651354   JUSTIN         SOUTHWICK                OH           90009891506
6219738698B168   QUERSTIN       NELSON                   UT           90005673869
621B1681272B29   MELISSA        DEBELL                   CO           90009056812
621B2579857544   ANGELINA       RICE                     NM           90009405798
621B2981A55975   ANNA           MENDEZ                   CA           90012749810
621B2A95254121   ZACKERY        CROSS                    OR           90013340952
621B34A9655977   NICHOLE        SALINAS                  CA           90008904096
621B47A7833698   REBECCA        HOGSTON                  NC           12006507078
621B7917984392   ANDREW         MEYES                    SC           90013539179
621B84A243168B   PAYGO          IVR ACTIVATION           KS           90011964024
6221951887B46B   SHAKIRA        BRAVO                    NC           90008675188
62221746A25236   JAVIDAN        JONES                    NC           90014867460
6222181A551354   MICHELLE       CARNEY                   OH           66075548105
62221848A91522   FABIAN         PARRA                    TX           90013058480
6222221265B235   ALEX           JEWELL                   KY           90013012126
622386A352B27B   JONHESHA       FUERGUSON                DC           90014926035
62239A1A85B531   DAWN           JOHNSON                  NM           90003440108
6224118753B125   EDDY           POZO SARMIENTO           VA           90012271875
622411A2455973   WILLIAM        WERT                     CA           90013581024
6224138472B27B   SHAWN          WASHINGTON               DC           90011553847
62242A17972B43   SERGO          ASHALYAN                 CO           90008300179
622475A4681644   CHRISTIAN      RONDON                   KS           90014015046
6224767573168B   TABITHA        WEST                     KS           90012096757
6224822A561964   TERESA         EDELEN                   CA           46092462205
622495A9297125   FELICIA        CONKLIN                  OR           90012405092
6224B948851354   LEANARDO       VELOSQUEZ                OH           90013559488
62253A64955977   ALEJANDRA      BARRAGAN                 CA           90012970649
62254A1A15416B   DANIEL         MEYERS                   OR           90011820101
62257831772B29   JUANITA        RODRIGUEZ                CO           33034908317
6225882A472B27   SHERESE        NICOLE                   CO           90011088204
622598A6955973   TYKESHA        EDWARDS                  CA           90008198069
6225B73A354121   ELOISA         ESEBERRE                 OR           90014687303
6225B815372B27   RUSTY          SHANK                    CO           90010688153
62263A7192B949   STEPHANIE      NUNEZ                    CA           90010860719
6226579A791522   CYNTHIA        RUVALCABA                TX           90013367907
622671A355416B   TERESA         PITZER                   OR           47069091035
622693A3855973   BETTY          CONTRERAS                CA           90006653038
6226BA26355975   SINTHYA        CAMPOS                   CA           48031240263
62271969472B29   DESIREE        MARTINEZ                 CO           90012829694
62272A67781644   JAILYNN        HEYER                    MO           90010470677
62275A6485B241   TYESHA         JARRETT                  KY           68035400648
62276358272B27   LESHAWN        HOOD                     CO           90014893582
622773A6A57538   CHRISTOPHER    SMITH                    NM           90015043060
62279A49757538   COURTNEY       MEIHLS                   NM           90006590497
62281A9A272B27   ESPERANZA      CRUZ                     CO           90011370902
62284AA3884392   MUSALEMA       CAPERS                   SC           90013070038
62287899772B43   ERICKA         GARCIA                   CO           90012348997
622879A837B46B   JAY            MILHEIM                  NC           90011539083
62288232A93753   CHRISTOPHER    KARG                     OH           90007372320
6228B553255977   RAQUEL         VALDEZ                   CA           90012095532
6228B82465B531   ELIAS          VALENCIA                 NM           36020608246
6229381AA81644   JAMES          ROWLAND                  MO           90014648100
6229419A991522   YVONNE         HERNANDEZ                TX           90009571909
622949AA681651   TIMOTHY        MCENROE                  MO           90005209006
62295453272B29   RANISHA        DAVIS                    CO           90013104532
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6229577A451354   ANDREA          ABLES                   OH           90010047704
6229645698B168   MICHELLE        BERRETT                 UT           31088474569
62297324A31434   VIRMEKA         JEFFERSON               MO           90011883240
6229B386297121   JENNIFFER       MONTOYA AMERICA         OR           90006103862
6229B456A72B36   COBY            NEHLS                   CO           90011874560
622B4496372B36   JOSE            RIVAS FERNANDEZ         CO           90011164963
62313557497B64   DENNIS          WOODARD                 CO           90010455574
6231656414B588   JESSICA         WALKUP                  OK           90012715641
6232177174B27B   JEANNA          BURRELL                 NE           90014707717
6232485587B46B   HAROLD          WHEELER                 NC           90010458558
62325472A55977   KANWERDEEP      SINGH                   CA           90013104720
623254A4255975   MATTHEW         WAYNE                   CA           90015134042
62326267772B43   ISAIAH          IBARRA                  CO           90010112677
6232727692B27B   LEYDIS          XIOMARA HERNANDEZ       DC           90007712769
62329915A63646   NICHOLAS        GILLESPIE               MO           90012689150
6232B11355B531   LIZETTH         ESCARCEGA               NM           90013101135
6232BA4155B395   DARREL          RICHARDSON              OR           90012510415
62331923A81621   ANTOINE         GRIFFIN                 MO           90004409230
62333AAA361936   LUCY            THORTON                 CA           90015260003
623345A2857538   RALPH           STEINHOFF               NM           90015055028
623347A264B27B   WENDY           ASHBY-WENNINGHOFF       NE           27088957026
62336496897B42   LINDA           MOORE                   CO           90014244968
623437A5555977   JOHANA          NAVARRO                 CA           90012547055
6234465918166B   ELMER           JONES                   MO           90001406591
62346A7985B531   JOSE            HERRERA                 NM           36081060798
6234865895B235   SHARESE         HAEMERS                 KY           90013006589
62352437A72B36   LUIS            NEGRON                  CO           90013104370
62352A63772B43   DEJA            WILSON                  CO           90014680637
6235371468B168   ELISEO          MORALES                 UT           90009277146
62354127824B7B   ERNESTO         ORTIZ                   VA           90006311278
623592A1A55973   MARGO           ROMERO                  CA           90010782010
62363A18872B36   BRIAN           NATALE                  CO           90012950188
623644A815B531   CASSANDRA       QUINTANA                NM           90014654081
6236894A52B949   NOEMI           MEDINA                  CA           90013639405
6236B12985B235   ANA             GARCIA                  KY           90015001298
6237164672B949   CARINA          RUBIO                   CA           90014546467
6237253832B949   RONALD          LONG                    CA           45012995383
62374325A91522   ADRIAN          VALENCIANO              TX           90012533250
62381187A72B43   JERRY           AMARO                   CO           90013791870
6238417782B27B   KYSA            BLAKE                   DC           90007461778
62385164A4B27B   LANITA          ENGLISH                 NE           90014071640
6238516A55416B   ANGEL           ARAMBULA LARA           OR           90001761605
62387748172B27   ANDRES          RUIZ                    CO           90012787481
6238821414B588   PATRICIA        THOMAS                  OK           90014542141
6238961A297121   NICOLAS         SANTOS                  OR           90009566102
623899A837B46B   JAY             MILHEIM                 NC           90011539083
6238B78A157544   JAMES           AGEE                    NM           90010847801
6239622A125236   CARLOS          MORALES                 NC           90011292201
62397555772B27   TAMEKA          WASHINGTON              CO           33016135557
6239B117461936   MARIA           RUIZ                    CA           46017771174
623B11AA833698   ANGEL           TAPIA SALINAS           NC           90003171008
623B1327197121   RYAN            GRAFF                   OR           90012663271
623B1439425236   HATTIE          CAREY                   NC           90011274394
623B2217971924   MICHAEL         RICHARDS                CO           90011092179
623B6276872B27   RAYMOND         CHECOTS                 CO           90010612768
623B628157B46B   ELENA REMIGIO   PALOMARES               NC           90014192815
623B662437B46B   ELENA REMIGIO   PALOMARES               NC           90008676243
623B739265B531   DARLENE         BARELA                  NM           90014613926
623B7571384392   CARLOS          ENRIQUEZ                SC           90013015713
623B86A3355975   LUPE            MAZANA                  CA           90015286033
623B8A4652B949   MISTY           WARNER                  CA           90013750465
623B9983172B29   KATHLEEN        PEDIGO                  CO           90012869831
623BB571A61964   JESSICA         CHUMACERA               CA           90009925710
623BB762A91522   KRUSTAL         ZAVALA                  TX           90004527620
62411AAA32B27B   ANTHONY         WALDRON                 DC           90012540003
62414821372B43   TEODORO         GARCIA                  CO           90009868213
62414A97255975   ANGELA          TOVAR                   CA           48015040972
6241622194B588   YOLANDA         DOMINGUEZ ACOSTA        OK           90010282219
62416A72A72B43   PENNY           HEDRICK                 CO           33034160720
6241963188B168   AMANDA          TOWSEND                 UT           90010716318
6242347A755975   ANALI           TIMMERMAN               CA           90013004707
6242521232B27B   TIARA           SAMUELS                 DC           90010232123
6242614874B27B   MARIA ELEN      RAMIREZ                 NE           27075061487
6242649465B235   BENJAMIN        MARQUEZ                 KY           68093004946
62426882472B43   CHANEL          DICKERSON               CO           90013148824
62427475272B43   TINA            TAFOYA                  CO           90011974752
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62428618A81644   JOSEPH          BOSAS                   MO           90014596180
6242B368961964   ELVIA           RAMOS                   CA           90013193689
6243258885B531   VANESSA         ESPINOZA                NM           36067015888
624368A894B588   KIMBERLY        WILLSON                 OK           90010958089
62439312A61964   ADA             OROZCO                  CA           90013923120
6243BA95997121   PEDRO           FERNANDEZ-AMADOR        OR           90011820959
62445376372B27   PAUL            GRANT                   CO           90013003763
6244538283168B   DANIEL          HOJNACK                 KS           90012523828
6244596A881621   HAYDEE          COLON                   KS           90007139608
6244915455B235   KURTIS          WOLFE                   KY           90009291545
62458268972B27   ERICELA         ALANIZ                  CO           90011052689
6245983A155975   CARMELITA       JOVEN                   CA           90007338301
6246597A35416B   MARISA          BLAIKIE                 OR           90014559703
624727A664B588   SHIRLEY         JACKSON                 OK           90014457066
6247364A633698   FLOR            BERROA                  NC           90013826406
6247583862B949   CELIA           RUIZ                    CA           90011468386
62477599972B29   MONICA          MADRIGAL                CO           90014815999
6247789772B27B   AARON           PARK                    DC           90012788977
6247B425184392   CAMEO           BROWN                   SC           19079554251
624834A5272B29   CHRISTPHER      HOLBEN                  CO           90011384052
62488195672B43   SEFARINA        OLIVAS                  CO           33095181956
62489A81284392   JULUIS          WASHINGTON              SC           90007080812
6248B981991522   JUAN            SANTILLAN               TX           90011599819
62491A46172B29   KRISTINE        KERINS                  CO           90014730461
6249311918B169   EVELYN          DAWN                    UT           90007321191
62493873872B29   EMALEIGH        ROMERO                  CO           90014158738
6249388887B46B   JERMAINE        WARE                    NC           90011028888
62495126757B92   JASMER          SINGH                   PA           90015011267
624971A4381621   GRACIELA        GONZALES                MO           90006041043
6249B388A72B43   ARIANA          CHARGINIGCROW           CO           90012563880
6249B55525B579   MARY            WELCH                   NM           90001675552
624B354A55B531   FRANCISCO       CERVANTES               NM           90012575405
624B4513291552   BENITEZ         GUILLERMO               TX           90006525132
624B587A581621   CATONDRA        MORGAN                  MO           29067418705
624B6472281644   TINA            JONES                   MO           90013874722
624B7268A4B588   BYRON           BOYD                    OK           90014692680
624B7444161964   KIERRA          TUTSON                  CA           90013154441
624B7962572B43   YOLANDA         YBARRA                  CO           90002639625
624BB99912B949   JESSICA         BUENDIA                 CA           90013659991
62514A8692B949   MARCO           PEREZ                   CA           90013750869
625173A3A8B168   DAVID EUGENE    ROLLOW                  UT           90009503030
62518988872B43   CANDYCE         OLONA                   CO           33047299888
6251926918166B   JANET           WAGERS                  MO           90011842691
6251B86895B235   APRIL           CARTER                  KY           68080668689
625235A5891259   TRONDA          CAMPBELL                GA           90010705058
62525A96A5416B   ALANNA          GARDNER                 OR           47065980960
6252981545B235   AMANDA          LOWE                    KY           90012368154
6253177925416B   AMAZING GRACE   POLITO                  OR           90011977792
6253387A455977   SHERYL          QUIROZ                  CA           90010888704
62534928472B43   MAXWELL         BURDICK                 CO           90010499284
62537469672B43   ROCHELLE        WASHINGTON              CO           90012814696
6254343672B949   HUSAM           ESHAQ                   CA           90011834367
6254465388166B   PAM             KHATCHADOURIAN          MO           29006866538
62545A4918B169   STACY           BEARDALL                UT           31061820491
62546449A72B29   JADE            COUSINS                 CO           90010784490
62547199372B29   MELINDA         KIMBALL                 CO           90014901993
62547A4A64B588   DONALD          DICKERSON               OK           90007440406
62547A77472B36   ANDRE           FABRE                   CO           90012260774
6254B496A72B43   BRIDGETTE       SPRINGS                 CO           90013634960
6254B7A792B27B   GEREMIAS        MENJIVAR                DC           81019027079
6255265794B588   TARA            WEST                    OK           90012876579
6255781515B531   GELI            MARCHI                  NM           90013258151
62567A49493762   RANDY           RODEY                   OH           90007780494
6256B575561964   JUDCELL         MORALES                 CA           90014345755
6256B579863646   BRITTNI         BRAUNGARDT              MO           90010665798
62571123672B43   NICHOLAS        PAVLOVICH               CO           90011961236
62571135272B36   ALEXANDRO       CRUZ                    CO           33007781352
625759A4655975   ISELDA          GARCIA                  CA           90013969046
6257989533B125   ZUTEYMA         SERRANO                 VA           90012328953
6257B344191522   ROBERTO         SAPIEN                  TX           90012313441
6257B756881621   CERIDWEN        DLUHOS                  MO           90009957568
6258188953168B   MINDY           GASAWAY                 KS           90009518895
6258456375B531   ISMAEL          MOLINA                  NM           90012875637
62586A5825B235   JULIAN          PAVELK                  KY           90014460582
62588534972B36   STEVEN          RADFORD                 CO           90008885349
6258B11A261936   KENNETH         MULLEN                  CA           90011411102
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6258B232261936   KENNETH         MULLEN                  CA           90013542322
6258B48115B235   SOLOMON         PWAMANG                 KY           90011914811
62593A44451354   GLENDY          ZACARIAS                OH           90011320444
6259436A224B7B   MERCY           ANKOMAH                 KY           90004673602
625958A832B27B   SHINIQUA        BRADY                   DC           90010318083
6259742524B588   TIERRA          ELLIOT                  OK           90009464252
6259B7A4772B27   HEATHER         LYNN ROBINSON           CO           90010217047
6259B874172B27   JASON           KAMERZELL               CO           90014778741
625B2AA8161964   ISMAEL          LOERA                   CA           46014610081
625B412825B531   JESUS           HOLGUIN                 NM           36097131282
625B414884B588   ERICK           CHALI                   OK           90010471488
625B6618333698   TERRA           FLOWERS                 NC           90015146183
625B7633561964   AIOTEST1        DONOTTOUCH              CA           90015116335
6261563732B27B   JONATHAN        ETHERIDGE               DC           90014876373
62615AA1457544   JOSEPHINE       OLIVAS                  NM           90010210014
62618137A61964   HONG            NGEYN                   CA           90012701370
626253A4772B27   DEMETRIUS       ADAMS                   CO           90011423047
62626A19855975   RAUL            LOPEZ                   CA           90015180198
6262718824B27B   MEGAN           BRISENO                 NE           90006001882
62627566472B29   DESARAE         PRIDE                   CO           90013335664
6263199855B235   KHADIJI         POWELL                  KY           90011869985
62631A1997B46B   KEY             JOHNSON                 NC           90011030199
62633A6422B949   DAVID           VILLARIAL               CA           90012680642
6263439435B235   SAMANTHA        JOHNSON                 KY           90013213943
626393A2825288   JANET           COFIELD                 NC           90008833028
62645A52291522   DIAZ            HECTOR                  TX           90014160522
626464A9872B43   JOSHUA          SANCHEZ                 CO           90009584098
6264B796461936   FERNANDES       MAIRA                   CA           90005537964
62653278A51354   JASMIN          HERNANDEZ               OH           90012312780
62654A41A91522   LYDIA           VILLAREAL               TX           90014160410
62656A46172B29   KRISTINE        KERINS                  CO           90014730461
62657848A61936   JESSY           LOPEZ                   CA           90009888480
6265881215B241   MATTHEW         MOHR                    KY           68098258121
6265BA32384392   JAMIE           MANN                    SC           90015020323
6266439412B949   ALISHA          BORGES                  CA           90010643941
6266774337194B   CHERYL          SILVESTRINE             CO           38000847433
6266924A855981   CHRISTOPHER     BAUMGARTNER             CA           90006272408
6266B957A72B29   MIGUEL          SALVADOR                CO           90012929570
62671143672B27   DAMIEN          WALKER                  CO           90008401436
62671481872B55   MELISSA         MARTIN                  CO           90012824818
6267615615B531   SHANTELLE       TRUJILLO                NM           36063051561
6267624A984392   JUANITA         SIMMONS                 SC           90002042409
6267687633168B   DEBRA           WENIGER                 KS           22014858763
6267942875B235   STACY           PASZEK                  KY           90005174287
6267B3A4291522   VALERIA         MADRID                  TX           90011603042
6268433825416B   KRISTEN         RAFFIN                  OR           90012433382
6268791AA63646   JESUS MCEHUEL   MALAGA                  MO           90007519100
6268B68847B46B   ROXANNE         HAMILTON                NC           90006396884
6269432A44B588   JESSE           OLIVER                  OK           90011473204
62695865872B29   BRENDA          MAGEE                   CO           33071828658
62697943172B29   GARY            IJAMS                   CO           33054099431
626B2161255977   JOSE            ESCOBAR                 CA           90012161612
626B4596897121   ISRAEL          NEGRETE                 OR           90012215968
626B7193833698   KWINTA          BISHOP                  NC           90011041938
626B873364B588   MELISSA         SMITH                   OK           90014887336
6271473A24B588   AUTUMN          TAYLOR                  OK           90010187302
627147A7872B36   JOSEPH REY      GUTIERREZ               CO           90010787078
6271486382B949   EDUARDO         LOPEZ                   CA           90004358638
62717A6952B949   DANIEL          RASEY                   CA           90013460695
62718537A84392   HALEIGH         MURPHY                  SC           90009705370
6271956642B949   EDWARD          NAJEEB                  CA           90010825664
627227A1872B27   JUSTIN          HOMAN                   CO           33072807018
627236A2351354   CHERYL          SPARKS                  OH           90013146023
62726A98A55977   CRISTAL         CRUZ                    CA           90013660980
6273215A855977   PRISCILLA       FRANCO                  CA           90013461508
62735483A81644   RAHEME          SMITH                   MO           90014534830
6273686775B531   TAMIKA          MONTOYA                 NM           90011778677
6273B31AA4B588   RANDALL         JONES                   OK           90013413100
6273B916A61936   ALEX            CUELLAR                 CA           90013169160
627426A262B949   KENNETH         CREEKMORE               CA           90013446026
62742718A72B36   ALAN            RAMIREZ                 CO           90010407180
62744395A55975   DANIEL          GONZALEZ                CA           90004763950
6274465A681621   TEE             ROLAND                  MO           90009266506
627459A2172B29   ZACHARIAH       MACK                    CO           90014139021
6274673A74B588   ESTEBAN         SALDANA                 OK           90014817307
6274692432B949   JOSE            JIMENEC                 CA           90014459243
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62746A61472B43   JOSE              JAUREGUI              CO           90012840614
6274B888557544   BILLY             DANIEL                NM           35512498885
6275161215B386   SANDRA            DAVIS                 OR           90001646121
627523A6372B29   DANA              JACKSON               CO           33034113063
62753A31172B43   BRIANNA           FA                    CO           90013230311
6275551A15416B   STEVEN            ROOT                  OR           90001625101
62756578A55977   YARIMA            MENDOZA               CA           90012445780
6275867A555977   ERIKA             GARZA                 CA           90013046705
62759A8317B46B   RAQUANTA          WHITE                 NC           90011030831
6275B214272B27   FLOR              MEDELLIN              CO           90013922142
6276833935B531   GUSTAVO           PINEDA                NM           90004223393
627694A398B168   JASON             SHUMWAY               UT           90014314039
62769A16172B29   TIMOTHY CHARLES   BAUER                 CO           90013750161
62774173A5B52B   MANDY             PERLAS                NM           90009071730
6277447175B531   KERRY             MITCHELL              NM           90013424717
62774A8822B949   JOSEPH            MCKINLEY              CA           90014460882
62778414572B29   DOREEN            VALDEZ                CO           90014964145
6277B988772B43   RUSSELL           LEVI                  CO           90013419887
6278312A22B27B   ROMERO            GUDIEL                DC           90015221202
6278624292B27B   LATISHA           WASHINGTON            DC           90013012429
6278631782B949   RUBEN             ALVAREZ               CA           90013643178
62786481872B55   MELISSA           MARTIN                CO           90012824818
6278B912661974   KATHRYN           BECERRA               CA           90012569126
62796737A63646   MOLLY             BISHOP                MO           90009377370
6279B98425416B   TERESA            BASZLER               OR           47082539842
6279BA66591969   CHIQUITA          GILCHRIST             NC           90012450665
627B39A3181644   JOSIAH            MATT                  MO           29008379031
627B7AAA151354   STEVE             DENT                  OH           90009620001
627B8195772B29   ANTHONY           ABEYTA                CO           90013351957
627B9991991527   ALEJANDRO         URBINA                TX           90014239919
627BB915A81644   ANGEL             WRIGHT                MO           90012499150
627BB958372B27   SARAH             PADILLA               CO           90003509583
6281919513168B   TIFFANY           PHILLIPS              KS           90015331951
6281B14A555975   ALEXIS            ALEXANDER             CA           90012481405
6281B41912B27B   SHASHANNA         PATTERSON             DC           90014324191
6281B453631455   KAT               UNDERWOOD             MO           90010464536
6281B661191522   CLAUDIA           ORDUNA                TX           90011616611
6282428A184392   SHERRISE          CAPERS                SC           90006092801
62826918572B43   KIMBERLY          PADILLA               CO           90014389185
62828342A55975   CRYSTAL           TAYLOR                CA           90011723420
6282875225B235   JAMIE             WILLARD               KY           90007877522
6283166822B27B   ERICA             MOBLEY                DC           90012586682
6283514AA91522   MELENDEZ          LEONARD               TX           90014161400
6283777525B235   TIFFANY           MATTINGLY             KY           90015307752
6283B113525236   JOSHUA            HARRIS                NC           17086271135
6283B412661964   KALANI            MASON                 CA           90014324126
6284534824B27B   DEMETRUIS         SPIGHT                NH           90014743482
62845A57955975   NOEMI             GAXIOLA               CA           90014340579
62848264A5B531   JENNIFER          ROMERO                NM           90011802640
6284887914B588   EULALIA           GAMEZ                 OK           21514848791
6285128695B531   LARRY             LOVATO                NM           90002382869
6285194375B395   JESSICA           SUMERLIN              OR           44512199437
62854A49281644   DARRLY            WILLIAMS              MO           90014950492
6286192554B588   JAZZMINE          JOHNSON               OK           90013219255
6286276122B27B   JOHN              SIMTH                 VA           90013147612
6286491845B531   GLORIA            ANDRADE DE GONZALES   NM           36050789184
6286816A181644   STEVEN            MEDLEY                MO           90013611601
628695A795416B   JEFFERY           EMERALD               OR           90008875079
62869A3558166B   ALYSSA            BYBEE                 MO           90000810355
628716A6984392   DIANE             LAWSON                SC           90011256069
6287655A73168B   SHANE             EAST                  KS           90013905507
6287787197B636   TERESA            WRAY                  GA           90005898719
6287821A171924   KEVIN             GREGORY               CO           90009742101
62881657A5B235   KEITH             BIRDSONG              KY           90010326570
62885893172B36   FRANK             BENALLY               CO           90012078931
6288817487B46B   KANTE             QUAYE                 NC           90009691748
628919A955134B   KATONDRA          COUSINS               OH           90013009095
6289287A261964   MAURICIO          HERRERA               CA           90014188702
628946A3A51354   JUDY              HUGHES                OH           90008546030
62894A8285B531   ANTONIO           BACA                  NM           90014860828
62897A8A381644   MOHAMMED          MUSTAFA               MO           90010560803
628995A198166B   JEFF              LAMMPING              MO           90006085019
6289B51992B27B   KENISHA           JACKSON               DC           90005495199
628B1425A72B43   JORDAN            ORTEGA                CO           90013364250
628B1764177527   JENNIFER          KURTZ                 NV           90004247641
628B2523A2B227   RONALD            SAUNDERS              DC           90002455230
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628B4A12272B36   CHRISTIAN      QUEZADA                  CO           90013190122
628B6238484392   AMRAA          SAENZ                    SC           19073142384
628B8586572B29   CHRISTIAN      RAMIREZ                  CO           90012345865
628B9213255977   JORGE          JUAREZ LOPEZ             CA           49084522132
628B98A7184392   EDWARD         MAZYCK                   SC           90009598071
6291635635B235   MARK           IRWIN                    KY           90013293563
62916918572B43   KIMBERLY       PADILLA                  CO           90014389185
6291963A15B531   KIMBERLY       HOLYFIELD                NM           36074066301
62919A37372B29   ABIGAIL        HERNANDEZ                CO           33088460373
62922687972B27   MARIAN         CARDENAS                 CO           90013326879
6292B79488B168   VALERIE        BAKER                    UT           90010557948
6292B79642B27B   YVES           PAILMA                   VA           90013207964
6293332993168B   JENNIFER       HOLLENSBE                KS           90009623299
6293637994B588   COLE           BULLEN                   OK           90013413799
6293672688166B   TERRENCE       O'BRYANT                 MO           29001407268
6293792752B949   TRISHA         PIRES                    CA           90011109275
6294178167B761   LUIS           REY                      CA           90013977816
62942139A55977   ANTHONY        CURRILLO                 CA           90013171390
629431AA12B27B   SANDRA         CONTRERAS                VA           90011181001
62945A9A82B27B   VERNON         NEWLAND                  DC           81095640908
6294B42243B125   IMANI          JEFFERSON                DC           90014174224
6294B827872B36   ARCEDALIA      DURAN                    CO           33058668278
62952A3222B949   PATRICIA       BRINKLEY                 CA           90012080322
6295424528166B   IVROY          WESTLEY                  MO           90002542452
6295589A572B27   ERYC           THORNTON                 CO           90013718905
6295647269B14B   LOUISE         SWANIGAN                 AR           90011144726
629677A732B27B   FRANCISE       FINCH                    DC           81010737073
62967A46191522   ANTONIO        GARCIA                   TX           75073400461
6297458393B394   GONZALO        AGUILAR                  CO           90014125839
6297466A961964   ERICA          MUNOZ                    CA           90001906609
62974861A2B949   JESUS          MENDOZA                  CA           90010808610
6297536165B531   SAMUEL         FUENTES                  NM           90013023616
6297B42113168B   RACHEL         LUCAS                    KS           90009554211
6298219254B588   LEZENDRA       JACKSON                  OK           90008971925
62985A31855973   LUCRETIA       SWEEDEN                  CA           48084100318
629896A6A91522   ESTEBAN        DE SANTIAGO              TX           90005246060
62989924A33698   JOSE           TREJO                    NC           90013929240
6298B241551354   LUIS           TOMAS RAMIREZ            OH           90012642415
62992657172B37   RODRIGO        MARES                    CO           90013616571
6299637A197B61   JASMINE        VAROS                    CO           90010903701
62996532A4B27B   JAKAYE         JONES                    NE           90010105320
62996A42A55975   EPIFANIO       FERREIRA                 CA           90014420420
6299778A157544   JAMES          AGEE                     NM           90010847801
6299B38415416B   TYSON          DUNCAN                   OR           47030253841
629B129395416B   RENEE          GUTIERREZ                OR           47036002939
629B1A65A72B36   ANGELICA       CANDIA                   CO           33013200650
629B4645455977   NICHOLE        COOPER                   CA           90010646454
629B4818355975   RAFAEL         AYON                     CA           90011138183
629B59A1372B36   YARITZI        CERVANTES                CO           90011409013
629B9942133698   ADAMA          BAH                      NC           90010839421
629BB413633648   TARNELL        MOORE                    NC           90007354136
62B13851484392   ANTHONY        RIVERA                   SC           90009058514
62B1493127244B   BARBARA        PENNICH                  PA           90012689312
62B1532865416B   CRISTEE        PERGAMENT                OR           47007343286
62B1683342B949   LUIS           BOLANOS                  CA           90011438334
62B19344654121   BETTY          ADAMS                    OR           90009733446
62B21967672B43   JOSIE          DURAN                    CO           90012789676
62B23415481621   DULCE          FLORES                   MO           90000494154
62B26127157544   SANTANA        DURAN                    NM           90015121271
62B264A492B27B   LYNN           WEBB                     DC           90000664049
62B27717255977   GLORIA         SANTIANGO                CA           49057587172
62B29553861936   CORINA         PADILLA                  CA           90012915538
62B31398455973   MAURA          CUELLAR                  CA           48060573984
62B3488732B27B   MAYULIS        QUINTERRO                DC           90010668873
62B353A3754121   RYDER          SIMSON                   ID           90014813037
62B36633561964   AIOTEST1       DONOTTOUCH               CA           90015116335
62B38A32525236   BRANDON        JAMISON                  NC           90008600325
62B413A7172B29   JESSICA        BALLESTEROS              CO           90012853071
62B42789554121   ISRAEL         DELGADO                  OR           90013017895
62B437A625416B   YAZMIN         GOMEZ                    OR           90011277062
62B45783972B27   TRUJILLO       APRIL                    CO           90010687839
62B47953657538   JOHN           HUERTA                   NM           90011789536
62B4879375416B   CARMALITA      HOCKLEY-STAIR            OR           90011397937
62B4918683168B   CATHERYN       THOMPSON                 KS           90013451868
62B4B498255977   CELINA         MENDOZA                  CA           90013184982
62B4B654754121   JOSE           CID                      OR           90013356547
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62B4B683A55977   YASMIN          CAMARILLO               CA           49007346830
62B5187115B531   KRISTY          JANDA WAGNER            NM           90010518711
62B5274255416B   MIKE            MORNEAU                 OR           47086017425
62B5286525416B   MICHELLE        RUSSELL                 OR           90009328652
62B5379A655977   ROGELIO         SOLIZ                   CA           90014107906
62B53858633698   TRACEY          GREEN                   NC           90010948586
62B54958A3B391   CHRISTINA       AGUILAR                 CO           90011949580
62B56222A54121   RODOLFO         ROJAS                   OR           90013592220
62B56418684392   DORON           JEFFERSON               SC           90009684186
62B57219624B7B   PAUL            MCMUS                   DC           81011562196
62B579A1381644   DESTINY         JONES                   MO           90011569013
62B5826984B588   TANEKA          HARRIS                  OK           90014392698
62B62541761936   JOHN            SMITH                   CA           90010455417
62B63316884392   SEMONA          CAHILL                  SC           90011423168
62B65A47454121   EDER            LAZARO                  ID           90009350474
62B6745A755977   CONSUELO        SANTOS                  CA           49016394507
62B67588972B29   RAQUEL          ELLIOT                  CO           90011305889
62B6862414B588   GEORGE          CHAMBERS                OK           90010956241
62B69383697121   HUGO            RENDON MEDINA           OR           90011643836
62B6995513B394   JESUS           GUZMAN                  CO           33091129551
62B69A1A284392   JAZMINE         BOMAR                   SC           90014250102
62B6B89A32B27B   DAHLICIA        LEA BOUGH               DC           90006778903
62B72657163646   CALEB           STRUCKMANN              MO           27576286571
62B73A63257544   JOSE            SEGURA                  NM           35503990632
62B7B193172B29   ANTIONIO        GONZALEZ                CO           90013351931
62B82242563646   WILLIAM         TOWLE                   MO           90009772425
62B82999563646   WILLIAM         TOWLE                   MO           90012949995
62B84A6837244B   KELLY           ROCCO                   PA           51069320683
62B87A79163646   AKEEM           LOVE                    MO           90013960791
62B91A76161954   HARALDH         TEJADA                  CA           90010810761
62B93783155975   ERIC            GALAFATE                CA           90013977831
62B9466965B235   ANTHONY         CASEY                   KY           90013936696
62B9813763B125   MARIA           REYES                   DC           90013941376
62B9B288A2B27B   CHIQUITA        RICHARDSON              DC           90012532880
62BB3732891975   LISA            MARTIN                  NC           90010297328
62BB3972657544   SERGIO          GONZALEZ                NM           90015119726
62BB6525933698   COURTNEY        CLAGGETT                NC           90010785259
62BB827947244B   JAMES           SHIPTON                 PA           90012272794
62BB8523954121   FERNANDO        VILLAS                  OR           90012365239
62BB8A71591522   LESLIE          RUBIO                   TX           90011300715
62BB91A947B46B   JERMY           SIMPSON                 NC           90001831094
62BBB28114B588   MINDY           HOOPER                  OK           90010732811
6311198A691522   SWEYSEE         SAENZ                   TX           90014959806
631139A857B46B   JEFFREY         SCERCY                  NC           90013779085
63114A72661936   JEFF            COOK                    CA           90006620726
63116565672B43   JOEL            GONZALEZ                CO           90012185656
6311757125B235   ERIKA           GONZALES                KY           90015125712
631197A727B46B   KAITLYN         MILLIKIN                NC           90014917072
6311B77612B84B   CIERRA          JOHNSON                 ID           90012697761
6311B99A591522   PERLA           DELGADO                 TX           90014959905
6312199A591522   PERLA           DELGADO                 TX           90014959905
6312943445594B   OSMAR ANTONIO   AMAYA                   CA           90014114344
6312BA2468B83B   EDWARD          BASUEL                  HI           90014040246
63137539472B43   ROBIN           FAIRCHILD               CO           90010295394
63138A65A72B27   DANIEL          MCCLARY                 CO           90014080650
63139936A5B252   LISA            ABERNATHY               KY           90010999360
63142415A63646   GAGE            CASTLEBERRY             MO           90011564150
63142474A61964   ROBERT          QUINTERO                CA           90014454740
631444A815594B   PABLO           SALAS                   CA           90011974081
6314629215B235   LASHAE          THOMPSON                KY           90013962921
631477A2957538   DOMINGUEZ       EVEDINA                 NM           35512547029
6314986317B46B   WESSEH          NYEKAN                  NC           90015198631
6314B184491549   GUILLERMO       SAENZ                   TX           75001311844
6314B296855975   RAUL            CORNEJO                 CA           90014902968
6314B861472B36   LISA            MCHENRY                 CO           33082118614
63154422376B54   LUIS            NAVA                    CA           90010394223
6315453415594B   ELIAS           CORONADO ZUNIGA         CA           90014115341
63157566A72B27   DESTINY         CORDOVA ARAGON          CO           90012555660
6315765A772B26   TITO            ESTEBAN                 CO           90009566507
6315867224B268   JAMES           GILLESPIE               NE           27003116722
6315935A72B27B   JOYCE           THOMPSON                DC           90011833507
6315B394887B31   BRIAN           MEREDITH                AR           90010733948
63164A3227B46B   SHANNEN J       VOGEL                   NC           90014900322
63165454872B43   JANIS           ARAGON                  CO           33098714548
6317336984B268   MARIE           NELSON                  NE           27094693698
63178A29755973   REBECCA         LOPEZ                   CA           90012860297
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6317928848B163   KIM             GAUGER                   UT           90008822884
63179423A55977   PETER           DAVIS                    CA           90013684230
6318315833168B   KASHA           FAIRBORN                 KS           90014031583
6318526A187B31   JAMILLIA        EAKES                    AR           28084462601
631852A6561936   JIMMY           SRICHANDR                CA           90010822065
6319122515594B   ANTONIO         HERNANDEZ                CA           48078512251
63191A3A255975   GABRIEL         GASTELUM                 CA           90012860302
6319259775594B   ONECIMO         IBARRA                   CA           90011675977
6319491A651354   TARA            BARNETT                  OH           90012999106
6319613487B46B   SONYA           THOMPSON                 NC           90010281348
63196638A55973   RICHARD         FREUDIGER                CA           90003506380
63199436372B36   LETINA          FOSTER                   CO           90014874363
6319B718825236   OLISHA          TOLES                    NC           90013937188
6319B811891549   PATRICIA        BOTELLO                  TX           90013768118
631B2A6845B235   NANNY           BOO BOO                  KY           68015050684
631B3367887B31   ROSALINDA       CANTU                    AR           28069813678
631B3A45872B26   JAMES           FINLAYSON                CO           90010390458
631B448AA61964   DARSHEL         JONES                    CA           90014404800
631B4559691522   LILLIE          MIRANDA                  TX           90008765596
631B493468B168   JEAN            FROST                    UT           31009249346
631B5186372B26   ANN             SALAZAR                  CO           90005341863
631B7AA6355973   MAURA           CUELLAR                  CA           90007730063
631B8875755983   ASHLEY          ORTIZ                    CA           90006528757
631B93A5291522   JESUS ALFREDO   JIMENEZ                  TX           90014973052
631BB578361936   LASHAWN         KELLY                    CA           90014835783
63211268272B43   RYAN            REYNOLDS                 CO           90013002682
632112A1971968   OROSCO          PADILLA                  CO           90010862019
6321799A484392   JOSEPH          LACHANCE                 SC           90013959904
63218341A91572   DAVID           GOMEZ                    TX           90009123410
6321B854331453   PAT             KELLENBERGER             MO           90009648543
6322385514B268   JESSICA S       MANNION                  NE           27078738551
63223A29755973   REBECCA         LOPEZ                    CA           90012860297
632246A6691522   DANIELA         MORALES                  TX           90014966066
632248A4555973   SIMONA          HUERTA                   CA           90003418045
6322541A98166B   RAYNONND        WEBB                     MO           90009664109
6322833293168B   LATARA          NOLEN                    KS           90012863329
63228827A51342   BETTY           HURD                     OH           90006598270
6322B868661964   BRENDA          COVARRUBIAS              CA           90014698686
6322B942772B26   ROSA            MARQUEZ                  CO           90011459427
63231559472B43   JAZZMEEN        RODRIGUEZ                CO           90013745594
6323359238166B   KATIE           RING                     MO           90010285923
63236277772B29   ANTHONY         DELEON                   CO           90014042777
632376A475594B   VICTORIA        CONTRERAS                CA           90014206047
6323987897B46B   YOLANDA         TURNER                   NC           90013688789
6323BA94355973   TERESITA        RANGEL                   CA           90004300943
63243471472B43   SAMUEL          DEWELL                   CO           90012664714
632434A443168B   ASHLEE          VERBECK                  KS           22009704044
63246A32384392   TRACY           THATCHER                 SC           90013960323
632496AA14B588   JANETTE         COSTIN                   OK           21517016001
6324B43625B235   JOSUE           LOPEZ                    KY           90012424362
6324BA2A561964   ROXANA          MONTES                   CA           90001390205
6325152684B27B   FRANKIE         PARRA                    NE           90012205268
63252227772B43   DOLORES         MAULDIN                  CO           90012722277
6325492A361936   LEIA            MACHADO                  CA           90003029203
6325612444B588   ZACHARIA        RHEAM                    OK           90005311244
6326642A584392   GALE LASHAUN    JOHNSON                  SC           90011024205
63268AA795B531   MARCELA         GONZALES                 NM           90002770079
632736A7655973   CHEALSEA        WOOLAND                  CA           90013536076
63274376A7B479   KAREN           HARPER                   NC           90011563760
6327456AA72B29   MICHELLE        HUFF                     CO           90013125600
6327499252B27B   JAMES           MASON                    VA           90011839925
63277AA9881644   RRASHEENA       DEONA                    MO           90011110098
632797A518B169   DAVID           PET                      UT           90003397051
63279A94331453   JOSE            JOAQUIN                  MO           90010170943
6327B836A61936   CARRIE          BRADY                    CA           90011408360
6327B974771968   ASHLEY          PHILLIPS                 CO           90012089747
6328321677B46B   JULIO           DAVILA                   NC           90013142167
63283446A5416B   CHRISTIAN       MONTES                   OR           90013264460
6328544AA71976   ALYSSA          SANCHEZ                  CO           90013654400
63286962772B43   SILVIA          PARODI                   CO           90014569627
63288841372B29   SELINA          AGUILAR                  CO           90012258413
6329268493168B   D ANDRE         THOMAS                   KS           90013706849
6329541A476B71   MICHAEL         STOUFFER                 CA           90001714104
63295A25654B65   JONHY           ALVARADO                 VA           90010900256
63296798A5B271   TERRANCE        MORRIS                   KY           90012687980
63299A73751354   HEATHER         BECK                     OH           90011570737
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632B1573491522   MONICA         OBANDO                   TX           90011095734
632B644A761964   RANDY          ROWLAND                  CA           90004374407
632B7276472B29   CHARO          FOLLETT                  CO           39013552764
632B9599272B26   JOHNNY         JOHNSON                  CO           90012855992
632B9966291549   MARIA          CHAVEZ                   TX           90013469662
632BB31584B27B   JASON          ROGERS                   IA           90001653158
63312A68672B43   KIMBERLY       CORRAL                   CO           90012920686
6331385847B46B   MANUEL         AJANEL                   NC           90001188584
6331687815594B   MARICELA       VELASQUEZ                CA           90012048781
63319464672B43   JENNIFER       HEGER                    CO           90010964646
6331B916672B26   JAKE           BOBIAN                   CO           90011479166
63323228472B43   ROSARIO        CARDENAS SANTIVANES      CO           33002372284
63326AA8172B26   DANTE          PAGLIASOTTI              CO           90012930081
6332725347B46B   ISAAC          FITZSIMMONS              NC           90014932534
63331A85172B29   ALVIN          AYERS                    CO           33064750851
6333431662B27B   STEPHANIE      ARIAS                    DC           90011843166
63334617A91522   RICHARD        ORNELAS                  TX           90011096170
63339A8A933698   JAYMEE         REAVIS                   NC           90011110809
6333B452372B36   REBECCA        ZAVALA                   CO           90013964523
6333B818272B26   CAPRIE         CARDENAS                 CO           90000808182
6334146737B46B   BENEDICTA      OPPONG AKOSAH            NC           90014874673
6334255485416B   ERNEST         LATTYMER                 OR           90011915548
63348113787B31   POLLY          BRYANT                   AR           90007761137
63348179372B26   KARINA         ESCOBEDO                 CO           90005951793
6334822818B168   KONOR          ROCKHILL                 UT           90011692281
63352365987B31   LEROY          ZUNIGA                   AR           90012703659
6335241715416B   AMIE           ALLISON                  OR           47047534171
6335334A771968   BARRY          MCKAY                    CO           90013443407
6335342A972B29   OSCAR          MANZO                    CO           90012194209
63356587272B36   RUEBEN         ZAMORA                   CO           90011505872
6335666A287B31   MALLORY        MANNING                  AR           28041646602
63358A54925236   DARIUS         OSBORNE                  NC           90013300549
63361A2193168B   JOHN           JOHNSON                  KS           90009390219
6336596445B235   RODRICKA       CAMP                     KY           90014259644
6336881644B27B   LESLIE         ZRUST                    NE           90006978164
63375777472B43   ADRIAN         TREJO                    CO           90012767774
63375A9AA5B271   DILIP          RAI                      KY           90006650900
6337657848B168   LUIS           RIVERA                   UT           90012335784
633765A755416B   JENNIFER       BANPELT                  OR           90013945075
6337744345594B   ROSA           GARCIA                   CA           90013874434
633783A7771976   GREGGOREY      FILES                    CO           90005843077
63381252A7B46B   BRANDON        BONES                    NC           90012502520
63382AA725B235   TIM            OBRYANT                  KY           90012730072
6338826885B235   JENNIFER       HOWELL                   KY           68098892688
6338B417825236   DHYANNA        NEAL                     NC           90012684178
63393A82184392   WALTER         LOUIS                    SC           90010980821
6339546A491549   ARIZBET        RIOS                     TX           90010054604
6339B499387B31   ROGER          SOLES                    AR           90011914993
633B145538B168   TEDI           SORENSEN                 UT           90014794553
633B1636791549   PATRICIA       CHAIREZ                  TX           90014886367
633B1986391549   JACQUELINE     RAMIREZ                  TX           90012939863
633B351324B27B   JESSICA        HOOPER                   NE           27004075132
633B5237891549   ADRIAN         ORTEGA                   TX           90004242378
633B5439771968   DYLAN          FISHER                   CO           90013004397
633B6186261936   MANUEL         BAEZ                     CA           90013631862
633B675467B46B   EVER           DERAS                    NC           90014277546
633B7168372B27   DANIEL         MEADORS                  CO           90011131683
633B7529572B26   OSCAR          ROMERO                   CO           90013655295
633B9956A91549   MIGUEL         ALVAREZFLORES            TX           90014419560
63411A74525236   TERRAOL        STALEY                   NC           90015080745
63412A98355977   SHIRLEY        BREAZELL                 CA           90012960983
63414875A72B66   MARGARITO      FLORES-ADAME             CO           90010678750
63418252772B27   RUBI           VELEZ                    CO           33091902527
6341847A28B168   MARVIN         MOORE                    UT           90014804702
6341961617B46B   ROGERICA       STRAITE                  NC           90010146161
6341B655A71968   KYREE          HOWARD                   CO           90013056550
63423A8735594B   ANTONIO        VALDOVINOS               CA           90014920873
63424673A8B168   HAL            BARFUSS                  UT           90011696730
6342541AA71976   RACHELLE       IRVIN                    CO           90005924100
63429418376B54   SERGIO         CARRERA                  CA           90005804183
6342B875272B43   ANGELINA       ENRIQUEZ                 CO           33034328752
6343312215B235   SUZZANA        CASTANEDA ESCALONA       KY           90010641221
634331A3A72B43   ROBERT J       CARPENTER                CO           33063531030
6343597867B46B   CARLOS         MONTIEL                  NC           90009899786
63436A34A72B43   JOHN           GONZALEZ                 CO           90014850340
63443AA3655977   LILY           RILEY                    CA           90014730036
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6344464497B761   CHRIS          VILIBORGHI               CA           90013766449
63445213772B29   KARON          VONFELDT                 CO           90010792137
6344568A17B46B   LATOYA         MCVAY                    NC           90013316801
6344B446A55973   FERNANDO       COLASO                   CA           90012894460
6344B75798B168   LACEY          COMBS                    UT           90014807579
6344B96518B169   JUSTIN         GOODWIN                  UT           31096949651
6344BA43181622   ANGELICA       MARTINEZ                 MO           90012550431
634526A8525236   TANYA          MASON                    NC           90010256085
6345615355416B   MELISSA        RAMIREZ                  OR           90012401535
63456357572B26   GATRELL        WILLIAM                  CO           90011283575
63457A9A671968   STACI          TILLMAN                  CO           90010090906
6345823485594B   JOSE           FLORES                   CA           90010602348
6345884A481644   BLANCA         MERLOS                   MO           90013028404
6345B5A585416B   VENESSA        GUTIERREZ                OR           90010385058
6346225347B761   WILL           CARTER                   CA           90013982534
63466A4AA72B26   KIERH          BURGER                   CO           90014150400
63467275272B43   ISREAL         MEJORADA                 CO           90001702752
63467754A51354   TYLER          GIBSON                   OH           90013837540
6346B299471968   CHRISTIAN      DOMINGUEZ                CO           90004302994
6347119585B235   PAUL           SPICER                   KY           90014711958
6347676316196B   ALEX           TELESFORD                CA           90010217631
6347772A48B569   SOFIA          SEGUNDO                  CA           90014167204
634799A4972B26   KEVIN          WILLIAMS                 CO           90012479049
63481718A72B36   ALAN           RAMIREZ                  CO           90010407180
63482A35891522   GONZALEZ       JESSE                    TX           90002410358
63483A79733698   JOSHUA         RODRIGUEZ                NC           90007820797
634869A8571968   BILL           BANKUS                   CO           90014699085
63486AA3291522   JOSE           MONTANEZ                 TX           90014980032
63487914A72B36   BRENDA         LOPEZ                    CO           90006829140
6348B653A91522   URIEL          MEJIA                    TX           90011096530
6349372A88B168   SHARRON B      FOWLER                   UT           31008317208
6349521AA31453   ANTHONY        GARAVAGLIA               MO           90010422100
63497A51371968   JOHANNA        PEARSON                  CO           32021950513
634985A538B168   CASTRO         RAMIRO                   UT           90000395053
634B2374661936   RUBEN          DIONISIO                 CA           90010093746
634B2444772B26   ANGEL          CAMARENA                 CO           90013604447
634B5545A7B46B   KEESHIA        BISHOP                   NC           90010805450
634B7A45891549   GERALD         BACA                     TX           90010370458
634B9189333698   SHAKERYA       JACKSON                  NC           90010841893
634B9822561936   ROMAN          ANGULO                   CA           90014638225
63513AA734127B   JASON          DICKER                   PA           90008140073
6351771A791549   ROSA           AGUILAR                  TX           90013437107
6351B418561936   VALERIE        OSOBAMPO GERARDO         CA           90013794185
6351B76A355973   JESUS          TURNER                   CA           90014467603
63521133972B43   IVY            CURRY                    CO           90014121339
6352192A261936   REYIANNA       WHITE                    CA           90014309202
63523277672B36   GUADALUPE      CORONA                   CO           33031132776
635237A9655973   CYNTHIA G      RIZO                     CA           90010337096
6352469A671976   DANIEL         MASON                    CO           90006976906
635254A8525236   EMMA           LYNCH                    NC           90012544085
63527A3625594B   BLANDINA       GARCIA                   CA           48047180362
6352B644281691   PEDRO          MANCIA                   MO           29070456442
63532A5A672B43   LARRY          CLARK                    CO           33004720506
635357A2155975   KAITLYNE       BODOH                    CA           90007327021
63536459672B27   CARLOS         CAMARILLO                CO           90011354596
635374A5125236   TYRONE         WATKINS                  NC           90011104051
6353874755B235   MATTJEW        HOWELL                   KY           90013107475
63546711472B26   LIZA           MARTINEZ                 CO           90010827114
6354989AA7B46B   EBONY          HEADEN                   NC           90013238900
6355245249184B   JACKLYN        MOORE                    OK           90010734524
63552A83271968   JOANN          MOWDY                    CO           90013730832
63553A88272B27   JULIAN         FOLEY                    CO           90013080882
63554315272B26   MELODY         WRIGHT                   CO           90014393152
6355445A65594B   PEDRO          SANTIZO                  CA           90007284506
6355448A998B22   OMAR           COCHRANE                 NC           11085654809
635547A2172B27   JOSEPH         GIRON                    CO           33054097021
63557393A8B169   DAKOTA         LUCAS                    UT           90003403930
63562235A91549   GRACIELA       FIERRO                   TX           90008702350
63563478772B26   BRIAN          COOKS                    CO           90009174787
6356697A881631   MADDISON       WARMINGTON               KS           90005839708
63569229787B31   RANDY          MORGAN                   AR           90007812297
635723AA14B27B   ROBERT         BUSKEVICIUS              NE           27068333001
6357252635594B   NONE           NONE                     CA           90007255263
6357353245594B   TAMRA          SANCHEZ                  CA           90003325324
6357787984B27B   NEVA           LONGSTRETH               NE           90013238798
63578A94191522   CARLOS         ROACHO                   TX           90001820941
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6358282A161964   MARIA          RAMIREZ                  CA           46003668201
6358466A784392   SADE           COOK                     SC           90000876607
6358471375416B   CHARLES        TRESCH                   OR           90015097137
63584911172B43   SOE            AYE                      CO           90010389111
63588137372B26   SCOTT          MALACHAI WILLSON         CO           90014341373
6358869398B169   MARCELA        GOMEZ                    UT           31093766939
63588918A81644   JUANITA        GARCIA                   MO           90001809180
6358B8A9984392   DESIDERIO      SUT                      SC           90008638099
6359274A884392   WLY KELLY      VICENTE                  SC           90009637408
6359B656625236   LASHONDA       WIGGINS                  NC           90011096566
635B1779A55975   DAVID          LOPEZ                    CA           90002987790
635B212195594B   DAMIAN         MARMOLEJO                CA           90015041219
635B2169A5594B   JORGE          LUZ ESTRADA              CA           90011931690
635B3452271976   KIMBERLY       KENISTON                 CO           38013854522
635B3968872B27   KANAN          ARKAWAZY                 CO           90011909688
635B499A826267   MUHAMAD        ISMAIL                   VA           90001539908
635B6235391549   BLANCA         KRESSLER                 TX           90014002353
635B9213655975   JOHN           MCCUNE                   CA           48028442136
635B9411555977   NICK           KOVAC                    CA           90014154115
635B9927272B43   RODRIGO        SANDOVAL                 CO           90015319272
635BB864461964   KAI            GIBSON                   CA           90008028644
6361198987B46B   TARVINCE       HALLMAN                  NC           11088609898
63612314772B26   THANEA         MARTINEZ                 CO           90006023147
63613778A72B32   MICHELLE       FORSYTHE                 CO           90008797780
63615286372B26   KIMBERLY       FXFORD                   CO           90010822863
63615786272B26   DEANDRA        JAUREQUI                 CO           90009367862
6361614A855977   DARITHA        WILSON                   CA           90012331408
63616386587B31   JENNIFER       GEATHERS                 AR           90011083865
63616931A87B31   WENDY          HYMES                    AR           90010399310
6361786985594B   SIRENA         PAREDEZ                  CA           90006568698
6361789138166B   YVETTE         GONZALEZ                 MO           90004208913
6361831845B235   TONYA          MICKEY                   KY           90012133184
6361848854B562   NOREEN         TATE                     OK           90010884885
63619A8A571976   JEANETTE       ABREU                    CO           90011810805
6362271917B46B   SHANNON        PLYLER                   NC           90014547191
636262A8172B26   VICKIE         SANTISTEVAN              CO           33004582081
6362711353168B   KENNETH        WILLIAMS                 KS           90014761135
6362745753168B   JOSE           LIMON                    KS           90011334575
636278A5471968   JUAN CARLOS    CHAVEZ                   CO           90012448054
6362B963A72B27   MARINA         ARRITOLA                 CO           90010749630
63632A6935416B   ANDREW         DELORME                  OR           90000840693
63636687324B7B   EDWIN          PEREZ                    DC           90008006873
6363B91345416B   KELI           BEEMER                   OR           90007979134
6363BA71191522   ELVA           MARTINEZ                 TX           90014980711
6364135A871968   DERRICK        GIBSON                   CO           90005233508
63647274A7B46B   QUECIA         LOPEZ                    NC           90014932740
63649111A72B26   LORETTA        ROMERO                   CO           33032881110
6364992A155975   ANDREA         LOPEZ                    CA           48076249201
636522A935B271   CHRISTOPHER    WOODRUM                  KY           90006922093
6365329578B169   PETER          TREANOR                  UT           31071872957
6365553138B168   CYLE           THOMPSON                 UT           90013545313
63659A29755973   REBECCA        LOPEZ                    CA           90012860297
6365B382972B26   IDA            DOMINGUEZ GARCIA         CO           90009283829
636625A7371968   JANELL         BERNAL                   CO           90008255073
63664998A8B169   ELIZABETH      GARCIA                   UT           31096879980
6366545A97B46B   TATYANA        CARMONA                  NC           90011214509
6366719A13367B   ASHLEY         MARTIN                   NC           90008811901
63669136787B31   MISTY          DRENNEN                  AR           90013601367
6366959317B46B   QUANTIZES      TERRELL                  NC           90013455931
6366993888B168   VINCENT        SILVA                    UT           90013919388
6367174176B244   DEBRA          ERICSON                  AZ           90014187417
6367246777B46B   TAURICE        STWE                     NC           90011214677
6367274176B244   DEBRA          ERICSON                  AZ           90014187417
6367342A772B43   TYLER          TANNER                   CO           90011394207
636735A2255977   FILOGONIA      SANCHEZ                  CA           90009885022
63675644A8166B   AMPARO         GOMEZ                    MO           90001126440
6367643A691549   LUCY           GONZALEZ                 TX           75072624306
6367B7A6731456   JAMES          SWYERS                   MO           90015127067
63684215372B26   BRITTNEY       BAILEY                   CO           90013832153
63684AAA25594B   KRYSTAL        CONTRERAS                CA           90005930002
6369181713168B   NICK           DOCKERS                  KS           90013738171
63692193572B26   ROXANNE        ALVAREZ                  CO           90012951935
63693765672B26   AARON          JOHNSON                  CO           90011567656
6369793415B374   LISA           STANLEY                  OR           90011439341
636983A285B531   ANTHONY        GUTIEREREZ               NM           90007213028
63698AA1171968   ELIZABETH      WHITE                    CO           90012240011
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636B1354461936   JERRY             SANCHEZ               CA           90012603544
636B6A56191522   DANIEL            NAJERA-QUEZADA        TX           90014980561
636B7458971968   JUSTIN            LABARD                CO           90013614589
636B7912497122   TRISHA            JACKSON               OR           90007589124
636B815777B46B   MELISSA           LOVE                  NC           90013231577
63713712672B26   GENARO            OLIVAS-PEREZ          CO           90012737126
6371445653168B   KRISTIE           BOARD                 KS           90010254565
6371472555B235   GREG              MCCLOURE              KY           90006257255
63717252872B27   DESTINY           LEE                   CO           90014412528
6371844435594B   SAYDA             PEREZ                 CA           48064624443
637188A7772B26   ARIANA            KASPER                CO           90013298077
63718A46931679   DARIEN            ANTOLDI               KS           90013860469
6371B767125236   MONICA            VINES                 NC           90011127671
63721A56831453   CARMESHA          SUTTON                MO           27592120568
6372B7A4A61936   TRUONG            NGUYEN                CA           90012887040
63731731272B36   ANGEL             GONZALES              CO           90010927312
63732961A91549   JAVIER            MEZA                  TX           90012039610
63732A4835B271   MARIELA           OROPEZA               KY           68054410483
63734A79372B26   JAMIE             AYALA                 CO           90007000793
6373553A755973   KEIVI ELIZABETH   SORTO                 CA           90013705307
63735737487B31   SHERMA            GREEN                 AR           90009237374
63736796572B43   YADIRA            VALENTE               CO           90011507965
63736982972B26   TEODORA           AGUIRRE               CO           90013789829
6373768754B268   CHRISTINA         CROFFER               NE           90010186875
637384A5691522   ANA               TAVAREZ               TX           90011114056
6373854124B27B   DONALD            GOSWICK               NE           27091205412
63742349272B29   JUAN ANTONIO      HERRERA               CO           90013103492
6374363A872B26   CHARITI           FRIEND                CO           90013406308
637439A438B169   JENNAY            TORRES                UT           90006529043
637463A5884392   NAJEAL            THEIL                 SC           90014933058
6375523958166B   GUADALUPE         MOLINA                MO           90010562395
63755989A91B28   NICLOE            WILLIAMS              NC           90013909890
6375B28848B163   KIM               GAUGER                UT           90008822884
63769A76963646   TINA              RUSHWORTH             MO           90013390769
6376B28325B235   BRANDI            BARNES                KY           90009952832
6377196A97B46B   ALFERDO           CARAMUTTE             NC           90013859609
6377258635B271   RICHARD           BLAIR                 KY           90013145863
6377296938166B   MERCEDES          WILLIAMS              MO           90011529693
6377314AA61964   BRENDA            ROJAS                 CA           90012091400
6377358598B168   JUAN CARLOS       URBINA                UT           90011715859
6377475894B27B   KATRINA           BUTLER                NE           90013837589
637788A5271968   OMAR              BAUTISTA-CUEVAS       CO           90013038052
63779989A4B27B   CLINTON           FAIRGOOD              NE           90006749890
6377B13457B392   MONICA            MENA                  VA           90000441345
63781255372B43   TONY              VAGIANOS              CO           90004222553
6378367995B235   PAT               HUNTINGTON            KY           90011486799
63786287272B26   STEPHANIE         HULL                  CO           33096672872
63789A3365594B   BLANCA            MORALES               CA           90012160336
6378B141463646   DEAN              FOSTER                MO           90002711414
6378B71AA55975   ERLINDA           POMPA                 CA           90013687100
6378B75155594B   LYNN              RESENDEZ              CA           90006947515
6379129A663646   KATHLEEN          HYDAR                 MO           27598312906
637918A754B27B   ANGEL             GLOVER                NE           27006758075
6379266165B271   SHERRI            LINCHAN               KY           68046256616
63798782776B54   DAISY             TREJO                 CA           90006527827
637992AA333698   JOANA             BOLANOS               NC           90004092003
637B139255416B   TRAVESS           GRAHAM                OR           90011203925
637B195898166B   HANNAH            WILSON                MO           90009199589
637B2984172B26   MARIBEL           GARZA                 CO           90011119841
637B4264A71976   DAINA             PACHECO               CO           90011822640
637B7586487B31   SHEILA            BROWN                 AR           90009325864
637B835A391549   DANIEL            GRELL                 NE           90012413503
637B8571725236   JAMIE             ATKINSON              NC           90012775717
637B9A63425236   MARK              FUSE                  NC           90011390634
637BB5A1972B36   YESHAREG          YOHANNES              CO           90003835019
63814468A61964   KIPPERR           BELL                  CA           46003534680
6381563A872B26   CHARITI           FRIEND                CO           90013406308
638183A4372B26   RAY               REYNOLDS              CO           90014543043
63819692587B31   BRANDI            COOKSEY               AR           28028966925
6382315515416B   STACY R           WEST                  OR           90012061551
6382458724B946   TANYA             CLOUD                 TX           90011175872
63824983A55975   SILVIA            VARGAS                CA           48092689830
6382574455B235   AUBREY            HIGDON                KY           90015147445
6382B2A7161936   CHRIS             SKI                   CA           90014432071
6383845A751354   SAMANTHA          MORGAN                OH           90003624507
63841A48271968   ANGELA            MARTINEZ              CO           90010180482
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63844516A87B31   MARIA          RUFUS                    AR           90011515160
63846716A33698   NICOLE         PRESSLEY                 NC           90014197160
6384749875594B   ANNECIA        SANCHEZ                  CA           90006514987
638479AA683289   PAT            LUCAS                    TX           90012989006
638485A655B235   ASHLEY         SMITH                    KY           90010285065
63852813572B36   TIJO J         SANCHEZ                  CO           90012408135
63852A2595B235   ROBBIE         SIMMONS                  KY           90014680259
6385948225416B   WENDY          FROST                    OR           90012684822
638599A6355975   JESTINA        MARTINEZ                 CA           90012559063
63861A91A71968   SASHA          FINAN                    CO           32067830910
6386589A44B27B   HILDA          OROZCO                   IA           27017088904
6386B328931453   FRANCHESKA     SANFORD                  MO           90008103289
63875146A3168B   JOHNY          BRANAUGH                 KS           22080811460
6387672555B235   GREG           MCCLOURE                 KY           90006257255
6387859912B27B   SHANTA         STANLEY                  DC           90002495991
63884754572B29   FILOMENA       VENEGAS                  CO           90013817545
63885438587B31   FARRAH         YOUNG                    AR           90014154385
638871A7355975   SELENE         TAPIA                    CA           90011361073
6388916797B46B   SHANIECE       SPRINGS                  NC           11077361679
6388BA32451354   WILLIAM        BLACK                    OH           90008940324
6389114515594B   JORGE          RODRIGUEZ                CA           90012101451
6389142134B588   JENNIFER       CAMPBELL                 OK           90001664213
6389183922B27B   AHMED          ABDULLAHI                VA           90002658392
6389358845594B   MIGUEL         RODRIGUEZ                CA           90010615884
6389381523168B   MARIA          VILLAGRANA               KS           90013428152
6389479A35B235   LATRICE        LANGDON                  KY           90011337903
6389616328B168   TRENTON        SIMPER                   UT           90012891632
638B254474B27B   PAN            FLORES                   NE           90015195447
638B4311771976   RALPH          LANTIS                   CO           90011843117
638B5186355977   AMANDA         HENDERSHOT               CA           49074621863
638B519518B168   DAVID          SHUPE                    UT           90012801951
638B6386A55975   TIFFANY        CARRILLO                 CA           90002853860
638B6497A55977   MANUEL         PEREZ                    CA           90012084970
638B649A772B43   CLUDIA         PEDROZA                  CO           90010764907
638B783A77B46B   MONICA         LUCKEY                   NC           90009648307
63911347A71968   SHANNON        HOUNCHELL                CO           90009903470
63911659A31453   ORAMOS         MARTIN                   MO           27521166590
63912A45A55977   ROGELIO        URISTEGUI                CA           90013250450
6391451365594B   LETICIA        BOOKER                   CA           90005055136
6391486885B389   KYRON          BARROW                   OR           90007948688
6391677585594B   ISABEL         GARCIA                   CA           90011897758
63917431272B29   MARIO          RAMIREZ                  CO           90007274312
63917623A5B921   RANDELL        HOLECEK                  ID           90009546230
639181A7755975   OMAR           ESPINOZA                 CA           90011361077
63919375A61936   BRET           HARY                     CA           90014183750
6391B48A555975   MARIA          CEBALLOS                 CA           90002774805
6391B8AA491522   ESMERALDA      RODRIGUEZ                TX           90011098004
63923A8A15B235   HENRY          HAZLEY                   KY           90013070801
639265A794B27B   SPYRIDON       HASKOS                   IA           90014725079
6392821135B368   FERNANDO       AVILA                    OR           90008062113
6393445135416B   KATHLEEN       TIDRICK                  OR           47004834513
63936A9768B168   KEITH          BAKER                    UT           90011730976
63937121172B36   CIRO           RAMIREZ                  CO           90012591211
6393768375B241   CHAD           DERRINGER                KY           90006886837
639419A7872B26   SAM            SOUTHWORTH               CO           90011219078
639434A2461964   TRACY          STEELE                   CA           90012994024
6394978A172B26   BRENDA         PEREZ                    CO           33058067801
6394B411171968   OSAYANDE       OMOMOH                   CO           32005224111
6394B518A55977   BLANCA         CARMONA                  CA           90007935180
6395251A172B29   HUMBERTO       ARROIOS                  CO           90013385101
63956528172B36   EDDIE          AGUSTIN                  CO           90014155281
6395884695B235   DAMION         CARBY                    KY           90013458469
639591AA455973   LYNZIE         TORRES                   CA           48034841004
63959778972B27   HASSEN         SHARIE                   CO           90010797789
6395999745416B   PAYGO          IVR ACTIVATION           OR           90014939974
639617A6376B54   CHRIS          PORTER                   CA           46014387063
639643A3A5B235   DARIUS         WILSON                   KY           90012933030
63966287172B26   MEAGAN         PEREA                    CO           90012762871
6396678135594B   ADRIAN         PETERSON                 CA           90012727813
63966789372B43   RAUL           ARAMILLO                 CO           90003597893
63967399672B29   CARLOS         RESENES                  CO           90012913996
639687A5571968   SALVADORE      TORRES                   CO           32016087055
639734A6457129   KEITH L        FLEURY                   VA           90005004064
639745A7455977   DAVID          CASTRO                   CA           90012085074
63976339972B26   CHANITO        GAGA                     CO           90006743399
6397B751971968   FAITH          JOHNSON                  CO           90013207519
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63982317A9715B   MATTHEW        HOMER                    OR           90004103170
63987162272B36   DONALD         PHANEUF                  CO           90013201622
639896A5891549   CARLOS         ORONA                    TX           90010386058
6398BA1755416B   CALEB          FULLER                   OR           90012140175
63991995A72B26   LUIS           BENITEZ                  CO           90013259950
6399516328B168   TRENTON        SIMPER                   UT           90012891632
63997441772B29   AUDRA          RUSELL                   CO           33071974417
639985A7655977   FATIMA         BRYANT                   CA           90011025076
63999A5165594B   YANET          ARREOLA                  CA           48034700516
6399B249591522   ALMA           CASTRO                   TX           75044662495
639B387A884351   NATHAN         GRAFF                    SC           90011478708
639B584583168B   KYRENE         KUHRT                    KS           90014418458
639B692323168B   LOWELL         LAMB                     KS           90010069232
639B7313372B43   ALICIA         RIBOTA                   CO           90012813133
639B7494372B36   TERESA         MOLINA                   CO           33049524943
639B8857661964   KENDRA         LIZARRAGA                CA           90010088576
639B8879491549   LUCIA          NATION                   TX           90011468794
639BB538472B27   SHARON         CARPENTER                CO           90009845384
63B132A495B271   CODY           LEE                      KY           90004012049
63B15541A85949   CONNIE         STOLZ                    KY           90000445410
63B169AAA4B952   KIRSEY         CRAWFORD                 NC           71022649000
63B17779655977   FABIAN         BARAJAS                  CA           49048867796
63B17934A3168B   SHANE          URBAN                    KS           90010149340
63B1863525B235   DEKUANEEQUE    JONES                    KY           90011446352
63B18993161964   SHERRY         BORRAYO                  CA           90014949931
63B1B74227B46B   KETURAH        HOFF                     NC           90011207422
63B22148331455   TANIKA         WHEELER                  MO           90003551483
63B22255233698   CHARLES        FLETCHER                 NC           90009492552
63B23169261964   ANA            RENTERIA                 CA           90009691692
63B23474172B36   STEPHANIE      VARGAS                   CO           90011724741
63B24495A5416B   DONNA          GIOVENCO                 OR           90009174950
63B2574A98B168   GENEVIEVE      WIRTH                    UT           31040637409
63B2579A291549   MICHAEL        DAVIS                    TX           90004977902
63B25933655973   SHERINA        MOORE                    CA           90007039336
63B2645525B235   PEDRO          PEREZ-GOMEZ              KY           90001564552
63B31318572B27   GILBERT        FERNANDEZ                CO           90007633185
63B32354291522   KARINA         GONZALEZ                 TX           90005353542
63B35A6125B271   JONA           JOSEPH                   KY           90010250612
63B36711572B29   THOMAS         ROEMMICK                 CO           90009327115
63B38141371976   MATTHEW        LIRA                     CO           38093821413
63B38748455975   LUIS           GOMEZ                    CA           90010827484
63B39595455973   MELISSA        MORALES                  CA           90014585954
63B3B185A71968   CHRISTINA      MONTOYA                  CO           32046221850
63B3BAAA625236   DANIEL         DE LA CRUZ               NC           90008090006
63B4231297B46B   LAVINE         GOODWIN                  NC           90013883129
63B4371145594B   ROSE MARY      JOSEPH                   CA           90010567114
63B445A1972B29   KASSANDRA      PALMER                   CO           90008715019
63B45661691549   MIRANDA        GONZALEZ                 TX           90014426616
63B4596A55B235   GREGORY        MASTERS                  KY           90014609605
63B4638495416B   JASMAN         BEATTY                   OR           90013323849
63B4668734B268   BRANDY         RICHARDS                 NE           90005386873
63B46746155977   JEROMY         SWANK                    CA           90011317461
63B47193487B31   GUADALUPE      LOPEZ                    AR           28038301934
63B49262672B43   JASMINE        JONES                    CO           90012362626
63B4B942672B27   AMALIA         RUIZ CANAHUI             CO           90013249426
63B5125347B46B   ISAAC          FITZSIMMONS              NC           90014932534
63B52351491549   GRACIELA       ROMERO                   TX           90014613514
63B52393272B29   JANNET         ESCALANTE                CO           90012193932
63B52814A51354   ABIGAL         FABIAN                   OH           66009138140
63B52828255973   MARIA          YANEZ                    CA           90002068282
63B5379295594B   SUSANA         ROSALES                  CA           90002357929
63B54993355977   JOEL           BARRAGAN                 CA           90013899933
63B57718825236   OLISHA         TOLES                    NC           90013937188
63B57A2657B46B   MICHEAL        CARL                     NC           90013140265
63B5816A381644   JERRY          NEWSOME                  MO           90010851603
63B5885867B46B   XAVIER         BROWN                    NC           90010228586
63B5B26448B168   TAYLOR         ANGELL                   UT           90012952644
63B5B7A265B235   MIKE           PENDERGEST               KY           68017777026
63B61937791522   DIEGO          RIVERA                   TX           90014959377
63B62763633698   CHARLES        LASH                     NC           90012437636
63B64276251354   OTIS           HITT                     OH           90014172762
63B64A49463646   RYAN           MARSHALL                 MO           90009810494
63B66881584392   KWAMANE        GOSS                     SC           90014758815
63B69A58461964   MONICA         NEGRETE                  CA           90013580584
63B69A96872B29   CARLA          ROSAS                    CO           33094370968
63B6B617172B27   LEROY          QUINTANA                 CO           33025396171
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63B72479871968   JUAN           CAMPOS                   CO           90010064798
63B727A6663646   FIDEL          ORTIZ                    MO           90013567066
63B72863772B43   EDGAR          GUZMAN                   CO           90007948637
63B7355A755993   SILVINO        PENA                     CA           90005905507
63B73787172B29   DARWIN         MIRALDA                  CO           90011467871
63B74143191522   MANUEL         RAMIREZ                  TX           90014521431
63B74277372B27   CHRISTY        FESTER                   CO           90003492773
63B74487291549   JAMIE          CHAVEZ                   TX           75029204872
63B75721461964   GUILLERMO      CORRALES                 CA           90011127214
63B75A77691549   ASTANEDA       MARIE                    TX           90009230776
63B77429772B29   TYKESHA        SIMONS                   CO           90009234297
63B78747455977   MARQUEZ        LUNA                     CA           90011317474
63B7B71218B168   EDGAR          ORTIZ                    UT           90012667121
63B7B9A552B27B   ANDRE          BULLOCK                  DC           90011829055
63B8148173168B   THOMAS         MCNEILL                  KS           90013314817
63B818A4655975   DENISE         RODRIGUEZ                CA           90014168046
63B821A533168B   ABDULKAREEM    AHMED                    KS           90014941053
63B82A5135B235   IRMA           ACOSTA                   KY           68003790513
63B86272891522   GUSTAVO        MACIAS                   TX           90011572728
63B87281284392   ERIC           NIELSEN                  SC           90013342812
63B8917535594B   MIGUEL         FLORES                   CA           90012931753
63B89477472B36   ADRIANA        ALEMAN                   CO           90014914774
63B91523571968   SHAUNICE       TURNER                   CO           90012655235
63B91716A71976   REBECCA        GLICK                    CO           38097597160
63B919A6191549   SASHA          SANCHEZ                  TX           90014109061
63B937A4872B29   CHRIS          JONES                    CO           90012807048
63B94958991522   ROSA           RUIZ                     TX           90014959589
63B95532455975   RUBEN          RAMIREZ                  CA           90012555324
63B97118A72B36   DAVID          MONSON                   CO           90011391180
63B973A6961964   JOSE LUIS      PELAEZ                   CA           46012013069
63B976A7572B27   JERROLINE      JUMBO                    CO           33094516075
63B97A9742B938   MICHAEL        WADDELL                  CA           90007850974
63B9858724B946   TANYA          CLOUD                    TX           90011175872
63BB3329485646   MARVIN         MARTIN                   NJ           90002393294
63BB413417B46B   AGGIE          BOULWARE                 NC           90010331341
63BB573A471976   BRENDA         YOSHIMURA                CO           90011027304
63BB5755A3168B   JUSTIN         DRAKE                    KS           90012627550
63BB6325191522   TANNIA         BARAY                    TX           90011183251
63BB713375416B   IBRAHIM        COULIBALY                OR           47025761337
63BB77A9755973   VALERIE        CANTU                    CA           90012267097
63BB8A6A391549   MANUEL         GARAY                    TX           90014060603
64111A55A55977   ROSE           DURAN                    CA           90013690550
6411641A261936   JUSTICE        ARREGUIN                 CA           90014764102
6411722557B46B   JOSE           CRUZ                     NC           90012262255
64123722487B31   TONYA          LEIGOTT                  AR           90009767224
64127267172B29   JUAN           PICAZO                   CO           33063512671
64127AA647B357   JUAN           BARRERA                  VA           90006220064
64128AA6591998   MICHELLE       EVANS                    NC           90013290065
64129A2A372B27   NICHOLE        HULSTROM                 CO           90012110203
641327AA161961   ERIC           MILLER                   CA           46012907001
6413367625B271   YUSMARY        SUAREZ- FABELO           KY           90005686762
641355A5476B49   CYNTIA         LASTRE                   CA           90015145054
6413779A761961   OMAR           ROMERO                   CA           90012837907
6413813485416B   MICHAEL        SPEAKLANDER              OR           90013801348
64138A4A25416B   BRIAN          SWEENEY                  OR           90012390402
6413956462B27B   THELMA         SCOTT                    DC           90013645646
6414282124B588   SHELVA         WILSON                   OK           90012008212
6414B695161964   ANTHONY        HINOJOS                  CA           90009266951
6414BA89371968   VANESSA        MENDOZA                  CO           32030480893
641522A2872B43   CHRIS          GALLEGOS                 CO           33090262028
64152457872B43   TINA           DAILEY                   CO           90015184578
6415959215416B   JAMIE          GABOURY                  OR           47011325921
6415B376A57555   DEIDRA         CHAVEZ                   NM           90010213760
6415B754185886   SHANE          RUNALLS                  CA           90012857541
64166217A5416B   WILLIAM        MAPFUMO                  OR           90012902170
6416784274B588   DESTINIE       NEWMAN                   OK           90014098427
64167A68831453   SHARON         DESALVO                  MO           90011270688
6416824A791562   DENYS          PALMA                    TX           90011172407
6416949A461961   YAZLII         MENDEZ                   CA           90012054904
64169816A2B27B   OTEIA          JONES                    DC           90013708160
64169895576B49   CHARITY        JUGO                     CA           90004138955
6416B826191522   GUILLEN        MONICA                   TX           75016168261
64172136A72B36   ERIKA          CRESPO                   CO           90012681360
6417661574B588   CHRISTY        LEWALLEN                 OK           90012776157
6417B19A361964   MARTIN         ROMO                     CA           90012301903
6418156522B524   TOMIKA         GOSA                     AL           90013965652
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6418326842B27B   DARIUS         DAY                      DC           90011222684
6418357257B46B   ANDERSON       OSVALDO                  NC           90013265725
6418458744B588   TERRI          WOODS                    OK           90010715874
6418539385593B   MARIA          GONZALEZ                 CA           90012463938
64187522772B43   HASAAN         NELSON                   CO           90014715227
64195A3137B46B   LARRY          GREENE                   NC           90013870313
6419631932B27B   BRENDELL       SMITH                    DC           90012203193
64196553972B43   JEREMY         LEE                      CO           90013325539
641968A9476B49   MARIA          SAN LUIS                 CA           90014188094
6419789A957555   JOE            LOPEZ                    NM           90011088909
6419981A376B49   AMARIZ         SANCHEZ                  CA           90014188103
6419B538763646   ALONSO         DELGADO                  MO           90010975387
641B1975A61936   DAWN           REDD                     CA           90011139750
641B4148285886   HOLLY          SHORT                    CA           90000711482
641B4244871968   RYAN           BELL                     CO           90013252448
641B4526255973   MARIA          PULIDO                   CA           48055185262
641B4961591525   ANA            QUEZADA                  TX           90012689615
641B5496376B49   DOMINIQUE      DISANO                   CA           90012184963
641B693AA57555   JOSEPHINE      PEREZ                    NM           90008509300
641B7A9494B268   WILLIS         CAMPBELL                 NE           27073430949
641B8253572B36   ANDREW         APPLEQUIST               CO           90012222535
641B9911451338   KAMI           KELLEY                   OH           90011149114
641BB972755975   ARACELI        JAIMES                   CA           90013159727
6421232272B27B   KRYSTAL        LEE                      DC           90002603227
64212A48261936   ARACELY        MARTINEZ                 CA           90012870482
64214147787B31   ALONZO         MCCUISTON                AR           90014601477
64214781A2B27B   JENSEN         JENSEN                   VA           90014517810
6421678A74B27B   ERIK           MYERS                    NE           90013817807
6421B742781675   ADELAIDA       CONTRERAS                MO           90013127427
6421B824976B49   LARRY          HERNADEZ                 CA           90014188249
6421B885855973   AMORITA        LOPEZ                    CA           90012838858
6421BA1943168B   VELDA          STONE                    KS           90010810194
64224A2354B27B   REYES          BLANCO                   NE           90013930235
6422595354B27B   MIGUEL         PEREZ-GARCIA             NE           90012349535
6422864A855975   ALBERTO        PIZANO                   CA           90011906408
6422989545B271   ANTOINETTE     JILES                    KY           90005288954
6422B4A9357555   JASMINE        RIVERA                   NM           90012494093
6422B827576B49   GERARDO        ORTIZ                    CA           90014188275
6422B952591998   BRITTNEY       WHITE                    NC           90011109525
64232834576B49   BRIAN          ELEAZAR                  CA           90014188345
64232A42985886   JOSE           ARCEGA                   CA           90014180429
6423331474B27B   SONIA          LOYA                     NE           90014713147
64234275A84392   CHERLONDA      SNYDER                   SC           90004862750
64234362A72B43   TONY           VELAQUEZ                 CO           90013203620
6423555938B168   STAR           HERNANDEZ                UT           90010215593
6423597A47B46B   ADRIAN         FIELDS                   NC           90010389704
6423671A95B235   JESSICA        KNOTT                    KY           90012357109
64238835476B49   DAVID          HUERTA                   CA           90014188354
6423B52923168B   GABRELLA       BROOKS                   KS           90013635292
6423B613591522   ALFREDO        VAZQUEZ                  TX           90011026135
6424134574B27B   TYLENA         TUCKER                   NE           90015113457
642421A3291998   SAMUEL         REYES                    NC           90011831032
64242325198B22   BENI           LUTALADIO                NC           90001823251
642477A2A4B27B   JENNIFER       TAYLOR                   NE           90010237020
64249848776B49   DAWN           SILVA                    CA           90014188487
6425196645B235   MARQUEASE      RICHARDSON               KY           90014909664
64252247372B27   DANIEL         GARZA                    CO           90010102473
6425284A555975   JAMIE          VAUGHT                   CA           90011308405
6425385A976B49   DULCEQ         RODRIGUEZ                CA           90014188509
6425526615B271   CHRIS          BENNETT                  KY           68068192661
6425539A257555   ALESHIA        NELSON                   NM           90013793902
6425696577B423   DANNY          GRIFFIN                  NC           90001369657
64259852576B49   EDWIN          ROJAS                    CA           90014188525
6425B337271968   LUVON          SANCHEZ                  CO           90012353372
642624A715B235   SONIA          NALL                     KY           68085814071
6426313235B241   KRISTINA       DUNLAP                   KY           90003521323
64265499772B43   EMILY          GRIMLAND                 CO           90012204997
64267568A5B385   JULIE          GARCIA                   OR           90012585680
64268517A7B46B   MELSON         DUARTE                   NC           90001895170
64269AA3572B43   ERIC           ANDRE                    CO           90013740035
6427359452B223   ELMER          ORTEGA                   DC           90001145945
64276294A91562   DENISE         SEGURA                   TX           90012322940
642769A7271968   SAUL           RIOS                     CO           90014249072
6427772715B921   JIM            HILL                     ID           90012827271
6427B38874B588   TYANN          MCCORKLY                 OK           90010143887
64282273A7B357   JAMES          LEWIS                    VA           90011622730
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64286298172B36   FERNANDO       MORENO                   CO           90011792981
64286896872B36   PATRICIA       MARTINEZ                 CO           33006078968
64287855136B93   .              FRANSISCA TINAJERO       OR           44519458551
64287A84A5B241   BRITTANY       WILLIAMS                 KY           90014570840
6428862A391522   ELIZABETH      ROCHA                    TX           75043106203
64288857776B49   SHARKEISHA     THOMPSON                 CA           90014188577
6428919415B531   MONICA         VIALPANDO                NM           90010901941
6428925A455977   RAY            RODRIGUEZ                CA           90014812504
642894A5A91522   TODD           BONNER                   TX           90005564050
64291858576B49   MARIA          MARIA                    CA           90014188585
6429186835B235   WILLIAM        WOOLEN                   KY           90015158683
6429286A691522   DANIEL         RODARTE                  TX           90009418606
64294A61191998   JASMINE        FULTZ                    NC           90011110611
642966A7881675   MILTON         BROWN                    MO           90011306078
642978A134B27B   BRANDY         REED                     IA           27052608013
6429887A757555   LAURA          VALERIO                  NM           90011008707
64299AA4585886   JUSTIN         ROBERTS                  CA           90005160045
6429BAA335B241   SUSAN          DINGES                   KY           90012990033
642B1745576B49   RAUL           SANCHEZ JR               CA           90010457455
642B216967B46B   LATASHA        MCCOY                    NC           90012741696
642B2723825236   JOHN           SMITH                    NC           90010857238
642B274497B329   JAIRO          MILIAN                   VA           90010677449
642B3598361936   MIRELLA        DE ORENDAY               CA           90013335983
642B3954585886   JAVIER         PILLANO                  CA           90012869545
642B449597B46B   WILSON         HERNANDEZ                NC           90012304959
642B4757384392   MIKAYLA        AIKEN                    SC           90014897573
642B4A1A971968   JESUS          TORO                     CO           90009800109
642B5139872B29   MARIE          LANG                     CO           90012901398
642B6111191562   JUAN           RIVERA                   TX           90013631111
642B6428285689   MARCIAL        PEREZ                    NJ           90011054282
642B6812276B49   ELIZABETH      TZINTZUN                 CA           90014188122
642B7A37761936   SONIA          URENA                    CA           90011140377
642B8942155973   ELIZABETH      GARCIA                   CA           48007259421
642BB112161961   TIM            BURTON                   CA           46003671121
642BB41A361936   AYAN           SHEIKH MOHAMED           CA           90014774103
6431736968B168   NENNA          CURRY                    UT           90004403696
6431869A661936   TIMOTHY        LEONARD                  CA           90012846906
6431B57347B46B   NORMA          GARCIA                   NC           90013355734
6431B626191562   JOSEPH         MEDINA                   TX           75097656261
6432427A361964   ULISES         FLORES LARIOS            CA           90013002703
6432881378B168   JOSH           GARZA                    UT           90009458137
6432B45A22B27B   MYKEDA         SMITH                    DC           90001984502
6432B641851337   LEAH           STIDHAM                  OH           90011026418
643315A3791562   ERIKA ANNY     AIZA                     TX           90010345037
643315A8791562   ANGELA F       SANCHEZ                  TX           90012785087
64332A43187B31   NECOLE         BARBER                   AR           90010990431
6433658A42B27B   ABDULLAH       NOORISTANI               DC           90009805804
6433918A52B27B   NATAUSHA       JONES                    DC           90004601805
6433979A561961   CARINA         AQUINO                   CA           90014857905
6434312A957555   MICHAEL        RODRIGUEZ                NM           35566031209
64343627872B29   MICHAEL        CARMA                    CO           90013016278
64343957A57555   BOBBY          MENDOZA                  NM           90012429570
6434631344B588   CALVIN         SANDERS                  OK           90014123134
64346573972B36   ISAIAH         JOHNSON                  CO           90012825739
64348319676B49   ROGELIO        MENDEZ TORRALVA          CA           90015163196
6434B11178B168   VALERIA        SANCHEZ                  UT           90011141117
64352A48684392   MIRANDA        MILLER                   SC           90014120486
6435589418B168   JOSE           SILVA                    UT           31081238941
643619A4571968   VIEANE         PENA                     CO           90010669045
6436565A661961   SVETLANA       POPA                     CA           90015146506
6436579A24B27B   MALLORY        MARSH                    NE           90013627902
643658AA691522   PRISCILLA      FLORES                   TX           90004778006
6436813A885689   MARIO          MARURI                   NJ           90014751308
64368197A91998   ANDREA M       BATTON                   NC           90003401970
64368327272B43   LAURA          LAMOUREAUX               CO           90014013272
6436B326485689   JULINA         VARGAS                   NJ           90014593264
6436B779885886   ALEJANDRO      DE LA MORA               CA           90014187798
64371986472B43   JOEY           BANEULOS                 CO           90014229864
64375A8A151338   TIM            MAKLEM                   OH           90008370801
6437B6A1355977   KONG           YANG                     CA           90012446013
6438243A455973   RICARDO        MORENO                   CA           90013334304
6438364165B241   DEKEYBREEON    JONES                    KY           90008956416
64385839472B29   DORA           SCHAUSS                  CO           33068008394
64385A8865B395   MELISSA        BEAVER                   OR           90011610886
64386A78125236   KENYA          DALE                     NC           90005220781
643896A1585689   JOVANA         RIVERA                   NJ           90011306015
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6438B75187B46B   MIKE           WASHINTON                NC           90013867518
64391522A61961   ENRIQUE        GARIBAY ANGULO           CA           90014445220
64392321A2B27B   SHAUNICE       CRAMPTON                 DC           90003403210
64394A65851338   VICENTE        CAMPOS-RAMIREZ           OH           66093720658
6439653942B27B   FINESSE        GRAVES                   DC           90011225394
6439896724B588   MARIO          RODRIGUEZ                OK           90010019672
643996A2872B29   MELIA          YELVERTON                CO           90011356028
643B191928B168   TRAVIS         GAY                      UT           90008059192
643B19A5872B29   SAN JUAN       TAFOYA                   CO           33073169058
643B2431755975   LORENA         RAMIREZ                  CA           90012054317
643B458A957127   VARNEY         KIADII                   VA           90008455809
643B5941961961   JOSHUA         SUMMERS                  CA           90012789419
643B6414561961   JESSICA        BAUTISTA                 CA           46013244145
643B769448B168   CONNIE         WALLENTINE-GOSS          UT           90011216944
643B7A3885416B   BRIAN          MCCLAY                   OR           47023290388
643B97A787B46B   FEDD           PULIDO                   NC           90012177078
643BB86AA76B49   CRISTEL        BLANCO                   CA           90014188600
64414944676B49   ELISEO         VARGAS                   CA           90001389446
64415A92972B27   DANIELLE       ZABORSKY                 CO           90014330929
64416959A5B241   NATASHA        CARDONA                  KY           90001839590
64417564898B22   JOSE           LEON                     NC           90005515648
644178A1151338   JACK           MARTIN                   OH           90013348011
6441974A563646   AMANDA         ONGER                    MO           90011487405
6441B385687B31   BARBARA        BELL                     AR           90013353856
644233A8384392   CARLISHA       COARDES                  SC           90011233083
64425158972B27   ANDREW         VERKAIK                  CO           90012701589
6442763232B27B   NEBIYOU        TADESSE                  DC           90003356323
6442842A284392   FRANCISCO      REYES                    SC           90012664202
6442887665B53B   CARIN          COFFEY                   NM           90007778766
64428882A72B29   REUEBEN        BENAVIDEZ                CO           90013708820
6442B35632B269   KIESHA         RAYFIELD                 DC           90012553563
6443111253168B   BRET           MOORE                    KS           90012651125
6443113A485689   SHEENA         HUNT                     NJ           90013041304
6443263A161964   AIOTEST1       DONOTTOUCH               CA           90015116301
64434978A4B27B   AMBER          HOLSAPPLE                NE           90013649780
64434A84291562   JUAN           LEAL                     TX           75069950842
6443712235416B   JUSTIN         BLOMKVIST                OR           90014131223
6443745A372B36   CAMERON        GUSE                     CO           33045004503
644377AAA51337   ANTHONY        DILLINGER                OH           90011127000
644379A1755977   DOMINGO        QUINTANILLA              CA           90011459017
64439122A4B588   ALAN           REGALADO                 OK           90010021220
644435A4A71968   JEROLD         ROSKIN                   CO           32094545040
644455A1261961   RIA            BOLT                     CA           90003445012
6444687535416B   ETHAN          GALLOWAY                 OR           90013698753
64446A19981675   MATTHEW        RUSSELL                  MO           90013620199
6444B511663646   MICHAEL        STATLER                  MO           90013705116
6444B654741261   JONATHAN       BUTTER                   PA           51004766547
6445472A785689   RENEE          FAISON                   NJ           90013037207
6445B264751338   SHARON         LUMPKIN                  OH           66005432647
6446363285B241   MEDOZA         MEDOZA                   KY           90012996328
64469A56597127   JUSTIN         IVEY                     OR           90011800565
6447294765B241   JOSH           COOPER                   KY           90013119476
64472A58872B43   LAVINA         GIOIA                    CO           90012830588
6447329242B27B   JORDAN         JAMES                    DC           90013872924
6447642A591998   HECTOR         ESPARZA                  NC           90012684205
6447859365416B   DAGMAR         ARBOGAST                 OR           90010725936
6447B522785689   LUIS           LOPEZ                    NJ           90007175227
6448315378B168   ALONZO         RILEY                    UT           90011321537
6448673A725236   DEA            ROSE                     NC           90010857307
6448771A524B7B   KHLOE          HILL                     DC           90010847105
64489758A72B27   ROMNEY         MARQUEZ                  CO           90012047580
6448B26A187B31   JAMILLIA       EAKES                    AR           28084462601
644951A4184392   JOCELYN        WILSON                   SC           90005031041
6449541A972B43   ANISSA         LUCERO                   CO           90010694109
644961A3355975   SERGIO         RAMIREZ                  CA           90011191033
6449964857B46B   WILLIAM        FUSSELL                  NC           90013336485
6449B567963646   CARISA         HITE                     MO           27502525679
6449B814885689   CLARISSA       COSSABON                 NJ           90012308148
6449BA42651337   JOHNNY         JACKSON                  OH           90011530426
644B2897125236   DENIZ          TAYLOR                   NC           90011138971
644B2935351338   WILLIAM        RAINS                    OH           90008619353
644B3757761964   SUEMYRA        SIERRA                   CA           90012677577
644B629962B27B   TIFFANY        BARBETT                  DC           90012062996
644B6962291998   LATASHA        WING                     NC           90011209622
644BB128A55977   ANDREA         RUIZ                     CA           90012111280
645115A1161961   AZUCENA        VILLAGOMEZ               CA           90010795011
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64514844A8B168   MARLON          HEBRON                   UT           90001868440
6451625A184392   NICHAEL         DORICH                   SC           90002232501
64518795187B31   VINCENT         PARKS                    AR           90011067951
64521564898B22   JOSE            LEON                     NC           90005515648
6452244372B27B   LINDA           WHITFIELD                DC           81016834437
64525722A91998   CARLOS          CHAVEZ                   NC           90012997220
64526A85324B64   RICHARD         RAYFORD                  DC           90014440853
6452854A75B531   JOSE            ZAPATA                   NM           36048025407
64529296272B36   BARTON          MCDANIEL                 CO           90012942962
64533A22491998   DIANTE'         CRUMEL                   NC           90005830224
64534A4465B235   DANAE           CALDWELL                 KY           90011340446
6453676678166B   CHRIS           BOWERS                   MO           90008697667
645371A7461936   DARSHELLE       LAMAR                    CA           90005111074
6453893894B27B   SARAH           BROWN                    IA           90007919389
6453893A27B46B   JAMIE           MAILMAN                  NC           90009659302
64538AA8672B43   MEDINA          ESPARZA                  CO           90007580086
6453B756387B31   JOHN            TAYLOR                   AR           90014167563
645425A8191998   SIESTA          SMITH                    NC           17041945081
6454329242B27B   JORDAN          JAMES                    DC           90013872924
64545986172B29   CARLA           HARRIS                   CO           90012329861
64546138372B29   SHANNON         BAKER                    CO           90003221383
645468A4885886   MOISES          ORGUNA                   CA           90006268048
64549A84A57555   NORMA           ORTIZ                    NM           90010840840
6454B39AA61936   NAELY           SERRANO                  CA           90012383900
64553AA8451352   DEIDRE          THOMPSON                 OH           90005850084
6455427A84B588   WENDY           HOUSLEY                  OK           90003952708
6455459A13168B   SAMANTHA        COUNTS                   KS           22093145901
64554699A61936   VERONICA        MANZO                    CA           90009166990
6455551935B241   PATRICIA        MCKEEHAN                 KY           90014055193
6455689394B588   TRIXI           LIERMAN                  OK           90011108939
64557A12351338   JYNNA           LEE                      OH           90013480123
6455B868461964   CRISTAL         MIRANDA                  CA           90014638684
6456298178B529   ANGEL           PACHECO                  CA           90014169817
64564A93455975   ROBERTO         LUENGA                   CA           90002130934
6456597A376B49   ALBERTO         VALENCIA                 CA           90012839703
64569526A55977   PATRICIA        THOMAS                   CA           90014915260
6456953A75B271   WHITNEY         COX                      KY           68064455307
6456B872485689   REBECCA         AMES                     NJ           90012388724
6457133122B27B   JAYSHAWN        ALEXANDER                DC           90012063312
6457189773168B   JOSEPH          MANYAGA                  KS           90010098977
64572123A91562   HILDA           CHAVEZ                   TX           90014441230
64573A44387B31   CHRISTOPHER     WHITE                    AR           90011060443
64574228A55975   SERGIO          GONZALEZ                 CA           90014022280
64575A4315B235   THOMAS          ODELL                    KY           90012060431
64576459A72B29   JESSE           THOMAS                   CO           90013784590
6457687892B27B   MICHAEL         JONES                    DC           90010118789
64576A47433698   LARETHA         GLADDEN                  NC           90011390474
6457BA63971968   JACINTA         LOVATO                   CO           32027730639
6458168A67B46B   EULALIA         CARNOVALE                NC           90003856806
64586445387B31   TAMEKA          HENRY                    AR           90010264453
6458B433885689   DANNY           REYES                    NJ           90014004338
64591A7775B235   DAMON           WALLACE                  KY           68004600777
6459627368166B   STEVEN          TOTH                     MO           90008712736
6459631222768B   JOSE            DELAROSA                 VA           90013943122
64596333A91562   JESSICA         VARGAS                   TX           90002973330
6459787A261964   BRENDA          MIRAMONTES               CA           90012798702
645979A9891562   LIZBETH         ACOSTA                   TX           90009579098
6459863A172B29   ESTHER          GANDARILLA-DUARTE        CO           90011356301
64599379A72B43   ANTONIO         EYETOO                   CO           90009823790
6459954923B374   AARON           RIOS                     CO           33082805492
64599A6462B27B   GABRIEL         ALFARO                   DC           90011370646
645B1A97881675   DOUGLAS         BASS                     MO           90013360978
645B224919715B   ABDI            AHMED                    OR           90007142491
645B2676336B93   DANIEL          SOTO                     OR           90009836763
645B3458231453   KIAIRA          BOWDEN                   MO           90011274582
645B4169391562   SANDY           PADILLA                  TX           90014381693
645B4451361964   ANTONIO         BROWN                    CA           90013154513
645B4781176B49   ERIKA           CONTRERAS                CA           90013097811
645B5312872B27   PENGLY          MAM                      CO           90012883128
645B569942B271   MORGAN          ZIFF                     DC           90006476994
645B6477261964   JESUS           MARISCAL BENITEZ         CA           90012984772
645B6587484392   RAHNELL         MACKEY                   SC           90011235874
645B6A26384392   KEROL           CORAM                    SC           90014420263
645B959AA91562   FUENTAS         JESIKA                   TX           90010185900
645BB93928B168   AMANDA          R WOODS                  UT           90010779392
6461169AA87B31   PRINCE          SMITH                    AR           90014626900
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6461427595B241   LYNNICE        BERKLEY                  KY           90012012759
64616322676B49   ROSA MARIA     ZAMORA                   CA           90007913226
646163A7872B29   CLOVER         ZIGLAR                   CO           33029243078
6461997897B46B   CHARMAINE      COOK                     NC           90013069789
6462254755B241   SHERICE        FRANKS                   KY           90010805475
64622A44555975   DONNA          SUMMERS                  CA           90013140445
6462541857B46B   JOHN           CACHO                    NC           90010874185
64628A45687B31   COREY          BOOKER                   AR           90014630456
6462933512B27B   JAMES          PEACE                    DC           90009483351
64629487A51337   G.DANIEL       KUNTZ                    OH           66030454870
64629A99987B31   JAMIE          JONES                    AR           90014630999
6462B82354B588   ALESHA         MONTGOMERY               OK           90014158235
6463488A291562   MARIE          CERVANTEZ                TX           90013838802
64636431376B49   SAMMI          JUAREZ                   CA           90011254313
6463853684B588   WAYLAN         NUSZ                     OK           90010985368
6463884534B588   NATHAN         SANDS                    OK           90014158453
6463B85265416B   GAIL           HURST                    OR           90011968526
6464255A757555   DEIDRA         CHAVEZ                   NM           90014165507
64644517876B49   CHAZMON        HEMPHILL                 CA           90011885178
64644844A72B29   IRMA           BARRERA                  CO           90013028440
646464A1672B43   ROBERT         HYATT                    CO           90003544016
6464676464B588   ROBIN          SAZO                     OK           90010027646
64647216676B49   EDRIK          CONTREEAS                CA           90011972166
64647571A72B29   HENRY          CHIRINO                  CO           33068025710
6464776794B588   JACQUELINE     GORDON                   OK           90014157679
646498A894B27B   STEFFANIE      POPE                     NE           90010258089
64652328A81644   MIGUEL         GUERRERO                 KS           90014153280
64652748A8166B   JORGE          BALDOVINOS               MO           29001647480
64653285572B22   MARLON         VAZQUEZ                  CO           90005892855
6465B619772B29   LILIA          GONZALEZ                 CO           90012386197
6466112A385689   ELADIO         ALAVEZ                   NJ           90014191203
64661234387B31   TASHA          SMITH                    AR           90014642343
646612A9251337   SOLETHA        BERRY                    OH           90003982092
6466181265B241   MARISELA       LOPEZ                    KY           90012558126
646624A9591522   NOEMI          HERNANDEZ                TX           90011404095
64664259A91998   ERIN           JEFFRIES                 NC           90011762590
64664A6995416B   FELIPE         MARTINEZ                 OR           90013800699
64665965187B31   ANTONIO        SAENZ                    AR           28080559651
646698A8676B49   RODRIGO        RENDON                   CA           90011258086
6466B345351337   MARTELL        WILLIAMS                 OH           90013933453
6466B513771968   ELISA          BOSLEY                   CO           90014715137
6466BA3977B46B   STEPHANIE      STEFFES                  NC           90008230397
646777A6272B36   MAXINE         CARRILLO                 CO           90012847062
6467889745416B   JOSHUA         LAUBE                    OR           90002348974
64679667372B36   DIRAE          DELGADO                  CO           90009936673
6467B631892836   VICTOR         PUEBLA                   AZ           90013976318
6467B651698B22   PRINCESS       WHITE                    NC           90005546516
64681582676B49   ALEJANDRIN     MORALES                  CA           90001475826
6468221744B588   JOSE           GUTIERREZ                OK           90010222174
64682A55681644   ARYANNA        GORDON                   MO           90012300556
6468439185416B   AMANDA         BENITEZ                  OR           47083143918
64684979A5B235   JESSICA        MADDOX                   KY           90011919790
6468578474B549   JESSY          KEEN                     OK           90009417847
6468584AA55977   ANGELITA       MENDEZ                   CA           90007738400
6468894293168B   PANCHO         VILLA                    KS           90013919429
6468B267155975   GEANIE         HOSLER                   CA           90013462671
6469239254127B   LEAH           ROBERTS                  PA           90013673925
64693386A91522   ELENA          FERNANDEZ                TX           75073973860
6469422725416B   CELINA         DONALDE                  OR           90003062272
6469512822B27B   OMAR           GREATHEARRT              DC           90011231282
6469575955416B   JOHN           POPE                     OR           90012457595
6469683892B27B   BRITTANEY      AUSTIN                   DC           90014228389
6469B468351337   WILLIAM        THOMPSON                 OH           90001134683
646B1283861961   YVONNE         JOHNSON                  CA           90013272838
646B3544571968   CRISTIANA      LYNN                     CO           90012305445
646B4557472B27   ASHLEY         DUMBLETON                CO           90009295574
646B4637251338   MAGGIE         FERDON                   OH           90012166372
646B517165B235   RICHARD        SMALL                    KY           90014701716
646B569A661964   TIMOTHY        LEONARD                  CA           90012846906
646B75A945B235   KENNETH        NICOULIN                 KY           90013515094
646B8429791998   CRYSTAL        BETHEA                   NC           90011244297
646B867A584392   JOSE           MENDOZA-REYES            SC           90014906705
646BB993761972   MANUEL         RUBIO                    CA           90011079937
6471221428B168   MICHAEL        FERGUSON                 UT           90010202142
6471432A891562   MARIA          GONZALEZ                 TX           90011103208
6471519292B27B   BFERYTYT       DFGDVDFBD                DC           90011481929
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64715A7832B27B   STANLEY        ANDERSON                 DC           90012970783
64718A47A2B27B   ANTHONY        GREEN                    DC           90012990470
6471B439355975   RENE           CASTRO                   CA           90005994393
6471B479461964   MARIANA        MORALES                  CA           90011594794
64722386A91522   ELENA          FERNANDEZ                TX           75073973860
647257A2791522   DESIREE        GUERRERO                 TX           90010417027
64727768772B27   THOMAS         FITZGEROLD               CO           90012847687
64729AA9687B31   TRACIE         JONES                    AR           90014730096
6472B76615B241   DR. G          HAROLD BYERS JR          KY           90008297661
6472B76A471968   JESUS          CORONADO                 CO           90012797604
6473126515416B   LAURIE         DONAHUE                  OR           90009442651
647339A294B27B   KELLI          PHILLIP                  NE           90005179029
64737999476B49   EDUARDO        PANTALEON                CA           90012839994
6473877417B46B   JAJUAN         COSTNER                  NC           90013217741
64738A8A357555   JOSHUA         SANCHEZ                  NM           90013820803
64739626976B49   SAMUEL         RAMIREZ                  CA           90012876269
64742112872B27   BARRY          WATTS                    CO           90014641128
647437A2661961   ISRAEL         VILLALOBOS               CA           90014927026
64744752687B31   AUDREY         HEARD                    AR           90014757526
64745752687B31   AUDREY         HEARD                    AR           90014757526
647462A6351337   JORGE          TEHUINTLE                OH           90011412063
6474716815B271   DELVONDA       MCCRARY                  KY           90013621681
6474B3A9455975   AMBER          MAHUVIEN                 CA           90007683094
6474B973191522   ALBA           APRIL                    TX           90011109731
64753A8A357555   JOSHUA         SANCHEZ                  NM           90013820803
6475443675416B   RYENN          WINSTON                  OR           90014904367
64754518A72B27   STEVEN         DECENICK                 CO           90014825180
6475522837B46B   JEFFREY        RHONE                    NC           90012762283
6475629A371968   GUADALUPE      PEREZ                    CO           32018482903
6475756835B241   PAMELA         CROWE                    KY           90012425683
64758752687B31   AUDREY         HEARD                    AR           90014757526
6475B18524B588   ASHLEY         WEIDENMAIER              OK           90014161852
6475B75A251337   JEANITA        CUMMINGS                 OH           90014647502
64761752687B31   AUDREY         HEARD                    AR           90014757526
6476189285B241   KRYSTAL        CARNEY                   KY           90014368928
64761A2624B588   BRANDI         WHITE                    OK           90010040262
64762318672B43   JOSHUA         WORLEY                   CO           90013733186
64765A4564B588   JUAN           FLORES-MARTINEZ          OK           90010040456
6476788272B27B   INDIA          COTTON                   DC           90011888827
64768417872B36   MAILORN        SMITH JR                 CO           90014004178
6476985412B27B   TYLER          HAWKINS                  VA           90014348541
6476B2A8A85689   FREDY          RAMOS                    NJ           90010822080
6476B4A875B241   MARISSA        SULLIVAN                 KY           90013054087
6476B615361964   TERRIE         LOVE                     CA           90010566153
6477165A261961   KARINA         ORTIZ                    CA           90012886502
64771878572B36   YANE           RUBIO                    CO           90012348785
64771A39757555   ARMANDO        GUTIERREZ BACA           NM           35507500397
6477612865B235   JERMAINE       WILLIAMS                 KY           90013331286
64776295972B29   ESTRELLA       JARAMILLO                CO           90011882959
647782A535B271   PHLANESHA      BLAND                    KY           90000922053
64779285987B31   YURIDIA        ZUNIGA                   AR           90014762859
6477B358351337   JAMES          LAINHART                 OH           90013933583
6477B559A36B93   ANGELICA       RAMIRES                  OR           44539765590
647837A8785689   JENNIFER       RIVERA                   NJ           90014847087
6478442A761961   TIFFANY        BUZAN                    CA           90014974207
64789A73284392   JAMIE          MUCKELVANEY              SC           90013030732
6478B116825236   SAMANTHA       DUNSEITH                 NC           90007531168
6478B17182B27B   LISA           EARLE                    DC           90012851718
6478B826A72B43   SERGIO         MARTINEZ                 CO           90012158260
6478B84465B241   CHRISTIANE     YOPP                     KY           68083968446
6479219152B27B   MARIA          NUNEZ ABUNDEZ            DC           90006281915
6479533A457555   ISAI           SALCEDO                  NM           90013823304
647996A5A41261   MARLON         GREENWADE                PA           90010196050
647B3A32391562   NANCY          CHAVIRA                  TX           90011320323
647B4626787B31   CRYSTAL        MCALISTER                AR           90014726267
647B549472B27B   WENDY          YOUNG                    DC           90014694947
647B613512B27B   ERIC           LINDSAY                  DC           90009821351
647B6556551337   IVAN           TOLBERT                  OH           90010015565
647B8A3685B235   MICHELLE       JAGGERS                  KY           90009400368
647BB112872B29   DARLINE        HARDEN                   CO           90014841128
6481343675416B   RYENN          WINSTON                  OR           90014904367
6481595A984392   DEBORAH        SINGLETON                SC           90010329509
6481637895416B   JUSTIN         MEDERO                   OR           90013193789
6481887585B235   GOMEZ          FRANSISCO                KY           90000158758
64822486A55977   RONALD         PINEDA                   CA           90013094860
6482376264B268   AMY            MOTA                     NE           90005517626
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64825159872B29   CHISTOPHER         BACA                 CO           90011871598
6482852523168B   GERARDO            GONZALEZ             KS           90000685252
64829193976B49   ALEXIS             ORTEGA               CA           90013021939
6482B331A4B588   ADRIANA            LADEZMA              OK           90014163310
64831522672B43   SANTANA            NELLY                CO           90011855226
64835413572B43   AMBER              PARIS                CO           90011304135
64835A1AA4B27B   JOSE               MARTINEZ             IA           27026420100
64836A83855973   RANDY              FLORES JR            CA           48047590838
6483964883168B   CHRISTINE          ENEY                 KS           90009096488
6484653725B235   ZANDRA             CATES                KY           90012985372
6484734492B27B   DESEAN             MARABLE              DC           90012583449
64847841772B43   RAMON              TORRES               CO           90009088417
6484882287B46B   JILLISA            MCMANUS              NC           90006708228
648515A2391522   KATRINA            RILEY                TX           90010875023
6485179975B283   BRIANNA            JACKSON              KY           90014707997
64853A19A51338   KRISTIN            PRINGLE              OH           66006700190
6485459467B761   CHRIS              PACHL                CA           90013305946
6485641A451338   DAVID              PAXTON               OH           90012424104
648588A1172B29   BRIANA             JESSICA              CO           90008598011
6485931A684392   HOWARD             GORE JR              SC           19092883106
6485B525691562   JOSE               MORIEL               TX           90011085256
64861445387B31   TAMEKA             HENRY                AR           90010264453
64866A79657555   CASSIDY            BUSTILLOS            NM           90002280796
6486851A64B268   ADRAIN             WESTCOTT             NE           27096105106
6486B69514B27B   DEBORAH A          LEMR                 NE           27039666951
6486B987661936   BRYAN LEE          PACKWOOD             CA           90014079876
64875277A61961   YADIRA             AHUMADA              CA           90013992770
64875799376B49   SANCHEZ            DAISY                CA           90005117993
64876A62371968   DELFINA            GARCIA               CO           90015140623
6487B775455973   ARMANDO            GONZALEZ             CA           90014367754
6487B85A787B31   BENITA             HARRELL              AR           90005878507
6487BA57571968   ADOLPUS            MATHIS               CO           90012090575
6488228A755975   CHRIS              RAMERIEZ             CA           90013712807
6488413165416B   THOMAS             MAXWELL              OR           90008821316
648849A1191522   NAJELLY            CERECERES            TX           90005409011
6488557495B235   GORE               MOMINICK             KY           90011955749
6488877557B46B   PAM                WHITE                NC           90004457755
64891324A85689   NASSIA             PENDELTON            NJ           90012713240
6489684844B27B   MONIQUE            FANNING              NE           90014908484
64898254576B49   FRANK              GAGLIANO             CA           90012492545
6489967155416B   TRISTAIN           PARKS                OR           90010456715
648B372632B27B   CEDRIC             ASHFORD              DC           90013057263
648B6597281644   CIARA              DULL                 MO           90013065972
648B7386655973   BETTY              HORNE                CA           90003653866
648B7641691522   ADRIAN             GONZALEZ             TX           90010916416
648B7927371968   ALBERT             GUERRERO-MATINEZ     CO           90014049273
648B7947171968   ERICA              IBARRA               CO           90011409471
648B8472891562   CRYSTAL            CHAVEZ               TX           90014854728
648B9482185689   JUAN               VAZQUEZ              NJ           90014524821
648B949124B588   JOHN               YOUNG                OK           90005104912
648B9A89261961   JOHN               KREISCHER            CA           90012220892
6491363255B241   MACK               MARZETTE             KY           90011336325
64917649376B49   CHRISTINA          JANSEN               CA           90012856493
649238A5572B36   MARVIN             MONTIEL              CO           90005438055
649249A3155975   ASHLEY             BROWN                CA           90013749031
64925439772B27   CELEDONIA          CASTRO               CO           33057874397
649269AA263646   MICHEAL            CRUSE                MO           90014069002
6492757A981675   JIN                PARK                 MO           90013735709
6492767865B241   FERNANDO           ESCOBAR              KY           90012636786
6492851724126B   VICTORY            PIROLI               PA           90008865172
64928874376B49   MICHAEL            ENGLISH              CA           90012858743
6492B695561936   JOSELO             LEON                 CA           90013486955
6493182314B27B   MARCI              OWENS                IA           90014018231
64932327472B36   MARIA              CHICHARO ZACARIAS    CO           33093783274
6493255222B27B   GWENDOLYN          JOHNSON              DC           90012905522
64932983A7B46B   BRIANA             WILLIAMS             NC           90010729830
64933589687B31   STEPHANIE          SMITH                AR           90001105896
6493389785416B   TRISTA             FULLER               OR           90012498978
64934464172B27   DENISE             GONZALES             CO           90012834641
6493456125416B   SOPHIA             KALDAHL              OR           90013205612
6493528A163646   SUNDAR             SHRESTHA             MO           90012322801
64939474A84392   ANTHONY            PRINCE               SC           90014874740
6493B367A2B248   MARVIN             SMITH                DC           90007833670
64941247572B36   JESSICA            MCGREGOR             CO           90014772475
6494186785B241   KENDREA CHEYENNE   RICE                 KY           90013518678
6494232214B27B   SARAH              CHRISTENSEN          NE           90004223221
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64942368736B35   JORGE          HERNANDEZ RAMON          OR           90006913687
6494428A971968   JOEY           BOTTOMLY                 CO           90012992809
6494867212B27B   MIRANDA        MARTINEZ                 DC           90004956721
64949569172B27   RODNEY         LEIGH                    CO           90013275691
64949A37761964   DANIELLE       BAILEY                   CA           90013780377
6494B648161936   JESUS          MORALES                  CA           90011176481
649527A2361961   JESUS          PALMA                    CA           90014827023
64953773A85689   DARRELL        ROSA                     NJ           90012227730
6495633584B588   LISA           RAY                      OK           90014173358
6495B584885886   TERI           HAWKINS                  CA           90012185848
6495B784257555   KATHERINE      VILLEGAS                 NM           90010347842
64962999A63646   LEWIS          AMOS                     MO           90011319990
64963159A91998   TERRANCE       LANCASTER                NC           90011131590
6496492115B235   MICHAEL        MCLEMORE                 KY           90012709211
64967482587B31   GEORGE         RAMOS                    AR           90014994825
649722A7861961   MELISSA        VILLALOBOS               CA           90007912078
6497337A991522   MARCOS         MENDOZA                  TX           90010923709
64975883376B49   ANGELICA       CARREON                  CA           46011518833
649785A1785689   GERARDO        ARIAGA                   NJ           90013725017
6497B132561936   CLAUDIA        GUTIERREZ-DOWNEY         CA           90013111325
6497B58A191522   ADRIAN         DELGADO                  TX           75017845801
6498262A584392   JOSE           HERNANDEZ                SC           90014156205
649835A858B168   COLE           LOPEZ                    UT           90010415085
64984679272B36   MARIA          MARTINDELCAMPO           CO           90012786792
6498667494B588   NATHALIE       ROJAS                    OK           90014166749
6498B66775B241   BRYON          THOMPSON                 KY           90010636677
64997113A51338   MOISES         QUILES                   OH           90013071130
649982A1961961   MARTHA         MARTINEZ                 CA           90013282019
64999A1377B46B   ANTONIO        CURETON                  NC           90007580137
6499B692A2B27B   STEPHON        FRANKS                   DC           90012836920
649B1155755973   MARIA          BEJARANO                 CA           48042401557
649B2129A61936   SHYANN         MERCADO                  CA           90009821290
649B223165B241   SHANNON        HURT                     KY           90009272316
649B4427276B49   LOGAN          BROCK                    CA           90010084272
649B5247791522   CHRISTINA      CHAVEZ                   TX           90010892477
649B58A5381644   TAMARA         WASHINGTON               MO           90014688053
649B6221181675   BRYAN          LEONARD                  MO           90011882211
649B6446491998   DIANA          FRANCO                   NC           90012244464
649B7396A4B588   MARIE          DRISKELL                 OK           21567103960
649BB852A91562   ADRIAN         MORENO                   TX           90013818520
64B11624361936   FRANCISCO      BENITEZ                  CA           90013296243
64B15749A72B43   CRAPPS         LISA                     CO           90013147490
64B17753455975   ESTELA         BORQUEZ                  CA           90013177534
64B17781A91562   ERIKA          MIRANDA                  TX           90011307810
64B18877692836   VICTOR         GARCIA                   AZ           90014578776
64B19186761961   HITLER         DOIS                     CA           90002801867
64B19916991522   GABRIELA       PONCE                    TX           90010769169
64B1B486451338   AMANDA         DIAZ                     OH           90011474864
64B2279AA8B168   JOSE           CASTANON                 UT           90011437900
64B23215376B49   EVERARDO       VERGAR                   CA           90013972153
64B2431394B27B   GERALD         STEWART                  NE           27001513139
64B25222872B36   NATASHA        ERWIN                    CO           33012702228
64B25774951338   NICK           MORRIS                   OH           90013707749
64B259A1A87B31   TIM            PROFFITT                 AR           90007269010
64B25A9A54B588   ANITA          TOH                      OK           90002120905
64B26516155924   EDGAR          INOSTROZ                 CA           90012705161
64B26577555975   JAKE           FABELA                   CA           90007625775
64B2819375B271   VINCENT        POZZIE                   KY           90003921937
64B28244361961   BELLA          ACOSTA-MESA              CA           90013792443
64B29251A24B64   TRACEY         GRANT                    DC           90013652510
64B29338531453   VERONICA       CLARK                    MO           90011583385
64B31559363646   RYAN           NIBLETT                  MO           90000965593
64B38445171968   WILL           SCHUTZ                   CO           32020954451
64B3B57388B168   NORMA          CORNA                    UT           31009165738
64B41247A91522   CARELI         ORTIZ                    TX           90010952470
64B41284761936   ARAM           ESQUERRA                 CA           90015162847
64B41421457555   MANUELA        VASQUEZ                  NM           90012314214
64B42152772B43   RICARDO        DIAZ                     CO           90014771527
64B43629A85689   JOSE           HERNANDEZ                NJ           90010866290
64B43733461936   ROSS           SCHWARBERG               CA           90012897334
64B44387A91562   CLAUDIA        MARTINEZ                 NM           75030173870
64B45A98455975   LASHA          CAROLINA                 CA           48010960984
64B46647857555   SANTIAGO       RAMOS                    NM           90013366478
64B4668415B271   LENATA         TOWNSEND                 KY           68088436841
64B46686755975   ARMANDO        LOPEZ                    CA           90012446867
64B468A7372B43   RICARDO        GOMEZ                    CO           90014338073
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64B4729A855975   CRYSTAL         WALL                    CA           90012712908
64B47864672B43   RAYLEEN         DURON                   CO           33097918646
64B48288A2B27B   ISMAEL          SOSA                    DC           90013412880
64B4868852B27B   GUILLERMO       HERNANDEZ               DC           90011436885
64B51261355977   JOHN            BURNS                   CA           90013192613
64B51369925236   CECILIA         REYES                   NC           90009543699
64B52128772B43   KIMBERLIN       PACHECO                 CO           90010031287
64B53978576B49   ANA             GERRA                   CA           90009799785
64B5496464B27B   JAMES           CHATMAN                 NE           90013929646
64B5611A385689   CAMESIA         PRATT                   NJ           90014291103
64B56A5277B46B   MARIA           MIPANDA                 NC           90013620527
64B57182955977   DANNY           SALAS                   CA           90010311829
64B58154561964   NATALIA         GONZALEZ                CA           90008391545
64B58535984392   SEAN-PAUL       LAVERY                  SC           90011225359
64B59137971968   THOMAS          COSTANDINE              CO           90013991379
64B5B35995B235   TODD            HORRELL                 KY           90006743599
64B5B781955975   EDUARDA SOLIS   STEVENS                 CA           90012767819
64B61436881644   HAZEL           JONES                   MO           90015084368
64B61982361961   ORA LEE         HU                      CA           90003539823
64B644A8A3168B   BLAKE           BOYLE                   KS           90014514080
64B6595572B27B   ALANA           THOMAS                  DC           90007669557
64B66243855977   TODD            MORGAN                  CA           90014812438
64B66984776B49   ROBERT          CRUZ                    CA           90014169847
64B67185271968   BILLY           THRASH                  CO           32088761852
64B6735454B27B   FABIOLA         AGUAYO                  NE           90011613545
64B67638731453   BRANDY          CANION                  MO           90011586387
64B67982185886   JONATHAN        RUTTER                  CA           90012829821
64B69937785886   ANTHONY         MOSICH                  CA           90012979377
64B71211372B2B   JOSE            MARTINEZ                CO           33026452113
64B74551263646   BILLY           BLAKENSHIP              MO           90010055512
64B763A9885689   JUSTINA         VARGAS                  NJ           90014593098
64B76626871924   CHARLOTTE       STAFFORD                CO           90012966268
64B76982185886   JONATHAN        RUTTER                  CA           90012829821
64B78122763646   ROLDEN          SANTOS                  MO           90014001227
64B78162191562   HECTOR          FLORES                  TX           90014381621
64B792A1872B29   JUAN            MACIEL                  CO           90013372018
64B81641885886   RENE            GUERRERO                CA           46062416418
64B8261127B46B   PATRICIA        JOHNSON                 NC           90013356112
64B8369672B224   ANDREA          BENSON                  DC           90012476967
64B83A53255973   MARIBEL         RODRIGUEZ               CA           90012940532
64B85447457555   TERRY           PYLE                    NM           90012174474
64B874A9655977   CHRIS           INZUNZA                 CA           90010834096
64B87912555973   JOHN            HURST                   CA           90010839125
64B8813A485886   STEVEN          GREENE                  CA           90011161304
64B881A5772B29   GABRIELLE       FINLAY                  CO           90012721057
64B89432961964   VICTOR          SANCHEZ                 CA           90013104329
64B89585371968   DEVANTE         LANCE                   CO           90012775853
64B8B382257555   LAVONNE         GARCIA                  NM           90009503822
64B91A54785689   DAVID           SANCHEZ                 NJ           90014520547
64B92359357555   LEAH            MADRID                  NM           90009793593
64B93186191522   CHRISTINA       GUZMAN                  TX           75026891861
64B9326227B357   EMANUEL         DIAZ                    VA           90003132622
64B93715385886   BRIAN KEITH     LAY                     CA           90012237153
64B939A3772B43   RINA            HARRISON                CO           90013609037
64B9447635B241   MARCO           CHAVEZ                  KY           90009534763
64B94833184392   ROBERT          MILLER                  SC           90012428331
64B957A8A5B271   MANDI           RICHARDSON              KY           90000817080
64B95A7913168B   BERNAL          LUNA                    KS           90010050791
64B9661AA81675   TYMISHA         WILLIAMS                MO           29044026100
64B97764391998   SURESH          SUBBU                   NC           90011677643
64B98872772B36   MARGARET        TAYLOR                  CO           90010758727
64B99A59772B27   MARGIE          ELDER                   CO           90012570597
64B9B12472B27B   MAYA            PERKINS                 DC           81077181247
64BB1A47176B49   ALEJANDRO       GARCIA                  CA           90011810471
64BB2A91651337   MONICA          BROOKS                  OH           90012520916
64BB3198287B31   KYLN            ROSS                    AR           90014611982
64BB3817261961   ANNETTE         GUIDO                   CA           90004898172
64BB3996972B27   CIANCIO         SALCIDO                 CO           90014759969
64BB467355416B   STACY           RAE                     OR           90014416735
64BB565A261961   KARINA          ORTIZ                   CA           90012886502
64BB5A42755973   MARITZA         BELTRAN                 CA           90013590427
64BB6982285689   EMANUEL         MORALES                 NJ           90012119822
64BB8693751352   SHUNIKA         BUNTIN                  OH           90012516937
64BBB446471968   ALANA           STOLLE                  CO           90012484464
6511326483168B   ROBERT          STONE                   KS           90010172648
65116192A5B241   DEREK           VESSELS                 KY           90014931920
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651168A4463646   MINDY          PUCKETT                  MO           27515658044
65117557A7B46B   APRIL          JACKSON                  NC           90012745570
6511925478B168   NATALY         TREJO                    UT           90011592547
6511977595416B   TYLER          TRIPP                    OR           90009047759
6511B458591998   KARISSA        JORDAN                   NC           90012224585
6511B538772B36   LINDSAY        WYMAN                    CO           90007275387
6512215854B588   RENEE          FULLER                   OK           90001661585
65122198672B36   DAVID          RAINEY                   CO           90010111986
651237A5355973   TIMOTHY        RAMOS                    CA           90012687053
6512B647972B36   JERRY          LOZANO                   CO           90012846479
6513295A391522   YOLANDA        VARGAS                   TX           90011729503
65133A28572B27   ALEXA LOUISE   ELLIS                    CO           90013560285
6513417635594B   ALEXI          ALVAREZ                  CA           90011751763
6513617A98166B   DANTE          MCALISTER                MO           90012961709
6513621448166B   JESSICA        CAIN                     MO           90012962144
651372A3391522   ROSEMARY       OLAGUE                   TX           90014722033
65137351A4B27B   CALVIN         PHILLIPS                 NE           90015313510
65138687887B31   ANDREW         RENO                     AR           28083436878
6513B21A25416B   CAMELIA        CORY                     OR           47002312102
65142A2718B168   DANILLE        BASARA                   UT           90008310271
65144A2245B241   RALPH          MCGUFFIN                 KY           90014800224
6514785854B27B   ENTHONY        VALDEZ                   NE           90008158585
6514823333168B   CHELSEA        ROGERS                   KS           90013362333
651485A894B588   ANGEL          GARCIA                   OK           90013335089
6514954327B46B   JIMMY          UTO                      NC           90010365432
6515137164B27B   DEJA           LEVERING                 NE           90006483716
65151877272B43   SANDRA         MYRE                     CO           90012298772
6515643A77B46B   VICCARDO       STREATER                 NC           90010274307
6516257152B82B   LOIS JANE      OSTLUND                  ID           90014275715
65164116A4B27B   MU             PI                       NE           90013671160
65164868A55973   JOSE           ESQUEDA                  CA           90013928680
65166931172B36   YOMIRA         ORTIZ                    CO           90012279311
65167129A55975   RENEE          LOPEZ                    CA           48063571290
65167817772B29   RYAN           EDDINGTON                CO           90010278177
6516B345655977   ROSA           GONZALEZ                 CA           90012453456
6516B62767B46B   SCHUNKA        SMITH                    NC           90013816276
6517229A491998   HUY            NGUYEN                   NC           90011982904
65172938672B36   KYRON          SIMTH                    CO           90012309386
65172A39791549   JOSE           HERNANDEZ                TX           90009540397
6517662A491522   PALOMA         CRESPO                   TX           90005136204
6517668985416B   ANGELA         PURSCELLEY               OR           47046756898
6517734A85594B   LEOPOLDO       PADRON                   CA           90012743408
65177A2AA55975   DABI           GUSMAN                   CA           90013780200
65179A3925594B   WALEED         SALEH                    CA           90011760392
6517B589684392   JOAN           MARIE                    SC           90014805896
651815A244B27B   ANDREA         CLARK                    NE           90010725024
65181A6AA4B588   KIMBERLY       ROSS                     OK           90009980600
65191755A4B268   DEBORA         GRIFFIS                  NE           27061047550
6519418865416B   NOVA MARIE     CONNOLLY                 OR           90005091886
65195244172B27   AIOTEST1       DONOTTOUCH               CO           90015122441
65197153376B69   ROSAMUNDA      SANCHEZ                  CA           90006871533
6519733633168B   GERMAN         DIAZ                     KS           90013663363
65199849A2B224   FATOUMATA      SYLLA                    DC           81042058490
6519B772372B29   ERICK          MORSTAD                  CO           90014447723
651B155985416B   JAMIE          OTWELL                   OR           90010115598
651B198A551354   MATTHEW        TAYLOR                   OH           90013889805
651B5845991863   ANNA JANETTE   WALDEN                   OK           90010178459
651B6125891549   TREVIZO        KIMBERLY                 TX           90013301258
651B6625191549   TREVIZO        KIMBERLY                 TX           90009766251
651B663A261964   AIOTEST1       DONOTTOUCH               CA           90015116302
651B691225416B   SHELBY         BROWN                    OR           90014489122
651B7465551354   CARLOS         FARLEY                   OH           90013254655
651B8A48561961   YVETTE         SMITH                    CA           90012840485
651BB614972B43   RATCHEL        LOPEZ                    CO           33000296149
6521135415B235   JAMES          KESSINGER                KY           90012203541
65214343472B27   EDGAR          DEPAZ-BARRIENTOS         CO           90008303434
6521461A18166B   KREISHA        PICKENS                  MO           90007406101
65215274A72B43   IGNACIO        JUAREZ                   CO           90004492740
6521689578166B   JAMIE          LOYD                     MO           90010828957
65217244172B27   AIOTEST1       DONOTTOUCH               CO           90015122441
6521785AA4B588   GREGORY        ROGGENKAMP               OK           21566988500
6521792625B235   MARLENA        KNIGHT                   KY           90013559262
6521991A82B535   ADOLFO         YAX                      AL           90014239108
6521B84164B27B   OLMAN          ORTIZ                    NE           90013688416
6521B927933698   AKIKO          COTTON                   NC           90011249279
6522223265594B   MARIA          MARTINEZ                 CA           48019282326
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652274A9791998   IDALIA         MARINEZ-SANCHEZ          NC           90014324097
652291A2681644   MICHAEL        JAMES                    MO           90014251026
6522B62965416B   JODY           VAUGHN                   OR           90013896296
65232469A91549   CARLOS         CORRAL                   TX           90011954690
6523739365416B   TRAVIS         BARTELL                  OR           90013953936
65237AA2391549   SELENA         MARQUEZ                  TX           90011910023
65238978672B36   LESLY          LUCERO                   CO           90012659786
65238A61155973   RODRIGO        VELAZQUEZ                CA           90012010611
6524147714B588   CHAVONNE       DIXON                    OK           90009824771
6524295A14B27B   JUAN CARLO     FUERTES                  NE           27086189501
65243AA9884392   STEPHEN        OLIVER                   SC           90014880098
6524414225416B   TAMARA         SHELTON                  OR           90013971422
65244A75461961   RUBY           AGUIRRE                  CA           90013210754
65245887124B41   RACHEL         FLEMMING                 DC           90008858871
6524824237B46B   MAGDALENA      VASQUEZ                  NC           90012342423
65249469A61964   MICHAEL        FORKNER                  CA           90013404690
65249A34884392   SHEANKA        ROLLINS                  SC           90014880348
6525114255B531   BLANCA         GONZALEZ CHACON          NM           90004241425
652572A7761961   ROLLY          LUNAS                    CA           90012332077
65261422572B27   KANDICE        HERNANDEZ                CO           90013634225
65265719A51354   RICKY          JACKSON                  OH           90008067190
65266A2235B241   SHARIKA        COCHRAN                  KY           90010710223
65268273272B43   MICHAEL        PETERS                   CO           90002202732
6526894185594B   LIBRADO        BURROLA                  CA           90011769418
6526B988663646   SHERRY         PEQUIGNOT                MO           90010939886
6526BA56855977   ELIZABETH      BRINCEFIELD              CA           49080060568
6527277278166B   LOUIS          WATSON                   KS           90013037727
652734A6954124   NATHAN         PRENGAMAN                OR           90004174069
65274968672B36   DIANA          QUINTEROS                CO           90010669686
6527519A672B29   JOHNNY         MONTOYA                  CO           90001401906
6527868764B27B   NICOLAS        ANTONIO                  NE           90012696876
6527B18958166B   JODIE          BEYDLER                  MO           90010401895
6527B334861964   ZULLY          KANE                     CA           46007523348
6527B589891549   AMBER          LARA                     TX           75065895898
6527B933261961   KARLA          RAMIREZ                  CA           90009649332
652815A795B385   LEANNA         GARCIA                   OR           90009495079
6528273745B235   PHONG          NGUYEN                   KY           90012697374
65285287372B43   ROSIO          FLORES                   CO           90011122873
652853AA261964   BRIDGET        DE ANDA                  CA           90014713002
65286244A4B588   LUIS           FERNANDEZ                OK           90013452440
6528917A261964   GIBELE         GODOY                    CA           46067731702
652898A7391522   JAUREGUI       MELIDA                   TX           90011518073
6528B966155977   DEESHAWN       GREENE                   CA           90015169661
65292A97372B36   SHAUN          SCOTT                    CO           90014990973
6529881385416B   SARAH          DELLIE                   OR           90005238138
652B231647B46B   DOROTHY        GRAHAM                   NC           11076493164
652B3174872B29   ALFONSO        HERNANDEZ-MENDEZ         CO           90013051748
652B352768B168   AARON          RANDALL                  UT           90014285276
652B551733168B   CHRIS          WEAVER                   KS           22098375173
652B5588A81644   TAMIA          KENNEDY                  KS           90014245880
652B5725A4B588   STEVEN         LEDBETTER                OK           90008937250
652B8AA3891549   ERICK          ESPARZA                  TX           90014870038
652BB118A91549   TORRES         ANNE                     TX           90010861180
6531117A961961   LORRAINE       CABANDONG                CA           90009751709
6531359898166B   SHANE          WOOD                     MO           90012105989
653137A2A5416B   BREANNA        SCROGGINGS               OR           47089407020
65314617A25236   SHENEKA        BULLOCK                  NC           90013826170
653159A6955975   DION           LAMBERT                  CA           90010619069
65317179A91998   MELISSA        BEVERLEY                 NC           90005001790
6531915485416B   KEITH          BASKETT                  OR           90013971548
6531934313168B   JOSE           GARCIA                   KS           90013663431
6531B866755975   DIANA          ALANIS                   CA           90012998667
6531BA7A64B588   KAYLA          SMITH                    OK           90013620706
6532233385B241   ANTOINE        PEARSON                  KY           90014603338
6532234688166B   AMBER          BARNES                   MO           90013583468
6532391144B27B   ORFELINA       HERRERA-LORENZO          NE           90015139114
6532415485416B   KEITH          BASKETT                  OR           90013971548
6532517A45416B   WENDY          OLIVE                    OR           90013971704
65325A67684392   JIMMY          WILKERSON                SC           90000780676
6532724674B588   DANIELLE       THOMAS                   OK           90013752467
6532785574B27B   DANIELLE       BERTCH                   NE           90014128557
6532B31A65B235   CHERISA        WILSON                   KY           90010143106
6533117A45416B   WENDY          OLIVE                    OR           90013971704
6533333947B46B   PAUL           KELLER                   NC           90011343394
653337A2372B43   ANDREA         OSCARSON                 CO           33011967023
6533638A691998   TINA           MILLS                    NC           90015093806
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6533754294B27B   PETER          SCOTT                    NE           90012265429
6533B651925236   JOSE           ZRUZ                     NC           90009416519
6534122934B588   MARILYN        THOMPSON                 OK           90009162293
6534158A18B168   DIANE          MORTON                   UT           31052425801
6534174A354B22   MATTHEW        PAONE                    VA           90008447403
65343A13A55975   JOHN           CHAPA                    CA           90013210130
65343A41A51354   ALEX           SAYAS                    OH           90009670410
6534463A261961   AIOTEST1       DONOTTOUCH               CA           90015116302
6534571775416B   JESSE          RICE                     OR           90014027177
653464A5591863   YENI           URQUIZA                  OK           90011294055
6534992A591998   CASSELL        JONES IV                 NC           90013579205
6534B52778166B   FATIMA         FINLEY                   MO           90015305277
653516A3772B27   BRANDON        HOWELL                   CO           90011006037
653525A3A87B31   KIKI           JOHNSON                  AR           90004955030
6535642875594B   GUILLERMO      DELGADILLO               CA           90012794287
6535899924B27B   MANUEL         HERNANDEZ                NE           90012869992
65358A89691998   DANIELLE       GIRARD                   NC           90008910896
6535BA33861964   HECTOR         BERMUDEZ                 CA           90014530338
6536141755416B   NORMA          GALVAN DE PADELFORD      OR           90005164175
6536239735B241   DAVID          PRATT                    KY           90014603973
65364792172B43   JUDITH         IRONWING                 CO           90012377921
65365534372B29   DARLENE        GONZALES                 CO           90014715343
6536784224B27B   ADAM           CARLSON                  NE           90013688422
6536812224B27B   JESSICA        MEDINA                   NE           90009671222
6536861424B588   JENNIFER       CURTIS                   OK           90015306142
653695A1A55973   ALYSSA         CANO                     CA           90012775010
6536B696961936   KAPRI          POLLARD                  CA           90001186969
6536B847A3168B   SHENELLE       HEUETT                   KS           90000908470
65371A1675B241   ALEXANDER      CARR                     KY           90008710167
6537B3A9991522   ALFREDO        ARIAS                    TX           90014733099
6537B94727B46B   JEFF           HARE                     NC           90012679472
6537BA57263646   TODD           FREY                     MO           27559930572
65382955572B36   RESURECTED     RECORDS                  CO           90013679555
6538468188B168   CLYDE          CROWLEY                  UT           90009956818
65389258A63646   SALLY          HAMPTON                  MO           90008072580
6539185A45B235   VICTOR         DUBON                    KY           90015148504
6539612977B365   ALBINA         FLORES                   VA           90009011297
65398A73855977   JESUS          SANTIAGO-MONTERO         CA           49097870738
6539B692481644   ANTONIO        HERNANDEZ                MO           90014256924
653BB4A624B588   LEROY          BROOKER                  OK           90015134062
6541348225B531   ANDREW         POTTER                   NM           90002274822
65413745A5B531   ANDREW         POTTER                   NM           90012167450
6541622275B235   MERCEDES       CANNON                   KY           90014622227
65416433787B31   JASON          WARREN                   AR           90007044337
6541813A855973   SAMANTHA       SOLIS                    CA           90014901308
6541923565B531   DANIEL         JOHNSON                  NM           90006802356
6541B653555973   EDGAR          VILLAGRANA               CA           90011856535
65429211A33698   AMBER          STAINBACK                NC           90012662110
65429489A5594B   FELIX          OCAMPO                   CA           90011784890
65429996A4B547   MARION         PORTER                   OK           90010029960
6542B261372B27   THOMAS         ROYBAL                   CO           90010932613
6542B65228B331   GUTIERREZ      LEONEL                   SC           90014066522
6543367567B46B   AMBER          KRIMMINGER               NC           90010146756
6543461424B588   JENNIFER       CURTIS                   OK           90015306142
65436123472B29   MELODY         HILLEMANN                CO           90002491234
65437A1458B168   MICHAEL        CARD                     UT           90010200145
65439443272B27   JAZMIN         ASCENCIO                 CO           90006814432
65439AA9761961   RITA           HASKELL                  CA           90011450097
6543B761972B27   RUFINA         MARTINEZ                 CO           90013987619
65441A55463646   CHRISTINA      CREAMER                  MO           90009750554
65446497A91549   MARIA          MORLES                   TX           90003464970
65447A97655977   ANTHONY        RODRIGUEZ                CA           90014790976
6544846794B588   PAYGO          IVR ACTIVATION           OK           90014704679
65449522672B43   CHRIS          GORDER                   CO           90001845226
6544B36424B522   HORACIO        AGUILAR                  OK           90010053642
65451A6A472B43   DEBORAH        STONE                    CO           90013850604
6545B728A33698   SYLVER         LEIHOLT                  NC           90002117280
65466932972B29   DEVONTAE       WYATT                    CO           90013519329
6546888625B241   JENNIFER       WINDELL                  KY           90014918862
65469A18655977   ARMIDA         PADILLA                  CA           90013990186
6546BA4495594B   MARGARITA      CARDENAS                 CA           48013250449
65474A24457131   LAMONT         LEWIS                    VA           90013960244
65475337972B29   JOEY           ATLER                    CO           90007603379
65475354A8166B   ROSALYN        ARRINGTON                MO           90013073540
65475514872B29   NADIR          TYLER                    CO           90012705148
6547697994B27B   ROCHELLE       BELGRAVE                 NE           27085249799
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6547938827193B   PATRICK        SIMINGTON                CO           90010793882
6548938784B588   ROGER          BATES                    OK           90014613878
65489583A55975   PAYGO          IVR ACTIVATION           CA           90014505830
6548B335691549   IVETTE         RAMOS                    TX           75074473356
6549582588B168   JANICA         MCCLOUD                  UT           90010348258
654B164A861961   ALBERT         FEDERICO                 CA           90013066408
654B2852181644   JOSE           PELAEZ                   MO           29001368521
654B3A13A55975   JOHN           CHAPA                    CA           90013210130
654B4499591522   VANESSA        ORTIZ                    TX           75046194995
654B6819272B36   MATTHEW        RIVERA                   CO           90004218192
654B994497B46B   LEVERT         EVERETT                  NC           90003399449
654BB244172B27   AIOTEST1       DONOTTOUCH               CO           90015122441
65515523A72B36   SEAN           KENNEDY                  CO           90012775230
65521277A61936   TIER           TREJO                    CA           90012112770
6552433855B235   LINH           DOAN                     KY           90012743385
65525649572B29   JOHNSON        JOHN                     CO           90011506495
6552713438B168   KYLE           GREGG                    UT           90010281343
6552B42A73B372   MEGHAN         WIDHALM                  CO           90012684207
6553291A472B27   RYAN           MILLER                   CO           90008069104
6553429537B46B   VIXAY          SAYBOUNE                 NC           90013342953
6553577A681644   SHERI EZ       AUSTIN                   MO           90014667706
6554158A272B25   GIRUM          MELESE                   CO           90013895802
6554251A55B241   JOSHUA         WILKERSON                KY           90014605105
6554564354B27B   MARISSA        OLGUIN                   NE           90014516435
65546571487B31   STEPHANIE      ANDERSON                 AR           28038645714
6554B523891522   AHYLEEN        SANCHEZ                  TX           90014735238
65557571A61964   JESSICA        CHUMACERA                CA           90009925710
65559A7A191549   BRENDA         HERNANDEZ                TX           90013590701
6556173895B241   MICHAEL        WILSON                   KY           90014847389
65564A31255977   ARMANDO        MACIAS                   CA           90013850312
6556736524B27B   TYLER          DUNCAN                   NE           90007343652
65567797772B27   MARIA          VAZQUEZ                  CO           33077617977
65568639A61964   FELIX          CRUZ                     CA           90012536390
6556B27A355977   ROBERTO        GARCIA                   CA           90015182703
6556B811225236   RANDY          WILLIAMS                 NC           90010638112
6557515697B46B   JOHNSON        ELLS                     NC           90011691569
6557779564B588   JOSE           CASTRO                   OK           90012847956
6557987A272B27   PAUL           HAYWARD                  CO           90011688702
65579A15972B29   RUDY           ORTEGA                   CO           90014290159
6557B394187B31   QUINAUSIA      BONDS                    AR           90007083941
655818A8591549   JORGE          AMPARAN                  TX           90013888085
65583989124B41   MARCUS         JACKSON                  DC           90013079891
6558593794B588   JONATHAN       JOHNS                    OK           90012429379
6558721877194B   JEANA          MCALISTER                CO           90007282187
655878A9981644   VELTON         HARDEN                   MO           90013088099
65588A46651354   JAMES          BEACH                    OH           90012080466
6558BA18891998   JOSELINNE      AMAYA                    NC           90012680188
6559632964B588   KEYAW          HAWKINS                  OK           90011403296
6559857843168B   JOSHUA         VINEYARD                 KS           90008775784
65598984672B36   STEVEN         SISK                     CO           90014279846
655B231215B241   TERANISHA      PERDUE                   KY           90012583121
655B3496151347   JOSE           AGUILAR                  OH           90001614961
655B3571487B31   STEPHANIE      ANDERSON                 AR           28038645714
655B631A54B588   YANETIA        BEAN                     OK           90011193105
655B95A1855973   RAQUEL         CHAVEZ                   CA           90012055018
655B961A57B46B   BIANCA         SMART                    NC           90015166105
65611AA135594B   JAVIER         REGALADO                 CA           90011810013
656131A818166B   ANDRE          BOWMAN                   MO           90014271081
65613721972B27   LUANN          ROGERS                   CO           90002177219
6561486A172B43   DENISE         LAWSON                   CO           90013708601
6561488935416B   CORRINE        STAHL                    OR           90014548893
6562188165B385   KENNETH        WILSON                   OR           90014748816
65627968572B43   RENEE          CORDOVA                  CO           90000199685
6562968A961964   KAVAL          REMZI                    CA           90010946809
6562B556A2B984   JAMIE          PARRY                    CA           90010185560
656331A7172B36   JULIAN         VIGIL                    CO           90014951071
6563362355B178   RODNEY         BEASLEY                  AR           90013456235
65633933272B43   GERI           MARTINEZ                 CO           90002349332
65634666A8B355   DAVID          GOFORTH                  SC           90014256660
656372A7555977   ANGELICA       CAMARENA                 CA           49018122075
6563748765416B   GARRY          LOAR                     OR           90009224876
656377A2591234   ANGELA         WASINGTON                GA           90002497025
6563B87595B241   TOREE          SINKFIELD                KY           90009748759
65641447A4B588   JOYCE          RAMSEY                   OK           90015134470
65642AA525B241   ELIZABETH      ROJAS                    KY           90009220052
656455A2961964   BERENEICE      COSSIO                   CA           90012635029
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6564758413168B   REBECKA          GARRISON               KS           90008045841
656518AA972B29   STATEN           KUALANI                CO           33089028009
65653AA562B269   RAY              JOHNSON                DC           90012550056
6565468644B588   CLARENCE         MITCHELL               OK           90013166864
6565523795B531   EDUARDO          VILLALOBOS             NM           36065162379
6566421985416B   KRISTA           SPANGLER               OR           47046672198
65664387372B27   STEPHANEY        WACKER                 CO           90008043873
656664A9281644   JESSE            ARROYO                 MO           90011694092
6566B645291522   LENA             PADILLA                TX           90012066452
6566BA6867B46B   CARLA            BARRINGER              NC           11006210686
65673344172B36   TONY             VIGIL                  CO           33049763441
6567423884B27B   VICTORIA         AUSTIN                 NE           90011042388
65674A6A44B588   TAMISA           GROVE                  OK           90007960604
65675132872B29   ASHLEY           WITT                   CO           90014681328
6567586425B235   WILLIAM          SEARCY                 KY           90011878642
65676524672B27   ISSAHA           ABEYTA                 CO           90012465246
6567BA92361961   ARIANA           GALINDO                CA           90013210923
65681A51A61964   SERRANO          BARTOLO                CA           90010310510
65681A7995B235   JAMES            ROBY                   KY           90013370799
6568291924B27B   BUD              MINSHALL               NE           90013759192
65682A82572B43   LESLIE           INGRAM                 CO           33036950825
65684A37991549   DANNY            CALDERON               TX           90008700379
65685A65572B29   ARTURO           BERMIA                 CO           90012670655
656866A5955973   GLORIA           FUENTES                CA           90007726059
65686766372B43   JANETH           ISPINOZA               CO           33077097663
6568B2A6172B36   GABRIELLE        FRAUSTO                CO           33012602061
6569241A797127   SEQUOIA          MCMAUNUS               OR           90014524107
656927A194B588   EARNEST          ROBERTSON              OK           90013527019
65694A7A191549   BRENDA           HERNANDEZ              TX           90013590701
656B5846581644   EARL             VAILES                 MO           90010208465
656B737A355977   JOSHUA           HERNANDEZ              CA           90012453703
656B7397491522   BLANCA           JUAREZ                 TX           90011743974
656B845417B46B   DARLIUS          HORTON                 NC           90011034541
656B8588191522   IVAN             LOPEZ                  TX           90014735881
65712635A7B46B   CHERISEE         GENDREAN               NC           90010766350
657136A575B235   TASIA            BROWN                  KY           90013326057
6571422827B46B   RICKA            FORNEY                 NC           90011052282
6571554845416B   NICHOLE          POULSON                OR           90010055484
6571B635A7B46B   CHERISEE         GENDREAN               NC           90010766350
6571B73A572B27   BERNARD          GARNER                 CO           90013137305
6572516A655975   VICTOR           MARTINEZ               CA           90002821606
657284A8651354   BRIANNA          PHILLIPS               OH           90010274086
6572B547A63646   CHANCE           COOPER                 MO           90014215470
6573124224B588   LINDSEY          CASTLE                 OK           90009082422
65734134972B43   ERIK             RAMOS                  CO           90012531349
65736A48561961   YVETTE           SMITH                  CA           90012840485
657426A957B46B   SANDRA           CALDWELL               NC           90007736095
6574394168166B   JULIO            OLGAZA                 KS           90013579416
65748198472B43   JANAE            MUNIZ                  CO           90013811984
6574926615416B   MORGAN           WILLIAMS               OR           90014642661
65749A68272B29   BREEANNA         HERRERA                CO           90012670682
6574B375751354   ERICA            MAHER                  OH           90011333757
6574B955287B31   JOHN             BARNES                 AR           28011109552
65751A3165594B   EPIE             CARRERA                CA           90011830316
6575224558B168   MONICA           GONZALEZ               UT           90011842455
65752716A5B241   JOSEPH           HINTON                 KY           90015317160
6575589A361964   CYNTHIA          ROCHA                  CA           90008938903
6575692525B235   DANIEL           EWING                  KY           90012019252
6575BA1525594B   EPIE             CARRERA                CA           90011830152
6576164458B163   RONI             MORATALLA              UT           90001366445
6576429735594B   OSCAR            RAMIREZ                CA           90011832973
6576543754B588   STACY            MORRIS                 OK           90010844375
6576715575B235   DIANA            NELSON                 KY           90013821557
65767518A55973   JAMIE            DELGADO                CA           90012775180
65769AA8691549   STEVE            SOTO                   TX           90010950086
6577454785416B   PABLO            MARTINEZ               OR           90011245478
6577761715B241   KENNY            PRICE                  KY           90010706171
657796A5572B43   LAYAH            JARMAN                 CO           90015286055
6578B567872B43   SERGIO           GONZALES               CO           90012325678
6578B98175B241   STEPHANIE        POLLARD                KY           90011449817
657927AA78166B   RONNESHA         SMITH                  MO           29041997007
6579473A591522   JORGE            OCHOA                  TX           90014737305
65794942872B27   JOSE             TOVAR                  CO           90006229428
65796985A5416B   KIMBERLY         CLARK                  OR           90014629850
657972A3472B43   GLOVER           GERALD GLOVER          CO           90011392034
6579BAA4791522   SANDRA MARCELA   PEREZ                  TX           90013460047
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657B29A5361961   SIOELI M       UHILA JR                 CA           90003479053
657B6123472B29   MELODY         HILLEMANN                CO           90002491234
657B6475A51354   KAREN          MIRANDA                  OH           66003474750
657BB17278B168   TRICIA         MAYO                     UT           90010971727
6582344545B235   PEDRO          HERNANDEZ                KY           90010254454
6582353894B588   TRAVIS         SMITH                    OK           90013785389
658249AA27B46B   CHRIS          PRUDE                    NC           90008079002
6582562A22B893   PAM            HARPER                   ID           90012736202
6582649A191535   OLGA           RODRIGUEZ                TX           90001334901
6582765664B588   DONNA          JAMESON                  OK           90007336566
65828633A91998   THU            NGUYEN                   NC           90014476330
6582947568B137   ALEXANDER      ARMSTRONG                UT           90013354756
6582956764B588   KATHERI        TOWE                     OK           90013685676
658297AA97B46B   JUAN           JOVEL                    NC           11075587009
6583781A555969   CELESTE        DIAZ                     CA           90013888105
65838798A7B46B   NIA            TIMMONS                  NC           90011577980
65839327A91998   ALMA           CARRINGTON               NC           90012103270
65839671A5B241   LEROYA         JOHNSON                  KY           90008956710
65841824A61964   MARYELLEN      REYES                    CA           90013788240
658455A5691998   RANDI          STALLINGS                NC           90011525056
6584575874B588   PRESILLA       MARTINEZ                 OK           90007377587
6584581385594B   ERICK          CASIANO                  CA           90009238138
65846418372B29   LUCIA          SELL                     CO           90013804183
65848434A91549   JANET          FRANCO                   TX           90013864340
65852219A72B27   LUCIA          ARIAS                    CO           90011512190
6585339754B588   MARVEL         HUDSON                   OK           90007133975
65854A81372B29   YINTIATZIRI    MONTESINOS               CO           90012440813
65857438A61924   JUANITA E      QUEVEDO                  CA           90011514380
658598A9872B29   HECTOR         JIMENEZ                  CO           90013858098
6585B952525236   SAM            WOLF                     NC           90003089525
65861621A3168B   VALERIE        CHENEY                   KS           90004646210
6586219A972B27   MICHELLE       MONDRAGON                CO           90012191909
6586269A172B29   JOSE           RAMIREZ                  CO           90013036901
65862794A91998   LINDA          PERRY                    NC           90000637940
65863A17825236   KIMBERLY       WHITAKER                 NC           90009070178
6586B671955975   BLANCA         ANDRADE                  CA           90013946719
6586B899761961   GARY HUGH      CURTIZ                   CA           90014168997
6587143233B35B   STACY          SWANSON                  CO           90013074323
65877A74872B29   JOSEPH         CARRASCO                 CO           90014600748
6588151828166B   YONTIUS        JOHNNEY                  MO           90005635182
658829A9941257   LORA           HODDER                   PA           90008439099
658846AA125236   KATINA         WINSTEAD                 NC           90014696001
6588484275B235   DONNA          BELL                     KY           68009908427
65884A39261936   JOHN           FASON                    CA           90008780392
6588556585416B   TERRY          MARMON                   OR           90010395658
6588588375416B   TERRY          MARMON                   OR           90013448837
6588738A161961   NUIANZA        MUNFORA                  CA           90007723801
6588938A191522   DANIEL         HERNANDEZ                TX           75088093801
6589378362B89B   HAILEY         WILSON                   ID           90014897836
65897393972B27   LUKE           H                        CO           90012493939
658B2724A31422   RON            ANDERSON                 MO           90001137240
658B285685594B   ANAKAREN       DUARTE                   CA           90012198568
658B3A96172B36   CESAR          ORTIZ                    CO           33041860961
658B3A9884B588   CLIFFTON       ALLEN                    OK           21514880988
658B45A4561964   JASMINE        LEYVA                    CA           90010845045
658B4613261964   MAYRA          LOPEZ                    CA           90012486132
658B485155134B   EMANNEL        COSTON                   OH           66040638515
658B6721281644   ALISHA         MILLER                   MO           90014677212
658B69A4561964   CARLA          PARRA                    CA           90014769045
658B7689251354   MARISSA        HABLUTZEL                OH           90014906892
658BB993272B27   TRAVIS         VALENTINE                CO           90011249932
6591388178166B   KAMMIE         SALINAS                  MO           90010688817
6591617AA4B588   CHARLES        BERTRAND                 OK           90014081700
659193A2261961   SARA           ESPERANZA                CA           90013843022
6592525A58B168   JAMES          CARTER                   UT           90009492505
6592623755594B   HUGO           RUELAS                   CA           90012982375
65926A83161974   SIXTO          SANCHEZ                  CA           90010690831
6592713664B588   ESTEFANA       LOPEZ                    OK           90008371366
6592743A787B31   MARTHA         MANCILLA                 AR           28037424307
6593176AA61964   BAYLEE         WOODARD                  CA           90002797600
659328A245B235   TYSHAWN        CRAIG                    KY           90014648024
6594373585B241   JOSEPH         MCQUILLAN                KY           90014867358
659441A8A55973   SALVADOR       BUSTOS                   CA           90006771080
6594632635B235   H AND K        ENTERPRICES              KY           90004743263
6594654558B168   CAMPBELL       DALE                     UT           90012935455
65949A74951354   WILLIAM        BATAN                    OH           90006330749
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6595788AA63646   SHAWN          ABBASS                   MO           90014688800
659598A8261964   JAMIE          WOOD                     CA           90010438082
6595B9A9A5594B   APOLINAR       OLIVE                    CA           90011869090
65963547772B29   YENNY          QUIJADA                  CO           33018215477
6596456225B241   TAMMY          BLANFORD                 KY           90014715622
6596797744B268   SHARON         VALEZ                    NE           90003369774
6596BA6A772B43   BEAU           PIPE                     CO           90014360607
65977883772B43   MARIA          VALLES                   CO           90013798837
6598383625B235   KAYLA          MOORE                    KY           90013228362
6598855A391549   ISREAL         HERNANDEZ                TX           90005065503
6598B248A8166B   CHARLENE       MATTHEW                  MO           90007682480
6598B59A272B43   MICHAEL        PENA                     CO           90013295902
6598BA6944B27B   AUDRAINA       PEAK                     NE           90012710694
6599372358166B   CHRISTOPHER    JONES                    MO           90013917235
6599385A37B46B   CHALIKA        MARSHALL                 NC           90000808503
65997169472B27   DARIANA        ROSADO                   CO           90014701694
65999113A91549   VIVIAN         MEZA                     TX           90013031130
6599B259572B43   NICK           GOTTSCHALSK              CO           90014052595
6599B77A161964   CHINA          RODRIGUEZ                CA           90010037701
659B1388155973   ELISABETH      MORENO                   CA           90011753881
659B2117591998   IRENE          GONAZALEZ RODRIGUEZ      NC           90013881175
659B2191725236   MAX            PIEDRA                   NC           90012741917
659B2432751354   ALLANA         ROBINSON                 OH           90012884327
659B268434B27B   NICOLE         CARR                     NE           90013466843
659B4423291522   MAITE          RAMOS                    TX           90011754232
65B11145A91549   ISABEL         RIVAS                    TX           90012941450
65B1218588B168   MICHAEL        HOWELL                   UT           31087211858
65B12A4394B27B   KAMELA         MOFFITT                  IA           90013070439
65B13844855977   GLORIA         LOPEZ                    CA           90015288448
65B13882384392   ROMERA         SEABROOK                 SC           90014788823
65B18732972B29   JULIA          BURTNESS                 CO           90002047329
65B1B116791998   JACQUELINE     ANDERSON                 NC           90000991167
65B1B5A5981644   TICKEMS        JONES                    MO           90009745059
65B2111835B235   JAMES          DUVALL                   KY           90013281183
65B2117A591998   TACOSHA        MCSARLAND                NC           90006361705
65B21916561961   ANDREW         CATALETA                 CA           90008689165
65B21985761964   JUAN           CARRILLO                 CA           90010139857
65B22533972B27   ANTHONY        HELM                     CO           90013005339
65B22A35451354   ALEX           TURNER                   OH           90012550354
65B25485572B27   EILEEN         NAPUTI                   CO           90010524855
65B25486A72B29   CATHERINE      ANDERSON                 CO           33006284860
65B2741293168B   MIKAEL         MONTES                   KS           90015174129
65B32782355977   ADRIANA        AVINA                    CA           90013167823
65B32A3A755977   KATHRINE       VELASQUEZ                CA           90011380307
65B34AAA571976   ADRIANNA       SIGALA                   CO           90006820005
65B35A5245594B   JUAN           TREVINO                  CA           90007460524
65B36245441226   BHAWANI        BARKER                   PA           90015212454
65B38362151354   CHRISTOPHER    CAPPA                    OH           90014853621
65B3853115416B   BRUCE          IVIE                     OR           90013675311
65B3B531461964   IRIS           LOAIZA                   CA           90007715314
65B3B8A8A55975   OMAR           CRUZ                     CA           90012178080
65B452A4963646   RYAN           HORN                     MO           90013122049
65B45625651323   LANAY          OLIVER                   OH           90009076256
65B4687338B168   LILYANN        GARCIA                   UT           90011998733
65B4758768166B   JENNIFER       JOHNICO                  MO           90010965876
65B49732772B29   JACQUELINE     OLIVAS                   CO           90011287327
65B4B29638B168   MICHAEL        MARTINEZ                 UT           90013942963
65B5276844B588   VALANESHA      WASHINGTON               OK           90015127684
65B5343713168B   TEANNA         MOORE                    KS           90012254371
65B54153455973   MICHELLE       MAIREL                   CA           90011891534
65B5419812B271   KENNETH R.     STEPHENS                 DC           90002671981
65B55A52661961   ANGEL          COSTANTINO               CA           90013210526
65B57459772B55   SUZANNE        ETTA                     CO           90009264597
65B58314255973   MARIA          QUINTANILLA              CA           90013923142
65B5B112A5594B   JOSE           GONZALEZ                 CA           90003661120
65B5B841161961   XOCHILT        GONZALEZ                 CA           46073938411
65B6453284B27B   CHRISTOPHER    SUMMERS                  NE           90014235328
65B6535584B27B   DWIGHT         HOWARD                   NE           90014603558
65B66589A5B235   VALENTINA      TAYLOR                   KY           90013015890
65B6674265B235   LACY           RANDOLPH                 KY           90012997426
65B6B249672B36   ZACK           BANARK                   CO           33077742496
65B71161491522   OZZY           TORRES                   TX           90014721614
65B73167281644   HEBLEEN        SANTIAGO                 MO           90015311672
65B73A3894B588   MYCHAEL        HARDING                  OK           90003750389
65B75624661936   MICHAEL        TESCH                    CA           90012516246
65B7631155B241   DAVID          PARKER                   KY           90013853115
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65B787A275594B   ANGEL          CARRASCO                 CA           90007487027
65B78919655977   ROBIN          KACHADOORIAN             CA           90012949196
65B7973985B241   JOHN           MCGREW                   KY           68027997398
65B7B2A6A8B168   DANIEL         ACUNA                    UT           90014792060
65B81A9328B168   FELIPE         OLASQUOAGA               UT           90011590932
65B84888272B2B   EDWARD         YOST                     CO           90010708882
65B85113593771   CHRISTIAN      SAVAGE                   OH           90000511135
65B86659491522   VICKY          SANCHEZ                  TX           75051986594
65B8681267B46B   ALFONSO        NARANJO GARCIA           NC           90012928126
65B87336884392   GREGORY        HOLDER                   SC           90014793368
65B89156172B29   RICARDO        MENDOZA                  CO           90013931561
65B91989284392   JAMES          MCCOY                    SC           90013759892
65B9285327B46B   CEDRIC         HOWARD                   NC           90013718532
65B96A59A84392   CHADRICK       MILLS                    SC           90013610590
65B9713394B27B   KEITH          TOOLEY                   NE           90013921339
65B9791259133B   PAIGE          HINSON                   KS           90008139125
65B98873872B43   WENDY          CHEEVER                  CO           90012408738
65B9992334B27B   APRIL          MORGAN                   NE           90010949233
65BB1525881644   ALICIA         CARSON                   MO           90004125258
65BB196335594B   RAYMOND V      HERNANDEZ                CA           90011879633
65BB4312751354   CAROLYN        EVANS                    OH           90013383127
65BB5247A5B531   MIGUEL         VILLEGAS                 NM           36091822470
65BB696A255973   JAQUAYLA       JENKINS                  CA           90014009602
65BB7431791522   AMY            MICHELA                  TX           90002554317
65BB781A961934   GUADALUPE      FLORES                   CA           90011578109
65BB782388B168   FELICIA        RODGERS                  UT           90004688238
6611153585B531   ADRYAN         ROMERO                   NM           90011965358
66121329A81628   ALOYSIUS       DENNIS                   MO           29073983290
6612271A35B531   HEYDY          ALONZO                   NM           90012177103
6612381947193B   ZOE            HOLOD                    CO           90006928194
66127141172B29   HOPE           AMOUZOU                  CO           33008451411
6612922934B588   MARILYN        THOMPSON                 OK           90009162293
6612B211761936   YESSICA        CHAVEZ                   CA           90012092117
66131456A7193B   MIREYA         SOSA                     CO           90012904560
661325A6861936   JEANETTE       ELIAS                    CA           46067665068
66135A91491562   MARCOS         OLIVAS                   TX           90013920914
6613732555B531   TERRA          ECKHART                  NM           90013333255
6613743675416B   RYENN          WINSTON                  OR           90014904367
66141A9AA61964   JESUS          VAZQUEZ                  CA           90013750900
661452A7263646   JULIA          ROBERTS                  MO           90011292072
6614821215B241   ERIN           ASHLEY                   KY           90013912121
6614841825594B   ANGELICA       GARCIA                   CA           90011774182
661497A5751354   PATTY          HAMILTON                 OH           90013747057
66149A96751354   SHANIECE       HILL                     KY           90015290967
66154A29691592   DEBORAH        DELGADO                  TX           90010390296
66157A75681644   WILLIAM        CATANZARO                MO           90009590756
6615B2A3971964   RICCARDO       DAVENPORT                CO           90010972039
6615B827663646   LOUIS          ALEJANDRO                MO           90011638276
6615BA29691592   DEBORAH        DELGADO                  TX           90010390296
6616268A85594B   TASHA          MURRILLO                 CA           90000946808
66163427672B29   BONITA         DUNGAN                   CO           90011004276
6616353317193B   BEN            MAEZ                     CO           90012885331
6616597927193B   ALEXANDRA      OLSAVSKY                 CO           90013199792
6617445535B241   TIFFANY        DISSPAYNE                KY           90011004553
66176731472B36   ERIC           STOCK                    CO           90011997314
6617836A77193B   CHANEL         AGUILAR                  CO           90005183607
661785A235B241   ARRON          COWERD                   KY           90012175023
6617874A971976   ASHLEY         VALDEZ                   CO           90007297409
6617974A971976   ASHLEY         VALDEZ                   CO           90007297409
661834AA172B36   CATRINA        GONZALEZ                 CO           33036394001
661842A4572B43   CARLOS         ESQUIVEL                 CO           90004252045
6618487263168B   MAYA           MITCHELL                 KS           90010478726
6618618395B235   ALYSSA         SLOAN                    KY           90014081839
6618992715B235   KIARRA         KENNEDY                  KY           90009619271
6618B744533698   ROXANA         LEON                     NC           90006947445
661911A933B359   ESMERALDA      ZUNIGA                   CO           90012371093
6619124A951354   SHANI          COLLIER                  OH           90014622409
6619262947B46B   DONATO         FLORES                   NC           90014466294
661963A7261964   ISRAEL         PECINA                   CA           90013253072
66196AA8651354   MELISSA        HANKS                    OH           90010580086
66198697172B36   JARED          GRANTHAM                 CO           90013236971
6619919594B532   LATONYA        WARNER                   OK           90010751959
6619931322B828   LUCIANO        LEAL                     ID           90013913132
661B351475594B   NICOLAS        ZAPOTECO                 CA           90009085147
661B357719123B   SHENEKA        KINGS                    GA           90008565771
661B6111A72B43   DIONNE         VIGIL                    CO           90014681110
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661B692625B235   ANNA           WETHINGTON               KY           90012709262
661B996AA3B125   MARIA          BONILLA                  VA           90014489600
661BB2A535B235   THOMAS         DODSON                   KY           90012952053
661BB912A4B268   SEAN           HASTON                   NE           90012469120
6621235AA91522   LETICIA        VENTURA                  TX           90009903500
6621566395B241   STEPHANIE      SMILEY-CLAYTON           KY           90013196639
6621595284B57B   ASHLEY         RADER                    OK           90008289528
66216A94855973   ANTONIO        MORALES                  CA           90013680948
6621793975594B   ROBERTO        AMEZCUA                  CA           90007089397
66218863A72B29   RYAN           CLARK                    CO           90013248630
6621953622B828   RANDI          COFFMAN                  ID           90009785362
6621BAA8651354   MELISSA        HANKS                    OH           90010580086
662212A6455977   ANA            MARTINEZ                 CA           90008632064
66221AA715594B   JORGE          MAGANA                   CA           90007090071
66225A35961936   ANGELICA       QUEMUEL                  CA           90004890359
66225A7A697B57   WESLEY         RINCON                   CO           90008620706
66226429357B92   LANCE          HILBERT                  PA           90014314293
6622742964B588   EDNA           ABSHIER                  OK           90013654296
662274A275B235   VHELEJAH       TURNER                   KY           90013344027
6622764755B241   ERIC           HODGES                   KY           90010486475
662284A9951354   LARRY          PARKER                   OH           66015194099
6622953A72B828   HAILEY         VEGA                     ID           90013855307
66229943672B29   MICHELLE       DOZIER                   CO           90012659436
66232247A5B235   BRAD           ANDERSON                 KY           90012952470
6623444355B241   DWATNE         SPENCER                  KY           90011964435
66234A96A5416B   ALANNA         GARDNER                  OR           47065980960
6623B75277B46B   CHRIS          MAHONE                   NC           90012077527
6624363765B241   KAYLA          MILLER                   KY           90011516376
66245117572B36   JOHN ALEX      MACKINNON                CO           90012741175
662475A4972B29   JUSTIN         CARLSON                  CO           90012705049
6624781A972B43   ROSA           CONTRERAS                CO           90008678109
66248AAA872B36   MCCLINTON      LATOYA                   CO           33099070008
6624B42964B588   EDNA           ABSHIER                  OK           90013654296
6625318297B46B   BARBARA        CARD                     NC           90012871829
6625456A32B269   DENNIS         AUSTIN                   DC           90000985603
6625575364B27B   KATIE          BARROW                   NE           90014427536
6625818A555977   JUAN           COSIO                    CA           90002491805
6626217545B53B   DELILAH        SANCHEZ                  NM           90011091754
6627281947193B   ZOE            HOLOD                    CO           90006928194
662737A875B235   PATRICIA       UNSELD                   KY           90012577087
66274521A85946   RODNEY         LEON                     KY           90004345210
6627543658166B   WHITE          GLOVE                    MO           90011004365
6627835765B235   SIMONE         DILLARD                  KY           90012383576
66283A91255975   TRAVIS         DOBON                    CA           90014140912
6628497937193B   PAUL           VIBERT                   CO           90011009793
66285A99424B4B   EBONY          OLIVER                   DC           90010070994
6628638658166B   BENJAMEN       PUDENZ                   MO           90013663865
6628951585B241   TARA           KENNEDY                  KY           90011005158
66289777A91562   LUZVIMINA      CONTANZA                 TX           90006467770
6628B41475B235   SHAVONNE       DUNLAP                   KY           68089114147
66293365A91592   JESSICA        SOMMERFELD               TX           90014093650
66293A61955977   KOU            VANG                     CA           90011030619
6629475258B155   JAMES          CALLAGHER                UT           90009677525
6629825915594B   YURITZI        TORRES                   CA           90007122591
6629B715185886   JOSEPH         PEABODY                  CA           90013227151
662B119A991562   YVONNE         HERNANDEZ                TX           90009571909
662B1A4A97193B   RUSSELL        BURNETT                  CO           90013630409
662B342625416B   ROBERT         POWERS                   OR           47034544262
662B3514972B29   MICHAEL        JOHNSON                  CO           90013335149
662B5A7A55B531   JEFFREY        HAMM                     NM           90014280705
662B5AA1281644   DAVID          CARTER                   MO           90011250012
662B6361191998   LATANYA        BARNETT                  NC           90013963611
662B963612B828   PATRICI        ARREDONDO                ID           90011036361
662B9682881644   THERESA        OPATRNY                  MO           29063556828
66312A65791998   ISLANDE        LAMARTINIERE             NC           90002680657
6631313A261964   CASIE          CALAHAN                  CA           90011321302
663132A5891522   DENISE         JAQUEZ                   TX           90013902058
66313461A8166B   JENNIE         CORRAZANA                MO           90013314610
6631519A84B27B   JORDAN         BELL                     NE           90012141908
66318495A61964   JOSE           ORTEGA                   CA           90011414950
6631926A672B43   CHRIS          MARTINEZ                 CO           90014522606
6631959955B241   ASIA           FOWLER                   KY           90011365995
6631B781A93729   CARLOS         CENTENO                  OH           90013047810
6632325714B588   UNICA          RECOR                    OK           90010502571
663234A695B241   ADAM           LYLES                    KY           90014884069
66323A81A93729   MIRANDA        REITZ                    OH           90009150810
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6632951A291562   SHELSEA        RAMOS                    TX           90014015102
6633188355416B   BRUCE A        SPOTSWOOD                OR           90012178835
6633645395416B   CHRISTOPHER    LEDGETT                  OR           90014764539
6633B728872B36   TODD           RICHEY                   CO           33039557288
6634356A324B64   TYRONE         PINKNEY                  DC           90014385603
6634588794B588   LAURA          MELECIO GARCIA           OK           90013258879
6634825515B531   CHEYENNE       BOOG                     NM           90012462551
6634B589961964   ROBERTO        RUIZ                     CA           90014885899
6635555317B46B   SHANYKA        BALVER                   NC           90014695531
6635617798166B   JESSICA        BOUDROW                  MO           90011151779
6635652242B828   MICHAEL        YOUNG                    ID           90012695224
66359242A71964   LYNN           PARKER                   CO           90007042420
66359264A3168B   ROBIN          JAY                      KS           22009912640
66359714A4B588   CLAUDIA        VASQUEZ                  OK           90013807140
663612A987B329   EDUARDO        MAMO                     VA           90006402098
6636147977B46B   SUSAN          DILLEHAY                 NC           90001954797
66363A7777193B   STEPHEN        EDWARDS                  CO           90013630777
6636675454B588   TRAMINE        ALLEN                    OK           90012537545
66366859A7193B   LISA           REEVES                   CO           90014688590
6636858215594B   ALFREDO        AGUILAR                  CA           90007155821
6636B33445B241   CHRIS          MCCRAW                   KY           90012913344
6636B531355975   MARIA          GONZALEZ                 CA           48030585313
6637218575416B   ROBERT         CHENEY                   OR           90015041857
6637326A172B29   BRIGET         ORTIZ                    CO           90012612601
6637368987193B   JUSTIN         MCCARTHY                 CO           32025286898
66374865A55973   ABRAHAM        MADRIGAL                 CA           90013728650
66376A92972B43   LUIS           SANCHEZ                  CO           90011520929
6637966362B893   SALVADOR       ESCAMILLA                ID           90008066636
6637B738A4B588   CHASITY        WHITE                    OK           90013367380
66382A22872B27   PATRICIA       RUSH                     CO           33095260228
66388644272B27   CARRIE         LEONARD                  CO           90013836442
66388776A33656   SHAWN          HIGGINS                  NC           90012337760
6638919747B46B   MICHAEL        HAMMES                   NC           90011771974
6639163335B372   LEVI           REPP                     OR           90012236333
6639556A324B64   TYRONE         PINKNEY                  DC           90014385603
6639685367193B   SHERRY         HENDERSON                CO           90013318536
663974A7997943   GUSTAVO        SANDOVAL                 TX           90007684079
6639B686891522   DENNISE        MONTALBAN                TX           90014696868
663B13A615B241   MICHAEL        HOLSAPPLE                KY           90014173061
663B145A855977   LUPE           RIVERA                   CA           90014154508
663B1837171964   THOMAS         PADILLA                  CO           90005888371
663B2434A91522   CRYSTIANLEO    REYES                    NM           90011764340
663B2777291998   MICHELLE       HOWARD                   NC           90009727772
663B324A951354   SHANI          COLLIER                  OH           90014622409
663B34A2155973   ROSEMARY       NICKLES                  CA           48016714021
663B9249691998   HEATHERY       DUNN                     NC           90013122496
663B946A872B27   JOHN           PEREZ                    CO           90012994608
663B968242B828   KENNETH        PRICE                    ID           90012476824
663B9A62657127   GERBER         PAREDES                  VA           81085120626
663BB2A338166B   JAKE           PATTY                    MO           90014562033
66413655772B27   KEN            TRUMBULL                 CO           90006796557
66413A44693729   DEBBIE         CLARK                    OH           90009810446
66413A78561936   CHARLISSE      BROWN                    CA           90010590785
664157A2A51354   ADAM           HUGHETT                  OH           90006167020
6641789A44B562   FRENCHE        DRAKE                    OK           90012628904
6641B13425B241   DOUG           DAGES                    KY           90014621342
6641B755155975   JOHN           RAMIREZ                  CA           90011237551
6642345AA5416B   NICOLE         ELLIOTT                  OR           90003484500
6642643968B168   ANDREW         TRZNADO                  UT           90001944396
6642948A461964   EVETTE         RODRIGUEZ                CA           90007624804
664297A4791562   ALMA           SAENZ                    TX           75005167047
6642B65297193B   TINA           PALMER                   CO           32053816529
66431978A5B235   MELISSA        PARKER                   KY           90013599780
66433A29755975   DEWAYNE        BARTON                   CA           90013970297
66435677A3168B   JAMES          HORNER                   KS           90009716770
6643822484B27B   CHERIE         HECKMAN                  NE           90009052248
6643B579272B29   SALOME         FLORES                   CO           90005565792
6644B18755416B   ABBY           DONNER                   OR           90012851875
6644B796263646   RUSSELL        HESSER                   MO           90011667962
6645229A761964   MARIALENA      FLORES                   CA           46042562907
6645424A993729   STEVEN         WILSON                   OH           64561982409
6645828825B531   LAWRENCE       GONZALES                 NM           90014122882
66458A3A86B248   DANIELLE L     DARLE                    AZ           90014530308
66459391572B36   LONNIE         ISBORN                   CO           33094903915
6645B723991522   CARLA          CINTORA                  TX           90011767239
6645B788A55975   EDGARDO        BASURTO                  CA           90012617880
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6645B825463646   VICTOR            HERNANDEZ              MO           27565518254
664656A1955977   EDGAR             GALINDO                CA           49017366019
6646591AA7193B   CHELSEY           HARTWELL               CO           90013209100
66466A2567B46B   BAGNER            PEREZ                  NC           90009250256
6646929597193B   NADINE            OLLIER                 CO           90014602959
6646949845B229   RACHEL            GILES                  KY           68014084984
66469A1555416B   KYLE              WOODYATT               OR           90010970155
6647327698166B   BARABARA          JOHNSON                MO           29017112769
6647386372B828   VANNESA           GUAJARDO               ID           90012768637
6647429A491592   AARON             GONZALEZ               TX           75079222904
6647518A85B241   EDDIE             ROBERTS                KY           90013281808
6647585A861964   AIOTEST1          DONOTTOUCH             CA           90015128508
6647B2A7291562   ARLENE            HERNADEZ               TX           90010642072
6647B3A6861936   KARLOZKRIZ        HERNANDEZ              CA           46081753068
6648175444B27B   EGYPT             COOPER                 NE           90011147544
66483636A81644   EDWIN             ESPINOZA               MO           90013716360
6648459557193B   MICHELLE          MEAD                   CO           90014135955
66485274572B43   PEGGY             BREIT                  CO           90013362745
66485786A5594B   SUZETTE           MATA                   CA           90007217860
66485972972B29   JOSEPH            SCAGGS                 CO           90012399729
6648842424B588   QUINCY            ALLEN                  OK           90014804242
66488A57291592   GUILLERMO         ROSALES                TX           90012780572
66493A9715B531   NANCY             STUART                 NM           36073720971
6649574724B27B   TROY              OLES                   IA           27083837472
6649615A661972   OSCAR             RAMOS                  CA           90009541506
664B2577691998   BLANCA            DIAZ-LOPEZ             NC           90014135776
664B2A7478B168   PEDERSON          LELAND                 UT           31016510747
664B5639A7193B   ONEAL             TONY                   CO           90010116390
664B64A7155973   ALEJANDRO         JACOBO                 CA           90011374071
664B66A964B588   JOSLYN            PIERSON                OK           90013536096
664B831915B241   NAIROBI           APARCEDO               KY           68004003191
664B835952B269   ZENATTA           THOMPSON               DC           90001863595
664B988365B131   KRYSTAL           WILLINGHAM             AR           90008158836
664BB612A55977   CRISTINA          PEREZ                  CA           49080626120
6651111745416B   JOHNNIE           STORTS                 OR           90010291174
66515318872B27   DEBRA             TAPIA                  CO           90013213188
665189A8A91562   MARTHA            BERMUDEZ               TX           90012249080
66519115A55973   SABRINA           RENTERIA               CA           90014301150
6651B215961936   JESUS             OCAMPO                 CA           90012632159
6652138A94B27B   DEVELLE           SMITH                  NE           90014883809
6652227275594B   ANGEL             PEREZ                  CA           90007232727
66523A94155977   LETICIA           JIMENEZ                CA           90005640941
6652422734B27B   THOMAS            KELLER                 NE           90013932273
66526433A51354   AMANDA            BAILEY                 OH           90013164330
6652B363655973   ANTONIO           TORRESS                CA           90013683636
66532829A71964   JAMES             LEE                    CO           90011328290
665342A7A55977   LINDA             ENG                    CA           90011522070
66537A7215B235   DAVID             BANNER                 KY           90005190721
6653841444B588   JEFREY            SCHMIT                 OK           90011644144
665387A4572B27   JOSEPH            LUCERO                 CO           90012317045
6654395A74B27B   BRIANA            TAYLOR                 NE           90011649507
665444A2961964   VERONICA          ALAMILLA               CA           90006844029
6654485A861964   AIOTEST1          DONOTTOUCH             CA           90015128508
6654568995416B   JONTHAN           GRAY                   OR           90012476899
66549829A71964   JAMES             LEE                    CO           90011328290
6654997287193B   HEATHER           BENAVENTE              CO           90012749728
6655129387B46B   ELBA              BARRINGER              NC           90012102938
6655382A63B335   GABE              CHAVEZ                 CO           90014498206
6655599248B168   PAULA             HERRERO                UT           90010869924
6655686372B828   VANNESA           GUAJARDO               ID           90012768637
66559349A91562   MARTHA            CEBALLOS               TX           90011863490
6655B721155981   JASON             HOBBS                  CA           90012017211
6656179A97B46B   BOBBIE            DOCIER                 NC           90013377909
6656673274B22B   EVA               MARTINEZ               NE           90006397327
6656725795B235   CAMERON           KINSEY                 KY           90012952579
6656894737193B   KEVIN             HAWKINS                CO           90007789473
665695A5255977   ROSARIO           ELORZA                 CA           90012325052
6656968747193B   MAGGIE            SCHINE                 CO           90007276874
6656B14995B235   ALICIA            REED                   KY           90010991499
6656B163257B92   RARSA             GASTANO                PA           90014131632
6656B266693729   JUAN              ARIAS                  OH           90014022666
6657443235B531   ROMERO-RODIGUEZ   ROBERTO                NM           90012704323
6657772972B828   LAURA             DAVIS                  ID           90014607297
6657861345B235   JOHN              CRENSHAW               KY           90012236134
66582232772B43   KARLA             LOPEZ                  CO           90013932327
6658537335B235   CHARLES           LUSH                   KY           90011163733
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66585535A5416B   LANESE             BERWER                OR           90013345350
66589422A61964   SERGIO             DOMINGUEZ             CA           90013104220
6658998255B141   MICHELLE           JACKSON               AR           23004149825
6658B641191592   MELISSA            MUNOZ                 TX           90013866411
6659139825416B   JESSE              ELLINGWORTH           OR           90014393982
6659429573B125   LAKITA             HALL                  DC           90013932957
6659579454B588   ROSETTA            BOWEN                 OK           90011817945
66598A14391592   ROBERT             ESCOBEDO              TX           90008580143
665997A3463646   TRACY              CAWTHON               MO           90005257034
6659984A561559   DARLENE            THOMAS                KY           90010818405
6659B643961936   THOMAS             PETERIVELLI           CA           90011376439
665B1722A71964   FELIPE             MANZANARES            CO           90012897220
665B2741172B36   ANGELA M           WELLER                CO           33042537411
665B429A151354   THERESA            ENGEL                 KY           90012812901
665B538352B828   BRANDON            FRETWELL              ID           90013603835
665B629755B235   JANIYA             HOLT                  KY           90014892975
665B82A725597B   JANIS              SCHMIDT               CA           90006662072
6661296287B46B   DARRIN             STANBACK              NC           90010939628
66612A21355975   NORMA              TAPIA                 CA           90012980213
66613A19155975   ANA                PAREDES               CA           90013030191
6661821653168B   RACHEL             FORSHEE               KS           22084402165
6661BA27191592   DIANA              ESPARZA               TX           75044530271
666218A3A8B168   KAIRENE            LOFTUS                UT           90007188030
66621911872B43   REYNALDO           MEZA                  CO           90006739118
666224A9A55973   JOSE               PANTOJA               CA           90013684090
666229A7461936   CLAUDIA CAROLINA   RAMIREZ               CA           90010449074
66623262A91592   MIGUEL             FLORES                TX           90013142620
6662342734B588   KAELYN             GREENE                OK           90002774273
6662437855416B   SANDI              KELLEY                OR           90012663785
6662527955B241   MARIA              BILLINGSLEA           KY           68053912795
6662675397B46B   RANDALL            NEWKIRK               NC           90009847539
6662B466455973   DEON               MORALES               CA           90012174664
66631393272B27   DAVID              CAMPBELL              CO           90013013932
66631A77772B22   MANUEL             GARCIA                CO           90001330777
6664171525B241   SHAWN              DUPIN                 KY           90013217152
66646A7232B828   CODY               CLARK                 ID           90013410723
66654A1837B46B   KIMBERLY           ALEXANDER             NC           90012560183
6665631A272B43   MATTHEW            THOMAS                CO           33076833102
66656A5A35B531   MELVIN             REYES                 NM           90006540503
6665963565594B   EDUARDO            DIAZ                  CA           90006086356
66659A5965B531   PAULA              COUCHMAN              NM           90011300596
6665B47364B588   ENRIQUE            ARVIZU                OK           90013404736
66662449472B43   VICTORIA           PEREZ                 CO           90012984494
6666475255B531   CELESTE            NAVA                  NM           90009407525
6666511527B46B   ARMOND             BRADLEY               NC           90003141152
6666649824B268   CALERO             VALUB                 NE           90013214982
666667A484B268   JAMES              RODNEY                NE           90008737048
66668521A85946   RODNEY             LEON                  KY           90004345210
66668A25491562   ALEJANDRA          GUTIERREZ             TX           90003290254
66669471272B29   RICARDO            FLORES                CO           33084204712
6666B332A91562   JOSHUA             COLLINS               TX           90011023320
6666B432293729   DASHAWN            HAYDEN                OH           90014014322
66672354A7193B   JAQUANA            WOOLEY                CO           90009863540
666767A5671964   JAHLEENE           MAESTAS               CO           90010977056
66678A63661936   SUSANA             DE LA TOBA            CA           90003650636
6667B17218166B   ESMERALDA          GALVEZ                MO           90012221721
6668198A27193B   JEROME             ROSENOGLE             CO           90013259802
6668384365416B   HEIDI              BALL                  OR           47098928436
6668589427B46B   SONJA              ELLIS                 NC           90011008942
66686354A61964   POLLYANNA          FANNA                 CA           90013743540
66687172972B29   SHARON             MYHRE                 CO           90013151729
6669181A28166B   RIGOVERTO          GALLEGOS              MO           90012408102
6669534A55B531   BRENNEN            CARRILLO              NM           90012273405
6669653134B588   IVETTE             LOPEZ                 OK           90013245313
6669757A45B235   LAUREN             SHARP                 KY           90013095704
6669968995416B   JONTHAN            GRAY                  OR           90012476899
6669976134B588   DANIEL             FUENTES               OK           90012537613
6669B39487193B   DAVID              ROMANICK              CO           90012533948
6669B63A372B29   TAYLOR             DINGLEBERRY           CO           90014006303
666B2287593729   TALAQWON           SURLES                OH           90013932875
666B24A1171964   JASMINE            BANKS                 CO           90014894011
666B8A4465416B   AJ                 WALTON                OR           90013940446
666BB62875594B   DANIELA            ANGUIANO              CA           90007296287
66712118572B43   NATHAN             COOPER                CO           90013911185
66713433A51354   AMANDA             BAILEY                OH           90013164330
667137A332B828   ALEJANDRO          MENDOZA               ID           90011077033
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667157A2771964   SCOTT           LAUGER                  CO           32096957027
6671B92A672B36   OLVERA          ARIADNA                 CO           90013189206
66721AA4871964   SHERIKA         BARNES                  CO           90014590048
6672255A951322   JOANN           RICHARDSON              OH           90010655509
66723A29371964   GABRIEL         REED                    CO           90014590293
667273A2991998   RAFAEL          RODRIGUEZ               NC           90013133029
6672818A861964   THOMAS          DOUGHLAS                CA           90013881808
66728A7195B531   HERLINDA        NAJARRO                 NM           90005350719
6672B29925416B   KIBER           JARRELL                 OR           90010362992
6672B8A2591998   MOLLY           SPARKS                  NC           90013918025
6673337A251354   ANTONIA         REYNALDO                OH           90009643702
6673374A191592   BIANCA          OBREGON                 TX           75093607401
66733A22172B43   DAMIAN          PEREZ                   CO           33027160221
66733A7195B531   HERLINDA        NAJARRO                 NM           90005350719
6673748185B235   LARRY           WILSON                  KY           90013204818
66737A49697122   SELENE          ZACARIAS                OR           90009720496
6673867497193B   DOMINICK        BARTALONE               CO           90014946749
66742869A71964   BRITTANY        YANCEY                  CO           90013748690
66743243472B43   MARCIA          VETTER                  CO           90011202434
6674361787B46B   MANDY           IZEY                    NC           90011446178
6674B25469123B   JAWAN           JOHNSON                 GA           90014552546
6674BA3265594B   ADRIAN          MALDONADO               CA           90008470326
66751455A61936   ARMANDO         GARCIA                  CA           90012564550
6675147927B46B   ANAHI           CRUZ                    NC           90011494792
6675173247193B   CORY            BELL                    CO           90006477324
66752261572B29   AGUSTINA        PINEDA                  CO           90013252615
66752551672B36   GERDA           TANYA                   CO           90002955516
66754345772B36   BRITTANY        CHAVEZ                  CO           90011473457
6675521237B46B   CHAREE          CAMPBELL                NC           90014782123
6675773A455975   REYNALDO        MOSO                    CA           90013877304
667591A517193B   QERINA          QUINTANA                CO           32005211051
6675B38A172B36   ESTAPHEN        HUMILDAD                CO           90007193801
66762A2885B241   EVERETT         BONDS                   KY           90008420288
66762A3227193B   DANIEL          WEST                    CO           90012630322
667683A2661964   ROBERTO         RUVALCABA               CA           90011943026
6676943645B241   DAMIAN          MURRAY                  KY           90007094364
66776561A72B29   LORENA          MORALES                 CO           90012025610
6677672224B27B   JOEL            SCHLOTFELD              NE           90011137222
6677738698B168   QUERSTIN        NELSON                  UT           90005673869
6677917725B235   AMBER           CHEEKS                  KY           90013961772
6677951A97193B   KIM             STEWART                 CO           90010525109
66782159872B43   CHISTOPHER      BACA                    CO           90011871598
6678323222B956   ENRIQUE         CASTANEDA               CA           48015302322
66784A29891592   RALPH           LAUREN                  TX           90010090298
66792454872B29   CELIA           RAYLENE BALES           CO           90001854548
6679247565B531   ANDRES          ORNELAS                 NM           90008204756
6679331A991552   GLORIA          MAGALLANEZ              TX           90009333109
6679637375B235   TACHIA          TAYLOR                  KY           90012463737
6679729225B235   JESSICA         ARMSTRONG               KY           90010992922
66798782A55975   MARTHA          MANDUJANO               CA           90008657820
66799364A91998   CRAIG           FISCHER                 NC           90013963640
6679B321891592   STANLEY         ESTALA                  TX           90012953218
667B1369A55977   MARIA           PONCE                   CA           90010313690
667B2487951354   SKYLAR          STINCHCOMB              OH           90012984879
667B398818166B   THE             ONE                     MO           29096899881
667B47A4661936   RUBEN           LOMELI                  CA           90012317046
667B7AA545416B   JOSEPH          KOCER                   OR           90012470054
667B8384955977   KEN             WILKEROSON              CA           49067973849
667B972312B828   ALEXANDER       CASSELL                 ID           90012297231
667BB559672B43   JOE             SMITH                   CO           90014875596
6681337A37193B   SEAL COAT       SOLUTION                CO           90012013703
66814329472B27   CARLOS          SANDOVAL                CO           90012903294
66814493A91998   ANTHONY         ALSTON                  NC           90011714930
66817153972B27   ANGEL           GUTIERREZ               CO           90013051539
66819741172B36   MARIO           GUTIERREZ               CO           90010967411
66821A69492836   FELIX           LOPEZ                   AZ           90014110694
6682582A571964   JENNIFER        LONCKI                  CO           90014608205
6682686A371964   TROY            MORGAN                  CO           32011908603
668295A1372B27   SERGIO          TOSCANO                 CO           33051855013
6682B84975B241   THOMAS          COLEMAN                 KY           68093028497
6682B8A8761964   CARLA LIZETTE   LOZANO                  CA           90013248087
66831764A5B531   ANGEL           LOPEZ                   NM           90007957640
6683282958166B   TRACY           GRATTY                  KS           90011208295
6683692664B588   JULICIA         BROOKS                  OK           90011659266
6683749255B531   SANDI           ASSEL                   NM           90003144925
66838A13291998   KIM             DANIELS                 NC           90014860132
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6683B4A7155975   ANA             TAPIA                    CA           90010094071
66841A14791522   RICHARD         CORNEJO                  TX           90011900147
66842663A81644   NICOLE          BEAMGARD                 MO           90000376630
668437A952B828   DANIELLE        BOND                     ID           90013737095
6684517A861964   ESPINOZA        MARIOA                   CA           90001341708
66846A13272B29   JERRY           RODRIGUEZ                CO           90013240132
6684761988166B   MASHEIKA        DAVIS                    KS           90013676198
66847A25472B27   SHEREACE        JUAREZ                   CO           90003960254
66848796A91522   ROSA            RAMIREZ                  TX           90014697960
6684B17374B588   MARKETT         JONES                    OK           90013021737
6684B69125B235   SONIA           HEAD                     KY           90005006912
6685155624B588   MARIA           JUANES                   OK           90002145562
668519A8681644   JASINTO         GONSALEZ                 KS           90014649086
66854516A5B531   DENISHA         QUINTANA                 NM           90009925160
6685715AA72B27   JANET           JIMENEZ                  CO           90013721500
6685B36524B27B   CHRIS           PETERS                   NE           90013543652
66861447772B43   THERESA         MCGRATH                  CO           33003814477
66862A29972B43   JOSE            QUINONEZ                 CO           90013560299
66868976A91562   ELIZABETH       SANTOS                   TX           90008859760
6686946765416B   BRIAN           MAY                      OR           47014694676
6687152367B46B   KASON           WILSON                   NC           90013435236
6687182975416B   KARI            STEINEKE                 OR           90013158297
66872A4545B241   BRETT           SCHMIDT                  KY           90013080454
668753A625B571   CRYSTAL         RIVERA                   NM           90013953062
6687544A655977   LETICIA         ORTEGA                   CA           90013934406
6688218264B588   NIGEL           BLAND                    OK           90013021826
6688494528B168   BRIANNA         CHAVEZ                   UT           90010919452
6688827745594B   MARIA           RAMOS                    CA           48071302774
668884A6355975   SARAH           BLEDSAW                  CA           90013364063
6688999153B342   VU              LANDSCAPE                CO           90008589915
6688B17A78B168   ATOCHA          BARRANDEY                UT           31017241707
6688B236572B27   REYNAUD         MAYRA                    CO           90010752365
6688B4A9555975   MYRA            RIVERA                   CA           90012884095
6689166A571964   JONATHAN        FLORES                   CO           90011386605
66892A1225B235   SHANIQUA        SHECKLES                 KY           90014910122
66892A47493729   NIKOLAUS        FOECKLER                 OH           90011190474
6689762A372B27   NIEKIA          BROWN                    CO           90012866203
66898A43261964   JADE            ALLEN-FOREMAN            CA           90014430432
66898AA8581644   NICOLE          NELSON                   MO           29055770085
66899A35255977   ANDREA          RUSBOLDT                 CA           90012370352
66899A6247193B   KENYETTA        TYLER                    CO           90013860624
6689B39A372B43   BEN M           WICHMANN                 CO           90004513903
668B241964B588   ROBERT          SULLIVAN                 OK           90014354196
668B7423291998   SHAMECA         MCKINNIE                 NC           90011714232
668B7664261964   SANDRA          PARTIDA                  CA           46027046642
668B8218855975   CASEY           KELLOGG                  CA           90012772188
66911A3A661936   RODOLFO         HERNANDEZ                CA           90014330306
6691311914B27B   CURTIS          WHEAT                    NE           27007481191
6691339A991562   NORMAN          RHODES                   TX           75041893909
6691422817B46B   BRIDGETTE       MILLER                   NC           90014162281
6691556628166B   LEAH            RUTH                     MO           90010385662
6691861325B241   KIMBERLY        HAMILTON                 KY           90011146132
6691B697872B29   EMANUEL         LOPEZ                    CO           90007126978
6691BA28372B29   DWAYNE          WOODS                    CO           90014610283
6692133565B571   MARK            MALOUFF                  NM           90013953356
66921A8397B46B   EGYPT           WILLIAMS                 NC           90008210839
669224A1171964   JASMINE         BANKS                    CO           90014894011
669234A912B828   ANGELITA        VELA                     ID           42064554091
6692371712B828   MARIA           MARTINEZ                 ID           90010347171
6692414998166B   MAHOGANY        JOHNSON                  MO           90009231499
6692438817193B   SERGIO          GUIJAS                   CO           90012743881
6692645735B241   TRINA           MILBURN                  KY           90012174573
6692681575416B   RICHARD         WARREN                   OR           90014148157
66926A29351354   LAINEY          BROWN                    OH           90011050293
66927867A91522   BRANDON         COCHRAN                  TX           90014698670
6692799518166B   PORCHIA         LOLE                     MO           90011089951
6692837937B46B   CASSANDRA       HUDSON                   NC           90010163793
6692B74137193B   TRACY           SNOW                     CO           90014857413
6693158475B241   ANGEL           JUDAH                    KY           90013915847
66931843A61936   VERONICA        DOBBS                    CA           90013178430
6693437165594B   RUBEN           HERNANDEZ                CA           90007513716
6693497785B531   JOSE            LORENZO MEDIA            NM           90014969778
6693674442B828   DAMIAN          SANCHEZ                  ID           90014337444
6693826375B241   ANGEL           BLUITT                   KY           90013122637
669391A1661936   STEPHANIE       GODINEZ                  CA           90012771016
6693979847B46B   APRIL           BARBER                   NC           90010257984
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 615 of 1007


6693B182981644   KATHERINE        BURNS                  MO           90014711829
6694162485B241   JANESKA          HURKES                 KY           90009446248
6694482A98166B   DAVID            STRODE                 MO           90013858209
6694485357193B   JOSE             GARCIA                 CO           90013988535
66945141472B43   UNIQUE           HERNANDEZ              CO           90013581414
66945389A4B588   ERNEST           TOVAR                  OK           90011663890
66947A8A42B956   GAYLA            MCLAIN                 CA           90005340804
66947A94255975   FELICIA          ARIAS                  CA           90013460942
6694819518166B   JONATHAN         VILLACIS               MO           90012851951
66949713A5B235   LAMONTE          BRANHAM                KY           90012437130
6695484A972B27   SERGIO           DEVORA                 CO           90013118409
66954A97851354   JASEMINE         PITTS                  OH           90012570978
6695529145B235   LEXIUS           DENTON                 KY           90011972914
669553A9455975   AMBER            MAHUVIEN               CA           90007683094
669573A1191592   MARIA            RODRIGUEZ              TX           90011403011
6695B24A84B581   DUONG            HOANG                  OK           90011002408
6696125127B46B   MARTIN           RODRIGUEZ              SC           90014472512
66962528272B29   NICANORA         BAHENA                 CO           90012655282
66962A11391522   GRISEL           ROSALES                TX           90013140113
6696344744B588   SHANE            ANDERSON               OK           90011814474
669657A9555975   ANTONIO          RIOS                   CA           90013077095
6696766832B828   DELORIS          WYATT                  ID           42049246683
669692A1963646   SEAN             HINKLE                 MO           90013072019
6696B63192B828   JOSE             PATINO RIOS            ID           90013276319
6697169885B235   HANNAH           DEVEREAUX              KY           90013706988
6697749843168B   TRESSIE          GRIFFIE                KS           90010094984
6697767722B828   JASON            GREER                  ID           90013356772
66978875672B36   SABRINA          GALLEGOS               CO           90012918756
6697BA48791522   MARIA            PORTILLO               TX           90011900487
66981A5594B27B   SAN              LINN                   IA           90012050559
66981A7225416B   DENISE           KALATZES               OR           90011180722
66982AA7561964   STEVE            ENGLAND                CA           90013870075
66984354A71964   CHRISTOPHER      TATE                   CO           90010993540
66985843872B36   JAZMINE          MORALES                CO           90015068438
66987518472B29   DLAVIA MARIE     WILLIS                 CO           90013495184
669876A817193B   MICHELLE         JOHNSON                CO           90011546081
66987AA3871964   DANNIELA         MEYA                   CO           90012150038
6698B283572B36   CISCO            MIERA                  CO           90013872835
66995894872B36   NADINE           MONDRAGON              CO           90011088948
66999A85A55977   HENRY            ORTIZ                  CA           49072910850
6699B289A5B241   GARY             ROY                    KY           90011122890
669B1422A5B235   VINCENT          WRIGHT                 KY           90013544220
669B2257491562   REBECCA          BUSTILLOS              TX           90012872574
669B5638181644   SUZANNE          BOLIN                  MO           90014106381
669B6648A55977   MARK             MARTINEZ               CA           49009586480
669B9843791522   STEPHANIE        SALAS                  TX           90011778437
669BB494455973   ROSEANNA         CARDENAS               CA           90007824944
66B11125772B36   JORGE            BRAVO GUERRERO         CO           90010381257
66B11265891562   YESENIA          RAMIREZ                TX           90004572658
66B1159637B46B   LAMARIO          DUNLAP                 NC           11011445963
66B1181455599B   DOUGLAS ALBERT   BECKMAN                CA           90005648145
66B1265993B125   DANIEL           GRADOS                 DC           90011136599
66B1376763168B   ANTHONY          KLIMA                  KS           22083697676
66B1593787193B   LORENZO          LUCERO                 CO           90013229378
66B16622391522   VICTOR           GARCIA                 TX           90005346223
66B16998184392   GERALD           KENNEDY                SC           19091609981
66B17444872B27   CARLOS           MARTINEZ               CO           90012604448
66B1981342B828   VERONICA         DUARTE                 ID           90007018134
66B2169525B235   JANAE            SMITH                  KY           90014906952
66B23122261964   SEBASTIAN        GONZALEZ               CA           46066811222
66B23552393729   CHASE            BROWN                  OH           90014005523
66B25561571964   DAVID AND KIM    HARRIS                 CO           90014365615
66B2588215B531   JORGE            CHAPARRO               NM           90015188821
66B26A99951354   TIM              ELI                    OH           90008050999
66B34897255973   TAMARA           MASOUD                 CA           90003528972
66B34A2484B268   ADRIANA          FREYRE-MARQUEZ         NE           27072070248
66B35A37261964   CYNTHIA          HOLDER                 CA           90012840372
66B3646418166B   TANISHA          DUPREE                 MO           90003744641
66B38519872B27   JASMIN           WALKINS                CO           90010775198
66B38814591562   ALMA             RAQUEL                 TX           75089128145
66B3B149263646   MARIE            DEES                   MO           90014891492
66B3B2A3891562   GRACIELA         PEREZ                  TX           90014682038
66B3B961881644   MICHAEL          BROADWELL              KS           90014119618
66B41A7848B17B   JONATHAN         HINCKLEY               UT           90007430784
66B42A99791535   LIZETTE          ARMENDARIZ             TX           90013160997
66B44134772B27   ERIKA            RUYBOL                 CO           90010321347
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66B45477291998   DIANNE         JONES                    NC           90013914772
66B47531555977   DAVID          SOITO                    CA           90010905315
66B49218181644   DOLLA          BILLS                    MO           90013352181
66B51238371964   ANYELO         ROLDEN                   CO           90014252383
66B52294191592   JACQUELINE     HERNANDEZ                TX           90012952941
66B52319384392   DANIEL         DOSTER                   SC           19014183193
66B5474744B588   TIRANN         LAWS                     OK           90013047474
66B55287891592   NAYELI         DEL RIO                  TX           90013622878
66B5529627193B   ASHLEE         MICK                     CO           90011962962
66B5776928166B   JOSE           RODRIGUEZ                MO           90012457692
66B587A4555975   YESENIA        MENDOZA                  CA           90012307045
66B5B285691522   JENISSA        LOI                      TX           90014692856
66B5B373955973   WILLIAM        JAYNES                   CA           90012553739
66B62736881675   TONY           KING                     MO           90012947368
66B62913593729   REBECCA        JAMES                    OH           90004819135
66B63A6345B241   ASHLEY         TUCKER                   KY           90013650634
66B6463827193B   DAMIAN         GOMEZ                    CO           90010996382
66B67226251354   CLOELYNN       PENNIX                   KY           90012602262
66B6777314B946   JENNIFER       BALLINGER                TX           90007637731
66B69866172B36   JOSE           CISNEROS                 CO           90011148661
66B7263827193B   DAMIAN         GOMEZ                    CO           90010996382
66B7943597B46B   ROSHAN         BHUJEL                   NC           90003974359
66B81286491592   ROSA           CHAVEZ                   TX           75051062864
66B82A7537193B   CHRISMELISSA   WOODS                    CO           90005270753
66B84188A61936   REBECCA        ALFORD                   CA           90013281880
66B86416891998   ANA LILIA      NERI-ISLAS               NC           90007734168
66B86445755975   PERLA          GARZA                    CA           90011984457
66B885A4971964   JUAN           RANGEL                   CO           90014825049
66B8936313168B   LANDON         LAMB                     KS           22041493631
66B8B212255973   PERLA          CHAVEZ                   CA           90014462122
66B9321655416B   SHAUN          KJOBERG                  OR           90012892165
66B93428591562   ISRAEL         CARDOZA                  TX           90013934285
66B94143455977   RASHAD         MCBRIDE                  CA           90012731434
66B944A9455975   HORACIO        VELAZQUEZ                CA           90014124094
66B948A2A91522   BRENDA         SARINANA                 TX           90014168020
66B95476261936   BLAS           VAQUEZ                   CA           90005174762
66B95617355975   VANESSA        CISNEROS                 CA           90014006173
66B96A91971964   JAE YUE        LEE                      CO           90002750919
66B9713A955973   YESENIA        GONZALEZ                 CA           90009031309
66B97AA3A55975   ELEAZAR        MAGANA                   CA           90013850030
66BB231964B588   CHRISTIE       GRANT                    OK           90011533196
66BB333972B828   CHARLES        FERDIG                   ID           90012253397
66BB4271891522   FILIBERTO      LUPERCIO                 TX           90014672718
66BB573A455975   JOSE LUIS      SALGADO                  CA           90013977304
66BB8994972B43   ERIKA          GARCIA                   CO           90001129949
66BBB52134B588   BRUCE          SEERY                    OK           90014155213
6711B627A61964   MARCO          COLON                    CA           90011096270
6712274258B183   NINA           MAMONA                   UT           90014447425
6712338835B235   WILLIAM        BROWN                    KY           90008413883
67123549472B36   DANIEL         MURPHY                   CO           90002135494
671261A7755973   ARTURO         ATILANO                  CA           90013841077
6712629A655973   MATTENE        BAKICH                   CA           48090362906
67126532672B36   EDWARED        CHACON                   CO           90009465326
6712685874B588   BRITTANIA      VILLALOBOS               OK           90013498587
6713151424B27B   AMANDA         MCCONNELL                NE           27086465142
671341A367193B   ANNAH          HENDRA                   CO           90014291036
6713B363891522   NEREYDA        PEREZ                    TX           90011283638
67141A2124B27B   RICARDO        LESSLEY                  NE           90007380212
6714399115416B   CASEY          GINNIS                   OR           90010309911
67145975A61936   EDUARDO        GONZALEZ                 CA           90011359750
67146A25681675   DELPH          MICHAEL                  MO           90012710256
67148137772B29   ANGELICA       ALBA-LUCIO               CO           90001101377
67149327A85689   CASSANDRA      SHOPE                    NJ           90009993270
67151763472B49   SALVADOR       RODRIGUEZ                CO           33012867634
6715792175B235   AMBER          BLOOTHOOFD               KY           90014199217
6716345234B588   AMANDA         MORAN                    OK           90013724523
671645AA971921   ELVORA         SCHMIDT                  CO           90010255009
6716591A37193B   LEONARD        PAR                      CO           90003849103
6716719387193B   TINA           MOORE                    CO           90010921938
671685A4751374   ANISSIA        JOHNSON                  OH           90008375047
6716B544561964   LEE            WILLIAMS                 CA           46032025445
6716B8A447193B   DALION         BARTLET                  CO           90014858044
6717174967193B   MICHAEL        POWELL                   CO           90012637496
67172343A55977   JARED          FIGUROA                  CA           90013683430
6717483A84B588   ALICIA         BICKEL                   OK           90010038308
67175A75891522   VIRAMONTES     SALDEZ                   TX           90005610758
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67176466A85689   BERZAIN                VELAZQUEZ        NJ           90012874660
6717B343A72B43   CHRISTIAN              HUNT             CO           90014373430
6717BA16255977   HECTOR                 FLORES           CA           90012790162
6718287794B547   ELHADJI                SECK             OK           21506408779
67183979A71921   JUSTIN                 HAMMAN           CO           90013469790
67185A3675B241   TELL                   ROWLAND          KY           90010850367
67186515A61936   LIONEL                 MAHONEY          CA           90012095150
67189148272B29   MIGUEL ANGEL           GUARDADO         CO           90013071482
67189798A33B78   SHONTAIRE              WILLIAMS         OH           90013867980
6718B89178166B   MARIE                  HOPKINS          MO           90013218917
6719123A14B588   CLINTON                HARDESTY         OK           90013132301
6719448347193B   KEOSHIA                BROWN            CO           90014514834
67194942272B27   MIGUEL                 MENDOZA          CO           33003809422
6719596635416B   TERESA                 PITZER           OR           47007489663
6719685535416B   LUIS                   RODRIGUEZ        OR           47000868553
671B132697193B   SHAUNNA                CRANE            CO           90011193269
671B281864B268   TERESA                 LEE              NE           27071088186
671B2961871964   GABRIELA AND VALERIE   ESCARCEGA        CO           90014339618
671B319714B588   DULCE                  TAPIA            OK           90001871971
671B3245A91562   VICTOR                 GUERRERO         TX           90013262450
671B484A67B46B   PAUL                   SHORTRIDGE       NC           90014538406
671B6826691562   RITA                   BENAVIDES        TX           75040588266
671B6A2AA71921   JOHANA                 HERNANDEZ        CO           32055040200
671B7613872B27   SARA                   CUNNINGHAM       CO           90012996138
672146AA171921   AIMMIE                 KOO              CO           90014406001
6721768789198B   YANETT                 SALINAS          NC           90013936878
6721931A84B588   MANUEL                 VILLANUEVA       OK           90015163108
6721B754641232   KIMBERLY               SMITH            PA           90001137546
6722335777193B   JOE                    BARELA           CO           90014573577
672253A377193B   MARIA                  COOK             CO           32059453037
67225A29755977   TC                     XIONG            CA           90010080297
67234865672B36   LAWRENCE               RICE             CO           90013548656
6723585347193B   DAMON                  MILES            CO           90012238534
672497AA361964   MATTHEW                MARTINEZ         CA           90013757003
67249A5457B46B   HALONAH                ACORD            NC           90015180545
6724B67A555973   JOUREI                 CORREIA          CA           90014606705
67262896A5B241   JAMES                  MITCHELL         KY           90013438960
67273A75651354   MILTON                 HAWKINS          OH           90013480756
67275918472B29   MICHAEL                MACKEY           CO           90007529184
67276712897B36   JOSE                   NEVAREZ          CO           90013977128
6728441915416B   HOWARD                 HUMMEL           OR           90012804191
6728463A55416B   BRUCE                  SPOTSWOOD        OR           90011926305
6728743A291562   LORENA                 MUNOZ            TX           90007624302
6728845964B588   GINA                   KILPATRICK       OK           90011034596
6728914944B588   ANTHONY                KURTZ            OK           90015141494
6728945927193B   ROSA                   CHAVEZ           CO           90008344592
6728966617193B   RALPH                  ROTH             CO           90013156661
6728B289591522   LANNETE                PEREZ            TX           90004422895
67291778472B27   TINA MARIE             KEIL             CO           90009627784
67291919772B27   TINA MARIE             KEIL             CO           90014129197
67293221A81675   KENIAM                 LUCAS            MO           90008872210
67298A94955973   FERMIN                 RUIZ             CA           90011140949
6729958A636139   JEAN                   HERNANDEZ        TX           90003855806
6729B722A91522   ANITRA                 VENZOR           TX           90014707220
672B113A991522   EDGAR                  URBINA           TX           90012021309
672B1787A61964   TINA                   PHETVIXAR        CA           90009997870
672B2A48785689   JOBET                  MONTALVO         NJ           90003310487
672B333387193B   ANDREA                 RATHKE           CO           90014123338
672B3676591562   CRISTAL                RODRIGUEZ        TX           90014436765
672B423284B588   MICHAEL                CANNON           OK           90013132328
672B4747161964   LETICIA                RODRIGUE         CA           90011167471
672B4A61291562   CUAHUTEMOC             GOMEZ            TX           75043870612
672B535497193B   CHRIS                  HELVIE           CO           90004843549
672B665327B46B   CANNESHA               AMOS             NC           90014846532
672B7699361964   DERRIK                 HARRELL          CA           90013256993
672B8654671964   FRANCINE               NIBIGIRA         CO           32078206546
672B9189571921   ANDREW                 BONNEGENT        CO           90012141895
672B975825416B   ALAN                   COATS            OR           90011327582
672BB841584392   RANDY                  SCOTT            SC           90010648415
672BBA34355977   MARICELA               OLIVO            CA           90011170343
6731552767193B   JESS                   KIPF             CO           90013065276
6731787355B235   BRITTANY               BROWN            KY           90012868735
6731B687881675   ALFREDO                BAYLON           MO           90013036878
6732312A65416B   BEN                    MUNDAY           OR           90002841206
67326874A8B155   SAMIU                  TEISINA          UT           90002348740
67329AA359187B   LUIS                   LOPEZ            OK           90008060035
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6733131148B346   OCTAVIA         CRUEL                    SC           90014143114
67331A69957563   DANIEL          GRIFFITH                 NM           90010740699
67333A93872B36   ALFREDO         MUNOZ                    CO           90012420938
6733561127B46B   SHAKEMA L       JENKINS                  NC           90005126112
673366A388166B   ARNULFO         SANCHEZ                  MO           90013596038
67341854172B43   ALFONSO         LABRADOR                 CO           33001018541
67342377372B27   OSWALDO         DE LA CERDA              CO           90012813773
6734369845B235   TAYLOR          CORNETT                  KY           90012056984
67343A8737193B   NICOLE          SANCHEZ                  CO           90013000873
67346A22271964   AASH            MOSE                     CO           90011080222
6734745958166B   BREIA           OGLESBY                  MO           90013274595
67351A52672B36   DARRYL          GIESE                    CO           33002410526
6735218A391998   TANGENEKA       WARREN                   NC           90012751803
6735788684B542   KRISTIN         PAIR                     OK           90014748868
6735B112A61964   CLAUDIO         BERNAL                   CA           90008141120
67363A7657193B   GERARDO         SANCHEZ VALDEZ           CO           90013000765
6736573725416B   ASHLEY          BRAZIL                   OR           47061947372
673684A6772B43   HALEY           CHESTNUT                 CO           90013084067
6736866A74B268   CARMEN          RODRIGUEZ                NE           27084066607
67372327A71921   ARTHUR          GARCIA                   CO           90011503270
67373A17157135   CARLOS          GARCIA                   VA           90007940171
6737753484B588   OMAR            RIVERA                   OK           90009485348
6737757447B761   ALLEN           ROHN                     CA           90014135744
67378833572B29   JERRAD          LEONARD                  CO           90014308335
6737951564B588   CHRIS           ALEXANDER                OK           90009495156
67381A39672B29   JACK            ROLDAN                   CO           90012950396
67383369A71964   WILLARD         COLEBANK                 CO           90013553690
6738491765416B   SABRINA         MILLER                   OR           90008789176
67387531597B64   AMANDA          MILLSAP                  CO           90010555315
6738799A891522   ALEJANDRO       CONDE                    TX           75055319908
6738868985416B   ANGELA          PURSCELLEY               OR           47046756898
67388A34255977   JAMES           RUMLEY                   CA           90012150342
67391174A5B344   JOSHUA          TYREE                    OR           44596681740
67392828672B29   BEAU            PEPLOW                   CO           33012068286
6739297844B588   TINA            WILLIAM                  OK           90011059784
6739396A172B36   JEREMIAH        FITZ                     CO           90013949601
6739682A15B241   KAYLA           SCOTT                    KY           90010998201
6739743487B46B   ESSIE           PITTMAN                  NC           90014714348
67397724872B43   VANESSA         MARQUEZ                  CO           90012477248
6739999A491998   ANTOINE         MOORE                    NC           90012949904
673B1A66672B43   SASKIA          MESSMER                  CO           90013460666
673B381982B53B   ANGELIA         LEWIS                    AL           90014208198
673B7775872B29   BRENDA          RODRIGUEZ                CO           90012897758
6741241A255973   YOLANDA         ANGULO                   CA           90011994102
6741336274B27B   ALEX            PAQUETTE                 NE           90014173627
67414729572B36   JUAN            HERNANDEZ                CO           90012867295
674183A7851354   MARLON          ROBERTS                  OH           90014083078
67418961597B64   ROBERT          CASTANEDA                CO           90013769615
6741984738166B   RIGOBERTO       VEGA                     MO           90009088473
6741B16737193B   ORALIA          GARCIA                   CO           90013621673
6742179585B241   LAVON           TROUTMAN                 KY           90015087958
6742378944B588   DONTA           HOUSE                    OK           90013157894
6742626A672B27   AOWDIA          TUORMBIL                 CO           90010782606
67429398A5B241   TRANG           LE                       KY           90013823980
6742B326A5416B   JUDY            THOROGOOD                OR           90011883260
674334A3571924   JENNIFER        CASTELLON                CO           90011754035
674347A2491562   BRIANNA         GUYE                     TX           90007827024
674379A5A91522   CINTHIA         NAVA                     TX           90014709050
6743944A571921   ALMA            MARTINEZ                 CO           90014944405
6743B78545B241   LANEICEA        WEBB                     KY           90011177854
67443955197B64   HEATHER         BLACK                    CO           39059269551
67447A52491562   RAUL            MARQUEZ                  TX           75058980524
6744B3A1A55977   BRYAN           ANDRADE                  CA           90015133010
6744B77658166B   CHEREI          GALLAGHER                MO           90006077765
6744B996891522   UBALDO          CERVANTES                TX           90004569968
67453A53291562   JOHN ADAMS      TAYLOR                   TX           90013070532
67454531972B36   VILLALOBOS      FELIX                    CO           33014605319
67455A4453B394   RAIAN           GARCIA                   CO           90011540445
6745623474B268   CATHY           TORRANCE                 NE           27080922347
67457324A91522   JUSTIN          VALLES                   TX           90011793240
6745877794B27B   EDELMAN         MIRANDA                  NE           90013427779
67459696A5B235   RONALD          NELSON                   KY           68089346960
6745B12AA85689   ANA             LEZAMA                   NJ           90012881200
6746316737193B   ORALIA          GARCIA                   CO           90013621673
6746879487193B   ANDRIAN         MARTINEZ                 CO           90014857948
6746B252891998   ANDREW          PEARCE                   NC           90012502528
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67472A81961964   JONATHAN       GARCIA                   CA           90010810819
6747425A191998   ELVIA          MORALES                  NC           90013982501
6747B8A3971964   JAMES          JONES                    CO           32060348039
67481381872B36   TIFFANY        THOMAS                   CO           90010813818
67484A3854B588   TIMMY          BEAR                     OK           90013140385
67484A53961964   CHRIS          CHAVEZ                   CA           90012790539
6748558AA55977   CINDY          FANG                     CA           90012585800
67486A3854B588   TIMMY          BEAR                     OK           90013140385
6748736518166B   EDWARD         ESPINOZA                 MO           29031073651
67488272472B43   ROBERTA        LOPEZ                    CO           90014642724
67493A3A45B241   JULIUS         WATTS                    KY           90008240304
674968A3A84392   KIANDRA        POPO                     SC           90010328030
6749768A655977   JESSICA        ORTEGA                   CA           49025296806
6749BA61872B29   GUADALUPE      ROJAS                    CO           90009850618
674B289A584392   JEFFREY        BERNS                    SC           90013928905
674B443168B132   LACYNTHIA      SPEAN                    UT           90007554316
674B475A685689   CASSANDRA      MCNAIR                   NJ           90002927506
674B998898166B   ERICA          WASHINGTON               KS           90009819889
67511372572B36   NEMIAS         JIMENEZ                  CO           90009003725
6751246854B588   MICHELLE       HARMON                   OK           90007644685
6751312A281644   RENADA         LOPEZ                    MO           90013441202
6751326A45B235   JENNIE         BAKER                    KY           90013402604
67513A6674B27B   AMANDA         OLSON                    NE           90008050667
6751434634B588   GINGER         WEST                     OK           90011073463
6751952694B588   RUSSELL        RAINS                    OK           90014005269
6751B755561964   PHILLIP        O HARE                   CA           90014067555
6752212364B588   CAYLA          HALL                     OK           90013141236
6752312364B588   CAYLA          HALL                     OK           90013141236
67523A81355977   ALBERTO        MARTINEZ                 CA           90013800813
67523A82171964   MARK           ANDERSON                 CO           32044530821
67526A6665B241   ANTHONY        TAYLOR                   KY           90008240666
6752951A484392   DILLON         CALDER                   SC           90012855104
6752B455271921   JOSH           LIFA                     CO           90014704552
6753558825416B   ANDREA         BRACKETT                 OR           90011495882
67543A1748166B   MICHELAE       ALISHA                   MO           90013930174
67545A5935416B   JOSE           ROMERO PASTOR            OR           90012920593
67547768A51354   NICOLE         JENNINGS                 OH           90013147680
6754B42928166B   FRANCISCO      VASQUEZ                  MO           90013044292
67553AAA67193B   DANIEL         ATENCIO                  CO           90010270006
6755569544B588   LUCIS          WOODFORK                 OK           90012016954
6755686627193B   ABEL           GARCIA                   CO           90008388662
6755B356461964   CRISTINA       WHITNEY                  CA           90011873564
6755B452791522   LAURA          PEREZ                    TX           90011794527
675616A125B241   VENITA         WILLIAMS                 KY           90014126012
6756298664B588   LUIS           ENRIQUEZ                 OK           90011059866
6756662A78166B   TRISTA         HOY                      MO           90014046207
675668A8561964   SUSANA         LAZARO                   CA           90010888085
6756695885B235   DAVID          WATERS                   KY           68086849588
67569763A7193B   KELLI          BIROU                    CO           90011357630
675752AA781675   JANELLE        BRIGGS                   MO           90008412007
6757B517472B29   STEPHANIE      WILLEY                   CO           90005025174
6757B926951322   JAMES          BRATTON                  OH           66091989269
67581864A91522   MIGUEL         DE LA ROSA               TX           90014718640
67582381472B43   FRANCISCO      ENRIQUEZ                 CO           90012183814
67584687A72B29   ANGELICA       AVILA                    CO           90010256870
67586715272B43   FERNANDO       LAZOS LUNA               CO           90013367152
6758743735B241   RICHIE         WILLIAMS                 KY           90012244373
67587994272B36   JENNIFER       FENNELL                  CO           90013239942
6758826455B241   ELIZABETH      HARDIN                   KY           90013302645
67597279372B27   BRETT          WRIGHT                   CO           90012462793
675B1975371921   PAYGO          IVR ACTIVATION           CO           90013669753
675B3311A81644   THOMAS         BEDSWORTH                MO           90005003110
675B5663484392   TAMARA         NELSON                   SC           90014396634
675B687174B27B   KEVIN          GROVER                   NE           90014738717
675B7438184392   VALERIE        CRUSS                    SC           90014304381
675B947484B27B   VANIA          FREEMAN                  NE           90013224748
675BB449772B36   HEILDI         BURSHTEN                 CO           90014084497
675BB835671964   JORDAN         PERKINS                  CO           90011098356
675BB8A9161964   MARVIN         YOUNG                    CA           90013058091
6761213A291522   OSCAR          ESTRADA                  TX           90014931302
6761254334B588   RAUL           ALEJOS                   OK           90009225433
6761998417B46B   BRIDGETTE      BELL                     NC           90013929841
676233A3772B27   JUAN           BRIONEZ                  CO           90013043037
6762536AA91522   GUADALUPE      RODRIGUEZ                TX           75024943600
6762B8A437B46B   DIGNA          CENTENO                  NC           90006058043
676336AA85B235   ASHLEY         WILSON                   KY           90013946008
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676342A3A55977   SHIRLEY        BEDWELL                  CA           90012912030
6763554A75416B   DENISE         BUNNELL                  OR           90014445407
6763626A44B588   MICHAEL        GUINN                    OK           90013142604
67636AA3A7193B   ROBERT         MARQUEZ                  CO           90011560030
6763753724B27B   THOMAS         CARLSON                  NE           90012425372
676377A3A7B46B   BRENDA         MAZARIEGOS               NC           90011547030
6763BA11855977   PETER          MACIAS                   CA           90007180118
67644942172B27   LAURA          OCON                     CO           33055439421
6764975395416B   JEFFREY        SAMPLES                  OR           90013077539
67649A82672B43   JUSTINA        LEE                      CO           33044740826
6764B146591562   CLAUDIA        PONCE                    TX           90013641465
676523A3891998   RUSSELL        BRYANT                   NC           90011453038
6765819374B268   SHANNON        ASHFORD                  NE           90000311937
67661229A81644   CUNESHA        WILLIAMS                 MO           90011852290
67661565972B36   TODD           PETTIGREW                CO           90011085659
6766331483168B   ZACH           COLLINS                  KS           22035133148
67664273A7B46B   DREIDRE        RICE                     NC           90012852730
6766457AA85689   JUDIT          HERNANDEZ                NJ           90013865700
6766661513B359   LENORA         SENKOZLIEFF              CO           90010456151
6766982257193B   ALVARO         JERONIMO                 CO           90014718225
6767148414B27B   DENISE         WIELER                   IA           27000734841
67671A49791998   SUSANO         REYES                    NC           90000550497
6767435864B27B   MARIBEL        MALDONADO                NE           90014453586
6767474255416B   MIKE           MORNEAU                  OR           47086017425
6767692775B241   TOMMY          SCHROERLUCKE             KY           90010809277
6768256115B235   BRYAN          DONAHUE                  KY           90013085611
67687A33381644   JAMES          GRABLE                   MO           90010460333
6768B928372B43   SETHENIE       SEIDEN                   CO           90013789283
6769184654B562   LATOYYA        PENNON                   OK           90010798465
67692216A72B43   ROSA           LOPEZ                    CO           90013832160
6769339785B235   JEANNIE        LAUREANO                 KY           90011903978
67694A18791562   PAULA          ROJAS                    TX           90011070187
67694A52A91562   SAMANTHA       ESTRADA                  TX           90014550520
6769714248166B   KIM            SIDDENS                  MO           90012461424
67699297A5B235   STIVEN         JAMES                    KY           90011042970
67699515A61936   LIONEL         MAHONEY                  CA           90012095150
6769B55564B27B   JOSE           GARCIA                   NE           90001115556
6769B958A7193B   BRENDA         GALLEY                   CO           90010959580
676B294615B235   STEVEN         PENNINGTON               KY           90011209461
676B4861191522   MICHELLE       NIETO                    TX           75013118611
676B521444B588   ANGEL          MILLS                    OK           90014332144
676B5393891522   YOLANDA        ZAMBRANO                 TX           90014863938
676B9446761936   CHRISTOPHER    MILLIGAN                 CA           90010124467
677117A8255973   VICTOR         JIMENEZ                  CA           90013437082
6771382544B27B   BRANDI         TURNER                   NE           90008098254
6771714A271921   DAVID          JONES                    CO           90010421402
6771B113551354   VICTOR         ALMARAZ                  OH           90004441135
67721583972B36   MARIA          VILLANUEVA               CO           33009205839
6772399154B27B   JESSICA        ASHCRAFT                 NE           90010479915
67728466A7193B   CLAUDIA        PEREA                    CO           90014474660
6772868647193B   LENZIE         JETER                    CO           90012526864
677297A594B588   KELLI          WATSON                   OK           90007207059
67735519A55973   JORGE          HERNANDEZ                CA           90011225190
67735A7145B235   TATASHA        DAVIS                    KY           90010540714
6773663685416B   ROBIN          DAVIDSON                 OR           90013946368
67738315972B29   DESIREE        ORNELAS                  CO           90011413159
6773B851781675   JUAN           JUAREZ                   MO           90014828517
6774335855B235   ROBIN          BLASCO                   KY           90014573585
6774337A94B588   DANIELLE       HARRIS                   OK           90011513709
67743A93455973   SONIA          HERNANDEZ                CA           90005310934
6774774525B235   CHRISTINE      VINCENT                  KY           90013777452
677487A8472B29   ROBIN          MORTENSEN                CO           90010897084
6774945A471921   JOHN           LEONE                    CO           90014004504
67749A14371964   CHRISTOPHER    HAYES                    CO           90011460143
677579A5793753   JESSICA        LONG                     OH           90011209057
67759882A5B235   RAY            FIFE                     KY           90009998820
6775B5A255B235   JESSICA        LUSK                     KY           68011745025
6776189A584392   JEFFREY        BERNS                    SC           90013928905
6776352948166B   DEROBINIQUE    BYRD                     MO           90014635294
6776787217B46B   NAPORCHE       ASBURY                   NC           90013068721
67769852A8166B   SYLVESTRE      DETCHOU                  MO           90009978520
6777737224B588   CLAUDIA        HERNANDEZ                OK           90009503722
6777932455B241   ANITA          SCARLOTT                 KY           90015113245
6777973527193B   JAVAN          GADLIN                   CO           90010197352
6778357575416B   MONIQUE        GRILLO                   OR           90013495757
6778429927B422   WALTER         AGUILERA                 NC           90001032992
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6778495A74B27B   BRIANA             TAYLOR                NE           90011649507
6778525634B268   JOEL               SCHWARCK              NE           27088512563
67786A6A35B235   WILLIAM            CAREY                 KY           90012410603
67789A1497193B   JENNIFER           ALISON QUEEN          CO           90010960149
6779243497193B   ALEX               SERMENO               CO           90012854349
67793649272B43   CHRISTIAN          RAWK                  CO           90007646492
67794771A71921   MICHELLE           MEID                  CO           90012917710
6779511A991522   LUIS GERARDO       ROMERO                TX           90011801109
6779662A472B43   TAMMY              PETRIE                CO           90012826204
6779739697193B   AMY                CARSON                CO           32094873969
6779B445251354   JAREL              TILLIS                OH           90006334452
6779B676672B36   MELISSA            FASEL                 CO           90012776766
6779B9A1251354   JARRELL            TILLIS                OH           90014729012
677B116A861945   SUSANNA            KAELIN                CA           90007711608
677B378717193B   KENNETH            SCOTT                 CO           90012777871
677B43A935B241   JASMINE            PETERS                KY           90014713093
677B542455416B   WARREN             MABES                 OR           90013294245
677B574384B588   FIONA              SHELTON               OK           90008747438
677B593267B46B   JOSE               ESCOBAR               NC           11005049326
677B6479771921   CLAUDIA            MONTELONGO VAZQUEZ    CO           90013664797
677B6594991998   DARLENA            HOOD-WRIGHT           NC           17046225949
677B6654372B29   ANTHONY            CADWELL               CO           90013426543
677B7429561936   ELIAS              ORTIZ                 CA           90012724295
677B9A32991522   MIRSSA             ALVAREZ               TX           90014710329
677BB456572B36   GLORIA             GAMBOA                CO           90007444565
6781598A73B324   KAYCEE             GRANT                 CO           90012319807
67816497A5B235   ASHLEY             SHECKLES              KY           90013884970
6781B41664B268   MICHAEL            CLARK                 NE           27036954166
6782116A191998   GARVIN             WILLIAMS              NC           90011461601
6782189434B588   ROSA               HERNANDEZ             OK           90015168943
67821A69651354   LUIS               MARES                 OH           90009690696
6782777A17B46B   ADRIANA            CREADOR               NC           90011547701
67828863972B36   TYHANNIE           GONZALES              CO           90006998639
6782B846272B43   SUZANNE            DIESING               CO           90012998462
67835A75A91522   DAVID RESHARD      GOUGIS                TX           90012290750
6783657A271921   ANGEL              YARASCA               CO           32010345702
6783752A772B27   JAMES              MARTINEZ              CO           90013225207
6783B418355977   REYNA              BRISENO               CA           90014824183
67843A13A91522   ELIZANDRO          VENTURA               TX           90014720130
67844283872B43   STEVE              EURIOSTE              CO           90011182838
678443AA157595   AMY                LAM                   NM           90013953001
67844A98872B29   MARIANNE           KASIC                 CO           90014440988
6784567867B46B   ISRAEL             LOPEZ                 NC           90013556786
67845A2A391522   ANGEL              CALDERON              TX           90014720203
67845AA5591998   DESTINY            KING                  NC           90013150055
6784942934B588   JONATHAN           MARTINEZ              OK           90013424293
67852211A55973   VANESSA            GARCIA                CA           90012162110
67858A35A72B36   OBERA              LANEL LITT III        CO           90013350350
6785928832B227   YINGJUN            SHU                   DC           90008262883
6785B196991998   TARA               SMITH                 NC           90011251969
6785BA3248166B   JESSICA            DAVIS                 KS           90005290324
6785BAA8955973   LARRY              MAJIA                 CA           90013740089
6786294457B46B   LOURDES VERONICA   SALAS ALFERES         NC           90013229445
6786591957193B   JOSH               CONWRIGHT             CO           90012919195
67865A14672B29   LINDA              QUINTANA              CO           33076940146
67869162472B43   KASASHA            MASON                 CO           90000951624
678698AA55B252   ANDREW             MATLOCK               KY           90008718005
6787419817B46B   JANISHA            HARRIS                NC           90015131981
678777A1391522   DIANA              RAMOS                 TX           90004877013
6787848A361966   EDUARDO            RODRIGUEZ             CA           90012574803
6787B25115B241   JEROMY             TAYLOR                KY           90006202511
67881673472B36   JIMMY              MONTOYA               CO           90012936734
6788423A891522   JACKLYN            TOVAR                 TX           90011802308
678846A3155977   CHARLIE            THOMPSON              CA           90012946031
67886293172B43   AMY                RODRIQUEZ             CO           90011552931
6788936868166B   WILLAM             MONGE ZAMORA          MO           29077233686
6788B95894B27B   CARLOS             DELEON                NE           90011149589
6789227415B235   JAMES              COX                   KY           90013932741
678948A347B46B   KEYONAH            GRIER                 NC           90013388034
6789663833369B   JAMES              MAHONEY               NC           90002066383
6789799A372B29   HILDA              PEREZ                 CO           90014209903
6789B538A91562   KIMBERLY           MARQUEZ               TX           90014175380
6789B58164B27B   NICOLE             GREEN                 NE           90014225816
678B122A24B588   COREON             VIEWINS               OK           90011062202
678B1732471964   CORY               BELL                  CO           90006477324
678B55A4172B36   VIKTORYA           TOTH                  CO           90004055041
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678B8625961936   LINDA                    TORRES            CA        90014946259
678B97A717193B   TERRANCE                 GILMERE           CO        90012857071
67915111872B43   LYDIA                    BALERIO           CO        33023931118
6791983444B588   ANGELO                   LOVATO            OK        90005818344
6791B481524B47   DAVID                    FLORES            DC        90007094815
6792512327B46B   MAGDALINE                MBUTHIA           NC        90014271232
67928A8AA57595   OLGA                     ABALOS            NM        90013780800
6792949983B391   NAYELI                   MORENO            CO        90003464998
6792B283872B43   STEVE                    EURIOSTE          CO        90011182838
6792B546261964   MARIA                    ROMERO            CA        90012175462
6793181A391562   DANIEL                   SAUCEDO           TX        90010748103
6793351994B588   TINA                     LEE               OK        90012425199
67934429A72B27   JAIME                    ORNELA            CO        90007434290
67934532A7193B   COURTNEY                 SHIPLEY           CO        90009745320
6793747564B562   HOLLY                    PATTERSON         OK        90008874756
679387A1755973   ISRAEL                   SANCHEZ MORALES   CA        90011217017
67941277972B27   VICTOR                   ORTIZ             CO        90002302779
67941A14761936   JONATHAN                 TEC               CA        90011860147
679422A4761936   RICARDO                  FARIAS            CA        90009422047
6794352A272B27   MATTHEW                  ARCHULETA         CO        90013225202
6794939895B241   SABRINA                  CARMAN            KY        90014383989
6794B238672B36   DONNA                    RAMIREZ           CO        90008802386
6794B98194B27B   HYEEVM                   JON               IA        90012609819
6795192A45416B   KYLE                     CLARK             OR        47042849204
6795214275B344   MISS LESA                MICKARAM          OR        90006561427
6795588A891562   ARLENE                   LEVINGTON         TX        90011998808
67956A51291998   RIKKI                    SMITH             NC        90009580512
6795764A391998   JENNA                    WILSON            NC        90011256403
67959621A81675   EVERETT                  THORNTON          MO        90013776210
6795B786455973   EDDY                     JIMENEZ           CA        90013367864
6795B928472B27   VICTORIA                 MITCHELL          CO        90013599284
6796113667B46B   JOHN                     GOODWING          NC        90012661366
6796196267B46B   YASMIN                   CARVALHO          NC        90015219626
67966256A72B29   TRIN                     LANE              CO        90014822560
6796774A75416B   ANTHONY                  CIOTTI            OR        90011427407
67968AA365416B   KIMBERLY                 CARRIER           OR        90007400036
6796978157193B   CLAUDIA                  NAVARRO           CO        90012207815
6797186327B46B   GAIL                     FUTCH             NC        90012998632
6797364A855977   SEAN                     SENG              CA        90004656408
67977656272B36   CARLOS                   TORRES            CO        90013046562
6797B29AA61936   ISRAEL                   LOPEZ             CA        90007742900
6797B693561964   JOSHUA                   HUMPHREY          CA        90014306935
6797BAA155416B   TIFFIANY                 ROEBUCK           OR        90010920015
6798622223168B   SERGIO                   GALVAN            KS        90003432222
6798667222B941   TRACI                    CUPPLES           CA        90009576722
6798895323168B   AMANDA                   STALL             KS        22016959532
6798B825855977   CETANWI                  VASQUEZ           CA        90012778258
6799239A191522   ESTRADA                  VERONICA          TX        90011803901
67993A3A155977   JESSE                    LOPEZ             CA        90013370301
67996837172B43   BRENDA                   LIZETH            CO        90012758371
67997563A91562   RYAN                     HUNT              TX        90011125630
6799B61A872B36   RAMIRO                   SOLIS             CO        90009216108
679B143844B588   TYNEIL                   LOFTON            OK        90013894384
679B1656691522   SAMANTHA                 HERNANDEZ         TX        75098326566
679B1728355973   WILLIE                   DEHOWARD          CA        90013717283
679B67A768166B   DEANNA                   BROOKE            MO        90011187076
679B78A2555973   KIM                      HAGER             CA        90011348025
679B78A6371964   DEVOHN                   VERNON            CO        90011508063
679B929A155977   ANDREW                   KOUSOL            CA        90010422901
67B12562685689   ANGELICA                 CHAVEZ            NJ        90014175626
67B1632575B241   STEPHEN                  GRUBBS            KY        90000843257
67B1634135416B   BRANDON                  FOWLER            OR        90012533413
67B166A537193B   CHRISTY                  MARTINEZ          CO        90000986053
67B16895655977   MARTHA                   ORDAZ             CA        90010568956
67B19985171921   INTERNATIONAL BOARDING   AND PET           CO        90008989851
67B21481491522   VERONICA                 RAMIREZ           TX        90014364814
67B22873955977   GUALBERTO                GARCIA            CA        90002968739
67B26513A5B241   SHAWN                    NUTTER            KY        90014415130
67B271A8585689   LUIS                     CRUZ              NJ        90013751085
67B2951175B241   JEREMY                   FROST             KY        90011905117
67B2997457B46B   ALEX                     GUERRA            NC        90000999745
67B32A5AA55977   EDUARDO                  TENA              CA        90012470500
67B34755372B29   QUEEN                    ABDALLA           CO        90012907553
67B3558A381675   ROGER                    GOODWIN           MO        90003745803
67B36A2977193B   MARK                     LESKOVYANSKY      CO        32088580297
67B39717155977   AIOTEST1                 DONOTTOUCH        CA        90015117171
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67B41321472B36   DALE           FLANDERS                 CO           90010883214
67B43386972B43   ANNETTE        BARTLOWE                 CO           90008303869
67B46A26861936   YNELL          WALKER-LAWSON            CA           90012860268
67B47227485689   NERON          GARCIA                   NJ           90014182274
67B4B722972B29   JAVIER         VAZQUEZ                  CO           33057927229
67B52845961936   MARIO          NAZA                     CA           46077848459
67B54625961936   LINDA          TORRES                   CA           90014946259
67B58A2977193B   MARK           LESKOVYANSKY             CO           32088580297
67B62283A85689   CRICKET        WIRELESS                 NJ           90014182830
67B629AA672B43   KELSIN         BRIZUELA                 CO           33005849006
67B6469395416B   GEORGE         CURTISS                  OR           90012136939
67B6698284B588   BAILEY         DAY                      OK           90010039828
67B67438184392   VALERIE        CRUSS                    SC           90014304381
67B6756685B531   MARK           FETTY                    NM           90007935668
67B68253591522   CHRISTOPHER    SPRUCE                   TX           90011782535
67B6B4A8461936   CLARISSA       CIUFI                    CA           90010434084
67B7224117193B   MIKE           BOBIAN                   CO           90004822411
67B7227624B588   OCTAVIO        GALLEGOS                 OK           90011032762
67B738A9661964   CARLOS         PEREZ                    CA           90013588096
67B76223861964   JOE            WILLARDSON               CA           90012792238
67B78395791525   MARIA          CHAVEZ                   TX           90012103957
67B7B35115B235   LATRECIA       DORSEY                   KY           90006603511
67B8171818166B   PHILLIP        HENDRICKSON              MO           90000997181
67B84574557595   MARGY          SANCHEZ                  NM           90013885745
67B85A1AA91522   MARIA          PADILLA                  TX           75024730100
67B87613A72B27   MARIA          HERNANDEZ                CO           90004306130
67B88331581644   ANN            THOMPSON                 MO           90008373315
67B89A9887193B   SERGIO         CALDERON-SOLIS           CO           90012130988
67B8B84614B588   NATHAN         VALENTINE                OK           90014908461
67B91794472B43   RUBI           VALLE                    CO           90011977944
67B93964A8166B   LAMONT         PEARSON                  MO           90013809640
67B9414118166B   TEODORO        SANCHEZ                  MO           90012871411
67B9518A751327   RACHEL         SCHWEITZER               OH           90011011807
67B952A1985689   JOHN           EVANS                    NJ           90014212019
67B96514672B29   STASHA         FLESHMAN                 CO           90010695146
67B97381185689   KEVIN          SANCHEZ                  NJ           90012883811
67B9842927193B   CHENDRE        TAIE                     CO           90013954292
67B99923272B43   RUTH           GONZALES                 CO           90013229232
67B99954561964   JOHN           MCCANN 3RF               CA           46033989545
67BB1A96755977   MARIA          DIAZ                     CA           49066910967
67BB3887691522   JASHUA         SILVIA                   TX           90004418876
67BB448294125B   CHASITY        DUCKETT                  PA           90008614829
67BB4698972B43   ALEXANDRA      RODRIGUEZ                CO           90012996989
67BB8172991998   ISAAC          YORK                     NC           90010561729
67BB9245361936   ARACELI        RAMIREZ                  CA           90011942453
67BB978A671921   KENDALL        BROWN                    CO           90013987806
67BBB79487193B   ANDRIAN        MARTINEZ                 CO           90014857948
6811145A45416B   KEN            BRAWN                    OR           90012194504
68111973A72B36   RYAN           WILBER                   CO           90013529730
6811476A571964   ERIN           MORSE                    CO           32080747605
681156A742B27B   OSCAR          FUENTES                  DC           90006686074
6812221A172B26   OBED           RODRIGUEZ O R            CO           90011242101
6812323724B27B   WILLIAM        TAYLOR                   NE           90014822372
68126AA744B588   JOYCE          MIRANDA                  OK           90003150074
6812799785416B   SCOTT          FERGUSON                 OR           90012629978
68131392172B26   JOSH           MONTOYA                  CO           90012313921
681316A855416B   MARIAH         PAUL                     OR           90010386085
68131AA9891562   DORA           LUCERO                   TX           75093430098
6813311954B27B   KRISTIN        LICHTENBERG              NE           90012331195
6813569A571964   TERRY          WILLIAMS                 CO           90010876905
681386A6461964   SARAH          JANE BOBNAR              CA           90014286064
68138A99A71921   ZANE           MCLEAN                   CO           90014810990
681391A292B27B   CHRISTPHER     HOPER                    DC           90009411029
6813B59312B27B   CALVIN         WILDER                   DC           90012195931
6813B836771964   DANIEL         HARRIS                   CO           90011568367
6814382312B253   BARBARA        NORMAN                   DC           90007508231
6814836A772B29   DANIEL         FORBIS                   CO           90013503607
6814844647193B   JOSE           RAMIREZ                  CO           90013674464
6814848282B959   PATRICIA       RASHE                    CA           90008464828
68152A94451354   JAMES          MCKEEHAN                 OH           90013960944
6815527AA4B588   CHELSEA        HOFFMAN                  OK           90006182700
68156772372B26   MARIA          DIAZ                     CO           90013297723
6815684A48166B   JAKE           PATTERSON                MO           90013608404
68156A52255973   ALYSA          AVITIA                   CA           48040590522
681571AA751354   ARIZA          LEBRON                   OH           90012371007
68157526972B26   DENNYSE        TEJEDA                   CO           90009115269
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6815933A361964   ALICIA           RODRIGUEZ              CA           46098633303
6816127364B588   GARRET           SMITH                  OK           90007242736
68165633572B36   SERGIO           FLORES                 CO           90004196335
6816564A961936   JOSE             HERNANDEZ              CA           46087866409
68167772772B29   ROBERT           BAYERS                 CO           90013017727
6816791545416B   EUGENE           THOMPSON               OR           90006289154
6816832542B27B   ERIK             JOHANSEN               DC           90010653254
6817323A691562   VICTOR           LARA                   TX           75061932306
6817474A27B46B   ADONALDO         BUESO                  NC           90012687402
68174837772B27   CHARLES          OLDHAM                 CO           33045018377
6817898375416B   BRANDON          MCKELLIGETT            OR           90013449837
6817B76615B235   CODY             HIGBEE                 KY           90010737661
68181682172B29   MARIA            MENDEZ                 CO           90014986821
68181757772B29   ENEREIDA         JUAREZ                 CO           90011907577
68182A2A67193B   JAMES            GIBSON                 CO           90012950206
681834A1A5416B   LUIS             TANGO-TENDERO          OR           90012564010
6818486374B588   KERRY            PORTER                 OK           90014248637
6818512947193B   JULIE            TILLMAN                CO           90014331294
68186A5A94B588   MONICA           DUDLEY                 OK           90009310509
6818712577193B   ANTHONY          TATE                   CO           90010791257
681889A2484392   EUNICE           ESPINOZA               SC           19084809024
681917A9991259   CHINELL          GREEN                  GA           90013057099
681955A794B543   RODQUIS          BELTON                 OK           90014465079
6819575618166B   CRYSTAL          WEBB                   MO           29002457561
68196A5848165B   JOSEPH           GREEN                  MO           90001610584
6819743A455975   ANA              CAUDILLO               CA           90013034304
68198368572B26   JUAN             LEOS                   CO           90013433685
68199A19955975   NESTOR           GONZALEZ               CA           90009100199
681B4784355975   MARTIN           GONZALES               CA           90010467843
681B4A98155973   JESUS            SUAZO                  CA           90013730981
681B637867193B   JENNIFER         BAKER                  CO           90011123786
681B7546472B36   OMAR             ZUNIGA                 CO           90011455464
681BB137355973   SELIKA           SOLORIO                CA           90013991373
6821231492B27B   NATARSHA         WILLIAMS               DC           81014373149
68214236672B26   ANDREW           MONTOYA                CO           90011242366
6821427235B241   TIA              DOUGLAS                KY           90014762723
6821527235B241   TIA              DOUGLAS                KY           90014762723
6821942945416B   SHEILA           RIOJAS                 OR           47098354294
68221A79A55975   JUAN             LOPEZ                  CA           48093060790
6822329292B27B   LUIS ALEXANDER   RAMOS MARTINEZ         DC           90014192929
6822352A391522   SANDRA L         DOMINGEZ               TX           75073835203
6822376765416B   CHERRY           SMITH                  OR           47014717676
68225224A71921   RANDALL          MAXWELL                CO           90010422240
6822759722B27B   PRECIOUS         PRAILOW                DC           90012345972
68229555872B26   LINDSAY          LOVATO                 CO           90010485558
68229AA573168B   MICHELLE         CHAPMAN                KS           90011780057
6822B516172B36   NINFA            GONZALEZ               CO           33013365161
6823275955416B   JOHN             POPE                   OR           90012457595
68233259372B29   IVAN             RODRIGUEZ              CO           90012542593
6823393A291535   TERESA           DURAN                  TX           90011009302
6823624734B231   IRMA             MORALES                NE           90014132473
68241A2777B46B   DAMIEN           BENNETT                NC           90010450277
68242314A72B26   NICOLE           HILTON                 CO           33046893140
68243712472B36   JAMES            ROZELL                 CO           90013637124
6824499955B235   MARIA            GUTIERREZ              KY           90010049995
6824956684B588   JOSHUA           NEUGEBAUER             OK           90009445668
68253A6795416B   SHERON           MOORE                  OR           90012780679
6825768427193B   CHRISTA          ABEYTA                 CO           90013676842
6825836625B241   SHELIA           PITNEY                 KY           90014763662
6825B43157193B   JOHN             GRAVES                 CO           90012884315
68261391672B26   AMPELIO          MEDINA-VER             CO           90012213916
68262528587B31   SALVADOR         CARRANZA               AR           28028375285
68263945772B26   TONY             SANCHEZ                CO           90014659457
68263A5A54B27B   REBECCA          SALCEDO                NE           90012000505
68264986872B36   DAISY            RIVERA                 CO           90003229868
68265A5594B27B   SAN              LINN                   IA           90012050559
68266916872B29   MAURICE          WILLIAMS               CO           90014279168
6826973495B241   NORA             CASTANEDA              KY           90008747349
6826977787B46B   TASHA            SHAKIR                 NC           90009417778
68269A3645B235   LARON            BELL                   KY           90011000364
6826B12517193B   AMBER            TORRES                 CO           90011031251
68271549472B27   LAMONT           RICHARD                CO           90010405494
6827381747193B   ANTHONY          BLANCO                 CO           90013698174
6827548A972B26   JASON            WILLIAMSON             CO           90014114809
68277A11471964   KAZARAY          RIECKHOFF              CO           90013050114
682795A8481671   BRANDY           MCDANIEL               MO           90011535084
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6827B751372B29   ROCHELLE       ELDRIDGE                 CO           90013697513
6829283A67B46B   RAJAIDAH       STRICKLAND               NC           90009398306
68292A69172B36   NIGUSSE        WOLDEMARIAM              CO           90012730691
68293644A71921   FERNANDO       BERMUDEZ                 CO           32091886440
68296148872B43   CHARLES        EZELL                    CO           90014691488
6829785945B235   DESIREE        GIBSON                   KY           90013118594
6829B169A55973   JOVANNA        NUNEZ                    CA           90011981690
6829B6A8671964   GIOVANNA       LABARTHE                 CO           32080316086
682B181114B568   LADONA         WATSON                   OK           90010578111
682B2168A72B36   STEVEN         CONLEY                   CO           90010131680
682B224734B231   IRMA           MORALES                  NE           90014132473
682B3158361964   ELIZABETH      MONTEZ                   CA           90012321583
682B6445951555   MATTHEW        MCDONALD                 IA           90013764459
682B6947741258   JIM            SCOTT                    PA           90010269477
682B8935372B29   FRANCISCO      SERVIN                   CO           33092319353
682B9283351322   ROSA           MATA                     OH           90004102833
68312297A7B46B   KATANJA        HALL                     NC           90008482970
68312A2825B241   ANTONIO        MARTINEZ                 KY           90006330282
68313258472B26   KARINA         ARREOLA                  CO           90011242584
68314928272B43   DREZAE         PULLMAN                  CO           90013999282
6831734A12B27B   SALAM          NICKENS-EL               DC           90009043401
6831B96286B244   STEVEN         TORRES                   AZ           90014149628
683219AA683289   PAT            LUCAS                    TX           90012989006
68321A97491562   IRENE          GRANADO                  TX           90002480974
6832326167193B   CARLOS         LOPEZ                    CO           32043732616
68323341A4B588   MICHAEL        ESPARZA                  TX           90007243410
68326A63691562   NADIA          DAVILA                   TX           90014070636
6832B15897B46B   HISELA         DUNLAP                   NC           90014051589
683351A9A2B27B   SANDRA         COLEMAN                  DC           90010011090
68335355572B27   ANGEL          RAMOS                    CO           90010803555
6833573274B22B   EVA            MARTINEZ                 NE           90006397327
68335A92691998   CHANELL        ELLERBEE                 NC           90005690926
6833745947B46B   ROGELIO        ALBERTO                  NC           90014834594
6833749483168B   DAVID          MCKINNEY                 KS           90012764948
68337629A2B27B   MIESHA         LEONARD                  DC           90013526290
6833B51853168B   KEN            ERXLEBEN                 KS           22090875185
683439A6A5B235   JASMINE        CARANTO                  KY           90014059060
6834445675B235   TROY           ADAMS                    KY           90011854567
6834546654B27B   ALBERTINE      KING                     NE           90012074665
6834B21A15B235   JENNIE         WALKER                   KY           90014852101
68352577A61964   LUIZ           ACOSTA                   CA           90013105770
68352587A91562   ALVARO         MARTINEZ                 TX           90011485870
6835263232B27B   JAMAL          WALKER                   DC           90012336323
6835375632B27B   REYNA          DIAZ                     DC           90012367563
68363244972B27   SHURYL         HOLLAND                  CO           90012912449
68363A42A5B235   JOESPH         LEE                      KY           90013930420
6836669A751354   ANGELA         DUNCAN                   OH           90008646907
683671A7A81644   VICTOR         TORRES-MURRILLO          KS           90012391070
68368592572B26   PAYGO          IVR ACTIVATION           CO           90013555925
6836885377B46B   PEDRO          ROJAS                    NC           90012278537
6836983858166B   TRICEY         BROOKES                  KS           90003398385
68369A11571921   SERGIO         QUIJAS                   CO           90014180115
6836BA52A5416B   JOSHUA         ROCKWELL                 OR           90014790520
6837126675B235   KENDRA         SMITH                    KY           90008782667
6837137765B241   CORRY          FORD                     KY           90014783776
68371812572B26   VALERIE        CARRILLO                 CO           90013388125
6837395527193B   CINDY          MORELAND                 CO           90007819552
68373A23251354   DARLENE        TUCKER                   OH           90010970232
68374383A5B241   DEQUITA        FRANKLIN                 KY           90014783830
6837584327193B   EDGAR          VALDERRAMA               CO           90010168432
683763A4151354   KRISTEN        WARREN                   OH           90003233041
683764AA855973   LUCINA         SALDANA                  CA           90013354008
68379658A5B241   ROSHONDRA      MCNEAL                   KY           90011116580
6837B373A5B241   MELINDA        HARKLESS                 KY           90014783730
6838154A572B27   SOLANGE        DUARTE                   CO           33032585405
68381937A5B241   JAMI           ALCOCER                  KY           90013069370
68383412172B29   ANASTASIA      ESPINOZA                 CO           90009554121
68388587A55973   MARIA          GONZALEZ                 CA           90013165870
6838B475271921   MICHAEL        KIPP                     CO           90014594752
6839262897B49B   MILTON         ESCALANTE                NC           90013496289
683937A2585689   CRUZ           GOMEZ                    NJ           90002827025
68395A74355973   COREY          VALASQUEZ                CA           90013630743
6839948997193B   SAGE           SADOWSKI                 CO           90014094899
6839B953685835   LISA           NGUYEN                   CA           90003819536
683B2966771921   MANUEL         PORTILLO                 CO           90013289667
683B348535B241   STANLEY        ALMON                    KY           68005634853
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683B3489A7193B   BRIAN          CHERRY                   CO           90012834890
683B3742955975   SHEYLA         RINCON                   CA           90012707429
683B4926391562   YADIRA         MEDINA                   TX           90010759263
683B4A89A72B36   MANUEL         ROMERO                   CO           90013450890
683B5252472B26   BLANCA         FLORES                   CO           90011242524
683B5763597B64   NICOLE         FRIAS                    CO           90011387635
683B627773168B   THOMAS         LEWIS                    KS           90012282777
683B8183781644   JESSICA        ROUTH                    MO           90011201837
683B82A3372B36   GUADALUPE      VENEGAS                  CO           90007602033
683B862765B241   SADE           DORSEY                   KY           90012426276
684137AA671964   JSANAE         HOCKADAY                 CO           90013077006
6841866987193B   JOSEPH         JOAS                     CO           90010876698
684187A344B588   SABRINA        GABRIEL                  OK           90014437034
6841B938171921   ROBBIE         GARRETT                  CO           90013959381
684228AA672B29   LETICIA        GUTIERREZ                CO           90012898006
6842429834B588   TIMOTHY        KUYKENDALL               OK           90015092983
6842489177B445   PETER          BANNOR                   NC           90001828917
68426516172B29   NINFA          GONZALEZ                 CO           33013365161
6842815158166B   JONATHON       SNELL                    MO           90010911515
6842844A872B36   RENE           CHAVEZ                   CO           90011094408
6842852975B241   REGINA         PALMER                   KY           90014785297
68434757A7B46B   NICOLE         NEWSOME                  NC           90007837570
6843B228A3168B   PETE           VICKONOFF                KS           90011792280
68442411A4B588   ARIEL          REEVES                   OK           90007274110
68444639372B27   JAVIER         TORRES                   CO           90012536393
684479A125B241   DAMIYA         TOOLEY                   KY           90015179012
68448A26A81644   LINDA          MARTINEZ                 MO           90010790260
6845322A75416B   SASHA          ANDERSON                 OR           90012542207
6845426155416B   JEFFREY        HANKS                    OR           90013822615
6845768647193B   GENA           WILLIAMS                 CO           90013966864
6845865784B588   AIMEE          TAYLOR                   OK           90014916578
6846442254B588   OLGA           ROBLES                   OK           90002254225
6846625164B27B   TIM            BOLLINGER                NE           90013642516
6846796645B241   STEVEN         SOEDER                   KY           90014789664
6847369183168B   JUSTIN         HOWARD                   KS           90011796918
684793A8281644   MICHAEL        BANEY                    MO           29063283082
6847B854491522   RAMON          RODRIGUEZ                TX           90009628544
684823A3172B29   ZOE            CLAIR                    CO           90012543031
68483612572B26   ROCCO          LAROCCA                  CO           90001576125
6848692374B27B   FRANCISCO      VALADEZ                  NE           90012549237
68486A67272B36   BRIANA         MARTINEZ                 CO           90011920672
68488594572B26   DEBRA          LORNES                   CO           90012935945
6848B571276B69   JONATHAN       ORDONEZ                  CA           90013555712
6849186529193B   HORACIO        CHAVEZ                   NC           90011638652
6849458587193B   BRYSON         DEWBERRY                 CO           90013065858
68495132A4B268   HELEN          BURTON                   NE           90003881320
684966A7A91562   YOLANDA        ELIZONDO                 TX           75044876070
6849B26A551354   EBONY          LEDFORD                  OH           90013482605
6849B872472B27   OLIN           CLARK                    CO           90010678724
684B2148272B29   JUAN MANUEL    ALVARADO                 CO           90012001482
684B445A72B27B   ALEXIS         FORD                     DC           90014884507
684B5128372B29   DANTE          PAGLIASOTTI              CO           90015091283
684B543925B241   TIFFANY        SIEBOILD                 KY           90014784392
684B793373168B   SOPHIA         THOMAS                   KS           90013699337
68514A28872B29   SELENA         DURAN                    CO           90011460288
68517826472B29   JOVANNA        MALDONADO                CO           90011868264
6851B441971921   CLYDE          LEHMKUHL                 CO           90005154419
6851B71885B241   ZACHARY        FITZ                     KY           90014597188
68521161772B43   ERIKA          CAMBELL                  CO           90007261617
68521963172B29   RITA           BALDIBIESA               CO           90014069631
6852598797193B   ADAM           WELCH                    CO           90008559879
685275A217B46B   NATASHA        MARTIN                   NC           90013845021
6852796A54B568   JENNIFER       VAUGHN                   OK           90011729605
68528453472B27   TANIA          HERRERA                  CO           90010864534
6852977A45B241   CARA           JACOBS                   KY           90014787704
6852B612971964   DONALD         JANKOWSKI                CO           90013086129
68531A11161964   MERCEDES       MANZANO                  CA           90012140111
6853268852B27B   PAUL           WILLIAMS                 DC           81030656885
6853291345416B   JEFFREY        SMITH                    OR           90010249134
6853672A27193B   NICHOLAS       TAYLOR                   CO           90012377202
68542546972B26   ARBELL         JUAREZ                   CO           90011565469
68544262372B26   YURI           MORENO                   CO           90012062623
6854664588166B   DONALD         DONATO                   MO           90014676458
68546A79155973   KRISTEN        ROBINSON                 CA           90013200791
6854789225416B   JUSTIN         KITRELL                  OR           90013938922
6854B918771921   FRANCISCO      BELTRAN                  CO           90011499187
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68553A28671921   CARLOS              FERREIRA             CO          90008990286
68554A17A72B27   VERONICA            PILLADO              CO          90011130170
68554A7A571921   MANUEL              ALONZO JOSE          CO          90009040705
68557721872B36   JUSTIN              PAYNE                CO          90014867218
6855B264557121   SYED                SHAH                 VA          90010062645
68562A3A24B268   STEVE               STASTNY              NE          27089330302
6856419A972B26   JUANA               ARMIJO               CO          90012511909
6856443925B241   TIFFANY             SIEBOILD             KY          90014784392
685695A895B235   DONALD              MCGREW               KY          90015015089
68579A4A147924   TYLER               HERRINGTON           AR          90011210401
68581A99791525   CARMEN              RETANA               TX          90012090997
6858421A772B26   DOLORES             MUNGUIA              CO          90014212107
6858B156357358   SATEEN              LOPEZ                MO          90012271563
6859438A684392   JERRY               GRANT                SC          90012343806
6859779367193B   CHAKETHA            CADNEY               CO          90010087936
6859978A755975   AGUSTIN             SOLANO               CA          90013787807
685B1566A81644   NICOLAS             GUTIERREZ            MO          90010255660
685B237A151354   SHAKEIL             BOYD                 OH          90011083701
685B5842398B4B   MELINDA             JUAREZ               NC          90002448423
685B7526361964   ANTONIO             MARTINEZ             CA          90011875263
685B8193771964   ANGELA              ZITO                 CO          90013731937
685B938725B235   TEIMIKA             HUNT                 KY          90015073872
685B9AA897193B   MATTHEW             OWEN                 CO          90011440089
6861189737B46B   REYNA               LUNA                 NC          90010438973
68619754972B26   HECTOR ALFONSO      CARTAGENA GALDAMEZ   CO          90010877549
6861984382B27B   JOHN                ADAMS                DC          90013918438
68622394A72B43   AARON               MARES                CO          90013883940
68623444472B43   JAMES               BOSS                 CO          90004954444
68625635A57595   URSILA              PAZ                  NM          90013946350
68625846A2B27B   CIERA               PETERSON             DC          90013918460
6862652453168B   TRENTON             HARDER               KS          90011805245
6862965134B27B   DANIELLE            STROH                NE          90006766513
68629653A71921   WALTER              GUNN                 CO          90002156530
68631A2617B46B   WILLIAM             BIRCH                NC          90014370261
6863347615B241   INGIA               STEWART              KY          90009294761
68635329472B26   ORTGEA ORTEGA O R   RUBEN                CO          90011243294
68637977972B36   URIAH               BIDLACK              CO          90012089779
686383A8772B27   JESUS               VALLES               CO          90004813087
68638484872B27   JESUS               VALLES               CO          90012074848
6863B295372B36   ALYSSA              REDFERIN             CO          90013622953
6863B81622B27B   TONYA               LUCAS                DC          90004728162
6863B921971924   ANTHONY             OLVERA               CO          90013209219
6864227215B241   QUINTON             WOODS                KY          90014792721
68643A98691562   ALEXIS              CHACON               TX          90012500986
68644A63255973   DAVID               RIVAS                CA          90012840632
6865177224B588   TEROGYNE            BROOKS               OK          90008817722
6865373645416B   TYLER               VERGAMINI GORBY      OR          90013007364
68654A5174B588   LAQUITTA            ANDREWS              OK          90004170517
68655AAA584392   JAMES               BRYANT               SC          90010640005
68657366A55973   EDGAR               CISNEROS             CA          90011413660
68661783772B36   PHILIP              BARRY                CO          90014997837
68668528872B43   KAROLINA            LUNA                 CO          90011345288
68668677A3168B   JAMES               HORNER               KS          90009716770
6866B264591998   JOSE                RAMOS                NC          90001262645
6866B349A71921   BERNARD             WASHINGTON           CO          90012833490
68671339872B36   MICHAEL             MELTON               CO          90015273398
6867234372B27B   SHINIQUA            BRADY                DC          90010263437
6867437A75B241   CONELIA             TAYLOR               KY          90014793707
68675239572B36   ULISES              BELTRAN              CO          90010902395
6867BA87572B43   LEONARDO            MARTINEZ             CO          90011250875
68681323A71921   CAULINE             ARMSTRONG            CO          90014713230
68681A9A97B46B   JOSE LUIS           GARCIA               NC          90012800909
68682A93172B36   TYLER               ASHLEY               CO          90014030931
6869187194B268   JORDAN              HAWKINS              NE          90008748719
6869393244B27B   TAMMI               EICHELDERGER         NE          27076819324
6869564954B588   DEBBIE              STARK                OK          21507096495
68696733372B27   PAUL                REEDY                CO          33057247333
686B28A9871964   BRYAN               ALBRIGHT             CO          90008278098
686B4574851354   EBONY               GOODWIN              OH          90010385748
686B476857193B   CHRISTOPHER         HOPKIN               CO          90014047685
686B4778371964   REVA                HALL                 CO          90013237783
686B4A83891562   YADIRA              MUNOZ                TX          90011820838
686B5835172B26   KATHLEEN A          WEISS                CO          33001908351
686B664855416B   ASHLEY              MCCARTHY             OR          90013006485
68713A3355B235   PANGANIKA           LASHLEY              KY          90014500335
6871416957B46B   NICOLE              DOMINGUEZ            NC          90010671695
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687151A3A4B588   DAVIS          SHAWN DOUGLAS            OK           90011121030
68717678172B36   MERCEDES       POKORNY                  CO           90007806781
68717A8614B588   MARISSA        WATSON                   OK           90011420861
6871B92937B46B   CRISTIAN       LAGUNAS                  NC           90010429293
6872134A972B29   RYAN           CARBISO                  CO           90012543409
6872152A572B27   JORDAN         HITSMAN                  CO           90012345205
68722117A5B241   JONATHAN       REED                     KY           90014801170
6872299AA4B27B   JOSE           GONZALEZ                 NE           27053699900
6872664122B27B   ISHRAT         HASAN                    VA           90013276412
687277A3457127   JOHN           ARYEE                    VA           90001557034
6872781317B46B   CASSANDRA      BARBEE                   NC           11009658131
6872896697193B   PAM            NATHAN                   CO           32082959669
68729665172B29   JUAN           MARTINEZ                 CO           90014926651
6873342683168B   KENNETH        SOUTHWORH                KS           90012954268
68739658972B26   EFRAIN         ESCOBEDO ZAVALA          CO           90011906589
68742A39961964   MIGUEL         BASALDUA                 CA           90011830399
6874481717193B   MICHAEL        CLARK                    CO           90011008171
68744A8322B27B   ELBA           CABRERA                  DC           90012740832
6874786515B241   JUAN           GARCIA                   KY           90011128651
6874793A872B26   IRMA           ALVARADO                 CO           90013389308
687482A5272B26   JACQUELYN      STARKS                   CO           90012752052
68749749272B36   FRANKIE        MANGISEL                 CO           33011807492
6874999A42B27B   TYRON          MARTIN                   DC           90001629904
6874B781655975   KEITH          PENDERGRASS              CA           90009997816
6875212675416B   JENNIFER       VILLA                    OR           90014121267
68756A6795416B   SHERON         MOORE                    OR           90012780679
6875B51992B27B   TYLASHIA       JOYNER                   DC           90012895199
6875B88467193B   MARIA          CHACON                   CO           32009228846
6876232912B27B   ERYKAH         DAVIS                    DC           90012843291
6876339927193B   CARLOS         ROSAS                    CO           90008573992
6876377A972B36   KENNETH        HILL                     CO           90013997709
68763932772B36   KENNETH        HILL                     CO           90014549327
68771AA5A7193B   ERICA          SALAZAR                  CO           90006400050
687722A655B241   BRANDY         TROTTER                  KY           90014802065
687739A474B27B   NOEMI          HERNANDEZ                CO           27090369047
68775922772B43   JENNIFER       WALTERS                  CO           90013199227
68776A82161964   RAY            JJ                       CA           90010720821
687786A2271964   AUSTIN         LEE                      CO           90014516022
6878625638166B   THELMA         CLARDY                   KS           90012762563
6878787194B268   JORDAN         HAWKINS                  NE           90008748719
68791947A91562   ZANDRA         LUNA                     TX           90001399470
6879486795B241   AARON          WALKER                   KY           90010698679
6879557615B127   TYLER          KINDER                   AR           90010145761
68798185A72B55   TERESA         AMAYA                    CO           90013781850
6879853514B27B   CASSANDRA      BELL                     NE           90009925351
687B1541572B26   VERONICA       MCLOUD                   CO           90014825415
687B1933755975   RUBEN          VILLAGOMEZ               CA           48016269337
687B7771972B36   AUNDREA        QUINTANA                 CO           90012357719
687B7796591588   AMBER          GARCIA                   TX           90004427965
687B7A61371964   BERNIE         DURAN                    CO           90013090613
687B9118972B36   LILIANA        SANCHEZ                  CO           90014221189
687B952755B241   TIM            HACK                     KY           90014795275
687B9847A55975   MARCOS         VARGAS                   CA           90011838470
687BB933872B43   TAIWAN         WIGGINS                  CO           90013829338
68816161772B43   SHANNON        SPICER                   CO           90014711617
6881986795B241   AARON          WALKER                   KY           90010698679
6881B31835B241   AARON          MAUPIN                   KY           90014803183
688223A6A5B235   AMBERLEY       THOMPSON                 KY           90014053060
6882252465B235   MICHAEL        BREWER                   KY           90009855246
6882394424B588   MINNIE         KING                     OK           90012399442
68824824972B26   SAMUEL         VALDEZ                   CO           90014868249
68828419172B36   JESSICA        ALMEIDA                  CO           90011524191
6882B36395B241   CHERMICCA      YENVERTON                KY           90014803639
68834139A7B46B   ELIZABETH      ALEXANDER                NC           90014601390
68836596A51354   PAYGO          IVR ACTIVATION           OH           90014265960
6883817AA7193B   JAMES          THOMAS                   CO           90012371700
68842986A72B26   TONI           MELLINGER                CO           90010979860
6884599717193B   ALEXANDRA      GALLANT                  CO           90012659971
6885635873B347   BOB            DIENES                   CO           90012723587
6885744374B27B   CANDIS         SNODDY                   NE           27080114437
688597A9A5B235   ABDULLAH       JABAR                    KY           90010387090
6885B946451374   MELANIE        SMITH                    OH           90012239464
6886266465B235   WILLIAM        DOLT                     KY           90004646646
68862925472B36   VIRGINIA       DELEON                   CO           90008639254
68867524472B43   LARRY          MONTOYA                  CO           33034995244
6886946214B268   NATHAN         GODIN                    NE           90013744621
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6887262332B27B   IMANI          WALL                     DC           90010666233
6887395884B268   DULCE          CARISALES                IA           90010589588
68874466772B29   CHRISTOPHER    HALL                     CO           90014904667
688756A2261964   DAVID          ORRIS                    CA           90009576022
6887761594B588   KAMILLYA       BREATH                   OK           90013646159
68877945972B36   EDGARD         ZUNIGA                   CO           90010329459
68879615A5416B   WADE           ASH                      OR           47087776150
6887B112631661   SHELLEY        MCLOUD                   KS           90013951126
6887B25A791562   DANIEL         CHAVEZ                   TX           90012332507
6887B83667193B   JUAN           MELO                     CO           32004188366
6887B986491234   LORIANN        JENKINS                  GA           90010889864
6888584225B241   RODNEY         BACON                    KY           90014568422
6888759888166B   ODESSA         NIX                      MO           29095215988
6888B521851354   LADONNA        PAYNE                    OH           90014585218
6888B839A61936   HANSEN         MA                       CA           90000128390
68892A4895B235   MAURICE        DUVALL                   KY           90012900489
68893A4584B588   TORI           CAMPBELL                 OK           90013190458
6889523525416B   JASON          LANDRY                   OR           90014382352
68895682172B27   RUSSELL        MOORE                    CO           90012286821
6889752775B241   JAVAE          JOHNSON                  KY           90014805277
68897A96972B43   MAX            FUEGER                   CO           33077930969
6889B145757538   LUIS           ROSALES                  NM           90004981457
688B253AA72B29   HEIDI          SHOU                     CO           90012855300
688B2696731455   CHRISTINA      KROUPA                   MO           90008726967
688B4653671921   ALMA           FARRIER                  CO           90014906536
688B611975416B   RIGOBERTO      RAMIREZ                  OR           90012781197
688B7576855975   MARCOS         ACEVES                   CA           90010335768
688B77A8972B36   PANCHO         OPEZ                     CO           90011867089
688B899393168B   CATRELL        NOLEN                    KS           90011819939
688B9137472B26   LIZETH         LOERA-DEL VAL            CO           33023661374
688B9296A5B53B   DENISE         ERICKSON                 NM           90012752960
688B9575255975   JOHN           HERRERA                  CA           90006185752
688B994997B46B   CHRISTOPPHER   WARREN                   NC           90009359499
689113AA261964   HOWARD         STEWART                  CA           90013263002
6891511A14B27B   ANTHONY        CARVER                   NE           90013961101
68916211472B29   MIGUEL         FLORES                   CO           90011062114
6891834764B268   CHRISTINA      SMITH                    NE           90009193476
6891B52887B46B   TODD           MARSH                    NC           90014855288
68922312136B35   CORLISS        WENTWORTH                OR           44517513121
68922738572B29   HAKAN          SAPMAZ                   CO           90014137385
68925674A55975   ADAN           ESPINOZA                 CA           90005356740
6892786475B235   MICHAEL        BURNS                    KY           90013648647
6892913278166B   WILLIAM        STONE                    MO           90011171327
6893264864B588   JASON          ADAMS                    OK           90013226486
68936673172B29   MARIA          RODRIGUEZ                CO           90013986731
689367A744B588   TAIWAN         HIGGS                    OK           90007797074
689369A1891522   ROSA LILIA     DOMINGUEZ                TX           90002409018
68938813372B27   CHARLES        MCCALL                   CO           33074988133
6893933A83168B   DAMON          WILLIAMS                 KS           22085893308
68939757A5416B   RAYMAN         WOODRUM                  OR           47084427570
6894221345B241   MELISSA        CREASON                  KY           90010272134
6894629675416B   MICHAEL        SHERMAN                  OR           90010282967
6894992977193B   SHAMIKA        WASHINGTON               CO           90013539297
6895213965B235   TAMEKI         REMLEY                   KY           90010871396
68954661A91562   DEBBIE         FLORES                   TX           90012846610
6895993512B27B   JAMES          SKIPWITH                 DC           90014739351
6895B33363B352   KATHLEEN       MARIE-HALBERT            CO           33089523336
6895B44662B27B   MICHAEL        THOMAS                   DC           90014844466
6895BA7225416B   DENISE         KALATZES                 OR           90011180722
6896142927B46B   MICHAEL        COUSANT                  NC           11002574292
6896261195B241   WILLISHA       MITCHELL                 KY           90014806119
68962A43197B36   JONATHAN       COPELAND                 CO           90014120431
6896961833168B   JADA           ROBERTS                  KS           90007316183
6896B79A97B46B   BOBBIE         DOCIER                   NC           90013377909
68974951872B29   DAVID          VALENZUELA               CO           90012929518
689779AA271964   PAULA          TURNER                   CO           90013939002
6897821372B27B   TRICIA A       RICHARDSON               DC           90012442137
68982A5967193B   CHRISTOPHER    CRABTREE                 CO           90011990596
6898452217193B   ALEX           TREVIZO                  CO           90012915221
68984A29A71964   MARY           ODOM                     CO           90013110290
689852A954B588   JARED          MORRISON                 OK           21592272095
68986238872B43   HANNAH         BAKER                    CO           90012962388
6898629157193B   DAVID          MARTINEZ                 CO           90010812915
6898632A42B27B   MS SHANIQUA    BALLARD                  DC           90009093204
6898936594B27B   MAXIMILLIA     ROMERO                   NE           90000343659
689899A665B241   SHANNON        DUNBAR                   KY           90010249066
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6899316A75B241   TONY             RUMBAUGH               KY           90014301607
68999A7A391562   FELICIA          BALDERRAMA             TX           90011540703
689B1964151354   MARY A           DINGLE                 OH           90003099641
689B328297B46B   KEVIN            CASTELLANO             NC           90014292829
689B7128872B43   PUABLO           COLIN                  CO           90011881288
689B9262271921   JASMINE          JOHNSON                CO           90014102622
689B9375855973   SALINA           GAONA                  CA           90008313758
689BB963297122   TOM              HALL                   OR           90009859632
68B1628485B235   CASSAUNDRA       BASTIN                 KY           90013872848
68B18169781644   DANIEKA          JORDAN                 MO           90008751697
68B22A66A61964   BERNARD          DOMNIQUE               CA           46082720660
68B24A5863168B   ALICIA           VERGE                  KS           90013120586
68B2549445B241   RAENA            CAMPBELL               KY           90014744944
68B287A8461964   RAUL             FLORES                 CA           90014867084
68B312A3472B26   TIM              OSBORNE                CO           90012192034
68B3248997193B   SAGE             SADOWSKI               CO           90014094899
68B36642172B43   JERALYN          WOOD                   CO           90014336421
68B37A27A2B561   CHARITA          NOBLE                  AL           90011470270
68B38243855975   ALONZO           JOHNSON                CA           90012922438
68B3861585416B   DEBBIE           FOX                    OR           47090356158
68B39244871964   DONNA            RAES                   CO           90008992448
68B39382571964   YESENIA          BARGAS RAMIREZ         CO           90013023825
68B44151961964   BRIANA           GEARHART               CA           90013981519
68B44587A91562   ALVARO           MARTINEZ               TX           90011485870
68B45866371964   MARY             SEWARD                 CO           90014688663
68B49281684392   THYRON           BURDEN                 SC           90010892816
68B49546172B27   RENE             CHAVEZ                 CO           33051705461
68B4BA5A37193B   ANTHONY          HUCKABEY               CO           90012740503
68B5351A271964   JOSHUA           CRAION                 CO           90014945102
68B537A957193B   MEGAN            RENO                   CO           90014107095
68B538AA671921   ROBERTO          TRAVIEZO               CO           90014378006
68B55477955975   MAGALI           PERALTA                CA           90010854779
68B56162761943   JOVANY           VALLE                  CA           90009541627
68B56853391522   NANCY            LOPEZ                  TX           75057298533
68B5734A972B36   LUPE             RODRIGUEZ              CO           90013823409
68B5B121372B26   ANTWAIN          MAYES                  CO           90010891213
68B6181617193B   ESTRADA          REBECCA                CO           90009978161
68B6454218166B   JENNIFER         REYNOLDS               MO           29092655421
68B65724955975   REY              CEBALLOS               CA           48073667249
68B661A2861964   SERGIO           JUAREZ                 CA           90007791028
68B66347A72B43   STEFAN           SPEROS                 CO           90014623470
68B693A2772B26   ANTHONY          ROMERO                 CO           90014753027
68B72726397B55   ALLEN            BURCH                  CO           90005207263
68B7277965B235   BRENDA A         HEWITT                 KY           90013107796
68B73A8322B27B   ELBA             CABRERA                DC           90012740832
68B74957291994   ANNICE           WILLIAMS               NC           90010209572
68B75586572B29   CAITLYNN         ANDERLE                CO           33058025865
68B771A5755924   DAMEKA           SCOTT                  CA           90011371057
68B78357472B29   ISREAL           CLAUDIO                CO           90010373574
68B7B231772B27   ELVIRA LETICIA   AMBRIZ                 CO           90013982317
68B838A877B46B   KELANA           CARSON                 NC           90013658087
68B8428614B588   MISAEL           GONSALES               OK           90006072861
68B8428775B235   KIRSTIE          FIELDS                 KY           90011462877
68B8434553168B   HASSANI          MURILLO                KS           90012893455
68B8461755B241   DOUGLAS          OSBORNE                KY           90014746175
68B8487144B588   MISAEL           GONSALES               OK           90014898714
68B86172772B36   TYLER            JENNINGS               CO           90012181727
68B87828472B29   MELISSA          PENA                   CO           33014528284
68B882A975416B   GINGER           RAMIREZ                OR           90014612097
68B88947161964   ENRIQUE          RODRIGUEZ              CA           90007849471
68B9325814B588   LAURETTE         JOHNSON                OK           90014692581
68B94428355975   VICTORIA         TORRES                 CA           90014784283
68B94A78A55975   SONIA            GARAY                  CA           90014850780
68B95695172B43   JANICE           KIRKORIAN              CO           33097416951
68B9597545416B   NATHAN           ESA                    OR           90012239754
68B9BA3585B241   ANTHONY          HALL                   KY           90004750358
68BB281354B27B   FRANCISCO        HERNANDEZ              NE           27081138135
68BB2A6A481675   BLENDA           RODRIGUEZ              MO           90009770604
68BB348812B27B   ALHASAN          RASHIDA                DC           90013004881
68BB4A9A151354   FREDRICK         ARIS                   OH           90011050901
68BB553922B27B   CHIQUITA         JACKSON                DC           81001795392
68BB5933872B29   ANEYA            CORDOVA                CO           90004779338
68BB77A6791562   YAHAIRA          CARDOZA                TX           90011467067
68BB8171372B27   FRITZI           AVILA                  CO           33096861713
68BB9A85272B26   PRINCETON        CURTAIIN               CO           90013220852
69114291A7B451   MANUEL           ALVAREZ                NC           90010032910
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691152A3155943   KENNETH        DOLAND                   CA           90014132031
6911676122B27B   JOHN           SIMTH                    VA           90013147612
69125175372B29   NICOLE         MORGAN                   CO           90004401753
69128A97472B36   ANASTASIA      HERNANDEZ                CO           90003290974
691292A4771921   KRISTINA       KIZER                    CO           90000632047
6912B91244B27B   JOCABETH       VILLALOBOS               NE           90011159124
691317A1A72B26   RAMONA         SANDOVAL                 CO           90014437010
69132A41661964   ERIN           ZIEGLER                  CA           90012110416
6913957414B588   BALITINE       LILLIAN                  OK           90013175741
691431A368166B   JEFF           MOSBEY                   MO           90013981036
6914B631772B36   NATASHA        DENHAM                   CO           90001836317
6915456377193B   TOMMIE         ROWE                     CO           90012005637
691557AA555975   JOSE LUIS      SANCHEZ                  CA           90015177005
6915811168B178   SPENCER        JUSTIN                   UT           90010051116
6915893735416B   CESAR          FLORES MEJIA             OR           47092539373
6915B899791562   JAVIER         TOVAR                    NM           90013128997
6915BA5778166B   CRYSTAL        ITCHELL                  MO           90013120577
691778A2A72B43   LISSETTE       ESPINAL                  CO           90006938020
69178683A72B43   SERGIO         GARCIA                   CO           90011806830
69179A5484B27B   KYLE T         LOWERY                   NE           90011180548
6917B366893735   PRINCESS       BILLINGSLEY              OH           90011563668
6918134548166B   BETZY          CABILDO                  KS           90010673454
6918211168B178   SPENCER        JUSTIN                   UT           90010051116
69184157972B43   ELLIS          WOODS                    CO           90012701579
69188819997B64   BENTON         PETERSEN                 CO           90010108199
69188821272B36   AMBER          WILKINS                  CO           90006788212
6918B145A8166B   MARTINE        ORTIZ                    MO           29052871450
6918B28947B396   FAUSTO         SANDOVAL                 VA           90008682894
69195AA4972B27   JUAN PABLO     LOPEZ                    CO           90009710049
691B8321491522   JOANNA         DEL REAL                 TX           90011833214
691B8737187B31   CHARLES        HALL JR                  AR           28081127371
691B997A67B46B   ANTONIO        JOHNSON                  NC           90013539706
6921151A791522   SHARON         JACKSON                  TX           90011835107
6921156424B588   RYAN           WELLS                    OK           90014915642
69212A95672B43   JESUS          SOLIS                    CO           90003190956
6921458938166B   WAYNE          CABRA                    MO           90013965893
69218A2A97B46B   DEMARIOUS      NASH                     NC           90011000209
6921B31418166B   JEMAICA        FELIX                    MO           90013683141
692223AA84B27B   DARNEL         TONEY                    NE           90013883008
6922447282B27B   THOMAS         BUTTS                    DC           90010184728
692252A1A91592   TERESA         RUIZ                     TX           90002982010
69234757672B27   ANTHONY        RODRIGUEZ                CO           90011927576
6923529445B241   JORGE          SANCHEZ                  KY           90000322944
6923896373144B   ISHA           ABDIRHMAN                MO           90011239637
6924236748166B   JOHN           JACKSON                  MO           90013683674
6924255275B243   MCKENZYE       TUCKER                   KY           90008385527
6924368487193B   REBECCA        VANBUSKIRK               CO           32040916848
69243881872B29   RODRIGO        LOPEZ                    CO           90011328818
692451A5887B31   KEEMA          JONES                    AR           28000191058
6924623215B241   SHANNON F      SMITH                    KY           90003962321
6924629395416B   RENEE          GUTIERREZ                OR           47036002939
6924748724B588   DENISSE        CASTILLO                 OK           90009614872
6924B8A6291522   ANTONIA        BUSTAMANTE               TX           90011838062
692566A7672B36   BRYAN          SMITH                    CO           33082756076
69257A97372B27   REY            ARCADIO                  CO           90012740973
6925B615A72B26   ANTONIO        PRICKETT                 CO           90005966150
6925B891191522   MARTHA         RAMOS                    TX           90004708911
6926651575B241   DOUG           SCURLOCK                 KY           90006945157
6926819232B27B   NAVA-PAREDES   HONORIO                  DC           90010751923
6927226415B241   BRIAN          DEVIS                    KY           90005372641
692735A2191562   JOSE           MORENO                   TX           90009965021
69278919A76B54   PAULO          RAMIREZ                  CA           90007199190
6927B568791562   DIEGO          LUJAN                    TX           75091965687
69281A7A155975   JESSICA        CAMPOS                   CA           90011580701
6928262A661964   MELINDA        VALENZUELA               CA           90001656206
6928497215B235   HENRY          RODRIGUEZ                AR           90006809721
69285542472B43   SERGIO         TLAXCALTECO              CO           90010655424
69286343A61964   FERNANDO       SILVA                    CA           90010623430
69287A91876B49   DOMINGO        MARTINEZ                 CA           90011590918
6928B962861936   MAX            FRIEL                    CA           46071839628
6929147A672B27   DAVID          PENA                     CO           90012884706
6929451898B168   JOHN           TELFORD                  UT           90005865189
6929473A771921   YESSENIA       MONTOYA                  CO           90009947307
6929815914B27B   CHESTER        CARTER                   NE           27008771591
69298694A3168B   OLIVIA         AGILAR                   KS           90013816940
692B322652B82B   TIM            SITTRE                   ID           90014582265
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692B7122A8166B   DANIA              SANCHEZ              MO           29073651220
693124A5476B49   MARIA              GONZALEZ             CA           90014294054
6931399A94B27B   COLIN              LARSEN               NE           90013839909
69316894A55975   ANA                FERNANDEZ            CA           90014078940
69317A53272B27   ELIEZAR            BALBIN               CO           90012850532
6931821725416B   CHRISTOPHER        DOMINGUEZ CORTEZ     OR           90012572172
6931B799671921   JACQUELINE         LOVE                 CO           90014817996
693213A5291592   MARCELO            GARCIA               TX           75058343052
6932379A24438B   LATASHA            MCCALOP              MD           90001227902
69326877372B29   ERIC               RYAN                 CO           33014108773
693297A687B46B   FRANKLIN           LEVERTTE             NC           90011147068
6933111662B27B   IRIS               FUENTES RAMIREZ      DC           90015131166
6933125644B532   TIFFANY            SHARP                OK           90008002564
69331874A55935   PATRICIA           SOUTHARD             CA           90011768740
6933234867B46B   JASWANT            SINGH                NC           90013063486
6933469A32B27B   ALEXEI             ELY                  VA           90006566903
69334AA6A71921   ELAINA             COX                  CO           90008110060
6933661245B235   LISA               GASPEP               KY           90011076124
69342713972B43   CASHMAN            JODI                 CO           33036997139
69342A7632B27B   TOMA               ENNIS                DC           90012030763
6934319327B46B   CHIN               RAHLAN               NC           90013921932
69347458772B29   GREGORY            RANDOLPH             CO           90013044587
69351357472B43   KATRINA            RICE                 CO           90014513574
6935349787B46B   MICHEAL            DAVIS II             NC           11092164978
69357A18A91522   SILVIA             VELA                 TX           90011840180
6935B66A32B27B   ALEEN              BROWN                DC           90014426603
69364A57291562   GAMALIEL R         RAMIREZ              TX           90011970572
6936568122B27B   ROSENE             KNIGHT               DC           90011436812
6937243467193B   KAYLA              RIVERA               CO           90010104346
69372923A7193B   KAYLA              RIVERA               CO           90013569230
69374A8825416B   BLAKE              TAYLOR               OR           90014310882
6937876494B547   LEE                LOGGINS              OK           90011727649
69381273572B43   BRANDON            JOHNSON              CO           90005932735
6938293978166B   ROXANNE            LACEY                MO           90012089397
6938336717B46B   LORRAINE           PATRICK              NC           90014653671
69383824A2B27B   JAMES              BROOKS               DC           90012268240
693871AA44B23B   ASHA               MOBLEY               NE           90008141004
69387693572B27   JAMIE              WARNER               CO           90013906935
6938B14465416B   ANGELA             MCGINNIS             OR           47062071446
6939181199193B   JOSUE              GABRIEL              NC           90001268119
6939238324B588   LINA               ALVAREZ              OK           90008943832
693961A158166B   SABRYNNA           CARTER               MO           90013941015
6939718A655975   CARMEN             RIVERA               CA           90011641806
6939763267B46B   JOSUE              GARCIA               NC           90013786326
693989AA255975   MARIA              ALVARADO             CA           90005519002
693B1378176B49   TERRY              HENDERSON            CA           90012633781
693B2A21172B26   CECILIA            VELASQUEZ            CO           33079520211
693B3735681625   CHANDRELL          SMITH                MO           90007827356
693B3971671921   DENNIS             UGARTE               CO           90011189716
693B469658166B   TANYA              LISTER               MO           90000956965
693B5A78376B49   FABIOLA            SANCHEZ              CA           90005920783
693B6775671921   JASMINE            ZHANG                CO           90013027756
693B8285761964   IGNACIO            BURGUENO             CA           90013552857
69412539A71921   GENE               WILKERSON            CO           90014575390
6941896A987B31   MEELVIS            TORRES               AR           90011289609
6941B1A158166B   SABRYNNA           CARTER               MO           90013941015
6941B243372B43   AIOTEST1           DONOTTOUCH           CO           90015122433
694314A7791562   GRACE              REHMEL               TX           90012484077
69434938672B26   TABITHA            TALLENT              CO           90002729386
6943B47618166B   GERARDO            GALLEGOS             MO           90012244761
69445A2A191522   MARISELA           MENDEZ               TX           90009540201
6944821387B46B   CHRISTOPHER        CLARK                NC           90013282138
6944B954472B43   ALFREDO            SAENZ                CO           90011159544
6945368534B588   DORETHA            JACKSON              OK           90011066853
69453A85A7B398   REYNALDO ANTONIO   FLORES               VA           90005690850
69458A6937B423   BILLY              DENTON               SC           90011620693
69459821A4B588   LAMANDA            TAYLOR               OK           90007808210
69461428172B27   PAULA              GONZALEZ             CO           90008024281
69463741A71921   RICK               HOYT                 CO           90011157410
6946798A872B36   AGUSTINA           SALVADOR             CO           33062699808
694742A375B235   STEVE              HARRIS               KY           68011692037
694752AA455975   ALMA               GARCIA               CA           90014132004
694755A5572B43   VIOLET             VALDEZ               CO           90012645055
69478695472B29   CLAUDIA            RAMIREZ              CO           90014856954
6947881A271921   CINTHIA            SUMMITT              CO           90011158102
6948428158166B   MESHIA             GUNNELS              MO           90010952815
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694849A1691522   JESSE          JIMENEZ                  TX           75025729016
69486184A91522   YARETZEL       RAMIREZ                  TX           90011841840
694879A6961964   SERGIO         RUIZ                     CA           90014899069
69488376872B27   TREAU          LIPTROT                  CO           90008303768
6948983345416B   BLANCA         SANTIAGO                 OR           90015188334
6948B292761964   LORRAINE       BALLARD                  CA           46015252927
6948B563472B29   OSHKIYAH       CORIANO                  CO           90013805634
6949139A54B27B   BRIAN          SCHMIDT                  NE           90012703905
69495655487B31   MARIA          OZUNA                    AR           90011696554
694957A4591562   JESSICA        CORDOVA                  TX           90007707045
69497A65572B27   ADOLPHO        ARCHIBEQUE JR            CO           90010370655
6949847688166B   KALEIGH        DAVIS                    MO           90012244768
6949B244A81675   JACI           ALEXANDER                MO           90008502440
694B3523361964   ANJELICA       MARRUJO                  CA           90012865233
694B564A276B49   ROBERT         BROWN                    CA           90011666402
694B6625472B26   ALICIA         SANCHEZ                  CO           33063576254
694B7945472B27   STEPHANIE      WILLIAMS                 CO           90000899454
694B97A1572B27   MAURICIO       AVILA                    CO           90009887015
69512293172B27   REGINA         BROWN                    CO           90014772931
69513A61171921   TYLER          MANWILLER                CO           90011330611
6952152297193B   MYRON          JACKSON                  CO           90014705229
695234A4681671   AISHA          HILL                     MO           90002434046
695236A217B46B   BRIAN          WOOLARD                  NC           90013586021
69529614A5416B   TAMMIE         PARSLEY                  OR           47010396140
6952B714372B29   PATRICIA       SHARP                    CO           90007987143
69531836172B29   ARELI          GUZMAN                   CO           90013318361
69535414A2B27B   ERLIN          MELGAR                   DC           90013104140
695422A2272B26   CORINA         GARCIA                   CO           90010612022
69546915197B64   CORY           SUFAK                    CO           90007099151
695473A445B235   ELIZABETH      POLLARD                  KY           90011093044
6954824564B588   ANGEL          PEREZ                    OK           90014842456
69549A75A7193B   JARVIS         SMITH                    CO           90012780750
6954B914591562   NERY           VILLA                    TX           90012949145
69552449872B29   ROBERT         CAMERON                  CO           90007014498
6955477A35416B   RONALD         KOPE                     OR           90012627703
695664A477193B   DOMINIC        TAKE                     CO           90014574047
6956B41A961964   MARITZA        TOVAR                    CA           90010784109
6956B443872B43   JONATHAN       EVERETT                  CO           90012244438
69571258872B43   ZACHARY        TIMBERLAKE               CO           90012352588
69577674272B43   ALEJANDRO      TZUN                     CO           90011466742
695785A865B235   CRYSTAL        SINDELAR                 KY           68024265086
69582AA978166B   GONZALO        AYALA                    MO           29046170097
6958449AA91592   THOMAS         SMITH                    TX           90011174900
6958577234B27B   JOHN           DAVIS                    NE           90013757723
6958679417193B   DANIEL         GELLERMAN                CO           90007097941
6958858437B46B   RANDALL        JAMES                    NC           90014715843
6959414547193B   DEVIN          KEYMER                   CO           90011491454
6959677172B27B   MIRTHA         CASTRO                   DC           90010887717
695B4A25191592   GRACIELA       ROCHA                    TX           90014640251
695B531412B824   DARA           STONE                    ID           42024353141
695B7629561964   AIOTEST1       DONOTTOUCH               CA           90015116295
695B779495B235   MELISSA        SNYDER                   KY           90008597949
695B814118166B   BRENDA         MARTINEZ                 KS           90014041411
695B8475A91562   CESAR          GALVAN                   TX           90014594750
695B939842B27B   MARISSA        SAUNDERS                 DC           90008543984
695B9441A4B27B   KRISTY         WEBER                    NE           90007774410
6961469975416B   JERAMY         BALL                     OR           90014516997
69614819572B26   ASHLEY         BARTHOLOMEW              CO           33010958195
6961514915B271   JOHNNY         BLAZE                    KY           68001481491
69616A48861964   DANIEL         MENDEZ                   CA           90011330488
6961717798B168   DALE           R ANUSZEWSKI             UT           90006801779
69618A6185416B   CARLOS         GUDINO                   OR           90014180618
69619A29A7193B   MARY           ODOM                     CO           90013110290
6962148662B27B   SEAN           BENTON                   DC           81057854866
69622452172B29   MARLENE        BAILEY                   CO           90003834521
6962277324B27B   CELIA          GOMEZ                    NE           90015087732
6962362A95416B   AMANDA         LOKEY                    OR           90014866209
696247A957193B   MEGAN          RENO                     CO           90014107095
6963934554B27B   MARIA          FUENTES                  NE           90012353455
69643892976B49   ADELIA         AGUILAR                  CA           90006158929
69646511A93735   CHRIS          GRAY                     OH           90010495110
6964978A73B391   AAMANDA        PAIGE                    CO           90013837807
6965225697193B   URIEL          CARRILLO                 CO           90007592569
69653A55861964   GERARDO        LOPEZ                    CA           90011330558
69654611572B29   CHRISTOPHER    BAUGHMAN                 CO           90013006115
6966389467193B   KEVIN          HORNBACK                 CO           90008888946
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6966661332B27B   KWASI          BERRIDGE                 DC           90013096133
6966769492B228   LATOYA         COLBERT                  DC           90012066949
69668A24972B43   JASON          MARTINEZ                 CO           90014540249
69669319872B43   DUSTIN         WALZ                     CO           90013993198
6967579712B27B   JESUS          CHICA                    DC           90011397971
6967B246A72B27   TONI           MARTIN                   CO           33026972460
6967B247972B29   ANNA           CHEN                     CO           33017752479
6967B617A4B27B   FREDI          RAMOS                    NE           27001826170
6967B87435B235   HUMBERTITO     HUMBERTO                 KY           90011048743
69683396997B64   FELICIA        QUINTANA                 CO           90007193969
6968649A171921   MARIA          SMITH                    CO           90012094901
6968969975416B   JERAMY         BALL                     OR           90014516997
6968B17297B36B   JUAN           ZURITA                   VA           81083041729
6968B1A774B27B   MARIA          OCHOA                    NE           90010391077
696931A6272B27   LYNN           JEWELL                   CO           90005061062
69694A3215B235   ANTHONY        SANDERS                  KY           90010120321
6969522345416B   JOSH           PECK                     OR           90011892234
6969687797193B   AARON          MERTENS                  CO           90012018779
69696A7825B243   ANTHONY        RANDLE                   KY           90008690782
69698673172B43   MICHELLE       GUTIERREZ                CO           90014376731
6969B34737193B   JACQUAIL       CRAIG                    CO           90013853473
696B164366B244   LOLA           PAUL                     AZ           90014486436
696B2276872B26   RAYMOND        CHECOTS                  CO           90010612768
696B279654B588   NANCY          ORELLANO                 OK           90010467965
696B364242B27B   TAANYA         WILSON                   DC           90010006424
696B5991A97B64   TOMAS          AMADOR                   CO           39079979910
696B7476A72B43   FELIX          RAMOS-VAZQUEZ            CO           90003604760
696B799128B168   KEISHA         MACIEL                   UT           90009199912
69716533372B27   JASON          SANCHEZ                  CO           90010645333
69719A4957B46B   RODNEY         ERVIN                    NC           90013760495
6972168487194B   HEATHER        FROESE                   CO           90002206848
69722281472B43   CURTIS         OBRIEN                   CO           90015112814
6973542756B244   DAVID          KNOBLETT                 AZ           90014124275
6973659328166B   SHANICE        WHITE                    MO           90011125932
6973B91A67193B   DEREK          SAWYER                   CO           90013189106
69741A36155975   CHRISTINA      JACOBS                   CA           90014590361
69742761A91592   FELICITAS      DEL REAL                 TX           90011167610
69742A2925B235   VICKI          JOHNSON                  KY           90008070292
6974312372B27B   TYRONE         GASKINS                  VA           81077911237
6974534897B46B   YAIR           HERNANDEZ                NC           90012923489
6974538467B46B   YAIR           HERNANDEZ                NC           90010453846
6974556235416B   JODY           VANETTEN                 OR           90013415623
6974591975416B   JODY           VANETTEN                 OR           90013299197
69745A2312B824   SAMUEL         CRITELL                  ID           42016230231
697491A825416B   JESSICA        PARRETT                  OR           90012601082
6974B67884B588   MISTY          WATTERSON                OK           90013596788
6975186834B588   COLT           NICHOLSON                OK           90012978683
69751932172B29   BETH           DRISCOLL                 CO           90013759321
69754992797B28   MATTHEW        TURNER                   CO           90005029927
6975688795B235   SCOTT          COLLINS                  KY           68092638879
6975894657B442   MARCO          CUELLAR                  NC           90010269465
69762314572B29   JOEL           AKINS                    CO           90010153145
6976855285416B   JOHNATHEN      BRYANT                   OR           90009785528
6976894944B588   KRISTINA       JACKS                    OK           90013559494
6976B468A61964   KIPPERR        BELL                     CA           46003534680
6977223A755975   CEASAR         ANDRADE                  CA           90011782307
697744A774B588   MARIANO        CRUZ-HERNANDEZ           OK           90013164077
6977B74A98B168   GENEVIEVE      WIRTH                    UT           31040637409
69782453572B27   AMAR           PATEL                    CO           90009964535
6978369215416B   JASON          WILLS                    OR           90012766921
69784282A93728   JOSHUA         CORN                     OH           90005152820
697876A494B588   KERRY          WEST                     OK           90013796049
69789367672B27   MARINA         DE LA CRUZ               CO           33014143676
6979234867B46B   JASWANT        SINGH                    NC           90013063486
69794A52297B64   ANDREW         CHAVEZ                   CO           90010790522
6979657AA61964   MARÍA          VIRAMONTES               CA           90012285700
697B3185271921   BILLY          THRASH                   CO           32088761852
697B4127A4B588   ANTHONY        ADAMS                    OK           90014701270
697B4328A9196B   CHRIS          MCCRORY                  NC           90009553280
697B4689755975   DELIA          AGULIAR                  CA           90009896897
697B471855416B   ALISON         PETERSON                 OR           47068587185
697B483594B588   JEFF           LEFEBER                  OK           21534618359
697B72A762B89B   GONZALO        PERCOLLA                 ID           90005142076
697B788294B27B   RICHARD        BENISH                   NE           90014128829
697B97A4371921   TRYSTIAN       BARNER                   CO           90012597043
6981114364B588   ANDREW         BRIDGER                  OK           90013291436
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69812748372B43   CARLOS         RODRIGUEZ                CO           90012197483
698131A6672B43   KEVIN          NIEMI                    CO           90014641066
6981361682B27B   LEENA          ALLEN                    DC           90013096168
6981369215416B   JASON          WILLS                    OR           90012766921
6981459AA5416B   PHILIP         MAKINSON JR              OR           47034965900
69814A29461964   ALBERTINA      MEDINA                   CA           90010650294
6981842237B698   JEREMY         MOORE                    GA           90014064223
69824348372B29   WENDI          MARTINEZ                 CO           90012603483
6982636977193B   MATTHEW        REELS                    CO           90011063697
6982955527B46B   SILVIA         LOPEZ                    NC           90000105552
69835A1957B46B   ROBERTO        MENESES                  NC           11016860195
69836234972B29   THERESA        MUNOZ                    CO           90011092349
69837A5584B522   SHAUNNA        SMALLWOOD                OK           90007770558
69841282A55975   JUAN           ALDANO                   CA           90013022820
69845A1A655975   VICTOR         BERNAL                   CA           90012820106
69849992672B27   JUSTIN         CARROLL                  CO           90014399926
69849A7492B27B   ULANDIS        FORTE                    DC           90012130749
6984BA43572B29   ELIZABETH      NIX                      CO           90010650435
69853A1472B255   TESFAMICHAEL   DAWIT                    DC           90006230147
69854621472B29   RAMIREZ        MIREYA                   CO           90010566214
6985558147193B   SARAH          RAEL                     CO           90014695814
6985769982B824   TERISU         NORRIS                   ID           90007996998
6985975215B241   SHARIECE       BEASLEY                  KY           68011117521
6985B395172B55   GEORGIA        GOEHRINGER               CO           90010343951
69861A39491562   KELLY          NEVEL                    TX           90010290394
6986444218166B   SAUL           LOZANO                   MO           90012984421
6986BA98681675   NANCY          BENIQUEZ-ADAMES          MO           90011720986
6986BAA978166B   GONZALO        AYALA                    MO           29046170097
69873795A5416B   WENGUAN        ZHANG                    OR           90013307950
6987493938166B   REBECCA        HART                     MO           90012849393
69874A3344B588   ERIN           SCHNEIDER                OK           90014830334
698756A5161964   MARICELA       ALCALA                   CA           46097586051
6987B522261936   AL             PEREZ                    CA           90005245222
6988B423687B31   SAMMIE         ANDERSON                 AR           28097544236
6988B427484347   LATOYA         ROYSTER                  SC           90008744274
6989317187193B   JOSEPH         FRANKLIN                 CO           90010301718
6989353727193B   DAKOTA         SHAFER                   CO           90013535372
6989359A972B27   HERNANDO       BANUELOS                 CO           90010625909
698939A6872B27   RICARDO        JIMENEZ                  CO           90014789068
69894714372B43   MANUEL         TOVAR                    CO           90009427143
6989B63152B27B   ELENA          FUENTES                  DC           90011376315
698B2241761936   CRYSTAL        HOWARD                   CA           46007802417
698B2A7154B588   MARY           ADAMS-WILLIAMS           OK           90013110715
698B373235416B   JENNIFER       ZIMMERMAN                OR           90013307323
698B3A33855975   ABEL           RODRIGUEZ                CA           90011790338
698B4996876B58   MOISES         REYES                    CA           46069709968
698B83A667193B   LORONA         CONLEY                   CO           32078293066
698B946877B46B   JUAN           GONZALEZ                 NC           90007404687
698B9A38984382   WILLIAM        WILLIAMS                 SC           90003700389
6991462468166B   PATRICE        JOHNSON                  MO           90011856246
69915472A72B27   JULIE          DUTCH                    CO           33007204720
699189A764B588   DENISE         TOLSON                   OK           90008889076
6991B845671921   LA RINDAL      STERLING                 CO           90013178456
6992154328B385   WARDEA         HICKMAN                  SC           90013865432
699249A6961964   SERGIO         RUIZ                     CA           90014899069
6992B781891592   BEN            MALDONADO                TX           90010277818
69931985672B43   JOSHUA         BURROWS                  CO           90012309856
69934622687B31   FAMOUS         TAYLOR                   AR           90010096226
69936365A8166B   DENA           MUSCHIETTY               MO           29012623650
69949613A61964   JUAN           TEC                      CA           90013526130
69952A4A47193B   BRIAN          BURRIS                   CO           90002440404
6995476745416B   ASHLEY         SANCHEZ                  OR           90014137674
6995764328166B   JOHN           FARMER                   MO           90014006432
69963915A7B329   WILLIAM        DE MOURA                 VA           81006929150
69964142672B27   ADRIAN         FUENTES                  CO           90006031426
69966277A72B29   DANIEL         MARQUEZ                  CO           90001662770
6996727A391592   MARTIN         PARGAS                   TX           90015082703
699712A197B46B   RENEE          BYRD                     NC           90011082019
6997284748166B   RAYMUNDO       LAZARO                   MO           90013948474
699733A334B588   ANDREA         PALOMO                   OK           90008943033
6997829A872B43   MANUEL         FRAUSTO                  CO           90010422908
6997B8A8A71921   MARLENY        ILCHY                    CO           32036488080
6998182265B351   NAJEE          HICKS                    OR           90012468226
69981A87271921   DILBERT        ESCOBAR                  CO           90010920872
69983AAA255973   JUANA          CASTILLO                 CA           48056110002
6998455845B271   AMANDA         COOPER                   KY           68092705584
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699B159747B46B   JORGE          TALAVERA                 NC           90015005974
699B287164B27B   SALLY          DALE                     NE           90013628716
699B294484B27B   ANTHONY        PERALES                  IA           90010039448
699B814582B824   JOSEPH         WINTERS                  ID           42047081458
699B9848561964   AIOTEST1       DONOTTOUCH               CA           90015128485
699BB81957193B   LUIS           HERMIS PINERA            CO           90012808195
69B11496372B36   JOSE           RIVAS FERNANDEZ          CO           90011164963
69B11674771921   ROBERTO        PEREZ                    CO           90013606747
69B1334168166B   LAMONT         NICHOLSON                MO           90010383416
69B1478365B235   KENDRICK       FORD JR                  KY           90014077836
69B14828371921   KARIN          WEAVER                   CO           90013238283
69B1578424B588   ANTOWOINE      LAMONT                   OK           90011457842
69B16746276B54   ROSENDO        ARROYO                   CA           90013487462
69B26279491527   LINDA          FACIO                    TX           90006532794
69B2831595B235   THOMAS         DODSON                   KY           90011073159
69B2872634B27B   LEE            WEINACHT                 NE           90010087263
69B2984834B27B   KENNETH        WILLIAM                  NE           27028278483
69B2B392555975   MICHAEL        MARTIN                   CA           90013953925
69B2B451A93736   TEBRA          MORRISON                 OH           90014234510
69B3131577B46B   ALEXIS         EPPS                     NC           90013563157
69B34169791522   ALICIA         LARA                     TX           90011831697
69B34964772B27   SARAH          VIGIL                    CO           90008099647
69B35169791522   ALICIA         LARA                     TX           90011831697
69B3BAA9571921   MARGARET       COLE                     CO           32041780095
69B43421761964   RYAN           NEWMEYER ELLING          CA           90003104217
69B4345677193B   FRANCISCO      MUNOZ                    CO           90012934567
69B459A6372B43   SHERYL         GRAMMMER                 CO           90013179063
69B4738745416B   DREW           DAVIS                    OR           47059823874
69B4748A771921   IVY            BROZINA                  CO           90012974807
69B4834667193B   KENDRA         MOORE                    CO           90008703466
69B4987A54B549   BROOKE         GRIFFITH                 OK           90010858705
69B53965793735   TOSHA          WEATHERSPOON             OH           90008959657
69B58342A7B46B   SANDRA         GOMEZ                    NC           90007853420
69B5862A95416B   AMANDA         LOKEY                    OR           90014866209
69B59761572B27   IRENE          ODALEN                   CO           90011937615
69B5B38695416B   JENNIFER       SANTOS                   OR           90012503869
69B62559155975   DONNA          JOHNSON                  CA           90013955591
69B69428972B27   JENNIFER       HILL                     CO           90013434289
69B6977234B27B   JOHN           DAVIS                    NE           90013757723
69B73A39638522   TUAN           CHAU                     UT           90012530396
69B76132671921   RODRICK        WYRICK                   CO           90014771326
69B7735942B27B   ROGER          BURKE                    DC           90010333594
69B7949A161936   TIFFANY        ALVAREZ                  CA           46080084901
69B7B174491894   TRISHA         THOMPSON                 OK           21015391744
69B8251A68B168   PORFIRIO       AGUILAR                  UT           31062725106
69B84A12193735   JASON          MCCLELLAND               OH           90010120121
69B89243276B58   MARIA          CALDERON                 CA           90011542432
69B89424872B43   MICHELLE       HAMM                     CO           90003674248
69B89444972B27   RONALD         JENKINS                  CO           90007464449
69B8988925416B   HEATHER        FREITAS                  OR           90010258892
69B8B454961964   FRANCISCO      GUERRERO                 CA           90014514549
69B8B525676B49   GABINO         MOJICA                   CA           90005655256
69B92289255975   XINOG          VANG                     CA           90003272892
69B92418471921   MARTHA         PEREZ                    CO           90012324184
69B93277791522   DEMETRIUS      QUINTANA                 TX           90011832777
69B9479665B241   RHODESIA       RILEY                    KY           90007977966
69B96252197B64   VICTOR         MEDRANO                  CO           90006682521
69B96291191522   NORMA          GALLARDO                 TX           90011832911
69B97A8475B271   JAMES          CULVER                   KY           90007370847
69B9B28775416B   ANA            SOFIA                    OR           90013462877
69BB241A54B588   GABRIEL        HERNANDEZ                OK           90011364105
69BB5359A61936   MARIA          LUGO ORTEGA              CA           90006023590
69BB631748B168   RAE            SCHROEDER                UT           90003753174
69BB6A7A176B49   CHRISTIAN      YOUNG                    CA           90009800701
69BB89A3A91592   OSWALDO        ALVAREZ                  TX           90013599030
69BB9718A55975   SHAYANN        MAGEE                    CA           90013277180
69BBB59442B27B   VELMA          ADBIADAYAH               DC           90014625944
6B112457355941   ANTHONY        ROCHA                    CA           90014754573
6B113146655975   NATALIE        GUTIERREZ                CA           90012311466
6B114A5A855975   DAVID          ROBERTS                  CA           48006610508
6B115536972B36   CHRISTINA      ARCHAMBAULT              CO           90008385369
6B116237572482   JASON          GIBBS                    PA           90007882375
6B117288285821   TYLER          AMSTRONG                 CA           90011502882
6B117354772B29   KELLY          TAYLOR                   CO           33041043547
6B118914A3168B   NATISHA        PHILLIPS                 KS           90013319140
6B122132572B27   DECHELLE       BROWN                    CO           90013231325
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6B122144961979   DOUGLAS         HILLIS                  CA           90013951449
6B12259877B334   GUADALUPE       MEJIA                   VA           90009635987
6B1228A8761964   CARLA LIZETTE   LOZANO                  CA           90013248087
6B123181472B43   EDWIN           ESPARZA                 CO           90013731814
6B1281A6585821   DEZARAY         RANKIN                  CA           90013561065
6B12917975B235   PATRICK         WEBSTER                 KY           90010861797
6B129585491592   DE LA ROSA      SANDRA                  TX           90008525854
6B12989438B133   NANCY           NELSON                  UT           90014178943
6B12B264672482   DIANA           MORSE                   PA           90013982646
6B12B528755975   NOE             MENDOZA-LOPEZ           CA           90010935287
6B12BA79531453   TERRY           BAUMANN                 MO           27593220795
6B131154651354   KEYONTAE        JOHNSON                 OH           90011851546
6B13277482B962   FIDENCIO        ZARAGOZA                CA           90006417748
6B1337A618B133   JOSE            GAMA                    UT           90009577061
6B1341A8291592   ROBERTO         ROMERO                  TX           90010381082
6B134311563646   CHRISTOPHER     BECK                    MO           90012903115
6B13486545B39B   PEDRO           DIAZ GUZMAN             OR           90013058654
6B135392763646   ROBERT          ARECHEDERRA             MO           90012343927
6B135811263646   CHRISTINA       KENNEDY                 MO           90012458112
6B135879463646   ADAM            KANE                    MO           90013848794
6B1364A2947996   LORENAS         PORTILLO                AR           90009454029
6B139143654128   AUBREY E        MEYER                   OR           90013631436
6B1395A9271976   RYAN            SNYDER                  CO           90009335092
6B13B165955973   ANGEL           CRUZ                    CA           90012561659
6B13B22648166B   SHERRIE         SCOTT                   MO           90008472264
6B13B47778B168   GRACI           VLAANDEREN              UT           90011384777
6B1436A8954128   JARED           ROTH                    OR           90010646089
6B143A12861979   JORGE           GARCIA                  CA           90014960128
6B147825A61966   ESTEBAN         GALLARDO                CA           90011578250
6B14795788B169   PANTALEON       CANDELARIA              UT           90001329578
6B14962695B235   CHARLES         DRURY                   KY           90012756269
6B149AA1255973   OLIVIA          CARRILLO                CA           90015240012
6B15134188B168   ALISHA          ROGERS                  UT           90010333418
6B151882597B64   HALLDIS         KELLY                   CO           90002148825
6B156386672B29   ESTHER          CABRERA                 CO           90001173866
6B1568A8357538   MARINA          LARA                    NM           90011868083
6B157162941229   KEVIN           WESTFALL                PA           90002301629
6B1579A167B46B   JOSE            ANTONIO                 NC           11063399016
6B158196455975   SINAHI          CHAVEZ                  CA           90013631964
6B158323A4B588   RICARDO         RODARTE                 OK           90015143230
6B15933A972B36   OJHAGI          CRUTCHER                CO           90015203309
6B15952975594B   JOSE            RUIZ                    CA           90013925297
6B15B244784392   DANA            SMITH                   SC           19055832447
6B16112865B39B   ALMA            ROBLES                  OR           90011441286
6B161566A8B168   AUJALEE         SPENCER                 UT           90012955660
6B161AA548B133   JAMI            BENNETT                 UT           90013950054
6B163463971976   BRIANNA         HOLDERNESS              CO           90013694639
6B16396545B271   KENISHA         HARDEN                  KY           90011929654
6B163AA548B133   JAMI            BENNETT                 UT           90013950054
6B16425394B588   FRANCISCO       ELIAS                   OK           90008192539
6B16446A785821   JESUS           AGUILAR                 CA           90012354607
6B16526395B235   JACKSON         HALL                    KY           90014082639
6B16547A472B36   VANESSA         LENNON                  CO           33049814704
6B165727161979   ANTHONY         MONDELLO                CA           90002627271
6B166158891894   CHRIS           GIBEAU                  OK           90012291588
6B166497455975   ARMANDO         HERRERA                 CA           90008584974
6B16B489791894   TERRELL         JACKSON                 OK           90010874897
6B173128A61964   ERNEST          HERNANDEZ               CA           90013071280
6B174819955941   BILL            FOSTER                  CA           49021558199
6B175122671976   BRIAN           JOHNSON                 CO           90012001226
6B1757A9472B27   ARELY           ANAYA                   CO           90014097094
6B17645A35B39B   JACOB           MCGHEE                  OR           90015314503
6B176842355941   ADRIAN          CERDA                   CA           90014558423
6B176A57491592   NORMA IVONNE    KENERSON                TX           90011110574
6B17714778166B   CODY            MIKE                    MO           29039891477
6B177354A8166B   ROSALYN         ARRINGTON               MO           90013073540
6B17769984B588   CARLA           JAMES                   OK           90009726998
6B179382255973   JENNIFER        BREONIS                 CA           90008453822
6B181821A5594B   DAVID           BEASLEY                 CA           90005708210
6B182243355973   LUIS            MONTES                  CA           90013282433
6B18438276B238   KEVIN           BELL                    AZ           90014783827
6B1856A9891894   TONIA           LANDRY                  OK           90013706098
6B187159A3168B   AARON           PEARSON                 KS           90013791590
6B187295972B29   ESTRELLA        JARAMILLO               CO           90011882959
6B18773918166B   SPENCER         JOHNSON                 KS           90006447391
6B18845A172B29   FLAVIO          ORTIZ                   CO           33034654501
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6B188878A57538   MICHAEL        GOMEZ                    NM           90014138780
6B189257272482   TREVON         REED                     PA           90013692572
6B189295972B29   ESTRELLA       JARAMILLO                CO           90011882959
6B18B33625B235   RYAN           LEWIS                    KY           90009423362
6B18B68734B588   MIRANDA        LEE                      OK           90010466873
6B18B69A355941   ISAMAR         VASQUEZ                  CA           90014166903
6B19225A361979   DAN            ROY                      CA           90013952503
6B19261392B27B   DERRICK        CARMICHAEL               DC           90012456139
6B192A47391592   MIGUEL         CORRAL                   TX           90009130473
6B19932A485821   BRANDON        PEROVICH                 CA           90013023204
6B19B89562B27B   ROBERT         DOBSON                   DC           90006098956
6B1B1846A61964   CARLOS         NORIEGA                  CA           90010708460
6B1B3198954128   JASON          WEIS                     OR           47037371989
6B1B3A8A54B291   JESSICA        COSTA                    NE           90006720805
6B1B4366455975   CAMELLA        GONSALES                 CA           90013003664
6B1B75A765B392   GALDINA        ORDUNA ALONSO            OR           44523845076
6B1B7792855941   JUVENAL        GOMEZ                    CA           90012897928
6B1B77A6955973   ANGELICA       MARTINEZ                 CA           90010967069
6B1B9122133698   FRARCISCO      POCNECO                  NC           90014041221
6B1B9271855973   DANIEL         CERVANTEZ                CA           90011322718
6B1BB52A67B46B   MANUEL         HENRIQUEZ                NC           90013785206
6B1BBAA419193B   CHRISTOPHE     NEWFOR                   NC           90006780041
6B211588485821   JAYSHA         MARTINEZ                 CA           46098555884
6B212198A72B29   BENJAMIN       HENSLEY                  CO           90012741980
6B215415891894   DEBRA          WEEKLEY                  OK           90014074158
6B21567AA91894   DEBRA          WEEKLEY                  OK           90008886700
6B215A76561964   EFRAIN         SANCHEZ                  CA           90012350765
6B216256461979   SARA           MCCARVILLE               CA           90013952564
6B21644648B334   NICOLE         SMITH                    SC           90010194464
6B21675845594B   ESMERALDA      CASTILLO                 CA           90010497584
6B218842A91592   JOSHUA         PADILLA                  TX           90013748420
6B22243625B271   JAMES          WONDER                   KY           90015194362
6B22715A772B27   ANGELA         MEDINA                   CO           90014811507
6B22749895B392   DAVID          DUNHAM                   OR           44558274989
6B227629961964   AIOTEST1       DONOTTOUCH               CA           90015116299
6B22827738B334   BRIAN          GRAYSON                  SC           90013982773
6B228551431455   TIARA          DAVIS                    MO           90007895514
6B22941675B271   PRISCILLA      DELACRUZ                 KY           90009374167
6B22944A64B27B   CASSY          BROWN                    IA           90008554406
6B231167461964   RHONDA         ELLAMS                   CA           46015461674
6B23147388166B   ANTONIO        BUTLER                   MO           90013774738
6B231522455975   ROGELIO        NUNEZ                    CA           90013095224
6B23162645B271   JAMES          BURGRESS                 KY           90012856264
6B23198178162B   TERESA         CHRISTIE                 MO           90010449817
6B231A8492B27B   SHANTIONE      TUCKSON                  DC           90004570849
6B232536961974   MICHAEL        MURPHY                   CA           46003995369
6B234364661964   EUGENE         HARDEY                   CA           90012253646
6B236A3865B235   NATHAN         JESSUP                   KY           68027240386
6B237333472B27   ANDREA         VEGA                     CO           90012823334
6B237638555975   TERESA         GOMEZ                    CA           90014316385
6B239A57684392   KRISTAIN       JOHNSON                  SC           19085100576
6B23B28283168B   JOSEPH         PIOTROWSKI               KS           90013672828
6B23B912885821   IMELDA         HAYES                    CA           90013039128
6B24144325B271   MISTY          MORA                     KY           90013934432
6B24396843168B   JENEAL         DELIS                    KS           90009279684
6B244293461936   ANTHONY        NASH                     CA           90014022934
6B24487954B588   TWILA          KIPP                     OK           90011348795
6B244A29955975   MARIO          RENTERIA                 CA           90013990299
6B245193655941   PATRICIA       AVILA                    CA           90012931936
6B24558778B133   SARA           GREENWAY                 UT           90009705877
6B245646785821   KATHY          SCHINGLE                 CA           90013046467
6B24666682B269   ROBERT         JOHNSON                  DC           90011036668
6B2468A6885821   COURTNEY       CAMPBELL                 CA           90013048068
6B247722591999   WENDY          VARGAS                   NC           90004427225
6B24789A751354   DOMINIQUE      BROOKS                   OH           90013398907
6B24794858B334   STEPHANIE      OROZCO                   SC           90007909485
6B249443255973   JAMES          HARDIMAN                 CA           90008464432
6B25259937B46B   LAWRENCE       FAGO                     NC           11043115993
6B252672861936   ISABEL         GOMEZ                    CA           90011966728
6B254173A8B168   HEIDI          MOON                     UT           31085931730
6B254943677538   EDUARDO        ELIAS-ESCOBAR            NV           90011209436
6B2552A7755941   LAURA          RIOS                     CA           90012942077
6B255A9815B39B   SARAH          BRUCE                    OR           90011730981
6B256649657538   SISSY          LOYA                     NM           90013646496
6B25694498B354   TODDRICA       SMITH                    SC           90014019449
6B258315772B36   LOUIS          GALLUZZI                 CO           90012123157
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6B25934574B27B   TYLENA           TUCKER                 NE           90015113457
6B259738291885   JAMIE            WOOD                   OK           90012827382
6B25B26955B531   LUIS             VEGA VARGAS            NM           90001432695
6B25B433A72B36   ALVARO           ARROYO LOPEZ           CO           90008934330
6B261518291894   MORRIS           MARQUIS                OK           90002235182
6B262265972B27   PEDRO            ORTEGA SUAREZ          CO           90013932659
6B262632991592   BLANCA           HOLGUIN                TX           75025876329
6B262A66763646   DANIEL           REINHARDT              MO           90013490667
6B264855785821   ERIK             FLORES                 CA           90013428557
6B265317591894   SAMANTHA         HINKLE                 OK           90014653175
6B26657745416B   POWERS           ROBIN                  OR           90004735774
6B26777287B46B   NEKISHA          MARTIN                 NC           90011437728
6B268346171977   MARC             SMITH                  CO           90009923461
6B26914325B531   MICHELLE         SAIZ                   NM           90010921432
6B2721A1755941   STEVE            MINJARES               CA           90014721017
6B27347598B334   MINDY            WHITE                  SC           90014704759
6B275283381644   TROY             GASPERINO              MO           90010322833
6B275473A61964   THOMAS           GILLON                 CA           90001404730
6B275548651354   JUANITA          STEELE                 OH           66060295486
6B2793A485B531   PHILLIP          PADILLA                NM           90009773048
6B27952735B39B   GLORIA           QUINTANILLA            OR           44513085273
6B27B25315594B   AZUCENA          NAVA                   CA           90007582531
6B28226283B335   JIMMI            JUARES                 CO           90008442628
6B28235834B27B   MANDI            MYERS                  IA           27015013583
6B283291A85821   MARIS            SAGRADO                CA           90005462910
6B284833771976   SAMMY            RAMOS                  CO           90014678337
6B286119151342   JAMES            MOEHLMAN               OH           66090301191
6B286686471976   VALERIE          VALDEZ                 CO           38095646864
6B286A79A54128   AARON            WORDEN-                OR           90006510790
6B287411A72B36   KACI             MCMILLEN               CO           90014824110
6B28755853168B   STACY            TAMAYO                 KS           90007795585
6B287622684392   LISA             MERRITT                SC           90004226226
6B288A69872B29   CHARLES THOMAS   BROWN                  CO           90012790698
6B289167657127   VERONICA         SAMBA                  VA           90006611676
6B289786655973   JOSE             SANCHEZ                CA           90012797866
6B28B239572B29   JUSTIN           LONG                   CO           90007302395
6B29232594B588   SHAUNTORIS       BRADSHAW               OK           90010913259
6B292456785821   YESENIA          ROBLERO                CA           90011614567
6B293586972B43   JAMES            ANDERSON               CO           90013295869
6B295491A7B46B   GAIL             FORD                   NC           11068874910
6B295A7128B133   JETSON           CUNNINGHAM             UT           90014740712
6B297519991592   CONCEPSION       VARELA                 TX           75009535199
6B29911185594B   ENRIQUE          CASTELLANOS            CA           90005731118
6B2B199295B235   CHANELL          MORRIS                 KY           68067359929
6B2B264277B46B   THOMAS           BELL                   NC           90014436427
6B2B26A4657538   SANDRA           CHAVEZ-MELENDEZ        NM           35596566046
6B2B2A69A5B271   JOHN PAUL        AMATO                  KY           90013780690
6B2B4781861936   RAMONA           WHITE                  CA           90014247818
6B2B4782172B43   KIMBERLY         NOE                    CO           33077347821
6B2B528A15B39B   CHARLES          MCCULLAGH              OR           90012522801
6B2B6237847996   MOJO             BROADBAND              AR           90009842378
6B2B6A61855941   OLIVERIO         CAVERO                 CA           90010080618
6B2B763915594B   DAVID            RIOS                   CA           90010526391
6B2B7949972B36   KOHL             DRESDEN                CO           90013389499
6B2B9914A2B27B   JOSE             DIAZ                   DC           90013889140
6B2BB653972482   JOSH             ORAVETZ                PA           90010786539
6B311588161936   FELIPE           VARELA                 CA           90000195881
6B31258942B27B   BENIA            MCKINNIE               DC           90013855894
6B31428454B27B   ASHLEY           OPRYSZKO               NE           90011872845
6B315A8AA72B27   MIGUEL           BUSTOS                 CO           90010750800
6B317687891894   MELINDA          STOCKTON               OK           90012466878
6B322174471976   KATHREN          GRIGGS                 CO           90011221744
6B32218A75416B   VLADIMIR         FOX                    OR           90009501807
6B322888285821   HAL              THACKER                CA           90009238882
6B32393722B962   ANDERS           ENGLAND                CA           90005139372
6B32442754B588   CHRISTOPHER      TIGER                  OK           90014714275
6B32457A455975   TIANA            HAWORTH                CA           90003735704
6B325372871976   ESTAVAN          RIOS                   CO           90012793728
6B32546184B588   YESICA           RODARTE                OK           90010594618
6B325748A71976   JOSEPH           JIRON                  CO           90014577480
6B326184551354   ANGEL            ONEAL                  OH           90015191845
6B32672185416B   GERARD           MILLER                 OR           47019427218
6B32722225594B   CARLOS           SERRANO                CA           90005742222
6B32727155B531   DAVID            CHRISTIAN              NM           90014132715
6B327589491894   REGINA           RUTLEDGE               OK           90002215894
6B32781982B27B   KWANISE          KELSEY                 DC           90013048198
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6B327A6835B39B   DANNY           WALKER                  OR           90011240683
6B32858743168B   CARL            GOODMAN                 KS           90014685874
6B32B954171976   CHRIS           GILLESPIE               CO           90014879541
6B331182972B36   JOHNNY          MUNSON                  CO           90012521829
6B3312AA261979   LIVETH          SHIELDS                 CA           90012852002
6B331A67931453   PETER           ANDERSON                MO           27587450679
6B33289348B133   JEFF            MANZANARES              UT           90011798934
6B334291572B36   BENITO          MARTINEZ CARDENAS       CO           90011162915
6B3343A935B271   MICHAEL         MELTON                  KY           90014613093
6B33451245416B   GEORGE          MARTIN                  OR           90014625124
6B33478A591894   NATASHA         BELL                    OK           90014817805
6B337A95771976   TIM             HAWAKINS                CO           90003810957
6B338365361936   XIUSIE          GARCIA                  CA           90013463653
6B339632555941   EMMA            LOPEZ                   CA           90014786325
6B33B71565B39B   ERIC            ANDERSON                OR           90012447156
6B33B797372B43   MOISES          SEGUNDO                 CO           90006027973
6B33B88A485821   JOSEPH ADRIAN   LUCCA                   CA           90002428804
6B34541275416B   KRISTI          ELLIS                   OR           47010974127
6B34582217B46B   RAUL            QUINTO-MEDINA           NC           90005178221
6B347494A2B27B   JIMENA          LONA                    DC           90013064940
6B347721272B36   LOUIS           MALIK                   CO           33081057212
6B348194772B27   GILBERT         MONTOYA                 CO           90011451947
6B348552931453   CARLA           GORE                    MO           90014995529
6B3496A898B168   JOSHUA          AARON                   UT           90010456089
6B34B566372B29   RIGOBERTO       SANTOS                  CO           90011205663
6B34BA73172B43   LUIS            GALLEGOS                CO           90013230731
6B351552931453   CARLA           GORE                    MO           90014995529
6B35312658B133   MIKELL          MAUGHAN                 UT           90013971265
6B35355552B27B   CURTIS          BRAXTON                 DC           90014335555
6B35564AA3168B   JUSTIN          KESTER                  KS           90015166400
6B35633A572B36   HEATHER         BANEULOS                CO           90014623305
6B35734488B169   YADIRA          AGUILERA                UT           90004433448
6B35B34845B271   RONALD          PUMPHREY                KY           90012873484
6B35B649955941   JOSE            MENDOZA                 CA           90012956499
6B35B741472B29   ELVA INES       BONILLA                 CO           90011367414
6B35B743255973   LUIS            GONZALEZ                CA           90011817432
6B361552931453   CARLA           GORE                    MO           90014995529
6B36342625416B   NICOLE          BRANDT                  OR           90012554262
6B3641A722B27B   LORRIE          SILVER                  DC           90011601072
6B365552931453   CARLA           GORE                    MO           90014995529
6B366552931453   CARLA           GORE                    MO           90014995529
6B36713636B244   CLARK           JEANTINORD              AZ           90014311363
6B367748A31453   TIFFANY         MYERS                   MO           90003087480
6B3679A2461964   THOMAS          JUDGE                   CA           90012849024
6B369319872482   MIRANDA         BORELAND                PA           90013163198
6B3711A2661936   MARTIN          CANLAS                  CA           90013081026
6B371738691894   RON             FORESMAN                OK           90009497386
6B37182A361979   ANTHONY         POSEY                   CA           90013978203
6B37249548B168   LEMOYNE         LEE                     UT           90010674954
6B37352A761936   RAFAEL          LAGUNAS                 CA           90007385207
6B373691951354   JOSHUA          BURTON                  OH           90015276919
6B373817791592   CAROLIN         HERNANDEZ-ESPINOZA      TX           90010988177
6B374475255973   PABLO           RODRIGUEZ               CA           90012134752
6B3755A995416B   K LA            BOOTHMAN                OR           90013805099
6B375928698B22   DECARRA         STITT                   NC           90010809286
6B376612572B29   FRANCES         SMITH                   CO           90013276125
6B37678A591894   NATASHA         BELL                    OK           90014817805
6B376967585821   DJEMYRHL        TOLENTINO               CA           90011639675
6B379194572B27   KIMBERLY        ASHFORD                 CO           90010361945
6B37934453168B   CIERRA          WHITE                   KS           90013673445
6B37948A481644   CAROLINE        BOURDLAIS               MO           29050754804
6B37964545B271   WILLIAM         POTTER                  KY           90012856454
6B37B274572B29   NICOLAS         TORRES                  CO           90013372745
6B381355577538   JAZMIN          CORREA                  NV           90003793555
6B38488815B39B   FERNANDO        HERNANDEZ               OR           90012668881
6B384A9324B588   SHANE           CALLIES                 OK           90010810932
6B387281572B43   SOLEDAD         QUEZADA                 CO           90007062815
6B392155A7B46B   RASHETTA        WALKER                  NC           90003871550
6B392357331453   JESSICA         FARMER                  MO           90008363573
6B39248345416B   LESLEY          BENSON                  OR           90012554834
6B396A3478B133   VINCENT         STEPHENS                UT           90011510347
6B398511961936   ERIC            DELACRUZ                CA           90012785119
6B39B57855B531   MARIA           MARTINEZ                NM           90011315785
6B3B1952A61964   YONATHAN        BETECHRIVAS             CA           90010719520
6B3B264625B921   KIERIA          KRIEGER                 ID           90013796462
6B3B2948661964   ANTONIO         ORTA                    CA           90014949486
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6B3B5148A4B588   TIYTIANA         SANDERS                OK           90013641480
6B3B557944B588   BRANDON          HAUER                  OK           90011025794
6B3B5A8A75594B   RUBEN            RAMIREZ                CA           90013940807
6B3B6814955941   JOSE             SERANO                 CA           90013078149
6B3BB15195416B   GERARDO          QUIROZ                 OR           90010911519
6B3BB91458B168   MYCHAL           JOSHONGEVA             UT           90003189145
6B41129257B395   JESSE            POCASANGRE             VA           90011272925
6B411335472482   BRANDY           VALENTINE              PA           90004243354
6B41519792B27B   JAZMINE          CUNNINGHAM             DC           90011601979
6B416229655983   FELIPE           MARTINEZ               CA           90011672296
6B41855755B271   MELISSA          DREES                  KY           90012525575
6B418A34772B29   RIGOBERTO        MEDINA                 CO           90012620347
6B418A55555973   PATRICIA         DE LA CRUZ             CA           90011410555
6B41B82137B449   TRINA            STEELE                 NC           11002158213
6B41B854972B29   SETH             FICKAS                 CO           33070388549
6B41B866197B55   MICHAEL          LANGIANO               CO           33016998661
6B421A74881644   IJHANAI          COLLINS                MO           90013650748
6B422551691999   SOPHIA           PORTER                 NC           90006595516
6B42267445B531   ANA              MUNOZ                  NM           90013806744
6B424296657538   VALERIA          MONTES                 NM           90013742966
6B42435545594B   CATALINA         REYES                  CA           90005803554
6B42446A455975   EUSEBIO          VASQUEZ                CA           90015194604
6B42627355594B   KIMBERLY         VARGAS                 CA           90000982735
6B4276A3361979   HENRY            TILAPA                 CA           90014826033
6B42992A75594B   EDUARDO          GONZALEZ               CA           90014169207
6B429A48455973   STEPHANIE        HOWARD                 CA           48098310484
6B431A9635B531   CHRISTOPHER      LUCERO                 NM           90011520963
6B433169161979   GLORIA           VALADEZ                CA           90007441691
6B433781791592   JESUS            PENA                   TX           90014567817
6B433974261979   GLORIA           VALADEZ                CA           90012589742
6B43424228B133   RICKY            SMITH                  UT           90007492422
6B43425419184B   SIMONNE          MILLER                 OK           90007352541
6B436515761936   DAISY            NEGRON                 CA           90013965157
6B437188585877   DONDREA          GARCIA                 CA           90002871885
6B43768AA72B36   MARTIN           ZUNIGA                 CO           90013426800
6B43957365B39B   ANALILIA         ROSAS-VALENCIA         OR           90010155736
6B441313991894   MARIBEL          MURILLO                OK           90012263139
6B44158958166B   ROSELIN          SMITH                  MO           90012135895
6B444578361964   FRANIA           CERVANTES              CA           90005585783
6B444979481644   AGGENIA          PETTUS                 MO           90011219794
6B4456A953B359   AMY              ARELLANO               CO           33019566095
6B44745455594B   JAVIER           REYES                  CA           90005804545
6B44751565416B   GENNI            DEMARIS                OR           90012555156
6B44BA43855941   ALEJANDRA        HERNANDEZ              CA           90013000438
6B45242835B235   RONNIE           SPADIE                 KY           90009054283
6B452A7295594B   JAIME            MARTINEZ               CA           90014720729
6B453332633698   LAKEDIA          KELLAM                 NC           90011123326
6B454A8A37B46B   MARIA            MENDOZA                NC           90010250803
6B45533125594B   ALFREDO          VARABAJA               CA           90013423312
6B45812612B27B   RYAN             RAMOTAR                DC           90015111261
6B458456971946   RENEE            JOHNSON                CO           90011624569
6B4599A3655941   VIRGINIA         NEGRETE                CA           49045499036
6B45B39A933698   MICAYALA         BINNS                  NC           90012843909
6B45B5A154B588   MANDY            MURRY                  OK           90014455015
6B46148392B27B   HEIDY            CHAVARRIA              VA           90001254839
6B462553851334   MELISSA          SINGLETON              OH           90007465538
6B462561772B43   MELVIN EDUARDO   OCHOA                  CO           90004985617
6B46264195B271   DAWN             MIDDLETON              KY           90010406419
6B462A1575716B   JOSE             REYES                  VA           90008140157
6B463154357538   MARY             LEAVY                  NM           90012041543
6B463448A5B344   LASHONDA         ROGERS                 OR           90009664480
6B466277591999   JOSE             SIMEON                 NC           90004502775
6B466991971976   NAZARIO          MEDINA                 CO           90008389919
6B46922165416B   JENNIFER         JELLISON               OR           90010842216
6B469493733698   MIKE             WILLIAMS               NC           90003324937
6B469685555975   FRANKIE          SOTO                   CA           90013136855
6B472391133698   ANGELA           HAMILTON               NC           90014543911
6B4724AA463646   MARGUERITE       ARECHEDERRA            MO           90012344004
6B472993591285   FRANCESCA        CRAIG                  GA           90008669935
6B47455A161964   CHRISTOPHER      SOTO                   CA           90014005501
6B475178824B7B   BERNARD          MATHEWS                DC           90011351788
6B476A9724B588   DENNIS           PLEETS                 OK           90013870972
6B481283342335   REGINALD         BROWN                  GA           90012052833
6B482673671976   CHELBY           SANTIAGO               CO           90012806736
6B48279988B133   JACOB            CALLOWAY               UT           90005207998
6B483482357538   ASHLEY           GOMEZ                  NM           90012714823
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6B48541648166B   RAYA           FINCH                    MO           29074464164
6B486519755975   TARA           MARTIN                   CA           90012055197
6B488279955941   JORGE          AVALOS                   CA           49050772799
6B488732961979   GERARDO        GARCIA                   CA           90010377329
6B488891272B43   ANTONIO        ALMANZA                  CO           90012918912
6B48B3A8284392   RANDOLPH       GRANT                    SC           90011233082
6B491A74857538   DENISE         CHACON                   NM           90011460748
6B492336591894   SANTIAGO       HANAN                    OK           90012263365
6B49412285B235   KAREN          GIBSON                   KY           90014171228
6B49513697B46B   MICK           JEEMS                    NC           90007741369
6B497482555973   PEDRO          GUTIERREZ                CA           90013714825
6B49753475594B   JP             VILLAGOMEZ               CA           90013945347
6B499573772B27   LAWRENCE       RICE                     CO           90012935737
6B499924291894   WILLIAM        RECTOR                   OK           90013739242
6B4B1495661936   TIM            LOPEZ                    CA           90013864956
6B4B156917B46B   BRANDI         MORRISON                 NC           90013135691
6B4B2129A55975   RENEE          LOPEZ                    CA           48063571290
6B4B3836271976   MIRANDA        MARTINEZ                 CO           90013888362
6B4B652A772B29   JESSICA        MARIE                    CO           90012015207
6B4B6748A71976   JOSEPH         JIRON                    CO           90014577480
6B4B696645594B   ANGELITO       ROMERO                   CA           48023579664
6B4B6A1395B39B   MARGARITO      MARTINEZ                 OR           44588080139
6B4B72A1963646   STEVE          PLOWMAN                  MO           90014492019
6B511A44155941   PHILLIP        BAUM                     CA           90014760441
6B51321167B46B   CARLOS         RICHARDSON               NC           90001902116
6B514A1A851342   GARY           ANDERSON                 OH           90005520108
6B514A55455973   JESUS          LARA- ALVAREZ            CA           90013590554
6B515446172B27   EDDER          HERNANDEZ                CO           90010314461
6B515935931453   NICHOLS        MCCLANAHAN               MO           90009529359
6B517429957B76   MARY           KEARNEY                  PA           90013934299
6B51748615B392   DONOVAN        ANDERSEN                 OR           90013184861
6B517487755941   ANDREA         RODRIGUEZ                CA           90012294877
6B51923365594B   MARIA          ARMAS                    CA           90014722336
6B519558455973   MANUEL         REYES                    CA           90013805584
6B51B639191592   JACKIE         MONCLOA                  OK           90013536391
6B521877433698   BRENDA         WILLLIAMS                NC           90007898774
6B524528561979   JULIAN         FLORES                   CA           90013955285
6B524661797B64   BREANNE        PORTER                   CO           90006776617
6B524812761979   YULIANA        ROCHA                    CA           90015148127
6B525488461964   JOSE           SAUSEDO                  CA           90011194884
6B526A7417B761   NOAH           OKELLY                   CA           90014100741
6B52726398B133   CARESSA        LONDON                   UT           90011872639
6B527A2A891894   ABRAHAM        REYES                    OK           90010130208
6B52B42733167B   STEPHANIE      WALTERS                  KS           90007464273
6B531311563646   CHRISTOPHER    BECK                     MO           90012903115
6B531336957538   JUAN           FLORENTINO               NM           90013743369
6B5321A4572B36   ARTUR          TRUNOV                   CO           90013931045
6B5336A2891975   CRYSTLE        HORTON                   NC           90008556028
6B53394A391894   JAVON          OVERSTREET               OK           90009459403
6B53429612B27B   DENISE         ELWOOD                   DC           90012922961
6B534458361979   DINA           RANGEL                   CA           90015054583
6B53511586196B   MARIANO        RODRIGUEZ                CA           46010451158
6B535536351354   ALEXANDER      ROLSEN                   OH           90013895363
6B536139272B29   NELSON OMAR    PEREZ HERNANDEZ          CO           90011151392
6B536284571976   SUNNY          LYON                     CO           90011882845
6B536A57955941   MARY           MARTINA                  CA           90013000579
6B538A1815B235   AARON          MAUPIN                   KY           90013700181
6B539513381644   ANNMARIE       CRAIG                    MO           90012335133
6B53967694B588   STACY          HESS                     OK           90012346769
6B53986A261936   WILI           SOLORZANO                CA           90007488602
6B541318761936   STEPHEN        JENNINGS                 CA           90011923187
6B542222872B36   CESAR          BARRIOS                  CO           90012902228
6B54254938B169   JAYMOND        ARCHULETA                UT           90000505493
6B542568355941   ALEXIS         CARDENAS GOMEZ           CA           90013815683
6B544323372B43   ALEJANDRO      HERNANDEZ                CO           33057743233
6B54489515B392   FRANCISCO      HERNANDEZ                OR           90003158951
6B547112855941   ELIZABETH      RUBIO                    CA           90013001128
6B54724A75594B   CESAR          AVILA                    CA           90014722407
6B54769785B39B   HOLLIDAY       ARIZONA                  OR           90011126978
6B54873A45416B   KRISTY         VOLESKY                  OR           90011417304
6B548773591894   MATRTHA        LOZANO                   OK           90010917735
6B548A2728B133   MICHELLE       MORGAN                   UT           31009930272
6B55253944B588   GEORGIA        FLOWERS                  OK           90012465394
6B55421A93168B   ASHLEY         LAKIN                    KS           90010972109
6B556866787B31   BREANNA        HUDSON                   AR           90003338667
6B55725A85B39B   CITY           IRUJIMAN                 OR           90011252508
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6B55757A761936   ERICA             HERNANDEZ             CA           90012675707
6B55761A361936   JANES             DOSHA                 CA           90014616103
6B557871A55941   MARY              GARCIA                CA           90013038710
6B558221454174   DARREL            BARKELEW              OR           47060142214
6B55917112B27B   ANA               RAMIREZ               DC           90007531711
6B56117A781644   NEKANDRA          SCROGGINS             MO           90001711707
6B56225745594B   JULIO             ROMERO                CA           90008142574
6B56383414B27B   HEATHER           SADLE                 NE           27062808341
6B56468668B334   VERTIA            KELLY                 SC           90009096866
6B5681A8761979   TIFFANY           BUZAN                 CA           90013141087
6B568813471976   MIKE              HIGBY                 CO           90010518134
6B56931685B531   SANTANA           ORTIZ                 NM           90012873168
6B56B664A5594B   GENESIS           GUERRERO              CA           90013656640
6B573883755941   ISABEL            REYES                 CA           90013038837
6B575629961964   AIOTEST1          DONOTTOUCH            CA           90015116299
6B576AAA34B588   KAREN             CHAMBERS              OK           90014610003
6B57717444B27B   ZIN               K                     NE           90012441744
6B577176972B27   MATTHEW           COTHRAN               CO           90007781769
6B57B61142B27B   MIREYA            QUINTERO VERA         DC           90012706114
6B582371571976   ARLENE            VASQUEZ               CO           90011713715
6B583942655941   FELIPE            LOPEZ                 CA           90013039426
6B585643772B43   BRITTNEY          ROMERO                CO           90010396437
6B585A18371976   MACKENZIE         MAAS                  CO           90005300183
6B587894233698   RASHAUNDA         MCCALL                NC           12090718942
6B587A9A661979   BERENICE          MARMOLEJO             CA           46073890906
6B58B164A71976   JERRY             SALINAS               CO           90013021640
6B59347548B133   TYLER             BUATTE                UT           90007944754
6B5935A154B588   MANDY             MURRY                 OK           90014455015
6B594649547996   ANA MARIA         ROJAS                 AR           90003226495
6B594941755973   FRANCISCO         DELGADO               CA           90013029417
6B59496843168B   JENEAL            DELIS                 KS           90009279684
6B594A9144B27B   MITCHELL          POND                  NE           90013690914
6B596463361964   SERGIO            RODRIGUEZ             CA           46011404633
6B596864481644   DANIEL            ORTIZ                 KS           90014158644
6B59784165416B   LYNIRA            WADE                  OR           90002128416
6B597A21A55941   JESSE             GARCIA                CA           90013040210
6B598578881644   EDMOND            MCNACK                MO           90012965788
6B59928A761936   MARICRUZ          AGUILAR               CA           46076772807
6B59B526655973   JONATHON          EARLEY                CA           90006225266
6B5B1127433698   NAKENYA           JESSUP                NC           90010991274
6B5B1461857538   RHIA              GARCIA                NM           90011184618
6B5B159298166B   MONIQUE           WILLIAMS              MO           90014905929
6B5B226895594B   JULIO             GARCIA                CA           90010472689
6B5B324435416B   MICHELLE          KEMPTON               OR           90005032443
6B5B3814755973   FRANCISCO         MENDEZ                CA           90012428147
6B5B485714B588   QUANSJAY          CLAYTON               OK           90014758571
6B5B4A68161979   BENJAMIN          BALLARD               CA           90012430681
6B5B5876197B57   BRIAN             TURBEVILLE            CO           90012748761
6B5B5A5917B449   JEAN              GUSS                  NC           11075520591
6B5B617935B271   ZHAIRAN           HERNANDEZ             KY           90015011793
6B5B8687161964   MANUEL            BASABE                CA           90014446871
6B61156464B588   MONTRELL          LASKEY                OK           21511155646
6B6135A595416B   ELIZABETH         STORTS                OR           47082575059
6B616327772B36   EARL              MONTGOMERY            CO           90009873277
6B616982433698   CHAMELLE          WILSON                NC           90013809824
6B617A98881644   GIUSEPPA          BREWER                MO           90013370988
6B619473555941   VERONICA          GONZALEZ              CA           90013874735
6B61995342B27B   RENEE             WEYANT                VA           90013649534
6B622194547996   BENITA            ANDERSON              AR           90009361945
6B623218661964   ROCIO             MARQUEZ               CA           90007612186
6B623363A72B29   KAREN             BECERRA-ROJAS         CO           90012823630
6B62513636B244   CLARK             JEANTINORD            AZ           90014311363
6B625799491588   CLAUDIA           MEDRANO               TX           90010547994
6B625A3685B531   STIEVERAE         BACA                  NM           90004840368
6B62657855B531   GUSTAVO           GONZALEZ              NM           90010495785
6B62659915B39B   SARAH             TOMSETH               OR           90014415991
6B628941461964   HEIDI             GOMEZ                 CA           90007809414
6B629131561964   MIGUEL SAAVEDRA   MANZANO               CA           90013071315
6B629645A5594B   ANGELINA          BEEBE                 CA           90004876450
6B631A7257B46B   JAVIER            SALVADOR              NC           90011920725
6B635417A7B46B   JONATHAN          DAVIS                 NC           90014814170
6B63677465594B   KARLA MARIA       LIMON                 CA           90014747746
6B63982325B271   ROY               GRIDER                KY           90014818232
6B643194572B27   KIMBERLY          ASHFORD               CO           90010361945
6B64634618B168   ELIZABETH         RIVERA                UT           31012283461
6B6472A114B588   NICOLE            MATHIS                OK           21554282011
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6B64913955B39B   MAYNOR         PEREZ SALAS              OR           90012791395
6B64946725B271   MARK           BRUEDERLE                KY           90014624672
6B651196A7B46B   JAI            RASI                     NC           90012351960
6B651319A7B449   JOSE           HERNANDEZ                NC           11092053190
6B652566572B27   LUIS           LEIVA                    CO           33084595665
6B65347614B253   TAMMY          GONZALEZ                 NE           90001074761
6B656A43691592   ARTURO         GACIA                    TX           90013270436
6B657612587B31   GARY           VEAL                     AR           28069606125
6B6581A2661979   CHRISTIAN      RODRIGUEZ                CA           90010201026
6B66293554B27B   ADAR           MOHAMED                  NE           90011909355
6B6656A9972B29   FRANCISCO      CASTRO                   CO           90013206099
6B669599684392   LAKEISHA       BROWN                    SC           90005585996
6B669927172B29   JORDANA        PENA                     CO           90010789271
6B66B839281644   BERENICE       ZARCO                    MO           90015318392
6B66B841661936   A              WARD                     CA           90007228416
6B672725A61936   LYNN           DELEON                   CA           90014587250
6B6747A4A4B27B   LATONIA        FREEMAN                  NE           90010357040
6B67486855594B   GUADALUPE      MARTINEZ                 CA           90013668685
6B676457763646   AMANDA         JASPERING                MO           90014094577
6B67714118B168   JUSTIN         WHEELER                  UT           31083411411
6B67764665B39B   KIM            LUZITANO                 OR           44565066466
6B677847191592   BERTHA         MONJES                   TX           90013748471
6B678466472482   MICHALE        NEUSCH                   PA           90001114664
6B682176461964   HERIBERTO      HERNANDEZ                CA           90000391764
6B682787871976   JOHNNY         PEL                      CO           90012857878
6B6828A5272B36   JASON          BOLTZ                    CO           33097298052
6B6841A8331453   FREDA          DAVIS                    MO           27573911083
6B684347231453   FREDA          DAVIS                    MO           90013193472
6B684733A2B27B   MORIA          MORSE                    DC           90013747330
6B685873955941   JOSE           HUERTA                   CA           90013048739
6B685A16A5594B   VANESSA        REYES                    CA           90012440160
6B687568472B27   DIANE          MAZUROSKI                CO           33017945684
6B689911755941   MARIA          BERBER                   CA           90013049117
6B68B698955941   JOSE           NUNEZ                    CA           90013906989
6B69168377B449   FRED           SADLER                   NC           90003826837
6B69211255594B   LUCIA          VASQUEZ                  CA           90010541125
6B69373198B168   SHYLIA         ANDERSON                 UT           90012177319
6B69446455B39B   DANIELLE       DEMEULLE                 OR           90010194645
6B695319391552   CLAUDIA        DE LA CRUZ               TX           75010143193
6B69628712B27B   DACOALEON      LINEN                    DC           81075452871
6B696889893741   MARY JO        RICHARDSON               OH           90002008898
6B6976A9155973   YASKARA        SANCHEZ                  CA           90011386091
6B697754372B43   ALICIA         DE LA CRUZ               CO           33075997543
6B697997651354   MARIA          PEREZ COVARRUBIAS        OH           90009529976
6B698146981644   TREVOR         ALRED                    MO           90011231469
6B69B539485821   DAVID          FRUTOS                   CA           90003745394
6B6B2314485821   ELIZABETH      FELIX                    CA           90009433144
6B6B2683291894   AMANDA         ELDER                    OK           90011376832
6B6B2A9A881644   KASSI          ELLIOTT                  MO           90013590908
6B6B357A957538   SARITA         RAGAZZONE                NM           90012715709
6B6B53A8191592   ZULEMA         ORNELAS                  TX           90010993081
6B6B545137B46B   EDDIE          LITTLE                   NC           90014704513
6B6B5A8194B27B   JOAL           NISTL                    NE           90008300819
6B6B9236491975   MONYKA         MCFA                     NC           17005912364
6B7116A298166B   JESSICA        COLGROVE                 MO           90014506029
6B711935891592   BERENICE       LUEVANOS                 TX           90009879358
6B713294461964   JASMINE        SEYMO                    CA           90014262944
6B715788A5B271   CHASITY        KIRK                     KY           90010437880
6B71592645594B   JOEL           REYES                    CA           90015169264
6B7166A385594B   JONATHAN       GAYTAN                   CA           90005306038
6B71734715B39B   ALAN ZACH      NEEPER                   OR           90014393471
6B71778755B39B   NICOLE         SCHELL                   OR           90011257875
6B718246757538   ERICA          SILVA                    NM           90014542467
6B718888191894   CHERYL         EDWARDS                  OK           90012938881
6B718951481644   SANDRA         BALES                    MO           90012359514
6B71B312861979   JOHN           SMALLWOOD                CA           90004953128
6B71BA8A172B29   JESSIE         FORTH                    CO           90014910801
6B72147155B393   BEN            TRIMBO                   OR           44521534715
6B72225347B46B   ISAAC          FITZSIMMONS              NC           90014932534
6B72236243168B   ANGELA         CEBALLOS                 KS           90012873624
6B72466934B588   ANITA          FLORES                   OK           21582096693
6B72529544B27B   ERIK           TREJO                    NE           27091022954
6B7254A9357538   JASMINE        RIVERA                   NM           90012494093
6B72595615B921   JAMES          BRUITT                   ID           90009759561
6B7266A8497B64   JAKE           EASTERBROOK              CO           90012446084
6B7267A5672B27   MARTHA         RAMIREZ                  CO           90014377056
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6B72756338B168   MICHELLE        OLSEN                   UT           90001875633
6B72837465594B   DONG            MEI XU                  CA           90008203746
6B72874225416B   SAMANTHA        WINK                    OR           90008207422
6B72962515B344   SARAH           MCKENZIE                OR           90006206251
6B73424A85594B   ADALBER         HERNANDEZ               CA           90013952408
6B735626A91592   LOUIE           MOLINA                  TX           90004256260
6B73651215416B   EMILY           LEWIS                   OR           90010985121
6B738423455975   MARIA           GARCIA                  CA           90013064234
6B73B142855941   MARIA           GASCA                   CA           90014861428
6B73B52A155975   MARIVEL         CERROS                  CA           90011895201
6B73B89A755973   CARLOS          GONZALEZ                CA           90014998907
6B74223345594B   PEDRO           CRUZ                    CA           90015182334
6B742A7365594B   LEONARDO        SANTANA                 CA           90011570736
6B7456AA74B588   JEREMIAH        KING                    OK           90012316007
6B747791272B23   MIKE            MULLER                  CO           90001627912
6B74785714B588   QUANSJAY        CLAYTON                 OK           90014758571
6B74829265594B   ROBERTA ANN     FRANCO                  CA           90013952926
6B7498A6857538   SOPHIA          LAWSON                  NM           90009708068
6B75248985594B   ANTONIO         HERNANDEZ               CA           90014804898
6B752554A55973   SAMMY           BAIZA JR                CA           48016275540
6B75533A272B36   BERNADETTE      ESPINOZA                CO           33059393302
6B758137731453   ADAM            CAPRIGLIONE             MO           90008381377
6B76243968B168   SHANE           ROBBINS                 UT           90007894396
6B765886581644   DAVID           GUM                     MO           90013128865
6B767612831453   ERIN            JOYCE                   MO           90009806128
6B768796572B29   JASMINE         GONZALES                CO           90012937965
6B768A9A581644   JOSEPH          RUFINO                  MO           90011940905
6B76B17192B27B   KARLON          STODY                   DC           90014611719
6B7711A865416B   KIMBERLY        SKESLIEN                OR           90014641086
6B771693191592   FABIOLA         RUBIO                   TX           90013756931
6B772453661979   SHENA           NALICA                  CA           90009224536
6B772722125236   KHANDICE        HESTER                  NC           90005747221
6B77467825B39B   TEONNA          LAWRANCE                OR           90013076782
6B7771A1761936   JOSE            ARAMBULA                CA           90010201017
6B777636A47996   LINDA           FREEMAN                 AR           90012166360
6B77865A861979   MARCO ANTONIO   VALENCIA                CA           90013956508
6B77B348563646   HANNAH          HAMILTON                MO           90007793485
6B781725671976   CORVET          GRIFFEN                 CO           90013937256
6B78187A272482   KRISTINE        GALLAGHER               PA           51041898702
6B782757661964   RAUL            ARMAS                   CA           90013227576
6B78431AA72B29   JOHN            RIEB                    CO           90010423100
6B78522AA7B46B   CHARLES         SMITH                   NC           90013012200
6B787AA514B588   ALBERTO         ELLIS                   OK           90013450051
6B78833AA55975   ALMA            PANTOJA                 CA           90010353300
6B78863A93B324   CLARK           WALKER                  CO           33080436309
6B78884155B344   BRANDON         DAVIDSON                OR           44517918415
6B78884685B235   LARRY           WALKER                  KY           90010018468
6B79121685594B   CECILIA         CASTILLO                CA           90012522168
6B79258322B27B   SIDA            DIRAGO                  VA           90012045832
6B79661628B171   JAMES           HARDCASTLE              UT           90004406162
6B79674135416B   ROSANA          GRAVES                  OR           90013317413
6B79942A257538   PATRICIA        TORRES                  NM           35582884202
6B7B346623168B   JOSEPH          REEF                    KS           90012014662
6B7B388385594B   JUAN            MARTINEZ                CA           90013668838
6B7B6576555973   REBECCA         LUNA                    CA           90012015765
6B7B78A347B449   TIM             BLACKWOOL               NC           11090638034
6B7B8251491592   DUSTIN          HERNANDEZ               TX           90014622514
6B7B8774891999   JALESA          HILL                    NC           90004597748
6B7B8928A72482   MANDEE          HARRISON                PA           51063439280
6B7B8A19A5B271   MICKEY          PARKS                   KY           90001620190
6B7B9634855973   KAREN           BIBEE                   CA           90009756348
6B7BB225761979   ARCE            LETICIA                 CA           90001882257
6B7BB473A61964   THOMAS          GILLON                  CA           90001404730
6B81247A331453   ANGEL           BAILEY                  MO           90010914703
6B812776457538   MELANIE         VARGAS                  NM           90013517764
6B813758291592   TANIA           SANTOYO                 TX           75044367582
6B814521555973   SUSIE           RUSSELL                 CA           90013715215
6B81459A73168B   ISAIAH          TUHRO                   KS           90011215907
6B815733A71976   JUAN            GARCIA                  CO           90010527330
6B81598A561979   EVA             RODRIGUEZ               CA           90010849805
6B816675161979   ENRIQUE         ESPINOZA                CA           90013956751
6B8167A1672B27   STEVEN          FIELDER                 CO           90014257016
6B81873878B133   STEFANIE        BINGHAM                 UT           90008737387
6B819321471976   CRYSTALYNN      GALLEGOS                CO           90013103214
6B81933463168B   JULIUS          HUGHES                  KS           90014153346
6B825968561936   FERNANDO        VALDEZ                  CA           90007519685
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6B826486955973   JUANA          GARCIA                   CA           48030354869
6B826737254128   CHERYL         TIEDE                    OR           47058777372
6B828847981644   ACHEBE         AROME                    MO           90012828479
6B82899767B46B   TASHA          LEAKE                    NC           90014789976
6B82995784B27B   ANTHONY        KREUS                    NE           90013599578
6B8317AAA72B36   JESSICA        VALENZUELA               CO           90011967000
6B832A8974B588   KAREN          CARDONA                  OK           90009540897
6B832A8A472B29   ROB            ROBERTSON                CO           90014910804
6B83383188B168   STACI          MOSELEY                  UT           90010048318
6B83449A755973   PATRICIA       FRATICELLI               CA           90010774907
6B83453854B588   ROXENI         LOPEZ                    OK           21565155385
6B834A74272B36   HIWOT          LEMMA                    CO           33028260742
6B835898755941   CANDI          SOLIS                    CA           90010348987
6B83651A257538   BELINDA        CORBIN                   NM           90008855102
6B837171A5B271   BRANDIE        MURPHY                   KY           90014651710
6B839A5715B344   TONY           SCHULTZ                  OR           44559970571
6B83B34635B271   JASMINE        CANNON                   KY           90010733463
6B83B648651352   ERICA          MOSS                     OH           66008756486
6B848194155941   MARIELA        HERRERA                  CA           90013141941
6B8481A9A55969   LUIS           JOHNSON CORTEZ           CA           90007741090
6B84BA5385B235   JUSTIN         MALONE                   KY           90014090538
6B851539155941   JOSE           MENDEZ                   CA           90010415391
6B85185225B344   DAHN           ANDERSON                 OR           90003978522
6B85185AA57538   DAVID          STALWORTH                NM           90013558500
6B852329281644   SANDRA         WEBB                     MO           90011233292
6B8529A575B531   MARIA          BETANZOS                 NM           36006929057
6B853517A3168B   MIGUEL         ANICTO                   KS           90015035170
6B85365158B133   ESTHER         FUENTES                  UT           90008436515
6B85375955416B   JOHN           POPE                     OR           90012457595
6B853817771976   JANICE         TRUJILLO                 CO           90013048177
6B85386262B27B   GRAY           STRICKLAND               DC           90007288626
6B853A31791894   ROCKY          RICH                     OK           90011600317
6B858686155941   DIANA          CORTEZ                   CA           90007136861
6B85B7AA563646   SNUGGLES       COTTON                   MO           90014087005
6B8627A1861979   LORENA         LOPEZ                    CA           90010337018
6B862A58361931   PEDRO          LEDEZMA                  CA           46019460583
6B8635A8133698   MITCHELL       WALTERS                  NC           90012125081
6B863AA2855973   JOEL           BAEZ                     CA           48004110028
6B864123351342   STEVEN         MEYER                    OH           90010721233
6B86556595B392   FLORENTINO     RAMOS                    OR           44577345659
6B86756597B46B   DOGOBERTO      MEJIA                    NC           90009005659
6B871143872B27   DAMBER         BARAL                    CO           90010751438
6B87346865B39B   AMBER          MEYER                    OR           90010524686
6B874612751354   DIAMOND        GILL                     OH           90013456127
6B87479575594B   LEOVARDO       NAVARRETE                CA           90002147957
6B8747AA233698   SYDNEY         DESHAZO                  NC           90012997002
6B875A2857B495   MONIQUE        LYONS                    NC           90014570285
6B877668561936   ALBERINA       DEPAZ                    CA           90014676685
6B877A7684B27B   HAPYNES        ODHIAMBO                 NE           90013610768
6B879A77255975   LUKE           KAMBIEK                  CA           48005970772
6B87B38784B599   JUAN           JIMENEZ                  OK           90000553878
6B881836397B64   WALTER         CASTILLO LOPEZ           CO           90004988363
6B8822AAA4B27B   RAFAEL         ALMANZA                  NE           90013962000
6B882948891894   RYAN           ADAIR                    OK           90012749488
6B883378933698   DONALD         ADAMS                    NC           90013853789
6B8833A485B271   ERICKA         ALEXANDER                KY           90011273048
6B884A9A95594B   REBECCA        GUTIERREZ                CA           90012980909
6B885395891592   PEDRO          NEVAREZ                  TX           90010693958
6B88754525B151   WILLIAM        CARDWELL                 AR           90012705452
6B888742A61979   EDDIE          SALDGO                   CA           46051607420
6B88BAA658166B   ALAN           COLE                     MO           90012730065
6B892539155973   ERIC           CASTEN                   CA           90014845391
6B893226461936   RICKIE         HILLIN                   CA           46075892264
6B89518615416B   KENNETH        ADAMS                    OR           47084651861
6B89562595B235   DAYQUAWN       CARTER                   KY           90015126259
6B895986655973   OLIVIA         ROMERO                   CA           90006019866
6B8987A8657538   RUBEN          MALDONADO                NM           90013297086
6B89891645B39B   DANIELLE       BURNETT                  OR           44568069164
6B89B26988B133   JOSE           NOLASEO                  UT           90008132698
6B89B59A372B29   TIFFANY        SAPP                     CO           90013185903
6B89BA3565B39B   RICO           SILVESTRE                OR           44539440356
6B8B1291697B64   JEREMY         LIPKA                    CO           90007162916
6B8B14A2671976   KAYLA          BACA                     CO           90012874026
6B8B5795372B29   MARK           STONE                    CO           90010137953
6B8B665A88B133   JEREMY         OBRIEN                   UT           90014086508
6B8B7449A57538   MARIANA        HERRERA                  NM           90013744490
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6B8B752A297B64   STACIE         STOCKTON                 CO           90001725202
6B8B7636455941   VICTOR         TOVAR                    CA           90014786364
6B913328891894   SARAH          THOMPSON                 OK           90014653288
6B9151A365B235   CHERYL         READING                  KY           90012831036
6B916641455941   MARLENE        SANCHEZ                  CA           90014786414
6B917723591592   LUCILA         ESPARZA                  NM           75065067235
6B91853A55B271   LAL            CHAUHAN                  KY           90012875305
6B918A59761979   JOEL           CASTILLO                 CA           90011970597
6B919446572B27   YARED          GRIJALVA                 CO           90012784465
6B919764572B29   JORGE          SOTELO                   CO           90001097645
6B921117851354   MOOL           MAJOR                    OH           90013931178
6B921372381644   JAKE           MOBB                     MO           90011233723
6B921374255973   JESSICA        GOMEZ                    CA           90013353742
6B92163A855941   APRIL          JOHNSON                  CA           90010476308
6B92181527194B   MATTHEW        FILES                    CO           38011778152
6B924348391894   TARRON         HURLEY                   OK           90010433483
6B925A81A5B39B   CHRISTINA      LUCERO                   OR           90014770810
6B92861155B531   FLOR           GARCIA                   NM           90013346115
6B933355351354   MEGAN          BEASLEY                  OH           90015313553
6B93354824125B   SHAWNTALE      THURMAN                  PA           90006355482
6B934564972482   AMBER          LOEFFLER                 PA           90009915649
6B93483394B57B   BILLY          KYSER                    OK           90010028339
6B93544595594B   CINDY          JUAREZ                   CA           90013954459
6B9356A7191592   JESUS          MIRANDA                  TX           90008156071
6B93611855B39B   KEVIN          GONZALEZ                 OR           90011591185
6B93829475B531   RUTH           IBUADOEMENDOZA           NM           90011852947
6B9387A3671976   MARIE          JOHNSON                  CO           90004617036
6B938A74755941   AIDEE          HERNANDEZ                CA           90013160747
6B94458745B531   ALEX           MARTINEZ                 NM           90014885874
6B94548443B394   JUAN           JACKSON                  CO           90012324844
6B94668495416B   EDWARD         HOOKS                    OR           90010996849
6B947448A6238B   BRUCE          MESSMER                  AZ           90011824480
6B949623255973   ITZEL          GUTIERREZ                CA           90014136232
6B94BAA2657538   DORIAN         LARACANO                 NM           90013940026
6B95163A233698   ROSALYN        SHELTON                  NC           90000556302
6B951643661979   SCOTT          SAMPERIO                 CA           90013246436
6B95214455B531   MARTINEZ       RAUMOND                  NM           90008161445
6B95396A547996   MARTHA         GRANADOS-ZUNIGA          AR           25041019605
6B955624361979   RICARDO        CHAVEZ                   CA           90012116243
6B956822472B27   ALEJANDRO      BANUELOS                 CO           90002518224
6B956A35791592   ISRAEL         CARDOZA                  TX           90009810357
6B95755873168B   TRAVIS         PECK                     KS           90014245587
6B9576A828B133   MICHEAL        LEDESMA                  UT           90013356082
6B958786581644   TERRENCE       JONES                    MO           90014877865
6B961458A72B36   NAJI           ABDALKHALEQ              CO           33087394580
6B9644A8571976   ANTONIO        CASTILLO                 CO           90013944085
6B96456465B392   TAMMY          LESTER                   OR           90003235646
6B96647315594B   SANTOS         SUASTEGUI                CA           90013954731
6B96813495594B   DIANA          GONZALEZ                 CA           90008341349
6B96947685B39B   WOODWARD       CHEN                     OR           90009034768
6B96B425333698   SONYA          CROUCH                   NC           90007184253
6B96B751457538   SAUL           LOPEZ                    NM           90008567514
6B97118167B46B   JUSTIN         CASE                     NC           90011771816
6B97183A355973   VALERIE        PEDIGO                   CA           90009268303
6B971869861979   LUISA          LOZANO                   CA           90014188698
6B97267922B27B   MOHAMED        MOHAMUD                  DC           90011816792
6B973161751354   SHARIFA        BROWN                    OH           90014591617
6B97414455B39B   STEPHANIE      THINN                    OR           90011591445
6B975654833698   JASON          BROWN                    NC           90013276548
6B9764AA65B271   KAREN          CLARK                    KY           90011274006
6B976A7A55594B   PAOLA          VASQUEZ                  CA           90012800705
6B977691991894   ESTELA         RODRIGUEZ                OK           90015146919
6B97B347755973   IRAIZ          LOPEZ                    CA           90012843477
6B982481A5594B   ISRAEL         ESPINOZA                 CA           90011584810
6B983297463646   JOSHUA         WILLIAMS                 MO           90012802974
6B983588A7B46B   KALIFA         CARTER                   NC           90011335880
6B9841A6147996   ISMAEL         MARTINEZ                 AR           25001401061
6B98566165B271   SHERRI         LINCHAN                  KY           68046256616
6B986641761979   ARIANA         WOHI                     CA           90013076417
6B987877A8166B   PAUL           BARR                     MO           90010608770
6B98798448B133   EDWARD         DELBRIDGE                UT           90014109844
6B989318A55973   MARIO          AVILA                    CA           90014523180
6B98B8A1781644   SANTOS         HERNANDEZ                MO           29002178017
6B98B98448B133   EDWARD         DELBRIDGE                UT           90014109844
6B991768A71976   NISSA          CASTLE                   CO           90011947680
6B991783371976   NISSA          CASTLE                   CO           90010537833
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6B991918A72B43   MARTHA           MALFABON MENDOZA       CO           90004649180
6B99198448B133   EDWARD           DELBRIDGE              UT           90014109844
6B99212815B531   FELICIA          MONTANO                NM           36080161281
6B992399671976   IAN              ANDERSON               CO           90012743996
6B99353624B27B   CHANDRA          PIERCE                 NE           90006135362
6B994296176B21   IRMA             SOLANO                 CA           90005742961
6B99583715B271   JOANN            STOBER                 KY           68089668371
6B99654995B39B   HECTOR           ESPINOZA               OR           90013085499
6B997581461979   RICHARD          DELGADILLO             CA           90012355814
6B998127A5B375   DENISE           ZIELINSKI              OR           90008481270
6B998A42557538   PATRICIA         GONZALEZ               NM           90011540425
6B999645491592   GABRIELA         ONTIVEROS              TX           75015026454
6B99B36A691881   LINDA            MANIES                 OK           90010963606
6B99B4A133168B   JEANETTE         DRAKE                  KS           90000694013
6B9B2937891894   CHRISTINA        MIRANDA                OK           90010129378
6B9B3878991592   SARINANAS WALL   CONSTRUCTIONS          TX           90012168789
6B9B3882861964   JUAN ALEJANDRO   RIOS                   CA           90012878828
6B9B456985594B   HULBER           VILLAFANA              CA           90014805698
6B9B462515B271   KENNITH          HEATSER                KY           90013936251
6B9B5918751347   DOMINIQUE        BROOKS                 OH           90008309187
6B9B6642A5594B   MARK             ROMERO                 CA           90014766420
6B9B7358861979   ANGIE            RIOS                   CA           90014473588
6B9B9A9747B46B   MIKE             LARRY                  NC           90010010974
6B9BB23165B235   NORMAN           LAWSON                 KY           90014712316
6BB11655761979   ADELA            PATINO                 CA           46098726557
6BB1263235416B   DEBORAH          MCCOLLUM               OR           90010826323
6BB15688872B36   SHANAE           BROWN                  CO           90010706888
6BB159A655594B   JESICA           ANDRADE                CA           90014169065
6BB16257272482   TREVON           REED                   PA           90013692572
6BB16488533698   WYSHEAKA         WILLIAMS               NC           90012784885
6BB17841A97B64   ROSALYN          BROCK                  CO           39067488410
6BB1898825716B   EDWIN            ARRIAZA                VA           90008139882
6BB1976A18B334   KIMBERLY         BOSTICK                SC           90014727601
6BB1996599715B   JACK             BECKWITH               OR           90007809659
6BB1B456855941   RAFAEL           JUAREZ SANTIAGO        CA           90012744568
6BB2242755B221   TODD             SMITH                  KY           90012284275
6BB22475755973   ISRAEL           CAMPOS                 CA           48048834757
6BB23444476B58   YONGYUTH         PERMPOON               CA           90007154444
6BB26A51571976   ZITA             DOMINGUEZ              CO           90004510515
6BB27975271976   SHELEE           LOVELL                 CO           90013199752
6BB28112785671   EVER             PEREZ                  NJ           90011631127
6BB2B522585671   DELMAR           PEREZ                  NJ           90011575225
6BB33488A5B392   WESLEY           BOLDT                  OR           90012084880
6BB3462367B761   LINDA            NAREMORE               CA           90013986236
6BB34A1275B235   WESTLEY          THOMPSON               KY           90014480127
6BB354A163168B   JOSEPH           MANYAGA                KS           90014704016
6BB35537761936   SONIA            GARCIA                 CA           90011315377
6BB3572A361972   MARIA            HURTADO                CA           46036317203
6BB35899761979   ISMAEL           MERLAN                 CA           90006158997
6BB38A92661979   DONAVON          PETERSON               CA           90013950926
6BB39586972B43   JAMES            ANDERSON               CO           90013295869
6BB4183118B334   STEPHANIE        OROZCO                 SC           90009158311
6BB4348945B39B   MARIE CECILIA    HUAYAMARES             OR           90013814894
6BB43A37857538   JAMIE            LEE                    NM           90011140378
6BB44429691572   FRANCISCO        NEGRETE                TX           75087024296
6BB48273A55941   ALEJANDRO        APOLONIO               CA           90012892730
6BB48296891975   REGINA           STEWART                NC           90001452968
6BB48764351354   BRAD             BROOKS                 OH           90004967643
6BB48A29391592   JESSICA          SUASTES                TX           90012240293
6BB49A19855941   KARLA            TORRES                 CA           90012820198
6BB4B25313B39B   DESERI           ARCHULETA              CO           90011222531
6BB52A6A255941   JAMIL            MOORE                  CA           90012820602
6BB53553355975   BECKY            VANG                   CA           90004735533
6BB5549184B588   GRACIE           HERNANDEZ              OK           90012774918
6BB56918481644   LUIS             ALVARADO               MO           90013749184
6BB5737444B27B   DAVID            BARNES                 NE           90011383744
6BB57457255975   GRISEL           LOPEZ                  CA           90014944572
6BB5893A281644   DERRICKA         MCDANIEL               MO           90012999302
6BB5923165B235   NORMAN           LAWSON                 KY           90014712316
6BB5B427354128   ANTHONY          TURNER                 OR           90013984273
6BB6417545594B   JULIANA          LOPEZ                  CA           90014881754
6BB6635365B235   LISA             BLANDFORD              KY           90014223536
6BB67455355941   ERICK            COVARRUBIAS            CA           90014124553
6BB67567633698   GIDEON           ADEROUNMU              NC           90012205676
6BB68844655975   TEODORO          CONEJO                 CA           90004998446
6BB6929135594B   ALBERTO          MENDEZ                 CA           90009662913
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6BB6942285B39B   WILLIAM        MARTELL                  OR           90013834228
6BB6959985B392   MIKINYA        JACKSON                  OR           90011125998
6BB6962A781644   TRISTA         HOY                      MO           90014046207
6BB69A84857538   ISAISH         GARCIA                   NM           90011140848
6BB7177287B46B   NEKISHA        MARTIN                   NC           90011437728
6BB71A3A17B46B   DEVANTE        FOWLER                   NC           90013220301
6BB75912291975   HEATHER        DUPREE                   NC           90012939122
6BB76131257538   M              C                        NM           90012051312
6BB77186855973   JAKE           PARNELL                  CA           90010741868
6BB7739165B271   JUAN           CORTEZ-MORENO            KY           90013933916
6BB77427571976   MIA            MONTOYA                  CO           90011674275
6BB7B29A85B235   BRITTNEY       BOBO                     KY           90010962908
6BB83415872B43   JAMES          KISER                    CO           90012124158
6BB8428823B394   GEOFREY        NIEDERLITZ               CO           90009272882
6BB8486545B39B   PEDRO          DIAZ GUZMAN              OR           90013058654
6BB8493155B531   MUNEX          SOTO                     NM           90000369315
6BB856A2672B27   JASON          FIMPLE                   CO           90009726026
6BB86144961979   DOUGLAS        HILLIS                   CA           90013951449
6BB887A7361964   JAMES          HINTO                    CA           90014057073
6BB8922455B235   JAHON          LINDSAY                  KY           90014712245
6BB8965247B46B   CHINEOLE       DOZIER                   NC           90009666524
6BB8BA26872B36   PHILACIA       LADEAUX                  CO           90013550268
6BB91579891592   JESUS          VALENZUELA               TX           90013515798
6BB91A73572B43   JASINTO        COCHEZ                   CO           90011040735
6BB95681572B43   SANDRA         LORNES                   CO           90009536815
6BB96A98691592   FERNANDO       GUTIERREZ                TX           90013300986
6BB97865261936   FERNANDO       CRUZ                     CA           90009888652
6BB98164861964   CLAUDIO        MARTIN                   CA           90014751648
6BB99161371976   KAITLYN        PADERMOS                 CO           90012781613
6BBB3358751342   RYAN           BITZER                   OH           90007263587
6BBB6A68172B29   ANDRES         GONZALEZ                 CO           33057240681
6BBB7985772B43   RACHEL         ROSALES                  CO           33062109857
6BBB8661572B27   MATHEW         DANISH                   CO           90011606615
6BBB947A98B133   JUDY           KELLEY                   UT           90013944709
6BBB9532971976   CRYSTAL        VALDEZ                   CO           90008435329
6BBB9A7A761936   CHRISTOPHE     WOODRUFF                 CA           90001430707
6BBBB571487B31   STEPHANIE      ANDERSON                 AR           28038645714
7111135A955939   LETICIA        CASTRO                   CA           90014523509
71111381A81643   MINDY          MEYER                    MO           90009163810
71111A42991566   GEORGE         YOUNES                   TX           90007370429
7111244935B169   JAMES          PHILLIPS                 AR           90009874493
7111459728B134   SERGIO         HERNANDEZ                UT           90012685972
71115A52472441   CARLIE         MINEARD                  PA           90010910524
71117292A72B32   DREA           FRANKLIN                 CO           90010892920
7111B56719154B   LIZETTE        VALENZUELA               TX           75028995671
7111B842871921   TENILE         COOPER                   CO           90010888428
7112367565B59B   BRYAN          NIETO                    NM           90014566756
71124447972B29   JORGE          ROJAS                    CO           33097874479
7112492685B169   HEATHER        BURGER                   AR           23037689268
7112747532B994   CHRIS          PUGH                     CA           90011304753
7113149765B596   CHRISTOPHE     PEREZ                    NM           35048964976
7113275A485937   RAMOS          RODRIGUEZ                KY           90013887504
71133326A72479   LAMONT         CLARK                    PA           90014623260
711343A7541237   BOB            MILLER                   PA           90006703075
711344A9981633   CAROLYN        JONES                    MO           90014054099
711348A8571921   TINA           DEBSON                   CO           32020598085
7113785185B169   VERONICA       BRAVO                    AR           90014378518
71138A3518B134   BRYAN          ROHLFING                 UT           90012660351
71139345772B44   BRITTANY       CHAVEZ                   CO           90011473457
71139757772B98   FRANCISCO      MARIN                    CO           90014187577
7113B821A55966   ALMA           GARCIA                   CA           90011278210
7114377AA8B157   KYLE           NIELSEN                  UT           90012947700
71143A11272B29   CLAYTON        RAUCH                    CO           90012860112
7114492648B157   TELEISE        PALMER                   UT           31098979264
71144A7195B169   MELINDA        HOULE                    AR           90012200719
71145167327B98   STEPHANIE      MONCURE                  KY           90014971673
71145A9A672B32   LEZLY          HERNANDEZ                CO           90010790906
711472A1172B29   ALEJANDRA      ALCANTARA                CO           33030312011
711483A127B661   TASHA          FITZPATRICK              GA           90014883012
7114B265A5B384   KIMBERLY       WINDOM                   OR           90010522650
7114B276771921   PAYGO          IVR ACTIVATION           CO           90010682767
7115119755B169   EMILY          EDWARDS                  AR           90013301975
7115465A45B59B   ELISA          DAVIS                    NM           90010516504
7115539978B163   CRISTIAN       SANTOS                   UT           90013023997
7115915875B169   ALYSSA         THOMAS                   AR           90013291587
7115921AA72B32   CHERRI         ROGINA                   CO           90011482100
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7115B956755966   ANGELICA       YANEZ                    CA           90010079567
71162762872B98   ANTONIO        VAZQUEZ                  CO           90014187628
71162A3438B168   ALEXANDRA      GOMEZ                    UT           90014270343
7116355854B976   ANGEL          MILLER                   TX           90006935585
7116554268B157   GLORIA         SAPUTO                   UT           90014155426
71165765472B98   FABIAN         LOPEZ                    CO           90014187654
71166257A85937   NUBIA          MARTINEZ                 KY           67087442570
7116683A972441   LENA A         KESTER                   PA           90013958309
71167A18584322   STARSHEIKA     SCOTT                    SC           90014950185
71169A85997B39   DEBORAH        KORDELISKI               CO           90007780859
71171747A31482   MAREKA         HUNT                     MO           90006607470
71172766972B98   CLAUDIA        ZAPIEN                   CO           90014187669
71176767772B98   CARLOS         BONAVIDES                CO           90014187677
7117B6AA131433   REGINA         JOHNSON                  MO           90013656001
7118115688B168   CAROL          PUERTO                   UT           90013481568
71181641A5B59B   JOSIAH         EVANS                    NM           90011416410
71185269972B32   JANINA         MAEALIUAKI               CO           90009482699
71188272A8B163   CAMILLA        SOIFUA                   UT           90013832720
7118897A172B44   ANARELE        BASURTO                  CO           90010679701
7118B33A531433   JAMES          PICKENS                  MO           90013943305
71194139372B44   ADAM           LUJAN                    CO           90007511393
7119481A455969   JOSE           ROMERO                   CA           90013338104
71194878372B32   PARBATI        SANYASI                  CO           90014278783
711953A7461935   RAFEL          HERNADEZ                 CA           90010583074
711955A277B661   JACKQUELINE    WIMBERLY                 GA           90011945027
71195776A72B98   PEDRO          PALO                     CO           90014187760
71199A38241227   DENNIS         KENNEDY                  PA           90011790382
7119B572271921   GARY           DAVIS                    CO           90014685722
711B1361455939   RAMIRO         MADRIL                   CA           90014083614
711B368767B661   AMANDA         MASCORRO                 GA           90013586876
711B3836771921   FRANCISCO      ROMERO                   CO           90000498367
711B395A28B157   MICHAEL        TISDALE                  UT           90010859502
711B4AAAA5B59B   BRIANDA        VARGAS                   NM           35012010000
711B563665B332   MARJIE         LOCKWOOD                 OR           90006636366
711B5818231433   LASHONDA       SANFORD                  MO           90011148182
711B6775555939   ABIMAEL        GOMEZ                    CA           90012157755
71212223A33699   INA            HARPER                   NC           12042732230
7121285579154B   JANETT         ESPINOZA                 TX           90012358557
71213962A55966   STEPHEN        ORTEZ                    CA           90011279620
7121929757B661   KIERA          ALEXANDER                GA           90013802975
71227784A72B98   ARTURO         GARCIA                   CO           90014187840
71231739A72B44   LUCIA          DE LUNA                  CO           90015177390
71231785372B98   ANGEL          FERNANDEZ                CO           90014187853
7123225143168B   JASON          VANLEUVEN                KS           90010992514
7123245197B661   LUCIANA        VELASQUEZ                GA           90012344519
71237AAA855939   JOVANY         RODRIGUEZ                CA           90012800008
7123829798B142   TAMARA         MORRISON                 UT           90014712979
7123B7A595B59B   ABRIL          CAMPOS                   NM           90010517059
7124273A771921   YESSENIA       MONTOYA                  CO           90009947307
7124284588B168   JEREMY         SORENSEN                 UT           90013378458
71242975172B32   JASON          JOHNSON                  CO           90010759751
71243A5258B163   HOLLY          DRURY                    UT           90011430525
7124626357B661   HENRY          DENNIS                   GA           90015132635
71251986A72B29   ULICES         CRUZ                     CO           90012389860
7125247398B157   RONALD         PATTERSON                UT           90010634739
7125B5A729154B   MARIA          CAZARIN                  TX           90010955072
7126434325B596   ANTOINETTE     MORPHEW                  NM           90006703432
7126599842B271   BUNRA          THONG                    VA           81014849984
71266A28172B29   DENISE         WARREN                   CO           90010280281
7126754517B661   JUAN           GOMEZ GOMEZ              GA           90014435451
7126881A955969   ANTONIO        CARDENAS-CHAVEZ          CA           90012628109
7126B67415B169   TAMRA          BLOCK                    AR           90014066741
7126B82A39154B   JAIME          GONZALEZ                 TX           90014178203
71275A83A5B169   DAVID          WIGGINS                  AR           90013430830
7127694A133698   JOSE LUIS      MARTINEZ                 NC           90013539401
71276965672B29   NAUSHLA        AYERS                    CO           90012749656
71279233A9154B   CLAUDIA        ROSALES                  TX           90006062330
7127B24394B241   JODI           LIEBERS                  NE           90011012439
7127B46389154B   ALBERTO        HINOJOSOS                TX           90012484638
7127B4A4547821   ARIEL          FINNEY                   GA           90012654045
7127B511A55939   JOSE LUIS      PENA                     CA           90013845110
7128375A572441   REBECCA        CANNON                   PA           90013687505
7128391933168B   BEVA           KERSTINE                 KS           22091019193
7128394763168B   CAMILLA        JOHNSON                  KS           90014279476
71284823472B98   JACKIE         SOSA                     CO           90014188234
712853A7155966   ANDY           GUTIERREZ                CA           48004943071
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712858A7941253   BRITTANY       VEHEC                    PA           90015158079
71285A98972B29   STEVEN         BRADLEY                  CO           90006660989
71287A61A9154B   SHEIDY         CASAS                    TX           90013280610
7128957583B137   KARLA          MARTINEZ                 DC           90011145758
7128B815772B98   SABRINA        SANSON                   CO           90014188157
71291185227B98   CAROLYN        WATKINS                  KY           90010991852
712932A2831482   CATRICE        BROWN                    MO           27561852028
7129611545B169   KAYLA          JOHNSON                  AR           90011391154
712962A7776B87   WENDY          ARRIAGA                  CA           90006752077
71296574A3B137   EYVONNE        THREADGILL               DC           90008035740
7129769A572B98   RUDOLPH        MEDINA                   CO           90014566905
71298112672B44   ANTOINETTE     MARQUEZ                  CO           90012081126
71298134872B98   CLAUDETTE      ESPINOSA                 CO           90011801348
7129B111471921   ANTHONY        VELAZ                    CO           90012411114
712B1A83141253   SANDRA         TURNEY                   PA           51027600831
712B235332B994   JESSE          SOLIZ                    CA           90010903533
712B341A15B59B   TARA           CERVANTES                NM           90007904101
712B5245972441   MICHELLE       HOPE                     PA           90013162459
712B5745231443   JOSHUA         BAILEY                   MO           90014907452
712B5867A55966   CESAR          HERNANDEZ                CA           90012148670
712B6735872B29   DIANE          GORDON                   CO           33047707358
712B7724931443   CASSANDRA      LOGAN                    MO           90013747249
712B7A9A461993   MARK           MARTIN                   CA           90012540904
712B8139631443   ASHLEY         HOGAN                    MO           90012041396
712B8779972B98   RAY            REYNOSO                  CO           90014187799
712B9572A27B98   MARTICIA       MARSHALL                 KY           90015155720
712BB6A4A8B163   ANDREW         GATTEN                   UT           90014716040
71313346A55939   RUBY           VILLEGAS                 CA           90014823460
71313833772B98   MARINA         MARTINEZ                 CO           90014188337
713139A725B596   PETE           JARAMILLO                NM           90007909072
713172A8672B29   MANUELA        VILLALVA                 CO           90013082086
7131788A57B477   OSSADO         ANOSE                    NC           90014028805
71317A32755969   ROSEMARY       JUAREZ                   CA           90013470327
71318156872B98   JAYLISA        CATERS                   CO           90011801568
71318721A8B157   HENNESSY       SAM JOE                  UT           90010577210
7131B823533699   NOEL           ECHEVERIA                NC           90009878235
7131B836657157   JEROME         CUMMINGS                 VA           90014338366
7132238A18B134   JESSE          JESSOP                   UT           90006993801
7132269495B169   SCOTT          HUNTER                   AR           90013926949
71324A94172B32   JENNIFER       KELLEY                   CO           33093100941
7132544338B157   ARISMENDI      GIA                      UT           90004224433
71325A52455941   YURITZIA       VAZQUEZ                  CA           90010520524
7132938A272B98   SCHEREL        PROSKI                   CO           33018683802
7132B36928B163   JOANN          MAYHEW                   UT           90013033692
71333715A8B168   BRIAN          RATLIFF                  UT           31087537150
7133596829154B   MARINA         MORENO                   TX           90012839682
71336852A3B343   GARY           ROBINSON                 CO           33022908520
7133995418B168   JESSICA        TRIPP                    UT           90013379541
7133B12A672B32   JESSICA        KUPPENBENDER             CO           90004071206
7134283835B59B   ULRICK         FLEMIG                   NM           90008298383
7134359555B169   DIEGO          LUIS                     AR           90014175955
71343953A8B168   MELISSA        ROBINS                   UT           90006119530
71344328672B44   ANGELA         LOMBARDI                 CO           90002763286
71345357A72B29   VICTOR         RAEL III                 CO           33098023570
71347649A72B29   LETICIA        OLMOS                    CO           90013996490
7134981A431443   DEMESHA        MOSLEY                   MO           27598168104
713532A2A71921   DEBORAH        HARRIS                   CO           32085642020
71353683A2B994   ROMAINE        GHOSTON                  CA           90013456830
713549A678B134   TABBATHA       DUVAL                    UT           90010939067
71354A14272B44   JOSE           BALDERAS                 CO           90011590142
71355A6368593B   DEBBIE         BURKE                    KY           66098640636
71358479A5B59B   STEVEN         MARQUEZ                  NM           90008204790
71358A5155B169   ALLANTE        CARTER                   AR           90010910515
7135B419141237   MONICA         SHAH                     PA           90014144191
71365A96331482   KANEISHA       MOORE                    MO           90010610963
7136723115B169   RIKKI          HERNANDEZ                AR           90011662311
71367873672B32   JOSE           PEREZ                    CO           90013038736
713695A5841253   MARISSA        MASON                    PA           90007095058
7136B34878B168   KEITH          MITCHEALL                UT           90014043487
7136B796A8593B   KYLE           RHEIN                    KY           90012787960
7136BA4A48B157   PAOLA          RICO                     UT           90012150404
71371A25A27B98   NEAVLEAN       OLIVER                   KY           90013080250
71375A3149154B   OSCAR          LOPEZ                    TX           90008340314
7137687853B137   MARTIN         BRADLEY                  VA           90012848785
7137B636257157   ATHANIOS       SEVDALIS                 VA           90013176362
7137B66778B142   JENNIFER       COX                      UT           90006936677
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7137B9A1455966   DESEREE          HENDON                 CA           90010609014
7138142A88B142   CARILEE          MORRILL                UT           90013814208
71381928A55969   LAYLA            MCLEDO                 CA           90009919280
7138354375B169   RANDY            PIERCE                 AR           90015325437
7138483728B142   RAYELYNN         BALLANCE               UT           90012848372
7138524827B661   MASHONDRA        MITCHELL               GA           90013042482
71385A98A41237   CRYSTAL          SWARMER                PA           90000150980
7138B4A7955969   JESSICA          FERNANDEZ              CA           90012854079
7138B796541237   CYSTAL           BEY                    PA           90015087965
7138BAA658B134   KATHERINE        HEINER                 UT           90014400065
7139122298B168   PETER            BAWYDCHAK              UT           90011532229
71392231A71921   DOROTHY          MURPHY                 CO           90013742310
71397717272B98   CHRISTIAN        CRUZ                   CO           33025057172
713B121AA72479   MARK             ALLISON                PA           90012152100
713B1312781633   EDWARD           HARRIS                 MO           90012453127
713B1825772B98   SANTIAGO         AVILA                  CO           90014188257
713B2826472B98   LUIS             CANALES                CO           90014188264
713B2A48257127   AMADIN           BARRIOS                VA           90003780482
713B3452731443   ISAIAH           SMITH                  MO           90012494527
713B34A9731433   ANGIE            DURHAN                 MO           90006364097
713B5178972B98   MARIA            VENCES                 CO           90011801789
713B5775391993   PEDRO            GONZALES               NC           17086827753
713B6774872B98   CHAD             WEINAND                CO           90011797748
713B7763372B44   SELINA           SANCHEZ                CO           90000677633
713B7828472B98   DERRICK          GUZMAN                 CO           90014188284
713B7A18941227   CAROLYN          WILLIAMS               PA           90001960189
713B8191A8B134   RUFUS            MARTINEZ               UT           90015091910
713B824557B661   RUDI             MORALES                GA           90002172455
713B8774872B98   CHAD             WEINAND                CO           90011797748
713B8A55372B98   LUIS             ENRIQUE GARCIA         CO           33098440553
713B966877B661   JAMES            TAYLOR                 GA           90008536687
713B9829672B98   IVAN             RIOS                   CO           90014188296
7141181658B142   BIANCA           MARTINEZ               UT           90013858165
7141741A733699   LEVITICUS        FORDHAM                NC           12010114107
71418174372B44   ROMAN            IRIGOYEN               CO           90013861743
7141977A972B44   ANGELICA         ARRIZON                CO           90013367709
7142131425593B   ROGER            WATSON                 CA           90011613142
714214AA48B142   JONATHAN         PEREZ                  UT           90012114004
714225A893168B   TERRY            EVANS                  KS           22008355089
7142285357B661   YOLANDA          WILLIAMS               GA           15095918535
714291A2841237   CARLA            CRAWFORD               PA           90014701028
7143129489154B   ANDREW           FULLER                 TX           90005302948
714319A678B134   TABBATHA         DUVAL                  UT           90010939067
71433A8622B994   ROSALIO          MAGANA                 CA           90013400862
7143595A68B134   VICTORIA         SANZ                   UT           90013789506
7143772885B169   TOMEKA           FRYE                   AR           90013977288
7143981455B59B   EILEEN           HUBER                  NM           90007238145
7143B399272B32   DEBRA            FROMAN                 CO           90013823992
71443289472B98   JOHN             CERECERES              CO           90011802894
7144763159154B   GUZMAN           LUIS                   TX           90010056315
7144B773672B44   TANYA            GUTIERREZ              CO           90013367736
7145219853168B   AMANDA           GORDON                 KS           90002561985
7145342889154B   MONICA           ROSALES                TX           90010834288
714573A7572B98   LYNN             DOMINGUEZ              CO           90011803075
7145886358B168   ALEXI            COLLINGS               UT           90007788635
714592A3857157   JENNIFER         VICKERS                VA           90005562038
7145946225B596   ROMERO           ASHLEY                 NM           90009564622
7146137648B134   ALAINA           WESTLING               UT           90012873764
7146263818B163   NORMA            PATINO                 UT           31090116381
7146811AA9154B   CYNTHIA YADIRA   SILVA                  TX           90008361100
7146872675B169   ALICIA           LEE                    AR           90014877267
7146B59818B168   MARVIN           POULSON                UT           90014155981
7146B886272B98   STEVEN           GARCIA                 CO           90007248862
71471985772B44   AARIYA           VALDEZ                 CO           90005379857
7147298437B661   CANDANCE         WILLIAMS               GA           90012379843
7147311468B134   GLORIA           MARTINEZ               UT           90015151146
714743A7572B98   LYNN             DOMINGUEZ              CO           90011803075
71474A32741253   PABLO            HERNANDEZ              PA           90010160327
71476486172B29   GUADALUPE        BARRIENTOS             CO           90012714861
71477838A55966   MICHELLE         SYLVESTER              CA           90014038380
7147865A333698   LATANGELA        WILSON                 NC           90008336503
7147867A781633   JENNIFER         SALINAS                KS           90009446707
7147B95A19154B   FRANK            AGUIRRE                TX           75042899501
71481311A31433   CASSANDRA        SCOTT                  MO           90010363110
71482481472B29   NATHEN           WILSON                 CO           33056764814
7148647945B277   OLATUNJI         OLUWAJUYEMI            KY           68007154794
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7148894A681633   COURTNEY        COLBERT                  MO           90007079406
7148B9A712B994   TOMI            GROSSMAN                 CA           90013299071
7148BA44955969   DESIREE         RIVAS                    CA           90012120449
71492895A27B98   CRYSTAL         MC DONALD                KY           90014528950
714928A1755969   NATASHA         WILLIAMS                 CA           90011098017
7149449A67B661   GERALD          BENSON                   GA           90001804906
71495A1A855969   NATHAN          TUPPER                   CA           90014150108
7149673A155966   JERONIMO        DIAZ                     CA           90006967301
7149972488B385   PRISCILLA       BACKMON                  SC           90015067248
714B251888B163   EDELMIRA        RIVERA                   UT           90013035188
714B3948881633   LAYMON          WILLIAMS                 MO           90012649488
714B8211472B29   MARCO           MELENDEZ                 CO           90000142114
714B9242293739   PATRICK         GWIN                     OH           90004902422
714B9461633699   JASMINE         HENSEN                   NC           90014594616
714BB155472B32   LENCH           CORDOVA                  CO           33015711554
714BB699872B25   KEN             NAVARRO                  CO           90007736998
7151131828B134   ANTHONY         ERNST                    UT           90012273182
7151156275B53B   ALEXANDRA       AVILA                    NM           90013785627
715124A2255939   RAFAEL          LEON                     CA           90014814022
71514A95855966   JOSE            ESPINOZA                 CA           90013970958
7151B123472B98   LISA            AVALOS                   CO           90011481234
7151B268541227   JAMIE           BURKHART                 PA           90003072685
71521829372B32   RAWSO           DONNA                    CO           33027798293
7152282A35B384   THOMAS          BROCKUS JR               OR           90010538203
71523396227B98   NICKY           MINAJ                    KY           90005993962
7152386A955939   RYAN            GAULT                    CA           90000158609
71524A23281633   KENNETH         MABRIE                   MO           90012380232
7152586775B59B   MATEO           VIGIL                    NM           90010518677
7152761853168B   AMBER           GLASSCOCK-BRUTTON        KS           90015166185
7152B851572B44   EDITH           BORREGO                  CO           33018568515
71531221927B98   WHITNEY         HARPER                   KY           90014682219
71531A1AA57364   ROBERT          ATKINS                   MO           90014130100
71533A5727322B   JAVIER          KIROS                    NJ           90015320572
7153835A755966   OLIVEIRA        BRAZIL                   CA           90013393507
7153B51915B169   PATRICIA        DUNCAN                   AR           90014755191
71542756972B32   JORGE           RODRIGUEZ                CO           90011057569
7154276A655966   ERNESTO         CORDOVA                  CA           90013307606
715427A5172B44   LAILONI         SELL                     CO           90013057051
7154478A255966   OLIVIA          MOLINA                   CA           90013297802
7154582A35B384   THOMAS          BROCKUS JR               OR           90010538203
71546A1395B59B   BERENICE        FUENTES                  NM           90013930139
7154846567B661   MILES           THEX                     GA           90013144656
71549A42184322   PEDRO           MENDOZA                  SC           14572710421
7155319129154B   IVAN            CASTILLO                 TX           90013611912
71554661572B98   LATRICIA        HERMAN                   CO           90000616615
71555739A55966   RONALD          BURTON                   CA           90013367390
7155659242B271   TRAVIS          LILES                    DC           81073885924
71557A24433698   DEASIA          WORKMAN                  NC           90014130244
71559435A55966   MARIA           OLIVERA                  CA           90013234350
71559A99841237   CURT            BONDE                    PA           90013230998
7155B37A355966   JOSE            ACEVEDO                  CA           48025613703
7156573A59194B   SHANNON         LAW                      NC           90012787305
7156B134A55966   JASMINE         CUEVA                    CA           90013971340
7156B49A25B384   CHELSIE         NEFFENDORF               OR           90010704902
7156B967A51323   MIKE            POYNTER                  OH           90012799670
715716A339154B   SONIA           VELASCO                  TX           90010166033
7157286375B59B   JAMES           CERTAIN                  NM           90009788637
71574A67A27B98   DOMINION        GIVENTER                 KY           90012380670
71576886572B98   SHERRI          FISCHER                  CO           90005458865
7157BA63755966   ROBERTO         LOPEZ                    CA           90013370637
71581188572B44   JESUS           ARREDONDO                CO           90013751885
71581A2485B384   JACOB           WACHTEL                  OR           90010540248
7158344842B994   CYNTHIA         MARTINEZ                 CA           90010844484
7158658A772479   AARON           GRANATO                  PA           90012555807
715889A747B398   ANA             ERAZO                    VA           81015189074
715891A948B168   ZAKKARY         REYNOLDS                 UT           90001721094
7158B54A28B163   JAKOTA          CURTIS                   UT           90014705402
71593A81581643   CLAUDIA         FUIMAONO                 MO           90005800815
71595718672B44   SUSANA          FIERRO                   CO           90012047186
71595A7A58B134   EBONY           PEARSON                  UT           90011320705
71598229972B44   STEPHANIE       JIMENEZ                  CO           90013122299
71598594A33699   TECARRA         BYRD                     NC           90014575940
71598597A71921   GUMERCINDO      MENDEZ                   CO           90009165970
7159B36893168B   DORIAN          BUCHANAN                 KS           90014703689
715B2328571921   WILLIAM         PRYGON                   CO           90012143285
715B2347693767   RICHARD         SMITH                    OH           90001203476
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715B2972255966   BRADLEY               DAVISON            CA           90013289722
715B3338872B98   OMAR                  GONZALEZ           CO           90011803388
715B3659172B98   OMAR                  GONZALEZ           CO           90013166591
715B6561533699   TRACY                 BEARMON            NC           90014475615
715B832415B384   SARAH                 COX                OR           90010713241
715B976965B384   ANDRES                RISCAJCHE          OR           90010537696
7161149A972421   CHARLES               BROWN              PA           51057184909
7161236518B142   BRIDGET               WALKER             UT           31005533651
7161288578B134   MARVIN                SONIAT             UT           90012568857
71613843572B44   FRANKIE               MCCLAIN            CO           90012108435
7161938589154B   MARIA                 HERRERA            TX           90004963858
7161B29945B169   KEVIN                 SELDERS            AR           23035742994
71623196527B98   MARIA                 CHONG              KY           90011221965
7162728A427B98   STEPHANIE             REYES              KY           90011222804
716294A4A33699   KIMBERLY              BRADY              NC           90010174040
7162954748B168   JEREMY                JENKINS            UT           31094915474
71629564472B44   MELISSA               HELLER             CO           33083135644
7162B827555969   ALMA                  MENDOZA            CA           90011358275
7162BA5483B343   MELISSA               SAUL               CO           90013660548
71632A56672441   CHARLES               PRATT              PA           90013390566
7163453188B157   BRIANNA               GALLEGOS           UT           90012935318
7163486258B157   ANGEL                 MARTINEZ           UT           90011368625
7163BA1A855969   NATHAN                TUPPER             CA           90014150108
7164422A381633   NATHAN                SCHNELLE           MO           90012562203
7164691328B163   AL                    AL-BAYATI          UT           90014729132
7164769685B169   THOMAS E              DRINKWINE          AR           90012726968
7164B469584322   ERICCA                JENKINS            GA           90011254695
71658A97372B44   DAVID                 CASTORENA          CO           90012280973
7165984A38B163   SHEILA                CARTER             UT           90013078403
71659867272B29   MARIELA               MURILLO            CO           90005318672
7165B28613168B   CLARRISSA             BRISTOW            KS           22040642861
7166269993B137   ALI                   MENDEZO            VA           90012886999
7166345A65B24B   SUZETTE               TALBAT             KY           90002444506
7166384A38B163   SHEILA                CARTER             UT           90013078403
7166398A955969   ANTONIO               RAMOS              CA           90011179809
71666551872B98   MARIBEL               GAMBOA             CO           90012415518
71672597A81633   ARRON                 MURRY              MO           29029975970
71675875A31433   BRIAN                 BLISS              MO           90011148750
71677613672B29   MELISSA               GORMAN             CO           90003096136
71681989372B32   WAYNE                 SPOEHR             CO           90011129893
7168287A25B59B   ROCHELLE              RAMIREZ            NM           90007428702
716852A4631443   JANIE                 SANDERS            MO           90012122046
7168568498593B   BESSEA                HUGHES             KY           90014756849
7168622879154B   CRISTIAN              ESCOBEDO           TX           90014972287
71686317172B44   DANA                  GARCIA             CO           90013603171
7168888249154B   MICHELLE              CORTEZ             TX           90011378824
7168B56588593B   CAROLYN               STROUD             KY           90012225658
7169116335B169   KENNETH               DICKERSON          AR           23017291633
71692194A41237   CHANDRA               PRASAI             PA           90011851940
716947A813168B   TRISH                 POLK               KS           90010307081
71695261A7B661   TRAVIS                COLE               AL           90011312610
716962A9255966   ROSA                  VASQUEZ            CA           48017022092
7169833665B59B   MONTOYA               RAY                NM           90010903366
7169994157B661   KYMBERLIANN           HIGHTOWER          GA           90015089415
7169B789572B32   DEMETRIUS NATHANIEL   ADAMS              CO           90012927895
716B222A772441   ARAIYAH               BURRELL            PA           90013732207
716B59A3131443   REESE                 BOYD               MO           90010799031
716B629997B661   CARLANDER             SHUMPERT           GA           90013222999
716B775425B384   KARIN                 COOKE              OR           90003007542
716B851555133B   TINA                  AUSTIN             OH           90009635155
716B8A64A57157   GARY                  AVERY              VA           90011150640
716B964A772B44   GABRIEL               CARRASCU-RUIZ      CO           90011476407
716B9831A9154B   JESSICA               BARAJAS            TX           90013148310
716BBA47693739   KRYSTAL               PORTER             OH           90004680476
71711329872B44   MIGUEL                MORAN              CO           90015183298
7171369665B384   KRYSTAL               HAYNES             OR           90010706966
71713927872B32   LILIAN                MENJIVAR           CO           90012169278
7171B114631443   VANESSA               ROSALES            MO           90012531146
7172399552B994   ANDREA                BLAIR              CA           90013069955
7172546A672441   CASIE                 WOODS              PA           90002584606
7172548358B142   GALLEY                DARIN              UT           90003984835
71727A4A27B661   RACHEL                THOMAS             GA           90004400402
7172873A981643   OSCAR                 GONZALEZ           MO           29087167309
7172924A172B44   RICHARD               BAEZ               CO           90011592401
717294AA355969   MARY                  LEBUS              CA           48075084003
7172B831A2B575   DEANDRE               SMOOT              AL           90013778310
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7173322A681633   NICOLE          WEST                     MO           90015242206
71733787772B44   ENRIQUE         OLIVAS                   CO           90013367877
71734A52472441   CARLIE          MINEARD                  PA           90010910524
71739688A72B44   MICHAEL         RENELLI                  CO           90001386880
71742737A72B44   CARLA           VENIEGAS                 CO           90013167370
7174279A555966   GREGORIO        OLIVERA                  CA           90011577905
71743A59271921   LUCY            DOMINGEZ                 CO           90012380592
71744265A7B477   KEIARMDRE       NEAL                     NC           90000382650
71747864327B98   LATRICE         JOHNSON                  KY           90014548643
7174945A255939   MANUEL          VALDEZ                   CA           90014814502
7174B85468593B   KAYLA           GRINDSTAFF               KY           90014548546
7175177A255939   DANIEL          ESQUIVEL                 CA           90013017702
71751A1198593B   WESTON          APPLEGATE                KY           90010660119
717521A9431433   CHARLESETTA     ATKINS                   MO           90013951094
717524AA48B142   JONATHAN        PEREZ                    UT           90012114004
71754368A72B23   JOSUE           SILVA FLORES             CO           90009713680
71757A68272479   STEPHEN         GEOLLIHUE                PA           90006260682
717581A777B661   TRACEY          MORRIS                   GA           90012861077
717591A9431433   CHARLESETTA     ATKINS                   MO           90013951094
7175937487B661   JOANN           JETTON                   GA           90014883748
7175974959154B   JUAN            GARZA                    TX           90014427495
7176157558B134   WENDY           SHIELDS                  UT           90014455755
71763A7788593B   SCOTT           MCDAVID                  KY           90012580778
7176638277B661   VICTOR          SANTIAGO                 GA           90009103827
71767AA829376B   BRANDON         BOHANNON                 OH           90007930082
71768A32772441   PABLO           HERNANDEZ                PA           90010160327
71769261A72B44   JESSIE          BENOIT                   CO           90011592610
7176949A25B384   FLOYD           MCCLAIN                  OR           90010544902
7177341918B134   KARLA           FRIAS                    UT           90011404191
71773449672B98   JOSE            LUZ                      CO           90015134496
717734AA77B661   JERMAINE        FRAZIER                  GA           90013324007
7177476995B169   MATTHEW         ZIMMERMAN                AR           90014917699
7177521A631433   CAMARA          BESCHEMIN                MO           90015412106
71776871372B32   RAMON           DE LOS MONTEROS          CO           90002708713
717785A1457157   JEOVANNY        GARICA                   VA           90006035014
7177B756641253   TYRONE          MORGON                   PA           90010967566
7177BA91472B29   ARICA           TAYLOR                   CO           33000510914
7178151695B384   JOANNAH         KINDRED                  OR           90010545169
71782486572B29   IRIZ            SAUCEDO                  CO           90010224865
7178274569154B   MARIA           VILLABOS                 TX           75087337456
71782891872B32   GUSTAVO         ZARATE                   CO           90012788918
71783961A3168B   DAKOTA          DEGRAFFENREID            KS           90011009610
7178699385B59B   ORLANDO         ROYAL                    NM           35012699938
71788942127B98   MARVA           PATTON                   KY           90011609421
7178974A172441   SHAUN           LAVETTE                  PA           90011307401
7179119988593B   WALTER          LARISON                  KY           66052031998
7179189645B169   JOHNNY          METZGER                  AR           90010998964
71795387A84322   VANESSA         BURNELL                  SC           90011403870
7179765629154B   NANCY           CORONA                   TX           90012066562
717B2626831443   VINCENT         GOODE                    MO           90001496268
717B2758455939   ESMERALDA       CASTILLO                 CA           90010497584
717B2A24131634   VINCENT         BENNETT                  KS           90008110241
717B684549154B   JORGE           BARRIOS                  TX           75000758454
717B69AA141253   TERRY           CROFT                    PA           90015129001
717B7149A3168B   WILLIS          LUIS                     KS           90013571490
717B7423131443   MARYANNE        BECNEL                   MO           90011204231
717B7875A31433   BRIAN           BLISS                    MO           90011148750
717B8A55355969   NANGKA          SEECHAN                  CA           90012500553
717B944778B336   MARTIN D        CHEVALIER JR             SC           90007434477
7181438AA31433   DEJA            MYERS                    MO           90011903800
7181463237B477   DASHAIREE       PATTERSON                NC           90012786323
71815A67472441   DEBORAH         WRIGHT                   PA           90007600674
7181682A241237   PAMELA          LEE                      PA           90000368202
7181733932B994   CELEST          CASTANEDA                CA           90013433393
7181911A17B661   DEXTER          RENDER                   GA           90002711101
718198AA781255   TREVIA          SPALDING                 KY           90011938007
718231A8272B98   DEREK           LEONARD                  CO           90005881082
71823A49157157   EVER            RODRIQUEZ                VA           81057530491
7182485225B375   DAHN            ANDERSON                 OR           90003978522
718318A687B661   JUSTIN          BATTLES                  GA           90013908068
71832478A71921   MARIA           RAMOS                    CO           90014814780
718363A8531443   ALLEN           WILLIS                   MO           90010653085
71836A63755939   PAUL RAUL       GARCIA                   CA           90013420637
71838A3A69154B   ALEJANDRA       VILLALOBOS               TX           90014040306
7183989645B169   JOHNNY          METZGER                  AR           90010998964
7183B455955939   CESAR           LOPEZ                    CA           90013054559
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7183B57A57B477   EDWIN              RODRIGUEZ             NC           90000875705
7183B73475B169   LISA               LUCAS                 AR           90014147347
7183B93755B169   LISA               LUCAS                 AR           90003039375
71841339676B91   LUIS               RODRIGUEZ             CA           90010583396
7184165A441237   CHELSEY            PHILLIPS              PA           90002316504
71842135172B44   ORLANDO            MARQUEZ               CO           33076641351
71842298927B98   SIERRA             BREADFORD             KY           90007462989
718434A8955939   SANTIAGO           MARTINEZ              CA           90004184089
7184966945B596   ESTEFANY           GONZALEZ              NM           90003206694
7185182988B163   ELVIRA             QUINTO                UT           90012348298
7185431A655939   JOSE               GARCIA                CA           90010283106
71854366A33699   LAUCIANA           MINOR                 NC           90014623660
7185632455B24B   SHEREESE           PETERS                KY           90013583245
71856A4179154B   MARQUEZ-GALLEGOS   SAROB                 TX           90010800417
71863542A8B163   ARIC               RUSSOM                UT           90014475420
71868726572B32   DAVID              JAMES                 CO           33090887265
7186911948593B   JILLIAN            MARCUM                KY           66001951194
7186B31823168B   WILLLIAM           GIBBS                 KS           22005353182
7187169752B994   FEDERICO           FERNANDEZ             CA           90013696975
718731A9171921   DAVID              LEWIS                 CO           90011981091
7187774227B661   KENYELL            THOMAS                GA           90014707422
71879254A84322   JASON              BASNETT               GA           90004902540
71879277227B98   ANDREA             BELL                  KY           90014162772
7187945112B994   RYAN               VILLANUEVA            CA           90014814511
7187B196433699   ANGELA             MAYES                 NC           90011351964
71881111327B98   MARIE              BRISON                KY           90015141113
71883542872B29   OCTAVIO            MOLINA                CO           90009385428
71883855772B98   ELENA              VIGIL                 CO           90001258557
71884316727B98   MICHAEL            HOLLIDAY              KY           90011713167
71891984A91897   STEVEN             ZINK                  OK           90009359840
71892187872B98   EDWIN              HERRERA               CO           33022461878
718922A768593B   BARB               CREECH                KY           90012252076
718935A495B169   GABBY              SALSBURY              AR           90013005049
7189372568B185   WADE               GOODRUM               UT           90011057256
71895192A8B855   LINTER             HEBEO                 HI           90013841920
71895A51755966   RICHARD            MAGALLANES            CA           90013040517
71897769A72B87   TREVOR             WAGNER                CO           90012797690
71898989672B32   JOAQUIN            PEDREGON              CO           90011359896
7189B49A993739   ALYSSA             WILLIAMS              OH           90010234909
718B1697593739   EDWARD             GARRETT               OH           90010176975
718B19A5341253   MICHAEL            ANISZEWSKI            PA           90012039053
718B2216255939   JOSE               GALLARDO              CA           90010692162
718B2387A84322   VANESSA            BURNELL               SC           90011403870
718B3945131433   JESSICA            MCCANDLESS            MO           90009669451
718B4458972B32   JESSIE             DELA CRUZ             CO           90008164589
718B6674831672   ALEEN              HORTON                KS           90011656748
718B719118B163   B                  JOHNSON               UT           90014771911
718B7644A72B32   DAVID              LUCERO                CO           90013756440
718B8225672B29   JEFFREY            ROTH                  CO           90015172256
718B8738155939   ISMAEL             NAVARRO               CA           90012967381
718B9165841227   JERY               COOK                  PA           90002501658
718B969377B477   WAKEISHA           SHINE                 NC           90013146937
718BB22355B169   MARY               KLECZKA               AR           90010152235
718BB853131433   CHRISTINA          CARTER                MO           27517238531
719133A569154B   ELIAZAR            ALVARADO              TX           90011443056
719141A5472B73   PATRICK            DICKMAN               CO           90012551054
719144A7633698   DWAYNE             HOWARD                NC           90014814076
71914534A9154B   RYSTAL             ROSALES               TX           90012185340
7191544588B134   CUMMINGS           BREONA SHAY           UT           90008434458
719162A597B661   SHANAY             WILLIAMSON            AL           90011482059
719221A7976B2B   ZORAIDA            MALDONADO             CA           90003721079
7192396292B994   MARIE              GARCIA                CA           90010929629
7192539A655969   KYLE               FLYNN                 CA           90010283906
71926855A72B32   JULISSA            SALAZAR               CO           90009688550
719275A4655966   YESENIA            NUNEZ                 CA           90014115046
7192868A171921   BRITTANY           CROFFUT               CO           90013846801
71929331A93739   MILTON             LEWIS                 OH           64503713310
71932117A55969   JESSICA            ALDANA                CA           90012991170
71934A6298B134   ANISSA             PETERSEN              UT           90012360629
71936683A2B994   ROMAINE            GHOSTON               CA           90013456830
7193761555B59B   JULIANNA           ABEYTA                NM           90010646155
7193771A57B661   VERONICA           JONES                 GA           90014777105
7193B68A42B271   JEROME             WAITE                 DC           90003066804
7193B936584322   BYRON              JOHNSON               SC           90014159365
7194228819154B   DANNIEL            ACOSTA                TX           90012262881
719423A818B163   MARE               OMOD                  UT           31080413081
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7194396257B477   DIONNA            PERRY                 NC           90006809625
7194567548B142   DAVID             ANDERSON              UT           90013496754
7194623464B257   NAM               NGUYEN                NE           90011682346
7194638A87B477   SHAMEL            BELL                  NC           90013343808
71946881A57157   JAMES             ALLEN                 VA           90012908810
7194753A672479   GABRIELLE         MACKO                 PA           90013225306
7194983988B168   TEAH              RADANDT               UT           90012768398
719518A667B477   CHRISTOPHER       DIXON                 NC           90013248066
7195273288B134   TRACEY            GARRETT               UT           90011097328
7195429328593B   CASSANDRA         HENDERSON             KY           90009912932
71956587A41237   MIA               CRUMPLER              PA           90011055870
71957517A31443   SHAUIMA           HASHMAT               MO           90013775170
7195768657B661   DAVID             WARD                  GA           90014296865
719582A1191572   DMT               WIRELESS              TX           75033712011
7195892868593B   AMANDA            JONES                 KY           90002809286
7195982A641237   VIVERO            HARNENDEZ             PA           90015308206
71962A58A2B26B   SHERON            TATE                  DC           90001050580
7196448A191991   SAMANTHA          CHEESEMAN             NC           17094394801
71965116472B44   ASHLEY            ELLIOTT               CO           90012081164
71965864327B98   LATRICE           JOHNSON               KY           90014548643
71966255A55969   MARIA             VILLAFANA             CA           90004962550
71966432A55966   RAFEAL            HERNANDEZ             CA           90012764320
7196766618B168   ANGIE             CARTER                UT           31051486661
7197133162B994   CHARLES           BOYER                 CA           90014183316
71977953972B29   CESAR             ARIAS                 CO           90008779539
71978124A9154B   MIGUEL            MARTINEZ              TX           90008971240
7197866618B168   ANGIE             CARTER                UT           31051486661
7197B841555966   ALBINO            TRUJILLO MARTINEZ     CA           90013048415
7198283A85B384   DAMONICA          DUBOSE                OR           90010548308
71982AA5455939   JULIO             BARBOSA               CA           90013370054
7198383458593B   MICHAEL           SOARD                 KY           66070348345
719838A8557157   DOMONIQUE         SELLERS               VA           90011588085
71985133972B32   DARLENE           OLIVAS                CO           33096931339
71988569A8B163   YANDY             MORAN                 UT           31072085690
7198B372A93736   CHARLES           WALTERS               OH           90009213720
71994147A3168B   CHRISTY           IBARRA                KS           90011011470
7199491658B157   MATHEW            COPFER                UT           90011959165
719B1579872B98   FRANK             GARCIA                CO           90012875798
719B56A188B134   AMANDA            ANDREASEN             UT           90005796018
719B674A29154B   KROP              JESSICA               TX           75045897402
719B8254255966   FRANSISCO         SALAZAR               CA           90014112542
719BB916551349   NICHOLAS          KIRKLAND              OH           90008329165
71B1186458B385   MARQUIS           THOMAS                SC           90014208645
71B1233258593B   DAWN              HARRELL               KY           90002763325
71B1237319154B   LILIANA           GONZALEZ              TX           75088153731
71B1278967B661   JERMAINE          TAYLOR                GA           15012237896
71B13579471921   WILLIAM           RIOS JR               CO           90011435794
71B1359817B661   SHAKIEM           SCRIVEN               AL           90013735981
71B14874493739   KAITLYN           KISER                 OH           90008208744
71B1534448B134   ROCIO             VILLANEA              UT           90014233444
71B15797141253   LYDIA M           REED                  PA           90012047971
71B16457457157   AHMED             TARAD                 VA           90012924574
71B17457185937   ERIC              MILLER                KY           90002154571
71B175A7233698   BEN               PARKER                NC           90012865072
71B17797484322   RAQUEL            YOUNG                 SC           90011007974
71B17A6947B661   JASON             BROWN                 GA           90012400694
71B1925418593B   NICHOLE           DEMORET               KY           66017802541
71B1B165A72B98   EMMANUEL          ORTEGA                CO           33081461650
71B1B818871921   JEREMIAH          FORAKER               CO           90012148188
71B21252731433   TAMMY             WILLIAMS              MO           90013942527
71B2436742B994   RAFAEL            BAUTISTA              CA           90012823674
71B24574131482   CARMALETHA        MIMS                  MO           27578945741
71B25462972B29   DAVID             MEDINA                CO           90012604629
71B2554737B661   BARBARA           THROWER               GA           90012235473
71B27734772B98   FELIPE            SOLANO                CO           90014187347
71B28219593739   LINDSAY           ALLEN                 OH           90008552195
71B2B223555939   EDITH ALEJANDRA   PEREZ                 CA           90011422235
71B3333AA7B661   TIANNA            FRYERSON              GA           90011023300
71B3413589154B   MICHAELANGELO     ZAMORA                TX           90011431358
71B34152685937   TIM               FRYE                  KY           90015031526
71B35114941237   KAMAU             THOMAS                PA           90009171149
71B354A5641253   JUSTIN            KNOX                  PA           90012974056
71B355A648B134   JAKELINA          RODRIGUES             UT           90013065064
71B355A765B59B   DIAMOND           JARMILLO              NM           90005585076
71B36739972B98   STEPHEN           APPLE                 CO           90014187399
71B3748169154B   LULU              RODRIGUEZ             TX           75082904816
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71B393A3A33698   VEE                   RUSSELL              NC        12076083030
71B3B899271921   ANGEL                 WELKER               CO        90010968992
71B41489A8B168   JAUNNA                DOWELL               UT        90015094890
71B4194545B169   ARRON                 DEVINE               AR        90011039454
71B4323918B163   LUIS                  MATA                 UT        90013022391
71B433A8581643   JUAN                  HERNANDEZ            MO        90009703085
71B45286781255   LAEKTHA               WIGGINS              KY        90011412867
71B45656155939   LAURA                 CASTREJON            CA        48094466561
71B45928755966   INES                  FLORES               CA        90013949287
71B46164857157   EDY                   ORTIZ BONILLA        VA        90012501648
71B4652565B59B   DAVID                 GLOVER               NM        90013685256
71B4661457B477   SRINIVAS              MACHA                NC        90012376145
71B4771A281633   MICHAEL               WOODWARD             MO        90014957102
71B49929631443   SHAREEFAH             HILL                 MO        90015179296
71B4B36A131443   BRENDA                POPE                 MO        90012453601
71B52888885937   KOLT                  BLAKE                KY        90010928888
71B532A1951382   ANDREW                NEUBAUER             OH        90004302019
71B5369758B134   DENIS                 WIEGMANN             UT        31077316975
71B53744772B98   ADAN                  GONZALEZ             CO        90014187447
71B53939831433   BETTY                 SCHNEIDER            MO        90014309398
71B54916772B44   RASHEENA DENISE       SCOTT                CO        90014459167
71B58322872B29   JOSE                  TERAN                CO        33003323228
71B5966448B163   PALEFAU               MICHERENA            UT        90010496644
71B596A489154B   GILBERT               GARCIA               TX        90002466048
71B614A227B477   WILLIE                SMALLS               NC        90013224022
71B644A528B168   MIKE                  ELWELL               UT        90007034052
71B65245281643   JANET                 SUTHERLIN            MO        90010282452
71B6617739153B   THE ACCOUNTING FIRM   OF MEIZER & MEIZER   TX        90011521773
71B66996381645   SHATASHA              RIVERS               MO        90012489963
71B669A4672B98   DRYCEN                LACEY                CO        90011799046
71B67488355969   VICENTE               COVARRUBIAS          CA        90008674883
71B67894455969   VICENTE               COVARRUBIAS          CA        90014448944
71B71381857157   ANCELMO               MURILLO              VA        90011163818
71B71555791953   EVETTE                WOODARD              NC        90009855557
71B71991A7B477   KENDAL                CRANK                NC        11027829910
71B73352372441   MARK A                DRUM                 PA        51037383523
71B73555355939   NORBERTO              ALEJO                CA        90015175553
71B74472A8B168   KLINT                 MATHEWS              UT        90001404720
71B755A8372B22   WILLIE                FALLS                CO        90011175083
71B76479557157   ANNE                  DIXON                VA        90013554795
71B76745984322   LOLOTEA               GREENE               SC        90011177459
71B77466185937   ANGELA                SPIVEY               KY        90002704661
71B81253357157   NASLIN                RUIZ ALVAREZ         VA        90011442533
71B81621861935   HENRY                 ALCARAZ              CA        90005556218
71B82673572421   TIFFANY               DANIELS              PA        51066066735
71B83243457157   VIVIAN                SEGOVIA              VA        90008172434
71B8348939154B   ROLANDO               PRICE                TX        90010954893
71B83896A72479   COREY                 WILSON               PA        90009938960
71B8432688B163   THERIN                WUNDERLICH           UT        90013023268
71B849A2585937   MICHAEL               SMITH                KY        90014649025
71B8564A35B59B   LIZY                  SALVIDREZ            NM        90011416403
71B85898172B44   JOSE                  BORREGO              CO        33021298981
71B8742823168B   ALYSSA                GULIFORD             KS        90012444282
71B89492841237   SHANE                 MODOLO               PA        51074584928
71B8961548B134   RANDY                 MALIN                UT        90006426154
71B8B948955966   SERENA                CASTRO               CA        90013229489
71B9111943B137   ANSWER                DONT                 VA        90010401194
71B9116929154B   BRENDA                CAMARENA             TX        75052411692
71B92172185937   KAYLA-ANN             PIROZZI              KY        90014641721
71B93349493739   RYAN                  SICKMAN              OH        90012053494
71B93484893736   JUAN                  GUEVARA              OH        90003614848
71B937A7972B32   MERWAN                ATWI                 CO        90012987079
71B938A5733699   VALJEAN               GRIGGS               NC        12050998057
71B95457185937   ERIC                  MILLER               KY        90002154571
71B98246771921   JOHN                  ROFF                 CO        90012992467
71B9872258593B   ASHLY                 BOYCE                KY        90014917225
71B9992838B163   DUSTIN                PARKIN               UT        90009389283
71B9995357B661   DOMINGO               MORALES              GA        90013429535
71B9B32688B163   THERIN                WUNDERLICH           UT        90013023268
71BB158218B134   FILI                  FILI                 UT        90012185821
71BB22A5272B44   JUSTIN                JAY                  CO        90009262052
71BB415195B169   HANNAH                LOCK                 AR        90010251519
71BB4663484322   MIYAKE                JENKINS              SC        90011366634
71BB4A14A72B29   ERNESTINE             BUTLER               CO        90012870140
71BB5994A72B44   JEREMY                TOTH                 CO        90015169940
71BB8239A5B399   MATTHEW               WILLIAMSON           OR        90012672390
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71BB8A34772B29   TABETHIAN      CARR                     CO           90009090347
71BBBA99761935   PINKY          PENULIAR                 CA           90005460997
7211468327B477   RACHEL         NYEBA                    NC           90012516832
7211669A655969   AMY            ALVAREZ                  CA           90014806906
7211759A472B29   SUNNI          GREEN                    CO           90013395904
72118914372B44   HARLEY         JOHNSON                  CO           33094109143
7211B3A3133698   JERONE         GARNER                   NC           90014453031
7212149532B895   JONATHAN       LAWSON                   ID           90009734953
72121787872B44   KATIE          GURULE                   CO           33009837878
7212227745B169   ROBERTO        HURTADO                  AR           90013952774
7212416A17B477   DESMOND        DANEY                    NC           90014711601
721253A7393739   LAWRENCE       NEELY                    OH           90012823073
7212663315B398   SUSAN          KHLIU                    OR           90002466331
7212814A68B157   CHARMONE       FORD                     UT           90013771406
7212832275B375   SHANNON        SERATT                   OR           90012263227
72129171A72B29   SUMMER         INGERSOLL                CO           90000131710
7213281588B157   JONATHAN       VANRJA                   UT           90015118158
7213515997B661   ZIKARIOUS      FLINT                    GA           90014751599
7213911237B661   MONET          HARRIS                   GA           90011241123
7213921432B994   JOSE           DIAZ                     CA           90014742143
7213988A471921   SUE            BLYTHE                   CO           32088288804
7214453477B661   CHARLES        ROBINSON                 GA           90000855347
72144A3458593B   DESTINI        GERMANN                  KY           90012800345
7214547459154B   FEBE           DIAZ                     TX           75014984745
72145595A8B163   DAVID          WALMER                   UT           90003095950
72145A29755969   ESTEBAN        VARGAS                   CA           48095860297
7214659345B398   RANDY          ELL                      OR           90013655934
72146A62941253   NANCY          BOMBA                    PA           90006130629
7214877527B661   INEZ           THETFORD                 GA           90014757752
721487A5881633   MICHELLE       GENTRY                   MO           90011917058
721496A285B398   BRYAN          PICKRELL                 OR           90014736028
72149821827B98   SUSAN          JONES                    KY           90014818218
7214BA4398B163   SANTANA        MARTINEZ                 UT           90010570439
7215168919154B   RICARDO        PEPI                     TX           90014026891
7215191A29154B   ADALID         CAMPOS                   TX           90010539102
7215284A672441   BRIAN          FOLEY                    PA           51061788406
72153591872B98   DAVID          WRIGHT                   CO           33050805918
7215441247B477   JOMON          DOUGLAS                  NC           90012944124
7215571227B477   BETSY          TYLER                    NC           90011347122
72156433A7B661   KENDALL        COMINS                   GA           90014754330
72157248A7B45B   WILLIAM        GRANT                    NC           90001442480
7215866618B142   ANGIE          CARTER                   UT           31051486661
7215883375B596   JOSHUA         OXLEY                    NM           90014658337
721593A325B59B   LEANN          MARTINEZ                 NM           90014103032
72159935472B32   ALFONSO        MORALES                  CO           90014119354
7216347A572441   JEFFREY        TOMEI                    PA           90015094705
72164545A71921   ALICIA         MOLINA                   CO           90012145450
72166A94331433   DEVON          HARRIS                   MO           90013030943
72168AA4393739   NICHOLAS       WOODALL                  OH           90011040043
72175446772B29   JESSE          EKLUND                   CO           90012624467
7217551468593B   HENRY          BRIGGS                   KY           90008645146
7217588888B168   GRANDON        CARTER                   UT           31084698888
7217B586155969   ABEL           GARCIA                   CA           90013475861
7217B947551349   SHARIFA        BROWN                    OH           90011089475
72182A67A91869   KIMMIE         MILLER                   OK           90010240670
72183221772B32   SANDRA         LOPEZ                    CO           33050562217
7218538A13168B   MAKAYLA        WATTS                    KS           90009623801
72185926627B98   LISA           BELLAMY                  KY           90013949266
72185A48972B29   EVA            HOWELL                   CO           90009440489
7218621A155969   JOSE           HINOJOSA                 CA           90013222101
72187A57657157   SANTOS         GERMAN                   VA           90010920576
7218B19A385883   JACKIE         RUBE                     CA           90010791903
7219158737B661   MICHELLE       ENDERS                   GA           90013815873
7219469AA3168B   KENNETH        TAYLOR                   KS           90006956900
72199421772B32   DAVID          NAVA                     CO           90010954217
7219975198B157   MARTIN         VALVERDE                 UT           90013517519
72199A5595B129   TIMOTHY        HOLLINS                  AR           90000440559
72199A74A8593B   ROBERT         MAHANEY                  KY           66077360740
7219B2A6541253   JUSTIN         GRANT                    PA           90013042065
7219B321884322   CHRISTINA      MOSHER                   SC           90001903218
7219B493384322   CHRISTINA      MOSHER                   SC           90014624933
7219B666355991   ELIZABETH      PROVOST                  CA           90004526663
721B3A88A27B98   DULCE          DEL ANGEL                KY           90013780880
721B5612161995   SAUL           MARIN                    CA           90004686121
721B7683255966   SANDRA         CASTRO                   CA           90012956832
721B884762B994   FELIX          VEGA                     CA           90013168476
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721B9171857157   JUAN           VASQUEZ                  VA           81065711718
721BB769A5B596   ALMA           AISPURO DE VIDACA        NM           90009417690
72212393A72479   SONDRA         BORDINI                  PA           90014963930
7221431A37B477   JOSE           PACHECO                  NC           11086173103
7222138415B59B   LAZARO DAVID   PEREZ LAZO               NM           90014713841
72224754827B98   JUANESHIA      REEVES                   KY           90013987548
72225A6197B477   JAY            RIVERA                   NC           90007150619
72226A69855939   CHRIS          CARRILLO                 CA           48087800698
7222733352B994   KARINA         VALDEZ                   CA           90014183335
72228716A72B44   JUAN           MARTINEZ                 CO           90013937160
7222886A133698   CARLOS         JONES                    NC           90015178601
7223175A571921   DAVID          LYTLE                    CO           90010687505
7223347A631443   MIKE           CALYTON                  MO           90010964706
72234171872B29   WILLIAM        ARCE                     CO           90003711718
7223499365B596   JULIEANN       TORREZ                   NM           90014659936
72235A9AA41237   BUN            KHUN                     PA           90013850900
7223717A584355   JOSEPH         EDEBURN                  SC           90001181705
722398A2157157   MARIA          CAMPA                    VA           90005018021
7223B282271921   STEPHANIE      ARELLANO                 CO           90012742822
72241835A8B168   NANCY          HERNANDEZ                UT           90012258350
72245A65155939   JUAN           RODRIGUEZ                CA           48047060651
7224694453168B   CRAIG          SCANNAPIECO              KS           22015199445
722475A2A8B157   DAVID          WHARTON                  UT           90014695020
7224855235B398   FERNANDO       PORTILLO                 OR           90011165523
72248A8972B895   MARLENA        RANGEL                   ID           90002180897
722498A3172B32   DEONNA         COMBS                    CO           90014158031
7225594982B994   KI             SMITH                    CA           90013939498
72256775A55939   BEATRIZ        SUALES                   CA           90000907750
72258374A33699   LASHELL        EDWARDS                  NC           90011433740
7225B97A65B169   KEVIN          SIMNITT                  AR           90014089706
72264A33A41253   JOSH           MACINTOSH                PA           90007950330
72266988272B32   XITLALI        SOTELO                   CO           90008659882
7226858525B398   BRIAN          SCRUGGS                  OR           44521005852
7226978898593B   RICHARD        LUCAS                    KY           90004937889
7226B884755947   RAQUEL         RODRIGUEZ                CA           90013608847
7226B8A3172B32   DEONNA         COMBS                    CO           90014158031
72272564972B44   SANDRA         STEGMAIER                CO           90008625649
72273316A5B596   ROBERT         RAND                     NM           90013023160
7227416A372441   DARON          COX                      PA           90011221603
72274958572B32   ROBERT         UNDERHILL                CO           90011139585
7227582A55B596   AARON          CHURCH                   NM           90014698205
7227644287B661   JAMAR          THOMAS                   GA           90010594428
7227678462B994   ANDREW         FLORES                   CA           90011857846
722791A8A72B32   GABRIEL        CAMPOS                   CO           90012041080
7227941195599B   ASHLEY         DELGADO                  CA           90008284119
7227B19A35B596   ANDREA         NAVARRO                  NM           90008601903
72281A83555969   GODFREY        FARMER                   CA           90010310835
7228232425B596   LISA           CASTILLO                 NM           90013023242
7228254418B142   JAIME          ALMANZA                  UT           90007795441
7228547232B994   RAFAEL         RULVACABA                CA           90009064723
7228B196733698   LYNNESE        HOUSTON                  NC           90012661967
7228B567284322   STEVEN         WOODS                    SC           90013025672
7228B85519154B   KIMBERLY       RIOS                     TX           90002058551
7228B91628B168   DESIREE        LEIVA                    UT           90007129162
72293A4535B596   URIEL          MORALES                  NM           90014660453
7229638639154B   JOSE           DELRASSO                 TX           75057193863
7229BA7A55B398   DAWN           BURNELL                  OR           44578190705
722B1318131433   AYLA           JENKINS                  MO           90014893181
722B2566A31443   THERESA        BARTON                   MO           90008615660
722B2567455939   BAUTISTA       MARIO                    CA           90002435674
722B311387B661   DELORES        SHAVERS                  GA           90014801138
722B371789154B   STERLING       DAVID                    TX           75068647178
722B373755B596   ISMAEL         LOPEZ                    NM           90004237375
722B3912541253   LEON           JOHNSON                  PA           90014759125
722B4295272B29   NEFTALI        GUTIERREZ                CO           33004142952
722B7468657157   LUIS           PABLES                   VA           90013164686
722B7732655939   JUSTIN         ANDERSON                 CA           90011917326
722B786A133698   CARLOS         JONES                    NC           90015178601
722B8449871921   SCOTT          LAUGER                   CO           90013694498
722BB84A28B157   KEVIN          LEOS                     UT           90013058402
72312A34527B98   LATOYA         HOLLAND                  KY           90014230345
72317423A7B477   JOSHUA         BROWNLEE                 NC           90010494230
7231878848B168   JARAULD        HARGRAVES                UT           90012727884
72318A82331433   TRACY          CANNON                   MO           90009740823
7231992685B169   HEATHER        BURGER                   AR           23037689268
7232172774B241   ROBERT         PHILLIPS                 NE           90007447277
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7232266698B163   WHITNEY         DUNCAN                   UT           90010306669
7232385747B45B   ANTONIA         CASTELLON                NC           90011578574
7232594595B169   INETTIA         FINCH                    AR           90011719459
7232611387B661   DELORES         SHAVERS                  GA           90014801138
72327A5127B477   SANDRA          MARQUEZ                  NC           90013930512
723283A2233699   RHONDA          MEZE                     NC           90013573022
72328793472B44   VANESSA         VELASQUEZ                CO           90012337934
7232975865B169   SEBASTIAN       NEHEMIAS                 AR           90014067586
723319AA37B661   KIERA           HARDAWAY                 GA           90014859003
72334A5A741237   DEBRA           JOHNSTON                 PA           90009110507
72337A71572479   JOHN            PAINTER                  PA           90010970715
7234125695B596   DESHAY          ROBINSON                 NM           90011672569
7234274A331433   KAYLA           SCHUERMAN                MO           90011417403
723462A1A7B661   MAURICE         WALTON                   AL           90014782010
723481A9666255   JAHEEL          NORRIS                   MS           90013641096
72349616172B44   RAUL            LUNA                     CO           90012116161
72354414A55939   MIKE            LOPEZ                    CA           90014604140
72354A39571921   RENEE           STEVENS                  CO           32043800395
723565A749154B   BIANCA          SANCHEZ                  TX           90013125074
7235759A641237   DARRIUS         POLLARD                  PA           90004325906
7235832433B388   ISABELLA        JARAMILLO                CO           90013793243
7235886817B661   JUDY            JOHNSON                  GA           90013678681
7235927A941253   SHEILA          WARNER                   PA           90014712709
7236181825B596   STEVEN          ROMERO                   NM           90004408182
72365329A55966   JOSEPH          JARRARD                  CA           90014243290
723675A749154B   BIANCA          SANCHEZ                  TX           90013125074
7236941118593B   MICHELLE        KITE                     KY           90013574111
7236B232384322   ANDREW          YOUNGBLOOD               SC           90013692323
7237188112B994   FELICIANO       REYES                    CA           90012278811
7237225338B168   JANALYN         ALDOUS                   UT           31089542533
72372545A2B994   VICTOR          VILLANUEVA               CA           90001665450
7237447453168B   CURTIS          NEAL                     KS           90014524745
723758A845B59B   NANCY           ESCOBEDO                 NM           90013088084
723774A118593B   HEATHER         WEBSTER                  KY           66089604011
72377A36A41253   EBONY           JOHNSON                  PA           90005330360
72377A65A72B32   DAVID           ABNEY                    CO           90012370650
72379841672B44   RUBEN           TRUJILLO                 CO           90013308416
7238144265B59B   MARIANA         SAENZ                    NM           35083734426
7238469767B477   CHAD            BAUR                     NC           90012916976
72386568372B32   PAIGE           SHERIDAN                 CO           90009615683
723867A2684322   ERIC            LOZANO                   SC           90012907026
72388234A3168B   TAYLOR          WORLEY                   KS           90014832340
7239115A455939   JORGE           CARRILLO                 CA           90014321504
72391A3595B596   TONYA           MARR                     NM           90007520359
72391A7A972B32   ISREAL          CASAS                    CO           90012730709
7239488338B168   GABY            VASQUEZ                  UT           90012168833
7239627A59154B   RONNA MAY       SELIDIO                  TX           90001592705
72396441572B32   HOLLY           HOLT                     CO           90014114415
7239689A781633   NAKEISHA        CRUMP                    MO           90010908907
7239959A981633   CANDICE         JOHNCON                  KS           90014725909
723B1738231443   RANDY           GOWEN                    MO           90010487382
723B5A1587B474   ABOVE &         BEYOND STYLES            NC           11076180158
723B8624355969   JOSE            HINOJOSA                 CA           90013246243
723B967288B134   PAOLA           CERVANTES                UT           90010036728
723BB65755B596   MARIBEL         VILLAN                   NM           90014706575
724118A718B142   CHRISTOPHER     LARSON                   UT           90013508071
72411918A5B398   CODY            DYSINGER                 OR           44590509180
72412781A8B163   TIMMOTHY        PEREA                    UT           90010577810
7241557427B661   CASSANDRA       ROLLINS                  GA           90011445742
7241678438593B   DAVID           WESLEY                   KY           66024617843
72416A59771921   KENT            CLARK                    CO           90012840597
72417829A91981   MICHELLE        WALL                     NC           90013008290
72419179472B98   YADIRA          MARTINEZ                 CO           90009391794
724191A854B27B   NYAHIAL         GACH                     NE           90014701085
72423A75A7B661   SHAKAKLUN       WEST                     GA           90011240750
724253A6557157   CHIREDA         GAITHER                  VA           90014163065
7242666118B157   SANDRA          SLAYMAKER                UT           90013926611
7242721898B168   JON             GARDNER                  UT           90010282189
7242B34812B271   KRISTAL         SPRUILL                  DC           90011343481
7242B429172B44   JEREMY          GAUNA                    CO           90001924291
72432A7A155969   GERARDO         HERNANDEZ                CA           90013770701
72434A7945B59B   ENRIQUE         PEREIRA                  NM           35033140794
724356AA191531   ABIGAIL         DELGADO                  TX           90001186001
72437A7368B157   ERIK            SILVA                    UT           90009020736
7243882A82B271   JAY             SMITH                    DC           90006628208
72439398127B98   GEORGE          CANNON                   KY           90014243981
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7243941127B661   TOMEKIA         RICHARDSON               GA           90014794112
7243B3A627B661   ANGELICA        REYES                    GA           90014793062
72441989172B44   JAZMIN          OCON                     CO           90010029891
724441A2231433   AARON           MOORE                    MO           90012661022
72444A96872B44   ADAM            LOBBATO                  CO           90000210968
72447132A72441   NICOLE          ATKINSON                 PA           90013751320
72447268472B44   MULLINS         DAVID                    CO           33032102684
7245252138B157   HERIBERTO       GUTIERREZ                UT           90009725213
72455484A7B661   SECORIA         WILLIS                   GA           90014794840
72457484A7B661   SECORIA         WILLIS                   GA           90014794840
72457A5318593B   SAISAL          ELMAZEANI                KY           90012280531
7245B355A33699   CYNTHIA         BETHEA                   NC           90011303550
7246154937B661   LATOYA          TEAL                     GA           90014795493
7246289A155939   CARLOS          GARCIA                   CA           90011848901
72462924A71921   WALTER          QUEVEDO                  CO           90002419240
7246439AA91531   MICHELLE        ZAMORA                   TX           90009293900
72464A89427B98   LATONYA         GULLET                   KY           90014630894
72466375872B29   MARWAN          HUSSEIN                  CO           90015113758
7246686A78B142   VLADIMIR        MUNSON                   UT           90012098607
72467611372B44   ASHLEY          MCDANIEL                 CO           90011626113
7246986A133698   CARLOS          JONES                    NC           90015178601
72472A62871921   ADRIENNE        CARTER                   CO           90012840628
72475A43A33699   DANA            LITTLE                   NC           90011120430
7247639957B661   JEAN            BAKER                    AL           90014803995
7247684548593B   PIECE OF        ME                       KY           90015278454
724795A2672B29   DANIEL          WERTZ                    CO           90011475026
7247B397A72B32   TYLER           SHOCKEY                  CO           90009593970
72484125A72421   BARBARA         GALLO                    PA           90014831250
724841A7157157   OSCAR           SANCHEZ                  VA           81089371071
7248453777B477   HADDONNY        CARRANZA                 NC           90013485377
7248962A291991   DANIELLE        WARD                     NC           90003336202
7248B48117B661   LILLIAN         JERNIGAN                 GA           90014804811
7248B8A2157157   MARIA           CAMPA                    VA           90005018021
7248B9A8A71921   TIM             PETERS                   CO           90014849080
724931A655B596   HILDA           ALVARADO                 NM           90013131065
7249839A333699   LENEE           FAIR                     NC           90006683903
724B123735B59B   HARRIET         SILVER                   NM           35078092373
724B2A83555969   GODFREY         FARMER                   CA           90010310835
724B5593141237   AARON           DUDLEY                   PA           90011855931
724B7792572B32   MONICA          CARRILLO                 CO           90012827925
7251287335B169   DANNY           ELDER                    AR           90014428733
7251376A87B661   YOLANDA         FULKERSON                AL           90011257608
725146A3255947   ANGEL           NOROA                    CA           90010326032
72514A1135B59B   STEPHANIE       JEFFERSON                NM           90013090113
72515AA2572B29   JEANETTE        HAWTHORNE                CO           90010600025
725175A4933B34   MARIANO         ROJAS                    OH           90014105049
72517A4739125B   ANDREW          MUTALE                   GA           90010340473
7251973285B59B   JOVANA          VELA                     NM           90011557328
7251B183893739   RONALD          PITTS                    OH           90014851838
72521A2268B163   RYNE            READ                     UT           90006140226
72522431572B44   NATALIE         HAMLING                  CO           90002724315
7252315328B134   LAURA           YOUNG                    UT           90011331532
72523435A7B477   JASON           TERWILLIGER              NC           90012834350
725234A5881633   VICTORIA        JOHNSON                  MO           90008024058
72526A35233699   TEMEKA          PLEDGER                  NC           90010980352
725285A5861935   LIZBETH         MENDOZA                  CA           90008575058
7252886AA93739   KERI            BRAMBLE                  OH           90010998600
72529A7879154B   PATRICIA        FLORES                   TX           90013770787
7252B628772B32   TAVIS           BARNES                   CO           90012706287
725312A842B994   ALEXIS          BORRUEL                  CA           90012662084
725319A657B477   VERNYA          MILLER                   NC           90010919065
72533521172B44   VALERIE         CERECERES                CO           90009775211
7253373A155966   ELIZABETH       MARTIN                   CA           90013117301
72536994972B44   BRAND           LOVE                     CO           90010029949
7253922215B169   SARA            PAYNE                    AR           90014712221
72539442A84322   CARLA           AUGUSTA                  SC           90011414420
7253B427171921   ASHLEY          DIECKOW                  CO           90012854271
7254253175B596   JOSE            MALDONADO                NM           90008575317
7254621692B994   GERARDO         MARTINEZ-VASQUEZ         CA           90012082169
72548A2648593B   ANNETTE         PHILLIPS                 KY           90012090264
7254BA81641253   CHARISE         COOK                     PA           51086120816
72552646272B44   ABRAHAM         GUARDADO                 CO           90011626462
7255446147B477   CALVIN          AUSTIN                   NC           11091294614
725582A275B59B   PABLO           MURILLO                  NM           35028862027
725583A6933698   KATRINA         CAPLE                    NC           90008973069
7255953225B169   TRISTEN         BARR                     AR           90010435322
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72559A94331433   DEVON               HARRIS               MO           90013030943
7255B259671921   ROBERT              MORRELL              CO           90014512596
7255B3A212B994   GERARDO             MARTINEZ             CA           90010213021
7255B489A31443   MISS                BLACK                MO           90011234890
7255B898555969   JESUS               SANCHEZ              CA           90013488985
72561A26855969   ANGEL               SEDILLO              CA           90014820268
7256485765B169   PATRICK             WALKER               AR           90014238576
7256629A641253   ROBERT              ARNOLD               PA           90010962906
7257179159712B   SANDRA S            ORTEGA               OR           90001877915
7257265A955966   MAYRA               TATIA                CA           90011676509
725729A847B335   OMAR                MORALES              VA           90008839084
7257535968B168   AMANDA              LHUNSAKER            UT           90008053596
7257554468B134   CARELI              SANCHEZ              UT           90009825446
7257671539154B   MIGUEL              GASCA                TX           90013727153
7257671A78B142   LUIS                MARIN                UT           90015107107
7257969897B661   ADRIAN              JACOBS               GA           90014876989
7257B267755966   CRYSTAL             OSBORNE              CA           90014562677
7257B475333698   CHARLENE            SMITH                NC           90014644753
7257B514455966   CRYSTAL             OSBORNE              CA           90012005144
72582529272B32   MARCUS              SANCHEZ              CO           90014415292
72582A53755966   MARIA               SEPULVEDA            CA           90010320537
72588A9368B32B   TIARA               WILLIAMS             NC           11039760936
72589A4138B32B   BRITTANY            RHINEHART            SC           90005820413
72591749972B32   ALEX                VISSER               CO           90012697499
7259316AA8B134   CHARLIE             GREEN                UT           90011331600
7259329578B163   PETER               TREANOR              UT           31071872957
7259413A784322   DELORES             JOHNSON              SC           90011441307
72596A79741237   LATUSHA             WILLIAMS             PA           90014620797
72597275A5B59B   TANYA               VAISA                NM           90010582750
7259858678593B   ROY                 HUTCHINSON JR        KY           90011785867
7259876A872B98   EDUARDO             HERNANDEZ            CO           33073277608
7259959348B183   EMILY               DEVEREAUX            UT           90001645934
7259B32A731433   TONERIA             FARMER               MO           90008343207
725B2656871921   CHRISTAIN           CLARK                CO           90012776568
725B4A5477B477   CATHERINE           MASON                NC           90010130547
725B5638972B32   ATANACIO            CHAVEZ               CO           90012936389
725B5A85A84322   MARCIA              LAINEZ               SC           90013080850
725B687197B661   TERESA              WRAY                 GA           90005898719
725BB768A72421   TIFFANY             HICKENBOTTOM         PA           90012237680
72611A13771921   HYSUNA AND ROBERT   JONES                CO           90014540137
72612917172B42   DAWN                WALTER               CO           90011779171
7261384117B661   COLUMBUS            WILSON               GA           90014928411
7261385315B59B   DAVID               KESLAR               NM           90008468531
7261419A233698   KENISHA             LOGAN                NC           12080491902
72618813A55947   JOSE                GUTIERREZ            CA           90006328130
7261B941784322   INGRID              REYEZ                SC           90014969417
72622A41841253   VICTORIA            KINNEY               PA           90012500418
726261AA63168B   CHAMBERS            TINA                 KS           22027711006
72626A33255939   ANNA                ZUBIA                CA           90003070332
7262739157B477   SHATARA             DEAS                 NC           11073703915
7262761517B477   KENYATT             WALKER               NC           90014176151
7262853A48B157   CARRIE              WORKMAN              UT           31042595304
72628753A72B44   ROXANNA             MCCURDY              CO           33006337530
7263227849154B   ERIC                HERNANDEZ            TX           90012672784
72632828A41237   TYRONE              CLARK                PA           90003428280
72633187372B29   DIONTE              ROMERO               CO           90008831873
72634378772B32   MARIA               AGUILAR              CO           33075153787
72635AA5855969   HECTOR              GUZMAN               CA           90014860058
7263615A131433   MARCUS              JONES                MO           90013821501
7263618278B142   REBECCA             FOX                  UT           90011001827
72639A48172B29   MARIA               SUAREZ               CO           33070230481
72642A3678593B   WANDA               REYNOLDS             KY           90002940367
726443A4272441   TIAYONA             HARMON               PA           90013713042
7264478667B477   ALBERTO             GONZALEZ             SC           90007567866
7264486457B661   TRICIA              COPELAND             GA           90011278645
7264665755B596   MARIBEL             VILLAN               NM           90014706575
72649A4A27B661   RACHEL              THOMAS               GA           90004400402
7264B234555966   BELEN               CARRANZA             CA           90011612345
7264B2A938B157   PUREVBAZAR          TUGSUU               UT           90011202093
7264B435571921   SAM                 PAK                  CO           90010574355
72651751A72B44   URIEL               MANZAREZ             CO           90013937510
726535AA52B845   LISA                ANTHONY              ID           90007485005
72654365772B29   CARLOS              LUCERO               CO           90013403657
72654376572B44   JENNY               FLOREZ               CO           90012033765
7265461322B994   LINDA               LUCIO                CA           90013476132
72654A35233699   TEMEKA              PLEDGER              NC           90010980352
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72654A52255969   ALYSA           AVITIA                   CA           48040590522
7265519137B661   KINISKI         SELDON                   GA           15095911913
7265635785B169   KAYLA           JOHNSON                  AR           90014713578
7265669779154B   KAREN           RODRIGUEZ                TX           90008826977
726573A458B163   ISRAEL          TOME                     UT           90001013045
72657A69471921   DIONEL          COLMENERO                CO           90012940694
7265855A17B477   SARAH           MARTIN                   NC           90013485501
7265B64589154B   ESPARANZA       GUTIERREZ                TX           90013926458
7265B932257157   AURORA          GUEVARA                  VA           81073039322
72662A9568B32B   DAVID           MORRIS                   SC           90008740956
7266526597B477   JORGE           CARO                     NC           90012992659
72665A14755939   JAVIER          ROJAS                    CA           90013100147
726673A6557157   CHIREDA         GAITHER                  VA           90014163065
726686A565B169   KATRINA         HOPSON                   AR           90004266056
7267148397B386   HEIDY           CHAVARRIA                VA           90001254839
7267238448B168   DALE            WRIGHT                   UT           90013483844
72672AA6955939   RUBY            FERRER                   CA           90009400069
726798A358593B   LANA            LYONS                    KY           90014388035
7267B236155966   VALERIE         CABRERA                  CA           90009012361
7267B77858B157   ANA MARIE       LUCERO                   UT           90009047785
7267B876641227   JAMES           BEATTY                   PA           90000508766
7267B999684322   ROCIO           VELAZQUEZ                SC           90012579996
7268212117B477   ELIZABETH       JUNIOUS                  NC           11097261211
7268297AA92881   JOSE            SOTO                     AZ           90014579700
7268359195B596   REINA           GARCIA                   NM           35055055919
72683922772B29   NATHAN          CHASE                    CO           33029849227
7268439655B35B   AMY             LYNETTE-POTTHOFF-        OR           90004213965
72686A43372479   MARIA           STRINGHILL               PA           90015310433
7268982927B477   OSCAR           SANCHEZ                  NC           90012688292
7268B857772B44   JUNIOR          JR                       CO           33055628577
72692862472B32   JEREMY          HARDIN                   CO           90013348624
7269345745B59B   DIANA           SANCHEZ                  NM           90009654574
7269375433B354   PEDRO           ESTRELLA                 CO           90001997543
72693929A7B477   SANDRA          AVILA                    NC           90012519290
7269428945B59B   ARIEL           ZAMUDIO                  NM           90011642894
7269587137B661   ANTHONY         MATTHEWS                 GA           90011288713
726982A642B994   CHRISTIAN       MACIAS                   CA           90006342064
72698A1347B477   DAVID           PHIFER                   NC           90013780134
72699A95191548   AGUSTIN         PORTILLO                 TX           90011920951
72699A95557157   YENSI           ESPINOL                  VA           90014720955
726B1932241237   HASAN           GORDON                   PA           90013879322
726B3A68572B32   HECTOR          SEVILLA                  CO           90000430685
726B4774A72479   ERICA           CHUCUDDY                 PA           90008287740
726B5223A41227   PINSKI          DECKS                    PA           90007252230
726B6954272479   JOSHUA          BRIDGE                   PA           90011529542
726B84A863168B   DONNA           BLACK                    KS           90004444086
727119A4131432   TAMIKA          JORDAN                   MO           90010959041
72712943572B44   ANTHONY         CORDOVA                  CO           90014659435
7271312728593B   PHIL            BLACK                    KY           90009531272
7271535528B142   LESLIE          ROGERS                   UT           90012023552
727177A6933699   BRANNDON        JOHNSON                  NC           90014197069
727178A429154B   RACHAEL         MARTINEZ                 TX           90014518042
7271827218B163   SPENCER         HOLLIDAY                 UT           31099282721
7271999575B169   JOE             LEE                      AR           90014789957
7271B27529154B   JOEL            DE SANTIAGO              TX           90013132752
7272168A655969   FEDERICO        DIAZ                     CA           90012346806
72723493472B32   JUAN            FUENZ                    CO           90013094934
7272387289154B   MICHAEL G       GOMEZ                    TX           90014498728
72724895A5B596   ANA LAURA       VILLEZCAS                NM           90014698950
72724A48655939   TANIA           MARQUEZ                  CA           90012150486
72726A5377B477   NAKIA           MOSLEY                   NC           90013930537
72729A74572B32   FRANCISCO       CHAVEZ                   CO           90012210745
7272B18548B134   SHALEE          WRIGHT                   UT           90011331854
7272B5A5655966   VIJAY           MAAN                     CA           90012955056
7272B6A5831433   RALPH           BROWN                    MO           27556186058
7272B71125B596   DESTINEE        SANCHEZ                  NM           90009907112
727313A7155969   ANDY            GUTIERREZ                CA           48004943071
7273367547B661   TENISA          HUNT                     GA           90011296754
7273414A641253   H ITSME         MORGAN                   PA           90010131406
7273418692B271   MIKAL           FOX                      DC           81014051869
727344A899154B   TASHA           BERGSTRAND               TX           90013164089
7273568297B661   JEANETTE        RICE                     GA           90011296829
72738961572B29   TERIN           HANCOCK                  CO           90013879615
7273B289672B29   SG              ROOTER                   CO           33008552896
7273B36845B169   SHARELL         MCCLURE                  AR           90014803684
7273B929A3168B   JIM             SUTTLE                   KS           90012929290
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7274496615B169   GLENDA         MCKINNEY                 AR           90015099661
72746991A31433   BONITA         SCOTT                    MO           90014649910
727483A148B168   BURKLEY        LANCE                    UT           31098173014
7274942A785852   JENNIFER       RAMIREZ                  CA           90004264207
7274963999154B   MICHAEL        HOUSTON                  TX           90013136399
727498A9141253   BETH           KILLION                  PA           51097918091
7274998338B157   NATHAN         WILDE                    UT           90013029833
7274B2A2472B44   OLIVIA         MORENO                   CO           33017652024
7274B432641253   DNIESHA        CLEVELAND                PA           51005414326
7274B569655966   PRISCILLA      LOPEZ                    CA           90014785696
7274BA89755966   JUAN           LOZA                     CA           90010790897
72751A94331433   DEVON          HARRIS                   MO           90013030943
727535A533168B   RICARDO        TRIANA                   KS           90013065053
72754275172B32   RODOLFO        CASTROBASQUES            CO           90013262751
7275614A672B98   ANGEL          RODRIGUEZ                CO           33027271406
72757635172B44   ADAM           KIDJOAKA                 CO           33079036351
7276295A92B994   MARIA          ROJAS                    CA           90012849509
7276692945B596   ALEJANDRA      RODRIGUEZ                NM           90009409294
7276736A855966   LUIS           MARTINEZ                 CA           90011513608
727673A2233699   RHONDA         MEZE                     NC           90013573022
72768984633B34   RICHARD        GIDLEY                   OH           90014229846
7277236A855966   LUIS           MARTINEZ                 CA           90011513608
7277246258B134   BRITTANY       LYDAY                    UT           90004494625
72773263572B44   TASHA          BUFFORD                  CO           90008852635
7277463469154B   ANGEL          LOPEZ                    TX           75086676346
72774A8438B163   ESGAR          VALLEGO                  UT           90012000843
7277551428B142   SUSANA         PAREDES                  UT           90012265142
72776A58757157   ANTWAN         MCDOWELL                 VA           90009590587
7277753535B59B   ASHLEY         FORT                     NM           90010335353
7277946A472441   GARLAND        WILLS                    PA           90014864604
7277B731372B98   DALILA         MEDRANO                  CO           33096887313
72786AA925B596   DELILAH        SCHOBEY                  NM           90012350092
727884A7157157   CLAUDIA        SALMERON                 VA           81075024071
7278977937B661   COLETTE        BYAS                     GA           90011457793
72792715A8B168   BRIAN          RATLIFF                  UT           31087537150
72793151627B98   SIVONYA        KENDRIC                  KY           90013071516
7279532569154B   JOSEFINA       COGHILL                  TX           75070513256
7279677985B388   THOMAS         WILLIS                   OR           90009937798
7279995292B994   AMY            IMHOFF                   CA           45051279529
72799A24557157   CAROLA         FUENTES                  VA           90011900245
727B2824157157   CARLOS         CASTILLO                 VA           90012918241
727B42A2893739   BRANDI         WAGNER                   OH           90008852028
727B65A668B163   ERICKSON       KRISTIN                  UT           90010585066
727B7276733628   PEREZ          ESTHER                   NC           90012222767
727B83A659154B   ALEJANDRO      GUTIERREZ                TX           90011443065
727B9712772B44   CARLOS         PINA                     CO           90011627127
727B99A4131432   TAMIKA         JORDAN                   MO           90010959041
727B9AAAA41237   BRIAN          MCGRUBER                 PA           90013960000
727BB421857157   DINO           SAWYER JR                VA           90014724218
727BB425131443   DARRIEL        BELL                     MO           90010844251
72817832A51544   DOMINIQUE      BLACKSTOCK               IA           90013408320
7281B731555969   ISABEL         GONZALES                 CA           90014027315
72821131A55969   JULIE          HERRERA                  CA           48063311310
72821A18857157   ARMANDO        FLORES                   VA           90012210188
7282221458593B   RODNEY         STRUNK                   KY           90012572145
7282568A755939   PATRICIA       VAQUEZ                   CA           90012876807
728297A4333698   RUBEN          CABRERA                  NC           90010747043
728314A118593B   HEATHER        WEBSTER                  KY           66089604011
728328A5692825   RICARDO        PEREZ                    AZ           90014378056
72833783172B32   PASTOR OMAR    CASTILLO                 CO           90009537831
72835292972B44   NIKKI          DEANGELIS                CO           90014122929
728352A845B596   ALICIA         MONTOYA                  NM           90011682084
7283575A784322   HASMILK        PEREZ                    SC           90014697507
728432A3731433   DAVID          PHILLIPS                 MO           90003612037
7284613AA8593B   THOMAS         BOWMAN                   KY           90013051300
72846944672B29   PHILLIP        STEYN                    CO           90013219446
7284778A34B583   AMANDA         HUNT                     OK           90012197803
7284972258B168   JUSTIN         SMITH                    UT           90011277225
7284B756A55947   TERESA         WHITAKER                 CA           90009787560
72851A24341227   JAMES          HICKS JR                 PA           51087950243
7285415412B25B   EMIGDO         PINTO MARTINEZ           VA           90007611541
72854642A5B596   ESPERANZA      RILEY                    NM           35097596420
72854782172B32   JOSE           TORRES                   CO           90012777821
728549A8161986   ANWAR          ACOSTA                   CA           90011769081
7285526655B596   CINDY          RAMIREZ                  NM           90005572665
72856173972B44   JAYSON         SANCHEZ                  CO           90013991739
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7285771177B661   ASHLEE         QUIROZ-GARCES            GA           90011547117
7285837649154B   CRISTIAN       LOPEZ                    TX           90013133764
728586A5833699   NIYIRAH        DOUTHIT                  NC           90013056058
7285B26478B157   OSCAR          MARTINEZ                 UT           90006812647
728651A7871921   EMILY          MAFFE                    CO           90012381078
7286582948B157   JUAN           VEGA                     UT           90013028294
7286588752B994   BLANCA         MADRID                   CA           90012498875
7287181569154B   LUIS           MORALES                  TX           90011418156
7287292252B994   DUSTIN         WHITE                    CA           90013869225
7287561A855969   ASHANTI        RANSON                   CA           90005166108
7287749755B276   JUANITA        WHITE                    KY           90013314975
7287837869154B   KAREN          CHONG                    TX           90013133786
7287B328931432   FRANCHESKA     SANFORD                  MO           90008103289
7287B728657157   MAURISIO       ROJAS                    VA           90007377286
7287BA6517B477   TAWANA         MOBLEY                   NC           90012520651
7288293A272B29   DEB            FISCHER                  CO           90014379302
72883745672B29   CESAR          CASTILLO                 CO           90007987456
7288376118B157   PULETAU        VEHIKITE                 UT           90013517611
7288673438B157   JULENE         RAYNOR                   UT           90010337343
7288689578B142   JAMES          DEHART                   UT           90013648957
7288719787B477   RONY           SANTOS                   NC           11008091978
7288774A455966   TEOFILO        GARCIA                   CA           90014367404
728878A9172B32   BETHANY        ANDREWS                  CO           90013028091
72892A83672479   ADAM           PIERCE                   PA           90015070836
72894127A72B98   ERIC           GARCIA                   CO           33016651270
72897883472B44   ALBERTO        PARRA                    CO           90012628834
7289B2A1972B44   MIRANDA        SOLANO                   CO           90011732019
7289BA55133699   GEORGIA        GIVENS                   NC           12068050551
728B19A6255947   TERESA         DIAZ                     CA           90011059062
728B2164271921   DARON          GEORGE                   CO           90014091642
728B2894271921   TREASURE       BRITT                    CO           90014628942
728B3232372B29   PEDRO          OROSCO                   CO           90014142323
728B355547B477   CHARLED        STONE                    NC           90013485554
728B35AA157157   GABRIELA       SANTAMARIA               VA           90013325001
728B37A378B157   ANTHONY        BLACK                    UT           90007987037
728B65A819154B   MARIA          ALANIZ                   TX           90014505081
728B6844741253   DAVAUGHN       REAVES                   PA           90014788447
728B6A15831432   ELVIS          VALDERRAMA               MO           90009260158
728B8681172479   EDWARD         ROBERTS                  PA           90011106811
728B918548B134   SHALEE         WRIGHT                   UT           90011331854
728B918555B596   JESUS          ESCARCEGA                NM           90011681855
728BB265772421   DAWN           DENOBILE                 PA           90015122657
729122A1381255   MARY           LEWIS                    KY           90001522013
729127A818B157   ONIL           VELEZ                    UT           90013917081
7291971397B661   TRAVIS         TARVER                   GA           90012087139
72925A86A5B59B   MANUEL         MONTOYA                  NM           90014130860
7292734287B661   MICHAEL        WEBB                     GA           90011563428
7292978A172B32   BRENDA         PEREZ                    CO           33058067801
7292B519172B32   JORGE          GAMEZ                    CO           90012485191
72933532A4B261   ROUKYATOU      YACOUBOU                 NE           90010465320
729359A415B596   KEVIN          DURANT                   NM           90014709041
72937295A33698   BRUCE          MILLER                   NC           90011012950
7293B233A84322   GLORIA         SARMIENTO                SC           90012142330
7293B284433698   SHANEQUIA      WRIGHT MADKINS           NC           90011012844
7293B789A72B32   PETER          NAING                    CO           90012837890
72943413A9154B   JESSICA        SORIA                    TX           90013134130
7294566418B142   MARGIE         THOMAS                   UT           90014866641
7295822788B32B   JUAN           RAMIREZ                  SC           11051892278
7295995298B159   ANGEL          WATCH                    UT           90011189529
72963A1663B35B   MARTINE        GALLEGOS                 CO           90004730166
72966951A72B98   KEVEN          GOOD                     CO           90000579510
7296732378593B   MICHAEL        ROHLING                  KY           90011953237
7296733A755939   VICTOR         ARIAS                    CA           90012213307
7296833352B994   KARINA         VALDEZ                   CA           90014183335
7296B211831433   ASHLEY         HOLBROOK                 MO           90012162118
7296B42968B142   JAMES          MCGILLIS                 UT           90014584296
7296B893672B44   ROSE           HANKS                    CO           90011628936
7296BA8288B157   WINDY          ERICKSEN                 UT           90013930828
72971979A31443   DENISE         WADE                     MO           90002659790
72974A22531433   MARQUITTA      DAVIS                    MO           90014800225
7297654A771921   MARIA          SARMIENTO                CO           32005915407
7297666857B477   ELIA           RAMIREZ PEREZ            NC           90003376685
7297673538593B   PISTOL         DANCE                    KY           90012887353
72977896472B44   ARIEL          MARTINEZ                 CO           90011628964
7297B683255966   SANDRA         CASTRO                   CA           90012956832
7297BA1585B557   GILSER         GALVEZ                   NM           90006290158
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72984111872B44   JOSE           HERNANDEZ                CO           90010751118
7298897519154B   KARINA         SOLORZANO                TX           90005299751
72989913A41253   CHANDRA        THAPA                    PA           90013839130
7298B77589154B   PETER          NERIA                    TX           90009907758
7298B795831433   MARIA          FLORES                   MO           90014157958
7298B959255931   MAGDELENA      VELASCO                  CA           90010659592
72992779372B29   WENDY          MADERA                   CO           90010447793
7299368535B53B   RAFAEL         DIAZ                     NM           90005396853
7299432358B157   ERIC           SMITH                    UT           90013903235
72994A3AA72441   GENE           KASPER                   PA           90010610300
7299692935B596   MELANIE        DEAN                     NM           90014709293
7299B3A528B142   LESLIE         CASTRELLON               UT           90013823052
729B137A33168B   CARLOS         PINEDA                   KS           90011073703
729B167A78B168   MALDONADO      MARISELA                 UT           90005116707
729B1A33493739   LATOYA         STANLEY                  OH           90013540334
729B2982872B29   JAMES          BANKER                   CO           90013449828
729B4281571921   MAYUMI         PRICE                    CO           90014032815
729B4AAA35B59B   JOUSHA         EVANS                    NM           35075590003
729B528245B596   MARLENE        DIAZ                     NM           90010502824
729B537A27B477   MIGUEL         VILLEDA                  NC           90012403702
729B552912B994   SANDY          LOPEZ                    CA           90013115291
729B6659355969   JOSH           TAYLOR                   CA           90010996593
729B7299272421   KEITH          SCHUR                    PA           90005982992
729B7A65341253   JEFF           HOLTMAN                  PA           90013960653
729B8111281633   KIERRE         SHEPHERD                 MO           90011401112
729B883558593B   DEZARAY        SPIVEY                   OH           90008338355
729B94A8976B8B   SAUNDRA        DAVIS                    CA           90009834089
729B9A6845B596   CHERYL         SCHECK                   NM           90009640684
72B1269935B596   DAVID          VELASQUEZ                NM           90010856993
72B1298A155939   CARLOS         SANCHEZ                  CA           90011349801
72B143A3233698   DESMOND        BROWN                    NC           90012783032
72B14667155969   KIMBERLY       VAUGHN                   CA           48080836671
72B1473177B661   LATOSHA        MUFF                     GA           90000457317
72B1522383168B   JESSI          GUERRERO                 KS           90012332238
72B2185A18B168   ADRIANA        MORALES                  UT           90013438501
72B21A62A7B661   NYTIA          DIXON                    GA           90014730620
72B2625237B477   NILA           EUSEBIO                  NC           90009402523
72B26339781633   SARAH          NELSON                   MO           90011083397
72B2647A18B157   WHITTANY       STCLAIR                  UT           90009674701
72B28239881633   ASHLEY         SAUNDERS                 MO           90011162398
72B28671972B44   NATHANIEL      GRETTENBERGER            CO           90013936719
72B29484684322   MICHELLE       BING                     SC           90014134846
72B2B15415B169   JESSE          BLUE                     AR           90013941541
72B2B77158B168   LARRY          PECKINPAUGH              UT           90014547715
72B2B841733699   ARNALDO        PALACIOS                 NC           90014108417
72B31841933699   SABRINA        HAUSER                   NC           90014258419
72B31844955966   LUIS           QUINTERO                 CA           90011618449
72B33856536182   MELVIN         TOLBERT                  TX           90001348565
72B338A1A2B84B   KIMBERLY       MCFADDIN                 ID           90010958010
72B34A25741237   JOHN           FREEMAN                  PA           90013960257
72B34A63A31433   MARK           BINGESSER                MO           90012610630
72B3724737B661   TAMORROW       WASHINGTON               GA           90014732473
72B379A815636B   AUSTIN         STANBRO                  IA           90013969081
72B3957493168B   ROGELIO        HERRERZ                  KS           90012725749
72B3B3A7393739   LAWRENCE       NEELY                    OH           90012823073
72B4127477B661   MARISSA        HILL                     GA           90014732747
72B42612A33699   ANGELICA       HERRNANDES               NC           90013536120
72B444A5881633   VICTORIA       JOHNSON                  MO           90008024058
72B4817888B32B   MAKISHA        HARRIS                   SC           90007221788
72B4B135555947   HAIDE          VALDEZ                   CA           90013161355
72B4B69239154B   ARTURO         SOLIS                    TX           90013116923
72B51818927B98   KRISTY         GOZA                     KY           90013608189
72B5274A18B157   ANDRES         BARRIOS                  UT           90011437401
72B52823455939   HOWARD         DOTTON                   CA           90014738234
72B5354357B661   SHARON         WESTBERRY                GA           90014705435
72B54544851337   DAVE           BRADFORD                 OH           90005845448
72B5467348B163   RAMONA A       DOUGHTY                  UT           90010566734
72B5486185B183   KEVIN          CURRY                    AR           90009298618
72B5643395B59B   ANTHONY        AGUIRRE                  NM           90013034339
72B56696793739   TOI            YOUNGBLOOD               OH           90012256967
72B56756672B98   GONZALO        GARCIA ZEPEDA            CO           33038257566
72B56832655947   DENISE         MARTINEZ                 CA           90012848326
72B57668731443   KAYLA          MOORE                    MO           90001396687
72B59884655966   ANTONIO        CASTRO                   CA           90012478846
72B59A26941232   CHRISTOPHER    DICKINSON                PA           90010470269
72B5B613A7B477   WILLIAM        SADLER                   NC           90015016130
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72B5BA4A27B477   CLAUDIA               MARTINEZ             NC        90012510402
72B62692A51378   LATISHA               COLLINS              OH        90004876920
72B62963472B29   ANGELITA              JAVALERA             CO        33081139634
72B63486A72B44   SHEENA                WEDGE                CO        90012264860
72B63686372B44   MAURICIO              CHINA                CO        90013936863
72B6462223168B   WALTER                RAMIREZ              KS        90014726222
72B66694393739   TOMMY                 KING                 OH        90011156943
72B67684471921   VALERIE               ESCARCEGA            CO        90005996844
72B6882672B895   BAILEY                BEYMER               ID        90012358267
72B699A6255947   TERESA                DIAZ                 CA        90011059062
72B6BA4A27B477   CLAUDIA               MARTINEZ             NC        90012510402
72B71476341253   VELMA                 GOUGHLER             PA        90010644763
72B727A198B142   RICARDO               BARRERA              UT        90001057019
72B732A8655969   DAVID                 CEBALLOS             CA        90013222086
72B7546275B238   KIARA                 BROWN                KY        90002254627
72B76AA2757157   EDWIN MOISES          GARCIA               VA        90009510027
72B7969239154B   ARTURO                SOLIS                TX        90013116923
72B79918255939   LETICIA               TRUJILLO             CA        90014179182
72B8119118B157   PANCHITO              LUCES FLOJO          UT        90014501911
72B8484352B267   JANICE                SUTTON               DC        90011828435
72B85784572479   JUSTIN                ROSE                 PA        90014717845
72B86A1115B398   ANDREA                IRETON               OR        44588700111
72B88642957157   JOHN                  VO                   VA        90013986429
72B8B146133698   OSEI                  BONSU                NC        90014811461
72B92512755939   RODRIGO               URIBE                CA        90012605127
72B93277155969   JAIME                 GONZALEZ             CA        48084932771
72B93356141237   AMANDA                WIERCHOWSKI          PA        51083963561
72B9356228B168   BRUNO                 SILVA                UT        90011245622
72B93573555966   ALEJANDRO             GUTIERREZ            CA        90014185735
72B937A368B157   ERIKA                 MADRIGAL             UT        90013387036
72B9463115B59B   JOSE                  MONTELONGO           NM        35016416311
72B964A567B661   TIFFANY               DANIELS              GA        90014744056
72B9675988B134   JON                   HAYCOCK              UT        90010647598
72B97722172421   ASHLEY                MORGAN               PA        90013467221
72B9885765B169   PATRICK               WALKER               AR        90014238576
72B99347155966   VANESSA               SANCHEZ              CA        90001083471
72B9B9A8455966   BYRON                 DARRIGTON            CA        90014749084
72BB1215A41237   TAMIKA                ARNETT               PA        90009032150
72BB3593672B32   DEVIN                 BIGAY                CO        90013205936
72BB5651827B98   TERESSA               ROMUALDO             KY        90013476518
72BB6539384322   EVAN                  SANCHEZ              SC        90011185393
72BB66A412B994   FELICIANO             RYES                 CA        90009526041
72BB76A212B895   SONIA                 RODRIGUEZ            ID        90009726021
72BBB16239154B   ENRIQUETA             GARCIA               TX        75089951623
7311249438B168   SHANNON               SEARLE               UT        90005644943
7311383445B592   KAYLA                 LUCERO               NM        90013328344
73117621772B87   OSCAR                 SERRANO              CO        33032626217
7311B7A9141237   RODNEY                WHITE                PA        51077277091
73123A11893728   BIANCA                PARKS                OH        90007360118
73124A6268593B   GERARD                OUELLETTE            KY        90007010626
73125323872B87   SANTOS                GONZALES-QUIJAS      CO        33020043238
7312637289154B   ISIDRO                GAMBOA               TX        90014853728
731292A5A72B32   HEATHER               RADFORD              CO        90012422050
7313198968B163   CHEESBINA             EZIKIAS              UT        90014669896
7313423289154B   THE ACCOUNTING FIRM   OF MEIZER & MEIZER   TX        90011522328
731349A3955939   MANUEL                RODRIGUEZ            CA        90014839039
7313575338593B   BRIAN                 KERNS                KY        66017327533
73137A78631433   FLOYD                 MASON                MO        90010920786
7314132812B271   JOHN                  WILLS                DC        90009343281
7314169848B163   ANNA                  TORRES               UT        90014656984
73144278772B87   RICARDO               ORTEGA               CO        90008712787
7314B37249154B   ROBERTO               GUERRERO             TX        90009433724
73151885A31432   BRITTANY              JEFFERSON            MO        90006158850
7315561654B522   JAMIE                 NEWCOMB              OK        21577036165
7315688448B163   THOMAS                MODERNO              UT        31041718844
731595A9A41237   JOYA                  MARSHALL             PA        90009955090
7315BA8A48B168   AARON                 WILLIAMS             UT        90012790804
73161A33172B87   MARIA                 MORA                 CO        33070190331
731647A963168B   MATTHEW               MAUPIN               KS        90009557096
73165441272B87   MARIE                 PEREZ                CO        90013054412
7316565773B325   TRACY                 MAZOTTI              CO        90012726577
7316569717B477   SHANNON               YOUNG                NC        90013836971
7316777698B163   WELLS                 CHELSEA              UT        90011357769
7316913382B994   JOHNNY                MENDEZ               CA        90013211338
7317237595B59B   ANGELICA              GUTIERREZ            NM        90012753759
7317387245B384   YOLANDA               CANTY                OR        90011348724
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73175A74A5B347   WILLIAM          JONES, JR              OR           90014560740
73176143672B32   MONSERAT         REYES                  CO           90011331436
731769A4133699   LYNDSIE          JOHNSON                NC           90012719041
731773A1884322   TOBIAS           ORUM                   SC           90014733018
73179246272B29   JOSHUA           CARRERAS               CO           90005692462
7317B74839154B   OSCAR            SANTOS                 TX           90011387483
73183227A41227   SHAWNTA          BUCKNER                PA           90011842270
7318468758B157   GAIL             CAMERON                UT           31022956875
73185297572B29   JOE              BERNAL                 CO           90007062975
73188612672B44   MELISSA          ARCHULETA              CO           90014816126
731887A8572B87   WHITNEY          THRASHER               CO           90004107085
7318B2A4231433   OCBAY            GEBREMESKEL            MO           90013962042
7318B964A9154B   SERGIO EDUARDO   HOLGUIN MARTINEZ       TX           90010739640
73192353372B29   ANASTASIO        GALVEZ                 CO           90007333533
731926A928B163   TELIPE           PEREZ                  UT           31051506092
73192788872B44   DIANE            ROERIG                 CO           90004107888
73192AA6471947   DUSTY            FERGUSON               CO           90012610064
7319851659154B   DENISE           JAUREGUI               TX           90001495165
73199272772B44   CECIL            SHARP                  CO           90012872727
73199A31672B44   MYRON            PARSONS                CO           90013030316
7319B69888B168   CRYSTAL          ALLEN                  UT           90011616988
731B245A22B271   SANDRA           DAVIS                  DC           90013174502
731B377A791566   MARIA            ROSAS                  TX           90001177707
731B4337655939   REYNALDO         ORTIZ                  CA           90013793376
731B442425B596   ISAAC            DELEON                 NM           35069474242
731B4626971947   MICHAEL          CLARK                  CO           90014266269
731B7263955966   ROSA             RAMIREZ                CA           90012772639
731B732535B59B   CANDICE          PEOPLE                 NM           90012383253
731B7979771921   ERIC             VALSQUEZ               CO           90014729797
731B8625884322   QUINTESSA        MCPHERSON              SC           90013596258
731B946A831432   ANDREA           WHITTIER               MO           90010884608
731BB154272B29   MELVIN           OCHOA                  CO           90005691542
731BB173872B87   JOSEPH           PADILLA                CO           90000371738
73214A2655B59B   JOSE             GOMEZ                  NM           90012310265
73217531A72B87   DANIELLE         SPIETH                 CO           33001705310
7321847A541237   FRANK            DEGENNARO              PA           90012234705
73218AA465B59B   NICKY            SOLANO                 NM           90006760046
73219A72272B44   RICHARD          CARRERA                CO           90011680722
73221629272B32   NAOMI            WEDDING                CO           33032406292
7322169665B384   SHLONDA          WILLIAMS               OR           90003466966
73221747A8B134   ZACHARY          WAYNE                  UT           90011077470
73222AA8372B87   VANESA           CORDOVA                CO           90003890083
732238A4331432   ASHIA            MOORE                  MO           90010138043
732279A4255939   FERMIN           TORRES                 CA           90009319042
7323426122B994   MARIA            HERNANDEZ              CA           90013132612
7323524565B59B   RIGOBERTO        ARROYO                 NM           90007302456
73235636772B87   GUZMAN           OLUWAWEMIMO            CO           90011266367
7323888395B59B   BRUCE            GURULE                 NM           90013218839
7323921487B661   LENORRIS         EVANS                  GA           90004152148
7323B75A68B163   CRAIG            VANZANTE               UT           31037247506
7324151382B271   GINGER           ROYSTER                DC           81086225138
73242542272B87   NICHOLAS         EGGERT                 CO           90013935422
7324359312B271   CALVIN           WILDER                 DC           90012195931
7325126168B157   ROB              MICALOTAS              UT           31070922616
7325361465B169   JOSH             MALCOME                AR           23098376146
73254487A2B271   ASHLEY           COLEMAN                DC           90011684870
7325468777B477   DAWN             SMITH                  NC           90013856877
73258284A8B168   MARIA            SOLORZANO              UT           90012382840
73262239A84322   SHAYNE           HUMPHREY               SC           90013232390
7326362A884322   LUCINA           MAYORGA                SC           14561286208
73263A74A72B44   TOM              GREEN                  CO           90010490740
7326629348B163   TERESA           QUINONEZ               UT           90008152934
7326656739154B   ANA              GURROLA                TX           90005595673
7326B52A17B661   BRITTANY         SALAZAR                GA           15001695201
73276691272B32   TRACY            FOX                    CO           90013776912
73277389A33699   TASHI            CONNEY                 NC           90011323890
732774A458B134   RAFAEL           RAMIREZ                UT           90007174045
73278919572B44   JEFFREY          MYERS                  CO           90006839195
7328567678B168   MARCIA           CHILD                  UT           31085736767
73287385A55947   GUILLERMO        ESQUEDA                CA           49052943850
73288634A9376B   CORY             HICKS                  OH           90009976340
7328B582A55939   KIMBERLY         GIBSON                 CA           90009805820
73293196A8593B   ASHLEY           SCHARDINE              KY           66006041960
7329446583B137   CARLA            NICHOLSON              DC           90000574658
7329591648B142   PAUL             JENSEN                 UT           90011079164
73295931A41253   SHAWN            NGUYEN                 PA           51041279310
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7329B373471947   CHRIS          AGER                     CO           90014093734
732B1131772441   CHRIS          ZEDAK                    PA           51038281317
732B1214255966   ALYSSA         MARTINEZ                 CA           90014452142
732B135A871921   DERRICK        GIBSON                   CO           90005233508
732B1A2368B134   LISA           DARLING                  UT           90014510236
732B231215B59B   TYREL          WILKINS                  NM           90011253121
732B2747A8B134   ZACHARY        WAYNE                    UT           90011077470
732B445425B596   JON            WATTERS                  NM           35096164542
732B4A1A45B334   CARLTON        FORD                     OR           90014720104
732B5246193739   CORY           PARKER                   OH           90012142461
732B5876871921   LANA           PETERSON                 CO           90010698768
732B6234372B44   JOSE           RODRIGUEZ                CO           90012412343
732B8123671947   HARRIS         TIMOTHY                  CO           90000271236
732B8689672421   KEVIN          BOLTON                   PA           90008066896
732BBA4455B384   JOHN           BECTON                   OR           90004270445
73313481A55966   STEPHANIE      VERA                     CA           90012794810
7331466695B225   KIMBERLY       WOOTEN                   KY           90011216669
73314A7A88B142   SAUL           ALONSO                   UT           90013800708
733166A4971947   GUILLERMO      REZA                     CO           90012216049
73317421A2B994   RANDY          VANNEST                  CA           90013644210
733237A528B168   DAVID          HARRIS                   UT           90014367052
733237A8231433   SCHARMAINE     ROBINSON                 MO           90015187082
733251A933168B   SHANON         LOCKETT                  KS           90010551093
7332629A15B225   ALICIA         TREJO                    KY           68025062901
7332639167B477   SUE            SAVIN                    NC           11012723916
73327A7A29154B   JESUS          HERNANDEZ                TX           90003910702
73329A86485945   DELORIS        WATTS                    KY           67038630864
73334139872B87   JENNIFER       VEITH                    CO           90000161398
7333514A92B271   TYRELL         SINGLEY                  DC           90015171409
73343AAA333698   DURRELL        MATKINS                  NC           90014180003
73347584572B29   JOEL           FERNQUIST                CO           90014365845
73352A15472B44   GIDGET         MAES                     CO           90008630154
73353342A41237   ZHITAO         LIANG                    PA           90013233420
7335379458B134   MARRIA         JACKSON                  UT           90011077945
73355283472B44   NICOLE         CALLBACK                 CO           90014752834
7335797495B124   STEPHANIE      HUBBARD                  AR           90002929749
733595A392B271   SAWANDA        TONEY                    DC           90002785039
7336175738B168   GENTRY         CHRISTIANSEN             UT           90004817573
73362462972B29   DAVID          MEDINA                   CO           90012604629
7336348A772B32   FREDRICK       THOMPSON                 CO           90005584807
7336352AA55947   CALVIN         SAULS                    CA           90012645200
7336832667B661   MAYA           PALMER                   GA           15055933266
7336937459712B   ERNESTO        AMBRIZ PICON             OR           90011723745
73369AA4741253   SUSAN          GIVNER                   PA           90014190047
7336B13437B477   CECE           SLOAN                    NC           90014231343
7337171495B347   CHRIS          GERMAN                   OR           90014317149
73371818A72B44   MICHAEL        VALENZUELA               CO           90014928180
73373244672B29   CANDACE        PFEIFER                  CO           90009232446
7337397AA33699   DESIREE        RENDER                   NC           90007669700
73373A87633699   DESIREE        RENDER                   NC           90014790876
73374544A57147   KEVIN          BARRON                   VA           90010285440
7337491848B163   ADAN           LOZANO                   UT           90000539184
73374A8425B55B   CYNTHIE        TOLEDO                   NM           90011680842
733751AA672B44   JORGE          MACIEL                   CO           90010491006
733787A3672B87   YAJAIRA        CASTOR                   CO           90012967036
733787AAA71947   TERESA         HOBBS                    CO           90007977000
73379835672B87   ERIKA          JANET GUZMAN             CO           33088318356
733816A9772B29   STEVE          ROMERO                   CO           90013476097
733847A4972B87   MARY           CANCANON                 CO           90012967049
733857A1672B44   STEVEN         FIELDER                  CO           90014257016
733879A7633698   JASON          CRAIG                    NC           90011149076
73393938572B44   CASSANDRA      SANCHEZ                  CO           90013259385
733947A615B59B   DANIELLE       TRUJILLO                 NM           90010377061
73397616A72B44   NANCY          CONTRERAS                CO           90012816160
7339767722B271   MELVIN         ALSTON                   DC           90013816772
73399A6348B163   MORGAN         ADEN                     UT           90014660634
733B1249172B32   FELIPE         MEDINA                   CO           90012832491
733B31A6633699   ROBERT         HARDISON                 NC           90014621066
733B325912B271   HAMZA          EL-HANNAOUI              VA           90013462591
733B3A28372B44   LYNN           WILSON                   CO           33055640283
733B432922B994   WENDY          VAUGHN                   CA           90013693292
733B669179154B   ALEJANDRA      VILLADO                  TX           90008646917
733B739312B994   BERNARDO       QUEZADA                  CA           90010003931
733B7A47155947   YOLANDA        HERNANDEZ                CA           49084350471
733B9291755939   RUBEN          TORREZ                   CA           90012352917
733B98AA284322   NATASHA        GAMBLE                   SC           90011658002
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734127A885B347   VALERIE        NELSON                   OR           90014857088
7341B56A255939   YESENIA        GARCIA                   CA           48015425602
7341B588571947   CHAD           KINSEY                   CO           90012075885
7342154632B271   CAROLINA       GOMEZ                    DC           81016295463
7343169999154B   ANGIE          DURAZO                   TX           75015476999
73432A3537B386   BRYAN          CASTILLO                 VA           90011500353
7343358785B59B   NICOLE         POWELL                   NM           90014305878
73435A76372B29   DENNIS         BACA                     CO           33085570763
7343838429154B   THOMAS         HORN                     TX           90014873842
734389A395B347   SYBIL          BERKLEY                  OR           90002479039
7343B474572B29   JESSICA        BETTINI                  CO           90012604745
7344321287B398   MARCIA         CONTRERAS                VA           81016362128
7344342758593B   SARHA          LEON                     OH           90004164275
734485A132B271   AMYAH          MCCLAIN                  DC           90013045013
7344B57785B59B   SONYA          MARTINEZ                 NM           90010335778
7344B613A55939   MIGUEL         MEZA                     CA           90012206130
73451692872B87   TAMU           SNOW                     CO           90006796928
7345171845B596   JUAN           SEDILLO                  NM           90003247184
7345227558B142   KIMBERLI       DOXEY                    UT           31025362755
73452314572B29   JOEL           AKINS                    CO           90010153145
7345344382B994   JAMES          KITTLE                   CA           90008854438
734535A539154B   MARIA          MONTES                   TX           75080105053
73454A58571921   MARIA ELENA    ALVAREZ-SANCHEZ          CO           90007710585
734562A528B157   JORGE          VARGAS                   UT           90012202052
7345678A82B271   SONYA          FURR                     DC           90012567808
734683A528B163   INGRID         FAALAVELARE              UT           90012793052
7346BA2A272B44   ELIZABETH      WALKER                   CO           33077460202
734732A2A31432   SERRIA         SANDERS                  MO           90012292020
73474A12772421   RODNEY         WALKER                   PA           90014460127
7347764448B163   ELIZABETH      MARTINEZ                 UT           90011296444
7347B1A7171921   DONNA          ADRIDGE                  CO           90013651071
734829A268B142   VINCE          CHATWIN                  UT           90011099026
7348396692B271   BRITTANY       MURRAY                   DC           81059269669
7348595A972B32   HINOJOSA       DESTINY                  CO           90010119509
7348689958B134   EMILIO         QUINTANA                 UT           90007718995
734895A3571947   DAVID          PEASE                    CO           90012865035
7348975958B134   RUBEN          GUTIERREZ JR             UT           90011647595
7348994493168B   RODNEY         PIKE                     KS           90010559449
734939A838B142   EMILY          HONE                     UT           90014839083
73497294172B44   MARIA          MURILLO                  CO           90003302941
7349843562B994   CHRIS          CITIZEN                  CA           90013344356
734B1529793739   VINCENT        DIFLORA                  OH           64515305297
734B1994A2B236   SHARICA        BROWN                    DC           90002369940
734B263719712B   ISRAEL         DEL ANGEL                OR           90009166371
734B454332B271   BRANDON        FIELDS                   DC           90013715433
734B6515A55939   TINNA          PADILLA                  CA           90012705150
734B7296A31432   MELISSA        BENNETT                  MO           90014712960
734B74A319154B   LILIANA        RAMIREZ                  TX           75033274031
734B859528B142   IRAN           MARCIAL                  UT           90015095952
734BB7A6672B87   ALBERTO        OROZCO                   CO           90012967066
7351876687B477   KEYON          TORRENCE                 NC           11007767668
7352357472B994   DANHE          DANHE                    CA           90008825747
7352454A99154B   EVELYN         SALAMANCA                TX           90013225409
735249A955B59B   MATHEW         MARTINEZ                 NM           90010409095
73525A93572B87   DAVID          MONTOYA                  CO           90014170935
73525A9752B994   BETTY          WOOD                     CA           90007610975
735276A325B59B   ANA            LOPEZ                    NM           90010156032
73529349272B21   ARELY          OLVERA                   CO           90012123492
73531A4352B994   MUCIO          MARTINEZ                 CA           90013320435
73536539A9154B   MARICELA       PADILLA                  TX           75053415390
73538997672B29   BRANDON        GOODWIN                  CO           90013709976
7353995685B225   SONIA          CRUZ                     KY           68029009568
73542A2275B347   MARC           COOKE                    OR           90012310227
735459A655B59B   ELIZABETH      PROA                     NM           90013469065
73546991472B29   JASON          MENDENHALL               CO           33067429914
73547A42572479   LONDON         LOVATO                   PA           90014000425
73548A5188B32B   AMANDA         CARPENTER                SC           11010000518
7355122698593B   AMBER          ROGERS                   KY           90011852269
7355435812B271   BRIANA         BURLEY                   DC           90010513581
73555884A71921   AMANDA         VALDEZ                   CO           90003098840
7355588875B347   DANIEL         GREGORY                  OR           90014728887
73559461372B44   MALISSA        HARTT                    CO           90014244613
7356177858B157   ROSA           GONZALEZ                 UT           90010697785
73562371A93739   JESSICA        WHITTRIDGE               OH           64543603710
7356462222B994   ANNISSA        DELEON                   CA           90010726222
7356952628B168   HOLLY          SYKES                    UT           90006615262
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73571833272B87   SERGY          TRUNOV                   CO           90012988332
73571A1278B142   ANTHONY        CADY                     UT           90011960127
73572131372B87   DANIEL         AYALA                    CO           90013481313
73575698672B44   FELICITY       OLSON                    CO           90001206986
735764A3A5B59B   BIENVENIDO     OTERO-ORDONEZ            NM           90013074030
73577A8A372B29   SHARON         MAESTAS                  CO           90011250803
73578998A9154B   LUCY           CORIA                    TX           90010739980
7357946259154B   RAMIREZ        EILEEN                   TX           90009364625
7357B919572B44   JEFFREY        MYERS                    CO           90006839195
73581157872B87   MAEGAN         INGRAM                   CO           90012981578
73584964772B32   ISELA          MENCHACA                 CO           90013409647
7358679853168B   WARREN         DAVIDSON                 KS           90004347985
73587A94784322   AYLIM          CHAVIRA                  SC           90013930947
7358B5A8A5B59B   SEPERINA       DAWES                    NM           90013705080
73593376A72B87   MARTIN         RAZO                     CO           90015123760
7359789863B394   LAVERTA        MYERSON                  CO           90012588986
7359B64655B59B   ALAN           GARCIA                   NM           90012856465
735B124142B271   KELLY          HARPER                   DC           90011692414
735B23A1884322   TOBIAS         ORUM                     SC           90014733018
735B2628471921   JAIME          SIMEON                   CO           90012926284
735B3912493739   GLENDA         THURSTON                 OH           90009129124
735B399A38B157   OSCAR          SANCHEZ                  UT           90007739903
735B415A472B29   MARIA          DIAZ DE LEON             CO           90005381504
735B461442B271   KIRBY          PERKINS                  DC           90011836144
735B4828931433   KRYSTINA       MILLS                    MO           90001868289
735B6269A55947   ALEJO          BARRAGAN                 CA           49082502690
735B6572641253   RAYLANE        MITCHELL                 PA           90014975726
735B7531233699   EDWARD         WALKER                   NC           90011325312
735B8535655939   MICHAEL        GARCIA                   CA           90015135356
73611846A31432   CARNEIA        LEE                      MO           90011328460
73613845897B56   JUSTIN         ANDERSON                 CO           39057668458
7361413677B661   SHARNEL        KNUCKLES                 GA           90009741367
7361421555138B   JACINTA        FRAZER                   OH           90008622155
736159A2A55947   GABRIEL        VARAJAS                  CA           90012419020
736199A5884322   ERICCA         FRIPP                    SC           90010489058
7361BA87577528   RINA           ZECENA AGUIRRE           NV           90003720875
73624347472B44   ANTHONY        PNA                      CO           33096883474
73624994172B32   JARROD         MARRUJO                  CO           90014779941
7362B18279154B   CLAUDIA        DE LEON                  TX           90008141827
73636891A5B347   JEAN CARLOS    FINOL DELGADO            OR           90007948910
736373A8972441   KIMBERLY       FLYNN                    PA           90009593089
73641942272B32   NICOLE         KING                     CO           33089839422
736445A6933698   ERIC           VANDERKUYL               NC           90011325069
7364967687B477   CURTREISHA     CLARK                    NC           90011086768
7364B362872B44   CARMEN         LAWRANCE                 CO           90013833628
7364B8A6931432   SHELBY         LAMBERT                  MO           90014528069
73657441A9154B   DENISSE        ARZAGA                   TX           90012154410
7365885278B142   CLINT          WALKER                   UT           90012458527
736596A8A41237   CARI           MILLER                   PA           90015156080
7365B354271947   RAYMON         BUKOWSKI                 CO           90014413542
7365B417671947   CONNOR         LYNAM                    CO           90013044176
7365BA9335B347   MICHELLE       ETIER                    OR           90013480933
736619AAA71921   HUGO           GONZALEZ                 CO           90007389000
7366219868B142   GARDNER        KELLY                    UT           90010271986
7366447952B994   JUAN           PEREZ                    CA           90012734795
73665A93672B44   REGINA         SMITH                    CO           90011110936
736679A998B163   PATRICIA       RODRIGUEZ                UT           90014689099
73667A38431433   DAREN          GRATTON                  MO           90013220384
7366B9A8133699   SHARON         BAISBON                  NC           90015149081
7367155A38593B   TRACY          COURTNEY                 KY           90008755503
73671948A72421   TABITHA        FREEMAN                  PA           90009109480
73672334572B29   TODD           TRUEBLOOD                CO           90012093345
7367544337B477   POWERFUL       EL                       NC           90012234433
7367749598B163   ANTHONY        HERNANDEZ                UT           90009574959
7367774A772B29   NICKIE         RYMER                    CO           90003577407
7368492337B398   ISRAEL         MONTANA                  VA           81002869233
7368694347B477   ALEXANDER      LEMUS                    NC           90012129434
7368794627B477   ANNA           BESS                     NC           90012179462
7368963994B531   MARCELLA       MORAN                    OK           90012466399
7368BA41372421   APRIL          METZGER                  PA           90014410413
736991AA472421   HARVEY         NOEL                     PA           51017971004
736996A9133699   KEVIN          HEATH                    NC           90012946091
73699A1675B596   WHITNEY        AARON                    NM           90006450167
7369B444372B29   KRYSTAL        DELGADO                  CO           90015124443
736B2129155939   BRENDA         DOMINGUEZ                CA           90008581291
736B214912B271   TAVON          BROWN                    DC           90014581491
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736B2997555939   DANIEL          RIVERA                   CA           90012679975
736B5716631432   TERRELL         PEAL                     MO           90010997166
736B6426231433   TANESHA         HOWARD                   MO           90011034262
736B9717631432   KAYLA           WILMAS                   MO           90014887176
736B986A49154B   ADRIANA         CASTRO                   NM           90013238604
736BB64448B142   NICK            PRICE                    UT           90006436444
73711A9262B271   SHADY           ZAYAT                    VA           90013630926
7371287968593B   KIM             SCHWING                  KY           90009848796
73713321572B32   ASHLEY          GARCIA                   CO           90013333215
737139A455B596   IGNACIO         SAAVERDRA                NM           90006799045
73714A35A2B271   CLARENCE        SHEPARD                  DC           90012280350
737166A2672421   KIMBERLY        HUFFINE                  PA           90010196026
7371792692B994   RUDY            CORONADO                 CA           90011109269
7371842A893739   ROGER           THOMAS                   OH           90010914208
7371898423168B   SHARON          SCHABEL                  KS           22090739842
7371B249131433   JOE             SPENCER                  MO           90002522491
7371B646184322   DEBRA           HEYWARD                  SC           90010536461
7372331897B477   YESENIA         SERNA                    NC           90015143189
737335AA431432   KIEWAUNA        WILLIAMS                 MO           90011005004
7373386395B59B   REBECCA         RAMIREZ                  NM           90003968639
73733924A41253   KINGSLEY        HOGAN                    PA           90012309240
7373394538B168   CRISOL          HERRERA                  UT           90011639453
7373634932B84B   RICHARD         BONDE                    ID           90014443493
7373674668B168   TANNER          MARROTT                  UT           90009127466
7373789528B134   TONJALA         COOKE                    UT           90012728952
737383A9A72421   MARIO           CALOLUPO                 PA           90012623090
7373892A45B384   FRANSISCO       FELIX                    OR           90004419204
7373928449154B   FERNANDO        ESTRADA                  TX           90012532844
7373B27225B347   IONOA           ILON                     OR           90009852722
7374278937B477   RACHEL          MACK                     NC           90014567893
7374365A672479   CODY            CARPENTER                PA           90014316506
73743A6359154B   CESAR           GONZALEZ                 TX           90014240635
73746A7818B168   CARLOS          LOPEZ                    UT           90014970781
737497A155B347   JARROD          BAKER                    OR           90010627015
7375126338B157   KARINA          CARDENA                  UT           90010632633
7375149888B134   MAYRA           GONZALEZ                 UT           90012084988
7375634127B477   TOMMY           MARTIN                   NC           90007463412
7376254855B59B   MORIAH          SMITH                    NM           35015085485
73762A22771947   MATTHEW         ALLEN                    CO           32068090227
737655A3233699   BETTY           QUEEN                    NC           90011175032
7376678539154B   MARIA           MANGUM                   TX           90013167853
7376963348B163   SONIA           DAVILA                   UT           31049236334
73769811A71947   DILLIAN         SANDER                   CO           90011618110
7376B5A7397B22   MATTHEW         JOHNSON                  CO           90010455073
7376B666872421   PAIGE           SHOEMAKER                PA           90012826668
7377184718B168   JUAN            HERNANDEZ                UT           31087568471
7377825A661999   MATHEW          CARRICK                  CA           46004382506
73785A2985B347   ROBERT          ANDREW                   OR           90014690298
7378B1A7741237   FRANK           WOOD                     PA           90014121077
7379217258B142   ALEESHA         DRAKE                    UT           90013841725
73792251972B44   ROBERT          CALDWELL                 CO           90013842519
73793A69541237   ELSPETH         VAUGHN                   PA           90014480695
73794332972B32   PERLA           GAXIOLA                  CO           90009113329
73795984A41237   GEORGETTE       SWISHER                  PA           51062279840
7379B1AA355947   MARILYN         YOUNG                    CA           90013851003
737B256628B163   JOEY            MEMMOTT                  UT           90006495662
737B27A8833698   JESSICA         DUNLAP                   NC           90014157088
737B3483471947   JOSE CARLOS     SOLIS SOSA               CO           90013654834
737B4655372B29   CHRISTOPHER     FRESON                   CO           90012616553
737B7548271947   KASSIOUS        LOVE                     CO           90012865482
737B8491741227   WESTLEY         ASTON                    PA           51094954917
737B8A96172B44   LOURDES         GONZALEZ                 CO           33091250961
7381137738B142   GREG            CHURCH                   UT           90009983773
73812464772B87   ALEJANDRA       SILVA                    CO           90014904647
738131A528B163   TALISHIA        WILLIAMS                 UT           90011471052
7381576A77B48B   SHAYLA          JENKINS                  NC           90004207607
73816289A33698   HERBERT         GAINEY                   NC           90014402890
7381676A98B163   BRANDY          BUNNEL                   UT           90014707609
7381689A78593B   REBECCA         BLACKBURN                KY           90013348907
73816AA3355947   MARIA           KARACHA                  CA           90011540033
7381B223171947   KALEB           ALLEN                    CO           90011312231
7381B3A937242B   DANIEL          PREMRO                   PA           90001173093
7381B995855966   GLENDA          ORTIZ                    CA           90014579958
738212A238B142   JESSICA         GOURDIN                  UT           90011192023
7382149A731433   DEJA            WILLIAMS                 MO           90011644907
73823197A71921   ADAM            NEWMAN                   CO           90010211970
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7382357847B477   NAYJA              JOHNSON              NC           90001375784
73824952472B32   DANNY              MEDINA               CO           90013559524
73826A14571921   SABRINA            BONNER               CO           32072160145
7382774A341237   CARA               WINTERHALTER         PA           51042027403
73828842A55966   JOSEPH             BAZE                 CA           90011808420
73829761872B87   MIKE               JONES                CO           90008817618
7382B455271921   JOSH               LIFA                 CO           90014704552
7382B777155939   ALYSHA             HERNANDEZ            CA           90014697771
7383141682B271   ALEXIS             CHANEL               VA           90006604168
73831749572B29   ALIBERDO           GREIGO               CO           90012887495
7383176687B477   KEISHA             MCCORMICK            NC           90011357668
738322A792B994   BAKER              AMRANI               CA           90013762079
73832716572B32   COREY              CLIFF                CO           90013897165
73833514A71921   BRITTANIE          WHELAN               CO           32009525140
73834319372B32   LLUVIA             GUILLEN              CO           90009453193
7383741618B168   CELINA             CALVILLO             UT           31073624161
738393A1433698   PEDRO              HERNANDEZ            NC           90014163014
7383B238772B32   SAVANNAH           BERNHARD             CO           90010912387
73849329672B29   CANDICE            CORDOVA              CO           90013993296
7384956342B271   BRANDON            CLAK                 DC           90013005634
7384B3AA88B142   DUSTIN             SMITH                UT           31003493008
7385179A22B271   HERBERTH ANTONIO   MARTINEZ             DC           90012387902
73851A41731432   ASHLEY             THOMPSON             MO           90012500417
7385458A855947   FRANK              COTA                 CA           90014705808
7385899215B347   LENY               TAN                  OR           44514599921
73858A8488B142   ALLISON            RAMIREZ              UT           90008580848
738594A8372441   JOHN               SMITH                PA           90012054083
73861213872B23   JOHN               SAINDO               CO           90011072138
7386198638593B   ROBERT             CLAYPOOL             KY           90005579863
73865A3437B477   STEVEN             ROBINSON             NC           90013370343
73865A6649154B   ABEL               LOPEZ                TX           90010740664
73868526A72B87   JESSICA            LOCKWOOD             CO           90013665260
7386B689772B29   JESSICA            SCHROEDER            CO           90008026897
7387187259154B   RICHARD            HARBISON             TX           90010378725
738728AAA72B32   ELIZABETH          MOORE                CO           33063868000
7387BA86971947   GINGER             TRUJILLO             CO           32052200869
7388187789154B   ALBERTO            GERARDO              TX           90013378778
73887A2977B477   MIZAEL             MORALES              NC           90012800297
7388926868B168   LYLE               KINIKINI             UT           90006622686
7388946623B325   JOSE               ALVIZO TORRES        CO           90007134662
7389112277B477   DEMETRIUS          BROWN                NC           90012831227
7389118378B163   RICHARD            BOSLEY               UT           90013141837
7389321618B163   MAGA               AVILA                UT           90014672161
738949A2631433   KENNETH            BRUTCHER             MO           90006269026
738957A8272441   STACEY             SCHERFEL             PA           90010887082
73896984A8B142   MATTHEW            DRAPER               UT           90012479840
7389B311655966   CYNTHIA            GARCIA               CA           90010683116
738B119218B142   ERICA              BURGESS              UT           90013841921
738B2657271921   ISRAEL             FLORES               CO           90011036572
738B3685655939   EDDIE              FONSECA              CA           90010996856
738B5163972B87   SEAN               LUTHER               CO           90012981639
738B897668B163   CODI               BAILEY               UT           90014699766
738B8A2168B157   DANNY              MONTOYA              UT           90009680216
738B8A58233699   STEVEN             MOORE                NC           90011610582
739116A3A2B271   DIONTA             KING                 DC           90008646030
7391279292B994   BELEN              GOVEA                CA           90013337929
7391691897B477   DONNELL            GARDNER              NC           11007619189
7391875942B271   JOSE               LOZANO               DC           90013667594
73918885272B29   ALEJANDRINA        CORAL                CO           90009958852
7391921618B163   MAGA               AVILA                UT           90014672161
7392162817B477   JULIO              VENTURA              NC           90007276281
73923232172B44   ANTHONY            HOLCOMB              CO           90008632321
7392469762B271   RALPH              THOMAS               DC           90012996976
739253A5872B29   DOUGLAS            SMALLCANYON          CO           90014903058
739273A725B59B   NORMA              ACEVES-ARMENDARIZ    NM           90011263072
7393365A441237   CHELSEY            PHILLIPS             PA           90002316504
739351A789154B   EVELYN             PEREZ                TX           75007211078
73936338772B44   MARY               ANDERSON             CO           90007233387
7393658498B163   ISIDRA             MARTINEZ             UT           90012155849
739373A228B134   EDWIN              CHACON               UT           90013803022
7393B166272B32   GABRIEL            VALADEZ              CO           90013821662
7393B22A58B168   KATALINA           CUELLA               UT           90014482205
7394166985B59B   FRANKI             CASTILLO             NM           90009906698
73945712A2B994   MARIA              GARRIDO              CA           90013847120
739478AA631433   KATHERINE          TAYLOR               MO           90008988006
7394B861671921   HASTIN             MOORE                CO           90010908616
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73952AA6641253   AUSTIN         LAMARK                   PA           90014060066
7395325732B994   FRANK          OCHOA                    CA           90014582573
73953683572B44   MICHAEL        VALENZUELA               CO           90012656835
7395445548B134   MICHAEL        CORNWELL                 UT           90013524554
7395446615B347   KRISTINA       VOSMIK                   OR           90009324661
7395618228B163   CORY           MILLER                   UT           90013531822
7395913623168B   REYNALDA       BERNARDINO               KS           22034351362
7395B173155947   MARIA          RUIZ                     CA           49041031731
73961A5A83168B   KENNETH        SAYLES                   KS           90010580508
73963122972B44   BOBBY          LEYBA                    CO           90009471229
7396467735B59B   FRED           LIPPI                    NM           90013776773
7396547998B168   REBECCA        ALBISTON                 UT           90014484799
73968153A84322   EMMANUEL       ADAME                    SC           90014941530
73968458A7B477   SILVESTRE      JIMENEZ                  NC           90012894580
7396883982B994   EFRAIN         VARGAS                   CA           90013638398
7396994782B271   DWAYNE         MURRAY                   DC           90015339478
7396B126172421   LISA           MUTTER                   PA           90013931261
73971247272B44   STEVE          MANCHEGO                 CO           90008632472
7397248928B163   MATT           OLSON                    UT           90015304892
73973A1688B163   SHARON         ROBERTS                  UT           90012130168
7397482327B477   DENNISE        HINOJOSA                 NC           90010318232
739816A159372B   ASHLEIGH       SMITH                    OH           90008476015
7398219439154B   JAZMIN         BENITEZ                  TX           90014831943
7398272237B477   KATHERINE      CRADDUCK                 NC           90000417223
7398374515B59B   REBECCA        ORTIZ                    NM           90014557451
7398557365B347   ANALILIA       ROSAS-VALENCIA           OR           90010155736
739857A3A55966   MARIA          SANCHEZ                  CA           90011827030
7398595448B163   ANA            TORRES                   UT           90011359544
73986179A55966   ERNESTO        CHAIREZ                  CA           90013311790
7398688322B994   LUIS           BARAJAS                  CA           90013688832
7398754A18B32B   PAULINE        BREWER                   SC           90008315401
7398886A88B142   CHRISTA        MILLER                   UT           90012448608
73989951A8B163   SHALYNN        MENDONCA                 UT           90014709510
73989A6A171947   NICHOLAS       MOORE                    CO           90012300601
7398B674155966   BLANCA         SANCHEZ                  CA           90011826741
73991AA878B168   PEDRO          HABLADO BARAJAS          UT           90014810087
7399234867B477   JASWANT        SINGH                    NC           90013063486
7399235748B134   CINDY          BARNES                   UT           90012663574
7399283A28B163   RICCI          ALEXANDER                UT           90014738302
7399458348B134   ROY            DRODDY                   UT           31057555834
73995616A93739   JAVIER         HERNANDEZ                OH           90008146160
73999253472B44   DAE-JON        MCQUEEN                  CO           90008632534
739B2827355939   EDGAR          CASTELLANOS              CA           90013028273
739B3333472B32   ANDREA         VEGA                     CO           90012823334
739B3367672B2B   BRITTNY        ALAHMAD                  CO           90008523676
739B3672271921   KATHLEEN       EASTMAN                  CO           90007746722
739B493169154B   JOSE           TORRES                   TX           90005779316
739B549735B59B   MARVIS         ANDERSON                 NM           90014804973
739B572415B347   EMI            SOGA                     OR           90010627241
739B741138B142   SHELBIE        BLISS                    UT           90009324113
739B8A1942B271   CHARLES        REED                     DC           90006440194
73B12397271947   RAYMUNDO       CORDOBA                  CO           90012073972
73B14744784322   LANDON         HORNE                    SC           90010287447
73B16496671921   KACY           BAKER                    CO           90013984966
73B17928A55966   MARCOS         LOPEZ                    CA           90005039280
73B17A2368B32B   NICOLE         CABRERA                  SC           90001460236
73B1878155B169   LYTINA         HOLMES                   AR           23071757815
73B1B66528B134   SHERRY         VALDEZ                   UT           31091356652
73B1B742886433   ANDREW         BARBHAM                  SC           90014267428
73B21716672479   TAMEKA         SHAWN                    PA           90012627166
73B241A3671921   ANNAH          HENDRA                   CO           90014291036
73B26311557157   GUSTAVO        GUSTAVO                  VA           81006183115
73B2733492B271   PAUL           WALKER                   DC           90014713349
73B27423291572   DOLORES        HUANTE                   TX           90012984232
73B27A2445B347   SARAH          LARSEN                   OR           90014140244
73B29158A71947   BRENDA         HANES                    CO           90013651580
73B29451A91945   GLADIS         CHACON                   NC           17091454510
73B29AA6671921   JASON          LEWIS                    CO           90013710066
73B3267675B347   RON            CHANDLER                 OR           90004396767
73B3391A493739   KHOREE         HANCOCK                  OH           90004559104
73B33925477573   JAMES          CRAWSHAW                 NV           90011179254
73B3423837B477   SHABRIA        KELLY                    NC           90014552383
73B3541217B477   SHAREKA        PATTERSON                NC           90014564121
73B3578439154B   DEISSY         TREJO                    TX           90004317843
73B37652441237   KIMBERLY       JONES                    PA           90013966524
73B3791A88593B   PHILLIP        LANE                     KY           90013479108
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73B3914653168B   JOE            MALDONADO                KS           90013461465
73B39A54A8B168   RAFAEL         BECERRA                  UT           90014310540
73B3B1A4431433   SHAYLA         CRAWFORD                 MO           90002431044
73B4161A38B163   CRISTINA       CHRISTENSEN              UT           90014646103
73B43687671947   STEPHANIE      BETTS                    CO           90009006876
73B45319831432   KIARRA         FRANKLIN                 MO           90013023198
73B4562A672479   SHANNON        FORSYTHE                 PA           90012446206
73B45957884369   SAMUEL         SIMMONS                  SC           90004619578
73B4645A755947   ALICE          DIAZ                     CA           49003034507
73B46475257147   JESSICA        ESPARZA                  VA           90008474752
73B46A27771921   MARK           CANETE                   CO           90013690277
73B48417133699   PATRICIA       PALMER                   NC           90014104171
73B48894955947   ALEXANDER      IBARRA                   CA           90012268949
73B49173672B32   JUANA          MOSQUEDA-GONZALEZ        CO           90013041736
73B49763991361   ANA            MENDIOLA                 KS           90013107639
73B4B37A471947   RYLAN          WHITE                    CO           90013823704
73B4B686372441   JAVAD          LINDSAY                  PA           90013856863
73B54348572421   EMPRI          KINNEY                   PA           90011303485
73B55186A61941   CLAUDIA        UGARTE                   CA           90000391860
73B55947955966   ABEE           ALVAREZ                  CA           90014409479
73B5755815B59B   JANETH         FERNANDEZ                NM           90010335581
73B58318371921   ROSEMBERG      PEREZ                    CO           90009043183
73B62A5365B59B   RIGOBERTO      IBUADO                   NM           90010060536
73B6391499154B   MARIE          FLORES                   TX           90012529149
73B63A98971921   BRANDY         LANGE                    CO           90013080989
73B6454775B347   JOSE           CASTANO                  OR           90002745477
73B64744655939   AMBER          AGUIRRE                  CA           90008887446
73B67459A8B157   AGUSTIN        MATA                     UT           90007874590
73B68A76171928   RONTAE         JONES                    CO           90013220761
73B694A7472B87   JOSE           JIMENEZ                  CO           90009084074
73B6958715B596   VERONICA       CASTLEBERRY              NM           90004915871
73B6B874793739   ROBERT         ELLIOTT                  OH           90002278747
73B6B97652B994   VALENTINE      MATHANGANI               CA           90013979765
73B7137675B59B   JOSEPH         GONZALES                 NM           90008163767
73B72A28972B32   LASHEA         EILAND                   CO           90012640289
73B72A66831432   ISAAC          MONROE                   MO           90013780668
73B731A287B477   JONATHAN       MORALES                  NC           11085211028
73B7385722B29B   ERLINDA        MARQUINA                 DC           90008698572
73B75132372479   HEATHER        MOCK                     PA           90008501323
73B7647768B168   BRANDON        CANDELARIO               UT           90012664776
73B77657684322   MARIA          REYNOSO                  SC           14590716576
73B791A7541227   RYAN           HECKER                   PA           90012051075
73B7B27785B347   RICHARD        BAKER                    OR           90010432778
73B7B854671921   BETHANY        ZUBEK                    CO           90013128546
73B82286A31432   SHEMARCEL      ROBERTSON                MO           90009722860
73B8266285B347   DAVID          ALLEN                    OR           90002586628
73B88337A8B142   RAIN           RIGBY                    UT           90002553370
73B88412872421   KYLE           BUCHKO                   PA           90010654128
73B897AA172B32   TIM            GOWDA                    CO           90012747001
73B9116442B994   CHRISTINA      ALVARADO                 CA           90013131644
73B9298A893739   TANIA          TENEZACA                 OH           90014909808
73B94428A7B398   CAROLINA       FERRERAS                 VA           90000264280
73B96133641227   JAMES          AMENDOLA                 PA           51068491336
73B965A6831433   JALAL          EASTERLING               MO           90012995068
73B97A21A55966   LUCY           FIERRO                   CA           90014420210
73B99686772B29   TONI           GONZALES                 CO           90003046867
73BB222145B59B   LEEANNE        PANKEY                   NM           90009272214
73BB259268B163   ERIC           ROSANBALM                UT           31084235926
73BB3696272B32   LYNNETTE M     POWELL                   CO           90008246962
73BB5758672441   DOMINA         MOYE                     PA           51030907586
7411245A88B142   MOSES          GOMEZ                    UT           90010774508
741136A852B994   DANIEL         SMITH                    CA           90013496085
74116A35993726   STACY          CRISWELL                 OH           90010170359
7412365528B163   THOMAS         HUNTER                   UT           90013356552
7412458553168B   AMBER          COOPER                   KS           90003245855
7412474539154B   MAYRA          RENTERIA                 TX           90009197453
74124973372B44   ASMA           MENNANA                  CO           90002489733
7412548258593B   ASHLEY         HALL                     KY           90011104825
7412815462B994   ZIMA           COUSIOLLAS               CA           90013751546
7413293A98B168   MICHAEL        MACFARLANE               UT           90010589309
74133833A8B157   JORGE          GUERRERO                 UT           90013638330
7413545238B168   KAIKA          DROLLINGER               UT           31098134523
74136A6358B157   BOBBY          LETTMAN                  UT           90012920635
7413863A733698   JAMES          TILLMAN                  NC           90014726307
7413936478B163   COLLIN         STRICKLAND               UT           90014623647
74139761376B27   URIEL          MALDONADO                CA           90003317613
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7413B283172B37   ARIANNA            TRUJILLO             CO           90012762831
741412A252B994   SUE                OIEN                 CA           90003432025
74144131772B29   JEREMIAH           CHILDS               CO           90008811317
7414531678B134   AUBRIE             SLOAN                UT           90009513167
7414725327B477   RUBEN              PATINO MARTINEZ      NC           90014592532
7414891A372B37   ALEXIS             SPITZNOGLE           CO           90001919103
741498AA83168B   JUQUEE             GREEN                KS           90012828008
74152832872B44   PATRICIA           PALACIO              CO           33068798328
7415729588593B   CHRISTOPHER        LAUDICK              KY           90012862958
7415874299154B   TRANS FRONT        INC                  TX           90013707429
74158A5145B59B   MICHAEL            SENA                 NM           90011140514
7415978619154B   GUILLERMO          LOZANO               TX           75075717861
7415B499872B32   MARISOL MARTINEZ   RAMOS                CO           90011964998
74161A3988B157   DAVID              THOMAS               UT           90000630398
74166438772B31   LAURA              CASFRUITA            CO           90003424387
741679A915B59B   MARY               PACHECO              NM           90000479091
7416B96417B477   SHANIRA            STROMAN              NC           90015129641
7417162A472B37   LUIS               ARRELLANO            CO           33087266204
741722A2772B87   JOSEPH             ROMERO               CO           90012632027
74173521A9154B   FRANCISCA          CORRALEJO            TX           90014625210
7417732727B477   TERESA             PASTULA              NC           90008063272
7417B41775B59B   JASON              ROMERO               NM           90003164177
74181929A72B25   RAYMONE            BYRD                 CO           90001709290
74181997672B44   ROMAN              MILLER               CO           90012809976
74182358972B37   KHARISSA           MOORE                CO           90005963589
74182597272B32   NATALIE JILL       CISNEROS             CO           90011085972
74185452772B32   TIMMATHY           MILLER               CO           90014224527
74185849872B32   TIMMATHY           MILLER               CO           90013038498
741861A9855939   MARI DE LOURDES    CEDENO               CA           90010611098
74186957A85945   HENRY              HAMBERG              KY           67063129570
741877A8971921   CHRISTOPHER        KENDALL              CO           90009157089
7418B83A25B395   CARO               CREMONIA             OR           90006728302
74191154272B32   LYNN               SCHURR               CO           33070671542
7419232783168B   ERIKA              MORALES              KS           90007323278
7419356685B225   KRISTAL            MONTOYA              KY           90007305668
7419375382B994   SIMRAT             GHAI                 CA           90012547538
74193A12661967   JOHN               JOHNSON              CA           90008620126
74195AA5272B44   WILLIAM            NEWTON               CO           90012810052
74196471772B44   CAIN               KELMAN               CO           90013674717
7419964888B168   TORI               CARTER               UT           31061436488
7419B88667B477   CHERIE             FERRANTELLO          SC           11094628866
7419BA53185945   GENARO             MORALES              KY           67014490531
741B2AA1872B87   DONALYA            FARROW               CO           90012780018
741B3956393726   MANUEL             BUCIO                OH           90013929563
741B5125272441   LORA               LEICHLITER           PA           90007821252
741B5441271921   ELICIA             PEREZ                CO           90003594412
741B5484A72441   LORA               LEICHLITER           PA           90014694840
741B692239154B   LUIS               PEREZ                TX           90010559223
741B7AA8472B87   COLEENE            WANSER               CO           90011300084
741B84A588593B   DUSTIN             DILLION              KY           90013774058
741B9786285945   GABRIEL            BETANCOURT           KY           90012117862
74211385A72B37   ALEXA              CORONA               CO           90011643850
74212172472B37   KIMBERLY           PATERSON             CO           90013801724
742128A472B994   SARAH              GARRET               CA           90013318047
7421751398B163   ROXANNE            CLAYTON              UT           31010705139
742198A2672441   ANTHONY            SMITH                PA           90010118026
7421B18899154B   ENRIQUEZ           NICOLE               TX           90010561889
7421B59973168B   DOMONICA           FINCH                KS           90011465997
7421B847272B87   DOUGLAS            THOMAS               CO           90013918472
742238A4133698   LINDSAY            WARREN               NC           90015188041
7422771328B134   HOUSTON            NEFF                 UT           90014667132
74228438A31433   PAYGO              IVR ACTIVATION       MO           90013404380
74234974A72B44   ERNEST             SMITH                CO           90010959740
74235465672B32   DIEGO              MARTIN               CO           90010934656
7423766A993726   JOSEPH             SARVELLO             OH           64540086609
7423949517B427   BLANCKA            MERIDA               NC           90010744951
74239999A72B37   HAROLD             ALLEN                CO           90008489990
742415AA171921   TINA               FRANCESHI            CO           32088365001
74243786A31432   BYUNGHEE           PARK                 MO           90007687860
7424847A631443   SEAN               BIELICKE             MO           27525134706
74248872A93739   CHRISTINE          BURGETT              OH           64539188720
74249A12741253   BRYON              JEMISON              PA           90014450127
7424B7A6172B37   MICKEY             ARGUELLO             CO           90014427061
74251479772B44   LESLIE             RODRIGUEZ            CO           90007654797
7425223719154B   RITA               LOPEZ                TX           90012392371
74254252172B87   JEREMIAH           COLLIER              CO           90008742521
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7425567429154B   VERONICA       VEGA                     TX           90014336742
74257A5A65B225   SEAN           COLYER                   KY           90014120506
7425B52799154B   DUSTIN         MILAM                    TX           90004175279
74263239A72421   RICK           CIRELLI                  PA           90013742390
742754A3572B29   JANAE          JACKSON                  CO           90011154035
742757A6572B44   XAVIER         ALVARADO                 CO           90013027065
74277871A31432   ANTONIO        WHITESIDE                MO           90009328710
7427B254541237   SUSAN          SHARER                   PA           90014832545
74282A37A8B157   CAMACHO        ALFREDO                  UT           31078150370
7428453518B142   DAVID          OLSEN                    UT           90014005351
74289123672B87   NICHOLAS       PAVLOVICH                CO           90011961236
7428B753431432   CAQWEENA       SEALS                    MO           90004887534
74292991A31433   BONITA         SCOTT                    MO           90014649910
7429358718B163   LACYNTHIA      SPEAN                    UT           90014485871
7429546278B142   SHERRI         FOWLER                   UT           90012784627
7429558718B163   LACYNTHIA      SPEAN                    UT           90014485871
74296A51772B44   CELIA          FRAUSTO                  CO           90014000517
7429724618B168   LUIS           CERRITENO                UT           90011152461
74299233A72B29   LEONELA        RODRIGUEZ                CO           90012452330
7429B59599154B   OSCAR          RIVERA                   TX           90012405959
7429B712A72B32   SARA           ROSALES                  CO           90009797120
742B2633255939   JUVENAL        MENDOZA                  CA           90012996332
742B3275984355   MELVIN         HOLLIDAY                 SC           90013632759
742B4468A33643   TOMMY          BALDWIN                  NC           90013254680
742B4958A71921   BRENDA         GALLEY                   CO           90010959580
742B5549672B32   MAXIMILIANO    AVILA                    CO           90012895496
742B62A8231433   ISSAC          HARDWRICT                MO           90013822082
742B6AA5633698   ADRIAN         HIDALGO                  NC           90012790056
742B7246571921   LISA           KELSO                    CO           90014542465
742B8124672B87   CHRISTINE      PEREZ                    CO           90009181246
742B8A6355B59B   LAURA          GUTIERREZ                NM           90011140635
742BB995355939   ISAAC          TIJERINA                 CA           90013529953
7431136859154B   JOSE L         DOMINGUEZ                TX           90013923685
74312374172B29   JUAN           AYALA GRIMALDO           CO           90014603741
7431724A172B29   GINA           JENKS                    CO           90014112401
7431791565B225   ITZEL          GONZZALEZ                KY           90012709156
7431934178593B   RAVEN          PANGALLO                 KY           90013393417
7431B112A8B142   DANA           CISTERNA                 UT           31053211120
7431B58718B163   LACYNTHIA      SPEAN                    UT           90014485871
7432221178B142   AMANDA         BENNION                  UT           31052602117
7432286316193B   LILIA          POMPA                    CA           90011808631
743231A2461951   CESAR          RODRIGUEZ-ORTEGA         CA           90011661024
74325A9688B134   JED            R SKEEN                  UT           90011870968
7432615742B994   JUSTIN         JOHNSON-HASH             CA           90010181574
743286AA18593B   MACHELLE       MILES                    KY           90007976001
7433287A25B59B   ILSIA          ROBLES                   NM           90010398702
74335512672B37   WANITA         ARCHAMBAULT              CO           90014445126
743358A448B163   JESSIE         CORDOVA                  UT           90013068044
7433766AA2B994   IGNACIO        ROBLES                   CA           90012076600
74338692172B32   WALTER         SEEGRIST                 CO           33007396921
7433B367A72479   CHRISTOPHER    KELLEY                   PA           90013723670
7434173572B271   TEUM           WOLDU                    DC           90000337357
74342516472B44   ZANE           KELLY                    CO           90011045164
74342A7A172B29   DAVID          HERNANDEZ                CO           90012980701
7434314A172421   CHRISTOPHE     CAHN                     PA           90012721401
74346539772B32   AMY            GREGG                    CO           90012825397
74346A19472B44   PEDRO          BENITES                  CO           90012810194
7434772188B142   LILIAN         CERVENTTE                UT           90009047218
7434845448B142   HERSCHEL       HALL                     UT           90012414544
7434BA1619154B   ANGEL          MARTINEZ                 TX           90010990161
7435378949154B   THOMAS         WEST                     TX           90006667894
74353A7415593B   CHARLES        PARRISH                  CA           49096520741
7435613AA41253   AMY            DAVIS                    PA           90010051300
7435875695B59B   ROBERTO        HERNANDEZ                NM           90011587569
74358A19972B44   ANGELINA       WILLIAMS                 CO           90012810199
7435B175A93728   DERRICKA       ALLEN                    OH           90009671750
743622A2141253   MARY           FREEMAN                  PA           90011082021
743636A3971921   SHAWNNA        EMILIO                   CO           32011736039
7436494159154B   CARLOS         PACIENCIA                TX           90011399415
74365A1258B168   JANNA          FORD                     UT           31006530125
7436693A62B994   EMILY          SCHWARTZ                 CA           90002709306
74366A7A25B331   THORSEN        APRIL                    OR           90010090702
7436B149272B29   LATISHA        BURMINGHAM               CO           33001711492
7436B1A488B163   WILLIAN        MOGUEZ                   UT           90013091048
7436B98A372441   TIFFANY        PIEPERZYK                PA           90007919803
7437346445B59B   ROSE           SANCHEZ                  NM           90012654644
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74374168972B32   MICHAEL         GONZALES                 CO           90007241689
7437733368B17B   MAXIMO          AGUILAR HERNANDEZ        UT           90006473336
7438634A47B477   STEFANIE        TOWLES                   NC           90012283404
74386441172B44   DAVID           DEBUS                    CO           33054404411
74388214872B44   JORGE           ARAIZA                   CO           90014792148
7439163918B134   JOSE            CHAVEZ                   UT           90008456391
743927A5172B44   RONALD          DELFINO                  CO           90014607051
7439428912B994   ANGELICA        ALMARAZ                  CA           90012492891
7439451453168B   WILLIAM         JAVIER                   KS           90011995145
743947AA53168B   LYNN            STEWART                  KS           90013687005
74394973172B37   SAUL            FLORES                   CO           90002019731
74399559472B44   ROBIN           FURBAY                   CO           90013485594
743B2269272B98   ALBERTO         TEHUINTLE-TEPOLE         CO           90012082692
743B235812B869   ALISON          CROW                     ID           90001763581
743B265A29154B   DIANA           RUIZ                     TX           90013196502
743B4517A93726   DANIEL          SHOEMAKER                OH           90014485170
743B6393872B87   LUZ             GODOY                    CO           90011583938
743B7267841227   ROBERT          SCHAFER                  PA           90002422678
743B819249154B   JOSE            COVARRUBIAS              TX           90014261924
743B9292385932   MICHAEL         DAVIS                    KY           90011872923
7441533A441237   CHERYL          WALLACE                  PA           90005613304
744189A1371948   TRAVIS          STILES                   CO           32072889013
7441BA19472B44   PEDRO           BENITES                  CO           90012810194
7442158A993739   JUAN PABLO      CACIQUE                  OH           90009455809
7442583887B477   OMAR            ANDRES                   NC           90012318388
744283A3A72421   JACOB           DIPERNA                  PA           90006023030
74432699972B32   STEPHANI        BALTAZAR                 CO           33066686999
74434867772B87   MATTHEW         ORTIZ                    CO           90010378677
74438A77185945   JESSICA         WHITE                    KY           90010710771
74439A65585945   DIONA           ROBINSON                 KY           67067610655
74442181A8593B   ANNA            NICHOLSON                KY           90009551810
744432A668B163   ARMANDO         GOMEZ                    UT           90014492066
74446728772B37   ALFONSO         CALDERA                  CO           90014427287
74447494372B37   MILTON          CABRERA                  CO           90005614943
7444B225A3168B   JORGE           ROMERO                   KS           90010832250
7445156988B163   DIANA           PATOULI                  UT           90013075698
744539A3533699   TYESHIA         MCCULLOUGH               NC           12008729035
744553AA572B37   LALO            VASQUEZ                  CO           90009093005
74458215372B44   AYRN            HAYES                    CO           90010332153
7446232562B994   STEPHEN         CASTRO                   CA           90012043256
744636A395B225   TAYLOR          CALVERT                  KY           90013826039
74467387A72B32   MARGARITO       NUNEZ DE LA CRUZ         CO           90010263870
7447159228593B   CAMELIA         EVANS                    KY           90013385922
744734A2531432   MARCUS          HOLLOWAY                 MO           90013904025
7447431418B134   SHELLEY         YOUNG                    UT           90013873141
7447518948B157   JON             BATY                     UT           90013151894
74475828972B44   MONICA          ROBLES                   CO           33092198289
7447732638593B   ANTHONY         BUTTS                    KY           90012863263
744789A5A55939   MELISSA         CANTU                    CA           90014929050
7448243428B163   VINCENT         WILLIAM                  UT           90012954342
744846A3A31443   KANDI           BARNES                   MO           90008096030
7448541315B225   CHANNON         CAREY                    KY           90005594131
7448584A45B59B   MICHELE         RIGHTLEY                 NM           35008908404
744879A198B157   JEZIMIEL        AVALOS                   UT           90013639019
7448B736472B87   SAMUEL          PERAZA                   CO           90013277364
74494528172B32   DANIEL          SMITH                    CO           90013345281
7449526A671921   JOSHUA          ROBINSON                 CO           90014372606
74497A91272B87   ABEL            ORTIZ GARCIA             CO           90011300912
74499489372B37   RAMON           ROJO                     CO           90011644893
74499A51572479   JENNIFER        SINES                    PA           90014570515
7449BA67531443   TERRELL         GREEN                    MO           90013040675
744B178A272B37   TANYEL          GONZALES                 CO           90015167802
744B1998A31443   JE HANNE        HENDERSON                MO           27511449980
744B284193168B   ANNETTE         WITHROW                  KS           90011068419
744B3153593726   ROBERT          COLLIER                  OH           90013591535
744B3968541237   KEIANA          GRAY                     PA           90007969685
744B396879154B   SALVADOR        MENESES                  TX           90013529687
744B4324A72441   JAYACE          WILLIAMS                 PA           90009573240
744B4653871921   BRANDON         WARD                     CO           32006016538
744B4665355939   DAISY           NUNEZ                    CA           90013156653
744B5139372B87   ADAM            LUJAN                    CO           90007511393
744B5478472B29   RYAN            BACA                     CO           90012354784
744B6452A72B87   ANDRES          ZAZUETA                  CO           90013074520
744B7688272B87   MIRACLE         ARAGON                   CO           33036186882
744B8AA4641237   JOSEPH          PAUL                     PA           51032930046
74514157A8B157   JOHNATHAN       CHADWICK                 UT           90014361570
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7451465A972B44   JASMINE         GOODRICH                 CO           90007316509
74515614472B29   JESSICA         LOPEZ                    CO           90006306144
7451653663168B   JOSHUA          MCDANIEL                 KS           22007475366
7451717855B225   ANGELA          MCKINLEY                 KY           90013601785
745174A3A72479   THOMAS          MARINKOVICH              PA           90015124030
74518A5998B157   THOMAS          MARTIN                   UT           31032940599
74524485A93726   NOEMI           JIMENEZ                  OH           90003634850
745269A9241253   IRIS            SESAY                    PA           51051309092
74529A63772421   HARRY           DOLENCE                  PA           90004730637
74531853472B87   LORENA          GORDON                   CO           33000448534
7453353848B134   TRISHA          WINN                     UT           90014295384
7453393938B168   ERNESTINA       SOTO                     UT           90011779393
74542A28472B44   VANISHA         ESPINOZA                 CO           90014100284
7454721747B477   DAPHNE          JONES                    NC           90009782174
7454788478B134   JENNIFER        BALLAINE                 UT           90007728847
74549214372B37   DYLAN           STARNES                  CO           90008202143
7454B547493739   WILLIAMS        ANTONIO                  OH           90011005474
74551116A31432   MATHEW          PARTAIN                  MO           90014891160
7455161838B134   AGUSTIN         HERNANDEZ                UT           90013006183
7455298683168B   KALEB           SHOCK                    KS           90014449868
7455499655B225   PATRICIA        GONSALEZ                 KY           90012729965
7455767AA8B142   NICHOLE         BRADLEY                  UT           90012746700
74558513872B44   JOHN            CHRISTOPHER              CO           90008365138
7455955695B225   RODNEY          JACKSON                  KY           90013145569
745599A6771921   TROY            SCHMIDT                  CO           90013679067
7455B88A372421   TARYN           NICHOLSON                PA           90010308803
745635A1472B37   JOSE            CHAVEZ                   CO           90011645014
745676A455B225   JENNIFER        BOSTIC                   KY           90013146045
7456B572233698   CATINA          BATTLE                   NC           90010295722
745713A743B38B   FELIX           CORCHADO                 CO           90002323074
74573275372B44   RASHAUNDA       AMERSON                  CO           90009932753
7457565628B134   JOSEPH          MAURIELLO                UT           90013706562
74575A1288B134   WALTER          SMITH                    UT           90014540128
74577942772B87   JASON           BLUMER                   CO           90013039427
74577A59341237   GABRIELLA       KIPANGA                  PA           90012080593
7458186A572B87   ALLYSON         SCHERMERHORN             CO           90014988605
74581A34372B37   BRITTANY        SOBIESKI                 CO           90012630343
7458373338B142   TIMOTHY         DEWBERRY                 UT           90010797333
7458547588B163   FRANCES         PRIDGEN                  UT           90012594758
74585A1258593B   SHERRY          PRATHER                  KY           90013340125
7458648457B477   MALI            NABINTU                  NC           90007984845
74586652A71921   DAVID           ORR                      CO           90013016520
74586A33A3168B   STEVEN          HEADLEY                  KS           90012010330
74587A1A372B87   JONATHAN        PERKINS                  CO           90014920103
7458825998B163   SHAWN           CHRISTENSEN              UT           90008662599
745936A455B225   JENNIFER        BOSTIC                   KY           90013146045
74598871A72B29   CHRISTIAN       BERNAL                   CO           90012248710
745B235535B59B   LAURA           DUARTE VELEZ             NM           90000213553
745B3637191586   TORRES          JULIO                    TX           90010896371
745B397A83168B   ELENA           TURNER                   KS           22014249708
745B435968B142   AMANDA          LHUNSAKER                UT           90008053596
745B5589871948   BRANDON         TURRENTINE               CO           90006965898
745B6227171921   VERONICA        LOAIZA                   CO           90005522271
745B6718755939   MARIA           GARCIA                   CA           90012917187
745B8884A72B44   JOHN            TYRA                     CO           90011378840
745B9A83172479   JAMES           ROBERTS                  PA           90014480831
745BB117685945   COURTNEY        LEAR                     KY           90011291176
745BB358972B37   KHARISSA        MOORE                    CO           90005963589
74614973A41237   DHADI           RAM CHHETRI              PA           90011719730
74618668172B37   ESPERANZA       CASTRO_VEGA              CO           33094156681
746186A8531443   GREGORY         SANCHEZ                  MO           90008886085
74623228A8B134   STEPHANIE       BLEAZARD                 UT           90015282280
74623931A93739   LAVERN          HUDSON                   OH           90013479310
7462593958593B   KRIS            BROWN                    KY           90014799395
7462978A941253   MELISSA         REGAN                    PA           90014837809
7463262195B59B   NICHOLAS        CORDOVA                  NM           90012686219
7463629469154B   SARAHI          TORRES                   TX           90010822946
7463716978B168   KEVIN           CAMPBELL                 UT           31081821697
7463811A838522   BRITTANY        ANGELL                   UT           90011891108
7463867228B134   ANTONIO         SOLO                     UT           90004006722
7464354598B157   SUSANA          GARCIA                   UT           90010625459
7464388488B134   TONYA           MARTIN                   UT           90012478848
74645166672B87   BRITTNEY        ORR                      CO           90013841666
74645674A31443   JEFFREY         WAGGONER                 MO           90013626740
746475A618B189   N KATIE         ROSE                     UT           31087505061
7464B783472B32   BRANDON         OGDEN                    CO           90013587834
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746579A6972B32   KOHL           DRESDEN                  CO           90014729069
7465956325B384   AKEMI          KANEGAE                  OR           44509605632
7465B8A4133698   LINDSAY        WARREN                   NC           90015188041
74661477572B87   BRIAN          JOHNSON                  CO           90013084775
7466538938B134   JAMES          WADLEY                   UT           31003793893
7466B349971948   SATIVA         PATTERSON                CO           90013853499
74673692572B87   CORY           MICKALIGER               CO           33094856925
7467398543168B   PURNELL        THOMAS                   KS           90013439854
746744A848B134   JOSE           ESPINOZA                 UT           90014754084
746748A4133698   LINDSAY        WARREN                   NC           90015188041
7467B254772479   RAVEN          RANDALL                  PA           90013352547
7467BA7AA71921   MARQUITA       SANDERS                  CO           90010940700
7468182988B163   CHRISTIE       SOMMERS                  UT           90014498298
7468614788B142   PATRIK         PETERSON                 UT           31027081478
7468628138B163   MATTHEW        VALDEZ                   UT           31090642813
7469213AA41253   AMY            DAVIS                    PA           90010051300
7469664849154B   BENITO         CANO                     TX           90010576484
74699471372B37   KATIE          FOSHEE                   CO           90013254713
746B2129272B32   BRITTANY       BOBO                     CO           90014641292
746B2389231433   RICHARD        TAYLOR                   MO           90011103892
746B289395B384   RAFAEL         GARCIA                   OR           90002868939
746B7643793739   DONALD         NISCHWITZ                OH           90013916437
746B7647A57147   JACQUELINE     SHELTON                  VA           81010926470
746B7772885945   KIERRA         JOSEPH                   KY           90010577728
746BB84177B477   DILVER         PEREIRA                  NC           90011478417
747124A8241237   PATRICE        LEARY                    PA           90014454082
7471293168B163   JUAN           TRUJILLO                 UT           90004259316
747138A7631443   MARY           SOLOMON                  MO           90014208076
74713A16572B44   ERIC           LOPEZ                    CO           90010870165
74714782772B44   SHAKAILA       PROULX                   CO           90013427827
747188A6972421   RYAN           TRESATTI                 PA           90013098069
7471B849931433   WHITNEE        SPIGHT                   MO           90014228499
747233A248B157   VINCE          RODRIGUEZ                UT           90013073024
74726682527B98   BRIANNA        WILLIAMS                 KY           90012886825
74726A1438593B   ISAHA          DEAN                     KY           90012660143
74729A53931433   JALEEL         WILSON                   MO           90013760539
74737359A33698   UNETTA         MARSHUN                  NC           90013723590
7473B545972B37   MARIA          RAMIREZ                  CO           90011645459
7474229278B142   CORY           CAMPBELL                 UT           90013752927
74743438572B21   MATTHEW        MACHETTA                 CO           90003204385
74746273A5B225   SHAWN          SHOAF                    KY           90014152730
74747A6198B168   JUAN           TENORIO                  UT           90005020619
7474812525B225   BRANDON        STIVERS                  KY           90012801252
74748836A9154B   CYNTHIA        FLORES                   TX           90012738360
7474B38A78B163   DEBORAH        MEDINA                   UT           90014493807
7474B44618B157   LAURA          SOTO                     UT           90014054461
7475147242B869   ROY            SMITH                    ID           90001294724
74754A87972B29   SALVADOR       PROPEZA                  CO           90009280879
7475715A772B44   AARON          DEMARE                   CO           33084121507
747571A3A8B168   TRAVIS         ZABRISKIE                UT           90010591030
74761911A31443   SIERRA         PAYNE                    MO           90011149110
7476386448B142   JORDAN         LEWIS                    UT           90007988644
74765358772B37   SERENITY       SALIS                    CO           33089533587
74766553A7B477   ANA            SILVA                    NC           11010525530
74771AA1A41237   PAYNE          ROBERT                   PA           90013860010
74772578572B35   JOSHUA         MILLER                   CO           90013535785
74774A6378B157   AUSTIN         LUCAS                    UT           90014340637
7477517A88B157   THINNAKHON     PHENGPASTUT              UT           90000311708
7477779682B994   AUSTIN         CARLSON                  CA           90013047968
747781A115B241   MARY           MCDONALD                 KY           90009471011
7477848A481643   CAROLINE       BOURDLAIS                MO           29050754804
7477B74579154B   LUZ            SALDANA                  TX           90010577457
7478217168B163   HOLLY          SORENSEN                 UT           90013131716
74783128272B87   MARISELA       SANTIAN                  CO           90012801282
7478452357B477   DILCIA         POLANCE                  NC           90003765235
7478919237B477   LAWRENCE       EADDY                    NC           90014851923
7478B44A372B32   ROCIO          MONTOYA                  CO           90012794403
74792144372B44   MAGALY         NAJERA                   CO           90013321443
7479334A15B225   GRETCHEN       SNYDER                   KY           68001833401
7479375318B134   ALFONSO        COLLACO                  UT           90013317531
7479443158B134   ANGELA         BROWN                    UT           90012294315
7479448118B134   BROWN          MARIE                    UT           90009404811
74799A13972B87   ZORAYDA        DOMINGUEZ                CO           90012780139
7479B416141253   ROBERT         DECARIO                  PA           90013844161
747B2295271921   BRITTANY       VELEZ                    CO           90010532952
747B2A49171948   DERELLE        LEWIS                    CO           90004600491
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747B5948572B87   ADELA             BERNAL                CO           90013209485
747B61A2A5B59B   CESAR             TORREZ                NM           90012061020
747B957827B477   ANTOINETTE        DIXON                 NC           90015015782
747BB522A8B134   MONICA            GARCIA                UT           90007635220
74811169A85945   MONICA            MEZA                  KY           90010591690
74813A23855939   MODESTO           LOPEZ                 CA           90013250238
74813A73931443   BLANCA            DE LA TORRE           MO           90010690739
74814485A72B44   DEAJEON           ARMSTRONG             CO           90013934850
7481574645B225   RENEE             BERRY                 KY           90012437464
7481666788B163   TREVIN            HASSON                UT           90012726678
748167A3872B44   EPPERSON          ANGELINA              CO           90010627038
748174A4572455   GUY               KLAUS                 PA           90011394045
7481828487B477   UNKNOWN           NAME                  NC           90010682848
7481851AA9137B   TRAVIS            RULE                  MO           90007745100
7481858848B134   ROBERT            CLIFFORD              UT           90011055884
7482675318B134   ALFONSO           COLLACO               UT           90013317531
7482913A572B98   MAYRA             CORONADO              CO           90010011305
748293A388B157   RICARDO           ALVARADO              UT           90015323038
74832243672B87   ACCOUNT1          ACCOUNT2              CO           90014952436
74833377472B32   JORGE             C RAMIREZ             CO           90012833774
7483528138B157   LESA              WILIAMS               UT           90011052813
7483573159154B   DAVID             ODELL                 TX           75080767315
74845761572B44   MARIA GUADALUPE   MUNOZ                 CO           90013297615
7484597779154B   LORENA            RODRIGUEZ             TX           90010729777
74845A68A3168B   GENEVA            HUSK                  KS           90013170680
748528A715B225   RON               TRAYNOR               KY           90013598071
7485327A38B157   DON               HATCH                 UT           90013982703
7485799A872B32   FRANK             BERKE                 CO           90012069908
7485816257B477   NATHANIEL         CHANDLER              NC           90014351625
74859953A33698   JRUC              ANDRONG               NC           90012609530
7485B26388B134   SHAUNELL          HARRIS                UT           90010902638
7485B8AA733698   TERESA            WALLINGTON            NC           90014868007
7485B98448B134   SHAKER            AL-DIKHIL             UT           90013149844
7486156628B163   JONNY             CHRISTENSEN           UT           31041505662
74868131A8B142   MATTHEW           WARREN                UT           90014251310
7487333678B157   RACHEL            GALLACHER             UT           31098393367
74876322372B44   EMILY             PEDROZA               CO           33076993223
7487692519154B   ELIZABETH         NUNEZ                 TX           90010579251
7487796879154B   SALVADOR          MENESES               TX           90013529687
7487858839154B   IDALIA P          GONZALEZ SAENZ        TX           90010235883
7487988A431432   DEANDREA          OWENS                 MO           90011408804
74884417872B87   ADRIANA           HERRERA               CO           90013754178
74884776172B37   FRANCISCO         CALDERON              CO           33050447761
74884A61972B44   OFELA             VILLAUBA              CO           90010960619
74885415A2B35B   CORY              NIXON                 CT           90014384150
748893A3772441   MATT              NICHOL                PA           51000393037
7488946938B134   TALISHIA          WILLIAMS              UT           90014854693
74891575872B44   KRISTI            ROBLES                CO           33012375758
7489171358B142   TYSON             GALLY                 UT           90007097135
7489292947322B   LUIS              ELAIS                 NJ           90014469294
7489471143168B   MEGAN             BUROUGHS              KS           90013687114
748967A7172B44   BRANDY            ANN HINSKTON          CO           90012817071
748981A467B477   MIGUEL            GONZALEZ              NC           90001441046
74898367233B32   SANDRA            CERVANTES CUEVAS      OH           90013963672
7489B18938B157   REBACA            GRANADA               UT           90014961893
748B4478172B44   TIERRA            GILBREATH             CO           90013414781
748B4568231432   CORNELL           ALEXANDER             MO           90014575682
748B4877A31432   CORNELL           ALEXANDER             MO           90013768770
748B5471155939   NAOMI             RODRIGUEZ             CA           90013084711
748B554767B477   JAVIER            REYES                 NC           90010625476
748B55AAA8B142   ALENA             SAMORA                UT           90013425000
748B731478B163   DOMINIC           MOURDOCK              UT           90014573147
748B742698B163   KRISTIE           NUNEVILLER            UT           90013254269
748BB653272B87   MATTHEW           MORSE                 CO           90013066532
74911A68272479   STEPHEN           GEOLLIHUE             PA           90006260682
7491499899154B   RICHARD           CAMARGO               TX           90013109989
7491518A131433   DANIELLE          PATTON                MO           90010821801
7491622465B225   CANDIS            MARSHALL              KY           90011332246
7491743A855939   JENNY             MATA                  CA           90012964308
7491748382B994   B                 L                     CA           90008354838
7491B7A837B477   FIDEL             CANTU                 NC           90015327083
7492183874B976   JANET             CHANELLER             TX           90001078387
74921A14177528   JORGE             MARQUEZ               NV           90006580141
7492427138B134   RAQUEL            SEPULVEDA             UT           90010902713
74925A48655939   TANIA             MARQUEZ               CA           90012150486
74925A8A355939   LUIS              SUALES                CA           90004980803
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7492614533168B   ERIKA          MARROQUIN                KS           90003621453
749277A888B163   JOVANI         LOPEZ                    UT           90011287088
7492B561761922   ANA KARINA     ASCENCIO                 CA           90011445617
7493328448593B   CHURSTIN       OSTAVITZ                 KY           90014982844
7493713263168B   CHRIS          EVAN                     KS           90013931326
74937355672B29   ROBERT         HEINZMAN                 CO           90009223556
74944486572B44   MARIA          SARABIA                  CO           90013934865
74944A74831433   MICHAEL        HART                     MO           90005910748
7494592A555939   PALOMA         MIRAMONTES               CA           90013779205
74947A1A572421   GARY           FALLECKER                PA           51095650105
74948A3748B163   ALYSE          SNYDER                   UT           90009180374
74948A97593728   JEFFERY        MORDOCK                  OH           90010730975
7494958395B354   KRISTI         HOLLINGER                OR           44581255839
7495371868B163   ELIZABETH      MARTINEZ                 UT           90011287186
749571A2272B87   SPENCER        SMITH                    CO           90014751022
74957325472B42   JOSE           JERNANDEZ                CO           90012563254
74957833672B87   SPENCER        SMITH                    CO           90011938336
7496218628B168   JESSE          PETERSON                 UT           90005841862
74962347472B37   WANDA          GREGG                    CO           90013243474
74963897A93739   XITALIA        CHAVEZ                   OH           90000948970
74964A46672B37   LUCAS          FARNUM                   CO           90014550466
74964A5255B225   ROBERT         MILLER                   KY           90014790525
749658A4461985   PATRICK        MILLER                   CA           90012388044
74966A3195B225   CHAD           CATIN                    KY           90008170319
74967A5255B225   ROBERT         MILLER                   KY           90014790525
7496867543B366   JOSE GAMIEL    GONZALES SALAS           CO           90013846754
74971777A9154B   LICON          ESTERR                   TX           90010497770
749718A4941237   RICK           MEADOWS                  PA           90004218049
7497285345B225   ALTAGRACIA     PACLECO                  KY           68093668534
7497434829154B   LAURA          VEGA                     TX           90001843482
74975486772B44   DEWAYNE        CURTIS                   CO           90013934867
74975727372B44   ALBERT         WEST                     CO           90012817273
7497586A931433   DORA           WILLIAMS                 MO           90011048609
749799A4A71948   TASHA          MADRID                   CO           90005859040
7497B328441253   STEVE          LOBO                     PA           90014713284
74981A4235B59B   APRIL          ROYBAL                   NM           90013210423
749846A4A31432   DEMETRIUS      MCAFEE                   MO           27509686040
74984778A8B157   STARLA         FITZGERALD               UT           90007577780
7498541A671921   DANIEL         RICCI                    CO           90006874106
74987288372B29   DAVID          BROWNING                 CO           90012442883
74988335672B29   KEBA           HARRIS                   CO           90013353356
749923A2471921   FRANSISCO      MARTINEZ                 CO           90013113024
749B23A495B59B   ANNA           SEDILLO                  NM           90012543049
749B2762A97122   EUGENE         LEPAGE                   OR           90010257620
749B522465B225   CANDIS         MARSHALL                 KY           90011332246
749B525515B384   ROBIN          REYNOLDS                 OR           90006032551
749B715892B829   KIMBERLY       MCFADDIN                 ID           90012121589
749BB278A55939   JAVIER         GARCIA                   CA           90013922780
74B14819172B87   JESUS          SANCHEZ                  CO           90010378191
74B1497635B225   EDY            RAMOS                    KY           90010859763
74B149A3972B44   ESTELA         PICAZO-CRUZ              CO           90014109039
74B16489831432   ANDRE          RUSH                     MO           90014454898
74B2163A893739   ALEJANDRO      MENDOZA                  OH           90012436308
74B2495585B59B   MARTY          VIGIL                    NM           90011099558
74B256A9672B44   NATALIE        GALEANA                  CO           90012806096
74B263A1272B37   FRAUSTO        GABRIELLE                CO           90011643012
74B2729998B157   AHMED          HUSSEIN                  UT           90013042999
74B272A4593726   TANYA          SHOCK                    OH           90014192045
74B27994172B29   JARROD         MARRUJO                  CO           90014779941
74B29476972B29   DERK           ELMY                     CO           33089474769
74B3112118B142   RAMON          MORALES                  UT           31016141211
74B31373A55939   FRANCISCO      VEGA                     CA           90003503730
74B3273815135B   ELIZABETH      JAMES                    OH           90007637381
74B33246571921   LISA           KELSO                    CO           90014542465
74B3429A75B59B   EULALIA        GUZMAN MARTINEZ          NM           35049682907
74B35488357147   ERICK          RODRIGUEZ                VA           90006824883
74B35A8A893739   MISTY S        BRANCH                   OH           90010560808
74B36593472B32   GREGORY        HIBBARD                  CO           90010165934
74B36796A8B168   LIZZY          SORENSEN                 UT           90009907960
74B387A3357147   BLANCA         AREVALO                  VA           90006717033
74B3B42188B168   CAMPBELL       CODY                     UT           90011744218
74B3BA54A5B225   KAYLA          TAYLOR                   KY           90013390540
74B41274A41253   AMANDA         NIMETH                   PA           90011302740
74B43648A8B163   BRENT          LEACH                    UT           90013356480
74B45597172421   JENNIFER       BALDWIN                  PA           90012625971
74B47164841253   NORMA          SMITH                    PA           90012881648
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74B48584685945   TYRONDA        MOBERLY                  KY           67048385846
74B48A2795B59B   KARLA          CASTANEDA                NM           90011140279
74B4981585B225   ANDREW         SALOIS                   KY           90012138158
74B4B81463168B   RONTAYSHA      COX                      KS           90015278146
74B4B99743168B   CHETOYA        JOHNSON                  KS           90013119974
74B52277472B32   JODI           MARTINEZ                 CO           90011522774
74B52615733698   ANDREA         OVIEDO                   NC           90013466157
74B5375278B142   SHANNON        DRAPER                   UT           90013567527
74B54463333698   SHIRLEY        CARRINGTON               NC           90013014633
74B54784255939   ANGELINA       BEDOLLA                  CA           90011497842
74B5535823168B   SHABONT        WASHINGTON               KS           90015143582
74B56A24831433   ELAINEE        HANNAH                   MO           90013760248
74B5749A833698   DESIREE        HALL                     NC           90013064908
74B578A4133698   LINDSAY        WARREN                   NC           90015188041
74B59476831433   CHRISTINE      FEHRMAN                  MO           90011924768
74B5B838A9154B   ANTHONY        POBLANO                  TX           90006608380
74B621A1641253   GABRRIEL       PAGE                     PA           90014761016
74B62457672B44   ELIZABETH      HERNANDEZ                CO           90013674576
74B62559A36B97   ANGELICA       RAMIRES                  OR           44539765590
74B65131241253   AMBIK          PSUYEL                   PA           90012701312
74B65658485953   OLIVIA         JUAREZ                   KY           90000656584
74B6685898593B   MITCHELL       SLAVEN                   KY           90013658589
74B6752618B163   CASSEL         TAYLOR                   UT           90005145261
74B67737633699   KEJASHIA       CREASY                   NC           90014597376
74B6842448593B   REBECCA        CRANK                    KY           90013274244
74B71186472B32   JIMMY          ALVARADO                 CO           90009651864
74B71657872B44   ARTA           SAFAVI                   CO           90014386578
74B7198158B157   AKE            FAAMASINO                UT           90010119815
74B72185271921   BILLY          THRASH                   CO           32088761852
74B73A6845B225   LAMONIA        STONE                    KY           68066770684
74B74163333698   DEBORAH        CREDLE                   NC           12079121633
74B76173631433   STEVIE         WINSTON                  MO           90013491736
74B76374855939   GONZALO        GARCIA                   CA           90007573748
74B76799572B37   GE             THAO                     CO           90013327995
74B76846372479   SHERI          CYR                      PA           90005878463
74B7742419712B   SACANNA        RUSH                     OR           90004214241
74B84456972B32   STEPHANIE      ANDRE                    CO           90014824569
74B84825333698   TAHEEM         HUMPHREY                 NC           90009988253
74B85139271921   LEROY          MAESTAS                  CO           90009501392
74B8551268B163   KATIE          LORTON                   UT           90014565126
74B85537172479   JOSHUA         PECK                     PA           90010285371
74B87471755939   JOSE           MONTES                   CA           90014894717
74B88734876B54   CLEMENTINO     CARRILLO                 CA           90007417348
74B88967472421   MARC           KATZ                     PA           90007449674
74B89246733698   CHANISHA       BURNEY                   NC           90014602467
74B89722172479   LAUREN         REVETTA                  PA           90014057221
74B9287158B157   GILBERT        CASTORENA                UT           90014398715
74B9451568B134   ALLY           MAYNES                   UT           90010295156
74B95842731443   SWEETASIA      THOMPSON                 MO           90013818427
74B9B711331433   BRYAN          SHEER                    MO           90014907113
74BB1741731433   FELICIA        ROWE                     MO           90007987417
74BB21A699154B   GRACIELA       MIRELES                  TX           90004351069
74BB33A7131433   NIKKI          NAJBART                  MO           90011873071
74BB388618B134   ROBERT         KING                     UT           90014118861
74BB9494972B32   CHEYANNE       GURULE                   CO           90009934949
7511412217B477   JUANA          RAMIREZ                  NC           11025111221
751187A349154B   JESUS          H ANDUJO                 TX           75017617034
7511911A493739   TAMEKA         JONES                    OH           90013401104
7512175347B477   KEMBA          RICHARD                  NC           90010977534
75122481372B87   CHASE STEVE    ELIES                    CO           90015214813
751228A2972B37   JOEL           BENSOUSSAN               CO           90013498029
751237A737B477   MELQUIN        TURCIO                   NC           90011557073
751243A7441227   DANIEL         OLSON                    PA           90013013074
7512714357B477   CRITIAN        ABALOS                   NC           90014171435
7512941518B142   WAYNE          WOLFE                    UT           31080564151
75131A1A88B168   RAENI          AARON                    UT           90011160108
7513439A39154B   FERNANDO       YANEZ                    TX           90008653903
7513461458B142   KINYON         COLE                     UT           90010206145
75134947672B44   CHRIS          WILSON                   CO           90014589476
75135A5689154B   AMANADA        RODRIGUEZ                TX           90002700568
75136A45A85945   ALLI           STEWART                  KY           90009650450
7513B693331432   ANGELA         WILLIAMS                 MO           90014596933
7513B816131432   ANGELA         SHEGOG                   MO           90009938161
7513B93428B134   ROBYN          HANCEY                   UT           90012899342
7514126587B477   LATAVIA        WILLIAMS                 NC           90012282658
75141491172B27   CHARLES E      MILLSAPS                 CO           33071384911
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7514156215B59B   MARK            ATENCIO                  NM           90013485621
751421A519154B   ELVA            LOZOYA                   TX           75053671051
75143837A9154B   JESUS           RODRIGUEZ                TX           90010438370
7514536355B134   JOSE            TODON                    AR           23012233635
75145576A2B229   BRANDON         JONES                    DC           90000245760
7514655828593B   ISAIAH          LITTLE                   KY           90013925582
75152135172B44   TRE             MONROE                   CO           90013141351
751527A3972B37   TERRI           BUSTRAW                  CO           90014707039
7515554269154B   GISSELL         CARRERA                  TX           90014205426
7515847742B994   MIKE            SMITH                    CA           45031434774
751656A3551337   STEVEN          RICE                     OH           90015166035
7516676888B163   MARCOS          RAMOS                    UT           90012227688
75166916572B44   JORDAN          LOVATO                   CO           90011069165
7516783958B134   NICOLE          OWENS                    UT           90014438395
7516B14A172B44   WILLIAM         CARBONE                  CO           90013141401
7516B768A9154B   ALEJANDRO       CARDENAS                 TX           90012877680
75172912A3168B   CHRISTOPHER     CAILLOUET                KS           90012909120
751736A2541237   JOYCE           DETTLINGER               PA           51085556025
7517424762B994   ERICA           DURAN                    CA           90013982476
7517691248B134   VICTOR          SHANTI                   UT           31081169124
75177346972B87   MARIA           BIRCH                    CO           33014593469
75177A5A971921   ARANESHA        SMITH                    CO           90014850509
7517994A172B32   TERESO          GALLEGOS HERRADA         CO           33061269401
7517B116372B29   CHRISTINA       DELAGADO                 CO           90011111163
7518449A433698   OSORIO          ANA                      NC           12048264904
75184A7273168B   LORETTA         MEANS                    KS           90013740727
7518865A872421   KIMBERLY        JOHNSON                  PA           90011786508
75188846572B37   IVAN            HERNANDEZ                CO           90012158465
7518966798593B   THOMAS          BAUER                    OH           90010836679
7519472295593B   ERIKA           SIERRA                   CA           90014967229
7519557143168B   JAMIE           BENTZ                    KS           90005755714
751B479879154B   OSCAR           GUTIERREZ                TX           90008747987
751B54A2333698   KIMBERLY        BOOSE                    NC           90012324023
751B6598955939   SANDRA          ESPINO                   CA           90014625989
751B7129861941   SAMUEL          LOPEZ                    CA           46053411298
751B7322655947   LEO             GONZALEZ                 CA           90010373226
751B7431555966   ALMA            MORFIN                   CA           90006544315
751B7A9188B168   PETERSON        VERTUS                   UT           90000960918
7521324328593B   VICKIE          MARTIN                   OH           90003502432
7521624353168B   SHEREESE        WHITFIELD                KS           22005532435
75216896672B87   RICK            GARCIA                   CO           90008568966
75216A8868B134   DINA            JIMENEZ                  UT           90010490886
7521729A861935   WENDY           RODRIGUEZ                CA           46099272908
75218152272B37   LUCIA           OPORTO                   CO           33079531522
7521822A672B32   RYAN            BURKLOW                  CO           90013642206
75219353A72479   SHERRI          WATKINS                  PA           51072723530
75221629A41237   CYRIL           GITTENS                  PA           90012946290
75222214172B29   SARAH           KENDERES                 CO           90007332141
752255A8172479   GARRET          ZIMMERMAN                PA           90000655081
7522667158B157   MARTIN          SALAYANDIA               UT           90006736715
7522748748B168   MORELIA         GUTIERREZ                UT           90010224874
7522773929154B   SIXTO           NAVARRETTE               TX           90013357392
7522774A772B29   NICKIE          RYMER                    CO           90003577407
75228A5422B994   ROMAINE         GHOSTON                  CA           90005090542
7523152A33168B   SASHA           COOK                     KS           90007655203
7523273738B157   LINDSEY         GREENE                   UT           90014987373
7523431957B825   VANESSA         WIGGINS                  NC           90013883195
7523499638B163   AHAMACH         BIEL                     UT           90012629963
7523773532B271   AMY             MARTIN                   DC           90003327353
75239161272B44   MARGARITO       QUESADA                  CO           90015141612
75245928672B37   MARGARITA       SOSA                     CO           90011579286
75247977572B44   ASIA            GARCIA                   CO           90008839775
75247A45A85945   NOE             RAMOS                    KY           90007500450
7524826A39154B   ANGEL           ALEMAN                   TX           90013172603
7525485559154B   JUAN            MELENDEZ                 TX           90010438555
7525648225139B   PRESLEY         RIDOUT                   OH           90002244822
75258493472B44   JUAN            FUENZ                    CO           90013094934
75258521A9154B   RICARDO         EREZ                     TX           90014215210
752599A8581633   JOSEPH          MOORE                    MO           90004099085
7526379819154B   HORONDO         QUINONES-ALAMO           TX           90010987981
75265A72372B32   ROBERT          HENKES                   CO           33041750723
752675A615B169   REGGIE          CLEMONS                  AR           90001215061
7526933627B477   JUSTIN          MILLER                   NC           90010693362
752749A6A85945   RAMIRO          RODRIGUEZ                KY           90006749060
752754A4754133   JEREMIAH        RUTLEDGE                 OR           90010784047
7527859549154B   ARMANDO         GONZALEZ                 TX           90013405954
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7527B328472B37   CARLOS         GONZALEZ                 CO           90012193284
75281199772B44   ISABELLA       LACOVICH                 CO           90013141997
7528684457B428   SHANTANYA      SMITH                    NC           90000648445
75288573A9154B   OMAR           INIGUEZ                  TX           90008705730
7528B29968B157   DOROTHY        ALLEN                    UT           31096932996
7529983778B168   ANA            RAMIREZ                  UT           90014688377
75299A83655941   ALEX           AYALA                    CA           90004680836
752B1374A72B29   LUIS           BARRON                   CO           90008403740
752B334415B59B   MONICA         LOPEZ                    NM           35013263441
752B3A82533B34   FHAI           LYNN                     OH           90014620825
752B6852531443   RACHELLE       MOSS                     MO           90010388525
752B8A32741237   DARCELL        CLECKLEY                 PA           90011310327
752BBA55441227   TIFFANY        CRABLE                   PA           90012250554
75315A23155947   RENAY          RODARTE                  CA           90012660231
75318962672B32   JOHNNY         WOODS                    CO           33096669626
7532342649154B   RUBY           ROBBINS                  TX           90010254264
7532465649196B   ROBERT         YANEZ                    NC           90003436564
75329A6838B168   ALEX           VELASCO                  UT           31082210683
753321AA455939   LYNZIE         TORRES                   CA           48034841004
7533836818593B   SIMONSON       CHRISTOPHER              KY           66039163681
75338794A7B477   CRISSILA       VIWES                    NC           90014647940
7533B65262B257   ROBIN          WILLIAMS                 DC           90011896526
7533B97979154B   ERICKA         ARREOLA                  TX           90008749797
75343521A8593B   RODNEY         LEON                     KY           90004345210
7534538A641237   TAI            JONES                    PA           90010533806
7534652A37B661   STEPHANIE      SHANKS                   GA           15014565203
75348A44481645   NEWMAN         MCFARLAND                MO           90014240444
75351643372B29   MONICA         ALCANTAR                 CO           90009806433
7535189689154B   SAULO          NINO                     TX           75015278968
75351A38955947   MARGARITA      ZEPEDA                   CA           90012330389
75354779172B37   DENICIO        DOGUE                    CO           90014037791
75359276172B32   JESUS          TORRES                   CO           90014052761
75363246172B44   LAURA          BARGAS                   CO           90013142461
75365A1548B845   REYMONDO       GONZALES                 HI           90013800154
7536893235B59B   CARRILLO       VALERIE                  NM           90010129323
75368A35433698   JENICE         WATSON                   NC           12055180354
7536986362B994   DAVID          JONES                    CA           90011158636
7536B577572B44   DEMECRIUS      PARHAM                   CO           90010965775
7537431253168B   TERRY          ROSS                     KS           90014783125
7537456833168B   EDUARDO        PACHECO                  KS           22011545683
753752A1A72B87   SARON          TEKA                     CO           90011672010
7537559729154B   ESTELLA        LUJAN                    TX           90014215972
75376215272B44   MICHAEL        THOMAS                   CO           90010842152
75376A8A255939   YESENIA        MORALES                  CA           90007630802
7537941218B168   MORGAN         ALLEN                    UT           90012874121
7537B888793739   ATRICE         BROCK                    OH           90010738887
7538371494B572   ALELY          OCHOA                    OK           90010597149
7538765A171921   NEVITA         FRANCIS                  CO           32091826501
7538979218B168   JESUS          HERNANDEZ                UT           31084627921
7538B336757157   ADILIO         JIMENEZ                  VA           90004683367
7538B65688B134   ERIC           HYMES                    UT           90007526568
7538B9A5A5B59B   NICHOLAS       MAXWELL                  NM           90010889050
7539172658593B   MELISSA        JOHNSON                  KY           90012597265
7539419A372B29   ERIS           ANDERSON                 CO           90012831903
7539645A872B44   BETH           POLICHIO                 CO           90013924508
75397A94A9154B   MIGUEL         CASTRO                   TX           75071540940
7539833A47B477   SEDAR          MART                     NC           90008683304
7539961AA81645   TYMISHA        WILLIAMS                 MO           29044026100
7539B163872B32   JOEY           AGUILAR                  CO           90010791638
753B186138B168   MICHAEL        OPFAR                    UT           90011218613
753B2368831433   KIMBERLY       NEIL                     MO           90014363688
753B392358B134   BOUNMY         BOUNTHISANE              UT           90011129235
753B598548B142   ALICE          RAY                      UT           90001149854
753B751158B168   DAVID          AMATA                    UT           90008975115
753B827892B994   BLANCA         SUAREZ                   CA           45048012789
753B8481655947   JONATHAN       OSORIO                   CA           90005184816
753B8497133699   TRACY          PRATT                    NC           90009074971
753BB61663168B   MICHAEL        OLIVER                   KS           22046166166
75411246172B44   LAURA          BARGAS                   CO           90013142461
7541191A981633   TIFFANY        WILLIAMS                 MO           29070389109
75414981772B37   ANTHONEY       ROMERO                   CO           90011579817
7541524A49154B   ENRIQUE        CHAVEZ                   TX           90004192404
7541696738B157   TOM            GREENE                   UT           90011339673
754176A3672B37   NELSON         EKMAN                    CO           90013246036
7541842895B385   AUBRE          WILLIAMS                 OR           90011454289
7541856392B271   LAVETTA        BARNES                   DC           90012115639
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7541895392B271   LAVETTA         BARNES                   DC           90010119539
7541B46238B168   JONATHAN        PEARSON                  UT           90011224623
7541B85215B384   CARLA           NEWMAN                   OR           90000498521
7541B932171921   SHAWN           TRUJILLO                 CO           90012509321
754234A8831432   TROY            SUTHERLAND               MO           90009364088
7542399A32B994   ENRIGUE         COVARRUBIAS              CA           90012439903
7542446238B168   JONATHAN        PEARSON                  UT           90011224623
75425A7567B477   CHERYL          WHITE                    NC           11053090756
75428A22472B44   TANYA           DURAN                    CO           90009120224
7542944A476B68   WIL             NANEZ                    CA           46016994404
75429918772B29   MATTHEW         SUSURAS                  CO           90008229187
7542B63A68B134   JEREMY          WARDLE                   UT           90007356306
7543211998B168   CATALINA        MERINO                   UT           90014721199
7543313868B168   VICTOR          VILLAFAN-AGUILAR         UT           90014721386
75433991A31443   CHARLOTTE       PRICE                    MO           90002659910
75433A97331433   CHRISTA         SHATUSKY                 MO           27511860973
75434246172B44   LAURA           BARGAS                   CO           90013142461
7543657155B59B   JESUS           LECHUGA                  NM           90014265715
75436987A72B44   MIGUEL          ORTEGA                   CO           33071159870
7543777848B163   SAMANTHA        BUCHANAN                 UT           90014867784
7543964659154B   JAQUELINE       URQUIDI                  TX           90014216465
7543981858B157   STEVEN          MCGUIRE                  UT           90004898185
75441251A55947   HEIDI           HERRERA                  CA           90014642510
75442456A9154B   ROBERT          DESMA                    TX           90010024560
7544338938B157   ANA             MARSENARO                UT           90010403893
75447A6629154B   MATTHEW         NOE                      TX           90002160662
754496A4872B37   DONNA           PETTIT                   CO           90013246048
7545166569154B   JOSE            ORTIZ                    TX           90014216656
754526A6272B37   SUZANNE         PENA                     CO           90013246062
75452A5895B59B   LETICIA         DELGADO                  NM           35050200589
75454636272B44   ANABEL          OLIVAS FLORES            CO           90010826362
75454A92472479   DESMOND         JONES                    PA           90014760924
7545621A87B477   ANTOINE         JONES                    NC           90010452108
7545853148B163   EDELCHE         REED                     UT           90012735314
7545922958B136   LESLIE          CASTRILLO                UT           90009792295
754615A9A93739   JASON           MCKELVEY                 OH           64512265090
7546211538B142   JOE             COMPTON                  UT           90013641153
75462894972B44   MICHAEL         LASKO                    CO           33031128949
75463442A55947   ANGEL           HERNANDEZ                CA           90015234420
75465474872B37   AVILIO NOEL     SALAZAR MARTINEZ         CO           90012874748
7546656A757157   VIRGINIA        SALMERON                 VA           90002205607
7546758A541227   FRANCES         DOMINGUEZ                PA           90001615805
7546B58985B59B   SAUL            DOMINGUEZ                NM           90013485898
75471362572B37   SANDRA          RAMIREZ                  CO           90009713625
7547251A193739   DAVION          DAVIES                   OH           90009525101
75472589272B29   MICHELLE        DENNISON                 CO           33047335892
7547342327B477   SHEREE          STEELE                   NC           90012864232
7547376A48593B   SHELLEY         LIPSCOMB                 KY           90013927604
75474A4A472B37   KIMBERLY        GONZALEZ                 CO           90011720404
7547618598593B   JERRY           HOPPER                   KY           66017661859
7547628A355947   VANESSA         SANCHEZ                  CA           49014602803
7547751A631433   KIMEISHA        BROWN                    MO           90012155106
7547938495B241   LARRY           WILLIAMS                 KY           68088903849
75481733A72B29   SHANTELE        ANDERSON                 CO           90013467330
7548993399154B   IRMA            ARANDA                   TX           90011069339
7548BA75572B37   JESUS           TONCHE                   CO           90012780755
75492886172B29   ARRON           GODEAUX                  CO           33097008861
7549297997B477   KELLY           LENNON                   NC           90011069799
7549494A661981   CHERYL          STEWART                  CA           90010319406
754953A369154B   GERARDO         LUJAN                    TX           90014243036
75496367A72479   ANNA            TIERCE                   PA           90010933670
7549662438B168   BURKLEY         LANCE                    UT           90011226243
754B184A155939   JORGE           SAMANIEGO                CA           90013858401
754B261969154B   RAFAEL          RUIZ                     TX           90014216196
754B381968B168   AMANDA          ELLIOTT                  UT           90011698196
754B4534655966   JOHN            MENCHACA                 CA           90005525346
754B4691655939   LORRANIE        RIVERA                   CA           90003086916
7551138A59154B   VICTORIA        NWOBIKE                  TX           90009523805
7551229189154B   ROCIO           GONZALEZ                 TX           75056152918
75512733A8B157   KAMI            ROMRELL                  UT           31029777330
75512A3AA72479   GENE            KASPER                   PA           90010610300
7551766958593B   TAMRA           GOINS                    KY           90013166695
75517A69655939   JAMIE           BETHEL                   CA           48091630696
75518476A31433   SHANELL         DAY                      MO           90013774760
75519534172B87   EZEQUIEL        CHE                      CO           33096455341
75527827772B29   JAMES           CHAVEZ                   CO           90011378277
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7552815458B142   CURTIS          HEAPS                   UT           90004761545
75529595672B29   MYRON           GALBREATH               CO           90012625956
75529A82A31432   SHA             DIYALI                  MO           90010700820
75531428A2B994   TONY            AVINA                   CA           90014444280
755356A6572B37   HECTOR          DELUNA                  CO           90013246065
7553883899154B   PATRICK         SILVIA                  TX           90000768389
7553924AA9154B   MYRNA           MUNOZ                   TX           90004192400
75539395272B83   NOAH            HARRISON                CO           90011263952
75542334A8B168   CHAD            SETTLE                  UT           90007063340
755426A375B59B   SARA            FLORES                  NM           90011206037
7554328A955939   JESUS           SALGADO                 CA           48098712809
7554473388B163   PATRICIA        MEIRA                   UT           90013927338
7554659A272B44   MICHAEL         PENA                    CO           90013295902
7555537158B168   GRACE           BERNARDEZ               UT           90010173715
75556A16891549   LORRAINE        MONTIEL                 TX           90004270168
75558477272B37   SARAH           SIDERS                  CO           90012874772
75558532A55947   RUFINO FLORES   CRUZ                    CA           90006185320
7555B781671921   MARQUITIS       CROSS                   CO           90012057816
7556164178B168   ADOLFO          MADRIGAL                UT           90014736417
75561A53572B37   NICK            HEARTMAN                CO           90011580535
75562A4655B384   FIDEL           CIFUENTES               OR           44513570465
7556412782B994   BENSON          ANDREWS                 CA           90013561278
7556818818B142   LOMAX           JOLENE                  UT           90011111881
7557595927B477   JACINTO         ESPINOZA                NC           90013459592
7557B126155939   LETTY           ARCIGA                  CA           90011161261
7558267539154B   ANGIE           SANCHEZ                 TX           90012596753
7558357988599B   LATASHA         OSBORNE                 KY           90002865798
7558985355B59B   LLUVIA          CASTILLO                NM           90014238535
7558B982293767   GWENDOLYN       RISDEN                  OH           90009059822
75591263A55947   ROSEANA         VILLALVAZO              CA           90010892630
75591481472B37   ALLISON         WENHOLZ                 CO           90006054814
7559234373168B   ANDREA          BALLARD                 KS           90013933437
7559395178B163   AARON           WALLACK                 UT           90014339517
75595133972B29   LAUREN          BERRY                   CO           90011511339
7559776359154B   ALBERTO         SAUCEDO                 TX           90010397635
755982A785B59B   AMBER           SANTINI                 NM           90012232078
75598A5368B134   MARIA           BENITEZ                 UT           90012070536
7559B73398B157   TAMI            KOEPNICK                UT           90007607339
755B2285A8B163   ADAM            SMITH                   UT           90003352850
755B4281572B44   SELEMANI        FERUZI                  CO           90013142815
755B4383A72B29   ANABEL          HERNANDEZ               CO           90012913830
755B4832493739   KAYLEB          KEARNEY                 OH           90010908324
755B643A62B994   ELMO            ALTMIRANO               CA           90010424306
755B6A36572B32   JOSE            SANCHEZ                 CO           33031660365
755B877648593B   MALLORY         PERRY                   KY           90015147764
755B97A319154B   REYES           URBINA                  TX           90014217031
755B9A2A355947   APRIL           BAILEY                  CA           90010970203
755BB11A98B157   MATTHEW         STONE                   UT           90013641109
755BB49818B157   MATTHEW         STONE                   UT           90014154981
7561254718B845   ANDRES          YACAP                   HI           90014745471
7561546598B168   EMILEE          HIATT                   UT           90013324659
7562186845B59B   REBECCA         JOHNSON                 NM           90004328684
75622A52931432   KRIS            KREMMER                 MO           90010850529
7562422447B477   REBECCA         STRONG                  NC           90013182244
75626A9558B168   PORFIRIO        GONZAZLEZ               UT           90011960955
7562755A52B271   MICHAEL         HOSTON                  DC           81086945505
7562931AA81645   RACHEL          BRUNING                 MO           90013213100
75629376A5B59B   SANTANA         NEW                     NM           90014563760
75631678A4B949   CHARLES         LYONS                   TX           71072516780
7563275538B168   LORETTA         CLARK                   UT           90010067553
7563433715B59B   BEATRIS         MEDINA LOPEZ            NM           35034673371
75634A52931432   KRIS            KREMMER                 MO           90010850529
7563571157B483   SHEILA          GUERRIER                NC           11009817115
756373A812B994   JUAN            TORRES                  CA           90014473081
7563994412B271   ANSUMANA        SONGOWA                 DC           81001169441
7563B85A972B44   STACIE          BARLOW                  CO           90013188509
7564242128B134   ROLANDO         CALDERON                UT           31092264212
75643473A72B37   MARGARITA       MARQUEZ                 CO           33035994730
7564428615B537   ANGELICA        HERRERA                 NM           90009162861
7564535568593B   ERIK            SHERRILL                KY           90013633556
7564573498B157   SUSAN           CHRISTENSEN             UT           31040077349
75648615A93739   KRIS            STARGELL                OH           90014796150
7564BA45342382   CHAD            GILLEY                  GA           90002310453
7565256928B163   THOMAS          PRIEST                  UT           90008835692
75653695872B37   JUAN            GUZMAN                  CO           90013416958
756583A938B157   MICHAEL         HOFFMAN                 UT           90013703093
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7565866AA5B384   BRIAN           GLENN                    OR           90006756600
7565B27713B358   GABRIEL         DORADO                   CO           90006302771
756611A8955947   DIANA           MARTINEZ                 CA           90010481089
7566264512B994   JOSEFINA        GARCIA                   CA           90012846451
75662A69766143   DOUG            JONES                    CA           90014310697
7566324A38593B   FLORENCE        LANDRUM                  KY           90010972403
7566517744B553   STEPHANIE       HYATT                    OK           90004361774
7566558248B163   DAVW            PETRONI                  UT           90012155824
75668A1454126B   ALYSSA          SAULA                    PA           90009950145
7566B341431432   ASHLEY          WOELFEL                  MO           27590073414
7566B4A7641253   SHONQUIA        HOCKETT                  PA           90009954076
7567241A893739   ANDERSON        PAMELA                   OH           90003324108
7567322498B142   SHAWNELLE       ASTON                    UT           90010452249
75673A9428593B   KATHY           YOUNG                    KY           66009580942
756774A5831443   JOHN            CRAWFORD                 MO           90010024058
7568466A955939   ALEJANDRO       ESPANA                   CA           90011456609
75684686A5B59B   CLARISSA        ROBINSON                 NM           90013886860
75684A9848B157   ANDRES          AGUILERA                 UT           90004910984
7568999448B157   APRIL           RAINEY                   UT           90003649944
7568B258372B32   DENISE          YANEZ                    CO           90013672583
7568B76175B59B   SANTIAGO        CHAVEZ                   NM           90014467617
7568BA6138B157   CHRISTINE       WATSON                   UT           90012560613
756932A8172B29   ERIQ            GAUNA                    CO           90009112081
75694A4735B53B   LESLIE          FAY                      NM           90007440473
756981A9A8B163   CHANCE          VIGNETTO                 UT           90013321090
75698AA952B249   KAREN           FRANKS                   VA           90009010095
7569B39778B142   CHRISTOPHER     CLARK                    UT           90008553977
7569B973831443   KRISTEN         KISH                     MO           90011089738
756B1625185945   JUAN            VILLAFUERTE              KY           90011936251
756B468217B427   LAURA INES      SANCHEZ                  NC           90012646821
756B4816641237   KELLY           DAVIS                    PA           90012838166
756B951928B142   NANCY           ACOSTA                   UT           90008385192
756BB85538B142   PAM             PETTINGILL               UT           31069898553
75711A1589154B   CRISTINA        RODRIGUEZ                TX           90010410158
75716A12331443   PARIS           WILLIAMS                 MO           27524540123
75718832772B37   JANELLE         JENLINS                  CO           90002758327
7572629855B59B   CHRISTOPHER     RODARTE                  NM           90013172985
75729A52931432   KRIS            KREMMER                  MO           90010850529
7572B617833698   YARET           GUTIERREZ                NC           90012856178
7573172113B343   COURTNEY        HALL                     CO           33055227211
7573333585B384   LUIS            PEREZ                    OR           90005513358
75737375572B44   CHRISTIAN       EMILIANO                 CO           90013143755
75739A5A92B994   MARIANA         CONTRERAS                CA           90014660509
7573B924271921   JUAN            HARTT                    CO           90013599242
7574649129154B   MARIA           PAREDES                  TX           90011414912
7574868312B994   MARCELINO       VILLANUEVA               CA           90012306831
75749548172B32   FRANCISCO       BARRAGAN                 CO           90015025481
7574974429154B   JULIA           DIEGUEZ                  TX           90012307442
7575926142B994   ROBERT          CAMPBELL                 CA           90013072614
75759A52931432   KRIS            KREMMER                  MO           90010850529
7576346218B134   CARLOS          DEL CARMEN               UT           90008434621
757649A1557129   KAMARA          ISATA                    VA           90010919015
7576643A59154B   SUKY            GUERRERO                 TX           90008474305
7576684335B59B   DANIEL          PEREA                    NM           90012998433
75766919572B37   JEFFREY         MYERS                    CO           90006839195
7577195848B142   KRISTIN         DRUMMOND                 UT           90010739584
75773216A55939   EDGAR           GARCIA                   CA           90011882160
75774A76672B27   JAMIE           IVARSON                  CO           90001410766
75782273672B44   JR              CARRANZA                 CO           90002642736
7578395228B163   EVERETT         EICHBAUER                UT           90014339522
75783A9135B59B   CESAR ANGULO    GUTIERREZ                NM           90011360913
75784A52931432   KRIS            KREMMER                  MO           90010850529
7578667625B384   JASON           ARNOTE                   OR           90007346762
75791121972B37   RAMON           MUNETON                  CO           33049081219
75791A66431432   CAROL           ACKERMAN                 MO           90010850664
75793695972B37   ADAM            ORTIZ                    CO           90009866959
75794A66431432   CAROL           ACKERMAN                 MO           90010850664
757951A9672B37   MARIA           ESTRADA                  CO           33035381096
7579681348593B   CHARLES         CENTERS                  KY           90013958134
75796A9135B59B   CESAR ANGULO    GUTIERREZ                NM           90011360913
757986A6272B37   SUZANNE         PENA                     CO           90013246062
757B17AA131432   PATRICIA        RICHARD                  MO           90003257001
757B1928972B37   KTONNA          COLLINS                  CO           90014579289
757B4166772479   JANNA           LATU                     PA           90014131667
757B4A35972B87   GERRIT          DERUITER                 CO           33009680359
757B623328B142   MARY            LITTLEFOOT               UT           90013552332
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757B7279A3168B   MICHAEL         LEWIS                    KS           90013172790
757B8772981697   CHONA           ALFORD                   MO           90012257729
757B9711755947   MARIA           PEREZ                    CA           90012027117
757B978179154B   IVAN            CASTANEDA                TX           90010397817
757BB112A93739   NORVAJEA        HALLER-PENROD            OH           90014941120
757BB282472479   JOSHUA          TRAFINCHICK              PA           51065262824
75811A22431432   DENISE          BLACK                    MO           90011130224
75812A47685945   JORGE           BARGAS                   KY           90011700476
75813388572B44   VIRGINIA        ALLEN                    CO           90013143885
758143A292B994   MAGDALENA       FREGOSO                  CA           45084943029
758158A3855939   CESSAR          YANEZ                    CA           90012708038
75819A37871921   CATHERINE       ROWLAND                  CO           90009760378
7582338A955947   LETICIA         VEGA                     CA           49092373809
7582346837B477   JOSH            KING                     NC           90013004683
7582435338B142   DON             HIILL                    UT           90000833533
7582617A372B44   AURELO          MUNOZ                    CO           90012941703
75827778A41237   RODGER          KNIGHT                   PA           90006467780
7582B318672B37   JOSE            DIMAS-GONSALEZ           CO           90015163186
75833161472B29   JESSICA         VALLEGOS                 CO           90013711614
7583359469154B   JESUS           BEN                      TX           90004595946
7583369A85B59B   ABRAHAM         PEINA                    NM           90011376908
75834665672B37   ALIH            AGUDA                    CO           90014966656
75835421372B37   RAMIRO          DOMINGUEZ                CO           33082634213
7583941318B134   RICARDO         LOPEZ                    UT           90007814131
7583B591372B87   DANIEL          GARCIA                   CO           90015325913
75841198172B87   NANCY           VERA-ARREDONDO           CO           90011961981
758449A739154B   MANUEL          OBREGON                  TX           90010439073
7584547869154B   ALEXANDRA       HALLO DE WOLFFE          TX           90012494786
7584674A372B32   YOCELIN         LUCIO                    CO           33086637403
758469A3A71921   BRANDON         OWENS                    CO           90006409030
7584B264333698   PHYLLIS         SIMS                     NC           90006492643
7584B71995B59B   IVAN            NEWMAN                   NM           35090547199
7585313AA8B163   RACHEL          KUNDA                    UT           90014731300
75856A15172B44   MICHELLE        PITTS                    CO           33046050151
75859A7258B142   CHRISTIAN       ROBISON-HANCHETT         UT           90012400725
758651AA693739   KIMBERLY        FAULKNER                 OH           90013041006
758674A5372B87   TRACY           GRIEGO                   CO           90011674053
758677A867B477   ALEYDA          HENRIQUEZ                NC           90002027086
75869194372B32   CASEY           COTTRELL                 CO           90012521943
7586B71728B19B   PABLO           HERNANDEZ                UT           31041737172
7586BA3568B142   JACOB           DAVIS                    UT           90013650356
75873115872B37   JEREMIE         HARRIS                   CO           90007231158
75875363472B32   CHRIS           PEREZ                    CO           90011333634
7588144A672B44   MICHAEL         CORP                     CO           90005904406
7588379178B142   DANIEL          ASKELSON                 UT           90007787917
7588419899154B   JOSEPH          FIGUEROA                 NM           75071101989
7588487753168B   ELOZIRA         CALHOUN                  KS           90012778775
758942A3472B32   CIRO            GARCIA                   CO           90012522034
75896691372B37   MICHAEL         APOLO                    CO           90009776913
758982A6293739   AUDREY          NICHOLS                  OH           90008072062
75898474472B44   MARIA           CARSON                   CO           90008084744
75899881672B44   TYE             BELANGER                 CO           90013988816
758B2661472B37   SHEILAH         LOWE                     CO           33080116614
758B283938B134   HECTOR          LOPEZ                    UT           90013898393
758B368A63168B   DAISY           DOMINGUEZ                KS           90011786806
758B621538593B   DAVID           ROBERTS                  KY           66032592153
758B8A49833698   JAQUITA         JHONSAN                  NC           90014750498
758B925147B477   MARICE          MOORE                    NC           90015112514
759122A4472B32   RENE            REMEDIOS                 CO           90012522044
75921961A8B157   PATRICA         LEE                      UT           90012339610
75921A1285B59B   MATIANA         VAZQUEZ-VEGA             NM           90012150128
7592284187B652   SERINA          HARRIS                   GA           15016358418
75924896472B87   LEANNA          HITCHINS                 CO           33067328964
7592521398B134   ALISHA          VAUGHAN                  UT           90011572139
759289A6231432   JOEL            PICHOCINSK               MO           90008049062
7592B38A881633   ARNOLD          PORTER JR                MO           29094193808
7593351359154B   FELICIA         SODIPE                   TX           75006125135
75933A18572421   CHRISTOPHER     KESSLER                  PA           90007370185
7593495348B134   WESLEY          MAHONEY                  UT           90013199534
75935714872B44   BERNADETTE      RUBIO                    CO           90009487148
75935886A71921   DAVID           MEJIA                    CO           90014168860
7593651955B59B   JASMINE         WOODS                    NM           90013155195
7593691A472B37   MAX             OCAMPO                   CO           90011179104
7594123318593B   JOHN            TAYLOR                   KY           66098832331
7594296433168B   TYRESE          WOODS                    KS           90013419643
75943A61271923   MARION          DAVIS                    CO           90010890612
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7594536A98B168   JOSE           GARCIA                   UT           90014803609
7594541599154B   LUIS           MARTINEZ                 TX           90011334159
75945465A3168B   BLANCA         LOPEZ                    KS           90011694650
75946361A8593B   JACOB          LLOYD                    KY           90013053610
75948182A93739   ARCHIE         GARDNER                  OH           90013791820
7594914898B142   SHAUNTEL       POULSEN                  UT           90003451489
7594965358B163   CISALEE        PEARCE                   UT           90013016535
7594B479171921   TASHA          ADDIS                    CO           90011154791
7594B993481645   PHOENIX        DYCHE                    MO           90013289934
7595336A98B168   JOSE           GARCIA                   UT           90014803609
75953A66972B37   MELVIN         DARNELL                  CO           90010500669
75956835972B87   SAMANTHA       VAUGHN                   CO           33089518359
75957A16181255   TARA           THOMAS                   KY           90012370161
759582A779154B   OSCAR          ESPARZA                  TX           90009882077
75958A34772B44   RIGOBERTO      MEDINA                   CO           90012620347
75959A22341237   RUSSELL        LIGHTY                   PA           51062290223
7596127828B142   CELSO          GUTIEREZ                 UT           90008052782
75961479A33698   AARONA         CRAIG                    NC           90011134790
75969867872B44   RAMIRO         SOTO                     CO           90013158678
7596BA24931443   THOMAS         RENE                     MO           90009810249
75972423A5B59B   MARICA         CORDOVA                  NM           90012194230
759732A387B477   LINDA          MCLEAN                   NC           11001472038
7597353332B84B   LISA           DEVENEY                  ID           90009225333
7597394498B183   SHARON         SPENCER                  UT           90004699449
75977214A31433   KEMAL          NAKICEVIC                MO           90015332140
7597785A331443   KRYSTAL        GLEASON                  MO           90011188503
75977A24872B37   JEREMY         AYERS                    CO           90013160248
75979647A3168B   JESSICA        GOMEZ                    KS           90011696470
7598139635B384   CARLOS         ZECUA                    OR           44505863963
759856A5155947   CHARISSE       DOLIDA                   CA           90007406051
7598583518B163   ROBERT         HINOJOSH                 UT           90012698351
7598773A32B994   CHRIS          HELMS                    CA           90010797303
75988134A55939   YVETTE         MORENO                   CA           90012931340
7598847248B157   APRIL          HIMES                    UT           90004284724
7598993698B163   MARICELA       AGUIRRE                  UT           90012169369
7598B84335B59B   DANIEL         PEREA                    NM           90012998433
7599267658B17B   ELIAS          WEINGARTEN               UT           90006846765
75992A1158B163   ELIAS          ROMO                     UT           90008410115
75996262572B87   JESSICA        COONTS                   CO           90010492625
7599962A472B44   ELIZABETH      EITEL                    CO           90011416204
759B133398B157   GABRIELLA      MIJARES                  UT           90014783339
759B2529772B32   GENT           PORTER                   CO           33012985297
759B2A49157157   EVER           RODRIQUEZ                VA           81057530491
759B574448B142   BELTRAN        KIMBERLY                 UT           90003697444
759B7316181645   KAMAL          HATCHER                  MO           90012743161
759BB2A2672B32   MIKE           JONES                    CO           90013622026
75B11458272421   TODD           ANDERSON                 PA           90011094582
75B11A81357157   GULNAZ         HASSAN                   VA           90011990813
75B12271172B87   JUDITH         WALDEN                   CO           33076012711
75B14271A72B29   JOMAN          MERUR                    CO           90012822710
75B14AA817B477   NELSON         VASQUEZ                  NC           11087490081
75B1516488B157   ROSALIO        PEREZ                    UT           90014431648
75B1517A861922   IRENE          CASTRO                   CA           90006521708
75B1551489154B   ANTHONY        BASS                     TX           90010955148
75B16333A2B994   CARMELO        ROSAS                    CA           90010753330
75B16925241237   MIKE           JAMES                    PA           90014359252
75B17533257157   FATIMA         ESPINOZA                 VA           90010395332
75B18214693739   ROB            DEBOARD                  OH           90015152146
75B1868467B477   DANA           WALKER                   NC           90013596846
75B18774972479   ALICE          HORRELL                  PA           90014207749
75B19A26681645   WILLIAM        MILLER                   MO           90013280266
75B21A48155947   JOSE           GUZMAN                   CA           90014790481
75B233A1472B87   ERICK          MONTES                   CO           90015053014
75B2444448593B   TIFFANY        HEATH                    KY           90010984444
75B2541358B168   WILLARD        SAMUEL                   UT           90005674135
75B2642A741253   WALTER         STEVENS                  PA           51074944207
75B27758A8B163   COURTNEY       KEMP                     UT           90013737580
75B27884555947   RAY            CASTANEDA                CA           90012418845
75B28879533698   NAVI           HERNANDEZ                NC           90012978795
75B2921828B168   VICTORIA       ANN                      UT           90004382182
75B3446A88B134   JOANN          MEITLER                  UT           31001214608
75B34495A81645   MISHEL         RODAS                    KS           90009204950
75B3629A77B477   KENNETH        NEWBY                    NC           90012262907
75B39972472479   GEORGE         WINTERS                  PA           51014929724
75B4155A755939   EDITH          GONZALEZ                 CA           90014715507
75B4255938B157   EDDIE          MARTINEZ                 UT           90014375593
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75B42562171921   LOUIE           AVILA                   CO           32028395621
75B43A58271921   DOMINIQUE       GARCIA                  CO           90012070582
75B52241A9154B   DIANA           PEREZ                   TX           90011152410
75B52356841237   JOSEPH          GUTIERREZ               PA           90010353568
75B52A13355966   KRISTINE NOEL   HELSABECK               CA           90003380133
75B5368A58B142   LINDSAY         THOMPSON                UT           90010496805
75B5546288B168   BOBBY           JOHNSON                 UT           90012214628
75B55473555939   ZULEMA          PENA                    CA           90013444735
75B55635372B37   HERMAN          RAMIREZ                 CO           90007946353
75B57668955947   IGNACIO         VILLALOBOS              CA           90012146689
75B5B148493739   TREY            WOODARD                 OH           90013061484
75B63673325144   JANESHA         JOHNSON                 AL           90013846733
75B63A43172B29   MICAELA         ROSALES                 CO           90010040431
75B6455188B142   CLIFFORD        PRATHER                 UT           90005965518
75B6482112B24B   SHAYLA          THOMAS                  DC           81010638211
75B6778898B163   CARAH           YOUNG YUEN              UT           90014307889
75B69861A55939   MONICA          AVILA                   CA           90011078610
75B6B383131432   JANAY           JONES                   MO           90014663831
75B733A5857157   WENDY           DUENAS                  VA           90014183058
75B73562A55947   MICHELE         ECHEVERRIA              CA           90000185620
75B7416135B59B   ANABETH         DELCANTO                NM           90013911613
75B75612981633   SEAN            BARGER                  MO           90007736129
75B7616A341237   KIMBERLY        SMITH                   PA           90004181603
75B7B265793739   CHERIE          BUCHANON                OH           90011082657
75B8236A585945   CARLOS          GONZALEZ                KY           90007533605
75B82673572479   TIFFANY         DANIELS                 PA           51066066735
75B8525998593B   ADAM            SCALES                  KY           90012302599
75B88275372B37   MARCELINO       REYES                   CO           90011912753
75B8987568B142   ANDREW          JENSEN                  UT           90014958756
75B8B897785945   ELIJAH          TEVIS                   KY           67009438977
75B93126933698   DARREN          CLARK                   NC           90011091269
75B9385955B59B   FELIPE          CARABAJAL               NM           90010888595
75B955AA955947   TEDDY           CATANO                  CA           90006255009
75B97283155939   SANTIAGO        IBARRA                  CA           48009232831
75B97418454121   KEVIN           BURNETT                 OR           90014004184
75B9969A355939   FERNANDO        VAZQUEZ                 CA           90013706903
75B9B4A9133698   MARIA           HERNANDEZ               NC           12014724091
75B9B939172479   APRIL           HEADY                   PA           90011649391
75BB1174293739   SHATON          DIXON                   OH           90014701742
75BB1276741237   ROBERT          MCKEE                   PA           51083462767
75BB1976341227   PHIL            BLAIR                   PA           90012359763
75BB1A17241227   JENNIFER        GALLICK                 PA           90000860172
75BB26A1255966   GUADALUPE       CISNEROS                CA           90007046012
75BB5984461935   CLAUDIA         PENA                    CA           90008669844
75BB8184255939   JHANCARLO       RODRIGUEZ               CA           90011911842
75BB8A1938B157   OTTO R          SCHEELJE                UT           90010240193
75BB9463272B87   SIMON           AYALA                   CO           90012494632
75BBB95369154B   JV              CONSTRUCTION            TX           90003329536
76111A1518B134   ERICKA          FONSECA                 UT           90012340151
76113673772B22   JOSEPH          SHAW                    CO           90014686737
76115647772B29   LUIS            HERNNADEZ               CO           90014146477
7611617553B137   WATTY           FRAZIER                 DC           90014851755
7611944293168B   SHEILA          HELMS                   KS           90008854429
7612116189154B   MARK ELLIOTT    ELLIOTT                 TX           90012081618
7612243A172B87   YOLANDA         ESTRADA                 CO           33072784301
7612432838593B   MACK            JOHNSON JR              KY           90013013283
761243AA731432   SHANE           BRILEY                  MO           90013173007
76126A43572B22   MARISSA         RILEY                   CO           90012890435
7612794A641253   JOSHUA          WALTERS                 PA           51083259406
7612B17837B477   SCOTTIE         KELLY                   NC           90012301783
7612B68727B477   JOSE OSCAR      VASQUEZ                 NC           90014846872
7613659278B168   MATTHEW         MOWER                   UT           90008265927
76137517672B29   NATASHA         MEEKS                   CO           90004655176
76137A2475B384   ENRIQUE         CHAVEZ                  OR           90003960247
76137A8533B137   RICHARD         RAYFORD                 DC           90014440853
7613B41965B331   ORALIA          MARIN                   OR           90011484196
761413A2772B37   GREGORIO        VEGA                    CO           33020193027
7614266579154B   GUADALUPE       MEDRANO                 TX           90014536657
76143786A72B29   GISELLE         GOMEZ                   CO           90011417860
76145A8799154B   MIANO           OJEDA                   TX           90010780879
7614662A78B142   JUANA           TRUJILLO                UT           90014176207
76148A26872B44   PHILACIA        LADEAUX                 CO           90013550268
7614945428593B   MELISSA         MURRAY                  KY           90012424542
7614B512651355   ALICIA          GILBERT                 OH           90004165126
7614B738A85945   FELICIA         ADAMS                   KY           90011187380
7614B84147B477   KAREN D         GILES                   NC           90009658414
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76151AA8872B32   GUSTAVO          RAMIREZ                CO           90010830088
7615398AA71921   JOLENE           VASQUEZ                CO           90012319800
7615484739154B   TOMMY            QUINTANA               TX           90013358473
76155395172B32   EZMERALDA        LUJAN                  CO           90008743951
76155493A71921   MANUEL           CORDOVA                CO           90013814930
76155819A9154B   VIVIANA          VEGA                   TX           90003068190
7615B863772479   JEREMY           THEAKSTON              PA           90014068637
76162523A72B44   RENEE            LASHELL GAY            CO           90012005230
76163466A71921   CHAD             ANTHONY                CO           32092624660
76163728A72479   JESSICA          BITTINGER              PA           90014847280
7616646244B588   OMKAR            SINGH                  OK           90008124624
7616815788B142   DALLAS           DRAPER                 UT           90013601578
76169398272B22   JULIAN           JOHNSON                CO           90001183982
76169677A55947   JACOB            HIGUERA                CA           49029496770
7616B835941253   CARMAN           RAY                    PA           51010818359
7616BA56472B22   ISABEL           REAVES                 CO           90012890564
76171424172B44   ROGER            GURRERO                CO           90013034241
7617383539154B   BRENDA           LARA                   TX           75073348353
76174248272B44   JUSTUS           RODRIGUEZ              CO           90013072482
7617543977B477   RAMIRO           GANZALEZ               NC           11011424397
7617579958B157   BLAKE            BOREN                  UT           31007897995
761777A938B163   DONALD           RICHARDSON             UT           90015047093
76177A13251355   KAITLYN          MARSH                  OH           90014500132
76179537172B44   ANDREW           DUKE                   CO           33056395371
76181AA348B168   DANIEL           FRANKII                UT           90003860034
7618387A52B242   SHONTE           PERRY                  VA           90007878705
76183A62851355   MINDY            ROBERTS                OH           90011940628
7618642948593B   ERICA            WAGNER                 KY           90010534294
76186A4547B662   LAMONICA         WILLIAMS               GA           90014380454
7618867858B163   MARTIN EUGENIA   KEMP                   UT           90013116785
7618B22438B168   JEFF             CLAYTON                UT           90000402243
7618BA26472B32   HIEDI            STUMP                  CO           90014730264
7619147697B477   SHARA            MORRISON               NC           90014874769
76192A26A72B44   SHANNON          KICHLER                CO           33073850260
7619455488B157   TAMARA           ZAMORA                 UT           90013055548
7619929629154B   CARINA           SEPULVEDA              TX           90011072962
761B2563655939   JUSTIN           GARCIA                 CA           90012775636
761B394A75B59B   LORRAINE         MADRID                 NM           90014909407
761B6467141237   VINCENT          COFINI                 PA           51007294671
761B7466A55966   WILLIAM          SPINHARNEY             CA           90007604660
76214223972B37   RONNIE           RODRIGUEZ              CO           90011582239
7621567678593B   KENNY            CRASE                  KY           90014916767
762166A6A71921   CHARLES          EBERHART               CO           90012916060
762179AAA72B37   NELLY            SALAS                  CO           33017929000
7621895A755947   MOCHAE           SPEARS                 CA           90010319507
7621BA8A455966   BRANDI           LACY                   CA           90014790804
76221962172B44   ROB              SEGURA                 CO           90011629621
762225A1A91993   MICHELE          HARRIS                 NC           90009375010
7622292158B134   JAMES            WELLS                  UT           90013949215
76224A4872B994   JERAMY           CASTRO                 CA           90014530487
76229A74272B22   GABRIEL          SOLORSANO              CO           90012890742
762359A3681633   STEPHANIE        WHITE                  KS           90015109036
7623975985B59B   GRISELDA         VALDIVIEZO             NM           90009467598
7623B63457B477   TEIKO            CHAMBERS               NC           90014866345
7623B82A472B22   EDGAR            MENDOZA                CO           90010298204
7624267818593B   JARUSHIA         DAMERON                KY           90004696781
7624763A666181   LEONARDO         RAYNADA                CA           90014486306
7624B394691572   KARINA           MARTINEZ               TX           90010343946
7625484A972B22   PABLO            ROMERO                 CO           90012898409
7625795538B142   JOHNNY           LITSTER                UT           90010269553
7625821A272B44   ARMANDO          GARCIA                 CO           90013152102
76261355272B22   CLEOTILDE        NAJARA                 CO           90014383552
76268382172B44   GEORGE           WITTNER                CO           90009793821
7626845779154B   HECTOR           MARTINEZ               NM           90014184577
7626B73929154B   JACQUELINE       NAJERA                 TX           90012887392
76275AA192B994   ALICIA           AVINA                  CA           90008030019
7627845997B477   ELDER            CUBAS                  NC           90012094599
76278552472B22   JAVIER           FRAUSTO                CO           90010915524
76279647A55966   EUGENIO          SILVA                  CA           90014796470
76281AA5141253   CARL             DOSS                   PA           51013910051
762835A8A72B29   JAIME            ENRIQUEZ               CO           90013035080
7628443288B142   HONH             TRENKAMP               UT           90014424328
76285696672B29   JERRY            FUENTES                CO           90013216966
76285A6A18593B   JODELL           KEITZ                  KY           90014680601
7628B2A5A93739   DANNY            RILEY                  OH           90011892050
76293471A9154B   MILAGROS         PINTOR                 TX           90014184710
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7629595128B134   DENNIS            ING                   UT           90013949512
762967A268B157   REBECCA           GREENSTREET           UT           90013347026
7629697258B134   SILVINO ESTEVAN   SEDAS RODRIGUEZ       UT           90013949725
76297444A31432   DONNELLA          FUTRELL               MO           90010384440
7629899697B477   ANDRES            RAMIREZ               NC           90012179969
76299223272B37   JOSE              BERNARDO CORCHADO     CO           90010542232
7629B765455966   DOMINIQUE         SALAZAR               CA           90014807654
762B2563672B29   JOLENE            MARTINEZ              CO           90014155636
7631347419154B   LUIES             GONZALEZ              TX           90014184741
76314153972B32   ERMA              BANUELOS              CO           33059391539
76315313A41237   LOUIS             WHITE                 PA           51091993130
7632111468593B   JIHONG            JONES                 KY           90007861146
7632131AA72B87   RICARDO           LEYVA                 CO           90009963100
76322237A5133B   BOBBI             EVANS                 OH           66006572370
76322283772B32   CHRISTINE         FUENTEZ               CO           90015142837
7632572348B168   SHAWN             SMITH                 UT           90006337234
76326673472B32   ADRIAN            GONZALEZ              CO           90012046734
7632786198B142   MICHEAL           RUSSELL               UT           90014348619
7632B332881633   LADANITY          TIMMORS               MO           90012913328
7633413A672B87   ELIZABETH         KENNEDY               CO           33056331306
763341A9A55947   LUIS              JOHNSON CORTEZ        CA           90007741090
763342A3941253   DONNA             SMITH                 PA           90011322039
7633667385B59B   CARL              SANCHEZ               NM           90012636738
76339215272B44   JORGE             PICAZO                CO           90006902152
7633BA6A18593B   JODELL            KEITZ                 KY           90014680601
76341499A8B168   LINDA             HOPPE                 UT           31014934990
76341AA4955966   EVA               ROJAS                 CA           90014840049
7634273698B134   SHELLY            WILLIAMS              UT           90009767369
7634284478B157   FABIAN            MALDONADO             UT           90012748447
7634289999154B   MARTHA            CARAVEO               TX           90008158999
76345594272B32   JESSICA           DIXON                 CO           90011405942
7634B648941253   TERENCE           PARKER                PA           90009146489
7635153289154B   FRANSISCO         YSAGUIRRE             TX           90009565328
7635321A291993   CASSIE            CAMPBELL              NC           90009052102
76355333A2B271   JULY              PEREZ                 DC           90000853330
7635797258B134   SILVINO ESTEVAN   SEDAS RODRIGUEZ       UT           90013949725
763593A8A8B163   KENNADENE         HUFF                  UT           90011803080
7635B49518B157   SKYLER            HERRERA               UT           90012824951
7636133228B163   NICOLAS           SOTO                  UT           90011803322
76363A8468593B   EDWARD            HORNSBY               KY           90012110846
7636522825B59B   FREDI             ORTIZ                 NM           90003752282
76365619872B22   CINDY             MEJIA                 CO           90014826198
76368A55772B22   BLU               MEDINA                CO           90013060557
76369134572B87   OSCAR             MADRID                CO           90013371345
7636952478B157   COREENA           JONES                 UT           31070295247
76369A38A72B32   GINA              ORTEGA                CO           90010430380
76371A51672B87   DELORES           BANKS                 CO           33094330516
763725A928B157   RAYMOND           BYRNE                 UT           90013865092
763728A368B157   JOEL              CHRISTIANSEN          UT           90012478036
76373663872B87   REBECCA           CHRISTENSEN           CO           90014156638
7637555838B142   TANA              GRONEMAN              UT           31077215583
7637726829154B   MIGUEL            SANCHEZ               NM           90014412682
7637855815B59B   CYNTHIA           ESCALANTE             NM           90011325581
7638187188B157   CAMMIE            NEWMAN                UT           90014618718
76383968A72B22   JESUS             MARTINEZ              CO           90005509680
7638422545B384   MARIO             ARELLANO              OR           90004102254
7638B87188B157   CAMMIE            NEWMAN                UT           90014618718
7639735A431432   GARY              MILLER                MO           90013653504
7639746997B483   CARLOS            GARCIA                NC           11000124699
763974A4351355   JOHN              PARKER                OH           90008864043
7639851699154B   MARK              NAVARRO               TX           90014185169
76398722172B87   SANDRA            LAREDS                CO           33030567221
76399324672B29   STEPHANIE         PIERRE                CO           90003493246
763B1324971921   MELISSA           THOMPSON              CO           90013823249
763B27A898B157   GARRICK           MURDOCK               UT           90007067089
763B398A29154B   CLAUDIA           GONZALES              TX           75081389802
763B43A6572B44   MARCO             NULT                  CO           90002033065
763B444382B994   KAELIN            DAVISON               CA           90014364438
763B588545B59B   DIANNA            KALISCH               NM           90008208854
763B86A7772B87   MIZAEL            MARTINEZ              CO           90011616077
763B9A9924B565   CHARMON           THOMPSON              OK           90010510992
763BB184872B32   BRIANA            WEST                  CO           90014561848
763BB915872B87   KAREN             ONYEALI               CO           33058279158
76412821972B87   KIM               MARTINEZ              CO           90014658219
764139A1755947   DOMINGO           QUINTANILLA           CA           90011459017
76413A14893739   JOSEPH            CHAPMAN               OH           90010730148
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764142A3941253   DONNA           SMITH                   PA           90011322039
76414951272B44   VALERIA         VARELA                  CO           90013039512
76414A79672B37   MICHAEL         PICO                    CO           90013030796
76416AA762B994   LINDA           SANCHEZ                 CA           90013050076
76418685972B31   AUTUMN          MILLER                  CO           90010926859
7641B28AA51391   GARY            SMITH                   OH           90010202800
7642251448B157   CATHERINE       BARNES                  UT           90010665144
76425499872B37   CHRIS           COLE                    CO           90014774998
76426678972B32   SHANE           LANT                    CO           90013466789
764285A3155947   JOSE            SANCHEZ                 CA           90012615031
76429122972B32   SANJUANZ        GUZMAN                  CO           90006831229
76429623372B32   SAN JUANA       GUZMAN                  CO           90012826233
76429932272B32   SANJUANA        GUZMAN                  CO           90014899322
7642B59A655947   JEANETTE        NEWCHURCH               CA           90011075906
7643591979154B   JOSE            ESPARZA                 TX           90012929197
7643778A431432   EDWARD          BENDER                  MO           90010367804
76438443472B37   KURT            APPLEHANS               CO           90006274434
764397A3872479   ALICIA          BOYCE                   PA           90008497038
76445649372B87   BRITTANY        PROSSER                 CO           90014826493
7644681355B59B   JORGE           ESCOBEDO-ALONSO         NM           90013518135
7644742325593B   ENRIQUE         RODRIGUEZ               CA           90008364232
76448A79972B37   OSCAR           DOMINGUEZ               CO           90013030799
7644B37688B134   REBECCA         CLARK                   UT           90013543768
7644BA7A58B134   JAMES           MWJAZE                  UT           90010170705
76451637772B44   ERICK           VALENZUELA              CO           90013966377
7645253888B142   JOSE            RIVAS                   UT           90012425388
76455128772B37   ADELA           RIVERA                  CO           90007131287
7645588369154B   NAYELI          SALAZAR                 TX           90011128836
76456753A5B59B   ALEJANDRA       ORONA                   NM           90012927530
76461818472B29   JOSE            ADINO                   CO           90013328184
76464136672B22   LARRY           ESTEN                   CO           90012891366
76465AA1981633   DOMINIQUE       RAY                     MO           90014340019
76468159372B87   DEREK           KEEL                    CO           90008531593
7647843593B137   GERSON          SERRANO                 DC           90013194359
7647885197B477   WALTER          GONZALES                NC           90010888519
76479485672B44   MICHAEL         WALKER                  CO           33070994856
7647B897555939   JOSE LEUTERIO   JUAREZ                  CA           90013788975
764827A5555939   HUMBERTO        ECHAURY                 CA           90014447055
764872A599376B   FAITH           SHARP                   OH           90012532059
7648853978B134   NEBIYAT         AREGAY                  UT           90015025397
76488A44472B29   BRIAN           CROOKS                  CO           90014990444
7648B46488593B   DUSTIN          MOORE                   KY           90012734648
7648B884855947   TRISTINA        GOAD                    CA           90010778848
76492A36772B44   GRISELDA        SEGUNDO                 CO           90012910367
7649593AA91993   TARRYN          GRAVES                  NC           90011149300
7649872399154B   ERIKA           MARTINEZ                TX           90007137239
76499238872B37   KEVIN           WALCOTT                 CO           90003222388
764B1264355939   JORGE           RODRIGUEZT              CA           90010622643
764B1827755939   BEATRIZ         LEDEZMA                 CA           90012918277
764B2847772B32   ZULEMA          ARROYO                  CO           33092678477
764B3125772B22   WENDY           BUTLER                  CO           90012891257
764B437825B59B   MELANIE         SANCHEZ                 NM           90010853782
764B5817491586   FERNANDA        ANDAVERDE               TX           90011568174
764B5A54155966   JUSTIN          MILLS                   CA           90014870541
764B7A86272B22   MICHAEAL        CHAPMAN                 CO           33008300862
764B89A3681633   STEPHANIE       WHITE                   KS           90015109036
764B963718B142   ASHLEY          ANDERSON                UT           90008876371
764BB325351355   KEYANA          BROWN                   OH           90012863253
765131A328B134   LONNIE          JOHNSON                 UT           90011111032
7651436418B134   EMMA            HALSTEAD                UT           90013413641
76515A29172B87   IRIS            CASTILLO                CO           90013250291
76516A73441253   KIERRA          ALLEN                   PA           90002710734
7651B74329154B   GLORIA          SAPIEN                  TX           90006137432
76522A57531432   ARNOLD          CRUTCHFIELD             MO           27581020575
765235A8572B37   FELIPE          GONZALEZ                CO           90009865085
7652597437B477   CANDICE         FUNDERBURK              NC           90014209743
76526411672B22   JERIKA          ROMERO                  CO           90011304116
7652689338B134   RUSSELL         STEADMAN                UT           90014918933
76527AA119154B   DIANA           CRUZ                    TX           90013950011
7652834348B168   TARIK           QUAYSON                 UT           90013753434
76528811772B32   ANGEL           LOPEZ                   CO           90009578117
76529796A8593B   KATHERYN        LARISON                 KY           90010797960
7652B148455966   VERONICA        BENAVENTE               CA           90014921484
7653112539154B   JESUS           PENA                    TX           90007181253
76533623872B44   MELISSA         ABREGO                  CO           90013046238
76534847572B22   GABRIEL         GONZALEZ                CO           90012898475
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7653621958B134   ANNAMARIE       YAZZIE                   UT           90013952195
7653696619154B   YERALDIN        PERLA                    TX           90010229661
765389A4755966   YOLANDA         OLIVERA                  CA           90014929047
7653B23189154B   MARTIN          APODACA                  TX           90012752318
7654168953B371   GLORIA          CHAVEZ                   CO           90009116895
7654227A28B142   BRANDON         MCNAIR                   UT           90012032702
7654378822B994   ERIK            PINEDA                   CA           90013427882
7654379238B134   KHIN            HTWEI                    UT           90012457923
765457AA472B37   MAXINE          PAPES                    CO           90013847004
76546184872B32   BRIANA          WEST                     CO           90014561848
76546A87872B37   JAMES           REYNOLDS                 CO           90013030878
7655595368B163   PHILOMENE       SINGINGAYO               UT           90013019536
7655779118B163   ALEXANDER       VINCENT                  UT           90001847911
76558A36871921   PALOMA          ROMERO                   CO           90013840368
7655B17A98B157   MALAKAI         MATANTI                  UT           90013351709
7655B494672B29   JAQUELINE       PONCE                    CO           90010694946
7656728A372B44   ANDY            RODRIGUEZ                CO           90015132803
7656761379154B   ROBERTO         LUNA                     TX           90014546137
76567A3238B157   JAMIE           FORD                     UT           90010460323
76571A3268B157   EME             LEAUSA                   UT           90014860326
7657292315B384   RANDY           STEVENS                  OR           44515469231
76573166672B22   BRITTNEY        ORR                      CO           90013841666
76573289A5B59B   PHILOMINA       PAIJEBO                  NM           90010462890
7657395AA72B22   BRITTNEY        ORR                      CO           90011139500
7657519A941237   CALEB           HENDRICK                 PA           90012781909
76575765A91572   GUSTAVO         GUTIERREZ                TX           90009877650
7657626658B163   OLIVIA NENE     RODRIGUEZ                UT           90011812665
76577675272B32   JULIO           HERRERA                  CO           90012046752
7657771495B59B   ERIC            ROSALES                  NM           90011057149
7657B554181633   MICHAEL         WOODWARD                 MO           90014025541
7657B986772479   JAMIE           FERRARI                  PA           90014599867
76581AA7A91993   BERTHAL         ETTSON                   NC           90010060070
7658497239154B   GABRIEL         ANDUJO                   TX           90011969723
76584A3A755947   RICK            NUNEZ                    CA           90008870307
7658522258B163   MARCELA         LUNA                     UT           90013072225
7658555A28B157   DEMACIO         NATAEL                   UT           90012445502
7658583845B384   RICHARD         BARRY                    OR           90006508384
7658699918B142   MICHAELA        KAMMERMAN                UT           90010519991
7658856888B168   NICHOLE         MCCALLISTER              UT           90009775688
7658994648B168   KEVIN           HARPER                   UT           90002989464
765915A3172B29   CRYSTAL         MORALES                  CO           90001825031
76594459472B44   FRANCISCO       BURCIAGA HOLGUIN         CO           90013034594
7659577588B168   RANDI           SPIKER                   UT           90011727758
76595A96291993   SNT             ADMINISTRATION           NC           90002230962
7659717A78B157   REBECA          MENDOZA                  UT           90015161707
76597444A72479   SHAWNA          EVERETT                  PA           90011884440
76597459872B44   KLAW            MEH                      CO           90013034598
765977A1472B29   ANTOINO         SOLIS-GUERRA             CO           90004527014
765B2149681633   NICOLE          RICK                     MO           90012961496
765B2271251378   JACKIE          HAMILTON                 OH           90005252712
765B2721A72B37   VALERIE         SASSE                    CO           90012307210
765B3486872B87   SABRINA         FLEMING                  CO           90013484868
765B766972B994   MARCI           HUGGINS                  CA           90014856697
765B954278B168   LAVI            UASIKE                   UT           90011725427
765B9672772B87   DAMARIS         LOPEZ-RAMOS              CO           90013056727
765BB898641253   MATTHEW         PAWLAK                   PA           90012518986
766145AA95B384   KRISTALYNN      BISHOP                   OR           90004105009
76615755572B44   SAUL            VALQUIER ARGUMANIZ       CO           90011307555
76617334897B39   SAVANNAH        KLINGENBERG              CO           90008253348
76617A84585995   RACHEL          HEGER                    KY           90008550845
766187A8293739   COURTNEY        WILLIAMS                 OH           90010917082
76618838572B22   TOMAS           DELUNA                   CO           90010298385
76618A7398B163   JORDAN          GALE                     UT           90004980739
7661B554181633   MICHAEL         WOODWARD                 MO           90014025541
766242A6481633   SHEILA          CROWELL                  MO           90001882064
7662515877B477   ANTHONY         WILLIAMS                 NC           90013611587
766259A837B477   EBONY           BALKUM                   NC           90010269083
7662811A89154B   KARLA           ALEJANDRE                TX           90013721108
76629469772B44   TERESA          SOSA                     CO           90013034697
7663511A89154B   KARLA           ALEJANDRE                TX           90013721108
76635A59541253   JUSTIN          LAURIA                   PA           51045780595
766391A1A72B44   EDWIN           GARCIA                   CO           33096031010
7663B64488593B   JENNIFER        GRAY                     KY           90014246448
7664151119154B   TOMMY           DURAN                    TX           90010435111
76646228272B87   JORGE           GUTIERREZ                CO           90013882282
7664B197831443   FRANK           RICHARDSON               MO           27569981978
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7664BA8532B994   BRIANNA          BUTLER                 CA           90014450853
76652318572B44   MARIA            DE LA CRUZ             CO           90010833185
7665339498B157   JONATHAN         NUNEZ                  UT           90013363949
76659868972B37   RICHARD          REYES                  CO           90013358689
76662A7A55B59B   LILIA            VALENZUELA             NM           35066040705
76664415772B44   DORA             AMBOURN                CO           90009184157
76664569A7B477   MAJOR            WIFE                   NC           90012855690
76664981A31432   LATONYA          CLARK                  MO           90013939810
7666696A272B22   PEDRO            BINTEZ                 CO           90011139602
76666A11291993   LORLAINA         J FUNDERBURK           NC           90007000112
76668517172B35   RYAN             OLIVE                  CO           90009235171
7666B345972B29   GONZALO          FREDOSO                CO           90013983459
7666BA8532B994   BRIANNA          BUTLER                 CA           90014450853
766722A1A9154B   MAGGIE           SANCHEZ                TX           75096072010
76675984A41237   GEORGETTE        SWISHER                PA           51062279840
76677A7188B163   MARISSA          CONTRERAS              UT           90012820718
7667B466851378   NIESHA           BRAY                   OH           90009854668
76683939372B87   DESIRAY          GRADY                  CO           90012909393
766866A685B384   REBECCA          TUSHNER                OR           90004106068
76687AA7471921   TRENT            LUEDERS                CO           90012960074
7668889365B59B   KYLEE            JARAMILLO              NM           90013668936
76689234A8B134   CHRIS            BOHEN                  UT           90015202340
7668B55838B157   CARMEN           PADILLA                UT           90012775583
7669157A85B59B   OLGA             ALVAREZ                NM           90011665708
76693255A72B32   FAVIOLA          CENDEJAS               CO           90013682550
76694334572B87   BILL             GOODRICH               CO           90012373345
76695AA8A8B168   MICHAEL          JUVENAL                UT           90002850080
7669789628B163   VERONICA         HAYES                  UT           90002838962
7669924199154B   GUADALUPE        SALAS                  TX           90006682419
7669B4A4631432   BETH             WAMPLER                MO           27575454046
766B1649572B22   RHONDA           RICHARDS               CO           90009636495
766B2976672479   GREG             MAST                   PA           90010449766
766B362858B157   STEWART          SASSER                 UT           90015166285
766B912627B477   JONICA           BULLOCK                NC           90013551262
766B9745171921   RAECHEL          LOVE                   CO           90012177451
7671212759154B   JORGE            MARQUEZ                TX           90000151275
7671248718B157   GLORIA           BEGAY                  UT           90013784871
76716547672B29   GILBERT          ALMANZA                CO           90013365476
7671B7A868B163   VANESSA          PAREDES                UT           90013507086
7671B89468B163   VANESSA          PAREDES                UT           90011818946
76723418372B32   LUCIA            SELL                   CO           90013804183
76723A15A9712B   EMYLEE           GLIDDEN                OR           90008560150
767246A2676B8B   KENNETH          AMBROCIO               CA           90005906026
7672736818593B   SIMONSON         CHRISTOPHER            KY           66039163681
7672B248472B44   DEANGELA         NEAL                   CO           90010002484
7672B55167B477   SHANNEEKA        DAWKINS                NC           90009755516
76731743A72B37   AMANDA           PRICE                  CO           90008107430
7673222437B477   EULOGIA          LUNA                   NC           90013922243
76738318A31433   MARKEITA         JORDAN                 MO           90004423180
767387A519154B   GABRIELA         HIPOLITO               TX           90014187051
7673B59A655947   JEANETTE         NEWCHURCH              CA           90011075906
7673B933872B37   LILANA           GARCIA                 CO           90004969338
7674519A48B134   BRANDI           BECKSTEAD              UT           90012891904
76746A26391548   EDITH            URENO                  NM           90013070263
7674742517B477   CHINELLE         SIMMONS                NC           90015204251
7674762A531432   NICQUITIA        JOHNSON                MO           90014306205
767477A1972B37   JUAN FRANCISCO   MENJIVAR               CO           90013847019
76752398572B22   BEN              VALDEZ                 CO           90013483985
767524A7472B87   WILFREDO         LOPEZ                  CO           90012814074
767549A468B163   JUAN             MERCADO                UT           90013299046
76754A4279154B   DANIEL           NEVAREZ                TX           90011190427
767571AAA8B353   SHANTE           HATTEN                 SC           90013861000
7675B115771921   ALFONZO          ORTIZ                  CO           90013841157
767612A189154B   ISAIAS           CUMMINGS               TX           90007892018
7676237A351355   KATHERINE        RIVAS                  OH           90013923703
76763133A93739   JACOB            HILL                   OH           90012541330
76766478A71921   ERIC             WEIDNER                CO           90002914780
7676B21349154B   ANTHONY          BELIS                  TX           90014382134
7676B42A58B134   ANA              ROBLES                 UT           90013954205
7677119958593B   JENNIFER         HALEY                  KY           90012961995
767732AA28B163   BRANDON          NORTH                  UT           90011822002
76777167972B29   ZAIDA            ORTIZ-RODRIGUEZ        CO           33083251679
7677783775B399   IVAN             PAXTON                 OR           90014958377
767779A748B157   NICOLE           CHAVEZ                 UT           90002019074
7677916192B844   CHRISTOPHER      JOHANSON               ID           90011261619
7677966928B157   ELENA            SANTHEZ                UT           90013646692
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7677B74A88B142   VICTORIA        SENKO                   UT           90011127408
7678217198B134   ANGEL           ALVAREZ                 UT           90013321719
7678319698B157   SKYLER          JENSEN                  UT           90015271969
76785A15951355   SADE            WALKER                  OH           90014500159
7678892999154B   SERGIO          ARMENDARIS              TX           90010799299
7678981698B157   JUAN CARLOS     ROJAS                   UT           90012168169
7678B13A972B87   DEIANIRA        GARCIA-REYES            CO           90011931309
7678B939391941   SHAWNDA         DOWELL                  NC           90013649393
76791289872B32   LIZVET          OLIVAS                  CO           90014712898
7679355269154B   MARK            DRAKE                   TX           90014675526
76795365572B22   MONICA          KNOX                    CO           90011993655
7679549769154B   LAURA           AGUILERA                TX           90007584976
76797A82397122   TASHIA          BORIA                   OR           90011300823
767B17AA99152B   ALEJANDRO       MONTIEL                 NM           90009687009
767B279728B157   DUANE           LAJUAN                  UT           90014587972
767B4416272B87   ROYBAL          LOURIE                  CO           33082204162
767B5436971921   AMBER           SCHNEIDER               CO           90012154369
767B5966972B37   LUKE            HERRING                 CO           90011849669
767B8814941253   JOHANNA         GONZALEZ                PA           90011218149
767B9612241253   SONTE           GREIR                   PA           90011366122
76812769872B32   TAMARA          VIGRASS                 CO           90012927698
76812A1A88B142   RAENI           AARON                   UT           90011160108
7681487388593B   JUAN            MARTINEZ                KY           90011928738
76815522A72B44   JESUS           VEGA                    CO           90013035220
76815771A9154B   ELIA            CASAS                   TX           90014187710
7681754A372479   CHRIS           PAUL                    PA           90013575403
7681755638B168   LANE            WAYNE                   UT           90011735563
7681B41753168B   JOANNA          FOUNTAIN                KS           90001974175
7681B86698B134   LATRISHA        CASSELBURY              UT           90013258669
76823523772B44   STEPHANIE       DENNIS                  CO           90013035237
76823A98931432   MASSIFENY       SOURARE                 MO           90009320989
768278A5241253   STEPHANIE       HAGOOD                  PA           90013958052
76828AA7293739   ISACC           GUTIERREZ               OH           90014640072
7682B469555939   GUILLERMO       VASQUEZ                 CA           90015104695
7683359229154B   RUTH            HERNANDEZ               TX           90009105922
76838A9989154B   RAYMUNDO        HERNANDEZ               TX           75017140998
76841529472B44   ROBERTO         PEREZ                   CO           90013035294
7684468658B142   CLAIRE          ALMEIDA                 UT           90012696865
768475A2861958   JOEL            ANGUIANO                CA           90009895028
7684885335B35B   DAN             FARNSWORTH              OR           44521558533
76849181172B22   DORICE IDARIE   HOLLANDS                CO           90014761811
7685244928B163   ANA             SORIA                   UT           90013094492
7685476439154B   HERNANDEZ       ALEJANDRA               TX           90012287643
76855933A8B157   EDUARDO         VAIZ                    UT           90015099330
768573A7141253   GABRIELLE       ROBERTS                 PA           90001793071
76858938772B32   VIRGINA         LANGE                   CO           90015329387
76858A1898B157   LYNAE           BURKE                   UT           90012850189
76858A94541237   SEAN            MUNDY                   PA           51006210945
768642A6841253   MICHAEL         MCCUNE                  PA           90013922068
7686526829154B   MIGUEL          SANCHEZ                 NM           90014412682
76865436372B22   GERRY           COOPER                  CO           90014564363
76866854A71921   ROBERT          KELSO                   CO           90011128540
768681A7772B37   EVON            CADMAN                  CO           90013991077
76868AA3272B22   ANA             QUINTANILLA             CO           90011140032
7687142198B142   ROBERT          FAIRCLOTH               UT           90010544219
7687158248B168   ROBERTO         PENA                    UT           31073165824
76874186472B32   AGUSTIN         ROSALES                 CO           90011131864
76874591A93739   KELSI           DECKER                  OH           90011035910
76874A43993739   DIONNA          SMITH                   OH           90014640439
76875771A55939   JENNIFER        JAIME                   CA           48004437710
7687585367B477   JONQUEELA       CHAMBERS                NC           90000998536
768776A528B157   ARTHUR          VALDEZ                  UT           90011256052
76878938A9154B   MONICA          GALLARDO                TX           90008979380
76878A6145B59B   PAUL            BACA                    NM           90005990614
76879A32972479   DONNA           GAITO                   PA           90011620329
7687B184472B32   AFRICA          GEBREGHIABHER           CO           90013961844
7688265A28B163   JESSIE          WOODSON                 UT           90013156502
7688377628B353   AUSTIN          PACHECO                 SC           90015327762
76885781172B87   CHRISTOPHE      KOTH                    CO           33082867811
76886683272B22   RONNIE          ALARID                  CO           90013236832
7688B19A48B134   BRANDI          BECKSTEAD               UT           90012891904
7688BA22681633   JAVIER          FERRER                  MO           90012370226
76894326572B22   FRAN            BOYD                    CO           90010263265
76894872972B37   RICKY           GONZALES JR             CO           90012098729
768958A4581633   DAVID           CARLOS                  MO           90003218045
76896314A72B29   MIKE            WOLF                    CO           33014793140
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 699 of 1007


768965A3A8B134   JAIME          CARTER                   UT           90013955030
7689848A651355   NIA            DOUGLAS                  OH           66037414806
76899726872B37   MAGALY         ANIMA                    CO           90015167268
768999A7655947   ANNA           ARRIZON                  CA           90012459076
7689B94395B59B   JESUS          SANCHEZ                  NM           90009569439
768B1173A72B37   LAUREN         TREJO                    CO           90014671730
768B155312B994   MELISSA        LUNA                     CA           90013165531
768B2564181633   LASHAWN        EWING                    MO           90014865641
768B3814693739   JENNIFER       SISSOM                   OH           90009318146
768B4259355939   MIGUEL         RAMIREZ                  CA           90011332593
768B44A4272B87   MARK           VAUGHN                   CO           90007454042
768B5AAAA72B37   STEVEN         MEYER                    CO           33005970000
768B791A966181   SAMANTHA       LOPEZ                    CA           90012469109
768B935318B142   MEGAN          LEWIS                    UT           90008123531
7691332535B59B   NATHAN         FORBUSH                  NM           90014773253
76913753A5B59B   ALEJANDRA      ORONA                    NM           90012927530
76915629172B37   YESSENIA       ALARCON                  CO           90010336291
76919297872B29   SANDY          OCAMPO                   CO           90006082978
76919455772B87   ALONZO         ALCON                    CO           90010504557
76921843A31432   GARY           WILLIAMS                 MO           90014968430
76921A2318B134   MARCELA        PINONES                  UT           31018110231
76921A4A58593B   JOANN          BARNARD                  KY           90013390405
76923432672B22   ANGELA         GALLEGOES                CO           90011354326
76924695A41237   CHRISTINA      DETACE                   PA           90008536950
7692592639154B   YADIRA         MEDINA                   TX           90010759263
7692926A571921   SAMUEL         GROENEVELD               CO           90013352605
7692B545684329   DOROTHY        BLACKBURN                SC           90004865456
7692BA2742B271   ZINA           MOORE                    DC           90003340274
7693637548B157   TOURE          HARRIS                   UT           90007243754
7693752268593B   LAURA          CUNNINGHAM               KY           90007145226
7694215969154B   BEATRIZ        ESPINOSA                 TX           90012951596
7694261A472B37   JUAN           ESPARSA                  CO           90012616104
76944491872B32   JOSE LUIS      RUBIO                    CO           90011864918
7694553978B134   NEBIYAT        AREGAY                   UT           90015025397
76946539472B29   COREY          BELLERIVE                CO           90010915394
7694923A38B142   JOSE           PAVON                    UT           90011492303
7694973A841237   ELOISE         FAYE                     PA           51029727308
7694B919A93771   LISA           TATE                     OH           90012559190
7694B921A72B87   LUCIO          MARTINEZ                 CO           90008459210
7694BAA528B157   THERESA        MYERS                    UT           31001930052
769513AA172B32   SERENA         ARCHULETA                CO           33061643001
76953564572B44   MORISSA        SACKETT                  CO           90013525645
7695356528593B   ALICIA         PHILLIPS                 KY           90014065652
76955A7A581633   DONNESHA       CARTER                   MO           29045930705
7695979488B163   JESSIE         BENEFIELD                UT           90011827948
7695B414691993   EBONY          JACKSON                  NC           90011244146
7695B77A372B87   CATALINA       HERRERA                  CO           90014707703
7696156668B134   PRETORIA       MOUNGA                   UT           90013955666
7696237A372B22   LORENA         MORALES                  CO           90010283703
7696241943168B   MONIQUE        ALLEY                    KS           22092434194
76965113372B37   JUAN ANTONIA   DIAZ                     CO           90013621133
76965663872B87   REBECCA        CHRISTENSEN              CO           90014156638
7696912A141227   CATE           SCARSELLI                PA           51043381201
769694A7631471   TAMEKA         ANDERSON                 MO           90011844076
7696B874872B22   DEVANTE        BIRDSONG                 CO           90012898748
7696B884772B44   SHANA          DE BOTH                  CO           90014708847
76972325872B87   FRANCIS        DOIEL                    CO           90003883258
7697268A833698   FELECIA        INGRAM                   NC           90012816808
7697313755B59B   ANNA           TORRES                   NM           90010111375
7697525457B321   BARRETT        CAIN                     VA           90010822545
76976452A81633   BRITTINI       HUDSON                   MO           90010964520
7698129828B142   TIMOTE         MOALA                    UT           90012182982
7698299519154B   MUNIZ          YARISDY                  NM           90010229951
7698486A281633   BRIAN          MARTIN                   MO           90012978602
7698664A73B325   VICTOR         REYES                    CO           90010316407
7698887A731432   BOB            YOUNG                    MO           90012518707
76992A91A93739   CIERRA         EUBANKS                  OH           90013610910
7699316698B168   K              MONSON                   UT           90011741669
7699324264B949   DANNY          MEVILS                   TX           71095982426
76996222572B44   MICHELLE       DURAN                    CO           33080162225
76996244A81633   JACI           ALEXANDER                MO           90008502440
7699693639154B   NESTOR         RAMIREZ                  TX           90001619363
76997192372B37   KEEGAN         NAGEL                    CO           90013321923
7699B113593746   CHRISTIAN      SAVAGE                   OH           90000511135
7699B32865B59B   DANIEL         CARBAJAL                 NM           90002393286
769B4612955939   JUAN           LOPEZ                    CA           90012986129
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769B67A7155966   FELICITAS      GUTIERREZ                CA           90015047071
769B86A5A93739   MIKE           MIKE                     OH           90011036050
769B927A951355   CARRIE         WILLIAMS                 OH           90010982709
769B985283168B   LEXI           CHRISTY                  KS           90009728528
76B117A6951337   JACQUELINE     WILLIAMS                 OH           66034387069
76B1229668593B   NESTER         AGUILAR                  KY           90012212966
76B13172131432   TREVON         MOORE                    MO           90014121721
76B1513732B994   ANA            NAVA                     CA           90010151373
76B1688118B134   CRAIG          VOIGT                    UT           90004708811
76B2245152B994   DYLAN          VANG                     CA           90013414515
76B25848271921   BECKY          SMITH                    CO           90000618482
76B26935A55966   SHANNON        STORY                    CA           90007599350
76B27442171921   BILL           SWANGO                   CO           90012354421
76B2875797B477   JULIO          DORIA                    NC           90011917579
76B28911672B44   ALISHA         RIVARD                   CO           90014699116
76B29856157531   SANDRA         LARGO                    NM           90014608561
76B2B137972B44   KATY           ROBINSON                 CO           90015091379
76B2B3A549154B   LILIANA        SANCHEZ                  TX           90014183054
76B3223A733698   TRAVIS         WATERS                   NC           12003992307
76B3264858B134   SEPA           SEHWENKE                 UT           90011886485
76B3289A772B22   SAYLA          JOHNSON                  CO           90013278907
76B33467393739   JUANITA        BOGLE                    OH           90009314673
76B33A32151355   SHEILA         BARGER                   OH           66029880321
76B34519972B32   MARCELA        MUNOZ                    CO           90011195199
76B38A13631432   TENIERA        HUBBARD                  MO           27507080136
76B42756641237   LAVALLE        ALFORD                   PA           90010167566
76B42767631672   ANTHONY        KLIMA                    KS           22083697676
76B46178991993   KAMALI         BOSPIC                   NC           90010151789
76B4637989154B   MARIA          MONDRAGON                TX           90014203798
76B46834381633   ESSENCE        WILLIAMS                 MO           90008488343
76B46A7729154B   LIZETTE        GARAY                    TX           90010780772
76B47A2559154B   PERLA          ANDERSON                 TX           90011750255
76B49939372B87   ALICIA         SOTO CRUZ                CO           90012819393
76B4BA91663657   JAMES          STRUCKMAN                MO           27577610916
76B54598193747   QUE-SHAON      PAYNE                    OH           90010665981
76B55365A93739   MASON          WYATT                    OH           90013073650
76B58534672B87   JUANA          SICAIROS                 CO           90011615346
76B5BAA399154B   PATRICIA       RAMIREZ                  TX           90014900039
76B63139855939   PETRA          GONZALEZ                 CA           90013991398
76B633A9872B44   LEZDETH        MUNOZ                    CO           90013033098
76B638A1831432   NICOLAS        SELLERS                  MO           90008388018
76B6455489154B   GEORGINA       SALAS                    TX           90012525548
76B66613855939   CUBERTO        RAMIREZ                  CA           90014266138
76B69616681633   JUDIE          SIMMONS                  MO           90010136166
76B69964231432   ANTONIO        MAYS                     MO           90013229642
76B6B872471921   JORGE          DELEON                   CO           90003728724
76B71271293739   AMBER          MCBRIDE                  OH           90014652712
76B72523872B22   JARUN          LAWS                     CO           33054585238
76B77337771921   NALLELY        OROS                     CO           90004503377
76B78569655966   PRISCILLA      LOPEZ                    CA           90014785696
76B789A492B994   GELESIO        CONSALAZ                 CA           45026939049
76B79A3882B271   PAMULA         DAWKINS                  DC           90009270388
76B81526972B87   DAVASHUNIQUE   MOSLEY                   CO           90012145269
76B81626831432   VINCENT        GOODE                    MO           90001496268
76B81835972B37   DEJONAY        CORDOVA                  CO           90004628359
76B8215AA8B163   PAULA          CARDENAZ                 UT           90011791500
76B82367672B37   PAYGO          IVR ACTIVATION           CO           90014123676
76B82A65272B32   JULIE          WARNER                   CO           90011180652
76B83589172B32   TYLER          SELL                     CO           90013015891
76B8434989154B   ALMA           CASAS                    TX           90014183498
76B8576268593B   ALICIA         PRATHER                  KY           90012597626
76B858A8A55939   SHEILA         APODACA                  CA           90010878080
76B8899832B994   CINDY          CISNEROS                 CA           90013049983
76B8968A55B59B   JASMINE        THOMAS                   NM           90014576805
76B91569655966   PRISCILLA      LOPEZ                    CA           90014785696
76B9177818B168   VICTOR         GARCIA                   UT           31095607781
76B9397512B994   GEORGE         RICO                     CA           90013789751
76B93A24155966   OLGA           RAZO                     CA           90011840241
76B9619468B168   JESSE          ALVEY                    UT           90002751946
76BB327288B142   JOSE           SOLTERO                  UT           90013892728
77112579A72B27   DONNA          DUNCAN                   CO           90007005790
77115779472B32   SHALAMAR       BOBIAN                   CO           90013627794
7711845875B37B   JOHN           CONDRON                  OR           44586524587
77119795172B22   CHARLES        VARGUS                   CO           90010227951
7712132798B157   FERNANDO       PEREZ                    UT           90014283279
7712279975B557   MANUEL         MELARA                   NM           90011077997
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771241A6172B87   NICOLE         BETTALE                  CO           90013161061
77125834272B44   MONICA         STEVENS                  CO           90010558342
7712875718B157   SCOTT          SCHMIDT                  UT           90013827571
7712877248B134   JOHN           WALLACE                  UT           90010637724
7712B628772B22   AMETHYST       WILLIAMS                 CO           90013096287
77131563172B32   PATRICK        LUCERO                   CO           90010685631
77133A84293739   LAUREN         PIGMAN                   OH           90005540842
771344A1872B87   SHARALYN       ERICKSON                 CO           33052354018
77135654872B32   MIKAYLA        SANTANA                  CO           90007296548
771358A767B477   TONIA          COLLINS                  NC           90014018076
7713681325B354   LORENZO        LOPEZ GARCIA             OR           90012608132
77137669872B22   JUANA          LOPEZ                    CO           33042046698
7713878138B142   CODY           EVANS                    UT           90015107813
77139994A93739   KIMBERLY       THOMAS                   OH           90013719940
77141933572B32   VERONICA       RUIZ                     CO           33067059335
77141942172B22   NICHOLOS       STODDARD                 CO           90011969421
771435A6372B37   MARHA          DEPAUL                   CO           90004865063
7714423465B59B   JUAN           BARRAZA HERNANDEZ        NM           90002802346
77144A2A255969   VICTOR         MAGANA                   CA           90012790202
7714B519331433   BLAIR          THOMAS                   MO           90011095193
7715293988B168   MARIA          HERRERA                  UT           90011659398
7715355938593B   HEATHER        VASSER                   KY           90000325593
77154A1532B271   TASHA          CHAMBERS                 DC           90004700153
77157941A41237   CARL           CACERE                   PA           90013849410
7715BA99631433   MARISSA        VOELKERDING              MO           90007740996
7716161118593B   JOHN           GILLISPIE                KY           90014276111
7716285727B477   TYONNA         NEAL                     NC           90011308572
77164AA5991588   LAMBERTO       ACOSTA                   TX           75092700059
7716554328B168   WHITNEY        ANDERSON                 UT           90012245432
7716655AA72B32   MALACHI        MARTINEZ                 CO           90010125500
77167574A5B37B   RICHARD        POLIN                    OR           90005005740
7716B1A688593B   ANGELA         COOPER                   KY           90013051068
7716B554255969   ORASIO         SOTO                     CA           90013425542
7716B676797B45   FRANCISCO      ARELLANO                 CO           90012786767
77175A19272B32   KIMBERLY       YAMAGIWA                 CO           90013580192
771771A585B59B   JAVIER         JACQUEZ                  NM           35004921058
7717B3A3141237   JAMEE          CONNORS                  PA           90006903031
7717B654A72B32   ANDREW         MOSSAD                   CO           90010936540
7717B91742B994   CARLOS         GUZMAN                   CA           90008159174
77185A5A593739   KARA           PETRAKOS                 OH           90011540505
771893A9131443   REGINA         BRIGHT                   MO           90011253091
7718BA3A772B87   BRYAN          MOWER                    CO           90014170307
771928A2972B87   MIGUEL         CASTRO                   CO           90015098029
77192A4A272B87   MIGUEL         CASTRO RODRIGUEZ         CO           90014170402
77198197172B37   JAIME          FLORES                   CO           90010601971
7719B37138B142   JASLEE         HORE                     UT           90007263713
7719B79A572B37   CRYSTAL        PEREZ                    CO           33035037905
771B2261272B32   JOHN           SMITH                    CO           90012012612
771B396A772B22   JOSE           VALLEJO                  CO           90012999607
771B568A472B87   ROSE           CARTER                   CO           33000126804
771B5747997B34   JESSICA        FLORES                   CO           90001217479
771B5A6968B157   LEWIS          YENNA                    UT           90011900696
771B811868593B   BARBARA        ELLIOTT                  KY           90012861186
771B86A3172B22   DESI           BACA                     CO           90009946031
771B958A272B87   DESIREE        HOLMAN                   CO           90003745802
771BBAAA98B157   JEREMY         CUELLAR                  UT           90010620009
7721243158B163   ANGELA         BROWN                    UT           90012294315
772132A1933698   CASSANDRA      PATRICK                  NC           90005372019
7721651168B168   TRACY          BOUNDS                   UT           90015055116
772183A9131443   REGINA         BRIGHT                   MO           90011253091
7721B43158B163   ANGELA         BROWN                    UT           90012294315
77225576872B37   QUEENISHA      SMITH                    CO           90012015768
77226736A71921   TONY           BANISTER                 CO           90000837360
7722691825B37B   CHARLES        CANO-HARRIS              OR           90009919182
77226937A8B142   TINA           SNOW                     UT           90010359370
77226A66572B29   DESIREE        TAFOYA                   CO           33085880665
7722B599181621   GODWIN         OMOREGIE                 MO           90010735991
7722BA61472B87   IVETTE         REYES                    CO           90014170614
77232735397B45   LORENA         MURO                     CO           90002487353
77233763872B87   KAELA          ARAGON                   CO           90009387638
77236845A41237   JOE            BLAKE                    PA           90010978450
77238A34741237   NICOLE         TEPALMA                  PA           90011750347
77239A66A8B163   STEPHAN        RAMSEYER                 UT           90014720660
7723BA3832B994   MARGARITA      GONZALEZ                 CA           90012950383
77241476A55947   LEONARD        GARCIA ALCARAZ           CA           49050504760
7724235A62B994   NANCY          XIONG                    CA           90014893506
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77243673572B37   DAVID          FELICIANO                CO           90005316735
77243864372B29   LUIS           MURO                     CO           90010448643
772439A3272B23   NICOLETTE      PONZIO                   CO           90012339032
77243A16A8B134   TAMARA         BARKDULL                 UT           90009740160
772444A6131432   PATRICIA       RICHARD                  MO           90005914061
772471A3A8B168   JENNIFER       HUNTER                   UT           90013481030
7724755AA8B168   JENNIFER       HUNTER                   UT           90008365500
77247A75131432   ROBBIE         HILL                     MO           90001690751
77248A4547B477   DAVID          FOSTER                   NC           90012450454
7724978558B134   MELANY         REYES                    UT           90012917855
772523A1472B29   DAVID          CALIXTO                  CO           90015173014
7725354348B168   CESAR          GONZALEZ                 UT           90001645434
77254545A8B163   ANDREW         CROWTHER                 UT           90013125450
772559A4493739   JASMIN         PURNELL                  OH           90013629044
7725B478255947   JERONIMO       AYALA                    CA           90012664782
77264214872B22   BRITTANY       BATTENBURG               CO           90014702148
77264734A72B87   MARIA          RAMOS                    CO           90005397340
77266256A41253   JARROD         ZONA                     PA           90006192560
7726998A68B168   SANTIAGO       RODARTE                  UT           90014919806
7727563368B157   SAMANTHA       SMITH                    UT           90010886336
772771A7597B45   GUADALUPE      LOPEZ                    CO           90006901075
77278494772B32   MARIA          CASTROVEGA               CO           90012954947
772793A5A91588   LAURA          MARTINEZ                 TX           90011823050
7727943A155947   GEORGE         HERNANDEZ                CA           90012604301
7727B648661951   REBECA         ALBARRAN                 CA           90014156486
77283A1A32B994   DAOVY          MANGMORADETH             CA           90002610103
7728443738B168   JAIDAN         ANDERSON                 UT           90015134373
7728554834B263   JAMIE          KURTZER                  NE           90014385483
77285A56A72B29   VICTORIA       MESSAOUDI                CO           90011110560
7728689387B477   MICHELLE       REED                     NC           90012008938
7728772385B37B   APRIL          THORSEN                  OR           90010107238
7728894988593B   MICHAEL        JACKSON                  KY           66057969498
772925A6833698   MICHAEL        SELLERS                  NC           90011125068
7729529A972B87   DANIELLE       SOFFA                    CO           90010392909
7729B7A892B271   WANESHA        LEWIS                    DC           90011207089
7729BAA688B163   SARAH          PIERCE                   UT           90002840068
772B4A68491588   CESAR          MARTA                    TX           75000020684
772B746327B477   PATRICIA       PERRY                    NC           90002894632
772BB93988B168   MARIA          HERRERA                  UT           90011659398
773127A5197B45   SMITH          KAREN                    CO           90007547051
77314524572B37   AMARIS         CRUZ                     CO           90011395245
7731627785B59B   DOMINICK       SEPULVEDA                NM           90014502778
773174AA972479   RONALD         CHESTER                  PA           90000704009
7731977A672B29   DULCE          MATA                     CO           90013437706
7732213A797B45   JESSICA        PACHECO                  CO           90010811307
7732218628B163   MOHAME         AMIN                     UT           90014721862
77322A8992B271   LEROY          A BARNABY                DC           90014620899
7732B17768B163   JAZMIN         PHELPS                   UT           90014721776
7732B563772B32   JESSICA        TREVIZO                  CO           90006555637
77332A16781633   TOMMIE         STEVENS                  MO           90012390167
7733545A831439   KIARA          TIMES                    MO           90007724508
7733546768B134   NICOLE         CRESPIN                  UT           90004364676
773361A833168B   ROSE           MOORE                    KS           90006081083
77336A26391548   EDITH          URENO                    NM           90013070263
773395A9531443   JEREMY         DENSON                   MO           90011255095
7734287355B59B   KATE           ARNOLD                   NM           35070458735
77342A23872B29   CESAR          ACOSTA                   CO           90012110238
773461A6172B32   KIM            VO                       CO           90009981061
7734781A255969   JONATHON       PORCHIA                  CA           90012458102
77354216272B22   NICHOLAS       CUNNINGHAM-CHARON        CO           90011882162
7735547888B142   GERARDO        CASTRO                   UT           90011604788
773563A9177552   MARIANNE       DAVIS                    NV           90004093091
7735796825B281   PATRICIA       SAUNDERS                 KY           90001419682
7735913A797B45   JESSICA        PACHECO                  CO           90010811307
7735928268B163   TYANNA         MIXON                    UT           90014742826
773598A3231433   ASHLEY         HOGAN                    MO           90011098032
7736B56312B994   NELSON         BETTENCOURT              CA           90013375631
77371A9177B477   SHARIKA        ROBINSON                 SC           90013370917
773725A975B37B   WILLIAM        REED                     OR           90003205097
7737285218593B   BRIAN          WILLIAMS                 KY           90010998521
7737B411472479   DEBRA          BATTLE                   PA           51088814114
7738487A78B134   SHERICE        PARCELL                  UT           90009818707
773864AA95B37B   KENNETH        COLLINGSWORTH            OR           90000454009
77387A7832B994   SAMUEL         CAHOW                    CA           90014150783
77388146297B45   ANOTHONY       BENSON                   CO           90012851462
7738B373231432   GINA           VOGEL                    MO           27525533732
       Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 703 of 1007


7738B81248B163   JONATHAN        GARCIA                   UT           90012588124
7738B83395B37B   JOSHUA          BROTEN                   OR           90010138339
7739334168B855   JUBILEE         ALCONCEL-TOBOSA          HI           90014773416
773951A5171921   QERINA          QUINTANA                 CO           32005211051
773965A4931443   LAKISA          WILLIAMS                 MO           90009245049
7739694528436B   MAURICE         ALSTON                   SC           90013959452
7739719537B477   KRYSTIENA       GALASHAW                 NC           90013551953
7739765618B142   KEVIN           CARTER                   UT           90007486561
7739766385593B   AIDE            PINEDA                   CA           90014616638
7739889988B134   JOSHUA          COCHRAN                  UT           31032598998
77399117497B45   CHELLEY         AKINS                    CO           33083731174
7739B245497B45   ADRIAN          TORRES                   CO           90012442454
773B26A628B163   JENNY           MONTOYA                  UT           90013356062
773B373295B59B   HERNANDEZ       JOSHUA                   NM           90012977329
773B4675397B45   SITLALI         DE ANDA                  CO           33095956753
773B488A68B142   HOPE            MCCUMBER                 UT           31000808806
773B4A93572B22   JEANNE          MONDRUS                  CO           90013450935
773B5113655947   JUAN ANGEL      ZAMORANO NAVARRO         CA           90012981136
773B82A818B163   CHAD            MILES                    UT           31099342081
773B837355B37B   LESLIE          MORSE                    OR           90003403735
773B849367B359   MARIA           REYES                    VA           90011664936
773BB293555969   JOSE            VALENCIA                 CA           90002192935
773BB458972B22   MIRIAM          LOPEZ                    CO           90013234589
77411552A5B37B   ANDRES          RODAS                    OR           90014385520
77415674A5B37B   JENNIFER        CURRY                    OR           90012296740
7741971425B37B   MELISSA         SHUTER                   OR           90005227142
7741B83278B157   MATEO           ZUNIGA                   UT           90012268327
7742464183168B   AARON           BURGESS                  KS           90002426418
7742482A631433   JANESSA         CORPUZ                   MO           90002698206
77425568248B3B   JERMAINE        MCCARTY                  CA           90001825682
774284A922B271   KIRK            JOHNSON                  VA           90014174092
7742912798B134   CIARA           ADAMS                    UT           90013781279
7743272555B59B   MANUEL          BELTRAN                  NM           90006077255
77435323572B29   DOUG            RAYBURN                  CO           90011563235
7743566698B142   MENDOZER        JAMES                    UT           90007506669
7744161A741237   ASHLEE          BATEMON                  PA           51015116107
77442593A2B994   LUPE            MACIEL                   CA           90013235930
7744413855B37B   MICHAEL         TILLMAN                  OR           90012061385
774467A2231443   DARYL           DODD                     MO           90011257022
7744771335B59B   ADAM            GURULE                   NM           90012787133
7744811288B157   VICTORIA        ADAMS                    UT           90008931128
77448A68771921   SOCORRO         SOTO                     CO           90008630687
774536A4755969   FELIPE          CARLOS                   CA           90007756047
774553A3872B37   CREOLA          DANIELS                  CO           90010893038
7745748768593B   MARK            BRANNAN                  KY           90014864876
7745923228B142   CINDY           LYNN                     UT           90012862322
77459761472B32   RODOLFO         AGUILAR                  CO           90015037614
7745985248B157   BONIFACIO       YUNUN                    UT           31094468524
77459986A91586   KELLY           DUCKETT                  TX           90008859860
7746227284B231   BRITTANY        TRINIDAD                 NE           90000322728
774648A6797B45   MIGUEL          GUTIERREZ                CO           33087718067
7746534A12B994   FRANCISCO       CRUZ                     CA           90002813401
774683AA181633   CEASER          ACOSTA                   MO           90012663001
7746863A272B29   PHILLIP         SELKINN                  CO           90010176302
77469513A8B142   AIMEE           ASHTON                   UT           90008255130
77472962297B45   OSCAR           GRIJALVA                 CO           90011589622
77473584A8B134   POUONO          LOMIGO                   UT           90015015840
77475297972B2B   CRYSTALLE       OVERSTREET               CO           90011552979
77475A85941253   TOM             MOORE                    PA           90014350859
77478658272B22   MARIA           BERCERRA                 CO           90010346582
7747B76678593B   CHRISTINA       SCHERDER                 KY           90007767667
7747B988171921   JULIE           SINGER                   CO           90013189881
7748289645B59B   ROGER           LORD                     NM           90012828964
7748358A48B168   CHRISTIE        MORGAN                   UT           90006385804
77484161772B87   SABRINA         FERNANDEZ                CO           90014181617
77484697472B22   ANTHONY         WOOD                     CO           90006266974
77484A68571921   GONZALO         BRITO-FLORES             CO           90007480685
77486163A72B87   JACOB           SCHROEDER                CO           90014181630
77486A72272B44   CHRISTIAN       GAMEZ                    CO           90011530722
7748883777B359   KIM             MOORE                    VA           90011668377
7749494A75B37B   TJHOET          LIM                      OR           90013969407
7749566A531433   ANDREA          PASHOS                   MO           90012586605
774958A7572B22   BOBBY LYNN      SANDOVAL                 CO           90012058075
774969AA631433   CHANELL         MASON                    MO           90007749006
77497A62331432   JOI-ZHANE       GRUHUM                   MO           90013890623
77498458172B32   CHIQUITA        DRAKE                    CO           90014154581
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774B244738B163   NEAL              CARROL                UT           90013414473
774B2531A2B271   DONOVAN           REDDICK               DC           90010325310
774B2A59972B44   CYNTHIA           ESPARZA               CO           90010850599
774B343698B163   JARROD            JOHNSON               UT           90011624369
774B3742272B87   ELIJAS            SALAS                 CO           90011237422
774B512685B37B   PEDRO             ESCALANTE FRANCO      OR           90011931268
774B9227531433   KAVEN             DAVIS                 MO           90012852275
774B944238B134   AUDREY            MAJORS                UT           90011834423
774B947625B37B   WILLIAM           WEATHERLY             OR           90003804762
7751227A372B29   OLIVIA ALFANANA   MAXWELL               CO           90013062703
7751321458B163   ROBERT            GATES                 UT           90008962145
775146A122B271   VASHAWN           MCILWAIN              DC           90001916012
77516592A5B59B   MARY              STOREY                NM           90007415920
775179A3991395   MIKE              AUTEN                 KS           90011029039
775194A6872B44   SAMMIE            FALLON                CO           90004574068
7751959148B142   CHRISTIAN         BJORN                 UT           90007055914
77521451872B22   MICHELLE          AMENKU                CO           33074264518
77524AA968593B   BETH              SANKER                KY           90000710096
7752562A691588   ALEJANDRA         SOTO                  TX           90009056206
775285A355B59B   PAMELA            GOLOB                 NM           35006835035
7752B67458593B   TABITHA           WOOLDRIDGE            KY           90003786745
7752B866872B32   SEVARA            RAKHIMOVA             CO           90006638668
77533A9A341253   KRISTA            LIPNICKY              PA           51075660903
7753483A257133   JOSE              SORTO                 VA           90008998302
7753554672B994   JOEL              ORTEGA                CA           90011665467
77535A48772B37   YOLANDA           ROMERO                CO           90002840487
7753839675B37B   BRIE              WELCH                 OR           90013083967
7753959268B163   AJ                STEVENS               UT           90014735926
77541183372B87   ROBERTA           VILLALOBOS            CO           90014181833
7754368188593B   JONATHAN          RIGGS                 KY           90014506818
7754632475B537   JAVIER            NAJERA                NM           90012503247
775479A662B847   PERRI             HANSON                ID           90008309066
775498A9555947   ISABEL            NUNEZ                 CA           90003628095
7754B1AA755969   HUMBERTO          ROMERO                CA           90012421007
7755823165B59B   LEEZUL            OGALDEZ               NM           90013062316
7755B245472B87   ANA TERESA        LOPEZ                 CO           90014002454
77561292A97B45   JESUS             MEDINA                CO           90014252920
7756277885139B   BRIAN             JOHNSON               OH           66025517788
7756343217B477   JOSUE             HERNANDEZ             NC           11065064321
77563779A31432   JASON             BASSETT               MO           90012047790
775639A9141253   JAMES             CHRISOPHER            PA           51078819091
77565187972B44   VALERIYA          GORBACHEVA            CO           90011111879
77568A44633698   LYNNETTE          HENRY                 NC           12020050446
7757175932B271   KATRINA           MIDDLETON             DC           90014077593
77573487672B44   ALBERT            GALLARDO              CO           33098534876
77574AA958B142   JASMYNE           JENKINS               UT           31075410095
7757761435B59B   AMBER             REEVES                NM           90007416143
77578374772B32   AYESHA            SCHMITT               CO           90005913747
7757854588593B   MARIA             RODRGUEZ              KY           90015285458
77578A51355969   GABRIEL           VALLE                 CA           48077160513
77585587972B29   FERNANDO          PONCE                 CO           33005465879
775864A9781633   DONAVICK          BLOUNT                MO           90012864097
77588388872B44   GEORGINA          LUNA                  CO           90005213888
77588451872B22   MICHELLE          AMENKU                CO           33074264518
7758B165472B29   SANTIAGO          CABRERA               CO           90013241654
7758B19772B271   JOYCE             THOMAS                DC           90014821977
775915A4455947   SHEILA            JONES                 CA           90012365044
7759472462B994   ADRIAN            MARTINES              CA           90012607246
7759B36238B157   JESSICA           GELINO                UT           90014303623
7759B88157B477   DONTE             MCCLAM                NC           90012838815
775B186128593B   RALPH             MEYER                 KY           66022708612
775B537188593B   JAMES             KRIPP                 KY           90012423718
775B5964A55969   ASHLEY            KIRKLIN               CA           90014849640
775B7AA213168B   JENNIFER          LOCKETT               KS           90012000021
776111A388B157   HANSEN            SHAE                  UT           90009681038
7761196698B157   SHANE             HANSEN                UT           90014629669
77614329372B32   DANIEL            HILL                  CO           90010823293
7761577A672B29   DULCE             MATA                  CO           90013437706
7761696655B384   DOROTHY           MINK                  OR           44596039665
77617461872B87   BRENDA            VERHOEFF              CO           90001174618
7761B145141253   CAITLIN           GILBERT               PA           90012581451
7762428835B59B   ARACELY           ENRIQUEZ              NM           35084032883
7762666677B477   DELSA             WILLIAMS              NC           90013206667
7762755A68B163   JERYY             CARTER                UT           90013075506
77628A65791588   VICENTE           OLIVAS                NM           90000330657
776329A2193739   CRYSTAL           BENNETT               OH           90009589021
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77633433472B29   JOSE            ESPINAL                 CO           90012294334
7763382518B348   KAYLA           STARNES                 SC           90006758251
776353A528B142   LESLIE          CASTRELLON              UT           90013823052
7763813448593B   MICHAEL         SOARD                   KY           90005361344
776446A4872B87   RACHEL          VAZQUEZ                 CO           90011236048
7764755A872B37   KEVIN           FLOYD                   CO           90004995508
7765129A841253   SIMONE          JAMES                   PA           90010932908
7765362228B168   SABRINA         VANESSA                 UT           90012786222
7765452132B271   DARNITA         MATTHEWS                DC           90013725213
7765647488B157   PHILLIP         BARBER                  UT           90013374748
7765868958B163   CARLOS          SILVA                   UT           90014736895
7765B59348B157   MAYRA           PANTOJA                 UT           90010425934
7765B874672B37   DONNA           SHULMAN                 CO           33019858746
7766245658593B   STEVEN          PRESTON                 KY           90011304565
776631A258B157   JOLYN           DAY                     UT           31006771025
77665197972B31   MAURILIO        REYNOSO                 CO           90002281979
7766B383355947   KEN             ROBERTS                 CA           49096933833
77673246A55969   YOLANDA         MUNOZ                   CA           90012882460
7767821554B221   GINA            CHRISTENSEN             NE           90010982155
77678817A55969   ERNIE           GARZA                   CA           90014408170
7767884A891588   LAURA           BANDA                   TX           90013748408
7767944835B37B   DANIEL          GUIDOUX                 OR           90012094483
7767B174655947   MIGUEL          PACHECO                 CA           90013111746
7768164452B847   JULIANNA        ARCHULETA               ID           90013656445
77681A33572B87   RODRIGUEZ A R   ARIANEL                 CO           90011560335
7768364A68B157   JUSTIN          WEBB                    UT           31029776406
77685943A2B229   MARIA           RODRIGUEZ               DC           90012149430
77687552572B29   MARK            BRYANT                  CO           90011415525
7769373728B163   SHELBY          COLE                    UT           90014947372
7769561A481633   MICHAEL         SMALL                   MO           90010686104
7769577412B994   RODRIGO         LOPEZ                   CA           90012567741
77697566972B32   GENITO          LEON GARCIA             CO           90010915669
776982A9872B32   DIANE           RAMIREZ                 CO           90003692098
776B2767297B45   CARLOS          RODRIGUES               CO           90008167672
776B366A481633   ELIZABETH       BEEMAN                  MO           90011476604
776B7134672479   TAMMY           GRIFFIS                 PA           51010591346
776B74A3255947   COURTNEY        WARD                    CA           90013474032
776B9851371921   HEATHER         GRINDLE                 CO           90013128513
777111A9672B87   MARIA           ESTRADA                 CO           33035381096
777174A6872B29   JOSE            GAMBOA                  CO           90011374068
7771919A68B163   LATISHA         MONTOYA                 UT           90012511906
77719336972B21   ANGEL CALVA     MOLINA                  CO           90011333369
7771948667B477   ALFREDO         LOPEZ                   NC           90012394866
7771B91658B163   TRIPP           ROBERT                  UT           90011629165
7771B952431443   STEPHEN         REYNOLDS                MO           90012469524
77721A77A5B384   DOLORES         RAYMUNDO GUTIERREZ      OR           90003270770
77722534A71921   KARLA           RAMAOS                  CO           90010625340
77724436A2B271   AARON           HERNANDEZ               DC           90011974360
777261A5A31443   JEFF            POPE                    MO           90011261050
7772893528593B   FELIPE          CHEY                    KY           90013289352
77735116372B22   JEROME          WALLACE                 CO           90013841163
77735799672B87   ERICKA          GARCIA                  CO           90015207996
7773627738B142   MARIA           LAZARO                  UT           90012152773
7773641768593B   JOHN            KREHER                  KY           90014924176
77737A4AA5B37B   STEPHANIE       GRADY                   OR           44571890400
7773878185B37B   RAVEN           SMITH                   OR           90002077818
7773897838B157   SAAD            SHYAA                   UT           90014789783
77738A5895B596   LETICIA         DELGADO                 NM           35050200589
77738A6117B477   MARCELA         SANTANA                 NC           90013870611
7773B22258B134   MARCELA         LUNA                    UT           90013072225
7773B582571921   ZACHARY         MARTINEZ                CO           90013015825
77743A3395B384   CODY            HADDIX                  OR           90003530339
77744259572B37   SANDRA          MONTES                  CO           90001712595
7774514A15B541   MELISSA         BERRY                   NM           90008061401
7774626525B37B   JOSHUA          FOWLE                   OR           90013292652
777524A6271921   BELINDA         MATEO                   CO           90002074062
777528A6793739   ROBERT          DEETER                  OH           90011138067
77754A3342B84B   KLEONE K        ASCHENBRENNER           ID           42016260334
7775659662B271   CARLISA         PEARSON                 DC           90001395966
77761A2338B168   LIDIA           VIEYRA                  UT           90008710233
77763A9A79372B   STACY           DANIELS                 OH           90006080907
77766831372B87   MARIA           AMENDAREZ               CO           90005398313
7776728968B168   TIFFANY         WEEKS                   UT           31019012896
7776B6A742B994   CHRISTOPHER     HARVEY                  CA           90014596074
77771185A72B44   ANITRA DAWN     AGNEW                   CO           90010561850
7777329A672B87   ABRIL           RAMIREZ                 CO           90014182906
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7777951158593B   ANNETTE        ULM                      KY           90013315115
77779A4338B163   SIERRA         PIERSON                  UT           90013000433
7777B938472B22   EMILY          CARBORNE                 CO           33090399384
7778232648B157   ARMANDO        NORBERTO                 UT           90014653264
77782A83172B87   JOSHUA         PAULY                    CO           33053260831
77783533272B22   ALISHA         HUFF                     CO           90012185332
7778583566B166   PASCUAL        BALTAZAR                 MS           90014478356
77786298772B87   BERNARD        HOUSE                    CO           90014182987
77786AA3355947   CHRIS          ALVARADO                 CA           90013000033
77787573A31443   CRYSTAL        KRAFT                    MO           90011995730
7778874878B157   NOAH           AFU                      UT           90014237487
77789577172B44   JENARO         PALOMINO                 CO           33064385771
7779171358B168   TYSON          GALLY                    UT           90007097135
77793421A8B163   JASON          FERIANTE                 UT           90010024210
777963A7A72B32   ALEJANDRO      FLORES                   CO           90013103070
7779643457B477   RALISHA        JOEL                     NC           90014384345
7779B464371921   LATOIYA        JACKSON                  CO           90011104643
7779B831761975   STEPHEN        HERNANDEZ                CA           46066068317
777B1366772B37   ANABEL         RIOS-VARGAS              CO           33015373667
777B13A2672479   ALISHA         MOORE                    PA           90014853026
777B2A28A72B22   JUANA          MENDOZA                  CO           33026330280
777B471A824B44   ROLLINS        BEY                      DC           90011137108
777B4A97955969   CORINA         JARAMILLO                CA           48007960979
777B6648181633   EARL           HOWARD                   MO           90010686481
777B699352B994   ROSARIO        LOZANO                   CA           90012569935
777B8229941253   CAROL          BOYLES                   PA           90013192299
777B947248B163   APRIL          HIMES                    UT           90004284724
777BB475191844   SCOTT          HARGIS                   OK           21091984751
77813846A2B994   ANDRE          HOOPER                   CA           90014618460
7781395732B271   RAMON          BUNCH                    DC           90013799573
77816A98972B32   KAREN          PEREZ                    CO           33015540989
7781765465B37B   CARLOS         ROSAS                    OR           90013906546
7781772568B142   WADE           GOODRUM                  UT           90011057256
7781914648B142   VALMIR         FREITAS                  UT           90013941464
77819167A8B134   NIKKI          ATWELL                   UT           90008511670
778194A6672B22   RYAN           PHILLIPS                 CO           90011284066
77821A7A672B44   KATHLEEN       LITTLE                   CO           90011330706
77822222772B22   EDWARD         NICOLAS                  CO           90014532227
7782254A68593B   AMBER          TOWNSEND                 KY           90011075406
77826839672B22   ROBERT         YSALAS                   CO           90013298396
7782B686272B87   UNIQUIAL       SMOTH                    CO           90014716862
7783273385B384   JOSEPH         COUNCILL                 OR           90003277338
77833334372B32   JOAQUIN        SANCHEZ                  CO           33060683343
77833A91771921   KASANDRA       PANTLIN                  CO           90012970917
7783743A98B163   SPENCER        HARMON                   UT           90012954309
77837593472B44   KC             DAVIS                    CO           90008395934
77842951772B37   KRYSTLENE      CUMMINGS                 CO           90007189517
7784428567B461   KANESHA        TATE                     NC           90014962856
7784871A241237   ROBIN          MECKLING                 PA           51064647102
778488A7681633   RYAN           CLARK                    MO           90007788076
7785155478B163   JUANA          ROJAS                    UT           90014715547
7785467992B271   DAMEON         YATES                    DC           90012376799
77854796372B29   JAKE           RICKER                   CO           90011417963
778558A7681633   RYAN           CLARK                    MO           90007788076
7785B26982B271   MARION         BERNADETTE               DC           90007992698
7785B68398B157   BERNARD        VOLPE                    UT           90010686839
7786216548B163   JARED          CARSON                   UT           90012021654
778666A2555969   JACKIE         ENGEL                    CA           48096936025
77868664272B29   BRUCE          ALLEE                    CO           90011686642
7786B736A81633   LEON           BAGLEY                   MO           90015137360
77871351572B87   GUMERCINDO     ENRIQUEZ                 CO           90010393515
77872287672B87   DAVID          CABRAL                   CO           33057252876
7787273565B597   DONALD         SANCHEZ                  NM           90013397356
7787284528B157   MARY           MARTINEZ                 UT           90008018452
7787379914126B   TERRELLE       LEWIS                    PA           90006247991
778756A1641237   JERRY          JONES                    PA           90015186016
7787712112B84B   JON            CHRISTENSEN              ID           42004781211
77877755972B87   ERNESTO        HERNANDEZ                CO           33050027559
77879A38531433   TEBYRRON       GRAHAM                   MO           90006640385
7788135975B59B   GLORIA         CAMERON                  NM           90012723597
77881682272B29   MARIA          BANKHEAD                 CO           90009946822
7788245A691588   FRANK          ROACHO                   TX           90013774506
7788393848B163   JAMEN          COLBY                    UT           90009099384
7788483232B994   MICHAEL        RANGEO                   CA           90014638323
77887327572B44   ALEXANDER      MESKE                    CO           33091303275
7788771A98B142   BEAU           CARTER                   UT           90013947109
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7788B422593739   AGUILAR         MAURICIO                 OH           90008124225
7789167178B134   LEE             JUSTIN                   UT           90009466717
77892343A72B87   ROBERTO         MENDEZ                   CO           90014183430
77893623372B22   SAN JUANA       GUZMAN                   CO           90012826233
77894837372B44   DAISY           GUZMAN                   CO           90000568373
7789842538B168   DAIGON          ANDERSON                 UT           90007724253
778989A8A72B83   ADAN            PENA                     CO           90009649080
7789B698841253   ESTELLA         CEPEK                    PA           51044726988
778B2932291588   ANGELICA        PEREZ                    NM           90006449322
778B3A6192B271   YOVANI          SANCHEZ                  DC           90013240619
778B5621433698   JIMESSE         LAWRENCE                 NC           90011206214
778B591378B657   EMERALD         MENDEZ                   TX           90014269137
778B9963A8B163   IAN             EYRE                     UT           31091239630
778BB538393739   MERANDA         CAMPBELL                 OH           90014545383
7791298A991588   LUIS            SEPULVEDA                TX           90013989809
77913A41872B22   SONIA           RODRIGUEZ                CO           90014650418
7791451A68B163   DAVID           LOPEZ                    UT           31003895106
7791516938593B   J               JUDD                     KY           90009841693
77916869A2B994   GUILLERMO       MORENO                   CA           90011718690
7791814945B59B   RICHARD         ESPINOZA                 NM           90013501494
7791854168B142   BLANCA          BATRAS                   UT           31025725416
77918A5A22B994   VANESSA         RANGEL                   CA           90014640502
77919296272B32   MICHAEL         MORRIS                   CO           90011562962
7791B43145B37B   HANNAH          EVANS                    OR           90012594314
77924A53872B87   AYLIN           ALVARADO                 CO           90011560538
77927522A72B87   ISRAEL          ACUNA                    CO           90011845220
77929442172B37   JOSE            OCTAVO                   CO           90009634421
77929AA918B134   BUDD            TRUDI                    UT           31017090091
7792B48133B358   ELVA            BLANCO                   CO           90013714813
7792BA58255947   DAISY           REYES                    CA           90008420582
77931676472B42   FRANCISCO       DAMIAN                   CO           90011486764
779328AA133698   KEITH           CRAVEN                   NC           90009738001
77935296472B32   JOSE A          FLORES                   CO           90010952964
7793699215B37B   ENRIQUE         CHACON                   OR           90010989921
77938A58884363   GEORGE          DEETS                    SC           19017990588
7793B216433698   ANITA           JOSEPH                   NC           90009812164
779411A4531433   ISSAC           RICE                     MO           90013351045
77943365772B87   SEAN            OHARE                    CO           90014183657
77944AA7631433   MONA            MORAN                    MO           90005180076
779494A418B168   TONY            NEWBREAST                UT           31014454041
77949758A41237   ANTIONETTE      SAUNDERS                 PA           90013957580
7794B132641253   ALAINA          IWANEJKL                 PA           90008801326
7794B99832B271   ZELALEM         GIRMA                    DC           90012079983
77952183A72B44   JULIETTE        BELMONT                  CO           90010851830
77954296472B32   JOSE A          FLORES                   CO           90010952964
77954A74641253   LATEEYA         KIRKLAND                 PA           90012450746
7795672A672B44   IVAN            ESCARLEGA-PALOMARES      CO           90011527206
779582A6241253   SEE             MICHAEL                  PA           90013502062
7795B745A72B44   DORA            MUNOZ-HERNANDEZ          CO           90010767450
7796117A372B22   DANIELLE        KNAPP                    CO           90010091703
7796665768B134   LACEY           MALONE                   UT           90013386576
7796B969171921   ANTHONY         LILEY                    CO           90013809691
779723A718B142   JODY            WERNIG                   UT           90011193071
77976446372B22   CASSIE          MEDINA                   CO           90011284463
77978468272B32   CECILIA         GARCIA                   CO           90006444682
7797956748B163   LAURA           ACOSTA                   UT           90014305674
7797B338A2B271   SABRINA         JORDAN                   DC           90012473380
779859A6A72B87   ARMANDO         GARCIA                   CO           90011239060
77991472772B22   DONOVIN         PADILLA                  CO           90013234727
77991586872B29   ALISHIA         TAYLOR                   CO           90011405868
7799163A355947   JEANETTE        NEWCHURCH                CA           90011076303
7799172392B271   KAREEMA         BADAWI                   DC           90014067239
779941A7A55947   RICHARD         DUNBAR                   CA           90011091070
7799515755B59B   JOLIE           SIMMONS                  NM           90014531575
7799673768B163   SASHA           ANTONIO                  UT           90014747376
7799732735B59B   LUIS            SAENZ                    NM           90010753273
7799746445B384   VALDEMAR        VAZQUEZ                  OR           90003284644
77999A51755947   ANGEL           MELENDEZ                 CA           90012590517
7799B87425B59B   MARLENE         VALDEZ                   NM           90013478742
7799B997755969   DARIO           ESPINOZA                 CA           90006389977
779B3226591588   ARLENE          LIRA                     TX           90011322265
779B3272433698   ALVIN           SMITH                    NC           90013142724
779B5357171921   TERRELL         TAYLOR                   CO           90009643571
779B7A99931432   MATE            PITTS                    MO           90011550999
779B852145B59B   ESTRELLA        CARDENAS                 NM           90014725214
779B8815172B22   CHRISTOPHER     CLONTZ                   CO           90012058151
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77B11286372B87   JACOB          GINN                     CO           90014752863
77B11434272B29   DANIEL R       GOMEZ                    CO           90013004342
77B12348941253   TRACY          PRINCETON                PA           90012283489
77B1243875B59B   CASAN          CONISLIO                 NM           90012334387
77B164A2333698   LEONARD        WILLIAMS                 NC           90014844023
77B16988272B87   ANTONIA        RAMIREZ DEGOMEZ          CO           90014179882
77B17836A55947   MARISELA       CHAIDEZ                  CA           90012878360
77B19284241237   JALEESA        KING                     PA           90002042842
77B2134435B59B   GLORIA         LUJAN                    NM           90004723443
77B24253271921   ELIAS          CHILEL                   CO           90011162532
77B25524272B44   JESSICA        PEREZ                    CO           33028255242
77B26A81841237   JAHMAHL        ADAMS                    PA           90011200818
77B27836972B22   JOSE           MEDRANO                  CO           33016008369
77B27891872B37   PATRICK        SHIRE                    CO           90000418918
77B29A43755969   ANTHONY        HUGHES                   CA           90003060437
77B31943A3B358   EDWIN          LARA                     CO           90005729430
77B333A795B37B   FRANCISCO      RUIZ-CISNEROS            OR           90015173079
77B3348648B134   ALISHA         GALVAN                   UT           90008974864
77B33645955969   JESSIE         MAYORGA                  CA           90014956459
77B35174A72B32   PENNY          STOUT                    CO           90011891740
77B35421671921   DAVID          JENNINGS                 CO           90012624216
77B36688197B45   ADAM           BLACK                    CO           90013536881
77B36792931433   MICHELLE       ROBINSON                 MO           90007387929
77B41341855947   GUADALUPE      HERNANDEZ                CA           90013403418
77B4198A155969   VERONICA       CASTILLO                 CA           90011409801
77B41A27291588   ALEJANDRO      RODRIGUEZ                TX           90012500272
77B45325861964   GREG           YONTZ                    CA           90008113258
77B4546127B354   DANILO         RAMIREZ                  VA           90009194612
77B45579281633   RODNEY         SMITH                    MO           90013315792
77B45648441237   NIKKI          BERGGREN                 PA           51075856484
77B4598A672B29   AARON          HODGE                    CO           90013879806
77B4645AA5B384   DIANA          GARCIA                   OR           90006924500
77B4759A855947   TANYA          ROBINSON                 CA           90014565908
77B47774671921   JEMIMA         OYAKOYI                  CO           90011487746
77B47858A71921   JEMIMA         OYAKOYI                  CO           90013178580
77B4B38135B59B   BERNABE        TORRES                   NM           90013213813
77B4B625A54121   STEVEN         SIMPSON                  OR           90014806250
77B4B63342B271   DIANA          JOHNSON                  DC           81095806334
77B4B75A741253   JUDITH         PARKIN                   PA           51066717507
77B4B775131432   APRIL          COLEMAN                  MO           27575157751
77B53591393739   WENDELL        FORD                     OH           90009855913
77B5395287B477   DELTRIC        GLOVER                   NC           90014089528
77B5415832B271   ANTONIO        ARMELLE                  DC           81095811583
77B57291872B23   RYAN           LE BARON                 CO           90012002918
77B58161955947   CARLOS         ANDRADE                  CA           90004331619
77B6192378B163   EDGAR          MEDINA                   UT           90014719237
77B64873A76B4B   GRACE          MIRANDA                  CA           90010348730
77B6543227B428   PORCIA         DOUGLAS                  NC           90000954322
77B65579391588   JONATHAN       SALINAS                  TX           90013485793
77B6573325593B   LEANDRA        MOLINA                   CA           90010227332
77B65A45A72B29   BEV            JAROSEZ                  CO           90009010450
77B66A86181633   SHANTAE        SMITH                    MO           29011420861
77B677A7831432   ADREAUN        GRIFFIN                  MO           90012797078
77B698A948B157   SHELLEY KAY    O BRIEN                  UT           90013518094
77B6992A78B134   JEFF           WADSWORTH                UT           90013529207
77B6B58888593B   LARENCE        KLOPFER                  KY           90015125888
77B71223972B29   YVONE          GONZALEZ                 CO           90010672239
77B7149125B229   DANNY          NAPPER                   KY           90011344912
77B7279A831432   CIARA          DUKES                    MO           90013817908
77B7374128593B   BRIAN          LIGHTNER                 KY           66091057412
77B7458955B55B   ROSALBA        IBARRA                   NM           90012695895
77B7786668B134   SALVADOR       MARTINEZ                 UT           90010928666
77B81139281633   DIANE          HOPSON                   MO           29022441392
77B81468171921   JOSE           SANCHEZ                  CO           90011164681
77B82219691588   JOSE           GONZALEZ                 TX           90002692196
77B83679855969   LUIS           POLANCO                  CA           90002466798
77B83825931443   PAYGO          IVR ACTIVATION           MO           90013458259
77B83AAA872B87   ADAN           CORONA                   CO           90014170008
77B8596712B271   RALPH          BENNETT                  VA           90013569671
77B8656278B163   GLADIS         HERNANDEZ                UT           31013135627
77B88142881633   TAMMY          MARTENS                  MO           90009571428
77B88493972479   GARY           GRIMES                   PA           90006334939
77B88846631443   MARY           SHEROD                   MO           90008908466
77B9165878B168   JESSICA        LINDSEY                  UT           90011656587
77B9187525B384   GRISELDA       BOLANOS ROCHA            OR           90010688752
77B94675291588   JULIAN         RODRIGUEZ                TX           75080036752
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77B95243641237   PAT            PRUDEN                   PA           90012072436
77B96849131433   RUSS           FORBES                   MO           90015158491
77B97586172B37   RICARDO        OLMOS                    CO           90010115861
77B98944597B45   OSCAR          SOTO                     CO           90012319445
77B9923475B37B   BREEANNA       JOHNSON                  OR           44532702347
77B99A3258B168   JOSHUA         THOMPSON                 UT           90008090325
77B9B295193739   JOHNNY         HICKS                    OH           90011132951
77B9B3A478B142   CHRISTOPHER    MCCLOSKEY                UT           90014423047
77BB7831372B22   REYNOSO        SANDRA                   CO           33024558313
77BB815A193739   DAVIDDA        KNIGHT                   OH           64589701501
77BBB792972479   WILLIAM        HEIDE                    PA           90004887929
7811316589154B   CLAUDIA        ACOSTA CHAVEZ            TX           75008301658
78114A32891266   VANESSA        RIVERA                   GA           90007870328
78115818A8B163   KIMBERLY       PROKOPIS                 UT           90002938180
78115A5262B994   MARIA          ESPINOZA                 CA           90010950526
7811668298B163   JOHN           JONNSON                  UT           90012736829
78116A5262B994   MARIA          ESPINOZA                 CA           90010950526
7811743218B134   EZEKIEL        NGOR                     UT           90014854321
78117AA9671921   CINTHIA        ORTEGA                   CO           90003460096
7811875882B994   JOEY           BARRIS                   CA           90014707588
7811B586972B32   YASMINE        HERRERA                  CO           90013185869
7812146854B551   MICHELLE       HARMON                   OK           90007644685
7812494918B142   ROBIN          DUBOIS                   UT           31098149491
78125A91933698   DEVON          MCINNIS                  NC           90010590919
78132251776B6B   RIVERA         ALEJANDRO                CA           90003722517
781322AA441237   SHARRON        BONNER                   PA           90011112004
78136721372B29   KARMADEE       SILVA                    CO           90012357213
78137935A51348   DOMINIQUE      RICHARD                  OH           90014569350
7813919749154B   AILED          TORRES                   TX           90012761974
7814177155599B   RAMON          BAEZ                     CA           90014117715
7814271328B157   HOUSTON        NEFF                     UT           90014667132
781435A139154B   ALEJANDRA      MARRERO                  TX           90011115013
7814512958593B   TIFFANY        RUMB                     KY           90009431295
7814691532B224   MARQUITA       COOK                     DC           90001219153
7814897145B343   HALEY          RIFE                     OR           90010719714
7814936178593B   RAYMOND        KOWOLONEK                KY           66063413617
781499AA955939   AGUSTIN        GALVAN                   CA           48001029009
78149AA9731432   BRANDON        CHENG                    MO           27584260097
781525A139154B   ALEJANDRA      MARRERO                  TX           90011115013
78155A62785945   ROLAND         VILSAMA                  KY           90010550627
781561AA176B6B   JESSE          CRUZ                     CA           90013091001
7815761185B343   KELSEY         GREEN                    OR           90011396118
781579A3841253   VICTOR         REA BOTELLO              PA           90011639038
78158129376B6B   ROSAELIA       SANCHEZ                  CA           90007641293
7815957739154B   LORENA         QUESADA                  TX           90002375773
781636A6441237   AMIE           THOMAS                   PA           90011006064
781636A985B384   ELDORA         HAYES                    OR           44584276098
7816451248B134   RACIEL         MONTOYA                  UT           90012835124
78165742672B29   JONATHAN       YOUNGER                  CO           90012847426
7816698A13363B   RHONDA         BURNETTE                 NC           90002939801
7816813585B384   NICHOLAS       BURCH                    OR           90011221358
7816BA98972B22   STEVEN         BRADLEY                  CO           90006660989
7817529185B343   LOUISE         CAMPOSANTO               OR           90013192918
7817768858593B   FRANSISCO      TERAZA                   KY           90009706885
781783A3757133   ZOILA          QUINTANILLA              VA           90001303037
78178A83176B6B   PABLO          ALMARAZ                  CA           90013880831
78179278287B26   KARLA          BRITTEN                  AR           90008882782
7817B484231433   MARY           CURTISS                  MO           90010224842
7817BA26531433   CARDELL        LUSS                     MO           90014560265
7818244A351355   MICHELLE       KRANZMAYR                OH           90014534403
78183958472B32   GARRY          MINNIEFIELD              CO           90011069584
7818499572B857   JEFFEREY       ADAMS                    ID           90010479957
78184AAA37B477   CANDECE        ROSEBOROUGH              NC           90008600003
7818538738B157   GRANT          WHITNEY                  UT           90014203873
7818554A172B37   MERCEDES       DOMINGUEZ                CO           90005565401
7818B383841227   KELEKA         SNIPE                    PA           90004123838
7819433A981633   PATRICK        FALES                    MO           90008373309
781951A182B994   ALDO           ROBLEDO                  CA           90014721018
781955A2231443   PATRICK        MILO                     MO           90006165022
78196553A5B343   RONALD         GRIFFIN                  OR           90014855530
7819837A33B35B   LORENA         MORALES                  CO           90010283703
7819922658B163   MISTE          VANIEPEREN               UT           90005952265
781B1356776B6B   EDY            PONCE                    CA           90014093567
781B141215B17B   TERIA          HARRIS                   AR           90012694121
781B14AA493739   RICKY          KEITH                    OH           90013154004
781B2A89A86436   CHRISTOPHER    MITCHELL                 SC           90015070890
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781B316A176B6B   MONALISA       RODRIGUEZ                CA           90012851601
781B4737A55969   MICHAEL        LUJAN                    CA           90013217370
781B474133168B   SHAWN          LOWE                     KS           90009997413
781B5411331432   DAVID          PATTERSON                MO           90014624113
781B684388B157   HORMAN         RUSS                     UT           31073618438
781B7467A51355   SHAWN          FARRIS                   OH           90010734670
781B7598672B37   BROOKE         BALDERRAMA               CO           90003195986
781B9417691588   CYNTHIA        TORRES                   TX           90013704176
781BB423772B87   GABRIEL        ROMERO                   CO           90014904237
781BB469A91549   JOSE           GRAU                     TX           90008624690
78212A15651348   CHARLES        CORNETT                  OH           90004370156
7821591755B59B   DIANE          SANCHEZ                  NM           90011229175
7821798638593B   ROBERT         CLAYPOOL                 KY           90005579863
7821B67925B343   MOLLY          LAMMERDING               OR           90014356792
782217AA991588   RAMON          VASQUEZ                  TX           90014157009
7822272A555939   JAVIER         NAVARRO                  CA           90013377205
7822474A28B163   FELIX          SANDOVAL                 UT           90009377402
7822822928B134   BRAXTON        SAINSBURY                UT           90013352292
7822998142B994   CRESNCIO       PACHECO                  CA           90006559814
7822B3A3757133   ZOILA          QUINTANILLA              VA           90001303037
7822B631472B22   MARIA          COOPER                   CO           90012886314
7823227557B477   CHARLENE       PHIFER                   NC           90012862755
7823255497B477   TERESA         WATKINS                  NC           11050415549
782368A6372B29   BOBBIE         HENDERSON                CO           33017288063
78238547A51348   ANTWONE        KELLEY                   OH           90011175470
7823939A151586   GAIL           EATON                    IA           90014273901
7823B172772B32   VERONICA       SENA                     CO           90007881727
7823B281172B37   RAYMON         EDWARD                   CO           90012892811
7824152138B134   HERIBERTO      GUTIERREZ                UT           90009725213
7824348713168B   JAMES          OGLESBY                  KS           90013944871
78244A27193728   ANTONIO        BENTON                   OH           90001240271
7824B258A8B157   DANIEL         ESPARZA                  UT           90015172580
78252792A81633   RICK           ORCUTT                   MO           90011607920
7825629348B163   ENRIQUE        TORRES                   UT           90012122934
7826133749154B   DENNIS         RAMIREZ                  TX           90007573374
782614A115B384   MONIQUE        RASMUSSEN                OR           44504464011
78262A4462B994   BETTY          PRECIOUS                 CA           90004580446
7826422A15B384   RICARDO        PEREZ                    OR           44519892201
782654A5991588   RICARDO        MARTINEZ                 TX           90013984059
7826866A155969   VICTORIA       VELONZA                  CA           90011226601
78269343A9154B   DIANA          ROMERO                   TX           90010363430
7827467A48B163   SATISH         SUTHAR                   UT           90013676704
78274785A8B157   ELENA          ROYBAL                   UT           90009667850
78274849A5B59B   JUDITH         PACHECO                  NM           35005418490
78274885172B37   RAUL           EZA                      CO           90012928851
7827585A855939   VIVIANA        VACA                     CA           90012918508
7827675935B384   PEDRO          AMARO                    OR           90004467593
78277A27833698   WESLEY         SMITH                    NC           12001790278
782832A2171921   DAVID          HENDRICKSON              CO           90014192021
7828458A872B32   NICHOLAS       ROBINSON                 CO           90011025808
7828564188B163   STEPHEN        BOHEN                    UT           90012886418
7828639648B157   BARRETT        BEAU                     UT           90010333964
782883A7672B22   AHMAD          EZZAT                    CO           90013793076
78288481A81633   ZACHARY        GOODMAN                  MO           90010464810
78289138A91588   RACHEL         HUENNEKE                 TX           90012901380
7828931467B477   ASHLEY         WITHERSPOON              NC           90010243146
78292248472B87   NICOLE         SALAZAR                  CO           33093202484
78292461A51355   HENRY          BRIGHT                   OH           66067344610
782933A7172B37   ALYSIA         TRUJILLO                 CO           90012893071
782959A6372B29   RYAN           ARINELLO                 CO           90013429063
7829817AA93739   ABBY           MORTON                   OH           64516341700
7829893568B142   SALVADOR       HERNANDEZ                UT           90011299356
782B1856331432   CAMRON         RHODES                   MO           90004988563
782B336935B384   ROSE           SMYTH                    OR           44582343693
782B3A72691588   CRISTAL        GARCIA                   TX           90006120726
782B627715B343   JENNIFER       CRAIN                    OR           44550522771
782B648A172479   CAROL          LOWTHER                  PA           51040674801
782B7448951355   ARIEL          ORTIZ                    OH           90009604489
782B899658B157   HECTOR         ACOSTA                   UT           90013329965
782B994A55B59B   MARLENE        ARTINEZ                  NM           90013789405
7831294615B343   SALVADOR       VERDUZCO                 OR           90011919461
78313A4378B134   KELLI          TALL                     UT           90013580437
78313AA998B157   AMMON          FACKRELL                 UT           90012980099
7831612A493739   KALON          STAGNER                  OH           90013611204
7831721139154B   RUBEN          MONTES                   TX           90007232113
78317A8A471921   GILBERT        ESQUIBEL                 CO           90012310804
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78318534A55947   CINDY           MARTINEZ                CA           49030935340
78319A35541237   MINDY           MCADAMS                 PA           90013510355
7831B92A261958   MARCO           SEAMANDURAS             CA           90009989202
7832539957B477   WILLIAM         JOHNSON                 NC           90012233995
7832573968B142   SHELEM          COLA                    UT           90012707396
7832636642B994   SILBESTRE       GAETA                   CA           90014753664
783295A874B563   REYNA           VALDEZ                  OK           90010825087
7832B4A7591588   CLAUDIA         MENDOZA                 TX           90013984075
7832B82878B142   MIQUELA         BRECK                   UT           90011568287
78337A4578B134   LATROI          NEWBINS                 UT           90013660457
78339398172B22   TAOJIA          CHEN                    CO           90011253981
7833B152A55969   AMANDA          BISBEE                  CA           90005161520
78345139572B37   ELIZABETH       ROQUE                   CO           90013841395
7834521945B59B   LYDIA           BEGAY                   NM           90013752194
7834532A58593B   JOSEPHAT        MAILOS                  KY           90014763205
7834586849154B   LOANA           KIM LE                  TX           90011918684
7834625A655947   GEOFF           GREEN                   CA           90010002506
7834655A65B32B   CRISTINA        RAMOS                   OR           44591495506
7834791188B163   OMAR            AWIL                    UT           90012149118
7834818A871921   JOHNATHAN       GOOD                    CO           90011991808
7834B235672B29   ANDREA          JAQUEZ                  CO           90013062356
7834B355872B29   MARYBEL         GARCIA                  CO           33027073558
78351548336B59   RAMONA          CAMPOS                  OR           90010735483
78352A46A31433   LATASHA         OVERTURF                MO           90006690460
783551A528B163   SUSIE           THOMAS                  UT           90013241052
7835662199154B   BRISSA          SALAS                   TX           90008646219
7835B365555969   TAMI            ARAGON                  CA           90008823655
7835B652933698   CARRIE          JAMES                   NC           90011746529
7835B7A2731432   CASEY           HARPER                  MO           90011597027
7836122A333698   ANTOINETTE      WASHINGTON              NC           90004382203
78361A16855939   DEANNA          ANDERSON                CA           90009200168
7836382477B477   ERIC            BEMBURY                 NC           90013658247
7836558148B142   MARCUS          SVEDIN                  UT           90007835814
7836634675B59B   JOSETTE         GOMEZ                   NM           90008893467
78369A87A76B6B   DILLON          WISDOM                  CA           90011150870
7836B642851348   KAREN           BANKS                   OH           90006056428
7836BA32A7B477   PIANDRA         DAVIS                   NC           90007620320
78375138A91588   RACHEL          HUENNEKE                TX           90012901380
78377454872B32   MYRNA           VALLEJO                 CO           33017394548
7838118418B142   RAMIRO          ROMERO                  UT           90014561841
78381A75476B6B   MAGALY          GUTIERREZ               CA           46023130754
7838381528B163   CATHY           WARDLE                  UT           90011098152
7838567452B994   SELMA           JORDAN                  CA           90014786745
7838876A15B343   SALVADOR        VERDUZCO                OR           44591487601
78389337A72B22   MARGARITA       TORRES                  CO           90013363370
7838945129154B   LUIS            HERNANDEZ               TX           90013064512
78389AA4154B28   KARLA           J ORTIZ                 VA           81013760041
7839187289154B   CLAUDIA         GUERRERO                TX           90013968728
78394873672B87   CHRIS           WOODLAND                CO           33094848736
78395724A51391   RIKKI           WHITAKER                OH           90004817240
78398A2959154B   ELIZABETH       FLOREZ                  NM           90011360295
7839935332B274   JERENE          AUSTIN                  DC           90011863533
7839959A29154B   ISRAEL          ROJO                    TX           90004885902
78399A44972B37   GEORGE          ORTIZ                   CO           90012910449
783B1681655969   ALEJANDRO       GARCIA                  CA           90012736816
783B1792872B29   EDGAR           LERMA                   CO           90011477928
783B2185476B6B   JULIA           GARCIA                  CA           90013761854
783B4514672B29   ANTHONY         DAVIS                   CO           90005365146
783B5A7A39154B   YAZMINE         VERA                    TX           90011130703
7841242113168B   RACHEL          LUCAS                   KS           90009554211
78413A36772B37   GRISELDA        SEGUNDO                 CO           90012910367
7841526799154B   SLYVIA          SAENZ                   TX           90013082679
7841532AA2B994   URIEL           FAURRIETA               CA           90010313200
78418734133B32   DAVID           RILEY                   OH           90013757341
784189A6355947   SANDRA          CERVANTES               CA           90012789063
78422849172B87   JEFFERY         HENDERSON               CO           90002538491
78425199772B29   DORIAN DANIEL   AGUIRRE                 CO           90011141997
7842576959152B   YESENIA         TORRES                  TX           90011327695
78427224672B32   KENNETH         BERNAL                  CO           90010852246
7842854838B157   PELON           PERES                   UT           90005795483
7842996739154B   ASHLEY          TREJO                   TX           90014629673
7842B45975B326   TAYLOR          ROBSON                  OR           90008964597
7843265517B359   GLEN            VIERK                   DC           90010356551
78434555A41253   BRICE           THOMAS                  PA           90014665550
7843691A92B994   NICOLAS         BUSTOS                  CA           90014689109
784395A3491588   ABRAHAM         P                       TX           90009725034
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7843B72615B343   DWAYNE            PATTON                OR           90013497261
7844173A78B134   ADENA             SLIVERS               UT           90005817307
7844287952B261   LENA              THOMPSON              DC           90011058795
7844353218B163   KYLE              STINSON               UT           90006635321
78445A52941237   ALITA             GRANDISON             PA           90012730529
7844996232B847   MIREYA            ESPEJO BARRIGA        ID           90004379623
784519A3372B22   ANDIE ALEXANDRA   ZAMORA                CO           90014149033
78453A72A85945   RICHELLE          CLAY                  KY           90005950720
784552A4941237   HANS              BERKMAN               PA           90013852049
78456562172B42   CATHY             TRAN                  CO           33043675621
78457A72A85945   RICHELLE          CLAY                  KY           90005950720
78463533172B32   PHYLLIS           MC SHAN               CO           33074165331
7846357A161951   ALENA             DUANE                 CA           90001715701
78463812476B6B   EMILY             WRIGHT                CA           90013448124
7846398878B168   HERNANDEZ         VANESA                UT           90003169887
78463A37441253   AYLANNA           KING                  PA           90010380374
78465AAA99154B   MARIA             SOTO                  NM           90000540009
78468168A72B87   ANGELINA          CARRILLO              CO           33081801680
7846892288B142   RACHELLE          WHITTAKER             UT           90014579228
78468A41851348   DANA              ANKNEY                OH           90012310418
78472257576B6B   JESSE             CALDERON              CA           90011062575
7847298795B343   EDDIE             BENAVIDES             OR           90012469879
78475A5A172B37   CURTIS            MARTINEZ              CO           90012910501
78478788876B6B   MINERVA           PERALTA               CA           90014427888
78479A9149154B   ARACELI           HERNANDEZ             TX           90000530914
7848268528B142   BROCK             WILSON                UT           90012286852
784859A7476B6B   JEFFREY ROGER     JOHNSON               CA           90013269074
78486615A9154B   CHRISTIAN BRYAN   BUENO                 TX           90007096150
7848B23967B477   KRISTIN           JONES                 NC           90011082396
7848BA75472B27   FREDA             CARLOCK               CO           90011800754
7849161A14B254   PETER             CIHUNKA               NE           90008006101
7849514445B59B   ANGELICA          RIVAS CHAVEZ          NM           90014391444
784964A5372B22   TRACY             GRIEGO                CO           90011674053
78496A33972B37   VIOLA M           MARTINEZ              CO           90014160339
78496A35993739   STACY             CRISWELL              OH           90010170359
78497469672B37   ROCHELLE          WASHINGTON            CO           90012814696
78499A21A31432   CHRIS             BAKER                 MO           90014020210
784B143A18B142   VELAINA           SHERWIN               UT           31070874301
784B1589931432   SHANON            ARTEAU                MO           90013095899
784B2238955969   RIGO              PORRAS                CA           90011252389
784B4342593739   JOHN              SHEPHARD              OH           90011223425
784B629757B477   JULIO             GARCIA                NC           90015272975
784B6762793739   JEREMY            WEBER                 OH           90008617627
784B7633271921   MICHAEL           HAAS                  CO           90008596332
784B8258197122   MIKE              SCOTT                 OR           90011432581
784BB181855969   ELIZABETH ELLEN   TROYE                 CA           90013241818
78512291A8B157   PAW               BU                    UT           90015212910
78514A94591966   RICHARD           PARKER                NC           90011030945
7851578947B477   KOKITA            BNSTOL                NC           90003547894
7851827A75B59B   CHARLENE          ROMERO                NM           35005462707
78518963576B6B   JOSEPH            ONTIVEROS             CA           90010839635
7851925232B994   SELINA            RODRIGUEZ             CA           90010092523
78519768A81633   LARWENC           WALKER                MO           90013917680
7851B219A41253   DIANE             DREXLER               PA           51072862190
7851B61738B157   WOOD              THOMAS                UT           90010016173
78522A84955939   VICTOR            ORTIZ                 CA           90014510849
78523943372B22   CHRYSTAL          HOPSON                CO           90007359433
78525A73257126   MIGUEL            ALVARENGA             VA           90005900732
78529953772B87   DESIRAE           PRESTON               CO           90010529537
7852BA7A641253   TASHA             WIETRZYKOWSKI         PA           90011800706
7853167255B59B   CARLOS            BACA                  NM           90011216725
7853932427B477   LORAINE           FOSTER                NC           90012863242
78539A43955969   LILIANA           NUNEZ                 CA           90012780439
78542634876B6B   JAVIER            RIOS                  CA           90014366348
78542A18431433   MAGGIE            DELTON                MO           90010850184
7854366259152B   ALLAN             HAGEMASTER            TX           90010546625
78545947572B37   GABRIEL           ARRIETA               CO           90014849475
78545A5358593B   DERRICK           TURNER                KY           90014800535
785465A9772B29   PAM               APPLEGATE             CO           90005635097
78548951972B22   KARNA             MAGAR                 CO           90011379519
7855286792B994   RAFAEL            GUIZAR                CA           90010438679
7855298548B163   DANA              COMBS                 UT           31072249854
785529A3272B37   JOSE ANTONIO      VALENZUELA            CO           90011869032
78553884A31433   VINCENTA          LYSTON                MO           90012928840
7855734735B388   MATT              CRAIG                 OR           90008573473
78559757172B29   DIANE             BRUNER                CO           90012797571
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78559893A2B994   ADRIAN         HERNANDEZ                CA           90010398930
7855BA62772B87   NELDA          HAMBLEN                  CO           90009130627
78564969572B22   MONTIEL        LOPEZ EULALIO            CO           90014279695
7856591A172B37   LIDIA          PATLANE                  CO           33065449101
785659A5A41237   TENILLE        HILL                     PA           90011009050
78568177A72479   GINA           BURNETT                  PA           90006431770
78568454772B32   MATHEW         HUNTER                   CO           90007484547
7856923328B134   ELIZABETH      RODRIGUEZ                UT           90005702332
7856B218472B29   DAVID          VIGIL                    CO           90014832184
78574382A72B29   SHAUN          HENDERSON                CO           90012093820
78577437572B29   PEDRO TORRES   INFANTE                  CO           90010184375
78578366472B32   DYLON          MCATEE                   CO           90015233664
78579799A5B384   LILIANA        BARRERA                  OR           44567487990
7857B51968B134   ALEX           LAMBROSE                 UT           90014705196
78581A78A51355   SELENA         KLAPHAKE                 KY           90013740780
785828A4555969   SIMONA         HUERTA                   CA           90003418045
7858422698593B   AMBER          ROGERS                   KY           90011852269
7858566638B163   ERIC           NAKAMURA                 UT           90005516663
78586555A8593B   DORIS          RODRIGUEZ                KY           90014805550
7858866219154B   ELIZABETH      RAMIREZ                  TX           75084266621
78592A1818B163   CAMILLE        APPAWORA                 UT           90012510181
7859358A591577   JESUS          DOMINGUEZ                TX           90012735805
78593A45872B37   JAMES          FINLAYSON                CO           90010390458
7859469775B59B   ALISSA         GOODWIN                  NM           90011216977
7859523887B477   ZAWNG          LING                     NC           90013692388
78595332576B6B   ERIC           CAMACHO                  CA           90012743325
7859722218B134   MANUEL         TAPIA                    UT           90013972221
7859B266831432   PRINCESS       RESIBOR                  MO           90012162668
785B179838B163   TYLER          JOHN ROBINSON            UT           90011227983
785B1961931432   YASHICA        STEWART                  MO           90012009619
785B1A7A151355   BARBARA        HAYDEN                   OH           66009480701
785B239858593B   LINDA          MILLER                   KY           90014793985
785B35A2572B37   MEGAN          GROSSMAN-BASSETT         CO           33033895025
785B5724371921   LINFORD        SENYO                    CO           90011327243
785B637375B59B   STAN           BENAVIDEZ                NM           90012073737
785B6853172B37   MARK           PEARSON                  CO           33092548531
785B7A72A85945   RICHELLE       CLAY                     KY           90005950720
785B8145644344   PEDRO          TORRES                   MD           90014371456
785B89A8455939   ROSA           MOJARRO                  CA           90014099084
785B912A372B37   DONALD         KEYS                     CO           90012791203
785B924157B477   JARTAVOUS      GAITHER                  NC           90012552415
785BB38888593B   MAGNUM         FEJERAN                  KY           90014793888
78612574476B6B   SANTOS         DE LA TORRE              CA           90012885744
78612A32A9154B   NELLY          ORTIZ                    TX           90011530320
7861372238B157   LILIANA        ALARCON                  UT           90015107223
7861495A78B163   DIANA          LOYA                     UT           31061729507
78615768772B29   JOSHUA         CROOK                    CO           90014207687
78616A84172B37   JOSE JUAN      DEVORA                   CO           90012910841
7861758549154B   DE LA ROSA     SANDRA                   TX           90008525854
7861B25AA8593B   ANGELA         CUMMINGS                 KY           90007832500
7862136459154B   TONY           LEVARIO                  TX           75090353645
78621789A8B142   ALFONSO        CAMACHO                  UT           90014607890
7862246A831433   ANDREA         WHITTIER                 MO           90010884608
7862455549154B   JENNIFER       DIAZ                     TX           90015215554
7862835A18B163   ZAHRA          ALI                      UT           90013833501
7862B973551586   RAUL           CAMARENA                 IA           90014949735
78631332A55969   JULIO          ARREOLA                  CA           90001683320
78631913A2B994   PAUL           MENA                     CA           90008159130
78635861176B6B   FERNANDO       OLVERA                   CA           90011118611
78635A73755969   SONYA          JONES                    CA           48005470737
78635A91572B37   MIGUEL         GANDARA                  CO           90012910915
786361AAA9154B   ARMANDO        GONZALEZ                 TX           90008301000
78639735472B37   MARIA          GARAMILLO                CO           90009607354
7863B917172B32   LIZETTE        GONZALEZ                 CO           90012649171
7864325678B163   DJ             BAILEY                   UT           90006722567
786448A369154B   MOISES         RIVERA                   TX           90011688036
78644928172B44   JOSE           ESCOBAR                  CO           33088359281
78644A16A5B343   LARRY          TRENT                    OR           44542060160
78646A92772B37   TENESHA        MINGO                    CO           90012910927
7864717398B142   DAVID          ADAMS                    UT           90006631739
7864776A79154B   CASSIDY        LOISELLE                 TX           90011117607
7864973378593B   DANNY          JOHNSON                  KY           90013227337
78649A88941253   ZACHARY        BUGGEY                   PA           90013630889
7864B82718593B   SARAH          PAYNTER                  KY           90014868271
7864B847651355   PAUL           BROZ                     OH           90014268476
7865176A79154B   CASSIDY        LOISELLE                 TX           90011117607
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78652115672B29   GERALDINE       GUERRA                  CO           33065541156
7865664373168B   DONNA MARIE     JONES                   KS           90010186437
78656A56A8B142   FEDERICO        MOSSO                   UT           90009890560
7865911618B134   TIA             LEANNE                  UT           90012481161
7866194125B343   ROSABLA         EZQUEDA                 OR           90013849412
7866341648593B   ALOMA           TAYLOR                  KY           90014874164
7866466758B157   ANI             VAHANYAN                UT           90010826675
7866673268593B   CHRIS           HUERTA                  KY           90014887326
78667218472B29   DAVID           VIGIL                   CO           90014832184
7867233A472B32   MARIE           YELLOWHAWK              CO           90009443304
78672441172B22   JOANNA          AHEARN                  CO           33031084411
78673342972B37   XAVIER          METCALF                 CO           90010083429
7867341472B994   GUEVARA         DIAZ                    CA           90000554147
78677777176B6B   MARTHA          RODRIGUEZ               CA           90011197771
7867955378B163   DOUGLAS         WAMSLEY                 UT           90006195537
7867B74A38B142   BURKE           MILLS                   UT           90007897403
7868197659154B   DIEGO           ROJO                    TX           90000799765
78683337472B22   ROGER           GALLEGOS                CO           90014713374
7868456317B477   MELVIN          YOUNG                   NC           11081895631
78684A44272B29   JACQUELINE      STITT                   CO           90014800442
7868519A993739   TERESA          RAMSEY                  OH           90012411909
7869145A172B37   FREDY           PERLERA                 CO           33014004501
78692212A7B477   BRITTANY        HENDERSON               NC           90013772120
786985A148593B   KEISHA          WRIGHT                  KY           90014875014
786B51AAA9154B   ARMANDO         GONZALEZ                TX           90008301000
78713283A76B6B   HUGO            PEREZ                   CA           90008712830
7871345158599B   CHRIS           ISAACS                  KY           90010914515
7871B177551348   ROCHELLE        BROWN                   OH           90013661775
7872311A141237   TAMEKA          HARBER                  PA           90014031101
78724A6322B994   TIFFANY         MUNIZ                   CA           90010520632
78726619376B27   STELLA          MYERS                   CA           90008586193
78728522A72B22   CECILIA         LOPEZ                   CO           90013105220
787321A4751355   GLADYS          MULATO                  OH           90012221047
7873811288B168   ALEXANDER       FARNSWORTH              UT           90006491128
7873B39A193739   LYNNEA          VAUGHT                  OH           90011563901
7873B742791588   PRISCILLA       OROZCO                  TX           90012767427
78743714872B37   LUIS            TORRES                  CO           90013967148
78744834A91588   OSCAR           MARTINEZ                TX           90010408340
787471A7572B87   JOEY            EWING                   CO           33074561075
78749AA327B477   JANET           CAPELAND                NC           90011000032
7875191628B142   ALAN Y FELIPE   VELAS                   UT           90012699162
78751932A2B857   GABRIEL         MARTINEZ                ID           90008449320
78752114772B37   JOSE            SANTOS                  CO           90012911147
7875235723168B   MARIA           GAMEZ                   KS           90009503572
7875281598B142   DALE            OLSEN                   UT           90011588159
78753683676B6B   MARGARITO       GOMEZ                   CA           46073666836
7875485327B477   CEDRIC          HOWARD                  NC           90013718532
787571A3772B37   CHARLENE        REED                    CO           90011281037
78758728772B32   LOUIS           SAUCEDO L S JR          CO           90011147287
7875B774255969   ROBERT          ZUNIGA                  CA           90015127742
7876798878593B   GARRETT         WANDER                  KY           90014889887
7876973A672B32   DESI            ALARID                  CO           90009047306
7876B115672B37   ANA             MOJICA                  CO           90012911156
7876B565151355   MARSHAL         MCGHEE                  OH           90015155651
7876BA8A35B343   KATIE           OAKS                    OR           90012600803
7877376275B59B   LIZETH          RIVAS                   NM           90014727627
78774393772B29   RAUL            ESTRELLA                CO           33069913937
7877445532B248   IRMA            MERINO URIOSO           DC           90003094553
78775195872B22   ALEXSAUNDRA     MARTINEZ                CO           90002241958
787814A7261927   WALEED          ISSA                    CA           90011634072
78785866376B6B   TAMARA          SMITH                   CA           46005918663
78785A18431433   MAGGIE          DELTON                  MO           90010850184
787891A3772B37   CHARLENE        REED                    CO           90011281037
7878B26988B142   STEVEN          ZABOROWSKI              UT           31015142698
78792288A91531   JIMMY           IBARRA                  TX           90009422880
7879285A172B87   TAMMIE          YOUNGBLOOD              CO           90001428501
787B15A758B877   DRUCILLA        BURROWS                 HI           90013855075
787B1A1548B163   KRISTAL         VELARDE                 UT           90009510154
787B235353168B   TANECA          OWENS                   KS           90011293535
787B4837991588   TANYA           COVINGTON               TX           90013738379
7881361548B134   KASIE           JONES                   UT           90012956154
7881568235B59B   YOLANDA         PARKER                  NM           90009046823
78816392472B32   BECK            JAMES                   CO           90014173924
7881784235B384   TIFFANY         WHEAT                   OR           90011718423
7882163168B134   BRAD            WARNER                  UT           90010926316
78821A5765B343   THOMAS          MARKEL                  OR           90013240576
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7882366A755939   GUADALUPE       FRANCO                   CA           90014376607
78824539A72B32   ANGEL           PEREZ                    CO           90015115390
7882873498B163   SUSAN           CHRISTENSEN              UT           31040077349
7882968369154B   ESPERANZA       HERNANDEZ                TX           90006336836
7883471697B477   NICOLE          CATHCART                 NC           90013897169
7883478495B343   DARRIN          FOIX-JONES               OR           90010387849
788431A385B59B   LISA            RAMONE                   NM           90013831038
78843711A31443   LESLIE          BROWN                    MO           27590997110
7884BA87855947   JOSEANY         ARIAGA                   CA           90010280878
78853981A51355   TAMEKHA         COLLINS                  OH           90013319810
78854524272B22   LESSIE          BR                       CO           90013065242
7885668485B59B   EDUARDO         SILVERIO                 NM           90013366848
788628A2141237   WILLIAM         ALTON                    PA           90013688021
788629A7A7B477   JOHNATHAN       TALLENT                  NC           90000259070
78862A31472B22   MICHELLE        STELPFLUG                CO           33008280314
78863A52791588   KARLA           ARMENDARIS               TX           90009780527
7886895916193B   ALEXIS          MARTINEZ                 CA           46067719591
7886B217733699   TABIA           LUNDY                    NC           90004092177
7886BA18431433   MAGGIE          DELTON                   MO           90010850184
7887562958B168   CHRISTOPHER     ELLIOT                   UT           90004286295
7887B32128B134   GARY            REYNOLDS                 UT           90013363212
7887B35179154B   GINNY           NAVAR                    TX           90010413517
7887B516371921   JAYSON          TANNER                   CO           90012365163
7888193578B163   VICTOR          WILLIAMS                 UT           90012149357
7888194485B343   RAYMOND         WINN                     OR           90010899448
78882265872B32   ELIZABETH       STUTZ                    CO           90010852658
78882646972B32   ALEXIS          LOPEZ                    CO           90013716469
7888572A88B134   SHARRON B       FOWLER                   UT           31008317208
78885933572B87   GUADALUPE       SANCHEZ                  CO           90014939335
7888715568B134   TOMAS           HERNANDEZ                UT           90012001556
788871A385B59B   LISA            RAMONE                   NM           90013831038
7889176915B343   OSCAR           GUZMAN                   OR           90010807691
7889486835B59B   WILLIAM         MARTINEZ                 NM           90011218683
788962A358B134   MONICA          SPIVA                    UT           90009472035
7889894959154B   KARLA           MARTINEZ                 TX           90013379495
78899431976B6B   ALENEFER        JAIMES                   CA           90008334319
788996A125B59B   LUKE            GARCIA                   NM           90012846012
78899937672B37   LYNETTE         RIVERS                   CO           33010219376
788B1661A9154B   WUENDY          GUEVARA                  TX           75029276610
788B2297593739   SHALONDA        THOMAS                   OH           90011532975
788B3778255969   YOLANDA         HERNANDEZ                CA           90013047782
788B48A1955969   ANTHONY         REQUEJO                  CA           90014558019
788B6951691588   N               CASTANEDA                TX           90011239516
788B834943B358   TONYA           BRADSHAW                 CO           90009453494
788B9111276B6B   BYRON           LOW                      CA           90013211112
788B987883168B   KEVIN           BOCK                     KS           90009258788
788BB351172B32   MELISSA         SANCHEZ                  CO           90013083511
78913A3519154B   IRMA            GARCIA                   TX           90013970351
78913A98A8B134   BRUCE           ROBERTSON                UT           90010360980
78916828472B22   HUGO            ROMEO LOPEZ ALVARADO     CO           90011478284
78917128A72B37   AUSTIN          AINI                     CO           90012911280
7891789325B343   CERVANDO        ARROYO                   OR           44517248932
7891BA3758593B   TOMMY           YEAGER                   KY           66082700375
7892439327B477   HELENA          BYNUM                    NC           90013163932
78926865972B32   ALFREDO         MADRIZ                   CO           33015998659
7893229425B245   CHRISTY         MCCLURE                  KY           68045232942
7893B4A5355939   SERGIO          VIEYRA                   CA           90007104053
78941161472B37   JO              MARTIN                   CO           90011281614
7894758555B384   SOSHA           DIRKS                    OR           90000485855
78947985572B32   DENNIS          BLANKENSHIP              CO           90013839855
7894B277471921   RUBEN           ORTIZ                    CO           32053272774
7894B282191588   CYNTHIA         CASTRO                   TX           90012742821
78951A5138593B   AMANDA          HENDERSON                KY           90009600513
7895278799154B   ISAAC           TALAMANTES               NM           90011117879
7895391225B59B   YURIDIA         MENDEZ-VALDIVIEZO        NM           90011219122
78956129272B37   ASHLY           BEVILACQUA               CO           90012911292
7895724628B142   GARY            ANDERSON                 UT           90014842462
78958348A51355   BRITTNEY        JOHNSON                  OH           90013393480
7896386A48593B   LONNIE          WILKENSON                KY           90015178604
78964578972B22   BROOKE          ROGERS                   CO           90013045789
78971246A9154B   LORENZO         DIAZ                     TX           90004412460
78975841A91588   WTF             WELDINGS                 TX           90005888410
7897659A431433   SAMATHA         BATTLE                   MO           90013215904
78976A31572B87   FRANCISCO       REYES                    CO           33073720315
78978A3A89154B   CECILIA         FLORES                   TX           75076680308
7898458119154B   ALONSO          GARCIA                   TX           90010375811
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78984A8A851348   ELIJAH            CARRION               OH           90009830808
7898639555B384   LARAME            LUMLEY                OR           44559133955
7899385278B142   CLINT             WALKER                UT           90012458527
78994886476B6B   ENRIQUE           LOPEZ                 CA           90014478864
789948A3891935   MAINOR            POZADA                NC           90008768038
78996A59176B6B   ELIZABETH         RAMIREZ               CA           46035880591
78996A9685B32B   ERICKA            ARREOLA               OR           90005540968
789972A5255939   LESLIE            GONZALEZ              CA           90013232052
7899758799154B   JOSH              MATEL                 TX           90008915879
7899867738B157   ERLINDA           CASILLAS              UT           90014426773
7899B74448B142   BELTRAN           KIMBERLY              UT           90003697444
789B1479155947   JOSE              ALEJA                 CA           90012324791
789B216A861999   SUSANNA           KAELIN                CA           90007711608
789B453178B163   MIRIAM            LANGARICA             UT           90009715317
789B4691772B32   DANELLA           SANCHEZ               CO           90012826917
789B577525B343   ROSA              LOPEZ                 OR           90015127752
789B6125341237   MIKE              O LEARY               PA           90009921253
789B6627472B22   LORENA            ROMERO                CO           33005966274
789B857293B355   ELISABETH         BELTRAN               CO           90010315729
789BB246491588   DANY              MORALES               TX           90004732464
78B11464371921   LATOIYA           JACKSON               CO           90011104643
78B11633A55947   MONIQUE           GONZALEZ              CA           90011406330
78B1219955B59B   JARED ALAN        SHARP                 NM           90014601995
78B15538672B32   ANTONIO           ALBARRAN              CO           90010985386
78B1557268593B   KODY              AMMER-OLDING          KY           90014695726
78B15A18772B22   SENYO             ZIGAH                 CO           90013770187
78B17469A91549   JOSE              GRAU                  TX           90008624690
78B17671281633   BRENDA            SANCHEZ               MO           90014816712
78B1778755B59B   KYLE              FISHER                NM           90010077875
78B17AA9551348   RASHIDAH          WASHINGTON            OH           90010750095
78B18287176B6B   JOSEPH            MCKIBBEN              CA           90014652871
78B18669676B6B   LAZARO            AGUAYO                CA           90008046696
78B1889225B387   CHRISTINA         SIGMAN-DAVENPORT      OR           90009738922
78B1B3A5472B22   GLEN              MILLER                CO           90011253054
78B21664A72B37   ALONDRA           BARRON                CO           33014236640
78B23883154121   JAVIER            RAMIREZ               OR           90013358831
78B247A4672B87   BRANDON           YOUNG                 CO           90003737046
78B24A91A55969   MARYBEL           DAVALOS               CA           48017350910
78B2569498593B   TONY              PORCHIA               KY           66014776949
78B26788741253   CHRISTOPHE        KORING                PA           90004677887
78B26A15941237   SEAN              QUINLAN               PA           90013510159
78B27412A8B134   JAREDB            BLATNICK              UT           31059084120
78B281A815B384   ANTHONY           WHITCOMB              OR           44503231081
78B28489472B37   JENNIFER ROSE     ELVERUM               CO           90013374894
78B2B386798B3B   NAHUN             VASQUEZ               NC           90010453867
78B2B3A7455939   FRANCISCO         VAZQUEZ               CA           90010653074
78B2B985572B29   CRUZ              REYES                 CO           33015459855
78B2BAA7476B6B   DIEGO             JUAREZ JUAN           CA           90013090074
78B3111958B168   CARLOS            VALDEZ                UT           31083101195
78B3383285B32B   ANALI             GONZALEZ              OR           44546528328
78B3423485B343   DAVID             ROHNINH               OR           90012052348
78B3442265B32B   ANTONY            ABALOS                OR           90009084226
78B34819691522   ANA               LIRA                  TX           90012598196
78B35279484336   TAKEYA            RICHARDSON            SC           90011452794
78B3588953168B   MINDY             GASAWAY               KS           90009518895
78B3965925B384   HILARY            GRAFF                 OR           44519256592
78B3B6A115B32B   ELVIRA            FLORES                OR           90006536011
78B3B76A493739   KRISTINA          STANSELL              OH           90013697604
78B3B9A1A2B994   JUAN              PERALES               CA           90014679010
78B42921372B37   SAUL              VILLALOBOS            CO           90011279213
78B4342A393739   AALIYAH           WOODARD               OH           90012704203
78B43873872B22   ANAVEL            BLANCO                CO           90013188738
78B4414667B477   FERNANDO          GALICIA               NC           90012051466
78B443A4A51348   PAM               SMITH                 OH           90003553040
78B4456A25B343   RYAN              WEIPPERT              OR           90013535602
78B45786A33698   BRYAN             BELL                  NC           90011727860
78B48A53131433   NICHOLAS          IAVARONE              MO           27560840531
78B52144176B6B   LAUREN            PANTALEON             CA           46033091441
78B55235A76B6B   ADRIANA CRYCTAL   SALCEDO               CA           90014132350
78B5645AA8B163   OSCAR             VELASQUEZ             UT           90013434500
78B5819918B341   CHARLES           BARBER                SC           11074591991
78B58311872B29   REGINALD          BATTLES               CO           90014813118
78B63128172B29   KYLE              ALLAN SELLERS         CO           33082281281
78B63565A8B163   MONROY            WILFRIDO              UT           90013695650
78B66659291377   FINA              SILLEY                KS           90011746592
78B66919881633   DUSTIN            QUACKENBUSH           MO           90011499198
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78B6825968B134   WILLIAM        CHAMBERS                 UT           90012422596
78B699A8461432   GARY           LYONS                    OH           90014699084
78B7131498B157   MARGARITO      PADILLA                  UT           90011993149
78B7411772B994   EDWARDS        REESE                    CA           90005101177
78B74A91791588   GABRIELA       ALVARADO                 TX           90013270917
78B75526291588   ARLENE         MCKINNEY                 TX           90008585262
78B7767615B59B   GLENN          BLAKE                    NM           90011546761
78B78965A8B142   CARI           RICHARDS                 UT           90008099650
78B7999628B157   GENNI          SCHNEIDER                UT           90013449962
78B7B82595B343   CHRISTOPHER    WATSON                   OR           90012728259
78B82891A81633   RHONDA         NOLEN                    MO           90003898910
78B87583272B29   ANNETE         LONG                     CO           33075075832
78B88369441237   WILBERT        BROWN                    PA           90009573694
78B88631472B22   MARIA          COOPER                   CO           90012886314
78B8B92168B142   SANDRA         GARRIDO                  UT           31087189216
78B8B99269154B   CYNTHIA        RASCON                   TX           90011359926
78B91A12672B22   NATASHA        MORENO SANCHEZ           CO           90012980126
78B92711A72B32   PULIDO         SERGIO                   CO           90008407110
78B9439925B343   KARLINA        BARNES                   OR           44511783992
78B94665631432   ANDREW         RONZELEN                 MO           27514686656
78B94871576B6B   DIMAS          JIMENEZ                  CA           46096858715
78B95483241237   SHAYTELL       MICKISSICK               PA           90011004832
78B96565871921   KRISTIN        RODRIGUEZ                CO           90011355658
78BB212569154B   CATHY          DIAZ                     TX           90008971256
78BB351A58B134   SHANNON        OSTLER                   UT           90010725105
78BB5496733699   JOHN           DEEY                     NC           12074704967
78BB5942472B22   SHAJUAN        MATTHEWS                 CO           90011379424
78BB6487A72479   JENNIFER       SMITH-MOLDOVAN           PA           51011704870
78BB8A65993739   PRESTON        ATKINS                   OH           90013930659
78BB92AA372B29   ANDREA         WOOLFOLK                 CO           90013732003
79116288A33698   BLAKELY        ROBINSON                 NC           90008612880
79124672672B29   LORI           CLAYTON                  CO           90003516726
7912585195B59B   DAVID          LAW                      NM           90013908519
7912679669154B   LIZETH         MENDOZA                  TX           90011557966
7912943A372B32   BRENDA         MIRANDA-SURA             CO           90005484303
791356A4255939   RICHARD        FLORES                   CA           90012736042
7913586969154B   JESUS          PRIETO                   TX           75091238696
791368A214128B   CODY           TRANGLE                  PA           90007068021
79139724772B32   YESENIA        RODRIGUEZ                CO           90013397247
7914369AA71921   CASSANDRA      MARSHALL                 CO           90007406900
79154AA9455947   NATALIE        ARIAS                    CA           90014620094
79159687A3B392   PAULA          BAME                     CO           90008486870
79159A52441237   JAMES          CLARK                    PA           90010340524
79159A71681633   AMANDA         CRABTREE                 MO           90008890716
79162534372B32   SIDDHARTHA     BARAL                    CO           90010265343
79165457372B29   MARIO          CHAVEZ                   CO           90001274573
7916597579154B   TELEZ          LORENZ                   TX           90010329757
7916863439154B   MARY           GUILLEN                  TX           90006726343
791736A5391588   CARMEN         GAYTAN                   TX           90013016053
79175581A4B548   CHRISTINA      DAVIS                    OK           90010635810
79178344A21676   KALINA         JOHNSON                  OH           90015353440
79184221A7B477   JENNIFER       GREEN                    NC           90013872210
79187A3818B142   JOSE           HERNANDEZ                UT           90014850381
791888A548B134   ADAM           GIBSON                   UT           90012548054
79189653772B29   MARIO          DELAGARZA                CO           90014406537
7919336638B131   JULIE          STEVENSON                UT           90006483663
7919517455B385   LEAH           BLUM                     OR           90011451745
79195499A33698   LILLIETH       MOBLEY                   NC           90014734990
79197A18431443   MAGGIE         DELTON                   MO           90010850184
7919897198B157   VAUGHN         ALLEN                    UT           31087879719
7919915AA8B157   CHERYL         RASMUSSEN                UT           90008631500
7919B259861967   SALVATORE      DIMORA                   CA           90012922598
791B4A7857B477   LAMARIA        SMITH                    NC           90013930785
791B5289355947   SABINA         AGUILAR                  CA           90012772893
791B7715655939   LYNNSEY        DEL SID                  CA           90011117156
791BB689A91588   JOE            HERNANDEZ                TX           90014076890
791BB6A7A8B142   JOSE           SUAREZ                   UT           90010196070
7921152575B385   LARRY          PRATT                    OR           90010055257
7921669AA8B168   JARVIS         DANNY                    UT           90012026900
7921995A533B44   ANTONIO        MORAHES                  OH           90013829505
79219A6A441253   HOWARD         PERDUE                   PA           90013450604
7921B552A55947   HERIBETO       ZUNIGA                   CA           90011865520
7921B83249154B   ISAAC          AVILA                    TX           90008388324
79222582272B44   ELLEN          STEPHENS                 CO           90006265822
7922B551955939   ALMA           ALVAREZ                  CA           90013045519
7923239AA41237   LINDA          ROSS                     PA           90011323900
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7923363595B59B   INGRID         ARCE                     NM           90004826359
79233A37441237   AYLANNA        KING                     PA           90010380374
792345A9781633   DAVID          CAMPUZANO                KS           90014175097
79235A79371921   VERONICA       HERNANDEZ                CO           90011970793
792368A1A8B168   OMAR           PERALTA                  UT           90001828010
79238583872B29   LOREN          TRIJJILO                 CO           90011165838
7923881199154B   ALFREDO        ESTRADA                  TX           90011078119
7924222A17B473   JEROME         COGGINS                  NC           90008302201
792436A5241237   MATHEW         RUSSO                    PA           90013316052
79247A8A431443   DESMOND        STRAIN                   MO           90011430804
79248A6725B281   NOLBERTO       AGUILAR                  KY           90011700672
79248A86A72B29   BLANCA         BATAZ                    CO           33069460860
792515A6371921   KATHERINE      LINDSEY                  CO           90012625063
7925B6A2561967   MARLEE         BLAND                    CA           90012846025
7925B983255939   GUMARO         CASTANEDA                CA           90010789832
7926122A68B168   SUZAN          MCEWAN                   UT           31092472206
7926256A661967   VILAYPHONE     SOUKPASEUTH              CA           90009625606
7926264245B59B   VINCENT        LEVATO                   NM           90013356424
79262A6A981633   MEGHAN         TAYLOR                   MO           29091530609
7926725255B59B   RORY           YAZZIE                   NM           90014332525
79267A38661967   SANTOS         ARROYO                   CA           90002220386
79267A63855947   RAMON          BENAVIDES                CA           90014740638
79271A2A755939   JUAN           LOPEZ                    CA           90008930207
7927223A18B142   TIMARIE        BAXTER                   UT           31076232301
79273398A77585   RAYMOND        COLLINS                  NV           90014643980
7927539588B168   AGUSTIN        RUELAS                   UT           90013093958
7927737796B995   CELENA         BASTIAN                  NJ           90012973779
7927BA66255947   RICHARD        BECERRA                  CA           90014740662
7928247795B385   TRAVIS         NELSON                   OR           90014204779
7928475A35B59B   RAYMUNDO       PACHECO                  NM           90013057503
7928492135B385   RAYMOND        NELSON                   OR           90007359213
79285297A7B477   KATANJA        HALL                     NC           90008482970
7928553678B157   NADIR          BANNAGA                  UT           90010115367
79285AA6A72B29   ELENA          BURCIAGA                 CO           90005950060
7928657A631443   JORDAN         BRIDGES                  MO           90011125706
7928754747B477   EBONY          LIVINGSTONE              NC           90012835474
792899AA455969   LUCERO         GONZALES                 CA           90012519004
79294248172B44   DOREN          BARRON                   CO           90010412481
792946A2A41253   ALLEN          ALLEN                    PA           90014016020
7929481428B168   BRANDON        TANNER                   UT           90010608142
79298779172B29   MAILOR         MENDOZA                  CO           33065457791
792B1731655947   ASHLEY         LOPEZ                    CA           90003367316
792B3192772B29   LAUVENCY       JOSEPH                   CO           90013071927
792B669986B995   TONY           STARKS                   NJ           90006256998
792B767515B59B   JUAN           RAMIREZ                  NM           35044046751
792B8918361967   JONNIE         TORRES                   CA           90012449183
792B8A6898B134   CHRISTOPHER    POGUE                    UT           90013910689
792BB93A572B44   TONY           GONZALES                 CO           90010399305
79311439A33698   ROBERT         TAYLOR                   NC           90010804390
7931687A261967   FELICITOS      HERNADEZ                 CA           90010388702
793179A1A55969   DEBBY          MCCASLAND                CA           48058219010
79318457A51348   TERESA         DEAN                     OH           90013934570
7931B767841253   TIFFANY        VALENTINE                PA           90012077678
79321A21133698   KAREN          MILLER                   NC           90014780211
79328A5685B385   ANA            ESTRADA                  OR           90011140568
7932B194451348   JUANISHA       GIBSON                   OH           90002771944
79333239A72B29   STACIE         BARLOW                   CO           90012022390
79333A1617B477   BELLE          BENTON                   NC           90011620161
79336A3418B874   JOSE           MEJIA                    HI           90015320341
7933895A961967   SILVIA         ARMENTA                  CA           90012749509
7933B87955B385   OSCAR          HERNANDEZ                OR           90012878795
7934422947B477   JENNIFER       GREEN                    NC           90013872294
7934578788B157   ERIC           HANSEN                   UT           31012937878
79348746A41253   GARY           LAMBRIA                  PA           90014137460
79349A61772B32   BRIDGE E       POTTER                   CO           90011200617
7934B591A8B163   HAYDEN         LOSSER                   UT           90008605910
79355486172B29   VALERIE        SKIBA                    CO           90008684861
7935569225B385   ERIC           SCOGGAN                  OR           44573446922
7935645128B163   JACOB          RIDDLE                   UT           90012794512
793639A6341237   TAWANNA        JAMES                    PA           90013719063
79364A7598B142   VERONICA       VAZQUEZ                  UT           90014880759
79366323872B32   SANTOS         GONZALES-QUIJAS          CO           33020043238
7936B38765B326   KEN LEI        OTA                      OR           90011013876
79371A36972B29   ERIK           DEORANTES                CO           90014970369
79373A4A355947   JAMES          BRUNE                    CA           90013000403
7937476AA61922   CARLOS         HERNANDEZ                CA           90011877600
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79375777797B56   ATHENA         MARRUJO                  CO           90012627777
79376329A55947   JESSE          VALENZUELA               CA           90012583290
79377383272B85   SERGIO         DELGADO                  CO           90002823832
7937B673861967   ESMERALDA      IBARRA                   CA           90006736738
7938323275B59B   ROBERT         PRESSNALL                NM           90007932327
79385A24133698   JOHN           HUNTER                   NC           90014790241
7938717A15B59B   ERICK          LANEY                    NM           90011221701
7938841A533698   ANGELA         THORPE                   NC           90013864105
7938B638A81633   MAURICIO       PEREZ                    MO           90009546380
7938BAA4633698   TALISHA        RAY                      NC           90014050046
7939235527B477   BLAKE          GREENE                   NC           90014313552
7939375148B142   MARIA          CLAUSON                  UT           90011077514
7939424328B168   JULIE          SIZEMORE                 UT           90001992432
79399878A5B385   MICHAEL        FULLER                   OR           90013628780
7939B29A78B134   CHRISANDRA     JENSEN                   UT           90014442907
7939B311955969   GABRIEL        GONZALEZ                 CA           90010013119
793B5275472B32   JORGE          ROQUE                    CO           90012332754
793B5A42955969   SARA           AVILA                    CA           48037610429
793B65A717B477   CANDICE        BIVENS                   NC           90013315071
793B6A7A341273   ANTHONY        HOPPE JR                 PA           90013300703
793B785257B477   JOSEPH         LITTLE                   NC           90013998525
793B78A747B477   CARMEN         LITTLE                   NC           90014548074
793B9A87391588   CRISTINA       OCHOA                    TX           90011930873
79415A9985B385   LORENA         CHAVEZ                   OR           44507240998
7941B85419154B   ANA            GUTIERREZ                TX           90011078541
79422A14A31432   MARTINAZE      INGRAM                   MO           27583700140
794248A3355969   PAMELA         MENDENHALL               CA           90002968033
794266AA355969   LILLIE         REED                     CA           90012916003
7942994135B385   SCOTT          LENABERG                 OR           90010499413
7942995A541253   JOHNNY         MULLEN                   PA           90010879505
79433A1A961967   ALEXUS         TORRES                   CA           90008140109
794365A477B477   JASMINE        RIVERA                   NC           90010465047
794372A978B134   JARED          KRAUS                    UT           90014512097
79439A71671921   MAYTA          PORTER                   CO           90014800716
794412A925B59B   VALERIE        GOMEZ                    NM           90011222092
7944587A761967   GARCIA         INES                     CA           90001408707
7944828368B168   RONICA         SIDWELL                  UT           31059962836
79449845A71921   MARY           JONES                    CO           90014008450
79451AA9991588   PEDRO          ROMERO                   TX           90013660099
7945291558B186   SONJA          MORAN                    UT           90014699155
7945694528B122   VERNEY         QUIROZ                   UT           90008469452
7945B419261967   ROSALBA        SALINAS                  CA           90001344192
7946287A855947   ANDRES         CAMARENA                 CA           90012858708
7946385A271921   CHRIS          PERKINS                  CO           90014008502
7946442297B477   MISTY          ANTHONY                  NC           90013984229
7946B616355939   MAYRA          VASQUEZ                  CA           90012426163
79474757A51348   NICK           BLAKE                    OH           90011977570
7947B317A72B44   ILDA           FERNANDEZ                CO           90004483170
7948441688B134   MIKE           PELLEU                   UT           31000894168
7948666A371921   ART            DRESSING                 CO           90013056603
7948679447B477   HECTOR         GUARDADO                 NC           90010177944
7948841258B168   NICHOLAS       TERRY                    UT           90011844125
7948B2A1355939   PATRICIA       GONZALEZ                 CA           90013642013
7948B546851355   JULIAN         BRYANT                   OH           90010745468
79491A1438B163   MARK           PIKOSZ                   UT           31020050143
79492A32961967   ABRAHAM        GARCIA                   CA           90009710329
7949B3A8A8B134   ALISON         LADNIER                  UT           90011503080
7949B895972B44   CARLOS         GUSTAMANTE               CO           90003528959
794B3921772B32   BRIAN S        HALLADA                  CO           90012179217
794B529328B134   UELESE         APELU                    UT           90014442932
794B7979593741   JARED          STOUT                    OH           90001439795
794B7A6985B59B   CHRIS          HIRANI                   NM           90009160698
794B912748B142   CODY           PARKER                   UT           90014911274
794BB614355969   CHRISTINA      VALDEZ                   CA           90013946143
7951336857B398   GERMAN         AREAS                    VA           90000773685
7951343548B142   SANDR          RODRIGUEZ                UT           90010994354
795144A9751355   OLGER          MENDOZA                  OH           90010794097
79515558672B32   CASSANDRA      BELTRAN                  CO           90012085586
7951887165B59B   NICOLE         JOHNSON                  NM           90013268716
79518A63855969   JASMINE        GARCIA                   CA           48015370638
79519258A55939   CELIA          JIMENEZ                  CA           90010802580
7951BA58191959   CHINITA        PARKER                   NC           90009490581
7952218A461967   CARMEN         OSTORGA                  CA           90008251804
79522938A8B142   ASHLEY         LOSEE                    UT           90014919380
7952635A831432   SHALONDA       PETTIGREW                MO           90006333508
7952B449755947   BENNY          ORNELAS                  CA           90014644497
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7953415349154B   KRISTINA       IBANEZ                   TX           90007901534
79535424572B32   LEANN          NAJERA                   CO           90010934245
7953672AA51355   FREDDIE        ROBINSON                 OH           90006257200
7953793925B385   CINNAMON       SLATER                   OR           90011279392
79538A94841253   GARRETT        FLOTTA                   PA           90011630948
79539175272B44   KAILI          BUNN                     CO           90010091752
795415A5333698   HAYWARD        PEAK                     NC           12014375053
79544AA9672B29   AUGUSTION      DOMINGUEZ                CO           90013410096
795462A3755947   ELISEO         LOZA                     CA           90007742037
79546639172B29   HOWARD         CATES                    CO           33074046391
79546852272B44   WILLIE         LONG                     CO           90002448522
7954917A731443   CELESTE        GARCIA                   MO           90008801707
7954B531955939   NELLIE         TORRES                   CA           90013235319
79552926672B29   PATRICK        JUDISH                   CO           90012619266
7955466A655969   JUAN           CALDERON                 CA           48032926606
79557A4925B59B   REYNALDO       MACIAS                   NM           90013470492
7955973558B142   CINTHIA        ACENDANO                 UT           90015127355
7955BA12661927   JOHN           JOHNSON                  CA           90008620126
7956228228B157   ISSAC          VARELA                   UT           90009282822
79562A56541237   GREGG          GROVER                   PA           90003670565
7956421778B186   LAURIE         LEE                      UT           31089762177
7956443515B59B   JOSOLANE       AVILA                    NM           90015134351
7956B432A61967   ARENDA         WILSON                   CA           90007904320
7956B786971921   KELCEY         RIDPATH                  CO           90010137869
795728A8981633   TERENCE        MCGINNIS                 MO           90010078089
7957437928B163   MAYRA          GONZALEZ                 UT           31032723792
7957449888B163   MAYRA          GONZALEZ                 UT           90012084988
7957486619154B   JIMMIE         COPELAND                 TX           90013528661
79574A21771921   BOBBI          KULBISKI                 CO           90013920217
79578592A8B134   ANTONIO        JUAREZ                   UT           90015025920
795798A8A81633   ROSA           ARREDONDO                MO           90014878080
7957BA11872B44   MARIE          SCHILTZ                  CO           90005250118
7958222A97B477   KIMBERLY       FUNCHES                  NC           90014082209
79582447872B32   MAILORN        SMITH JR                 CO           90014004478
795863A1831443   TONY           PASS                     MO           27509613018
7958652A571921   OSCAR          ZENDEJAS VELAZQUEZ       CO           32024935205
7958B217755969   ANDREA         BARRERA                  CA           90010392177
7958B427251355   ADIJA          QUALLS-PALMER            OH           90009734272
795923A6755939   CINDY          MCQUEEN                  CA           90012943067
79592A19172B32   FEDERICO       MENDOZA                  CO           90000790191
79594A97961967   JOHN           VASQUEZ                  CA           90010490979
79596812A72B44   GEORGE         GAGNON                   CO           90010758120
79599659472B32   BRANDAN        SHADDEN                  CO           90006676594
795B199772B248   KEVIN          JACKSON                  DC           90004559977
795B2286541229   RYAN           WEBS                     PA           90008882865
795B289A561967   MARIO          RODRIGUEZ                CA           90012938905
795B592228B134   NAR            BHATTARAI                UT           31094659222
795B622858B142   DANE           SLIFER                   UT           90008102285
795B623A25B59B   JOSE           HAMPSTEN                 NM           90011222302
795B6958471921   DESIRE         JOHNSON                  CO           90014899584
795B711635B385   MARIA          MORALES                  OR           90013761163
795B7379372B32   MARIA          ESPINOZA                 CO           90011593793
795B7684771921   TYRONE         NELSON                   CO           90013906847
7961823A872B29   ANA            SILVA                    CO           90010772308
79621842372B44   KATRINA        ROMERO                   CO           90011638423
7962532658B134   SELVIN         ORTEZ                    UT           90014773265
7962669373168B   FELISHA        WALLACE                  KS           22083656937
796312AA297122   JOSE           VEGA RAMIREZ             OR           90010042002
7963946398B142   EPELI          COCKER                   UT           90014934639
7963B23428B159   KONI           ADAMS                    UT           90010282342
79644537A2B994   MICAH ANDREW   REMAGE                   CA           90005145370
79646681A33698   QUENTON        BODDIE                   NC           90014936810
796473A1A72B44   MELISSA        ANDERSON                 CO           90013883010
796491A1A55939   LEONICIO       POLANCO                  CA           90012911010
79649866A55939   JESUS          GARCIA                   CA           90015098660
7965524555B385   ROBERT         MEDEIROS                 OR           90014802455
7965944529154B   EDUARDO        ORNELAS                  TX           90006594452
7965B13A881633   TRENA          FUQUA                    MO           90009661308
796612A7855969   BANTA          SINGH                    CA           90014432078
7966357927B477   ERIKA          ALVAREZ                  NC           90007305792
79666866A81633   JASON          DEETS                    MO           90001948660
79668288472B29   LATRECE        BROOKS                   CO           90009702884
7967363558B142   BRETT          CHORNIAK                 UT           90010996355
7967429AA51348   CAMILLA        BUSH                     OH           90010882900
7967479475B131   CAMERON        MCGEE                    AR           90013797947
7967513A87B477   TSEGNI         FESHAZION                NC           90013561308
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7967634A35B59B   JAVIER         LOPEZ                    NM           90011223403
7968199139154B   ADRIANA        MATURINO                 TX           90009049913
79682A62891588   RUBEN          GUTIERREZ                TX           90007070628
79682A8687B477   ESTEBAN        GARCIA                   NC           90013860868
7968348A472B44   ROBERT         KROL                     CO           33018254804
79683AA5972B32   DAMAUR         BIRCH                    CO           33052430059
79684646272B44   PAUL           SWEANGEN                 CO           33094766462
7968933329154B   YOLANDA        RODRIGUEZ                TX           90003273332
79694189998B29   SONYA          COLLINS                  NC           90008251899
79694272872B29   HASSAN         LATIF                    CO           90008462728
796B1A62231443   EASTER         LOVE                     MO           27574080622
796B3A31777524   LONA           FULLER                   NV           43090110317
796B536A455969   ALMA           SPURLOCK                 CA           90010893604
796B5514455969   MARCOS         SOUSA                    CA           90013235144
796B5A56855947   JAVIER         ROCHA                    CA           90004050568
796B8528291588   CARLOS         ENRIQUEZ                 TX           90011885282
796B879445B385   CORY           FREEMAN                  OR           90013577944
796B9444491588   JUAREZ         JOSHUA                   NM           90011304444
79712A6458B134   BRYAN          THOMSON                  UT           90012540645
7971394412B295   STEVEN         FOSTER                   DC           81055539441
7971627A855969   FILOMON        PALOMERA                 CA           90013042708
79716653A41237   TERRIN         BAILEY                   PA           90010856530
7971687175B59B   JESSICA        ARVIZO                   NM           90003188717
797191A6272B98   BLANCA         JURADO                   CO           90000761062
79722195172B32   ERIC           SCHNATHORST              CO           33060641951
797234A625B522   CAROLINA       FRANCO                   NM           90002744062
7972872A241253   BRIAN          CONLEY                   PA           90013687202
7972B2A4755947   MADISON        MANGRUM                  CA           90012782047
79735573972B32   ARNULFO        SALAS                    CO           90013585739
7974266838B142   MOSIAH         SUAREZ                   UT           90012716683
79746752772B23   YANEXA         GUZMAN                   CO           90011817527
7974966118B168   BRAD           DANGER                   UT           90004076611
7974B21499154B   ROSA           SALINAS                  TX           75012922149
7974B667441253   JOSE           ORTIZ                    PA           90014356674
7975112748B142   CODY           PARKER                   UT           90014911274
7975991479154B   ANN            MARTINEZ                 TX           90009119147
79765336572B29   BRYCE          TOLBERT                  CO           33026563365
7976955975B385   JOSALYN        ROSALES                  OR           90004745597
79772A8442B994   RITO           ALVARRO                  CA           90003490844
7977399A557132   JOSE LUIS      RIVERA                   VA           90011389905
7978169557B477   KEYAWNA        ARROTO                   NC           90014836955
79782435A61967   JUSTIN         BROWN                    CA           90011534350
797843AA772B32   ARTURO         GOMEZ                    CO           90009763007
7979194459154B   OMAR           MOLINAR                  TX           90011079445
79792A9622B829   ROBERT         MEYERS                   ID           90007670962
79793A4AA7B477   DARREN         TREADWELL                NC           90003590400
797975A5491588   LAURA          PEREZ                    NM           90002305054
797B116757B477   MARIA          RIVERA                   NC           90010731675
797B1343355969   KIMBERLY       COX                      CA           90013993433
797B244649154B   RAMON          CASTILLO                 TX           75081904464
797B72A5393739   PILLIP         TAYLOR                   OH           90008972053
797BB566961967   FERNANDO       MACHADO                  CA           90011595669
79815A3555B327   CORNELIO       SERRANO CERRITOS         OR           90009300355
79815A87155969   MIGUEL         SEGARS                   CA           90013060871
7981941225B59B   ANNA           BOLIVAR                  NM           90011224122
7981B611771921   COREY          KINNARD                  CO           90013936117
7982152A58B134   FEDERICO       OCHOA                    UT           90012405205
79821939672B32   DANICA         GAUTHIER                 CO           90008329396
79821A8345B53B   DORIAN         SANCHEZ                  NM           90013370834
79824A5217B495   FELICIA        MORRIS                   NC           11076160521
7982565A59154B   JORGE          PAYAN                    TX           90009946505
798273AA841237   MARK           JHON                     PA           90013963008
7982791A155969   SUMMER         GARCIA                   CA           90013099101
7983186A955939   RYAN           GAULT                    CA           90000158609
798363A9A55969   LIDIA          VERDUGO                  CA           90013963090
79836A42191588   PAT            ROJAS                    TX           75046620421
7983763788B134   CARLOS         SOLIS                    UT           90010476378
7983915619154B   ALBINA         VILLA                    TX           75043391561
7983B481355939   NIDYA          LOPEZ                    CA           90012064813
7984197A791588   FRANCISCO      LOPEZ                    TX           90008959707
79846A6492B994   JASON          GUERTIN                  CA           90002790649
7984744998B142   HARTLEY        BAILEY                   UT           90009194499
7984B85A19139B   BRETT          ASHNER                   KS           90013758501
798566A198B163   CINDY          BARRIENTOS               UT           90006786019
7985B82A355939   MIKEY          RAMOS                    CA           90013788203
79861237A51348   PEDRO          ALONCO                   OH           90014422370
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798616A3255947   ANGEL          NOROA                    CA           90010326032
7986629457B477   INELISE        ESCALERA                 NC           90011082945
79872574A55947   RODNEY         JONES                    CA           90014655740
79874383A41253   SHEENAE        SCOTT                    PA           90013553830
7987735425B359   HERMAN         OWENS                    OR           90010563542
7988516748B157   JAUN           CABRERRA                 UT           90008651674
798869A8381633   TIMOTHY        BLACK                    MO           90011149083
798959A9733624   JACQUELINE     CAMPBELL                 NC           90011519097
79895A28947956   SHASTA         FRANK                    AR           90014240289
798B1841891588   MARIA          RODRIGUEZ                TX           90009478418
798B3392655939   ELVA           RAMIREZ                  CA           90006653926
798B4116541237   MICHAEL        BRUSH                    PA           90013701165
798B6152355969   BRISA          FLORES                   CA           48002221523
798B762348B142   DEBORAH        STEED                    UT           90010346234
7991195AA55969   DELIA          LOPEZ                    CA           90013129500
79916854A71921   ROBERT         KELSO                    CO           90011128540
79924A14651355   REGINA         RUEHLMAN                 OH           90013300146
79924A87155969   DEANNA         NAVE                     CA           90010530871
7992B89615B385   ALFREDO        ROJAS                    OR           44546908961
799328AA291849   FERNANDO       WEBSTER                  OK           90012388002
799334A228B157   MARIE          HICKEN                   UT           90010654022
799354A7451348   DARLENE        TUCKER                   OH           90014404074
7993561358B134   JOHN           KOVALENKO                UT           90010476135
7993817A43B384   RUBEN          ALCANTAR                 CO           90005091704
79943734A55939   ANA            LUA                      CA           90011077340
7994399319154B   GISELA         MURILLO                  TX           90011079931
79944A67633698   BRITTANY       MAXWELL                  NC           90010890676
79948719A51355   RICKY          JACKSON                  OH           90008067190
79952252472B29   TASHIARA       DICKERSON                CO           90015112524
79961258172B44   JESUS          GONZALEZ                 CO           90010082581
7996686468B134   SHANE          SIMPSON                  UT           90013218646
79969AA343147B   RENEE          JOHNSON                  MO           90013210034
799725A668B134   ERICKSON       KRISTIN                  UT           90010585066
79977271172B32   JOSE           NIETO                    CO           90011392711
799834A878B142   STEPHANIE      UNTHANK                  UT           90015004087
7998718388B157   MICHELLE       MARTIN                   UT           90009141838
799873A8651348   CHRISTY        ROLLYSON                 OH           90001903086
79988815372B44   ANAVEL         DOMINGUEZ                UT           90002038153
7998897159154B   NOEMI          BARRIENTOS               TX           90011129715
79999764A51355   JACOB          MELFORD                  OH           90011937640
7999B4A3A5B59B   BIENVENIDO     OTERO-ORDONEZ            NM           90013074030
799B349875B59B   CONSUELO       LEO                      NM           90008434987
799B355618B134   VEATRIZ        ALEQUIN                  UT           31085945561
799B3914861967   RICARDO        VIDES                    CA           90014419148
799B7195A81633   MARCUS         DRIZZLE                  MO           90011091950
79B1242888B142   HARLEY         ADAMSON                  UT           90010954288
79B12548555939   SALVADOR       QUIROZ                   CA           90009515485
79B1386A85B279   CLARA MARIE    FRANKLIN                 KY           90009338608
79B1BA7918B142   STACY          TURPIN                   UT           90008040791
79B22377281633   DAVID          HEMBRECHT                MO           29098523772
79B24395233624   MICHAEL        KELLY                    NC           90010763952
79B27459961967   MICHAEL        ROGERS                   CA           90012864599
79B27A26172B29   SANTANA        LEBLANC                  CO           90014630261
79B3187729154B   EMMA           HITA                     TX           90004188772
79B3332393B336   DONALD         GALLEGOS                 CO           90007263239
79B34AA618B134   LUZ            PINEDA                   UT           90014880061
79B3619A48B163   GENE           BAILEY                   UT           90012971904
79B361A4241246   JAIMEE         HOFFMAN                  PA           90005511042
79B37586393739   DARNELL        JACKSON                  OH           90001135863
79B38A72855939   ANTONIO        FLORES                   CA           90012160728
79B39561581633   LOU            MEREDITH                 MO           90014665615
79B46542941253   CHARLENE       HUMBERT                  PA           90010285429
79B47827691588   ARLENE         RIVERA                   TX           90012248276
79B47A65A61967   STACEY         ALBERTSON                CA           90010770650
79B53158657127   NANA           ANA                      VA           90010721586
79B535A1171921   GABRIELLE      COLLINS                  CO           90011415011
79B54945551348   DOMINIQUE      LANAY                    OH           90006509455
79B55A5A171921   LUCAS          SIKES                    CO           90013230501
79B5739118B168   MOEUN          JEONG                    UT           90011813911
79B5793988B142   MARIA          HERRERA                  UT           90011659398
79B58499A33698   LILLIETH       MOBLEY                   NC           90014734990
79B58687971921   RAYMOND        LEDFORD                  CO           90012256879
79B5993988B142   MARIA          HERRERA                  UT           90011659398
79B63557551348   MONICA         RICHARDS                 OH           66080615575
79B6374657B477   VINAY          ARALI                    NC           90010467465
79B63784491566   MARTHA         RODRIGUEZ                TX           90005397844
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79B6793988B142   MARIA            HERRERA                UT           90011659398
79B6B21895B59B   DON              HARRIS                 NM           35084722189
79B6B97219154B   TARAZON          DENISSE                TX           90005409721
79B732A4A55947   CESAR            MALFAVON               CA           90012662040
79B7355454B961   BIANCA           ROBERTSON              TX           90012235545
79B7421358B163   MARIA            COOK                   UT           31066152135
79B77534861967   JESUS            SANCHEZ                CA           90009825348
79B79669972B32   VIRGINIA         BALDWIN                CO           90012916699
79B8391A272B44   DESIREE          MARTINEZ               CO           90010399102
79B8543547B477   RENEE            GLEATON                NC           90011154354
79B86135A41227   KRISTEN          ALLEN                  PA           90006891350
79B86476933698   KIVA             WINFREE                NC           90011014769
79B8983A461967   NICHOLAS         DRAKE                  CA           90013888304
79B8BA92561967   OFELIA           SECADA                 CA           90008130925
79B91A86731432   WILLIAM          CLAYTON                MO           90004990867
79B9332398B134   AMBER            COX                    UT           90011473239
79B95289A41253   DOLORES          ALLEN                  PA           90013382890
79B9541A151348   SCOTT            BRYANT                 OH           90013934101
79B95443733698   ROBERT           TAYLOR                 NC           90010804437
79BB1A86772B29   SCOTT            HOLLISTER              CO           33006010867
79BB274A29154B   FELICA           WILLIAMS               TX           90011077402
79BB325575B59B   SIGIFREDO        JIMENEZ                NM           90012142557
79BB3578155939   JUAN             MARTINEZ               CA           90012545781
79BB489A78B134   SAREK            PURNS                  UT           90010978907
79BB5359A51348   GRACIE           DUNCAN                 OH           90004313590
79BB7992891588   RAY              QUINOZ                 TX           90010739928
79BBB766441253   MEET             SHAH                   PA           90012117664
7B111766133699   EBONY            DAVIS                  NC           90013757661
7B112132372479   BELINDA          YAGER                  PA           90006701323
7B11374652B994   CHRISTINA        LOPEZ                  CA           45051907465
7B115535927B98   JUWAN            MYLES                  KY           90012015359
7B11624744B572   MELISSA          MORGAN                 OK           90014252474
7B116599A72479   DAN              RETTINGER              PA           90010735990
7B1167AA672441   KRISTINA         JOHNSON                PA           90010937006
7B11694A472441   KRISTINA         JOHNSON                PA           90014599404
7B117469833B32   GABRIEL          GUTIERREZ              OH           90014254698
7B118A5128B157   JESSICA          SIERRA                 UT           90013070512
7B122374157556   ALEJANDRA        PARRA                  NM           90009243741
7B12255513168B   ENOIS            SCROGGINS              KS           22065565551
7B12694AA8B157   JEANNIE          PARSONS                UT           90012589400
7B12837A881633   JOSH             HAYNES                 MO           90015273708
7B12897A955931   PHETSAMONE       PHIMMASONE             CA           90014819709
7B129864757563   MARIA            RAMIREZ                NM           90014408647
7B129A85A31432   INES             REYES                  MO           90012730850
7B12B431851348   ALEXANDER        DIAZ                   OH           90011134318
7B13213AA5B384   JUSTIN           REYNOLDS               OR           90014901300
7B13469942B271   BRITTANY         JONES                  DC           90007386994
7B1355A245B596   DIANE            SANCHEZ                NM           35013625024
7B136374855931   DAJA MONIQUE     HAMPTON                CA           90013543748
7B136835757157   HECTOR           FERRERA                VA           81075568357
7B137578593726   JAMES            PORTER                 OH           64595045785
7B137858455966   BRIANA           MARTINEZ               CA           90013008584
7B1378A1955966   RAUL             CHAVEZ                 CA           90011248019
7B13829A255947   MARIO            MENDOZA                CA           49004372902
7B13B23828B163   DAN              CREAMER                UT           90000332382
7B13B742551348   KHALEEL          RUFAI                  OH           90012817425
7B13BA9845B169   STACY            MALCUM                 AR           90000170984
7B142522157556   BERTHA           HERNANDEZ              NM           90010635221
7B143177855947   FABIAN OLIVA     VAZQUEZ                CA           90002821778
7B1453A8A5B59B   ROBERT           OCONNER                NM           90014743080
7B147485931432   TAYELIN          ARNOLD                 MO           90014574859
7B147942755966   LAURO            RAMIREZ                CA           90009629427
7B14B55314B572   JESUS            DELOERA                OK           90011525531
7B15166165B169   LERIN            ZAVALA                 AR           90011856616
7B15354A155931   TABITHA          BREWER                 CA           90013555401
7B15426A972B29   JAMES            BACCA                  CO           90009662609
7B154878255966   ROSA             CASTANEDA              CA           90013008782
7B154AA479154B   SANDRA MARCELA   PEREZ                  TX           90013460047
7B155567941227   ANTON            LOTT                   PA           90014755679
7B156999772441   JENNIFER         SAWYER                 PA           90009909997
7B158114441237   HAJI             MUZHIMU                PA           90013051144
7B15954257B477   QUADARRIUS       HOLT                   NC           90012825425
7B161111993736   KATHERINE        HUNT                   OH           64567611119
7B161153441237   VERNELL          MOORE                  PA           51035991534
7B161962872441   WESTLEY          MINEARD                PA           90013539628
7B162377772B32   GEORGE           LANG                   CO           90014983777
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 724 of 1007


7B162747172441   JESSICA        IZZO                     PA           90005697471
7B162814472B29   EDUARDO        APARICIO                 CO           90011518144
7B165536933698   MICA           CLARK                    NC           90005305369
7B165685872441   ADAM           GALLETTA                 PA           90012916858
7B166545A8B163   ANDREW         CROWTHER                 UT           90013125450
7B167373991991   CARLOS         ZALDANA                  NC           90011263739
7B16932765B356   MARISSA        LARCOM                   OR           90010853276
7B16B786493736   ELIJAH         RINEHART                 OH           90005527864
7B17133315B59B   BELKYS         PADRON-MENENDEZ          NM           35017393331
7B171642155966   VERONICA       KATES                    CA           90013126421
7B172AA669153B   JOSUE          ALVAREZ                  TX           90011470066
7B174521381633   TAKESHA        GORDON                   MO           90014535213
7B175964A31432   RUBY           BRADLEY                  MO           90014069640
7B17645377B661   MICHAEL        MADDOX                   GA           90005674537
7B176575A93723   STEVE          ADAMS                    OH           90006815750
7B177599681255   BIG            BOY                      KY           90003345996
7B1778A1A8B142   OMAR           PERALTA                  UT           90001828010
7B178871181633   NIKKIA         NELSON                   MO           29000618711
7B179428572B29   FRANCISCO      TORRES                   CO           90007764285
7B17B29418593B   NANCY L        JUMP                     KY           90011172941
7B18122272B994   STEPHENIE      BACIGALUPI               CA           90012982227
7B1813A6172421   LORETTA        GRIMM                    PA           90014743061
7B181982193739   JOHN           DILLON                   OH           90010919821
7B182213631432   KONTRELL       HARRINGTON               MO           90010102136
7B182744772B32   STEPHEN        HOLMES                   CO           90008657447
7B1837A5431432   ELLSI          SANCHEZ                  MO           90011507054
7B185285657157   KHARA          STRUDER                  VA           90014662856
7B18691A371921   DAWN           WIESNER                  CO           90007799103
7B1877A7733699   BRITTANY       SALINAS                  NC           90005327077
7B189526461935   HALEY          FERGUSON                 CA           90011765264
7B18B847884322   SABRINA        MANOA                    SC           90013618478
7B18BA24972421   DEBBIE         MORGAN                   PA           51052990249
7B191358655966   FAYETH         LIPPS                    CA           48069643586
7B19463338B142   MARVIN         POULSON                  UT           90014156333
7B19485642B994   JONATHON       VALDEZ                   CA           90005768564
7B195425333699   PLEASANT       HUNTER                   NC           90014234253
7B196496781643   CHARLENE       SHARPE                   MO           90000504967
7B196969A4B572   ANTINET        PATTON                   OK           90008599690
7B198993955966   JOSE           OSORIA                   CA           90013009939
7B19BA17842322   SHAWNICE       COLEMAN                  GA           90010610178
7B1B164449154B   OSCAR          SILVA                    TX           90014796444
7B1B2992955966   BARAK          TUGGLE                   CA           90013769929
7B1B3258A57157   KIMBERLY       YERMAK                   VA           90010472580
7B1B4157193739   SCOTT          MANTIA                   OH           90003101571
7B1B9A87333698   ANTHONY        STAMEY                   NC           90014620873
7B1BB845A57556   ISELA          GUZMAN                   NM           90011518450
7B213355441253   SHAYNELL       JACKSON-EDWARDS          PA           90014003554
7B213A19955966   LUIS           PLASENCIA                CA           90013010199
7B2141A6272B29   DARIN          DURWES                   CO           90012521062
7B214474572B32   BRANDI         GALVAN                   CO           33042894745
7B214729655931   DANIEL         GODINEZ                  CA           90013547296
7B215324355966   ERAIN          VARGAS                   CA           90011253243
7B216863257556   CARLA          FARRELL                  NM           90014698632
7B218238293736   TAMMY          VAUGHAN                  OH           90012382382
7B22117AA31432   PAIGE          MUNION                   MO           90004451700
7B221288293736   LAURIE         SHOOK                    OH           90010282882
7B2214A3561935   DUSTIN         IVY                      CA           90004504035
7B222113781643   CLAUDIA        GUERRA                   MO           90006951137
7B22271299154B   ESTHER         ULLOA                    TX           90014797129
7B223778A55931   BRANDON        MCMILLIN                 CA           90013547780
7B22476A231432   KAREN          CUNNINGHAM               MO           90014247602
7B224853131432   KAREN          CUNNINGHAM               MO           90014268531
7B2257A879154B   JOSE M         TERAN                    TX           90014797087
7B225827155947   ANGELO         GONOS                    CA           90012588271
7B227778A55931   BRANDON        MCMILLIN                 CA           90013547780
7B2286A448B157   JAY            BLACK                    UT           90011306044
7B228A1188B163   VANESSA        SERNA                    UT           90011490118
7B229A17384322   CARRIE         LEE                      SC           90010980173
7B22B11932B994   JESECA         GARCIA                   CA           90011221193
7B23318438B157   JAMI           SCHARMAN                 UT           90013881843
7B23371299154B   ESTHER         ULLOA                    TX           90014797129
7B23471299154B   ESTHER         ULLOA                    TX           90014797129
7B23671299154B   ESTHER         ULLOA                    TX           90014797129
7B23837938B157   TIM            ROBINSON                 UT           90009593793
7B23871299154B   ESTHER         ULLOA                    TX           90014797129
7B239218457157   KAREN          O'CONNER                 VA           90010292184
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7B23922812B256   NAKETA         WOODSON                  DC           90001442281
7B239448141237   NICHOLE        ARCHULETA                PA           90015124481
7B241A94355966   TERESITA       RANGEL                   CA           90004300943
7B24234A14B572   MICHAEL        LORING                   OK           90008553401
7B243885584322   HERNANDEZ      MANUEL                   SC           90011188855
7B2443AA78B163   ANTONIA        MARTINEZ                 UT           90013133007
7B247156871921   MINNIE         RIVERA                   CO           90011921568
7B248882455966   ANA            HERNANDEZ                CA           90008558824
7B249519641227   CHRISTINE      PRIL                     PA           90012915196
7B249A58241253   CLARENCE       GLEN SR                  PA           90011890582
7B252338272B32   PETE           MARQUEZ                  CO           90012883382
7B254276257157   MARY           MISKELL                  VA           90012152762
7B254555141227   DENNIS         FATH                     PA           90013825551
7B255799391991   COY            LISK                     NC           90008487993
7B2558A584B572   DONIE          ALCORN                   OK           90014648058
7B257575A77528   LAURA          PEREZ                    NV           90005195750
7B2577A149154B   LETICIA        ENRIQUEZ                 TX           90013097014
7B257A41972441   ADAM           CARTER                   PA           90014630419
7B257A51A84359   VERIETHIA      SIMMONS                  SC           90010250510
7B2582A4993736   JAMES          GILMORE                  OH           90009562049
7B2582A9593739   REGINA         HAWKINS                  OH           90013462095
7B25B59195B356   NOE            GARCIA                   OR           90008795919
7B25B845841237   BENITA         TURNER                   PA           90004768458
7B261A86555966   BRITTANY       GONZALEZ                 CA           90013010865
7B262187233698   JOSE           HERNANDEZ                NC           90013961872
7B264498141253   JANICE         KIDD                     PA           51009044981
7B265336555964   DESIREE        LOYA                     CA           90006713365
7B26557434B572   ANTHONY        ATCHISON                 OK           90010315743
7B2655A712B994   ERNEST         KOTA                     CA           90011515071
7B2671A788B134   SWM            CHALK                    UT           90013921078
7B267AA685B356   ALEXANDRIA     GONZALEZ                 OR           90010270068
7B268683893726   TESSA          MOODY                    OH           64584956838
7B271463333698   KATHERINE      GRIMES                   NC           90011164633
7B271625972B29   ANGELICA       VASQUEZ                  CO           90013576259
7B2733A417B487   TANDRALA       HOOD                     NC           90011033041
7B275838931443   WENDELL        COLE                     MO           90013108389
7B276192572B44   DAVON          HOLMES                   CO           90008711925
7B276A4AA7B461   MICHAEL        GUARINO                  NC           11091590400
7B276A7965B59B   CHIANA         JOHNSON                  NM           90012070796
7B2771A1777524   ANGELA         SCROGGINS                NV           43008571017
7B27791232B994   STERLING       WALLACE                  CA           90011229123
7B2783A749154B   MELISSA        SALAZAR                  TX           90010673074
7B2785A3A55966   JESSICA        CHAVEZ                   CA           90011255030
7B2795A5655966   ISABEL         SANCHES                  CA           90011255056
7B27B74218B163   ROGELIO        SALAZAR                  UT           90012237421
7B282141A51348   STANLEY        HATFIELD                 OH           90014301410
7B28291312B994   ANGELA         TALAMANTEZ               CA           90011229131
7B282998977524   DANIEL         WARD                     NV           90011329989
7B287A41A55947   MELISSA        MARTINEZ                 CA           90013200410
7B288597641227   SUZIE          BROWNLEE                 PA           90011935976
7B28B1A794B572   DERYCK         STIDHAM                  OK           90014311079
7B29162A457556   SYLVIA         RODRIGUEZ                NM           90009716204
7B2919A4727B98   MARLA          BOYD                     KY           90012789047
7B29544238B163   MARIBEL        MEDINA                   UT           90013134423
7B29581695B59B   JOSHUA         GURULE                   NM           90011188169
7B29716778B157   RICHARD        VICARDS                  UT           90009481677
7B29929A78B157   CHRISANDRA     JENSEN                   UT           90014442907
7B299535241237   ELIZABETH      WATSON                   PA           90012555352
7B299539751348   TONI           OTT                      OH           90011135397
7B29B58295B59B   STEPHANI       ANDABLO                  NM           90014715829
7B2B3227841253   DUSTIN         OLIVIER                  PA           90014702278
7B2B3232257531   TIFFANY        VILLAGRAN                NM           90014192322
7B2B345598B157   VERONICA       OBERG                    UT           90012474559
7B2B43A6172421   LORETTA        GRIMM                    PA           90014743061
7B2B581783168B   ROBERT         SUTTON                   KS           90008838178
7B2B85A8857556   BRANDON        HARVEY                   NM           90009495088
7B2B8A18755966   JON            CHURCH                   CA           90013010187
7B2B9222181255   CHRISTINA      PATTERSON                KY           68007652221
7B2B9393241227   DONALD         KING                     PA           90008763932
7B2B93A6136182   RICHARD        ALLEN                    TX           73513163061
7B2B9A19955966   LUIS           PLASENCIA                CA           90013010199
7B2BB82418B168   DUSTY          WILLIAMS                 UT           90014918241
7B312AAA772B44   NICOLE         CORDLE                   CO           90011220007
7B313334855966   LEO            PIKE                     CA           90013023348
7B31573427B477   TAWANA         HOLMES                   NC           90005657342
7B316119541227   CATHERINE      MITCHELL                 PA           51076691195
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7B316373657556   MARIA             FLORES                NM           90012073736
7B316AAA772B44   NICOLE            CORDLE                CO           90011220007
7B319212993739   STEPHAN           HAMMOCK               OH           90013462129
7B319796372421   JAMES             NEWTON                PA           90014887963
7B319A67A4B572   AMANDA            CLAY                  OK           90006700670
7B31B777957556   JESUS             MAJALCA               NM           90009987779
7B31B8A7193726   PRINCE            MONTGOMERY            OH           90001908071
7B321247781643   CATHERINE         AQUINO                MO           90004262477
7B32152AA31443   GARY              MULLIGAN              MO           27582315200
7B321535661935   MOISES            HIDALGO               CA           90011785356
7B321796372421   JAMES             NEWTON                PA           90014887963
7B32191578B157   WOLFRED           KANONGATAA            UT           90014639157
7B321A4292B994   JOSE              VALLES                CA           90013940429
7B32364833168B   IVAN              PENA                  KS           90008996483
7B324865355931   OSWALDO           ZARATE                CA           90011118653
7B3252A462B271   MICHELLE          RILEY                 DC           90013012046
7B325796372421   JAMES             NEWTON                PA           90014887963
7B325844633699   BRUNO             HERNANDEZ             NC           90000148446
7B326291A8B157   SAMANTHA          HOWELL                UT           90013042910
7B326A23972B44   BETH              BRUMER                CO           90000800239
7B32B479393739   JOVON             LOWE                  OH           90013064793
7B331539A72479   ADRIAN            HERNANDEZ             PA           90014745390
7B334358655966   SELINA            VELASCO               CA           90013023586
7B33452825B59B   JESSICA           DURAN                 NM           90013865282
7B3352A7572B29   JASON             LUCERO                CO           90013882075
7B33665392B994   MATHEW            SHIPLEY               CA           90015216539
7B337477493726   LEEVON            LEE                   OH           90013484774
7B33867698B157   LUIS              ESCOBAR               UT           90011986769
7B338869891991   JALIL             NIXON                 NC           90011268698
7B339319891587   LEE               SOLIS                 TX           90000143198
7B33B627993736   BRITTANY          MITCHELL              OH           90014466279
7B33B67A338522   TREVOR            HENDRICKSON           UT           90008126703
7B33B96375B596   BRIAN             MICHAEL               NM           90003289637
7B33BA88541253   DARREN            MOORE                 PA           51014300885
7B34168188593B   JONATHAN          RIGGS                 KY           90014506818
7B341869891991   JALIL             NIXON                 NC           90011268698
7B341A9A181643   NANCY             BROWNLEE              MO           90010410901
7B343684581633   ALISHA            HILL                  MO           90010646845
7B344183157556   RUDY              UZETA                 NM           90011551831
7B34541128B168   JEREMY            CHIDESTER             UT           90011984112
7B345925A57556   ANNETTE           WAINMAN               NM           90012249250
7B34725815B356   LUIS              SANCHEZ               OR           90001202581
7B349A46A5B59B   MARIO             VALENZUELA            NM           90006760460
7B34B448657556   GUSTAVO           VALENZUELA            NM           90010064486
7B351962172B44   JESSICA           MALEKI                CO           90005139621
7B352723857556   JERRY             THOMAS                NM           90010087238
7B35413432B994   EVELIA            MONTERO               CA           90013941343
7B356A27671921   GARLAND           PEARCE                CO           90012940276
7B358956733698   TENAE             LOVE                  NC           90010909567
7B358978291991   JOSE              LOPEZ                 NC           90004389782
7B35988945B356   MARISOL           RIVAS                 OR           90009958894
7B359A86731443   WILLIAM           CLAYTON               MO           90004990867
7B361383572441   JAMIE             BERKOVIC              PA           90000333835
7B36148582B249   DAVID             MORENO                DC           81048944858
7B36252A461935   RENE              NGIYULU               CA           90011795204
7B362548655966   GUSTAVO           QUEZADA               CA           48073945486
7B362A81255966   KEVIN             DAVILA                CA           90014160812
7B36577218562B   MELISSA           ALVARVDO              NJ           90011327721
7B36655815B384   SILVIA            RAMIREZ               OR           44512325581
7B3686A2541253   ANGEL             CASTAPHENY            PA           51036556025
7B3692A275B59B   PABLO             MURILLO               NM           35028862027
7B369595A33698   AUNDREA RAYMOND   NEWKIRK               NC           90012085950
7B36B235281633   JAMES             BUSH                  MO           90014872352
7B372786881633   STEPHEN           WATTS                 MO           90013627868
7B37329753B388   BYRON             MURPHY                CO           90012062975
7B375118881633   TRACY             GRAVES                MO           90012461188
7B37839417B398   JESSICA           BARNETT               VA           81015393941
7B37861672B994   CHARLES           IGOU                  CA           90013206167
7B379A21272B32   STEVE             VANDERBURGH           CO           90013820212
7B38288188B134   LOSANA            KAUFUSI               UT           90010608818
7B383632A55931   PRINESS           JACOB                 CA           90013556320
7B385112972B32   SOUTHWEST         STONE                 CO           90014751129
7B38589372B271   MARCIA            BROWN                 DC           90010688937
7B387349977524   JESSE             GARCIA                NV           90011623499
7B38B84138B168   TESLA             HERNANDEZ             UT           90009198413
7B391259172B29   BRUCE             ILLER                 CO           90013922591
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7B393232A4B572   SANDY          CARPENTER                OK           90014322320
7B393A42681633   ARTASHA        LOONEY                   MO           90014880426
7B39637145B59B   ERNESTO        MEDINA                   NM           90010713714
7B39781535B245   KATHRYN        CAMERON                  KY           90011308153
7B398164557157   CAROLINE       MCDOWELL                 VA           90003411645
7B39B395A4B522   ASIANNA        FRANKLIN                 OK           90011463950
7B39B4A6455966   ANTHONY        POGGIONE                 CA           90013024064
7B3B2953772441   STEVE          RIEGLE                   PA           90009089537
7B3B337263168B   ALLAN          MURDOCK                  KS           90013683726
7B3B3534391252   ARTHUR         CUYLER                   SC           90006945343
7B3B4282541253   NYESHA         NEAL                     PA           90011082825
7B3B622957B477   RICHARD        MC CALL                  NC           90009492295
7B3B6626633698   KENDRA         DOWDELL                  NC           90008776266
7B3B685815B356   AMBER          BRYAN                    OR           90003868581
7B3B6A8848B168   BOWDY          CLYDE                    UT           90014150884
7B3B824112B994   CELESTE        VEGA                     CA           90013062411
7B3B912748B168   RACHELL        PICKERELL                UT           90013651274
7B41189434B572   ROSA           HERNANDEZ                OK           90015168943
7B412318733698   SHIRLEY        SADLER                   NC           90012843187
7B413346993736   KATRINA        MILLINER                 OH           90011393469
7B41412112B84B   JON            CHRISTENSEN              ID           42004781211
7B417112631432   BECKY          BUTLER                   MO           90011311126
7B417627531443   DUSTIN         BRABEC                   MO           27508356275
7B421234251348   CHRISTEL       LACINAK                  OH           90008722342
7B42152A461935   CHRISTEL       PATTERSON                CA           90004575204
7B421789931432   ROLAND         DAVIS                    MO           90015107899
7B422156372B29   LACIE          ALSTROM                  CO           90012111563
7B42243427B477   ROBIN          MORGAN                   NC           90007184342
7B422A1A927B98   REGINA         EDWARDS                  KY           90014180109
7B423AA318593B   DANIEL         OHLHART                  KY           90011200031
7B42498982B994   JOSEPH         MICHAEL                  CA           90013969898
7B425542355947   VANESSA        AUDELO                   CA           90014205423
7B427146491252   ASHLEY         ROSS                     GA           90011231464
7B4275A4691252   ASHLEY         ROSS                     GA           90010415046
7B42861672B994   CHARLES        IGOU                     CA           90013206167
7B428795672441   CINDY          BOBROWSKI                PA           90014177956
7B42971964B572   REJEANA        EAVES                    OK           90014367196
7B4297A5293736   ADAM           MADISON                  OH           90009577052
7B4297A7761935   RAEMN          ATEESHA                  CA           90011807077
7B42B396357556   VICTOR         RAMIREZ                  NM           90011983963
7B431326A57556   CRISTY         VASQUEZ                  NM           90010903260
7B431916972441   JOHN           GASKINS                  PA           90014179169
7B433952472441   JOSEPH         GASKINS                  PA           90014179524
7B434934877524   ELVIRA         SILVA                    NV           90012509348
7B435535455947   MARIA          VETANCOURT               CA           90014205354
7B4384A6393736   NAKESHA        GAINEY                   OH           90011214063
7B438543755947   JOHN           CROWN                    CA           90014205437
7B439253172B32   KELLI          MORRISSEY                CO           90009612531
7B4393A6657157   RUTH           SIMS                     VA           90013323066
7B4399A4655966   RICHARD        MACIAS                   CA           90011259046
7B43B41128B142   JEREMY         CHIDESTER                UT           90011984112
7B43B58A372441   MARISSA        HUNT                     PA           90009215803
7B441883381643   CAROL          HICKS                    KS           29035458833
7B444255A8B168   KEN            BEATTY                   UT           90014012550
7B44428828593B   ROBERT         ADAMS                    KY           90012932882
7B445187572479   EVAN           HENRY                    PA           90013001875
7B445913941265   MARY           WOOLARD                  PA           90010019139
7B446838657157   MELVIN         TEMAJ                    VA           90014738386
7B447667551348   LISA           WRIGHT                   OH           90011136675
7B44833AA7B487   JAMES          SPEED                    NC           90004573300
7B448739557157   LUIS ALONSO    AMAYA AYALA              VA           90011987395
7B448843255931   MELECIO        PINEDA                   CA           90013558432
7B448A59531432   JOHN           COLOMBO                  MO           90010290595
7B449147A31432   ANGEL          HOLMES                   MO           90014911470
7B449748133624   BRITNEY        MCNEAIR                  NC           90012367481
7B44B61452B994   EMERY          HORTON                   CA           90013946145
7B44B6A988B134   NICHOLAS       TRAHAN                   UT           90013936098
7B451267541237   NICHOLE        REID                     PA           90009642675
7B451A37441237   NICHOLE        REID                     PA           90013140374
7B451A57481633   SHAKETHIA      PATTERSON                MO           90004100574
7B452562455947   VICTOR         SALINAS                  CA           90014205624
7B452958855931   ANTHONY        FRISBYKILLBREW           CA           90010679588
7B45388A441227   SAM            TIERNO                   PA           90011178804
7B45449314B553   CARA           LEVARIO                  OK           90015174931
7B455113627B98   KORTENY        MOSLEY                   KY           90013281136
7B457546A57556   CORINA         MARTINEZ                 NM           90011245460
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7B459673441253   ROLONDA        OAKES                    PA           90010646734
7B45B17388B142   DEBORAH        JENKINS                  UT           31017711738
7B45B249172B29   EDGAR          RODRIGUEZ                CO           90014832491
7B461445A5B59B   SCOTT          HERALD                   NM           35005594450
7B4647AA38B168   MARYOURY       VALENZUELA               UT           31052607003
7B466623351348   DANIELLE       GEORGE                   OH           90008996233
7B46678A355966   GABRIELLE      CASTRO                   CA           90015097803
7B46717939154B   ANTHONY        GALLEGOS                 TX           90014781793
7B46779662B994   ELVIERA        LOPEZ                    CA           90011247966
7B469958241253   FAYE           ROSS                     PA           90011339582
7B46B463191991   RONAL          ACOSTA RODRIGUEZ         NC           90006494631
7B46B598A57157   HELMUTH        CALDERON ANTEZANA        VA           90012915980
7B46B5A4381633   SUSAN          SCHINER                  MO           90010275043
7B46BA6AA8B163   LATISHA        MONTOYA                  UT           90008090600
7B473929355966   MORIAH         THOMPSON                 CA           90013049293
7B478355861935   ROSSYFER       CARMONA                  CA           90011813558
7B478A9838B163   JONATHON       HERNANDEZ                UT           90013690983
7B47BA21272B32   STEVE          VANDERBURGH              CO           90013820212
7B485219471921   ERIK           HERTOG                   CO           90001212194
7B48678637B477   BRITTNEY       SIMMONS                  NC           90012897863
7B486877427B98   JAYLA          HILL                     KY           90010688774
7B48691147B661   TASHA          CLEMONS                  GA           90005849114
7B49127A172B44   ALICIA         ESPINO                   CO           90005452701
7B491A6322B941   TIFFANY        MUNIZ                    CA           90010520632
7B492341551348   ASIA           HARKNESS                 OH           90013033415
7B492A33957556   TONI           SAIZ                     NM           90011660339
7B493541857157   ELIZABETH      RIOS                     VA           90013985418
7B493733751348   NICHOLS        ALLEN                    OH           90011807337
7B49395162B857   TOMMY          HOWARD                   ID           90004699516
7B494413572441   KAREN          OWENS                    PA           90014664135
7B4983A548B168   KARLA          MAHANGA                  UT           90012863054
7B498A1313168B   PAMELA         HARMON                   KS           90005690131
7B498A45672441   JESSICA        YOUNG                    PA           51093660456
7B499A99541253   CHARLES        ZOWACKI                  PA           90013300995
7B49B341551348   ASIA           HARKNESS                 OH           90013033415
7B49B46339152B   ALEX           ORTIZ                    TX           90010724633
7B49B919184322   MARIBEL        SANTANA                  SC           90011929191
7B4B2354371921   JOESPH         MARICHAL                 CO           90014053543
7B4B48A2672B44   SOLEY          MARTINEZ                 CO           90009488026
7B4B6665631432   AARON          VAN                      MO           90015166656
7B4B7276351348   RAYMOND        THOMPSON                 OH           90013032763
7B51122578B163   GERARDO        GARCIA                   UT           90004452257
7B512181A7B477   STEVEN         HEARNE                   NC           90014151810
7B513783193759   BRIAN          ESCH                     OH           90010707831
7B515464A51348   WILLIAM        MIMES                    OH           90014434640
7B515824755947   TOMMY          WORKS                    CA           90013368247
7B515899A84322   CRYSTAL        SHIANSKY                 SC           90012608990
7B517211472B32   SANDRA         FRANCO                   CO           33000082114
7B518887455947   MAI            THOR                     CA           90008358874
7B51B116672B29   JEFFREY        CHAMBERLIN               CO           33095181166
7B522AA295B59B   BRIAN          GUTIERREZ                NM           90011550029
7B52613154B572   CHELSEA        APPLETON                 OK           90011131315
7B526451955966   JAQUELINE      GUTIERREZ                CA           90013034519
7B52B367657556   FERNANDO       ORTIZ                    NM           90011793676
7B52B58A391252   MURRAY         TROUP                    GA           90010485803
7B52BAA7A57157   ARTURO         VITELA                   VA           81095750070
7B531884541253   KAYLA          WITAS                    PA           90012238845
7B531933A55947   RICHARD        WEY                      CA           90010269330
7B532A36961935   MOISES         MALDONADO                CA           90010920369
7B533A2168B134   JAYDEN         GREEN                    UT           90010520216
7B536366772441   CHRISTEN       WAUGAMAN                 PA           90014743667
7B539448491549   CRYSTAL        SPRUCE                   TX           90012584484
7B5397A1461935   MARRY          TCHOP                    CA           90004617014
7B54139688B134   BARRY          BRIGHAM                  UT           90012473968
7B541863657157   JOHNNY         PISFIL                   VA           81059668636
7B542128772B44   DAWN           KENNEDY                  CO           90009861287
7B542744372B44   JUAN           CASTILLO                 CO           90014217443
7B545541181643   FAIWAL         HOFF                     MO           90006315411
7B54689A772B44   AIMEE          TORRES                   CO           90003258907
7B546A48272B29   DANIELLE       SKILES                   CO           33090460482
7B546A5918B134   TAMICE         ALVARADO                 UT           90011190591
7B547833641237   KIMIAO         SAKAI                    PA           90010848336
7B54817A972421   AMANDA         NEWILL                   PA           90007991709
7B54873215B384   FILBERTO       ALVARADO                 OR           44575647321
7B549288A51348   TONYA          MOORE                    OH           90013292880
7B54B5A1A55982   MANUEL         GARZA                    CA           90001735010
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7B54B731A9154B   CLAUDIA        MERCADO                  TX           90014807310
7B54BA79291224   DOMINIQUE      HUGHES                   GA           90006060792
7B5539A1633698   SELENA         JESSIE                   NC           12061979016
7B5551A838B168   FRANCISCO      LANDEROS                 UT           90014981083
7B556126A4B572   LEOTIS         RICHEY                   OK           90014901260
7B556A42955947   TANIA          PEREZ                    CA           90010030429
7B55849375B596   JESSE          DELGADO                  NM           35056924937
7B558A35955931   LISSETH        AVENA                    CA           90014820359
7B55998A572B29   JIMMY          DAVIS                    CO           90008579805
7B559A36655931   JUAN           GONZALEZ RICO            CA           90014820366
7B559A72172B32   AMY            COX                      CO           90014330721
7B55B63775B59B   JUAN           OROZCO                   NM           35095506377
7B55B852372B29   VERNA          VICKS                    CO           33050528523
7B562247971921   JON            MIANK                    CO           90011862479
7B562981272421   KATHLEEN       MAHANEY                  PA           51036849812
7B56442849154B   EDUARDO        ORNELAS                  TX           75094564284
7B566635251348   SYRETHA        BROWN                    OH           66073806352
7B56678889154B   CESAR          GONZALEZ                 TX           90014807888
7B56893A18B157   JORDAN         VIGIL                    UT           90013349301
7B56B4A145B356   HECTOR         RIOS                     OR           90006514014
7B571559741237   JACOB          JOHNSON                  PA           90013455597
7B571A1719154B   MIGUEL         DEL PINO                 TX           75039680171
7B57436458B163   CHARITY        BLOCK                    UT           90013173645
7B57534729154B   ANGEL          PIZARRO                  TX           90011183472
7B57554498B163   BRIANA         MARTINEZ                 UT           90013275449
7B577569A91991   LATOYA         MOORE                    NC           90011565690
7B578A33A5B596   ANDRIA         RODRIGUEZ                NM           35030570330
7B579653A72B32   DAVID          GILLESPIE                CO           90015206530
7B581199141237   NICOLE         MARNICH                  PA           90005951991
7B583562884322   THAMASINA      GREEN                    SC           90007335628
7B585811272479   STACIE         BALF                     PA           90010478112
7B58884349154B   BREANA         SMITH                    TX           90000498434
7B58B145271921   MICHAEL        CARR                     CO           90014061452
7B58B435355947   ILIANA         MIRANDA                  CA           49015364353
7B59129798B142   TAMARA         MORRISON                 UT           90014712979
7B59133328B142   TERESA         MCCALLISTER              UT           90007563332
7B592395A5B59B   MICHELLE       DUNAJA                   NM           90014333950
7B593365551348   MARY           MCKEE                    OH           90013073655
7B593389661935   DAVID          MARCELENO                CA           90011833896
7B593A6A15B59B   LYNN           DIMAS                    NM           90012310601
7B593A76336182   JACLYNN        CASTILLO                 TX           90010290763
7B593A79533699   MATTHEW        ACHNATE                  NC           12082770795
7B593A97281633   LEVERNARE      THOMAS                   MO           29019250972
7B594952527B98   CARLOS         HOPPER                   KY           90011209525
7B5953A4257157   ELVA           ALFARO                   VA           81045683042
7B596347A8B168   TYLER          ROWLEY                   UT           90012263470
7B596964941227   JEREMY         KIM                      PA           90013959649
7B596974993767   SAKINAH        ALI                      OH           90012469749
7B597456793736   OROZCO         ALEJANDRA                OH           90011354567
7B59766884B572   ANTHONEY       LOZANO                   OK           90014426688
7B59812299154B   DAYNA          MACIAS                   TX           90011161229
7B598A28971921   DENISE         MARTINEZ                 CO           90014770289
7B599312541253   JESSICA        RITCHIE                  PA           90012093125
7B59B1A2491991   NABRICA        REAVES                   NC           90009281024
7B59B362151348   ANGELA         LAY                      OH           90013073621
7B59B68558B134   JORDAN         JONES                    UT           90013936855
7B5B1176872B32   CESAR          GONZALEZ                 CO           90014481768
7B5B2334357157   JAMIE          AGUILAR                  VA           90014713343
7B5B557A333699   MIKE           HANNAH                   NC           90010735703
7B5B6A22A57157   DOMO           WALKER                   VA           90013290220
7B5B74A248B134   JUSTIN         MCOMIE                   UT           90013054024
7B5B788298B157   JORGE          PADILLA                  UT           90009018829
7B5BB199627B98   ASHLEY         BABB                     KY           90011131996
7B5BB38A75B356   RAY            JACKSON                  OR           90008813807
7B5BB629155964   FERANCISCO     CAMACHO                  CA           90003366291
7B614662777524   MARGARITA      RIVERA-LOPEZ             NV           90010036627
7B615181933699   ARTANZIA       THOMPSON                 NC           90009991819
7B618248484322   WILLIE         STANFIELD                SC           14553442484
7B61932922B271   CHIOMA         NWADIGO                  DC           90013253292
7B619484133684   DAMIAN         DEASE                    NC           90007784841
7B61B81835B59B   ASHLEY         CATES                    NM           35091498183
7B62358719154B   GABRIEL        SAENZ                    TX           90014815871
7B624529551348   CHRISTINA      BOULDIN                  OH           90014855295
7B624A51555931   LONG JOHN      COCK                     CA           90014820515
7B625447955966   FRANCISCO      BALTAZAR                 CA           90014904479
7B625925557157   JOSE           CASTRO                   VA           90012279255
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7B626993A93736   MARIANNE         EDWARDS                OH           90005079930
7B627181A7B477   STEVEN           HEARNE                 NC           90014151810
7B627446851348   ANTWON           LATTIMORE              OH           90014874468
7B628AA738B163   JOSELINE         RAMIREZ                UT           90013260073
7B63172138B134   AMEE             PREECE                 UT           90013937213
7B631A37584322   DONTAY           GILLYARD               SC           90010980375
7B632822455931   SARAH            TRAVIS                 CA           90013568224
7B632896A5B596   ZACH             MONTOYA                NM           90004938960
7B6357A294B572   JANIS            LONEMAN                OK           90013017029
7B63B638361935   YOLANDA          MALDONADO              CA           90005196383
7B641167972B29   MARIA            SALAS                  CO           90014171679
7B642138755947   EPIFANIA         LOPEZ GRACIDA          CA           90012171387
7B64221645B59B   JANET            KRAMER                 NM           90010862164
7B643621991991   JAMES            BAILEY                 NC           90011276219
7B644598971921   JOSHUA           BRADLY                 NC           90001195989
7B64536398B157   JENNIFER         BLATNICK               UT           31050823639
7B645383355966   MICHELLE         HUNTER                 CA           90012903833
7B64553768B163   THOMAS           OLSEN                  UT           31006175376
7B646316427B98   SANDRA           ESCOBAR MENDEZ         KY           90014373164
7B64677442B994   HOLLY            REYNOLDS               CA           45038327744
7B6467A6181633   BENIGNA          SERRANO                MO           90000877061
7B64885815B356   AMBER            BRYAN                  OR           90003868581
7B652996331661   ASHLEY           COUNTRYMAN             KS           90008809963
7B653943755931   KARINA           CISNEROS               CA           90013569437
7B65655A88B163   COREY            CHIDO                  UT           90013245508
7B657384272479   TERANCE          ARMSTRONG              PA           90001843842
7B65841299154B   MARIA            SANCHEZ                TX           75075514129
7B658751A57157   IRVIN            RONGKILLO              VA           90011387510
7B65989264B541   DANIEL           PENA                   OK           90004528926
7B65B298761935   SOONALOTE        BOLEY                  CA           90011842987
7B65B397793726   JOSEPH           CONNER                 OH           90011793977
7B662918272B29   RAYNELLE         PISANO                 CO           90009069182
7B6629A6627B98   JOE              SCHMITT                KY           90012399066
7B663282527B98   TAJA             BUTLER                 KY           90011172825
7B666666A55966   CINDY            MARTINEZ               CA           90012496660
7B66686418B168   MATTHEW          SALIBY                 UT           90013268641
7B667293572B32   BOBBY            LIPPER                 CO           90002712935
7B66815412B271   PHILLIP          JOHN                   DC           90008301541
7B66914A18B142   LINDA            POWELL                 UT           31002841401
7B671169241237   ROBIN            PHILLIPS               PA           51037981692
7B672768872479   CLAUDIA          LAUFFER                PA           51082107688
7B67335664B572   DEE ANN          NANCE                  OK           90008633566
7B67343119154B   MARICELA         MARTINEZ               TX           75093804311
7B6767A4333698   RUBEN            CABRERA                NC           90010747043
7B676AA5255947   ARMONDO          LOPEZ                  CA           90012300052
7B67828568B157   ALFRED           KAHN                   UT           90012862856
7B679547651348   NAKYA            CURY                   OH           90005185476
7B67B21A52B994   NANCY            VANG                   CA           90013242105
7B67B628772441   JUSTIN           DONNELY                PA           90011206287
7B67B814A9154B   CHARISSE         HOLLIS                 TX           75046378140
7B67B8A2384322   FRANCISCO        VEREMUNDO              SC           90014728023
7B681927981643   GLORIA           MCCARTHY               MO           90008709279
7B68261675B384   PATRICK          GIBBS                  OR           44526616167
7B682843755947   AUBREY           MCFALL                 CA           90012448437
7B68813359154B   SERGIO           MARTINEZ               TX           90010001335
7B68931565B392   LINDSAY          HENDRICKSON            OR           90011293156
7B68962318B163   JESUS            PANIAWUA               UT           90013246231
7B68B734491991   LATRICE          LYONS                  NC           90011277344
7B68B979755947   KHIN             LOUNG                  CA           90012889797
7B691796533699   CHRISTELL        AGAMA                  NC           90008537965
7B69243A272441   BETTY            GOTELL                 PA           90004564302
7B692A1278B134   ROBERT           WILSON                 UT           90014600127
7B693834A71921   ALEXIS           SANTIAGO               CO           90008808340
7B69393488B163   ZACHERY          TOLMAN                 UT           90013479348
7B696215455947   JACQUE           MAGANA                 CA           49068222154
7B6967A7971921   DESHAUNA         DRUMMOND               CO           90013097079
7B6972A5457157   TEKLU            DADI                   VA           90014922054
7B6975A7773233   FRANSICA         HERRERA                NJ           90013975077
7B6B1634993728   CRYSTAL          LAUGHMAN               OH           64514476349
7B6B2A43A55931   JOE              SALANANCA              CA           90014820430
7B6B3539572B44   RANAE            COLERICK-NOLAN         CO           33016245395
7B6B367268B168   KENDRICK         HOLMAN                 UT           31051176726
7B6BB595233699   CURTISHA MCCOY   YOUNG                  NC           90014445952
7B711483984322   MARIA            RAUDA                  SC           90015284839
7B71196855B59B   ALBERTO          CRUZ                   NM           90014899685
7B713A66355931   RAYLA            WILLIAMS               CA           90014820663
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7B716241A8593B   MARTHA         BREWER                   KY           90011122410
7B716684433698   YALONDA        BETHEA                   NC           90011066844
7B7194A952B994   OCTAVIO        VALENCIA                 CA           90008994095
7B71B493851348   BING           SPARKS                   KY           90013074938
7B72426677B477   ANGELA         JORDAN                   NC           90009212667
7B725587A8B157   ROBYN          HANCEY                   UT           90010655870
7B726992472B29   LISA           TRUJILLO                 CO           90005579924
7B7282A1993736   BRENDA         CATON                    OH           90012982019
7B72878277B477   ALEXIS         JACKSON                  NC           90012847827
7B72B921593726   LATOYA         CANTRELL                 OH           90010219215
7B733439933699   SHANTARA       TERRY                    NC           90012774399
7B736899193739   RUEDA          SALOMON                  OH           90012118991
7B737364555931   MARIBEL        GONZALEZ                 CA           90010283645
7B738123336182   ANA            RANKIN                   TX           73565591233
7B739623472B32   LACEDRIC       STEPHENSON               CO           90011106234
7B739878357157   RENE           GRANDE                   VA           90010788783
7B743871391991   MICHAEL        SMITH                    NC           90011278713
7B747332991252   LISA           BIERLE                   GA           90011753329
7B74821492B994   RON            CROCKETT                 CA           90013222149
7B751A51371921   JOHANNA        PEARSON                  CO           32021950513
7B752587241253   JAMES          ALBANESE                 PA           90012945872
7B753732955931   DANIEL         MARTINEZ                 CA           90014827329
7B754127727B98   MICHAEL        FIGUEIREDO               KY           90014781277
7B75454522B994   JOU            YANG                     CA           90013295452
7B755815155966   SONIA          HERNANDEZ                CA           90013078151
7B756172755947   RAUL           COVARRUBIA               CA           90002891727
7B75641195599B   ASHLEY         DELGADO                  CA           90008284119
7B757812872B29   CHARLOTTE      DAIBO                    CO           33017508128
7B76254522B994   JOU            YANG                     CA           90013295452
7B76347482B994   THONGDENG      DOUANGBOUPHA             CA           90012994748
7B7646A552B271   MARCUS         JACKSON                  DC           90011396055
7B76497962B994   TERRIE         BILLY                    CA           90013039796
7B769242781633   RHONDA         ADAMS                    KS           29015552427
7B769347191939   MALISSA        VANDERVEER               NC           90006913471
7B7698A1355966   JORGE          RUIZ                     CA           90011268013
7B77129A98B142   KEVIN          KEMPLE                   UT           90010172909
7B772737293739   BANZ-AH-MAKE   HUR-DANCE                OH           90010047372
7B773A8562B994   FERMIN         MUNOZ VALDEZ             CA           90013090856
7B77475219154B   ALEXANDER      MARTINEZ                 TX           90014817521
7B77476162B994   BRIONA         HODGE                    CA           90013227616
7B779238457157   MICHAEL        RAMIREZ                  VA           90014552384
7B779467172B32   GENESTA        HUMPHREY                 CO           90012624671
7B77B986A72479   LAVONNE        POPE                     PA           51068209860
7B782177972B32   JUAN           CASTANEDA                CO           90012031779
7B783148372B44   RENEE          GRIFFIN                  CO           90000241483
7B7835A738B134   JONATHON       MADRIGAL                 UT           90014885073
7B78375919154B   CHRIS          MEADE                    TX           90014817591
7B784388151348   JASON          SUTTLES                  OH           90010293881
7B784684527B98   TIFFANI        GREENE                   KY           90013306845
7B786827933699   SHANE          COLON                    NC           90012308279
7B788655972441   KAILYN         BORING                   PA           90011426559
7B78B5A223168B   HAMAL          JACKSON                  KS           90007685022
7B792975541237   TONYA          PRATER                   PA           90012959755
7B793324A7B367   EDISON         ABRIL                    VA           90005743240
7B793537291586   STACI          PRADO                    TX           90012875372
7B79388A957157   VERONIA        PRUITT                   VA           90010998809
7B794A34872479   ANDREW         CAMPBELL                 PA           90011470348
7B795933831432   ERIC           WALKER                   MO           90014819338
7B79733514B572   ESTEBAN        CABELLO                  OK           90011533351
7B79762928B134   WENDY          MASSEY                   UT           31048896292
7B79771935B357   DAVID          ANDERSON                 OR           90002177193
7B79829798B168   TAMARA         MORRISON                 UT           90014712979
7B79928918B157   JUANA          REYNA                    UT           90009472891
7B7B17A284B572   NYTINA         HAGGINS                  OK           90012487028
7B7B2265455931   JEREMY         GARZA                    CA           90013572654
7B7B2431381643   NICOLE         STALLER                  MO           90004754313
7B7B374A593726   DOUGLAS        JUSTICE                  OH           90005537405
7B7B743128B163   MICHAEL        SADLER                   UT           90012534312
7B7B7576A55947   EDWIN          ESCALANTE                CA           90014785760
7B7BB83A281621   SAMANTHA       SCHANUTH                 MO           90010958302
7B81148352B271   TENIKA         BARNETT                  DC           90011494835
7B81189822B994   SANDRA         COCHRANE                 CA           90008898982
7B81281717B477   RASHONDA       WILLIAMS                 NC           90011308171
7B81361438B163   CHER           KEMP                     UT           90013276143
7B814912A57157   KELWYN         KAKKAR                   VA           90008019120
7B81539617B477   SHATINA        HOUSTON                  NC           90010063961
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7B815A19693736   JENNIFER        LYKINS                   OH           90014760196
7B816563451368   CHEIKH          CHERIF                   KY           66004655634
7B81711A58B168   AMY             TOPHAM                   UT           31088441105
7B81769258B168   AMY             TOPHAM                   UT           90014036925
7B81836644B572   CINDY           CHAVEZ                   OK           90012003664
7B81911A39154B   CYNTHIA         MONTOYA                  TX           75096311103
7B81B59262B994   ERIC            COVARRUBIAS              CA           90013585926
7B81B945A57157   GONZALO         MENDOZA                  VA           81087879450
7B81BA72241253   ALICHIA         JOHNSON                  PA           90007620722
7B822821355931   JEAN-CLAUDE     SAMONTE                  CA           90013578213
7B82311232B994   GLORIA          VILLEGAS                 CA           90003621123
7B823133293739   CLEMENT         NDUWAYO                  OH           64574411332
7B82369A681643   KISHA           CURTIS                   MO           29001136906
7B825417227B98   SCOTT           STEWARD                  KY           90013014172
7B825565751348   JUDY            GILLIG                   OH           90013075657
7B826124655996   JOSEPH          KNOY                     CA           90011331246
7B826381393736   KATHRYN         FINLEY                   OH           90013643813
7B82715257B477   STEPHEN         GALLOWAY                 NC           90014621525
7B82752438B157   JESSI           CHRISTENSEN              UT           90007775243
7B827999A93739   DAWN            JONES                    OH           90014609990
7B828168377565   KARLA           ESCOBAR                  NV           90011391683
7B8282A5227B98   MARGO           BELLARD                  KY           90013032052
7B829584A51348   YOLANDA         FERRIS                   OH           90013075840
7B829791741237   WINTER          SNOW                     PA           90012647917
7B829A97227B98   LILIA           TAYLOR                   KY           90014570972
7B82B48A231443   MARIKA          JONES                    MO           90011074802
7B82B49678B157   STARSHEMIA      BROWN                    UT           90012164967
7B82B991255966   BRENDA          PANUCO                   CA           90008429912
7B83266A89154B   ANA             DEBORA                   TX           90007956608
7B832929A4B572   TOM             LABRY                    OK           90014479290
7B836276855931   GUILLERMO       LEON                     CA           90014352768
7B83679A12B994   WES             GUYETTE                  CA           90013057901
7B83B22312B271   TYWAUNE         HARRIS                   VA           90011082231
7B841717255966   PATRICIA        SALAZAR                  CA           90008287172
7B84291358593B   CHARLES         PETERSON                 KY           66089809135
7B844128355966   MATTHEW         TILLERY                  CA           90013361283
7B84443257B477   ROBIN           COOPER                   NC           90011144325
7B84563788B134   ROBERT          HOLT                     UT           31035196378
7B84632A827B98   JYALN           BANKS                    KY           90014573208
7B848158333699   IRVIN           MIRANDA                  NC           90009571583
7B849983493736   DARNITA         HARVEY                   OH           64547569834
7B851326857157   PHILIPS         WOLO                     VA           90014373268
7B852467584322   EVANGELINA      OCOA                     SC           90012014675
7B852646593736   EARL            FRAZIER                  OH           90012526465
7B852A17891991   JIEZELLE        WINSTEAD                 NC           90011280178
7B853957393739   ROBERT          KENNETH                  OH           90011899573
7B854365855947   KASSANDRA       HARMAN                   CA           90011183658
7B85513613168B   KARIRE          ZANINKA                  KS           90013841361
7B857521993736   DANIEL          ROSS                     OH           90012955219
7B858938593736   CHELSEA         WRIGHT                   OH           90008389385
7B85981279154B   ANAYELI         QUINONEZ                 TX           90014038127
7B85B273584322   JOSE            CALDERON                 SC           90009302735
7B864575931432   MARY            BACA                     MO           90013985759
7B86865A98593B   JOSE            RAMONDO                  KY           90012496509
7B86924825B59B   SHERRY          NELSON                   NM           90007752482
7B86973877B477   DAVID           HIX                      NC           90010457387
7B869742993739   KYLE            COOPER                   OH           90012167429
7B86B19874B572   RIDA            FORD                     OK           90008881987
7B872153372B44   BELLANILI       ESCOBAR                  CO           90005391533
7B87415A491991   FELIX           DE LA CRUZ               NC           17014511504
7B87442859154B   JESSICA         WENDORFF                 TX           90004214285
7B8753A3733699   CLAY            BRYAN                    NC           90014883037
7B8774A6141237   PHARAOH         GONDER                   PA           90012834061
7B877631771921   DORA            KING                     CO           90011936317
7B87884395B125   MARSHA          MCKINLEY                 AR           90009798439
7B878878772B29   JOHN            CURRY                    CO           33051228787
7B878A83641253   BARBARA         ASKERNEESE               PA           90001230836
7B87B938593736   CHELSEA         WRIGHT                   OH           90008389385
7B8821A623168B   YESENIA         ARELLANO                 KS           90011951062
7B882AA4657157   HAIDER          AL SHUJGIRI              VA           90012080046
7B8842A792B994   ELYSE           GITTENS                  CA           90013972079
7B884581233699   CHRISTIN        EVANS                    NC           90013685812
7B885498A71921   JOSEPH          EYGABROAD                CO           90010154980
7B88789A22B271   MATTHEW         MACK                     DC           90011508902
7B888157472B44   BRENDA          GONSALEZ                 CO           90011221574
7B88888448B157   THOMAS          MODERNO                  UT           31041718844
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7B88B96885B384   SAUL            CHAIREZ                 OR           90003929688
7B89241659154B   CARLOS          VARGAS                  TX           90011184165
7B8926A4693726   CARONICA        LOYD                    OH           90011806046
7B8932A6481633   SHEILA          CROWELL                 MO           90001882064
7B89364362B994   SOTERO          GONZALEZ                CA           90010336436
7B89476648B134   ANA             SOTO                    UT           90002527664
7B89497A541253   THEODORE        BROADUS                 PA           90005149705
7B895211291993   KYM             MOSLEY                  NC           90011082112
7B8957A6355931   FABIOLA         MOZQUEDA                CA           90014967063
7B89653882B29B   REYELLE         TOLSON                  DC           90008335388
7B89677579154B   JOE             VALLES                  TX           90014627757
7B898744231432   IESHA           BARNETT                 MO           90010907442
7B899134333698   ARMANDO         AVERY                   NC           90013721343
7B89915934B572   FAWN            BAINTER                 OK           90008651593
7B899337A81633   ERICA           SIGALA                  KS           90013273370
7B899995231432   BEAUTY          TINYAN                  MO           90013769952
7B89B61A68B168   MARTIN          TINOCO                  UT           90013826106
7B89B95579154B   MESTA           PATTY                   TX           90011549557
7B8B118648B142   ANA             REYES                   UT           90011901864
7B8B399529153B   EMILY           OLIVAS                  TX           90008359952
7B8B5672472479   RASHEEM         BLAKEY                  PA           90012626724
7B8B614398B163   ASHLEY          MCVAY                   UT           90013931439
7B8B6214A55947   YANETH          RAMIREZ                 CA           90012772140
7B8B8238457157   MICHAEL         RAMIREZ                 VA           90014552384
7B8B85A6327B98   DONNA           DANIEL                  KY           90011715063
7B8B876578B134   ROBERT          PUIG                    UT           90013937657
7B8B9273372B44   JENNY           CORRAL LOYAL            CO           90006992733
7B8B987A42B271   BINTA           DIENE                   DC           90008338704
7B8BB647991993   NATELL          GREEN                   NC           17060816479
7B8BB85652B994   BERTHA MACIEL   TORRES                  CA           90013008565
7B91599382B271   MYNOR           VASQUES                 VA           90011039938
7B916726A55966   BEATRIZ         OLGUIN                  CA           90013097260
7B91718AA5B59B   RAFAEL          BUSTILLOS               NM           90010821800
7B917825A8B134   CHRIS           ONEAL                   UT           90013938250
7B921113227B98   SEAN            JONES                   KY           90013231132
7B92125414B572   LUCAS           ODOM                    OK           90008652541
7B922218972B44   JESUS           GARCIA                  CO           33053692189
7B922A29641253   LAURYN          MOCKRIDGE               PA           90012760296
7B92415199154B   STEPHANIE       CORTAZAR                TX           90008721519
7B9241A623168B   YESENIA         ARELLANO                KS           90011951062
7B92456417B477   KEVIN           SAMAGAIO                NC           90010665641
7B926137141253   ROCHELLE        STEPHENSON              PA           90007621371
7B926452A81633   BRITTINI        HUDSON                  MO           90010964520
7B92687449154B   LORENZO         GOMEZ                   TX           90014818744
7B933231893726   RYAN            DYER                    OH           90012072318
7B9339A9893726   RYAN            DYER                    OH           90011009098
7B93644528B163   TENNILLE        STEVENSON               UT           90012794452
7B93689728B134   ZACHARY         MOORE                   UT           90013938972
7B937529551348   CHRISTINA       BOULDIN                 OH           90014855295
7B93775A94B572   BRITTANY        HENSLEY                 OK           90011117509
7B937941351348   CORNELIUS       LEWIS                   OH           90013949413
7B9415A488593B   ANTHONY         WAGNER                  KY           90014125048
7B941A75133698   KIRSHAWN        BOWE                    NC           12077630751
7B94392A955966   JONATHAN        BROWN                   CA           90011729209
7B944A63A31432   MARK            BINGESSER               MO           90012610630
7B9455A184B572   YVONNE          HOLLOWAYLOCKE           OK           90010255018
7B9457A7841237   STEPHEN         NEAL                    PA           90012127078
7B946A8235B384   DAVID           KIDD                    OR           90002070823
7B948812555931   SAENGKAEW       PHOMPONG                CA           90013588125
7B949764A5B356   ALEX            KUZMIN                  OR           90000597640
7B94B286A72B32   CURTIS          ALDRIDGE                CO           33019372860
7B952726141253   DAVID           KUKULKA                 PA           90014077261
7B953492981643   CHAUNTAE        SMITH                   MO           90011114929
7B954452755966   CLAUDIA         GONZALEZ                CA           90014054527
7B956512A27B98   MICHAEL         MERRITT                 KY           90013285120
7B958359841227   BIG             BOII                    PA           90014913598
7B959AA5A57157   EDGAR           LOPEZ                   VA           90012430050
7B962A2A772441   EDWARD          SCHINKE JR              PA           51073260207
7B964957727B98   RICHARD         RASCOE                  KY           90013289577
7B965363471921   LUCIA           GORDILLO                CO           32064543634
7B965448A27B98   ANGELA          MATLOCK                 KY           90010894480
7B968586527B98   AMANDA          HANCOCK                 KY           90015065865
7B969827272421   DAWN            SOPHER                  PA           90008208272
7B96991A155966   SUMMER          GARCIA                  CA           90013099101
7B96B863927B98   JENNIFER        HARRIS                  KY           90013288639
7B97159685B59B   MELISSA         ROSA                    NM           90003595968
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7B97421345B384   CYNTHIA        JORDAN                   OR           90005232134
7B97432148593B   CHAN           LING                     KY           90011513214
7B974585A41237   ANN            KRESS                    PA           90011195850
7B97487A15B59B   HECTOR         LOPEZ                    NM           90013158701
7B975777693736   KATRINA        CARTWRIGHT               OH           90015107776
7B977927A77524   AMY            DELACRUZ                 NV           90003299270
7B979291193726   INDIA          TAYLOR                   OH           90006382911
7B97B981772B32   FERNANDO       GARCIA                   CO           90013759817
7B9832A9793736   DYMOND         THOMAS                   OH           90012612097
7B983A89255931   OLA            YARBROUGH                CA           90014860892
7B986124684322   LAURA          JEAN SALARZAR            SC           90011981246
7B98741A633698   ROBERT         BROWN                    NC           90010194106
7B987483571921   SAMANTHA       EVERS                    CO           90000164835
7B98782A98B168   KATHLEEN       ATWATER                  UT           90010778209
7B987A59355966   ALEJANDRO      AVALOS                   CA           90013100593
7B991682472B44   DARLENE        GONZALEZ                 CO           33000096824
7B99268188B157   NATE           ADAMSON                  UT           90011306818
7B9927A1472B44   LORENZO        LUCIO                    CO           90006887014
7B993262427B98   JOESEPH        CHESTNUT                 KY           90011412624
7B99596584B572   MARQ           BURTON                   OK           90008659658
7B995966551348   MARIAH         WILLIAMS                 OH           90013949665
7B998168155931   HARONERE       ARREOLA                  CA           90013591681
7B998435231432   KIRRA          PENTON                   MO           90007824352
7B99B971871921   REBECCA        RAY                      CO           90014309718
7B9B217A455966   JAYME          TRUJILLO                 CA           90013091704
7B9B226AA8B157   JALLOW         SUKAINATOU               UT           31011692600
7B9B32A792B994   ELYSE          GITTENS                  CA           90013972079
7B9B384A17B477   CLYDE          AUSTON                   NC           90011048401
7B9B3AA7255947   KENNETH        STOGNER                  CA           90012890072
7B9B5334381633   MICHAELA       DANA                     MO           90014313343
7B9B5483855966   ERIK           RAMIREZ                  CA           90013854838
7B9B5842341237   BILL           PRESLY                   PA           90013958423
7B9B59A7691252   TRELL          TAYLOR                   SC           90002719076
7B9B7456884322   FRANCISCO      MENDOZA                  SC           90013894568
7B9B8533741227   CHELSEA        TURNER                   PA           90007915337
7B9B8585257157   OLIVIA         NLORA                    VA           90009695852
7BB11239772479   LAKISHA        DIGGS                    PA           90009592397
7BB1158358593B   CHRIS          MITCHELL                 KY           90010695835
7BB115A9255931   MANUEL         OCHOA                    CA           90011835092
7BB1387559154B   PERLA          ALCALA                   TX           90011158755
7BB13A9A88B168   JOSH           ROBISON                  UT           90008810908
7BB1531415B59B   MARIA          HENDERSON                NM           90013803141
7BB1731867B427   TAMARA         PARKER                   NC           90002473186
7BB17964172B44   MARIA          MARTIN                   CO           90006359641
7BB196A4155966   JOANNA         MARTINEZ                 CA           90013266041
7BB22597955966   PAYGO          IVR ACTIVATION           CA           90013235979
7BB22963393739   ABBEY          EYLER                    OH           64544009633
7BB23123941227   AMANDA         AUER                     PA           90013981239
7BB23239872B44   ELSIA          RUIZ                     CO           90013062398
7BB2333218B163   LEANDRA        BEGAY                    UT           90011053321
7BB2336498B163   CHERIE         MONTANO                  UT           90013123649
7BB2347822B271   WILLIAM        BRAXTON                  DC           90010834782
7BB287A7457556   MARY           WEBER                    NM           90015177074
7BB2936498B163   CHERIE         MONTANO                  UT           90013123649
7BB2995338B168   JEREMY         PAINTER                  UT           90007809533
7BB2B33A855931   ALFREDO        CASTRO                   CA           90006663308
7BB326A594B572   DOUGLAS        RODGERS                  OK           90011096059
7BB32A86A72B32   RIGOBERTO      CATANO-AVITIA            CO           90014800860
7BB347AA22B29B   AJAE           PORTER                   DC           90008547002
7BB37248891991   DIEGO          MORENO                   NC           90000322488
7BB37A5128B157   JESSICA        SIERRA                   UT           90013070512
7BB3894412B295   STEVEN         FOSTER                   DC           81055539441
7BB3B368872B44   LUIS           ZUNIGA                   CO           90010413688
7BB3B716193739   FRANCINA       CARR                     OH           90005907161
7BB41894427B98   MEAGAN         BURKHALTER               KY           90012838944
7BB41994657556   BRENDA         MUNOZ                    NM           90010779946
7BB42396672441   MARY           ROSSI                    PA           51027133966
7BB42A1748B168   CHELSI         BROWNE                   UT           31009250174
7BB4385248B157   BONIFACIO      YUNUN                    UT           31094468524
7BB44132957157   ASHONTI        RISE                     VA           90005621329
7BB4473A491991   ROBERT         MURILLO                  NC           90010507304
7BB455A3871921   WALTER         WESOLOWSKI               CO           90011965038
7BB4588629154B   CRISTINA       GUZMAN                   TX           90011158862
7BB46221A57556   MONIQUE        MENDOZA                  NM           90014862210
7BB46A86141237   JAMES          DALEY                    PA           90010650861
7BB4B152981633   SHANA          WILLIAMS                 MO           90004121529
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7BB4B813A57556   MONIQUE         MUNOZ                   NM           90014788130
7BB52232941253   STACY           BEST                    PA           51087112329
7BB5717914B572   JOHNNYSANTINO   HALL                    OK           90015151791
7BB57A94541265   SEAN            MUNDY                   PA           51006210945
7BB58947493739   DANIEL          RYNELL                  OH           90013209474
7BB5983988B142   TEAH            RADANDT                 UT           90012768398
7BB6356489154B   JAIME           DOMINGUEZ               TX           75072535648
7BB6455997B477   LASHATAYA       WNGHT                   NC           11062945599
7BB64627691991   PATRICIA        LOVE                    NC           90007306276
7BB6483A28B142   DAVID           SORIA                   UT           90012628302
7BB6531868B157   DEVIN           EVRILL                  UT           90007773186
7BB6562169154B   NICOLE          STCYR                   TX           90014796216
7BB66669491252   KEVIN           NIX                     GA           90010386694
7BB67841481643   GABY            LOPEZ                   MO           90011748414
7BB68521557157   MICHAEL         GONZALEZ                VA           90013845215
7BB6973A455947   ANJELICA        LOPEZ                   CA           90014187304
7BB72581457157   SEAN            JONES                   VA           81083065814
7BB726A978B163   JEREMY          ACOSTA                  UT           90007456097
7BB7363A89154B   SERGIO          IBAVE                   TX           90014796308
7BB7412264B572   ANGELIA         MUNOZ                   OK           90014901226
7BB7597987B477   ANGEL           SANTOS                  NC           90010209798
7BB7644718B163   CHANTEL         HARTLERODE              UT           90013124471
7BB76799555966   CHRIS           HUERTA                  CA           90012967995
7BB76944155947   JOSE            ROJAS                   CA           90012889441
7BB78133A5B53B   JOSE            RAMIREZ-DELOERA         NM           90009131330
7BB78352784322   ANA             RAMIREZ                 SC           90009073527
7BB78739731433   KEVIN           KURTZ                   MO           27501737397
7BB7963529154B   CRISTIAN        ALVARADO                NM           90014796352
7BB7B511991587   FRANCISCO       REYES                   TX           90008205119
7BB81278793739   ALEX            NAPIER                  OH           90010952787
7BB81629641227   ELIZABETH       MALONE                  PA           90011056296
7BB82547461935   JASON           STEWART                 CA           90011745474
7BB8374958B157   JOSH            SHAFER                  UT           90010627495
7BB83877884322   MANUEL          GARCIA                  SC           90012028778
7BB83A75955966   BILLY           BRACKETT                CA           90013000759
7BB84188A41237   DANIELL         FRANKLINS               PA           90006611880
7BB8418A827B98   BRIAN           MOSCH                   KY           90006971808
7BB841AA957556   YVONNE          MADRID                  NM           90009191009
7BB8463769154B   YAJAIRA         ALFEREZ                 TX           90014796376
7BB85A2A35B59B   JONATHAN        PADILLA                 NM           90010790203
7BB87332855947   HELEN           MEDINA                  CA           49079903328
7BB8763435B169   RICKY           HAVENS                  AR           90011786343
7BB88183551348   ANGELA          CHARLESTON              OH           90012551835
7BB88628633698   BROOKE          LOCKHEAR                NC           90011106286
7BB8884342B994   MARCOS          MERELES                 CA           90011118434
7BB93186A55931   COREY           BIRKLE                  CA           90013541860
7BB93499272B44   CAILIN          DUNKIN                  CO           90009064992
7BB94826372441   ANTHONY         DEMATTEIS               PA           90009178263
7BB95387733B98   CARLOS          SOLIES                  OH           90014423877
7BB9617444B572   ALMAZ           WAKEYO                  OK           90014251744
7BB96924757556   KEVIN           PATTERSON               NM           90009019247
7BB97367471921   CLAUDIA         GARCIA                  CO           90012743674
7BB99674672B32   MARIA           RAMOS                   CO           90012866746
7BB99779855966   LAISA           VASQUEZ                 CA           90011247798
7BB9B472591252   GEORGIA         WELLS                   GA           90011274725
7BB9BA88881633   STEPHEN         RANDOLPH                MO           90012540888
7BBB35A7172441   ENRI            GOOSBY                  PA           90014495071
7BBB6947755931   ENRIQUE         BECERRA                 CA           90014939477
7BBB8716751378   CARMEN          ROSEMOND                OH           90005047167
8111152119154B   GOMEZ           SAMUEL                  TX           90010395211
81111631A8B163   ALAN            ANDRADE                 UT           90013096310
81115757197B38   ANTONIO         RODRIGUEZ               CO           90012397571
8111B474291837   ROBIN           WHITE EAGLE             OK           90013944742
8111B78712B271   SONIA           JOYNER                  VA           81000467871
8111B933151531   AMY             LAKABUNG                IA           90014169331
8112173319154B   JESSICA         VARGAS                  TX           90011207331
81121866197B38   KRISTIE         SEDERSTROM              CO           90011218661
8112197979154B   DOLORES         TOVAR                   TX           90014779797
81122439376B97   ROXANA          RIVERA                  CA           90013624393
811225A955B145   TRAVIS          HOGAN                   AR           90010015095
81122927A72B33   MARIA           HERRERA                 CO           90011109270
8112356A393771   SYLVIA          LEACH                   OH           90012835603
81124377A5B145   ZACH            MAXWELL                 AR           90012943770
81125A6695B24B   HAIME           HERNANDES               KY           90011570669
81126A66591975   JASON           POOLE                   NC           90010280665
81128377A5B145   ZACH            MAXWELL                 AR           90012943770
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81129361A33698   ANDREA         BUCKMON                  NC           90013353610
81129727A97B38   SAVANNA        REED                     CO           90011407270
8112B2A794B22B   BRADLEY        JONES                    NE           90014172079
8113354635B145   TORI           PRESCOTT                 AR           90013595463
8113381A161928   SALVADOR       GUZMAN                   CA           90010428101
8113678A98B168   AMANNDA        THOMASS                  UT           31029497809
8114435289154B   CECILIA        RENOVA                   TX           75014433528
81144A56491525   JAIME          CRUZ                     TX           90003310564
81144AAA591242   HEATHER        COLLINS                  GA           90002070005
8114511515B183   STACY          WILKINS                  AR           90011071151
81145157A8B163   JOHNATHAN      CHADWICK                 UT           90014361570
8114595345B139   MARCIA         CARRUTH                  AR           90005789534
8114749515B24B   BRITNEY        DUNCAN                   KY           90015284951
81147AA3185856   JOSE           VARGAS                   CA           46083860031
8114912899154B   MATHEW         CHAVIRA                  TX           90006761289
81149824A9712B   VICTOR         GONSALEZ                 OR           90013898240
8114991A191975   EVA            MARTIN                   NC           90013329101
8114B24A647822   SHARONDA       MILLER                   GA           90002362406
811516A9941275   JOHN           HRABOLOWSKI              PA           51097476099
81161511A72432   BRANDI         BYERS                    PA           90013225110
8116293699712B   ASHLEE         STROMBERG                OR           90013459369
8116442878B154   LENLEE         VAKAPUNA                 UT           90013724287
81164875497B3B   CODY           CISNEROZ                 CO           90013458754
8116715A89154B   JOSE           CAMPOS                   NM           90001251508
81167166872B62   LISA           BLUFORD                  CO           33023221668
8116719765B145   CHERYL         JACKSON-GOLDEN           AR           90010201976
81168972954B23   CONNOR         MATHERLY                 VA           90014409729
8116927778B168   JESSICA        LUND                     UT           90012032777
81171385397B97   JEFF           BLANDIN                  CO           90008743853
81171677997B3B   JOSE           CASTRO                   CO           90012136779
81172325772B62   VICTORIA       MESSAOUDI                CO           90013283257
81172A48185856   SHANNON        FRANCIS                  CA           90015270481
81173751A5B145   BELINDA        DOBBINS                  AR           23074877510
8117518718B154   SHEREE         JOHNSON                  UT           90013521871
811781A4597B98   ROSARIO        VARGAS                   CO           90012061045
8117846855B32B   MICHELLE       ALEXANDER                OR           90014204685
81182A29755945   TYRONE         JONES                    CA           90013000297
81183664776B65   ROSENDO        LUCERO                   CA           46080566647
8118645A79712B   SARRA          PADUA                    OR           90010484507
81186A59A5B24B   ERIKA          LENNON                   KY           90014760590
811877A3255945   ANTONIO        BARRIGA BELTRAN          CA           90013627032
81188313372B33   MAURICIO       CRISOSTOMO               CO           90013363133
81193A7259712B   DAVID          MOORE                    OR           90010490725
8119699445B24B   SHAWN          CHAMBERLAIN              KY           90014879944
8119B15545B183   RAE            ROBINSON                 AR           90011071554
811B126298B168   JARED          HOOD                     UT           90014062629
811B12A2272B62   DARRYL         OWENS                    CO           90011322022
811B1785641275   LORI           DEAN                     PA           51040797856
811B2227884325   NIKITA         OSBORNE                  SC           90006282278
811B2623971977   LINDA          MENDOZA                  CO           38086686239
811B316A657127   CARLOS         GARCIA                   DC           90011771606
811B4836772B62   JOSUE          CORRAL                   CO           90014898367
811B5422661978   ELEASA         MARKS                    CA           90003634226
811B6367247897   JESSICA        ALEXANDER                GA           90013273672
811B7252124B43   ROSA           FLORES                   VA           90007472521
811BBA16591242   JOHN           ALDERMAN                 GA           90014160165
8121148219154B   LAURA          ORTIZ                    TX           90000794821
81211AA4472B99   DENISE         STAFFORD                 CO           90014020044
8121269325B145   MELISSA        MURDOCK                  AR           90012276932
8121352A65753B   TESSIO         REA                      NM           90013835206
81213739772B44   SERGIO         GOMEZ                    CO           90014377397
81214148397B3B   VINCENT        A MEDINA                 CO           90010721483
8121474755B24B   GEORGE         THOMPSON                 KY           90014427475
81215277A9712B   MARLEE         NORRIS                   OR           90009752770
8121735288B168   MEGHAN         BLACK                    UT           90009373528
81219724A97138   KALISTUS       MACKLEEN                 OR           90009847240
8121B269A51362   NATALIE        SHEPPARD                 OH           66094672690
812224A3372B29   HUMBERTO       SALAZAR                  CO           33098714033
8122333778B168   MATTHEW        SLATTER                  UT           90012703377
81225A18247822   ROBERT         BATCHELOR                GA           90012460182
812279A1772B62   KATHRYN        BOHMONT                  CO           90014299017
81228978572B33   SILVIA         CRUZ AGUILAR             CO           90008309785
8122B37724B22B   MARIA          GAMACHE                  NE           90011313772
81236A4265B535   SASHA          HARPER                   NM           90012260426
8123825165B145   EDWARD         BLUEFORD                 AR           90011002516
81238415972B29   JASMINE        AGUILAR                  CO           90012454159
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8123855655B32B   TREVOR         SMITH                    OR           90011715565
8123B721191525   DAVID          PARADIS                  TX           90006837211
8123BA58776B97   CESAR          MATIAS                   CA           90013570587
8124173435B581   CESAR          RODARTE                  NM           35030597343
81241851672B62   ASHA           RAI                      CO           90009888516
81243683397B38   ALYSSA         HENDRICK                 CO           90013646833
8124425A351362   MARLENE        BRANDENBURG              OH           90014232503
8124712928B163   DAMIAN         ADAMS                    UT           90011971292
81247599A9154B   ANA            OLIVAS                   TX           90007455990
8124884A15B145   BRITT          KERSH                    AR           90011348401
8124BA8645B32B   HOANG          THOMPSON                 OR           90010090864
81251AA9577537   CARLOS         GONZALEZ                 NV           90013760095
81252AA4A91975   EDGAR          SANTANA                  NC           90012980040
81253A88A5B183   MYIKA          YOUNG                    AR           90014770880
8125518498B163   MEGAN          HASKINS                  UT           31096431849
81255A65397133   MA TRINIDAD    TORRES RAMIREZ           OR           90013580653
81257345A51362   GORGE          ESKOBADO                 OH           90011983450
81257534676B65   IVETTE         GURROLA                  CA           90007245346
81258551976B65   PAULA          HERNDEZ                  CA           90011005519
81259342772B44   DIANE          LEDESMA                  CO           90012443427
81259A37691242   TRACY          FORDHAM                  GA           14587490376
8125B35A45B24B   LATISHA        RHODES                   KY           90010883504
8126325A85B153   ELIZABETH      SMALL                    AR           90007262508
81263A8A69712B   AMY            MAJORS                   OR           44030580806
81264529572B44   CARLA          VENIEGAS                 CO           90014025295
8126599A691975   KENTON         MYERS                    NC           90010829906
8126756A38B154   ALEX           TAYLOR                   UT           90013065603
8126773818B154   MURPHY         STEVE                    UT           90009517381
81268A3AA51362   TAYLOR         RUSSELL                  OH           90014810300
812696A569154B   JOHNNY         FLORES                   TX           90012856056
81275A8256198B   EDWARD         ZAYZAY                   CA           90007890825
8127615795B183   RIGOBERTO      MONTIEL                  AR           23077261579
8127676A191975   DAYSHAWN       BECTON                   NC           90013207601
8127738395B139   IESHA          PACE                     AR           23019973839
8127949A885936   CHABLIS        MURRAY                   KY           90015204908
8127BA92A8B154   ZACHARY        PAULEY                   UT           90015310920
81282356576B65   ELIZABETH      LOPEZ                    CA           46084753565
8128255A65B183   ALLEN          ANDERSON                 AR           90012885506
81283A36931449   SARA           SABATINO                 MO           27594410369
81283A9975B24B   CAITLIN        ROBGERS                  KY           90012330997
8128966395B183   BRIANNA        JOHNSON                  AR           90014866639
8128B2A7676B97   JANA           MCGRAW                   CA           90011322076
81291A88497121   DERIKK         K STAPLETON              OR           90012530884
8129667A391242   DANIEL         EDENFIELD                GA           90014166703
8129726488B163   KARLA          HERNANDEZ                UT           90013752648
8129812189154B   TERESA         FACIO                    TX           90011071218
8129896934B22B   COLLEEN        WALLACH                  NE           27045529693
8129937825B32B   LIANDA         HOLT                     OR           44526053782
81299628172B62   VLADIMIR       ESPARZA                  CO           90012916281
812B241A59154B   PERLA          LACAYO                   TX           90012294105
812B426A29154B   DESIREE        GARCIA                   TX           90014302602
812B4648491975   JORDAN         WINSTON                  NC           90010656484
812B4A9622B28B   JOSEPH         MARBURY                  DC           90009250962
812B6829485936   DESTINY        RITCHIE                  KY           90012628294
812B6A67297133   EMITERIO       MOLINA CARRANZA          OR           90013150672
812B743A691525   LAURA          MUNOZ ACOSTA             TX           75090994306
8131425918437B   GINNY          BROWDER                  SC           90009462591
81314735597B3B   SARAH          ZARATE                   CO           90012797355
813159A3231433   DEHZEL         DICKSON                  MO           90006509032
8131714719154B   LUZ            RIVERA                   TX           90009471471
8131812A685856   LUIS           MENDOZA                  CA           90014271206
8131863A885856   AIOTEST1       DONOTTOUCH               CA           90015116308
81322A4789154B   JAIME          AV ILA                   TX           90003750478
81326A1678B188   BECKY          SOLIS                    UT           90003380167
81328436672B33   RICARDO        ARREOLA                  CO           90001294366
813293A8497138   AMBER          WEED                     OR           90010233084
8133251912B271   CHARLES        WILLIAMS                 DC           81098085191
813329A9197133   GERARDO        LOPEZ MARTINEZ           OR           90013789091
8133322935B24B   MICHAEL        MILLS                    KY           90011072293
8133631149712B   TESSA          SPENCER                  OR           90012333114
813365A589154B   CLAUDIA        AGUIANO                  TX           90012875058
813384A934B967   ANNE           DRUMMOND                 TX           76542594093
8133B254457132   MARTHA         SAMAYOA                  VA           90014362544
8133B883147822   PATRICK        HOWARD                   GA           90014258831
81341366A97B38   CANDY          GONZALEZ                 CO           39064203660
81342926A76B97   ESTEBAN        SOTO                     CA           90011059260
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8134389A841262   SHANNEN         KOHLMEYER               PA           90002538908
81345431876B97   ALEJANDRA       MIRAMAR                 CA           90014104318
81347773197B38   RUDY            LUJAN                   CO           39081187731
8134B112351362   NATALIE         BAINUM                  OH           90011641123
8135415388B163   CODY            WARR                    UT           90010081538
81355797A76B97   DOMINIQUE       FARD                    CA           46046217970
8135669894B22B   CURTIS          DE VOOGHT               IA           90013236989
81358313597B38   ANGELINA        GUEVARA                 CO           90013773135
81359839872B33   JOSHUA          MCMILLAN                CO           90014158398
8135B48A75B32B   EDDIE           RAMIREZ                 OR           90013744807
8135B496576B97   MINA            SANDOVAL                CA           46005374965
8135B611255945   NOE             FLORES                  CA           90012826112
8135BA8A651362   BREYANA         BAINES                  OH           90010660806
8136141459154B   JOSE            GARCIA                  TX           90014864145
81366A3628B154   LUIS            TREJO                   UT           90006410362
813672A7997121   LETICIA         SMOTHERMAN              OR           90011872079
8136957845B24B   DANNY           CLYMER                  KY           90014715784
81371A84472B44   JAMES           VAUGHN                  CO           90012790844
81376A95A9373B   MIKE            GULDICE                 OH           90008200950
8137837959154B   ANDRES          DURAN                   TX           90014853795
81378962572B44   ISAIAS          NAVA                    CO           90013899625
8137926892B981   JOHN            NEWKIRK                 CA           90012012689
81379281A31445   PACHELLE        CHATMAN                 MO           90006442810
81386A7198B168   MIRANDA         COHO                    UT           90013270719
8138918A897B38   ERICA           CASARES                 CO           90004431808
813899A4385936   JANE            ELSHAWA                 KY           90013989043
8138B482872B62   STACY LATRICE   VIRGUES                 CO           90011034828
8138BAA1885936   GONZALO         AVILA-CATALAN           KY           90015080018
813917A425B32B   RICKY           ONAMAUR                 OR           90014367042
81391A43A5B24B   CHRISTIN        CARISLE                 KY           90011150430
8139236999154B   JAZMIN          CORRAL                  TX           75087573699
8139335844B22B   RADIA           TAGOURI                 NE           90011463584
813969A4997133   HEATHER         WILSON                  OR           90011089049
81398AA5885936   MIRELLA         VILLANUEVA              KY           90013880058
81399233697B3B   RUBEN           SEQUEROS                CO           90013312336
8139B729585856   JUANA           GOMEZ                   CA           90006417295
813B2658A5B338   TURC            PAVEL                   OR           90008056580
813B3676785936   KATHY           HENSON                  KY           90014056767
813B3852397121   VICTORIA        CLARK                   OR           90014348523
813B4A95772B29   MARIO           PEREZ                   CO           33065960957
813B515388B163   CODY            WARR                    UT           90010081538
813B656A471977   RAUL            CARRILLO                CO           90012915604
813B8235141262   CYNTHIA         MCMONAGLE               PA           51091272351
813B8A49491837   JOSE            ENRIQUEZ                OK           21091060494
813BB172491979   CRYSTAL         JETT                    NC           90014821724
81412498872B44   CHARLES         HENSLEY                 CO           90013234988
814131A889154B   JACQUELINE      BURCH                   TX           90012431088
81416486272B62   ENIN            BLAN                    CO           90011034862
8141869A197121   JAVIER          SANTOS SANTOS           OR           90012646901
8141978A14B555   GLEN            VILLINES                OK           90012507801
8142115448B163   PEGGY           CASTANEDA               UT           90014321544
81421186572B62   GERARDO         MARTINEZ                CO           90012551865
8142232399712B   KASEY           EATHERTON               OR           90009753239
81422A53572B62   NICHOLAS        COX                     CO           90009130535
8142387A85B24B   DAVID           MATHERLY                KY           90014728708
814246A4872B62   RACHEL          VAZQUEZ                 CO           90011236048
8142557955B139   APRIL           GULLEDGE                AR           90007765795
81425A74341262   ADREA           SIMPSON                 PA           90007750743
8142663A947822   BRUCE           SOLOMON                 GA           90011306309
81428721A72B62   ANGEL           MELENDEZ                CO           33090677210
8143415448B163   PEGGY           CASTANEDA               UT           90014321544
81435683476B97   MCKENZI         JUREZ                   CA           90015096834
8143681828B154   AMANDA          VILLESCAS               UT           90012868182
8143691565B183   CRYSTAL         SPRUILL                 AR           90006679156
8143691A98B163   ESTHER          MARTINEZ                UT           90012989109
8144284428B163   TANNY           JOHNSON                 UT           90014068442
814437A7651362   MICHELLE        GREIWE                  OH           90011997076
81449369A97133   DEVAN           HOFFMEISTER             OR           90014833690
81449557A76B97   ROBERT          PITSKER                 CA           90010115570
8144B6A769712B   GAIL            MESSINA                 OR           90000846076
8144B928585856   MIKE            HARRIS                  CA           90010439285
8145335388B154   RYAN            VANOS                   UT           90001413538
814545A7291975   FRANCISCO       PINACHO                 NC           90009405072
81455285272B44   ISIS            TEHUTI                  CO           90005742852
8145647844B967   ZACHARY         VILTZ                   TX           76514904784
81456712976B97   WILLIAM         WOLMART                 CA           46085347129
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8145728A191525   BRYAN           ARANDA                   TX           90005892801
8145B65A147822   LISA            HARRIS                   GA           90011306501
81461113197B38   JOSEPH          REED                     CO           90008811131
81461397A91242   ROBERT          BRANCH                   GA           90014183970
8146548749712B   AMPARO          MENDOZA                  OR           44088864874
8146672798B163   ANTHONY         XAIZ                     UT           90014467279
81467147897B3B   MARCUS          BENJAMIN                 CO           90010181478
814684A297B349   JOEL            ALVARADO                 VA           81004814029
81469376376B97   KATHLEEN        MORALES                  CA           90012023763
81469A1A491975   CONSTANTINO     CANSECO CRUZ             NC           90013800104
8146B133591979   WENDEL          RAMIREZ                  NC           90014161335
8146B77668B168   SHELBY          GARRETT                  UT           90011987766
8147189898B168   LESLIE          PIKE                     UT           90010918989
814722A2772B29   MARIA           ACOSTA                   CO           90012832027
8147526A272B44   WARREN          CIRWITHIAN               CO           90011602602
81477193A91975   CRYSTAL         PERRY                    NC           90014651930
81477A25972B62   JOSE            GERMAN                   CO           90012510259
8148392A772B62   MYRA            ALMANZA                  CO           90012349207
814841A289712B   RUTH            HERNANDEZ ROJAS          OR           90013091028
8148492278B829   KATOA           LOUSA                    HI           90014279227
8148549A29185B   AUDAR           SCHRIMSHER               OK           21058184902
8148572A893771   CHAD            KENNEDY                  OH           64573807208
8148632A772B33   CARLOS          DURAN                    CO           90011053207
81486853A91242   BRIDGETT        ROGERS                   GA           90014628530
81486A5295B581   JESSICA         JILLSON                  NM           35002650529
814875A3585856   JAMES           HUGGINS                  CA           90013745035
81489121876B65   JERALYNN        HASKETT                  CA           90011541218
814893A3A9712B   REBEKAH         STALHEIM                 OR           90012193030
814915A6A8B163   IRIS            VASQUEZ                  UT           90013665060
81491A6168B163   JARET           BRYAN                    UT           90014490616
8149612478B168   KATHY           SMITH                    UT           90000201247
8149724428B154   GERSON          ALCANTARA                UT           90013412442
81499339472B29   SHARON          SUNDERLAND               CO           90010183394
8149B262672B44   BRANDON         PATILLO                  CO           90011602626
8149B425897121   ASHLEY          JEAN ROENIG              OR           90009524258
814B1378551362   BRIAN           KIRCHGESSNER             OH           66073763785
814B21A5397B38   LEONARD         MARTINEZ                 CO           90013041053
814B5282677537   MANUEL          PEREZ-SANCHEZ            NV           90008312826
814B66A4572B29   JOE             DELATORRE                CO           33073266045
814B6969297133   ERIN            SCHARFF                  OR           90011089692
814B7684971977   JESSICA         TRINNICH                 CO           90014736849
814BB622391525   DANNY           SONG                     TX           90003316223
815147A1777537   LISA            NORRIS                   NV           90013297017
8151949348B168   WILLIAM         KOKOHU                   UT           90015094934
815231A1472B29   TIFFANY         SCOTT                    CO           90008971014
8152396A35B591   RALPH           SILVA                    NM           90001419603
81524A85591979   WAYNE           WILLIAMS                 NC           17002500855
81525597272B62   CARLOS H        ROLDAN                   CO           90011235972
81525A8819712B   NICHOLAS        WALKER                   OR           90011730881
8152843572B28B   JEAN            CARLOS                   DC           90011734357
81531A12472432   CRYSTAL         BRUCE                    PA           90014740124
815336AA357128   ANGELA          CRESPO                   VA           90011246003
8153389285B24B   GRONISHA        CAMPBELL                 KY           90014858928
8153417384B22B   KIMERLY         LEGON                    NE           90006831738
81534791976B97   UVALDO          DE LA TORRE              CA           46017827919
815366A7697138   GAIL            MESSINA                  OR           90000846076
8153931685B528   ARTHUR          CRESPIN                  NM           90011483168
8153B288933698   YOLANDA         ROGERS                   NC           90013252889
8153B439972B62   JUAN            ROMAN                    CO           33011094399
8153B91498B168   CHRISTIAN       HULL                     UT           90011939149
8154133198B168   SHEILA          MUNRO                    UT           90006023319
81543A25991979   BLANCHE         ROYALL                   NC           90010170259
81543A74191837   ARTHUR          HALL                     OK           90011960741
81549281172B44   TYLER           HARDEN                   CO           90011602811
8154B624655945   VATO            LOPEZ                    CA           90011886246
8154B922A97133   JEREMIAH        QUICK                    OR           90013129220
81551313972B29   AMANDA          SAVOLAINEN               CO           90013393139
81551558176B97   RAFAEL          ABARCA                   CA           90013625581
8155191A191975   EVA             MARTIN                   NC           90013329101
81551A7625B24B   SHAWN           SHEPHERD                 KY           90013590762
8155253158B163   GILBERT         VALDEZ                   UT           90013785315
81552896276B97   PATRICIA        GARCIA                   CA           90014338962
8155339118B154   ROBERT          DRUCE                    UT           31007703911
815534A6677537   BRENDA          HERNANDEZ                NV           90008344066
81554149572B62   EMILIO          GONZLES                  CO           90015091495
8155537154B22B   MARELY          ZUNIGA                   NE           90014423715
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8155591298B154   JUAN           CANCHOLA                 UT           90011429129
815564A1A33698   LATOYA         SPINKS                   NC           90011084010
8155726A433698   ALEXANDRIA     HILL                     NC           90008012604
8155917194B967   AARON          DOTSON                   TX           90003161719
815595A799712B   PENNY          ALLEN                    OR           90010095079
81559A9385B24B   CHRISTOPHER    JONES                    KY           90013930938
8155B614585936   ZAINA          EMEDI                    KY           90011766145
8155B817472432   JESSICA        CARDILLO                 PA           90013378174
815646AA891979   JOEL           JONES                    NC           90015166008
8156529A35B24B   DERRICK        WEEDMAN                  KY           90015012903
8156B7A279154B   JOHN           HAEL                     TX           90013847027
81571926A47897   TAVAYA         FORESHAW                 GA           90012679260
8157314A591242   JEROME         WHITE                    GA           14591311405
8157329369712B   EDDIE          DUANE SCHLIP             OR           90011722936
8157437785B581   ANGELA         MARTINEZ                 NM           35083853778
81574627497B38   DELFINO        HERNANDEZ                CO           90014816274
815746A9A55945   BEATRICE       FLEENOR                  CA           90010996090
8157833A58B163   ARMANDO        RIOS                     UT           90015163305
8157962A48B163   BRYANT         SHEPHERD                 UT           90014816204
81579999A8B168   FALLON         RASMUSSEN                UT           90010279990
81579A91341262   JOSEPH         MERCURIO                 PA           90008700913
81582963876B97   JOSE           ROMERO                   CA           46048609638
8158361532B28B   SHAREESE       BARNES                   DC           90006866153
8158482488B154   CAMIE          RAINES                   UT           90013728248
815865A3497B3B   CRYSTAL        BARRETT                  CO           90010955034
81586852772B44   JUAN           ROCHA                    CO           90010418527
8158949785B32B   TYLER          JONES                    OR           90004134978
8158B26549154B   MARIA          ESPARZA                  TX           90014092654
81591A88641262   JENNIFER       SCHWEITZER               PA           90013140886
81591AA764B967   MARIA          DEL TORO                 TX           90007630076
81593386272B44   PAT            GIKURI                   CO           90012743862
81595118A9154B   TERESA         JUAREZ                   TX           90011611180
81596A9315B183   BRANDY         PENNINGTON               AR           90014160931
8159715A591837   ASHLEY         BURKS                    OK           21015461505
8159775A141272   MARTA          ALFARO                   PA           90005897501
81597A4A371977   TRENT          HERNANDEZ                CO           90013290403
81597A82241272   MARTA          ALFARO                   PA           90011940822
81597A96472B62   EDGAR          DURAN                    CO           90012430964
81598137754B23   YOSELIN        MORALES                  VA           90014871377
815987A225B591   SEAN           DOUGLAS                  NM           90008727022
81598958A97B3B   LUIS           CALDERON                 CO           90004529580
815B1512185856   JUAN           PEREZ                    CA           90014445121
815B2667797138   ANTONIO        DE LA ROSA RIOS          OR           90009596677
815B3251997B3B   DENISE         JENSEN                   CO           90014152519
815B3429A85856   MARTIN         CRUZ                     CA           90013434290
815B3799191242   JAMMIE         POLLEY                   GA           90014187991
815B37A6597138   CRYSTAL DAWN   FREEMAN                  OR           90009907065
815B3A34897B3B   CHRISTIAN      HERNENDEZ                CO           90012740348
815B4164591837   TINEESHA       LOVE                     OK           90011411645
815B4321772B62   LLUVIA         BENCOMO                  CO           90012373217
815B596918B163   OLGA           MIRAMONTES               UT           90006369691
815B9931455945   JOSE           ZARAGOZA                 CA           90013899314
815BB67555B153   KAYLA          HALL                     AR           90005506755
815BB762747897   LAVELA         SIMMONS                  GA           90009417627
816133A174B967   LOIS           HARDY                    TX           76571723017
81613982172B44   DANIELLE       QUINONEZ-CARRILLO        CO           90007439821
81614A5A69154B   ERIKA          HERNANDEZ                TX           90012910506
8161518455B24B   ANTHONY        STEWART                  KY           90015131845
81615321597B3B   AMANDA         PONDER                   CO           90013203215
8161581622B271   TONYA          LUCAS                    DC           90004728162
8161BA31276B97   JOAQUIN        FUENTES                  CA           90012080312
81623278372B44   RANDR          LITTLE                   CO           90011972783
816238A6197121   JERROD         SCHALK                   OR           90012588061
8162711885B183   ISABEL         ORTIZ                    AR           90013381188
8162B183797B38   MAYRA          CRUZ                     CO           39015861837
8162B67555B153   KAYLA          HALL                     AR           90005506755
81633141172B29   JOSEPH         CHARLES                  CO           90002011411
816342A3555945   OSCAR          BARBA                    CA           90014482035
8163515865B183   ALEXANDRA      COX                      AR           90014161586
8163535865B581   GUSTAVO        ALDERETE                 NM           90011403586
81639837A9712B   ALLIO          BLONDI                   OR           90012608370
8163B651672B93   KERRIE         BOWEN                    CO           33091066516
8163B679A47897   QUINTONNIA     HAMPTON                  GA           90012126790
8163B931471977   CINDY          VALENZUELA               CO           38091049314
8164135A28B154   TONYA          DRUCE                    UT           90014623502
81642281274B7B   BRIAN          CLARK                    OH           90014072812
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8164284A15B338   SALVADOR         BELLMONTE               OR           90002838401
8164361A62B956   JOE              ESPARZA                 CA           90010946106
816443A5A9712B   ALISA            CONRAD                  OR           90007743050
8164498128B154   MARC             BLACKBURN               UT           90013909812
8164538A172B62   ESTAPHEN         HUMILDAD                CO           90007193801
8164583A49154B   DAVID EDUARDO    YUDICO                  TX           90013208304
8164768314B22B   JAMES            GOMEZ                   NE           90012096831
81647A32247897   HEATHER          DANIELS                 GA           90010850322
8164B82669712B   HEIDEI           WITNIK                  OR           90013328266
81652558997B38   JARED            MCCAIN                  CO           90014445589
8165496A893771   JAMAR            SANDERS                 OH           90010789608
81655886172B44   MAGDALENA        PORTILLO-CABRERA        CO           90014848861
8165782719712B   LUCLYN           AMO                     OR           90010558271
81657862472B44   RYAN             HERSEL                  CO           90010418624
81657968A72B44   ALMA             MUNOZ                   CO           90009399680
8165949AA8B192   JEANNINE         WIRTH                   UT           90010844900
816611A235B581   JUSTIN           MACK                    NM           90015041023
81662A38A91525   RAQUEL           ALAN                    TX           90003960380
81663244172B62   AIOTEST1         DONOTTOUCH              CO           90015122441
8166432185B183   TAMMIE           SMITH                   AR           90014163218
8166432382B28B   ANTIONETTE       COLEY                   DC           90011133238
816646A6185856   JOSEPH           GEBHARD                 CA           90012976061
816654AA172B29   CATRINA          GONZALEZ                CO           33036394001
816656AA585936   AJAY             JONES                   KY           90005086005
81668152372B37   LORICA CHERRIE   HRUBES                  CO           90011211523
8166B56689154B   GABRIELA         CELIS                   TX           90005425668
8167135A391975   APRIL            MGON                    NC           90014653503
81671A2A297B38   RIGO             BAUTISTA                CO           90010000202
816754A3291837   DEANZA           MIMS                    OK           90010694032
8167629A876B97   GUSTAVO          ROBLES                  CA           90011852908
81677667276B97   PEDRO            RAMIREZ                 CA           46073406672
8167B12A633698   WILD             CHILD                   NC           90009551206
81681353572B29   LAWRENCE         BALILI                  CO           90012913535
81682AA8172432   GABRIEL          PADILLA                 PA           90011690081
8168318239154B   GRACIELA         AGUILAR                 TX           90003351823
8168357A772B29   ANDREA           GARTRELL                CO           33026325707
81683594197B51   NOE              MEDINA                  CO           90008435941
8168475535B24B   DOMINIQUE        FRIERSON                KY           90011577553
8168599435B24B   SHAWANN          DOUGLAS                 KY           90013629943
81688194572B27   ANABELL          FLORES                  CO           39012171945
8168988A991525   GIOVANNA         ALLEN                   TX           75011538809
816914A3797B38   ALMA             LOZANO                  CO           90014504037
8169249348B168   WILLIAM          KOKOHU                  UT           90015094934
8169454A255945   ARMEN            MKHITARYAN              CA           90004885402
81695553872B62   JOSE             GONZALES                CO           90012095538
81695A29797B3B   STEVEN           SCHRADER                CO           90012710297
81696352372B44   BRITTANY         GONZALEZ                CO           90011603523
81699918A76B65   SETH             MCCOY                   CA           90009989180
816B2269161928   JUAN             BANALES                 CA           90010492691
816B3926772B44   VIVIAN           CARDINES                CO           90013009267
816B4998291979   RACHEL           MARSHEL                 NC           90014179982
816B5236A8B168   ALYSIA           GALLEGOS                UT           90011222360
816BB119897B38   MICHAEL          LOPEZ                   CO           90011511198
816BB695191975   JOSHUA           PEARSON                 NC           90012046951
8171179A89154B   OTILIO           SALDIVAR                TX           90012447908
81711926A47897   TAVAYA           FORESHAW                GA           90012679260
81711A14885936   PETER            MCKENNA                 KY           90012040148
8171232565B145   EMILY            LAWHON                  AR           90005443256
8171373598B168   ANDERSON         JORDAN                  UT           90013697359
8171553155B24B   AMEIR            KASHAN                  KY           90012395315
81717653597B3B   JENNY            BOVEE                   CO           90015146535
817195A5647822   KIMBERLY         BROADUS                 GA           90009985056
817199A4972B62   GUSTAVO          MEZE                    CO           90001939049
81722541297B3B   TINA             TYLER                   CO           90010065412
81724788A72B44   FREDERICK        GONZALEZ LEGARDA        CO           90013357880
81725847172B44   VICKIE           WARE                    CO           90013048471
817269A5947897   STARLETT         RUTHERFORD              GA           90011319059
817277A5272B33   DROOPY           WALLZ                   CO           90012987052
8172833A95B32B   MARTIN           VENTURA                 OR           90002533309
81728392372B62   RUBEN            SANTAMARIA              CO           90014153923
8172887668B154   JOSHUA           MADISON                 UT           90013728766
81729178A9712B   ROBERTO          DE JESUS                OR           90002901780
8172958425B32B   BRIANNA          BECK                    OR           90013405842
81731656A91979   MONIQUE          SMITH                   NC           90010936560
81731949276B97   JASMIN           TERRAZAS                CA           90009749492
817349A1A5B183   VICTORIA         BRYANT                  AR           90013319010
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81735677397B3B   JOSEPH         GUERRERO                 CO           90008546773
817378A8572B33   ANTONIO        ROSALES                  CO           90010678085
81742535297B38   GUILLERMO      ASTORGA                  CO           39094575352
8174593569154B   EVELYN         LIRA                     TX           90011129356
81746132A85936   NATASHA        WARFIELD                 KY           90010501320
8174779345B581   MIGUEL         SEDILLO                  NM           35039987934
8174872752B28B   DIONNE         LEWIS                    DC           90011737275
81748757997B38   RHON           ASH                      CO           90013037579
8174926A972B33   JOSE           LOPEZ                    CO           90003632609
817517A9172B62   JOSE           RODRIGUEZ                CO           90012017091
81751815472B33   DEVONTAE       WYATT                    CO           90013138154
8175328A197138   JOSE           PADILLA                  OR           90013292801
81755446472B33   ROGELIO        ORENDAY                  CO           33066554464
8175563655B183   JON            ANDREWS                  AR           90014166365
817556A198B154   CINDY          BARRIENTOS               UT           90006786019
81756A78576B97   MARIA          HOERTELANO               CA           46053750785
8175925489154B   JESSICA        BARAJAS                  TX           90012952548
81759564597B3B   KERRI          SCHWARZ                  CO           90008205645
8175981A45B24B   AMY            JACKSON                  KY           90004148104
8175B73712B28B   LARRY          CLAY                     DC           90011737371
81761A63772497   HARRY          DOLENCE                  PA           90004730637
8176215365B183   STACY          DAIN                     AR           90013031536
81763422972B33   GLENN          LOVELL                   CO           33037364229
817634A3547822   SHERREKA       OLIVER                   GA           90011884035
8176565355B183   EULANDA        RICHARD                  AR           90011076535
8176571A68B168   BEN            HUFF                     UT           90013867106
8176681455B581   KEVIN          ORDISH                   NM           90009778145
817674A2872B62   VERA           ARREDONDO                CO           90012814028
8176896A14B22B   BRANDY         GATSON                   NE           27098999601
8176B223355945   REBECCA        ALVAREZ                  CA           90013642233
8176B83949154B   ALBERTO        SALOME                   NM           75032408394
8177123274B22B   ADRIAN         GRAHAM                   NE           90011122327
8177146A972B62   MARISOL        SANCHEZ                  CO           90009354609
8177152AA85936   JEFFEREY       WIREMAN                  KY           90006825200
81772A88591975   EARL           MCLAUGHLIN               NC           90009010885
8177443146194B   ESPERANZA      REYNA                    CA           46091674314
81774985872B29   GERARDO        CARRILLO                 CO           33090659858
81776525A5B24B   ROBERT         DUNN                     KY           90014025250
81782687172B29   CARLOS         ESCOBEDO                 CO           90002606871
8178271A897133   JENNIFER       MILLER                   OR           90013907108
81784A2648B168   KRISTEN        NIELSEN                  UT           31006070264
8178559A497133   RAUL           CACHO                    OR           90007255904
81786612272B29   MARK           MADRILL                  CO           90010966122
8178913964B22B   JETT           LANOHA                   NE           27063571396
8178B568991975   CARMEN         RAND                     NC           90013875689
8178B963697B3B   WILLIAM        RIDDLE                   CO           90011939636
8179488589154B   GLADIOLA       RODRIGUEZ                TX           90011178858
81795883676B97   THOMAS         JANTZ                    CA           90013988836
8179698839154B   FRANCISCO      SANCHEZ                  TX           90012889883
81798542972B44   IVAN           MERAZ                    CO           90014445429
8179856A772B62   DRIYN          LAPENN                   CO           90011035607
8179B254472432   JESSICA        NEWMAN                   PA           90014652544
817B1378197B3B   BRAYAN         ACEVIZ                   CO           90010943781
817B182698B154   KEIALOHA       FEAO                     UT           90007788269
817B3145197B38   ERIK           GARCIA                   CO           90011001451
817B442899154B   ZENAIDA        LOPEZ                    TX           90013284289
817B59A7676B97   CHARLENE       MYRICK                   CA           90012929076
817B5A78141275   JHONN          CAROLAAN                 PA           90014740781
817B6A78772B44   PAOLA          CANDELARIO               CO           90006860787
817B987439712B   AMANDA         MITCHELL                 OR           90013258743
8181533218B163   LEANDRA        BEGAY                    UT           90011053321
81815A22A9154B   RODRIGUEZ      KAREN                    TX           90010480220
81815A62972B44   JAZIEL         MORENO                   CO           90012430629
81816411A93771   CAYSE          WILLIAMS                 OH           90012624110
81818A83233698   TREY           CRANDELL                 NC           90011120832
8181914175B32B   BRIAN          LEMING                   OR           90015121417
8181947475B32B   BRADY          LAWS                     OR           90011724747
8181B2A794B22B   BRADLEY        JONES                    NE           90014172079
8181B396397B3B   SERGIO         MERCADO                  CO           90010193963
8182136629154B   CESAR          FRANCO                   TX           90013793662
81821A44A55945   GULLERMO       CASTILLO                 CA           90012040440
81826155A47822   JONTAVIA       FORD                     GA           90013211550
8182921147B424   ROBERTO        SANTOS                   NC           90004592114
8182929439154B   ADRIAN         MADRID                   TX           90014842943
81829576272B29   JEREMY         STEVENS                  CO           90012245762
8182965485B331   MAURICIA       DAY                      OR           90000766548
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8182B76A98B168   MAURA          GOMEZ                    UT           90012767609
8183345589154B   VIRGINIA       VILLANUEVA               TX           90014514558
81835612272B29   MARK           MADRILL                  CO           90010966122
818363A8877537   RAYNA          BELWOOD                  NV           90012143088
8183748239712B   JOHN           IBAMBASI                 OR           44012114823
81837961A5B581   FABIOLA        PADILLA                  NM           90010539610
818381A4671977   JOSE           ALBARADO                 CO           90004271046
8183B53272B271   CHRIS          ROBINSON                 DC           90013935327
81842516172B62   JOSE           CAAMAL                   CO           33026085161
81842762297B38   GEORGIY        SVETLENKO                CO           90008537622
818429A3991837   RICARDO        JONES                    OK           90013949039
8184318675B183   DEANDREA       WILLIAMS                 AR           90010211867
8184418255B24B   ROLANDO        FUNDORA JAU              KY           90012951825
81844449A76B97   VAIU           ALE                      CA           90014844490
8184652328B168   YVETTE         VEZINA                   UT           90011465232
8184759A391837   ARUNN          BARNETT                  OK           90006675903
8184824A14B22B   LAURA          BOLLINGER                NE           27075122401
8184954279154B   JENNIFER       STIDHAM                  TX           90008265427
8184989898B168   LESLIE         PIKE                     UT           90010918989
818536A9597B38   KRISTINA       SANCHEZ                  CO           90010146095
8185378135B32B   MISAEL         ORTIZ                    OR           90002337813
81856727576B97   AMBER          BURD                     CA           46094547275
81857275272B62   ELIZABETH      ZAMORA                   CO           33053682752
81858981A97121   PAUL           CONKLIN                  OR           90014839810
8185B6A5697B38   WESLEY         MCELWAIN                 CO           39092276056
8186142728B163   ANNA           BECK                     UT           31081424272
81863283898B22   JOSE           MARTINEZ                 NC           90011562838
818635A555B581   LEANN          SANCHEZ                  NM           90005305055
8186718395B338   KNISHNEEL      LAL                      OR           90004521839
818674A629154B   LUIS           MENDIA                   TX           75087584062
8186763465B24B   DEBRA          TAULBEE                  KY           90014986346
81869267A93771   VARONNA        RAMEY                    OH           90014782670
8186B71A897133   JENNIFER       MILLER                   OR           90013907108
818711A1A72B62   KAREN          ZAMORA                   CO           33035361010
8187127A35B32B   ROBIN          PIGG                     OR           90012022703
8187284545B581   ARTURO         ALARCON                  NM           90004268454
81878717776B65   ANDRES         AGUIRRE                  CA           90010377177
8187929985B24B   JESSICA        MARSHEE                  KY           90012762998
8187B923677537   ROMAN          BURNS                    NV           43023799236
81881433A9154B   VANESSA        TALAMANTES               TX           90013874330
8188163689712B   MATHEW         LOUSICH                  OR           90013616368
81881A77872B62   BLANCA         CALDERON                 CO           90013930778
8188229A293771   SHEA           DUNN                     OH           90012122902
8188241999712B   MICHAEL        MERKLEY VINCENT          OR           90012264199
8188453125B581   ADRIANA        PAREDES                  NM           90002515312
81885993A61928   SANTIAGO       CERVANTES                CA           90011539930
8188624449154B   YAZMIN         TRIPP                    TX           90014932444
81887397572B44   EMIR           CASTRO                   CO           90008433975
818896A914B22B   NATE           GRIMES                   NE           90014546091
8189178179154B   EVELYN         HERNANDEZ                NM           90015037817
81892488497B3B   TANIA          MOOTRY                   CO           90012584884
81894569A8B163   JESSICA        GARCIA                   UT           90013925690
818972AA372B33   ANDREA         WOOLFOLK                 CO           90013732003
81897558676B97   GILBERTO       CALVILLO                 CA           90002435586
81897751572B33   DIEGO          ESCAMILLA                CO           90010357515
8189884135B32B   SHAMARA        BUNTON                   OR           44565188413
81898A9638B154   APRIL          SHARPLES                 UT           90010940963
818B2616873229   KIARA          WHITE                    NJ           90014186168
818B3564385856   ANDY           MARQUEZ                  CA           90012935643
818B36A469154B   JESSICA        CANDIA                   TX           90011906046
818B4147297B3B   FRANKIE        SISNEROS                 CO           90012251472
818B425838B163   BONITA         JACOBS                   UT           31007502583
818B545A797B3B   MARIANA        TRUJILLO                 CO           90008344507
818B589835B139   MONICA         RAGLIN                   AR           90012198983
818B5922797133   MICHAEL        CLINKENBEARD             OR           90014859227
818B7664A97121   KORA           MCCRAE                   OR           90011686640
818B916634B22B   MARTIN         HERNANDEZ                NE           90012441663
818B945368B168   VICTOR         GANDARILLA               UT           90013814536
818B95A3451362   VANESSA        KAYLOR                   OH           90012125034
818B9843641262   ALEXANDER      KARMANOV                 PA           90014648436
818BB22129282B   ISAIAH R.      TUCKER                   AZ           90013952212
818BB762985936   BRANDON        BISHOP                   KY           90012377629
81911223A51362   DESTINY        JONES                    OH           90014252230
81912176A76B65   OSCAR          TORRES                   CA           90012451760
81913232A51362   KENDRA         HOLDEEN                  OH           90005202320
8191331858B163   ISMAEL         MUNOZ                    UT           90014333185
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8191335A89712B   SHANOA         HAMMONS-WILLIAMS         OR           90012953508
819141A7651362   BRADLEY        ALLEN                    OH           66067451076
8191619A691975   EPHARIR        SMITH                    NC           90012141906
81917131397B38   SANTOSDO       VELASQUEZ                CO           90013801313
81919924672B33   NICHOLAS       MEKINNEY                 CO           90009919246
819225A728B163   WILLIAM        WILCOX                   UT           31098315072
8192288569712B   TRAVIS         REOPELLE                 OR           90011618856
8192512865B32B   MELISSA        ARRIOLA                  OR           90009121286
8192734759154B   JENNIFER       MUNOZ                    TX           90006183475
8192B397A4B22B   GABRIELLE      MILLER                   IA           90004633970
81931752897B38   LUPE           MUNOZ                    CO           90004107528
81931A5658B154   MARIO          HERNANDEZ                UT           90010790565
8193233995B581   SAHRAYA        DICKIE                   NM           90015053399
81933222972B62   JUNE           GARDNER                  CO           90004992229
81934767697B3B   LAURA          MARTINEZ                 CO           90012787676
819357A4772B44   VICTOR         RODRIGUEZ                CO           90014517047
8193637748B154   TAMMY          MODDERMAN                UT           90014173774
81938873A72B33   ROBERT         LANG                     CO           90010368730
8193887A58B154   CALSIE         DEMERY                   UT           31097838705
8193B87635B24B   ANETHIA        LAFAYE                   KY           90014728763
8194867A976B97   KATHERINE      LARSEN                   CA           90001476709
81948A4645B32B   SEAN           EASTMAN                  OR           90001590464
819497A8797B3B   MARIA          ANTILLON                 CO           39017137087
8195141415B338   COLLEN         SCHWAGER                 OR           44543154141
8195196348B168   ANNA           ALVAREZ                  UT           90010789634
8195211AA47897   AN TWAUN       SMITH                    GA           90007501100
8195255A997133   STEPHEN        OVCHINNIKOV              OR           90013225509
8195367189712B   ROSE           AUTUMN                   OR           90009266718
81958251997B3B   DENISE         JENSEN                   CO           90014152519
8195B165A72B62   HOSHI          CORONA                   CO           90007571650
8195B21548B163   VERENISE       SIGALA                   UT           90013522154
8195B689871977   JAYSON         FOURTNER                 CO           38063416898
81961151A8B163   RUSLAN         CARR                     UT           90013281510
819616A5191837   RON            PERRY                    OK           21016256051
81962459572B33   DANIEL         GAMBLE                   CO           33020044595
81963764372B62   MARSHALL       CLAY                     CO           90011507643
8196886739712B   CORRINE        ADDISON                  OR           90002948673
8196956167123B   MICHAEL        WHEELDON                 IA           90012815616
8196B547431433   TAMEKA         ECHOLES                  MO           90007265474
8196BA77872B62   BLANCA         CALDERON                 CO           90013930778
81971518A5B24B   DAVID          WILSON                   KY           90010665180
8197263775B24B   HARCOYA        RICHARDS                 KY           90014576377
81972932772B29   ANNASTACIA     HARDEE                   CO           90011879327
81972A55971977   TROY           BEAUCHAMP                CO           38066580559
81975748A97B3B   TROY           BRYAN                    CO           39085727480
81975A26972B62   GENIVA         PITTMAN                  CO           90005750269
81975A9A95B581   DEZRAY         DUNN                     NM           90011050909
819774A3493771   SIERRA         OSBORNE                  OH           90007594034
8197766A933698   YAEL           CASTRO                   NC           90003286609
81977A89647822   VERNISA        JONES                    GA           90012960896
8197B57A772432   NELSON         KLETZI                   PA           90013505707
81981134776B97   CARMELO        SALAZAR                  CA           90010091347
8198314A624B83   AIDOO          BRAXTON                  DC           90002711406
8198623329154B   CASSANDRA      MARTINEZ                 TX           90006402332
81988293A41275   EARL           YATES                    PA           90013522930
8198848A52B28B   LATASHA        CLIPPER                  DC           90007704805
8198B91679154B   SANDRA         ARREOLA                  TX           75013239167
81991529A9154B   IRAZEMA        NIETO                    TX           90012575290
8199197A12B28B   DAVID          ROSS                     DC           90006889701
81992931A85936   JOHN           TOUCHSTONE               KY           90013739310
81992AAA471977   PATRICIA       VALDEZ                   CO           90009820004
81993371572B44   ANDRE          MAURICE LYONS            CO           90008513715
81993948897B3B   COLTEN         KING                     CO           39062769488
81994933697B38   HOLLY          MCKNIGHT                 CO           39090339336
8199685A191242   EVELYN         WASHINGTON               GA           90014678501
8199756A471977   RAUL           CARRILLO                 CO           90012915604
819B1173772B29   ARTURO         ARRIETA                  CO           90013211737
819B192395B32B   GABRIELA       CARRILLOS                OR           44586149239
819B29AA58B154   CIANN          MODDERMAN                UT           90012599005
819B37A8285936   KELSI          FOSSON                   KY           90009347082
819B429762B28B   KNNEDEY        KISS                     DC           90010522976
819B5583155945   MARIA          ARAUJO                   CA           90014175831
819B599915594B   BRADLEY        JAURIQUE                 CA           90010799991
819B6419547897   ERROL          KNIGHT                   GA           90014874195
819B753275B24B   KATHERINE      HAWTHORNE                KY           90014025327
819B848A84B527   SHAMESHA       LAWRENCE                 OK           90010404808
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819B9851197121   EFRAIN             DE LEON              OR           90014378511
819B9A23A9712B   DERREL             URBAN                OR           90010520230
819BB643651362   MARK               RINER                OH           90012246436
819BB697797133   ADAN               SILVA AGUILAR        OR           90015196977
81B11244997121   AZUCENA            GARZA                OR           90009562449
81B12A75947897   BRIANA             STEPHENS             GA           90010210759
81B14143691975   RODOLFO            CASTILLO             NC           17016121436
81B1466998B154   GUSTAVO            GUTIERREZ            UT           90013156699
81B1516A947897   ANTOINETTE         FLORES               GA           90010111609
81B18715191525   CHRISTINA          MOLINA               TX           90009127151
81B18A96484325   SHARON             GRAHAM               SC           90013540964
81B26177276B97   JUAN               ORTIZ                CA           90012661772
81B26938A41262   FELICIA            SOLOMON              PA           90014589380
81B28692691975   ISAIAH             MCFARLAND            NC           90010106926
81B294A3A97B3B   MELISSA            HURD                 CO           90015074030
81B2958655B183   MARVIN             NELSON               AR           90014745865
81B2B5A4341262   KANDICE            GERMANY              PA           51037105043
81B31524393723   SHIRLEY            DUNSON               OH           90009335243
81B31583947822   DARRELL            SMITH                GA           90001765839
81B31592151362   CHERI              WARE                 OH           90007385921
81B3174AA8B168   JHONY              MENDEZ               UT           90010147400
81B32648297B38   JOSE               RUIZ                 CO           90003056482
81B328A7585936   EDGAR              GAUCIN               KY           90014728075
81B33296972B62   MARK A             GABZDYL              CO           90012402969
81B3415188B168   KALYN              SAWYER               UT           90003471518
81B346A7597121   MATTHEW            THEELER              OR           44097256075
81B34A44447822   WILLIAM            PIKE                 GA           90015110444
81B353A8A72B44   ARTURO             ALVAREZ              CO           90012743080
81B35538493771   TEQUIA             MILES                OH           90011065384
81B3689678B168   NATHAN KINGSBURY   ALYSSA KINGSBURY     UT           90014548967
81B4363A977537   MIKEL              COAST                NV           90011606309
81B43822472B44   VERA               VENEGAS              CO           90011118224
81B44666341232   LISA               WILLIAMS             PA           90015086663
81B47665672B29   BRIAN              MCCARTHY             CO           90014136656
81B48175972B33   MAUREEN            AEVERMAN             CO           90003671759
81B4867A55B24B   SANDRA             HORAN                KY           90014226705
81B4B54395132B   VINCENT            GEORGE               OH           66017005439
81B5289A172432   JAMI               SPINA                PA           90006088901
81B5297985B145   ALBERT             GARDEA               AR           90011839798
81B53847285856   AIOTEST1           DONOTTOUCH           CA           90015128472
81B539A3677537   KENNETH            LANE                 NV           90015179036
81B54252972B44   MICHAEL            SCOTT                CO           90012122529
81B56531991979   ANGELA             CARRINGTON           NC           90014155319
81B56911141262   LARRY              JOHNSON              PA           90010859111
81B5711329154B   DONALD             LAMENDOLA            TX           90009731132
81B592A8977537   JOSHUA             TILLIER              NV           90013502089
81B5B282171977   MATTHEW            QUINTANA             CO           90010752821
81B6181848B163   KELLY              BLACK                UT           90011948184
81B62943491242   RAYMOND            CRUMPTON             GA           90012769434
81B6295625B145   MICAH              KELLEBREW            AR           90014719562
81B63338991975   ALEXANDER          ALALOS               NC           90004613389
81B644A7957142   MELVIN             LEMUS                VA           90011054079
81B6593AA72B44   NIDIA              PACHECO              CO           90013639300
81B66A59897138   TABYTHA            MERKWAN              OR           90014020598
81B6B422297121   DANIEL             LOPES                OR           90011624222
81B75159177537   CHRISTINA          CLEMENTS             NV           90012601591
81B7535325B32B   TA SUE             WIN                  OR           90015133532
81B7691669712B   JACOB GENE         SHORT                OR           90012219166
81B77931A91922   CARLOS BENITO      JUAREZ GARCIA        NC           90008019310
81B7926838B163   ANGEL              STUCKMAN             UT           90014002683
81B83A37685856   SHANNON            FRANCIS              CA           90015270376
81B841A735B183   JOHN               JOHNSON              AR           90009161073
81B8447838B154   JEREMY             NELSON               UT           90011524783
81B85933371977   TAMMIE             SETSER               CO           90001849333
81B88343372B29   LONY               JEFFERSON            CO           90012913433
81B89578772B44   BRITTNY            TRUJILLO             CO           90003405787
81B8963345B338   DONNA              DRAKE                OR           90004016334
81B8B19765B145   CHERYL             JACKSON-GOLDEN       AR           90010201976
81B8B62A68B168   BRANDY             GARDNER              UT           90012476206
81B91128947822   LASHONDA           HOLLINGSHED          GA           90013541289
81B9191268B163   JACQULYN           RACHELLE             UT           90003639126
81B9197979154B   DOLORES            TOVAR                TX           90014779797
81B92A1AA72B49   VIRGINIA           EDITONE              CO           90013590100
81B94989197B3B   LOUISE             ESPINOSA             CO           90010709891
81B96153833698   TRACE              WATERS               NC           90014711538
81B97753872B44   ROGOBERTO          VIVEROS-BACA         CO           90012617538
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81B9799676194B   DOMINGA           MEJLA                 CA           46015319967
81B9817595B338   JENNIFER          KABOYO                OR           44573401759
81B99351597121   SHASTA            ELLINGTON             OR           90005293515
81BB2291891532   ROCIO             GONZALEZ              TX           75056152918
81BB4446591242   FLORENCE          ELLISON               GA           90012854465
81BB468878B163   VINCENT           SADLER                UT           90011606887
81BB645878B168   RICK              OLSEN                 UT           90014874587
81BB6521247822   SHANICE           CURRY                 GA           90014955212
81BB671745B581   MARTHA            PARSONS               NM           90014947174
81BB77A5797133   RYAN              MORRIS                OR           90014417057
81BB8718A76B97   ERIK              MICHAELS              CA           90013017180
81BB8934541262   TINA              LANG                  PA           90014589345
81BBB111891975   SHAWANDA          DEW                   NC           90008601118
81BBB33A797133   FRANCISCO         JUAREZ                OR           90011063307
82111813797B3B   MARIA             CONTRERAS             CO           90013888137
82114945A72B33   JAMILYA           KENNRDY               CO           90007539450
8211712316194B   CUAUTEMOC         CORONEL               CA           90010891231
82118473776B68   JAMES             BEATTY                CA           90014494737
8211B74396194B   EMILIA            HERNANDEZ             CA           90008387439
82121245197B68   AIOTEST1          DONOTUSE              CO           90015122451
8212185134B22B   IRMA              NUNEZ                 NE           27013078513
8212264654B524   JANICE            KELLEY                OK           90010376465
821287A863B175   GEORGE            JOHNSON               DC           90012547086
82128963A76B68   IRVING            VILCHIS               CA           90013019630
8212932A561928   MARIA             PULIDO                CA           90011293205
82129883472B44   ALBERTO           PARRA                 CO           90012628834
8212B754972B33   HECTOR ALFONSO    CARTAGENA GALDAMEZ    CO           90010877549
8212B7A975B183   RANDOLPH          MORGAN                AR           90012787097
82131236A76B97   DESTINY           MITCHUM               CA           90015062360
8213172715B183   JASMINE           CAMP                  AR           90009497271
8213231155B581   MARIA             OBREGON               NM           90008303115
82132474376B97   ESTHER            MORENO                CA           90008454743
8213283416199B   JOSEPH            BACA                  CA           46099198341
821328A429154B   LORRAINE          DURAN                 TX           90010428042
8213437918B168   EASTHOPE          NIKKI RAYLYNN         UT           90006263791
82138345176B68   CHRISTOPHER       SANCHEZ               CA           90010353451
82139251372B29   TYRON             HICKS                 CO           90013602513
82139686172B44   MARTHA            BRINLOW               CO           33081936861
82142245197B68   AIOTEST1          DONOTUSE              CO           90015122451
82143657876B97   SERGIO            MURILLO               CA           46059326578
82143A15576B68   NORBERTO          AGUILAR               CA           90014920155
8214574415B139   STEVEN            HOWELL                AR           90006717441
8214581525B153   SHAHEED           BLAKELY               AR           90014598152
82146627176B68   ROCIO             REYES                 CA           90001446271
821479A5497B38   ELIZABETH         DYER                  CO           90009659054
82149193A81627   KAYLIN            DUNKIN                MO           29067961930
821493AA691979   RAMON             VIZCAYA               NC           90012093006
82149689676B68   ALISA             SILVERSTEIN           CA           90012776896
82149A89476B97   JESSICA ANTONIA   HUERTA                CA           90012720894
8215198665B153   ALMA              GIBBS                 AR           90012799866
82155A15791975   MARY              VELEZ                 NC           90010830157
82156A23A5B326   MARCO             MORALES               OR           90011540230
8215942966194B   ERIKA             VILLARREAL            CA           90014834296
8215B27785B523   VINCENT           ALDERSON              NM           90010662778
82163124A33698   TARA              HUSSEY                NC           12012651240
8216466818B168   TRINA LEE         CHARLESWORTH          UT           90011236681
8216626AA76B97   MARIA             ARELLANO              CA           90011132600
82169781372B33   EDWARD            MEHALICK              CO           90013127813
82169826772B62   ELEANORA          ANDERSON              CO           90014488267
8216B987397B3B   HEATHER           COLE                  CO           90010979873
821711A6885936   EBONI             BAILEY                KY           90014561068
8217147558B163   MIRNA             ZAVALA                UT           90013804755
821714A1772B29   VICTOR            MARTINEZ              CO           90012114017
821716A8285623   NEUTEMBER         HERNANDEZ             NJ           90010706082
8217517358B154   KELLY             HEMINGWAY             UT           31020381735
82178842472B62   DAVID             MONTOYA               CO           90015058424
8217B794A91979   LINDA             PERRY                 NC           90000637940
8217B849381677   LADONNA           HENDERSON             MO           90010148493
8217B98A172432   DEBBIE            COOKSEY               PA           90013989801
8218115A272B62   TOBY              HARTMAN               CO           90010801502
82181313597B38   ANGELINA          GUEVARA               CO           90013773135
821823A8585936   ELISHA            WADE                  KY           90014443085
82183A55A5B326   JOSH              WHITE                 OR           90012930550
8218537665B183   TARRIN            GEORGE                AR           90013773766
8218787745B581   JAVIER            RODRIGUEZ             NM           90014158774
8218941A92B271   ARNICE            WILLIS                DC           90012014109
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82189A33372B33   MONIKA         BENJAMIN                 CO           90011830333
8218B42A241275   KELSEY         GRAY                     PA           90012944202
8218B64186194B   ORLANDO        RINCON                   CA           46078646418
82193623972B44   LARRAINE       HINOJOS                  CO           90013346239
82195A39A76B68   LUIS           ZAMUDO                   CA           90013650390
8219869735B326   MATTHEW        PAULUS                   OR           90013846973
8219B58814B22B   JEFF           BUCKWALTER               NE           90012085881
821B127153B391   ANGELA M       VALENTINE                CO           33041692715
821B1384941275   MICHAEL        OSHEA JR                 PA           51000073849
821B1AA595B139   SHANDRILL      THOMAS                   AR           23047860059
821B4923A47822   ANGELA         TINSLEY                  GA           90013019230
821B5416672B44   ANDREW         GILLETTE                 CO           90013354166
821B5737576B97   REINA          MIRANDA                  CA           90012127375
821B5923472432   PAMELA J       DENNY                    PA           90014609234
821B7892976B68   REYNALDO       CERVANTES                CA           90013038929
821B8262472496   SCOTT          WESTON                   PA           90013922624
821B865AA91975   ISAAC          GUTIERREZ                NC           90008716500
821B923A561928   GERALD         SHRADER                  CA           46072642305
821BB175681627   HOLLY          STARK                    MO           90013811756
822119A2651362   ELIZABETH      NAPIER                   OH           90014179026
82213A4348B135   KYLIE          JENKS                    UT           31006400434
8221422789154B   JUAN           MALDONADO                TX           90008172278
822144A965B183   REGGIE         WASHINTON                AR           90011374096
8221563A885856   AIOTEST1       DONOTTOUCH               CA           90015116308
822216A965B24B   JAMIE          GARBROUGH                KY           90015256096
822244A2861928   YULISSA        VAZQUEZ                  CA           90011294028
8222526758B154   RAUL           CALVA                    UT           31010292675
8222627913B388   TOM            SMATHERS                 CO           33023212791
82227811472B62   DAVID          HILL                     CO           90013038114
82228196A71977   SHARI          HERNANDEZ                CO           90014521960
822295A5591525   ADRIAN         RAMIREZ                  TX           90006795055
8222B36385B24B   CHRISTOPHE     MATTINGLY                KY           90009733638
8222B935797138   WENDEY         MARCUM                   OR           90012269357
8223222295B183   ERNEISA        DAVIS                    AR           90012332229
822368A8A71977   MARCEL         BAILEY                   CO           90013058080
82237585A41275   TERESA         DAVIS                    PA           90005805850
82239348672B44   EFRAIN         RIOS RODRIGUEZ           CO           90012503486
8223B182147897   SHARMEKA       KENDRICK                 GA           14061141821
8223B2A1A33698   ERNEST         MCCORKLE                 NC           90015082010
8223B763872432   ROBERT         FITCH                    PA           90014267638
8224224A297B68   ALEJANDRA      SANDOVAL                 CO           90013482402
82244136A91979   JEANETTE       HECK                     NC           90010621360
82244966872B44   MARIO          GUTIERREZ                CO           90011779668
82253A8895B326   ALYSSA         BRYANT                   OR           90010460889
8225895968B163   TONY           MOULTON                  UT           90011159596
8225971939154B   EVER           TORRES                   TX           90013307193
8225988815B326   MARIA          AYALA                    OR           90013798881
8225B593291979   NORMA          DIAZ                     NC           90012125932
8225B83A591979   CHRISTINE      BLOUNT                   NC           90015168305
8226251582B256   ANDRE          HEATLEY                  DC           90012925158
822634AA571977   AMBROSIA       MONTOYA                  CO           90013974005
82263A75297B68   HERNANDEZ      LUIS                     CO           90000970752
82265387972B44   ALEXANDER      CARCAMO                  CO           90014123879
8226612475B24B   CRYSTAL        PEDRO                    KY           90014431247
8226763999154B   ARACELY        PASILLAS                 TX           90011376399
82267691A72B44   JOSEPH         MILNES                   CO           90011456910
82269157297B3B   DOMNIQUE       MCKEE                    CO           90007361572
8226B842A72B44   JASON          BURGER                   CO           33095078420
8226BA11551362   JUSTIN         RUTHERFORD               OH           90015090115
822717A8A8B168   JAMES          DAVIS                    UT           90006587080
822752A576194B   ADELA          ORTEGA                   CA           90012052057
82276218A47822   SANOVIA        CONEY                    GA           90014622180
82278A21851362   CHRISTINE      ROBERTS                  OH           90014180218
822798A5871977   ABBY           DOMINGUEZ                CO           90009388058
8227B189A6B398   LESLY          LETOURNEAN               NH           90013881890
8227B613133698   TODD           BROWN                    NC           90008786131
8227B638A91979   ELEIA G        ROSALES                  NC           90012056380
8228137675B24B   BERNIE         MAC                      KY           90015343767
82281688976B97   MICHELLE       LUNCH                    CA           90012786889
8228198797B339   RITA           CHICAS                   VA           90009459879
8228266255B24B   AISHA          RHODES                   KY           68022606625
822855A5661928   ROBERT         CLAY                     CA           90011295056
8228628585B326   SHWANDA        PIERRE                   OR           44545872858
8228792944B22B   SCOTT          NEWELL                   IA           27018469294
822897A415B139   LASHONDA       WILSON                   AR           90006407041
822899A5157126   MARCO          RUSSO                    VA           90014009051
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8228B434A41262   EBONE            GUNN                   PA           90011304340
8228B95874B22B   GILBERTO         REYES                  NE           90013329587
8228B959931489   DOUGLAS          BOUCK                  MO           90013879599
8228B9A975B921   SAMUEL           FORDAHL                ID           90011649097
82292119472B44   JENNY            NGAN                   CO           90013771194
82292A89691975   DANIELLE         GIRARD                 NC           90008910896
82293A16372496   PAYGO            IVR ACTIVATION         PA           90013830163
8229442138B163   MICHELLE         LADALE                 UT           90011354213
82297937A81627   SHARICE          WILLIAMS               MO           90012919370
82299976676B65   SANTOS           HERNANDEZ              CA           90012519766
8229B258172432   HOLLY            HARTER                 PA           90008132581
8229BA96285936   MARK             GLAZE                  KY           90014580962
822B1111297B3B   DOMINIC          CORDOVA                CO           90013981112
822B1578776B97   JORGE            CAZAREZ                CA           90012865787
822B1695861928   RENE             AVILEZ                 CA           90003406958
822B237739154B   CARLOS ARMANDO   SAUCEDO                TX           90014163773
822B322789154B   JUAN             MALDONADO              TX           90008172278
822B3315A44348   RICHARD          BROWN                  MD           90007033150
822B396275B183   SHANNON          DUMAS                  AR           90009809627
822B4842791979   KEITH            WILLIAMS               NC           90000638427
822B5186497B68   JIMMY            ALVARADO               CO           90009651864
822B5189981627   KILA             JACKSON                MO           90014151899
822B5551472B29   MARTHA           VASQUEZ                CO           90013055514
822B6117981627   KISHA            HINSON                 KS           90013221179
822B647294B22B   WILLIAM          SUTTON                 NE           90011214729
822B6849941262   LEON             JONES                  PA           90014008499
822B7392397B38   MONICA           GONZALES               CO           90013183923
822B751148B163   THOMAS           BOYD                   UT           90012615114
822B8212872B33   CHRISTINE        SUPPES                 CO           90000282128
822B8238391975   TRENSET          ROSE                   NC           90014852383
822B9923472432   PAMELA J         DENNY                  PA           90014609234
82312427A33698   MARTIN           KHAMALA                NC           12075304270
82316854297B38   LAURA            HERNANDEZ              CO           90013218542
8231931138B154   DYLAN            GOELZ                  UT           90008963113
8231B411672B33   JERIKA           ROMERO                 CO           90011304116
8231B65718B154   MICHAEL          LAMBROSE               UT           90008066571
82321129372B44   JESUS            ACEVEDO                CO           90013771293
823211A528B163   SUSIE            THOMAS                 UT           90013241052
8232256A65B153   RICHARD          DUDSON                 AR           90015055606
8232282828B163   KENNON           LEE                    UT           90013358282
82323292497B3B   LEIGH            CURTIS                 CO           39079442924
8232622A272B62   KYRA             TAYLOR                 CO           90014292202
82326A32272496   DAVID            RONALD                 PA           90014770322
82328534572B33   ALLYSON          SCOTT                  CO           90014045345
8232992AA8B163   SHANE            PARRAMORE              UT           90012829200
823338AAA97B3B   MARTIN           SALAYANDIA-NORMAN      CO           90012128000
823355A335B24B   JUSTIN           CLARK                  KY           90010865033
82338548172B44   VALENTINO        GONZALES               CO           90011285481
823398A7351362   LAURA            RAMIREZ                OH           90011538073
8234344359154B   JOSE             GONZALEZ               TX           90014164435
8234468495B326   RYAN             DEATHERAGE             OR           90015246849
8234679A972B29   YESENIA          ENRIQUEZ               CO           90012847909
82349253572B33   CHARLIE          HOWARD                 CO           90012362535
8234975845B581   ROZIDA           CALABAZA               NM           90013867584
82349A18576B97   RAMONA           DUBLEY                 CA           90003830185
8234B2A7A2B271   SARAH            BROADY                 DC           81022802070
8235136928B163   RAUL             BUSTAMANTE             UT           90013393692
8235242A676B65   JUAN             GOMEZ                  CA           90014904206
8235284289154B   FRANCIZCO        LOZANO                 TX           90007428428
82354111297B3B   DOMINIC          CORDOVA                CO           90013981112
823561A4872B33   YVONNE           ITURRALDE              CO           90012421048
8235699334B933   LISA             RANDOLPH               TX           90012719933
82357A78181627   BENITO           MORALES                MO           29052230781
8235814295B153   DONNA            CHAMBERS               MO           90011071429
8235855834B967   ENRIQUE          LOVERA                 TX           76593775583
8235B51125B326   BRANDALYN        MYRICK                 OR           90014835112
8235B574471956   GABRIEL          RIVERA                 CO           90010355744
8235B796A5B581   PABLO            LUEVANO                NM           90010197960
8235B89185B326   PAYGO            IVR ACTIVATION         OR           90014658918
8236153A631449   VERONICA         MATOS QUINONES         MO           90011735306
82361555A72432   OCEAN            ORSKY                  PA           90014465550
82361A26872B44   EMILIO           MORALES ZAVALA         CO           90013200268
82365165453B82   SYLEIE           ABREGO                 CA           90014651654
82369159376B97   PETRA            ALVARADO               CA           90012991593
82369346776B65   SORAYA           SANCHEZ                CA           90010763467
82369816297B38   PATRICIA         GARZA                  CO           39030538162
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8236B24336194B   AARON             NOWLAN                CA           90011872433
82371841972B29   DANNY             GARZA                 CO           90011308419
82373511597B38   JOE               ESPINOZA              CO           90013395115
823749A9876B97   JAMINE            SMITH                 CA           90011109098
8237524138B154   LINDA             RIDDLE                UT           31054102413
8237639164B556   ASHLEY            JACKSON               OK           90011633916
82377442176B68   ERIC              GONZALES              CA           46006394421
82377AA715B24B   PATRICK           WEBSTER               KY           90014830071
8237891A597B3B   DESIRAEH          HOWELL                CO           39049649105
8237935679154B   GILBERT           MENDOZA               TX           75025873567
8237948535B24B   STANLEY           ALMON                 KY           68005634853
82381951176B68   LAWRENCE          KESSLIN               CA           90014589511
82382766A8B163   JENNIFER          FREDRICKSON           UT           90013097660
82383A48181627   MERCED            SERRATO               MO           90013550481
8238685645B153   SHAHEED           BLAKELY               AR           90014598564
82387524676B68   GUIDO             CORTE                 CA           90013005246
82388327997B38   SHANIAH           COOKLIN               CO           90013093279
8238B3A749154B   ILIANA            HOLGUIN               TX           90008423074
8239165A68B154   MARIA             MIRANDA               UT           31022406506
8239214645B153   LARRY             JOHNSON               AR           90012761464
82392549397B3B   MARIANA           MARTA                 CO           90012135493
823967A825B153   RUSSELL           GRAY                  AR           23010827082
8239838855B581   JOSEPH            LUERAS                NM           90010293885
82399A4125B24B   SHERYL            HOLLINGSWORTH         KY           90013890412
8239B184585856   SAMANTHA          PERRY                 CA           90011131845
8239B185A51362   LESLEY            SMITH                 OH           90014181850
823B16A938B154   MATTHEW           BUTTERFIELD           UT           90014146093
823B1A51851362   GERARDO           RODRIGUEZ             OH           90014180518
823B2245197B68   AIOTEST1          DONOTUSE              CO           90015122451
823B243A872496   TYRA R            MASON                 PA           90008544308
823B2671872B29   KIA               GRIFFIN               CO           90014726718
823B3245197B68   AIOTEST1          DONOTUSE              CO           90015122451
823B5511191975   BRANDY            MCINTYRE              NC           90007335111
823B9A86976B65   DANIELLE          DENNIS                CA           90010490869
823BBA55772432   STEPHANIE         RICHTER               PA           90008870557
824195A159154B   AMY               BABCOCK               TX           90014165015
8241BA74177537   MICHAEL           SMITH                 NV           43087380741
82422336372B29   KESHAWNAH         TAYLOR                CO           90006833363
82422A7365B326   NOE               CAMARGO               OR           90014660736
8242464654B524   JANICE            KELLEY                OK           90010376465
824249A525B581   JULISA            VILLA                 NM           90010959052
8242542A56194B   ROBERTO           SUAREZ                CA           90000224205
8242659235B581   DEBBIE            LUCERO                NM           35074815923
82428A89A91837   JANETTE           BIRMINGHAM            OK           90014700890
82429546997B3B   MICHAEL           MARTINEZ              CO           90014865469
824312A5691975   ANGEL             RIVIERA               NC           17072552056
82434653A81677   TEDDY             BURNETT               MO           90014516530
82434A5395B581   SHAUN             CALABAZA              NM           90014200539
8243796376194B   MARY              GLOVER                CA           90000859637
82438A35493771   SIERRA            BERGHHOEFER           OH           90008700354
824395A629154B   SAMANTHA          BAILON                TX           90014165062
82439733A33698   ESPERRANZA        VINCENT               NC           90008577330
8244198665B153   ALMA              GIBBS                 AR           90012799866
82442318A91837   DEBBERA           SHINN                 OK           21092233180
82442A3415B326   MARIA             GARCIA                OR           90012150341
8244533726194B   FEDERICO          MORENO                CA           90012303372
82445689972B29   CARLOS            ROSALES               CO           90002316899
8244583614B967   NICHOLE           JOHNSON               TX           76501688361
824468A9772B62   TYWON LAVELLE     ANDERSON              CO           90012098097
82447343172B44   MARISA            SALINAS               CO           90008953431
824485A749154B   JESUS             CRUZ                  TX           90014165074
8244867938B154   ZACHERY           COVER                 UT           31096086793
82449A61447822   BERNICE           HOWARD                GA           90014640614
8244B585376B68   BRENDA            SANCHEZ               CA           90009185853
8244B75495B229   SHEREE            HOLT                  KY           90007947549
82451741372B29   BRITTNEY          STANTON               CO           90010277413
8245179978B163   FLASHED           PHONE                 UT           90011217997
82451A4375B326   JENNIFER          SCHEER                OR           90012150437
8245212628B154   KEVIN             LOUGHRIN              UT           90008341262
82452A2A95B183   BRANDY            SHORTER               AR           90011180209
8245686552B236   DOMINIQUE         MBACHIE               DC           90001438655
8245974175B326   LATISHA           CAESAR                OR           90013067417
8245B414672B62   MARIA             RODRIGUEZ             CO           90001484146
8245B75712B271   TALESHA           FOWLER                DC           90010797571
8245B942991979   FRANCISCO ANGEL   GONZALEZ              NC           90007989429
8246127AA76B68   TRIXY             MOLANO                CA           90014502700
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82461788497B3B   JOSE             JARAMILLO              CO           90014687884
8246261895B581   ROBERT           WILLIS                 NM           90007526189
8246574126194B   MEGAN            KETTMANN               CA           90001997412
8246785595B153   BRANDI           TERRY                  AR           90012398559
82471119872B62   BEATRIZ          HERNANDEZ              CO           90004001198
8247322775B581   ROBIN            CANDELARIA             NM           90013412277
82473365A93771   LESLIE           SHORT                  OH           90005073650
82473A74161928   VANESSA          VERA                   CA           90013100741
82475353172B29   EFLIS            MICKY                  CO           90012903531
82476175376B65   TIMOTHY          DOLAN                  CA           90010511753
824773A2541262   STEPHANIE        JAMES                  PA           90009583025
82477741A9154B   KARINA           ROMERO                 TX           90011667410
8247821269154B   JOHN             MARTINEZ               TX           75004792126
8247834145B153   RICK             JOHNSON                AR           90014303414
82479245197B68   AIOTEST1         DONOTUSE               CO           90015122451
8247936585B581   GUSTAVO          RAMIREZ                NM           90011153658
8247BA8865B24B   SAMANTHA         HENSLEY                KY           90014810886
82483384972B62   JENNY            FLORES                 CO           33064233849
8248474149154B   GILBERTO         GUERRA                 TX           75089307414
8248482375B153   QUEENA           JOHNSON                AR           90014278237
8248516365B326   GORGONO          CARRANZA               OR           90010461636
82487927A8B154   CHAD             JACKSON                UT           90011689270
82488235872B62   LAUREN DARLENE   CORDOVA                CO           90013352358
82488482197B38   MARTINA          SOLIS                  CO           90012504821
82489597A91979   JONATHAN         MEJIA                  NC           90014845970
8249149289154B   EDGAR            MARES                  TX           90005144928
8249518138B154   ANGELICA         BATON                  UT           90012901813
8249793295B326   TIMOTHY          DREYER                 OR           90008749329
82498398476B65   MOISES           LOPEZ                  CA           90010773984
824986A1285856   JONGHUN          PARK                   CA           90012696012
824B168A641262   JAMMIE           GRIMES                 PA           51027626806
824B2584381627   PHILLIP          GEORGE                 MO           90014635843
824B477A697B68   CINDY            FLORES                 CO           90010277706
824B4858461928   DEBORAH          ENGELHARDT             CA           90009778584
824B5A21A5B581   MATHEW           VARGAS                 NM           90006810210
824B6938791837   CURTIS           VOSS                   OK           90012839387
824B7256985623   JULIE            LOPEZ                  NJ           90008342569
82511A77747822   JOSEPH           STEWART                GA           90013130777
825137A2591975   MEISHA           BRIGGS                 NC           90013307025
825179A425B153   SHAHEED          BLAKELY                AR           90014599042
8251855219154B   CHRIS            GALVEZ                 TX           90014165521
8251B471971977   DAVID            GARCIAL-BELARDE        CO           90011314719
825218A9591979   MAGDELINE        CARROLL                NC           90012498095
82521A32381627   MAYRA            ESCOBAR                MO           90013980323
8252224A771977   CHRISTINA        BIK                    CO           90014912407
8252247765B24B   ANDREW           FROST                  KY           90013274776
825226A8A81677   CESAREO          RAMIREZ                MO           90013116080
82523848672B62   CHRISTINA        HAGAN                  CO           90003478486
8252585888B163   VISESIO          SUA                    UT           90011218588
82525A99884325   STEPHANIE        ROOKER                 SC           90011130998
82527178A72496   DAVID            MALOVICH               PA           90011641780
82528228A71977   MANDY            LEYBA                  CO           90012882280
8252834468B154   TIRHAS           HDISH                  UT           90012703446
82529AA9A61928   ANGELES          LOPEZ                  CA           90011300090
8252B866A72B29   FAUSTITO         FLORES-SOLIS           CO           90011188660
825315A795B183   KATRENA          FINLEY                 AR           90001975079
82532858876B68   ALBERT           PERTRICK               CA           90013298588
8253434656194B   LYNNE            MCCARTHY               CA           46047913465
8253514A39154B   MARIA            ESCOBEDO               TX           90000651403
82536A41772B44   KELLIE           ROTH                   CO           90004330417
825381A6697B38   HERIBERTO        SANTOS                 CO           90013981066
825397A7591837   TRISTAN          OWENS                  OK           90013647075
8253BA62A61928   PATRICIA         JIMENEZ                CA           90014590620
8254514A39154B   MARIA            ESCOBEDO               TX           90000651403
8254616749154B   IVAN             CENICEROS              TX           90012981674
825463AA472496   BOBBIE           BROWN                  PA           90013993004
82546614372B33   TROY             HENDERSON              CO           33014896143
82547429772B33   TYKESHA          SIMONS                 CO           90009234297
82547612572B33   TYKESHA          SIMONS                 CO           90013906125
82551A4695B183   PRISCILLA        HARPER                 AR           90014110469
8255619546194B   LIDIA            LOPEZ                  CA           90010891954
8255658529154B   PRISCILLA        ACEVEDO                TX           90014165852
82557716A91242   JARON            MULLINS                GA           90011187160
82558865297B38   SUSETTE          RENDON                 CO           90013058652
8255B186261928   MANUEL           BAEZ                   CA           90013631862
8255B31A376B65   CESAR            RAMIREZ                CA           90013923103
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8255BA29671977   THOMAS           VILLANUEVA              CO           90013820296
82561A8726194B   MARTHA           RUBIO                   CA           90012740872
825634A3176B97   SEAN             MURPHY                  CA           90011324031
8256366364B22B   EMILY            OLSON                   NE           90012096636
825653A8372B44   CHRIS            MULLINS                 CO           90013243083
82569951A91837   TAYLOR           WORTH                   OK           90015159510
8256B469191975   WILLIAM VERNON   THOMAS                  NC           90010654691
8256B64486194B   SALBADOR         MURATALLA               CA           90013406448
825721A5293771   JOSH             ONEAL                   OH           90011901052
82573469397B3B   GEORGINA         JIMINEZ                 CO           90011304693
82574463476B68   JESSE            VELASCO                 CA           90012884634
82576245197B68   AIOTEST1         DONOTUSE                CO           90015122451
82577245897B68   AIOTEST1         DONOTTOUCH              CO           90015122458
82578573A5B183   BILLIE           SMICH                   AR           90014975730
82579245897B68   AIOTEST1         DONOTTOUCH              CO           90015122458
8257B314976B65   REYNALDO         MENDOZA                 CA           90012893149
82581245897B68   AIOTEST1         DONOTTOUCH              CO           90015122458
8258254A19154B   ARMANDO          ESQUIVEL                TX           90013415401
82582A82793771   EDITH            DANIEL                  OH           90014040827
8258519AA61928   ENRIQUE          HERNANDEZ               CA           90010331900
825859A665B24B   JEAN             ST CLAIR                KY           90014299066
8258641689154B   CARDONA          JESSICA                 TX           90011284168
8258657365B326   ANALILIA         ROSAS-VALENCIA          OR           90010155736
8258665A48B168   CHRISTOPHER      KEENER                  UT           90011546504
82587343A81627   ALLEN            MOUNTAIN                MO           90012953430
82588245897B68   AIOTEST1         DONOTTOUCH              CO           90015122458
8258834176194B   CINTHYA          PENALOZA                CA           90014123417
82589245897B68   AIOTEST1         DONOTTOUCH              CO           90015122458
8258B63A897B38   SARA             RIPPETH                 CO           90004076308
8258B732A41237   ASHLEY           CRAVENER                PA           90009477320
82592245897B68   AIOTEST1         DONOTTOUCH              CO           90015122458
825927A2172B33   MAGALU           ENGWANDA                CO           33087907021
8259335869154B   JOSE             RASCON                  TX           90009483586
8259372345B338   BRITTANY         GRATREAK                OR           44517557234
82594695772B44   ANNA             HALLORAN-FANTI          CO           90011226957
8259512A45B153   LEONEL           GARCIA                  AR           90012231204
8259662339154B   SAUL             REYES                   TX           90014166233
82596692897B38   SUSANA           SERVIN                  CO           90011286928
8259899385B535   STEPHANIE        JAMES                   NM           90010589938
82598A38372B62   ARMANDO          FRANCIA                 CO           90002400383
8259959A55B326   ERIKA            ROJAS                   OR           90012825905
825B1835633698   JESSICA          WILLIAMS                NC           90014758356
825B263868B163   BERLINDA         THOMAS                  UT           90013446386
825B3767476B97   SILVIA           RAMIREZ                 CA           46049447674
825B448179154B   JESSE            GUTIERREZ               TX           90011134817
825B4A2475B581   GONZALO          GONZALEZ                NM           90012910247
825B55A9672B62   JOSE             DIAZ                    CO           90011005096
825B6141397B3B   MELVIN           LOPEZ LOPEZ             CO           90013311413
825B7A45A47897   DOROTHY          DAVIS                   GA           90011120450
825B9776281627   FRANCISCO        GUZMAN                  MO           90013037762
8261163A75B326   MARK             HAMMOND                 OR           90011826307
8261375A172B33   CARLOS           PACHECO                 CO           90012107501
82615175972B44   DAVID            GONZALEZ                CO           90013611759
82615246197B68   AIOTEST1         DONOTTOUCH              CO           90015122461
82616246197B68   AIOTEST1         DONOTTOUCH              CO           90015122461
82616931276B97   STEVEN           PARVIN                  CA           90011159312
82617244172B29   AIOTEST1         DONOTTOUCH              CO           90015122441
8261815138B163   RIO              LOSELI                  UT           90009391513
82618246197B68   AIOTEST1         DONOTTOUCH              CO           90015122461
82619246197B68   AIOTEST1         DONOTTOUCH              CO           90015122461
8261946555B183   DARNELL          BROWN                   AR           90014874655
82621246597B68   AIOTEST1         DONOTTOUCH              CO           90015122465
82621394A71977   ASIA             KELLY                   CO           90012683940
8262164169154B   BLANCA           BERNAL DE MARQUEZ       TX           90014166416
8262178314B22B   JESSICA          KOHL                    NE           90011217831
82621A89961936   GREG             FLOREY                  CA           90007400899
82622246597B68   AIOTEST1         DONOTTOUCH              CO           90015122465
8262241A491975   SANDRA           BOWSER                  NC           90013924104
82623815576B97   CELEDONIA        GREGORIO                CA           46045158155
8262422198B154   MILIKA           TUUNGAA                 UT           90012872219
82625399776B68   PAULA            RAMOS                   CA           90013573997
82626A68181677   ALVA             BEASLEY                 KS           29037550681
8262755A497B38   S                DALE                    CO           90002875504
826282A6576B65   EMILIO           VILLICANA               CA           90011632065
82629246597B68   AIOTEST1         DONOTTOUCH              CO           90015122465
8262974A55B153   LOMAR            CONWAY                  AR           90009557405
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8262B898371977   WAYNE          SANDOVAL                 CO           90014768983
8262BA38291979   AMY-MARIA      ALEXANDER                NC           90014690382
82631246597B68   AIOTEST1       DONOTTOUCH               CO           90015122465
8263235395B139   KIMBERLY       AVERY                    AR           90008863539
82633246597B68   AIOTEST1       DONOTTOUCH               CO           90015122465
82633818472B44   JOHN           CONRAD                   CO           90012448184
8263559714B22B   AKOI           MAYN                     NE           90012465971
82636993776B65   GLORIA         LUNA SANCHEZ             CA           90013039937
82636993976B68   MICHELLE       MONTGOMERY               CA           90013459939
82637771572B44   ALEX           LOPEZ                    CO           90000887715
82638246597B68   AIOTEST1       DONOTTOUCH               CO           90015122465
8264119145B342   JOSE LUIS      VILLASENOR               OR           90004281914
8264146A972B29   ILLETA         MARSHALL                 CO           90006154609
82642AA9297138   VINCE          FOUTS                    OR           90004320092
82643A72A85936   RICHELLE       CLAY                     KY           90005950720
82644246897B68   AIOTEST1       DONOTTOUCH               CO           90015122468
82644958472B44   MATTHEW        BILLINGS                 CO           33017439584
82646245272B33   RAQUEL         HERNANDEZ                CO           90006822452
826462A5784325   STEPHANIE      JACINTO                  SC           90010172057
82647246897B68   AIOTEST1       DONOTTOUCH               CO           90015122468
8264825425B326   JULIA          SHANNON                  OR           44562762542
8264B774572496   PAUL D         BAIR                     PA           90011727745
82651246897B68   AIOTEST1       DONOTTOUCH               CO           90015122468
82653246897B68   AIOTEST1       DONOTTOUCH               CO           90015122468
82653444A91837   ANDREW         BOYKIN                   OK           90012814440
82654246897B68   AIOTEST1       DONOTTOUCH               CO           90015122468
826548A5A41262   JEREMY         ANDERSON                 PA           90012538050
82656246897B68   AIOTEST1       DONOTTOUCH               CO           90015122468
82656436776B68   KETRIC         DAVIS                    CA           90014994367
82657247397B68   AIOTEST1       DONOTTOUCH               CO           90015122473
82658557A76B65   JOSE           CORTEZ                   CA           90015135570
8265B53738B163   SHELBY         LUCERO                   UT           31092995373
82661247397B68   AIOTEST1       DONOTTOUCH               CO           90015122473
8266154516194B   MARIE          SANTANA                  CA           90011025451
8266169838B154   FRED           PEACOCK                  UT           90012586983
82661917A72B44   CRISTAL        CORONADO                 CO           90014179170
82662122172B29   FRANCISCO      LANDEROS                 CO           33058621221
82663247397B68   AIOTEST1       DONOTTOUCH               CO           90015122473
8266535395B581   BASILISA       RAMIREZ-MIJARES          NM           90013923539
8266653784B967   HORACIO        CEVALLOS                 TX           90004595378
8266B247397B68   AIOTEST1       DONOTTOUCH               CO           90015122473
826712A2785936   NIKITTA        HUTCHINSON               KY           90010422027
8267153729154B   STACI          PRADO                    TX           90012875372
82672247397B68   AIOTEST1       DONOTTOUCH               CO           90015122473
82672287497B38   RAMON          ZAMBRANO                 CO           90012812874
826723A568B163   TRINI          BAILEY                   UT           90011403056
82674942397B3B   CRYSTAL        FEIT                     CO           90014649423
82675A88176B97   IRVING         ROSALES                  CA           46046420881
8267664264B967   VILLEDA        ORTEGA                   TX           90005166426
82677A74441275   QUTI           BROADUS                  PA           90011120744
82678247397B68   AIOTEST1       DONOTTOUCH               CO           90015122473
826841A475B24B   WAYNE          STOUT                    KY           90013561047
82688248197B68   AIOTEST1       DONOTTOUCH               CO           90015122481
8268B127781677   CHERICE        DREW                     MO           90013961277
82691248197B68   AIOTEST1       DONOTTOUCH               CO           90015122481
82693729A5B183   CHARLES        WILLIAMSON               AR           90012767290
82694248197B68   AIOTEST1       DONOTTOUCH               CO           90015122481
82695248197B68   AIOTEST1       DONOTTOUCH               CO           90015122481
82695522372B33   RODNEY         SWIFT                    CO           33059595223
82696248197B68   AIOTEST1       DONOTTOUCH               CO           90015122481
82696355972B44   JOSE           PALMA-MADRID             CO           90010833559
8269679AA4B22B   CONSTANCE      SHELLY                   NE           90014347900
8269B197A81677   REBECCA        VOORHEES                 MO           90008001970
8269B248197B68   AIOTEST1       DONOTTOUCH               CO           90015122481
826B2362181677   CHAD           CROUCH                   MO           90014703621
826B263699154B   GABRIELA       SHIMSHOCK                TX           90014166369
826B3246197B68   AIOTEST1       DONOTTOUCH               CO           90015122461
826B3AA275B153   ROBERT         MITCHELLL                AR           90010100027
826B5539A72B44   ANGEL          PEREZ                    CO           90015115390
826B8246197B68   AIOTEST1       DONOTTOUCH               CO           90015122461
826B841553B38B   CHAMROEN       DUL                      CO           90012174155
827128A8761928   MARTIN         DIAZ                     CA           90013498087
827137A2A41275   GREG           HOWARD                   PA           90010857020
82714651133B26   CLEMENTE       GUTIERREZ                OH           90014376511
8271496A385936   ALISHA         GAMBLE                   KY           90013599603
827158A116194B   DAVID          NEWNAM                   CA           90013838011
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82717712476B65   MILTAN           HUDGENS                CA           90012897124
82717831697B3B   TERRANCE         WASHINGTON             CO           90002348316
8272528594B967   RHODA            BOYD                   TX           76500832859
8272B28228B168   ISSAC            VARELA                 UT           90009282822
8273173A491525   ROSA             HERRERA M              TX           90003207304
827343A6191975   SAMAIAH          PERAZA                 NC           90012783061
827349A3747822   WHITNEY          INGRAM                 GA           90014709037
827373A278B154   MERANDA          GREENHALGH             UT           90013513027
82737A15376B68   DIANA            ORTIZ                  CA           90014900153
82738856276B65   DANIELA          HERNANDEZ              CA           90010548562
82738963A76B68   IRVING           VILCHIS                CA           90013019630
827427A589154B   EVELYN           PORTILLO               TX           90014167058
82743529297B68   KELVIN DANIEL    LOPEZ                  CO           90010275292
82751698A61928   CHRISTIAN        HURTADO                CA           90014816980
8275184415B24B   CRYSTAL          HOME                   KY           90013998441
82752684172B33   SHAWN            RIVERA                 CO           90011206841
82753A39685856   SHARON           CLARK                  CA           90012940396
82754596A97138   DAISY            BERLIN                 OR           90013045960
82754837A5B581   LEONCIO          SHARPPE                NM           90013918370
827548A5972B44   ARELI            VELASCO                CO           90013548059
8275678192B956   ENRIQUE          GOMEZ                  CA           90012157819
8275946517B635   KRISTA           KIMBLE                 GA           90010354651
82762327A72B33   JULIUS           JACKSON                CO           90013013270
8276331719154B   APRIL            DIAZ                   TX           90012413171
82764414772B44   SYEDA            AHMED                  CO           90008834147
8276512642168B   BRANDON          WILSON                 OH           90014581264
82765266376B97   NANCY            ESTRELLA               CA           90010922663
8276923285B326   JUAN             HERNANDEZ              OR           90011542328
8276928895B153   JASMINE          WATSON                 AR           90011012889
8276967375B153   JASMINE          WATSON                 AR           90012826737
82769934A81627   RONI             SIMMINS                MO           90008499340
8276B931371977   LARRY            ROMERO                 CO           90011309313
82774557872B44   RICARDO          CALLEJA                CO           90013655578
82775A6A891975   EVA              CHEER                  NC           90002970608
82776828A91975   TAWANYA          SMITH                  NC           90014318280
827769A9961467   APRIL            WARD                   OH           90015159099
82778115972B33   JOSE             RIZO                   CO           90010911159
8277881192B271   JOHN             HANCOCK                DC           90012358119
82778837A5B581   LEONCIO          SHARPPE                NM           90013918370
8277B634172496   ROYAL            FINCH                  PA           90010056341
8277B847285856   AIOTEST1         DONOTTOUCH             CA           90015128472
8277B9A665B24B   JEAN             ST CLAIR               KY           90014299066
82781258776B68   LILIANA          GARNICA                CA           90010442587
8278663786194B   RASARIO          SARAY RITO             CA           46097236378
82788738472B62   JAMES            GOMEZ                  CO           90011037384
82789594272B44   VELASQUEZ        GABRIEL                CO           90011225942
8278B733A72B33   MICHAEL          ACQUFREDDA             CO           90012167330
8278B773897138   PJ               JOHNSON                OR           44058267738
82791A2A685936   KRISTEN          ANDRADE                KY           90005730206
82792524A4B967   LAKEISHA         MARSHALL               TX           90005195240
8279337975B183   KIWANA           HODGES                 AR           90013783797
827943A1941275   DAVID            BROWN                  PA           90013873019
8279787646194B   SAMUEL PAUL      LAVALLE                CA           90015058764
82797A78981677   SUSAN            LUCAS                  MO           90014020789
827B178314B22B   JESSICA          KOHL                   NE           90011217831
827B222198B154   MILIKA           TUUNGAA                UT           90012872219
827B7861A91975   ASHANEE          JENNINGS               NC           90012428610
827BB526797B3B   JOSE             JUAREZ                 CO           90013175267
827BB636176B65   ROBERT           YOUNG                  CA           90015156361
8281184A781677   AISHAH           SILAS                  MO           90014788407
82813A24971977   RAMONA           GONZALES               CO           90012340249
82813A52547822   KIMBERLY         DAWSOM                 GA           90014730525
8281448565B183   ALONZO           MONTGOMERY             AR           90012434856
8281525465B24B   JAKEISHA         GUIN                   KY           90012582546
828166A9A66134   VERONICA         PEREZ                  CA           90014186090
8281778965B581   CHRISTOPHER      YAZZA                  NM           90012527896
8281966576194B   ANTHONY          RAMSEY                 CA           90013476657
82821668476B68   RHOMEL           DERPO                  CA           90005656684
82822354376B65   GABRIEL          QUIROZ                 CA           90015183543
8282355A18B154   TAUMAOESENETOA   GALEAI                 UT           90014075501
82823A12591897   RACHEL           MOTON                  OK           90012360125
82823A62A5B581   LARRY            ESPINOSA               NM           90010960620
8282493A272432   KWEILIN          BECKNER                PA           90013929302
82825246A6194B   WILLIE           THOMSON                CA           90010892460
8282546A877537   TRAVIS           BLACKWELL              NV           90011104608
8282973A993771   DONITA           MEYER                  OH           90013427309
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82833543A72B44   GRUDNIEWSK       DOUGLAS                CO           90001695430
8283455A18B154   TAUMAOESENETOA   GALEAI                 UT           90014075501
828354A2541262   LATASHIA         JACKSON                PA           90014384025
8283645189154B   JOHN             WILLIAMS               TX           75092814518
82836483476B68   LUISA            PERTELLE               CA           90015274834
8283732AA97B3B   STACEY           SCHAEFFER              CO           90013393200
8283B345171977   JOLEEN           LAGUNAS                CO           90010543451
8283BA98851362   BRANDON          WESLEY                 OH           90006120988
82841427272B62   LARRY            DAVIS                  CO           90013764272
82843898776B68   RUBEN            MARTINEZ               CA           90013388987
82844824776B97   JULIE            RALPH                  CA           90011358247
8284568368163B   DAVID            HARVEY                 MO           90000416836
8284774489154B   KAROL            DIAZ                   TX           90014167448
8284854A991979   JOSUE            AMPARAN                NC           90012545409
82848715172B44   LUZ              URBINA                 CO           33067637151
82851526697B38   JOE              CASTILLO               CO           90014135266
8285232474B22B   YUCABETH         NYABURI                NE           90013933247
8285233895B581   FERNANDO         HERNANDEZ              NM           90000963389
82853312876B97   REGINALDO        JUETA                  CA           46021133128
82854A14947822   JAKERIA          PITTS                  GA           90009440149
82855A76581677   SHARON           DUNMORE                MO           90000850765
8285616A191837   VIRGINIA         WHITE                  OK           21009731601
8285891A333698   CURTIS           SUMMERS                NC           90010869103
828589A675B153   JALISA           SCOTT                  AR           90010109067
82859314372B44   DONELA           POWELL                 CO           90009393143
82859A21481677   NATHAN           SIEDLYK                MO           90014030214
8285B63A333698   CHESTON          WALKER                 NC           90014886303
82861113576B65   LEE              RIVERA                 CA           90010581135
8286198135B183   DARESHA          FREEMAN                AR           90012719813
8286358685B581   LARRY            GARCIA                 NM           90011155868
8286365A485936   ERIKA            FISCHER                KY           90005446504
8286531396194B   FERNANDO         OCHOA                  CA           90012553139
82865511997B38   PATRICIA         GREENLEE               CO           39047495119
82866356997B3B   ALEXIA           GARCIA                 CO           90014823569
82867189872B29   NORMA            ROMAN                  CO           33094401898
8286724AA72432   MELANIE          RIGGANS                PA           90012692400
828674A3241275   ROBERT           LABROSSE               PA           51095094032
8286795A772496   DAVID            MARTINKOVICH           PA           90008869507
82869A7A84B22B   DAKOTA           MYERS                  IA           90010270708
8286B537781627   EVELYN           MITCHELL               MO           90005015377
8286BA48841275   BILL             HORNING                PA           90012900488
82872464476B65   ROSA             ARREDONDO              CA           90013024644
82872538797B38   MAYRA            LEON                   CO           90013135387
828741A715B522   CELIA            ROCHA ALVAREZ          NM           90010841071
828764A989154B   LILIA            REZA                   TX           90010314098
828792A6785856   ANGEL            CABRERA                CA           90003892067
8287B639A61928   FLOYD            MORROW                 CA           90014606390
82883612176B97   SELENE           LOPEZ                  CA           46059606121
8288698655B24B   SOMIN            LEE                    KY           90007949865
82888572497B38   ANNA             CHAVEZ                 CO           90014935724
82889136372B29   GABRIEL          RIVERA                 CO           90013121363
82889168797B3B   JAMES            LANGDON                CO           90012451687
82889245A2B271   RYNIKA           JONES                  DC           81011552450
8288B98965B153   DENISE           BURNELL                AR           90005029896
82891A4776194B   ERIKA            PORFIRIO               CA           90013130477
8289225645B326   GEORGE           DERBY                  OR           90011552564
82892A3A547822   RIDGE            JOHNSON                GA           90014740305
8289371655B326   MICHAEL          TICEN                  OR           90014677165
8289376389154B   ANGELICA         GOME                   TX           90014167638
8289399A29154B   OSCAR            CARRILLO               TX           90012289902
82894AA9A5B153   LAURA            CAVANAUGH              AR           90005140090
82896719476B97   MENDEZ           FABIOLA                CA           90002267194
82896A97685936   TEMEKA           LESHALLE               KY           90014710976
8289B778672496   JAN              GEYER                  PA           51072077786
828B469824B22B   JOSE             TORRES                 NE           27042756982
828B492A547822   VICKIE           THOMAS                 GA           90014729205
828B9951176B97   DANIEL           PIERCE                 CA           90007909511
828BB69165B183   JAIME            ZARATE                 AR           90012236916
82912623172B23   ADOLPHUS         UGEH                   CO           33005856231
8291583856194B   JOSE             MEDINA                 CA           90012778385
8291827415B153   LATOYA           ALEXANDER              AR           90011112741
82918496976B65   PAUL W           BROOKS                 CA           90010584969
8291953A377537   ERIC             MELZO                  NV           90012495303
8291B452441262   TAVIOUS          FRANKLIN               PA           90011304524
82921222272B29   DANIEL           FISHER                 CO           90001672222
8292134615B183   LASHAUNDRA       TYLER                  AR           90010813461
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8292149A347822   OCTAEVIA       SMITH                    GA           90014744903
8292264A172B44   FRANCYNE       ESCALANTE                CO           33085136401
829226A3793771   TWEET          TWEET                    OH           90010746037
82922977272B62   TYLER          HARR                     CO           90009409772
82923A59141262   ROBERT         FULTON                   PA           90011180591
8292471A881627   BRITTANIE      WATSON                   MO           90012877108
82925A68997B38   JENNIFER       SHEETZ                   CO           90014050689
8292952518B168   VICTOR         CASTRO                   UT           90010025251
8292B673197138   SHAE           STEDWELL                 OR           90009196731
8293225178B154   RACHEL         WINGER                   UT           90010122517
82941A4AA85856   SHANNAH        JOHNSON                  CA           90011360400
8294219792B956   TA QOUIYA      WHITE                    CA           90012571979
82943A55491975   SKIES          GRAY                     NC           90010220554
82943AA519154B   MARIA          CHAVEZ                   TX           75063750051
8294792674B22B   JIMMY          LAURITSEN                NE           90012929267
8294928A28B168   JACOB          ROBERTS                  UT           90010862802
82949477972B29   CAMERON        WASHBURN                 CO           90007614779
82956A1A176B65   FILIBERTO      GASPAR                   CA           90013040101
829571A178B154   DARREN         JOHNSON                  UT           90010361017
82957544897B38   GERARDO        HERNANDEZ                CO           90012155448
82957A13276B65   FILIBERTO      GASPAR                   CA           90013040132
82961A6464B967   LYNN           ROWELL                   TX           76597230646
82962774A5B153   BRANDY         HAMILTON                 AR           90001417740
82962A15772B44   MARIA          CASTILLO                 CO           90009220157
82963A75491837   CHRISTOPHER    HENRY                    OK           90013540754
8296515715B326   ELIZABETH      DELEON GUERRERO          OR           44562101571
82965655172B33   BARBARA        MCADAMS                  CO           33090516551
829658A2A9154B   BRENDA         SARINANA                 TX           90014168020
8296653A377537   ERIC           MELZO                    NV           90012495303
82969478A5B183   KEISHA         LIGHTFOOT                AR           90014854780
8296B23784B967   MARCA          CABERRA                  TX           90005322378
8296B575485936   DANA           KEYS                     KY           90011985754
8296B87A197B38   SERGIO         MARTINEZ                 CO           90013058701
8297173849154B   JUNIOR         SOTO                     TX           90011377384
82971A62A5B581   LARRY          ESPINOSA                 NM           90010960620
8297217785B24B   JOHN           YARBROUGH                KY           90014501778
82972863197B68   CLOUDIA A      ECLZKE                   CO           33071588631
829729A9661928   MANUEL         GARCIA                   CA           90013489096
8297636A272432   BRUCE          SMITH                    PA           90013443602
82977773872B44   TAE            BROCK                    CO           90009657738
829778A369154B   MIGUEL         MENA                     TX           90014168036
8297B52A276B65   MONICA         GARCIA                   CA           90013045202
8297B76379154B   MARIA          REYES                    TX           90014927637
8297B99626194B   ROBERT         SANCHEZ                  CA           90002879962
8298174989154B   ZAKEL          HOBBS                    TX           90011137498
8298458939154B   MEJIA          AMBER                    TX           90002575893
8298575A476B97   NANCY          SALINAS                  CA           90013257504
829874A4291525   ANGIE          ROCHA                    TX           90013804042
8298872854B22B   JESSY          CORDERO                  NE           90013547285
82989538A91525   NOHEMI         VIDANIA                  TX           75091295380
829957A348B163   WILL           KOELLIKER                UT           90013267034
82995A2445B183   ATILANA        ARJONA                   AR           23090770244
82997931A3163B   GERARDO        BEROMEN                  KS           90004099310
82999A4A676B68   BRENDA         JAIME                    CA           90007490406
8299B89745B581   CESAR          OROZCO LUGP              NM           90014158974
829B1219547822   NICHOLAS       EASLEY                   GA           90014742195
829B1644A81677   AMPARO         GOMEZ                    MO           90001126440
829B1719293771   JOSHUO         HAYES                    OH           90011077192
829B2712397B38   MONICA         HERNANDEZ                CO           90012867123
829B41A1885936   JASON          FRALEY                   KY           90012741018
829B7343847897   KARRY          BOWENS                   GA           90003573438
829B8554685936   ERNESTO        LOPEZ                    KY           90014195546
829B859A25B24B   SARA           WALLACE                  KY           90008605902
82B14317A5B581   GALA           PARSONS                  NM           90005903170
82B1475A88B145   ROBERT         MOLLER                   UT           31084887508
82B1535A533698   JAMES          WATERS                   NC           90012943505
82B163A8297138   KRISTIN        LEHMAN                   OR           90014283082
82B17441497B3B   KENNETH        MCIVER                   CO           90013094414
82B1856755B338   MERYL          HOVERKAMP                OR           44543185675
82B19131191893   JAMES          LEZCANO                  OK           21016001311
82B19327776B65   MARIA          MEJIA                    CA           90013303277
82B19835691242   MARIA          FUENTES                  GA           90011398356
82B19A79672B62   JILL           WHITEHEAD                CO           33047280796
82B1B782172B62   KIMBERLY       NOE                      CO           33077347821
82B212A259154B   JUDITH         RAMIREZ                  TX           90014162025
82B22182391979   DAYSHA         MITCHELL                 NC           90010931823
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82B31172A97B3B   BRADLEY        JUDKINS                  CO           90012171720
82B31268385936   CELIA          RUBIO                    KY           90010782683
82B317A3751362   TAMARA         KIRTLEY                  OH           90014177037
82B32317284325   MELLISSA       CARMICHAEL               SC           90011113172
82B33447991837   CHRISTOPHER    MORENO                   OK           90011364479
82B3349346194B   CARINA         CASTRO                   CA           90006054934
82B34444271977   DANIEL         MILLER II                CO           38083784442
82B35211876B97   LEROY          JOINER                   CA           90013172118
82B35759841262   RONALD         HERMAN                   PA           90012527598
82B37662572B29   CHARLIE        MEDINA                   CO           90009036625
82B37789A33698   DAVID          ALSTON                   NC           90014897890
82B39975476B68   BASHAM         SHELTON LEE              CA           90015069754
82B3B64798B154   AYALA          MONTANEZ                 UT           90014166479
82B3BA2415B24B   ERICA          MOORE                    KY           90006330241
82B42427A5B24B   AMBER          SETTLES                  KY           90012114270
82B44725376B68   PRISCILLA      HEID                     CA           90012367253
82B46715772B33   DRE            REED                     CO           33055887157
82B46A39185868   MARIA          THOMAS                   CA           46005280391
82B4747A151362   PAYGO          IVR ACTIVATION           OH           90011824701
82B51637572B29   JOHN           CORDOVA                  CO           90003946375
82B52896672B33   BRIAN          SMITH                    CO           90014448966
82B53474581677   ALI            BYRD                     MO           90013114745
82B5425579154B   FLOR           GARCIA                   TX           90014162557
82B55461985936   ROLANDO        ESCOBAR                  KY           90004984619
82B56169A81627   RAVEN          CHAMBLISS                MO           90003121690
82B57972597B68   FAVIOLA        LECHUGA                  CO           33017779725
82B58274871977   DARRION        HATCHETT                 CO           90013002748
82B5963A885856   AIOTEST1       DONOTTOUCH               CA           90015116308
82B5B323972496   MARC           IARRAPINO                PA           90011243239
82B5B858A5B153   ELI            BURTON                   AR           90010088580
82B5BA83697B38   MANUEL         MENDEZ                   CO           90011410836
82B62294547822   KAYLA          TAYLOR                   GA           90009572945
82B63955A85856   EVA            COBIAN                   CA           90007539550
82B643A4791523   DANIELLE       DIAZ                     TX           90011113047
82B6545915B139   SHANEKA        ANDERSON                 AR           90006314591
82B66764472B8B   STYANATIVE     CLOTHING                 NM           90007547644
82B68A71197138   ROBERT         WILLIAMS                 OR           90014790711
82B6981112B271   PHYLLIS        LEWIS                    DC           90005138111
82B6B614941275   SHARICE        BLEDSOE                  PA           90015206149
82B728A429154B   LORRAINE       DURAN                    TX           90010428042
82B72916972B44   SHELTON        FREEMAN                  CO           90012839169
82B757A3961928   KAMERON        WASHINGTON               CA           90012117039
82B75928397138   CHRISTINA      SIGMAN                   OR           90009739283
82B76819397138   DALLAN         MAGUIRE                  OR           90013278193
82B76858291975   YANXIA         KU                       NC           90012318582
82B7741649154B   TANIA          BUSTAMANTE               TX           90011154164
82B7B13A376B97   HECTOR         RAMOS                    CA           90010461303
82B8136A547822   GREGORY        JONES                    GA           90006973605
82B8356679152B   JESSEE         BAUTISTA                 TX           90010315667
82B8416A176B68   MONALISA       RODRIGUEZ                CA           90012851601
82B84727685856   RICKEY         PALACIOS                 CA           90009507276
82B84728391979   FRANCISCO      RODRIQUEZ                NC           90012867283
82B85685672496   BRANDY         LANE                     PA           90011936856
82B8663379154B   MARGIE         LOPEZ                    TX           90011376337
82B88367397B3B   WILDER         PEREZ                    CO           90013013673
82B91239172432   ALENA          MATHIEU                  PA           90012572391
82B9542215B326   EVE            CHAPMAN                  OR           90014644221
82B95597897B68   RANDY          FISCHER                  CO           90012145978
82B96578597B38   MARIA          MARTINEZ                 CO           90013655785
82B98369791525   BARRAZA        STEVEN                   TX           90005863697
82B98937391837   SASHA          WILSON                   OK           90012009373
82B98A2A197B38   ANJANETTE      MARTINEZ                 CO           90010950201
82B9B487977537   RENEE          MATHIESEN                NV           90013894879
82BB1546A84325   SHAMIEK        JILES                    SC           90014785460
82BB2241A5B139   P              WILLIAMS                 AR           23073822410
82BB2546A84325   SHAMIEK        JILES                    SC           90014785460
82BB3322972B44   BLAKE          BIGGER                   CO           33001613229
82BB3973997B68   CRISTOBAL      GALVEZ                   CO           90013239739
82BB4182572496   MICHAEL        HODGE                    PA           90014711825
82BB43A9741275   ARIANA         ADKINS                   PA           90012283097
82BB4474572B44   CRYSTAL        JARAMILLO                CO           90000314745
82BB668965B581   SONIA          SALDANA                  NM           90013906896
8311252145B24B   RICHARD        MONTANA                  KY           90011685214
83113827676B97   EVANDER        GUILLORY                 CA           90013588276
8311397798B168   MICHAEL        HIRTZEL                  UT           90014229779
8311449172B256   DAVID          JOHNSON                  DC           90005094917
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831145A2876B65   PEDRO           GUTIERREZ               CA           46034375028
8311464695B581   LEYDIS          DOUGLAS                 NM           90010976469
83116255A72B33   ENRIQUE         RODRIGUEZ               CO           90013172550
8311655792B981   MARIA           RODRIGUEZ               CA           90011755579
831175A4755945   FRANK           MALDONADO               CA           90012985047
83118199976B65   JOE             FLORES                  CA           90002341999
8311B147A91975   JOSHUA          STETSON                 NC           90012041470
8312466135B581   ANDREA          CHAVEZ                  NM           35093086613
83124856897B3B   ROCHELLE        CORMIER                 CO           39048308568
83125647A41275   LEON            KHYLER                  PA           90014046470
8312616A471977   JAMES           CASTILLO                CO           90010831604
831268A6751341   NATASHA         MACK-HILLARD            OH           90014768067
831276A5691979   HENRY           FLORES                  NC           90014086056
8312B52A772B33   STEPHANIE       WALLACE                 CO           90002435207
8313184965B581   JOHNNY          BACA                    NM           90010388496
8313496234B22B   OMAR            HERNANDEZ-BOLANOS       NE           90012419623
83138A4568B154   LEONARD         TRUJILLO                UT           90014790456
831397A6341275   ROBERT          GIBBONS                 PA           90011957063
8313984815B581   MANUEL          ROBLES                  NM           90012728481
8314149775B24B   REBECCA         KURTZ                   KY           90015094977
8314211585B326   TYSON           FAGEN                   OR           90013221158
83142A26791979   LUIS            RAMOS                   NC           90012520267
83142A3A88B829   JOHN            YAP                     HI           90014290308
8314527249154B   VILMA           MACIAS                  TX           90010172724
8314555898B163   FRANCIA         DELGADO                 UT           90005165589
83146729997B38   MERYLEEN        ARABE                   CO           90011197299
83147173A76B97   PUZZY           BISHOP                  CA           90013351730
8314B86689154B   JOSE            GUTIERREZ               TX           90014168668
8315184745B183   KENNEDY         STELL                   AR           90013908474
83153621472B33   JOSEPH          CHAVEZ                  CO           90012236214
8315392795B24B   TAMESHA         BURNS                   KY           90012719279
831577A714B22B   AMBER           LUCILLE                 NE           90006717071
831597AAA72B33   LUZ             LEYVA                   CO           90010007000
8316396275B183   SHANNON         DUMAS                   AR           90009809627
83164371176B97   JORGE           VALENTIN                CA           46050193711
83164A49397B38   CHEYENNE        MEDINA                  CO           90013790493
8316749775B24B   REBECCA         KURTZ                   KY           90015094977
83171146376B65   SALVADOR        RAMOS                   CA           90012621463
83176896772B33   ELOY            SAAVEDRA                CO           90012428967
8317962396194B   ANTONIO         JOSE                    CA           90013926239
8317B791533698   BERTHA          THOMAS                  NC           90015187915
8318396A285936   SHAWNTRINA      HAWKINS                 KY           90003569602
8318414A591975   MICHAEL         CALDWELL                NC           90011171405
8318421739154B   CARLOS          ORTIZ                   TX           90008802173
8318B25695B326   ROEENA          GALVIN                  OR           90014602569
831953A1391979   TYJAH           DIXON                   NC           90012683013
831953AA991837   BRIAN           ELKINS                  OK           90011743009
83196A5555B183   MICHAEL         MCDANIEL                AR           90012840555
83197469A76B65   ASHLEIGH        HELLER                  CA           90013474690
83198621172B33   ABRAM           ZITZU                   CO           90013336211
8319B88379154B   LUIS FERNANDO   ALFARO                  TX           90014168837
831B2726855945   ANTONIO         LOPEZ                   CA           90011877268
831B476A997B3B   NICK            OSBORNE                 CO           39035147609
831B6779291975   SAFARAH         CHAMPION                NC           90010687792
831B9394271938   KEONTE          WEST                    CO           90013103942
831B9A3255B24B   LEE             PORTER                  KY           90005290325
831BB58334B22B   KIMBERLY        LARSON                  NE           90009205833
8321282696194B   NAWLAYYHA       FOREVERYOURS            CA           90013938269
8321541915B326   TRAVIS          GILLILAND               OR           90012324191
8321623465B183   ALLEAN          SCALES                  AR           23051862346
83217432A72B33   IVY             VALDEZ                  CO           90005734320
8321745235B326   PAUL            POTENZIERI              OR           90014334523
83218273A72B33   JOHN            GUARDADO                CO           90012762730
8321972625B326   STEPHANIE       BLAIR                   OR           44510097262
83221262176B97   DEBORAH         LA DUKE                 CA           46013112621
832212A285B24B   MEGHAN          JOHNSON                 KY           68072232028
83225488376B97   JOSE            CALVILLO                CA           46040624883
832264A575B183   ROSEMARY        VAN                     AR           23060374057
8322B7A512B86B   JASON           FITZ-ROY                ID           90001197051
8322B874372432   TAILUR          JONES                   PA           90013778743
8323141735B24B   LARRY           MONTEGOMRY              KY           90011684173
8323533875B24B   RICHARD         PREWITT                 KY           90014923387
8323647A891979   SHAKIERA        PRINTE                  NC           90010504708
832398A8861943   MARIA           SANTA CRUZ              CA           90004848088
8323B36A272B62   TONICA          SHANTA                  CO           90012133602
8323BA72597138   DAVID           MOORE                   OR           90010490725
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8324293486194B   ANNABEL        CORONA                   CA           90012929348
83242A88641262   JENNIFER       SCHWEITZER               PA           90013140886
8324661555B183   MARCO          PATRICIO                 AR           90011986155
8324739498B154   PABLO          DACOSTA                  UT           90013183949
8324B118A4B22B   JAMES          VIRGILITO                NE           90011121180
8325359575B326   MAYRA          ARREOLA                  OR           90014565957
83256236A71933   JASMINE        PIERSON                  CO           90008812360
83258119A3143B   ALTAMILYA      CLAY                     MO           90008641190
8325995965B581   MARIA          GARCIA                   NM           90010229596
832637A7661928   MICHEL         LABADY                   CA           90004157076
8326417978B163   JENNIFER       ROGERS                   UT           31000341797
8326495762B389   SANTOS         CARRILLO                 CT           90014119576
832669A1676B97   BONIFACIO      LOPEZ                    CA           90014839016
83269932572B33   CAMISHA        SMITH                    CO           33029869325
83269A93341262   DONNA          WADDLE                   PA           51023690933
8326B246191975   BILL           LAWTON                   NC           90013752461
83272337A4B22B   WILLIAM        JONES                    NE           90008923370
8327711949154B   ERICA          OCHOA                    TX           90014201194
8327789AA91837   MEAGAN         GIBBS                    OK           90011878900
832779A9A9154B   JOSE           HERRERA                  TX           90014169090
83278AAA58B168   JOSHUA         ANDRADE                  UT           90015130005
8327997918B168   JULIE          HUNT                     UT           90014229791
83282446872B62   BILLIE         ALKIRE                   CO           33039574468
83284A23993771   EVRON          COLHOUN                  OH           90013270239
83287321272B33   CECILIA        BACA                     CO           90013853212
83287A33A76B65   EMMA           MARTINEZ                 CA           90008680330
83287AA8961928   SANDRA         BRADSHAW                 CA           90010140089
832886A8841275   JAMARR         MARTIN                   PA           90014566088
8328B246572B62   BRIAN          SCHIELLZ                 CO           90011182465
8328B27A485856   MICHAEL        STANFORD                 CA           90010302704
8328B438541275   ERIC           ST.CLAIR                 PA           90014334385
83291384797B38   ANTHONY        MAES                     CO           90013023847
83292164A76B65   JOSEPH         RAMIREZ                  CA           90009601640
8329541A291975   CHUKWUEMEK     UKPAI                    NC           17053864102
832971A7377537   SERGIO         LOPEZ                    NV           90011511073
83297A2A341275   MICHELANDE     ST CYR                   PA           90008150203
8329B412991975   EVA            PARAMO                   NC           17066894129
8329B484961928   JOSE           MENDEZ                   CO           90014904849
832B216A841275   KIRK           JOHNSON                  PA           90014571608
832B2791A33661   RAYMONDS       BURNS                    NC           90006127910
832B2939951341   ASHLEE         BURDINE                  OH           90013069399
832B3955991975   RHMS           CONSTRUCTION             NC           90012299559
832B439435B243   ERVIN          ADKINS                   KY           90001333943
832B483979154B   LELAH          CASTILLO                 TX           90012638397
832B5AA6751341   SONYA          MCCULLER                 OH           90012380067
832B8289597B38   MICHEAL        LLAMAS                   CO           90014222895
832BB769251347   TONI           FOLSON                   OH           90009857692
832BB842576B97   DAVID          JOHNSON                  CA           90014838425
8331114355B581   JENNESSA       GARCIA                   NM           90013141435
83313A8466194B   GOODFREY       THOMPSON                 CA           90012470846
833148A9272B62   ARYN           OCONNOR                  CO           90012908092
8331BA75547822   CAROL          MCDAIEL                  GA           90014180755
83321298797B38   MARYJANE       TOVAR                    CO           90000272987
8332518317B362   IRINA          GHAZNAWI                 VA           81094921831
83326915872B62   BRANDY         SCARBERRY                CO           90012919158
8332714858B163   SAMANTHA       RIVERA                   UT           90004241485
83327AA785B24B   DOMINIQUE      PENDLETON                KY           90013580078
8332861A84B22B   ERICA          WELNIAK                  NE           27071636108
8332882422B256   JESSICA        SNEAD                    VA           90004858242
8332897176194B   ERIC           MIZRAHI                  CA           90013939717
8333214858B163   SAMANTHA       RIVERA                   UT           90004241485
833327A3555945   ELISEO         LOZA                     CA           90011127035
833329A6576B65   ERIK           ANDRADE                  CA           90012729065
83337A88151362   KEITH          SPALDING                 OH           66045960881
8333842575B183   DARRELL        MIXON                    AR           23064834257
8333847795B24B   NATASHA        ALMON                    KY           90012864779
83339545997B3B   DORA           FLORES                   CO           90002695459
8333984164B22B   TYRONE         DELANEY                  NE           90008618416
83341A75547822   CANDACE        CONNER                   GA           90013140755
83342214A72432   MARK           ROMANO                   PA           90005842140
83344A88771977   ERIC           ERNEST                   CO           90009670887
83349A5555B183   MICHAEL        MCDANIEL                 AR           90012840555
8334B321747897   ZONDRA         LOCKETT                  GA           90013943217
8334B383547822   SHENIKA        GLOVER                   GA           90014183835
8334BA6A176B97   MANUEL         REYES                    CA           90008670601
83351A39272B62   ALHUMAIDI      FAHAD                    CO           90010060392
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8335272978B154   RAYMOND          JORDAN                 UT           90013757297
83352859397B38   CARMEN           LOPEZ                  CO           90009498593
83354574A97B3B   DELIA            HERRERA- AYALA         CO           90015285740
83354592172B29   NIKKEA           SETTLES                CO           90014015921
83356A1A34B967   ROCHELLE         PATTON                 TX           76503130103
83357481172B62   CHRIS            HARNANDEZ              CO           90013744811
83359153272B62   MICHAEL          LOPEZ                  CO           90013761532
8335B11AA51362   ERIC             MEYER                  OH           66053251100
8335B219591975   SHAQUIA VALISA   GLOVER                 NC           90013602195
8336155A45B183   FELECIA          STEVENSON              AR           90014545504
83366584776B65   JOEL             PEREZ                  CA           90008655847
8336B18475132B   MICHIA           HODGE                  OH           90012881847
8337248A333698   CAMILO           SALINAS-FLORES         NC           90013934803
83372519297B38   BRENDA           AGUILERA               CO           90013115192
83376677397B38   JOSEPH           GUERRERO               CO           90008546773
8337B366477537   COREY            TUNNEY                 NV           90014613664
8337B989761928   YARUMI NAYELI    GUZMAN                 CA           90002299897
83381419A5B183   KENNEDY          GOODEN                 AR           90014894190
83382A1115B326   DAN              GLEASON                OR           90010940111
8338494644B22B   EBONY            MCCRAY                 NE           90013659464
83385A3A86194B   RAMON            CANEDO                 CA           90014080308
8338654755753B   TESSIO           REA                    NM           90013785475
8338884AA51341   EDUARDO          SANCHEZ                OH           90014378400
8338B37A671938   MIKE             MILAN                  CO           90007383706
8339395239154B   OMAR             HINOJOSA               TX           90014169523
83396A71672B29   KIMBERLY         RHOADES                CO           90011370716
8339835945B183   KIMBERLY         MORROW                 AR           90014533594
83399754197B38   TRIPP            FREEMAN                CO           90013307541
833B1439A76B97   SAMANTHA         FIERO                  CA           90012414390
833B286886194B   XAVIER           MORALES                CA           46059918688
833B34A3833698   SHERICA          ECHOLS                 NC           90013934038
833B3962733698   CAMILO           VASQUEZ                NC           90010429627
833B4173957133   JOSE             RAMIRES                VA           90010051739
833B4364647897   SHANETTA         JONES                  GA           90009853646
833B4421293771   JAMES            CULLEN                 OH           64530634212
833B4A12A51341   IRVIN            COOK                   OH           90013490120
833B512989185B   CHARITY          WURM                   OK           21048501298
833B622994B22B   JESSICA          PETERSON               NE           27013402299
833B6319972B29   VALERIE          ANTOINE                CO           33064673199
833B9218A4B22B   YURIDIA          CHAVEZ                 NE           90014942180
833BB191251341   MELISSA          HANKINS                OH           90011611912
8341125A961928   ERIN             TILLIS                 CA           90008102509
8341543215B183   FAITH            SCOTT                  AR           23043964321
8341954295B183   MELESA           LOTT                   AR           90011185429
83419927172B33   GILBERTO         RIVAS                  CO           33085759271
8341B67995B24B   MARNIQUE         CARR                   KY           90010756799
8342312236194B   TONY             STARKS                 CA           90012471223
83424A57747897   DEBORAH          KYLES                  GA           90011110577
83426374572B33   RICHARD          NICHOLS                CO           90013503745
8342766569154B   JAVIER           HERNANDEZ              TX           90005516656
8342B821841275   CESAR            OROZCO                 PA           90014968218
8343144355152B   LOURDES          MACIAS                 IA           90015324435
8343935986194B   MARINO           PRADO                  CA           90012743598
8344425695B326   ROEENA           GALVIN                 OR           90014602569
8344817A476B97   FRANCINE         MORENO                 CA           90014721704
83448271476B97   SALVADOR         ESPINOZA               CA           90011192714
83449875172B33   ELIZABETH        MARTINEZ               CO           90012088751
83449A6466194B   LINDA            WRIGHT                 CA           90000770646
83452463197B38   JULIAN           BAILON                 CO           39075504631
8345293944B22B   MELVIN           BUCKLEY                NE           90013079394
834555A7397B38   MATTHEW          JOHNSON                CO           90010455073
8345645865B24B   BIJAY            GURUNG                 KY           90013984586
8345777264B999   JEREMY           JONES                  TX           90011317726
8345922A372B29   LUCINDA          BRUNGARDT              CO           90013292203
8345B94562B256   RODERICK         YOUNG                  DC           90000319456
83462574A72B62   EDGAR            MARTINEZ               CO           90014815740
834626A116194B   FELICITA         MAISONAVE              CA           46042816011
83463344A51362   GISSELL          REYES LECLERC          OH           90014163440
83463463197B38   JULIAN           BAILON                 CO           39075504631
834649A2276B97   RAUL             REYES                  CA           46098119022
8346B74A397B3B   CASEY            MANKE                  CO           90013037403
83471167276B65   PERFECT          ENGELBERGER            CA           90014051672
83471996A76B65   PERFECT          ENGELBERGER            CA           90000709960
8347231665B183   KARRISSA         NEWBY                  AR           90012273166
8347289475B326   BENJAMIN         CRUZ                   OR           90011978947
8347299829154B   DENISE           RAMIREZ                TX           90012379982
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83472A58547822   LISA           PRATER                   GA           90012380585
8347554A15B24B   JOSH           LEONARD                  KY           90013595401
83476236A51341   ERIKA          WARD                     OH           90011532360
83476713197B3B   ANGELA         DAVID                    CO           39088917131
83477767797B38   VICTOR         HERNANDEZ                CO           90014817677
8347794A676B97   CLIFFORD       PULLOM                   CA           90012789406
83478852576B45   LUIS           CARRASO                  CA           90011458525
83481275172B29   HERIBERTO      FLORES                   CO           90014582751
83484381497B38   TALISHA        MARTINEZ                 CO           90011533814
8348495785B581   ASHLEY         TOLEDO                   NM           90015119578
83485583497B38   JUSTIN         LEICHT                   CO           90007895834
8348752A541262   COREY          STAUDT                   PA           90014955205
83489352172B62   ALFREDO        DELACRUZ                 CO           90005543521
8348B13515B183   DUSTIN         HENDERSON                AR           90010441351
8348B311A5B24B   FRANKLIN       PAGAN                    KY           90009633110
8348B851471938   ZACH           TAFOYA                   CO           90008188514
8349414456194B   ALEXANDER      COX                      CA           90013941445
8349586AA97B3B   MATT           CAPALBO                  CO           90013928600
83498186297B38   ABNEY          VICENTE                  CO           90013221862
83499524A72B29   HUGO           CASTANON                 CO           90011165240
834B3585872B29   WILBUR         SCHMIDT                  CO           90012915858
834B539548B168   JOHN           HANSEN                   UT           90012683954
834B636145B581   VALERI         CHAVEZ                   NM           90014873614
834B65A2571938   WOL HO         CARSON                   CO           90010765025
834B6A63671938   MARIO          AULDRIDGE                CO           90010090636
834B6A98772B62   FERNANDO       PEDROSA                  CO           90013220987
834B7575851362   CYNTHIA        DAVIS                    OH           90009485758
834BBA35141262   DANYELL        MOORE                    PA           90014210351
83515354A97B38   MICHELLE       FAIRLEY                  CO           90013233540
8351926182B981   RAEANN         TRUJILLO                 CA           90012392618
8352178644B22B   TINA           SCHOVILLE                NE           90010947864
83523492197B38   KEVIN          FAIRLEY                  CO           90013234921
835242A3991975   ANTASIA        WILLIAMS-HENRY           NC           90014602039
83525235A71977   HAROLD         EUBANKS                  CO           90014022350
83527785472B62   LORNA          EDMONDS                  CO           90013337854
8352B334397B38   JOSE           PINON                    CO           39025293343
8353251379154B   MIGUEL         RAUL ACOSTA              TX           90012955137
8353578729154B   FREDDIE        PADILLA                  TX           75054887872
83538A5A99154B   ANTHONY        ARELLANO                 TX           90014170509
8353B54418B168   JAIME          ALMANZA                  UT           90007795441
83541196672B33   MANGLI         DARJEE                   CO           90009061966
8354214935B326   ZAYRA          FERRER                   OR           90012331493
83542438476B65   OSCAR FELIX    HERNANDEZ                CA           90011514384
83543487A71938   JUAN           NUNES                    CO           90011384870
835454A6147897   BARBIE         EVANS-BROWN              GA           90012634061
83545A78385856   SCHOULEE       CONES                    CA           90013380783
8354824976B932   GAMALIEL       MORALES                  NJ           90007472497
8354945235B326   PAUL           POTENZIERI               OR           90014334523
835499A635B326   JOSE           ORTIZ                    OR           90008449063
8354B753776B97   KAYLA          CHRISTENSON              CA           90012607537
8354B796197138   JUSTIN         PHILIPPS                 OR           90011357961
8355224AA3B34B   JONATHAN       HOLT                     CO           90012492400
83552493472B62   JUAN           FUENZ                    CO           90013094934
83552852972B33   ERICA          LYLE                     CO           90014138529
83553475A9154B   JOSE           PEREYRA                  TX           90012454750
83553A9AA6194B   MICHAEL        CLARCK                   CA           90013130900
8355636838B154   MICHAEL        PADDEN                   UT           90013073683
83557477276B65   ADRIANA        ESPINOZA                 CA           90013074772
8355778A89154B   JESUS          RAMIREZ                  TX           90009407808
8355782498B168   FRANKLIN       ACEITUNO                 UT           90012288249
8355786426194B   MANUELA        GARCIA                   CA           90006728642
83558467576B65   ADAM           RAMIREZ                  CA           90012484675
8355861A397138   MALLORI        JOHNSON-TODD             OR           90013376103
8355936254B22B   JESSICA        ALEXANDER                NE           90001813625
83565218A72B29   VERONICA       SANCHEZ                  CO           90013292180
835659A7461928   JERRY          POLK                     CA           90013509074
8356B567871977   PATRICIA       GOMEZ                    CO           90011165678
83572646197B3B   BALBINO        OQUELI                   CO           39005646461
83574617376B65   NOE            RAMOS PARRA              CA           90012876173
83575436276B97   MARIA          MEDINA                   CA           90002094362
83578A87761928   CESAR          DE ALBA                  CA           90013010877
83579398472B29   NASARIO        SANTOS                   CO           90012733984
8357B243272B29   LEE            LUCERO                   CO           33088832432
8357B874476B97   SAMUEL         RAMOS                    CA           90015318744
8357B896676B65   RICARDO        SORIA                    CA           90006058966
83581162A41262   SHANE          SIGMUND                  PA           90005331620
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83581969572B33   CHRISTA        FINK                     CO           90013229695
83583367472B29   LISA           NEMMERS                  CO           33012703674
8358826A39154B   ANDREA         CISNEROS                 NM           90014372603
8358B24AA76B65   GLADYZ         SANCHEZ                  CA           90006412400
8358B771991975   SHIQUITA       TAYLOR                   NC           90010967719
8359247755B139   EDWARD         GAINES                   AR           90014574775
83592589A71977   DAVID          WYCKROFF                 CO           90008785890
8359443A651341   DANIELLE       LONG                     OH           90011204306
83594729776B65   ALEJANDRA      SOLORIO                  CA           90008697297
8359765529154B   ESTERA         GUTIERREZ                TX           90002856552
8359779843B421   CHARLES        FRYMAN                   OH           90014307984
8359824566194B   JACQUELIN      VERDIEU                  CA           90013942456
8359919374B22B   SHANNON        ASHFORD                  NE           90000311937
8359B443A55945   RACHEL         ZAMARRIPA                CA           90013624430
835B166925B326   MARYANNE       MONCIVAIS                OR           44556206692
835B4462491394   PAMELA         PORTER                   KS           90001124624
835B4719347897   DAVID          DOWDEN                   GA           90013977193
835B533868B168   CHASE          CAMPBELL                 UT           90011023386
835B54A1191975   SHAQUAWNA      BOYD                     NC           90013064011
835B6866572B33   SHRAYN         CAMPBELL                 CO           90011678665
835B796172B271   WALTER         AMAYA                    DC           90011409617
835BB315776B65   CHRISTIAN      CESPEDES                 CA           90013613157
835BB597572B62   STEPHANIE      REA                      CO           90011195975
835BB828247822   JERRY          BILLUE                   GA           90010898282
835BBA88771977   ERIC           ERNEST                   CO           90009670887
836117A6297B3B   CANDELARIA     HOLGUIN                  CO           90013737062
8361268A355945   JUVENTINA      VENEGAS                  CA           90012706803
836128A3497138   PATRICIA       MADSEN                   OR           90014528034
83614249872B29   HUNTER         MARTINEZ                 CO           90007212498
83614A45441275   JENNIFER       KIMBERLY                 PA           90013860454
8361578616194B   ANGELA         RESENDIZ                 CA           90010597861
836166A2576B97   ALEXANDRA      SEPULVEDA                CA           90011166025
8361954825B24B   CORA           FORD                     KY           90011335482
8361B591951341   JERRY          HICKS                    OH           66073625919
8361B975393127   ALISHA         MCCOLLOUGH               KY           90014719753
836239A485B326   VICTOR         ALFARO                   OR           90011629048
836241A679154B   ROSA           VILLAFUERTE              TX           90014181067
8362535A476B97   ANIBAL         VALENCIA                 CA           90005773504
83626A87191975   RUFINO         PEREZ                    NC           90015170871
836296A2A76B97   ARNOLD         BURGOS                   CA           90010196020
8362B1A679154B   ROSA           VILLAFUERTE              TX           90014181067
8363112859154B   ARTURO         HUIZAR                   NM           90014181285
83631A8A576B97   AVION          WILBORN                  CA           90013010805
8363432525B581   CHRISTINA      TELLES                   NM           90010993252
83638237472B29   DAIA           MENDOZA                  CO           90008642374
836384A865B342   RAFAEL         MOSQUEDA                 OR           90009874086
8363861549154B   ROSA           RODRIGUEZ                TX           90004296154
8363915A15B326   TERRY          A                        OR           90014731501
8364174A397B3B   CASEY          MANKE                    CO           90013037403
8364245299154B   ALBERTO        CALLEJAS                 TX           90014704529
8364296945B326   NORMA          SANCHEZ                  OR           90011629694
83642A72677537   ERIK           NOGUERA                  NV           43026090726
83643675572B33   DANIEL         GONZALES                 CO           90012886755
836444A779154B   TERESA         BALTAZAR                 TX           75072524077
8364554982B256   DANIEL         HAWKINS                  DC           90000335498
8364B41AA71938   HOWARD         SMITH                    CO           90012814100
8364B649477537   TIFFANY        ROWE-CULTEE              NV           90011436494
83653A22633698   IDALIA         ANDO                     NC           90014940226
83656574472B33   CARMEN         KIRBY                    CO           90008955744
8366355AA97138   CHARLES        PIERCE                   OR           90014875500
8366572665B24B   NICHOLE        DERROUGH                 KY           90014117266
83666159376B97   PETRA          ALVARADO                 CA           90012991593
8366B1A996194B   ANTONIO        VILLA                    CA           90011181099
8367184565B326   ABEL           HERNANDEZ                OR           90015208456
836722AA872B27   VICTOR         SAUCEDO                  CO           90012742008
83672822A76B65   KIM            ALBINO                   CA           90006978220
83673751676B97   ADRIAN         ABARCA                   CA           90014017516
8367382865B183   DANIELLE       ADAMS                    AR           90013218286
8367477A876B97   ERICKA         MALDONADO                CA           90011877708
836751A899154B   SIRENA         DOMINGUEZ                TX           90005011089
8367526838B168   ANGEL          STUCKMAN                 UT           90014002683
83676457976B97   MONET          KEYES                    CA           90002144579
8367767A56194B   JESSE          SOLIS                    CA           90003466705
83677969972B62   MICHAEL        PETERSON                 CO           90004089699
8367922A772432   AMANDA         SHUBA                    PA           51068962207
8367B228455945   MATT           CROWSON                  CA           90012982284
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8367B231972432   KENYADA         HINES                    PA           90013942319
83682882976B97   DANTE           HARROW                   CA           46087358829
83685A97293127   LILIA           TAYLOR                   KY           90014570972
83686384572B62   MICHAEL         MCELHANEY                CO           90013243845
83687597272B62   JANETH          TREVIZO                  CO           90013475972
83687753A76B97   JESSICA         MARTINEZ                 CA           90014017530
836879AA36194B   JAVIER          GONZALEZ                 CA           90013369003
83687A6815B24B   CANDACE         WILLIAMS                 KY           90013440681
83688445A71938   ANA             ALVARADO                 CO           90011354450
8369153A876B65   LEO             ARMENTA                  CA           90014215308
83692185272B29   ERIC            WAGGLE                   CO           90013501852
83699389A8B154   JOSEFINA        REYES                    UT           90008653890
8369B493161928   MAURICIO        PADILLA                  CA           90011674931
836B2758872432   JEANNETTE       ROSS                     PA           90009317588
836B4628851362   CARLOS          CRUZ                     OH           90013366288
836B4737493127   DANESHIA        WEAVER                   KY           90014717374
836B7899591837   TYRELL          WOODFORK                 OK           90014278995
836B8276885936   MARTHA          ALVAREZ                  KY           67086122768
836B8975393127   ALISHA          MCCOLLOUGH               KY           90014719753
836B9612791837   DESTINY         RANDLE                   OK           90014576127
836B984242B256   LAKIA           TERRELL                  DC           90002508424
83713772497B97   ELLEN           HINE                     CO           90014437724
8371589A272B62   JORDAN          MARTINEZ                 CO           90012458902
8371661AA5B326   JOSEPH          STRICKLER                OR           90011966100
8371866318B154   JOSE            LOPEZ MOTA               UT           90013846631
8371923676194B   AURORA          DELGADO                  CA           46023372367
8371B16A89154B   ALFONSO         TREVINO                  TX           90014181608
83728347176B97   TONYA           WILLIAMS                 CA           90014773471
83729178A97B38   KARLA           NEVAREZ                  CO           39079821780
83731122A47897   ASHLEY          BARTON                   GA           90014221220
8373247919154B   GABRIELA        VELEZ                    TX           90009334791
8373417339154B   JENESSIS        SANCHEZ                  TX           90014181733
83734817676B97   ELOISA          ALMAZAN                  CA           46094038176
837358A4247897   QUIN            SIMPSON                  GA           90011138042
83735A24476B65   JUAN            MATA                     CA           90014950244
83736745576B65   ANA             FRAGOSO                  CA           90012347455
83737A66247897   ARTHUR          FREEMAN                  GA           90009630662
8373877782B271   CURTIS          BOATWRIGHT               DC           90011097778
837392A7477537   CARLOS          JORDAN                   NV           90013262074
8373B136676B65   ANTONIO         VILLALBA                 CA           90008771366
8373B711472B29   FARID           DAMAWAND                 CO           90003067114
837423AA351362   MARTIN          BLACKWELL                OH           90014553003
8374362A872B62   CESAR           RODRIGUEZ                CO           90010016208
837446A1776B65   JUAN CARLOS     GUZMAN                   CA           90010216017
83745844876B65   EDITH           ESTRADA                  CA           90014468448
8374862825B326   EVANGELINA      GALLARZO                 OR           90002706282
8374BA49591979   LAMAR           HOLDER                   NC           90010540495
837515AA391979   VICTORIA        WHEELER                  NC           90013265003
83752A6338B163   SHANE           SHEPHERD                 UT           31003630633
83752A8889154B   OSCAR           ALFREDO                  TX           90013220888
83753AA6A36178   PERLA           CAZARES                  TX           90010020060
8375674585B326   AMBER           ORTEGA                   OR           44511767458
837582A2791979   CATRINA         PIERCE                   NC           90014272027
837582AAA91821   HEATHER         SADBERRY                 OK           90011292000
837583A8172B29   KEITH           SCHRECKENGOST            CO           90013283081
8375B437A2B256   TAMERA          SMITH                    DC           90010124370
8376199A485856   IVAN            VIRYRA                   CA           90009479904
83761A94147897   MICHELLE        USSERY                   GA           90005290941
83763232297B38   MICHAEL         TORRES                   CO           90010492322
83763425A61928   KASANDRA        RAMIREZ                  CA           90011294250
83764957A72B33   AUGUSTINE       MADERA                   CO           90012219570
83765A89751325   LINDA           MURPHY                   OH           90013470897
83766643997B38   ASHLEY          LOMA                     CO           90009886439
83774A99961928   ERIC            CORTEZ                   CA           90007420999
83775771776B97   TESSA           CHAVEZ                   CA           90013017717
83776AA9871977   ESTREITA        DIAZ                     CO           90010820098
8377783865B326   UBALDO          LOPEZ                    OR           44579088386
83779AA9247822   JAMAR           JACKSON                  GA           90012720092
83781A77757126   ROMY            GARCIA                   VA           90001040777
83785312872B62   MONICA          MENDOZA                  CO           90000573128
837884A5161928   TERRY           LONG                     CA           46052954051
8378B29A251341   TAMMY           LONG                     OH           90013212902
8379274544B22B   JEVON           CAVITT                   NE           27013777454
8379341A35B139   PATRICIA        NELSON                   AR           23086544103
8379346544B22B   DOMINIQUE D     WEAKLEY                  NE           90011474654
8379619419154B   FRANCISCO       HERNANDEZ                TX           90014181941
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8379743859154B   JEANETTE        MORALES                  TX           90007134385
8379777715B326   JASMINE         DAYANAN                  OR           90011117771
837984A865B183   KEVIN           JOHNSON                  AR           90010974086
83798AA9691975   NACOLE          BULLOCK                  NC           90014320096
8379B61A476B65   RUBEN           YANEZ                    CA           90013426104
837B2A43897138   STEPHEN         ESTRADA                  OR           90014180438
837B3654141275   JEMELIA         RICHARDSON               PA           90014686541
837B3723291975   JOSE            BARAJAS                  NC           90011787232
837B5295547897   FRANKIE         COLSON                   GA           90013132955
837B5637971977   ISAIAH          VIALPANDO                CO           90013706379
837B7261433698   MABLE           RAISON                   NC           90013942614
837B7A4125B326   CASEY           BLACK                    OR           90011310412
837B7A9578B154   FRANCISCO       GARCIA                   UT           31091150957
837B988AA51333   TERRIA          CAMPBELL                 OH           90010798800
8381285968B154   MARIA           RAMOS                    UT           90012768596
8381425745B24B   DEMETRIUS       HAMLET                   KY           90007582574
83815354297B3B   KATLYNN         WENZ                     CO           90013703542
8381625745B24B   DEMETRIUS       HAMLET                   KY           90007582574
83817369A5B183   DEMATRICE       ANDERSON                 AR           90011723690
838182A449154B   CHRISTINA       LOPEZ                    TX           90014182044
8381998778B168   MERCEDEZ        RAMOS-MENDEZ             UT           90014239877
8382295A472B33   MAIRA           MAGALLANES               CO           90007839504
838257A847B445   JOUSHUA         WALTMAN                  SC           90009017084
83827515197B3B   JESSIE          BRUSE                    CO           90007775151
83828864772B62   TERESA          DURAN                    CO           90007188647
83833364297B3B   MELINA          SANTANA                  CO           39006823642
83835221A41275   KAYIERA         SIRMONS                  PA           90014742210
8383666A697B3B   ALEX            CHAVEZ                   CO           90013606606
83844AA899154B   DONATO          GONZALEZ                 TX           90012090089
8384754A35B326   NICOLE          MACGEORGE                OR           90007635403
8384B64A76194B   JANICE          GONZALEZ                 CA           46011626407
838513A3A55945   ANGEL           MENDEZ                   CA           90010563030
8385156969154B   DARLENE         REYES-MILLER             TX           90011215696
8385221749154B   ANA             ZACARIAS                 TX           90014182174
83852572697B3B   JOHN            MEYER                    CO           90009855726
8385642A271938   TJ              CARPENTER                CO           90014854202
8385756969154B   DARLENE         REYES-MILLER             TX           90011215696
83859A32891975   JOSH            BUSHAW                   NC           90011000328
8386345735B326   SILVERIO        GUZMAN                   OR           44554304573
83863869172B62   AARON           BRADLY                   CO           90011078691
8386423A29154B   JESSICA         HERNANDEZ                TX           90014182302
8386572718B154   REANNE          TALLON                   UT           90010627271
838657A6497B3B   AARON           MEDRANO                  CO           90015137064
83867141676B97   JORGE           RAMIREZ                  CA           46065611416
83868AA9691975   NACOLE          BULLOCK                  NC           90014320096
8386B931697B3B   CHANEL          JESMER                   CO           39005949316
83871431597B38   MARISSA         HEJDAK                   CO           90014164315
8387375A69154B   OSCAR           IBARRA                   TX           90012497506
83873934A61963   JESUS           CARREON                  CA           90007319340
83873A17597B38   KALEIEH         BECKER                   CO           90009280175
8387413818B154   SHAWN           WOODS                    UT           90014371381
838743A317B278   JOSEPH          DU MELLE                 NV           90012173031
83877A53772496   MEGAN           MIKSAN                   PA           90001770537
83881397172B62   RHONDA          RINKE                    CO           90009503971
83881A94147897   MICHELLE        USSERY                   GA           90005290941
838823A576194B   JAMEEL          PENN                     CA           90011973057
8388267433B354   EVANNA          AGUIRRE                  CO           90010826743
8388275648B829   SUMMER          VEGA                     HI           90013917564
8388355555B581   ELIAS           GONZALES                 NM           90010245555
8388679A947897   LOLITA          JONES                    GA           90013977909
83889444897B3B   ANTONIA         BERNAL                   CO           39007274448
8388992A572B62   DORIS           GONZALEZ                 CO           90013269205
83898373772B44   CARLOS          ALVAREZ                  CO           90010013737
83898976972B62   ANTONIO         LOPEZ JR                 CO           90013389769
83899A19297B3B   JASON           SPIVACK                  CO           90014190192
838B252999154B   JOE             CHAVEZ                   TX           90012955299
838B4196291979   SHARONDA        CARTER                   NC           17006851962
838B46A3476B97   SHAUN           BULLOCK                  CA           90015226034
838B5512576B97   FELIX           PEREZ CRUZ               CA           90013365125
838B7765455945   LIBERIO         AMAYA                    CA           90011897654
838B8A6A547822   LADARRIUS       LOWE                     GA           90011440605
8391392376194B   BEATRIZ         MEDINA                   CA           90011139237
83913A23A5B326   MARCO           MORALES                  OR           90011540230
8391565A597B38   MARITZA         VALASQUEZ                CO           90012696505
8391824A75B581   MADRISIA        ENOSTROSA                NM           90010412407
8392211799154B   MEDINAJESUS     ALFONSO                  TX           90010181179
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839227A9976B65   KELVIN         EKEKEUGBOR               CA           90014737099
839232AA151341   CARLOS         GONZALEZ                 OH           90012302001
83923869A71977   KYLIE          BICKFORD                 CO           90012228690
83923A4128B154   RENEE          PETERSEN                 UT           90013120412
83924597272B62   JANETH         TREVIZO                  CO           90013475972
83926A85655945   VANESSA        BARAJAS                  CA           90008330856
83928812997B3B   SHARON         ACTON                    CO           90007548129
8392B246191979   BILL           LAWTON                   NC           90013752461
83932539A72B33   JORGE          PEREZ                    CO           90013065390
83932A86251363   NANCY          OBRIEN                   OH           90012030862
8393387A585856   ALEJANDRA      MONDIN GONELLA           CA           90010378705
83933A7988B191   SCOTT          DAVIS                    UT           31083110798
83934869172B33   COX            CRYSTAL NATASHA          CO           33030928691
83935A45391975   GARY           SARTOR                   NC           90010210453
8393765752B243   ADOSHIA        FLYTHE                   DC           90011006575
83937A6145B326   MARIA          TEREZA                   OR           90013170614
8393B998371977   JACOB          ROMERO                   CO           90013689983
8394338A15B581   CHRISTY        MINTON                   NM           90013473801
8394398183B361   GUADALUPE      SOLORZANO                CO           90010079818
8394791586194B   BONISHA        DEANE                    CA           90003219158
8394879965B326   MARK           WALKER                   OR           90013887996
83951339A2B271   CESAR          ROBLERO VELASQUEZ        DC           90008463390
83952139997B38   LIBERTY        SEALE                    CO           90007421399
83952A92871977   RICARDO        OROZCO                   CO           90013540928
8395386399376B   JORDAN         MOSLEY                   OH           90011488639
83954965272B33   ARTURO         CASILLAS                 CO           33011159652
8395528A79154B   JACOB          GOMEZ                    TX           90011502807
8395BA28633698   OSCAR          TATE                     NC           90005010286
8396168789154B   LILIA          SOLIS                    TX           90009256878
83963734297B3B   MARGARITA      GAMBOA                   CO           90013667342
83963A59797B38   DENISE         ZAMORA                   CO           90014180597
83967771376B97   RUBICEL        ANTONIO                  CA           90000187713
8396839118B163   ROBERT         DRUCE                    UT           31007703911
83969454376B97   ALBERTO        SIMON                    CA           90013054543
839698A2576B97   ALBERTO        SIMON                    CA           90014308025
8396B361A72B62   ASHLEY         SPAULDING                CO           90008653610
839725A2251341   DIANNA         HOWINGTON                OH           66018605022
8397566AA97B3B   JENNIFER       FREEMAN                  CO           90014286600
83976475772B29   GLORIA         SABEDRA                  CO           90009134757
8397B1A638B168   JENNIFER       HYMAS                    UT           90011311063
8397B221761928   RUBEN          CORONA                   CA           90009082217
8398349335B24B   THOMAS         OUTLAW                   KY           90013564933
83984352997B38   ANTONIO        VARELA                   CO           90014183529
8398559765B183   KEISHA         BOWERS                   AR           90005245976
8398745168B154   LATOYA         FOOTRATER                UT           90009594516
83989AA974B22B   ROBERT         SYVERTSON                IA           90014800097
8398B948A98B34   ARACELIS       DELACRUZ                 NC           90012129480
839916A298B168   CORDELL        ADAMS                    UT           90013766029
83995756472B62   JENNIFER       DONALDSON                CO           90010997564
83997881676B97   JUAN           ARROYO                   CA           90013038816
8399B893872B33   GERARDO        REYES                    CO           90000918938
839B164A347897   LAMISHA        SMITH                    GA           90012376403
839B259936194B   LORRIE         MARSHALL                 CA           90012495993
839B328824B22B   TINA           MCFARLAND                NE           27093762882
839B5219691837   PATRICIA       SIMER                    OK           90011772196
839B716378B159   PHILLIP        SCALES                   UT           90009591637
83B13768371938   JENNIFER       MANDEVILLE               CO           90013197683
83B16632847897   MELINDA        MOTEN                    GA           90013336328
83B17323A71938   CAULINE        ARMSTRONG                CO           90014713230
83B1963A577537   WAITE          CORY                     NV           90013796305
83B1994A997B38   FRANSICO       PUENTES                  CO           90012989409
83B21324933698   CHARLIE        BROWN                    NC           90013923249
83B2161A776B97   THOMAS         HARRIS                   CA           90012786107
83B2276685B183   LATANYA        WEAR                     AR           90011057668
83B22887A47822   MALIKA         APPLEBERRY               GA           90014108870
83B24631772B62   GERARDO        SOTO                     CO           90010996317
83B24986297138   ROGELIO        SANTIAGO GASPAR          OR           90012219862
83B2582719154B   LEONEL         LOYA                     TX           90014168271
83B26977733698   VANESSA        MORALES                  NC           90013929777
83B26A7174B22B   TIFFANY        VISOCKY                  NE           27088570717
83B27312841275   THOMAS         JEFFRIES                 PA           90013653128
83B2739A155945   CHRISTOPHER    ALVARADO                 CA           90012653901
83B29773591837   HEATHER        KEY                      OK           90011737735
83B29821293771   KADISHA        DAVIS                    OH           90005328212
83B32681472B29   TODD           GOANS                    CO           90010276814
83B343A835B581   OMAR           GONZALES                 NM           90014903083
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83B35734931651   JOSUE          RIVAS                    KS           90002597349
83B35918157128   EDUARDO        RODRIGUEZ                VA           90008539181
83B39198A71938   ALICIA         CORONADO                 CO           90011131980
83B44657347822   TERRON         JOHNSON                  GA           90011936573
83B44933161928   CAR            PROS                     CA           90013109331
83B4543895B326   CARMEN         PINEDA                   OR           90013744389
83B454A7633698   DWAYNE         HOWARD                   NC           90014814076
83B4BA4A35B326   ISIDRO MIG     RAMIRERZ RENDON          OR           90009820403
83B51269372B33   JOHN           BLACKSON                 CO           90011802693
83B54685A71977   JON            CLINE                    CO           90013626850
83B5577278B168   MICHAEL        SALLAS                   UT           90009467727
83B61743976B65   JAMES          JOHNSON                  CA           90014127439
83B61791533698   BERTHA         THOMAS                   NC           90015187915
83B62225855945   TROY           SMILEY                   CA           90009982258
83B62889933698   STEPHANINE     ARTIS                    NC           90010728899
83B64175A71938   JAE            CHO                      CO           90014751750
83B648A3761928   GINA           SMITH                    CA           90006148037
83B65569161928   MARTH          CRUZ                     CA           46083855691
83B658A3471964   GIDEON         VAUGHN                   CO           32055238034
83B65A4A69154B   MIREYA         FREE                     TX           90002680406
83B662A3791975   SHANNON        JONES                    NC           90013242037
83B6674559154B   SYLVIA         CASTILLO                 TX           90011197455
83B67358241262   DALORA         BURTON                   PA           90010953582
83B6821425B326   SALLY          BOWDEN                   OR           90008112142
83B68436471938   BRIANNA        WEATHERLY                CO           90012644364
83B71198441262   CALISSA        CUMMINGS                 PA           90002351984
83B7281A85B183   AMBER          NICHOLE                  AR           90014908108
83B72A3145B252   CURTIS         JOHNSON                  KY           90010010314
83B73486672432   JOSHUA         JIMENEZ                  PA           90014014866
83B765A7893771   RYAN           THOMPSON                 OH           90013755078
83B7B28A136121   FELISSIA       GARZA                    TX           90011662801
83B7B64495B183   DEIRDER        JAMES                    AR           90014356449
83B8324955B326   LINDA          CARDENAS                 OR           90008112495
83B83998584351   TINA           EDGAR                    SC           90007239985
83B84A83193771   MARTHA         SAUNDERS                 OH           90013470831
83B8517738B168   PEDRO          MARTINEZ                 UT           90014971773
83B857A6772B62   CHRISTOPHER    WEBB                     CO           90015157067
83B87354297B3B   KATLYNN        WENZ                     CO           90013703542
83B87517947822   ANGELA         IVEY                     GA           90014155179
83B879AAA5B568   DANIELLE       QUESADA                  NM           90002799000
83B88613A91837   TREY           LOWERY                   OK           90014606130
83B897A2655945   SOCORRO        CRUZ LOPEZ               CA           90006487026
83B8B6A755B326   PHILLIP        CLOUD                    OR           90008456075
83B92719776B45   IBANEZ         ELBER                    CA           90007697197
83B93359741275   COREY          SICKLER                  PA           90007753597
83B95A8474B583   MARGUERTITE    POLLOCK                  OK           90012400847
83B967A7A8B168   EVELYN         PETERSON                 UT           90014847070
83B97243691979   HUGO           NAVARRETE                NC           90012802436
83B975A5741275   DAN            GARDENER                 PA           90015095057
83B97A32391979   NATIVIDAD      CASTILLO                 NC           90010490323
83B9B83A62B256   SHEWON         WILLIAMS                 DC           90005148306
83BB1274761928   LIYEN          HSU                      CA           90012522747
83BB133779154B   SHELBY         DELGADO                  TX           90013113377
83BB1587891837   JC             MATLOCK                  OK           90014485878
83BB244584B22B   ROBERT         GALVAN                   IA           90001914458
83BB2587891837   JC             MATLOCK                  OK           90014485878
83BB299A351341   PATRICK        BESSLER                  OH           66042279903
83BB3A43897138   STEPHEN        ESTRADA                  OR           90014180438
83BB3A82791975   MICHAEL        CORDELL                  NC           90013600827
83BB5492333B32   BRANDON        LAWRENCE                 OH           90013944923
83BB6333A91979   VIRGINIA       MACON                    NC           90010693330
83BB63A9876B65   MARIA ESTHER   PAVON                    CA           90008633098
83BB6527885936   DEBBIE         SPENCER                  KY           90010935278
83BBB64858B168   SHAQUANNA      JOHNSON                  UT           90014716485
83BBB995147822   RAVEN          DUMAS                    GA           90014099951
8411168A472B62   BETH           KRAMER                   CO           90009876804
841117A592B998   KLARA          KHOSHABA                 CA           90010937059
84113676876B97   PETER          KIMMEL                   CA           90013846768
84117237372B33   QUETO          CORCHADO                 CO           90011452373
8411B24A981667   ANDY           HARDEN                   MO           90013062409
8411B923885936   VANESSA        WEBB                     KY           90013539238
84121339297B38   JAVIER         LOMA                     CO           39061003392
8413124978B154   SHAMICHAELL    REMBERT                  UT           90013492497
8413162228B154   SHAMICHAELL    REMBERT                  UT           90010366222
8413217792B28B   TIESHA         COLEMAN                  DC           90010611779
84132478297B3B   NOEL           MONTOYA                  CO           90011904782
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8413321484125B   ASHLEY         KINGS                    PA           90010732148
8413338122B28B   ANTIONETTE     ASANTE                   DC           90011723812
8413657672B28B   JARMAL         BENABOE                  DC           90012385767
84136979797B3B   ADAM           ROBBINS                  CO           90004609797
8414343869154B   DIANA          BUTTREY                  TX           90013834386
84146A84597B3B   CASSANDRA      ARGUELLO                 CO           90004020845
8414859365B24B   DONTAY         MASON                    KY           68036715936
8414B54444B22B   DANITA         CARROLL                  NE           90015105444
8414B8A386194B   ROBERTO        CERVANTEZ                CA           90009118038
84151A35A61928   DEREK          PATTON                   CA           90015000350
84151A6A697B3B   JUSTIN         WATSON                   CO           39057780606
8415532196194B   SHANNON        SHADOAN                  CA           90006103219
84156141A85936   BRADLEY C      CHAMBERS                 KY           90013501410
8415643869154B   DIANA          BUTTREY                  TX           90013834386
8415649745B581   MARTHA         RODRIQUEZ                NM           90010574974
84158229672B29   EVER           FLORES                   CO           90003322296
8415B4A3A71977   TABATHA        MESTAS                   CO           90009634030
8415B67149154B   ORALIA         SOTO                     TX           90004366714
84162A26872B62   CORDOVA        SADIE                    CO           90009200268
8416379752B28B   AANDRE         ROBINSON                 DC           90013417975
84164237276B65   JASEN          TARBET                   CA           90013732372
841661A258B823   TELIROSE       LUTHER                   HI           90014911025
8416631A185856   PEPPARD        LAURAN                   CA           46032523101
8416743869154B   DIANA          BUTTREY                  TX           90013834386
84168691297B38   DUSTAN         HAHN                     CO           90014796912
8416B719551362   EDITH          HOTAN                    OH           90014737195
8416B915461928   DEWONE         WOODS                    CA           90011579154
8417449745B581   MARTHA         RODRIQUEZ                NM           90010574974
8417698144B577   THOMAS         KENNEDY                  OK           90006509814
84177153A4B22B   SALLY          PENIX                    NE           90013791530
8417869329154B   JESUS          GARCIA                   TX           90004366932
84178813272B62   COLLEN         HONOMICHL                CO           90003358132
8417888A89154B   ALEJANDRA      OROZCO                   TX           90013858808
841813AA333B26   MIGUEL         RALIOS                   OH           90014503003
8418157559154B   SALVADOR       GONZALES                 TX           90014525755
84183A59A91975   TYRONE         SMALL                    NC           90003670590
8418949416194B   ANDREA         MIRANDA                  CA           90011124941
84194315576B97   JAVIER         ALAVEZ                   CA           90012963155
8419471A793771   JUSTIN         COTTON                   OH           90013217107
8419647A185856   STEPHANIE      BARRETT                  CA           90012204701
8419B7A4161928   ERIC           RAMIREZ                  CA           90002467041
8419B85238B154   TIMOTHY        SCHLEY                   UT           90013238523
841B2442247853   CHASITIE       HART                     GA           90002654422
841B276895B24B   ASIA           HICKS                    KY           90011407689
841B44A8197138   CONLEY         GRABOTIN                 OR           90011034081
841B483684B569   SHAVON         GORDON                   OK           90008698368
841B52A4A72B33   JOSEPH         GREENEMEIER              CO           90013872040
841B566A54B569   CHRISTAN       GONZALEZ                 OK           90014946605
841B7675397B38   LINDA          MCHALE                   CO           90014796753
841B9814285856   COLIN          LARSON                   CA           90013938142
841BB367672432   KATHY          BUGAILE                  PA           51012123676
841BBA81332551   MANUEL         GUTIERREZ                TX           90015100813
842144A496194B   BARBIE         JOHNSON                  CA           90013034049
84219349672B29   WILLIAM        JONES                    CO           90014873496
84221345972B29   GONZALO        FREDOSO                  CO           90013983459
8422295485B24B   MARGARET       TURNER                   KY           90010179548
8422476259154B   JULIA          HERNADEZ                 TX           90012857625
8422674A55B183   CASILDO        IXCOY                    AR           90015307405
84227186372B33   MERCEDES       CRUZ                     CO           90009921863
84228661997B3B   JESUS          CHAVEZ                   CO           90011576619
84229675997B3B   JACK           GENRE                    CO           39011546759
8422B437941275   ELIZABETH      LIPERA                   PA           51072604379
84231741197B3B   LUIA           RODRIGUEZ                CO           39001167411
8423314938B168   FELIX          MADRID                   UT           31016971493
842375A2A72B33   MELISSA        BRAHAM                   CO           33066795020
8423784234B569   KANDON         KELLY                    OK           90006288423
8423842A741275   PARBAT         THAPA                    PA           90013934207
84239215276B97   CAROLINA       NAVA                     CA           90012772152
8423979A92B28B   RASHAD         CUFFEE                   DC           90012787909
8423B92918B163   ROMO           MELANIE                  UT           90011759291
8424442195B183   HURSHEL        SANDERS                  AR           90013774219
8424732298B154   BENJAMIN H     RUTTINGER                UT           90010763229
8424954624B569   DONALD         SMOGGS                   OK           90015345462
84251A19371977   OTTO           BERMUDEZ                 CO           90010870193
84251A2115B523   ASLEY          GLEASON                  NM           90012720211
8425344A791975   MAIRA          BANOS                    NC           90010824407
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84253654A55971   ROSAURA        GARZA                    CA           90012526540
8425387794B569   CARMEN         SANCHEZ                  OK           90008528779
8425656379712B   RODRIGO        DOMINGUEZ                OR           90014995637
842595A4261934   JOSEPH         GARCIA                   CA           90010595042
8425B71A18B168   RODNEY         WOZAB                    UT           90010877101
84261742797B3B   TIMOTHY        LANZ                     CO           39041877427
84261A7AA8B163   PEDRO          LANDA                    UT           90011760700
8426222A977537   DAVID          WRIGHT                   NV           90014232209
84265427576B97   MARIO          SANTOS                   CA           90010014275
8427136784B569   ISAISA         VILLAL VARGAS            OK           90011553678
84271877797B38   LARRY          GOMEZ                    CO           90015188777
84272366A97B38   ANGEL          DUARTE                   CO           90011873660
842779A2A97138   RAUL           MARTINEZ                 OR           44017769020
842779A7461928   ANGELICA       GARCIA                   CA           46096849074
8427857528B167   MELISSA        GONZALEZ                 UT           90011695752
8427B5AAA5B24B   KOURTNEY       BURGIN                   KY           90015085000
8427B897661928   RUTH           ROGERS                   CA           90011418976
842815A892B256   YANCY          LARIOS                   DC           90000905089
8428384294B569   GREGORY        MIXON                    OK           90013598429
8428437A18B154   APRIL          ARMIJO                   UT           31094263701
8428663426B271   RAJAN          POKHREL                  AZ           90013956342
84287465572B62   JOSE           RIOJAS                   CO           90009384655
84288334A6194B   DEVONNA        GENTERY                  CA           90013173340
8428963278B154   ALEX           IBANEZ                   UT           90008276327
8429163A25B581   RHONDA         CAMPBELL                 NM           90012636302
8429185A65B581   RONALD         CAMPBELL                 NM           90010578506
84292131897B38   VANESSA        MORENO                   CO           90012871318
84292397497B3B   DANIEL         SILVA                    CO           90014323974
842937AA197138   RICKY          SANCHEZ                  OR           90011037001
84295442A41262   JERISSA        BROOKS                   PA           90014724420
8429585866194B   PAULINA        LOPEZ                    CA           90013138586
8429688582B28B   KEVIN          MC CALLISTER             DC           90014108858
84297137197B38   JERRICA        HERRERA                  CO           90008091371
842975A1177537   JUSTIN         RUIZ                     NV           90011055011
8429763426B271   RAJAN          POKHREL                  AZ           90013956342
842983A8293771   CHANELL        CAPTAIN                  OH           90013533082
842B1692285936   JAMES          CUSHINGBERRY             KY           90013456922
842B2136372B33   ERIC           ANDRE                    CO           90013341363
842B3443391837   MARISELA       REYAS                    OK           21035054433
842B348913B38B   DOUGLAS        SWISHER                  CO           90010734891
842B4161561934   CARLOS         PEREZ                    CA           90009861615
842B4683871977   EARL           WILSON                   CO           90013326838
842B5278461928   PATRICIA       VASQUEZ                  CA           90001052784
842B5531747897   KRISTINA       LELLIOTT                 GA           90012605317
8431236326194B   GUSTAVO        DURAN                    CA           90012193632
84314499172B62   HEATHER        MCLEOD                   CO           90002574991
8431714844B569   RENEE          GOSS                     OK           90008531484
8431729696194B   ANA            MARTINEZ                 CA           90013922969
84319234676B97   HEATHER        DIXON                    CA           90014032346
843197A9691979   RIKEDA         BOONE                    NC           90012937096
84319915A41275   SHAHNTAYLA     HOLLIDAY                 PA           90011889150
8431B14844B569   RENEE          GOSS                     OK           90008531484
84321126297B38   DEBORAH        DESAIRE                  CO           90009761262
84323443276B97   RODRIGO        RAMOS                    CA           90012994432
84323598A91837   MARIA          LEDEZMSA                 OK           90013065980
8432481A26194B   KATIE          ORTEGA                   CA           90014928102
84327937897B3B   HERNANDO       SANCHEZ JR.              CO           39018929378
8432857378B154   TRENTON        MACKINNON                UT           90010275737
8432858934B569   GLENN          WEGNER                   OK           90013555893
84333755A97138   KATHARINE      LONDIN                   OR           44045787550
84334A71A8B154   DAVID          HAYNES                   UT           31069350710
84335A9519154B   AGUSTIN        PORTILLO                 TX           90011920951
8433657A24B569   JESUS          TERRAZAS                 OK           90014575702
8433834894B569   ALONZO         WILBUR                   OK           90011133489
84342821872B8B   SHANA          SELLE                    CO           90010968218
84343A98A91979   ERIC           MLAKIN                   NC           90013040980
84343AAA48B168   JOHN           DOYLE                    UT           31061960004
8434496856194B   FERNANDO       VALDEZ                   CA           90007519685
8434527912B28B   IZZY           AHMED                    VA           90012502791
8434586964B569   PHILLIP        RALPH                    OK           90012998696
84345896A5B24B   JAMES          MITCHELL                 KY           90013438960
84345A5A672B62   LARRY          CLARK                    CO           33004720506
843474A844B22B   SUZANNA        RAMOS                    NE           90013974084
8434842974B569   GARY           GRIFFITTS                OK           90011984297
84349361397B3B   LEAH           BLOYER                   CO           90013103613
8434B35244B569   CLARENCE       LEWIS                    OK           90011133524
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8435425257B248   PATTIE         MARSHALL                 NV           90012772525
8435426A951598   MARY           BANAK                    IA           90014862609
8435848888B168   SALLIE         STONEBRAKER              UT           31005334888
8435876564B569   LAUREN         LOPEZ                    OK           90012727656
84359A8388B154   MARIBEL        NAGAR                    UT           90008080838
8436111216194B   EDWIN          BELTRAN                  CA           90012491121
8436422A977537   DAVID          WRIGHT                   NV           90014232209
84368535676B97   AMALIA         COLOORADO                CA           90006535356
84369598397B38   URIEL          VASS                     CO           90006705983
8436B41715B24B   DERRICK        JENKINS                  KY           90014804171
84371A7519154B   CARLOS         PEREZ                    TX           75048430751
843728A7272B33   JOSHUA         WILLIAMS                 CO           90010748072
84373692272B27   MEGAN          GIBSON                   CO           90009936922
8437434359154B   MONICA         RODRIGUEZ                TX           90011553435
8437454552B271   JUAN           VASQUEZ                  DC           90010905455
84374794472B29   NESTOR         CORRALES                 CO           33082007944
843761AA597B38   NANETTE        WELSH                    CO           90012941005
8437869A991975   TRISTAN        BRANCH                   NC           90011466909
84378A11833698   JAYMES         RHODIE                   NC           90013460118
8437B53898B163   BRITTNI        GIBSON                   UT           90011765389
84383148797B3B   ADOLFO         ZAMARRIPA                CO           90012741487
8438496336194B   IRENE          LOPEZ                    CA           90003909633
8438614534B22B   LUIS           GUZMAN                   NE           90012961453
8438697AA97B3B   JENNIFER       TERRAZAS                 CO           90013249700
84387171672B33   ROSA           CALDERON                 CO           33057971716
843876A3485856   SANTIAGO       GARCIA                   CA           90013246034
8438B35819154B   KEVIN          ALCANTAR                 TX           90011113581
8438B785161934   JESUS          DIAZ                     CA           90010547851
843943A512B28B   HILDA          MCBRIDE                  DC           90014123051
84395681572B33   KYLE           TORRES                   CO           90010886815
84395A35541275   DARNELL        JONES                    PA           90015070355
843B1732991979   EDWIN          MELENDEZ                 NC           90004147329
843B329632B28B   SHARON         HUNTER                   DC           90015032963
843B447A372B62   HEIDI          OSBURN                   CO           90013544703
843B7867191975   YOLANDA        CAMPBELL                 NC           90011498671
843B8984647897   ASHLEY         MINTER                   GA           90012959846
844114A856194B   LIZBETH        PACHECO                  CA           90013114085
8441171AA71977   LLUVIA         MENDEZ                   CO           90012867100
8441444588B163   CUMMINGS       BREONA SHAY              UT           90008434458
8441742AA5B183   ASHLEIGH       CHANEY                   AR           90014074200
84417893172B33   ASHLEY         SAENZ                    CO           90013108931
8441B719393771   PAYGO          IVR ACTIVATION           OH           90010857193
8442129985B241   KEN            SUTILFF                  KY           90011772998
84422A7778B168   GEORGE         KEIN                     UT           90010670777
84425192372B33   JAZMINE        RIVERA                   CO           90013051923
8442B28474B569   RASHAD         BROWN                    OK           90010482847
8442B449761928   MARTIN         LOPEZ                    CA           90011904497
8443152129154B   ARMANDO        PAEZ                     TX           75003065212
8443198A68B168   SANTIAGO       RODARTE                  UT           90014919806
84433A52671977   KERRY          GREEN                    CO           90003010526
8443519469154B   JAZMINE        PADILLA                  TX           90012501946
8443683A491975   LUIS           MORALES                  NC           90014968304
84437935A76B97   ALEJANDRO      LOPEZ MARTINEZ           CA           90010289350
844389A4691975   CARMEN         ROMERO                   NC           90011369046
84439A2268B154   JAVIER         JORDAN                   UT           31005030226
84439A26761928   FRANK          JONES                    CA           46072700267
8443B799541275   ANDRE          MACK                     PA           90013707995
8444134265B581   RENEE          MEDRANO                  NM           35033953426
844443A665B183   ANTONISHA      JORDAN                   AR           90014583066
8444724618B154   STEFFANIE      TOMLIN                   UT           90011342461
84449765A91975   SHERRY         BURTON                   NC           90012367650
84449A36651333   YUMEKIA        BRUTON                   OH           90014790366
8444B81849154B   LORENZO        HERNANDEZ                TX           90004878184
84455857272B29   ARYANA         RODRIGUEZ                CO           33027878572
8445898145B139   JOHN           CAMERON                  AR           90010629814
8445916179154B   FERNANDO       RAMIREZ                  TX           90013841617
8446148795B24B   ERIC           FULKERSON                KY           90014144879
8446157A972B62   CESAR          MARTINEZ                 CO           33076945709
8446486258B643   MARIO          ZUNIGA                   TX           90014988625
84466519876B97   JESSIE         MABIE                    CA           90013925198
8446922178B154   VERONICA       NEEMA                    UT           90012702217
84469635397B38   LUIS           TORREZ                   CO           90014736353
8447149744B569   DEBORAH        CLARK                    OK           90009424974
84473A66991979   TYRONE         JACKSON                  NC           90014700669
84474473376B97   VIVIANA        VENEGAS                  CA           90013294733
8447668A18B154   STEPHEN        SKIVER                   UT           90013806801
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84477298897B38   KYAW             HUNG                   CO           90010582988
84481349A72B49   NETTIE           JARVIS                 CO           90010313490
844851A8891979   EBERE            NWOJI                  NC           90003761088
84486926876B97   BRITTNEE         RONAN                  CA           90010679268
8448858834B22B   BRANDIE          HIPPS                  NE           90012765883
844924A856194B   KAYLA            VALDEZ                 CA           90010714085
8449332239154B   CHRISTINA        EGURE                  TX           90006403223
8449383394B569   TERRIEL          YOUNG                  OK           90013298339
844967A7A85856   ANDRES           PEREZ                  CA           46098317070
8449863A64B569   CELESTE          ISLER                  OK           90012176306
844B151948B154   GARY             CARR                   UT           90012865194
844B2667276B97   PEDRO            RAMIREZ                CA           46073406672
844B294615B183   JOHN             JOHNSON                AR           90012299461
844B3113761921   SILVIA           PALACIOS               CA           90010751137
844B4367371977   TINITY           DABNEY                 CO           38008053673
844B4778751362   MONTA            WOOD                   OH           90014747787
844B73A7176B97   AMANDA           MATA                   CA           90014733071
844B7823A97B3B   ROBERT           BRANT                  CO           39060788230
844B9877772B29   IMANUEL          VERA                   CO           90009538777
844BB458972B62   CAROLINE         VENGLAR                CO           33027624589
8451188798B163   PATRICIA         MURRY                  UT           90011768879
84513A81351362   MARIA LORENA     CORTEZ                 OH           90014760813
8451636478B154   COLLIN           STRICKLAND             UT           90014623647
84516753A72B33   ROXANNA          MCCURDY                CO           33006337530
8452252999154B   ANNA             MILIAN                 TX           75031285299
845226A9A77537   FANY             GOMEZ                  NV           90003546090
84525687297B38   KARLA            SEAMAN                 CO           39059436872
84526458972B62   CAROLINE         VENGLAR                CO           33027624589
8452896634B967   JOE              HAWKINS                TX           90012279663
8452946246194B   CAROLINA         LEANO                  CA           90009034624
8452B49968B168   TYLER            RICHARDSON             UT           90013384996
8452B93594B569   LAPORSCHE        LINDSEY                OK           90012999359
8453235986194B   MARINO           PRADO                  CA           90012743598
84533A74672B33   MAURA FERNANDA   COTES GOMEZ            CO           90010220746
845345A5893771   TALEYA           NOBLE                  OH           90009515058
84537116497B3B   JOSEPH           MEYERS                 CO           90014301164
84538378772B62   MANUEL           MARQUEZ                CO           90013293787
8453BAA292B271   DERRICA          DAVIS                  DC           90008860029
8454456379154B   GABRIELA         ACOSTA                 TX           75010775637
8454593932B28B   ADILENI          CRESPO                 DC           90011799393
8454618145B581   JAMES            MARES                  NM           90011851814
8454642A28B154   BRUCE            JOEY                   UT           31095754202
8454665695B581   JAMES            MARES                  NM           90010586569
8454698875B581   JAMES            MARES                  NM           90011529887
84546A74477537   JUAN             CRUZ                   NV           43009560744
84547662597B3B   DOMINIC          BROWN                  CO           90012126625
84548449A76B97   VAIU             ALE                    CA           90014844490
8455262844B569   RACHEL           SOUTHERN               OK           90011136284
8455314895B139   LAQUAVIS         SMITH                  AR           90004731489
84555465A97138   JOHN             ROGERS                 OR           44003564650
845565A972B28B   MUHAMMAD         ILYAS                  VA           90012125097
84557352672B33   KELLY            READING                CO           90012823526
845574A7551362   KELLY            MATHEWS                OH           90006934075
845586A2372B33   WILLIAM          BUCHER                 CO           33063976023
8455993A472432   KELLY            METZ                   PA           90005389304
84559AA1576B97   MENDEL           HARDRICK               CA           90012840015
8455B72874B569   GISELA           CASTANY                OK           90012667287
8455BA14376B97   VANESSA          WATZ                   CA           90012830143
8456192548B168   HAYLEE           VINCENT                UT           90013509254
84562728972B33   MARIA            FLORES                 CO           90010697289
84565278572B62   KIMBERLY         ARCHER                 CO           90015192785
8456596828B154   GOFF             NICHOLE                UT           90006809682
845713A1676B97   DAVID            CALAFATO               CA           90013063016
84571771372B62   JOSE             DIAZ                   CO           90011147713
84573385497B3B   ISAIAH           BENIVAMONDE            CO           90013043854
8457815298B163   MICHAEL          LUCERO                 UT           90009821529
84578312A77537   MONIQUE          RISTICH                NV           90011863120
84579A81793771   CHRISTINA        WYATT                  OH           90009070817
8457B58995B24B   KIMBERLY         CRAIN                  KY           90014635899
8457B774691975   SCOTT            PUGH                   NC           90010827746
84581581A85936   GARTFIELD        WEBB                   KY           90010325810
8458187649154B   SANDRA           RODRIGUEZ              TX           90014308764
845839A2872B83   ROBERTA          TRUJILLO               CO           90011549028
84583A9865B183   DONISHA          ADAMS                  AR           90011190986
8458672142B28B   JONESSA          HIGGINS                DC           90010927214
8458681A26194B   KATIE            ORTEGA                 CA           90014928102
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8458711594B22B   NYACHOAT       DOANG                    NE           90013541159
8458735AA72B62   JOSHUA         WILLIAM                  CO           90014713500
845882A798B154   PATRICIA       ORTIZ AMEZQUITA          UT           90014812079
8458B4A4A2B28B   VERNICE        CAMPFIELD                DC           90011284040
8458B83869154B   IRENE          ROMERO                   TX           75073528386
8458B984991837   TERESA         FLORES                   OK           21033469849
8459178288B168   ALYSON         CAMPBELL                 UT           90008797828
84591988A5B24B   CHELSEA        BLAIR                    KY           90011689880
8459341565B183   HENRY          ROBINSON                 AR           23066704156
8459557594B231   ASHLEY         SWARTSZ                  NE           90009585759
8459616255B581   SARA           ARMIJO                   NM           35096621625
84597A41A85856   DAVID          JASZEWSKI                CA           90015020410
8459838898B168   FABIAN         REYES                    UT           90008933889
84599A45391242   AUDREY         HILLSMAN                 GA           90005530453
8459B134A61934   JENNIFER       CONTRERAS                CA           90006891340
8459B965761928   HUMBERTINA     PITA                     CA           90013049657
845B1A89561928   JESSICA        TAYLOR                   CA           46097730895
845B285238B163   YAIZ           ANTHONY                  UT           90011768523
845B3886171924   TROY           TORREZ                   CO           90008778861
845B562928B168   WENDY          MASSEY                   UT           31048896292
845B8984271977   JOSH           CORBIN                   CO           90008059842
845BB59584B569   BRITTNEE       CORTEZ                   OK           90011135958
845BBAA6591979   MICHELLE       EVANS                    NC           90013290065
8461182764B569   LASHANTEE      MABRY                    OK           90013328276
8461354928B154   BRANDY         LUCKAU                   UT           90009565492
8461374A776B97   JESUS          CABALLERO                CA           90003337407
8461423494B569   AHNDREA        BOYIDDLE                 OK           90008762349
84616439197B3B   ZACHARY        MOORE                    CO           90013724391
8461967569154B   KARINA         ALVAREZ                  TX           90010996756
84621A84897B38   REBECCA        RODRIGUEZ                CO           39021550848
84623391197B3B   DYLLON         WATERHOUSE               CO           90014333911
8462421349154B   STEPHANIE      HERNANDEZ                TX           90013842134
84625872376B97   RYAN           AGUILAR                  CA           90013948723
84625978572B29   SILVIA         CRUZ AGUILAR             CO           90008309785
84626553A85856   PRASHANT       BANHATTI                 CA           90013985530
8462671724B569   CERRINA        PULVER                   OK           90011137172
846279A6577537   LATAUSHA       MILES                    NV           43048479065
846279A9747897   MONICA         AKINE                    GA           90013459097
8462B714697B3B   ADRIAN         TREVIZO                  CO           90013867146
8463468A472B29   VICTORIA       BANKS                    CO           90010666804
84634A32A5B24B   JEREMY         RASMUSSEN                KY           90014830320
84635559A9712B   AMERICA        PENALOZA BARRERA         OR           90010625590
8463B28365B24B   STAR           DUNCAN                   KY           90014952836
8463B368572B33   JUAN           LEOS                     CO           90013433685
84641714A97B38   JAIMIE         HIBSHMAN                 CO           39002447140
8464385A572B62   JERARDO        RAMIREZ                  CO           90010978505
84646537A91979   AHMED          ABED                     NC           90011895370
84646AA939712B   OSCAR          BELTRAN                  OR           90007320093
84647693A9373B   KYLE           GILLENWATER              OH           90012286930
8464812434B22B   STEVE          MYERS                    IA           90014621243
8464851224B569   VALENTINA      MARTINEZ                 OK           90011005122
8464953A691242   LAWRENCE       LANIER                   GA           90010365306
84652244276B97   SELVI          TORRES                   CA           90013952442
8465528999154B   ISELA          GARZA                    TX           90014392899
8466156734B569   HERNAN         VALLADARES               OK           90012955673
84663244597B3B   KYRIA          ELLIOTTE                 CO           90010512445
84664879472B33   ELIZABETH      TOM                      CO           90005978794
8466721539154B   MARISELA       SAUCEDO                  TX           75010782153
8466861642B28B   GREGORY        ROBERSON                 DC           90011806164
84669A21291979   ELIDETH        MORAN                    NC           90004640212
8466B829272B62   JUAN           SEGOVIA-MENA             CO           33084988292
84672731A85936   CAMILO         MASARIEGO                KY           90015307310
8467444342B28B   DELONTE        MONTGOMERY               DC           90014604434
8467468789154B   LILIA          SOLIS                    TX           90009256878
84675717A2B28B   DELANO         WINGFIELD                DC           90011807170
84681971397B38   CLAYTON        FLESHMAN                 CO           90011139713
84682A38A98B29   ALISON         NOVINC                   NC           90013270380
84683311A61934   ANGELA         WILLIAMS                 CA           90011673110
84684632A5B183   JACQUELINE     MCNIEL                   AR           90015166320
84688586972B62   MONICA         NAJERA                   CO           90008515869
84688619872B29   ANGELA         HENRY                    CO           33082606198
84692345797B3B   RICHARD        BACA                     CO           39005263457
8469421674B22B   L              MORGAN                   NE           90011862167
84694338A72B29   URIEL          DE LUNA                  CO           90012983380
8469726AA91242   VERA           COLLINS                  GA           90005222600
8469826A897B38   MIRIAM         GUTIERREZ                CO           90012772608
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84698364A41275   MELISSA        STANLEY                  PA           90013123640
84698714572B62   LEONARDO       VASQUEZ                  CO           90014347145
8469893622B28B   KRYSTAL        GRIMES                   DC           90008969362
846B1296791242   JOHN           STUMP                    GA           90002122967
846B221188B168   THOMAS         JIMENEZ                  UT           90011962118
846B2695393771   IVR            ACTIVATION               OH           90008336953
846B297994B577   MISTY          THOMPSON                 OK           90010759799
846B2A93151362   MICHELLE       GROOMES                  OH           90011610931
846B4A76671977   GORDON         CIRULI                   CO           90010950766
846B714A34B569   AVERILL        MOORE                    OK           90011151403
846B717639154B   MARCELA        RODRIGUEZ                TX           75046881763
846B93A9797B38   RACHEL         ROBERTSON                CO           90015253097
8471113A671977   TRISHA         VALDEZ                   CO           38093891306
8471241A191979   MANUEL         GARRIDO                  NC           90008424101
8471399A49154B   HERIBERTO      CARRILLO                 TX           90011009904
847152A2585938   JAMIE          COWANS                   KY           90011752025
8471616A172B29   RYAN           NYGREN                   CO           90011521601
8471724558B154   AMIE           JACKSON                  UT           90012912455
8471844A985936   BRADON         OSTEN                    KY           90009074409
84718485A76B97   RACHEL         BENDER                   CA           90013954850
8471929574B569   SAMANTHA       MYERS                    OK           90008562957
8472463A893771   ALEJANDRO      MENDOZA                  OH           90012436308
8472487234B569   CASEY          SLONE                    OK           90011138723
8472535AA72B62   JOSHUA         WILLIAM                  CO           90014713500
84728292276B97   ALEX           CABRERA                  CA           46055352922
8472837A541275   LUCILA         PABLO LOPEZ              PA           90011523705
8473249818B163   HERNAN         CORTEZ                   UT           90010764981
84732A9968B163   DYLAN          GITTINS                  UT           90013100996
84735472297B3B   DAVE           ESQUIVEL                 CO           90014014722
8473638A897B38   ADRIAN         WILSON                   CO           90011183808
84737793A5B24B   STEVEN         MCCOY                    KY           90014967930
8473797A25B24B   JOHN           ROUS                     KY           90013339702
8473865228B168   CARLOS         MAXSON                   UT           90013456522
847391A216194B   ROBERT         MORRIS                   CA           90000411021
8473964A197B38   RAYMUNDO       CRUZ                     CO           90011216401
847438A3393137   OLUCHI         UNAKALAMBA               OH           90000958033
8474471824B22B   SHANNON        NOLAN                    NE           90014597182
84749587A72B62   KENNETH        SPOND                    CO           90013645870
84749847872B62   WILL           COULTER                  CO           90011488478
8474B35A25B183   JOE            WALKER                   AR           90013923502
8474B6A5A85856   LEELA          ADDEPALLI                CA           90014156050
84754899197B38   DAVID          PRAYTOR                  CO           90011218991
84755A55277537   ERIC           CONTRERAS                NV           90009640552
8475774A34B569   MARIA          GOMEZ                    OK           90009607403
8475798299712B   AMANDA         MILTIMORE                OR           44049339829
847593A8771977   ANDREA         CHACON                   CO           90013293087
84759441A8B823   SKIMER         SKIMPY                   HI           90014734410
847599A685B24B   SHAQUITA       MCNEAL                   KY           90010999068
8476173286194B   VICTOR         CATILLO                  CA           90014177328
8476191549154B   KAY            SHARP                    TX           90013159154
8476194696194B   LAE            PISA                     CA           90012419469
84761A9842B271   THOMAS         MASON                    DC           81014230984
8476397185B24B   CHANCE         BOBBITT                  KY           90010909718
84764456376B97   TIFFANY E      POWELL                   CA           90011384563
8476593644B569   LESA           JORDAN                   OK           90011139364
8476688952B256   IRA            FAIR                     DC           90010578895
8476B841191975   SIDNEY         MOODY                    NC           90013878411
84773139676B97   GORGE          LUIZ                     CA           90012911396
8477685A393771   JEFFREY        DUDLEY                   OH           64515178503
84778535A61934   JENNIFER       CHAVES                   CA           90011675350
8477959392B28B   TONY           BARHAM                   DC           90014605939
8477993382B256   BREEANA        SKIPPER                  DC           90005809338
847813A945B352   DANIEL         NODINE                   OR           90011943094
84782257A93771   SHEREE         JARMAN                   OH           90014812570
84782618776B97   CHARLES        ROGERS                   CA           90013956187
8478419447B349   AIDA           RUIZ                     VA           90007941944
84785924176B97   CARLOS         ROCHA                    CA           90014859241
8478618229154B   JOSE           REYES                    TX           90012941822
8478B292872B62   ANDREA         ONTIVEROS                CO           90009562928
8478B645691975   LAKISHA        GORDON                   NC           90012966456
8479495274B569   YESSICA        ATAYDE                   OK           90011549527
8479688325B24B   ORLANDO        GONZALEZ                 KY           90012808832
84798128976B97   SANDRA         ZAMORA                   CA           90012931289
8479926A693771   STEVE          RIDGLEY                  OH           90009862606
8479939582B28B   BRIAN          BOWMAN                   DC           90002493958
847B2AA8A9154B   RENE           NUNEZ                    TX           90010270080
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847B422329154B   ALONSO                RUBIO             TX           90013842232
847B5779961928   TRACY                 MAYWELL           CA           90007357799
847B6173597138   RANDI                 KEARNS            OR           90008371735
847B62A6885936   JOSE                  HERNANDEZ         KY           90014382068
847B79A4A76B97   CONCHA                VIRGEW            CA           90012879040
847B8754793739   HOLLY                 MILLER            OH           90006117547
847BB564A8B163   PEGGY                 GUNN              UT           31037165640
847BB64614B569   CHRISTOPHER           DAUGHERTY         OK           90013926461
847BB682885856   KIRBY                 COLLINS           CA           90013946828
847BB872276B97   ROLAND                DICKSON           CA           90012878722
8481359A871977   MONIQUE               BALLEJOS          CO           90013685908
848139A4472B29   WILLIAM               SHEDD             CO           90010499044
84813A9A972B62   JESUS                 CAMILA            CO           90008670909
8481435595B183   ANTHONY               WILLIAMS          AR           90009333559
8481854214B569   CINTHIA               MORAN             OK           90012285421
8481B248291975   DANIEL                DE JESUS          NC           90010832482
8482292A19154B   VICTOR                SANCHEZ           TX           90014919201
84823146A81677   YURI                  GOMEZ             MO           90010211460
84823A3294B569   PAMELA                MARTINES          OK           90008570329
84824164A6194B   CASTANEDA FINANCIAL   GROUP             CA           90006851640
8482487124B22B   MISTY                 DILLY             NE           27090158712
8482921A776B97   PATRICIA              BYNUM             CA           90012932107
8482B16614B569   CLINTON               CARTER            OK           90012981661
84831211676B97   MARYROSA              MOREAU            CA           90012932116
8483299728B163   JASMIN                GONZALEZ          UT           90011779972
84834919272B62   SYDNE                 COONS             CO           90013329192
8483663248B163   CHRISTOPHER           CERVANTES         UT           90012726324
8483739125B581   JOHNNY                BERNAL            NM           90010743912
8483763A257143   AUGUSTINE             KAMARA            VA           90001236302
8483984615B183   AMBER                 PRICE             AR           90001438461
84846475697B38   JOSE                  BENAVIDEZ         CO           90012954756
8484761A691979   ROLAND                DONNELL           NC           90013566106
8484763924B569   KELSIE                MELTON            OK           90013306392
84848916472B33   BENJAMIN              DAVIDSON          CO           90011509164
8484B671461934   CARLOS                VALENZUELA        CA           90010616714
8484B757A8B168   SKYLAR                SCHMITT           UT           90011417570
84853348776B97   SHERLONDA             COLE              CA           46009233487
8485344778B168   BARBARA               CARPENTER         UT           90013854477
8485559A371977   THOMAS                NEWSOME           CO           38043715903
848561A4776B97   JOAL                  OCHOA             CA           90012991047
84857477972B29   DESARAE               BUCHANAN          CO           90012844779
8485842984B569   JUSTO                 GRAMAJO           OK           21583374298
8485B554193771   TOM                   SLORP             OH           90012535541
8485B88A185936   DIEUDONNE             BOPATA            KY           90010218801
84862543A97B3B   VERONICA              MARTINEZ          CO           39019245430
84864731397B3B   BONNIE                ROSENFELDER       CO           39013387313
84866A85776B97   JOHN                  MCDONALD          CA           90013970857
8486714A661928   BYRON                 HUNTER            CA           46080631406
8486742232B28B   MARTIN                VILLARREAL        DC           90011944223
848699A9747897   MONICA                AKINE             GA           90013459097
84874193A61928   REYNA                 VELASCO           CA           90011171930
8487429639154B   RICARDO               MENDIOLA          TX           90014542963
8487766534B967   GERALD                JONES             TX           76516706653
84878327572B29   JORGE                 GARDEA            CO           90010703275
8487B74222B28B   STACI                 TATE              VA           90011817422
848863A765B183   RONIE                 WILLAMS           AR           90006633076
8488641232B256   YANIRA                URBINA            DC           90001344123
84886737A72B33   CLAY                  HAWKINS           CO           90011497370
8488B944476B97   ELIZABETH             AGUAYO            CA           90010319444
8488B996A85856   PERFECT               ENGELBERGER       CA           90000709960
8489133269154B   TOMAS                 LUCIO             TX           90014373326
8489519866194B   LYDIA                 OCHOA             CA           90012871986
8489566AA9154B   ALBERTO               RENTERIA          TX           90008386600
8489584392B28B   JULIUS                WILLIAMS          DC           90014158439
848B169218B163   JESUS                 ALCANTAR          UT           90011696921
848B312422B28B   ANDREA                VENABLE           DC           90014761242
848B315575B26B   DIANA                 NELSON            KY           90013821557
848B3289685936   SHARKALA              SANDERS           KY           90011412896
848B3585A2B28B   TYRA                  HUTCHINSON        DC           90012765850
848B4493A5B183   JASMINE               KELLEY            AR           90014844930
848B591358B154   JOSE                  ROBLES            UT           90015259135
848B6386297138   BERTHA                MEMBRENO          OR           90003813862
848B6859972B29   TERESA                MARTINEZ          CO           90009018599
848B6A43181677   JESSE                 CHURCH            MO           90009500431
848B7289A5B24B   JOHN                  CLEMENS           KY           90012172890
848B837A147897   CHRISTIE              BOOTHE            GA           90008913701
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848BBA5939154B   TORRES         PABLO                    TX           90012630593
84912477972B29   DESARAE        BUCHANAN                 CO           90012844779
8491296412B28B   RAMIRO         GATICA                   DC           90011819641
84913A74671977   SHANAE         HOLLAND                  CO           90011050746
84914637672B29   GUADALUPE      PROSPERO                 CO           90012396376
8491625778B168   MEDARDO        VIVEROS-DAZA             UT           90012772577
8491999552B28B   URIEL          RUIZ                     DC           90014929955
84921177A51362   MARIO          LOPEZ                    OH           90014781770
84921355A4B569   ARLES          PEREIRA                  OK           90007553550
84922391197B3B   DYLLON         WATERHOUSE               CO           90014333911
8492348152B28B   CARLOS         PRICE                    DC           90010294815
84925414A61928   JOEL           GRIMALDO                 CA           46016434140
8492676A761928   DONALD         KING                     CA           90014337607
84928A4445B943   BRANDI         KUHLMAN                  WA           90015070444
84928A7212B256   NICOLE         CHURCH                   DC           90006390721
84934A21497B38   DEION          ROMERO                   CO           90011280214
8493613734B569   LATEAKA        BIZZELL                  OK           90011141373
8493857645B581   NICOLE         SISNEROS                 NM           90010595764
8493B972A76B97   MONICA         MARTINEZ                 CA           90010839720
8494697572B28B   JOSHUA         FREEMAN                  DC           90014159757
84947A2175B24B   AUSTIN         SEEWER                   KY           90007760217
84948726776B97   KEN            MERRIT                   CA           90009347267
84948A28572B29   ALEXA LOUISE   ELLIS                    CO           90013560285
8495223A685936   CHISTOPHER     BAILEY                   KY           90013802306
8495388529712B   CHRISTOPHE     TAYLOR                   OR           44017358852
84954935297B38   SEBASTIAN      BANUELOS                 CO           90004279352
84955692897B38   SUSANA         SERVIN                   CO           90011286928
8495697352B256   JANELLE        GARRISON                 DC           90005819735
84962137A8B168   KASSANDRA      MEDRANO                  UT           90012951370
84966173776B97   ADRIANA        GONZALEZ                 CA           90013971737
84967175376B97   RAMIRO         CAMPOS                   CA           90013971753
8496B543372B29   MYRACLE        REED                     CO           90011105433
8497254295B183   MELESA         LOTT                     AR           90011185429
849726A1493771   ELI            MARTINEZ                 OH           90013266014
849728A9241275   GANGA          BISTA                    PA           90013128092
8497439A95B183   JAMAS          THOMPSON                 AR           90013793909
8497641549185B   JONNA          GEE                      OK           21049584154
8497863756194B   BENITO         GONZALES                 CA           90014676375
849792A7576B97   DULCE          MUNOZ                    CA           90013972075
8497962368B168   GLORIA         BRETON                   UT           90012676236
8497B92A185856   MARK           SAUCEDO                  CA           90014689201
84981925376B97   GABRIELA       BACCARA HDZ              CA           46014189253
8498447329154B   DIANA          GOMEZ                    TX           90009224732
8498665255B183   MELISSA        LANGLEY                  AR           90010636525
849898A838B163   ANGELA         SORENSON                 UT           90011788083
8499175835B183   DANIEL         LUDUENA                  AR           90000207583
84994248576B97   IGNACIO        VASQUEZ                  CA           90013972485
8499BA95591872   JESSEE         RHODEN                   OK           90008810955
849B111AA85856   ANGEL          NUNEZ                    CA           90009681100
849B112868B168   GILBERTO       SOLANO                   UT           90011061286
849B23AAA4B22B   ASHLEY         DENNIS                   NE           90008193000
849B5458A72B29   KATIE          KARPOVAGE                CO           33052424580
849B6391271964   SHELLEMSRI     SCOTT                    CO           32079693912
849B656265B24B   RYAN           JONES                    KY           90011185626
849B7531741275   JESSE          JAVIT                    PA           90010895317
849B92A3885856   JUNG JOON      KIM                      CA           90013972038
849BBA37A91523   ERIKA          ESQUIVEL                 TX           90011530370
849BBA9A976B97   RAMIRO         CAMPOS                   CA           90013970909
84B1377395B581   DANIEL         CHACON                   NM           90005127739
84B14331285856   ANA            AVILA                    CA           90014803312
84B15A9762B28B   LENORA         SCALES                   DC           90006890976
84B16115647897   JAQUAVIA       HILL                     GA           90011371156
84B17128671977   CHE            CASADOS                  CO           90014751286
84B18225161928   MARTHA         ELIZABETH PORRES         CA           90013532251
84B18385941275   SARA           MEYERS                   PA           90013963859
84B19263891979   MARIA          NAVA                     NC           17090582638
84B19686461934   KAREN          MARTINEZ                 CA           90011656864
84B2177658B163   SELLESTE       MCKAHAN                  UT           90007207765
84B23896785936   EDGAR          HERNANDEZ                KY           90013218967
84B254A9A51362   MARTINA        EWING                    OH           90014734090
84B25849771977   DERRICK        ESQUIBEL                 CO           90009468497
84B26141576B97   DAISY          SANCHEZ                  CA           90011101415
84B2787344B569   TANISHA        MURPHY                   OK           90010928734
84B29899A5B342   RYAN           EARL                     OR           90012508990
84B2B225776B97   CYNTHIA        STEWART                  CA           90013682257
84B3127835B522   JERRY          EDWARDS                  NM           90004222783
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84B32562861934   ANTONIO        OSUNA ANDRADE            CA           90006715628
84B33277A71977   NINA           JARAMILLO                CO           90014212770
84B33A6559154B   SHAIMA         AZABY                    TX           90010690655
84B38275193771   DMOINIQUE      SMITH                    OH           90012612751
84B385A3885936   MARISOL        CARRILLO                 KY           90013085038
84B38A3856194B   JASMINE        THOMAS                   CA           46077840385
84B3992148B163   EDER           CASTANEDA                UT           90012669214
84B3B256285936   MARIELENA      TISCARENO                KY           90012112562
84B3B393A72B29   ALEJANDRA      HERNANDEZ                CO           90010313930
84B41427551362   KENDRA         ABNEY                    OH           90014734275
84B42427551362   KENDRA         ABNEY                    OH           90014734275
84B436A5472B62   SELENE         PINELA                   CO           33063126054
84B44A73391979   SAMUEL         MARTINEZ                 NC           90011490733
84B4569126194B   KARINA         GUTIERREZ                CA           90013656912
84B45929572B33   LASHAWN        JACKSON                  CO           33003589295
84B45929997138   ELI            CAMPBELL                 OR           90011019299
84B466A474B22B   JEREMY         HARRRIS                  NE           90010176047
84B526A2891979   CRYSTLE        HORTON                   NC           90008556028
84B53359871977   SUMMER         GOMEZ                    CO           90006573598
84B5565756194B   BORATH         NOP                      CA           90011886575
84B56469376B97   DAVID          NUNEZ                    CA           90010284693
84B5714776194B   SOCORRO        VAZQUEZ                  CA           90013211477
84B5866A52B28B   TIFFANY        BROOKS                   DC           90011136605
84B58A34536121   JEFFREY        JONES                    TX           90006150345
84B59462897B38   ANNETTE        MARTINEZ                 CO           90011034628
84B5B28619712B   CHRITOPHER     ONG                      OR           44013102861
84B5B574977537   GIOVANNI       TORRES                   NV           90014885749
84B5B6A915B581   LORENA         GALLEGOS                 NM           35074356091
84B6114A872432   DESTANEY       BURNETTE                 PA           51098071408
84B618A854B569   KYLE           BAKER                    OK           90011118085
84B61A83A72B29   JESUS          SAUCEDO                  CO           90008440830
84B681A8677537   DAVID          KEMNITZ                  NV           90012201086
84B69987171977   ESPERANZA      DIAZ                     CO           90005729871
84B6B17479154B   FRANK          TOLEDO                   TX           75079021747
84B6B398261928   MARIANO        ARISTA                   CA           90011573982
84B712A4A72B33   JOSEPH         GREENEMEIER              CO           90013872040
84B71433197B38   ROBERT         LORD                     CO           90014804331
84B74387341275   LISA           GRAM                     PA           90013963873
84B75418A76B97   STELLA         MIRANDA                  CA           90013154180
84B75912572B33   JORDAN         LUJAN                    CO           90009559125
84B76127985936   REBECCA        JACOBS                   KY           67090221279
84B77737497B3B   LAZARO         CATALAN-SALGADO          CO           90003127374
84B79155151362   MARGUERITA     WOODS                    OH           90014741551
84B79489281677   REPHAEL        HARRIS                   MO           29085054892
84B815A324B569   JUAN           ROMAN                    OK           90008515032
84B8161472B28B   KAMAL          MONGD                    VA           90011916147
84B8316525B183   AMBER          DANNER                   AR           90003971652
84B84618985856   CHERYL         RHODES                   CA           90013916189
84B84A43797B3B   KIRSTEN        BREWER                   CO           90014550437
84B8586A772B29   TALIA          FERRAIUOLO               CO           90010998607
84B86399397B38   JOHN           GIBSON                   CO           90014753993
84B88158276B97   IRVY           VASQUEZ                  CA           90014031582
84B88886A8B154   RONALD         FLOCKEN                  UT           90012288860
84B89572876B97   PRISCILIAN     RAMIREZ                  CA           90002675728
84B89779972B33   DAVID          TROWBRIDGE               CO           90010737799
84B8B572772B33   MARISOL        ESCOBAR                  CO           90008805727
84B8B842341262   NIKKI          GOODWIN                  PA           90012618423
84B91528785936   RICHARD        FIGUEROA                 KY           90013085287
84B91859877537   JESSE          FLORES                   NV           90012388598
84B94312841262   DENNIS         WESTON                   PA           90010403128
84B94393497138   HILDA          AMBRIZ                   OR           90011033934
84B9477896194B   BEAT           MILLER                   CA           90010137789
84B94798172B62   ROSEMARY       CADENA                   CO           33057197981
84B9539775B581   ABDULKADER     KHAMIS                   NM           90010573977
84B982A7791837   MALISSA        BEAVER                   OK           90010972077
84B9953368B154   CHARLOTTE      TERRELL                  UT           90010655336
84B99962797138   ELVIA          AVINA                    OR           44015239627
84BB1358176B97   RUTH           LOBATOS                  CA           90012763581
84BB1749891975   AARON          SHORT                    NC           90014907498
84BB347A971977   VIRGINIA       QUICK                    CO           90011104709
84BB382238B168   AUDREY         FETZER                   UT           90014718223
84BB5398841275   ADAM           SMITH                    PA           90013933988
84BB549985B183   KELTON         SHAW                     AR           23074054998
84BB68A7272B33   JOSHUA         WILLIAMS                 CO           90010748072
84BB6916172B29   GUILLERMO      GARCIA                   CO           33055069161
84BB84A3477537   STEPHANIE      ABEL-SANCHEZ             NV           90014564034
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84BB857256194B   DASHON          JOHNS                    CA           90014525725
84BB8822A85856   AUDREY          ARCHER                   CA           46053628220
85113A84355971   LLUVIA          CANDELA                  CA           90015060843
85114846A54B62   JEOVANNI        MARTINEZ                 VA           90014498460
85115913554B62   LUCIEN          CASEY                    VA           90014539135
85116854572B29   MICHAEL         PALMER JR                CO           90009808545
8511696818B154   EMILIO          TUJILLO                  UT           90010489681
8511845315B24B   AMBER           BLOOTHOOFD               KY           90012394531
851216A629154B   LETICIA         PINON                    TX           90014776062
851236A629154B   LETICIA         PINON                    TX           90014776062
8512683347192B   JUSTIN          ABBOTT                   CO           90013378334
85129846654B62   LAUREL          PETREVICS                VA           90013898466
8513429559152B   JAVIER          MORALES                  TX           90012232955
8513618976194B   MARIA           NAVA                     CA           90005731897
8513B1A3A93771   LATASHA         KNIGHT                   OH           90004241030
8514312345B581   KAITLYN         YAZZIE                   NM           90008881234
8514656177192B   MICHAEL         QUEEN                    CO           90013525617
8514955A761928   NICOLAS         ARCINIEGA                CA           90010775507
8515274278B154   ILENE           MORRIS                   UT           31053377427
851534AA997138   DIYANNA         LANGAGER                 OR           90011994009
8515366496192B   FAUSTO          SANTANA                  CA           46045336649
85154488376B68   JON             BAEK                     CA           90012524883
8515463779154B   SELINA          CAMPOS                   TX           90014776377
85154A1474B22B   EBEN            RICHMOND                 NE           90003910147
8515614595B183   BLANCA          CIFUENTES                AR           90013841459
85158499A91975   SHA-KEMHA       SUBER                    NC           90013094990
85158A26272B29   JANNETTE        TYSON                    CO           33013390262
8515978275B24B   LINDA           DOUGHERTY                KY           68015337827
8515B234772B62   CYNTHIA         ZIPPRICH                 CO           33083322347
8515B73988B168   SHERRI          CARRANZA                 UT           90010167398
8515BA72571977   ASA             JENSEN                   CO           90012320725
8516263779154B   SELINA          CAMPOS                   TX           90014776377
8516429A391979   MELISSA         SMITH                    NC           90012192903
8516463779154B   SELINA          CAMPOS                   TX           90014776377
85165228597B38   EVETT           BENAVIDEZ                CO           39048982285
85165593A8B829   MICHELE         PIGOTT                   HI           90014455930
851666A6A72B62   MIGUEL          SANCHEZ                  CO           90011606060
8516682274B22B   JAVIER          CASILLAS                 NE           90012008227
8516741924B22B   JERRY           CORNWELL                 NE           90013294192
8516796979152B   MARGARITA       BARBARA                  TX           90012009697
8516842A591975   HECTOR          ESPARZA                  NC           90012684205
8516855839152B   TERESA          SALAZAR                  TX           90014935583
8516963779154B   SELINA          CAMPOS                   TX           90014776377
85169777697B3B   LILIANA         GARCIA                   CO           39084757776
85171A27493771   ZACH            COMBS                    OH           90012950274
8517263779154B   SELINA          CAMPOS                   TX           90014776377
85172812672B62   ASHLEE          DEARMIN                  CO           90005518126
85173936572B33   TRACY           WINN                     CO           90013119365
85173A47497B3B   TYLER           CARR                     CO           90013620474
85174458254B62   JONATHON        HIGGINS                  VA           90011324582
851769A8355945   DEREK           VINCENT                  CA           90011359083
85176A63355945   MARIA           RODRIGUEZ                CA           90013840633
8517736584B22B   SAUL            ESTRADA                  NE           90012363658
85178A29861928   DANIEL          GONZALEZ                 CA           90005580298
85178A7248B168   RICHARD         WINTERS                  UT           90008160724
85179837A5B35B   ALLIO           BLONDI                   OR           90012608370
85182A3269152B   STEFANIA        TORRES                   TX           90007230326
85182A85597B3B   DERECK          GREEN                    CO           90012300855
85183135154B62   GLORIA          MAJAMO                   VA           90012391351
85183284A9154B   CRYSTAL         VAZQUEZ                  TX           90014782840
85184284A9154B   CRYSTAL         VAZQUEZ                  TX           90014782840
85184757572B33   MARIA           HERNANDEZ                CO           90000617575
85185464172B29   DENISE          GONZALES                 CO           90012834641
8518932735B581   ANGEL           BAFRRERAS DRUCE          NM           90013393273
8519213168B692   MARY            GARCIA                   TX           90014601316
8519223815B581   BARBARA         LUGONES-GONZALEZ         NM           90012772381
851955A2791837   RIKO            FCYFFORE                 OK           90002395027
8519641A372B33   KENYA           WILLIAMS                 CO           90013024103
8519929545B17B   KATHRYN         THOMAS                   AR           90006802954
85199A93855945   ROSALIO         HERNANDEZ                CA           90006070938
8519B135497138   KIMBERLY        BACA                     OR           44028821354
8519B543933698   BASSAM          ALLAMADANI               NC           90013075439
851B248519152B   RUTH            SAENZ                    TX           90013014851
851B586AA91523   JAMES           ALEGRE                   TX           90013628600
851B9113472B58   SHAWN           SHELTON                  CO           90011191134
8521142AA6194B   MARIA           RAMIREZ                  CA           90006464200
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85213432A97B38   ADRIAN             MEDINA                CO           90010204320
852139A1554B62   REINALDO           MALDONADO             VA           90013959015
85214A37181677   JUAN               PEREZ                 MO           90013560371
852151A3891975   HERIBERTO          MARTINEZ              NC           90009291038
85216284872B33   MARIA              DE LA ROSA            CO           33091632848
85217A1A231454   PATRICIA           LEONARD               MO           90009070102
85218543672B62   FEDERICO           CASTANDEA             CO           90013305436
8521926479152B   DAFNE              DAVILA                TX           90011062647
8521B138154B62   DANIEL             HUFF                  VA           90000501381
85221263A41262   ALPHONSO           EVANS                 PA           90013932630
852221A6154B62   JOHNATHAN          CARTER                VA           90014541061
85222A86897B38   MARCI              ZARATE                CO           90014710868
85223228472B29   MARDO              UCEDA                 CO           90012502284
852237A518B154   JOSE               LUIS                  UT           90006647051
8522396938B154   JESSICA            MARTINEZ              UT           90012339693
852297A565B24B   DEMETRIUS          ADAMS                 KY           90009707056
85229844854B62   JOSE               CORTEZ                VA           90006468448
8522BA57347822   ALVIN              WOOTEN                GA           90006630573
852323A937B465   NACHELLE           BURRIS                NC           90011103093
852326A1271977   ZULEMA             FRANCO                CO           90010436012
852351A2855945   LISA               ANDRESS               CA           90014541028
8523888825B183   HOLLY              WARNER                AR           90011938882
8523B27792B28B   ANA                REYES                 DC           90006972779
8524329515B24B   SHAUN              WASHINGTON            KY           90014702951
8524443A94B22B   SOPHIA             ALLEN                 NE           90014604309
8524527619152B   MARIO              ARENAS                TX           90011062761
85247124354B62   ROSHAUN            CROOMS                VA           90010301243
8525176695B24B   DONNIE             CASH                  KY           90015147669
8525223815B581   BARBARA            LUGONES-GONZALEZ      NM           90012772381
8525423815B581   BARBARA            LUGONES-GONZALEZ      NM           90012772381
852544AA454B62   DAVID              BUCKNER               VA           90013214004
8525553A554B62   TYLER              BURNS                 VA           90011845305
85256654876B68   AUBREY             HARRIS                CA           90013176548
85257217572B33   TROY               GRAY                  CO           90013922175
85257885197B3B   MATTHEW            VERMEERN              CO           90010278851
8525B795472B33   ROSIBEL            VARELA                CO           90008867954
8525B9A6277537   JOHN               SWEETEN               NV           43078789062
8526265218B168   AUSTIN             TOWNESN               UT           90014726521
85263188654B62   TIMOTHY            SPAULDING             VA           90013991886
8526537A472B62   TARA               OLIVER                CO           33080883704
8526582198B154   CRISTAL            PRINCE                UT           90014858219
8526B87699154B   ELIZABETH          HERNANDEZ             TX           90010608769
8526B955A2B271   BRIAN              ALSTON                DC           81096849550
8527181132B891   ANGELA             LEVASSEUR             ID           90007888113
8527292328B154   DAVID              OSORIO                UT           90011119232
852742A5A33698   ALEX               ROSS                  NC           90014182050
852747A2641275   JAY                UNAVAILABLE           PA           90014917026
85275685454B62   JAZMIN             HERNANDEZ             VA           90011236854
85275723A76B68   EPIFANIA           FLORES                CA           90013667230
8527579495B24B   MELISSA            SNYDER                KY           90008597949
85276431976B68   ALENEFER           JAIMES                CA           90008334319
8527983926194B   LAURA              SANCHEZ               CA           90011848392
8527B425551362   MIKE               BELLAR                OH           90012134255
8528397182B891   KOETTA             BLACKWELL             ID           90004889718
852848A248B163   NATALIE            SMITH                 UT           31095088024
852866A7876B68   CHRISTOPHER        RYAN                  CA           90013316078
85287745897B3B   CORAL              MAZEIKIS              CO           90014827458
8528B77832B366   GEFEMICHEAL        TESFA-MARIAM          CT           90013907783
8528B94459152B   LILIAN             PORRAS                TX           90014169445
8529119A455935   RIGOBERTO          PINEDA                CA           90011921904
852913A9855945   ROY                WARREN                CA           90008483098
85294125A71977   JAMIE              MILLER                CO           90004351250
85297597A91979   ROBIN              SMITH                 NC           90014855970
8529954368B168   JONATHAN           CORTES                UT           90010015436
852B5228954B62   WILBER             MARTINEZ              VA           90008762289
852B6674676B68   HERNANDEZ NIEVES   VIANEY                CA           90011496746
852B7257493771   CHRISTY            MARIE                 OH           90011092574
852B855669154B   MAYRA              ACOSTA                TX           90002835566
852B8685A54B62   TAM T              JONES                 VA           90012976850
852B9515A55971   SANDRA             CASTANEDA             CA           49033175150
852BB493276B68   JAMON              BALDWIN               CA           90012684932
852BB791641275   DAREK              WILLIAM               PA           90008207916
853112A5171977   JACOB              ARCHULETA             CO           90013822051
85311A8348B168   RICHARD            HODGES                UT           90013080834
85312967472B29   DAVID              LUDWIG                CO           90012419674
8531472185593B   ELOY               LEON                  CA           90010567218
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8531541966194B   PEDRO            MENDEZ                 CA           46044204196
853155A729154B   ELSA             LEYVA                  TX           90014785072
85317614A33698   PORSHA           NOELL                  NC           90009666140
8531879A287B71   ALISHA           HOLMES                 AR           90014367902
8531B181172B62   JUDY             ESPINOSA               CO           33064761811
85321798472B29   PAULA            BEANA                  CO           33007357984
85323274672B33   CHRYSTEL         CORNELIUS              CO           90012832746
85323414A8B168   RYAN             MCCOY                  UT           90000104140
85323AA135B24B   AMELIA           JEFFERSON              KY           90013940013
85325823997B38   MOISES           ESTRADA                CO           90013058239
85326384772B33   RALPH            HELPHREY               CO           90012583847
8532662A172B62   TIKI             BACA                   CO           90012846201
85327A73891975   VANESSA          VAREHA                 NC           90013930738
85328452872B62   ELJAY            THOMAS                 CO           90012924528
85328A23A9152B   ELVIRA           VARGAS                 TX           90011610230
8532B74769152B   ALEXIS           PORTILLO               TX           90011467476
85334777A47822   TIMOTHY E        LINDER                 GA           90002027770
8533669155B183   MARCO            EDWARDS                AR           90012056915
8533792A291242   EDDIE            ROBERTSON              GA           14532289202
85337A5A83B39B   BENJAMIN         SIEGLE                 CO           90000260508
8533B9A4881677   CAROYLN          SPAIR                  MO           90011579048
85341946772B29   BENNY            CAMACHO                CO           90005059467
8534476855B581   TERRI            HARLOW                 NM           90009707685
853461A4997B38   BRANDON          ELSBURY                CO           39082061049
85346299A91975   ELEUTERIO        SANCHEZ                NC           90013952990
853476A7154B62   CHRISTINE        COUNTS                 VA           90012286071
85349241A91523   LAURA            ARVILLA                TX           90011052410
85349426754B62   SERCIO           GONSALEZ               VA           90013974267
8534B484693771   DANIELLE         HODGE                  OH           90014154846
8534B631785856   SAMSON D         PEDROZA                CA           90010896317
8534B66A99152B   LUIS             RODRIGUEZ              TX           90011076609
8535582565B27B   CHRIS            MORGAN                 KY           90001338256
85358A6A891979   KIRBY            WRIGHT                 NC           90012740608
8535B328733698   EMILY            THORNE                 NC           90014183287
85364527A9154B   CESAR            FLORES                 TX           90014785270
8536576222B265   RENATA           ARTIS                  DC           90005247622
85371A9A22B28B   ANTJOUN          RIDDICK                DC           90012780902
85372792154B62   DENIS            GONSALEZ               VA           90014067921
8537496358B154   ARACELI          JIMENEZ                UT           90011989635
85376779754B62   BRADLEY          BILLINGSLEY            VA           90013977797
8537697718B168   BENNIE           WALKER                 UT           90015129771
85376A82472B29   ANGEL            FIERRO                 CO           90005070824
853822A1A5B24B   LAKEISHA         COMBER                 KY           90013942010
85387A9949154B   JESUS            RODRIGUEZ              TX           90011490994
85389935A5B24B   BEVERLY          JOHNSON                KY           90006329350
85391234A55971   ALICIA           MOLINA                 CA           90013012340
8539312949154B   ENDIA            CHAVERS                TX           90011141294
85394995197B38   ELDER            VELASQUEZ              CO           90014859951
85398113A97B38   ANTONIA          BERNAL                 CO           90012011130
85399AA8791324   CHALICE          TAYLOR                 KS           90014500087
853B238469152B   MARIA MAGDALE    HOLGUIN                TX           90012953846
853B314452B891   KENNETH          NUNES                  ID           90008291445
853B3891591979   MANUEL           ALVAREZ                NC           90002318915
853B449719152B   VERONICA         RAMOS                  TX           90001074971
853B6139791975   NIKEHCHI         WOHEREM                NC           90011031397
853B7814A5B24B   GLENN            BEELER                 KY           90010368140
853B8243891975   JAMES            SMITH                  NC           90012642438
853B9853955945   MARISSA          MARES                  CA           90010978539
85413A17677537   ALICIA           WADSWORTH              NV           90009940176
8541467344B22B   IRMA             FRANCO                 NE           90012746734
85415A29197138   JEREMY           SCOTT                  OR           90010240291
85415A89961556   STARNEACK        MURPHY                 KY           90014850899
8541917239154B   KIMBERLY         CHRISMAN               TX           90010721723
8541996758B168   CRISTIAN DAVID   MARQUEZ-FLORES         UT           90011189675
8542149A772B33   ALFONSO          AYALA                  CO           90010654907
854219A946194B   JOSE             RAMIREZ                CA           90001899094
85424A7258B168   JAMIE            BIRCH                  UT           90004760725
85426577572B43   AMBER            BARROS                 CO           90012735775
85426A2A85B183   TAMARA           NATION                 AR           90008860208
85427974898B2B   JOAN             AMOS                   NC           90010599748
8542937A472B62   MARLAND          RUSH                   CO           90013093704
85432184997B3B   KAYLEIGH         MCQUERY                CO           90009981849
85436127576B68   SAMANTHA         HUGHES                 CA           90013341275
8543642293B358   TOM              JOHANNSEN              CO           33061884229
85437251754B62   ERIK             URIAS                  VA           90012112517
8543893468B168   JOSEPH           OREILLY                UT           31014699346
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8543951975B581   YAREN          AOLER-ARRATE             NM           90008255197
85439A98171977   JOE            BACCA                    CO           90014100981
8544268758B163   GAIL           CAMERON                  UT           31022956875
8544433A371977   GENEVA         MONTOYA                  CO           90013753303
85444667154B62   LISANDRO       GONZALEZ                 VA           81010756671
8544571A633698   COLLY          BOLLY                    NC           90014187106
8544665777192B   CLAUDEANA      CHAPMAN                  CO           90005816577
85447663A51362   NAKESHA        SIMPSON                  OH           90009786630
8544827698B168   RICHARD        GARCIA                   UT           90015312769
8544993A377537   MARIA          VELASCO                  NV           90010929303
8545116495B59B   JAZMINE        HENRNADEZ                NM           90010921649
85452312876B68   REGINALDO      JUETA                    CA           46021133128
8545B69586194B   KAREN          CLIPPER                  CA           90003266958
854622A716194B   ADELA          QUINTEROS                CA           46015672071
8546244465B24B   CHEVON         JOHNSON                  KY           90013944446
85463499176B68   HAROLD         LAMB                     CA           90013864991
85464A89691979   RUTH           OGORO                    NC           90002110896
85469232772B62   STACEY         HICKS                    CO           33036742327
8547714A59154B   MARTIN         PORTILLO                 TX           90011141405
8547788A497138   JOSE           GARCIA                   OR           90000198804
85478426472B33   MIGUEL         VILLALOBOS               CO           90010404264
8547BA1A181677   KATY           HOUSE                    MO           90009890101
85482AA238B163   MARCOS         PINA                     UT           90009250023
854898A2391837   TOI            ADAMS                    OK           90012058023
8548B161597138   CIERRA         BURNETT                  OR           90005561615
8548B51269152B   ALFONSO        REYES                    TX           90012365126
8549364A955945   AIOTEST1       DONOTTOUCH               CA           90015116409
85494A22A9154B   ROSALES        LORENZO                  TX           75073980220
8549644A791979   JOHN           LARA                     NC           90008404407
85496568972B29   DIEGO          SOLIS                    CO           90012895689
85497379A8B154   ANDREW         ANDERSON                 UT           90010503790
8549B82519152B   ISRAEL         CROYSDILL                TX           90013098251
854B1129693771   LESLIE         ABNER                    OH           90013801296
854B124485B24B   TONY           SKAGGS                   KY           90013942448
854B1546233698   JAMES          DOE                      NC           90014185462
854B4556733698   BOLLY          TOLLY                    NC           90014185567
854B5A13A72B33   BRIAN          SMITH                    CO           90013580130
854B7196233698   RUBEN          ROBLES                   NC           90010361962
854B797A561928   LILIANA        FLORES                   CA           90000379705
854B8541185856   GABRIELA       VILLARNOVO               CA           46084465411
854BB423A4B954   GAIL           JAMES                    TX           90010644230
855122A5171977   JACOB          ARCHULETA                CO           90013822051
85513436154B62   VANESSA        BROWN                    VA           90013924361
8551467465B183   DONALD         FLOYD                    AR           23011236746
8551668983B386   ROBERT         CHAPIN                   CO           90006126898
8551756792B991   YVETTE         MORD                     CA           90011605679
8551789885B581   ALBERT         BROWN                    NM           90006748988
8551841644B577   SHERONICAL     PRYOR                    OK           90010794164
85521373376B68   DAVID          DEYONGE                  CA           90010913733
855234A2A5B565   CHRISTINA      PAISANO                  NM           90014844020
8552527919154B   AGUAYO         CRISTINA                 TX           90010612791
85525368A47897   CHIQUITA       MOODY                    GA           90013263680
8552553A791324   TYESHA         FRANKLIN                 KS           90014565307
85526A25691979   TAWANA         COLEMAN                  NC           90010780256
8552733185B581   CYNTHIA        RODRIGUEZ                NM           35063603318
8552873976194B   CINDY          RIOS                     CA           90010427397
85536813697B38   DANIEL         ARROYO                   CO           90012768136
855369A1633698   MARVA          JUMPER                   NC           90014199016
8553983A941262   WILLIAM        GRANT                    PA           90011508309
8553B627A9152B   ISIAH          WASHINGTON               TX           75058176270
85541427997B3B   MARI LUZ       ESTRADA                  CO           90010764279
8554164A955945   AIOTEST1       DONOTTOUCH               CA           90015116409
85542173A9152B   JORGE          GUEVARA                  TX           90010311730
85542777A47822   TIMOTHY E      LINDER                   GA           90002027770
8554682549152B   ANA            VILLEGAS                 TX           90013098254
85546887453B82   LEAH           WILKES                   CA           90012668874
855473A279154B   FERNANDO       GONZALES                 TX           90010613027
8554751245B183   SHANELL        CIRCLETT                 AR           90014925124
85547A4469152B   JESSY          MONTOYA                  TX           90013880446
85547A6944B22B   AUDRAINA       PEAK                     NE           90012710694
8555288989154B   ROBERTO        HERNANDEZ                TX           90004618898
85555667A76B68   ROSEANN MAY    PISCH                    CA           90012866670
85555A63297B38   ANDY           HORNER                   CO           90013150632
85556152A72B33   PENNY          CLARK                    CO           90008151520
85557454797B38   MELISA         TORRES GUTIERREZ         CO           39004334547
8555B392A33698   SHELDON        COBLE                    NC           90010933920
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8555B493276B68   SHANNAN        KELLIE                   CA           90014834932
8555BA25A2B28B   NAME           NAME                     DC           90007000250
8556515834B22B   MIKE           PIATT                    NE           90002721583
8556622879152B   TOMAS          AGUERO                   TX           75001362287
85568A6633852B   DANIEL         BULLOCK                  UT           90008040663
8556B379672B62   LAWRENCE       DURAN                    CO           90006243796
85571113372B29   JORY           GUERRA                   CO           90013741133
85571212776B68   DIEGO          DIEGO                    CA           46000232127
855732A8855945   JOSEPH         BECKER                   CA           90010992088
85573569A71977   MALINDA        HERNANDEZ                CO           90011655690
85575668A41275   STEPHENIE      MOSS                     PA           51062736680
85576131A91583   RIVERA         EDGAR R                  TX           90010111310
8557785879152B   ALVA           RODRIGUEZ                TX           90012668587
85582675776B68   PATRICK        PAYNE                    CA           90013456757
85582684472B33   IVAN           RAMIREZ                  CO           90012476844
855843A562B981   TRINA          PRICE                    CA           90008203056
8558464425B24B   NICODEMUS      BUEGE                    KY           90013946442
85584697772B33   DIANA          QUINTERO                 CO           90003826977
8558934A176B68   JOSE           MOLANO                   CA           90012323401
8558B283671977   JESSICA        GOMEZ                    CO           90013732836
8558B476991324   MARIA          GUZMAN                   KS           90013404769
8558B963577537   LINDA          MOCK                     NV           90013619635
8559381645B335   BRIAN          HERMAN                   OR           90013358164
8559467385B183   ELISHA         DAVIS                    AR           90011066738
85595495672B28   CHRISTIN       YOUNG                    CO           90013964956
85596846A54B62   JEOVANNI       MARTINEZ                 VA           90014498460
8559881645B335   BRIAN          HERMAN                   OR           90013358164
8559B223697B3B   ALEXANDRIA     YADEN                    CO           90013042236
8559B449A9374B   DARLENE        GIVENS                   OH           90012454490
855B257638B154   JESUS          RINCON                   UT           90010455763
855B357638B154   JESUS          RINCON                   UT           90010455763
855B454A172B29   MERCEDES       DOMINGUEZ                CO           90005565401
855B5247991324   TYLER          WHITE                    KS           90009592479
855B615848B154   ANDREW         ENGLISH                  UT           90012521584
855B666A75B24B   DEVIN          WARS                     KY           90011426607
855B6881997B38   CECILIA        CRUZ                     CO           90012848819
855B861279154B   ALMA           MORENO                   TX           90014786127
855B8873571977   JAY            HERNANDEZ                CO           90009938735
855B9287497B38   KATHERINE      PACEK                    CO           90010802874
855BB379A8B154   ANDREW         ANDERSON                 UT           90010503790
855BB475671977   REBECCA        MAESTAS                  CO           90012834756
855BBA79172B29   BRIANNE        BAYLESS                  CO           90011490791
85611214A61928   LEODEGARIO     ALATORRE                 CA           46040682140
856118A9881677   KALI           WILSON                   MO           90011648098
8561355A772B29   JACQUELYN      MADRID                   CO           90013495507
85613568A72B33   TONY           FINCA                    CO           90004515680
856142A5654B62   DANIEL         HAMMOND                  VA           90000422056
85616A45861928   LEVERNE        CANNADY                  CA           90010940458
856176A1555971   DAVID          LOPEZ                    CA           90014596015
85618636997B38   MARISOL        BUENROSTRO               CO           90013226369
85619746A97B3B   LOURDES        ABARCA                   CO           90007797460
856197A188B154   SAUL           HERNANDEZ                UT           90012847018
8561BA1A89152B   ABRAHAM        LICON                    TX           90007100108
85623132A5B388   MIGUEL         DAVILA                   OR           90002131320
85623A9759154B   OLIVIA         HIDROGO                  TX           90011490975
85624493876B68   KENIA          QUINTERO                 CA           46011134938
85625812A91324   JUAN           HERNANDEZ                KS           90011418120
856294A5893771   ERIKA          MENEOZA                  OH           90013924058
8562B3A2272B33   RICHARD K      CLAYCAMP                 CO           90012823022
856333A2371977   ALEJANDRO      JIMENEZ                  CO           90012823023
8563375995B183   LINDA          HUBBERT                  AR           90013147599
85635281776B68   MANDY          PARROTT                  CA           90006642817
8563617178B168   SANDOVAL       BEVERLY & PHILL          UT           31025271717
8564349A361928   RAMON          GUITERREZ                CA           46018124903
8564539375B183   RAMSEY         PARKER                   AR           90014083937
85645659A55945   MANUEL         GUZMAN                   CA           90012306590
8564581325B581   CECILIA        RIVERA                   NM           90014818132
85645A5A397138   HORACIO        SAINZ-GARCIA             OR           90007140503
856465A213B396   BRIAN          EMRICK                   CO           90008855021
8564674495B24B   DAVID          PEARSON                  KY           90013947449
8564853A791324   TYESHA         FRANKLIN                 KS           90014565307
8565182363B354   ARIANNE        ROMERO                   CO           90009788236
8565264198B164   JENNIFER       MILLER-TRUJILLO          UT           90004536419
85652973172B27   SAUL           FLORES                   CO           90002019731
8565388A95B24B   SONYA          TIMMONS                  KY           90013818809
8565397462B28B   SHERMIKA       WEBB                     DC           90001679746
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8565772952B28B   PEDRO           MAGNA                   DC           90001087295
8565795882B271   JAMAR           MALDONADO               DC           90002799588
8566154989152B   RAY             GALVAN                  TX           90013325498
8566178138B154   SHAELYN         HARVEY                  UT           90014347813
85661A45947897   CLINTON         FOWLER                  GA           14034280459
8566317A554B62   JESSE           JAMES                   VA           90011051705
8566457849154B   MARIA           QUINTANA                TX           75006995784
8566764478B168   TRINA           HARDCASTLE              UT           90014726447
856685A2555945   THYVONG         BIN                     CA           90015165025
856766A7291324   MEGAN           MCMBRIDE                KS           90011966072
8567769A472B62   MANUEK          ECHIVESTE               CO           90014156904
85677784997B38   DAMIAN          POTTER                  CO           90012137849
856815A6555971   GRISELDA        FLORES                  CA           90006135065
85681743476B68   GERONIMA        JAIMES                  CA           90013257434
85681929A8B154   GAVIN           JONES                   UT           90012789290
8568259A29154B   JOHN            RETANA                  TX           90011155902
8568277A797B3B   NANCY           TORRES GONZALEZ         CO           90014537707
856931A2391979   ANTWONI         DAVIS                   NC           90011121023
85694AA5393771   CHRIS           RESOR                   OH           90013650053
8569713895B17B   LASTREASE       LEWIS                   AR           90007761389
856B1278491975   ISAM            IKHREISH                NC           90013932784
856B355A37B339   ROSIBEL         ESCOBAR                 VA           90011725503
856B3849172B29   DONALD          WILSON                  CO           90007668491
856B526699154B   SERGIO          RUBIO                   TX           90010832669
856B6163747897   GREGORY         FAMBLES                 GA           90011281637
856B643699152B   JOHN            RONQUILLO               TX           90010984369
856B878495B139   ERICA           WILLIAMS                AR           90006257849
856B92A8272B62   MARIO           ESPANA                  CO           90009442082
857114A5254B62   JONATHAN        CARTER                  VA           90014334052
85711737797B3B   RICHARD         LEE                     CO           90012197377
85712714697B38   ANGEL           MARQUEZ                 CO           90010817146
85713693176B68   TRINO           DELTORIO                CA           90015146931
8571493448B154   BRANDI          TURNER                  UT           31078199344
8571558895B183   ELISHA          HOUSE                   AR           90012995889
85715996797B3B   DYLAN           DE GRAZIO               CO           90013589967
8571867555B183   SHAVONDA        PETERS                  AR           90011156755
8571B231681677   BILL            JOHNSON                 MO           90008532316
857215A2391979   CIERRA          ALEXANDER               NC           90014125023
85725685272B29   PJ              GLORIA                  CO           90005796852
85726172472B29   TROY            ALLEMAN                 CO           90007631724
85727625576B68   MARK            PARISH                  CA           90013396255
85727A85A76B68   ROBERTO         MENDIOLA                CA           90014750850
85728573A72B62   JOSE            GUZMAN                  CO           90007505730
8572958A35B581   DORITA          GARZA                   NM           90001235803
8573236942B891   MATHEW          GALE                    ID           90006893694
8573438A455945   ALEJANDRA       PIMENTEL                CA           90014183804
8573476318B168   JOHN            MYERS                   UT           90012977631
857347A5377537   THOMAS          THORNTON                NV           90011497053
857373AAA9154B   JOSE            SANCHEZ                 TX           90011313000
85737A56147897   MIRIAM          DEAN                    GA           90009330561
857388A879152B   MAYRA           MEZA                    TX           90013158087
8573897875B24B   LEKESHA         WATKINS                 KY           90013949787
8573B237791837   ALAN            JIMBOY                  OK           90012702377
8574126555B24B   FELICIA         PRESLEY                 KY           90010872655
85741877272B33   FELIPE          SANCHEZ                 CO           90012758772
8574213859154B   RANDALL         DICKERSON               TX           90014791385
8574299265B24B   HANNAH          MEREDITH                KY           90013949926
85743464A91837   STEVEN          GARCIA                  OK           90007944640
8574359119154B   ANGELA          BARDALES                TX           90011155911
85746A71954B62   CHRIS           WILLIAMS                VA           90011180719
8574B514841262   MICHAEL         LEIBOWITZ               PA           90014095148
8574BA65691975   WESLEY          PRESTON                 NC           90009210656
85751A1A35B24B   TERESA          VIDALES                 KY           90013950103
8575233A893771   ROGER           EUBANK                  OH           90012993308
8575249319154B   JESUS           GURROLA                 TX           90014774931
85753229754B62   CHRISTINE       WILLIAMS                VA           90011072297
85755AA9941262   KAYLA           LIPPS                   PA           90014680099
85758541972B62   HORTENSIA       ADAME                   CO           33033515419
8575B693A61928   EDWIN EDGARDO   CASTILLO                CA           90010426930
8575B99A89132B   JUAN            BARRIENTOS              KS           90006319908
85761A69672B29   MIKE            LUCERO                  CO           90010300696
85761A85A5B17B   MARCUS          BROWN                   AR           90004220850
85762354454B62   EMMANUEL        BABA                    VA           90008653544
85762456654B62   JOSE            BENITEZ                 VA           90006204566
85766393654B62   DEDE            LARSEY                  VA           90012863936
8576737925B581   GABRIELA        GAONA-CANALES           NM           35049353792
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857683AA19154B   MARIA          SERRANO                  TX           75030643001
85769A35897B3B   LETICIA        MIRELES                  CO           90007430358
8576B49319154B   JESUS          GURROLA                  TX           90014774931
857717A4172B33   DILLON         LAMBERT                  CO           90013137041
85772A61681677   MERDERA        WALKER                   MO           90013140616
8577355428B163   TRACY          MCCALL                   UT           90004825542
8577729A491979   DIONNE         PETERSON                 NC           90012042904
8577741918B154   BRIAN          SONDRUP                  UT           31026824191
85778A3A197138   JULIA          CHAVEZ                   OR           90012680301
85779A7355B24B   DIANA          AQUINO                   KY           90013950735
8577BA9488B161   ALYSSA         ZAMORA                   UT           90012270948
85781866372B62   LIDIA          LOPEZ                    CO           90009118663
8578325735B581   JUDY           MARTINEZ                 NM           90005292573
85783A43633698   WHITNEY        LEA                      NC           90014890436
8578546A191324   MYRA           SIMS                     KS           90009294601
8578575895B581   ASHELY         WICKHAM                  NM           90011567589
85788397772B33   ESPERANZA      CHAVEZ                   CO           90012923977
85788717772B33   REYES          ISRAEL                   CO           90010427177
8579244245B581   PONCE          ORDONEZ                  NM           90012264424
85795A95372B33   ULISES         SAMARO                   CO           90009430953
85799834A5B183   MODENE         GILLERSON                AR           90013378340
857B429A991324   RAMIRO         LINARES                  KS           90012112909
857B5329A81677   CLARE          ROBERTS                  MO           90012223290
857B7215633698   MONISHER       ALLRED                   NC           90014212156
857B7445377537   MICHAEL        LABRIE                   NV           90012194453
857B855A772B29   JACQUELYN      MADRID                   CO           90013495507
857B8712371977   RAEANN         SAPEDA                   CO           90012317123
857B9218A2B28B   LAKEYA         HOLLAND                  DC           90010132180
857B9A7135B581   ANA            TREJOGARCIA              NM           90014450713
857BB5A832B271   TRACY          CLEMENS                  DC           90003555083
8581264A955945   AIOTEST1       DONOTTOUCH               CA           90015116409
85813AA5A55971   DANNY          GUTIERREZ                CA           90005350050
8581426636194B   MARY           THANPIENY                CA           90000222663
85815378176B68   TERRY          HENDERSON                CA           90012633781
8581B145633698   LAMYRE         HARRINGTON               NC           90011321456
8582131A655945   EMYROSE        MARTINEZ                 CA           90014163106
858213A4A55971   ERMINA         THOMAS                   CA           90014673040
85821742476B68   MYLON          KOX                      CA           90012767424
85822A6316194B   PAKI           CHENELO                  CA           90008290631
8582415275B24B   LAWRENCE       GOODSON                  KY           90013951527
85824956A91324   ANGELINA       MEYER                    KS           90009349560
8582512528B154   DEBORAH        ESTRADA                  UT           90010521252
85826566897B3B   ISRAEL         HERNANDEZ                CO           90002455668
8582698468B168   MARIA          GARCIA                   UT           90012169846
8582B12528B154   DEBORAH        ESTRADA                  UT           90010521252
8583195718B163   JACOB          MANZANARES               UT           90004429571
8583299A572B33   JOSE           MARQUEZ                  CO           90015159905
8583426AA9152B   BRISETTE       RIVERA                   TX           90013032600
8583659695B581   DAJOUR         BENSON                   NM           90012675969
858367A585B27B   DARIUS         HUTCHERSON               KY           90009277058
85838723A93771   ASHLEY         JOHNSON                  OH           90014447230
8583929269154B   LIZA           MITCHELL                 TX           90014792926
8583B245355971   ROBERT         HERNANDEZ                CA           90014682453
85841653176B68   LEANN          ROBBINS                  CA           46024166531
85844274397B38   JOSE           HERRERA                  CO           90014842743
8584487A877537   IRMA           MORA                     NV           43047278708
8584589635B183   EARL           RANCIFER                 AR           90012988963
85846946A91975   CANDANCE       WATSTON                  NC           90011489460
85848587576B68   CORY           PRICE                    CA           46040595875
858496AA855971   ALEJANDRO      MENDEZ                   CA           49055666008
8584B93975B183   CARLA          STRIPLIN                 AR           23029969397
8585388385B183   ANDREA         DOLPHIN                  AR           90013318838
85854A67671977   AUBREY         WHITE                    CO           90014490676
8585885A276B68   TJ             FLOYD                    CA           90011358502
85858A7669152B   PAULA          MONCAYO                  TX           90002320766
85858A94791975   JOSE           PEREZ                    NC           17086640947
8585967249154B   FERNANDO       JAUREGUI                 TX           90011156724
85862891772B62   EZEQUIEL       SOTO                     CO           90012678917
85862AA757B635   CIERA          ROBERSON                 GA           90005660075
858639A3391979   SHERRI         RICHARDSON               NC           90010339033
85866A28533698   KEVIN          TURNER                   NC           90011490285
85866AA6497B3B   HENRY          ESPINOZA                 CO           90012740064
858683AAA5B24B   NIKKI          FORD                     KY           90013953000
8586B696354B62   CHRISHAD       CLARK                    VA           90013136963
8586B825155971   CLAUDIA        VALDEZ                   CA           90014678251
858714A5754B62   DANNY          THIEBOLT                 VA           90013124057
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85872591172B33   JOSE           RODRIGUEZ                CO           90012445911
8587535149154B   CRISTINA       ARMENDARIZ               TX           75017953514
85877745454B62   PATRICK        STEPHENS                 VA           90013307454
8587B944481677   LASHAYLA       COLBERT                  MO           90005469444
8588218218B168   GARY           BOYDEN                   UT           90013331821
8588299139154B   JORGE          SALINAS                  TX           75070429913
858842A598B168   CECILIA        RODRIGUEZ                UT           90014562059
85889571A6198B   JYRONE         HIGHTOWER                CA           90008385710
8588B354577537   MARIA          TORRERO                  NV           90014323545
8588B557955945   ALFREDO        DIMAS                    CA           90013725579
8589163278B154   MARIA          RODRIGUEZ                UT           90015126327
858955A6691975   FORTINO        AMBROS                   NC           90013935066
858977A259152B   ABRAHAM        HERNANDEZ                TX           90012897025
85899644954B62   AYEESITA       CHARIEY                  VA           90010486449
85899A46455971   GAVINO         SOLIS                    CA           90004270464
858B4973991979   ANGEL          SWINE                    NC           90009379739
858B8711677537   CLAUDIA        GARCIA                   NV           90014437116
858B9779772B62   DANIEL         ORTIZ                    CO           90011817797
8591146189154B   LUCERO         GOMEZ MEDRANO            TX           90011364618
85912158472B62   MIGUEL         ORTEGA                   CO           90013411584
8591565119152B   CRYSTAL        ORTEGA                   TX           90014716511
8591584112B94B   ARTURO         ROJAS                    CA           90007698411
8591687A55B24B   ALICIA         SEGO                     KY           90013968705
85916AA725136B   AUTUMN         CRAWFORD                 OH           90007720072
859183A965B24B   JUAN           VAZQUEZ                  KY           90013973096
8591B42415593B   ALBERTYO       SANDOVAL                 CA           90011004241
8592186382B28B   DANIELLE       HARRINGTON               DC           90011758638
8592262644B22B   LEON           SPENCER                  NE           90013906264
8592293175B24B   GERALD         COMBS                    KY           90013969317
85922998697B3B   DANNY          MORGAN                   CO           90013819986
8592393395B24B   GONEALO        CASTELLAHOS              KY           90013969339
85925369A61928   KEITH          WRIGHT                   CA           90013513690
85929579A72B62   JOHN           CAVENDER                 CO           90011025790
85932561A97B3B   KULDEEP        BHATTI                   CO           90003125610
8593663A254B62   MARIA          ORELLANA                 VA           90001126302
85936A76371977   SHANNON        ALVIDREZ                 CO           90007730763
859381A8A71977   JERRY          STOGDELL                 CO           90013611080
8593948819154B   SHANE          MCMHAN                   TX           90014794881
85941A81891837   PATRIAL        YARBROUGH                OK           90005270818
859444A9872B33   ASHLEY A       LEAKS                    CO           90010984098
85944A73993771   RHONDA         BRAGG                    OH           90011100739
859456A4772B62   PATRICK        ULIBARRI                 CO           90012846047
85946A36172B33   FRANCISCO      PAYAN                    CO           33009650361
8594796A455971   ROBBIE         MATLOCK                  CA           90014769604
85949646197B3B   BALBINO        OQUELI                   CO           39005646461
85949833A91837   MARIO          LARA                     OK           90007948330
8594B366191523   JAVIER         VEDOY                    TX           75002493661
859513A8541275   RONDA          THORNTON                 PA           51014283085
859533A8541275   RONDA          THORNTON                 PA           51014283085
85953AA2291975   TIFFANY        HINTON                   NC           90012990022
8595496A991324   KAREN          BACA                     KS           90010059609
85955A24491979   AZUKA          MOLOKWU                  NC           90012090244
8595617848B154   AMANDA         GRIMSTAD                 UT           90014251784
8595823815B581   BARBARA        LUGONES-GONZALEZ         NM           90012772381
85959859672B29   MONICA         WALKER                   CO           90011118596
8595B97AA77537   STEVEN         CURIEL                   NV           43042689700
85964579972B33   BO             BRODRICK                 CO           90006215799
85965A8454B22B   BRYAN          WALTERS                  NE           90014110845
85968284A41275   DENISE         MURRAY                   PA           90010202840
8596969879152B   DIANA          LOPEZ                    TX           90011076987
8596B51922B28B   MARIA          PINZON PAREDES           DC           90003275192
8596B686833698   ELAINE         REYNOLDS                 NC           90013046868
85974634472B62   ALBERTA        GARCIA                   CO           90006006344
8597489A855971   DAVID          HERNANDEZ                CA           90014688908
85975743A55945   CURTIS         CRAWFORD                 CA           90004767430
85979317872B29   EDGAR          HERNANDEZ                CO           33087983178
8598257887B448   DOMINIC        ELLIS                    NC           90013075788
85983A24576B68   BERNICE        WILLIAMS                 CA           90012310245
8598526832B891   GRISELDA       HERNANDEZ                ID           90008442683
859884A554B22B   KYLE           SMITH                    IA           90009994055
8598B72AA9152B   JENNIFER       ENRIQUEZ                 TX           90011077200
85996664797B3B   JOSEPH         GREEN                    CO           90014536647
85999354172B62   GREGORY        MARTINEZ                 CO           90011863541
859B1498641275   BRENDA         FAULKNER                 PA           90012114986
859B157859154B   CHRISTINA      GRUNDEN                  TX           75048615785
859B1714876B68   RON            DILLON                   CA           46007397148
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859B6371561928   MATHEW         GUTIERREZ                CA           90010293715
859B665A172B29   DAVID          GARCIA                   CO           90014856501
859B935318B168   JOSHUA         TRACY                    UT           31094373531
859B9746141275   JASON          MCDONALD                 PA           90014347461
85B11552233698   MYRA           SHIRD                    NC           90010705522
85B11733497138   JORGE          LOPEZ                    OR           90011107334
85B12A54391324   SIMONE         YOUNG                    KS           29017950543
85B13846261928   JOSE           MARTINEZ                 CA           90013268462
85B14234255971   ARIEL          VEGA                     CA           90011342342
85B143A1772B29   CHRISTOPHE     KRADY                    CO           33086303017
85B1475772B256   SAMUEL         GYAMFI                   VA           90011277577
85B14794993771   CHRISTINA      FISHER                   OH           90011107949
85B14A1617192B   DANIEL         WALKER                   CO           90013510161
85B155A7372B31   LUANN          GRADY                    CO           33041495073
85B15999391979   WALLACE        ACKERSON                 NC           90012669993
85B16641777537   JORGE          LOPEZ                    NV           90014466417
85B16655591979   DENISA         WILLIAMS                 NC           90010736555
85B1721325B24B   KATHRYN        ROSS                     KY           68012132132
85B17752A71977   YVONNE         FRANCO                   CO           90010797520
85B18431477537   KEISHA         CURTIS                   NV           90014044314
85B1934498B154   ERIKA          SERRANO                  UT           90012513449
85B1B34688B154   ADAM           SMITH                    UT           90012513468
85B21458172B83   KENNETH        THOMPSON                 CO           33086734581
85B2373A791837   PEDRO          SUAREZ                   OK           90012797307
85B25163771977   DALE           MORGAN                   CO           90010441637
85B25885161928   DULLANNI       WATERMAN                 CA           90012408851
85B27A49A54B62   JOHN           CARMOUCHE                VA           90009900490
85B2839A65B27B   KELLY          SELLERS                  KY           68056753906
85B2851822B891   CARLOS         LARIOS                   ID           90004835182
85B2899A691837   JOHN           FRAZIER                  OK           90012089906
85B28A6385B24B   DEVON          MANION                   KY           90013270638
85B2B827661928   MARIANA        GONZALEZ                 CA           90012048276
85B3138A28B163   GIBBS          SANCHEZ                  UT           90009533802
85B32417A72B33   JUDY           MARTINEZ                 CO           90012624170
85B33422672B62   JESSICA        SALAZAR                  CO           90011584226
85B33858691547   ALEXANDRA      ARCILA                   TX           90011478586
85B3394675B581   KRYSTAL        MARES                    NM           90014879467
85B33963985856   JACQUELINE     MARTINEZ                 CA           90011299639
85B39772655945   LEESA          CHILDRESS                CA           90010977726
85B3BA1156192B   HEATHER        RAVS                     CA           90010680115
85B418A4797B3B   MIRIAM         VALDEIRABANO             CO           90008958047
85B42575347897   RODNEY         CODE                     GA           90008375753
85B43112A91324   KRISTINA       IGLECIAS                 KS           90015121120
85B4672358B154   FRANCISCO      CRUZ                     UT           90013167235
85B4748635B27B   CODY           NEWTON                   KY           90004074863
85B47584177537   VANESSA        YOUNG                    NV           90009725841
85B47771255971   FRANCISCO      FRANCO                   CA           90013667712
85B47A67791979   PATRICK        TESSIER                  NC           90011380677
85B48485555971   JOSE           BARAJAS                  CA           90012924855
85B48637572B98   CHARLIE        BLUEBACK                 CO           33078826375
85B4945115B24B   ANN MARIE      RABY                     KY           90011524511
85B4B56519154B   MARIA          SOTO                     TX           90014775651
85B5251838B163   SKYLER         WEISSHAUPT               UT           90007445183
85B54347747822   DENISE         RATLIFF                  GA           14026683477
85B54894997B3B   MIRIAM         QUIROZ                   CO           90013588949
85B56667181677   VERONICA       MARTINEZ                 MO           29094876671
85B57126297B38   DEBORAH        DESAIRE                  CO           90009761262
85B58393672B29   MARTIN         SALGADO                  CO           90012883936
85B58A2648B168   JONATHAN       GARDNER                  UT           90012770264
85B63675771977   RYLEE          HYNES                    CO           38017376757
85B65366A8B168   VICKIE         KUEFFNER                 UT           31017423660
85B6765315B581   ASHLEY         SANDOVAL                 NM           90012966531
85B6971A597138   AMBER          SHAW                     OR           90007957105
85B6BAA4291837   JIMMIE         MCGLOTHLIN               OK           90009850042
85B72185955945   JOE            NAVARO                   CA           90003721859
85B7255639154B   ALMA           PEREZ                    TX           90010605563
85B75958A47897   TIFFANY        REEVES                   GA           90013539580
85B77239854B62   AMANDA         THIBEAUTHT               VA           90012452398
85B7957467192B   KELVIN         LANGSTON                 CO           90013515746
85B7B48949152B   ESTEBAN        CAMACHO                  TX           90013414894
85B823A6655971   MARIA          CISNEROS                 CA           90014183066
85B825A7A5B183   SARAH          ARNOLD                   AR           90014415070
85B83413A6194B   GREG           ARMSTEAD                 CA           46017644130
85B8371A133698   KRISTA         SIMMONS                  NC           90014177101
85B848A9555945   ISABEL         NUNEZ                    CA           90003628095
85B849A899152B   RATMUNDO       MARTINEZ                 TX           90010269089
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85B85287991975   GENEVA KIMBERLEY   LIGHTSEY             NC           90013402879
85B875A2547897   ALICIA             MARSHALL             GA           90007965025
85B89A2138B168   LEONARDO           SANTOS               UT           90014370213
85B89A57641262   ELIJAH             FLOWERS              PA           51088240576
85B8B198681677   CHARMANGE          COX                  MO           90008371986
85B91556355945   SARAI              HERNANDEZ            CA           90012305563
85B9427199154B   VICTOR             CASTANON             TX           90014782719
85B9485889152B   EULALIO            GARCIA               TX           90009048588
85B9587A161928   RUTH               GONZALEZ             CA           90013138701
85B95A84597B3B   CASSANDRA          ARGUELLO             CO           90004020845
85B9751A755945   LAURA              REYES                CA           90009135107
85B97639855945   AIOTEST1           DONOTTOUCH           CA           90015116398
85B9792379152B   ADRIANA            RAMIREZ              TX           90004779237
85BB3421497138   PAUL35             DAUGHERTY            OR           90012444214
85BB435445B581   RON                RAMERO               NM           90008243544
85BB437154B22B   JOSEPH             BIANCHI              NE           90012373715
85BB47A5A97B3B   TOBY               VINEY                CO           90013837050
85BB5252177537   FELIPE             CORDERO              NV           90010922521
85BB597935B24B   DZHABBAR           FAFAROB              KY           90006259793
85BB854419154B   LASSLY             FARIAS               TX           90014775441
85BB928469154B   ALEXA              MIRANDA              TX           90010602846
8611182266194B   FLORES             LEMNY                CA           90013768226
86113197A91979   ANDREA M           BATTON               NC           90003401970
8611516353B325   RICHARD            MURPHY               CO           90007561635
8611915A92B896   JUSTIN             DEARMIN              ID           90011811509
8611B66412B271   MIRNA              ANDRADE              DC           81059096641
8611B732A4B22B   THOMAS             NATION               NE           27094157320
8612136728B154   DENISE             REDDING              UT           90012253672
86124825772B62   CONSUELO           LOPEZ                CO           90009558257
86126195197B68   CARLOS             GONZALEZ             CO           33068241951
86126A63972B46   DEANDRA            HUTCHINSON           CO           90013100639
8612734118B154   LUIS               ORTIZ                UT           90014553411
8612868242B896   KENNETH            PRICE                ID           90012476824
86129755A97138   KATHARINE          LONDIN               OR           44045787550
8613B724571977   NATALEEN           ESPINOZA             CO           90011137245
8614288935B24B   LEVELLE            YARBOUROUGH          KY           90012518893
86147653897B68   JOHN               WIESNER              CO           33066076538
8614922988B16B   BRANDON            REESE                UT           90007902298
8615227A872B29   RASHID             ARDALY               CO           90013152708
8615271649154B   ALDO               MARTINEZ             TX           90011377164
86156639972B31   BRIAN              LEAVITT              CO           90010216399
86158A99891979   KARINA             TORRES               NC           90013890998
8615B191291975   DAVID              DAVID                NC           90012101912
8616251989154B   ISMAEL             GONZALEZ             TX           90009375198
8616253A191837   BRANDI             BUECHLER             OK           90010025301
8616291729154B   EDUARD             THOMAS               TX           90012889172
86162A56391979   KARL JOHN          REICHSTEIN           NC           17041930563
86163A6488B154   FRANCISCO          HERRERA              UT           90013030648
861648A5371977   NATALEEN           ESPINOZA             CO           90011138053
8616575948B131   VALARIE ANN        ARNOLD               UT           90014517594
86166438197B3B   NOELIA             DAVLIA               CO           90014944381
8616985458B168   WHITNEY            KELSON               UT           90013268545
86171A25997B38   CHARLES            REYNOLDS             CO           90011900259
8617244A241275   MELISSA            MEHLMAUER            PA           90010884402
861732A4685856   JACOB              CASTANEDA            CA           46093442046
8617388956194B   THOMAS             KYLE                 CA           90012888895
86175A5924B578   AMBER              MCDONALD             OK           90010490592
86176A85361928   SHANE              LAWSON               CA           90014650853
8617766A172B46   LOUIE              MAESTAS              CO           90010976601
8617B9A2477537   GLEN A             BROCKAMP             NV           43007619024
8618233A685856   JOSEFINA           MENDEZ               CA           46091923306
86183A96197B38   AMBER              ALVARADO             CO           90012160961
86184A63A72B33   BRENDA             CAMBIGUE             CO           90013170630
8618624A67192B   KENNY              LOYD                 CO           90013502406
86188A19572B46   JAMES              PROVOST              CO           90013510195
86189994172B33   JARROD             MARRUJO              CO           90014779941
8618B246A91975   NICK               THIANI               NC           17016402460
86191549298B2B   RODERIEK           HALL                 NC           90006385492
861915A7585936   BILLY              HOPEWELL             KY           90012745075
8619371929154B   CHARLENE           ESCOBAR              TX           90011377192
861947A6997B68   ANDREA             ROGERS               CO           90012147069
8619745632B896   RYAN               SCHOW                ID           90013694563
861975A275B739   RUBY               BURGOS               MN           90011045027
861978A4371938   CURTIS             MACE                 CO           90012468043
8619819A851362   FRANCISCO          AGUSTIN              OH           66012681908
861996A4272B62   LES                ONORATO              CO           90012826042
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861B431335B17B   ALICIA         KING                     AR           23098253133
861B851A893771   JUSTIN         HARSHMAN                 OH           90014625108
861B9185561921   MICHELLE       RUSELL                   CA           90000411855
861BB7A4685888   CHRIS          SAUNDERS                 CA           90011847046
862158A5297B3B   ANAI           ANTUNEZ                  CO           39003488052
86216888A85888   ARACELI        MANZANO                  CA           90000618880
8621695A893771   LATRESA        FOUNTAINE                OH           90011109508
86218456997B3B   THOMAS         SOLORIO JR               CO           90014614569
86218826172B62   CARLOS         MATOS                    CO           90003598261
86218A7475B183   KASHUNDA       FARR                     AR           90010980747
8621B3A1577537   DARLA          ROMICK                   NV           90013153015
8622176862B896   ELIZABETH      MEUSER                   ID           42058077686
86225419972B46   SIG            FIERRO                   CO           90010564199
8622821912B965   MA ISABEL      AGUILAR                  CA           90009752191
86229A4124B22B   MARLA          CAMERLINCK               NE           90013940412
8622B552491975   RODRIQUE       MBAKI                    NC           90011205524
8623514AA97B38   PEDRO          LOPEZ                    CO           90013561400
8623685225B24B   PATRICK        PERSON                   KY           90013898522
86237797597B3B   SERGIO         YANEZ                    CO           90012847975
8623992A59154B   LEO            URRUTIA                  TX           90012589205
8623999429154B   LUZ            RAMIREZ                  TX           90011599942
8623B155991975   DESMOND        GREEN                    NC           90011191559
862416A8633698   NIKKI          WALKER                   NC           90014716086
8624433225B24B   CHARLES        SANDERS                  KY           68088383322
8624523576194B   SAUL           MORALES                  CA           90013152357
8624679862B237   BRITTNEY       HOLMES                   DC           90012507986
86246A6845B183   ANGELA         COBURN                   AR           90008070684
862479A6A2B265   ERIC           GASTON                   DC           90000879060
8624BA89961936   GREG           FLOREY                   CA           90007400899
86251428372B29   RICARDO        DOMINGO                  CO           90015144283
8625214A15B571   DESIREE        MASCARENAS               NM           90014151401
8625349A172B46   MELISSA        FALLON                   CO           90004424901
86254654572B46   RICKY          PENA                     CO           90011166545
86255397A61928   MATTHEW        DAVIDHIZAR               CA           90009973970
862559A628B168   ANDREA         MORENO                   UT           90012929062
8625866824B22B   EDDIE          JOHNSON                  NE           90013966682
862591A6455945   CARLOS         RODRIGUEZ                CA           90008841064
86261579272B46   MARK           SMALL                    CO           90010975792
86263453772B46   JASON          SENA                     CO           90012674537
8626415196198B   LIZETH         RAMIREZ                  CA           90008821519
8626685669374B   YUNUS          LASANIA                  OH           90011668566
862675AA491979   JOSE           BENITEZ                  NC           90012075004
8626829858B168   OSWALDO        CASTRO                   UT           90012202985
86268879172B33   ALVARO         RAMIREZ                  CO           90011148791
8626B38364B296   RAMIRO         AGUIRRE                  NE           90013733836
8626B733785856   JAPHALDO       TRENCHFIELD              CA           90009927337
8626B882372B33   RODRIGO        GARZA                    CO           90013638823
8627241664B22B   MICHAEL        CLARK                    NE           27036954166
8627396AA5B124   TAMIKA         JOHNSON                  AR           90008709600
86276AA8A41275   KISHORE        ANNAVARAPU               PA           90014170080
862771A9451362   TINA           RUSH                     OH           90011871094
862786A565B183   DEBORAH        TROTTER                  AR           90009136056
8627B16AA2B86B   AARON          SCHWENDIGER              ID           90008081600
86281621972B33   STEVEN         BURCHFIELD               CO           90013836219
862819A1391837   SONDRA         SHAW                     OK           21099009013
86281A68A71938   JENNIFER       LIEBSON                  CO           90012420680
86287745A91943   MIROSLAVA      HINOJOSA                 NC           90008507450
86287A3528B168   GLUKE          BAUMANN                  UT           90012570352
86288729997B38   MERYLEEN       ARABE                    CO           90011197299
8628982272B896   THOMAS         COVELLI                  ID           90006178227
8628B41794B22B   LONNY          PARTEE                   NE           90012394179
86292A97272B46   DIANA          DODDS                    CO           90013100972
8629475286194B   HERIBERTA      TORRES                   CA           90014367528
86294A16933698   ANTHONY        FULLER                   NC           90011250169
8629866256194B   ISMAEL         SEERY                    CA           90012926625
8629B768733698   NICHOLAS       MACK                     NC           90014717687
862B1649991837   MONICA         ESCAMILLA                OK           90011526499
862B2AA2291979   TIFFANY        HINTON                   NC           90012990022
862B3A4515B24B   TRAVIS         HOVIOUS                  KY           90013110451
862B4538861928   CAROLINA       FLORES                   CA           90011385388
862B45A8697B68   JEFFERSON      SHELTON                  CO           90005805086
862B8868447897   YOLANDA        CLIETT                   GA           90014848684
862B899785B27B   AICHAMAHY      AMED                     KY           90005859978
862B9467172B46   ISHEA          MONTEZ                   CO           90013114671
862B9469461928   CHRISTOPHER    BRIGHT                   CA           90012824694
862BB461A61928   CINTHIA        MEZA                     CA           90013104610
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862BB5A7141275   ZACHARIA        ZAREMBA                 PA           90013045071
862BB844491553   JUAN            FAVELA                  NM           75017208444
86311947472B46   ANJELICA        CASTILLO                CO           33056619474
86317755A71977   DAVID           PRESTON                 CO           38096327550
86319614A72B46   ERIKA           CAMPBELL                CO           90014746140
863231A2172B46   MARK            KANIPE                  CO           90013101021
86326A5646194B   JOSE            SANDOVAL                CA           90011490564
86328367A81677   KELAN           BRISCOE                 MO           90010563670
86329244672B33   CANDACE         PFEIFER                 CO           90009232446
8632B169372B29   ANTONIA         LOPEZ                   CO           33071211693
86331114972B62   AMBER           LADEHOFF                CO           90010891149
863321A829154B   ASHLEY          TIBUNI                  TX           90015221082
86332619172B33   JOSH            BOEGE                   CO           90014346191
8633382734B565   JESSICA         ROUSEY                  OK           90008628273
863338A2A6194B   BLANCA ESTELA   BARAJAS                 CA           90013758020
86333A83A4B22B   CLAUDE          BELL                    NE           90013940830
863341A2772B46   BRANDON         LEVI                    CO           90013101027
8633549375B24B   ERIC            BROWN                   KY           90010064937
86335761772B46   VALERIE         SKIVA                   CO           90013467617
8633696418B168   CHRISTIAAN      JAY                     UT           90012769641
8633B88A555945   BERRY           SKID                    CA           90013158805
8634169317192B   TYLER           ROE                     CO           32058736931
8634474AA91553   AMANDA          FOWLER                  TX           90006787400
86345579272B46   MARK            SMALL                   CO           90010975792
863519A3955945   STEVEN          AIELLO JR               CA           90014479039
8635446A555945   ALYSSA          VALDIVIA                CA           90011484605
863549AA172B62   ENRIQUE         ARMENDARIZ              CO           90012419001
8635728128B154   BILL            WILLIAMS                UT           90014052812
86357837397B3B   ORLANDO         ARAGON                  CO           90011308373
8636228862B896   DAR             JONES                   ID           90011832886
8636259644B22B   CHYANNE         DAVIS                   NE           90012755964
86362A47833698   PASSION         WILLIAMS                NC           90014720478
86363877A93771   TERROD          TURNER                  OH           90012788770
86365381172B33   LOLITA          ALEXANDER               CO           33042343811
8636648628B163   MELANIE         FERRIN                  UT           31099264862
86368218372B62   JOSE            MERCADO                 CO           90012122183
86369155472B62   TRACI           SCHOONOVER              CO           90002511554
8636B649191975   CARMEN Y        ENGLISH                 NC           90011916491
8636BA2515B24B   JAMERICA        ENGLISH                 KY           90011320251
8637236432B896   MARIA           HINOJOSA                ID           90011833643
8637293A361921   ERICA           BARRERA                 CA           90007829303
8637425948B168   SAM             GULL                    UT           90004762594
8637486734B22B   JUSTIN          MOATS                   NE           90011428673
8637486A285936   LUIS            MARTINEZ                KY           90010078602
86376445472B62   ALBERTO         FRAISO                  CO           90011854454
863862A362B28B   KEVIN           BLYTHER                 DC           90008182036
8638981645B335   BRIAN           HERMAN                  OR           90013358164
8639171545B17B   ISAAC           AKINS                   AR           90004267154
86392768672B33   ROBERTO         RASCON                  CO           90010677686
863961A5677537   MARIO           CORTES-ALVAREZ          NV           90003481056
8639784778B168   RODOLFO         GAYTAN                  UT           90006818477
86398612972B33   KRISTY          MIERA                   CO           90007946129
863993A376194B   JOLONDA         WEST                    CA           90009413037
8639B21269154B   EDUARDO         SANDOVAL                TX           90007042126
8639B323385888   MARTHA          SANCHEZ                 CA           90005973233
863B1531897138   JOSE            BRAMBILA                OR           90006895318
863B328A747897   SHENEQUA        RANDALL                 GA           90008792807
863B4289A72B33   JOSHUA          WHITE                   CO           33072912890
863B6184255945   ALFREDO         LARA                    CA           90013831842
86411A17A93771   JIMMY L         HOWARD JR               OH           64504070170
86413685A8B154   JUSTIN          CASE                    UT           90013416850
8641733A197B38   IVAN            ARRAS                   CO           90012813301
86418683A5B17B   ADRIAN          BREWER                  AR           90010536830
86419119897B3B   MICHAEL         LOPEZ                   CO           90011511198
8641936929154B   BERENICE        FELIX                   TX           90012383692
8641987415B183   SHANITRA        GLOVER                  AR           90014798741
8641B634785936   CHRISTY         HERNANDEZ               KY           90006506347
8641B823647897   JOHN            SMITH                   GA           90014448236
8641B981655945   RAUL            DIAZ                    CA           90012909816
8642115119154B   LUIS            HERNANDEZ               TX           90013601511
86422755197B3B   JOSEPH          MERCADO                 CO           90010827551
864229A2A72B46   MARGARITA       PRADO                   CO           90008489020
8642349A85B183   RANMOIN         SANDERS                 AR           90013874908
8642695848B154   ANASTASIA       MCLAUGHLIN              UT           90012819584
86431325572B29   NICHOLE         DUVALL                  CO           90014573255
86432A56441275   DONNA           CARDOME                 PA           90011980564
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864359A5885856   AMY              HOCH                   CA           46090339058
86438688A71977   CHERYL           STOUFFER               CO           90012886880
86439943A2B275   MARIA            RODRIGUEZ              DC           90012149430
86441229472B33   MELISSA          PALOS                  CO           33081782294
8644199949154B   SANDRA           SORIANO                TX           90013259994
8644265989154B   JESUS            NEVAREZ                TX           90011356598
8644642179154B   DESIREE          DIAZ                   TX           90013084217
8644945164B22B   JENNIFER         TEAL                   IA           90015254516
86449889272B62   JOSE LUIS        VASQUEZ                CO           90012158892
8644B334377537   BRENDA           FALCON                 NV           90015183343
86451A69741262   PATRICK          MCCANN                 PA           90014840697
8645224958B154   ERIC             GRAVES                 UT           90003142495
86455394172B29   ANTONIO          PEREZ                  CO           33005303941
86456151A91979   YAZEED           ALLAH                  NC           90010811510
8645773A191979   JESUS            VALLE                  NC           90008307301
8646372775B183   DEREK            PARKER                 AR           90014207277
8646389266194B   YENY             LOPEZ                  CA           46069758926
86465A34891553   KATRINA          JOHNSON                TX           90001940348
86466333872B62   LUIS             TERRONES               CO           90011123338
8646681A191975   LUIS             GUDIEL PINELO          NC           90010448101
86466A88393771   TONETTA          HURSTON                OH           90012750883
86468285A77537   LAURA            ROJAS                  NV           90013832850
86468464972B62   KARL             GAMBLE                 CO           33026274649
8647194A497B3B   HUGO             GARCIA-RODRIGUEZ       CO           90011889404
8647295A655945   CRYSTAL          VASQUEZ                CA           90010929506
86475177A72B46   CESAR            ARAMBULA               CO           33029651770
8647844642B896   DENNIS           SPEARS                 ID           90011844464
86479A5678B168   RAYMUNDO         SOSA                   UT           90015030567
8648125A88B154   ELIZABETH        GARCIA                 UT           90013172508
86481729997B38   MERYLEEN         ARABE                  CO           90011197299
86484A74176B9B   MICHAEL          ATIRADO                CA           90008000741
86485938A3B382   BRITTNEY         MAESTAS                CO           90012449380
86486332A91979   JASON            POOLE                  NC           90010143320
864872AA15B183   DENESHA          SANDERS                AR           90014312001
864888A3972B33   ANGELA           DAVIS                  CO           90010588039
864894A8A61928   IRIS MARIELA     OSUNA                  CA           90013004080
8648B48363B347   NADINE           ORTEGA                 CO           90012754836
8648B4A2277537   MICHELE          PEREZ                  NV           90010894022
864921A915B17B   DEBORAH          DINWIDDIE              AR           90004271091
86493645A72B29   GEORGIA          DEL REAL               CO           33027076450
86494A9783B396   EVARISTO         MENA                   CO           90010860978
8649851428B154   SUSANA           PAREDES                UT           90012265142
864B2A18385936   MARLA            RIVERA                 KY           90011150183
864B3A78372B46   NORMA            ESCOBEDO               CO           33014820783
864B5888433698   EMANUEL          EDWARDS                NC           90014728884
864B869A855945   ROBERT           MC NAMARA              CA           90009806908
864BB447797138   BRITTNEY         JOHNSON                OR           90013744477
864BB532285936   GENOLA           PERRY                  KY           67047005322
86513A24891979   GREGORY          WINSTON                NC           90003470248
86516A62741262   DANIELLE         POWER                  PA           90006960627
86518241A91523   LAURA            ARVILLA                TX           90011052410
8652383A791943   RAQUEL           HAYES                  NC           17016418307
8652488A871938   ARMANDO          CERRANO                CO           90014398808
86529229372B29   YVETTE           WILLIAM                CO           33062472293
8653144A997B3B   JESSICA          ROBINSON               CO           39083084409
8653254715B24B   MONTEZ           MORRIS                 KY           90014675471
86533642572B33   MICKEY           SPENCER                CO           90012996425
86534519197B38   DANIEL           GAVILAN                CO           90014725191
8653664695B24B   ARTREL           TRENT                  KY           90012526469
86537831197B38   JOSE             ABREGO                 CO           90013048311
86538325572B29   NICHOLE          DUVALL                 CO           90014573255
86539877372B62   VERONICA         ROMERO                 CO           90012768773
8654198A647897   JALISA           GREEN                  GA           90012359806
865431A7297B38   JAMES            ROMERO                 CO           90013411072
86544AAA86194B   CARMEN SANCHEZ   HEREDIA                CA           90010790008
8654742462B896   RAFAEL           SHANCHEZ               ID           90005554246
86548645772B33   JESUS            HUERTA                 CO           90013796457
8654B495351362   RAVEN            WHITFIELD              OH           90013044953
8654B5A5355945   MATEO            URIBES                 CA           90014485053
8654B7A2147897   SHANNON          THOMAS                 GA           90011127021
865511A4977537   JENNIFER         WORSHAM                NV           90014451049
86554961472B33   APRIL            ROMERO                 CO           90010969614
865565A455B921   GARY             BEATTY                 ID           41026065045
86556649A93771   KELLY            JONES                  OH           90000586490
8655954526194B   ELENA            MARTINEZ               CA           90012215452
8655B219772B62   DERON            MOORE                  CO           90012122197
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86564A36641262   WHITNEY           TUCKER                PA           90010450366
8656724A793771   CANDACE           JONES                 OH           90005812407
8656B4A5633698   CIERRA            BARNES                NC           90014734056
8656B727461466   LEONARDO ARTURO   RODRIGUEZ-CAMACHO     OH           90013827274
8656BA75997138   MICHEAL ERIC      EDWARDS               OR           90010230759
86571652A8B168   ESTHER            WILLIAMS              UT           90013296520
86573823797B38   CLAVENCE          SYLSLO                CO           90013168237
86573899772B46   DESERIE           BERNAL                CO           90011418997
86574281397B38   LESLEY            MARTINEZ              CO           90014642813
86577137472B62   IRENE             BURNS                 CO           90006041374
86578A44771977   LILLIAN           HARRIS                CO           38058010447
86579289A8B168   JESSE             EGGETT                UT           90014162890
8657B34615B24B   ALAINA            MCCORMICK             KY           90002813461
8657B431455945   ALY               CARDONA               CA           90001444314
8657B735991975   VERA              NICHOLSON             NC           90012577359
8657B99562B271   MARTINE           VASSOR                DC           81015029956
8658231A891837   KELSEY            EVANS                 OK           21096433108
86586661472B29   EJIGAYEHU         TIRUNCH               CO           33063766614
8658B399661928   JUAN              VELARDE               CA           90014073996
8658B5A2193771   DESIREE           MCCARLEY              OH           64592645021
865931A8597138   RYAN              EARL                  OR           90009181085
86594499A33698   LILLIETH          MOBLEY                NC           90014734990
8659633754B22B   FABIOLA           MEDINA                NE           27082373375
86597814772B46   CASEY             CLARK                 CO           90007018147
865B3518741262   LEE               CHEN                  PA           90011425187
865B69A998B154   PATRICIA          RODRIGUEZ             UT           90014689099
865B8628771977   DONALD            GONZALEZ              CO           90008496287
865B8771A97138   AURELIA           PEREZ                 OR           90012057710
865B943A997138   MCKENNEN          MURPHY                OR           90013514309
865B956A472B46   TAMIKO            BANKS                 CO           90014055604
8661271AA91979   SHANIQUE          JETER                 NC           90007317100
86613994272B33   JENNIFER          FENNELL               CO           90013239942
86614A4785B139   RALPH             JACKSON               AR           23044850478
8661872432B896   RIVER             HILL                  ID           42082687243
8661928A18B154   DOUGLAS           WESTENSKOW            UT           90013172801
8661B1A7141275   RADEJA            KENT                  PA           90010651071
8661B9A445B183   KRYSTAL           BUTLER                AR           90008009044
866219A2733698   LAMAR             WILSON                NC           90011259027
8662218169154B   KAYLLE            BARUM                 TX           90013601816
86624756872B33   TOSHA             HOLLIDAY              CO           90013037568
86624836672B83   FERNANDO          ALVARADO              CO           90011638366
8662731819154B   OLGA              PENA                  TX           90014583181
866291A156194B   SILVIA            SERENO                CA           90013561015
86629458572B46   MARUSHE           REXHEPI               CO           90002974585
8663132435B24B   CASHAWNA          WATTS                 KY           90010893243
86634297472B29   ROBBY             SANDOVAL              CO           90014592974
86638643A9154B   ANNETE            BARBER                TX           90011646430
8663975482B553   JUANITA           WELCH                 AL           90013937548
86641117872B46   MYANGELA          WALKER                CO           90010471178
8664438234B22B   JESSE             JOHNSTON              IA           90014943823
8664475618B154   SCOTT             PAINTER               UT           90015127561
8664615988B154   MARYANN           BRUEMMER              UT           90014911598
86646378272B29   MALAYSIA          RABAN                 CO           90011003782
86647A5172B28B   RAMOS             RIGOBERTO             DC           81019910517
8664B55685B183   DENA              REDDIX                AR           23046125568
8664B595872B62   DAVID             COLEMAN               CO           33024605958
8664B649A93771   DEARYKA           HUMPHRY               OH           90014626490
86655267872B27   BARDO             RODRIGUEZ             CO           90014302678
866561A438B168   SHANA             MACNEIL               UT           90010801043
86658964A2B896   BOBBY             TRICE                 ID           90007569640
866598A1547897   JANECIA           MAHONE                GA           90010828015
86662AA1272B33   ANASTAISA         PRINCE                CO           90004970012
8666436118B168   VALLEJO           BONIFACIO             UT           90005173611
86664A59972B62   CHARIFA           WIMBUSH               CO           90010540599
8666547448B154   SYDNEY            SPARKS                UT           90012504744
86666A56A72B46   DAWN              MAESTAS               CO           33085370560
8666718775B24B   MARION            SMITH                 KY           90013551877
8666B469461928   CHRISTOPHER       BRIGHT                CA           90012824694
8666B791A5B24B   NEISHA            CARDINE               KY           90012527910
86672569172B29   RODNEY            LEIGH                 CO           90013275691
8667278288B154   ALEJANDRO         SERVANTES             UT           90014037828
8667298463148B   SHERRY            BRATTON               MO           90004309846
8667416294B583   MARGA             GALVAN                OK           90011141629
8667561356194B   DAVID             GREEN                 CA           90013696135
8668132228B168   CAMERON           WILSON                UT           90011473222
8668329695B183   LIZA              CLEMEN                AR           90010482969
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86688835972B33   JAMES          VALDEZ                   CO           33008968359
8668B347691975   SAW            THA HTOO                 NC           90010973476
8668B486271977   ANTONIO        MADRID                   CO           90012924862
8669138559154B   ADA            HASSEL                   TX           90011133855
866B1963572B33   ESTEBAN        MENDOZA                  CO           90011329635
866B2954891975   NATALIE        WILLIAMS                 NC           17078609548
866B53A3991837   SHERRY         WEBSTER                  OK           90012533039
866B7633361928   AIOTEST1       DONOTTOUCH               CA           90015116333
866B8971147897   TOBIJAH        MING                     GA           90012489711
866BB44358B154   CHRIS          DEHERRERA                UT           90011564435
86711524872B46   DOMINIQUE      KING                     CO           90008205248
86711986872B29   KRISHA         BARRERA                  CO           90015179868
8671258278B154   KEVIN          LOUGHRIN                 UT           90014055827
8671315A491979   FELIX          DE LA CRUZ               NC           17014511504
86715396A5594B   PAUL           RAMIEREZ                 CA           90014633960
8671B79978B168   SHARIF         EBRAHIM                  UT           90008527997
86721898A8B163   VALERIE        MUGLESTON                UT           90004078980
8672318359154B   JOSEPH         WROBLESKI                TX           90013451835
86726449A85856   CALEB          MORTENSON                CA           46058304490
867277A818B168   ONIL           VELEZ                    UT           90013917081
86728978A8B154   ALLISON        TAIT                     UT           90012819780
86732813172B62   AHMED          SHAFI                    CO           90012368131
86735A14681677   GHOST          RIDER                    MO           90011960146
86739136A71938   RENEISHA       DIAL                     CO           90013171360
8673B73A68B168   JENNIFER       DUNCAN                   UT           90005717306
8674652AA9154B   MARGARITA      HERNANDEZ                TX           90011405200
86746A49693771   ROBI           STARGELL                 OH           90011220496
8674BA21191837   MARLYSHIA      HILL                     OK           90010110211
8674BA25333698   HDUER          RMAH                     NC           90014740253
8675313738B168   SIERRA         SAMOWITZ                 UT           90012921373
86761413372B62   MIGUEL         JAUREGUI                 CO           33042454133
86761452A47897   QUINTON        WOODSON                  GA           90006424520
8676236A641275   CHRISTINA      BZDZIAK                  PA           90014773606
86762855272B44   ROSALBA        GARCIA                   CO           90008658552
8676665624B22B   PATRICIA       LAMERE                   NE           90014026562
86769932497B38   BLOSS          ALANIZ                   CO           90010469324
8677115425B183   JOHNNIE        FORD                     AR           90011551542
86773385872B62   JANETTE        OROZO                    CO           90013643858
8677421647B472   DEREK          STEVHENS                 NC           90004752164
86774759A97B3B   HELEN          SMITH                    CO           90012267590
867749A763B337   JEREMY         LEONARD                  CO           90009769076
8677756126194B   XOCHITL        AYALA                    CA           90009895612
86784A62997B3B   STEFANIE       HARRIS                   CO           90012070629
86785A5A29192B   EDWARD         LYAN                     NC           90007770502
86788729A81677   KATHY          TATE                     MO           29082887290
8678895788B154   PANTALEON      CANDELARIA               UT           90001329578
8678B27664B22B   BENJAMIN       CASTOR                   NE           90013942766
8679261A372B29   PAUL           NELSON                   CO           90011316103
86793971A47897   CHERYL         POWELL                   GA           90014399710
867968A9393771   JAYE           JONES                    OH           90007178093
867976A1A97B38   MONICA         LUCAS                    CO           90013786010
8679899A372B33   NICK           WEIDNER                  CO           90013809903
86799818872B62   ANGEL          ALVAREZ                  CO           90014188188
8679B22279154B   RICARDO        MACIAS                   TX           90013932227
8679B29239375B   CHASITY        FRALEY                   OH           90011272923
8679B78895B183   ANTONIO        MENDEZ                   AR           90012517889
867B1885471938   ARMANDO        RAMIREZ JR               CO           90012938854
867B5586791975   LATANYA        KING                     NC           90013745867
867B6A87A97B68   BLANCA         BARRIO                   CO           33047780870
8681255782B271   ACQUAH         GOODWIN                  DC           90012465578
8681345855B594   TRAVIS         KEYONNIE                 NM           90011444585
8681B25795B24B   JEROME         DEN                      KY           90010952579
8681B744297B38   SISTO          GONZALES                 CO           90012947442
868212A162B366   JOSELINE       TLACOMULCO               CT           90013932016
8682152472B896   KAREN          FORREY                   ID           90010455247
8682159A272B33   MICHAEL        PENA                     CO           90013295902
86823689A72B33   JOEY           ROYBAL                   CO           33089946890
86827167972B33   JULIA          NAJERA                   CO           90015111679
8683272718B138   SHAUNTEL       PARKER                   UT           90010057271
8683673A297B3B   AUBREY         BASSETT                  CO           90011507302
86838A43693739   JEFFREY        MCDARGH                  OH           90001440436
86839587472B46   JAVIER         JIMENEZ                  CO           90013115874
86839A48891975   JAMERIA        HINTON                   NC           90007670488
8683B17995B27B   JESSIE         KICKERY                  KY           68097351799
868439A7471977   STEPHANIE      TENNEY                   CO           90012779074
868441A8297B38   SHELLI         CROWDER                  CO           90005301082
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86845359A33698   UNETTA         MARSHUN                  NC           90013723590
868464A9741275   KIM            SHORTER                  PA           90014604097
8684739A79154B   YANET          RAMIREZ                  TX           90012383907
8684771A69154B   SUSANA         ESCALANTE                NM           90012517106
8684B871181677   NIKKIA         NELSON                   MO           29000618711
86852357A72B29   BRAIN          LOVE                     CO           90009713570
86855563297B3B   KIMBERLY       KEELEY                   CO           90014715632
8685955A377537   JENIFER        TINOCO                   NV           43077845503
8685BA3A872B33   RAUL           PARRA                    CO           90012500308
8686329888B154   JESSICA        BARRAZA                  UT           90004252988
86863377172B29   BONNIE         NORRIS                   CO           90010123771
86863954A8B154   STEPHANIE      SUBBELMAN                UT           90014039540
86867656A91975   HOLLIE         LEWIS                    NC           17002726560
8686B612671977   TIMOTHY        TWADDELL                 CO           90011226126
8686B716661928   HUGO           HERNANDEZ                CA           90008157166
86875A25461928   LINDA          RAMIREZ                  CA           90004890254
8688122955B24B   LONNIE         DAVIS                    KY           90015132295
868842A4A85888   JESUS          MENDEZ                   CA           46070332040
86885167A8B168   RANDY          MALIN                    UT           90012611670
86887A41741262   PAUL L         MORRIS                   PA           90003030417
868896A4A72B46   KIMBERLY       COLLITON                 CO           90013116040
86891552A85856   JOSE           ORTEGA                   CA           90012775520
86894464A9154B   ANA D          GALLEGOS ESPARZA         TX           90013964640
8689457335B139   RONNIE         ROSS                     AR           23079925733
86895A18841262   TRAVIS         BURKS                    PA           90014430188
8689732684B22B   KIMBERLY       ALLMON                   IA           90013943268
86899385572B33   CHRISTOPHER    LEE                      CO           90013783855
86899A45861928   YOLANDA        ORTIZ                    CA           90012620458
868B114365B183   ANESHIA        KIDD                     AR           90013171436
868B11A8885936   ROBERT         COOTS                    KY           90014101088
868B1338297B3B   ANGELICA       SALAZAR                  CO           90010243382
868B1AA5551362   CHRIS          PEACE                    OH           90009470055
868B251A591975   AYOBAMI        OWOLABI                  NC           90010975105
868B528296194B   MARIBEL        YAZDANPARAST             CA           46003232829
868B9776597B3B   SHONNY         HINES                    CO           90014667765
868BB275297B38   NATASHA        ROSS                     CO           90013432752
868BB3A8A72B46   FREDA          RHEUBOTTOM               CO           90013573080
868BB623897B3B   JOEL           WINGO                    CO           90011066238
869142A2141262   MARY           FREEMAN                  PA           90011082021
8691633785B183   KHELLI         GAINES                   AR           90010963378
8691869A991979   TRISTAN        BRANCH                   NC           90011466909
86918A93633698   TONY           MONTANA                  NC           90008350936
8691B56A59154B   OSCAR          GALLEGOS                 TX           90011405605
86921652A8B168   ESTHER         WILLIAMS                 UT           90013296520
86922715A2B28B   EDWARD         BANKS                    DC           90010067150
8692383579154B   ROSA           ACOSTA                   TX           90012928357
86923A75997B38   CLAUDIA        GALVEZ                   CO           90013220759
8692474868B163   LISBETH        GRANILLO                 UT           31056907486
869275A755B24B   JAMIA          TOLBERT                  KY           90013725075
86927784572B46   SPENCER        CONNOR                   CO           90010987845
8692B178833698   VICTORIA       FUNDERBURK               NC           90010551788
869328A6277537   JESSICA        CASTRO                   NV           90012068062
8693476538B168   JASON          DIVINEY                  UT           90014157653
8693548A397138   ELIAS          VASQUEZ-RENDON           OR           90014264803
86937289997B38   HIPOLITO       MUNIZ                    CO           39016702899
869392A185B139   ELISABETH      BOWMAN                   AR           90011152018
8693968389154B   JOSE           GUZMAN                   TX           90012906838
8694229646194B   SEAN           SPARKMAN                 CA           90012602964
8694381815B24B   LEE            BOBBITT                  KY           90014898181
86945163A5B275   PHILIP         MORRIS                   KY           90013121630
8694597445B183   JESSICA        HER                      AR           90014049744
86946A2679154B   JUAN           FRIAS                    TX           90006340267
86947486472B62   SAVANNA        CISNEROS                 CO           90011174864
86947627272B46   TERESA         CHAIREZ                  CO           90013116272
869476AA891837   ANTHONY        MARTINEZ                 OK           90010116008
86947742A72B29   NELSON         VIECENFE                 CO           90013737420
86949628272B46   DULCE          SERVANTES                CO           90013116282
8694B584685936   TYRONDA        MOBERLY                  KY           67048385846
8694B931655945   ALECIA         TAYLOR                   CA           90012889316
8695339A772B46   STEFANY        VILLARREAL               CO           90014803907
86955AAA176B82   MARK           WILSON                   CA           46096750001
86956A6466194B   LAURA          CASEY                    CA           46004220646
8695724AA72B33   ELLIOTT        FLECK                    CO           90012672400
8695828118B163   ROSA           MACEDA                   UT           90009632811
86961A41672B33   GRISELDA       AROYO                    CO           33088450416
86961AAA185936   RICARDO        SALAZAR                  KY           90010280001
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86962A33861928   LUIS           SALAZAR                  CA           90014880338
86963A23791975   GWENDOLYN      LYONS                    NC           90005810237
86965384A91979   MARIA          CASTRO                   NC           90014153840
869655A5241262   JAMES          KENT                     PA           90012205052
86966A2639154B   EDITH          URENO                    NM           90013070263
8696B3A8185935   DOUG           GOLDEN                   KY           90000543081
8696BA3437192B   CUATEMOC       CASTRO                   CO           32060130343
8697278959154B   FREDRICK       TRUDEAU                  TX           90013987895
869748A2493771   ERIC           GIBSON                   OH           90014638024
869763A2185888   KAREN          JORDAN                   CA           46088973021
8697B348A5B183   SYLVIA         DAVIS                    AR           90010933480
869811A695B24B   LAURIE         TERRY                    KY           90010921069
869813A9633698   SILAS          KBUOR                    NC           90010553096
869814A319154B   PAOLA          COMADURAN                TX           90002324031
8698274769154B   ERIC           RAMIREZ                  TX           90003367476
8698292AA91975   ANGELA         CURLEY                   NC           90014919200
86983839A72B46   HARRY          BREADFORD SCOTT          CO           33013388390
86983864A91337   SHAREE         GRANT                    KS           90007218640
86985742372B62   MEGAN          LOPEZ                    CO           90009547423
869869A6397B38   CRISTRAN       GALLEGOS                 CO           90013639063
86987532A91975   JEREMY         MINOR                    NC           90007915320
8698927652B271   PABLINA        KAMARA                   DC           90009432765
8698B13146194B   DANIEL         GOGGIN                   CA           90013721314
86991A5222B243   CARLOS         TURCIOS                  DC           90006290522
86993175A8B168   DIANA          MARTINEZ                 UT           90012131750
86997674772B62   WOLFE          RANEE                    CO           90009806747
86997A15871977   PAYGO          IVR ACTIVATION           CO           90013190158
8699846586194B   ABEL           QUINONEZ                 CA           90010264658
8699871652B271   SAUL           MEMBRENO PINEDA          DC           90005097165
8699B254785856   LAURA          KENNAMER                 CA           90013672547
8699B53348B154   JOEY           MCKINNEY                 UT           90011565334
8699B844493771   BRIDGETTE      HALL                     OH           90014818444
869B283357B449   SHAKIERA       DANIELS                  NC           90013518335
869B337538B168   MARIE          DALTON                   UT           90012273753
869B3AA7191975   WILLIAM        PERVIS                   NC           90008980071
869B4867672B29   JAKE           PEZLEY                   CO           90013178676
869B4956791975   CRISTHIAN      JIMENEZ                  NC           90015179567
869B55A5797B3B   JOLEENA        JONES                    CO           90011945057
869B5A35947897   LANECIA        DENSON                   GA           90009870359
869B7635A91975   TIMOTHY        MCRAE                    NC           90012836350
869B7654955945   JUANITTA       RADCLIFF                 CA           90012326549
869BB619797B68   NATALIA        ORTIZ                    CO           33091496197
869BB956691242   LEONA          LIVINGSTON               GA           14536579566
86B11738561928   ISIDRA         GALLO                    CA           90000107385
86B11834541237   JARON          MCLAIN                   PA           51093748345
86B14992472B29   JASON          RAY                      CO           90014599924
86B15883955945   OMAR           PEREZ                    CA           90013088839
86B1588A493771   CHRISTOPHER    COLLINS                  OH           90013468804
86B17528172B29   CASEY          KITTO                    CO           90005365281
86B17541497138   ROSA           ORTEGA                   OR           90015175414
86B1912A491975   BERNICE        CORTEZ                   NC           90010941204
86B19142561928   COURTNEY       EMERSON                  CA           90009651425
86B1928717192B   BRETT          POST                     CO           90012522871
86B21434A91979   SHAREIKA A     ORTIZ                    NC           90010984340
86B2421A18B154   SCOTT          DIMMITT                  UT           31024662101
86B2427519154B   VALERIA        RUIZ                     TX           90009692751
86B24791A55945   GLORIA         GONZALEZ                 CA           90014427910
86B256A7A93783   ROPERT         HUNT                     OH           90012686070
86B2613988B168   ROBERTO        SANDOVAL                 UT           90012381398
86B2743896194B   EDGAR          SANTOS                   CA           90006374389
86B28469871938   STUART         CRUZ                     CO           32051144698
86B28773591837   MARTIN         PALOMO                   OK           90013237735
86B297A3672B29   YADIRA         LOZANO                   CO           90010207036
86B2B56A42B271   ANGELA         BARNES                   DC           90012995604
86B32745A61928   KARLA          VALDERRAMA               CA           90012877450
86B32A49485936   ESSANCE        COLLINS                  KY           90012280494
86B3349958B154   MITCHELL       MONTOYA                  UT           90012964995
86B35329691975   TABATHA        RUSTIN                   NC           90014463296
86B39557351333   BETE           STEINMETZ                OH           90004185573
86B3B31A885856   DELLA          HARRISON                 CA           90012743108
86B3B747297B38   TYLER          DUFF                     CO           39013007472
86B3B79A291553   SUSANA         ROMERO                   NM           75088607902
86B3BA6257B339   BLANCA         ESCOBAR                  VA           90003220625
86B41A84472B29   MARKUS         MERRITT                  CO           90006510844
86B4226669154B   JUANA          CASRTO                   TX           90014762666
86B4284A79154B   VICENTE        POLANCO                  TX           90010768407
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86B43A16891979   ANGELIO        HARTSFIELD               NC           90012980168
86B44298172B29   LARISSA        STEPHANTSEVA             CO           90014252981
86B44426161928   MARTHA         DIAZ                     CA           90009524261
86B4465638B154   KELLIE         REAY                     UT           90014296563
86B49977655944   SONIA          VALDEZ                   TX           90004529776
86B4B432391837   PAUL           SANDERS                  OK           90015174323
86B4B697185856   VICTOR         RAMOS                    CA           90013246971
86B51251A8B168   SOLEDAD        REYNA                    UT           31051872510
86B5216169154B   JAMIE RENE     EDWARDS                  TX           90013171616
86B54285185856   BRUCE          ROSENBLATT               CA           90013992851
86B55A26671977   CHRISTINA      FIERRO                   CO           90014650266
86B56684133698   APRIL          GRAHAM                   NC           90014706841
86B56A85371938   MARVIN         WALTON                   CO           32091760853
86B61728851362   LASHAUNA       CONYERS                  OH           90013097288
86B63211981627   ADRIAN         WILSON                   MO           29016952119
86B63313472B46   GILBERT        MARTINEZ                 CO           90010563134
86B6365255B183   MELISSA        LANGLEY                  AR           90010636525
86B65631A71977   JUANITA        GUTIERREZ                CO           90011136310
86B66AA1847822   CHRISTOPHE     RORE                     GA           14040780018
86B67314472B46   LATONYA        WHITE                    CO           90010563144
86B676A339154B   CHRISTOPHER    PETERSEN                 TX           90010896033
86B6789489154B   HECTOR         HERNANDEZ                TX           90012838948
86B6851A891837   LYDIA          BADGWELL                 OK           90014715108
86B69542497B38   SANTOS         VELASQUEZ                CO           90008625424
86B6B42286194B   THOMAS         SLAUGHTER                CA           90009474228
86B6B79266196B   YADIRA         ARAGON                   CA           90009287926
86B7145AA71938   SECENA         CASEASTAS                CO           90003444500
86B7217795B342   ROGER          JOHNSON                  OR           90014381779
86B73454491289   DERRICK        WILLIAMS                 GA           90008804544
86B74528941262   KEVIN          SCHULTZ                  PA           90013795289
86B7557A885888   DERSHAN        SINGH                    CA           90012215708
86B76822A5B24B   ROSA           CHOL                     KY           90014058220
86B7743A785936   MARILY         HERNANDEZ                KY           90012324307
86B77462997B3B   RANDALL        WESTPHAL                 CO           39072424629
86B77788693771   ELIZABETH      MENDEZ                   OH           90013057886
86B7877218B168   TAUSHA         WALSH                    UT           90012137721
86B79194357531   RENEE          MEDRANI                  NM           90014131943
86B7931A872B29   RON            MANTHEY                  CO           90013193108
86B7B46443B359   DON            RUSSELL                  CO           33080294644
86B83591572B99   SHERYL         DELIHUE                  CO           33002005915
86B87228841275   DEBORAH        ROCHE                    PA           90013992288
86B877A2377533   MARIO          RAMOS                    NV           90008077023
86B92489485936   SHEILA         LOCKER                   KY           90011114894
86B92944272B46   SHI            YUQIAN                   CO           90014109442
86B9365855B183   CONNIE         GOLDEN                   AR           90013336585
86B9425A472B62   MACK           MARTINEZ                 CO           90010062504
86B9511757192B   AARON          BREWINGTON               CO           90013491175
86B95313A2B896   SAMAQUIAS      LORTA                    ID           90012413130
86B9698A99188B   DONNETT        RAWLINS                  OK           90009319809
86B96996797B3B   DYLAN          DE GRAZIO                CO           90013589967
86B9799959154B   YANETH         HERNANDEZ                TX           90014869995
86B99562871938   SERENITY       MATLOCK                  CO           90010635628
86BB2647372B33   KEANA          MARSHAL                  CO           90012866473
86BB2A33285936   NICHOLAS       LINN                     KY           90012030332
86BB3472871938   BENJAMIN       KYLE                     CO           90014094728
86BB568A271938   ELIZABETH      CAULDERON                CO           32091806802
86BB57A2693771   JASMINE        OWENS                    OH           90014617026
86BB6329297B38   JOHN ERVIN     HIBBS                    CO           90010693292
86BB959218B154   TAIILAGI       FUIARAILIILI             UT           90009265921
86BB959A272B33   MICHAEL        PENA                     CO           90013295902
86BBB436847822   NICOLE         BUTLER                   GA           14031914368
87113395972B33   ANA            TORRES                   CO           90014833959
87113674672B62   THEODORE       STERN                    CO           90013406746
87115161A72B62   PAULO          CRUZ                     CO           90004211610
871166A4772B44   CHRISTINA      WAUGH                    CO           90013406047
87122174397B3B   RAMIRO         CARRILLO                 CO           90004491743
87124668297B38   GERARDO        ARELLANO                 CO           90013106682
8712548385B183   DNESHIA        RICHARD                  AR           90009014838
87126176572B33   SUMMER         MARTINEZ                 CO           90008131765
87126493497B3B   CHEYENNE       JACKSON                  CO           90012244934
8712815945B326   SOUTH          TIMOTHY CARL             OR           90013461594
8712875859152B   GERARDO        MACIAS                   TX           90012867585
8712982818B154   EMANUEAL       TAYLOR                   UT           31085428281
8712B3A6772451   JESSICA        URWIN                    PA           90015153067
8713161776194B   ROSALINDA      PEREZ                    CA           90014776177
87132255A41275   VINCE          LUPI                     PA           90013352550
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87132262672B62   STAN           GURULO                   CO           90013012626
871378A8A9152B   GARCIA         MARTHA                   TX           90011358080
8713811AA61928   MARGARET       GIBSON                   CA           90012421100
8713956715B24B   AARON          STINSON                  KY           90013785671
87139A99397B3B   MARY           VIGIL                    CO           39096550993
8713B47996196B   JOSE LUIS      CAMACHO                  CA           90007944799
8713B85819154B   GUADALUPE      DIAZ                     TX           90011478581
8714262A26194B   CRISTINO       ROJAS GOMEZ              CA           90011686202
8714327765B326   JOSE           ENRIQUE                  OR           90013902776
8714411A35B183   DEWAYNE        POOLE                    AR           90010411103
87145988397B38   ALAN           LEE                      CO           39097549883
87146982872B46   SADY           LOPEZ                    CO           90012769828
87147587397B3B   VANESSA        ANDREDE                  CO           90014015873
87148243A72B46   LISANDRO       ALVAREZ                  CO           90004362430
87148379A91837   CASCIA         LOONEY                   OK           90007643790
8715218875B326   DARLENE        MALONE                   OR           90014501887
87152595497B3B   ANGEL          CAZARES FIGUEROA         CO           90012635954
8715285A661928   BARBARA        OROZCO                   CA           90012748506
8715349A591979   NAZARET        REYNOSO                  NC           90011364905
8715511A433698   LEATATE        CHAVIS                   NC           90011121104
8715555969154B   LILLIE         MIRANDA                  TX           90008765596
8715872929152B   MIKE           RAMOS                    TX           90009937292
8715884434B22B   LESIA          LEWIS                    NE           27048218443
8715B453447897   NYKERRIA       CAUSEY                   GA           90014784534
8715BAAA193771   TYESHA         WASHINGTON               OH           90010900001
87162868572B62   MELISSA        ARCHULETA                CO           90013608685
87165166497B38   EMELIA         ARAGON                   CO           90015161664
8716579488B168   JOHN           FRESH                    UT           90009637948
87166A48A9152B   RUBEN          FLORES                   TX           90009520480
87167643772B46   WAYNE          NELSON                   CO           33054326437
8717138749154B   SANTIAGO       AGUIRRE                  TX           90011133874
8717153528B168   JIMMY          BODILY                   UT           90012635352
87174819572B44   AUTUMN         GONZALES                 CO           90011598195
87176457772B62   GREGORY        MCCOY                    CO           33060864577
8717762315B27B   MICHAEL        NEWMAN                   KY           68023576231
8717938439154B   JOCELYN        ESPARZA                  TX           90011263843
87179691A91837   LISA           REYNOLDS                 OK           90013296910
8717B3A128B154   SHA            UNA                      UT           90004073012
8718358AA9154B   LISA           REY                      TX           90003535800
8718898779154B   ESMERALDA      TORRES                   TX           90006369877
8718928824B22B   TINA           MCFARLAND                NE           27093762882
8719146448B154   ALFONSO        CHACON                   UT           90010714644
8719197877B489   MARCHAE        MCNAIR                   NC           90010779787
87192691A51341   JANESE         BALLEW                   OH           90003806910
87197819172B62   TABITHA        MARGERUM                 CO           90007238191
8719813365B24B   ALLEN          CARBY                    KY           90012741336
87198A78147897   RETA           ERLENE                   GA           90014860781
871B1395277537   VICKIE         GRIMES                   NV           90014733952
871B13A7833698   KELLY          LEWELLYN                 NC           12085333078
871B183468B145   LACEY L        REARDON                  UT           90007548346
871B278376194B   ALLAN          ROSADO                   CA           90014257837
871B4225197B38   GLORIA         BRANNICK                 CO           90012862251
871B6114177537   ANA            GONZALEZ MARTINEZ        NV           90011151141
871B795759154B   LUIS ALBERTO   ARRATIA                  TX           90012349575
87211AA4791979   ALYSA          HARMAN                   NC           90013690047
87212886572B44   MERISSA        LEONARD                  CO           90014108865
8721346189152B   ANDRES         RUBIO                    TX           90011404618
8721741427B42B   LAQUISHA       TRUESDALE                NC           90013824142
8721751368B168   MARTIN         GONZALEZ                 UT           90013205136
8721816155B139   BINTOU         KEITA                    AR           23034701615
8721B2A919154B   ALICIA         BARRIOS                  TX           90013972091
87221116572B46   HER            LO                       CO           90011781165
87222124272B29   JENNIFER       ROBERTS                  CO           33041151242
8722349A55B183   JANTRINA       WILSON                   AR           90009714905
87225A21A3B332   SAKIN          MARTIN                   CO           90009880210
8722984445B326   EDDIE          REYNOLDS                 OR           44544748444
8722B115972B46   ELIASAR        MORALS VELAZQUEZ         CO           90011781159
8722B467297B38   CARLOS         ESPINOZA                 CO           90013094672
872322A9441262   SARENA         HOWARD                   PA           90012952094
872346A1651341   REBECCA        LYONS                    OH           90014716016
87235AA2172B46   MICHAEL        HARTWELL                 CO           90012990021
8723785AA97138   MATTHEW        KHONGPHOU                OR           90012908500
872391A1951362   BRANDON        BOYD                     OH           90013911019
87239AA1697B38   GUSTAVO        VAZQUEZ HARO             CO           90009040016
87242358772B46   MICHAEL        POLLMAN                  CO           90013953587
87242834797B3B   ALLISON        STRAUSS                  CO           90001638347
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872443AA351577   TYLER          REED                     IA           90014453003
87245564497B3B   CASSANDRA      LEVERETTE                CO           90014715644
872461A365B326   TOMMY          SMITH                    OR           90012681036
872466A1651341   REBECCA        LYONS                    OH           90014716016
8725119888B168   NICK           WOODINGTON               UT           90010871988
8725147919152B   JOSE           GOMEZ                    TX           90010684791
872529AA54B22B   CRYSTAL        SENA                     NE           27081369005
8725324868B168   STOWELL        DUSTIN                   UT           90005812486
87254189A91979   DERRICK        CONNOR                   NC           90011521890
8725515569154B   ARRIANA        CARDENAS                 TX           90013971556
872564AA291975   ERIKA          OLIVA                    NC           90014424002
872567A3691837   BRENDA         AGUILAR                  OK           90013967036
87257576A61928   MARIO          MARQUEZ                  CA           90013105760
8725785345B326   ANDREY         STUDINETS                OR           44517158534
8725913368B168   ANGELICA       CLARK                    UT           90014831336
872594A638B168   REBECCA        KEPPOL                   UT           90011124063
872626A1651341   REBECCA        LYONS                    OH           90014716016
8726346939154B   LETY           GARCIA                   TX           90014814693
87264131172B46   MIGUEL         OROZCO                   CO           90011781311
8726B128872B46   AUSTIN         L BOSWELL                CO           90011781288
8726B63435B24B   MIKE           ROSS                     KY           90011326343
872716A3472B29   FLORENTINO     PANTOA                   CO           90013966034
8727675265B183   JUANITA        SINCLAIR                 AR           90014627526
87277987A84351   DAVID          CHRYST                   SC           90001539870
87278299572B46   ESPERANZA      MORREAL                  CO           33027662995
8727875639152B   JOANNA         QUIJAS                   TX           90011007563
87279417272B44   JACOB          LUCERO                   CO           90013244172
87281569172B46   ERIC           ROLDAN                   CO           90003675691
87281969497B38   LAURA          JIMENEZ                  CO           90013429694
8728357335B183   TIFFANEY       H                        AR           90014215733
87283A29877537   MEGAN          SNIVELY                  NV           90015060298
8728471A476B65   JOSE           BELTRON                  CA           90004317104
8728517258B168   DOMINIC        DARIZ                    UT           90012731725
87285354697B38   LOUIE          GONZALES                 CO           90013603546
87285742672B29   ABERA          HAILE                    CO           90012437426
8728588A497B38   IZAAC          MUNIZ                    CO           90008678804
87286A96197B38   AMBER          ALVARADO                 CO           90012160961
872872A398B168   WINTER         HOLM                     UT           90014812039
8728738AA8B154   ROMAN          MARQUEZ                  UT           31092993800
87288A71377537   LEOPOLDO       RUIZ                     NV           90014920713
872898A2997B3B   WILLIAM        PALMIER                  CO           90010928029
8728B751971977   ARNOLD         GALLEGOS                 CO           90009877519
8729129A972B29   JORGE          ESCOBEDO                 CO           33034782909
8729225A88B168   KARLA          LIMON                    UT           90010832508
872972A714B554   TAMECA         KING                     OK           90010982071
8729B639372B62   JUSTIN         LOCKER                   CO           33094956393
872B2526272B44   JEFF           FISHER                   CO           90013165262
872B2A3A561928   MARZELLA       WASHINGTOM               CA           90012150305
872B3934861928   YAZNEL         RIVERA                   CA           90008619348
872B559499154B   ALMA           LUCERO                   TX           90000815949
872B61A365B326   TOMMY          SMITH                    OR           90012681036
872B8248961928   MARIO          RAMIREZ                  CA           90014872489
872B827492B246   EDWARD         SAVAGE                   DC           90012582749
87314675197B38   CHASTITY       SALAZAR                  CO           39026566751
87314855272B44   VIVIANA        MELGAREJO                CO           90011598552
873164A6272B44   NICOLE         HANSON                   CO           33065024062
8731759415B335   ALI            ABDALLA                  OR           90010015941
873181A4A47897   MARCUS         JACKSON                  GA           90014651040
873183A1591979   SHANNA         ELFE                     NC           90010843015
873184A4872B44   MELISSA        BRAUN                    CO           90013114048
87318A7465B326   ANDREA         MARTINEZ                 OR           90013340746
87318A88A93771   DANNY          COUCH                    OH           90010900880
87319A19A5B24B   CHRISTOPHER    WOODRUM                  KY           90013540190
8731B689497138   RICKY          MORTIMER                 OR           90011496894
87321747172B44   MARY           MCILVAIN                 CO           33009767471
8732195794B54B   NOE            SANTOZ                   OK           90010679579
8732228595B183   RONNIE         CROSBY                   AR           23069672859
8732244A893771   KIERSTON       BEATTY FRAZIER           OH           90013584408
873227AA36194B   CESAR          GASTELUM                 CA           90014787003
87325351A8B168   ELIJIO         SEBASTIAN                UT           90013533510
873268A7772B46   RUDOLPH        SANDERSON                CO           33026208077
873269A2A41262   TAMMY          SMITH                    PA           90003389020
8732768919152B   ROBERT         BARRIGHER                TX           90010876891
873276A9951341   CYNTHIA        MERKT                    OH           90014716099
87328535A5B183   KRISHARNA      ROSBY                    AR           90014755350
8733139865B326   ANHALEIA       GARRISON                 OR           44513663986
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8733391219154B   ADRIANA            ESCARENO             TX           75056999121
8733624579154B   ANA                GALLEGOS             TX           90012042457
87339912697B38   EDUARDO            SALAS MARTINEZ       CO           90012809126
8734126672B271   TATIANA            MORGAN               DC           81017392667
87342384372B29   JOHN CHRISTOPHER   LLAMAS SOTO          CO           90012613843
87344863A4B22B   JOSHUA             BLACKSON             NE           90012578630
8734729375B326   ROBERT             SUMERLIN             OR           90013172937
873488A8461928   WAYNE              FLEMING              CA           90012778084
8734B479277537   CARRIE             HOWARD OLIVER        NV           90012374792
8734BA95381683   RONDA              COUSER               MO           90013190953
8735339A272B46   RAYDINE            RUBY                 CO           90013953902
87359A2A193771   PATRICIA           SIMON                OH           90005290201
87359AA615B24B   JOSEPH             WASHINGTON           KY           68083590061
8735B11219373B   LUKE               FARRIS               OH           90007931121
87362488A91975   JASMANE            KING                 NC           90013614880
87362A9918B168   HOPE               GABALDON             UT           90006180991
87363A3529154B   SARA               HERNANDEZ            TX           90011270352
87365458A72B46   THERESA            VALENCIA             CO           90008034580
8736659189152B   JESSICA            RAMIREZ              TX           90009265918
87369545A5B183   SHELANDA           HUDSON               AR           90010495450
8736983A172B46   DARRENE            GANT                 CO           33013818301
8736B7A5377537   THOMAS             THORNTON             NV           90011497053
8737491536194B   SALOME             PELAEZ               CA           90012729153
87375212772B62   RAFAEL             FERNANDEZ            CO           90015282127
8737527A891979   ADAM               KIRKWOOD             NC           90002962708
87375884472B44   MANUEL             PEREZ                CO           90011598844
873777A1172B33   WILLIAM            COOKS                CO           90012507011
873781A4193771   KRISTI             GRAF                 OH           90012571041
8737848775B17B   TABITHA            ELDRIDGE             AR           90005384877
8737872129154B   YVETTE             DELAROSA             TX           90013917212
873839A112B271   GABINO             BENNETT              DC           90006629011
8738433124B22B   TERESA             MALLY                NE           27080123312
8738624458B154   BRANDI             LAMPER               UT           31060632445
87386847772B29   HECTOR             MARIN                CO           33022438477
8738725269154B   JENNIFER           MUNOZ                TX           90013032526
87389811872B33   RICHARD            HOBART               CO           90011308118
8738B4A8172B62   MARIO              RAMOS                CO           33009324081
87399171372B33   ANAHI              MORENO               CO           33001481713
873B2225A97138   NAOMI              CASE                 OR           90014532250
873B324A193771   AMANDA             TAGGART              OH           90011122401
873B5769991837   RASHONNA           ANDERSON             OK           90014767699
873B6827151341   PAUL               MAILHOT              OH           90014708271
873B774768B168   PATRICK            REYNA                UT           90011317476
873B8827151341   PAUL               MAILHOT              OH           90014708271
873B8852697B3B   JULIO CESAR        LOPEZ                CO           90014338526
873B8881572B44   ALEX               DIAZ                 CO           90013038815
8741245215B326   CARY               DEHNE                OR           90012904521
8741392AA91979   DAVID              RAYNOLDS             NC           90009769200
87414A4499154B   EDGAR              DIAZ                 TX           90002190449
87415698472B62   PABLO              DEL RIO              CO           90001086984
87416A11A72B62   LANCE              KISSINGER            CO           90013190110
87419A6395B24B   LETISSHA           BLAKEY               KY           90010980639
8742121829154B   VENETTE            LEYVA                TX           90005102182
87421A99772B33   ALEX               FLORES               CO           90013270997
87424367A5B24B   WILLIAM            BASHAM               KY           90010963670
87425656572B29   MARIANA            PEREZ                CO           90013846565
87425A7615B326   DORA               SWEET                OR           44514130761
8742746484B554   ISABEL             NEVAREZ              OK           90014064648
87427492972B29   VERONICA           MASCARENAS           CO           90009184929
874296A6872B29   JORDAN             BROWN                CO           90009546068
87431819872B46   COURTNEY           HANLON               CO           90012228198
8743339338B168   MARGARET           BENNETT              UT           90013903933
8743378478B168   KERRY              CLIFT                UT           90012947847
8743445989154B   YVONE              DIAN                 TX           90011274598
874357A578B168   MONICA             JOHNSON              UT           31008817057
87436367A5B24B   WILLIAM            BASHAM               KY           90010963670
8743B72589152B   CYNTHIA            CARVAJAL             TX           90013317258
87443A8677B465   JOSE SANTOS        MARTINEZ SOTO        NC           90009290867
87444A93A97138   GUSTAVO            FLORES               OR           90011360930
87448655897B38   JED                TEEL                 CO           39090006558
8744B572347822   JALECIA            MAXWELL              GA           90005275723
8745347679152B   KARLA              HIDALGO              TX           90013214767
874535A9891975   GETENA             COMPON               NC           90002415098
874555A8772B29   DARREN             RAYL                 CO           90007035087
8745619AA97138   ORLIN              OMWERE               OR           90013781900
8745B427997B38   MARI LUZ           ESTRADA              CO           90010764279
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8745B76649152B   IRIDIAN        CASTANEDA                TX           90015127664
87464343997B3B   KELLY          SMITH                    CO           90014853439
874647A998B168   JOEL           BRITO                    UT           90009797099
8746562728B154   ENRIQUE        AQUINO                   UT           90010546272
8746751179154B   SANDRA         GONZALES                 TX           90011275117
8746951269154B   JOANNA         PALOMARES                TX           90011275126
8746B2A7572B44   SAMUEL         LOPEZ                    CO           90013942075
87471264472B46   GREG           BACA                     CO           90011782644
874724A1572B33   KELLI          ROPER                    CO           90014834015
87473581872B29   MARY           WALKER                   CO           90011395818
87475172997B3B   ROBERT         BUSWOLD                  CO           90013501729
87475256A72B33   SARAH          BETZER                   CO           90012912560
87475356597B3B   ESPERANZA      GUZMAN                   CO           90010773565
87475A9A172B44   SHAREL         DOYLE                    CO           90014100901
87476379372B46   FRANCISCO      HURTADO                  CO           33013523793
87476987A6194B   ANDRES         RANGEL                   CA           90004319870
8747855495B921   TOSHA          WILLIAMS                 WA           90009745549
874792A6371977   MAXINE         VALDEZ                   CO           90013172063
87482518172B44   JAVIER         MORALES                  CO           90013235181
8748481A577537   MARCUS         MAY                      NV           90013458105
87487454772B28   NICOLE         BRAINING-DEHERRERA       CO           90007864547
87488846A9154B   GRISELDA       MORALES                  NM           75096008460
87497A7129152B   ROSALIO        OLIVO                    TX           75060830712
874986A586194B   TATYANAH       LACEY                    CA           90014796058
874991A2841262   CARLA          CRAWFORD                 PA           90014701028
8749957AA4B22B   LORRAINE       LONG                     IA           90000585700
8749B658672B44   ANNA           SALDANA                  CO           33064726586
874B3246447897   KURT           OATES                    GA           90011302464
874B329A491979   GRETA          JOHNSON                  NC           90010382904
874B565949154B   MONICA         ESPINOZA                 TX           90010316594
874BB869597138   A              K                        OR           90013528695
87517A73693771   TRAVELL        MCCARTY                  OH           90007930736
8751B13289152B   BRANDON        SMITH                    TX           90012301328
8752187339154B   JAIME          CERVANTES                TX           90011778733
8752212A58B168   LETICIA        REYES                    UT           90015091205
8752292AA71977   JESSICA        HERNANDEZ OLVERA         CO           90012799200
8752691328B168   AL             AL-BAYATI                UT           90014729132
87529224497B3B   JORJE          LOPEZ                    CO           90008762244
8752B233972B62   JEREMY         REID                     CO           90011112339
87531766497B3B   WILDER         PEREZ                    CO           90009517664
8753565549154B   ANGELICA       HERNANDEZ                TX           90011276554
8753853195B183   STEPHANIE      DANIELS                  AR           90010295319
8753922628B154   GARY           BRANSCOMBE               UT           90004832262
87539351872B29   GUILLERMINA    CABRERA                  CO           90013323518
875425A9891975   GETENA         COMPON                   NC           90002415098
8754589529154B   SERGIO         CALDERON                 TX           90010858952
87546231A47822   KIMBERLY       JOHNSON                  GA           14061522310
8755232488B168   SCOTT          SEAMAN                   UT           90013983248
8755269225B24B   JAIMELLE       WILSON                   KY           90014906922
87552821772B44   ADOLFO         ROJO                     CO           90012858217
875539A1197138   JEFFREY        FORKIN                   OR           90011079011
8755622645B27B   LASHAY         WOOLRIDGE                KY           90003672264
8755655926B932   LOUIS          MCCRAE                   NJ           90013185592
87557383172B62   JESSICA        AGUIRRE                  CO           90012863831
8755B357A93771   JASHWA ALAN    SMALLWOOD                OH           90012933570
87561566472B62   NANCI          HOSELTON                 CO           33042535664
87562655A5B24B   TOCHEYONA      JONES                    KY           90014336550
8756528875B27B   ROBERTO        BARTOLO                  KY           90011632887
8756798465B24B   TAQUANDA       KIRBY                    KY           90012359846
87569A32997B38   TINA           MARTINEZ                 CO           90014870329
8756B3A993B382   GRANT          ADKINS                   CO           90012483099
8757159A691837   TRAVIS         DELP                     OK           90007645906
87572AA4972B62   ARELI          ACOSTA                   CO           90000290049
87575936997B38   DANIEL         MONTEZ                   CO           39008749369
8757759189154B   SANDRA         PEREZ                    TX           90014695918
87579A95172B44   KIRK           PHILLIPS                 CO           33092110951
8757B174172B46   BALVINA        RETANA                   CO           33015071741
87581285172B46   ROBERT         SIMS                     CO           90013132851
875823AA38B168   BIANCA         DELGADILLO               UT           90013333003
8758311569152B   ANDREA         GARCIA                   TX           90007961156
87583652A41275   NOREEN         HARVEY                   PA           51097846520
875851A5472B29   ANGELO         SONS INC.                CO           33010151054
87587A88491979   JACKSON        RUDDER                   NC           90012570884
8759167366194B   JESUS          CRUZ                     CA           90012856736
8759216196194B   RUBY           DEVINE                   CA           90007571619
875922A395B183   WILLIAM        GILLIAM                  AR           90014642039
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875922A9972B44   BRITTANY       PRIDGEN                         CO    90013942099
8759274679154B   LINDA          VAZQUEZ                         TX    90011277467
87592A29172B44   JOSEPH         AVILA                           CO    90010510291
875935A5241275   MAXWELL        PETERS                          PA    90011235052
875984A545B326   CAROL          HELVEY                          OR    90010094054
875986A7147897   SHANTEE        LOCKEET                         GA    90009326071
87599A9918B168   WENDY          KEBLIS                          UT    90013290991
8759B38615B17B   LUIS           POSADAS                         AR    90002163861
8759B655A51382   HOWARD         FROMAN                          OH    90015206550
8759B8AA377537   MARIA          FIGUEROA-GARCIA                 NV    90013538003
875B22A9A97B38   SILVIA         FRANCO                          CO    90013322090
875B4889771977   GARY           SANCHEZ                         CO    38007048897
875B537984B22B   JOSE           LUCERO                          NE    90012913798
875B694924B546   BRANDI         BRIDWELL                        OK    90010949492
875B939A372B46   SHARA          JARAMILOO                       CO    90007643903
875B99A1991837   JULIO          LOPEZ                           OK    90013969019
875BB857361928   ALEXANDRA      ZAPATA                          CA    90012748573
8761478A75B17B   DON            MANESS                          AR    90010937807
876165A4261928   IZZY           ORNELAS                         CA    90010625042
87617AA9A72B44   JOEY           SANTISTEVAN                     CO    90014860090
87618461772B46   ALEJANDRO      CARDONA                         CO    90013954617
87619A18672B46   NYREE          MORGAN                          CO    90007320186
8761B189961928   RICKY          CURA                            CA    90012281899
8761B75514B22B   NICOLE         DIECKMANN                       NE    90013697551
87623382A8B154   WES            ERICKSEN                        UT    90010553820
87623996A5B24B   KENNETH        MATTINGLY                       KY    90014679960
87624367A91979   TREVOR         GORMLEY                         NC    90014863670
87624552597B38   ANNA           G REVITIA                       CO    90007995525
8762627445B27B   MOLLY          BURKE                           KY    90013732744
8762878919154B   RICHIE         DNIRO                           TX    90014557891
8762925A591951   DAWNQUITA      WILSON                          NC    90010612505
8762B26855B24B   EDWERS         POWERS                          KY    90014012685
8762B689172B46   DEBBIE         PADILLA                         CO    33003716891
8762BA3449154B   MICHAEL        ABEYTA                          TX    90014050344
87631466272B46   RUBEN          GURROLA                         CO    90013954662
87633654272B62   BUFFI ANNE     YOUNG                           CO    90014336542
87635779472B44   SHALAMAR       BOBIAN                          CO    90013627794
8763735918B168   NANCY          LANDE                           UT    90010403591
8763881385B326   EDUARDO        ROMERO BRAVO                    OR    90013038138
876433A1972B44   JEFFERY        LLOYD                           CO    90004923019
87646A4119376B   ROBERT         THOMAS                          OH    64592090411
876562A364B22B   DARIAN         KNOWLES                         NE    90011892036
8765671479154B   ERICK          FRAYRE                          TX    90013277147
876578A8997B3B   JUAN           AGUILAR                         CO    39082898089
8765B28895B24B   BROOKLYN       HEITZMAN                        KY    90011392889
87662A68671977   STEVEN         PARKER                          CO    38096850686
87668356A9152B   RAY            SILVA                           TX    75054833560
876695A5691979   RACHEL         WHITE                           NC    90007365056
87672325176B65   GABINA         GUZMAN                          CA    46063303251
87672899772B29   TOMAS          GALVAN                          CO    90010368997
8768317289152B   MARIA          TARANGO                         TX    90013551728
8768324675B326   GUADALUPE      PEREZ                           OR    90011152467
8768729455B24B   SILVIA         CARONLINA VELASQUEZ SAGASTUME   KY    90015332945
8768B12A297138   KRIS           ANDERSON                        OR    90013221202
8768B914897B38   MISTY          ANZALDUA                        CO    90013399148
8768BAA5A47897   NATASHA        REESE                           GA    90014560050
87691165497B3B   LONNIE LEE     COMER                           CO    90011901654
87691AAA547822   CHARLES        JAMES                           GA    14013400005
876922A3A5B326   SILVIA         RUIZ                            OR    90011472030
87692463A91837   KARINA         RODRIGUEZ                       OK    90003574630
8769447515B326   CAROLINE       BROWN                           OR    90004174751
8769848A672B62   JEFF           BRESLIN                         CO    90013774806
87698986A9154B   KELLY          DUCKETT                         TX    90008859860
876B1516697B38   BLANCE         NUNEZ                           CO    90005785166
876B2719791942   DEVAN          GREENE                          NC    90013247197
876B51A5597B38   JAQUELINE      HERNANDEZ                       CO    90013071055
876B6151671977   FRED           LEWIS                           CO    38007171516
876B6A67A91975   JEANETTE       ALSTON                          NC    90013500670
876B8683391979   NATALIA        MILLER                          NC    90012356833
876BB67AA72B29   RAMON          VILLALOBOS                      CO    90012336700
8771241669152B   CRYSTAL        RODRIGUEZ                       NM    75090454166
87713A54297B3B   CHRISTOPHER    MERTENS                         CO    90012420542
8771B81426194B   MICHELLE       WEBB                            CA    90014818142
87721193472B46   DIMAS          JULCARIMA                       CO    90014881934
8772149A25B326   KARINA         OMPAD                           OR    90010114902
87722136472B62   SHELLY         GOMEZ                           CO    33068091364
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8772365AA97138   CECILIA         CASTELAN                 OR           90001636500
8772538279154B   ADRIAN          BRABO                    TX           90013023827
8772732569152B   JOSEFINA        COGHILL                  TX           75070513256
8772861145B24B   KIMBERLY        DAVIDSON                 KY           90012506114
87728726972B46   NATALIE         ROSALES                  CO           90012727269
87728A7778B168   ALEX            VELASQUEZ                UT           31057200777
8772B854971977   AIOTEST1        DONOTTOUCH               CO           90015128549
87731429172B46   BEATRICE        TUSAMBE                  CO           90011784291
87732498272B46   JORGE OSVALDO   LUNA                     CO           90013954982
87734259A5B326   ORSEN           RAIN                     OR           90011942590
87736413572B33   ENEDINA         SILVA                    CO           90012774135
87736788A5B921   JAYDEN          BENNETT                  ID           90014557880
8773B454247822   WILLIAMS        COLLINGS                 GA           90006724542
8773B832897B3B   MARK            PIERCE                   CO           90013058328
8773B991791975   JEREMY          CAMPBELL                 NC           90011219917
877439AA991975   AUDO            MACEDA BAUTISTA          NC           90006059009
87744555A97B3B   LUIS            ROSALES                  CO           90014245550
8774463A661928   ALFREDO         VEGA                     CA           90012996306
877483A4172B33   ELIZABETH       SANCHEZ                  CO           90007973041
87749A16A72B46   DANIEL          MANTZ                    CO           90013970160
8775297A797B3B   SANDRA          SALINAS                  CO           90014769707
87753A9A891979   TYMLESHA        MORRIS                   NC           90013490908
87754AA3572B54   LESLIE          MASDIN                   CO           90006540035
8775766572B236   TIM             HENNIGAN                 DC           90005796657
877576A872B271   CONSTANTIN      MERINO                   DC           81017546087
87757A12272B62   CHRISTIAN       QUEZADA                  CO           90013190122
87758386572B29   ROSLYN          MARTINEZ                 CO           90012613865
877595A2172B46   CARLOS          PEDROSA                  CO           90013955021
87759A28391975   ALMALIK         MAGWOOD                  NC           90014750283
8775B246391979   AMY-MARIA       ALEXANDER                NC           90014152463
8775B357A9152B   RAFIN           HENDERSON                TX           90013653570
8775B59A25B326   JARED           SORENSON                 OR           90012555902
8775B887491975   REBECA          RODRIGUEZ                NC           90013618874
8776235459152B   LAZARO          GARCIA                   TX           90013263545
87765328272B62   HALI            SAMS                     CO           90012823282
877655A5647897   KIMBERLY        BROADUS                  GA           90009985056
87767614297B3B   KURT            REYNOLDS                 CO           90013316142
87767687A8B168   MICAELA         NIELSEN                  UT           90013656870
87771A48651341   NIASIA          JOHNSON                  OH           90014730486
87773442972B46   JONATHAN        MENDOZA                  CO           90011784429
87775A7126194B   CHRISTOPHE      BUONO                    CA           46013210712
8777646775B24B   WAYNE           JIN                      KY           90012244677
87779626A41275   RAMON           CORNICK                  PA           90011236260
8777989246194B   DAVID           LEE                      CA           90014818924
8777B591791975   MANUEL          GARRIDO                  NC           90015155917
8778337A572B33   SYLVIA MARIE    AGUIRRE                  CO           90011293705
877845A6A72B46   STACEY D        AMBROSE                  CO           90013955060
87785A22972B44   JISSICA         MARTIN                   CO           90011600229
8778925A65B183   BLAIR           KASERO                   AR           90014652506
87789A8825B183   RODNEY          MOTON                    AR           90010510882
8778B62237B491   LAVETA          CLEMENTE                 NC           90004536223
8779444429154B   CINDI M         MONTEZ                   TX           75078174442
87794461472B46   NICHELLE        WEISS                    CO           90011784614
87796484197B38   ISAAC           MEDINA                   CO           90007074841
8779731565B24B   AMBER           CARTER                   KY           90014533156
8779937916194B   JORGE           DE JESUS                 CA           90012763791
877994A334B22B   JOHN            MORRIS                   NE           90012134033
877B2496597B3B   SEFERINO        CALIHUA                  CO           90014454965
877B2972197B38   JESSICA         GARCIA                   CO           90014819721
877B419A361928   JOSE            CORIA                    CA           90012281903
877B432332B835   LINDA           FREEMAN                  ID           90012303233
877B4368172B29   CHRIS           RANDEL                   CO           90014643681
877B4779972B33   RICKEY          MALLARD                  CO           90012877799
877B6139672B29   RYAN            WHITING                  CO           90012901396
877B695A891975   PAYGO           IVR ACTIVATION           NC           90013039508
877B8684472B28   ROCIO           MENDOZA                  CO           90008306844
877BB886461928   ADRIAN          ALONSO CASTRO            CA           90013098864
8781343159154B   NANCY           VARGAS                   TX           90013024315
8781499895B24B   MICAH           PAYTON                   KY           68017129989
87814A22247897   BRITTANY        DENNIS                   GA           90010980222
8781515528B168   GINA            LUCERO                   UT           90011411552
87816998572B62   JOSEPH          BACA                     CO           90010819985
87816A97461928   KELLY           JUDKINS                  CA           46049500974
87818475397B51   SARAH           GALLEGOS                 CO           90013334753
8781855339154B   IRENE           LOPEZ                    TX           90013085533
87821A45A93771   CHRYSTAL        SCHROEDER                OH           90010100450
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87821AA7861928   DOLORES         LOMELI CLANCY           CA           90014040078
8782219595B17B   HECTOR          CELESTINO               AR           23016971959
878226A5591979   GREGORY         BYRD                    NC           90013646055
8782344295B183   KELLY           FITZGERALD              AR           90012184429
8782415419152B   NORMA           VILLANUEVA              TX           90004941541
87824319372B33   AMARANTE        HERRERA                 CO           90011083193
8782629195B326   BRANDON         O LEARY                 OR           90011472919
878269A589152B   MIGUEL          SANCHEZ                 TX           90014289058
87827623797B97   LUIS            GOMEZ                   CO           90011726237
87834633472B33   MICHAEL         LOVING                  CO           90010496334
8783611225B183   ADRIAN          HUHGES                  AR           90004041122
8783668974B22B   JAVANTE         JACKSON                 NE           90009006897
8783715369154B   ARLEN           HERNANDEZ               TX           90011281536
8783951A172B46   MANCIO          JESUS                   CO           90013955101
87842A85872B44   RODOLFO         MARTINEZ                CO           90010510858
878444A934B22B   ADRYAN          GRAY                    NE           90012844093
8784451587B362   MAHRUS          ALKHANBESHI             VA           90010275158
8784453218B168   TRAVIS          HOXIE                   UT           90014085321
87844A39993771   BOWSHIER        BETSY                   OH           90011200399
8784735A15B183   LYNN            HARRIS                  AR           90010513501
8784B78914B22B   TRUONG          TRUONG                  NE           90012387891
87854515472B46   ROBERT          JOHNSON                 CO           90013955154
87856699172B44   EDITH           VALADEZ                 CO           90013956991
8785951135B326   GABRIEL         DEBENEDICTIS            OR           90004955113
8785B2A259154B   CARLOS          LARES                   TX           90011282025
87861384A6194B   TATIANA         CORNEJO MEZ             CA           90012763840
87861792A91524   ALMA            SAENZ                   TX           90009937920
87862976A6194B   CHRIS           WATT                    CA           46084909760
8786525439154B   GERMAN          ZAMBRANO                TX           90011282543
8786799516194B   TERESA          RIOS                    CA           90014819951
8786B71AA77537   ANDRE           GILLIAM                 NV           90012327100
87871231572B62   JULIO           GARCIA                  CO           90008962315
8787152AA72B46   ANTHONY         BARRERA                 CO           90013955200
878716AA877537   MANUELA         SORIANO MARTINEZ        NV           90012406008
87876297A97B51   ESMERALDA       SANTISTEVAN             CO           90012112970
87876466772B44   ELAINE          SCHULTE                 CO           90009504667
8787727162B271   JAKE            ROACH                   DC           81062112716
87879543A91975   ALFREDO         RAMOS                   NC           90012345430
87879982872B44   DANIEL          BARHITE                 CO           90011929828
8787B518772B46   DARWIN          HARRIS                  CO           90013955187
8788595A197138   MARCO           KYSER                   OR           90002809501
8788616925B326   JUANA           CORTES LOPEZ            OR           90011061692
8788738435B17B   ANGELA          WILLIAMS                AR           90014613843
87891526172B46   ARIANY          QUINTANA                CO           90013955261
8789167A372B62   CHRIS           BUROUGHS                CO           90012506703
87892526572B46   MARTHA          PITTALUGA               CO           90013955265
87893233572B29   ISAC            HERNANDEZ               CO           90010312335
87894129472B44   LEON            GARCIA                  CO           90011641294
8789615145B183   HOLLY           COLLINS                 AR           90014661514
878B227839154B   ARCELIA         HERNANDEZ               TX           90013822783
878B33A288B168   REBECCA         LAYTON-ROSA             UT           90013333028
878B3A26191979   ASHLEY          HINTON                  NC           90014690261
878BB546597B38   NIETO ALMANZA   BERENISE                CO           90013955465
8791131449154B   HUGO            PEINADO                 TX           90011483144
8791218A997B3B   NICOLE          REDDING                 CO           90013291809
87913876872B33   TIMOTHY         MARTINEZ                CO           90015138768
879169A7A9154B   JOSE            NAJERA                  TX           90008959070
87916A3A46194B   SYLVIA          YANEZ                   CA           90014820304
87919779672B46   SANDRA          GUILLEN                 CO           90011787796
8791B274541262   MAQUALLAH       BEY                     PA           90013162745
8791B5A6A72B62   GERALDINE       LACEY                   CO           90008185060
879224A185B326   JOSE            CARDENAS BANDERAS       OR           90010314018
8792368445B24B   JOHN            ELDRIDGE                KY           90011326844
87924878772B44   JOSE            ARROYO                  CO           90013048787
8792589282B271   STELLVONNE      JACKSON                 VA           90005008928
87926687297B38   LUIS            MEJIA                   CO           90010376872
8792731A872B33   GUADALUPE       GONZALEZ                CO           90011103108
87932791A72B44   THOMAS          KAUFMANN                CO           33008667910
8793496223B382   NEREIDA         BODNAR                  CO           90012759622
8793516769154B   JAAZIEL         ENRIQUEZ                TX           90004991676
8793552A172B62   LEWIS           BROOMS                  CO           33051015201
87935787A72B46   NATALI          MARTINEZ                CO           90011787870
8793631A471977   BRIAN           CRUZ                    CO           90012573104
87937A88772B44   PEDRO           OSUNA                   CO           90011600887
8793864439152B   RUDY            FAVILA                  TX           90013906443
87941357672B49   ALEX            CORDOVA                 CO           90011453576
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87946191272B46   MAYRA               ALVAREZ             CO           90007531912
87948465A41262   CARALAJE            JONES               PA           90013004650
87954154897B38   CALLENE             WILLIAMSON          CO           90015141548
87954169A77537   LIBIER              CARDENAS            NV           90014911690
87954A6546194B   ASHLEY              SOTELO              CA           90014820654
879563A8671977   PAULETTE            PONCE               CO           90014613086
87959A2259152B   CISNEROS            JANET               TX           90013240225
879622A6497B3B   RICHARD             REMUS               CO           90014652064
87962614297B3B   KURT                REYNOLDS            CO           90013316142
879628A2141275   MARIA               HARBINSON           PA           90011238021
8796375775B24B   EVELINE             DELGADO             KY           90002697577
87964A18371977   MACKENZIE           MAAS                CO           90005300183
87965928897B38   JOSHUA              JOHNSON             CO           90013219288
8796B287241262   JILL                PRICE               PA           90014602872
87971266572B33   JOHN                VO                  CO           90012992665
8797148AA57142   DANA                PERKINS             VA           90010504800
879721AA372B33   CARMEN              LUNA                CO           90013271003
87974A39497B3B   MARQUIS             MOORE               CO           90012960394
879781A1651349   MIYAH               SPRINGS             OH           90006771016
87979499372B62   SHEILA              MUNGUIA             CO           90012914993
8797B553972B46   CARLOS              PEDROZA             CO           90013955539
87981A59972B62   CARLOS              MEDRANO             CO           90008710599
87986849797B38   DESIREE KATHERINE   MILLER              CO           90010418497
8798964AA93771   INDIA               CAMBELL             OH           90009316400
8799146939154B   LETY                GARCIA              TX           90014814693
87993145A3B354   NANETTE             BEZJAK              CO           33016801450
87993439597B98   ROSALBA             PEREZ-CAMARENA      CO           39041264395
879954AA46194B   JESSICA             GREEN               CA           90014824004
8799665956194B   LAURIE              NASH                CA           90011716595
87997A75997B38   CLAUDIA             GALVEZ              CO           90013220759
879983A8671977   PAULETTE            PONCE               CO           90014613086
879B1229197138   GUADALUPE           MONTERO             OR           44031542291
879B1598997B3B   ASHLEY              POTTER              CO           90011615989
879B18A7272B44   SHAIWAN             POLK                CO           90012858072
879B2655576B65   MONICA              KONOPACKY           CA           90003156555
879B353AA72B62   ROBERTA             ARAGON              CO           90012445300
879B3957647822   CHAN                MAYS                GA           90014719576
879B4786591837   HOPE                JINDRA              OK           90005937865
879B7491633B33   ERIKA               BENNETT             OH           90012174916
879B763A777537   TAMMARA             BOARDMAN            NH           90007606307
879B894554125B   KAREN               MEJAIA              PA           90008439455
879B8A4A472B33   NORMA               CHACON              CO           33001310404
879B9364A98B31   SINDY               MARQUEZ             NC           90014323640
879B9A81377537   MARIE               GRIMSLEY            NV           90010630813
879BB315A9154B   DESIREE             CHAVEZ              TX           90011283150
87B12659657139   KATIE               DECKEMAN            VA           90012516596
87B1293A491979   NATASHA             WALKER              NC           90014559304
87B12995872B33   OSCAR               FELIX               CO           90008309958
87B13695185962   STEVEN              AMORESE             KY           90005706951
87B1435A671977   YANERA              MCCULLEY            CO           90009333506
87B15437247897   QWENDLYN            SIMPSON             GA           90013334372
87B15925661928   CARLOS              CRUZ                CA           90013739256
87B18A31397138   PERLA               ZARATE              OR           90010930313
87B18A89672B29   ZACHARY             STARBECK            CO           90012840896
87B1B6A3577537   MARIA               FLORES-GONZALEZ     NV           90014086035
87B1B792191979   ANNOLD              BANGURA             NC           90013677921
87B2168468596B   LATIFAH             GREER               KY           67040556846
87B2346454B22B   ANTHONY             DOUGLAS             NE           90014364645
87B27A28461928   ALEJANDRO           ROMO                CA           90006380284
87B2885AA91837   FARHANA             KHAN                OK           21062958500
87B2923799154B   MANUEL              HERRERA             TX           90011262379
87B2B787A9154B   DE NUNEZ            FRANCISC            TX           90006597870
87B3162A777537   JESSICA             SIERRA              NV           43097816207
87B31838161928   GUADALUPE           AVILA               CA           90014078381
87B319AA572B44   KEVIN               BARROW              CO           90008389005
87B32353791979   KERRI LYN           VANDUSEN            NC           90011103537
87B34781172B44   JORDAN              LOPEZ               CO           90011597811
87B35347121585   ROBERT              MACNEILL JR.        NC           20529973471
87B38723A47897   LAQUANA             HARRIS              GA           90010737230
87B39A7878B168   ABRAHAM             LUAL                UT           90013750787
87B4511957B461   HELEN               HARRIS              NC           90011091195
87B4525665B249   HEATHER             VINCENT             KY           90003462566
87B45956597B3B   MARINA              CHAVEZ              CO           90010999565
87B48A61733698   WYNESHA             SWINDELL            NC           90004180617
87B4B469291837   LEONA               AGUIRRE             OK           90013954692
87B52686271924   ASHLEY              KEARNS              CO           90010966862
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87B528AA147897   CHEBETRA              GAINEY            GA           90012538001
87B55189491975   WILSON                MCCLENNY          NC           90010051894
87B57661997B3B   JESUS                 CHAVEZ            CO           90011576619
87B58787672B44   DANIEL                MARTINEZ          CO           90011597876
87B62817777537   SAMANTHA              TOM               NV           90014618177
87B64584372B44   TORINA                KILLIAN           CO           90009505843
87B6582234B22B   RACHEL                SMITH             NE           90010358223
87B67322872B62   APRIL                 ZAPOYA            CO           90010733228
87B69729277537   AUTUMN                HORNE             NV           90010927292
87B6B169172B44   TED                   URIOSTE           CO           90013941691
87B6B216691975   STARLETTA             MUSUNGAY          NC           90014922166
87B71A8779154B   HUGO                  FAVELA            TX           90013970877
87B7254149154B   DIANA                 MUNOZ             TX           90011395414
87B72A29351341   JORDELL               CARR              OH           90013160293
87B7354584B53B   JEREMY                PORTER            OK           90011305458
87B76547477537   ALEJANDRO             ROJAS             NV           90012365474
87B77842772B62   GRACIELA              RASCON            CO           33062108427
87B7793875B24B   BRITTNEY              DAVIS             KY           90013309387
87B7823839154B   JESSICA               AVALOS            TX           90013022383
87B7945469154B   ROSA                  JIMENEZ           TX           90000784546
87B7B4A3372B44   HUMBERTO              SALAZAR           CO           33098714033
87B7B65888B168   LARRY                 TUCKER            UT           90011966588
87B81169172B44   TED                   URIOSTE           CO           90013941691
87B8315A49152B   CLAUDIA               MISQUEZ           TX           90012161504
87B83755A6194B   HICSI                 MONTES            CA           90014257550
87B85668297B38   GERARDO               ARELLANO          CO           90013106682
87B86595A72B46   JESUS                 IBARRA            CO           90006805950
87B87A1896194B   HUY                   LE                CA           90013050189
87B8815265B326   OSCAR                 LOPEZ             OR           90010111526
87B88699A61928   VERONICA              MANZO             CA           90009166990
87B88777747897   DIANE                 CLEMONS           GA           90010277777
87B8B4A3372B44   HUMBERTO              SALAZAR           CO           33098714033
87B92642561928   STEPHANIE GUADALUPE   ROSAS             CA           90011046425
87B92812772B33   OMAR                  MALDONDADO        CO           90014878127
87B9324939152B   MARIA                 NIETO             TX           90013932493
87B94675672B29   EDUARDO               CASTANEDA         CO           90004926756
87B98525991837   LESLIE                STUTSMAN          OK           90013955259
87B991AA19154B   LORENA                SIANEZ            TX           90013971001
87B99212851341   PHYLLIS               FRAZIER           OH           90007182128
87B9925A69152B   SAUL                  TORRES            TX           90008572506
87B99981571977   BETTY                 MENDEZ            CO           90009229815
87B99A81676B65   CARLOS                PEREZ             CA           90005370816
87BB1543776B65   JERONIMO              GREGORIO          CA           90008175437
87BB258935B183   CIERRA                PARKER            AR           90014605893
87BB2768651341   JENNIFER              MOFFORD           KY           90013157686
87BB367174B22B   LINDA                 FINLAN            NE           90002266717
87BB4768651341   JENNIFER              MOFFORD           KY           90013157686
87BB5781751341   GERSON                VENTURA           OH           90013157817
87BB7425172B83   AMANDA                LETCHER           CO           90001334251
87BB881A68B154   DEE                   MARCIL            UT           31014888106
87BB9131197B3B   JEFF                  OLSEN             CO           39036801311
87BB962435B139   ELVIS                 SCROGGS           AR           90004496243
87BB9827141262   WOODROE               WILSON            PA           51015608271
87BBB17A16B932   LAINA                 JOWORSKI          NJ           90012841701
88112159297B3B   CASSY                 WAREMBOURG        CO           90014691592
88114673872B33   PEDRO                 GONZALEZ          CO           90013576738
88116982A93771   DAVIS                 BRUNER            OH           90014599820
8812B658241275   HECTOR                ACOSTA            PA           90013696582
88131141372B46   MAXIMIOIAN            PHILLIPS          CO           90015161413
8813B49A561928   BRITTANY              WELLS             CA           90012614905
8814515A43344B   SHEKEIDRA             MARTIN            AL           90014571504
8814553A541275   ANGELO                KING              PA           90011095305
88151136A72B29   SUZANNE               ARGUELLO          CO           33081211360
8815699925B24B   GERADO                ALVARADO          KY           90010759992
88157824572B44   ROBERT                HARLEN            CO           90012958245
881589A999154B   SANDRA                PEREZ             TX           90011489099
881621A8433698   RAVEN                 HOOKER            NC           90000141084
8816579172B896   DONALD                HOBBS             ID           90000817917
881658A9172B29   AMY                   SARGENT           CO           33070658091
8816B6AA272B29   ZACHARY               BRENNECKE         CO           90013756002
8816B98978B135   EMILY                 DETWEILER         UT           90012039897
88176285172B33   STEVEN                RUIZ              CO           90014112851
8817664A17B338   EDDY                  GONZALEZ          VA           90010016401
881814A969154B   JOSE                  AGUILAR           TX           90014214096
8818272339154B   ARMANDO               FLORES            TX           90006437233
88188218272B33   J                     ORTIZ             CO           90003132182
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88189882197B3B   JANICE          JONES                   CO           39033078821
88191A8A541275   PHILLIP         LEFFEW                  PA           90010340805
8819363339154B   ROSAURA         ALFARO                  TX           90011286333
881938AAA93771   TRACIE          EDWARDS                 OH           90010718000
8819771A691837   GLORIA          CASTILLO                OK           90012427106
8819835422B896   STEPHANIE       FOURNIER                ID           90011593542
88199A9A972B62   STEVEN          BROWN                   CO           90008150909
881B1279272B62   MICHAEL         TORRES                  CO           90013932792
881B17A1391837   JACKIE          GOODMAN                 OK           90007267013
881B234572B896   STEVE           BURTON                  ID           90008793457
881B2453677537   GANANDIP        KAUR                    NV           90010854536
881B33A1272B44   VALERIE         SLOAN                   CO           90012943012
881B6629397138   ROBERT          COOPER                  OR           90014796293
881B769A24B22B   ANDREW          MENARD                  NE           90013136902
881B9248177537   JOEL            CERVANTES               NV           90013752481
881BB48A697B3B   DANNY           MEEHAN                  CO           90013284806
882149A4472B29   WILLIAM         SHEDD                   CO           90010499044
88214A38877537   JEFFERY         WATKINS                 NV           90013420388
8821689949154B   MYRNA           RENDON                  TX           90013568994
88217A3628B154   LUIS            TREJO                   UT           90006410362
8822129494B22B   GENIFER         DAVIS                   NE           90005222949
8822131A572B46   YURI            PERALTA                 CO           90013243105
8822178922B896   THOMAS          FREINWALD               ID           90014707892
882219A4997B21   CHRISTOPHER     SHARP                   CO           90010839049
8822266339154B   SAMUEL          SOTELO                  TX           90011286633
882228A8672B46   BONNIE          MASCARENAS              CO           90013818086
8822767A772B46   RIKKI           PETTY                   CO           90012856707
88231374497B3B   LEE             DECKER                  CO           90012723744
88237368172B44   BRILLIT         VALDEZ                  CO           90009343681
882374A9243525   TSEHATE         YIFT                    UT           90008244092
8823979A65B24B   AUSTIN          PATTON                  KY           90010587906
882398A5272B46   LANARAE         BARRON                  CO           90002678052
88239934A97B3B   JAMES           VALDEZ                  CO           90014019340
88241372972B83   RAYMOND         AYON                    CO           90009703729
88242358172B46   JASMIN          CATALFANO               CO           90010083581
882433A4661975   RABERTO         MEDINA                  CA           90011763046
8824629648B168   MONICA          DASILVA                 UT           90008122964
8825352724B556   SUZANNE         GAYTAN                  OK           90008955272
8825457118B154   SANDRA          URGILES                 UT           90003865711
88254882772B62   SANDRA          CASTILLO                CO           90010788827
88258572A8B168   ASHLEY          KOLBE                   UT           90013715720
8825B157451341   ASHLEY          CLARK                   OH           90003701574
88261557872B46   RICARDO         CALLEJA                 CO           90013655578
8826297A297B3B   DAVID           FRAGOSO                 CO           90010649702
8826B48888B154   SALLIE          STONEBRAKER             UT           31005334888
88274141272B46   NANCY           QUIROZ                  CO           90013221412
88274934A5B24B   AMANDA          COLLIER                 KY           68007459340
8827564728B168   LISA            LASKOWSKI               UT           31033626472
882789A745B24B   ROBERTO         PADILLA                 KY           90010589074
88281279672B44   LINDSEY         SISNEROS                CO           33019792796
882822A4971977   AMANDA          MAYER                   CO           90012302049
88283976A33698   SAMANTHA        SANDY                   NC           90013609760
88285184172B29   DENNY           MITVHELLE               CO           90012601841
8828825469154B   GUADALUPE       QUIROZ                  TX           75030262546
88288817A41262   LEETASHA        MOORE                   PA           90010998170
8828B381477537   FAHAD           RAZZAQ                  NV           90010903814
8828B459155945   JOEL            GUERRERO                CA           90014184591
8828B514933698   JOHN            BAKER                   NC           90007505149
882911A772B981   LARRY           VALDEZ                  CA           90007591077
88292225372B44   ARTURO          DOMINGUEZ               CO           33067242253
88293685672B46   TAI             SANDERS                 CO           90004106856
88294622472B46   KONRAD          KAY                     CO           90011646224
88295A78791837   ELVIN           MEDINA                  OK           21084960787
882998A9772B33   TYWON LAVELLE   ANDERSON                CO           90012098097
88299A61541262   CHEMERS         STANLEY                 PA           90012650615
882B1646197B3B   BALBINO         OQUELI                  CO           39005646461
882B1842193771   GELACIO         CORTES                  OH           90010948421
882B366755B24B   CRYSTAL         DUGAN                   KY           90010586675
882B39A3691242   KENNETH         BRYANT                  GA           90006459036
882B5382493771   JAISLEE         WALLER                  OH           90009953824
882B5392572B29   ADRIANA         ZAMORA                  CO           90012443925
882B5958A72432   CHIP            DOLFI                   PA           51012339580
882B658665B24B   ERICA           RALSTON                 KY           68048555866
88313881697B3B   CHRIS           KAPITY                  CO           39095518816
883151A2A72B29   TANIA           BURCIAGA                CO           90013461020
88317652A8B154   CARLOS          MANCILLA                UT           90003706520
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8831827A277537   FELIPE         ALVA                     NV           90012122702
8831869A491979   LATIFFANY      GRAHAM                   NC           90014256904
8831B42715B27B   JON            RUTLEDGE                 KY           90005984271
8831BA34472B62   BATES          TERREION                 CO           90007690344
8832291554B575   JESIKA         CASTRO                   OK           90012439155
88323A8765B24B   MARILIN        SALAZAR-MARTINEZ         KY           90010590876
8832461A584371   MATTHEW        MAYNARD                  SC           90005496105
8832495424B22B   DUSTIN         SAXER                    NE           90011069542
88325896672B62   ERIKA          MARTINEZ                 CO           90015078966
8832B167191837   ANTONIO        OLIVERAS                 OK           21029561671
8833185A75B24B   AMANDA         OLLER                    KY           68041078507
88334113A33698   TRAMAINE       SLOAN                    NC           90014761130
8833624963344B   LAVANDRA       THOMPKINS                GA           90012832496
8833B471991837   ALBERTO        CORTEZ                   OK           90009034719
88343377A33698   JOSH           SCOTT                    NC           90015003770
8834348964B933   APRIL          GOOLSBY                  TX           90001434896
883442A2293771   JOSEPH         MCCULLOUGH               OH           90014842022
8834459348B168   FATIMA         BARRIOS                  UT           90009625934
88346351272B44   PATRICK        DICKMAN                  CO           90015163512
8834661385B27B   EBONY          GEE                      KY           90014626138
8834842A872B44   ADAM           ARELLANO                 CO           90012954208
88348A62297138   ROSA           ROMERO                   OR           90008900622
8834B89582B896   OSCAR          MORALES                  ID           90014708958
8835124A351341   FATOUMATA      SACKO                    OH           90013922403
8835236294B22B   OSCAR          PEREZ                    NE           90013003629
8835723A171977   BRANDY         GARBERDING               CO           38097752301
8835B469277537   JUAN           LOPEZ-FILORIO            NV           90012274692
88372793572B46   ALFONSO        MEDINA                   CO           33062107935
883741A639154B   DANIEL         FLORES                   TX           90011301063
883748A2997B3B   JUAN           GARCIA                   CO           39015288029
883779A199154B   JANETTE        FIFER                    TX           90013569019
88377A1A755945   JUANITA        FONSECA                  CA           90013350107
8838394A93B389   FRANCES        GALLEGOS                 CO           90012869409
8838677AA9154B   KARLA          ALEXANDRE                TX           90013097700
8838678534B22B   SAMUEL         FREDERICKSON             NE           90013907853
883868A5733698   ELIZABETH      MOODY                    NC           90007658057
88389894A2B896   JAMES          MARTINEZ                 ID           90014718940
8838B22325B27B   JOSE           CASTRO                   KY           90012152232
8838B8A6772B29   ENAS           AL KHALILI               CO           90008908067
88392229372B44   SANDRA         ALVAREZ                  CO           90013742293
8839287878B154   PORFIDIA       TORRES                   UT           90011548787
8839531A572B46   YURI           PERALTA                  CO           90013243105
8839537745B27B   AARON          BRYANT                   KY           90014093774
88396A7459154B   JAMEL          JIMENEZ                  TX           90007180745
8839814492B271   MARCUS         WINTON                   DC           90003361449
883B1A19472B29   MONALISA       VALENZUELA               CO           90014110194
883B2634272B44   BERZOA         BRANDI                   CO           90008866342
883B4174172B33   MIGUEL         CORTEGA                  CO           90002881741
883B4536972B29   CHRISTINE      DENNIS                   CO           90014225369
883B4966155945   RICARDO        RIOS                     CA           90014169661
883B5686341275   ROBERT         WELCH                    PA           90012886863
883B5862497B3B   TERESA         VILLA                    CO           90012508624
883B618879152B   ZAIRA          RIVERA                   TX           90011751887
883B61A4241262   DAVE           SHAPELL                  PA           90013901042
883B64A2472B46   REBECCA        LA GUARDIA               CO           90009104024
883B7255272B46   CLINT          BUNTYN                   CO           90010392552
883B7496A2B896   YARENY         BERTO                    ID           90011594960
883B8617A72B46   TIMOTHY        WERKMEISTER              CO           90003766170
883B9955791979   LUIS           LOYO ORTEGA              NC           17004269557
883B9A58755945   MELISSA        PEREZ                    CA           49067890587
883B9AA918B168   BUDD           TRUDI                    UT           31017090091
883BB468A91837   SYLVIA         DURHAM                   OK           90012324680
883BB8A916B251   ANTONIO        SEGURA                   CO           37017068091
884134A6572B33   DOUGLAS        DERAS                    CO           90013554065
88414A4238B168   CODY           STAUFFER                 UT           90012400423
8841521A63344B   LASANDRA       MCKENIZIE                AL           90014732106
88415588A55945   JESSE          MARQUEZ                  CA           90006435880
88416825A72B44   CLISTY         MEDIOLA                  CO           90001258250
8841691832B896   JOSEPH         URRABAZO                 ID           90014719183
88418111A72B29   PERLA          MERINO                   CO           90010271110
884186A7555945   RASHAAN        RAPINSON                 CA           90014816075
8841961738B168   WOOD           THOMAS                   UT           90010016173
88419938897B3B   LIZBETH        VAZQUEZ SUBIAS           CO           90011509388
8842344AA5712B   BARBARA        HAMPTON                  VA           90006164400
88424488A72B29   ROBERTOS       GUILLEN                  CO           90011854880
88427129872B46   ALEIGH         MARTINEZ                 CO           90012751298
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884272A178B154   DULCE           MARTINEZ                UT           90010112017
8842B91832B896   JOSEPH          URRABAZO                ID           90014719183
8842BA15955945   AMIN            ALGAZALI                CA           90014170159
8843227365B27B   TROY            BREWER                  KY           90012702736
884351A7172B33   JULIAN          VIGIL                   CO           90014951071
88435224A72B33   TATIANA         GARFIO                  CO           90013482240
88436983697B3B   JAMES           LUJAN                   CO           90012299836
8843721185B24B   BREONNA         FORD                    KY           68090292118
88439493A5B183   MARSHA          BROWNING                AR           90010644930
8843BA3513344B   TRACY           GRAY                    GA           15087820351
88441A29833698   ZACH            MOORE                   NC           90014510298
884424AA571977   CHARLES         CHACON                  CO           90007854005
8844261AA4B22B   MARY            WILSON                  NE           90005026100
88443188172B33   CHRISTOPHER E   ROMERO                  CO           90013821881
88443514972B62   MATTHEW         CHAVEZ                  CO           90014175149
884444A3833698   SHERICA         ECHOLS                  NC           90013934038
88446A1A85B27B   BRITTNEY        MONROE                  KY           90009270108
88446A6625B17B   TERI            IVY                     AR           90013580662
88451775172B46   JUSTINE         MONTOYA                 CO           33002897751
8845216683344B   DIETRA          ARENAS                  AL           90014741668
88453922A5B24B   JOY             SMITH                   KY           90008009220
884546A225B24B   TEVIN           JEWELL                  KY           90002056022
88455589997B3B   RYAN            WORDEN                  CO           90001245899
8845899382B896   ELIZABETH       CERDA                   ID           90014719938
88459A24341262   ALICIA          EARLY                   PA           90011120243
88462699A91979   EDDIE           PRESLEY                 NC           90014686990
8846371433344B   WANDA           DONALDSON               AL           90011187143
88465726A9154B   CHARLES         WRIGHT                  TX           90013157260
8846742765136B   JAMIE           TUTT                    OH           90015204276
8846867A833698   CHRISTOPHER     RHOADES                 NC           90013986708
8846915379154B   SANTIAGO        PORTER                  TX           75084861537
88469978A97138   JOSE            CHIHUAHUA               OR           90009439780
88475216A9154B   GUSTAVO         BANDA                   NM           90011292160
8847664645B17B   BRIAN           JOHNSON                 AR           90002786464
8847B42138B877   TAMARA          FAATOAFE                HI           90014444213
88481216A9154B   GUSTAVO         BANDA                   NM           90011292160
88482744972B62   MAYRA           OLIVAS                  CO           90010777449
884843A8591523   ABLE            MONTELONGO              TX           90011043085
8848522A59154B   JULIO           ALVARADO                TX           90011292205
884873A1961936   STEPHANIE       BANEGAS                 CA           90007683019
8848996574B22B   MICHAELA        BRYANT                  NE           90011499657
88493581A4B569   CHRISTINA       DAVIS                   OK           90010635810
88496254A3365B   CASSANDRA       JOHNSON                 NC           90001692540
884966A958B168   TANNA           JUBEVERIDGE             UT           90013716095
88498184372B62   MAURICIO        RAMIREZ                 CO           90011971843
884B469654B22B   ANISA           LOVEJOY                 NE           90008966965
884B5112872B29   DARRIUS         RATCLIFF                CO           90012851128
884B5128141275   PETER           STRAUD                  PA           90013961281
884B7253391979   RENEE           SPINKS                  NC           90011172533
884B83A259154B   ERNESTO         PORTILLO                TX           75048123025
884BB452172B44   JACKLYNN        BENIT                   CO           90012954521
884BB817A2B896   THOMAS          CURL                    ID           42019718170
8851449412B896   LAURIE          SCOTT                   ID           90002834941
88514641672B29   ANDREW          MARTINEZ                CO           90008646416
88519276A93771   AMBER           FRAZIER                 OH           64506172760
8851B16A972B29   JOSE            GARCIA                  CO           90009511609
88521A75272B29   ANDRES          LEDESMA                 CO           90012740752
8852685628B168   SHAUNTEL        RIOS                    UT           90002208562
88528588172B33   GREGORY         TATE                    CO           90011325881
8852861842B896   AMY             BRENT                   ID           90013876184
88529494772B44   MARIA           CASTROVEGA              CO           90012954947
8852B373372B62   ELIZABETH       MARTINEZ                CO           90010403733
8853339548B154   CATLIN          ELMER                   UT           90010113954
8853361465B27B   BROWN           DERRICK                 KY           90014726146
885339A4493771   TINA            WILLIS                  OH           64559899044
8853764889154B   TERRY           LOPEZ                   TX           90013086488
8853945A797138   SARRA           PADUA                   OR           90010484507
8854127739154B   WILLIAM         GUTIERREZ               TX           90011292773
8854292398B154   ROD A           BLAIR                   UT           90010859239
88543489272B29   VICTOR          ATIENZO                 CO           90013494892
88543894572B33   EUGENE          DEAN III                CO           90013608945
885447A214B22B   LEAH            HALL                    NE           90013747021
88546894672B98   MARIELA         SILVEYRA                CO           90000448946
885474A373344B   ANDREA          FORREST                 GA           90003224037
8854785933344B   ANDREA          FORREST                 GA           90012718593
8854825A555945   PRISCILLA       MONTEZ                  CA           90011322505
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8854B144555945   LETTY MARIE    LOPEZ                    CA           90013001445
8854B61A49154B   JCAK H         MCCOY JR                 TX           90001486104
8854B679397138   NICHOLE        GREINER                  OR           90006426793
88558488A55945   LUZ            MOLINA                   CA           90011884880
8855859A172B29   ROSALES        ANGELICA                 CO           33017525901
8855897132B896   KYLE           KOEPNICK                 ID           90014729713
885619A4141262   CARL           MUDD                     PA           90012709041
8856497132B896   KYLE           KOEPNICK                 ID           90014729713
88568A3112B896   MONICA         MASCORRO                 ID           90001620311
8857433619154B   VIVIANA        LARA                     TX           90011313361
8857576753344B   WHO            ME                       GA           90013867675
88576386172B44   MICHAEL        GARES                    CO           90014773861
88577A4695B183   PRISCILLA      HARPER                   AR           90014110469
88578333A91837   ALECIA         CRONEY                   OK           90012573330
88578463797B3B   LAURA          RODRIGUEZ                CO           90008154637
88578986A72B62   ESTELA         GARCIA                   CO           33065519860
885792A593344B   SHANAY         WILLIAMSON               AL           90011482059
88579774897B3B   EMILIO         GOMEZ                    CO           90011497748
8857B385491979   LATOYA         HOLLEY                   NC           90014703854
8857B775872B62   KYRON          COVINGTON                CO           90010777758
88593243972B33   MARIA          AVILA                    CO           33029152439
885B1835472B29   DANIEL         ZARAGOZA                 CO           90012038354
885B244793344B   TAMARA         PRESTON                  GA           15085724479
885B39A3251341   DAVE           STEVENS                  OH           66029829032
885B9573397B38   GABRIELA       TORRES                   CO           39002905733
885BB64889154B   TERRY          LOPEZ                    TX           90013086488
8861399A197B3B   TRAVIS         FOX                      CO           90012959901
88614592672B33   DANIEL         SANCHEZ                  CO           90011325926
88618219172B46   ALBERT         LOPEZ                    CO           90013592191
88618A53472B62   CHAVEZ         ALBERTO                  CO           90010840534
886191A7855956   ERICA          PEREZ                    CA           90013671078
8861984882B831   MARIAH         RODRIGUEZ                ID           90012388488
8861B4A514B22B   ABELARDO       GONZALEZ                 NE           90009434051
8861B58A541275   RICHELL        BATYKEFER                PA           90000535805
8861B95633344B   DOMINESHA      MARSHALL                 GA           90014419563
88626744A4B22B   ASHLEE         FAY                      IA           90012267440
8863124939154B   YOLANDA        HERNANDEZ                TX           90013602493
8863232945593B   SERENA         GARRETT                  CA           90012263294
88638249A3344B   LAVONDRA       THOMPKINS                GA           15082792490
8863857694B22B   KEITH          WARD                     NE           27026855769
8863932945593B   SERENA         GARRETT                  CA           90012263294
886398A885B27B   DAVID          BOBBY                    KY           90013938088
8863B52A472B44   ANTONIA        QUINTANA                 CO           90012955204
8863B81915B24B   ALEX           GONZALES                 KY           90011988191
8864354923344B   GLENDA         SCOTT                    AL           90011285492
8864781948B154   ROBERTO        DURAN                    UT           90010378194
8864B457884371   ROBERTA        BROWN                    SC           19007014578
8865198459154B   YESSICA        GUEVARA                  TX           90014729845
8865271969154B   SAMUEL         GUERRERA                 TX           90013907196
88655A69172B62   ANNETTE        CANNON                   CO           33087630691
88656A55141262   AARON          COOPER                   PA           90008660551
88657A54691979   KRISTINE       MASON                    NC           90010910546
8866273A572B62   SHAUN          PRATS                    CO           90004047305
886682A482B271   ALAINA         ALTAIR                   DC           90007102048
8866B872255945   ERICK          PINA                     CA           90015118722
88672A59A97138   CARLO          LIVINGSTON               OR           90010090590
8867651AA71977   CARLOS         MORA                     CO           38089095100
886866AA52B896   SADIE          PARAGANLIJA              ID           90011616005
886874A1291837   PATRICK        BOYSEL                   OK           90014494012
88692A37355945   ULISES         RUBIO                    CA           90012810373
8869361A82B896   KC             SCHEIFER                 ID           90014746108
88694A24371977   MICHAEL        SPINUZZI                 CO           90012710243
88694AA3572B62   MATTHEW        JIMENEZ                  CO           90013150035
8869778A74B22B   ERIK           MYERS                    NE           90013817807
88698A4A755945   MARTHA         RODRIGUEZ                CA           90012810407
88699A47A97B3B   ARMIDA         HERNANDEZ-MORALES        CO           90001040470
886B257A891979   CHRIS          JONES                    NC           90014705708
886B5213197B3B   LESLIE         MEILS                    CO           90012712131
886B641279154B   JAZMIN         OLONO                    NM           90011294127
886B788245B24B   ANGEL          LATHAN                   KY           68033948824
88711476452B8B   LUTHER         PARRISH                  AZ           90014154764
88711A23A54B23   PATRICK        HODGES                   VA           90014050230
88711A4452B271   CHARLOTTE      ST CLAIR -WILEY          DC           90000320445
88716726872B46   EMILIANO       ORDAZ MONREAL            CO           90010027268
88718998872B44   VESTER         JAMES                    CO           90014339988
8871915355B27B   KIONA          KILGORE                  KY           90013141535
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8871B899177537   VIOLETTA       RABORN                   NV           43071478991
88721549972B62   VIRJOLEAN      CORDOVA                  CO           90012555499
887225A759154B   ALMA           MORALES                  TX           90013355075
8872287123344B   RICHARD        MORNS                    GA           15007618712
8872398A572B44   JIMMY          DAVIS                    CO           90008579805
88724534872B62   LUIS           FERNANDEZ                CO           90013965348
88726A29255945   JESSIE         JONES                    CA           90011280292
8872777269154B   YUSELF         WALKER                   TX           90014837726
8872B1AA372B29   JASMINE        PICKETT                  CO           33012981003
8873124294B22B   CHRISTOPHER    MOREHOUSE                IA           90003462429
887321AA372B29   JASMINE        PICKETT                  CO           33012981003
88735778A91999   GABRIELLE      MCKOY                    NC           90002487780
887371A774B22B   ROBERT         JONES                    NE           90010421077
8873767212B896   JUAN ANTONIO   GARZA                    ID           90011616721
887381A1772B62   ART            ROCHA                    CO           33068651017
88738424A91979   CHRISTAL       JEFFRIES                 NC           90014714240
88739672897B3B   JOSE           DE LA CRUZ               CO           90010496728
8873B33235B17B   MICHELLE       BARKER                   AR           90004953323
8873B992241262   CELINE         GIACCI                   PA           90000169922
887453A1177537   NATHAN         THOMPSON                 NV           90013933011
88747121A8B154   ENSALY         KAREN                    UT           90010391210
88748A3487B372   MANUEL         ALVEREZ                  VA           90012520348
88749634772B46   RAQUEL         GALLARDO                 CO           90009746347
8874B9A285B27B   JESSICA        DRURY                    KY           90014629028
88753997797B3B   ERICA          J BAIRD                  CO           90010839977
8875834A19154B   ROBERTO        BENITEZ                  TX           90011313401
8875BA81491979   ANDREA         WILLIAMS                 NC           90011000814
88764112A41232   JAMES          BANKS                    PA           90012461120
88766565372B29   LYNNETTA       ADAMS                    CO           90014315653
88766A77481627   PABLO          ORTEGA                   MO           29088600774
88768A71171977   DEANNA         BAILES                   CO           90010290711
8876B28624785B   ANNETTE        CARD                     GA           90014002862
8876B54553344B   TISHERA L      WILSON                   AL           90011805455
8877251A524B93   SAFFIE         LAHAI                    VA           90006145105
88776743697B3B   ANDREW         IKENOUYE                 CO           90014247436
8877699A571977   SUSAN          ELEY                     CO           90008479905
887787AA78B154   JUAN           RAMIREZ                  UT           90007317007
8877B21935B27B   FELANDER       STEWART                  KY           90013142193
8877B49755B27B   RANIYA         WALKER                   KY           90014834975
8877B87AA91837   DALIA          ESPINOZA                 OK           90010758700
8878176829154B   ARLEY          CHAVEZ                   TX           90013077682
8878275289154B   LOURDES        DELGADO                  TX           90011297528
8878276268B168   DOUG           CHRISTISON               UT           90012857626
8878355A672B44   VANESSA        MONTOYA                  CO           90012955506
8878965774B22B   PAMELA         ALLEN                    IA           90014376577
8878969A633698   MONIQUE        JARRIS                   NC           90004096906
8878976969154B   RAMON          ALVAREZ                  TX           90011297696
8879131587B392   RENE           VARGAS                   VA           81017263158
88791352A61928   DAVID          JIMENES                  CA           46071333520
887914A1591943   SARAH          HSU                      NC           90008304015
88791A92172B33   DIANA          DRAHER                   CO           90013810921
8879241188B829   MAKAMAE        YAP                      HI           90014114118
88792841472B33   YESSICA        BRIONES                  CO           90010388414
88794A9955B139   DONNA          GILLIAM                  AR           23069650995
88795954697B3B   CORY           KOONTZ                   CO           39039359546
88796871372B99   SILDIA         RASON                    CO           90009908713
887B2614491837   STEPHANIE      WEBSTER                  OK           90010706144
887B7331651341   MARTEZ         MORRIS                   OH           90015033316
887B8418A4B22B   MATTHEW        TRIPP                    NE           90015044180
887B857A255945   AARON          BUCHHEIM                 CA           90014185702
887B8747197B3B   DANIELLE       IRWIN                    CO           90013607471
887B939682B896   RYAN           BRUCE                    ID           90014733968
8881133943B323   HECTOR         GUARDADO                 CO           33069953394
8881181919154B   ANA            MORIN                    TX           90011298191
88815A5224B22B   LUCY           URIEL                    NE           90002910522
8881B885297138   CHRISTOPHE     TAYLOR                   OR           44017358852
8882279112B896   ARIANA         WERTZ                    ID           90014737911
8882B64A277537   MARIA EDITH    AGUILERA                 NV           90011466402
8883129344B569   BRIANNA        ESTRADA                  OK           90008512934
8883462A672B33   NATALIE        MARTINO                  CO           90012386206
88834676872B49   CIARA          PADILLA                  CO           90010576768
888355A5972B62   SOUTHWEST      STONE LLC                CO           90014825059
88835A33255945   MARIA          MATIAS                   CA           90010460332
88839146A41275   TYLER          HALL                     PA           90013881460
8883B644193771   KAREN          NEWSON                   OH           90014726441
888417A165B27B   JABEC          MALONE                   KY           90014087016
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8884592328B168   DERIK           LONGAKER                 UT           90012929232
8884882A641232   VIVERO          HARNENDEZ                PA           90015308206
8885198358B154   KURT            TOLEDO                   UT           31072849835
8885222A797138   ROGELIO         SAINZ LINARES            OR           44096332207
88852698572B46   JESSE           REYES                    CO           90013096985
888532A1433698   ERIC            CHANDLER                 NC           90012732014
8885388882B896   AMANDA          CRAIG                    ID           42028828888
88854454972B29   ANDREI          JELTAI                   CO           33019694549
88857729A7B34B   RODRIGO         RIVAS                    VA           90002297290
8885B99249154B   CHRISTINA       LUJAN                    TX           90004989924
8886376A15B27B   KENNETHIA       HUGHES                   KY           90013287601
88865226572B33   WILLIAM M       BEAN                     CO           33065152265
88865718A61928   MARY            VALENZUELA               CA           90013937180
8886634375B27B   CHRIS           SMITH                    KY           68025193437
8886734795B27B   MARY            COOP                     KY           90009543479
8886767613163B   KENNETH         BRISON                   KS           90011986761
8886821895B183   DAVID           ROBERTS                  AR           23009842189
8886B821691979   SHERMAN         MURRAY                   NC           90014718216
8887252668B154   JUAN            MORENO                   UT           90010395266
8887397769154B   ROCIO           VENZOR                   TX           90012339776
88873A58351341   BENEDICTO       MARROQUIN                OH           90013930583
88874926272B62   JEREMY          MOORE                    CO           90012429262
8887B659655945   JUANA           MARIN                    CA           90014186596
8888231658B168   LAURA           HARPER                   UT           90012303165
88883744A4B22B   ASHLEE          FAY                      IA           90012267440
888849A4133698   LIZ             GUZMAN                   NC           90011239041
88889A74847822   SABREA          GIBSON                   GA           14008370748
8888B329341275   JAYNELL         WRIGHT                   PA           90013073293
8888B881193771   MIKE            BROWN                    OH           90011788811
88893A26672B46   DOLORES         VALENZUELA               CO           90002630266
88897166A97138   TITO            CARRILLO                 OR           90015091660
888B163222B896   MARIAH          CORREA                   ID           90014736322
888B279585B27B   LAVON           TROUTMAN                 KY           90015087958
888B396A772B46   MARISSA         PADILLA                  CO           90012199607
888B4181533698   NORMA           WILSON                   NC           90014951815
888B4533472B33   MYLES           BOCCARDI                 CO           33091455334
888B5553872B46   ADRIAN          CASTILLO                 CO           33081715538
888B6294133698   ANTONIA         GARCIA                   NC           90010512941
888B69A799154B   DEBBIE          ROJAS                    TX           90014859079
889137AA771977   EDGAR           LANGARICA                CO           90012657007
889184A5277537   KADYSHA         MILLIGAN                 NV           90013744052
8891BA25861928   STEPHAINE       RAMIREZ                  CA           90004790258
8892699699154B   EDGAR           CORTEZ                   TX           90011299969
8892745435B17B   ERICA           SATTERFIELD              AR           23060004543
88932A7275136B   DORIS           ARMSTRONG                OH           90008710727
8893354A841275   ROBERT          PURVIS                   PA           90012995408
88935896997B3B   OREL            LUJUAN                   CO           90011068969
8893712338B168   FEDERICO        GARCIA                   UT           90013141233
8893B343955945   LINDSEY         HAYES                    CA           90009083439
8893B87342B896   TRAVIS          BORDERS                  ID           90010778734
8894235712B896   KRISTIE         BEHRMAN                  ID           90013023571
8894298A772B44   VICTOR          VASQUEZ                  CO           90013409807
88945A72A33698   SYRETTA         TATE                     NC           12092420720
8894922A672B62   RYAN            BURKLOW                  CO           90013642206
88949266A5B13B   JESSICA         JOHNSON                  AR           90012192660
88951A27651341   TRYSH           JOHNSON-GADKER           KY           90007160276
88952696872B83   JESUS           PEREZ                    CO           90014016968
88953A95672B46   ANTHONY         DE LA TORRES             CO           90014490956
8895595125B24B   JANUKA          UPRETI                   KY           90010619512
88967345797B3B   RICHARD         BACA                     CO           39005263457
88967A2119154B   DAVID           AREDONDO                 TX           90011300211
8896B25695B27B   DESHAWNDRE      DAVIS                    KY           90014712569
88971839A93771   JOSE            RESENDIZ                 OH           90015118390
88971A95472B44   ELEZAR          REYES                    CO           90010060954
8897255998B154   SHUMAN          TIFFANY                  UT           90009745599
88975369697B3B   KENT LEE        MERCANDANTE              CO           90013523696
8897855998B154   SHUMAN          TIFFANY                  UT           90009745599
8897926992B981   MATT            GREEN                    CA           45002382699
88984994A72B44   MAI             THAO                     CO           90010139940
8898923A872B29   GREGGERY        PAYNE                    CO           90012142308
88989245597B3B   TRAVIS          SMITH                    CO           90012572455
8898B365172B29   ROSA            PINEDA                   CO           33051053651
8899456835B183   JO              HOUSTON                  AR           90005865683
8899524294B22B   CHRISTOPHER     MOREHOUSE                IA           90003462429
8899549554B55B   OMAR            BOLDING                  OK           90011174955
88998A44171977   ANTONETTE       HURD                     CO           90007160441
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88999752672B33   CHERYL            BUSTAMANTE            CO           33050287526
8899B573571977   POPS              VIGIL                 CO           90004645735
889B1239A8B168   AMBER             HOSKINS               UT           90008502390
889B187719154B   MARIA             MACIAS                TX           90005878771
889B26A6997B3B   GREGORY           DAVISSON              CO           90013556069
889B4429277537   DIPALI            AMIN                  NV           90014874292
889B4555891979   SHANELL           BUNCH                 NC           90014755558
889B467A855945   JUANA             MARIN                 CA           90014186708
889B5574477537   ADONAY            MEDINA                NV           43022745744
889B6578641262   TOYA              SOLOMON               PA           51059905786
889B7663577537   JORDAN            KOCHAMP               NV           90010956635
889BB875272B44   JERI              LUDWIG                CO           90012958752
88B117A2A51341   JAMES             HADDEN                OH           90012507020
88B12A6A59154B   ERIKA             RAMIREZ               TX           90011060605
88B13311755945   RODSHETA          MOORE                 CA           90012543117
88B16733A6194B   LIZBETH           SOLANO                CA           46031377330
88B18AA9772B46   CLAUDIA           QUIROZ                CO           90014060097
88B19143691979   RODOLFO           CASTILLO              NC           17016121436
88B19189991979   MIGUEL            TUCKER                NC           90014921899
88B1B3A6347822   SHAREE            LINDER                GA           14061593063
88B1BA88272B33   JAMES             HAGAN                 CO           90013150882
88B21179472B33   MICHELLE          HOUTCHENS             CO           90007621794
88B21679155945   GUS               RUIZ                  CA           90014166791
88B2268A755945   ALYSSA            AROSEMENA             CA           90014166807
88B22866791979   ATILIO            ORDONEZ               NC           17098638667
88B23466A61928   ALBERT            VALENCIA              CA           90007414660
88B2368614B22B   MICOLE            BONNICHSEN            NE           90008716861
88B23943872B49   JOE               HENRITZE              CO           90010469438
88B23A27972B33   CHRIS             PORTLOCK              CO           90010970279
88B2446739154B   VICTORIA          GOMEZ                 TX           90014474673
88B27685497B3B   LESLIE            VALENTINE             CO           90013136854
88B2BA85533698   BRONDON           SNOW                  NC           90005820855
88B3243A172B62   GENETTE           TURNER                CO           33006664301
88B36613497138   CHRISTOPHER       DUNN                  OR           90014776134
88B39198551362   BONITA            BIRCH                 OH           90011831985
88B42249472B44   ADRIANA           GARAY                 CO           90012942494
88B43299797B3B   RICARDO           RUIZ                  CO           90013932997
88B46141251366   MATTHEW           SCOTT                 OH           90011571412
88B4B613497138   CHRISTOPHER       DUNN                  OR           90014776134
88B4B7A1572B46   DANNY             SIMPSON               CO           90008547015
88B514A8461928   PATRICIA          MUONGKHOT             CA           90013054084
88B5184342B896   CASEY             CASEY                 ID           90011588434
88B5546245B27B   MYRIAM            MARTINEZ              KY           90010564624
88B56646297138   CONCEPCION        LOPEZ                 OR           90010396462
88B5734A361928   PAULINE           MARTINEZ              CA           46053343403
88B5745539154B   JESSIE            INFANTE               TX           90014504553
88B5762542B896   KAMEE             HOPKINS               ID           90014666254
88B5782469154B   DIANA             MOTA                  TX           90011358246
88B5B598497B38   EVA               GOMEZ                 CO           39035935984
88B64162941275   LENORA            CORNICK               PA           90013961629
88B64477A5B27B   DESTINY           SWARTZ                KY           90008924770
88B64578972B46   CHRIS             RIGHT                 CO           90011645789
88B64652933698   CARRIE            JAMES                 NC           90011746529
88B6496298B154   JESUS             PEREZ                 UT           90010029629
88B67737993771   JOEL              ARIAS                 OH           90014077379
88B6954933344B   COURTNEY          TARVER                AL           90006725493
88B695A548B168   GREGORY           HAMRICK               UT           90013715054
88B69859897B3B   ANNA              PEASLEE               CO           90010648598
88B6B471333698   DANNY             HILL                  NC           90011544713
88B71639261928   ELIZABETH         DUFFY                 CA           90011466392
88B71817693771   ROSIE             GILBERT               OH           90013378176
88B755A569154B   MARILYN ANNABEL   MORENO                TX           90011285056
88B774A8872B33   NICOLE            RODRIGUEZ             CO           90013974088
88B79932772B33   ANNASTACIA        HARDEE                CO           90011879327
88B7B646A72B62   KRISTIE           TRAVIS                CO           90011206460
88B84A8A14B22B   SALLY             PENIX                 NE           90014720801
88B86464541262   JAMES             WOMACK                PA           90012954645
88B8835A597138   VICTOR            VALDOVINOS            OR           90014793505
88B888A1355945   ROSEMARY          FIMBRES               CA           90014168013
88B89269272B29   SPENCER           GORDON                CO           90012172692
88B8B677572B29   JOAN              SENOGA                CO           33092326775
88B91833161928   CESAR             SIMON                 CA           46096048331
88B9274239154B   MOLINA            LORENZO               TX           90012447423
88B9514474B22B   V                 LEWS                  NE           90011051447
88B975A5172B62   MORENA            CRUZ MOLINA           CO           33040895051
88B9785A433698   SERGIO            RIVERA                NC           90011218504
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88B97954133698   JOE            MANAKI                   NC           90010489541
88BB359822B896   JAMES          FELTMAN                  ID           90012305982
88BB4369661928   JOSE           LUNA                     CA           90013813696
88BB4915491242   MARGARET       ELMORE                   GA           90009559154
88BB8268133698   BRITTANY       MCCORKLE                 NC           90012722681
88BB858A333698   THEODORE       HOLLY                    NC           90014135803
88BB972149154B   MICHAEL        MERAZ                    TX           90007067214
8911178AA7B489   CHELSEY        BEASON                   NC           90012427800
8911195148B168   LIONEL         MEIKLE                   UT           90010859514
89112A43776B45   CHRISTOPHER    MACPHERSON               CA           90014310437
8911358589154B   ARGELLA        VARGAS                   TX           90012615858
89113849372B29   ERICK          NAVARO                   CO           90010318493
8911958997B489   MARIBEL        LOPEZ                    NC           90008565899
8911B483972B44   SONYA          BUENO                    CO           90014794839
89123448572B28   PHILLIP        BLANKENSHIP              CO           90002694485
89126449797B98   LUCIO          PEREZ GARCIA             CO           90008254497
8912723A297B3B   TANYA          PEARSON                  CO           90013272302
89128281A72B62   AMY            NELSON HICKS             CO           90010852810
89129233372B29   RENEE          VASQUEZ                  CO           90011912333
8912952486194B   BOB            MARLEY                   CA           90010865248
8912BA35897138   ROSA           STINNETT                 OR           90007930358
89132563297B3B   KIMBERLY       KEELEY                   CO           90014715632
8913364A17B489   KEYON          FLOYD                    NC           90014676401
8913849466194B   ROSALINDA      GARCIA                   CA           46009434946
891417A6A72B44   FRANCISCO      LANDEROS                 CO           90010217060
8914212735B326   GRISELDA       FUENTES RAMOS            OR           90010691273
89144314997B3B   ANT            BANKS                    CO           90013043149
891443A825B27B   MICHAEL        BRODERICK                KY           90000423082
89146159172B33   JENNIFER       LOCKWOOD                 CO           33044051591
891461A1897B3B   CARLOS         WORRELL                  CO           90011051018
89148998672B33   ANDREA         WHITAKER                 CO           90009789986
89149355372B33   RANDALL        ANKENEY                  CO           90013133553
891521A9455945   DOROTHY        HER                      CA           90000611094
89153768272B62   DONALD         TAYLOR                   CO           90013507682
891576A8172B28   MARY           CACANON                  CO           90010596081
891579A565B139   JAMES          WYATT                    AR           23074929056
89159413972B29   JONATAN        PLAZOLA                  CO           90012934139
8915B224755945   ELIZABETH      CARR                     CA           49092382247
8915B478397B3B   CLAUDIA        TORRES                   CO           90006244783
8916136A972B46   DIANA          CHAPA                    CO           90000993609
8916338115B27B   MALLORY        WINSTON                  KY           90010993811
891645A425B24B   DON            PAYTE                    KY           90012435042
8917273736194B   RAUL           ORDAZ                    CA           90005837373
89173613272B62   TALESA         LOVATO                   CO           90010896132
8917593135B326   MICHELLE       PETTY                    OR           90006299313
89176A6882B271   DARLENE        MUNGO                    DC           90013940688
8917757555B27B   JEFFREY        BALLARD                  KY           90001915755
89177834972B62   TARAH          GUNDERLOCK               CO           90011108349
89182758672B29   SHANE          ALLEN                    CO           90007657586
8918466835B326   LATISHA        CAESAR                   OR           90010566683
89185A1A747897   LATONYA        WYNES                    GA           14016920107
891883A415B24B   DAVID          POER                     KY           90013233041
8918B43A75B24B   SANGAM         TAMANG                   KY           90014824307
89191931A91979   KATRINA        AUTRY                    NC           90009459310
891932AA16194B   EDWARD         WASHINGTON               CA           90011602001
89196559172B29   FELIPE         MONTERO                  CO           33073165591
8919944A172B44   JUAN CARLOS    GARCIA                   CO           90011244401
8919946287B489   YVONNE         QUITERIO                 NC           90014864628
891B315578B163   ROQUE          ARZABA                   UT           31016401557
891B591484B22B   DESTINEE       FRAMPTON-WYNNE           NE           90003449148
891B6736597138   GETULIO        RANGEL                   OR           90014167365
891B8314891933   CHISTOPHER     DELGADILLO               NC           90012613148
891B989A78B163   ALMA           GARCIA                   UT           90008568907
891BB914291933   MARY           LOPEZ                    NC           90014139142
89211547A41275   JOHN           EKIERT                   PA           90012925470
89212448272B44   DEMARCUS       SMITH                    CO           90011244482
8921385549154B   DAVID          BETANCOURT               TX           90011698554
8921811895B326   DANNY          SMITH                    OR           90000961189
8921B746591837   LATASHA        TURNER                   OK           90014947465
89221824A2B271   SHAKIA         STOKES                   DC           90013058240
8922277A49154B   JESUS          GOMEZ                    TX           90011627704
89223115197B3B   ROBIN          OLSON                    CO           90006521151
89229153972B62   ERMA           BANUELOS                 CO           33059391539
8922B253697B3B   BEVERLY        WALKER                   CO           90013922536
8923212597B489   WILLIAM        LEWIS                    NC           90013141259
89233944A72B29   ALICIA         SOLIS                    CO           90008359440
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8923487174B22B   KEVIN          GROVER                   NE           90014738717
8923851738B154   NATALIE        CORDOVA                  UT           31080325173
89238653A61928   SALVADOR       FLORES                   CA           46006746530
89239A2772B271   JEFF           ANDERSON                 DC           90013940277
89241AA3233698   HEATHER        LITTLE                   NC           90000770032
8924B338341222   CANDI          DIXON                    PA           90004693383
89252614A61927   DANIEL         JOHNSON                  CA           90007426140
89253A48791979   RICHARD        SLEETER                  NC           90004400487
89256A6992B271   MATTHEW        HAMMONDS                 DC           90013940699
8925B316355945   NATASHA        FARINELLA                CA           90006013163
8925B72685B326   ABEL           ALATORRE                 OR           90012707268
8925B747193771   JASMINE        SLAUGHTER                OH           90014727471
89265A3A15B139   DAMON          POWELL                   AR           90003010301
8926982418B168   JESSE          HOUCHINS                 UT           90014808241
8926B313971977   LINDSEY        SHARELL                  CO           90012793139
8926B3A7872B44   JO             GEE                      CO           90009623078
89273A8459154B   NORMA          ESCAJEDA                 TX           75022930845
8927416467B333   SANTOS         ORELLANO                 VA           90003261646
89274544172B46   RICARDO        DOMINGUEZ                CO           90014255441
892823A966194B   DANIEL         NUNEZ NAVA               CA           90010843096
8928334265B24B   CHRIS          JENKINS                  KY           90012253426
892853A4197138   THOMAS         CRAIG                    OR           44080963041
8928565A533698   JEAN           HARRELL                  NC           90009396505
89286923A97B48   VICKI          GRIEGORIAN               CO           90007609230
8928732978B154   JIM            CRANK                    UT           90003093297
8928782595B326   FADERICO       ROSIS                    OR           90006228259
8928BA77697138   ED             CAMPY                    OR           90014850776
89292166A2B924   CORTNEY        WESSLING                 CA           90013081660
89293A7698B168   TRICIA         RASCON                   UT           90013090769
8929584388B168   SILVIA         HERRERA                  UT           90014518438
892962A3671977   SEAN           MCCAIN                   CO           90013792036
8929684388B168   SILVIA         HERRERA                  UT           90014518438
8929699267B489   TRACY          RUSELL                   NC           90013799926
89297317697B3B   ROY            MILLER                   CO           90012423176
8929977155B261   TIMOTHY        WILLIAMSON               KY           90008097715
8929B562897B3B   MERCURY        SMITH                    CO           90009195628
892B2441341262   CADIADRA       KENDRICK                 PA           51043844413
892B2A2695B326   DARREN         LOCKETT                  OR           90013940269
892B7527491979   MARK           COOK                     NC           90012925274
892B857722B271   KIANA          MCWEAY                   DC           90012655772
892B9542791837   ANGELA         HAVENAR                  OK           21090545427
8931475675B24B   MIKE           WISON                    KY           90011437567
89315233672B93   MARIO          GARCIA                   CO           90001712336
89317A33197138   MARIO          MENDEZ                   OR           90013570331
89318286A2B271   ERIC           HOUNYO                   DC           90007582860
893199A642B249   SYLVIA         JARRETT                  DC           90010629064
8932177564B22B   ROBERT         SCHLOENDORN              NE           90007557756
8932199447B489   LAURA          SMITH                    NC           11088059944
893318A628B168   REX            WHITE                    UT           90014818062
893351A828B168   PATRICIA       LOPEZ                    UT           90014861082
8933583817247B   CHRISTOPHER    ANDERSON                 PA           90006788381
89337A36377537   GILBERT        MEES                     NV           90011660363
8933B83869154B   JUAN           ORTEGA                   TX           75084058386
893412A3671977   SEAN           MCCAIN                   CO           90013792036
89344A41991979   OMAR           RABB                     NC           90014390419
8934BA29671977   THOMAS         VILLANUEVA               CO           90013820296
89362598772B44   MALCOM         YORK                     CO           90008085987
893652A1871977   ANDREA         DELGADO                  CO           90012002018
89365689572B49   LUIS           GONZALES                 CO           90011786895
89365997472B49   LUIS           GONZALES                 CO           90010519974
8936949275B27B   HERIBERTO      RODRIGUEZ                KY           90000254927
8936B53A96199B   IRMA           ULLOA                    CA           90011765309
8936B589472B44   GONZALO        HERNANDEZ                CO           90010475894
893726AA371977   JACQUELINE     ANGEL                    CO           90012416003
893728A1272B29   ELIZABETH      GIBSON                   CO           33003228012
8937355862B271   RHEA           FORMAN                   DC           90009405586
8937711423B38B   GABRIEL        MAGALLANES-GONZALES      CO           90010601142
8937763612B275   ELDA           GARCIA                   DC           81012156361
89377717872B64   CHELSEA        NELLOR                   CO           90012557178
8937775459154B   CHRISTIAN      PEREZ                    TX           90014607545
89377A1A572B29   AURELIO        CARMONA-SILVA            CO           90014950105
89378636A71977   CLARENCE       SAINT                    CO           90013986360
89378899A51362   JAMES          JONES II                 OH           66011298990
8937B193772B33   TINA           NOVOTNY                  CO           90013221937
8937B1AA897B3B   CONSTANTINO    MARTINEZ                 CO           90012161008
89381168272B46   DANIEL         GONZALEZ                 CO           90003061682
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89381528A72B44   SARINA          HURD                    CO           90014805280
8938253196194B   CESIA DAMARIS   CARRILLO                CA           90011055319
893835A3877537   SANDRA          WILSON                  NV           90007315038
8938379772B271   RICHEEDA        HALFACRE                DC           90012387977
8938382622B271   RICHEEDA        HALFACRE                DC           90014348262
8938557A972B33   JOHN            MOORE                   CO           90015195709
89385636A71977   CLARENCE        SAINT                   CO           90013986360
89385A89255945   MIGUEL          GARCIA                  CA           90012270892
8938844985B24B   KIMBERLY        GEORGE                  KY           90014594498
89388864197B3B   ROBIN           MARTINEZ                CO           90010748641
8939113358B163   MICHAEL         QUINTANA                UT           31060341335
89396432A84371   HALEY           POSTON                  SC           19095454320
89398619372B33   EDUARDO         YEPES                   CO           90013786193
89399551A5B24B   JUSTIN          WEDDING                 KY           90014155510
8939975932B271   RONALD          PEYTON                  DC           90000437593
893B13AA55B139   STEPHANIE       REDMON                  AR           23040943005
893B356185B183   LAURA           BARIOLA                 AR           90010465618
893B444119154B   ANAIS           SERVANTES               TX           90005314411
893B484388B168   SILVIA          HERRERA                 UT           90014518438
893B582A12B271   EUGENE          LEWIS                   DC           81090248201
893B8459855945   NAVARRA         MONTGOMERY              CA           90012274598
893B8576591979   ALBERTO         HERBERT                 NC           90013385765
8941229285B326   JEFFREY         RUDENSTEIN              OR           44585352928
894127A842B271   TAMIKA          WALL                    DC           90012867084
89413547A2B271   HERLINDA        DELGADO ARAGON          DC           90013155470
89413752A72B62   ROSA            RAMIREZ                 CO           90011557520
8941381496194B   SAMARA          RUIZ                    CA           90012888149
8941432769154B   ARIEL           RIVERA                  TX           90011633276
89414A8435B326   JOSE            VALDEZ                  OR           90008630843
894157A5891354   JUAN            SOLANO                  KS           90009667058
8941916498B168   SHEILENE        NAVARRETE               UT           90011571649
894198A7172B46   ADRIAN          TAKAHASHI               CO           90013948071
8942136149154B   LARRY           LOVETT                  TX           90011633614
8942395955B27B   JESSICA         MCCORMICK               KY           90005449595
89423A14772B33   ESTEFANY        REODRIGUEZ              CO           90010950147
89425A1A85B27B   BRITTNEY        MONROE                  KY           90009270108
8942694325B24B   RASHAWN         WOODS                   KY           90009889432
8942961129154B   RENE            SANCHEZ                 TX           75085106112
8942B595892838   JUAN            CERVANTES               AZ           90014325958
89432655872B44   LISA            MORTENSON               CO           90014796558
8943495428B168   JAYCEE          MONTOYA                 UT           90014819542
89435721172B33   MICHELLE        FROSTER                 CO           90014217211
8943597979154B   DOLORES         TOVAR                   TX           90014779797
89435A97297B3B   FLOYD           BROTHWELL               CO           90014810972
894386A672B271   ANDRES          UMANA                   DC           81090326067
8943895428B168   JAYCEE          MONTOYA                 UT           90014819542
89439886A97138   ANGEL           SCHNELLER               OR           44036188860
89441811972B46   DEREK           MARTINEZ                CO           90013948119
89442458272B33   DAVID           REED                    CO           90014554582
89442959672B46   BRADLEY         BACKES                  CO           90013279596
8944612818B154   CECILIA         QUIROZ                  UT           31072951281
8944616296197B   DAYSI           RODRIGUEZ               CA           90011901629
8944718692B271   RICK            ANDERSON                DC           90010571869
8945148A472B44   ROBERT          KROL                    CO           33018254804
89455887572B62   HALEY           MILES                   CO           33092658875
89456A5435B326   DANNY           ARCHILA                 OR           90005240543
894572A5571977   LALONNIE        SPILLMAN                CO           90012102055
8945736125B24B   DAMIEYAUNTA     BRADLEY                 KY           90011463612
8945855419152B   DIANA           MARTINEZ                TX           90000135541
89459744172B62   CRUZ            JUAREZ                  CO           33052927441
8945B984797138   RICHARD         GUARDIOLA               OR           90014549847
89463364572B62   JACQUELINE      CONTRERAS               CO           90010953645
8946451688B136   BOBBIE          STOCKWELL               UT           90012295168
8946511418B163   MAURINA         VALDEZ                  UT           31030781141
89465754A4B22B   PEARL           ARMELL                  NE           90010177540
89465926772B46   VIVIAN          CARDINES                CO           90013009267
8947195A793771   MELISSA         CUNNINGHAM              OH           90010999507
8947249895B24B   SCH NISHA       WADE                    KY           90011344989
8947384624B234   MARISELLA       MURILLO                 NE           27091208462
89474362A93771   JOSEPH          THORPE                  OH           90013813620
8947788315B24B   SONNIE          JUDKINS                 KY           68075948831
8947841885B326   ALLAN           WESTLING                OR           90014184188
894787A912B271   RONDNEKA        PRESTON                 DC           90012867091
8947B12975B24B   JUDY            THOMPSON                KY           90010911297
8947B539272B46   SALVADOR        SALAZARS                CO           90014895392
8947B64765B24B   LEIGH           ANN                     KY           90004326476
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8947BA6475B326   FRANK           ZEMBER                   OR           90007750647
89481A8278B168   CATHERINE       BROWN                    UT           90014820827
89485AA174B561   JONATHAN        SMALLWOOD                OK           90011520017
8948B44A772B46   LAKYSHA         DIXON                    CO           90014334407
8949161778B154   NARAYANI        DHAKAL                   UT           31000416177
8949541A17B489   JOHN            LOPEZ                    NC           90013974101
8949636837B489   TAN             DURHAM                   NC           90009463683
8949758599154B   MICHEL          GONZALEZ                 TX           90005315859
894B2211241275   JUSTIN          WOOD                     PA           90014582112
894B243A697138   JESSICA A       DARBY                    OR           90013144306
894B4195297B3B   JOSE            ARGUETA                  CO           90012601952
894B4832A97138   VIRIDIANA       GARCIA ARREOLA           OR           90012648320
894B6A95672B46   JANICE          MARTIN                   CO           90014790956
894BB639772B44   JUSTIN          JAMES                    CO           90014796397
89511522672B29   CHRIS           GORDER                   CO           90001845226
8951757158B163   STEPHEN         MACKELPRANG              UT           90006005715
8951862468B168   JODY            DIAL                     UT           31054596246
8951B23217B489   TYSON           FORTENBERRY              NC           90014152321
8951B74945B183   MALLORY         GOLLIGLEE                AR           90001027494
8952239962B271   EBONY           MAGRUDER                 DC           90014873996
89524447272B7B   CAMERON         BACA                     CO           90014444472
8952544A12B271   EUSEDIO         OHCAN                    DC           90013984401
89528A2115B326   LEO             GABONIA                  OR           90012470211
8952B23954B22B   JEANAE          YOUNG                    NE           90001522395
8953558925B326   TIM             YOUNG                    OR           90013255892
89536473A47897   ROBERT          REVELS                   GA           90010264730
8953797A555945   JEFFERY         ANDERSON                 CA           90013419705
89542145872B29   CAROLINA        GUZMAN                   CO           90010431458
8954496885B326   MUSONDA         MWANGO                   OR           90008179688
8954678967B489   OMAR            VITE                     NC           90013787896
8954B66375B326   ANDREW          MOFFAT                   OR           90014106637
8954B834272B46   FATIMA          ARGUELLES                CO           90013948342
8954BA62891979   JESUS           GARCIA                   NC           90009870628
8955242A99154B   MIRIAM          ALDERETE                 TX           90012794209
8955314A25B24B   VANETTA         ELMORE                   KY           90013751402
89557321A93771   DEBRA           KINS                     OH           90013783210
89558A96772B44   JAZMYN          MCMURRAY                 CO           90010460967
8956467A633698   KITTEN          ALSTON                   NC           90009196706
895659A945B24B   JENNIFER        MCFARLAND                KY           68014099094
89569AA9172B44   LARAE           APODACA                  CO           33080850091
8956BA7295B326   JESSICA         RIPPETOE                 OR           44501230729
8957167885B183   OPAL            HULBERT                  AR           90003246788
89572A99871977   RAYMOND         ARELLANO                 CO           90011460998
8957545262B271   LATOYA          DORN                     DC           90012664526
89575A36472B33   ZENOBIA         BEACHAM                  CO           90005230364
8957681869154B   MARIO           NEVAREZ                  TX           90012678186
89581344A47897   KENTRAVIUS      LARKINS                  GA           90011223440
895837A5772B62   WANBLI          VIGIL                    CO           90012837057
89585711172B33   CHATAYA         LOLLIS                   CO           90000817111
895957A9541262   AMBER           HONCHELL                 PA           90012367095
89596274697B3B   AMBER           OBANNON                  CO           90014562746
89596469497B3B   GUSTAVO         GONZALEZ                 CO           90008994694
895B149215B326   DAVID           WOODARD                  OR           44563744921
895B3151541275   HILDRED         BERKLEY                  PA           90013541515
895B5A2426194B   ANA             AGUAYO                   CA           90009390242
895B964925B326   RENEE           MACHAIN                  OR           90012716492
8961276A654194   JASON           TYE                      OR           90014147606
89615847172B33   EVER            MEDRANO                  CO           33031998471
8961767A897138   LUKE            STADDEN                  OR           90013576708
89617A3216194B   BRIA            MASON                    CA           90014890321
89618769872B46   MICHELLE        SANTIAGO                 CO           90010247698
8961983A58B168   SARA            COOPER                   UT           90008238305
8961B398691979   EMILY           ORTIZ                    NC           90012883986
8961B854972B29   STEPHEN         DAVIS                    CO           90012568549
8962284465B326   GRISELDA        TZINTZUN                 OR           90008448446
8962B11578B168   SHANE           PERRYMAN                 OK           31090821157
8963173328B168   JULEYMA         AMACHO                   UT           90009407332
89632A93A91979   LATOYA          CLEMONS                  NC           90013170930
89637884772B33   SHELIA          GARCIA                   CO           90004498847
8963919247B489   URIEL           PEREZ                    NC           90009291924
8963B525772B44   PAGE            OLSEON                   CO           90011245257
8963B669131676   LINZIE          RATCHFORD                KS           22036986691
8963B887971977   LESLIE          LUCERO                   CO           90014318879
8963B921891933   JORDAN          HARNEON                  NC           90003239218
89641441672B29   CINTHYA         RAMIREZ                  CO           90014824416
8964923A541275   TIFFANY         BARNETT                  PA           90010652305
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8964B3A7191979   PABLO          ESCOBAR                  NC           90008463071
896531A898B168   ANNA           VIGIL                    UT           90014871089
89653326872B44   ANDRES         BELTRAN                  CO           90012533268
8965473418B168   NICHOLAS       DEVON                    UT           90010957341
89655383A5B24B   RAQUEL         HINOJOSA                 KY           90014913830
8965597979154B   DOLORES        TOVAR                    TX           90014779797
896566A5A2B271   DAMON          MILLER                   DC           90012326050
89657944A41262   JESSICA        JOHNSON                  PA           90009419440
896624AA933B33   CHRISTINA      ERVIN                    OH           90012814009
89663574A2B271   EYVONNE        THREADGILL               DC           90008035740
8966536A15B326   CLAUDIO        RENDON-SALAS             OR           90014253601
8967213126194B   JESSICA        LABLANC                  CA           90014001312
8967444374B234   CANDIS         SNODDY                   NE           27080114437
89675A24A5B326   KIRA L         TROUTMAN                 OR           90012910240
8967662A19154B   MINDY          PORTILLO                 TX           90014616201
89676975A5B161   MICHAEL        BROWN                    AR           90006959750
8967717845B326   NOHENI         MENDEZ                   OR           90010591784
896782A7791979   GABINO         JIMENEZ                  NC           90011042077
8967958296194B   LEON           MANSI                    CA           90013065829
89679818A41262   ROBERT         PULSON                   PA           90014028180
8967B93693147B   CHARLES        THOMAS                   MO           90011509369
8968163139154B   YVETTE         MELENDEZ                 TX           90014616313
8968212117B489   TAMMY          SMITH                    NC           90012041211
89683576572B44   HASINA         FREELON                  CO           90014805765
8968669192B271   TAWANDA        MCNEAR                   VA           90012776919
8968B576572B44   HASINA         FREELON                  CO           90014805765
8968B75374B22B   REGINALD       BELL                     NE           90013797537
89691A51455945   JESSICA        CARDENAS                 CA           90008960514
8969227335B24B   CHARLES        WILSON                   KY           68088382733
8969257792B271   NICHOLAS       SETTLES                  DC           90013945779
89698A69441275   NICOLE         GONZALAS                 PA           90010910694
8969BA4422B271   CINDY          DREISBACH                DC           81005700442
896B454175B24B   RICHARD        HAMPTON                  KY           90013635417
896B4832272B29   TARA           DHIMAL                   CO           90011378322
896B53A3177568   ANA            MORFIN                   NV           90001763031
896B83A496194B   DIANA          CRISANTO                 CA           90012973049
8971283649154B   MIRIAM         QUINTANA                 TX           90013088364
89714336772B62   ROBERTA        ARMENDARIZ               CO           90013183367
897143A8A5B24B   BONITA         SAWYERS                  KY           68096703080
8971611928B168   IZAK           TORRES                   UT           90014881192
8972112A772B62   BROOKE         ESQUIBEL                 CO           90010961207
8972147545B24B   BROQUEL        KING                     KY           90002664754
8972315338B168   ALJEJANDRO     MOORE                    UT           90014881533
897247A339154B   ASHLEY         MARRON                   TX           90014617033
8972584179154B   DOMINIC        BARKSDILE                TX           90013098417
89727466772B62   MARIO          ESPINDOLA                CO           90013094667
89727878976B97   TRAVIS         WEDDINGTON               CA           90014988789
8972815338B168   ALJEJANDRO     MOORE                    UT           90014881533
89729729A98B32   CLIFFORD       CARTER                   NC           90008527290
8973132426194B   ZULMA          AQUINO                   CA           90014123242
8973148837B489   JEAIN          BURDETT                  NC           90013964883
8973342364B22B   MYESHA         SMITH                    NE           90010944236
8973532A872B62   LAWENDA        DORSEY                   CO           90013933208
89735511872B62   HERVE          NTEAL                    CO           90014945118
89739891A72B46   CECIL          DERBIN                   CO           90013948910
8973BA36791933   ROWENA         BROWN-PEAKS              NC           90007460367
8974145129154B   LUIS           HERNANDEZ                TX           90013064512
8974216758B168   RUBEN          GUZMAN                   UT           90014881675
89743316272B46   CHRISTY        HANKES                   CO           90013903162
89745367372B46   DAMARIS        SALGUERO                 CO           90011743673
89745721A2B271   TOSHA          WHITING                  DC           90012867210
89746663772B29   MICHAEL        MCCABE                   CO           90012426637
8974818128B168   PAMELA         ZUBIA                    UT           90014881812
89749241A71977   KURTIS         BERLIN                   CO           90011592410
89749644572B44   WILMA          BARNETT                  CO           90014806445
8974B171697138   JOSE           GONZALEZ                 OR           90012691716
8975336994B22B   JULIANNE       FITZPATRICK              NE           90008183699
89753645472B44   DANYALE        MARTINEZ                 CO           90014806454
8975477415B27B   RACEO          GORDON                   KY           90014617741
8975538794B22B   NYAHIAL        GACH                     NE           90014073879
8975734234B22B   KYLE           ERNEST                   NE           90007213423
89757A99547897   SHAMEKA        MANGHAM                  GA           90011230995
89758474797B3B   MONICA         COLLEN GARZA             CO           90012874747
897599A7293771   PAULA          DAUGHERTY                OH           90013929072
89759A53A2B271   MARLON         STRIGGLES                DC           90014870530
8976188775B24B   LAINE          BANDY                    KY           90013078877
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8976314695B326   DIANA          SANTOYA                  OR           90013821469
8976335245B24B   KIMBERLY       MUMFORD                  KY           90012253524
89764111572B62   JENNIFER       FINK                     CO           90011331115
89764377372B46   ROBERT         MASON                    CO           90011743773
8976819A672B33   THERESA        GONZALEZ                 CO           33091741906
8976858262B271   CHANTISE       BLANGO                   DC           90010575826
89769345A72B44   MONICA         PICKENS                  CO           90005723450
89769756172B29   VIRGINIA       MIRAMONTES               CO           90013177561
8976B239297138   DAISY          CRUZ                     OR           90011602392
8976B28349154B   YUVIA          FLORES                   TX           90011642834
8976B351541262   DAWN           BOCKA                    PA           90011153515
8976B943A72B62   RAUL           QUINTANA                 CO           90012219430
8977117AA2B246   TSEHAI         SHIFERAW                 DC           81006771700
8977339224B234   D.J            MILLER                   NE           27086483922
8977463522B268   RONALD         WALKER                   DC           90012836352
8977513595B24B   VALORIE        GUTMAN                   KY           90014691359
8977783847B467   KIMBERLY       SWAIM                    NC           90000308384
89779285397B3B   AUSTIN         ALBERTS                  CO           90013812853
8977985A39154B   JUANA          OCHOA                    TX           90013088503
8977B3A777B489   TICIRIA        HUGHES                   NC           90009463077
8978187A197138   ERIKA          HERNANDEZ                OR           90013938701
8978291A56194B   MONAE          BROOKS                   CA           90013019105
89784739272B44   JUAN           CARREON                  CO           90009197392
8978575A76194B   GUY            KEYS                     CA           90009607507
89786844172B33   JOSE           RAMOS                    CO           33097568441
897869A3597138   ADAN           GUTIERREZ                OR           90013939035
89792673872B44   SAVANNAH       THOMPSON                 CO           90014806738
89794229772B44   JOSE ALBERTO   NAVA ALMANZA             CO           90014702297
89794553172B46   AUSTEN         MURRAY                   CO           90001345531
897999A999154B   SANDRA         PEREZ                    TX           90011489099
897B2834247897   DEONTAE        HOOD                     GA           90011228342
897B2882A72B46   OSWALDO        FEUNTES                  CO           90013948820
897B31A5A72B29   MAURICIO       SANTOS                   CO           90013811050
897B3399984336   LEO            HERNANDEZ                SC           90011643999
897B42A886194B   ANAROSE        CURRAN                   CA           90012132088
897B572815B399   GREGORY        HOFFMAN                  OR           44501887281
897B64A882B271   MICHAEL        MAY                      DC           81090484088
897B6596293771   MICHAEL        SEVERS                   OH           90012125962
897B6614655945   PAULA          LOPEZ                    CA           90014816146
897B8551397B3B   LUIS           MATA BAESA               CO           90014535513
897BB589972B44   LANCE          OTRIZ                    CO           90014805899
897BB843671977   DAVID          CUEVAS                   CO           90014908436
8981135449154B   CESAR          ENRIQUE                  TX           90011643544
898114A5997B3B   CHASE          STANDIFER                CO           90003454059
89813638472B44   RYAN           BRUMMUND                 CO           90002916384
89817866272B62   THORNTON       ANTHONY                  CO           90010938662
8981971382B271   VINCENT        LUCAS                    DC           90013947138
8981B543972B29   JESUS          SOTO                     CO           90011875439
8982296536194B   KARLA          HAYES                    CA           90012949653
8982498648B168   LILIA          LOPEZ                    UT           90014889864
89825251872B46   SANDRA         KARLYLE                  CO           90013992518
89827A54897B3B   JANICE         STAFFORD                 CO           39068010548
8982B193341275   HOLLEN         LINARD-GAY               PA           51008381933
89831264372B42   JORDAN         ROBERTS                  CO           90011922643
89831485572B44   ELISABETH      CARBAJAL                 CO           33088494855
898317A4672B29   BRANDON        YOUNG                    CO           90003737046
8983319679154B   BRENDA         ENCISO                   TX           90012291967
89833781672B33   ENRRIQUE       VELASQUEZ                CO           90012807816
898352A599154B   MARIANA        FLORES                   TX           90011182059
8983862724B22B   KRISTI         HADDEN                   IA           27026756272
8984354392B271   MICHAEL        PATTERSON                DC           90013295439
8984569A155945   LUIS           MENDOZA                  CA           49005466901
89845721372B44   RACHELLE       MCGLOTTEN                CO           90014807213
898463A9441275   UNKNOWN        UNKNOWN                  PA           90014153094
89852682A5594B   OSCAR          VASQUEZ                  CA           90013166820
898526A7A4B234   ANGELA         ZIMMERMAN                NE           90011566070
8985276225B326   GARY           VALENTIC                 OR           90012617622
8985769729154B   LUIS           FLORES                   TX           90011786972
8985783328B163   FLAVIA         RAMOS                    UT           90006728332
89863386672B46   DOMONIC        RODRIGUEZ                CO           90014053866
89865816A5B27B   ALYCIA         HELM                     KY           90006008160
89866444272B46   PABLO          TOQUINTO                 CO           90011744442
89866A1A272B44   MONTESA        CURRIE                   CO           90000300102
89867956872B33   MICHELLE       LUJAN                    CO           90011509568
89868528141B58   ILDEFONSO      LOPEZ-FLORENTIN          VA           81051595281
89871847472B46   TERESA         PEREYRA                  CO           33039418474
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898739A5291979   LONNIE         MCDONALD                 NC           90014009052
898759AA371977   SHANNON        MORENO                   CO           90011379003
89876257897B3B   GEORGIA        WOOLIS                   CO           90014612578
89883323197B3B   CHRISTINA      COLVIN                   CO           39060623231
898836A479154B   HECTOR         VILLALOBOS               NM           90012956047
8988496176194B   JON            BOILA                    CA           90014139617
89885362A93771   JOSEPH         THORPE                   OH           90013813620
8988886332B271   BRITTANY       CARTER                   DC           90008508633
89894759A91979   SHEKELA        MCKOY                    NC           90013377590
89894769472B44   DUSTIN         ANDERSON                 CO           90014807694
8989814967B489   JAMES          FLOYD                    NC           90012341496
898B5458851356   CURTIS         CARTER                   OH           90004254588
898B558666194B   GERMAN         RODRIGUEZ                CA           90014365866
898B8A5A66194B   JOSE           MORALES                  CA           90011990506
898B8A7654B234   LARREON        WHITE                    NE           90006170765
898B9217791979   MOISES         ALVAREZ                  NC           17045762177
89913851972B44   TROY           PERFITT                  CO           90012508519
89914796697B3B   ROBERT         RICHARDS                 CO           90013007966
89916219772B29   MAYRA          CALZADA                  CO           90013072197
89917A94172B33   JUAN           CHAPEL                   CO           33007670941
89918742972B44   ROSA           LOPEZ                    CO           90007867429
8991986A39154B   VICTORIA       FERNANDEZ                TX           90014618603
89926838A97138   TERESA         VAZQUEZ                  OR           90013578380
89932A7A75B326   AURELIANO      GONZALEZ                 OR           90002130707
89934181A5B24B   JOSH           GASTON                   KY           90014831810
89937255A72B33   CARLOS         GARCIA-BALTAZAR          CO           90014712550
8993834A57B489   GEORGINA       GARCIA                   NC           90013193405
89949544472B46   EDUARDO        ESPINOZA                 CO           90011825444
89951AA1997B3B   AMY            OLMEDA                   CO           90010950019
8995268A72B271   CYNTHIA        ATCHISON                 DC           90012566807
89952A26572B44   CLAUDIA        MEDINA                   CO           90014810265
89953774997B3B   VALERIE        VELASQUEZ                CO           90000347749
8995487225B326   ROXANA         GUZMAN                   OR           90002208722
89955AA1997B3B   AMY            OLMEDA                   CO           90010950019
89957865A33698   AMBER          GLENN                    NC           90003668650
8995B18575B326   SHELBY         ALEXANDER                OR           44515291857
89961AA615B55B   LISA           ELWELL                   NM           90008240061
8996475665B326   MARIA          SILVA                    OR           90014187566
8996549AA92838   ALEJANDRO      JIMENEZ                  AZ           90014374900
89968AA629154B   CARLOS         CARRILLO                 TX           90008590062
89969A4425B139   KEYSHA         HAYES                    AR           23081170442
8996B67A647825   DEANGELOS      BARBER                   GA           90010606706
8997191AA72B62   MIGUEL         BOLANOS                  CO           90011669100
899738A2155945   TANYSHA        LIKENS                   CA           90005958021
8997645758B168   BRAXTON        MONTOYA                  UT           90012834575
8998178345B24B   MICHAEL        JONES                    KY           90013287834
8998183AA4B22B   DOMINIC        FREDREICK                NE           27096328300
8998326994B22B   HATTIE         HOBBS                    NE           27087452699
8998574667B489   LADIMAR        ROJAS                    NC           90011977466
8998724A793771   TAYLOR         DISNEY                   OH           90011312407
8998955A172B29   SHAUNDRA       RAY                      CO           33083735501
89989A9616194B   BRENDA         LOPEZ                    CA           90013910961
89992A8415B261   KIM            MITCHELL                 KY           90007670841
89998A5947B489   TAMMY          TAYLOR                   NC           90014450594
8999945717B489   GARRETT        LEWIS                    NC           90012774571
899B345A94B22B   SAMANTHA       HARKENDORFF              NE           27074714509
899B646A272B29   HANNA          AGUYI                    CO           90012444602
899B7279797138   CHRISTINE      JACKSON                  OR           90013422797
899B744399152B   CHRISTINA      MARTINEZ                 TX           90010484439
899B8433355945   MR AND MRS     GARCIA                   CA           49091014333
899B887984B22B   NEVA           LONGSTRETH               NE           90013238798
89B1259A691979   MARIE          GRAMADO                  NC           90011385906
89B14215372B33   CHRIS          SOLANO                   CO           90006462153
89B1642945B24B   LOLLIE         FROGGY                   KY           90012934294
89B1723675B326   GARY           RANSIER                  OR           90003022367
89B17A83A71977   TAMMY          CISNEROS                 CO           38046710830
89B1949A272B44   VICTORIA       CRUZ                     CO           90012444902
89B1952576194B   SUSANA         RAMIREZ                  CA           46010375257
89B1B143972B62   ZACHARY        CECIL                    CO           90014451439
89B1B7A2891837   BEVERLY        BOWEN                    OK           21091187028
89B22264147822   PATRICK        GRIGGS                   GA           14049872641
89B238A4393771   YVONNE         WRIGHT                   OH           90005228043
89B2397979154B   DOLORES        TOVAR                    TX           90014779797
89B239A1572B44   CYNTHIIA       RAMSEY                   CO           90010229015
89B24754691837   SAMUEL         CHARLES                  OK           90014937546
89B25717372B46   IVAN           PEREZ                    CO           90013947173
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89B2B898A71977   SANDRA           DUARTE MENA            CO           90014848980
89B31A9429154B   ANGEL            CANO                   TX           75085000942
89B32361997B3B   NICOLE           SHEPPARD               CO           90013133619
89B33565A4B22B   JIMMY            FICKE                  NE           90010165650
89B3378A177537   RICHARD          HERMAN                 NV           43082497801
89B34278541275   ROBERT           BECKER                 PA           90007352785
89B3542122B271   DONNELL          BROADWAY               DC           90010564212
89B35693991979   KRACIK           SETTLES                NC           90014336939
89B376A1493771   SELENE           PRINCE                 OH           90012196014
89B41A5898B168   CAROLINA         LOPEZ                  UT           90014860589
89B4333A472B62   ROYGRAHAM        GRAHAM                 CO           33032343304
89B43A89255945   MIGUEL           GARCIA                 CA           90012270892
89B4522429154B   ELVIA            PADILLA                TX           75067252242
89B46424793771   RIKIA            ABULLAHI               OH           90008064247
89B4645589154B   KATIA            ESPINO                 TX           75041804558
89B49867447897   LATHASA          GREENE                 GA           90011178674
89B4B698A57B9B   BRENDA           MOBLEY                 PA           90014436980
89B5171225B921   JACQULINE        TESKEY                 ID           90010167122
89B5297A187B71   BRITTNEY         ESTER                  AR           90001089701
89B5341395B326   DALE             SPICKLER               OR           90013444139
89B5431A14B22B   ERNESTO          MENDOZA                NE           90014073101
89B54412671977   FILIPPO          MICELI JR              CO           38072964126
89B5661929154B   LAURA            FRIAS                  TX           90014606192
89B56711691979   NATHAN PHILLIP   LANE                   NC           90007387116
89B57691A8B168   MARCUS           HAMMONS                UT           90014796910
89B57884772B33   ANABEL           CHAIREZ                CO           90013178847
89B59891472B44   MELISSA          GAZAWAY                CO           90013498914
89B5B523897B3B   JAMIE            HICKS                  CO           90008065238
89B5B794A72B29   RACHEL           WRIGHT                 CO           90009977940
89B5B852591837   CHARLOTTE        JOHNSON                OK           90010808525
89B61193497B3B   MEYERS           STARLA                 CO           90011331934
89B6253852B271   SEAN             HUNT                   DC           90014145385
89B65166272B44   IRVING           REYES                  CO           90009151662
89B67771571977   JOHNNY           SOUR PEL               CO           90010287715
89B69A63591979   PATIENCE         BRADY                  NC           90011200635
89B6B443871977   JAMES            SIERRA                 CO           90012814438
89B724A7951349   EDDIE            CLAYTON                OH           90013214079
89B73472472B44   SHERBELL         BISHOP                 CO           90014794724
89B73853791837   AMBER            ARENA                  OK           90014938537
89B75451472B33   SHAYAN           WU                     CO           90013014514
89B75775784371   SHAQUANA         DRAYTON                SC           19005767757
89B76691472B46   DJON             BROWN                  CO           90013086914
89B7741585B24B   LAUREN           WILLIAMS               KY           90012934158
89B77437491532   SANDRA           ESCOBEDO               TX           90010814374
89B77586A72B46   SARA             GLANDON                CO           90013425860
89B7852735B326   FLORIAN          LE TELLIER             OR           90010565273
89B8257638B168   JESUS            RINCON                 UT           90010455763
89B8454422B236   THOMAS           DELANEY                DC           90011005442
89B8465886194B   MORGAN           NUTTING                CA           90005496588
89B86199141251   NICOLE           MARNICH                PA           90005951991
89B86285A8B154   ADAM             SMITH                  UT           90003352850
89B88316372B29   JENNIFER         DEGEORGE               CO           90013303163
89B89935484371   FRANCISCO        CAMPAGNANI             SC           90003199354
89B91367741275   MELISSA          SUEHR                  PA           90002423677
89B94429272B46   HEATHER          GREENE                 CO           90008094292
89B97125A72B33   ISAIAH           RODRIGUEZ              CO           90012191250
89B98728855945   EDDIE            ESPINO                 CA           90013007288
89B9888972B271   DIANE            LOVE                   DC           90013938897
89B99928672B29   JOSE             ARREDONDO              CO           90002749286
89BB1A82186443   DANTREAS         FAULKNER               SC           90013830821
89BB4555141262   DENNIS           FATH                   PA           90013825551
89BB6681555945   SALVADOR         FLAMENCO JR            CA           49006356815
89BB79AA333698   MIGUEL           CRUZ                   NC           12097439003
89BB8728A55945   EDWARDO          GARCIA                 CA           90013007280
89BB9351A97B3B   MARIA            MARTINEZ               CO           90010593510
89BB9824A2B271   SHAKIA           STOKES                 DC           90013058240
89BBBA74872B29   ERICK            SARABIA                CO           33036810748
8B113512376B97   MACEDONIA        LOPEZ RAMIREZ          CA           90013125123
8B11421467192B   ESTEVAN          LOPEZ                  CO           90005652146
8B114735A5B581   LAURA            AUBERT                 NM           90012877350
8B11549258B154   RYAN             LEE                    UT           90014264925
8B116154885856   DON              MACK                   CA           90003941548
8B11616454B22B   JOEL             RUIZ                   NE           90010821645
8B116522A47822   KAREN            DEATON                 GA           90014805220
8B117549A91525   KARLA            MARTINEZ               TX           90005625490
8B11782A571977   JOY              SCOTT                  CO           90011018205
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8B1184A3871935   GABE           CABLE                    CO           90014344038
8B119A38772B62   YAIR           PORRAS                   CO           33072570387
8B11B263672B29   ALEJANDRA      PAULINO                  CO           33077732636
8B125116A5B27B   MINA           LINDE                    KY           90013511160
8B12651625B183   MARQUETTIS     SAVAGE                   AR           90010665162
8B126A32985856   ABRAHAM        GARCIA                   CA           90009710329
8B127316793771   FRANK          BANE                     OH           90002363167
8B12782665B27B   JAHON          LINDSAY                  KY           90011028266
8B128584291837   HECTOR         ARIAZA                   OK           90006285842
8B129296397B3B   VICTORIA       LINEHAN                  CO           90001942963
8B129986A72496   CHRIS          SOLDATI                  PA           90014649860
8B129A9195B356   ELIAZER        CABRERA                  OR           44555680919
8B12B549A91525   KARLA          MARTINEZ                 TX           90005625490
8B13157575B27B   ROBBINS        FAMILY                   KY           90007825757
8B13174725B27B   ROBBINS        FAMILY                   KY           90010907472
8B13191A841247   LAURA          WILLIS                   PA           90007409108
8B13193238B154   LEWIS          DEYOUNG                  UT           90014159323
8B1345A9685856   DAVID          GENZLER                  CA           90010205096
8B13545A59154B   VERIQUE        NORWOOD                  TX           90013234505
8B136441871977   CORINNE        MARTINEZ                 CO           90007944418
8B136773893771   SAMANTHA       ROBERTS                  OH           90011377738
8B13735A797133   JORGE          VAZQUEZ                  OR           90013923507
8B13761A35B24B   DAVE           COLLINS                  KY           90013976103
8B137A53771935   GABBY          GONZALES                 CO           90009880537
8B139583433698   NOE            ALFONSO                  NC           90010765834
8B13B67A447897   KBOOSIE        WILLIAMS                 GA           90015196704
8B142763176B44   MIGEL          AVZ                      CA           90013157631
8B143147372B29   MICHEAL        MELENDEZ                 CO           90006741473
8B14341425B24B   JOSEPH         DOMINGUEZ                KY           90014384142
8B144112797B3B   AMANDA         WATSON                   CO           90009381127
8B144613872B33   JACK           SIMON                    CO           90011606138
8B14471A272B29   ANGEL          MARTINEZ                 CO           90014687102
8B145255172B62   DONICIA        HELMES                   CO           90014712551
8B145511A72432   BRANDI         BYERS                    PA           90013225110
8B147AA655B338   FILIBERTO      RODRIGUEZ                OR           44535380065
8B148586972B44   DESTINY        COLEMAN                  CO           90010475869
8B149A91672B44   PRISMA         JANNET                   CO           90012630916
8B14B23235B255   SHANNON        NEUBERT                  KY           90010812323
8B14B949976B65   AGUSTIN        ANTONIO                  CA           46060389499
8B15149A997138   DELWIN         NELSON                   OR           44066034909
8B15298718B154   ADRIENNE       BALLINGHAM               UT           31077199871
8B153366791975   ANA            BADILLO                  NC           17052403667
8B1535AAA5B581   ARTHUR         MARTINEZ                 NM           90014785000
8B153677447822   DEDRICK        CAIN                     GA           90013466774
8B154573272432   SAM            BOWMAN                   PA           51037245732
8B154A1255B356   JAMES          RICHERSON                OR           90010720125
8B155A54A76B65   PATTY          RAMOS                    CA           90014620540
8B15679A541978   JOANNA         SIMPSON                  OH           90013847905
8B15699339375B   MICHELLE       MOORE                    OH           90010899933
8B15718A872B33   VIVIAN         DESHAZER                 CO           90015061808
8B15734248B168   ANTHONY        VALDEZ                   UT           90006803424
8B15759895594B   IMELDA         TAFOLLA                  CA           90010725989
8B158689391525   FERNANDO       PADILLA                  TX           75030466893
8B15876A684325   COREY          CRAWFORD                 SC           90014757606
8B159138947822   AREYION        GRAYER                   GA           90014871389
8B15995A15B183   ZAYZHON        THOMPSON                 AR           90013779501
8B159A3927B42B   NUREKA         MILLS                    NC           90011200392
8B15B461597133   AARON          RENHARD                  OR           90002464615
8B15B79966194B   CHESTER        CLARK                    CA           90008567996
8B15B877861928   MARIA          LOWERY                   CA           90011718778
8B161A8845B153   RANDELL        JOHNSON                  AR           90011590884
8B161A8A851362   STEVEN         MADEN                    OH           90013940808
8B16279965B153   SHERRI         GIBBS                    AR           90011597996
8B162937385856   PRANITA        BANTHIA                  CA           90012359373
8B16397965B24B   HANNAH         ALLEN                    KY           90011189796
8B16421A571935   ALISHA         SALAZAR                  CO           90013132105
8B164978976B65   ANTONIO        MORA ESPARZA             CA           90013009789
8B164A14961936   KIM            JONES                    CA           90005800149
8B165774297B3B   WILLIAM        RAYMOND                  CO           90014437742
8B165855A76B44   EIRCK          GUTIERREZ                CA           90003288550
8B167199972496   JOANNE         PALATINUS                PA           90014311999
8B16745878B154   JOHN           DEA                      UT           90014444587
8B16794A247822   CEDRIC         DAVIS                    GA           90011309402
8B168557797133   ANTONIO        AGUILAR                  OR           90013335577
8B1685A4476B97   SONDRA         HOPKINS                  CA           90014015044
8B168976784325   RUBI           MEDRANO                  SC           90013009767
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8B169142976B97   BILLY          MORALES                  CA           90010481429
8B169222971935   PETE           BLAIR                    CO           90010982229
8B16979395B27B   COURTNEY       MATTHEWS                 KY           90013897939
8B171886697133   ANTOMI         LUCIANO                  OR           90014438866
8B172626385856   ARACELI        SANCHEZ                  CA           90011966263
8B173285741262   RICK           GILES                    PA           90012842857
8B17357A891523   EDGAR          HOLGUIN                  TX           90009935708
8B174626991528   ATENAS         CAMPOS                   TX           90008466269
8B17479984B22B   JENNIFER       MICHELL                  NE           90010287998
8B17561216194B   RICHARD        BARNETT                  CA           90012826121
8B17842138593B   ANGEA          TAYLOR                   KY           66024004213
8B178472393771   ADAM           DEATON                   OH           90014844723
8B1788A2876B44   ARTHUR         ROJAS                    CA           90009908028
8B17B16425B153   NARRADA        HOGAN                    AR           90011611642
8B17B828361934   JOHANNA        FUENTES                  CA           90012268283
8B182219684325   SAMONA         NELSON                   SC           90012872196
8B18294A677537   TYSON          GIBSON                   NV           90014659406
8B1833A354B22B   MICHELLE       FOOTE                    IA           90013053035
8B18361149154B   LORENZO A      ESPINOZA                 TX           90010206114
8B184493347897   JALISA         WIMBUSH                  GA           90014724933
8B18498354B22B   BRANDY         REDDEN-STECHENFINGER     IA           90013589835
8B184A5147B42B   STEPHANIE      MATTHEWS                 NC           11075260514
8B18661219375B   MATT           KENNEDY                  OH           90012506121
8B188374431433   LAMONT         GREEN                    MO           90009853744
8B18936889136B   VICTOR         REYES                    KS           90008763688
8B189523777537   VICTOR         ANDRADE                  NV           90013235237
8B189644176B65   RAFAEL         SEGURA-ALVAREZ           CA           90013956441
8B18B197751362   RASHAWN        BYRD                     OH           90014011977
8B19135255B581   BRITTANY       MARTINEZ                 NM           90011483525
8B19183835B27B   BEYAN          WEATHERSPOON             KY           90009168383
8B19229928B168   HEBER          CONNEL                   UT           90010952992
8B193544793771   SEAN           KNIGHT                   OH           90014135447
8B193A91272432   NICOLE         KEIRS                    PA           90011120912
8B194126497138   ANTONIO        BEDOLLA                  OR           90011511264
8B19492A172B29   BILL           POPOVICH                 CO           90010719201
8B196531777537   JACOB          STIRES                   NV           90010995317
8B196577361928   BRIANNA        ROCHA                    CA           90005715773
8B196AA826194B   SUSANNA        GONZALEZ                 CA           90014850082
8B19785895B153   FORTINO        PEREZ                    AR           90011648589
8B19866744B22B   MARISSA        MITCHELL-RILEY           NE           90013696674
8B199654285856   OCTAVIO        CRUZ                     CA           90006096542
8B1B2644293771   DWAYNE         POPE                     OH           90014446442
8B1B2912171935   BRIAN          GLASSGOW                 CO           90011579121
8B1B348955B356   CRYSTAL        WILKERSON                OR           44504244895
8B1B428325B356   CHRIS          TOMPKINS                 OR           90013462832
8B1B5176A8B168   MEGAN          MISCHELL                 UT           90013051760
8B1B6716241262   MARGARET       SIEMINSKI                PA           90014237162
8B1B753A272B33   DENA           HEJTMANEK                CO           90012925302
8B1B7874197B38   VANESSA        ONTIVEROS                CO           39033538741
8B1B91A3233698   CHARLENE       SMITH                    NC           90000721032
8B1B977215594B   DAWAYNE        REED                     CA           90011087721
8B1BB438977537   ARKILOS        TARKEJ                   NV           90010374389
8B1BB838633698   SHAWNA         DICK                     NC           90014608386
8B1BB985A9188B   JEREMIE        LANDIS                   OK           90012329850
8B1BBA8256194B   DARNELL        HILL                     CA           46003210825
8B211131655971   MICAELA        ALATORRE                 CA           90013101316
8B2143A1547897   TEVIN          MALAKIUS                 GA           90014583015
8B215519586447   ORLANDRIA      YOUNG                    SC           90014575195
8B21689715B338   CINTHIA        JONES                    OR           90006668971
8B216A29977537   TAYLOR         ELIZABETH                NV           90013840299
8B217131533698   WILL           BENJAMIN                 NC           90013101315
8B2172A269154B   LAURA          CASTILLO                 TX           90013142026
8B21732895B581   MONIQUE        MALDONADO                NM           90013483289
8B217747972496   JEFFREY        GREGG                    PA           90013087479
8B2177A1541262   JASON          ROSS                     PA           90000207015
8B21792775B27B   TOMMY          SCHROERLUCKE             KY           90010809277
8B217A75676B44   ORTEGA         PEDRO                    CA           90012480756
8B21B487372B62   EDGAR          MANUEL                   CO           90014314873
8B221234472B31   JUSTIN         PIERCE                   CO           90008592344
8B22213545B153   MIA            FORDSON                  AR           90011661354
8B223961197B3B   DEREK          HERSCH                   CO           39005479611
8B224399185856   ERICA          PETERSON                 CA           90013653991
8B22476995B24B   MARIO          ABDULLAH                 KY           90013157699
8B225378655971   EVELYN         REYES                    CA           90010213786
8B225729A72432   CHRISTINE      CROMPTON                 PA           90014207290
8B22651445B32B   OMAR           MOHAMMED                 OR           90011795144
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8B227774297B3B   WILLIAM           RAYMOND               CO           90014437742
8B228453947897   MARGARET          GREEN                 GA           90013774539
8B228482947897   MARGARET          GREEN                 GA           90011084829
8B22872945B183   LYNDSEI           FORBES                AR           90014197294
8B22879A25B32B   ROBERT            HOPE                  OR           90008267902
8B22911A741225   FRANCISCO         MONDRAGON             PA           90004161107
8B22942A555971   JOSE              MENDOZA               CA           90015114205
8B22987385B356   SAVANNA           ROBINSON              OR           90003928738
8B22B21A555971   ALEXANDER         RUIZ                  CA           90013312105
8B22B732641262   KELLI             VERNO                 PA           90010017326
8B231255A97133   JORGE LUIS        RAMIREZ               OR           44064012550
8B232684A47822   YAQUARIUM         JACKSON               GA           90014966840
8B234739771977   EDIE              RODRIQUEZ             CO           90013817397
8B23481A255971   IRENE             FOSTER                CA           90015108102
8B235756172432   NICOLE            SAGER                 PA           90012027561
8B23756526194B   JASON             RAGAN                 CA           90006155652
8B23848355B153   NICK              COVER                 AR           90007184835
8B238A5A671935   ESSENCE           GLOVER                CO           90014870506
8B23958858B154   JEFFREY           STATTMAN              UT           90001655885
8B24118AA97B3B   BHAVIN            PAREKH                CO           90012361800
8B24145929154B   JUAN              HURTADO               TX           90013234592
8B241934197138   KARINTA           HONG                  OR           90010799341
8B242859425129   ALAA              ALRIMAWI              AL           90014428594
8B243534397133   BARRY             NICKLES               OR           90014045343
8B246218933B33   RYAN              TRIPLETT              OH           90013882189
8B246628885856   PHYLLIS           BELTER                CA           90012376288
8B24674145B32B   CANDICE           DENNETT               OR           90014737414
8B24693248B168   RYAN              KNIGHT                UT           90010919324
8B247156576B44   GERMAN            SOCHIMANAHUE          CA           90011301565
8B247493776B44   GERMAN            SOCHIMANAHUE          CA           90011984937
8B247589A71977   DAVID             WYCKROFF              CO           90008785890
8B248A69371935   GUSTAVO           FLORES                CO           90014870693
8B249A4349712B   STEPHANIE         MODGLIN               OR           90003260434
8B249A81541275   CYNTHIA           SCHULTZ               PA           90012450815
8B251792397138   JAQUELINE         STANLEY               OR           90013457923
8B251A79197138   MALIA             STERLING              OR           44060800791
8B25271675594B   DEBANY            LITTLE                CA           90001977167
8B2527AA676B44   AMADEO            HERNANDEZ HERNANDEZ   CA           90012297006
8B25326A247897   RASHUNDA          STORY                 GA           90010412602
8B2562A7376B65   JORGE             BAILON                CA           90013972073
8B256582572432   MEGAN             LIPOSCHAK             PA           90001025825
8B256645872432   JOLENE            ANDERSON              PA           90015146458
8B257912947897   CHRIS             WOMACK                GA           90013859129
8B257982572B44   GERALDINE         SHULDHAM              CO           90014839825
8B257A26A72B31   MARILU            PERALTA               CO           33080150260
8B25886766194B   JESUS             VILLAROBO             CA           90013168676
8B258AA9941275   MARTIN            SHAWN                 PA           90014060099
8B2592A1484325   AMBER             BROSCHARD             SC           90014412014
8B25B2A7441262   CRYSTAL           GRICUS                PA           90013282074
8B25B535591837   TRAVIS            CARTNER               OK           90003795355
8B25B82AA5B24B   ALEXIS            WRIGHT                KY           90013158200
8B2627A7A97133   CHANDLER          PAPPAS                OR           90013947070
8B26282594792B   WAYNE             BURCHAM               AR           90003918259
8B263237276B65   ELISABET          TERAN                 CA           90012942372
8B265812476B97   EMILY             WRIGHT                CA           90013448124
8B26583175B32B   CASSIANNA         TRAPP                 OR           90011798317
8B266528498B34   GRICE             LYNN                  NC           90011045284
8B266A86191837   ALLANA            SCHMEHR               OK           21094650861
8B26831425B356   SUSY              HERNANDEZ             OR           90010563142
8B2683A996194B   TAYLOR            LEGRAND               CA           90011983099
8B26846AA72B44   MARIA MAGDALENA   CARLOS                CO           90010354600
8B2692A8991837   QUEEN             MCNEIL                OK           90013922089
8B269A54672B62   RINABEL           WALKER                CO           90010580546
8B26B33235B32B   TAUCHA            BOWDEN                OR           44593293323
8B26B658676B97   JASMINE           PERRYMAN              CA           46017726586
8B26BA8A791926   RON               SOPKOVICH             NC           90012730807
8B27222435594B   SHANE             AUST                  CA           90009192243
8B272AA6A36121   SHELBY            PEREZ                 TX           90002350060
8B273AAA672B31   DAVID             TRAN LE               CO           33092370006
8B27987635B356   ELIEL             JACINTO CUEVAS        OR           90011368763
8B28199828B163   HEATHER           MEMMOTT               UT           90007979982
8B282191371935   JUSTIN            RANDON                CO           90013141913
8B28259A871977   MONIQUE           BALLEJOS              CO           90013685908
8B283717447822   NASTAJAH          TAYLOR                GA           90015007174
8B283A4428B163   ALEJANDRA         MONCON                UT           90011950442
8B28412775B183   CHARLES           PATTILLO              AR           90010251277
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 820 of 1007


8B285177A6B251   AMY            SOBCZAK                  AZ           90014071770
8B28544A74B22B   KIMBERLY       FOOTE                    IA           27089704407
8B28593197192B   ADAM           LOWE                     OK           32013589319
8B28622176194B   JESUS          MUNOZ                    CA           90012212217
8B2875A865B153   HERAN          DIEGO                    AR           90011735086
8B28921785594B   NAIDA          LOPEZ                    CA           90014672178
8B28B713597B38   RACHEL         BENNETT                  CO           39058297135
8B291279955971   JORGE          AVALOS                   CA           49050772799
8B29353828B168   JUSTINA        IBARRA                   UT           90011165382
8B293745672B29   CESAR          CASTILLO                 CO           90007987456
8B29385267242B   LISA           GISHNOCK                 PA           90011058526
8B29387845B32B   JOSE LEON      HERRERA                  OR           90012728784
8B2939A6685856   STEPHEN        LISTEK                   CA           90012819066
8B294964651362   ALICIA         GALDAMEZ                 OH           90012869646
8B296993997133   ERIK           GASCU                    OR           90003479939
8B298797191975   JOSE           LOPEZ                    NC           90014987971
8B2995A868593B   ROBERT         EVANS                    KY           90012525086
8B2B211289136B   ALEJANDRO      CRUZ                     KS           90009701128
8B2B4171391525   JOE            RODRIGUEZ                TX           90000591713
8B2B478635132B   AMANDA         STAPLE                   OH           90010937863
8B2B4838397133   EMILIO         MORALES                  OR           90007498383
8B2B5973547897   AUBREY         KEELER                   GA           90006699735
8B2B645895B27B   DAVID          ROBERSON                 KY           90013344589
8B2B67A3A76B65   MARTINA        FERRETIZ                 CA           90010337030
8B2B7688176B65   CRITTENTON     ZAYAK                    CA           90013956881
8B2B788945B27B   ANTOINETTE     TSANGA                   KY           90008378894
8B2B83A2372B62   BEVOLIN        ROBINSON                 CO           90010533023
8B2B868318593B   ANDREW         MANGULABNAN              KY           90013016831
8B2B9845172B31   JUAN           SAENZ                    CO           33099008451
8B3112A2872B31   SHEVONE        DISANTI                  CO           33002642028
8B311A9256194B   ANGELINA       ESTRADA                  CA           90012170925
8B31225A447822   KEVIN          WINES                    GA           90010872504
8B314713A72B44   KIMBERLY       VARGAS                   CO           90012187130
8B314837185856   SASHIKANTH     SABINAVIS                CA           90010208371
8B314918151362   THOMPSON       KAREN                    OH           90013789181
8B316816672496   BRYAN          RIDLEY                   PA           90013018166
8B318255771935   DOMINIQUE      SHAW                     CO           90011582557
8B318865572B29   DEVON          JOHNSON                  CO           90013358655
8B319887841262   RAY            DIGITY                   PA           90012658878
8B32194A95B24B   DOLLIRA        BALDON                   KY           90013159409
8B32216639154B   ADAN           MONTANEZ                 TX           90011131663
8B32231336194B   SHENICA        BURTON                   CA           90010983133
8B322994797133   MICHELLE       WALSTEAD                 OR           90014309947
8B322A8868B154   HUCKABEE       LISA                     UT           90010690886
8B3231A1A71935   NAOMI          SISNEROS                 CO           90009911010
8B32338645B338   ANTONIO        TULA-RUIZ                OR           90011843864
8B323A1875B32B   KOLBRYNN       LOWLELL                  OR           90011800187
8B324229A6194B   MARIA          HERNANDEZ                CA           90012962290
8B324835471935   ORLANDO        ROBERTS                  CO           90011728354
8B326237271977   IGNACIO        ROYBAL                   CO           90014122372
8B32682734B22B   CRYSTAL        WASHINGTON               NE           90012438273
8B32774599375B   JACOB          KING                     OH           90010737459
8B328355972432   ERIC           DANIELS                  PA           90014593559
8B3289A598B163   RONALD         HOLMES                   UT           90015159059
8B329343847897   KARRY          BOWENS                   GA           90003573438
8B32B778497133   CHRISTOPHER    LEAR                     OR           90010737784
8B3313A3471935   HARRY          BALLARD                  CO           90013143034
8B332133572432   JUSTIN         ADAMS                    PA           90012291335
8B332269376B97   ALLEN          SOLOMON                  CA           90013472693
8B332698877537   YESENIA        ALVARADO                 NV           90014716988
8B33483997192B   JON            DENMAN                   CO           32024688399
8B335557372B31   TIFFANY        LIMON                    CO           90011575573
8B33684814B22B   ARTURO         MIRANDA                  NE           27065658481
8B33B136772432   LLOYD          WOODS                    PA           90013591367
8B341196A72432   ELIJAH         YARBROUGH                PA           90014421960
8B34122298B168   AUSTIN         WILKE                    UT           90014442229
8B341451491525   ROGELIO        VERDUGA                  TX           90006194514
8B342369672432   SHAWN          VADEN                    PA           90015113696
8B342579155971   MARIO          VASQUEZ                  CA           90008725791
8B34327969154B   NOEMI          LOPEZ                    TX           90013142796
8B3438A5951362   WILLETTA       BIGGINS                  OH           90002088059
8B343AA255B581   JEREMY         GONZALES                 NM           90012780025
8B34516668B163   MARIA          DEQUEBEC                 UT           90010091666
8B3453A2A72B29   PHILLIP        WEAVER                   CO           90010663020
8B346AA1A41275   DEIDRE         REIMENSCHENEIDER         PA           90012790010
8B34846815B581   YVONNE         BUENTIEMPO               NM           90013594681
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8B3484A4A71977   JORGE          ESQUIVEL                 CO           90011034040
8B349256893771   MIKE           DOUGLAS                  OH           90014932568
8B34941A185856   CHRISTOPHER    MILLER                   CA           90011064101
8B349442891837   ASIA           GUNYON                   OK           90012084428
8B351447947897   VANQUEZ        WILMORE                  GA           90010414479
8B354939897133   SANDRA         MATA NAVA                OR           90013049398
8B35539716194B   OTTO           SHELLAND                 CA           90010283971
8B3555A1672496   HEATH          HILLIARD                 PA           90010805016
8B355618476B97   KRISTINA       TAUPULE                  CA           90012896184
8B356879147822   DEXTER         HOWARD                   GA           90008478791
8B359697472B31   YADHU          NEPAL                    CO           90010396974
8B362418476B44   VANESSA        ROJAS                    CA           90003404184
8B36531275B139   LEE            ALFORD                   AR           90008793127
8B36715418593B   LEKEYSHA       TUCKER                   KY           90009031541
8B36784385B32B   MICHAEL        ROOS                     OR           90005308438
8B368187341262   OLGA           KOUTINA                  PA           51065251873
8B368567A61948   ANDREW         TORRES                   CA           90005265670
8B368785872B33   TALMICH        DESMOND                  CO           33009427858
8B369617185655   FELIX          NUNEZ                    NJ           85016226171
8B36978A75B338   FRANCISCO      CASTRO                   OR           44546647807
8B36B26518B163   ERIC           CHRISTENSEN              UT           90014292651
8B371119476B44   KRISTINA       RYTHER                   CA           90013841194
8B37124425B581   RENEE          ROSAS                    NM           90000332442
8B3718A8485856   SHACRESHA      GILKES                   CA           90012768084
8B371A74176B44   MICHAEL        ATIRADO                  CA           90008000741
8B37227735B581   ELVIRA         SIMENTAL                 NM           90014692773
8B37261948B163   ROBERT         LAWSON                   UT           90003836194
8B374181671977   TANYA          GARCIA                   CO           90014491816
8B3776A5972B44   ADRIAN         MARTINEZ                 CO           90006086059
8B37919738593B   CODY           CARTER                   KY           90014601973
8B379977877537   ALMA           ALMANZA                  NV           43082579778
8B37B298672496   SHELBY         KELLEY                   PA           90012522986
8B38186A95B27B   FABIAN         JORGE                    KY           90012628609
8B382195461928   IRMA           MEDINA                   CA           90005951954
8B38473897B42B   WILLIS         RICHARDSON               NC           11078957389
8B384817A5B27B   CLARENCE       STOTT                    KY           90012938170
8B38631595594B   KIMBERLY       WILKERSON                CA           90008503159
8B386319455971   BRITTANY       CRAIG                    CA           90010283194
8B38635348B163   FLOR           CELIS                    UT           90008513534
8B38672695594B   SARAHI         TRUJILLO                 CA           90014787269
8B387564676B97   NINA           NORIEGA                  CA           90011905646
8B387984671935   MARITZA        SALINAS                  CO           90006549846
8B389A93471935   CHRISTY        TAYLOR                   CO           90014880934
8B391648176B65   LORENZO        FELIPE                   CA           46077186481
8B391776576B44   ROSA           CASTELLANOS              CA           90001757765
8B392113393137   NAKEDRA        INGRAM                   KY           90001521133
8B392553471977   SAJJAD         MAHDI                    CO           90013965534
8B39272578B168   CLEMENTE       GUARNEROS-AMADO          UT           90006437257
8B393817176B44   ATEMPA         GUADALUPE                CA           90004278171
8B394A2A85B581   OTIS           SINGLETON                NM           90007450208
8B399548472496   ADAM           MCCANDLESS               PA           90011425484
8B399969372432   SHAWNA         ONEAL                    PA           90013829693
8B399A31697B3B   JESSICA        FITZSIMONS               CO           90013720316
8B39B46898B163   JAMES          JOHNSON                  UT           90012874689
8B39B495A6194B   LAURA          COPADO                   CA           90010414950
8B39B929A97B38   C              CAZ                      CO           90007189290
8B3B2593672B29   CHERI          ORTIZ                    CO           90004115936
8B3B2A7199375B   MIKE           ARNOLD                   OH           90008430719
8B3B36A7897133   DAIRE          CORTEZ                   OR           90014266078
8B3B3874391528   CESAR          HERRERA                  TX           90012998743
8B3B461225594B   ANIQUE         JIMENEZ                  CA           90010726122
8B3B6543977537   DALIA          MARTINEZ                 NV           90013235439
8B3BB114397133   ADELA          GUTIERREZ                OR           90011931143
8B411A75676B44   ORTEGA         PEDRO                    CA           90012480756
8B41289365B183   CHRISTOPHE     BELL                     AR           23038128936
8B4137AA272B33   IDELL          GRANT                    CO           90013177002
8B4141A1276B65   VICTOR         TATENCO                  CA           90014101012
8B416398897133   JORGE          FLORES                   OR           90013363988
8B41684269154B   IRMA           FLORES                   TX           90010348426
8B41743575B32B   SCOTT          CARADY                   OR           90008984357
8B41782A96194B   BIANCA         FLORES                   CA           90014278209
8B419266972B33   CHRISTOPHER    BEAULIEU                 CO           90004582669
8B41B516676B97   JOSEPH         HELGREN                  CA           46004515166
8B41B773572B33   KARY           MILLER                   CO           90011997735
8B42177529375B   STEPHAINE      LEMNIN                   OH           90008667752
8B4219A3647897   CAROL          FOSTER                   GA           14056129036
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8B422177271977   AARON          SANTISTEVAN              CO           90013481772
8B422558351362   TIFFANIE       ELDER                    OH           90010555583
8B423455471935   MICHAEL        POWELL                   CO           90006974554
8B424338691523   MARTHA         HERNANDEZ                TX           90010913386
8B425225772432   SYLVIA         HAWKINS                  PA           51077192257
8B4264A4241291   JOHN           MCCLENDON                PA           90013494042
8B42761126194B   RICHARD        LONCARIO                 CA           46075916112
8B42B62865594B   RICK           PEREZ                    CA           90010726286
8B434395597B3B   MARISSA        RAMOS                    CO           90014813955
8B434512571977   SELINA         QUINTANA                 CO           90013375125
8B43524A35B24B   BREYONTAE      WILLIAMS                 KY           90013412403
8B435349831433   KIARA          MARTIN                   MO           27508813498
8B436492533698   JAMES          SADLER                   NC           90010544925
8B437112276B97   LILYAN         LEMUS                    CA           90013991122
8B43713A85B183   REBEKAH        WILLIAMS                 AR           90014691308
8B439237A97138   MARGARITA      CABRERA                  OR           90012612370
8B44323686194B   ALLARD         TYNEIL                   CA           46070882368
8B444714671977   THOMAS         DUNEGAN                  CO           90015097146
8B44478665594B   CAROL          CRADER                   CA           90012637866
8B446351577537   SAMANTHA       CURL                     NV           90011423515
8B44848425B27B   ERICA          SATTERLY                 KY           90011014842
8B44863288B168   RACHEL         MASCARENAS               UT           90010966328
8B44886178B154   ELIZABATH      GUTIERREZ                UT           90014728617
8B4496A225B338   HEATHER        RANGEL                   OR           44566496022
8B449714172432   JOSH           BENARD                   PA           51030737141
8B4499A858B163   ELAINE         NAEA                     UT           90012359085
8B44B574391837   MICHAEL        HAMILTON                 OK           90011335743
8B44B7A6661928   MICHEL         TURK                     CA           90011997066
8B45116A15B27B   TIMOTHY        VARDEMAN                 KY           90003241601
8B451796572432   DAWN           NEIL                     PA           51009947965
8B452538791975   WILLIAM        OSCHWALD                 NC           90015065387
8B452899A85856   MARIA          NIEVES                   CA           90000538990
8B453166A9136B   OLIVIA         GUTIERREZ                KS           90009751660
8B4532A4471977   SONYA          SONNY                    CO           90011072044
8B45426138B18B   GARY           STEWART                  UT           90012272613
8B454492997138   COLE           TONEY                    OR           90013544929
8B45496725B27B   KENTON         DAVIDSON                 KY           90014389672
8B45536728B163   DENISE         REDDING                  UT           90012253672
8B455861747822   OPAL           MOORE                    GA           90010738617
8B455A76371977   SHANNON        ALVIDREZ                 CO           90007730763
8B456821447897   MARY           HILL                     GA           90010458214
8B457395597B3B   MARISSA        RAMOS                    CO           90014813955
8B457474372B33   KARRI          DURLAN                   CO           90014644743
8B458168297138   MARIA          GONZALEZ                 OR           90013821682
8B4583A8A8593B   MARIAH         MILLER                   KY           90014603080
8B459112851362   EVELIO         SOTO PEREZ               OH           90013941128
8B4598A628B154   VANESSA        BUENO                    UT           90014678062
8B45B674372488   REVA           HUFF                     PA           90012906743
8B461967872432   BELINDA        HINDMAN                  PA           90011449678
8B46229379154B   JULIE          MONTENEGRO               TX           75040092937
8B46276A77192B   SARAH          RAEL                     CO           90013167607
8B462799471935   VANESSA        CARROLL                  CO           90009317994
8B46375725B183   VALORIE        COLCLOUGH                AR           90009767572
8B464A39397B38   MARGARET       GAYTAN                   CO           90013640393
8B46657625594B   FILIBERTO      GUZMAN                   CA           90011445762
8B4691A8972B33   CHERYL         WILSON                   CO           90013341089
8B469291176B97   OSCAR          LOPEZ                    CA           90011612911
8B46B78A951328   NYESHA         BALDWIN                  OH           90012297809
8B47637429712B   RUBY           HEALON                   OR           44017953742
8B476554976B65   JOSE           VAZQUEZ                  CA           90013235549
8B476872685856   MARIANA        VERITY                   CA           46013428726
8B476A98A93137   PRENTICE       GRANT                    TX           90007650980
8B47912717192B   MARIA          VILLASENOR               CO           32069391271
8B479283272B33   CRISTINA       LOPEZ                    CO           90012082832
8B47944AA33698   VANESS         RIVERA                   NC           90009724400
8B4815A675B32B   JASON          HAUGEN                   OR           90010995067
8B481615947822   CHELSEA        LOTT                     GA           90002936159
8B4819A125594B   BREANNA        FERNANDEZ-LOPEZ          CA           90010579012
8B482311872496   DARREN         VOZAR                    PA           90012933118
8B482555597138   RIGOBERTO      GAHONA                   OR           90013655555
8B484966376B65   LAURA          SANDOVAL                 CA           90010389663
8B48572A261978   CARLOS         CASTRO                   CA           90013087202
8B487236297B3B   CHEYENNE       MARIE DU CHENE           CO           90014542362
8B488154271935   JAKE           STEELE                   CO           90014891542
8B48994695B183   PHILLIP        PIGGIE                   AR           90013929469
8B48B535A97138   TAYLOR         COLELLA                  OR           90011545350
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8B48B844647897   SHERI          TOMLIN                   GA           90010458446
8B48BAA6261928   ERIC           JEFFERSON                CA           90011350062
8B491263177537   MARTA          BAUTISTA                 NV           43008972631
8B49182955B32B   MELVIN         CARLSON                  OR           90011808295
8B492A41551531   AMY            WINTER                   IA           90014130415
8B492A51741262   ANITA          BLACKWELL                PA           90014830517
8B492A86172B44   ERIK           FELIX                    CO           90014870861
8B493494961934   ELLIOTT        DREVDAHL                 CA           90011314949
8B49451416194B   MICHELE        THOENS                   CA           90012615141
8B49638284B22B   HERBERT        PETEREIT                 IA           90013923828
8B496769272B33   AARON          GREEN                    CO           90013607692
8B497818785856   JOCELYN        SILERIO                  CA           90011368187
8B497991A41275   STEPHON        DEAN                     PA           90010849910
8B498672A2B271   LILIAN         ECHEVERRIA               DC           81096496720
8B4B1AA1276B97   DANIEL         SPITLER                  CA           90014040012
8B4B23A525B32B   BALTAZAR       ZAMORA                   OR           90011803052
8B4B2A25A55971   FAUSTINO       VASQUEZ                  CA           90013380250
8B4B7984A5B183   SHARON         EDWARDS                  AR           90008359840
8B4B8573497B38   AMANDA         MARTINEZ                 CO           39077655734
8B4B9A42297133   REYES          CHAVARRIA                OR           90013970422
8B4BB589A71977   DAVID          WYCKROFF                 CO           90008785890
8B511557797133   ANTONIO        AGUILAR                  OR           90013335577
8B51212A791894   CHRISTOPHE     PENCZAK                  OK           21049811207
8B512733147897   ANDREA         STEVENSON                GA           14054097331
8B51342A88B163   JEANINE        WILLNER                  UT           90006994208
8B51356A472432   HEATHER        BENNETT                  PA           51015165604
8B514157877537   AIVI           TAUSINGA                 NV           90005421578
8B514347176B97   MISTIE         MARTINEZ                 CA           46007213471
8B514576655971   DAVID          SALINAS                  CA           90012305766
8B516275297133   JENS           ULVEN                    OR           90012872752
8B51792A75B32B   HECTOR         MARTINEZ                 OR           90011809207
8B519644272B62   SELENA         CASTILLO                 CO           90007356442
8B51B631272496   STEFFANEY      STINE                    PA           90010966312
8B51B89148593B   GARY           WESTFALL                 KY           90013938914
8B51B99A86194B   CHRISTOPHER    SODEMAN                  CA           90012849908
8B5225AA672B29   JAYME          FOXHOVEN                 CO           33088025006
8B522994A91837   CHRIS          TOWNSEND                 OK           90007769940
8B52339924B22B   SHAMIKA        BENNETT                  NE           90013283992
8B5233A5261978   FRANCES        BENAVIDES                CA           90003173052
8B52421398B168   ALISHA         VAUGHAN                  UT           90011572139
8B52719594B22B   JACOB          WHITNEY                  NE           90014971959
8B527A7614B22B   TAISHAY        JACKSON                  NE           90000710761
8B528257155971   JUAN CARLOS    GARCIA                   CA           90013462571
8B528A94672B44   JOY            PARKER                   CO           90012080946
8B529137872B44   JOAN           ALFARO                   CO           90003581378
8B52983725594B   ALEXIS         GRIMM                    CA           90004428372
8B53419425B581   MARIA          NEVAREZ                  NM           90008091942
8B535652277537   RICHARD        BURNS                    NV           90001596522
8B538615272B83   DANNY          BEIGHTEL                 CO           33082216152
8B538A82855971   BALTAZAR       LLAMAS                   CA           90011490828
8B5413A278B154   SELINA         SALAZAR                  UT           90015193027
8B542868A76B44   ELIAS          CALDERON                 CA           90011978680
8B54472284B22B   ROBERT         MEYERS                   IA           90012637228
8B544A67633698   BRITTANY       MAXWELL                  NC           90010890676
8B54697428B168   BEN            EASON                    UT           90001089742
8B547588661928   JUDITH         SANCHEZ                  CA           46098265886
8B55194716194B   MARIA          BENITEZ                  CA           90002489471
8B55279376194B   CARLOS         SANTIESTEBAN             CA           90012457937
8B553849497B3B   MONICA         JIMENEZ                  CO           90007608494
8B553A1715B528   NICOLE         SAAVEDRA                 NM           90012300171
8B555157872432   MELINDA        JONES                    PA           51038331578
8B556512547897   ZAKIA          DUGGAN                   GA           90007845125
8B557681A97133   MARTIN         VASQUEZ                  OR           90011676810
8B557925A85856   RICARDO        GARCIA                   CA           46061929250
8B557A3758593B   TOMMY          YEAGER                   KY           66082700375
8B557A67191894   TRESSIE        SHAFFER                  OK           90003550671
8B558575193771   ADAM           FRESHOUR                 OH           64545455751
8B559311876B65   CAROLINA       BEDOYA                   CA           90014163118
8B55B42625594B   JULIIO         URIAS                    CA           90013174262
8B55B61119154B   IRENE          AGUILAR                  TX           75074226111
8B561765455971   ARTURO         REYES                    CA           90015087654
8B56177715B24B   DOMINIQUE      GARTH                    KY           90015037771
8B561A9668B168   ELIZEO         PAZ                      UT           31071950966
8B562411884325   FERNANDO       DELGADO                  SC           90012224118
8B56467555594B   EVELYN         ARCEO                    CA           90011316755
8B564718272B62   SERGIO         GARCIA-MOSQUEDA          CO           90014377182
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8B567751572B29   JOSEPHINE      CASTRO                   CO           90012837515
8B568761576B65   DEBBIE         MAYS                     CA           90011207615
8B568778672496   JAN            GEYER                    PA           51072077786
8B571673961978   ROBERT         SUTTON                   CA           46072856739
8B573614872B31   SABRINA        DELLERE                  CO           90001796148
8B57521935B27B   ALEXIA         THORNEAX                 KY           90011032193
8B57578985B183   JOSE           ALONZO                   AR           90015207898
8B57638359154B   BEATRIZ        VALDEZ                   TX           90010733835
8B576966A72B62   DUKE           MARION                   CO           90014509660
8B5771A6A91926   CESAR          PEREZ VENTURA            NC           90014201060
8B577A2688B163   MICHAEL        PEREZ                    UT           90002700268
8B57886985594B   DILIRANG       OBICHANG                 CA           90014688698
8B57B14765594B   ARACELI        QUEZADA                  CA           49002401476
8B57BA73571935   WILLIAM        VANEMAM                  CO           90014920735
8B581129472B44   LEON           GARCIA                   CO           90011641294
8B581585597B3B   THEODORE       CROSS                    CO           90009705855
8B58163785B24B   KARL           WILLOUGHBY               KY           90010786378
8B582A18851362   MAGGIE         STOKIEN                  OH           90010560188
8B58367996194B   ROSANA         CASTILLO                 CA           90011526799
8B584146A97138   ANGELA         JESPERSEN                OR           90012751460
8B587614876B65   LUCIA          CHAVEZ                   CA           90014166148
8B5886A9276B65   TRENT          HALGREEN                 CA           90014166092
8B589324593771   GARY           ELLIOTT                  OH           90010963245
8B58B398772B62   DOMINIC        COLEMAN                  CO           90010953987
8B58B553471977   SAJJAD         MAHDI                    CO           90013965534
8B58B9A7A5B581   OFELA          SEGOVIA SANDOVAL         NM           90013049070
8B591848772B44   LUIS           IBARRA                   CO           90012348487
8B591875272B29   CHRISTINE      BURNS                    CO           33011138752
8B59262895594B   AIOTEST1       DONOTTOUCH               CA           90015116289
8B593958955971   RAFAEL         NARANJO                  CA           90013409589
8B594623976B65   JAIME          HOLLIDAY                 CA           90014166239
8B594A13872B31   APRIL          HASTINGS                 CO           33091120138
8B597345A72B62   RODRI          CRUZ                     CO           90008363450
8B59839A697138   KRISTINA       MCGINNIS                 OR           90015153906
8B5997A2A5B32B   ISIDORO        GALINDO JIMENEZ          OR           90005147020
8B5B389A86194B   ANNTENETTE     CUMMINGS                 CA           90014098908
8B5B3A24A47897   ROGER          SMITH                    GA           90012210240
8B5B4358271977   MARK           OSTEEN                   CO           90009533582
8B5B4594576B44   MARIA          CARRASCO                 CA           90003995945
8B5B5636391837   VICTORIA       CONLEY                   OK           21075916363
8B5B912175B32B   CHRISTOPHER    HAMAN                    OR           90012761217
8B5B9389271977   DAVID          TORRES                   CO           90007243892
8B5B9896197133   RON            RIEBEL                   OR           44055688961
8B5BB56325594B   PIEDAD         RUBIO                    CA           90013105632
8B6112A9972B62   JOSE           TORRES                   CO           90013292099
8B61176218B168   CORINA         STEVENSON                UT           90010747621
8B612144272B33   MARILYN        ARENS                    CO           33093251442
8B6122A5972496   VINCENT        STROBLE                  PA           90014802059
8B612357872B44   MARTIN         GONZALEZ                 CO           90013943578
8B612512441262   GWENDOLYN      VALERIE                  PA           90014275124
8B61285218B154   RULIN          HARVEY                   UT           90014878521
8B6131A5597133   EDGAR          BRAVO HERNANDEZ          OR           90013211055
8B61345275B27B   TRACI          LARIMORE                 KY           90013214527
8B613A41355971   MARGUERITE     SULIT                    CA           90013200413
8B6147A7A8B168   EVELYN         PETERSON                 UT           90014847070
8B615389297138   ANTONIO        LOPEZ                    OR           90014073892
8B6173A3997138   SERENITY       LESTER                   OR           90007843039
8B61748119154B   ARAUJO         PATRICE                  TX           90013234811
8B617969941262   YEN-CHAO       CHIANG                   PA           90012669699
8B619267A97133   CESAR          PENA                     OR           90013452670
8B6193A7A5B139   RONIQUE        WRIGHT                   AR           90004573070
8B62119545B581   MICHAEL        ARMIJO                   NM           90013931954
8B62166189373B   SHATEL         MSHAN                    OH           90011566618
8B622294151362   VANNESSA       BROOKS                   OH           90014012941
8B622A49A76B97   ELI            HARRIS                   CA           90012440490
8B6236A7A85888   KENDRA         SQUAZZO                  CA           90010986070
8B624985361978   BRANDON        BRYNWOOD                 CA           46087219853
8B62553688B163   ADRIAN         HOLGUIN                  UT           90014675368
8B625654671935   FRANCINE       NIBIGIRA                 CO           32078206546
8B626386977537   LOGAN          WHITE                    NV           90008993869
8B62722865B24B   HECTOR         HERRERA                  KY           90015152286
8B62739268593B   LEA            DICKMAN                  KY           66008683926
8B62757145B183   FLORICELIA     MENDEZ                   AR           23068125714
8B62789744B22B   RYAN           HILLYER                  NE           90013508974
8B627A14472B33   STEVEN         SEWICK                   CO           90011510144
8B628366197B38   LISA           RODRIGUEZ                CO           90009543661
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8B6285A3961923   HECTOR          CALDERON                CA           46092565039
8B628A1A297B3B   TANYA           GALLOWAY                CO           90013060102
8B62937A672B33   MIGUEL          GOMEZ                   CO           90009423706
8B629547572B62   CELSO           GALLEGOS                CO           90012915475
8B6321A2872B31   TYLER           EDWARDS                 CO           90003121028
8B632878571977   DEELILA         ROMERO                  CO           90013148785
8B63468A547897   FRANK           JOANSON                 GA           90011326805
8B636955197B3B   HEATHER         BLACK                   CO           39059269551
8B636A64133698   PATRICIA        GAYLE                   NC           90007220641
8B637162A72496   GREGORY         PAUMIER                 PA           90014151620
8B63731179712B   STEVEN          NAZAROFF                OR           90004283117
8B637485361928   MARCO           DORAZCO                 CA           46005674853
8B63829815B581   JULIE           DALIGNEY                NM           90015112981
8B638397791837   ERIC            PIEL                    OK           90013863977
8B63989765594B   ELIZABETH       CALDERON                CA           90014688976
8B639963A47897   ANDRE           STRANGE                 GA           90011109630
8B63B3A3891894   AMANDA          BAUCOM                  OK           21017123038
8B63B57615594B   JAMES           RUMLEY                  CA           90011445761
8B64118275594B   ANTHONY         MCCANDLESS              CA           90014881827
8B6412AA68593B   DAVID           CHAMBERLIN              KY           90013652006
8B64272295B32B   FELIPE          POLANCO RAMIREZ         OR           90013417229
8B643937472B33   JOEY            SIEGRSRT                CO           90013479374
8B6441A5176B97   ERIKA           REED                    CA           46009011051
8B644227A9154B   LAURA           BERNAL                  TX           90010172270
8B644712A85856   ANA             HERNANDEZ               CA           90012937120
8B645587276B97   GENOVEVA        SOLANO                  CA           90009195872
8B646A48872B29   MR JORGE        CHAPARO                 CO           90004830488
8B64815785B32B   MICHAEL         PARDO                   OR           90006751578
8B648561876B97   ESTEBAN         GARCIA                  CA           90004825618
8B64887A593771   DISHONEA        COLEMAN                 OH           90011308705
8B648A21A93771   KIMBERLY E.     SHEPHARD                OH           90010460210
8B64B733A33698   ESPERRANZA      VINCENT                 NC           90008577330
8B65278479154B   JESUS ROGELIO   FUENTES                 TX           90011207847
8B653157772B44   JESSICA         MORALES                 CO           90011641577
8B653214847822   RHONDA          MCELROY                 GA           90010032148
8B653624672432   JAMES           MATTHEWS                PA           90012166246
8B654254372B44   GREGORY         HAEN                    CO           33063812543
8B654266571977   ESTRELLA        TRUJILLO                CO           38023362665
8B65426845594B   ERIK            HUERTA                  CA           90002922684
8B655776176B97   FLOR MYTE       MATIAS                  CA           90013557761
8B658595977537   LILLIAN         SALAZAR                 NV           90010995959
8B6612A9A72B62   MARCOS          PERLERA                 CO           90010612090
8B661832772B31   TONY            BARRERA                 CO           90009678327
8B66251378B163   JENNIFER        BARKSDALE               UT           90003345137
8B662831893771   FELICIA         WEAVER                  OH           64503968318
8B662A35A5B24B   BOSHANTA        COLEMAN                 KY           90012270350
8B662A74441275   TAMILLA CR      CRABLE                  PA           90006130744
8B664419376B44   JUAN            BARRERA                 CA           46093254193
8B66486455B581   CARLOS          MELENDEZ                NM           90013388645
8B665657197133   MARIA           SORIANO                 OR           90012836571
8B666173855971   GERARDO         AVILA                   CA           90012921738
8B66676275594B   ROSHAUN         HINES                   CA           90013157627
8B667636576B97   KEITH           JACKSON                 CA           90014016365
8B6687A7976B44   PENA            JACKELINE               CA           90011467079
8B66914968B163   JENNIE          MANSANAREZ              UT           90015191496
8B66991A98B163   CAMMIE          NEWMAN                  UT           31085859109
8B66B29345B27B   JENNIFER        RICHARDS                KY           90013332934
8B66B758176B97   FRANCISCO       HERNANDEZ               CA           90013927581
8B671A23576B97   EDUARDO         GARCÍA                  CA           90013000235
8B67274A255971   EVELINA         REGALADO                CA           90009007402
8B674593997133   JUAN            MEJIA                   OR           90010375939
8B674734341237   AMANDA          CURILLA                 PA           90012587343
8B67647815B338   PATRICIA        MACOMBER                OR           44535794781
8B678A83255971   ANDRES          MONGE                   CA           90012980832
8B679897776B65   VANESA          MILIAN                  CA           90014168977
8B67B62424B22B   CARRY           TYLER                   NE           90011376242
8B67B729672432   JUDY            TOUVILLE                PA           51043907296
8B67B841376B65   CLAUDIO         RUIZ                    CA           90014168413
8B681461372B44   HECTOR          RODRIGUEZ               CO           90012314613
8B681962397138   HEATHER         PIERRE                  OR           44076709623
8B682AA218B154   DORIS           REID                    UT           31000980021
8B683691161978   JC              ADAME                   CA           90005656911
8B684272672B31   ROSA            RAMIREZ                 CO           90010482726
8B684379772432   YVONNE          MENDICINO               PA           90011883797
8B68512A55594B   J               SANTOS                  CA           90004431205
8B68594815B27B   TARA            BELT                    KY           90011679481
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8B686188897133   MELINDA        ROBLES                   OR           44060401888
8B687133471935   REBEKAH        SCRIVNER                 CO           90010571334
8B68765A291525   CORDOBA        DELFINO                  TX           75005236502
8B687668897138   RAYMOND        MINCHE                   OR           90011086688
8B687974391894   RALPH          LEWIS                    OK           21051879743
8B691769841275   YARELIS        AUVELLS                  PA           90007447698
8B692126751531   RAY            GARCIA                   IA           90014141267
8B693456372B62   CEON           SHAVERS                  CO           90013124563
8B693984884325   MICHAEL        LOWTHER                  SC           90011089848
8B693A73571935   WILLIAM        VANEMAM                  CO           90014920735
8B69427738563B   ARMANDO        LOPEZ                    NJ           90001522773
8B695A73571935   WILLIAM        VANEMAM                  CO           90014920735
8B697272697133   EMILIANO       PEREZ                    OR           44092572726
8B697A32272496   DAVID          RONALD                   PA           90014770322
8B699146271977   BAILEY         LEROY                    CO           90014831462
8B6B1551272B44   PABLO          GALVAN                   CO           90007445512
8B6B1589776B65   NICOLE         OTTONALLBEE              CA           90014225897
8B6B232275B32B   COLE KENNETH   GARDIPE                  OR           90013423227
8B6B29A1A51362   JASMINE        ALLEN                    OH           90014259010
8B6B4343376B97   SANTIAGO       SORIA                    CA           90014853433
8B6B571225B32B   EVELIA         NEGETE-GARCIA            OR           90007257122
8B6B5955133698   IVY            LUZANA AQUIT             NC           90012529551
8B6B599668B163   JESSE          EDELSON                  UT           90013139966
8B6B978A58B154   JASON          KELLGORE                 UT           90005387805
8B6BB691376B65   ARMANDO        SANCHEZ                  CA           90009656913
8B6BB978893771   HEATHER        EVANS                    OH           90011049788
8B711981771935   LYNLEE         ZAK                      CO           90014929817
8B71236614B982   IGNACIO        GARCIA                   TX           90012623661
8B713167672B33   VANNA          FAUGHT                   CO           90013541676
8B714895572B29   MARTINA        MALLARD                  CO           90013298955
8B715911877537   SEAN           MAY                      NV           90013919118
8B71748816194B   DAVID          RODRIGUEZ                CA           90009444881
8B717A33797B38   ELEUTERIO      LANDERO                  CO           90006800337
8B719334191837   DONALD         GAY                      OK           90014733341
8B719678772B44   ALMA           MARQUEZ                  CO           90012746787
8B719874871977   LAVANNA        TAYLOR                   CO           38042518748
8B71BA27351362   LAMIKA         SMITH                    OH           90011990273
8B721515371935   DAVID          MIRABAL                  CO           90008055153
8B722413372496   TERA           BARNHART                 PA           90013054133
8B722995176B65   ELVIA          VALDEZ                   CA           46000929951
8B726971255971   FIDELINA       MENDEZ                   CA           90013329712
8B72733A833698   EBONY          KEITH                    NC           90006883308
8B727997871977   ZACK           MAYO                     CO           90013419978
8B731577172B29   DOMINIC        RODRIGUEZ                CO           33090655771
8B73246898B154   JAMES          JOHNSON                  UT           90012874689
8B734125297133   DANIEL         RAMIREZ                  OR           44000271252
8B734192893771   MATTHEW        PHILLIPS                 OH           90014561928
8B734488691837   BRANDI         HAMILTON                 OK           90008714886
8B735247376B97   SILVIA         ULLOA                    CA           90014932473
8B735252776B65   JOSE           HERNANDEZ                CA           90014182527
8B735A4439154B   CHRISTINE      RODRIGUEZ                TX           90014390443
8B73766635B581   MONICA         BENAVIDEZ                NM           90013116663
8B737825A47897   TAMARA         WILLIAMS                 GA           90010678250
8B73858628B163   AUBRI          HALE                     UT           90013685862
8B739775997B3B   KARLA          ALVAREZ                  CO           90010887759
8B73B148355971   MARISELA       TORRES                   CA           90010231483
8B73B65294B22B   CHARLIE        RUCKMAN                  IA           90013636529
8B74133A976B65   LAURA          CALZADA                  CA           90014183309
8B74186518B168   ANNA           HANSON                   UT           31017938651
8B74217778593B   KRISTIE        JEWELL                   KY           90013941777
8B742195572B44   ANDREW         ANDELARIA                CO           90011641955
8B743738691837   JONATHAN       BAZWELL                  OK           90012357386
8B743799A5B338   LILIANA        BARRERA                  OR           44567487990
8B74397258B154   JAMI           REDHAIR                  UT           90012329725
8B744195572B44   ANDREW         ANDELARIA                CO           90011641955
8B74419974B22B   MAGALY         RUBIO                    NE           90009321997
8B74567175B24B   JEANNIKA       GARDNER                  KY           90009126717
8B746718551362   DARRELL        CARTER                   OH           90013987185
8B74691775B27B   AMY            SMITH                    KY           90004449177
8B749758176B97   FRANCISCO      HERNANDEZ                CA           90013927581
8B7499A4941262   JAMES          DEMAR                    PA           90010319049
8B74B786655971   OMAR           ZALPA                    CA           90013077866
8B74BA69576B65   ALEX           ZUNIGA                   CA           90014170695
8B75148759712B   BOBERT         CLARCK                   OR           90008104875
8B751751572B29   JOSEPHINE      CASTRO                   CO           90012837515
8B752424297138   AMANDA         LINVILLE                 OR           90012024242
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8B752694655971   LUCILA         BAUTISTA                 CA           49030306946
8B7531A9847897   NIKKI          SANDERS                  GA           90012941098
8B753414572432   JEFFEREY       HILTON                   PA           90014854145
8B754855476B44   RALPH          APODACA                  CA           90008748554
8B75522566194B   ROBIN          RODRIGUEZ                CA           90014182256
8B755695341275   MALEITA        MOFFITT                  PA           90012416953
8B757276751362   JESSICA        CARTER                   OH           90014812767
8B759119476B65   GUSTAVO        VELAZQUEZ                CA           46063541194
8B762437476B65   OLGA           HERNANDEZ                CA           90014184374
8B763484291975   LOURDES        PAVON                    NC           90008184842
8B76351A891837   LYDIA          BADGWELL                 OK           90014715108
8B763832785856   ALFREDO        CASTELLANOS              CA           90012278327
8B764526976B97   JOSE           PALACIOS                 CA           90002175269
8B764831884325   CLARETHA       MOORE                    SC           90014478318
8B765291772432   SAMMY          LINCOLN                  PA           90010142917
8B765446176B65   FRANCISCO      LOPEZ                    CA           90014184461
8B76792716194B   ROSA           FIGUEROA                 CA           90012509271
8B76917148593B   TONY           HUTSELL                  KY           90011581714
8B76BA1695594B   MONICA         HERANDEZ                 CA           90014660169
8B771418772432   JUSTIN         WHIPKEY                  PA           90015154187
8B772172877537   NANCY          OLIVER                   NV           90012621728
8B773533233698   CHAQUANDA      LEWIS                    NC           90010805332
8B773617897133   ROSARIO        SANCHEZ                  OR           90009816178
8B776597872B29   CLAUDIA        ROSALES                  CO           90007155978
8B779394472B44   DARLENE        JANUARY                  CO           33006393944
8B779988997138   DAVID          EVANSON                  OR           44028449889
8B77B783641272   JEQUETTA       BLEDSOE                  PA           51000407836
8B782181633698   JENKINS        DOMINIQUE                NC           90012331816
8B78271878B168   CAMBER         BRACKETT                 UT           31070997187
8B78368575B581   BERNADETTE     RAMIREZ                  NM           90013836857
8B784129991837   SHARLEN        SMITH                    OK           90009831299
8B784655A72B44   MARIA          MATA                     CO           90014416550
8B78563A45B581   BRIANNA        SILVA                    NM           90013496304
8B785771371935   MYLA           GORRELL                  CO           90014947713
8B7863A3351365   MICHAEL        MARSHALL                 OH           90006333033
8B7879A3191837   TINA           WHITE                    OK           90010649031
8B78841664B22B   MARY           GARDNER                  NE           90010714166
8B78974A251531   MENJIS         KIFLE                    IA           90012587402
8B78B735972B31   ANDRES         CASTILLO                 CO           33068747359
8B792884677537   CHARISSA       VECENTE                  NV           90014518846
8B793456591837   HOPE           SEYMOUR                  OK           90013644565
8B793A1866194B   SAMUEL D       HILL                     CA           90013460186
8B794319272B29   WENDY          RODRIGUEZ                CO           90001713192
8B79454A597138   KYLE           RODRIGUEZ                OR           90009135405
8B794954433698   TARA           DIGGS                    NC           90007749544
8B79513494B22B   MERCEYDIS      BROWN                    NE           90013721349
8B79554787192B   THOMAS         GRABE                    CO           90002655478
8B79614995B27B   JAMES          COTTRELL                 KY           90010381499
8B797179341275   JAMES          BROWN                    PA           90013901793
8B799AA8672496   CARRIE         NELSON                   PA           90013440086
8B79B376872432   DENNIS         DARRIN                   PA           90009243768
8B7B244367B359   MARIA          MELENDEZ                 VA           90006174436
8B7B651898593B   EDWARD         SCHAFFER                 KY           90011225189
8B7B751898593B   EDWARD         SCHAFFER                 KY           90011225189
8B7B988A793137   STEVE          THOMPSON                 KY           90012658807
8B7BB2A7251362   ANDREW         STACEY                   OH           90013942072
8B8116A9676B65   HAILEY         FROST                    CA           90014186096
8B811A49A55971   CARLA          RAMIREZ                  CA           90012840490
8B812949997138   KYLEE          SPIER                    OR           90013209499
8B813456591837   HOPE           SEYMOUR                  OK           90013644565
8B813694A81639   CARMEN         AVILA                    MO           90014376940
8B814471A5B32B   TIAIRRE        MILLER                   OR           90014784710
8B81594485B27B   ANKYETRA       ROBINSON                 KY           90014019448
8B8161A875B32B   BRIANNA        LARSEN                   OR           90011821087
8B816455776B97   ADAN           GARCIA                   CA           90003564557
8B816479585856   MARIA          SILERIO                  CA           90000564795
8B816521151362   KADISHA        MEIDNA                   OH           90014705211
8B817866561934   JOHN           KARAM                    CA           90009668665
8B819888A97133   TABATHA        JONES                    OR           90013298880
8B81B38642B271   JENNIFER       INMAN                    DC           81006893864
8B822628176B65   CASSANDRA      FROST                    CA           90014186281
8B823A2232B271   MONIQUE        WRIGHT                   DC           90005540223
8B824349493771   CHRIS          STRIKE                   OH           64509933494
8B825888A97133   TABATHA        JONES                    OR           90013298880
8B82626265B32B   KURTIS         SMITH                    OR           90012112626
8B828811571977   KATIE          JOHNSON                  CO           90011088115
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8B82894278B168   VICENTE         OLVERA                  UT           90008999427
8B82946399154B   JOSE            GARCILAZO               TX           90013244639
8B82965856B932   DAMON           LEAKE                   NJ           90009276585
8B82BA3188593B   KEVIN           BOSWARTH                KY           90011250318
8B83236478B169   MISTY           SANCHEZ                 UT           90009383647
8B832888A97133   TABATHA         JONES                   OR           90013298880
8B83348638B163   ANGIE           HARKER                  UT           31073334863
8B83369735594B   STEVEN          RIVERA                  CA           90012646973
8B833755572B44   CORY            LACH                    CO           90014437555
8B834143355971   LEONEL          SANCHEZ                 CA           90012301433
8B83455595B27B   JASMINE         STREETER                KY           90011035559
8B834A8415B581   ML              WHITEBEAR               NM           90006160841
8B83569795B27B   ROLANDO         LOPEZ                   KY           90003746979
8B835A7A555971   VANESSA         DOYLE                   CA           49098830705
8B837146271977   BAILEY          LEROY                   CO           90014831462
8B837A56A41262   MARLEY          DOTSON                  PA           90013930560
8B838118741262   TOMASINCEA      NEWRING                 PA           90012081187
8B838165677537   CONNIE          RAMBEAU                 NV           90011061656
8B839A1829154B   ALAN            MARTINEZ                NM           90010130182
8B83B243372B44   JACOBO          PENA                    CO           90014912433
8B83B467997138   JOVAN           GARCIA REYES            OR           90012744679
8B83B55595B27B   JASMINE         STREETER                KY           90011035559
8B84166635B581   MONICA          BENAVIDEZ               NM           90013116663
8B843149372B29   AARON           MARTINEZ                CO           90009911493
8B845939972B62   SARA            WHITE                   CO           90010859399
8B846216272B29   OSTIN           NOLASCO                 CO           90006912162
8B846824176B65   CLAUDIA         VELAZQUEZ               CA           90013068241
8B847421272B33   SARA            LOVE                    CO           90013094212
8B848968477537   KEVIN           OSHAUGHNESSY            NV           90011019684
8B849339851362   MARY            RAIFSHIDER              OH           90013943398
8B84B6A3572B44   JUAN            BUSO                    CO           90014716035
8B84B737797B3B   RICHARD         LEE                     CO           90012197377
8B84B935791894   KIMBERLIE       STARKEY                 OK           90003189357
8B851968477537   KEVIN           OSHAUGHNESSY            NV           90011019684
8B852786697B3B   JESSICA         AGUILAR                 CO           90012567866
8B854A46233698   ROSE            POWELL                  NC           90011150462
8B856126993771   TRACIA          HERBST                  OH           90004991269
8B856A49461934   WILLIAM         HETHCOAT                CA           90011740494
8B85764A45B27B   CHELSIE         BRAY                    KY           90012156404
8B85774999154B   ESTHER          GARDENAS                TX           90004277499
8B85776A947822   SHARIE          DAVAUGHN                GA           90001957609
8B857779655971   FABIAN          BARAJAS                 CA           49048867796
8B8596A9372B62   VICKIE          OGRADY                  CO           90010726093
8B859794491979   TY              COLEY                   NC           90007557944
8B85993548B168   SHANDALE        SUN BEAR                UT           90011919354
8B85B662672B27   AMANDA          HUNT                    CO           90011596626
8B861427676B65   AMY             MAC APINE               CA           90012144276
8B8614A4A47822   ORESTE          MERCADANTE              GA           90010284040
8B861775791528   EFRAIN          JAUREGUE                TX           90005947757
8B86286665B27B   TERRY           RHEAUME                 KY           90012938666
8B86462392B881   MICHELLE        LECKIE                  ID           90012026239
8B86464A68593B   SHAWN           OOTEN                   KY           90011586406
8B865137676B97   LISETT          LUIS                    CA           90013241376
8B866677A71977   CALOS           GOMEZ                   CO           90010256770
8B866878661934   MARIA           LEYVA                   CA           90008278786
8B866999876B97   JEANNIE         DULAY                   CA           90013199998
8B86714435B153   ASHLEY          AURIOLES                AR           23044491443
8B869122997138   JANET           OSEGUERA                OR           90013231229
8B86B2A7A76B44   YONIC           CANSECO                 CA           90012522070
8B871A58655971   MARY            JAURIQUI                CA           90011430586
8B87213AA98B24   PATRICK         SUTPHIN                 NC           90014671300
8B87261996194B   JAMES           NJIIRI                  CA           46008236199
8B872883741275   TIM             PANTALEO                PA           90015098837
8B87431175B32B   JASON           ALLEN                   OR           90011593117
8B87617A841262   VALYNTIA        JOHNSON                 PA           90014711708
8B877713991837   DEZANEQ         HUMPHREY                OK           90014687139
8B87889285B27B   LISA            BREWER                  KY           90013368928
8B87967126194B   GERARDO         MONTANEZ                CA           46005816712
8B87B257A61928   SHARDAY         COTA                    CA           46075462570
8B883284871977   MATTHEW         BROOKS                  CO           90014592848
8B8843A665B183   BRITTANI        LEWIS                   AR           90011173066
8B88548888B168   SALLIE          STONEBRAKER             UT           31005334888
8B885537261928   BRYANNA         PAYTON                  CA           90006525372
8B887384897133   KEVIN MICHAEL   DOWNING                 OR           90008243848
8B88761348B163   RICARDO         PELAYO                  UT           31015396134
8B887A14341275   LANMARK         CAP                     PA           90014060143
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8B88913182B271   VICTORIA        JOHNSON                 DC           90002251318
8B889151185856   DAVID           RODRIGUEZ               CA           46056221511
8B889983A8593B   MICHAEL         SMITH                   KY           90011259830
8B88B612877537   JOSE            SOLORZANO               NV           90009676128
8B88B726876B65   FERMIN          SANTANA                 CA           90014187268
8B88B78A87B278   GABRIEL         GARCIA                  TX           40520907808
8B88B868A91837   BARBARA         PALMER                  OK           90011318680
8B89176215B581   VICTOR          LOPEZ                   NM           90008997621
8B891827797138   KEN             EARL                    OR           90011168277
8B89343A691525   JOSE            ARZOLA                  TX           90001534306
8B893934877537   FLORENTINA      HERNANDEZ               NV           90013639348
8B89445938593B   GREG            SILVA                   OH           90008584593
8B895758171977   KARINA          RODRIGUEZ               CO           90011467581
8B89634A797B3B   ROBYN RHOADES   GARY STOVER             CO           90007953407
8B8963A9977537   DARLA           ROMICK                  NV           90013173099
8B89884274B22B   CASEY           CAHILL                  NE           90012438427
8B899417972B44   FELIPE          HERRERA-JIMENEZ         CO           90013944179
8B899AA768B168   MANUEL          LEMUS                   UT           31078770076
8B8B153A472B33   JENNIFER        VALDEZ                  CO           90012915304
8B8B168675B183   ANTOINETTE      JOHNSON                 AR           90011066867
8B8B2468251362   KAREN           MURPHY                  OH           90012854682
8B8B2582276B65   KODIE           THOMPSON                CA           90014185822
8B8B356115B27B   MON             SANJEL                  KY           90013015611
8B8B623A176B97   MIGUEL          LOPEZ                   CA           90010302301
8B8B657296194B   ARIEL           SANTARELLO              CA           90008125729
8B8B7888A97133   TABATHA         JONES                   OR           90013298880
8B8B8444291525   CINDI M         MONTEZ                  TX           75078174442
8B8B858365B27B   DAMARIS         RIVERA                  KY           90012885836
8B8B9754672B44   MARK            HAMER                   CO           90012367546
8B911A73693771   DEREK           HOUSTON                 OH           64598210736
8B912173333698   BRITTANY        HARRIS                  NC           90014701733
8B91266328B163   JOSEPH          ROBERTS                 UT           90014906632
8B91289A55594B   STEVEN          HERNANDEZ               CA           90014698905
8B912A2A672B31   CHRISTOPHE      VASQUEZ                 CO           33075040206
8B91352418593B   JEREMY          MAYS                    KY           90003535241
8B916294A97138   NATHANIEL       OWENS                   OR           90014822940
8B91658665B27B   ERICA           RALSTON                 KY           68048555866
8B91695AA6194B   FABIAN          MALDONADO               CA           90008689500
8B917142872B33   DEBORAH         COLLINS                 CO           90001811428
8B917512197138   FERNANDO        GARIBAY                 OR           90013745121
8B91766325B581   RENA            MIRELES                 NM           35083096632
8B917A96191979   JERRICO         ATKINSON                NC           90000410961
8B91856435B183   JOSE            LOPEZ                   AR           90011885643
8B919736A76B97   ISMAEL          RENTERIA                CA           90010417360
8B91975AA55971   LISA            LOPEZ                   CA           90009387500
8B91B866876B97   CARL            HESS                    CA           90013668668
8B921495772B33   BRONWYN         SHAFFER                 CO           90013014957
8B922248891837   SEAN            WILSON                  OK           90014902488
8B922487471977   SELINA          QUINTANA                CO           90014554874
8B92252469154B   LIZZETE         RIVERA                  TX           90013245246
8B923267391837   RICHARD         WINTER                  OK           90004842673
8B92334A35594B   PAYGO           IVR ACTIVATION          CA           90014913403
8B923555A72432   OCEAN           ORSKY                   PA           90014465550
8B9246A3597138   FERNANDO        GALLEGOS                OR           90003426035
8B924A9738B168   JOHN            ALVAREZ                 UT           90014320973
8B92769854B22B   LUIS            ONTIVEROS FLORES        NE           90014816985
8B929462576B97   BRANDON         MARTINEZ                CA           90014174625
8B92B14A631447   SIERRA          MARTIN                  MO           90012451406
8B92B842A71935   BASIL           PHIRI                   CO           32008948420
8B932223297B3B   JOSHUA          MORRIS                  CO           90013392232
8B93256335B183   MARCUS          SANDERS                 AR           90013925633
8B933A6834B22B   CONOLLEY        SHARON MICHELLE         IA           90010510683
8B934361A76B65   MARIA           JARAMILLO               CA           90003193610
8B93642235B356   CANDICE         JONES                   OR           90010604223
8B936451897B3B   DEREK           GEISELHART              CO           90002474518
8B936514A72B29   BRANDON         YANCEY                  CO           90015205140
8B937429876B97   CINDY           ROQUE                   CA           90013964298
8B939377A55971   JASMINE         SIMMONS                 CA           90014323770
8B93964955B27B   TINA            FERRON                  KY           90009086495
8B943879272B33   OSWALDO         RUIZ                    CO           90007248792
8B94532268B154   SHERRIE         VELASQUEZ               UT           31090243226
8B94572A897B3B   JACK            GARNER                  CO           39070817208
8B94593166194B   SALVADOR        BARCENAS                CA           90014399316
8B94666975B183   TAYLOR          LATRISHA                AR           90013996697
8B9469A975594B   JORGE           RIVERA                  CA           90014699097
8B948474471977   DESIREE         HUBBARD                 CO           38016854744
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8B949116472B31   AGUILAR          PAUL                   CO           90011711164
8B951779255971   REGINA           SOLIS                  CA           90004737792
8B953166191975   JESSE            FIELDS                 NC           17067741661
8B954389871935   JUAN             ANTONIO                CO           90008183898
8B956644872496   SARA             TAMSKI                 PA           90004206448
8B958131991525   MARIO            MEDRANO                TX           90005681319
8B95827A872B29   RASHID           ARDALY                 CO           90013152708
8B95855225594B   ALEJANDRO        ESPINOZA               CA           90012895522
8B95961636B234   C                G                      AZ           90013236163
8B95B21986194B   BRENDA           GARCIA                 CA           90010692198
8B961131991525   MARIO            MEDRANO                TX           90005681319
8B96154559154B   JOSE             SAENZ                  TX           90013245455
8B961A1A191894   JORDDEAH         GARRETT                OK           90006850101
8B961A8788B163   NATASHA          CHILD                  UT           31009200878
8B96265225B32B   GARRETT          LEE                    OR           90014786522
8B96355348B168   YOLANDA          GOMEZ                  UT           90013345534
8B96422765B183   TANESHA          METCALF                AR           90014682276
8B964AA394B22B   MANUEL           PEREZ                  IA           90013080039
8B96831A991348   LEWIS            WATSON                 MO           90014513109
8B96896939123B   VINCENT          MILES                  GA           90012369693
8B969979151362   KAYLA            TURNER                 OH           90014879791
8B96B169A5B356   MICHAEL          BAIRD                  OR           90006691690
8B973517A76B44   MIGUEL           BUCLON                 CA           90005525170
8B974A15597133   TAMMY            WEBER                  OR           90010360155
8B97641945594B   KATHRYN          VAUGHN                 CA           90005324194
8B976A4399154B   ROBERTO          LUCERO                 TX           90002380439
8B977817A47897   SHANNA           HARRIS                 GA           90011488170
8B97B683447822   RAFAEL           PENALOZA               GA           90008136834
8B9819AA393771   CHALISA          WHITE                  OH           90011309003
8B98341379154B   MELLIE           GUERRERO               TX           75059754137
8B98465358B154   CISALEE          PEARCE                 UT           90013016535
8B985119376B44   ANGEL            MARTINEZ               CA           90006431193
8B985319331433   JOURDAIN         THOMAS                 MO           90010893193
8B985595455971   JUAN             ASCENCIO               CA           90013395954
8B985764831433   JOURDAIN         THOMAS                 MO           90005967648
8B98658775B375   STEPHANIE        DONE                   OR           90010725877
8B989267391837   RICHARD          WINTER                 OK           90004842673
8B98B235697B3B   JOHN             SOLIS                  CO           90014082356
8B98B362497133   ANDREW           CAYLOR                 OR           90003683624
8B98B433372432   JONATHAN         CORNMESSER             PA           90001634333
8B99132A35B27B   MARISSA          SAVAGE                 KY           90013643203
8B99258988593B   CARL             MORRIS                 KY           90013965898
8B9929A255B338   KELLY            GRANER                 OR           90006619025
8B993254897138   JACOB            WOOLEY                 OR           90010212548
8B99344AA71935   BRIAN            GROSBY                 CO           90010744400
8B993751572B29   JOSEPHINE        CASTRO                 CO           90012837515
8B993866347897   ERICKA           PHARISEE               GA           90009328663
8B994433991894   MELANIE          KRIGBAUM               OK           90009364339
8B994925A8593B   THOMAS           HOLT                   KY           90015119250
8B995683A97133   RENE JUAN        CORTES VAZQUEZ         OR           90012606830
8B9978AA871977   STEPHANIE        VIGIL                  CO           90009958008
8B997A53772496   MEGAN            MIKSAN                 PA           90001770537
8B998851997133   LILIANA          SILVA                  OR           90003698519
8B999712972B29   DEVEN            BROWN-DAVIS            CO           90013357129
8B999969572496   RONALD           DEVAUGHN               PA           90009149695
8B9B1954372496   CHRISGI          HASENFLU               PA           90010529543
8B9B2579572496   JUSTIN           PARKER                 PA           90011095795
8B9B3836172B29   JORDAN           GOMEZ                  CO           90012788361
8B9B44A1241262   CHARLES          CURRY                  PA           90012774012
8B9B5623776B97   ROGELIO          MACHADO                CA           90007206237
8B9B563196194B   MARIO            MENDEZ                 CA           90012186319
8B9B5A4487B425   TRAVIS           ROBERTS                NC           90011260448
8B9B684A771935   ANNY             FLANNERY               CO           90010588407
8B9B7167741275   DEVONA           EDMOND                 PA           51039731677
8B9B7A93591975   NELSON EDUARDO   GONZALEZ               NC           90006380935
8B9B9274255971   ROCCO            COLON                  CA           90011432742
8B9B976295B27B   ADAM             BARR                   KY           90012127629
8B9B98AA697138   FRANK            LEE                    OR           44011018006
8BB11A9434B22B   NECY             JACKSON                NE           90009760943
8BB1245189375B   BROOKE           BENA                   OH           90011854518
8BB1246368593B   JOHN             BRADFORD               KY           90013934636
8BB12631791837   MARVIN           SULLINS                OK           90002956317
8BB13244976B44   CRYSTAL          GARCIA                 CA           90012282449
8BB138A7872B44   JOSE             HERNANDEZ              CO           90015128078
8BB14716261928   SCOTT            FORTIN                 CA           90011717162
8BB1681A772B44   TAMMY            HOGUE                  CO           90013968107
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8BB18749A61934   LUCIANO        CARRERA                  CA           90011687490
8BB189AA247822   JAVESHA        ROUSE                    GA           90014789002
8BB18AA617192B   DEMETRIUS      MCCREE                   CO           32082810061
8BB1B78358B163   JAVIER         GONZALEZ                 UT           90007967835
8BB21363877537   RENDA          JOHNSTON                 NV           90014193638
8BB2215488593B   RICHARD        WHITWORTH                KY           66007261548
8BB22AA6876B44   DARIAN         YORK                     CA           90012220068
8BB251A9847822   NIKKI          SANDERS                  GA           90012941098
8BB2523985B32B   THERESA        EVAN                     OR           90014722398
8BB264AAA84325   AMADO          GONZALEZCATANA           SC           90009474000
8BB2715488593B   RICHARD        WHITWORTH                KY           66007261548
8BB282A9591975   PARIS          BARNHILL                 NC           90011102095
8BB28683384325   RENARDO        COLLINS                  GA           90013146833
8BB28A2A572432   DANIEL         STREETE                  PA           90013480205
8BB3144A572B62   ANGELICA       GONZALES                 CO           90008994405
8BB32693791975   UEN            BAM                      NC           90009846937
8BB33243572B44   ELENA          MONTOYA                  CO           90013942435
8BB33969572496   RONALD         DEVAUGHN                 PA           90009149695
8BB33A61151362   CASAUNDRA      MCKINZIE                 OH           90013940611
8BB3425455B153   TONYA          GRIFFIN                  AR           90014242545
8BB3448A85B581   LARA           NINFA                    NM           90010114808
8BB34517972B62   DAVID          BRITTON                  CO           90011325179
8BB35551176B65   ENEDINA        HERNADEZ                 CA           90008485511
8BB36385272B44   MORALEZ        FRANCES                  CO           33065713852
8BB37129A72432   ARTHUR         DOWLER                   PA           90010881290
8BB3723825B581   MICHAEL        TENORIO                  NM           90014562382
8BB37751561948   ALEX           BEACH                    CA           90007817515
8BB38161847897   SHARQUAVEIA    SMITH                    GA           90012801618
8BB39985385856   SARAH          YALDA                    CA           90009709853
8BB39A7A941275   KIMBERLY       RINEHART                 PA           90014810709
8BB3B42348B163   MARIA          VALDES                   UT           90014924234
8BB41513461934   STEPHANIE      MILLER                   CA           90009185134
8BB4179195B183   ASHLEY         MOORE                    AR           90011327919
8BB41A12391975   LOIS           RICHARDSON               NC           90008700123
8BB42459661971   JOSEFINA       RENDON DE SALAZAR        CA           90002344596
8BB43649376B65   CLAUDIA        HERRERA ALTUZAR          CA           90011646493
8BB43795855971   AIME           RODRIGUEZ                CA           90013037958
8BB45154772432   BRANDON        PETERS-COOK              PA           90014881547
8BB454AA871935   KEVIN          TREACY                   CO           90011994008
8BB45636493771   ANGELA         ROYALTY                  OH           90010856364
8BB46537261928   VALAR          ALEX                     CA           90001665372
8BB47279157122   BRIAN          HILDERBRANDT             VA           90011542791
8BB488A156194B   NANCY          HERNANDEZ                CA           90012348015
8BB4B845176B65   LON            SULLIVAN                 CA           90007598451
8BB5178A393771   CORNELL        AKEMON                   OH           90005327803
8BB53878272432   DESTINY        HOEFLER                  PA           90014648782
8BB5452714B22B   YAOVI          GRUNITZRY                NE           90010625271
8BB54837997B38   MARIA          SOLIS                    CO           39035328379
8BB56A3975B32B   DESMOND        SLOAN                    OR           90014970397
8BB57514391975   TRAVIE         COOLEY                   NC           90014935143
8BB57887991837   STEVIE         WILLIAMS                 OK           90012328879
8BB59241655971   KACIE          CABRAL                   CA           90013132416
8BB59495851531   FATUMA         HERSI                    IA           90014104958
8BB5B215772B33   DANIELLE       GURNEY                   CO           90004762157
8BB6139645B153   DEBORAH        LUTRICK                  AR           90011233964
8BB62236676B44   LAURA          TRUJILLO                 CA           46076912366
8BB62622A8B154   JAVIER         RODRIGUEZ-ALMEIDA        UT           90012046220
8BB62758576B97   RYAN           SCHULER                  CA           46005787585
8BB6375175B32B   ALVIN          MC CLURE                 OR           90002537517
8BB64533233698   CHAQUANDA      LEWIS                    NC           90010805332
8BB6455485B338   BROOKE         BARRETT                  OR           90001665548
8BB64A3678593B   WANDA          REYNOLDS                 KY           90002940367
8BB65781561978   CRISTINA       SOSA                     CA           90005637815
8BB6598525B27B   CHRISTOPHER    GAFFNEY                  KY           90012369852
8BB66727276B97   ANGELIQUE      HOUCHIN                  CA           90013487272
8BB66826A6B932   NATALIE        VITALE                   NJ           90013088260
8BB67712276B44   REGINA         KEITH                    CA           90013117122
8BB67953691975   GERMAN         MENDOZA                  NC           90002389536
8BB6847415B24B   DEBRAIN        FORD                     KY           90013154741
8BB68671A91837   THOMAS         YOUNG                    OK           90010646710
8BB6B162476B65   FRANCISCO      MONTEVERDE               CA           90009671624
8BB6BAAA98B163   MARCIA         CASTILLO                 UT           31006030009
8BB7155A25B356   RANDY          GUENTHER                 OR           90010555502
8BB7259478B154   MARTIN         ARELLANES                UT           31084885947
8BB7441395B183   LEONARD        CASH                     AR           90015214139
8BB76765755971   DULCE          DIAZ                     CA           90013627657
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8BB78284177537   CHANTILY       SMILEY                   NV           90011742841
8BB78762472B33   ROSEMARIE      HINOJOS                  CO           33082737624
8BB79492651362   JORGE          ROLDAN                   OH           90006644926
8BB7B17365B356   HOLLY          HERRING                  OR           90011951736
8BB7B271A5B32B   DAVID          COX                      OR           90014722710
8BB816A2591975   KEITH          WILLIAMS                 NC           90014936025
8BB82261276B65   ALEJANDRO      BEDOYA                   CA           90014162612
8BB82296772432   JAMES          FOSTER JR                PA           90011102967
8BB83AA438B154   LISA           GARNER                   UT           31025800043
8BB85964941262   JEREMY         KIM                      PA           90013959649
8BB85A1896194B   MARIA          DURAN                    CA           90013450189
8BB8794825594B   SUSAN          RIXMAN                   CA           49055359482
8BB88115647897   JOHNNY         PALM                     GA           90013391156
8BB8812299154B   GEORGINA       SAUCEDO                  TX           90013141229
8BB89583672B44   ALBERT         JOHNSON                  CO           90007625836
8BB89A49791525   JESSICA        MEDINA                   TX           75010930497
8BB8B267A6194B   PATY           HERRERA                  CA           90013082670
8BB8B982572B44   GERALDINE      SHULDHAM                 CO           90014839825
8BB9143A471977   BENJAMIN       FAXAS                    CO           90012734304
8BB91554A72432   JENNIFER       CAMPBELL                 PA           90006365540
8BB9273135B24B   JASMINE        GARLINGER                KY           90014767313
8BB949A9991242   RAHSHAN        CRAWFORD                 GA           90011379099
8BB96285972B31   YAZMIN         PRADO                    CO           90013052859
8BB98224741275   AARON          COLLIER                  PA           90014652247
8BB98854393771   SHANTE         JOHNSON                  OH           90008488543
8BB999A9A72B62   COYONE         EVANS                    CO           90014829090
8BB9B927576B44   HECTOR         MARTINEZ                 CA           90005079275
8BBB11A7555971   FERNANDO       VARGAS                   CA           49094211075
8BBB25A8272B29   GARY           RODRIGUEZ                CO           90009215082
8BBB323678B163   CARLOS         ERAZO                    UT           90014532367
8BBB334585B153   DORIS          MAYCOCK                  AR           90010563458
8BBB3622555971   BRITTANY       BARTON                   CA           49096816225
8BBB3821276B97   CRISTINA       GONZALEZ                 CA           90012178212
8BBB451A85137B   ANNAF          CARTER                   OH           66093845108
8BBB5712733698   BLOSSOM        PEREZ                    NC           90013087127
8BBB6848497B3B   LINDSEY        DELP                     CO           90011848484
8BBB68A9A4B22B   NICHOLAS       COMBS                    NE           90014648090
8BBB7545551362   CARL           BEHANAN                  OH           66044945455
8BBB82A2461934   JULIUS         YOUNG                    CA           90007022024
8BBB835895B27B   MELODY         KEITH                    KY           90013583589
8BBB85A3176B65   MARITZA        ARELLANO                 CA           90013955031
8BBBB781876B97   ROMEO          GOMES                    CA           90000827818
911126A7181634   DAVE           DICK                     MO           90011186071
911137A3293756   DARREN         WHITE                    OH           64591837032
91116693A4B588   TRENIA         MORTON                   OK           90008776930
9111763835B531   RANDY          NELSON                   NM           35058026383
9111838372B25B   DEBBIE         OSBORNE                  DC           90008893837
9111869555B371   CANDICE        BARRAZA                  OR           90002226955
9111933125B548   ROCKY          WYNN                     NM           90011413312
9111B82474B554   DANYELLE       MINTER                   OK           90003668247
91122A15791599   COLE           ETHERIDGE                TX           90014270157
91123577972B56   YOLANDA        COSIO                    CO           33018435779
9112473892B27B   DEREK          KITTRELL                 DC           90012787389
91126451172B62   BRIANN         RODRIGUEZ                CO           90007814511
91128293A7B49B   GRUBER         BARTOLON                 NC           11011112930
9113234247B444   KUKOR          THOMPSON                 NC           11054903424
91141339A72B62   KIMBERLEY      HALL                     CO           90010313390
9114225713B381   JOSE           DELGADO                  CO           90006382571
91142A14461977   RAUL           NEGRON                   CA           90014850144
91144163472B32   JAMES          QUINTANA                 CO           90012871634
91144244472B62   MARISOL        VASQUEZ                  CO           90013672444
9114846565B371   DON            NOWELL                   OR           90014484656
9114B53757B444   ANA            FUENTES                  NC           11049775375
9114B939561977   ANTHONY        ESTEVES                  CA           90011299395
91151811A72B62   MUTE           LONG                     CO           90012918110
9115422A872B56   JOSE           MENDEZ                   CO           90012772208
91155186A31661   VARIA          DUNCAN                   KS           90005921860
91156A6A993755   ALLEN          LEE                      OH           64546440609
91157223372B56   STEVEN         MORALES                  CO           90012772233
911573A7661977   DAISY          BARAIRI                  CA           90010073076
91158331572B56   JOSE MANUEL    DELGADO                  CO           90013963315
91158A31191944   ANJELICA       RICE                     NC           90011390311
9116137738436B   TESIA          EDGERTON                 SC           90013983773
91162A52181634   ANDRE          ROBINSON                 MO           90001010521
91162A62472B32   SARAH          MIDDLEBROOKS             CO           90015060624
9116365A691599   CHRISTOPHER    HOLMES                   TX           90010406506
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9116717A272B42   ROBLERO        DIAZ                     CO           90013741702
9116B55AA91399   ADAM           FRANKLIN                 MO           90011575500
9116B835693767   TAMARA         DAVIS                    OH           90001688356
9117136964B588   CHRISTIE       BRADLEY                  OK           90014343696
9117149713164B   YOANNA         CASTILLO                 KS           90014274971
911728A9855951   LUPE           RANGEL                   CA           49013158098
9117347A43164B   SAMANTHA       MILLS                    KS           90005154704
91183951A91882   LORA           GOLAY                    OK           90014789510
9118697A685689   YASMIN         ORELLANA                 NJ           90004859706
9118722634435B   MERISOL        BELASQUES                MD           90013932263
9118727A981679   DAVID          MARTINEZ                 KS           90009602709
911896A7561977   DANIEL         ZEPAHUA                  CA           90007476075
91191768972B3B   JERARDO        SOEDAD                   CO           90009107689
9119284528B175   CLIFFORD       SHARP                    UT           90013798452
9119652AA91944   TONY           BAKER                    NC           90012745200
9119692324B554   JUSTINE        WRIGHT                   OK           90014739232
91196AA934B949   TATYANA        CHAMBERS                 TX           90011030093
9119764154B554   LUZ            ZAMBRANO                 OK           90011286415
91197A68385689   MARI           CRUZ                     NJ           90014700683
9119B251361979   MELINA         TEC                      CA           90000372513
9119B8A7972B3B   KEVIN          HANSON                   CO           90012898079
911B1874A5B371   TYLER          HAYES                    OR           90013308740
911B2324193756   APRIL          COMBS                    OH           90009763241
911B3226791532   JOSE           MONTOYA                  TX           90010212267
911B4617385689   ALBERTO        RAMIREZ                  NJ           90014086173
911B4678993756   CHRISTOPHER    BENTON                   OH           90010146789
911B5594991944   DARLENA        HOOD-WRIGHT              NC           17046225949
911B6317791882   SHAWN          HOSEY                    OK           90014783177
911B6579291521   MARK           MARTINEZ                 TX           90013635792
911B9814672B62   CHARIFA        WIMBUSH                  CO           90013258146
911BB264785689   ALEJANDRA      OSORIO                   NJ           90014662647
91212A2A65B548   JOANNA         CONJURSKE                NM           90002180206
91213613A2B27B   ENRIQUE        BARRERA                  DC           90010536130
9121461252B27B   TIERRA         SIMMONS                  DC           90011266125
91215A8474B554   MARGUERTITE    POLLOCK                  OK           90012400847
91215A94785689   JACINTO        GARCIA                   NJ           90014700947
91218198672B43   MARIA          CALDERON                 CO           90006801986
9121928395B383   DAN            MCNATT                   OR           90012822839
91221442572B32   GENIFER        MONAHON                  CO           90012274425
9122768365B531   NICOLE         TRUJILLO                 NM           90014346836
91228A59785689   ANDRES         MARTINEZ                 NJ           90014460597
91228AAA65B531   ISMAEL         BENCOMO                  NM           90013310006
9122928675B367   CHARLOTTE      JOHNSON                  OR           90010242867
9123131984B554   VANESSA        NICHOLSON                OK           90014813198
9123333855B531   CAROL          BENCOMO                  NM           90009293385
91234111972B62   STEPHEN        SANDOVAL                 CO           90005551119
9123459945B383   CAHLENA        OPOIEN                   OR           90014105994
91234A7515B548   TANYA          SEDILLO                  NM           90010770751
9123827458436B   NAKITIA        GADSDEN                  SC           90013342745
9123863A855951   AARON          CLARK                    CA           90013956308
9123B296685689   JOEL           JIMENEZ                  NJ           90014042966
912417A7372B42   GERALDINE      VALDEZ                   CO           90013117073
912426A164B949   ASHLEY         BEAVER                   TX           76583066016
9124583744B949   JESSICA        DUMAS                    TX           90009928374
9124627835B371   HEATHER        HERNANDEZ                OR           90011752783
9124753285B531   CARLOS         BERMUDEZ                 NM           90007895328
91251117272B32   STACY          LITTLE                   CO           90012271172
91251228A7B444   SINDY          GUCEDA                   NC           90012962280
91251A21561977   SILVIA         SILVA                    CA           90011700215
91251A41872B32   BRUCE          WILSON                   CO           90006440418
91252A33A4B554   YANI           MENDOZA                  OK           90011290330
9125369233164B   DARYL          JAMES                    KS           90009216923
9125473954B588   SANDI          TAYLOR                   OK           21567417395
9125941A772B62   JOHN           CUTHBERTSON              CO           90010744107
9125957A491882   CORNEQUA       FINCH                    OK           90014785704
9125B635693755   LATAMARA       MALONEY                  OH           90009586356
9126137A361979   IMELDA         PUNCE                    CA           90007473703
912624A654B554   ELEXIS         HARRIS                   OK           90013944065
9126284452B27B   PAULA          WOOD                     DC           90012918445
912629A939B185   CHRISTOPHER    STANTON                  AR           90014679093
912674A5691521   ADRIANA        JASSO                    TX           90011464056
9126956968436B   JOHN           PRITCHARD                SC           90014875696
91269A8784B554   SIERRA         MARTIN                   OK           90011290878
9127187A436148   SHMEKA         GAGE                     TX           90001848704
91271A8784B554   SIERRA         MARTIN                   OK           90011290878
9127287A436148   SHMEKA         GAGE                     TX           90001848704
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91273418A55951   RAMONA          RANGEL                   CA          90014574180
9127362125B548   EVA             HERRERA                  NM          35073056212
91274374772B56   GEORGE          GARCIA                   CO          90011063747
91278A5928B181   HEAMONI         TAHI                     UT          31030080592
9127941964B554   BRYAN           ROBINSON                 OK          90013944196
912795A4291521   BARBRA          MUNOZ                    TX          90014405042
91279A1A322937   MARINO          DIAZ                     GA          90013980103
91279A34785689   CINDY           VICKERS                  NJ          90013820347
9127B58435B548   SHARON          HERNANDEZ                NM          90014875843
9127BA1715B371   OSCAR           HERNANDEZ                OR          90013090171
91282A51672B56   THOMAS          GIGOT                    CO          90013950516
9128577964B949   LEONARD         SCYPION                  TX          90013817796
91289297A91399   CLAUDIA         RODRIGUEZ                KS          90013562970
9128B6A3555951   LLALYY          RODRIGUEZ URZUA ROBLES   CA          90004736035
9129115775B383   JOVITA          TAMAY                    OR          90013801577
9129156635B54B   MONICA          WHITMORE                 NM          90014485663
912926A855B383   JACK            ETIER                    OR          90011056085
9129323548436B   VANESSA         BRADHAMS                 SC          90013042354
912934A2572B42   CARRIE ANN      NINA                     CO          90013614025
91293514872B32   STEVE           SMITH                    CO          33016975148
91294819A81634   JESUS           LIMAS                    KS          90010458190
91294821A8B181   STACY           ROBERTS                  UT          31096208210
9129484788B175   SHARRON         SANTANA                  UT          90012938478
912982A7355951   ANISHA          KAUR                     CA          90012772073
912B249435B548   LUPE            REYES                    NM          90012784943
912B2652881635   TRISTAN         LANE                     MO          90010126528
912B296298B175   FINAU           HEATHER MAREE            UT          90006549629
912B317A672B43   DILLON          RITCHEY                  CO          90006801706
912B497885B383   DANIEL          COOK                     OR          90009279788
912B6346372B62   JACOB-RANDALL   MAYHEW                   CO          90010953463
912B6646593755   JAMIE           BUSSARD                  OH          90011116465
912B6891191599   MARTHA          RAMOS                    TX          90004708911
9131194125B531   ERICA           MANFRE                   NM          90005379412
91312A84833698   DELILAH         SPEARS                   NC          90012300848
9131313A672B3B   ELIZABETH       KENNEDY                  CO          33056331306
9131372895B531   MELISSA         GUTIERREZ                NM          35059747289
9131542A361977   JOHN            NEMEC                    CA          90014904203
9131616344B588   LEXUS           TAYLOR                   OK          90001821634
9131724145B531   RICK            VAPARIS                  NM          90013982414
91319992872B56   JESUS           SANCHEZ                  CO          90011749928
91321932372B3B   TASHIANA        C ROBINSON               CO          33013819323
91323A55455951   FRANSICO        MUNOZ                    CA          90012640554
9132493928B149   AMANDA          R WOODS                  UT          90010779392
9132557745B531   LETICIA         RUIZ                     NM          90014635774
9132574215B531   LETICIA         RUIZ                     NM          90010187421
9133163345B383   KYLE            STOKER                   OR          90013386334
9133561685B371   ALICIA          HOLT                     OR          90011756168
9133711887B444   KIERRA          GLEATON                  NC          90013111188
9133B42318B175   ECHO            AUSTIN                   UT          90010794231
91345219972B3B   CHARLOTTE       MARTINEZ                 CO          90013062199
91346A1755B371   BASIL           RATHBONE                 OR          90011880175
9134767562B27B   LAKIERA         SPICER                   DC          90012536756
9134794334B554   ANDRIA          COLLINS                  OK          90013339433
9134973615B548   YOUNG           SWAGGA                   NM          90012167361
9134B555791882   EDITH           PEREZ                    OK          21059355557
9134B789281635   CHRIS           PERRILLI                 MO          90013097892
91354A85972B56   DEVON           PATTERSON                CO          90013950859
91355631A72B42   GUS             MARTINEZ                 CO          90005316310
9135597798B175   MICHAEL         HIRTZEL                  UT          90014229779
91359A5395B371   MEBRAHTU        KIDANE                   OR          90009650539
9135B55744B588   SALVADOR        BOLANDIOS                OK          90010925574
9135B671972B62   CLAUDIA         ESTRADA                  CO          90015166719
9135B98378B194   NANCY           SPENCER                  UT          90014059837
9135BA9AA72B62   KIMBERLY        GALLEGOS                 CO          90013120900
91363553972B42   JEREMY          LEE                      CO          90013325539
9136414885B548   CELINA          MARTINEZ                 NM          35093051488
91365111872B62   LYDIA           BALERIO                  CO          33023931118
9136529A955951   TARA            BRESHEARS                CA          90007872909
9136791A94B554   KIELA           HOWARD                   OK          90004709109
9136818554B554   STHEPHANIE      CARLILE                  OK          21588531855
9136838135B383   TREVON          OLIVER                   OR          90009763813
91368954A4B588   ELISA           RAMIREZ                  OK          21565979540
91368A9AA72B62   KIMBERLY        GALLEGOS                 CO          90013120900
9136B339172B32   DAISY           ROJAS                    CO          90013243391
9137111887B444   KIERRA          GLEATON                  NC          90013111188
91374785A81635   CAROLINA        DUNCAN                   MO          90014087850
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91375368A72B3B   MINERVA        BARRIOS                  CO           90004833680
9137565A34B554   NOE            SANCHEZ                  OK           90013946503
91375A4A393756   JOSH           PARSONS                  OH           90009450403
91375AA6177537   MARIAH         CHESS                    NV           90003430061
9137986672B254   DELONTA        BERKLEY                  DC           90008238667
9137B16A685689   JASIEL         FLORES                   NJ           90014421606
9137B499472B43   JESSICA        MACIAS                   CO           90006804994
9137B63634B554   ALEX           REYES                    OK           90013946363
91384841A8436B   WILLIAM        GASTON                   SC           90008968410
9138B28A391944   SHABRINA       STREETER                 NC           90012432803
9138B593872B32   JAVIER         GUTIERREZ                CO           33043375938
913941A7193769   SANDRA         MCCLURE                  OH           90009061071
9139519392B824   KENRICK        LEHMAN                   ID           90010391939
91395332872B42   DARIEN         DONELSON                 CO           90013123328
9139558A772B42   ALICIA         SENA                     CO           90014775807
91398A26241296   ASHANTE        WILLIAMS                 PA           90011050262
9139B525372B43   MARIBEL        BANUELOS GONZALEZ        CO           90006805253
913B145424B554   ROBERTO        CAMACHO                  OK           90013944542
913B16A388436B   CHARLMAINE     THOMPSON                 SC           90013326038
913B2641991951   CHRISTOPHER    TURNER                   NC           90013226419
913B3A9493164B   MAYKAYLA       BOWEN                    KS           90008390949
913B5221191951   DARNELL        BOONE                    NC           90012102211
913B5749791399   MARCELAA       RODRIGUEZ                KS           90003057497
913B5786A72B62   MARIBEL        AVILA                    CO           90013777860
913B8156A7B481   SABRINA        HARRIS                   NC           90007411560
913B9427261977   ANTWINE        HINSON                   CA           90012954272
913BB238872B62   HANNAH         BAKER                    CO           90012962388
913BB865672B3B   MELISSA        JOSS                     CO           90009818656
9141161715B371   FRANCISCO      PEREZ                    OR           44504816171
91413A43261979   NESSA          ABENY                    CA           90008190432
9141417A661927   IVAN           ALCALA                   CA           90012491706
9141431418B175   SHELLEY        YOUNG                    UT           90013873141
914221A3833698   BUDDY          BENNETT                  NC           90012101038
9142335265B371   RICHARD        NORLIN                   OR           90013033526
9142375972B245   LATISHA        GOLDSMITH                DC           90005797597
9142424894B588   VONDA          MULLIN                   OK           90011892489
91424684A93755   CHANPELL       MORGAN                   OH           90013386840
91424A93681634   ISAK           CARILLO                  KS           90010010936
9142521A55B531   SUGAR          MARIE                    NM           90012232105
9142684A14B588   AMORIM         ESTELAMAR                OK           90010258401
9142967464B554   LUV            NEDIL                    OK           90011296746
9142B87835B371   BRIAN          CORBIT                   OR           90014198783
9142B955972B32   DION           DAVIS                    CO           90013529559
91433A62785689   TROOP          SEGERS                   NJ           90010110627
91434A42A2B248   TAKESH         WILKINS                  DC           90001460420
9143668485B548   SHIRLEE        BACA                     NM           35005586848
91437832A41296   DENISE         ABRAMOVITZ               PA           51011748320
914379A8181634   MARIO          GARCIA                   MO           90012939081
91438162772B56   ERIKA          OVERHAUSER               CO           90011751627
914386A8351342   CHRISTINA      SHARP                    OH           90006996083
9143934395B371   TIFFANY        PIROVVI                  OR           90011763439
9143B886A4B554   MARK           JOHNSON                  OK           90013948860
914415A7881638   TASHENA        CHASE                    MO           90009335078
91442115A91599   LUIS           URANGA                   TX           90013341150
9144263962B27B   KENNETH        THORNTON                 DC           90014916396
9144265A961977   JAHMILAH       ROSS                     CA           90010396509
914429A5333698   PON            SCOTT                    NC           90010879053
91444A61191951   KANISHA        LANGSTON                 NC           90000400611
914456A8472B43   RYAN           WILSON                   CO           90006806084
9144584297B444   DERISHA        BALDWIN                  NC           90010538429
91445A65A5B371   TODD           LUTTRELL                 OR           44586970650
914464A9172B3B   MAURA          MCGARY                   CO           90012434091
91448AA3691599   CRISTIAN       RODRIGUEZ                TX           75012050036
9144B135472B56   PAUL           ARCHULETA                CO           90011751354
9144B144291399   FABIAN         JUAREZ                   MO           90005171442
9145158195B548   JAMES          ADAMS                    NM           35074395819
914521A9272B56   KEITH          THOMAS                   CO           90013951092
91453A54433698   TIFFANY        WALL                     NC           90013740544
91455533572B62   FOREST         FORCEMEN                 CO           90013395335
914564A754B949   YESENIA        GONZALES                 TX           90010934075
91456664772B56   LARRY          FERNANDEZ                CO           90012606647
9146197214B588   RICHARD        GOMEZ                    OK           90010789721
91461A58691944   KYRA           BEATTY                   NC           90013550586
91463841972B42   FRANCISCO      CAZARES                  CO           90014498419
9146414624B581   MARCUS         SATTARELLA               OK           21543141462
91466287272B62   ARMANDO        EQUIHUA                  CO           90013932872
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9146638855B548   KOREY          ROBLES                   NM           90013083885
91467639172B32   MARK           PRENTISS                 CO           90010206391
91467992A5B383   BYANCA         TAMAURA                  OR           90014599920
9146926694B949   AMY            CAMBELL                  TX           76544522669
9146971965B531   DANIELLE       VELAZQUEZ                NM           90013857196
914711A1185689   ANGEL          COLON                    NJ           90003121011
9147183674B949   TAKELA         JACKSON                  TX           90010938367
9147189455B54B   DOMINIC        VIGIL                    NM           90014028945
9147224A991599   MARTA          HERNANDEZ                TX           75082082409
9147284744B554   NIHELA         BRAZILLE                 OK           90011298474
91473923A93755   ASHLEY         PERRY                    OH           90007359230
91474135A85689   ANGELICA       MERCADO                  NJ           90011161350
9147453577B49B   CYNTHIA        SPRINGSTEEN              NC           90005975357
9147741A681635   JONNAE         JOHNSON                  MO           90005764106
9147B83734B554   SHAKARIA       LOGAN                    OK           90011298373
9147BA23A2B981   ELIJAH         PODIELSKI                CA           90011790230
91482949872B42   JOSIE          CHACON                   CO           90013689498
9148388A14B554   BRITTANY       LITTLE                   OK           90011298801
9148448A177537   KAMREN         DELMARCO                 NV           90012054801
9148775572B27B   LATARSHA       PROCTOR                  DC           90014267557
91488A44391944   SHATAYA        CONLEY                   NC           90012070443
91489626A61977   ALAN           CALDERAS                 CA           90013346260
9148B44238B175   LESLIE         LUJAN                    UT           90010934423
91491293672B42   DAVID          DANGREMOND               CO           90010592936
91494671376B87   PABLO          BESSERA                  CA           90014186713
91495542372B62   MONIQUE        KELLER                   CO           90013055423
91496A5794B588   SAMANTHA       HITCHINS                 OK           90011200579
9149713A791944   KELLY          BROADHURST               NC           90001881307
91497158872B32   MATTHEW        TRIPP                    CO           90013171588
914986A7491579   MIGUEL         RIVERA                   TX           90001816074
91499328A5B371   DEBBIE         TABBAH                   OR           90006663280
91499A27461977   DAVIS          WALTERS                  CA           90010770274
914B1193A85689   LINDA          DAWSON                   NJ           90013351930
914B11A242B981   AMY            BUFFER                   CA           45093481024
914B23A9472B33   ANGELA R       WATKINS                  CO           90014163094
914B373742B27B   CIERRA         JOHNSON                  DC           90014777374
914B411A791521   CHRISTINE      MASSSO                   TX           90011321107
914B487254B949   LEYANNE        PEREZ                    TX           90011148725
914B5757691882   MORGAN         MAYFIELD                 OK           90009777576
914B577364B554   CESARIO        SALAS                    OK           90013947736
914B5875393755   CHAD           MASON                    OH           90013518753
914B63A955B383   ISRAEL         CORTES                   OR           90013963095
914B7534461977   JOSE           JUVENAL                  CA           90013985344
914B8429555951   GILBERT        ARTIAGA                  CA           90013574295
914BB74378436B   CHAD           RAINEY                   SC           90013147437
914BB97494B554   DEAN           GLIDEWELL                OK           90011569749
9151162825B371   AZEB           HAGOS                    OR           90011766282
915134A922B27B   TYERRA         VEREEA                   DC           90005224092
9151393A955951   CASSIE         CASTILLO                 CA           90005739309
91515A5694B554   DWAIN          WHITE                    OK           90015170569
91516149272B3B   JESSIE         BENOIT                   CO           90014091492
91516355A72B56   LACEDRIC       STEPHENSON               CO           90014093550
9151999812B981   LEON           CAMARA                   CA           90011799981
9151B137285689   MARCELINO      HERRERA                  NJ           90011231372
915213A1181634   CHRISTINA      THOMAS                   MO           90014893011
915223A8472B62   RODRIGO        CARNALLA                 CO           90009143084
915257A215B383   REGULO         PEREZ                    OR           90001517021
9152748585B523   ODWELL         GREEN                    NM           90012474858
9152795A48596B   CURTIS         BRITT                    KY           90008109504
915292A7155951   JOSE           CABRERA                  CA           90011242071
915311A7A4B554   MARYCRUZ       VELASCO                  OK           90013951070
91532A89372B3B   REYDESEL       MIRAMONTES               CO           90012680893
91534717972B42   JUAN           FERNANDEZ                CO           90008677179
9153782A293756   ASHLEY         HARRIS                   OH           90014758202
9153833862B27B   MARTIN         PETTY                    DC           81009363386
9153845714B949   WILLIE         HARRIS                   TX           90003144571
91539319972B32   ANDRES         RAMOS                    CO           90014753199
9153B32383164B   GAIL           HART                     KS           90004163238
9153B53577B444   DARELL         ZAMORA                   NC           90014075357
9153B754785689   JOSE           ALAVEZ                   NJ           90015037547
9154284245B152   KIM            SAMS                     AR           90014658424
915434A945B383   TERRY          CHI-EUAN                 OR           90013534094
91543818572B62   SAL            GOMEZ                    CO           33094118185
9154442A761979   LORAH          VALADEZ                  CA           90010874207
915471A8991521   MAGDA          ARGUELLES                TX           75011031089
91549939672B42   ALFREDO        RODRIGUES                CO           90009879396
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91551648A5B383   SHANE          MILLER                   OR           90013446480
9155255294B588   LETRICE        DAVIS                    OK           90003315529
9155911938B175   SANDRA         FRANCO                   UT           90013731193
915627A9455951   REGINA         ZAMORA                   CA           90013087094
915631A175B531   ERIC           SANCHEZ                  NM           90014331017
915638A965B371   ENOCH          ESCALERA                 OR           90011768096
915654A3472B62   EVANGELINE     BENAVIDEZ                CO           90014504034
915693A6261979   KARLA          VAZQUEZ                  CA           90010563062
9156B98524B949   LUCILLE        WASHINGTON               TX           90011089852
91571637A72B3B   ROXANA         SANCHEZ                  CO           90010006370
91572134A72B3B   MICHAEL        SIAS                     CO           33013281340
9157281364B949   JOANN          CANDELARIA               TX           90011168136
9157364A791599   LUIS           AGUILAR                  TX           90010276407
91575A18991521   KELLIE         MOORE                    TX           75052570189
91576167872B56   STACEY         BURDIK                   CO           90013951678
91576799A91599   NORMA CHAVEZ   GONZALEZ                 TX           90008817990
91576A3655B383   VIOLETA        PALMA                    OR           90013800365
9157815A433698   KEYONNE        HORNE                    NC           90010361504
9157B49365B383   PAUL           LESNIAK                  OR           90010794936
9158144412B821   JESUS          LOPEZ                    ID           90014224441
91582156A72B56   BLANCA         CASTRO                   CO           90013951560
9158215725B371   JOE            FILER                    OR           90012481572
91583841A55951   LISA           ALVAREZ                  CA           90005698410
91583A68291599   LINDA          CHAPARRO                 TX           90012330682
91584954972B32   KIMN           RICHMOND                 CO           90001499549
9158688415B371   JESSICA        GARCIA                   OR           90011768841
9158821564B554   CHRISTOPHER    JACKSON                  OK           90011642156
915885A7491944   JONATHAN       WEBMAN                   NC           90014545074
9158B629172B62   BLANCA         HERNANDEZ                CO           90012306291
9159389875B371   PAUL A         DELLAROSA                OR           90011768987
91594739372B42   EDDIE          HERRERA                  CO           90013127393
9159782A15B371   JUAN           GUERRERO                 OR           90013568201
9159926512B27B   CARLITA        BRADSHAW                 DC           90011272651
9159B1AAA4B949   DERRICK        HINKSTON                 TX           90010991000
9159B842191951   TAMARA         DUKE                     NC           90013928421
9159B99A591599   ROXANNE        RODRIGUEZ                TX           90012589905
915B1121572B56   YVONNE         PHAM                     CO           90013951215
915B1521633698   KIMBERLY       CHEEK                    NC           90009055216
915B1A69A4B949   CALVIN         WALKER                   TX           90000830690
915B334867B444   JASWANT        SINGH                    NC           90013063486
915B4455291599   ISAAC          ELIAS                    TX           90010854552
915B4637991532   LUIS           SOLIS                    TX           90009876379
915B6497972B32   ANTONIO        ARCHULETA                CO           90013014979
915B6619991944   ARTURO         ROBLERO                  NC           90006316199
915B8429272B87   ANGELA         JOHNSON                  CO           90012744292
915B856A78B175   LISA           LEASY                    UT           90010795607
915B8944A93755   HEATHER        ALSEPT                   OH           90013769440
915BB35435B371   DANIEL         TEATER                   OR           90013033543
91611173172B56   YANES          GARCIA                   CO           90013951731
916143A4681635   CHRISTOPHER    PARKER                   MO           90013553046
9161754917B444   DONNIE         CARR                     NC           90014175491
916184A592B27B   STEVEN         FOSTER                   DC           90015004059
9161B46864B588   CARLOS         CABRERA                  OK           90012514686
91621177A72B56   IRENE          CARRILLO                 CO           90013951770
9162159474B554   TAMALA         YOUNG                    OK           90011715947
916225A5785689   SAUL           VARGAS                   NJ           90013485057
91624395A2B27B   LINDA          BETHEA                   DC           90012153950
916276A815B383   LESLIE         LUVIANO                  OR           90002266081
916283A5855951   MACY           DEE                      CA           90011243058
9162B2A1291951   JUAN           CRUZ                     NC           90013092012
9163385668B175   JULIE          ROSO                     UT           90010668566
91633A7A941296   KIMBERLY       RINEHART                 PA           90014810709
9163762AA72B3B   HECTOR         VARELA                   CO           90013006200
91637711372B62   SARITA         BHANDARI                 CO           90011387113
916397A4591599   CLAUDIA        LEDEZMA                  TX           90000307045
9163B599391882   JEREMY         JUSTICE                  OK           90014795993
9163BA83991882   ANDREA         GAGE                     OK           90011500839
91641425772B42   JASON          WELLS                    CO           90013124257
91642515A72B56   TONY           GARCIA                   CO           90014005150
9164485248B447   BRIANNA        DESMORE                  VA           90014038524
916484A8481634   PAYGO          IVR ACTIVATION           KS           90010974084
91648588A4B554   OSMANDO        MALDONADO                OK           21589005880
91649275472B56   JANETH         TEJEDA                   CO           90012772754
916498A9591882   DEREK          PENDERGRASS              OK           90006908095
9164B44995B531   JESSICA        CHAVARRIA                NM           90011084499
9165257A581635   NICHOLE        DIGGS                    MO           90010695705
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9165564775B371   NANCY          JIMENEZ                  OR           90013346477
916557A8191944   FRANCHESA      DUNMEYER                 NC           90011807081
91657464972B56   EDWARD         MARTINEZ                 CO           90013984649
91659994A93769   KIM            HONEYCUTT                OH           90011879940
9165B333591944   JOHN           MARSHALL                 NC           90013223335
9166229332B27B   LATOYA         BROWN                    DC           90011272933
9166426AA33698   DERRICK        HESTER                   NC           90014992600
916667A6261977   EVARISTO       HERNANDEZ                CA           90001997062
91667A35691521   MARIA          ACEVES                   TX           75066790356
91669348A91521   JUAN CARLOS    NEVAREZ                  TX           90011563480
9166947A233698   ZULEIMA        CASTILLO                 NC           90010394702
91669A14255999   ROSALVA        ROSALES                  CA           90015070142
9166B74A641296   JOSHUA         RIVERA                   PA           90010787406
91671446172B42   CINDY          CASTENEDA                CO           90013124461
91671657A91951   ASONTE         ROSHELLE                 NC           90010826570
9167286895B383   FATMATA        SESAY                    OR           90014478689
9167352854B588   HEATHER        MURRAY                   OK           90009045285
91676199472B56   AMBRIA         ARCHAMBAULT              CO           90013951994
9167657714B563   E DA           TAN                      OK           21512025771
9167BA2A772B62   BRIAN          RIGDON                   CO           90012080207
9167BA52A72B56   JOSEPH         RUSSO                    CO           90001910520
9168364315B531   ALEJANDRA      LUEVANO                  NM           35091166431
9168585A14B249   ASHLEY         BEARCE                   NE           90009128501
91685A55191599   DANIELLE       TOCARRA                  TX           90013290551
9168644592B27B   DESIREE        LAWLEY                   DC           90013934459
9168939A193756   FREDERICK      SNELLING JR              OH           64503503901
9168B277372B56   BLANCA         ORDONEZ                  CO           90012772773
91692593A8436B   MAVIS          SCOTT                    SC           90014935930
9169441255B371   MAGDALENA      PASCUAL SEBASTIA         OR           90005904125
916964AA391399   LOTRICE        JOHNSON                  KS           90010344003
9169793328B175   TARA           TRATOS                   UT           90014589332
9169B348741296   KELLI ANN      WILLIAMSON               PA           51085283487
9169B535A91521   JAIME          RODRIGUEZ                TX           90013985350
9169B839391521   JAIME          RODRIGUEZ                TX           90012938393
9169B966421832   SKY            ARRIOLA                  MN           90014109664
9169BA87291599   GRACIELA       ROJA                     TX           90014520872
916B1745191599   ADELINA        GONZALEZ                 TX           90013397451
916B174A291599   ADELINA        GONZALEZ                 TX           90001817402
916B252415B548   BLANCA         RODRIGUEZ                NM           90007605241
916B4317185689   EUSEBIO        GONZALES                 NJ           90014813171
916B4854351342   JOHN           SPANYER                  OH           90015048543
916B4896461977   JOSE           LUIS                     CA           90014578964
916B7293351342   ANTHONY        JONES                    OH           90011902933
916B819AA4B554   SAMIR          AL-QAISI                 OK           90014961900
916BB525677537   JAMES          NARROMORE                NV           90011495256
916BB73297B444   MICHAEL        WILLIAMS                 NC           90011607329
9171151285B531   PRECIOUS       SERNA                    NM           90009925128
91714315A93756   SEAN           FLATTER                  OH           90011113150
9171612723164B   BRENDA         RUIZ                     KS           22005871272
91716A4974B554   MICHAEL        MEEH                     OK           90011720497
9171925264B588   TAMMY          BARR                     OK           90008482526
91721456372B42   CEON           SHAVERS                  CO           90013124563
9172323A92B27B   ANNA           QUEEN                    DC           90012402309
91729876A93721   LYNETTA        ROBINSON                 OH           90008628760
9173111A755951   ALMA           LOPEZ                    CA           90013291107
91733943A2B27B   MARIA          RODRIGUEZ                DC           90012149430
9173558445B371   DAVID          PETTRY-HOLTON            OR           90010885844
91736684672B42   ERIC           JOHNSON                  CO           33095486846
917372A9972B83   GARY           PATTERSON                CO           90012152099
9173736A185689   JEANETTE       RIOS                     NJ           90014213601
917391A9655951   MAYNOR         CARIAS                   CA           90013971096
91739924472B3B   JOSEPH         GONZALEZ                 CO           90012799244
917399A3385689   ROSALIA        CRUZ                     NJ           90013939033
9173B9A648B175   CYNTO          CONTRERAS                UT           90013899064
9174224A391521   VERONICA       QUINONEZ                 TX           75011352403
9174329733164B   LACI           BROOKSHER                KS           90013932973
91745346A91882   FERNANDO       HERRERA                  OK           90014803460
9174743447B444   JOSE           ALEMAN                   NC           90005124344
9175121937B444   AMELIA         GOSS                     NC           90014572193
91754135A72B62   ERNESTO        HOLGUIN                  CO           90002381350
9175574865B371   TIM            BARNES                   OR           90011777486
91756217972B32   JOHN           MCNEELY                  CO           33026262179
9175684934B554   JOSH           SERRANO                  OK           90013968493
9175899514B554   JONATHAN       FERNANDEZ                OK           90009499951
9175999678436B   ESSENCE        NOLE                     SC           90011309967
9175B251485689   DULCE          HERNANDEZ                NJ           90013162514
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9175BA76272B42   MARIA            REYES                  CO           90014980762
91761A42477537   EUGENE           WYANT                  NV           90007640424
917628A814B588   CHARLES          CHANDLER               OK           90013958081
9176443822B27B   IAM              SIMS                   DC           90011274382
9176518854B588   VERONICA         CERDA                  OK           90013371885
9176B25A333698   FLORA            CLARK                  NC           90014862503
9176B564272B62   JESSICA          GONSALEZ               CO           90010345642
9176B646991882   LINDA            WISE                   OK           90003736469
9177473962B27B   TYRONE           DORSEY                 DC           90013087396
9177652A84127B   JIMMY            MANN                   PA           90010395208
9177854834B949   BRANDON          JORDAN                 TX           90009025483
9177883165B371   DENISE           COX                    OR           90015128316
91778A4295B548   CHRIS            HERRERA                NM           90014640429
9177B218791944   SCHARELL         LOLITHA WILLIAMS       NC           90014922187
9178153814B554   ROBERTA          RAMIREZ                OK           90013955381
9178165488436B   MARIO            FROST                  SC           90012916548
91782528A41296   DANIELE          JONES                  PA           90014915280
917849A355B383   CORNELIA         DRONCA                 OR           90006359035
9178599A881635   BRITNEY          BARTLEY                MO           90015149908
917868A9691521   DEYANIRA         PORRAS                 TX           90014868096
91788474972B42   MARIA            RIVERA                 CO           90013124749
9178B125585689   RENEE            WILLIAMS               NJ           90012791255
9178B53122B27B   YULMAN           MONTUFAR               VA           90013935312
9178B776491599   LORETTA          LOPEZ                  TX           90007727764
91792A45991579   RALPH            GALLEGOS               TX           90008900459
917946AA185689   SONIA            JUAREZ                 NJ           90014466001
91797782172B56   FRANKIA          WILOFF                 CO           90007017821
9179917855B371   SEARE            HABTEGIORGHIS          OR           90004521785
9179B373872B3B   ADRIAN           GUTIERREZ              CO           90010223738
917B4295781634   NENE             JONES                  MO           90012842957
917B48A535B548   PAUL             AGULAR                 NM           90012988053
917B548A581634   TONISHA          ALEXANDER              KS           90011304805
917B7135181634   BRETINY          LAMPKIN                MO           90003801351
917B7691861979   MARIA            PINA                   CA           90010566918
917B79A6772B32   KENNETH          STEELE                 CO           90014239067
917B8148791944   SHANICE          JONES                  NC           90014361487
917B8836191521   CECILIA          BALTAZAR               TX           90001708361
917B9619433698   ALANNA           MEADOWS                NC           90015146194
917BB17794B588   JUAN             GONZALEZ               OK           90011121779
917BB2A9972B83   GARY             PATTERSON              CO           90012152099
917BB9A4955951   LUCKYSATHIRATH   MEAS                   CA           90013209049
9181233964B554   SHANAE           BROWN                  OK           90008513396
91813A3294B554   JOSEPHINE        JACKSON                OK           90014690329
91815A28293769   ANTHONY          FINCH                  OH           90004230282
9181631A55B531   RICHARD          HILL                   NM           90014713105
9181692324B554   JUSTINE          WRIGHT                 OK           90014739232
9181755387B444   AVELARDO         QUINTERO               NC           90011945538
9181763798B175   LORI             HALSTENRUD             UT           90014466379
9181786294B554   KEVIN            NICHOLSON              OK           90013968629
9181814A791882   WILLIAM          BROWN                  OK           90011061407
91818837A91344   ALFREDO          PALACIOS               KS           90008438370
9181914935B371   EVELYN           LEWIS                  OR           90013151493
918194A7A91599   OLGA             FELIZ                  TX           90012144070
91819545772B56   SABINO           GONZALEZ               CO           90007945457
91819639172B32   BLANCA           DE LA CRUZ             CO           90013646391
9181B375561979   AEUSA GARCIA     RAUL CONTRERAS         CA           90006063755
9182219234B588   DELORES          EVERETT                OK           90014101923
91823754372B57   PEDRO            ESTRELLA               CO           90001997543
9182431A68436B   MANDY            GILBERT                SC           90005043106
9182956892B27B   APRIL            BAZEMORE               DC           90013935689
9182981715B371   SEQUOIA          MCMAUNUS               OR           90014888171
9182B43395B531   GALLEGOS         VINCE                  NM           90010624339
9183182685B548   ROBERT           GALLEGOS               NM           90012458268
9183356424B554   RYAN             WELLS                  OK           90014915642
9183548665B383   SHAKYLA          GIVENS                 OR           90012064866
91836133572B32   DERIAN           CROSS                  CO           90007491335
9183756628B175   PAUL             FOLAUMAHINA            UT           90010795662
9183828992B27B   BERHANE          HAILE                  DC           90014432899
9183896724B554   BRITTANY         COULTER                OK           90011589672
9183956A491882   JAMES            PERRY                  OK           90014805604
9183987694B554   ANDREW           SMITH                  OK           90013968769
9183B477A72B42   MIGUEL           SARABIA                CO           90010594770
9184172692B27B   SHUCK            BANKS                  DC           90014767269
918441A958436B   EARL             CLARK                  SC           90013491095
91844537672B56   NERI             SANTOS                 CO           90011755376
9184485994126B   MICHAEL          CARTER                 PA           51013418599
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9184592744B588   CRYSTAL        CARSON                   OK           90007639274
91846387A91521   FLOR           CARMONA                  TX           75016363870
9184731A55B531   RICHARD        HILL                     NM           90014713105
9184748468B175   ARMANDO        ROSILLO LARA             UT           90008984846
9184817A791882   JOHNETTE       SMITH                    OK           90012151707
918485A287B444   PETER          PALUMBO                  NC           90012685028
91848775372B42   STEPHANIE      MOONEY                   CO           90014607753
91849176372B32   JAIME          AMEZA                    CO           90012401763
918538A5133698   YONDIRA        ALVAREZ                  NC           12054868051
91854A24491951   MARCUS         HALL                     NC           90011200244
91861224872B56   CHANDRA        WEEAMS                   CO           33036012248
918628AA52B27B   WAYNE          BUCKSON                  DC           90009468005
91864A3543164B   CHRISTIANO     RENALDO                  KS           90012320354
91865878172B32   JESSICA        MARTINEZ                 CO           90013568781
9186731257B444   EDUARDO        GAMEZ                    NC           90012803125
91867413A7B444   DENNIS         BOYD                     NC           90011324130
91868135A85689   DATRELL        LINGO                    NJ           90013051350
918682A2461977   LEA            RODRIGUEZ                CA           90012612024
9186B3A288B175   REBECCA        LAYTON-ROSA              UT           90013333028
9187147A972B56   DENNIS         GARCIA                   CO           90013984709
9187155192B981   BRENDA         RIOS                     CA           45078115519
9187174717B49B   MARCO A        INCLAN                   NC           90006967471
91873558472B56   DIANA          PADILLA                  CO           90011755584
918757A9391521   JORGE          VARGAS                   TX           75067647093
9187696548436B   JIMMIE         HORN                     SC           90010209654
9187866AA2B27B   BLAIR          VARNER                   DC           90007876600
9187944543164B   JENNIFER       LEWIS                    KS           90013814454
91879729A7B361   RODRIGO        RIVAS                    VA           90002297290
91881566A93756   JULIE          SCHNELL                  OH           90009935660
918817A9291882   JERRY          MENDEZ                   OK           90014807092
91883596A2B27B   DONNA          JAMERSON                 DC           90011415960
91883A2218436B   ANITRIA        JENKINS                  SC           90007480221
91883AA574B954   HEIDI          TORRES                   TX           90013570057
91884747A91599   FRANCISCO      RODRIGUEZ                TX           75030697470
9188998A69153B   ENRIQUE        REY                      TX           75008499806
9188B68A861977   MICHELLE       GILMORE                  CA           90010376808
918912A1951342   MARGARET       GUTHRIE                  OH           66074202019
9189335565B371   SONIA          TELLEZ                   OR           90009363556
9189389444B588   ELIZABETH      HILLIN                   OK           21580308944
91893A16491599   ADRIANA        GOMEZ                    TX           90014530164
91895A67555946   ANA            GARCIA                   CA           90004980675
9189769338436B   TIEKA          SEABROOK                 SC           90013376933
9189BA4215B383   MISS NISHA     THOMAS                   OR           90012540421
9189BA9158436B   ERICA          SIMMONS                  SC           90013360915
918B1594272B32   VERONICA       CALVILLO                 CO           33016785942
918B3143855951   ESAI           MARTINEZ                 CA           90013971438
918B329AA91944   KIMBERLY       LEACH                    NC           90011382900
918B3741A72B56   ANDRES         NAVA                     CO           90014827410
918B4318591951   SADAF N        KHAN                     NC           90013973185
918B7A31333698   RANDI          QUICK                    NC           90013540313
918BB659491882   MICHAEL        LANE                     OK           90014456594
91911893572B62   JOHN           RODRIQUEZ                CO           33072788935
91912A4784B554   BRIAN          WALSH                    OK           90013970478
91915A5274B554   OSCAR          BROWNING                 OK           90013970527
91917395772B32   ROSE           OROZCO                   CO           90010583957
91918291772B56   CRYSTAL        ONESLAGER                CO           90013952917
9191836485B378   BUZZ           A MURRAY                 OR           90000803648
9191931725B383   CHARLENE       CAMPBELL                 OR           90013173172
9191B2A9955951   SABRINA        COLE                     CA           90012072099
9191B912141296   ROBERT         WELLER                   PA           90009419121
91921764A61977   DARSELL        CREWS                    CA           90011707640
9192181415B531   LUIS           PAREDES                  NM           35093908141
91921A6A94B554   VANESSA        STARKEY                  OK           90013970609
9192319A255951   CHARLES        FRAZIER                  CA           90013191902
9192377893164B   JESSE          EAST                     KS           90012957789
9192456254B588   GONZALO        LOPEZ                    KS           21512305625
91925A6714B554   KRISTIN        MOSES                    OK           90013970671
91928287172B32   ANDRE          FRESQUEZ                 CO           90015152871
91929199A55951   MONAKAI        ALLEN                    CA           90014441990
9192971452B27B   LADONNAE       WELLS                    DC           90013937145
9192B9A2672B32   MONIQUE        CASTILLO                 CO           90010559026
91931A62672B3B   TIFFANY        POLYAK                   CO           90008820626
9193287A572B3B   CHERESE        TRIGGS                   CO           90013258705
91933299272B56   CRYSTAL        WILKINS                  CO           90013952992
919334A234B554   LINCOLN        PRINCE                   OK           90012174023
91934A91941296   ANASTASIA      ROACH                    PA           90010400919
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91935689A81635   ANDRE           FELL                    MO           90014306890
919362A544B949   RAYVON          GALLOW                  TX           90010932054
919415A668B175   RAQUEL          CHACON                  UT           90012075066
91941A7534B554   HELEEN          SHIN                    OK           90013970753
9194455127B359   FAY GABRIELLE   BOWDEN                  VA           90003655512
9194528278436B   JARED           BURDEN                  SC           90013402827
9194599AA72B32   KAIGE           BOWLING                 CO           90012429900
9194B343891521   RICARDO         FLORES                  TX           90006603438
9194B454255975   MIRIAM          RIVAS                   CA           90011654542
91952A67A5B177   ID              EXTRA BEAUTY SUPPLY     AR           90005810670
9195415A381634   LANCE           KENNEDY                 MO           90010851503
9195524844B588   CHRISTY L       JOHNSON                 OK           90011172484
9195643A55B548   PAM             JOHNSON                 NM           90008424305
9195695A472B32   ANDY            GARCIA                  CO           90006769504
9195784654B554   LATOYYA         PENNON                  OK           90010798465
91958A49157126   MIRNA           GAMEZ                   VA           81056370491
9195BA48572B32   MIACHAEL        HEALING                 CO           90014320485
91961A1A772B42   ANABELLA        PARALTA                 CO           33077610107
9196432298596B   CHRISTOPHER     VINCENT                 KY           90011543229
9196887122B27B   DEANGELO        PARIS                   DC           90014908712
91971679172B3B   ROB             BENDER                  CO           90006196791
91977A11541955   JOSEPH          BADILLO                 OH           90013700115
9197886A591951   HEARTWILL       KPEGLAR                 NC           90007258605
9197B25597B444   JAYMEE          REAVIS                  NC           90013152559
9197B32938B175   MARISA          FOOTE                   UT           90010833293
9197B466651342   SEAN            REYNOLDS                OH           90012414666
9198121415B531   SAMUEL          ARCHAMBAULT             NM           90012232141
91984117A72B43   PEDRO           GOMEZ                   CO           33086941170
9198497818436B   ERNEST          SPEIGHTS                SC           90010209781
9198684694B949   FRANCISCO       RAMIREZ                 TX           90010018469
91986A4A933698   MEGA            KEARNS                  NC           90005880409
91989644A8436B   MALIK           SIMS                    SC           90014866440
9199797284B949   KELVIN          NIXON                   TX           90012359728
919B1499761977   MICHELLE        LENTZ                   CA           90012854997
919B2448185689   RODOLFO         LOPEZ                   NJ           90013954481
919B496A877537   MARIBEL         AYALA                   NV           90007389608
919B5688972B3B   ROGELIO         CASTRO                  CO           90012826889
919B7934451384   JILL            BLACK                   OH           90009669344
919B859A157B29   TIA             SPEARS                  PA           90014015901
919BB72492B27B   TERRANCE        MENIEFIELD              DC           90013937249
91B12333A72B3B   EVAN            OBRIEN                  CO           90007053330
91B1319218B159   CLARK           FEATHERSTONE            UT           90009251921
91B1469A361979   DAVID           CHRISTMAN               CA           90009266903
91B1485375B383   KATE            MOODY                   OR           90014438537
91B148A3A91232   TERESA          DUTCHER                 GA           90004588030
91B14949991944   KIM             RANSON                  NC           90012969499
91B17133184349   CHARLOTTE       BROOKS                  SC           90010471331
91B17287272B56   STEPHANIE       HULL                    CO           33096672872
91B18A84161977   JULIA           WISE                    CA           90015130841
91B19396293769   LEETOUIA        GIBSON                  OH           90007033962
91B19696381634   CLIFFON         LEMON                   MO           90008936963
91B1B4A514B554   ANGELIQUE       MCKINNEY                OK           90014844051
91B2213478B175   BRASHEN         BOUNTHISANE             UT           90010961347
91B2225428B175   TIFFANY         WARD                    UT           90014542542
91B224A835B383   JOSHUA          OWEN                    OR           90014374083
91B236A3985689   HAMEDE          JOHNSON                 NJ           90014696039
91B23961181635   THERESA         DAVIS                   MO           90012789611
91B24182791599   NEW             CONCEPT                 TX           90012311827
91B24713781634   STEVIE          LUPER                   MO           90012747137
91B24732772B56   JACQUELINE      OLIVAS                  CO           90011287327
91B25456972B56   CYNTHIA         PENA                    CO           90013984569
91B26233851342   ERIC            WARD                    OH           90014622338
91B268A535B371   ADONIS          MELO                    OR           90014528053
91B27962991531   ILDA            GUERRA                  TX           90012419629
91B2843128B175   MICHAEL         SADLER                  UT           90012534312
91B29774151342   MARION          BALL                    OH           90013817741
91B2998785B548   ROBERT          LEIJA                   NM           90011049878
91B32498A72B62   JESUS           FLORES                  CO           90014114980
91B324A1181634   ISAAC           GONZALEZ                MO           90011144011
91B33829791944   ROSS            ESCALANTE               NC           90004038297
91B33A5418436B   RHOSE           BOWMAN                  SC           90009550541
91B34848261977   ADIRAN          CORONADO                CA           90013708482
91B3665342B27B   MARCELL         JONES                   DC           90013086534
91B3754289153B   RAUL            FEDERICO                TX           90006705428
91B37921385689   MIGUEL          HERNANDEZ               NJ           90005559213
91B3834867B444   JASWANT         SINGH                   NC           90013063486
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91B39774A81635   DAYON           SMITH                   MO           90011427740
91B3B191991882   GOLDIE          DOSS                    OK           90009251919
91B3B662791531   ANTONIO         RAMOS                   TX           90011426627
91B418A418B175   TYSON           WHITE                   UT           90012938041
91B42446341296   CHRIS           IRISH                   PA           90012164463
91B4262525B531   SALINA          ELLERD                  NM           90014626252
91B43359791599   KIMBERLY        BAUTISTA                TX           90010113597
91B4343A933698   MOHAMED         ABDERAHMEN              NC           90012524309
91B46836661977   JOHN            PEREZ                   CA           90013828366
91B46981133639   SIDNEY          HILL                    NC           90007559811
91B472AA833698   JOSE            PAREDES                 NC           90010762008
91B496A4772B32   DAVIS           GREENBURG               CO           90014146047
91B4B23254B949   SONIA           GLASPER                 TX           90010832325
91B4B51928436B   DELLA           LEACH                   SC           90013835192
91B51117772B3B   ARACELI         AGUILAR                 CO           90013981177
91B51895891521   MICHAEL         LOPEZ                   TX           90013178958
91B52941561977   JUAN            BARAJAS                 CA           90014719415
91B53969791951   DOMINIC         LYNN                    NC           90013359697
91B56217A72B43   SIMONA          GARCIA                  CO           33083712170
91B6119964B588   ALICIA          CARTER                  OK           90014421996
91B611A9161951   OSCAR           GOMEZ                   CA           46008911091
91B61224272B42   MARCUS          RAINES                  CO           33012882242
91B6683982B27B   DESMOND         PHILLIP                 DC           90012148398
91B66853591882   MARIO           SANTIAGO                OK           90011458535
91B6786665B371   BRANDON         MCDONALD                OR           90013308666
91B688A6657128   AUDRETTA        MILLER                  VA           90011548066
91B68A9953B39B   JOSEPH          VENTURA                 CO           90012460995
91B6B572455951   KATRINA         LARA                    CA           90013955724
91B6B6A3985689   HAMEDE          JOHNSON                 NJ           90014696039
91B71219772B3B   FELIX           ARAUJO                  CO           33092092197
91B7148433B331   ANDREW          CLARK                   CO           33082674843
91B7171497B444   KENNETH         BERRYHILL               NC           90013407149
91B73599691599   LUCERO          ARELLANO                TX           90014435996
91B7951693164B   CAITLIN         SMITH                   KS           90014655169
91B81179972B32   PASSION         RAMIREZ                 CO           90012851799
91B81626991944   STACY           BUSCHAGEN               NC           90007456269
91B8181A34B52B   TAMMY           MENDOZA                 OK           90013758103
91B82539461977   MARIO           VALDESPINO              CA           90013245394
91B8341A161977   CARLOS          MURANA                  CA           90012744101
91B851A5451342   ASHLEY          GARDER                  OH           90013291054
91B8627A391882   MARCUS          LOZUST                  OK           90014782703
91B86766855951   MARSHALL        WALLEN                  CA           90011237668
91B91929277537   CHARLES         SWECKER                 NV           90011519292
91B92923172B3B   BRIAN           ROMINE                  CO           90015049231
91B93433A72B62   SENAHIDA        RAMIREZ                 CO           90014914330
91B93977472B56   DREW            HAWKINS                 CO           90013949774
91B9592554127B   KRYSTAL         HALL                    PA           90010389255
91B97696861599   OSVALDO         SALOMON                 TN           90015326968
91B97A98291599   NICOLE          DAVIS                   TX           90014410982
91B9821A291521   SYLIVA          RODRIGUEZ               TX           90014262102
91B985A7855951   ZAIRA           PACHECO                 CA           49015885078
91B9928432B869   MARGARET        WOOD                    ID           90007622843
91B9965995B531   MAGDALENA       PINO                    NM           90012176599
91B9BA1352B889   TIM             GREEN                   ID           42087980135
91BB123345B371   JENNIFER        JONES                   OR           90012532334
91BB228383164B   ZEKE            MILLS                   KS           90013302838
91BB229573164B   ZEKE            MILLS                   KS           90012302957
91BB3731272B62   BRIAN           ACOSTA                  CO           90006587312
91BB575764B554   BRODERICK       CARTER                  OK           90013937576
91BB7642891399   CARMEN          VASQUEZ                 KS           90012736428
91BB7A82161979   RAY             JJ                      CA           90010720821
91BB823895B371   JOSHLAN         DELACERDA               OR           90014242389
91BB9211872B42   SANDRA          GARCIA                  CO           90006412118
92111A5344B588   ASHILEY         HOLT                    OK           90006500534
921158A9572B42   JESUS           BARRAZA                 CO           90012878095
92116811172B42   DANIEL          PEREZ                   CO           90012878111
9211756615B531   CARLOS          GARZA                   NM           35041055661
9211816AA2B981   BERTHA          GARCIA                  CA           90006051600
9211842887B444   DJEL            RMAH                    NC           90012394288
92119897472B56   NAYA            GALLEGOS                CO           90014888974
9211B159A77537   FILIBERTO       SAAVEDRA                NV           90012921590
9211B3A2997B59   DEBORAH         LOCKARD                 CO           39001373029
9211B493391599   MARIA LETICIA   CHACON                  TX           90012584933
9212295718436B   COURTNEY        SMITH                   SC           19013849571
92128433A72B22   MORGAN          EMMONS                  CO           90012754330
9212B42317B449   JAMES           CAMPBELL                NC           11003104231
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92131226A7B444   TRENIKA        HOUSTON                  NC           90013082260
9213129A65714B   LENIN          RIVERA                   VA           90002532906
92136724A2B27B   GERSON         LEMUS                    DC           90000337240
9213696432B981   INDIRA         DELGADO                  CA           90006589643
9213722754B554   DEWAYNE        EWING                    OK           90013332275
9213724757B444   EBONY          BRANDON                  NC           90014122475
9213841135B383   COREY          SMITH                    OR           90012584113
92138959A51334   KATHY          LEWIS                    OH           90010019590
921414A3336148   DONNIE         HERNANDEZ                TX           90010014033
9214312634B554   ARLENE         ELLISON                  OK           21517011263
9214313A785689   AMISAIN        DIAZ                     NJ           90000931307
9214345742B27B   MICHI          GREEN                    DC           90012314574
92143562344B33   MICHAEL        BROZINA                  OH           90014075623
9214442A681635   KELLY          SIMS                     KS           90014814206
92144711372B56   PAYGO          IVR ACTIVATION           CO           90013107113
92145332972B22   M BERNADET     HERRERA                  CO           33023943329
92145386A81635   CARLOS         GONSALEZ                 MO           90011443860
9214744648436B   MARION         DRIGGERS                 SC           90013754464
9214779187B444   STACIE         HYATT                    NC           90014927918
92149925372B3B   GREG           GONZALES                 CO           90012799253
9214B553391521   LACY           JOHNSON                  TX           90004885533
921512A4A72B22   JOSEPH         GREENEMEIER              CO           90013872040
92151715972B42   MERISSA        VASQUEZ                  CO           90009507159
921529A8372B56   GORDON         PIERSON                  CO           90014889083
92152A54172B62   JESSICA        CRUTHERS                 CO           33008440541
921533A5133698   LEQUITA        MCINTYRE                 NC           12003403051
9215551338B149   TINO           MARTINEZ                 UT           90011005133
9215569478B149   TINO           MARTINEZ                 UT           90003476947
9215759A272B51   MICHAEL        PENA                     CO           90013295902
92158427272B56   BRENDA         ALACALA                  CO           90014894272
9215B22152B982   ELIZABETH      RIOS                     CA           90011032215
92161423A72B22   ALEXANDER      TOWER                    CO           90012754230
92162A43793769   JOSEPH         JOBES                    OH           90011510437
9216375A481635   DEMETERIA      SCOTT                    MO           90007437504
92167551672B42   GERDA          TANYA                    CO           90002955516
9216B18865B548   LAVITA         LUCERO                   NM           35003901886
9216B523381634   LAURIE         BODEN                    MO           90012765233
92172168997B59   EFREM          TESFASILASIE             CO           90014901689
9217253662B982   MARIA          PADILLA                  CA           90011425366
92172AA9855951   JOSEPH         PATCHELL                 CA           90011240098
9217623435B126   RANDY          PIERCE                   AR           90015212343
9217684617B444   TARRANCE       DANIELS                  NC           90011918461
9218339548B149   JOHN           HANSEN                   UT           90012683954
9218347345B383   KIERRA         MITCHELL                 OR           90002764734
9218364437B444   ARMANDO        NAVARRES                 NC           90013396443
9218617544B554   GENIE          ODELL                    OK           90014601754
9218783744B949   JESSICA        DUMAS                    TX           90009928374
9218B79812B982   ELIZABETH      RUIZ                     CA           90008707981
9218B827872B42   TYLER          BULLOCK                  CO           90012878278
9219346A743584   LONI           WOOD                     UT           31091204607
92194111A5B383   NANCY          GONZALEZ                 OR           90014861110
9219427A95B383   THOMAS         HUDSON                   OR           90013972709
92195A1A743584   JOHN           FITZHUGH                 UT           90012320107
92197152672B42   LEVI           TRUJILLO                 CO           90014401526
92197235872B3B   DENNISE        ENRIQUEZ                 CO           90007892358
9219951338B149   TINO           MARTINEZ                 UT           90011005133
9219968574B588   MARIO          PINA                     OK           90014566857
921B1874A8436B   DELVIN         BROWN                    SC           90014508740
921B198538436B   DELVIN         BROWN                    SC           90013269853
921B215118B693   ALFREDO        MENDOSA VASQUEZ          TX           90014051511
921B2881824B22   KEVIN          HAIRSTON                 DC           90009598818
921B3A77755951   JESUS          HERNANDEZ                CA           90012150777
921B3AA4672B51   JORDAN         WORSLEY                  CO           90013220046
921B5167A8436B   SHAKEETE       RIVERS                   SC           90014811670
921B562A972B42   ARTHUR         HERNANDEZ                CO           90011866209
921B657735B531   ASHTYN         CHAVEZ                   NM           35006935773
921B6625272B51   JEFF           REITER                   CO           33083196252
921B6739A72B62   CHESTER        LOTKO III                CO           33072357390
921B6811497123   MARTY          CUNNINGHAM               OR           90014378114
921B7596872B3B   TIMOTHY        MAGUIRIE                 CO           90012915968
921B763A443584   NATALIE        COOOK                    UT           90005226304
921B9597951334   AQUILA         RAMSEY                   OH           90002065979
921B9978372B56   LAKISHA        ROGERS                   CO           90013009783
921B9A1992B982   JUDY           PERRY                    CA           45001440199
921BBA27891951   OCTAVIANO      FLORES                   NC           17012220278
9221157648B149   MEAGAN         SANDERSON                UT           90011965764
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92211926472B56   GARRY           GOMEZ                    CO           90014889264
9221342514B554   JERRY           HARWOOD                  OK           21585224251
9221391234B554   ANTHONY         KOSMALSKI                OK           90012259123
9221421748436B   GUSTAVO         TURCIOS                  SC           90010822174
9221442514B554   JERRY           HARWOOD                  OK           21585224251
9221451A855951   INES            RAMIREZ                  CA           90012265108
922147A994B949   MARCO ANTONIO   HERNANDEZ NUNEZ          TX           90013497099
9221484245B548   HAYNES          COLTON                   NM           90012848424
92214A1A572B32   UBALDO          SALAIS                   CO           90013990105
92216A11191599   CHAYN           WILLIAMS                 TX           75003770111
92216A49361977   ANDRADE         TIMOTHY                  CA           46006960493
9221871134B588   SHELLEY         KEMP                     OK           90014587113
9222264972B27B   MAURICIO        RAMOS                    DC           90010746497
92222AA425B531   JENNIFER        TESILLO                  NM           35076980042
9222438894B949   BRITTANY        LIVINGS                  TX           90014653889
9222554A161977   ANDRES          CONTRERAS                CA           90012795401
92227219A41296   SYREETA         PRICE                    PA           90011302190
92227278672B42   FRANCISCO       RENDON                   CO           90013502786
9222787358B175   WILLIAM         EAST                     UT           90014938735
92227A58333698   JORGE           MAJICA                   NC           90008370583
92232A99872B3B   JULIA           BEARRY                   CO           90014330998
92235791372B62   MICHEAL         GUY                      CO           90011007913
9223591A533698   RAYMOND         SHOLARS                  NC           12063049105
9223772365B548   PAYGO           IVR ACTIVATION           NM           90004737236
9223915A251533   NAYTE           KODADI                   IA           90011901502
922429A818B175   MARGRET         LUKES                    UT           90014939081
9224361A872B56   AXEL            CARABALLO                CO           90011826108
92245686372B32   ABIR S          KABBANI                  CO           90011056863
92246379972B32   SHARLEENE       GONZALES                 CO           90013933799
9224645594B949   LATOYA          HASKIN                   TX           90013934559
9225236A597123   DAVID           BAKIES                   OR           90009613605
92252529272B56   SILVIA          FERNANDEZ                CO           90011945292
9225257A34B949   GILBERT         ESCAMILLA                TX           90013845703
922539A818B175   MARGRET         LUKES                    UT           90014939081
92254A64372B32   CARLOS          MARTINEZ                 CO           33052740643
92256766772B97   RACHEL ANN      RETANA                   CO           90003447667
9225868485B531   ERIC            PACHECO                  NM           90013726848
92259685A72B3B   ANGELIXA        LOVE VIGIL               CO           33050366850
9225B43A755957   JUANITA         BRAVO                    CA           90006884307
9226129A193755   JUSTIN          OWENS                    OH           90009782901
92262456A7323B   ALONZO          GARCIA                   NJ           90014034560
9226448144B554   MAH             GONZALES                 OK           21516954814
92266315672B42   BETZABE         LEYVA                    CO           90013513156
92267A92633698   ISMAEL          HERNANDEZ                NC           90013110926
92268283A8436B   CHANTEL         MOLIX                    SC           90011312830
9226B128372B42   JOSEPH          KING                     CO           90012731283
9226B3A3855957   ISIDRO          BAEZ                     CA           90011483038
9227182A881634   WILSON          MEREDITH                 MO           90013618208
922734A4272B51   MARCUS          VAUGHN                   CO           90014444042
9227389784B949   JOSHUA          LOFTON                   TX           90007288978
9227486A94B588   TYREE           FAY                      OK           90014578609
9227B13587B449   ERNEST          MONPS                    NC           90005661358
9227B72A955957   GUADALUPE       RODRIGUEZ                CA           90012237209
92282954172B51   CRYSTAL         AGUILERA                 CO           90004099541
92283163272B56   SARAH           GONZALEZ                 CO           90012781632
92289799872B32   ISMAEL          TERRAZAS                 CO           90014997998
9228B25342B982   KAILAN          HILL                     CA           90011852534
9228B51AA93755   MIKAL           SAMPLE                   OH           90003795100
9228BA28281635   NICOLE          VERGE                    MO           90010100282
9229337A572B42   SYLVIA MARIE    AGUIRRE                  CO           90011293705
9229897A54B588   METCHELL        WALCON                   OK           90014579705
9229B476772B51   REBECCA         ROMERO                   CO           90011654767
9229B4A1391532   CORDOVA         MARIA                    TX           90005584013
9229BA21855951   ANDRE           KNOX                     CA           90002710218
922B125388B149   JOSH            SANDERS                  UT           90010362538
922B1684972B42   MARIO           SOLIS                    CO           90014816849
922B3584891521   NOHEMI          RAMIREZ                  NM           75052115848
922B3918A72B56   JAMIE           ROZINSKI                 CO           90011819180
922B442882B277   TIFFANY         EVANS                    DC           90011344288
922B468574B588   MARIO           PINA                     OK           90014566857
922B61A3291599   PRENTICE        ROUSE                    TX           90015131032
922B765994B949   JANET           EPINOZA                  TX           90013496599
922B861A472B51   DEZ             SANCHEZ                  CO           90009706104
922B866A57B444   DAMAYA          HAWKINS                  NC           90012566605
922B9864855957   BLANCA          SEPULVEDA                CA           90014718648
922BB46498B149   PEDRO           IBARRA RUIZ              UT           90011074649
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922BB63A443584   NATALIE        COOOK                    UT           90005226304
922BB834681635   ALETRA         CRAWFORD                 MO           90014878346
922BB868155957   JUAN           ALVAREZ                  CA           49086978681
92312A69397123   BEAU           SANCHEZ                  OR           90013950693
92313775172B3B   CHRISTINA      ESTRADA                  CO           90012177751
92315169972B56   JUAN           FLORES                   CO           90012781699
92315833472B22   JULIO          SOLANO                   CO           90003158334
923158A4498B33   MACHAEL        HARRIS                   NC           12014928044
923194AA893769   CHARMAINE      ALLEN                    OH           64558604008
923214A5893755   ERIKA          MENEOZA                  OH           90013924058
9232198725B531   KARISA         TRUJILLO                 NM           90006679872
92325A14193769   SARAH          WYNN                     OH           90005220141
92327398997B59   MARILYN        KNAAK                    CO           90013643989
9232871444B554   BRANDEN        SMITH                    OK           90015147144
92328A4712B982   JOSE           SALVADOR                 CA           90011340471
9232981273164B   PAM            GLEPIE                   KS           90009388127
9232B98115B548   GRISELDA       VAZQUEZ                  NM           90014829811
9233343365B531   ROBERT         NIETO                    NM           35053344336
9233348155B548   ELIZABETH      VAZQUEZ-MARTINEZ         NM           90010594815
9233472143164B   AMBER          PENDARUVIS               KS           22050157214
9233518A293769   MAZANI         STARGELL                 OH           90004891802
9233617383164B   JAMES          PARKS                    KS           90011221738
92337763772B62   ERICA          SANDOVAL                 CO           90013537637
9233892954B949   HORACE         WALKER                   TX           90014519295
9233944952B981   IVAN           RODRIGUEZ                CA           45041734495
9233971A791399   JANETT         ANGEL                    MO           29046987107
923397A6277537   MARY           VARELA                   NV           90013067062
9233B89A872B3B   GARY           MAESTAS                  CO           90015258908
92341478A25128   ANGELA         SMITH                    AL           90014654780
92342455572B22   MIREYA         QUEZADA                  CO           90012754555
9234768188B152   CLYDE          CROWLEY                  UT           90009956818
92347AA8161979   CELIA          BARAJAS                  CA           90012780081
9234B172141296   MICHAEL        HOMMEL                   PA           90014081721
9234B228272B32   TERRIE         MEDINA                   CO           90008892282
9235577329714B   ALAN           BARNETT                  OR           90004837732
9235639A781634   JENIFER        BEATRIZ                  MO           90011153907
92359197272B29   REGENCY        PAINTING INC             CO           90009851972
9236282945B548   NANCY          DOMINGUEZ                NM           35045158294
9236294263164B   SILVIA         BANUELOS                 KS           90010629426
92363A82855951   LORENZO        MARTINEZ                 CA           90013730828
9236442AA5B383   MICHAEL        SCAIFE                   OR           90010784200
9236646AA72B22   DEBORA         GANS                     CO           90012754600
92366A3A68B149   SCOTT          MCMILLAN                 UT           90015090306
9236777574B588   NORMA          DE LARA                  OK           90002027757
92368417997B59   RAUL           MARTINEZ                 CO           39079864179
92371932A55957   CLARA          TUCKER                   CA           49050949320
92374A95A4B588   SARAH          SMITH                    OK           90014590950
9237533915B531   JOHNNY         HERNANDEZ                NM           90014663391
9237554174B554   CARISSA        BURROW                   OK           90008055417
923762A655B548   TAMARA         GUMM                     NM           35083362065
9237713244B554   TERESA         HALL                     OK           90011331324
9237B568691951   TIA            ROBINSON                 NC           90008785686
9237B852672B3B   HAJIME         JONES                    CO           90009628526
9237B876691599   OSCAR          ASTORGA                  TX           90010398766
9238112A92B27B   BREIGH         ECHAVARRIA               DC           90011131209
9238134555B531   GARY           CHAVEZ                   NM           90005783455
923852A1497B59   ELSA           GALLEGOS                 CO           90008632014
9238626788B175   ERIC           ANDERSON                 UT           90009862678
9238777564B588   DAMARCUS       BEST                     OK           90008207756
92388A46797123   TRAVIS         MCMACKIN                 OR           90010600467
9238946232B982   YOLIE          RAMIREZ                  CA           90014074623
9239335455B548   DONALD         COFFEY                   NM           90012343545
9239715258436B   JAMAL          WILLIAMS                 SC           90011081525
92397669672B32   JAZMIN         MONTOYA                  CO           90013026696
923B1A51397123   GERARDO        GUTIERREZ                OR           90013950513
923B248182B982   CYNTHIA        CHAVEZ                   CA           90006394818
923B3A57955957   ESMERALDA      GARZA                    CA           90012780579
923B5238155957   EVERETT        SMITH                    CA           49010002381
923B525244B554   CHRISTOPHER    DENTWALT                 OK           90014642524
923B5417355951   NICOLE         BASS                     CA           90002534173
923B5899143584   BRIAN          CASTRO                   UT           90014108991
923B6A25455957   EMILY          HERRERA                  CA           90014840254
923B793534B949   RACHEL         NEILL                    TX           90013949353
923B8A22755957   MICHAEL        BARRENA                  CA           90004640227
923BBA11972B56   MANUEL         MERCADO                  CO           90011820119
923BBA97441296   LARRY          GRIMM                    PA           90011520974
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92411327A85689   CASSANDRA          SHOPE                NJ           90009993270
9241265A44B588   CRYSTAL            LEE                  OK           90014606504
92412985A91951   CARLOS             DURON                NC           90014609850
92413595A91599   LUCIANO            MARTINEZ             TX           75069075950
9241384864B554   SHARON             FOSTER               OK           90010328486
924143AA772B22   ADRIAN             TAKAHASHI            CO           33016463007
92414992772B62   MARIA DE LOURDES   MESA                 CO           90003149927
924159A1755957   ROSHELLE           MALDONADO            CA           90013689017
9241641765B383   IRMA               VALENCIA             OR           90009894176
92417A1818436B   WESLEY             SOUZA                SC           90014610181
92418317472B42   BENJAMIN           SMITH                CO           90013753174
9242172585B531   TAVIS              KIMBROUGH            NM           90014757258
92421A24141296   STEFAUNA           HUGHES               PA           90004110241
9242229268B149   ALISHA             GALVAN               UT           90013682926
92423A2582B982   MARIA              PEREYDA              CA           90012680258
9242529785B548   ALPHONSO           MARTIN               NM           90012612978
92427672A72B99   CLARIBEL           RASCON               CO           90010216720
9242785A281634   SHAWNACEE          EVANS                MO           90013648502
9242987865B548   TAMMY              AGUILAR              NM           90014488786
92429A7235B383   MARIA              ALCALA               OR           90011960723
92429A97972B3B   JOSHUA             BURNEY               CO           90001000979
9243115497B444   DEWAYNE            BOYD                 NC           90007551549
9243152828B841   MAKAMAE            YAP                  HI           90014115282
924351A9443584   BRET               MATTINSON            UT           31014911094
9243779334B949   TIFFANY            RICHARD              TX           90014677933
92437A8125B531   MICHAELA           BORJAL               NM           90007060812
92438159472B62   GABRIELA           GALVAN               CO           90013051594
92438523A77537   EARL               EVES                 NV           90010045230
9243966A933698   SALOME             BENTHALL             NC           90013446609
92439755297B59   VERONICA           PENA-SANCHEZ         CO           90007427552
9243B42695B531   HILLARY            BACA                 NM           90003144269
9244244472B982   LUIS               OLIVARIAS            CA           90013244447
924426A6455957   ALBINO             STEPHANIE            CA           49055276064
924429A1697B59   ROCHELLE           PONCE                CO           90013629016
9244472588436B   TAMEKA             GRAMPUS              SC           90013347258
92444AA6172B56   ELIZABETH          DOMINGUEZ            CO           90014890061
924463AA572B42   VANESSA J          GONZALES             CO           90004093005
9244865665137B   ADRIENNE           WHITE                OH           90002036566
9245234274B554   DAVID              LACKIE               OK           90009363427
9245266AA55951   OMAR               ALI                  CA           90014156600
924528A7A61979   KELLE              RUCKER               CA           90011778070
924539A9755951   DANIEL             SHAW                 CA           90010849097
92455123272B51   SEFERINA           DE LA TORRE          CO           90008241232
9245549613164B   DAVID              LOMBARD              KS           90014974961
9245699A481634   CURTIS             YATES                MO           90007899904
9245713482B248   JAMAR              BROWN                DC           90013671348
92459156772B56   CHRISTINE          ROZINSKI             CO           90011821567
92459878772B42   MARIO              ZEPEDA               CO           90012878787
9245B653491399   LUIS               HERNANDEZ            KS           90009196534
9245B783781634   ALESA              TURNER               MO           90011007837
9246257647B449   AARON              HARRIS               NC           11017635764
92464333897B59   RYAN               MOEHLING             CO           90014093338
9246534388436B   TASHAMIA           BROWN                SC           19065063438
9246547358B841   LACEY              LANGFORD             HI           90014124735
9246586625714B   JUAN               TORRES               VA           90009198662
924668A7691882   DAVID              BLACK                OK           90001198076
9246716A572B56   EVER               GARCIA               CO           90011821605
9246847488B841   LACEY              LANGFORD             HI           90014124748
924685AA991951   KEITH              STUBBS               NC           90013695009
9246B478897B59   RACHEL             GAONA                CO           90013294788
9246B89788436B   DIONNE             STONEY               SC           19037508978
9247319435B548   KATHERINE          FIELD-HODES          NM           90009531943
9247447A38B833   ANDERSON           JOEL                 HI           90014734703
92474618472B56   BRISEIBY           GONZALEZ             CO           90005736184
9247764562B948   PHILLIP            JENKINS              CA           90007906456
9247B74594B588   MARIAN             MCKENZIE             OK           90014607459
9247B753A55951   GERARDO            SEGURA               CA           90013517530
92482576772B3B   ANIKA              WALKER               CO           90013375767
924863A844B554   TEANNA             SHANNON              OK           21559853084
924869A6943584   MARK               SHAMPTON             UT           90014529069
92488A3A572B56   JUVENAL            LOZANO               CO           90014890305
9248966535B383   RYAN               GANNON               OR           90013646653
9248B113391521   MARGARITA          CRUZ                 TX           90013221133
9248B3AAA7B444   JENNIFER           INGERSOLL            NC           90014803000
9248B93A361979   MARK               CORRALES             CA           90011779303
924921A1133698   CLAUDE             GLASCOW              NC           90012091011
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92492651A91599   SANTOYO        ROBERT                   TX           90010436510
924927A7172B22   CHARNENE       OWENS                    CO           90012307071
9249346A57B444   ERMITANIO      RAMIREZ                  NC           90010634605
9249478A877537   CORA           LYNN                     NV           90003067808
92495897472B51   DARIYN         LAPENNA                  CO           90013528974
92497A41572B56   REBEKAH        HUMBERT                  CO           33043630415
9249816A57B449   JONA           DAVIS                    NC           11060731605
924982A2893755   BRANDI         WAGNER                   OH           90008852028
9249913A761979   LUCIO          GUTIERREZ                CA           90011901307
9249929A697B59   ARON           JENSEN                   CO           90010472906
9249989A191599   DAVID          TRUJILLO                 TX           90010398901
9249B496672B22   WESLEY         CHEUNG                   CO           90012754966
9249B86364B554   ERNEST         MARKS                    OK           90012908636
924B123724B554   PATRICIA       ALDACO                   OK           90010152372
924B1762855978   HARVINDER      KAUR                     CA           90010107628
924B1974981635   LUCRETIA       DAVIS                    MO           90013099749
924B1A6A32B27B   DEMETRIA       MURPHY                   DC           90011190603
924B2954755951   SALVADOR       RUIZ                     CA           90012429547
924B4744A43584   PAYGO          IVR ACTIVATION           UT           90011037440
924B4999372B56   SIN            AUNG                     CO           90014889993
924B528294B581   JENNIFER       TOBER                    OK           90012052829
924B612A97B444   MARLYN         RODAS                    NC           90007551209
924B647A691951   ANA            VELAZQUEZ                NC           90007684706
924B6A93772B22   CHLOE          MONTOYA                  CO           90015340937
924B7123272B51   SEFERINA       DE LA TORRE              CO           90008241232
924B7A58333698   JERRY          WALTERS                  NC           12062250583
924B8AA3181635   CLEMENTE       JUAREZ                   KS           90014800031
924BB639472B32   SUSANA         RUIZ                     CO           90014006394
9251587865B548   TAMMY          AGUILAR                  NM           90014488786
92516621772B42   MANUEL         GONZALES                 CO           90004106217
925191AA22B27B   NIKKA          LAWSON                   DC           90014711002
9251996693164B   PATRIK         STEPHENSON               KS           90010539669
925199A754B949   LUCIA          HERRERA                  TX           76589269075
92523893697B59   ANA            SANCHEZ                  CO           90009678936
92524221A38531   NATHAN         J TOLMAN                 UT           90010072210
9252584A27B444   CORNELL        DRAKEFORD                NC           90013208402
9252B186A3164B   JOHN           HALLUM                   KS           22029471860
9252B2A862B27B   RENEE          JONES                    DC           90012902086
9252B395777537   JAMES          TALKINGTON               NV           43096063957
9252B46A58436B   JESSICA        HOLMES                   SC           90014674605
9252B92635B548   JAIME          VALLES                   NM           90011349263
9253143927B444   RICARDO        GALLARDO                 NC           90010924392
925322A4472B56   SOFIA          BANUELOS                 CO           33035992044
9253244884B949   DOMINIC        BRADY                    TX           90015044488
9253253A291951   YURY LIZETH    REYES RAMIREZ            NC           90011295302
92535519A55951   JESUS          RAMOS                    CA           49080385190
9253728A18B175   MEGAN          VALDEZ                   UT           90001562801
92538336A77537   DEANNA         SCHMIDL                  NV           90012113360
9254121172B982   IVIS           SEPULVEDA                CA           90011492117
92541A6462B982   ABRAHAM        GONZALEZ                 CA           90013320646
92544278272B51   FERNANDO       MONTELONGO               CO           90013242782
9254559A84B554   STEWART        HENSE                    OK           90014885908
92546222672B56   LORENA         MARISCOL                 CO           90011822226
92552162672B42   BRENDA         BORREGO                  CO           90008751626
92552962A8B175   PAUL           BAKER                    UT           90000659620
9255432A191521   SARAH          HERNANDEZ                TX           90011033201
92557A41751334   PATRICK        CAMPBELL                 OH           90012460417
92559375A91951   MARCUS         TAYLOR                   NC           90012983750
9255959834B588   ELIZABETH      FISKE                    OK           90014625983
9256547655B548   RAYANNA        BACA                     NM           90008404765
9256579674B554   LORENZA        PONCE                    OK           21587577967
92565A17172B3B   ALEJANDRA      GARCIA-ESTRADA           CO           90012620171
92566185A77537   LORNA          QUIGLEY                  NV           90005101850
92568297872B42   ROBIN          HORN                     CO           90014232978
9256919613365B   SERVANDO       DIAZ                     NC           90001041961
92569265472B51   SAMUEL         HARRIS                   CO           90012762654
9256976A24B588   VERNETTA       WHATLEY                  OK           90014617602
9256B117181635   SAMANTHA       RICHIE                   MO           90010701171
9256B952133698   LAPORSHA       POUNCY                   NC           90007539521
9257139655B531   CLARISSA       SANCHEZ                  NM           90011323965
9257381165B383   SEQUITA        HUDSON                   OR           90006438116
925781A4A5B531   FIDEL          MALDONADO                NM           90007211040
92578424297B59   EDITH          LOPEZ                    CO           90013354242
9257B243872B56   JENNY          ALLISON                  CO           90011822438
9257B526372B42   GUADALUPE      APODACA                  CO           90013015263
9257BA25672B22   KODY H         GREEN                    CO           90012860256
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925814A157B444   ISAAC           HOLLOWAY                 NC           90012944015
92582718372B46   ALISSA          SKINNER                  CO           90012317183
9258633184B554   IRENE           BLANCO                   OK           90011123318
9258714914B554   KEVIN           MATTHEWS                 OK           90013881491
9258717292B27B   MERCEDES        COAKLEY                  DC           90014851729
92587924272B62   KAREN           GONZALEZ                 CO           90012149242
9258932623B366   ALEXANDER       LOGAN                    CO           90001813262
9259159834B588   ELIZABETH       FISKE                    OK           90014625983
92594237472B3B   SHAUN           SARE                     CO           90011942374
9259487448B149   ANTHONY         BERKELEY                 UT           90010868744
9259788A661979   ANGELINA        CERVANTES                CA           90012858806
9259794A64B554   KYLE            WITKOWSKI                OK           90013879406
9259847474B554   J               ALLEN                    OK           90011104747
9259917125B383   JOHN            EVERETT                  OR           44534261712
925B168A24B588   AMANDA          ISAAC                    OK           90006506802
925B215A472B56   MARK            ULLOA                    CO           90011351504
925B313A672B22   ELIZABETH       KENNEDY                  CO           33056331306
925B321AA61954   RICHARD         GALLEGOS                 CA           90005842100
925B3919A5B548   BEATRICE        GONZALES                 NM           35066539190
925B4425A5714B   PRINCESS        KABBA                    VA           90000594250
925B4469777537   FLOYD           LATHAM                   NV           90008124697
925B532A872B51   JUAN            GONZALEZ                 CO           90009253208
925B589352B982   ERICA           RUBIO                    CA           90011388935
925B6283972B32   RICARDO         HERNANDEZ                CO           90013272839
925B6536572B3B   JOSE            OCHOA                    CO           90006435365
925B7661661499   GARY            LYONS                    OH           90014736616
92612212697B59   BRANTON         DOAK                     CO           90014912126
9261246267B444   JOSHEA          HARRIES                  NC           90010784626
926161A5791521   ESTER           AGUILAR                  TX           75093001057
92616752572B56   KEN             BARAS                    CO           90013067525
9261831732B27B   WILLIE          WILLIAMS                 DC           90008373173
92618475972B32   MICHAEL         MARTIN                   CO           33008224759
9261889922B982   ANGEL           MAGALLO                  CA           45003278992
9261935A555957   BRANDI          STATON                   CA           90008473505
9261B543391951   VINCENT         JOHNSON                  NC           90013505433
9261BA78343584   SHARON          GRGICH                   UT           31032790783
9262178244B949   ROSHONDA        EAGLIN                   TX           90013447824
92621A45343584   HILLARY         HAWKER                   UT           90011500453
9262494875B548   MIGUEL          MONTOYA                  NM           90012869487
92624A2585B531   JONATHAN        GUTIERREZ                NM           90011920258
9262562A54B949   RYAN            SIMMONS                  TX           90014486205
92626229472B42   EDDIE           CASTILLO                 CO           33070042294
92626A71A7B444   RHONDA          STINSON                  NC           90013150710
926275A252B934   JEANETTE        NAVARRO                  CA           90010025025
92629121A91599   LILIA           PORTILLO                 TX           90013321210
9262996A47B444   IVIS SORTO      VASQUEZ                  NC           90011479604
9263273585B531   WILLIAM         POLLACK                  NM           90011647358
9263487755B548   PRATT           ANNIE                    NM           90012248775
926354A7772B56   RUBY            HOGARTH                  CO           90006504077
926355AA272B51   MARTIN          MACHAIN                  CO           90013075002
926369A4A2B982   SERGIO          GARCIA                   CA           90003899040
9263757A27B43B   CARLOTTA        FORD                     NC           90011325702
9263841372B982   GREGORIO        PORTALES                 CA           90011584137
92639A87772B32   SARAH           LAGUNA                   CO           90010110877
926422A4391399   ERICA           PEREZ                    KS           90007982043
92642672572B3B   ALLISON         MARTINEZ                 CO           90007156725
926442A425B548   ARIANNA         TAPIA                    NM           90012032042
9264744A52B982   JOSE            AGUILAR                  CA           90013074405
92647A12877537   SCOTT           COULBOURN                NV           90012450128
92648533572B42   MELANIE         WARNER                   CO           90013015335
9264B637797B59   JEREMIAH        MOORE                    CO           39048376377
92651518A2B27B   JENNIFER        GARCIA                   DC           90011405180
92652557572B51   OTILIA          ESQUIVEL                 CO           90013365575
92653258272B42   KARISSA         DIGGINS                  CO           90014812582
9265646718B149   RHONDA          REED                     UT           90014254671
92657A12877537   SCOTT           COULBOURN                NV           90012450128
9266922318B149   RIKO            ROMERO                   UT           31062212231
9267147542B982   ANGEL           FELIX                    CA           90011594754
92671745A2B27B   VALERIE         KERNS                    DC           90009347450
926723A7672B56   CAMILO          SAUCEDO                  CO           90011823076
926758A587B444   TANIKA          FARRIS                   NC           90002618058
92678A5667B444   SAVANNAH        WRIGHT                   NC           90013470566
9267937228436B   JANISSA         GRAHAM                   SC           90007863722
9267B38972B898   ALEXIS          TOVAR                    ID           90011423897
9267B81A891951   SACORY          ATWATER                  NC           90012038108
92681777897B59   CRISTHINA       AYALA                    CO           90014867778
       Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 849 of 1007


9268226A491951   NATASHA         BAILEY                   NC           90014872604
9268262814B588   JERRY           SKAGGS                   OK           90014636281
9268317712B982   MARIA           CASTILLO                 CA           90011611771
9268492635B548   JAIME           VALLES                   NM           90011349263
92684A6458B149   MARIA           BUDKE                    UT           90002090645
9268719235B548   HAVEN           SANDOVAL                 NM           90013631923
9268777312B26B   CHANEL          WASHINGTON               DC           81016787731
92688298472B42   CHRISTOPHER     DIX                      CO           90014232984
9268B6A538B336   CHANA           TURNER                   SC           90014656053
9269192A997123   JEFF            RALPHO                   OR           90014709209
92692363172B22   EFREN           VIGIL                    CO           90012293631
9269362814B588   JERRY           SKAGGS                   OK           90014636281
92693834572B3B   ESTHER          PEREZ                    CO           90009438345
926961A9291521   SOLEDAD         CUEVAS                   TX           90011671092
92696A2A84B554   DEEELLA         LEWIS                    OK           21587910208
926B1654272B42   DIANA           NAMANA                   CO           90013316542
926B1696672B22   ROSA            ISLAS                    CO           90014176966
926B1A32361977   NICOLETTE       REDD                     CA           90010300323
926B2364251334   VAUGHN          BUSH                     OH           90012983642
926B2698197B59   ADELINA         PEREZ                    CO           90012616981
926B4774391882   LACI            COOK                     OK           21087277743
926B47A9691399   YOLANDA         MARTINEZ                 KS           90011697096
926B641A897B59   KARIE           RIOS                     CO           90014334108
926B7427772B32   WENDY           ARELLANO                 CO           90013894277
926B864584B949   SEAN            SANDERS                  TX           90011606458
9271B119672B42   JOSE            PAVON                    CO           90011471196
9271B788481635   ANTHONY         WILLIAMS                 MO           90014067884
9272172AA5B383   BRENT           GUKEISEN                 OR           90010837200
92723A18A61977   ROXANA          PINTO                    CA           90009140180
92724A42991521   BEVERLY         ESTRADA                  TX           90013320429
92727328772B32   JAMES           DARPER JR                CO           90013263287
927279A3A93755   ELIZABETH       REED                     OH           90014129030
9272874145B531   MERCEDES        BARRAJAS                 NM           35080037414
9272B577172B3B   REBECCA         VALDEZ                   CO           90012975771
9273579812B982   ELIZABETH       RUIZ                     CA           90008707981
927362A344B554   DANICA          LEWIS                    OK           90008072034
92736755172B51   MARIA           SALGADO                  CO           90012887551
92738161172B22   JOSE            LOM                      CO           90013801611
9273887245B531   AMBER           SAUCEDA                  NM           90013358724
92738A8787B444   ALLEN           BASS JR                  NC           11084230878
9273B63A14B949   ASHLEY          ESCAMILLA                TX           90014656301
9274152A78B175   MIGUEL          ARELLANO                 UT           90014995207
927433A1A4B554   CHRISTINEA      ELLIS                    OK           90010773010
9274679A24B588   DAVID           ALEJO                    OK           90003797902
9274941232B27B   YANIRA          URBINA                   DC           90001344123
9274B312493755   AARON           VANHOOSE                 OH           90012923124
9275198764B949   MISTY DENISE    WARD                     TX           90014659876
9275396A691399   ADRIANNA        RODRIGUEZ                KS           90011699606
92758213772B62   FAUSTINO        ABADILLA                 CO           90013042137
92762258197B59   MARCOS          CASTRO                   CO           90013962581
92764122A7B444   RAMEL           DAILS                    NC           90013601220
92764128A91521   VANYA           MARTINEZ                 TX           90013221280
92764A2A172B32   STACY RENNE     PASSAFIUME               CO           90013780201
9276559447B444   BENJAMIN        CRUZ                     NC           90010395944
92766899672B3B   ERICKA          MILES                    CO           90009078996
92766A31672B22   CAMERINO        FLORES                   CO           90010060316
9276715287B444   RAMON           STILL                    NC           90012901528
92768115197B59   TEMPORARY       ACCOUNT                  CO           90010021151
92769859A72B3B   SARAH           ARELLANO                 CO           33019688590
9276B255691951   ALEXANDRIA      ALEVAREZ                 NC           90012732556
9276B26635B531   ANDREW          MARQUEZ                  NM           90010472663
9276B861872B3B   MAYRA           CASTILLO                 CO           90013428618
9276BA3174B949   BIBBLE          SIMIEN                   TX           90006950317
92773A84933698   STEPHANIE       CROUCH                   NC           90014570849
92774456A5B383   KATHRYN         LOUNDREE                 OR           44567874560
92775A7782B982   CHARLENE        HAWKIS                   CA           90012010778
9277638855B548   KOREY           ROBLES                   NM           90013083885
927852A4391599   CHRIS           ENRIQUEZ                 TX           90014412043
9278783668436B   TRACEE          GANTLIN                  SC           90003558366
9278815335B383   WILLIAM         SPENCER                  OR           90014151533
9278B35815B531   JEFFEREY        RENEAU                   NM           90014713581
9279139244B554   JAMIE           MARTENS                  OK           90014103924
92795A4922B27B   APRIL           CUNNINGHAM               DC           90013480492
92797198A72B56   ELIZABETH       TRUJILLO                 CO           90012781980
9279B3AA277537   JAVANI          RAMOS HERNANDEZ          NV           90015183002
927B1187961977   BRENDA          JAIME                    CA           90008241879
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927B243835B383   WHITNEY        BAKER                    OR           90014414383
927B2464A2B982   CHRISTOPHER    LERMA                    CA           90014734640
927B3246755957   TOUMOUA        LEE                      CA           90013352467
927B3491951334   TODD           MICHAELD                 OH           90010874919
927B446514B54B   JUAN           QUIROZ                   OK           21512374651
927B4515261979   AMABIA         MURILLO                  CA           90011795152
927B4531177537   SHERI          POTTS                    NV           90010845311
927B59A737B444   SYLVIA         BURNS                    NC           90014729073
927B69A737B444   SYLVIA         BURNS                    NC           90014729073
927B8627972B42   SHEIMTHA       DANIEL                   CO           33002206279
927B93A6591951   JUAN           GOVEA                    NC           90011973065
927BB51652B982   RAFAEL         VAZQUEZ-VALDOVINO        CA           45056715165
92811228472B51   RODNEY         RICHMEIER                CO           33077652284
928113A5233623   SMIA           DAVIDSON                 NC           90011543052
928133A6A4B554   DASHONTE       DENSON                   OK           90008073060
92816283372B22   CANDI          MAURICIO                 CO           90013002833
92817325A93755   DONALD         MALONE                   OH           64514783250
92817743172B3B   EMMA           AVILA                    CO           90003377431
92818AAA18B149   DAYTON         JAMES                    UT           31003530001
9281B48574B588   ASHLEY         ARNOLD                   OK           90011924857
9281B947372B51   EDUVIGES       ROSALES                  CO           90012999473
9282211494B588   QVEON          FRANKLIN                 OK           90014631149
928236A534B949   JOSHUA         KELLY                    TX           90006526053
928252A3955926   ALEJANDRO      LOPEZ                    CA           90011542039
9282658395B531   DOROTEO        GARCIA                   NM           35019985839
9282814A84B588   EDWARD         HOWELL                   OK           90014631408
92828238172B56   GREG           BLESE                    CO           90000982381
9282998714B949   STEPHANIE      VILLAFRANCO              TX           90014709871
9282B137972B56   JENNIFER       JAIMES                   CO           90014891379
9283149A23B392   DENISE         ROMERO                   CO           90008414902
928334A3731952   MICHELLE       RANCE                    IA           90014754037
92834139272B56   KUMARI         SARKI                    CO           90014891392
9283469AA8B149   ANDREA         ARCE                     UT           90010876900
9283539288436B   JASMINE        GLOVER                   SC           90012943928
92836669197B59   ELIJAH         SEPEDA                   CO           90013046691
9283849354B949   LAAQUA         RICHARDSON               TX           90014714935
9283966227B444   JUAN CARLOS    RAMIREZ                  NC           90013486622
9283B684343584   MICHAEL        CHESHIRE                 UT           90014516843
92841912572B3B   JOHN           DOUGH                    CO           90009459125
9284457338B149   KENDRA         OWENS                    UT           90013265733
928481A1672B62   SHARMAINE      DANIELS                  CO           90014531016
9284B25A755957   JORGE          GUERRERO                 CA           49051392507
9285112A655957   GUADALUPE      CORDOVA                  CA           49005861206
9285263687B444   AL             THOMAS                   NC           90011146368
92852A4195B383   DAVID          CLENDENON                OR           44509030419
92855168972B22   GEORGE         HARRIS                   CO           90014801689
92856AA8172B22   FRANCISCO      HERNANDEZ                CO           33044180081
92857681497B59   ZAVALA         CECILIO                  CO           90011226814
928582A139153B   VICTORIA       CASTRO                   TX           90000782013
92858928872B42   MICKEY         LYNCH                    CO           90012889288
928594A3A5B383   MICHAEL        HANSEN                   OR           90013444030
9285B356391599   ISABEL         OROSCO                   NM           75002493563
92864221172B32   JAVIER         AGUILAR-HERNANDEZ        CO           90007912211
9286658A372B3B   ROGER          HOWARD                   CO           33023765803
9286665578B175   KEVIN          KLIGMANN                 UT           90003106557
92869145272B56   KELLY          KINCHELOE                CO           90014891452
9286B266861977   MARKEISHA      SIMMONS                  CA           90009512668
92871549A72B3B   JOSE           CORTEZ-GODOY             CO           90012895490
9287369134B588   KYLE           GOAD                     OK           90014636913
92876381572B62   PALI           BAUGHER                  CO           90012143815
9287857A355951   MICHELLE       TAPIA                    CA           90011155703
9287867A34B949   MARY           THOMAS                   TX           90012386703
92878834472B51   ANTHONY        BRANNON                  CO           33094938344
92879227172B42   ERIKA          SALINAS                  CO           33096182271
9287945674B949   MARY           THOMAS                   TX           90014744567
92881358572B22   LUIS           AQUINO                   CO           90012763585
9288488715B241   HAZEL          COSBY                    KY           90007848871
92886152A72B62   BIANCA         TAFOYA                   CO           33069861520
9288773718B175   JESSE          JENSEN                   UT           90015007371
9288843A772B42   ANGELIC        DELEON                   CO           90012904307
92888A66891599   DANIELLA       REYES                    TX           90010780668
9288936A772B22   KALA           SMITH                    CO           90012763607
9288958874B554   JAE-B          BRANHAM                  OK           90014865887
9288974234B554   RITA           AUGILERA                 OK           90000917423
92889987972B56   JOSE           LARA                     CO           33090979879
9288B6A9A72B3B   DELIA          MARQUEZ                  CO           33063296090
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9288B8AA972B56   CYNTHIA             TRUJILLO            CO           90011828009
92891116A91521   FRANSISCO GERARDO   TORRES              TX           90013901160
92893278A7B444   JOSE                SERATE              NC           90013782780
92894511672B3B   DANIEL              KING                CO           90012625116
9289563174B554   CORY                TRUBY               OK           90008406317
92895762172B3B   ERIC                AGUIRRE             CO           90013237621
928964A1141296   RAYMOND             JORDAN              PA           90013554011
9289828774B588   KALEB               VIOLETTE            OK           90014632877
92899721A8B149   KREG                WEIGHT              UT           90013987210
928B1599772B49   MARISOL             ORDAZ               CO           90012605997
928B2414855951   LEONARD             BARGAS              CA           90013974148
928B2A4414B588   TALESHA             HOWARD              OK           90014630441
928B3659291579   LUCERNA             BARRERA             TX           90009346592
928B3AA2A81634   LENORA DENISE       SHIELDS             KS           90012120020
928B4493681634   TYWONE              SULLIVAN            KS           90003704936
928B9637872B32   AMOS                DEHERRERA           CO           90014696378
9291234984B588   IDELLA              SPEARMON            OK           90014633498
9291391258436B   TIFFANY             NELSON              SC           90014599125
92916AA2972B32   ANA                 BECERRIL            CO           33084960029
92917728272B32   FELECIA             JARAMILLO           CO           90006697282
9291952282B27B   KENNETTA            HICKSON             DC           90012015228
9291986A85B383   STEFANIE            LOZANO-GUZMAN       OR           90013978608
92919971872B3B   SARAH               LEATHERMAN          CO           90008139718
9291B22A45B548   MAURICIO            REZA                NM           35016622204
9292432787B444   SHEILA              JONES               NC           90013013278
9292635882B254   DARNICE             JOHNSON             DC           90011423588
9292828437B444   TROY                IVAN                NC           90011122843
9292944644B588   MONICA              GRASS               OK           90011714464
9292B881697123   KENNETH             WILSON              OR           90014748816
92931936372B42   MELDA               MCGOWAN             CO           90012889363
92932556572B3B   ED                  KERFORD             CO           90006795565
929331A1291521   KENNY               CALDERA             TX           90007451012
92933533697B59   CORY                REED                CO           90013755336
92935362172B3B   LECRESHA            WARE                CO           90013263621
9293644A372B3B   OLGA                ESPINOZA            CO           33077264403
92936A64972B42   LUZ                 DAHERTY             CO           90012890649
92937718A72B51   PONCH               MASON               CO           90013097180
9293955A393769   RONALD              KINCER              OH           90009025503
9293B566455951   REGINA              YBARRA              CA           49002435664
92941796372B3B   ANTHONY             DIVES               CO           90011857963
92941A2315B383   LYNN                WILKINSON           OR           44509050231
9294619813164B   SANDRA              HERNANDEZ           KS           90005011981
9294715782B27B   KENNETH             DIGGS               DC           90012321578
92947976A4B949   LORENZO             CHAPA               TX           90010779760
9294B81355B531   FRANK               AUSTIN              NM           90013888135
92951729172B62   NATALEE             RODRRIGUEZ          CO           90012477291
9295335A62B27B   LESHAWN             DAVIS               DC           90014603506
9295611997B449   WILLIS              RYAN                NC           90002931199
92957A93691399   ISAK                CARILLO             KS           90010010936
9295B38A872B32   JARED               LEMONS              CO           90015143808
9295B736672B3B   CHRISTINE           SANDERS             CO           33069317366
9295BA61361977   SAID                AGUILAR             CA           46012360613
92961333A72B56   CHRIS               OZOR                CO           90014913330
92961A53455957   GILBERT             GARCIA              CA           90011900534
92963593497B59   JUAN                MARTEL              CO           90006535934
92966533972B56   ANTHONY             HELM                CO           90013005339
92966656397B59   STEVEN              LOPEZ               CO           90007936563
9296669614B554   JESIKA              ANDRADE             OK           21592696961
9296676868B833   DIANA               SAMUEL              HI           90014737686
929668A1A7B444   PABLO               ESCOBAR             NC           90012428010
9296718735B531   MARY                TRUJILLO            NM           35012931873
9296764878B175   ANTONIO             LLOYD               UT           31021766487
929691A3543584   DANIEL              PROVENCIO           UT           31094871035
9296B17654B949   JESSICA             VARELA              TX           90014771765
9296B25734B588   JULY                YANES               OK           21561602573
9297139A493755   SHANE               STURGILL            OH           90013673904
92972412172B3B   JAMES               GREER               CO           90013014121
929737A7141296   CHARLISSA           DINCO               PA           90012787071
9297486A261977   JOSHUA              MCGUIRE             CA           90012068602
92977697772B56   DIANA               QUINTERO            CO           90003826977
9297779A561977   SHAMIYA             PAGGETT             CA           90012727905
9297B99427B444   MARCO               MENDEZ              NC           90013839942
9298167695B548   KRISTINA            LEA                 NM           90007596769
9298195A84B588   LORI                ELLITT              OK           90014639508
9298695535B531   NICHOLAS            GALLEGOS            NM           90010439553
92987A42597B59   NANCY               LEOS                CO           39003900425
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929914A955B531   VICTOR              AGUILAR             NM           90009634095
929918AA181634   SHAWN               BARNETT             MO           90011488001
92992299172B3B   ELIZABETH           GALINDO             CO           90005052991
92995362872B32   CARMEN              LAWRANCE            CO           90013833628
9299992A472B62   ALEJANDRO           LIMONES             CO           90010659204
9299B3A875B383   LEEANN              WRAY                OR           90007053087
929B298565B383   JANET               GANDY               OR           90012219856
929B3361577537   BRIAN               YORK                NV           90015143615
929B3771355957   MANAT               SOUKNARONG          CA           90011297713
929B4844155951   PAMALA              SMITH               CA           90013628441
929B6341A4B949   VIRGINIA            PRICE               TX           90014753410
929B6395555957   VENANCIO            FLORES              CA           90011903955
929B744568B149   JENNIFER            WILSON              UT           90015324456
929B7946691951   ERIKA               CAROLINA LOPEZ      NC           17015529466
92B122A4472B56   OMAR                VALENCIA            CO           90014882044
92B1279962B27B   CARLOS              WATKINS             DC           90012977996
92B1317128436B   JEFFREY             HERRINGTON          SC           90012141712
92B13493497123   MATHEW              STREU               OR           90009924934
92B16571443584   CHRISTINA           WHITE               UT           31086975714
92B1664A297123   VERONICA            RAMIREZ             OR           90014646402
92B16814397B59   KG                  STEVENS             CO           90012058143
92B18737672B3B   ANTONIO             MARTINEZ-SAENZ      CO           90010247376
92B23583477537   TAYA                JENKINS             NV           90013475834
92B23A2964B949   MASON               FONTENOT            TX           90015200296
92B2532228B175   CAMERON             WILSON              UT           90011473222
92B2539665B531   DARLENE             ARANDA              NM           35066553966
92B2629394B588   GLENDA              SILIEZAR            OK           90011842939
92B26648557126   GEYDI               NOLMOS              VA           90013556485
92B2866228B175   JONH                KELVIN              UT           90010496622
92B29159A77537   FILIBERTO           SAAVEDRA            NV           90012921590
92B31213172B56   ANGEL               ROSAS CASTRO        CO           90014882131
92B32478672B32   TODD                KINNETT             CO           90010954786
92B33189691521   SAMIA               AFRIN               TX           90002241896
92B334A414B554   MARIA               ROBERTS             OK           90011324041
92B3368A64B588   TODD                HOLMES              OK           90012396806
92B33844661977   MANUEL              MAGALLON            CA           90004128446
92B34195485689   JHONNY              MENJIVAR            NJ           90000401954
92B34292A72B3B   JESUS               CHICO-RAMIREZ       CO           90010672920
92B34A1347B444   DAVID               PHIFER              NC           90013780134
92B353A7597B59   JERRY               GROSS               CO           39081563075
92B36532172B32   KATTY               RAMIREZ             CO           90012415321
92B393A2272B42   ANTONIO             SANTANA-ROMERO      CO           90011293022
92B3B643A55957   ABEL                MARIN               CA           90012716430
92B41A83772B32   DONNA               STOREY              CO           90010720837
92B42517661977   KAILYN              BUCHANAN            CA           90012955176
92B42614897123   EMILCE              JIMENEZ             OR           90008396148
92B42691955957   JOE                 GUTIERREZ           CA           49079386919
92B4328A591955   MAGALI              OLIVO               NC           90012252805
92B43A52391399   RILEY               CHRIS               KS           90011680523
92B4513A72B982   EDWARD              MENTZ               CA           90012071307
92B46314372B3B   MELBA               CETINA-CUXIM        CO           90009623143
92B4864A597B59   JULIANA             HERL                CO           90015086405
92B49216243584   CERRISA             MADDERA             UT           90015122162
92B4B888191599   VANESSA             BENNETT             TX           90014598881
92B4BA68672B99   DAVID               CRESPIN             CO           90003060686
92B52235955951   LINCY               HARDING             CA           90011492359
92B5268482B27B   STEPHANIE           SANCHEZ             DC           90005436848
92B5484A88B175   PAUL                SMITH               UT           90014928408
92B55464893769   REBECCA             DRUIN               OH           64594654648
92B55766593755   JEFF                SNIDER              OH           64528357665
92B55A66893769   GERALD              DRUIN               OH           90014960668
92B57A9823B348   MICHELLE            HARRISON            CO           90001910982
92B58589251334   ALFRETA             BREWER              OH           90013305892
92B58A3A68B149   SCOTT               MCMILLAN            UT           90015090306
92B59666141296   BRITTANY            GREEN               PA           90010206661
92B5B38882B26B   MICHAEL             FISHER              DC           90001553888
92B61158972B56   MICHAEL             GONZALES            CO           90012781589
92B62919161979   GREG                REES                CA           90000569191
92B6335655B531   ALEXANDER           CORTEZ              NM           90010283565
92B6357394B588   ROBERTSON           ANTHONY E JR        OK           90014495739
92B63681591599   CENOBIO GUILLERMO   DUARTE              TX           90013296815
92B65524472B51   LARRY               MONTOYA             CO           33034995244
92B67899455957   ROSIE               VERDUZCO            CA           90014428994
92B6B12985B531   DAVID               CHAVEZ              NM           90013841298
92B6B819443584   KAITRIN             MATTHEWS            UT           90013638194
92B71397A43584   SHELYY              SOLANO              UT           90012303970
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 853 of 1007


92B7191814B554   DENITRA        ELLIS                    OK           21506099181
92B71932A72B51   CARLO          TWOFEATHERS              CO           90012629320
92B72453A61979   MARTHA         MORENO                   CA           90011724530
92B7439795B383   ORICO          GUITERREZ                OR           90013803979
92B75555233698   KALIAH         DALTON                   NC           90013145552
92B76767272B22   JULIO          REYEZ                    CO           90003627672
92B77289391951   ARON           MONDRAGON                NC           17037202893
92B7729A972B22   DANIELLE       SOFFA                    CO           90010392909
92B78227A2B299   CARLA          DREW                     DC           90007732270
92B7948185B383   DAMION         SPEARMAN                 OR           90012084818
92B7968544B588   TED            KRITTENBRI               OK           90014496854
92B7B1A4855951   BERNICE        LUJAN                    CA           49081121048
92B82179755957   HECTOR         ARREDONDO                CA           90012771797
92B82515172B56   ALMA           PACHECO                  CO           90011945151
92B8255868B175   LUIS JAVIER    HERNANDEZ                UT           90011565586
92B85394172B51   SIRAJ          AMEEN                    CO           90011653941
92B85695291521   MARIA          CHAVEZ                   TX           75089096952
92B89412672B22   BRENDA         HERRERA                  CO           90012754126
92B8991765B383   JOSE           MOLENA NARCIZO           OR           90013669176
92B8BA59A91951   TYRONE         SMALL                    NC           90003670590
92B92814772B42   JESUS          ARGUMEDO                 CO           90010428147
92B9425644B949   SHIRLEY        OWENS                    TX           76500592564
92B95347381635   ZAYNAB         OSMAN                    MO           90011443473
92B9598482B982   ELIA           HERNANDEZ                CA           90010959848
92B97A32A91951   ANGELICA       GARCIA                   NC           90013860320
92B97AA933B354   DANIEL         EGELAND                  CO           90009680093
92B9859435B531   ARTHUR         ARCHIBEQUE               NM           90013935943
92B9B492A51334   KENNETH        GRAHAM                   OH           90013404920
92BB1184A72B51   CARLOS         HERNANDEZ                CO           90008691840
92BB27A6461977   LOREN          GLASSON                  CA           90008347064
92BB314714B588   TIMOTHY        STEWARD                  OK           90014491471
92BB386615B531   JOHNNY         ROBINSON                 NM           90014518661
92BB3981A4B554   GUADALUPE      MAGANA                   OK           90008219810
92BB4755781634   JONI           WYATT                    MO           90012547557
92BB4769955957   WENDIE         GARCIA                   CA           49083367699
92BB5521932582   GINA           RIOS                     TX           90014805219
92BB659264B588   ROBIN          TEMPLE                   OK           90014495926
92BB7767991599   ANAISS         PARRA                    TX           90011857679
92BB94AA772B22   MATILDA        VAZQUEZ                  CO           90012754007
92BB9A43797B59   KIRSTEN        BREWER                   CO           90014550437
92BBB888191599   VANESSA        BENNETT                  TX           90014598881
92BBB9A2A9198B   REESE          BORGUEI                  NC           90006199020
9311212124B949   SOPHIA         CARRY                    TX           90000441212
93113A75697B59   AMARIS         MCDOWELL                 CO           90011190756
931159A882B821   RICHARD        QUISPE                   ID           90014439088
9311839175B548   MARTHA         RODRIGUEZ                NM           35003533917
9311BA2514B231   KIM            POIL                     NE           90004020251
93121581472B42   AARON          BUTTS                    CO           90010505814
931223A6261977   KARLA          VAZQUEZ                  CA           90010563062
9312281445B383   SANDY          MACEDA                   OR           90012498144
93125A2358B149   JUANITA        ORTIZ                    UT           90014590235
9312B12A16193B   MARIO          ANDRADE                  CA           46032111201
9312B193455951   YESSENIA       SOTO                     CA           90013871934
9312B483621629   SAUL           HERNANDEZ                OH           90014084836
93135A3524B949   BILLIE         WARE                     TX           90014570352
9313638874B554   TYANN          MCCORKLY                 OK           90010143887
9313653944B588   CHRISTOPHER    WEAVER                   OK           90011425394
93136637797B59   GERARDO        VARGAS                   CO           39003906377
9313B667772B62   RIGO H         LOZANO                   CO           33068446677
9313B913355951   LISA ANN       PINA                     CA           90010899133
9314393468B138   JEAN           FROST                    UT           31009249346
9314763165B531   BRITTANY       JEROME                   NM           90013886316
9314924A897B59   ASHLEY         JARRETT                  CO           90004332408
9314953598B175   LATAIMOANA     LEAAETOA                 UT           90011835359
9314B58AA77537   SHAWN          MCGILLIVRAY              NV           90013525800
931521A3591399   VALERIE        CAHILL                   KS           90014021035
9315226A491399   VALERIE        CAHILL                   KS           90010982604
9315258A55B383   ROSLINA        GIDBMAA                  OR           90011395805
93153237A8B158   KRISTA         BRYCE                    UT           90010172370
9315354424B588   KRISTIAN       STOCKSEN                 OK           90011425442
9315561614B554   JOHN           CUTLIFF                  OK           21585496161
93155941872B22   UNOME          ABEYTA                   CO           90009819418
93156439A91521   RICARDO        AVILA                    TX           90010414390
93163486A8B175   CHERYL         HOPPE                    UT           31092324860
931647A224B588   KEILA          HENDERSON                OK           90012937022
931648AA855951   DEMONDRE       LUCAS                    CA           90011718008
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93167882672B42   MARK             SCHOLTZ                CO           90012858826
93168A4177B444   DARRY            ASHE                   NC           90014370417
9316978848B175   CORY             BECKSTEAD              UT           90011837884
93173778172B42   GINA             SHEVLIN                CO           33023597781
93178812572B3B   MATTHEW          ROSEN                  CO           90010808125
93179368A55957   RUBEN            LEMUS                  CA           90013073680
93182474A72B42   MICHELE          MARTINEZ               CO           90013944740
93182A1867B444   LATRICE          HURDLE                 NC           90013670186
93185152672B3B   IRENE            LOPEZ                  CO           90011041526
93185751672B3B   KARINA           SAUZ                   CO           90015117516
93186649372B42   JOSEPH           PADILLA                CO           33009936493
9318941113164B   MAURICIO         SOUZA                  KS           90012654111
9318B93785B548   DESIREE          APODACA                NM           90007249378
9319248A672B42   WESLEY           WU                     CO           90013944806
931936A5241296   DENNA            HOLMES                 PA           90013016052
93197543272B56   JULIE            RODRIGUEZ              CO           90011515432
93198796872B42   BRANDON          VELAZ                  CO           90012817968
9319925A95B383   TERRACE          LOONEY                 OR           90010462509
9319B547572B56   JULIE            RODRIGUEZ              CO           90011515475
9319B81134B547   TALENIA          WILLIAMSON             OK           90013448113
9319B882672B42   MARK             SCHOLTZ                CO           90012858826
931B134228436B   WILMER           MANUEL                 SC           90010913422
931B157444B588   OLALEKAN         AJALA                  OK           90014525744
931B24A8672B32   CHERYL           BARTHROP               CO           90012984086
931B3AA6291521   CARLOS           CARRILLO               TX           90008590062
931B414484B949   GLORIA           ARMIJO                 TX           90011091448
931B4678172B42   MERCEDES         POKORNY                CO           90007806781
931B6198872B42   JOHN             HOWELL                 CO           90015051988
931B6869185932   DONNA            MCELROY                KY           90015008691
931B68A7697B59   KATHRYN          WISEMAN                CO           90013028076
931B718324B556   ERIK             ORTIZ                  OK           90009731832
931B8A31243584   TIM              PEAY                   UT           90012090312
931B961555B383   PERRY            LAMBERT III            OR           90000766155
9321322197B444   ALEXIS           GUINN                  NC           90013602219
9321397545B383   KAREN            JONES                  OR           90010459754
93213A9545B383   KAREN            JONES                  OR           90008640954
93214488872B42   ROB              CISNEROS               CO           90013944888
9321553429184B   ROSA             PAREDES                OK           90012305342
9321578225B531   ALBERT           RODRIGUEZ              NM           90011017822
9321819684B949   GINGER           VICTOR                 TX           76570191968
93219A7A791399   JONATHAN         PETTY                  KS           90010470707
9321B542155951   MARIA DE JESUS   FLORES                 CA           90014175421
9321B622872B32   MANZANARES       MAX                    CO           90010496228
9321B647A72B62   FERNANDO         SANTIAGO ARAMBULA      CO           90010016470
93222489472B42   LEILA            TRUJILLO               CO           90013944894
93225299A72B42   DEVIN JAMES      HARBERG                CO           90008652990
93228489472B42   LEILA            TRUJILLO               CO           90013944894
93231113972B42   DANA             KESTER                 CO           90006151139
93233953297B59   LARRY            RAMIREZ                CO           90013259532
932374A1543584   MICHAEL          RAIFORD                UT           90001844015
9323B641191599   MELISSA          MUNOZ                  TX           90013866411
9323B657A72B42   ANDREA           FUSSELL                CO           33023536570
9323B811861979   MICHAEL          TREJO                  CA           90002308118
93241134972B22   SHAWN            SCHWINDMANN            CO           90012931349
93242A51991399   MARTIN           NICOLAS                KS           90011040519
932473A1143584   JANNETTE         BROWN                  UT           90014903011
93247453572B56   DEREK            TROUTNER               CO           90013804535
93248A14761977   JAMES            BURGIN                 CA           90004360147
9324B7A5972B3B   AMIE             SANCHEZ                CO           90011317059
9324B954143584   PAUL             VALERIO                UT           90014189541
9325242388436B   JESSICA          TRIA                   SC           90005364238
93253653572B22   BEN              SPENCE                 CO           90010216535
93253A17972B62   SERGO            ASHALYAN               CO           90008300179
9326569317B444   PABLO JAVIER     PERDOMO                NC           90013446931
9327251A841296   ABAGIAL          KIMMERLING             PA           90013895108
9327434834B588   TIFFANY          CODY                   OK           90005413483
93274624172B32   ROBERT           GAMEZ                  CO           90011146241
9327532A691951   ALEXANDRIA       DANDRIDGE              NC           90013623206
93275692772B22   JAMES EDWARD     LEHMAN JR              CO           90013006927
9327647675599B   SAMANTHA         SALINAS                CA           90009874767
9328362A77B444   RAPHAEL          ODILI                  NC           90011116207
932839A4493769   TINA             WILLIS                 OH           64559899044
93284A3A472B22   AMBER            AVILA                  CO           90006690304
93285563472B32   STEVEN           ENGLERT                CO           90013775634
9328558854B949   RAFAEL           LOPEZ MARLDONODO       TX           90013875885
9328589994B588   GLEN             HINCH                  OK           21511838999
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9328889A272B32   MARCOS ANTONIO   HERMOSILLO             CO           90014258902
9328B27A791599   DEYBA            PENA                   TX           90013112707
93293AA2521684   LANEICE          ROBINSON               OH           90014610025
9329821464B588   MICHELLE         GATES                  OK           21558132146
9329B179461979   ERASMO           MARTINES               CA           90008611794
932B26AA672B42   JANET            HERNANDEZ              CO           90012956006
932B6226872B62   DON              ADAMS                  CO           90011532268
932B8396441296   JAMES            SMITH                  PA           90015213964
932BB553977537   SEFO             ROPATI                 NV           90010975539
93311116A72B56   DJ               GILLES                 CO           90012781160
9331242855B531   ELENA            CRUZ                   NM           90014714285
93314A5548B149   KRYSTAL          YODER                  UT           90013820554
9331542A961977   STEVEN           ROGERS                 CA           90010154209
9331664525B383   JAMES            RONSON                 OR           90014106452
933184A7255951   CHARMAINE        FRANKLIN               CA           90013984072
9331B316561979   MENDEZ           SUSANN                 CA           90001003165
9332274693164B   LAWRENCE         BUMPHUS                KS           22083157469
9332975455714B   SADRA            CONTRERAS              VA           90004847545
9333327253B366   JOHN             GOMEZ                  CO           33018132725
93339533572B32   PHILLIP          ONDIS                  CO           90010135335
9333B76864B949   NIDAR            TAYLOR                 TX           90011137686
9334187834B554   ELIZABETH        BARRAZA                OK           90013478783
933421A6172B3B   SHALIMAR         CLARK                  CO           33098551061
9334298A155957   ENRIQUE          VELASCO                CA           90010739801
93344574797B59   ANAI             LOPEZ                  CO           90012585747
93346551A8436B   CHRISTOPHER      GALE                   SC           90013825510
93347383772B22   PATRICIA         MORALES-MARTINEZ       CO           90013603837
93347451172B42   ERIK             HERRERA                CO           90006524511
933475A5572B56   ALFONSO          GORDILLO               CO           33080295055
93355A66A81679   OZELLA           YOUNG                  MO           90014260660
93361846772B42   ROBERT           CLARK                  CO           90014408467
93361A27291521   STEVE            FLORES                 TX           90012760272
9336451444B554   TERRY            MAYS                   OK           90010355144
93367322872B42   APRIL            ZAPOYA                 CO           90010733228
9336772A95B24B   JANET            MILLER                 KY           90013557209
93369618172B62   ANGELO           WHATLEY                CO           90004366181
9336B72A13B394   SHERRY           THOMAS                 CO           90009297201
93372287A8436B   MICHELLE         MCCARLEY               SC           90003742870
93373A75872B42   JOSEPH           SCARLETT               CO           90012940758
933752A575B383   JEANINE          NICHOLS                OR           44585572057
93377165972B22   BLANCA           MALDONADO              CO           90012931659
93379A98855951   CLARENCE         WILLIAMSON             CA           90013690988
9337B7A1661979   LUIS             MORENO                 CA           90012857016
9338843254B949   IDELL            WARREN                 TX           90011154325
9338894985B383   DESTINY          WAJDIK                 OR           90011619498
9338982725B531   JESSICA          CHACON                 NM           90010838272
933899AA872B32   FRANSISCO        HERRER                 CO           33085849008
9338B544A72B42   KELLY            FLEMING                CO           90013945440
933923A1341296   ANTHONY          JEFFERSON              PA           90009273013
93393AA2991951   HAKIYM           BALTIMORE              NC           90014460029
9339558644B949   ASHLEY           YANCEY                 TX           90013635864
9339558973B366   NANCY            VILLANUEVA             CO           90009565897
9339712974B949   QUINN            TRAVETH                TX           90012851297
9339968255B383   SHERRY           DUREN                  OR           90013176825
9339B167A4B588   ALEXANDRIA       WOODMANSEE             OK           21510661670
9339B254372B56   ANA IRIS         VASQUEZ AMAYA          CO           90011792543
9339B933672B22   C                B                      CO           90011019336
933B7383A5B548   JOEL E           HERNÁNDEZ              NM           90013923830
933B828223164B   GINA             BEDOYA                 KS           90002212822
933B8435643584   LANCE            YOUNG                  UT           90015284356
933B926358B149   BRADY            DEVEO                  UT           90013482635
933BB123477537   VANESSA          HOLMBERG               NV           90013191234
933BB746543584   JONES            EDWARD                 UT           90012527465
933BB844177537   MARCUS           HUTCHINSON             NV           90014528441
9341143185137B   KENDRA           CHILDRESS              OH           90000154318
93413124272B62   ALBERT           ZAVALA JR.             CO           33017401242
93417429672B22   WILLIAM          ROGERS                 CO           90014744296
9341899344B588   CHRISTINA        DIGHTON                OK           90008069934
9341B95293164B   AVALOS           RODRIGUEZ              KS           90012969529
93421627772B56   DREA STEVE       RALEY                  CO           90011106277
93423124272B3B   MELISSA          MESSINA                CO           90011201242
9342329A255957   MARIO            MENDOZA                CA           49004372902
9342425468B149   THOMAS           MODERNO                UT           90014672546
9342515184B949   LOUIS            BEREZ                  TX           90010481518
93425856972B3B   JUAN             M GODINA               CO           90011318569
9343313284B588   CHRISTOPHER      HOMER                  OK           90006441328
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9343412444B949   MISTY           KIBODEAUX               TX           90009491244
9344548854B554   NOREEN          TATE                    OK           90010884885
93446A5422B982   ROMAINE         GHOSTON                 CA           90005090542
93447A28361977   MINA            JENNINGS                CA           90012980283
9345248515B548   GABRIEL         RAMOS                   NM           90013924851
93454372997B59   BERNIE          JARAMILLO               CO           90004723729
93455A47172B56   RAUL            JUAREZ                  CO           33035140471
93456686A81626   CHERYL          MORRIS                  MO           29001726860
93456945872B22   TAMMY           MUFFLY                  CO           33004639458
9345B124872B42   LUIS ANTONIO    RUBIO                   CO           90010091248
9345B221A4B554   VELIA           SOTO                    OK           90014282210
9345B32898B149   ARTHUR          SIDA                    UT           90009053289
9346811824B554   LATASHA         LYNN                    OK           90013301182
93468555672B42   RAUDEL          CHAVEZ                  CO           90013945556
93469798672B32   JUAN            REINA                   CO           90005027986
93469A39497B59   MARIA           AVALOS                  CO           90009930394
9346B159355957   BENNIE          AUSTIN                  CA           90013151593
9346B415597123   JEANNIE         WEST                    OR           90010254155
9347319135B383   ELIZABETH       ANTICH                  OR           90014811913
9347797298B149   MELONIE         WOODS                   UT           90010289729
934792A8161979   ELIAS           FLORES                  CA           90013032081
9347952A297B59   STACIE          STOCKTON                CO           90001725202
9347B155161979   FRANCIS         BROOKS                  CA           90011721551
9347B162155985   CRISTIAN        CHAVEZ                  CA           90011751621
9347B66832B256   BRYONT          KELLY                   DC           90010916683
9347B73A955957   ANGEL ESQUEDA   VILLALOBOS              CA           90013067309
9347BA29455957   MANUEL          IZQUIERDO               CA           90011110294
934839A495B531   EVER            ARZONA                  NM           90013239049
93484A5427B444   SHAMEKIA        ANTRES                  NC           90014780542
9348B816661979   CAROLINA        ESTRADA                 CA           90013388166
934921A4772B3B   LAWRENCE        ANDERSON                CO           90014251047
93492969772B3B   LARRY           ANDERSON                CO           90013199697
934943A844B588   TEANNA          SHANNON                 OK           21559853084
934947A157B444   ANGLES          OCHON                   NC           90010047015
9349515A161979   NATALIE         CUDDY                   CA           90010271501
93495819172B62   GITAIN          VIZCAINO                CO           90012908191
9349657515B548   MARISOL         CONTRERAS               NM           90013925751
9349677384B554   JAMES           GONYOU                  OK           90012987738
93498827233B2B   AURELI          PEREZ                   OH           90014148272
93498A26A55951   ANGEL           BENITEZ                 CA           90012340260
9349924984B554   PLACIDO         VARGAS                  OK           90014092498
9349B258955957   ANDREA          ALBARRAN                CA           90014452589
934B322844B949   VICKI           SEGEADA                 TX           90014652284
934B3385391951   BLANCA          POLIO AGUIRRE           NC           90014213853
934B9256172422   MICHAEL         HANEY                   PA           51001422561
934B9A48872B32   OWEN            MARTINEZ                CO           33030940488
93511529A61979   IVAN            LOPEZ                   CA           90013935290
9351275215B383   COURTNEY        RENFROW                 OR           90011107521
935135A1855951   ARKIM           STOKES                  CA           90014505018
9351B34233164B   SHANICE         DELEON                  KS           90012183423
9351B5AA791599   ROSALINO        BAUTISTA                TX           90010425007
9352241729125B   MIKELL          SANDERS                 GA           14598694172
9352328577B386   DEOMES R        SOLORZANO GODOY         VA           90009382857
93523493A4B554   TALITHACUM      HENDRIX                 OK           90013964930
9352488844B554   ATTALLAH        BIRDSONG                OK           90011068884
9352539524B588   JOHN            KESSINGER               OK           90012603952
935284A368436B   DAVONNE         WOLFE                   SC           90009824036
93529564A91521   JUAN            RIVAS                   TX           90011195640
93529A14891399   JESSICA         CERVANTES               KS           29009050148
9352B658372B42   LINDA HAYDEE    RUIZ MARTINEZ           CO           90006286583
9353148314B235   JESSICA         BORG                    NE           27064454831
93531AA3672B22   TRAVIS          PETERS                  CO           90005100036
93532463872B3B   TRAVIS          OPEL                    CO           90004754638
9353341923164B   ADRIANNE N      HOWARD                  KS           90003894192
9353537775B383   SAPHAT          CHHOEM                  OR           90010633777
935357A9661979   YZMAR           MUNOZ                   CA           90013077096
9353674775B383   STACY           JAMES                   OR           90014637477
93542837A5B368   ALLIO           BLONDI                  OR           90012608370
9354351517B444   SADRIGA         GIBSON                  NC           90009315151
9354533453164B   VITA            GRADO                   KS           90014453345
93547699172B62   ED              WILLIAMS                CO           90015136991
9354883562B256   JASMINE         ANDREWS                 DC           90013158356
9354947795B531   ROY             THUNDERCLOUD            NM           90012904779
9354B23864B588   GUILLERMO       VILLANUEVA SOLORZANO    OK           90009432386
9354B56A12B24B   CHRISTOPHE      HARGROVE                DC           81014385601
9355188885B383   BERTHA          CARRILLO DE SOTO        OR           90009868888
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93552876A2B254   SHANTE         BROWN                    DC           90012638760
9355329437B444   CARL           RITTER                   NC           90010142943
93553A72261977   STEVEN         CASE                     CA           90008340722
9355456965B531   TAMMI          HEATHERINGTON            NM           90012985696
9355539194B554   MANUEL         PORRAS                   OK           90013093919
9355721A772B62   STACY          BASSETT                  CO           33011402107
93558A23A4B949   GABINO         GOMEZ                    TX           90006630230
9355B639972B62   OWEN           BROWN                    CO           90013306399
935625A1461979   JOE            MAMA                     CA           90010315014
93563A35572B3B   EDWARD         PACHECO                  CO           33053010355
93563AA955B531   NANCY          ESPINOZA                 NM           90013690095
9356411A891951   T              YARN                     NC           90012831108
9356474748436B   JAMES          WALKER                   SC           90013107474
93566582172B22   JULIO          VILLALOBOS               CO           90013955821
9356774A372B42   JORGE          SANCHEZ                  CO           90012677403
93571129472B22   ERICA          SMELKER                  CO           90003131294
93571375972B56   REINA          ZUNIGA                   CO           90011793759
9357157568436B   LASHAY         FRAZIER                  SC           90014285756
93571A24755957   PEDRO          RODRIGUEZ                CA           90008950247
9357484637B481   FERNANDO       PEREZ RIZO               NC           90010098463
9357665A641296   DOCK           FIELDER                  PA           90013966506
935767A5272B32   DROOPY         WALLZ                    CO           90012987052
9357747775714B   LUIS           MARQUEZ                  VA           81031354777
9357747A92B982   BLANCA         CERVANTES                CA           90009704709
93577A95941296   ANASIA         WAIT                     PA           90013020959
93579A1A672B42   TOM            VO                       CO           90009310106
9357BA3A997123   DEBORA         GUITERREZ                OR           90014160309
935811A1377537   DOMINICK       WASILEWSKI               NV           90010791013
93581A88355957   CHHIEANG       SAM                      CA           90013460883
9358271A372B42   MANUELA        ESTRADA SALCIDO          CO           90012887103
935836A8755957   KIAUNDRA       CRAWFORD                 CA           90004806087
9358445886193B   YOBANA         HERRERA                  CA           46062154588
93584897A5B548   CATALINA       ABEITA                   NM           90012918970
9359977965B383   NICOLE         DIAZ                     OR           90000817796
9359B873961977   AMELIA         GIL                      CA           90011968739
935B1492791599   MARY           HOSENDOVE                TX           90003074927
935B3418277537   FRANK          GALINDO                  NV           90010454182
935B351458B149   SAMMY          BECKSTEAD                UT           90011325145
935B445713164B   JOHN           DOE                      KS           90013454571
935B5173155957   VERONICA       RODRIGUEZ                CA           90013401731
935B6824491521   SEAN           JOHNSON                  TX           90012168244
935B7819691521   ANA            LIRA                     TX           90012598196
935B7948755957   NEIL           BEYION II                CA           90012269487
935B9493861979   JOSE           PEREZ                    CA           90010334938
935B9744997B59   NICHOLAS       MILLER                   CO           90008407449
935BB12695B531   VINCENT        MONTOYA                  NM           90010121269
935BB419477537   AMBER          HITCHCOCK                NV           43007884194
935BB511161977   DEBORAH        BROWN                    CA           90013945111
935BB535461979   CACHINBA       GONZALEZ                 CA           90013925354
935BB757572B62   AMBER          WOLF                     CO           90000637575
935BBAA7743584   BARBARA        SNYDER                   UT           90013400077
93611416472B56   FERNANDO       CONTE                    CO           90011794164
93613834372B42   JOSE           HERNANDEZ                CO           90013968343
9361716928436B   APRIL          PORTER                   SC           90011881692
936171A2972B42   PAOLA          CHAVEZ                   CO           90012471029
9361B1A2472B22   HABIB          GUTIERREZ                CO           90012941024
9361B412597B59   BRYAN          AGUIRRE                  CO           90009294125
9361B6A1491521   ALEJANDRO      LEYVA                    TX           90011196014
93621347A92825   LORENA         JIMENEZ                  AZ           90014543470
93621A78772B3B   JAIME          RIOS                     CO           90013560787
93622995372B62   DAISY          HERNANDEZ                CO           90012979953
93624AA838436B   ELIZABETH      MEDLEY                   SC           90012200083
93625A45161977   RICARDO        LOPEZ                    CA           90013970451
936284A4761979   MATT           FIDLER                   CA           46016534047
9362B13587B444   CENEDRA        THOMPSON                 NC           90013411358
9362B96528B149   ANN            BARNETT                  UT           90014729652
93632431272B56   DIANA          MONTELONGO               CO           90011794312
93633138672B56   OLGA           DIAZ                     CO           90012781386
93635A78772B42   MARIA          PINEDO                   CO           90014210787
936365A7397B59   FELMAN         TOMAS                    CO           39090045073
93636A32791521   ALEJANDRO      CHAVEZ                   TX           90013400327
93637622572B56   ANGELITO       PALMA-VENTURA            CO           90004946225
93638856172B3B   MAGDALENA      JIMENEZ RIVERA           CO           90014318561
93639619A61979   IVAN           ROSALES                  CA           90013936190
9363B365961977   ROSA           MEZA                     CA           90012043659
9364324A143584   KOLTEN         TOLMAN                   UT           90013852401
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9364432645B548   STEPHANIE       SALAZAR                  NM           90011003264
93646647197B59   BIELCA          TELLEZ                   CO           90006366471
936475A754B588   CHANDREAICA     GRIHAM                   OK           90011005075
93647A21172B83   ELI             GRASMICK                 CO           33016130211
93648435872B56   RAYLENE         CHAVEZ                   CO           90011794358
9364B486A4B554   JAMES           LARRY                    OK           90011864860
9365298355B531   EDITH           CHAIDEZ                  NM           90010319835
9365332375B383   JOSEPH          HAY                      OR           90008103237
93654A55691399   KENNETH         DOLES                    KS           90012760556
9365566228436B   KAREN           GROVES                   SC           90012896622
93657A33A5B531   DAISY           RONQUILLO                NM           35072280330
93657A54493721   JAMES           CHANCELLAR               OH           90007500544
936582A5391951   ASHLEY          HUNTER                   NC           90011052053
93658455A72B22   MICHELLE        NISSEN                   CO           90011554550
93658832272B42   JOSE            LUIS-GARCIA MONCADA      CO           90003178322
936592A9585882   DAWN            WEAVER                   CA           90009572095
93659A69572B3B   STEVEN          PORTUGAL                 CO           90010280695
9365B435872B56   RAYLENE         CHAVEZ                   CO           90011794358
9365B912372B56   ANTHONY         JORDAN                   CO           90013059123
93661479772B62   LESLIE          RODRIGUEZ                CO           90007654797
936638A5272B3B   FERMIN          FRIAS                    CO           33019398052
93663A42772B62   ROBERT          LITTS                    CO           90013120427
9366449918B693   CESAR           JAUREGUI                 TX           90014114991
936668A314B235   FATIMA          SANCHEZ                  NE           27011638031
9366691488436B   MARY            HORN                     SC           90010469148
93668A89272B3B   SHEILA          SMITH                    CO           33079910892
93669127272B32   GAIL            BARBER                   CO           33023231272
93669787297B59   CHRISTOPHER     BACA                     CO           90010777872
9366B242377537   OLIVER          GARRISON                 NV           43098532423
9366B25529125B   KELLY           PRINGLE                  GA           90005442552
9366B428172B3B   PAULA           GONZALEZ                 CO           90008024281
93672125972B42   JOY             BECK                     CO           90012431259
93672287A9125B   FELICIA         JOHNSON                  GA           90006242870
9367456975B548   RONALD          CASCANTE                 NM           90013935697
93676A53997123   AUSTIN          ALBERT                   OR           90011360539
9367794A155951   STEPHANIE       LEWIS                    CA           90009399401
93678363772B32   BRIAN           HARRIS                   CO           90012923637
93678654772B3B   DAVID           CALDERON                 CO           33033736547
9367B521141296   JOHN            FIELDS JR                PA           90008545211
93682443772B22   SALIHAH         LYLES                    CO           90010294437
9368311995B383   BRANDON         JOHNSON                  OR           90013921199
93683688272B62   MIRACLE         ARAGON                   CO           33036186882
9368829685B243   RAYMOND         WHITE                    KY           68096162968
9368B276372B3B   GREGORY         FISCHER                  CO           90011882763
9368B968155957   CLARISSA        DEL TORO                 CA           90014729681
9368BA71A91599   JOSEPH          DAVIS                    TX           90004240710
93691159472B42   KIANTE          MURRAY                   CO           90015121594
9369359A855951   TANYA           ROBINSON                 CA           90014565908
93695A9A64B949   ARMON           YOUNG                    TX           90014890906
9369752584B554   LIZPETH         VICENCIO                 OK           90013965258
936B111A255957   MARIO           RUELAS                   CA           90015121102
936B116A443584   LUIS            MORAN                    UT           90014371604
936B15A8361979   CHERIE          CHAM                     CA           90012505083
936B2145A4B554   ARTURO          AGUILAR-GUERRERO         OK           90014581450
936B453555B383   DORENE          LOWE                     OR           90013935355
936B48A164B235   DOMANISHA       TOLBERT                  NE           90009718016
936B592517B444   ESSIE           BOONE                    NC           90013749251
936B7228472B62   JOSHUA          MEAD                     CO           90008692284
936B86A1491521   ALEJANDRO       LEYVA                    TX           90011196014
936BBA26691399   LUCERO          SOTO                     KS           90010280266
93711482A5B531   DANIEL          BALDONADO                NM           90008994820
93712995A8B149   JAYSON          LUCIUS                   UT           90012909950
93712A3A34B554   TERRY           PURSELL                  OK           90012850303
93715484572B3B   DAVID           MARSHALL                 CO           90012184845
93716592397B59   RANDI           MARSH                    CO           90013645923
93716776872B42   ANGEL           TOVAR                    CO           90010507768
93717332376B42   ADAN            CRUZ                     CA           90015073323
93717377872B42   AMY             HERNANDEZ DELGADO        CO           90011563778
93718523A91521   ABIGAIL         MENDOZA                  NM           90010415230
9371B39714B949   SILVIA          ESPARZA                  TX           90014423971
9372217514B554   JOHN            MCPHERSON                OK           90013401751
93722A66572B22   ALINA           YOUNG                    CO           90015120665
937234A718436B   TYRELL          PYATT                    SC           19000024071
93731191272B56   GUADALUPE       CHAVEZ                   CO           90008311912
93733123572B42   PHILLIP         YANG                     CO           90011261235
93733866A72B22   SARAHI          DIAZ                     CO           90013938660
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9373587772B245   MARQUETTA      JOHNSON                  DC           90008878777
93736386672B22   LEVY           AVITIA                   CO           90013603866
93737556172B32   DANITA         PHELPS                   CO           90008025561
93737566672B32   DANITA         PHELPS                   CO           90012435666
937378A6377537   ANTHONY        HALE                     NV           43027228063
93739499772B56   EDWARDO        NUNOZ GUTIERREZ          CO           90011794997
9373B9AA698B22   ANTHONY D      DOUGLAS                  NC           90010909006
93743948272B32   RHONDA         DUDLEY                   CO           90009369482
93743A26A91399   LINDA          MARTINEZ                 MO           90010790260
937445AA172B62   SHERIE         LUCERO                   CO           90009595001
9374488475B383   NICOLE         RAMAGE                   OR           90008668847
93746A46991599   JESUS          RAMIREZ                  TX           90010460469
9374B75285714B   JAIME          ORELLANA                 VA           90001007528
937514A5161937   HENDRIKA       ALONZO                   CA           90010084051
9375182954B588   CHRISTA        PICCIONE                 OK           90013868295
93751A23955951   CHONG          LOR                      CA           90013250239
93751A99A41268   JAMITRICE      AVERYTT                  PA           90012110990
93754A36591599   HIPOLITO       RAMIREZ                  TX           90013000365
93754A38461979   THOMAS         PACKER                   CA           90013010384
93756783A4B588   SHANEKA        PINKARD                  OK           90008447830
93756894A91951   JAMES          PULLEY                   NC           90014888940
9375729775B383   DANIELLE       TOMICICH                 MT           44509472977
9375767A861979   KORINA         BARRAZA                  CA           90008556708
9375B393155938   ANA            MILLAN                   CA           90009333931
9376185A397B59   CRISTA         VENZOR                   CO           90013218503
93763215272B56   PABLO          GOZALEZ                  CO           33077652152
9376355585B548   SHARISE        BRUCE                    NM           90009185558
9376364562B948   PHILLIP        JENKINS                  CA           90007906456
93764A34491599   CHRISTOPHER    BROOMFIELD               TX           90010460344
9376585A343584   SCOTT          BUTLER                   UT           90014928503
9376628765B524   ANDRINA        MANZANAREZ               NM           35077312876
93766476372B32   AMANDA         JAMES                    CO           90014854763
93768616A55957   FRANCISCO      HERNADEZ                 CA           90011906160
9376937AA61979   JACOB          LOZADA                   CA           90011593700
9377382184B588   BRANDY         MILTON                   OK           90013658218
9377581815B383   MITCHELL       GREEAR                   OR           44597548181
93777519372B56   JAMES          LEENERTS                 CO           90011795193
9377781514B588   ALVARO         NOVOA                    OK           90010718151
937794A5841296   KYLE           WHITE                    PA           90014764058
9377951445B383   DANIEL         HAGUE                    OR           90014865144
9377B43A797B59   ABEL           COHEN                    CO           90013624307
93781393A9132B   MATHEW         MEDLLIN                  KS           90011003930
9378156398436B   DAGMAR         SEDIVA                   SC           90011875639
93784514A97B59   MANUEL         MELENDEZ                 CO           90013475140
937851A9191521   GUILLERMO      GONZALEZ                 TX           90013301091
9378656453164B   ZACH           MAXWELL                  KS           90013135645
93789391A3164B   KENNETH        KAUTZ                    KS           22094473910
9378B166631476   SADIK          FETAHU                   MO           90011691666
9378B4A7291951   MOSHIMALEE     JOHNSON                  NC           90013904072
9378B513A61977   MARIA          HERNANDEZ                CA           90014805130
9378B56764B588   KATHERI        TOWE                     OK           90013685676
93793A19372B62   SUSAN          RIVERA                   CO           33045020193
9379459A672B42   GILBERY        SANCHEZ                  CO           90014645906
93794625972B62   JAVONTAE       HUGULEY                  CO           90002876259
9379487434B949   NELSON         JOSEPH                   TX           90012868743
9379B158A61977   JACK           LANGENDOFER              CA           90015121580
937B3532161979   MARIO          JOFRE                    CA           46016575321
937B3A49993755   SMITH          ANTHANY                  OH           90011200499
937B4498872B62   FIDEL          RODRIGUEZ                CO           90002314988
937B9115477537   SILBIA         REYES                    NV           43012711154
937B966A261977   ESTEBAN        AVILA                    CA           90009956602
937BBAA2A72B62   SHAYLA         FRAZIER                  CO           90010850020
9381198724B949   KIRSTEN        ALLEMAN                  TX           90012869872
9381578848B149   CRYSTAL        MURRAY                   UT           90000707884
9382116968B175   KATE           MARTIN                   UT           90007211696
9382813AA97B59   ROCKY          LOPEZ                    CO           90012971300
9382B487541296   GARY           MORGAN                   PA           51006594875
9383199264B588   DAWAYNE        BUSCH                    OK           90009809926
9383298724B949   KIRSTEN        ALLEMAN                  TX           90012869872
93833159497B59   ERIC           MOORE                    CO           90013821594
93833A1264B235   DEMITRI        GURLEY                   NE           90007380126
93834279772B42   CLAUDIA        SOTO                     CO           90005892797
938345A9172B42   GUADALUPE      SOTO SANCHEZ             CO           33081825091
9383826664B588   FREDRICK       TUCKER                   OK           90006092666
93838A9427B429   BILLIE         JACOBS                   NC           90013080942
9384155314B554   KRISTINA       CRIST                    OK           90008685531
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9384197715B531   CHRISTOPHER    SHEPHERD                 NM           90012119771
93843839A3164B   TONISHA        MANYAGA                  KS           90012938390
9384672334B554   AMY            CLEMONS                  OK           90012837233
93847956572B22   ROMAN          ROMERO                   CO           90012949565
9384961738B175   WOOD           THOMAS                   UT           90010016173
93851668172B42   MARY           GUTIERREZ                CO           90013946681
9385268A672B62   DORIAN         DAVIS                    CO           90012336806
9385592213164B   JAMIE          CURTIS                   KS           22075859221
93855A4A491521   YESSICA        DIAZ                     TX           90009650404
9385795368B175   KRYSTAL        SCHOSS                   UT           90001549536
938594A154B588   KATHRYN        BLOODWORTH               OK           90010744015
938618A8A55957   EDGAR          BELLES                   CA           90012048080
938621A7A72B22   HAI            LE                       CO           90005591070
9386311444B554   JOSE           CABELLO                  OK           90011431144
93867917772B62   CARINA         TORRES                   CO           90014619177
93872321A5B326   WESLEY         MCINTYRE                 OR           90004733210
93872A96261977   WILLIAM        BALDON                   CA           90004570962
9387454724B949   JERRY          GREER                    TX           90014525472
938749A3491599   ELVA           MARTINEZ                 TX           90013609034
9387B887A8436B   MARISELA       CASTRO AMARO             SC           90007908870
93881185A97123   HILDA NELLIE   URBANO                   OR           90013971850
93881A32A91599   RENE           MENDEZ                   TX           90011490320
9388271524B588   JOHNATHAN      WHITTINGTON              OK           90013587152
9388557654B554   JAMES          MCCOLLUM                 OK           90011865765
9388562995B383   DARRELL        BOLDES                   OR           90013936299
9388632853164B   KEYA           PEARSON                  KS           90009403285
93889552597B59   ANNA           G REVITIA                CO           90007995525
9388963555B531   LANCE          BAILEY                   NM           90011346355
9388B29114B558   ADA            WALKER                   OK           90009172911
9388B554A77537   JULIZA         HAMILTON                 NV           90011695540
9388B966261979   ALEJANDRA      SILVA                    CA           90006859662
93891A46A7B444   JORGE          CAZARES                  NC           90012480460
9389333334B554   GREG           DORSEY                   OK           90011353333
9389434674B588   HERMAN         VALLADARES               OK           90012963467
9389461145B383   SEAN           PECK                     OR           90010806114
93895738776B42   MARY           DEMARCO                  CA           90010977387
9389574764B949   CAMILLIA       MURPHY                   TX           90012877476
93897A82161979   ANGEL          ANGULO                   CA           90009510821
9389956744B949   MARLON         COLEMAN                  TX           90014845674
9389975364B588   TIFFANY        STOKELY                  OK           90009807536
9389BAA3741296   CHRISTINA      BERRY                    PA           90003780037
938B12A2691521   BLANCA         BADILLO                  TX           90012372026
938B2255591951   ELEANOR        MITCHELL                 NC           90008232555
938B37A3597B59   ASHLEY         BREIDENBACH              CO           90000477035
938B4739691399   PLATERIA       YULONSI                  KS           90005177396
938B638835B531   ROGER          LORD                     NM           35019793883
938B6477A93755   CHINUA         SAVAGE                   OH           90011724770
938B7158272B22   MATTHEW        ALLEN GARCIA             CO           90012941582
938B7656872B42   DONALD         KUEHN                    CO           90013946568
938B9666955957   ARNOLD         DILWORTH                 CA           49023966669
938BB349972B42   JOSHUA         HARRIS                   CO           90014803499
93915798972B62   CARLOS         BERUMEN                  CO           33018207989
93917451A4B588   JOSE           CABRERA                  OK           90004374510
9391832517B436   ANGELICA       HERRERA                  NC           90000283251
9391978714B588   EDWARD         OLD BEAR                 OK           90014757871
93919A18361979   CLAUDIA        LOPEZ                    CA           90005990183
93922A18361979   CLAUDIA        LOPEZ                    CA           90005990183
9392821824B949   MARY           SIMMONDS                 TX           90015302182
9392B924A72B32   JUAN           ORRANTIA                 CO           90011309240
93931295272B22   NEFTALI        GUTIERREZ                CO           33004142952
9393146737B444   BENEDICTA      OPPONG AKOSAH            NC           90014874673
9393147A491521   GREGORY        OLMSTEAD                 TX           90014684704
939316A5191521   GIOVANNA       COSSIO                   TX           90013046051
9393449188B17B   MARK           STIMSON                  UT           31081944918
939368A6561928   STEPHANIE      MURGUIA                  CA           90012638065
9393819565B548   JOSE           GONZALEZ                 NM           90011831956
9393827543164B   FRIDA          MCCARDLE                 KS           90013392754
9393894935714B   STEPHANIE      BENSON                   VA           81097619493
9393B7A2A7B444   ERIKA          VERA                     NC           90009897020
939432A724B554   CATHLEEN       CERDAY                   OK           90011522072
9394347138B175   CHELSEA        DEVISSER                 UT           31062764713
939451A455B237   CHARLES        GARRETT                  KY           90010621045
939492A745B531   RIEL           LOYA                     NM           90011032074
93949A94672B22   JOY            PARKER                   CO           90012080946
9394B422261979   VILLAREAL      ERMELINDA                CA           90002804222
93951458A72B97   KATIE          KARPOVAGE                CO           33052424580
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9395349A761977   JEFFERY        EDWARDS                  CA           90010224907
93953881A91521   ANA            VALDEZ                   TX           90012858810
9395913244B588   VICTOR         REYNA                    OK           90015101324
93959196A61977   JENNIFER       LOPEZ                    CA           90012661960
9395B911997B59   NANCY          PENA                     CO           90012779119
9396353A355951   BRIANA         SHORT                    CA           90014785303
9396857A291599   LOPEZ          ANSELMO                  TX           90010295702
93972A68843584   JOLENE         BOURGET                  UT           90010120688
939737A255B548   LINDA          ARMIJO                   NM           90013387025
9397615A34B588   CORINA         TAYLOR                   OK           90012661503
93976275597B59   MARIA          RAMIREZ                  CO           90015202755
93976821297B59   CHRISTOPHER    ALLEN                    CO           90013378212
9397799164B949   ROKISHA        LIVING                   TX           90010339916
93978496897B59   ANGELA         RAMIREZ                  CO           90013154968
93982695172B3B   KOFFI          FIODANOU                 CO           90013066951
93984314A91599   ABRAHAM        RODRIGUEZ                NM           90010073140
93985515A72B62   JENNIFER       ELIOT                    CO           90011975150
93985893597B59   JUAN           FLORES                   CO           90014168935
93985A48261977   ANTONIO        ESTRADA                  CA           90013950482
9398935315B383   RICHARD        NORTON                   OR           90005323531
93989896772B22   ERIC           YOUNG                    CO           90013938967
9398B276143584   CRIS           LEON                     UT           90009032761
93993A97861979   GUSTAVO        CRUZ                     CA           90008680978
939942A8172B22   ERNEST         BOCANEGRA                CO           90012942081
9399496784B949   PEDRO          DELUNA                   TX           90013289678
93996A96191521   TELMA          RODRIGUEZ                TX           90002780961
9399836A14B949   SUSANA         ROMERO                   TX           90007573601
93998522197B59   CORTAINEY      WRIGHT                   CO           90002465221
939B11A167B444   ASIA           RANDELL                  NC           90013751016
939B2291277537   RANDALL        SULLIVAN                 NV           90010352912
939B249A88B149   MORGAN         BURNS                    UT           90011234908
939B2913172B56   NOREEN         KAISER                   CO           33001349131
939B6353477537   GABRIELA       GONZALEZ-CHAVEZ          NV           90012313534
939B7854361977   VENA           GERMAIN                  CA           90014698543
939B934265714B   JUAN           GARMENDEZ                VA           90008723426
939BBA8378B169   JONATHAN       DUMAS                    UT           90007360837
93B1445124B554   KRISTY         JOHNSON                  OK           90012674512
93B1553195B383   JAMES          LEDBETTER                OR           90012265319
93B1553A797123   JUAN           MACIAS MARTINEZ          OR           44072855307
93B15953193769   RAYMOND        HUDSON                   OH           90009359531
93B16962A5B565   JUAN           RUIZ                     NM           35064389620
93B17434791951   JUAN           GUZMAN                   NC           90012354347
93B17A6587B444   JONATHAN       ALVARADO                 NC           90013650658
93B1895A197123   CRISTAL        CASTILLO                 OR           90011399501
93B196A5A55957   JOSE           QUINTERO                 CA           90014896050
93B1B37585B548   THOMAS         TURLEY                   NM           90013923758
93B2157A497B59   RAYMOND        SANCHEZ                  CO           90013645704
93B21696361979   MOLLY          SANCHEZ                  CA           90013556963
93B2244A472B42   NATIVIDAD      MANUEL-PENA              CO           90013944404
93B23285791521   GERARDO        REYES                    TX           90010082857
93B2444A472B42   NATIVIDAD      MANUEL-PENA              CO           90013944404
93B24917172B32   DAWN           WALTER                   CO           90011779171
93B25229855951   DIEGO          RAMIREZ                  CA           90011522298
93B25A47897B59   HECTOR         LOPEZ                    CO           90012440478
93B2616988B175   CESAR          UGAS                     UT           90011831698
93B28AA7743584   BARBARA        SNYDER                   UT           90013400077
93B2B946672B42   CORY           CUNNINGHAM               CO           90012469466
93B3126958436B   KENNETH        NELSON                   SC           90013922695
93B33541731678   CRYSTLE        COX                      KS           90009995417
93B3382A461977   DULCE          RUIZ                     CA           90012448204
93B34936997123   STEPHANIE      BERGMAN                  OR           90010889369
93B35339155957   ANDREA         RODRIGUEZ                CA           49014683391
93B35612672B32   ANGELICA       GUITERREZ                CO           90011146126
93B37488543584   MARK           SHAMPTON                 UT           90014594885
93B37A12791882   ESTEVAN        FUENTES                  OK           90001940127
93B3922835B383   MARILYN        BRAUNE                   OR           90013272283
93B3936367B399   LORENZO        ESCOBAR                  VA           90005173636
93B411A4297123   BAILEY         O'NEILL                  OR           90013971042
93B4292548B149   ALFREDO        SABUCO                   UT           90013269254
93B43568197123   NATHANIEL      FIGUEROA                 OR           90012205681
93B4418247B444   DEANNA         SATCHELL                 NC           90012651824
93B45A6574B588   RAYMOND        HENDERSON                OK           90012870657
93B4773925B383   MARISABELLE    MUDDER                   OR           90010387392
93B47875691951   EBONY          WILLIAMSON               NC           90012388756
93B49257197123   SIRENA         HERNANDEZ                OR           90013242571
93B49A69597B59   LEROY          LUJAN                    CO           39088090695
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93B4B28915B383   YOUNG          JAH                      OR           90011152891
93B51164A55957   LOLITA         BURROLA                  CA           90014271640
93B51985977537   SHAWN          PRITCHARD                NV           90010899859
93B52294661977   JESUS          LOPEZ                    CA           90011012946
93B52441172B23   SHANNA         GERULLIS                 CO           33014184411
93B5291315B383   JOHN           JAMES                    OR           90011919131
93B54A6A891951   BARRY          COBB                     NC           90014310608
93B5537A18B175   RYAN           HANSEN                   UT           31054153701
93B5598344B949   DANIEL         TINOCO                   TX           90009089834
93B56448A55951   XIONG          YANG                     CA           90012634480
93B56466891951   CANDACE        ELLIOTT                  NC           90011084668
93B5694434B588   ALEXANDER      ROGERS                   OK           90009799443
93B5838574B949   CHRIS          DRAKE                    TX           90002053857
93B59474841296   CARLISE        PLUMMER                  PA           90013014748
93B5B52A877537   JOSE           ANTONIO MORALES          NV           43048095208
93B61191777537   LEILANI        AKIU                     NV           90010781917
93B6185417B444   JORGE          VELASCO                  NC           90011048541
93B61A27A91521   CORINA         MUNOZ                    TX           90013170270
93B62469791521   ALEJANDRO      SALAS                    TX           75044544697
93B6248635B268   CODY           NEWTON                   KY           90004074863
93B64154772B22   JULIAN         IBINEZ                   CO           90012911547
93B66938261977   REBECKA        KOMEHCHEET               CA           90014889382
93B67562572B3B   BRYANT         MARTINEZ                 CO           90011125625
93B67739A72B42   AYANA          WALKERS                  CO           90013057390
93B68776355951   VICTORIA       CASTRO                   CA           90013827763
93B6B671891599   HAYLEE         ARCHER                   TX           90011986718
93B72651691599   EDGAR          ESCALANTE                TX           90004196516
93B72888593755   RYAN           GINTER                   OH           90003978885
93B7514A441279   MICHAEL        MORGAN                   PA           90010671404
93B75349197123   CESAR          PERALTA                  OR           90011183491
93B75413572B3B   JAMES          BOLES                    CO           90012434135
93B7748114B949   RILEY          DAWKINS                  TX           90012054811
93B78151391521   NESTOR         SANCHEZ                  TX           75081281513
93B8226264B554   MEGAN          BREWINGTON               OK           90006902626
93B83751172B3B   BERNADINE      ROSALES                  CO           90005107511
93B84131372B62   TYLER          ROBERTS                  CO           90012511313
93B84419591521   ELENA          NAJERA                   TX           90010414195
93B84648A97B59   COREY          LUCERO                   CO           90013786480
93B8574495B548   PAZZ           JOANNE                   NM           90013357449
93B85936A8436B   MARTHA         GARCIA                   SC           90011919360
93B8734468436B   KEOSHE         SIMMONS                  SC           90013863446
93B88186A41296   JORDAN         GARZA                    PA           90013301860
93B8B7A623B354   BREANNA        NUGENT                   CO           90007497062
93B9195A291882   STEPHEN        TABORA                   OK           90006619502
93B91AA4897B59   MATTHEW        CHAPMAN                  CO           90008410048
93B9358275B383   BRENDEN        SPADY                    OR           90011605827
93B94911691951   RUSSELL        BARBEE                   NC           90010779116
93B9616314B554   MARIBEL        LOPEZ                    OK           90012041631
93B97553497123   CESAR          GUADARRAMA               OR           90013725534
93B9798318B149   XAVIER         KRIEVE                   UT           90011949831
93B9814114B522   CRYSTAL        JONES                    OK           90013061411
93B98311531459   CHRISTOPHER    BECK                     MO           90012903115
93B9926514B949   BILLY          BROWN                    TX           76590432651
93B99577855957   ANDRES         MADRAN                   CA           90013975778
93B99929993755   MELANIE        MURPHY                   OH           90011959299
93B9B572755947   ELOISA         VALLE                    CA           90011405727
93B9B968472B42   MARLENA        LUJUAN                   CO           90012989684
93BB1552A5B383   PETR           DEMEHENKO                OR           90005615520
93BB177A741296   JAY            SAH                      PA           90011647707
93BB2622591399   JUNIOR         DOMINGUEZ                KS           90012826225
93BB2939191521   VIANEY         SAMANIEGO                TX           90004399391
93BB4266591599   PATRICIA       FLORES                   TX           90011872665
93BB447715B548   FELIPE         MENDOZA                  NM           90012174771
93BB4683591951   TIAJUANA       HOLLAND                  NC           90005236835
93BB6658772B42   MAURICIO       ROBLES                   CO           90014006587
93BB687974B588   DEANELO        PAYN                     OK           90009308797
93BB839249125B   CHISTIAN       MADRID                   SC           90011843924
93BB872525B531   KATERI         MONTOYA                  NM           90011017252
93BB98AA88436B   ROBERT         FLOWERS                  SC           90010118008
93BBB2A4672B42   MICHELLE       CAREY                    CO           90004502046
93BBB76A68B175   SHERI          LANE                     UT           90003657606
9411276168B175   JACQUELINE     THOMSON                  UT           90013787616
94117729372B32   ANEATA         OBRIEN                   CO           90010747293
9411B64A355957   ANITA          APODACA                  CA           49023816403
94123477272B62   JOHN           CASEY                    CO           90012274772
9412472338B175   JONATHAN       BERGSTROM                UT           90011417233
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94125361472B42   JOHN            EMMONS                   CO           90014973614
94127999A4B588   QUINYETTA       COLE                     OK           90011779990
9412874916B933   GI-ANNA         PIZZARELLI               NJ           90014117491
9412B861793732   JOSHUA          PHIPPS                   OH           90004098617
94131116872B56   FREDDY          SANCHEZ                  CO           90011211168
941312A8A8B152   AMANDA          CRESEI                   UT           90010542080
941315A8172B42   JOSHUA          JACKSON                  CO           90014365081
9413189947B444   JACKIE          CHAN                     NC           90011648994
94132619372B56   LUCRECIA        FLEMING                  CO           33065166193
9413538534B588   JACOB           GUERRERO                 OK           90013833853
941361A8855963   JAMES           HALEY                    CA           90012871088
9413656A591526   OSCAR           GALLEGOS                 TX           90011405605
94137363A91399   ASHLEY          KEELING                  MO           90010033630
94143366987B91   ROSIE           SANDERSO                 AR           90013673669
94145A28191599   JESSICA I       MARTINEZ SAENZ           TX           90008070281
9414753834B588   IGNACIO         VERA                     OK           90000675383
9414757445B548   JAMES           TRANTHAM                 NM           90011445744
94148A21591599   BRANDY          CASTANEDA                TX           90007560215
9414B144472B22   RAYMUNDO        ALBARADO                 CO           90011181444
94151529A5B565   NATHAN          GALLEGOS                 NM           90006315290
94151A62255963   BARBIE          JEFF                     CA           90011790622
9415292A54B554   COREY           PITTMAN                  OK           21555929205
9415568624B554   CHRISTINA       JUAREZ                   OK           90011676862
9415684627B359   MANDY           BRANDT                   VA           90004038462
9415B614497B59   LUIS            RIOS                     CO           90013016144
9415BA9714B554   ANGELA          PLACE                    OK           90014780971
9416479A855963   ANDREA          LOPEZ                    CA           90012137908
9416535975B383   JESUS           MATAMORO                 OR           90015193597
94167588972B3B   KEVIN           LANFORD                  CO           90012615889
94169585172B56   DANIEL          MARTINEZ                 CO           90002855851
9416B34A14B588   GENESIS         AGUILAR                  OK           90014323401
9416B999A4B554   CORY            DIAZ                     OK           90012779990
94176582972B3B   PATRICK         CREEH                    CO           90012985829
94177753272B22   CAMERON         ORR                      CO           90013087532
9417799694B554   LATRAE          NELSON                   OK           90011679969
94178592672B56   JESSICA         YURICH                   CO           33071605926
94179933A55963   RICHARD         SANCHEZ                  CA           90013959330
94179999A4B554   CORY            DIAZ                     OK           90012779990
9417B16498B149   WILLIAM         GAYLOR                   UT           90011961649
9417B8A6161977   KIMBERLY        STEEL                    CA           46083838061
94181639A72B56   DULCE           MENDOZA                  CO           90014946390
94182626A4B554   DELANO          ROBINSON                 OK           90012966260
94183582A77537   JAVIER          FRANCISCO                NV           90013555820
941837A7291599   ANDRES JR       BECERRA                  TX           75059777072
94183951372B42   TAKISHA         BAILEY                   CO           90013049513
941852A8591599   KARLA           RENTERIA                 TX           90013232085
9418835A161977   COOPER          MARIAN                   CA           46084523501
9418B81A48B149   TISHA           WALLACE                  UT           90000538104
94193445A72B32   JORGE           OREJEL                   CO           90014314450
9419435A47B444   SHAWNTEL        HOBSON                   NC           11014903504
9419551155B531   SALVADOR        GARCIA                   NM           35094545115
9419B22398B149   MATTHEW         BRYANT                   UT           90015092239
9419B772255951   JOSE            RAMIREZ                  CA           90010607722
941B1794272B22   ERZSEBET        CSANYI                   CO           90013077942
941B2121872B62   RICHARD         SILCOTT                  CO           90011931218
941B2966772B42   ELSA            FLORES                   CO           90014839667
941B37A935B383   NAOMI           MERRIMON                 OR           90009337093
941B3A39555957   YOEL            AVINA                    CA           90013850395
941B6838341296   JJDE            HACKETT                  PA           90010728383
941B7258341296   AARON           KARAS                    PA           51030222583
941B9763472B3B   JOHN            MITCHELL                 CO           90010827634
941BB893872B56   GERARDO         REYES                    CO           90000918938
9421193648436B   MARCO           TADEO VENTURA            SC           90011509364
94212143772B22   PORFIRIO        WHATLEW                  CO           90006291437
94213466A55963   ELSA            MARTINEZ                 CA           90015324660
94216139272B22   STEFANY         ANDREWSON                CO           90013991392
9421623525B531   DAVID           SANCHEZ                  NM           90011152352
9421699414B588   LIDIA           CARREON                  OK           90007929941
94216AA2393786   HEATHER         TOPPINS                  OH           90009390023
94218991372B56   GRIFFIN         DENISSE                  CO           90010569913
9421B31A855957   LLEVARA         MIRNA                    CA           90011923108
9421B655355957   ANTONIO         FLORES                   CA           90013616553
9421B743172B3B   DOMINIQUE       MALLARD                  CO           90014557431
9422372A872B22   MAYRA           BELTRAN                  CO           90009977208
94223841197B59   JOSE            HERNANDEZ                CO           39098688411
9422415215B531   CESAR           SOTO                     NM           90014161521
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9422B12A272B56   VICTOR         LOPEZ                    CO           90011561202
9422BA87672B3B   JOSHUA         ARMBECK                  CO           90015010876
94231651272B56   LUIS           ALVARENGA                CO           90014946512
9423259367B464   DARYL          HOLMES                   NC           90014195936
94232761772B22   RAYLANDE       WILLIS                   CO           90013087617
94232A4564B524   JUAN           FLORES-MARTINEZ          OK           90010040456
9423612934B588   TERRY          CODDINGTON               OK           90014561293
94236465372B32   TIMOTHY        MOBLEY                   CO           90012294653
9423697844B588   JOHN           EMMONS                   OK           90011789784
942386A2172B56   TERONN         SUTTON                   CO           33044956021
9423B591497B59   JONATHAN       HIESTAND                 CO           90002585914
9423B781155963   SHIRLENE       GRIFFIS                  CA           48050977811
94241761772B22   RAYLANDE       WILLIS                   CO           90013087617
9424835914B554   MARY           ERVIN                    OK           21585043591
9424B729491399   RELL           HUSTLE                   MO           90013607294
9424BA6677B444   QUINTISE       GREEN                    NC           90014250667
94251229972B3B   MIRELLA        ZUBIA                    CO           90005202299
942555A7572B22   SHAUNTE        UNDERWOOD                CO           90008565075
9425B97384B29B   CRISTIAN       GODOY                    NE           90013319738
9425BA3354B554   ANDREA         THEUS                    OK           90014400335
942613A4785844   ERIK           HOLMGREN                 CA           90011393047
9426293675B548   VICENTE        LICEA                    NM           90012819367
942657A218B175   DEAN           FURHRIMAN                UT           90010057021
94266294572B22   TERRY          HERDER                   CO           90000182945
942668A1691599   GUILLERMO      CABALLERO                TX           90008898016
9426B928255951   BIANCA         GOMEZ                    CA           90011869282
94272275372B22   SUSANA         VILLEGAS                 CO           90010422753
9427266384B588   LARRY          RUSSELL                  OK           90013076638
9427337145B565   ELIZABETH      SANDOVAL                 NM           90005523714
94275777372B22   KARIZMA        GIBBS ANTHONY            CO           90013087773
9427B93AA72B32   SHENA          REAVES                   CO           90011309300
9428967245B383   ALLEN          WENTZ                    OR           90014046724
9428B456172B22   JASON          GENSLER                  CO           33092034561
9428B863593755   ALBERT         NICHOLE                  OH           64575148635
9428B97A272B42   RYAN           BROOKS                   CO           90013049702
94291981572B42   MARIA          ESCALANTE                CO           90007909815
94292A61391882   DAN            WILLSON                  OK           90012890613
94295394772B32   KYLE           HERRERA                  CO           90011623947
9429553A898B21   RAFAEL         URBINA                   NC           90013835308
94295A85372B42   MARCELINO      GADINO                   CO           90011490853
9429758A772B22   GUADALUPE      RESENDIZ-CABRERA         CO           90007225807
942B1247893746   AUBRI          FARRAR                   OH           90009292478
942B1445977537   ARACELI        RODRIGUEZ                NV           43076554459
942B5763491399   NICOLE         MINOR                    KS           29003067634
942B5896677537   WILLIAM        FONTENOT                 NV           90013388966
942B646A34B554   JESUS          TORRES                   OK           90011434603
942B656334B554   CHRIS          NOELL                    OK           90013245633
942B7646472B56   ABDITAWAB      MOHAMED                  CO           90014946464
942B9A43755951   LUIS           PAULINO                  CA           90013100437
942BB67344B29B   PHYLICIA       THOMPSON                 NE           27078916734
942BB978193755   MIKE           CALDERON                 OH           90007599781
9431212718436B   TYRONE PAUL    PRINCE                   SC           90011021271
9431296655B548   GLORIA         ANDRADE                  NM           90012819665
943137A4172B56   GISMA          ALI                      CO           90014697041
943138A535B383   CAYETANO       MEDRANO                  OR           90011328053
94315795572B22   EMILY          HERNANDEZ                CO           90013087955
9431653368B175   CARESSA        LONDON                   UT           90013335336
9431791838436B   SHARON         HELANDER                 SC           90013079183
94318A92577537   CRYSTAL        QUINONES                 NV           90010970925
9431B85584B554   KARLTON        KINNEY                   OK           90014938558
9431BA68A55957   JUSTIN         JOHNSON                  CA           49082740680
943263A8372B22   JAMES          DEUTSCH                  CO           90013533083
9432831A472B42   SHELLENA       ORTH                     CO           90011093104
9432B91A981652   MIGUEL         CARTAGENA                MO           90004549109
9433154917B444   RENETTA        JOYNER                   NC           90011655491
9433159593164B   CHRISTINA      O'CONNOR                 KS           90006935959
9433819154B267   WILLIAM        RAMSEY                   NE           27075041915
94338198572B22   SAMUEL         CHAVIRA                  CO           33063841985
9433915AA61977   HERIN          JAMES                    CA           90015151500
9434219A891399   MICHAEL        MIDDLETON                KS           90014261908
94343757272B56   ROLANDO        GONZALES                 CO           90013427572
94344829A71945   DEMETRI        MANSKE                   CO           32064628290
9434653748436B   AUSTIN         ALLEN                    SC           90011865374
94347A87155951   SHELLY         SCHULKE                  CA           90010940871
9434816765B531   FEDERICO       REYES                    NM           90005691676
9434B568161927   ROMELIA        COVARRUBIAS              CA           46042915681
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94351592497B59   FERNANDO        CASTRO MENDOZA           CO           90012335924
94351784172B42   DANIEL          SOTO RIOS                CO           90013057841
94352AA3855957   ROBERT          TORRES                   CA           90015310038
9435742613164B   JOHN            WERTH                    KS           22038724261
9435913223164B   CHARLES         IRVIN                    KS           90014561322
9435B774372B56   ATTREEO         WATKINS                  CO           90008367743
9435B892155951   FELIX           MARTINEZ                 CA           90007808921
94361257372B3B   MIKE            FINN                     CO           90011202573
943637A375B243   AMY             HOWARD                   KY           90004687037
943657A7372B56   CHRYSTAL        HEWETT                   CO           90001507073
94366843772B32   BALTAZAR        LEDEZMA                  CO           33060088437
9436816498B149   WILLIAM         GAYLOR                   UT           90011961649
94368196172B3B   GUILLERMA       BAILON                   CO           90005031961
943691A8272B32   DEREK           LEONARD                  CO           90005881082
9437199A272B42   CHANTEL         TAFOYA                   CO           90013049902
94372597597B59   JASON           LOPEZ                    CO           90013485975
9437282688B149   AARON           ADAMS                    UT           90012338268
94373642A72B22   CAROLINA        GUZMAN                   CO           90010496420
9437375284B554   KRISTIN         JONES                    OK           90011687528
94373817472B22   DAVID           WILLIAMS                 CO           90013088174
94374A91655951   JESSICA         NORIEGA                  CA           90010940916
943776A1693755   TASHA           JACKSON                  OH           90009846016
94379817572B22   PAOLA           ANDRADE                  CO           90013088175
943812A6A3164B   OLIVIA          HERNANDEZ                KS           90014852060
9438244AA4B554   JAMAL           MARTIN                   OK           90014644400
94384992972B42   LUZ             PORRAS                   CO           90013049929
94384A8A261977   MARIA           GARCIA                   CA           90000280802
94388124272B99   ALBERT          ZAVALA JR.               CO           33017401242
94389179872B32   MELAINE C       COTTON                   CO           90012671798
9439231844B588   RODERRICK       TREADAWAY                OK           90014493184
9439525498B149   HAYDEN          HOLBROOK                 UT           90012212549
94395736A72B56   LILIAN          HERNANDEZ                CO           90011197360
943982A7661979   LATANYA         COLEMAN                  CA           90010532076
94398527A5B34B   WILLIAM         ELDRIDGE                 OR           90003075270
943B733168B149   KARY            ISLANDER                 UT           90014573316
943B782355B377   ADRIANA         MARTINEZ                 OR           90011938235
943B819567B444   CAROLINA        CUPIANO                  NC           90014841956
943B957184B554   JULIUS          TRAYLOR                  OK           21593155718
943B9615877537   ALLISON         DILLARD                  NV           90014846158
943BB3A5493755   QUANITTA        WORKS                    OH           90011353054
943BB842497B59   WENDY           WIGHT                    CO           39000558424
9441115AA61977   HERIN           JAMES                    CA           90015151500
94414585772B3B   BRITTANY        HAYES                    CO           90014085857
94416261A8B152   OLORENSHAW      NATHAN GEORGE            UT           90004492610
9441643A491951   RICHARD         SHINES                   NC           90010384304
9441998A841299   ELISE           CONLEY                   PA           90008689808
94419A4515B383   NOELLE          PEEBLES                  OR           90011360451
94426144A77537   SHAWNA          JONES                    NV           90012801440
94433A69472B32   PERLA           MORENO                   CO           90013910694
944342A3A55951   VERO            REYES                    CA           90011972030
9443431824B588   CYNTHIA         GROTH                    OK           90013843182
9443578965B383   JOHN            BEVERLY                  OR           90008387896
9443813468B152   LUIS            ALGERTO                  UT           90001181346
94439734672B22   JOHN            BRADSHAW                 CO           33035847346
944453A8871945   CHRISTOPHER     SULLIVA                  CO           90014853088
94449924272B3B   MAI THI         KIM                      CO           90010929242
9444B916A41279   DARIA           SAMOKHVALOVA             PA           90010439160
94451884697B59   JOSIE           BERNER                   CO           90012508846
9445285985B383   JULIE           HARLAN                   OR           90011128598
94453198A91888   CHARLES         CHESS                    OK           90014481980
9445565158B149   ESTHER          FUENTES                  UT           90008436515
94455867A55957   BREANNA         SANCHEZ                  CA           90013138670
9445B43695B565   FONDA           SANCHEZ                  NM           35080584369
9445B623A93755   JASON           NICELY                   OH           90011966230
9446113498B149   SHEENU          BURTIS                   UT           90012101349
94462766772B56   KIMBRA          HOWARD                   CO           90014947667
94463A3A872B42   ROSE MARIE      MEDINA                   CO           90013050308
94465857797B59   JUAN            LOPEZ AGUILERA           CO           90014338577
9446723A555957   AIOTEST1        DONOTTOUCH               CA           90015122305
9446882528B149   KATHRYN         HUNTER                   UT           90010358252
94468A34171945   JENNIFER        KAMBERIS                 CO           90000510341
9446979975B531   JACKIE          WADE                     NM           35045007997
9446B3A684B554   ALYSHA          MCMILLON                 OK           90015013068
9446B8A6972B22   BROOKE          KASPER                   CO           90000718069
94471843172B22   HUMBERTO        CHACON                   CO           90013088431
9447316A293755   ROBIN           WILLIAMS                 OH           90004021602
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9447471757B444   SHIRLENE       MCCULLOUGH               NC           90012507175
94474853372B22   SHERMAN        GIBBS ANTHONY            CO           90013088533
94475157397B59   DEBRA          MOORE                    CO           39001701573
944784A6661977   GUADALUPE      MARQUEZ                  CA           90012834066
9448282888436B   PATRICIA       NELSON                   SC           19047838288
9448547AA4B554   ELISA          LOPEZ                    OK           90011694700
94486756A55951   LARRY          YOKOPENIC                CA           90010267560
944878A138B175   JAMES          FITZLAFF                 UT           90009918013
944883AA48B152   JOLENE         OBONO                    UT           90004833004
944916A344B588   BRYAN          WILLOUGHBY               OK           90013896034
9449375273164B   ADRAIUS        RAYFORD                  KS           90010057527
9449398A45B383   ANDREA         HOPKINS                  OR           90012759804
9449414925B383   CHRISTOPHER    WILLIAMS                 OR           90015061492
94499872272B22   RAPHAEL        TINSLEY                  CO           90013088722
944B1372A55951   RHONDA         WOODS                    CA           90009253720
944B272A871945   HORACIO        PEREZ II                 CO           90013827208
944B27A4893727   JOHN           SMITH                    OH           90010827048
944B357A997B59   LORRAINE       RAMIREZ                  CO           90003315709
944B434A85B531   MARISELA       BARAJAS                  NM           90014163408
944B465725B19B   KRYSTAL        GRAFE                    AR           90013146572
944B4851991599   ASHLEY         SOSA                     TX           90003628519
944B62A4591592   JESSICA        ACOSTA                   TX           90012722045
944B62A758B149   JORDAN         CARTER                   UT           90011452075
944B6954777537   ROSA ELENA     GONZALEZ                 NV           90012859547
944BB145192825   VICTOR         PUEBLA                   AZ           90014251451
9451183AA93755   RENAE          WILT                     OH           90002528300
94515A46172B42   DANIEL         MCKIBBIN JR.             CO           90013050461
94523791372B42   CHRISTINA      BROWN                    CO           90010587913
9452B471472B32   CECILIA        RODRIGUEZ                CO           90014374714
945319A1761977   ELOY           HERNANDEZ                CA           90010249017
94531A66972B42   NUVIA          OROSCO                   CO           90011530669
94532517672B42   LUIS           SALINAS                  CO           90008675176
94532A48855951   RAMON          GONZALES                 CA           90015220488
945353AA991951   ANTONIO        JUAREZ                   NC           90007413009
9453542577323B   CARLA          NICHOLSON                NJ           90014824257
9453645815B243   NACOLE         KELLEY                   KY           90000984581
94539A4525B383   DECKELAR       JAMES                    OR           90012560452
94541A14938531   EMMA           MARIA                    UT           90012360149
94541A27972B42   GARRISON       AARON                    CO           90008110279
9454312A593755   MCLAINE        SHEETS                   OH           90014581205
9454B335355963   MARIANO        PEREZ                    CA           90010093353
94557372397B59   DAKOTA         MAY                      CO           90014703723
94557428872B62   RONALD         WATTS                    CO           90010854288
9455787754B29B   TINA           ALEXANDER                NE           90007868775
94558816772B42   DAVID          HALSTEAD                 CO           90010588167
9455932577B444   RAGIANNA       ROYSTER                  NC           90011663257
94563A29277537   MARK           BRAZELL                  NV           43035560292
9456632358B149   ERIC           SMITH                    UT           90013903235
945682A4672B3B   MICHELLE       CAREY                    CO           90004502046
9456B275991599   SAUL           MUNOZ                    NM           90011432759
9457267235B548   SHIANNE        MORA                     NM           90008326723
94574242A4B588   GABRIEL        PINEDA                   OK           90011812420
94574A12972B62   ANDY           LY                       CO           90009600129
9457851475B531   KELLY          HELVIE                   NM           90014165147
94579495897B59   GABINO         JIMENEZ-LUNA             CO           90013644958
94581625572B42   LAWRENCINE     MARTINEZ                 CO           90005986255
94582A95991399   MARIA          HURTADO                  KS           90010280959
94583A35A55963   CINDY          SOLIS                    CA           90014030350
94584A2AA76B87   JAY            BARROSSO                 CA           90014110200
9458625455B386   ALEX           BARTRAM                  OR           90011052545
94586A83771945   CHRISTY        TAYLOR                   CO           90010240837
945884AA455957   ANA            DIAZ                     CA           90002984004
94593791972B56   JOSE           AGUILAR                  CO           90014947919
94593927A91599   TERESA         FINLEY                   TX           90008149270
94595239297B59   VIVANNA        MCINTYRE                 CO           90014632392
945B1675997B59   JACK           GENRE                    CO           39011546759
945B2A3A672B42   MELVIN         NORMAN                   CO           90012440306
945B3395455963   ARTURO         FLORES                   CA           90013083954
945B4237672B62   MONICA         TORRES                   CO           90012602376
945B4791972B56   YESENIA        LUJAN                    CO           90014497919
945B4821693732   JANETTE        DANIEL                   OH           64508248216
945B5919572B32   TYLER          MCCAULEY                 CO           90010309195
945B8393255957   NICOLE         WILLIS                   CA           90005273932
945B8499155957   MARTIN         AYALA                    CA           90013104991
945B9464972B62   PAMELA         MACKNIGHT                CO           90011094649
945B9A81871945   CAREN          CLARKE                   CO           32004010818
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94611AA128436B   KAREN          CAMPBELL                 SC           90011890012
94614746472B42   ANGELICA       PORTILLO                 CO           90015127464
9461681A391882   CACIE          CALLOWAY                 OK           90012878103
94616A9435B383   ELOY           ZAYAS                    OR           44509440943
94617512172B22   HELEN          FUENTES                  CO           90014805121
946189AA155951   ALYSE          DAVIS                    CA           49036239001
94619644672B42   RAMON          VALLES                   CO           90007416446
946221A3972B42   GLADIS         NAVARRETE                CO           90013631039
94622322A55957   ZORCORIEA      COWHUN                   CA           90010373220
9462365695B383   SONIA          NIEHUSER                 OR           90012696569
9462429A897B59   JANIRA         ARAGON                   CO           90009272908
94624817372B42   CYNTHIA        HERR                     CO           90013058173
9462581A491599   JOSH           HERRERA                  TX           90011278104
9463176854B554   SHAYONA        LITTLESUN                OK           90014087685
94632121772B62   JUAN           GONZALEZ                 CO           33077461217
9463254675B383   LA SEAN        PHILLIPS                 OR           90013015467
94634349897B59   CRYSTAL        MININGER                 CO           90002743498
9463679A25B531   RICARDO        MARTINEZ                 NM           90014387902
94636A92577537   CRYSTAL        QUINONES                 NV           90010970925
9463749A193755   APRIL          KRULL                    OH           64536274901
946376A9972B62   FRED           GEAN                     CO           90012566099
94638595A5B383   KASEY          KENT                     OR           90005445950
9463969898436B   JENNIFER       DAVIS                    SC           90013186989
94639949A5B383   LARRY          TOOLEY                   OR           90010709490
9464222345B383   ROSALBA        IZORDIA                  OR           90001162234
94642923572B22   LUIS           VARGAS                   CO           90010679235
94644835472B56   NICOLE         SHIRLEY                  CO           90014948354
946499A3491599   ELVA           MARTINEZ                 TX           90013609034
946519A9472B22   CECILIA        FUENTES                  CO           90013089094
94653425A61977   CLARENCE       TAYLOR                   CA           90012534250
94654A88255957   RODGER         ALVAREZ                  CA           90014210882
94657958A77537   TIMOTHY        HENDERSON                NV           43059489580
9466274418B149   MACKENZIE      PETERSEN                 UT           90012627441
94663416972B32   KEVIN          OLIVER                   CO           90012554169
9466396A88B149   JESSICA        CRAWLEY                  UT           31013729608
94664678997B59   HUMBERTO       SALAZAR                  CO           90010456789
946649A1971945   GUSTAVO        HERNANDEZ                CO           32066749019
94666152772B62   FREDY          QUINONES                 CO           90013821527
946663A3A55957   ANGEL          MENDEZ                   CA           90010563030
946673A728436B   HAROLD         HUNT                     SC           90010953072
9467161A655963   SARAH          GALVEZ                   CA           90012716106
94677257A72B42   YAJAIRA        RUIZ                     CO           90011442570
94677296397B59   VICTORIA       LINEHAN                  CO           90001942963
94679A81141296   ELIZABETH      MONTGOMERY               PA           51004970811
9467B277A55951   CHARLOTTE      CASTILLO                 CA           90015262770
946811A9477537   EDWIN          FERNANDO                 NV           43064791094
94681322A72B42   WILLIAM        TITUS                    CO           90011353220
9468266165B565   MORALES        ROCHELLE                 NM           90009536616
9468276542B268   MICHAEL        HOLLINS                  DC           90011217654
94684A35141296   DANYELL        MOORE                    PA           90014210351
94687212172B32   JULIAN         MALDONADO                CO           90008852121
94687257A72B42   JACQUELINE     ROSS                     CO           33002302570
9468736648B149   GONZALO        TORRES                   UT           90014363664
9468757162B84B   ERIK           HAWS                     ID           42042345716
9468824234B588   CRISTY         ALATORRE                 OK           90013932423
9469154274B554   SHARON         EATON                    OK           90011705427
94691834372B22   OSCAR          GARCIA                   CO           90012758343
94691A98491951   SONIA          AYALA                    NC           90010680984
94692645572B32   PAUL           DIGRADO                  CO           90014376455
9469277574B554   ESTEFANIA      AVILA                    OK           90014087757
9469724284B588   JULIO          ALVARADO                 OK           90013932428
94697288272B62   CHRISTINA      ORTIZ                    CO           90009892882
94697A8375B565   APRIL          MAESE                    NM           35041230837
946B194A58B175   ANNE           DICKEY                   UT           90014779405
946B196128B175   CYDNEY         BEIGHTOL                 UT           90011859612
946B2279772B56   CHRIS          ULLERY II                CO           90012752797
946B4563171945   MICHAEL        KRNICHAR                 CO           90012185631
946B5469172B3B   ELIZABETH      MENDEZ                   CO           33022744691
946B5724871945   KENNETH        FRANCESCHI               CO           90014757248
946B63A148B149   DELANO         PRIETO                   UT           90013823014
946B6744955951   NICHOLE        MACIAS                   CA           90013977449
946B7361455957   VERNISHA       GREEN                    CA           90012853614
946B74A6372B42   MONICA         GUTIERREZ                CO           90008154063
946B9648772B56   ANGELA         FREYTA                   CO           90008386487
946BB48A397B59   DREU           LAVELLE                  CO           90012464803
946BB71757B444   SHIRLENE       MCCULLOUGH               NC           90012507175
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94711645572B32   PAUL             DIGRADO                CO           90014376455
9471473A377537   JOSHUA           STUDENT                NV           90009987303
94716A81A72B42   RODRIGUEZ        LIZBETH                CO           90008110810
94718336572B32   SOPHIA           HOLLIS                 CO           33077073365
94719239297B59   VIVANNA          MCINTYRE               CO           90014632392
94719622797B59   MICHAEL          BIGGS                  CO           90011116227
9471BA49391951   ARANZA           LEON                   NC           90013380493
94722736A55963   CHERYL           ROCHA                  CA           90011897360
94725639A5B531   DENISE           CAYADITTO              NM           90014166390
94727773472B32   ANTHONY          CAMPAS                 CO           90013117734
94728724272B56   ANTHONY          LUCERO                 CO           90012117242
9472882A291399   ROBERT           DUTY                   KS           90014338202
9472B774691526   ANGIE            ALDAY                  NM           90003087746
9473116555B531   JULIO            DELGADO                NM           90007861655
9473499955B565   BRYANNA          MCGHEE                 NM           90012999995
94738624A4B29B   STEPHANIE        MATTHEWS               NE           90004186240
9473B464672B3B   RICARDO          CABRERA                CO           33092994646
9473BA6755B383   SANDRA           IBANEZ                 OR           90012960675
9474624954B588   JASON            WULFF                  OK           90013032495
94746311897B59   REANA            NEFF                   CO           39045693118
9474717A355957   JOSEFINA         MARAVILLA              CA           49000621703
94749A3785B548   FRANKIE          MARTINEZ               NM           90006700378
9474B5A4655957   PAULA            MASSEY                 CA           90011195046
94751955A8436B   ASANTE           KING                   SC           90013069550
94752371572B42   ANDRE            MAURICE LYONS          CO           90008513715
94753922997B59   RACHELL          MELENDEZ               CO           90011119229
94754464A72B62   JOHN             JONES                  CO           90013534640
9475863658B352   JOHNNY           STEVENS                SC           90014096365
9475B825472B22   JASMINE          GUSS                   CO           90010048254
94762A59561941   CYNTHIA          RODRIGUEZ              CA           90008190595
9476442868436B   JULIUS           MYERS                  SC           90014004286
9476544444B588   DANIEL           JOB                    OK           90014094444
947661A3872B42   IVAN             VALLEJO-CRUZ           CO           90014591038
9476625735B383   RASHAWNA         LEWIS                  OR           90013702573
94767AA224B554   RICHARD          WEBB                   OK           90008100022
94769A79797B59   NATHANIEL        ZAMUDIO                CO           90004190797
9476B31275B531   MALACHI          BURSON                 NM           90012403127
9477172254B588   BEAUJON          LUNA                   OK           90010517225
94772959872B22   JOHNNY           RODRIGUEZ              CO           90013089598
9477519274B554   JOSHUA           WRIGHT                 OK           90011851927
947764A5551337   MERCEDES         CRAIG                  OH           90010294055
9477858698B175   LACY             FULTON                 UT           90013905869
9477B388297B59   MELISSA          RAY                    CO           90012703882
9478422288436B   CASEY            FOSTER                 SC           90011082228
9478423614B554   MISHA            PRICE                  OK           90011712361
94784495872B98   JENNIFER         BAJOVICH               CO           90010314958
94785126772B42   SARAHI           ALVARADO               CO           90015191267
947861A6244B31   TIM              KIRBY                  OH           90014271062
94786843972B42   NOELLE           NOEL                   CO           90013058439
9478B182A4B949   DORA             REYNOLD                TX           90006081820
9479281145B126   ASHLEY           BLACK                  AR           90005888114
9479367A172B22   JEANNE           MONDRUS ACCT PROD      CO           90014706701
94794AA233852B   ARNOLD           MEYERRIECKS            UT           90012310023
9479564337B444   FELIPE           LOZANO                 NC           90014586433
94798413572B56   TOMAS            HERNANDEZ              CO           33096754135
947B384435B383   KRISTOPHER       RESUE                  OR           90014718443
947B3A78572B62   VALERIE          COMES                  CO           90011600785
947B4164961977   ADRIAN           GONZALEZ               CA           90013781649
947B5778A5B548   LUPITA           VALENCIA               NM           90014837780
947B5834872B42   KATHLEEN         RIVERA-RIOS            CO           90013058348
947B63A8372B22   JAMES            DEUTSCH                CO           90013533083
947B7477397B59   ERNESTO          GAUNA ARISPE           CO           90004254773
947B893AA72B22   MICHAEL          HOBLEY                 CO           90013089300
947B99A258B152   LYNNE            SHEPARD                UT           90009839025
947BB17A441296   AMY              HUFFMAN                PA           51051421704
94818275A8436B   CHERLONDA        SNYDER                 SC           90004862750
94818792572B56   DANIELLE RENEE   JOHNSON                CO           90011197925
94818849272B42   ORLANDO          GARCIA                 CO           90013058492
9481B847972B42   KIRK             ULIBERRI               CO           90013058479
9482136735B531   VALENE           SANCHEZ                NM           90014703673
94821542A71945   BRANDON          BRYANT                 CO           90012975420
9482B689672B3B   HOLLY            MEYER                  CO           33086116896
94832279A72B32   JUAN             GONSALEZ               CO           90013852790
9483498854B588   JESUS            ESTRADA                OK           90011829885
9483549298B175   RAN              BASNET                 UT           90010194929
9483597AA55957   JOSE             ALMANZA                CA           49017019700
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94836714672B56   JOSE           QUINONES                 CO           90014967146
94839519172B62   CHRIS          HOSKIE                   CO           90001445191
94839931872B22   ELI            SCHRADER                 CO           90011009318
94841972A72B22   JORDAN         DILLON                   CO           90013089720
94844517A71945   JAMIE          WILLHITE                 CO           90003595170
9484522288436B   CASEY          FOSTER                   SC           90011082228
9484825617248B   MICHAEL        HANEY                    PA           51001422561
9484872192B869   BRITTNEY       WEBB                     ID           90000827219
948528A5597B59   CHEYVE         PEREZ                    CO           90005388055
94853666772B56   NICOLE         CARRANZA                 CO           90011556667
9485624298B149   ERICA          ZIMMER                   UT           90014192429
94857978172B22   NATHANIEL      GORMAN                   CO           90013089781
94859451A4B554   TERESA         JOHNSON                  OK           90014644510
9485948277B386   MARIO          CAYHULLA                 VA           81093904827
9485949915B383   SHANE          THOMAS                   OR           90014824991
94859975172B32   DORETEA        PEREZ SANCHEZ            CO           90012329751
948617A7672B56   TRANSITO       LOPEZ                    CO           90001497076
94861A5778B149   JULIA          MCKINNIS                 UT           90013130577
9486471292B524   ANDRES         SANTIAGO                 AL           90013897129
9486688818B175   QUANNAH        ZAHONY                   UT           90014438881
94867489672B3B   GLORIA         MENDOZA                  CO           90014874896
94867975897B59   JUAN           MADRID-REYES             CO           90014309758
9486826375B383   VINCENT        YANNELLO                 OR           90009662637
948683A1691399   FELIX          VIDARTE                  KS           90013003016
9486B43884B949   JANISHA        JOHNSON                  TX           76598384388
94871793297B59   KEVIN          HALL                     CO           90013527932
94871797A8B149   JUSTIN         BRANDRETH                UT           90012817970
9487313815B531   MICHAEL        WYLIE                    NM           90010481381
9487529698B152   JIM            RAE                      UT           90011612969
94876783172B62   JAVIER         IBARRA                   CO           33042967831
9487711A472B22   LYLE           EAST                     CO           33001211104
94877A68A72B42   MASON          LEWIS                    CO           90010790680
9487877655B548   ESPERANZA      HERNANDEZ                NM           90014427765
9487B197755963   CRISOL         YANEZ                    CA           90014021977
94881592972B3B   AARON          WHITLEY                  CO           90012615929
948815A7491599   BIANCA         SANCHEZ                  TX           90013125074
94882527A5B34B   WILLIAM        ELDRIDGE                 OR           90003075270
9488698A341296   PAYGO          IVR ACTIVATION           PA           90013839803
9488929754B588   JOHNATHAN      PUGH                     OK           90011832975
94891988872B22   LARRY          HALE                     CO           90011399888
94892676872B62   RACHEL         CARDOSO                  CO           90014446768
94893755A3164B   JUSTIN         DRAKE                    KS           90012627550
94894A9174B949   MATIAS         BERROSPEZ                TX           90008730917
94897993472B22   CHRISTINA      CORDOVA                  CO           90013089934
94899236A8436B   KATRINA        BUMGARNER                SC           90011082360
9489945314B588   CECILIA        MORALES                  OK           90012964531
9489B142772B62   MARY           CASTRO                   CO           90003511427
948B2413572B56   TOMAS          HERNANDEZ                CO           33096754135
948B3626872B42   SARA           HOCKHALTER               CO           90014826268
948B464518B152   JOSHUA         JORGENSON                UT           31071336451
948B528A95B548   BILLY          HUCKINS                  NM           90015162809
948B8182872B56   BRIAN          MIDDLETON                CO           90014881828
948B9726897B59   BRENDA         WADSWORTH                CO           90003507268
948B9A23855951   ANGEL JESSIE   VELASQUEZ                CA           90012640238
94913841A8436B   WILLIAM        GASTON                   SC           90008968410
949139A248B152   CHRISTINA      WINBERG                  UT           90008009024
949185A3361977   NELLY          PEREZ CHICA              CA           46083315033
94919AAA572B22   JESSICA        SELLERS                  CO           90013090005
9491B29624B588   NADIA          WILSON                   OK           90015012962
9491B547861977   JAMES          WILSON                   CA           90009805478
949222A2361977   MONIQUE        RUIZ                     CA           46033552023
9492244A197B59   DERRICK        MARCUS                   CO           90014634401
9492266867B444   JOYCE          RAKESTRAW                NC           90014586686
9492542938436B   ANNETTE        MUIR                     SC           90013964293
9492719124B588   BRANDY         JOHNSON                  OK           90013961912
94927678A72B22   MANUEL         GONZALES                 CO           90013006780
9492826924B588   BRAD           KEETON                   OK           90013972692
949298A5572B56   KC             LAMB                     CO           90011198055
94931322172B56   TOMMY LEE      JONES                    CO           90010573221
94932678A72B22   MANUEL         GONZALES                 CO           90013006780
9493587443164B   SHELLY         LEWIS                    KS           90013718744
94936169872B42   JOSEPH         KOLLER                   CO           33007801698
9493871615B383   TAMMY          ICE                      OR           90013137161
9493B22915B531   SHAYNA         ARCHULETA                NM           90012292291
9493B251555963   DONALD         MORAN                    CA           90002682515
9493B29464B554   DAVID          ROMERO                   OK           90011852946
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9493B93A172B22   JACOB          ROSEN                    CO           90013789301
94942421A93755   THOMAS         THOMPSON                 OH           90012944210
9494324A472B56   KIM            MCDONOUGH                CO           90008622404
94944685A77537   JUSTIN         GAW                      NV           90010616850
9494647218B149   DEBRA          JACKSON                  UT           90009444721
949464A9955957   ASHLEY         SERNA                    CA           90012084099
94948496A71945   ARIEL          SANTIAGO                 CO           90011124960
9494968A197B59   JORGE          MENDEZ                   CO           39015366801
9494B43AA72B22   SARYNA         DIAZ                     CO           90013934300
9494B599872B3B   PLAN           CARRERA                  CO           90012915998
9494B978A8B175   KYESIA         FORD                     UT           90012259780
94951A36A97B59   RONDA          TATON                    CO           90010360360
9495265A68436B   JASMINE        MYERS                    SC           90013006506
9495718445B548   CLARINDA       SALAZAR                  NM           90003721844
94958A72993755   STEDMAN        HARRIS                   OH           90012900729
9495B633A97B59   JOSHUA         RODRIGUEZ                CO           90011136330
949625AA172B42   CHARLES        STUTSMAN                 CO           90009535001
9496399A98B152   JOSEPH         CARROLL                  UT           90008669909
94966426A5B383   STEPHANIE      SANCHEZ DEL RIO          OR           90015124260
9496972728B149   SKYLAR         KOON                     UT           90012307272
94971796A4B949   LAURA          BOTELLA                  TX           90011507960
94975336472B22   JOEL           RODRIGUEZ                CO           90013093364
94975688797B59   ASHLEIGH       MCCARTY                  CO           90014076887
9497671374B588   TYRONS         SIMS                     OK           90013937137
9497B942893778   AUDREY         MURPHY                   OH           90014279428
9498192A991951   DONALD         DORMAN                   NC           90010529209
94981998972B56   LAKEISHA       MARTIN                   CO           90014969989
94982416197B59   GABRIEL        REYES GARCIA             CO           90012384161
94982526272B62   GENNIENE       UTESCH                   CO           90005335262
9498292A991951   DONALD         DORMAN                   NC           90010529209
9498482927B444   ALEXANDER      FONVILLE                 NC           90012538292
9498578325B531   MANUEL         ZUBIA                    NM           90014167832
9498832795B531   LUISA          GOMEZ                    NM           90012403279
94988453372B3B   MARK           DIX                      CO           33033564533
94988A14A72B22   KEITH          MARTINEZ                 CO           90013090140
9498B452A5B383   TANYA          HOLLIS                   OR           90012154520
9498B47A391599   HEATHER        MOSLEY                   TX           90011984703
94991382397B59   JENNIFER       BARBATO                  CO           39073263823
9499239198B125   AURELIO        VARGAS                   UT           90007903919
9499528A95B548   BILLY          HUCKINS                  NM           90015162809
94996A35591882   ANIKAQUA       BREWER                   OK           90002890355
94997534472B62   WONDWOSEN      GETAHUN                  CO           33093005344
94998753297B59   RACHELLE       MELENDEZ                 CO           90011137532
9499882265B531   ULISES         MORALES                  NM           90013068226
9499958865B531   LORENZO        MENDEZ                   NM           90012665886
9499B927771945   LEDELL         BARNES                   CO           90011189277
949B1128155951   JOHN           VANG                     CA           49061471281
949B2993472B22   CHRISTINA      CORDOVA                  CO           90013089934
949B4828272B32   CHAR           ROGERS                   CO           90010888282
949B53A618B175   JESSICA        REESE                    UT           31001623061
949B9823372B22   RHIANNA        SANCHEZ                  CO           90004068233
949BB736472B22   HYBRID         PLUMBING                 CO           90004917364
94B127A6977537   PEDRO          SALAS                    NV           90012627069
94B12856991599   ELI            ALVAREZ                  TX           90013788569
94B14167491951   MARTIN         CUATZO                   NC           90013031674
94B1746464B588   MICHEAL        BECKLEY                  OK           90013674646
94B1831A95B383   BRYAN          RYAN                     OR           90014183109
94B18829955951   VICTOR         BAEZA                    CA           90014708299
94B21353991599   ISAAC          CEBALLOS                 TX           75088303539
94B22245455957   ROSIE          AGUIRRE                  CA           90012892454
94B231A5677537   SOKTHEA        SOY                      NV           90011611056
94B24221172B22   CHRISTIE       SNELL                    CO           90013432211
94B24482A61977   KIMBERLY       TUCKER                   CA           90014784820
94B2549295B383   JACK           GOLDEN                   OR           90014824929
94B25952172B22   ISAAC          ROYABAL                  CO           90010749521
94B26A51271936   MICHEAL        MCGUIRE                  CO           90014540512
94B26A71A72B22   DAVID          ROBINSON                 CO           90011210710
94B27395772B42   ROSE           OROZCO                   CO           90010583957
94B27774772B22   PAUL           HILL                     CO           90013077747
94B2812735B548   ANDREW         VIGIL                    NM           90012931273
94B2856777B444   KAMERON        BENSON                   NC           90011785677
94B29919772B56   SAM            LOPEZ                    CO           90012499197
94B2BA53972B22   DAVE           WALKER                   CO           33024120539
94B33617361977   DANIEL         CAMACHO                  CA           90013646173
94B34339397B59   EDGAR          MARTINEZ                 CO           90013933393
94B3545AA55963   PAYGO          IVR ACTIVATION           CA           90013784500
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94B387AA971945   TYLER            OLOGE                  CO           90010777009
94B41112155957   NIKKI            MANGSKAU               CA           90013191121
94B44877641296   CHARLISE         EPPS                   PA           90010998776
94B46532391951   MICHAEL          SAISON                 NC           90013035323
94B4732A85B548   CLARRISSA        SANCHEZ                NM           90014033208
94B47656361977   ROSALINDA        VACA                   CA           90011196563
94B48797A8B149   JUSTIN           BRANDRETH              UT           90012817970
94B487AA83164B   AMBER            ASHLEY                 KS           22003247008
94B4B851A5B531   MANUELA          MERAZ-VEGA             NM           35080738510
94B51A52993732   KC               SIZEMORE               OH           90007250529
94B5365288B175   OMER             TURJOUK                UT           90010356528
94B54741172B22   AUGNEEA          GIBBS ANTHONY          CO           90013087411
94B5479725B548   JENNIFER         FRANKLIN               NM           90009987972
94B55AA9272B22   MARISELA         ZELAYA                 CO           90001850092
94B56263861977   VICTOR           LOPEZ                  CA           90012642638
94B56A1835B565   OSAVIO           CRESPIN                NM           90005520183
94B57759872B42   FRANKIE JOSEPH   GARCIA JR              CO           90013457598
94B57A2925B152   GREGORY          WILLIAMS               AR           90008920292
94B5B52A95B383   BERNAED          KETEL                  OR           90012445209
94B61814A87B48   SANDRA           SIMMONS                AR           90008578140
94B61971772B32   ERIC             WIENS                  CO           33071019717
94B6539AA8B152   AMY              ROUNDY                 UT           31086133900
94B66261172B62   KATIA            GALINDO                CO           90015342611
94B66792155963   RUBEN            REQUEJO                CA           90012667921
94B6696A54B554   JENNIFER         VAUGHN                 OK           90011729605
94B6827554B29B   CHARITY          KRUSE                  NE           27098242755
94B6B314555963   MATEO            FLORES                 CA           48095473145
94B6B46A991399   ANTONIO          CASTILLO               MO           90009884609
94B74336571945   LAURA            DUFF                   CO           32076943365
94B7511938B175   DAVID            PETERSEN               UT           90007821193
94B75589572B62   WHITNEY          RODRIGUEZ              CO           90013215895
94B76435191951   ANGELA           LANIER                 NC           90011004351
94B76888777537   ANTONIO          MARTINEZ               NV           90008198887
94B77956755957   MARIBEL          CHAVEZ                 CA           90012449567
94B786A5593755   KELVIN           SNOW                   OH           90013846055
94B7969233164B   DARYL            JAMES                  KS           90009216923
94B79764391951   SHANEIQUE        OSBORNE                NC           90010727643
94B7B435491399   TOMEKIA          SAGE                   KS           90010964354
94B7B649861977   ISABEL MARIA     GARCIA                 CA           90012006498
94B812A4291399   ALAN             VALLEZ                 MO           90012892042
94B82756972B42   NIA              LEVY                   CO           33060117569
94B844A488436B   JANAI            WASHINGTON             SC           90014524048
94B85664872B3B   VINCE            POLLACK                CO           90009376648
94B86371997B59   JOSE             MACIAS                 CO           90012873719
94B86A6325B531   JOSEPH           GALLEGOS               NM           90014160632
94B8967938B136   MICHAEL          ALBERTSON              UT           90008066793
94B8B666A8B175   JONATHAN         ERICKSEN               UT           90012976660
94B8B981255951   SHANNON          SHAW                   CA           90011999812
94B92392355957   CRESENCIO        PEREZ                  CA           90006823923
94B92493972B46   MARCOS           CARREON                CO           90013234939
94B93368661977   ARIEL            MCPHERSON              CA           90012833686
94B94274772B3B   ALMA             CRUZ                   CO           90009402747
94B94493955963   LEVI             JAMES                  CA           90011894939
94B97425A4B554   AARON            WILLIAMS               OK           90011674250
94B97845A8B171   DAN              ROBINSON               UT           90000158450
94B97956571945   HEATHER          THOMAS                 CO           90010089565
94B9BA94661977   MARIA            MONTES                 CA           90012520946
94BB161574B588   CHRISTY          LEWALLEN               OK           90012776157
94BB28A345B531   JOSHUA           BENAVIDEZ              NM           90011038034
94BB3A4AA4B588   SHEILA           GONZALES               OK           90013130400
94BB4988191599   JAIME            SABCHEZ                TX           90001609881
94BB5319455963   AMANDA           GONZALEZ               CA           90009403194
94BB6987A41296   DAVID            KOLLER                 PA           90011889870
95111663597B59   SARAH            VASQUEZ                CO           90004956635
9511229354B588   DAVID            HARTINGTON             OK           90013212935
9511B837891951   DAMAR            YATES                  NC           90013908378
9511B92715B361   MIGUEL           MEJIA                  OR           90014699271
951241A8541296   KELLY            PAM                    PA           90011351085
951272A867B444   PILAR            HERNANDEZ              NC           90013922086
9512739897B444   SHUNDA           SOUL                   NC           90014003989
951273A7A72B22   MARINA           LLAMAS                 CO           90013233070
9513116AA72B3B   DAWN             DIAZ                   CO           90012021600
95131232272B62   ANASTASIA        BRAWLEY                CO           90012442322
9513172585137B   TIM              KANYION                OH           90013737258
9513766924B588   MALEA            BARNETT                OK           90011126692
95141916A5B383   OSCAR            CHAMBALAN              OR           90012599160
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95143A85255957   ANTONIO         ORNELAS                  CA           90015020852
9514513464B588   DEANNA          HEPPNER                  OK           90010691346
9514794765B531   RAYMOND         GARCIA                   NM           90014109476
9514881834B588   VALENTE         HARRIS                   OK           90010098183
9514B495791399   AQUILINO        MARTINEZ                 KS           90014164957
9515111925B361   ADAM            LOGUE                    OR           90007081192
9515247542B982   ANGEL           FELIX                    CA           90011594754
951524A488594B   TIFFANY         WALLS                    KY           90012714048
95152731372B32   NATALIE         LUCERO                   CO           90009727313
9515673964B588   HUNTER          VAUGHN                   OK           90011027396
95157493172B22   JOANNA CAROL    STRIDER                  CO           90012084931
951577A5891531   MARISA          VAZQUEZ                  TX           90015287058
9516228487B444   GARRY           TURLINGTON               NC           90010922848
95164165672B42   PEGGY           BRENTON                  CO           90015021656
951647A6991599   CARMEN          MONTEROS                 TX           75014527069
9516685A193755   MIELLA          JONES                    OH           90008078501
951676A437B444   DIANA           MANCUSO                  NC           90014436043
95167A96577537   LOGAN           BOSTON                   NV           90012030965
9516B85A691399   MARCIAL         CHAVEZ                   MO           90002868506
9517316A85B531   BERNADINE       BENALLY                  NM           90003001608
95173278372B3B   RANDR           LITTLE                   CO           90011972783
9517466454B588   JACQUETA        PATRIDGE                 OK           90014896645
9517529354B588   DAVID           HARTINGTON               OK           90013212935
951791A8691531   LOPEZ           JUANITA                  TX           90010731086
9517992324B949   JUAN            JIMENEZ                  TX           90002939232
9517B395891531   JOEL            DIAZ                     TX           90010583958
9518237A961977   DIONICIA        PEREZ                    CA           90013143709
95184422572B62   MARIO           JOSE GARCIA              CO           90007674225
9518B237655957   JOSIE           ORTIZ                    CA           90004702376
9518B94834B949   PRISCILLA       RODRIGUEZ                TX           90011819483
9518BA2582B982   MARIA           PEREYDA                  CA           90012680258
95191851272B3B   BRANDON         LYONS                    CO           90013408512
9519432964B588   TYRON           WATKINS                  OK           90014553296
9519986265B361   ROMAN           SAN-PEDRO                OR           90010158626
951B2737872B22   DAN             HEARRERA                 CO           33078197378
951B499A324B22   DINA            FLORES                   VA           90006279903
951B5383197B59   CHRISTOPHER     THRALL                   CO           90013923831
951B589688594B   STEPHANIE       HOLT                     KY           90015198968
951B6162591599   GLORIA          RODRIGUEZ                TX           90011061625
951B699484B588   SYRITA          JAGGERS                  OK           90012799948
951B7648A5B383   SHANE           MILLER                   OR           90013446480
951B7738472B62   ERICK           MONTES                   CO           90014917384
951B861215B361   SAHWN           KNIGHT                   OR           90012986121
951B8621291826   EDWARD          LEWIS                    OK           90012596212
95211415197B59   KYRA            CONNER                   CO           90014174151
952127AA85B389   SANTOS          ALVARADO COLLI           OR           90013357008
95212A47493755   TAYLOR          ANTONIO                  OH           90011120474
95213552497B59   MEGAN           PESINA                   CO           39080445524
9521428487B444   GARRY           TURLINGTON               NC           90010922848
9521491484B588   MICHAEL         RUTTMAN                  OK           90010219148
95216624272B56   RANDY           TURNER                   CO           33015526242
9521683755B383   JIM             XIONG                    OR           90008688375
952238A988594B   JEFFERY         BECKHAM                  KY           90009678098
9522478A991399   REGINA          TAYLOR                   KS           90014167809
95224829A2B982   MARTINE         VALENCIA                 CA           90012808290
9522486354B588   MARES           DE GOMEZ                 OK           90009498635
95228622472B22   BRENDA          SALCIDO                  CO           90013846224
9522B57132B982   RAYMOND         FAJARDO                  CA           90013545713
9522B68534B949   MELISSA         OHLRICH                  TX           76537516853
9523233848594B   JOSUHUA         REESE                    KY           90000523384
9523747868B175   YOLANDA         GOMEZ                    UT           90010814786
9523851447B444   MICHAEL         BAILEY                   NC           90010275144
952391A2841296   CARLA           CRAWFORD                 PA           90014701028
9523B12A493778   PATRICIA        HAWKINS                  OH           90013701204
9523B31675B383   AMBER           MITCHELL                 OR           90013853167
952414AA972B62   MARIO DANIEL    LEAL LOYA                CO           90007674009
9524942A75B389   PRESTON         SCHLEICHARDT             OR           90013274207
95249821A5B361   JAMES           CARESS                   OR           90014708210
95254325672B22   BART A          PFEIFER                  CO           90013243256
9525726A972B62   JAMES           BACCA                    CO           90009662609
9525B913A2B982   PAUL            MENA                     CA           90008159130
9525B93555B548   JOANNA          PAMINTUAN                NM           90011389355
9525BAA4572475   KEARSTON        GRAHAM                   PA           90011310045
95263128372B32   DANIELLE        IBARRA                   CO           90012501283
9526318624B588   TABITHA         SPANKE                   OK           90008401862
952634AA861977   ROSALINDA       VASQUEZ                  CA           46009214008
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95264A19493755   NICOLE            GUINES                OH           90011870194
952661A2561977   ALEXANDER         FORTENBERRY           CA           90011931025
9526915575B389   MICHAEL           BAILEY                OR           90014641557
9526945658594B   STEVEN            PRESTON               KY           90011304565
9527593A272B62   JORDAN            GARCIA                CO           90014779302
9527681978594B   ERICA             AKINS                 KY           90011028197
9527755932B982   STACY             RICHARDSON            CA           90014725593
9527B579177537   JASMIN            ROSALES               NV           90009435791
9528143A58B152   EUGENE            DELGADO               UT           90013704305
9528366717B444   ANTONIA           MEDINA                NC           90012286671
9528814653365B   GAIL              HUMPHREY              NC           90013881465
95289345372B22   SHAQUANA          WOODS                 CO           33028933453
9529328175B389   AXEL              MCFARLAND             OR           90014762817
95293516A97B59   DAVID             HINES                 CO           90012575160
95293A16591531   VICTOR            VILLALOBOS            TX           75052740165
95295486597B59   STACEY            CLARK                 CO           90012744865
952997AA75B361   JAMES             GRAY                  OR           44568987007
952B439A861977   RODESSA           VILLGRENTE            CA           90013143908
952B45A124B588   MARIE             ERVIN                 OK           90009405012
952B4957A5B531   RENE              RODRIGUEZ             NM           90014109570
952B5586A72B3B   CARLOS            AICOLINO              CO           90010455860
952B6957A5B531   RENE              RODRIGUEZ             NM           90014109570
952B6AA8A4B588   SAMANTHA          MCNAC                 OK           90010970080
952B742555B361   YORLANDYS         MATOS                 OR           90007554255
952BBA6815B383   PATRICK           JENSEN                OR           90014130681
9531671924B949   MORIELA           FLORES                TX           90010977192
9531687958594B   SARAH             CATTERTON             KY           90013598795
9531B247157183   LILY              BERROSPI              VA           81031882471
95323444A72B22   MARIO             ESPINDOLA             CO           90013094440
95324792197B59   MIGUEL            LOPEZ                 CO           90013937921
9532687A17B444   SELBIN            BARRER                NC           90010938701
9532938685B548   KIMBERLY          CLAYTON               NM           90013493868
9532B65397B39B   SANDRA            CASTILLO              VA           90005366539
953312A4391599   RUBY              PALMA                 TX           90014842043
95335625A8594B   KIMITA            KOTARO                KY           90011746250
95338792197B59   MIGUEL            LOPEZ                 CO           90013937921
95342A5548B152   KRYSTAL           YODER                 UT           90013820554
95344424524B22   ANTREZ            TAYLOR                DC           90014704245
9534556895B383   RONALD            VIDAL                 OR           90004255689
953455A3581634   DAWN              BROWN                 MO           90005305035
9534898548B175   DANA              COMBS                 UT           31072249854
9534B868597B59   KYLIE             PHILLIPS              CO           90013938685
9535183925B531   ROBERTA           MORALES               NM           90014478392
95353A3565B361   RICO              SILVESTRE             OR           44539440356
95353A79166186   GLYNIEL           COSTELLO              KS           90014120791
953544A9555957   LUIS              MARTINEZ              CA           90014254095
9535471894B288   JAMES             PRICE                 NE           90013427189
9535519A372B32   JAMIE RAYLENE     RIVERA                CO           90010611903
95357A64955951   ALEJANDRA         BARRAGAN              CA           90012970649
9535872A577537   EVELYN            REYES                 NV           90012157205
9535B462491531   FRANCISCO         RAMIREZ               TX           75016114624
9535B59325B389   MORGAN            CREASON               OR           90011675932
95365A5637B444   MONTREL           CARROLL               NC           90011520563
95366183A72B33   PAUL              SINCERE               CO           33036731830
9536B435872B62   MICKENNON AVERY   CORDES                CO           90014934358
95372A49491599   KARLA             PEREZ                 TX           90011990494
9537331965B389   EDGAR             BUDAR MORALES         OR           90012213196
95378199372B22   GABINO            VILLA                 CO           90012121993
9537932A172B62   SALLY             RELIHAN               CO           90001233201
953794A3161977   ERIK              GARCIA                CA           90010284031
9537972295B531   FLOYD             BEUTLER               NM           90013357229
9537996725B383   ROBERTO           CHAVEZ-ZIRANDA        OR           90012389672
9537BA75472B3B   SOCORRO           PEREA                 CO           90012880754
9538478652B98B   LIFT EQUIP        PM CRANE PARTS        CA           90004047865
95384868897B59   KRISTINA          WHITE                 CO           90003798688
95384A86591599   VERONICA          BANDA                 TX           90012890865
9538678744B588   CHERYL R          GREENE                OK           90012387874
953911AA75B531   JEANETTE          MOYA                  NM           90012511007
953922A9691599   MARIA ADRIANA     CALVILLO              TX           90011612096
9539334512B982   JESSICA           MESA                  CA           45025213451
9539885737B444   FLORENTINO        MORA                  NC           90009188573
95398A16472B3B   KRISTY            SMITH                 CO           90002710164
9539B423793755   DANIELLE          RHEIN                 OH           90011854237
9539BA54691599   NANCY             HERNANDEZ             TX           90013830546
953B1823291531   JOSELUIS          ARAMULA               TX           90010588232
953B2835791599   CASAREZ           GABRIELA              TX           90013048357
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953B3954491532   LAURA          CAZARES                  TX           90001009544
953B5A42172B3B   BOBBIE         CROSBY                   CO           33022440421
953B8A94761977   JAMES          RUSH                     CA           90013160947
953BB21215B383   RAYMOND        BEARD                    OR           44567772121
953BB325672B22   BART A         PFEIFER                  CO           90013243256
953BB73A772B22   MONICA         GARCIA                   CO           90014277307
95411927A4B588   TAYLORDESIRE   LOGAN                    OK           90010239270
9541398142B982   JOSE           CAMPA                    CA           90013039814
9541427683B331   ERIC           BAUM                     CO           90003382768
9541451825B531   NATHAN         LOPEZ                    NM           90013015182
9541474438B175   JJ             MARTINEZ                 UT           90001547443
954168AA397B59   RICHARD        PALMIER                  CO           90011148003
9541836345B389   JAKE           HARPER                   OR           90009713634
95418597197B59   STEVEN         CORDOVA                  CO           90010615971
9541887693164B   MIGUEL         LUYVA                    KS           90008958769
954189A315B361   CAROLYN        OAKS                     OR           90011079031
9542376278B175   ZACHARY        PERKINS                  UT           90011157627
954252A7861941   MELISSA        VILLALOBOS               CA           90007912078
95425343997B59   KELLY          SMITH                    CO           90014853439
95426A7AA91599   JOSE           ESCOBEDO                 TX           90013990700
95428754A55957   MARQUAY        WILLIAMS                 CA           90014257540
9542924564B949   COMALETA       HELMICH                  TX           76592052456
9542B14A273261   ASHLEE         BISHOP                   NJ           90014021402
9543191588B152   CAROLINA       TABLAS                   UT           90006519158
954331A8872B42   MARTIN         VERGARA                  CO           33069541088
954333A874B588   KARINA         GARCIA                   OK           90012843087
95434455797B59   MARIAH         AGUILAR                  CO           90013324557
954375A4691531   MCDANIEL       IRENE                    TX           90015195046
954381A5A55957   ANTHONY        SUMMERS                  CA           90012521050
9543B1A5A55957   ANTHONY        SUMMERS                  CA           90012521050
9543B81834B588   VALENTE        HARRIS                   OK           90010098183
95444455797B59   MARIAH         AGUILAR                  CO           90013324557
95445291772B3B   THAW OOH       MOO                      CO           90014822917
9544584384B588   GREGORY        WALKER                   OK           90011608438
95447357772B3B   MANUEL         PEREZ ESPINOZA           CO           90014403577
9544887A372B3B   AKAISHA        BROOKS                   CO           90010888703
9544966285B389   AUSTIN         FISHER                   OR           90010616628
954515A6193755   CHRIS          GESTNER                  KY           64511905061
95455414672B62   JESSE          MORA                     CO           90014694146
954555A3455957   FABIOLA        GOMEZ                    CA           90012005034
9545868197B444   JEFFERSON      FIALLOS                  NC           90008986819
9545B199372B22   GABINO         VILLA                    CO           90012121993
9546236A172B22   SAMANTHA       MARTINEZ                 CO           33046413601
95465137A3164B   FELICIA        SLIETER                  KS           90014711370
9546696242B982   PILAR          GIL                      CA           45014679624
95466A5A541296   HEATHER        OLSAVICKY                PA           90013300505
9546857A972B3B   JANELLE        PEREZ                    CO           90009355709
9546947972B982   CHELSEE        BLAND                    CA           90012054797
9546B481624B22   WILLSON        TOBAR                    DC           90009964816
95471714A55957   YOLANDA        RENDON                   CA           49078097140
95472A24355951   VANESSA        RESENDEZ                 CA           90014550243
9547371AA3164B   JAMES          GRAYSON                  KS           22007247100
9547734728163B   TIERRA         MCCARTY                  MO           90006793472
95481A93272B32   ARTURO         QUINONEZ                 CO           90006780932
9548226A55B548   MICHAEL        JEFF                     NM           90010702605
954838A1172B22   HURTADO        ARTHUR                   CO           90011018011
9548498755B531   HEATHER        THROWER                  NM           90011989875
9548599A691951   N              JACKSON                  NC           90014899906
954897AA891599   PATRICIA       RENTERIA                 TX           90013617008
95489A76191599   PATRICIA       RENTERIA                 TX           90008110761
9548B1A872B982   ALEJANDRO      GUERRRO                  CA           90013341087
9548B431655957   LINDA          AREOLA                   CA           49034444316
95493199372B22   GABINO         VILLA                    CO           90012121993
9549325462B982   CHRIS          LERMA                    CA           90014282546
9549498495B361   POE            ADAM                     OR           90012139849
9549948A55B531   DAMARIS        GUTIERREZ                NM           90007414805
954B38A9672B62   THERESA        MCCOY                    CO           90011398096
954B411584B554   ELNORA         DEER                     OK           21540721158
954B569444B949   JUSTIN         RICHARD                  TX           90008506944
954B6927A72B42   MONICA         ZAMORA                   CO           90009859270
954BB326A77537   KEVIN          KENT                     NV           90013273260
9551118A95B383   ANTIONN        DAVIS                    OR           90010801809
9551167753164B   MALINDA        BROCKUS                  KS           90011276775
95516A5425B361   ELEESA         KELLY                    OR           44530940542
9551B91748594B   MARCUS         VANCE                    KY           90012319174
955214A8141296   KATHLEEN       GEIGER                   PA           90009004081
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95522457A3B398   RODNEY          DALSASSO                CO           90003974570
95522589A72B62   TONYA           DEANN                   CO           90015095890
9552295565B383   EUGENIO         GRANDE                  OR           44578469556
9552356528B849   ANDRES          YACAP                   HI           90014745652
95525852372B32   RUBY            SOTO                    CO           90013988523
95526A41A8B152   ZACHARY         BARTUNEK                UT           90013480410
9552B329972B32   TOM             RONCHETTI II            CO           33005353299
9553156585B383   SHANNON         MARCY                   OR           90002665658
95532811372B62   JOSE            YANEZ                   CO           90013238113
95532A47672B22   SARAH           MARQUEZ                 CO           90013610476
95537A95272B22   TINA            HUDSON                  CO           90012190952
955398A924B588   CHARLES         TATE                    OK           90012438092
9554877885B361   EVA             SARABIA                 OR           44502937788
9555131A87B444   MARCO           PINEDA SIERRA           NC           90010233108
95552589172B22   SONIA           GALLEGOS                CO           90000705891
9555391A95B361   DANIEL          DUARTE TORRES           OR           44598629109
9555416719712B   JONATHAN        MUNOS QUIROZ            OR           90009891671
95555A63355957   ANNA            QUINONEZ                CA           49034540633
9555747674B588   JESSICA         LINDSEY                 OK           90009804767
95557A2A591399   WILLIAM         FROST                   KS           90011660205
9555B56768B152   HUFF            TALBOT                  UT           90009925676
95565522A47989   KEVIN           HOLMES                  AR           90010765220
9556728182B982   ELIZABETH       PATRON                  CA           90011312818
95571652372B3B   JESSE           RAMIREZ                 CO           90012246523
9557252918B175   CRISTINA        VANWEERD                UT           90000165291
95572A93672B3B   STEVEN          KELLEY                  CO           90013180936
95577892697B59   DUNIA           GONZALES                CO           90014098926
95579852397B59   JEREMIAH        JUNKER                  CO           90012878523
9557B4A4191951   ROBERTO         HERNANDEZ               NC           90013674041
9557B969891951   TERRELL         SPEIGHT                 NC           90014909698
9557BA7625B383   ANDREW EVAN     KLONSKY                 OR           90015280762
9558223528594B   KEINER          AGUILAR                 KY           90013472352
9558256A572B22   ANTHONY         ELLIOTT                 CO           90013085605
95585221472B3B   BRAD            ZIEMANN                 CO           90000102214
9558577345B389   ALLUM           DAVID                   OR           90009607734
95591A19597B59   ESTEBAN         ESCOBA                  CO           90013950195
9559449455B383   ALBERT          WORTHINGTON             OR           44559064945
9559844637B444   MAYRA           AMAYA                   NC           90010744463
9559B829193721   SARAH           DEES                    OH           90012578291
955B2184A8B152   WINNIEFRIDA     ALTEROS                 UT           90015061840
955B245875B361   GENEVA          HAMILTAN                OR           90000354587
955B2826A72B62   DARREN          MAGPIE                  CO           33013098260
955B298474B588   DAVID           ANTHONY                 OK           90013069847
955B5A4448594B   ABED            MOHAMMAD                KY           90003280444
955B72A7591531   YESENIA         HUERTA                  TX           90010592075
955B996287B444   DARRIN          STANBACK                NC           90010939628
955BB69932B982   HALEY           NEAL                    CA           90014056993
9561288487B444   UNIKA           JACKSON                 NC           11032008848
9561537932B982   JESUS           REYES                   CA           90012313793
9561618598B152   MANUEL          MARTINEZ JR             UT           90014561859
956171A585B548   EDMUND DWAYNE   LUCERO                  NM           90011471058
9561B168191951   TERRENCE        NARED                   NC           90008951681
95621124552B44   JEFFREY         HUNTSINGER              AR           34018691245
9562165315B361   NATASHA         EDWARDS                 OR           90009876531
9562182A777537   JUAN            VALTIERRA               NV           90012238207
956231A8A41296   MATT            REDMAN                  PA           90013961080
95625897A93786   JULIE           FRALEY                  OH           90011258970
956283A9977537   DARLA           ROMICK                  NV           90013173099
956285A7372B22   LUANN           GRADY                   CO           33041495073
95629448972B32   DEMETRIUS       HARDRICK                CO           90010684489
95631461172B42   DON             HARD                    CO           33098714611
9563644288B175   KENT            SJOBERG                 UT           31067984428
956385A5991399   DIOSDALKI       ABRINES                 MO           90013375059
9563BA51531623   DONALD          BURGER                  KS           90000530515
9564199475B548   DIANA           ORTEGA                  NM           90012679947
956423A7293755   KATRINA         HASTON                  OH           90014823072
956436AAA4B588   LACIE           REAMES                  OK           21592666000
956452A297B444   JUANIQUE        GRAHAM                  NC           90013752029
95647196A5B531   CASEY           WHITFORD                NM           90014041960
956475A364B588   AMANDA          RODRIGUEZ               OK           90011605036
9564885563B357   MARY AND MARK   ECKHOUT                 CO           90013198556
9565132AA5B344   SHEILA          SAVALA                  OR           90013613200
95655259572B3B   MELINDA         KIMBALL                 CO           90012272595
95655A3845B389   MARIAH          JOHNSON                 OR           90012660384
95662A91655951   MARIE           SANCHEZ                 CA           49055390916
9566571A18594B   SALLY           VERMILLION              KY           90014757101
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95668324572B3B   JASON          CARO                     CO           90012693245
9567373445B361   KIMBERLEE      SANCHEZ                  OR           90014747344
956737A1597B59   STEPHANIE      TELLO                    CO           39031177015
95674A27A77537   JOSE-ALBERTO   LUEVANO                  NV           90013250270
956752A8A24B22   ZORAYDA        BARRIOS                  VA           90003092080
95675417772B56   ALFONSO        SERVINO                  CO           33096954177
95676452372B62   REBECCA        ZAVALA                   CO           90013964523
95678223972B3B   NAISHEA        WIRES                    CO           90014922239
95679879197B59   LANDON         VAN ARSDALE              CO           90012898791
9567B99845B548   JOHNNY         CHAVEZ                   NM           90012389984
9568154528B175   SHELBY         GOODRICH                 UT           90007275452
95683A6868594B   BIANCA         RICE                     KY           90008880686
9568431833B358   FRITZ          BIURHAUS                 CO           90011083183
95685A99977537   GREGORY        GALLEGOS                 NV           90014590999
9568715923164B   TERESA         MANJARREZ                KS           90014251592
9568777865B361   SANDRA         PEREZ                    OR           90014747786
9568786492B982   ERICK          SANCHEZ                  CA           90013308649
9568B93AA5B548   SHAWN          HICKS                    NM           90010009300
9569178785B361   ELIZABETH      FLORES                   OR           90014747878
95691A5655B389   JOSE FREDY     HERNANDEZ                OR           44522980565
9569B841972B22   TYLER          CLENNEY                  CO           90012108419
956B154344B265   LINDA          GORDON                   NE           90010705434
956B156555B361   SHAQULIA       ROSH                     OR           90011345655
956B171368594B   REGINA         CHANEY                   KY           90009237136
956B2194841296   JOHN           SCHAEFFER                PA           90012641948
956B4226997B59   GERARDO        RODRIGUEZ                CO           90003092269
956B5875597B59   THOMAS         PATRICK                  CO           90012898755
956B7A46177537   LUZ            BARAJAS-GONZALEZ         NV           43016580461
956B8A26672B32   DANIELLE       JIRON                    CO           90001340266
956B9398A72B56   ELIEL          MENDOZA                  CO           90002433980
956B94AAA3164B   ROBERT         BANKSTON                 KS           22011914000
9571223333164B   CHELSEA        ROGERS                   KS           90013362333
9571448315B383   TASHA          LAMON                    OR           44562144831
95714588772B32   CHRISTIAN      FLORES-HERNANDEZ         CO           90014035887
9571461645B389   AKLILU         HAILE                    OR           90014046164
95717248A5B383   PATRICK        NORTH                    OR           90010802480
9571865992B576   PAYGO          IVR ACTIVATION           AL           90010216599
95724216272B62   OSTIN          NOLASCO                  CO           90006912162
9572552465B548   JOSHUA         RILEY                    NM           90014105246
9572B269757128   LEONEL         CASTILLO                 VA           90004672697
95731A9545B383   JASMINE        MOORE                    OR           90012800954
957346A638B175   JACKIE         LONG                     UT           90006476063
9573828565B237   AMAURY         PRUNA                    KY           90013412856
9574182985B389   FLORENCIO      DOMINGUEZ GARCIA         OR           90013558298
95744774597B59   GIOAVANY       VAZQUEZ                  CO           90013967745
9575125325B389   DAMION         MORSE                    OR           90013452532
9575144985B389   DAMION         MORSE                    OR           90011994498
9575287792B982   VICTORIA       RIVERA                   CA           45065468779
95754722497B59   ADAM           JOSEPH                   CO           90014377224
9575B214891344   KARA           LOWE                     KS           90011372148
9575B98638594B   ROBERT         CLAYPOOL                 KY           90005579863
9575BA65481634   DAVID          JACKSON                  MO           29003130654
95762832A5B548   JAMPHAL        WANGYAL                  NM           90010848320
9576297A177537   EFIGENIO       RUELAS                   NV           90011949701
9576466A641296   KAAREN         BOLTON                   PA           51037226606
95769371A72B3B   MARVIN         PEREZ                    CO           90002773710
9576B48735B548   CHRISTINA      CASTILLO                 NM           90010404873
95771643924B22   RHODAISHA      PHOENIX                  DC           90014886439
957753A5861977   PETRONA        ROSALES JAVIER           CA           90001543058
9577696678B152   MARILEE        ADAMS                    UT           90012339667
95776A99272B3B   MILAN          KHAWAS                   CO           33023320992
9577B38588B152   PATRICIA       DELACRUZ                 UT           90008683858
95784457372B42   MARIO          CHAVEZ                   CO           90001274573
95785969A5B531   MARYANN        LOPEZ                    NM           90013979690
9578916332B982   ANTHONY        MCCRARY                  CA           90014181633
95789722A91531   ANITRA         VENZOR                   TX           90014707220
9578B366943527   DAVID          GONZALES                 UT           90012303669
9578B38544B588   ANA            BALDERRAMA               OK           90011773854
95795A63241296   LATEEYA        KIRKLAND                 PA           90012450632
9579B928277537   BIBIANO        TORRES-VASQUEZ           NV           90013779282
957B249A94B588   PHILLIP        CRAWFORD                 OK           90007824909
957B317375B548   DAVID          RIVAS                    NM           90013111737
957B4845897B59   JUSTIN         ANDERSON                 CO           39057668458
957B574A72B982   VICENTE        FERNANDEZ                CA           90014977407
957B621915B531   GUADALUPE      CRUZ                     NM           90014132191
957BB436447973   DUSTIN         MCCLELLAN                AR           90010384364
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95813A22872B62   RICHARD         ROSSI                    CO           90008570228
95813A77491599   LETICIA         GOMEZ                    TX           90007540774
958168A6791951   DONETTA         MCBROOM                  NC           90012388067
95818749172B3B   CALEB           THAYER                   CO           90011447491
95821196172B62   SHAKIYLA        GREEN                    CO           90012141961
9582172392B982   YESI            JUAREZ                   CA           90012657239
95823732372B22   BRITTANY        HUNTEL                   CO           90010297323
9582375AA93755   KENNA           HOUCHINS                 OH           64535447500
958242A752B982   TERESA          CAMPOS                   CA           90007922075
95824466672B32   SHAUNTE         ROSS                     CO           90007864666
95824A86591599   VERONICA        BANDA                    TX           90012890865
95825873566B34   DUNAE           MAXYMZCHA                MO           90014038735
958281A3391951   CESAR           GARCIA                   NC           90009431033
9582918A555957   VICENTE         SUSTAITA                 CA           90012531805
9582B675491399   DEANDRA         MITCHELL                 KS           90012876754
95832181172B32   JUDY            ESPINOSA                 CO           33064761811
9583382712B982   JAZMIN          SALAS                    CA           90011098271
95834974372B3B   NORMANDO        LOPEZ                    CO           90003229743
9583B213655951   REBECCA         ALVAREZ                  CA           90011912136
95841528A8B152   BRAD            BACKUS                   UT           90011085280
9584596952B982   SETH            TORRES                   CA           90010739695
95846A56691399   MICHAEL         MANESS                   KS           90014540566
958487A9697B59   ANTONIO         LERMA                    CO           90011777096
9584918738B175   NICOLE          BENTLEY                  UT           90005281873
9584B188161964   MARIA           DURAN                    CA           90011901881
9585215595B383   JC              ETIER                    OR           90014861559
95853141272B62   MARCIA          A BIGLOW                 CO           33099641412
95853153A72B3B   SERGIO          PEREZ-MARTINEZ           CO           90014911530
9585329635B361   SHERWIN         DACANAY                  OR           90005082963
95853831697B59   TERRANCE        WASHINGTON               CO           90002348316
95856AA3377537   KENYA           HARDING                  NV           90008140033
95857275272B22   TALESHA T       CLEMONS                  CO           90013312752
95857A7192B982   OFELIA          TAPIA                    CA           90011190719
95859112972B32   DULCE           GASTELO                  CO           90010061129
95863494A93755   MICHAEL         SHAWN                    OH           90014464940
9586567238B152   VALENTINE       CHRISTOPHER KEECH        UT           90006676723
9586689415B548   REBECCA         PEREZ                    NM           35097408941
9586745138B152   ETHAN           HARRIS                   UT           90011074513
9586814933164B   TYRONE          LUCAS                    KS           90011351493
9586978A941296   TEVIN           PERRY                    PA           90012597809
95871917172B3B   JUAN            PEREZ                    CO           90008139171
95871985A5B389   MATHEW          BOGGESS                  OR           90013159850
95872231A72B3B   BRIAN           ECK                      CO           90008462310
958727A5972B32   ALEXIS          ATWATER                  CO           90011437059
9587367687B338   EDI             GONZALEZ                 VA           90010836768
958785A7A5B361   SEBASTIAN       LUCAS                    OR           90007935070
958799AA691951   ANTONIO         SUAZO                    NC           90012659006
95882719A55957   CHRISTINA       GOHLKE                   CA           49082827190
958829A635B389   MAYELINA        GUERRA CASTANO           OR           90013569063
9588348658B175   CAMILLE         HODGSON                  UT           90001944865
9588434A58594B   MAURILIO        CRUZ                     KY           90013283405
95884684272B62   GABRIELLE       REAVES-BARTLETT          CO           90012936842
95884817A5B548   ALONDRA         GOMEZ                    NM           90011108170
958848A8991531   APRIL           MALDONADO                TX           90010598089
95885158497B59   STEPHAN         MAIR                     CO           90008381584
95885257A77537   SUSAN           QUISPE                   NV           43071952570
95887325A8594B   EMILY           LOUDEN                   KY           90006363250
9588988132B24B   THOMAS          JONES                    MD           90001038813
9588B425881634   ROBERT          WATKINS                  MO           90003564258
95891448A8B175   DANNY           HERNANDEZ                UT           90013364480
95894213897B59   EDNA            BEST                     CO           90001792138
95898334397B59   NARUA           VALDEZ                   CO           90012413343
958B645A15B383   FELIPA          PACHECO                  OR           90006064501
958B6833A55957   RATHA           NANG                     CA           90011188330
958B6941272B32   GECIA           TORRES PABLO             CO           90013779412
958B7425155951   BRYAN           BORELIZ                  CA           90014444251
958B8326291599   EDUARDO         CAMARA                   TX           90011223262
95915339272B22   LIZET           ISAIS                    CO           90014263392
9591579515B389   LESLIE          LOPEZ                    OR           90014187951
9591699745B361   DEVON           MCLAUGHLIN               OR           90010329974
9591B93155B383   ARTURO          MORALES                  OR           90009909315
9591B982472B62   AMBER           THOMAS                   CO           90013109824
95923225472B42   JONULYLAH       GALLEGOS                 CO           90008742254
9592484A74B588   STEPHANIE       CANNADAY                 OK           90010478407
9592495983164B   OMAR            JUZMAN                   KS           90012789598
9592569A572B32   JUANA           TALAVERA                 CO           33079936905
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9592862A472B32   ALICIA          TRUJILLO                CO           90011956204
95929A16591399   MARCO ANTONIO   RUTIA                   KS           90009200165
959331A1991531   CLAUDIA         VAZQUEZ                 TX           75087171019
959368A2191599   YESENIA         CEDILLOS                TX           90013598021
9593745285B383   NICOLE          CRAMLET                 OR           90013904528
9593813214B554   VILMA           ALVARADO                OK           21576121321
9593B45738594B   KAMMY           IGO                     KY           90014554573
9593B9A6172B22   ARTURO          NAVA                    CO           90013639061
9594223257B444   LAZARO          SANTOS                  NC           90014662325
9594236195B531   AMBERLY         SALCIDO                 NM           90012643619
9594291195B383   CHRISTOPHER     PONTE                   OR           90014689119
95945747472B62   MAIRA           GONZALEZ                CO           90010667474
9595441AA5B548   ASHLEY          ROBINSSON               NM           90010864100
9595587A372B22   AKAISHA         BROOKS                  CO           90010888703
959582A3891951   JOSH            WHITE                   NC           90014802038
9595956742B98B   ALEX            LOPEZ                   CA           90005015674
95961A78991531   ROBERT          CARRILLO                TX           90010980789
959629A7677537   STEPHANIE       JARAMILLO               NV           90012289076
95963123672B22   URBANA          BENCOMO                 CO           33097511236
9596334412B982   LATOYA          TUCKER                  CA           45043763441
95963594272B62   VERONICA        CALVILLO                CO           33016785942
95966496697B59   JUSTIN          LIVINGSTONE             CO           90014164966
9596B36172B982   HUVER           GOMEZ                   CA           45042853617
9596B426A7B444   CLINTON         PHILLIPS                NC           11047084260
9597174118B175   ROBB            NEIDER                  UT           31070557411
9597361674B588   CASSAND         COSBY                   OK           90013526167
95973A1565B383   KATRINA         PIRKLE                  OR           44569470156
95975191A72B3B   VIRGINA SUE     STACEY                  CO           90010231910
959753A515B531   AMADOR          ROSALES                 NM           90010413051
95979921A61977   DAVID           RUIZ                    CA           90002309210
959845A562B256   KEONNA          YOUNG                   DC           90007405056
9598697AA55951   ANGELITA        RIPPEON                 CA           90007419700
9598725165B361   KYLE            GILL                    OR           90012182516
9598BA41A8B152   ZACHARY         BARTUNEK                UT           90013480410
9599236144B588   CHRISTOPHER     DEBERRY                 OK           90011203614
9599333472B982   JACQUELINE      OLGUIN                  CA           90012893347
9599346833362B   DONTAE          ELLIS                   NC           90010644683
9599455884B588   SASHA           ROBERTS                 OK           90011505588
959952A7A5B531   DAGOBERTO       RUIZ                    NM           90013122070
95995595672B22   AURELIA         HINOJOS                 CO           90012855956
9599772A42B982   ARIAYANA        WOLFE                   CA           90014457204
95998A27A55957   MARCELINO       VITOLAS                 CA           90014420270
959996A9873297   ALLEN           HOWELL                  NJ           90014556098
9599B22315B531   STEVEN          SANDERS                 NM           90012482231
9599B62A82B982   EDGAR           ESPINOZA                CA           90003426208
959B119315B548   AMBER           ALLEN                   NM           90014571931
959B333577B444   MICHAEL         HARRINGTON              NC           90014423357
959B898798B356   KENDALL         LITTLE                  SC           90013969879
959B978785B383   CYNTHIA         WOLFE                   OR           90014157878
95B11327391951   STEVE           BLALOCK                 NC           90014423273
95B11916491951   CEDRICK         TABORN                  NC           90011219164
95B13736593755   DENNIS          MCMAHOM                 OH           90007977365
95B14899791599   ADRIANA         SANDOVAL                TX           90010648997
95B1513535B383   TODD            OTTO                    OR           90012061353
95B15164391531   JULIO           AGUILAR                 TX           90010581643
95B15A24997B59   MYLES           JOHNSON                 CO           90014860249
95B16567677537   LESVIA          RODRIGUEZ               NV           90010945676
95B16A43A97B59   MAH             THAY                    CO           90010600430
95B17567677537   LESVIA          RODRIGUEZ               NV           90010945676
95B19574797B59   ANAI            LOPEZ                   CO           90012585747
95B1B114797B59   VIRGINIA        PASTRANA                CO           39007821147
95B1B557672B32   URIEL           SALAS                   CO           90012455576
95B2252A472B3B   KIM             WERNER                  CO           33045365204
95B23375991531   CRYSTAL         AVILA                   TX           90007073759
95B2411417B444   AMITRA          PERRY                   NC           90007011141
95B2428728594B   DOGLAS          TURNER                  KY           90012872872
95B25655472B22   DANIEL          OLAGUEZ                 CO           90013056554
95B2568A63164B   DELVIN          HAAS                    KS           90015206806
95B2697479136B   DEVEEDA         GREEN                   KS           90001709747
95B27577771922   ROMANA          VUCKOVIC                CO           32030825777
95B2B2A498594B   KENIN           KING                    KY           90011402049
95B3297964B588   MADILINE        LONG                    OK           90006259796
95B33524181634   JUSTIN          SAYLER                  MO           90013335241
95B34759291531   JENNIKA         FLORES                  TX           90015007592
95B35498455957   OLGA            RODRIGUEZ               CA           90005364984
95B3581585B383   MICHAEL         SCAIFE                  OR           90012158158
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95B37313981634   STEPHAN           EADS                  MO           90000183139
95B373A288B152   CRYSTA            STANFIELD             UT           31061043028
95B3835A572B32   KRISTY            MICHELE WOODS         CO           90009713505
95B3854427B444   DANIELLA          PETERSON              NC           90014845442
95B38A7A98594B   STEPHANIE         SHEPPARD              KY           90009300709
95B395A5655951   ABEL              REYES                 CA           90010905056
95B3961785B361   JOE               SMITH                 OR           90014706178
95B4123155B383   THANH             LE                    OR           90014202315
95B42465A4B554   DAVID             FRANK                 OK           90004894650
95B43687A55951   MARLEEN           RODRIGUEZ             CA           90012206870
95B4569A397B59   JAIME             MARTINEZ ZUNIGA       CO           39026106903
95B46518172B22   KASSIE            MONGER                CO           33053775181
95B4817794B588   AMBER             LAWRENCE              OK           90005701779
95B48349297B59   CESAR             ACEVES                CO           90013923492
95B48868A8B152   JASON             GROVER                UT           90002608680
95B4979367B444   FRANCISCO         RANGEL                NC           90012217936
95B49A78772B3B   DONNA             MELTON                CO           90014600787
95B4B9A9461955   JENNIFER          SPENCER               CA           90014319094
95B55166272B42   TIFFANY           SAPP                  CO           33008041662
95B55646541296   MARCIA            GORECK                PA           90004376465
95B561A988B152   JENNIFER          HARRISON              UT           90013361098
95B5818114B949   PRISCILLA         LADAY                 TX           90008331811
95B59688872B3B   CHRISTINA         SOWELL                CO           90014236888
95B59959A55951   CRESENCIO         BARBOSA               CA           90012919590
95B5B12887B444   NERD              PALACIOS              NC           90003251288
95B6154A591951   CARLOS            ROBERTO               NC           90007615405
95B615A3691599   YIBRAN            SILVA                 TX           90011515036
95B64555491544   JORGE             LOPEZ                 TX           90009675554
95B66538591531   JOSE              CORONA                TX           75095095385
95B6661795B548   ADAM              ABEYTA                NM           90015086179
95B67143291531   JULIO             DIAZ                  TX           90014401432
95B67453655951   CHRISTIEN         MORANO                CA           90011644536
95B67519572B22   PATRICIA RIVERA   GARFIO                CO           90008175195
95B69183872B62   SETH              GLAZE                 CO           90013851838
95B69225A5B531   TAMARA D          BAROS                 NM           90012472250
95B72948455957   SHANEQUA          YOUNG                 CA           90006929484
95B73648691599   BRYAN             SAENZ                 TX           75040736486
95B784A1493755   AMANDA            KRAFT                 OH           90014284014
95B79711661977   LETICIA           GONZALEZ              CA           90011037116
95B82159255951   JOHN              ORTEGA                CA           90014911592
95B82A52955951   BALTASAR          CAMPOS                CA           90012970529
95B86235497B59   HECTOR            GONZALEZ              CO           90011852354
95B8688135B531   BRITANNI          LOPEZ                 NM           90012988813
95B88285991951   TONITA            JONES                 NC           90010892859
95B88888572B62   JOSEPH            PARSON                CO           90009148885
95B8B36884B588   MICHAEL           BALLARD               OK           90014023688
95B9344A95B531   MICHAEL           GONZALES              NM           90010904409
95B9485133365B   ALISHA            MILLER                NC           90011738513
95B96351455957   GRISELDA          CASTILLO              CA           90012513514
95B9651175B383   BRIAN             KING                  OR           90012885117
95B9659818167B   TRENTON           STANLEY               MO           90011455981
95B98912491951   ROCHELLE          PEACE                 NC           90008399124
95B9B48224B588   STEPHANIE         RINALDI               OK           90007144822
95BB1274891579   JAMES             NEWMAN III            TX           90008002748
95BB7451A72B22   NOAH              DOMINGUEZ             CO           90013404510
9611314845B389   RAFAEL            MADRIGAL              OR           44546071484
9611437555B383   DAMIAN            ACUNA FERNANDEZ       OR           90012033755
96114771272B32   ANA LAURA         VERDUGO-GUERRERO      CO           90010267712
9611535388B175   RYAN              VANOS                 UT           90001413538
96123218772B62   NINA              ORTIZ                 CO           90013482187
96134275672B56   LAURA             GONZALES              CO           90014162756
9613991359712B   TONYA             MACK                  OR           90010409135
96141A32872B3B   ZACHERY           LEE                   CO           90010950328
9614281A855951   MATTHEW           BERMEA                CA           90010648108
96143674A43442   LYNNEA            RAYNOR                VA           90014256740
9614587918594B   EUGENE            PETTEY                KY           66048228791
9614679786B984   STEPHON           FRODING               NJ           90011177978
96147279A72B56   ESTRELLA          KING                  CO           90014162790
96147742372B22   MEGAN             LOPEZ                 CO           90009547423
9614B138991951   MILLANA           PERRY                 NC           90009111389
9614B31A191599   CHATO             ROJAS                 TX           90008263101
9615223428B175   KONI              ADAMS                 UT           90010282342
96154242497B59   BENJAMIN          BAGUS                 CO           90012442424
9615739215B383   TRACIE            KALI                  OR           90008603921
96157841372B42   JAVIER            DIAZ                  CO           90012878413
96159371A61977   JEFFREY           MAGNUS                CA           90012853710
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96159A95772B22   KIMBERLY        CARLSON                 CO           90011160957
961617A2591531   EDWIN           ALDERETE                TX           90007207025
96161A4838B835   GARY            FULLER                  HI           90014860483
96162413572B3B   MARCELLA        LOVATO                  CO           33042714135
961637A758B175   JOHN            OWELL                   UT           90012967075
96163898A91951   PAMELA          BUSBY                   NC           90010798980
9616465A897123   ELIZABETH       LAMBRIGHT               OR           90011426508
96165218172B42   JOSE            TREJO                   CO           90010042181
96166325272B24   DAMARIS         SANCHEZ                 CO           90000883252
961671A467B444   RICKY           STEPHENS                NC           90011861046
9616934842B981   JUSTIN          ALVES                   CA           90013503484
9616B59335B383   MARLEN          OSORIO                  OR           44518055933
9616B7AA26196B   MICHAEL         CUFF                    CA           90009457002
9616B965191521   ROCIO           BURCIAGA                TX           90014879651
9617829357B444   ROBIN           WILSON                  NC           90013072935
9617977A297123   SABRINA         ANN RILEY               OR           90012697702
9618293168B175   JUAN            TRUJILLO                UT           90004259316
9618443A691599   JOSE            ARZOLA                  TX           90001534306
96185622A97123   AUJAH CAMILLE   WILLIAMS                OR           90008926220
96187186933B21   DAVID           BRAUN                   OH           90014851869
9618842525B361   PEDRO           MOREOLOS                OR           44575374252
96192236A5B361   MARISA          CARTER                  OR           90012042360
961925A8191951   KEIA            GORDON                  NC           90012425081
9619321A18B175   SCOTT           DIMMITT                 UT           31024662101
9619491838B175   ADAN            SOBERANIS               UT           90014749183
9619591838B175   ADAN            SOBERANIS               UT           90014749183
961978AA78594B   JOSHUA          TURVEY                  KY           90013408007
96197A44791599   ROBERT          CASHMAN                 TX           90015000447
9619962217B444   HUMBERTO        PLACIDO                 NC           90013306221
961997A2691599   DANE            ALLEY                   TX           75048687026
9619B558892825   DANIEL          ACOSTA                  AZ           90014185588
961B2711A97B59   ALFREDO         SOTO                    CO           90014187110
961B6826997B59   SANDY           MOLINARI                CO           90014188269
961B8682591599   JESUS           MACMARGRIE              TX           90009866825
961B895125417B   JUAN            BAUTISTA                OR           90012689512
961BB868791399   ESMERALDA       MALDONADO               KS           90013328687
961BB994597B59   ALFREDO         DELARIVA GONZALEZ       CO           90011629945
96215578A5B531   LUCERO          JOSE                    NM           90011095780
96216A44472B62   YESENIA         MENDEZ                  CO           90012840444
962172A4472B62   MARK            ORTIZ                   CO           90012762044
9622154525B361   FELIPE          MORALES                 OR           90004915452
96222577A8B175   ELIZABETH       LOPEZ                   UT           90014765770
9622356A155957   JOHN            DOMINGUEZ               CA           90009095601
9622384965B548   JOHNNY          BACA                    NM           90010388496
96224259872B24   JOSEPH          THOMPSON                CO           90013822598
9622B755191951   LUCY            AGALA                   NC           17014697551
9622B82253B341   JAMES           SAYLES                  CO           33004918225
96233289A93721   JOSEPH          WATSON                  OH           90005232890
9623451AA55957   REYLENE         RUESGA                  CA           90010845100
962347A4972B22   MDINA           EVA                     CO           90011587049
9623597A597B59   JEREMY          ESPINOSA                CO           90014419705
9623696158B175   KASEY           PARRA                   UT           90010609615
9623B69538B12B   RICHARD         KASTELER                UT           90014206953
9623B82A755957   VANESSA         HURTADO                 CA           90006228207
96241747A5B531   ALEJANDRA       REYES                   NM           90012847470
96242442272B32   PATRICK         BERNAL                  CO           90011274422
962434A4477537   KAREN           NEVAREZ                 NV           90011864044
96243A74A91531   VALERIA         ARMENDARIZ              TX           90014920740
96249121A72B3B   CELSO           COCA                    CO           90006921210
9624B742991521   KIMBERLY        HERNANDEZ               TX           90010327429
9625228A55B383   CURTIS          PURDY                   OR           90013882805
9625393825B531   MARK            CHAVEZ                  NM           90014109382
9625592872B94B   FRANK           PACAHUALA               CA           90004629287
96256811472B24   HADLEY          MORALES                 CO           90014588114
9625945145B531   ROCKY           SANCHEZ                 NM           90005884514
9625B419991531   DANIEL          BARRERA                 TX           90005554199
96261357772B3B   TIFFANY         HORTA                   CO           90007663577
96263A67291521   GRACIELA        OJEDA                   TX           90002610672
9626544A52B976   JOSE            AGUILAR                 CA           90013074405
9626612778594B   ANGEL           TOLENTINO               KY           90007341277
962667AA53164B   LYNN            STEWART                 KS           90013687005
9626848753164B   FAITH           SHELLMAN                KS           90010154875
9626856155B531   DOROTHY         ROMEO                   NM           90014485615
96268A19372B3B   MARGARET        MARTINEZ                CO           33032540193
9626B586691951   SHIRLEY         RUTLEDGE                NC           90009785866
9626B68A861977   CAROLINA        VALENZUELA              CA           90011546808
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9627145238B175   ISMAL           ABDULLAHI                UT           90014774523
9627192215B548   CHRISTINA       MAESTAS                  NM           90012369221
9627311855B383   LIBORIO         ALCANTAR                 OR           90012961185
9627715AA3162B   KATINA          SUTTER                   KS           90012661500
9627B4A3991599   DENNIS          YBARRA                   TX           90014844039
9627B877957131   ANDERSON        MARTINEZ                 VA           90007518779
9628247378594B   DANIELLE        FAZIER                   OH           90001874737
962829A1697B59   FELINA          ROMERO                   CO           90012939016
9628391835B361   IRMA            PACHECO MARTINEZ         OR           90000659183
96283A4159712B   JENAH REBEKAH   KUBLI                    OR           90004660415
962866A5872B22   CESAR           AMAYA                    CO           90013006058
96286A28391599   THELMA          BUSTILLOS                TX           90005320283
9628B225A7B444   LADI            MCGILL                   NC           90004032250
9628B718A91951   ALONDRA         SANTOS                   NC           90010467180
9629187A276B42   LUCIANO         RODARTE                  CA           90004188702
96291AAA555951   ALFREDO         AMESCUA                  CA           90009280005
9629761225B383   DAVID           CHARLEY                  OR           90014626122
9629767517B444   TAYONNA         BROWN                    NC           11075746751
9629771795B383   ALICIA          JOLI                     OR           90002267179
9629811A691531   JESSICA         RIVERA                   TX           90014921106
96298896872B22   ASHLEY          BROWNLEE                 CO           90015148968
96299992A77537   ZENON           MARTINEZ                 GA           90014309920
962B1765891951   JOE             JOHNSON                  NC           90012157658
962B2745271962   JOSE            CASAS                    CO           90011257452
962B2945855957   MA              RUIZ                     CA           90013029458
962B347823164B   ZACH            WARD                     KS           90011864782
962B927625B361   SAMIRO          ALI                      OR           90014232762
9631361395B548   DONNA           CHAVEZ                   NM           90013756139
96314688A72B42   MICHAEL         RENELLI                  CO           90001386880
9631953767B444   TAURICE         STOWE                    NC           90014625376
9631BA58261977   ALAN            NEELEY                   CA           90014890582
96323922A97123   SARAH           SMITH                    OR           90008559220
96325A69472B24   MICHAEL         KELSO                    CO           90012770694
96326A31461927   RICHARD         BRILL                    CA           46046030314
96329285172B56   NICHOLAS        MEYER                    CO           90011772851
9632B441755957   FRANSICO        PUENTES                  CA           90014894417
9633235A17192B   DEBRA           FREEMAN                  CO           32006613501
96334911372B22   CLIFFORD        PUPPE                    CO           90012829113
9633688188B175   LOSANA          KAUFUSI                  UT           90010608818
9633749828B175   JOE             JENSEN                   UT           90014774982
96337899472B22   GUADALUPE       MENDOZA                  CO           33054748994
96339A62691399   ROSALIA         MARTHA                   KS           90013170626
96343A75497B59   MICHAEL         FRAZIER                  CO           90011660754
96345785672B56   CARLOS          SANTANA                  CO           90012667856
96346987A91521   CARLOS          ORONA                    TX           90010519870
96347466597B59   MARLENE         MANN                     CO           39015844665
9634794928B175   ARISLAY         SUAREZ                   UT           90010609492
96348355A5136B   DEBORAH         JACKSON                  OH           90013293550
9634877767B444   MESHA           JACKS                    NC           90011397776
96348A11672B32   JEFFERY         COLLINS                  CO           90012870116
9634996749712B   THOMAS          MISIK                    OR           90005989674
9635151478B175   VINCE           RODRIGUEZ                UT           90013115147
9635246AA5B388   JAMIE           WATKINS                  OR           90008584600
9635262935B531   ANGELIQUE       SANCHEZ                  NM           90013436293
9635783A33363B   ROBERT          STEVENSON JR             NC           90010998303
96357A1365B361   JOHN            PERALES                  OR           90008940136
96357AA3755957   ENOE            ESTEBOR                  CA           90013250037
9635938318B175   KAREN           GONZALEZ                 UT           90008123831
9635B83A993755   SABRINA         BREWER                   OH           90015048309
9635BA1768594B   DONALD          LOCK                     KY           90012330176
9636189A477537   STEPHEN         DEMUTH                   NV           90012538904
9636214413164B   PATRICK         ROGES                    KS           22094041441
9636363A891521   MIRIAM          CROSBY                   TX           90004186308
963649A6A8B347   COLVEN          ADAMS                    SC           90014879060
96365815472B22   DEVONTAE        WYATT                    CO           90013138154
9636683458594B   MICHAEL         SOARD                    KY           66070348345
9636748718B175   JUAN            RIVERA                   UT           31078464871
9636879167B696   WILLIAM         REED                     OK           90013977916
96368944A7B39B   DAVID           DILLON                   VA           90006399440
9636B668672B24   SHANE           WILCOX                   CO           90011296686
96373898A91951   PAMELA          BUSBY                    NC           90010798980
96375854A5B531   TJUNG           GIMIN                    NM           90010148540
96375A1983164B   MICOLE          MOORE                    KS           90013620198
9637789A972B32   MAYTE G         OLAGUE                   CO           90012748909
96379A51872B42   JOHN            VIGIL                    CO           90009680518
963819A1272B56   OMAR            GRANADOS LARA            CO           90011729012
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9638415717B444   TYLA           GREEN                    NC           90009951571
96385AA235B383   ROBERT         HARMAN                   OR           90015130023
96386134172B3B   ISABEL         MARQUEZ-MENDOZA          CO           90013931341
9638712995B531   DANIELA        RAMOS                    NM           90009101299
96387562897B59   MERCURY        SMITH                    CO           90009195628
96387612772B56   JUANCARLOS     VASQUEZ                  CO           90000316127
9638782286B984   CATARINO       GARCIA                   NJ           90010968228
9638838A872B56   GERERDO        ABARCA                   CO           90014163808
96389114372B3B   ESPERANZA      DENA                     CO           90002641143
963935A113164B   LARRY          WILSON                   KS           90011265011
96393732172B62   JERAMY         HUFF                     CO           90014077321
96394629A72B3B   BRIANA         NUNEZ                    CO           90011176290
9639874A361955   DONALD         GARRETT                  CA           90010217403
96398AA9155951   VERONICA       MENDOZA                  CA           90010920091
963B3354272B56   JUANA          DEL VAL                  CO           90014163542
963B3561A97B59   KULDEEP        BHATTI                   CO           90003125610
963B478A85B383   JOYCE          WATSON                   OR           44537867808
963B4A5685B531   RICARDO        SANCHEZ                  NM           90013750568
963B5A44172B22   MARIA          ARMENDARIZ               CO           33060680441
963B6885755957   ISAIAH         SAUCEDA                  CA           90013308857
963B7443961928   WALTER         PICENO                   CA           90012214439
963B8786572B22   KEITH          MACDOUGALL               CO           90010397865
963B8A49291599   LORENZO        VERA                     TX           90011340492
963B971A872B3B   VICTORIA       SUNN                     CO           90011417108
963BB854661977   ESPERANZA      RODRIGUEZ                CA           90012018546
96413841772B98   BRIAN          ALEX                     CO           33059228417
9641397A197B59   MARY           ENGLISH                  CO           90014949701
9641774745B383   JUAN CARLOS    VALDEZ HERNANDEZ         OR           90007597474
9641925795B531   JANIS          THOMAS                   NM           90014902579
9641939AA91969   ANGELIA        SCHOEFIELD               NC           17006493900
96419AAA193723   ROLAND         TENNYSON                 OH           90010100001
964236A6491531   MONICA         SANCHEZ                  NM           90011356064
964246A7391399   RANESHA        DODD                     KS           90013086073
96425A67491951   OTON           APARICIO SOTO            NC           90011180674
964279A4891531   CAROLINE       PONCE                    TX           90014929048
9643B39A161977   MOSES          REYES                    CA           90006893901
96443494697B59   ELSA           RAMOS HERNANDEZ          CO           90012814946
96445447172B62   FAUSTINE       NEWBURY                  CO           90013844471
96445AA6855951   LATORI         WILLIAMS                 CA           90010370068
96447594372B62   DEBRA          DAHL ROOM 213            CO           90014415943
96448191497B59   REYES          VEGA                     CO           90014721914
96448842172B24   HEIDI          SHAVILL                  CO           33003908421
9644B362451342   BARBARA        PEREZ                    OH           90010723624
9644B75985B361   JAMIE          LAGANO                   OR           44515117598
9645371578B175   STEVEN         HEINER                   UT           90012127157
9645519A77B444   JORDAN         LINDSAY                  NC           90013891907
96456A62572B3B   JOHNNY         GOMMEZ                   CO           90011810625
96457374272B62   SHEENA         WARD                     CO           90003483742
96458936972B62   CIERRA         DELTRRERA                CO           90004839369
9646369178594B   CHRISTY        STROUD                   KY           90012136917
96464346272B3B   MACHO          PRIETO                   CO           90013203462
9646462535B531   SERGIO         PENA                     NM           90012546253
964684A5372B56   ALEXIS         SMITH                    CO           90011774053
964695A9A72B62   MARIA          BANUELOS                 CO           90007115090
9646B813472B32   KAR            SEN                      CO           90013318134
9646B837397123   JOSHUE         AIKMAN                   OR           90014308373
9647239886B984   ALEJANDRO      FERNANDEZ                NJ           90011073988
964737A2886B63   OLGA           KACHORWSKY               CT           90014507028
964756A5951347   STEPHANIE      MILLER                   OH           90011116059
96475863172B56   JESUS          CONTRERAS                CO           90012078631
96476324A5B548   PERLA          FLORES                   NM           90010643240
9647723938594B   CHERIE         DARBY                    KY           90014192393
9647778594B949   JOHNNY         JAMES                    TX           90002517859
96478872772B62   RAMONA         BARRIOS                  CO           90010288727
9647975188B175   MARIA          MADRID                   UT           90011797518
96481916472B22   SUSAN          ZABALA                   CO           90012829164
96482677172B56   SIHERRA        SHACOLE-CRAVEN           CO           33093716771
9648323A45B383   HAROLD         CLARK                    OR           90009662304
9648681A355957   DIANA          GONZALES                 CA           90003378103
96488A3555B361   KARSTEN        TRAPP                    OR           90012110355
9648975AA72B32   MARLENE        REYES                    CO           90005187500
9648995A891531   PERLA          FLORES                   TX           90014929508
9648B312841296   ARIELLE        MARSH                    PA           51070123128
964931A346B984   HEMANUEL       RODRIGUEZ                NJ           90012751034
9649398A497123   ABRAHAM        BONNEY                   OR           90014869804
964954A4155999   ANGELA         TUTTLE                   CA           90008104041
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9649679955B361   ANA ROSA       JIMENEZ IBARRA           OR           90012057995
964973A6472B3B   DOROTHY        OHLINGER                 CO           90013093064
9649849915B361   MICHAEL        PAULUS                   OR           90000644991
96498A9745B548   ROBERT         ARAGON                   NM           90012010974
9649B459755957   TRAVIS         ANGERAM                  CA           90013484597
9649B95A891531   PERLA          FLORES                   TX           90014929508
964B5236191521   MIGUEL         DE LA HOYA               TX           90009562361
964B6238991599   NORMA          ANGUIANO                 TX           90013042389
964B6659891531   ELIZABETH      ENCINAS                  TX           90014936598
964B6746741296   SAMANTHA       JAMES                    PA           90010457467
964B7782955951   MONTRICE       BOWLIN                   CA           90011197829
964B7936272B56   SHAWNTEL       WILSON                   CO           90013029362
964B796215B383   KATLIN         MAHONEY                  OR           44526439621
964B8957772B24   ISREAL         ESTRADA                  CO           90013389577
965133A4872B24   LEO            PAIK                     CO           90014903048
965176A4172B24   JESUS          VILLAR                   CO           90011326041
96517918172B22   DAVID          BERLIN                   CO           90012829181
96518437772B56   JORGE          JIMENEZ                  CO           90014164377
96519A69797123   MIBELLE        CHURCH                   OR           90006900697
96521214A91521   ERNESTO        PEREZ                    TX           90014882140
96521455172B62   FRANCISCO      PEDROZA                  CO           90013624551
96524575397B59   SHAMBREYA      JOHNSON                  CO           90012815753
965251A815B548   TIFFANY        GRAHAM                   NM           90011941081
965255A4872B24   RACHEL         ROSALES                  CO           90010485048
96527216872B56   DAVID          TORRES                   CO           90005162168
9652859A951342   ANTHONY        BODEN                    OH           66000695909
96529113A93755   LIZANDRO       PEREZ                    OH           90014231130
965298A6377537   ANTHONY        HALE                     NV           43027228063
96529994697B59   CHERYL         FENDRICH                 CO           90013009946
96531742972B56   ANA            MORENO                   CO           90013877429
96531A2A197123   MARIA          ORTA-VALDOVINA           OR           90011100201
96533538872B3B   OLIVIA         GARCIA                   CO           90004185388
96534633972B62   SAMMY          SWEET                    CO           90010636339
96538A21331429   DEMARKAS       CONNELLY                 MO           90008920213
9653B36817B444   ANN            YOUNG                    NC           90010783681
9653B995972B3B   STEVE          JOHNSON                  CO           90015049959
9654181585B531   ANDREA         DEER                     NM           90011098158
96541824A5B548   ARELY          ROMERO                   NM           90003698240
9654247A391599   NESTOR         LOPEZ                    TX           90014164703
9654419AA72B42   CARRIENNA      JAMES                    CO           90010691900
9654929495B565   LUIS           PENA                     NM           90011422949
9654937515B383   DECI           CORDEIRO                 OR           90013183751
96552157A91951   RUBILIO        VELASQUEZ                NC           90013951570
9655224765B531   JOE            DOUGHERTY                NM           35084582476
96553572A8B175   JUSTIN         CLAPP                    UT           90014975720
96555573272B3B   BRENDA         MACIAS                   CO           90013645732
96559229A41296   CHRISTINE      JAMES                    PA           90005972290
96559731772B3B   JOEL           RODRIGUEZ                CO           90012947317
9655B84775B531   JOJOLA         DARLENE                  NM           90013168477
965615AA58B175   GERALD         BATES                    UT           90014785005
96561A25672B21   KODY H         GREEN                    CO           90012860256
9656546667B444   MARK           DOLIVE                   NC           90010684666
96568192572B24   CRYSTAL        SCULLEY                  CO           33093531925
9656B953193726   DYLAN          HUGHES                   OH           90013659531
96578964497B59   MANUEL         ESPINOZA                 CO           90002509644
96579226A91951   MARIA          FUENTES                  NC           90013952260
965795A8672B62   SUZANNE        SCHUMAN                  CO           90014825086
96579829572B3B   MARIA          NOLASCO                  CO           33071578295
9657B491391599   JAVIER         ALCANTAR                 TX           90012484913
96581A37141243   EMMAU          CROSBY                   PA           90012050371
9658229495B565   LUIS           PENA                     NM           90011422949
96586A12191951   LATASHA        ALSTON                   NC           90010810121
9658897A43164B   ANANZA         JAMES                    KS           90002799704
9659452A172B24   LEWIS          BROOMS                   CO           33051015201
9659494245B383   BRITTANY       LYONS                    OR           90005439424
9659498735B134   MARQUITA       CURLEY                   AR           90013759873
965984A8172B22   MELISSA        GIEBENRATH               CO           90013934081
965B136AA41296   GERELLE        MLLER                    PA           90014993600
965B1A97972B3B   CELISA         GALLEGOS                 CO           90008670979
965B26A857B26B   JAMES          LAUVER                   AZ           90013046085
965B2822741296   KALEIB         ODEN                     PA           90012508227
965B3A73472B24   TAMISHA        JOHNSON                  CO           33066290734
965B588818B175   QUANNAH        ZAHONY                   UT           90014438881
965B6168955957   ANGEL          RODRIGUEZ                CA           90010721689
965BB31253164B   TERRY          ROSS                     KS           90014783125
9661242517B444   JOHNETTA       WALKER                   NC           90001174251
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96614139372B32   GABRIELA       ALBA                     CO           90011181393
96625A99872B62   MARIA          LEDESMA                  CO           90012950998
96629A3894B588   MYCHAEL        HARDING                  OK           90003750389
96629AAA15B548   MARIA          SANCHEZ VALDIVIEZO       NM           90010480001
9662B493961977   BLANCA         RUIZ                     CA           90013054939
9662B635272B62   ALEJANDRINA    OJEDA                    CO           90010106352
966359AA68594B   JANET          CRADDOCK                 KY           90011949006
9663648A85B394   STEVEN         SMITH                    OR           90006324808
96637889897B59   LUIS           CISNEROS                 CO           90013158898
96638A82A8594B   TRAVIS         NOLAN                    KY           90014690820
9663923517B444   GERALDINE      BYERS                    NC           11071702351
9663BAA7872B22   MORRIS         LINDA                    CO           90009930078
9664162A991951   VICTORIO       HERNANDEZ                NC           90010466209
96651A32872B3B   ZACHERY        LEE                      CO           90010950328
96651A79672B62   JILL           WHITEHEAD                CO           33047280796
9665739483147B   CHIQUITA       BROWN                    MO           90013963948
96658376272B22   GREGG          WOODCOCK                 CO           90011243762
96658592A5B531   SYLVIA         JARAMILLO                NM           90013145920
96658A2215B531   SYLVIA         JARAMILLO                NM           35087530221
9665981315B378   HUGO           MARTINEZ                 OR           90013038131
9665B411355957   NUVIA          MATA                     CA           90013794113
9665B814791599   PAULINA        GUILLEN                  TX           90012978147
9666591235B548   LOLA           ELIBARRI                 NM           35027279123
966688A265B548   JAMES          TIMMONS                  NM           90012058026
96669A7A172B24   JAMES          ZIEGLER                  CO           90012770701
9666B45215B361   CARY           DEHNE                    OR           90012904521
96671815372B22   MARIA          BARRERA-MORALES          CO           90010398153
9667362575B361   REBECCA        CUYLER                   OR           90000426257
9667431428594B   JUSTIN         LOUDEN                   KY           90000143142
96676219A5B361   ROLANDO        RIOS                     OR           90007982190
9667852168594B   JOSPEH         LLOYD                    KY           90014275216
9667B534772B24   MARIO          RAMIREZ                  CO           90010485347
96682452272B56   CECILIA        ECHEVERRIA               CO           90012464522
9668434A75B548   PHILIP         BACA                     NM           90012433407
96684763372B24   DEVIN          JOHNSON                  CO           90011297633
9668577976B984   JORGE          CABRERA                  NJ           90013957797
96686396272B24   SERGIO         DIAZ                     CO           90013233962
966869A3572B22   LENNY          COLE                     CO           90010779035
9668B947761977   MILISSA        SANCHEZ                  CA           90004049477
9668BA28591399   LISA           MANN                     KS           90008250285
9669364628B175   MARIO          CHAHIN                   UT           90014786462
9669416978B597   MARTHA         ANGEL                    CA           90014401697
96694878A77537   VIOLA          RAMIREZ                  NV           90013888780
9669664698B175   STACEY         MULLEN                   UT           90014786469
9669B1A3A93755   LATASHA        KNIGHT                   OH           90004241030
9669B641955957   AIOTEST1       DONOTTOUCH               CA           90015116419
966B2758477537   MIKE           SIMONS                   NV           43056117584
966B384A63164B   CHESTER        IRVING                   KS           90013968406
966B6A12855957   SANDRA         YBARRA                   CA           90014080128
966B732278594B   TARA           MCDANIEL                 KY           90013853227
966B7769372B56   BABY DOLL      RIFFLE                   CO           90012667693
966B882A877537   AQUILES        TRINIDAD                 NV           90012888208
966B8A85572B32   SARA           VALLECILLO               CO           90015180855
966B9A64A61977   CHRISTINA      ARECHIGA                 CA           90013860640
96714645A91951   MARKESSIO      CROWDER                  NC           90014926450
96714A64355951   CHA            YANG                     CA           90010860643
9671929783164B   KIMBER         HARVEY                   KS           90012652978
9671993192B877   MARIA          SANCHEZ                  ID           90004099319
9671B21925B531   DEBBIE         CUSTER                   NM           35038162192
9671B991577537   LOLITA         THOMAS                   NV           90013919915
96723243572B22   SHAY           ESTESQ                   CO           90003912435
96724A74977537   NANCY          HERNADEZ REYS            NV           90005570749
9672718548B158   HEATHER        NOAKES                   UT           90004551854
9672763194B588   MONIQUE        PEREZ                    OK           21550056319
96727A5125B548   JOSEPH         SCALA                    NM           90014370512
9672844765B531   DANDRE         MITCHELL                 NM           90011744476
96728544472B24   CHARVAS        THOMAS                   CO           90010485444
96729249A72B42   IVAN           PAREDES                  CO           90011262490
9672927318B175   SHANTEL        SMITH                    UT           90010542731
9672976A697B59   AUDREY         KELLEMEYER               CO           39062587606
9672B6AA172B62   CELIA          ARAU                     CO           33094026001
9673341335B383   SERGIO         LOPEZ                    OR           90014654133
96735923272B24   ANTONIO        FIGUEROA                 CO           90013049232
9673B822177537   SOLIA          BALDIZON                 NV           90013578221
96741785A61977   MARIELA        PEREZ                    CA           90011117850
967438A2391599   JORGE          GARCIA                   TX           90012828023
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96745884272B24   ESPERANZA      DOMINGUEZ                CO           90012778842
96745A3814B267   KURT           LARSON                   NE           90015110381
9674689A95B548   JOSE           CARILLO                  NM           90012188909
96747499A41296   TRACEY         JENNINGS                 PA           51091584990
96748245572B56   RAFAEL         GUTIRREZ-CASTANEDA       CO           33091372455
96749A23472B56   NIKORA         SHELLMAN                 CO           90011010234
96749AAAA72B24   STEVEN         MEYER                    CO           33005970000
96751291672B56   JOE            HERNANDEZ                CO           90012802916
96751A4738B175   DAVIS          RYTTING                  UT           90014790473
96754577972B2B   JANEY          GRENZ                    CO           90014045779
9675656617B444   ANDRES         RAMIREZ                  NC           90013615661
96757A1265B177   CAMESHA        MEREDITH                 AR           90005810126
9675B521172B3B   MARIA          CRUZ                     CO           90012815211
96763536572B32   HAYLEY         FIGUEROA                 CO           90012145365
96763A23491399   ALVINA         ORTEGA                   KS           90012980234
96766A29A5B383   PETER          FRANTZ                   OR           90007720290
9676B824472B24   MARIANA        VALENCIA                 CO           33076618244
96779974372B3B   BRIAN          ABEYTA                   CO           90010869743
9677B5A5A5B548   LIZBET         CARRASCO                 NM           90011365050
96783583672B32   ALBERT         JOHNSON                  CO           90007625836
96786566172B56   ROSHONDA       GERTIE                   CO           90014165661
9678658667B444   PORCIA         GATTLING                 NC           90013775866
9678995585B531   MARTY          VIGIL                    NM           90011099558
9678B888A97B59   DONALD         HOUSTON                  CO           90015088880
9678BA86A55999   SUSAN          MILLER                   CA           90010320860
96793A56151342   DARIEN         MATTOCKS                 OH           66042920561
96794455A31469   MICHAEL        JONES                    MO           90007894550
9679686455B361   SILVIA         HERRERA                  OR           90013298645
9679733A272B62   GEORGE         GOTTMANN                 CO           33017463302
96797A4738B175   DAVIS          RYTTING                  UT           90014790473
9679912735B383   EGBEVADO       ANAMOUKO                 OR           90009801273
96799664672B56   MARIE          TOLEDO                   CO           33053436646
967B264698B175   STACEY         MULLEN                   UT           90014786469
967B3924955957   JESUS          BENITIEZ                 CA           90012169249
967B4581197123   HEIDY          ALTEZ                    OR           90010395811
967B5327A97B59   BROOKS         MICHEL                   CO           90009083270
967B5641955957   AIOTEST1       DONOTTOUCH               CA           90015116419
967B7563791951   ALONZO         BOWEN JR                 NC           90010935637
967BB147455951   EVELIA         CERVANTES                CA           90008691474
9681223258B166   AMY            PEARCE                   UT           90012492325
9681354A23164B   LEO            LEONARD                  KS           90011085402
968138A5A41296   THEA           THOMAS                   PA           90013598050
9681756835B531   PHILLLIP       HUMPHRIES                NM           90009875683
96817893872B32   JESUS          VALDEZ                   CO           90010278938
9681B11195B531   FLOR           ORDONEZ                  NM           35073391119
9682694245B361   LUZ SELENE     LOPEZ-PIMENTEL           OR           90010039424
96828A99672B22   PHILMORE       MCKENIZIE                CO           33094670996
9682B574672B56   LUIS           ARGUETA                  CO           90014165746
96831712497B59   STEPHANIE      SCHROERS                 CO           90014797124
968351A3772B24   CHARLENE       REED                     CO           90011281037
9683535495B548   REINALDO       DELEON                   NM           90008973549
9683836145B531   VALERI         CHAVEZ                   NM           90014873614
9683888234B588   JESSICA        MILIA                    OK           90010308823
9683B784672B22   QUINTAN        MCKENNA                  CO           33076057846
9684125618594B   JASON          BARROW                   KY           90008672561
968421A393164B   KYLE           WILLIAM                  KS           90012061039
96845568772B24   BOOM           JACKSON                  CO           90009875687
96845788272B56   LIZETH         TORRES                   CO           90011777882
96847734A72B42   JENNIFER       REARICK                  CO           90011547340
9684837617B444   SHATAVIA       BARNETT                  NC           11009733761
968485A8672B62   SUZANNE        SCHUMAN                  CO           90014825086
96849A47A55957   IGNACIO        GUTIERREZ                CA           90012840470
9684B844172B22   JOHANNA        WELCH                    CO           33031988441
96855673172B24   MARVIN         GAULE                    CO           90011886731
9685584533164B   OSCAR          LOPEZ                    KS           90012218453
96857682397B59   TERESA         CALDERON                 CO           90014796823
96858338A31952   ROMAN          SCHULZ                   IA           90014233380
968594A237B444   CECIL          LLOYD                    NC           90005604023
9686247A277537   KARINA         MONTANO                  NV           90015214702
96862939672B56   LORENA         PEREZ                    CO           33091179396
96866A76991399   ZACHARY        COURTNEY                 KS           90011510769
9686858518B175   DEZERAE        SHARPE                   UT           90005405851
9686B716591531   SARA           PEREA                    TX           90010217165
96871A5428B175   WILLIAM        DAMIAN                   UT           90015120542
9687245185B531   VANTRESE       CHAVEZ                   NM           90011154518
96875657372B32   LETICIA        SANTANA                  CO           90013386573
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96878653A97123   BLANCA          GUZMAN                  OR           90013276530
9687B22819374B   ANYA            COOPER                  OH           90001142281
968818A2177537   ALBERT          CERVANTES               NV           90012998021
96882A25661977   ROXANNE         MOODY                   CA           90009460256
96883774772B32   MIKE            RIOS                    CO           90010677747
9688531A797B59   OMAR            VALIENTE                CO           39033963107
96887A49493755   TRINA           ELLINGTON               OH           90014230494
96889664997B59   ELIZABETH       SNYDER                  CO           39091296649
96889827672B56   JESSE           GEMME                   CO           90011778276
9689121A25B361   CHRISTOPHER     MESSENGER               OR           90014692102
96899282672B56   LINDSAY         FOURNIER                CO           90013232826
9689978168594B   GEOGRE          ILES                    KY           90014157816
968B5535372B3B   JOSE            PORTILLO                CO           90010215353
968B7998977537   JOANA           HICKS                   NV           90008189989
968B8127A8B175   DANNIELLE       HINES                   UT           90014791270
968B8661893755   THOMAS          RICHARDSON              OH           90012256618
968B9482773261   CARA            KING                    NJ           90012184827
968BB583291599   MARIO           ESCARCEGA               TX           75090975832
968BB8A765B548   LAURA           RAMIREZ                 NM           90012268076
968BBA27772B42   HECTOR          BARON                   CO           90012600277
96911853272B56   DURON           FRANCISCO-JAVIER        CO           90011778532
96914998672B32   SALVADOR        CHAVEZ                  CO           90010259986
9691688895B383   RICHARD         KLIMEK                  OR           44573378889
9691872385B361   APRIL           THORSEN                 OR           90010107238
969188A3572B32   KATRICE         BAILEY                  CO           90011458035
96918999298B32   NATALIA         SANTANA                 NC           90011319992
96918A2A291951   RICHARD         DRAYTON                 NC           90015030202
9691938657B444   LISA            SEWELL                  NC           90007003865
9691945483164B   NICOLE          DAVIS                   KS           90011344548
9692129655B548   JASON           HEAD                    NM           90005562965
96925248372B3B   CODY            OCHIUZZO                CO           90014712483
96925328497B59   SARAH           RAYA                    CO           90014933284
96927A3A691599   DANIEL          VEGA                    TX           90006590306
96929415A72B22   CIRILO          VIALPANDO               CO           90015114150
9692973A65B383   ANTHONY         WHITE                   OR           90009077306
9692B446841296   MARK            BRAXTON                 PA           90013264468
9693221747B444   JEREMIAH        BALLARD                 NC           90013872174
9693295632B981   ERICA           AGUILAR                 CA           90005989563
9693315687B32B   VICTOR          VASQUEZ                 VA           90003751568
96936867972B56   MARIELA         GONZALEZ                CO           90011778679
9693753A691521   MARIA           INIGUEZ                 TX           75093945306
9693856A672B32   HUGO            SANCHEZ                 CO           90014865606
96942871272B56   MARCO           TORRES                  CO           90011778712
9694533612B981   NANCY           LOPEZ                   CA           90005993361
9694538717B444   RONALD JOSEPH   SMITH                   NC           90013083871
9694B178797B59   JERRY           NICHOLS                 CO           39016591787
9694B23815B531   REBECCA         PEET                    NM           35005972381
9694B561655957   VIRGINIA        JONES                   CA           90014865616
9695547195B383   KRYSTA          SIBERZ                  OR           90014474719
9695B71827B444   HANNAH          HERBERT                 NC           11007977182
9695BA89A7B429   RODRIGO         HERNANDEZ               NC           90010550890
9696515175B548   KEVIN           CALDWELL                NM           90013961517
9696858248B175   CHARLENE        HALL                    UT           90014795824
96969837272B24   NICHOLAS        SALTZMN                 CO           90011298372
96969A16572B42   MATTHEW         MORRIS                  CO           90007430165
9697119854B588   EDWIN           GOMEZ                   OK           90004191985
9697263A461977   MARGARITA       KASTLIE                 CA           90012006304
9697285AA97123   MATTHEW         KHONGPHOU               OR           90012908500
9697495335B548   ANITA           QUEZADA                 NM           90010269533
9697582132162B   SEINNA          MUNOZ                   OH           90014138213
96978A27155925   JULIANA         XIONG                   CA           90013260271
96981759672B93   BROOK           MARIE                   CO           90009837596
969818AA655946   JUAN            DIAZ                    CA           90007698006
9698197355B361   MARISSA         DOTSON                  OR           90011629735
9698339518594B   KIMBERLY        GEBHARDT                KY           90013173951
9698738415B361   MARK            LEO                     OR           90008583841
9698962738B175   JESSICA         MARTINEZ                UT           90014796273
969926A777B468   CARRIE          CARTER                  NC           90005226077
96993A91597B59   DIOCELINA       TERRAZAS-RICO           CO           39052060915
96994554A97123   ELIZABETH       MARTINEZ                OR           90012215540
9699549915B361   MICHAEL         PAULUS                  OR           90000644991
96998373272B32   TERESA          GONZALEZ                CO           90011893732
96999421A5B548   JESSICA         MARTINEZ                NM           90014594210
9699B17739153B   AMANIE          TORRES                  TX           90013351773
969B1A23793755   JOLEEN          NORMAN                  OH           90002530237
969B29A825B383   YUDMILA         MACHADO                 OR           90012469082
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969B43A3791521   REBECA         SCALES                   TX           90010533037
969B4691672B42   SUSAN          MEDICIS                  CO           90001226916
969B8A63A41296   MIKE           LUCAS                    PA           90013400630
969BB578372B3B   CRISTINA       NUNEZ                    CO           90013175783
969BB87852B948   KEYOSHA        ARDERY                   CA           90012518785
96B12A67A72B32   DESIREE        ROMERO BENCOMO           CO           90014360670
96B13778891599   MAGALY         GARCIA                   TX           90010247788
96B14788872B22   JESSE          SELLERS                  CO           33014447888
96B16282372B24   PAUL           MONTOYA                  CO           90014742823
96B16AA6555951   AMY MARIE      CLAUDIO                  CA           90007870065
96B1986965B548   EMANUEL        SIFUENTES                NM           90013028696
96B1B565572B24   BERNARDINA     CRUZ                     CO           90012485655
96B2111195B383   MONERRAT       MENDOZA                  OR           90011111119
96B221A3A7B444   REGIANE        PAINS                    NC           11067471030
96B22865672B56   LAWRENCE       RICE                     CO           90013548656
96B23282791531   BETHANY        LIVINGSTON               NM           75012892827
96B23346591521   MIGUEL         ZAMARRON                 TX           90011443465
96B23426155951   GERARDO        MORA                     CA           90006064261
96B2515797B444   DEBUTANTE      JOHNSON                  NC           90012291579
96B25281A97B59   TIM            JONES                    CO           90008482810
96B2694445B548   JOHNNY         NIPP                     NM           90015019444
96B2B215391399   MARSHAWN       FLOYD                    KS           90013602153
96B2B638972B42   MICHAEL        GARLINGTON               CO           90013456389
96B2B67846B984   CARLOS         ALEX                     NJ           90008986784
96B31954697B59   CORY           KOONTZ                   CO           39039359546
96B31A8165B531   CINDY          REYES                    NM           90007570816
96B338A145B531   MOQUETTE       PARION                   NM           90012688014
96B34345597B59   ELIZABETH      MARTINEZ                 CO           90014183455
96B34431491521   BENJAMIN       PONCE                    TX           90014144314
96B36731891399   FRANCISCA      PONCE                    KS           90015237318
96B37832A77537   DON            CARLSON                  NV           90014138320
96B3858498B191   ISIDRA         MARTINEZ                 UT           90012155849
96B38A65172B24   MARGA          VALENTIN                 CO           90007480651
96B39174997123   CINDY          GUEVARA                  OR           90014011749
96B41474172B22   ELMO           LOPEZ                    CO           90004264741
96B42742177537   ALICIA         PADRON                   NV           90011247421
96B4331A691951   JORGE          AGUILAR                  NC           90014983106
96B437A478B175   TONY           MILAR                    UT           90014177047
96B455A667B444   ERIKA          JAMES                    NC           90010375066
96B4647933164B   DIHALIA        COLE                     KS           90003734793
96B464AA572B22   RIKKI          WARMUS                   CO           90010624005
96B49836272B22   TYRE           FALLS                    CO           90012818362
96B4B232376B42   MANUEL         ZAPIEN                   CA           90009652323
96B4B554161977   JAY            BROWNING                 CA           90009275541
96B5183955B361   ANTONIO        PACHECO                  OR           90009828395
96B5275A272B32   IRMA           ESPINOZA                 CO           90011457502
96B53926672B42   SARAH          DEHERRERA                CO           33068499266
96B53A6327B491   MONICA         HERRERA                  NC           90010320632
96B5843145B361   MARIA          GARFIAS                  OR           90003674314
96B59753391951   JOHN           WILLIAMS                 NC           90014457533
96B62479897B59   ABRHAM         GEBRESILASE              CO           90011794798
96B63A1A672B32   IRMA           LEYVA                    CO           90013420106
96B65767A91531   JOEY           SAENZ                    TX           75079077670
96B666A7391399   RANESHA        DODD                     KS           90013086073
96B67199455957   OMAR           PENA                     CA           90012131994
96B71972A77537   ROCIO          LOPEZ                    NV           90014309720
96B7215988594B   MARTIN         WHITAKER                 KY           66060441598
96B7255A261977   ALEJANDRA      SOLIS                    CA           90011535502
96B73871A72B56   IGNACIO        RODRIGUEZ                CO           90015208710
96B73999961977   NOEMI          OCHOA                    CA           90011099999
96B75984172B32   DAVID          RIEGLER                  CO           90010019841
96B77372297B59   DU ZA          LER                      CO           90012173722
96B77A12591884   RACHEL         MOTON                    OK           90012360125
96B79732172B56   CORRINE        GIPSON                   CO           90012557321
96B8161395B548   DONNA          CHAVEZ                   NM           90013756139
96B845A6691399   AKBAR          ABDULLAH                 MO           90012485066
96B8525365B383   PEDRO          MARTINEZ                 OR           90011852536
96B85556872B22   DIEGO          LOPEZ                    CO           90012915568
96B8578A351388   KATRINA        HENRY                    OH           90014007803
96B87127A72B32   MOLLIE         OLIVAS                   CO           33057331270
96B87954697B59   CORY           KOONTZ                   CO           39039359546
96B8955A261977   ALEJANDRA      SOLIS                    CA           90011535502
96B9117465B383   MERLE          ACKERMAN                 OR           90012561746
96B91961972B62   DEZAREE        RUIZ                     CO           90010989619
96B9399A97B444   RONALD         CLAYTON                  NC           90008969909
96B95737172B32   MARIA          MACIAS-ARELLANO          CO           90013327371
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96B96A81397123   JEFFREY        SMITH                    OR           90010960813
96B977A3261977   MARIA          ALARID                   CA           90013967032
96B98154572B3B   CRISTINA       KELLEY                   CO           33074851545
96B985A6897B59   EDGAR          RESENDIZ                 CO           90012095068
96B993A8A72B32   FREDA          RHEUBOTTOM               CO           90013573080
96B9978388B175   RAY            WARDLE                   UT           90012307838
96B9B467591951   TC             NEWMAN                   NC           90010924675
96BB133578594B   ERIC           STANTON                  KY           90013183357
96BB265873164B   AMBER          NESSMITH                 KS           90005076587
96BB321717B444   BRIDGET        KELLEY                   NC           90013882171
96BB5376591951   SHAMICKA       NORWOOD                  NC           90009573765
96BB538277B444   IRMA           GASSETT                  NC           90012033827
96BB5466455957   THOMAS         CUMMINGS                 CA           90010114664
96BB577A755951   YVETTE         LUNA                     CA           90009277707
96BB7645877537   DIANA          REDDEN                   NV           90013716458
96BB8418691399   RICHARD        NEWTON                   KS           90014774186
96BB9A66855957   JIMMIE         URISTA                   CA           90014560668
96BBB79825B531   STEPH          ESPANOZA                 NM           35003927982
97111A39891882   MARCUS         GROOMS                   OK           21070280398
971125A7233638   RESTONI        WREN                     NC           12097375072
97113771672B32   HANDER         FREYAT                   CO           90013167716
97114568A4B588   ADRIANA        MUNOZ                    OK           90013255680
97115A38761979   ANGELICA       FUENTES                  CA           90014170387
97121629A61979   AIOTEST1       DONOTTOUCH               CA           90015116290
9712233378B175   MARIA          LOPEZ                    UT           90014423337
97123422472B42   DEMETRIUS      BUCKINGHAM               CO           90001664224
971269A7141296   ILARIO         SILLA                    PA           90014789071
9712B78264B554   CRYSTAL        HAYES                    OK           90010227826
971332A1372B3B   CHARLIE        WINCHESTER               CO           90012862013
9713429A572B22   FLOR           ESCOBAR                  CO           90007332905
971353A827B444   MICHAEL        SHKUT                    NC           90013303082
9713583397B444   WEIXIONG       ZHONG                    NC           90015158339
97137818A72B32   JHON           SALINAS                  CO           90012138180
971398A5291951   SAMIYA         MOORE                    NC           90014698052
9714177954B588   SAM            GRISBY                   OK           90012377795
97141A69272B3B   ALYSIA         GALLEGOS                 CO           90012830692
97143554A72B3B   DAVID          MCCLENDON                CO           90008835540
97145746772B42   MARIA          NUNEZ                    CO           90009727467
971465A338B175   DEANN          ANDREASON                UT           90012805033
97146A2A993732   TIFFANY        BROWN                    OH           90005950209
97149A87A7B444   DEVIN          KERLEY                   NC           90014000870
9714B276A72B56   CHERYL         SMITH                    CO           90011842760
9715282A981634   DAVID          STRODE                   MO           90013858209
9715369135B361   EVER           BARRIOS                  OR           90014786913
9715563A393755   DIANTE         SENTER                   OH           90014476303
97155A74497123   ASUNCION       VALLES                   OR           90009640744
97158888A8B175   JEFFREY        JOHNSON                  UT           90012458880
971599A235B548   GAY            BROWN                    NM           90006539023
9716122195B361   ROSEANN        BERLANDI                 OR           90012942219
97161253672B32   LATHAN         LAMAR                    CO           90011112536
97164728872B32   DORA           SEAWALT                  CO           90004907288
9716487958594B   SARAH          CATTERTON                KY           90013598795
97164A5282B891   RICHARD        WALLEY                   ID           90005990528
97164A55272B24   ALISON         FLETCHER                 CO           90008610552
9716711A872B62   BRANDON        RICHARD                  CO           90008051108
9716797174B949   APRIL          SWAYNE                   TX           90004239717
97172379A8B175   OSCAR          ESCOBAR                  UT           90014183790
9717533995B361   VIRGINIA       ALVARADO                 OR           44585703399
9717B144581634   AMBER          PILCHER                  MO           90012441445
9718163764B588   DIANA          LOPEZ                    OK           90012886376
9718184928594B   KRISTINA       ADCOCK                   KY           90013838492
971832A7A81639   ROMAINE        MINME                    MO           90011652070
9718363475B361   CHRISTIAN      VAZQUEZ-RAMOS            OR           90012366347
97185A5282B891   RICHARD        WALLEY                   ID           90005990528
9718615664B949   CORY           DREYMALA                 TX           90002371566
97193AA595B531   KANDICE        FOX                      NM           90010460059
9719472987B429   ABELARDO       MOCTEZUMA                NC           90002307298
97196497872B62   CHRISTINA      BAXMAN                   CO           90010814978
97196886172B22   LANG           CHEN                     CO           90011258861
9719B67597B444   LAKEEDRA       LUNGSFORD                NC           90005146759
971B12A7172B56   SHAWN          ROLLINS                  CO           90011842071
971B24A753164B   EMILIO         ACOSTA                   KS           90014294075
971B431535B548   JOHN           OLES                     NM           90014903153
971B442A772B46   MEGHAN         WIDHALM                  CO           90012684207
971B494645B548   JOSE           SEANZ                    NM           90009519464
971B531535B548   JOHN           OLES                     NM           90014903153
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971B539A94B273   THEODORE       GILLIAM                  NE           90015083909
971B559625B531   ELAINE         FLORES                   NM           90009585962
971B5973893755   JUSTIN         BASCOM                   OH           90012649738
971B662285B361   TYRIQUE        HARDETT                  OR           90014776228
971B7A37661979   MARIANNA       ALCARAZ                  CA           90014170376
971B989844B949   LAURA          PEREZ                    TX           90011778984
9721117245B361   ANTONINO       RAMIREZ                  OR           90011431724
9721797915B361   FRANK          SQUEGLIA                 OR           44597169791
9722122A797123   ROGELIO        SAINZ LINARES            OR           44096332207
97224324372B56   LAURA          PENALOZA                 CO           90010123243
97225A45A81634   DRE            PONDS                    MO           90014650450
9722891A272B62   REBEKAH        TERRY                    CO           90009569102
9723137863164B   MONTY          CARPENTER                KS           90014423786
9723261A24B949   JASMINE        JONES                    TX           90004006102
9723273A872B42   ASHLEY         LUCERO                   CO           90014737308
97242623472B42   ANTONIO        RITKA                    CO           90013416234
9724352698B194   WILLIAM        NEWPORT                  UT           90008155269
9724B149691951   NINA           OUTEN                    NC           90013021496
97253481472B42   MARTHA         BECERRA IBARRA           CO           90013234814
97253989972B32   BRENDA         BRAWNAR                  CO           90011379899
9725916394B554   CHAVELLA       CASTILLO                 OK           90005111639
9725B335A72B3B   ALEJANDRO      MORENO-VASQUEZ           CO           33082253350
9725BA6755B361   DEBI           DAVIS                    OR           90011210675
972618A215B383   BRANDI         MINCH                    OR           90012898021
97262714972B42   SALINA         NEWMAN                   CO           90011897149
9726466224B949   FRANK          HALBERT                  TX           90012826622
9726825774B949   JOSEPH         SCOTT                    TX           76586282577
97268411A93755   CAYSE          WILLIAMS                 OH           90012624110
97269539172B42   LUDI           BONILLA                  CO           90005145391
972738A7791599   MANUEL         MONTENEGRO               TX           90001238077
9727919784B554   KIMBERLY       DOWLING                  OK           90010971978
9727B41898B175   CASSANDRA      AVILA                    UT           90010854189
9728139474B588   KIMBERLY       KANTENBERGER             OK           90010913947
97281A46777537   MELISSA        MACIAS-SANCHEZ           NV           90012400467
9728445A472B62   FROILAN        BARRALES                 CO           90011864504
97285118372B3B   LUIS           GARCIA                   CO           90013041183
9728713833164B   ADRIANNA       GRADO                    KS           90011241383
9729155818B175   NATHAN         WHITE                    UT           31080105581
9729244725B361   ANDREA         BERGEN                   OR           90012954472
9729376814B554   TRISTAN        LEWIS-COCKREAM           OK           90007787681
9729929432B891   NICK           GILPIN                   ID           90003882943
97299479A4B588   CLIFFORD       MILLIKEN                 OK           90005064790
9729B373761979   JESSE          ARRIAGA                  CA           90010363737
972B127688168B   GEORGE         FRANCK                   MO           29092012768
972B1816572B42   MELISSA        TWOCROW                  CO           90010608165
972B2312297B21   VALERIA        BELTRAN                  CO           90010613122
972B2968491599   FIGUEROA       CANDELARIA               TX           75051809684
972B2A12572B56   JUAN           VASQUEZ                  CO           90012390125
972B641A55B548   ELIAS          MORALES                  NM           90014904105
972B6A56A43584   ELISAR         LUNA                     UT           90011790560
972B7A1A44B588   EDWARD         AMARAL                   OK           90012850104
972B7A56A43584   ELISAR         LUNA                     UT           90011790560
972B839365B361   RICARDO        MARTINEZ                 OR           90010283936
972BB739391599   ALBERT         MENDEZ                   TX           90012567393
972BBA33943584   EDWARD         SAMMILEE                 UT           90009180339
973122A5691599   CLAUDIA        HERNANDEZ                TX           90007302056
97312635A41296   ANGELO         AMADOR                   PA           90008656350
9731395958B175   ERASMO         LOPEZ                    UT           90014169595
9731427714B554   RENE           MANZANO                  OK           90010972771
9731471A471936   ANNA           KARIEGE                  CO           90011967104
97315254A97123   ABDUS          AHMAD                    OR           90001882540
9731865664B554   DONNA          JAMESON                  OK           90007336566
9732517725B548   ESPERANCE      KAZUNGU                  NM           90014911772
97326222A4B588   GLORIA         CALDERON                 OK           90007592220
9732626615B361   YECICA         GARCIA                   OR           44505452661
9732712572B865   STEVE          ARESVIK                  ID           90001571257
9732B76667B444   SHAMEKA        WRIGHT                   NC           90014547666
973313A2A97123   ROBERT         COX                      OR           90009853020
9733318855B548   ANNA           SEDILLO                  NM           90014911885
97333A87293732   LIYLA          SMIEH                    OH           90006340872
97333A9792B891   KIENNETH       TRAN                     ID           42016110979
97335151872B3B   JOVON          SHAWNTE MARTINEZ         CO           33045011518
97336798172B42   SHARUNN        PHILLIPS                 CO           33055797981
97339611872B22   RONDA          VIGIL                    CO           90014786118
97339A14372B3B   CHRISTOPHER    SANDOVAL                 CO           90013210143
9733B671481635   NATHAN         WEST                     MO           90009736714
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97342284172B32   JACQUELINE     MENDOZA                  CO           33014382841
973428A7672B3B   DAWN           ROE                      CO           90011988076
97343243172B51   DANA           MORTON                   CO           90014822431
97343566372B51   DANA           MORTON                   CO           90014815663
97343A48A4B588   LUCAS          WHITE                    OK           90005580480
97346475772B32   KARL           SNYDER                   CO           33077394757
9734694853164B   SALVADOR       MARROQUIN                KS           22083539485
97347718A72B42   PONCH          MASON                    CO           90013097180
9734B428672B56   JUAN           LOPEZ                    CO           90011844286
97351474572B62   CRYSTAL        JARAMILLO                CO           90000314745
973529A2293799   DANA           DAY                      OH           90011529022
97353A9324B588   JUSTIN         WILLIAMS                 OK           90012760932
9735414A691399   CORITA         PHILLIPS                 KS           90002151406
9735888945B383   MITCHELL       SHUKURA MYLECE JAMIRA    OR           90005948894
97358A29572B24   GUILLERMO      SIC                      CO           90009790295
9735B652493727   DRISS          BELGUELLOUCHE            OH           90012396524
9735B69364B949   CATALINA       PONCE                    TX           76576176936
9736343585B531   MICHELLE       BEGAYE                   NM           90011124358
9736422475B548   ISAIAH         LOPEZ                    NM           90011582247
9736445758594B   KEITH          PARTIN                   KY           90014574575
9736572525B548   DAVID          ATENCIO                  NM           90010487252
97365AA5881634   DANA           WEST                     MO           29046580058
9736631667B444   TELACIA        JONES                    NC           90014853166
9736872485B383   ENRIQUE        ESTRADA                  OR           90013717248
97368944A72B62   JOSEPH         DANIEL                   CO           90010249440
97369197572B3B   JENE           THOMAS                   CO           33018151975
9737352145B361   REIKINA        MODOU                    OR           90013945214
9737359317B343   ROBIN          PINE                     VA           81062895931
97374AA524B949   TONJIA         JONES                    TX           90012010052
9737899758B175   LEVI           RICE                     UT           90014169975
97379265372B32   CHRIS          JENKINS                  CO           33066782653
97379A9868594B   LISA           SHOOK                    KY           90014160986
9738114A15B361   ABRIANNA       WILLIAMS                 OR           90011191401
9738177A772435   EDWARD         BRIDGE                   PA           90012077707
9738199938B175   ASHLEY         LAWRENCE                 UT           90014169993
97383379972B42   DEREK          BOSTWICK                 CO           90013113799
9738852675B361   MARINA         PITALENKO                OR           90012955267
973894A5572B42   JOSEPH         MARVELLE                 CO           90012874055
97391636772B22   MICHAEL        REYES                    CO           90014786367
97392682272B3B   MARIA          BANKHEAD                 CO           90009946822
9739535267B444   PRISCILLA      HINES                    NC           11098553526
97397382972B42   IDA            DOMINGUEZ GARCIA         CO           90009283829
9739786455B531   CARLOS         MELENDEZ                 NM           90013388645
9739791235B383   LUKE           THOMAS                   OR           90009839123
973B118245B361   BRENDA         MAGGARD                  OR           90014791824
973B1484691599   ENRIQUE        TREJO                    TX           90013374846
973B4873541296   DAVID          SHUMARD                  PA           90014258735
973B519A14B588   SYDNEY         KEITH                    OK           90013281901
973B7A92197123   COSSETTE       MARTINEZ                 OR           90011610921
973B8829A72B3B   BRITTANY       WILSON                   CO           33046788290
973B8A2A73164B   AURORA         GUARDADO                 KS           22089030207
973B916422B891   LORI           LUNA                     ID           42006801642
973B9833472B32   GERARDO        SANCHEZ                  CO           90012348334
97416678A81634   RENITA         SUMMERVILLE              MO           90014176780
9741868A28594B   SHANE          TAYLOR                   KY           90011816802
9741947A472B22   WATERBURY      DONALD                   CO           90004884704
9741BA8594B949   JEFFEREY       FURR                     TX           90002980859
97422244A72B3B   MUNUEL         COVARRUBIAS              CO           90012072440
974263A2672B22   ROBERTA        HANDBOY                  CO           90014423026
9742671565B361   RICARDO        MERCADO                  OR           90013337156
974278A283B394   KATHRYN        CHAVEZ                   CO           90009338028
9742799215B394   JODIE          EASTON                   OR           90012689921
9742871985B361   ALVIN          KINNEY                   OR           90010297198
9742914455B383   CHELSEA        ACTKINSON                OR           90005011445
9743192A991951   BERARDME       DABRE                    NC           90014729209
97432AA1193755   MICHELLE       ALLEN                    OH           90014690011
9743431688B175   LISA           CLARK                    UT           90014703168
97434441A5B383   JONES          GLYNN                    OR           90013064410
97434629A61979   AIOTEST1       DONOTTOUCH               CA           90015116290
9743541464B949   JASMINE        BAILEY                   TX           90012984146
97435669A5B361   SCOTT          MALENOVITCH              OR           90013946690
97437138972B62   ROGER          HERNANDEZ                CO           90012921389
974374A937B444   SPENCER        THOMAS                   NC           90013784093
9743825925B548   NYOMI          LOPEZ                    NM           90014912592
9743832A872B24   JUAN           GONZALEZ                 CO           90009253208
9743839A87B444   LAURIE         MELTON                   NC           90011143908
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9743B26A44B949   DEVIN          BAKER                    TX           90013242604
9743B66854B554   AAREN          STEVENSON                OK           90013136685
9743BAA5781635   CYNTHIA        WEYHOFEN                 MO           90013450057
9744272578594B   MAGGIE         CAMPBELL                 KY           90014757257
9744337A797B21   SHERRI         WELLMANN                 CO           90010613707
97444AA124B554   AMANDA         MOORE                    OK           90013860012
97445854A61979   JENNIFER       LEWIS                    CA           90014188540
97445A14291951   TIQUESHA       MILLER                   NC           90014730142
97447994972B42   ERIKA          GARCIA                   CO           90001129949
97449229172B56   ANDY           GARCIA                   CO           33000272291
9744B4AA75B531   FRANCISCO      DIAZ                     NM           90014424007
9745274195B361   HIPOLITO       GONZALEZ GOVEA           OR           90013947419
97452A57854B42   ZERIAH         HODGINS                  VA           90004310578
9745323924B588   AURORA         MALDONADO                OK           90010832392
97453A22891951   STEVE          O                        NC           90014730228
9745414934B554   JIMMY          THOMAS                   OK           90013991493
97457793672B42   JORGE          GARCIA                   CO           33059507936
9746129365B548   DANIEL         MAREZ                    NM           90014912936
9746996214B554   DESTINY        YEINGST                  OK           90012369621
9746B361A5B548   ELIZABETH      NEWMAN                   NM           90008023610
9747255A733638   JEREMY         MAYNARD                  NC           90006495507
9748225A372B3B   ROBIDEAU       ZACHARY                  CO           33021722503
9748237497B491   LASHONDA       JOHNSON                  NC           11014513749
9748327238B175   SANDRA         GARCIA                   UT           90011592723
97486842A91399   CAMILLEA       KEYS                     KS           90014708420
974869AA572B32   AMBER          WILLIAMS                 CO           90014509005
97488842A91399   CAMILLEA       KEYS                     KS           90014708420
9748886A24B949   ALEJANDRA      ABARCA                   TX           90013418602
9748942478B175   EDGAR          VICENTE                  UT           90014184247
9748B51234B554   JAY            SHROPSHIRE               OK           21597515123
9748B8A824B949   JANICE         STOKER                   TX           90012788082
97493984A41296   DANIELLE       JONES                    PA           90014799840
974957A8372B62   TOMMY          SOUTHERLAND              CO           90013727083
9749975975B361   CEASAR         LOPEZ                    OR           90013947597
974B1187761979   HERMINIA       MIRANDA                  CA           90012761877
974B187418B175   CHAD           PAIZ                     UT           90010348741
974B2761491951   CHRISTIAN      MORALES                  NC           90014727614
974B3187A5B361   ELSA           SOLIS                    OR           90012511870
974B4753991399   HARLYN         ROSALES                  KS           90014697539
974B4841961979   MARK           MORGAN                   CA           90014188419
974B6114872B56   MARIA          SANTOS                   CO           90000291148
974B9327877537   RICHARD        ATKINSON                 NV           90014023278
9751275A572435   DONNIE         HIGGINS                  PA           90014447505
9751476855B383   ANAHI          MENDEZ                   OR           90014417685
9751692414B588   JERRY          HARPER                   OK           90012969241
9751814434B588   ROBERT         LAWRENCE                 OK           90008011443
9751B136741296   MARANDA        LONG                     PA           90010391367
9751BA3774B588   JOSHUA         STROTHER                 OK           90014390377
97522A1817B424   DWAYNE         HEMPHILL                 NC           90012610181
9752361A361988   CHARLES        KRAMER                   CA           90008176103
9752461A361988   CHARLES        KRAMER                   CA           90008176103
97524A57372B42   PAUL           VALENZUELA               CO           90011660573
9752979A755999   JOSHUA         MAUK                     CA           90012587907
9752B27A35B548   HILDA          NEVAREZ                  NM           90005062703
9752B328872B62   SHAWNTAY       CORDOVA                  CO           90012293288
9753618867B444   RAFAELA        GAMEZ                    NC           90010931886
9753BA57372B42   PAUL           VALENZUELA               CO           90011660573
975428A7161979   MARIA          CAMPOS                   CA           90012678071
975433A827B444   MICHAEL        SHKUT                    NC           90013303082
97546685472B22   KHADEJAH       TRAMMELL                 CO           90014786854
97547891372B42   TAQUISHA       MARIE                    CO           90009458913
9754853944B949   TYLER          HILL                     TX           90012365394
9754914528594B   ERIC           EWING                    KY           66095071452
9754931297B43B   EDWIN          CHAVES                   NC           90008793129
97549888A72B42   BRANT          STANLEY                  CO           90013498880
9754B775172B32   SANDRA         NICHOLE                  CO           90012757751
975573A164B588   JESSICA        WRIGHT                   OK           90014713016
9755784928B175   VANESSA        BUENO                    UT           90010658492
975594A628594B   BRYAN          LEWALLEN                 KY           90012904062
9755B78A172B32   TRACY          JOKELA                   CO           90011367801
9755B99884B554   MARY           REYES                    OK           90013339988
9756144465B531   GILBERT        GALLEGOS                 NM           90014224446
97562841272B42   PEDRO          SALAZAR                  CO           90012858412
97563A4835B548   ISSAC          AVILES                   NM           90002730483
975642A172B891   MACKENZY       TAYLOR                   ID           90011962017
9756485685B548   SOBEILLENA     JOLIBOIS                 NM           90014928568
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97566674172B42   ISIDRO         GARCIA                   CO           33001066741
9756713A472B42   LUIS           JAMIES                   CO           33078011304
97568A3954B554   OMAR           RIVERA                   OK           90009290395
9757415914B235   CHESTER        CARTER                   NE           27008771591
9757888A172B51   RENEE          COOK                     CO           90001728801
97578AA9972B85   ADOLFO         FUENTES                  CO           90003590099
975792A1A72435   STEVE          KILCHENSTEIN             PA           90014152010
9757987215B548   SERANE         AMBRIZ                   NM           90014928721
9757BA37191599   ALEJANDRO      MUNOZ DE LA CRUZ         TX           90014210371
97583A66477537   MICHAEL        EDWARDS                  NV           90012400664
975878A5372B32   VANESSA        CARRASCO                 CO           90011368053
97588365A8594B   MIKE           ROTTENBERGER             KY           90012603650
9758B113572B3B   KALEB          FIELDS                   CO           90012221135
9758B277A5B531   PETRA          ANTUNEZ                  NM           90014842770
97592517272B62   CHRISTINA      CARLIN                   CO           90012575172
97593A2765B383   LONZIE         GOLDEN                   OR           90014060276
9759611A872B3B   BRANDON        RICHARD                  CO           90008051108
9759B3A9A5B383   JARYD          MIDDLETON                OR           90014583090
975B476315B54B   SHAYN          BENALLY                  NM           90014367631
975B4A18991399   DIANA          LONA                     KS           90014710189
975B4A9575B361   DAVID          PHILLIPS                 OR           90012430957
975B5467472B32   JARED          HARDING                  CO           90013804674
975B8194677537   ENRIQUE        ARELLANO                 NV           90013021946
975B9276672B3B   MICHELLE       ROSENBERGER              CO           90012982766
975B997917B444   JAYLYN         STREETER                 NC           90014069791
975BB168972B24   RICK           RUDD                     CO           33021591689
97613561172B62   ARNULFO        CALDERON                 CO           90011425611
976139A4672B42   JANILLA        WILLIAMS                 CO           90012869046
97614139772B24   LESLY          LANDA                    CO           90008441397
9761478A833698   NIKIMA         ALLEN                    NC           90011127808
976162A1681639   SHANNON        CLARK                    MO           90006072016
976173A464B949   MARIO          MEJIA COZ                TX           90012373046
97617A8614B554   CATHY          REYES                    OK           90012120861
9761BA56897123   TYLER          GOOLSBY                  OR           90013220568
9762299955B531   NORDIS         ALVAREZ-RODRIGUEZ        NM           90013929995
9762529164B949   JILBERTO       MARTINEZ                 TX           90014852916
9762571A12B891   ELVIA          CARDENAS                 ID           90004077101
9762579427B444   DAWN           ELLIOT                   NC           90012947942
9762583193164B   SYED           JILLANI                  KS           22088018319
97628145A4B554   BRAD           ROBEY                    OK           90014681450
97628189A72B22   RENAY          PADILLA                  CO           90014791890
97628A65272B3B   JOANN          GIRON                    CO           33004130652
9762B75725B531   BRANDON        ALBERT                   NM           90009427572
97632134A93727   MONICA         HOCKETT                  OH           90001351340
97632A34536148   JEFFREY        JONES                    TX           90006150345
9763443334B235   SEAN           WEILANDT                 NE           27032114333
97634489A4B588   GARY           UNDERWOOD                OK           90010134890
97635939372B42   DAVID          WASBY                    CO           90013009393
9763816148B849   J              JOHANES                  HI           90014451614
9763B391856345   TENNILLE       DAVIS                    IA           90014093918
9764193627B449   CARLOS         CRUZ ABURTO              NC           90008009362
9764327A172B22   SEVEN          MARSHALL                 CO           90009882701
9764478A57B389   JOSE           FRANCO                   GA           81092447805
97645774772B42   KINGSLEY       ANI                      CO           90014737747
9764752464B949   STEPHEN        PROVOST                  TX           90013545246
97647956972B22   JOSE           PALACIOS                 CO           90004899569
97649239972B62   LORENA         SANCHEZ                  CO           90009152399
9764959298B175   WILLEY         PETERSON                 UT           90014185929
9764B149941296   BRANDON        BOYD                     PA           90012141499
97651A2135B383   DUANE          DAVIDSON                 OR           90012410213
9765237395B531   NICOLE         WALTERS                  NM           35086033739
9765463A38594B   LARRY          PARKER                   OH           90014176303
9765573928B356   ENRIQUE        PEREZ                    SC           90014157392
976565A575B383   ESPERANZA      DIAZ URTIZ               OR           90007445057
976575A424B588   DEANNA         SULLIVAN                 OK           90011025042
9765773AA7B449   ROSY           GASPAR                   NC           11005437300
97658A38A41296   MICHELLE       NEWBY                    PA           90010570380
9765B841272B42   PEDRO          SALAZAR                  CO           90012858412
97663857872B3B   MELINDA        TABOR                    CO           90002248578
976649A2981635   VANESSA        COLLINS                  MO           29042759029
9766661778B175   MIGUEL         GAMBINO                  UT           90014186177
97666A2918594B   KELLI          MARTIN                   KY           90013650291
97667586172B3B   MARY           ROYBAL                   CO           33050235861
9766B592A4B588   JAMES          MEEH                     OK           90015335920
97671118872B22   JASON          LYNCH                    CO           33061911188
9767122667B444   TAYLOR         BUSH                     NC           90014812266
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976759A2372B56   LENNY          DEWITT                   CO           90004999023
97676214872B22   JORGE          ARAIZA                   CO           90014792148
97678214872B22   JORGE          ARAIZA                   CO           90014792148
97681859A97123   VANESSA        RIVERA                   OR           90011548590
97683311272B32   YURIDIA        RASCON                   CO           33007443112
97683A19372B3B   VICTOR         MENDOZA                  CO           90007430193
97684932272B42   CARISSA        DOUGLAS                  CO           90009899322
976866A5885948   ADAM           BREWSTER                 KY           67079576058
97687A3968B175   TUAN           CHAU                     UT           90012530396
9768B68144B554   TRINH          MAI                      OK           90011376814
97696A4775B361   SUAD           MURAD                    OR           90013950477
976B3874A72B56   ANTONIO        GONZALEZ                 CO           33061398740
976B434415B548   CHRISTINA      GRIEGO                   NM           35033383441
976B4664533698   MICHELLE       KELLY                    NC           90011126645
976B54A894B949   KIERRA         SPEARS                   TX           90014444089
976B557212B891   SARAH          HOLFORD                  ID           90007475721
976B5598777537   KRISTINA       CRANK                    NV           90011325987
976B63A7272B3B   JOHN           HUGHES                   CO           90011003072
976B6768641296   JOHN           MCCLENDON                PA           90014617686
976B7658672B62   DIAMOND        HOLIDAY                  CO           90012946586
976B8381597123   URIEL          PINEDA CAMPOS            OR           44051203815
9771269A897123   OMAR           ESPINO                   OR           90011876908
9771565A372B32   SEAN           DEGRANDE                 CO           33015896503
9771585277B444   ADRIAN         JAVIER                   NC           90012988527
97716762A7B444   DASHAUNA       FULWALEY                 NC           90008667620
9771872364B949   LOQUINTA       JONES                    TX           90012827236
977189A1581641   MARIJA         RADOVIS                  KS           90014139015
9771B647372B42   JULIE          HERRERA                  CO           90002606473
97724379A72B42   HEATHER        KLATT                    CO           33080153790
9772482A45B383   JOHN           COCKE                    OR           90009448204
97726A18477537   MELISSA        ARECENAUX                NV           90011490184
97727364A61937   EDMUNDO        PEDRO                    CA           90012833640
97727A81691882   ORLANDO        TAYLOR                   OK           21002810816
97727A9575B361   DAVID          PHILLIPS                 OR           90012430957
9772821A681639   MICHAEL        MCKINZY                  MO           90011662106
9772B492772435   VIRGINIA       WALLACE                  PA           51092824927
9772B89624B588   HARRIS         JACOB                    OK           90010928962
9773175284B554   DOROTHY A      RECKNER                  OK           21575087528
9773529543164B   ELIZABETH      HARRIS                   KS           90001142954
9773567478B175   JANETTE        MILER                    UT           90014186747
9773626575B361   JOESPH         EDWARD                   OR           90010992657
9773789355B361   SHANE          CRAIG                    OR           90012168935
9773B65915B383   TIMOTHY        KELMAN                   OR           90013846591
977415AA681634   LAURIE         KRATZKE                  MO           90012025006
97741825972B42   ANGIE          FORD                     CO           90013048259
97747A99277537   VANESSA        HILLBERG                 NV           90007030992
977498A2472B42   ALISHA         WALENTA                  CO           90015028024
9774B339A5B361   LISA           LARGENT                  OR           90010993390
9774B48638B175   ANGIE          HARKER                   UT           31073334863
9774B792772B62   NATHANIEL      BETTS                    CO           90015097927
9774B982861979   JESSICA        ORTUNO                   CA           90014939828
977516A225B531   ARCELIA        VALDEZ                   NM           90010896022
97752759172B22   JAMES          ESPINOZA                 CO           90011557591
97756A7695B361   ANGELICA       RIOS NAVARRO             OR           90013950769
97758428A33698   MARTA          HERNANDEZ                NC           90007314280
977591A737B34B   FEDERICO       CRUZ                     VA           90003781073
9776794A54B554   JEREMY         BUTLER                   OK           90015139405
97767A4775B548   JAMES          MONGE                    NM           90011010477
97768196A77537   CARRISSA       WATSON                   NV           90015091960
97768A7695B361   ANGELICA       RIOS NAVARRO             OR           90013950769
9776977688B175   RAUL           LUNA                     UT           90012617768
97771522A4B588   CHRISTO        SHARP                    OK           90014635220
9777268544B588   ENRIQUE        RESENDIZ-CHAVEZ          OK           90012786854
9777273A972B22   JOSHUA         BASQUEZ                  CO           90010027309
9777716225B361   SAMUEL         SANTOS                   OR           90012991622
977771A9291951   MARIA          LOPEZ                    NC           90010111092
9777927A972B3B   ROSEMARY       AMADOR                   CO           90014822709
9777BA7695B361   ANGELICA       RIOS NAVARRO             OR           90013950769
97781A37791599   ELIDA          GUERRERO                 TX           90014970377
9778389254B949   CLIFVONNA      LENISE                   TX           90011058925
97784722A77537   IGNACIO        DURAN                    NV           90009457220
97784877A7B468   DANNY          BENAVIDES                NC           90006228770
977855A815B361   SHAWNA         BAXTER                   OR           44552115081
9778B352272B42   JESUS          REYES                    CO           33002903522
977958A7A8B175   JOSEPH         WIGHT                    UT           90014188070
9779688395B383   JOHNNIE        TATE                     OR           90013728839
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97798314672B3B   JAVIER           ALTAMIRANO             CO           90004393146
9779972444B554   ANA              DE LA ROSA             OK           90012047244
9779B54724B949   JERRY            GREER                  TX           90014525472
9779B56654B588   JAQUEZ           GORDON                 OK           90015165665
977B251164B949   MARGIE           MCGOWAN                TX           90013595116
977B2599872B3B   ARTURO           TALAMANTES             CO           90011925998
977B2AAA572B3B   ARTURO           TALAMANTES             CO           90013380005
977B4A45461979   RYAN             MALBROUGH              CA           90013140454
977B5995161979   HECTOR           BARRAZA                CA           90014929951
977B6735751396   BROOKE           WEBB                   OH           90001567357
977B6961161979   RACHAL           LONG                   CA           90014939611
977B9298341296   EESTHER          SHUCETT                PA           90002872983
977B9471281635   ERNEST           BLACK                  MO           90015244712
97814835A5B548   DENISE           WILSON                 NM           90014938350
978157AA372B42   AURORA           NAVARRETE              CO           90010417003
978158AA64B554   JESSICA          ROBERTSON              OK           90013868006
978175A7261979   SHARLYN          MITCHELL               CA           90011655072
9781B757A72B32   LONNIE           HICKMAN II             CO           90009737570
9782178527B444   TOY              TATE                   NC           90011447852
97821A4A372435   DAN              ZACK                   PA           90012030403
97823A7988B136   SHAYNA           HENKE                  UT           90005780798
9782487595B548   GEORGE           PLAWSKI                NM           90014938759
9782513435B383   JASON            REGIER                 OR           90012961343
97826A3454B588   RUBEN            FRAIRE                 OK           90012410345
97826A59472435   PAUL             LUTZ                   PA           90006610594
97827A55A3164B   SHIRLEY          LEKRON                 KS           22055200550
9782881317B449   EDWIN            LOPEZ                  NC           11011818131
9783113945B361   ANGELICA         RIOS                   OR           90013951394
9783168355B531   MANUEL           ANTUNEZ                NM           90013046835
97834196A77537   CARRISSA         WATSON                 NV           90015091960
9783665613164B   VANCE            ATHA                   KS           90000276561
97838A64272B32   NEHEMIAH         GARCIA                 CO           90012850642
9783B49895B531   ANGELA           ARANDA                 NM           90010314989
97842587A61979   NORMA            TORRES                 CA           90013125870
9784268772B229   FERNANDO         RODRIGUEZ              DC           90007376877
97846713472B3B   DANA             ALEXANDER              CO           33000347134
9784685365B531   LAWRENCE         RANDY-BACA             NM           35068988536
9784747785B531   PHILIP           LOPEZ                  NM           90014154778
9784813945B361   ANGELICA         RIOS                   OR           90013951394
9784B518933698   LAKESHIA         WELCH                  NC           90010235189
9784B85744B588   CHRISTY          GUNTER                 OK           90013828574
9785293417B491   JESSY            ALONZO                 NC           90010919341
9785397A591951   LOVE             MORRIS                 NC           90014869705
9785419684B949   GINGER           VICTOR                 TX           76570191968
978553A1372B22   JOSEPH           LERRINDA               CO           90014793013
97855A45791951   JENNIFER         OWENS                  NC           90015130457
9785658864B554   ASHLEY           WARNER                 OK           90010975886
9785755818B175   MOHAMED          MOHAMED                UT           90007135581
9785973A955985   JOSE RIGOBERTO   CEDENO                 CA           90005677309
9785997A791951   JOSHUA           JOHNSON                NC           90014869707
9786385852162B   DANIELLE         MOORE                  OH           90014138585
9786427249376B   DANIEL           RITTENHOUSE            OH           90014832724
9786492577B444   RACHELLE         KIMBLE                 NC           90004169257
97868191372B32   CLARISSA         CORNCH                 CO           90010961913
9786B772951334   TERRI            HOLLOWAY               OH           90012687729
978724AA28B191   REBECCA          AYLWORTH               UT           90012604002
97873985972B42   REGINA           ARCHIBEQUE             CO           90013159859
9787634654B588   EVELYN           STEVENS                OK           90003573465
9787913945B361   ANGELICA         RIOS                   OR           90013951394
978832A3761979   YAZMIN           ESTALA                 CA           90012912037
97884A4565B361   JESSICA          MCBEE                  OR           90013220456
9788858325B361   ADRIAN           FLORES VILLA           OR           90013105832
9788948615B548   LUIS             TARANGO                NM           90011584861
9788BA83A97123   ADAM             HERNANDEZ              OR           90011160830
9789137255B383   TIFFINY          MCCULLOUGH             OR           90010873725
97894426A5B383   JESHUA           BLACK                  OR           90007894260
9789516A491599   ERNESTO          ORTIZ                  TX           90011351604
9789947A393755   SELVIN           GUEVARA                OH           90009724703
9789B428791951   JESSICA          CULBRETH               NC           90014874287
9789BA87972B62   JENNY            PULIDO                 CO           90003660879
978B45A2355923   CHRISTINA        MASON                  CA           90010995023
978B5849381635   CAROL            CLAY                   MO           90014848493
978B7495891888   KEENA            THOMPSON               OK           90009804958
978B76A244B554   DARIUS           BUFORD                 OK           90009046024
978B76A9172B3B   CONNOR           KINNON                 CO           33037086091
978B775A772B62   BRIAN            HOLCOMB                CO           90013897507
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978B95A584B949   TRACI          GONZALEZ                 TX           90002985058
9791331527B444   JOHNNY         LEMUS                    NC           90011363152
9791368195B531   SERENA         POWELL                   NM           90010896819
9791444A272435   BRITTANY       PRIMAC                   PA           90011114402
9791692595B548   BRYON          MONTOYA                  NM           90008939259
9791736A272B22   COLLEEN        OCONNELL                 CO           90014793602
9791998A481634   JAMI           WILKINS                  KS           90014799804
97922A81661979   LAURA          URIBE                    CA           90004190816
97924731872B24   LUCERO         JOSH                     CO           90009717318
97926183972B42   ISABELLA       RIEB                     CO           90011661839
9792636A472B22   JOSEPH         VELAZQUEZ                CO           90014793604
97928944572B24   EDWARD         CABELLO                  CO           33097859445
9792B31758594B   REBECCA        BRUMMETT                 KY           90014513175
9793287497B444   ORLANDO        PAULING                  NC           11003068749
9793312324B554   WENDY          HOUSLEY                  OK           90009361232
9793811485B361   ALEX JACOB     POND                     OR           90013221148
9793954377B326   GUY            CAUSE                    VA           90001145437
9793991394B588   MARCUS         HUNTER                   OK           90013589139
97943473A72B56   MARGARITA      MARQUEZ                  CO           33035994730
979465A3297123   AUDRA          BENTLEY                  OR           90009065032
9794846A533638   MARANDA        TEAGUE                   NC           90003164605
9794B229861979   HECTOR         JIMENEZ                  CA           90006292298
9795114444B554   KIMBERLY       MCAULEY                  OK           90003481444
97952A89772B3B   PAUL           PRICE                    CO           90014330897
97953A6285B361   STEVEN         MOORE                    OR           90011160628
9795517925B383   AMBER          BENTZ                    OR           44582221792
9795721AA2B98B   STEVEN         TURNER                   CA           90012982100
97961A34672B22   ANDREW         PERCIVAL                 CO           90011260346
97961A6A191951   MAGDALINDA     ROBLERO                  NC           90014880601
9796271955B531   BERNA          GONZALEZ                 NM           90010897195
979627A834B588   ELVIN          PEREZ                    OK           90010837083
9796353A34B554   SHEREKA        WOODS                    OK           90013005303
97963585A97123   DOLLO AMANDA   ROBINSON                 OR           90014645850
97965911572B56   JOSE LUIS      BARRON                   CO           90005899115
97965AA5A72B42   TERRELL        WRIGHT                   CO           90008090050
9796624624B588   DEANDRE        RATLIFF                  OK           90010862462
97966751472B22   GAIL           LONG                     CO           90009317514
9796722827B444   MAIKEL         JAMAIKINO                NC           90010152282
97967741972B24   KRISTINA       STOLL                    CO           33097437419
9796B27495B531   CLAUDIA        MADRID                   NM           90013232749
9796B582A5B361   MONICA         ACUNA                    OR           90008675820
979749AAA72B42   MAYRA          RAMIREZ                  CO           90013499000
97976724672B3B   RONALD         BURNETT                  CO           33061707246
97983A2A43164B   WILLIAM        HARMON                   KS           90005070204
9798515973164B   BREASHA        HARRIS                   KS           90014211597
97986675572B3B   BRYAN          BAROLUY                  CO           90012796755
9798B14A45B548   MARIE          ARMIJO                   NM           90011011404
979916A5697123   SARAH          PEQUENO                  OR           90014646056
9799243A64B554   JUSTIN         GRANT                    OK           90013204306
9799278A393755   CORNELL        AKEMON                   OH           90005327803
9799B44885B531   DEVIN          HUERTA                   NM           90012374488
9799B7A7372B3B   DAN            ROLANDO                  CO           90011357073
979B125718594B   MICHELLE       STEVENS                  KY           66011062571
979B3455A4B949   ANGELICA       MEDINA                   TX           90013964550
979B436364B554   RALPH          DUNN                     OK           90014503636
979B5617141251   SARA           GAGNER                   PA           51016066171
979B816A297123   JOSHUA         MENZIE                   OR           90005081602
979B8642A91399   GENRY          PACHECO                  KS           90012266420
979BB34657B449   JOSE           CADENA                   NC           90007463465
979BB65483164B   MATT           WHEELER                  KS           90012736548
97B1315825B361   JOHN           BRANNAN                  OR           90011431582
97B137A3572B32   MARIBEL        SIFUENTES                CO           90009197035
97B13837533698   ELLEN          HORN                     NC           90011068375
97B1414965B383   ALLISON        GUIDA                    OR           44513131496
97B15242691399   JENNIFER       MASON                    KS           90004832426
97B1572887B444   DESHAWN        ALEXANDER                NC           90012767288
97B15854981651   DAVID          NORMAN                   MO           90010748549
97B15A17272B3B   KENNETH        DURAN                    CO           90008030172
97B16357A72B42   VICTOR         RAEL III                 CO           33098023570
97B1679A472B24   EMERSON        KELLY                    CO           90011717904
97B1999778B175   CURTIS         DORSEY                   UT           90012639977
97B1B7A7491951   WILLIAM        JONES                    NC           90014857074
97B21A1974B554   JESUS          CHAVEZ                   OK           90010460197
97B2242528B175   SALVADOR       FIGUEROA                 UT           90015034252
97B2246225B548   ROMERO         ASHLEY                   NM           90009564622
97B254A5585882   GLEN           CARDINAL                 CA           46086664055
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97B26682761979   JOSE            CASTRO                  CA           90012446827
97B27246491951   GIOVONNI        BELL                    NC           17033732464
97B27848297123   KATIA           ARELLANO MACHUCA        OR           90014498482
97B2793118B175   MICHELLE        WILLIS                  UT           31006579311
97B2932315B361   INDIRAH GANDY   LOPEZ SANCHEZ           OR           90015133231
97B3235464B228   RICHARD         OREJEL                  NE           90013833546
97B3487344B588   TANISHA         MURPHY                  OK           90010928734
97B36766381634   SHAREE          THOMPSON                MO           90011977663
97B3677724B554   SHAYLA          GARRETT                 OK           90011167772
97B39415672B62   NATALIE         ARROYO                  CO           90013234156
97B39623172B22   MYKAYLA         JOHNSON                 CO           90014766231
97B42427191399   LESLIE          SOTO                    KS           90009954271
97B4479824B554   MAGON           HARRIS                  OK           90012687982
97B4564744B949   ROBERT          MONTGOMERY              TX           90010576474
97B45744291599   JOSE            SANCHEZ                 TX           75010317442
97B46A2334B949   TROY            HANDY                   TX           90009500233
97B5277954B588   SAM             GRISBY                  OK           90012377795
97B53571872B32   PATRICK         VAUGHN                  CO           90014725718
97B5371694B588   JULIA           GLENDINNING             OK           90014897169
97B54953881635   STEPHEN         LINDSEY                 MO           90013449538
97B55377672B3B   QUINNOVAN       PERRY                   CO           90011713776
97B55863472B22   MARIA           LARA-PEREZ              CO           90011258634
97B57458A2B84B   CECILIA         DELTORO                 ID           90012434580
97B576A2772B24   GABRIELA        CARMONA                 CO           90008416027
97B5827167192B   AARON           JOSEF                   CO           90010822716
97B5891314B949   MORAL           HAMPTON                 TX           90013429131
97B6154828594B   STEVEN          JOHNSON                 KY           90014565482
97B62A59172B42   BARBARA         HOMES                   CO           90013750591
97B62A9448594B   CHRISTINE       STIDHAM                 KY           90012760944
97B65569691951   NICOLAS         MARTINEZ                NC           90012005696
97B66931377537   JENNIFER        KURTS                   NV           43007299313
97B697A7481635   JOSEPH          BREWER                  MO           90013167074
97B6BA32591599   JORGE           ZAMONSETT               TX           90012150325
97B7225244B554   BREANA          COLEMAN                 OK           90015002524
97B74532291951   DENNIS          YETSKO                  NC           90014695322
97B76AA815B531   TAWNY           GRIEGO                  NM           90012170081
97B77127A72B29   MAUREEN         HYDE                    CO           90012801270
97B7788A891951   MICKIALA        FUENTEZ                 NC           90014738808
97B7823985B531   LOREN           SMITH                   NM           90013242398
97B79532291951   DENNIS          YETSKO                  NC           90014695322
97B7B63315B383   SUSAN           KHLIU                   OR           90002466331
97B7B94828594B   ANGELA          THOMPSON                OH           90010959482
97B81494372B22   RONALD          MCCOY                   CO           90014784943
97B81569A91599   ISELA           GUZMAN                  TX           90014175690
97B83155561979   ETELVINA        TINOCO RODRIGUEZ        CA           90014871555
97B8436A693768   WHITNEY         BAILEY                  OH           90012493606
97B84573997123   KACEY           FERGUSON                OR           90012455739
97B8487715B361   RUST            SMITH                   OR           90013488771
97B8492348594B   MELISSA         HASTY                   KY           90013759234
97B8793918594B   AMBER           BARNES                  KY           66059719391
97B88732357132   CARLOS          QUINTEROS               VA           90011547323
97B8877842B95B   MONICA          VASQUEZ                 CA           90006157784
97B89AA715B531   TONY            SENA                    NM           35023830071
97B8B58937B632   MORGEN          FROST                   GA           90010435893
97B91748372B62   BRIANNA         DECIDERIA               CO           90014467483
97B9245375B531   ROSEMARY        ZAMORA                  NM           90013474537
97B92887772B22   SIDDHARTHA      BARAL                   CO           90010258877
97B945A6572B22   MANUEL          GARCIA                  CO           90014785065
97B9866588B175   JASON           BOULTER                 UT           90012126658
97B99171A5B361   AMBER           BEHRENS                 OR           90012631710
97B99471641296   TIERA           CUURINGTON              PA           90011914716
97B99752691951   VICTOR          CUBAS                   NC           90012757526
97B9BAA1981639   JEREMY          ROBINSON                MO           90009130019
97BB155A172B56   SHAUNDRA        RAY                     CO           33083735501
97BB178285B383   LIZYA           MCCLINTON               OR           44551647828
97BB2679733698   BILAL           AHMAD                   NC           90012456797
97BB4522355933   ELOI            MARIN                   CA           90012255223
97BB723A591399   SHARON          WALKER                  MO           29042872305
97BB729255B361   EDWARD          TUPA                    OR           90011132925
97BB8368691599   SARA            MARTINEZ                TX           75043373686
97BB9161693755   SHEDRICK        JOHNSON                 OH           90008461616
97BB95A5561979   MICHELE         CORNELL                 CA           90008965055
97BBB468172B42   DAVID           SMITH                   CO           90012794681
98112757272B3B   LORENA          FERNANDEZ               CO           90003437572
98113A44381639   GUSTAVO         REYES                   MO           90003090443
9811519287B444   SHONPAYE        RICE                    NC           90002241928
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981153A924B949   KHAILIA           SANDERS               TX           90014403092
98115985772B3B   STEVEN            ABEYTA                CO           33069649857
9811695265B531   JACOB             THOMPSON              NM           90010409526
9811722AA77537   STEPHANIE         HEATHCOTE             NV           90008102200
98118845A8B154   ASHLEE            STEWART               UT           90004208450
9811B427772B42   BRENDA            GONZALEZ              CO           90006284277
98121544272B3B   MARIA             HERNANDEZ             CO           90013105442
98123A19757563   SHAUNDRA          BOGERT                NM           90014630197
981245AA17B326   MOHAMMAD          AMIRI                 VA           90013795001
9812533565B151   SYLVIA            ROGERS                AR           90013633356
98125786A72B22   GEORGE            LABONTE               CO           90014747860
98125A28191599   JESSICA I         MARTINEZ SAENZ        TX           90008070281
9812692A555951   STEPHANIE         GARZA                 CA           90014539205
98129616372B3B   KATERINA          CANAS                 CO           90013646163
98131465572B62   MARC              SANCHEZ               CO           33001314655
9813222375B548   GINGER            PENNELL               NM           90009442237
9813236485B378   BUZZ              A MURRAY              OR           90000803648
9813488A957563   CONRAD            ESTRADA               NM           90011238809
98138559672B62   DANIEL            MORENO                CO           90010215596
98141944172B32   CELIA             ALMEIDA               CO           33047419441
98142944572B32   VINCENT           MARTINEZ              CO           90012759445
98142944A72B62   ALICIA            SOLIS                 CO           90008359440
98144668A5B383   SHELBY            WINTERS               OR           90013096680
98149118A5B383   DEBORAH           MORRIS                OR           90001411180
9814B789972B22   GABRIEL           IKEDA                 CO           90014747899
98152427172B3B   MARIO             COLIN                 CO           90012104271
98156A97497B59   BRETT             HEINZER               CO           90002840974
9815758735B531   ANDREW            M MONTOYA             NM           90001145873
9816418184B949   MICHAEL           WARD                  TX           90010431818
98164427A72B42   JOEL              JUAREZ                CO           90007194270
98164594672B62   ANTHONY           WALKER                CO           90014005946
98165A5836193B   PEDRO             LEDEZMA               CA           46019460583
981678AAA4B588   MICHAEL           MCKINZY               OK           90011158000
981683A1272B32   PLASTER           SHASTA                CO           33058663012
981714A1A57563   ANDREW            GARCIA                NM           90014644010
98174663A91599   JOEL              MACIAS                TX           90013446630
9817921A38B175   JOSE LUIS         AVELINO DE LA CRUZ    UT           31074422103
9817928676197B   SALVADOR          LOPEZ                 CA           90012392867
9817BA47961977   EFRAIN            CAMACHO               CA           90014150479
98181158A9125B   KRYSTAL           EDWARDS               GA           90011781580
98182A92997B59   KATIE             LANE                  CO           90014660929
9818531523162B   EBONY             ASKEW                 KS           22077313152
98187727A91399   SAMEL             GUTIRRREZ             MO           90010297270
9819281125B548   TEARSA            CORRALES              NM           90011988112
9819295965B562   STEPHEN           MARTINEZ              NM           90012099596
9819458A972B3B   DENNIS            GIBBONS               CO           90014525809
9819463928B175   ERNESTO           CORDOVA               UT           90013316392
98194A82972435   MATTHEW           MOX                   PA           90003560829
9819587A381639   BRANDON           LARSON                MO           90013158703
9819626AA93755   JENNIFER          SIGLER                OH           90003102600
98199598697B59   KRISTINE          VAKDEZ                CO           90012955986
981B2571491399   SAUL              MONREAL               KS           90006745714
981B3452157563   BRENDA AGUILERA   AGUILERA              NM           90010024521
981B664514B588   KYLE              DRAIN                 OK           21532606451
981B6873972B32   EZEQUIEL          MARQUEZ               CO           90010308739
981B6887761977   RAVEN             WHITE                 CA           90008948877
981B7165172B22   TOBIAS            JOHNS                 CO           90012471651
981B82A865B383   JAVONTAE          STEWART               OR           90013452086
981BB19227B429   KOMI              SOWOU                 NC           90013051922
981BB8A3861977   ROBERTO           CERVANTEZ             CA           90009118038
981BBA14572B42   LASHAWNDA         HORTON                CO           33096140145
9821238A34B588   CRYSTAL           DAILEY                OK           90015003803
9821594A355951   AMANDO            GONZALES              CA           90013839403
9822348A95B545   SHAWN             STEVING               NM           90011014809
9822774634B554   JAMES             FLORES                OK           90013967463
9822B171A5B531   DEBRA             NARBOE                NM           35064971710
9822B18572B886   SHAWN             WHITTAKER             ID           42095601857
9822B622A72B62   SABRINA           CORNISH               CO           90013676220
98233862272B3B   WHITNEY           JONES                 CO           90004118622
9823952984B949   TONIA             SMITH                 TX           90013965298
98243152597B59   JASON             NORTH                 CO           90011241525
98244987787B48   RAINEY            MOTHERSHED            AR           90009259877
98248292197B59   EVERARDO          CERVANTES             CO           90013742921
9824994294B554   ELISHA            FINCH                 OK           90011849429
9824B96974B588   JENNIFER          BATT                  OK           90003459697
98251117197B59   JOSE              GUADALUPE             CO           90010531171
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98254778872B62   CHRIS           MENZARES                 CO           90014857788
9825478358B175   ALONDRA         MARTINEZ                 UT           90011117835
9825699574B588   SHANICE         MCKINNEY                 OK           90008209957
982572A1791599   MAYRA ARACELI   SANCHEZ                  TX           90011012017
982575A3181634   AMY             EICKMEIER                MO           29050175031
9825B379777537   JODY            SAMANIEGO                NV           90011053797
98268A59272B62   BRITTNEY        EVANS                    CO           90013990592
9826B625472B62   PHILIP          LAQUEY                   CO           90013676254
9827169684B554   OSCAR           ESPINOZA                 OK           21518196968
982738A6461977   MARIO           PRECIADO                 CA           90010418064
9827483297B444   ASHLEY          BENNETT                  NC           90011148329
9827759A772B32   LEONARDO        CRUZ                     CO           90014955907
98284874A61977   ANGELICA        CAMPIS                   CA           90013458740
9828841A291951   ROBERTO         ALVARADO                 NC           90011744102
9828873384B588   HECTOR          QUIROGA                  OK           90012177338
9829629464B554   DAVID           ROMERO                   OK           90011852946
982969A5A91599   ZULEMA          MORELES                  TX           90009989050
98298917172B62   RAUL            GANCHOLA                 CO           90013939171
9829913955B531   LAWANNA         GREATHOUSE               NM           90009181395
9829B797857563   JOSE            REALIVASQUEZ             NM           90011247978
982B5949981639   JOANNA          MARTIN                   MO           29075639499
982B6AA5593755   LASHAY          CURRY                    OH           90010750055
982BB598697B59   KRISTINE        VAKDEZ                   CO           90012955986
983161AA955951   JAVIER          HERNANDEZ                CA           90012421009
9831754134B554   ROOY            AGUNDIS                  OK           90013275413
98317848597B59   MARIA           AVILA                    CO           90008378485
983192A5772B32   GLADYS          PUENTES                  CO           90011542057
9832251A991553   MARINA          SIFUENTES                TX           75086925109
9832341418434B   ANDRE           ADDISON                  SC           90013884141
98323663A5B531   CARLOS          RUIZ                     NM           90010496630
98327A89797B59   RICHARD         BAIRD                    CO           90012980897
9832B514A72B32   NOLA            GARCIA                   CO           33084535140
98331193A97B59   SUSAN           DRAGON                   CO           90013861930
98331A75572435   TOYA            LAVETTE                  PA           90009330755
9833419357B386   LIDYA           BESHIR                   VA           90013241935
98334644472B56   FEDERICO        ROSAS                    CO           90005626444
983346A913B37B   CHARLES         RHODES                   CO           33084666091
9833619384B554   DAISY           MENESE                   OK           90012121938
98336566897B59   ISRAEL          HERNANDEZ                CO           90002455668
9833671825B548   ALONDRA         CERA                     NM           90009607182
983383A364B554   SHAWN           MASON                    OK           90012203036
9834211235B548   THOMAS          TOLEDO                   NM           90003471123
9834246A85B383   STEVEN          MALENA                   OR           44586504608
98344134372B62   NORA            VILLEGAS                 CO           90007891343
98345195797B59   ERIC            MARSH                    CO           90012981957
9834528534B588   LESLIE          HARRISON                 OK           90013872853
98346959A4B554   JIMMY           KLAUS                    OK           90010919590
98346A3214B588   DARRYL          BODLEY                   OK           90009520321
98348694672B42   AMANDA          GONZALEZ                 CO           90007476946
9834885195B531   DAVID           LAW                      NM           90013908519
9835184555B531   EVERTT          GOMEZ                    NM           90012788455
9835223A591599   SANDRA          RODRIGUEZ                TX           90011012305
98352758572B62   JOSE            MORALES                  CO           90013967585
98352959A4B554   JIMMY           KLAUS                    OK           90010919590
9835513764B554   MALACHIA        BATTLE                   OK           90003971376
9836119287B444   LAKECHIC        HEARN                    NC           90014211928
98361375A57563   VALERIE         HEIMBECKER               NM           90014813750
98362A88472B56   KHALID          BELFAGEOUA               CO           33098760884
9836319287B444   LAKECHIC        HEARN                    NC           90014211928
983635A6361927   ALEJANDRO       MORALES                  CA           90001925063
98365218497B59   LUIZ            ORTIZ                    CO           90012982184
9836581198B175   CECILIA         LATAKI                   UT           90011118119
98369877372B22   EDWIN           ALEXANDER                CO           90014748773
9836992A772B42   MYRA            ALMANZA                  CO           90012349207
98369A8614B554   CATHY           REYES                    OK           90012120861
9837113698596B   KARLA           COVINGTON                KY           90000701369
98371717A57563   ROBERT          DUBOIS                   NM           90006537170
9837735A657563   JOE             MARQUEZ                  NM           90008793506
98377A8594B949   JEFFEREY        FURR                     TX           90002980859
98378141672B42   WILLIAM         COOK                     CO           90004421416
98379715172B42   VERNON          HARRIS                   CO           33056887151
9837BA9444B588   RICHARD         KENNY                    OK           90014000944
9837BAA3261982   ANTONIO         MAGDALENAD               CA           90008430032
9838436115B531   ANTHONY         SANCHEZ                  NM           35086063611
98384971A72B22   KI              RA                       CO           33012359710
98385361872B24   KAY             YATES                    CO           90009723618
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98385499872B22   JACQUELYN      SIMS                     CO           90011404998
9838821924B588   AMY            WHITE                    OK           90011182192
9838949138B175   RAM            RAI                      UT           90012974913
98391246A61977   ANGEL          NUNEZ                    CA           90011172460
983913A8272B62   BRENDA         CORDOVA                  CO           90014193082
983977A9141296   RODNEY         WHITE                    PA           51077277091
983B2853172B22   RODERICK       BRITTON                  CO           90014748531
983B438744B949   CARL           READ                     TX           90013623874
983B5173772B62   JEREMY         VALDEZ                   CO           90015231737
983B5455393755   ASHLEY         SHANK                    OH           90014954553
983B569A772B42   JOSUE          DELA PUENTA              CO           90007476907
983B59A7357563   GABRIELA       PADILLA                  NM           90011399073
983B8555561927   ARACELI        GARCIA                   CA           46087965555
983BB67547B444   ANTONIA        DUBON                    NC           90011466754
98417568A8B175   CYNTHIA        CLEMENTS                 UT           90012655680
9841834238B175   XAVIER         DONELL                   UT           90012533423
98418A31A55951   FRANCISCO      JUAREZ                   CA           90012870310
9841959278B175   KIANTE         POSTWAITE                UT           90013195927
9841B89685B548   JONATHAN       MONA                     NM           90014608968
9842162A597B59   DAVID          SHOENINGER               CO           90013166205
984253A1981639   TYREE          HAMILTON                 MO           90012293019
98425A8A84B949   KENYA          YOUNG                    TX           90012580808
98427464172B56   NANCY          GARCIA                   CO           33013084641
98427AA5581639   JENNIFER       BLACK                    MO           90014720055
9842966735B599   JOANNA         GARCIA                   NM           90010666673
98429A97672B62   ALMA           RAMIREZ                  CO           33001380976
9842B882733638   BRITTANY       HARRIS                   NC           90011268827
9843368AA72B62   JESSICA        MATTHEWS                 CO           90014576800
98433A8AA97B59   EDNA           MENDOZA-MARQUEZ          CO           90013020800
98438648672B24   YEZICA         VALENCIANA               CO           90014996486
9843893315B548   DELIA          GUARDADO                 NM           90010109331
9843B6A424B588   FELIX          DIAZ                     OK           90011196042
9844172425B548   JULIANA        HOUSTON                  NM           90007997242
9844264134B588   AMANDA         LOPEZ                    OK           90011196413
98442A75676B63   ORTEGA         PEDRO                    CA           90012480756
9844492328B175   DAVID          OSORIO                   UT           90011119232
984455A728B175   EDGAR          MARTINEZ REYES           UT           90013345072
9844591A255951   BIVIANA        VIRGEN                   CA           90011119102
984473A7491599   JESUS          MORENO                   TX           90005293074
98447957172B62   PENNY          MARTINEZ                 CO           90013939571
9844831444B554   DANA           VALLEROY                 OK           90014333144
9844957635B383   JUSTIN         AGENA                    OR           44597975763
98451378572B32   MARI-CAMEN     GOMEZ                    CO           90011873785
98454A49897B59   JOEL           CASTNER                  CO           90013410498
984557A3291599   PAULA          JAQUEZ                   TX           90012347032
9845847AA72B42   GABRIELA       MORALES                  CO           90009274700
98463521172B3B   MARIA          CRUZ                     CO           90012815211
9846377594B998   MARCIE         GONZALEZ                 TX           90013837759
984652A3155951   KENNETH        DOLAND                   CA           90014132031
98465AA7797B59   CHRIS          MAY                      CO           90014170077
98466636572B62   HECTOR         HERNANDEZ                CO           90013676365
98468A93891399   JEREMY         NEIL                     KS           90014800938
98471842972B62   GLENDA         SMITH                    CO           90009978429
9847552218432B   OLIVIA         REESE                    SC           90010695221
9847941624B554   WILLIE         LINDSEY                  OK           90013854162
9847B917255951   JESSICA        FERNANDEZ                CA           90011119172
98481422572B22   LEVCESAR       GONZALES                 CO           90005084225
9848254834B949   BRANDON        JORDAN                   TX           90009025483
9848473927B444   MARCUS         OGLESEY                  NC           90010937392
98484919A55951   KEVIN          NEWBILL                  CA           90011119190
984874A5961977   JESUS          MARTINEZ                 CA           90011414059
9849326384B949   JESSICA        KENDRICK                 TX           90015172638
9849562334B588   LORENZO        ACOSTA                   OK           90014146233
9849B511255951   KEOSUPHANH     SNOW                     CA           90011155112
9849B786A5B548   MARK           RODRIGUEZ                NM           90011227860
984B1A4894B949   NATIVIDAD      SAVALA                   TX           90011750489
984B2519557563   JEREMY         MARQUEZ                  NM           90010415195
984B2728997B59   STEPHANIE      PALMIER                  CO           90005877289
984B2745377537   JOHN           ANDERSON                 NV           90010877453
984B3181761977   GRISELDA       FABIAN                   CA           90012771817
984B3198581639   HOWARD         JACKSON                  MO           90014731985
984B7679691882   JESUS          HARO                     OK           90013696796
984B9136A81634   JAIME          MOORE                    MO           29003191360
984B9225972B3B   JORGE          FLORES                   CO           90012722259
984BB376855951   IVAN           FERRUZOLA                CA           90003873768
984BB418457126   YOLISS         ZELADA                   VA           90007964184
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9851252998B175   LARRY           HANSEN                   UT           90014355299
9851281595B548   CIERA           BLACKSHEAR               NM           90011228159
98514248472B56   ERIKA           PALACIOS                 CO           90009842484
985142A7A7B434   ALMA            SANCHEZ                  NC           90007422070
9851591328B175   AL              AL-BAYATI                UT           90014729132
9851596685B383   JOSE            BARRANCA                 OR           90015239668
98516598572B24   ALEX            HERNANDEZ                CO           90011685985
98517A9368B181   JAMIE           SMITH                    UT           90009230936
98518583A91399   JOAN            RODRIGUEZ                KS           90014965830
9851B163493755   CORY            PRATT                    OH           90010751634
98522337472B42   TONY            REYES                    CO           90011713374
98524A1A95714B   GERMAN          MALDONADO                VA           90001770109
9852722893164B   CANDACE         SCHOENBERGER             KS           90010652289
9852748715B383   KARA            CHURCH                   OR           90014574871
9852898274B949   JUAN            HERNANDEZ                TX           90012519827
98528A7188B175   NICHOLAS        MATSON                   UT           90013080718
9852919574B554   EDUARDO         VALENZULEA               OK           90010921957
9852997555B383   LAURA           RITCHIE                  OR           90014769755
9852B34585B383   RYAN            KUMM                     OR           90013333458
9853113375B548   DEANDRE         BROWN                    NM           90013941337
98531279872B42   KEN             ZAMORA                   CO           33010012798
98532278872B3B   JOHN            NEWMAN                   CO           90013652788
98532914572B22   JAMIE           HENRY                    CO           90011089145
985339A235B531   GAY             BROWN                    NM           90006539023
9853488985B548   MAMIE           YBARRA                   NM           90012398898
98536254A91592   MARLOU          ALVAREZ                  TX           90010842540
98536A64872B62   SHOBY           HANNAH                   CO           90013990648
9853847625B531   KATHERINE       HANNING                  NM           90012184762
98539751A7B444   JESSICA         GREEN                    NC           90015027510
9853B895197B59   DIANA           GUERRERO                 CO           90013038951
9854418A64B554   ANGELO          COOPER                   OK           90009531806
9854465A672B3B   MANUEL          CASTILLO                 CO           33088736506
985454A4A5B548   LAMONIQUE       DAVIDSON                 NM           90012344040
9854598348B175   PAYGO           IVR ACTIVATION           UT           90011119834
98545A6A955951   GABRIEL         LOPEZ                    CA           90010460609
9854618194B588   MELVIN          SWAN                     OK           90011211819
9854749568B175   COURTNEY        CLARKE                   UT           90009814956
9854793135B548   LAURA           HANEAHAN                 NM           90002599313
98547957972B22   MARCUS          MEDINA                   CO           33040989579
9854911A172B24   NATALIE         FRESQUEZ                 CO           33097781101
98549A54391599   MIREYA          GARCIA                   TX           90008060543
9854B272491599   VILMA           MACIAS                   TX           90010172724
9854B869672B24   APRIL           CHAPA                    CO           33087958696
98551481472B32   NATHEN          WILSON                   CO           33056764814
98555815872B3B   JUAN            FLORES FELICIANO         CO           90014448158
985561A7357563   SONIA           RODRIGUEZ                NM           90011271073
98557A93441296   KIMBERLY        SHOESCRAFT               PA           90010740934
98559354A72B42   PAOLA           ROSAS                    CO           90011713540
9855B21925B531   DEBBIE          CUSTER                   NM           35038162192
985615A6357563   ERASMO          AGUIRRE                  NM           90011275063
9856351144B588   HUGO            ROJO                     OK           90011215114
98565163A4B949   RAMIRO          MARQUEZ                  TX           90006351630
98565A62855951   LUIS            BENAVIDEZ                CA           90008870628
9856951265B383   VERA            KATLAPS                  OR           90010375126
9857176997B444   GREGORY         WATKINS                  NC           90010467699
98577655672B22   BEVERLY         HARPER                   CO           90010576556
9858912624B588   JOSE            LIRA                     OK           90013101262
9858B683955951   MARTHA          HERNANDEZ                CA           90015006839
9858B72194B554   JAVIER          RODRIGUEZ                OK           90013057219
9859366584B588   SHANNON         JACKSON                  OK           90011216658
9859466584B588   SHANNON         JACKSON                  OK           90011216658
9859641884B554   JENNIFER        RIGGLES                  OK           90007344188
98596797A91599   KENNY           DOMINQUEZ                TX           90013267970
985974AA14B554   LOURDES         MOREL                    OK           90012754001
985B1278561977   MELISSA         RODRIGUEZ                CA           90012772785
985B2352281639   RAMIRO          MEJIA                    MO           90014733522
985B278658B175   ABBIE           ENOS                     UT           90015087865
985B4151972B42   KARL            WANEKA                   CO           33018081519
985B4643457563   JULIE           TRIPLETT                 NM           90014736434
985B5557561977   WAKYSE          CASEY                    CA           90012225575
985B653534B588   JESSICA         POTTER                   OK           90014865353
985B8958772B3B   DANIEL          SMITH                    CO           90007879587
985B9821381634   SETH            HORTON                   MO           90011938213
985B999934B588   RAUL            BUSTOS                   OK           90013089993
98612856A3164B   JOSE            LOPEZ                    KS           90008408560
98615429472B22   MARIA           LOPEZ                    CO           33015714294
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9861B653191951   MICHEAL           GURRY                 NC           90011816531
986226A235B581   JOEY              SANDOVAL              NM           90014746023
98622962472B3B   BRIAN             RAHN                  CO           90013919624
986233A2881634   KEITH             STARR                 MO           90012343028
9862514A472B62   CARLENE           SOWERS                CO           33096661404
9862552A657563   RUBY              VALENZUELA            NM           90014765206
9862652A657563   RUBY              VALENZUELA            NM           90014765206
9862815A461977   LILIANA           LOPEZ                 CA           90012781504
9862997AA77537   STEVEN            CURIEL                NV           43042689700
98629981A91399   YOLANDA           DELEON                KS           29004969810
9863232254B554   BALTAZAR          PANDO                 OK           90013063225
9863334568B175   CODY              ANDERSON              UT           90013413456
9863351A591934   NELSON            MENJIVAR              NC           90012365105
98634A16191399   JOHN              HAWKINS               KS           90013990161
9863573548B175   KEVIN AND APRIL   WADE                  UT           90006077354
9863B961797B59   ROBERTO           IBARRA                CO           90012169617
9864515A93164B   VANKHAM           VONGNAVANH            KS           90012881509
98646A98172B62   FRANK             VANBOCKERN            CO           90003810981
98648179172B3B   ALEMAYEHU         ESHETU                CO           90010701791
9865265135B537   ROSE              JAQUEZ                NM           90007536513
986535A6372B32   MARHA             DEPAUL                CO           90004865063
986541A8972B62   RAQUEL            DIAZ                  CO           90014231089
9865521AA61977   CHOPHIE           BORREL                CA           90012962100
9865555285B531   ARTURO            CRUZ                  NM           90014555528
98656239A5B383   MATTHEW           WILLIAMSON            OR           90012672390
9865692344B588   BRIANNA           HARDCASTLE            OK           90011219234
9865B13284B949   DEBRA             PAYTON                TX           90011881328
9865B189357563   ERIKA             BARRAGAN-MARTINEZ     NM           90014781893
9865B22928B175   BRAXTON           SAINSBURY             UT           90013352292
9865B31437B444   FAHAD             ARNOUS                NC           11047383143
98661355172B3B   VICTOR            LOPEZ                 CO           90013813551
98662759A61977   MARK              VENAVIDES             CA           90007597590
9866425715B383   JENNIFER          LAY                   OR           90015162571
98666314A55951   ESTEFANIA         JAUREGUI              CA           49039923140
9867146A34B588   JESUS             TORRES                OK           90011434603
9867183495B383   FUAD              ABDULLE               OR           90013768349
9867224434B949   KARI              WILLIAMS              TX           90013732443
986736A7A5B383   CALEB             ONERDICK              OR           90005386070
98675138172B3B   OSCAR             HERNANDEZ             CO           33053771381
9867782A75B25B   MICHAEL           STORM                 KY           90012578207
98679913A72B42   SHAWNTELL         CALVIN                CO           90006649130
9867BA17572B3B   THOMAS            PETERS                CO           33052930175
98684784A5B383   CINDY             SIERRA                OR           90013297840
9868629454B949   MARVIN            JOHNSON               TX           90009952945
9868688974B554   TYLER             DAY                   OK           90010058897
9868B645461977   RYAN              DEOCAMPO              CA           90014926454
9869116293B399   PASSION           PAXTON                CO           90010601629
9869121195B548   ALEX              SALAZAR               NM           90013942119
98692626872B62   LIZBETH           UCTEC                 CO           90012616268
98693272772B3B   CARLEY            SORENSEN              CO           90013172727
9869363783365B   CYRLETT           BANKS                 NC           90004346378
9869374577B491   MIGUEL            CALDERON              NC           90009437457
9869482778B188   CAMERON           STOCKING              UT           90010248277
98694A6A391592   PEDRO             ESTRADA               TX           75046170603
98694A88897B59   JOHN              JENKS                 CO           90011840888
98695A46A72B62   TYAUNA            COE                   CO           90013940460
9869B198521621   SHIRLEY           MCGAW                 OH           90014271985
986B2583257563   MEDRANO           MELISA                NM           90006865832
986B272A161977   MARIA             DIAZ                  CA           46013637201
986B375A94B561   BRITTANY          HENSLEY               OK           90011117509
986B454954B949   ANDREW            ARCENEAUX             TX           90010345495
986B5633281639   BELIA             ESTRADA               MO           90014736332
986B81A3681635   ISAAC             HARPER                MO           90012281036
986B81A8A61977   NAHUN             NUNEZ                 CA           90013071080
986B8745957563   TIMOTHY           BEERS                 NM           90014747459
986B946338B175   RICHARD           NESTMAN               UT           90012984633
986B997A472B32   MONIE             LAW                   CO           90010739704
986BB54AA5B531   LISA              GARCIA                NM           90001365400
986BB9A3172B24   WIRELESS          CALLER                CO           33075889031
9871167A581634   DANA              MCKENZIE              MO           90013396705
987117A8181639   MICHAEL           WEINTRAULO            MO           90014747081
98713A48893755   CHAUNCEY          DRAKE                 OH           90013350488
9871468A655951   JOCELIN           URIAS                 CA           90012076806
9871475755B25B   DESTINY           PURVIS                KY           90014597575
98719566397B59   WILLIAM           BRANDT                CO           39041035663
9871B21A49125B   ASIA              JONES                 GA           90011822104
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9871B67758B175   RON             HAR                     UT           90014846775
9871BA9A361978   MARIANNY        GALVAN                  CA           90008650903
9872144688434B   STEPHANIE       ABRAMS                  SC           90014164468
98722568172B22   PAUL            RICHARD PADILLA         CO           90008445681
9872449354B588   JORDAN          WILLIAMS                OK           90014464935
98725545572B3B   AMANDA          CASTILLO                CO           90013555455
98725647572B62   CHLOE           SEGURA                  CO           90013066475
98728765872B24   MARCUS          GARCIA                  CO           33000697658
9872B179A5B383   DAMIEN          ADAMS                   OR           90015111790
9872B1A3193755   RUSSELL         ABERNATHY               OH           90006871031
9872B566397B59   WILLIAM         BRANDT                  CO           39041035663
9873194634B554   TRASHEL         SAMAD                   OK           90015119463
98735663597B59   SARAH           VASQUEZ                 CO           90004956635
9873779117B363   WILLIAM         CAMPOS                  VA           90004697911
9873B697772B3B   DIANA           QUINTERO                CO           90003826977
98742A27891399   JUAN            RODRIGUEZ MORENO        KS           90011810278
98745188A5B383   ARTURO          MARIN                   OR           90014831880
987474A4391826   JOE             ROBINSON                OK           90013414043
98747936272B3B   ESMERALDA       ZELAYA                  CO           90010719362
98751A5374B554   MARCO ANTONIO   MONTES DE OSA           OK           90012910537
98753842A81639   RONIE           PEEL                    MO           90014748420
9875771134B949   BLANCA          RAMIREZ                 TX           90011207113
9875885A181639   SMILEY          JAY                     MO           90014748501
9875B14338B181   VALENCIA        GABRIELA                UT           90012801433
98766768772B62   CHRISTO         CHERRY                  CO           90013007687
9876841445B531   KELLY           CARABAJAL               NM           90010914144
98768932497B59   BLOSS           ALANIZ                  CO           90010469324
98768A87561977   ANGEL           CORTEZ MARTINEZ         CA           46066800875
9876B456481634   MARTINA         HANEY                   MO           90007084564
9876B67884B554   MISTY           WATTERSON               OK           90013596788
9876B93449125B   URSULA          MCCLOUD                 GA           90009939344
9877239A691599   LUZ MARIA       MARQUEZ                 TX           90011153906
98772A4835B383   JAMES           FOWLKES                 OR           90009320483
9877428A461977   WHITNEY         HOWARD                  CA           90012792804
98774537A77537   TERESA          TEAGUE                  NV           90001735370
9877654365B383   SHERRY          DUREN                   OR           90009205436
987769A7333638   KYNDRA          VANCE                   NC           90005249073
9877835A497B59   JAROD           MONDRAGON               CO           90014233504
98779956A81639   SHERRELL        CRAIG                   MO           90005899560
9878463425B548   PORFIRIO        CONTRERAS               NM           90012446342
98784664272B24   BRUCE           ALLEE                   CO           90011686642
98791A74572B62   ALII            TATIANA                 CO           90013990745
9879239A45B383   JOLONDA         MILLS                   OR           90011053904
98796A51261927   CHRIS           DAVISON                 CA           90005060512
98797113A8B197   JEFFREY         JANSEN                  UT           90000841130
9879813495B531   MILAGROS        RUYVALIND               NM           90013681349
9879B295381634   PAMELA          O HARE                  MO           90014172953
987B1296197B59   LISA            LIGHTFOOT               CO           90011732961
987B2397991399   TASHA           NASH                    KS           90014773979
987B283AA91988   TYEESE          CHANDLER                NC           90007538300
987B473968B175   HORACIO         GARCIA                  UT           90012067396
987B4914A5B548   JAIME           GOMEZ                   NM           90002889140
987B6885A4B588   AMBER           JONES                   OK           21585668850
987B6A18272B24   DARREN          TEMPLETON               CO           90015000182
987B6A31972B32   CESAR           MARTINEZ                CO           90015120319
987B6A77181637   SHANELLE        BROOKSHOP               MO           90013640771
987B735547192B   EUGENA          DECENA-TOLEDO           CO           90009013554
987B73AA457563   TONI            SILVA                   NM           90014793004
987B9933761956   HAIDAR          SALAH                   CA           90012169337
987BB23165B548   ANTONIO         GONZALES                NM           90013942316
987BB3AA64B554   ALESHA J        CARTER                  OK           90010923006
98811279772B42   CLAUDIA         SOTO                    CO           90005892797
9881386434B554   MANUEL          CASTRUITA               OK           90010058643
98813A34372B3B   CESAR           FREYRE                  CO           90013840343
98816256A72B42   RUBEN           MARTINEZ                CO           33002922560
988174A5777537   FIDEL           MADRIGAL                NV           43012184057
9881754868B18B   TERRENCE        BEEVER                  UT           31068085486
98818146972B3B   JUSTINE         ARELLANO                CO           90013751469
988183A8257563   JULISSA         MUNOZ                   NM           90010093082
9881948674B588   REGINALD        RAYMOND                 OK           90005504867
9881B996277537   BONIFACIO       TORRES-VILLALOBOS       NV           43089859962
9882226787B163   PAYGO           IVR ACTIVATION          ND           90010302678
98824673872B32   FRANCISCO       MORENO                  CO           90007706738
98824A25993755   DERRICK         PURTER                  OH           90013540259
98826761A4B554   BRYANNA         GAINES                  OK           90014307610
988269A3561927   JESSIE          TORRES                  CA           90006929035
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9882862329153B   PAUL            CARRILLO                 TX           90011616232
98829316A5B548   STEVE           CANDELARIA               NM           90013993160
9882B44375137B   HARDY           REDEEMED                 OH           90012944437
98833648654B42   VANESSA         HAUCK                    VA           90007266486
9883676815137B   ALONZO          CAMBEL                   OH           90010647681
9883822A655951   DENI            JIRON                    CA           90015312206
98838454972B22   TAYATANIA       BROWN                    CO           90014764549
9883B53424B554   LMO             THAGREAT                 OK           90010945342
9884157A881634   MINYUN          DANIELS                  MO           90007555708
98841AA614B554   REGINA          BAYS                     OK           90010000061
9884283A997B59   NIKOLAI         DRAKE                    CO           90013598309
98843299172B24   MELISSA         ROMERO                   CO           33097362991
98844684A81635   LATRICE         PURNELL                  MO           90010696840
988446A464B588   JASMYN          DAVIS                    OK           90013256046
9884794194B588   LATRICIA        EZELL                    OK           90014179419
9884B121361977   VICKY           RICE                     CA           90014791213
9884B264157563   ADRIANA         GARCIA                   NM           90011292641
988515A555B548   LEANN           SANCHEZ                  NM           90005305055
9885178A877537   JESSE           STAFFORD                 NV           90010927808
98853631A81639   CLAUDIA         THOMAS                   MO           90014766310
98854292197B59   EVERARDO        CERVANTES                CO           90013742921
9885B714691599   LUIS ANTONIO    NEVEREZ                  TX           90010247146
9885B72455B548   TRINIDAD        GALLEGOS                 NM           90011567245
9886215A94B949   STACIE          MOORE                    TX           90013661509
98864A57477537   CHRISTINE       COMSTOCK                 NV           90012180574
9886532365B548   JORDAN          GOHNS                    NM           90013943236
98865A49291599   ALDO            RINCON                   TX           90013610492
9886832665B531   ANDRES          PEREA                    NM           90013923266
9886B771397B59   CYDNEY          MARTIN                   CO           90007747713
9887188794B588   MICHAEL         PADILLA                  OK           90011228879
98872188A61977   RUSSEL          GREEN                    CA           90012011880
9887717739153B   AMANIE          TORRES                   TX           90013351773
9887B16954B588   DALINA          LOZANO                   OK           90014831695
9888248715B383   KARA            CHURCH                   OR           90014574871
98883745372B24   MARY MAR        RIVERA                   CO           90015007453
98886AA634B588   TRACY           HICKOK                   OK           90013350063
9888B559181634   PATRICE         ROBINSON                 MO           90013805591
98891AA5672B24   DANICA          GONZALES                 CO           90014920056
98893344272B42   KAYLA LYNN      FORREST                  CO           90009943442
9889616A272B22   JEREMY          CORTEZ                   CO           33048991602
9889B27164B588   TRICIA          HERRERA                  OK           90013622716
988B2694555951   JOSE            JUAREZ                   CA           90008476945
988B3431191599   ROQUE           GOMEZ                    TX           75010844311
988B7578572B3B   ANTONIA         MARTINEZ                 CO           90014835785
988B782583164B   JEREMY          BROWN                    KS           90001118258
98915398672B22   KACEE           JONES                    CO           33091673986
98916A75A4B949   SAENZ           TABERNIER                TX           90009310750
9891779824B554   NICK            KARK                     OK           90014307982
989177A965B548   SHAYNA          VANBUREN                 NM           35008987096
98918145197B59   EGON            WIED                     CO           39007481451
98918A37761924   MEDINA          VELAZQUEZ                CA           90012140377
98922A62691599   GEORGINA        MARISCAL                 TX           90012430626
9892456A772B22   DIANA           CISNEROS                 CO           90013885607
9892475353368B   MARIA           BERROSPE                 NC           90013387535
98925797172B42   RODRICK         HOLMES                   CO           90002177971
9892856285B383   JOSH            RAY                      OR           90012255628
9892B546191399   JACOB           BLACKMAN                 KS           29017015461
98932588772B22   BRIAN           ARELLANO                 CO           90014765887
9893356A772B22   DIANA           CISNEROS                 CO           90013885607
9893463715B548   RONALD          ROMERO                   NM           90012706371
9893471AA72B24   VIOLETA         HERRERA                  CO           90011687100
989355A6A72B42   JULIO           DE LA ROSA               CO           90011715060
9893732525B548   ASHLEY          TAFOYA                   NM           90013713252
9893762174B949   PRISCILLA       SCOTT                    TX           90012636217
9893879488B175   JESSIE          BENEFIELD                UT           90011827948
98939593472B22   ANNA            MARTINEZ                 CO           90014765934
9893B197557563   JESUS           DOMINGUEZ                NM           90014891975
9893B971261977   JUAN            RUIZ                     CA           90010489712
9894237294B554   NICOLE          ERVIN                    OK           21592793729
9894315848B175   ANDREW          ENGLISH                  UT           90012521584
98943512327B88   RONESHEA        MAJORS                   KY           90011575123
9894386954B588   JUAN            HERNANDEZ                OK           90014898695
98943A29A81639   TYRESHIA        BARKSDALE                MO           90014770290
98944695A41296   SALEEMAH        WATSON                   PA           90014596950
9895119984B554   NICHOLAS        MENDENHALL               OK           90011071998
98952341A55951   ARIANNA         PETERS                   CA           90013193410
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989524A687B444   NATALIE         DANIELS                 NC           90011004068
9895277494B949   KERNIKA         GARY                    TX           90012197749
98953567672B42   RUBEN           MORALES                 CO           90010505676
9895763843164B   CONSTANCE       WETBACK                 KS           90013606384
9895872577B32B   RONNY           VARGAS                  VA           81091407257
98959597572B22   MELISSA         GARCIA                  CO           90014765975
9895995525713B   PRINCESS        NEAL                    VA           90006629552
9895B65444B954   SONYA           GONZALES STEWART        TX           90011006544
98962677A81634   ALTHEA          THOMPSON                MO           90012046770
9896417415B383   OSCAR           SANCHEZ                 OR           44575371741
98965A63172B56   PAULA           DANIELS                 CO           33003200631
98966626297B59   GOSH            MONIZ                   CO           90013166262
9897137A14B554   FLORETHA        DAMAS                   OK           90011483701
9897235565B548   LEN             CLEVELAND               NM           90011233556
98973A7A25B548   BETTY           BOOP                    NM           90005250702
98976AAA597B59   JAMIE           WAREMBOURG              CO           90004880005
9897847678B175   ANA             MORENO                  UT           31054174767
9897B97415B531   JUAN            PANAMA                  NM           90013839741
9897BAAA597B59   JAMIE           WAREMBOURG              CO           90004880005
98981753A3164B   GLORIA          LLAMAS                  KS           22095447530
9898441214B588   TERESA          FORD                    OK           90013154121
98985391472B42   KORY            LOFTON                  CO           90005913914
9898561A44B554   JESUS           SAAVEDERA               OK           90013256104
989888AA891399   LINDA           MCGEHEEPAYNE            KS           90012288008
9898B458377537   NANCY           ZACATZI                 NV           90013744583
98992A91A81634   CHRISTY         BAILEY                  MO           90013890910
9899916215B531   MARGIE          CONWAY                  NM           90013681621
9899B66975B531   MONA            VARGAS                  NM           90013166697
9899B79595714B   DARLYN          CARDONA                 VA           90012387959
9899B951781639   NIKO            SMITH                   MO           90013549517
989B315A23164B   MARCUS          HADLEY                  KS           90012321502
989B5393941296   PHILIP          SMITH                   PA           90010303939
989B615A761977   KARINA          HERNANDEZ               CA           90013191507
989B655488B164   RAMON           CRUZ                    UT           90000335548
989B6636672B24   ALISON          NEZ                     CO           90012666366
989B6995472B22   ALIYYAH         ABDULLAH                CO           90010929954
989B718384B588   COLE            BULLEN                  OK           90011231838
989B7678772B24   ALMA            MARQUEZ                 CO           90012746787
989B81A354B554   CASSANDRA       FLENOY                  OK           90009061035
989B8968A81634   FALENTINO       ALVAREZ                 MO           90013539680
989B9188891599   CLAUDIA         BARRON                  TX           90010131888
989B91A354B554   CASSANDRA       FLENOY                  OK           90009061035
98B12693491599   PETRA           JUAREZ                  TX           90011996934
98B13352572B24   ALFONSO         GUERRERO SAUCEDO        CO           90011623525
98B13412172B24   ALFONSO         GUERRERO SAUCEDO        CO           90010424121
98B1474A55B548   MICHALE         LAWING                  NM           90013207405
98B1488195B25B   DAVID           FOOTE                   KY           90003248819
98B16987297B61   VALERIE         QUINTANA                CO           90009599872
98B17A29355951   SHEYENNE        BOGGS                   CA           90007780293
98B1834914B588   JOSEPH          FULLER                  OK           90011153491
98B19A49872435   JASON           CARR                    PA           90005200498
98B1B27165B548   RUTH            SHORTER                 NM           90014452716
98B1B999972B62   JODECI          SLAUGHTHER              CO           90011409999
98B24187457563   PERLA           GUADIAN                 NM           90010861874
98B25737691599   KEVIN           DURAN                   TX           90008057376
98B27145772B24   JESUS           GONZALEZ                CO           33054551457
98B2791363164B   ANDRES          CAMACHO                 KS           90011819136
98B2863725B548   MARIA           JARQUEN                 NM           35003556372
98B2936174B554   KAYLA           MURRIA                  OK           90009033617
98B2B58218B175   FILI            FILI                    UT           90012185821
98B31686991399   FRANCISCO       AYALA                   KS           90014516869
98B32A8A872B3B   ERIKA           MUNIZ                   CO           90011950808
98B36752672435   BETTY           MOORE                   PA           90013787526
98B3768917B444   JASHIA          CLARK                   NC           90014186891
98B3784285B548   ANTOINETTE      ANAYA                   NM           90013938428
98B37994357563   TELMA           DELGADO                 NM           90009839943
98B37A16591399   MARCO ANTONIO   RUTIA                   KS           90009200165
98B38235472435   AMBER           MICHEL                  PA           90014152354
98B38979A4B554   MARIO           DE LEON                 OK           90012469790
98B3B18958B175   JASMIN          MUNOZ                   UT           90012251895
98B3B723572B4B   OTONIEL         PEREZ                   CO           90010687235
98B3B9A1A72B57   AXEL            MADDEN                  CO           90010779010
98B42A56497B59   LIDY            DE LA ROSA              CO           90012910564
98B4552A95B531   FRANKIE         BENAVIDEZ               NM           90014515209
98B484A994B588   EDBRION         BATES                   OK           90011154099
98B4941184B588   LATOYA          LIGONS                  OK           90011154118
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98B4B147A81637   TOMMY          NASEF                    MO           90003321470
98B52539A5B531   DEDRA          LEYBA                    NM           90010275390
98B5262994B949   VERNELLA       THOMAS                   TX           90010646299
98B52834481639   SUSAN          SMITH                    MO           29062278344
98B5414618B175   RAQUEL         HERRARA                  UT           90014911461
98B54A74381634   BRYAN          EASLEY                   MO           90009950743
98B5516774B588   SHYQUASE       JENKINS                  OK           21550141677
98B55879A5B383   JOANNE         HEADRICK                 OR           90013258790
98B55971641296   WIRELESS       CALLER                   PA           90015239716
98B58A25497B59   AMANDA         SAUNDERS                 CO           90012920254
98B59123341296   KALPANA        KAMI                     PA           90014911233
98B5B31197B359   LUIS           AGUIRRE                  VA           90001173119
98B61518781634   RENSO          CHAVARRIA                KS           90014485187
98B616A688B175   MICHELLE       GONZALES                 UT           90013486068
98B6343774B588   SAVANNAHA      GADDIS                   OK           90011154377
98B63797A4B554   ALEXIS         DAVIS                    OK           90015137970
98B65838955951   LILY           RILEY                    CA           90012938389
98B66944391399   CHEVY          JOHNSON                  KS           90013109443
98B67335591399   ESMERALDA      SALDANA                  MO           90013233355
98B67516581639   ELICIA         BANUELOS                 MO           90010405165
98B6759517B444   NEMESSIS       MARRERO                  NC           90014655951
98B67A3875B548   LISA           RICH                     NM           90013330387
98B68375481634   MIKALA         THOMAS                   MO           90014593754
98B6844A981634   MIKALA         THOMAS                   MO           90015264409
98B6B439A72B24   TANYA          MONTANO                  CO           90008474390
98B6B848A5B383   SCOTT          GRIBBLE                  OR           90013388480
98B7138A557563   LAURA          CAMPOS                   NM           90007253805
98B7248464B554   JACQUELINE     DANCY                    OK           90013234846
98B735A365B25B   DELFINA        ESTRADA                  KY           68054105036
98B73772797B59   LATISHA        RODRIGUEZ                CO           39067677727
98B7515A591599   SAMANTHA       BORJA                    TX           90011011505
98B75273A91399   JOSE           TORRES                   KS           90011762730
98B75851393755   EDDIE          CROWDER                  OH           90012628513
98B762AA377537   GUADALUPE      LOPEZ                    NV           90014332003
98B7B529193732   STACEY         ELLIS                    OH           64592605291
98B7B7A934B588   NJUME          EPOLLE                   OK           90004857093
98B7BA2484B588   TARA           JONES                    OK           90014070248
98B8219627B444   MARIA          MARTINEZ                 NC           90014201962
98B8284533164B   TOMMY          MCCLURE                  KS           90009078453
98B83479897B59   ANNA           GONZALES                 CO           90011004798
98B83568293755   LAKISHA        BURGER                   OH           90012145682
98B86465972B62   JOSEPH         MONTOYA                  CO           90013074659
98B88928957563   LUIS           GALLEGOS                 NM           90014619289
98B88A19493732   MEGAN          PRICE                    OH           64598820194
98B88A9347B394   CHANG          CHOE                     VA           90008800934
98B8938234B588   BIRGETT        WILLIAMS                 OK           90013033823
98B8947A991399   DONNA          WHITLOW                  KS           90013474709
98B8991555B548   JOSE           WASETA                   NM           90013939155
98B8BA42597B59   CAMILLE        CONTRERAS                CO           90014400425
98B9119A54B588   ROMAN          GONZALEZ                 OK           90002681905
98B9199A272435   BRITNEY        MALONE                   PA           90013959902
98B98331481634   THERESA        GRAVES                   MO           90012353314
98B9B661997B59   JESUS          CHAVEZ                   CO           90011576619
98BB1779572435   TISNISHA       PRIMER                   PA           90013777795
98BB2995681639   BRANDY         GONZALES                 MO           90013989956
98BB4A36557563   JOSEFINA       PADILLA                  NM           90014490365
98BB6136244B33   FELIX          STANIS                   OH           90013851362
98BB6AA1272B24   GUILLERMO      CABRAL                   CO           90004810012
98BB859947B444   BRAD           PARSANKO                 NC           90013075994
98BB8746972B84   SUZANNE        HOLLEY                   CO           33050667469
98BB8AA2361977   ANASTASIA      CAPPELLO                 CA           90007830023
98BB93A744B949   KENNETH        PARKER                   TX           90014043074
98BB963644B554   MARISSA        BUCKMAN                  OK           90014146364
98BB976997B386   ANTHONY        KELLEY                   VA           90012787699
991122A133164B   GRABRIEL       ENRIQUEZ                 KS           90007432013
9911416754B949   BHAVAN         PARIKH                   TX           90013021675
9911518135B548   SANDRA         ARCHIBEQUE               NM           90010311813
99115823297B61   DAVID          CRUZ                     CO           90009988232
9911847567B444   TOM            SAVIN                    NC           11081724756
9911B386A97B59   SARA           KOPE                     CO           90012853860
9912329A171922   TAMMY          DAVIDSON                 CO           90007902901
9912488874B949   DEBRA          JONES                    TX           90012768887
991293A835B531   ANDRES         MIERA                    NM           90010423083
9913421517B444   ROBERTO        SANTOS                   NC           90010452151
99139435872B22   CLAUDE         GBORO                    CO           90013924358
99139514772B24   JAY            GELOCK                   CO           90007725147
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9913B97A82B891   PADEN           JACOBSEN                 ID           90013969708
9914398872B891   SELENA          GONZALES                 ID           90013969887
99144993A3164B   COLBEY          JHOSHON                  KS           90012889930
9914523A161971   AARON           KOVAR                    CA           90013112301
99147A5677B477   SHARON          SMALLS                   NC           90013750567
9914852118B175   ALEJANDRO       ESCOBAR                  UT           90012835211
9914871222B891   PAYGO           IVR ACTIVATION           ID           90013957122
99151447272B24   SONIA           BLANCAS                  CO           90012964472
9915157745B261   JOHN            WHISENHUNT               KY           90013485774
9915253434B949   JESUS           GONZALEZ                 TX           90013405343
99156764397B61   MARIA           ARCOS GIL                CO           90012467643
9915939155B548   ALBERT          CHAVEZ                   NM           90013073915
9915985965B531   ERIC            ROMERO                   NM           90012248596
9915B1A7681634   JESSICA         MCCART                   MO           29012211076
9916258357B628   TIERA           JACKSON                  GA           90007845835
99163723872B32   MARIA           GUARDADO                 CO           90004117238
99165744372B56   XAVIERA         JACKSON                  CO           33029917443
9916897274B588   AMANDA          BARTLETT                 OK           90008929727
9917348162B891   GRETHEL         RODRIGUEZ                ID           90014184816
99174418A72B22   LUIS            ALVAREZ                  CO           33042024180
99175465197B59   MARIAH          TRUJILLO                 CO           90008194651
991761A1497B61   PAM             BROOKS                   CO           90014641014
99177318672B22   JOSHUA          WORLEY                   CO           90013733186
99177843997B61   ANGELICA        HERDANDEZ                CO           90012168439
99178127372B26   PALOMA          MORALES                  CO           90011701273
9917B323181635   LENAH           IREGI                    MO           90012253231
99186279A72B22   KIA             GRISSIN                  CO           90012532790
99187648A55951   MARK            MARTINEZ                 CA           49009586480
99192A76293755   ERIC            WILSON                   OH           90010380762
9919737695B383   MICHELLE        LAVALEE                  OR           44510983769
991992A943164B   DEQUINCEY       CALDWELL                 KS           90012512094
9919B42584B585   JUNIOR          LOPEZ                    OK           90010034258
9919B6A8572B62   MARIO MARTIN    LARA                     CO           90015176085
991B2A62441296   MICHAEL         HURD                     PA           51081510624
991B3858191524   GUADALUPE       DIAZ                     TX           90011478581
991B483124B949   COURTNEY        BOB                      TX           90008848312
991B5843572B42   JEANETTE        PALM                     CO           90005978435
991B588AA91951   TASHEERIA       HEMMINGWAY               NC           90007408800
991B698547B444   DOUGLAS         WALDEN                   NC           90012189854
991B74A8627B21   SCOTT           HOUSLER                  KY           90014754086
991B843A797B59   ABEL            COHEN                    CO           90013624307
991B847294B588   RANDALL         TILLET                   OK           21567874729
991B847342B223   KIARA           BRUMFIELD                DC           90010874734
9921249528B175   VALERIE         GREEN                    UT           90011774952
992126AA572B22   LEONILA         AGUIRRE                  CO           90013646005
9921323328B175   ELIZABETH       RODRIGUEZ                UT           90005702332
9921624647B444   DEWAYNE         EDGE                     NC           90014762464
9921911AA72B56   SERINA          ALENCIO                  CO           33081291100
9921B734172B22   NARAD           DAHAL                    CO           90014047341
9921BA54872B32   LUZ             PALMA                    CO           33017950548
9922221875B383   SHASTA          TABAKA                   OR           90001342187
992222A7897B59   DANNY           REYNOLDS                 CO           90006812078
99223262697B61   MICHEAL         TURNER                   CO           90013292626
99227458197B59   JUAN            MARTINEZ                 CO           90013854581
99227A21291599   SELENE          TORRES                   TX           90006740212
9922B139572B26   DANY            REYES                    CO           90011701395
9922B63265B548   JUSTIN          JARAMILLO                NM           90008856326
99231955A72B22   DANIEL          HIMES                    CO           90010579550
9923B467A4B588   WILSON          EMORY                    OK           90013104670
9923BA18381634   DOMINIQUE       PIPPENS                  MO           90013590183
99241373672B22   PEARL           AUDELO                   CO           33082993736
9924634328435B   CHARMAINE       THOMPSON                 SC           90010553432
99247A51591599   YOLANDA         ROJAS                    TX           90008380515
99248A32561971   RIDWAN          YEROW                    CA           90012940325
99251458772B24   KARINA          GAITAN                   CO           90001574587
9925266324B554   NADENA          OSBORN                   OK           90009796632
9925272215B383   SARAH           ROARK                    OR           90013697221
992531AA797122   MIGUEL          GALLARDO                 OR           90010811007
9926161917B444   KIAREAL         BOLTON                   NC           90000476191
99261642972B24   ARTURO          ARVIZU                   CO           90012956429
99262518797B59   GUADALUPE       VILLALOBOS               CO           90013855187
9926292575B531   EVARISTO        MONTOYA                  NM           90006349257
9926314114B588   CRYSTAL         JONES                    OK           90013061411
9926422518B175   SANDRA          AGUILAR                  UT           90001422251
9926481144B949   MARKAJIA        HOLLOMAN                 TX           76588288114
9926737395B548   KENNETH         LEICHMAN                 NM           90012183739
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9927347718B175   ANTHONY           TEDESCO               UT           90012434771
99276165672B83   BETTY             LEWIS                 CO           90011351656
99277358397B59   RICHARD           NAVARRO               CO           90012453583
99283281772B49   TIFFANY           AUSTIN                CO           90012442817
992855A8181634   ALEX              ACOSTA                KS           90014785081
992886A5972B24   ADRIAN            MARTINEZ              CO           90006086059
99295237497B61   NAYOMI            MARTINEZ              CO           90003582374
99295512A7B444   ERENDIRA          MIRAMONTES            NC           90013075120
9929661A27B491   LUIS              MARTINEZ              NC           90003476102
9929662298B175   FARTUN            AWALE                 UT           90014816229
99297113A97B61   GLORIA            RAMIREZ IBARRA        CO           39063251130
992973A5641296   MONICA            BLAIR                 PA           90013863056
99297888297B59   JOSEPH            MCGUIRE               CO           90013228882
992B4456191951   MARQUIS           BARRETT               NC           90008524561
992B4999155951   JUAN              VENEGAS               CA           90013009991
992B533417B444   ESDRAS            TREJO                 NC           90013963341
992B715787B444   MONIQUE           HUBERT                NC           11095431578
992B7237572B22   JOHN              FLORES                CO           90013652375
992B7894277537   JOSE              DELALUZ               NV           43098828942
992B793592B266   LINDA             GREEN                 DC           81044729359
992B9A2A73164B   AURORA            GUARDADO              KS           22089030207
9931136764B588   KENDRA            MBANEME               OK           90013403676
99314741997B59   ROSLYNN           LEONHART              CO           90013877419
9931498745B531   FABIAN            SAAVEDRA              NM           90010649874
9931847195B383   LUCIO             MENDOZA CORONA        OR           90013924719
9931B84182B891   MICHAEL           SNOW                  ID           90014758418
9932425495B531   RICHARD           GARCIA                NM           90014812549
99325362872B24   CARMEN            LAWRANCE              CO           90013833628
993262A3297B61   CHRISTOPHER       TAFOYA                CO           90014642032
9933228187B444   FRANCISCO         BONILLA               NC           90014262818
9933254722B891   JOSHUA            PEDROZA               ID           90014185472
9933355A772B22   JACQUELYN         MADRID                CO           90013495507
9933512345B548   MIRIAM            VELETA                NM           90014301234
9933691AA72B62   MIGUEL            CAMACHO               CO           33008309100
993373A765152B   OSCAR             GONZALEZ              IA           90014183076
9933933A372B26   DANA              MAY                   CO           90007423303
99339A25A91951   MAURO             MORENO                NC           90013930250
9934253795B393   ROBERTO           ORTIZ                 OR           90013845379
99345885A72B24   INEZ              MARIE CHACON          CO           90008178850
99347947297B59   DAVID             FRAGOSO               CO           90013989472
99347A53891951   YELSIN            CINTO                 NC           90013930538
9934868528B175   ZENAIDA           MARFIL                UT           90013676852
9934874A591951   DANIEL            ACEVEDO OLMOS         NC           90013687405
99348961872B22   JOE               MEDINA                CO           90013989618
9934946684B949   TIFFANY           BEGGS                 TX           90013124668
9934B23764B588   TIFFANY           BROWN                 OK           90014082376
9934B715481635   SLYVIA            MALDONADO             MO           90009997154
9935245715B531   AERIN             DEAN                  NM           35037084571
99353A73281634   TREVOR            WYATT                 MO           90012290732
9935759878B693   MARIA MARGARITA   ORTEGA                TX           90014185987
9935768173164B   ROBYN             COLSON                KS           90011646817
9935913A193755   AMY               BOWLING               OH           90013161301
99359358572B62   MICHELLE          DVURAK                CO           90014753585
9935B696591599   AMBER             ALVAREZ               TX           90010776965
99362274772B22   MARIO             ZEPEDA                CO           90013912747
9936469615B548   REED              PAGE                  NM           90006706961
993649A6341296   TAWANNA           JAMES                 PA           90013719063
9936559AA5B599   DAMON             DAVIS                 NM           90013285900
993657A4681634   MANUEL            BONILLA               MO           90012667046
9936811755B531   ROBIN             JONES                 NM           35087721175
9936829658B347   TITA              TUCKER                SC           90014052965
9936832318B175   JEFF              DELOBEL               UT           90006053231
99369118997B59   DANIELLE          POFFENROTH            CO           90008871189
99371723172B32   JAMES             WALLIS                CO           90014997231
9937554884B588   LORENSO           RAMOS                 OK           90011855488
9937672334B588   AMY               CLEMONS               OK           90012837233
9937854244B588   LEDOVIONE         HUDDLESTON            OK           90013755424
99381888297B59   JOSEPH            MCGUIRE               CO           90013228882
993835A457B444   GERALD            MILLER                NC           90012125045
99384975272B42   YOLONDA           QUINTALLA             CO           33092649752
9938833375B531   VALERIE           SANCHEZ               NM           90011513337
9938B51434B949   JULIO             SANTOS                TX           90013085143
9938B589872B22   CONSTANCE         ROBBINS               CO           90011735898
9938B825791951   LAKESHA           DAVIS                 NC           90003578257
99392552597B61   ANNA              G REVITIA             CO           90007995525
9939466584B949   GUADALUPE         BADILLO               TX           90010076658
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9939892115B531   PHILANA          BOOQUA                  NM           90010909211
993B1837755926   GLORIA           RAMIREZ                 CA           90009828377
993B3552597B61   ANNA             G REVITIA               CO           90007995525
993B952A15B383   JANET            MORGAN                  OR           44522115201
993BB457797B61   PEDRO            NAVA                    CO           90008004577
99411891672B3B   DEANNA           MARTINEZ                CO           33033008916
9941262928B175   ANTHONY THOMAS   WOOD                    UT           90009636292
99414AA1855951   HEATHER          ROSWELL                 CA           90013010018
99416292172B62   KEN              LEISTMAN JR             CO           33074902921
99416321972B26   SARA             LOVE                    CO           90005283219
99416692172B32   WALTER           SEEGRIST                CO           33007396921
99417594997B61   AMANDA           VALDEZ                  CO           90012955949
99418178A55951   DEMETRIO         CAAL                    CA           49090981780
9941829395B531   ERIC             RASBAND                 NM           90010802939
994192A6241296   SEE              MICHAEL                 PA           90013502062
9941B46975B599   VICTOR           SAAVEDRA 2ND            NM           35073114697
9941BA11672B24   KELLY            TRUJILLO                CO           90013990116
99421719472B24   BRYAN            GARCIA                  CO           90012957194
994225A585B548   THALIA           MUNIZ                   NM           35008485058
99423352197B61   AMANDA           MARTIN                  CO           90013073521
99425419A4B554   JOHN             FURLONG                 OK           90004414190
9942B421991599   REBECCA          PALLERES                TX           75065154219
9942B97274B588   AMANDA           BARTLETT                OK           90008929727
994324A7397B61   ANABEL           RIOS HERNANDEZ          CO           90004204073
99433344A4B588   ROSHAE           HOOKS                   OK           90014803440
994352A9297B59   AMY              GARCIA                  CO           90008382092
99435AA615B531   LINDA            JAIMES                  NM           90012560061
99438442997B59   MEGAN            KINION                  CO           90014974429
994386A2797B61   JOEL             GUTIERREZ MONTANEZ      CO           39097106027
9943B95715B548   ANTHONY          MARTINEZ                NM           90013529571
99443468A91599   ADRIAN           GALINDO                 TX           90014754680
9944472254B588   JAMES            MICHAEL                 OK           21509167225
99449678897B59   EDUARDO          ALVAREZ                 CO           90011876788
9944B2A2291599   BRENDA           ROJAS                   TX           90014362022
9944B69374B949   CHAENTELL        JONES                   TX           76509486937
99452882A72B22   SONIA            GOOMAN                  CO           90002818820
99454577A5B383   DESIREE          ADAMS                   OR           90011735770
99458747197B59   APRIL            GUTIERREZ               CO           90012027471
9946147374B588   ELAINE           WILLIAMS                OK           90009724737
994652A6493721   SARGENT          ENGLE                   OH           90005472064
99467313372B24   KINDRA           WILLSON                 CO           90012653133
994675A9581635   RACHELLE         ACEVEDO                 MO           90012645095
99467A65A72B32   COURTNEY         STODDARD                CO           90013320650
9946B58615B383   GILBERTO         CANCHE                  OR           90011735861
9947184162B891   JOSE             MORENO                  ID           90014188416
99473482A5B531   DANIEL           BALDONADO               NM           90008994820
994751A1272B42   CYNTHIA          BORDEN                  CO           33024561012
9947681A541296   DONAVON          DUMAS                   PA           90012788105
9947932315B383   ABDULKADIR       MOHAMED                 OR           90012963231
9947B259172475   STANLEY          MCKRELL SR              PA           90008552591
99481338572B24   MATT             WILKERSON               CO           33049723385
99482572272B22   WILLIAMENA       CAMPBELL                CO           90008875722
99483261172B22   PHILLIP          WOLF                    CO           33005012611
9948478A655928   JENNIFER         CORTES                  CA           90008307806
99487514597B59   BRIAN            ESPINOZA                CO           90012485145
99489985497B59   DUSTIN           WARNER                  CO           90014159854
99496A9244B588   ROBERTO          ALVAREZ                 OK           90013380924
99497A4835B383   DANIELLE         WHESLY                  OR           90011780483
99498545772B62   JON              BURBACK                 CO           90012015457
994B2424131465   DARLENE          MCKINNEY                MO           90006154241
994B3949961971   SHEILA           SIMSUEANGCO             CA           90012909499
994B6128391599   PIZARRO          ALFREDO                 TX           90010871283
994B72A264B949   SHERRY           CLEMONS                 TX           90012862026
994BB313472B22   ROBERTO          FLORES                  CO           90012533134
994BB646281635   MCICO            JOHNSON                 KS           90013266462
99513287A91599   MARIA            RENETERIA               TX           90012742870
9951363872B891   JACOB            LEBLANC                 ID           90009596387
99516159972B56   SANCHEZ          FIDEL                   CO           90010451599
99519A66681635   ANDARI           CARTER                  KS           90009370666
9952213A43164B   DEVIN            YOUNG                   KS           90005381304
9952592253164B   JESSICA          DIDACIE                 KS           90011899225
99526286333B32   WAH              SAY NAY                 OH           90014322863
9952736317B444   SARON            MONTGOMERY              NC           90014273631
9952939412B891   ERICA            PINEDA                  ID           90014013941
9952994167B444   JEREMY           FRANKLIN                NC           90014729416
9952B641A72B22   ANAH             CARDENAS                CO           90014646410
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9953139134B588   BRANDE          KISER                   OK           90012963913
9953348225B531   NAOMI           ANGEL                   NM           90014134822
9953556A972B26   LORRIE          LEAL                    CO           90004425609
99535879A72B22   JONATHAN        STERLING                CO           90002388790
99537326A72B32   RAY             GARCIA                  CO           90013723260
995379A744B588   CATHERINE       GABRIEL                 OK           90007379074
9953823517B444   CARMICHAEL      STREETER                NC           90010452351
9953B684672B22   BLANKLEY        RAY                     CO           90014126846
9953B84A24B588   LOLA            SMITH                   OK           90005988402
9953BAA4693755   ISAAC           WILDER                  OH           90009970046
9954142564B588   MANDA JANE      MACIAS                  OK           90012884256
99542771597B59   CYDNEY          MARTIN                  CO           90013157715
9954348A85B383   ANTHONY         JAGER                   OR           44528604808
995479A5A76B98   ARMANDO         VILLAFONA               CA           90014779050
99549A63772B62   MARCEY          GOLDIS                  CO           90007450637
9955527745B548   COLTON          BLACK                   NM           35048202774
995576AA672B62   ANDREW          HERNANDEZ               CO           90003926006
99559342872B22   JOSGE ALBERTO   MORALEZ DIAZ            CO           90006813428
99559792172B32   JUDITH          IRONWING                CO           90012377921
9955B462781635   BRITNEY         RUTH                    MO           90014614627
9955B74614B588   JESSIE          BURNS                   OK           90011127461
9956521728B175   CARL            GIAMBONI                UT           90011912172
99566848A2B891   HRAFNHILDUR     CARLSON                 ID           90015208480
995673A6555951   KASSANDRA       ORTEGA                  CA           90014083065
9956747394B588   ELMER           RODAS                   OK           90012494739
99567A67377344   JOSE            CEPEDA JR               CO           90007060673
9956B76558B175   MITZY           RODRIGUEZ               UT           90004627655
99576A5725B548   JUSTIN          QUINTANA                NM           90011450572
99577857272B97   LAURA           MARTINEZ                CO           90012478572
9957922658B185   BRAIDEE         SHAW                    UT           90009032265
99579646972B22   ALEXIS          LOPEZ                   CO           90013716469
9957BA21A3164B   GORDON          BRIDGES                 KS           90012220210
9958255243164B   CYRUS           JONES                   KS           22074875524
99584468A91599   ADRIAN          GALINDO                 TX           90014754680
9958524A597B59   JASON           TURGEON                 CO           90012412405
99585362872B24   CARMEN          LAWRANCE                CO           90013833628
99591135472B24   GEUILLERMO      GUTIERREZ               CO           90013371354
99598243197B59   CLAUDIO         LOAIZA                  CO           90013422431
99598593772B22   BUDHI           TAMANG                  CO           90015045937
9959B32655B383   CAMILLE         JONES                   OR           90015183265
995B1185461971   MANNY           CAPERON                 CA           90013111854
995B1785993755   MEELANA         LYLES                   OH           90015087859
995B3873972B22   JUAN            MONTOYA                 CO           33014068739
995B3882972B26   DARLENE         MONTOYA                 CO           33067208829
995B3A6182B891   ARON            HOLM                    ID           90009500618
995B4434697B59   CESAR           DE LA TORRE             CO           90013244346
995B49A9693755   DAVID           FERGUS                  OH           90011919096
995B4A61941296   MEGHAN          GATTS                   PA           90014650619
995B535242B891   MELISSA         DUFF                    ID           42045813524
995B552495B531   JACK            DANIELS                 NM           90010735249
995B626287B359   ORLANDO         LINARES                 VA           90000632628
995B6397657196   JONATHAN        KENNY                   VA           90005533976
995B8886A72B62   KATHLYNE        MERRYMAN                CO           90013768860
995B9A74197122   FRED            COURTNEY                OR           90006850741
995BB56AA5B548   ANGELIQUE       HERRERA                 NM           90009035600
995BBA37797122   ROSMERI         GUSMAN                  OR           90006850377
99612326A72B32   RAY             GARCIA                  CO           90013723260
9961271574B588   SHENNA          THOMAS                  OK           90010787157
99615533772B26   BRITTANY        SMITH                   CO           90011705337
99616727153B2B   CHENELLE        CROFF                   CA           90013907271
9961765A491599   JORGE           SUSTAITA                TX           90010836504
99618459172B42   JESUS           CACHO                   CO           90009064591
9961867898B175   JOSEPH          URBAN                   UT           90011476789
9961BA97891599   JORGE           GUERRERO                TX           90013930978
99622376797B59   TAYLORE         FLORELL                 CO           90008503767
99625376797B59   TAYLORE         FLORELL                 CO           90008503767
99625468A91599   ADRIAN          GALINDO                 TX           90014754680
9962653785B531   GLADIS          ROSALES                 NM           90012305378
99631554672B26   STEVEN          CHARLES                 CO           90009675546
9963174A477537   ALEJANDRO       RODRIGUEZ               NV           90003467404
9963732A672B32   KRISTIAN        NORRIS                  CO           90014353206
99639613172B22   TASHAUNA        BECKAHAM                CO           90012296131
99641168972B22   JORGE           DOMINGUEZ               CO           90011971689
996414A9972B62   JULIO           SALAS                   CO           90010904099
99642791972B24   ANNETTE         ORTIZ                   CO           90009837919
99644489A81635   RODNEY          ANDREWS                 MO           90014674890
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9964755895B153   KULUWAIMAKA     ANDERSON                 AR           90006355589
99647581A33633   TREMAYNE        BLACKWELL                NC           90011205810
99649337A5B383   JENNIFER        DIETL                    OR           90007863370
99649347872B32   ALEXANDRA       SILVA VOLPE              CO           90013103478
9964B151972B24   CESAR           ROJAS                    CO           90000251519
9965232642B891   HASIBULLAH      ALAMI                    ID           90008333264
9965311844B949   MICHAEL         BRISENO                  TX           90012051184
9965759638B175   DANIEL          BAICH                    UT           90014615963
99658452A91599   CYNTHIA         BARRAZA                  TX           90012084520
9965B499591599   JORGE           MARTINEZ                 TX           90012784995
99661347772B62   MARVIN          NEWTON                   CO           90015123477
9966559413164B   HAROLD          KOVACH                   KS           90013305941
99668A16155951   TROY            RECTOR                   CA           49076910161
99669159872B24   CLIFFORD        MORADO                   CO           90013021598
9966B765A72B24   MAYTHE          ESCALANTE                CO           90010417650
9967241562B891   MIRANDA         RINEHART                 ID           90008454156
9967349A891599   LIZZETTE        VALDEZ                   TX           90012644908
996773A1677537   LISA            MCILRAITH                NV           90014563016
99677A9442B241   ANITA           SHORT                    DC           90011870944
99677A9932B241   ANITA           SHORT                    DC           90008050993
9967872574B588   JANELLE         YOST                     OK           90015137257
9967B789681635   JOHN            WILLEY                   MO           90014437896
9967B9A1377537   BRIAN           CRUZ                     NV           90012649013
99681A58572B32   AUBREY          BONILLA                  CO           90013410585
99687894172B26   STACEY L        DEKRAKER                 CO           33049918941
99687932A91951   JAMIE           THAXTON                  NC           90012099320
99687A74381635   ALEXIA          SCOTT                    MO           90014310743
9968B226355951   DIANNE          TOWNSEND                 CA           90011502263
99691341A4B949   VIRGINIA        PRICE                    TX           90014753410
99694346797B61   LIZ             CALDERON                 CO           90010173467
9969632664B588   CHRISTINA       WHITE                    OK           90007373266
99696468A61977   WILLIE          GRENT                    CA           90013944680
99696A49655951   GARY            KEPLINGER                CA           49088320496
9969965A54B554   ALEJANDRA       ORTIZ                    OK           90004786505
9969B98492B824   BRANDEN         RAMBOW                   ID           90008069849
996B1415777537   DAVID           MCNIEL                   NV           90010874157
996B1A25472B62   SHANNON         WOICIK                   CO           90013010254
996B223833164B   CRYSTAL         ESPARZA                  KS           90012792383
996B25A123164B   CRYSTAL         ESPARZA                  KS           90014485012
996B327912B241   MARKIESHA       CONNER                   DC           90006062791
996B35A5455951   MARICELA        OLIVO                    CA           90014625054
996B4413593755   DEBRA           MOORE                    OH           90001054135
996B4A83997B59   DILLION         MAGDELANO                CO           90008050839
996B64A8291951   TAVARES         BOSTIC                   NC           90013934082
99711654597B59   SAMUEL          DOSSEY                   CO           39081876545
99711983A91599   RUDY            VALDEZPINO               TX           90007999830
9971349335B531   MARGARITA       REYNAGA                  NM           90012984933
997174A8A7B444   KIMBERLY        PRICE                    NC           11065414080
997178AA855951   LAOREANO        CORREA                   CA           90008408008
99718416A93755   LISA            SEMELSBERGER             OH           90009544160
99719494197B61   JOSE            SALAS                    CO           90000404941
9971978A681635   SCOTT           ASA                      MO           90013477806
9971BA53161971   NAVOR           MARTINEZ                 CA           90011570531
9972134565B383   BRITTANY        HILL                     OR           90005893456
9972249592B891   OMAR            VASQUEZ                  ID           90014244959
99722A41777537   KELLY           PRAY                     NV           90014150417
99723455A41296   JUSTIN          CLAXON                   PA           90012704550
99727A12872B42   SHANNON         SOZA                     CO           90011670128
99728223797B61   JAMES           KEENE                    CO           90002832237
9973239A897B59   JASON           HEIMANN                  CO           90009133908
9973346A577537   CHRISTIAN       WINTER                   NV           90012864605
99734387697B61   JOSE            DE JESUS                 CO           90010543876
9973662A38B175   MATT            SABEY                    UT           90007446203
99737137572B62   SARAH           LUCAS                    CO           90011131375
9973773573164B   MATTHEW         BROGAN                   KS           22017007357
99738156797B61   ROSANNA         HERNANDEZ                CO           90006961567
997381A2197B59   ROXANNE         DELGADILLO               CO           90010801021
9973B83A84B949   BRIDNEY         JOSEPH                   TX           90014398308
99747918497B61   MICHELLE        RODRIGUEZ                CO           90014699184
997491A8972B22   NICHOLE         MARTINEZ                 CO           90010521089
9975181795B531   RYAN            GARCIA                   NM           35097758179
9975187684B588   TRACY           BEAGLE                   OK           90012928768
99751A7365B599   DAMON           DAVIS                    NM           90014850736
99752724272B32   JOE             NUZ                      CO           90014167242
9975367964B588   JEANETTE        BOWMAN                   OK           90001016796
9975497A68B175   JORGE           CARILLO                  UT           90014709706
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99757129772B22   DOMINICK        MIMS                     CO           90013361297
9975791698B175   DIANA           MOSQUEDA                 UT           90011979169
99762835897B61   MICHAELA        TORREZ                   CO           90004698358
9976413117B628   DEBORAH         SEALS                    GA           90001001311
9976563A772B22   MARIA           MORALES                  CO           90014006307
9976952A997B61   ELIDA           RODRIGUEZ                CO           90014655209
99769A79391599   JOE             MARTINEZ                 TX           90007320793
997818A8291599   BRENDA GISEL    RODRIGUEZ                TX           90010778082
99783367972B22   LESLIE          VAZQUEZ                  CO           90012533679
9978383114B949   DARRELL         CELESTINE                TX           90012828311
9978414A177537   CESARIO         GUILLEN                  NV           90014851401
9978429454B949   MARVIN          JOHNSON                  TX           90009952945
99787244297B59   MATTHEW         PRIDDY                   CO           39063172442
9978B83464B949   FABEL           CARCAMO                  TX           90013708346
99791578597B61   MARIA           MARTINEZ                 CO           90013655785
997B1388681634   MYCHAL          JACKSON                  MO           90013783886
997B185A472B32   CHRISTOPHER     RABORN                   CO           90012928504
997B231A62B891   CAROLINE        ST CLAIR                 ID           90010083106
997B667242B891   JACOB           RYAN                     ID           90012616724
997BB843672B24   STEPHEN         POINTE                   CO           90005948436
998121A925B383   DOUGLAS         WARREN                   OR           90011761092
99812A25872B42   NATALIE         VALDEZ                   CO           90011670258
99813A87661971   JUSTIN          VIKRE                    CA           90012990876
99821285272B22   CRISTINA        URIOSTEGUI               CO           90011442852
9982453995B383   JOHN            DURAN                    OR           90013245399
9982673795B383   MAGGIE          LORENZ                   OR           90011287379
9982847875B548   RUBY            CLEVELAND                NM           90008884787
998311A585B548   EDMUND DWAYNE   LUCERO                   NM           90011471058
9983422A272B26   RICARDO         CASILLAS                 CO           90011572202
99837A76974B27   MISTY           MCKENZIE                 OH           90014190769
99838229A61924   KAPRISHA        HUGES                    CA           90012672290
99838271472B62   VANEISHA        FARRIS                   CO           90012192714
99838851572B22   RAYGINA         CHAVEZ                   CO           90000298515
9984243A57B444   TAWANNA         EVANS                    NC           90015124305
99843A31977537   ANGEL           VELEZ                    NV           90014110319
9984663144B554   GREGORY         O DANIEL                 OK           90007686314
99849886A72B62   KATHLYNE        MERRYMAN                 CO           90013768860
998511A6372B24   ROBERT          DEAN                     CO           90014881063
99852263272B24   JOSE            JIMENEZ                  CO           90011502632
9985434264B588   MITCHELL        STAPLETON                OK           90013483426
99854A32372B42   TESSE           DAVIS                    CO           90011670323
99855987472B22   DECARLO         HERRERA                  CO           90014419874
9985B538391951   LATEIST         SHAW                     NC           90011145383
9986365345B548   MONICA          ZAMORA                   NM           90013996534
9986373A55B548   MICHELLE        BENAVIDEZ                NM           90010167305
9986424574B949   PHILLIP         HODGES                   TX           76595932457
99869857272B32   MARGARITE       MONTANO                  CO           90014778572
9986B712172B22   GREG            JOHNSON                  CO           33008487121
9987137113164B   JORGE           CARVAJAL                 KS           90012213711
998722A7236148   JOSE            CANO                     TX           90010312072
99872A6AA81635   CONNIE          DUROSSETTE               MO           90014340600
998739A9997B61   EDURDO          GARCIA                   CO           90012979099
9987774475B531   VELIA           ARRAS-PENA               NM           90006127447
998791A334B949   LYNETTE         LEWIS                    TX           90014331033
99879378A51323   ANTONIO         MATOM                    OH           90011723780
9987B68867B386   JOSE            MEJIA                    VA           90002306886
9988262484B588   DAISY           PLASCENCIA               OK           90006986248
99883A1A272B24   CHELSEA         LEE                      CO           90008170102
9988725394B949   CURTIS          SUTTON                   TX           90012932539
99889631372B62   GUILLERMO       GUTIERREZ                CO           90012436313
998939AA572B22   MARCOS          MIRANDA                  CO           90012589005
9989B689791599   GUSTAVO         MOLINA                   NM           75087566897
998B2948A4B588   ALISHA          POWELL                   OK           90013199480
998B6992A8B343   TEONNA          ALEXADER                 SC           90014819920
998B743645B531   KARISSA         TORIVIO                  NM           90012444364
998B7688973261   EVELYN          LOPEZ                    NJ           90014246889
998B7812355951   LIA             VANG                     CA           90005728123
998B8741197B59   LUIA            RODRIGUEZ                CO           39001167411
998B8A62391599   HERBERT         SERRANO                  TX           90010950623
998BB178677537   MONICA          PLUMMER                  NV           90005281786
998BB76654B588   DON             THOMAS                   OK           90014187665
999124A443164B   ASHLEE          VERBECK                  KS           22009704044
99913574772B32   CONCILIO        PEREZ                    CO           90010645747
9991857555B356   JENNIFER        WHITTECAR                OR           90010655755
9991892494B588   AUTREY          LUKE                     OK           90014379249
99919777372B62   RAQUEL          GUERRERA                 CO           33050767773
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99922251372B22   MORALES        GABRIELA                 CO           90012902513
99922315A4B967   CYNTHIA        GUIDREY                  TX           90011233150
9992466A357124   MARLON         CISNEROS                 VA           81014526603
9992577752B891   CELEDONIO      PEREZ                    ID           90012027775
99925A4994B588   RENE           CAVAZOS                  OK           90004290499
999295A5455951   MARICELA       OLIVO                    CA           90014625054
99931299172B42   CELENA         SUAZO                    CO           33069382991
99931A46A2B891   ASHLEIGH       BLANCHARD                ID           90014270460
99932477972B42   CARLOS         LARA                     CO           90011844779
9993516228B175   JORDAN         BALLAS                   UT           90013921622
9993767338B175   ANGEL          AGUILAR                  UT           90008156733
9993853585B383   GUADELUPE      FRANSISCO                OR           90013535358
9993B896572B24   LUIS           MURILLO                  CO           90011098965
9993B9A8136B44   URSULA         FREITAS                  WA           44575299081
99943642397B61   DUSTIN         HARMON                   CO           90010896423
9994389A461971   MAILE          MCGEE                    CA           90004468904
99944A3583B326   CNJ            MOVING COMPANY           CO           90001710358
99946571772B32   ENRIQUE        MUNOZ                    CO           90011225717
99946A97855951   REBECCA        RODRIGUEZ                CA           90012010978
999516A645B383   SADIA          ALASOW                   OR           90012006064
99951851A77537   CESAR          CALDERON TORRES          NV           90015148510
99952765372B56   TAQUAILA       THOMAS                   CO           33042307653
99953613298B93   JASEMINE       GARCIA                   NC           90012676132
99955136872B22   JOANNA         RAY                      CO           90013481368
99955136972B32   JOSE           SALAZAR                  CO           90012411369
9995694394B588   AVERY          DAY                      OK           90013229439
99957569372B26   SELENA         HERRERA                  CO           90003095693
9995781444B949   VALARIE        GRIFFIN                  TX           76573098144
999587A7793755   NICOLE         MCINTOSH                 OH           64593167077
99958862272B24   JORGE          CUEVAS-PEREGRINO         CO           90006158622
99959296A72B24   LAURA          GALLADRO                 CO           90014542960
99959526A5B334   CHRISTINA      CAYTON                   OR           90013465260
9996119964B588   ALICIA         CARTER                   OK           90014421996
99961427572B24   JOE            MAZEROLLE                CO           90011514275
9996155484B949   HECOR          GUERRO                   TX           90013805548
99964595872B24   ADAN           CHACON                   CO           90012965958
9996537A772B22   HENRY          WARDWELL JR              CO           90010583707
99965473497B59   MIRIAH         WOODY                    CO           90011634734
99969A88155947   CAMILLE        BROWN                    CA           90001200881
9997115678B175   JESSICA        TELLES                   UT           90006131567
99972926297B59   DANIELLE       RODRIQUEZ                CO           90014639262
9997469373164B   FELISHA        WALLACE                  KS           22083656937
99976368A5B383   BRYAN          LOBTO                    OR           90012273680
9997B2A3397B61   PEDRO          RUEDA                    CO           90013682033
9997B522561971   MIGUEL         GUZMAN                   CA           90013085225
9998321845B531   IVETTE         PACHECO                  NM           90015002184
99983A52297B61   AIRIELLE       ZANDERS                  CO           90010780522
99985659397B59   CYNTHIA        ARAGON                   CO           90013616593
99989A4625B523   HENRIETA       AGUILAR                  NM           90002190462
99991144A97B61   BROOKLYN       MUNSON                   CO           90008091440
99994313772B22   CORY           JOHNSON                  CO           33039503137
99994984472B24   RODOLFO        VARGAS-ROMERO            CO           90014179844
9999499974B588   INSOLINA       CARRILLO                 OK           21515119997
9999525945B531   JESSICA        PARRA                    NM           90013612594
99996A66293755   PAMELA         MCKELVY                  OH           90014700662
99997131A4B588   MATTHEW        HARMON                   OK           90013721310
9999758137B444   APRIL          CHASTAIN                 NC           90010285813
9999B14244B949   VALERIE        KENEBRNW                 TX           90009371424
9999B32A797B61   ARTURO         CHAVEZ                   CO           90013923207
9999B445255951   ELVIRA         MARTINEZ                 CA           90013844452
999B1162372B26   ROSEMARIE      LEON                     CO           33027961623
999B2351A97B59   MARIA          MARTINEZ                 CO           90010593510
999B36A9A72B24   DELIA          MARQUEZ                  CO           33063296090
999B4572572B24   ANDREW         FLORES                   CO           90013655725
999B7734772B22   DEREK          ALEXANDER                CO           90014607347
999BB149691951   NINA           OUTEN                    NC           90013021496
99B12995997B61   NINA           SANDERSON                CO           90012889959
99B13295481635   JOSE MANUEL    CONTRERAS                MO           90012612954
99B14536672B33   JOSEPH         BUTTS                    CO           90014105366
99B17255772B22   ELIZABETH      ECKHOUT                  CO           90012532557
99B17494491951   SHANA          DAVID                    NC           90010424944
99B21751497B59   NAYELIE        SANCHEZ                  CO           90013007514
99B22A7155B531   JAMES          ESQUIBEL                 NM           35012150715
99B2345AA4B949   KEASHA         YARBROUGH                TX           90011274500
99B2359447B444   BENJAMIN       CRUZ                     NC           90010395944
99B29297955951   JOSE           BENNITS                  CA           90010242979
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99B31A9634B588   SELENA         ESCALERA                 OK           90013620963
99B3385972B891   BEVERLY        LAMITINA                 ID           90010458597
99B36254661971   PABLO          MENDOZA                  CA           90005522546
99B3694385B548   MILLER         KIMBERLEE                NM           90013529438
99B3888254B588   NANCY          RODRIGUEZ                OK           90010208825
99B39253697B59   BEVERLY        WALKER                   CO           90013922536
99B42623881635   TRAVIS         PINNICK                  MO           90002766238
99B433A9261971   JUAN JOSE      BENAVIDES                CA           46028003092
99B44A5A593755   SHATARA        CONNER                   OH           90009740505
99B4537132B891   MARIAH         CORREA                   ID           90011223713
99B46293777537   JESSE          SALINAS                  NV           90010702937
99B46893491599   TANYA          MARTIS                   TX           90012248934
99B46978A4B949   JACQUES        HARRIS                   TX           90013209780
99B47841A5B383   BRANDY         MAESTESS                 OR           90014628410
99B479A3884349   LATONYA        WOODBERRY                SC           90003689038
99B48A65372B32   MONIQUE        SMITH                    CO           33020680653
99B5254584B588   LONNIE         FREEMAN                  OK           90004695458
99B54A41777537   KELLY          PRAY                     NV           90014150417
99B5515678B175   JESSICA        TELLES                   UT           90006131567
99B5519324B949   TIISHA         WASHINGTON               TX           90013031932
99B55391472B24   CHARLES        STORTS                   CO           90014933914
99B56586461971   ERNESTO        RAMOS                    CA           90012035864
99B5667657B444   BRITTANY       DIXON                    NC           90014856765
99B5694455B548   STEVEN         MAESTAS                  NM           90013259445
99B5756A481634   OSCAR          AGUIRRE                  MO           90010385604
99B5B71114B949   JUSTIN         BOBBITT                  TX           90010547111
99B6225882B891   ANNA           HERANDEZ                 ID           90005732588
99B626A8877537   ELDA           DELAPUENTE               NV           43080996088
99B63615841296   GREGORY        STARKS                   PA           90011506158
99B65377591951   CARLA          ALVARADO                 NC           90008503775
99B6716574B588   JOSE           AVILA                    OK           90013241657
99B67552497B61   MEGAN          PESINA                   CO           39080445524
99B6982A461971   LUIS           GARCIA                   CA           90013008204
99B6B25744B949   DEQUIAN        BRANNON                  TX           90014142574
99B7135AA4B588   JASON          STEELE                   OK           90014453500
99B7221A972B24   SHERRY         GARCIA                   CO           90013112109
99B75846181639   ARTHUR         TAYLOR                   MO           90010798461
99B76917393755   ANGELA         MILLER                   OH           90011319173
99B7859224B588   CHRISTOPHER    IVORY                    OK           90012035922
99B78AA445B383   ROBERT         R CRAFTS                 OR           90006340044
99B81991355951   ANNA           OLIVAREZ                 CA           90011359913
99B82987572B32   CRYSTAL        STORM                    CO           90012429875
99B838AA297122   JESSE          PARKS                    OR           90011378002
99B83A3777247B   BRANDY         BEARD                    PA           90000980377
99B84937777537   ARELI          ADAME                    NV           90009199377
99B8B8A5272B3B   JASON          BOLTZ                    CO           33097298052
99B91826872B22   ADRIANNA       KOCAK                    CO           90012828268
99B9287215B383   TIMOTHY        GEIGLE                   OR           90004748721
99B92A8875B531   DIANA          VALENCIA                 NM           90011950887
99B9329296B957   ESTELA         MORENO                   NJ           90010122929
99B9364713164B   SHELLY         LEITZEL                  KS           90006166471
99B9382662B891   ROBERT         NEWFIELD                 ID           90012648266
99B94683491599   SUKIE          MEDINA                   TX           75032856834
99B96138572B22   NATASHA        DYER                     CO           90004961385
99B97522933623   SANDRA         CARMACK                  NC           90011005229
99BB1825172B62   JENNIFER       UPTERGROVE               CO           33040138251
99BB822257B444   LAPROSHA       NANCE                    NC           90014772225
99BB873A697B59   TYLER          JOHNS                    CO           90011267306
9B111A63272491   TIFFANY        PIPER                    PA           90010710632
9B11242458B188   ERIKA          VIGIL                    UT           90013554245
9B112827372B32   BRYAN          DROWNE                   CO           90013608273
9B11289A14B554   MEGAN          CORTEZ                   OK           90014818901
9B11329A87B444   LINDA          EVANS                    NC           90013862908
9B11636252B27B   SHADONNA       WILLIAMS                 DC           90012853625
9B11734139712B   AMELIA         MARIE PLATA              OR           90009303413
9B11734A791951   JENNY          RODRIGUEZ                NC           90011763407
9B11737AA81634   CORNEALIA      MIMS                     MO           90010023700
9B11844988B188   MERCY          MORALES                  UT           90013554498
9B119337547834   RASHEEN        GILFORD                  GA           90013333375
9B119A54A72B42   JUSTIN         STONE                    CO           90012150540
9B121678977537   DEANDRE        BABINO                   NV           90014796789
9B12298725B565   KARISA         TRUJILLO                 NM           90006679872
9B1232A2461977   LEA            RODRIGUEZ                CA           90012612024
9B123368933698   JOSE           RAMOZ                    NC           90012773689
9B124322533698   GLASHA         SOUTHERLAND              NC           90013973225
9B12476A35133B   AMBER          SWITZER                  OH           66083167603
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9B127818791951   KEDRA          JOHNSON                  NC           90011088187
9B1278A884B554   TIMESHA        HOPGOOD                  OK           90014858088
9B128A91191882   DUSTIN         LINKS                    OK           90014760911
9B12943948436B   RODOLFO        MARTINEZ-GABRIEL         SC           90015094394
9B12962A14B588   ROSEMARY       TAYLOR                   OK           90010066201
9B131111772B3B   ELIZABETH      MIRELS                   CO           90013081117
9B131535372B42   GALA           MONTGOMERY               CO           33036805353
9B131847655951   ALFREDO        RIVERA                   CA           90013938476
9B13299987B444   PAMALA         WILLIAM                  NC           90005579998
9B133197472B62   TIFFANY        GONZALES                 CO           90010461974
9B134253891521   MIKE           STAHL                    TX           90010812538
9B13456958B188   BRENT          LUHRING                  UT           90013555695
9B134923A55951   WILLIAM        HARRIS                   CA           90008709230
9B13582388B152   FELICIA        RODGERS                  UT           90004688238
9B136155A2B891   DENIESE        JOHNSON                  ID           90007151550
9B136767961979   JEREMY         PIERCE                   CA           90012007679
9B136773A55957   JAMES          HORN                     CA           90012967730
9B13686643B334   FANNY          ALONSO                   CO           90005838664
9B1369AA485689   MIGUEL         MARTINEZ                 NJ           85017879004
9B137A28572B3B   ALEXA LOUISE   ELLIS                    CO           90013560285
9B1381A9A72B62   RALPH          GARZA                    CO           90011151090
9B1392A6693769   DYNASHA        SAMS                     OH           90012072066
9B13B8A4991882   DONALD         WALKER                   OK           90013618049
9B141484272B42   DIEGO          SANCHEZ                  CO           90011674842
9B1421A3797B59   MARCO          ANTONIO                  CO           90012741037
9B14342738B152   MARVIN         MARTINEZ                 UT           90012144273
9B14463A261977   AIOTEST1       DONOTTOUCH               CA           90015116302
9B145626761979   ALICIA         BAILEY                   CA           90011426267
9B147636455951   NINA           GUTIERREZ                CA           90013096364
9B14785A191599   ROBERTO        GARCIA                   TX           90014098501
9B14843A87B444   HARRY          DALEURE                  NC           90014984308
9B148AA9193769   BRIAN          SHACKELFORD              OH           64557800091
9B14957415B531   PEDRO          LUJAN                    NM           90012065741
9B14B878993755   JEFFREY        PATRICK                  OH           64537018789
9B151931893755   JOHN           ENDICOTT                 OH           90011429318
9B15432412B981   PAUL           OLIVAREZ                 CA           45057703241
9B15511959712B   AMBER          RODRIGUEZ                OR           44062571195
9B15543A87B444   HARRY          DALEURE                  NC           90014984308
9B15664A174B45   BECKY          HARRIMAN                 OH           90013936401
9B1569A968436B   ASHLEY         MIDDLETON                SC           90013019096
9B157474393755   PHILLIP        POWELL                   OH           90012864743
9B1577A655B565   MANUEL         MASCARENAS               NM           35062087065
9B158448391882   IRMA           RUIZ                     OK           90011254483
9B158685897B59   STACIE         LAUE                     CO           90014326858
9B15869948B188   MOHAMED        DIGALE                   UT           90013556994
9B159486872B42   JEREMY         SCAGGS                   CO           90011674868
9B159A23761977   LAURA          GARCIA                   CA           90011140237
9B15B41962B27B   DIAMOND        ADAMS                    DC           90012854196
9B161594293767   KRISTA         EVANS                    OH           90008185942
9B163217393769   AMY            GELLEGANI                OH           90012152173
9B163968A91951   FRANCISA       RUIZ PORTILLO            NC           90011899680
9B164698393769   LAKEISHA       WILSON                   OH           90011816983
9B16524785B548   ADAM           ABEYTA                   NM           90014552478
9B165252A4B554   LYNNETTE       ABRAHAM                  OK           90010892520
9B166A79A7B444   DWAYNE         EFREM FRANCIS            NC           90010950790
9B167694891951   LA KENDRA      HINES                    NC           90008316948
9B167817872B56   ENEIDA         MENDOZA                  CO           90014818178
9B167964261979   ABRAHAM        SALCEDO                  CA           90011399642
9B16818A52B27B   EDGAR          HERNANDEZ                DC           90004221805
9B17143915B599   BETTINA        ZUBIATE                  NM           90001774391
9B171637291882   PAYGO          IVR ACTIVATION           OK           90013426372
9B173846393746   LESLIE         BREATHETT                OH           90003998463
9B174644781634   DERRICK        ELSNER                   MO           90011236447
9B17493388B152   LEON           SHUMWAY                  UT           90012309338
9B175152855957   ORTEGA         DAVID                    CA           49065471528
9B175773293755   AMANDA         DEDOMINICI               OH           90014967732
9B179448391882   IRMA           RUIZ                     OK           90011254483
9B179AA2891521   CINDY          LOYA                     NM           75002770028
9B17BA3964B588   AMY            SEABRIGHT                OK           90002290396
9B181129355957   LISA           MARTINEZ                 CA           90015151293
9B182427A81634   CHRISTOPHER    HOWARD                   MO           90014454270
9B18278858B188   DEMETRIA       COPRICH                  UT           90013557885
9B182937191599   FERNANDO       DIAZ                     TX           90013859371
9B18374645B548   MAXIMILLON     BENAVEIDEZ               NM           90013237464
9B18714757B444   JOSE           HERRERA                  NC           90015071475
9B187467491951   JAVIER         POLK                     NC           90012014674
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9B188A44561977   RHONDA           RIGDON                 CA           90014110445
9B18B159A8B175   LAURA            DIAZ                   UT           90010451590
9B19197A43164B   ANANZA           JAMES                  KS           90002799704
9B195718493769   LEWIS            ALSPAUGH               OH           90015077184
9B196A43955957   JENNIFER         MENDEZ                 CA           90013060439
9B19879825B531   IDELIA           GARCIA                 NM           90014897982
9B199325961979   ELIZABET         MENDEZ                 CA           90010923259
9B199A2778B188   MARIA DE JESUS   SANDOVAL LOPEZ         UT           90013560277
9B19B352361977   OSCAR            PONCE                  CA           90010503523
9B19B711755951   ABEL             REYES                  CA           90013057117
9B19B71537B26B   RICARDO          DOMINGUEZ              NV           40533837153
9B1B147A197B59   JEFFREY          MUNN                   CO           90013494701
9B1B166564B554   CARLOS           DUARTE                 OK           90014736656
9B1B2772672B56   JONATHAN         LOZOYA                 CO           90014817726
9B1B286785B565   MAURILIO         MALDONADO              NM           90011778678
9B1B366564B554   CARLOS           DUARTE                 OK           90014736656
9B1B3A39185689   JUAN             LEON                   NJ           85062820391
9B1B466564B554   CARLOS           DUARTE                 OK           90014736656
9B1B4AA5393778   TIFFANY          JAVINS                 OH           90011510053
9B1B87A374B554   DESHUN           JONES                  OK           21552937037
9B1BB12888B175   JOSE             HERNANDEZ              UT           90009541288
9B1BB66564B554   CARLOS           DUARTE                 OK           90014736656
9B1BB745847834   LATIESHA         GROOVER                GA           90012357458
9B211785461979   MARLON           LEON                   CA           90014987854
9B211A83991882   ISABEL           ESCOTO                 OK           21045360839
9B21233282B27B   KRISTIAN         GALICIA                DC           90012933328
9B2129AAA72B42   BENICE           ZARAGOZA               CO           90010439000
9B21319178B175   CASSANDRA        SNOOK                  UT           90014651917
9B213649372B56   ROBERT           CARILLO                CO           90011346493
9B213743397B59   FRANCISCO        ORTEGA ALDABA          CO           90010417433
9B213981161979   MARCO            BARRON                 CA           90015089811
9B214226372B42   ARON             WALTER                 CO           90009812263
9B214622593769   PAUL             HEATHERLY              OH           90014156225
9B215A45172B62   JOSE             GUZMAN                 CO           90012390451
9B216372391951   EMANUEL          APARICIO               NC           90011973723
9B21681A48B152   TISHA            WALLACE                UT           90000538104
9B217A1A991521   HUGO             RODRIGUEZ              TX           90012870109
9B21B362372B32   DILLON           WALKER                 CO           90013723623
9B2211A998436B   ORA              GLOVER                 SC           90005261099
9B221472A2B27B   TAJAE            JONES                  DC           90012854720
9B22154262B27B   JOSSELINE        MOLINA VILLATORO       DC           90014855426
9B222297151396   SYDNEY           WILLIAMS               OH           90011092971
9B22234A441296   MIKE             PANTALONE              PA           90010573404
9B2231AA44B588   DENNIS           MCGASKEY               OK           90011891004
9B223A24551342   D ANGELO         CREW                   OH           90013930245
9B224787755957   PATRICIA         COOPER                 CA           90011877877
9B2248A118B181   JERRY            REIMANN                UT           31019918011
9B225175A91521   EDGAR            BUSTAMANTE             TX           90013561750
9B22524434B588   ASHLEIGH         WATSON                 OK           90013852443
9B226512133698   GRACE            ESCALANTE              NC           90012835121
9B226611A5B565   CARMEN           VILLANUEVA             NM           90008666110
9B22692795B332   PRESTON          PAAKKONEN              OR           44596029279
9B22736A272B56   PAULA            SERDO RIVERA           CO           33085053602
9B22797214B588   UVADA            HEATH                  OK           90012919721
9B229451391951   MONTREAL         MCLENDON               NC           90015274513
9B229556591882   CORIE            MIZE                   OK           90013085565
9B229A69472B29   ISAIAS           ARNADA                 CO           90007020694
9B229A9333B324   MICHELLE         GARCIA                 CO           33013490933
9B231845472B3B   ANGEL            FREDDY                 CO           90010978454
9B232915A72B42   FERNANDO         QUEZADA                CO           90014579150
9B2332A8455957   ISSAC            GONZALEZ               CA           90015302084
9B233512833698   SHANICE          HENDRY                 NC           90015025128
9B23451984B588   ANGELES          CECILIO                OK           90010125198
9B23567232B891   NICK             SEFEROS                ID           90010966723
9B23696724B554   MATTHEW          CARILLO                OK           90014859672
9B23796724B554   MATTHEW          CARILLO                OK           90014859672
9B237A35A97B59   ANTHONY          FARRIS                 CO           90013780350
9B23828968B175   KEVIN            HAWKINS                UT           90007892896
9B238936472B3B   MARK             NUSSBAUM               CO           90011869364
9B24132A48B188   SUSAN            GURSIN                 UT           90013563204
9B241538951342   KRISTINE         RICHTER                OH           90009715389
9B24178915B371   WILLIAM          KRAMER                 OR           90013607891
9B241A35955951   KATHLEEN         HART                   CA           90001250359
9B24398394B554   ABNER            IXCOY                  OK           90014859839
9B246148761927   VINCENT          WEST                   CA           46002631487
9B2462A577B394   ALVIN            SIMANGCA               VA           90006542057
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9B24723115B548   JOSE           ARAGON                   NM           90009912311
9B24763782B981   ENEDINA        RUIZ                     CA           90014066378
9B247726991242   SHAWN          HINES                    GA           90010657269
9B248438555957   JOHN           ZAMORA                   CA           90013144385
9B253924281635   ALWAYZ         LYELOW                   MO           90014229242
9B2553A835B531   ANA            YOUNG                    NM           90014363083
9B25659965B383   ORAN           GOSHORN                  OR           44594855996
9B257122297B59   MICHEAL        MALLARD                  CO           90011971222
9B25768A75B383   JOLANDRA       BROWN                    OR           90015126807
9B2589A428B175   JUDY           MAEZ                     UT           90002429042
9B25928558436B   BYRAM          BARBER                   SC           90011102855
9B26253A85B371   HEATHER        ZEINERT                  OR           90013125308
9B26347528436B   BEVERLY        SMITH                    SC           90010544752
9B263A79841296   CHARLES        KITTZ                    PA           90014790798
9B26495A797B59   DIANE          HANAK                    CO           90013609507
9B267865172B56   NATASHA        BARNES                   CO           90014818651
9B268447961979   YOLANDA        CASTRO                   CA           90007374479
9B268973661979   MATHA          MEDINA                   CA           90013869736
9B2699A555B383   ALISON         OLIVER                   OR           90013909055
9B26B32322B27B   ROBERT         LEE                      DC           90002483232
9B26B78965B548   DAWN           ATLER                    NM           35074817896
9B2711A8972B42   NICHOLE        MARTINEZ                 CO           90010521089
9B271285A91599   ANGEL          VALENZUELA               TX           90014712850
9B271A66477537   HANNAH         SITZE                    NV           90001320664
9B272431A5B383   GUILLE         ESPINOZA                 OR           90009944310
9B272A91255951   DEE SHAWN      GREENE                   CA           90010000912
9B27315A871936   BRUCE          OLIVAS                   CO           90000211508
9B27336568B152   MICHAEL        FITZGERALD               UT           90013393656
9B273784691882   TIMOTHY        GEENEN                   OK           90013507846
9B273A9982B981   OMAR           ALGHAZALI                CA           90010300998
9B274814672B62   DHYA           BAIDHANI                 CO           90013018146
9B276771A4B554   RICO           CASTILLO                 OK           90000447710
9B276A3562B27B   NILKA          HALL                     DC           90008290356
9B2773AA58B175   SARA           DIAMOND                  UT           90010803005
9B27813665B531   RICALDAY       RIOS ARCELIA             NM           90012621366
9B279828361979   JOHANNA        FUENTES                  CA           90012268283
9B281723481635   RHONDA         WRIGHT                   MO           90014847234
9B2821A774B554   JOE            STOWE                    OK           90014861077
9B282589961977   ESTEBAN        ASCENCIO                 CA           90013575899
9B28277124B588   TERRELL        GLAZE                    OK           90014037712
9B2831A774B554   JOE            STOWE                    OK           90014861077
9B283551672B56   MARIAH         MARTINEZ                 CO           90009185516
9B28431198B175   ALEXIS         MACKAY                   UT           90010803119
9B284354A61977   ERCIK          GUTIERREZ                CA           90015173540
9B28447617B444   JERRREY        CROSAND                  NC           90014834761
9B28526648B175   CHANTELLE      FALLOWS                  UT           90012812664
9B28622217B444   LAQUESHA       JOHNSON                  NC           90013762221
9B28659958B175   KATRINA        MACIAS                   UT           90014105995
9B28766A59712B   CANDELARIA     LEMUS-ANDREADE-          OR           90009746605
9B289186272B42   BRYAN          CORTEZ                   CO           90013861862
9B28B119A72B56   JESUS          CABRAL                   CO           90014861190
9B28B133755957   JOHNNEY        GUTIERREZ                CA           90015151337
9B28B227655957   MICHAEL        COLE                     CA           90012982276
9B295795593755   KHAYERADDIN    YUSUPOV                  OH           90013027955
9B296397A41296   JUDY           STEPHENSON               PA           90009643970
9B29858165B383   STEVEN         DAILY                    OR           90014505816
9B299569561979   CAROLINA       DEGADILLO                CA           90013435695
9B299A83497B59   SHERONNE       RADLEY                   CO           90014650834
9B29B837933698   MARTIN         PAREDES- FERNANDEZ       NC           90013848379
9B2B152122B27B   TORTISHA       HOLLAND                  DC           90014175212
9B2B231985B356   MARIA          HERNANDEZ                OR           90010543198
9B2B2439597B68   ROSALBA        PEREZ-CAMARENA           CO           39041264395
9B2B3173933698   LATASHA        ROBBINS                  NC           90002401739
9B2B4514955951   NAYELI         ALTAMIRANO               CA           49082775149
9B2B4681761979   RAMONA         VALENZUELA               CA           90011576817
9B2B6A41781634   DAQUAN         SMITH                    MO           90011540417
9B2B7969272B62   LANCE          CASTILLO                 CO           90012919692
9B2B88A7661979   ANDREW         GARCIA                   CA           90012008076
9B2B9461272B32   JESUS          PEREZ                    CO           90015224612
9B2BB791A55957   FRANCISCO      ECHEVERRIA LAINEZ        CA           90012967910
9B2BB84584B588   ANTONIA        FOMUNYAM                 OK           90007118458
9B311844355957   ERIKA          MARTINEZ                 CA           49098098443
9B312474A8B152   KESETE         ASHLEY                   UT           90014384740
9B31295548B152   WILLIAM        HUERTA                   UT           90012999554
9B313974391599   ISRAEL         CHAVEZ                   TX           75030559743
9B314535633698   MONICA         MCINTOSH                 NC           90013145356
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9B314A42177537   CARLOS         MORENO                   NV           90008130421
9B315515172B32   ANNETTE        PORTIS                   CO           33023375151
9B31624137B444   BERTHA         DELGADO                  NC           90014152413
9B316833881635   CHRISTOPHER    COY                      MO           90012438338
9B316953555957   MICHAEL        GARCIA                   CA           90014839535
9B316AA7861977   PABLO          GAMEZ                    CA           90012750078
9B31774325B383   SERGE          KASHUL                   OR           90013757432
9B317777393755   DAWN           MAGILL                   OH           64537437773
9B318731297B59   MYNOR          SONTAY                   CO           39017377312
9B318737861979   JOSE           SANCHEZ                  CA           46081087378
9B319462641296   LUCAS          CARTWRWIGHT              PA           90010274626
9B319551772B42   JENNIFER       WATKINS                  CO           90011675517
9B319555581635   COURTNEY       BURTON                   MO           90013965555
9B31965222B891   JAMES          KASTEN                   ID           90009336522
9B31984624B554   ERIN           DODD                     OK           90014868462
9B31B16385B548   JOAN           GRIEGO                   NM           90014941638
9B321294691521   DAVID          SANDNER                  TX           90012152946
9B32141A55B383   HAYLEY         POWELL                   OR           90011334105
9B322854193755   JENNIFER       SNYDER                   OH           90013438541
9B3228A6672B42   TEOFILO        PANTOJA                  CO           90013048066
9B3235A5293769   BARRY          SMITH                    OH           90009765052
9B32451762B891   RAFAEL         HERNANDEZ                ID           42073185176
9B32698428B188   HAMDY          EISSA                    UT           90013569842
9B328551281635   LCALVIN        FOSTER II                MO           90000475512
9B32897A861979   JODIE          BURNHAUSER               CA           90010109708
9B32962455B565   LETICIA        MARTINEZ                 NM           90003346245
9B32B553955957   SAMUEL         GARCIA                   CA           49081615539
9B32B554161977   JAY            BROWNING                 CA           90009275541
9B338447972B3B   CITLALI        CERVANTES                CO           90012914479
9B33926A141296   MARIAH         THOMAS                   PA           90014792601
9B33B218691951   NICOLE         BULLOCK                  NC           90013772186
9B341562872B62   SAMUEL A       DOBBS                    CO           33022575628
9B3433A3A97B59   PAUL           GREEN                    CO           90011183030
9B34466615B565   EDUARDO        ARCINIEGA                NM           90003346661
9B345561772B42   ROCHELLE       NICODEMUS                CO           90001735617
9B345A58333698   JORGE          MAJICA                   NC           90008370583
9B34978A42B891   AMANDA         MGINNIS                  ID           90010787804
9B35595978B152   JOHN           DEANS                    UT           31048649597
9B3565A3597B59   SCOTT          ROSENBAUM                CO           90015135035
9B357178A57563   CRYSTAL        LOERA                    NM           90011131780
9B35721882B27B   PAULA          SWALES                   DC           90015152188
9B357224972B42   LETISHA        WASHINGTON               CO           90013222249
9B358831293769   DAVID          BOECKMAN                 OH           90011128312
9B358A4A255951   EDUARDO        PARRA                    CA           90005040402
9B35B1A925B371   PATRICIA       CHAVARRIA                OR           90010181092
9B35B395172B42   GLENN          SCHRAETZLMAYER           CO           90013113951
9B35BA96872B56   DENISE         SMITH                    CO           90005620968
9B361139155951   LOIS           MELLO                    CA           90012791391
9B36165625B531   SHANNON        TOWNSEND                 NM           90014766562
9B36471675B565   JULIANITA      GARCIA                   NM           90010927167
9B365989272B98   CASSANDRA      THAXTON                  CO           90004509892
9B367A26951342   HERALDO        ESCALANTE                OH           90013930269
9B368665391599   MOISES         APODACA                  NM           90011906653
9B372748781634   JAELIN         SPEARS                   MO           90014937487
9B372847772B84   HECTOR         MARIN                    CO           33022438477
9B3729A2A72B3B   DAYANA         FAUVER                   CO           90013119020
9B373279591951   SHYNIQUE       DAVIS                    NC           90011302795
9B3739A4555951   ERIKA          GONZALEZ                 CA           49002449045
9B374283541296   JAMES          SMITH                    PA           90014792835
9B375269491951   KRYSTLE        JACKSON                  NC           90007922694
9B377795355957   ISAAC          ESPARZA                  CA           90009857953
9B377987691521   GUSTAVO        ROMAN                    TX           90011669876
9B37829327B444   KENYA          PEVIE                    NC           90014702932
9B378713A55951   MARICRUZ       VASQUEZ                  CA           90012207130
9B379557A97B59   YASMIN         WIDMAR                   CO           90013305570
9B37959295B531   MIKE           CASTANEDA                NM           90014665929
9B37B14A82B27B   JAYNEECE       THOMPSON                 DC           90014731408
9B37B37622B27B   VICTOR         SIMMONS                  DC           90006613762
9B37B586A3164B   JOE            MITCHELL                 KS           90014255860
9B37BA61872B42   KRISTEN        REYNOLDS                 CO           90012150618
9B381283541296   JAMES          SMITH                    PA           90014792835
9B381417772B62   EDWIN          ABEYTA                   CO           90012514177
9B383985491532   JOSE           SOTO                     TX           75066899854
9B383AA237B421   SHONN          MOSER                    NC           90010370023
9B38521A777537   SERGIO         PEREZ                    NV           90014882107
9B38564A972B62   JORGE          CHAVARRIA                CO           90013826409
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9B385714572B56   LEONARDO       VASQUEZ                  CO           90014347145
9B386385172B62   JUAN MARTIN    BARRIOS FLORES           CO           90014843851
9B388919372B56   KIMBERLY       BARNES                   CO           90014819193
9B389822581634   JAMES          GANNON                   MO           90010358225
9B391352261879   JAJUAN         WALLACE                  MO           90014863522
9B392242551342   CASANDRA       THREATTS                 OH           90009482425
9B393146951342   JEREMY         BOOKER                   OH           90002771469
9B393244455957   EDUARDO        ROJAS                    CA           90012982444
9B39348135B531   GAIL           GARZA                    NM           90010104813
9B394352491521   ERMINIA        ESPARZA                  TX           75095233524
9B39495862B399   JOSE           DIAZ                     CT           90014239586
9B395913772B56   DEREK          RUIZ                     CO           90014819137
9B396914772B56   AMANDA         RANDOLPH                 CO           90014819147
9B39694A261979   RAQUEL         CASTELLANOS              CA           90012859402
9B398538672B32   SABRINA        ARGUELLO                 CO           90013065386
9B3985A8251343   ANTHONY        CLEARY                   OH           90006935082
9B39926279376B   PHYLNIESHIA    STREATY                  OH           90009492627
9B399696672B3B   ANJEL          ALVAREZ                  CO           90011886966
9B39B35754B554   CHRISTOPHER    POOR                     OK           90004233575
9B39B635855951   TINA           JACKSON                  CA           49014926358
9B3B412998436B   JODY           MELVIN                   SC           90013261299
9B3B43A3A97B59   PAUL           GREEN                    CO           90011183030
9B3B8A66293778   PAMELA         MCKELVY                  OH           90014700662
9B3B9A36772B32   GUILLERMO      VAZQUEZ                  CO           33020070367
9B3BB547472B42   JAZMIN         PORRAS                   CO           90011675474
9B41349A82B891   WENDY          WEST                     ID           90014404908
9B41364942B981   LORENA         HERNANDEZ                CA           90010826494
9B41374A491882   MIKE           VAZQUEZ                  OK           90015027404
9B414235372B3B   LAMONT         BRYSON                   CO           90011962353
9B414478372B56   ESRIN          CHICGARCIAN              CO           90010554783
9B414A4282B891   ARACELI        BARROSO                  ID           90012490428
9B416213197B59   LESLIE         MEILS                    CO           90012712131
9B418633261977   AIOTEST1       DONOTTOUCH               CA           90015116332
9B41976814B554   TIMOTHY        TUNNELL                  OK           90014877681
9B419A9AA61979   DEBRA          VILLARREAL               CA           90012820900
9B4216A769712B   GAIL           MESSINA                  OR           90000846076
9B421A89872B3B   ERNEST         STANTON                  CO           90009810898
9B4234AAA93778   DONNA          COLEMAN                  OH           90007794000
9B424873281635   JACKIE         POIRE                    MO           90014868732
9B42722832B891   LAURA          ENGELSTAD                ID           90012502283
9B428344691882   MARIO          MCCASKILL                OK           90011263446
9B428745361979   NICOLE         KAPULE                   CA           90012957453
9B429623961979   SHERYL         SINGLETARY               CA           90013876239
9B429632191592   ERNESTO        TRIANA                   TX           75088866321
9B42B38213164B   JACOB          HILL                     KS           90014213821
9B42BAA1491951   JERON          ROBERTSON                NC           90014650014
9B431A45872B98   RODERICK       BRAGG                    CO           90005240458
9B432138A91599   RACHEL         HUENNEKE                 TX           90012901380
9B43295698435B   TAHESHIA       WRIGHT                   SC           90008569569
9B43325A972B98   DEANNA         BARAJAS                  CO           90008342509
9B434198491521   JACQUELINE     URBINA                   TX           90013561984
9B43582A44B554   TYEISHA        JONES                    OK           90014878204
9B436326377537   OLIVIA         SORIANO                  NV           90011183263
9B4364A488436B   CATHERINE      EDWARDS                  SC           19026764048
9B436825A4B554   SYDNEY         HARMON                   OK           90014878250
9B43693162B981   DAFNEY         CABRERA                  CA           90013819316
9B43745195B137   SHEKIA         CARLOCK                  AR           90007744519
9B43796242B891   DANIEL         HUNTER                   ID           90012979624
9B437A8122B27B   JAMEL          HODGES                   DC           90014730812
9B438312751342   LATONIA        SMITH                    OH           90012123127
9B43858A172B56   ANNIE          MCCARTY                  CO           90012345801
9B438A24141296   STEFAUNA       HUGHES                   PA           90004110241
9B439397561977   CALDERON       ANDREA                   CA           90000213975
9B439511361879   TAMAL          MCMORRIS                 MO           90014045113
9B439884293755   LENA           THOMPSON                 OH           90009308842
9B43B821A8B152   BRET           RYVER                    UT           90011288210
9B441251541296   KATRINIA       KNIGHT                   PA           90009532515
9B44129985B383   NORMA          VARELA                   OR           90014412998
9B442545181635   DEANDRE        PEREZ                    MO           90012995451
9B445113681634   KEMBERLY       COWELL                   MO           90014711136
9B445197355957   BURGESS        VALERIE                  CA           90014731973
9B44628622B27B   DARRYL         JOHNSON                  DC           90011032862
9B447951372B56   EDWARD         BURKE                    CO           90014819513
9B448411851342   LIZA           GLASPER                  OH           90009894118
9B448A36A55951   GONZALEZZ      NOMA                     CA           49010620360
9B451954361979   EVELYN         PEGUES                   CA           90012859543
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9B45219724B588   ERNESTO        SORIA                    OK           90011991972
9B452416333698   LATRICIA       DAVIS                    NC           90004584163
9B453961255951   ROSAURA        RODRIGUEZ                CA           49009729612
9B454129497B59   REBECCA        ESPINOZA                 CO           90013781294
9B454942761979   ROBERTA        CAMPOS                   CA           90008139427
9B45523292B891   QUINCY         SILAS                    ID           90013632329
9B45724528B188   ALEXIS         KING                     UT           90011612452
9B457364691521   VICTOR         ALVARADO                 TX           90012483646
9B45871334B588   KEVIN          RUSH                     OK           90013327133
9B45893538436B   ALICIA         ALVAREZ                  SC           90014609353
9B45924762B27B   JOCELYN        HAMER                    DC           90014742476
9B459855261979   AIOTEST1       DONOTTOUCH               CA           90015128552
9B462568581634   CHASE          THURSTON                 MO           90010385685
9B46289152B981   SARAH          GREENLEE                 CA           90012128915
9B46332768B343   BROOKLYNN      BUFF                     SC           90014093276
9B463459A3164B   HELEN          LAMBERT                  KS           90012334590
9B464258577537   KODY           KLECKNER                 NV           90014132585
9B464661491882   GARCIA         RAFA                     OK           90005366614
9B46475332B27B   MICHELLE       BADGETT                  DC           90014847533
9B46494169712B   ANGELIA        GLAFIRA VAZQUEZ          OR           44048409416
9B467374491951   DANIEL         JIMENEZ                  NC           90008833744
9B467A4A88B152   BILLIE         OLSEN                    UT           90010570408
9B467A9818436B   DEVILLE        SIMMONS                  SC           90011310981
9B468378572B56   MARI-CAMEN     GOMEZ                    CO           90011873785
9B468572272B98   BETH           HARMON                   CO           90010615722
9B469158A72B98   NICHOLAS       CAMPBELL-BERNASKI        CO           90011291580
9B471192297B59   MICHAEL        LANDEN                   CO           90003631922
9B47156958B152   MIKE           CHILSON                  UT           90012125695
9B47249AA72B42   LUIS           SOSA                     CO           90008694900
9B47259515B383   KIANA          EDWARDS                  OR           90010975951
9B47331A48B188   TIMA           HIROSHI                  UT           90013583104
9B473514597B59   DIANA          WASHINGTON               CO           90010475145
9B473722A7B444   NOLVIA         RAMOS                    NC           90014457220
9B477545181635   DEANDRE        PEREZ                    MO           90012995451
9B478352891882   ALEXIS         MACIAS                   OK           90013113528
9B47837965B548   LARRY          MOSE                     NM           90014433796
9B479959361979   IDALIA         PORTILLO ARIAS           CA           90012859593
9B483166955957   SHAWNIEE       JACKSON                  CA           90012991669
9B483224377537   STEVEN         COOPER                   NV           90011212243
9B48443437B444   MARTIN         WILSON                   NC           90013214343
9B484565A93755   TAYLOR         MOSS                     OH           90013735650
9B48527772B891   STEPHANIE      WILSON                   ID           90011962777
9B485551555957   CHASTETY       CARDIEL                  CA           49007015515
9B485981991521   ISAIAH         WHITE                    TX           90010839819
9B48599814B554   PATRICK        FARRIS                   OK           90014879981
9B4875A9541296   ROBERT         BARNETT                  PA           90014795095
9B48799814B554   PATRICK        FARRIS                   OK           90014879981
9B4881A6155942   JANET          WANN                     CA           90012471061
9B488713881635   AARON          STANLEY                  MO           90008447138
9B489359161879   CHRISTINE      HARRIS                   MO           90012863591
9B489963A91951   LUIS           GUZMAN A                 NC           90014309630
9B491744477537   CURTIS         DAVIS                    NV           90014947444
9B492931772B3B   SHELANA        DAVIS                    CO           90014239317
9B493457197B59   RUSSELL        HASTINGS                 CO           39035934571
9B495A67972B3B   MAURICE        MALONE                   CO           90010820679
9B49629422B891   RALPH          ADERMANN                 ID           90009762942
9B497319191521   RUBY           PEREZ                    TX           90015123191
9B4988A2372B62   LUKA           KULJIS                   CO           90012548023
9B499A43793778   JOSEPH         JOBES                    OH           90011510437
9B49B915172B98   ALEJANDRO      PEREZ                    CO           33036969151
9B4B1A78172B3B   LAZARO         HERNANDEZ                CO           90009170781
9B4B3477681635   BRANDY         WOODS                    MO           29039304776
9B4B4238381635   DOROTHY        SPRAGGS                  MO           90011142383
9B4B52A2497B59   JESSICA        CARAVEO                  CO           90009512024
9B4B5671397B61   MEAGEN         KOZISEK                  CO           90001636713
9B4B6671397B61   MEAGEN         KOZISEK                  CO           90001636713
9B4B6932491531   ELISA          SALAZAR                  TX           75087609324
9B4B77A3191882   NIESHA         WILLIAMSON               OK           90013097031
9B4B8127761979   KYLE           GARCIA                   CA           90014151277
9B4B9363572B32   JOSE           GOMEZ                    CO           90013963635
9B4B99A1981635   EDWARD         COLE                     MO           90014969019
9B4BB33A491882   ASHLEY         MCCOMBS                  OK           90014573304
9B4BB387A91951   LUZ            WATKINS                  NC           90013813870
9B4BB888A91951   JEFFREY        DUGAN                    NC           90010708880
9B4BB967672B32   CLAUDIA        JASSO                    CO           90009619676
9B511432355957   NAVOR          LUNA                     CA           90014904323
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9B51169718B152   SIHELNIK           RANDALYNN            UT           90003896971
9B51293552B981   BRANDON            CONCHAS              CA           90013219355
9B51329257B444   ESMERALDA          MATINEZ              NC           90004442925
9B51465722B27B   RICARDO            MUNOZ                DC           90012856572
9B514814993778   JESSICA            CHAPPELL             OH           90010968149
9B516429172B3B   JOSEPH             SANCHEZ              CO           90009164291
9B51816442B27B   TYUNIN             WITHERSPOON          DC           90014731644
9B518398433698   STACY              JOHNSON              NC           90009153984
9B51883512B27B   LUISA              CORNEJO              VA           90011068351
9B51B95242B891   TIANA              WHITE                ID           90011089524
9B521A86A91882   GARRET             TUCKER               OK           90015190860
9B52355498B175   MELISSA            BUTCHER-BRYANT       UT           90014465549
9B52799A35B371   TROY               HUBERT               OR           90015169903
9B52833745B531   GISSELLE           RODRIGUEZ            NM           90010893374
9B528721781634   ISAIAH             FULSON               MO           90014137217
9B52897A42B891   ANGEL              RIVERA               ID           90013679704
9B52911334B554   LUSHUNDA           ROGERS               OK           90014881133
9B52B957572B28   MICHELLE           FAIRCHILD            CO           90011749575
9B53161A572B3B   RUBEN              SANCHEZ              CO           33028946105
9B53163995B531   FRANCESCA          HENRY                NM           90013456399
9B532155977537   CASTULA            LOPEZ                NV           90014951559
9B53217728B152   TIMOTHY            THURGOOD             UT           90011561772
9B53277A591951   LEION              THOMAS CAROLINS      NC           90015017705
9B533533672B42   GABRIELA           PEREZ                CO           90011815336
9B533769993769   TRACY              PRICE-PERKINS        OH           90010187699
9B535258A61979   EARL               JORDAN               CA           90009782580
9B536559661977   CHAUNCEY           FOLLETT              CA           46070775596
9B53692A597B59   MITCHELL           JEANNOUTOT           CO           90012279205
9B53776A62B27B   BRITANY            MILLER               DC           90008317606
9B538432172B98   TIMOTHY            AUSTIN               CO           90004414321
9B53882A77B444   WILMER             LEZAMA               NC           11006098207
9B53893A972B42   AARYN              KNOWLES              CO           90012429309
9B539949681634   SAMUEL             ESTRADA              KS           90013559496
9B53B55A73164B   SHANE              EAST                 KS           90013905507
9B54159395B371   VIOLET             NAPOLI               OR           44591365939
9B54239294B588   CHARLES            NJARAMBA             OK           90009603929
9B54521A572B62   ERLINDA            GUERRERO             CO           33001642105
9B545255772B42   JOSH               MCCARTNEY            CO           90012002557
9B545638333698   JUAN               MONCALEANO           NC           90012756383
9B54737782B891   SYLVIA             ZARAGOZA             ID           90012333778
9B54BA85472B32   JOSE               PAVON                CO           90012740854
9B551229481635   VIRGINIA           MCCURLEY             MO           29011752294
9B55371938B175   SANDRA ELIZABETH   SANCHEZ              UT           90014547193
9B554A14491951   SAMANTHA           BARBEE               NC           90008970144
9B555177391951   DALONICA           MASSENBURG           NC           90002881773
9B556554297B59   RYO                MATSUMOTO            CO           90012985542
9B55716A33164B   LAURALEE           HOFFMAN              KS           22084341603
9B55914648B175   SHERRY             CHITTY               UT           90012411464
9B5594A995B371   GIN KHAN           MANG                 OR           90013134099
9B55B156A5B371   OSMAN              CASTENEDA            OR           90007741560
9B561947991882   MARCO EUGENE       SELLS                OK           90013349479
9B562878824B61   AMANDA             AUSTIN               DC           90011798788
9B562886572B62   CODY               AARON                CO           90012228865
9B562A18581634   ERICA              WHEATCRAFT           MO           90014860185
9B56353358B152   RELEFORD           SHERRI               UT           90010215335
9B563626872B3B   ALEX               GUERRERO             CO           90012386268
9B563971A61977   EDUARDO            CORTEZ               CA           90013099710
9B56449525B531   LORENZO            ELWOOD               NM           90010104952
9B56492675B531   LORENZO            ELWOOD               NM           90012949267
9B564A71A2B891   THOMAS             FREINWALD            ID           90014710710
9B56672642B27B   ELIZABETH          JARDINES             DC           90012857264
9B566949233698   TINE               KEARSE               NC           90011389492
9B56831A22B27B   CLARA              MENDEZ               DC           90009263102
9B56843695B531   ROBERT             MORENO               NM           90004734369
9B568857172B42   JEREMIAH           LESPERANCE           CO           90013488571
9B568893572B62   TERRANCE           SIMMONS              CO           33096568935
9B56B24A82B27B   MARIE              WILSON               DC           90014762408
9B56B432351342   JONATHON           WILLIAMS             PA           90012374323
9B56B93638B175   JOSE               LUIS ESTRADA         UT           90013329363
9B57173552B27B   LAKISHA            WASHINGTON           DC           90012857355
9B57176648B175   ENRIQUE            FLORES               UT           90012027664
9B57447775B371   SHAWN              JOHNSTON             OR           90009084777
9B57453295B383   SARAH              SERATT               OR           90005715329
9B5746A4172B43   PAYGO              IVR ACTIVATION       CO           90006506041
9B576143533698   KENNETH            DECAMP               NC           90014031435
9B577A76755957   CARLOS             CEGURRA              CA           90013010767
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9B579498A55957   HOUA           YANG                     CA           90010814980
9B57B6A168436B   RASHAD         HARRIS                   SC           90015146016
9B5829A724B235   JAIME          HAYES                    NE           27004829072
9B584246381634   DOMONIC        WATKINS                  MO           90014022463
9B585539393769   ANTHONY        COCHENOUR                OH           90011875393
9B58583824B554   DOMINICK       ADAM                     OK           90014888382
9B586AA3172B56   TIMOTHY        GARCIA                   CO           90014820031
9B587327351342   JOHN           SWIFT                    OH           90013853273
9B58772645B548   AMY            CHAVEZ                   NM           90007377264
9B58819695B371   KYLE           MCVAE                    OR           90012231969
9B589199272B32   FRANCISCO      GUTIERREZ                CO           90014431992
9B58923152B27B   JAMES          HALL                     DC           90014732315
9B58B21342B981   GUSTAVO        BELTRAN                  CA           90011582134
9B58B47A72B27B   KEYONA         JOHNSON                  DC           90011034707
9B58B9A3841296   LAMAR          JOHNSON                  PA           51001269038
9B591411781634   KARINA         CHAVEZ                   MO           90008014117
9B59159555B383   TYRONE         KOWALKOWSKI              OR           90014845955
9B592AAAA55951   MATHEW         WILKINS                  CA           90009840000
9B593493372B83   VERONICA       HALL                     CO           90011764933
9B59478538B152   LUISA          DE LA FUENTE             UT           31075487853
9B595A4A891882   LINDELL        WALKER                   OK           90011270408
9B59683632B981   LILIA          CARRASCO                 CA           90014688363
9B596AA7A33698   PATRICK        THOMAS                   NC           90012900070
9B59B852155951   DAM            SRIMALA                  CA           49048008521
9B5B1137155951   MARIA          LEDESMA                  CA           90010791371
9B5B119225B548   CHRISTIAN      LUNA                     NM           90012951922
9B5B1461272B42   SHERRI         BALCH                    CO           90009534612
9B5B4451391951   WILLIAM        DEAN                     NC           90015174513
9B5B4683197B59   CLIFFORD       STEWART                  CO           90011536831
9B5B862A561977   JOSE           MUNOZ                    CA           90007446205
9B5B9277551342   BRENDA         GOINGS                   OH           90009482775
9B5BB52A78B188   ANTONIA        MONTELONGO               UT           90013585207
9B5BB715281635   ARLANDO        BURNS                    MO           90010897152
9B5BBA53293778   SEDIA          JAMES                    OH           90013510532
9B611A92572B42   THOMAS         WADE                     CO           90012150925
9B612432191521   MYRA           MARTINEZ                 TX           90010944321
9B613513633698   RICHARD        CHILCO                   NC           90012595136
9B6135A3741296   JAMES          MOODY                    PA           90014805037
9B615191997B59   JOSE           DE LA CRUZ               CO           90006191919
9B61523152B27B   JAMES          HALL                     DC           90014732315
9B61587965B35B   JOAN           GRACE                    OR           90013178796
9B615976472B62   FRANSISCO      ORTEGA                   CO           33006729764
9B61633958B188   DENA           BEAL                     UT           90013593395
9B61936685B548   VIVIEN         CHAVEZ                   NM           90014283668
9B61BA11572B42   TEODORA        AGUIRRE                  CO           90013790115
9B61BAA7472B56   DANASIA        PITTMAN                  CO           90014820074
9B62153538B152   TAMI           DENNING                  UT           90013245353
9B622277A2B881   KYLIE          REED                     ID           90013652770
9B622994697B59   CODY           KRETSCHMER               CO           90003809946
9B624522941296   MARCUS         KENNEDY                  PA           90014805229
9B62456252B27B   JESSENIA       ALFARO                   DC           81096585625
9B624A49351342   JOHN           EDWERD                   OH           90009250493
9B62688542B27B   DARIUS         ANDERSON                 DC           90012858854
9B626A2A572B56   ASCENCION      GONZALEZ                 CO           90014820205
9B627911891882   MARY           HARDEN                   OK           90013089118
9B62795A34B554   THURMAN        JOSLIN                   OK           90014889503
9B629532391951   TERESA         DOLORES                  NC           90014435323
9B6297A785B548   SHAVANNA       PERRY                    NM           35003687078
9B63145A772B62   RICK           MADRIGAL                 CO           90010894507
9B63188A691951   MICHEAL        BRANDON                  NC           17091288806
9B633447561979   RICKY          AHLEM                    CA           90010024475
9B633476355951   ALESLIE        TORRES                   CA           90013924763
9B633911891882   MARY           HARDEN                   OK           90013089118
9B634925955957   MELINDA        FIGUEROA                 CA           90010059259
9B634A8348B188   RICHARD        HODGES                   UT           90013080834
9B635362A91599   AMANDA         ENRIQUEZ                 TX           90010983620
9B636932497B59   ALLAN          FRUEHAN                  CO           90008359324
9B638519481635   CATHERINE      FRANCO                   MO           90013525194
9B638547A5B531   MICHELLE       CASTELLANO               NM           35095105470
9B639236191521   MIGUEL         DE LA HOYA               TX           90009562361
9B63B94125B371   ORALIA         ALCASA                   OR           90011469412
9B63BA53672B42   MATTHEW        BRINK                    CO           90009210536
9B642456661977   CRISTAL        GOMEZ                    CA           90004184566
9B64398228B152   JRO            RODARTE                  UT           90011139822
9B64479838B188   MARY           BARTLEY                  UT           90013597983
9B645493472B42   RICHARD        VALDEZ                   CO           90011524934
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9B64664A95B383   JENNIFER CHRISTINE   DEVINE             OR           90012896409
9B647863697B59   JAMIE                COVARRUBIAS        CO           90011538636
9B647923A2B27B   KEISHA               BERRY              DC           90012859230
9B648A3885B565   WENDY                VALENCIANO         NM           90011800388
9B64963AA72B42   RAMIRO               BORJAS             CO           90011676300
9B64B97534B554   DARIAN               WAREHIME           OK           90014889753
9B651867797B59   WILLAM               PRIDDY             CO           90011538677
9B654295272B32   ERIN                 KUSMIERSKI         CO           33060762952
9B654325681634   SUSAN                COUTURE            MO           29028533256
9B655785291882   SUMMER-TRACI         SMITH              OK           90013137852
9B656378961977   RUBEN                DURANTE            CA           90015173789
9B65658692B891   JOSHUA               HEPWORTH           ID           90008765869
9B657A8867B444   BANITA               DEWS               NC           90001460886
9B659937891882   ANTONIO              MILLER             OK           90013089378
9B659962291599   JULIO                ESTRADA            TX           90011229622
9B65B897751342   JONAH                MERRITT            OH           90012888977
9B661752351373   JENNIFER             MONDY              OH           66010077523
9B661769881634   CRISTINA             VALADEZ            MO           90011267698
9B66186564B588   JOREL                CASTILLO           OK           90014838656
9B662864161977   HUGO                 CERVANTES          CA           46080258641
9B662997751342   JORDAN               PHELPS             OH           90013029977
9B6631A9261977   LORENA               GRIJALVA           CA           90011161092
9B663613A2B27B   JULIAN               RIOS               DC           90014816130
9B664122261979   NELLY                AREVALO            CA           90010511222
9B664A53572B62   HEATHER              DAVIS              CO           90013240535
9B66532A981634   KHALEELAH            GOLDSBY            MO           90014583209
9B667A1974B554   RACHEL               NELSON             OK           90014890197
9B668436A72B32   JASON                FULSTER            CO           90008074360
9B668884972B3B   APRIL                HILL               CO           90011018849
9B6691A5A91521   CRYSTAL              RENTERIA           TX           90011111050
9B669764591599   EZPERANZA            LERMA              TX           75008467645
9B66998568B188   KAYLEE               MERRILL            UT           90013599856
9B67181AA91599   JONATHAN             ZUBIATE            TX           90014468100
9B672682681635   LARRY                LOVE               MO           90014106826
9B672874472B42   HOLLY                SMITH              CO           90013938744
9B673115972B56   MONICA               SANCHEZ            CO           33029191159
9B67346A633698   ISAIAS               PEREYDA            NC           90014314606
9B67397938B188   SHELBY               PATTERSON          UT           90013599793
9B67475592B27B   DAESHAUNDA           WILLIAMS           DC           90011337559
9B67557A32B891   TRISHA               BARNETT            ID           90011985703
9B67834A75B531   PHILIP               BACA               NM           90012433407
9B679239A61977   CRISTIAN             CABELLO            CA           46068132390
9B68117262B27B   JOHN                 JOHN               VA           90013251726
9B682588377537   CURSHAYA             JACKSON            NV           90002975883
9B689A98755957   JASON                WILSON             CA           90013010987
9B68B419955951   ISABEL               HERNANDEZ          CA           90012504199
9B691957455951   JUSTIN               ROBINSON           CA           90010229574
9B694241A61977   JASON                KNUTSON            CA           90010452410
9B694334A61979   KENNETH              MOTON              CA           90010923340
9B69559552B27B   VANTASIA             WASHINGTON         DC           90011915955
9B696266781635   MELISSIA             NIECE              MO           90014652667
9B69671733B358   RICHARD              VALDEZ             CO           33057837173
9B69781A191599   CAROLINA             JIMENEZ            TX           90013538101
9B697829772B42   JESSICA              GRADO-LOYA         CO           90013358297
9B69794912B886   BRADLEY              ELUMBAUGH          ID           90008559491
9B69819A25B526   BRIAN                CHAVEZ             NM           90000541902
9B698952985953   JENNIFER             JOHNSON            KY           90014639529
9B69896772B891   DANIELLE             GUTIERREZ          ID           90011089677
9B699336372B98   DERON                JOHNSON            CO           90009693363
9B69948362162B   SAUL                 HERNANDEZ          OH           90014084836
9B69986A65B371   DUANE                COOK               OR           90013358606
9B69B634161977   DANIELA              GARCIA             CA           90013966341
9B69B712691951   NELSON               HERNANDEZ          NC           90014707126
9B6B346835B372   JAKE                 HAMMON             OR           44512254683
9B6B5719793769   MISTY                BROOKS             OH           90007797197
9B6B617138B175   TRENT                TINGEY             UT           90013931713
9B6B7AA6672B56   JARED                SMITH              CO           90014820066
9B6B853975B383   DAVID                KIBBONS            OR           90004355397
9B6B8A78A4B588   DONITA               JACKSON            OK           90010990780
9B71152845B383   JENNIFER             ANDERSON           OR           90014665284
9B71216354B554   DAKOTA               FACTOR             OK           90014891635
9B713941293778   FRANK                WILSON             OH           90010349412
9B714A63172B42   FALLON               CORRINGTON         CO           90009080631
9B715165581634   HEAVEN               PEBLEY             MO           90008971655
9B715643372B3B   AMY                  HUTSON             CO           90013166433
9B71677614B523   STEPHANIE            FOWLER             OK           90008337761
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9B7169A6A5B383   COURTNY         ZILKE                   OR           90013499060
9B716A9918B188   HOPE            GABALDON                UT           90006180991
9B717573A61979   SUSANA          B RODRIGUEZ             CA           90006385730
9B7175A7A97B59   KELLIE          CHAMBERS                CO           90013005070
9B717792881635   JASON           HICKEN                  KS           90014637928
9B717A3292B891   STEVEN          LEWIS                   ID           90006090329
9B719568561977   ALEJANDRA       VERDUZCO                CA           90013555685
9B719752A93755   DESYANEY        ELZEY                   OH           90011657520
9B719779697B59   COLLEEN         RIDDLE                  CO           90014067796
9B71B45935B531   CARLOS          SANCHEZ                 NM           90003564593
9B721337172B62   JEROME          LEAL                    CO           33012463371
9B72157458B152   DESIRE          MARTEL                  UT           90009595745
9B722453497B59   SHANTELLE       GARCIA                  CO           90010374534
9B7245AA62B981   ANGELICA        DURAN                   CA           90008795006
9B728148A5B565   DAVID           PANN                    NM           90003361480
9B728517597159   JULIENNE        TETERS                  OR           90008345175
9B728A6955B371   DIEGO           PACHECO                 OR           90009520695
9B72931263164B   JOEL            VAQUERA                 KS           90013463126
9B72973A372B42   EVARISTA        REYES                   CO           90001377303
9B72B371277537   ANA             HERNANDEZ               NV           90015043712
9B72B397491882   BRITTNEY        PORTER                  OK           90011273974
9B72B772172B43   KANA            FLORES                  CO           90003307721
9B73241588B188   ERIKA           GONZALEZ                UT           90013604158
9B732496671935   AMANDA          HARRIS                  CO           90010994966
9B732894485689   BRITTANY        LORE                    NJ           85015778944
9B7329A6251342   GERALD          HALL                    OH           90012939062
9B73344768B188   FERNANDA        VAZQUEZ                 UT           90013604476
9B73575362B891   MATTHEW         WRIGHT                  ID           90013437536
9B73877A34B588   TIARA           RICHMOND                OK           90011167703
9B73B652497B59   JORGE ALBERTO   LEOS-OROZCO             CO           90013646524
9B73BA82A5B565   KALIOPE         MCKENLY                 NM           90004240820
9B73BA9754B588   SOUTHERN        BOYS                    OK           90014290975
9B74111618B175   TABYTHA         PANDO                   UT           90013221161
9B741427372B3B   MARK            DEBELL                  CO           90013384273
9B74286A65B371   KEVONNA         WATSON                  OR           90014988606
9B742898491521   OMAR            ESCOBEDO                TX           90013458984
9B74334534B554   DWAYNE          KING                    OK           90014903453
9B748412697B59   ANGELICA        GUEDEA                  CO           90013344126
9B748727672B62   LOUIS           SAUCEDO                 CO           90014067276
9B7489A9891521   MAYRA           CARRILLO                TX           90013649098
9B749338472B42   SALVADOR        CASTANEDA               CO           33061453384
9B74B69828436B   GALE            JOHNSON                 SC           90010796982
9B752398281634   TARESSA         SWYGERT                 KS           90014243982
9B752436861977   CAMERON         IBRAHIM                 CA           90012094368
9B7529A614B965   LYNETTE         BLOYD                   TX           76517379061
9B75375A172B3B   NATIVIDAD       CERVANTEZ               CO           33021097501
9B75379524B588   JUSTIN          CARTER                  OK           90011177952
9B75499672B27B   SHANETRIAH      KEITH                   DC           90012869967
9B755735661979   ROBERT          WESLEY                  CA           90013277356
9B75675545B383   RITA            HARTMANN                OR           90012837554
9B758142255951   CONSUELO        MENCHACA                CA           90013921422
9B75836592B27B   LATISHA         MORRISON                DC           90011103659
9B75859593164B   WAYNE           KINNEY                  KS           90014675959
9B75B453361977   MELVIN          HARRIS                  CA           90013404533
9B75B97334B588   ERIC            SIMMONS                 OK           90014899733
9B761244933698   MARLO           MAZE                    NC           90013002449
9B761881741296   KEVIN           OWENS                   PA           90011878817
9B763131555957   ARTESIA         FENNER                  CA           90013011315
9B7632A3372B98   LUKE            SWEDLUND                CO           90011292033
9B763621372B62   ANA             RODRIGUEZ               CO           90011186213
9B767541172B62   BALTAZAR        AYALA                   CO           90013695411
9B768926355957   LAURA           SANTACRUZ               CA           90014659263
9B771941985689   LATASHA         DAYS                    NJ           90010599419
9B77279782B249   JAY             ALEXANDER               DC           90004347978
9B77333A841296   CARRIE          COOK                    PA           90011013308
9B773647655951   MANUEL          FRUTOS                  CA           90007136476
9B773841472B62   KARINA          GARCIA                  CO           90000138414
9B77443324B588   NICHOLAS        SKAGGS                  OK           90014574332
9B7748AA83164B   JUQUEE          GREEN                   KS           90012828008
9B776591A91951   KEESHA          BROWN                   NC           90012015910
9B776978972B32   KARLA           QUINTANA                CO           90013999789
9B777724761979   CONCEPCION      CEBALLOS                CA           90013877247
9B779513972B32   ABDUL           MUHAMMED                CO           90013545139
9B77959A791951   ELIOD           HERNANDEZ               NC           90012705907
9B78147954B554   TINA            SMITH                   OK           90014904795
9B7814A8257B59   ALI             CLARK                   PA           90012954082
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 924 of 1007


9B782381391526   EDGAR          AGUERO                   TX           90011443813
9B78336528B158   KELLIE E       DURBIN                   UT           90011393652
9B785489491599   JAMIE          DELGADO                  TX           75030764894
9B786564A4B588   MICHEAL        COLTER                   OK           21566085640
9B7878A794B588   COREY          HOWARD                   OK           90013228079
9B788132672B32   EDITH          PEREZ                    CO           90013511326
9B78919A872B3B   MARIE          GALINDO                  CO           90003511908
9B78B27755B383   MICHELLE       ALLEN                    OR           90015132775
9B791291231465   TONGELA        BOLDEN                   MO           90006012912
9B79232284B554   AUTHOR         WATSON                   OK           90014923228
9B793781461973   VERONICA       HERNANDEZ                CA           90004327814
9B794217A61979   ALICIA         NEVAREZ                  CA           90015082170
9B79426218B188   BENIGNO        QUINTANA                 UT           90010322621
9B79527225B531   JOSUE          RUIZ-RODRIGUEZ           NM           90013792722
9B795471193769   TASHA          PATTERSON                OH           64566344711
9B795573361979   TAWNA          GRISHAM                  CA           90014715733
9B79587A493755   TARA           DYER                     OH           90012638704
9B79721583365B   PARIS          STIMPSON                 NC           12087622158
9B799947551342   SHARIFA        BROWN                    OH           90011089475
9B79B16372B891   JUSTINE        HOSER                    ID           90012601637
9B79B24172B891   NIKKI          ROLLINS                  ID           90008442417
9B7B1672633698   ANTHONY        HUGHES                   NC           90014876726
9B7B218A28B175   HEATHER        KNIGHTON                 UT           90013661802
9B7B27A3372B42   BRANDON        CHAVEZ                   CO           33034757033
9B7B342A455957   RENEE          CARDOZA                  CA           90009084204
9B7B486A491521   MARIA          TERESA                   TX           90001028604
9B7B513985B371   ROBIN          STONER                   OR           90014871398
9B7B6749991951   FRANCISCO      GONZALEZ                 NC           90012497499
9B7B8118991526   STEPHANIE      TORRES                   TX           90010151189
9B7BB342791882   DESMAN PAUL    HICKS                    OK           90011273427
9B7BB8A914B588   GLOREYA        DELEON                   OK           90014038091
9B7BBAA4472B3B   CHRIS          PERRY                    CO           90011610044
9B811378291521   ANDREW LEWIS   NEVAREZ                  TX           90012483782
9B811872461979   COREY          MANUEL                   CA           90010078724
9B81497243164B   DEKEMIA        RHONE                    KS           90008709724
9B81612432B886   CHRISTINA      SOTEROPOULOS             ID           42090191243
9B817924431479   JOHNNIE        MCCABE                   MO           90006239244
9B81815328B152   RECK           RHODNEY                  UT           90014401532
9B81B322872B42   APRIL          ZAPOYA                   CO           90010733228
9B821A3745B379   SAMANTHA       KRAGERUD                 OR           90013970374
9B823171A5B548   NORMAN         WHATLEY                  NM           35084961710
9B82374214B588   PRESTIN        BARNHILL                 OK           90008107421
9B8244A442B981   KRISTEN        OTT                      CA           90012634044
9B82547AA4B551   IVET           DE LOERA                 OK           90006984700
9B82642A391951   CHERLY         RAGAN                    NC           90012254203
9B826A21A55951   VINCENT        VERDUZCO                 CA           90012000210
9B827777493755   STACIE         GRIDER                   OH           90013987774
9B827877155957   ERIK           GARCIA                   CA           90013018771
9B834756677537   BEATRIZ        ACOSTA                   NV           90011217566
9B835595372B42   ALFRED         SISCO                    CO           90009575953
9B83745547B444   RAMON          BENITEZ                  NC           90015094554
9B837884677537   DEANNA         SCHMIDT                  NV           90015208846
9B838A1495B548   DENISE         LUCERO                   NM           35094890149
9B839266597B59   MARY           ORTIZ                    CO           90010502665
9B8417A1691521   JUAN           CARRILLO                 TX           90012927016
9B842559991599   THOMAS         CHAZ                     TX           90012945599
9B84429AA91599   LICELDY        GONZALEZ                 TX           75061162900
9B8444A6272B32   EMILY          ROSE MELLO               CO           90012164062
9B845938355957   JOVANNI        BARIOS                   CA           90010059383
9B84689385B331   RIAN           SMITH                    OR           90010608938
9B84927945B548   MELISSA        TENORIO                  NM           90014902794
9B84932645B548   MELISSA        TENORIO                  NM           90012613264
9B84954335B531   JESSE          SANTILLANES              NM           90003445433
9B84981925B371   CHESLEY        ANDRES                   OR           90013158192
9B84B374193755   EDWARD         HOSKINS                  OH           64509963741
9B84B539893749   MARESA         SCOTT                    OH           90008615398
9B84B968472457   MONICA         OAKLEY                   PA           90010059684
9B85173715B531   CURTIS         FITTS                    NM           90012107371
9B853656355951   JOSE           GUTIERREZ                CA           90012816563
9B854445372B42   JESSICA        FITZI                    CO           90014104453
9B85587865B531   JOSEPH         CRESPIN                  NM           35090118786
9B855AA712B27B   NAKITA         DELANEY                  DC           90011320071
9B857A36555951   SOCORO         LEAL                     CA           90005030365
9B858A2248B152   BRYAN          COOK                     UT           31001860224
9B85B213A3164B   BRANDON        BLOCKER                  KS           90010292130
9B85B988493778   BRENDA         SMITH                    OH           90010449884
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9B861147491951   MATTHEW         KELLY                   NC           90010931474
9B861332961977   CHARELS         LAVERING                CA           90011183329
9B86211244B554   ANGELA          BRYCE                   OK           90014921124
9B86313A24B554   TINA            SMITH                   OK           90014921302
9B86331695B371   JEFFREY         KREISCHER               OR           90014243169
9B867842172B42   HEIDI           SHAVILL                 CO           33003908421
9B872422A72B32   LEWIS           QUINN                   CO           90007344220
9B87367135B33B   CARMEN          CORDERO                 OR           90010766713
9B8737AA591951   KRYSTLE         JONES                   NC           90013217005
9B874561A3164B   CRAIG           LEONARD                 KS           90015125610
9B875358A5B383   NICHOLE         CLOUTIER                OR           90014963580
9B875A12293778   DESTINY         BULLIS                  OH           90010380122
9B87714615B371   BRITTANNI       RENNER                  OR           90005711461
9B877395561979   ELIZABETH       WILLIAMS                CA           90009413955
9B87746852B891   LEA             NUTTER                  ID           90006374685
9B878516697B59   FRANCISCO       FLORES-RAMOS            CO           90003315166
9B87955694B588   DANEE           COKER                   OK           21569175569
9B87B17478B175   ANA             LEE                     UT           90010811747
9B881227872B42   ROSE            ROBERTSON               CO           33096102278
9B881323A77537   ADAM            REGALA                  NV           43038373230
9B88192A672B42   SOFIA           MIETZ                   CO           90014579206
9B883782791882   VANNA           DORSEY                  OK           90013167827
9B883835272B32   ESTHER          WINGRED                 CO           90012778352
9B8846A7361977   BRENDA          ROBLES                  CA           90015026073
9B88711422B27B   IMANI           HOWARD                  DC           90012871142
9B887251472B56   MARIAN          RODRIGUEZ               CO           33041002514
9B88796A991521   GABRIEL         IBARRA                  TX           90012839609
9B88872955B548   KENNETH         BARRETT                 NM           35005227295
9B88912192B27B   JAY             ALSTON                  DC           90012871219
9B88923795B371   HOWARD          WASHINGTON              OR           90014132379
9B889A1548B175   BRISA           RODRIGUEZ               UT           90011350154
9B891291751342   TRACIE          WARMAN                  OH           66017382917
9B89143845B531   EMILIO          ACOSTA                  NM           90002294384
9B891761661977   MOISES          MEDINA                  CA           90010517616
9B891936291599   LACEY           PORRAS                  NM           90012509362
9B894264A4B588   PATRICIA        BOTELLO                 OK           90012022640
9B89564483164B   IBRAHIM         IBRAHIM                 KS           90012336448
9B897441341296   CADIADRA        KENDRICK                PA           51043844413
9B897957172B62   CHAVEZ          RUTH                    CO           90009019571
9B897A5198B152   RYLAN           STECKELBURG             UT           90010390519
9B897A9A981634   DEONTAY         HOLLY                   MO           90012040909
9B89996485B565   ROBERT          DENIPAH                 NM           90011809648
9B89B15212B891   DARIN           BANGHAM                 ID           90008741521
9B89B154A2B27B   JOAN            LINDSAY                 DC           90013181540
9B8B5181155957   JESUS           CORONADO                CA           49084521811
9B8B717814B235   PEDRO           GONZAGA                 NE           27077731781
9B8B7677751342   ANTTONETTE      WILLIAMS                OH           90009726777
9B8B776189712B   ANNA            REYNA                   OR           44040167618
9B8B9153891521   ISMAEL          FLORES                  TX           90012091538
9B8BB33592B27B   LATOYA          HARVELL                 DC           90014733359
9B8BB5A7A91951   ELDRACO         HOBSON                  NC           17096185070
9B8BB92678B188   BRITTANY        VERVERS                 UT           90013609267
9B912386872B98   LAUREN          KULLHEM                 CO           33061643868
9B913873661879   MARIO           EILAND                  MO           90013118736
9B914221A93778   MATTHEW         TENNEY                  OH           90012352210
9B914626872B42   SARA            HOCKHALTER              CO           90014826268
9B91613212B27B   TIARRA          SMITH                   DC           90012871321
9B91624725B565   ELIZABETH       NEVAREZ                 NM           35002702472
9B917686681635   VINCENT         VACA                    MO           29077516866
9B918134491599   MICHELLE        GOMEZ                   TX           75067821344
9B91B411872B32   AMY             MURPHY                  CO           90014094118
9B91B755593778   ZACHARY         BELCHER                 OH           90013607555
9B921664472B3B   STEPHANIE       ARGUELLO                CO           90014626644
9B922A9A961977   MARCO ANTONIO   DIAZ BAEZ               CA           90011460909
9B923187655957   DANIEL          VILLAFANA               CA           90013021876
9B923591472B32   RUSSINA         VALE                    CO           33027455914
9B925741322824   BARRION         KELLY                   MS           90014187413
9B92617A68B152   NICKLOLAS       HOWARD                  UT           90014471706
9B92671377B444   BRAD            GATEWOOD                NC           90012757137
9B927A24A5B565   ROSE            LIMASTER                NM           90011810240
9B92812715B548   EMILIO          REYNA                   NM           35091571271
9B92861722B27B   CERA            WILLIAMS                DC           90014816172
9B92872335B548   EMILIO          REYNA                   NM           90010637233
9B929626455951   CRYSTAL         MENDOZA                 CA           90012546264
9B93182173164B   JUAN            GUERRERO                KS           90013528217
9B933184141296   AMBER           HARBISON                PA           90014931841
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9B934511772B32   PORSHA           MIKAHAIEL BREWTON      CO           90013775117
9B934959976B42   DAVE             HILL                   CA           90012689599
9B935424872B32   MICHELLE         HAMM                   CO           90003674248
9B9361A9891882   SUSAN            COUNTRYMAN             OK           90011481098
9B936872881634   MIRACLE          BROWN                  MO           90013618728
9B937178A2B27B   KENDRA           EVANS                  DC           90012871780
9B93849A666B34   JACQUES          MUTELA                 MO           90013974906
9B939245141296   LISA             BATTLE                 PA           51090962451
9B9399A2591882   PHILLIP          STONE                  OK           90013159025
9B93BA8667B396   BOBBY            POOLE                  VA           90008990866
9B941718697B59   ALFRED           SANDOVAL               CO           90014337186
9B942862161977   MONICA           BEJARANO               CA           90012878621
9B94343A87B444   HARRY            DALEURE                NC           90014984308
9B943577A41296   TAMECA           EKUNFEO                PA           90009725770
9B944256172B3B   GREGORIA         FLORENTINO             CO           33041892561
9B945946381634   SHAKEENA         STRICKLAND             MO           90013209463
9B946713651342   REGINA           CHANEY                 KY           90009237136
9B94817A14B588   SHELBY TAYLOR    BARNHART               OK           90011401701
9B94826A991599   ADRIAN           NAVARRO                TX           90012032609
9B948685741296   DINO             ROTHRAUFF              PA           90009296857
9B951216355957   KENNETH          WALLACE                CA           90013022163
9B952718393778   RICH             HAMMOND                OH           90006377183
9B953525A3164B   WILMA            FOSTER                 KS           22022625250
9B954777377537   PAULA            DAVIS                  NV           90006577773
9B955A15844299   SABRINA          SAENZ                  CA           90012440158
9B956468772B62   CAMERON          WARRINER               CO           90006244687
9B95685783B331   LAN              COUMBASSA              CO           90009048578
9B956896691524   MELISSA          LUGO                   TX           90007448966
9B95766435B548   SALLIE           VALENZUELA             NM           90011916643
9B961588381634   ROSA             SILIEZAR               MO           90012015883
9B9615A5972B56   DANIEL           ALMANZAN PRIETO        CO           90010845059
9B96322942B27B   BRANDI           TAYLOR                 DC           90012872294
9B96325417B444   AMBER            TAYLOR                 NC           90011382541
9B9636A5761979   LAUREN           LEVARIO                CA           46072146057
9B96468572B891   ELDAN            HAMZIC                 ID           90014486857
9B965987172B42   MARIA DE PILAR   MEDINA VELAZQUEZ       CO           90011679871
9B969277255957   BRENDA           AVINA                  CA           90013022772
9B96B98A25B371   LARRY            KARASCH                OR           90013159802
9B97274724B588   JUAN             ESTRADA                OK           90012787472
9B973A82A8436B   JESSE            SCHOFIELD              SC           90010450820
9B97559214B588   DARNELL          MYLES                  OK           90012525921
9B975663991399   SAMUEL           MADRIGAL               KS           29044096639
9B9761A9891882   SUSAN            COUNTRYMAN             OK           90011481098
9B978281133698   PAYGO            IVR ACTIVATION         NC           90009452811
9B979558155951   MELISSA          CLAYTON                CA           90013775581
9B97B51239712B   DARRELL          CLINE                  OR           44040195123
9B97B636977537   LILY             HARIAN                 NV           90012516369
9B98157A52B981   DAWN             YANEZ                  CA           90012685705
9B981655385689   SERGIO           ROSARIO                NJ           85017566553
9B98189695B565   GEORGE           MARTINEZ               NM           90003338969
9B98219665B565   OLIVIA           PEREZ-SOSA             NM           90011811966
9B98349698436B   DEBRA            COOLER                 SC           90012384969
9B986175391599   MAURICIO         CAMPUZANO              TX           90010731753
9B986268291521   ALEX             VALENZUELA             TX           90014712682
9B987A78191599   ANDRES           RAMIREZ                TX           75030830781
9B988857555957   JAVIER           MADRIGAL               CA           90014478575
9B98977724B588   SHAYLA           GARRETT                OK           90011167772
9B989793261979   MARIA            TORRES                 CA           90012907932
9B991155981635   ANTONIO          GAITAN                 KS           90015071559
9B991436861977   CAMERON          IBRAHIM                CA           90012094368
9B991838761977   CHRISTOPHER      BURGESS                CA           90013548387
9B99255A391599   JESSICA          RIOS                   TX           90012625503
9B9935AA92B981   STEVEN           CURL                   CA           90007285009
9B99364393164B   CODY             BAKER                  KS           90010926439
9B993AA7461977   TEMY             GONZALEZ               CA           90012350074
9B9948A728B175   KENDELL          MCCALLISTER            UT           90013158072
9B99491645B371   TANYA            BARKER                 OR           90014699164
9B99534518436B   HERBERTO         GARCIA-LOPEZ           SC           90004823451
9B995492881634   MISTY            WHITE                  MO           90008084928
9B996345461977   JONATHAN         MIRANDA                CA           90012803454
9B997A7342B27B   SHAWNTEE         ROWE                   DC           90011060734
9B998392793755   ALEX             JOHNSON                OH           90000993927
9B99931A24B235   CHRISTINA        COSTANZO               NE           27062583102
9B999A23272B42   MENDOZA          ALFREDO                CO           90015190232
9B99B96188B152   LAURA            APARICO                UT           90013259618
9B9B1A4942B27B   LUCIA            MELENDEZ               DC           81050710494
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9B9B2285733698   CASSANDRA      GILMER                   NC           90012692857
9B9B2971431467   MIKO           GRAHAM                   MO           90002429714
9B9B422755B531   REGINA         GARCIA                   NM           90014802275
9B9B4299391882   JUAN           OLVERA                   OK           90003422993
9B9B4882A2B27B   NICOLE         ADAMS                    DC           90001258820
9B9B695A377537   ANDREW         LEEPER                   NV           90011219503
9B9B925968B175   ADAM           SCHWERDT                 UT           90010812596
9B9B963412B27B   RANDY          THOMAS                   DC           90011346341
9B9BB219251342   CASANDRA       DALLAS                   OH           66073742192
9B9BB272755957   MARCELO        DIAZ                     CA           90015182727
9B9BB565677537   STEPHANIE      JARAMILLO                NV           43046985656
9BB1142225B531   LINDA          GARCIA                   NM           35005524222
9BB1289218436B   SAMANTHEIS     CAMPBELL                 SC           90008228921
9BB1353A672B62   NICHOLAS       ALGER                    CO           90013695306
9BB14A98255957   ANDRES         PARRA                    CA           49049770982
9BB1568654B554   SAMANTHA       GREGORY                  OK           90014806865
9BB15895A54197   CHRISTOPHER    HENNESS                  OR           90008738950
9BB16A7435B383   JAMES          WEATHERSPOON             OR           90011010743
9BB18391955957   OSMEIL         AMADOR                   CA           90011193919
9BB19645577537   MAYA           BRITO                    NV           90014786455
9BB19791981634   ARMANDO        FERNANDEZ                MO           90012047919
9BB1B86338436B   TAYLIN         GREENE                   SC           90014118633
9BB1B978972B32   KARLA          QUINTANA                 CO           90013999789
9BB2142673164B   SHARRON        WILLARD                  KS           90013354267
9BB2159367B444   CARLOS         MORALES                  NC           90011845936
9BB22648861979   DANIEL         SALAS                    CA           90011376488
9BB2417422B981   SAMUEL         CAHOW                    CA           90010961742
9BB25371891599   ERIC           GAMBOA                   TX           90003923718
9BB26473672B42   PAYGO          IVR ACTIVATION           CO           90013604736
9BB27165A72B56   EMMANUEL       ORTEGA                   CO           33081461650
9BB2734A92B891   KYLEA          DARRAH                   ID           42043603409
9BB27629A2B981   ALI            ALHOMAIDI                CA           90012356290
9BB281A4A5B565   FIDEL          MALDONADO                NM           90007211040
9BB2839975B531   MARCO          ZUBIA                    NM           90013293997
9BB29A73897B59   DANIEL         GARCIA                   CO           90012390738
9BB2B31715B555   CELIA          DE-ANDA                  NM           90008103171
9BB2B556A3164B   SUSIE          PINO                     KS           22000905560
9BB2B942361979   JANETH         MEZA                     CA           90008159423
9BB32321A61979   BRIELLE        SELLERS                  CA           90010923210
9BB327A3577537   ROSALIO        SALAS- HERNANDEZ         NV           90014787035
9BB3355585B383   DANIELLE       LANEY                    OR           90003095558
9BB34912877537   CLAUDIA        HERNANDEZ                NV           90011119128
9BB3884878B197   EMERY          BRITTANY                 UT           90011638487
9BB3887738B152   HALEY ALYS     WALTERS                  UT           90006688773
9BB39A7A672B3B   LUIS           RODRIGUEZ                CO           90009850706
9BB3B162493755   CHRISTOPHER    DECKER                   OH           90010271624
9BB3B75244B554   CHRISTOPHER    ROBINSON                 OK           90014807524
9BB3BA38272491   JONAH          TRAPUZZANO               PA           90010020382
9BB4217422B981   SAMUEL         CAHOW                    CA           90010961742
9BB422A9A77537   JEREMY         JONES                    NV           90014792090
9BB42687455957   JUAN           OROZCO                   CA           90012966874
9BB45413691599   MARICARMEN     MENDOZA DE RUIZ          TX           90013214136
9BB46325172B42   CRISTINA       ARMENTA                  CO           90010913251
9BB4659935B383   TONY           FLAKE                    OR           90001555993
9BB48381872B56   IRENE          SALVIDREZ                CO           90010843818
9BB48559191951   ALFONSO        ZUNIGA                   NC           90015195591
9BB48612A93778   ALEXANDRIA     ALSUP                    OH           90010176120
9BB5537528B152   KAYLEEN        WRIGHT                   UT           31098273752
9BB55462272B42   EUGENIO        SALAZAR                  CO           90011674622
9BB55847A77537   VERONICA       BARAJAS                  NV           90009128470
9BB56749861977   ELIZABETH      HERNANDEZ                CA           90012707498
9BB57533357561   DIVENA         COVINGTON                NM           90013085333
9BB57729531462   ANNETTA        SYKES                    MO           90001477295
9BB58589A8B175   JANSCOT        TORSON                   UT           90014155890
9BB59219241296   ANDREW         MAKARA                   PA           90014732192
9BB5927315B241   SCOTT          SASTRE                   KY           68059552731
9BB5B23A85B371   AMBER          DANIELS                  OR           90011352308
9BB5B449472B42   JOYCE          BOGAN                    CO           90011674494
9BB62461272B32   JESUS          PEREZ                    CO           90015224612
9BB6264A981635   KENDRA         JACKSON                  KS           90012986409
9BB6271634B235   WILLIAM        LANE                     NE           90004157163
9BB63135191882   CHAMPAGNE      STEWART                  OK           90011251351
9BB6315149712B   AARON          FORD                     OR           90013281514
9BB6344A485689   JOSE           JIMENEZ                  NJ           90005164404
9BB65694497B59   SHANNON        DEVORE                   CO           90013166944
9BB6588875B548   NIXON          PESINA                   NM           90012088887
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9BB66211497B59   BRENDA            VALDEZ                CO           90013152114
9BB69912A81634   BRANDI            KINDRED               MO           90014469120
9BB6B1A8161979   JOSE              ALVARADO              CA           46071241081
9BB6B666693778   GARY              KING                  OH           90008166666
9BB71414677537   SALVADOR          DELALUZ               NV           90014794146
9BB71741993769   RICHARD           PRATT                 OH           90012097419
9BB724A7951328   BIANCA            HOLLEY                OH           90011704079
9BB72A4497B444   IKEYA             WALLACE               NC           90014470449
9BB732A8397B59   JOSEPH            LOUSHIN               CO           90010892083
9BB74156391951   ELIZABETH         SANTOYO               NC           90014111563
9BB74665172B42   JEFFERY           JOHNSON               CO           90011846651
9BB74851861977   DAVID             PEACOCK               CA           90011138518
9BB7551483164B   JORDAN            PEACH                 KS           90013905148
9BB75566772B98   ALECZANDER        SILVA                 CO           90008395667
9BB7724188B175   CARMEN            FLORES                UT           90012902418
9BB7744AA93778   DELIANA           GORGE                 OH           90012184400
9BB78251A41296   DONALD            DEAN                  PA           90014732510
9BB78327497B59   JUSTIN            MCCRELLIAS            CO           90007383274
9BB79785555957   JIMMY             ORDENANA              CA           90006727855
9BB7B44A45593B   JANET             MENDOZA               CA           90009454404
9BB7B484772B42   JARED             WELSH                 CO           90011124847
9BB7B49568B188   SCOTT             BUTLER                UT           90010814956
9BB815A5761879   JASMINE           DOSS                  MO           90014035057
9BB82591733698   TIA               WRIGHT                NC           90011205917
9BB8276214B588   RICHARD           HACKEY                OK           90010977621
9BB8326A18B175   MICHAEL           GOMEZ                 UT           90010802601
9BB8383764B554   IVAN              MELENDEZ              OK           90014818376
9BB8476214B588   RICHARD           HACKEY                OK           90010977621
9BB852AA972B42   ANGELA            WHITMILL              CO           90006962009
9BB8598445B565   TAMMY             PAM                   NM           90011209844
9BB861A7472B29   MICHAEL           JORDAN                CO           33064491074
9BB87432254157   MANDY             LONGACRE              OR           90012404322
9BB87791797B59   AUSTIN            FESSENDEN             CO           90012217917
9BB8814812B891   PETER             NGUYEN                ID           90010801481
9BB88758397B59   KIALEA            WILLIAMS              CO           90004967583
9BB89743751367   TOYKIA            DYE                   OH           90007667437
9BB8B99777B444   TRAVIS            PEARCE                NC           90014689977
9BB91282555957   RICARDO           REYNA                 CA           90011922825
9BB93332661977   SILVIA            RODRIGUEZ             CA           90011063326
9BB95754272B32   NONI              MACHARIA              CO           90001757542
9BB95871597B59   MAXIMO            ESCARCEGA             CO           39043458715
9BB9649583164B   NOA               CERVANTES             KS           90013254958
9BB97356172B32   KATHERYN          OLIVAN                CO           90013723561
9BB9755A861977   VERONICA          CABRERA               CA           90010475508
9BB97912393755   SHAYLEE           SAOYER                OH           90014559123
9BB99A7322B27B   TAK               LAM                   DC           81006430732
9BBB1867691521   YVONEE            DIAZ DE LEON          TX           90011128676
9BBB1A48855951   CASEY             RUIZ                  CA           90012980488
9BBB251415B548   MABLE             CHAVEZ                NM           35096095141
9BBB333A397B59   ANDREA            PETRARCA              CO           90014313303
9BBB4744361977   JASMINE           RAMOS                 CA           90011137443
9BBB4837891951   DAMAR             YATES                 NC           90013908378
9BBB7711648B35   VAZQUEZ           IVONNE                NM           90000127116
9BBB7A2292B891   CLEMENTINE        CYIRAMAHORO           ID           90011150229
B111341A255959   CLAUDIO           CERNA                 CA           90000394102
B1114577A72B69   JUSTIN            BASH                  CO           90002195770
B1115A66355959   JOSE              ORTEGA                CA           48002690663
B1119A43733B4B   TY                LEE                   OH           90014300437
B111BA67255953   GAIL              SANDALL               CA           90014310672
B112181942B941   NICOLE            RANGEL                CA           90012558194
B1125A87933641   JERONA            TRIEGLAFF             NC           90006190879
B112887935B265   JENNIFER          BENNETT               KY           90013658793
B11288A8176B5B   ELVIA             ROMAN                 CA           46062238081
B113242178B531   CARLOS            LUNA                  CA           90014094217
B1132716893758   BILLY             KRAFT                 OH           90004617168
B113288A35B327   JAMES             PARKER                OR           90003128803
B1135637155953   MARIA GUADALUPE   AMBRIZ JASSO          CA           90012276371
B113611332B248   STEPHEN           BARNES                DC           81093201133
B1136391524B3B   YANIRA            MORENO                DC           90013623915
B1136436772B69   ALEX              DIAZ                  CO           90000934367
B1137434585927   CAROLYN           JENNINGS              KY           90012694345
B1137986831639   KALEB             SHOCK                 KS           90014449868
B1141325155953   RONALD            BRIGHTWELL            CA           48088533251
B1143895955959   GILBERTO          RANGEL                CA           90008748959
B114573512B941   SCUBA             STEVE                 CA           90012997351
B1145765172B62   JOH               DAVIS                 CO           90003917651
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B1146966655953   ERICA          OROSCO                   CA           90011349666
B114796A62B271   DARNEVON       RAY                      DC           90004689606
B1148524555953   JUSTIN         STEPHENS                 CA           90007265245
B1148766991257   ERIN           MAPLES                   GA           90011997669
B1149837633635   JENNIFER       CANNON                   NC           90015188376
B1152933985927   ELIZABETH      PENCE                    KY           90013279339
B1154AA9276B27   HUTCH          HUTCHINSON               CA           90013000092
B1156528455959   KEVIN          HARRIS                   CA           90005255284
B1156996484373   JULIE          TURNER                   SC           90011759964
B115748477B489   SHEANDRA       PERRY                    NC           90014974847
B115788213B164   ELBA           CIFUENTES                VA           81044778821
B115856143363B   CANDACE        WALSER                   NC           90014615614
B115931482B248   JASPER         FERRELL                  DC           90006223148
B115956275B349   JOSH           BOWEN                    OR           90001275627
B116144385B265   SCOTT          LEE                      KY           90013784438
B116312A485927   LOLETA         INGRAM                   KY           67079341204
B1163758493745   JOHN           LAMONICA                 OH           90010617584
B1164435A2B857   DINA           SANCHEZ                  ID           42019764350
B1167157693745   LACEY          WELLIFORD                OH           90009901576
B1167328531639   KEYA           PEARSON                  KS           90009403285
B1169934531639   CELIA          GARZA                    KS           90014779345
B116B21A372B4B   ELEANOR        MENDEZ                   CO           90011032103
B117356143363B   CANDACE        WALSER                   NC           90014615614
B1174187193758   SAMANTHA       LINE                     OH           90011181871
B117567452B248   CHARISSE       DORSEY                   DC           90012146745
B1177781391257   SHARLOTTE      HALLFORD                 GA           90011147813
B1177899454B94   TYRONE         ADAMS JR                 VA           90013348994
B118155562B857   CHRISTINA      MELLEMA                  ID           90006135556
B1181984255947   ANGEL          AGUAYO                   CA           90014709842
B1182481397124   JASMINE        SANCHEZ                  OR           90011874813
B1184475A2B857   ERIC           QUINTERO                 ID           90014164750
B1184768297124   AMANDA         ARNOLD                   OR           90008867682
B119125245B389   JOSE           DIEGO                    OR           90006542524
B11925A1972B62   SUSAN          GREEN                    CO           33091405019
B119351157B489   NANCY          GRAHAM                   NC           90013535115
B1195671251339   RHONDA         CARTER                   OH           90010496712
B1195877433643   STACY          PAYNE                    NC           90009498774
B1197268272B62   KRISTI         ARELLANO                 CO           90012802682
B119823A355953   KENDRA         GEAR                     CA           90014962303
B11B151AA97124   GUSTAVO        DIAZ                     OR           90010095100
B11B1A4317B489   WENDY          TUNNELL                  NC           90013210431
B11B3224476B27   AARON          VAN DOLSON               CA           90010712244
B11B4594297124   MICHAEL        GILLIAM                  OR           90012055942
B11B46A6676B27   CHERYLE        MCIVER                   CA           90014006066
B11B7637393745   CHRISTOPHER    CHOBOT                   OH           90010326373
B11B8727455959   ANTONIO        HERNANDEZ                CA           90012877274
B121219684B283   LOUIS          ZENDEJAS                 NE           90012491968
B12125A6A91257   TOMMY          JEFFREY                  GA           90012055060
B1213646876B27   JOVANNI        MARTINEZ                 CA           90015306468
B121623A92B248   LINDSAE        TIFFANY                  DC           90012842309
B121755615B265   AMELIA         JEFFERSON                KY           90013765561
B1218891793758   NOAH           LOWE                     OH           90013938917
B121B127133635   DEANA          OWENS                    NC           90014581271
B121B16145B269   VICKIE         WEST                     KY           68040951614
B1222234477553   JOHN           SATTERFIELD              NV           90012122344
B1222428177553   JOHN           SATTERFIELD              NV           90011884281
B122261A455953   ANAYA          PATRICK                  CA           90008396104
B1223949755953   GONZALO        PEREZ                    CA           90011999497
B1224434193758   MICHAEL        PARKS                    OH           64574984341
B1224645291257   DAVID          LIVINGSTON               GA           90011466452
B1224A7642B941   DANIEL         NIEBLAS                  CA           90012230764
B1225442797124   ISABEL         CARRILLO                 OR           90013504427
B1229729A5B396   ASUNCION       CABALLERO VASQUEZ        OR           90012317290
B1231456676B27   EDWIN          GREGORIO SANTOS          CA           46043404566
B123146782B248   ROSIE          RAMIREZ                  DC           90014494678
B123189118B12B   LYNN           PETERSON                 UT           90008268911
B1233411955959   JOSE           HERNANDEZ                CA           90013924119
B1233946424B44   LEEZA          HENRIQUEZ                MD           90013149464
B1235842655953   EMA            RUIZ                     CA           90012868426
B1236328A54B94   ABDULAZIZ      ALBIKAIRI                VA           90011193280
B1236645372B69   IRENE          SEGURA                   CO           90000356453
B1238887193745   JAMES          VANHOOSE                 OH           90011068871
B123982A655953   ANGELICA       LOERA                    CA           90001148206
B123B49A876B27   GORGINA        CAPIRSTO                 CA           90014814908
B1242718A93758   BRANDY         TAYLOR                   OH           90012967180
B1242798176B27   JULIA          RIVERA                   CA           90012007981
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B1243721591257   KEVIN          MILIAN                   GA           90011227215
B1244823455953   JUAN           RODRIGUEZ                CA           90012738234
B124555A933635   TREVOR         PETTIFORD                NC           90009755509
B1249157393752   MICHAEL        FERLOW                   OH           90010861573
B1249583393727   TARA           ATKINS                   OH           90000835833
B1249835493752   MISTY          VIVIANO                  OH           90013658354
B125127525B194   SHAMIKA        BOXLEY                   AR           90014822752
B1251A49A5B396   KRISTIN        HOARD                    OR           90010930490
B125377482B941   FIDENCIO       ZARAGOZA                 CA           90006417748
B1253A37A93745   JEREMY         FLOWERS                  OH           90013540370
B1254345355959   BERENICE       ZAMUDIO                  CA           90006093453
B125452272B857   RACHEL         NASH                     ID           90014765227
B125648395B396   ARNALDO        PARDO                    OR           90008644839
B1257115991978   TRADISHA       REID                     NC           90009341159
B1257A73893745   STACY          HARRISON                 OH           90011050738
B1258958355959   ALEJANDRO      RODRIGUEZ                CA           90013249583
B125935975B799   EULOGIO        MORENO-CRUZ              MN           90015053597
B125B372354B94   DARRELL        CALLOWAY                 VA           90010413723
B1261826972B62   AARON          GREEN                    CO           90010638269
B1262934676B27   TRAM           PHAM                     CA           90010249346
B1263631851324   LASHELLE       SHABAZZ                  OH           90007506318
B1263857785927   DENISE         WILSON                   KY           90012128577
B126423A476B27   PHILLIP        ROMERO                   CA           90014352304
B12667A443363B   TERESA         DAY                      NC           90008667044
B1269963191973   CARLOS         ORELLANA                 NC           90005899631
B126B367993727   SANDRA         AREVALO                  OH           64554403679
B127174422B857   JESSICA        HOWINGTON                ID           90013157442
B127224122B26B   TERESA         JACKSON                  DC           81004492412
B1273261993758   REASHON        BATTLE                   OH           90008872619
B1273618A93738   LAQUISHA       WRIGHT                   OH           90010966180
B1273945A55959   NICOLE         LICEA                    CA           90010929450
B127588A885927   MICKEY         BRUNER                   KY           67085178808
B12762A7972B28   DEREK          ANTHONY MARTINEZ         CO           90001172079
B1278126555959   JOSE           ESPINOZA                 CA           90012521265
B127BA88285927   RACHEL         WASHINGTON               KY           90012000882
B1282224931639   MARY           BELL                     KS           90013192249
B1286634193727   KEITH          MCGUFFIE                 OH           90009476341
B128B6A515B265   CANDACE        CLARK                    KY           90009816051
B129172132B941   AUCELIA        FAGUNDES                 CA           90012137213
B129318873363B   KAREN          LOWERY                   NC           90014621887
B129376315B396   GRACE          AMOO                     OR           90012387631
B129418212B248   DANNY          WORTHAN                  DC           90012561821
B129438615B327   DAVID          BROWN                    OR           90010943861
B129444212B941   KRISTY         AVALOS                   CA           90013404421
B1294A3292B857   TIMOTHY        BELAU                    ID           90012180329
B1296463655972   SAUSHA         DIXON                    CA           90008844636
B129692213363B   CARRIE         WISE                     NC           90014739221
B129694292B232   RONALD         BRADFORD                 DC           81011869429
B1297695433635   MELKIS         MORALES                  NC           90014706954
B129825883363B   CIARA          REDFEARM                 NC           90013932588
B1298629393727   RACHEL         HERMAN                   OH           90006766293
B1299851971931   ISABELLA       BIERI                    CO           32031558519
B129B88245B265   ANGEL          LATHAN                   KY           68033948824
B12B3286691257   JUSTIN         POULSEN                  GA           90010762866
B12B6A3745B269   MARIE          EDWARDS                  KY           90001870374
B12B87A9941243   MOHAMED        ALI                      PA           90009497099
B12BB969455959   ALEXANDRIA     MURILLO                  CA           90014639694
B1314316893752   TAMMY          ARNOLD                   OH           64511413168
B13182A7955959   SONIA          HUERTA                   CA           90005902079
B1318662676B27   LUIS           LOPEZ                    CA           90012896626
B1319A37A93745   JEREMY         FLOWERS                  OH           90013540370
B1321429872465   DANIELLE       ALLEN                    PA           90009214298
B132213722B248   LINDSEY        FINN                     DC           90013861372
B1323617772B69   BRENNA         HALL                     CO           90014576177
B1323743655953   RICKEY         GARCIA                   CA           90013217436
B1323919A2B941   CHULIZ         RWC                      CA           90015139190
B1324844391972   OMAR           RUIZ                     NC           90009248443
B1328991993758   YUMAN          WEI                      OH           90013939919
B132B72832B945   MIGUEL         OLIVARES                 CA           90009957283
B132B754293746   RALPH          EVANS                    OH           64530847542
B1331216193752   BRANDON        SHANKS                   OH           90012872161
B1335232876B27   LAURA          FONSECA                  CA           90008242328
B133571432B248   TANGELA D      LIDDELL                  DC           90013617143
B133645175B327   YOJANA         RODRIGUEZ VALLEJOS       OR           90010374517
B1336A74A76B27   JULIE          DELGADO                  CA           90012740740
B133722184B243   JOSEPH         BYLER                    NE           90012712218
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B1337995433635   CYNTHIA        MORALES                  NC           90010119954
B13393A6633635   KELLY          ALLEN                    NC           90014743066
B133964A15B265   TAKEYA         WEAKLEY                  KY           90007816401
B133B357854B94   CRYSTAL L      DODSON                   VA           90011613578
B133B975693727   BRENT          SNYDER                   OH           64514829756
B1341615772B62   BETH           BLIZZARD                 CO           90013536157
B1341A2A82B248   LASHAWN        LEWIS                    DC           90011870208
B1343555376B27   STEVE          BACA                     CA           90012375553
B1344369591353   RANDOL         CONE                     KS           90008453695
B1344722372B62   LEROY          DIAZ                     CO           90010667223
B1345A2115B265   SHANE          KENDALL                  KY           90009270211
B13479A2155973   MARTIN         LOPEZ                    CA           90008059021
B134898895B327   PAMELA         LAULAINEN                OR           90012689889
B1349374293758   TAMMY          DECKARD                  OH           90014113742
B134937482B857   VICKY          HEREDIA                  ID           42079483748
B1349931193764   ANNELIESE      BLACKBURN                OH           90007179311
B1354195893727   BRANDON        EMBRY                    OH           90006581958
B1355324372B69   CAROL          GALVAN                   CO           90013663243
B1355717341278   TRICIA         CARTER                   PA           51085747173
B1355896633635   KENTRELL       FULLER                   NC           90014758966
B1355943624B3B   CARLOS         JACKSON                  DC           90014569436
B135813975B265   TERESE         HENDRIX                  KY           90013401397
B135825857B489   ALFREDO        MENDOZA                  NC           90012112585
B1359118455947   EDWARD         CHILDRESS                CA           90014981184
B1359744A97124   DAVID          YOUNG                    OR           90010327440
B135B81652B248   NELSON         MENJIVAR                 DC           90012688165
B1362381855947   KENDALL        FINCHER                  CA           49074243818
B136414715B541   BLACNA         ZAPATA                   NM           90013451471
B136564235B265   TARA           SMITH                    KY           90014106423
B136661485B396   LAETITIA       YELENGANOU               OR           90002476148
B1368975143288   RAYMOND        ARENIVAS                 NM           90013679751
B1368AA477B489   OSCAR ADRIAN   GALICIA LOPEZ            NC           90013890047
B1369224931639   MARY           BELL                     KS           90013192249
B1369467472B62   PEDRO          RIVERA                   CO           90015184674
B136B188455959   RENE           REBIA                    CA           90012681884
B136B276172B62   TEMPLE         MONTOYA                  CO           90009872761
B1372219993752   HEATHER        RYAN                     OH           90013692199
B13725A7955947   MICHAEL        CLARK                    CA           90012795079
B1374415497124   JOHN           TIMOTHY                  OR           44014444154
B1376962731639   SHANTIA        SUNDERLAND               KS           90014269627
B1377279493752   CHANELLE       DAVIS                    OH           90014042794
B1379721233635   TONY           COUSIN                   NC           18063797212
B137B18617B493   MARIA          BARAHONA                 NC           90009221861
B137B796585927   DEANTE         HILL                     KY           90010847965
B137BA66793745   KEISHA         MARSHALL                 OH           90013540667
B138392752162B   MI MEE MEE     LAY                      OH           90013829275
B138444A655959   MANUEL         MARAVILLA OCHOA          CA           90001184406
B138512862B857   JANICE         WARD                     ID           90014591286
B138683212B248   DONOVAN        HINNANT                  DC           90014768321
B1387A9A793745   STACY          DANIELS                  OH           90006080907
B1389681A2B857   MARIA          GARCIA                   ID           90013676810
B138B718576B27   GEORGINA       CAPRICIO                 CA           90014277185
B1391343855959   VICTOR         CONEJO                   CA           90010923438
B1395236193745   DARRIUS        EVANS                    OH           90013902361
B139645A555959   YARID          FLORES                   CA           90013434505
B1396974255947   SHELIA         ARWOOD                   CA           49018379742
B1398692955947   MARIA          HERNANDEZ                CA           90011696929
B1399192276B27   PAULETTE       FAJARDO                  CA           90005271922
B13B1558585927   DAVID          MOYES                    KY           90015175585
B13B2A26176B27   NATHAN         PILLEN                   CA           90000460261
B13B398332B26B   BERTINA        RANSOM                   DC           90009059833
B13B473122B248   ANTHONY        STRADFORD                DC           90008707312
B13B53A535B265   LAWRENCE       WILSON                   KY           90011203053
B13B5634591257   TODGE          JACKSON                  GA           90012056345
B13B5718A5B396   TONDA          SMITH                    OR           90014987180
B13B5921661429   JONATHAN       WORDLAW                  OH           90014099216
B13B6546A33635   KEON           MOSER                    NC           90014715460
B1413711272B69   JOSE LUIS      MANDEZNIETO              CO           90011877112
B141656245B265   HAROLD         DOUGLAS                  KY           90013615624
B1416843197124   EDWARD         ALBERT                   OR           90009638431
B141717683363B   ERIC           PAYNE                    NC           12068211768
B14179A2293771   NOAH           BEHN                     OH           90009399022
B141816372B26B   SHANEKA        DAMMONS                  DC           90011341637
B141B753A2B941   ALEXANDER      PEREZ                    CA           90007257530
B141BA88676B27   MARICELA       MARTINEZ                 CA           90013970886
B1421565584353   MONTEZ         JOHNSON                  SC           90013325655
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B14239A1A97124   DUANE          RUTHERFORD               OR           90012049010
B1424675693752   JAMAICA        SIROKY                   OH           90008656756
B1425A56893745   SHALENE        RADFORD                  OH           90014790568
B1426314285964   JUSTIN         LOUDEN                   KY           90000143142
B1428241893752   PAUL           LONG                     OH           64526842418
B142846A655959   TERRY          KALA                     CA           90013244606
B1429AA3993752   SARAH          KUKDAY                   OH           90013360039
B142B18A872B62   MADELINE       PEREA                    CO           90010831808
B142BA96154B94   ANTHONY        LEWIS                    VA           90012030961
B1431628A54B94   SUHEYLI        PADILLA                  VA           90014676280
B1434613A2B248   RENEE          HAWKINS                  DC           90007536130
B14355AA997124   GABRIELA       ROMERO                   OR           90010985009
B1436273955947   ERIC           DELGADO                  CA           90013142739
B14378A7585927   CHRISTOPHER    KARAGO                   KY           90004518075
B1437923731639   CASIMIRE       JUAREZ                   KS           90010969237
B1437932133635   JAEL           ALVAREZ                  NC           90011049321
B143854865B265   DOUGLAS        WORTH                    KY           90012385486
B1441578955953   MICHELLE       YORK                     CA           90013495789
B1443184A93745   TODD           DELONG                   OH           90013261840
B144347315B327   HEIDI          SERRANO-GUTIERREZ        OR           90011854731
B1444924A41248   WILLIAM        WEISHORN                 PA           90005809240
B1445195955953   ROMANY         MEDINA                   CA           90010971959
B144691645B269   THERESA        LESLIE                   KY           90003399164
B1447523A55947   ANA            CALDERON                 CA           90012795230
B1447794376B27   RODOLFO        BANUELOS DE LA ROSA      CA           90010707943
B1448246376B27   MONICA         ORTIZ                    CA           90010972463
B144961652B941   GABRIEL        CHAVEZ                   CA           90011116165
B1449775655947   SUSAN          KAPRIELIAN               CA           90011697756
B144B6A1A55959   ANNA           NUNEZ                    CA           90014626010
B144B984A55959   JOSE           RODRIGUEZ                CA           90012119840
B1451299297124   MILES          MURRAY                   OR           90010312992
B1451583793745   BRIAN          EDWARDS                  OH           90012015837
B145367977B489   LATOYA         ANGRAM                   NC           90014756797
B145476537B449   RUY            SANDOVAL                 NC           90014497653
B1455144276B27   GISELLE        GARCIA                   CA           90012431442
B145665515B327   MANUEL         FLORES ZALDANA           OR           90010476551
B1457238972B62   ROMAN          GONZALEZ                 CO           90012402389
B1457494272B69   MAXIMO E       ROSA                     CO           90004144942
B145785A376B27   JUAN           LOPEZ                    CA           90013178503
B1457921672B69   CESAR          BRENA                    CO           90013549216
B1461247455927   ANGELICA       TETUAN                   CA           90008312474
B1463393531639   SHARLA         DEANNE                   KS           90010333935
B1464823891573   SERAFIN        LOPEZ                    TX           90011738238
B146873142B941   MELISSA        ADAMS                    CA           90013137314
B1468838855953   NICHOLAS       SILVERIA                 CA           90013298388
B146B841291978   BERNARD        NYAMBANE                 NC           90002818412
B14731A822B857   HOSSEINI       FATEMEH                  ID           90010081082
B147888A655953   JOSE           VARGAS                   CO           90013568806
B1478A3842B248   VERONICA       ANDREWS                  DC           90012460384
B1478A7973363B   GEORGES        WASOUF                   NC           90010280797
B148138A554B94   RYAN           KENNEDY                  VA           90015163805
B1481419484373   JAYE           SMITH                    SC           90010014194
B148375892B26B   FRANCESCA      MORRIS                   DC           81065497589
B14862A8355959   IMELDA         BALDAZO                  CA           90000892083
B148772962B941   SHANE          JAMES                    CA           90013827296
B1487932133635   JAEL           ALVAREZ                  NC           90011049321
B148B7AA555959   GURPREET       KAUR                     CA           90001407005
B14923A182B248   SHENEICE       LASSITER                 DC           90012463018
B149546282B941   JOSHUA         NORDYKE                  CA           90013054628
B1498238155947   PEO            IEM                      CA           90014722381
B149B815991257   EMMANUEL       OKUDARE                  GA           90010608159
B14B252A993745   AMANDA         HAERR                    OH           90011025209
B14B2598372B69   NICOLE         WILLIAMS                 CO           90011115983
B14B261A933635   JENECIA        HARRIS                   NC           90011156109
B14B7231654B94   CHRIS          BILLINGSLY               VA           90014252316
B14B8899A93758   ROBERT         BRENT                    OH           90013968990
B14BB47635B382   SUSANNE        MARIE                    OR           90008294763
B1511188955959   LILIANA        BUCIO                    CA           90012621889
B151147315B327   HEIDI          SERRANO-GUTIERREZ        OR           90011854731
B151174652B857   MATHEW         GRETZNER                 ID           90013367465
B151225412B857   ENRIQUE        RAMIREZ                  ID           42047132541
B151276A654B94   JOANN          BOONE                    VA           90010537606
B1513611472B62   MARK           PACHECO                  CO           90014646114
B1514258855959   TED            ROBERTS                  CA           90011682588
B151739475B265   RHIANNON       MOTT                     KY           90013983947
B1517575355959   MIGUEL ANGEL   RIVERA SALAZAR           CA           90008775753
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B1519524155947   KEYSHA           RODGERS                CA           90010905241
B1521A35872B27   TED              TAPPARO                CO           90012330358
B1522546854B94   ALICIA           FORTUNE                VA           90015275468
B1522A78593745   AMY              STEINHAUER-SANDERS     OH           90012190785
B152426A197124   HECTOR EDUARDO   ESTEVEZ REYES          OR           90013052601
B152546685B534   LOPEZ            JESUS                  NM           90006604668
B1525849693752   MARCUS           BURCH                  OH           64512998496
B152646685B534   LOPEZ            JESUS                  NM           90006604668
B1527367455953   ANNETTE          BRUCE                  CA           90012793674
B152986A53363B   ALEJANDRA        CARRILLO               NC           90014718605
B153114542B941   MARIA ELENA      CASTILLO               CA           90011181454
B1531385676B27   ATENAS           MONZALVO               CA           90010953856
B1532222572465   DONNA            PLAISTED               PA           51095402225
B15326A8A55947   LUIS             SANCHEZ                CA           49029006080
B153526292B941   WENDY            ESTRADA                CA           90012582629
B153554997B32B   JUANA            CAMPOS                 VA           90011045499
B1535636593758   ASHLEY           DARST                  OH           64577646365
B1535957A3363B   TERENCE          BARRIET                NC           90014339570
B1536893A72B69   LUIS MIGUEL      GARCIA                 CO           90014438930
B1537216455959   FERNANDO         VARGAS                 CA           90012622164
B1537931A2B857   MANUELA          SOSE                   ID           42094929310
B1539449155972   ELIZA            FERNANDEZ              CA           49071724491
B1541934531639   CELIA            GARZA                  KS           90014779345
B15447AA25B327   RYAN             DEATHERAGE             OR           90015247002
B1545325255947   ARMANDO          MORALES                CA           90014733252
B154665692B248   LATISHA          FINCH                  DC           90013186569
B1549268655947   LEOPOLDO         ALTAMIRANOGARCIA       CA           90014722686
B1549341476B27   ROSA             ZANELLA                CA           90006023414
B154971282B248   SHAQUITA         DAVIS                  DC           90013827128
B154B413155947   LORRADE          STOOPS                 CA           90014384131
B154B752355953   JENNIE M         HORN                   CA           90003177523
B1551683772B62   LUIS             TRIANA                 CO           90012456837
B155444A35B327   SHANNON          SCHIEDLER              OR           90007354403
B155472155B327   JESSICA          LARSEN                 OR           90009997215
B155655A35B396   ANGELA           WILLIAMS               OR           44569745503
B155723822B248   MARGUERITE       OLIVER                 DC           90012842382
B1559A42655972   WAYNE            RANSIER                CA           49021080426
B1561487357552   PAUL             MCBRIDE                NM           90008524873
B156187195B572   MELODY           JONES                  NM           35057128719
B1565A35255947   ANDREA           RUSBOLDT               CA           90012370352
B1566561855953   LETICIA          MARTINEZ               CA           90012605618
B1566617772B69   BRENNA           HALL                   CO           90014576177
B156884972B248   ANNETT           MCCRAY                 DC           90014898497
B1568A55A5B327   STEPHENIE        REYNOLDS               OR           90014510550
B156955A255947   MANUEL           BARRAZA                CA           90001475502
B1569A59291257   THOMAS           WILLIAMS               GA           90011700592
B15723A465B327   ANTONIO          LUCATERO               OR           44594723046
B15741A4A72B69   ANYA             BOYD                   CO           90012841040
B157498A45B396   KRISTA           MONROE                 OR           90012499804
B1575581855959   MIGUEL           SALAZAR                CA           90010995818
B1576364397124   NORMA            RODRIGUEZ              OR           90009953643
B1577882A93745   NICOLE           CONLEY                 OH           90013958820
B1578692855953   JOSE             PEREZ                  CA           90001006928
B157935A555947   NINA             NUNEZ                  CA           90012413505
B157964257B489   MYETTA           HARRIS                 NC           90013546425
B1582143A2B248   NASHEIKA         WILLIAMS               DC           90014691430
B158432732B248   LAMONT           WHITNEY                DC           90012733273
B1585614461937   ROBERTO          CARLIN                 CA           90004566144
B158571275B265   DERAY            CHESTER                KY           90012767127
B1586498555953   DUSTIN           HALEY                  CA           90014824985
B1586565584353   MONTEZ           JOHNSON                SC           90013325655
B158668A37B489   LUIS ALBERTO     CASTILLO MORA          NC           90013806803
B158821682B941   JUAN             PINEDA                 CA           90011212168
B1592196A93745   BUFFEE           REIGELSPERGER          OH           90010011960
B1592916176B27   JOHN             WALKER                 CA           46096809161
B1593287A5B327   AMANDA           HILL                   OR           90006562870
B159544A455953   JANET            MENDOZA                CA           90009454404
B159917A393745   DARIENNE         JOHNSON                OH           90011121703
B15B336912B248   MICHELLE         BAILEY                 DC           90005053691
B15B5936385927   JESUS            HERNANDEZ              KY           90015339363
B15B6373997124   SANTOS           SOSA GONZALEZ          OR           90014553739
B15B7A99172B69   DOUGLASS         HERNANDEZ              CO           90010780991
B15B8499555959   LUPITA           HERNANDEZ              CA           90010844995
B15B86A985B396   BRETT            ESPELAND               OR           90004356098
B15BB82657B443   OCTAVIA          BLACKMON               NC           90012228265
B1612A17A33635   EVA              ESPINOZA               NC           90007530170
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B16151AAA33635   PRINCESTON     WESLEY                   NC           90011121000
B1615A49855953   MERCEDEZ       GONZALEZ                 CA           90005080498
B1616492176B27   ARACELI        FILARES                  CA           90013944921
B1617127955953   SANDRA         CONTRERAS RIVERA         CA           90012241279
B1617249672B62   GREGORY        OPPERMAN                 CO           90015012496
B1618292655953   ANTONIO        PEREZ                    CA           90012412926
B161838388B12B   TRISH          EGGETT                   UT           31014293838
B161842313363B   CHARLES        VESS                     NC           90013084231
B161847312B23B   LATOYA         EDWARDS                  DC           90014914731
B1619419376B27   JUAN           BARRERA                  CA           46093254193
B161B38483363B   CRYSTAL        NUNN                     NC           90003063848
B161B83735B548   ELIAS          GARCIA                   NM           90007608373
B162178A25B396   JESSICA        STOURD                   OR           90010657802
B1622563197124   FREDERICK      CASNER                   OR           90009915631
B1625171785927   BREANNA        BOND                     KY           90009761717
B1627166855947   ANGELIQUE      FERNANDEZ                CA           90012911668
B1628A96272B69   NICHELLE       CHAMBERS                 CO           33092850962
B1629966276B27   ERIKA          LOPEZ                    CA           90014299662
B162B15192B941   SIMERJEET      SINGH                    CA           90010271519
B162B914376B27   STEPHANIE      MIRANDA                  CA           90012059143
B16329A2A55953   MARTIN         RODRIGUEZ                CA           90014909020
B1632A7262B857   MELISSA        HODGES                   ID           90001260726
B16343AA576B27   ASUSENA        IBARRA                   CA           90013743005
B1634A95331639   SHERI          GONZALEZ                 KS           90014750953
B163577962B857   THOMAS         FREINWALD                ID           90014707796
B163644152B248   JAAMONTAE      JETER                    DC           90014714415
B1637A78593745   AMY            STEINHAUER-SANDERS       OH           90012190785
B1638986655947   ALICIA         URBIETA                  CA           90012089866
B163974457B489   BETTY          LOWERY                   NC           11089307445
B163B61A331468   KARA           SHEPERD                  MO           90001176103
B1642551A24B3B   MICHAEL        GARDNER                  DC           90001095510
B1645842831639   TONISHA        MANYAGA                  KS           90015218428
B1645896631639   MARIBEL        ANDRADE                  KS           90010128966
B164595755B265   TERRI          CLAYTON                  KY           90014299575
B1646879893745   ANTHONY        CONLEY                   OH           90013958798
B1648358931639   FRANCES        GONZALEZ                 KS           90012373589
B1648761172B62   MATTHEW        NOLAN                    CO           90014917611
B1649A7652B857   STEVEN         WHITE                    ID           90012560765
B1651342193758   STEVEN         MERCER                   OH           90014623421
B165247623363B   DALE           HARGRAVE                 NC           90009344762
B1652514372B62   JOHN           DORCHAK                  CO           33039295143
B1653979772B62   JOAQUIN        GARDEA                   CO           33072589797
B16542A5393745   VALERIE        DEANN HENSLEY            OH           90013772053
B1655423233635   SILVIA         HERNANDEZ                NC           90011204232
B1655871A55959   CONCOPCION     MENDOZA                  CA           90009898710
B1656513172B62   MARLON         MEZA MENDEZ              CO           33052105131
B16585A8385927   JUAN           HERNANDEZ                KY           90014685083
B165935662B248   NZINGA         LOUIS                    DC           90001723566
B1664124172B69   DONNA          LUERAS                   CO           90014541241
B1665372255947   ROSAURA        MIRAMONTES               CA           90014733722
B166959A855953   ELISSA         GORDON                   CA           90011925908
B1669785972B62   ALLEN          LAWLER                   CO           90011667859
B167334372B248   SHINIQUA       BRADY                    DC           90010263437
B1674491772465   WESTLEY        ASTON                    PA           51094954917
B167563835B549   MEGAN          SAIZ                     NM           90013286383
B1675721397B98   SONYA          COLEMAN                  CO           90013397213
B1677738855959   HERIBERTO      GARCIA                   CA           90012627388
B167B285A5B396   STEPHEN        ASHER                    OR           90013462850
B168359A15B265   CHRIS          MILLER                   KY           90009575901
B1683943893758   ELDONWAN       LONG                     OH           90012589438
B1684789855947   DERRICK        MANNIUGS                 CA           90011707898
B1684966276B27   ERIKA          LOPEZ                    CA           90014299662
B1685411797124   JEFF           STALNAKER                OR           90012044117
B1685444184383   MARCO          GALVEZ                   SC           90010154441
B1687753693752   ALTHEA         DENISE                   OH           90014917536
B1691149397124   CARMEN         BARBOSA                  OR           90012621493
B169197183363B   RANDALL        RYALS                    NC           90012069718
B169274A293745   DEMETRIUS      TRAYLOR                  OH           90012407402
B1695A58255947   KATHY          WOODWARD                 CA           49042320582
B1696A75A5B265   JEANNETTE      RODRIGUEZ                KY           90013590750
B1697529497B42   PAUL           BROUILLARD               CO           90002315294
B169B656572B69   MARIANA        PEREZ                    CO           90013846565
B169BA29493727   CHANDRA        DUNIGAN                  OH           64573080294
B16B279762B941   HUGO           PADILLA                  CA           90013057976
B16B2A44A9194B   ANGELA         WILLIAMS                 NC           90002510440
B16B8291A93727   DASHA          JONES                    OH           90008472910
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B1711154155953   ROSEMARIE         TAMAYO                CA           90011071541
B171123893363B   JADE              STRAITER              NC           90012752389
B1713A67A2B246   MARIA             CASTRO CRUZ           VA           90006310670
B1714253A2B248   ALINA             JOHNSON               DC           90005472530
B171576642B941   VICKY             HERNANDEZ             CA           90009197664
B171615127B489   FIDELINA          BARTAZAR              NC           11056781512
B17175A6793745   UVALDO            GONZALEZ              OH           90012115067
B1718662891248   ANTWAAINE         SNITE                 GA           90006526628
B1719626A76B27   ALVARO            BARRIOS               CA           46067796260
B171B81473363B   BOSS              GENREAL               NC           90012868147
B171B973776B27   NICK              SALDANA               CA           90014119737
B1721178993758   CAROLYN           WILLIAMS              OH           90010891789
B1721531131639   VICTOR            CHAVEZ-PARGA          KS           90007855311
B17233A3876B27   LOURDES           VILLAGRAN             CA           90012593038
B1723482755947   CHRISTOPHER       RIVERA                CA           90014734827
B1725448355953   MARY              MOYER                 CA           90010284483
B172567A42B941   NENA              OLIVA                 CA           90014026704
B1726178993758   CAROLYN           WILLIAMS              OH           90010891789
B17266A6976B27   DAYANIRA          RESENDIZ              CA           46025616069
B1728A32684373   DARESSE           SAULTERS              SC           90007000326
B172B289193745   JESSICA           MONEY                 OH           90014982891
B172BA4547B489   JASIEL            SOLOREUNO             NC           90013520454
B1731236193745   DARRIUS           EVANS                 OH           90013902361
B1731451193745   TARA              CARON                 OH           90011024511
B173B8A485B265   DANIEL            SNAWDER               KY           90013178048
B1743935891978   MAEKELE           YEIBIYO               NC           17098739358
B1744975393727   SHELIA            MAZE                  OH           90006739753
B1746253285927   STEPHANIE         TAYLOR                KY           90011052532
B174968135B327   MOHAMMAD          JAMA                  OR           90014066813
B174B22A92B857   TIM               DUNBAR                ID           90007242209
B1751639976B27   ALFREDO           MARQUEZ               CA           90013016399
B1751911584373   RAYMOND           HOLLIBAUGH            SC           90013679115
B1756237755972   CHEYANNE          COLITTI               CA           90002482377
B17579A1355959   LLUVIA            CABRERA               CA           90010299013
B1761727793752   EUGENE            ALRIDGE               OH           90010847277
B1766169693745   LYNNETTE          LAWSON                OH           90011391696
B176626945B396   BLAKE             JESSUP                OR           90013312694
B17733A635B265   LEANN             PHEPLS                KY           90014713063
B1773521161429   DANIELLE          GORE                  OH           90014105211
B1774254355947   ALEX              GONZALES              CA           49008872543
B177532835B265   LAURA             GARCIA                KY           90011103283
B178132843363B   MICHELLE          BORDEN                NC           90012753284
B178167313363B   BRIAN             POTTS                 NC           90011666731
B1782365572B62   JESSICA           IMPOLA                CO           33009803655
B178484A955947   ERICKA            BRIMMER               CA           90013428409
B178534465B396   TARA              CLIFFORD              OR           90014033446
B17853A3A97B29   PAUL              GREEN                 CO           90011183030
B1787947855959   EUSELSIO          GOMEZ                 CA           48020049478
B1787A6147B489   DEZIRA            BAXTER                NC           90013510614
B1788492531639   TAMMY L.          WILLARD               KS           90012504925
B1789165A93745   AARON             DANIELS               OH           90011851650
B1792799793752   SHALARON          WHITE                 OH           90014727997
B1793247255953   JESUS             BUSTAMANTE            CA           90011262472
B1796833293752   DEANNA            SHIFFERT              OH           64537208332
B1798793733635   MICHELLE          BISHOP                NC           90012717937
B179887935B265   CLARA             WRIGHT                KY           90006448793
B179922842B26B   VICTOR            BALL                  DC           90011522284
B179B25523363B   CHARLES           FLETCHER              NC           90009492552
B17B482A572B69   IRENE             MONTOYA               CO           33081708205
B17B4999655959   LESLIE            LLAMAS                CA           90010389996
B17B4A18693758   DESTINY           ROBINETT              OH           90010110186
B17B6638685927   SHANEEZA          WARNER                KY           90001806386
B17B6851484373   ANTHONY           RIVERA                SC           90009058514
B17B832443363B   ANDREA            DAVIS                 NC           90005413244
B17B9217293752   AARIN             CANE                  OH           90008952172
B18112A445B327   HERNAN AND LACY   MARTINEZ CRUZ         OR           90006062044
B181491832B248   LATOYA            SIMMONS               DC           90011259183
B1815535585927   KENNETH           NAPIER                KY           90013315355
B181735682B248   KWESI             IBRAHIM               DC           90012993568
B181B242655953   ALEXANDER         FOLORIO               CA           90010302426
B181B567131688   SCOTT             BEARD                 KS           22013395671
B1822858524B64   DANIEL            KINDRACK              OR           81092668585
B182425A22B248   TONIJAH           WILSON                DC           90012842502
B182433313B355   LESLIE            ESTRADA               CO           90001663331
B1825A4477B489   ALEXIS            GONZALEZ              NC           90006440447
B18267A9631639   JAMES             BRUCE                 KS           90005087096
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B182714935B396   EVELYN         LEWIS                    OR           90013151493
B1837244833635   SIMON          SANCHEZ                  NC           90011172448
B1837883885927   LORI           HART                     KY           67095898838
B1838119272B3B   RADAEL         PINON GAMA               CO           90011091192
B1838656771936   SUNG           YI                       CO           32026546567
B1839333372B69   DANIEL         ODELL                    CO           90013593333
B183B819385927   ADRAIN         SINGLETON                KY           90012668193
B183BA1A15B396   EMILIO         MATA                     OR           90012340101
B1845791755959   YESSENIA       ESPINOZA                 CA           90013867917
B184B18827B489   LUCIO          CHAVEZ                   NC           90014111882
B184B467576B27   ADAM           RAMIREZ                  CA           90012484675
B1854627A2B26B   BREIDY         PAVON                    VA           90010206270
B185531255B327   NELTON         BROOKS                   OR           90013153125
B185543A485927   BRITTANY       L                        KY           90009784304
B185818A642332   LAURA          TATE                     GA           90014731806
B185918A642332   LAURA          TATE                     GA           90014731806
B1864649772B62   EVER           LOZOYA                   CO           90013196497
B186636937B12B   MICHAEL        ASUMIN                   ND           90014133693
B1867154A3363B   DEVON          ROGERS                   NC           90013971540
B186741A22B248   TAWANA         DOUGHTIE                 DC           90014864102
B1869187655959   GEORGE         FERNEZ                   CA           90014741876
B186BA55472B62   LISA           GONZALES                 CO           90012840554
B1875386355959   SERGIO         NUNEZ                    CA           90014963863
B187824525B396   ERIC           PRICE                    OR           90009222452
B1878A3A85B396   BRYCE          KING                     OR           90014450308
B18796A945B327   JOHNNY         VALDEZ                   OR           90012776094
B187979495B327   JOHNNY         VALDEZ                   OR           90013047949
B187B25792B248   ERIC           SHAW                     DC           90014262579
B1881974524B3B   ASHLEY         GREENE                   DC           90001819745
B1882823455947   CHARLES        DURAN                    CA           90013068234
B188432252B857   JESSICA        GONZALEZ                 ID           42084053225
B188519195B131   ANTHONY        SMITH                    AR           90014981919
B18878AA855959   MANUEL         REYES                    CA           90013508008
B1889125993758   MARCEL         HAWKINS                  OH           64594561259
B189255A38B833   JOHN           DOE                      HI           90014305503
B189512328B833   ERIC           POKAKAA-CARTER           HI           90014301232
B1896924A93727   CHELSEY        TRUESDALE                OH           90012969240
B18988A595B327   JESSICA        BOOTH                    OR           44582458059
B18B4939593758   DARLENE        HARDIN                   OH           90009849395
B18B6164855959   RUDDY          HERNANDEZ                CA           90012921648
B18B78AA797124   KEVIN          WILLIAMS                 OR           90008928007
B18B9822A55959   AARO           PEREZ                    CA           90009908220
B18BB52A893758   HOLLYLE        LAYTON                   OH           90007985208
B1913558A55947   CARLOS         PINULA                   CA           90012795580
B1914637193727   JASON          BREWER                   OH           90011496371
B191857422B941   NANCY          MENDOZA                  CA           90014985742
B1918637776B27   SEIZAR         YOUHANA                  CA           90014126377
B191888A793758   SHANNON        BRAWLEY                  OH           90010298807
B191B979993758   ANNA           NEWMAN                   OH           90013149799
B1922251755972   RUBEN          CASARES                  CA           90005352517
B1922A23372B62   MARIA          LUCERO                   CO           90012920233
B1922AA7761825   KHIMMEL        BLOUNT                   MO           90007670077
B192432A472B69   MANUEL         BURCIAGA                 CO           90013663204
B192475A885927   LEESHA         SOUTHWORTH               KY           90006957508
B1925AA5A5B265   TYMESHA        BOYD                     KY           90012010050
B1926398A72B62   REGINA         KAMEES                   CO           90009333980
B192765112B857   RYAN           STUARD                   ID           90010296511
B1929579797124   CORY           MCLEOD                   OR           90012895797
B192B88A793758   SHANNON        BRAWLEY                  OH           90010298807
B1931265131639   RYAN           SCHULTZ                  KS           90007632651
B1931571976B27   SUPERMAN       SEXY                     CA           90009435719
B1931853384373   QUINTINA       MAZYCK                   SC           90007758533
B19334AA493758   RICKY          KEITH                    OH           90013154004
B1934A94855959   SUSANA         LIRA                     CA           90012740948
B19364A9976B27   CASEY          COLON                    CA           90008414099
B1938577393745   BIANCA         PALOMINO                 OH           90013745773
B193915432B857   KELDON         PATTERSON                ID           90015271543
B193B4A8A97124   DUSTIN         BALZER                   OR           90011344080
B193B584855953   ANTONIO        AGUILAR                  CA           90009085848
B193B88375B396   JOJO MILO      BRITTAIN                 OR           90010718837
B194299347B489   JOSE           CATILLO                  NC           90011899934
B1942A8A15B327   ALAIN          RODRIGUEZ                OR           90014600801
B194349753363B   KADEDE         LOMO                     NC           90014104975
B194351955B396   HALLIE         WILLIAMS                 OR           90003195195
B194352835B265   TUCKER         GILMER                   KY           90013355283
B1945357255959   MARIA          ARIAS                    CA           48014673572
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B1945A6582B857   PETE              RIMKUS                ID           42012700658
B1949A1765B555   ANTONIO           PENA                  NM           90012190176
B1949A41228169   LISA              SCOTT                 TX           90012860412
B194B16953B396   JUANITA           ARCHULETTA            CO           90012981695
B194B316193727   LEON              WATSON                OH           64504623161
B194B773497124   HEYDEN            BUSH                  OR           90012027734
B19523A8A5B265   PJ                LIVELY                KY           68080253080
B196524135B327   NIKKI             STEFANOWICZ           OR           90011892413
B1965633672B62   TONA              ORTIZ                 CO           33067386336
B19666A1155947   SUMMER            RODRIGUEZ             CA           49059556011
B1972756A33635   CAROL             PATTERSON             NC           90011437560
B1972844472B62   BESSIE            SANCHEZ               CO           33015958444
B1975849A2B248   DEVEN             FLOOD                 DC           90012688490
B197919885B396   JESSE             RHODES                OR           90011971988
B197BA6882B941   ANTHONY           ARIZA                 CA           90009350688
B1983452833683   FARRAH            MORENO                NC           90013304528
B198962A55B265   MARY              MARTIN                KY           90004946205
B1991376555953   THERESA           MARTINEZ              CA           90011863765
B1992327893752   LYNDSEY           PITTMAN               OH           90013533278
B199328712B857   ANDRES            WALTERS               ID           90012532871
B199331922B248   CATHY             LITTLE                DC           90005423192
B1994686855953   ANN NARIE         CORDERO               CA           90012786868
B1995719591978   BETTY             WATSON                NC           90000947195
B19B1692A55947   ZENON             ALAVEZ                CA           90014736920
B19B453842B248   SHERRY            ANDREWS               DC           90011245384
B19B4A6147B489   DEZIRA            BAXTER                NC           90013510614
B19B4A7475B396   JENNIFER          PERKINS               OR           90014350747
B19B5487172B69   JEFF              BUCCELLATO            CO           90007924871
B19B8735772481   ALEXIS            PRYOR                 PA           90013447357
B19B8A81355959   VICTOR            VILLAREAL             CA           90007430813
B19BB553755947   SHAMARRIE         FOSTER                CA           90012795537
B1B11338854B94   KIM               MAERTZIG              VA           90014653388
B1B1313A555953   JUAN              NUNEZ                 CA           90013911305
B1B14A61385927   ASIA              ABADDORA              KY           90010860613
B1B152A5472B62   QUAJONNA          COLLINS               CO           90008482054
B1B1578A255953   TRACI             LUNDIN                CA           90010957802
B1B1612235B265   ANNYSSA           BRAUGHER              KY           90013481223
B1B1773965B265   NATE              BURGET                KY           90014757396
B1B18896493764   KYLE              COLLINS               OH           90007018964
B1B19469876B27   ELIZABETH         GOODE                 CA           90013944698
B1B2181AA55953   MONICA            RAMIREZ               CA           90014618100
B1B24565497124   SOLVEG            PEDERSEN              OR           90002105654
B1B2699592B941   ROBERTO           MAGANA                CA           90012559959
B1B28126772465   DENISE            ARNOLD                PA           90011241267
B1B28767372B62   SHANNON           CEHURA                CO           90013987673
B1B291A775B265   JESSICA           HYKES                 KY           90014901077
B1B29592176B27   VIDALA            GOPAR                 CA           90014155921
B1B2B118533635   FARRAH            SAUNDERS              NC           90013971185
B1B3198632B248   KIMBERLY          THOMAS                DC           90008349863
B1B328A3672B62   VALENTIN          MEDINA                CO           90010088036
B1B3319A631465   JOSEPH            BROWN                 MO           90009031906
B1B34A6A455953   DEBRA             ARMENDARIZ            CA           90012570604
B1B3539A976B27   MARIA             JIMENEZ               CA           90013463909
B1B36596955953   DOROTHY           KOSTIELNEY            CA           90014275969
B1B3666A972B62   SHIRLEY           DOMINGUEZ             CO           90010706609
B1B36969631639   JACK              CASSEL                KS           90014499696
B1B38AA685B396   MARLON            WATERS                OR           44500690068
B1B39268855953   ROLANDO           TRUJILLO              CA           90010942688
B1B3B252655947   HERMIKO           WILEY                 CA           90011682526
B1B4253893363B   SHADEANA          AUSBORNE              NC           90010625389
B1B45313443584   JIM               LEMMON                UT           90006993134
B1B4728515B265   PATRICIA          WILLIAMS              KY           68015702851
B1B47324933635   HORACIO           GONZALEZ              NC           90014053249
B1B48186A97124   JASON             ZACHARY               OR           44055901860
B1B4B696993727   SHAVONNIE         BROUGHTON             OH           90013586969
B1B4B798136122   PETE              MCCLAUGHERTY          TX           73564307981
B1B53463793758   PATRICIA          DUNN                  OH           90013744637
B1B54915A5B531   ANTONIO           ROMERO                NM           90012969150
B1B578A9A2B248   MELVIN            HARRIS                DC           81093758090
B1B59571972B69   SILVIA            MOLINA                CO           33073785719
B1B619A3372B69   ANDIE ALEXANDRA   ZAMORA                CO           90014149033
B1B6575384B283   ASHLEY            ERICHA                NE           90013747538
B1B6576275B396   KARISSA           LYNN                  OR           90012947627
B1B6577662B941   LAURA             JOHNSON               CA           90013117766
B1B66472155953   ALICIA            SOLORZANO             CA           90011924721
B1B68416384373   KEVIN             BAKER                 SC           90009144163
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B1B69847454B94   THEOTTIS       MACK                     VA           90010498474
B1B6B271433635   JOSE           GARCIA                   NC           90014182714
B1B6B397A98B2B   AUDREY         BAKER                    NC           90008663970
B1B73524972B62   ANGEL          OLIVAS                   CO           90012645249
B1B761A1672B69   JEFF           RILEY                    CO           90010811016
B1B76A59393771   DENISE         LILLEY                   OH           90014780593
B1B78622593771   DEREK          DETRICK                  OH           90014776225
B1B79A59393771   DENISE         LILLEY                   OH           90014780593
B1B7B198855947   JESSICA        TUCKER                   CA           90012921988
B1B8212215B265   LAKEISHA       JOHNSON                  KY           90013541221
B1B83795354B94   HOPE           TURNER                   VA           90008397953
B1B84142593745   SHYANE         KNISLEY                  OH           90014051425
B1B84154A3363B   DEVON          ROGERS                   NC           90013971540
B1B84599585927   MIGUEL         GARCIA                   KY           90010255995
B1B8483652B248   CHANNON        EDWARDS                  DC           90008478365
B1B85A68655953   ROTELIO        APOLINAR                 CA           90012570686
B1B87624172B62   JAMES          MONROE                   CO           33052486241
B1B91697881692   MARITZA        PLATA                    MO           90011806978
B1B92A95593758   SYDNEY         HOOKS                    OH           90010810955
B1B9484627B489   JAMES          GILMER                   NC           90013028462
B1B96362A55959   MARTIN         TORRES                   CA           90015133620
B1B965A6791257   CINDY          BEANUM                   GA           90010695067
B1B97248372B62   SARAH          ALBRIGHT                 CO           90012372483
B1B97551A72B62   MARCELLA       PONCE                    CO           90011485510
B1B9766A55B396   JESSICA        MCMANNIS                 OR           90011536605
B1B97895655953   RAMIRO         GARCIA                   CA           90014478956
B1B98A4317B489   WENDY          TUNNELL                  NC           90013210431
B1BB1452A55972   TATIANA        CUCUK                    CA           90011224520
B1BB3281193752   LETA           GALLOWAY                 OH           90010882811
B1BB4A76493745   JOANN          EMONDS                   OH           90015320764
B1BB753A554B94   DHAN           MAGAR                    VA           90013845305
B1BB824172B857   NIKKI          ROLLINS                  ID           90008442417
B1BB961815B544   ERIC           MARTINEZ                 NM           90011116181
B1BB998355B544   EDITH          CHAIDEZ                  NM           90010319835
B2111871485927   ASHLEY         HUFNAGLE                 KY           90012888714
B2113256147825   ASHLEY         FULLER                   GA           90007812561
B211357172B857   MARGARITA      ORTEGA-CASAREZ           ID           90014785717
B211513397B443   FELIPA         GARCIA                   NC           11076981339
B2116465233635   JOSE           RAMIREZ                  NC           90000234652
B211BA3A531639   JUAN           ALVARADO-ARELLANO        KS           90010700305
B211BA7677B489   NELSON         STEELE                   NC           90013310767
B2121319833635   GREG           TYNER                    NC           90014553198
B2122933685927   THOMAS         HARDEN                   KY           90013359336
B2126574A76B27   VERONICA       CASTRO                   CA           90001065740
B212836525B799   HELENA         ABROM                    MN           90014413652
B2128849193727   JAPNEOS        JONES                    OH           90014268491
B2131672571932   JUSTIN         PARADISO                 CO           90012646725
B21318A9341276   SHANA          WEISS                    PA           90004988093
B21329AA67B489   ANTHONY D      DOUGLAS                  NC           90010909006
B2134254A97124   ABDUS          AHMAD                    OR           90001882540
B213436152B857   TREVOR         MILLER                   ID           90010453615
B2134462672B62   ZAKIYA         TURNER                   CO           90013084626
B213512462B857   ANTONIO        CHAVEZ                   ID           90012941246
B213554312B857   ANTONIO        CHAVEZ                   ID           90013335431
B213611895B265   YOGESH         RAI                      KY           90011131189
B213612A533635   CRISTINA       LAUREANO                 NC           18035021205
B2147976A33635   MARCELINO      HERNANDEZ                NC           90013339760
B214B3A3833635   TAVON          LEE                      NC           90000713038
B2151672571932   JUSTIN         PARADISO                 CO           90012646725
B215356495B265   LISA           MOORE                    KY           68095135649
B215753436619B   CARLOS         HERNANDEZ                CA           90014035343
B215824427B489   YURIK          MAGANA                   NC           90013622442
B2165154372B62   RAMIRO         LOERA                    CO           33057471543
B216561292B941   NIDIA K        ROY-ARELLANO             CA           90014776129
B217365975B396   ALYSSA         CARRION                  OR           90013116597
B217661292B941   NIDIA K        ROY-ARELLANO             CA           90014776129
B2182898691978   BEAU           DORMAN                   NC           90011578986
B2183757585927   TIM            HALFEY                   KY           90014917575
B218697A872B69   CORINTHIA      WEATHERSPOON             CO           90012789708
B2188195955947   HERMAN         PACHECO                  CA           90013111959
B2188376976B27   CORNELIO       PATRICIO                 CA           90009963769
B2188555693738   OLA            WHITE                    OH           90007885556
B218B21A693745   KENDRICK       ANDERSON                 OH           90012252106
B218B8A6372B62   JOHNNY         LILGEROSE                CO           90013008063
B218B94A32B271   ROZITTA        WILLIAMS                 DC           90012889403
B218BA9A43365B   CHRISTINA      FARGASON                 NC           90004240904
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B219511977B489   ED             CAMP                     NC           90005801197
B21B2937333635   BRITTNAY       MORROW                   NC           90015169373
B21B6A58172B62   JEREMY         MEDLEY                   CO           90005190581
B21B7647591978   LEU            YAK                      NC           90011576475
B21B7964772B62   SARA           AGUILERA                 CO           90013199647
B21BB11165B265   WANDA          MCGREW                   KY           90011131116
B221149145B265   JASHAY         MOSS                     KY           90014704914
B22116A1491881   LORRAINE       KANDLE                   OK           90006456014
B2211947393745   BRIAN          RESPRESS                 OH           90013929473
B2214A65397124   MA TRINIDAD    TORRES RAMIREZ           OR           90013580653
B2222563831688   JUSTIN         KHOL                     KS           90008575638
B222676432B271   STACY          SIMON                    DC           90013127643
B2228858472B69   VERNALYNN      CRUZ                     CO           90009728584
B2228952331639   ANDREW         FLEMING                  KS           90000439523
B222B19345B265   PADAM          RAI                      KY           90011131934
B2232192372B69   PERRY          YELLOW HAWK              CO           90011031923
B22342A5397124   JACOB          HENNE                    OR           90014612053
B22353AA393745   CRAIG          MILLER                   OH           90013213003
B223727382B857   KEITH          ARMISTEAD                ID           90014792738
B2237551155947   ROSA           URENA                    CA           90011625511
B2244114672B69   CESAR          CUEVAS                   CO           33046321146
B2245333893745   BRIAN          PITTS                    OH           90005523338
B224553A931639   FELICIA        SLIETER                  KS           90010705309
B224554795B265   JOSH           JEKINS                   KY           90014705479
B2245918397124   NICKOLAUS      OUTHOUSE                 OR           90012549183
B2247446631688   MOYER          RACHEL                   KS           22003994466
B2255585376B27   ELIZABETH      VALDOVINOS               CA           90003565853
B2257A82A2B941   CHRISTOPHER    BARCELLOS                CA           90010560820
B2261772393752   ARCHIE         BANDY                    OH           90011067723
B226183767B489   GASTON         SEGURA                   NC           90013728376
B226477755B396   BRAULIO        GUADARRAMA               OR           90003457775
B22656A745B265   JAMES          LANGDON                  KY           90014706074
B2266184755972   ANA            SANCHEZ                  CA           90000961847
B2268944293745   SHERRY         BOWMAN                   OH           90011329442
B22729A9993745   MICHELLE       REED                     OH           90014569099
B2273543A72B62   ALFREDO        RIOS                     CO           90011155430
B22735A622B857   TERRY          YOUNG                    ID           90014795062
B227364A191978   JOCELIN        MOREL                    NC           17086196401
B2274959631639   BRIAN          PENROD                   KS           22009879596
B2275358A72B62   JACOB          THOMPSON                 CO           90006053580
B22756A7A33635   TANYA          DEYO                     NC           90014466070
B2281623755947   ALEJANDRO      CENDEJAS                 CA           90009386237
B2283541585927   TABITHA        NEWLAND                  KY           90014955415
B2288549293745   KATLYN         STRAIGHT                 OH           90014835492
B228B166291978   ANDRES         VILLRGAS                 NC           90011291662
B2294A13A91978   MARKUS         WILLIAMS                 NC           90010300130
B229B66352B941   LAURA          GAYTAN                   CA           90010346635
B22B265857B489   JUDVERNIA      BAXTER                   NC           90004256585
B22B314A672B69   DUANE          SMITH                    CO           90012261406
B22B359298433B   GRACE          RIVERA                   SC           90007835929
B22B428322B271   CHAKITA        WILSON                   DC           90007802832
B22B518977B489   SHANEA         MITCHELL                 NC           90013921897
B22B626215B396   KIMBERLEE      WOLGAMOTT                OR           90012012621
B22B81A825B396   STACEY         BRANCH                   OR           90011661082
B22BB924733635   LAURA          HOLT                     NC           90010659247
B23167A762B857   MICHAEL        SPENCE                   ID           90014837076
B2317199297124   ANGELINA       HOWARD                   OR           90012011992
B2319451591978   SHANTELL       SANTIAGO                 NC           90011624515
B2322423171932   DAVID          KORINEK                  CO           38010144231
B2326531897124   CHRISTOPHRE    VALENTINE                OR           90009465318
B2328338172B69   APRIL          NELSON                   CO           33086973381
B2328778333635   PAUL           REYES                    NC           90013957783
B2329181733635   AMINA          BROWN                    NC           90012021817
B2331763A5B265   JENNIFER       JOHNSON                  KY           90014707630
B2332763A5B265   JENNIFER       JOHNSON                  KY           90014707630
B2332A53131639   JOSE           RAMIREZ                  KS           90014680531
B2333444291582   ERIKA          MEDINA                   TX           90008204442
B2334255133635   ANA            LEON                     NC           90013762551
B23346A4293752   MARCOS         PAZ                      OH           90013696042
B2334782A72B69   SAMANTHA       MAES                     CO           90008367820
B2335779397124   ECHO           BROWN                    OR           90015257793
B233B83152B857   JEANETTA       BUZZARD                  ID           90014818315
B2341962955947   CATINA         ROMO                     CA           90013099629
B2343118597124   IVY            ENRIGHT                  OR           90013621185
B2343754231639   ARACELY        BAIRD                    KS           22095217542
B2346696A5B265   SHELBY         JANSING                  KY           90014716960
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B2347531897124   CHRISTOPHRE    VALENTINE                OR           90009465318
B234B692A5B265   JARD           MCCLURE                  KY           90011146920
B2355628855947   YOLANDA        SALDANA                  CA           90011626288
B2355764476B27   JOSE           BAZA                     CA           46091887644
B235685622B857   TOMAS          ROBERTO                  ID           90010538562
B2359232A2B857   STEPHANIE      SCUKA                    ID           42033292320
B23599A3597124   LATASHA        MATHEWS                  OR           90011999035
B236416197B34B   ANA            PINEDA                   VA           90007531619
B236754A231639   LEO            LEONARD                  KS           90011085402
B236766592B271   RAUL           HERNANDEZ                DC           90012546659
B2367773A72B69   DUKE           MARTIN                   CO           90003737730
B2369333876B5B   VICENTE        MARTINEZ                 CA           90008423338
B236993A955947   CASSIE         CASTILLO                 CA           90005739309
B2369989972B62   LOREN          JEFFRIES                 CO           90012609899
B236B92142B857   MIGEL          VILLASENOR               ID           90014819214
B2374583672B69   MARISSA        GOMEZ                    CO           90014795836
B2378546572B62   JOE            CARRILLO                 CO           90012645465
B2379181A84329   WILLIAM        POWELL                   SC           90009581810
B237973222B271   MARTIN         SALVADOR                 DC           90012627322
B238139A79286B   GINA           SHINSAKO                 AZ           90012713907
B238261A32B857   TERESA         GERMAN                   ID           90002596103
B23874A2272B69   SAMANTHA       RILES                    CO           90015124022
B238789122B941   SUELLEN        MCGOWEN                  CA           45041868912
B2394692272B62   LANGIN         MOLLET                   CO           90012156922
B2395528785927   KIMBERLY       SWITZER                  KY           90008305287
B239788A885927   MICKEY         BRUNER                   KY           67085178808
B2398928776B27   NANCY          CERVANTES                CA           90011769287
B239BA43693745   JEFFREY        MCDARGH                  OH           90001440436
B23B2444172B69   DAVID          MARTINEZ                 CO           33082264441
B23B4569593727   BRITTANY       MITCHELL                 OH           90013745695
B23B563495B265   KRISTY         POLLOCK                  KY           90014716349
B23B5986772B62   MARIANA        MEJIA                    OK           90002289867
B23BB996161924   ALICIA         LUEVANO                  CA           90008109961
B2411775631688   GERALD         PORRORFF                 KS           90008227756
B2413A24176B27   SERGIO         UGALDE                   CA           46088380241
B241492744B521   SHARON         CAMBELL                  OK           90015079274
B2416216685927   DYER           KASAKOFF                 KY           90014152166
B2416979993746   ADAM           BYERS                    OH           90010729799
B2417722585927   MANUEL         DIAZ                     KY           90012387225
B2417999697124   TIMOTHY        BREWTER                  OR           90010289996
B242125A355947   RAQUEL         CALVILLO                 CA           90014712503
B2423993872B69   LYDIA          WEEKES                   CO           33036959938
B2426752572B69   SABRINA        MARTINEZ                 CO           90005907525
B2428321485927   WARREN         HATTON                   KY           90013973214
B2432766272B62   ADRIENNE       KNIGHT                   CO           90011007662
B24349A422B941   ZUGEL          CHAVEZ                   CA           90011869042
B24349A8955947   FREDDY         LOPEZ                    CA           90011909089
B243527A19286B   PERLA          FAVLA                    AZ           90014212701
B24363A635B265   LEANN          PHEPLS                   KY           90014713063
B243B667297124   BELSER         RICHARD DALE             OR           90011316672
B244182665B25B   TAYA           BARBER                   KY           90009418266
B2443732455947   RODGER         RAMIREZ                  CA           90013717324
B2444412533635   CHRIS          SMITH                    NC           90013224125
B244496395B265   CHARLENE       ALLEN                    KY           90001879639
B244523246618B   JESSICA        DUENAS                   CA           90013792324
B244572772164B   ARIANA         DEICHLER                 OH           90013837277
B244578559713B   YASMINE        CASTELLANO               OR           90012727855
B2445932884373   MICHELLE       THOMPSOM                 SC           90012429328
B245298115B396   CURTIS         TOOLEY                   OR           90009739811
B24551A155B265   QUANITA        CAMPBELL                 KY           90010361015
B2457895933635   EDUARDO        LOPEZ ALEMAN             NC           90013318959
B2458264172B62   ANTHONY        COLLINS                  CO           90010902641
B2459168791978   GABRIELA       RENTERIA                 NC           17066931687
B245B11495B265   STEVEN         SINGLETON                KY           90014751149
B245B38A385927   FISTON         OLENGA                   KY           90012523803
B2462421293745   STEVEN         HAWK                     OH           90014374212
B24644A2372B22   LE'CRETIA      JOHNSON                  CO           33055714023
B2464573285927   TAKIA          KING PULLUMS             KY           90013605732
B2467791355947   MARTIN         GOMEZ                    CA           90013067913
B24694AA45B265   KAYSHELLE      THOMAS                   KY           90011134004
B24725A9433635   JASMINE        PAYLOR                   NC           90011095094
B2473678784373   JAKE           RODGERS                  SC           90005776787
B2479AA5585927   GERARDO        ROSALES                  KY           90008040055
B247B238593752   JORDAN         BRANDON                  OH           90011052385
B248283A797124   LEON           MARCEL                   OR           90013318307
B2484793455947   JESUS          ARIZAGA BERBER           CA           90013067934
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B2484959755947   FLOWER         VANG                     CA           90009209597
B2485761793745   REBECCA        WAGNER                   OH           90009977617
B2493527455936   CHRISTELLE     CORTEZ                   CA           90014705274
B2494969297124   KRISTEN        SATTELBERG               OR           90010179692
B24B191645B265   CAROLYN        PARKER                   KY           90014729164
B24B285335B396   MELEAH         MILLER                   OR           44573208533
B24B3156293752   JEFF           WILSON                   OH           90013721562
B24B372895B265   MEDGAR         WALKER                   KY           90014717289
B24B4976A2B857   SCHATTON       MOONEY                   ID           90010539760
B24B5973172B62   LUIS           RODRIGUEZ                CO           33058069731
B24B8746876B27   JOVANI         MARTINEZ                 CA           90011777468
B251145722B271   CHRISTOPHER    LOVE                     DC           90010294572
B2512838931639   MICHEAL        SAMPSON                  KS           90009578389
B2516929272457   BOBBY          BROWNFIELD               PA           90013499292
B251752667B489   MAURICE        HEATH                    NC           90014855266
B2519238585927   SHARNIKA       JOHNSON                  KY           90013062385
B2519515A93745   NASHAE         BYRD                     OH           90013045150
B2524A6982B857   TANYA          TUTTLE                   ID           90014870698
B2525354591978   LARRY          ALSTON                   NC           90010383545
B2525848433635   ANDRI          MURRITA                  NC           90013928484
B2526844155947   MAYSEE         YANG                     CA           90001528441
B252967117B489   RON            STEWART                  NC           90012986711
B252B188593745   CHRISTOPHER    GILBERT                  OH           90010881885
B252BA7622B271   JAMES          KYLE                     DC           90011340762
B2538A6982B857   TANYA          TUTTLE                   ID           90014870698
B2539914A93745   MATT           WOLFE                    OH           90008499140
B253B527697124   ANDREA         FORSYTH                  OR           90011125276
B2541A6982B857   TANYA          TUTTLE                   ID           90014870698
B25441A3855947   GENESIS        FONSECA                  CA           90012481038
B2547531733635   JUAN           CORONA                   NC           90013695317
B2547656924B64   URSULA         DAVIS                    DC           90010386569
B2547774893745   JEANNIE        GAYTS                    OH           90009537748
B254B463185927   KIM            WAINSCOTT                KY           90011364631
B255345985B396   SABRINA        JACKSON                  OR           90011294598
B2553624876B27   RICARDO        VASQUEZ                  CA           46052036248
B2557A32341243   STEPHEN        SOROCHMAN                PA           90011820323
B2558116931639   ANDRES         BONELLA                  KS           90011501169
B2559762A7B34B   TONY           REYES                    VA           90007287620
B255B288755927   CRAIG          PADILLA                  CA           90011282887
B2564967997124   JUSTEN         HILL                     OR           90015119679
B256578933B399   KIMBERLY       SIMPSON                  CO           90004677893
B25678A5493727   JASON          SPONAUGLE                OH           90002498054
B257187349713B   JUAN           REGINO                   OR           90007468734
B257232969194B   TERESA         LOPEZ                    NC           90009833296
B2572918397124   NICKOLAUS      OUTHOUSE                 OR           90012549183
B25738A4433635   JESSICA        COLEMAN                  NC           90000278044
B25742A1724B3B   ANDREW         WEVER                    VA           90011682017
B2574694972B62   SHERRY         MARTINEZ                 CO           33097776949
B257482A372B69   JOLEEN         MARES                    CO           90011178203
B2576171161994   KARINA         CARVAHAL                 CA           46022511711
B2581453155972   KARMINA        SALCEDO                  CA           90001774531
B2584788197124   LORI           MORRIS                   OR           90009417881
B25915A3A72B62   DAVID          PERREAULT                CO           90015095030
B25918A412B844   ADAM           SISNEROZ                 ID           90010058041
B259364662B271   JOY            GILLISPIE                DC           90012796466
B2594AA822B857   WILLIAM        OCONNER                  ID           90014880082
B25985A225B265   LYNNESE        BOWMAN                   KY           90011135022
B2598A3A75B265   ALEVORATO      ADAMS                    KY           90014730307
B259B19717B489   CLOUDE         NOTTINGHAM               NC           90014171971
B259BAA265B265   DONNA          NORFLEET                 KY           90014730026
B25B1722733635   JOHNNIE        JORDAN                   NC           90013937227
B25B3828A85927   DESSIE         SWITZER                  KY           90011438280
B25B51A262B271   WILLIAM        GARDNER                  DC           90013811026
B25B6323972B3B   VUE            BER                      CO           90013013239
B25B697595B265   PHILLIP        WADE                     KY           90014719759
B25B8A51185927   LARRY          MOORE                    KY           90006150511
B25BB7A9772B69   ANTHONY        RIOS                     CO           33068577097
B25BB86A893752   JEFFRERY       HEDGES                   OH           64573248608
B26111A4131639   JOSHUA         BOWLER                   KS           22074711041
B2612562972B62   JILLIAN        BREWER                   CO           90010815629
B2612689672B62   ADOLFO         BARRON                   CO           90013306896
B2617681191978   ZION           CARR                     NC           90010386811
B261B89AA72B69   INGRID         PAREDES                  CO           90012528900
B2621755A97124   KATHARINE      LONDIN                   OR           44045787550
B262212485B265   BRANDON        GUARNERA                 KY           90014411248
B2623A76631639   KATHLEEN       FABER                    KS           90005280766
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B2624A9395B265   JEREMY         SWAM                     KY           90014730939
B2626268831639   CHEYENNE       CANNON                   KS           90012432688
B2626A6A472B69   DESARAY        GARCIA                   CO           90013780604
B2627587791978   JOSE           MENDEZ                   NC           90011625877
B2627798633635   MARGARET       FELIPE                   NC           90010897986
B262B9A8193727   MAMBER         WILLS                    OH           90007609081
B2631612A93745   DAMON          DANIELS                  OH           90012736120
B263225765B265   TAMIKA         BURNS                    KY           90011082576
B2632361331639   ALBERT         WATSON                   KS           90014343613
B263239A655947   EDNA           RODRIGUEZ                CA           90014593906
B263244572B271   TENISHA        EDWARDS                  DC           90014414457
B26348A7193745   ROBIN          SMITH                    OH           90009558071
B2634997A57148   REBECA         AREBALO                  VA           90009379970
B2635422791582   DANTE          VANCE                    TX           90012564227
B2636115261429   ANGEL          FERGUSON                 OH           90014121152
B263629689194B   TYRONE         DUPREE                   NC           90006822968
B264913945B265   AMANDA         FULTZ                    KY           90014731394
B264938395B265   DYLAN          CLOSE                    KY           90010473839
B264B36312B271   MAHOGANY       MCFADDEN                 DC           90012193631
B264BA49A93745   DEBBIE         WRIGHT                   OH           90013620490
B265214982B857   IGNACIO        MACHUCA                  ID           90001021498
B2652892731465   CHRISTA        BAILEY                   MO           90008308927
B265369222B941   ARASELI        CASTELLANOS              CA           90006406922
B265434797B462   JAMES          WORTHY                   NC           90008613479
B265538395B265   DYLAN          CLOSE                    KY           90010473839
B265557165B396   MARTIN         ZAMORA                   OR           90011665716
B2661744831639   LANETTE        JOHNSON                  KS           90011167448
B2662554333635   ROCHELLE       FARRISH                  NC           90011075543
B2663A33972B69   VIOLA M        MARTINEZ                 CO           90014160339
B2663A9862B238   STEPHEN        YATES                    DC           90002150986
B2666342691973   BRADLEY        ROSTER                   NC           90001093426
B267319345B396   LISA           FORKS                    OR           90015091934
B2673323455996   ERICA          LOPEZ                    CA           90011723234
B267555965B265   MIKE           HEAD                     KY           90010195596
B2676649733635   PAYGO          IVR ACTIVATION           NC           90006326497
B2676886733635   MARK           HAMLETT                  NC           90014668867
B267947815B396   GREGORY        LOTZE                    OR           90005594781
B267B34775B231   CRISTINA       ULLOA                    KY           90005993477
B267B741A7B489   GISELLE        RAZO                     NC           90012597410
B2685252293745   DERRIK         GRAHAM                   OH           90010642522
B268536A372B69   MIKE           MILLER                   CO           90012853603
B26862A2893752   BRANDI         WAGNER                   OH           90008852028
B268922315B396   ISHMAEL        KOFI                     OR           90000192231
B2695166433635   KAREN          HARNACKE                 NC           90008361664
B2695984693727   VICKIE         VANNUYS                  OH           90011899846
B269BA1637B489   MICHAEL        BANKS                    NC           90012960163
B26B118595B265   PAYGO          IVR ACTIVATION           KY           90006831859
B26B621A893764   CRYSTAL        RUSSELL                  OH           90006792108
B26B6A4495B265   MARQUITA       CHAPMAN                  KY           90014730449
B26B8173893745   DANIEL         COCHENOUR                OH           90013661738
B2712175172B62   BRANDON        MATHEWS                  CO           90011951751
B2712325472B69   MAN            POUDEL                   CO           90013623254
B271369697B489   ABEL           PEREZ                    NC           90012766969
B2713967297124   SUSAN          STEWART                  OR           90015129672
B27172A362B271   YOLANDA        PRINCE                   DC           90012842036
B2721A39155972   CHRIS          HALL                     CA           49078990391
B272283497B489   DAJAIAH        JONES                    NC           90008368349
B27229A4931688   KENNETH        SOUTHWORTH               KS           90006339049
B272342A972B62   IVAN           GONZALEZ                 CO           90012104209
B2724611133635   PORSHA         TURNER                   NC           90008846111
B2725333872B62   HOLLY          DAVIS                    CO           90014293338
B2726134693727   DESTINY        SPURGEON                 OH           90010421346
B272875325B265   JESSICA        JONES                    KY           90014737532
B2729415141248   JOHN           WOYSTEK                  PA           51073584151
B273338638B139   MARION         BRYANT                   UT           31041703863
B273344A924B3B   NANCY          IGLESIAS                 DC           90011724409
B2735138471944   VANESSA        LOPEZ                    CO           90011931384
B2737828797124   MANUEL         GONZALEZ LARA            OR           44084698287
B273B652993727   NICHOLAS       DOBZYNECKI               OH           90013456529
B273B794261984   DEAN           HAMBY                    CA           90013877942
B274129172B271   MARLENE        LOPEZ                    DC           90013002917
B27414A8597124   MICHELE        PAYNTER                  OR           90010434085
B2746763184373   SHARRELL       RUSSELL'BLAKE            SC           19013037631
B27478A982B941   SYLVIA         GARZA                    CA           90005428098
B274B12482B941   DIEGO          MALDONADO                CA           45096411248
B2753269593738   BILL           GERVERS                  OH           90012612695
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B2753798533635   PAYGO          IVR ACTIVATION           NC           90012657985
B2753A21831639   SIERRA         WATERMAN                 KS           90012040218
B2755A94931639   JOHNATHAN      HERNANDEZ                KS           90012980949
B2759371633635   AMELIA         COX                      NC           90009853716
B275B582931688   KELSEY         STAFFORD                 KS           90006805829
B2761A18524B3B   FRANKI         RUFFIN                   DC           90011870185
B2763863831465   KEVIN          PARKS                    MO           90007968638
B2763A9855B396   DARREN         BRODINE                  OR           90013110985
B2764793955947   AURELIANO      GRANADOS                 CA           49097477939
B276481662B857   MICHAEL        MAIN                     ID           90006508166
B2767A58472B62   MAIKUDI        SHOAGA                   CO           90012980584
B2768633A93764   CHAD           EDGINGTON                OH           90008456330
B2768911355947   VANG           LENG                     CA           90013669113
B2778881A84373   TERENCE        JOHNSON                  SC           90008718810
B2779659A2B271   KEVIN          GARY                     DC           90014076590
B278145A97B338   ROBERTO        VILLATORO                VA           90008574509
B278282637B489   SHIRLEY        GLENN                    NC           11068838263
B2782995697124   ALAN           FIELDS                   OR           90015269956
B2787717155947   AIOTEST1       DONOTTOUCH               CA           90015117171
B279173145B342   KIM            LOMAX                    OR           90008917314
B2798424591978   AARON          VEGA                     NC           90011174245
B2798515955927   SENIA          JUAREZ                   CA           90011475159
B27992AA85B396   ELLIOTT        GOOD                     OR           90009852008
B27B133282B857   SASHA          HOUGHTALING              ID           90010873328
B27B2A12793764   KEITH          PRUZZO                   OH           90011010127
B27B3399A5B265   SHAWN          WADE                     KY           90014733990
B27B4264972B62   SHANNAN        REINPOLD                 CO           33094402649
B27B451617B489   RUSSELL        WILLIAMS                 NC           90014865161
B27B5272993745   ANGEL          GODSEY                   OH           90009922729
B27B54A395B265   KARLA          RODRIGUEZ                KY           90014734039
B27B5691533635   TRACY LYNNE    PHILLIPS DOYLE           NC           90009316915
B27B5732255974   GEORGINA       PARRA                    CA           90005727322
B27B7763A93727   DAWANDA        REEDER                   OH           90011807630
B27B8527A97124   MICHEAL        FISHER                   OR           90012205270
B27B9542655947   ADAM           RUIZ                     CA           90008645426
B27BB554293752   TIMOTHY        WILEY                    OH           90010965542
B2811881A85927   VICTOR         RODRIGEZ                 KY           90012128810
B28188A6593745   RONNIE         JONES                    OH           90010168065
B2819398993745   NOE            ALAS                     OH           90010773989
B2821738885927   JERRY          SANCHEZ                  KY           90014447388
B2822781222963   CURTESEA       DIXON                    GA           90013587812
B282378272B857   DIANE          RIVERA                   ID           90014927827
B2827643128169   JASMINE        ANDERSON                 TX           90014736431
B2829613551331   JOHN           LAPED                    OH           90013946135
B2837A5877B489   DAVID          GAMBOA                   NC           90013740587
B2838565233635   KELLIE         KENNEDY                  NC           90014025652
B2839AA472B857   JESSICA        JOHNS                    ID           90008110047
B284195A493764   KIMBERLY       HARDWICK                 OH           90006809504
B284688882B857   TYLER          EYRE                     ID           90014928888
B284B696931639   CHELSEA        MCFADDEN                 KS           90011836969
B28521A2555947   HUADALUPE      SOLOEVRANES              CA           90012891025
B285744A955947   ALEX           SALMERON                 CA           90007304409
B285B923872B69   KARLA          HERNANDEZ                CO           90010799238
B286155A12B857   JESSE          STARKEY                  ID           42086185501
B2864A3A193745   ANDREA         HEATH                    OH           90015110301
B28658A4433635   JESSICA        COLEMAN                  NC           90000278044
B2866564772B62   KRIS           SCHULTZ                  CO           90007925647
B2868724276B27   CESAR          MANI                     CA           46092417242
B28692A3433635   ROBERTO        VELEZ                    NC           90013532034
B286B444393745   JOE            SKAGGS                   OH           90012014443
B286B668297124   BRANDON        LILES                    OR           90009276682
B2872548793745   BROOKE         SOLIZ                    OH           90012055487
B2872618897124   DINA           MUNIZ                    OR           44074776188
B28741AA693727   KIMBERLY       FAULKNER                 OH           90013041006
B2875697291248   JAMES          SHIPLEY                  GA           90012386972
B2877A22A72B62   FRED           KUNGES                   CO           90011820220
B2879177954B85   FLOYD          HUMBERT                  VA           90013471779
B287B26135B165   JENE           WYATT                    AR           23063862613
B288123AA9194B   ANTWAN         WARD                     NC           90003282300
B2881A27685927   SHINA          KING                     KY           90014440276
B2884945572B62   CECILIA        GARCIA                   CO           33041249455
B2885666772B69   NATHAN         WOODS                    CO           90009876667
B288623AA9194B   ANTWAN         WARD                     NC           90003282300
B2887481472B69   ALLISON        WENHOLZ                  CO           90006054814
B2892328733635   ANGELA         ARGUETA                  NC           90011393287
B2893879A55972   JOSE           PERALTA                  CA           90004128790
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B289544215B396   TIMOTHY        FARRIS                   OR           90013234421
B2897268493745   BETTY          LOREDO                   OH           90009952684
B2898489893752   TAMMIE         HERNANDEZ                OH           64576274898
B2899AA6733635   ANDRELA        LLOYD                    NC           90013700067
B289BA97991978   PATRICIA       MCDANIEL                 NC           90007360979
B28B4351291261   DONDRE         LOVE                     GA           90002843512
B28B443972B857   MARK           HUCKABY                  ID           90010554397
B28B4987785927   DAVID          SUMNER                   KY           90007899877
B28B5444393745   JOE            SKAGGS                   OH           90012014443
B28B5844833635   DORIS          BALDWIN                  NC           90007868448
B28B952487B489   LAKISHA        BURNS                    NC           90012695248
B28B971667B489   LAKISHA        BURNS                    NC           90010447166
B2912862191978   JUAN           PACHECO-ZAMBRANO         NC           90010388621
B29149A3391573   KENETH         QUINONES                 TX           90011169033
B2915166355972   DREA           MARKS                    CA           49090921663
B2916276993727   ERIC           GRIFFIN                  OH           90012842769
B29248A1597124   NORBERTO       MARTINEZ                 OR           90014158015
B2924A41A33635   HERNALDO       ALGUERA                  NC           90009090410
B292B841893752   TANGEE         OLINGER                  OH           90012288418
B293374A95B396   PHARA          FRANCOIS                 OR           90006797409
B2933A7642B857   MISTY          WADE                     ID           90012240764
B29342AA35B265   VICKIE         FOREHAND                 KY           90014742003
B2938286A7B489   EBONY          PORTLOW                  NC           90011412860
B294118745B396   DUSTIN         JOHNSON                  OR           90003941874
B2941668724B3B   VALERIA        PERSON                   DC           90013946687
B2941945A97124   JOSH           IVERSON                  OR           90009919450
B2943259372B62   IVAN           RODRIGUEZ                CO           90012542593
B2947986743585   EDWARD         SCHNEIDER                UT           90003389867
B294811A593727   DERRON         CLEMENTS                 OH           90013881105
B2949475491978   LATONYA        CARTER                   NC           90003684754
B294B267676B27   JOSE           CASTRO                   CA           46025852676
B2951992633635   LETITIA        FOUST                    NC           90010289926
B2953514324B64   ALEXIS         MARQUEZ                  DC           90004905143
B295531932B271   KENNETH        ROBIN                    DC           90015213193
B2958981372B69   REBECA         COOPER                   CO           90009369813
B295B669793752   ELAINE         DRAKE                    OH           90008796697
B296282362B857   STEPHANIE      JOHNSON                  ID           90014938236
B296382362B857   STEPHANIE      JOHNSON                  ID           90014938236
B2968358872B62   GLENDERIKA     GARCIA                   CO           90008463588
B296B365891973   MARIA          CRUZ                     NC           90013003658
B296B439A97124   BRANDY         PHILLIPS                 OR           90009484390
B297228755B265   ANTHONY        BOARD                    KY           90014742875
B297246A59194B   MARCELINO      GUEVARA PRIMERO          NC           17083934605
B297328647B489   JAMILLA        STALLWORTH-CURRY         NC           90013042864
B2974775A93727   KASEY          LOWE                     OH           90013897750
B297511A972B69   OSCAR          GARCIA                   CO           90006721109
B297676324B232   SONIA          GATICA                   NE           90013867632
B2978792555972   ANDRE          ROBINSON                 CA           90005477925
B298695655B396   MALLORY        CARRILLO                 OR           90014079565
B2986A46893745   ANGELA         POARCH                   OH           90011000468
B2986A64124B3B   KANYA          GRIPPER                  VA           90013950641
B2994716433635   CHANCE         MASHBURN                 NC           90013757164
B299722495B545   PAULA R        APODACA                  NM           90009982249
B2998168191978   MARIA          PAREDES                  NC           17082661681
B29B5915891978   JASMINE        MERRITT                  NC           90010109158
B29B958212B974   ENJOLI         HALL                     CA           90008635821
B2B1151292B857   JAMIE          HAGEN                    ID           90014775129
B2B14547793727   DEIDRA         THOMAS                   OH           90009685477
B2B1461525B396   NICOLE         SMITH                    OR           90015306152
B2B16153485927   JALIL          BEARD                    KY           90012331534
B2B1651292B857   JAMIE          HAGEN                    ID           90014775129
B2B1B59712B271   RICH           BROOKS                   DC           90014455971
B2B23877872B62   TYREL          DESMARAIS                CO           90013748778
B2B2855338B197   HEIDI          WILLIAMS                 UT           90012255533
B2B28691561429   SHELLEY        BROWN                    OH           90014106915
B2B289A7897124   ANNIE          MATA                     OR           44038509078
B2B29592A2B857   THOMAS         FREINWALD                ID           90014765920
B2B295A9433635   JASMINE        PAYLOR                   NC           90011095094
B2B2B375A5B338   RACHELLE       ZUPAN                    OR           90013133750
B2B2BA5937B489   JERICHO        MOORE                    NC           90013810593
B2B31A2117B489   ANTRELL        NEAL                     NC           11019170211
B2B36226593764   APRIL          ROBERTS                  OH           90006742265
B2B3B131872B69   BRANDON        WASHINGTON               CO           90013211318
B2B3B51112B271   MICHEAL        THOMAS                   DC           90013465111
B2B42197193752   MICHAEL        FISHER                   OH           90010861971
B2B4288192B857   NAOMI          GOMEZ                    ID           90013158819
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B2B43A76947839   JEROME           VANZANT                GA           90011880769
B2B4528645B265   OFELIA           CHAVEZ                 KY           90011422864
B2B45416A5B396   MARCELLA         ANDERSON               OR           90012314160
B2B46564672B62   BOBBIE           ROLLINS                CO           90014615646
B2B4679513B352   GILVERTO         LOZANO                 CO           90000507951
B2B474A1433635   SUK              CRICKET                NC           90013064014
B2B5121517B489   ROBERTO          SANTOS                 NC           90010452151
B2B53295251347   BETH             IRWIN                  OH           66014792952
B2B56896733635   LEAH             GUSMAN                 NC           90013398967
B2B5B194855947   OLIVIA           SQUAGLIA               CA           90012681948
B2B5B492672B69   LETICIA          MACIAS                 CO           33030954926
B2B6481472B941   SELINA           MUNOZ                  CA           90014188147
B2B64847593727   JOE              HOPKINS                OH           90013718475
B2B69361972B62   DAVID            FOX                    CO           90014553619
B2B69392591978   LAURO            MELGAR                 NC           90011283925
B2B69726A55947   JUAN             ROSALAS                CA           90013707260
B2B698A5193727   BELINDA          COTTRELL               OH           64503678051
B2B6B993272B69   MARY             SCHOEN                 CO           33032499932
B2B7569255B396   TWILA LEE        TURTURA                OR           90014016925
B2B7983A92B941   DANIEL           LOPEZ                  CA           90014218309
B2B81435472B69   FERNANDO         URVINA                 CO           90012104354
B2B84559761982   SAMUEL           NEHEMIAH               CA           46064535597
B2B85496355947   ASHLEY           DAY                    CA           90013044963
B2B87389493745   SHANNA           DEROSA                 OH           90013493894
B2B8829647B489   ARANDA           PEDRO                  NC           90012222964
B2B8891877B489   BRITTANY         FULWILEY               NC           90014769187
B2B8892595B572   DAWN             SLAWSHI                NM           90004689259
B2B8B731855947   DANIEL           CAMPOS                 CA           90014517318
B2B926AAA31639   CHRIS            MCDONELL               KS           90012196000
B2B9356A92B227   DENINE           PRAILOW                DC           90012855609
B2B95748572B62   ASHLEY           JONES                  CO           90008657485
B2B96641495624   JUANITA          LOREDO                 TX           90011546414
B2B9B97287B489   TERRY            REID                   NC           90013069728
B2BB289282B271   STELLVONNE       JACKSON                VA           90005008928
B2BB965879194B   NATRISHA         SHARPE                 NC           90001356587
B3112282A93745   JOSH             CUTLIP                 OH           90010432820
B311247623363B   CODY             TAYLOR                 NC           90009574762
B311478A393745   MARCUS           BANKS                  OH           90008967803
B3115114785927   BRADLEY          THOMPSON               KY           90014941147
B3117576691585   JOSHUA           ROSS                   TX           90013755766
B3118417555986   ELLIE            GAGE                   CA           90012734175
B311B558531639   SHAMETRA         ROSS                   KS           90002635585
B3121535191961   EMMANUEL PEREZ   MORALES                NC           90014745351
B3125443193752   JAENEAH          ISHMAN                 OH           90014674431
B3125844485927   VALERIA          DERISO                 KY           90009038444
B3126438897124   ASHLEY           PERRY                  OR           44016384388
B3127128633646   KIM THOMAS       COVINGTON              NC           90010831286
B3129486831688   JABULANI         SENTWALI               KS           90002624868
B312BA3962B99B   KATHY            GUTIERREZ              CA           90011430396
B3131625472B69   PHILIP           LAQUEY                 CO           90013676254
B3133227593727   JOSHUA           ONEAL                  OH           90011532275
B313771167B489   ERIC             POWELL                 NC           90014167116
B3137A95172B69   OSCAR            MENDOZA                CO           33000810951
B31417A8143566   STEVEN           BARRY                  UT           90012197081
B3145223243566   DANIELLE         DRAGER                 UT           90015272232
B3147166433635   KAREN            HARNACKE               NC           90008361664
B314B128633646   KIM THOMAS       COVINGTON              NC           90010831286
B315244A35B396   BRITTANY         KYLLO                  OR           90010174403
B315736352B99B   MINGUEL          RODRIGUEZ              CA           90012003635
B315752544B52B   JUAN             VASQUEZ                OK           90007365254
B31598A8993745   JOHN             OCONNOR                OH           90006598089
B315B35427B496   CHRISTOPHER      BOLDER                 NC           90008803542
B3161376495664   AUDREY           WALKER                 TX           90012863764
B316171917B489   SHANNON          PLYLER                 NC           90014547191
B3165454543566   CATHERINE        NICHOLS                UT           90014974545
B316756894B259   MARCHY           INCHIN                 NE           27080115689
B316872465B396   NADINE           PEIRCE                 OR           90006437246
B316B748955947   ANDREA           CLAY                   CA           90014787489
B3173882291579   OSCER            IBARRA                 TX           90010938822
B3174AA567B443   WENDELL          WEATHERS               NC           90004030056
B317751A372B69   JORGE            ARSINERA               CO           90010375103
B3177751561994   ALEX             BEACH                  CA           90007817515
B317B24A655986   DAVID            VAIDEZ                 CA           90010602406
B317B699291579   LILIANA          MELENDEZ               TX           90012736992
B3181466855986   NEFTALI          ATLAHUA                CA           90012104668
B3183145472B69   OSCAR            MORENO                 CO           90005731454
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B3183A21593727   KARLA            WARNER                 OH           90012620215
B3184796197124   JUSTIN           PHILIPPS               OR           90011357961
B3187A2392B99B   MIKE             PEREZ                  CA           90012800239
B3188144591961   THAXTON          SURLES                 NC           90010081445
B3189962A24B3B   MARIA            GODOY                  DC           90004429620
B318B214955947   EDGAR            RUIZ                   CA           90014792149
B3191796197124   JUSTIN           PHILIPPS               OR           90011357961
B3191A57391585   AARON            MEDINA                 TX           90004180573
B3197258931474   CELIA            MACK                   MO           90010082589
B3197895491248   JASMINE          WILLIAMS               GA           90000598954
B31983A315B383   JB               BROWN                  OR           90009823031
B319952135B396   MATTHEW          MCCONNELL HEGLAND      OR           44561915213
B31B3A17985927   BARBARA          JONES                  KY           90013150179
B31B7576A7B489   GABRIELLE        THOMPSON               NC           90012965760
B31B821755B396   DONNA            LENERVILLE             OR           90013652175
B31BB83274B259   JULY             SHERMAN                NE           27049298327
B321134523363B   EDWARD           MEDLEY                 NC           90014693452
B3211351391961   MYRIAH           PUGH                   NC           90014763513
B3218628955947   AIOTEST1         DONOTTOUCH             CA           90015116289
B321B25612B99B   CINDY            SANDOVAL               CA           90013952561
B321B826297124   JUAN ALEJANDRO   TORRES MORENO          OR           90011258262
B3221329793745   LISA             JONES                  OH           90013063297
B32223A612B99B   ASHUR            ISHA                   CA           90013953061
B322329142B99B   RICARDO          ARGONA                 CA           90013952914
B3223811493727   DAWN             HASTY                  OH           90007708114
B322516415B265   DEBBIE           RIDGWAY                KY           90013601641
B3225377891585   ANGEL            TORRES                 TX           90010733778
B32255A915B265   FRANCISCO        FLORES                 KY           90015175091
B3225AA8693727   CHARLENA         BROWN                  OH           90012510086
B322635958B138   JENNIFER         FROST                  UT           31072973595
B322643222B271   DANICA           PENN                   DC           90008944322
B3228168993745   TYQUAN           DAVIS-JACKSON          OH           90013071689
B3228374993727   BRANDON          LEE                    OH           90011823749
B322889143363B   RICKY            THOMPSON               NC           90012078914
B323118765B572   MELINDA          SHISLER MONTOYA        NM           90013481876
B3231711555972   SEILA            AYALA                  CA           49081157115
B3232261A54122   NICOLE           WEAVER                 OR           47062232610
B3232714493727   JAMES            FLANNERY               OH           90013257144
B3232779391582   REDE             LIDIA                  TX           90012037793
B32337A792B271   GEREMIAS         MENJIVAR               DC           81019027079
B323865572B941   GIOVANNI         VASQUEZ                CA           90012416557
B323B333585927   CORTNEY          CAMPBELL               KY           67088283335
B324119122B99B   FRANCISCO        GALLO                  CA           90014881912
B3241498191579   MENDES           PATRICIA               TX           75096964981
B324283548B18B   ANA              ROBLES                 UT           90011768354
B3242989891961   BRITTANY         WILLAMS                NC           90010069898
B3243493691961   PAUL             LEAK                   NC           90014764936
B3243582591585   ERICKA           GOMEZ                  TX           90011465825
B3244693A72B62   MIKAL            STEELE                 CO           90013016930
B3248179843566   ROLF             PAWELEK                UT           90002351798
B324B2A552B271   JAMES            THOMAS                 DC           90002512055
B325296862B99B   BUNRORTH T       ROEUN                  CA           90014839686
B3253974791585   DAHIEN           DE LA SIERRA           TX           90008789747
B32556A225B265   TEVIN            JEWELL                 KY           90002056022
B325893925B356   CINNAMON         SLATER                 OR           90011279392
B325894775B396   CHAD             BETTENCOURT            OR           90011079477
B326311A231639   MINDY            KERSHAW                KS           22085821102
B326681A23363B   MANUEL           TORRES                 NC           90014758102
B326B179755947   DOMINIQUE        BORRACCINO             CA           90011721797
B326B987531639   ERIC             MCNEAL                 KS           90010119875
B326BA29485927   ASH              JOHNSON                KY           90012650294
B327339692B271   JOSE             HERNANDEZ              DC           90011563969
B3275377393745   KRISTEN          ZIEGELER               OH           90009013773
B327641392B271   KISHA            BERRY                  DC           90014484139
B327737957B489   HUMBERTO         NIETO                  NC           90013033795
B327746882B271   NAKIA            CHAMBERS               DC           90011294688
B3281A33472B69   LACRISIA         EN LINDA HOWARD        CO           90011940334
B3282374993727   BRANDON          LEE                    OH           90011823749
B328423592B271   SABIS            ADAIMS                 DC           90013502359
B328625A455972   ELIZABETH        RAMOS                  CA           90008692504
B328746142B99B   LASHELL          COWAN                  CA           90012084614
B3289317955947   ELIZABETH        CAMACHO                CA           90012243179
B3289835885927   KARLA            RING                   KY           90013008358
B3291324433635   CESAR            MANDIOLA               NC           18015113244
B329311437B443   VERDINA          EDWARDS                NC           90002921143
B32933A4536B98   ALBERTO          MARIN                  OR           90004963045
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B329424AA93752   MARY              FALL                  OH           90010882400
B32B155122B99B   ANNA              TREVINO               CA           90011445512
B32B2717443566   STEPHANIE         REESE                 UT           90014607174
B32B5799A43566   JOSHUA            SLADE                 UT           31072427990
B32B7271985927   PEDRO             COCHE                 KY           90013762719
B32B7862554122   ANNISSA           OROZCO                CA           90011688625
B32B7925672B62   CARLOS            RIOS                  CO           90007919256
B32B996455B265   KENNIETH          MCGILL                KY           90010549645
B32BB3A7A3363B   DARRYL            CAMPBELL              NC           90012173070
B3311A9A22B99B   DAMEON            TOLBERT               CA           90012910902
B3313397755947   NICOLE            BUTZ                  CA           90014793977
B3315525991585   GUSTAVO           NAVAR                 TX           90011025259
B3316323455947   ERICA             LOPEZ                 CA           90011723234
B3316667893745   SIERRA            POLLOCK               OH           90013166678
B33175A1855947   ROXANE            GONZALEZ              CA           90010845018
B3318529472B69   LEONARDO          FLORES                CO           90011515294
B331931757B443   SALIAKE           HUNTLEY               NC           11025603175
B3323984755947   EDGARDO           CHAVEZ                CA           90013089847
B3324834172B62   ERNESTINA         SEGURA                CO           90009338341
B3326A59191585   RIGO              ESPARZA               TX           90013540591
B332897367B489   RODNEY J          BURKS                 NC           90009859736
B333163A591579   RAUL              HERNANDEZ             TX           90012636305
B3332A19755972   MELISSA           COLMENERO             CA           90011430197
B3333227254122   STEPHEN           QUINIAN               OR           90011762272
B3334782855974   AYLSSA            HINOJOS               CA           90011897828
B3334A76593752   MICHAEL           TAYLOR                OH           64596580765
B333575435B396   AUDUM             BELL                  OR           90015157543
B3336398993745   NOE               ALAS                  OH           90010773989
B3337497297124   HANNAH            WILLIAMS              OR           44051304972
B3338714261994   COURTNEY          HEFEL                 CA           46093277142
B3344A31A85927   ISAC              MOLINA                KY           90008540310
B3345661443566   GILBERT           MILNE                 UT           90013136614
B3345826191585   GUILLEN           MONICA                TX           75016168261
B334585735B265   DMARCO            ANDERSON              KY           90012508573
B33463A9391961   CUTBERTO          PEREZ                 NC           90010093093
B3348962A91585   STEVEN            SCHAFFINO             TX           90013789620
B3349337985927   WHITNI            NELLE                 KY           90011053379
B334973548B168   KEVIN AND APRIL   WADE                  UT           90006077354
B3349969297124   RONALD            BERGGREN              OR           44087169692
B335142882B243   TIFFANY           EVANS                 DC           90011344288
B3353293155972   STEVEN            SCOTT                 CA           90011502931
B3356516176B27   MARCO             RAMIREZ               CA           90010005161
B335927617B489   MARIA             VILLEGAS              NC           90015142761
B335B643531688   BRANDI            TOSTADO               KS           22026546435
B335BAA1461984   MICHAEL           CROUCH                CA           46023320014
B336188877B489   DANIEL            GRAHAM                NC           90011218887
B336229442B99B   ALYSSA            LAWTON                CA           90009472944
B3362422193745   TERESA            JOHNSON               OH           90000214221
B336392792B99B   JOSE              ALVAREZ               CA           90002549279
B3366593A3363B   VALENTE           HERNANDEZ REYES       NC           90013855930
B33692A3191961   JAMES             JONES                 NC           90014782031
B3369573885927   TABITHA           WHITNECK              KY           90014715738
B3372748293745   ISSAC             HOLTZAPPLE            OH           90013467482
B3372A19355947   FELICIA           HURTADO               CA           90012820193
B337532513363B   SHAUITA           KEESEE                NC           90014733251
B3377A5A15B265   ERNESTO           PEREZ                 KY           68086540501
B337B921193752   JEROME            HOLMES                OH           90010999211
B3381284791961   JUSTIN            WILLIAMS              NC           90014782847
B338243A955947   SEANDREA          ROSE                  CA           90011724309
B3383248755986   FANNY             AVILA                 CA           49090822487
B338418A193745   ALICIA            MILLER                OH           64585411801
B3384479A2B99B   BRAIN             BLAIR                 CA           90012504790
B3385211784348   CHRISSY           BRYANT                SC           90007582117
B3386A87A72B69   ESMERALDA         LOPEZ                 CO           90008270870
B3388447461971   BERTHA            MIRAMONTES-MONTES     CA           90006774474
B3388534855947   ASHLEY            FUNEZ                 CA           90014795348
B3389644355986   BERENICE          DIAZ                  CA           90011666443
B33912A855B396   RYAN              WILLIAMSON            OR           90009392085
B3391413755986   VINCENT           GOMEZ                 CA           90012794137
B339347495B265   TERESA            CRAWFORD              KY           90010554749
B339466142B99B   BRANDON           ORTIZ                 CA           90014006614
B33951A112B271   JOSE              GONZALEZ              DC           81095081011
B339643A672B69   MATT              BOOTS                 CO           90003734306
B3397385497124   JONATHAN          GARCIA PEREZ          OR           90009383854
B33983A143363B   STEFON            COX                   NC           90011953014
B339B325791585   MANDY             JOHNSON               TX           90007133257
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B339B679922963   TRENEISHA      ROBERSON                 GA           90014906799
B33B133667B489   ANNA           BUESO                    NC           90012633366
B33B4A59A97124   CARLO          LIVINGSTON               OR           90010090590
B33B7187177583   HEATHER        MCVEIGH                  NV           43091951871
B33B7243872B62   COREY          CINGEL                   CO           90012182438
B33B7377272B44   APRIL          COSTELLO                 CO           90009943772
B33B8265255972   DELORES        GUZMAN                   CA           90010042652
B33B996A685927   DESIREE        OSBORNE                  KY           90012789606
B33B9A77872B69   TOSSIAS        NAVARRO                  CO           90011210778
B34131A422B941   LETICIA        ESPINO                   CA           90012171042
B3413564255947   ANDREA         CUVEAS                   CA           90014795642
B3416AA2924B64   MARCEDEZ       SANCHEZ ALVARDADO        VA           90012210029
B341857882B271   MEJIA          DIAZ                     VA           81040955788
B34223AA83363B   MANDI          OROZCO                   NC           12018563008
B342272A82B271   SAMUEL         KNOTT                    DC           90010057208
B342323662B941   JOEL           FLORES                   CA           45037322366
B3423A57785927   ASHLEY         HUFF                     KY           67056810577
B342416462B941   SERVANDO       PINEDA                   CA           90006211646
B3424645872B62   JAMES          SCOVIL                   CO           90012206458
B3425327155947   KARMA          BADD                     CA           90013113271
B3426575172B69   MARIA          GUILLEN                  CO           33045125751
B3427399555986   TERESA L       ROMERO                   CA           90010603995
B3427A56691579   GRICELDA       CASTILLO                 TX           75081350566
B342953624B259   CHANDRA        PIERCE                   NE           90006135362
B342B441155972   DANIEL         RESENDEZ                 CA           49013604411
B342B7A5485927   TERRIKA        ONEAL                    KY           67034227054
B343318965B265   TIFFANY        RAMSEY                   KY           90003411896
B3433695693776   JEFF           TAMMEE                   OH           64593856956
B3434569393745   VIRGINIA       GRESS                    OH           90011455693
B3438322885927   BIRDSONG       DESTINY                  KY           90005293228
B343B23552B221   FATOU          JOBE                     DC           81004982355
B344211212B99B   BREANN         SALAS                    CA           90012471121
B34423A152B99B   JESSICA        HERRERA                  CA           90012103015
B3443155855986   ROBIN          RIDEAUX                  CA           90012541558
B344526922B99B   ANGELES        CORONA                   CA           90011572692
B34454A9755986   RODRIGO        MANUEL                   CA           90010604097
B3445A7A555947   SANDRA         VENTURA                  CA           90012820705
B3449527A97124   MARIA          GONZALEZ                 OR           44080465270
B345159922B99B   MELISSA        TAYLOR                   CA           90012205992
B3452612891961   TANGENEKA      DESOUZA                  NC           90014236128
B3453314255986   ROGER          WATSON                   CA           90011613142
B345443472B99B   PAULA          HARVEY                   CA           90012244347
B345465495B396   CORY           COLE                     OR           90013676549
B3454A34255947   LORENA         VASQUEZ                  CA           90012820342
B3463539591579   HUGO           RODRIGUEZ                TX           90012975395
B346693A572B62   MAURISIO       RUIZ                     CO           90012349305
B346B55963363B   WALTER         PARKER                   NC           90013445596
B346B86A485927   BOBBY          SLONE                    KY           90014668604
B3474A4AA2B941   ALEXIS         AGUILAR                  CA           90013010400
B3476922A61994   JAMES          DAVIES                   CA           90001459220
B3476926291579   ESMERALDA      RAMOS                    TX           90012909262
B3477993876B27   EMILIO         GAYTAN                   CA           46006419938
B34786A8455947   STEPHANIE      RODRIGUEZ                CA           90014796084
B348167259194B   JOSE ENIAS     MALDONADO VELASQUEZ      NC           90006746725
B3482339555986   JESSICA        ENRIQUEZ                 CA           90015093395
B348257667B489   MONIQUE        KNIGHT                   NC           90010335766
B34826A8855947   NATALIE        BONILLA                  CA           90014796088
B3482848955986   MICHAEL        BARNER                   CA           90013218489
B3483728655972   MARIA          GILL                     CA           49094987286
B348552565B265   DANIERKIS      LEGON                    KY           90011915256
B348661152B271   TYNESHA        BUSH                     DC           90012846115
B348679555B349   RON            LIEB                     OR           90013177955
B3486A74191585   AMANDA         BURNS                    TX           90012300741
B3488895876B27   ELIZABETH      PARRA                    CA           90011538958
B349921375B265   JOSHUA         MEYER                    KY           90013602137
B34B4624255972   EFER           ARREAGA                  CA           90009186242
B34B5561155972   EDGAR          SILVA                    CA           90010025611
B34B7228393745   THOMAS         DORAN                    OH           90013362283
B34B7573293752   DANIELLE       JENKINS                  OH           90010735732
B34B84A6872B69   JAVIER         DIAZ                     CO           90015124068
B34BBA17855947   DARREN         LANEY                    CA           90013010178
B3514749372B62   VALERIE        MARTINEZ                 CO           90012737493
B351646772B99B   MYRNA          RUEDA                    CA           90012194677
B351865442B99B   LAURA          MARKS                    CA           90014696544
B352161882B271   CHARNECE       FISHER                   DC           90014946188
B3522727372B62   YEIMY          VILLA                    CO           33045457273
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B3524944A5B221   NARCISA        VERA                     KY           90005719440
B3525375391579   JOSEFA         CHAVIRA                  TX           90013853753
B3525628972B62   RAUL           JARAMILLO                CO           90013296289
B3525894272B62   RAUL           JARAMILLO                CO           90014658942
B3527A4352B99B   IRENE          DE LA TORRE              CA           90012130435
B3528418193752   VINCENT        JONES                    OH           90011464181
B3531214997124   JORGE          LUIS                     OR           90014532149
B3531636155947   AIOTEST1       DONOTTOUCH               CA           90015116361
B353236929194B   JASSI          SCHULTZ                  NC           90006493692
B3532395A2B271   LINDA          BETHEA                   DC           90012153950
B3532537A72B62   NICOLE         HAWKS                    CO           33087095370
B3532895A72B69   ANDREA         CRUZ                     CO           90012338950
B3534191685927   MAURISHA       TRENT                    KY           90010251916
B3534369591353   RANDOL         CONE                     KS           90008453695
B353571815B265   BRENDA         FORD                     KY           90014827181
B353625722B271   LACHELLE       WALKER                   DC           90010782572
B353675362B941   JANETH         VENEGAS                  CA           90009787536
B353816882B99B   JOSE           LOPEZ                    CA           90014911688
B353B119591961   CHRISTOPHER    BOWENS                   NC           90014791195
B353B173697124   DUSTON         HICKEY                   OR           44014411736
B3541399291961   DAVID          CARWFORD                 NC           90011523992
B35436A2272447   NICOLE         HENDERSON                PA           90001236022
B3543A7177B489   KENDREK        MCDANIEL                 NC           90011220717
B3545614372B62   JOSE           MENDEZ                   CO           90013286143
B3545A46797124   THEO           WHITEHORSE               OR           90013250467
B354B197A3363B   MORGAN         BROWN                    NC           12049011970
B3554642293745   DONNIE         WILLIS                   OH           90012466422
B355533385B265   ANTOINE        PEARSON                  KY           90014603338
B3556192255972   TONY           THIK                     CA           90011141922
B355626943363B   GERARDO        CARDOZ                   NC           12091322694
B3557932155947   MEE            LOR                      CA           90011729321
B3558281A55972   MICHELE        CRUSE                    CA           90000342810
B3558496172B62   MARIELA        PINEDA                   CO           33093414961
B355B114371932   DANTE          ARCHULETTA               CO           90011841143
B356368243363B   RITA           SEAN                     NC           90009996824
B35657A667B489   AMANDA         GRIFFIN                  NC           90013087066
B3566213991961   LILLIAN        WILLIAMS                 NC           90014792139
B3568479555928   SHANE          BLY                      CA           90010094795
B3568593354168   JEANETTE       REED                     OR           90014025933
B35687A667B489   AMANDA         GRIFFIN                  NC           90013087066
B356881572B941   SHARIEL        GIVAGIVOOD               CA           90010238157
B356B62234B259   KRISTEL        ASHMORE                  NE           27063136223
B357111212B99B   BREANN         SALAS                    CA           90012471121
B357111A72B25B   DELANTAE       WOOD                     DC           90001571107
B3571153597124   VICTOR         SALINAS                  OR           90013801535
B3571337855947   LAURIE         SERRANO                  CA           49006663378
B3575936691248   EARLONDA       ZIEGLER                  GA           14598049366
B3575A5592B271   CRYSTAL        BARNES                   DC           90008070559
B3576315691961   OMAR           BOJANG                   NC           90003113156
B3576A59954122   JOHN           ALBRIGHT                 OR           47042100599
B357798582B941   EDDIE          SALDIVAR                 CA           90011539858
B357986413363B   GRACE          ESAMBE                   NC           90009118641
B3581411A72B38   PAYGO          IVR ACTIVATION           CO           90012544110
B3581A9412B271   JACQUELINE     VENABLE                  DC           90009110941
B3582A2832B271   DAISY          DAVIDSON                 DC           90008740283
B3583696855947   JUAN           GONZALEZ                 CA           90014796968
B358418593363B   ALVARO         AGUILAR                  NC           90007561859
B3585197455986   MY             THAO                     CA           90012931974
B358732AA91961   MARCELO        SOUZA                    NC           90014813200
B358963233363B   SHAE           JAMES                    NC           90014686323
B358BAA9855997   ALEXAUNDRA     GRANDISON                CA           90014210098
B3591383A2B271   ROBERT         CRISTWELL                DC           90008643830
B3591472691579   AUGUSTINE      MANCERA                  TX           90008614726
B359321152B941   NILTON         QUINTO                   CA           90007782115
B35962AA85B396   ELLIOTT        GOOD                     OR           90009852008
B3597966161963   SKYLAR         CRAIN                    CA           46088219661
B359B463297124   JORGE          GANDARILLA               OR           90014604632
B35B146372B271   DOMINIQUE      ROBISON                  DC           90004874637
B35B193A991961   ANA            HERNANDEZ                NC           90014789309
B35B226142B99B   LYNN           TAYLOR                   CA           90011762614
B35B227393363B   JOHN           SLADEK                   NC           90013962739
B35B2986297124   JENNIFFER      SANCHEZ                  OR           90014639862
B35B435362B941   TAYLOR         PERKINS                  CA           90014583536
B35B532625B265   NIKITA         PRINCE                   KY           90014173262
B35B681735B265   CHERECE        RANDOLPH                 KY           68089588173
B35B8A46797124   RAINLEEN       ATIN                     OR           90013380467
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B36113A5391961   AMELIA         REDD                     NC           90013283053
B3611432597124   STEPHANIE      RANDALL                  OR           90000514325
B361398682B99B   DANIEL         RODRIGUEZ                CA           90014079868
B3614324185927   TIMIKA         YOCUM                    KY           90013803241
B3616A11697124   ALBINO         GONZALEZ                 OR           90013330116
B361991982B99B   CARL           WALL                     CA           90013049198
B361B911A2B941   ANTONIO        HERNANDEZ                CA           90009839110
B3624744731688   VALERIE        RAMIREZ                  KS           90005917447
B3625789955986   SOCORRO        LOPEZ                    CA           90015007899
B3628531891961   KIMBERLY       SALLAH                   NC           90014795318
B3628614485927   ANDREW         SPAETH                   KY           90013256144
B3631441755986   THERESA        ROCHA                    CA           90012194417
B363434472B99B   RONALD         HOULTON                  CA           90014523447
B3637A5792B99B   BRADLEY        GORKUM                   CA           90010300579
B3641554755986   NICK           REYES                    CA           90006765547
B3641695491579   CYNTHIA        BERNAL                   TX           75021806954
B36422A443363B   LUCIO          FUENTES                  NC           90013602044
B364436864B946   BYRON          RICE                     TX           90011233686
B3644417572B35   DISRAELI       MORRISON                 CO           90001274175
B364568A991585   MARISSA        QUITAS                   TX           90011426809
B364757213363B   RONNIE         SPARKS                   NC           90012875721
B3648612691961   DEDE           JONES                    NC           90014796126
B3651A32493752   SARAH          SCHAFFER                 OH           90012770324
B365314443363B   JOSHUA         MCINTOSH                 NC           90013821444
B365522A155986   MIGUEL         GARCIA                   CA           90010462201
B365833763363B   CASTANEDA      SALVADOR                 NC           90013963376
B365839582B271   ANTONIKA       JOHNSON                  DC           90011913958
B366243A697124   JESSICA A      DARBY                    OR           90013144306
B3665531697124   JOSE LUIS      PEREZ                    OR           90014455316
B36659A9393745   CLIFFORD       ROBINSON                 OH           90015089093
B3666AA7157552   JOHNELLE       BAKER                    NM           90009420071
B3668657272B98   TERRY          OEHLER                   CO           33080696572
B366B842272457   DAVID L        MILLER                   PA           90014828422
B3674559355947   FUTSUMBERHAN   TESFAI                   CA           90011735593
B3674A23891579   FRAUSTO        RUBEN                    TX           90010320238
B3675619631688   MEGHAN         KARR                     KS           22008806196
B367579557B489   JUAN           ZERON                    NC           90010497955
B3678492393752   HEAVEN         WELLS                    OH           90013204923
B367876A172B69   SYLVIA         TRIJUILLO                CO           90011267601
B3681213955972   FREDRICK       BRINKLEY                 CA           90011142139
B368151435B265   KAMERON        LONG                     KY           90014395143
B36823A8497124   AMBER          WEED                     OR           90010233084
B3682581555947   MANUEL         TREJO                    CA           90011735815
B3684739972B62   LOUISE         RODARTE                  CO           90008947399
B3685196A93745   BUFFEE         REIGELSPERGER            OH           90010011960
B3685518291961   ELINOR         MCCRAY                   NC           90014805182
B3685752972B62   RAUL           BALTIERRA                CO           90012817529
B3689671491961   ANTONIO        GARCIA                   NC           90010436714
B368B3A7997124   LACY           GUSTAFSON                OR           90014803079
B368B76212B941   ALVARO         RAMOS-SANCHEZ            CA           90013507621
B369144687B443   MONISE         CRAWFORD                 NC           90013824468
B3695858A5B265   DENNYS         MICHELENA-ZIZCAINO       KY           90010568580
B3695AA6191585   JESSE          REYES                    TX           75017880061
B3697175255986   LEONOR         MARTINEZ                 CA           90013221752
B3698312A2B941   MAYLESI        JASSO                    CA           90010583120
B3699199372B62   SANTANA        SALAZA                   CO           90011431993
B369BA75A5B265   JEANNETTE      RODRIGUEZ                KY           90013590750
B36B1A6729194B   C              MADILA NGALAMULUME       NC           90004270672
B36B294A155972   ANTOINE        CHILDREY                 CA           49056469401
B36B5226872B62   NALALIE        PEREDA                   CO           90011132268
B36B597752B99B   ENOCH          BOATMAN                  CA           90014079775
B36B6779172B62   DENICIO        DOGUE                    CO           90014037791
B36B9344591961   JUAN           LOPEZ                    NC           90014813445
B36B9456893752   MELISSA        STJOHN                   OH           64503304568
B36BBA75555947   NORMA          RODRIGUEZ                CA           90012820755
B3712198255972   GABRIEL        SANCHES                  CA           90009201982
B37139A4472B69   GARRITTE       GLOVEZ                   CO           90012339044
B3714557797B29   PATRICIA       RIOS                     CO           90011225577
B3714A85A55972   LETICIA        REYES                    CA           90010200850
B3715298A2B271   ASLEY          SPENCER                  DC           90012122980
B3715A79297124   JESSICA        LYNN-PEARCE-             OR           90005610792
B3717643891579   LORENA         VILLEGAS                 TX           90007146438
B371988A191579   PATRICK        CANTO                    TX           90014398801
B3724826672B62   DORLA          HOUSTON                  CO           90010938266
B3725752372B62   JOSEPH         RAMIREZ                  CO           90014087523
B3725A21191585   MANUEL         ELIZALDE                 TX           90004020211
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B372643827B489   DONQWAVIAS     DAVIS                    NC           90015164382
B3729717372B62   GINA           MARTINEZ                 CO           90014367173
B372971A87B478   WILLIAM        WHITE                    NC           90011007108
B3729A51772B62   IRENE          HARD                     CO           90012980517
B372B145197124   KAREN          SURGON                   OR           90013711451
B3731574761963   TED            STEWART                  CA           46086395747
B373179892B271   KENYA          THORNTON                 DC           90012837989
B373364662B99B   ESMERALDA      SALGADO                  CA           90012856466
B37337A3691961   STORMI         DUNN                     NC           90014807036
B373413913363B   ELIZABETH      THOMAS                   NC           90013141391
B3735914385927   MICHAEL        BERRY                    KY           90013209143
B373634293363B   LADERIUS       GRANT                    NC           90014693429
B3736727691961   QUADREE        BARNES                   NC           90014807276
B373828587B489   ANTOINETTE     BARNETT                  NC           90012842858
B3738AA6891579   BRYAN          URRUTIA                  TX           90009310068
B3742A93697B29   ARRON          KENNER                   CO           90013020936
B3746236276B27   JAVIER         MALDONADO                CA           90000872362
B374721A77B489   PRASAI         SOM                      NC           90011222107
B3747472261975   ANJANETTE      BERRY                    CA           90002474722
B374B976372461   PHIL           BLAIR                    PA           90012359763
B375128862B99B   JOHN           SCHMIDT                  CA           90012222886
B3754546272B69   DANIELA        VASQUEZ                  CO           90013005462
B3754768293752   BRIAN          JOYCE                    OH           90014827682
B375551A272B62   CAMERON        DOTSON                   CO           90014425102
B3755A3773363B   PENNY          UCHANAN                  NC           90012960377
B375834145B396   DAVID          SCHMIDT                  OR           90010213414
B3758649155947   LUIS ANTONIO   RIVERA                   CA           90003236491
B3758727393752   MELISSA        DODGE                    OH           90013437273
B3759196A93745   BUFFEE         REIGELSPERGER            OH           90010011960
B3759268A24B27   CAROL          WADE                     DC           90008782680
B3759A27271933   DARREN         HANEY                    CO           90007150272
B3759A9AA5B396   TA LEA         LEA                      OR           90013030900
B375B15155B396   JASON          OLDS                     OR           90014431515
B3761633285927   PEDRO          QUIROS                   KY           90012156332
B376299233363B   ANTHONY        CORNER                   NC           90010089923
B376538183363B   JASMINE        BUSH                     NC           90013473818
B3766474654122   CARMEN         LABAR                    OR           90010264746
B376988185B265   TAMILA         GLENN                    KY           90007388818
B376B563993745   KODY           SMITH                    OH           90013685639
B376B648372B69   WENDY          ZAMORA                   CO           90011526483
B377476493363B   LIDIA          ALVARADO                 NC           90011437649
B3775988476B27   ARMANDO        LOPEZ                    CA           46052609884
B377657225B396   FRANSISCO      RAMOS HERNANDEZ          OR           44582265722
B3776993793727   NATHAN         SHARP                    OH           90015209937
B3778462172B62   CHANTAL        LUNA                     CO           90006174621
B377B357193745   HOLLY          HOLLAND                  OH           64575863571
B3781714393727   FAWNETTE       THOMAS                   OH           64502647143
B37817A142B99B   JERRY          PABST                    CA           90007427014
B3781829255986   SANDRA         VALLIN                   CA           90015028292
B378213183363B   CASTARLA       RICHARDSON               NC           90012851318
B3783A22591579   SUSANA         LOZANO                   TX           90000210225
B3785943191585   STEPHANIE      HERNANDEZ                TX           90014329431
B3786592993727   TYSON          JOHNSON                  OH           90014465929
B3788656493752   FEATHER        LEWIS                    OH           90011106564
B3789924A97124   CHRISTOPHER    ELLENBERGER              OR           90010209240
B3793758372B62   KYANDRA        MRTINEZ                  CO           90013337583
B37938A465B265   PATRICIA       YOUNG                    KY           90011438046
B37947AA82B271   MALCOLM        ALEXANDER                DC           90011567008
B3796222A91248   SEAN           KEACHER                  GA           14500082220
B379921A42B941   MARIA          CHAVEZ                   CA           90014532104
B37B145654B537   JAMES          ORANGE                   OK           90010904565
B37B6647797124   SHANESHA       ROUSE                    OR           90014346477
B37B6781A55986   DANIEL         BELL                     CA           49063417810
B37B741775B598   MARCUS         TAYLOR                   NM           90011364177
B37B8973A54168   ROBIN          POWERS                   OR           90014069730
B37B994AA5B336   LAVON          STANFIELD                OR           90008739400
B3811634272B62   DAISY          FUENTES                  CO           90011116342
B381213873363B   MARK           DUNCAN                   NC           90013451387
B381329825B389   KARL           ANDERSON                 OR           90008282982
B38147A815B396   JOEY           SCOTT                    OR           90011107081
B3815584A76B27   AARON          FROTHINGER               CA           90011275840
B3816421A93745   ANNA           KILGORE                  OH           90012684210
B3818369A5B396   EDWARD         MITCHELL                 OR           90014333690
B381947577B478   CAPRIVA        BRANDON                  NC           90010794757
B38198A397B489   RICKY          GAUVIN                   NC           90015178039
B3821612655947   ROBERT         ARANDA                   CA           90013246126
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B382179162B271   LATASHA        BROCK                    DC           90012077916
B382185A171921   ANA            MANZO-GARCIA             CO           90011028501
B3822626697124   HERRERA        JULIO                    OR           90011286266
B382425317B489   MAYLENNY       SANTANA                  NC           90012362531
B3825239255972   PHILIP         DEL RIO                  CA           90009202392
B382527973363B   KIMYOUTA       DAVIS                    NC           90014802797
B3832A99255947   MARY           GUTIERREZ                CA           90012820992
B3835264891579   DENISE         BALLI                    TX           75087712648
B3837174791585   MICHAEL        COOK                     TX           90013431747
B383796965B396   TERRI          PENN                     OR           90001559696
B3841475593745   LISA           JONES                    OH           90013054755
B3844369772B69   JOSEPH         SOLTESIZ                 CO           90004133697
B384693822B271   SABRINA        DANDIRDGE                DC           90009279382
B384B731991579   FERNIE         ARRIAGA                  TX           90013177319
B3853425472B69   ARMIDA         MONTANEZ                 CO           90003274254
B3856886A91585   SARA           MARTINE                  TX           75000168860
B3856A7A693752   ETHAN          HOWARD                   OH           90015110706
B385734295B396   ANGELA         JOHNSON                  OR           90009413429
B3857986772B62   ERICK          LUNA                     CO           90013749867
B3859AA253363B   GARY           AUNTLEY                  NC           90013350025
B385B353A28169   YOUNG          SON                      TX           90013943530
B3861536955986   KRISTINE       BRASSEAUX                CA           90011675369
B386271212B99B   MIKO           THOMAS                   CA           90014357121
B3862A37185927   JON            SILVA                    KY           90009290371
B3864715497124   CARLOS         DEGADILLO                OR           90011287154
B38663A5997124   FRANCISCO      ZAVALA                   OR           90010133059
B3866547691579   OSCAR          GUILLEN                  TX           90012345476
B3868239255972   PHILIP         DEL RIO                  CA           90009202392
B3871446954151   BRIAN          RIVERS                   OR           90007754469
B3877159A91579   CHANTELLE      PAULDO                   TX           90012271590
B387B618455947   FEDERICO       GARCIA                   CA           90013246184
B387B84AA91961   ANTHONY        KNIGHT                   NC           90014818400
B3884614461999   ROBERTO        CARLIN                   CA           90004566144
B3887776436B98   TABITHA        EDIE                     OR           90010387764
B3888151136B98   KADEEM         COBETTE                  OR           90011891511
B388946952B99B   ALICIA         SAVALA                   CA           90011744695
B38895A6285927   CHERYL         KELLEY                   KY           90014525062
B3893652A55986   CINDY          BURI-BLAIR               CA           90015036520
B3896158991821   SOFIA          COLE                     OK           90012361589
B389716455B396   SUZETTE        TINKESS                  OR           90011931645
B389876982B258   THOMAS         WILLIAMS                 DC           90003037698
B38988AA291961   RACHEL         WHITE                    NC           90010458002
B3898929872B69   SCOTT P        ARENDS                   CO           90012339298
B3898A77877587   SHANE          JONES                    NV           90010780778
B389963AA55986   AIOTEST1       DONOTTOUCH               CA           90015116300
B389B523691585   JOSE R         PARTIDA                  TX           90010725236
B38B5786272B69   SODORRO        ORTIZ                    CO           90013267862
B38B6723976B27   ASHLEY         RODIGUEZ                 CA           46074807239
B38B7252385923   KARLEN         COLLIER-JETT             KY           90009662523
B38B8385355947   MAGDALENO      ALTA                     CA           90008673853
B38B861675B338   PATRICK        GIBBS                    OR           44526616167
B39121AA491585   ALEJANDRA      GAMBOA                   TX           90013361004
B391578985B396   NELSON         VILLANUEVA               OR           44539847898
B3919751391579   ALBERT         CORONADO                 TX           90002757513
B391B38A62B99B   NYEMA          CAROTHERS                CA           90014183806
B392155624B243   ELIZABETH      ESPINOSA                 NE           90007195562
B3922162631639   CARYN          LLAMAS                   KS           90010471626
B392265912B941   JUAN           FLORES                   CA           90013656591
B3922A7192B99B   STEPHANIE      NUNEZ                    CA           90010860719
B392341A872B69   LYNETTE        HOOVER                   CO           90013924108
B39236A2691579   ROJO           CHRISTINA                TX           90010066026
B3924816955947   KYESHA         BEASLEY                  CA           90014808169
B392632A655947   CONGMING       THAO                     CA           49047623206
B3927329793745   LISA           JONES                    OH           90013063297
B392853122B271   ANTIONETTE     REDMOND                  DC           90010845312
B39286A612B99B   LANCE          PECK                     CA           90014186061
B392B356291585   NANCY          HERNANDEZ                TX           90014843562
B3931171972B27   JENNIFER       GARCIA                   CO           90012701719
B3931293455986   MARIBEL        PEREZ                    CA           90012542934
B393381312B99B   GARY           LESTER                   CA           90012728131
B3933868893745   ROBERT         REGES                    OH           90013928688
B3934143691579   SANDRA         GARCIA                   NM           90012901436
B39347A1A91961   KASEEM         VICK                     NC           90011347010
B3935432172B69   MATTHEW        MORALES                  CO           90014034321
B3935A89685927   KIMBERLY       DUNN                     KY           90006960896
B393712533363B   CARLOS         LEMUS                    NC           12079841253
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B393827157B489   PAMELA         TOLEDO                   NC           90014152715
B393B929872B69   SCOTT P        ARENDS                   CO           90012339298
B394137A82B271   ASLEY          JOHNSON                  DC           90012283708
B3941399A72B69   ROBERT         LOVATO                   CO           90013063990
B3941472672B69   PRINCESS       LAWRENCE                 CO           90007684726
B3941A22A97124   LYNNETTE       HERNANDEZ                OR           90012590220
B394223692B941   CHRIS          TURNBOUGH                CA           90013592369
B3944657572B69   OMAR           LOPEZ                    CO           90011196575
B3945183791579   RENE           DIAZ                     TX           90007131837
B39475AA497124   LUIS           SALAS                    OR           90015035004
B394774AA93745   MICHELLE       DEAN                     OH           90014407400
B3951577A24B64   ANGELITA       YOUNG                    DC           90008895770
B3961137355986   ALEJANDRA      MORALES                  CA           90012911373
B396158482B99B   ZACK           DUKE                     CA           90011755848
B396473A855947   JOSE           CISNEROS                 CA           90013417308
B3966789391592   GERARDO        LOPEZ                    TX           90011257893
B396781873363B   WALTER         REICHARDT                NC           90013678187
B3968784297124   ROBERT         WILLIS                   OR           90007437842
B3969129997124   MARC           PUHLMAN                  OR           90015141299
B3969173955972   ROSEMARY ANN   ZAPATA                   CA           90010411739
B3969847655947   ANGELA         GOMEZ                    CA           90014808476
B396B524272B69   AUBREY         PARKS                    CO           90012455242
B3971859555947   SAMANTHA       WALLACE                  CA           90014808595
B3972338755986   ROCIO          GALVEZ                   CA           90012893387
B3973153A91961   COURTNEY       BOYCE                    NC           90010801530
B3973636155947   AIOTEST1       DONOTTOUCH               CA           90015116361
B397752543363B   SUSAN          HARRISON                 NC           90008375254
B397763432B941   CARLOS         CARRANZA                 CA           90013966343
B3977749985927   JOSE           LUCAS                    KY           90013697499
B397943453363B   JOSEPH         NOBLES                   NC           90012964345
B397943885B331   CYNTHIA        ROUW                     OR           90011154388
B397B915991248   SANDRA         RUFF                     GA           90009829159
B3982748955947   ANDREA         CLAY                     CA           90014787489
B3983A13A61994   LISA           LUNSFORD                 CA           90007390130
B398473253363B   JESSICA        SMITH                    NC           90012817325
B3988378255947   ESMAERALDA     LOPEZ                    CA           90011743782
B399142A485927   MACY           PAYTON                   KY           90013354204
B399272192B835   IVAN           BARROSO                  ID           90013297219
B3993795931688   THADDEUS       BARNES                   KS           22085917959
B3994537261994   VALAR          ALEX                     CA           90001665372
B399949892B271   STEVE          CARPENTER                DC           90013874989
B399B557993752   SUSAN          LEMASTER                 OH           90012155579
B39B1419831639   FORREST        WILLIAMS                 KS           90010094198
B39B2341591961   RONNIE         HARGROVE                 NC           90014823415
B39B3A62297124   ROSA           ROMERO                   OR           90008900622
B39B537A555972   MATTHEW        SZALAY                   CA           90004743705
B39B5921191585   ARTURO         ALDERETE                 TX           75087119211
B39B8391691961   TONIA          PULLEY                   NC           90014823916
B39B895982B941   ISRAEL         MUJICA                   CA           90014959598
B3B1163A676B27   JUANA          LOPEZ                    CA           46003996306
B3B1176362B941   CHRISTINA      PEREZ                    CA           90010777636
B3B14773497124   JOY            LAWRENCE                 OR           90013497734
B3B1527963363B   LACEY          ASBURY                   NC           90013772796
B3B17455372B69   SANTOS         OLIVAS                   CO           90013044553
B3B19754454122   NATASHA        LOPEZ                    OR           47050357544
B3B22692742332   MEL            BRYANT                   GA           90011446927
B3B25147176B27   AGUSTIN        LUT                      CA           90011691471
B3B25619743566   LANCE          JUSTET                   UT           90011816197
B3B2682152B99B   ABRAHAM        FRANCO                   CA           90012888215
B3B28116291585   ARMANDO        OROZCO                   TX           90001821162
B3B28247A2B271   SHERRILL       GRAY                     DC           90011562470
B3B28367476B27   SALVADOR       FLORES                   CA           90007553674
B3B284A2A55972   ANDRES         GARCIA                   CA           90000374020
B3B322A8424B64   KEVIN          WINKEY                   DC           90013582084
B3B33A9812B271   SANIYA         LYLES                    DC           90014600981
B3B34599991579   ANGIE          SIMENTAL                 NM           90012075999
B3B34976A91579   ELIZABETH      SANTOS                   TX           90008859760
B3B3BA21593727   KARLA          WARNER                   OH           90012620215
B3B41334397124   CHRISANTHY     TURNBOW                  OR           90014563343
B3B4312582B271   JOESPH         WILSON                   DC           90008921258
B3B43346991961   DEMARCUS       TILLIRY                  NC           90014733469
B3B44372272B62   BOBBIEARS      GARCIA                   CO           90013083722
B3B461A1293745   CHELSEA        WEBER                    OH           90008291012
B3B4639593363B   MARCOS         GUTIERREZ                NC           90013883959
B3B467A6493745   SAMANTHA       MAPES                    OH           90014817064
B3B4B231454122   HEATHER        SHIELDS                  OR           90007332314
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B3B4B821372B69   MELISSA        ZARATE                   CO           90011858213
B3B559A183363B   DAVID          DILLARD                  NC           90014939018
B3B56A8642B99B   JASMIN         VARGAS                   CA           90013210864
B3B5738355B396   JENNIFER       LYNN                     OR           90010413835
B3B5837672B271   AUDREY         CURTIS                   DC           90010533767
B3B594A6261994   JOSHUA         WILSON                   CA           90007314062
B3B59888855972   CYNTHIA        MUNIZ                    CA           90010248888
B3B61984A91579   MARAIANA       VASQUEZ                  TX           90013339840
B3B62267955972   SILVA          ATHENA                   CA           49045512679
B3B64725697124   ANDREA         SMITH                    OR           90014107256
B3B64AAA391961   MALIK          HARRIS                   NC           90010110003
B3B6572732B239   YARED          GIZAW                    DC           90000257273
B3B65AAA22B271   ZACHARIAH      BOODIE                   DC           90013680002
B3B77442797124   SALVADOR       VALLE                    OR           90010154427
B3B77819493727   JOHN           MCKENZIE                 OH           90014058194
B3B78573A57543   DEANDRE        ARROYO                   NM           90007345730
B3B78717443566   STEPHANIE      REESE                    UT           90014607174
B3B7B21AA31688   ASHLEY         CHAMBERS                 KS           22012292100
B3B7B43A772B69   DAKOTA         MILLER                   CO           90014034307
B3B814A8631639   DONNA          BLACK                    KS           90004444086
B3B81749891579   MARGIE         RONQUILLO                TX           90008327498
B3B82A5785B265   VERNIQUE       WILLIAMS                 KY           90010540578
B3B84395291362   JEREL          BROOKS                   KS           90007733952
B3B84687755947   VICTORA        LIMA                     CA           90014786877
B3B8562253363B   MIGUEL         URRUTIA                  NC           90014756225
B3B858A823363B   ADOLFO         GARCIA                   NC           90013818082
B3B8662217B489   SHALISHA       COOK                     NC           90013636221
B3B8697745B265   CONESHA        YATES                    KY           90012839774
B3B8B57A276B27   LINDA          MCMAHAN                  CA           46045125702
B3B925A3685927   KYLE           BOTTO                    KY           67004425036
B3B9298674B259   JOSEPH         NEUMEISTER               NE           90006389867
B3B95327891961   JALISA         KEYES                    NC           90014743278
B3B9537922B945   MARINA         JUAREZ                   CA           45058043792
B3B9568637B489   JOSE           VELASQUEZ                NC           90012046863
B3B9574224B537   DARIO          SANTOS                   OK           90010677422
B3B9582273363B   ELIZABETH      MEJIA                    NC           90013118227
B3BB121132B99B   ROBERT         SUPERNOR                 CA           90007772113
B3BB1617155947   CASSANDRA      CORONADO                 CA           90014786171
B3BB3A4482B99B   JANIENE        JEWELL                   CA           90013210448
B3BB418512B23B   ANTOINETTE     SWEETNEY                 DC           90001731851
B3BB7153272B69   JANAKI         SHARMA                   CO           90009851532
B3BB748242B271   AARON          MULHERON                 DC           90005984824
B3BB8A43361429   TODD           MICHAEL                  OH           90014130433
B4111114224B28   TAY            NIXON                    DC           90012211142
B4111462572B62   JARED          CAFFEY                   CO           90014094625
B4112336293727   TAREK          HUSSEIN                  OH           90009583362
B4116376891831   CREE           ROBINSON                 OK           90014943768
B4116535676B27   JORGE          LOPEZ                    CA           90011285356
B4116A15693745   NIKKI          PEMBLETON                OH           90005010156
B411757AA71929   ERIN           GARCIA                   CO           90011695700
B4117A7A65593B   MARIA          GARCIA                   CA           90013970706
B411826A172B62   EDGAR          GARCIA                   CO           90013932601
B4118464285927   STEPHEN        TUCKER                   KY           90009154642
B4124264154122   CAITLIN        MAHAFFEY                 OR           90014062641
B4124679991831   CYNTHIA        ROSS                     OK           90014386799
B4125345372B62   DALIA          MALDONADO                CO           90012603453
B4125395772B69   JUAN           ROMERO                   CO           90013743957
B4125748361952   JOSE           GARCIA                   CA           90009617483
B4126514655973   ANTHONY        BAGA                     CA           90010505146
B4127618472B69   ROJELIO        FAUDOA                   CO           90014006184
B4128988A54122   BRIAN          PHEPLS                   OR           90013039880
B412B268393745   JOHN           LOCKE                    OH           90014712683
B41334A6185936   MAGDALENA      GOMEZ                    KY           90012344061
B4134488691831   FAWN           CLAUNTS                  OK           90011534886
B4134722576B27   WILLIAN        MORENO PAZ               CA           90015337225
B4135184485927   IGNANCE        HATEGEKIMANA             KY           90012391844
B4136998261987   RODERICK       ALEXANDER                CA           90006359982
B4138543572B69   SALVADOR       RANGEL                   CO           90009265435
B4138748972B62   THOMAS         JIMENEZ                  CO           90012627489
B41395A458B175   RYAN           MILSON                   UT           90012625045
B4142289861987   RAGAN          TRYIAL                   CA           90003262898
B414277A993727   RICHARD        MAXWELL                  OH           90011607709
B4143858391585   CRISTOPHER     MCCLINTON                TX           90012848583
B414398A993752   DESTINY        RODRIGUEZ                OH           90013809809
B4145487155973   MATTHEW        VASQUEZ                  CA           90014644871
B4146818431639   ROSA           DE LEON                  KS           90013938184
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B4147641971929   CHERRELLE           JONES               CO           90014186419
B414866564B259   KIANA               BRYANT              IA           27087446656
B4153854393752   SHANTE              JOHNSON             OH           90008488543
B4156246A51355   SHALINA             GILLAM              OH           90009752460
B4158589276B52   LEWIS               SNYDER              CA           90004945892
B4158842531639   ROSA                DE LEON             KS           90013938425
B415934248B185   BELEN               HARO                UT           90005883424
B4159398A93745   RAUSHINDA           COOPER              OH           90014713980
B4159A48676B52   HORTENCIA           MENDEZ              CA           90008690486
B415B61A371929   SUMMER              MORGAN              CO           90012406103
B4161434955972   JOHNNY              MARTINEZ            CA           90013034349
B4162597631639   LANE                TURNER              KS           90000145976
B4162A77291831   RICHARD             PERRY               OK           90010860772
B4163988771929   HOLLY               MOBLEY              CO           90010469887
B416441A891585   ISAAC               INGO                TX           75039004108
B416563332B271   JOE                 SIMTH               VA           90012756333
B4165712173267   NICOLE              MORGAN              NJ           90014127121
B416636355B396   MONET               PERIKILA            OR           90014563635
B4166A24891585   EUNICE              JIMENEZ             TX           90011100248
B4168198776B27   NAHID               HABIB               CA           90014361987
B416968A371929   NICHOLE             ANDERSON            CO           90014186803
B416B6A792B271   AMANDA              PALMER              DC           90011186079
B4171114933635   CESAR               CABALLERO           NC           90012801149
B417588884B259   MICKI               VENCLAUSKAS         NE           27073498888
B4177386391585   ALFREDO             BERRA               TX           90012873863
B4177925133635   KRISTY              MELTON              NC           90011059251
B4179216331635   KAELYNE             DREW                KS           90007462163
B417BA77A33635   CECILIA             FRIAS               NC           90012800770
B4182299A31688   CINDY               WOOD                KS           90011262990
B418325A893727   DOUGLAS             SHINDELDECKER       OH           90013282508
B4186791A72B69   ANDE                SPAULDING           CO           90011077910
B4187176791554   JIMMY               MARTINEZ            TX           90009041767
B4187977531639   PATRICIA            ROBERTS             KS           90014429775
B4188AA9833635   MARISSA             BOOTHE              NC           90011080098
B418B515491585   VICENTE             CASTRO              TX           90010675154
B419215A393745   CONNIE              SCHNEIDER           OH           90013931503
B4192A1365B265   APRYLE              MILLER              KY           90013960136
B4194986676B27   MARTIN              SILVABOOST          CA           90004129866
B419757AA93727   MICHAEL             VARGA               OH           64517145700
B419B697693727   ELANA               ALLEN               OH           90015086976
B41B6974A5B396   CLAUDIA             PINON GARCIA        OR           90014539740
B41B699355B265   ERIC                HOBB                KY           90009189935
B41B913265B265   RACHAEL ANN VESTA   BREEN               KY           90012731326
B41BB655593745   LISA                JONES               OH           90013056555
B42114AA193727   MIKE                ONES                OH           90012014001
B4212995A31639   TAMMY               COLEMAN             KS           90013939950
B4214263671929   MARILYN             RUSSELL             CO           32076942636
B4214642485936   KELLI               TAYLOR              KY           90012166424
B421466A793745   DOMINIQUE           JONES               OH           90014726607
B4214711476B27   ANTHONY             HOWARD              CA           90013717114
B4216715A8B185   SAUL                FLORES              UT           31035887150
B4218A8278B197   CATHERINE           BROWN               UT           90014820827
B42218A6393752   RAYMOND             BAS                 OH           64586828063
B4222152371929   JAYCOB              HUNT                CO           90012501523
B422285A691831   MATTHEW             SORRELL             OK           90011678506
B4223147293745   BROOKE              SOLIZ               OH           90009701472
B4223777272B94   LORENA              BLANCO              CO           90011917772
B4223889976B27   LORENZO             DIEGO               CA           90010108899
B422466112B271   KIANNA              MURPHY              DC           90010736611
B422476A771929   HAILEY              BACKES              CO           90010307607
B422BA7A85B396   EDDIE               CASTRO              OR           90012950708
B423137A293758   LAUREEN             LIPKA               OH           90007263702
B423288A885927   MICKEY              BRUNER              KY           67085178808
B423417A82B271   CONNIE              FLEMMINGS           DC           90010551708
B423445892B271   HAILEMICHAEL        SEYOUM              DC           90015044589
B4238A16133635   ROSALINDA           GABRIEL             NC           90013930161
B423956644B537   ASIA                REED                OK           90009605664
B4243863533635   NORA                DIAZ                NC           90011428635
B4246398233635   PARICHAT            GLAMSANG            NC           90013933982
B42478A4A5B265   BRANDON             BOND                KY           90014548040
B4249722971929   ERIK                BRINKOPF            CO           90012417229
B425277A493758   RYAN                PORTER              OH           90013647704
B4253982955972   MANUEL              VEGA                CA           90013049829
B4253999331639   DILEUW              RODRIGUEZ           KS           90013939993
B425542A291585   WENDY               ORDONEZ             TX           90010454202
B4255452476B27   KYLE                SPRINGS             CA           90014054524
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B425B953572B62   JANET          SENA                     CO           90013049535
B4261617193758   CYNTHIA        COLLINS                  OH           90011836171
B4265919893745   DERION         WHALEY                   OH           90012279198
B426993A85593B   HARLEY         WHITENER                 CA           90010349308
B4271187985941   PETER          PADOVA                   KY           90012381879
B427151987B322   MARTIN         AMAYA                    VA           90005835198
B4271941591585   ALONSO         GARCIA                   TX           90013989415
B4272876541268   YUSEF          WASHINGTON               PA           90012368765
B4273636572B29   GINO           WOLFORO                  CO           90002946365
B4275868271929   RICHARD        RAMOS                    CO           90007108682
B427671425B265   JOHN           PEAK                     KY           90007457142
B4276A81876B52   GUSTAVO        RAMIREZ SICAIROS         CA           90013080818
B427729642B271   JOHN           WASHINGTON               DC           90010192964
B4278187985941   PETER          PADOVA                   KY           90012381879
B4278468255972   ADRIANA        ARRIAGA                  CA           90011784682
B4279274424B64   ALDO           VELASQUEZ                DC           90013922744
B4279875776B27   CAROL          LEE                      CA           90014138757
B427B451793752   TREY           DUNN                     OH           90011974517
B4281627891585   JOSE           TREVINO                  TX           90014726278
B42818AA891585   LUIS           LOPEZ                    TX           90011308008
B4286366724B64   SUREE          BROWN                    DC           90014503667
B4288426193752   JAMES          CHITWOOD                 OH           90010204261
B4289687685936   KATRINA        COX                      KY           66043786876
B42918A2591831   PRADO          GUILLERMO                OK           90013938025
B429193215B396   ROBERT         BARONDESS                OR           90013209321
B4292A6AA5B265   KATHERINE      BOARD                    KY           90014960600
B4296619633625   WILLIE         PRATT                    NC           90011816196
B4297944185936   MARLYS         POORE                    KY           90014609441
B429988A654122   WALTER         KUELCHER                 OR           90006058806
B4299963257568   LEANN          MARTINEZ                 NM           90011069632
B429B76325B396   CHRISTOPHER    HAMAN                    OR           90015117632
B429B84A891585   CLAUDIA        HERRERA                  TX           90014758408
B42B5714293745   ALISHA         BRADLEY                  OH           90010107142
B42B6218991831   MORGAN         ENNIS                    OK           90014232189
B42B732285B265   DONTREL        YOUNG                    KY           90014713228
B42B7849471929   CATHERINE      COLLINS                  CO           90001098494
B4311246591585   JESSICA        PARGA                    TX           90007202465
B4311758176B52   OMAR           CRESCENCIO               CA           90000527581
B4313372A72B69   JESSE          MILLER                   CO           90011983720
B4313781285936   JAMES          POFF                     KY           66084667812
B4314735291831   ERIKA          ESTRADA                  OK           90013947352
B4315682536B98   ALEXANDER      BOOKER                   OR           90011356825
B43156A7593727   JOHN           MALVEN                   OH           90006286075
B4315776776B27   MARTIN         OLGUIN                   CA           46080347767
B4315948272B62   ZACHARY        KELL                     CO           90012869482
B4316735291831   ERIKA          ESTRADA                  OK           90013947352
B4318268593727   CHARLES        JONES                    OH           64569262685
B4322735976B52   ZURI           WHITE-HUGHES             CA           90009347359
B43232A7A55973   ALAN           STEVENS                  CA           90005732070
B4324885591831   ALYSON         MADEWELL                 OK           90013948855
B4327A52176B27   WAYNE          TEMPLIN                  CA           90014140521
B4332545954122   JONATHAN       NAFTZGER                 OR           90008775459
B433757A424B64   RAYMOND        LEWIS                    DC           90001915704
B4337A8747B489   HECTOR         CARDONA                  NC           11086760874
B4338715655973   PRISCILLA      DELGADILLO               CA           90010527156
B4343946171929   JUSTIN         COOK                     CO           32010709461
B4347682985927   ERIC           CLEVELAND                KY           90014156829
B4347699131639   MICHAEL        GEE                      KS           90012026991
B4348385471929   JUAN           CHAVEZ                   CO           90010843854
B434B849255973   BRYAN          HERNANDEZ                CA           90010528492
B4354762791585   ARMIDA         PRIETO                   TX           90013667627
B4357A44555973   MAGDALENO      DURAN                    CA           90014660445
B4359376891831   CREE           ROBINSON                 OK           90014943768
B4361713755973   YESENIA        FIGUEROA                 CA           90002077137
B4365764976B27   ERIK           TELLES                   CA           46040927649
B436B67435B396   JOSE JUAN      REYES JIMENEZ            OR           90012016743
B437184122B271   MICHAEL        THOMAS                   DC           90010958412
B4372439991585   VICTOR         SALDIVAR                 TX           90013904399
B437745A272B62   ANDREA PAZ     TORRES                   CO           90011134502
B437852A571929   GUSTAVO        COLIN                    CO           90011135205
B437B17285B265   ANTHONY        SLOAN                    KY           90013341728
B43836A7155972   DONNA          CARTER                   CA           49024956071
B43856A1672B69   SOPHRONIA      DUNLAP                   CO           90012566016
B4385894A93758   COURTNEY       GEE                      OH           90014168940
B438795A861975   JOSH           HUGHES                   CA           90005909508
B4388A76591831   JENNIFER       BROWN                    OK           90014130765
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B439112215B265   SUZZANA        CASTANEDA ESCALONA       KY           90010641221
B4393252333635   TYSON          HINTON                   NC           90014662523
B4393929355972   RAMON          TORRES                   CA           90004319293
B4394243561987   MARLENE        ECHEVERRIA               CA           90003292435
B4394923154122   BLANCA         MONICO                   OR           90014689231
B4395429671929   JOSE           SANTOS                   CO           90010844296
B4396488691831   FAWN           CLAUNTS                  OK           90011534886
B4398193397B69   JOSH           HALL                     CO           90011881933
B4398318954122   TIM            VAUGHAN                  OR           90014293189
B4398429671929   JOSE           SANTOS                   CO           90010844296
B4398929A31639   JIM            SUTTLE                   KS           90012929290
B4399294391585   LAURA          HERNANDEZ                TX           75084262943
B4399838593727   JARED          SMITH                    OH           90013328385
B439B723793727   BRITTANY       REAVES                   OH           90013207237
B43B2254155973   GLORIA         ESCOBAR                  CA           48013402541
B43B3221476B52   VALERIA        LOZANO                   CA           90012782214
B43B3784933635   JEREMY         LONG                     NC           90000657849
B43B515285B396   GARY           SWARTWOUT                OR           90011921528
B43B5586691585   JESSICA        BEARDEN                  TX           90010965866
B43B6823A93758   JOSE           MARTINEZ CERVANTES       OH           90002158230
B43BB635976B52   ELIN           MOLINA                   CA           46045526359
B43BB765993727   DONALD         LODEN                    OH           90012797659
B4411158A71929   LORRIE         KING                     CO           90009791580
B44195A5491585   LISA           VACIO                    TX           90008735054
B441B755176B27   EDGAR          AGUILAR                  CA           46071137551
B4421787393745   SHERITA        BLOXOM                   OH           90011827873
B4422225693752   JUNE           SMITH                    OH           90012142256
B44223AA593752   JESUS          JASO                     OH           90010163005
B4423245971929   L              SPURLOCK                 CO           90010612459
B4424834593758   RAYMOND        HENN                     OH           90014178345
B442615937B489   MARION         WINSLOW                  NC           90014361593
B442784225B265   TIMOTHY        HENRY                    KY           90011328422
B4428767172B62   JENIFER        BROWN- GONZELES          CO           90012537671
B4431494454122   ALEX           DELAMORA                 OR           90015204944
B4432A67976B27   ANGELA         DIAZ                     CA           90005520679
B443456235B265   LATIA          GREENWELL                KY           90012695623
B443631A793745   SIERRA         BOYD                     OH           64508203107
B443816147B489   BRIDGET        KELLEY                   NC           90010291614
B4438824672B69   ANA            RIOS                     CO           90011078246
B44392A5255973   MICHELLE       SCHEELER                 CA           90014672052
B4446546741229   PAMELA         YASKO                    PA           51012585467
B4447462593752   LAMIYAN        KNOX                     OH           90012644625
B4451782531639   ANDRES         BONILLA                  KS           90012697825
B4457456A91582   EDUARDO        REYES                    TX           90004594560
B445831682B271   ALLEN          PITTS                    VA           90013223168
B4462817272B62   PATRICK        MCREYNOLDS               CO           33057568172
B4462A6A491585   LYDIA          GONZALEZ                 TX           90008100604
B4463283555973   DARLENE        RICO                     CA           90014672835
B4463924493752   SHANE          COLLINS                  OH           90015129244
B4466211185936   CADE           ALLSHOUSE                KY           90014522111
B446656247B489   RAFAEL         GUERRA                   NC           11077605624
B446757A485927   ANDEL          SOSA                     KY           90012125704
B4468634154122   ENRIQUE        HERRERA                  OR           90013476341
B4469163293727   ERIKA          LEONARDO DIAZ            OH           90010351632
B44715A5991585   GUADALUPE      BORREGO                  TX           90013665059
B4472694571929   DEREK          JONES                    CO           90011876945
B4473462485927   DELORIA        KAVANAUGH                KY           90014724624
B447558A876B27   CHRISTIAN      IBARRA                   CA           90013555808
B4476644255973   MARK           BARTLEY                  CA           90002936442
B447666859132B   ALLISON        RANGEL                   KS           90009266685
B447673215135B   RANNIE         CROSS                    OH           90014047321
B4478583172B69   MONICA         GALAVIZ                  CO           90012665831
B447897A893758   BRENDA         TAMREUTHER               OH           90014179708
B4478A86954122   MARK           FRANCIS                  OR           90013590869
B4479545671929   NATALIE        STERLING                 CO           90014205456
B447962127B421   RODERICK       FISHER                   NC           90009536212
B44797A5571929   NORMA          SILVA                    CO           90011877055
B4483518A76B27   IZABELLE       DOUCET                   CA           90012045180
B4486692276B52   MARIA          NOVOA                    CA           90011246922
B4486763A61941   JULIO          LAPENSEE                 CA           90008187630
B4486871931688   CASANDRA       GILBERT                  KS           22041838719
B449142647B489   VALERIE        FRATIER                  NC           90014654264
B4494412972B69   GLORIA         FLORES                   CO           90010174129
B44946A6A76B27   MARK           MATTISON                 CA           90014326060
B449515A75B265   BROOKE         SMITH                    KY           90008501507
B4496943385936   TOBY           HAMBY                    KY           90014509433
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B4497222593752   JULIA          BINGHAM                  OH           90012652225
B4498A27591585   SAMUEL         LOPEZ                    TX           75019520275
B44B46A2155973   LEE            SEE                      CA           48070026021
B44B627A391831   JEANE          MCNAC                    OK           90015012703
B44B834A655973   SHADI          ANAYA                    CA           90009443406
B44BB2A6791585   ALEJANDRA      LARA                     TX           90012662067
B4511585391831   ART            LITTLEFIELD              OK           90014465853
B4513A39793758   KRIS           PEAVY                    OH           90014180397
B451555858B185   KENT           SMITH                    UT           90005715585
B451627315B265   JOSE           HERNANDEZ                KY           68037942731
B4517136231639   REYNALDA       BERNARDINO               KS           22034351362
B4517447155972   POM            BOUR                     CA           90011794471
B4518521976B52   IRVIN          MUSGROVE                 CA           46051155219
B451B333572B69   JORGE          FABELA                   CO           33073383335
B4521918A5B265   NICHOLAS       LUCKETT                  KY           90014649180
B4522A8A77B489   BOBBIE         KIRKPATRICK              NC           90013530807
B4526A91993758   JACOB          WILLIAMS                 OH           90014180919
B4527712555973   ROGER          OROSCO                   CA           90014687125
B452799737B489   ELLER          STINSON                  NC           90014619973
B4532499991831   TANISHA        BLACKSHEAR               OK           90014514999
B4534178727B3B   DANIELLE       GEARY                    KY           90014841787
B4535125A93758   ANTHONY        GORDON                   OH           90014181250
B4535614272B69   JAMES          PRIGG                    CO           90009266142
B45457A2771993   MEGAN          HOUSTON                  CO           90012167027
B454878A271929   SAMANTHA       HART                     CO           90010307802
B4549482391831   AMOUS          HERRING                  OK           90014564823
B45512A6185936   BRANDI         SOLOMON                  KY           90011292061
B455519A991823   ALAN           COUCH                    OK           90007511909
B4555625893758   KRISTINE       CLAXTON                  OH           90013216258
B4559226654122   KYLE           JACO                     OR           90010742266
B4561A9A393752   TIMOTHY        GARRETT                  OH           64592630903
B4562245693745   DELORIS        PECK                     OH           90014152456
B45639A8633635   BETH           PERRY                    NC           90014099086
B45641A7A33635   JAVIER         BERNAL                   NC           90014161070
B4565837485927   TIFFANEY       WILLS                    KY           90012918374
B45683A4872B69   LEO            PAIK                     CO           90014903048
B4569395193727   ANGELACA       PLEASANT                 OH           90011393951
B4569777891574   OSCAR          MATA                     TX           90010887778
B456985882B941   REBECA         MONTOYA                  CA           45010628588
B45728A7576B27   ROSAURA        GARCIA                   CA           46037298075
B45739A8755973   CARRIE         RODRIGUEZ                CA           48007049087
B45766A3655973   YOLANDA        MEJIA                    CA           90010546036
B4577379691585   MINERVA        ACOSTA                   TX           90008303796
B4577721972B62   KHALED         MOHAMED                  CO           90011377219
B4582687554122   BRANDI         THAMA                    OR           90013616875
B45884A9293727   SHARIDA        JOHNSON                  OH           90013274092
B4589A99393758   KOBI           ONEIL                    OH           90011850993
B4591A67676B27   DAVE           CLARK                    CA           90007420676
B4592827376B52   BRIAUN         GROOTONK                 CA           90014668273
B4595713593745   DEREK          GREEN                    OH           90008647135
B4595824955973   PEDRO          QUEZADAS                 CA           90010968249
B4596232491585   LINE           KALEOPA                  TX           90007482324
B459B146857543   HUMBERTO       RODRIGUEZ                NM           90011571468
B45B4117372B69   DESTANI        FOSTER                   CO           90013321173
B45B4482585936   NICOLE         TURNER                   KY           66004894825
B45B5484471929   LUCRECIA       CARDOZA                  CO           90001774844
B45B5587391585   NOHEMI         MARTINEZ                 TX           90012695873
B45B8519776B52   PEDRO          LOPEZ                    CA           90014645197
B45B92A9293727   CARLY          BRYANT                   OH           90014662092
B45BB722A71929   FELIPE         MANZANARES               CO           90012897220
B461116145B265   VICKIE         WEST                     KY           68040951614
B461387965B396   REFUJIO        CRUZ                     OR           44573298796
B46153A8591592   ABLE           MONTELONGO               TX           90011043085
B461684398B197   ANTHONY        JOHNSTON                 UT           90002258439
B46183A4571929   ANGELICA       JOHNSON                  CO           90012903045
B461853A87B489   DJ             JACKSON                  NC           90014655308
B4619199372B62   ROGELIO        MANJARREZ                CO           33037261993
B461946958B185   JOSE           DELGADO                  UT           90003984695
B462268524B542   SHERESA        HOLDERBEE                OK           90009586852
B462388A472B62   MICHAEL        WOZNIAK                  CO           90010068804
B4624AA7955972   NIKKI          GARCIA                   CA           90013040079
B4625265661987   MIGUEL         MORROW                   CA           90006462656
B4626847476B27   JULIA          VASQUEZZ                 CA           90013368474
B4628369876B27   DANIEL         ARENA                    CA           46018543698
B4629781271929   ANDREW         NELSON                   CO           90009117812
B4632A43941276   ROBERT         MIRT                     PA           90008470439
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B4634283293745   LOGAN          RIGSBY                   OH           90012572832
B4642699285936   SHANNON        BEACH                    KY           90010166992
B4648475654122   MARLA          GRAY                     OR           90013954756
B4649661854122   JORDAN         FARRIS                   OR           90013956618
B4649936991831   CRYSTAL        RILEY                    OK           90014369369
B4651161993745   COLONEL        RAGLAND                  OH           90013941619
B465291A12B271   SHANELL        WILLIAMS                 DC           90011559101
B4652A1377B334   CLAUDIA        PICADO                   VA           90011490137
B46532A1993745   ETHAN          COCHRAN                  OH           90013942019
B4653928693752   TONYA          BURNS                    OH           90013259286
B4654928691831   ONOVELLA       TITSWORTH                OK           90014719286
B4655294676B27   CLAUDIA        PEREZ                    CA           90014762946
B4657A13291831   KELLY          FAULKS                   OK           90014730132
B465BA39893727   CLORAL         CLINARD                  OH           90007650398
B4661757333635   REINA          CASTANEDA                NC           90008687573
B466321592B271   CHAPALE        WARREN                   DC           90012842159
B4665452555927   MARIO          VEJAR                    CA           90011534525
B4667131191585   NATIVIDAD      GUERRERO                 TX           90012181311
B4667588376B52   DOUG           ALBERT                   CA           90001565883
B466863A191831   BRITTNEY       AMANN                    OK           90014736301
B4672868A93745   RONNIE         PRICE JR                 OH           64561278680
B4674692A76B27   LAUREN         LONGACRE                 CA           90011126920
B4675199A72B69   CHRISTOPHER    MASON                    CO           90010361990
B4675618493727   MR             HARRIS                   OH           90011176184
B4678948891831   CASSANDRA      COLE                     OK           90014749488
B4678A2212B945   SCOTT          GRAY                     CA           90010650221
B4679487533635   HAROLIN        GERVACIO                 NC           90011254875
B4681522731688   GOLDA          FRALIN                   KS           90008185227
B4686526A93758   REBECCA        BLAZER                   OH           90014185260
B4687336861937   ASHLEY         BROADBENT                CA           90012563368
B4688457876B27   VANUSTIANO     VASQUEZ                  CA           90010084578
B4689539793758   MAIRA          PEREZ                    OH           90014185397
B468B81218B133   MARILYN        PETTY                    UT           31011888121
B4691338691831   MICHELLE       ANDERSON                 OK           90014783386
B4691945793783   AMY            SMYER                    OH           64591209457
B46921A6436B98   BRANDON        BRODDY                   OR           90012891064
B46926A7676B27   ANGELICA       VIDAURRI                 CA           90014326076
B4692778255973   CRISTINA       PALMA                    CA           90014717782
B4694332585936   SHARON         DUVALL                   KY           90014533325
B4694561472B62   SYERA          DIGGINS                  CO           90010375614
B46949A275B396   TIMOTHY        RAYMOND                  OR           90013939027
B4695A31354122   AMY            DECHELLIS                OR           90013160313
B4698365891831   REBECCA        SMELSER                  OK           90014793658
B4699414171929   LEO            ESELY                    CO           32035494141
B469B73848B185   CELINA         CALVILLO                 UT           90006527384
B46B1839571929   GRETA          BRUAN                    CO           90009918395
B46B223282B271   ANGELA         BOLDEN                   DC           90005982328
B46B2584A54122   BRYAN          NISLER                   OR           90002965840
B46B51A7493745   FEATHER        PARKS                    OH           90010991074
B46B7517891585   HERNANDEZ      MIGUEL                   TX           90012995178
B46B981A355973   CARMEN         JONES                    CA           90010548103
B46BB53815B396   DEBORAH        TRAVIS                   OR           90015325381
B471456145B396   ROBERT         TOTH                     OR           90014575614
B4714A29755973   ESTEBAN        VARGAS                   CA           48095860297
B4715386876B27   JAVIER         GARCIA                   CA           90011593868
B471758A954122   BRITTAIN       BOWLING                  OR           90010955809
B4718132381651   SAMUEL         LOPEZ                    MO           90011691323
B471917A276B27   DELANDA        CLARK                    CA           46050471702
B471927285B265   DENISE         BELL                     KY           90014172728
B4719712871929   NICOLE         BLEVINS                  CO           90012457128
B4722259A93752   NICOLE         ROYALTY                  OH           90010772590
B472266537B439   ELIDA          ROMERO                   NC           90008326653
B4722836171929   WILLIAM        WARNER                   CO           90014488361
B4726156293758   ANGEIA         CURTIS                   OH           90002571562
B4727554291831   BRITTANY       WALLINGTON               OK           90014875542
B472941A872B69   BUFFORD        RICKEY                   CO           90014804108
B4732623991585   LINDA          GREGORY                  NM           75087226239
B4735A33154122   VICTORIA       SMITH                    OR           47024200331
B47369A5793745   JESSICA        LONG                     OH           90011209057
B4739367385927   MIKE           BUFFINGTON               KY           90008993673
B4739A54676B27   VALENTINO      LOPEZ                    CA           90002300546
B473B727872B69   MANUEL         HERRERA                  CO           90013007278
B473B941593752   ALEX           CAMPBELL                 OH           90000649415
B4741565A81655   DEBRA          SMITH                    MO           90014585650
B4743275493745   DANIELLE       WRIGHT                   OH           90011452754
B4743539955979   DANNY          CONTRERAS                CA           49015945399
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B4743A29485927   ASH            JOHNSON                  KY           90012650294
B4744137936B98   SHAILA         LOZANO                   OR           90000841379
B47482A337B421   SABINO         SANTANA                  NC           90009602033
B4748A42633635   RICKY          THOMPSON                 NC           90015110426
B4753967976B27   JOSE LUIS      AGUILAR                  CA           46086709679
B475567753B396   GARCIA         CAMI                     CO           90012146775
B4756793A76B27   GUADALUPE      DOMINGUEZ                CA           46017157930
B4758A54391585   RUBY           RAMIREZ                  TX           90012050543
B4759411751324   CONNIE         JONES                    OH           90012454117
B475B75915B265   BEATRICE       MAYES                    KY           90007917591
B4761376891831   CREE           ROBINSON                 OK           90014943768
B4761641272B62   STEVE          COLWELL                  CO           90013396412
B47616AA972B62   STEVE          COLWELL                  CO           90013496009
B476179325B265   LUCRETIA       REEDER                   KY           90013657932
B4764A54A71929   JAMES          TEEJAN                   CO           90010000540
B4765191385936   JEREMIAH       AUSTIN                   KY           90013571913
B4766155172B62   CARLY          MCQUISTON                CO           33090221551
B4766328531639   KEYA           PEARSON                  KS           90009403285
B4766895554122   KEVIN          COOLEY                   OR           90014168955
B476746145B396   DAN            JARRETT                  OR           90014504614
B4769937831639   KEVIN          GODSEY                   KS           90013949378
B4773339654122   LEANNA         DUNBAR                   OR           90013433396
B4776A2812B271   LAKESHA        STEWART                  DC           90005500281
B4777563872B62   DAVID          ALVARADO                 CO           90011135638
B4778216855973   RUBEN          ALEMAN                   CA           90014722168
B4781127393727   ETHEL          MCGHEE                   OH           90004971273
B47815AA25B396   RICHARD        SICKLES                  OR           90013005002
B4781745771929   MARCUS         MARTINEZ                 CO           90013007457
B478234452B271   JUAWANA        HARRIS                   DC           90014623445
B4786282593758   HARRY          NEWCOMER                 OH           90005102825
B478759A272B62   MICHAEL        PENA                     CO           90013295902
B47879AA95B555   ALMA           CANO                     NM           90003709009
B4789242291585   DALIA          ELIAS                    TX           90000412422
B4791243655973   ASHLEY         TRAVIS                   CA           90011372436
B4791A67654122   DESTINEE       HALTER                   OR           90000720676
B4792447193745   NORMA          PENCE                    OH           90012104471
B4792534993745   TIFFANY        BUSTOS                   OH           64595055349
B4792624493752   JESSICA        SPEARS                   OH           90013856244
B4794399555973   LEANARD        HUGHES                   CA           90010563995
B4794534176B27   LINDA          INDA                     CA           90012805341
B4795116991585   SAENZZ         MONICA                   TX           90010241169
B4797528536B98   JASON          NEIKES                   OR           90012955285
B479787A272B69   PAUL           HAYWARD                  CO           90011688702
B479828A785936   SHERRY         PITTS                    KY           90014862807
B479936915B265   ISIDRO         VALLE                    KY           90012673691
B479B243655973   ASHLEY         TRAVIS                   CA           90011372436
B47B366754B259   RACHAEL        ZELENY                   NE           27010716675
B47B482945B396   NICOLE         FRANZEN                  OR           90002708294
B47B6375576B27   DIANA          GARCIA                   CA           90011593755
B47B897912B271   SHAWNA         SMITH                    DC           90009359791
B47BBA2812B271   LAKESHA        STEWART                  DC           90005500281
B4812389A2B252   JOSEA          HICKS                    DC           90008473890
B481276A95B265   NANO           MOVSISYAN                KY           90013977609
B4813813391831   DESHAUN        REED                     OK           90015088133
B4814A13955973   AMANDA         CLARK                    CA           48088090139
B4816389593752   JOCEL          COCHRAN                  OH           90013713895
B4817813A5B396   NOAH           AGUILAA                  OR           90000468130
B4819867691585   BARBARA        SPANGLER                 TX           90009428676
B481BA8275B396   JOAN           FINHOLT                  OR           90012620827
B482153625B349   MARIA          MANGIAMELLI              OR           90010085362
B4825673793727   CYNTHIA        COLLINS                  OH           90013766737
B4826722733635   JOHNNIE        JORDAN                   NC           90013937227
B4829788185936   HOUSSEYNE      YURO                     KY           90014767881
B482B513191585   MIGUEL         ORTIZ                    TX           90011595131
B4831821293752   KADISHA        DAVIS                    OH           90005328212
B4832231471929   ARA            SMITH                    CO           32085332314
B4833183A72B62   KRISTI         BISHOP                   CO           90010281830
B4834627855973   JULIO          PALACIOS                 CA           90014736278
B4836613493745   ABRAM          BRESLIN                  OH           90012136134
B4843467461987   CARLOS         CEBALLOS                 CA           90010194674
B4848395172B69   KRISTEN        J ELLIS                  CO           90011983951
B4851563872B62   DAVID          ALVARADO                 CO           90011135638
B485386A993752   SEAN           MULLINS                  OH           64550738609
B485472A476B27   MARLENE        GARCIA                   CA           90013717204
B4856821355972   JOSE           ALVAREZ                  CA           49025188213
B485864595B265   KATOSHA        ROBINSON                 KY           90014346459
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B4863368231639   WYEVETTA       VICK                     KS           90013623682
B486669A25B265   SHANE          GAHAFER                  KY           90012486902
B4867613754168   MYRON          TOBIAS                   OR           90014576137
B486954265B396   MICHAEL        CHESTER                  OR           90013845426
B486B597291585   LUIS           VILLAREAL                TX           90012515972
B4872A8735B265   CHRISTOPHER    NYBERG                   KY           90014770873
B4873148276B52   DANIEL         HUFF                     CA           90013221482
B4873754676B27   MAYRA          LOPEZ                    CA           46077177546
B4877149591592   DELLA          DIAZ                     TX           90001291495
B4877349176B52   JOSE           FELIPE ACOSTA            CA           90008453491
B4879571633635   KELLI          JENNINGS                 NC           90009855716
B48798A722B271   LEONARD        SMITH                    DC           90011968072
B4881849493727   BRANDY         MCCUBBINS                OH           90013688494
B488292A972B69   DYLAN          FRANKOWSKI               CO           90011079209
B4883151971929   JESSIE         LAHR                     CO           90013021519
B48862A2485938   GARY           CARLISLE                 KY           90013472024
B4887542372B47   MAJEST         RIDGE INC                CO           33021545423
B4889123185936   CHRISTINA      MALOTT                   KY           90007861231
B488B917572B69   RAQUEL         PEREZ                    CO           90011079175
B4891394936B98   KHISNEEL       LAL                      OR           90013893949
B4892889A72B62   KARLA          QUEZADA                  CO           90014928890
B4893346A91574   GEORGINA       TORRES                   TX           90011123460
B4893812993752   STEVEN         GATES                    OH           90007978129
B4893987233635   JOSILYNE       NUNEZ                    NC           90013939872
B48947A6854122   THOMAS         SCHMUDE                  OR           90012007068
B4898115333635   CHRIS          MILES                    NC           90009431153
B489885A55B396   JOHNATHON      SCHNEIDER                OR           90013378505
B489BA63591843   ROSA           GONZALEZ                 OK           90012420635
B48B1A26485927   TRACY          COX                      KY           90013140264
B48B2687572B69   ERIC           THOMPSON                 CO           90014086875
B48B415A493727   REGINA         WAGERS                   OH           90003151504
B48B5369876B52   GRECIA         GUERRA                   CA           90013023698
B48B5375272B69   KENNETH        FRANCIS                  CO           90008693752
B48B5A71385927   MARIANA        ORTEGA                   KY           90011870713
B48B617752B271   JA MEL         WINSTON                  DC           90012831775
B48B6861955973   SILVIA         GODINEZ                  CA           90009428619
B48B7442133635   MARLITA        NEVILLES                 NC           90014654421
B48B89A1172B69   ELISE          YORK                     CO           90014009011
B48B9299193758   JAMES          GRIFFIE                  OH           90010542991
B48B9946A91585   MARTIN         MORALES                  TX           90004549460
B48BB9A635B396   MAYELINA       GUERRA CASTANO           OR           90013569063
B4911781154122   CINDI          WILLIAMS                 OR           90010457811
B4911822191585   LEDEZMA        SKYLER                   NM           90007928221
B4911872593745   SEQUAN         GIBSON                   OH           90012268725
B4914112631639   SHELLEY        MCLOUD                   KS           90013951126
B4914922671929   ANTONIO        RUIZ                     CO           90012459226
B4915754455973   JOSHUA         RIVERA                   CA           90014737544
B491712235B325   RICARDO        BELLO                    OR           90008761223
B4917A42471929   ELAINE         TRUJILLO                 CO           90013000424
B491945675B396   ALEKSANDRA     RODRIGUEZ                OR           90008964567
B491B96358B185   CHUCK          DAVIS                    UT           90010959635
B49225A9A28177   MILAYA         TAYLOR                   CO           90005505090
B4923436733635   LETICIA        MARTINEZ                 NC           90013944367
B4924499477545   FRANCISCO      NUNEZ                    NV           90011844994
B4926371984329   ELIZABETH      CLAVEL                   SC           90008503719
B492671275B396   UKPABI         UKPABI                   OR           44589267127
B4928999554122   DONALD         BERGOUNE                 OR           90014409995
B492935663B399   KYLE           LUEBKE                   CO           90014313566
B4929361993752   RONNESHA       JONES                    OH           90011083619
B492B819443583   KAITRIN        MATTHEWS                 UT           90013638194
B4931713347839   JENNIFER       QUICK                    GA           90010277133
B493218A25B333   LATEEA         MARTIN                   OR           90009751802
B494187A772B62   FRANK          SANTIAGO                 CO           33012288707
B4945A59954122   JOHN           ALBRIGHT                 OR           47042100599
B4946857A33635   RUSSEL         BOLTON                   NC           90005908570
B4947711331639   KENNY          COBERLEY                 KS           90009057113
B4947891791585   RODRIGO        BAFIDIS                  TX           90008168917
B494949492B271   KEVINA         SMITH                    DC           90012974949
B494B894791585   CARL           WALLACE                  TX           90007928947
B4953418585936   DIONNE         BURRESS                  KY           90011974185
B4955652293745   LEE            LANDY                    OH           90012136522
B495591A493745   JESSE          STILLGESS                OH           90014029104
B4956137572B69   CHRISTIAN      AGUILAR                  CO           90013681375
B4956169293745   JOE            JOHNSON                  OH           90013491692
B4957562454122   RYAN           ROSS                     OR           90015035624
B495917A63B13B   MIGUEL         JIMENEZ                  VA           90008191706
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B495B424885927   JOSE           PEREZ                    KY           90013694248
B495BAA4793745   LEIGHANN       SCOTT                    OH           90011030047
B4962A6512B271   MELISSA        MOORE                    DC           90013440651
B4963A42A71929   YODIRA         MONQUERO                 CO           32038560420
B4965967272B69   MARIO          FALCONI                  CO           33012599672
B4967512191585   GEORGE         DE LA O                  TX           90010095121
B4969735176B52   CARRI          STARWALT                 CA           90014787351
B496B299A2B271   ANDRE          BARRITEAU                DC           90012782990
B497236582B271   ALTAGRACIA     MARTES DE GONZALEZ       DC           90000103658
B4975123176B27   GUSTAVO        RAMIREZ MONTERO          CA           90013691231
B4976846A54122   BONNIE         BALDWIN                  OR           90014808460
B497856575B396   LUCAS          MILLER                   OR           90012175657
B49785A7A5B265   HECTOR         SANCHEZ-LOPEZ            KY           90012775070
B4982246891585   LILIA          VIGIL                    TX           90013672468
B4987423172B62   VERONICA       CARMEN FERRER            CO           90010784231
B498B964686B94   KELLY          SANTANIELLO              CT           90014299646
B4992322885936   MICHELLE       NELSON                   KY           90014803228
B4993617472B62   AARON          LEE GIVEN                CO           90011136174
B4994982391554   DAVID          RAMOS                    TX           90013259823
B499699A254122   ROB            SMITH                    OR           90015109902
B499815A672B69   RASHAD         KING                     CO           90012161506
B49B3562272B62   LAWRENCE       HRUDA                    CO           33092475622
B49B492822B271   MARIA          YOLANDA FRANCO           DC           90012309282
B49B6A22A76B52   ARMANDO        RAMIREZ                  CA           90007100220
B49B7A78972B62   JULIA          GONZALEZ                 CO           90010170789
B4B11334293752   ANDREW         HOLMAN                   OH           90013223342
B4B16A8A472B62   JAZMINE        MARTINEZ                 CO           90012940804
B4B1741245B396   PATRICK        NEWBERRY                 OR           90010954124
B4B1B261693745   KATHY          ENGLE                    OH           90012432616
B4B23333122963   ROSENDO        HERNANDEZ                GA           90013873331
B4B25125993745   PATRICIA       RICKMON                  OH           90010951259
B4B26268393745   JOHN           LOCKE                    OH           90014712683
B4B27352591592   LUPE           SALAZAR                  TX           75039073525
B4B29332585936   DAWN           HARRELL                  KY           90002763325
B4B29615172B69   GEORGE         DIAZ                     TX           90010436151
B4B2B128591831   CAMISHA        BARNES                   OK           90014161285
B4B3129335B265   LODIA          PADILLA                  KY           90014342933
B4B33A55654122   KYLE           JACO                     OR           90012340556
B4B34318A91831   ANGELA         MILLS                    OK           90014873180
B4B35634391585   WILLIAM        RODRIGUEZ                TX           90012936343
B4B35A42533635   CATHERINE      WHITE                    NC           18068380425
B4B36923485936   CHARLES        HOMER                    KY           90007579234
B4B37AA9991831   SHENIA         WILLIMAS                 OK           90015010099
B4B38714171929   SHARON         JOHNSON                  CO           32072517141
B4B39243155973   SALLY          DE OCHOA                 CA           90010492431
B4B4126333B396   MICHELLE       GARNICA                  CO           90010892633
B4B42497172B69   EDLYN          RODRIGUEZ                CO           90009264971
B4B42912976B52   SAMANTHA       BECIRRIL                 CA           90006569129
B4B4396A585927   RHONDA         MEEKS                    KY           90003429605
B4B46635776B27   AIOTEST1       DONOTTOUCH               CA           90015116357
B4B46641676B52   EDGER          TALAVERA                 CA           90012296416
B4B47512691585   JOANNA         PALOMARES                TX           90011275126
B4B49775276B27   LETICIA        CARRILLO                 CA           90013007752
B4B4B243155973   SALLY          DE OCHOA                 CA           90010492431
B4B5525559716B   ALBERT         LEWIS                    OR           90006982555
B4B58942654122   ANGELA         BUSH                     OR           90010619426
B4B59942A85927   DARREN         TURNER                   KY           90012019420
B4B5B264893758   SAMUEL         GEBREWAHID               OH           90014162648
B4B61152333635   KIEVANHAN      RORIE                    NC           90013961523
B4B61795876B27   JAVIER         MUNOZ                    CA           90013357958
B4B63415555972   MICHAEL        DE LA CRUZ               CA           90013034155
B4B6529852B271   PATRICIA       GAMBLE                   DC           90012562985
B4B6548227B489   MARIAH         WILSON                   NC           90014614822
B4B68654931639   PATRICIA       SCHARTZ                  KS           90013936549
B4B7376A131639   JERRY          WALKER                   KS           90012267601
B4B74364851349   RICKY          MORT                     KY           90012963648
B4B75A24171929   JANET          ANSELL                   CO           90004230241
B4B78585257142   ZAYRA          MEDINA                   VA           90012585852
B4B79A37891585   ALEX           LERMA                    TX           75037900378
B4B7B465976B52   RAFAELA        PEREZ                    CA           46007404659
B4B81449454122   BRYAN          ZINNERMAN                OR           90014764494
B4B81787A91563   ELIVIER        GARCIA                   TX           90002877870
B4B828AA291831   FERNANDO       WEBSTER                  OK           90012388002
B4B83127571929   DAVID          PEREZ                    CO           90010841275
B4B83948A91831   VERONIC        ADAMS                    OK           90013759480
B4B8489448165B   BART           WHORTON                  MO           90013018944
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B4B86573491831   THOMAS              JOHNSON             OK           90011295734
B4B86691885936   DAVID               BYRD                KY           90002846918
B4B87592291831   EDWENA              BROWN               OK           90011295922
B4B8768A785927   CHRIS               LANE                KY           90014156807
B4B8B37A655972   MANUELA             MEDINA              CA           90013033706
B4B8B628A76B52   RYAN                CHRISTIANSON        CA           90014206280
B4B91456585927   TEREKA              GUIN                KY           90011164565
B4B9271362B22B   MIGUEL              FUENTES             DC           90012497136
B4B94377391831   ANGEL               HUGHES              OK           90011373773
B4B9558287B489   CYNTHIA             LINCOLN             NC           90007335828
B4B9726A172B62   EDGAR               GARCIA              CO           90013932601
B4B9756A871929   MICHAEL             HUDAK               CO           90014185608
B4B97716981452   SIERRA              RIMPSON             PA           90013937169
B4BB124775B389   CHRISTIAN           RAMIREZ             OR           90006812477
B4BB185884B259   ALEXIS              WILSON              NE           90001508588
B4BB4A3AA93745   SHAWN               RICKMON             OH           90010950300
B4BB6999A33635   ANTHONY             BURTON              NC           90014469990
B4BB6A6A371929   JOSHUA              BROWN               CO           90014480603
B4BB7224A55973   ANGEL               VIGIL               CA           90014632240
B4BB7627A91831   RICO                DAVIS               OK           90011156270
B4BB8A6325B396   EDUARDO             RODRIGUEZ           OR           90012620632
B4BB9881993745   DEBORAH             THOMPSON            OH           90014798819
B5112867272B69   JORGE               LEMOS               CO           90013038672
B5112A45A5B396   MATT                BEILENBERG          OR           90009960450
B5115583693758   MARIA               LEON                OH           90005565836
B5116373A93758   TAMMY               WILLIAMS            OH           90014363730
B5118377236B98   MARIA               AYALA               OR           90013943772
B5119679172B69   ROB                 BENDER              CO           90006196791
B5119A65955947   SOUA                THAO                CA           90010470659
B5122581355959   GENARO              RUIZ                CA           90013585813
B5122872651332   JAMES               KNISLEY             OH           90001268726
B5127449155947   ELIZA               FERNANDEZ           CA           49071724491
B5127532476B27   ELENA               VASQUEZ             CA           90014835324
B512931622B246   TENEYA              EVENS               DC           90006013162
B512B3A682B271   TENICA              SANDERS             DC           90002933068
B5131565131639   MARTIN              NIETO               KS           90009195651
B5133692893745   TIFFANY             SODDERS             OH           90013586928
B513514A555959   FRANCISCO           JUAREZ              CA           90011061405
B51361A3772B62   SARA                HOLSELTON           CO           90013541037
B5138A81876B27   GUSTAVO             RAMIREZ SICAIROS    CA           90013080818
B5141414A8B12B   JOSH                FLORENCE            UT           90009924140
B5148A7832B271   TANGELA             FERRELL             DC           90012920783
B5149572A2B271   CRYSTAL             WHITE               DC           90006075720
B514B843781626   MICHELLE            WILSON              KS           90002238437
B51515A1955994   LANCE               POFAHL              CA           90008635019
B515381A991585   JACKIE              GUERRA              TX           75098398109
B5158242693758   LISA                BARNEY              OH           90012512426
B5159223691585   MARY                WESTON              TX           90012022236
B5162311355947   ROSA                MARTINEZ            CA           90013033113
B5165AA9872B62   REBECCA             HYER                CO           90013010098
B5166194772B4B   RYAN                BASS                CO           90010871947
B51673A3185927   MISTY               SHELTON             KY           90014683031
B5167AA9872B62   REBECCA             HYER                CO           90013010098
B51695A1933635   WENDY               CARRILLO            NC           18064135019
B516B815476B27   MATTHEW             DATTAGE             CA           90013468154
B516B852224B55   GAIL                BICKERSON           DC           90009178522
B517245A493745   PAUL                CONNELLY            OH           64517264504
B5173174161987   MARIA               CHAVEZ              CA           90009701741
B517B545954122   JONATHAN            NAFTZGER            OR           90008775459
B5181A43872B62   SAMUEL              LEAL                CO           33019250438
B5182243255959   JAVIER ROSENDO      ZAPOTECO            CA           90013712432
B5182994A33635   ROBERT              MILLER              NC           18018789940
B518412AA55947   SHERRYL             EVERITT             CA           90006221200
B5184964455959   ESTEBAN             DE LOERA            CA           90014099644
B5185633476B27   GUADALUPE           ESCALERA            CA           90006706334
B5185AA495B396   AJ                  KELLER              OR           90014420049
B51879AAA54122   TRINA CONSTANTINE   CONSTANTINE         OR           90008889000
B5189535591554   ANA                 ALVIDREZ            TX           90008875355
B518B143693727   LIYLA               SMIEH               OH           90006341436
B51913A6243589   JOHNATHAN           ROMERO              UT           90009973062
B5191533843589   ORLANDO             GUTIERREZ           UT           90006805338
B5194812754122   KEN                 DOWNING             OR           90011088127
B5198224391585   MICHELLE            GARCIA              NM           90011852243
B5199988155947   NACIO               DELGADO             CA           90010769881
B519B296493752   MEGHAN              SHIVELY             OH           90000232964
B519B351184346   JENNIFER            HARRISON            SC           90000403511
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B51B2656372B69   VONNIE         ASBERRY                  CO           90010126563
B51B399A972B62   SHAYLA         MANNING                  CO           90013009909
B51B3A9154B56B   ELVIS          MBATU                    OK           90011130915
B51B4661354122   TISHA          LEE                      OR           47026996613
B51B6469543589   JOSE           ARCE                     UT           90011544695
B51BBA52785927   MARTIN         BROTHERS                 KY           90013470527
B52118A8243589   SHANNON        BARNES                   UT           90014758082
B5213772351391   JEREMIE        WHEELER                  OH           90000877723
B5214173524B64   CESAR          HERNANDEZ                DC           90007341735
B5214453793745   DAVID          HAYES                    OH           90013994537
B521455A55B561   BENJAMIN       WILLOUGHBY               NM           90012285505
B5219763476B27   DENEED         BAKER                    CA           90014667634
B5223336A2B271   JAMIE          BATTLE                   DC           90001403360
B5223363855947   JASMIN         LOPEZ                    CA           90013023638
B52245AA585927   DAVID          CLAY                     KY           90011195005
B5224A62476B27   ARELY          SEGURA                   CA           90013370624
B5227687554122   BRANDI         THAMA                    OR           90013616875
B52285AA585927   DAVID          CLAY                     KY           90011195005
B5228756872B94   TOSHA          HOLLIDAY                 CO           90013037568
B522B5AA585927   DAVID          CLAY                     KY           90011195005
B522B87325B396   ELI            ZUBER                    OR           90013528732
B5231A25985927   KEIRA          JOHNSON                  KY           90014090259
B5234351293745   ROBERT         ROBINSON                 OH           90013783512
B523578A554122   DEBBIE         OWENS                    OR           90011317805
B5236937631639   WARREN         GROVER                   KS           22093839376
B5238264A5B541   ANTHONY        PETTIT                   NM           35084442640
B5241882576B27   ROSEMARY       DOHRER                   CA           90015148825
B5244413691524   DELGADO        BENJAMIN                 TX           90009624136
B5248487A5B265   DOMINIQUE      RHODES                   KY           90003004870
B5249299293758   WILLIAM        WHITLOW                  OH           90009422992
B5253324672B62   ANGELA         THOMAS                   CO           90007983246
B5256A55A54122   KRYSTA         MEYERS                   OR           90010230550
B5258784343589   ADRIANA        CARDONA                  UT           90004997843
B5258818572B69   SILVIA         RAYES                    CO           90011068185
B5261327661925   MOISSE         CARRILLO                 CA           90009393276
B5262661354122   TISHA          LEE                      OR           47026996613
B5269884655959   GUSTAVO        MENDOZA                  CA           90012338846
B5269952793745   KIMBERLY       MILLER                   OH           64572959527
B5272436393752   TONEE          DELELLIS                 OH           90009604363
B52726AA243589   LANDON         WHITTINGTON              UT           90010976002
B5273226185941   KAYLA          BROWN                    KY           90015162261
B5273524993745   DESTINY        HARVEL                   OH           90012965249
B5278526843589   KIMBERLY       FACKRELL                 UT           90009245268
B527955A731639   SHANE          EAST                     KS           90013905507
B5282537285927   RAYMOND        STONE                    KY           90000465372
B5283498787B54   SHAMEISHA      MCCLAIN                  AR           90013004987
B528411132B271   SARAH          JONES                    DC           90008841113
B5284A8545B396   JESSICA        POPE                     OR           90012850854
B52853A3185927   MISTY          SHELTON                  KY           90014683031
B5286198776B27   NAHID          HABIB                    CA           90014361987
B528712962B271   MICHAEL        WALKER                   DC           90013261296
B5287136776B27   MARIA          MARTINEZ                 CA           90014551367
B5287A65172B62   AMANDAJEAN     JEAN                     CO           90013010651
B5288224821B42   CARLOS         FIGUEROA                 TX           90013222248
B529198A293745   DONOVAN        BODDIE                   OH           90014769802
B5292775A2B271   MARK           WOODARD                  DC           90012937750
B5293787A72B62   ALISON         HAMMOND                  CO           90009137870
B5294894176B27   ANTONIO        REYES                    CA           46043988941
B5295236893727   JOSEPH         SIMPKINS                 OH           90013012368
B5295475293745   JOHN           WHEELER                  OH           90013824752
B5296259491585   VANESSA        SOTO                     TX           90014472594
B5296567391585   JANIS          CARROLL                  TX           75013725673
B529BA63143589   JULIE          ROMERO                   UT           90014610631
B52B1334455959   PETRA          GONZALEZ                 CA           90014943344
B52B1489143589   JUDITH         JOE                      UT           31043374891
B52B1A61355947   ANTHONY        KROPF                    CA           90013230613
B52B4588972B62   MOLLY          WILSON                   CO           33087855889
B52B4921493758   JOHN           PERSON                   OH           90010989214
B52B587825B265   ANTONIO        BOSWELL                  KY           68041528782
B52B8411585927   REBECCA        GUYN                     KY           90011194115
B52B9433785927   REBECCA        GUYN                     KY           90011194337
B52BBA21472B62   IRENE          ARAGON                   CO           90013010214
B5312286372B69   JACOB          GINN                     CO           90014752863
B53135A7555959   NEDA           ROMAN                    CA           90009005075
B5314998685927   BRANDON        WRIGHT                   KY           90015309986
B5315244191585   GONZALO        MARTINEZ                 TX           90003212441
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B531644A42B271   ROBIN D        RICHARDSON               DC           90013144404
B5318A9A943589   MOISES         ORILLANO                 UT           90012730909
B5321982655947   MARLA          KETCHUM                  CA           49040789826
B5322171831639   MALEIK         MILNER                   KS           90010211718
B5322637A2B841   JUSTIN         STENBACK                 ID           90013956370
B5322839191222   COURTNEY       MCGROT                   GA           90011328391
B5331A72654122   HUMBERTO       GASPAR                   OR           90013990726
B5334997455947   RENEE          MUNOZ                    CA           90012289974
B5339247861987   HUGO           GUZMAN                   CA           90009222478
B5339455891248   JENNIFER       MATHENIA                 GA           90012434558
B534149655B265   PHIL           CHERRY                   KY           90009054965
B5343163331688   JOSEPH         ARAGON                   KS           90006391633
B5343761593745   MATTHEW        WHALEY                   OH           90011177615
B5343775A54122   NOLA           PIERSON                  OR           47066207750
B5343927555947   ANGEL          MELENDEZ                 CA           90009899275
B5345815555947   BELLA          GONZALEZ                 CA           90002518155
B5346186893752   JANITA         THOMAS                   OH           90014151868
B5347114272B62   CLAUDIA        ORTIZ-MATA               CO           90013021142
B534723A37B334   SANTOS         MARTINEZ                 VA           81004742303
B5348126424B28   MICHELLE       WINTERS                  DC           81035601264
B5349495172B69   REBEKKA        SANCHEZ                  CO           33072664951
B535371687B489   HONG           CHULKIM                  NC           90014897168
B535482865B396   JOHN           HUBBARD                  OR           90014718286
B53551A9555947   SEANTEYVIA     ROBINSON                 CA           90009091095
B5355535261987   YADIRA         TURNER                   CA           90005855352
B5357156A93745   JUSTIN         SILVERS                  OH           90010251560
B535B21374B576   KAREN          SURLOUGH                 OK           21576042137
B5361459555959   OFELIA         MEZA                     CA           90012234595
B5362198454122   SCOTT          BLOMBERG                 OR           90015141984
B5362886493758   LADONNA        STEELE                   OH           90013688864
B5363A69A72B69   RICARDO        MUNIZ                    CO           90008410690
B5368259772B69   SHAKIRAH       MANN                     CO           90010222597
B5369265285927   JOSH           SOUTHWORD                KY           90012812652
B537194812B883   TOMMY          ESLICK                   ID           90012259481
B5373592755972   ANDREA         CARRILLO                 CA           90005395927
B5375547255947   SITLALIT       BALDERRAMA               CA           90012355472
B537596462B277   MARKEITH       HARVIN                   DC           90014719646
B5376825376B27   DONNA          BLACKMON                 CA           90013958253
B537756685B548   DAVIREE        PENA                     NM           90012935668
B5378942624B64   FREDERICK      FLETCHER                 DC           90011879426
B5383594A43589   LARRY          PILLIAM                  UT           90011215940
B5383687672B69   NESTOR         AMAYA                    CO           90011146876
B5385A63143589   JULIE          ROMERO                   UT           90014610631
B5387993191585   JENNIFER       SAMANIEGO                TX           90008739931
B5387A93A55959   ROGELIO        OROZCO                   CA           90011970930
B538891A572B29   THERESA        CARDONA                  CO           90008719105
B5393625585927   DARIEN         MCELROE                  KY           90013706255
B5394625193758   ANDRE          COKES                    OH           90010276251
B5395463555959   BERENICE       URRUTIA                  CA           90012104635
B539716485B396   LESLIE         LUVIA                    OR           90013761648
B5397679355959   CARLOS         REYES                    CA           90006846793
B5399313272B69   CINDY          GONZALEZ                 CO           90014373132
B539B455891248   JENNIFER       MATHENIA                 GA           90012434558
B53B4246691554   ADOLFO         SEPULVEDA                TX           90010362466
B53B6526755959   ADAN           VARGAS                   CA           90010405267
B53B747837B489   BRENDA         PLESS                    NC           90013054783
B53B8816197B31   HEIDI          MASLOBOEV                CO           90006728161
B53BB969A3B365   TAMMY          KIMBREL                  CO           33030109690
B5414A56355947   LARRY          OHANO                    CA           49041340563
B5417699831639   MICHELLE       FRANKLIN                 KS           90013576998
B5417741555947   PABLO          AVILA                    CA           90013367415
B541818A233635   WENDY          SIMMONS                  NC           18014081802
B5421971885927   TANYA          SMITH                    KY           90011209718
B5423862472B62   JOEL           ARIAS                    CO           90011568624
B5425139A2B271   MICHAEL        KEMP                     DC           90006941390
B542569252B271   JOSE LUIS      RAZO                     DC           90013526925
B542796722B271   NWABUNWANNE    EMEKA                    DC           90012939672
B5432394193752   JOSH           MEYER                    OH           90012423941
B543565312B232   JUSTINA        PETTWAY                  DC           90008736531
B54358A9885927   ASHLEY         JOHNSON                  KY           90006598098
B5438351554122   RAMONA-RON     WILKINSON                OR           90012103515
B5438791757568   ZULEMA         RHOADES                  NM           90011957917
B5438846291972   JOHN           TINSLEY                  NC           90008738462
B5438A19724B33   CARLOS         GIRON                    DC           90012210197
B5439241672B69   MITCHEL        BICKFORD                 CO           90009092416
B54412A724B235   MICHAEL        GONZALEZ                 NE           90010112072
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B544191182B26B   DAVID          SANDERS                  DC           90013079118
B5444751A7B489   MELLISSA       MALCOLM                  NC           90009397510
B5448A97A72B62   PEDRO          CABALLERO                CO           90013010970
B5449AA2393745   HEATHER        TOPPINS                  OH           90009390023
B5451A43872B62   SAMUEL         LEAL                     CO           33019250438
B545261A85B396   DELMI          RUIZ                     OR           90013946108
B5453456441236   RICKY          DAVIS                    PA           51041514564
B5455322885927   BIRDSONG       DESTINY                  KY           90005293228
B5456164391844   JAIME          MARTINEZ                 OK           90008241643
B5456A44676B27   AMANDA         KOHR                     CA           90014120446
B5457185A7B489   TAMARA         LEBRON                   NC           90014711850
B545B13472B948   JENNIFER       VALDEZ                   ID           42017251347
B545B79A976B27   CRISTOBAL      ROMERO                   CA           90009577909
B545B836485927   MICHAEL        TINCHER                  KY           90005328364
B5464799455959   STEVE          ARDILES                  CA           48077977994
B546834A155959   MIGUEL         MENDOZA                  CA           90012373401
B546876A57B489   SUMMER         MCALPINE                 NC           90006427605
B5474434831639   TAMIKA         DEMPSEY                  KS           90010314348
B5474721431639   RAYMOND        POMPA                    KS           90002117214
B547489515B396   SALVADOR       MARTINEZ                 OR           90011228951
B54761A5755959   PEDRO          REYES                    CA           90014321057
B5477545985927   KENYA          WILLIAMS                 KY           90011215459
B54776A2393745   KING           MOSES                    OH           90014956023
B548811A693727   DAVID          ESTES                    OH           90014841106
B5498A21485927   CALVIN         BOYLSTON                 KY           90011900214
B54B111678B12B   RANDI          RUSHTON                  UT           90006431167
B54B4557143589   MARIO          PIMENTEL                 UT           90011605571
B54B54A275B396   TOMAS          LARIOS                   OR           90008424027
B54B992825B336   SHAWN          OLSEN                    OR           90011609282
B54BB438254122   KAILA          BUTLER                   OR           90011064382
B54BB76617B489   TORI           WADE                     NC           90011447661
B551298567B489   JOSE           GAMA                     NC           90003829856
B5514763693745   ROBERT         WILLIAMS                 OH           90014477636
B5515A99A72B27   TAUNYA         STILLMAN                 CO           90003010990
B55197A2693745   KAILA          DEPRIEST                 OH           90011087026
B551B619993745   BERNICE        NYE                      OH           90011086199
B552272542B271   DELONIA        HOLLAND                  DC           90014697254
B5523557985927   GREGORY        JACKSON                  KY           90014195579
B5526743972B62   MARLA          TURNER                   CO           90012967439
B5527128576B27   MARIA          AGUILA                   CA           90010791285
B5527987361977   DEBBIE         LOPEZ                    CA           90012359873
B5529949993745   STEPHANIE      FOUTS                    OH           90011439499
B552B761757565   DONALD         BROWN                    TX           35513527617
B5532192291585   CARLOS         VALADEZ                  TX           90013871922
B55337A284B525   NYTINA         HAGGINS                  OK           90012487028
B5533834776B27   SUE            BASNETTE                 CA           90012038347
B5535386461975   AFRA           PEREZ                    CA           90014203864
B5535815355947   DANNY          MARTINEZ                 CA           90007198153
B55363A745B397   KENNITH        RUSSELL                  OR           90012723074
B5536716285927   JASMINE        FRYE                     KY           90014937162
B554295872B271   KENDRA         MOSLEY                   DC           90007969587
B5547744A61987   ALEJANDRA      PEDROZA                  CA           90010957440
B55491A6991585   GREG           GRIM                     TX           90004161069
B554B23A761971   JUAN           VALENCIA                 CA           90008172307
B5551816493745   CHRIS          DAVIS                    OH           90013318164
B5552573293758   CHRISTINA      SNYDER                   OH           64535585732
B5554315155959   CHARLES        MITTIE JR                CA           48007923151
B5555337455959   LUIS           HERNANDEZ                CA           90012873374
B55562A4685927   DAVID          HARTZELL                 KY           90014582046
B5557795643589   AUSTIN         ABEL                     UT           90014697956
B5562943755947   RENA           ROSE                     CA           90014709437
B556448732B825   MARY           BAIRD                    ID           90005304873
B556487445B265   ELIZABETH      MAYES                    KY           90013828744
B5564A74A2B841   MIGUEL         HERNANDEZ                ID           90014140740
B5565137A72B62   MAYDIU         PERDOMO                  CO           90013021370
B5565563655959   JUAN           SANCHEZ                  CA           90012215636
B5569957154122   SCOTT          BLOMBERG                 OR           90011459571
B5574137A72B62   MAYDIU         PERDOMO                  CO           90013021370
B5574982993758   JAMIE          RICHARDS                 OH           90014119829
B5578268654122   BRIAN          KAUCHER                  OR           90012742686
B557B595143589   ALLISON        STAPLETON                UT           90010335951
B5581233191585   LUIS           REY                      TX           90010262331
B5588984572498   LATOSHIA       MAXWELL                  PA           90011569845
B5588A5A543589   VICTOR         MACIEL                   UT           90014140505
B5589875393752   CHAD           MASON                    OH           90013518753
B559174A793745   VICTORIA       GALBERT                  OH           90011127407
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B559189372B271   DION                  THOMAS                DC       90012948937
B5592317193745   ROSEANN               WELLS                 OH       90013363171
B559379222B271   CARLON                LYLES                 DC       90014697922
B5594962885927   WILLIAM               DAVIS                 KY       90013999628
B5597175893758   ANTONIO               REID                  OH       90012671758
B5598A3174B56B   AMANDA                AMMONS                OK       90014490317
B5599533593745   BRIDGETT              LEWIS                 OH       90004815335
B55B27A6293758   JENNIFER              BURNSIDE              OH       90006437062
B55B2855691585   IRMA                  PORRAS                TX       90012368556
B55B3727254122   SAHARA                SMITH                 OR       90014727272
B55B5777893758   KEVIN                 DAVIS                 OH       90012527778
B55B996692B271   BRITTANY              MURRAY                DC       81059269669
B55BBA39591585   LEO                   MANRIQUEZ             TX       90011540395
B5611159872B62   CLIFFORD              MORADO                CO       90013021598
B5611676131639   LAMONT                THOMAS                KS       90012876761
B5613666255959   AMANDA                STEELMAN              CA       90010126662
B561388545B396   KEYLANI               MARIE                 OR       90012028854
B5615245441229   BHAWANI               BARKER                PA       90015212454
B5617894A72B62   MARIA DEL CARMEN      RODRIGUEZ             CO       90012998940
B5618695255947   PAULATTE              PULLEN                CA       90011576952
B561B221593752   DONALD                PIERCE                OH       90009802215
B5622536255959   HERIBERTO             BENITEZ               CA       90013935362
B5623A7A455947   MAYRA                 ZUBIETA               CA       90012990704
B5624126461987   MARLO                 JOHNSON               CA       90005951264
B5625A82891585   MARIELA               PEREZ                 TX       90012170828
B5626851355959   ANGELA                ALVAREZ               CA       90013758513
B5628183124B28   VINZEL                BROWN                 DC       90012191831
B5628211355959   ROBERTO               VELAZQUEZ             CA       90013292113
B562829A936B98   NATASHA               NAKAGAWA              OR       90002502909
B563117A293758   DANISHA               WILLAD                OH       90010991702
B5631A7AA7B489   RICHARD               BAKER                 NC       90011240700
B5632717A76B27   KATY                  NYE                   CA       90012637170
B5633952793752   DAIJONNA              HARDEMAN              OH       90013749527
B56346A695B396   EMILIANO              HERNANDEZ             OR       90011906069
B563582977B489   VANITY                WILLIAMS              NC       90013348297
B563786AA31688   JENNIFER              CALDWELL              KS       90003978600
B5637A4872B825   IVONNE                CERVANTES             ID       90010220487
B5638115155959   JONATHAN              PEREZ                 CA       90015051151
B5638223155947   VANESSA               GARCIA                CA       49077472231
B56386A9866242   KAMERON AND DEVARIO   HARRIS AND RICHMOND   MS       90014126098
B5642382157564   DIANA                 VALTIERRA             NM       90012443821
B56448A7455959   BLANCA                FARIAS                CA       90011378074
B564669215B396   STEVE                 WILKINSON             OR       44508976921
B564745A493745   MEGAN                 WARD                  OH       90012864504
B5647744593727   SMITH                 ANGEL                 OH       90011307445
B5649771972B62   CATHERINE             SITZMANN              CO       90010217719
B5655519772B69   CANDICE               MARIZ                 CO       90012295197
B5655A6645B396   GREGORY               WHITEAKER             OR       90000370664
B56565A525593B   ARMANDO               LOPEZ                 CA       90008345052
B5657562491549   JAMES                 ALEGRE                TX       90014445624
B5658AA1272B69   GUILLERMO             CABRAL                CO       90004810012
B565B482172B62   HEATHER               PEGRAM                CO       90010024821
B5665423893727   TRAE                  SMITH                 OH       64587304238
B567149692B841   MAUSIE                MEB                   ID       90014214969
B5676377891585   BRIANNA               BENNETT               TX       90011163778
B56774A4354122   MARK                  PODD                  OR       90013574043
B5677591955959   AARON                 RAMIREZ               CA       90014455919
B5678A75947839   BRIANA                STEPHENS              GA       90010210759
B567B393741239   ARTAZZI               ROBERTS               PA       90002123937
B5681131576B27   VIANEY                SANTILLAN             CA       90002441315
B568138A254122   ARTURO                MENDOZA               OR       90013233802
B56835AA591554   REYES                 ALICIA                TX       90009985005
B5684185472B62   DANIEL                HARRISON              CO       90013021854
B5684193154122   DAVID                 JOHNSON               OR       90007661931
B5684AA382B271   STANLEY               SIMMONS               DC       90012950038
B5685555798B2B   LETTICIA              BEACHEM               NC       90009345557
B5685A8448B123   KIJANA                ADAMSON               UT       90001080844
B56869AA82B271   SHIRLENA              JEFFERSON             DC       90014699008
B569288A85B571   DENISE                BISHOP                NM       90012698808
B5697571372B69   YOAN                  ORTEGA                CO       90008075713
B5698867676B27   SARA                  BALLARDO              CA       46080938676
B56B1351476B27   JOSUE                 GONZALEZ              CA       90013003514
B56B489845B265   AMANDA                MATTINGLY             KY       90010918984
B56B8121A47839   TANZANIA              THOMAS                GA       90008151210
B5711A21855992   VICTOR                BEDOLLA               CA       90008160218
B571358225598B   PERYNA                WASHINGTON            CA       90012605822
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B57137A2155947   ANITA          CASTILLO                 CA           90014697021
B5714951555959   ROBERT         LOPEZ                    CA           90011139515
B5715238893752   TUSSEY         SANDRA                   OH           90008562388
B5715923672B62   SCHERYL        MURRAIN                  CO           90008689236
B5716635776B27   AIOTEST1       DONOTTOUCH               CA           90015116357
B5716988791585   JONATHON       HERRERA                  TX           90009889887
B5723568331639   EDUARDO        PACHECO                  KS           22011545683
B572627A272B62   ENRIQUE        VALLES                   CO           90006512702
B572815257B489   LATOYA         WILLIAMS                 NC           90009221525
B5729382376B27   HILDA          RENDON                   CA           90012853823
B5733A5852B271   TRINITA        SUGGS                    DC           90012950585
B5735972655947   TERESA L       ROMERO                   CA           90010349726
B573776415B265   DARRYL         CAIN                     KY           90011827641
B574158985B527   MARC           CHENIER                  NM           90010825898
B5743751893746   JAMIE          CLINE                    OH           90011067518
B5745377954122   VICTORIA       VULLAND                  OR           90011473779
B5751791293745   ASHLEY         OGULA                    OH           90011107912
B5753676131639   LAMONT         THOMAS                   KS           90012876761
B5756289555959   CELIA          HERRERA                  CA           90007292895
B575939A593758   BEN            BREWER                   OH           90013623905
B5759576A85927   REGIENA        BWELL                    KY           90013675760
B575B52AA93752   LAWRENCE       CASEY                    OH           90014125200
B57626A5693758   MOISES         HERRERA                  OH           90012906056
B5764583472B69   SABRINA        TAYLOR                   CO           90010105834
B5765379855947   ANGELICA       GUEVARA                  CA           90010393798
B57668A7555947   LIDIA          CRUZ-SILVA               CA           90012458075
B5768211172B62   JACOB          THOMPSON                 CO           90013022111
B5769137624B64   KARVITA        BRICE                    DC           90013441376
B5772232655959   MARIA          MARTINEZ                 CA           48019282326
B5773193A93745   SHANTE         WINDERS                  OH           90014501930
B5776873585927   RAEIQ          MESMAR                   KY           90005198735
B577784275B265   DEREK          WILKINS                  KY           90011828427
B5777918155959   ERNESTO        MARIN                    CA           90014729181
B5779234891592   ANGEL          GOMEZ                    TX           90013592348
B5781955155959   PAYGO          IVR ACTIVATION           CA           90012249551
B578319697B489   MAGGIE         WINGLER                  NC           90011241969
B5784765172B69   RANDALL        GARCIA                   CO           33010937651
B5784978293745   CHERYL         SHARMA                   OH           64513949782
B5785119393745   SAMANTHA       PLAIR                    OH           90011111193
B57855A8272B62   ADRIAN         A PONCE MARTINEZ         CO           90011665082
B5786444255947   VICTORIA       RIPPSTEIN                CA           90000674442
B5786719172B69   NICHOLE        MCTAGGERT                CO           90011507191
B5788425A85927   NOEL           MARTINEZ                 KY           90011374250
B57914AA285927   JESSICA        HOWARD                   KY           90011224002
B57955A5254122   ADAM           BATES                    OR           90007805052
B5797767655959   YAIR           FLORES                   CA           90007367676
B579B196291585   EDGAR          HOLGUIN                  TX           90011001962
B57B164183146B   SAMANTH        GARNER                   MO           90008466418
B57B274432B825   LUCIEN         BRINKERHOFF              ID           90012457443
B57B566885B356   RAYMOND        MINCHE                   OR           90011086688
B57B8349554122   MAX            NORTON                   OR           90009033495
B57BBA23A55972   MAY            YANG                     CA           49016620230
B58119A7191585   ISABEL         BURGOS                   TX           90010319071
B5812666543589   BRENT          BOUNDS                   UT           31015176665
B5814228355959   ROXANA         CASTRO                   CA           90013082283
B5814243372B94   KURT           PAGE                     CO           90009412433
B58186AA58B833   TERFI          CHEIPOT                  HI           90014656005
B5819645185927   LOGAN          SOWERS                   KY           90014086451
B5819746672B62   KYLE           NEPTUNE                  CO           90014847466
B582238A931639   DAVID          CARR                     KS           90008713809
B582296934B56B   THOMA          EUGENE                   OK           90008699693
B5823148455947   ZACH           JIMENEZ                  CA           90013031484
B5823A4815B265   JOSEPH         ISABEL                   KY           90011830481
B582645A185927   BRITTANY       CLINE                    KY           90014714501
B582B319343589   AMANDA         GUZMAN                   UT           90009263193
B582B326993752   MICHEAL        MAXSON                   OH           90012433269
B582BA39293758   BRIAN          KING                     OH           90004750392
B5834A42193727   TIFFANY        BAKER                    OH           64509240421
B5835274293745   AMANDA         VEST                     OH           90011112742
B583587382B271   DARIUS         CABELL                   DC           90014268738
B583B46A893738   SUREKA         NORTH                    OH           90009154608
B5841431585927   VERONICA       MONTELONGO               KY           90014894315
B5843418276B27   CYNTHIA        HEREDIA                  CA           90001604182
B5846A4442B271   ASHLEY         JONES                    DC           90013820444
B5847255572B62   REGGIE         BARNES                   CO           90013022555
B58537A9193727   DORIS          MORALES                  OH           64549917091
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B5856853472B62   JORGE              GONGORA              CO           90001318534
B5859285A41226   LAUREN             RUPERT               PA           90013942850
B586115A298B23   KAMILAH            COBB                 NC           90009341502
B5862A68393745   MICHEAL            COLPSTON             OH           90009480683
B5863785A41298   KAYLA              KUNCO                PA           90010747850
B5865814393758   TAMMY              HUGHES               OH           90014698143
B5868434776B27   SUSANA             CARMONA              CA           90013724347
B5868596872B29   LUCY               ANN-RIVERA           CO           33001125968
B5868754461925   CARLOS             GALAN                CA           90008797544
B5875933872B69   ANEYA              CORDOVA              CO           90004779338
B5876892576B27   CAMILLE            MUNOZ                CA           90013028925
B5879144372B62   ANGEL              HERNANDEZ            CO           90013801443
B588249547B486   GARRETT            LEWIS                NC           90008754954
B5882951855959   MARINA             ISLAS                CA           90005369518
B58829A4972B69   BRIAN              TICE                 CO           33040899049
B58839A6793752   AMANDA             KUHL                 OH           90010779067
B5887AAA65B396   JENNER             TELLEZ BELTRAN       OR           90000510006
B5894574A2B271   EYVONNE            THREADGILL           DC           90008035740
B589487477B489   ALISHA             MCCLELLAN            NC           90012938747
B589543A255938   MARIA TERESA       BOCANEGRA            CA           90010504302
B589719A493745   GABRIEL            MUWWAKKIL            OH           90013061904
B5897658893758   JULIO              ALVAREZ              OH           90015086588
B5897894472B69   JANINE             VIALPANDO            CO           90014068944
B5899A2542B271   OCTAVIA            HARRIS               DC           90012620254
B5899A7835B265   BRYAN              ROGERS               KY           90011230783
B589B24A77B489   BEONICA            BESS                 NC           90011242407
B589B543272B69   MAURO              MONTES               CO           90005625432
B58B2222572B62   ABRAHM             GARCIA               CO           90013022225
B58B2677855959   MARICELA           ORTEGA               CA           90015196778
B58B4692843589   JARED              SORENSON             UT           90008826928
B58B664A355953   FAVIOLA            LOPEZ                CA           90014916403
B58B681AA55953   FABIOLA            LOPEZ                CA           90014728100
B5912944291585   JAVIER             VALDEZ               TX           75044969442
B59137A1943589   JUAN               CARLOS               UT           90005767019
B5915A82655947   MARIBEL            CARDENAS             CA           90012990826
B5916633454122   CINDY              RISLER               OR           90010546334
B5924449976B27   GERARDO            LEON                 CA           90001604499
B5928249155959   JOHANN             ZAPIEN               CA           48066442491
B59286A8836B98   TIMOTHY            NEILSON              OR           90014006088
B5933438936B98   JEREMY             ATWOOD               OR           90011194389
B59342A8491248   SHANNON            LEWIS                GA           90005992084
B593513317B489   QUEEN              EDWARDS              NC           90013551331
B5939588476B27   DANIELA            CASIMIRO             CA           90015115884
B593B218A43589   TERRY              HOOD                 UT           90006282180
B594123778B12B   PETER              SALTER               UT           90012402377
B5942835885927   KARLA              RING                 KY           90013008358
B5943432A72B62   GIOBANNI           CASTRO               CO           90015144320
B5945A23655959   MARIA              GARCIA               CA           90013350236
B5945A89A24B28   CHARLES            ANTHONY              DC           90011020890
B5948965293727   TONYA              MARTIN               OH           90011899652
B5949477A43589   CHANTEL            LOMAX                UT           90008764770
B594B4A845B799   HILARIO            RAMIREZ              MN           90014964084
B595332417B489   CHRIS              BROWN                NC           11086443241
B5953644476B27   JUAN               PEDRO                CA           46096946444
B59554A9955959   JAIME              BAIRES               CA           48055024099
B595638975B396   AUDREY             KNOWLES              OR           44592153897
B5963429A93752   TAMMY              JACKSON              OH           90013274290
B596414485B799   SAVIVANH           SRISOMPHOU           MN           90011291448
B596423882B271   TAYLOR             WASHINGTON           DC           90012992388
B5964625272B69   ELVA               KEMP                 CO           90013016252
B596B39822B271   DIEGO ARMANDO      PULIDO               DC           90015113982
B596BAA2991585   CORINA             CHAVEZ               TX           90013010029
B5971644771993   ROBERT AND REYNA   BRUNTON              CO           90012456447
B5971719893745   JERRY              WRIGHT               OH           90015187198
B59739A8A72B62   CLEOFAS            QUINTANA             CO           90009959080
B5974527555947   ANGELA             NAVARO               CA           90006615275
B5975858A91585   CHRISTI            UNRUH                TX           90012428580
B5978A19876B27   DIANA              AYALA                CA           90009910198
B597B484993752   JANETTA            HOUSER               OH           90013774849
B598347AA93758   GEANETTA           PHILLIPS             OH           90014594700
B598522538B166   CAMERON            BYBEE                UT           90011822253
B598537888B166   BYBEE              CAMERON              UT           90010153788
B5985456A2B271   DIDEOLU            DAWODU               DC           90010844560
B5987977643589   LATISHA            ALVAREZ              UT           90013999776
B598B113254122   JENNIFER           RICHMOND             OR           47076051132
B5992834891939   DELAROSA           SANCHEZ              NC           90013858348
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B59937A5872B62   MANUEL         VASQUEZ                  CO           90014837058
B5994127872B62   JAZMIN         CASTILLO                 CO           33098411278
B5996A3688B168   ARIANA         LOPEZ                    UT           90013030368
B5998133A5B396   TYCE           PHILLIPPI                OR           90012191330
B5998328855959   LUIS           ALVAREZ                  CA           90012963288
B5998352943589   JOHN           HARMON                   UT           90014263529
B599BA24491585   JAVIER         MORENO                   TX           90011420244
B59B214242B271   JESSICA        GOMEZ                    DC           90013911424
B59B38A7543589   CHARAMAYNE     BEGAY                    UT           90014428075
B59B9725A55959   KARINA         LOZOYA                   CA           90010137250
B59BB151355947   GUADALUPE      PEREZ                    CA           90013031513
B5B1529142B271   ANTHONY        AARON                    DC           90015182914
B5B15376A8B337   RON            BARNETTE                 SC           90002043760
B5B153A8893727   KEVINE         JONES                    OH           90013763088
B5B17274772B69   ROSA           CORTEZ                   CO           33095892747
B5B19255254122   PATRICIA       GILLASPIE                OR           90006232552
B5B19587185927   JAMES          CURRY                    KY           90012285871
B5B1B758343589   VANG           MOUA                     UT           90012477583
B5B23182193738   CHRISHANA      WALKER                   OH           90009271821
B5B2485712B271   SABRINA        WEBB                     DC           90012908571
B5B27521572B62   CERENA         GALLEGOS                 CO           90013815215
B5B3163652B227   KIARA          HATTON                   DC           90012556365
B5B356A2243589   PAMELA         SNOOK                    UT           90009466022
B5B3728A791585   SAMANTHA       BARRERA                  TX           90013462807
B5B41777931639   MIGUEL         GANDARA                  KS           90008647779
B5B42A65876B27   JESUS          GUILLERMO                CA           46005330658
B5B4317A155959   RICARDO        GARCIA                   CA           90014511701
B5B43846391248   QUENITRA       MORRIS                   GA           90013788463
B5B48993172B62   ZACH           WEBER                    CO           90006409931
B5B4975635598B   MELISSA        LOZA                     CA           90000847563
B5B51854A55947   MICHAEL        KING                     CA           90014618540
B5B57919572B62   ANTONIO        REYES                    CO           90010259195
B5B5BA63593727   SHANELLE       KINSER                   OH           90014030635
B5B64A4615B389   KRISSIA        MARTINEZ                 OR           90010150461
B5B6562962B271   DAMARIS        WARREN                   DC           90014696296
B5B65856572B62   JENNIFFER      GONZALEZ                 CO           90011298565
B5B68744176B27   ARNALDO        ELIZARASAS               CA           90008697441
B5B71897593752   EDWARD         BRUGGEMAN                OH           90013958975
B5B7395A855947   LINDA D        MOORE                    CA           90014719508
B5B7966315B265   CRYSTAL        GILBERT                  KY           90011796631
B5B81421854122   TREVOR         HARRIS                   OR           90013204218
B5B83173593758   VALERIE        MCLANE                   OH           90014901735
B5B83659193758   DONALD         HULSEY                   OH           90012646591
B5B8568AA72B69   MARTIN         ZUNIGA                   CO           90013426800
B5B8666735B265   TRAVIS         MULLINS                  KY           90011796673
B5B8696162B271   LEQUITA        MARSHALL                 DC           90012959616
B5B89226272B69   SELENA         HERNANDEZ                CO           90013242262
B5B89488893727   CATHY          SAMMONS                  OH           64502314888
B5B91117372B22   AMANDA         DENZER                   CO           90000561173
B5B9B941793745   RENADA         JACKSON                  OH           90013339417
B5BB5975393758   SHELIA         MAZE                     OH           90006739753
B5BB8544543589   MAURICIO       RODRIGUEZ                UT           31092645445
B5BB9261993758   CHANTILLY      COLQUITT                 OH           90009302619
B6114413372B62   MIGUEL         JAUREGUI                 CO           33042454133
B6114726576B27   RAFAEL         OSUNA                    CA           90013117265
B611522A291563   LUZ            RIVAS                    TX           75035102202
B611525872B864   VERNON         CHAPMAN                  ID           90015032587
B6115AA4276B27   YOLANDA        LOPEZ                    CA           90006470042
B6117255955953   ALEX           RAMIREZ                  CA           48093802559
B611B472A5B396   DAVE           LOCICERO                 OR           44587384720
B611B551793745   ROBERT         HAYDEN                   OH           90004355517
B611B851991579   CLAUDIA        ALONSO                   TX           90010638519
B6125649A61963   JESUS          MENDIOLA                 CA           46040616490
B612791812B271   DOMINIC        ISHMELL                  DC           90012759181
B6129356942332   RACHAEL        BLEDSOE                  GA           90012063569
B612B46A17B489   RED DOOR       AUTO SALES               NC           90010704601
B61364A675B265   AARON          SMITH                    KY           90015134067
B613656245B265   MARKITA        OLIVER                   KY           90013275624
B6136592A72B62   MOSES          MICHAEL                  CO           90012185920
B613662787B428   SACHA          RIOS                     NC           90011066278
B6137154172B62   MANUEL         ESTRADA                  CO           90010011541
B613B889A55953   JEROME         ADAMS                    CA           90015108890
B613B92457B489   BERTHA         MONROY                   NC           11063729245
B6141727524B64   DIONNE         LEWIS                    DC           90011737275
B6145765785927   CHARRA         LEWIS                    KY           90014157657
B614825245B265   JOSHUA         LEE                      KY           90014772524
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B614B533933635   LACHANLTLL     WALKER                   NC           90006555339
B6153925A5B265   JOHONYNA       GABRIEL                  KY           90013879250
B6154447872B62   ALEJANDRO      DELGADO                  CO           33057764478
B6154A1384B235   CATHARINE      DEVOLL                   IA           90012530138
B6155561785888   SERGIO         CALDERON CERVANTES       CA           90012235617
B6158363376B27   MATILDE        GARCIA                   CA           46062713633
B6164965A36B98   ERICA          SALINAS                  OR           90007429650
B616625962B271   SHEENA         JONES                    DC           90013012596
B6166567872B69   MARIA          DOMINGUEZ                CO           33058225678
B6167264155953   RODOLFO        ALVAREZ                  CA           90012332641
B6167793772B62   MAXIMUS        WATSON                   CO           90013697937
B61682A667B434   RUFUS          JONES                    NC           90009662066
B6168944385927   HENRY          JACKSON                  KY           90014159443
B616996985B265   BORIS          PEREZ                    KY           90012239698
B617135A79712B   JOSEPH         GIBSON                   OR           90009483507
B61734A658562B   ADAM           SANTIAGO                 NJ           90008824065
B6179218A31639   MARIE          NUNCIO                   KS           90014282180
B6181181351332   DARIN          WILLIS                   OH           90010361813
B6182245772B62   DANIEL         MARTINEZ                 CO           90013272457
B6188177333635   WILLIAM        STARR                    NC           90007481773
B619144A35B396   BRITTANY       KYLLO                    OR           90010174403
B6192141176B27   DFIAN          HENRI BEONAL             CA           90013091411
B6193257A93745   LAWRENCE       BEAVERS                  OH           90010332570
B6194A86572B69   APRIL          MAEZ                     CO           33016460865
B619653AA55953   ADRIAN         ZEPEDA                   CA           90014185300
B6197782476B27   SMERALDA       JIMENEZ                  CA           90006697824
B6198983372B69   RICHIE         SOSA                     CO           90011009833
B6199A92791579   STEPHANIE      OLIVARES                 TX           90003540927
B619B524976B27   FRANCISCA      LOPEZ                    CA           90008985249
B61B1528293745   DEARA          FREEMAN                  OH           90012295282
B61B19A8455953   HARMONY        GARCIA                   CA           90011019084
B61B2872272B62   SAMUEL         HIDALGO                  CO           33022758722
B61B35A2255953   GUADALUPE      MARTINEZ                 CA           90010115022
B61B5744591883   CHRIS          ANDERSON                 OK           90012767445
B61B684327B489   PAMELA         WHITE                    NC           90001968432
B61B8195772B62   MICHAEL        CLINKINBEARD             CO           90013791957
B621365A143589   AJ             REED                     UT           90010016501
B621415887B489   KRISTI         BURNETTE                 NC           90006081588
B621483697B493   KENNETH        GRAVES                   NC           90013628369
B6215367372B69   DJON           PLANT                    CO           33045593673
B6217191772B62   CRISTAL        RODRIGUEZ                CO           90011471917
B6219283431639   ADRIANA        BACAHAR                  KS           90012832834
B622184A772B69   ALEJANDRA      LOPEZ                    CO           33077888407
B6224514885927   DEANDRE        ANDERSON                 KY           90014165148
B6225463742332   DANNY          BURTON                   GA           90010324637
B62289A635B396   JOSE           ORTIZ                    OR           90008449063
B6229652493752   DRISS          BELGUELLOUCHE            OH           90012396524
B622B77132B271   DON-ANTONIO    BEST                     DC           90012747713
B622B944972B62   MAGDALENA      CHORENS                  CO           90014109449
B623845A62B25B   ERIKA          MCINTYRE                 DC           90004904506
B6238A23272B69   CARLOS         RAMIREZ-FERNANDEZ        CO           90013030232
B623B18972B271   EDGAR          LOPEZ                    VA           90006441897
B623B431976B27   RODOLFO        MARTINEZ                 CA           46010674319
B6241459772B21   SUZANNE        ETTA                     CO           90009264597
B6241966143589   PAUL           BARKER                   UT           90012369661
B6243375793727   ANTHONY        STUART                   OH           90006573757
B6243677A43589   BRENDA         GALLARDO                 UT           90012316770
B6247834691579   ISAAC          ARAMBULA                 TX           90013028346
B6247985291544   OMAR           LOPEZ                    TX           90011449852
B624982A293745   JOANNA         WARD                     OH           90010848202
B624B763331639   DORAL          GWYN                     KS           90014757633
B624BA2A431639   WILLIAM        HARMON                   KS           90005070204
B625131A293752   KNISHA         HURT                     OH           64584823102
B6254A96891579   FABIAN         HUERTA                   TX           90012710968
B625B29847B489   JERRY          GLOVER                   NC           90010592984
B625B776436B98   TABITHA        EDIE                     OR           90010387764
B6261939393745   JOSHUA         WOLBERT                  OH           90000309393
B6264354376B27   GABRIEL        QUIROZ                   CA           90015183543
B6266433191579   MARIA          ORTEGA                   TX           75064414331
B6266623A72B62   BLACNA         HERRERA                  CO           90012916230
B6266638272B62   JAY            WILSON                   CO           90014866382
B626828785B522   HUGO           MACIAS                   NM           90007412878
B6268544161976   ERNESTO        MARQUEZ                  CA           90001615441
B626B24AA5B265   DIANELIS       VILA-SANTOS              KY           90010052400
B626B652143589   PERCY          ATEQUIPA                 UT           90012966521
B6273914355953   RUDY           ARREDONDO                CA           90012339143
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B6277881393758   TEQUILA        DANSBY                   OH           90014878813
B62781A5672B69   DESTINEE       ROBERTSON                CO           90012471056
B627B776A4B537   MICHAEL        JOHNSON                  OK           90007997760
B628231472B271   KEITH          HOFFMAN                  DC           90007363147
B628563745B265   JOHNNY         OCONNOR                  KY           90012146374
B628987135B396   GABRIELA       BOYD                     OR           90012588713
B629115A68B843   DEBORAH F      WHEELER                  HI           90014141506
B6291743141266   WIRELESS       CALLER                   PA           90014927431
B6298127591579   JORGE          MARQUEZ                  TX           90000151275
B629B513791579   ADRIAN         MARIN                    TX           90011595137
B62B121787B489   WILLIAM        MARTINEZ                 NC           90010592178
B62B1548336B98   RAMONA         CAMPOS                   OR           90010735483
B62B2587272B24   JEANETT        MEDINA                   CO           90001505872
B62B295282B271   CECILIA        MOLINA                   VA           90002139528
B62B794755B396   NICOLE         HOPKINS                  OR           90010649475
B62B799192B238   KUFFA          HINSENE                  DC           90005379919
B62B9131691952   BELINDA        MURILLO                  NC           90007891316
B62BB86855B396   JANOI          RODRIGUEZ                OR           90010778685
B62BB95935B265   NARAD          DHUNGEL                  KY           90011879593
B631258192B271   WALTER         COLINDRES                DC           90012935819
B631725889712B   SILVIA         VALENTE                  OR           90005492588
B6319A53793758   CHRISTOPHER    NIXON                    OH           90014880537
B6321282885927   RACHEL         ADAMS                    KY           90014182828
B6321A53793758   CHRISTOPHER    NIXON                    OH           90014880537
B632218392B242   AMINATA        NDIR                     DC           90001861839
B6322713593727   KRISTINE       THEOBALD                 OH           90013237135
B6324864643589   ALMA           MOTA                     UT           90005588646
B6325945255953   MIGUEL         LOPEZ                    CA           90013199452
B6326761855953   IDANIA         UMANZOR                  CA           90012877618
B632B162A72B69   ALEX           IBARRA                   CO           33007671620
B632B315443589   JOSE LUIS      VEGA                     UT           90012063154
B6335245791579   ANGELICA       SAMANIEGO                TX           90014412457
B6338726485927   ELIZBRETH      GILBERT                  KY           90014187264
B6339752955953   NAOMI          AGUINAGA                 CA           90014697529
B634113472B948   JENNIFER       VALDEZ                   ID           42017251347
B6349945993758   RACHELLE       YOUNG                    OH           90009529459
B6357828893752   QUINA          LAWRENCE                 OH           90012378288
B6358297972B69   ASHACA         HICKS                    CO           90014732979
B635B116355953   MONIQUE        JENNINGS                 CA           90012631163
B6365762385927   STEPHANIE      WEBB                     KY           90014187623
B6372674172B69   ISIDRO         GARCIA                   CO           33001066741
B6375635272B62   ALEJANDRINA    OJEDA                    CO           90010106352
B637B361291579   PATRICK        LEDEAY                   TX           90013773612
B6389514A2B271   GARY           SMITH                    DC           90013835140
B638B729243589   JAVIER         GONZALEZ                 UT           90002617292
B6391352943589   JOHN           HARMON                   UT           90014263529
B6393A84831639   KELLY          TATUM                    KS           90013360848
B6396A17393758   MINDY          PACK                     OH           90014890173
B639944A293758   JEREMIAH       MCGHEE                   OH           90013464402
B63B5539793745   JENNIFER       MOORE                    OH           90002735397
B63B6964672B62   JENNIE         SIVIXAI                  CO           90014119646
B63B9A47685927   JORGE          BARGAS                   KY           90011700476
B6411344898B23   ANECIA         SMITH                    NC           90000913448
B641286AA41961   DAWN           STEWARD                  OH           90014778600
B6417142193727   ERIKA          DILLON                   OH           90001621421
B641964495B265   HENRY          JACOME                   KY           90013666449
B6419726272B69   BRENDA         LOPEZ                    CO           90012887262
B6421766593727   HANNAH         MARIE                    OH           90012567665
B6421864442332   HEATHER        COLLINS                  GA           90011068644
B642238582B271   DARIOUS        LEWIS                    DC           90011923858
B642686199712B   TAUNA          TATE                     OR           90010638619
B64269A862B945   BRENDA         JIMENEZ                  CA           90011369086
B6428342943589   SCOTT          JENSEN                   UT           90008933429
B643724A793758   CANDACE        JONES                    OH           90005812407
B6443789872B69   MICHAEL        COLUNGA                  CO           90014607898
B644412537B489   NOEL           TOLENTINO                NC           90010601253
B6445778A55953   JOSE           MELINDEZ                 CA           90010547780
B6446215193752   AMY            GRANT                    OH           90013292151
B644753335B396   JOSHUA         POWE                     OR           90007505333
B6447938A8B12B   DALE           ROBBINS                  UT           90008889380
B644BA62155953   TOMMY          CARRAWAY                 CA           90012340621
B6456115776B27   KELLY          VERTREES                 CA           90013161157
B6456455743589   DEKOW          ABDULLAHI                UT           90010674557
B6459998872B62   NICOLE         MARQUEZ                  CO           90011939988
B646168295B391   FONG           CARMELO                  OR           90004896829
B64634A835B396   SARAH          KEINTZ                   OR           90013964083
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B6463752955953   NAOMI          AGUINAGA                 CA           90014697529
B6466954493758   MONTREL        CARSON                   OH           90002589544
B6468598272B62   NICOLE         ARRINGTON                CO           90014875982
B6471AA3672B69   MELISA         ZARAGOZA                 CO           90008440036
B6472A59376B27   KATALINA       CHAVERO                  CA           90012150593
B6474456131639   SERAFIN        TORRES                   KS           90010404561
B647648A172B69   NICK           KEEN                     CO           90012574801
B647653335B396   JOSHUA         POWE                     OR           90007505333
B6478859972B62   NICOLE         CHRISTOS                 CO           33021258599
B647B337A55953   DEBRA          ARMENDARIZ               CA           90013823370
B648143582B271   ANITA          THOMAS                   DC           90011534358
B6482946791579   ERICKA         ROMO                     TX           90010909467
B648311535B396   ANTHONY        LAWSON                   OR           90014641153
B648562445B396   SPENCER        WATTS                    OR           90012716244
B648674A955953   SILVIA         JACQUES                  CA           90013077409
B64868AA67B489   TREVOR         MOORE                    NC           11077998006
B6489291743589   WINONA         PERRY                    UT           90012702917
B648939885B396   HELEN          PINEDA                   OR           90004963988
B6489A14443589   JESSE          PETERSON                 UT           90014580144
B648B93532B271   MICHAEL        FERRELL                  DC           90010129353
B648B954291579   JEN            VALLES                   TX           90004689542
B648BA27143589   BOGUSLAW       ZAWADZKI                 UT           90014980271
B648BA7362B227   MARVIN         LEIVA                    DC           90010130736
B6499A2899712B   MIKE           CARLSON                  OR           90005600289
B649B846493758   STEWART        BUTLER                   OH           90014918464
B649B98895B265   PATRICK        ALEXANDER                KY           90011879889
B649B99719712B   JESSE          EICHSTAT                 OR           90012699971
B64B4477A43589   CHANTEL        LOMAX                    UT           90008764770
B64B4754893727   JAMES          BAKER                    OH           90007327548
B64B5434172B69   JOSH           KELIHER                  CO           33054464341
B64B6939372B69   BILLY          WELLS                    CO           90014709393
B64B74A8991579   TASHA          BERGSTRAND               TX           90013164089
B64B7528193727   CAYLA          WALKER                   OH           90015265281
B64B8924A93757   LLOYD          SMITH                    OH           90008639240
B64B9948531639   SALVADOR       MARROQUIN                KS           22083539485
B64BBA43855953   JACLIN         LEIGH                    CA           90014730438
B651172A193745   HAROLD         KNISLEY                  OH           90013227201
B6514454472B69   HUMBERTO       POZOS                    CO           90012354544
B6514738576B27   SHANNON        BUTLER                   CA           90015177385
B65213AA355953   SANTANA        YANEZ                    CA           90012173003
B6525741136B98   JAMES          LAMAR                    OR           90012007411
B6526271155953   DELFINA        GARCIA                   CA           90014162711
B65263AA355953   SANTANA        YANEZ                    CA           90012173003
B6539215193752   AMY            GRANT                    OH           90013292151
B65392A6A2B271   DARRYL         BRONSON                  DC           90009672060
B653B824472B22   PATRICK        BAUMANN                  CO           90012158244
B6542619276B27   LOEL           MEJIA                    CA           90010126192
B6548488A55953   THOMAS         SPINKS                   CA           90013354880
B6548642593745   RITA           JEWETT                   OH           90011516425
B654898A472B69   MITCH          SCHWARTZ                 CO           90011479804
B6549366855953   EDUARDO        AYALA                    CA           90012383668
B654B37A772B62   MANUEL         GONZALEZ                 CO           90012903707
B6553113293761   CHRISTINE      SHARPE                   OH           90008241132
B655393515B396   RAMONA         AUSTIN                   OR           90013789351
B655471A993745   TARA           MANCY                    OH           90009677109
B65566A715B265   SUZANNA        JAMES                    KY           90012586071
B655853283B352   LEE            YOUNG                    CO           90001975328
B6558697A93727   JAMES          KNIPP                    OH           64574286970
B6561249955972   KRANAE         YVETTE                   CA           90003292499
B6562678891579   ISIDORO        ARMENDARIZ               TX           90010326788
B6562A25272B62   JESSYCA        STIEF                    CO           90012370252
B6567963355953   THOMAS         LAMBETH                  CA           90014579633
B6569A96491579   JOSE           ALVARADO                 TX           90010280964
B6573153A55953   DONNA          CASTRO                   CA           90014781530
B6576467A54139   ALVARO         RIVAS                    OR           90013884670
B6582494293727   CHRIS          PUETT                    OH           90013914942
B658347A19712B   MEGAN          SKJOLDAGER               OR           90005654701
B658786862B271   ANTOINE        HAWKINS                  DC           90013718686
B6588917372B69   ISAIAS         CONTRERAS                CO           90014719173
B658B739624B28   KUNTUMI        BUNDU                    VA           90013227396
B6592321543589   J SCOTT        ZAPPITELLO               UT           90006843215
B6592735855997   MARTIN         ALMANZA                  CA           90013097358
B6594369355953   PEDRO          PULIDO                   CA           90012383693
B6595124672B69   ALBERTO        PAREDES                  CO           90012801246
B6598A81193745   CHRIS          LIVINGSTON               OH           90004560811
B65B245725B265   FRITZ          RUHL                     KY           90013914572
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B65B6234A55953   CEZAR          VASQUEZ                  CA           90010562340
B65B684855B265   MICHEL         BERRIELL                 KY           90008868485
B65B973AA76B27   HABRAN         GONZALEZ                 CA           90015177300
B6612295891579   MIGUEL         CARILLO                  TX           90013572958
B66126A565B265   SARY           SHALASH                  KY           90013276056
B6613757A93752   JASON          ANDERSON                 OH           90010657570
B661419A472B62   ESTRELLA       ABARCA                   CO           90015031904
B6617565554151   AMANDA         MORRIS                   OR           90001665655
B6619778872B69   TERRY          DEHERRERA                CO           90015027788
B662493734B599   BRANDY         IVEY                     OK           90011259373
B66249AAA5B396   EDNA           PINNELL                  OR           44574479000
B6625997572B84   ANDREW         CHURILLA                 CO           90008869975
B6627965372B62   AMANI          GERMANY                  CO           90013709653
B662B72697B489   TIFFANY        SMITH                    NC           90010607269
B663341512B271   MARISOL        CASARRUBIAS              DC           90010334151
B6633481393758   AMBER          COX                      OH           90014934813
B6636233972B53   ROSE           HARRISON                 CO           33085712339
B6636851A55953   JOHANNA        ESCALERA                 CA           90014588510
B6637955972B69   DAVID          PEASE                    CO           90014709559
B6638454576B27   JOANA          VALADEZ                  CA           90010904545
B6641298493758   NATHANIEL      PITTS                    OH           64561182984
B6641A48272B69   NATALIE        CORTEZ                   CO           90013210482
B664538792B271   AKIRA          WRIGHT                   DC           90014753879
B6645737872B62   SHANNON        MILLS                    CO           90011897378
B6647166143589   CHALRES        LEE                      UT           90010801661
B6647441743589   KYLIE          POULSON                  UT           90014184417
B664B5A8931639   TERRY          EVANS                    KS           22008355089
B6652469585927   SUMMER         HIGLER                   KY           90004884695
B6652A15393727   MONICA         BLAKE                    OH           90013550153
B6653869276B27   ADRIANA        DURAN                    CA           90008748692
B6654287593745   BLAIR          SALYERS                  OH           90011982875
B6657687255953   EUNICE         VILLANUEVA               CA           90014716872
B6657919A93745   LISA           TATE                     OH           90012559190
B6657A85172B62   BEVERLY        SOUSER                   CO           33095050851
B665B296955953   KARINA         BARAJAS                  CA           90012752969
B6661385343589   CHRISTINE      HARRIS                   UT           90012433853
B6662165A93745   AARON          DANIELS                  OH           90011851650
B666432145B265   CODY           BREWER                   KY           90013353214
B6665674931639   LUIS           FRANCISCO                KS           90015336749
B6667358A5B265   TALISHA        JOHNSON                  KY           68023123580
B6668A1A52B271   DANIEL         SHOULARS                 DC           90008480105
B6669597191885   CHARLES        RICE                     OK           21015765971
B666B52452B271   MONIQUE        COLLIER                  VA           90013465245
B6677427885927   CHRISTOPHE     CUNNINGHAM               KY           67001244278
B6678596693745   NATHAN         FINLEY                   OH           90012335966
B668455A15B265   ROSE           BROOKS                   KY           90013595501
B6696924A7B489   MARIA          BADILLO                  NC           90010779240
B66973A2593727   CHARLES        TOWNSEND                 OH           90013013025
B6698861193727   REBECCA        TURNER                   OH           64514098611
B669923345B396   JENNIFER       JONES                    OR           90012532334
B66B355432B271   VERMEL         JOHNSON                  DC           90014285543
B6717718593727   DELONTE        SWAIN                    OH           90014767185
B6718466236B98   ASHLEY         NIEHUSSE                 OR           90007424662
B6719614685927   HANNAH         KARPOVICH                KY           90014576146
B67216A182B271   VALERIE        WILLIAMS                 DC           90008306018
B672261A843589   TYLER          MCNEY                    UT           90013496108
B6723564531639   LORIE          RAMIREZ                  KS           90014865645
B6727485672B62   SOUTHWEST      STONE LLC                CO           90014824856
B672895285B356   MANUELA        ZAPATA                   OR           90005569528
B6729168236B98   MARTIN         GONZALEZ                 OR           90008451682
B672B614685927   HANNAH         KARPOVICH                KY           90014576146
B673173515B265   LYNETTA        JENNINGS                 KY           90014927351
B67327A9155953   BRYAN          GRASSMAN                 CA           90009777091
B673333425B396   KENT           GRIDLEY                  OR           90005543342
B6738188131639   CARESS         ADAMS                    KS           90004881881
B673B56275B349   JOSH           BOWEN                    OR           90001275627
B6742111A93758   KYRY           MOTON                    OH           90010571110
B6743693285927   IVAN           CARRILLO                 KY           90014576932
B6743769293758   SARAH          BLAKLEY                  OH           90010727692
B6744247997B98   MILTON         CACERES                  CO           90012352479
B6746444A91544   ALEJANDRA      CORRAL                   TX           90009284440
B6753A76655953   C              DELAPAZ                  CA           90012470766
B675665375B396   ROSE           BOTTARO                  OR           90014156537
B6756939855953   JEREMY         AGUIRRE                  CA           90014589398
B6758838872B62   KENIA          SOLIS                    CO           90013008388
B67599AA951325   CHELSEA        HUDDLESTON               OH           90014759009
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B67626A5893783   BRANDON        JONES                    OH           90010326058
B6767721A7B489   DENNISE        HINOJOSA                 NC           90009297210
B6769429485927   RICKY          ARNETT                   KY           90014584294
B6769736443589   KORY           CROMPTON                 UT           90009247364
B676B39582B271   BRIAN          BOWMAN                   DC           90002493958
B6773672843589   HANNA          MELENDEZ                 UT           90014466728
B6775132993752   RICHARD        WEBB                     OH           90014431329
B677643945B265   LADASIA        EDWARDS                  KY           90014564394
B677685335B396   DAN            FARNSWORTH               OR           44521558533
B6778129A31639   ADRIAN         MIRELES                  KS           90015201290
B677B644493727   CANDACE        CASTLE                   OH           90010166444
B677BA43693727   CANDACE        CASTLE                   OH           90013740436
B6781321543589   J SCOTT        ZAPPITELLO               UT           90006843215
B678152A685927   CHARLENE       LOWDER                   KY           90014585206
B6782296424B64   IKEA           MARSHALL                 VA           81086722964
B678329A55B265   FELICIA        CANNON                   KY           90011282905
B678384495B265   CODY           TERRY                    KY           90014728449
B6785635255953   MIGUEL         MALDANADO                CA           90010616352
B678B27345B265   LYNIKA         CARTER                   KY           68049342734
B678B779255972   JAIME          SOLTERO                  CA           49015987792
B6796A2A45B265   CHANNEL        BAKER                    KY           90014650204
B6797461872B69   BRENDA         VERHOEFF                 CO           90001174618
B6798645131667   TINA           COULTAS                  KS           90007366451
B6799242191579   DIAZX          HILDA                    TX           90003992421
B6799A89A5B265   CONSTANCE      PRYOR                    KY           90013420890
B679B5A4741961   HILORY         MONETTE                  OH           90014185047
B67B281995593B   DIANA N        JONES                    CA           90002718199
B67B2895791524   JESUS          HERNANDEZ                TX           90011738957
B67B715625B265   CIARA          PARDUE                   KY           90013871562
B67B91A322B271   VANESSE        TERRELL                  DC           90015031032
B67BB592193758   KEISHA         ARONE                    OH           90014935921
B67BBA49293727   BRENT          NAPIER                   OH           90014930492
B6811A42285975   RYAN           SAWYER                   KY           90010820422
B6812A57785927   ASHLEY         HUFF                     KY           67056810577
B68151A7343589   TERESA         PATINO                   UT           90012401073
B68157A9293745   GENEVA         WILLIAMS                 OH           64512047092
B6819447A93758   KATRINA        ISOM                     OH           90014944470
B681B1A1255953   DUSTIN         OGLE                     CA           90011101012
B681B479393745   KENNETH        ACKLEY                   OH           90010734793
B6823673891579   JORGE          MARQUEZ                  TX           75082466738
B682844265B573   ARELY          JAQUEZ                   NM           90010004426
B682B146572B62   JUAN           DOMINGUEZ                CO           90012211465
B682B26473B387   AMMON          CARSON                   CO           90005062647
B682B26597B489   JONATHAN       LOPEZ GONZALEZ           NC           90010612659
B6831A98572B69   OCTAVIO        LOPEZ                    CO           33037730985
B6832A74831444   MICHAEL        HART                     MO           90005910748
B6835842A55953   MANUEL         ANDRADE                  CA           90011118420
B6842238255975   FLORENCIA      RODRIGUEZ                CA           90011622382
B6842977585927   COLE JR        GILES                    KY           90011029775
B684686A543589   JOLENE         LOMAX                    UT           90009398605
B6847674591582   DANNY          RODRIGUEZ                TX           90010726745
B6852471943589   HERNAN         LOPEZ                    UT           90011114719
B685624599712B   OSCAR          OLVARES                  OR           90008242459
B6857351793745   LISA           JONES                    OH           90013063517
B6857386793745   CHARITY        COLLIER                  OH           90010473867
B686673517B489   CHRIS          LIPSCOMB                 NC           90010557351
B6867135255948   JUAN           BUSTOS                   CA           90008001352
B6872881831639   LAVELL         HUTTON                   KS           90014898818
B6874A61976B27   NICKO          MARTINEZ                 CA           46038760619
B6875A48385927   ANGELA         TURNER                   KY           90011030483
B6876177572B69   ROB            HARDY                    CO           90010481775
B6876745555953   LUCIA          MORALES                  CA           90011377455
B6884771493745   RON            HONEYMAN                 OH           90010477714
B6886A51455953   RHONDA         COTTA                    CA           90006530514
B6887123972B69   RUDY           CORADO                   CO           90012921239
B688781482B271   MOHAMED        ABUKELA                  DC           90012748148
B6894386991579   CHRISTINA      GALLEGOS                 TX           90013773869
B6897143A5B327   JOSE           BARRAGAN                 OR           90011541430
B689938A143589   ALBERTO        RANGEL                   UT           90005913801
B6899859255953   PHILLIP        LOPEZ                    CA           90014108592
B689B7A3385927   JOE            BUTTS                    KY           90010437033
B689B885393752   SANDRA         FRANTZ                   OH           64593128853
B68B138615B396   ROSA           BAUTIZTA                 OR           90014113861
B68B879335B396   ROBERT         LISTON                   OR           44591737933
B68B9841493727   SANCHIA        GREEN                    OH           90013978414
B6914788293745   SHEILA         RUTHERFORD               OH           64517747882
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B691677112B271   SYDNEY          GRIFFIN                 DC           90009477711
B69169A8791948   KYLIE           PARKE                   NC           90010539087
B691B367472B27   MARSHEA         TAYLOR                  CO           90008003674
B6924249491579   VERENICE        MORENO                  TX           90014102494
B692874A193745   ANGELIQUE       TRAYLOR                 OH           90012407401
B6933757755943   YONI            MACHUCA                 CA           90012337577
B6933944572B69   ASHLEY          MOLINA                  CO           90014719445
B693435333B396   DOUGLAS         KEGERREIS               CO           33018753533
B693599A385927   CHANDA          HARWELL                 KY           90012079903
B6936A38984364   JOANNARE        MITCHELL                SC           90010130389
B693744275B265   RHONDA          BIVEN                   KY           90011544427
B6937496924B64   FAITH           MANUEL                  DC           90004864969
B6937654476B27   JACK            EISENBACM               CA           90008446544
B693B975155953   ANA             AGUILAR                 CA           90015169751
B6941336261825   DONIELLE        SPATES                  MO           90015013362
B694176622B227   EMIL            ALVAREZ                 DC           90011617662
B6941899391579   MARGARITA       RIVAS                   TX           75058368993
B6943424591579   DIANA           ACOSTA                  TX           90010794245
B6946978385927   STEPHANIE       MOORE                   KY           90014599783
B694733622B271   JONETTE         GELISSEN                DC           90012453362
B6948676555953   IESHA           BANDA                   CA           90006696765
B6948832372B62   CASSIDY         CHAVIRA                 CO           90014438323
B694B714224B64   JOSHUA          MATTHEWS                DC           90014767142
B694BA9995B141   PATRINA         BENNETT                 AR           90007220999
B69512A5376B27   CHRIS           DAY                     CA           46051602053
B6952496293727   ANDREA          MOMAN                   OH           90014634962
B6959729372B69   SAMANTHA        LOPEZ                   CO           90012887293
B6962263191579   VICTOR          QUEZADA                 TX           90008432631
B6964245791579   ANGELICA        SAMANIEGO               TX           90014412457
B696652822B271   NYTAVIA         WARREN                  DC           90012995282
B697112625B265   DARLENE         SHRAMM                  KY           68048891262
B6971855793758   JENNIFER        ALLEN                   OH           90010578557
B6973948385927   ADRIENNE        RAUCH                   KY           90014609483
B6975771493745   RON             HONEYMAN                OH           90010477714
B6978A71955953   VICTOR          VELA                    CA           90012780719
B697B75A172B62   AUVAE DANYELL   GRANT                   CO           90013337501
B6983386A5B396   MARCIE          SMETOUNA                OR           90009063860
B6984A3A65B396   KENDRA          JONES                   OR           90008410306
B6984A92455974   RICARDO         GUZMAN LOPEZ            CA           90008100924
B6985956355953   RITA            ZAVALA                  CA           90013009563
B699267342B972   GRACIELA        CRUZ                    CA           90011966734
B699289992B972   GRACIELA        CRUZ                    CA           90011488999
B6995788693752   COURTNEY        LUNSFORD                OH           90005877886
B6996127372B69   SHANTE          NIEVES                  CO           90011011273
B699654184B557   DARRELL         SHERMAN                 OK           90007595418
B6997955293758   HECTOR          CANO                    OH           90010579552
B69B1815455972   ALMA            ANDRADE                 CA           90010708154
B69B263125B396   LISA            GARCIA                  OR           90012706312
B69B4613393752   JEFFREY         SIGMON                  OH           90009686133
B69B924157B489   MARY            CLINE                   NC           90006912415
B6B145A137B489   RODREIKA        TAYLOR                  NC           90010955013
B6B19162572B69   MARISOL         VILLAPANDO              CO           33031981625
B6B19796993745   MARCUS          RIGGINS                 OH           90014787969
B6B2263669712B   JEREMY          THOMPSON                OR           90007096366
B6B2918327B432   OMAR            SOSA CAMACHO            NC           90011571832
B6B29442585927   DOUG            MILLER                  KY           90011004425
B6B31929993752   JAIMEE          TAYLOR                  OH           90013889299
B6B32441255953   JUAN            HUERTA                  CA           90013624412
B6B33229455953   BRYNNA          BART                    CA           90013272294
B6B34A62A72B69   FRAN            RIVAS                   CO           90012270620
B6B37854176B27   JORGE           SILVA                   CA           90013068541
B6B38136443589   STEVE           CARMEN                  UT           90010161364
B6B3865355B396   JOSHUA          KOEHLER                 OR           44530016535
B6B39715297933   VERONICA        YANCEY                  NC           90009197152
B6B39951285927   ANTHONY         MCCOY                   KY           90011659512
B6B4185875B525   CAMERON         ENTRINGER               TX           90010018587
B6B4652A95B396   ERIKA           RAMOS                   OR           90007425209
B6B48214657552   TERESA          WITT                    NM           90009832146
B6B488A9776B27   ERENDIRA        ROSALES                 CA           90013078097
B6B49A81876B27   LUPE            CAMACHO                 CA           90014820818
B6B5165355B396   JOSHUA          KOEHLER                 OR           44530016535
B6B52828893752   QUINA           LAWRENCE                OH           90012378288
B6B5542A872B69   EFRAIN          GALVAN                  CO           90010504208
B6B568A9776B27   ERENDIRA        ROSALES                 CA           90013078097
B6B57A21676B27   ARIANA          MILIAN                  CA           90012140216
B6B5894A255953   VICTOR          CRUZ                    CA           90013389402
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B6B58999291324   ANTHONY        EDWARDS                  KS           90013279992
B6B61695272429   TARA           FRANK                    PA           90012476952
B6B64A37A76B27   GABRIEL        CARDOSA                  CA           90007770370
B6B6595AA93758   CORY           MITCHELL                 OH           90014609500
B6B68946791579   ERICKA         ROMO                     TX           90010909467
B6B69846424B64   FATIMA         ESPINOZA                 VA           90013228464
B6B6B636793746   AYMAN          LATIF                    OH           90012376367
B6B73841972B69   EDUARDO        LOPEZ                    CO           90013988419
B6B73867691579   BARBARA        SPANGLER                 TX           90009428676
B6B7B298233635   SHANIKA        MASH-SHERIDAN            NC           90006432982
B6B7BA55942332   RANDALL        SIMMONS                  GA           90013390559
B6B845A3491579   GISSELLE       TORRES                   NM           90011525034
B6B96178791579   JANET          LASCANO                  TX           90004721787
B6B9723865B396   ASHLEY         JIMENEZ                  OR           90011062386
B6B98888193745   JULIE          POWELL                   OH           64567398881
B6B99A94A72B62   ALEXZANDRA     ROBLES                   CO           90011490940
B6BB1512355972   MICHELLE       CALHOUN                  CA           90013385123
B6BB2223472B21   BRUCE          WAYNE                    CO           90014092234
B6BB2864293727   SCOTT          KOOB                     OH           90012098642
B6BB3751772B69   ANDRE          MCDONALD                 CO           90010997517
B6BB4936893727   CHANDA         BORKO                    OH           90007879368
B6BB5785193745   CRYSTAL        BLAZER                   OH           64500567851
B6BB7436A72B69   BRIAN          BUELL                    CO           90014754360
B6BB8469793727   AFTAN          DOTSON                   OH           90001314697
B7112612172B69   TOBY           GALVAN                   CO           90012606121
B711467127B489   LAURA          GUITIERREZ               NC           90010606712
B7116177155953   CHELSEA        SEALAND                  CA           90012771771
B7118132791579   FIDEL          FERNANDEZ                TX           90000771327
B7119861461429   ALEXANDRIA     PECK                     OH           90014178614
B711B975372B69   YURIPSY        MUNOZ                    CO           90013229753
B7121866A55953   ADRIAN         PICENO                   CA           90014708660
B712222682B271   MATOKA         GREEN                    DC           90014872268
B7123A5A691579   EDGAR          RAMIREZ                  TX           90009670506
B7125A25472B62   JESSICA        SANCHEZ                  CO           90011490254
B7128385391257   NATASHA        CAMERON                  GA           14581053853
B71293AAA72B69   FRANCISCO      ASCGNICIO                CO           90010923000
B712B86385B396   SONIA          GENCHI                   OR           90010788638
B71317A3243589   CONSUELO       MANZO                    UT           31079247032
B713452247B12B   ELDIN          IBRHINOVIC               ND           90013785224
B71399A3772B62   JOSE           MELARA                   CO           90010299037
B713B31AA93752   JODI           WILLIAMS                 OH           90014613100
B7149523A2B271   FLORENCE       NDI                      DC           90011435230
B7153A39693745   LAWRENCE       CARTER                   OH           64519940396
B715B59A972B69   GRISELDA       VILLEGAS                 CO           90012885909
B715B749772B62   SUSAN          JENNINGS                 CO           90015127497
B7161513655953   LETICIA        BOOKER                   CA           90005055136
B71649A6461975   BOBBI          CAHILL                   CA           90001539064
B7169499743589   ROBERT         GONZALES                 UT           90011984997
B716B558293752   DANIKA         BARKER                   OH           90011075582
B7173389493758   DONNIE         HARRIS                   OH           64596983894
B717418285B265   JONATHAN       TACKETT                  KY           90009361828
B717555625B265   DAILYN         CRUZ                     KY           90002335562
B717574A97B489   LETIA          MORRET                   NC           90011807409
B7179711A93752   STERLING       BLAIR                    OH           90011167110
B7179A36331639   NATALIE        SWITZER-HAULE            KS           90004200363
B71845A8181642   ALEX           ACOSTA                   KS           90014785081
B7186915572B62   MARIA          MARTINEZ                 CO           90002199155
B7188AA8A93745   NATASHA        CANTRELL                 OH           90014740080
B718B1A3172B69   MERCEDEZ       LOPEZ                    CO           90014061031
B7191691A93758   MATTHEW        SEARLS                   OH           90007226910
B71B6A35591579   SEBASTIAN      MARTINEZ                 TX           90011920355
B7211652155953   JIM            BONE                     CA           90015236521
B7213557A93727   RAMIRO         SANCHEZ                  OH           90009755570
B7217429185927   ERICA          MITCHELL                 KY           67034074291
B72184AA193745   CHAD           VANBEBER                 OH           90014744001
B721BA19993727   BRANDY         MCELRATH                 OH           90004560199
B7225689791579   CARLOS         ESCARENO                 TX           90011956897
B722661A593758   RACHAEL        SMITH                    OH           90011056105
B7231934455953   SHANEICE       JOSEPH                   CA           90007039344
B7232413755948   JAVIER         ROLDAN                   CA           90004614137
B7232497443589   ANDREW         DELIUS                   UT           90011854974
B723285582B841   AUTUMN         TRULSON                  ID           90014138558
B7238A7475B396   JENNIFER       PERKINS                  OR           90014350747
B724169A45B25B   MARY           ESTON                    KY           90014616904
B724171762B271   MARY           BROWN                    DC           90012557176
B724688382B271   TROY           SMILEY                   VA           90013658838
       Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 978 of 1007


B724992392B271   JUMOKA          BISHOP                   DC           90014079239
B7253286693752   STEVEN          MCCAREL                  OH           90013102866
B7254935555953   BERNADETTE      PEARCE                   CA           90008729355
B7254A18731639   MELLISSA        HOBBS                    KS           22009330187
B725797227B851   LUIS ALBERTO    CAMPECHANO               IL           90015059722
B7259334272B69   DUSTIN          FRITTS                   CO           90012563342
B7263369185927   SHAY            DOBSON                   KY           90010333691
B726826A285927   SONYA           HUMPHREY                 KY           90011342602
B7268376A93752   ARICA           HOBSON                   OH           90015203760
B7268875755953   CINDY           ESCAMILLA                CA           90012518757
B7269431172B69   ANDREW GERARD   PETERS                   CO           90013284311
B726B54942B244   QUINTON         EVANS                    DC           90007945494
B7272147155953   RENE            BRIZUELA                 CA           90013321471
B7272439A93727   MELISSA         MILLER                   OH           90011034390
B72725A4672B69   MARIA           ESCOBEDO                 CO           33024755046
B7279149381642   MICHELLE        KATHLEEN                 MO           90007271493
B7279261472B81   CHRISTIAN       AXTELL                   CO           90010992614
B728391929182B   IAN             KIRK                     OK           90005279192
B7283923985927   LANISA          BLANDIN                  KY           90009009239
B7286277733B51   LORIE           GIORGIO                  OH           90014722777
B728722A981642   JOSHUA          SIMPSON                  MO           90014792209
B72879A6693745   NATHAN          ROBINSON                 OH           90014799066
B728893A893745   HEATHER         HUFFMAN                  OH           90014789308
B7289731955953   JUAN            GONZALEZ                 CA           90013087319
B7291182755953   SAMUEL          NAVARO                   CA           90012781827
B7291274636B98   SHANNON         CORBIN                   OR           90007842746
B7292886491579   JOYCE           HESTER                   TX           75091088864
B7293172A7B489   BRYAN           CAMPOS                   NC           90011811720
B7299267781642   ALISA           SMITH                    MO           90014792677
B72B3417A91579   DEIDRE          PORTILLO                 TX           90011484170
B72B4995955953   VICTORIA        SANCHEZ                  CA           90007029959
B72B5775457183   VICTOR          VENTURA                  VA           90003097754
B72B6387A93745   DESMOND         MOSLEY                   OH           90011053870
B7311649293758   THEODORE        SHAVERS                  OH           90003726492
B731247A761937   ENSHURAH        BACA                     CA           46033694707
B7313529355953   ABIGAIL         LANDEROS                 CA           90013945293
B7318295491579   HECTOR          LOPEZ                    TX           90013922954
B731B153191257   ANDREA          ROBINSON                 GA           90001711531
B731B264331639   KASIE           REEVES                   KS           90014472643
B732192AA55972   PEDRO           GODINEZ                  CA           49063509200
B7321A62991579   MIGUEL          MOLINA                   TX           90013960629
B732331132B271   MARIAN          LINDSEY                  DC           90013223113
B7326818991579   EDDIE           CASE                     TX           90011658189
B7327292672B62   ALEJANDRA       CARDONA                  CO           90008452926
B732B932355972   RUMPHANH        KHAMNHOTH                CA           49063509323
B7332869655972   JESUS           LOPEZ                    CA           49088208696
B7333886672B69   ELAINE          FLORES                   CO           33010398866
B7334377772B62   YEIRA           ESTRADA                  CO           90012413777
B73367A792B271   GEREMIAS        MENJIVAR                 DC           81019027079
B73395A2255953   MIGUEL          MONSON                   CA           90013115022
B734137427B489   TALYIAH         SMITH                    NC           90012363742
B7342322193752   TERRELL         DANIEL                   OH           90010883221
B7347562972B62   EDGAR           JAVALERA                 CO           90012405629
B734851917B489   ANASTASIA       WITHERS                  NC           90011815191
B7348969A4B946   KUMASIAHA       EAGLIN                   TX           76533379690
B734B31172B271   JOE             DORSEY                   DC           90014223117
B7356784536B98   JOSE            SANTOS                   OR           90014087845
B7357134472B62   MICHAEL         RAMIREZ                  CO           90001811344
B7358966854161   MANUEL          RUVALCABA                OR           90013789668
B7359354A41223   JOSEPH          HINES                    PA           90009603540
B736371A355953   VERONICA        SCRUGGS                  CA           90008697103
B7363968284825   SEAN            LANCE                    NJ           90012149682
B7363974493758   JOHN            DOE                      OH           90012569744
B7372222655953   CARMELA         AVALOS                   CA           90011662226
B73726A9442332   OLIVIA          SUCHER                   GA           90000766094
B7375A6722B271   GLORISMEL       SORTO                    DC           90012520672
B7377836555953   ALBERT          AMBRIS                   CA           90013948365
B7379919972B62   CANDY           ARAGON                   CO           90013759199
B7381285693727   WILASA          RHINES                   OH           90010932856
B738231515B32B   JENNIFER        KAUFMAN                  OR           90007723151
B7382661693727   SIERRA          HICKLAND                 OH           90011876616
B738492885B396   SIDNEY          SPELTS                   OR           90014699288
B738627382B271   CHERHONDA       MIDDLETON                DC           90012842738
B7386276993758   ERIC            GRIFFIN                  OH           90012842769
B7386724793752   JESSICA         SAXTON                   OH           90011077247
B7387869293758   VICKI           HENRY                    OH           90009248692
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B7388681A72B38   ROBERT         HUBBARD                  CO           90014526810
B739124362B271   SHAMIKA        YOUNG                    DC           90014792436
B7395331455953   GARY           COTTON                   CA           90012773314
B73B9328693758   JACOB          WEAVER                   OH           90006643286
B73BB37414B299   STEPHEN        FUCCIO                   NE           27083973741
B73BB772841233   ASHLEY         EATON                    PA           90010567728
B7411527193745   KRYSTAL        TONER                    OH           90014885271
B741615A493727   REGINA         WAGERS                   OH           90003151504
B7417397A2B271   KIMBERLY       BANKS                    DC           90010993970
B741B937893758   DONNA          PAULL                    OH           90010229378
B7422625172B69   GARCIA         SHALINDA                 CO           90008376251
B7422678793727   BRITTANY       WHITACRE                 OH           90013506787
B7422747491579   RAFAEL         EZPINOZA                 TX           90009697474
B7423494293745   HEATHER        BLATON                   OH           90014114942
B742484A272B38   LYNAE          TOY                      CO           90013438402
B742517472B271   FEVEN          ERMIAS                   VA           90015291747
B742582412B271   MARCIA         BRYANT                   DC           90008688241
B7426A23455953   EBONY          SILKWOOD                 CA           90013950234
B742B49677B489   SEAN           THOMPSON                 NC           90002374967
B7431A61293727   SARA           PELFREY                  OH           90013490612
B743496752B271   JAMEKA         SMITH                    DC           90013249675
B743585A22B25B   JANELLE        SMITH                    DC           90006038502
B7437633593758   KRISTIN        WALKER                   OH           90000446335
B7442199293727   TAMARA         FLYNN                    OH           64512211992
B744246338B144   JULIA          SANCHEZ                  UT           90009214633
B7444784181642   CHRIS          CLASBY                   MO           29017757841
B744837362B271   SHANNON        WALLS                    DC           81049603736
B7457539472B69   JULIE          RODRIGUEZ                CO           90011515394
B7459A58285927   NICHOLAS       CHRISTANSEN              KY           90014940582
B745B526655953   VINCENT        HOOD                     CA           90013495266
B745B6A3472B62   JERAMIAH       STROLE                   CO           90012856034
B746179435B265   EDIE           ACKERMAN                 KY           90009557943
B7463546993752   JOHN           RIEGLE                   OH           90014745469
B746469565B396   CARLOS         MIRANDA                  OR           90013386956
B7464928272B38   RICARDO        NAVARRO                  CO           90012839282
B746627AA93745   JESSE          VOSE                     OH           90014932700
B7469AA359286B   OSCAR          MONTES                   AZ           90014080035
B747182587B489   PORSCHE        STRICKLAND               NC           90011818258
B7473847655992   ALMA           RIVAS                    CA           90008168476
B747B241A81642   MICHEAL        DAVIS                    MO           90007962410
B747B2A242B271   CAITLIN        ARCHER                   DC           90002332024
B748461552B271   TANYA          INGRAM                   DC           90014476155
B748555387B489   AVELARDO       QUINTERO                 NC           90011945538
B7485595593752   WILLIAM        ABNER                    OH           90014435955
B7485949731639   BAMBI          COUCH                    KS           90010999497
B7488A49331639   JOEY           MARTIN                   KS           90011960493
B7491946176B33   MAX            RUSSELL                  CA           90012169461
B7498429893745   SYLVIA         DOUTHITT                 OH           90014934298
B7499677A85927   ROBERT         WORLEY                   KY           90014136770
B74B553975B383   MARLEEN        HARP                     OR           90009175397
B74BB93825B396   GENEVIEVE      MORSE                    OR           90013639382
B7512251A55953   SUSANA         FLORES                   CA           90012382510
B7512863791563   REYES          SANDOVAL                 TX           90010838637
B7514A14693758   MELISSA        VAUGHN                   OH           90012390146
B751595922B271   DONNELL        BROADWAY                 DC           90010749592
B7515979991257   RASHAD         GLOVER                   GA           90003669799
B7517435993745   MIGNON         CLAY                     OH           90011154359
B7517924655953   DAVID          DELGADO                  CA           90013139246
B751873A981642   OSCAR          GONZALEZ                 MO           29087167309
B752148887B489   BEVERLY        GRIM                     NC           11016964888
B7521A65993758   PRESTON        ATKINS                   OH           90013930659
B7522343393758   BRITANE        SINK                     OH           90013693433
B752474515B265   ANNTONISHA     JONES                    KY           90004337451
B752695A35B265   MARK           ROGERS                   KY           90013989503
B752755995B265   PAYGO          IVR ACTIVATION           KY           90013445599
B753293825B396   GENEVIEVE      MORSE                    OR           90013639382
B753315695B545   LYNETTE        ORTIZ                    NM           90011501569
B753737712B271   DEBRAY         SMITH                    VA           90011003771
B7538132655953   CHARLIE        EMFINGER                 CA           90014861326
B7539661791579   MATHEW         GONZALEZ                 TX           90010806617
B754294885B396   RICADO         WRAY                     OR           90012459488
B7549246993727   ROYAL          CURRY                    OH           90010652469
B7551297A91579   BORDER         REFRIGERATION            TX           75059852970
B755189A672B62   CELINA         GALLEGOS                 CO           90010458906
B755577217B489   YOLANDA        SWITZER                  NC           11022147721
B7556681331639   KIMBERLY       VAUGHN                   KS           90009926813
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B7557843491574   DONNA            DALY                   TX           90012888434
B75585A9181642   SCHAVON          SAYLES                 KS           90014805091
B755911152B271   ROBERT           DUNBAR                 DC           90010381115
B7559421891579   FILEMON          RIVERA                 TX           90013254218
B756141635B396   TIGRA            SADLER                 OR           90012654163
B7561A92893758   RUSTY            GILES                  OH           90006130928
B756758A455953   LISA             PADILLA                CA           90013955804
B7568A1525B32B   MARTIN           NOEL                   OR           90007190152
B756B282491579   FERNIE           ZAPATA                 TX           75098422824
B756BA37772B62   CARLOS           MELGAR                 CO           90013790377
B757179AA42332   ALISHA           BARBER                 GA           90011797900
B757222362B271   MERL             LOGAN                  DC           90013092236
B7572356691257   TIMOTHY          SAPP                   GA           90002373566
B7578941793752   CLINTON          MAHONEY                OH           90011899417
B757B488A2B24B   ANGEL            LUCAS                  DC           90006904880
B757B778124B64   TONYA            JOHNSON                DC           81009587781
B757B779885927   TRENTON          HENSLEY                KY           90013527798
B7581156872B69   CARLOS           AMBROSIO               CO           33029451568
B7582A21972B62   LORRAINE         ALVA                   CO           90013140219
B758B893A93758   PANDORA          KILGOR                 OH           64535558930
B7595534455953   LUIS             HERNANDEZ              CA           90012795344
B7597775993758   ERICA            BROOKS                 OH           90011057759
B7598637972B62   HERNANDEZ        ADAN                   CO           33000866379
B75B5A8A572B62   JACKIE           ORTEGA                 CO           90001660805
B75B6335981642   CASHALEA         FINLEY                 MO           90014803359
B75B72A4797134   HURRUY           ASFAHA                 OR           90005322047
B75B8647131639   SHELLY           LEITZEL                KS           90006166471
B761B49A691579   EDGAR            ROSAS                  TX           90012694906
B761B988131639   AMANDA           ROGERS                 KS           90014059881
B7629261472B62   NICOLE           GENTILLI               CO           90013732614
B762B588355953   MARIA            NALEONADO              CA           90014005883
B762B8A7891579   BLANCA           GARCIA                 TX           90009548078
B7631821372B69   HERBERT          HIGHLAND               CO           90011398213
B7632448593727   THOMAS           WILLIAMSON             OH           90010174485
B7633AA7336B98   NIKALAI          LUKENOVICH             OR           90008500073
B7634385931688   NIESHA           RENEE                  KS           90007243859
B7634942455953   KEENEN           KENNEDY                CA           90011729424
B7635736A81642   DEIDRA           LEWIS                  MO           90014807360
B7635A3935B265   SHAQUEISHA       DAVIS                  KY           90014070393
B763648897B489   KENNETH W        BLACK                  NC           90011824889
B7636937955953   ANA              ROMERO                 CA           90014109379
B763B96A185927   APRIL            POLSTON                KY           90005629601
B764587665B396   CRISTOBAL        GONZALEZ               OR           90004378766
B7646851293758   JESICA           HULSEY                 OH           90010148512
B76477A7541231   BLAKE            GELET                  PA           90012747075
B7648955461987   JUAN             AGUINO                 CA           90011959554
B764B8A7385927   TIFFANY          HARRIS                 KY           90013008073
B765298AA93758   LARRY            BAXTER                 OH           90008089800
B7653251893758   TIFFANY          CROLLEY                OH           90013332518
B7653775993758   ERICA            BROOKS                 OH           90011057759
B7658831131639   DEVONTE          BROOKS                 KS           90011308311
B765B978193727   CARLA            PRINTUP                OH           90002499781
B7665657672B69   JOE              SILLETO                CO           90014416576
B7667182A93745   IMAR IZQUIERDO   VELAZQUEZ              OH           90015251820
B7669114755953   JOSE ERNESTO     FERNANDEZ              CA           90009461147
B7672A73893758   ZACHARY          MILLER                 OH           90015240738
B7676545393727   AMBER            BLACK                  OH           64586675453
B7679689193752   TRAVIS           HOLT                   OH           90014916891
B767B536572B62   HAYLEY           FIGUEROA               CO           90012145365
B7683388491579   VALERIE          SEPULVEDA              TX           90014273884
B7691537693727   AMBER            DANIELLE               OH           90009555376
B769358277B489   KARINA           SUAREZ                 NC           90011825827
B76976A6255953   RICARDO          JIMENEZ                CA           90011746062
B76B2146A55953   SAMUEL           GLASS                  CA           90011721460
B76B4548355953   MICHELLE         NAVARETTE              CA           90014005483
B76B464672B271   LINETTE          ANDERSON               DC           90015106467
B76B6811A72B69   EDDIE            SONS                   CO           90010358110
B76B82A5493758   CHARLES          TALLEY                 OH           90012842054
B76B9557291952   ERICA            WOMBLE                 NC           90011995572
B76BB8A7385927   TIFFANY          HARRIS                 KY           90013008073
B7711265393758   SKYLAR           REID                   OH           90012572653
B771226695B265   GERALD           ELDRIDGE               KY           90013062669
B7712543585927   ZACHARY          HARRISON               KY           90011085435
B7713849793758   BRITTANY         GUNTER                 OH           90011788497
B7717826172B69   ERICA            COONS                  CO           90012828261
B7718184593758   JAKAORA          BAXTER                 OH           90011461845
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B771B731A72B69   ERICK             MARTINEZ              CO           90013197310
B772212335B396   RONALD            JONES                 OR           90014461233
B772956575593B   JOYCE             CONWAY                CA           90011775657
B7729973893727   STEPHAINE         AVERY                 OH           90013729738
B772BA87993752   DUSTIN            KOCH                  OH           90009320879
B773177987B489   LYNERA            INGRAM                NC           11052497798
B7731918193758   DANIELL           SOUERS                OH           90011059181
B7732192131639   ARTHUR            ANDERSON              KS           90011611921
B7732858355953   JOSE              CHIVEDO               CA           90014048583
B7741547572B62   TRACE             SMITH                 CO           90014705475
B77428A1993752   SAMANTHA          MAPES                 OH           90011178019
B774722682B271   MATOKA            GREEN                 DC           90014872268
B774726864B277   DENNIS            ZAGER                 NE           90013002686
B774B63545B265   SHAUN             BURCH                 KY           68084556354
B7753264A5B555   DEVLIN            LARA                  NM           90013032640
B77534A6A91579   CRISTIAN          PONCE                 TX           90014314060
B775514A385927   PAYGO             IVR ACTIVATION        KY           90014491403
B7755716393727   CHABELA           GRAVES                OH           90011877163
B7757663193758   GARY              TOLLIVER              OH           64592796631
B775855468B144   RICK              GILLETT               UT           90011945546
B7761151581642   JONATHON          SNELL                 MO           90010911515
B7761234A55953   EDGAR             PULIDO                CA           90012892340
B7763233672B69   CARLOS            SANTIZO               CO           90007232336
B7763714272B62   BRENDA            TALAMANTES            CO           90013877142
B7766268124B64   TERENCE           BROWN                 DC           90012342681
B7771359A91579   DAVID             SKUES                 TX           75016813590
B7774A56991579   ALICIA            REYES                 TX           90006100569
B7775937A5B396   VERONICA          ENVORO                OR           44596549370
B777927A45B265   MICHAEL           HORAN                 KY           90014702704
B777B924A93757   LLOYD             SMITH                 OH           90008639240
B777BA53385927   MIGUEL            SANCHEZ               KY           90010280533
B778561358B131   JOHN              KOVALENKO             UT           90010476135
B778672A493752   NAOMI             THOMPSON              OH           64599567204
B7788A36A93752   SUMMER            KNIGHT                OH           90011090360
B778B17455B396   WESTLEY JOSEPH    WESTFALL              OR           90010721745
B778B95435B396   TIM               MILLER                OR           90013639543
B7792A48972B69   EVA               HOWELL                CO           90009440489
B7793741972B69   JOEL              ESTRADA               CO           90010677419
B779842385B265   MARIN             GOMEZ                 KY           90014104238
B779B25A972B22   DEANNA            BARAJAS               CO           90008342509
B779B37278165B   WILLIAM           MELTON                KS           90004523727
B779B43112B271   MARTENA           WILLIAMS              DC           90009114311
B77B565A193727   SEITE             YOUNG                 OH           90015116501
B77B7669891579   MYRNA             MEDRANO               TX           75023486698
B77B88A8791579   MAYRA             MEZA                  TX           90013158087
B7813894A55953   IVAN              ARIAS                 CA           90013048940
B7816A7A381642   AVA               HARRIS                MO           90014850703
B781714692B271   DARIYAH           GREEN                 VA           90012591469
B7818582A55953   JUAN              LLAMAS                CA           90011785820
B781B489472B69   ALFRADO           FRANCA                CO           90014494894
B781BA5735B265   JENNIFER          BAYENS                KY           68060360573
B7821832555953   RINA              DUARTE                CA           90012818325
B78243A8961999   TERRENCE          COTTER                CA           90001923089
B782451272B271   KINITA            MEDLOCK               DC           90010735127
B782483235B265   SUMTHIN           CUTE                  KY           90001638323
B7828358293727   SHARON            DUDLEY                OH           90008853582
B782838AA72B62   TOUCHEE           WASHINGTON            CO           90012573800
B783399777B489   GOSAFAT           RODRIGUEZ             NC           90011829977
B7834593893758   RICHARD           ENGLE                 OH           90010325938
B783478278B833   MELISSA           LOKOT                 HI           90014737827
B783731815B396   ANDREW            MCDONALD              OR           90011353181
B783821192B271   JOHNTRE           SMITH                 DC           90013002119
B78386A3591579   ANGEL             RICO                  TX           90014916035
B783B284A57565   SANDRA            CASTILLO              NM           90012572840
B784537734B541   ANTIGANEE         KEMP                  OK           90012203773
B78467A4355927   LISA MARIE        CARDENAS              CA           90000847043
B7847839391579   RODRIGO           HERNANDEZ             TX           90001228393
B7854458193758   MICHELE           THOMPSON              OH           64500904581
B7855554791579   ANGELICA          VASQUEZ               TX           90010255547
B7859654185927   LANCE             COMMADORE             KY           90010256541
B7863125781642   SAUNNIECE         GORDON                MO           90014851257
B7865428572B69   EMANUEL           CALDERON              CO           90012414285
B786581342B888   VERONICA          DUARTE                ID           90007018134
B7866355291257   CHRISTIAN         SIERRA                GA           90003203552
B7872214172B69   TREYVON MARQUIZ   THOMAS FISHER         CO           90014392141
B7875133755953   HARVEY            SCOTT                 CA           90011801337
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B7876489793727   TIFFANY        ENGLE                    OH           90010144897
B7879639691579   ISELA          GILLAM                   TX           90015126396
B78797A3455953   TINA           GARNICA                  CA           90012967034
B78823A8493727   NANCY          JONES                    OH           90003453084
B78956A6142332   ASHLEY         MOORE                    GA           90014176061
B7895923972B62   JOSHUA         CLAPPER                  CO           90014849239
B7897A28124B64   MONIQUE        BYRD                     DC           90012870281
B78B1A28293727   KIRSTIN        SMITH                    OH           90001440282
B78B237695B396   ALEJANDRA      MORFIN                   OR           90013303769
B78B289457B489   VALERIE        STONE                    NC           90011828945
B78B366A15B265   JENNIFER       BAUMAN                   KY           90012296601
B78B535948B38B   TAFRA          ROBINSON                 SC           90013933594
B78B62A5172B62   ELIAZAR        SALINAS                  CO           33054032051
B78B759278B14B   MATTHEW        MOWER                    UT           90008265927
B78B8153872B62   STEVE          CARLLOTTA                CO           90012681538
B78BB49785B548   TANYA          LOVATO                   NM           90001674978
B78BB79982B271   TOBIE          MISER                    DC           90003437998
B7911855791579   WENDY          TEJEDA                   TX           90010128557
B7913197136B98   MATT           LENOIR                   OR           90012751971
B7915494193752   SHAREE         SUMLIN                   OH           90010404941
B7916852231639   RATANA         GERMAN                   KS           90003568522
B791744A324B64   MARGARET       AROTIMI                  VA           90011194403
B791B218393727   KATHY          HEFFLIN                  OH           90010772183
B791B48358B186   GALLEY         DARIN                    UT           90003984835
B791B624672B62   ROBERT         GARCIA                   CO           90012406246
B7921821293745   HELEN          SALYER                   OH           90002828212
B792459975B265   MONTEZ         SMITH                    KY           90015055997
B7926471481642   JOSHUA         BARNES                   MO           90014854714
B792733565B265   JENNIFER       REEVES                   KY           90012633356
B7928574893752   THOMAS         BANDURA                  OH           90014845748
B792999A531639   NATHAN         ROBINSON                 KS           22086609905
B7931319372B3B   HELEN          BOTTO                    CO           90011533193
B7933555555953   ROSA           CARINIO                  CA           90011825555
B793817845B265   DELVON         REDD                     KY           90010971784
B793BA4A272B62   EDWIN          BELLO                    CO           90013790402
B794171679182B   TERI           GRAVES                   OK           21064877167
B79437A8491579   JOSE           PACHECO                  TX           75048997084
B7947853393752   TASHA          WADE                     OH           64578468533
B7949179455953   JUAN           DE LA TORRE-TORRES       CA           90011821794
B7949953355953   YSIDRA         ROSALES                  CA           90014159533
B7952254742332   JOHNNY         JEFFRESS                 GA           90014182547
B7955627385927   CHANGABOBA     MULUME                   KY           90007976273
B7957613581642   CRISTIAN       GOZALEZ                  MO           90014856135
B7959681291579   JESUS          CASTRO                   TX           90011106812
B7966666893747   MATT           WEBER                    OH           90011386668
B7967421855972   RICHARD        BORJA                    CA           90014374218
B7969A4A185927   JOEKEYTAL      JORDAN                   KY           90014510401
B7974718972B69   MICHAEL        COLARUSSO                CO           90013567189
B797516952B271   LENIDAS        TREJO-A                  DC           81045371695
B7978964593752   MARIA          CANO                     OH           90013519645
B798255A22B271   MARTINA        JONES                    DC           90010735502
B7982625493758   JESSICA        CLARK                    OH           90012296254
B7985743655953   SALVADOR       HERANDEZ                 CA           90013277436
B79876A6A93727   MICHAEL        HITTIGTON                OH           90009416060
B798888772B271   BILDA          PARADA                   DC           90007078877
B7989518885975   JOE            ELAM                     KY           90011875188
B798959735B396   MICHAEL        PEACOCK                  OR           90001825973
B799652A193727   BRITTANY       HINER                    OH           90011305201
B79B6561191579   DESTINY        MCCORMACK                TX           90010795611
B79B7741993752   CHAD           DEER                     OH           90014677419
B79B82A1672B26   ANGEL          LUCERO                   CO           90011592016
B79B845A74B946   ADRIENNE       COOPER                   TX           90012644507
B79BB839351337   VICTORIA       FORTNER                  OH           90011928393
B7B1162139B122   JAKALA         MCINTYRE                 MS           90014096213
B7B14446A81642   QUINTEN        BRADLEY                  KS           90014774460
B7B21A61A41288   SAMI           SALMON                   PA           90001690610
B7B222A9943589   SCOTT          ABEL                     UT           90010612099
B7B2284362B271   MICHELE        TIPPINS                  DC           90009058436
B7B2352845B396   JENNIFER       ANDERSON                 OR           90014665284
B7B251A6693727   SHEAYL         CRUMBLE                  OH           90010881066
B7B25A76693727   CRYSTAL        BITTNER                  OH           90014260766
B7B29716A5B196   JEROME         JENKINS                  AR           90012087160
B7B3286A991579   RACHAEL        MONJE                    TX           75089348609
B7B33728871966   MARICELA       RIOS                     CO           32013737288
B7B42316993727   ELVIS          THAXTON                  OH           90013383169
B7B42A81693752   EMILY          BRADLEY                  OH           90014770816
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B7B44521231639   ADOLPH            LOMELY                KS           90012395212
B7B45998591579   MIRIAM            GUZMAN                TX           90010169985
B7B4645A393745   KENDA             KEERAN                OH           90014664503
B7B4685527B489   LOUIS             JOSEPH                NC           11066238552
B7B4858644B555   BAVERLY           GRAVES                OK           90008895864
B7B51874285927   ALFREDO           CANCIO                KY           67075878742
B7B52464751235   VERNON            MILBURN               CO           33045964647
B7B53184591579   MARISSA           DE LA CERDA           TX           90013371845
B7B5B481391579   LIRIO             RAMOS                 TX           90011624813
B7B61142355953   GABRIEL           CRUZ                  CA           90012781423
B7B62221293752   KIMBERLY          REIFEMDECK            OH           64541442212
B7B669AA772B69   FRANCISCO         ESCOBEDO              CO           90013729007
B7B671A9955953   NEREIDA           GARCIA                CA           90012241099
B7B6B257555953   PATRICIA          DE LA GARZA           CA           90013222575
B7B72196872B69   RACHELL           TURMENNE              CO           90013561968
B7B72922293727   BRETT             WILLIAMS              OH           64500159222
B7B746A176618B   JESUS             CERVANTES             CA           90014026017
B7B74979972B62   ROBERT            GOMEZ                 CO           33075059799
B7B76A6763163B   JIMMIE            CRANFORD              KS           90010820676
B7B77297685927   SHIRLEY           RAMIREZ               KY           90012662976
B7B7B135681642   PEGGY             COLLIE                MO           90014781356
B7B7BA83431639   CHRISTAL          HUBBLD                KS           90004030834
B7B81188A91579   ALEXANDRA ELENA   BADILLO               TX           90006371880
B7B82585A43589   MARVIN            WILLIE                UT           31065525850
B7B88529972B62   LEYDI             VANESSA               CO           90012405299
B7B8983975B265   KORTEZ            FLETCHER              KY           90013988397
B7B92171A5B396   THIMOTY           SHORT                 OR           90011351710
B7B92A5A493758   DENISE            CHASTAIN              OH           90014060504
B7B9712162B271   SHAVON            CRAWFORD              DC           90014221216
B7B9B884391579   ABRAHAM           MEDINA                TX           90000558843
B7BB17A7641B5B   LATONYA           LAWSON                MD           82042877076
B7BB28A2772B62   KELLIE            GARKOW                CO           90012838027
B7BB293882B271   CHATIA            MOTLEY                DC           90014529388
B7BB4379755984   DEION             BROWN                 CA           90007863797
B7BB6722571964   LONNIE            EVENS                 CO           90013557225
B81126A9993758   RORY              GESTRICH              OH           90010586099
B8113848491924   SAYRA             GONZALES              NC           90013138484
B8113A14693758   DORCUS            MILINER               OH           90011550146
B8114131891579   CINTHIA           GARCIA                TX           75039361318
B8114393493752   MARGRET           MAGGARD               OH           90012823934
B8115445691248   DEMESHA           COLEMAN               GA           90009494456
B8116633336122   YENZEL            JUAREZ                TX           90014106333
B8117A52591844   PATTY             WHEELER               OK           90006940525
B811B364636122   MICHELLE          CERVANTEZ             TX           73545003646
B811B619561429   HENRY             BURNSIDE              OH           90014186195
B8122426172B62   BARRY             SULLIVAN              CO           90014694261
B8124832585936   JEFF              HELTON                KY           90011298325
B8124A7A45B396   RUDY              DUDLESTON             OR           90010710704
B812796887B489   JAVANDA           TRUESDALE             NC           90011939688
B8127A13772B62   ALEJANDRO         DELGRANDE             CO           90013220137
B812B184255959   JHANCARLO         RODRIGUEZ             CA           90011911842
B812B923A7B489   JESSICA           ROPER                 NC           90013619230
B8132714572B69   LUIS              RODRIGUEZ             CO           90012007145
B8133383261937   MARIANA           TREVIZO               CA           90008303832
B8133832A61937   MARINA            TREVIZO               CA           90013338320
B8141539941229   TIMOTHY           HOPKINS               PA           90014635399
B814314A37B462   SHEILA            MOSLEY                NC           90002171403
B8144469461985   CHRISTOPHER       BRIGHT                CA           90012824694
B8145A82493752   MARK              KINGSOLVER            OH           90014930824
B8146562585936   KACEY             CLAYPOOLE             KY           90014045625
B814936A991924   KARLA             GONZALEZ MORALES      NC           90013253609
B8149485372B62   ALICIA            GARCIA                CO           90013294853
B815B141855959   ROY               OROSCO                CA           90013211418
B816267A193758   WAYMIRE           BRIAN                 OH           90010586701
B816273A993751   CHRESTOPHER       WILLIAMS              OH           90011967309
B8163A17591924   ZAQUETTA          HENDERSON             NC           90009980175
B8165722193752   SHAWN             PACK                  OH           90008097221
B816628A136122   FELISSIA          GARZA                 TX           90011662801
B8169423A55959   JAY               VASQUEZ               CA           90013064230
B816B132893752   LAURA             COLEMAN               OH           90014271328
B8171931593727   CHRISTOPHER       BERRY                 OH           90013279315
B8173453791924   JOHN              BLACKWOOD             NC           90008594537
B8174A45291965   MARGARITO         MARTINEZ              NC           90000200452
B8179291585927   JAMI              BAUMGARTNER           KY           90012132915
B817BA19272B62   GERALDINE         VODICKA               CO           90006890192
B8181197591579   RAUL              MACIAS                TX           90011371975
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B8184828491549   JESUS            BERMUDEZ TINAJERO      TX           90008028284
B8185527985936   YVONNE           HICKMAN                KY           66023745279
B8187672893745   TIFFANY          WILSON                 OH           90006706728
B8188143933625   SHADEANA         AUSBORNE               NC           90009281439
B8188294291579   RODRIGUEZ        ROSY                   TX           90009982942
B8193343272B69   WILLIAM ROGERT   STEWARD                CO           90012703432
B81944A8691579   MARIELA          LOPEZ                  TX           90007774086
B8194937972B94   MARVIN           ROWTON                 CO           90005769379
B819518A891924   NICOLAS          RODRIGUEZ              NC           90011851808
B8195528291248   SANDRA           LIPSEY                 GA           14594095282
B8197572472B69   ANDRES           CANO                   CO           90007865724
B8198978791924   OMAR             ROSILLO                NC           90010859787
B81B23A3855959   ANGEL            MARTINEZ               CA           90011243038
B81B37A6491579   APOLINAR         PICHARDO               TX           90004037064
B81B388868B186   JOSHUA           LEWIS                  UT           90007798886
B81B434565B327   A MARTIN         RUIZ TAPIA             OR           90012173456
B81B5849A91924   DUJUAN           HOOD                   NC           90010178490
B81B5922772B62   NATHAN           CHASE                  CO           33029849227
B81B684A193752   JAGEL            BRANDON                OH           64512958401
B8214357972B62   ISIDRO           LEAL                   CO           90011013579
B8214365191579   PAOLA            CORDERO                TX           90011553651
B821612568B141   MARISSA          BAGSHAW                UT           90012311256
B8222211971932   JULIE            VELAZQUEZ              CO           90009562119
B82243A2685936   KRISTINA         BLADES                 KY           90010883026
B8225137431639   SHANTE           JACKSON                KS           90011711374
B8229859255959   CHRISTINA        GRANADO                CA           90003108592
B822B539991549   ANDREA           MAESTAS                TX           90015115399
B8231391991257   ORLANDO          BRADY                  GA           90009873919
B8231A12A85936   ADDISON          HERRMANN               KY           90012950120
B8231A87636122   ANTHONY          OLIVAREZ               TX           90011120876
B823292395B396   GABRIELA         CARRILLOS              OR           44586149239
B8233495493752   KALEIGH          MUNDEY                 OH           90013644954
B824266A233647   NATALYN          SUITS                  NC           90004236602
B824475427B489   AMISADAY         HERNANDEZ              NC           90013947542
B8248AA655B396   ANYA             LOUISE                 OR           90008600065
B824B71717B489   MICHELLE         CARDONA                NC           90013947171
B8253851355959   ANGELA           ALVAREZ                CA           90013758513
B8255A1717B489   STEPHANIE        MARTINEZ               NC           90012930171
B8257137472B69   ANTHONY          MARTINEZ               CO           90014451374
B8257717791579   CLAUDIA          HERNANDEZ              TX           90001047177
B825779A57B489   KEISHA           HARRIS                 NC           90013947905
B8258213484346   NOEL             MARTINEZ-GALLEGOS      SC           90010312134
B825995A293727   PRADA            DRAKE                  OH           90014329502
B825BA99424B64   MANUEL           COREA                  VA           90012880994
B826673A636122   TERRY            RAMSEY                 TX           90003057306
B8268A36955959   SABRINA          WILLIAMS               CA           90012870369
B826B196455959   BERNARDINO       CASIANO CRUZ           CA           90014131964
B826B71279182B   MARLENA          ROCOLE                 OK           21015057127
B8271484591579   ALEJANDRO        PEREZ                  TX           90014094845
B8272895791554   JESUS            REZA                   TX           72094538957
B8273189291924   ALICIA           CAMPBELL               NC           90012021892
B8275492842332   CHRISTOPHER      NAVE                   GA           90010234928
B827549992B95B   SALVADOR         CORONA                 CA           90012734999
B8275A73855942   JESUS            SANTIAGO-MONTERO       CA           49097870738
B827615985B396   JAMES            SAYWARD                OR           90014501598
B8278364585927   BRADLEY          RENFROW                KY           90014513645
B8279619355959   ILCE             OROZCO                 CA           90012406193
B827998115B327   HECTOR           ROQUE                  OR           90011549811
B827B268985927   RONNIE           YOUNGER                KY           90007342689
B827B397131639   BRIAN            SCTOTT                 KS           90011713971
B827B46A385936   PATRICIA         WOOTEN                 KY           90014164603
B827B56A391924   CHRISTOPHER      FAIRLEY                NC           90011165603
B8283195441288   LESA             MITCHELL               PA           51009841954
B8284151761973   DAVID            MENDEZ                 CA           90011541517
B828589599155B   IRENE            LOPEZ                  TX           90011348959
B8286149193752   RICHARD          BRACKIN                OH           90012121491
B8289148455959   JOANNA           CERVANTES              CA           48005731484
B828B68362B923   KENDALL          LEWIS                  CA           90001206836
B8292455A61985   LOUIS            GOLETTO                CA           90007754550
B8296423991578   SAUL             SEPULBEDA              TX           90001204239
B829684737B489   LIDIA            NIEVA                  NC           90013948473
B829753122B252   TIA              HUNTER                 DC           90005155312
B829889A185936   SHANE            MOORE                  KY           90012088901
B829B3A8957543   TERESA           TOFYA                  NM           90004183089
B829B447624B64   NADINE           BLAND                  DC           90010704476
B82B1354985927   JOHN             MARLOWE                KY           90012843549
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B82B291A97B468   JAMES              WOODSON              NC           90007899109
B82B2A56985927   LAUREN             ROBINSON             KY           90013180569
B82B6813485927   SHARON             RICHMOND             KY           67032558134
B82B7611155959   JESUS              BERMUDEZ             CA           90011416111
B82B7882785936   ROBERTA            HARGIS               KY           90013858827
B82B87A3591924   ALICIA             GOMEZ                NC           90013817035
B831481A891924   JOSE               TOLENTINO            NC           90010408108
B8321344457134   KEVIN              BIKINDU              VA           90000423444
B83232A795B396   JULIE              KNOWLES              OR           90012402079
B8326118591257   JOAQUIN            GARCIA               GA           90010981185
B832754352B256   TAMEKO             BALL                 DC           90012285435
B833146657B489   JAMIE              ERVIN                NC           90010434665
B833152612564B   JOSEFA             RUBIO                AL           90013855261
B833318678B133   CASEY              BAIRD                UT           90010371867
B8336431924B64   TAY                SMITH                DC           90011204319
B8338246255959   CRYSTAL            ARROYO               CA           90010322462
B833B16537B489   DARIUS             MCCULLOUSH           NC           90014761653
B833B831572B62   VANESSA            MEDRANO              CO           90000768315
B833B86557B489   DERRICK            TAYLOR               NC           90011288655
B834298A536122   BRANDON            CANALES              TX           90014129805
B8343525972B69   JOEL               FERNQUIST            CO           90011535259
B834367335B327   GLEMMA             RUISE                OR           44512826733
B8344417785927   NATALIE            HUGHES               KY           90005634177
B8347296236122   ROBERT             GONZALES             TX           90012552962
B8348263576B3B   JOANNA             GANZALEZ             CA           46006272635
B8348881591924   ELIZABETH          ALMEIDA              NC           17092118815
B8352389172B62   AUBREY             JOHNSON              CO           90011013891
B8352846255959   JESO               ESPINO               CA           90014108462
B8355152385936   MINDY              MAHONEY              KY           90014181523
B835B395993758   TOSHIA             DANIELS              OH           90010593959
B836381122B271   MARKISHA           MABRY                DC           81043308112
B8364178485936   MARIO              RIVERO               KY           90008891784
B8368237891585   ADRIAN             ORTEGA               TX           90004242378
B836824999154B   DESSARDY           GONZALES             TX           90009472499
B836972144B557   DAVID              FUCHS                OK           90011657214
B8372428891579   MARIA              PEREZ                TX           90009764288
B8372511491579   IVONE              MORA                 TX           90013005114
B8377A6455B327   TERRI              DONALDSON            OR           44518320645
B8382286691924   DOMINIQUE          STANLEY              NC           90011682866
B838399467B489   SALVADOR           CRUZ                 NC           90013949946
B8386774991924   MIKE               BROWN                NC           90012957749
B8387452172B69   MONICA             HERNANDEZ            CO           33032874521
B838845245B396   CALEB              FRANKLIN             OR           90010664524
B839117485B396   ANNJALYSSA         JONES                OR           90005821748
B8392133A77577   ERIN               LOONEY               NV           90001761330
B8396285155972   JAMES              SYHAVONG             CA           49067092851
B83972A267B489   MARCO              MATA                 NC           90011602026
B839732AA7B492   GORGE              RENTERIA             NC           90008773200
B839744125B396   JACOB              MULL                 OR           90011424412
B8397725424B55   TARRICK            WALKER               DC           90006357254
B8398989724B64   IVONY              WILLIAMS             DC           90013439897
B83B2795331639   CHRISTOPHE         NAVA                 KS           22029287953
B83B438517B489   VANESSA            FRANO                NC           11072803851
B83B4622355959   REYNA              MADERO               CA           90012406223
B841198A62B271   COURTNEY           KNIGHT               DC           90011489806
B8412766391579   LESLIE             MENDOZA              NM           90011917663
B8415683231452   YASMIN             MARTIN               MO           90007606832
B841811A455959   EVELYN             SILVA                CA           90012421104
B841B5A242B271   DASHAWN            RUSSELL              DC           90010305024
B842113A772B69   BRANDON            HUDSON               CO           90012531307
B842435254B933   CURTIS             ROSE                 TX           90007193525
B8425469461985   CHRISTOPHER        BRIGHT               CA           90012824694
B8426147791549   JENNIFER           WILSON               TX           90008551477
B8428A24155959   AMANDA             MARTINEZ             CA           48072000241
B84294A4172B62   DAMIAN             CORTEZ               CO           90011014041
B8431643472B62   RACHELLE           SANTISTEVAN          CO           90012976434
B8432194536122   MEAGAN             CHELSEA WINDSOR      TX           90014021945
B8432A7327B489   HIGINIO DE JESUS   GARCIA               NC           90013950732
B843879A12B271   CHANNELL           SPENCER              DC           90011647901
B8439339A91924   ALECIA             GATTIS               NC           90012163390
B843B5A1336122   CALEB              GARCIA               TX           90014855013
B84414A2947839   CANDACE            BROWN                GA           90008484029
B8444425685927   DIANA              HERNANDEZ            KY           90014564256
B8447941A93727   CEARAIGH           GERNON               OH           90011009410
B8451783972B21   RALPH              ASHLEY               CO           90011347839
B845297AA55959   TLALOC             CUEVAS               CA           90013329700
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B845678535B25B   ELIZABETH       SCHULTZ                 KY           90000227853
B8457683791927   CECILIA         PEREZ TORRES            NC           90010706837
B8461659791579   LURDES          SALINAS                 TX           90013776597
B8463429185927   ERICA           MITCHELL                KY           67034074291
B8468A44672B62   PEDRO           FLORES                  CO           90014390446
B8469848536122   JULIA           HUERTA                  TX           90014768485
B8469862431639   DOUGLAS         MOORE                   KS           90011728624
B847318875B396   NAEMO           HASSAN                  OR           90014391887
B8473354355959   GUSTAVO         DIAZ                    CA           90013823543
B8475762524B64   IRIS            MAJANO                  DC           90002437625
B8482526672B69   ALEXIS          GENTRY                  CO           90013555266
B848853A936122   BRIANNA         OCHOA                   TX           73510795309
B848B5A7A36122   SAMMY           MARTINEZ                TX           90012335070
B8493331A5B384   LAURA           DURAN DIAZ              OR           90008893310
B84958A7585927   EDGAR           GAUCIN                  KY           90014728075
B849671713B372   REBECCA         BARRETT                 CO           90008887171
B8497662653B21   JESUS           VILLARREAL              CA           90014656626
B849829367B489   JOYCE           MAYAKA PANZA            NC           90013952936
B8498965655959   SANDRA          HERNANDEZ               CA           90012779656
B84B169975B396   GERARDO         GUILLEN                 OR           90015026997
B84B3163693752   VICTORIA        WHISMAN                 OH           90013731636
B84B6728272B62   JAMES DEONTAE   HARRIS                  CO           90012137282
B84B714697B489   TONY            ALLEN                   NC           90013951469
B84BB273855959   ISAIAS          RIOS                    CA           90014912738
B8512998A85927   STEPHANE        MOKOBAN                 KY           90013699980
B851516752B271   DEVIN           STOKES                  DC           90008691675
B8515A35672B69   COSTELLO        GEORGE                  CO           90012970356
B851832177B489   RENEE           LENOR                   NC           90013953217
B852121195B396   TIANNA          ROGERS                  OR           90014322119
B852212AA55959   JEANETTE        SOTO                    CA           90013831200
B852284A891579   CLAUDIA         HERRERA                 TX           90014758408
B85295A5155936   ALEJANDRO       HINOJOSA                CA           90013345051
B8531316855959   ARTURO          VASQUEZ                 CA           90014543168
B85331A7185927   BETH            CLARK                   KY           67085901071
B8533A89957134   JUAN            MENJIVAR                VA           90003170899
B853512AA55959   JEANETTE        SOTO                    CA           90013831200
B8536267572B62   JOSE            PEREZ                   CO           90012762675
B8536911872B62   AMBER           DEHERRERA               CO           90014449118
B8537423171924   DAVID           KORINEK                 CO           38010144231
B8539A26861937   MARIA           GONZALEZ                CA           90008470268
B854142A122963   SAVANNAH        JENKINS                 GA           90014144201
B8542463591579   CLAUDIA         VILLARREAL              TX           75074084635
B8542813793727   TONI            MESAROSH                OH           64549078137
B85435A2933658   CHARMEL         WHITWORTH               NC           90013145029
B854B42625593B   MIAGUEL         DOMINGUEZ               CA           90010604262
B855141947B489   LINDA           JOHNSON                 NC           90013954194
B855217415B592   JESSICA         DURAN                   NM           90008391741
B8552A36557134   DESTINI         LINDSAY                 VA           90008330365
B8553123831478   CAROLINE        GUEST                   MO           90007681238
B8553198455959   CATHY           ROMERO                  CA           90007881984
B8557578955959   JORGE           MARTINEZ                CA           90013405789
B855912865B327   ALMA            ROBLES                  OR           90011441286
B8561AA837B422   MEGAN           SORTO VASQUEZ           NC           90009550083
B85633A4436122   CHELSEA         PERRY                   TX           90013333044
B8565679A7B489   GERARDO         RIOS                    NC           90006316790
B856B14942B271   JOHANNA         CHAMBERLAIN             DC           90010881494
B857256715B396   BRADY           TOWNSEND                OR           90012315671
B8575261393758   KIARA           FERGUSON                OH           90008572613
B8576127A85927   SHALLYN         BANEGAS                 KY           90009241270
B8578411572B69   FILBERT         MAESTAS                 CO           90006684115
B8578863491549   RUBEN           ALVIDREZ                TX           75006208634
B857B261A24B64   TAYVONE         WILLIAMS                DC           90014982610
B857B432272B62   ANASTASIA       PENA                    CO           90011014322
B858499A972B62   TANIA           RONQUILLO               CO           90011399909
B8585557993752   SUSAN           LEMASTER                OH           90012155579
B858579535412B   EVERETT         SHELTON                 OR           90014417953
B8588798291924   VIVIAN          AP0NTE                  NC           90006507982
B8589162291579   RENE            LECHUGA                 TX           90002831622
B859552527B489   ASHLEY          HAYES                   NC           90013965252
B85B2541591924   WONICA          JONES                   NC           90014745415
B85B4134972B69   ERIK            RAMOS                   CO           90012531349
B85B4871193727   MARVIN          ARIELLE                 OH           90001168711
B85B6216385927   SUSAN           HEFNER                  KY           90014152163
B85B87A9893727   TONENSHA        NASH                    OH           90011377098
B85B9981791579   CHRISTOPHER     VASQUEZ                 TX           90011349817
B85B9A9837B489   MIKAYLA         RUSS                    NC           90008350983
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B861112165B396   JAMES          FRANCISCO                OR           90010291216
B8611564693727   TABATHA        WHALON                   OH           90013635646
B8613664136122   MAYA           LOPEZ                    TX           90011066641
B861411857B456   BRENETTA       COLEMAN                  NC           90010411185
B86159A6885936   BRETT          METTEN                   KY           66058969068
B861666A233647   NATALYN        SUITS                    NC           90004236602
B8617A55493745   KEVIN          VHALEY                   OH           90001310554
B862291A793758   MELCHOR        ESPINO                   OH           90000829107
B8625756A55959   MARITZA        JUSTO                    CA           90013367560
B8626163155959   CARLOS         MORALES                  CA           48082331631
B862953535B544   JAVIER         MORALES                  NM           90008695353
B8631282372B62   NICOLE         PARSON                   CO           33095352823
B863176A355959   JOSE           VASQUEZ                  CA           90011267603
B8632322172B69   GERARDO        MENDEZ                   CO           90009793221
B863477A542332   TONY           HART                     GA           90010717705
B8634A34636122   JOHN           CASTILLO                 TX           90012600346
B8634A8575B396   LACEY          KISER                    OR           90010670857
B8637161291579   JAIME          CARILLO                  TX           90011491612
B863754815B534   SABRINA        ORTEGA                   NM           90008405481
B8639824633B51   JOSEPH         SMITH                    OH           90014978246
B863B394493745   JASON          STEINER                  OH           90006493944
B8641677691257   LINDA          LIVINGSTON               GA           90010276776
B864248A955959   C              LATRICE                  CA           90014564809
B8652461A7B489   MARIA          PADILLA                  NC           90013724610
B865551AA91924   CARNIKA        HOLME-RODRIGUEZ          NC           90014085100
B8661943455959   DORIS          NUNEZ                    CA           90012459434
B8662992672B69   JUSTIN         CARROLL                  CO           90014399926
B8665418693752   JAMES          DEGREDORIO               OH           90013434186
B8669986355959   BENITO         COLLADO                  CA           90011269863
B8678359385936   CARMEN         NELSON                   KY           90012273593
B8678622A36122   AMY            ESTRADA                  TX           73542686220
B8679545185936   CHERIE         MARTIN                   KY           90012725451
B8679573285927   TAKIA          KING PULLUMS             KY           90013605732
B867B662455959   HERNAN         RAMIREZ                  CA           90010336624
B868283375B396   FRANK          VAN WAGNER               OR           90013778337
B8684A5663B191   DEREK          LONG                     VA           90000550566
B868775885B221   CHARLES        ENSMINGER                KY           90012427588
B8691741693727   LAWRENCE       JOHNSON                  OH           90011377416
B8693531A93752   UNIQUA         NORTHCUTT                OH           90013705310
B8693A53291579   JOHN ADAMS     TAYLOR                   TX           90013070532
B8693A92171932   TRINITY        HERRERA-TAFOYA           CO           90012930921
B869434A57B387   SEAN           SARCENO                  VA           90010123405
B869514292B271   LUPIN          RAHMAN                   DC           90011621429
B8695545185936   CHERIE         MARTIN                   KY           90012725451
B8696A76891582   REBECCA        NUNEZ                    TX           90008060768
B86B3323493752   TRY            ADAMS                    OH           90003113234
B86B9661372B62   MATTHEW        STANFORD                 CO           90014396613
B871123415B396   RACHAEL        STACK                    OR           90011912341
B8712436172B69   DIANE          SMITH                    CO           33060014361
B8717151391574   CESAR          ESPINO                   TX           75030221513
B871776397B489   ROSHESHA       WALKER                   NC           90013967639
B8719AA1791924   DENNIS         CONNERS                  NC           90010810017
B871B133385927   JOSE           LOPEZ                    KY           90013551333
B871B469455959   QUINTIL        LOSANO                   CA           90015184694
B8721526972B62   GIRMA          HAILE                    CO           90013985269
B8722513655959   JOSE           DIAZ                     CA           90012825136
B8723121172B62   JOANNA         HUDSON                   CO           90013451211
B8726341A91924   KEVIN          HERNANDEZ                NC           90010853410
B8726787785927   HEATHER        LANE                     KY           90014917877
B872679137B489   JOSE           PEREZ                    NC           90013967913
B872B666155959   JUAN           HERNANDEZ                CA           90013076661
B873581967B489   ALEJANDRA      PEREZ                    NC           90013968196
B8736545191924   STACY          SMITH                    NC           90014605451
B8737787536122   KIM            HANKINS                  TX           90012567875
B8737926A91524   ANTONIO        CERECERES                TX           90008729260
B87383A5672B62   JUAN MANUEL    NUNEZ                    CO           90013243056
B8744754672B62   PATRICIA       GILLESPIE                CO           33090017546
B8745916793727   LAURA          MICHEAL                  OH           90013339167
B874893852B271   FERIN          STEPHENS                 VA           81042379385
B874993852B271   FERIN          STEPHENS                 VA           81042379385
B8749AA717B489   LEO            VILLANUEVA               NC           90008270071
B875B3AA75B327   JESSICA        GARCIA CAMACHO           OR           44509943007
B875B957772B69   JON            SIMMONS                  CO           33013999577
B875B988391921   STELLMAL       RIGT                     NC           90008449883
B876197A685936   EDGAR          DE LA CRUZ               KY           90011789706
B8762394993752   ERIC           FREESE                   PR           90013113949
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B876481A891924   JOSE            TOLENTINO               NC           90010408108
B8768823A93727   JOSEPH          VERASSO                 OH           90013648230
B8774211655959   GILBERT         LOPEZ                   CA           90011982116
B87747A2855959   DAVID           VAZQUEZ GALLO           CA           90010337028
B8776415755959   MARIO           BARAJAS                 CA           90007894157
B877674595B396   ZIPPORAH        LYZER                   OR           90015157459
B877B644455959   SHYENNE         BABB                    CA           90001906444
B878358A991579   JAIME           SILVA                   TX           90014515809
B8783A73172B62   JOHN            SOUTHER                 CO           90012510731
B8784953555959   ALFREDO         HERNANDEZ               CA           90012479535
B8786531685936   JESSIE          TALBOT                  KY           90010555316
B8788566997134   MARY            PALMER-CORREA           OR           44598735669
B8788758A36122   CHRISTOPHER     HACKNEY                 TX           90008327580
B8791572754176   JUAQUINA        SANTOS                  OR           47002105727
B8793888491852   MARIA           HUGHES                  OK           90004688884
B8797852A85927   OMAR            ALMANZA                 KY           90014918520
B8799342251391   NYKUILA         LOVE                    OH           90006323422
B879B88237B489   JEANNIE         GILBERT                 NC           90004008823
B87B3484291924   ROBERT          DAVIS                   NC           90001414842
B87B4226185927   KAYLA           BROWN                   KY           90015162261
B87B6197472B69   MICHEAL         BONEY                   CO           90014901974
B87B6953A36122   NINA            GOMEZ                   TX           90008709530
B87B74A3493752   RYAN            PRICE                   OH           90012864034
B87B7A63791924   JESKIA          ROBERSON                NC           90011440637
B87B8513972B62   DEWAYNE         CURTIS                  CO           90015115139
B8811226872B69   ROBERT          PETER                   CO           90013632268
B881543A491579   OSCAR           JAQUEZ                  TX           90010774304
B8815A98A5B541   LOURDES         GUTIERREZ               NM           90008670980
B8816236336122   SHAY            KREMLING                TX           90012452363
B8816A5297B489   DARREL          ASKEW                   NC           90013970529
B881877957B489   JASMINE         BAILEY                  NC           11004247795
B8819A5775B396   ANGELICA        LOPEZ                   OR           90014860577
B881B37A733658   ERIC            SCOTT                   NC           90012723707
B881B978493727   JUSTIN          SMITH                   OH           90012119784
B882555475B327   JACOB           BIRDWELL                OR           90010555547
B8826442155959   ERIKA           CERVANTES               CA           90010004421
B8828873661825   MARIO           EILAND                  MO           90013118736
B882BA16985927   AMBER           WALLS                   KY           90014770169
B8832437131639   TEANNA          MOORE                   KS           90012254371
B8832841355959   KENNETH         SCONIERS                CA           90013018413
B8833154A85927   TRACY           LITTLE                  KY           90011121540
B883411A124B64   RAYMOND         CHEADLE                 DC           90010661101
B883432A855959   ZUREIDI         MARQUEZ                 CA           90015163208
B8835228991924   TEDDY           VINSON                  NC           17062912289
B8836984825632   FRANKLIN OMAR   AGUILAR                 AL           90014419848
B883877965B396   GIRUMEANTE      SUREW                   OR           44580837796
B88411A1293758   MARY            REICHARD                OH           64511971012
B8841639693727   AYREONNA        DALTON                  OH           90014636396
B8841A21993727   CHRISTINE       HAMILTON                OH           90009970219
B8842192285936   KEVIN           FREDERICK               KY           90014651922
B885146A391579   ROBERT          ANAYA                   TX           90012914603
B88514A4193727   DAREIN          FRANCIS                 OH           90012994041
B885233665B547   BLANCA          LOPEZ                   NM           36033923366
B8855224193776   KIMBERLY        MULLINS                 OH           90012072241
B885613A155959   AMPARO          ZAVALA                  CA           90015181301
B885B184193758   ANGELA          WOODS                   OH           64595951841
B885B94A736122   ADAN            REYNA                   TX           90014359407
B8867992236122   MARY            VALDEZ                  TX           90014609922
B887268465B396   MOLENI          FEAOMEATA               OR           90011956846
B8873429936122   KIM             ROSALES                 TX           90003334299
B8873A4A831688   TERESA          SALAS-BATRES            KS           90004360408
B8873A75793752   DENNIS          SNOWDEN                 OH           90011350757
B88757A3491924   BRENDA          MACEDO                  NC           90014547034
B8875996255959   SEFERINO        MALAGON                 CA           90007809962
B8879644A85927   CANDACE         NAPIER                  KY           90011066440
B887B37A691924   SANCHEZ         BARNES                  NC           90005023706
B888223315B398   MELISSA         TRUMPS                  OR           90008812331
B8882524185936   JEREMY          MAYS                    KY           90003535241
B8882797A91924   BEVERLY         FIELDS                  NC           90010057970
B888393357B489   BRAYAN          BRIONES                 NC           90014019335
B8885299985927   GEORGE          SELLARDS                KY           90006312999
B8889376624B64   ROZEATTA        PEARSON                 VA           90014573766
B888B157855959   JOSEFINA        HERNANDEZ               CA           90011281578
B88935A9572B62   PAULA           MARTINEZ                CO           90011015095
B8894A2345B396   MARIANNA        FLORES                  OR           90013790234
B889533277B327   BLANCA          VILLANUEVA              VA           90002323327
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B88966A7A72B69   JOSE ANTONIO       ROMAN                CO           90011536070
B88B6472272B69   JUAN               MALPICA              CO           90012564722
B88B6924831639   KELLY              HOFFMAN              KS           90011749248
B88B962387B489   BARTOLO            LUNA                 NC           90010436238
B891258938B833   UILANI             TAVAI                HI           90014835893
B891377772B271   GERARDO            CRUZ                 DC           90001887777
B8915578191878   VANESSA            PRICE                OK           90012395781
B8915689885927   LESLIE             GRAUL                KY           90012916898
B8917138931639   ANGELA             SHERMAN              KS           90001901389
B8919749193752   SHONTA             SMALLS               OH           90013237491
B891999365B396   GLORIA             MARTINEZ             OR           90014099936
B8921848193727   ELEXIS             DALRYMPLE            OH           90013288481
B8924185891579   SANDRA             RAMIREZ              TX           90008511858
B8927289391592   JUAN               HERNANDEZ            TX           75005802893
B8931862924B64   BRIAN              SMALLWOOD            DC           90006348629
B893254657B489   PABLO              PEREZ                NC           90009415465
B893294235B396   JOSE               FONSECA              OR           90011259423
B8934A34A84373   FRANCISCO          WILLIAMS             SC           90012230340
B8935951891973   MERY               MENDOZA              NC           90009399518
B8935A47955992   SANDRA             DIAZ                 CA           90015070479
B893628854B537   KIMBERLIN          STREETER             OK           21550232885
B8936A4594B299   ALEYDA             MENA-GONZALEZ        NE           90009310459
B8944533491579   VALERIE            SAENZ                TX           90009515334
B894497A836122   RICO               WATTS                TX           90013789708
B8947821A72B62   OLIVIO             ATAYDE               CO           33001778210
B894B2A8236122   EVERADO            GARCIA               TX           90013062082
B8952645A36122   JANIE              HERNANDEZ            TX           90014096450
B8962997193752   JEFFREY            HALE                 OH           90005469971
B8963268A55972   MARCOS             GONZALEZ             CA           49068762680
B8963889831458   LASHONDRA          FARMER               MO           90003498898
B8968968891924   JESUS              ARROYO BENITEZ       NC           90008059688
B896981A891924   JOSE               TOLENTINO            NC           90010408108
B8976482255959   ROLANDO            LOPEZ                CA           90015184822
B8978761A85936   MATTHEW            SPECHT               KY           90013007610
B897B996591924   DAVID              MENDOZA              NC           90011109965
B8981A56491579   BRIDGET            DELFIN               TX           90003510564
B898229A785936   DAVID              SILVER               KY           90012732907
B8983844384327   DAVID              DRAKE                SC           90007638443
B8985943493752   TERRIE             VEAL                 OH           64540119434
B89862A3A7B489   MARY               LWESTOVER            NC           90011292030
B8986462372B62   JESUS              RODRIGUEZ            CO           90009564623
B8987854393752   SHANTE             JOHNSON              OH           90008488543
B8988657291579   SANDRA             ROMO                 TX           90004696572
B898B279155972   STEVE              NUNEZ                CA           49077462791
B8991851971921   ISABELLA           BIERI                CO           32031558519
B8991A7525B327   SADIE              NOGGLE               OR           90007870752
B899352265B396   DWAYNE             BLAINE               OR           90011345226
B8994888172B69   ALISA              GRAY                 CO           33017588881
B899534A891924   SIAN               MCCLEAN              NC           90012513408
B899B992236122   MARY               VALDEZ               TX           90014609922
B89B227817B327   ESTELA             MENDOZA              VA           90006092781
B89B6159491983   CAROLYN            CRAIG                NC           90009861594
B89BB975993727   BEARD              CHERELLE             OH           90012339759
B8B131A754B933   ALLEN              SEZER                TX           90004591075
B8B15377422444   MELISSA            MANSBRIDGE           CO           20525873774
B8B1939377B489   JOSEPH             PAGE                 NC           90013943937
B8B21A18A5B396   ALBERTO            BELLO-MENDOZA        OR           90013790180
B8B2322A15B327   WENDY              WARNER               OR           44589142201
B8B269A135B327   FERNANDO           SANTIAGO SOLIS       OR           90010679013
B8B28864355959   HEVES              BECERRA              CA           90012918643
B8B28988872B62   LARRY              HALE                 CO           90011399888
B8B2923A885936   RODNEY             EVERSOLE             OH           90014792308
B8B35254A5B327   JUAN               GARCIA SANCHEZ       OR           90013952540
B8B52A49472B62   MIRIAM             MOLINA               CO           90011590494
B8B5785A131639   AMBER              JENSEN               KS           90011718501
B8B61248185936   ANGELA             FAHLBUSH             KY           90013992481
B8B63519755972   DERCELL            BROWN                CA           49011115197
B8B6BA86893745   MINDY              JOHNSON              OH           90011230868
B8B7136735B396   JUSTIN             ZEHNER               OR           90013953673
B8B77341A85936   MONTY              LEMON                KY           90013993410
B8B8252827B489   LARRY              TOMPKINS             NC           90013945282
B8B85239455959   LEOVARDO           PEREDIA              CA           90011242394
B8B85513972B62   DEWAYNE            CURTIS               CO           90015115139
B8B859A9836122   JEFFREY            SPRADLEY             TX           90010949098
B8B867AA772B62   BRENDA JEANNETTE   FLORES               CO           90011367007
B8B885A427B489   RACHELL            MONCRIEFT            NC           90014015042
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B8B8B872285927   TIARA          REID                     KY           90005268722
B8B91625A36122   MARK           TORRES                   TX           90014176250
B8B91852772B69   JOSE           ANGEL TORRES             CO           90011488527
B8B97591555959   HUMBERTO       SANCHEZ                  CA           90012365915
B8B99623785936   CRYSTAL        HORN                     KY           90003306237
B8B99958897933   MIRIAM         CORTEZ                   TX           71083239588
B8BB154695B396   HUNTER         SMITH                    OR           90014945469
B8BB3AA1872B69   CHEYENNE       FORESTIERI               CO           90012530018
B8BB77A8155959   CYNTHIA        MATA                     CA           90013057081
B8BB875A385936   BRIAN          RICHTER                  KY           90013967503
B8BBB994255942   FACUNDO        GOMEZ                    CA           49080169942
B9112423955953   MATTEW         RODRIGUEZ                CA           90014634239
B91131A7691578   RODOLFO        MORALES                  TX           90001551076
B911368A797157   KELLY          ROSS                     OR           90000846807
B911463A55B561   SERINA         ANTHONY                  NM           90007906305
B9115426155953   MARIA          TORRED                   CA           90014634261
B911555A15B384   LUIS           LAUREANO JIMENEZ         OR           90005955501
B911791345B327   HERMELINDA     BARRON-CRUZ              OR           90014179134
B91191A9576B52   JULIO          BOLANOS                  CA           90009981095
B9122436536122   RODNEY         LACY                     TX           90012924365
B9128679A76B52   LAWRENCE       CASON                    CA           90010826790
B913129A761998   JULIO          COLON                    CA           90008942907
B9135438255953   ERNESTO        ESTRADA                  CA           90013024382
B9136732255959   CHRYS          MONTENEGRO               CA           90012127322
B9141823993758   TARA           HIATT                    OH           90013428239
B9143389855959   ADRIANA        ALVAREZ                  CA           90007373898
B9148A6A45B327   ZURIAM         TAPIA TREJO              OR           90010060604
B9153A25455953   JAVIER         ORTEGA                   CA           90013050254
B9156735536122   CYNTHIA        DURHAM                   TX           90001347355
B9156AA5A3B396   JENNIFER       DICKEY                   CO           90001160050
B9157423955953   MATTEW         RODRIGUEZ                CA           90014634239
B9159347431921   MAHENDRA       RAMAKRISHNAN             IA           90015073474
B9159422454122   DAN            DAVIS                    OR           90009394224
B91617A963165B   MATTHEW        MAUPIN                   KS           90009557096
B9162112636122   RUDOLPH        PADIERNA                 TX           90011971126
B9163558693758   MICHAEL        CASEY                    OH           64505925586
B916394A736122   ADAN           REYNA                    TX           90014359407
B9164A5172B271   RAMOS          RIGOBERTO                DC           81019910517
B9169833855953   CHRISTINA      ANDERSON                 CA           90013078338
B9174765793752   STEVEN         CHAMPION                 OH           64517277657
B917682AA71936   ROSALIO        ZAMORA                   CO           90010508200
B917B246A8B133   DAVID PAUL     CHRISTENSEN              UT           90010362460
B917B252593752   JOSH           MACKEY                   OH           90010932525
B917B5A1155959   JESUS          GARCIA                   CA           90012085011
B917BA86472B69   MELQUIADES     CABALLERO                CO           90014150864
B9181665976B52   KISHA          PONCE                    CA           90014936659
B9181825A7B431   CHAD DAVID     SMITH                    NC           90010268250
B9182178436122   CHRISTINE      ANDERSEN                 TX           90012511784
B9184A45755953   JOSE           CORDOVA                  CA           90013090457
B9185168493727   CHEYENNE       STILABOWER               OH           90010621684
B918B6A975B327   LISA           HILLIARD                 OR           90011906097
B918BAAAA55953   MIGUEL         RUBIO                    CA           90013090000
B9191261291864   JODI           COZBEY                   OK           90007662612
B919363A55B561   SERINA         ANTHONY                  NM           90007906305
B9195573976B52   MARIANO        GARCIA                   CA           90013815739
B9195AA715B396   WILLIAM        BOLTON                   OR           90011750071
B919665692B271   URSULA         DAVIS                    DC           90010386569
B9198178436122   CHRISTINE      ANDERSEN                 TX           90012511784
B9198232493727   SUNNI          WILKERSON                OH           90002362324
B9199949355959   ANGELA         GUERRA                   CA           90013869493
B9199A78576B52   RYAN           CHARLES                  CA           90012950785
B91B154692B271   OSCAR          FLORES                   DC           90007055469
B921131442B271   TORRENCE       MILLEK                   DC           90015133144
B9212785755959   MICHELLE       ALVAREZ                  CA           90010537857
B921296472B271   BRIANNA        TOWNES                   DC           90012739647
B9214472855953   ISAAC          GAYTON                   CA           90005234728
B921916358B825   TERRY          BROWN                    HI           90014161635
B92196A225B396   PAW            MU                       OR           90013306022
B9221734855953   ANDREA         DELA CRUZ                CA           90013117348
B922233792B271   DEMIS          BIRU                     DC           90011113379
B9222612861994   NORMA          AGUILERA                 CA           90008926128
B92299AA255959   DORA           TORRES                   CA           90013369002
B9231691A2B834   TIFFNEY        DEVRIES                  ID           90011496910
B923355AA55953   MICHAEL        YBARRA                   CA           90013125500
B9235516A72B62   HERRERA        LUZ                      CO           90011175160
B923B566155959   MARCOS         SALASAR                  CA           90002575661
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B9241115651343   BRANDYN        HENSLEY                  OH           90006071156
B92416A3676B52   BEVERLY        HERNANDEZ                CA           90003606036
B92436A7255953   MARIA          FRANCO                   CA           90013126072
B9243886A8B171   SHARNELL       N GROGAN                 UT           90008928860
B9244A62255953   BARBIE         JEFF                     CA           90011790622
B924654713363B   LINDA          BOBO                     NC           90015075471
B9248459455953   GABRIELA       PORCHAS DIAZ             CA           90013134594
B924917A872B98   JUSTIN         RODRIGUEZ                CO           90008931708
B9249459455953   GABRIELA       PORCHAS DIAZ             CA           90013134594
B92514A4836122   JEREMIAH       FOX                      TX           90014624048
B9251A7857B489   SHONTAE        LITTLE                   NC           11049650785
B9253972A55953   VERONICA       PEREZ                    CA           90013139720
B925419154B265   WILLIAM        RAMSEY                   NE           27075041915
B925475574B259   SANTOS         CRUZ                     NE           90012667557
B9255996531667   BRITTANI       JONES                    KS           90010539965
B9257765536122   PAUL           MELEZ                    TX           90014867655
B926811817B489   ROSALEI        WILSON                   NC           90005811181
B9268366441937   BILLY          HUFFAKER                 OH           90014503664
B9271984193758   RICHARD        WHITE SR                 OH           90011029841
B9274246136122   BELINDA        PEREZ                    TX           90010682461
B927568134B259   FLORIANE       OUBDA                    NE           90012276813
B927827A524B28   CHARLES        WILSON                   DC           90013352705
B928337445B396   HAROLD         THOMAS                   OR           90002183744
B9284374876B52   JOSHUA         CHRISTIE                 CA           90008463748
B92858A9491578   NANCY          PUEBLA                   TX           90008758094
B9286966276B52   ERIKA          LOPEZ                    CA           90014299662
B928726575B327   JASON          FOOTE                    OR           44509212657
B9288481155959   MIGUEL         LOPEZ                    CA           90015194811
B9289221931456   BIRDIE         MCCLAIN                  MO           90004832219
B928B311893758   VALENTINA      HOLLINGSWORTH            OH           90012723118
B9291388672B69   MERCEDES       CRUZ                     CO           90012743886
B92917A8131639   TRISH          POLK                     KS           90010307081
B9291896255953   SKI            WALKER                   CA           90013268962
B9291999393758   KENNETH        BAILEY                   OH           90009979993
B9294797255953   WILLIAM        BERMUNDEZ                CA           90014187972
B9297449597922   BRENDA         TAYLOR                   TX           74079044495
B929B19A855972   MAKAYLA        MCCRAE                   CA           90007021908
B92B281275B522   MARY           GONZALES                 NM           90011028127
B92B4881431688   ELIZABETH      CALDERON                 KS           22015218814
B92B6157333643   LORENZO        CARDOZA                  NC           90007961573
B92B655485B396   SEAN           O'CONNOR                 OR           90014325548
B92B738322B271   ALL            STATE GLASS              VA           81054373832
B92B835842B857   ISELA          RIVERA                   ID           90007243584
B92B8596872B69   JODIE TRINI    MADRID                   CO           90013255968
B931169142B271   TROY           BATES                    DC           90014886914
B931221755B327   NAYELI         GUTIERREZ                OR           90010502175
B931486A75B327   ALBERT         GRAHAM                   OR           44547198607
B9315243472B69   SHANNA         WEST                     CO           90006862434
B9316874836122   JOSHUA         HERNANDEZ                TX           90013288748
B931742A672B62   FLO            WILSON                   CO           90012784206
B931795962B271   JOHNITTA       JONES                    DC           90014599596
B9318276A5B343   JONATHAN       DEWALD                   OR           90010482760
B9318919936122   ERICA          SEVILLA                  TX           90003809199
B932375A676B52   DAWN           LEE                      CA           90012977506
B932464A172B69   ELIMELEC       MONTOYA-RODRIGUEZ        CO           90013656401
B932589262B271   CHARLENE       HATCHERSON               DC           90014128926
B9326187655959   YULIANA        GARCIA                   CA           90010711876
B9327A16155953   MICHAEL        MADRID                   CA           90014660161
B9328115A55959   ISAMAR         RODRIGUEZ                CA           90012921150
B9328262A71932   CASSANDRA      DILLON                   CO           90011452620
B9328A61A2B845   EVENLYN        RODRIGUEZ                ID           90013810610
B933331A131421   SHAMIKA        GUTHRIE                  MO           90010683101
B9333A44136122   ROSETTA        SHOWS                    TX           90009480441
B9335A42193752   TIFFANY        BAKER                    OH           64509240421
B933B345131688   JOHN           JONES                    KS           90005443451
B934135862B857   CASSIE         ROBERTS                  ID           42027833586
B9341792593758   ZAHARA         BLOODSOE                 OH           90013157925
B9341879155959   ANTONIO        MARTINEZ                 CA           90013058791
B9342238836122   ROCHELLE       GRAYSON                  TX           90009622388
B9342496393758   JESSICA        GRICE                    OH           90008794963
B934323A376B52   SANTIAGO       OROS                     CA           90013862303
B934512282B857   TODD           OHNGREN                  ID           90011641228
B9345448355959   ADELINA        CARRANZA                 CA           90008644483
B9346797993758   ABDULMULTI     SALEH                    OH           90013157979
B9348859655953   RICKEY         BURNIAS                  CA           90014688596
B934986A955953   DAVID          RICE                     CA           90014688609
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B9353477972B69   ANDREW           MUTCH                  CO           90009904779
B93536A945B327   BEN              PERKINS                OR           90013016094
B935642465B327   MARISOL          MIRANDA                OR           90004964246
B9357662593727   JEFFREY          CAUDILL                OH           90014476625
B9362127993727   AMY              HERRON                 OH           64576381279
B9363351585927   LINDA            DREUX                  KY           90005013515
B9364943455953   EDDIE            GUTIERREZ              CA           90014699434
B936526839712B   SARA             TINDELL                OR           90005992683
B936652342B857   SHERRALYN        CAYLOR                 ID           90010475234
B93679AA32B857   ANDREW           BENTLEY                ID           90007039003
B9373A68736122   STARR            SAVOY                  TX           90014010687
B937442414B259   ADAM             PARKER                 NE           27076594241
B9382827272B62   WARSAME          SUSOW-ADOW             CO           90012728272
B93842A3455959   TERESA           LUGO                   CA           90011862034
B9385758855959   YOLANDA          ESTRADA                CA           90013987588
B9386239A36122   SHIRLEY          TEMPIE                 TX           90010332390
B9386A96276B52   GABRIELA         BAILON                 CA           90012950962
B938995397B479   RODOLFO          GOMEZ                  NC           90012029539
B9391317572B69   MARIA            JOAQUIN JOAQUIN        CO           90014203175
B939298842B271   CLIFFORD         FOWLER                 DC           90014479884
B9392AAA75B327   COURTNEY         BROWN                  OR           90014410007
B9393122493727   MICHELLE         BEAN                   OH           90011751224
B9395456676B52   JOSE             MARTINEZ               CA           90013964566
B9397231551325   NATE             AGNEW                  OH           90003682315
B9397997936122   ESPERANZA        HERNANDEZ              TX           90011329979
B9399238676B52   ERIKA            OLVERA                 CA           90013862386
B93B112285B562   TIFFANY          REID                   NM           90009011228
B93B1171A31639   ANGIE            WILLIAMS               KS           90003461710
B93B5884224B64   KEISHA           WHITEHEAD              DC           90010698842
B93B6227436122   BRIANNA          SCULL                  TX           90012572274
B93B6A3215134B   CHRISHANDA       DEJANETTE              OH           90007330321
B93BBAA855B396   JERALI           BLACKMON               OR           44548820085
B941364764B249   JOSE             SOLORIO                IA           90012476476
B9414151376B52   HAYLIN           ALCARAZ                CA           90010791513
B9414349436122   MARK             GUITERREZ              TX           90014123494
B94145A755B327   MUBEEN           ALGHAFFAAR             OR           90013385075
B94173A7A5B396   NAKYUNG          LEE                    OR           90010503070
B9417836A24B64   RICHARD          ROJAS                  VA           81014118360
B9418329755953   CRISTAL          GUZMAN                 CA           90014693297
B941BAA6936122   LONNIE           CUNNINGHAM             TX           90012740069
B942256722B271   MELISSA          HILL                   DC           90011115672
B9422A3175B358   SARAH            SMALLING               OR           90010390317
B942417AA76B52   NOELLE           DANGELO                CA           90014201700
B9425161A61945   PAULINA          JUAREZ                 CA           90012631610
B9428614A4B259   DEVAN            MENDENHALL             NE           90011956140
B9428719655953   MARGARET         VELASQUEZ              CA           90014737196
B9429153A2B271   ANTHONY          SMITH                  DC           90013051530
B9429719655953   MARGARET         VELASQUEZ              CA           90014737196
B9433738455953   DIANA            AMBRIZ                 CA           90014737384
B943426925B327   GERARDO          HERNANDEZ AGUILERA     OR           90010442692
B9436596872B69   JODIE TRINI      MADRID                 CO           90013255968
B9439234955953   JOSE             MELENDEZ               CA           90013862349
B943B716193727   FRANCINA         CARR                   OH           90005907161
B9443455855953   ALFONSO          RAMIREZ                CA           90014754558
B944421215B327   TERIESA          JEWKES                 OR           90007872121
B944543464B259   CHARLES          FEAHERTY               NE           90002534346
B9448455493758   JACKIE           MCGREW                 OH           64500864554
B9449872855953   ETHAN            CAMACHO                CA           90014748728
B944B329993758   GREGORY          KIRK                   OH           90012693299
B945319354B259   TINA             CRAWFORD               NE           90010091935
B9453356A5B396   JOSEPHINE        WILCOTT                OR           90014843560
B9457198A5B396   DONTA            YOUNG                  OR           90013861980
B9458969355953   GIOVANNY         ANDRADE                CA           90014749693
B9459423672B69   JOSE             GONZALEZ CHAVEZ        CO           90012744236
B94632A832B838   ANGELIQU         STONE                  ID           90014242083
B9463448836122   JESSICA          FONSECA                TX           90009354488
B9463824772B62   DELORIS          SALAZAR                CO           90010458247
B9466335655953   EUGENE ANTHONY   BELLO JR               CA           90014763356
B946B185593758   RYAN             MYERS                  OH           64577611855
B946BA76855959   BRENDA           ROSALES                CA           90010420768
B9471578955953   MICHELLE         YORK                   CA           90013495789
B9473381576B52   JUSTINA          MYERS                  CA           90012503815
B9479563955953   SONIA            COBARRUBIAS            CA           90014765639
B94857AA455959   ROBERT           CASTILLO               CA           90001947004
B94882A9293758   KALIN            ANDERSON               OH           90009532092
B9488A32355959   FATIMA           VILLA                  CA           90014890323
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B9493492393727   HEAVEN            WELLS                 OH           90013204923
B949445133363B   JAQUITA           WATSON                NC           90015254513
B94B167A893758   MELISSA           LEWIS                 OH           90014596708
B94B4465836122   BROOK             RANGEL                TX           90011084658
B94B4782872B69   CRYSTAL           GERBER                CO           33010087828
B94B484A42B271   FLOYD             LITTLE SR             DC           90014538404
B94B5333533646   DOUGLAS           CLINE                 NC           90014563335
B94B6595593752   WILLIAM           ABNER                 OH           90014435955
B94B661154B259   ABDULKADIR        ABDALLE               NE           27054056115
B94B8254636122   LUIS              MACIAS                TX           90014692546
B94B835A34B259   ERIK              SANCHEZ               NE           27050513503
B94BB18265B396   ROBERT            BEACH                 OR           90013861826
B94BB237855953   JOHNNY            RIVAS                 CA           90014732378
B951392385B327   SADYE             OZUNA                 OR           90011079238
B9514335124B28   RAQUEL            PACHECO               VA           90012373351
B951586972B857   LUKE              BAKER                 ID           90013238697
B9519196455959   BERNARDINO        CASIANO CRUZ          CA           90014131964
B9522415892871   KATIE             HANSON                AZ           90014094158
B952359525B396   JAMES             GATES                 OR           90011975952
B9527324191582   WENDY             BECERRA               TX           90008843241
B95286A4155972   JIMMY             CRUZ                  CA           49032716041
B9528A5A693775   KAREN AND STEVE   MOLDEN                OH           90001790506
B9532719241235   CARRIE            HARDESTY              PA           90013797192
B9533491572B62   IVES              KASONGA               CO           90012344915
B953444A855953   ADRIAN            SANDOVAL              CA           90014784408
B9544795472B69   ARSENIA           HERNANDEZ             CO           90012637954
B9546726393727   ASHTON            MORGAN                OH           64509007263
B9548648572B62   JEANEEN           YSLAS                 CO           33089896485
B954B4A9893727   DUSTIN            SMITH                 OH           90009984098
B954BA62172B69   VANIA             ILGEN                 CO           90004730621
B955163942B271   GEREL             WESS                  DC           90009806394
B9554A2595B327   CHRISTIAN         STRAMIELLO            OR           90012280259
B9555884A5B327   AZUCENA           GONZALEZ              OR           90015138840
B9557A9245B396   RACHEL            POOT                  OR           44574250924
B955B746336122   MARA              NAVA                  TX           90008127463
B9561596955953   DOROTHY           KOSTIELNEY            CA           90014275969
B9563478755959   LUZ               ROSALES               CA           90005484787
B95639A285B327   RONY JAVIER       REYES CASTELLANOS     OR           90012999028
B9564779193758   MARIAH            MORRIS                OH           90014107791
B9566272476B52   RYAN              KNUTH                 CA           90014272724
B9572222261941   GEORGE            ALBRAIRA              CA           90010632222
B9572514731688   LEE               JUDKINS               KS           22059935147
B9573265872B69   APRIL             ZUNIGA                CO           90012752658
B9577443272B69   MARTIN            CEDILLO               CO           90012744432
B9577543491582   EDGAR             GARCIA                TX           90010015434
B957B775672B69   ZACHARY           RICE                  CO           90012767756
B9585616272457   JOANIE            LOWRY                 PA           90008926162
B958856152B828   ATTA              HOURI                 ID           90012295615
B958B36AA76B52   MAYRA             LARRANAGA             CA           46065823600
B9591373772B69   BETINA            GALINDO               CO           90009743737
B9595898655972   R LLAMAS          MOTA                  CA           90008158986
B9595984A2B838   JONATHAN          TESSNEAR              ID           90014309840
B95959A3455953   VALERIE           SANTIAGO              CA           90014879034
B95976A145B327   JESSICA           LOURINE               OR           90006086014
B959BA78872B69   GEME              SANDOVAL              CO           33012310788
B95B1941355959   REBECCA           MARTINEZ              CA           48068809413
B95B6485285927   PRAKASH           MAGAR                 KY           90006424852
B95B7355A4B299   JAMISON           ALFORD                NE           90014873550
B9613563955953   SONIA             COBARRUBIAS           CA           90014765639
B9614126736122   YVONNE            CARDENAS              TX           90009971267
B9614476755959   DAVID             ARRUTIA               CA           48016334767
B961498782B24B   SHEENA            BROWN                 DC           90000909878
B9616A35A5B396   WILLIAM           CLAYTON               OR           90012430350
B961792925B327   ANRENE            LINDSAY               OR           90009349292
B961B33A25B396   JOSE              MARTINEZ              OR           90014803302
B9622A2662B271   LARRY             GREEN                 DC           90012880266
B9622A72231452   SHASTA            GRAY                  MO           90011410722
B9623236676B52   FRANCISCO         CRESENCIO             CA           90005102366
B9623791755959   RICARDO           VIVEROS               CA           48071427917
B962596892B838   SARA              TESSNEAR              ID           90014309689
B9628453951385   MIGUEL            NARRVA                OH           90014234539
B962889A98433B   REGINALD          SMITH                 SC           90011198909
B9631A28372B62   BRIZA             ENRIQUEZ              CO           90014310283
B963343A693758   HARGRAVE          JOHN                  OH           90000794306
B9633877455953   VALERIE           CARDOZA               CA           90014888774
B96353A715B396   PAIGE             LAWSON                OR           90001453071
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B963745A74B946   ADRIENNE           COOPER               TX           90012644507
B96386A5461989   ADALBERTO          FLORES BAHENA        CA           90000996054
B9645654293758   CHARLES            FOREST               OH           90010166542
B9646285A61977   MYRNA              CALDERON             CA           90010482850
B9646749A5B396   LOGAN              THORN                OR           90014977490
B9652466536122   BREEANNA           CANO                 TX           90013674665
B965417735B375   JR STEPHEN         KRISTICH             OR           90004581773
B965731414B259   JASON              HUBBARD              NE           90015103141
B9658496472B3B   MERIED             AMARE                CO           90012714964
B9662573955953   JOHN               DENICOLA             CA           90014895739
B9663536A5B396   TERRACE            MARTIN               OR           90013395360
B9665461472B69   MARFREN            SOLARES              CO           90010314614
B966592A893758   TYLER              BAKER                OH           90014139208
B9666618736122   EMILIO             BALADEZ              TX           90010266187
B966737175B327   MARIA              HERNANDEZ            OR           44573033717
B9668995A5B327   SAM                WALSH                OR           44522689950
B966B777155959   ALYSHA             HERNANDEZ            CA           90014697771
B9672323651385   NIKO               SCOTT                OH           90010963236
B96729A495B327   CELERINA           ROJOS                OR           90006609049
B9677173472B62   NATASHA            PACHECO              CO           90013641734
B9678969272B62   SARENA             ROY                  CO           90011029692
B968113A733647   BETTY              SHAW                 NC           90005211307
B9682AA7336B98   NIKALAI            LUKENOVICH           OR           90008500073
B9683151A5B396   DIANA              OWENS                OR           90002751510
B968B521655953   CARLOS             CASTANEDA            CA           90014905216
B968BA1965B396   JEFF               KISSELOFF            OR           90012390196
B969283184B259   JOHN               TYSON                NE           90013268318
B969452822676B   PAUL D             PRECOPIA             PA           90013035282
B969625445B396   ANTONIO            DAVILA RODRIGUEZ     OR           90013862544
B969671915B525   PATRICK            PENNINGTON           NM           90001537191
B9697435936122   MARCOS             MUNOZ                TX           90012714359
B9698413576B42   THERESEA           PRESNALL             CA           90008964135
B96B1417155959   ELIZABETH          ELIZONDO             CA           90009874171
B96B22A489714B   ERIN               RIGGS                OR           90001152048
B96B271A455972   MARIA              NAVARRO              CA           90007037104
B96B871A255959   GUADALUPE          GUERRERO             CA           90015177102
B97115AA331688   KATHLEEN           ALLEN                KS           90002535003
B971669765B327   ALEX               DEAL                 OR           90013726976
B972478A85B396   JOYCE              WATSON               OR           44537867808
B9728385936122   ALFONSO            MARTINEZ             TX           90012583859
B9729875872B62   NELSON             MONTERO              CO           90012728758
B9734848A91257   RONNEISHA          GRANT                GA           90003338480
B973957A255959   ESTELA             DIAZ                 CA           90011645702
B973B913355953   STEVEN             MIGUEL               CA           90014939133
B9742414172B69   VERA               VENEGAS              CO           90012744141
B97429A175B327   SANDRA             ZARATE               OR           90012129017
B9744178391257   REBECCA            BUKOWSKI             GA           90007961783
B974462432B271   KEPHREN            PONDEXTER            DC           90012156243
B9747A1A62B271   YARED              YESHEBERUNU          DC           90014900106
B9749385936122   ALFONSO            MARTINEZ             TX           90012583859
B9751785776B52   KATHRYN            NICOLAYEFF           CA           90009407857
B975322992B271   ABBAFEKADEIYESUS   KENFEMECHAEL         DC           90008072299
B9754697972B69   ALEXANDRA          CHISHOLM             CO           90014496979
B9754845172B62   LETICIA            VIZCAINO             CO           90014148451
B9758514636122   DAVID              CHAVEZ               TX           90014365146
B97597A1172465   AMINAH             GENES                PA           51049767011
B9764396455959   MARIA              RODRIGUEZ            CA           90014753964
B9768713691831   JESUSITA           REYNA                OK           90008357136
B9771155236122   KENNETH            AMAYA                TX           90011091552
B9774986931688   CASSANDRA          COSTON               KS           90006849869
B9774A25655953   GILBERTO           MEDINA               CA           90014980256
B978237218B141   NICK               SPEARS               UT           90005703721
B9782575276B52   EDITH              HERNANDEZ            CA           90013925752
B9784591991579   MYRNA              MORALES              TX           90010895919
B9787418936122   DAMIAN             RODRIGUEZ            TX           90014584189
B978751965B327   TERENCE            MIDDAUGH             OR           90012605196
B9789352655959   AMELIA             GOMEZ                CA           90006963526
B9789513576B52   CENON              SANCHEZ              CA           90013965135
B9789831336122   JUAN               PACHECO              TX           90012098313
B978BA88491573   ADAN               SIERRA               TX           90008820884
B9792692A76B52   LAUREN             LONGACRE             CA           90011126920
B9798318572B69   MICHAEL            TREALOFF             CO           90015013185
B97B4493855972   STEFANIE           HANDY                CA           90007044938
B97B5126755959   JOAQUIN            SALCEDO              CA           90011641267
B97B665912B271   MARTIN             WARD                 DC           90013916591
B9813A8375B327   HECTOR             ACEVEDO              OR           90011140837
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 995 of 1007


B981637A591573   PATY           EPT                      TX           90010813705
B981B556691582   AURORA         MARTINEZ                 TX           90012405566
B982345662B271   ARIEL          PENNINGTON               DC           90012694566
B9826A21A5B396   JAIME          HERRERA                  OR           44534370210
B9829243255959   LUIS           CISNEROS                 CA           90002822432
B982B92245B396   PARRISH        GREEN                    OR           90013099224
B9833544993727   GARY           CALDWELL                 OH           64513755449
B9834456955953   CLAUDIO        ALBERTO                  CA           90015054569
B9836423536122   ANITA          SOLIS                    TX           73504764235
B9837A6619193B   SOLOMON        MEDINA                   NC           90010450661
B983821275B327   AMBER SKY      EVANS                    OR           90014562127
B983B746993758   LASHELL        BARBER                   OH           90014157469
B984414A255959   NOEMI          ESPINO                   CA           90014781402
B9844933155953   FERMIN         ZAMORA                   CA           90014569331
B984611585B572   TINA           MARTINEZ                 NM           90003861158
B9849266493727   KEVIN          DAVIS                    OH           90012382664
B9849686A2B271   JOBON          CASSELL                  DC           90011176860
B984975512B271   JOBON          CASSELL                  DC           90012787551
B9851498176B52   MANUELA        FELIX                    CA           90013934981
B9856A76491972   NOONIE         WILLIAMS                 NC           90012580764
B98586A2291976   KERRI          ATKINSON                 NC           90011306022
B9866471A93727   JACK           BALL                     OH           64569194710
B986B44A22B857   GREGORY        SPRINGER                 ID           90006404402
B986B764872B62   ROSANA         RETANA                   CO           90014937648
B987165834B259   CINDY          OBRIEN                   IA           27088146583
B9873938972B69   TIARA          BEASLEY                  CO           90013919389
B987456A172B62   TILA           KOROK                    CO           90002515601
B987494245B396   THEODORE       HARROLD                  OR           90009859424
B987533482B271   MARIO          CORONADO                 DC           90011133348
B9878A23636122   MELISSA        RANGEL                   TX           90008520236
B9881534872B62   CRISTIAN       ORTIZ                    CO           90012735348
B9882894636122   TAMMY          MCDADE                   TX           90014588946
B9883972972B62   ANTONIO        ESTRADA                  CO           33009209729
B9884588972B69   ANAYELI        MONTES                   CO           90012935889
B988987912B271   EBIN           VEST                     DC           90014008791
B9893425955924   CARLOS         GALLEGOS                 CA           90010524259
B9893683A76B52   ILIAN          GUTIERREZ                CA           90013936830
B9894177A72B62   ADALI          PEREZ GONZALEZ           CO           90010691770
B9894688176B52   CRITTENTON     ZAYAK                    CA           90013956881
B989612862B857   ASHLEY         VAIL                     ID           90010221286
B9898943297B98   JENI           LAPLANTE                 CO           39090649432
B989B47A25B327   MELANIE        WHITE                    OR           90011604702
B98B2163331639   JOSEPH         ARAGON                   KS           90006391633
B98B7262236122   JANIE          PEREZ                    TX           90008692622
B98B876733B352   DANIEL         GARCIA                   CO           90008277673
B991275A34B259   RUTH           WEEKS                    NE           27090487503
B991341442B271   CHRISTINA      GOMEZ                    DC           90013904144
B9917311991582   NONIE          MENDEZ                   TX           90011823119
B9918784331688   APRIL          POWELL                   KS           90005607843
B9923879A2B857   FRANCISCO      GARCIA                   ID           42005878790
B9924511871964   TIFFANY        BROWN                    CO           90004855118
B993125434B259   TRENTIN        VACHAL                   NE           90015012543
B993839AA31688   JOSUE          ALCALA                   KS           90008063900
B9941993A2B857   RICHARD        KIRKMAN                  ID           90010099930
B9943491A31688   HENRY          WOMACK                   KS           90011494910
B994544A22B857   GREGORY        SPRINGER                 ID           90006404402
B994779955B396   NATHEN         DECRISCIO                OR           90013197995
B9949278A85927   GUADALUPE      GARCIA                   KY           67018282780
B994935A15B333   DOUGLAS        ANDERSON                 OR           44505123501
B994938864B521   DANIEL         COURTNEY                 OK           90014103886
B9951282836122   CAROL          DE LA CRUZ               TX           90012852828
B99579A5A7B489   SANTRICE       COCHRAN                  NC           90007249050
B995B762424B64   LEONDRA        BEST                     DC           90014717624
B996351965B327   TERENCE        MIDDAUGH                 OR           90012605196
B997B321A2B271   SHAUNICE       CRAMPTON                 DC           90003403210
B997B379576B52   ISANEL         GARICA                   CA           90013943795
B9982525776B52   BRYAN          LOPEZ                    CA           90013025257
B998771428B12B   WADE           SCHOFIELD                UT           90010577142
B998B12A24B259   KIMBERLY       UITTS                    NE           27040761202
B998B59364B285   DEREK          MCCABE                   IA           90005865936
B9994435172B62   ERICA          MARTINEZ                 CO           90015204351
B9997882636122   BLAIR          HICKS                    TX           90014878826
B9998515355959   ALBERTO        ONOFRE                   CA           90013235153
B99B1967655959   RUTY           CHAVEZ                   CA           48084659676
B99B9336372B69   DERON          JOHNSON                  CO           90009693363
B9B13976142332   DANYALE        WYRICK                   GA           90014599761
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B9B1452892B271   GRACE           HERRION                 DC           90013875289
B9B1624215B327   SARAH           PETERS                  OR           90011802421
B9B17299293758   WILLIAM         WHITLOW                 OH           90009422992
B9B17A46736122   ARCELIA         MENDOZA                 TX           90013440467
B9B1882A276B52   SARIMILCA       MORALES                 CA           46023018202
B9B26756136122   MARY            REYNA                   TX           90007967561
B9B2745225B396   JOSE DE JESUS   CORDOVA PEREZ           OR           90007554522
B9B27817985927   PRISCELLA       ROBINSON                KY           67098748179
B9B28463176B52   SACARIAS        TRUJILLO                CA           90013794631
B9B29774972B62   ANDRE           HERRON                  CO           90013387749
B9B29A83155953   JUNIOR          SOLORZANO               CA           90012520831
B9B42248193727   JASON           EVERS                   OH           90014172481
B9B426A9A57564   MICHAEL         CHAVEZ                  NM           90003566090
B9B44359372B69   GUADALUPE       DERAMOS                 CO           90012743593
B9B45848855959   ANGEL           ROMO                    CA           90013038488
B9B5299285B327   ALBERTO         ZUNIGA                  OR           90006969928
B9B53853355959   JOSE            ZEPEDA                  CA           90010678533
B9B5478783363B   MIRIAM          PENALOZA                NC           90014927878
B9B5833762B857   AUSTIN          RIOJAS                  ID           90004193376
B9B62314893727   TWANDA          STARKS                  OH           90012293148
B9B6761AA36122   YURI            SANCHEZ                 TX           90010376100
B9B6937644B259   JULIUS          MICKEL                  NE           90014643764
B9B69791355953   ANGEL           MADRID                  CA           90014167913
B9B69921243236   JESSICA         VONDRA                  TX           90014899212
B9B6B645555953   ALVIN           GAGE                    CA           90014166455
B9B74A27593727   STEVEN          JENNINGS                OH           90008390275
B9B7518483363B   CHRISTOPHER     ARMETT                  NC           90014981848
B9B79AA6776B52   JOSE            JUAREZ                  CA           90012260067
B9B81341A55959   CHISTIAN        AVALOS                  CA           90014633410
B9B81766772B69   JESUS           CRUZ                    CO           90012767667
B9B8295A291257   SHAKETA         DAVIS                   GA           90002969502
B9B83792836122   JENNIFER        CUELLAR                 TX           90014167928
B9B83848855953   JOEL            GALLARDO                CA           90014168488
B9B93813141229   MICHELLE        MAMIE                   PA           90004608131
B9B93839955953   CODY            CHRISMAN                CA           90012968399
B9B9493AA2B857   CORINNA         LOGSDON                 ID           42035399300
B9B9539A972B62   ANGEL           TORRES                  CO           90013983909
B9B96A99855959   ALBERTO         RANGEL                  CA           90005590998
B9B99979576B52   SUSY            LOZOYA                  CA           90013919795
B9B9B77395B396   GLORIA          CATALAN                 OR           44581137739
B9BB3132393727   SHAMYRA         ALDERSON                OH           90011991323
B9BB396722B271   JOHN            EMINA                   DC           90012679672
B9BB544A891874   MICHELLE        MARTINEZ                OK           21063454408
B9BBB8A5155959   PAULA           JIMENEZ                 CA           90013058051
BB11326682B58B   DEUNDRIA        MARABLE                 AL           90014642668
BB114642755972   TATIANA         ZAMORA                  CA           90014416427
BB115947A5B396   JESSICA         CLERK                   OR           44556519470
BB11888447192B   STEVE           YATES                   CO           90012808844
BB119477631639   BRIAN           KEEN                    KS           90012024776
BB11BA3815B265   SAMANTHA        SHEPHERD                KY           90014650381
BB121691A72B4B   HECTOR          DE LUNA                 CO           90013646910
BB121A51631639   STEPHANIE       HACKETT                 KS           90013820516
BB12252357B489   DILCIA          POLANCE                 NC           90003765235
BB122965491257   NAKIA           GARCIA                  GA           90013339654
BB125122291978   RODNETTA        GILL                    NC           90012391222
BB125A2A89194B   TYSHELLE        MELTON                  NC           90015090208
BB125A76554B94   SHARAZ          ISMAIL                  VA           90012860765
BB126A9242B857   TYLER           CAMPBELL                ID           90013220924
BB12918433363B   LATISHA         LITTLE                  NC           90011091843
BB129633176B27   AIOTEST1        DONOTTOUCH              CA           90015116331
BB12988363363B   CRISTAL         COUTINO                 NC           90013088836
BB12B51A772B69   ERNEST          BRADLEY                 CO           33058615107
BB131589291257   BRIDGETTE       RIOU                    GA           90012225892
BB133358593752   WHITNEY         THOMAS                  OH           90012853585
BB1362A3493752   JOHN            MCMAHAN                 OH           90010922034
BB13639965B269   GREG            MCCORMICK               KY           90013293996
BB137396A72B62   ERIC            STAMPER                 CO           90012813960
BB13B47A893745   KIMUREY         MILES                   OH           90007844708
BB13B81222B941   NORMA           LOPEZ                   CA           90014278122
BB13B8AA52B857   NICOLE          MCGILVREY               ID           90014158005
BB143562891978   NAQUASIA        BLOUNT                  NC           90013155628
BB1475A2261925   ERICK           VEGA                    CA           90009395022
BB1493A562B941   TRINA           PRICE                   CA           90008203056
BB149866193758   TOM             PAINTER                 OH           64535738661
BB14B4A425B269   MIKE            JONES                   KY           90014354042
BB14B768476B27   LUIS            HERNANDEZ               CA           90010737684
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BB152884676B27   TISON                  WHEELER           CA          90013798846
BB15349A42B271   CHRISTINA              HARRIS            DC          90002114904
BB155518931639   DARLENA                DEMENT            KS          90013355189
BB15583325B396   BARAK                  DAVIES            CA          90011248332
BB156652755972   YESENIA                TORRES            CA          49072816527
BB157829476B27   SKYLER                 EICKLEBERRY       CA          90013838294
BB157AA1893771   DONNA                  STEWART           OH          90014090018
BB159741191978   JESENIA                SANTIAGO          NC          90013937411
BB15B623955979   JOHN                   RECTOR            CA          49003946239
BB161336A54B94   LESLIE                 DUFFIN            VA          90012983360
BB161714493758   TRAVIS                 UNERWOOD          OH          90009007144
BB16371913363B   ROCIO                  PEREZ             NC          90013147191
BB165347791238   CHRISTIE               CONLEY            GA          90009143477
BB16584555B356   CHRIS                  EKMAN             OR          90007618455
BB166377793751   DANE                   PRITCHARD         OH          64558873777
BB1681A7554B94   THERESA                CROSS             VA          90011851075
BB171857185836   FELIX                  ROMIGIO           CA          46087108571
BB171A6242B941   CINDY                  CLAY              CA          90002870624
BB173192793726   PATRICIA               HOWARD            OH          90010611927
BB173916791978   CHISTINE               MCCLURE           NC          90000399167
BB17523613363B   MELISSA                CURLEE            NC          90014742361
BB1763A183363B   JASMINE                HUNTER            NC          90014353018
BB177A54954B3B   ELISABET               ACONA             VA          90004460549
BB178A47676B27   SEAN                   WILLIAMSON        CA          90012180476
BB17B51493363B   JOHN                   BAKER             NC          90007505149
BB182649A93758   KELLY                  JONES             OH          90000586490
BB182856155972   PRIMITIVO              NAVARRETE         CA          90008768561
BB18381833363B   PAM                    GO HAM            NC          90013968183
BB183968441223   MONICA                 OAKLEY            PA          90010059684
BB185197593758   SAUL                   HERNANDEZ         OH          90012741975
BB1855A1993727   WILLIAM                HENSLEY           OH          90012895019
BB18747572B941   JESUS                  AMATECO           CA          90014344757
BB18877A17B489   CHRIS                  SMITH             NC          11043527701
BB189946372B62   DESIREE                HERNANDEZ         CO          90009229463
BB19153883B352   REGINA                 MOSS              CO          90007345388
BB1929A7597124   JAVIER                 LUNA              OR          90012729075
BB193428691978   EDITH                  FLORES            NC          90011884286
BB19366928B12B   ELENA                  SANTHEZ           UT          90013646692
BB193684633635   NATASHA                CHEELEY           NC          90009496846
BB194198672B69   DAVID                  RAINEY            CO          90010111986
BB19432242B941   DOMINIQUE              SLAY              CA          90002403224
BB194A93A9194B   LATOYA                 CLEMONS           NC          90013170930
BB195149472B62   MILTON                 GARCIA            CO          33029651494
BB197279793752   AMY                    COLVIN            OH          90010922797
BB198224293758   MELINDA                WELLS             OH          90010982242
BB198247654B94   JAMELL                 SHOWELL           VA          90012782476
BB19979A472B69   CHARLES                REESE             CO          90013767904
BB19B219A91257   CATHERINE              POWELL            GA          90014402190
BB1B162A561925   JOSE                   MUNOZ             CA          90007446205
BB1B1845441229   NICOLE                 KOSTER            PA          51067358454
BB1B2228A91978   KIM                    DINH              NC          90006202280
BB1B5181591978   VERONICA               SANCHEZ           NC          90013021815
BB1B64A8472465   SANDRA                 RUSSELL           PA          90001234084
BB1B6715631639   CLESSIE                COLE              KS          22096787156
BB1B743832B941   AMADA                  PACHECO           CA          90014174383
BB1B9787A8B12B   AMANDA                 BRENNAN           UT          90013577870
BB21196728B12B   SIERRA                 TUCKER            UT          90013659672
BB212489A5B393   LAURA                  JOHNSON           OR          90005684890
BB212979893727   MICHAELE               TAYLOR            OH          90011309798
BB213888376B27   DALE                   WEBSTER           CA          90013598883
BB214713A72B62   MARIA DE LOS ANGELES   LOTOYA CASTILLO   CO          90013037130
BB2158AA43363B   THOMAS                 EUGENE            NC          90013748004
BB21B175493745   MONIQUE                LEWIS             OH          90012881754
BB21B313954B94   SALOMON                LICONA BONILLA    VA          90014823139
BB21B6A7597124   MATTHEW                THEELER           OR          44097256075
BB22128A591257   BETHUNE                EDWIN             GA          90004892805
BB221637493745   CRISHENDA              CRAWFORD          OH          90007846374
BB223236872465   DANIEL                 BURNSWORTH        PA          90011062368
BB223386854B94   JENNA                  HELM              VA          90011383868
BB22424182B271   TAMELA                 KNOTT             DC          90012842418
BB22491645B327   MOISES                 GARCIA            OR          44552499164
BB225772472B69   BALLIEN                ROBERT            CO          90010267724
BB226A3992B271   IRIS                   LOPEZ             DC          90000120399
BB22B3A297B443   SERESA                 MILLER            NC          90012243029
BB231576493751   MISTY                  BROWN             OH          90011975764
BB232413272B69   ANDREA                 GOMEZ             CO          90012384132
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BB23261982B271   FRANK          WILLIAM HARRIS           DC           90015296198
BB233A7125B269   KAYLA          PARMAN                   KY           90013930712
BB23775AA5B396   FLOYD          MAYES                    OR           90014617500
BB237888385836   ERIK           FLORES                   CA           90012128883
BB238476641229   BRANDI         FREDERICK                PA           90010424766
BB239515A72B69   ERIKA          HERNANDEZ                CO           90013295150
BB23B666385836   VICTOR         LARA                     CA           90011906663
BB24232757B443   LASHAIREE T    PERKINS                  NC           90001273275
BB24442A89194B   WILLIAM        BAREFOOT                 NC           90012904208
BB24451965B327   TERENCE        MIDDAUGH                 OR           90012605196
BB244644454B94   AARON          PENNEY                   VA           90011096444
BB246635893758   EDWARD         CHILDERS                 OH           90006506358
BB2485A5A2B857   TOM            MELTON                   ID           90013305050
BB24B92657B489   SAM            SPRINGS                  NC           90014449265
BB251882372B69   JACQUILEA      CHAMBERS                 CO           33085128823
BB252858291978   IRENE          OVALLES-TORRES           NC           90013938582
BB25371935B265   AMBER          SMITH                    KY           90013327193
BB25374633363B   YOLANDA        STARKS                   NC           90014697463
BB254583331639   ISACC          CARDENAS                 KS           90013255833
BB25521A454B94   DANIEL         TORREZ                   VA           90010432104
BB257858291978   IRENE          OVALLES-TORRES           NC           90013938582
BB259734757133   EDWIN          ALFARO                   CO           90010037347
BB26285349194B   KEESHA         BRADLEY                  NC           90014868534
BB264715772B69   CRUZ           ZARATE                   CO           90007037157
BB26528892B857   SHAUNTA        CURIEL                   ID           90005092889
BB26571172B941   BRYAN          ALCARAZ                  CA           90014717117
BB266867191978   RAMI           IKHREISHI                NC           90013938671
BB267A7415B269   KIERRA         DENNIS                   KY           68013800741
BB26895352B857   NAZMI          TERZIQI                  ID           90012169535
BB26932159194B   MARCO          TORRES                   NC           17058213215
BB269496472B69   LARRY          HOWLETT                  CO           90014044964
BB26951AA3363B   HENRY          SALMERON                 NC           90013495100
BB269935672B69   LARRY          HOWLETT                  CO           90013829356
BB27625115B269   PAIGE          LADD                     KY           90011662511
BB27B427693727   TIMOTHY        WOODS                    OH           90005364276
BB27B982576B27   DAVID          ROCHA                    CA           90009209825
BB286184431639   LEA            UTS                      KS           90011441844
BB28624743B335   MARIA          FLORES-CEBALLOS          CO           33014782474
BB287AA4793727   JANELLE        THIGPEN                  OH           90012330047
BB293244391978   AMBER          HALL                     NC           90013032443
BB293A6495B269   JESS           CHEEKS                   KY           90010500649
BB295A4335B327   AUTUMN         SANG                     OR           90012490433
BB2971A1291257   TEDDY          GUNN                     GA           90015031012
BB2B284543363B   DJUANA         LEVERETT                 NC           90011118454
BB2B7293876B27   RUBEN          CONTRERAS                CA           90014212938
BB2B7633176B27   AIOTEST1       DONOTTOUCH               CA           90015116331
BB2B772445B327   GAEGE          CIPRES                   OR           90008857244
BB2B792A67B489   MONILA         RAGIN                    NC           90014969206
BB2B8921293771   HARLAN         SLISE                    OH           90013809212
BB2B9453A91257   TONI           VANN                     GA           90011324530
BB31233855B265   LINH           DOAN                     KY           90012743385
BB31365A52B271   JAYE           JOHNSON                  VA           90015316505
BB31524275B265   JOE            GILL                     KY           90012492427
BB315A6242B941   CINDY          CLAY                     CA           90002870624
BB31685A593764   JESSICA G      PAXTON                   OH           90006848505
BB317484447832   HARROLD        SIMMS                    GA           90014704844
BB318796172B69   BRANDEN        LOWERY                   CO           90013707961
BB318A55793751   MONA           CANCHOLA                 OH           90006210557
BB31933937B489   KEITH          THOMAS                   NC           90011103393
BB3193AA493771   SHAINA         REED                     OH           90013223004
BB32225515B396   DIANA          HUGHES                   OR           44556082551
BB322878572B44   CRICKET        HOPE7                    CO           90006878785
BB324971276B27   ZENAIDA        BEARD                    CA           90014929712
BB325498993751   DANIKA         BARKER                   OH           90013364989
BB326714493752   JAMES          FLANNERY                 OH           90013257144
BB327372354B94   DARRELL        CALLOWAY                 VA           90010413723
BB328754591978   PHILIP         SKIADOS                  NC           90007677545
BB329989591554   JUAN           MORALES                  TX           75068699895
BB332123291524   LEONARDO       SANCHEZ                  TX           75077401232
BB333888854B94   CHYNNA         WELLS                    VA           90010038888
BB334714493752   JAMES          FLANNERY                 OH           90013257144
BB3353A422B246   ANGELA         FELDER                   DC           90007633042
BB33567179194B   TYRONE         LINDSEY                  NC           90004236717
BB336539A72B69   ANGEL          PEREZ                    CO           90015115390
BB336751493745   NATHAN         HALL                     OH           90011857514
BB33B65432B841   SAMANTHA       ZEA                      ID           90014936543
      Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 999 of 1007


BB345155593745   RICK           FRALEY                   OH           90013181555
BB345291272B62   SAMUEL         SHANNON                  CO           90012152912
BB34551818B136   NATHAN         HARMON                   UT           31003765181
BB34578A72B271   KARINA         HANNIBAL                 DC           90001417807
BB34688592B857   LINDA          WINCHESTER               ID           90011098859
BB348A4645B396   SEAN           EASTMAN                  OR           90001590464
BB348A7315B269   ALECIA         SEDDAM                   KY           90013930731
BB34935272B271   SHAMAYME       WOODBERRY                DC           90012013527
BB349657591257   JULIUS         PRINGLE                  GA           90013986575
BB35115A32B271   NORRIS         RUTH                     DC           90013231503
BB354243A91978   AHMED          SALEM                    NC           90011772430
BB354A6972B857   ASHLEY         COURTRIGHT               ID           90005240697
BB35539345B396   JAMES          HICKERSON                OR           90012573934
BB356348855972   MELINDA        OCAMPO                   CA           90011333488
BB357486733635   MARTINA        PETTIFORD                NC           90010484867
BB358184431639   LEA            UTS                      KS           90011441844
BB358875872B44   DANYALE        HARMON                   CO           90013038758
BB359143391257   BRANDONN       JOHNSON                  GA           90011311433
BB362929593745   ADAM           FARMER                   OH           90013019295
BB36323873363B   PABLO          AUSTIN                   NC           90011242387
BB36578AA72B69   SUMMER         JOHNSON                  CO           90011057800
BB365A52572B62   CARLOS         ARELLANO                 CO           90008790525
BB366214876B27   LUCINA         BARRANCO                 CA           90012872148
BB366632972B69   JOEY           LEFTER                   CO           90014606329
BB36987A593758   IAN            HOLMES                   OH           90000588705
BB36B561493771   KNICE          HEDERSON                 OH           64582425614
BB371278955972   SHANNON        ARISTA                   CA           90012772789
BB371923491978   KURT           PECK                     NC           90014549234
BB37261255B265   RHONDA         MCALLISTER               KY           90013446125
BB3775A682B857   JARED          BORGE                    ID           90010405068
BB377A52A5B269   TONNETTE       RUSSELL                  KY           90013130520
BB378184293727   AMANDA         MALONE                   OH           90012041842
BB37894632B271   LEOPOLDO       MARTINEZ                 DC           90008989463
BB381416A24B64   ELBA           MENDOZA                  DC           90012654160
BB38329A376B27   FRANCISCO      CARRILLO                 CA           90012822903
BB38622789194B   CHANEL         JEFFRIES                 NC           90005752278
BB38662933363B   NANET          DYE                      NC           90014106293
BB387457691978   ANTHONY        PAGE                     NC           90009524576
BB387A16328169   DANIEL         MARTINEZ                 TX           90014500163
BB38B66362B857   RON            ZECHMANN                 ID           90001996636
BB393771793727   ROBERT         GUINN                    OH           90014787717
BB39528972B857   CHAD           ANDERSON                 ID           90013712897
BB395633176B27   AIOTEST1       DONOTTOUCH               CA           90015116331
BB395A93655972   MIRANDA        WYRICK                   CA           90014160936
BB396454355972   SAM            ALBO                     CA           90009364543
BB396737A72B69   JUAN           HERNANDEZ                CO           90012847370
BB39689A176B27   ANGELICA       BIDALES                  CA           90000488901
BB396954155972   JOSE           ALBO                     CA           90013909541
BB397351793745   LISA           JONES                    OH           90013063517
BB397677A2B256   RAYMOND        MINOR                    DC           90007516770
BB398364A91978   MATT           TOUPS                    NC           90013033640
BB3B42A1A76B84   EDUARDO        GONZALEZ                 CA           90004232010
BB3B522293B332   MICHELLE       MARCHAND                 CO           90001942229
BB3B53A2797124   GUZMAN         NARANJO                  OR           90013613027
BB3B63A482B857   RITA           CORBETT                  ID           42065883048
BB3B781345B396   ROBIN          LATHROP                  OR           90014618134
BB3B9171A55972   RAJWANT        KAUR                     CA           90011651710
BB3B9657593752   ELIZABETH      KRONK                    OH           90009276575
BB3B973892B271   ALDO           RAMOS                    DC           90013797389
BB3BB83A391978   MIGUEL         AGUILAR                  NC           90011768303
BB4116A7641229   PAM            NARDEI                   PA           90004336076
BB41233583363B   BRITTANY       MCNEAIR                  NC           90011283358
BB412436893752   PAUL           SLIVINSKI                OH           90013064368
BB413633176B27   AIOTEST1       DONOTTOUCH               CA           90015116331
BB414A56991978   KAREN          THOMAS                   NC           90005410569
BB418971276B27   ZENAIDA        BEARD                    CA           90014929712
BB423594772B62   FIDEL          GUERRA                   CO           90013845947
BB42429662B271   ANGELA         HUMBLE                   VA           81035152966
BB42487893363B   JESSICA        HAYES                    NC           90011288789
BB424AA763363B   OMAR           SANCHEZ                  NC           90013970076
BB42592599194B   RHENETTA       ELLIS                    NC           90012789259
BB42699A254B3B   SAMANTHA       MORGAN                   VA           90002569902
BB426A2883363B   KRISTI         JACKSON                  NC           90013970288
BB428221585836   JESSE          HARNISH                  CA           90002292215
BB429317354B94   CLAUDIA        BUEZO                    VA           90009283173
BB429A4613363B   CHRIS          MILLER                   NC           90013970461
     Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 1000 of 1007


BB42B377591257   MICHAEL       GODWIN                    GA          90014443775
BB42B571855972   SANDRO        ONTIVERPS                 CA          90013945718
BB432A56A3363B   MATT          ROUFE                     NC          90013970560
BB436464993771   ARIEL         DAVIS                     OH          90010984649
BB437796576B27   ALEJANDRO     RUIZ                      CA          46095407965
BB439132155979   LAURA         RIOS                      CA          90010491321
BB4394A339194B   MICHELLE      MINOR                     NC          90004344033
BB439A6723363B   LINDSAY       THORN                     NC          90013970672
BB43B62352B271   DARNELL       WATSON                    DC          90011336235
BB441548A91978   DANIELLE      WATKINS                   NC          90013945480
BB44213A82B271   KASHAE        MUSGROVE                  DC          90011201308
BB442A7973363B   KIMBRLEY      FOX                       NC          90013970797
BB44419AA72B69   CARRIENNA     JAMES                     CO          90010691900
BB447721393764   SHELBY        HOUTZ                     OH          90007077213
BB449583755972   JASMINE       SANDOVAL                  CA          90013945837
BB449A4398B194   CLINT         TAYLOR                    UT          90008000439
BB44B39775B396   RYAN          CARR                      OR          90014243977
BB44B497693758   RYAN          RIVERS                    OH          90007634976
BB44B77495B396   RUDEE         SULLIVAN                  OR          90002037749
BB453986272465   DARRYL        HOLSINGER                 PA          90012989862
BB45413233363B   BETH          TILLACK                   NC          90013971323
BB45419193363B   WILLIE        MOSLEY                    NC          90014851919
BB454199493771   REGINA        DAVIS                     OH          90001531994
BB45514163363B   GINGER        CHAFFIN                   NC          90013971416
BB4574A1A76B27   SERGIO        SALDANA                   CA          90014844010
BB45913415B396   TYLER         WOODS                     OR          90014641341
BB459982485836   CHARLES       WARREN                    CA          90013039824
BB4599A365B327   FELIPA        SILVA                     OR          90007069036
BB45B11AA3363B   TEMEKA        ROBINSON                  NC          90013971100
BB45B611872B69   ERICK         HERNANDEZ                 CO          90013846118
BB4618A1193771   REGINA        DAVIS                     OH          90013228011
BB463955655972   TERESE        KLAFT                     CA          49081299556
BB467254761994   SHEILA        QUARLES                   CA          46000332547
BB46848317B489   EDGAR         HERRERA                   NC          90011164831
BB469689893745   TERESA        BRUNER                    OH          90003786898
BB4713A3191257   LAKISHA       HASTINGS                  GA          90013843031
BB472198A3363B   SONIA         VALDEZ                    NC          90004931980
BB4726A3A55972   DONALD        SPENCER                   CA          90013946030
BB47451639194B   MANUEL        CERVANTES                 NC          90013975163
BB47555A52B941   JOSE          RODRIGUEZ                 CA          90007695505
BB478218776B27   SONIA         CRUZ                      CA          46057822187
BB478618572B62   LEE           GANT                      CO          90007626185
BB478A33A54134   DONALD        HAMBELTON                 OR          90014920330
BB47B342733635   MEOCIA        TORAIN                    NC          18000013427
BB47B42A572B69   KEN           ALLEN                     CO          33022554205
BB481229631639   BRIANNA       KEE                       KS          90006272296
BB48233113363B   FELECIA       BRADLEY                   NC          90013153311
BB48666122B941   ALEXIS        MORA                      CA          90012986612
BB48795847B431   TASHIKA       WELCH                     NC          90009709584
BB489718654B94   NORMA         GONZALEZ                  VA          90014077186
BB491A2213B176   JAIME         BAUTISTA                  VA          90001010221
BB492793A2B26B   COLLINS       HUGHES                    DC          90013507930
BB4948A142B857   SUSIE         SCHULER                   ID          42012088014
BB49551325B327   VERONICA      KEGLEYSMITH               OR          90012205132
BB495AAA591978   LESLIE        GUTIERREZ                 NC          90013970005
BB497A79993752   ANGELES       BROTHERTON                OH          90012200799
BB49BA54A2B54B   RINISHA       BEARD                     AL          90014820540
BB4B1A27491257   SONIA         OLIVER                    GA          90012190274
BB4B3545154B94   KALVIN        STARCHER                  VA          90014985451
BB4B5868A91257   MASSON        TUCKER                    GA          90010308680
BB4B646695B396   JORGE         SOTO                      OR          90011254669
BB4B6582672B62   MARK D        FIDLER                    CO          90008025826
BB4BB322397124   TAMI          CALIFF                    OR          90013913223
BB5114A4A2B271   CHRISTIAN     COMLEMAN                  DC          90008204040
BB513844591574   ERIC          MALDONADO                 CA          46015148445
BB514238976B3B   STEPHEN       HOUSE                     CA          90003282389
BB514342354B94   CHARLES F     STOUT                     VA          90012943423
BB51472435B327   MARIELA       CHAVEZ                    OR          44552957243
BB515112691257   LESTER        JOHNSON                   GA          90005001126
BB51538919194B   REGINA        HAGWOOD                   NC          90010883891
BB516729876B27   JAZMIN        LLAMAS                    CA          46021687298
BB517353142376   GWENDOLYNN    MARTIN                    GA          90014283531
BB517936791978   MARGARITA     SALMERON MENDOZA          NC          90011789367
BB519A3993363B   ALLEN         DAN                       NC          90014180399
BB521364993727   ANGELA        DILLON                    OH          90010743649
BB52211653363B   VIN           DIESEL                    NC          90014181165
     Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 1001 of 1007


BB523432593751   SHERRIA       BUTLER                    OH          90011344325
BB52414983363B   DJ            PATTMAN                   NC          90014181498
BB525439A76B27   HILARIO       GONZALES                  CA          46078014390
BB52722293363B   ANA           GONAZELS                  NC          90014182229
BB52729372B857   JESSE         STARKEY                   ID          90012712937
BB528284493771   SHANE         BYRD                      OH          90003032844
BB52923813363B   BARNRA        ANN                       NC          90014182381
BB529622A5B327   RACHEDIA      ROSS                      OR          90009346220
BB529663285836   ADRIANNA      MENZHAUSEN                CA          90003796632
BB529882791257   JONATHAN      PEED                      GA          90012418827
BB52B27557B387   CLEMENTO      SANTILLAN                 VA          90006182755
BB5325AA85B327   HUMBERTO      BADILLO                   OR          90013635008
BB533868893752   JAMES         CRAFT                     OH          90012788688
BB534632847855   MELINDA       MOTEN                     GA          90013336328
BB53544569194B   BELINDY       LLOYD                     NC          90010164456
BB535517954B94   MIA           WHITE                     VA          90013845179
BB5369A885B396   BRADLEY       LOWE                      OR          90008489088
BB537252231639   SHELLY        LEITZEL                   KS          90010412522
BB539159A91978   TERRANCE      LANCASTER                 NC          90011131590
BB53929A191554   DIEGO         GARCIA                    TX          90010312901
BB53B26AA3363B   FERNANDA      GAMEZ NIETO               NC          90014182600
BB53B726372B69   LESTER        RAMSEY                    CO          90010937263
BB53B841A31639   VIVIAN        DE LA TORRE               KS          90013388410
BB5419A2355972   NATHANIEL     SMITH                     CA          90013159023
BB541A75A2B258   CLARENCE      JONES                     DC          90001570750
BB542812A9194B   TYLER         CARRIGAN                  NC          90014398120
BB544369993727   JUAN          PALMA                     OH          90011203699
BB546336A93751   CHARLENE      RAWLINGS                  OH          90012473360
BB54648843363B   MIGUEL        MARTINEZ                  NC          90014184884
BB54792A131639   MICHAEL       LOMBARDO                  KS          90015089201
BB54B29273363B   BRUCE         KENNEDY                   NC          90014182927
BB551863593727   NICHOLAS      SIREON                    OH          90012358635
BB558721872465   ERIC          FIALKOVICH                PA          90011517218
BB559779197124   JOHANNA       CHRISTIAN                 OR          90012717791
BB55988385B396   JESSICA       BOGGS                     OR          90012768838
BB559A49576B27   ANGEL         MARQUEZ                   CA          90010740495
BB55B84112B857   KAREN         NUNEZ                     ID          42094048411
BB55B939793758   RYAN          MICHAUD                   OH          90007069397
BB562312A93745   CEAIRA        SELDON                    OH          90009603120
BB563529A55972   ADRIAN        JIMINEZ                   CA          49064905290
BB56661375B265   SHAWN         BYNUM                     KY          90014426137
BB56834AA7B489   ISAM          HAJIBANA                  NC          90000683400
BB568362797124   DESIREE       HERNANDEZ                 OR          90011513627
BB56956A22B271   OSMAN         SARCENO                   DC          81006435602
BB56B371254B94   RAUL          NAVARRO                   VA          90014823712
BB573127893736   ASHLEY        FAIN                      OH          90006361278
BB57482342B857   RAY           CHAVEZ                    ID          90014098234
BB574882697124   BRENDON       SCOTT                     OR          90011378826
BB57523A997124   MARK          SCHANTZ                   OR          90012922309
BB57B257697124   JUSTYN        PRIEST                    OR          90014332576
BB57B375493764   TAWNEY        OLIVER                    OH          90011073754
BB581248793745   TONY          SMITH                     OH          90013672487
BB582745893771   PAYGO         IVR ACTIVATION            OH          90013777458
BB582924793752   TEVAUGHN      TYLER                     OH          90013319247
BB583489651324   GENEVIEVE     WHITMORE                  OH          66007294896
BB583A41993751   TANEESHA      MOORE                     OH          90010970419
BB584634176B27   RAMIRO        RAMIREZ                   CA          90002456341
BB584772285927   ANGELA        PARKER                    KY          90006337722
BB5862AA95B384   ALICIA        ALBINO FLORES             OR          90011492009
BB586377293771   ROSEMARIE     EVRINGHAM                 OH          90012463772
BB588154A5B269   VANNESS       WORDLAW                   KY          90014871540
BB59198AA55972   EDDIE         GONZALEZ                  CA          90013989800
BB59231182B857   JESSICA       SUTTON                    ID          90005243118
BB592794272B62   PETERSON      BRODIE                    CO          90014137942
BB59334842B941   IVETH         ROMERO                    CA          90013073484
BB59372783363B   BRANDON       STUCK                     NC          90014227278
BB59373355B396   GEANNA        GUERRERO                  OR          90011567335
BB594385654B94   BEN           KRASINSKI                 VA          90011483856
BB594786591257   CRUZ          GUTIERREZ                 GA          90010457865
BB59744212B271   RASHAD        CARLTON                   DC          90012054421
BB5976A2431639   CYNTHIA       BRADFORD                  KS          90014356024
BB59845795B396   JULIA         GALAZ                     OR          90009704579
BB59849835B396   JACK          BURTON                    OR          90012694983
BB59884A176B3B   EFIGENIO      SANCHEZ                   CA          90003318401
BB598999191978   STEVEN        PARISI                    NC          90013949991
BB59933855B265   LINH          DOAN                      KY          90012743385
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BB599449472B69   ERICK          RODREGIZ                 CO          90012404494
BB59969AA76B3B   PATRICIA       MILLAN                   CA          90006216900
BB59991427B489   JAMES          LOCKIE                   NC          90012199142
BB59B77967B489   FRANK          LUCAS                    NC          90014897796
BB59B82262B857   CHRISTINA      GOMEZ                    ID          90006268226
BB5B1922493751   JARON          TOWNS                    OH          90007479224
BB5B3422693771   CATHY          BYERS                    OH          64535794226
BB5B457A772B69   ELVA           HERNANDEZ                CO          90002085707
BB5B562643363B   DEVIN          CORNELIUS                NC          90014176264
BB5B865933363B   MUVE           MUSIC                    NC          90014176593
BB5BB43563363B   CRICKET        WIRELESS                 NC          90014174356
BB5BB71992B271   MARY           ROMERO                   DC          90009987199
BB61154A793771   ANDREW         FULLER                   OH          90013545407
BB612752885836   SILVIA         ARTEAGA                  CA          90013447528
BB612AA682B941   ANGELICA       RAMOS                    CA          90006260068
BB613171955996   ERMA PAULINE   CRIBBS                   CA          90003951719
BB614844172B69   JOSE           RAMOS                    CO          33097568441
BB61696722B857   FRANCES        JOINER                   ID          90010679672
BB61696A65B265   CHUGGIE        HUDSON                   KY          90010939606
BB61713582B857   NORA           SIMMONS                  ID          42059791358
BB61746A472465   GARLAND        WILLS                    PA          90014864604
BB619358A55927   ERIC           MAGGARD                  CA          49067643580
BB623893376B27   MARIA          MENDEZ                   CA          90013308933
BB624131691978   NECARLA        FULLARD                  NC          90014801316
BB6243A1254B94   ZIMIRA         ELSTON                   VA          90012463012
BB624673285836   TIMOTHY        LANGFORD                 CA          90012306732
BB624779354B94   DELMIRA        ELSTON                   VA          90008177793
BB625433291257   JABRI          RUTLEDGE                 GA          90013394332
BB625633776B3B   EDGAR          ESCOBEDO                 CA          46004066337
BB62722A931639   FELIPE         MONTES                   KS          90012572209
BB627918472B69   NAM VAN        LE                       CO          90013599184
BB62885389194B   JEANETTE       NORRIS                   NC          17070248538
BB62B234A93745   TIFFANY        LEE                      OH          90014412340
BB631486461924   MARIO          RODRIGUEZ                CA          90010264864
BB632768791257   EDDIE          KINSEY                   GA          90007547687
BB633316493771   TONY           DOUGLAS                  OH          90013013164
BB633A31376B27   EVA            MARTINEZ                 CA          90010760313
BB63413542B271   AMBER          SHARP                    DC          90012901354
BB63817582B941   ALEX           MORENO                   CA          90013861758
BB63821859194B   PEDRO          FLORES                   NC          90010472185
BB639345472B44   BRAD           BIESEMEIER               CO          90006893454
BB639433291257   JABRI          RUTLEDGE                 GA          90013394332
BB63B13462B26B   LASHONDA       TAYLOR                   DC          81095041346
BB63B322A93727   GLORIA         ECKERT                   OH          90010383220
BB63B656333635   ABIGAIL        WILSON                   NC          90010576563
BB642773A85836   AARON          AUSTIN                   CA          90013427730
BB644561155972   JOHN           GALVAN                   CA          49050235611
BB648858436125   YIRA           BARRIENTES               TX          90011508584
BB64B113193771   TRAVIS         RICHARDS                 OH          90013921131
BB651A7A891257   KENNETH        JACKSON                  GA          90009190708
BB65292832B857   JEREMY         HENDON                   ID          90012699283
BB654573293751   CHRISTINA      SNYDER                   OH          64535585732
BB65486579194B   LAUREN         KIKUCHI                  NC          90011908657
BB65493875B327   CESAR          LOPEZ                    OR          90010139387
BB655741655972   NISA           DELAGARZA                CA          90013947416
BB656216693751   PORTCIA        COTTRELL                 OH          90011122166
BB658818393771   DAVID          MARTIN                   OH          90012308183
BB65B42859194B   TYRONE         GLYNN                    NC          90010354285
BB65B5A739194B   LUIS           MARTINEZ                 NC          90012165073
BB66353A931639   KAYLA          KLAUSMEYER               KS          90008525309
BB665724133635   TONYA          NIXON                    NC          18014567241
BB6661A6585836   DEZARAY        RANKIN                   CA          90013561065
BB666432593745   CHELSEY        LYNCH                    OH          90014554325
BB667631272B69   RICARDO        MARTINEZ-TORREZ          CO          90009036312
BB66783537B391   JUAN           XILOJ                    VA          81044308353
BB6684AA176B27   LEAH NICOLE    MULVEY                   CA          90014294001
BB66937515B327   SHARRON        WEICHOLD                 OR          90014723751
BB66994285B396   JING           ZHANG                    OR          90012429428
BB674329A24B64   ABIGAIL        WOODLAND                 DC          90012183290
BB674526472465   WILLIAM        THOMPSON                 PA          90014115264
BB67736782B229   MICHAEL        EDWARDS                  DC          90002683678
BB67B47345B396   KIERRA         MITCHELL                 OR          90002764734
BB6811A6491257   TIERA          SHAW                     GA          90011901064
BB68177543363B   BRITTANY       WALL                     NC          90014747754
BB6818A387B489   TWYLIA         CARR                     NC          11051218038
BB6823A689194B   OSCAR          MENDOZA                  NC          17079043068
     Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 1003 of 1007


BB68522A15B327   POMPEYO       MARIN                     OR          90007532201
BB686513272B62   TANIA         OSIRIS                    CO          90006265132
BB687442993751   DAVID         ELLIS                     OH          90011344429
BB6888A1A85836   SERAFIN       HERNANDEZ                 CA          46042278010
BB69124145B396   CARLY         SEARLS                    OR          90014632414
BB692383393727   CHERYL        CLARK                     OH          90011053833
BB692A4839194B   ERIC          ROSS                      NC          90011610483
BB693878793727   DAWN          BLANKENSHIP               OH          90013188787
BB69426685B327   JOHN          BIERMANN                  OR          90002332668
BB694548A91978   DANIELLE      WATKINS                   NC          90013945480
BB69466219194B   KELLY         PRIVETTE                  NC          90013206621
BB695225285836   JOSUE         CERVANTES                 CA          90012162252
BB69557175B327   SHIRIN        TRIGLIA                   OR          90004205717
BB69618863363B   MARCOS        LOPEZ                     NC          90014411886
BB696635776B27   AIOTEST1      DONOTTOUCH                CA          90015116357
BB6B182247B489   BRITTANY      DEWBERRY                  NC          90014758224
BB6B1871172B69   BRUCE         WESTMORELAND              CO          90014808711
BB6B297365B269   LIL           WAG                       KY          90006329736
BB6B3225172B69   TERRY         WATKINS                   CO          33027662251
BB6B7823376B27   ANTONIO       PEDRO                     CA          46082538233
BB6B7A41155935   JOSEPH        GARCIA                    CA          48086850411
BB6B8479941229   TERRY         LIPINSKI                  PA          90003034799
BB6B8962A2B857   DANIELLE      GREGORY                   ID          90013229620
BB6B9134193751   DEONTAY       GATES                     OH          90012071341
BB6BB133554B94   GRETCHEN      DEWITT                    VA          90012551335
BB6BB323731639   VERONICA      PERRYMAN                  KS          90011093237
BB711884433635   KIMBERLY      JONES                     NC          90006768844
BB71753A472B69   NESTOR        NAVA                      CO          90011455304
BB717AA3991257   ASHLEY        KNOBLICH                  GA          90014640039
BB718516A93745   OMAR          MALCOLM                   OH          90012935160
BB71B42A49286B   VICTORIA      WILLIE                    AZ          90014684204
BB7222A342B264   JOSE          AYALA TORRES              DC          90001772034
BB72634615B351   JAMES         JOHNSON                   OR          90011553461
BB7277A6372B62   ROBBIE        TAFOYA                    CO          90014727063
BB728577655972   FRANCISCO     MORENO                    CA          90013395776
BB72975A893771   CHRISTOPHER   JORDAN                    OH          90013837508
BB72B915776B3B   CRYSTAL       CONTRERAS                 CA          90004249157
BB7316A8654B94   TEVHIDE       KUCUKKARASU               VA          90012236086
BB735442255935   MARIA         MACIEL                    CA          90004324422
BB737473993758   HARRIS        ALEXIS                    OH          90014664739
BB737891955972   FABIAN        NUNEZ                     CA          90013448919
BB7385A4224B64   SABRINA       EALEN                     VA          90011895042
BB73B7A322B857   GEORGE        KENT                      ID          90014627032
BB741127993751   AMY           HERRON                    OH          64576381279
BB742995193745   JAMES         WYATT                     OH          90001859951
BB74367292B221   MAXIMO        SOSA                      DC          81089846729
BB743775891978   OPHELIA       GILES                     NC          90002837758
BB744575572B69   MARIA         PEREZ                     CO          90011005755
BB745613372B69   MARIA         SANCHEZ                   CO          33074606133
BB749229472465   JOSIAH        SWAN                      PA          90013712294
BB75217365B244   COREY         ROSS                      KY          90012671736
BB75222624B555   MERCEADEZ     DELANO                    OK          90003752262
BB752A43385836   MATT          HANDY                     CA          90013510433
BB755595428169   CHELSEA       MEYER                     TX          90014545954
BB756392691592   JOSE          SAUCEDO                   TX          90010983926
BB756976993752   FONDIA        WITHROW                   OH          64516769769
BB7588A9493771   RICHARD       TRIMBLE                   OH          90007468094
BB759863A93727   DAVID         VICKERS                   OH          90013588630
BB75B11542B941   MATTHEW       MINJARES                  CA          90012101154
BB75B594254B94   PAYGO         IVR ACTIVATION            VA          90013235942
BB762843954B3B   MAYNOR        PEREZ                     VA          90002898439
BB76319869194B   ALICIA        MITCHELL                  NC          90013801986
BB764289455972   LESLI         MONIQUE SALDANA           CA          90014132894
BB764483172B69   DEDRICK       BASS                      CO          90012404831
BB76776235B269   ELENA         BALLESTEROS               KY          90013347623
BB768438272B69   DARRALL       LASHAY SMITH              CO          90007814382
BB76B445897124   ERNESTA       SANTOS                    OR          44097204458
BB76B878A3363B   KAYLA         MAHONEY                   NC          90013228780
BB77116885B396   RON           RUSHLIGHT                 OR          90014641688
BB7734A5755972   KASONDRA      APODACA                   CA          90010084057
BB775424A31639   JOSE LUIS     ANGEL-MORALES             KS          90013934240
BB776444872B62   XAVIER        MONSIVAIZ                 CO          90011094448
BB778111A97124   FERNANDO      DIAZ NAVA                 OR          90013011110
BB778834A93745   VALERIE       CRABLE                    OH          90009568340
BB77992495B327   SORAIDA       GALVAN                    OR          44509649249
BB77B316133635   LETESHA       HOLT                      NC          18027713161
     Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 1004 of 1007


BB77B443885836   CHRIS                 GARNER            CA          90010914438
BB78151329286B   RENE                  GRANILLO          AZ          90014595132
BB78398A993751   MICHAEL               HORNBECK          OH          90013599809
BB784195531639   JUANITA               FRITZE            KS          90002311955
BB78487877B489   LATONYA               TYSON             NC          11013898787
BB7856AA355972   JAMES                 DEAN              CA          90014816003
BB78649125B265   ROBERT                DRUIN             KY          90012884912
BB788885793751   GREGORY               BELCHER           OH          90013828857
BB79156562B857   WILLIAM               THOMPSON          ID          90014835656
BB79419829194B   GABRIELA              MENDOZA           NC          17062451982
BB79497347B489   JOSE                  MOLINA            NC          11093679734
BB795822155972   OFELIA                RIOS-RODRIGUEZ    CA          90013948221
BB796142493745   JESSICA               SILVERS           OH          90013231424
BB79733285B269   GARY                  SMITH             KY          90010053328
BB79779549194B   REARNOLDO             CHANDLER          NC          90014597954
BB797896131639   BRITTANY L            KNIGHT            KS          22005348961
BB79B813455972   MANUEL                MERCADO           CA          90013948134
BB79B92A281655   CAYLE                 FULLER            MO          90010789202
BB7B1835891885   JUAN                  LUNA              OK          90013868358
BB7B2681391965   CARLA                 CRUZ              NC          17039926813
BB7B3665793745   CARL                  ROBERTS           OH          90008546657
BB7B3937893758   CHANTELL              HELT              OH          90010999378
BB7B6A28591978   YVETTE                WILSON            NC          90014880285
BB7B714877B489   SINDY                 POSADAS FUNEZ     NC          90012301487
BB811937441233   SHAYLA                PITTS             PA          90005409374
BB813595936125   KATHY                 BARRIENTES        TX          90014285959
BB81385A171929   ANA                   MANZO-GARCIA      CO          90011028501
BB813979993752   ANNA                  NEWMAN            OH          90013149799
BB814627393752   GOHNIE                VERANO            OH          90008496273
BB81518525B396   JOLYNN                WOLF              OR          90014811852
BB815473572491   RENEE                 HILD              PA          90014454735
BB817985391257   SHANNON               BELL              GA          90007969853
BB818A36154B94   ANDRES                HERNANDEZ         VA          90011390361
BB81921978B323   SMAMEKA               BARBER            SC          11058332197
BB821A32A2B287   EVERETT               BROWN             DC          81013160320
BB822558376B27   EMMA                  GARZA             CA          90014445583
BB822752885836   SILVIA                ARTEAGA           CA          90013447528
BB8227A4631639   AMANCIO               RAMIREZ           KS          90000967046
BB822A5787B489   CHEYENNE              BLUFORD           NC          90013170578
BB8232A472B857   JAIME                 NIETO             ID          42094682047
BB82344284B251   CLARK                 DARK              NE          90001254428
BB82546427B489   MARIO                 PORRAS            NC          90013244642
BB825729A5B327   ROGELIO               OLIVA             OR          44550247290
BB82631583363B   SHANNON               HIATT             NC          90014603158
BB827987291881   COSHANNA              ROBERTSON         OK          21004219872
BB82B287793771   JOHN                  WINEMILLER        OH          90012002877
BB82BA66A5B265   BRYAN                 SULZER            KY          90010940660
BB83138412B941   ARMANDO               CASTILLO          CA          45077503841
BB831396793771   NICHOLAS              BOOS              OH          90012853967
BB83272492B941   MARCOS                LOPEZ             CA          90011427249
BB8353A7854B94   JOSE                  ARQUETA           VA          90011893078
BB835523591257   TYRONE                COLEMAN           GA          90002015235
BB83666A793758   DARNELL               PETERSON          OH          90015216607
BB83B512A93727   LONNIE                ROACH             OH          64586515120
BB842287893727   LINDLEY               KELLMAN           OH          90007692878
BB84257A25B269   KRISTIE               NEWTON            KY          90012815702
BB842A88176B27   ANNA                  BELLA             CA          90012310881
BB844381993745   DUSTIN                AULT              OH          90014913819
BB84575315B371   CHRISTIAN ALEJANDRO   VILLASENOR        OR          90004917531
BB846471972B69   ALEXIS                FILIPPI           CO          33097594719
BB846579476B3B   SUNHARIB              YOKHANA           CA          90004365794
BB84919335598B   LORENZO               GALINDO           CA          90013451933
BB85151189194B   MARIA                 RAMOS             NC          90011355118
BB8516A3872B44   SANDRA                RODGERS           CO          90006896038
BB85259612B26B   KONTIT                WOLDEMARIAM       DC          81014585961
BB852673393727   SUMMER                WILEY             OH          90011916733
BB853885593771   JOSHUA                BRICKER           OH          90012008855
BB858495372B69   LUZ                   RODRIGUEZ         CO          90012404953
BB85897277B434   RAFAEL                ALPIZAR           NC          90009769727
BB85B661285836   PAM                   TAYLOR            CA          90012786612
BB8613A515B265   LAWANN                MORRIS            KY          90015133051
BB861615372B44   BORJAS                TEO               CO          90006896153
BB864679224B64   IRENE                 MANIESON          VA          81032636792
BB8647A512B857   JASON                 FITZ-ROY          ID          90001197051
BB864898472465   LATOYA                COTTOM            PA          90004788984
BB86496439194B   STEPHON               WHITLEY           NC          90014679643
     Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 1005 of 1007


BB866396254B94   STANLEY       BERRYWMN                  VA          90013963962
BB867753A93751   ARMANI        WILLIAMS                  OH          90011507530
BB86865715B269   GRISELDA      ACEBEDO                   KY          90008816571
BB86B27A954B94   CHACON        MARCO                     VA          90005542709
BB86B36265B265   TIM           MATTA                     KY          68028013626
BB871365955972   JUAN          VALDIVIA                  CA          90012743659
BB875553891978   VIVIAN        DAVIS                     NC          90000535538
BB879846491257   HEATHER       JENKINS                   GA          90010488464
BB88183739194B   JOQUAY        HOWEL                     NC          90015198373
BB882441431639   AMANDA        SQUIER                    KS          22062584414
BB883359372B62   PERLA         HOLGUIN                   CO          90012613593
BB883418A2B857   VALENTIN      CERVANTES                 ID          90012404180
BB884721493745   MICHAEL       ANTHONY                   OH          90014897214
BB884955993758   JENNIFER      ADAMS                     OH          90014659559
BB88511A27B443   WANDA         TOBIAS                    NC          11003821102
BB88722A45B557   MAURICIO      REZA                      NM          35016622204
BB88729525B265   MARLYN        RIOS-PINEDA               KY          90012492952
BB889542493727   CHRISTOPHER   NICKLAUS                  OH          90013175424
BB8963A2A2B857   MEMORY        TOVES                     ID          90010283020
BB899643991257   LATIKIA       WAY                       GA          90013956439
BB89B112393727   JESSICA       BUERK                     OH          90014171123
BB89B244193758   CHEY          LANAE                     OH          90004732441
BB8B292A131639   ADDY          SINCLAIRE                 KS          90013969201
BB8B2988997124   DAVID         EVANSON                   OR          44028449889
BB8B58A725B327   MICHAEL       ASKAY                     OR          90003088072
BB8B724883363B   MARGARET      MEANS                     NC          12059282488
BB8BB16939194B   SANDRA        ANDRADE                   NC          90003881693
BB91228227B489   ANGELA        WORTHAM                   NC          90013862822
BB913469672B62   ANA           MARFIL                    CO          33098824696
BB91758423363B   DEMETRIO      RIOS DE LA CRUZ           NC          90014835842
BB91B322293751   GERARDO       SANCHEZ                   OH          90015013222
BB91B9A822B857   COLBY         CROWTHER                  ID          90013869082
BB92284642B857   SHELLY        BRETT                     ID          90011118464
BB92587582B271   BRIAN         BROWN                     DC          90015128758
BB926A3A955972   ADRIANA       LEON                      CA          90010260309
BB927881A51358   LORIE         GIBSON                    OH          90010988810
BB92812242B941   BRENDA        ZUNO                      CA          90007961224
BB929334551324   COLLEEN       SWEENEY                   OH          90012803345
BB929419A9194B   CLAUDIA       REYES                     NC          90013354190
BB93238447B489   TA            WIRELESS                  NC          90013963844
BB93261A242376   TONYA         BLEDSOE                   GA          90013106102
BB932662A85836   VICKY         NEWMAN                    CA          90013926620
BB93662165B327   RENNIE        BELT                      OR          90015096216
BB9367A2A2B941   NANCY         LOPEZ                     CA          90006227020
BB9376A9772B69   JESUS         MATEO                     CO          90012896097
BB93924333363B   DEVON         BETTON                    NC          90014862433
BB93975272B941   JOYCE         PEREZ                     CA          90007967527
BB941532393758   ABBIE         RITTER                    OH          90014665323
BB942597372B62   JASMINE       BARRIETO                  CO          90012515973
BB94437662B26B   RONY          JOHNSON                   DC          90010983766
BB945621293771   ANDREW        SWOB                      OH          90014096212
BB94891847B489   TERRY         MCKINZIE                  NC          90012649184
BB94B788A76B27   ALFONSO       PEREZ                     CA          90008307880
BB94B981176B27   ALFONSO       PEREZ                     CA          90012589811
BB952172272B69   JEREMY        AYERS                     CO          90009311722
BB955451885836   ANGEL         OTIVEROS                  CA          90010754518
BB959712A5B265   MIKE          PERRY                     KY          90012467120
BB95B186776B3B   MOISES        RAMIREZ                   CA          90004431867
BB9622A4A3363B   KEVIN         PRIPPE                    NC          90014862040
BB96244693363B   KEVIN         PRIPPE                    NC          90015294469
BB963632655972   VALERIA       GONZALEZ                  CA          90010476326
BB96388A95B269   SONYA         TIMMONS                   KY          90013818809
BB96452937B489   DASHAWNA      DAVIS                     NC          90012835293
BB96529882B271   LASHAWN       WILLIAMS                  DC          90003792988
BB966492472B62   CARLOS        ALVARADO                  CO          90008534924
BB966A2139194B   BILLY         HILL                      NC          90011610213
BB966A99891524   ELSA          SANCHEZ                   TX          75072840998
BB96843752B941   EFFRAIN       ALVAREZ                   CA          90013834375
BB968A16993751   KURT          BENNETT                   OH          90014120169
BB96B3A1376B27   EVA           TOVAR                     CA          90012743013
BB96B712A5B265   MIKE          PERRY                     KY          90012467120
BB9722AA591978   HUMBERTO      MIRANDA GARCIA            NC          90014052005
BB972586742376   MICKEY        AKINS                     GA          90009685867
BB972AA9A91257   DAKIYA        WHITE                     GA          90013790090
BB97495A385836   TIFFANY       CAVALCANTI                CA          90012789503
BB976553291257   STEVE         MCINTYRE                  GA          90011545532
     Case 3:19-cv-07270-WHA Document 408-3 Filed 03/23/22 Page 1006 of 1007


BB97938422B271   ANITA              BREW                 DC          90013633842
BB97954912B941   MARIA              MANDUJUANA           CA          90011615491
BB98137465B265   PAULA              MITCHELL             KY          68042513746
BB982861A31639   MICHAEL            VELA                 KS          90014078610
BB983378255972   ESMAERALDA         LOPEZ                CA          90011743782
BB985AA8191978   RYAN CHRISTOPHER   PIERCE               NC          90007080081
BB98634A176B27   JESSICA            HURST                CA          90014543401
BB98668392B857   ASHA               OWEID                ID          90014356839
BB98B89AA72B44   ANDRES             GARCIA               CO          90010468900
BB99161A85B269   BENJAMIN           DAWSON               KY          90012816108
BB99226732B941   FERNANDO           VADILLO              CA          90013952673
BB99278A554151   ABIGAIL            ELLER                OR          47082717805
BB997A64772B62   VIRJOLEAN          CORDOVA              CO          90008890647
BB99811737B489   ZIPPORAH           BATTLE-HAY           NC          90010721173
BB998281655972   VERONICA           HERRERA              CA          90012772816
BB99B71785B265   AMANDA             WAGONER              KY          90009987178
BB9B129AA91978   KIMBERLY           LEACH                NC          90011382900
BB9B1418A72B69   ALYSSA             LATOSKI              CO          33064294180
BB9B1778A2B857   STEVEN             FREELAND             ID          90013367780
BB9B1816891978   STEVE              MCGEE                NC          90011838168
BB9B1A26791257   PAMELA S           GREENE               GA          90015060267
BB9B7816891978   STEVE              MCGEE                NC          90011838168
BB9B793327B489   JOSE               MENDOZA              NC          90014299332
BBB11237254B3B   ELZIE              ROBINSON             VA          81055402372
BBB116A7A55972   SABRINA            KING                 CA          90011646070
BBB13784421B48   SAFIYYAH           WYATT                TX          90014317844
BBB14848655972   RODGER             RAMIREZ              CA          90004858486
BBB15641197124   CHRIS              MCPHERSON            OR          44029436411
BBB16A2625B327   SAVANNAH           GLEASON              OR          90012570262
BBB17A84A85836   ABEUL              YUSUF                CA          90012720840
BBB19AAA991978   JOHN               SALEHPOUR            NC          90012090009
BBB2112A52B857   MARIAH             DALLING              ID          90010561205
BBB24273793771   TOREY              HENDERSON            OH          90006142737
BBB2536872B271   LEAH               DUKES                DC          90013633687
BBB253AA776B27   CHRISTIAN          FRANCO               CA          90013983007
BBB26437497124   BRITTANY           CARROLL              OR          90014054374
BBB2661733363B   KOYATITTO          MILLER               NC          90012856173
BBB2822715B269   CHERI              BARKER               KY          90014152271
BBB28A96176B31   ANSELMO            CRUZ                 CA          90013970961
BBB2B79838B12B   PATRICIA           WALKER               UT          90013497983
BBB3148715B396   DWAYNE             JUDGE                OR          44575464871
BBB3214687B489   SHEMERE            WRIGHT               NC          90009111468
BBB35535A5B327   GARY               SIMMONS              OR          90014525350
BBB3581A93363B   MIGUEL ANGEL       AUSTIN               NC          90009458109
BBB37A68454B94   MARIE              PADILLA              VA          90011020684
BBB3854A757552   JERRY              FLEMING              NM          90013055407
BBB3891559194B   VICTOR             VEGA                 NC          90014099155
BBB39197393771   JIM                MOON                 OH          90012411973
BBB39442572465   LENA               KESTER               PA          90014844425
BBB39985A91257   LUIS               RIVERA               GA          90011759850
BBB4887A355972   PHILLIP            DURAN                CA          90013938703
BBB48957A85927   HENRY              HAMBERG              KY          67063129570
BBB4962185B327   ANICETO            GONZALEZ AGUIRRE     OR          90009056218
BBB5167475B265   MARSCOTA           BUMBALOUTH           KY          90012096747
BBB52257655972   SELVI              MUNOZ                CA          90008752576
BBB52641495624   JUANITA            LOREDO               TX          90011546414
BBB536A3493751   TAMEKA             HOWARD               OH          90003786034
BBB57A9A391978   EON                BLACK                NC          90014280903
BBB618A983363B   VICTORIA           JIMENEZ              NC          90013018098
BBB63322A93751   MIKE               BEENS                OH          90012913220
BBB63A37193745   AXEL               GARCIA               OH          90008330371
BBB6511839194B   OMAR               GUERRERO             NC          90013981183
BBB65369A3363B   JOSE               RESENDIZ             NC          90013033690
BBB659AA497124   KRYSTAL            OLSEN                OR          90003369004
BBB6627A58B12B   MAILEE             HAYES                UT          90013552705
BBB6681185B269   APRYL              BURGESS              KY          90014648118
BBB6756199194B   HASSAN             MALICK               NC          90011915619
BBB68AA9954B94   MOISES             HERNNADEZ            VA          90013280099
BBB699A727B489   DARA               GRANT                NC          90013409072
BBB6B8A433363B   MILLICENT          MARSHALL             NC          90013018043
BBB72A55193745   BUD                MASTERS              OH          90010890551
BBB75273572465   CAROLYN            ZEWE                 OH          51076892735
BBB76A57385836   DAN                HENDERSON            CA          90012260573
BBB7853189194B   RAFAEL             VEGA                 NC          90012655318
BBB7855163363B   HUON               MIO                  NC          90001535516
BBB79722533635   RAUL               VALDIVIA             NC          18023587225
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BBB79A6518B12B   MERCEDES      GIRON                     UT          90014030651
BBB7B444A7B489   JOSE MARCO    MEJIA                     NC          90012354440
BBB7B87A355972   PHILLIP       DURAN                     CA          90013938703
BBB81563793771   JUSTIN        NEU                       OH          90013045637
BBB8227A58B12B   MAILEE        HAYES                     UT          90013552705
BBB84A11172B62   MATTHEW       ELLIS                     CO          90012120111
BBB8524613B335   DARLENE       NEUFELD                   CO          33075682461
BBB8651695B396   LAUREN        EPSTEIN-MURRAY            OR          90013475169
BBB91664272B44   MARK          WATKINS                   CO          90008526642
BBB93995555972   BRENDA        GRANADOS                  CA          90012239955
BBB94A3113363B   SHAWNTENA     SPRUILL                   NC          90011070311
BBB9628222B941   MICHAEL       DEIEMOS                   CA          90003352822
BBB96373876B27   JESUS         HERNANDEZ                 CA          90014823738
BBB96391991385   KATHLEEN      STRAUSBAUGH               KS          90005503919
BBB98195A72B69   REBECCA       OLOO                      CO          90013311950
BBB98365242332   BRANDI        PELL                      GA          90012273652
BBB9838612B857   SHEA          GOLDSTEIN                 ID          90013333861
BBB9B266A3363B   DANIELLEQ     HOWLE                     NC          90013022660
BBB9B335533635   SHANEKIA      CRUMPTON                  NC          90008473355
BBB9B546993751   BENJAMIN      BOYD                      OH          90003935469
BBB9BA98393745   AMBER         ROUSH                     OH          90013720983
BBBB285A655972   SAM           ALBO                      CA          90011768506
BBBB3136576B27   MARTHA        CORTEZ                    CA          90014011365
BBBB4784421B48   SAFIYYAH      WYATT                     TX          90014317844
BBBB5554472465   RACHEL        KARAFFA                   PA          90013395544
BBBB7719631639   DAVID         ROSE                      KS          90013777196
BBBB811717B443   TIMOTEO       CORDERO                   NC          11058801171
BBBB8145A93771   CHRISTINA     TORBOLI                   OH          90001691450
BBBB89A2154B3B   MARIVEL       HERNANDEZ                 VA          81007249021
BBBB8A6579194B   ISLANDE       LAMARTINIERE              NC          90002680657
